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  UNITED STATES BANKRUPTCY COURT
  SOUTHERN DISTRICT OF NEW YORK

                                               )
   In re                                       )    Chapter 11
                                               )
     Purdue Pharma L.P., et al.,               )    Case No 19-23649 (RDD)
           Debtors.                            )    (Jointly Administered)
                                               )


                 SCHEDULES OF ASSETS AND LIABILITIES FOR

                               Purdue Pharma L.P.

                            Case No: 19-23649 (RDD)
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                               Chapter 11

PURDUE PHARMA L.P., et al.,                                          Case No. 19-19-23649 (RDD)

                  Debtors.   1                                       (Jointly Administered)


    GLOBAL NOTES AND STATEMENTS OF LIMITATION, METHODOLOGY, AND
          DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES OF
      ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS



        The Schedules of Assets and Liabilities (collectively, the “Schedules”) and the Statements
of Financial Affairs (collectively, the “Statements” and, together with the Schedules, the
“Schedules and Statements”) filed by Purdue Pharma L.P. and its debtor affiliates in the above-
captioned chapter 11 cases, as debtors and debtors in possession (collectively, the “Debtors,” the
“Company” or “Purdue”) pending in the United States Bankruptcy Court for the Southern
District of New York (the “Bankruptcy Court”) were prepared, pursuant to section 521 of title
11 of the United States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules
of Bankruptcy Procedure (the “Bankruptcy Rules”), by management of the Debtors, with the
assistance of the Debtors’ advisors.

        Although the Debtors’ management has made reasonable efforts to ensure that the
Schedules and Statements are as accurate and complete as possible under the circumstances, based
on information available at the time of preparation, subsequent information or discovery may result
in material changes to these Schedules and Statements, and inadvertent errors, inaccuracies, or
omissions may have occurred. Notwithstanding any subsequent information or discovery, the
Debtors do not undertake any obligation or commitment to update the Schedules and Statements.

        The Schedules and Statements are unaudited and subject to potential adjustment. Because
the Schedules and Statements contain unaudited information and remain subject to further review,
verification, and potential adjustment, there can be no assurance that these Schedules and
Statements are complete. Nothing contained in the Schedules and Statements shall constitute a

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  The Debtors in these cases, along with the last four digits of each Debtor’s registration number in the applicable
jurisdiction, are as follows: Purdue Pharma L.P. (7484), Purdue Pharma Inc. (7486), Purdue Transdermal
Technologies L.P. (1868), Purdue Pharma Manufacturing L.P. (3821), Purdue Pharmaceuticals L.P. (0034),
Imbrium Therapeutics L.P. (8810), Adlon Therapeutics L.P. (6745), Greenfield BioVentures L.P. (6150), Seven
Seas Hill Corp. (4591), Ophir Green Corp. (4594), Purdue Pharma of Puerto Rico (3925), Avrio Health L.P. (4140),
Purdue Pharmaceutical Products L.P. (3902), Purdue Neuroscience Company (4712), Nayatt Cove Lifescience Inc.
(7805), Button Land L.P. (7502), Rhodes Associates L.P. (N/A), Paul Land Inc. (7425), Quidnick Land L.P. (7584),
Rhodes Pharmaceuticals L.P. (6166), Rhodes Technologies (7143), UDF LP (0495), SVC Pharma LP (5717) and
SVC Pharma Inc. (4014). The Debtors’ corporate headquarters is located at One Stamford Forum, 201 Tresser
Boulevard, Stamford, CT 06901.




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waiver of any right of the Debtors or an admission with respect to their chapter 11 cases (including,
but not limited to, issues involving claims, substantive consolidation, defenses, equitable
subordination, and/or causes of action arising under the provisions of chapter 5 of the Bankruptcy
Code and any other relevant non-bankruptcy laws to recover assets or avoid transfers), and the
Debtors reserve all rights to amend or supplement the Schedules and Statements from time to time,
in all respects, as may be necessary or appropriate, including, but not limited to, the right to dispute
or otherwise assert offsets or defenses to any claim reflected in the Schedules and Statements as
to amount, liability, or classification, or to otherwise subsequently designate any claim as
“disputed,” “contingent,” or “unliquidated.”

        The Schedules and Statements have been signed by Jonathan Lowne. Mr. Lowne serves
as Chief Financial Officer at Debtor Purdue Pharma L.P., and he is an authorized agent of each
of the Debtors. Accordingly, in reviewing and signing the Schedules and Statements, Mr. Lowne
necessarily relied upon the efforts, statements, and representations of the personnel of the
Debtors and the Debtors legal and financial advisors. Mr. Lowne has not (and could not
have) personally verified the accuracy of each such statement and representation, including 2,
but not limited to, statements and representations concerning amounts owed to creditors,
classification of such amounts, and their addresses.

        The Schedules and Global Notes (as defined below) should not be relied upon by any
persons for information relating to current or future financial conditions, events, or performances
of the Debtors.

       These Global Notes and Statements of Limitation, Methodology, and Disclaimers
Regarding the Debtors’ Schedules and Statements (the “Global Notes”) are incorporated by
reference in, and comprise an integral part of, all of the Schedules and Statements. The Global
Notes should be referred to, considered, and reviewed in connection with any review of the
Schedules and Statements. 3




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  The terms “including” or “includes” as used throughout these Global Notes shall not be construed to be limiting
terms.
3
  These Global Notes supplement and are in addition to any specific notes contained in each Debtor’s Schedules or
Statements. The fact that the Debtors have prepared a Global Note with respect to any of individual Debtor’s
Schedules and Statements and not to those of another should not be interpreted as a decision by the Debtors to
exclude the applicability of such Global Note to any of the Debtors’ other Schedules and Statements, as appropriate.
Disclosure of information in one Schedule, one Statement, or an exhibit or attachment to a Schedule or Statement,
even if incorrectly placed, shall be deemed to be disclosed in the correct Schedule, Statement, exhibit, or attachment.




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               GLOBAL NOTES AND OVERVIEW OF METHODOLOGY

1.    Description of Cases and Reporting Date. On September 15, 2019 (the “Petition Date”),
      each of the Debtors filed voluntary petitions for relief under chapter 11 of the Bankruptcy
      Code (the “Voluntary Petitions”). The Debtors are operating their businesses and managing
      their property as debtors in possession pursuant to sections 1107(a) and 1108 of the
      Bankruptcy Code. On September 18, 2019, the Bankruptcy Court entered an order directing
      joint administration of these chapter 11 cases [Docket No. 59]. Notwithstanding the joint
      administration of the Debtors’ cases for procedural purposes, each Debtor has filed its own
      Schedules and Statements. Unless otherwise stated herein, liabilities are reported as of the
      Petition Date.
2.    General Reservation of Rights. Although the Debtors’ management has made every
      reasonable effort to ensure that the Schedules and Statements are as accurate and complete
      as possible under the circumstances based on information that was available to it at the time
      of preparation, subsequent information or discovery may result in material changes to
      the Schedules and Statements, and inadvertent errors or omissions may have occurred,
      some of which may be material. Because the Schedules and Statements contain
      unaudited information, which remains subject to further review, verification, and potential
      adjustment, there can be no assurance that the Schedules and Statements are complete.
      The Debtors reserve all rights to amend the Schedules and Statements from time to time,
      in any and all respects, as may be necessary or appropriate, including the right to dispute or
      otherwise assert offsets or defenses to any claim reflected in the Schedules and
      Statements as to amount, liability, or classification, or to otherwise subsequently designate
      any claim as “disputed,” “contingent,” or “unliquidated.” Furthermore, nothing
      contained in the Schedules and Statements shall constitute an admission of any claims
      or a waiver of any of the Debtors’ rights with respect to these chapter 11 cases, including
      issues involving substantive consolidation, recharacterization, equitable subordination,
      and/or causes of action arising under the provisions of chapter 5 of the Bankruptcy Code
      and other relevant non-bankruptcy laws to recover assets or avoid transfers. Any specific
      reservation of rights contained elsewhere in the Global Notes does not limit in any respect
      the general reservation of rights contained in this paragraph.
3.    Basis of Presentation. For financial reporting purposes, the Debtors generally prepare
      consolidated financial statements. Where practicable, the Schedules and Statements reflect
      the assets and liabilities of each separate Debtor. Because the Debtors’ accounting systems,
      policies, and practices were developed for consolidated reporting purposes, rather than by
      individual legal entity, it is possible that not all assets, liabilities or amounts of cash
      disbursements have been recorded with the correct legal entity on the Schedules and
      Statements. The Debtors reserve all rights relating to the legal ownership of assets and
      liabilities among the Debtors, and nothing in the Schedules or Statements shall constitute
      a waiver or relinquishment of such rights. Information contained in the Schedules and
      Statements has been derived from the Debtors’ books and records. While the Debtors make
      best efforts to prepare all Schedules and Statements in accordance with Generally Accepted
      Accounting Principles in the United States (“US GAAP”), the Schedules and Statements
      are unaudited and attempt to show value of assets of estate or claims against the state and




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      excluded certain items (see 5 below). They do not purport to represent financial statements
      prepared in accordance with Generally Accepted Accounting Principles in the United
      States nor are they intended to be fully reconciled to audited financial statements of each
      Debtor.
4.    Totals. All totals that are included in the Schedules and Statements represent totals of all
      known amounts included in the Debtors’ books and records. To the extent there are unknown
      or undetermined amounts, the actual total may be different than the listed total, and
      the difference may be material. In addition, the amounts shown for total liabilities exclude
      items identified as “unknown,” “disputed,” “contingent,” “unliquidated,” or
      “undetermined,” and, thus, ultimate liabilities may differ materially from those stated
      in the Schedules and Statements. To the extent a Debtor is a guarantor of debt held by
      another Debtor, the amounts reflected in the Schedules are inclusive of each Debtor’s
      guarantor obligations.
5.    Excluded Assets and Liabilities. The Debtors have excluded certain categories of assets,
      and liabilities from the Schedules and Statements, including goodwill, intangibles, and
      certain accrued liabilities including, but not limited to, certain accrued employee
      compensation and benefits, certain customer accruals, tax accruals, accrued accounts
      payable, accrued contract termination damages, deferred income accruals, litigation
      accruals, and certain deposits. The Debtors have also excluded potential claims arising on
      account of the potential rejection of executory contracts and unexpired leases, to the extent
      such claims exist. Certain immaterial assets and liabilities that are not reported or tracked
      centrally may have been excluded.
6.    Amendments and Supplements; All Rights Reserved. The Debtors reserve all rights,
      but are not required, to amend and/or supplement the Schedules and Statements from
      time to time as is necessary and appropriate.
7.    References. Reference to applicable agreements and related documents is necessary for
      a complete description of the nature, extent, and priority of liens and/or claims. Nothing in
      the Global Notes or the Schedules and Statements shall be deemed a modification or
      interpretation of the terms of such agreements.
8.    Currency. All amounts are reflected in U.S. dollars.
9.    Intercompany. The Debtors have reported for each Debtor the aggregate net intercompany
      balances between such Debtors and each other Debtor as assets on Schedule A/B or
      as liabilities on Schedule E/F, as appropriate, and as of August 31, 2019. The listing
      in the Schedules or Statements (including, without limitation, Schedule A/B or Schedule
      E/F) by the Debtors of any obligation between a Debtor and another Debtor is a statement
      of what appears in the Debtors’ books and records and does not reflect any admission or
      conclusion of the Debtors regarding whether such amount would be allowed as a Claim
      or how such obligations may be classified and/or characterized in a plan of reorganization
      or otherwise by the Bankruptcy Court. The Debtors reserve all rights with respect to such
      obligations.
10.   Book Value. Unless otherwise indicated, the Debtors’ assets are shown on the basis of their




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        net book values as of August 31, 2019, and the Debtors’ liabilities are shown on the basis
        of their net book values as of the Petition Date. Thus, unless otherwise noted, the
        Schedules and Statements reflect the carrying value of the assets and liabilities as
        recorded on the Debtors’ books. Net book values may vary, sometimes materially, from
        market values. The Debtors do not intend to amend these Schedules and Statements to
        reflect market values.
11.     Paid Claims. The Bankruptcy Court has authorized the Debtors to pay certain outstanding
        prepetition claims—including, but not limited to, payments to employees, independent
        contractors, customers, and certain vendors—pursuant to various “first day” orders entered
        by the Bankruptcy Court (the “First Day Orders”). Accordingly, certain outstanding
        liabilities may have been reduced by post-petition payments made on account of prepetition
        liabilities. Where the Schedules list creditors and set forth the Debtors’ scheduled amount
        of such claims, such scheduled amounts reflect amounts owed as of the Petition Date adjusted
        for any post-petition payments made pursuant to the authority granted to the Debtors by
        the Bankruptcy Court. The Schedules list such post-petition payments separately. To the
        extent the Debtors pay any of the claims listed in the Schedules and Statements pursuant
        to any First Day Order, the Debtors reserve all rights to amend or supplement the
        Schedules and Statements or take other action, such as filing claims objections, as is
        necessary and appropriate to avoid overpayment or duplicate payments for liabilities. The
        Debtors will provide any creditor listed on these Schedules and Statements with notice of
        the bar date, regardless of whether the Debtors have subsequently paid such creditor’s
        claim. The Debtors have not listed any claims for Employee Obligations (as defined
        in the Wages and Benefits Motion)4, whether or not they have since had their prepetition
        claims satisfied in full pursuant to the First Day Orders.
12.     Recharacterization. Notwithstanding that the Debtors have made reasonable efforts to
        correctly characterize, classify, categorize, or designate certain claims, assets, executory
        contracts, unexpired leases, and other items reported in the Schedules and Statements,
        certain items may have been improperly characterized, classified, categorized, or
        designated. The Debtors expressly reserve all rights to amend, recharacterize, reclassify,
        recategorize, or redesignate items reported in the Schedules and Statements at a later time
        as they determine to be necessary and appropriate.
13.     Claims of Third-Party Entities. Although the Debtors have made reasonable efforts to
        classify properly each Claim listed in the Schedules as being either disputed or undisputed,
        liquidated or unliquidated, and/or contingent or non-contingent, the Debtors have not been
        able to fully reconcile all payments made to certain third-party entities on account of the
        Debtors’ obligations to both such entity and its affiliates, and are continuing to review all
        relevant documents. Therefore, to the extent that the Debtors have classified their estimate
        of claims of a creditor as disputed, for example, all claims of such creditor’s affiliates listed
        in the Schedules and Statements shall similarly be considered disputed, whether or not they

4
 See the Motion of Debtors for Entry of an Order Authorizing (i) Debtors to (a) Pay Prepetition Wages, Salaries,
Employee Benefits and Other Compensation and (b) Maintain Employee Benefits Programs and Pay Related
Administrative Obligations, (ii) Employees and Retirees to Proceed with Outstanding Workers’ Compensation
Claims and (iii) Financial Institutions to Honor and Process Related Checks and Transfers (the “Wages and
Benefits Motion”).




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       are individually designated as such.
14.    Liabilities. The Debtors have allocated liabilities between the prepetition and post-petition
       periods based on the information and research conducted in connection with the
       preparation of the Schedules and Statements. As additional information becomes available,
       and further research is conducted, particularly with respect to the Debtors’ accounts
       payable, the allocation of liabilities between the prepetition and post-petition periods may
       change. The Debtors reserve the right to, but are not required to, amend the Schedules and
       Statements as they deem appropriate to reflect this.
       The liabilities listed on the Schedules and Statements do not reflect any analysis of claims
       under section 503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all
       rights to dispute or challenge the validity of any asserted claims under section 503(b)(9) of
       the Bankruptcy Code or the characterization of the structure of any such transaction or any
       document or instrument related to any creditor’s claim.
 15.   Guarantees and Other Secondary Liability Claims. The Debtors have not identified or
       scheduled any known guarantees or other secondary liability claims. It is possible that
       certain guarantees embedded in the Debtors’ executory contracts, unexpired leases, secured
       financings, debt instruments, and other such agreements may have been inadvertently
       omitted. The Debtors reserve their rights to amend the Schedules to the extent that
       guarantees are identified.
 16.   Intellectual Property Rights. Exclusion of certain intellectual property shall not be
       construed to be an admission that such intellectual property rights have been abandoned,
       have been terminated or otherwise expired by their terms, or have been assigned or
       otherwise transferred pursuant to a sale, acquisition, or other transaction. Conversely,
       inclusion of certain intellectual property shall not be construed to be an admission that such
       intellectual property rights have not been abandoned, have not been terminated or
       otherwise expired by their terms, or have not been assigned or otherwise transferred
       pursuant to a sale, acquisition, or other transaction. The Debtors have made significant
       efforts to attribute intellectual property to the rightful Debtor owner; however, in some
       instances intellectual property owned by one Debtor may, in fact, be owned by another.
       Accordingly, the Debtors reserve all rights with respect to the legal status and proper
       attribution of any and all such intellectual property rights.
 17.   Executory Contracts and Unexpired Leases. The Debtors have not set forth executory
       contracts or unexpired leases as assets in the Schedules and Statements. The Debtors’
       executory contracts and unexpired leases have been set forth in Schedule G. In addition,
       while the Debtors have made diligent attempts to properly identify all executory contracts
       and unexpired leases, inadvertent errors, omissions, or over-inclusion may have occurred.
 18.   Claims Description. Schedules D and E/F permit each of the Debtors to designate a Claim
       as “disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a Claim on a
       given Debtor’s Schedules and Statements as “disputed,” “contingent,” or “unliquidated”
       does not constitute an admission by the Debtor that such amount is not “disputed,”
       “contingent,” or “unliquidated” or that such Claim is not subject to objection. The Debtors
       reserve all rights to dispute any Claim reflected on their respective Schedules and




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       Statements on any grounds, including, without limitation, liability or classification, or to
       otherwise subsequently designate such claims as “disputed,” “contingent,” or
       “unliquidated.” In addition, the Debtors reserve their rights to object to any listed Claim on
       the grounds that, among other things, the Claim has already been satisfied.
 19.   Causes of Action. Despite their reasonable efforts, the Debtors may not have listed all of
       their causes of action or potential causes of action against third parties as assets in their
       Schedules and Statements, including, without limitation, affirmative claims, avoidance
       actions arising under chapter 5 of the Bankruptcy Code and actions under other relevant
       non-bankruptcy laws to recover assets. The Debtors reserve all rights to any claims, causes
       of action, or avoidance actions they may have, and neither these Global Notes nor the
       Schedules and Statements shall be deemed a waiver of any such claims, causes of actions,
       or avoidance actions or in any way prejudice or impair the assertion of such claims.
 20.   Undetermined Amounts. Claim amounts that could not readily be quantified by the
       Debtors are scheduled as “unknown,” “TBD,” or “undetermined”. The description of an
       amount as “unknown,” “TBD,” or “undetermined” is not intended to reflect upon the
       materiality of such amount.
 21.   Liens. Property and equipment listed in the Schedules and Statements are presented
       without consideration of any liens that may attach (or have attached) to such property or
       equipment.
 22.   Global Notes Control. In the event that the Schedules and Statements differ from these
       Global Notes, the Global Notes shall control.
 23.   Confidentiality. There may be instances in the Schedules and Statements where the
       Debtors have deemed it necessary and appropriate to redact from the public record
       information such as names, addresses, or amounts. Typically, the Debtors have used this
       approach because of an agreement between the Debtors and a third party, concerns of
       confidentiality, or concerns for the privacy of, or otherwise preserving the confidentiality
       of, personally identifiable information.
                         General Disclosures Applicable to Schedules
 1.    Classifications. Listing a Claim on Schedule D as “secured,” or on Schedule E/F as
       “priority,” or “unsecured,” or a contract on Schedule G as “executory” or “unexpired,” does
       not in each case constitute an admission by the Debtors of the legal rights of the claimant,
       or a waiver of the Debtors’ right to recharacterize or reclassify such Claim or contract.
 2.    Schedule A/B - Real and Personal Property.
            a) Schedule A/B.3. Bank account balances are as of the Petition Date.
            b) Schedule A/B.7-8. Prepayment and deposit balances are as of the Petition Date.
            c) Schedule A/B.11. Schedule A/B identifies the net accounts receivable balance as
               of the Petition Date.
            d) Schedule A/B.15. The Debtors own equity interest in various publicly and non-




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               publicly traded stock. For purposes of these Schedules, the Debtors have listed
               the book value of these investments as of August 31, 2019.
          e) Schedule A/B.16. Investments are listed at their accrued value as of the Petition
             Date.
          f) Schedules A/B.19-58. Dollar amounts are presented net of accumulated
             depreciation and other adjustments.
          g) Schedule A/B.73. The Debtors maintain a variety of insurance policies including
             property, general liability, and workers' compensation policies and other employee
             related policies. The Debtors’ interest in these types of policies is limited to the
             amount of the premiums that the Debtors have prepaid, if any, as of August 31,
             2019, and any prefunded claim tails. To the extent the Debtors have made a
             determination of the amount of prepaid insurance premiums or prefunded claim
             tails as of August 31, 2019, such amounts are listed on Exhibit A/B, Part 2,
             Question 8.
          h) Schedule A/B.74. Despite exercising their reasonable efforts to identify all known
             assets, the Debtors may not have listed all of their causes of action or potential
             causes of action against third parties as assets in their Schedules including, but not
             limited to, avoidance actions arising under chapter 5 of the Bankruptcy Code and
             actions under other relevant non-bankruptcy laws to recover assets. Unless
             otherwise noted on specific responses, items reported on Schedule A/B are reported
             from the Debtors’ book and records as of the Petition Date. The Debtors reserve
             all of their rights with respect to any claims and causes of action they may have.
             Neither these Global Notes nor the Schedules shall be deemed a waiver of any such
             claims or causes of action or to prejudice or impair the assertion thereof in any way.
          i) Schedule A/B.75. In the ordinary course of business, the Debtors may have
             accrued, or may in the future accrue, certain rights to counter-claims, cross-claims,
             setoffs, and/or refunds with Debtors’ customers and suppliers, or potential warranty
             claims against their suppliers. Additionally, certain of the Debtors may be party to
             pending litigation in which the Debtors have asserted, or may assert, claims as
             a plaintiff or counter-claims and/or cross-claims as a defendant. Because such
             claims are unknown to the Debtors and not quantifiable as of the Petition Date,
             they are not listed on Schedule A/B.75.


 3.   Schedule D – Creditors Holding Secured Claims. The Debtors are not aware of any
      secured claims against the Debtors. The certain UCC-1 lienholders listed in this response
      are included solely out of an abundance of caution.
      Real property lessors, utility companies, and other parties that may hold security deposits
      have not been listed on Schedule D. The Debtors reserve their rights to amend Schedule D
      to the extent that the Debtors determine that any claims associated with such agreements
      should be reported on Schedule D.




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         Moreover, the Debtors have not included on Schedule D claims that may be secured through
         setoff rights or inchoate statutory lien rights. The Debtors have not investigated which of
         the claims against the Debtors may include such rights, and their population is currently
         unknown.
    4.   Schedule E/F– Creditors Holding Unsecured Claims. The Debtors have used reasonable
         efforts to report all general unsecured claims against the Debtors on Schedule E/F based
         upon the Debtors’ existing books and records as of the Petition Date; however,
         inadvertent errors or omissions may have occurred. The claims listed on Schedule E/F
         arose or were incurred on various dates. In certain instances, the date on which a Claim
         arose may be an open issue of fact. In addition, the claims of individual creditors for,
         among other things, goods or services are listed as either the lower of the amounts
         invoiced by such creditor or the amounts entered on the Debtors’ books and records and
         may not reflect credits, rebates, or allowances due from such creditors to the applicable
         Debtors.
         Certain former directors, officers and/or employees of the Debtors have asserted
         indemnification claims against the Debtors. In these cases, the Debtors listed such claimants’
         counsel as the creditors rather than the claimants themselves, and identified such claims
         as indemnification claims.
         The Debtors have not listed any wage or wage-related obligations that the Debtors were
         granted authority to pay and have paid pursuant to First Day Orders on Schedule E/F. The
         Debtors reserve their right to dispute or challenge whether creditors listed on Schedule
         E/F are entitled to priority claims.
         Claims owing to various taxing and regulatory authorities to which the Debtors may
         potentially be liable are included on the Debtors’ Schedule E/F. Certain of such claims,
         however, may be subject to on-going audits and/or the Debtors are otherwise unable
         to determine with certainty the amount of the remaining claims listed on Schedule E/F.
         Therefore, the Debtors have listed all such priority claims with amounts “undetermined,”
         pending final resolution of on-going audits or other outstanding issues.
         Notwithstanding the foregoing, where creditors have yet to provide proper invoices
         for prepetition goods or services, such amounts may not be reflected on Schedule E/F.
         Moreover, Schedule E/F does not include certain balances including deferred liabilities,
         accruals, or general reserves. Such amounts are, however, reflected on the Debtors’ books
         and records as required in accordance with GAAP. Such accruals primarily represent
         general estimates of liabilities and do not represent specific claims as of the Petition Date.
         Due to the complex nature and the difficulty in estimating the liability arising from
         customer programs, 5 the Debtors have not listed any obligations arising from customer
         programs that the Debtors were granted authority to pay and have paid pursuant to First
         Day Orders on Schedule E/F
5
 See the Motion of Debtors for Entry of Interim and Final Orders Authorizing (i) Debtors to Honor Prepetition
Obligations to Customers and Related Third Parties and to Otherwise Continue Customer Programs (ii) Relief from
Stay to Permit Setoff in Connection with the Customer Programs and (iii) Financial Institutions to Honor and Process
Related Checks and Transfers (the “Customer Programs Motion”)




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      Schedule E/F also contains information regarding pending litigation involving the Debtors.
      The dollar amount of potential claims associated with any such pending litigation is listed
      as “undetermined” and marked as contingent, unliquidated, and disputed in the Schedules
      and Statements. Some of the litigation claims listed on Schedule E/F may be subject to
      subordination pursuant to section 510 of the Bankruptcy Code.
      Generally, the Debtors’ accounts payable are scheduled as being owed by a specific Debtor
      based on the Debtors’ books and records. There may be instances when one Debtor engages
      in a transaction or series of transactions which might generate accounts payable or other
      entries reported in the Schedules and Statements of another Debtor. It would be burdensome
      and an inefficient use of estate resources for the Debtors to allocate their accounts payable
      on a Debtor-by-Debtor basis in certain instances. Additionally, certain accounts payable
      reported in the Schedules of one of the Debtors may, in fact, be owed by one or more of
      the other Debtors. Consequently, Schedule E/F of each Debtor may list accounts
      payable liabilities of other Debtors.
 5.   Schedule G – Executory Contracts and Unexpired Leases. While every effort has been
      made to ensure the accuracy of Schedule G, inadvertent errors, omissions, or over-
      inclusion may have occurred. Each lease and contract listed in Schedule G may include
      one or more ancillary documents, including any underlying assignment and assumption
      agreements, amendments, supplements, full and partial assignments, renewals and partial
      releases. Certain of the leases and contracts listed on Schedule G may contain certain
      renewal options, guarantees of payment, options to purchase, rights of first refusal, and
      other miscellaneous rights. Such rights, powers, duties, and obligations are not set forth on
      Schedule G. In addition, the Debtors may have entered into various other types of
      agreements in the ordinary course of business, such as indemnity agreements, non-executory
      supplemental agreements, amendments/letter agreements, and confidentiality agreements.
      Such documents may not be set forth on Schedule G. Certain of the contracts, agreements,
      and leases listed on Schedule G may have been entered into by more than one of the Debtors.
      The Debtors may have included such contracts on the Schedule G of only one Debtor
      and excluded it from other Debtor counterparties.
      In certain circumstances, the specific Debtor obligor(s) to certain of the Agreements could
      not be specifically identified. In such cases, the Debtors have made reasonable efforts
      to identify the correct Debtor’s Schedule G on which to list the agreement. In some cases,
      the same supplier or provider appears multiple times in Schedule G. This multiple listing
      is to reflect distinct agreements between the applicable Debtor and such supplier or
      provider. In such cases, the Debtors made their best efforts to determine the correct Debtor
      on which to list such executory contracts or unexpired leases. Certain of the executory
      contracts may not have been memorialized in writing and could be subject to dispute.
      The agreements listed on Schedule G may have expired or may have been renewed, modified,
      amended, or supplemented from time to time by various amendments, restatements, waivers,
      estoppel certificates, letters and other documents, instruments and agreements, which may
      not be listed on Schedule G.
      Any and all of the Debtors’ rights, claims, and causes of action with respect to the agreements
      listed on Schedule G are hereby reserved and preserved, including, but not limited to,




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         the Debtors’ rights to (i) dispute the validity, status, or enforceability of any agreements set
         forth on Schedule G, (ii) dispute or challenge the characterization of the structure of any
         transaction, or any document or instrument related to a creditor’s claim, including, but
         not limited to, the agreements listed on Schedule G and (iii) amend or supplement
         Schedule G as necessary. Inclusion or exclusion of any agreement on Schedule G does not
         constitute an admission that such agreement is an executory contract or unexpired lease,
         and the Debtors reserve all rights in that regard, including that any agreement is not
         executory, has expired pursuant to its terms, or was terminated prepetition.
         The Debtors have made reasonable efforts to list each executory contract or unexpired lease
         at the correct Debtor or Debtor(s). However, liabilities associated with certain executory
         contracts or unexpired leases may be reported on the Schedules of a particular Debtor while
         the corresponding executory contract or unexpired lease is listed on the Schedule G of
         a different Debtor.
    6.   Schedule H - Codebtors. In the ordinary course of their business, the Debtors are involved
         in pending or threatened litigation and claims arising out of the conduct of their business.
         These matters may involve multiple plaintiffs and defendants, some or all of whom may
         assert cross-claims and counterclaims against other parties. Because such claims are listed
         elsewhere in the Statements and Schedules, they have not been set forth individually
         on Schedule H.
         The Debtors may not have identified certain guarantees that are embedded in the Debtors’
         executory contracts, unexpired leases and other such agreements. The Debtors reserve their
         right, but shall not be required, to amend the Schedules to the extent that guarantees
         are identified.


                             General Disclosures Applicable to Statements
    a.   Statements – Question 1-2. Historically, revenue is reported on the Debtors’
         consolidated financials; however, revenue is recorded in the Debtors’ books and records on
         an individual Debtor basis. The Statements list revenue on an individual Debtor basis.
         Listed gross revenue amounts represent the invoiced value of sales.
    b.   Statements – Question 3 - 90 Day Payments. The Debtors have responded to Question 3
         in the Statements in a detailed format, categorized by payee. All disbursements listed in
         Question 3 are made through the Debtors’ cash management system, more fully described
         in the Cash Management Motion. 6 Dates listed in Question 3 reflect the date upon
         which the Debtor transferred funds to the relevant payee. The response to Question 3
         includes any disbursement or other transfer made by the Debtors except gifts and
         charitable contributions (which payments are listed in response to Question 9, where
         applicable) and bankruptcy professionals (which payments are listed in response to
         Question 11, where applicable). Not all payees are creditors of the Debtors. Certain

6
 See the Motion of Debtors for Entry of Interim and Final Orders Authorizing (i) Debtors to Continue to Use Existing
Cash Management System and Maintain Existing Bank Accounts and Business Forms and (ii) Financial Institutions
to Honor and Process Related Checks and Transfers (the “Cash Management Motion”)




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      payees have received payments listed on behalf of other parties or have received
      payments that are not on account of antecedent debts. In addition, the response to Question
      3 does not include checks that were either voided or not presented before the Petition Date.
 c.   Statements – Question 4 – Payments to or for the Benefit of Insiders. Individuals listed
      in the Statements as insiders have been included for informational purposes only. The
      Debtors do not take any position with respect to (i) such person’s influence over the control
      of the Debtors; (ii) the management responsibilities or functions of such individual; (iii)
      the decision-making or corporate authority or such individual; or (iv) whether such
      individual could successfully argue that he or she is not an “insider” under applicable law,
      including the federal securities law, or with respect to any theories of liability or any other
      purpose. For purposes of the Schedules and Statements, the Debtors have also provided
      disclosures regarding certain entities that are directly or indirectly owned or controlled by
      Purdue Pharma L.P.’s direct or indirect shareholders, including trusts, beneficiaries,
      companies, affiliates, family members and any similar related parties. The Debtors do not
      take any position with respect to whether any such entity constitutes an “insider” as defined
      in section 101(31) of the Bankruptcy Code. As such, the Debtors reserve all rights to
      dispute whether any individual or entity identified in response to Question 4 is in fact an
      “insider” as defined in section 101(31) of the Bankruptcy Code. For more information
      regarding each Debtor’s officers and directors, see Questions 28 and 29.
      The payroll-related amounts shown in response to this question for any salary, bonus or
      additional compensation, and/or severance payments are gross amounts that do not include
      reductions for amounts including employee tax or benefit withholdings.
 d.   Statements – Question 7: Legal Actions or Assignments. The Debtors reserve all of
      their rights and defenses with respect to any and all listed lawsuits and administrative
      proceedings. The listing of any such suits and proceedings shall not constitute an admission
      by the Debtors of any liabilities or that the actions or proceedings were correctly filed
      against the Debtors or any affiliates of the Debtors. The Debtors also reserve their rights to
      assert that a Debtor is not an appropriate party to such actions or proceedings.
      The Debtors have devoted substantial resources to identify and provide as much
      information for as many proceedings as possible in response to Statements Question 7
      using records that were reasonably accessible and reviewable. While the Debtors believe
      they were diligent in their efforts, information the Debtors were unable to locate for
      proceedings that were listed was left blank.
 e.   Statements – Question 9: Charitable Contributions. The grants, donations and/or
      charitable contributions listed in response to Question 9 represent payments made to third
      parties during the applicable timeframe that were recorded as such within the Debtors’
      books and records.
 f.   Statements – Question 11 – Payments Related to Bankruptcy. The Debtors have
      used reasonable efforts to identify payments for services of any entities that provided
      consultation concerning debt counseling or restructuring services, relief under the
      Bankruptcy Code, or preparation of a petition in bankruptcy within one year immediately
      before the Petition Date. Additional information regarding the Debtors’ retention of




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      professional service firms is more fully described in the individual retention applications
      for those firms and related orders. Not all payments made and listed are on account of debt
      counseling or restructuring services.
 g.   Statements – Question 13 – Transfers Not Already Listed. While the Debtors have
      made reasonable efforts to respond comprehensively to Question 13, certain de minimis
      asset sales and transfers may be omitted unintentionally. In addition, the Debtors buy
      and sell certain assets in the ordinary course of business. Such dispositions made in the
      ordinary course of business have not been reflected in responses to Question 13. The
      Debtors further do not take any position with respect to whether transfers identified in
      response to Question 13 are made in the ordinary course of business. Certain transfers
      listed in this response are included solely out of an abundance of caution.




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Purdue Pharma L.P.                                                                                  Case Number: 19-23649 (RDD)

Schedule A/B: Assets — Real and Personal Property
      Part 1:        Cash and cash equivalents

1.    Does the debtor have any cash or cash equivalents?

             No. Go to Part 2.
             Yes. Fill in the information below.


     General description                                            Type of account          Last 4 digits of     Current value of
                                                                    (if applicable)          account #            debtor’s interest
                                                                                             (if applicable)


2.     Cash on hand
      2.1


3.     Checking, savings, money market, or financial brokerage accounts (Identify all)
      3.1    EAST WEST BANK                                       OPERATING                         9129                   $29,589,053

      3.2    WELLS FARGO (RESTRICTED CASH)                        TRUST                             6600                   $58,638,237

      3.3    WELLS FARGO (RESTRICTED CASH)                        TRUST                             1100                   $10,178,946

      3.4    WELLS FARGO (RESTRICTED CASH)                        TRUST                             0300                   $10,298,935

      3.5    WELLS FARGO (RESTRICTED CASH)                        ESCROW                            3900                    $1,710,701

      3.6    WELLS FARGO (RESTRICTED CASH)                        ESCROW                            2400                   $10,768,190

      3.7    METROPOLITAN COMMERCIAL BANK                         TRUST                             6077                   $12,000,000
             (RESTRICTED CASH)

      3.8    METROPOLITAN COMMERCIAL BANK                         TRUST                             4767                  $125,162,380
             (RESTRICTED CASH)

      3.9    JP MORGAN CHASE                                      OPERATING                         8509                              $0

      3.10   JP MORGAN CHASE                                      OPERATING                         8921                              $0

      3.11   AMERICAN EXPRESS NATIONAL BANK                       CD                                5041                      $750,000
             (RESTRICTED CASH) - GUARANTY CONTROL
             ACCOUNT

      3.12   METROPOLITAN COMMERCIAL BANK                         MONEY MARKET                      4813                  $100,154,859
                                                                  ACCOUNT

      3.13   EAST WEST BANK                                       MONEY MARKET                      9136                  $200,549,779
                                                                  ACCOUNT

      3.14   JP MORGAN CHASE                                      OPERATING                         5837                              $0

      3.15   EAST WEST BANK                                       OPERATING                         9388                              $0

      3.16   EAST WEST BANK (RESTRICTED CASH)                     RESTRICTED ACCOUNT                9304                              $0

      3.17   GOLDMAN SACHS #506                                   MONEY MARKET FUND                 8266                  $366,175,785


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Schedule A/B: Assets — Real and Personal Property
     Part 1:        Cash and cash equivalents

     3.18   GOLDMAN SACHS #520                                         MONEY MARKET FUND          0462             $436,398,629

     3.19   JP MORGAN CHASE                                            OPERATING                  2890                 $108,196

     3.20   JPMORGAN/DREYFUS FUNDS #761                                MONEY MARKET FUND          7720                       $0


4.    Other cash equivalents (Identify all)
     4.1



5.    Total of Part 1.                                                                                            $1,362,483,690
      Add lines 2 through 4. Copy the total to line 80.




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Purdue Pharma L.P.                                                                                  Case Number: 19-23649 (RDD)

Schedule A/B: Assets — Real and Personal Property
      Part 2:          Deposits and prepayments

6.     Does the debtor have any deposits or prepayments?

               No. Go to Part 3.
               Yes. Fill in the information below.


     General description                                                                                        Current value of
                                                                                                                debtor’s interest




7.     Deposits, including security deposits and utility deposits
         Description, including name of holder of deposit


        7.1     BID DEPOSITS / REFUNDS - WORKFORCE LOGIQ                                                                    $251,029

8.     Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment


        8.1     EXCHANGE OTHER - MEDLINE INDUSTRIES INC.                                                                        $430

        8.2     PREPAID DEPOSITS - BRYANT PARTK SOUTH CO                                                                      $1,000

        8.3     PREPAID DEPOSITS - COMDATA INC.                                                                              $65,600

        8.4     PREPAID DEPOSITS - RALLY INVESTCO LLC                                                                        $21,500

        8.5     PREPAID INSURANCE - ACE AMERICAN                                                                              $4,005

        8.6     PREPAID INSURANCE - ENDURANCE                                                                                $19,125

        8.7     PREPAID INSURANCE - ENDURANCE                                                                                $11,595

        8.8     PREPAID INSURANCE - FM GLOBAL                                                                                 $9,646

        8.9     PREPAID INSURANCE - FM GLOBAL                                                                                 $6,258

        8.10    PREPAID INSURANCE - FM GLOBAL                                                                                 $1,094

        8.11    PREPAID INSURANCE - GREAT AMERICAN                                                                           $60,587

        8.12    PREPAID INSURANCE - INSURANCE COMPANY OF PA                                                                   $4,169

        8.13    PREPAID INSURANCE - LIBERTY MUTUAL                                                                           $10,315

        8.14    PREPAID INSURANCE - LIBERTY MUTUAL                                                                            $5,625

        8.15    PREPAID INSURANCE - LIBERTY MUTUAL                                                                            $3,932

        8.16    PREPAID INSURANCE - LIBERTY MUTUAL                                                                            $3,313

        8.17    PREPAID INSURANCE - LIBERTY MUTUAL                                                                            $2,558

        8.18    PREPAID INSURANCE - LIBERTY MUTUAL                                                                              $905

        8.19    PREPAID INSURANCE - MARSH USA INC BROKER FEE                                                                  $9,870



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Purdue Pharma L.P.                                                                  Case Number: 19-23649 (RDD)

Schedule A/B: Assets — Real and Personal Property
  Part 2:       Deposits and prepayments

   8.20     PREPAID INSURANCE - MARSH USA INC BROKER FEE                                                    $335

   8.21     PREPAID INSURANCE - MARSH USA INC.                                                            $6,214

   8.22     PREPAID INSURANCE - MARSH USA INC.                                                            $5,838

   8.23     PREPAID INSURANCE - NATIONAL UN-PA                                                           $39,609

   8.24     PREPAID INSURANCE - OLD REPUBLIC                                                              $4,875

   8.25     PREPAID INSURANCE - STEADFAST                                                                 $8,919

   8.26     PREPAID INSURANCE - ZURICH                                                                  $110,000

   8.27     PREPAID INSURANCE - ZURICH                                                                   $19,360

   8.28     PREPAID INSURANCE - ZURICH                                                                   $13,875

   8.29     PREPAID LEGAL & RETAINERS - ALIXPARTNERS                                                   $1,750,000

   8.30     PREPAID LEGAL & RETAINERS - BATES WHITE                                                     $500,000

   8.31     PREPAID LEGAL & RETAINERS - DAVIS POLK AND WARDWELL LLP                                    $5,126,543

   8.32     PREPAID LEGAL & RETAINERS - DECHERT LLP                                                   $11,000,000

   8.33     PREPAID LEGAL & RETAINERS - JONES DAY                                                       $750,000

   8.34     PREPAID LEGAL & RETAINERS - KING & SPALDING LLP                                            $1,300,000

   8.35     PREPAID LEGAL & RETAINERS - LYNN PINKER COX & HURST LLP                                     $750,000

   8.36     PREPAID LEGAL & RETAINERS - MAIWALD PATENTANWALTS GMBH                                      $168,773

   8.37     PREPAID LEGAL & RETAINERS - MORRIS NICHOLS                                                   $20,000

   8.38     PREPAID LEGAL & RETAINERS - PJT PARTNERS                                                     $75,000

   8.39     PREPAID LEGAL & RETAINERS - PORTER HEDGES LLP                                               $500,000

   8.40     PREPAID LEGAL & RETAINERS - PRIME CLERK LLC                                                $1,175,000

   8.41     PREPAID LEGAL & RETAINERS - SIDLEY AUSTIN LLP                                               $150,000

   8.42     PREPAID LEGAL & RETAINERS - SKADDEN ARPS SLATE MEAGHER                                     $1,769,967

   8.43     PREPAID LEGAL & RETAINERS - WIGGIN & DANA LLP                                                $50,000

   8.44     PREPAID LEGAL & RETAINERS - WILLIS TOWERS WATSON US LLC                                      $40,000

   8.45     PREPAID LEGAL & RETAINERS - WILMER CUTLER PICKERING                                         $113,555

   8.46     PREPAID OTHER - ANAQUA SERVICES INC.                                                        $300,162

   8.47     PREPAID OTHER - ARIBA                                                                       $168,634

   8.48     PREPAID OTHER - CAMPBELL ALLIANCE                                                           $127,352



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Schedule A/B: Assets — Real and Personal Property
     Part 2:        Deposits and prepayments

      8.49     PREPAID OTHER - CISCO                                                                                   $81,143

      8.50     PREPAID OTHER - CUMBERLAND CONSULTING GROUP                                                            $380,865

      8.51     PREPAID OTHER - FOOD AND DRUG ADMINISTRATION                                                           $258,263

      8.52     PREPAID OTHER - HB COMMUNICATIONS, INC.                                                                 $47,106

      8.53     PREPAID OTHER - HOST ANALYTICS                                                                         $227,060

      8.54     PREPAID OTHER - INVENTIV                                                                               $415,299

      8.55     PREPAID OTHER - MICROSOFT                                                                              $160,803

      8.56     PREPAID PERSONAL PROPERTY & REAL ESTATE - CITY OF STAMFORD                                             $130,994

      8.57     PREPAID RENT - ONE STAMFORD REALTY LP                                                                  $602,027

      8.58     PREPAID S&P - ALPHASCRIP                                                                               $388,266

      8.59     PREPAID S&P - MCKESSON SPECIALTY CORP                                                                 $1,538,999

      8.60     PREPAID U.S. BANK PURCHASING CARD - U.S. BANK                                                               $47



9.    Total of Part 2                                                                                               $30,767,438
      Add lines 7 through 8. Copy the total to line 81.




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Schedule A/B: Assets — Real and Personal Property
      Part 3:       Accounts receivable
10. Does the debtor have any accounts receivable?

            No. Go to Part 4.
            Yes. Fill in the information below.


  General description                                                            Face or requested       Doubtful or              Current value of
                                                                                 amount                  uncollectable            debtor’s interest



11.     Accounts receivable

        11a. 90 days old or less:                                                    $124,269,385    -        $11,527,576     =        $112,741,808

        11b. Over 90 days old:                                                         $2,461,246    -         $1,568,248     =            $892,998


        11c. All accounts receivable:                                                                -                        =


12.     Total of Part 3                                                                                                              $113,634,806
        Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Specific Notes
All Other Deductions include (1) reserve for discounts, (2) refund of A/R credit balances, (3) unprocessed deductions, (4) accrued wholesaler fee
for service, and (5) accrued wholesaler vendor chargebacks. Debtor does not include accruals for future returns.




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Purdue Pharma L.P.                                                                                       Case Number: 19-23649 (RDD)

Schedule A/B: Assets — Real and Personal Property
   Part 4:           Investments

13. Does the debtor own any investments?

            No. Go to Part 5.
            Yes. Fill in the information below.


  General description                                                                           Valuation method           Current value of
                                                                                                used for current value     debtor’s interest




14. Mutual funds or publicly traded stocks not included in Part 1
       Name of fund or stock:

    14.1


15. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC, partnership,
    or joint venture
       Name of entity:

    15.1    COGNITION THERAPEUTICS, INC. - SHARES OF SERIES B PREFERRED                                 NBV                            $500,000
            STOCK (OWNERSHIP: UNDETERMINED)


    15.2    SPINETHERA, INC. - SHARES OF SERIES C PREFERRED STOCK AND                                   NBV                         $10,000,000
            OPTION TO PURCHASE COMPANY (OWNERSHIP: UNDETERMINED)


16. Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
       Describe:

    16.1    UBS INVESTMENT ACCOUNT                                                                   UNKNOWN                            $63,678



17. Total of Part 4
                                                                                                                                    $10,563,678
     Add lines 14 through 16. Copy the total to line 83.

Specific Notes
See exhibits attached for additional detail.




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INTERCOMPANY - DEBTOR TO DEBTOR
AS OF AUGUST 31, 2019


                                                            Nayatt Cove              Purdue        Purdue Neuroscience                                                      Purdue Pharma           Purdue Transdermal      Rhodes Associates            Rhodes
                 DEBTOR             Purdue Pharma L.P.                                                                 Rhodes Technologies               UDF LP                                                                                                             Button Land L.P.
                                                            Lifescience         Pharmaceuticals LP         Co.                                                                Puerto Rico                  Tech                   L.P.              Pharmaceuticals L.P.
Purdue Pharma L.P.                                    -                     -                       -                    -             6,681,696                       -                        -                      -             (2,345,767)             (55,001,053)                      -
Nayatt Cove Lifescience                               -                     -                       -                    -                     -                       -                        -                      -                        -                      -                       -
Purdue Pharmaceuticals LP                             -                     -                       -                    -                     -                       -                        -                      -                        -                      -                       -
Purdue Neuroscience Co.                               -                     -                       -                    -                     -                       -                        -                      -                        -                      -                       -
Rhodes Technologies                          (6,681,696)                    -                       -                    -                     -               (468,921)                        -                      -                        -             (1,800,267)              (74,276)
UDF LP                                                -                     -                       -                    -              468,921                        -                        -                      -                        -                      -                       -
Purdue Pharma Puerto Rico                             -                     -                       -                    -                     -                       -                        -                      -                        -                      -                       -
Purdue Transdermal Tech                               -                     -                       -                    -                     -                       -                        -                      -                        -                      -                       -
Rhodes Associates L.P.                        2,345,767                     -                       -                    -                     -                       -                        -                      -                        -                      -                       -
Rhodes Pharmaceuticals L.P.                  55,001,053                     -                       -                    -             1,800,267                       -                        -                      -                        -                      -                       -
Button Land L.P.                                      -                     -                       -                    -               74,276                        -                        -                      -                        -                      -                       -
Quidnick Land L.P.                                    -                     -                       -                    -              378,915                        -                        -                      -                        -                      -                 1,328
Paul Land Inc.                                        -                     -                       -                    -               37,000                        -                        -                      -                        -                      -               (52,084)
Imbrium Therapeutics L.P.                             -                     -                       -                    -                     -                       -                        -                      -                        -                      -                       -
Greenfield BioVentures LP                             -                     -                       -                    -                     -                       -                        -                      -                        -                      -                       -
Adlon Therapeutics L.P.                               -                     -                       -                    -                     -                       -                        -                      -                        -                      -                       -
Purdue Pharma Inc.                           (1,566,603)                    -                       -                    -               (12,500)                 (2,500)                       -                      -                        -                 (6,250)               (1,250)
Avrio Health L.P.                                     -                     -                       -                    -                     -                       -                        -                      -                        -                      -                       -
Purdue Pharmaceutical Products LP                     -                     -                       -                    -                     -                       -                        -                      -                        -                      -                       -
Purdue Pharma Mfg. L.P.                               -                     -                       -                    -                     -                       -                        -                      -                        -                      -                       -
SVC Pharma Inc.                                       -                     -                       -                    -              202,215                        -                        -                      -                        -                      -                       -
SVC Pharma L.P.                                       -                     -                       -                    -                     -               466,922                          -                      -                        -               (301,441)                      -

                                             49,098,521                     -                       -                    -             9,630,790                  (4,499)                       -                      -             (2,345,767)             (57,109,012)             (126,282)

                                                                                                                                                                                                         Purdue
                                                                                    Imbrium               Greenfield         Adlon Therapeutics                                                                            Purdue Pharma Mfg.
                 DEBTOR             Quidnick Land L.P.     Paul Land Inc.                                                                           Purdue Pharma Inc.      Avrio Health L.P.         Pharmaceutical                                 SVC Pharma Inc.        SVC Pharma L.P.
                                                                                Therapeutics L.P.       BioVentures LP              L.P.                                                                                          L.P.
                                                                                                                                                                                                       Products LP
Purdue Pharma L.P.                                    -                     -                       -                    -                     -              1,566,603                         -                      -                        -                      -                    -
Nayatt Cove Lifescience                               -                     -                       -                    -                     -                       -                        -                      -                        -                      -                    -
Purdue Pharmaceuticals LP                             -                     -                       -                    -                     -                       -                        -                      -                        -                      -                    -
Purdue Neuroscience Co.                               -                     -                       -                    -                     -                       -                        -                      -                        -                      -                    -
Rhodes Technologies                            (378,915)             (37,000)                       -                    -                     -                  12,500                        -                      -                        -               (202,215)                   -
UDF LP                                                -                     -                       -                    -                     -                   2,500                        -                      -                        -                      -             (466,922)
Purdue Pharma Puerto Rico                             -                     -                       -                    -                     -                       -                        -                      -                        -                      -                    -
Purdue Transdermal Tech                               -                     -                       -                    -                     -                       -                        -                      -                        -                      -                    -
Rhodes Associates L.P.                                -                     -                       -                    -                     -                       -                        -                      -                        -                      -                    -
Rhodes Pharmaceuticals L.P.                           -                     -                       -                    -                     -                   6,250                        -                      -                        -                      -              301,441
Button Land L.P.                                 (1,328)             52,084                         -                    -                     -                   1,250                        -                      -                        -                      -                    -
Quidnick Land L.P.                                    -              52,084                         -                    -                     -                   1,250                        -                      -                        -                      -                    -
Paul Land Inc.                                  (52,084)                  -                         -                    -                     -                       -                        -                      -                        -                      -                    -
Imbrium Therapeutics L.P.                             -                     -                       -                    -                     -                       -                        -                      -                        -                      -                    -
Greenfield BioVentures LP                             -                     -                       -                    -                     -                       -                        -                      -                        -                      -                    -
Adlon Therapeutics L.P.                               -                     -                       -                    -                     -                       -                        -                      -                        -                      -                    -
Purdue Pharma Inc.                               (1,250)                    -                       -                    -                     -                       -                        -                      -                        -                      -                    -
Avrio Health L.P.                                     -                     -                       -                    -                     -                       -                        -                      -                        -                      -                    -
Purdue Pharmaceutical Products LP                     -                     -                       -                    -                     -                       -                        -                      -                        -                      -                    -
Purdue Pharma Mfg. L.P.                               -                     -                       -                    -                     -                       -                        -                      -                        -                      -                    -
SVC Pharma Inc.                                       -                     -                       -                    -                     -                       -                        -                      -                        -                      -               (3,459)
SVC Pharma L.P.                                       -                     -                       -                    -                     -                       -                        -                      -                        -                  3,459                    -

                                               (433,577)             67,167                         -                    -                     -              1,590,353                         -                      -                        -               (198,756)             (168,940)
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                                                                                                  IN RE: PURDUE PHARMA L.P., et al.
                                                                                                    ORGANIZATIONAL STRUCTURE
                                                                                  EXHIBIT RELATED TO SCHEDULE A/B PART 4, QUESTION 15 and SOFA 25

                                                                                                        Location of                                         Debtor /
Legal Entity                                        Address                                             Incorporation            Federal Tax ID   Country   Non-Debtor    Ownership   Nature of Business
Purdue Pharma Inc.                                  201 Tresser Blvd, Stamford, CT 06901, USA           New York                 XX-XXXXXXX       USA       Debtor                    General Partner of certain Debtors
   Pharmaceutical Research Associates L.P.          201 Tresser Blvd, Stamford, CT 06901, USA           Delaware                                  USA       Non-Debtor      0.248%    Limited Partner of Purdue Pharma L.P.
       Purdue Pharma L.P.                           201 Tresser Blvd, Stamford, CT 06901, USA           Delaware                 XX-XXXXXXX       USA       Debtor        100.000%    Operating Company
          Purdue Transdermal Technologies L.P.      201 Tresser Blvd, Stamford, CT 06901, USA           Delaware                 XX-XXXXXXX       USA       Debtor        100.000%    Operating Company
          Purdue Pharma Manufacturing L.P.          201 Tresser Blvd, Stamford, CT 06901, USA           Delaware                 XX-XXXXXXX       USA       Debtor        100.000%    Operating Company
          Purdue Pharmaceuticals L.P.               201 Tresser Blvd, Stamford, CT 06901, USA           Delaware                 XX-XXXXXXX       USA       Debtor        100.000%    Operating Company
          Imbrium Therapeutics L.P.                 201 Tresser Blvd, Stamford, CT 06901, USA           Delaware                 XX-XXXXXXX       USA       Debtor        100.000%    Operating Company
          Adlon Therapeutics L.P.                   201 Tresser Blvd, Stamford, CT 06901, USA           Delaware                 XX-XXXXXXX       USA       Debtor        100.000%    Operating Company
          Greenfield BioVentures L.P.               201 Tresser Blvd, Stamford, CT 06901, USA           Delaware                 XX-XXXXXXX       USA       Debtor        100.000%    Non-operating Company
          Seven Seas Hill Corp.                     201 Tresser Blvd, Stamford, CT 06901, USA           British Virgin Islands   N/A              GB        Debtor        100.000%    General Partner of Purdue Pharma of
                                                                                                                                                                                      Puerto Rico
           Purdue Pharma of Puerto Rico             201 Tresser Blvd, Stamford, CT 06901, USA           Delaware                 XX-XXXXXXX       USA       Debtor         50.000%    Operating Company
         Ophir Green Corp.                          201 Tresser Blvd, Stamford, CT 06901, USA           British Virgin Islands   N/A              GB        Debtor        100.000%    General Partner of Purdue Pharma of
                                                                                                                                                                                      Puerto Rico
            Purdue Pharma of Puerto Rico            201 Tresser Blvd, Stamford, CT 06901, USA           Delaware                 XX-XXXXXXX       USA       Debtor         50.000%    See above
         Avrio Health L.P.                          201 Tresser Blvd, Stamford, CT 06901, USA           Delaware                 XX-XXXXXXX       USA       Debtor        100.000%    Operating Company
         Purdue Pharmaceutical Products L.P.        201 Tresser Blvd, Stamford, CT 06901, USA           Delaware                 XX-XXXXXXX       USA       Debtor        100.000%    Non-operating Company
         Purdue Neuroscience Company                201 Tresser Blvd, Stamford, CT 06901, USA           Delaware                 XX-XXXXXXX       USA       Debtor         99.000%    Inactive
         Nayatt Cove Lifescience Inc.               201 Tresser Blvd, Stamford, CT 06901, USA           Delaware                 XX-XXXXXXX       USA       Debtor        100.000%    Non-operating Company
         Rhodes Associates L.P.                     498 Washington Street, Coventry, RI 02816, USA      Delaware                 N/A              USA       Debtor        100.000%    General partner of certain Rhodes
                                                                                                                                                                                      Debtors (see below)
            Rhodes Pharmaceuticals L.P.             498 Washington Street, Coventry, RI 02816, USA      Delaware                 XX-XXXXXXX       USA       Debtor        100.000%    Operating Company
            Rhodes Technologies                     498 Washington Street, Coventry, RI 02816, USA      Delaware                 XX-XXXXXXX       USA       Debtor        100.000%    Operating Company
                UDF LP                              498 Washington Street, Coventry, RI 02816, USA      Delaware                 XX-XXXXXXX       USA       Debtor        100.000%    Non-operating Company
                    Button Land L.P.                498 Washington Street, Coventry, RI 02816, USA      Delaware                 XX-XXXXXXX       USA       Debtor        100.000%    Real estate
                    Quidnick Land L.P.              498 Washington Street, Coventry, RI 02816, USA      Delaware                 XX-XXXXXXX       USA       Debtor        100.000%    Real estate
                    SVC Pharma LP                   498 Washington Street, Coventry, RI 02816, USA      Delaware                 XX-XXXXXXX       USA       Debtor         99.000%    Non-operating Company
                SVC Pharma Inc.                     498 Washington Street, Coventry, RI 02816, USA      Delaware                 XX-XXXXXXX       USA       Debtor        100.000%    General Partner of SVC Pharma L.P.
                    SVC Pharma LP                   498 Washington Street, Coventry, RI 02816, USA      Delaware                 XX-XXXXXXX       USA       Debtor          1.000%    See above
            Button Land L.P.                        498 Washington Street, Coventry, RI 02816, USA      Delaware                 XX-XXXXXXX       USA       Debtor          0.000%    See above
            Quidnick Land L.P.                      498 Washington Street, Coventry, RI 02816, USA      Delaware                 XX-XXXXXXX       USA       Debtor          0.000%    See above
            Paul Land Inc.                          498 Washington Street, Coventry, RI 02816, USA      New York                 XX-XXXXXXX       USA       Debtor        100.000%    Non-operating Company
   Purdue Pharma L.P.                               201 Tresser Blvd, Stamford, CT 06901, USA           Delaware                 XX-XXXXXXX       USA       Debtor          0.000%    See above
   Purdue Transdermal Technologies L.P.             201 Tresser Blvd, Stamford, CT 06901, USA           Delaware                 XX-XXXXXXX       USA       Debtor          0.000%    See above
   Purdue Pharma Manufacturing L.P.                 201 Tresser Blvd, Stamford, CT 06901, USA           Delaware                 XX-XXXXXXX       USA       Debtor          0.000%    See above
   Purdue Pharmaceuticals L.P.                      201 Tresser Blvd, Stamford, CT 06901, USA           Delaware                 XX-XXXXXXX       USA       Debtor          0.000%    See above
   Imbrium Therapeutics L.P.                        201 Tresser Blvd, Stamford, CT 06901, USA           Delaware                 XX-XXXXXXX       USA       Debtor          0.000%    See above
   Adlon Therapeutics L.P.                          201 Tresser Blvd, Stamford, CT 06901, USA           Delaware                 XX-XXXXXXX       USA       Debtor          0.000%    See above
   Greenfield BioVentures L.P.                      201 Tresser Blvd, Stamford, CT 06901, USA           Delaware                 XX-XXXXXXX       USA       Debtor          0.000%    See above
   Avrio Health L.P.                                201 Tresser Blvd, Stamford, CT 06901, USA           Delaware                 XX-XXXXXXX       USA       Debtor          0.000%    See above
   Purdue Pharmaceutical Products L.P.              201 Tresser Blvd, Stamford, CT 06901, USA           Delaware                 XX-XXXXXXX       USA       Debtor          0.000%    See above
   Purdue Neuroscience Company                      201 Tresser Blvd, Stamford, CT 06901, USA           Delaware                 XX-XXXXXXX       USA       Debtor          1.000%    See above
   Rhodes Pharmaceuticals L.P.                      498 Washington Street, Coventry, RI 02816, USA      Delaware                 XX-XXXXXXX       USA       Debtor          0.000%    See above
   Rhodes Technologies                              498 Washington Street, Coventry, RI 02816, USA      Delaware                 XX-XXXXXXX       USA       Debtor          0.000%    See above
   UDF LP                                           498 Washington Street, Coventry, RI 02816, USA      Delaware                 XX-XXXXXXX       USA       Debtor          0.000%    See above

Note: For ownership purposes, subsidiaries are shown as indented following their parent within the above.
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Purdue Pharma L.P.                                                                                     Case Number: 19-23649 (RDD)

Schedule A/B: Assets — Real and Personal Property
   Part 5:         Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

           No. Go to Part 6.
           Yes. Fill in the information below.


 General description                                        Date of the last      Net book value of   Valuation method     Current value of
                                                            physical inventory    debtor's interest   used for current     debtor’s interest
                                                                                  (Where available)   value


19. Raw materials
   19.1

20. Work in progress
   20.1

21. Finished goods, including goods held for resale
   21.1    FINISHED GOODS                                                                $7,128,144   STANDARD COST             $7,128,144

22. Other Inventory or supplies
   22.1



23. Total of Part 5.                                                                                                           $7,128,144
    Add lines 19 through 22. Copy the total to line 84.


24. Is any of the property listed in Part 5 perishable?
           No
           Yes

25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

           No
           Yes.     Book Value                               Valuation method                         Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?

           No
           Yes




                                                          Page 1 of 1 to Schedule A/B Part 5
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Purdue Pharma L.P.                                                                                      Case Number: 19-23649 (RDD)

Schedule A/B: Assets — Real and Personal Property
   Part 5:         Inventory, excluding agriculture assets - detail
18. Does the debtor own any inventory (excluding agriculture assets)?

           No. Go to Part 6.
           Yes. Fill in the information below.


 General description                                        Date of the last       Net book value of   Valuation method    Current value of
                                                            physical inventory     debtor's interest   used for current    debtor’s interest
                                                                                   (Where available)   value

19. Raw materials

   19.1

20. Work in progress

   20.1

21. Finished goods, including goods held for resale

   21.1   FINISHED GOODS                                                                 $7,128,144    STANDARD COST            $7,128,144

22. Other Inventory or supplies

   22.1


23. Total of Part 5                                                                                                             $7,128,144
    Add lines 19 through 22. Copy the total to line 84.


24. Is any of the property listed in Part 5 perishable?

           No
           Yes

25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

           No
           Yes.       Book Value                             Valuation method                          Current value


26. Has any of the property listed in Part 5 been appraised by a professional within the last year?

           No
           Yes




                                                          Page 1 of 1 to Schedule A/B Part 5
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Purdue Pharma L.P.                                                                                     Case Number: 19-23649 (RDD)

Schedule A/B: Assets — Real and Personal Property
   Part 6:            Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

           No. Go to Part 7.
           Yes. Fill in the information below.


 General description                                                     Net book value of     Valuation method         Current value of
                                                                         debtor's interest     used for current value   debtor’s interest
                                                                         (Where available)


28. Crops—either planted or harvested
    28.1

29. Farm animals
     Examples: Livestock, poultry, farm-raised fish

    29.1

30. Farm machinery and equipment
     (Other than titled motor vehicles)

    30.1

31. Farm and fishing supplies, chemicals, and feed
    31.1

32. Other farming and fishing-related property not already listed in Part 6
    32.1


33. Total of Part 6.
    Add lines 28 through 32. Copy the total to line 85.


34. Is the debtor a member of an agricultural cooperative?
           No
           Yes. Is any of the debtor’s property stored at the cooperative?

                 No
                 Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

           No
           Yes.        Book Value                            Valuation method                         Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?

           No
           Yes

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

           No
           Yes




                                                          Page 1 of 1 to Schedule A/B Part 6
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Purdue Pharma L.P.                                                                                     Case Number: 19-23649 (RDD)

Schedule A/B: Assets — Real and Personal Property
   Part 6:             Farming and fishing-related assets (other than titled motor vehicles and land) - detail
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

            No. Go to Part 7.
            Yes. Fill in the information below.

 General description                                                      Net book value of    Valuation method          Current value of
                                                                          debtor's interest    used for current value    debtor’s interest
                                                                          (Where available)

28. Crops—either planted or harvested
     28.1


29. Farm animals
      Examples: Livestock, poultry, farm-raised fish
     29.1


30. Farm machinery and equipment
      (Other than titled motor vehicles)
     30.1


31. Farm and fishing supplies, chemicals, and feed
     31.1


32. Other farming and fishing-related property not already listed in Part 6
     32.1



33. Total of Part 6
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?
            No
            Yes. Is any of the debtor’s property stored at the cooperative?

                  No
                  Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

            No
            Yes.        Book Value                           Valuation method                         Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?

            No
            Yes

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

            No
            Yes




                                                          Page 1 of 1 to Schedule A/B Part 6
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Purdue Pharma L.P.                                                                                     Case Number: 19-23649 (RDD)

Schedule A/B: Assets — Real and Personal Property
   Part 7:         Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

           No. Go to Part 8.
           Yes. Fill in the information below.


 General description                                                     Net book value of     Valuation method         Current value of
                                                                         debtor's interest     used for current value   debtor’s interest
                                                                         (Where available)




39. Office furniture
    39.1     VARIOUS                                                              $214,630             NBV                          $214,630

40. Office fixtures
    40.1

41. Office equipment, including all computer equipment and communication systems equipment and software
    41.1     VARIOUS                                                           $11,971,274             NBV                       $11,971,274

42. Collectibles
    42.1



43. Total of Part 7                                                                                                              $12,185,904
    Add lines 39 through 42. Copy the total to line 86.


44. Is a depreciation schedule available for any of the property listed in Part 7?

           No
           Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

           No
           Yes




                                                          Page 1 of 1 to Schedule A/B Part 7
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Purdue Pharma L.P.                                                                                     Case Number: 19-23649 (RDD)

Schedule A/B: Assets — Real and Personal Property
   Part 7:         Office furniture, fixtures, and equipment; and collectibles - detail
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

           No. Go to Part 8.
           Yes. Fill in the information below.


 General description                                                     Net book value of     Valuation method          Current value of
                                                                         debtor's interest     used for current value    debtor’s interest
                                                                         (Where available)



39. Office furniture

    39.1     VARIOUS                                                              $214,630             NBV                          $214,630




40. Office fixtures

    40.1




41. Office equipment, including all computer equipment and communication systems equipment and software

    41.1     VARIOUS                                                           $11,971,274             NBV                       $11,971,274




42. Collectibles

    42.1




43. Total of Part 7                                                                                                              $12,185,904
    Add lines 39 through 42. Copy the total to line 86.


44. Is a depreciation schedule available for any of the property listed in Part 7?

           No
           Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

           No
           Yes




                                                          Page 1 of 1 to Schedule A/B Part 7
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Purdue Pharma L.P.                                                                                               Case Number: 19-23649 (RDD)

Schedule A/B: Assets — Real and Personal Property
   Part 8:          Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

            No. Go to Part 9.
            Yes. Fill in the information below.


 General description                                                               Net book value of     Valuation method         Current value of
                                                                                   debtor's interest     used for current value   debtor’s interest
                                                                                   (Where available)




47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

     47.1    AUTOMOBILES                                                                      $116,731           NBV                          $116,731


48. Watercraft, trailers, motors, and related accessories
     Examples: Boats, trailers, motors, floating homes, personal watercraft, and fishing vessels

     48.1


49. Aircraft and accessories

     49.1


50. Other machinery, fixtures, and equipment (excluding farm machinery and equipment)

     50.1    OTHER MACHINERY, FIXTURES AND EQUIPMENT                                        $1,471,351           NBV                        $1,471,351



51. Total of Part 8                                                                                                                         $1,588,082
    Add lines 47 through 50. Copy the total to line 87.


52. Is a depreciation schedule available for any of the property listed in Part 8?

            No
            Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

            No
            Yes




                                                                Page 1 of 1 to Schedule A/B Part 8
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Purdue Pharma L.P.                                                                                          Case Number: 19-23649 (RDD)

Schedule A/B: Assets — Real and Personal Property
   Part 9:         Real property

54. Does the debtor own or lease any real property?

           No. Go to Part 10.
           Yes. Fill in the information below.


Description and location of property                          Nature and extent       Net book value of      Valuation method   Current value of
Include street address or other description such as           of debtor’s             debtor's interest      used for current   debtor’s interest
Assessor Parcel Number (APN), and type of property            interest in             (Where available)      value
(for example, acreage, factory, warehouse, apartment or       property
office building), if available.

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

 55.1   201 TRESSER BLVD, STAMFORD, CT 06901                    LEASEHOLD                  $4,924,196               NBV              $4,924,196
                                                              IMPROVEMENTS



56. Total of Part 9                                                                                                                  $4,924,196
    Add the current value on all Question 55 lines and entries from any additional sheets. Copy the total to line 88.


57. Is a depreciation schedule available for any of the property listed in Part 9?

           No
           Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?

           No
           Yes




                                                        Page 1 of 1 to Schedule A/B Part 9
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Purdue Pharma L.P.                                                                                          Case Number: 19-23649 (RDD)

Schedule A/B: Assets — Real and Personal Property
   Part 9:         Real property - detail

54. Does the debtor own or lease any real property?

           No. Go to Part 10.
           Yes. Fill in the information below.


Description and location of property                         Nature and extent       Net book value of      Valuation method   Current value of
Include street address or other description such as          of debtor’s             debtor's interest      used for current   debtor’s interest
Assessor Parcel Number (APN), and type of property           interest in             (Where available)      value
(for example, acreage, factory, warehouse, apartment         property
or office building), if available.

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

   55.1   201 TRESSER BLVD, STAMFORD, CT 06901                 LEASEHOLD                  $4,924,196                NBV             $4,924,196
                                                             IMPROVEMENTS



56. Total of Part 9                                                                                                                 $4,924,196
    Add the current value on all Question 55 lines and entries from any additional sheets. Copy the total to line 88.


57. Is a depreciation schedule available for any of the property listed in Part 9?

           No
           Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?

           No
           Yes




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Purdue Pharma L.P.                                                                                      Case Number: 19-23649 (RDD)

Schedule A/B: Assets — Real and Personal Property
  Part 10:         Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

           No. Go to Part 11.
           Yes. Fill in the information below.


 General description                                                      Net book value of     Valuation method         Current value of
                                                                          debtor's interest     used for current value   debtor’s interest
                                                                          (Where available)



60. Patents, copyrights, trademarks, and trade secrets

   60.1    VARIOUS                                                                                      N/A                   UNDETERMINED


61. Internet domain names and websites

   61.1    VARIOUS                                                                                  UNKNOWN                   UNDETERMINED

62. Licenses, franchises, and royalties

   62.1    VARIOUS                                                                                  UNKNOWN                   UNDETERMINED

63. Customer lists, mailing lists, or other compilations

   63.1

64. Other intangibles, or intellectual property

   64.1

65. Goodwill

   65.1



66. Total of Part 10                                                                                                                         $0
    Add lines 60 through 65. Copy the total to line 89.


67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?

           No
           Yes

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?

           No
           Yes

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?

           No
           Yes




                                                          Page 1 of 1 to Schedule A/B Part 10
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Purdue Pharma L.P.                                                                              Case Number: 19-23649 (RDD)

Schedule A/B: Assets — Real and Personal Property
  Part 10:          Intangibles and intellectual property - detail

59. Does the debtor have any interests in intangibles or intellectual property?

            No. Go to Part 11.
            Yes. Fill in the information below.


 General description                                                Net book value of   Valuation method          Current value of
                                                                    debtor's interest   used for current value    debtor’s interest
                                                                    (Where available)



60. Patents, copyrights, trademarks, and trade secrets

    60. 1      1,2,5-THIADIAZOL-3-YL-PIPERAZINE                                                 N/A                    UNDETERMINED
               THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN (GRANTED) - APPLICATION #10/374,863
               (1,2,5-THIADIAZOL-3-YL-PIPERAZINE
               THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

    60. 2      1,2,5-THIADIAZOL-3-YL-PIPERAZINE                                                 N/A                    UNDETERMINED
               THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN, DEPRESSION AND ANXIETY (GRANTED) -
               APPLICATION #11/246,498 (1,2,5-THIADIAZOL-3-YL-
               PIPERAZINE THERAPEUTIC AGENTS USEFUL
               FOR TREATING PAIN, DEPRESSION AND
               ANXIETY)

    60. 3      10-SUBSTITUTED MORPHINAN HYDANTOINS                                              N/A                    UNDETERMINED
               (GRANTED) - APPLICATION #15/106,624 (10-
               SUBSTITUTED MORPHINAN HYDANTOINS)

    60. 4      10-SUBSTITUTED MORPHINAN HYDANTOINS                                              N/A                    UNDETERMINED
               (PUBLISHED) - APPLICATION #PCT/IB2014/002894
               (10-SUBSTITUTED MORPHINAN HYDANTOINS)

    60. 5      2,3,4,5-TETRAHYDRO-BENZO{B}{1,4}DIAZEPINE-                                       N/A                    UNDETERMINED
               COMPRISING COMPOUNDS OF FORMULA(III) FOR
               TREATING PAIN (GRANTED) - APPLICATION
               #13/349,522 (2,3,4,5-TETRAHYDRO-
               BENZO{B}{1,4}DIAZEPINE-COMPRISING
               COMPOUNDS OF FORMULA(III) FOR TREATING
               PAIN)

    60. 6      2-PYRIDINYL-1-PIPERAZINE THERAPEUTIC                                             N/A                    UNDETERMINED
               AGENTS USEFUL FOR TREATING PAIN
               (GRANTED) - APPLICATION #10/355,186 (2-
               PYRIDINYL-1-PIPERAZINE THERAPEUTIC
               AGENTS USEFUL FOR TREATING PAIN)

    60. 7      4-OXADIAZOLE-PIPERIDINE COMPOUNDS AND                                            N/A                    UNDETERMINED
               USE THEREOF (APPLICATION) - APPLICATION
               #1201101395 (4-OXADIAZOLE-PIPERIDINE
               COMPOUNDS AND USE THEREOF)

    60. 8      4-OXADIAZOLE-PIPERIDINE COMPOUNDS AND                                            N/A                    UNDETERMINED
               USE THEREOF (PUBLISHED) - APPLICATION
               #PCT/EP06/011150 (4-OXADIAZOLE-PIPERIDINE
               COMPOUNDS AND USE THEREOF)

    60. 9      4-PHENYLSULFONAMIDOPIPERIDINES AS                                                N/A                    UNDETERMINED
               CALCIUM CHANNEL BLOCKERS (GRANTED) -
               APPLICATION #11/665,345 (4-
               PHENYLSULFONAMIDOPIPERIDINES AS
               CALCIUM CHANNEL BLOCKERS)


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   60. 10    6,7-CYCLICMORPHINAN ANALOGS (GRANTED) -                                N/A            UNDETERMINED
             APPLICATION #14/138,380 (6,7-
             CYCLICMORPHINAN ANALOGS)

   60. 11    6,7-CYCLICMORPHINAN DERIVATIVES AND USE                                N/A            UNDETERMINED
             THEREOF (ALLOWED) - APPLICATION #15/533,266

   60. 12    6-SUBSTITUTED AND 7-SUBSTITUTED                                        N/A            UNDETERMINED
             MORPHINAN ANALOGS AND THE USE THEREOF
             (PUBLISHED) - APPLICATION #15/108,391 (6-
             SUBSTITUTED AND 7-SUBSTITUTED MORPHINAN
             ANALOGS AND THE USE THEREOF)

   60. 13    7,8-CYCLICMORPHINAN ANALOGS (PUBLISHED) -                              N/A            UNDETERMINED
             APPLICATION #PCT/IB2013/002869 (7,8-
             CYCLICMORPHINAN ANALOGS)

   60. 14    7-BETA-ALKYL ANALOGS OF ORVINOLS                                       N/A            UNDETERMINED
             (GRANTED) - APPLICATION #15/107,025 (7-BETA-
             ALKYL ANALOGS OF ORVINOLS)

   60. 15    7-BETA-ALKYL ANALOGS OF ORVINOLS                                       N/A            UNDETERMINED
             (PUBLISHED) - APPLICATION #PCT/IB2014/002895
             (7-BETA-ALKYL ANALOGS OF ORVINOLS)

   60. 16    8A,14-DIHYDROXY-7,8-DIHYDROCODEINONE                                   N/A            UNDETERMINED
             (GRANTED) - APPLICATION #12/711,948 (UNITED
             STATES OF AMERICA)

   60. 17    9'-AZA[3,9'-BI(BICYCLO[3.3.1]NONAN)]-3'-ONE AND                        N/A            UNDETERMINED
             PREPARATION THEREOF (PUBLISHED) -
             APPLICATION #16/120,837 (9'-AZA[3,9'-
             BI(BICYCLO[3.3.1]NONAN)]-3'-ONE AND
             PREPARATION THEREOF)

   60. 18    ABUSE DETERRENT MORPHINE SULFATE                                       N/A            UNDETERMINED
             DOSAGE FORMS (APPLICATION) - APPLICATION
             #107146172

   60. 19    ABUSE DETERRENT MORPHINE SULFATE                                       N/A            UNDETERMINED
             DOSAGE FORMS (APPLICATION) - APPLICATION
             #16/337,743

   60. 20    ABUSE DETERRENT MORPHINE SULFATE                                       N/A            UNDETERMINED
             DOSAGE FORMS (APPLICATION) - APPLICATION
             #20180103764

   60. 21    ABUSE DETERRENT MORPHINE SULFATE                                       N/A            UNDETERMINED
             DOSAGE FORMS (APPLICATION) - APPLICATION
             #62/607,991

   60. 22    ABUSE DETERRENT MORPHINE SULFATE                                       N/A            UNDETERMINED
             DOSAGE FORMS (APPLICATION) - APPLICATION
             #62/687,914

   60. 23    ABUSE DETERRENT MORPHINE SULFATE                                       N/A            UNDETERMINED
             DOSAGE FORMS (APPLICATION) - APPLICATION
             #PCT/US2018/066165

   60. 24    ABUSE-DETERRENT DOSAGE FORMS                                           N/A            UNDETERMINED
             (GRANTED) - APPLICATION #14/207,826 (ABUSE-
             DETERRENT DOSAGE FORMS )

   60. 25    ABUSE-RESISTANT CONTROLLED-RELEASE                                     N/A            UNDETERMINED
             OPIOID DOSAGE FORM (GRANTED) -
             APPLICATION #14/067,821 (ABUSE-RESISTANT
             CONTROLLED-RELEASE OPIOID DOSAGE FORM)



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   60. 26    ABUSE-RESISTANT CONTROLLED-RELEASE                                 N/A            UNDETERMINED
             OPIOID DOSAGE FORM (GRANTED) -
             APPLICATION #14/136,443 (ABUSE-RESISTANT
             CONTROLLED-RELEASE OPIOID DOSAGE FORM)

   60. 27    ABUSE-RESISTANT CONTROLLED-RELEASE                                 N/A            UNDETERMINED
             OPIOID DOSAGE FORM (GRANTED) -
             APPLICATION #14/205,204 (ABUSE-RESISTANT
             CONTROLLED-RELEASE OPIOID DOSAGE FORM)

   60. 28    ABUSE-RESISTANT CONTROLLED-RELEASE                                 N/A            UNDETERMINED
             OPIOID DOSAGE FORM (GRANTED) -
             APPLICATION #14/725,369 (ABUSE-RESISTANT
             CONTROLLED-RELEASE OPIOID DOSAGE FORM)

   60. 29    ABUSE-RESISTANT CONTROLLED-RELEASE                                 N/A            UNDETERMINED
             OPIOID DOSAGE FORM (GRANTED) -
             APPLICATION #14/725,379 (ABUSE-RESISTANT
             CONTROLLED-RELEASE OPIOID DOSAGE FORM)

   60. 30    ABUSE-RESISTANT CONTROLLED-RELEASE                                 N/A            UNDETERMINED
             OPIOID DOSAGE FORM (GRANTED) -
             APPLICATION #14/859,195 (ABUSE-RESISTANT
             CONTROLLED-RELEASE OPIOID DOSAGE FORM)

   60. 31    ABUSE-RESISTANT CONTROLLED-RELEASE                                 N/A            UNDETERMINED
             OPIOID DOSAGE FORM (GRANTED) -
             APPLICATION #14/859,200 (ABUSE-RESISTANT
             CONTROLLED-RELEASE OPIOID DOSAGE FORM)

   60. 32    ABUSE-RESISTANT CONTROLLED-RELEASE                                 N/A            UNDETERMINED
             OPIOID DOSAGE FORM (GRANTED) -
             APPLICATION #15/014,995 (ABUSE-RESISTANT
             CONTROLLED-RELEASE OPIOID DOSAGE FORM)

   60. 33    ABUSE-RESISTANT CONTROLLED-RELEASE                                 N/A            UNDETERMINED
             OPIOID DOSAGE FORM (GRANTED) -
             APPLICATION #15/015,019 (ABUSE-RESISTANT
             CONTROLLED-RELEASE OPIOID DOSAGE FORM)

   60. 34    ABUSE-RESISTANT CONTROLLED-RELEASE                                 N/A            UNDETERMINED
             OPIOID DOSAGE FORM (GRANTED) -
             APPLICATION #15/159,465 (ABUSE-RESISTANT
             CONTROLLED-RELEASE OPIOID DOSAGE FORM)

   60. 35    ABUSE-RESISTANT CONTROLLED-RELEASE                                 N/A            UNDETERMINED
             OPIOID DOSAGE FORM (GRANTED) -
             APPLICATION #15/159,737 (ABUSE-RESISTANT
             CONTROLLED-RELEASE OPIOID DOSAGE FORM)

   60. 36    ABUSE-RESISTANT CONTROLLED-RELEASE                                 N/A            UNDETERMINED
             OPIOID DOSAGE FORM (PUBLISHED) -
             APPLICATION #16/222,720 (ABUSE-RESISTANT
             CONTROLLED-RELEASE OPIOID DOSAGE FORM)

   60. 37    ACETAMINOPHEN-CONTAINING ANALGESIC                                 N/A            UNDETERMINED
             FORMULATIONS WITH REDUCED
             HEPATOTOXICITY (PUBLISHED) - APPLICATION
             #PCT/US15/45379

   60. 38    ACRYLAMIDE COMPOUNDS AND THE USE                                   N/A            UNDETERMINED
             THEREOF (GRANTED) - APPLICATION #13/260,185
             (ACRYLAMIDE COMPOUNDS AND THE USE
             THEREOF)




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   60. 39    ACRYLAMIDE COMPOUNDS AND THE USE                                     N/A            UNDETERMINED
             THEREOF (GRANTED) - APPLICATION #2011-
             542378 (ACRYLAMIDE COMPOUNDS AND THE
             USE THEREOF)

   60. 40    ACRYLIC POLYMER FORMULATIONS                                         N/A            UNDETERMINED
             (PUBLISHED) - APPLICATION #15/174,403
             (ACRYLIC POLYMER FORMULATIONS)

   60. 41    ADVERSE EVENT DATA CAPTURE AND ALERT                                 N/A            UNDETERMINED
             SYSTEMS AND METHODS (GRANTED) -
             APPLICATION #14/196,564 (ADVERSE EVENT
             DATA CAPTURE AND ALERT SYSTEMS AND
             METHODS)

   60. 42    ADVERSE EVENT DATA CAPTURE SOFTWARE,                                 N/A            UNDETERMINED
             SYSTEMS AND METHODOLOGIES (GRANTED) -
             APPLICATION #11/925,403 (ADVERSE EVENT
             DATA CAPTURE SOFTWARE, SYSTEMS AND
             METHODOLOGIES)

   60. 43    AMINOOXAZOLINE AND IMIDAZOLE COMPOUNDS                               N/A            UNDETERMINED
             FOR PAIN TREATMENT (APPLICATION) -
             APPLICATION #62/344,833

   60. 44    AMINOOXAZOLINE AND IMIDAZOLE COMPOUNDS                               N/A            UNDETERMINED
             FOR PAIN TREATMENT (APPLICATION) -
             APPLICATION #62/440,747

   60. 45    ANALOGS AND PRODRUGS OF BUPRENORPHINE                                N/A            UNDETERMINED
             (GRANTED) - APPLICATION #10/692,662
             (ANALOGS AND PRODRUGS OF
             BUPRENORPHINE)

   60. 46    ANALOGS OF SODIUM CHANNEL PEPTIDE TOXIN                              N/A            UNDETERMINED
             (GRANTED) - APPLICATION #13/808,504
             (ANALOGS OF SODIUM CHANNEL PEPTIDE
             TOXIN)

   60. 47    ANALOGS OF SODIUM CHANNEL PEPTIDE TOXIN                              N/A            UNDETERMINED
             (PUBLISHED) - APPLICATION #15/710,375
             (ANALOGS OF SODIUM CHANNEL PEPTIDE
             TOXIN)

   60. 48    ANALOGS OF SODIUM CHANNEL PEPTIDE TOXIN                              N/A            UNDETERMINED
             (PUBLISHED) - APPLICATION #PCT/IB2011/001631
             (ANALOGS OF SODIUM CHANNEL PEPTIDE
             TOXIN)

   60. 49    ANTIBODIES THAT BIND CELL-ASSOCIATED CA                              N/A            UNDETERMINED
             125/0772P AND METHODS OF USE THEROF
             (GRANTED) - APPLICATION #2,502,367
             (ANTIBODIES THAT BIND CELL-ASSOCIATED CA
             125/0772P AND METHODS OF USE THEROF)

   60. 50    ANTIBODIES THAT BIND CELL-ASSOCIATED CA                              N/A            UNDETERMINED
             125/0772P AND METHODS OF USE THEROF
             (GRANTED) - APPLICATION #2010044495
             (ANTIBODIES THAT BIND CELL-ASSOCIATED CA
             125/0772P AND METHODS OF USE THEROF)

   60. 51    ANTIBODIES THAT BIND CELL-ASSOCIATED CA                              N/A            UNDETERMINED
             125/0772P AND METHODS OF USE THEROF
             (GRANTED) - APPLICATION #2011177484
             (ANTIBODIES THAT BIND CELL-ASSOCIATED CA
             125/0772P AND METHODS OF USE THEROF)



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   60. 52    ANTIBODIES THAT BIND CELL-ASSOCIATED CA                            N/A            UNDETERMINED
             125/0772P AND METHODS USE THEROF
             (APPLICATION) - APPLICATION
             #PA/A/2005/003884 (ANTIBODIES THAT BIND
             CELL-ASSOCIATED CA 125/0772P AND METHODS
             USE THEROF)

   60. 53    ANTIBODIES THAT BIND CELL-ASSOCIATED CA                            N/A            UNDETERMINED
             125/0772P AND METHODS USE THEROF
             (GRANTED) - APPLICATION #03789713.9
             (ANTIBODIES THAT BIND CELL-ASSOCIATED CA
             125/0772P AND METHODS USE THEROF)

   60. 54    ANTIBODIES THAT BIND CELL-ASSOCIATED CA                            N/A            UNDETERMINED
             125/0772P AND METHODS USE THEROF
             (GRANTED) - APPLICATION #037897139
             (ANTIBODIES THAT BIND CELL-ASSOCIATED CA
             125/0772P AND METHODS USE THEROF)

   60. 55    ANTIBODIES THAT BIND CELL-ASSOCIATED CA                            N/A            UNDETERMINED
             125/0772P AND METHODS USE THEROF
             (GRANTED) - APPLICATION #101785475
             (ANTIBODIES THAT BIND CELL-ASSOCIATED CA
             125/0772P AND METHODS USE THEROF)

   60. 56    ANTIBODIES THAT BIND CELL-ASSOCIATED CA                            N/A            UNDETERMINED
             125/0772P AND METHODS USE THEROF
             (GRANTED) - APPLICATION #10-2012-7008716
             (ANTIBODIES THAT BIND CELL-ASSOCIATED CA
             125/0772P AND METHODS USE THEROF)

   60. 57    ANTIBODIES THAT BIND CELL-ASSOCIATED CA                            N/A            UNDETERMINED
             125/0772P AND METHODS USE THEROF
             (GRANTED) - APPLICATION #2003801063440
             (ANTIBODIES THAT BIND CELL-ASSOCIATED CA
             125/0772P AND METHODS USE THEROF)

   60. 58    ANTIBODIES THAT BIND CELL-ASSOCIATED CA                            N/A            UNDETERMINED
             125/0772P AND METHODS USE THEROF
             (GRANTED) - APPLICATION #2005501455
             (ANTIBODIES THAT BIND CELL-ASSOCIATED CA
             125/0772P AND METHODS USE THEROF)

   60. 59    ANTIBODIES THAT BIND CELL-ASSOCIATED CA                            N/A            UNDETERMINED
             125/0772P AND METHODS USE THEROF
             (GRANTED) - APPLICATION #502011901954335
             (ANTIBODIES THAT BIND CELL-ASSOCIATED CA
             125/0772P AND METHODS USE THEROF)

   60. 60    ANTIBODIES THAT BIND CELL-ASSOCIATED CA                            N/A            UNDETERMINED
             125/0772P AND METHODS USE THEROF
             (GRANTED) - APPLICATION #502015000012803
             (ANTIBODIES THAT BIND CELL-ASSOCIATED CA
             125/0772P AND METHODS USE THEROF)

   60. 61    ANTIBODIES THAT BIND CELL-ASSOCIATED CA                            N/A            UNDETERMINED
             125/0772P AND METHODS USE THEROF
             (GRANTED) - APPLICATION #603364063
             (ANTIBODIES THAT BIND CELL-ASSOCIATED CA
             125/0772P AND METHODS USE THEROF)

   60. 62    ANTIBODIES THAT BIND CELL-ASSOCIATED CA                            N/A            UNDETERMINED
             125/0772P AND METHODS USE THEROF
             (GRANTED) - APPLICATION #60347365.2
             (ANTIBODIES THAT BIND CELL-ASSOCIATED CA
             125/0772P AND METHODS USE THEROF)



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   60. 63    ANTIBODIES THAT BIND CELL-ASSOCIATED CA                             N/A            UNDETERMINED
             125/O772P (APPLICATION) - APPLICATION
             #16/219,408 (ANTIBODIES THAT BIND CELL-
             ASSOCIATED CA 125/O772P)

   60. 64    ANTIBODIES THAT BIND CELL-ASSOCIATED CA                             N/A            UNDETERMINED
             125/O772P (GRANTED) - APPLICATION
             #14/559,589 (ANTIBODIES THAT BIND CELL-
             ASSOCIATED CA 125/O772P)

   60. 65    ANTIBODIES THAT BIND CELL-ASSOCIATED CA                             N/A            UNDETERMINED
             125/O772P AND METHODS OF USE THEREOF
             (GRANTED) - APPLICATION #10/687,035
             (ANTIBODIES THAT BIND CELL-ASSOCIATED CA
             125/O772P AND METHODS OF USE THEREOF)

   60. 66    ANTIBODIES THAT BIND CELL-ASSOCIATED CA                             N/A            UNDETERMINED
             125/O772P AND METHODS OF USE THEREOF
             (GRANTED) - APPLICATION #12/183,719
             (ANTIBODIES THAT BIND CELL-ASSOCIATED CA
             125/O772P AND METHODS OF USE THEREOF)

   60. 67    ANTIBODIES THAT BIND CELL-ASSOCIATED CA                             N/A            UNDETERMINED
             125/O772P AND METHODS OF USE THEREOF
             (GRANTED) - APPLICATION #15155786.5
             (ANTIBODIES THAT BIND CELL-ASSOCIATED CA
             125/O772P AND METHODS OF USE THEREOF)

   60. 68    ARYL SUBSTITUTED BENZIMIDAZOLES AND                                 N/A            UNDETERMINED
             THEIR USE AS SODIUM CHANNEL BLOCKERS
             (GRANTED) - APPLICATION #10/630,896 (ARYL
             SUBSTITUTED BENZIMIDAZOLES AND THEIR USE
             AS SODIUM CHANNEL BLOCKERS)

   60. 69    ARYL SUBSTITUTED INDOLES AND THE USE                                N/A            UNDETERMINED
             THEREOF (APPLICATION) - APPLICATION
             #16/255,007 (ARYL SUBSTITUTED INDOLES AND
             THE USE THEREOF)

   60. 70    ARYL SUBSTITUTED INDOLES AND THE USE                                N/A            UNDETERMINED
             THEREOF (GRANTED) - APPLICATION #117952523
             (ARYL SUBSTITUTED INDOLES AND THE USE
             THEREOF)

   60. 71    ARYL SUBSTITUTED INDOLES AND THE USE                                N/A            UNDETERMINED
             THEREOF (GRANTED) - APPLICATION #15/669,193
             (ARYL SUBSTITUTED INDOLES AND THE USE
             THEREOF)

   60. 72    ARYL SUBSTITUTED INDOLES AND THE USE                                N/A            UNDETERMINED
             THEREOF (GRANTED) - APPLICATION
             #602011009180.8 (ARYL SUBSTITUTED INDOLES
             AND THE USE THEREOF)

   60. 73    ARYL SUBSTITUTED INDOLES AND THE USE                                N/A            UNDETERMINED
             THEREOF (PUBLISHED) - APPLICATION
             #PCT/IB2011/001382 (ARYL SUBSTITUTED
             INDOLES AND THE USE THEREOF)

   60. 74    ARYL SUBSTITUTED INDOLES AND THEIR USE                              N/A            UNDETERMINED
             AS BLOCKERS OF SODIUM CHANNELS
             (GRANTED) - APPLICATION #13/704,531 (ARYL
             SUBSTITUTED INDOLES AND THEIR USE AS
             BLOCKERS OF SODIUM CHANNELS)




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   60. 75    ARYL SUBSTITUTED PYRAZOLES, TRIAZOLES                               N/A            UNDETERMINED
             AND TETRAZOLES, AND THE USE THEREOF
             (GRANTED) - APPLICATION #10/456,735 (ARYL
             SUBSTITUTED PYRAZOLES, TRIAZOLES AND
             TETRAZOLES, AND THE USE THEREOF)

   60. 76    ARYL SUBSTITUTED PYRAZOLES, TRIAZOLES,                              N/A            UNDETERMINED
             AND TETRAZOLES, AND THE USE THEREOF
             (GRANTED) - APPLICATION #09/814,123 (ARYL
             SUBSTITUTED PYRAZOLES, TRIAZOLES, AND
             TETRAZOLES, AND THE USE THEREOF)

   60. 77    ARYL SUBSTITUTED PYRIDINES AND THE USE                              N/A            UNDETERMINED
             THEREOF (GRANTED) - APPLICATION #10/235,673
             (ARYL SUBSTITUTED PYRIDINES AND THE USE
             THEREOF)

   60. 78    ARYL SUBSTITUTED PYRIDINES AND THE USE                              N/A            UNDETERMINED
             THEREOF (GRANTED) - APPLICATION #11/518,448
             (ARYL SUBSTITUTED PYRIDINES AND THE USE
             THEREOF)

   60. 79    ARYL SUBSTITUTED PYRIDINES AND THE USE                              N/A            UNDETERMINED
             THEREOF (GRANTED) - APPLICATION #12/546,572
             (ARYL SUBSTITUTED PYRIDINES AND THE USE
             THEREOF)

   60. 80    ARYL SUBSTITUTED PYRIDINES AND THEIR USE                            N/A            UNDETERMINED
             (GRANTED) - APPLICATION #10/235,670 (ARYL
             SUBSTITUTED PYRIDINES AND THEIR USE)

   60. 81    ARYL SUBSTITUTED THIAZOLIDINONES AND THE                            N/A            UNDETERMINED
             USE THEREOF (GRANTED) - APPLICATION
             #10/195,530 (ARYL SUBSTITUTED
             THIAZOLIDINONES AND THE USE THEREOF)

   60. 82    ATR CRYSTAL DEVICE (GRANTED) -                                      N/A            UNDETERMINED
             APPLICATION #10/108,188 (ATR CRYSTAL

   60. 83    AZAMORPHINAN DERIVATIVES AND USE                                    N/A            UNDETERMINED
             THEREOF (GRANTED) - APPLICATION #15/317,980

   60. 84    AZASPIR0[4.5]DECANE DERIVATIVES AND USE                             N/A            UNDETERMINED
             THEREOF (PUBLISHED) - APPLICATION
             #15/869,538 (AZASPIR0[4.5]DECANE
             DERIVATIVES AND USE THEREOF)

   60. 85    AZASPIRO[4.5] DECANE DERIVATIVES AND USE                            N/A            UNDETERMINED
             THEREOF (GRANTED) - APPLICATION #14/914,789
             (AZASPIRO[4.5] DECANE DERIVATIVES AND USE
             THEREOF)

   60. 86    AZASPIRO[4.5] DECANE DERIVATIVES AND USE                            N/A            UNDETERMINED
             THEREOF (GRANTED) - APPLICATION #2016-
             538949 (AZASPIRO[4.5] DECANE DERIVATIVES
             AND USE THEREOF)

   60. 87    AZASPIRO[4.5] DECANE DERIVATIVES AND USE                            N/A            UNDETERMINED
             THEREOF (PUBLISHED) - APPLICATION
             #14839524.7 (AZASPIRO[4.5] DECANE
             DERIVATIVES AND USE THEREOF)

   60. 88    AZASPIRO[4.5] DECANE DERIVATIVES AND USE                            N/A            UNDETERMINED
             THEREOF (PUBLISHED) - APPLICATION #2018-
             194973 (AZASPIRO[4.5] DECANE DERIVATIVES
             AND USE THEREOF)



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   60. 89     AZETIDINE-SUBSTITUTED QUINOXALIINE-TYPE                             N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND USES THEREOF
              (GRANTED) - APPLICATION #12813964.9
              (AZETIDINE-SUBSTITUTED QUINOXALIINE-TYPE
              PIPERIDINE COMPOUNDS AND USES THEREOF)

   60. 90     AZETIDINE-SUBSTITUTED QUINOXALIINE-TYPE                             N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND USES THEREOF
              (GRANTED) - APPLICATION #502016000081027
              (AZETIDINE-SUBSTITUTED QUINOXALIINE-TYPE
              PIPERIDINE COMPOUNDS AND USES THEREOF)

   60. 91     AZETIDINE-SUBSTITUTED QUINOXALIINE-TYPE                             N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND USES THEREOF
              (GRANTED) - APPLICATION #602012019035.3
              (AZETIDINE-SUBSTITUTED QUINOXALIINE-TYPE
              PIPERIDINE COMPOUNDS AND USES THEREOF)

   60. 92     AZETIDINE-SUBSTITUTED QUINOXALIINE-TYPE                             N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND USES THEREOF
              (PUBLISHED) - APPLICATION #PCT/IB2012/002689
              (AZETIDINE-SUBSTITUTED QUINOXALIINE-TYPE
              PIPERIDINE COMPOUNDS AND USES THEREOF)

   60. 93     AZETIDINE-SUBSTITUTED QUINOXALINES AS                               N/A            UNDETERMINED
              OPIOID RECEPTOR LIKE-1 MODULATORS
              (GRANTED) - APPLICATION #14/361,876
              (AZETIDINE-SUBSTITUTED QUINOXALINES AS
              OPIOID RECEPTOR LIKE-1 MODULATORS)

   60. 94     BENZENESULFONAMIDE COMPOUNDS AND THE                                N/A            UNDETERMINED
              USE THEREOF (GRANTED) - APPLICATION
              #12/296,788 (BENZENESULFONAMIDE
              COMPOUNDS AND THE USE THEREOF)

   60. 95     BENZENESULFONAMIDE COMPOUNDS AND THE                                N/A            UNDETERMINED
              USE THEREOF (GRANTED) - APPLICATION
              #12/599,608 (BENZENESULFONAMIDE
              COMPOUNDS AND THE USE THEREOF)

   60. 96     BENZENESULFONAMIDE COMPOUNDS AND THE                                N/A            UNDETERMINED
              USE THEREOF (PUBLISHED) - APPLICATION
              #PCT/EP07/053622 (BENZENESULFONAMIDE
              COMPOUNDS AND THE USE THEREOF)

   60. 97     BENZENESULFONAMIDE COMPOUNDS AND THE                                N/A            UNDETERMINED
              USE THEREOF (PUBLISHED) - APPLICATION
              #PCT/IB08/002575 (BENZENESULFONAMIDE
              COMPOUNDS AND THE USE THEREOF)

   60. 98     BENZENESULFONAMIDE COMPOUNDS AND                                    N/A            UNDETERMINED
              THEIR USE (GRANTED) - APPLICATION
              #12/225,743 (BENZENESULFONAMIDE
              COMPOUNDS AND THEIR USE)

   60. 99     BENZENESULFONAMIDE COMPOUNDS AND                                    N/A            UNDETERMINED
              THEIR USE AS BLOCKERS OF CALCIUM
              CHANNELS (GRANTED) - APPLICATION
              #12/296,799 (BENZENESULFONAMIDE
              COMPOUNDS AND THEIR USE AS BLOCKERS OF
              CALCIUM CHANNELS)

   60. 100    BENZENESULFONAMIDE COMPOUNDS AND                                    N/A            UNDETERMINED
              THEIR USE AS BLOCKERS OF CALCIUM
              CHANNELS (PUBLISHED) - APPLICATION
              #PCT/EP07/053620 (BENZENESULFONAMIDE
              COMPOUNDS AND THEIR USE AS BLOCKERS OF
              CALCIUM CHANNELS)

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   60. 101    BENZENESULFONYL COMPOUNDS AND THE USE                              N/A            UNDETERMINED
              THEREOF (BASED ON SAR CONNECTION OF
              OXIME AND SULFONAMIDE SERIES)
              (PUBLISHED) - APPLICATION #PCT/US08/004490
              (BENZENESULFONYL COMPOUNDS AND THE
              USE THEREOF (BASED ON SAR CONNECTION
              OF OXIME AND SULFONAMIDE SERIE

   60. 102    BENZENESULFONYL COMPOUNDS AND THE USE                              N/A            UNDETERMINED
              THEREOF (GRANTED) - APPLICATION
              #12/595,066 (BENZENESULFONYL COMPOUNDS
              AND THE USE THEREOF )

   60. 103    BENZIMIDAZOLE COMPOUNDS HAVING                                     N/A            UNDETERMINED
              NOCICEPTIN RECEPTOR AFFINITY (GRANTED) -
              APPLICATION #09/730,934 (BENZIMIDAZOLE
              COMPOUNDS HAVING NOCICEPTIN RECEPTOR
              AFFINITY)

   60. 104    BENZIMIDAZOLE DERIVATIVES AND USE                                  N/A            UNDETERMINED
              THEREOF (GRANTED) - APPLICATION #14/534,257
              (BENZIMIDAZOLE DERIVATIVES AND USE
              THEREOF)

   60. 105    BENZIMIDAZOLE DERIVATIVES AND USE                                  N/A            UNDETERMINED
              THEREOF (GRANTED) - APPLICATION #15/820,103
              (BENZIMIDAZOLE DERIVATIVES AND USE
              THEREOF)

   60. 106    BENZIMIDAZOLONE COMPOUNDS (GRANTED) -                              N/A            UNDETERMINED
              APPLICATION #10/126,437 (BENZIMIDAZOLONE
              COMPOUNDS)

   60. 107    BENZOMORPHAN ANALOGS AND THE USE                                   N/A            UNDETERMINED
              THEREOF (GRANTED) - APPLICATION #14/075,176
              (BENZOMORPHAN ANALOGS AND THE USE
              THEREOF)

   60. 108    BENZOMORPHAN ANALOGS AND THE USE                                   N/A            UNDETERMINED
              THEREOF (GRANTED) - APPLICATION #14/168,488
              (BENZOMORPHAN ANALOGS AND THE USE
              THEREOF)

   60. 109    BENZOMORPHAN ANALOGS AND THE USE                                   N/A            UNDETERMINED
              THEREOF (GRANTED) - APPLICATION #15/511,360

   60. 110    BENZOMORPHAN ANALOGS AND THE USE                                   N/A            UNDETERMINED
              THEREOF (PUBLISHED) - APPLICATION
              #PCT/IB2013/002511 (BENZOMORPHAN ANALOGS
              AND THE USE THEREOF)

   60. 111    BENZOMORPHAN ANALOGS AND THE USE                                   N/A            UNDETERMINED
              THEREOF (PUBLISHED) - APPLICATION
              #PCT/IB2014/000094 (BENZOMORPHAN ANALOGS
              AND THE USE THEREOF)

   60. 112    BENZOMORPHAN ANALOGS AND USE THEREOF                               N/A            UNDETERMINED
              (GRANTED) - APPLICATION #15/308,987

   60. 113    BENZOMORPHAN ANALOGS AND USE THEREOF                               N/A            UNDETERMINED
              (GRANTED) - APPLICATION #2016-566717

   60. 114    BENZOMORPHAN ANALOGS AND USE THEREOF                               N/A            UNDETERMINED
              (PUBLISHED) - APPLICATION #15789868.5

   60. 115    BENZOMORPHAN COMPOUNDS (GRANTED) -                                 N/A            UNDETERMINED
              APPLICATION #12/745,472 (BENZOMORPHAN
              COMPOUNDS)

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   60. 116    BENZOMORPHAN COMPOUNDS (PUBLISHED) -                               N/A            UNDETERMINED
              APPLICATION #PCT/IB08/003311
              (BENZOMORPHAN COMPOUNDS)

   60. 117    BENZOMORPHAN COMPOUNDS AS OPIOID                                   N/A            UNDETERMINED
              RECEPTORS MODULATORS (GRANTED) -
              APPLICATION #13727342.1 (BENZOMORPHAN
              COMPOUNDS AS OPIOID RECEPTORS
              MODULATORS)

   60. 118    BENZOMORPHAN COMPOUNDS AS OPIOID                                   N/A            UNDETERMINED
              RECEPTORS MODULATORS (PUBLISHED) -
              APPLICATION #15/703,453 (BENZOMORPHAN
              COMPOUNDS AS OPIOID RECEPTORS
              MODULATORS)

   60. 119    BENZOMORPHAN COMPOUNSD AS OPIOID                                   N/A            UNDETERMINED
              RECEPTORS MODULATORS (PUBLISHED) -
              APPLICATION #PCT/IB2013/000948
              (BENZOMORPHAN COMPOUNSD AS OPIOID
              RECEPTORS MODULATORS)

   60. 120    BICYCLOHETEROARYL COMPOUNDS AND THEIR                              N/A            UNDETERMINED
              USE AS TRPV1 LIGANDS     (GRANTED) -
              APPLICATION #12/603,719
              (BICYCLOHETEROARYL COMPOUNDS AND THEIR
              USE AS TRPV1 LIGANDS    )

   60. 121    BUPRENORPHINE ANALOGS (GRANTED) -                                  N/A            UNDETERMINED
              APPLICATION #13/825,241 (BUPRENORPHINE
              ANALOGS )

   60. 122    BUPRENORPHINE ANALOGS (PUBLISHED) -                                N/A            UNDETERMINED
              APPLICATION #PCT/IB2011/002208
              (BUPRENORPHINE ANALOGS )

   60. 123    BUPRENORPHINE ANALOGS (GRANTED) -                                  N/A            UNDETERMINED
              APPLICATION #13/055,873 (BUPRENORPHINE
              ANALOGS)

   60. 124    BUPRENORPHINE ANALOGS (GRANTED) -                                  N/A            UNDETERMINED
              APPLICATION #14/096,311 (BUPRENORPHINE
              ANALOGS)

   60. 125    BUPRENORPHINE ANALOGS (GRANTED) -                                  N/A            UNDETERMINED
              APPLICATION #14/206,295 (BUPRENORPHINE
              ANALOGS)

   60. 126    BUPRENORPHINE ANALOGS (GRANTED) -                                  N/A            UNDETERMINED
              APPLICATION #14/600,501 (BUPRENORPHINE
              ANALOGS)

   60. 127    BUPRENORPHINE ANALOGS (PUBLISHED) -                                N/A            UNDETERMINED
              APPLICATION #PCT/IB2014/000394
              (BUPRENORPHINE ANALOGS)

   60. 128    BUPRENORPHINE ANALOGS AS PERIPHERALLY                              N/A            UNDETERMINED
              RESTRICTED KAPPA AGONISTS (PUBLISHED) -
              APPLICATION #PCT/IB2013/002705
              (BUPRENORPHINE ANALOGS AS PERIPHERALLY
              RESTRICTED KAPPA AGONISTS)

   60. 129    CARBOXAMIDE DERIVATIVES AND USE                                    N/A            UNDETERMINED
              THEREOF (ALLOWED) - APPLICATION
              #2017204263 (CARBOXAMIDE DERIVATIVES AND
              USE THEREOF)



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   60. 130    CARBOXAMIDE DERIVATIVES AND USE                                     N/A            UNDETERMINED
              THEREOF (APPLICATION) - APPLICATION
              #2,939,549 (CARBOXAMIDE DERIVATIVES AND
              USE THEREOF)

   60. 131    CARBOXAMIDE DERIVATIVES AND USE                                     N/A            UNDETERMINED
              THEREOF (GRANTED) - APPLICATION #14/776,527
              (CARBOXAMIDE DERIVATIVES AND USE
              THEREOF)

   60. 132    CARBOXAMIDE DERIVATIVES AND USE                                     N/A            UNDETERMINED
              THEREOF (GRANTED) - APPLICATION #15/288,988
              (CARBOXAMIDE DERIVATIVES AND USE
              THEREOF)

   60. 133    CARBOXAMIDE DERIVATIVES AND USE                                     N/A            UNDETERMINED
              THEREOF (GRANTED) - APPLICATION
              #2014235063 (CARBOXAMIDE DERIVATIVES AND
              USE THEREOF)

   60. 134    CARBOXAMIDE DERIVATIVES AND USE                                     N/A            UNDETERMINED
              THEREOF (GRANTED) - APPLICATION #2016-
              501929 (CARBOXAMIDE DERIVATIVES AND USE
              THEREOF)

   60. 135    CARBOXAMIDE DERIVATIVES AND USE                                     N/A            UNDETERMINED
              THEREOF (GRANTED) - APPLICATION #2017-
              146602 (CARBOXAMIDE DERIVATIVES AND USE
              THEREOF)

   60. 136    CARBOXAMIDE DERIVATIVES AND USE                                     N/A            UNDETERMINED
              THEREOF (PUBLISHED) - APPLICATION
              #14770495.1 (CARBOXAMIDE DERIVATIVES AND
              USE THEREOF)

   60. 137    CARBOXAMIDE DERIVATIVES AND USE                                     N/A            UNDETERMINED
              THEREOF (PUBLISHED) - APPLICATION #2019-
              005976 (CARBOXAMIDE DERIVATIVES AND USE
              THEREOF)

   60. 138    CARBOXAMIDE DERIVATIVES AND USE                                     N/A            UNDETERMINED
              THEREOF (TO BE FILED) - APPLICATION #
              (CARBOXAMIDE DERIVATIVES AND USE
              THEREOF)

   60. 139    CHEMICAL FORMULA EXTRAPOLATION AND                                  N/A            UNDETERMINED
              QUERY BUILDING TO IDENTIFY SOURCE
              DOCUMENTS REFERENCING RELEVANT
              CHEMICAL FORMULA MOIETIES (ALLOWED) -
              APPLICATION #14/795,375

   60. 140    CHEMICAL FORMULA EXTRAPOLATION AND                                  N/A            UNDETERMINED
              QUERY BUILDING TO IDENTIFY SOURCE
              DOCUMENTS REFERENCING RELEVANT
              CHEMICAL FORMULA MOIETIES (APPLICATION) -
              APPLICATION #16/111,081

   60. 141    CHEMICAL FORMULA EXTRAPOLATION AND                                  N/A            UNDETERMINED
              QUERY BUILDING TO IDENTIFY SOURCE
              DOCUMENTS REFERENCING RELEVANT
              CHEMICAL FORMULA MOIETIES (APPLICATION) -
              APPLICATION #16/444,364

   60. 142    COMPARTMENTALIZED DOSAGE FORM                                       N/A            UNDETERMINED
              (GRANTED) - APPLICATION #10/477,383
              (COMPARTMENTALIZED DOSAGE FORM)



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   60. 143    COMPARTMENTALIZED DOSAGE FORM                                       N/A            UNDETERMINED
              (GRANTED) - APPLICATION #11/533,391
              (COMPARTMENTALIZED DOSAGE FORM)

   60. 144    COMPARTMENTALIZED DOSAGE FORM                                       N/A            UNDETERMINED
              (PUBLISHED) - APPLICATION #PCT/US02/16268
              (COMPARTMENTALIZED DOSAGE FORM)

   60. 145    COMPOSITIONS AND METHODS FOR OPIOID                                 N/A            UNDETERMINED
              OVERDOSE RESCUE (APPLICATION) -
              APPLICATION #62/679,112

   60. 146    COMPOSITIONS AND METHODS FOR OPIOID                                 N/A            UNDETERMINED
              OVERDOSE RESCUE (APPLICATION) -
              APPLICATION #62/756,322

   60. 147    COMPOSITIONS AND METHODS FOR OPIOID                                 N/A            UNDETERMINED
              OVERDOSE RESCUE (INSTRUCTED) -
              APPLICATION #

   60. 148    COMPOSITIONS AND METHODS FOR TREATING                               N/A            UNDETERMINED
              AN ARRHYTHMIA WITH AN OPIOID ANTAGONIST
              (PUBLISHED) - APPLICATION #14/895,701
              (COMPOSITIONS AND METHODS FOR TREATING
              AN ARRHYTHMIA WITH AN OPIOID ANTAGONIST)

   60. 149    COMPOSITIONS OF PROTEIN RECEPTOR                                    N/A            UNDETERMINED
              TYROSINE KINASE INHIBITORS (GRANTED) -
              APPLICATION #13/133,565

   60. 150    COMPOSITIONS OF PROTEIN RECEPTOR                                    N/A            UNDETERMINED
              TYROSINE KINASE INHIBITORS (GRANTED) -
              APPLICATION #14/256,094

   60. 151    COMPOSITIONS OF PROTEIN RECEPTOR                                    N/A            UNDETERMINED
              TYROSINE KINASE INHIBITORS (ALLOWED) -
              APPLICATION #15/676,039

   60. 152    COMPOSITIONS OF PROTEIN RECEPTOR                                    N/A            UNDETERMINED
              TYROSINE KINASE INHIBITORS (GRANTED) -
              APPLICATION #14/685,806

   60. 153    COMPOUNDS COMPRISING HETEROCYCLIC-                                  N/A            UNDETERMINED
              SUBSTITUTED PIPERIDINE FOR TREATING PAIN”
              (GRANTED) - APPLICATION #12/503,598
              (COMPOUNDS COMPRISING HETEROCYCLIC-
              SUBSTITUTED PIPERIDINE FOR TREATING PAIN”)

   60. 154    COMPOUNDS DERIVED FROM SUBSTITUTED                                  N/A            UNDETERMINED
              QUINOXALINE-TYPE BRIDGED PIPERIDINE;
              PHARMACEUTICAL COMPOSITION COMPRISING
              THEM; PREPARATION PROCEDURE;
              PHARMACEUTICAL KIT; AND ITS USE FOR
              TREATING PAIN, A MEMORY DISORDER,
              OBESITY, CONSTIPATION, DEPRESSION,
              DEMENTIA, P

   60. 155    CONTAINER (GRANTED) - APPLICATION #123990                           N/A            UNDETERMINED
              (CONTAINER)

   60. 156    CONTAINER (GRANTED) - APPLICATION #126863                           N/A            UNDETERMINED
              (CONTAINER)

   60. 157    CONTAINER (GRANTED) - APPLICATION #126864                           N/A            UNDETERMINED
              (CONTAINER)

   60. 158    CONTAINER (GRANTED) - APPLICATION #126865                           N/A            UNDETERMINED
              (CONTAINER)

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   60. 159    CONTAINER (GRANTED) - APPLICATION #126866                            N/A            UNDETERMINED
              (CONTAINER)

   60. 160    CONTAINER (GRANTED) - APPLICATION #126868                            N/A            UNDETERMINED
              (CONTAINER)

   60. 161    CONTAINER (GRANTED) - APPLICATION                                    N/A            UNDETERMINED
              #29/281,813 (CONTAINER)

   60. 162    CONTAINER (GRANTED) - APPLICATION                                    N/A            UNDETERMINED
              #29/281,814 (CONTAINER)

   60. 163    CONTAINER (GRANTED) - APPLICATION                                    N/A            UNDETERMINED
              #29/281,815 (CONTAINER)

   60. 164    CONTAINER (GRANTED) - APPLICATION                                    N/A            UNDETERMINED
              #29/281,816 (CONTAINER)

   60. 165    CONTAINER (GRANTED) - APPLICATION                                    N/A            UNDETERMINED
              #29/281,817 (CONTAINER)

   60. 166    CONTAINER (GRANTED) - APPLICATION                                    N/A            UNDETERMINED
              #29/327,121 (CONTAINER)

   60. 167    CONTAINER AND METHOD FOR DISPENSING                                  N/A            UNDETERMINED
              TRANSDERMAL DOSAGE FORMS (GRANTED) -
              APPLICATION #10/724,348 (CONTAINER AND
              METHOD FOR DISPENSING TRANSDERMAL
              DOSAGE FORMS)

   60. 168    CONTROLLED RELEASE DOSAGE FORMS                                      N/A            UNDETERMINED
              (GRANTED) - APPLICATION #13/880,841
              (CONTROLLED RELEASE DOSAGE FORMS)

   60. 169    CONTROLLED RELEASE DOSAGE FORMS                                      N/A            UNDETERMINED
              (PUBLISHED) - APPLICATION #PCT/IB2011/003139
              (CONTROLLED RELEASE DOSAGE FORMS)

   60. 170    CONTROLLED RELEASE FORMULATIONS                                      N/A            UNDETERMINED
              HAVING RAPID ONSET AND RAPID DECLINE OF
              EFFECTIVE PLASMA DRUG CONCENTRATIONS
              (GRANTED) - APPLICATION #14/718,814
              (CONTROLLED RELEASE FORMULATIONS
              HAVING RAPID ONSET AND RAPID DECLINE OF
              EFFECTIVE PLASMA DRUG CONCENTRATIONS)

   60. 171    CONTROLLED RELEASE FORMULATIONS                                      N/A            UNDETERMINED
              HAVING RAPID ONSET AND RAPID DECLINE OF
              EFFECTIVE PLASMA DRUG CONCENTRATIONS
              (GRANTED) - APPLICATION #14/718,814 (UNITED
              STATES OF AMERICA)

   60. 172    CONTROLLED RELEASE HYDROCODONE                                       N/A            UNDETERMINED
              (GRANTED) - APPLICATION #13/721,293 (UNITED
              STATES OF AMERICA)

   60. 173    CONTROLLED RELEASE HYDROCODONE                                       N/A            UNDETERMINED
              (GRANTED) - APPLICATION #13/901,069 (UNITED
              STATES OF AMERICA)

   60. 174    CONTROLLED RELEASE HYDROCODONE                                       N/A            UNDETERMINED
              (GRANTED) - APPLICATION #14/210,565 (UNITED
              STATES OF AMERICA)

   60. 175    CONTROLLED RELEASE HYDROCODONE                                       N/A            UNDETERMINED
              FORMULATIONS (24 HOUR) (GRANTED) -
              APPLICATION #10/016,651 (UNITED STATES OF
              AMERICA)


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   60. 176    CONTROLLED RELEASE HYDROCODONE                                      N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #10/660,349 (UNITED STATES OF AMERICA)

   60. 177    CONTROLLED RELEASE HYDROCODONE                                      N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #10/864,829 (UNITED STATES OF AMERICA)

   60. 178    CONTROLLED RELEASE HYDROCODONE                                      N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #12/378,586 (UNITED STATES OF AMERICA)

   60. 179    CONTROLLED RELEASE HYDROCODONE                                      N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #12/914,054 (UNITED STATES OF AMERICA)

   60. 180    CONTROLLED RELEASE HYDROCODONE                                      N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #12/982,386 (UNITED STATES OF AMERICA)

   60. 181    CONTROLLED RELEASE HYDROCODONE                                      N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #13/535,996 (UNITED STATES OF AMERICA)

   60. 182    CONTROLLED RELEASE HYDROCODONE                                      N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #13/833,263 (UNITED STATES OF AMERICA)

   60. 183    CONTROLLED RELEASE HYDROCODONE                                      N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #13/901,761 (UNITED STATES OF AMERICA)

   60. 184    CONTROLLED RELEASE HYDROCODONE                                      N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #14/483,395 (UNITED STATES OF AMERICA)

   60. 185    CONTROLLED RELEASE HYDROCODONE                                      N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #14/520,032 (UNITED STATES OF AMERICA)

   60. 186    CONTROLLED RELEASE HYDROCODONE                                      N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #14/581,175 (UNITED STATES OF AMERICA)

   60. 187    CONTROLLED RELEASE HYDROCODONE                                      N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #14/612,483 (UNITED STATES OF AMERICA)

   60. 188    CONTROLLED RELEASE HYDROCODONE                                      N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #14/635,198 (UNITED STATES OF AMERICA)

   60. 189    CONTROLLED RELEASE HYDROCODONE                                      N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #14/672,894 (UNITED STATES OF AMERICA)

   60. 190    CONTROLLED RELEASE HYDROCODONE                                      N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #14/673,447 (UNITED STATES OF AMERICA)

   60. 191    CONTROLLED RELEASE HYDROCODONE                                      N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #14/706,699 (UNITED STATES OF AMERICA)

   60. 192    CONTROLLED RELEASE HYDROCODONE                                      N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #14/727,985 (UNITED STATES OF AMERICA)



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   60. 193    CONTROLLED RELEASE HYDROCODONE                                      N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #14/727,997 (UNITED STATES OF AMERICA)

   60. 194    CONTROLLED RELEASE HYDROCODONE                                      N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #14/728,023 (UNITED STATES OF AMERICA)

   60. 195    CONTROLLED RELEASE HYDROCODONE                                      N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #15/019,106 (UNITED STATES OF AMERICA)

   60. 196    CONTROLLED RELEASE HYDROCODONE                                      N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #15/019,279 (UNITED STATES OF AMERICA)

   60. 197    CONTROLLED RELEASE HYDROCODONE                                      N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #15/019,531 (UNITED STATES OF AMERICA)

   60. 198    CONTROLLED RELEASE HYDROCODONE                                      N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #15/019,609 (UNITED STATES OF AMERICA)

   60. 199    CONTROLLED RELEASE HYDROCODONE                                      N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #15/019,695 (UNITED STATES OF AMERICA)

   60. 200    CONTROLLED RELEASE HYDROCODONE                                      N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #15/134,901 (UNITED STATES OF AMERICA)

   60. 201    CONTROLLED RELEASE HYDROCODONE                                      N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #15/376,745 (UNITED STATES OF AMERICA)

   60. 202    CONTROLLED RELEASE HYDROCODONE                                      N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #15/376,799 (UNITED STATES OF AMERICA)

   60. 203    CONTROLLED RELEASE HYDROCODONE                                      N/A            UNDETERMINED
              FORMULATIONS (PUBLISHED) - APPLICATION
              #16/007,653 (UNITED STATES OF AMERICA)

   60. 204    CONTROLLED RELEASE PHARMACEUTICAL                                   N/A            UNDETERMINED
              DOSAGE FORMS        (MAY BE COMBINED WITH
              PT 1472 P) [BI-LAYER] (TO BE FILED) -
              APPLICATION # (CONTROLLED RELEASE
              PHARMACEUTICAL DOSAGE FORMS           (MAY
              BE COMBINED WITH PT 1472 P) [BI-LAYER])

   60. 205    CONTROLLED RELEASE PHARMACEUTICAL                                   N/A            UNDETERMINED
              DOSAGE FORMS     (ALLOWED) - APPLICATION
              #228441 (CONTROLLED RELEASE
              PHARMACEUTICAL DOSAGE FORMS )

   60. 206    CONTROLLED RELEASE PHARMACEUTICAL                                   N/A            UNDETERMINED
              DOSAGE FORMS       (GRANTED) - APPLICATION
              #10-2013-7027839 (CONTROLLED RELEASE
              PHARMACEUTICAL DOSAGE FORMS )

   60. 207    CONTROLLED RELEASE PHARMACEUTICAL                                   N/A            UNDETERMINED
              DOSAGE FORMS       (GRANTED) - APPLICATION
              #12 717 468.8 (CONTROLLED RELEASE
              PHARMACEUTICAL DOSAGE FORMS )




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   60. 208    CONTROLLED RELEASE PHARMACEUTICAL                                     N/A            UNDETERMINED
              DOSAGE FORMS       (GRANTED) - APPLICATION
              #1-2013-501994 (CONTROLLED RELEASE
              PHARMACEUTICAL DOSAGE FORMS )

   60. 209    CONTROLLED RELEASE PHARMACEUTICAL                                     N/A            UNDETERMINED
              DOSAGE FORMS      (GRANTED) - APPLICATION
              #2,831,218 (CONTROLLED RELEASE
              PHARMACEUTICAL DOSAGE FORMS )

   60. 210    CONTROLLED RELEASE PHARMACEUTICAL                                     N/A            UNDETERMINED
              DOSAGE FORMS     (GRANTED) - APPLICATION
              #2012235878 (CONTROLLED RELEASE
              PHARMACEUTICAL DOSAGE FORMS )

   60. 211    CONTROLLED RELEASE PHARMACEUTICAL                                     N/A            UNDETERMINED
              DOSAGE FORMS      (GRANTED) - APPLICATION
              #2013/010987 (CONTROLLED RELEASE
              PHARMACEUTICAL DOSAGE FORMS )

   60. 212    CONTROLLED RELEASE PHARMACEUTICAL                                     N/A            UNDETERMINED
              DOSAGE FORMS      (GRANTED) - APPLICATION
              #2013/7862 (CONTROLLED RELEASE
              PHARMACEUTICAL DOSAGE FORMS )

   60. 213    CONTROLLED RELEASE PHARMACEUTICAL                                     N/A            UNDETERMINED
              DOSAGE FORMS      (GRANTED) - APPLICATION
              #2014-500486 (CONTROLLED RELEASE
              PHARMACEUTICAL DOSAGE FORMS )

   60. 214    CONTROLLED RELEASE PHARMACEUTICAL                                     N/A            UNDETERMINED
              DOSAGE FORMS      (GRANTED) - APPLICATION
              #2015/09757 (CONTROLLED RELEASE
              PHARMACEUTICAL DOSAGE FORMS )

   60. 215    CONTROLLED RELEASE PHARMACEUTICAL                                     N/A            UNDETERMINED
              DOSAGE FORMS      (GRANTED) - APPLICATION
              #502015000042101 (CONTROLLED RELEASE
              PHARMACEUTICAL DOSAGE FORMS )

   60. 216    CONTROLLED RELEASE PHARMACEUTICAL                                     N/A            UNDETERMINED
              DOSAGE FORMS         (GRANTED) - APPLICATION
              #60 2012 007 199.0 (CONTROLLED RELEASE
              PHARMACEUTICAL DOSAGE FORMS )

   60. 217    CONTROLLED RELEASE PHARMACEUTICAL                                     N/A            UNDETERMINED
              DOSAGE FORMS     (GRANTED) - APPLICATION
              #E 725194 (CONTROLLED RELEASE
              PHARMACEUTICAL DOSAGE FORMS )

   60. 218    CONTROLLED RELEASE PHARMACEUTICAL                                     N/A            UNDETERMINED
              DOSAGE FORMS     (GRANTED) - APPLICATION
              #E12717468 (CONTROLLED RELEASE
              PHARMACEUTICAL DOSAGE FORMS )

   60. 219    CONTROLLED RELEASE PHARMACEUTICAL                                     N/A            UNDETERMINED
              DOSAGE FORMS       (PUBLISHED) - APPLICATION
              #8740/DELNP/2013 (CONTROLLED RELEASE
              PHARMACEUTICAL DOSAGE FORMS )

   60. 220    CONTROLLED RELEASE PHARMACEUTICAL                                     N/A            UNDETERMINED
              DOSAGE FORMS       (PUBLISHED) - APPLICATION
              #BR 11 2013 024585-9 (CONTROLLED RELEASE
              PHARMACEUTICAL DOSAGE FORMS )




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   60. 221    CONTROLLED RELEASE PHARMACEUTICAL                                    N/A            UNDETERMINED
              DOSAGE FORMS       (PUBLISHED) - APPLICATION
              #PCT/IB2012/000595 (CONTROLLED RELEASE
              PHARMACEUTICAL DOSAGE FORMS )

   60. 222    CONTROLLED RELEASE PHARMACEUTICAL                                    N/A            UNDETERMINED
              DOSAGE FORMS (GRANTED) - APPLICATION
              #616600 (CONTROLLED RELEASE
              PHARMACEUTICAL DOSAGE FORMS)

   60. 223    CONTROLLED RELEASE PHARMACEUTICAL                                    N/A            UNDETERMINED
              DOSAGE FORMS (PUBLISHED) - APPLICATION
              #14/004,857 (CONTROLLED RELEASE
              PHARMACEUTICAL DOSAGE FORMS)

   60. 224    CONTROLLED RELEASE PHARMACEUTICAL                                    N/A            UNDETERMINED
              DOSAGE FROMS (GRANTED) - APPLICATION #W-
              00201304955 (CONTROLLED RELEASE
              PHARMACEUTICAL DOSAGE FROMS)

   60. 225    CONTROLLED-RELEASE COMPOSITIONS                                      N/A            UNDETERMINED
              CONTAINING OPIOID AGONIST AND
              ANTAGONIST (GRANTED) - APPLICATION
              #09/781,076 (CONTROLLED-RELEASE
              COMPOSITIONS CONTAINING OPIOID AGONIST
              AND ANTAGONIST)

   60. 226    CRYSTALLINE FORMS OF TRYOSINE KINASE                                 N/A            UNDETERMINED
              INHIBITORS AND THEIR SALTS (GRANTED) -
              APPLICATION #14/208,244

   60. 227    CRYSTALLINE FORMS OF TRYOSINE KINASE                                 N/A            UNDETERMINED
              INHIBITORS AND THEIR SALTS (GRANTED) -
              APPLICATION #14/635,635

   60. 228    CRYSTALLINE FORMS OF TYROSINE KINASE                                 N/A            UNDETERMINED
              INHIBITORS AND THEIR SALTS (GRANTED) -
              APPLICATION #14/772,264

   60. 229    CRYSTALLINE FORMS OF TYROSINE KINASE                                 N/A            UNDETERMINED
              INHIBITORS AND THEIR SALTS (GRANTED) -
              APPLICATION #15/185,754

   60. 230    CRYSTALLINE FORMS OF TYROSINE KINASE                                 N/A            UNDETERMINED
              INHIBITORS AND THEIR SALTS (GRANTED) -
              APPLICATION #15/511,946

   60. 231    CRYSTALLINE FORMS OF TYROSINE KINASE                                 N/A            UNDETERMINED
              INHIBITORS AND THEIR SALTS (GRANTED) -
              APPLICATION #15/648,527

   60. 232    CYCLE PLANNING TOOL FOR TERRITORY                                    N/A            UNDETERMINED
              MANAGEMENT (GRANTED) - APPLICATION
              #11/925,565 (CYCLE PLANNING TOOL FOR
              TERRITORY MANAGEMENT)

   60. 233    CYCLE PLANNING TOOL WITH EVENT CONFLICT                              N/A            UNDETERMINED
              RESOLUTION FOR TERRITORY MANAGEMENT
              (GRANTED) - APPLICATION #13/234,892 (CYCLE
              PLANNING TOOL WITH EVENT CONFLICT
              RESOLUTION FOR TERRITORY MANAGEMENT)

   60. 234    CYCLIC SULFONAMIDES AS SODIUM CHANNEL                                N/A            UNDETERMINED
              BLOCKERS (GRANTED) - APPLICATION #13 820
              885.5 (CYCLIC SULFONAMIDES AS SODIUM
              CHANNEL BLOCKERS)



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   60. 235    CYCLIC SULFONAMIDES AS SODIUM CHANNEL                                N/A            UNDETERMINED
              BLOCKERS (GRANTED) - APPLICATION
              #14/653,471 (CYCLIC SULFONAMIDES AS SODIUM
              CHANNEL BLOCKERS)

   60. 236    CYCLIC SULFONAMIDES AS SODIUM CHANNEL                                N/A            UNDETERMINED
              BLOCKERS (GRANTED) - APPLICATION #60 2013
              032 967.2 (CYCLIC SULFONAMIDES AS SODIUM
              CHANNEL BLOCKERS)

   60. 237    CYCLIC SULFONAMIDES AS SODIUM CHANNEL                                N/A            UNDETERMINED
              BLOCKERS (PUBLISHED) - APPLICATION
              #PCT/IB2013/002840 (CYCLIC SULFONAMIDES AS
              SODIUM CHANNEL BLOCKERS)

   60. 238    CYCLIC UREA- OR LACTAM-SUBSTITUTED                                   N/A            UNDETERMINED
              QUINOXALINE-TYPE PIPERIDINE COMPOUNDS
              AND THE USES THEREOF (GRANTED) -
              APPLICATION #2015-524857 (CYCLIC UREA- OR
              LACTAM-SUBSTITUTED QUINOXALINE-TYPE
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF)

   60. 239    CYCLIC UREA- OR LACTAM-SUBSTITUTED                                   N/A            UNDETERMINED
              QUINOXALINE-TYPE PIPERIDINE COMPOUNDS
              AND THE USES THEREOF (PUBLISHED) -
              APPLICATION #13 765 756.5 (CYCLIC UREA- OR
              LACTAM-SUBSTITUTED QUINOXALINE-TYPE
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF)

   60. 240    CYCLIC UREA- OR LACTAM-SUBSTITUTED                                   N/A            UNDETERMINED
              QUINOXALINE-TYPE PIPERIDINE COMPOUNDS
              AND THE USES THEREOF (PUBLISHED) -
              APPLICATION #PCT/IB2013/001654 (CYCLIC
              UREA- OR LACTAM-SUBSTITUTED QUINOXALINE-
              TYPE PIPERIDINE COMPOUNDS AND THE USES
              THEREOF)

   60. 241    CYCLIC UREA- OR LACTAM-SUBSTITUTED                                   N/A            UNDETERMINED
              QUINOXALINE-TYPE PIPERIDINES AS ORL-1
              MODULATORS (GRANTED) - APPLICATION
              #13/952,284 (CYCLIC UREA- OR LACTAM-
              SUBSTITUTED QUINOXALINE-TYPE PIPERIDINES
              AS ORL-1 MODULATORS)

   60. 242    CYCLOUREA COMPOUNDS AS CALCIUM                                       N/A            UNDETERMINED
              CHANNEL BLOCKERS (GRANTED) - APPLICATION
              #12/223,392 (CYCLOUREA COMPOUNDS AS
              CALCIUM CHANNEL BLOCKERS)

   60. 243    CYCLOUREA COMPOUNDS AS CALCIUM                                       N/A            UNDETERMINED
              CHANNEL BLOCKERS (PUBLISHED) -
              APPLICATION #PCT/EP07/000303 (CYCLOUREA
              COMPOUNDS AS CALCIUM CHANNEL BLOCKERS)

   60. 244    DATA CACHE TECHNIQUES IN SUPPORT OF                                  N/A            UNDETERMINED
              SYNCHRONIZATION OF DATABASES IN A
              DISTRIBUTED ENVIRONMENT (GRANTED) -
              APPLICATION #11/925,585 (DATA CACHE
              TECHNIQUES IN SUPPORT OF
              SYNCHRONIZATION OF DATABASES IN A
              DISTRIBUTED ENVIRONMENT)




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   60. 245    DATA CACHE TECHNIQUES IN SUPPORT OF                                     N/A            UNDETERMINED
              SYNCHRONIZATION OF DATABASES IN A
              DISTRIBUTED ENVIRONMENT (GRANTED) -
              APPLICATION #13/461,238 (DATA CACHE
              TECHNIQUES IN SUPPORT OF
              SYNCHRONIZATION OF DATABASES IN A
              DISTRIBUTED ENVIRONMENT)

   60. 246    DETERMINATION OF CORTICOSTEROIDS IN                                     N/A            UNDETERMINED
              HUMAN PLASMA USING MICROMASS LC/MS/MS/
              (GRANTED) - APPLICATION #09/788,353
              (DETERMINATION OF CORTICOSTEROIDS IN
              HUMAN PLASMA USING MICROMASS LC/MS/MS/)

   60. 247    DIBENZAZEPINE DERIVATIVES AND USE                                       N/A            UNDETERMINED
              THEREOF (GRANTED) - APPLICATION #14/552,967
              (DIBENZAZEPINE DERIVATIVES AND USE
              THEREOF)

   60. 248    DIBENZAZEPINE DERIVATIVES AND USE                                       N/A            UNDETERMINED
              THEREOF (GRANTED) - APPLICATION #15/623,120
              (DIBENZAZEPINE DERIVATIVES AND USE
              THEREOF)

   60. 249    DIELECTRIC SPECTROSCOPY ASSAYS FOR                                      N/A            UNDETERMINED
              SCREENING OF ION CHANNEL LIGANDS
              (GRANTED) - APPLICATION #12/671,309
              (DIELECTRIC SPECTROSCOPY ASSAYS FOR
              SCREENING OF ION CHANNEL LIGANDS)

   60. 250    DISPENSER WITH A SPOUT (PUBLISHED) -                                    N/A            UNDETERMINED
              APPLICATION #PCT/US08/007497 (DISPENSER
              WITH A SPOUT)

   60. 251    DISPENSER WITH CORNER LATCHES                                           N/A            UNDETERMINED
              (GRANTED) - APPLICATION #11/772,780
              (DISPENSER WITH CORNER LATCHES)

   60. 252    DISPENSER WITH CORNER LATCHES                                           N/A            UNDETERMINED
              (PUBLISHED) - APPLICATION #PCT/US08/007495
              (DISPENSER WITH CORNER LATCHES)

   60. 253    DOSAGE FORM CONTAINING OXYCODONE AND                                    N/A            UNDETERMINED
              NALOXONE (PUBLISHED) - APPLICATION
              #15/467,877

   60. 254    ENCASED TAMPER RESISTANT CONTROLLED                                     N/A            UNDETERMINED
              RELEASE (GRANTED) - APPLICATION #111330106
              (SAUDI ARABIA)

   60. 255    ENCASED TAMPER RESISTANT CONTROLLED                                     N/A            UNDETERMINED
              RELEASE DOSAGE FORM (PUBLISHED) -
              APPLICATION #201510201476.6 (CHINA)

   60. 256    ENCASED TAMPER RESISTANT CONTROLLED                                     N/A            UNDETERMINED
              RELEASE DOSAGE FORMS        (GRANTED) -
              APPLICATION #100148036 (TAIWAN)

   60. 257    ENCASED TAMPER RESISTANT CONTROLLED                                     N/A            UNDETERMINED
              RELEASE DOSAGE FORMS         (GRANTED) -
              APPLICATION #13/333,560 (UNITED STATES OF
              AMERICA)

   60. 258    ENCASED TAMPER RESISTANT CONTROLLED                                     N/A            UNDETERMINED
              RELEASE DOSAGE FORMS        (GRANTED) -
              APPLICATION #15105096.5 (HONG KONG)



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   60. 259    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS        (PENDING) -
              APPLICATION #9342011 (PAKISTAN)

   60. 260    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS         (PUBLISHED) -
              APPLICATION #201510201678.0 (CHINA)

   60. 261    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS         (PUBLISHED) -
              APPLICATION #201510201680.8 (CHINA)

   60. 262    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS         (GRANTED) -
              APPLICATION #14/024,360 (UNITED STATES OF
              AMERICA)

   60. 263    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS         COMPRESSION
              COATED TAMPER-RESISTANT DOSAGE FORMS
              FOR CONTROLLED RELEASE PENDINGS (MAY
              BE COMBINED WITH PT 1426 P) (GRANTED) -
              APPLICATION #114 35 0710 (SAUDI ARABIA)

   60. 264    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS        (GRANTED) -
              APPLICATION #14/024,367 (UNITED STATES OF
              AMERICA)

   60. 265    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS        (GRANTED) -
              APPLICATION #15/045,962 (UNITED STATES OF
              AMERICA)

   60. 266    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS        (GRANTED) -
              APPLICATION #15/045,975 (UNITED STATES OF
              AMERICA)

   60. 267    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS       (GRANTED) -
              APPLICATION #2015-203529 (JAPAN)

   60. 268    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS       (GRANTED) -
              APPLICATION #P-00201507052 (INDONESIA)

   60. 269    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS       (PENDING) -
              APPLICATION #AP/P/2016/009016 (ARIPO)

   60. 270    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS       (PENDING) -
              APPLICATION #AP/P/2016/009016 (BOTSWANA)

   60. 271    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS       (PUBLISHED) -
              APPLICATION #10201510564P (SINGAPORE)

   60. 272    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS       (PUBLISHED) -
              APPLICATION #14104130.7 (HONG KONG)

   60. 273    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS       (TO BE FILED) -
              APPLICATION #AP/P/2016/009016 (ESWATINI,
              KINGDOM OF)


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   60. 274    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS       (TO BE FILED) -
              APPLICATION #AP/P/2016/009016 (GHANA)

   60. 275    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS       (TO BE FILED) -
              APPLICATION #AP/P/2016/009016 (KENYA)

   60. 276    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS       (TO BE FILED) -
              APPLICATION #AP/P/2016/009016 (NAMIBIA)

   60. 277    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (PUBLISHED) -
              APPLICATION #14186670.7 (EUROPEAN PATENT)

   60. 278    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (ALLOWED) -
              APPLICATION #201300747 (EURASIAN PATENT
              CONVENTION)

   60. 279    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (ALLOWED) -
              APPLICATION #226811 (ISRAEL)

   60. 280    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #10-2013-7019009 (KOREA,
              REPUBLIC OF (KR))

   60. 281    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #10-2015-7010465 (KOREA,
              REPUBLIC OF (KR))

   60. 282    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #1-2013-501346 (PHILIPPINES)

   60. 283    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #1-2015-501410 (PHILIPPINES)

   60. 284    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #13157114 (COLOMBIA)

   60. 285    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #1459 (PERU)

   60. 286    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #2,822,790 (CANADA)

   60. 287    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #2011346757 (AUSTRALIA)

   60. 288    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #2013/5412 (SOUTH AFRICA)

   60. 289    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #2013-545524 (JAPAN)




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   60. 290    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #613079 (NEW ZEALAND)

   60. 291    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #AXXXXXXXX (UKRAINE)

   60. 292    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #AP/P/2013/006907 (ARIPO)

   60. 293    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #AP/P/2013/006907 (BOTSWANA)

   60. 294    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #AP/P/2013/006907 (ESWATINI,
              KINGDOM OF)

   60. 295    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #AP/P/2013/006907 (GHANA)

   60. 296    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #AP/P/2013/006907 (KENYA)

   60. 297    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #AP/P/2013/006907 (NAMIBIA)

   60. 298    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #PI 2013002298 (MALAYSIA)

   60. 299    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #TN2013/0264 (TUNISIA)

   60. 300    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #W-00201303366 (INDONESIA)

   60. 301    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (PENDING) -
              APPLICATION #2,991,216 (CANADA)

   60. 302    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (PENDING) -
              APPLICATION #2,991,217 (CANADA)

   60. 303    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (PENDING) -
              APPLICATION #2013-000054 (NICARAGUA)

   60. 304    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (PENDING) -
              APPLICATION #2013-001377 (HONDURAS)

   60. 305    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (PENDING) -
              APPLICATION #2013-0544 (COSTA RICA)

   60. 306    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (PENDING) -
              APPLICATION #2013-4483 (EL SALVADOR)


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   60. 307    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (PENDING) -
              APPLICATION #4687/2013 (LIBYA)

   60. 308    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (PENDING) -
              APPLICATION #647/2013 (UNITED ARAB
              EMIRATES)

   60. 309    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (PENDING) -
              APPLICATION #74/2013 (BAHRAIN)

   60. 310    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (PENDING) -
              APPLICATION #A2013-000166 (GUATEMALA)

   60. 311    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (PENDING) -
              APPLICATION #LK/P/1/17210 (SRI LANKA)

   60. 312    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (PENDING) -
              APPLICATION #MX/A/2018/010714 (MEXICO)

   60. 313    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (PENDING) -
              APPLICATION #NG/C/2013/690 (NIGERIA)

   60. 314    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (PENDING) -
              APPLICATION #P2018-0080 (DOMINICAN
              REPUBLIC)

   60. 315    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (PENDING) -
              APPLICATION #PCT 1046/2013 (EGYPT)

   60. 316    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (PUBLISHED) -
              APPLICATION #11815781.7 (EUROPEAN PATENT)

   60. 317    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (PUBLISHED) -
              APPLICATION #1-2013-02287 (VIETNAM)

   60. 318    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (PUBLISHED) -
              APPLICATION #1301003520 (THAILAND)

   60. 319    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (PUBLISHED) -
              APPLICATION #201180061540.5 (CHINA)

   60. 320    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (PUBLISHED) -
              APPLICATION #286-2018 (PERU)

   60. 321    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (PUBLISHED) -
              APPLICATION #5555/DELNP/2013 (INDIA)

   60. 322    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (PUBLISHED) -
              APPLICATION #BR 11 2013 016133 7 (BRAZIL)

   60. 323    ENCASED TAMPER RESISTANT CONTROLLED                                  N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (PUBLISHED) -
              APPLICATION #MX/A/2013/007465 (MEXICO)
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   60. 324    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (PUBLISHED) -
              APPLICATION #P2017-0190 (DOMINICAN
              REPUBLIC)

   60. 325    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (PUBLISHED) -
              APPLICATION #PCT/IB2011/003152 (PATENT
              COOPERATION TREATY)

   60. 326    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS COMPRESSION
              COATED TAMPER-RESISTANT DOSAGE FORMS
              (PUBLISHED) - APPLICATION #1730-11
              (VENEZUELA)

   60. 327    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #1-2015-501411 (PHILIPPINES)

   60. 328    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #14186658.2 (AUSTRIA)

   60. 329    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #14186658.2 (BELGIUM)

   60. 330    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #14186658.2 (BULGARIA)

   60. 331    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #14186658.2 (CZECHIA)

   60. 332    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #14186658.2 (DENMARK)

   60. 333    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #14186658.2 (EUROPEAN PATENT)

   60. 334    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #14186658.2 (FINLAND)

   60. 335    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #14186658.2 (FRANCE)

   60. 336    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #14186658.2 (ICELAND)

   60. 337    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #14186658.2 (IRELAND (REPUBLIC
              OF))

   60. 338    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #14186658.2 (ITALY)

   60. 339    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #14186658.2 (LATVIA)

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   60. 340    ENCASED TAMPER RESISTANT CONTROLLED                                N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #14186658.2 (LITHUANIA)

   60. 341    ENCASED TAMPER RESISTANT CONTROLLED                                N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #14186658.2 (LUXEMBOURG)

   60. 342    ENCASED TAMPER RESISTANT CONTROLLED                                N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #14186658.2 (MACEDONIA)

   60. 343    ENCASED TAMPER RESISTANT CONTROLLED                                N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #14186658.2 (MALTA)

   60. 344    ENCASED TAMPER RESISTANT CONTROLLED                                N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #14186658.2 (MONACO)

   60. 345    ENCASED TAMPER RESISTANT CONTROLLED                                N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #14186658.2 (NETHERLANDS)

   60. 346    ENCASED TAMPER RESISTANT CONTROLLED                                N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #14186658.2 (NORWAY)

   60. 347    ENCASED TAMPER RESISTANT CONTROLLED                                N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #14186658.2 (POLAND)

   60. 348    ENCASED TAMPER RESISTANT CONTROLLED                                N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #14186658.2 (PORTUGAL)

   60. 349    ENCASED TAMPER RESISTANT CONTROLLED                                N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #14186658.2 (ROMANIA)

   60. 350    ENCASED TAMPER RESISTANT CONTROLLED                                N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #14186658.2 (SAN MARINO)

   60. 351    ENCASED TAMPER RESISTANT CONTROLLED                                N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #14186658.2 (SLOVAK REPUBLIC)

   60. 352    ENCASED TAMPER RESISTANT CONTROLLED                                N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #14186658.2 (SLOVENIA)

   60. 353    ENCASED TAMPER RESISTANT CONTROLLED                                N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #14186658.2 (SWEDEN)

   60. 354    ENCASED TAMPER RESISTANT CONTROLLED                                N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #14186658.2 (SWITZERLAND)

   60. 355    ENCASED TAMPER RESISTANT CONTROLLED                                N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #14186658.2 (UNITED KINGDOM)

   60. 356    ENCASED TAMPER RESISTANT CONTROLLED                                N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #2 643 291 T3 (SPAIN)



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   60. 357    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #2015246094 (AUSTRALIA)

   60. 358    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #2017/14993 (TURKEY)

   60. 359    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #3093853 (GREECE)

   60. 360    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #56344 (SERBIA)

   60. 361    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #60 2011 040 288.9 (GERMANY
              (FEDERAL REPUBLIC OF))

   60. 362    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #708728 (NEW ZEALAND)

   60. 363    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #AL-P-2017-557 (ALBANIA)

   60. 364    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #CY1119312 (CYPRUS (REPUBLIC
              OF))

   60. 365    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #E014369 (ESTONIA)

   60. 366    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #E034955 (HUNGARY)

   60. 367    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #P20171366 (CROATIA)

   60. 368    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #P-220/2017 (MONTENEGRO)

   60. 369    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (GRANTED) -
              APPLICATION #P-E02509 (BOSNIA AND
              HERZEGOVINA)

   60. 370    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (PUBLISHED) -
              APPLICATION #15/681,906 (UNITED STATES OF
              AMERICA)

   60. 371    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (PUBLISHED) -
              APPLICATION #15105093.8 (HONG KONG)

   60. 372    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (PUBLISHED) -
              APPLICATION #15105095.6 (HONG KONG)



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   60. 373    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASE DOSAGE FORMS (PUBLISHED) -
              APPLICATION #2017208386 (AUSTRALIA)

   60. 374    ENCASED TAMPER RESISTANT CONTROLLED                                 N/A            UNDETERMINED
              RELEASED DOSAGE FORMS (PENDING) -
              APPLICATION #SP-2013-12760 (ECUADOR)

   60. 375    FORMS OF DOSE OF CONTROLLED RELEASE                                 N/A            UNDETERMINED
              CLOSED RESISTANT TO UNDUE HANDLINGS
              (PUBLISHED) - APPLICATION #P110104910
              (ARGENTINA)

   60. 376    FORMULA (IA") COMPOUNDS COMPRISING                                  N/A            UNDETERMINED
              (PIPERIDIN-4-YL)PYRIDINE OR (1,2,3,6-
              TETRAHYDROPYRIDIN-4-YL) PYRIDINE AS TRPV1
              ANTAGONISTS (GRANTED) - APPLICATION
              #13/396,450 (FORMULA (IA") COMPOUNDS
              COMPRISING (PIPERIDIN-4-YL)PYRIDINE OR
              (1,2,3,6-TETRAHYDROPYRIDIN-4-

   60. 377    FORMULATION TO OVERCOME FOOD EFFECT                                 N/A            UNDETERMINED
              OF TRKA INHIBITOR (ON HOLD) - APPLICATION #

   60. 378    FUSED AND SPIROCYCLE COMPOUNDS AND                                  N/A            UNDETERMINED
              THE USE THEREOF (GRANTED) - APPLICATION
              #11/991,626 (FUSED AND SPIROCYCLE
              COMPOUNDS AND THE USE THEREOF)

   60. 379    FUSED AND SPIROCYCLE COMPOUNDS AND                                  N/A            UNDETERMINED
              THE USE THEREOF (GRANTED) - APPLICATION
              #13/486,267 (FUSED AND SPIROCYCLE
              COMPOUNDS AND THE USE THEREOF)

   60. 380    FUSED AND SPIROCYCLE COMPOUNDS AND                                  N/A            UNDETERMINED
              THE USE THEREOF (GRANTED) - APPLICATION
              #13/953,205 (FUSED AND SPIROCYCLE
              COMPOUNDS AND THE USE THEREOF)

   60. 381    FUSED AND SPIROCYCLE COMPOUNDS AND                                  N/A            UNDETERMINED
              THE USE THEREOF (PUBLISHED) - APPLICATION
              #PCT/EP06/008788 (FUSED AND SPIROCYCLE
              COMPOUNDS AND THE USE THEREOF)

   60. 382    HETEROARYL COMPOUNDS AS SODIUM                                      N/A            UNDETERMINED
              CHANNEL BLOCKERS (GRANTED) - APPLICATION
              #14/355,554 (HETEROARYL COMPOUNDS AS
              SODIUM CHANNEL BLOCKERS)

   60. 383    HETEROARYL COMPOUNDS AS SODIUM                                      N/A            UNDETERMINED
              CHANNEL BLOCKERS (GRANTED) - APPLICATION
              #14/928,945 (HETEROARYL COMPOUNDS AS
              SODIUM CHANNEL BLOCKERS)

   60. 384    HETEROARYL COMPOUNDS AS SODIUM                                      N/A            UNDETERMINED
              CHANNEL BLOCKERS (PUBLISHED) -
              APPLICATION #PCT/IB2012/002191 (HETEROARYL
              COMPOUNDS AS SODIUM CHANNEL BLOCKERS)

   60. 385    HETEROARYL-TETRAHYDROPIPERIDYL                                      N/A            UNDETERMINED
              COMPOUNDS USEFUL FOR TREATING OR
              PREVENTING PAIN (PUBLISHED) - APPLICATION
              #PCT/US04/023914 (HETEROARYL-
              TETRAHYDROPIPERIDYL COMPOUNDS USEFUL
              FOR TREATING OR PREVENTING PAIN)




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   60. 386    HETEROCYCLIC COMPOUNDS (GRANTED) -                                  N/A            UNDETERMINED
              APPLICATION #2014-511504 (HETEROCYCLIC
              COMPOUNDS)

   60. 387    HETEROCYCLIC COMPOUNDS (PUBLISHED) -                                N/A            UNDETERMINED
              APPLICATION #PCT/US12/038215
              (HETEROCYCLIC COMPOUNDS)

   60. 388    HETEROCYCLIC DERIVATIVES AS TRPV1                                   N/A            UNDETERMINED
              ANTAGONISTS (GRANTED) - APPLICATION
              #09.130.337 A (HETEROCYCLIC DERIVATIVES AS
              TRPV1 ANTAGONISTS)

   60. 389    HETEROCYCLIC MORPHINAN DERIVATIVES AND                              N/A            UNDETERMINED
              USE THEREOF (GRANTED) - APPLICATION
              #15/318,277

   60. 390    HETEROCYCLIC TRPV1 RECEPTOR LIGANDS                                 N/A            UNDETERMINED
              (GRANTED) - APPLICATION #12/603,733
              (HETEROCYCLIC TRPV1 RECEPTOR LIGANDS)

   60. 391    HETEROCYCLIC-SUBSTITUTED PIPERIDINE AS                              N/A            UNDETERMINED
              ORL-1 LIGANDS (PUBLISHED) - APPLICATION
              #PCT/US08/051096 (HETEROCYCLIC-
              SUBSTITUTED PIPERIDINE AS ORL-1 LIGANDS)

   60. 392    IMMEDIATE RELEASE PHARMACEUTICAL                                    N/A            UNDETERMINED
              COMPOSITIONS COMPRISING OXYCODONE AND
              NALOXONE (GRANTED) - APPLICATION
              #13/255,504

   60. 393    IMMEDIATE RELEASE PHARMACEUTICAL                                    N/A            UNDETERMINED
              COMPOSITIONS COMPRISING OXYCODONE AND
              NALOXONE (GRANTED) - APPLICATION
              #15/003,783

   60. 394    IMMEDIATE RELEASE PHARMACEUTICAL                                    N/A            UNDETERMINED
              COMPOSITIONS COMPRISING OXYCODONE AND
              NALOXONE (PUBLISHED) - APPLICATION
              #15/805,961

   60. 395    INDAZOLES AND USE THEREOF (ALLOWED) -                               N/A            UNDETERMINED
              APPLICATION #2,934,473 (INDAZOLES AND USE
              THEREOF)

   60. 396    INDAZOLES AND USE THEREOF (APPLICATION) -                           N/A            UNDETERMINED
              APPLICATION #246221 (INDAZOLES AND USE
              THEREOF)

   60. 397    INDAZOLES AND USE THEREOF (GRANTED) -                               N/A            UNDETERMINED
              APPLICATION #15/107,212 (INDAZOLES AND USE
              THEREOF)

   60. 398    INDAZOLES AND USE THEREOF (GRANTED) -                               N/A            UNDETERMINED
              APPLICATION #15/817,550 (INDAZOLES AND USE
              THEREOF)

   60. 399    INDAZOLES AND USE THEREOF (GRANTED) -                               N/A            UNDETERMINED
              APPLICATION #2014370407 (INDAZOLES AND USE
              THEREOF)

   60. 400    INDAZOLES AND USE THEREOF (GRANTED) -                               N/A            UNDETERMINED
              APPLICATION #2016-542142 (INDAZOLES AND
              USE THEREOF)

   60. 401    INDAZOLES AND USE THEREOF (PUBLISHED) -                             N/A            UNDETERMINED
              APPLICATION #14875367.6 (INDAZOLES AND USE
              THEREOF)

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   60. 402    INDAZOLES AND USE THEREOF (PUBLISHED) -                              N/A            UNDETERMINED
              APPLICATION #201480070708.2 (INDAZOLES AND
              USE THEREOF)

   60. 403    INDOLE AND INDOLINE-TYPE PIPERIDINE                                  N/A            UNDETERMINED
              COMPOUNDS AND USES THEREOF (GRANTED) -
              APPLICATION #14/654,727 (INDOLE AND
              INDOLINE-TYPE PIPERIDINE COMPOUNDS AND
              USES THEREOF)

   60. 404    INDOLE AND INDOLINE-TYPE PIPERIDINE                                  N/A            UNDETERMINED
              COMPOUNDS AND USES THEREOF
              (PUBLISHED) - APPLICATION #PCT/IB2013/002872
              (INDOLE AND INDOLINE-TYPE PIPERIDINE
              COMPOUNDS AND USES THEREOF)

   60. 405    INDOLE DERIVATIVES AND USE THEREOF                                   N/A            UNDETERMINED
              (PUBLISHED) - APPLICATION #14/680,086
              (INDOLE DERIVATIVES AND USE THEREOF)

   60. 406    INVENTORY CONTROL OVER PHARMACEUTICAL                                N/A            UNDETERMINED
              SAMPLE DISTRIBUTIONS SOFTWARE, SYSTEMS
              AND METHODOLOGIES (GRANTED) -
              APPLICATION #11/925,405 (INVENTORY
              CONTROL OVER PHARMACEUTICAL SAMPLE
              DISTRIBUTIONS SOFTWARE, SYSTEMS AND
              METHODOLOGIES)

   60. 407    ISOQUINOLINE DERIVATIVES AND USE THEREOF                             N/A            UNDETERMINED
              (ALLOWED) - APPLICATION #2016-551246
              (ISOQUINOLINE DERIVATIVES AND USE
              THEREOF)

   60. 408    ISOQUINOLINE DERIVATIVES AND USE THEREOF                             N/A            UNDETERMINED
              (APPLICATION) - APPLICATION #2,939,501
              (ISOQUINOLINE DERIVATIVES AND USE
              THEREOF)

   60. 409    ISOQUINOLINE DERIVATIVES AND USE THEREOF                             N/A            UNDETERMINED
              (APPLICATION) - APPLICATION #247252
              (ISOQUINOLINE DERIVATIVES AND USE
              THEREOF)

   60. 410    ISOQUINOLINE DERIVATIVES AND USE THEREOF                             N/A            UNDETERMINED
              (GRANTED) - APPLICATION #15748728.1
              (ISOQUINOLINE DERIVATIVES AND USE
              THEREOF)

   60. 411    ISOQUINOLINE DERIVATIVES AND USE THEREOF                             N/A            UNDETERMINED
              (GRANTED) - APPLICATION #2015217185
              (ISOQUINOLINE DERIVATIVES AND USE
              THEREOF)

   60. 412    ISOQUINOLINE DERIVATIVES AND USE THEREOF                             N/A            UNDETERMINED
              (PUBLISHED) - APPLICATION #15/118,563
              (ISOQUINOLINE DERIVATIVES AND USE
              THEREOF)

   60. 413    ISOQUINOLINE DERIVATIVES AND USE THEREOF                             N/A            UNDETERMINED
              (PUBLISHED) - APPLICATION #201580015712.3
              (ISOQUINOLINE DERIVATIVES AND USE
              THEREOF)

   60. 414    ITINERARY SEARCH TOOL FOR TERRITORY                                  N/A            UNDETERMINED
              MANAGEMENT (GRANTED) - APPLICATION
              #11/925,512 (ITINERARY SEARCH TOOL FOR
              TERRITORY MANAGEMENT)


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   60. 415    LABORATORY GLASSWARE DRYING RACK                                   N/A            UNDETERMINED
              (GRANTED) - APPLICATION #29/518,624

   60. 416    LESS HEPATOTOXIC ACETAMINOPHEN                                     N/A            UNDETERMINED
              ANALGESIC (APPLICATION) - APPLICATION
              #62/037,633

   60. 417    LORATADINE TRANSDERMAL DEVICE AND                                  N/A            UNDETERMINED
              METHODS (GRANTED) - APPLICATION
              #10/045,607 (LORATADINE TRANSDERMAL
              DEVICE AND METHODS)

   60. 418    MATRIX FOR SUSTAINED, INVARIANT AND                                N/A            UNDETERMINED
              INDEPENDENT RELEASE OF ACTIVE
              COMPOUNDS (GRANTED) - APPLICATION
              #13/348,617

   60. 419    MATRIX FOR SUSTAINED, INVARIANT AND                                N/A            UNDETERMINED
              INDEPENDENT RELEASE OF ACTIVE
              COMPOUNDS (GRANTED) - APPLICATION
              #14/058,108

   60. 420    MATRIX FOR SUSTAINED, INVARIANT AND                                N/A            UNDETERMINED
              INDEPENDENT RELEASE OF ACTIVE
              COMPOUNDS (GRANTED) - APPLICATION
              #14/489,452

   60. 421    METHOD AND APPARATUS FOR DETERMINING                               N/A            UNDETERMINED
              THE HOMOGENEITY OF A GRANULATION
              DURING TABLETING (GRANTED) - APPLICATION
              #10/406,737 (METHOD AND APPARATUS FOR
              DETERMINING THE HOMOGENEITY OF A
              GRANULATION DURING TABLETING)

   60. 422    METHOD AND DEVICE FOR THE ASSESSMENT                               N/A            UNDETERMINED
              OF BOWEL FUNCTION (GRANTED) -
              APPLICATION #11/885,285

   60. 423    METHOD OF PROVIDING SUSTAINED ANALGESIA                            N/A            UNDETERMINED
              WITH BUPRENORPHINE (6,344,212) (COVERS
              BUTRANS) (GRANTED) - APPLICATION
              #11/799,611 (UNITED STATES OF AMERICA)

   60. 424    METHOD OF PROVIDING SUSTAINED ANALGESIA                            N/A            UNDETERMINED
              WITH BUPRENORPHINE (GRANTED) -
              APPLICATION #09/756,419 (UNITED STATES OF
              AMERICA)

   60. 425    METHOD OF PROVIDING SUSTAINED ANALGESIA                            N/A            UNDETERMINED
              WITH BUPRENORPHINE (GRANTED) -
              APPLICATION #15/351,879 (UNITED STATES OF
              AMERICA)

   60. 426    METHOD OF PROVIDING SUSTAINED ANALGESIA                            N/A            UNDETERMINED
              WITH BUPRENORPINE (GRANTED) -
              APPLICATION #11/799,608 (UNITED STATES OF
              AMERICA)

   60. 427    METHOD OF REDUCING ALPHA, BETA                                     N/A            UNDETERMINED
              UNSATURATED KETONES IN OPIOID
              COMPOSITIONS (GRANTED) - APPLICATION
              #11/885,402 (METHOD OF REDUCING ALPHA,
              BETA UNSATURATED KETONES IN OPIOID
              COMPOSITIONS)




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   60. 428    METHOD OF REDUCING ALPHA, BETA                                       N/A            UNDETERMINED
              UNSATURATED KETONES IN OPIOID
              COMPOSITIONS (GRANTED) - APPLICATION
              #11/885,402 (UNITED STATES OF AMERICA)

   60. 429    METHOD OF TREATMENT AND DOSAGE FORMS                                 N/A            UNDETERMINED
              THEREOF (PUBLISHED) - APPLICATION
              #PCT/US2018/40460

   60. 430    METHOD OF TREATMENT AND DOSAGE FORMS                                 N/A            UNDETERMINED
              WITH A COMBINATION OF BUPRENORPHINE AND
              OXYCODONE (APPLICATION) - APPLICATION
              #62/527,337

   60. 431    METHODS AND COMPOSITIONS FOR                                         N/A            UNDETERMINED
              DECREASING GASTRIC EMPTYING (GRANTED) -
              APPLICATION #15/048,530 (METHODS AND
              COMPOSITIONS FOR DECREASING GASTRIC
              EMPTYING )

   60. 432    METHODS AND COMPOSITIONS FOR                                         N/A            UNDETERMINED
              DECREASING GASTRIC EMPTYING (GRANTED) -
              APPLICATION #15/680,737 (METHODS AND
              COMPOSITIONS FOR DECREASING GASTRIC
              EMPTYING)

   60. 433    METHODS AND COMPOSITIONS FOR                                         N/A            UNDETERMINED
              DECREASING GASTRIC EMPTYING
              (PUBLISHED) - APPLICATION #16753165.6
              (METHODS AND COMPOSITIONS FOR
              DECREASING GASTRIC EMPTYING)

   60. 434    METHODS AND COMPOSITIONS FOR                                         N/A            UNDETERMINED
              DECREASING GASTRIC EMPTYING
              (PUBLISHED) - APPLICATION #2017-543916
              (METHODS AND COMPOSITIONS FOR
              DECREASING GASTRIC EMPTYING)

   60. 435    METHODS AND COMPOSITIONS PARTICULARLY                                N/A            UNDETERMINED
              FOR TREATMENT OF ATTENTION DEFICIT
              DISORDER (ALLOWED) - APPLICATION
              #16/185,730 (UNITED STATES OF AMERICA)

   60. 436    METHODS AND COMPOSITIONS PARTICULARLY                                N/A            UNDETERMINED
              FOR TREATMENT OF ATTENTION DEFICIT
              DISORDER (ALLOWED) - APPLICATION
              #16/282,858

   60. 437    METHODS AND COMPOSITIONS PARTICULARLY                                N/A            UNDETERMINED
              FOR TREATMENT OF ATTENTION DEFICIT
              DISORDER (ALLOWED) - APPLICATION
              #16/282,858 (UNITED STATES OF AMERICA)

   60. 438    METHODS AND COMPOSITIONS PARTICULARLY                                N/A            UNDETERMINED
              FOR TREATMENT OF ATTENTION DEFICIT
              DISORDER (ALLOWED) - APPLICATION
              #16/282,876 (UNITED STATES OF AMERICA)

   60. 439    METHODS AND COMPOSITIONS PARTICULARLY                                N/A            UNDETERMINED
              FOR TREATMENT OF ATTENTION DEFICIT
              DISORDER (APPLICATION) - APPLICATION
              #16/185,730

   60. 440    METHODS AND COMPOSITIONS PARTICULARLY                                N/A            UNDETERMINED
              FOR TREATMENT OF ATTENTION DEFICIT
              DISORDER (APPLICATION) - APPLICATION
              #16/195,418


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   60. 441    METHODS AND COMPOSITIONS PARTICULARLY                             N/A            UNDETERMINED
              FOR TREATMENT OF ATTENTION DEFICIT
              DISORDER (APPLICATION) - APPLICATION
              #16/422,177

   60. 442    METHODS AND COMPOSITIONS PARTICULARLY                             N/A            UNDETERMINED
              FOR TREATMENT OF ATTENTION DEFICIT
              DISORDER (APPLICATION) - APPLICATION
              #62/122,847

   60. 443    METHODS AND COMPOSITIONS PARTICULARLY                             N/A            UNDETERMINED
              FOR TREATMENT OF ATTENTION DEFICIT
              DISORDER (GRANTED) - APPLICATION
              #14/928,276

   60. 444    METHODS AND COMPOSITIONS PARTICULARLY                             N/A            UNDETERMINED
              FOR TREATMENT OF ATTENTION DEFICIT
              DISORDER (GRANTED) - APPLICATION
              #14/928,276 (UNITED STATES OF AMERICA)

   60. 445    METHODS AND COMPOSITIONS PARTICULARLY                             N/A            UNDETERMINED
              FOR TREATMENT OF ATTENTION DEFICIT
              DISORDER (GRANTED) - APPLICATION
              #15/958,413

   60. 446    METHODS AND COMPOSITIONS PARTICULARLY                             N/A            UNDETERMINED
              FOR TREATMENT OF ATTENTION DEFICIT
              DISORDER (GRANTED) - APPLICATION
              #15/958,413 (UNITED STATES OF AMERICA)

   60. 447    METHODS AND COMPOSITIONS PARTICULARLY                             N/A            UNDETERMINED
              FOR TREATMENT OF ATTENTION DEFICIT
              DISORDER (GRANTED) - APPLICATION
              #16/120,900

   60. 448    METHODS AND COMPOSITIONS PARTICULARLY                             N/A            UNDETERMINED
              FOR TREATMENT OF ATTENTION DEFICIT
              DISORDER (GRANTED) - APPLICATION
              #16/120,900 (UNITED STATES OF AMERICA)

   60. 449    METHODS AND COMPOSITIONS PARTICULARLY                             N/A            UNDETERMINED
              FOR TREATMENT OF ATTENTION DEFICIT
              DISORDER (GRANTED) - APPLICATION
              #16/120,999

   60. 450    METHODS AND COMPOSITIONS PARTICULARLY                             N/A            UNDETERMINED
              FOR TREATMENT OF ATTENTION DEFICIT
              DISORDER (GRANTED) - APPLICATION
              #16/120,999 (UNITED STATES OF AMERICA)

   60. 451    METHODS AND COMPOSITIONS PARTICULARLY                             N/A            UNDETERMINED
              FOR TREATMENT OF ATTENTION DEFICIT
              DISORDER (PENDING) - APPLICATION
              #16/195,418 (UNITED STATES OF AMERICA)

   60. 452    METHODS AND COMPOSITIONS PARTICULARLY                             N/A            UNDETERMINED
              FOR TREATMENT OF ATTENTION DEFICIT
              DISORDER (PENDING) - APPLICATION
              #16/399,571 (UNITED STATES OF AMERICA)

   60. 453    METHODS AND COMPOSITIONS PARTICULARLY                             N/A            UNDETERMINED
              FOR TREATMENT OF ATTENTION DEFICIT
              DISORDER (PENDING) - APPLICATION
              #16/399,574 (UNITED STATES OF AMERICA)




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   60. 454    METHODS AND COMPOSITIONS PARTICULARLY                              N/A            UNDETERMINED
              FOR TREATMENT OF ATTENTION DEFICIT
              DISORDER (PENDING) - APPLICATION
              #16/399,580 (UNITED STATES OF AMERICA)

   60. 455    METHODS AND COMPOSITIONS PARTICULARLY                              N/A            UNDETERMINED
              FOR TREATMENT OF ATTENTION DEFICIT
              DISORDER (PENDING) - APPLICATION
              #16/422,177 (UNITED STATES OF AMERICA)

   60. 456    METHODS AND COMPOSITIONS PARTICULARLY                              N/A            UNDETERMINED
              FOR TREATMENT OF ATTENTION DEFICIT
              DISORDER (PENDING) - APPLICATION
              #62/122,847 (UNITED STATES OF AMERICA)

   60. 457    METHODS FOR MAKING 3-O-PROTECTED                                   N/A            UNDETERMINED
              MORPHINONES AND 3-O-PROTECTED
              MORPHINONE DIENOL CARBOXYLATES
              (GRANTED) - APPLICATION #10/588,637
              (METHODS FOR MAKING 3-O-PROTECTED
              MORPHINONES AND 3-O-PROTECTED
              MORPHINONE DIENOL CARBOXYLATES)

   60. 458    METHODS FOR MAKING 3-O-PROTECTED                                   N/A            UNDETERMINED
              MORPHINONES AND 3-O-PROTECTED
              MORPHINONE DIENOL CARBOXYLATES
              (GRANTED) - APPLICATION #13/189,228
              (METHODS FOR MAKING 3-O-PROTECTED
              MORPHINONES AND 3-O-PROTECTED
              MORPHINONE DIENOL CARBOXYLATES)

   60. 459    METHODS FOR MAKING 3-O-PROTECTED                                   N/A            UNDETERMINED
              MORPHINONES AND 3-O-PROTECTED
              MORPHINONE DIENOL CARBOXYLATES
              (GRANTED) - APPLICATION #13/472,227
              (METHODS FOR MAKING 3-O-PROTECTED
              MORPHINONES AND 3-O-PROTECTED
              MORPHINONE DIENOL CARBOXYLATES)

   60. 460    METHODS FOR MAKING 3-O-PROTECTED                                   N/A            UNDETERMINED
              MORPHINONES AND 3-O-PROTECTED
              MORPHINONE DIENOL CARBOXYLATES
              (GRANTED) - APPLICATION #14/188,430
              (METHODS FOR MAKING 3-O-PROTECTED
              MORPHINONES AND 3-O-PROTECTED
              MORPHINONE DIENOL CARBOXYLATES)

   60. 461    METHODS FOR MAKING 3-O-PROTECTED                                   N/A            UNDETERMINED
              MORPHINONES AND 3-O-PROTECTED
              MORPHINONE DIENOL CARBOXYLATES
              (GRANTED) - APPLICATION #14/637,129
              (METHODS FOR MAKING 3-O-PROTECTED
              MORPHINONES AND 3-O-PROTECTED
              MORPHINONE DIENOL CARBOXYLATES)

   60. 462    METHODS FOR MAKING 4-TETRAZOLYL-4-                                 N/A            UNDETERMINED
              PHENYLPIPERIDINE COMPOUNDS (GRANTED) -
              APPLICATION #11/495,221 (METHODS FOR
              MAKING 4-TETRAZOLYL-4-PHENYLPIPERIDINE
              COMPOUNDS)

   60. 463    METHODS FOR MAKING 4-TETRAZOLYL-4-                                 N/A            UNDETERMINED
              PHENYLPIPERIDINE COMPOUNDS (GRANTED) -
              APPLICATION #12/466,797 (METHODS FOR
              MAKING 4-TETRAZOLYL-4-PHENYLPIPERIDINE
              COMPOUNDS)



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   60. 464    METHODS FOR MAKING THEBAINE OR ITS ACID                              N/A            UNDETERMINED
              SALTS (GRANTED) - APPLICATION #10/722,054
              (METHODS FOR MAKING THEBAINE OR ITS ACID
              SALTS)

   60. 465    METHODS FOR SALES CALL DATA                                          N/A            UNDETERMINED
              MANAGEMENT AND PROCESSING (GRANTED) -
              APPLICATION #11/925,552 (METHODS FOR SALES
              CALL DATA MANAGEMENT AND PROCESSING)

   60. 466    METHODS OF MANUFACTURING ORAL DOSAGE                                 N/A            UNDETERMINED
              FORMS (GRANTED) - APPLICATION #15/376,868
              (UNITED STATES OF AMERICA)

   60. 467    METHODS OF MANUFACTURING ORAL DOSAGE                                 N/A            UNDETERMINED
              FORMS (PUBLISHED) - APPLICATION
              #15/376,868 (UNITED STATES OF AMERICA)

   60. 468    METHODS OF MANUFACTURING ORAL                                        N/A            UNDETERMINED
              FORMULATIONS
              (GRANTED) - APPLICATION #15/376,774 (UNITED
              STATES OF AMERICA)

   60. 469    METHODS OF PREPARING TAMPER RESISTANT                                N/A            UNDETERMINED
              PHARMACEUTICAL FORMULATIONS (GRANTED) -
              APPLICATION #14/670,654 (METHODS OF
              PREPARING TAMPER RESISTANT
              PHARMACEUTICAL FORMULATIONS)

   60. 470    METHODS OF PREPARING TAMPER RESISTANT                                N/A            UNDETERMINED
              SOLID ORAL DOSAGE FORMS (GRANTED) -
              APPLICATION #14/992,789 (METHODS OF
              PREPARING TAMPER RESISTANT SOLID ORAL
              DOSAGE FORMS)

   60. 471    METHODS OF PROVIDING ANALGESIA                                       N/A            UNDETERMINED
              (GRANTED) - APPLICATION #15/376,759 (UNITED
              STATES OF AMERICA)

   60. 472    METHODS OF PROVIDING ANALGESIA                                       N/A            UNDETERMINED
              (GRANTED) - APPLICATION #15/376,851 (UNITED
              STATES OF AMERICA)

   60. 473    METHODS OF PROVIDING SUSTAINED                                       N/A            UNDETERMINED
              TREATMENT WITH OPIOIDS (GRANTED) -
              APPLICATION #09/311,997 (UNITED STATES OF
              AMERICA)

   60. 474    MHC-I RESTRICTED EPITOPES CONTAINING NON-                            N/A            UNDETERMINED
              NATURAL AMINO ACID RESIDUES (GRANTED) -
              APPLICATION #13/817,261 (MHC-I RESTRICTED
              EPITOPES CONTAINING NON-NATURAL AMINO
              ACID RESIDUES)

   60. 475    MHC-I RESTRICTED EPITOPES CONTAINING NON-                            N/A            UNDETERMINED
              NATURAL AMINO ACID RESIDUES (GRANTED) -
              APPLICATION #14/820,194 (MHC-I RESTRICTED
              EPITOPES CONTAINING NON-NATURAL AMINO
              ACID RESIDUES)

   60. 476    MHC-I RESTRICTED EPITOPES CONTAINING NON-                            N/A            UNDETERMINED
              NATURAL AMINO ACID RESIDUES (GRANTED) -
              APPLICATION #15/412,329 (MHC-I RESTRICTED
              EPITOPES CONTAINING NON-NATURAL AMINO
              ACID RESIDUES)




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   60. 477    MONOCYCLIC COMPOUNDS AND THEIR USE AS                               N/A            UNDETERMINED
              TRPV1 LIGANDS (GRANTED) - APPLICATION
              #12/603,684 (MONOCYCLIC COMPOUNDS AND
              THEIR USE AS TRPV1 LIGANDS)

   60. 478    MORPHINAN DERIVATIVES AND USE THEREOF                               N/A            UNDETERMINED
              (APPLICATION) - APPLICATION #16/475,251

   60. 479    MORPHINAN DERIVATIVES AND USE THEREOF                               N/A            UNDETERMINED
              (APPLICATION) - APPLICATION #62/441,470

   60. 480    MORPHINAN DERIVATIVES AND USE THEREOF                               N/A            UNDETERMINED
              (PUBLISHED) - APPLICATION #PCT/US2017/067611

   60. 481    N-(BENZOTHIAZOL)-PIPERAZIN-1-CARBOXAMIDE                            N/A            UNDETERMINED
              DERIVATIVES AS TRPV1 ANTAGONISTS
              (GRANTED) - APPLICATION #2878.13 (N-
              (BENZOTHIAZOL)-PIPERAZIN-1-CARBOXAMIDE
              DERIVATIVES AS TRPV1 ANTAGONISTS)

   60. 482    N-BUT-3-ENYL NORBUPRENORPHINE AND ITS                               N/A            UNDETERMINED
              USE AS ANALGESIC (GRANTED) - APPLICATION
              #10/469,553 (N-BUT-3-ENYL
              NORBUPRENORPHINE AND ITS USE AS
              ANALGESIC)

   60. 483    NEW OPIOID LIGANDS (ON HOLD) - APPLICATION                          N/A            UNDETERMINED
              #

   60. 484    NITROGEN CONTAINING MORPHINAN                                       N/A            UNDETERMINED
              DERIVATIVES AND THE USE THEREOF
              (GRANTED) - APPLICATION #14/105,724
              (NITROGEN CONTAINING MORPHINAN
              DERIVATIVES AND THE USE THEREOF)

   60. 485    NOCICEPTIN ANALOGS (GRANTED) -                                      N/A            UNDETERMINED
              APPLICATION #10/126,471 (NOCICEPTIN
              ANALOGS)

   60. 486    NOCICEPTIN ANALOGS (GRANTED) -                                      N/A            UNDETERMINED
              APPLICATION #10/126,507 (NOCICEPTIN
              ANALOGS)

   60. 487    NOCICEPTIN ANALOGS (GRANTED) -                                      N/A            UNDETERMINED
              APPLICATION #11/069,728 (NOCICEPTIN
              ANALOGS)

   60. 488    NOCICEPTIN ANALOGS (GRANTED) -                                      N/A            UNDETERMINED
              APPLICATION #12/390,683 (NOCICEPTIN
              ANALOGS)

   60. 489    NOCICEPTIN ANALOGS (GRANTED) -                                      N/A            UNDETERMINED
              APPLICATION #13/051,629 (NOCICEPTIN
              ANALOGS)

   60. 490    NOVEL SODIUM CHANNEL BLOCKING PEPTIDES                              N/A            UNDETERMINED
              AND THE USE THEREOF (GRANTED) -
              APPLICATION #14/417,394 (NOVEL SODIUM
              CHANNEL BLOCKING PEPTIDES AND THE USE
              THEREOF)

   60. 491    NOVEL SODIUM CHANNEL BLOCKING PEPTIDES                              N/A            UNDETERMINED
              AND THE USE THEREOF (PUBLISHED) -
              APPLICATION #PCT/IB2013/001653 (NOVEL
              SODIUM CHANNEL BLOCKING PEPTIDES AND
              THE USE THEREOF)




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   60. 492    N-SUBSTITUTED HYDROMORPHONES AND THE                                  N/A            UNDETERMINED
              USE THEREOF (GRANTED) - APPLICATION
              #10/668,326 (N-SUBSTITUTED
              HYDROMORPHONES AND THE USE THEREOF)

   60. 493    NUCLEIC ACID MOLECULES ENCODING                                       N/A            UNDETERMINED
              ANTIBODIES THAT BIND CELL-ASSOCIATED CA
              125/O772P (GRANTED) - APPLICATION
              #13/354,952 (NUCLEIC ACID MOLECULES
              ENCODING ANTIBODIES THAT BIND CELL-
              ASSOCIATED CA 125/O772P)

   60. 494    ONCE-A-DAY OXYCODONE FORMULATIONS                                     N/A            UNDETERMINED
              (GRANTED) - APPLICATION #10/476,409 (ONCE-A-
              DAY OXYCODONE FORMULATIONS)

   60. 495    ONCE-A-DAY OXYCODONE FORMULATIONS                                     N/A            UNDETERMINED
              (GRANTED) - APPLICATION #14/548,435 (ONCE-A-
              DAY OXYCODONE FORMULATIONS)

   60. 496    ONCE-A-DAY OXYCODONE FORMULATIONS                                     N/A            UNDETERMINED
              (GRANTED) - APPLICATION #14/665,715 (ONCE-A-
              DAY OXYCODONE FORMULATIONS)

   60. 497    OPIOD AGONIST FORMULATIONS WITH                                       N/A            UNDETERMINED
              RELEASABLE AND SEQUESTERED ANTAGONIST
              (GRANTED) - APPLICATION #13/953,033 (OPIOD
              AGONIST FORMULATIONS WITH RELEASABLE
              AND SEQUESTERED ANTAGONIST)

   60. 498    OPIOID AGONIST FORMULATIONS WITH                                      N/A            UNDETERMINED
              RELEASABLE AND SEQUESTERED ANTAGONIST
              (GRANTED) - APPLICATION #10/213,919 (OPIOID
              AGONIST FORMULATIONS WITH RELEASABLE
              AND SEQUESTERED ANTAGONIST)

   60. 499    OPIOID AGONIST FORMULATIONS WITH                                      N/A            UNDETERMINED
              RELEASABLE AND SEQUESTERED ANTAGONIST
              (GRANTED) - APPLICATION #13/043,134 (OPIOID
              AGONIST FORMULATIONS WITH RELEASABLE
              AND SEQUESTERED ANTAGONIST)

   60. 500    OPIOID AGONIST FORMULATIONS WITH                                      N/A            UNDETERMINED
              RELEASABLE AND SEQUESTERED ANTAGONIST
              (GRANTED) - APPLICATION #13/535,605 (OPIOID
              AGONIST FORMULATIONS WITH RELEASABLE
              AND SEQUESTERED ANTAGONIST)

   60. 501    OPIOID AGONIST FORMULATIONS WITH                                      N/A            UNDETERMINED
              RELEASABLE AND SEQUESTERED ANTAGONIST
               (GRANTED) - APPLICATION #14/333,584 (OPIOID
              AGONIST FORMULATIONS WITH RELEASABLE
              AND SEQUESTERED ANTAGONIST
              )

   60. 502    OPIOID ANTAGONIST FORMULATIONS                                        N/A            UNDETERMINED
              (APPLICATION) - APPLICATION #2,929,866
              (OPIOID ANTAGONIST FORMULATIONS)

   60. 503    OPIOID ANTAGONIST FORMULATIONS                                        N/A            UNDETERMINED
              (APPLICATION) - APPLICATION #246091 (OPIOID
              ANTAGONIST FORMULATIONS)

   60. 504    OPIOID ANTAGONIST FORMULATIONS                                        N/A            UNDETERMINED
              (APPLICATION) - APPLICATION
              #MX/A/2016/008361 (OPIOID ANTAGONIST
              FORMULATIONS)


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   60. 505    OPIOID ANTAGONIST FORMULATIONS                                       N/A            UNDETERMINED
              (GRANTED) - APPLICATION #2014370085 (OPIOID
              ANTAGONIST FORMULATIONS)

   60. 506    OPIOID ANTAGONIST FORMULATIONS                                       N/A            UNDETERMINED
              (PUBLISHED) - APPLICATION #14874588.8
              (OPIOID ANTAGONIST FORMULATIONS)

   60. 507    OPIOID ANTAGONIST FORMULATIONS                                       N/A            UNDETERMINED
              (PUBLISHED) - APPLICATION #15/030,709 (OPIOID
              ANTAGONIST FORMULATIONS)

   60. 508    OPIOID ANTAGONIST FORMULATIONS                                       N/A            UNDETERMINED
              (PUBLISHED) - APPLICATION #2016-560875
              (OPIOID ANTAGONIST FORMULATIONS)

   60. 509    OPIOID ANTAGONIST FORMULATIONS                                       N/A            UNDETERMINED
              (PUBLISHED) - APPLICATION #PCT/US14/71802
              (OPIOID ANTAGONIST FORMULATIONS)

   60. 510    OPIOID DOSAGE FORMS HAVING DOSE                                      N/A            UNDETERMINED
              PROPORTIONAL STEADY STATE CAVE AND AUC
              AND LESS THAN DOSE PROPORTIONAL SINGLE
              DOSE CMAX (GRANTED) - APPLICATION
              #11/660,988 (OPIOID DOSAGE FORMS HAVING
              DOSE PROPORTIONAL STEADY STATE CAVE
              AND AUC AND LESS THAN DOSE PROPORTI

   60. 511    OPIOID DOSAGE FORMS HAVING DOSE                                      N/A            UNDETERMINED
              PROPORTIONAL STEADY STATE CAVE AND AUC
              AND LESS THAN DOSE PROPORTIONAL SINGLE
              DOSE CMAX (GRANTED) - APPLICATION
              #14/201,040 (OPIOID DOSAGE FORMS HAVING
              DOSE PROPORTIONAL STEADY STATE CAVE
              AND AUC AND LESS THAN DOSE PROPORTI

   60. 512    OPIOID RECEPTOR MODULATING                                           N/A            UNDETERMINED
              OXABICYCLO[2.2.2] OCTANE MORPHINANS
              (PUBLISHED) - APPLICATION #PCT/IB2014/002884
              (OPIOID RECEPTOR MODULATING
              OXABICYCLO[2.2.2] OCTANE MORPHINANS)

   60. 513    OPIOID RECEPTOR MODULATING                                           N/A            UNDETERMINED
              OXABICYCLO[2.2.2]OCTANE MORPHINANS
              (GRANTED) - APPLICATION #14 827 532.4 (OPIOID
              RECEPTOR MODULATING
              OXABICYCLO[2.2.2]OCTANE MORPHINANS)

   60. 514    OPIOID RECEPTOR MODULATING                                           N/A            UNDETERMINED
              OXABICYCLO[2.2.2]OCTANE MORPHINANS
              (GRANTED) - APPLICATION #15/107,023 (OPIOID
              RECEPTOR MODULATING
              OXABICYCLO[2.2.2]OCTANE MORPHINANS)

   60. 515    OPIOID SYNTHESIS (APPLICATION) -                                     N/A            UNDETERMINED
              APPLICATION #15.018.246 (OPIOID SYNTHESIS)

   60. 516    OPIOIDS FOR THE TREATMENT OF THE                                     N/A            UNDETERMINED
              CHRONIC OBSTRUCTIVE PULMONARY DISEASE
              (COPD) (GRANTED) - APPLICATION #11/570,197

   60. 517    OPIOIDS FOR THE TREATMENT OF THE                                     N/A            UNDETERMINED
              RESTLESS LEG SYNDROME (PUBLISHED) -
              APPLICATION #11/570,222




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   60. 518    ORAL DOSAGE FORM COMPRISING A                                        N/A            UNDETERMINED
              THERAPEUTIC AGENT AND AN ADVERSE
              EFFECT AGENT. (PUBLISHED) - APPLICATION
              #2013-101285 (ORAL DOSAGE FORM
              COMPRISING A THERAPEUTIC AGENT AND AN
              ADVERSE EFFECT AGENT.)

   60. 519    ORAL DOSAGE FORM COMPRISING A                                        N/A            UNDETERMINED
              THERAPEUTIC AGENT AND AN ADVERSE-
              EFFECT AGENT (GRANTED) - APPLICATION
              #10/948,575 (ORAL DOSAGE FORM COMPRISING
              A THERAPEUTIC AGENT AND AN ADVERSE-
              EFFECT AGENT)

   60. 520    ORAL DOSAGE FORM COMPRISING A                                        N/A            UNDETERMINED
              THERAPEUTIC AGENT AND AN ADVERSE-
              EFFECT AGENT (GRANTED) - APPLICATION
              #13/923,362 (ORAL DOSAGE FORM COMPRISING
              A THERAPEUTIC AGENT AND AN ADVERSE-
              EFFECT AGENT)

   60. 521    OXAZOLINE PSEUDODIMERS, PHARMACEUTICAL                               N/A            UNDETERMINED
              COMPOSITIONS AND THE USE THEREOF
              (APPLICATION) - APPLICATION #62/331,710

   60. 522    OXAZOLINE PSEUDODIMERS, PHARMACEUTICAL                               N/A            UNDETERMINED
              COMPOSITIONS AND THE USE THEREOF
              (PUBLISHED) - APPLICATION #16/098,494

   60. 523    OXAZOLINE PSEUDODIMERS, PHARMACEUTICAL                               N/A            UNDETERMINED
              COMPOSITIONS AND THE USE THEREOF
              (PUBLISHED) - APPLICATION #PCT/US2017/031071

   60. 524    OXIME-SUBSTITUTED-QUINOXALINE-TYPE                                   N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AS ORL-1
              MODULATORS (GRANTED) - APPLICATION
              #14/138,976 (OXIME-SUBSTITUTED-QUINOXALINE-
              TYPE PIPERIDINE COMPOUNDS AS ORL-1
              MODULATORS)

   60. 525    OXYCARBAMOYL COMPOUNDS AND THE USE                                   N/A            UNDETERMINED
              THEREOF (GRANTED) - APPLICATION #12/997,544
              (OXYCARBAMOYL COMPOUNDS AND THE USE
              THEREOF)

   60. 526    OXYCARBAMOYLE COMPOUNDS AND THE USE                                  N/A            UNDETERMINED
              THEREOF (PUBLISHED) - APPLICATION
              #PCT/JP09/061140 (OXYCARBAMOYLE
              COMPOUNDS AND THE USE THEREOF)

   60. 527    OXYCODONE COMPOSITIONS (GRANTED) -                                   N/A            UNDETERMINED
              APPLICATION #14/725,153 (UNITED STATES OF
              AMERICA)

   60. 528    OXYCODONE FORMULATIONS (PUBLISHED) -                                 N/A            UNDETERMINED
              APPLICATION #15/666,264 (OXYCODONE
              FORMULATIONS)

   60. 529    OXYCODONE FORMULATIONS                                               N/A            UNDETERMINED
               (GRANTED) - APPLICATION #14/843,376
              (OXYCODONE FORMULATIONS
              )

   60. 530    OXYCODONE HYDROCHLORIDE HAVING LESS                                  N/A            UNDETERMINED
              THAN 25 PPM 14-HYDROXYCODEINONE
              (GRANTED) - APPLICATION #11/653,529 (UNITED
              STATES OF AMERICA)


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   60. 531    OXYCODONE HYDROCHLORIDE HAVING LESS                                  N/A            UNDETERMINED
              THAN 25 PPM 14-HYDROXYCODEINONE
              (GRANTED) - APPLICATION #11/653,531 (UNITED
              STATES OF AMERICA)

   60. 532    OXYCODONE HYDROCHLORIDE HAVING LESS                                  N/A            UNDETERMINED
              THAN 25 PPM 14-HYDROXYCODEINONE
              (GRANTED) - APPLICATION #11/729,741 (UNITED
              STATES OF AMERICA)

   60. 533    OXYCODONE HYDROCHLORIDE HAVING LESS                                  N/A            UNDETERMINED
              THAN 25 PPM 14-HYDROXYCODEINONE
              (GRANTED) - APPLICATION #11/653,530 (UNITED
              STATES OF AMERICA)

   60. 534    OXYCODONE HYDROCHLORIDE HAVING LESS                                  N/A            UNDETERMINED
              THAN 25 PPM 14-HYDROXYCODEINONE
              (GRANTED) - APPLICATION #11/729,741 (UNITED
              STATES OF AMERICA)

   60. 535    OXYCODONE HYDROCHLORIDE HAVING LESS                                  N/A            UNDETERMINED
              THAN 25 PPM 14-HYDROXYCODEINONE
              (GRANTED) - APPLICATION #13/366,755 (UNITED
              STATES OF AMERICA)

   60. 536    OXYIIMINO COMPOUNDS AND THE USE                                      N/A            UNDETERMINED
              THEREOF (GRANTED) - APPLICATION #12/602,441
              (OXYIIMINO COMPOUNDS AND THE USE
              THEREOF)

   60. 537    PHARMACEUTICAL COMBINATIONS OF                                       N/A            UNDETERMINED
              HYDROCODONE AND NALTREXONE
              (PUBLISHED) - APPLICATION #PCT/US04/029521
              (PHARMACEUTICAL COMBINATIONS OF
              HYDROCODONE AND NALTREXONE)

   60. 538    PHARMACEUTICAL COMBINATIONS OF                                       N/A            UNDETERMINED
              OXYCODONE AND NALOXONE (GRANTED) -
              APPLICATION #10/199,972 (PHARMACEUTICAL
              COMBINATIONS OF OXYCODONE AND
              NALOXONE)

   60. 539    PHARMACEUTICAL COMPOSITION CONTAINING                                N/A            UNDETERMINED
              GELLING AGENT
              (GRANTED) - APPLICATION #12/262,015 (UNITED
              STATES OF AMERICA)

   60. 540    PHARMACEUTICAL COMPOSITIONS                                          N/A            UNDETERMINED
              (PUBLISHED) - APPLICATION #PCT/US03/25601
              (PHARMACEUTICAL COMPOSITIONS)

   60. 541    PHARMACEUTICAL COMPOSITIONS COMPRISING                               N/A            UNDETERMINED
              DELAYED RELEASE GELLING AGENT
              COMPOSITIONS (APPLICATION) - APPLICATION
              #62/566,989

   60. 542    PHARMACEUTICAL COMPOSITIONS COMPRISING                               N/A            UNDETERMINED
              DELAYED RELEASE GELLING AGENT
              COMPOSITIONS (PUBLISHED) - APPLICATION
              #PCT/US2018/053755

   60. 543    PHARMACEUTICAL DOSAGE FORMS                                          N/A            UNDETERMINED
              (APPLICATION) - APPLICATION #62/552,521

   60. 544    PHARMACEUTICAL DOSAGE FORMS                                          N/A            UNDETERMINED
              (APPLICATION) - APPLICATION #62/574,978



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   60. 545    PHARMACEUTICAL DOSAGE FORMS                                         N/A            UNDETERMINED
              (PUBLISHED) - APPLICATION #PCT/US2018/056724

   60. 546    PHARMACEUTICAL DOSAGE FORMS                                         N/A            UNDETERMINED
              (PUBLISHED) - APPLICATION #PCT/US2018/48904

   60. 547    PHARMACEUTICAL DOSAGE FORMS                                         N/A            UNDETERMINED
              COMPRISING POLY (E-CAPROLACTONE) (POLY-
              E-CAPROLACTONE) (ALLOWED) - APPLICATION
              #MX/A/2011/002966 (PHARMACEUTICAL DOSAGE
              FORMS COMPRISING POLY (E-
              CAPROLACTONE) (POLY-E-CAPROLACTONE))

   60. 548    PHARMACEUTICAL DOSAGE FORMS                                         N/A            UNDETERMINED
              COMPRISING POLY (E-CAPROLACTONE) (POLY-
              E-CAPROLACTONE) (GRANTED) - APPLICATION
              #097862692 (PHARMACEUTICAL DOSAGE FORMS
              COMPRISING POLY (E-CAPROLACTONE) (POLY-
              E-CAPROLACTONE))

   60. 549    PHARMACEUTICAL DOSAGE FORMS                                         N/A            UNDETERMINED
              COMPRISING POLY (E-CAPROLACTONE) (POLY-
              E-CAPROLACTONE) (GRANTED) - APPLICATION
              #10-2011-7008610 (PHARMACEUTICAL DOSAGE
              FORMS COMPRISING POLY (E-
              CAPROLACTONE) (POLY-E-CAPROLACTONE))

   60. 550    PHARMACEUTICAL DOSAGE FORMS                                         N/A            UNDETERMINED
              COMPRISING POLY (E-CAPROLACTONE) (POLY-
              E-CAPROLACTONE) (GRANTED) - APPLICATION
              #111122151 (PHARMACEUTICAL DOSAGE FORMS
              COMPRISING POLY (E-CAPROLACTONE) (POLY-
              E-CAPROLACTONE))

   60. 551    PHARMACEUTICAL DOSAGE FORMS                                         N/A            UNDETERMINED
              COMPRISING POLY (E-CAPROLACTONE) (POLY-
              E-CAPROLACTONE) (GRANTED) - APPLICATION
              #1-2011-500547 (PHARMACEUTICAL DOSAGE
              FORMS COMPRISING POLY (E-
              CAPROLACTONE) (POLY-E-CAPROLACTONE))

   60. 552    PHARMACEUTICAL DOSAGE FORMS                                         N/A            UNDETERMINED
              COMPRISING POLY (E-CAPROLACTONE) (POLY-
              E-CAPROLACTONE) (GRANTED) - APPLICATION
              #2009294308 (PHARMACEUTICAL DOSAGE
              FORMS COMPRISING POLY (E-
              CAPROLACTONE) (POLY-E-CAPROLACTONE))

   60. 553    PHARMACEUTICAL DOSAGE FORMS                                         N/A            UNDETERMINED
              COMPRISING POLY (E-CAPROLACTONE) (POLY-
              E-CAPROLACTONE) (GRANTED) - APPLICATION
              #2009801367424 (PHARMACEUTICAL DOSAGE
              FORMS COMPRISING POLY (E-
              CAPROLACTONE) (POLY-E-CAPROLACTONE))

   60. 554    PHARMACEUTICAL DOSAGE FORMS                                         N/A            UNDETERMINED
              COMPRISING POLY (E-CAPROLACTONE) (POLY-
              E-CAPROLACTONE) (GRANTED) - APPLICATION
              #201101948 (PHARMACEUTICAL DOSAGE FORMS
              COMPRISING POLY (E-CAPROLACTONE) (POLY-
              E-CAPROLACTONE))

   60. 555    PHARMACEUTICAL DOSAGE FORMS                                         N/A            UNDETERMINED
              COMPRISING POLY (E-CAPROLACTONE) (POLY-
              E-CAPROLACTONE) (GRANTED) - APPLICATION
              #2011527420 (PHARMACEUTICAL DOSAGE
              FORMS COMPRISING POLY (E-
              CAPROLACTONE) (POLY-E-CAPROLACTONE))

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   60. 556    PHARMACEUTICAL DOSAGE FORMS                                         N/A            UNDETERMINED
              COMPRISING POLY (E-CAPROLACTONE) (POLY-
              E-CAPROLACTONE) (GRANTED) - APPLICATION
              #2013203747 (PHARMACEUTICAL DOSAGE
              FORMS COMPRISING POLY (E-
              CAPROLACTONE) (POLY-E-CAPROLACTONE))

   60. 557    PHARMACEUTICAL DOSAGE FORMS                                         N/A            UNDETERMINED
              COMPRISING POLY (E-CAPROLACTONE) (POLY-
              E-CAPROLACTONE) (GRANTED) - APPLICATION
              #211314 (PHARMACEUTICAL DOSAGE FORMS
              COMPRISING POLY (E-CAPROLACTONE) (POLY-
              E-CAPROLACTONE))

   60. 558    PHARMACEUTICAL DOSAGE FORMS                                         N/A            UNDETERMINED
              COMPRISING POLY (E-CAPROLACTONE) (POLY-
              E-CAPROLACTONE) (GRANTED) - APPLICATION
              #2737257 (PHARMACEUTICAL DOSAGE FORMS
              COMPRISING POLY (E-CAPROLACTONE) (POLY-
              E-CAPROLACTONE))

   60. 559    PHARMACEUTICAL DOSAGE FORMS                                         N/A            UNDETERMINED
              COMPRISING POLY (E-CAPROLACTONE) (POLY-
              E-CAPROLACTONE) (GRANTED) - APPLICATION
              #502016000088966 (PHARMACEUTICAL DOSAGE
              FORMS COMPRISING POLY (E-
              CAPROLACTONE) (POLY-E-CAPROLACTONE))

   60. 560    PHARMACEUTICAL DOSAGE FORMS                                         N/A            UNDETERMINED
              COMPRISING POLY (E-CAPROLACTONE) (POLY-
              E-CAPROLACTONE) (GRANTED) - APPLICATION
              #601200 (PHARMACEUTICAL DOSAGE FORMS
              COMPRISING POLY (E-CAPROLACTONE) (POLY-
              E-CAPROLACTONE))

   60. 561    PHARMACEUTICAL DOSAGE FORMS                                         N/A            UNDETERMINED
              COMPRISING POLY (E-CAPROLACTONE) (POLY-
              E-CAPROLACTONE) (GRANTED) - APPLICATION
              #W00201101375 (PHARMACEUTICAL DOSAGE
              FORMS COMPRISING POLY (E-
              CAPROLACTONE) (POLY-E-CAPROLACTONE))

   60. 562    PHARMACEUTICAL DOSAGE FORMS                                         N/A            UNDETERMINED
              COMPRISING POLY (E-CAPROLACTONE) (POLY-
              E-CAPROLACTONE) (PUBLISHED) - APPLICATION
              #PCT/IB2009/006917 (PHARMACEUTICAL DOSAGE
              FORMS COMPRISING POLY (E-
              CAPROLACTONE) (POLY-E-CAPROLACTONE))

   60. 563    PHARMACEUTICAL DOSAGE FORMS                                         N/A            UNDETERMINED
              COMPRISING POLY (E-CAPROLACTONE)
              (GRANTED) - APPLICATION #2011121010
              (PHARMACEUTICAL DOSAGE FORMS
              COMPRISING POLY (E-CAPROLACTONE) )

   60. 564    PHARMACEUTICAL DOSAGE FORMS                                         N/A            UNDETERMINED
              COMPRISING POLY (E-CAPROLACTONE)
              (GRANTED) - APPLICATION #592276
              (PHARMACEUTICAL DOSAGE FORMS
              COMPRISING POLY (E-CAPROLACTONE) )

   60. 565    PHARMACEUTICAL DOSAGE FORMS                                         N/A            UNDETERMINED
              COMPRISING POLY (E-CAPROLACTONE)
              (GRANTED) - APPLICATION #201101290-3
              (PHARMACEUTICAL DOSAGE FORMS
              COMPRISING POLY (E-CAPROLACTONE))



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   60. 566    PHARMACEUTICAL DOSAGE FORMS                                          N/A            UNDETERMINED
              COMPRISING POLY (E-CAPROLACTONE) AND
              POLYETHYLENE OXIDE (GRANTED) -
              APPLICATION #12813099.4 (PHARMACEUTICAL
              DOSAGE FORMS COMPRISING POLY (E-
              CAPROLACTONE) AND POLYETHYLENE OXIDE)

   60. 567    PHARMACEUTICAL DOSAGE FORMS                                          N/A            UNDETERMINED
              COMPRISING POLY (E-CAPROLACTONE) AND
              POLYETHYLENE OXIDE (GRANTED) -
              APPLICATION #2012327231 (PHARMACEUTICAL
              DOSAGE FORMS COMPRISING POLY (E-
              CAPROLACTONE) AND POLYETHYLENE OXIDE)

   60. 568    PHARMACEUTICAL DOSAGE FORMS                                          N/A            UNDETERMINED
              COMPRISING POLY (E-CAPROLACTONE) AND
              POLYETHYLENE OXIDE (GRANTED) -
              APPLICATION #502016000123994
              (PHARMACEUTICAL DOSAGE FORMS
              COMPRISING POLY (E-CAPROLACTONE) AND
              POLYETHYLENE OXIDE)

   60. 569    PHARMACEUTICAL DOSAGE FORMS                                          N/A            UNDETERMINED
              COMPRISING POLY (E-CAPROLACTONE) AND
              POLYETHYLENE OXIDE (PUBLISHED) -
              APPLICATION #PCT/IB2012/002681
              (PHARMACEUTICAL DOSAGE FORMS
              COMPRISING POLY (E-CAPROLACTONE) AND
              POLYETHYLENE OXIDE)

   60. 570    PHARMACEUTICAL DOSAGE FORMS                                          N/A            UNDETERMINED
              COMPRISING POLY (EPSILON- CAPROLACTONE)
              AND POLYETHYLENE OXIDE (PUBLISHED) -
              APPLICATION #201710933357.9
              (PHARMACEUTICAL DOSAGE FORMS
              COMPRISING POLY (EPSILON- CAPROLACTONE)
              AND POLYETHYLENE OXIDE)

   60. 571    PHARMACEUTICAL DOSAGE FORMS                                          N/A            UNDETERMINED
              COMPRISING POLY (EPSILON- CAPROLACTONE)
              AND POLYETHYLENE OXIDE (GRANTED) -
              APPLICATION #2,858,868 (PHARMACEUTICAL
              DOSAGE FORMS COMPRISING POLY (EPSILON-
              CAPROLACTONE)
              AND POLYETHYLENE OXIDE)

   60. 572    PHARMACEUTICAL DOSAGE FORMS                                          N/A            UNDETERMINED
              COMPRISING POLY(E-CAPROLACTONE)
              (APPLICATION) - APPLICATION #PI09137246
              (PHARMACEUTICAL DOSAGE FORMS
              COMPRISING POLY(E-CAPROLACTONE))

   60. 573    PHARMACEUTICAL DOSAGE FORMS                                          N/A            UNDETERMINED
              COMPRISING POLY(E-CAPROLACTONE)
              (GRANTED) - APPLICATION #W-00201303847
              (PHARMACEUTICAL DOSAGE FORMS
              COMPRISING POLY(E-CAPROLACTONE))

   60. 574    PHARMACEUTICAL DOSAGE FORMS                                          N/A            UNDETERMINED
              COMPRISING POLY(E-CAPROLACTONE) AND
              POLYETHYLENE OXIDE (GRANTED) -
              APPLICATION #2014-545381 (PHARMACEUTICAL
              DOSAGE FORMS COMPRISING POLY(E-
              CAPROLACTONE) AND POLYETHYLENE OXIDE)




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   60. 575    PHARMACEUTICAL DOSAGE FORMS                                        N/A            UNDETERMINED
              COMPRISING POLY(EPSILON-CAPROLACTONE)
              AND POLYETHYLENE OXIDE (PUBLISHED) -
              APPLICATION #14/363,004 (PHARMACEUTICAL
              DOSAGE FORMS COMPRISING POLY(EPSILON-
              CAPROLACTONE) AND POLYETHYLENE OXIDE)

   60. 576    PHARMACEUTICAL FORMULATION CONTAINING                              N/A            UNDETERMINED
              AN OPIOID AGONIST, OPIOID ANTAGONIST AND
              IRRITANT AGENT (GRANTED) - APPLICATION
              #13/230,185 (PHARMACEUTICAL FORMULATION
              CONTAINING AN OPIOID AGONIST, OPIOID
              ANTAGONIST AND IRRITANT AGENT)

   60. 577    PHARMACEUTICAL FORMULATION CONTAINING                              N/A            UNDETERMINED
              BITTERING AGENT (GRANTED) - APPLICATION
              #10/213,920 (PHARMACEUTICAL FORMULATION
              CONTAINING BITTERING AGENT)

   60. 578    PHARMACEUTICAL FORMULATION CONTAINING                              N/A            UNDETERMINED
              GELLING AGENT (GRANTED) - APPLICATION
              #13/349,449 (UNITED STATES OF AMERICA)

   60. 579    PHARMACEUTICAL FORMULATION CONTAINING                              N/A            UNDETERMINED
              GELLING AGENT (GRANTED) - APPLICATION
              #13/726,324 (UNITED STATES OF AMERICA)

   60. 580    PHARMACEUTICAL FORMULATION CONTAINING                              N/A            UNDETERMINED
              GELLING AGENT (GRANTED) - APPLICATION
              #13/765,368 (UNITED STATES OF AMERICA)

   60. 581    PHARMACEUTICAL FORMULATION CONTAINING                              N/A            UNDETERMINED
              GELLING AGENT (GRANTED) - APPLICATION
              #13/890,874 (UNITED STATES OF AMERICA)

   60. 582    PHARMACEUTICAL FORMULATION CONTAINING                              N/A            UNDETERMINED
              GELLING AGENT (GRANTED) - APPLICATION
              #13/905,922 (UNITED STATES OF AMERICA)

   60. 583    PHARMACEUTICAL FORMULATION CONTAINING                              N/A            UNDETERMINED
              GELLING AGENT (GRANTED) - APPLICATION
              #13/905,931 (UNITED STATES OF AMERICA)

   60. 584    PHARMACEUTICAL FORMULATION CONTAINING                              N/A            UNDETERMINED
              GELLING AGENT (GRANTED) - APPLICATION
              #13/946,418 (UNITED STATES OF AMERICA)

   60. 585    PHARMACEUTICAL FORMULATION CONTAINING                              N/A            UNDETERMINED
              GELLING AGENT (GRANTED) - APPLICATION
              #14/255,502 (UNITED STATES OF AMERICA)

   60. 586    PHARMACEUTICAL FORMULATION CONTAINING                              N/A            UNDETERMINED
              GELLING AGENT (GRANTED) - APPLICATION
              #14/460,134 (UNITED STATES OF AMERICA)

   60. 587    PHARMACEUTICAL FORMULATION CONTAINING                              N/A            UNDETERMINED
              GELLING AGENT (GRANTED) - APPLICATION
              #14/484,077 (UNITED STATES OF AMERICA)

   60. 588    PHARMACEUTICAL FORMULATION CONTAINING                              N/A            UNDETERMINED
              GELLING AGENT (GRANTED) - APPLICATION
              #14/610,156 (UNITED STATES OF AMERICA)

   60. 589    PHARMACEUTICAL FORMULATION CONTAINING                              N/A            UNDETERMINED
              GELLING AGENT (GRANTED) - APPLICATION
              #14/638,685 (UNITED STATES OF AMERICA)




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   60. 590    PHARMACEUTICAL FORMULATION CONTAINING                             N/A            UNDETERMINED
              GELLING AGENT (GRANTED) - APPLICATION
              #14/658,285 (UNITED STATES OF AMERICA)

   60. 591    PHARMACEUTICAL FORMULATION CONTAINING                             N/A            UNDETERMINED
              GELLING AGENT (GRANTED) - APPLICATION
              #14/851,575 (UNITED STATES OF AMERICA)

   60. 592    PHARMACEUTICAL FORMULATION CONTAINING                             N/A            UNDETERMINED
              GELLING AGENT (GRANTED) - APPLICATION
              #14/851,727 (UNITED STATES OF AMERICA)

   60. 593    PHARMACEUTICAL FORMULATION CONTAINING                             N/A            UNDETERMINED
              GELLING AGENT (GRANTED) - APPLICATION
              #15/013,628 (UNITED STATES OF AMERICA)

   60. 594    PHARMACEUTICAL FORMULATION CONTAINING                             N/A            UNDETERMINED
              GELLING AGENT (GRANTED) - APPLICATION
              #15/015,722 (UNITED STATES OF AMERICA)

   60. 595    PHARMACEUTICAL FORMULATION CONTAINING                             N/A            UNDETERMINED
              GELLING AGENT (GRANTED) - APPLICATION
              #15/015,735 (UNITED STATES OF AMERICA)

   60. 596    PHARMACEUTICAL FORMULATION CONTAINING                             N/A            UNDETERMINED
              GELLING AGENT (GRANTED) - APPLICATION
              #15/015,763 (UNITED STATES OF AMERICA)

   60. 597    PHARMACEUTICAL FORMULATION CONTAINING                             N/A            UNDETERMINED
              GELLING AGENT (GRANTED) - APPLICATION
              #15/015,769 (UNITED STATES OF AMERICA)

   60. 598    PHARMACEUTICAL FORMULATION CONTAINING                             N/A            UNDETERMINED
              GELLING AGENT (GRANTED) - APPLICATION
              #15/019,195 (UNITED STATES OF AMERICA)

   60. 599    PHARMACEUTICAL FORMULATION CONTAINING                             N/A            UNDETERMINED
              GELLING AGENT (GRANTED) - APPLICATION
              #15/019,281 (UNITED STATES OF AMERICA)

   60. 600    PHARMACEUTICAL FORMULATION CONTAINING                             N/A            UNDETERMINED
              GELLING AGENT (GRANTED) - APPLICATION
              #15/019,304 (UNITED STATES OF AMERICA)

   60. 601    PHARMACEUTICAL FORMULATION CONTAINING                             N/A            UNDETERMINED
              GELLING AGENT (GRANTED) - APPLICATION
              #15/284,706 (UNITED STATES OF AMERICA)

   60. 602    PHARMACEUTICAL FORMULATION CONTAINING                             N/A            UNDETERMINED
              GELLING AGENT (GRANTED) - APPLICATION
              #15/284,711 (UNITED STATES OF AMERICA)

   60. 603    PHARMACEUTICAL FORMULATION CONTAINING                             N/A            UNDETERMINED
              GELLING AGENT (GRANTED) - APPLICATION
              #15/345,979 (UNITED STATES OF AMERICA)

   60. 604    PHARMACEUTICAL FORMULATION CONTAINING                             N/A            UNDETERMINED
              GELLING AGENT (GRANTED) - APPLICATION
              #15/354,538 (UNITED STATES OF AMERICA)

   60. 605    PHARMACEUTICAL FORMULATION CONTAINING                             N/A            UNDETERMINED
              GELLING AGENT (GRANTED) - APPLICATION
              #15/702,127 (UNITED STATES OF AMERICA)

   60. 606    PHARMACEUTICAL FORMULATION CONTAINING                             N/A            UNDETERMINED
              GELLING AGENT (GRANTED) - APPLICATION
              #15/803,370 (UNITED STATES OF AMERICA)



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   60. 607    PHARMACEUTICAL FORMULATION CONTAINING                             N/A            UNDETERMINED
              GELLING AGENT (PENDING) - APPLICATION
              #16/229,188 (UNITED STATES OF AMERICA)

   60. 608    PHARMACEUTICAL FORMULATION CONTAINING                             N/A            UNDETERMINED
              GELLING AGENT (PUBLISHED) - APPLICATION
              #14/460,170 (UNITED STATES OF AMERICA)

   60. 609    PHARMACEUTICAL FORMULATION CONTAINING                             N/A            UNDETERMINED
              GELLING AGENT (PUBLISHED) - APPLICATION
              #14/470,631 (UNITED STATES OF AMERICA)

   60. 610    PHARMACEUTICAL FORMULATION CONTAINING                             N/A            UNDETERMINED
              GELLING AGENT (PUBLISHED) - APPLICATION
              #14/611,716 (UNITED STATES OF AMERICA)

   60. 611    PHARMACEUTICAL FORMULATION CONTAINING                             N/A            UNDETERMINED
              GELLING AGENT (PUBLISHED) - APPLICATION
              #14/728,601 (UNITED STATES OF AMERICA)

   60. 612    PHARMACEUTICAL FORMULATION CONTAINING                             N/A            UNDETERMINED
              GELLING AGENT (PUBLISHED) - APPLICATION
              #14/730,002 (UNITED STATES OF AMERICA)

   60. 613    PHARMACEUTICAL FORMULATION CONTAINING                             N/A            UNDETERMINED
              GELLING AGENT (PUBLISHED) - APPLICATION
              #14/730,003 (UNITED STATES OF AMERICA)

   60. 614    PHARMACEUTICAL FORMULATION CONTAINING                             N/A            UNDETERMINED
              GELLING AGENT (PUBLISHED) - APPLICATION
              #14/730,016 (UNITED STATES OF AMERICA)

   60. 615    PHARMACEUTICAL FORMULATION CONTAINING                             N/A            UNDETERMINED
              GELLING AGENT (PUBLISHED) - APPLICATION
              #14/730,017 (UNITED STATES OF AMERICA)

   60. 616    PHARMACEUTICAL FORMULATION CONTAINING                             N/A            UNDETERMINED
              GELLING AGENT (PUBLISHED) - APPLICATION
              #14/730,021 (UNITED STATES OF AMERICA)

   60. 617    PHARMACEUTICAL FORMULATION CONTAINING                             N/A            UNDETERMINED
              GELLING AGENT (PUBLISHED) - APPLICATION
              #14/733,618 (UNITED STATES OF AMERICA)

   60. 618    PHARMACEUTICAL FORMULATION CONTAINING                             N/A            UNDETERMINED
              GELLING AGENT (PUBLISHED) - APPLICATION
              #14/733,639 (UNITED STATES OF AMERICA)

   60. 619    PHARMACEUTICAL FORMULATION CONTAINING                             N/A            UNDETERMINED
              GELLING AGENT (PUBLISHED) - APPLICATION
              #14/733,647 (UNITED STATES OF AMERICA)

   60. 620    PHARMACEUTICAL FORMULATION CONTAINING                             N/A            UNDETERMINED
              GELLING AGENT (PUBLISHED) - APPLICATION
              #14/733,654 (UNITED STATES OF AMERICA)

   60. 621    PHARMACEUTICAL FORMULATION CONTAINING                             N/A            UNDETERMINED
              GELLING AGENT (PUBLISHED) - APPLICATION
              #14/733,659 (UNITED STATES OF AMERICA)

   60. 622    PHARMACEUTICAL FORMULATION CONTAINING                             N/A            UNDETERMINED
              GELLING AGENT (PUBLISHED) - APPLICATION
              #14/846,021 (UNITED STATES OF AMERICA)

   60. 623    PHARMACEUTICAL FORMULATION CONTAINING                             N/A            UNDETERMINED
              GELLING AGENT (PUBLISHED) - APPLICATION
              #14/852,157 (UNITED STATES OF AMERICA)



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   60. 624    PHARMACEUTICAL FORMULATION CONTAINING                                N/A            UNDETERMINED
              GELLING AGENT (PUBLISHED) - APPLICATION
              #14/856,388 (UNITED STATES OF AMERICA)

   60. 625    PHARMACEUTICAL FORMULATION CONTAINING                                N/A            UNDETERMINED
              GELLING AGENT (PUBLISHED) - APPLICATION
              #14/856,392 (UNITED STATES OF AMERICA)

   60. 626    PHARMACEUTICAL FORMULATION CONTAINING                                N/A            UNDETERMINED
              GELLING AGENT (PUBLISHED) - APPLICATION
              #14/856,394 (UNITED STATES OF AMERICA)

   60. 627    PHARMACEUTICAL FORMULATION CONTAINING                                N/A            UNDETERMINED
              GELLING AGENT (PUBLISHED) - APPLICATION
              #15/015,708 (UNITED STATES OF AMERICA)

   60. 628    PHARMACEUTICAL FORMULATION CONTAINING                                N/A            UNDETERMINED
              GELLING AGENT (PUBLISHED) - APPLICATION
              #15/019,222 (UNITED STATES OF AMERICA)

   60. 629    PHARMACEUTICAL FORMULATION CONTAINING                                N/A            UNDETERMINED
              GELLING AGENT (PUBLISHED) - APPLICATION
              #15/019,315 (UNITED STATES OF AMERICA)

   60. 630    PHARMACEUTICAL FORMULATION CONTAINING                                N/A            UNDETERMINED
              GELLING AGENT (PUBLISHED) - APPLICATION
              #15/019,321 (UNITED STATES OF AMERICA)

   60. 631    PHARMACEUTICAL FORMULATION CONTAINING                                N/A            UNDETERMINED
              GELLING AGENT (PUBLISHED) - APPLICATION
              #15/354,473 (UNITED STATES OF AMERICA)

   60. 632    PHARMACEUTICAL FORMULATION CONTAINING                                N/A            UNDETERMINED
              GELLING AGENT (PUBLISHED) - APPLICATION
              #15/637,703 (UNITED STATES OF AMERICA)

   60. 633    PHARMACEUTICAL FORMULATION CONTAINING                                N/A            UNDETERMINED
              GELLING AGENT (PUBLISHED) - APPLICATION
              #15/865,832 (UNITED STATES OF AMERICA)

   60. 634    PHARMACEUTICAL FORMULATION CONTAINING                                N/A            UNDETERMINED
              GELLING AGENT (PUBLISHED) - APPLICATION
              #15/877,917 (UNITED STATES OF AMERICA)

   60. 635    PHARMACEUTICAL FORMULATION CONTAINING                                N/A            UNDETERMINED
              GELLING AGENT (PUBLISHED) - APPLICATION
              #16/121,242 (UNITED STATES OF AMERICA)

   60. 636    PHARMACEUTICAL FORMULATION CONTAINING                                N/A            UNDETERMINED
              GELLING AGENT (PUBLISHED) - APPLICATION
              #16/133,993 (UNITED STATES OF AMERICA)

   60. 637    PHARMACEUTICAL FORMULATION CONTAINING                                N/A            UNDETERMINED
              GELLING AGENT (PUBLISHED) - APPLICATION
              #16/163,076 (UNITED STATES OF AMERICA)

   60. 638    PHARMACEUTICAL FORMULATION CONTAINING                                N/A            UNDETERMINED
              IRRITANT (GRANTED) - APPLICATION #10/214,410
              (PHARMACEUTICAL FORMULATION CONTAINING
              IRRITANT)

   60. 639    PHARMACEUTICAL FORMULATION CONTAINING                                N/A            UNDETERMINED
              IRRITANT (GRANTED) - APPLICATION #11/525,395
              (PHARMACEUTICAL FORMULATION CONTAINING
              IRRITANT)




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   60. 640    PHARMACEUTICAL FORMULATION CONTAINING                                N/A            UNDETERMINED
              IRRITANT (GRANTED) - APPLICATION #12/763,898
              (PHARMACEUTICAL FORMULATION CONTAINING
              IRRITANT)

   60. 641    PHARMACEUTICAL FORMULATION CONTAINING                                N/A            UNDETERMINED
              IRRITANT (GRANTED) - APPLICATION #14/148,909
              (PHARMACEUTICAL FORMULATION CONTAINING
              IRRITANT)

   60. 642    PHARMACEUTICAL FORMULATION CONTAINING                                N/A            UNDETERMINED
              IRRITANT (GRANTED) - APPLICATION #14/842,406
              (PHARMACEUTICAL FORMULATION CONTAINING
              IRRITANT)

   60. 643    PHARMACEUTICAL FORMULATION CONTAINING                                N/A            UNDETERMINED
              IRRITANT (GRANTED) - APPLICATION #15/449,213
              (PHARMACEUTICAL FORMULATION CONTAINING
              IRRITANT)

   60. 644    PHARMACEUTICAL FORMULATION CONTAINING                                N/A            UNDETERMINED
              IRRITANT (PUBLISHED) - APPLICATION
              #16/158,416 (PHARMACEUTICAL FORMULATION
              CONTAINING IRRITANT)

   60. 645    PHARMACEUTICAL FORMULATION CONTAINING                                N/A            UNDETERMINED
              OPIOID AGONIST, OPIOID ANTAGONIST AND
              BITTERING AGENT (GRANTED) - APPLICATION
              #10/213,921 (PHARMACEUTICAL FORMULATION
              CONTAINING OPIOID AGONIST, OPIOID
              ANTAGONIST AND BITTERING AGENT)

   60. 646    PHARMACEUTICAL FORMULATION CONTAINING                                N/A            UNDETERMINED
              OPIOID AGONIST, OPIOID ANTAGONIST AND
              GELLING AGENT (GRANTED) - APPLICATION
              #13/956,467 (PHARMACEUTICAL FORMULATION
              CONTAINING OPIOID AGONIST, OPIOID
              ANTAGONIST AND GELLING AGENT)

   60. 647    PHARMACEUTICAL FORMULATION CONTAINING                                N/A            UNDETERMINED
              OPIOID AGONIST, OPIOID ANTAGONIST AND
              GELLING AGENT (GRANTED) - APPLICATION
              #14/793,174 (PHARMACEUTICAL FORMULATION
              CONTAINING OPIOID AGONIST, OPIOID
              ANTAGONIST AND GELLING AGENT)

   60. 648    PHARMACEUTICAL FORMULATION CONTAINING                                N/A            UNDETERMINED
              OPIOID AGONIST, OPIOID ANTAGONIST AND
              GELLING AGENT (GRANTED) - APPLICATION
              #15/384,229 (PHARMACEUTICAL FORMULATION
              CONTAINING OPIOID AGONIST, OPIOID
              ANTAGONIST AND GELLING AGENT)

   60. 649    PHARMACEUTICAL FORMULATION CONTAINING                                N/A            UNDETERMINED
              OPIOID AGONIST, OPIOID ANTAGONIST AND
              GELLING AGENT (PUBLISHED) - APPLICATION
              #14/470,662 (UNITED STATES OF AMERICA)

   60. 650    PHARMACEUTICAL FORMULATION CONTAINING                                N/A            UNDETERMINED
              OPIOID AGONIST, OPIOID ANTAGONIST AND
              IRRITANT (GRANTED) - APPLICATION #10/214,409
              (PHARMACEUTICAL FORMULATION CONTAINING
              OPIOID AGONIST, OPIOID ANTAGONIST AND
              IRRITANT)




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   60. 651    PHARMACEUTICAL FORMULATION CONTAINING                              N/A            UNDETERMINED
              OPIOID AGONIST, OPIOID ANTAGONIST AND
              IRRITANT AGENT (GRANTED) - APPLICATION
              #11/525,268 (PHARMACEUTICAL FORMULATION
              CONTAINING OPIOID AGONIST, OPIOID
              ANTAGONIST AND IRRITANT AGENT)

   60. 652    PHARMACEUTICAL FORMULATION CONTAINING                              N/A            UNDETERMINED
              OPIOID AGONIST, OPIOID ANTAGONIST AND
              IRRITANT AGENT (GRANTED) - APPLICATION
              #14/139,304 (PHARMACEUTICAL FORMULATION
              CONTAINING OPIOID AGONIST, OPIOID
              ANTAGONIST AND IRRITANT AGENT)

   60. 653    PHARMACEUTICAL FORMULATION CONTAINING                              N/A            UNDETERMINED
              OPIOID AGONIST, OPIOID ANTAGONIST AND
              IRRITANT AGENT (GRANTED) - APPLICATION
              #15/074,052 (PHARMACEUTICAL FORMULATION
              CONTAINING OPIOID AGONIST, OPIOID
              ANTAGONIST AND IRRITANT AGENT)

   60. 654    PHARMACEUTICAL FORMULATION CONTAINING                              N/A            UNDETERMINED
              OPIOID AGONIST, OPIOID ANTAGONIST AND
              IRRITANT AGENT (GRANTED) - APPLICATION
              #15/645,443 (PHARMACEUTICAL FORMULATION
              CONTAINING OPIOID AGONIST, OPIOID
              ANTAGONIST AND IRRITANT AGENT)

   60. 655    PHARMACEUTICAL FORMULATION CONTAINING                              N/A            UNDETERMINED
              OPIOID AGONIST,OPIOID ANTAGONIST AND
              GELLING AGENT (GRANTED) - APPLICATION
              #10/214,413 (PHARMACEUTICAL FORMULATION
              CONTAINING OPIOID AGONIST,OPIOID
              ANTAGONIST AND GELLING AGENT)

   60. 656    PHARMACEUTICAL FORMULATIONS CONTAINING                             N/A            UNDETERMINED
              OPIOID AGONIST, OPIOID ANTAGONIST AND
              GELLING AGENT (GRANTED) - APPLICATION
              #12/909,527 (PHARMACEUTICAL FORMULATIONS
              CONTAINING OPIOID AGONIST, OPIOID
              ANTAGONIST AND GELLING AGENT)

   60. 657    PHARMACEUTICAL IDENTIFICATION (GRANTED) -                          N/A            UNDETERMINED
              APPLICATION #10/698,981 (PHARMACEUTICAL
              IDENTIFICATION)

   60. 658    PHARMACEUTICAL IDENTIFICATION (GRANTED) -                          N/A            UNDETERMINED
              APPLICATION #12/881,889 (PHARMACEUTICAL
              IDENTIFICATION)

   60. 659    PHARMACEUTICAL PREPARATION CONTAINING                              N/A            UNDETERMINED
              OXYCODONE AND NALOXONE (ALLOWED) -
              APPLICATION #15/881,459

   60. 660    PHARMACEUTICAL PREPARATION CONTAINING                              N/A            UNDETERMINED
              OXYCODONE AND NALOXONE (GRANTED) -
              APPLICATION #14/305,785

   60. 661    PHARMACEUTICAL PREPARATION CONTAINING                              N/A            UNDETERMINED
              OXYCODONE AND NALOXONE (GRANTED) -
              APPLICATION #15/399,487

   60. 662    PHARMACEUTICAL PRODUCT COMPRISING A                                N/A            UNDETERMINED
              SEQUESTERED AGENT (GRANTED) -
              APPLICATION #10/827,623 (PHARMACEUTICAL
              PRODUCT COMPRISING A SEQUESTERED
              AGENT)


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   60. 663    PHARMACEUTICAL PRODUCTS (GRANTED) -                                 N/A            UNDETERMINED
              APPLICATION #14/838,458 (PHARMACEUTICAL
              PRODUCTS)

   60. 664    PHARMACEUTICAL REPRESENTATIVE EXPENSE                               N/A            UNDETERMINED
              REPORT MANAGEMENT SOFTWARE, SYSTEMS,
              AND METHODOLOGIES (GRANTED) -
              APPLICATION #11/925,491 (PHARMACEUTICAL
              REPRESENTATIVE EXPENSE REPORT
              MANAGEMENT SOFTWARE, SYSTEMS, AND
              METHODOLOGIES)

   60. 665    PHENYLPROPIONAMIDE COMPOUNDS AND THE                                N/A            UNDETERMINED
              USE THEREOF (GRANTED) - APPLICATION
              #12/447,758 (PHENYLPROPIONAMIDE
              COMPOUNDS AND THE USE THEREOF)

   60. 666    PHOSPHORUS-SUBSTITUTED QUINOXALINE-                                 N/A            UNDETERMINED
              TYPE PIPERIDINE COMPOUNDS AND USES
              THEREOF (GRANTED) - APPLICATION #13/996,440
              (PHOSPHORUS-SUBSTITUTED QUINOXALINE-
              TYPE PIPERIDINE COMPOUNDS AND USES
              THEREOF)

   60. 667    PHOSPHORUS-SUBSTITUTED QUINOXALINE-                                 N/A            UNDETERMINED
              TYPE PIPERIDINE COMPOUNDS AND USES
              THEREOF (PUBLISHED) - APPLICATION
              #PCT/IB2011/003132 (PHOSPHORUS-
              SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND USES THEREOF)

   60. 668    PIPERIDINE COMPOUNDS AND                                            N/A            UNDETERMINED
              PHARMACEUTICAL COMPOSITIONS CONTAINING
              THEM (PUBLISHED) - APPLICATION
              #PCT/US04/023912 (PIPERIDINE COMPOUNDS
              AND PHARMACEUTICAL COMPOSITIONS
              CONTAINING THEM)

   60. 669    PIPERIDINYL COMPOUNDS AND THEIR USE                                 N/A            UNDETERMINED
              (PUBLISHED) - APPLICATION #PCT/EP07/053053
              (PIPERIDINYL COMPOUNDS AND THEIR USE)

   60. 670    POLYMORPHIC FORMS OF A SUBSTITUTED-                                 N/A            UNDETERMINED
              QUINOXALINE-TYPE BRIDGED-PIPERIDINE
              COMPOUND
              (APPLICATION) - APPLICATION #62/799,710

   60. 671    PRESCRIPTION PRODUCT TRACKING THROUGH                               N/A            UNDETERMINED
              AUTOMATED ADVERSE EVENT PROCESSING
              AND REPORTING (APPLICATION) - APPLICATION
              #15/130,622

   60. 672    PRIVILEGED COMMUNICATION SYSTEM WITH                                N/A            UNDETERMINED
              ROUTING CONTROLS (GRANTED) - APPLICATION
              #09/825,431 (PRIVILEGED COMMUNICATION
              SYSTEM WITH ROUTING CONTROLS)

   60. 673    PRIVILEGED E-MAIL SYSTEM WITH ROUTING                               N/A            UNDETERMINED
              CONTROLS (PUBLISHED) - APPLICATION
              #PCT/US02/10643 (PRIVILEGED E-MAIL SYSTEM
              WITH ROUTING CONTROLS)

   60. 674    PROCESS FOR IMPROVED OPIOID SYNTHESIS                               N/A            UNDETERMINED
              (GRANTED) - APPLICATION #MX/A/2015/000880
              (PROCESS FOR IMPROVED OPIOID SYNTHESIS)




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   60. 675    PROCESS FOR PREPARING OXYCODONE                                     N/A            UNDETERMINED
              COMPOSITIONS (GRANTED) - APPLICATION
              #15/058,420 (UNITED STATES OF AMERICA)

   60. 676    PROCESS FOR PREPARING OXYCODONE                                     N/A            UNDETERMINED
              COMPOSITIONS (GRANTED) - APPLICATION
              #15/721,167 (UNITED STATES OF AMERICA)

   60. 677    PROCESS FOR PREPARING OXYCODONE                                     N/A            UNDETERMINED
              COMPOSITIONS (PUBLISHED) - APPLICATION
              #16/262,683 (UNITED STATES OF AMERICA)

   60. 678    PROCESS FOR PREPARING OXYCODONE                                     N/A            UNDETERMINED
              HYDROCHLORIDE HAVING LESS THAN 25 PPM 14-
              HYDROXYCODEINONE (GRANTED) -
              APPLICATION #11/093,626 (UNITED STATES OF
              AMERICA)

   60. 679    PROCESS FOR PREPARING SUBSTITUTED 9,10-                             N/A            UNDETERMINED
              DIOXO-9,10-DIHYDROANTHRECENES AND 6H-
              ANTHRA[1,9-CD]ISOXAZOL-6-ONES (ALLOWED) -
              APPLICATION #16/085,829

   60. 680    PROCESS FOR PREPARING SUBSTITUTED 9,10-                             N/A            UNDETERMINED
              DIOXO-9,10-DIHYDROANTHRECENES AND 6H-
              ANTHRA[1,9-CD]ISOXAZOL-6-ONES
              (PUBLISHED) - APPLICATION #PCT/US2017/022904

   60. 681    PROCESS OF MAKING 3A-HYDROXY-3B-                                    N/A            UNDETERMINED
              ALKOXYMETHLY-SUBSTITUTED STEROIDS,
              NOVEL STEROID DERIVATIVES AND THE USE
              THEREOF (PUBLISHED) - APPLICATION
              #PCT/US05/014028 (PROCESS OF MAKING 3A-
              HYDROXY-3B-ALKOXYMETHLY-SUBSTITUTED
              STEROIDS, NOVEL STEROID DERIVATIVES AND T

   60. 682    PRODUCTION OF TRANSDERMAL THERAPEUTIC                               N/A            UNDETERMINED
              SYSTEMS (GRANTED) - APPLICATION #08/403,754
              (UNITED STATES OF AMERICA)

   60. 683    PROLINE ANALOGS AS LIGANDS FOR                                      N/A            UNDETERMINED
              CANNABINOID RECEPTORS (APPLICATION) -
              APPLICATION #2012014056 (PROLINE ANALOGS
              AS LIGANDS FOR CANNABINOID RECEPTORS)

   60. 684    PROLINE ANALOGS AS LIGANDS FOR                                      N/A            UNDETERMINED
              CANNABINOID RECEPTORS (GRANTED) -
              APPLICATION #09 701185.2 (PROLINE ANALOGS
              AS LIGANDS FOR CANNABINOID RECEPTORS)

   60. 685    PROLINE ANALOGS AS LIGANDS FOR                                      N/A            UNDETERMINED
              CANNABINOID RECEPTORS (GRANTED) -
              APPLICATION #11100388.7 (PROLINE ANALOGS
              AS LIGANDS FOR CANNABINOID RECEPTORS)

   60. 686    PROLINE ANALOGS AS LIGANDS FOR                                      N/A            UNDETERMINED
              CANNABINOID RECEPTORS (GRANTED) -
              APPLICATION #12/350,450 (PROLINE ANALOGS
              AS LIGANDS FOR CANNABINOID RECEPTORS)

   60. 687    PROLINE ANALOGS AS LIGANDS FOR                                      N/A            UNDETERMINED
              CANNABINOID RECEPTORS (GRANTED) -
              APPLICATION #2,794,054 (PROLINE ANALOGS AS
              LIGANDS FOR CANNABINOID RECEPTORS)




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   60. 688    PROLINE ANALOGS AS LIGANDS FOR                                       N/A            UNDETERMINED
              CANNABINOID RECEPTORS (GRANTED) -
              APPLICATION #60 2009 020 207.3 (PROLINE
              ANALOGS AS LIGANDS FOR CANNABINOID
              RECEPTORS)

   60. 689    PROLINE ANALOGS AS LIGANDS FOR                                       N/A            UNDETERMINED
              CANNABINOID RECEPTORS (GRANTED) -
              APPLICATION #97011852 (PROLINE ANALOGS AS
              LIGANDS FOR CANNABINOID RECEPTORS)

   60. 690    PROLINE ANALOGS AS LIGANDS FOR                                       N/A            UNDETERMINED
              CANNABINOID RECEPTORS (PUBLISHED) -
              APPLICATION #PCT/IB09/000023 (PROLINE
              ANALOGS AS LIGANDS FOR CANNABINOID
              RECEPTORS)

   60. 691    PROLINE ANALOGS AS LIGANDS FOR                                       N/A            UNDETERMINED
              CANNABINOID RECEPTORS FOR THE
              TREATMENT OF PAIN (GRANTED) - APPLICATION
              #MX/A/2010/007622 (PROLINE ANALOGS AS
              LIGANDS FOR CANNABINOID RECEPTORS FOR
              THE TREATMENT OF PAIN)

   60. 692    PROPELLANE-BASED COMPOUNDS AND THE                                   N/A            UNDETERMINED
              USE THEREOF (GRANTED) - APPLICATION
              #14/581,132 (PROPELLANE-BASED COMPOUNDS
              AND THE USE THEREOF)

   60. 693    PROPELLANE-BASED COMPOUNDS AND THE                                   N/A            UNDETERMINED
              USE THEREOF (PUBLISHED) - APPLICATION
              #PCT/IB2014/002885 (PROPELLANE-BASED
              COMPOUNDS AND THE USE THEREOF)

   60. 694    PROTECTION FOR CISPLATIN-INDUCED                                     N/A            UNDETERMINED
              HEARING LOSS VIA LOCAL GENE SILENCING (TO
              BE FILED) - APPLICATION #

   60. 695    PYRIDINE AND PIPERIDINE DERIVATIVES AS                               N/A            UNDETERMINED
              NOVEL SODIUM CHANNEL BLOCKERS
              (GRANTED) - APPLICATION #14/478,314
              (PYRIDINE AND PIPERIDINE DERIVATIVES AS
              NOVEL SODIUM CHANNEL BLOCKERS)

   60. 696    PYRIDINE COMPOUNDS AND THE USES                                      N/A            UNDETERMINED
              THEREOF (ALLOWED) - APPLICATION
              #11776851.5 (PYRIDINE COMPOUNDS AND THE
              USES THEREOF)

   60. 697    PYRIDINE COMPOUNDS AND THE USES                                      N/A            UNDETERMINED
              THEREOF (GRANTED) - APPLICATION #13/821,732
              (PYRIDINE COMPOUNDS AND THE USES
              THEREOF)

   60. 698    PYRIDINE COMPOUNDS AND THE USES                                      N/A            UNDETERMINED
              THEREOF (GRANTED) - APPLICATION #14/724,494
              (PYRIDINE COMPOUNDS AND THE USES
              THEREOF)

   60. 699    PYRIDINE COMPOUNDS AND THE USES                                      N/A            UNDETERMINED
              THEREOF (PUBLISHED) - APPLICATION
              #PCT/IB2011/002172 (PYRIDINE COMPOUNDS
              AND THE USES THEREOF)

   60. 700    PYRIDINE COMPOUNDS AS SODIUM CHANNEL                                 N/A            UNDETERMINED
              BLOCKERS (GRANTED) - APPLICATION
              #13/810,089 (PYRIDINE COMPOUNDS AS SODIUM
              CHANNEL BLOCKERS)

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   60. 701    PYRIDINE COMPOUNDS AS SODIUM CHANNEL                                N/A            UNDETERMINED
              BLOCKERS (GRANTED) - APPLICATION
              #14/824,319 (PYRIDINE COMPOUNDS AS SODIUM
              CHANNEL BLOCKERS)

   60. 702    PYRIDINE COMPOUNDS AS SODIUM CHANNEL                                N/A            UNDETERMINED
              BLOCKERS (PUBLISHED) - APPLICATION
              #PCT/IB2011/001705 (PYRIDINE COMPOUNDS AS
              SODIUM CHANNEL BLOCKERS)

   60. 703    PYRIDINES AND PYRIMIDINES AND USE                                   N/A            UNDETERMINED
              THEREOF (GRANTED) - APPLICATION #15/113,493
              (PYRIDINES AND PYRIMIDINES AND USE
              THEREOF)

   60. 704    PYRIDINES AND PYRIMIDINES AND USE                                   N/A            UNDETERMINED
              THEREOF (GRANTED) - APPLICATION #2016-
              548133 (PYRIDINES AND PYRIMIDINES AND USE
              THEREOF)

   60. 705    PYRIDINES AND PYRIMIDINES AND USE                                   N/A            UNDETERMINED
              THEREOF (PUBLISHED) - APPLICATION
              #15739774.6 (PYRIDINES AND PYRIMIDINES AND
              USE THEREOF)

   60. 706    PYRIDONEMORPHINAN ANALOGS AND                                       N/A            UNDETERMINED
              BIOLOGICAL ACTIVITY ON OPIOID RECEPTORS
              (GRANTED) - APPLICATION #14/105,733
              (PYRIDONEMORPHINAN ANALOGS AND
              BIOLOGICAL ACTIVITY ON OPIOID RECEPTORS)

   60. 707    PYRIDONEMORPHINAN ANALOGS AND                                       N/A            UNDETERMINED
              BIOLOGICAL ACTIVITY ON OPIOID RECEPTORS
              (GRANTED) - APPLICATION #14/607,805
              (PYRIDONEMORPHINAN ANALOGS AND
              BIOLOGICAL ACTIVITY ON OPIOID RECEPTORS)

   60. 708    PYRIDONE-SULFONE MORPHINAN ANALOGS AS                               N/A            UNDETERMINED
              OPIOID RECEPTOR LIGANDS (GRANTED) -
              APPLICATION #15/109,161 (PYRIDONE-SULFONE
              MORPHINAN ANALOGS AS OPIOID RECEPTOR
              LIGANDS)

   60. 709    PYRIMIDINE CARBOXAMIDES AS SODIUM                                   N/A            UNDETERMINED
              CHANNEL BLOCKERS (ALLOWED) - APPLICATION
              #2017203017 (PYRIMIDINE CARBOXAMIDES AS
              SODIUM CHANNEL BLOCKERS)

   60. 710    PYRIMIDINE CARBOXAMIDES AS SODIUM                                   N/A            UNDETERMINED
              CHANNEL BLOCKERS (APPLICATION) -
              APPLICATION #2,941,171 (PYRIMIDINE
              CARBOXAMIDES AS SODIUM CHANNEL
              BLOCKERS)

   60. 711    PYRIMIDINE CARBOXAMIDES AS SODIUM                                   N/A            UNDETERMINED
              CHANNEL BLOCKERS (GRANTED) - APPLICATION
              #14 710 633.0 (PYRIMIDINE CARBOXAMIDES AS
              SODIUM CHANNEL BLOCKERS)

   60. 712    PYRIMIDINE CARBOXAMIDES AS SODIUM                                   N/A            UNDETERMINED
              CHANNEL BLOCKERS (GRANTED) - APPLICATION
              #14/771,212 (PYRIMIDINE CARBOXAMIDES AS
              SODIUM CHANNEL BLOCKERS)

   60. 713    PYRIMIDINE CARBOXAMIDES AS SODIUM                                   N/A            UNDETERMINED
              CHANNEL BLOCKERS (GRANTED) - APPLICATION
              #14710633.0 (PYRIMIDINE CARBOXAMIDES AS
              SODIUM CHANNEL BLOCKERS)

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   60. 714    PYRIMIDINE CARBOXAMIDES AS SODIUM                                   N/A            UNDETERMINED
              CHANNEL BLOCKERS (GRANTED) - APPLICATION
              #15/481,150 (PYRIMIDINE CARBOXAMIDES AS
              SODIUM CHANNEL BLOCKERS)

   60. 715    PYRIMIDINE CARBOXAMIDES AS SODIUM                                   N/A            UNDETERMINED
              CHANNEL BLOCKERS (GRANTED) - APPLICATION
              #2014224310 (PYRIMIDINE CARBOXAMIDES AS
              SODIUM CHANNEL BLOCKERS)

   60. 716    PYRIMIDINE CARBOXAMIDES AS SODIUM                                   N/A            UNDETERMINED
              CHANNEL BLOCKERS (GRANTED) - APPLICATION
              #2015-560796 (PYRIMIDINE CARBOXAMIDES AS
              SODIUM CHANNEL BLOCKERS)

   60. 717    PYRIMIDINE CARBOXAMIDES AS SODIUM                                   N/A            UNDETERMINED
              CHANNEL BLOCKERS (GRANTED) - APPLICATION
              #2017-045202 (PYRIMIDINE CARBOXAMIDES AS
              SODIUM CHANNEL BLOCKERS)

   60. 718    PYRIMIDINE CARBOXAMIDES AS SODIUM                                   N/A            UNDETERMINED
              CHANNEL BLOCKERS (GRANTED) - APPLICATION
              #502018000020874 (PYRIMIDINE CARBOXAMIDES
              AS SODIUM CHANNEL BLOCKERS)

   60. 719    PYRIMIDINE CARBOXAMIDES AS SODIUM                                   N/A            UNDETERMINED
              CHANNEL BLOCKERS (GRANTED) - APPLICATION
              #602014024817.9 (PYRIMIDINE CARBOXAMIDES
              AS SODIUM CHANNEL BLOCKERS)

   60. 720    PYRIMIDINE CARBOXAMIDES AS SODIUM                                   N/A            UNDETERMINED
              CHANNEL BLOCKERS (PUBLISHED) -
              APPLICATION #17192425.1 (PYRIMIDINE
              CARBOXAMIDES AS SODIUM CHANNEL
              BLOCKERS)

   60. 721    PYRIMIDINE CARBOXAMIDES AS SODIUM                                   N/A            UNDETERMINED
              CHANNEL BLOCKERS (PUBLISHED) -
              APPLICATION #PCT/IB2014/000254 (PYRIMIDINE
              CARBOXAMIDES AS SODIUM CHANNEL
              BLOCKERS)

   60. 722    PYRIMIDINE DIOL AMIDES AS SODIUM CHANNEL                            N/A            UNDETERMINED
              BLOCKERS (GRANTED) - APPLICATION
              #14/358,155 (PYRIMIDINE DIOL AMIDES AS
              SODIUM CHANNEL BLOCKERS)

   60. 723    PYRIMIDINE DIOL AMIDES AS SODIUM CHANNEL                            N/A            UNDETERMINED
              BLOCKERS (GRANTED) - APPLICATION
              #14/817,984 (PYRIMIDINE DIOL AMIDES AS
              SODIUM CHANNEL BLOCKERS)

   60. 724    PYRIMIDINE DIOL AMIDES AS SODIUM CHANNEL                            N/A            UNDETERMINED
              BLOCKERS (GRANTED) - APPLICATION
              #2012327195 (PYRIMIDINE DIOL AMIDES AS
              SODIUM CHANNEL BLOCKERS)

   60. 725    PYRIMIDINE DIOL AMIDES AS SODIUM CHANNEL                            N/A            UNDETERMINED
              BLOCKERS (PUBLISHED) - APPLICATION
              #PCT/IB2012/002504 (PYRIMIDINE DIOL AMIDES
              AS SODIUM CHANNEL BLOCKERS)

   60. 726    PYRIMIDINES AND USE THEREOF (GRANTED) -                             N/A            UNDETERMINED
              APPLICATION #15/105,812 (PYRIMIDINES AND
              USE THEREOF)




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   60. 727    PYRIMIDINES AND USE THEREOF (PUBLISHED) -                           N/A            UNDETERMINED
              APPLICATION #14 871 724.2 (PYRIMIDINES AND
              USE THEREOF)

   60. 728    PYRIMIDINES AS SODIUM CHANNEL BLOCKERS                              N/A            UNDETERMINED
              (GRANTED) - APPLICATION #12770217.3
              (PYRIMIDINES AS SODIUM CHANNEL BLOCKERS)

   60. 729    PYRIMIDINES AS SODIUM CHANNEL BLOCKERS                              N/A            UNDETERMINED
              (GRANTED) - APPLICATION #14/342,054
              (PYRIMIDINES AS SODIUM CHANNEL BLOCKERS)

   60. 730    PYRIMIDINES AS SODIUM CHANNEL BLOCKERS                              N/A            UNDETERMINED
              (GRANTED) - APPLICATION #14/862,396
              (PYRIMIDINES AS SODIUM CHANNEL BLOCKERS)

   60. 731    PYRIMIDINES AS SODIUM CHANNEL BLOCKERS                              N/A            UNDETERMINED
              (GRANTED) - APPLICATION #15/586,963
              (PYRIMIDINES AS SODIUM CHANNEL BLOCKERS)

   60. 732    PYRIMIDINES AS SODIUM CHANNEL BLOCKERS                              N/A            UNDETERMINED
              (GRANTED) - APPLICATION #17982 (PYRIMIDINES
              AS SODIUM CHANNEL BLOCKERS)

   60. 733    PYRIMIDINES AS SODIUM CHANNEL BLOCKERS                              N/A            UNDETERMINED
              (GRANTED) - APPLICATION #2 643 235
              (PYRIMIDINES AS SODIUM CHANNEL BLOCKERS)

   60. 734    PYRIMIDINES AS SODIUM CHANNEL BLOCKERS                              N/A            UNDETERMINED
              (GRANTED) - APPLICATION #2,846,463
              (PYRIMIDINES AS SODIUM CHANNEL BLOCKERS)

   60. 735    PYRIMIDINES AS SODIUM CHANNEL BLOCKERS                              N/A            UNDETERMINED
              (GRANTED) - APPLICATION #2012300567
              (PYRIMIDINES AS SODIUM CHANNEL BLOCKERS)

   60. 736    PYRIMIDINES AS SODIUM CHANNEL BLOCKERS                              N/A            UNDETERMINED
              (GRANTED) - APPLICATION #2014-527753
              (PYRIMIDINES AS SODIUM CHANNEL BLOCKERS)

   60. 737    PYRIMIDINES AS SODIUM CHANNEL BLOCKERS                              N/A            UNDETERMINED
              (GRANTED) - APPLICATION #2016-100979
              (PYRIMIDINES AS SODIUM CHANNEL BLOCKERS)

   60. 738    PYRIMIDINES AS SODIUM CHANNEL BLOCKERS                              N/A            UNDETERMINED
              (GRANTED) - APPLICATION #2017/13351
              (PYRIMIDINES AS SODIUM CHANNEL BLOCKERS)

   60. 739    PYRIMIDINES AS SODIUM CHANNEL BLOCKERS                              N/A            UNDETERMINED
              (GRANTED) - APPLICATION #3093884
              (PYRIMIDINES AS SODIUM CHANNEL BLOCKERS)

   60. 740    PYRIMIDINES AS SODIUM CHANNEL BLOCKERS                              N/A            UNDETERMINED
              (GRANTED) - APPLICATION #502017000109715
              (PYRIMIDINES AS SODIUM CHANNEL BLOCKERS)

   60. 741    PYRIMIDINES AS SODIUM CHANNEL BLOCKERS                              N/A            UNDETERMINED
              (GRANTED) - APPLICATION #602012 034 211.0
              (PYRIMIDINES AS SODIUM CHANNEL BLOCKERS)

   60. 742    PYRIMIDINES AS SODIUM CHANNEL BLOCKERS                              N/A            UNDETERMINED
              (GRANTED) - APPLICATION #AL-P-2017-00498
              (PYRIMIDINES AS SODIUM CHANNEL BLOCKERS)

   60. 743    PYRIMIDINES AS SODIUM CHANNEL BLOCKERS                              N/A            UNDETERMINED
              (GRANTED) - APPLICATION #CY1119327
              (PYRIMIDINES AS SODIUM CHANNEL BLOCKERS)



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   60. 744    PYRIMIDINES AS SODIUM CHANNEL BLOCKERS                               N/A            UNDETERMINED
              (GRANTED) - APPLICATION #E 25277
              (PYRIMIDINES AS SODIUM CHANNEL BLOCKERS)

   60. 745    PYRIMIDINES AS SODIUM CHANNEL BLOCKERS                               N/A            UNDETERMINED
              (GRANTED) - APPLICATION #E 906512
              (PYRIMIDINES AS SODIUM CHANNEL BLOCKERS)

   60. 746    PYRIMIDINES AS SODIUM CHANNEL BLOCKERS                               N/A            UNDETERMINED
              (GRANTED) - APPLICATION #E014275
              (PYRIMIDINES AS SODIUM CHANNEL BLOCKERS)

   60. 747    PYRIMIDINES AS SODIUM CHANNEL BLOCKERS                               N/A            UNDETERMINED
              (GRANTED) - APPLICATION #E02508
              (PYRIMIDINES AS SODIUM CHANNEL BLOCKERS)

   60. 748    PYRIMIDINES AS SODIUM CHANNEL BLOCKERS                               N/A            UNDETERMINED
              (GRANTED) - APPLICATION #E034925
              (PYRIMIDINES AS SODIUM CHANNEL BLOCKERS)

   60. 749    PYRIMIDINES AS SODIUM CHANNEL BLOCKERS                               N/A            UNDETERMINED
              (GRANTED) - APPLICATION #P-2017/687
              (PYRIMIDINES AS SODIUM CHANNEL BLOCKERS)

   60. 750    PYRIMIDINES AS SODIUM CHANNEL BLOCKERS                               N/A            UNDETERMINED
              (GRANTED) - APPLICATION #P20171389A
              (PYRIMIDINES AS SODIUM CHANNEL BLOCKERS)

   60. 751    PYRIMIDINES AS SODIUM CHANNEL BLOCKERS                               N/A            UNDETERMINED
              (GRANTED) - APPLICATION #P-219/2017
              (PYRIMIDINES AS SODIUM CHANNEL BLOCKERS)

   60. 752    PYRIMIDINES AS SODIUM CHANNEL BLOCKERS                               N/A            UNDETERMINED
              (GRANTED) - APPLICATION #P-917/2017
              (PYRIMIDINES AS SODIUM CHANNEL BLOCKERS)

   60. 753    PYRIMIDINES AS SODIUM CHANNEL BLOCKERS                               N/A            UNDETERMINED
              (GRANTED) - APPLICATION #SM-T-201700440
              (PYRIMIDINES AS SODIUM CHANNEL BLOCKERS)

   60. 754    PYRIMIDINES AS SODIUM CHANNEL BLOCKERS                               N/A            UNDETERMINED
              (PUBLISHED) - APPLICATION #15/996,053
              (PYRIMIDINES AS SODIUM CHANNEL BLOCKERS)

   60. 755    PYRIMIDINES AS SODIUM CHANNEL BLOCKERS                               N/A            UNDETERMINED
              (PUBLISHED) - APPLICATION #17179551.1
              (PYRIMIDINES AS SODIUM CHANNEL BLOCKERS)

   60. 756    PYRIMIDINES AS SODIUM CHANNEL BLOCKERS                               N/A            UNDETERMINED
              (PUBLISHED) - APPLICATION #PCT/IB2012/001871
              (PYRIMIDINES AS SODIUM CHANNEL BLOCKERS)

   60. 757    PYRIMIDINES AS SODIUM CHANNEL BLOCKERS                               N/A            UNDETERMINED
              (TO BE FILED) - APPLICATION # (PYRIMIDINES AS
              SODIUM CHANNEL BLOCKERS)

   60. 758    QUARTERNIZED BUPRENORPHINE ANALOGS                                   N/A            UNDETERMINED
              (GRANTED) - APPLICATION #14/363,386
              (QUARTERNIZED BUPRENORPHINE ANALOGS)

   60. 759    QUARTERNIZED BUPRENORPHINE ANALOGS                                   N/A            UNDETERMINED
              (PUBLISHED) - APPLICATION #PCT/IB2012/002695
              (QUARTERNIZED BUPRENORPHINE ANALOGS)

   60. 760    QUATERNIZED AMINES AS SODIUM CHANNEL                                 N/A            UNDETERMINED
              BLOCKERS (GRANTED) - APPLICATION
              #14/355,492 (QUATERNIZED AMINES AS SODIUM
              CHANNEL BLOCKERS)


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   60. 761    QUATERNIZED AMINES AS SODIUM CHANNEL                                 N/A            UNDETERMINED
              BLOCKERS (PUBLISHED) - APPLICATION
              #PCT/IB2012/002197 (QUATERNIZED AMINES AS
              SODIUM CHANNEL BLOCKERS)

   60. 762    QUINAZOLIN-4(3H)-ONE-TYPE PIPERIDINE                                 N/A            UNDETERMINED
              COMPOUNDS AND USES THEREOF (GRANTED) -
              APPLICATION #14/758,138 (QUINAZOLIN-4(3H)-
              ONE-TYPE PIPERIDINE COMPOUNDS AND USES
              THEREOF)

   60. 763    QUINAZOLIN-4(3H)-ONE-TYPE PIPERIDINE                                 N/A            UNDETERMINED
              COMPOUNDS AND USES THEREOF
              (PUBLISHED) - APPLICATION #PCT/IB2013/002874
              (QUINAZOLIN-4(3H)-ONE-TYPE PIPERIDINE
              COMPOUNDS AND USES THEREOF)

   60. 764    QUINAZOLINE COMPOUNDS AS SODIUM                                      N/A            UNDETERMINED
              CHANNEL BLOCKERS (GRANTED) - APPLICATION
              #117847665 (QUINAZOLINE COMPOUNDS AS
              SODIUM CHANNEL BLOCKERS)

   60. 765    QUINAZOLINE COMPOUNDS AS SODIUM                                      N/A            UNDETERMINED
              CHANNEL BLOCKERS (GRANTED) - APPLICATION
              #13/878,004 (QUINAZOLINE COMPOUNDS AS
              SODIUM CHANNEL BLOCKERS)

   60. 766    QUINAZOLINE COMPOUNDS AS SODIUM                                      N/A            UNDETERMINED
              CHANNEL BLOCKERS (GRANTED) - APPLICATION
              #14/716,278 (QUINAZOLINE COMPOUNDS AS
              SODIUM CHANNEL BLOCKERS)

   60. 767    QUINAZOLINE COMPOUNDS AS SODIUM                                      N/A            UNDETERMINED
              CHANNEL BLOCKERS (GRANTED) - APPLICATION
              #502015000024723 (QUINAZOLINE COMPOUNDS
              AS SODIUM CHANNEL BLOCKERS)

   60. 768    QUINAZOLINE COMPOUNDS AS SODIUM                                      N/A            UNDETERMINED
              CHANNEL BLOCKERS (GRANTED) - APPLICATION
              #602011015094.4 (QUINAZOLINE COMPOUNDS AS
              SODIUM CHANNEL BLOCKERS)

   60. 769    QUINAZOLINE COMPOUNDS AS SODIUM                                      N/A            UNDETERMINED
              CHANNEL BLOCKERS (PUBLISHED) -
              APPLICATION #PCT/IB2011/002362 (QUINAZOLINE
              COMPOUNDS AS SODIUM CHANNEL BLOCKERS)

   60. 770    RING-CONTRACTED MORPHINANS AND THE USE                               N/A            UNDETERMINED
              THEREOF (GRANTED) - APPLICATION #15/108,091
              (RING-CONTRACTED MORPHINANS AND THE
              USE THEREOF)

   60. 771    SEQUESTERED ANTAGONIST FORMULATIONS                                  N/A            UNDETERMINED
              (GRANTED) - APPLICATION #11/352,900
              (SEQUESTERED ANTAGONIST FORMULATIONS)

   60. 772    SEQUESTERED ANTAGONIST FORMULATIONS                                  N/A            UNDETERMINED
              (GRANTED) - APPLICATION #13/900,044
              (SEQUESTERED ANTAGONIST FORMULATIONS)

   60. 773    SLEEP DISORDER TREATMENT AND                                         N/A            UNDETERMINED
              PREVENTION (APPLICATION) - APPLICATION
              #108102716

   60. 774    SLEEP DISORDER TREATMENT AND                                         N/A            UNDETERMINED
              PREVENTION (APPLICATION) - APPLICATION
              #62/621,290


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   60. 775    SLEEP DISORDER TREATMENT AND                                         N/A            UNDETERMINED
              PREVENTION (APPLICATION) - APPLICATION
              #P190100157

   60. 776    SLEEP DISORDER TREATMENT AND                                         N/A            UNDETERMINED
              PREVENTION (APPLICATION) - APPLICATION
              #PCT/IB2019/050522

   60. 777    SODIUM CHANNEL BLOCKER COMPOSITIONS                                  N/A            UNDETERMINED
              AND THE USE THEREOF (GRANTED) -
              APPLICATION #10/644,783 (SODIUM CHANNEL
              BLOCKER COMPOSITIONS AND THE USE
              THEREOF)

   60. 778    SOFTWARE, SYSTEMS, AND METHODOLOGIES                                 N/A            UNDETERMINED
              FOR REALIGNMENT OF REMOTE DATABASES BY
              A CENTRAL DATABASE IN SUPPORT FIELD
              REPRESENTATIVE TERRITORY ASSIGNMENTS
              (GRANTED) - APPLICATION #11/925,610
              (SOFTWARE, SYSTEMS, AND METHODOLOGIES
              FOR REALIGNMENT OF REMOTE DATABA

   60. 779    SOLID COMPOSITION OF CONTROLLED                                      N/A            UNDETERMINED
              RELEASE COMPRISING HYDROCODONE
              BITARTRATE OR ITS PHARMACEUTICALLY
              ACCEPTABLE SALTS (GRANTED) - APPLICATION
              #15019251 (COLOMBIA)

   60. 780    SOLID DOSE OF CONTROLLED RELEASE                                     N/A            UNDETERMINED
              METHOD COMPRISING A NUCLEUS WITH A
              FIRST PORTION OF AN OPIOID ANALGESIC
              DISPERSED IN A MATRIX MATERIAL AND A
              COVER CLOSING THE NUCLEUS WITH A
              SECOND PORTION OF THE OPIOID ANALGESIC
              DISPERSED IN A SECOND MATRIX MATERIAL; PR

   60. 781    SPECTROSCOPIC ANALYZER FOR BLENDER                                   N/A            UNDETERMINED
              (GRANTED) - APPLICATION #10/426,980
              (SPECTROSCOPIC ANALYZER FOR BLENDER)

   60. 782    SPIROCYCLIC MORPHINANS AND THEIR USE                                 N/A            UNDETERMINED
              (GRANTED) - APPLICATION #14/105,710
              (SPIROCYCLIC MORPHINANS AND THEIR USE)

   60. 783    SPIROCYCLIC MORPHINANS AND THEIR USE                                 N/A            UNDETERMINED
              (GRANTED) - APPLICATION #14/607,730
              (SPIROCYCLIC MORPHINANS AND THEIR USE)

   60. 784    SPIROCYCLIC MORPHINANS AND USE THEREOF                               N/A            UNDETERMINED
              (GRANTED) - APPLICATION #15/313,323

   60. 785    SUBSTITUTED BENZIMIDAZOLE-TYPE                                       N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND USES THEREOF
              (GRANTED) - APPLICATION #14/138,965
              (SUBSTITUTED BENZIMIDAZOLE-TYPE
              PIPERIDINE COMPOUNDS AND USES THEREOF)

   60. 786    SUBSTITUTED BENZIMIDAZOLE-TYPE                                       N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND USES THEREOF
              (GRANTED) - APPLICATION #14/800,475
              (SUBSTITUTED BENZIMIDAZOLE-TYPE
              PIPERIDINE COMPOUNDS AND USES THEREOF)

   60. 787    SUBSTITUTED BENZIMIDAZOLE-TYPE                                       N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND USES THEREOF
              (PUBLISHED) - APPLICATION #PCT/IB2013/002884
              (SUBSTITUTED BENZIMIDAZOLE-TYPE
              PIPERIDINE COMPOUNDS AND USES THEREOF)

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   60. 788    SUBSTITUTED MORPHINANS AND THE USE                                   N/A            UNDETERMINED
              THEREOF (GRANTED) - APPLICATION #14/576,718
              (SUBSTITUTED MORPHINANS AND THE USE
              THEREOF)

   60. 789    SUBSTITUTED MORPHINANS AND USE THEREOF                               N/A            UNDETERMINED
              (GRANTED) - APPLICATION #14/138,691
              (SUBSTITUTED MORPHINANS AND USE
              THEREOF)

   60. 790    SUBSTITUTED MORPHINANS AND USE THEREOF                               N/A            UNDETERMINED
              (PUBLISHED) - APPLICATION #PCT/IB2013/002883
              (SUBSTITUTED MORPHINANS AND USE
              THEREOF)

   60. 791    SUBSTITUTED PIPERIDIN-4-AMINO-TYPE                                   N/A            UNDETERMINED
              COMPOUNDS AND USES THEREOF (GRANTED) -
              APPLICATION #14/655,882 (SUBSTITUTED
              PIPERIDIN-4-AMINO-TYPE COMPOUNDS AND
              USES THEREOF)

   60. 792    SUBSTITUTED PIPERIDIN-4-AMINO-TYPE                                   N/A            UNDETERMINED
              COMPOUNDS AND USES THEREOF
              (PUBLISHED) - APPLICATION #PCT/IB2013/002875
              (SUBSTITUTED PIPERIDIN-4-AMINO-TYPE
              COMPOUNDS AND USES THEREOF)

   60. 793    SUBSTITUTED PIPERIDINES AS SODIUM                                    N/A            UNDETERMINED
              CHANNEL BLOCKERS (GRANTED) - APPLICATION
              #14/468,737 (SUBSTITUTED PIPERIDINES AS
              SODIUM CHANNEL BLOCKERS)

   60. 794    SUBSTITUTED PYRIDINES AS SODIUM CHANNEL                              N/A            UNDETERMINED
              BLOCKERS (GRANTED) - APPLICATION #11 813
              366.9 (SUBSTITUTED PYRIDINES AS SODIUM
              CHANNEL BLOCKERS)

   60. 795    SUBSTITUTED PYRIDINES AS SODIUM CHANNEL                              N/A            UNDETERMINED
              BLOCKERS (GRANTED) - APPLICATION
              #13/996,082 (SUBSTITUTED PYRIDINES AS
              SODIUM CHANNEL BLOCKERS)

   60. 796    SUBSTITUTED PYRIDINES AS SODIUM CHANNEL                              N/A            UNDETERMINED
              BLOCKERS (GRANTED) - APPLICATION
              #14/384,534 (SUBSTITUTED PYRIDINES AS
              SODIUM CHANNEL BLOCKERS)

   60. 797    SUBSTITUTED PYRIDINES AS SODIUM CHANNEL                              N/A            UNDETERMINED
              BLOCKERS (GRANTED) - APPLICATION
              #14/961,026 (SUBSTITUTED PYRIDINES AS
              SODIUM CHANNEL BLOCKERS)

   60. 798    SUBSTITUTED PYRIDINES AS SODIUM CHANNEL                              N/A            UNDETERMINED
              BLOCKERS (GRANTED) - APPLICATION
              #502016000044563 (SUBSTITUTED PYRIDINES AS
              SODIUM CHANNEL BLOCKERS)

   60. 799    SUBSTITUTED PYRIDINES AS SODIUM CHANNEL                              N/A            UNDETERMINED
              BLOCKERS (GRANTED) - APPLICATION
              #602011023290.8 (SUBSTITUTED PYRIDINES AS
              SODIUM CHANNEL BLOCKERS)

   60. 800    SUBSTITUTED PYRIDINES AS SODIUM CHANNEL                              N/A            UNDETERMINED
              BLOCKERS (PUBLISHED) - APPLICATION
              #PCT/IB2011/003137 (SUBSTITUTED PYRIDINES
              AS SODIUM CHANNEL BLOCKERS)



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   60. 801    SUBSTITUTED PYRIDINES AS SODIUM CHANNEL                            N/A            UNDETERMINED
              BLOCKERS (PUBLISHED) - APPLICATION
              #PCT/IB2013/000423 (SUBSTITUTED PYRIDINES
              AS SODIUM CHANNEL BLOCKERS)

   60. 802    SUBSTITUTED PYRIDINES USEFUL FOR                                   N/A            UNDETERMINED
              TREATING PAIN (GRANTED) - APPLICATION
              #12/596,997 (SUBSTITUTED PYRIDINES USEFUL
              FOR TREATING PAIN)

   60. 803    SUBSTITUTED QUINAZOLINES AND ANALOGS                               N/A            UNDETERMINED
              AND USE THEREOF (GRANTED) - APPLICATION
              #09/654,839 (SUBSTITUTED QUINAZOLINES AND
              ANALOGS AND USE THEREOF)

   60. 804    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                            N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (ALLOWED) - APPLICATION #MX/A/2010/002449
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 805    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                            N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (APPLICATION) - APPLICATION #1882010
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 806    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                            N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (APPLICATION) - APPLICATION #PCT3282010
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 807    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                            N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #088069869
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 808    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                            N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #09109471.0
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 809    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                            N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #097133373
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 810    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                            N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #10 035 578
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 811    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                            N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #100005
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 812    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                            N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #10035578
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

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   60. 813    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                             N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #1020107007100
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 814    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                             N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #11 188 205.6-1452
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 815    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                             N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #111882056
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 816    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                             N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #12010500437
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 817    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                             N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #121094671
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 818    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                             N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #2,697,051
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 819    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                             N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #2008291823
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 820    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                             N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #2008801045286
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 821    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                             N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #201000081-8
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 822    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                             N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #2010000818
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 823    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                             N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #201000572
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)




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   60. 824    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                            N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #2010108388
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 825    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                            N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #2010522469
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 826    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                            N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #203914
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 827    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                            N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #502015000010598
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 828    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                            N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #502016000094590
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 829    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                            N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #51/DELNP/2010
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 830    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                            N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #582940
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 831    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                            N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #602008036373.2
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 832    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                            N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #602008044954.8
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 833    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                            N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #AXXXXXXXX
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 834    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                            N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #KE/P/2010/001057
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)




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   60. 835    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                              N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #NG/C/2010/06
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 836    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                              N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #PI2010000343
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 837    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                              N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (PUBLISHED) - APPLICATION #121094699
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 838    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                              N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (PUBLISHED) - APPLICATION #PCT/IB2008/002291
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 839    SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE                              N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (PUBLISHED) - APPLICATION #PI08153272
              (SUBSTITUTED QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 840    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                                N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION
              #09786064.7 (SUBSTITUTED-QUINOXALINE-TYPE
              BRIDGED-PIPERIDINE COMPOUNDS AND THE
              USES THEREOF)

   60. 841    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                                N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION #097860647
              (SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF)

   60. 842    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                                N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION #10-2011-
              7003975 (SUBSTITUTED-QUINOXALINE-TYPE
              BRIDGED-PIPERIDINE COMPOUNDS AND THE
              USES THEREOF)

   60. 843    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                                N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION #102104550
              (SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF)

   60. 844    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                                N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION #110089
              (SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF)




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   60. 845    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                               N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION #11019525
              (SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF)

   60. 846    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                               N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION #111121198
              (SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF)

   60. 847    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                               N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION #1-2011-
              500147 (SUBSTITUTED-QUINOXALINE-TYPE
              BRIDGED-PIPERIDINE COMPOUNDS AND THE
              USES THEREOF)

   60. 848    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                               N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION
              #2009/13942 (SUBSTITUTED-QUINOXALINE-TYPE
              BRIDGED-PIPERIDINE COMPOUNDS AND THE
              USES THEREOF)

   60. 849    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                               N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION
              #2009275218 (SUBSTITUTED-QUINOXALINE-TYPE
              BRIDGED-PIPERIDINE COMPOUNDS AND THE
              USES THEREOF)

   60. 850    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                               N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION
              #2009801286840 (SUBSTITUTED-QUINOXALINE-
              TYPE BRIDGED-PIPERIDINE COMPOUNDS AND
              THE USES THEREOF)

   60. 851    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                               N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION #201100189
              (SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF)

   60. 852    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                               N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION
              #2011106375 (SUBSTITUTED-QUINOXALINE-TYPE
              BRIDGED-PIPERIDINE COMPOUNDS AND THE
              USES THEREOF)

   60. 853    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                               N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION #2011-
              519251 (SUBSTITUTED-QUINOXALINE-TYPE
              BRIDGED-PIPERIDINE COMPOUNDS AND THE
              USES THEREOF)




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   60. 854    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                              N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION #201305540-
              5 (SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF)

   60. 855    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                              N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION #210549
              (SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF)

   60. 856    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                              N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION #2730288
              (SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF)

   60. 857    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                              N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION
              #502012902108291 (SUBSTITUTED-QUINOXALINE-
              TYPE BRIDGED-PIPERIDINE COMPOUNDS AND
              THE USES THEREOF)

   60. 858    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                              N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION #590416
              (SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF)

   60. 859    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                              N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION
              #602009009882.9 (SUBSTITUTED-QUINOXALINE-
              TYPE BRIDGED-PIPERIDINE COMPOUNDS AND
              THE USES THEREOF)

   60. 860    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                              N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION #665/2009
              (SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF)

   60. 861    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                              N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION
              #9397/DELNP/2010 (SUBSTITUTED-QUINOXALINE-
              TYPE BRIDGED-PIPERIDINE COMPOUNDS AND
              THE USES THEREOF)

   60. 862    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                              N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION #97860647
              (SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF)




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   60. 863    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                               N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION
              #AXXXXXXXX (SUBSTITUTED-QUINOXALINE-TYPE
              BRIDGED-PIPERIDINE COMPOUNDS AND THE
              USES THEREOF)

   60. 864    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                               N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION
              #AL/P/2012/4231 (SUBSTITUTED-QUINOXALINE-
              TYPE BRIDGED-PIPERIDINE COMPOUNDS AND
              THE USES THEREOF)

   60. 865    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                               N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION #E 575956
              (SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF)

   60. 866    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                               N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION
              #EP00916/2324013 (SUBSTITUTED-QUINOXALINE-
              TYPE BRIDGED-PIPERIDINE COMPOUNDS AND
              THE USES THEREOF)

   60. 867    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                               N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION
              #KE/P/2011/001236 (SUBSTITUTED-QUINOXALINE-
              TYPE BRIDGED-PIPERIDINE COMPOUNDS AND
              THE USES THEREOF)

   60. 868    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                               N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION
              #MX/A/2011000872 (SUBSTITUTED-QUINOXALINE-
              TYPE BRIDGED-PIPERIDINE COMPOUNDS AND
              THE USES THEREOF)

   60. 869    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                               N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION
              #NG/C/2011/193 (SUBSTITUTED-QUINOXALINE-
              TYPE BRIDGED-PIPERIDINE COMPOUNDS AND
              THE USES THEREOF)

   60. 870    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                               N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION
              #P090102759 (SUBSTITUTED-QUINOXALINE-TYPE
              BRIDGED-PIPERIDINE COMPOUNDS AND THE
              USES THEREOF)

   60. 871    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                               N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION #P2012/143
              (SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF)




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   60. 872    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                              N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION #P-
              2012/396 (SUBSTITUTED-QUINOXALINE-TYPE
              BRIDGED-PIPERIDINE COMPOUNDS AND THE
              USES THEREOF)

   60. 873    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                              N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION
              #P20120841 (SUBSTITUTED-QUINOXALINE-TYPE
              BRIDGED-PIPERIDINE COMPOUNDS AND THE
              USES THEREOF)

   60. 874    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                              N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION #P-549/12
              (SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF)

   60. 875    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                              N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION
              #PI2010006240 (SUBSTITUTED-QUINOXALINE-
              TYPE BRIDGED-PIPERIDINE COMPOUNDS AND
              THE USES THEREOF)

   60. 876    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                              N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION #SM-T-
              201200053. (SUBSTITUTED-QUINOXALINE-TYPE
              BRIDGED-PIPERIDINE COMPOUNDS AND THE
              USES THEREOF)

   60. 877    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                              N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (GRANTED) - APPLICATION
              #W00201100651 (SUBSTITUTED-QUINOXALINE-
              TYPE BRIDGED-PIPERIDINE COMPOUNDS AND
              THE USES THEREOF)

   60. 878    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                              N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (PUBLISHED) - APPLICATION
              #131062277 (SUBSTITUTED-QUINOXALINE-TYPE
              BRIDGED-PIPERIDINE COMPOUNDS AND THE
              USES THEREOF)

   60. 879    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                              N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (PUBLISHED) - APPLICATION #138109
              (SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF)

   60. 880    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                              N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (PUBLISHED) - APPLICATION #138209
              (SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF)




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   60. 881    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                               N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (PUBLISHED) - APPLICATION #31993
              (SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF)

   60. 882    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                               N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (PUBLISHED) - APPLICATION
              #901003249 (SUBSTITUTED-QUINOXALINE-TYPE
              BRIDGED-PIPERIDINE COMPOUNDS AND THE
              USES THEREOF)

   60. 883    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                               N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (PUBLISHED) - APPLICATION
              #PCT/IB09/006356 (SUBSTITUTED-QUINOXALINE-
              TYPE BRIDGED-PIPERIDINE COMPOUNDS AND
              THE USES THEREOF)

   60. 884    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                               N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AND THE USES
              THEREOF (PUBLISHED) - APPLICATION
              #PI09110313 (SUBSTITUTED-QUINOXALINE-TYPE
              BRIDGED-PIPERIDINE COMPOUNDS AND THE
              USES THEREOF)

   60. 885    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                               N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AS ORL-1
              MODULATORS (GRANTED) - APPLICATION
              #13/010,632 ( SUBSTITUTED-QUINOXALINE-TYPE
              BRIDGED-PIPERIDINE COMPOUNDS AS ORL-1
              MODULATORS )

   60. 886    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                               N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AS ORL-1
              MODULATORS (GRANTED) - APPLICATION
              #13/915,204 ( SUBSTITUTED-QUINOXALINE-TYPE
              BRIDGED-PIPERIDINE COMPOUNDS AS ORL-1
              MODULATORS )

   60. 887    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                               N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS AS ORL-1
              MODULATORS (GRANTED) - APPLICATION
              #14/859,139 (SUBSTITUTED-QUINOXALINE-TYPE
              BRIDGED-PIPERIDINE COMPOUNDS AS ORL-1
              MODULATORS)

   60. 888    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                               N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS WITH ACTIVITY AT
              THE ORL-1 RECEPTOR (GRANTED) -
              APPLICATION #00058.-2011 (SUBSTITUTED-
              QUINOXALINE-TYPE BRIDGED-PIPERIDINE
              COMPOUNDS WITH ACTIVITY AT THE ORL-1
              RECEPTOR)

   60. 889    SUBSTITUTED-QUINOXALINE-TYPE BRIDGED-                               N/A            UNDETERMINED
              PIPERIDINE COMPOUNDS, COMPOSITION
              COMPRISING THE SAME, METHOD FOR
              PREPARING A COMPOSITION, AND IN VITRO
              METHOD FOR MODULATING ORL-1 RECEPTOR
              FUNCTION IN A CELL    (GRANTED) -
              APPLICATION #1-2011-00249 (SUBSTITUTED-Q




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   60. 890    SUBSTITUTED-QUINOXALINE-TYPE PIPERIDINE                            N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #14/331,034
              (SUBSTITUTED-QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF )

   60. 891    SUBSTITUTED-QUINOXALINE-TYPE PIPERIDINE                            N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #15/041,998 (
              SUBSTITUTED-QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF )

   60. 892    SUBSTITUTED-QUINOXALINE-TYPE PIPERIDINE                            N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (APPLICATION) - APPLICATION
              #MX/A/2017/012374 (SUBSTITUTED-QUINOXALINE-
              TYPE PIPERIDINE COMPOUNDS AND THE USES
              THEREOF)

   60. 893    SUBSTITUTED-QUINOXALINE-TYPE PIPERIDINE                            N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #12/712,042
              (SUBSTITUTED-QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 894    SUBSTITUTED-QUINOXALINE-TYPE PIPERIDINE                            N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #1201000176
              (SUBSTITUTED-QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 895    SUBSTITUTED-QUINOXALINE-TYPE PIPERIDINE                            N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #W00201000640
              (SUBSTITUTED-QUINOXALINE-TYPE PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 896    SUBSTITUTED-QUINOXALINE-TYPE-PIPERIDINE                            N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (APPLICATION) - APPLICATION #19160618.5
              (SUBSTITUTED-QUINOXALINE-TYPE-PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 897    SUBSTITUTED-QUINOXALINE-TYPE-PIPERIDINE                            N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #111882056
              (SUBSTITUTED-QUINOXALINE-TYPE-PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 898    SUBSTITUTED-QUINOXALINE-TYPE-PIPERIDINE                            N/A            UNDETERMINED
              COMPOUNDS AND THE USES THEREOF
              (GRANTED) - APPLICATION #16176601.9
              (SUBSTITUTED-QUINOXALINE-TYPE-PIPERIDINE
              COMPOUNDS AND THE USES THEREOF)

   60. 899    SUGAR DERIVATIVES OF HYDROMORPHONE,                                N/A            UNDETERMINED
              DIHYDROMORPHINE AND
              DIHYDROISOMORPHINE, COMPOSITIONS
              THEREOF AND USES FOR TREATING OR
              PREVENTING PAIN (GRANTED) - APPLICATION
              #10/199,526 (SUGAR DERIVATIVES OF
              HYDROMORPHONE, DIHYDROMORPHINE AND
              DIHYDROISOMORPHINE, COMP

   60. 900    SUSTAINED-RELEASE GEL COATED                                       N/A            UNDETERMINED
              COMPOSITIONS (GRANTED) - APPLICATION
              #10/401,111 (SUSTAINED-RELEASE GEL COATED
              COMPOSITIONS)

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   60. 901    SYNTHESIS OF (¿)-2-((DIMETHYLAMINO)METHYL)-                           N/A            UNDETERMINED
              1-(ARYL)CYCLOHEXANOLS (GRANTED) -
              APPLICATION #10/663,489 (SYNTHESIS OF (¿)-2-
              ((DIMETHYLAMINO)METHYL)-1-
              (ARYL)CYCLOHEXANOLS)

   60. 902    SYNTHESIS OF (+/-)-2-                                                 N/A            UNDETERMINED
              ((DIMETHYLAMINO)METHYL)-1-
              (ARYL)CYCLOHEXANOLS (GRANTED) -
              APPLICATION #09/968,855 (SYNTHESIS OF (+/-)-2-
              ((DIMETHYLAMINO)METHYL)-1-
              (ARYL)CYCLOHEXANOLS)

   60. 903    SYNTHESIS OF ANTHRACENEDION AND                                       N/A            UNDETERMINED
              ANTHRAISOXAZOLONE COMPOUNDS AS KINASE
              INHIBITORS (APPLICATION) - APPLICATION
              #62/310,266

   60. 904    SYSTEM AND METHOD FOR ALGORITHMIC                                     N/A            UNDETERMINED
              ASSESSMENT OF ABUSIVE PRESCRIBER TRAITS
              (APPLICATION) - APPLICATION #13/602,151
              (SYSTEM AND METHOD FOR ALGORITHMIC
              ASSESSMENT OF ABUSIVE PRESCRIBER TRAITS)

   60. 905    SYSTEM AND METHOD FOR EVALUATING                                      N/A            UNDETERMINED
              TEXTUAL DATA USING AND APPLYING A
              VIRTUAL LANDSCAPE (GRANTED) - APPLICATION
              #14/795,218

   60. 906    SYSTEM AND METHOD FOR SUPPORTING                                      N/A            UNDETERMINED
              HEALTH MANAGEMENT SERVICES (GRANTED) -
              APPLICATION #13/918,560 (SYSTEM AND
              METHOD FOR SUPPORTING HEALTH
              MANAGEMENT SERVICES)

   60. 907    SYSTEM AND METHODS FOR MANAGEMENT OF                                  N/A            UNDETERMINED
              RISK DATA AND ANALYTICS (GRANTED) -
              APPLICATION #12/237,853 (SYSTEM AND
              METHODS FOR MANAGEMENT OF RISK DATA
              AND ANALYTICS)

   60. 908    SYSTEMS AND METHODS FOR ATTENUATING                                   N/A            UNDETERMINED
              OPIOID-INDUCED EUPHORIA (APPLICATION) -
              APPLICATION #10-2017-7009493

   60. 909    SYSTEMS AND METHODS FOR ATTENUATING                                   N/A            UNDETERMINED
              OPIOID-INDUCED EUPHORIA (APPLICATION) -
              APPLICATION #2,961,009

   60. 910    SYSTEMS AND METHODS FOR ATTENUATING                                   N/A            UNDETERMINED
              OPIOID-INDUCED EUPHORIA (PUBLISHED) -
              APPLICATION #15840440.0

   60. 911    SYSTEMS AND METHODS FOR ATTENUATING                                   N/A            UNDETERMINED
              OPIOID-INDUCED EUPHORIA (PUBLISHED) -
              APPLICATION #PCT/US2015/049948

   60. 912    SYSTEMS AND METHODS FOR ATTENUATING                                   N/A            UNDETERMINED
              OPIOID-INDUCED EUPHORIA (PUBLISHED) -
              APPLICATION #14/853,151

   60. 913    SYSTEMS AND METHODS FOR ATTENUATING                                   N/A            UNDETERMINED
              OPIOID-INDUCED EUPHORIA (PUBLISHED) -
              APPLICATION #2017-513760




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   60. 914    SYSTEMS AND METHODS FOR TREATING AN                                  N/A            UNDETERMINED
              OPIOID-INDUCED ADVERSE
              PHARMACODYNAMIC RESPONSE (ALLOWED) -
              APPLICATION #15/845,642 (SYSTEMS AND
              METHODS FOR TREATING AN OPIOID-INDUCED
              ADVERSE PHARMACODYNAMIC RESPONSE)

   60. 915    SYSTEMS AND METHODS FOR TREATING AN                                  N/A            UNDETERMINED
              OPIOID-INDUCED ADVERSE
              PHARMACODYNAMIC RESPONSE
              (APPLICATION) - APPLICATION #10-2014-7031757
              (SYSTEMS AND METHODS FOR TREATING AN
              OPIOID-INDUCED ADVERSE
              PHARMACODYNAMIC RESPONSE)

   60. 916    SYSTEMS AND METHODS FOR TREATING AN                                  N/A            UNDETERMINED
              OPIOID-INDUCED ADVERSE
              PHARMACODYNAMIC RESPONSE
              (APPLICATION) - APPLICATION #2,868,413
              (SYSTEMS AND METHODS FOR TREATING AN
              OPIOID-INDUCED ADVERSE
              PHARMACODYNAMIC RESPONSE)

   60. 917    SYSTEMS AND METHODS FOR TREATING AN                                  N/A            UNDETERMINED
              OPIOID-INDUCED ADVERSE
              PHARMACODYNAMIC RESPONSE
              (APPLICATION) - APPLICATION #2018260882
              (SYSTEMS AND METHODS FOR TREATING AN
              OPIOID-INDUCED ADVERSE
              PHARMACODYNAMIC RESPONSE)

   60. 918    SYSTEMS AND METHODS FOR TREATING AN                                  N/A            UNDETERMINED
              OPIOID-INDUCED ADVERSE
              PHARMACODYNAMIC RESPONSE
              (APPLICATION) - APPLICATION #201910192656.0
              (SYSTEMS AND METHODS FOR TREATING AN
              OPIOID-INDUCED ADVERSE
              PHARMACODYNAMIC RESPONSE)

   60. 919    SYSTEMS AND METHODS FOR TREATING AN                                  N/A            UNDETERMINED
              OPIOID-INDUCED ADVERSE
              PHARMACODYNAMIC RESPONSE
              (APPLICATION) - APPLICATION #235082
              (SYSTEMS AND METHODS FOR TREATING AN
              OPIOID-INDUCED ADVERSE
              PHARMACODYNAMIC RESPONSE)

   60. 920    SYSTEMS AND METHODS FOR TREATING AN                                  N/A            UNDETERMINED
              OPIOID-INDUCED ADVERSE
              PHARMACODYNAMIC RESPONSE (GRANTED) -
              APPLICATION #13 722 059.6 (SYSTEMS AND
              METHODS FOR TREATING AN OPIOID-INDUCED
              ADVERSE PHARMACODYNAMIC RESPONSE)

   60. 921    SYSTEMS AND METHODS FOR TREATING AN                                  N/A            UNDETERMINED
              OPIOID-INDUCED ADVERSE
              PHARMACODYNAMIC RESPONSE (GRANTED) -
              APPLICATION #13/864,791 (SYSTEMS AND
              METHODS FOR TREATING AN OPIOID-INDUCED
              ADVERSE PHARMACODYNAMIC RESPONSE)

   60. 922    SYSTEMS AND METHODS FOR TREATING AN                                  N/A            UNDETERMINED
              OPIOID-INDUCED ADVERSE
              PHARMACODYNAMIC RESPONSE (GRANTED) -
              APPLICATION #14/562,170 (SYSTEMS AND
              METHODS FOR TREATING AN OPIOID-INDUCED
              ADVERSE PHARMACODYNAMIC RESPONSE)

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   60. 923    SYSTEMS AND METHODS FOR TREATING AN                                N/A            UNDETERMINED
              OPIOID-INDUCED ADVERSE
              PHARMACODYNAMIC RESPONSE (GRANTED) -
              APPLICATION #14/669,475 (SYSTEMS AND
              METHODS FOR TREATING AN OPIOID-INDUCED
              ADVERSE PHARMACODYNAMIC RESPONSE)

   60. 924    SYSTEMS AND METHODS FOR TREATING AN                                N/A            UNDETERMINED
              OPIOID-INDUCED ADVERSE
              PHARMACODYNAMIC RESPONSE (GRANTED) -
              APPLICATION #14/669,481 (SYSTEMS AND
              METHODS FOR TREATING AN OPIOID-INDUCED
              ADVERSE PHARMACODYNAMIC RESPONSE)

   60. 925    SYSTEMS AND METHODS FOR TREATING AN                                N/A            UNDETERMINED
              OPIOID-INDUCED ADVERSE
              PHARMACODYNAMIC RESPONSE (GRANTED) -
              APPLICATION #14/669,496 (SYSTEMS AND
              METHODS FOR TREATING AN OPIOID-INDUCED
              ADVERSE PHARMACODYNAMIC RESPONSE)

   60. 926    SYSTEMS AND METHODS FOR TREATING AN                                N/A            UNDETERMINED
              OPIOID-INDUCED ADVERSE
              PHARMACODYNAMIC RESPONSE (GRANTED) -
              APPLICATION #14/885,597

   60. 927    SYSTEMS AND METHODS FOR TREATING AN                                N/A            UNDETERMINED
              OPIOID-INDUCED ADVERSE
              PHARMACODYNAMIC RESPONSE (GRANTED) -
              APPLICATION #15/835,815

   60. 928    SYSTEMS AND METHODS FOR TREATING AN                                N/A            UNDETERMINED
              OPIOID-INDUCED ADVERSE
              PHARMACODYNAMIC RESPONSE (GRANTED) -
              APPLICATION #2013250883 (SYSTEMS AND
              METHODS FOR TREATING AN OPIOID-INDUCED
              ADVERSE PHARMACODYNAMIC RESPONSE)

   60. 929    SYSTEMS AND METHODS FOR TREATING AN                                N/A            UNDETERMINED
              OPIOID-INDUCED ADVERSE
              PHARMACODYNAMIC RESPONSE (GRANTED) -
              APPLICATION #2015-506317 (SYSTEMS AND
              METHODS FOR TREATING AN OPIOID-INDUCED
              ADVERSE PHARMACODYNAMIC RESPONSE)

   60. 930    SYSTEMS AND METHODS FOR TREATING AN                                N/A            UNDETERMINED
              OPIOID-INDUCED ADVERSE
              PHARMACODYNAMIC RESPONSE (GRANTED) -
              APPLICATION #2016244249 (SYSTEMS AND
              METHODS FOR TREATING AN OPIOID-INDUCED
              ADVERSE PHARMACODYNAMIC RESPONSE)

   60. 931    SYSTEMS AND METHODS FOR TREATING AN                                N/A            UNDETERMINED
              OPIOID-INDUCED ADVERSE
              PHARMACODYNAMIC RESPONSE (PUBLISHED) -
              APPLICATION #18213538.4 (SYSTEMS AND
              METHODS FOR TREATING AN OPIOID-INDUCED
              ADVERSE PHARMACODYNAMIC RESPONSE)

   60. 932    SYSTEMS AND METHODS FOR TREATING AN                                N/A            UNDETERMINED
              OPIOID-INDUCED ADVERSE
              PHARMACODYNAMIC RESPONSE (PUBLISHED) -
              APPLICATION #201380020151.7 (SYSTEMS AND
              METHODS FOR TREATING AN OPIOID-INDUCED
              ADVERSE PHARMACODYNAMIC RESPONSE)




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   60. 933    SYSTEMS AND METHODS FOR TREATING AN                                   N/A            UNDETERMINED
              OPIOID-INDUCED ADVERSE
              PHARMACODYNAMIC RESPONSE (PUBLISHED) -
              APPLICATION #BR 11 2014 026017-6 (SYSTEMS
              AND METHODS FOR TREATING AN OPIOID-
              INDUCED ADVERSE PHARMACODYNAMIC
              RESPONSE)

   60. 934    SYSTEMS AND METHODS FOR TREATING AN                                   N/A            UNDETERMINED
              OPIOID-INDUCED ADVERSE
              PHARMACODYNAMIC RESPONSE (PUBLISHED) -
              APPLICATION #PCT/IB2013/000746 (SYSTEMS
              AND METHODS FOR TREATING AN OPIOID-
              INDUCED ADVERSE PHARMACODYNAMIC
              RESPONSE)

   60. 935    SYSTEMS AND METHODS FOR TREATING AN                                   N/A            UNDETERMINED
              OPIOID-INDUCED ADVERSE
              PHARMACODYNAMIC RESPONSE
               (GRANTED) - APPLICATION #14/612,941
              (SYSTEMS AND METHODS FOR TREATING AN
              OPIOID-INDUCED ADVERSE
              PHARMACODYNAMIC RESPONSE
              )

   60. 936    SYSTEMS AND METHODS FOR TREATING OPIOID-                              N/A            UNDETERMINED
              INDUCED BOWEL DYSFUNCTION (PUBLISHED) -
              APPLICATION #P130101265 (SYSTEMS AND
              METHODS FOR TREATING OPIOID-INDUCED
              BOWEL DYSFUNCTION)

   60. 937    SYSTEMS AND METHODS TO QUANTIFY                                       N/A            UNDETERMINED
              ANALYTES IN KERATINIZED SAMPLES
              (APPLICATION) - APPLICATION #2,864,526
              (SYSTEMS AND METHODS TO QUANTIFY
              ANALYTES IN KERATINIZED SAMPLES)

   60. 938    SYSTEMS AND METHODS TO QUANTIFY                                       N/A            UNDETERMINED
              ANALYTES IN KERATINIZED SAMPLES
              (PUBLISHED) - APPLICATION #14/377,632
              (SYSTEMS AND METHODS TO QUANTIFY
              ANALYTES IN KERATINIZED SAMPLES)

   60. 939    SYSTEMS AND METHODS TO QUANTIFY                                       N/A            UNDETERMINED
              ANALYTES IN KERATINIZED SAMPLES
              (PUBLISHED) - APPLICATION #PCT/US13/26199
              (SYSTEMS AND METHODS TO QUANTIFY
              ANALYTES IN KERATINIZED SAMPLES)

   60. 940    SYSTEMS FOR TREATING AN OPIOID-INDUCED                                N/A            UNDETERMINED
              ADVERSE PHARMACODYNAMIC RESPONSE
              (GRANTED) - APPLICATION #14/632,152
              (SYSTEMS FOR TREATING AN OPIOID-INDUCED
              ADVERSE PHARMACODYNAMIC RESPONSE)

   60. 941    TAMPER RESISTANT CO-EXTRUDED DOSAGE                                   N/A            UNDETERMINED
              FORM CONTAINING AN ACTIVE AGENT AND AN
              ADVERSE AGENT AND PROCESS OF MAKING
              SAME (ALLOWED) - APPLICATION #14/513,585
              (TAMPER RESISTANT CO-EXTRUDED DOSAGE
              FORM CONTAINING AN ACTIVE AGENT AND AN
              ADVERSE AGENT AND PROCESS O




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   60. 942    TAMPER RESISTANT CO-EXTRUDED DOSAGE                                  N/A            UNDETERMINED
              FORM CONTAINING AN ACTIVE AGENT AND AN
              ADVERSE AGENT AND PROCESS OF MAKING
              SAME (GRANTED) - APPLICATION #12/236,063
              (TAMPER RESISTANT CO-EXTRUDED DOSAGE
              FORM CONTAINING AN ACTIVE AGENT AND AN
              ADVERSE AGENT AND PROCESS O

   60. 943    TAMPER RESISTANT CONTROLLED RELEASE                                  N/A            UNDETERMINED
              DOSAGE FORMS (GRANTED) - APPLICATION
              #15/045,971 (UNITED STATES OF AMERICA)

   60. 944    TAMPER RESISTANT CONTROLLED RELEASE                                  N/A            UNDETERMINED
              DOSAGE FORMS
              (GRANTED) - APPLICATION #15/045,977 (UNITED
              STATES OF AMERICA)

   60. 945    TAMPER RESISTANT DOSAGE FORM                                         N/A            UNDETERMINED
              COMPRISING AN ADSORBENT AND AN ADVERSE
              AGENT (GRANTED) - APPLICATION #10/593,506
              (TAMPER RESISTANT DOSAGE FORM
              COMPRISING AN ADSORBENT AND AN ADVERSE
              AGENT)

   60. 946    TAMPER RESISTANT DOSAGE FORM                                         N/A            UNDETERMINED
              COMPRISING AN ADSORBENT AND AN ADVERSE
              AGENT (GRANTED) - APPLICATION #14/206,112
              (TAMPER RESISTANT DOSAGE FORM
              COMPRISING AN ADSORBENT AND AN ADVERSE
              AGENT)

   60. 947    TAMPER RESISTANT DOSAGE FORM                                         N/A            UNDETERMINED
              COMPRISING CO-EXTRUDED, ADVERSE AGENT
              PARTICLES AND PROCESS OF MAKING SAME
              (GRANTED) - APPLICATION #15/419,486 (TAMPER
              RESISTANT DOSAGE FORM COMPRISING CO-
              EXTRUDED, ADVERSE AGENT PARTICLES AND
              PROCESS OF MAKING SAME)

   60. 948    TAMPER RESISTANT DOSAGE FORM                                         N/A            UNDETERMINED
              COMPRISING CO-EXTRUDED, ADVERSE AGENT
              PARTICLES AND PROCESS OF MAKING SAME
              (PUBLISHED) - APPLICATION #PCT/US04/012776
              (TAMPER RESISTANT DOSAGE FORM
              COMPRISING CO-EXTRUDED, ADVERSE AGENT
              PARTICLES AND PROCESS OF MAKING SAME)

   60. 949    TAMPER RESISTANT DOSAGE FORM                                         N/A            UNDETERMINED
              COMPRISING CO-EXTRUDED, SEQUESTERED
              ADVERSE AGENT PARTICLES AND PROCESS OF
              MAKING SAME (GRANTED) - APPLICATION
              #10/554,157 (TAMPER RESISTANT DOSAGE FORM
              COMPRISING CO-EXTRUDED, SEQUESTERED
              ADVERSE AGENT PARTICLES AND PROCESS O

   60. 950    TAMPER RESISTANT DOSAGE FORMS                                        N/A            UNDETERMINED
              (PUBLISHED) - APPLICATION #15/680,241

   60. 951    TAMPER RESISTANT IMMEDIATE RELEASE                                   N/A            UNDETERMINED
              FORMULATIONS (APPLICATION) - APPLICATION
              #2,847,613 (TAMPER RESISTANT IMMEDIATE
              RELEASE FORMULATIONS)

   60. 952    TAMPER RESISTANT IMMEDIATE RELEASE                                   N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #12772421.9 (TAMPER RESISTANT IMMEDIATE
              RELEASE FORMULATIONS)


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   60. 953    TAMPER RESISTANT IMMEDIATE RELEASE                                  N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #16167881.8 (TAMPER RESISTANT IMMEDIATE
              RELEASE FORMULATIONS)

   60. 954    TAMPER RESISTANT IMMEDIATE RELEASE                                  N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #2012310251 (TAMPER RESISTANT IMMEDIATE
              RELEASE FORMULATIONS)

   60. 955    TAMPER RESISTANT IMMEDIATE RELEASE                                  N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #2014-530332 (TAMPER RESISTANT IMMEDIATE
              RELEASE FORMULATIONS)

   60. 956    TAMPER RESISTANT IMMEDIATE RELEASE                                  N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #502016000088125 (TAMPER RESISTANT
              IMMEDIATE RELEASE FORMULATIONS)

   60. 957    TAMPER RESISTANT IMMEDIATE RELEASE                                  N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #MX/A/2014/003192 (TAMPER RESISTANT
              IMMEDIATE RELEASE FORMULATIONS)

   60. 958    TAMPER RESISTANT IMMEDIATE RELEASE                                  N/A            UNDETERMINED
              FORMULATIONS (PUBLISHED) - APPLICATION
              #14/344,271 (TAMPER RESISTANT IMMEDIATE
              RELEASE FORMULATIONS)

   60. 959    TAMPER RESISTANT IMMEDIATE RELEASE                                  N/A            UNDETERMINED
              FORMULATIONS (PUBLISHED) - APPLICATION
              #PCT/IB2012/001916 (TAMPER RESISTANT
              IMMEDIATE RELEASE FORMULATIONS)

   60. 960    TAMPER RESISTANT ORAL DOSAGE FORMS OF                               N/A            UNDETERMINED
              PHARMACEUTICAL FORMULATIONS (GRANTED) -
              APPLICATION #231485 (TAMPER RESISTANT
              ORAL DOSAGE FORMS OF PHARMACEUTICAL
              FORMULATIONS)

   60. 961    TAMPER RESISTANT ORAL DOSAGE FORMS OF                               N/A            UNDETERMINED
              IMMEDIATE RELEASE FORMULATIONS
              (GRANTED) - APPLICATION #231482 (TAMPER
              RESISTANT ORAL DOSAGE FORMS OF
              IMMEDIATE RELEASE FORMULATIONS)

   60. 962    TAMPER RESISTANT ORAL DOSAGE FORMS                                  N/A            UNDETERMINED
               (PUBLISHED) - APPLICATION #14/952,238
              (TAMPER RESISTANT ORAL DOSAGE FORMS
              )

   60. 963    TAMPER RESISTANT ORAL OPIOID AGONIST                                N/A            UNDETERMINED
              FORMULATIONS (APPLICATION) - APPLICATION
              #16/432,719 (TAMPER RESISTANT ORAL OPIOID
              AGONIST FORMULATIONS )

   60. 964    TAMPER RESISTANT ORAL OPIOID AGONIST                                N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #15/245,338 ( TAMPER RESISTANT ORAL OPIOID
              AGONIST FORMULATIONS )

   60. 965    TAMPER RESISTANT ORAL OPIOID AGONIST                                N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #15/715,425 (TAMPER RESISTANT ORAL OPIOID
              AGONIST FORMULATIONS )



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   60. 966    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
              FORMULATIONS (ALLOWED) - APPLICATION
              #14765468.5 (TAMPER RESISTANT
              PHARMACEUTICAL FORMULATIONS)

   60. 967    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
              FORMULATIONS (ALLOWED) - APPLICATION
              #15/588,066 (TAMPER RESISTANT
              PHARMACEUTICAL FORMULATIONS)

   60. 968    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
              FORMULATIONS (APPLICATION) - APPLICATION
              #10201707531V (TAMPER RESISTANT
              PHARMACEUTICAL FORMULATIONS)

   60. 969    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
              FORMULATIONS (APPLICATION) - APPLICATION
              #11201506797V (TAMPER RESISTANT
              PHARMACEUTICAL FORMULATIONS)

   60. 970    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
              FORMULATIONS (APPLICATION) - APPLICATION
              #1-2015-501756 (TAMPER RESISTANT
              PHARMACEUTICAL FORMULATIONS)

   60. 971    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
              FORMULATIONS (APPLICATION) - APPLICATION
              #1408/2015 (TAMPER RESISTANT
              PHARMACEUTICAL FORMULATIONS)

   60. 972    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
              FORMULATIONS (APPLICATION) - APPLICATION
              #16/272,163 (TAMPER RESISTANT
              PHARMACEUTICAL FORMULATIONS)

   60. 973    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
              FORMULATIONS (APPLICATION) - APPLICATION
              #2,847,611 (TAMPER RESISTANT
              PHARMACEUTICAL FORMULATIONS)

   60. 974    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
              FORMULATIONS (APPLICATION) - APPLICATION
              #20140100988 (TAMPER RESISTANT
              PHARMACEUTICAL FORMULATIONS)

   60. 975    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
              FORMULATIONS (APPLICATION) - APPLICATION
              #2018278919 (TAMPER RESISTANT
              PHARMACEUTICAL FORMULATIONS)

   60. 976    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
              FORMULATIONS (APPLICATION) - APPLICATION
              #239566 (TAMPER RESISTANT
              PHARMACEUTICAL FORMULATIONS)

   60. 977    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
              FORMULATIONS (APPLICATION) - APPLICATION
              #241519 (TAMPER RESISTANT
              PHARMACEUTICAL FORMULATIONS)

   60. 978    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
              FORMULATIONS (APPLICATION) - APPLICATION
              #2990/MUMNP/2015 (TAMPER RESISTANT
              PHARMACEUTICAL FORMULATIONS)




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   60. 979    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
              FORMULATIONS (APPLICATION) - APPLICATION
              #323-14 (TAMPER RESISTANT PHARMACEUTICAL
              FORMULATIONS)

   60. 980    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
              FORMULATIONS (APPLICATION) - APPLICATION
              #324-14 (TAMPER RESISTANT PHARMACEUTICAL
              FORMULATIONS)

   60. 981    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
              FORMULATIONS (APPLICATION) - APPLICATION
              #BR 11 2015 021583 1 (TAMPER RESISTANT
              PHARMACEUTICAL FORMULATIONS)

   60. 982    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
              FORMULATIONS (APPLICATION) - APPLICATION
              #BR112015017451-5 (TAMPER RESISTANT
              PHARMACEUTICAL FORMULATIONS)

   60. 983    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION #10-
              2015-7021000 (TAMPER RESISTANT
              PHARMACEUTICAL FORMULATIONS)

   60. 984    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION #10-
              2015-7027787 (TAMPER RESISTANT
              PHARMACEUTICAL FORMULATIONS)

   60. 985    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #103109308 (TAMPER RESISTANT
              PHARMACEUTICAL FORMULATIONS)

   60. 986    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #12813950.8 (TAMPER RESISTANT
              PHARMACEUTICAL FORMULATIONS)

   60. 987    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #14/172,447 (TAMPER RESISTANT
              PHARMACEUTICAL FORMULATIONS)

   60. 988    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #14/670,651 (TAMPER RESISTANT
              PHARMACEUTICAL FORMULATIONS)

   60. 989    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #14/670,658 (TAMPER RESISTANT
              PHARMACEUTICAL FORMULATIONS)

   60. 990    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #14/670,662 (TAMPER RESISTANT
              PHARMACEUTICAL FORMULATIONS)

   60. 991    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
              FORMULATIONS (GRANTED) - APPLICATION
              #14/776,287 (TAMPER RESISTANT
              PHARMACEUTICAL FORMULATIONS)




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   60. 992     TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
               FORMULATIONS (GRANTED) - APPLICATION
               #15/484,777 (TAMPER RESISTANT
               PHARMACEUTICAL FORMULATIONS)

   60. 993     TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
               FORMULATIONS (GRANTED) - APPLICATION
               #2,849,355 (TAMPER RESISTANT
               PHARMACEUTICAL FORMULATIONS)

   60. 994     TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
               FORMULATIONS (GRANTED) - APPLICATION
               #2,900,960 (TAMPER RESISTANT
               PHARMACEUTICAL FORMULATIONS)

   60. 995     TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
               FORMULATIONS (GRANTED) - APPLICATION
               #2012310250 (TAMPER RESISTANT
               PHARMACEUTICAL FORMULATIONS)

   60. 996     TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
               FORMULATIONS (GRANTED) - APPLICATION
               #2014215478 (TAMPER RESISTANT
               PHARMACEUTICAL FORMULATIONS)

   60. 997     TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
               FORMULATIONS (GRANTED) - APPLICATION
               #2014227962 (TAMPER RESISTANT
               PHARMACEUTICAL FORMULATIONS)

   60. 998     TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
               FORMULATIONS (GRANTED) - APPLICATION
               #2014-530331 (TAMPER RESISTANT
               PHARMACEUTICAL FORMULATIONS)

   60. 999     TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
               FORMULATIONS (GRANTED) - APPLICATION
               #201480015265.7 (TAMPER RESISTANT
               PHARMACEUTICAL FORMULATIONS)

   60. 1000    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
               FORMULATIONS (GRANTED) - APPLICATION
               #2015-556230 (TAMPER RESISTANT
               PHARMACEUTICAL FORMULATIONS)

   60. 1001    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
               FORMULATIONS (GRANTED) - APPLICATION
               #MX/A/2014/003186 (TAMPER RESISTANT
               PHARMACEUTICAL FORMULATIONS)

   60. 1002    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
               FORMULATIONS (PUBLISHED) - APPLICATION
               #14/205,703 (TAMPER RESISTANT
               PHARMACEUTICAL FORMULATIONS)

   60. 1003    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
               FORMULATIONS (PUBLISHED) - APPLICATION
               #14/344,279 (TAMPER RESISTANT
               PHARMACEUTICAL FORMULATIONS)

   60. 1004    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
               FORMULATIONS (PUBLISHED) - APPLICATION
               #14749181.5 (TAMPER RESISTANT
               PHARMACEUTICAL FORMULATIONS)




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   60. 1005    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
               FORMULATIONS (PUBLISHED) - APPLICATION
               #16/234,732 (TAMPER RESISTANT
               PHARMACEUTICAL FORMULATIONS)

   60. 1006    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
               FORMULATIONS (PUBLISHED) - APPLICATION
               #16106263.9 (TAMPER RESISTANT
               PHARMACEUTICAL FORMULATIONS)

   60. 1007    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
               FORMULATIONS (PUBLISHED) - APPLICATION
               #201480007421.5 (TAMPER RESISTANT
               PHARMACEUTICAL FORMULATIONS)

   60. 1008    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
               FORMULATIONS (PUBLISHED) - APPLICATION
               #2016-502747 (TAMPER RESISTANT
               PHARMACEUTICAL FORMULATIONS)

   60. 1009    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
               FORMULATIONS (PUBLISHED) - APPLICATION
               #MX/A/2015/012589 (TAMPER RESISTANT
               PHARMACEUTICAL FORMULATIONS)

   60. 1010    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
               FORMULATIONS (PUBLISHED) - APPLICATION
               #PCT/IB2012/001914 (TAMPER RESISTANT
               PHARMACEUTICAL FORMULATIONS)

   60. 1011    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
               FORMULATIONS (PUBLISHED) - APPLICATION
               #PCT/US14/28260 (TAMPER RESISTANT
               PHARMACEUTICAL FORMULATIONS)

   60. 1012    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
               FORMULATIONS (PUBLISHED) - APPLICATION
               #PCT/US2014/014665 (TAMPER RESISTANT
               PHARMACEUTICAL FORMULATIONS)

   60. 1013    TAMPER RESISTANT PHARMACEUTICAL                                    N/A            UNDETERMINED
               FORMULATIONS (TO BE FILED) - APPLICATION
               #14765468.5 (TAMPER RESISTANT
               PHARMACEUTICAL FORMULATIONS)

   60. 1014    TAMPER RESISTANT SOLID ORAL DOSAGE                                 N/A            UNDETERMINED
               FORMS (APPLICATION) - APPLICATION #BR 11
               2013 015939 1 (TAMPER RESISTANT SOLID ORAL
               DOSAGE FORMS )

   60. 1015    TAMPER RESISTANT SOLID ORAL DOSAGE                                 N/A            UNDETERMINED
               FORMS (GRANTED) - APPLICATION #10-2013-
               7019322 (TAMPER RESISTANT SOLID ORAL
               DOSAGE FORMS )

   60. 1016    TAMPER RESISTANT SOLID ORAL DOSAGE                                 N/A            UNDETERMINED
               FORMS (GRANTED) - APPLICATION #11 813
               813.0 (TAMPER RESISTANT SOLID ORAL
               DOSAGE FORMS )

   60. 1017    TAMPER RESISTANT SOLID ORAL DOSAGE                                 N/A            UNDETERMINED
               FORMS (GRANTED) - APPLICATION #1-2013-
               501345 (TAMPER RESISTANT SOLID ORAL
               DOSAGE FORMS )




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   60. 1018    TAMPER RESISTANT SOLID ORAL DOSAGE                                   N/A            UNDETERMINED
               FORMS (GRANTED) - APPLICATION #14102773.3
               (TAMPER RESISTANT SOLID ORAL DOSAGE
               FORMS )

   60. 1019    TAMPER RESISTANT SOLID ORAL DOSAGE                                   N/A            UNDETERMINED
               FORMS (GRANTED) - APPLICATION #2,822,769
               (TAMPER RESISTANT SOLID ORAL DOSAGE
               FORMS )

   60. 1020    TAMPER RESISTANT SOLID ORAL DOSAGE                                   N/A            UNDETERMINED
               FORMS (GRANTED) - APPLICATION
               #2011346758 (TAMPER RESISTANT SOLID ORAL
               DOSAGE FORMS )

   60. 1021    TAMPER RESISTANT SOLID ORAL DOSAGE                                   N/A            UNDETERMINED
               FORMS (GRANTED) - APPLICATION #2013/5461
               (TAMPER RESISTANT SOLID ORAL DOSAGE
               FORMS )

   60. 1022    TAMPER RESISTANT SOLID ORAL DOSAGE                                   N/A            UNDETERMINED
               FORMS (GRANTED) - APPLICATION #2013-
               545525 (TAMPER RESISTANT SOLID ORAL
               DOSAGE FORMS )

   60. 1023    TAMPER RESISTANT SOLID ORAL DOSAGE                                   N/A            UNDETERMINED
               FORMS (GRANTED) - APPLICATION
               #502016000069289 (TAMPER RESISTANT SOLID
               ORAL DOSAGE FORMS )

   60. 1024    TAMPER RESISTANT SOLID ORAL DOSAGE                                   N/A            UNDETERMINED
               FORMS (GRANTED) - APPLICATION
               #602011025076 (TAMPER RESISTANT SOLID
               ORAL DOSAGE FORMS )

   60. 1025    TAMPER RESISTANT SOLID ORAL DOSAGE                                   N/A            UNDETERMINED
               FORMS (GRANTED) - APPLICATION #612996
               (TAMPER RESISTANT SOLID ORAL DOSAGE
               FORMS )

   60. 1026    TAMPER RESISTANT SOLID ORAL DOSAGE                                   N/A            UNDETERMINED
               FORMS (GRANTED) - APPLICATION #W-
               00201303407 (TAMPER RESISTANT SOLID ORAL
               DOSAGE FORMS )

   60. 1027    TAMPER RESISTANT SOLID ORAL DOSAGE                                   N/A            UNDETERMINED
               FORMS (PUBLISHED) - APPLICATION
               #201180061573.X (TAMPER RESISTANT SOLID
               ORAL DOSAGE FORMS )

   60. 1028    TAMPER RESISTANT SOLID ORAL DOSAGE                                   N/A            UNDETERMINED
               FORMS (PUBLISHED) - APPLICATION
               #5557/DELNP/2013 (TAMPER RESISTANT SOLID
               ORAL DOSAGE FORMS )

   60. 1029    TAMPER RESISTANT SOLID ORAL DOSAGE                                   N/A            UNDETERMINED
               FORMS (PUBLISHED) - APPLICATION
               #PCT/IB2011/003162 (TAMPER RESISTANT SOLID
               ORAL DOSAGE FORMS )

   60. 1030    TAMPER RESISTANT SOLID ORAL DOSAGE                                   N/A            UNDETERMINED
               FORMS (SPLIT RESISTANT ORAL)
               (PUBLISHED) - APPLICATION #201610862409.3
               (TAMPER RESISTANT SOLID ORAL DOSAGE
               FORMS (SPLIT RESISTANT ORAL))




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   60. 1031    TAMPER RESISTANT SOLID ORAL DOSAGE                                   N/A            UNDETERMINED
               FORMS (APPLICATION) - APPLICATION
               #16/395,330 (TAMPER RESISTANT SOLID ORAL
               DOSAGE FORMS)

   60. 1032    TAMPER RESISTANT SOLID ORAL DOSAGE                                   N/A            UNDETERMINED
               FORMS (GRANTED) - APPLICATION #13/997,560
               (TAMPER RESISTANT SOLID ORAL DOSAGE
               FORMS)

   60. 1033    TAMPER RESISTANT SOLID ORAL DOSAGE                                   N/A            UNDETERMINED
               FORMS (GRANTED) - APPLICATION #15/284,039
               (TAMPER RESISTANT SOLID ORAL DOSAGE
               FORMS)

   60. 1034    TAMPER RESISTANT TRANSDERMAL DOSAGE                                  N/A            UNDETERMINED
               FORM (GRANTED) - APPLICATION #10/835,535
               (TAMPER RESISTANT TRANSDERMAL DOSAGE
               FORM)

   60. 1035    TAMPER RESISTANT TRANSDERMAL DOSAGE                                  N/A            UNDETERMINED
               FORM (GRANTED) - APPLICATION #11/281,884
               (TAMPER RESISTANT TRANSDERMAL DOSAGE
               FORM)

   60. 1036    TAMPER RESITANT DOSAGE FORMS                                         N/A            UNDETERMINED
               (GRANTED) - APPLICATION #14/515,855 (UNITED
               STATES OF AMERICA)

   60. 1037    TAMPER RESITANT DOSAGE FORMS                                         N/A            UNDETERMINED
               (GRANTED) - APPLICATION #14/515,924 (UNITED
               STATES OF AMERICA)

   60. 1038    TAMPER RESITANT DOSAGE FORMS                                         N/A            UNDETERMINED
               (GRANTED) - APPLICATION #14/729,565 (UNITED
               STATES OF AMERICA)

   60. 1039    TAMPER RESITANT DOSAGE FORMS                                         N/A            UNDETERMINED
               (GRANTED) - APPLICATION #14/729,593 (UNITED
               STATES OF AMERICA)

   60. 1040    TAMPER RESITANT DOSAGE FORMS                                         N/A            UNDETERMINED
               (GRANTED) - APPLICATION #14/729,601 (UNITED
               STATES OF AMERICA)

   60. 1041    TAMPER RESITANT DOSAGE FORMS                                         N/A            UNDETERMINED
               (GRANTED) - APPLICATION #14/729,626 (UNITED
               STATES OF AMERICA)

   60. 1042    TAMPER RESITANT DOSAGE FORMS                                         N/A            UNDETERMINED
               (GRANTED) - APPLICATION #14/729,675 (UNITED
               STATES OF AMERICA)

   60. 1043    TAMPER RESITANT DOSAGE FORMS                                         N/A            UNDETERMINED
               (GRANTED) - APPLICATION #14/729,688 (UNITED
               STATES OF AMERICA)

   60. 1044    TAMPER RESITANT DOSAGE FORMS                                         N/A            UNDETERMINED
               (GRANTED) - APPLICATION #15/413,614 (UNITED
               STATES OF AMERICA)

   60. 1045    TAMPER RESITANT DOSAGE FORMS                                         N/A            UNDETERMINED
               (GRANTED) - APPLICATION #15/413,656 (UNITED
               STATES OF AMERICA)

   60. 1046    TAMPER RESITANT DOSAGE FORMS                                         N/A            UNDETERMINED
               (GRANTED) - APPLICATION #15/413,678 (UNITED
               STATES OF AMERICA)

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   60. 1047    TAMPER RESITANT DOSAGE FORMS                                         N/A            UNDETERMINED
               (GRANTED) - APPLICATION #15/515,921 (UNITED
               STATES OF AMERICA)

   60. 1048    TAMPER-RESISTANT ORAL OPIOID AGONIST                                 N/A            UNDETERMINED
               FORMULATIONS (GRANTED) - APPLICATION
               #09/781,081 (TAMPER-RESISTANT ORAL OPIOID
               AGONIST FORMULATIONS)

   60. 1049    TAMPER-RESISTANT ORAL OPIOID AGONIST                                 N/A            UNDETERMINED
               FORMULATIONS (GRANTED) - APPLICATION
               #10/689,866 (TAMPER-RESISTANT ORAL OPIOID
               AGONIST FORMULATIONS)

   60. 1050    TAMPER-RESISTANT ORAL OPIOID AGONIST                                 N/A            UNDETERMINED
               FORMULATIONS (GRANTED) - APPLICATION
               #10/700,861 (TAMPER-RESISTANT ORAL OPIOID
               AGONIST FORMULATIONS)

   60. 1051    TAMPER-RESISTANT ORAL OPIOID AGONIST                                 N/A            UNDETERMINED
               FORMULATIONS (GRANTED) - APPLICATION
               #10/700,893 (TAMPER-RESISTANT ORAL OPIOID
               AGONIST FORMULATIONS)

   60. 1052    TAMPER-RESISTANT ORAL OPIOID AGONIST                                 N/A            UNDETERMINED
               FORMULATIONS (GRANTED) - APPLICATION
               #10/700,906 (TAMPER-RESISTANT ORAL OPIOID
               AGONIST FORMULATIONS)

   60. 1053    TAMPER-RESISTANT ORAL OPIOID AGONIST                                 N/A            UNDETERMINED
               FORMULATIONS (GRANTED) - APPLICATION
               #10/701,041 (TAMPER-RESISTANT ORAL OPIOID
               AGONIST FORMULATIONS)

   60. 1054    TAMPER-RESISTANT ORAL OPIOID AGONIST                                 N/A            UNDETERMINED
               FORMULATIONS (GRANTED) - APPLICATION
               #12/909,614 (TAMPER-RESISTANT ORAL OPIOID
               AGONIST FORMULATIONS)

   60. 1055    TAMPER-RESISTANT ORAL OPIOID AGONIST                                 N/A            UNDETERMINED
               FORMULATIONS (GRANTED) - APPLICATION
               #13/544,333 (TAMPER-RESISTANT ORAL OPIOID
               AGONIST FORMULATIONS)

   60. 1056    TAMPER-RESISTANT ORAL OPIOID AGONIST                                 N/A            UNDETERMINED
               FORMULATIONS (GRANTED) - APPLICATION
               #13/718,879 (TAMPER-RESISTANT ORAL OPIOID
               AGONIST FORMULATIONS)

   60. 1057    TAMPER-RESISTANT ORAL OPIOID AGONIST                                 N/A            UNDETERMINED
               FORMULATIONS (GRANTED) - APPLICATION
               #14/045,961 (TAMPER-RESISTANT ORAL OPIOID
               AGONIST FORMULATIONS)

   60. 1058    TAMPER-RESISTANT ORAL OPIOID AGONIST                                 N/A            UNDETERMINED
               FORMULATIONS (GRANTED) - APPLICATION
               #14/565,904 (TAMPER-RESISTANT ORAL OPIOID
               AGONIST FORMULATIONS)

   60. 1059    TAMPER-RESISTANT ORAL OPIOID AGONIST                                 N/A            UNDETERMINED
               FORMULATIONS (GRANTED) - APPLICATION
               #14/665,670 (TAMPER-RESISTANT ORAL OPIOID
               AGONIST FORMULATIONS)

   60. 1060    TAMPER-RESISTANT ORAL OPIOID AGONIST                                 N/A            UNDETERMINED
               FORMULATIONS (GRANTED) - APPLICATION
               #2014-222704 (TAMPER-RESISTANT ORAL OPIOID
               AGONIST FORMULATIONS)

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   60. 1061    TAMPER-RESISTANT TRANSDERMAL DOSAGE                                N/A            UNDETERMINED
               FORM COMPRISING AN ACTIVE AGENT
               COMPONENT AND AN ADVERSE AGENT
               COMPONENT AT THE DISTAL SITE OF THE
               ACTIVE AGENT LAYER (GRANTED) -
               APPLICATION #04 751 268.6 (TAMPER-
               RESISTANT TRANSDERMAL DOSAGE FORM
               COMPRISING AN ACTIVE

   60. 1062    TAMPER-RESISTANT TRANSDERMAL DOSAGE                                N/A            UNDETERMINED
               FORM COMPRISING AN ACTIVE AGENT
               COMPONENT AND AN ADVERSE AGENT
               COMPONENT AT THE DISTAL SITE OF THE
               ACTIVE AGENT LAYER (GRANTED) -
               APPLICATION #2004235794 (TAMPER-RESISTANT
               TRANSDERMAL DOSAGE FORM COMPRISING AN
               ACTIVE AG

   60. 1063    TAMPER-RESISTANT TRANSDERMAL DOSAGE                                N/A            UNDETERMINED
               FORM COMPRISING AN ACTIVE AGENT
               COMPONENT AND AN ADVERSE AGENT
               COMPONENT AT THE DISTAL SITE OF THE
               ACTIVE AGENT LAYER (GRANTED) -
               APPLICATION #200480011691X (TAMPER-
               RESISTANT TRANSDERMAL DOSAGE FORM
               COMPRISING AN ACTIVE

   60. 1064    TAMPER-RESISTANT TRANSDERMAL DOSAGE                                N/A            UNDETERMINED
               FORM COMPRISING AN ACTIVE AGENT
               COMPONENT AND AN ADVERSE AGENT
               COMPONENT AT THE DISTAL SITE OF THE
               ACTIVE AGENT LAYER (GRANTED) -
               APPLICATION #2006514265 (TAMPER-RESISTANT
               TRANSDERMAL DOSAGE FORM COMPRISING AN
               ACTIVE AG

   60. 1065    TAMPER-RESISTANT TRANSDERMAL DOSAGE                                N/A            UNDETERMINED
               FORM COMPRISING AN ACTIVE AGENT
               COMPONENT AND AN ADVERSE AGENT
               COMPONENT AT THE DISTAL SITE OF THE
               ACTIVE AGENT LAYER (GRANTED) -
               APPLICATION #2522529 (TAMPER-RESISTANT
               TRANSDERMAL DOSAGE FORM COMPRISING AN
               ACTIVE AGENT

   60. 1066    TAMPER-RESISTANT TRANSDERMAL DOSAGE                                N/A            UNDETERMINED
               FORM COMPRISING AN ACTIVE AGENT
               COMPONENT AND AN ADVERSE AGENT
               COMPONENT AT THE DISTAL SITE OF THE
               ACTIVE AGENT LAYER (GRANTED) -
               APPLICATION #602004044588.6 (TAMPER-
               RESISTANT TRANSDERMAL DOSAGE FORM
               COMPRISING AN ACTIV

   60. 1067    TAMPER-RESISTANT TRANSDERMAL OPIOID                                N/A            UNDETERMINED
               DELIVERY DEVICES (PUBLISHED) - APPLICATION
               #PCT/US03/04999 (TAMPER-RESISTANT
               TRANSDERMAL OPIOID DELIVERY DEVICES)

   60. 1068    TERAZOSIN TRANSDERMAL DEVICE AND                                   N/A            UNDETERMINED
               METHODS (GRANTED) - APPLICATION
               #10/493,002 (TERAZOSIN TRANSDERMAL DEVICE
               AND METHODS)




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   60. 1069    TETRAHYDROPYRIDINYL AND                                             N/A            UNDETERMINED
               DIHYDROPYRROLYL COMPOUNDS AND THE USE
               THEREOF (GRANTED) - APPLICATION #13/056,839
               (TETRAHYDROPYRIDINYL AND
               DIHYDROPYRROLYL COMPOUNDS AND THE USE
               THEREOF)

   60. 1070    THERAPEUTIC AGENTS USEFUL FOR TREATING                              N/A            UNDETERMINED
               PAIN    TRPV1 - DOWNSTAIRS SP2 AND DI-OH
               HEAD GROUPS (PUBLISHED) - APPLICATION
               #PCT/US08/005329 (THERAPEUTIC AGENTS
               USEFUL FOR TREATING PAIN     TRPV1 -
               DOWNSTAIRS SP2 AND DI-OH HEAD GROUPS)

   60. 1071    THERAPEUTIC AGENTS USEFUL FOR TREATING                              N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #200905750
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN )

   60. 1072    THERAPEUTIC AGENTS USEFUL FOR TREATING                              N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #10/429,078
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

   60. 1073    THERAPEUTIC AGENTS USEFUL FOR TREATING                              N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #10/607,563
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

   60. 1074    THERAPEUTIC AGENTS USEFUL FOR TREATING                              N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #10/625,708
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

   60. 1075    THERAPEUTIC AGENTS USEFUL FOR TREATING                              N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #10/669,823
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

   60. 1076    THERAPEUTIC AGENTS USEFUL FOR TREATING                              N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #10/714,066
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

   60. 1077    THERAPEUTIC AGENTS USEFUL FOR TREATING                              N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #10/739,190
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

   60. 1078    THERAPEUTIC AGENTS USEFUL FOR TREATING                              N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #10/867,546
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

   60. 1079    THERAPEUTIC AGENTS USEFUL FOR TREATING                              N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #11/317,832
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

   60. 1080    THERAPEUTIC AGENTS USEFUL FOR TREATING                              N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #11/337,271
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

   60. 1081    THERAPEUTIC AGENTS USEFUL FOR TREATING                              N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #11/338,502
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

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   60. 1082    THERAPEUTIC AGENTS USEFUL FOR TREATING                            N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #11/344,937
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

   60. 1083    THERAPEUTIC AGENTS USEFUL FOR TREATING                            N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #11/368,133
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

   60. 1084    THERAPEUTIC AGENTS USEFUL FOR TREATING                            N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #11/386,058
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

   60. 1085    THERAPEUTIC AGENTS USEFUL FOR TREATING                            N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #11/387,073
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

   60. 1086    THERAPEUTIC AGENTS USEFUL FOR TREATING                            N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #11/478,462
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

   60. 1087    THERAPEUTIC AGENTS USEFUL FOR TREATING                            N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #11/601,792
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

   60. 1088    THERAPEUTIC AGENTS USEFUL FOR TREATING                            N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #11/729,660
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

   60. 1089    THERAPEUTIC AGENTS USEFUL FOR TREATING                            N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #11/893,916
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

   60. 1090    THERAPEUTIC AGENTS USEFUL FOR TREATING                            N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #11/899,379
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

   60. 1091    THERAPEUTIC AGENTS USEFUL FOR TREATING                            N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #12/240,688
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

   60. 1092    THERAPEUTIC AGENTS USEFUL FOR TREATING                            N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #12/499,480
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

   60. 1093    THERAPEUTIC AGENTS USEFUL FOR TREATING                            N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #12/506,040
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

   60. 1094    THERAPEUTIC AGENTS USEFUL FOR TREATING                            N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #12/615,510
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)




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   60. 1095    THERAPEUTIC AGENTS USEFUL FOR TREATING                            N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #12/706,571
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

   60. 1096    THERAPEUTIC AGENTS USEFUL FOR TREATING                            N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #12/715,825
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

   60. 1097    THERAPEUTIC AGENTS USEFUL FOR TREATING                            N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #12/786,043
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

   60. 1098    THERAPEUTIC AGENTS USEFUL FOR TREATING                            N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #12/817,773
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

   60. 1099    THERAPEUTIC AGENTS USEFUL FOR TREATING                            N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #12/840,936
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

   60. 1100    THERAPEUTIC AGENTS USEFUL FOR TREATING                            N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #12/846,689
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

   60. 1101    THERAPEUTIC AGENTS USEFUL FOR TREATING                            N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #12/886,901
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

   60. 1102    THERAPEUTIC AGENTS USEFUL FOR TREATING                            N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #13/158,267
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

   60. 1103    THERAPEUTIC AGENTS USEFUL FOR TREATING                            N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #13/205,323
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

   60. 1104    THERAPEUTIC AGENTS USEFUL FOR TREATING                            N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #13/212,941
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

   60. 1105    THERAPEUTIC AGENTS USEFUL FOR TREATING                            N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #14/099,738
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

   60. 1106    THERAPEUTIC AGENTS USEFUL FOR TREATING                            N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #14/108,729
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

   60. 1107    THERAPEUTIC AGENTS USEFUL FOR TREATING                            N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #2013-96806
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)




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   60. 1108    THERAPEUTIC AGENTS USEFUL FOR TREATING                             N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #2014-249728
               (THERAPEUTIC AGENTS USEFUL FOR TREATING
               PAIN)

   60. 1109    TITRATABLE DOSAGE TRANSDERMAL DELIVERY                             N/A            UNDETERMINED
               SYSTEM (GRANTED) - APPLICATION #09/714,604
               (TITRATABLE DOSAGE TRANSDERMAL DELIVERY
               SYSTEM)

   60. 1110    TITRATABLE DOSAGE TRANSDERMAL DELIVERY                             N/A            UNDETERMINED
               SYSTEM (GRANTED) - APPLICATION #12/894,512
               (TITRATABLE DOSAGE TRANSDERMAL DELIVERY
               SYSTEM)

   60. 1111    TITRATABLE DOSAGE TRANSDERMAL DELIVERY                             N/A            UNDETERMINED
               SYSTEM (GRANTED) - APPLICATION #14/309,569
               (TITRATABLE DOSAGE TRANSDERMAL DELIVERY
               SYSTEM)

   60. 1112    TITRATION DOSING REGIMEN FOR CONTROLLED                            N/A            UNDETERMINED
               RELEASE TRAMADOL (GRANTED) - APPLICATION
               #10/800,254 (TITRATION DOSING REGIMEN FOR
               CONTROLLED RELEASE TRAMADOL)

   60. 1113    TITRATION DOSING REGIMEN FOR CONTROLLED                            N/A            UNDETERMINED
               RELEASE TRAMADOL (GRANTED) - APPLICATION
               #12/193,329 (TITRATION DOSING REGIMEN FOR
               CONTROLLED RELEASE TRAMADOL)

   60. 1114    TITRATION DOSING REGIMEN FOR CONTROLLED-                           N/A            UNDETERMINED
               RELEASE TRAMADOL (APPLICATION) -
               APPLICATION #90/010,576 (TITRATION DOSING
               REGIMEN FOR CONTROLLED-RELEASE
               TRAMADOL)

   60. 1115    TRACE AMINE ASSOCIATED RECEPTOR 1                                  N/A            UNDETERMINED
               AGONISTS AND PARTIAL AGONISTS FOR PAIN
               TREATMENT (APPLICATION) - APPLICATION
               #16/306,305

   60. 1116    TRACE AMINE ASSOCIATED RECEPTOR 1                                  N/A            UNDETERMINED
               AGONISTS AND PARTIAL AGONISTS FOR PAIN
               TREATMENT (APPLICATION) - APPLICATION
               #2018-563465

   60. 1117    TRACE AMINE ASSOCIATED RECEPTOR 1                                  N/A            UNDETERMINED
               AGONISTS AND PARTIAL AGONISTS FOR PAIN
               TREATMENT (PUBLISHED) - APPLICATION #17
               807 608.9

   60. 1118    TRACE AMINE ASSOCIATED RECEPTOR 1                                  N/A            UNDETERMINED
               AGONISTS AND PARTIAL AGONISTS FOR PAIN
               TREATMENT (PUBLISHED) - APPLICATION
               #PCT/US2017/035776

   60. 1119    TRANSDERMAL BUPRENORPHINE TO TREAT                                 N/A            UNDETERMINED
               PAIN IN SICKLE CELL CRISIS (GRANTED) -
               APPLICATION #10/736,049 (TRANSDERMAL
               BUPRENORPHINE TO TREAT PAIN IN SICKLE
               CELL CRISIS)

   60. 1120    TRANSDERMAL BUPREORPHINE DOSAGE                                    N/A            UNDETERMINED
               REGIMEN FOR ANALGESIA (GRANTED) -
               APPLICATION #10/736,043 (TRANSDERMAL
               BUPREORPHINE DOSAGE REGIMEN FOR
               ANALGESIA)


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   60. 1121    TRANSDERMAL DELIVERY DEVICE DISPOSAL                                 N/A            UNDETERMINED
               SYSTEM (PUBLISHED) - APPLICATION
               #10/457,562 (TRANSDERMAL DELIVERY DEVICE
               DISPOSAL SYSTEM)

   60. 1122    TRANSDERMAL RESORPTION OF ACTIVE                                     N/A            UNDETERMINED
               SUBSTANCES FROM SUPERCOOLED MASSES
               (GRANTED) - APPLICATION #08/860,961 (UNITED
               STATES OF AMERICA)

   60. 1123    TRANSDERMAL THERAPEUTIC PLASTER                                      N/A            UNDETERMINED
               (GRANTED) - APPLICATION #08/531,890 (UNITED
               STATES OF AMERICA)

   60. 1124    TRANSDERMAL THERAPEUTIC SYSTEM                                       N/A            UNDETERMINED
               COMPRISING AS ACTIVE COMPONENT
               BUPRENORPHINE (GRANTED) - APPLICATION
               #07/951,030 (UNITED STATES OF AMERICA)

   60. 1125    TREATING AN ARRYTHMIA AND AN OPIOID                                  N/A            UNDETERMINED
               ANTAGONIST (GRANTED) - APPLICATION
               #14817395.8 (TREATING AN ARRYTHMIA AND AN
               OPIOID ANTAGONIST)

   60. 1126    TREATMENT AND PREVENTION OF SLEEP                                    N/A            UNDETERMINED
               DISORDERS (ALLOWED) - APPLICATION
               #106124940

   60. 1127    TREATMENT AND PREVENTION OF SLEEP                                    N/A            UNDETERMINED
               DISORDERS (APPLICATION) - APPLICATION
               #00190-2019

   60. 1128    TREATMENT AND PREVENTION OF SLEEP                                    N/A            UNDETERMINED
               DISORDERS (APPLICATION) - APPLICATION #10-
               2019-7004527

   60. 1129    TREATMENT AND PREVENTION OF SLEEP                                    N/A            UNDETERMINED
               DISORDERS (APPLICATION) - APPLICATION
               #11201900486W

   60. 1130    TREATMENT AND PREVENTION OF SLEEP                                    N/A            UNDETERMINED
               DISORDERS (APPLICATION) - APPLICATION #1-
               2019-00532

   60. 1131    TREATMENT AND PREVENTION OF SLEEP                                    N/A            UNDETERMINED
               DISORDERS (APPLICATION) - APPLICATION #1-
               2019-500177

   60. 1132    TREATMENT AND PREVENTION OF SLEEP                                    N/A            UNDETERMINED
               DISORDERS (APPLICATION) - APPLICATION
               #16/318,686

   60. 1133    TREATMENT AND PREVENTION OF SLEEP                                    N/A            UNDETERMINED
               DISORDERS (APPLICATION) - APPLICATION
               #1901000487

   60. 1134    TREATMENT AND PREVENTION OF SLEEP                                    N/A            UNDETERMINED
               DISORDERS (APPLICATION) - APPLICATION
               #2017304898

   60. 1135    TREATMENT AND PREVENTION OF SLEEP                                    N/A            UNDETERMINED
               DISORDERS (APPLICATION) - APPLICATION
               #2019/01055

   60. 1136    TREATMENT AND PREVENTION OF SLEEP                                    N/A            UNDETERMINED
               DISORDERS (APPLICATION) - APPLICATION
               #20190025



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   60. 1137    TREATMENT AND PREVENTION OF SLEEP                                  N/A            UNDETERMINED
               DISORDERS (APPLICATION) - APPLICATION
               #2019-503994

   60. 1138    TREATMENT AND PREVENTION OF SLEEP                                  N/A            UNDETERMINED
               DISORDERS (APPLICATION) - APPLICATION
               #2019-8

   60. 1139    TREATMENT AND PREVENTION OF SLEEP                                  N/A            UNDETERMINED
               DISORDERS (APPLICATION) - APPLICATION
               #201990365

   60. 1140    TREATMENT AND PREVENTION OF SLEEP                                  N/A            UNDETERMINED
               DISORDERS (APPLICATION) - APPLICATION
               #264294

   60. 1141    TREATMENT AND PREVENTION OF SLEEP                                  N/A            UNDETERMINED
               DISORDERS (APPLICATION) - APPLICATION
               #519400954

   60. 1142    TREATMENT AND PREVENTION OF SLEEP                                  N/A            UNDETERMINED
               DISORDERS (APPLICATION) - APPLICATION
               #62/536,097

   60. 1143    TREATMENT AND PREVENTION OF SLEEP                                  N/A            UNDETERMINED
               DISORDERS (APPLICATION) - APPLICATION
               #750817

   60. 1144    TREATMENT AND PREVENTION OF SLEEP                                  N/A            UNDETERMINED
               DISORDERS (APPLICATION) - APPLICATION
               #92518-01

   60. 1145    TREATMENT AND PREVENTION OF SLEEP                                  N/A            UNDETERMINED
               DISORDERS (APPLICATION) - APPLICATION #A
               2019 01552

   60. 1146    TREATMENT AND PREVENTION OF SLEEP                                  N/A            UNDETERMINED
               DISORDERS (APPLICATION) - APPLICATION
               #BR112019001457-8

   60. 1147    TREATMENT AND PREVENTION OF SLEEP                                  N/A            UNDETERMINED
               DISORDERS (APPLICATION) - APPLICATION
               #MX/A/2019/001036

   60. 1148    TREATMENT AND PREVENTION OF SLEEP                                  N/A            UNDETERMINED
               DISORDERS (APPLICATION) - APPLICATION
               #NG/PT/C/2019/3434

   60. 1149    TREATMENT AND PREVENTION OF SLEEP                                  N/A            UNDETERMINED
               DISORDERS (APPLICATION) - APPLICATION
               #P170102092

   60. 1150    TREATMENT AND PREVENTION OF SLEEP                                  N/A            UNDETERMINED
               DISORDERS (APPLICATION) - APPLICATION
               #P6000154/2019

   60. 1151    TREATMENT AND PREVENTION OF SLEEP                                  N/A            UNDETERMINED
               DISORDERS (APPLICATION) - APPLICATION #PCT
               107/2019

   60. 1152    TREATMENT AND PREVENTION OF SLEEP                                  N/A            UNDETERMINED
               DISORDERS (APPLICATION) - APPLICATION
               #PCT/22/2019

   60. 1153    TREATMENT AND PREVENTION OF SLEEP                                  N/A            UNDETERMINED
               DISORDERS (APPLICATION) - APPLICATION
               #PCT/IB2017/054506



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   60. 1154    TREATMENT AND PREVENTION OF SLEEP                                   N/A            UNDETERMINED
               DISORDERS (APPLICATION) - APPLICATION
               #PCT/JO/2019/8

   60. 1155    TREATMENT AND PREVENTION OF SLEEP                                   N/A            UNDETERMINED
               DISORDERS (APPLICATION) - APPLICATION #PI
               2019000442

   60. 1156    TREATMENT AND PREVENTION OF SLEEP                                   N/A            UNDETERMINED
               DISORDERS (APPLICATION) - APPLICATION
               #SENADI-2019-14247

   60. 1157    TREATMENT AND PREVENTION OF SLEEP                                   N/A            UNDETERMINED
               DISORDERS (APPLICATION) - APPLICATION
               #TN2019/0019

   60. 1158    TREATMENT AND PREVENTION OF SLEEP                                   N/A            UNDETERMINED
               DISORDERS (PUBLISHED) - APPLICATION
               #17758282.2

   60. 1159    TREATMENT AND PREVENTION OF SLEEP                                   N/A            UNDETERMINED
               DISORDERS (PUBLISHED) - APPLICATION
               #201780046414.X

   60. 1160    TREATMENT AND PREVENTION OF SLEEP                                   N/A            UNDETERMINED
               DISORDERS (PUBLISHED) - APPLICATION
               #PID201901449

   60. 1161    TREATMENT AND PREVENTION OF SLEEP                                   N/A            UNDETERMINED
               DISORDERS (TO BE FILED) - APPLICATION #

   60. 1162    TREATMENT OF BURN PAIN BY TRPV1                                     N/A            UNDETERMINED
               MODULATORS (GRANTED) - APPLICATION #14
               799 198.8 (TREATMENT OF BURN PAIN BY TRPV1
               MODULATORS)

   60. 1163    TREATMENT OF BURN PAIN BY TRPV1                                     N/A            UNDETERMINED
               MODULATORS (PUBLISHED) - APPLICATION
               #16/022,078 (TREATMENT OF BURN PAIN BY
               TRPV1 MODULATORS)

   60. 1164    TREATMENT OF BURN PAIN BY TRPV1                                     N/A            UNDETERMINED
               MODULATORS (PUBLISHED) - APPLICATION
               #PCT/IB2014/001932 (TREATMENT OF BURN PAIN
               BY TRPV1 MODULATORS)

   60. 1165    TREATMENT OF DEPENDENCE WITHDRAWAL                                  N/A            UNDETERMINED
               (GRANTED) - APPLICATION #10/566,121
               (TREATMENT OF DEPENDENCE WITHDRAWAL)

   60. 1166    TREATMENT OF DEPENDENCE WITHDRAWAL                                  N/A            UNDETERMINED
               (PUBLISHED) - APPLICATION #PCT/US04/24010
               (TREATMENT OF DEPENDENCE WITHDRAWAL)

   60. 1167    TRIAZASPIRO COMPOUNDS USEFUL FOR                                    N/A            UNDETERMINED
               TREATING OR PREVENTING PAIN (GRANTED) -
               APPLICATION #10/448,627 (TRIAZASPIRO
               COMPOUNDS USEFUL FOR TREATING OR
               PREVENTING PAIN)

   60. 1168    TRIAZASPIRO COMPOUNDS USEFUL FOR                                    N/A            UNDETERMINED
               TREATING OR PREVENTING PAIN (GRANTED) -
               APPLICATION #11/155,263 (TRIAZASPIRO
               COMPOUNDS USEFUL FOR TREATING OR
               PREVENTING PAIN)




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   60. 1169    TRIAZINE CARBOXAMIDES AS SODIUM CHANNEL                              N/A            UNDETERMINED
               BLOCKERS (GRANTED) - APPLICATION
               #14/191,269 (TRIAZINE CARBOXAMIDES AS
               SODIUM CHANNEL BLOCKERS)

   60. 1170    TRIAZINE CARBOXAMIDES AS SODIUM CHANNEL                              N/A            UNDETERMINED
               BLOCKERS (GRANTED) - APPLICATION
               #14/826,878 (TRIAZINE CARBOXAMIDES AS
               SODIUM CHANNEL BLOCKERS)

   60. 1171    TRPV 1 ANTAGONISTS INCLUDING DIHYDROXY                               N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #2014/0419 (TRPV 1 ANTAGONISTS
               INCLUDING DIHYDROXY SUBSTITUENT AND
               USES THEREOF)

   60. 1172    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (GRANTED) - APPLICATION #20002012 (TRPV1
               ANTAGONISTS AND USES THEREOF        )

   60. 1173    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (GRANTED) - APPLICATION #121985261 (TRPV1
               ANTAGONISTS AND USES THEREOF        )

   60. 1174    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (GRANTED) - APPLICATION #2,685,266 (TRPV1
               ANTAGONISTS AND USES THEREOF         )

   60. 1175    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (GRANTED) - APPLICATION #2,833,209 (TRPV1
               ANTAGONISTS AND USES THEREOF         )

   60. 1176    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (GRANTED) - APPLICATION #200810688 (TRPV1
               ANTAGONISTS AND USES THEREOF        )

   60. 1177    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (GRANTED) - APPLICATION #2008243874 (TRPV1
               ANTAGONISTS AND USES THEREOF       )

   60. 1178    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (GRANTED) - APPLICATION #2009/011600 (TRPV1
               ANTAGONISTS AND USES THEREOF       )

   60. 1179    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (GRANTED) - APPLICATION #2012202687 (TRPV1
               ANTAGONISTS AND USES THEREOF       )

   60. 1180    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (GRANTED) - APPLICATION #60 2008 043 408.7
               (TRPV1 ANTAGONISTS AND USES THEREOF        )

   60. 1181    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (GRANTED) - APPLICATION #7072008 (TRPV1
               ANTAGONISTS AND USES THEREOF       )

   60. 1182    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (APPLICATION) - APPLICATION #9732009 (TRPV1
               ANTAGONISTS AND USES THEREOF )

   60. 1183    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (GRANTED) - APPLICATION #10106687.3 (TRPV1
               ANTAGONISTS AND USES THEREOF )

   60. 1184    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (GRANTED) - APPLICATION #12013500848 (TRPV1
               ANTAGONISTS AND USES THEREOF )



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   60. 1185    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (GRANTED) - APPLICATION #201688 (TRPV1
               ANTAGONISTS AND USES THEREOF )

   60. 1186    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (APPLICATION) - APPLICATION #31050 (TRPV1
               ANTAGONISTS AND USES THEREOF )

   60. 1187    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (APPLICATION) - APPLICATION #PI0809795-0
               (TRPV1 ANTAGONISTS AND USES THEREOF         )

   60. 1188    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (GRANTED) - APPLICATION #13111641.5 (TRPV1
               ANTAGONISTS AND USES THEREOF )

   60. 1189    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (GRANTED) - APPLICATION #2008800138349
               (TRPV1 ANTAGONISTS AND USES THEREOF         )

   60. 1190    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (PUBLISHED) - APPLICATION #11890/DELNP/2015
               (TRPV1 ANTAGONISTS AND USES THEREOF )

   60. 1191    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (PUBLISHED) - APPLICATION #P15 01 03470
               (TRPV1 ANTAGONISTS AND USES THEREOF         )

   60. 1192    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (PUBLISHED) - APPLICATION #PCT/IB08/001069
               (TRPV1 ANTAGONISTS AND USES THEREOF )

   60. 1193    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (ALLOWED) - APPLICATION #444/2008 (TRPV1
               ANTAGONISTS AND USES THEREOF )

   60. 1194    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (ALLOWED) - APPLICATION #692/2016 (TRPV1
               ANTAGONISTS AND USES THEREOF )

   60. 1195    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (ALLOWED) - APPLICATION #MX/A/2014/002572
               (TRPV1 ANTAGONISTS AND USES THEREOF )

   60. 1196    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (APPLICATION) - APPLICATION #2008/23916
               (TRPV1 ANTAGONISTS AND USES THEREOF )

   60. 1197    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (APPLICATION) - APPLICATION #77908 77908
               (TRPV1 ANTAGONISTS AND USES THEREOF )

   60. 1198    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (GRANTED) - APPLICATION #580266 (TRPV1
               ANTAGONISTS AND USES THEREOF )

   60. 1199    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (GRANTED) - APPLICATION #AXXXXXXXX (TRPV1
               ANTAGONISTS AND USES THEREOF )

   60. 1200    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (GRANTED) - APPLICATION #W00200903294
               (TRPV1 ANTAGONISTS AND USES THEREOF )

   60. 1201    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (GRANTED) - APPLICATION #2,756,791 (TRPV1
               ANTAGONISTS AND USES THEREOF )



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   60. 1202    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (GRANTED) - APPLICATION #200906996 (TRPV1
               ANTAGONISTS AND USES THEREOF )

   60. 1203    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (GRANTED) - APPLICATION #9130337 (TRPV1
               ANTAGONISTS AND USES THEREOF )

   60. 1204    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (GRANTED) - APPLICATION #NG/C/2009/586A
               (TRPV1 ANTAGONISTS AND USES THEREOF )

   60. 1205    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (GRANTED) - APPLICATION #PI20094480 (TRPV1
               ANTAGONISTS AND USES THEREOF )

   60. 1206    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (PUBLISHED) - APPLICATION #13111640.6 (TRPV1
               ANTAGONISTS AND USES THEREOF )

   60. 1207    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (APPLICATION) - APPLICATION #1569/2009
               (TRPV1 ANTAGONISTS AND USES THEREOF )

   60. 1208    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (GRANTED) - APPLICATION #08737573.9 (TRPV1
               ANTAGONISTS AND USES THEREOF )

   60. 1209    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (GRANTED) - APPLICATION #087375739 (TRPV1
               ANTAGONISTS AND USES THEREOF )

   60. 1210    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (GRANTED) - APPLICATION #12172008 (TRPV1
               ANTAGONISTS AND USES THEREOF )

   60. 1211    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (GRANTED) - APPLICATION #2010-504895 (TRPV1
               ANTAGONISTS AND USES THEREOF )

   60. 1212    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (GRANTED) - APPLICATION #2011226773 (TRPV1
               ANTAGONISTS AND USES THEREOF )

   60. 1213    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (GRANTED) - APPLICATION #502014902245503
               (TRPV1 ANTAGONISTS AND USES THEREOF )

   60. 1214    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (GRANTED) - APPLICATION #602008029508.7
               (TRPV1 ANTAGONISTS AND USES THEREOF )

   60. 1215    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (GRANTED) - APPLICATION #AL-P-2014-65 (TRPV1
               ANTAGONISTS AND USES THEREOF )

   60. 1216    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (GRANTED) - APPLICATION #E 646576 (TRPV1
               ANTAGONISTS AND USES THEREOF )

   60. 1217    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (GRANTED) - APPLICATION #E01374 (TRPV1
               ANTAGONISTS AND USES THEREOF )

   60. 1218    TRPV1 ANTAGONISTS AND USES THEREOF                                   N/A            UNDETERMINED
               (GRANTED) - APPLICATION #EPR467/2142529
               (TRPV1 ANTAGONISTS AND USES THEREOF )



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   60. 1219    TRPV1 ANTAGONISTS AND USES THEREOF                                  N/A            UNDETERMINED
               (GRANTED) - APPLICATION #P-128/14 (TRPV1
               ANTAGONISTS AND USES THEREOF )

   60. 1220    TRPV1 ANTAGONISTS AND USES THEREOF                                  N/A            UNDETERMINED
               (GRANTED) - APPLICATION #P-200831162 (TRPV1
               ANTAGONISTS AND USES THEREOF )

   60. 1221    TRPV1 ANTAGONISTS AND USES THEREOF                                  N/A            UNDETERMINED
               (GRANTED) - APPLICATION #P-2014/108 (TRPV1
               ANTAGONISTS AND USES THEREOF )

   60. 1222    TRPV1 ANTAGONISTS AND USES THEREOF                                  N/A            UNDETERMINED
               (GRANTED) - APPLICATION #P20140279 (TRPV1
               ANTAGONISTS AND USES THEREOF )

   60. 1223    TRPV1 ANTAGONISTS AND USES THEREOF                                  N/A            UNDETERMINED
               (GRANTED) - APPLICATION #TR 2014/03397
               (TRPV1 ANTAGONISTS AND USES THEREOF )

   60. 1224    TRPV1 ANTAGONISTS AND USES THEREOF                                  N/A            UNDETERMINED
               (PUBLISHED) - APPLICATION #0801002111
               (TRPV1 ANTAGONISTS AND USES THEREOF )

   60. 1225    TRPV1 ANTAGONISTS AND USES THEREOF                                  N/A            UNDETERMINED
               (PUBLISHED) - APPLICATION #P080101756
               (TRPV1 ANTAGONISTS AND USES THEREOF )

   60. 1226    TRPV1 ANTAGONISTS AND USES THEREOF                                  N/A            UNDETERMINED
               (GRANTED) - APPLICATION #12009502034 (TRPV1
               ANTAGONISTS AND USES THEREOF)

   60. 1227    TRPV1 ANTAGONISTS AND USES THEREOF                                  N/A            UNDETERMINED
               (GRANTED) - APPLICATION #2009143763 (TRPV1
               ANTAGONISTS AND USES THEREOF)

   60. 1228    TRPV1 ANTAGONISTS AND USES THEREOF                                  N/A            UNDETERMINED
               (GRANTED) - APPLICATION #2012039046 (TRPV1
               ANTAGONISTS AND USES THEREOF)

   60. 1229    TRPV1 ANTAGONISTS AND USES THEREOF                                  N/A            UNDETERMINED
               (GRANTED) - APPLICATION #6544/DELNP/2009
               (TRPV1 ANTAGONISTS AND USES THEREOF)

   60. 1230    TRPV1 ANTAGONISTS AND USES THEREOF                                  N/A            UNDETERMINED
               (GRANTED) - APPLICATION #97115334 (TRPV1
               ANTAGONISTS AND USES THEREOF)

   60. 1231    TRPV1 ANTAGONISTS AND USES THEREOF                                  N/A            UNDETERMINED
               (GRANTED) - APPLICATION #KE/P/2009/00983
               (TRPV1 ANTAGONISTS AND USES THEREOF)

   60. 1232    TRPV1 ANTAGONISTS AND                                               N/A            UNDETERMINED
               PHARMACEUTICAL COMPOSITION
               CONTAINING THE SAME (GRANTED) -
               APPLICATION #1200902326 (TRPV1
               ANTAGONISTS AND
               PHARMACEUTICAL COMPOSITION
               CONTAINING THE SAME)

   60. 1233    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                               N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (ALLOWED) -
               APPLICATION #1-2013-502412 (TRPV1
               ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)




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   60. 1234    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                               N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (ALLOWED) -
               APPLICATION #15/455,427 (TRPV1 ANTAGONISTS
               INCLUDING DIHYDROXY SUBSTITUENT AND
               USES THEREOF)

   60. 1235    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                               N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (ALLOWED) -
               APPLICATION #15/864,750 (TRPV1 ANTAGONISTS
               INCLUDING DIHYDROXY SUBSTITUENT AND
               USES THEREOF)

   60. 1236    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                               N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF
               (APPLICATION) - APPLICATION #10201605163P
               (TRPV1 ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)

   60. 1237    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                               N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF
               (APPLICATION) - APPLICATION #201222404
               (TRPV1 ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)

   60. 1238    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                               N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF
               (APPLICATION) - APPLICATION #PI 2013004319
               (TRPV1 ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)

   60. 1239    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                               N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #12/110,155 (TRPV1 ANTAGONISTS
               INCLUDING DIHYDROXY SUBSTITUENT AND
               USES THEREOF)

   60. 1240    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                               N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #1-2014-00202 (TRPV1
               ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)

   60. 1241    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                               N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #12735333.2 (TRPV1
               ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)

   60. 1242    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                               N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #13/852,913 (TRPV1 ANTAGONISTS
               INCLUDING DIHYDROXY SUBSTITUENT AND
               USES THEREOF)

   60. 1243    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                               N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #14/127,903 (TRPV1 ANTAGONISTS
               INCLUDING DIHYDROXY SUBSTITUENT AND
               USES THEREOF)

   60. 1244    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                               N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #14/237,848 (TRPV1 ANTAGONISTS
               INCLUDING DIHYDROXY SUBSTITUENT AND
               USES THEREOF)




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   60. 1245    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                              N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #14/498,724 (TRPV1 ANTAGONISTS
               INCLUDING DIHYDROXY SUBSTITUENT AND
               USES THEREOF)

   60. 1246    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                              N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #15.196.500 (TRPV1 ANTAGONISTS
               INCLUDING DIHYDROXY SUBSTITUENT AND
               USES THEREOF)

   60. 1247    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                              N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #15/018,493 (TRPV1 ANTAGONISTS
               INCLUDING DIHYDROXY SUBSTITUENT AND
               USES THEREOF)

   60. 1248    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                              N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #15/179,612 (TRPV1 ANTAGONISTS
               INCLUDING DIHYDROXY SUBSTITUENT AND
               USES THEREOF)

   60. 1249    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                              N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #15/212,065 (TRPV1 ANTAGONISTS
               INCLUDING DIHYDROXY SUBSTITUENT AND
               USES THEREOF)

   60. 1250    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                              N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #17151827.7 (TRPV1
               ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)

   60. 1251    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                              N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #2014101255 (TRPV1
               ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)

   60. 1252    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                              N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #20170401021 (TRPV1
               ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)

   60. 1253    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                              N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #502017000030395 (TRPV1
               ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)

   60. 1254    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                              N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #618912 (TRPV1 ANTAGONISTS
               INCLUDING DIHYDROXY SUBSTITUENT AND
               USES THEREOF)

   60. 1255    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                              N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #AL-P-2017-122 (TRPV1
               ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)




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   60. 1256    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                              N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #CY20171100406 (TRPV1
               ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)

   60. 1257    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                              N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #E013429 (TRPV1 ANTAGONISTS
               INCLUDING DIHYDROXY SUBSTITUENT AND
               USES THEREOF)

   60. 1258    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                              N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #E031372 (TRPV1 ANTAGONISTS
               INCLUDING DIHYDROXY SUBSTITUENT AND
               USES THEREOF)

   60. 1259    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                              N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #KE/P/2013/001976 (TRPV1
               ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)

   60. 1260    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                              N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #P 2012 3 0927 (TRPV1
               ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)

   60. 1261    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                              N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #P-182/2017 (TRPV1
               ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)

   60. 1262    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                              N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #P-2017/218 (TRPV1 ANTAGONISTS
               INCLUDING DIHYDROXY SUBSTITUENT AND
               USES THEREOF)

   60. 1263    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                              N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #P20170507A (TRPV1
               ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)

   60. 1264    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                              N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #P-44/2017 (TRPV1 ANTAGONISTS
               INCLUDING DIHYDROXY SUBSTITUENT AND
               USES THEREOF)

   60. 1265    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                              N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #P-E02324 (TRPV1 ANTAGONISTS
               INCLUDING DIHYDROXY SUBSTITUENT AND
               USES THEREOF)

   60. 1266    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                              N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #SM-T-201700197 (TRPV1
               ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)




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   60. 1267    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                                N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF
               (PUBLISHED) - APPLICATION #11302/DELNP/2013
               (TRPV1 ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)

   60. 1268    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                                N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF
               (PUBLISHED) - APPLICATION #122312 (TRPV1
               ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)

   60. 1269    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                                N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF
               (PUBLISHED) - APPLICATION #1301007209
               (TRPV1 ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)

   60. 1270    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                                N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF
               (PUBLISHED) - APPLICATION #PCT/IB2012/001575
               (TRPV1 ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)

   60. 1271    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                                N/A            UNDETERMINED
               SUBSTITUENT
               AND USES THEREOF (GRANTED) - APPLICATION
               #12735333.2 (TRPV1 ANTAGONISTS INCLUDING
               DIHYDROXY SUBSTITUENT
               AND USES THEREOF)

   60. 1272    TRPV1 ANTAGONISTS INCLUDING DIHYDROXY                                N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #A 2014 00582 (TRPV1
               ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)

   60. 1273    TRPVI ANTAGONISTS INCLUDING DIHYDROXY                                N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF
               (APPLICATION) - APPLICATION #130812 (TRPVI
               ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)

   60. 1274    TRPVI ANTAGONISTS INCLUDING DIHYDROXY                                N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF
               (APPLICATION) - APPLICATION #PCT 1950/2013
               (TRPVI ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)

   60. 1275    TRPVI ANTAGONISTS INCLUDING DIHYDROXY                                N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #101122212 (TRPVI ANTAGONISTS
               INCLUDING DIHYDROXY SUBSTITUENT AND
               USES THEREOF)

   60. 1276    TRPVI ANTAGONISTS INCLUDING DIHYDROXY                                N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #10-2014-7001352 (TRPVI
               ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)

   60. 1277    TRPVI ANTAGONISTS INCLUDING DIHYDROXY                                N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #12735333.2 (TRPVI ANTAGONISTS
               INCLUDING DIHYDROXY SUBSTITUENT AND
               USES THEREOF)



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   60. 1278    TRPVI ANTAGONISTS INCLUDING DIHYDROXY                                N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #14-009926 (TRPVI ANTAGONISTS
               INCLUDING DIHYDROXY SUBSTITUENT AND
               USES THEREOF)

   60. 1279    TRPVI ANTAGONISTS INCLUDING DIHYDROXY                                N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #16 742 (TRPVI ANTAGONISTS
               INCLUDING DIHYDROXY SUBSTITUENT AND
               USES THEREOF)

   60. 1280    TRPVI ANTAGONISTS INCLUDING DIHYDROXY                                N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #2,837,178 (TRPVI ANTAGONISTS
               INCLUDING DIHYDROXY SUBSTITUENT AND
               USES THEREOF)

   60. 1281    TRPVI ANTAGONISTS INCLUDING DIHYDROXY                                N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #2012273652 (TRPVI
               ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)

   60. 1282    TRPVI ANTAGONISTS INCLUDING DIHYDROXY                                N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #201280030744.7 (TRPVI
               ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)

   60. 1283    TRPVI ANTAGONISTS INCLUDING DIHYDROXY                                N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #201308694-7 (TRPVI
               ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)

   60. 1284    TRPVI ANTAGONISTS INCLUDING DIHYDROXY                                N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #2014-516457 (TRPVI
               ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)

   60. 1285    TRPVI ANTAGONISTS INCLUDING DIHYDROXY                                N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #229817 (TRPVI ANTAGONISTS
               INCLUDING DIHYDROXY SUBSTITUENT AND
               USES THEREOF)

   60. 1286    TRPVI ANTAGONISTS INCLUDING DIHYDROXY                                N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #MX/A/2014/000344 (TRPVI
               ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)

   60. 1287    TRPVI ANTAGONISTS INCLUDING DIHYDROXY                                N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF (GRANTED) -
               APPLICATION #NG/C/2013/819 (TRPVI
               ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)

   60. 1288    TRPVI ANTAGONISTS INCLUDING DIHYDROXY                                N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF
               (PUBLISHED) - APPLICATION #2013-03550 (TRPVI
               ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)




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   60. 1289    TRPVI ANTAGONISTS INCLUDING DIHYDROXY                                  N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF
               (PUBLISHED) - APPLICATION #201610029932.8
               (TRPVI ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)

   60. 1290    TRPVI ANTAGONISTS INCLUDING DIHYDROXY                                  N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF
               (PUBLISHED) - APPLICATION #BR 11 2013 032658-
               1 (TRPVI ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)

   60. 1291    TRPVI ANTAGONISTS INCLUDING DIHYDROXY                                  N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF
               (PUBLISHED) - APPLICATION #P120102226 (TRPVI
               ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)

   60. 1292    TRPVI ANTAGONISTS INCLUDING DIHYDROXY                                  N/A            UNDETERMINED
               SUBSTITUENT AND USES THEREOF
               (PUBLISHED) - APPLICATION #PCT/IB2012/001252
               (TRPVI ANTAGONISTS INCLUDING DIHYDROXY
               SUBSTITUENT AND USES THEREOF)

   60. 1293    USE OF BINDERS FOR MANUFACTURING                                       N/A            UNDETERMINED
               STORAGE STABLE FORMULATIONS
               (PUBLISHED) - APPLICATION #14/968,620

   60. 1294    USE OF OPIOID FORMULATIONS IN NEEDLE-                                  N/A            UNDETERMINED
               LESS DRUG DELIVERY DEVICES (GRANTED) -
               APPLICATION #12/439,386

   60. 1295    USE OF OXYCODONE FOR TREATING VISCERAL                                 N/A            UNDETERMINED
               PAIN (GRANTED) - APPLICATION #14/515,216
               (USE OF OXYCODONE FOR TREATING VISCERAL
               PAIN)

61. Internet domain names and websites

   61. 1       ABACUSFO.COM                                                         UNKNOWN          UNDETERMINED

   61. 2       ABECB.COM                                                            UNKNOWN          UNDETERMINED

   61. 3       ABOUTINTERMEZZO.COM                                                  UNKNOWN          UNDETERMINED

   61. 4       ACCESSIRD.COM                                                        UNKNOWN          UNDETERMINED

   61. 5       ACCESSIRD.INFO                                                       UNKNOWN          UNDETERMINED

   61. 6       ACCESSIRD.NET                                                        UNKNOWN          UNDETERMINED

   61. 7       ACCESSIRD.ORG                                                        UNKNOWN          UNDETERMINED

   61. 8       ACORNFOUNDATION.COM                                                  UNKNOWN          UNDETERMINED

   61. 9       ACROCONTIN.COM                                                       UNKNOWN          UNDETERMINED

   61. 10      ACROCONTIN.INFO                                                      UNKNOWN          UNDETERMINED

   61. 11      ADDHANSIA.COM                                                        UNKNOWN          UNDETERMINED

   61. 12      ADDHANSIAHCP.COM                                                     UNKNOWN          UNDETERMINED

   61. 13      ADDHANSIAPRO.COM                                                     UNKNOWN          UNDETERMINED

   61. 14      ADDHANSIAXRHCP.COM                                                   UNKNOWN          UNDETERMINED

   61. 15      ADDHANSIAXRPRO.COM                                                   UNKNOWN          UNDETERMINED

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   61. 16    ADHANSIA.BIZ                                                        UNKNOWN          UNDETERMINED

   61. 17    ADHANSIA.COM                                                        UNKNOWN          UNDETERMINED

   61. 18    ADHANSIA.INFO                                                       UNKNOWN          UNDETERMINED

   61. 19    ADHANSIA.NET                                                        UNKNOWN          UNDETERMINED

   61. 20    ADHANSIA.ORG                                                        UNKNOWN          UNDETERMINED

   61. 21    ADHANSIAATTORNEY.COM                                                UNKNOWN          UNDETERMINED

   61. 22    ADHANSIAER.COM                                                      UNKNOWN          UNDETERMINED

   61. 23    ADHANSIA-ER.COM                                                     UNKNOWN          UNDETERMINED

   61. 24    ADHANSIAERHCP.COM                                                   UNKNOWN          UNDETERMINED

   61. 25    ADHANSIA-ERHCP.COM                                                  UNKNOWN          UNDETERMINED

   61. 26    ADHANSIAER-HCP.COM                                                  UNKNOWN          UNDETERMINED

   61. 27    ADHANSIA-ERPRO.COM                                                  UNKNOWN          UNDETERMINED

   61. 28    ADHANSIAHCP.COM                                                     UNKNOWN          UNDETERMINED

   61. 29    ADHANSIAJUNKIE.COM                                                  UNKNOWN          UNDETERMINED

   61. 30    ADHANSIAKILLS.COM                                                   UNKNOWN          UNDETERMINED

   61. 31    ADHANSIA-LAWSUITS.COM                                               UNKNOWN          UNDETERMINED

   61. 32    ADHANSIALAWYERS.COM                                                 UNKNOWN          UNDETERMINED

   61. 33    ADHANSIAPATIENT.COM                                                 UNKNOWN          UNDETERMINED

   61. 34    ADHANSIAPRO.COM                                                     UNKNOWN          UNDETERMINED

   61. 35    ADHANSIAR.COM                                                       UNKNOWN          UNDETERMINED

   61. 36    ADHANSIASETTLEMENT.COM                                              UNKNOWN          UNDETERMINED

   61. 37    ADHANSIAX.COM                                                       UNKNOWN          UNDETERMINED

   61. 38    ADHANSIA-X.COM                                                      UNKNOWN          UNDETERMINED

   61. 39    ADHANSIAXR.BIZ                                                      UNKNOWN          UNDETERMINED

   61. 40    ADHANSIA-XR.BIZ                                                     UNKNOWN          UNDETERMINED

   61. 41    ADHANSIAXR.COM                                                      UNKNOWN          UNDETERMINED

   61. 42    ADHANSIA-XR.COM                                                     UNKNOWN          UNDETERMINED

   61. 43    ADHANSIAXR.INFO                                                     UNKNOWN          UNDETERMINED

   61. 44    ADHANSIA-XR.INFO                                                    UNKNOWN          UNDETERMINED

   61. 45    ADHANSIAXR.NET                                                      UNKNOWN          UNDETERMINED

   61. 46    ADHANSIA-XR.NET                                                     UNKNOWN          UNDETERMINED

   61. 47    ADHANSIAXR.ORG                                                      UNKNOWN          UNDETERMINED

   61. 48    ADHANSIA-XR.ORG                                                     UNKNOWN          UNDETERMINED

   61. 49    ADHANSIAXRATTORNEY.COM                                              UNKNOWN          UNDETERMINED


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   61. 50    ADHANSIAXRDOSING.COM                                                UNKNOWN          UNDETERMINED

   61. 51    ADHANSIAXREARLYEXPERIENCE.COM                                       UNKNOWN          UNDETERMINED

   61. 52    ADHANSIAXRHCP.COM                                                   UNKNOWN          UNDETERMINED

   61. 53    ADHANSIAXR-HCP.COM                                                  UNKNOWN          UNDETERMINED

   61. 54    ADHANSIAXRJUNKIE.COM                                                UNKNOWN          UNDETERMINED

   61. 55    ADHANSIAXRKILLS.COM                                                 UNKNOWN          UNDETERMINED

   61. 56    ADHANSIAXRLAWSUITS.COM                                              UNKNOWN          UNDETERMINED

   61. 57    ADHANSIAXRLAWYERS.COM                                               UNKNOWN          UNDETERMINED

   61. 58    ADHANSIAXR-MPH.COM                                                  UNKNOWN          UNDETERMINED

   61. 59    ADHANSIAXR-PATIENT.COM                                              UNKNOWN          UNDETERMINED

   61. 60    ADHANSIAXRPRO.COM                                                   UNKNOWN          UNDETERMINED

   61. 61    ADHANSIAXR-PRO.COM                                                  UNKNOWN          UNDETERMINED

   61. 62    ADHANSIAXRRESPONSIBLEUSE.COM                                        UNKNOWN          UNDETERMINED

   61. 63    ADHANSIAXRS.COM                                                     UNKNOWN          UNDETERMINED

   61. 64    ADHANSIAXRSAVINGS.COM                                               UNKNOWN          UNDETERMINED

   61. 65    ADHANSIAXRSETTLEMENT.COM                                            UNKNOWN          UNDETERMINED

   61. 66    ADHD-XR-HCP.COM                                                     UNKNOWN          UNDETERMINED

   61. 67    ADLONBIO.BIZ                                                        UNKNOWN          UNDETERMINED

   61. 68    ADLONBIO.COM                                                        UNKNOWN          UNDETERMINED

   61. 69    ADLONBIO.INFO                                                       UNKNOWN          UNDETERMINED

   61. 70    ADLONBIO.NET                                                        UNKNOWN          UNDETERMINED

   61. 71    ADLONBIO.ORG                                                        UNKNOWN          UNDETERMINED

   61. 72    ADLONBIO.US                                                         UNKNOWN          UNDETERMINED

   61. 73    ADLONPHARMA.BIZ                                                     UNKNOWN          UNDETERMINED

   61. 74    ADLONPHARMA.CO.UK                                                   UNKNOWN          UNDETERMINED

   61. 75    ADLONPHARMA.COM                                                     UNKNOWN          UNDETERMINED

   61. 76    ADLONPHARMA.INFO                                                    UNKNOWN          UNDETERMINED

   61. 77    ADLONPHARMA.NET                                                     UNKNOWN          UNDETERMINED

   61. 78    ADLONPHARMA.ORG                                                     UNKNOWN          UNDETERMINED

   61. 79    ADLONPHARMA.US                                                      UNKNOWN          UNDETERMINED

   61. 80    ADLONTHERA.COM                                                      UNKNOWN          UNDETERMINED

   61. 81    ADLONTHERA.INFO                                                     UNKNOWN          UNDETERMINED

   61. 82    ADLONTHERA.NET                                                      UNKNOWN          UNDETERMINED

   61. 83    ADLONTHERA.ORG                                                      UNKNOWN          UNDETERMINED


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   61. 84     ADLONTHERA.US                                                       UNKNOWN          UNDETERMINED

   61. 85     ADLONTHERAPEUTICS.BIZ                                               UNKNOWN          UNDETERMINED

   61. 86     ADLONTHERAPEUTICS.CO.UK                                             UNKNOWN          UNDETERMINED

   61. 87     ADLONTHERAPEUTICS.COM                                               UNKNOWN          UNDETERMINED

   61. 88     ADLONTHERAPEUTICS.INFO                                              UNKNOWN          UNDETERMINED

   61. 89     ADLONTHERAPEUTICS.NET                                               UNKNOWN          UNDETERMINED

   61. 90     ADLONTHERAPEUTICS.ORG                                               UNKNOWN          UNDETERMINED

   61. 91     ADLONTHERAPEUTICS.US                                                UNKNOWN          UNDETERMINED

   61. 92     AECEB.COM                                                           UNKNOWN          UNDETERMINED

   61. 93     AEROPIOIDREMS.COM                                                   UNKNOWN          UNDETERMINED

   61. 94     AEROPIOIDREMSINFO.COM                                               UNKNOWN          UNDETERMINED

   61. 95     ALTUSFO.COM                                                         UNKNOWN          UNDETERMINED

   61. 96     AMNP.ORG                                                            UNKNOWN          UNDETERMINED

   61. 97     ANSIAXR.COM                                                         UNKNOWN          UNDETERMINED

   61. 98     AOPIOIDREMS.COM                                                     UNKNOWN          UNDETERMINED

   61. 99     AOPIOIDREMSINFO.COM                                                 UNKNOWN          UNDETERMINED

   61. 100    APMN.ORG                                                            UNKNOWN          UNDETERMINED

   61. 101    ASKADLONMEDICAL.COM                                                 UNKNOWN          UNDETERMINED

   61. 102    ASKCHARLENE.COM                                                     UNKNOWN          UNDETERMINED

   61. 103    ASKMEDICALSERVICES.COM                                              UNKNOWN          UNDETERMINED

   61. 104    ASKMEDICALSERVICES.NET                                              UNKNOWN          UNDETERMINED

   61. 105    ASKPURDUEMEDICAL.COM                                                UNKNOWN          UNDETERMINED

   61. 106    ASKTHEPAINDOCTOR.COM                                                UNKNOWN          UNDETERMINED

   61. 107    ASSOCCO.COM                                                         UNKNOWN          UNDETERMINED

   61. 108    ASSOCCO.NET                                                         UNKNOWN          UNDETERMINED

   61. 109    ASSOCCO.ORG                                                         UNKNOWN          UNDETERMINED

   61. 110    BETADINE.BIZ                                                        UNKNOWN          UNDETERMINED

   61. 111    BETADINE.COM                                                        UNKNOWN          UNDETERMINED

   61. 112    BETADINE.COM.MX                                                     UNKNOWN          UNDETERMINED

   61. 113    BETADINE.MX                                                         UNKNOWN          UNDETERMINED

   61. 114    BETADINE.NET                                                        UNKNOWN          UNDETERMINED

   61. 115    BETADINE.ORG                                                        UNKNOWN          UNDETERMINED

   61. 116    BETADINE.US                                                         UNKNOWN          UNDETERMINED

   61. 117    BETASEPT.BIZ                                                        UNKNOWN          UNDETERMINED


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   61. 118    BETASEPT.COM                                                       UNKNOWN          UNDETERMINED

   61. 119    BETASEPT.INFO                                                      UNKNOWN          UNDETERMINED

   61. 120    BETASEPT.NET                                                       UNKNOWN          UNDETERMINED

   61. 121    BETASEPT.ORG                                                       UNKNOWN          UNDETERMINED

   61. 122    BETASEPT.US                                                        UNKNOWN          UNDETERMINED

   61. 123    BUPRENORPHINE.BIZ                                                  UNKNOWN          UNDETERMINED

   61. 124    BUPRENORPHINE.COM                                                  UNKNOWN          UNDETERMINED

   61. 125    BUPRENORPHINE.INFO                                                 UNKNOWN          UNDETERMINED

   61. 126    BUTRANS.BIZ                                                        UNKNOWN          UNDETERMINED

   61. 127    BUTRANS.COM                                                        UNKNOWN          UNDETERMINED

   61. 128    BUTRANS.COM.MX                                                     UNKNOWN          UNDETERMINED

   61. 129    BUTRANS.HEALTHCARE                                                 UNKNOWN          UNDETERMINED

   61. 130    BUTRANS.INFO                                                       UNKNOWN          UNDETERMINED

   61. 131    BUTRANS.MOBI                                                       UNKNOWN          UNDETERMINED

   61. 132    BUTRANS.MX                                                         UNKNOWN          UNDETERMINED

   61. 133    BUTRANS.NET                                                        UNKNOWN          UNDETERMINED

   61. 134    BUTRANS.ORG                                                        UNKNOWN          UNDETERMINED

   61. 135    BUTRANS.US                                                         UNKNOWN          UNDETERMINED

   61. 136    BUTRANSEXPERIENCE.COM                                              UNKNOWN          UNDETERMINED

   61. 137    BUTRANSREMS.BIZ                                                    UNKNOWN          UNDETERMINED

   61. 138    BUTRANSREMS.COM                                                    UNKNOWN          UNDETERMINED

   61. 139    BUTRANSREMS.INFO                                                   UNKNOWN          UNDETERMINED

   61. 140    BUTRANSREMS.NET                                                    UNKNOWN          UNDETERMINED

   61. 141    BUTRANSREMS.ORG                                                    UNKNOWN          UNDETERMINED

   61. 142    BUYOXYCONTIN.ORG                                                   UNKNOWN          UNDETERMINED

   61. 143    BUY-OXYCONTIN.ORG                                                  UNKNOWN          UNDETERMINED

   61. 144    BUYOXYCONTIN.US                                                    UNKNOWN          UNDETERMINED

   61. 145    BUY-OXYCONTIN.US                                                   UNKNOWN          UNDETERMINED

   61. 146    BUYOXYCONTINONLINE.US                                              UNKNOWN          UNDETERMINED

   61. 147    CELEBRATEREGULAR.COM                                               UNKNOWN          UNDETERMINED

   61. 148    CHEAPOXYCONTIN.US                                                  UNKNOWN          UNDETERMINED

   61. 149    CHRONIC-PAIN-INFO.COM                                              UNKNOWN          UNDETERMINED

   61. 150    CHRONICPAINMANAGEMENTRX.COM                                        UNKNOWN          UNDETERMINED

   61. 151    CHRONICPAINOPIOID.COM                                              UNKNOWN          UNDETERMINED


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   61. 152    CLEANHANDSSAVELIVES.COM                                             UNKNOWN          UNDETERMINED

   61. 153    COLACE.BIZ                                                          UNKNOWN          UNDETERMINED

   61. 154    COLACE.COM.MX                                                       UNKNOWN          UNDETERMINED

   61. 155    COLACE.INFO                                                         UNKNOWN          UNDETERMINED

   61. 156    COLACE.MX                                                           UNKNOWN          UNDETERMINED

   61. 157    COLACE.ORG                                                          UNKNOWN          UNDETERMINED

   61. 158    COLACE.US                                                           UNKNOWN          UNDETERMINED

   61. 159    COLACECAPSULES.BIZ                                                  UNKNOWN          UNDETERMINED

   61. 160    COLACECAPSULES.COM                                                  UNKNOWN          UNDETERMINED

   61. 161    COLACECAPSULES.INFO                                                 UNKNOWN          UNDETERMINED

   61. 162    COLACECAPSULES.NET                                                  UNKNOWN          UNDETERMINED

   61. 163    COLACECAPSULES.ORG                                                  UNKNOWN          UNDETERMINED

   61. 164    COLACECAPSULES.US                                                   UNKNOWN          UNDETERMINED

   61. 165    COLACECOMFORT.COM                                                   UNKNOWN          UNDETERMINED

   61. 166    COLACELIGHT.COM                                                     UNKNOWN          UNDETERMINED

   61. 167    COLACE-PC.COM                                                       UNKNOWN          UNDETERMINED

   61. 168    COLACE-PC.NET                                                       UNKNOWN          UNDETERMINED

   61. 169    COLACE-PC.ORG                                                       UNKNOWN          UNDETERMINED

   61. 170    COLACESPA.COM                                                       UNKNOWN          UNDETERMINED

   61. 171    CONSTIPATIONANSWERCENTER.COM                                        UNKNOWN          UNDETERMINED

   61. 172    CONSTIPATIONCREW.US                                                 UNKNOWN          UNDETERMINED

   61. 173    CONTIN.BIZ                                                          UNKNOWN          UNDETERMINED

   61. 174    CONTIN.COM                                                          UNKNOWN          UNDETERMINED

   61. 175    CONTIN.NET                                                          UNKNOWN          UNDETERMINED

   61. 176    CONTIN.ORG                                                          UNKNOWN          UNDETERMINED

   61. 177    CONTIN.US                                                           UNKNOWN          UNDETERMINED

   61. 178    CSPURE.COM                                                          UNKNOWN          UNDETERMINED

   61. 179    CS-PURE.COM                                                         UNKNOWN          UNDETERMINED

   61. 180    CSPURE.NET                                                          UNKNOWN          UNDETERMINED

   61. 181    CS-PURE.NET                                                         UNKNOWN          UNDETERMINED

   61. 182    CSPURE.ORG                                                          UNKNOWN          UNDETERMINED

   61. 183    CS-PURE.ORG                                                         UNKNOWN          UNDETERMINED

   61. 184    DHC-CONTINUS.COM                                                    UNKNOWN          UNDETERMINED

   61. 185    DILAUDID.BIZ                                                        UNKNOWN          UNDETERMINED


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   61. 186    DILAUDID.INFO                                                       UNKNOWN          UNDETERMINED

   61. 187    DILAUDID.ORG                                                        UNKNOWN          UNDETERMINED

   61. 188    DILAUDID.US                                                         UNKNOWN          UNDETERMINED

   61. 189    DILAUDIDCR.BIZ                                                      UNKNOWN          UNDETERMINED

   61. 190    DILAUDIDCR.COM                                                      UNKNOWN          UNDETERMINED

   61. 191    DILAUDIDCR.US                                                       UNKNOWN          UNDETERMINED

   61. 192    DILAUDID-HP.BIZ                                                     UNKNOWN          UNDETERMINED

   61. 193    DILAUDID-HP.COM.MX                                                  UNKNOWN          UNDETERMINED

   61. 194    DILAUDID-HP.INFO                                                    UNKNOWN          UNDETERMINED

   61. 195    DILAUDID-HP.MX                                                      UNKNOWN          UNDETERMINED

   61. 196    DILAUDIDHP.US                                                       UNKNOWN          UNDETERMINED

   61. 197    DILAUDIDSR.BIZ                                                      UNKNOWN          UNDETERMINED

   61. 198    DILIGIX.BIZ                                                         UNKNOWN          UNDETERMINED

   61. 199    DILIGIX.INFO                                                        UNKNOWN          UNDETERMINED

   61. 200    DILIGIX.NET                                                         UNKNOWN          UNDETERMINED

   61. 201    DILIGIX.ORG                                                         UNKNOWN          UNDETERMINED

   61. 202    DILUADID.COM.MX                                                     UNKNOWN          UNDETERMINED

   61. 203    DILUADID.MX                                                         UNKNOWN          UNDETERMINED

   61. 204    DOLIHYD.US                                                          UNKNOWN          UNDETERMINED

   61. 205    DRSACKLER.COM                                                       UNKNOWN          UNDETERMINED

   61. 206    DURHYDA.US                                                          UNKNOWN          UNDETERMINED

   61. 207    EADHANSIAXR.COM                                                     UNKNOWN          UNDETERMINED

   61. 208    ENCASIX.BIZ                                                         UNKNOWN          UNDETERMINED

   61. 209    ENCASIX.COM                                                         UNKNOWN          UNDETERMINED

   61. 210    ENCASIX.INFO                                                        UNKNOWN          UNDETERMINED

   61. 211    ENCASIX.NET                                                         UNKNOWN          UNDETERMINED

   61. 212    ENCASIX.ORG                                                         UNKNOWN          UNDETERMINED

   61. 213    E-PHARMADETAILING.INFO                                              UNKNOWN          UNDETERMINED

   61. 214    E-PHARMASALES.COM                                                   UNKNOWN          UNDETERMINED

   61. 215    E-PHARMASALES.INFO                                                  UNKNOWN          UNDETERMINED

   61. 216    ERLAOPIOIDREMS.COM                                                  UNKNOWN          UNDETERMINED

   61. 217    ER-LA-OPIOIDREMS.COM                                                UNKNOWN          UNDETERMINED

   61. 218    EXTENDEDRELEASEOPIOID.COM                                           UNKNOWN          UNDETERMINED

   61. 219    FACTORY201.COM                                                      UNKNOWN          UNDETERMINED


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   61. 220    FACTORY201.INFO                                                    UNKNOWN          UNDETERMINED

   61. 221    FACTORY201.NET                                                     UNKNOWN          UNDETERMINED

   61. 222    FACTORY201.ORG                                                     UNKNOWN          UNDETERMINED

   61. 223    FALLBACKASLEEP.COM                                                 UNKNOWN          UNDETERMINED

   61. 224    FORMULARYCOVERAGE.COM                                              UNKNOWN          UNDETERMINED

   61. 225    GENTLAX.NET                                                        UNKNOWN          UNDETERMINED

   61. 226    GENTLAX.ORG                                                        UNKNOWN          UNDETERMINED

   61. 227    GETCONSTIPATIONRELIEF.COM                                          UNKNOWN          UNDETERMINED

   61. 228    GINGERCARE.US                                                      UNKNOWN          UNDETERMINED

   61. 229    GREENFIELD-BIO.COM                                                 UNKNOWN          UNDETERMINED

   61. 230    GREENFIELDBV.BIZ                                                   UNKNOWN          UNDETERMINED

   61. 231    GREENFIELDBV.COM                                                   UNKNOWN          UNDETERMINED

   61. 232    GREENFIELDBV.INFO                                                  UNKNOWN          UNDETERMINED

   61. 233    GREENFIELDBV.NET                                                   UNKNOWN          UNDETERMINED

   61. 234    GREENFIELDBV.ORG                                                   UNKNOWN          UNDETERMINED

   61. 235    GREENFIELDBV.US                                                    UNKNOWN          UNDETERMINED

   61. 236    HCPROGRAMS.COM                                                     UNKNOWN          UNDETERMINED

   61. 237    HELPDETEROPIOIDABUSE.COM                                           UNKNOWN          UNDETERMINED

   61. 238    HELPMYPAIN.COM                                                     UNKNOWN          UNDETERMINED

   61. 239    HELPMYPAIN.INFO                                                    UNKNOWN          UNDETERMINED

   61. 240    HELPMYPAIN.NET                                                     UNKNOWN          UNDETERMINED

   61. 241    HELPMYPAIN.ORG                                                     UNKNOWN          UNDETERMINED

   61. 242    HYDOLA.US                                                          UNKNOWN          UNDETERMINED

   61. 243    HYDOLRA.INFO                                                       UNKNOWN          UNDETERMINED

   61. 244    HYDOLRA.US                                                         UNKNOWN          UNDETERMINED

   61. 245    HYDROCODONE.BIZ                                                    UNKNOWN          UNDETERMINED

   61. 246    HYDROCODONE.COM                                                    UNKNOWN          UNDETERMINED

   61. 247    HYDROCODONE.INFO                                                   UNKNOWN          UNDETERMINED

   61. 248    HYDROCONTIN.BIZ                                                    UNKNOWN          UNDETERMINED

   61. 249    HYDROCONTIN.COM                                                    UNKNOWN          UNDETERMINED

   61. 250    HYDROCONTIN.INFO                                                   UNKNOWN          UNDETERMINED

   61. 251    HYDROCONTIN.US                                                     UNKNOWN          UNDETERMINED

   61. 252    HYDROCONTINER.BIZ                                                  UNKNOWN          UNDETERMINED

   61. 253    HYDROCONTIN-ER.BIZ                                                 UNKNOWN          UNDETERMINED


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   61. 254    HYDROCONTINER.COM                                                   UNKNOWN          UNDETERMINED

   61. 255    HYDROCONTIN-ER.COM                                                  UNKNOWN          UNDETERMINED

   61. 256    HYDROCONTINER.INFO                                                  UNKNOWN          UNDETERMINED

   61. 257    HYDROCONTIN-ER.INFO                                                 UNKNOWN          UNDETERMINED

   61. 258    HYDROCONTINER.NET                                                   UNKNOWN          UNDETERMINED

   61. 259    HYDROCONTIN-ER.NET                                                  UNKNOWN          UNDETERMINED

   61. 260    HYDROCONTINER.ORG                                                   UNKNOWN          UNDETERMINED

   61. 261    HYDROCONTIN-ER.ORG                                                  UNKNOWN          UNDETERMINED

   61. 262    HYDROCONTINER.US                                                    UNKNOWN          UNDETERMINED

   61. 263    HYDROCONTIN-ER.US                                                   UNKNOWN          UNDETERMINED

   61. 264    HYDROMORPHONE.BIZ                                                   UNKNOWN          UNDETERMINED

   61. 265    HYDROMORPHONE.COM                                                   UNKNOWN          UNDETERMINED

   61. 266    HYDROMORPHONE.INFO                                                  UNKNOWN          UNDETERMINED

   61. 267    HYDURIM.US                                                          UNKNOWN          UNDETERMINED

   61. 268    HYJORA.US                                                           UNKNOWN          UNDETERMINED

   61. 269    HYSINGLA.BIZ                                                        UNKNOWN          UNDETERMINED

   61. 270    HYSINGLA.COM                                                        UNKNOWN          UNDETERMINED

   61. 271    HYSINGLA.HEALTHCARE                                                 UNKNOWN          UNDETERMINED

   61. 272    HYSINGLA.INFO                                                       UNKNOWN          UNDETERMINED

   61. 273    HYSINGLA.NET                                                        UNKNOWN          UNDETERMINED

   61. 274    HYSINGLA.ORG                                                        UNKNOWN          UNDETERMINED

   61. 275    HYSINGLA.US                                                         UNKNOWN          UNDETERMINED

   61. 276    HYSINGLAER.BIZ                                                      UNKNOWN          UNDETERMINED

   61. 277    HYSINGLA-ER.BIZ                                                     UNKNOWN          UNDETERMINED

   61. 278    HYSINGLAER.COM                                                      UNKNOWN          UNDETERMINED

   61. 279    HYSINGLA-ER.COM                                                     UNKNOWN          UNDETERMINED

   61. 280    HYSINGLAER.HEALTHCARE                                               UNKNOWN          UNDETERMINED

   61. 281    HYSINGLAER.INFO                                                     UNKNOWN          UNDETERMINED

   61. 282    HYSINGLA-ER.INFO                                                    UNKNOWN          UNDETERMINED

   61. 283    HYSINGLAER.NET                                                      UNKNOWN          UNDETERMINED

   61. 284    HYSINGLA-ER.NET                                                     UNKNOWN          UNDETERMINED

   61. 285    HYSINGLAEREXPERIENCE.COM                                            UNKNOWN          UNDETERMINED

   61. 286    HYSINGLAEREXPERIENCEPROGRAM.COM                                     UNKNOWN          UNDETERMINED

   61. 287    HYTINUUM.US                                                         UNKNOWN          UNDETERMINED


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   61. 288    HYTRUXA.US                                                          UNKNOWN          UNDETERMINED

   61. 289    HYTRUZA.US                                                          UNKNOWN          UNDETERMINED

   61. 290    IACNETWORK.COM                                                      UNKNOWN          UNDETERMINED

   61. 291    IDENTIFYINSOMNIA.COM                                                UNKNOWN          UNDETERMINED

   61. 292    IMBRIUMPHARMA.COM                                                   UNKNOWN          UNDETERMINED

   61. 293    IMBRIUMTX.INFO                                                      UNKNOWN          UNDETERMINED

   61. 294    IMBRIUMTX.NET                                                       UNKNOWN          UNDETERMINED

   61. 295    IMBRIUMTX.ORG                                                       UNKNOWN          UNDETERMINED

   61. 296    INNOVATIVEPHARMACEUTICALS.COM                                       UNKNOWN          UNDETERMINED

   61. 297    INSOMNIAIDENTIFIED.COM                                              UNKNOWN          UNDETERMINED

   61. 298    INSOMNIAUNCOVERED.COM                                               UNKNOWN          UNDETERMINED

   61. 299    INTEGRITYHELPLINE.NET                                               UNKNOWN          UNDETERMINED

   61. 300    INTERMEZZOLOZENGE.COM                                               UNKNOWN          UNDETERMINED

   61. 301    INTERMEZZORX.COM                                                    UNKNOWN          UNDETERMINED

   61. 302    INTERMEZZORX.MOBI                                                   UNKNOWN          UNDETERMINED

   61. 303    INTERMEZZOSLEEP.COM                                                 UNKNOWN          UNDETERMINED

   61. 304    INTERMEZZOTABLETS.COM                                               UNKNOWN          UNDETERMINED

   61. 305    INTERMEZZOTABLETS.INFO                                              UNKNOWN          UNDETERMINED

   61. 306    INTERMEZZOTABLETS.NET                                               UNKNOWN          UNDETERMINED

   61. 307    INTERMEZZOTABS.COM                                                  UNKNOWN          UNDETERMINED

   61. 308    INTERMEZZOTABS.INFO                                                 UNKNOWN          UNDETERMINED

   61. 309    INTERMEZZOTABS.NET                                                  UNKNOWN          UNDETERMINED

   61. 310    INTERMEZZOTABS.ORG                                                  UNKNOWN          UNDETERMINED

   61. 311    INTERMEZZOUS.COM                                                    UNKNOWN          UNDETERMINED

   61. 312    INTERMEZZO-US.COM                                                   UNKNOWN          UNDETERMINED

   61. 313    INTERMEZZOUSA.COM                                                   UNKNOWN          UNDETERMINED

   61. 314    INTERMEZZO-USA.COM                                                  UNKNOWN          UNDETERMINED

   61. 315    INTHEFACEOFPAIN.BIZ                                                 UNKNOWN          UNDETERMINED

   61. 316    INTHEFACEOFPAIN.COM                                                 UNKNOWN          UNDETERMINED

   61. 317    INTHEFACEOFPAIN.COM.MX                                              UNKNOWN          UNDETERMINED

   61. 318    INTHEFACEOFPAIN.INFO                                                UNKNOWN          UNDETERMINED

   61. 319    INTHEFACEOFPAIN.MX                                                  UNKNOWN          UNDETERMINED

   61. 320    INTHEFACEOFPAIN.NET                                                 UNKNOWN          UNDETERMINED

   61. 321    INTHEFACEOFPAIN.ORG                                                 UNKNOWN          UNDETERMINED


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   61. 322    INTHEFACEOFPAIN.US                                                  UNKNOWN          UNDETERMINED

   61. 323    ITFOP.COM                                                           UNKNOWN          UNDETERMINED

   61. 324    JUNIPERBIOINVEST.BIZ                                                UNKNOWN          UNDETERMINED

   61. 325    JUNIPERBIOINVEST.COM                                                UNKNOWN          UNDETERMINED

   61. 326    JUNIPERBIOINVEST.INFO                                               UNKNOWN          UNDETERMINED

   61. 327    JUNIPERBIOINVEST.NET                                                UNKNOWN          UNDETERMINED

   61. 328    JUNIPERBIOINVEST.ORG                                                UNKNOWN          UNDETERMINED

   61. 329    JUNIPERBIOINVEST.US                                                 UNKNOWN          UNDETERMINED

   61. 330    KRUGGMAN.US                                                         UNKNOWN          UNDETERMINED

   61. 331    LAFENDRA.COM                                                        UNKNOWN          UNDETERMINED

   61. 332    LAFENDRA.INFO                                                       UNKNOWN          UNDETERMINED

   61. 333    LAFENDRA.NET                                                        UNKNOWN          UNDETERMINED

   61. 334    LAFENDRA.ORG                                                        UNKNOWN          UNDETERMINED

   61. 335    LAFENDRA.US                                                         UNKNOWN          UNDETERMINED

   61. 336    MEADOWLARKFO.COM                                                    UNKNOWN          UNDETERMINED

   61. 337    MED-EDUCATE.INFO                                                    UNKNOWN          UNDETERMINED

   61. 338    MGINFOCENTER.COM                                                    UNKNOWN          UNDETERMINED

   61. 339    MGINFOCENTER.NET                                                    UNKNOWN          UNDETERMINED

   61. 340    MGINFOCENTER.ORG                                                    UNKNOWN          UNDETERMINED

   61. 341    MIDDLEOFTHENIGHTAWAKENING.COM                                       UNKNOWN          UNDETERMINED

   61. 342    MIDDLE-OF-THE-NIGHT-AWAKENING.COM                                   UNKNOWN          UNDETERMINED

   61. 343    MIDDLEOFTHENIGHTAWAKENINGS.COM                                      UNKNOWN          UNDETERMINED

   61. 344    MIDDLE-OF-THE-NIGHT-AWAKENINGS.COM                                  UNKNOWN          UNDETERMINED

   61. 345    MIDDLEOFTHENIGHTINSOMNIA.COM                                        UNKNOWN          UNDETERMINED

   61. 346    MITSGLOBAL.COM                                                      UNKNOWN          UNDETERMINED

   61. 347    MORPHINE.BIZ                                                        UNKNOWN          UNDETERMINED

   61. 348    MOTN-AWAKENING.COM                                                  UNKNOWN          UNDETERMINED

   61. 349    MOTN-AWAKENINGS.COM                                                 UNKNOWN          UNDETERMINED

   61. 350    MOTNINSOMNIA.COM                                                    UNKNOWN          UNDETERMINED

   61. 351    MOTNINSOMNIA.ORG                                                    UNKNOWN          UNDETERMINED

   61. 352    MSCONTIN.BIZ                                                        UNKNOWN          UNDETERMINED

   61. 353    MS-CONTIN.BIZ                                                       UNKNOWN          UNDETERMINED

   61. 354    MSCONTIN.COM                                                        UNKNOWN          UNDETERMINED

   61. 355    MS-CONTIN.COM                                                       UNKNOWN          UNDETERMINED


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   61. 356    MSCONTIN.COM.MX                                                     UNKNOWN          UNDETERMINED

   61. 357    MSCONTIN.INFO                                                       UNKNOWN          UNDETERMINED

   61. 358    MS-CONTIN.INFO                                                      UNKNOWN          UNDETERMINED

   61. 359    MSCONTIN.MX                                                         UNKNOWN          UNDETERMINED

   61. 360    MSCONTIN.NET                                                        UNKNOWN          UNDETERMINED

   61. 361    MS-CONTIN.NET                                                       UNKNOWN          UNDETERMINED

   61. 362    MSCONTIN.ORG                                                        UNKNOWN          UNDETERMINED

   61. 363    MS-CONTIN.ORG                                                       UNKNOWN          UNDETERMINED

   61. 364    MSCONTIN.US                                                         UNKNOWN          UNDETERMINED

   61. 365    MS-CONTIN.US                                                        UNKNOWN          UNDETERMINED

   61. 366    MSIR.COM                                                            UNKNOWN          UNDETERMINED

   61. 367    MSIR.INFO                                                           UNKNOWN          UNDETERMINED

   61. 368    MSIR.US                                                             UNKNOWN          UNDETERMINED

   61. 369    MST-CONTINUS.COM                                                    UNKNOWN          UNDETERMINED

   61. 370    MST-CONTINUS.NET                                                    UNKNOWN          UNDETERMINED

   61. 371    MST-CONTINUS.ORG                                                    UNKNOWN          UNDETERMINED

   61. 372    MUNDIPHARMA.US                                                      UNKNOWN          UNDETERMINED

   61. 373    MYADHANSIALAWSUIT.COM                                               UNKNOWN          UNDETERMINED

   61. 374    MYADHANSIAXRLAWSUIT.COM                                             UNKNOWN          UNDETERMINED

   61. 375    MYINTERMEZZO.COM                                                    UNKNOWN          UNDETERMINED

   61. 376    MYINTERMEZZORX.COM                                                  UNKNOWN          UNDETERMINED

   61. 377    MY-PAIN.COM                                                         UNKNOWN          UNDETERMINED

   61. 378    MY-PAIN.ORG                                                         UNKNOWN          UNDETERMINED

   61. 379    NATURAL-LAXATIVE.COM                                                UNKNOWN          UNDETERMINED

   61. 380    NAYATTCOVE.BIZ                                                      UNKNOWN          UNDETERMINED

   61. 381    NAYATTCOVE.COM                                                      UNKNOWN          UNDETERMINED

   61. 382    NAYATTCOVE.INFO                                                     UNKNOWN          UNDETERMINED

   61. 383    NAYATTCOVE.NET                                                      UNKNOWN          UNDETERMINED

   61. 384    NAYATTCOVE.ORG                                                      UNKNOWN          UNDETERMINED

   61. 385    NAYATTCOVELIFESCIENCE.BIZ                                           UNKNOWN          UNDETERMINED

   61. 386    NAYATTCOVELIFESCIENCE.COM                                           UNKNOWN          UNDETERMINED

   61. 387    NAYATTCOVELIFESCIENCE.INFO                                          UNKNOWN          UNDETERMINED

   61. 388    NAYATTCOVELIFESCIENCE.NET                                           UNKNOWN          UNDETERMINED

   61. 389    NAYATTCOVELIFESCIENCE.ORG                                           UNKNOWN          UNDETERMINED


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   61. 390    NAYATTCOVELIFESCIENCE.US                                            UNKNOWN          UNDETERMINED

   61. 391    NAYATTPOINTLIFESCIENCE.BIZ                                          UNKNOWN          UNDETERMINED

   61. 392    NAYATTPOINTLIFESCIENCE.COM                                          UNKNOWN          UNDETERMINED

   61. 393    NAYATTPOINTLIFESCIENCE.INFO                                         UNKNOWN          UNDETERMINED

   61. 394    NAYATTPOINTLIFESCIENCE.NET                                          UNKNOWN          UNDETERMINED

   61. 395    NAYATTPOINTLIFESCIENCE.ORG                                          UNKNOWN          UNDETERMINED

   61. 396    NAYATTPOINTLIFESCIENCE.US                                           UNKNOWN          UNDETERMINED

   61. 397    NEUROSEE.COM                                                        UNKNOWN          UNDETERMINED

   61. 398    NORSPAN.BIZ                                                         UNKNOWN          UNDETERMINED

   61. 399    NORSPAN.COM                                                         UNKNOWN          UNDETERMINED

   61. 400    NORSPAN.NET                                                         UNKNOWN          UNDETERMINED

   61. 401    NORSPAN.ORG                                                         UNKNOWN          UNDETERMINED

   61. 402    ONESTAMFORDFORUM.COM                                                UNKNOWN          UNDETERMINED

   61. 403    OPELTI.US                                                           UNKNOWN          UNDETERMINED

   61. 404    OPIODINFO.COM                                                       UNKNOWN          UNDETERMINED

   61. 405    OPIOID.BIZ                                                          UNKNOWN          UNDETERMINED

   61. 406    OPIOIDCLASSREMS.COM                                                 UNKNOWN          UNDETERMINED

   61. 407    OPIOIDCLASSREMS.INFO                                                UNKNOWN          UNDETERMINED

   61. 408    OPIOIDCLASSREMS.NET                                                 UNKNOWN          UNDETERMINED

   61. 409    OPIOIDCLASSREMS.ORG                                                 UNKNOWN          UNDETERMINED

   61. 410    OPIOIDINFOSITE.COM                                                  UNKNOWN          UNDETERMINED

   61. 411    OPIOIDREMSCE.COM                                                    UNKNOWN          UNDETERMINED

   61. 412    OPIOIDREMSCE.INFO                                                   UNKNOWN          UNDETERMINED

   61. 413    OPIOIDREMSCE.NET                                                    UNKNOWN          UNDETERMINED

   61. 414    OPIOIDREMSCE.ORG                                                    UNKNOWN          UNDETERMINED

   61. 415    OPIOIDREMSINFO.COM                                                  UNKNOWN          UNDETERMINED

   61. 416    OPIOIDSREMS.COM                                                     UNKNOWN          UNDETERMINED

   61. 417    OPIOIDSREMS.INFO                                                    UNKNOWN          UNDETERMINED

   61. 418    OPIOIDSREMS.NET                                                     UNKNOWN          UNDETERMINED

   61. 419    OPIOIDSREMS.ORG                                                     UNKNOWN          UNDETERMINED

   61. 420    ORDEROXYCONTIN.US                                                   UNKNOWN          UNDETERMINED

   61. 421    OXICONTIN.COM                                                       UNKNOWN          UNDETERMINED

   61. 422    OXICONTIN.INFO                                                      UNKNOWN          UNDETERMINED

   61. 423    OXICONTIN.NET                                                       UNKNOWN          UNDETERMINED


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   61. 424    OXICONTIN.ORG                                                      UNKNOWN          UNDETERMINED

   61. 425    OXYCODONE.BIZ                                                      UNKNOWN          UNDETERMINED

   61. 426    OXYCODONE.COM                                                      UNKNOWN          UNDETERMINED

   61. 427    OXYCONTIN.BIZ                                                      UNKNOWN          UNDETERMINED

   61. 428    OXYCONTIN.COM                                                      UNKNOWN          UNDETERMINED

   61. 429    OXYCONTIN.COM.MX                                                   UNKNOWN          UNDETERMINED

   61. 430    OXYCONTIN.HEALTHCARE                                               UNKNOWN          UNDETERMINED

   61. 431    OXYCONTIN.INFO                                                     UNKNOWN          UNDETERMINED

   61. 432    OXYCONTIN.MOBI                                                     UNKNOWN          UNDETERMINED

   61. 433    OXYCONTIN.MX                                                       UNKNOWN          UNDETERMINED

   61. 434    OXYCONTIN.NET                                                      UNKNOWN          UNDETERMINED

   61. 435    OXYCONTIN.ORG                                                      UNKNOWN          UNDETERMINED

   61. 436    OXYCONTIN.SHOP                                                     UNKNOWN          UNDETERMINED

   61. 437    OXYCONTIN.US                                                       UNKNOWN          UNDETERMINED

   61. 438    OXYCONTINBUY.US                                                    UNKNOWN          UNDETERMINED

   61. 439    OXYCONTINEXPERIENCEPROGRAM.COM                                     UNKNOWN          UNDETERMINED

   61. 440    OXYCONTINNOPRESCRIPTION.INFO                                       UNKNOWN          UNDETERMINED

   61. 441    OXYCONTINNOPRESCRIPTION.ORG                                        UNKNOWN          UNDETERMINED

   61. 442    OXYCONTINNOPRESCRIPTION.US                                         UNKNOWN          UNDETERMINED

   61. 443    OXYCONTINONLINE.COM                                                UNKNOWN          UNDETERMINED

   61. 444    OXYCONTINREMS.COM                                                  UNKNOWN          UNDETERMINED

   61. 445    OXYCONTINREMS.INFO                                                 UNKNOWN          UNDETERMINED

   61. 446    OXYCONTINREMS.NET                                                  UNKNOWN          UNDETERMINED

   61. 447    OXYCONTINWITHOUTPRESCRIPTION.INFO                                  UNKNOWN          UNDETERMINED

   61. 448    OXYCONTIN-WITHOUT-PRESCRIPTION.INFO                                UNKNOWN          UNDETERMINED

   61. 449    OXYCONTINWITHOUTPRESCRIPTION.US                                    UNKNOWN          UNDETERMINED

   61. 450    OXYCONTIN-WITHOUT-PRESCRIPTION.US                                  UNKNOWN          UNDETERMINED

   61. 451    OXYFAST.BIZ                                                        UNKNOWN          UNDETERMINED

   61. 452    OXYFAST.COM                                                        UNKNOWN          UNDETERMINED

   61. 453    OXYFAST.INFO                                                       UNKNOWN          UNDETERMINED

   61. 454    OXYGESIC.COM                                                       UNKNOWN          UNDETERMINED

   61. 455    OXYGESIC.NET                                                       UNKNOWN          UNDETERMINED

   61. 456    OXYGESIC.ORG                                                       UNKNOWN          UNDETERMINED

   61. 457    OXYGESIC.US                                                        UNKNOWN          UNDETERMINED


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   61. 458    OXYIR.COM                                                           UNKNOWN          UNDETERMINED

   61. 459    OXYIR.COM.MX                                                        UNKNOWN          UNDETERMINED

   61. 460    OXYIR.INFO                                                          UNKNOWN          UNDETERMINED

   61. 461    OXYIR.MX                                                            UNKNOWN          UNDETERMINED

   61. 462    OXYIR.NET                                                           UNKNOWN          UNDETERMINED

   61. 463    OXYIR.ORG                                                           UNKNOWN          UNDETERMINED

   61. 464    PAFREZYN.US                                                         UNKNOWN          UNDETERMINED

   61. 465    PAINCME.COM                                                         UNKNOWN          UNDETERMINED

   61. 466    PAINCME.INFO                                                        UNKNOWN          UNDETERMINED

   61. 467    PAINDOC.INFO                                                        UNKNOWN          UNDETERMINED

   61. 468    PAINDOC.ORG                                                         UNKNOWN          UNDETERMINED

   61. 469    PAINFULLYOBVIOUS.COM                                                UNKNOWN          UNDETERMINED

   61. 470    PAINFULLY-OBVIOUS.COM                                               UNKNOWN          UNDETERMINED

   61. 471    PAINFULLYOBVIOUS.INFO                                               UNKNOWN          UNDETERMINED

   61. 472    PAINFULLYOBVIOUS.NET                                                UNKNOWN          UNDETERMINED

   61. 473    PAINFULLY-OBVIOUS.NET                                               UNKNOWN          UNDETERMINED

   61. 474    PAINFULLYOBVIOUS.ORG                                                UNKNOWN          UNDETERMINED

   61. 475    PAINFULLY-OBVIOUS.ORG                                               UNKNOWN          UNDETERMINED

   61. 476    PAINFULLYOBVIOUS.US                                                 UNKNOWN          UNDETERMINED

   61. 477    PAINFULLY-OBVIOUS.US                                                UNKNOWN          UNDETERMINED

   61. 478    PAINWEBCAST.COM                                                     UNKNOWN          UNDETERMINED

   61. 479    PALLADON.COM                                                        UNKNOWN          UNDETERMINED

   61. 480    PALLADONE.COM                                                       UNKNOWN          UNDETERMINED

   61. 481    PALLADONE.NET                                                       UNKNOWN          UNDETERMINED

   61. 482    PALLADONE.ORG                                                       UNKNOWN          UNDETERMINED

   61. 483    PALLADONE-XL.COM                                                    UNKNOWN          UNDETERMINED

   61. 484    PARTNERSAGAINSTPAIN.BIZ                                             UNKNOWN          UNDETERMINED

   61. 485    PARTNERSAGAINSTPAIN.COM                                             UNKNOWN          UNDETERMINED

   61. 486    PARTNERS-AGAINST-PAIN.COM                                           UNKNOWN          UNDETERMINED

   61. 487    PARTNERSAGAINSTPAIN.COM.MX                                          UNKNOWN          UNDETERMINED

   61. 488    PARTNERSAGAINSTPAIN.INFO                                            UNKNOWN          UNDETERMINED

   61. 489    PARTNERS-AGAINST-PAIN.INFO                                          UNKNOWN          UNDETERMINED

   61. 490    PARTNERSAGAINSTPAIN.MX                                              UNKNOWN          UNDETERMINED

   61. 491    PARTNERSAGAINSTPAIN.NET                                             UNKNOWN          UNDETERMINED


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   61. 492    PARTNERS-AGAINST-PAIN.NET                                           UNKNOWN          UNDETERMINED

   61. 493    PARTNERSAGAINSTPAIN.ORG                                             UNKNOWN          UNDETERMINED

   61. 494    PARTNERS-AGAINST-PAIN.ORG                                           UNKNOWN          UNDETERMINED

   61. 495    PARTNERSAGAINSTPAIN.US                                              UNKNOWN          UNDETERMINED

   61. 496    PARTNERSINPAIN.COM                                                  UNKNOWN          UNDETERMINED

   61. 497    PARTNERSINPAIN.NET                                                  UNKNOWN          UNDETERMINED

   61. 498    PARTNERSINPAIN.ORG                                                  UNKNOWN          UNDETERMINED

   61. 499    PERDUEFARMAFOUNDATION.COM                                           UNKNOWN          UNDETERMINED

   61. 500    PERDUEFARMAFOUNDATION.INFO                                          UNKNOWN          UNDETERMINED

   61. 501    PERDUEFARMAFOUNDATION.NET                                           UNKNOWN          UNDETERMINED

   61. 502    PERDUEFARMAFOUNDATION.ORG                                           UNKNOWN          UNDETERMINED

   61. 503    PERDUEFARMAFOUNDATION.US                                            UNKNOWN          UNDETERMINED

   61. 504    PERDUEPHARMA.COM                                                    UNKNOWN          UNDETERMINED

   61. 505    PERDUEPHARMAFOUNDATION.COM                                          UNKNOWN          UNDETERMINED

   61. 506    PERDUE-PHARMA-FOUNDATION.COM                                        UNKNOWN          UNDETERMINED

   61. 507    PERDUEPHARMAFOUNDATION.INFO                                         UNKNOWN          UNDETERMINED

   61. 508    PERDUE-PHARMA-FOUNDATION.INFO                                       UNKNOWN          UNDETERMINED

   61. 509    PERDUEPHARMAFOUNDATION.NET                                          UNKNOWN          UNDETERMINED

   61. 510    PERDUE-PHARMA-FOUNDATION.NET                                        UNKNOWN          UNDETERMINED

   61. 511    PERDUEPHARMAFOUNDATION.ORG                                          UNKNOWN          UNDETERMINED

   61. 512    PERDUE-PHARMA-FOUNDATION.ORG                                        UNKNOWN          UNDETERMINED

   61. 513    PERDUEPHARMAFOUNDATION.US                                           UNKNOWN          UNDETERMINED

   61. 514    PERDUE-PHARMA-FOUNDATION.US                                         UNKNOWN          UNDETERMINED

   61. 515    PERICOLACE.BIZ                                                      UNKNOWN          UNDETERMINED

   61. 516    PERI-COLACE.BIZ                                                     UNKNOWN          UNDETERMINED

   61. 517    PERICOLACE.COM                                                      UNKNOWN          UNDETERMINED

   61. 518    PERI-COLACE.COM                                                     UNKNOWN          UNDETERMINED

   61. 519    PERICOLACE.COM.MX                                                   UNKNOWN          UNDETERMINED

   61. 520    PERI-COLACE.COM.MX                                                  UNKNOWN          UNDETERMINED

   61. 521    PERICOLACE.INFO                                                     UNKNOWN          UNDETERMINED

   61. 522    PERI-COLACE.INFO                                                    UNKNOWN          UNDETERMINED

   61. 523    PERICOLACE.MX                                                       UNKNOWN          UNDETERMINED

   61. 524    PERI-COLACE.MX                                                      UNKNOWN          UNDETERMINED

   61. 525    PERICOLACE.NET                                                      UNKNOWN          UNDETERMINED


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   61. 526    PERI-COLACE.NET                                                     UNKNOWN          UNDETERMINED

   61. 527    PERICOLACE.ORG                                                      UNKNOWN          UNDETERMINED

   61. 528    PERI-COLACE.ORG                                                     UNKNOWN          UNDETERMINED

   61. 529    PERICOLACE.US                                                       UNKNOWN          UNDETERMINED

   61. 530    PERI-COLACE.US                                                      UNKNOWN          UNDETERMINED

   61. 531    PF-LABORATORIES.COM                                                 UNKNOWN          UNDETERMINED

   61. 532    PF-LABS.COM                                                         UNKNOWN          UNDETERMINED

   61. 533    PHARMA.COM                                                          UNKNOWN          UNDETERMINED

   61. 534    PHARMA2PHARMA.US                                                    UNKNOWN          UNDETERMINED

   61. 535    PHARMAPOSTERS.COM                                                   UNKNOWN          UNDETERMINED

   61. 536    PHARMAPOSTERS.INFO                                                  UNKNOWN          UNDETERMINED

   61. 537    PHARMAPOSTERS.NET                                                   UNKNOWN          UNDETERMINED

   61. 538    PHARMAPOSTERS.ORG                                                   UNKNOWN          UNDETERMINED

   61. 539    PHRXLP.COM                                                          UNKNOWN          UNDETERMINED

   61. 540    PHRXLP.INFO                                                         UNKNOWN          UNDETERMINED

   61. 541    PHRXLP.NET                                                          UNKNOWN          UNDETERMINED

   61. 542    PHRXLP.ORG                                                          UNKNOWN          UNDETERMINED

   61. 543    PLPAH.COM                                                           UNKNOWN          UNDETERMINED

   61. 544    PLPAH.INFO                                                          UNKNOWN          UNDETERMINED

   61. 545    PLPAH.ORG                                                           UNKNOWN          UNDETERMINED

   61. 546    PLPAH.US                                                            UNKNOWN          UNDETERMINED

   61. 547    PMN-IAF.COM                                                         UNKNOWN          UNDETERMINED

   61. 548    PONTEVE.US                                                          UNKNOWN          UNDETERMINED

   61. 549    POVICLENS.COM                                                       UNKNOWN          UNDETERMINED

   61. 550    POVI-CLENS.COM                                                      UNKNOWN          UNDETERMINED

   61. 551    POVIDONEIODINE.BIZ                                                  UNKNOWN          UNDETERMINED

   61. 552    POVIDONEIODINE.COM                                                  UNKNOWN          UNDETERMINED

   61. 553    POVIDONEIODINE.INFO                                                 UNKNOWN          UNDETERMINED

   61. 554    PREPSTICK.COM                                                       UNKNOWN          UNDETERMINED

   61. 555    PREPSTICK.INFO                                                      UNKNOWN          UNDETERMINED

   61. 556    PURDUE.HEALTHCARE                                                   UNKNOWN          UNDETERMINED

   61. 557    PURDUE.INFO                                                         UNKNOWN          UNDETERMINED

   61. 558    PURDUE.MX                                                           UNKNOWN          UNDETERMINED

   61. 559    PURDUE.US                                                           UNKNOWN          UNDETERMINED


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   61. 560    PURDUECLOUD.COM                                                    UNKNOWN          UNDETERMINED

   61. 561    PURDUEEDR.COM                                                      UNKNOWN          UNDETERMINED

   61. 562    PURDUEERLAOPIOIDREMS.COM                                           UNKNOWN          UNDETERMINED

   61. 563    PURDUEFARMA.COM                                                    UNKNOWN          UNDETERMINED

   61. 564    PURDUEFARMAFOUNDATION.COM                                          UNKNOWN          UNDETERMINED

   61. 565    PURDUEFARMAFOUNDATION.INFO                                         UNKNOWN          UNDETERMINED

   61. 566    PURDUEFARMAFOUNDATION.NET                                          UNKNOWN          UNDETERMINED

   61. 567    PURDUEFARMAFOUNDATION.ORG                                          UNKNOWN          UNDETERMINED

   61. 568    PURDUEFARMAFOUNDATION.US                                           UNKNOWN          UNDETERMINED

   61. 569    PURDUEFORMULARYKITS.COM                                            UNKNOWN          UNDETERMINED

   61. 570    PURDUEFREDERICK.BIZ                                                UNKNOWN          UNDETERMINED

   61. 571    PURDUEFREDERICK.COM                                                UNKNOWN          UNDETERMINED

   61. 572    PURDUE-FREDERICK.COM                                               UNKNOWN          UNDETERMINED

   61. 573    PURDUEFREDERICK.INFO                                               UNKNOWN          UNDETERMINED

   61. 574    PURDUEFREDRICK.COM                                                 UNKNOWN          UNDETERMINED

   61. 575    PURDUEHCP.COM                                                      UNKNOWN          UNDETERMINED

   61. 576    PURDUEHCP.HEALTHCARE                                               UNKNOWN          UNDETERMINED

   61. 577    PURDUELELE.COM                                                     UNKNOWN          UNDETERMINED

   61. 578    PURDUENEUROSCIENCE.BIZ                                             UNKNOWN          UNDETERMINED

   61. 579    PURDUEOPIOIDINFO.COM                                               UNKNOWN          UNDETERMINED

   61. 580    PURDUEOTC.COM                                                      UNKNOWN          UNDETERMINED

   61. 581    PURDUEPAINRESEARCHPRIZE.COM                                        UNKNOWN          UNDETERMINED

   61. 582    PURDUEPERFORMONLINE.COM                                            UNKNOWN          UNDETERMINED

   61. 583    PURDUEPHARMA.ASIA                                                  UNKNOWN          UNDETERMINED

   61. 584    PURDUEPHARMA.BIZ                                                   UNKNOWN          UNDETERMINED

   61. 585    PURDUEPHARMA.COM                                                   UNKNOWN          UNDETERMINED

   61. 586    PURDUE-PHARMA.COM                                                  UNKNOWN          UNDETERMINED

   61. 587    PURDUEPHARMA.HEALTHCARE                                            UNKNOWN          UNDETERMINED

   61. 588    PURDUEPHARMA.INFO                                                  UNKNOWN          UNDETERMINED

   61. 589    PURDUEPHARMA.MX                                                    UNKNOWN          UNDETERMINED

   61. 590    PURDUEPHARMA.NET                                                   UNKNOWN          UNDETERMINED

   61. 591    PURDUE-PHARMA.NET                                                  UNKNOWN          UNDETERMINED

   61. 592    PURDUEPHARMA.NET.CN                                                UNKNOWN          UNDETERMINED

   61. 593    PURDUEPHARMA.ORG                                                   UNKNOWN          UNDETERMINED


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   61. 594    PURDUE-PHARMA.ORG                                                  UNKNOWN          UNDETERMINED

   61. 595    PURDUEPHARMA.ORG.CN                                                UNKNOWN          UNDETERMINED

   61. 596    PURDUEPHARMA.US                                                    UNKNOWN          UNDETERMINED

   61. 597    PURDUE-PHARMA.US                                                   UNKNOWN          UNDETERMINED

   61. 598    PURDUEPHARMACEUTICALS.BIZ                                          UNKNOWN          UNDETERMINED

   61. 599    PURDUEPHARMACEUTICALS.COM                                          UNKNOWN          UNDETERMINED

   61. 600    PURDUE-PHARMACEUTICALS.COM                                         UNKNOWN          UNDETERMINED

   61. 601    PURDUEPHARMACEUTICALS.HEALTHCARE                                   UNKNOWN          UNDETERMINED

   61. 602    PURDUEPHARMACEUTICALS.NET                                          UNKNOWN          UNDETERMINED

   61. 603    PURDUE-PHARMACEUTICALS.NET                                         UNKNOWN          UNDETERMINED

   61. 604    PURDUEPHARMACEUTICALS.ORG                                          UNKNOWN          UNDETERMINED

   61. 605    PURDUE-PHARMACEUTICALS.ORG                                         UNKNOWN          UNDETERMINED

   61. 606    PURDUEPHARMAFACTS.COM                                              UNKNOWN          UNDETERMINED

   61. 607    PURDUEPHARMAFACTS.NET                                              UNKNOWN          UNDETERMINED

   61. 608    PURDUEPHARMAFACTS.ORG                                              UNKNOWN          UNDETERMINED

   61. 609    PURDUEPHARMAFOUNDATION.COM                                         UNKNOWN          UNDETERMINED

   61. 610    PURDUE-PHARMAFOUNDATION.COM                                        UNKNOWN          UNDETERMINED

   61. 611    PURDUE-PHARMA-FOUNDATION.COM                                       UNKNOWN          UNDETERMINED

   61. 612    PURDUEPHARMA-FOUNDATION.COM                                        UNKNOWN          UNDETERMINED

   61. 613    PURDUEPHARMAFOUNDATION.INFO                                        UNKNOWN          UNDETERMINED

   61. 614    PURDUE-PHARMAFOUNDATION.INFO                                       UNKNOWN          UNDETERMINED

   61. 615    PURDUE-PHARMA-FOUNDATION.INFO                                      UNKNOWN          UNDETERMINED

   61. 616    PURDUEPHARMA-FOUNDATION.INFO                                       UNKNOWN          UNDETERMINED

   61. 617    PURDUEPHARMAFOUNDATION.NET                                         UNKNOWN          UNDETERMINED

   61. 618    PURDUE-PHARMAFOUNDATION.NET                                        UNKNOWN          UNDETERMINED

   61. 619    PURDUE-PHARMA-FOUNDATION.NET                                       UNKNOWN          UNDETERMINED

   61. 620    PURDUEPHARMA-FOUNDATION.NET                                        UNKNOWN          UNDETERMINED

   61. 621    PURDUEPHARMAFOUNDATION.ORG                                         UNKNOWN          UNDETERMINED

   61. 622    PURDUE-PHARMAFOUNDATION.ORG                                        UNKNOWN          UNDETERMINED

   61. 623    PURDUE-PHARMA-FOUNDATION.ORG                                       UNKNOWN          UNDETERMINED

   61. 624    PURDUEPHARMA-FOUNDATION.ORG                                        UNKNOWN          UNDETERMINED

   61. 625    PURDUEPHARMAFOUNDATION.US                                          UNKNOWN          UNDETERMINED

   61. 626    PURDUE-PHARMAFOUNDATION.US                                         UNKNOWN          UNDETERMINED

   61. 627    PURDUE-PHARMA-FOUNDATION.US                                        UNKNOWN          UNDETERMINED


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   61. 628    PURDUEPHARMA-FOUNDATION.US                                          UNKNOWN          UNDETERMINED

   61. 629    PURDUEPHARMAGRANTSANDGIVING.BIZ                                     UNKNOWN          UNDETERMINED

   61. 630    PURDUEPHARMAGRANTSANDGIVING.COM                                     UNKNOWN          UNDETERMINED

   61. 631    PURDUEPHARMAGRANTSANDGIVING.INFO                                    UNKNOWN          UNDETERMINED

   61. 632    PURDUEPHARMAGRANTSANDGIVING.NET                                     UNKNOWN          UNDETERMINED

   61. 633    PURDUEPHARMAGRANTSANDGIVING.ORG                                     UNKNOWN          UNDETERMINED

   61. 634    PURDUEPHARMAGRANTSANDGIVING.US                                      UNKNOWN          UNDETERMINED

   61. 635    PURDUEPHARMAHCP.COM                                                 UNKNOWN          UNDETERMINED

   61. 636    PURDUEPHARMALP.HEALTHCARE                                           UNKNOWN          UNDETERMINED

   61. 637    PURDUEPHARMAMEDEDRESOURCES.BIZ                                      UNKNOWN          UNDETERMINED

   61. 638    PURDUEPHARMAMEDEDRESOURCES.COM                                      UNKNOWN          UNDETERMINED

   61. 639    PURDUEPHARMAMEDEDRESOURCES.INFO                                     UNKNOWN          UNDETERMINED

   61. 640    PURDUEPHARMAMEDEDRESOURCES.NET                                      UNKNOWN          UNDETERMINED

   61. 641    PURDUEPHARMAMEDEDRESOURCES.ORG                                      UNKNOWN          UNDETERMINED

   61. 642    PURDUEPHARMAMEDEDRESOURCES.US                                       UNKNOWN          UNDETERMINED

   61. 643    PURDUEPHARMATECHNOLOGIES.COM                                        UNKNOWN          UNDETERMINED

   61. 644    PURDUEPRODUCTS.HEALTHCARE                                           UNKNOWN          UNDETERMINED

   61. 645    PURDUEPRODUCTSLP.HEALTHCARE                                         UNKNOWN          UNDETERMINED

   61. 646    PURDUEREMS.BIZ                                                      UNKNOWN          UNDETERMINED

   61. 647    PURDUEREMS.COM                                                      UNKNOWN          UNDETERMINED

   61. 648    PURDUEREMS.INFO                                                     UNKNOWN          UNDETERMINED

   61. 649    PURDUEREMS.NET                                                      UNKNOWN          UNDETERMINED

   61. 650    PURDUEREMS.ORG                                                      UNKNOWN          UNDETERMINED

   61. 651    PURDUEREMS.US                                                       UNKNOWN          UNDETERMINED

   61. 652    PURDUESREMS.COM                                                     UNKNOWN          UNDETERMINED

   61. 653    PVPI.COM                                                            UNKNOWN          UNDETERMINED

   61. 654    PVP-I.COM                                                           UNKNOWN          UNDETERMINED

   61. 655    PVPI.INFO                                                           UNKNOWN          UNDETERMINED

   61. 656    PVP-I.INFO                                                          UNKNOWN          UNDETERMINED

   61. 657    QHYD.US                                                             UNKNOWN          UNDETERMINED

   61. 658    RAFALABS.COM                                                        UNKNOWN          UNDETERMINED

   61. 659    RAFA-LABS.COM                                                       UNKNOWN          UNDETERMINED

   61. 660    REMSASAP.COM                                                        UNKNOWN          UNDETERMINED

   61. 661    REMS-ASAP.COM                                                       UNKNOWN          UNDETERMINED


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   61. 662    REMSASAP.INFO                                                       UNKNOWN          UNDETERMINED

   61. 663    REMS-ASAP.INFO                                                      UNKNOWN          UNDETERMINED

   61. 664    REMSASAP.NET                                                        UNKNOWN          UNDETERMINED

   61. 665    REMS-ASAP.NET                                                       UNKNOWN          UNDETERMINED

   61. 666    REMSASAP.ORG                                                        UNKNOWN          UNDETERMINED

   61. 667    REMS-ASAP.ORG                                                       UNKNOWN          UNDETERMINED

   61. 668    REPURPOSEDIP.COM                                                    UNKNOWN          UNDETERMINED

   61. 669    REPURPOSE-IP.COM                                                    UNKNOWN          UNDETERMINED

   61. 670    RESILIX.BIZ                                                         UNKNOWN          UNDETERMINED

   61. 671    RESILIX.COM                                                         UNKNOWN          UNDETERMINED

   61. 672    RESILIX.INFO                                                        UNKNOWN          UNDETERMINED

   61. 673    RESILIX.NET                                                         UNKNOWN          UNDETERMINED

   61. 674    RESILIX.ORG                                                         UNKNOWN          UNDETERMINED

   61. 675    RESISTEC.BIZ                                                        UNKNOWN          UNDETERMINED

   61. 676    RESISTEC.INFO                                                       UNKNOWN          UNDETERMINED

   61. 677    RESISTEC.ORG                                                        UNKNOWN          UNDETERMINED

   61. 678    RESPONSIBLEOPIOID.COM                                               UNKNOWN          UNDETERMINED

   61. 679    RESPONSIBLEOPIOIDRX.COM                                             UNKNOWN          UNDETERMINED

   61. 680    RESPONSIBLEOPIOIDS.COM                                              UNKNOWN          UNDETERMINED

   61. 681    RESPONSIBLEOPIOIDSRX.COM                                            UNKNOWN          UNDETERMINED

   61. 682    RESPONSIBLEOPIOIDUSE.COM                                            UNKNOWN          UNDETERMINED

   61. 683    RESTIVA.COM                                                         UNKNOWN          UNDETERMINED

   61. 684    RETURNTOSLEEPAGAIN.COM                                              UNKNOWN          UNDETERMINED

   61. 685    REWRITEOPIOIDRX.COM                                                 UNKNOWN          UNDETERMINED

   61. 686    RHODES.HEALTHCARE                                                   UNKNOWN          UNDETERMINED

   61. 687    RHODESGENERICS.COM                                                  UNKNOWN          UNDETERMINED

   61. 688    RHODESGENERICS.NET                                                  UNKNOWN          UNDETERMINED

   61. 689    RHODESGENERICS.ORG                                                  UNKNOWN          UNDETERMINED

   61. 690    RHODESMEDICINE.COM                                                  UNKNOWN          UNDETERMINED

   61. 691    RHODESMEDICINE.NET                                                  UNKNOWN          UNDETERMINED

   61. 692    RHODESMEDICINE.ORG                                                  UNKNOWN          UNDETERMINED

   61. 693    RHODESMEDICINES.COM                                                 UNKNOWN          UNDETERMINED

   61. 694    RHODESMEDICINES.NET                                                 UNKNOWN          UNDETERMINED

   61. 695    RHODESMEDICINES.ORG                                                 UNKNOWN          UNDETERMINED


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   61. 696    RHODESPHARMA.COM                                                    UNKNOWN          UNDETERMINED

   61. 697    RHODESPHARMA.HEALTHCARE                                             UNKNOWN          UNDETERMINED

   61. 698    RHODESPHARMA.NET                                                    UNKNOWN          UNDETERMINED

   61. 699    RHODESPHARMA.ORG                                                    UNKNOWN          UNDETERMINED

   61. 700    RHODESPHARMACEUTICAL.COM                                            UNKNOWN          UNDETERMINED

   61. 701    RHODESPHARMACEUTICAL.NET                                            UNKNOWN          UNDETERMINED

   61. 702    RHODESPHARMACEUTICAL.ORG                                            UNKNOWN          UNDETERMINED

   61. 703    RHODESPHARMACEUTICALS.COM                                           UNKNOWN          UNDETERMINED

   61. 704    RHODESPHARMACEUTICALS.HEALTHCARE                                    UNKNOWN          UNDETERMINED

   61. 705    RHODESPHARMACEUTICALS.NET                                           UNKNOWN          UNDETERMINED

   61. 706    RHODESPHARMACEUTICALS.ORG                                           UNKNOWN          UNDETERMINED

   61. 707    RHODESTEC.BIZ                                                       UNKNOWN          UNDETERMINED

   61. 708    RHODESTEC.COM                                                       UNKNOWN          UNDETERMINED

   61. 709    RHODESTEC.INFO                                                      UNKNOWN          UNDETERMINED

   61. 710    RHODESTECHNOLOGIES.COM                                              UNKNOWN          UNDETERMINED

   61. 711    RHODESTECHNOLOGIES.HEALTHCARE                                       UNKNOWN          UNDETERMINED

   61. 712    RULINQUA.US                                                         UNKNOWN          UNDETERMINED

   61. 713    RXPATROL.BIZ                                                        UNKNOWN          UNDETERMINED

   61. 714    RXPATROL.COM                                                        UNKNOWN          UNDETERMINED

   61. 715    RXPATROL.INFO                                                       UNKNOWN          UNDETERMINED

   61. 716    RXPATROL.NET                                                        UNKNOWN          UNDETERMINED

   61. 717    RXPATROL.ORG                                                        UNKNOWN          UNDETERMINED

   61. 718    RXRESEARCH.NET                                                      UNKNOWN          UNDETERMINED

   61. 719    RXRESEARCH.ORG                                                      UNKNOWN          UNDETERMINED

   61. 720    RXSAFETYMATTERS.COM                                                 UNKNOWN          UNDETERMINED

   61. 721    RXSAFETYMATTERS.INFO                                                UNKNOWN          UNDETERMINED

   61. 722    RXSAFETYMATTERS.NET                                                 UNKNOWN          UNDETERMINED

   61. 723    RXSAFETYMATTERS.ORG                                                 UNKNOWN          UNDETERMINED

   61. 724    RYZOLT.BIZ                                                          UNKNOWN          UNDETERMINED

   61. 725    RYZOLT.COM                                                          UNKNOWN          UNDETERMINED

   61. 726    RYZOLT.COM.MX                                                       UNKNOWN          UNDETERMINED

   61. 727    RYZOLT.INFO                                                         UNKNOWN          UNDETERMINED

   61. 728    RYZOLT.MX                                                           UNKNOWN          UNDETERMINED

   61. 729    RYZOLT.NET                                                          UNKNOWN          UNDETERMINED


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   61. 730    RYZOLT.ORG                                                         UNKNOWN          UNDETERMINED

   61. 731    RYZOLT.US                                                          UNKNOWN          UNDETERMINED

   61. 732    SACKLER.BIZ                                                        UNKNOWN          UNDETERMINED

   61. 733    SACKLER.INFO                                                       UNKNOWN          UNDETERMINED

   61. 734    SACKLER.US                                                         UNKNOWN          UNDETERMINED

   61. 735    SACKLERCLOUD.COM                                                   UNKNOWN          UNDETERMINED

   61. 736    SACKLERINSTITUTE.COM                                               UNKNOWN          UNDETERMINED

   61. 737    SACKLERINSTITUTE.NET                                               UNKNOWN          UNDETERMINED

   61. 738    SACKLERINSTITUTE.ORG                                               UNKNOWN          UNDETERMINED

   61. 739    SAFEGUARDMYMEDS.COM                                                UNKNOWN          UNDETERMINED

   61. 740    SAFEGUARDMYMEDS.INFO                                               UNKNOWN          UNDETERMINED

   61. 741    SAFEGUARDMYMEDS.NET                                                UNKNOWN          UNDETERMINED

   61. 742    SAFEGUARDMYMEDS.ORG                                                UNKNOWN          UNDETERMINED

   61. 743    SAFEGUARDMYMEDS.US                                                 UNKNOWN          UNDETERMINED

   61. 744    SAFEUSEOFOPIOIDS.COM                                               UNKNOWN          UNDETERMINED

   61. 745    SELFSENTIALS.COM                                                   UNKNOWN          UNDETERMINED

   61. 746    SENACOT.COM                                                        UNKNOWN          UNDETERMINED

   61. 747    SENAKOT.COM                                                        UNKNOWN          UNDETERMINED

   61. 748    SENEKOT.COM                                                        UNKNOWN          UNDETERMINED

   61. 749    SENICOT.COM                                                        UNKNOWN          UNDETERMINED

   61. 750    SENIKOT.COM                                                        UNKNOWN          UNDETERMINED

   61. 751    SENNACOT.COM                                                       UNKNOWN          UNDETERMINED

   61. 752    SENNAKOT.COM                                                       UNKNOWN          UNDETERMINED

   61. 753    SENNECOT.COM                                                       UNKNOWN          UNDETERMINED

   61. 754    SENNEKOT.COM                                                       UNKNOWN          UNDETERMINED

   61. 755    SENNICOT.COM                                                       UNKNOWN          UNDETERMINED

   61. 756    SENNIKOT.COM                                                       UNKNOWN          UNDETERMINED

   61. 757    SENNOCOT.COM                                                       UNKNOWN          UNDETERMINED

   61. 758    SENNOKOT.COM                                                       UNKNOWN          UNDETERMINED

   61. 759    SENOCOT.COM                                                        UNKNOWN          UNDETERMINED

   61. 760    SENOKOT.BIZ                                                        UNKNOWN          UNDETERMINED

   61. 761    SENOKOT.COM                                                        UNKNOWN          UNDETERMINED

   61. 762    SENOKOT.COM.MX                                                     UNKNOWN          UNDETERMINED

   61. 763    SENOKOT.INFO                                                       UNKNOWN          UNDETERMINED


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   61. 764    SENOKOT.MOBI                                                       UNKNOWN          UNDETERMINED

   61. 765    SENOKOT.MX                                                         UNKNOWN          UNDETERMINED

   61. 766    SENOKOT.NET                                                        UNKNOWN          UNDETERMINED

   61. 767    SENOKOT.ORG                                                        UNKNOWN          UNDETERMINED

   61. 768    SENOKOT.US                                                         UNKNOWN          UNDETERMINED

   61. 769    SENOKOTCHILDRENSSYRUP.COM                                          UNKNOWN          UNDETERMINED

   61. 770    SENOKOTCHILDRENSSYRUP.NET                                          UNKNOWN          UNDETERMINED

   61. 771    SENOKOTCHILDRENSSYRUP.ORG                                          UNKNOWN          UNDETERMINED

   61. 772    SENOKOTOVERNIGHTRELIEF.COM                                         UNKNOWN          UNDETERMINED

   61. 773    SENOKOTQUIZ.COM                                                    UNKNOWN          UNDETERMINED

   61. 774    SENOKOTS.COM                                                       UNKNOWN          UNDETERMINED

   61. 775    SENOKOT-S.COM                                                      UNKNOWN          UNDETERMINED

   61. 776    SENOKOTS.ORG                                                       UNKNOWN          UNDETERMINED

   61. 777    SENOKOTXTRA.COM                                                    UNKNOWN          UNDETERMINED

   61. 778    SENOKOTXTRA.NET                                                    UNKNOWN          UNDETERMINED

   61. 779    SENOKOTXTRA.ORG                                                    UNKNOWN          UNDETERMINED

   61. 780    SLEEPATNIGHT.COM                                                   UNKNOWN          UNDETERMINED

   61. 781    SLEEPINTERMEZZO.COM                                                UNKNOWN          UNDETERMINED

   61. 782    SLOWMAG.COM                                                        UNKNOWN          UNDETERMINED

   61. 783    SLOW-MAG.COM                                                       UNKNOWN          UNDETERMINED

   61. 784    SLOWMAG.COM.MX                                                     UNKNOWN          UNDETERMINED

   61. 785    SLOW-MAG.COM.MX                                                    UNKNOWN          UNDETERMINED

   61. 786    SLOWMAG.MX                                                         UNKNOWN          UNDETERMINED

   61. 787    SLOW-MAG.MX                                                        UNKNOWN          UNDETERMINED

   61. 788    SLOWMAG.NET                                                        UNKNOWN          UNDETERMINED

   61. 789    SLOW-MAG.NET                                                       UNKNOWN          UNDETERMINED

   61. 790    SLOWMAG.ORG                                                        UNKNOWN          UNDETERMINED

   61. 791    SLOW-MAG.ORG                                                       UNKNOWN          UNDETERMINED

   61. 792    SLOWMAGBRAIN.COM                                                   UNKNOWN          UNDETERMINED

   61. 793    SLOWMAGMGBRAIN.COM                                                 UNKNOWN          UNDETERMINED

   61. 794    STOPPRESCRIPTIONDRUGABUSE.COM                                      UNKNOWN          UNDETERMINED

   61. 795    STOPPRESCRIPTIONDRUGABUSE.INFO                                     UNKNOWN          UNDETERMINED

   61. 796    STOPPRESCRIPTIONDRUGABUSE.NET                                      UNKNOWN          UNDETERMINED

   61. 797    STOPPRESCRIPTIONDRUGABUSE.ORG                                      UNKNOWN          UNDETERMINED


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   61. 798    STOPPRESCRIPTIONDRUGABUSE.US                                        UNKNOWN          UNDETERMINED

   61. 799    STOPRXABUSE.COM                                                     UNKNOWN          UNDETERMINED

   61. 800    STOPRXABUSE.INFO                                                    UNKNOWN          UNDETERMINED

   61. 801    STOPRXABUSE.NET                                                     UNKNOWN          UNDETERMINED

   61. 802    STOPRXABUSE.ORG                                                     UNKNOWN          UNDETERMINED

   61. 803    STOPRXABUSE.US                                                      UNKNOWN          UNDETERMINED

   61. 804    STOPRXDRUGABUSE.INFO                                                UNKNOWN          UNDETERMINED

   61. 805    STOPRXDRUGABUSE.NET                                                 UNKNOWN          UNDETERMINED

   61. 806    STOPRXDRUGABUSE.US                                                  UNKNOWN          UNDETERMINED

   61. 807    TARGINACT.US                                                        UNKNOWN          UNDETERMINED

   61. 808    TARGINIQ.US                                                         UNKNOWN          UNDETERMINED

   61. 809    TARGINIQER.BIZ                                                      UNKNOWN          UNDETERMINED

   61. 810    TARGINIQ-ER.BIZ                                                     UNKNOWN          UNDETERMINED

   61. 811    TARGINIQER.COM                                                      UNKNOWN          UNDETERMINED

   61. 812    TARGINIQ-ER.COM                                                     UNKNOWN          UNDETERMINED

   61. 813    TARGINIQER.INFO                                                     UNKNOWN          UNDETERMINED

   61. 814    TARGINIQ-ER.INFO                                                    UNKNOWN          UNDETERMINED

   61. 815    TARGINIQER.NET                                                      UNKNOWN          UNDETERMINED

   61. 816    TARGINIQ-ER.NET                                                     UNKNOWN          UNDETERMINED

   61. 817    TARGINIQER.ORG                                                      UNKNOWN          UNDETERMINED

   61. 818    TARGINIQ-ER.ORG                                                     UNKNOWN          UNDETERMINED

   61. 819    TARGINIQER.US                                                       UNKNOWN          UNDETERMINED

   61. 820    TARGINIQ-ER.US                                                      UNKNOWN          UNDETERMINED

   61. 821    TEAMAGAINSTOPIOIDABUSE.COM                                          UNKNOWN          UNDETERMINED

   61. 822    THEOPHYLLINE.COM                                                    UNKNOWN          UNDETERMINED

   61. 823    TRAMADOL.COM                                                        UNKNOWN          UNDETERMINED

   61. 824    TRANSDERMALPAINSYSTEM.COM                                           UNKNOWN          UNDETERMINED

   61. 825    TRILISATE.INFO                                                      UNKNOWN          UNDETERMINED

   61. 826    TROFITTA.BIZ                                                        UNKNOWN          UNDETERMINED

   61. 827    TROFITTA.COM                                                        UNKNOWN          UNDETERMINED

   61. 828    TROFITTA.INFO                                                       UNKNOWN          UNDETERMINED

   61. 829    TROFITTA.ORG                                                        UNKNOWN          UNDETERMINED

   61. 830    TROFITTA.US                                                         UNKNOWN          UNDETERMINED

   61. 831    TRUHYGA.US                                                          UNKNOWN          UNDETERMINED


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    61. 832    TXPSERVICE.COM                                                       UNKNOWN          UNDETERMINED

    61. 833    UNIFYL.COM                                                           UNKNOWN          UNDETERMINED

    61. 834    UNIPHYL.COM                                                          UNKNOWN          UNDETERMINED

    61. 835    UNIPHYL.COM.MX                                                       UNKNOWN          UNDETERMINED

    61. 836    UNIPHYL.INFO                                                         UNKNOWN          UNDETERMINED

    61. 837    UNIPHYL.MX                                                           UNKNOWN          UNDETERMINED

    61. 838    UNIPHYLLIN.COM                                                       UNKNOWN          UNDETERMINED

    61. 839    USFOSUPPORT.COM                                                      UNKNOWN          UNDETERMINED

    61. 840    VARVEK.US                                                            UNKNOWN          UNDETERMINED

    61. 841    VERFENDRA.COM                                                        UNKNOWN          UNDETERMINED

    61. 842    VERFENDRA.INFO                                                       UNKNOWN          UNDETERMINED

    61. 843    VERFENDRA.NET                                                        UNKNOWN          UNDETERMINED

    61. 844    VERFENDRA.ORG                                                        UNKNOWN          UNDETERMINED

    61. 845    VERFENDRA.US                                                         UNKNOWN          UNDETERMINED

    61. 846    VERFYNDA.COM                                                         UNKNOWN          UNDETERMINED

    61. 847    VERFYNDA.INFO                                                        UNKNOWN          UNDETERMINED

    61. 848    VERFYNDA.NET                                                         UNKNOWN          UNDETERMINED

    61. 849    VERFYNDA.ORG                                                         UNKNOWN          UNDETERMINED

    61. 850    VERFYNDA.US                                                          UNKNOWN          UNDETERMINED

    61. 851    VYLIBEC.US                                                           UNKNOWN          UNDETERMINED

    61. 852    VYTRUXA.US                                                           UNKNOWN          UNDETERMINED

    61. 853    WWWPALADONE.COM                                                      UNKNOWN          UNDETERMINED

    61. 854    WWWPALLADONE.COM                                                     UNKNOWN          UNDETERMINED

    61. 855    X-PREP.COM                                                           UNKNOWN          UNDETERMINED

    61. 856    YOURINTERMEZZO.COM                                                   UNKNOWN          UNDETERMINED

    61. 857    ZULTIV.US                                                            UNKNOWN          UNDETERMINED

    61. 858    ZYTRAM.COM                                                           UNKNOWN          UNDETERMINED

62. Licenses, franchises, and royalties

    62. 1      ALABAMA BOARD OF PHARMACY - PRIVATE                                  UNKNOWN          UNDETERMINED
               LABEL DISTRIBUTOR (VIRTUAL)

    62. 2      ARIZONA BOARD OF PHARMACY -                                          UNKNOWN          UNDETERMINED
               MANUFACTURER (VIRTUAL)

    62. 3      ARIZONA BOARD OF PHARMACY - WHOLESALER                               UNKNOWN          UNDETERMINED
               (VIRTUAL)

    62. 4      ARKANSAS BOARD OF PHARMACY -                                         UNKNOWN          UNDETERMINED
               WHOLESALE DISTRIBUTOR (VIRTUAL)


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   62. 5     CONNECTICUT DEPARTMENT OF CONSUMER                                  UNKNOWN          UNDETERMINED
             PROTECTION - WHOLESALER W/CS (VIRTUAL)

   62. 6     DELAWARE DIVISION OF PROF. REG. -                                   UNKNOWN          UNDETERMINED
             DISTRIBUTOR/MANUFACTURER/CSR
             CONTROLLED SUBSTANCE REGISTRATION
             (VIRTUAL)

   62. 7     DELAWARE DIVISION OF PROF. REG. -                                   UNKNOWN          UNDETERMINED
             PHARMACY WHOLESALE DRUG DISTRIBUTOR
             (VIRTUAL)

   62. 8     DISTRICT OF COLUMBIA DEPARTMENT OF                                  UNKNOWN          UNDETERMINED
             HEALTH, REGULATION AND LICENSING ADMIN. -
             NON-RESIDENT DISTRIBUTOR (VIRTUAL)

   62. 9     FLORIDA DEPARTMENT OF BUSINESS AND                                  UNKNOWN          UNDETERMINED
             PROF. REG. - NON-RESIDENT RX DRUG
             MANUFACTURER (VIRTUAL)

   62. 10    FLORIDA DEPARTMENT OF HEALTH -                                      UNKNOWN          UNDETERMINED
             COMPLIMENTARY-DRUG DISTRIB

   62. 11    GEORGIA BOARD OF PHARMACY - WHOLESALER                              UNKNOWN          UNDETERMINED
             PHARMACY (VIRTUAL)

   62. 12    IDAHO BOARD OF PHARMACY - VIRTUAL                                   UNKNOWN          UNDETERMINED
             MANUFACTURER (VIRTUAL)

   62. 13    IOWA BOARD OF PHARMACY - LIMITED                                    UNKNOWN          UNDETERMINED
             DISTRIBUTOR (VIRTUAL MANUFACTURER)

   62. 14    KANSAS BOARD OF PHARMACY - WHOLESALE                                UNKNOWN          UNDETERMINED
             DISTRIBUTOR (VIRTUAL)

   62. 15    LOUISIANA BOARD OF WHOLESALE DRUG                                   UNKNOWN          UNDETERMINED
             DISTRIBUTORS - WHOLESALE DISTRIBUTOR
             (VIRTUAL)

   62. 16    LOUISIANA DEPARTMENT OF HEALTH AND                                  UNKNOWN          UNDETERMINED
             HOSP. - DIST. OF PRES. DRUGS PRODUCT
             REGISTRATION (VIRTUAL)

   62. 17    MARYLAND BOARD OF PHARMACY - VIRTUAL                                UNKNOWN          UNDETERMINED
             MANUFACTURER DISTRIBUTING OWN

   62. 18    MINNESOTA BOARD OF PHARMACY -                                       UNKNOWN          UNDETERMINED
             MANUFACTURER (VIRTUAL)

   62. 19    MINNESOTA BOARD OF PHARMACY -                                       UNKNOWN          UNDETERMINED
             WHOLESALER (VIRTUAL)

   62. 20    MISSISSIPPI BOARD OF PHARMACY - DRUG                                UNKNOWN          UNDETERMINED
             FACILITY PERMIT (VIRTUAL)

   62. 21    MONTANA BOARD OF PHARMACY - WHOLESALE                               UNKNOWN          UNDETERMINED
             DRUG DISTRIBUTOR / CS (VIRTUAL)

   62. 22    MONTANA DEPT. OF REVENUE - OPIOID                                   UNKNOWN          UNDETERMINED
             DISTRIBUTOR LICENSE

   62. 23    NEW JERSEY DEPARTMENT OF HEALTH &                                   UNKNOWN          UNDETERMINED
             SENIOR SERVICES / CONSUMER & ENV. HEALTH
             SVCS. - WHOLESALER (VIRTUAL)

   62. 24    NEW MEXICO BOARD OF PHARMACY -                                      UNKNOWN          UNDETERMINED
             CONTROLLED SUBSTANCE (VIRTUAL)



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   62. 25    NEW MEXICO BOARD OF PHARMACY -                                       UNKNOWN          UNDETERMINED
             WHOLESALE DRUG DISTRIBUTOR (VIRTUAL)

   62. 26    NEW YORK DEPARTMENT OF EDUCATION &                                   UNKNOWN          UNDETERMINED
             BOARD OF PHARMACY - NON-RESIDENT
             WHOLESALER (VIRTUAL)

   62. 27    NORTH CAROLINA DEPARTMENT OF                                         UNKNOWN          UNDETERMINED
             AGRICULTURE & CONSUMER SVCS -
             DISTRIBUTOR (VIRTUAL)

   62. 28    NORTH CAROLINA DEPARTMENT OF                                         UNKNOWN          UNDETERMINED
             AGRICULTURE & CONSUMER SVCS -
             MANUFACTURER (VIRTUAL)

   62. 29    NORTH DAKOTA BOARD OF PHARMACY -                                     UNKNOWN          UNDETERMINED
             VIRTUAL MANUFACTURER DISTRIBUTING OWN
             PRODUCTS

   62. 30    OHIO BOARD OF PHARMACY - WHOLESALER                                  UNKNOWN          UNDETERMINED
             CATEGORY 3 (VIRTUAL)

   62. 31    OKLAHOMA BOARD OF PHARMACY -                                         UNKNOWN          UNDETERMINED
             MANUFACTURER (VIRTUAL)

   62. 32    OKLAHOMA BOARD OF PHARMACY -                                         UNKNOWN          UNDETERMINED
             WHOLESALE DISTRIBUTOR (VIRTUAL)

   62. 33    OREGON BOARD OF PHARMACY -                                           UNKNOWN          UNDETERMINED
             MANUFACTURER W/CS (VIRTUAL)

   62. 34    OREGON BOARD OF PHARMACY - WHOLESALER                                UNKNOWN          UNDETERMINED
             (VIRTUAL)

   62. 35    PENNSYLVANIA DEPARTMENT OF HEALTH -                                  UNKNOWN          UNDETERMINED
             WHOLESALER/DISTRIBUTOR/CS (VIRTUAL)

   62. 36    RHODE ISLAND RI DEPARTMENT OF HEALTH,                                UNKNOWN          UNDETERMINED
             BOARD OF PHARMACY - DRUG WHOLESALER
             (OUT-OF-STATE VIRTUAL)

   62. 37    SOUTH DAKOTA BOARD OF PHARMACY -                                     UNKNOWN          UNDETERMINED
             WHOLESALE DRUG DISTRIBUTOR (VIRTUAL)

   62. 38    TENNESSEE BOARD OF PHARMACY -                                        UNKNOWN          UNDETERMINED
             WHOLESALE/DISTRIBUTOR (CS) (VIRTUAL)

   62. 39    TEXAS DEPARTMENT OF HEALTH - OUT OF                                  UNKNOWN          UNDETERMINED
             STATE WHOLESALE DISTRIBUTOR OF
             PRESCRIPTION DRUGS (VIRTUAL)

   62. 40    UTAH DEPARTMENT OF COMMERCE, DIVISION.                               UNKNOWN          UNDETERMINED
             OF OCCUPATIONAL AND PROF. LICENSING -
             PHARMACY - CLASS C / WHOLESALER,
             MANUFACTURER, DISTRIBUTOR / CS (VIRTUAL)

   62. 41    VERMONT SECRETARY OF STATE, OFC. OF                                  UNKNOWN          UNDETERMINED
             PROF. REG., BOARD OF PHARMACY -
             WHOLESALE DISTRIBUTOR (VIRTUAL)

   62. 42    WASHINGTON DEPARTMENT OF HEALTH -                                    UNKNOWN          UNDETERMINED
             PHARMACEUTICAL WHOLESALER (OUT OF
             STATE VIRTUAL MANUFACTURER)

   62. 43    WEST VIRGINIA BOARD OF PHARMACY - DRUG                               UNKNOWN          UNDETERMINED
             MANUFACTURER / CS (VIRTUAL)




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Schedule A/B: Assets — Real and Personal Property
  Part 10:          Intangibles and intellectual property - detail

    62. 44        WISCONSIN DEPARTMENT OF SAFETY &                                                UNKNOWN                 UNDETERMINED
                  PROFESSIONAL SERVICES - WHOLESALE
                  DISTRIBUTOR (VIRTUAL)

63. Customer lists, mailing lists, or other compilations

    63. 1

64. Other intangibles, or intellectual property

    64. 1

65. Goodwill

    65. 1


66. Total of Part 10                                                                                                         Undetermined
    Add lines 60 through 65. Copy the total to line 89.


67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and
    107)?

             No
             Yes

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?

             No
             Yes

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?

             No
             Yes




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Schedule A/B: Assets — Real and Personal Property
  Part 11:          All other assets
70. Does the debtor own any other assets that have not yet been reported on this form? Include all interests in executory
    contracts and unexpired leases not previously reported on this form.

           No. Go to Part 12.
           Yes. Fill in the information below.


 General description                                                                                                     Current value of
                                                                                                                         debtor’s interest




71. Notes receivable
      Description (include name of obligor)

   71.1




72. Tax refunds and unused net operating losses (NOLs)
      Description (for example, federal, state, local)

   72.1




73. Interests in insurance policies or annuities

   73.1




74. Causes of action against third parties (whether or not a lawsuit has been filed)

   74.1   Claim by Purdue Pharma L.P. against Collegium NF, LLC relating to patent litigation                                  Undetermined

            Nature of claim: Patent Litigation
            Amount requested: Not Available

   74.2   Claim by Purdue Pharma L.P. against Collegium Pharmaceutical, Inc. relating to patent litigation                     Undetermined

            Nature of claim: Patent Litigation
            Amount requested: Not Available

   74.3   Claim by Purdue Pharma L.P. against Intellipharmaceutics Corporation relating to patent litigation                   Undetermined

            Nature of claim: Patent Litigation
            Amount requested: Not Available

   74.4   Claim by Purdue Pharma L.P. against Intellipharmaceutics International Inc. relating to patent litigation            Undetermined

            Nature of claim: Patent Litigation
            Amount requested: Not Available

   74.5   Claim by Purdue Pharma L.P. against Intellipharmaceutics LTD. relating to patent litigation                          Undetermined

            Nature of claim: Patent Litigation
            Amount requested: Not Available


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Schedule A/B: Assets — Real and Personal Property
   Part 11:        All other assets

  General description                                                                                                Current value of
                                                                                                                     debtor’s interest




74. Causes of action against third parties (whether or not a lawsuit has been filed)

    74.6   Declaratory Judgement between Purdue Pharma L.P. and TIG Specialty Insurance Company (Ironshore                 Undetermined
           Specialty Insurance Company)

            Nature of claim: Insurance
            Amount requested: Not Available

75. Other contingent and unliquidated claims or causes of action of every nature, including counterclaims of the debtor and rights to set
    off claims

    75.1




76. Trusts, equitable or future interests in property

    76.1




77. Other property of any kind not already listed Examples: Season tickets, country club membership
       Examples: Season tickets, country club membership

    77.1




78. Total of Part 11
                                                                                                                          Undetermined
     Add lines 71 through 77. Copy the total to line
     90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?

           No
           Yes




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Schedule A/B: Assets — Real and Personal Property
  Part 12:          Summary

In Part 12 copy all of the totals from the earlier parts of the form.

  Type of property                                                                  Current value of         Current value of   Total of all property
                                                                                    personal property         real property


80.    Cash, cash equivalents, and financial assets. Copy line 5, Part 1.            $1,362,483,690

81.    Deposits and prepayments. Copy line 9, Part 2.                                   $30,767,438

82.    Accounts receivable. Copy line 12, Part 3.                                      $113,634,806

83.    Investments. Copy line 17, Part 4.                                               $10,563,678

84.    Inventory. Copy line 23, Part 5.                                                  $7,128,144

85.    Farming and fishing-related assets. Copy line 33, Part 6.                                  $0

86.    Office furniture, fixtures, and equipment; and collectibles. Copy                $12,185,904
       line 43, Part 7.

87.    Machinery, equipment, and vehicles. Copy line 51, Part 8.                         $1,588,082

88.    Real property. Copy line 56, Part 9.                                                                       $4,924,196

89.    Intangibles and intellectual property. Copy line 66, Part 10.                              $0

90.    All other assets. Copy line 78, Part 11.                                                   $0



91.    Total. Add lines 80 through 90 for each column.                               $1,538,351,742               $4,924,196
                                                                               a.                       b.



92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.                                                                  $1,543,275,938




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Schedule D: Creditors Who Have Claims Secured by Property

1.    Do any creditors have claims secured by debtor’s property?
             No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
             Yes. Fill in all of the information below.


      Part 1:       List Creditors Who Have Secured Claims
2.    List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured claim, list the
      creditor separately for each claim.

 Creditor's Name and Mailing Address, E-mail                  Co-       Insider     Co-      Date Claim was Incurred, Property Description,          C U     D    Amount of Claim   Value of Collateral
 Address & An Account Number                                Interest               Debtor    Lien & Co-Interest Creditor

Liens

2.1     IKON FINANCIAL SVCS                                                                 DATE: 12/6/2014                                                          Undetermined
        1738 BASS RD
        MACON, GA 31210-1043                                                                PROPERTY DESCRIPTION: 201412066283456
                                                                                            LIEN DESCRIPTION: LIEN HOLDER




2.2     IKON FINANCIAL SVCS                                                                 DATE: 4/23/2015                                                          Undetermined
        1738 BASS RD
        MACON, GA 31210-1043                                                                PROPERTY DESCRIPTION: 201504235425535
                                                                                            LIEN DESCRIPTION: LIEN HOLDER




2.3     IKON FINANCIAL SVCS                                                                 DATE: 1/8/2016                                                           Undetermined
        1738 BASS RD
        MACON, GA 31210-1043                                                                PROPERTY DESCRIPTION: 201601085026569
                                                                                            LIEN DESCRIPTION: LIEN HOLDER




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Schedule D: Creditors Who Have Claims Secured by Property

Creditor's Name and Mailing Address, E-mail     Co-      Insider    Co-      Date Claim was Incurred, Property Description,    C U      D    Amount of Claim   Value of Collateral
Address & An Account Number                   Interest             Debtor    Lien & Co-Interest Creditor

Liens

2.4   IKON FINANCIAL SVCS                                                   DATE: 1/29/2016                                                     Undetermined
      1738 BASS RD
      MACON, GA 31210-1043                                                  PROPERTY DESCRIPTION: 201601295112047
                                                                            LIEN DESCRIPTION: LIEN HOLDER




2.5   IKON FINANCIAL SVCS                                                   DATE: 5/25/2016                                                     Undetermined
      1738 BASS RD
      MACON, GA 31210-1043                                                  PROPERTY DESCRIPTION: 201605255620715
                                                                            LIEN DESCRIPTION: LIEN HOLDER




                                                                                                                         Liens Total:




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Schedule D: Creditors Who Have Claims Secured by Property

                                                                                                                       Amount of Claim


3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.




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Schedule D: Creditors Who Have Claims Secured by Property
  Part 2:        List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are
collection agencies, assignees of claims listed above, and attorneys for secured creditors.

 Name and Mailing Address                                               Part 1 Line on which the Related         Last 4 Digits of Account
                                                                               Creditor was Listed                Number for this Entity


NONE




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Schedule E/F: Creditors Who Have Unsecured Claims
      Part 1:       List All Creditors with PRIORITY Unsecured Claims

1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.
             Yes. Go to line 2.
2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor
      has more than 3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

 Creditor's Name, Mailing Address Including          Date Claim Was Incurred And       C U     D      Offset      Total Claim      Priority Amount
 Zip Code                                                  Account Number

Taxing Authorities

2.1      ALABAMA DEPARTMENT OF                                UNKNOWN                                          UNDETERMINED UNDETERMINED
         REVENUE
         50 NORTH RIPLEY STREET                          ACCOUNT NO.: NOT
         MONTGOMERY, AL 36104                               AVAILABLE

2.2      ALABAMA STATE BOARD OF                               UNKNOWN                                          UNDETERMINED UNDETERMINED
         PHARMACY
         111 VILLAGE ST                                  ACCOUNT NO.: NOT
         BIRMINGHAM, AL 35242                               AVAILABLE

2.3      ARIZONA DEPARTMENT OF REVENUE                        UNKNOWN                                          UNDETERMINED UNDETERMINED
         1600 WEST MONROE STREET
         PHOENIX, AZ 85007                               ACCOUNT NO.: NOT
                                                            AVAILABLE

2.4      ARIZONA STATE BOARD OF                               UNKNOWN                                          UNDETERMINED UNDETERMINED
         PHARMACY
         1616 W. ADAMS ST., SUITE 120                    ACCOUNT NO.: NOT
         PHOENIX, AZ 85007                                  AVAILABLE

2.5      ARKANSAS STATE BOARD OF                              UNKNOWN                                          UNDETERMINED UNDETERMINED
         PHARMACY
         322 S MAIN ST, SUITE 600                        ACCOUNT NO.: NOT
         LITTLE ROCK, AR 72201                              AVAILABLE

2.6      CALIFORNIA BOARD OF                                  UNKNOWN                                          UNDETERMINED UNDETERMINED
         EQUALIZATION
         PO BOX 942879                                   ACCOUNT NO.: NOT
         SACRAMENTO, CA 94279-6001                          AVAILABLE

2.7      CALIFORNIA DEPT OF TAX & FEE                         UNKNOWN                                          UNDETERMINED UNDETERMINED
         ADMIN
         PO BOX 942879                                   ACCOUNT NO.: NOT
         SACRAMENTO, CA 94279                               AVAILABLE

2.8      CALIFORNIA FRANCHISE TAX BOARD                       UNKNOWN                                          UNDETERMINED UNDETERMINED
         BUSINESS ACQUISITIONS UNIT MS
         A374                                            ACCOUNT NO.: NOT
         9646 BUTTERFIELD WAY                               AVAILABLE
         SACRAMENTO, CA 95827

2.9      CALIFORNIA STATE BOARD OF                            UNKNOWN                                          UNDETERMINED UNDETERMINED
         PHARMACY
         1625 N MARKET BLVD N219                         ACCOUNT NO.: NOT
         SACRAMENTO, CA 95834                               AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including     Date Claim Was Incurred And     C U     D   Offset    Total Claim   Priority Amount
Zip Code                                             Account Number

Taxing Authorities

2.10   CITY OF CHATTANOOGA TENNESSEE                  UNKNOWN                                       UNDETERMINED UNDETERMINED
       PO BOX 191
       CHATTANOOGA, TN 37401-0191                 ACCOUNT NO.: NOT
                                                     AVAILABLE

2.11   CITY OF DURHAM                                 UNKNOWN                                       UNDETERMINED UNDETERMINED
       FINANCE DEPARTMENT
       101 CITY HALL PLAZA                        ACCOUNT NO.: NOT
       DURHAM, NC 27701                              AVAILABLE

2.12   CITY OF HAWTHORNE                              UNKNOWN                                       UNDETERMINED UNDETERMINED
       4455 W 126TH STREET
       FRESNO, CA 93775-1866                      ACCOUNT NO.: NOT
                                                     AVAILABLE

2.14   CITY OF STAMFORD                               UNKNOWN                                       UNDETERMINED UNDETERMINED
       PO BOX 50
       STAMFORD, CT 06904-0050                    ACCOUNT NO.: NOT
                                                     AVAILABLE

2.13   CITY OF STAMFORD                               UNKNOWN                                       UNDETERMINED UNDETERMINED
       BOARD OF FINANCE, STAMFORD
       GOVERNMENT CENTER                          ACCOUNT NO.: NOT
       888 WASHINGTON BLVD, 4TH FLOOR                AVAILABLE
       STAMFORD, CT 06901

2.15   CITY OF VALLEJO                                UNKNOWN                                       UNDETERMINED UNDETERMINED
       555 SANTA CLARA ST
       VALLEJO, CA 94590-5934                     ACCOUNT NO.: NOT
                                                     AVAILABLE

2.16   CITY OF WARWICK                                UNKNOWN                                       UNDETERMINED UNDETERMINED
       FINANCE DEPARTMENT
       WARWICK CITY HALL, 3275 POST               ACCOUNT NO.: NOT
       ROAD                                          AVAILABLE
       WARWICK, RI 02889

2.17   CITY OF WILSON                                 UNKNOWN                                       UNDETERMINED UNDETERMINED
       FINANCIAL ADMINISTRATION AND
       ACCOUNTING                                 ACCOUNT NO.: NOT
       112 GOLDSBORO ST. E                           AVAILABLE
       WILSON, NC 27894

2.18   COLORADO BUREAU OF                             UNKNOWN                                       UNDETERMINED UNDETERMINED
       INVESTIGATION
       690 KIPLING STREET                         ACCOUNT NO.: NOT
       SUITE 4000                                    AVAILABLE
       LAKEWOOD, CO 80215




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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including     Date Claim Was Incurred And     C U     D   Offset    Total Claim   Priority Amount
Zip Code                                             Account Number

Taxing Authorities

2.19   COLORADO DEPARTMENT OF                         UNKNOWN                                       UNDETERMINED UNDETERMINED
       REGULATORY AGENCIES, DIVISION
       OF PROFESSIONS AND                         ACCOUNT NO.: NOT
       OCCUPATIONS, BOARD OF                         AVAILABLE
       PHARMACY
       1560 BROADWAY
       SUITE 1350
       DENVER, CO 80202

2.20   COLORADO DEPARTMENT OF                         UNKNOWN                                       UNDETERMINED UNDETERMINED
       REVENUE
       1375 SHERMAN STREET                        ACCOUNT NO.: NOT
       DENVER, CO 80261                              AVAILABLE

2.21   COLORADO STATE BOARD OF                        UNKNOWN                                       UNDETERMINED UNDETERMINED
       PHARMACY
       1560 BROADWAY, SUITE 1350                  ACCOUNT NO.: NOT
       DENVER, CO 80202                              AVAILABLE

2.22   COMMISSIONER OF REVENUE                        UNKNOWN                                       UNDETERMINED UNDETERMINED
       SERVICES
       77 K STREET NORTH EAST                     ACCOUNT NO.: NOT
       WASHINGTON, DC 20002                          AVAILABLE

2.23   COMPTROLLER OF MARYLAND                        UNKNOWN                                       UNDETERMINED UNDETERMINED
       8181 PROFESSIONAL PL STE 101
       LANDOVER, MD 20785                         ACCOUNT NO.: NOT
                                                     AVAILABLE

2.24   CONNECTICUT COMMISSIONER OF                    UNKNOWN                                       UNDETERMINED UNDETERMINED
       REVENUE SERVICES
       COMMISSIONER SCOTT D. JACKSON I            ACCOUNT NO.: NOT
       450 COLUMBUS BLVD.                            AVAILABLE
       HARTFORD, CT 06103

2.25   CONNECTICUT DEPARTMENT OF                      UNKNOWN                                       UNDETERMINED UNDETERMINED
       CONSUMER PROTECTION
       450 COLUMBUS BOULEVARD, SUITE              ACCOUNT NO.: NOT
       901                                           AVAILABLE
       HARTFORD, CT 06103-1840

2.26   CONNECTICUT STATE DEPARTMENT                   UNKNOWN                                       UNDETERMINED UNDETERMINED
       OF CONSUMER PROTECTION
       450 COLUMBUS BOULEVARD, SUITE              ACCOUNT NO.: NOT
       901                                           AVAILABLE
       HARTFORD, CT 06103-1840

2.27   COVENTRY FIRE DISTRICT                         UNKNOWN                                       UNDETERMINED UNDETERMINED
       PO BOX 20104
       CRANSTON, RI 02920-0927                    ACCOUNT NO.: NOT
                                                     AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including     Date Claim Was Incurred And     C U     D   Offset    Total Claim   Priority Amount
Zip Code                                             Account Number

Taxing Authorities

2.28   DELAWARE DIVISION OF                           UNKNOWN                                       UNDETERMINED UNDETERMINED
       PROFESSIONAL REGULATION
       CANNON BUILDING, SUITE 203                 ACCOUNT NO.: NOT
       861 SILVER LAKE BLVD.                         AVAILABLE
       DOVER, DE 19904

2.29   DELAWARE DIVISION OF REVENUE                   UNKNOWN                                       UNDETERMINED UNDETERMINED
       PO BOX 8703
       WILMINGTON, DE 19899-8703                  ACCOUNT NO.: NOT
                                                     AVAILABLE

2.30   DELAWARE DIVISION OF REVENUE                   UNKNOWN                                       UNDETERMINED UNDETERMINED
       WILMINGTON OFFICE
       820 N. FRENCH STREET                       ACCOUNT NO.: NOT
       WILMINGTON, DE 19801                          AVAILABLE

2.31   DELAWARE DIVISION OF REVENUE                   UNKNOWN                                       UNDETERMINED UNDETERMINED
       DOVER OFFICE
       540 SOUTH DUPONT HIGHWAY,                  ACCOUNT NO.: NOT
       SUITE 2                                       AVAILABLE
       DOVER, DE 19901

2.32   DISTRICT OF COLUMBIA                           UNKNOWN                                       UNDETERMINED UNDETERMINED
       DEPARTMENT OF HEALTH, HEALTH,
       REGULATION AND LICENSING                   ACCOUNT NO.: NOT
       ADMINISTRATION                                AVAILABLE
       899 NORTH CAPITOL STREET, NE
       WASHINGTON, DC 20002

2.34   DISTRICT OF COLUMBIA TREASURER                 UNKNOWN                                       UNDETERMINED UNDETERMINED
       OFFICE OF TAX & REVENUE
       WASHINGTON, DC 20090                       ACCOUNT NO.: NOT
                                                     AVAILABLE

2.33   DISTRICT OF COLUMBIA TREASURER                 UNKNOWN                                       UNDETERMINED UNDETERMINED
       899 N CAPITAL ST NE 2ND FL
       WASHINGTON, DC 20002                       ACCOUNT NO.: NOT
                                                     AVAILABLE

2.35   FLORIDA DEPARTMENT OF                          UNKNOWN                                       UNDETERMINED UNDETERMINED
       BUSINESS AND PROFESSIONAL
       REGULATION                                 ACCOUNT NO.: NOT
       2601 BLAIR STONE ROAD                         AVAILABLE
       TALLAHASSEE, FL 32399

2.36   FLORIDA DEPARTMENT OF HEALTH                   UNKNOWN                                       UNDETERMINED UNDETERMINED
       4052 BALD CYPRESS WAY, BIN A04
       TALLAHASSEE, FL 32399                      ACCOUNT NO.: NOT
                                                     AVAILABLE

2.37   FLORIDA DEPARTMENT OF REVENUE                  UNKNOWN                                       UNDETERMINED UNDETERMINED
       5050 WEST TENNESSEE STREET
       TALLAHASSEE, FL 32399                      ACCOUNT NO.: NOT
                                                     AVAILABLE



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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including     Date Claim Was Incurred And     C U     D   Offset    Total Claim   Priority Amount
Zip Code                                             Account Number

Taxing Authorities

2.38   FLORIDA DEPARTMENT OF REVENUE                  UNKNOWN                                       UNDETERMINED UNDETERMINED
       GENERAL COUNSEL
       P. O. BOX 6668                             ACCOUNT NO.: NOT
       TALLAHASSEE, FL 32314-6668                    AVAILABLE

2.39   FRANCHISE TAX BOARD                            UNKNOWN                                       UNDETERMINED UNDETERMINED
       PO BOX 942857
       SACRAMENTO, CA 94257                       ACCOUNT NO.: NOT
                                                     AVAILABLE

2.40   GEORGIA DEPARTMENT OF                          UNKNOWN                                       UNDETERMINED UNDETERMINED
       REVENUE
       1800 CENTURY BOULEVARD, NE                 ACCOUNT NO.: NOT
       ATLANTA, GA 30345                             AVAILABLE

2.41   GEORGIA STATE BOARD OF                         UNKNOWN                                       UNDETERMINED UNDETERMINED
       PHARMACY
       GEORGIA DEPARTMENT OF                      ACCOUNT NO.: NOT
       COMMUNITY HEALTH                              AVAILABLE
       2 PEACHTREE ST NW, 6TH FLOOR
       ATLANTA, GA 30303

2.42   HAMILTON COUNTY TRUSTEE                        UNKNOWN                                       UNDETERMINED UNDETERMINED
       PO BOX 11047
       CHATTANOOGA, TN 37401-2047                 ACCOUNT NO.: NOT
                                                     AVAILABLE

2.43   IDAHO STATE BOARD OF PHARMACY                  UNKNOWN                                       UNDETERMINED UNDETERMINED
       1199 W SHORELINE LANE, SUITE 303
       BOISE, ID 83702-9103                       ACCOUNT NO.: NOT
                                                     AVAILABLE

2.45   IDAHO STATE TAX COMMISSION                     UNKNOWN                                       UNDETERMINED UNDETERMINED
       P.O. BOX 36
       BOISE, ID 83722-0410                       ACCOUNT NO.: NOT
                                                     AVAILABLE

2.44   IDAHO STATE TAX COMMISSION                     UNKNOWN                                       UNDETERMINED UNDETERMINED
       800 E. PARK BLVD.
       BOISE, ID 83712-7742                       ACCOUNT NO.: NOT
                                                     AVAILABLE

2.46   ILLINOIS DEPARTMENT OF                         UNKNOWN                                       UNDETERMINED UNDETERMINED
       FINANCIAL AND PROFESSIONAL
       REGULATION                                 ACCOUNT NO.: NOT
       100 WEST RANDOLPH, 9TH FLOOR                  AVAILABLE
       CHICAGO, IL 60601

2.49   ILLINOIS DEPARTMENT OF REVENUE                 UNKNOWN                                       UNDETERMINED UNDETERMINED
       WILLARD ICE BUILDING
       101 WEST JEFFERSON STREET                  ACCOUNT NO.: NOT
       SPRINGFIELD, IL 62702                         AVAILABLE




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Zip Code                                             Account Number

Taxing Authorities

2.48   ILLINOIS DEPARTMENT OF REVENUE                 UNKNOWN                                       UNDETERMINED UNDETERMINED
       MAINE NORTH REGIONAL BUILDING
       9511 HARRISON AVENUE                       ACCOUNT NO.: NOT
       DES PLAINES, IL 60016-1563                    AVAILABLE

2.47   ILLINOIS DEPARTMENT OF REVENUE                 UNKNOWN                                       UNDETERMINED UNDETERMINED
       JAMES R. THOMPSON CENTER -
       CONCOURSE LEVEL                            ACCOUNT NO.: NOT
       100 WEST RANDOLPH STREET                      AVAILABLE
       CHICAGO, IL 60601-3274

2.50   INDIANA DEPT OF REVENUE                        UNKNOWN                                       UNDETERMINED UNDETERMINED
       PO BOX 7205
       INDIANAPOLIS, IN 46205                     ACCOUNT NO.: NOT
                                                     AVAILABLE

2.51   IOWA BOARD OF PHARMACY                         UNKNOWN                                       UNDETERMINED UNDETERMINED
       400 SW 8TH ST, SUITE E
       DES MOINES, IA 50309-4688                  ACCOUNT NO.: NOT
                                                     AVAILABLE

2.52   KANSAS STATE BOARD OF                          UNKNOWN                                       UNDETERMINED UNDETERMINED
       PHARMACY
       800 SW JACKSON, STE 1414                   ACCOUNT NO.: NOT
       TOPEKA, KS 66612                              AVAILABLE

2.53   KENTUCKY BOARD OF PHARMACY                     UNKNOWN                                       UNDETERMINED UNDETERMINED
       125 HOLMES STREET
       STATE OFFICE BUILDING ANNEX.               ACCOUNT NO.: NOT
       SUITE 300                                     AVAILABLE
       FRANKFORT, KY 40601

2.54   KENTUCKY STATE TREASURER                       UNKNOWN                                       UNDETERMINED UNDETERMINED
       OFFICE OF KENTUCKY STATE
       TREASURER ALLISON BALL                     ACCOUNT NO.: NOT
       1050 US HIGHWAY 127 SOUTH, SUITE              AVAILABLE
       100
       FRANKFORT, KY 40601

2.55   LOUISIANA BOARD OF DRUG AND                    UNKNOWN                                       UNDETERMINED UNDETERMINED
       DEVICE DISTRIBUTORS
       12091 BRICKSOME AVENUE, SUITE B            ACCOUNT NO.: NOT
       BATON ROUGE, LA 70816                         AVAILABLE

2.56   LOUISIANA BOARD OF PHARMACY                    UNKNOWN                                       UNDETERMINED UNDETERMINED
       3388 BRENTWOOD DRIVE
       BATON ROUGE, LA 70809                      ACCOUNT NO.: NOT
                                                     AVAILABLE

2.57   LOUISIANA BOARD OF WHOLESALE                   UNKNOWN                                       UNDETERMINED UNDETERMINED
       DRUG DISTRIBUTORS
       12091 BRICKSOME AVENUE, SUITE B            ACCOUNT NO.: NOT
       BATON ROUGE, LA 70816                         AVAILABLE




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Taxing Authorities

2.58   LOUISIANA DEPARTMENT OF HEALTH                 UNKNOWN                                       UNDETERMINED UNDETERMINED
       628 N. 4TH STREET
       BATON ROUGE, LA 70802                      ACCOUNT NO.: NOT
                                                     AVAILABLE

2.59   MAINE DEPARTMENT OF                            UNKNOWN                                       UNDETERMINED UNDETERMINED
       PROFESSIONAL AND FINANCIAL
       REGULATION                                 ACCOUNT NO.: NOT
       OFFICE OF PROFESSIONAL AND                    AVAILABLE
       OCCUPATIONAL REGULATION –
       BOARD OF PHARMACY
       35 STATE HOUSE STATION
       AUGUSTA, ME 04333-0035

2.60   MAINE DEPARTMENT OF                            UNKNOWN                                       UNDETERMINED UNDETERMINED
       PROFESSIONAL AND FINANCIAL
       REGULATION BOARD OF PHARMACY               ACCOUNT NO.: NOT
       76 NORTHERN AVENUE                            AVAILABLE
       GARDINER, MA 04345

2.63   MAINE REVENUE SERVICES                         UNKNOWN                                       UNDETERMINED UNDETERMINED
       35 STATE HOUSE STATION
       AUGUSTA, ME 04330                          ACCOUNT NO.: NOT
                                                     AVAILABLE

2.62   MAINE REVENUE SERVICES                         UNKNOWN                                       UNDETERMINED UNDETERMINED
       51 COMMERCE DRIVE
       AUGUSTA, ME 04330                          ACCOUNT NO.: NOT
                                                     AVAILABLE

2.61   MAINE REVENUE SERVICES                         UNKNOWN                                       UNDETERMINED UNDETERMINED
       PO BOX 9101
       AUGUSTA, ME 04332-9101                     ACCOUNT NO.: NOT
                                                     AVAILABLE

2.64   MARYLAND DEPARTMENT OF                         UNKNOWN                                       UNDETERMINED UNDETERMINED
       HEALTH AND MENTAL HYGIENE
       201 W. PRESTON STREET                      ACCOUNT NO.: NOT
       BALTIMORE, MD 21201                           AVAILABLE

2.65   MARYLAND PHARMACY BOARD                        UNKNOWN                                       UNDETERMINED UNDETERMINED
       4201 PATTERSON AVENUE
       BALTIMORE, MD 21215                        ACCOUNT NO.: NOT
                                                     AVAILABLE

2.66   MASSACHUSETTS DEPARTMENT OF                    UNKNOWN                                       UNDETERMINED UNDETERMINED
       REVENUE
       100 CAMBRIDGE STREET, 2ND FOOR             ACCOUNT NO.: NOT
       BOSTON, MA 02114                              AVAILABLE

2.67   MICHIGAN BOARD OF PHARMACY                     UNKNOWN                                       UNDETERMINED UNDETERMINED
       611 W OTTAWA, 3RD FLOOR
       P.O. BOX 30670                             ACCOUNT NO.: NOT
       LANSING, MI 48909-8170                        AVAILABLE



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Zip Code                                             Account Number

Taxing Authorities

2.69   MICHIGAN DEPARTMENT OF                         UNKNOWN                                       UNDETERMINED UNDETERMINED
       TREASURY
       UNCLAIMED PROPERTY                         ACCOUNT NO.: NOT
       P.O. BOX 30756                                AVAILABLE
       LANSING, MI 48909

2.68   MICHIGAN DEPARTMENT OF                         UNKNOWN                                       UNDETERMINED UNDETERMINED
       TREASURY
       430 W ALLEGAN STREET                       ACCOUNT NO.: NOT
       LANSING, MI 48922                             AVAILABLE

2.70   MINNESOTA BOARD OF PHARMACY                    UNKNOWN                                       UNDETERMINED UNDETERMINED
       2829 UNIVERSITY AVE SE, SUITE 530
       MINNEAPOLIS, MN 55414-3251                 ACCOUNT NO.: NOT
                                                     AVAILABLE

2.71   MINNESOTA DEPARTMENT OF                        UNKNOWN                                       UNDETERMINED UNDETERMINED
       REVENUE
       600 NORTH ROBERT STREET                    ACCOUNT NO.: NOT
       ST. PAUL, MN 55146                            AVAILABLE

2.72   MISSISSIPPI BOARD OF PHARMACY                  UNKNOWN                                       UNDETERMINED UNDETERMINED
       6360 I-55 NORTH
       SUITE 400                                  ACCOUNT NO.: NOT
       JACKSON, MS 39211                             AVAILABLE

2.73   MISSISSIPPI DEPARTMENT OF                      UNKNOWN                                       UNDETERMINED UNDETERMINED
       REVENUE
       P.O. BOX 1033                              ACCOUNT NO.: NOT
       JACKSON, MS 39215-1033                        AVAILABLE

2.74   MISSISSIPPI DEPARTMENT OF                      UNKNOWN                                       UNDETERMINED UNDETERMINED
       REVENUE
       500 CLINTON CENTER DRIVE                   ACCOUNT NO.: NOT
       CLINTON, MS 39056                             AVAILABLE

2.75   MISSOURI BOARD OF PHARMACY                     UNKNOWN                                       UNDETERMINED UNDETERMINED
       P.O. BOX 625
       JEFFERSON CITY, MO 65102                   ACCOUNT NO.: NOT
                                                     AVAILABLE

2.76   MONTANA BOARD OF PHARMACY                      UNKNOWN                                       UNDETERMINED UNDETERMINED
       P.O. BOX 200513
       HELENA, MT 59620-0513                      ACCOUNT NO.: NOT
                                                     AVAILABLE

2.77   NEBRASKA DEPARTMENT OF                         UNKNOWN                                       UNDETERMINED UNDETERMINED
       REVENUE
       NEBRASKA STATE OFFICE BUILDING,            ACCOUNT NO.: NOT
       301 CENTENNIAL MALL S                         AVAILABLE
       LINCOLN, NE 68508




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Taxing Authorities

2.78   NEBRASKA DEPARTMENT OF                         UNKNOWN                                       UNDETERMINED UNDETERMINED
       REVENUE
       P.O. BOX 94818                             ACCOUNT NO.: NOT
       LINCOLN, NE 68509-4818                        AVAILABLE

2.79   NEVADA BOARD OF PHARMACY                       UNKNOWN                                       UNDETERMINED UNDETERMINED
       985 DAMONTE RANCH PKWY
       SUITE 206                                  ACCOUNT NO.: NOT
       RENO, NV 89521                                AVAILABLE

2.83   NEVADA DEPARTMENT OF TAXATION                  UNKNOWN                                       UNDETERMINED UNDETERMINED
       4600 KIETZKE LANE
       BUILDING L, ROOM 235                       ACCOUNT NO.: NOT
       RENO, NV 89502                                AVAILABLE

2.80   NEVADA DEPARTMENT OF TAXATION                  UNKNOWN                                       UNDETERMINED UNDETERMINED
       GRANT SAWYER OFFICE BUILDING
       555 E. WASHINGTON AVE, SUITE 1300          ACCOUNT NO.: NOT
       LAS VEGAS, NV 89101                           AVAILABLE

2.82   NEVADA DEPARTMENT OF TAXATION                  UNKNOWN                                       UNDETERMINED UNDETERMINED
       2550 PASEO VERDE
       SUITE 180                                  ACCOUNT NO.: NOT
       HENDERSON, NV 89074                           AVAILABLE

2.81   NEVADA DEPARTMENT OF TAXATION                  UNKNOWN                                       UNDETERMINED UNDETERMINED
       1550 COLLEGE PARKWAY, SUITE 115
       CARSON CITY, NV 89706                      ACCOUNT NO.: NOT
                                                     AVAILABLE

2.84   NEW HAMPSHIRE BOARD OF                         UNKNOWN                                       UNDETERMINED UNDETERMINED
       PHARMACY
       121 S FRUIT ST                             ACCOUNT NO.: NOT
       SUITE 401                                     AVAILABLE
       CONCORD, NH 03301-2412

2.85   NEW JERSEY DEPARTMENT OF                       UNKNOWN                                       UNDETERMINED UNDETERMINED
       HEALTH
       P.O. BOX 360                               ACCOUNT NO.: NOT
       TRENTON, NJ 08625-0360                        AVAILABLE

2.86   NEW JERSEY DEPT OF TREASURY                    UNKNOWN                                       UNDETERMINED UNDETERMINED
       PO BOX 638
       TRENTON, NJ 08646-0638                     ACCOUNT NO.: NOT
                                                     AVAILABLE

2.87   NEW MEXICO BOARD OF PHARMACY                   UNKNOWN                                       UNDETERMINED UNDETERMINED
       5500 SAN ANTONIO DR NE, STE C
       ALBUQUERQUE, NM 87109                      ACCOUNT NO.: NOT
                                                     AVAILABLE

2.88   NEW YORK CITY DEPARTMENT OF                    UNKNOWN                                       UNDETERMINED UNDETERMINED
       FINANCE
       PO BOX 5150                                ACCOUNT NO.: NOT
       KINGSTON, NY 12402-5150                       AVAILABLE

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Zip Code                                             Account Number

Taxing Authorities

2.89   NEW YORK CITY DEPARTMENT OF                    UNKNOWN                                       UNDETERMINED UNDETERMINED
       FINANCE
       CORRESPONDENCE UNIT                        ACCOUNT NO.: NOT
       ONE CENTRE STREET, 22ND FLOOR                 AVAILABLE
       NEW YORK, NY 10007

2.90   NEW YORK CITY DEPARTMENT OF                    UNKNOWN                                       UNDETERMINED UNDETERMINED
       FINANCE
       PO BOX 4136                                ACCOUNT NO.: NOT
       BINGHAMTON, NY 13902-4136                     AVAILABLE

2.91   NEW YORK CITY DEPARTMENT OF                    UNKNOWN                                       UNDETERMINED UNDETERMINED
       FINANCE
       PO BOX 5040                                ACCOUNT NO.: NOT
       KINGSTON, NY 12402-5040                       AVAILABLE

2.92   NEW YORK CITY WATER BOARD                      UNKNOWN                                       UNDETERMINED UNDETERMINED
       PO BOX 11863
       NEWARK, NJ 07101                           ACCOUNT NO.: NOT
                                                     AVAILABLE

2.93   NEW YORK DEPARTMENT OF                         UNKNOWN                                       UNDETERMINED UNDETERMINED
       EDUCATION - BOARD OF PHARMACY
       89 WASHINGTON AVE                          ACCOUNT NO.: NOT
       2ND FLOOR W                                   AVAILABLE
       ALBANY, NY 12234-1000

2.94   NEW YORK DEPARTMENT OF HEALTH                  UNKNOWN                                       UNDETERMINED UNDETERMINED
       CORNING TOWER
       EMPIRE STATE PLAZA                         ACCOUNT NO.: NOT
       ALBANY, NY 12237                              AVAILABLE

2.96   NEW YORK STATE COMMISSIONER                    UNKNOWN                                       UNDETERMINED UNDETERMINED
       OF TAXATION & FIN
       PO BOX 61000                               ACCOUNT NO.: NOT
       ALBANY, NY 12261-0001                         AVAILABLE

2.95   NEW YORK STATE COMMISSIONER                    UNKNOWN                                       UNDETERMINED UNDETERMINED
       OF TAXATION & FIN
       BANKRUPTCY SECTION                         ACCOUNT NO.: NOT
       P.O. BOX 5300                                 AVAILABLE
       ALBANY, NY 12205-0300

2.97   NEW YORK STATE CORPORATION                     UNKNOWN                                       UNDETERMINED UNDETERMINED
       PO BOX 1909
       ALBANY, NY 12201-1909                      ACCOUNT NO.: NOT
                                                     AVAILABLE

2.98   NEW YORK STATE CORPORATION                     UNKNOWN                                       UNDETERMINED UNDETERMINED
       TAX
       PO BOX 22093                               ACCOUNT NO.: NOT
       ALBANY, NY 12201-2093                         AVAILABLE




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Taxing Authorities

2.100 NORTH CAROLINA DEPARTMENT OF                    UNKNOWN                                       UNDETERMINED UNDETERMINED
      AGRICULTURE & CONSUMER
      SERVICES                                    ACCOUNT NO.: NOT
      2 WEST EDENTON STREET                          AVAILABLE
      RALEIGH, NC 27601

2.99   NORTH CAROLINA DEPARTMENT OF                   UNKNOWN                                       UNDETERMINED UNDETERMINED
       AGRICULTURE & CONSUMER
       SERVICES                                   ACCOUNT NO.: NOT
       1001 MAIL SERVICE CENTER                      AVAILABLE
       RALEIGH, NC 27699-1001

2.101 NORTH CAROLINA DEPARTMENT OF                    UNKNOWN                                       UNDETERMINED UNDETERMINED
      ENVIRONMENTAL AND NATURAL
      RESOURCES                                   ACCOUNT NO.: NOT
      1601 MAIL SERVICE CENTER                       AVAILABLE
      RALEIGH, NC 27699-1601

2.102 NORTH CAROLINA DEPARTMENT OF                    UNKNOWN                                       UNDETERMINED UNDETERMINED
      HEALTH & HUMAN SERVICES
      2001 MAIL SERVICE CENTER                    ACCOUNT NO.: NOT
      RALEIGH, NC 27699-2000                         AVAILABLE

2.103 NORTH CAROLINA DEPARTMENT OF                    UNKNOWN                                       UNDETERMINED UNDETERMINED
      HEALTH & HUMAN SERVICES
      101 BLAIR DRIVE                             ACCOUNT NO.: NOT
      RALEIGH, NC 27603                              AVAILABLE

2.104 NORTH CAROLINA DEPARTMENT OF                    UNKNOWN                                       UNDETERMINED UNDETERMINED
      REVENUE
      501 NORTH WILMINGTON STREET                 ACCOUNT NO.: NOT
      RALEIGH, NC 27604                              AVAILABLE

2.105 NORTH CAROLINA DEPARTMENT OF                    UNKNOWN                                       UNDETERMINED UNDETERMINED
      REVENUE
      P.O. BOX 25000                              ACCOUNT NO.: NOT
      RALEIGH, NC 27640-0640                         AVAILABLE

2.106 NORTH CAROLINA DEPT OF                          UNKNOWN                                       UNDETERMINED UNDETERMINED
      REVENUE
      PO BOX 25000                                ACCOUNT NO.: NOT
      RALEIGH, NC 27640-0500                         AVAILABLE

2.107 NORTH DAKOTA STATE BOARD OF                     UNKNOWN                                       UNDETERMINED UNDETERMINED
      PHARMACY
      1906 E BROADWAY AVE                         ACCOUNT NO.: NOT
      BISMARCK, ND 58501-1354                        AVAILABLE

2.108 OHIO DEPARTMENT OF TAXATION                     UNKNOWN                                       UNDETERMINED UNDETERMINED
      PO BOX 181140
      COLUMBUS, OH 43218                          ACCOUNT NO.: NOT
                                                     AVAILABLE




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Taxing Authorities

2.109 OKLAHOMA STATE BOARD OF                         UNKNOWN                                       UNDETERMINED UNDETERMINED
      PHARMACY
      2920 N LINCOLN BLVD, STE A                  ACCOUNT NO.: NOT
      OKLAHOMA CITY, OK 73105-3488                   AVAILABLE

2.110 OREGON DEPARTMENT OF REVENUE                    UNKNOWN                                       UNDETERMINED UNDETERMINED
      PO BOX 14725
      SALEM, OR 97309-5018                        ACCOUNT NO.: NOT
                                                     AVAILABLE

2.111 OREGON STATE BOARD OF                           UNKNOWN                                       UNDETERMINED UNDETERMINED
      PHARMACY
      800 NE OREGON ST., SUITE 150                ACCOUNT NO.: NOT
      PORTLAND, OR 97232                             AVAILABLE

2.112 PA DEPARTMENT OF REVENUE                        UNKNOWN                                       UNDETERMINED UNDETERMINED
      OFFICE OF THE GOVERNOR
      508 MAIN CAPITOL BUILDING                   ACCOUNT NO.: NOT
      HARRISBURG, PA 17120                           AVAILABLE

2.113 PENNSYLVANIA DEPARTMENT OF                      UNKNOWN                                       UNDETERMINED UNDETERMINED
      HEALTH
      HEALTH AND WELFARE BUILDING                 ACCOUNT NO.: NOT
      8TH FLOOR WEST, 625 FORSTER                    AVAILABLE
      STREET
      HARRISBURG, PA 17120

2.114 PUERTO RICO SECRETARY OF                        UNKNOWN                                       UNDETERMINED UNDETERMINED
      TREASURY
      PO BOX 90224140                             ACCOUNT NO.: NOT
      SAN JUAN, PR 00902-4140                        AVAILABLE

2.115 RHODE ISLAND BOARD OF                           UNKNOWN                                       UNDETERMINED UNDETERMINED
      PHARMACY
      3 CAPITOL HILL, ROOM 205                    ACCOUNT NO.: NOT
      PROVIDENCE, RI 02908-5097                      AVAILABLE

2.116 RHODE ISLAND DEPARTMENT OF                      UNKNOWN                                       UNDETERMINED UNDETERMINED
      HEALTH
      3 CAPITOL HILL                              ACCOUNT NO.: NOT
      PROVIDENCE, RI 02908                           AVAILABLE

2.117 RHODE ISLAND DEPARTMENT OF                      UNKNOWN                                       UNDETERMINED UNDETERMINED
      HEALTH (DIV OF DRUG CTRL)
      50 ORMS ST                                  ACCOUNT NO.: NOT
      PROVIDENCE, RI 02903                           AVAILABLE

2.118 RHODE ISLAND DIVN OF TAXATION                   UNKNOWN                                       UNDETERMINED UNDETERMINED
      ONE CAPITOL HILL
      PROVIDENCE, RI 02908                        ACCOUNT NO.: NOT
                                                     AVAILABLE




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Taxing Authorities

2.119 SECRETARIO DE HACIENDA                          UNKNOWN                                       UNDETERMINED UNDETERMINED
      BUREAU OF CHAUFFEURS
      INSURANCE                                   ACCOUNT NO.: NOT
      SAN JUAN, PR 00919                             AVAILABLE

2.120 SECRETARY OF THE STATE                          UNKNOWN                                       UNDETERMINED UNDETERMINED
      PO BOX 150470
      HARTFORD, CT 06115-0470                     ACCOUNT NO.: NOT
                                                     AVAILABLE

2.121 SOUTH CAROLINA BOARD OF                         UNKNOWN                                       UNDETERMINED UNDETERMINED
      PHARMACY
      KINGSTREE BLDG                              ACCOUNT NO.: NOT
      110 CENTERVIEW DR                              AVAILABLE
      COLUMBIA, SC 29210

2.122 SOUTH CAROLINA BUREAU OF                        UNKNOWN                                       UNDETERMINED UNDETERMINED
      FINANCIAL MANAGEMENT
      2600 BULL STREE                             ACCOUNT NO.: NOT
      COLUMBIA, SC 29201                             AVAILABLE

2.124 SOUTH DAKOTA DEPARTMENT OF                      UNKNOWN                                       UNDETERMINED UNDETERMINED
      HEALTH
      600 E. CAPITOL AVE                          ACCOUNT NO.: NOT
      PIERRE, SD 57501-2536                          AVAILABLE

2.123 SOUTH DAKOTA DEPARTMENT OF                      UNKNOWN                                       UNDETERMINED UNDETERMINED
      HEALTH
      600 EAST CAPITOL AVENUE                     ACCOUNT NO.: NOT
      PIERRE, SD 57501-2536                          AVAILABLE

2.125 SOUTH DAKOTA STATE BOARD OF                     UNKNOWN                                       UNDETERMINED UNDETERMINED
      PHARMACY
      4001 W VALHALLA BLVD, STE 106               ACCOUNT NO.: NOT
      SIOUX FALLS, SD 57106                          AVAILABLE

2.126 STATE OF DELAWARE DIVISION OF                   UNKNOWN                                       UNDETERMINED UNDETERMINED
      PROFESSIONAL REGULATION
      CANNON BUILDING, SUITE 203                  ACCOUNT NO.: NOT
      861 SILVER LAKE BLVD.                          AVAILABLE
      DOVER, DE 19904

2.127 STATE OF HAWAII                                 UNKNOWN                                       UNDETERMINED UNDETERMINED
      DEPARTMENT OF THE ATTORNEY
      GENERAL                                     ACCOUNT NO.: NOT
      425 QUEEN STREET                               AVAILABLE
      HONOLULU, HI 96813

2.128 STATE OF NEW HAMPSHIRE                          UNKNOWN                                       UNDETERMINED UNDETERMINED
      STATE TREASURY
      25 CAPITOL STREET, ROOM 121                 ACCOUNT NO.: NOT
      CONCORD, NH 03301                              AVAILABLE




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Taxing Authorities

2.129 STATE OF NEW JERSEY                             UNKNOWN                                       UNDETERMINED UNDETERMINED
      225 WEST STATE STREET - 2ND
      FLOOR                                       ACCOUNT NO.: NOT
      TRENTON, NJ 08625                              AVAILABLE

2.130 STATE OF NEW JERSEY                             UNKNOWN                                       UNDETERMINED UNDETERMINED
      N.J. DIVISION OF TAXATION,
      BANKRUPTCY SECTION                          ACCOUNT NO.: NOT
      P.O. BOX 245                                   AVAILABLE
      TRENTON, NJ 08695-0245

2.131 STATE OF NEW JERSEY                             UNKNOWN                                       UNDETERMINED UNDETERMINED
      OFFICE OF THE STATE
      COMPTROLLER                                 ACCOUNT NO.: NOT
      20 WEST STATE STREET                           AVAILABLE
      TRENTON, NJ 08625

2.132 STATE OF OHIO BOARD OF                          UNKNOWN                                       UNDETERMINED UNDETERMINED
      PHARMACY
      77 S HIGH ST, 17TH FLOOR                    ACCOUNT NO.: NOT
      COLUMBUS, OH 43215-6126                        AVAILABLE

2.133 STATE OF RHODE ISLAND                           UNKNOWN                                       UNDETERMINED UNDETERMINED
      235 PROMENADE ST
      PROVIDENCE, RI 02908                        ACCOUNT NO.: NOT
                                                     AVAILABLE

2.134 STATE OF WASHINGTON                             UNKNOWN                                          $1,627,548       $1,627,548
      OFFICE OF THE ATTORNEY GENERAL
      1125 WASHINGTON ST SE, P.O. BOX             ACCOUNT NO.: NOT
      40100                                          AVAILABLE
      OLYMPIA, WA 98504

2.135 STATE OF WISCONSIN DEPARTMENT                   UNKNOWN                                       UNDETERMINED UNDETERMINED
      OF SAFETY AND PROFESSIONAL
      SERVICES                                    ACCOUNT NO.: NOT
      4822 MADISON YARDS WAY                         AVAILABLE
      MADISON, WI 53705

2.136 TAX COLLECTOR                                   UNKNOWN                                       UNDETERMINED UNDETERMINED
      1670 FLAT RIVER RD
      COVENTRY, RI 02816-8909                     ACCOUNT NO.: NOT
                                                     AVAILABLE

2.137 TENNESSEE BOARD OF PHARMACY                     UNKNOWN                                       UNDETERMINED UNDETERMINED
      665 MAINSTREAM DR
      NASHVILLE, TN 37243                         ACCOUNT NO.: NOT
                                                     AVAILABLE

2.138 TENNESSEE DEPARTMENTARTMENT                     UNKNOWN                                       UNDETERMINED UNDETERMINED
      OF REVENUE
      500 DEADERICK STREET                        ACCOUNT NO.: NOT
      NASHVILLE, TN 37242                            AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 1:       List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including     Date Claim Was Incurred And     C U     D   Offset    Total Claim   Priority Amount
Zip Code                                             Account Number

Taxing Authorities

2.139 TEXAS DEPARTMENT OF HEALTH                      UNKNOWN                                       UNDETERMINED UNDETERMINED
      1100 WEST 49TH STREET
      AUSTIN, TX 78756-3199                       ACCOUNT NO.: NOT
                                                     AVAILABLE

2.140 TEXAS DEPARTMENT OF STATE                       UNKNOWN                                       UNDETERMINED UNDETERMINED
      HEALTH SERVICES
      1100 WEST 49TH STREET                       ACCOUNT NO.: NOT
      AUSTIN, TX 78756-3199                          AVAILABLE

2.141 TEXAS STATE COMPTROLLER                         UNKNOWN                                       UNDETERMINED UNDETERMINED
      LYNDON B. JOHNSON STATE OFFICE
      BUILDING                                    ACCOUNT NO.: NOT
      111 EAST 17TH STREET                           AVAILABLE
      AUSTIN, TX 78774

2.142 TREASURER STATE OF NEW JERSEY                   UNKNOWN                                       UNDETERMINED UNDETERMINED
      PO BOX 417
      TRENTON, NJ 08646-0417                      ACCOUNT NO.: NOT
                                                     AVAILABLE

2.143 TREASURER STATE OF NEW JERSEY                   UNKNOWN                                       UNDETERMINED UNDETERMINED
      PO BOX 638
      TRENTON, NJ 08646-0638                      ACCOUNT NO.: NOT
                                                     AVAILABLE

2.144 TREASURER STATE OF OHIO                         UNKNOWN                                       UNDETERMINED UNDETERMINED
      ROBERT SPRAGUE
      30 E. BROAD STREET - 9TH FLOOR              ACCOUNT NO.: NOT
      COLUMBUS, OH 43215                             AVAILABLE

2.146 UNITED STATES DEPARTMENT OF                     UNKNOWN                                       UNDETERMINED UNDETERMINED
      THE TREASURY
      STEVEN TERNER MNUCHIN,                      ACCOUNT NO.: NOT
      SECRETARY OF TREASURY                          AVAILABLE
      1500 PENNSYLVANIA AVE., N.W.
      WASHINGTON, DC 20220

2.145 UNITED STATES DEPARTMENT OF                     UNKNOWN                                       UNDETERMINED UNDETERMINED
      THE TREASURY
      1500 PENNSYLVANIA AVENUE, NW                ACCOUNT NO.: NOT
      WASHINGTON, DC 20220                           AVAILABLE

2.147 UNITED STATES DRUG                              UNKNOWN                                       UNDETERMINED UNDETERMINED
      ENFORCEMENT ADMINISTRATION
      8701 MORRISSETTE DRIVE                      ACCOUNT NO.: NOT
      SPRINGFIELD, VA 22152                          AVAILABLE

2.148 UNITED STATES FOOD AND DRUG                     UNKNOWN                                       UNDETERMINED UNDETERMINED
      ADMINISTRATION
      10903 NEW HAMPSHIRE AVE                     ACCOUNT NO.: NOT
      SILVER SPRING, MD 20993-0002                   AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 1:       List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including     Date Claim Was Incurred And     C U     D   Offset    Total Claim   Priority Amount
Zip Code                                             Account Number

Taxing Authorities

2.150 UNITED STATES INTERNAL REVENUE                  UNKNOWN                                       UNDETERMINED UNDETERMINED
      SERVICE
      761 MAIN AVE                                ACCOUNT NO.: NOT
      NORWALK, CT 06851                              AVAILABLE

2.149 UNITED STATES INTERNAL REVENUE                  UNKNOWN                                       UNDETERMINED UNDETERMINED
      SERVICE
      60 QUAKER LN                                ACCOUNT NO.: NOT
      WARWICK, RI 02886                              AVAILABLE

2.151 UTAH DEPARTMENT OF COMMERCE,                    UNKNOWN                                       UNDETERMINED UNDETERMINED
      DIVISION OF OCCUPATIONAL AND
      PROFESSIONAL LICENSING                      ACCOUNT NO.: NOT
      160 EAST 300 SOUTH                             AVAILABLE
      SALT LAKE CITY, UT 84111

2.152 UTAH STATE TAX COMISSION                        UNKNOWN                                       UNDETERMINED UNDETERMINED
      210 NORTH 1950 WEST
      SALT LAKE CITY, UT 84134                    ACCOUNT NO.: NOT
                                                     AVAILABLE

2.153 VERMONT DEPARTMENT OF TAXES                     UNKNOWN                                       UNDETERMINED UNDETERMINED
      133 STATE ST
      MONTPELIER, VT 05633                        ACCOUNT NO.: NOT
                                                     AVAILABLE

2.154 VERMONT SECRETARY OF STATE,                     UNKNOWN                                       UNDETERMINED UNDETERMINED
      OFFICE OF PROFESSIONAL
      REGULATION, BOARD OF PHARMACY               ACCOUNT NO.: NOT
      89 MAIN ST                                     AVAILABLE
      THIRD FLOOR
      MONTPELIER, VT 05620-3402

2.155 VIRGINIA BOARD OF PHARMACY                      UNKNOWN                                       UNDETERMINED UNDETERMINED
      9960 MARYLAND DRIVE
      SUITE 300                                   ACCOUNT NO.: NOT
      HENRICO, VA 23233-1463                         AVAILABLE

2.156 VIRGINIA DEPARTMENT OF TAXATION                 UNKNOWN                                       UNDETERMINED UNDETERMINED
      1957 WESTMORELAND STREET
      RICHMOND, VA 23230                          ACCOUNT NO.: NOT
                                                     AVAILABLE

2.157 VIRGINIA DEPARTMENT OF TAXATION                 UNKNOWN                                       UNDETERMINED UNDETERMINED
      P.O. BOX 1115
      RICHMOND, VA 23218-1115                     ACCOUNT NO.: NOT
                                                     AVAILABLE

2.158 WASHINGTON BOARD OF PHARMACY                    UNKNOWN                                       UNDETERMINED UNDETERMINED
      P.O. BOX 47852
      OLYMPIA, WA 98501                           ACCOUNT NO.: NOT
                                                     AVAILABLE




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  Part 1:       List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including     Date Claim Was Incurred And     C U     D    Offset     Total Claim    Priority Amount
Zip Code                                             Account Number

Taxing Authorities

2.159 WASHINGTON DEPARTMENT OF                        UNKNOWN                                         UNDETERMINED UNDETERMINED
      HEALTH
      20425 72ND AVENUE SOUTH,                    ACCOUNT NO.: NOT
      BUILDING 2, SUITE 310                          AVAILABLE
      KENT, WA 98032

2.160 WEST VIRGINIA BOARD OF                          UNKNOWN                                         UNDETERMINED UNDETERMINED
      PHARMACY
      2310 KANAWHA BLVD E                         ACCOUNT NO.: NOT
      CHARLESTON, WV 25311                           AVAILABLE

2.161 WEST VIRGINIA STATE TAX                         UNKNOWN                                         UNDETERMINED UNDETERMINED
      DEPARTMENT
      THE REVENUE CENTER                          ACCOUNT NO.: NOT
      1001 LEE ST. E.                                AVAILABLE
      CHARLESTON, WV 25301

2.162 WILSON COUNTY TAX COLLECTOR                     UNKNOWN                                         UNDETERMINED UNDETERMINED
      PO BOX 580328
      CHARLOTTE, NC 28258-0328                    ACCOUNT NO.: NOT
                                                     AVAILABLE

2.163 WYOMING BOARD OF PHARMACY                       UNKNOWN                                         UNDETERMINED UNDETERMINED
      1712 CAREY AVE
      SUITE 200                                   ACCOUNT NO.: NOT
      CHEYENNE, WY 82002                             AVAILABLE

                                                                       Taxing Authorities Total:         $1,627,548       $1,627,548




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 1:      List All Creditors with PRIORITY Unsecured Claims

  Total: All Creditors with PRIORITY Unsecured Claims                                       $1,627,548   $1,627,548




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Schedule E/F: Creditors Who Have Unsecured Claims
      Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with
      nonpriority unsecured claims, fill out and attach the Additional Page of Part 2.


 Creditor's Name, Mailing Address Including Zip          Date Claim Was Incurred      C U     D      Basis For      Offset      Amount of Claim
 Code                                                     And Account Number                           Claim

Unpaid Prepetiton Trade Payables

3.1        24SLIDES                                                   UNKNOWN                                                            $4,000
           TITANGADE 11
           COPENHAGEN, 001 0000                                     ACCOUNT NO.:
           DENMARK                                                  NOT AVAILABLE



3.2        ABC MOVING & STORAGE INC                                   UNKNOWN                                                            $2,094
           PO BOX 714
           GREENVILLE, NC 27835-0714                                ACCOUNT NO.:
                                                                    NOT AVAILABLE


3.3        ADVANCED CHEMISTRY                                         UNKNOWN                                                            $1,980
           8 KING STREET EAST STE 107
           TORONTO, ON M5C 1B5                                      ACCOUNT NO.:
           CANADA                                                   NOT AVAILABLE



3.4        ADVANCED CLINICAL                                          UNKNOWN                                                           $14,979
           8053 SOLUTIONS CENTER
           CHICAGO, IL 60677-8000                                   ACCOUNT NO.:
                                                                    NOT AVAILABLE


3.5        ADVOCACY & MANAGEMENT GROUP INC                            UNKNOWN                                                            $2,000
           150 W STATE ST STE 10
           TRENTON, NJ 08608                                        ACCOUNT NO.:
                                                                    NOT AVAILABLE


3.6        AIRGAS USA LLC                                             UNKNOWN                                                            $1,288
           PO BOX 301046
           DALLAS, TX 75303-1046                                    ACCOUNT NO.:
                                                                    NOT AVAILABLE


3.7        AJINOMOTO ALTHEA INC                                       UNKNOWN                                                             $700
           PO BOX 51404
           LOS ANGELES, CA 90051                                    ACCOUNT NO.:
                                                                    NOT AVAILABLE


3.8        AKAMAI TECHNOLOGIES INC                                    UNKNOWN                                                             $773
           8 CAMBRIDGE CT
           CAMBRIDGE, MA 02142                                      ACCOUNT NO.:
                                                                    NOT AVAILABLE


3.9        ALLEN JAMES W                                              UNKNOWN                                                            $4,000
           1309 US 127 S PMB 397 STE B
           FRANKFORT, KY 40601                                      ACCOUNT NO.:
                                                                    NOT AVAILABLE


3.10       ALLIED UNIVERSAL SECURITY SERVICES                         UNKNOWN                                                            $4,630
           PO BOX 828854
           PHILADELPHIA, PA 19182                                   ACCOUNT NO.:
                                                                    NOT AVAILABLE


3.11       ALPHA SCRIP INCORPORATED                                   UNKNOWN                                                           $10,713
           5080 N 40TH ST STE 339
           PHOENIX, AZ 85018                                        ACCOUNT NO.:
                                                                    NOT AVAILABLE



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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip     Date Claim Was Incurred      C U     D   Basis For   Offset   Amount of Claim
Code                                                And Account Number                        Claim

Unpaid Prepetiton Trade Payables

3.12    AMAZON WEB SERVICES LLC                                 UNKNOWN                                                   $1,503
        410 TERRY AVE NORTH
        SEATTLE, WA 98124                                    ACCOUNT NO.:
                                                             NOT AVAILABLE


3.13    ANDREWS INTERNATIONAL INC                               UNKNOWN                                                   $2,722
        PO BOX 417142
        BOSTON, MA 02241-7142                                ACCOUNT NO.:
                                                             NOT AVAILABLE


3.14    ANGELI UNGAR LAW GROUP LLC                              UNKNOWN                                                   $2,558
        121 SW MORRISON ST STE 400
        PORTLAND, OR 97204                                   ACCOUNT NO.:
                                                             NOT AVAILABLE


3.15    AQUARION WATER COMPANY OF CT                            UNKNOWN                                                    $197
        PO BOX 10010
        LEWISTON, ME 04243-9427                              ACCOUNT NO.:
                                                             NOT AVAILABLE


3.16    AQUARION WATER COMPANY OF CT                            UNKNOWN                                                     $31
        PO BOX 10010
        LEWISTON, ME 04243-9427                              ACCOUNT NO.:
                                                             NOT AVAILABLE


3.17    ARROW GLOBAL ASSET DISPOSTION INC                       UNKNOWN                                                   $3,416
        2214 WEST BRAKER LANE
        AUSTIN, TX 78758                                     ACCOUNT NO.:
                                                             NOT AVAILABLE


3.18    ASCENT STRATEGIES LLC                                   UNKNOWN                                                   $5,250
        1410 GRANT ST C 306
        DENVER, CO 80203                                     ACCOUNT NO.:
                                                             NOT AVAILABLE


3.19    AT&T                                                    UNKNOWN                                                    $348
        PO BOX 5019
        CAROL STREAM, IL 60197-5019                          ACCOUNT NO.:
                                                             NOT AVAILABLE


3.20    ATHENA SOLUTIONS LLC                                    UNKNOWN                                                   $6,000
        1080 MAIN ST
        PAWTUCKET, RI 02860                                  ACCOUNT NO.:
                                                             NOT AVAILABLE


3.21    AVISTA PHARMA SOLUTIONS INC                             UNKNOWN                                                  $57,543
        PO BOX 715301
        CINCINNATI, OH 45271                                 ACCOUNT NO.:
                                                             NOT AVAILABLE


3.22    BDO USA LLP                                             UNKNOWN                                                   $8,905
        PO BOX 642743
        PITTSBURGH, PA 15264                                 ACCOUNT NO.:
                                                             NOT AVAILABLE


3.23    BENEFIT CONCEPTS INC                                    UNKNOWN                                                    $153
        20 RISHO AVE
        EAST PROVIDENCE, RI 02914-1297                       ACCOUNT NO.:
                                                             NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip     Date Claim Was Incurred      C U     D   Basis For   Offset   Amount of Claim
Code                                                And Account Number                        Claim

Unpaid Prepetiton Trade Payables

3.24    BERESFORD BOOTH PLLC                                    UNKNOWN                                                   $8,996
        145 THIRD AVE S
        EDMONDS, WA 98020                                    ACCOUNT NO.:
                                                             NOT AVAILABLE


3.25    BI WORLDWIDE                                            UNKNOWN                                                    $548
        NW 5055 PO BOX 1450
        MINNEAPOLIS, MN 55485-5055                           ACCOUNT NO.:
                                                             NOT AVAILABLE


3.26    BIVENS & ASSOCIATES LLC                                 UNKNOWN                                                   $2,000
        PO BOX 40424
        NASHVILLE, TN 37204                                  ACCOUNT NO.:
                                                             NOT AVAILABLE


3.27    BLANK ROME LLP                                          UNKNOWN                                                    $505
        ONE LOGAN SQ
        PHILADELPHIA, PA 19103                               ACCOUNT NO.:
                                                             NOT AVAILABLE


3.28    BLOOMBERG LP                                            UNKNOWN                                                   $4,043
        731 LEXINGTON AVE
        NEW YORK, NY 10022-1240                              ACCOUNT NO.:
                                                             NOT AVAILABLE


3.29    BOCSCI INC                                              UNKNOWN                                                   $1,098
        45-16 RAMSEY RD
        SHIRLEY, NY 11967                                    ACCOUNT NO.:
                                                             NOT AVAILABLE


3.30    BRAVO GROUP INC                                         UNKNOWN                                                   $2,256
        20 N MARKET SQ STE 800
        HARRISBURG, PA 17101-1611                            ACCOUNT NO.:
                                                             NOT AVAILABLE


3.31    BREWSTER JORY ASSOCIATES LLC                            UNKNOWN                                                   $7,875
        499 SOUTH CAPITOL ST STE 608
        WASHINGTON, DC 20003-4049                            ACCOUNT NO.:
                                                             NOT AVAILABLE


3.32    BUREAU VERITAS NORTH AMERICA INC                        UNKNOWN                                                   $1,629
        13905 COLLECTIONS CTR DR
        CHICAGO, IL 60693-0139                               ACCOUNT NO.:
                                                             NOT AVAILABLE


3.33    CABLEVISION LIGHTPATH INC                               UNKNOWN                                                    $945
        PO BOX 360111
        PITTSBURGH, PA 15251-6111                            ACCOUNT NO.:
                                                             NOT AVAILABLE


3.34    CARLSON WAGONLIT TRAVEL INC                             UNKNOWN                                                   $1,735
        PO BOX 860044
        MINNEAPOLIS, MN 55486-0044                           ACCOUNT NO.:
                                                             NOT AVAILABLE


3.35    CATALENT PHARMA SOLUTIONS LLC                           UNKNOWN                                                   $3,500
        26318 NETWORK PL
        CHICAGO, IL 60673                                    ACCOUNT NO.:
                                                             NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip     Date Claim Was Incurred      C U     D   Basis For   Offset   Amount of Claim
Code                                                And Account Number                        Claim

Unpaid Prepetiton Trade Payables

3.36    CENTURYLINK                                             UNKNOWN                                                   $1,545
        PO BOX 52187
        PHOENIX, AZ 85072                                    ACCOUNT NO.:
                                                             NOT AVAILABLE


3.37    CFO SOLUTIONS LLC                                       UNKNOWN                                                   $8,531
        6 UNIVERSITY DR STE 206-209
        AMHERST, MA 01002                                    ACCOUNT NO.:
                                                             NOT AVAILABLE


3.38    CGM ACOUSTICS INC                                       UNKNOWN                                                   $9,144
        195 ISLAND BROOK AVENUE
        BRIDGEPORT, CT 06606-5117                            ACCOUNT NO.:
                                                             NOT AVAILABLE


3.39    CHARLES STEFANINI CONSULTING LLC                        UNKNOWN                                                   $6,000
        15 CUNNINGHAM DR
        FRAMINGHAM, MA 01701-4462                            ACCOUNT NO.:
                                                             NOT AVAILABLE


3.40    CHEMICAL ABSTRACTS SERVICE                              UNKNOWN                                                   $5,803
        L-3000
        COLUMBUS, OH 43260                                   ACCOUNT NO.:
                                                             NOT AVAILABLE


3.41    CIPRIANI & WERNER PC                                    UNKNOWN                                                   $4,065
        650 WASHINGTON RD STE 700
        PITTSBURGH, PA 15228                                 ACCOUNT NO.:
                                                             NOT AVAILABLE


3.42    COBBS CREEK HEALTHCARE LLC                              UNKNOWN                                                  $38,406
        200 MORGAN AVE
        HAVERTOWN, PA 19083                                  ACCOUNT NO.:
                                                             NOT AVAILABLE


3.43    COBRA LEGAL SOLUTIONS LLC                               UNKNOWN                                                 $129,434
        1717 W 6TH ST STE 112
        AUSTIN, TX 78703                                     ACCOUNT NO.:
                                                             NOT AVAILABLE


3.44    COGNIZANT TECH SOLUTIONS US CORP                        UNKNOWN                                                 $456,630
        24721 NETWORK PL
        CHICAGO, IL 60673                                    ACCOUNT NO.:
                                                             NOT AVAILABLE


3.45    COLE SCOTT & KISSANE PA                                 UNKNOWN                                                   $3,205
        9150 S DADELAND BLVD STE 1400
        MIAMI, FL 33156                                      ACCOUNT NO.:
                                                             NOT AVAILABLE


3.46    COMCAST                                                 UNKNOWN                                                     $40
        PO BOX 1577
        NEWARK, NJ 07101-1577                                ACCOUNT NO.:
                                                             NOT AVAILABLE


3.47    CONEXUS SOLUTIONS INC                                   UNKNOWN                                                  $28,513
        306 WALL ST
        PRINCETON, NJ 08540                                  ACCOUNT NO.:
                                                             NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip     Date Claim Was Incurred      C U     D   Basis For   Offset   Amount of Claim
Code                                                And Account Number                        Claim

Unpaid Prepetiton Trade Payables

3.48    CORCORAN & ASSOC INC                                    UNKNOWN                                                   $2,000
        7746 STILL LAKES DRIVE
        ODESSA, FL 33556                                     ACCOUNT NO.:
                                                             NOT AVAILABLE


3.49    CORNERSTONE RESEARCH INC                                UNKNOWN                                                 $280,915
        2 EMBARCADERO CTR 20TH FL
        SAN FRANCISCO, CA 94111-3922                         ACCOUNT NO.:
                                                             NOT AVAILABLE


3.50    CROWE AND DUNLEVY                                       UNKNOWN                                                   $2,874
        BRANIFF BLDG
        OKLAHOMA CITY, OK 73102                              ACCOUNT NO.:
                                                             NOT AVAILABLE


3.51    CRYSTAL ROCK                                            UNKNOWN                                                     $16
        PO BOX 660579
        DALLAS, TX 75266                                     ACCOUNT NO.:
                                                             NOT AVAILABLE


3.52    CSC CONSULTING INC                                      UNKNOWN                                                  $84,864
        PO BOX 905145
        CHARLOTTE, NC 28290                                  ACCOUNT NO.:
                                                             NOT AVAILABLE


3.53    DANNEMANN SIEMSEN ADVOGADOS                             UNKNOWN                                                   $2,184
        RUA MARQUES DE OLINDA 70 PARTE
        RIO DE JANEIRO, RJ 22251-040                         ACCOUNT NO.:
        BRAZIL                                               NOT AVAILABLE



3.54    DATABASICS INC                                          UNKNOWN                                                   $7,094
        12700 SUNRISE VALLEY DR STE 102
        RESTON, VA 20191                                     ACCOUNT NO.:
                                                             NOT AVAILABLE


3.55    DAVIS HATLEY HAFFEMAN & TIGUE PC                        UNKNOWN                                                   $1,658
        PO BOX 2103
        GREAT FALLS, MT 59403                                ACCOUNT NO.:
                                                             NOT AVAILABLE


3.56    DELAFOREST CONSULTING LLC                               UNKNOWN                                                   $4,000
        855 VILLAGE CENTER DR # 340
        SAINT PAUL, MN 55127                                 ACCOUNT NO.:
                                                             NOT AVAILABLE


3.57    DELL USA LP                                             UNKNOWN                                                  $14,200
        PO BOX 643561
        PITTSBURGH, PA 15264-3561                            ACCOUNT NO.:
                                                             NOT AVAILABLE


3.58    DELOITTE & TOUCHE LLP R                                 UNKNOWN                                                 $155,634
        4022 SELLS DR
        HERMITAGE, TN 37076                                  ACCOUNT NO.:
                                                             NOT AVAILABLE


3.59    DENVER HEALTH & HOSPITAL AUTH                           UNKNOWN                                                 $351,844
        PO BOX 17093
        DENVER, CO 80217-0093                                ACCOUNT NO.:
                                                             NOT AVAILABLE



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   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip     Date Claim Was Incurred      C U     D   Basis For   Offset   Amount of Claim
Code                                                And Account Number                        Claim

Unpaid Prepetiton Trade Payables

3.60    DEZENHALL RESOURCES                                     UNKNOWN                                                 $186,575
        1130 CONNECTICUT AVENUE NW
        WASHINGTON, DC 20036-3904                            ACCOUNT NO.:
                                                             NOT AVAILABLE


3.61    DICKINSON & AVELLA PLLC                                 UNKNOWN                                                   $2,500
        111 WASHIGNTON AVE STE 606
        ALBANY, NY 12210                                     ACCOUNT NO.:
                                                             NOT AVAILABLE


3.62    DINSE KNAPP & MCANDREW PC                               UNKNOWN                                                    $200
        209 BATTERY ST
        BURLINGTON, VT 05401                                 ACCOUNT NO.:
                                                             NOT AVAILABLE


3.63    DL GLOBAL PARTNERS INC                                  UNKNOWN                                                   $1,213
        78 BABY POINT CRESCENT
        TORONTO, ON M6S 2C1                                  ACCOUNT NO.:
        CANADA                                               NOT AVAILABLE



3.64    DLA PIPER LLP US                                        UNKNOWN                                                  $84,583
        PO BOX 75190
        BALTIMORE, MD 21275                                  ACCOUNT NO.:
                                                             NOT AVAILABLE


3.65    DOMUS KIDS INC                                          UNKNOWN                                                     $98
        83 LOCKWOOD AVE
        STAMFORD, CT 06902-4201                              ACCOUNT NO.:
                                                             NOT AVAILABLE


3.66    DR DECISION RESOURCES INC                               UNKNOWN                                                  $73,382
        PO BOX 392674
        PITTSBURGH, PA 15251                                 ACCOUNT NO.:
                                                             NOT AVAILABLE


3.67    DUKE SCANLAN & HALL PLLC                                UNKNOWN                                                  $17,005
        1087 W RIVER ST STE 300
        BOISE, ID 83702                                      ACCOUNT NO.:
                                                             NOT AVAILABLE


3.68    DUKE UNIVERSITY                                         UNKNOWN                                                  $21,092
        2400 PRATT ST
        DURHAM, NC 27705                                     ACCOUNT NO.:
                                                             NOT AVAILABLE


3.69    ELIZABETH CARBIDE OF NC                                 UNKNOWN                                                    $133
        5801 E US HWY 64
        LEXINGTON, NC 27292                                  ACCOUNT NO.:
                                                             NOT AVAILABLE


3.70    EMC CORP                                                UNKNOWN                                                  $43,750
        4246 COLLECTIONS CENTER DR
        CHICAGO, IL 60693                                    ACCOUNT NO.:
                                                             NOT AVAILABLE


3.71    ENORMOUS CREATIVE LLC                                   UNKNOWN                                                    $616
        32 N DIVISION ST 1ST FLR
        PEEKSKILL, NY 10566                                  ACCOUNT NO.:
                                                             NOT AVAILABLE



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Code                                                And Account Number                        Claim

Unpaid Prepetiton Trade Payables

3.72    ERX NETWORK HOLDINGS INC                                UNKNOWN                                                  $76,710
        PO BOX 25485
        SALT LAKE CITY, UT 84125                             ACCOUNT NO.:
                                                             NOT AVAILABLE


3.73    EVANS FEARS & SCHUTTERT LLP                             UNKNOWN                                                   $6,888
        2300 W SAHARA AVE STE 900
        LAS VEGAS, NV 89102                                  ACCOUNT NO.:
                                                             NOT AVAILABLE


3.74    EVERSOURCE ENERGY                                       UNKNOWN                                                   $2,360
        PO BOX 56002
        BOSTON, MA 02205                                     ACCOUNT NO.:
                                                             NOT AVAILABLE


3.75    EVERSOURCE ENERGY                                       UNKNOWN                                                     $50
        PO BOX 56004
        BOSTON, MA 2205                                      ACCOUNT NO.:
                                                             NOT AVAILABLE


3.76    EVERSOURCE ENERGY                                       UNKNOWN                                                     $32
        PO BOX 56004
        BOSTON, MA 02205                                     ACCOUNT NO.:
                                                             NOT AVAILABLE


3.77    EVERSOURCE ENERGY                                       UNKNOWN                                                    $458
        P O BOX 56004
        BOSTON, MA 2205                                      ACCOUNT NO.:
                                                             NOT AVAILABLE


3.78    EVERSOURCE ENERGY                                       UNKNOWN                                                    $103
        PO BOX 56002
        BOSTON, MA 2205                                      ACCOUNT NO.:
                                                             NOT AVAILABLE


3.79    EVIDERA INC                                             UNKNOWN                                                   $2,088
        7101 WISCONSIN AVE STE 600
        BETHESDA, MD 20814                                   ACCOUNT NO.:
                                                             NOT AVAILABLE


3.80    FACTIVA INC                                             UNKNOWN                                                    $740
        PO BOX 30994
        NEW YORK, NY 10087-0994                              ACCOUNT NO.:
                                                             NOT AVAILABLE


3.81    FACTSET RESEARCH SYSTEMS INC                            UNKNOWN                                                   $2,616
        601 MERRITT 7
        NORWALK, CT 06851                                    ACCOUNT NO.:
                                                             NOT AVAILABLE


3.82    FEDERAL EXPRESS CORP                                    UNKNOWN                                                   $1,096
        P O BOX 371461
        PITTSBURGH, PA 15250-7461                            ACCOUNT NO.:
                                                             NOT AVAILABLE


3.83    FIDELITY INSTITUTIONAL ASSET                            UNKNOWN                                                 $159,548
        200 SEAPORT BLVD
        BOSTON, MA 02210                                     ACCOUNT NO.:
                                                             NOT AVAILABLE




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Code                                                And Account Number                        Claim

Unpaid Prepetiton Trade Payables

3.84    FISHER SCIENTIFIC CO LLC                                UNKNOWN                                                   $2,442
        PO BOX 3648
        BOSTON, MA 02241-3648                                ACCOUNT NO.:
                                                             NOT AVAILABLE


3.85    FRAZER GREENE UPCHRUCH & BAKER LLC                      UNKNOWN                                                   $8,835
        PO BOX 1686
        MOBILE, AL 36633                                     ACCOUNT NO.:
                                                             NOT AVAILABLE


3.86    FRONTIER COMMUNICATIONS                                 UNKNOWN                                                    $181
        PO BOX 740407
        CINCINNATI, OH 45274                                 ACCOUNT NO.:
                                                             NOT AVAILABLE


3.87    FROST BROWN TODD LLC                                    UNKNOWN                                                   $7,000
        400 WEST MARKET ST STE 3200
        LOUISVILLE-JEFFERSON, KY 40202                       ACCOUNT NO.:
                                                             NOT AVAILABLE


3.88    FTI CONSULTING SC INC                                   UNKNOWN                                                   $5,556
        88 PINE ST 32ND FL
        NEW YORK, NY 10001                                   ACCOUNT NO.:
                                                             NOT AVAILABLE


3.89    GAFFNEY BENNETT AND ASSOCIATES INC                      UNKNOWN                                                   $2,127
        ONE LIBERTY SQUARE
        NEW BRITAIN, CT 06051-2636                           ACCOUNT NO.:
                                                             NOT AVAILABLE


3.90    GCI HEALTH                                              UNKNOWN                                                 $188,000
        PO BOX 101890
        ATLANTA, GA 30392                                    ACCOUNT NO.:
                                                             NOT AVAILABLE


3.91    GEFCO FORWARDING USA INC                                UNKNOWN                                                  $28,065
        1055 STEVENSON CT #105W
        ROSELLE, IL 60172                                    ACCOUNT NO.:
                                                             NOT AVAILABLE


3.92    GEISINGER CLINIC                                        UNKNOWN                                                  $16,059
        100 N ACADEMY AVE MC 30-69
        DANVILLE, PA 17822-3069                              ACCOUNT NO.:
                                                             NOT AVAILABLE


3.93    GENESIS RESEARCH LLC                                    UNKNOWN                                                  $43,546
        5 MARINE VIEW PLZ STE 312
        HOBOKEN, NJ 07030                                    ACCOUNT NO.:
                                                             NOT AVAILABLE


3.94    GIBRALTAR LABS INC                                      UNKNOWN                                                   $7,173
        122 FAIRFIELD RD
        FAIRFIELD, NJ 07004-2405                             ACCOUNT NO.:
                                                             NOT AVAILABLE


3.95    GRM INFORMATION MANAGEMENT                              UNKNOWN                                                  $20,341
        PO BOX 412082
        BOSTON, MA 02241                                     ACCOUNT NO.:
                                                             NOT AVAILABLE




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Code                                                And Account Number                        Claim

Unpaid Prepetiton Trade Payables

3.96    HARMONY FOODS CORPORATION                               UNKNOWN                                                  $26,000
        SANTA CRUZ NUTRITIONALS
        CHICAGO, IL 60677                                    ACCOUNT NO.:
                                                             NOT AVAILABLE


3.97    HB COMMUNICATIONS INC                                   UNKNOWN                                                  $29,476
        60 DODGE AVE PO BOX 689
        NORTH HAVEN, CT 06473                                ACCOUNT NO.:
                                                             NOT AVAILABLE


3.98    HCL AMERICA INC                                         UNKNOWN                                                 $113,142
        PO BOX 5123
        CAROL STREAM, IL 60197-5123                          ACCOUNT NO.:
                                                             NOT AVAILABLE


3.99    HEALTHCORE INC                                          UNKNOWN                                                 $269,621
        123 JUSTISON ST STE 200
        WILMINGTON, DE 19801                                 ACCOUNT NO.:
                                                             NOT AVAILABLE


3.100   HEPLERBROOM LLC                                         UNKNOWN                                                   $3,128
        PO BOX 510
        EDWARDSVILLE, IL 62025                               ACCOUNT NO.:
                                                             NOT AVAILABLE


3.101   HETHERINGTON INFO SERVICES LLC                          UNKNOWN                                                    $467
        1501 HAMBURG TPKE STE 302
        WAYNE, NJ 07470                                      ACCOUNT NO.:
                                                             NOT AVAILABLE


3.102   HEYMAN GROUP LLC                                        UNKNOWN                                                  $38,500
        150 W 30 ST STE 200
        NEW YORK, NY 10001                                   ACCOUNT NO.:
                                                             NOT AVAILABLE


3.103   HIRST APPLEGATE LLP                                     UNKNOWN                                                     $57
        PO BOX 1083
        CHEYENNE, WY 82001                                   ACCOUNT NO.:
                                                             NOT AVAILABLE


3.104   HR FOCAL POINT LLC                                      UNKNOWN                                                    $638
        PO BOX 250932
        PLANO, TX 75025-0932                                 ACCOUNT NO.:
                                                             NOT AVAILABLE


3.105   INTEGRATED BEHAVIORAL HEALTH INC                        UNKNOWN                                                    $938
        3070 BRISTOL ST STE 350
        COSTA MESA, CA 92626                                 ACCOUNT NO.:
                                                             NOT AVAILABLE


3.106   INTELEPEER HOLDINGS INC                                 UNKNOWN                                                    $115
        DEPT LA 24295
        PASADENA, CA 91185                                   ACCOUNT NO.:
                                                             NOT AVAILABLE


3.107   INVENTIV HEALTH CLINICAL LAB INC                        UNKNOWN                                                 $469,493
        PO BOX 415914
        BOSTON, MA 02241                                     ACCOUNT NO.:
                                                             NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D   Basis For   Offset   Amount of Claim
Code                                                 And Account Number                        Claim

Unpaid Prepetiton Trade Payables

3.108   INVENTIV HEALTH CONSULTING INC                          UNKNOWN                                                  $156,104
        1030 SYNC ST
        MORRISVILLE, NC 27560                                 ACCOUNT NO.:
                                                              NOT AVAILABLE


3.109   IPASS INC                                               UNKNOWN                                                     $897
        BOX 200152
        PITTSBURGH, PA 15251-0152                             ACCOUNT NO.:
                                                              NOT AVAILABLE


3.110   IQVIA INC                                               UNKNOWN                                                   $30,724
        PO BOX 8500-784290
        PHILADELPHIA, PA 19178-4290                           ACCOUNT NO.:
                                                              NOT AVAILABLE


3.111   J ALEXANDER HUNT INC                                    UNKNOWN                                                    $6,000
        PO BOX 9292
        NAPERVILLE, IL 60567                                  ACCOUNT NO.:
                                                              NOT AVAILABLE


3.112   JACKSON LEWIS PC                                        UNKNOWN                                                     $417
        PO BOX 416019
        BOSTON, MA 02241                                      ACCOUNT NO.:
                                                              NOT AVAILABLE


3.113   JC EHRLICH CO INC                                       UNKNOWN                                                     $155
        PO BOX 13848
        READING, PA 19612-3848                                ACCOUNT NO.:
                                                              NOT AVAILABLE


3.114   JEFFREY GUDIN MD                                        UNKNOWN                                                    $7,938
        350 ENGLE STREET
        ENGLEWOOD, NJ 07631-1808                              ACCOUNT NO.:
                                                              NOT AVAILABLE


3.115   JOHN MINI DISTINCTIVE LANDSCAPE LTD                     UNKNOWN                                                    $1,889
        250 BRENNER DR
        CONGERS, NY 10920-1304                                ACCOUNT NO.:
                                                              NOT AVAILABLE


3.116   JONES DAY                                               UNKNOWN                                                   $41,934
        250 VESEY ST
        NEW YORK, NY 10281                                    ACCOUNT NO.:
                                                              NOT AVAILABLE


3.117   JS CIVIL LAW GROUP PLLC                                 UNKNOWN                                                    $2,376
        1010 DAVIS ST
        EVANSTON, IL 60201                                    ACCOUNT NO.:
                                                              NOT AVAILABLE


3.118   JS MCCARTHY PRINTERS                                    UNKNOWN                                                     $118
        15 DARIN DR
        AUGUSTA, ME 04330                                     ACCOUNT NO.:
                                                              NOT AVAILABLE


3.119   KARR TUTTLE CAMPBELL                                    UNKNOWN                                                  $107,830
        701 FIFTH AVE STE 3300
        SEATTLE, WA 98104                                     ACCOUNT NO.:
                                                              NOT AVAILABLE




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Code                                                 And Account Number                        Claim

Unpaid Prepetiton Trade Payables

3.120   KASTLE SYSTEMS LLC                                      UNKNOWN                                                     $107
        PO BOX 75151
        BALTIMORE, MD 21275                                   ACCOUNT NO.:
                                                              NOT AVAILABLE


3.121   KING & SPALDING LLP                                     UNKNOWN                                                     $128
        PO BOX 116133
        ATLANTA, GA 30368                                     ACCOUNT NO.:
                                                              NOT AVAILABLE


3.122   KP PHARMACEUTICAL TECHNOLOGY INC                        UNKNOWN                                                   $45,466
        1212 W RAPPEL AVE
        BLOOMINGTON, IN 47404                                 ACCOUNT NO.:
                                                              NOT AVAILABLE


3.123   LANKLER SIFFERT & WOHL LLP                              UNKNOWN                                                   $20,758
        500 FIFTH AVE
        NEW YORK, NY 10110                                    ACCOUNT NO.:
                                                              NOT AVAILABLE


3.124   LEARN AND CONFIRM INC                                   UNKNOWN                                                   $15,632
        3630 BOIS FRANC
        ST LAURENT, QC H4R 3K9                                ACCOUNT NO.:
        CANADA                                                NOT AVAILABLE



3.125   LEVERAGE GLOBAL CONSULTING LLC                          UNKNOWN                                                  $124,265
        37 BAY VIEW DR
        JAMESTOWN, RI 02835                                   ACCOUNT NO.:
                                                              NOT AVAILABLE


3.126   LIVEMESSAGE AMERICA                                     UNKNOWN                                                      $42
        PO BOX 639236
        CINCINNATI, OH 45263                                  ACCOUNT NO.:
                                                              NOT AVAILABLE


3.127   LYNN PINKER COX & HURST LLP                             UNKNOWN                                                   $75,680
        2100 ROSS AVE STE 2700
        DALLAS, TX 75201                                      ACCOUNT NO.:
                                                              NOT AVAILABLE


3.128   MAGTYPE COMPUTER RESOURCES LLC                          UNKNOWN                                                     $341
        300 LONG BEACH BLVD STE 17
        STRATFORD, CT 06615-7153                              ACCOUNT NO.:
                                                              NOT AVAILABLE


3.129   MAIWALD PATENTANWALTS GMBH                              UNKNOWN                                                   $15,246
        ELISENSTRASSE 3
        MUNCHEN, 80335                                        ACCOUNT NO.:
        GERMANY                                               NOT AVAILABLE



3.130   MARCUM LLP                                              UNKNOWN                                                    $8,522
        CITY PLACE II
        HARTFORD, CT 06103                                    ACCOUNT NO.:
                                                              NOT AVAILABLE


3.131   MASERGY COMMUNICATIONS INC                              UNKNOWN                                                    $6,304
        PO BOX 733938
        DALLAS, TX 75373                                      ACCOUNT NO.:
                                                              NOT AVAILABLE


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Code                                                 And Account Number                        Claim

Unpaid Prepetiton Trade Payables

3.132   MATT BACK GOVERNMENT RELATIONS                          UNKNOWN                                                    $3,500
        1301 I STREET
        SACRAMENTO, CA 95814                                  ACCOUNT NO.:
                                                              NOT AVAILABLE


3.133   MERCER                                                  UNKNOWN                                                    $7,878
        PO BOX 730212
        DALLAS, TX 75373-0212                                 ACCOUNT NO.:
                                                              NOT AVAILABLE


3.134   MESSAGEBANK LLC                                         UNKNOWN                                                    $1,347
        260 MADISON AVE 17TH FL
        NEW YORK, NY 10016                                    ACCOUNT NO.:
                                                              NOT AVAILABLE


3.135   METROHM USA                                             UNKNOWN                                                    $6,451
        PO BOX 405562
        ATLANTA, GA 30384-5562                                ACCOUNT NO.:
                                                              NOT AVAILABLE


3.136   MITCHELL WILLIAMS SELIG                                 UNKNOWN                                                     $140
        425 W CAPITOL AVE STE 1800
        LITTLE ROCK, AR 72201                                 ACCOUNT NO.:
                                                              NOT AVAILABLE


3.137   MM WESTON & ASSOCIATES PLLC                             UNKNOWN                                                    $6,000
        PO BOX 990
        CONCORD, NH 03302                                     ACCOUNT NO.:
                                                              NOT AVAILABLE


3.138   MONTGOMERY & ANDREWS PA                                 UNKNOWN                                                    $1,334
        PO BOX 2307
        SANTA FE, NM 87504                                    ACCOUNT NO.:
                                                              NOT AVAILABLE


3.139   MORRIS NICHOLS ARSHT & TUNNELL LLP                      UNKNOWN                                                    $8,163
        1201 N MARKET ST STE 1800
        WILMINGTON, DE 19801-1118                             ACCOUNT NO.:
                                                              NOT AVAILABLE


3.140   MOVILITAS CONSULTING LLC                                UNKNOWN                                                   $30,509
        8675 SOLUTIONS CTR
        CHICAGO, IL 60677-8006                                ACCOUNT NO.:
                                                              NOT AVAILABLE


3.141   NATIONWIDE SECURITY CORP                                UNKNOWN                                                    $1,150
        65 N BRANFORD RD STE 8
        BRANFORD, CT 06405                                    ACCOUNT NO.:
                                                              NOT AVAILABLE


3.142   NEAL & HARWELL PLC                                      UNKNOWN                                                   $18,515
        1201 DEMONBREUN ST STE 1000
        NASHVILLE, TN 37203                                   ACCOUNT NO.:
                                                              NOT AVAILABLE


3.143   NEPC LLC                                                UNKNOWN                                                   $18,739
        DEPARTMENT 3570
        WOBURN, MA 01888                                      ACCOUNT NO.:
                                                              NOT AVAILABLE




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Code                                                 And Account Number                        Claim

Unpaid Prepetiton Trade Payables

3.144   NETASSEMBLE.COM INC                                     UNKNOWN                                                   $20,824
        8 OBTUSE ROAD SOUTH
        BROOKFIELD, CT 06804-3624                             ACCOUNT NO.:
                                                              NOT AVAILABLE


3.145   NIXON PEABODY LLP                                       UNKNOWN                                                   $12,393
        1300 CLINTON SQ
        ROCHESTER, NY 14604-1792                              ACCOUNT NO.:
                                                              NOT AVAILABLE


3.146   NORTHROP GRUMMAN INFORMATION TECH                       UNKNOWN                                                    $1,691
        PO BOX 27381
        NEW YORK, NY 10087-7381                               ACCOUNT NO.:
                                                              NOT AVAILABLE


3.147   NYEMASTER GOODE PC                                      UNKNOWN                                                     $647
        700 WALNUT ST STE 1600
        DES MOINES, IA 50309                                  ACCOUNT NO.:
                                                              NOT AVAILABLE


3.148   OLIVERIO & MARCACCIO LLP                                UNKNOWN                                                    $2,400
        55 DORRANCE ST STE 400
        PROVIDENCE, RI 02903                                  ACCOUNT NO.:
                                                              NOT AVAILABLE


3.149   ON SITE SHREDDING LLC                                   UNKNOWN                                                     $387
        PO BOX 2328
        STAMFORD, CT 06906                                    ACCOUNT NO.:
                                                              NOT AVAILABLE


3.150   ONE-TIME VENDOR                                         UNKNOWN                                                    $4,021

         ,                                                    ACCOUNT NO.:
                                                              NOT AVAILABLE


3.151   PARTICLE SCIENCES INC                                   UNKNOWN                                                    $1,601
        3894 COURTNEY ST STE 180
        BETHLEHEM, PA 18017                                   ACCOUNT NO.:
                                                              NOT AVAILABLE


3.152   PATRICK J ROGERS LLC                                    UNKNOWN                                                    $5,663
        20 FIRST PLAZA CENTER STE 725
        ALBUQUERQUE, NM 87102                                 ACCOUNT NO.:
                                                              NOT AVAILABLE


3.153   PETER JOE PITTS                                         UNKNOWN                                                    $4,500
        54 RIVERSIDE DR STE 5D
        NEW YORK, NY 10024                                    ACCOUNT NO.:
                                                              NOT AVAILABLE


3.154   PETRILLO KLEIN & BOXER LLP                              UNKNOWN                                                   $50,123
        655 THIRD AVENUE, 22ND FL
        NEW YORK, NY 10017                                    ACCOUNT NO.:
                                                              NOT AVAILABLE


3.155   PHARMACENTRA LLC                                        UNKNOWN                                                    $5,000
        PO BOX 888387
        ATLANTA, GA 30356                                     ACCOUNT NO.:
                                                              NOT AVAILABLE




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Code                                                 And Account Number                        Claim

Unpaid Prepetiton Trade Payables

3.156   PHLEXGLOBAL LIMITED                                     UNKNOWN                                                     $979
        MANDEVILLE HOUSE
        AMERSHAM, BU HP7 0HJ                                  ACCOUNT NO.:
        UNITED KINGDOM                                        NOT AVAILABLE



3.157   PORSCHA DELIVERY SERVICE                                UNKNOWN                                                     $498
        PO BOX 8123
        STAMFORD, CT 06905                                    ACCOUNT NO.:
                                                              NOT AVAILABLE


3.158   PPD DEVELOPMENT LLC                                     UNKNOWN                                                   $44,970
        929 N FRONT ST
        WILMINGTON, NC 28401                                  ACCOUNT NO.:
                                                              NOT AVAILABLE


3.159   PPD DEVELOPMENT LP                                      UNKNOWN                                                  $335,221
        26361 NETWORK PL
        CHICAGO, IL 60673                                     ACCOUNT NO.:
                                                              NOT AVAILABLE


3.160   PPD GLOBAL CENTRAL LABS LLC                             UNKNOWN                                                   $20,632
        26361 NETWORK PLACE
        CHICAGO, IL 60673-1263                                ACCOUNT NO.:
                                                              NOT AVAILABLE


3.161   PREMISE HEALTH                                          UNKNOWN                                                     $946
        PO BOX 402142
        ATLANTA, GA 30384                                     ACCOUNT NO.:
                                                              NOT AVAILABLE


3.162   PRICE WATERHOUSE COOPERS LLP                            UNKNOWN                                                   $25,864
        PO BOX 7247-8001
        PHILADELPHIA, PA 19170-8001                           ACCOUNT NO.:
                                                              NOT AVAILABLE


3.163   PRIME TECHNOLOGIES INC                                  UNKNOWN                                                     $387
        16 HAGERTY BLVD STE 100
        WEST CHESTER, PA 19382-5910                           ACCOUNT NO.:
                                                              NOT AVAILABLE


3.164   PRYOR CASHMAN LLP                                       UNKNOWN                                                     $831
        7 TIMES SQUARE
        NEW YORK, NY 10036                                    ACCOUNT NO.:
                                                              NOT AVAILABLE


3.165   PURPLE STRATEGIES LLC                                   UNKNOWN                                                  $207,625
        815 SLATERS LN
        ALEXANDRIA, VA 22314                                  ACCOUNT NO.:
                                                              NOT AVAILABLE


3.166   REBECCA L HALKIAS                                       UNKNOWN                                                      $50
        325 7TH ST NW STE 400
        WASHINGTON, DC 20004                                  ACCOUNT NO.:
                                                              NOT AVAILABLE


3.167   REICHARD & ESCALERA LLC                                 UNKNOWN                                                     $794
        PO BOX 364148
        SAN JUAN, PR 00936                                    ACCOUNT NO.:
                                                              NOT AVAILABLE



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Code                                                 And Account Number                        Claim

Unpaid Prepetiton Trade Payables

3.168   REILLY MCDEVITT & HENRICH                               UNKNOWN                                                    $2,783
        3 EXECUTIVE CAMPUS STE 310
        CHERRY HILL, NJ 08002                                 ACCOUNT NO.:
                                                              NOT AVAILABLE


3.169   REPRINTS DESK INC                                       UNKNOWN                                                    $9,881
        5435 BALBOA BLVD STE 202
        ENCINO, CA 91316                                      ACCOUNT NO.:
                                                              NOT AVAILABLE


3.170   RICOH USA INC                                           UNKNOWN                                                   $12,783
        P O BOX 827577
        PHILADELPHIA, PA 19182-7164                           ACCOUNT NO.:
                                                              NOT AVAILABLE


3.171   RODA CREATIVE SERVICES                                  UNKNOWN                                                   $73,318
        1381 W POPLAR ST STE 200
        YORK, PA 17404                                        ACCOUNT NO.:
                                                              NOT AVAILABLE


3.172   SANDERS WARREN RUSSELL & SCHEER LLP                     UNKNOWN                                                     $203
        9401 INDIAN CREEK PKWY STE 1250
        OVERLAND PARK, KS 66210                               ACCOUNT NO.:
                                                              NOT AVAILABLE


3.173   SAS INSTITUTE INC                                       UNKNOWN                                                    $1,570
        PO BOX 406922
        ATLANTA, GA 30384-6922                                ACCOUNT NO.:
                                                              NOT AVAILABLE


3.174   SCISAFE INC                                             UNKNOWN                                                     $754
        7 CORPORATE DR
        CRANBURY, NJ 08512                                    ACCOUNT NO.:
                                                              NOT AVAILABLE


3.175   SEDGWICK CLAIMS MANAGEMENT                              UNKNOWN                                                     $247
        36392 TREASURE CENTER
        CHICAGO, IL 60694-6300                                ACCOUNT NO.:
                                                              NOT AVAILABLE


3.176   SENSITECH INC                                           UNKNOWN                                                    $1,837
        PO BOX 742000
        LOS ANGELES, CA 90074                                 ACCOUNT NO.:
                                                              NOT AVAILABLE


3.177   SHEPPARD MULLIN RICHTER &                               UNKNOWN                                                    $5,320
        333 SOUTH HOPE ST
        LOS ANGELES, CA 90071                                 ACCOUNT NO.:
                                                              NOT AVAILABLE


3.178   SHI INTERNATIONAL CORP                                  UNKNOWN                                                     $353
        PO BOX 952121
        DALLAS, TX 75395                                      ACCOUNT NO.:
                                                              NOT AVAILABLE


3.179   SKARZYNSKI BLACK LLC                                    UNKNOWN                                                       $0
        205 N MICHIGAN AVE STE 2600
        CHICAGO, IL 60601                                     ACCOUNT NO.:
                                                              NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D   Basis For   Offset   Amount of Claim
Code                                                 And Account Number                        Claim

Unpaid Prepetiton Trade Payables

3.180   SMITH ANDERSON BLOUNT                                   UNKNOWN                                                    $8,000
        PO BOX 2611
        RALEIGH, NC 27602-2611                                ACCOUNT NO.:
                                                              NOT AVAILABLE


3.181   SNELL & WILMER LLP                                      UNKNOWN                                                  $107,612
        ONE ARIZONA CTR
        PHOENIX, AZ 85004                                     ACCOUNT NO.:
                                                              NOT AVAILABLE


3.182   SPARTA SYSTEMS INC                                      UNKNOWN                                                    $4,270
        2000 WATERVIEW DR STE 300
        TRENTON, NJ 08691                                     ACCOUNT NO.:
                                                              NOT AVAILABLE


3.183   SPEARS & IMES LLP                                       UNKNOWN                                                   $16,664
        51 MADISON AVE 20TH FL
        NEW YORK, NY 10010                                    ACCOUNT NO.:
                                                              NOT AVAILABLE


3.184   SPECGX LLC                                              UNKNOWN                                                  $131,686
        PO BOX 3542
        CAROL STREAM, IL 60132                                ACCOUNT NO.:
                                                              NOT AVAILABLE


3.185   SPEEDYEGGER DOCUMENT SERVICES INC                       UNKNOWN                                                    $2,442
        4900 LEESBURG PKE STE 403
        ALEXANDRIA, VA 22303                                  ACCOUNT NO.:
                                                              NOT AVAILABLE


3.186   SPRINT                                                  UNKNOWN                                                    $1,478
        PO BOX 219903
        KANSAS CITY, MO 64121-9903                            ACCOUNT NO.:
                                                              NOT AVAILABLE


3.187   STAMFORD WPCA                                           UNKNOWN                                                      $25
        PO BOX 8063
        BRIDGEPORT, CT 06601-4063                             ACCOUNT NO.:
                                                              NOT AVAILABLE


3.188   STANDARD INSURANCE CO                                   UNKNOWN                                                   $38,533
        PO BOX 3789
        PORTLAND, OR 97208                                    ACCOUNT NO.:
                                                              NOT AVAILABLE


3.189   STAPLES BUSINESS ADVANTAGE                              UNKNOWN                                                     $818
        PO BOX 415256 DEPT BOS
        BOSTON, MA 02241-5256                                 ACCOUNT NO.:
                                                              NOT AVAILABLE


3.190   STATE & FEDERAL COMMUNICATIONS INC                      UNKNOWN                                                   $39,833
        80 S SUMMIT ST STE 100
        AKRON, OH 44308-1741                                  ACCOUNT NO.:
                                                              NOT AVAILABLE


3.191   STERNE KESSLER GOLDSTEIN & FOX PLLC                     UNKNOWN                                                   $11,771
        1100 NEW YORK AVE NW STE 600
        WASHINGTON, DC 20005-6602                             ACCOUNT NO.:
                                                              NOT AVAILABLE




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Code                                                 And Account Number                        Claim

Unpaid Prepetiton Trade Payables

3.192   STITES & HARBISON LLC                                   UNKNOWN                                                    $1,754
        400 W MARKET ST
        LOUISVILLE, KY 40202-3352                             ACCOUNT NO.:
                                                              NOT AVAILABLE


3.193   SYSTEMS MANAGEMENT PLANNING INC                         UNKNOWN                                                   $29,105
        1020 JOHN ST
        WEST HENRIETTA, NY 14586                              ACCOUNT NO.:
                                                              NOT AVAILABLE


3.194   TAYLOR ENGLISH DUMA LLP                                 UNKNOWN                                                    $4,299
        1600 PARKWOOD CIRCLE STE 200
        ATLANTA, GA 30339                                     ACCOUNT NO.:
                                                              NOT AVAILABLE


3.195   THE DILENSCHNEIDER GROUP INC                            UNKNOWN                                                   $11,250
        405 LEXINGTON AVE 57TH FL
        NEW YORK, NY 10174                                    ACCOUNT NO.:
                                                              NOT AVAILABLE


3.196   THE SHERWIN WILLIAMS CO                                 UNKNOWN                                                     $150
        1100 HOPE ST
        STAMFORD, CT 06907-1892                               ACCOUNT NO.:
                                                              NOT AVAILABLE


3.197   THE WILLIS GROUP LLC                                    UNKNOWN                                                    $1,500
        4 THE GREEN
        DOVER, DE 19901                                       ACCOUNT NO.:
                                                              NOT AVAILABLE


3.198   THOMAS P PAPPAS & ASSOCIATES                            UNKNOWN                                                    $2,000
        66 E LYNN ST STE 2000
        COLUMBUS, OH 43215                                    ACCOUNT NO.:
                                                              NOT AVAILABLE


3.199   THOMPSON COBURN LLP                                     UNKNOWN                                                   $12,267
        PO BOX 18379M
        ST. LOUIS, MO 63195                                   ACCOUNT NO.:
                                                              NOT AVAILABLE


3.200   THRESHOLD INFORMATION INC                               UNKNOWN                                                     $980
        4601 N LAMAR BLVD APT 5211
        AUSTIN, TX 78751                                      ACCOUNT NO.:
                                                              NOT AVAILABLE


3.201   TIME WARNER CABLE ENTERPRISES LLC                       UNKNOWN                                                     $234
        PO BOX 70872
        CHARLOTTE, NC 28272-0872                              ACCOUNT NO.:
                                                              NOT AVAILABLE


3.202   TOM KWIECIAK CONSULTING LLC                             UNKNOWN                                                    $8,000
        3408 33RD WAY NW
        OLYMPIA, WA 98502                                     ACCOUNT NO.:
                                                              NOT AVAILABLE


3.203   TONKON TORP LLP                                         UNKNOWN                                                    $2,000
        888 SW FIFTH AVE STE 1600
        PORTLAND, OR 97204                                    ACCOUNT NO.:
                                                              NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D   Basis For   Offset   Amount of Claim
Code                                                 And Account Number                        Claim

Unpaid Prepetiton Trade Payables

3.204   TRANSPERFECT TRANSLATIONS INTL INC                      UNKNOWN                                                    $3,143
        3 PARK AVE 39TH FL
        NEW YORK, NY 10016-5934                               ACCOUNT NO.:
                                                              NOT AVAILABLE


3.205   TREVOR K TAYLOR                                         UNKNOWN                                                     $439
        330 SCOT AVE STE 3
        MORGANTOWN, WV 26508                                  ACCOUNT NO.:
                                                              NOT AVAILABLE


3.206   TRIBUNE MEDIA COMPANY                                   UNKNOWN                                                      $79
        3562 COLLECTIONS CTR DR
        CHICAGO, IL 60693                                     ACCOUNT NO.:
                                                              NOT AVAILABLE


3.207   TROUTMAN SANDERS LLP                                    UNKNOWN                                                    $2,446
        600 PEACHTREE ST NE STE 5200
        ATLANTA, GA 30308-2216                                ACCOUNT NO.:
                                                              NOT AVAILABLE


3.208   TRUVEN HEALTH ANALYTICS LLC                             UNKNOWN                                                   $14,596
        PO BOX 71716
        CHICAGO, IL 60694-1716                                ACCOUNT NO.:
                                                              NOT AVAILABLE


3.209   UNITED BIOSOURCE LLC                                    UNKNOWN                                                   $57,838
        PO BOX 75253
        BALTIMORE, MD 21275                                   ACCOUNT NO.:
                                                              NOT AVAILABLE


3.210   UNITED PARCEL SERVICE                                   UNKNOWN                                                    $3,155
        PO BOX 7247 0244
        PHILADELPHIA, PA 19170-0001                           ACCOUNT NO.:
                                                              NOT AVAILABLE


3.211   UNIVERSAL PRINTING SERVICES INC                         UNKNOWN                                                     $607
        375 MORGAN LN STE 203
        WEST HAVEN, CT 06516                                  ACCOUNT NO.:
                                                              NOT AVAILABLE


3.212   UPS FREIGHT                                             UNKNOWN                                                      $21
        28013 NETWORK PL
        CHICAGO, IL 60673                                     ACCOUNT NO.:
                                                              NOT AVAILABLE


3.213   UPS SUPPLY CHAIN SOLUTIONS                              UNKNOWN                                                   $37,490
        PO BOX 650690
        DALLAS, TX 75265-0690                                 ACCOUNT NO.:
                                                              NOT AVAILABLE


3.214   US BANKS                                                UNKNOWN                                                    $5,078
        4246 0445 5551 3039
        ST. LOUIS, MO 63179                                   ACCOUNT NO.:
                                                              NOT AVAILABLE


3.215   VALUECENTRIC LLC                                        UNKNOWN                                                   $47,782
        23 COBHAM DR
        ORCHARD PARK, NY 14127-4101                           ACCOUNT NO.:
                                                              NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D   Basis For   Offset   Amount of Claim
Code                                                 And Account Number                        Claim

Unpaid Prepetiton Trade Payables

3.216   VEEVA SYSTEMS INC                                       UNKNOWN                                                    $4,786
        4637 CHABOT DR STE 210
        SAN RAMON, CA 94582                                   ACCOUNT NO.:
                                                              NOT AVAILABLE


3.217   VENABLE LLP                                             UNKNOWN                                                   $70,835
        PO BOX 62727
        BALTIMORE, MD 21263                                   ACCOUNT NO.:
                                                              NOT AVAILABLE


3.218   VERITIV OPERATING CO                                    UNKNOWN                                                    $3,923
        7472 COLLECTIONS CENTER DR
        CHICAGO, IL 60693                                     ACCOUNT NO.:
                                                              NOT AVAILABLE


3.219   VERIZON                                                 UNKNOWN                                                      $22
        PO BOX 4833
        TRENTON, NJ 08650                                     ACCOUNT NO.:
                                                              NOT AVAILABLE


3.220   VERIZON                                                 UNKNOWN                                                     $224
        PO BOX 15043
        ALBANY, NY 12212-5043                                 ACCOUNT NO.:
                                                              NOT AVAILABLE


3.221   VERIZON WASHINGTON DC INC                               UNKNOWN                                                     $331
        PO BOX 4830
        TRENTON, NJ 08650                                     ACCOUNT NO.:
                                                              NOT AVAILABLE


3.222   VINYL DEVELOPMENT LLC                                   UNKNOWN                                                     $909
        PO BOX 128
        SOUTH HARWICH, MA 02661                               ACCOUNT NO.:
                                                              NOT AVAILABLE


3.223   VOGEL LAW FIRM LTD                                      UNKNOWN                                                     $139
        PO BOX 1389
        FARGO, ND 58107                                       ACCOUNT NO.:
                                                              NOT AVAILABLE


3.224   WB MASON CO INC                                         UNKNOWN                                                    $1,376
        59 CENTRE ST
        BROCKTON, MA 02301                                    ACCOUNT NO.:
                                                              NOT AVAILABLE


3.225   WEST PUBLISHING CORPORATION                             UNKNOWN                                                    $8,764
        PO BOX 6292
        CAROL STREAM, IL 60197                                ACCOUNT NO.:
                                                              NOT AVAILABLE


3.226   WEST VIRGINIA LOBBYIST GROUP LLC                        UNKNOWN                                                    $1,500
        650 MAIN ST
        BARBOURSVILLE, WV 25504                               ACCOUNT NO.:
                                                              NOT AVAILABLE


3.227   WORLD COURIER INC                                       UNKNOWN                                                     $546
        PO BOX 842325
        BOSTON, MA 02284                                      ACCOUNT NO.:
                                                              NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D   Basis For      Offset   Amount of Claim
Code                                                 And Account Number                        Claim

Unpaid Prepetiton Trade Payables

3.228   ZOOM VIDEO COMMUNICATIONS INC                           UNKNOWN                                                       $3,047
        55 ALMADEN BLVD STE 600
        SAN JOSE, CA 95113                                    ACCOUNT NO.:
                                                              NOT AVAILABLE


                                                                         Unpaid Prepetiton Trade Payables Total:          $6,069,682




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D   Basis For   Offset   Amount of Claim
Code                                                 And Account Number                        Claim

Prepetition Amounts Paid Under Motion

3.229   ALPHA SCRIP INCORPORATED                                UNKNOWN                                                   $94,592
        5080 N 40TH ST STE 339
        PHOENIX, AZ 85018                                     ACCOUNT NO.:
                                                              NOT AVAILABLE


3.230   AMERICAN EXPRESS                                        UNKNOWN                                                  $198,918
        P O BOX 650448
        DALLAS, TX 75265-0448                                 ACCOUNT NO.:
                                                              NOT AVAILABLE


3.231   AMERIPHARM INC                                          UNKNOWN                                                   $31,053
        PO BOX 80141
        CITY OF INDUSTRY, CA 91716                            ACCOUNT NO.:
                                                              NOT AVAILABLE


3.232   APC WORKFORCE SOLUTIONS LLC                             UNKNOWN                                                   $93,834
        PO BOX 534305
        ATLANTA, GA 30353                                     ACCOUNT NO.:
                                                              NOT AVAILABLE


3.233   ASCENT HEALTH SERVICES LLC                              UNKNOWN                                                 $5,696,921
        1209 ORANGE ST
        WILMINGTON, DE 19801                                  ACCOUNT NO.:
                                                              NOT AVAILABLE


3.234   BENEFIT CONCEPTS INC                                    UNKNOWN                                                    $2,688
        20 RISHO AVE
        EAST PROVIDENCE, RI 02914-1297                        ACCOUNT NO.:
                                                              NOT AVAILABLE


3.235   BI WORLDWIDE                                            UNKNOWN                                                   $28,712
        NW 5055 PO BOX 1450
        MINNEAPOLIS, MN 55485-5055                            ACCOUNT NO.:
                                                              NOT AVAILABLE


3.236   CAPITAL WHOLESALE DRUG COMPANY                          UNKNOWN                                                   $73,167
        873 WILLIAMS AVE
        COLUMBUS, OH 43212                                    ACCOUNT NO.:
                                                              NOT AVAILABLE


3.237   CARCO GROUP INC                                         UNKNOWN                                                      $892
        PO BOX 36460
        NEWARK, NJ 07188                                      ACCOUNT NO.:
                                                              NOT AVAILABLE


3.238   CHARLES SCHWAB 030295                                   UNKNOWN                                                   $66,625
        201 TRESSER BLVD
        STAMFORD, CT 06901                                    ACCOUNT NO.:
                                                              NOT AVAILABLE


3.239   COBRA LEGAL SOLUTIONS LLC                               UNKNOWN                                                  $168,848
        1717 W 6TH ST STE 112
        AUSTIN, TX 78703                                      ACCOUNT NO.:
                                                              NOT AVAILABLE


3.240   COMMISSIONER OF REVENUE SERVICES                        UNKNOWN                                                    $1,506
        PO BOX 2990
        HARTFORD, CT 06104-2990                               ACCOUNT NO.:
                                                              NOT AVAILABLE




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Code                                                 And Account Number                        Claim

Prepetition Amounts Paid Under Motion

3.241   CUMBERLAND CONSULTING GROUP LLC                         UNKNOWN                                                   $25,210
        720 COOL SPRINGS BLVD STE 550
        FRANKLIN, TN 37067                                    ACCOUNT NO.:
                                                              NOT AVAILABLE


3.242   DAVID S CRAIG                                           UNKNOWN                                                    $6,800
        10118 DEERCLIFF DR
        TAMPA, FL 33647                                       ACCOUNT NO.:
                                                              NOT AVAILABLE


3.243   DELOITTE CONSULTING LLP                                 UNKNOWN                                                   $76,596
        PO BOX 844717
        DALLAS, TX 75284                                      ACCOUNT NO.:
                                                              NOT AVAILABLE


3.244   ERX NETWORK HOLDINGS INC                                UNKNOWN                                                   $53,745
        PO BOX 25485
        SALT LAKE CITY, UT 84125                              ACCOUNT NO.:
                                                              NOT AVAILABLE


3.245   FITNESS COACH LLC                                       UNKNOWN                                                    $2,446
        93 GIVENS AVE
        STAMFORD, CT 06902                                    ACCOUNT NO.:
                                                              NOT AVAILABLE


3.246   GENESIS RESEARCH LLC                                    UNKNOWN                                                   $14,170
        5 MARINE VIEW PLZ STE 312
        HOBOKEN, NJ 07030                                     ACCOUNT NO.:
                                                              NOT AVAILABLE


3.247   HELSMAN MANAGEMNET SERVICES LLC                         UNKNOWN                                                     $213
        PO BOX 1449
        NEW YORK, NY 10116                                    ACCOUNT NO.:
                                                              NOT AVAILABLE


3.248   HETHERINGTON INFO SERVICES LLC                          UNKNOWN                                                    $2,000
        1501 HAMBURG TPKE STE 302
        WAYNE, NJ 07470                                       ACCOUNT NO.:
                                                              NOT AVAILABLE


3.249   INMAR RX SOLUTIONS INC                                  UNKNOWN                                                    $1,700
        PO BOX 752176
        CHARLOTTE, NC 28275                                   ACCOUNT NO.:
                                                              NOT AVAILABLE


3.250   INTEGRATED BEHAVIORAL HEALTH INC                        UNKNOWN                                                  $384,526
        3070 BRISTOL ST STE 350
        COSTA MESA, CA 92626                                  ACCOUNT NO.:
                                                              NOT AVAILABLE


3.251   LIBERTY MUTUAL INSURANCE GROUP                          UNKNOWN                                                  $237,731
        PO BOX 1449
        NEW YORK, NY 10116                                    ACCOUNT NO.:
                                                              NOT AVAILABLE


3.252   LIMITLESS POTENTIAL LLC                                 UNKNOWN                                                    $1,300
        430 MAIN AVE STE 208
        NORWALK, CT 06851                                     ACCOUNT NO.:
                                                              NOT AVAILABLE




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Code                                                 And Account Number                        Claim

Prepetition Amounts Paid Under Motion

3.253   MAYO FOUNDATION FOR MEDICAL                             UNKNOWN                                                    $6,032
        NRS SU-1-400
        ROCHESTER, MN 55905                                   ACCOUNT NO.:
                                                              NOT AVAILABLE


3.254   NOVUS INTELLIGENCE LLC                                  UNKNOWN                                                   $21,000
        517 E 77TH ST #2
        NEW YORK, NY 10075                                    ACCOUNT NO.:
                                                              NOT AVAILABLE


3.255   OHIO CLINICAL TRIALS INC                                UNKNOWN                                                  $634,730
        1380 EDGEHILL RD
        COLUMBUS, OH 43212                                    ACCOUNT NO.:
                                                              NOT AVAILABLE


3.256   OPTUMHEALTH                                             UNKNOWN                                                    $1,199
        NW6373
        MINNEAPOLIS, MN 55485                                 ACCOUNT NO.:
                                                              NOT AVAILABLE


3.257   STANDARD INSURANCE CO                                   UNKNOWN                                                   $81,963
        PO BOX 3789
        PORTLAND, OR 97208                                    ACCOUNT NO.:
                                                              NOT AVAILABLE


3.258   STANDARD LIFE INS CO OF NEW YORK                        UNKNOWN                                                    $4,202
        PO BOX 5000 UNIT 54
        PORTLAND, OR 97208                                    ACCOUNT NO.:
                                                              NOT AVAILABLE


3.259   STATE STREET BANK & TRUST COMPANY                       UNKNOWN                                                    $3,901
        ONE LINCOLN ST
        BOSTON, MA 02111                                      ACCOUNT NO.:
                                                              NOT AVAILABLE


3.260   STERLING INFOSYSTEMS INC                                UNKNOWN                                                    $1,656
        PO BOX 35626
        NEWARK, NJ 07193-5626                                 ACCOUNT NO.:
                                                              NOT AVAILABLE


3.261   TECHNICAL TRAFFIC CONSULTANTS                           UNKNOWN                                                   $62,035
        30 HEMLOCK DR
        CONGERS, NY 10920-1400                                ACCOUNT NO.:
                                                              NOT AVAILABLE


3.262   THREE HARBOR POINT SQUARE LLC                           UNKNOWN                                                     $143
        LEASING OFFICE
        STAMFORD, CT 06902                                    ACCOUNT NO.:
                                                              NOT AVAILABLE


3.263   TRANSITCHEK                                             UNKNOWN                                                    $9,051
        110 PARK PLACE 4TH FL
        SAN MATEO, CA 94403                                   ACCOUNT NO.:
                                                              NOT AVAILABLE


3.264   UNITED WAY OF THE GREATER                               UNKNOWN                                                     $960
        PO BOX 110583
        DURHAM, NC 27709                                      ACCOUNT NO.:
                                                              NOT AVAILABLE




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Code                                                 And Account Number                        Claim

Prepetition Amounts Paid Under Motion

3.265   VAULT APARTMENTS                                        UNKNOWN                                                         $12
        120 TOWNE ST
        STAMFORD, CT 06902-6097                               ACCOUNT NO.:
                                                              NOT AVAILABLE


3.266   WHR GROUP                                               UNKNOWN                                                        $879
        N27W23681 PAUL RD
        PEWAUKEE, WI 53072                                    ACCOUNT NO.:
                                                              NOT AVAILABLE


3.267   WORLD HEALTH INFORMATION SCIENCE                        UNKNOWN                                                     $12,500
        3 ALLIED DR STE 303
        DEDHAM, MA 02026                                      ACCOUNT NO.:
                                                              NOT AVAILABLE


                                                                   Prepetition Amounts Paid Under Motion Total:          $8,104,454




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Code                                                 And Account Number                         Claim

Litigation

3.268   A.M.H., INDIVIDUALLY AND AS NEXT FRIEND OR               8/22/2018                   Opioid Matter              UNDETERMINED
        GUARDIAN OF MINOR BABY C.E., AND ON BEHALF OF
        ALL OTHERS SIMILARLY SITUATED                         ACCOUNT NO.:
        ATTN: STEPHEN H. WUSSOW                               NOT AVAILABLE
        COOPER LAW FIRM, LLC
        1525 RELIGIOUS STREET
        NEW ORLEANS, LA 70130



3.269   A.M.H., INDIVIDUALLY AND AS NEXT FRIEND OR               8/22/2018                   Opioid Matter              UNDETERMINED
        GUARDIAN OF MINOR BABY C.E., AND ON BEHALF OF
        ALL OTHERS SIMILARLY SITUATED                         ACCOUNT NO.:
        ATTN: VICTOR COBB                                     NOT AVAILABLE
        COOPER LAW FIRM, LLC
        1525 RELIGIOUS STREET
        NEW ORLEANS, LA 70130



3.270   A.M.H., INDIVIDUALLY AND AS NEXT FRIEND OR               8/22/2018                   Opioid Matter              UNDETERMINED
        GUARDIAN OF MINOR BABY C.E., AND ON BEHALF OF
        ALL OTHERS SIMILARLY SITUATED                         ACCOUNT NO.:
        ATTN: KEVIN W. THOMPSON, DAVID R. BARNEY, JR.         NOT AVAILABLE
        THOMPSON BARNEY LAW FIRM
        2030 KANAWHA BOULEVARD, EAST
        CHARLESTON, WV 25311



3.271   A.M.H., INDIVIDUALLY AND AS NEXT FRIEND OR               8/22/2018                   Opioid Matter              UNDETERMINED
        GUARDIAN OF MINOR BABY C.E., AND ON BEHALF OF
        ALL OTHERS SIMILARLY SITUATED                         ACCOUNT NO.:
        ATTN: DAVID R. BARNEY, JR.                            NOT AVAILABLE
        THOMPSON BARNEY LAW FIRM
        2030 KANAWHA BOULEVARD, EAST
        CHARLESTON, WV 25311



3.272   A.M.H., INDIVIDUALLY AND AS NEXT FRIEND OR               8/22/2018                   Opioid Matter              UNDETERMINED
        GUARDIAN OF MINOR BABY C.E., AND ON BEHALF OF
        ALL OTHERS SIMILARLY SITUATED                         ACCOUNT NO.:
        ATTN: SCOTT R. BICKFORD                               NOT AVAILABLE
        MARTZELL, BICKFORD & CENTOLA
        338 LAFAYETTE STREET
        NEW ORLEANS, LA 70130



3.273   A.M.H., INDIVIDUALLY AND AS NEXT FRIEND OR               8/22/2018                   Opioid Matter              UNDETERMINED
        GUARDIAN OF MINOR BABY C.E., AND ON BEHALF OF
        ALL OTHERS SIMILARLY SITUATED                         ACCOUNT NO.:
        ATTN: DONALD CREADORE                                 NOT AVAILABLE
        THE CREADORE LAW FIRM, P.C.
        450 SEVENTH AVENUE - SUITE 1408
        NEW YORK, NY 10123



3.274   A.M.H., INDIVIDUALLY AND AS NEXT FRIEND OR               8/22/2018                   Opioid Matter              UNDETERMINED
        GUARDIAN OF MINOR BABY C.E., AND ON BEHALF OF
        ALL OTHERS SIMILARLY SITUATED                         ACCOUNT NO.:
        ATTN: BARRY J. COOPER, JR.                            NOT AVAILABLE
        COOPER LAW FIRM, LLC
        1525 RELIGIOUS STREET
        NEW ORLEANS, LA 70130




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:         List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip              Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                         And Account Number                         Claim

Litigation

3.275   A.M.H., INDIVIDUALLY AND AS NEXT FRIEND OR                        8/22/2018                  Opioid Matter              UNDETERMINED
        GUARDIAN OF MINOR BABY C.E., AND ON BEHALF OF
        ALL OTHERS SIMILARLY SITUATED                                   ACCOUNT NO.:
        ATTN: LAWRENCE J. CENTOLA, III                                  NOT AVAILABLE
        MARTZELL, BICKFORD & CENTOLA
        338 LAFAYETTE STREET
        NEW ORLEANS, LA 70130



3.276   A.M.H., individually and as next friend or guardian of minor      8/22/2018                  Opioid Matter              UNDETERMINED
        Baby C.E., and on behalf of all others similarly situated
        Attn: Celeste Brustowicz, Barry James Cooper, Jr., Stephen H.   ACCOUNT NO.:
        Wussow, Victor T. Cobb                                          NOT AVAILABLE
        Cooper Law Firm, LLC
        1525 Religious Street
        New Orleans, LA 70130



3.277   A.M.H., INDIVIDUALLY AND IN HER CAPACITY AS LEGAL                 8/22/2018                  Opioid Matter              UNDETERMINED
        CUSTODIAN OF BABY C.E., ON BEHALF OF THEMSELVES
        AND ALL OTHERS SIMILARLY SITUATED                               ACCOUNT NO.:
        ATTN: KENT HARRISON ROBBINS                                     NOT AVAILABLE
        THE LAW OFFICES OF KENT HARRISON ROBBINS, P.A.
        242 NORTHEAST 27TH STREET
        MIAMI, FL 33137



3.278   A.M.H., INDIVIDUALLY AND IN HER CAPACITY AS LEGAL                 8/22/2018                  Opioid Matter              UNDETERMINED
        CUSTODIAN OF BABY C.E., ON BEHALF OF THEMSELVES
        AND ALL OTHERS SIMILARLY SITUATED                               ACCOUNT NO.:
        ATTN: LAWRENCE J. CENTOLA, III                                  NOT AVAILABLE
        MARTZELL, BICKFORD & CENTOLA
        338 LAFAYETTE STREET
        NEW ORLEANS, LA 70130



3.279   A.M.H., INDIVIDUALLY AND IN HER CAPACITY AS LEGAL                 8/22/2018                  Opioid Matter              UNDETERMINED
        CUSTODIAN OF BABY C.E., ON BEHALF OF THEMSELVES
        AND ALL OTHERS SIMILARLY SITUATED                               ACCOUNT NO.:
        ATTN: CELESTE BRUSTOWICZ                                        NOT AVAILABLE
        COOPER LAW FIRM, LLC
        1525 RELIGIOUS STREET
        NEW ORLEANS, LA 70130



3.280   A.M.H., INDIVIDUALLY AND IN HER CAPACITY AS LEGAL                 8/22/2018                  Opioid Matter              UNDETERMINED
        CUSTODIAN OF BABY C.E., ON BEHALF OF THEMSELVES
        AND ALL OTHERS SIMILARLY SITUATED                               ACCOUNT NO.:
        ATTN: DONALD CREADORE                                           NOT AVAILABLE
        THE CREADORE LAW FIRM, P.C.
        450 SEVENTH AVENUE - SUITE 1408
        NEW YORK, NY 10123



3.281   A.M.H., INDIVIDUALLY AND IN HER CAPACITY AS LEGAL                 8/22/2018                  Opioid Matter              UNDETERMINED
        CUSTODIAN OF BABY C.E., ON BEHALF OF THEMSELVES
        AND ALL OTHERS SIMILARLY SITUATED                               ACCOUNT NO.:
        ATTN: JAMES F. CLAYBORNE, JR.                                   NOT AVAILABLE
        CLAYBORNE, SABO AND WAGNER LLP
        525 WEST MAIN STREET, SUITE 105
        BELLEVILLE, IL 62220




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.282   A.M.H., INDIVIDUALLY AND IN HER CAPACITY AS LEGAL        8/22/2018                   Opioid Matter              UNDETERMINED
        CUSTODIAN OF BABY C.E., ON BEHALF OF THEMSELVES
        AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
        ATTN: SPENCER R DOODY                                 NOT AVAILABLE
        MARTZELL BICKFORD & CENTOLA
        338 LAFAYETTE STREET
        NEW ORLEANS, LA 70130



3.283   A.M.H., INDIVIDUALLY AND IN HER CAPACITY AS LEGAL        8/22/2018                   Opioid Matter              UNDETERMINED
        CUSTODIAN OF BABY C.E., ON BEHALF OF THEMSELVES
        AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
        ATTN: DAVID R. BARNEY, JR.                            NOT AVAILABLE
        THOMPSON BARNEY LAW FIRM
        2030 KANAWHA BOULEVARD, EAST
        CHARLESTON, WV 25311



3.284   A.M.H., INDIVIDUALLY AND IN HER CAPACITY AS LEGAL        8/22/2018                   Opioid Matter              UNDETERMINED
        CUSTODIAN OF BABY C.E., ON BEHALF OF THEMSELVES
        AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
        ATTN: VICTOR COBB                                     NOT AVAILABLE
        COOPER LAW FIRM
        1525 RELIGIOUS STREET
        NEW ORLEANS, LA 70130



3.285   A.M.H., INDIVIDUALLY AND IN HER CAPACITY AS LEGAL        8/22/2018                   Opioid Matter              UNDETERMINED
        CUSTODIAN OF BABY C.E., ON BEHALF OF THEMSELVES
        AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
        ATTN: KEVIN W. THOMPSON                               NOT AVAILABLE
        THOMPSON BARNEY LAW FIRM
        2030 KANAWHA BOULEVARD, EAST
        CHARLESTON, WV 25311



3.286   A.M.H., INDIVIDUALLY AND IN HER CAPACITY AS LEGAL        8/22/2018                   Opioid Matter              UNDETERMINED
        CUSTODIAN OF BABY C.E., ON BEHALF OF THEMSELVES
        AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
        ATTN: WARREN PERRIN                                   NOT AVAILABLE
        PERRIN, LANDRY, DELAUNAY
        251 LA RUE FRANCE - P.O. BOX 53597
        LAFAYETTE, LA 70505



3.287   A.M.H., INDIVIDUALLY AND IN HER CAPACITY AS LEGAL        8/22/2018                   Opioid Matter              UNDETERMINED
        CUSTODIAN OF BABY C.E., ON BEHALF OF THEMSELVES
        AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
        ATTN: STEPHEN H. WUSSOW                               NOT AVAILABLE
        COOPER LAW FIRM
        1525 RELIGIOUS STREET
        NEW ORLEANS, LA 70130



3.288   A.M.H., INDIVIDUALLY AND IN HER CAPACITY AS LEGAL        8/22/2018                   Opioid Matter              UNDETERMINED
        CUSTODIAN OF BABY C.E., ON BEHALF OF THEMSELVES
        AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
        ATTN: BARRY J. COOPER, JR.                            NOT AVAILABLE
        COOPER LAW FIRM
        1525 RELIGIOUS STREET
        NEW ORLEANS, LA 70130




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.289   A.M.H., INDIVIDUALLY AND IN HER CAPACITY AS LEGAL        8/22/2018                   Opioid Matter              UNDETERMINED
        CUSTODIAN OF BABY C.E., ON BEHALF OF THEMSELVES
        AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
        ATTN: JACK W. HARANG                                  NOT AVAILABLE
        LAW OFFICES OF JACK W HARANG
        2443 TAFFY DR.
        KENNER, LA 70065



3.290   A.M.H., INDIVIDUALLY AND IN HER CAPACITY AS LEGAL        8/22/2018                   Opioid Matter              UNDETERMINED
        CUSTODIAN OF BABY C.E., ON BEHALF OF THEMSELVES
        AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
        ATTN: SCOTT R. BICKFORD                               NOT AVAILABLE
        MARTZELL, BICKFORD & CENTOLA
        338 LAFAYETTE STREET
        NEW ORLEANS, LA 70130



3.291   ACCOMACK COUNTY, VIRGINIA                               UNKNOWN                      Opioid Matter              UNDETERMINED
        ATTN: COUNTY ATTORNEY
        PO BOX 709                                            ACCOUNT NO.:
        ACCOMACK, VA 23301                                    NOT AVAILABLE



3.292   ACCOMACK COUNTY, VIRGINIA                               UNKNOWN                      Opioid Matter              UNDETERMINED
        ATTN: COUNTY ATTORNEY
        COUNTY ADMINISTRATION BUILDING                        ACCOUNT NO.:
        23296 COURTHOUSE AVENUE - SUITE 103                   NOT AVAILABLE
        ACCOMACK, VA 23301



3.293   ADA COUNTY                                               6/14/2019                   Opioid Matter              UNDETERMINED
        ATTN: CHAIR OF THE BOARD OF COMMISSIONERS AND
        COUNTY CLERK                                          ACCOUNT NO.:
        200 WEST FRONT STREET                                 NOT AVAILABLE
        3RD FLOOR
        BOISE, ID 83702



3.294   ADAIR COUNTY, ET AL.                                      1/5/2018                   Opioid Matter              UNDETERMINED
        ATTN: COUNTY AUDITOR; CHAIR OF SUPERVISORS
        400 PUBLIC SQUARE                                     ACCOUNT NO.:
        SUITE 5                                               NOT AVAILABLE
        GREENFIELD, IA 50849



3.295   ADAMS COUNTY                                             8/17/2018                   Opioid Matter              UNDETERMINED
        ADAMS COUNTY COURTHOUSE
        PO BOX48                                              ACCOUNT NO.:
        COUNCIL, ID 83612                                     NOT AVAILABLE



3.296   ADAMS COUNTY                                             8/17/2018                   Opioid Matter              UNDETERMINED
        ATTN: COUNTY CLERK / COMMISSIONER CHARMAN
        COUNTY COURTHOUSE                                     ACCOUNT NO.:
        201 INDUSTRIAL AVENUE - PO BOX 48                     NOT AVAILABLE
        COUNCIL, ID 83612




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.297   ADAMS COUNTY                                              8/5/2019                   Opioid Matter              UNDETERMINED
        ATTN: CHAIR OF THE BOARD COMMISSIONERS
        COUNTY OF ADAMS COMMISSIONERS                         ACCOUNT NO.:
        117 BALTIMORE STREET - ROOM 201                       NOT AVAILABLE
        GETTYSBURG, PA 17325



3.298   ADAMS COUNTY                                             11/7/2017                   Opioid Matter              UNDETERMINED
        ATTN: COUNTY BOARD CHAIR AND COUNTY CLERK
        400 MAIN STREET                                       ACCOUNT NO.:
        PO BOX 278                                            NOT AVAILABLE
        FRIENDSHIP, WI 53934



3.299   ADAMS COUNTY                                             11/7/2017                   Opioid Matter              UNDETERMINED
        ATTN: COUNTY BOARD CHAIR AND COUNTY CLERK
        1198 8TH AVENUE                                       ACCOUNT NO.:
        FRIENDSHIP, WI 53934                                  NOT AVAILABLE



3.300   ADAMS COUNTY                                             11/7/2017                   Opioid Matter              UNDETERMINED
        ATTN: CHAIRPERSON OF COUNTY BOARD AND COUNTY
        CLERK                                                 ACCOUNT NO.:
        569 NORTH CEDAR STREET                                NOT AVAILABLE
        ADAMS, WI 53910



3.301   ADAMS COUNTY BOARD OF COUNTY COMMISSIONERS               10/13/2017                  Opioid Matter              UNDETERMINED
        110 WEST MAIN STREET
        ROOM # 112                                            ACCOUNT NO.:
        WEST UNION, OH 45693                                  NOT AVAILABLE



3.302   ADAMS COUNTY BOARD OF COUNTY COMMISSIONERS               10/13/2017                  Opioid Matter              UNDETERMINED
        ATTN: COUNTY COMMISSIONERS
        215 NORTH CROSS STREET                                ACCOUNT NO.:
        SUITE 102                                             NOT AVAILABLE
        WEST UNION, OH 45693



3.303   ADAMS COUNTY, MISSISSIPPI                                6/22/2018                   Opioid Matter              UNDETERMINED
        ATTN: CLERK OF THE BOARD OF SUPERVISORS
        115 SOUTH WALL ST.                                    ACCOUNT NO.:
        NATCHEZ, MS 39120                                     NOT AVAILABLE



3.304   AFFINITY HOSPITAL, LLC                                    9/3/2019                   Opioid Matter              UNDETERMINED
        ATTN: CEO, PARTNER, OR MANAGER
        3690 GRANDVIEW PARKWAY                                ACCOUNT NO.:
        BIRMINGHAM, AL 35243                                  NOT AVAILABLE



3.305   AFFINITY HOSPITAL, LLC                                    9/3/2019                   Opioid Matter              UNDETERMINED
        ATTN: REGISTERED AGENT
        641 SOUTH LAWRENCE STREET                             ACCOUNT NO.:
        MONTGOMERY, AL 36104                                  NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip        Date Claim Was Incurred    C U     D    Basis For      Offset   Amount of Claim
Code                                                   And Account Number                       Claim

Litigation

3.306   AFSCME DISTRICT COUNCIL 33 HEALTH & WELFARE               3/22/2018                  Opioid Matter              UNDETERMINED
        FUND
        ATTN: PRESIDENT OF AFSCME DISTRICT COUNCIL 33          ACCOUNT NO.:
        HEALTH & WELFARE FUND, AGENTS, MANAGERS, AND           NOT AVAILABLE
        CLERKS
        3001 WALNUT STREET
        PHILADELPHIA, PA 19104



3.307   AFSCME DISTRICT COUNCIL 47 HEALTH & WELFARE               3/19/2018                  Opioid Matter              UNDETERMINED
        FUND
        ATTN: FUND ADMINISTRATOR AND CHAIRMAN OF THE           ACCOUNT NO.:
        BOARD OF TRUSTEES, AGENTS, MANAGERS, AND               NOT AVAILABLE
        CLERKS
        1606 WALNUT STREET
        5TH FLOOR
        PHILADELPHIA, PA 19103-5482



3.308   AKIAK NATIVE COMMUNITY                                   11/16/2018                  Opioid Matter              UNDETERMINED
        ATTN: CHAIRPERSON & CHIEF EXECUTIVE OFFICER
        PO BOX 52127                                           ACCOUNT NO.:
        AKIACHAK, AK 99551-0070                                NOT AVAILABLE



3.309   ALAMANCE COUNTY                                           6/13/2019                  Opioid Matter              UNDETERMINED
        ATTN: COUNTY MANAGER
        ALAMANCE COUNTY OFFICE BLDG                            ACCOUNT NO.:
        124 WEST ELM STREET                                    NOT AVAILABLE
        GRAHAM, NC 27253



3.310   ALAMANCE COUNTY                                           6/13/2019                  Opioid Matter              UNDETERMINED
        ALAMANCE COUNTY BOARD OF COMMISSIONERS
        124 WEST ELM ST                                        ACCOUNT NO.:
        GRAHAM, NC 27253                                       NOT AVAILABLE



3.311   ALAMOSA COUNTY                                            5/29/2018                  Opioid Matter              UNDETERMINED
        ATTN: CLERK AND RECORDER
        8999 INDEPENDENCE WAY, SUITE 101                       ACCOUNT NO.:
        ALAMOSA, CO 81101                                      NOT AVAILABLE



3.312   ALAMOSA COUNTY                                            5/29/2018                  Opioid Matter              UNDETERMINED
        ATTN: BOARD OF COUNTY COMMISSIONERS
        8900-A INDEPENDENCE WAY                                ACCOUNT NO.:
        ALAMOSA, CO 81101                                      NOT AVAILABLE



3.313   ALASKA NATIVE TRIBAL HEALTH CONSORTIUM                   11/13/2018                  Opioid Matter              UNDETERMINED
        ATTN: GENERAL COUNSEL, PRESIDENT, AND OFFICERS
        AND AGENTS                                             ACCOUNT NO.:
        4000 AMBASSADOR DRIVE                                  NOT AVAILABLE
        ANCHORAGE, AK 99508



3.314   ALEUTIAN PRIBILOF ISLANDS ASSOCIATION, INC.              12/17/2018                  Opioid Matter              UNDETERMINED
        ATTN: PRESIDENT/CEO & CHAIR, OFFICERS, AND
        AGENTS                                                 ACCOUNT NO.:
        1131 EAST INTERNATIONAL AIRPORT ROAD                   NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
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Code                                                 And Account Number                         Claim

Litigation

3.315   ALEXANDER COUNTY                                         10/15/2018                  Opioid Matter              UNDETERMINED
        ATTN: COUNTY MANAGER AND CLERK TO THE BOARD
        AND BOARD OF COMMISSIONERS CHAIR                      ACCOUNT NO.:
        621 LILEDOUN RD                                       NOT AVAILABLE
        TAYLORSVILLE, NC 28681



3.316   ALICIA SIMONSON, INDIVIDUALLY AND AS NEXT FRIEND         6/15/2019                   Opioid Matter              UNDETERMINED
        AND GUARDIAN OF BABY M.S., ON BEHALF OF
        THEMSELVES AND ALL OTHERS SIMILARLY SITUATED          ACCOUNT NO.:
        ATTN: CELESTE BRUSTOWICZ                              NOT AVAILABLE
        COOPER LAW FIRM, LLC
        1525 RELIGIOUS STREET
        NEW ORLEANS, LA 70130



3.317   ALLAMAKEE COUNTY                                          8/2/2018                   Opioid Matter              UNDETERMINED
        ATTN: AUDITOR; CHAIR OF THE BOARD OF SUPERVISORS
        110 ALLAMAKEE STREET                                  ACCOUNT NO.:
        WAUKON, IA 52172                                      NOT AVAILABLE



3.318   ALLEGANY COUNTY                                         UNKNOWN                      Opioid Matter              UNDETERMINED
        ATTN: TREASURER
        COUNTY OFFICE BUILDING ROOM 134                       ACCOUNT NO.:
        7 COURT STREET                                        NOT AVAILABLE
        BELMONT, NY 14813



3.319   ALLEGANY COUNTY                                         UNKNOWN                      Opioid Matter              UNDETERMINED
        ATTN: CHAIR OF THE BOARD OF LEGISLATORS AND
        COUNTY ATTORNEY                                       ACCOUNT NO.:
        COUNTY OFFICE BUILDING                                NOT AVAILABLE
        7 COURT STREET
        BELMONT, NY 14813



3.320   ALLEGANY COUNTY                                         UNKNOWN                      Opioid Matter              UNDETERMINED
        ATTN: COUNTY CLERK
        COUNTY OFFICE BUILDING ROOM 18                        ACCOUNT NO.:
        7 COURT STREET                                        NOT AVAILABLE
        BELMONT, NY 14813



3.321   ALLEGANY COUNTY, MARYLAND                                5/11/2018                   Opioid Matter              UNDETERMINED
        ATTN: BOARD OF COUNTY COMMISSIONERS AND
        COUNTY ATTORNEY                                       ACCOUNT NO.:
        ALLEGANY COUNTY COMPLEX                               NOT AVAILABLE
        701 KELLY ROAD
        CUMBERLAND, MD 21502



3.322   ALLEGHANY COUNTY                                         8/14/2018                   Opioid Matter              UNDETERMINED
        ATTN: COUNTY MANAGER AND CLERK TO THE BOARD
        COUNTY ADMINISTRATION BUILDING                        ACCOUNT NO.:
        348 SOUTH MAIN STREET, ROOM LL80 - PO BOX 366         NOT AVAILABLE
        SPARTA, NC 28675




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Code                                                 And Account Number                         Claim

Litigation

3.323   ALLEGHANY COUNTY                                         8/14/2018                   Opioid Matter              UNDETERMINED
        COUNTY ADMINISTRATION BUILDING
        348 SOUTH MAIN STREET, ROOM LL20                      ACCOUNT NO.:
         - PO BOX 366                                         NOT AVAILABLE
        SPARTA, NC 28675



3.324   ALLEGHANY COUNTY, VIRGINIA                              UNKNOWN                      Opioid Matter              UNDETERMINED
        ATTN: COUNTY ATTORNEY
        ALLEGHANY COUNTY, VA GOVERNMENTAL OFFICES             ACCOUNT NO.:
        9212 WINTERBERRY AVENUE                               NOT AVAILABLE
        COVINGTON, VA 24426



3.325   ALLEGIANCE HEALTH CENTER OF MONROE                       6/14/2019                   Opioid Matter              UNDETERMINED
        ATTN: REGISTERED AGENT AND MANAGERS
        ALLEGIANCE HEALTH CENTER OF MONROE                    ACCOUNT NO.:
        3421 MEDICAL PARK DRIVE                               NOT AVAILABLE
        MONROE, LA 71203



3.326   ALLEGIANCE HEALTH CENTER OF MONROE                       6/14/2019                   Opioid Matter              UNDETERMINED
        ATTN: REGISTERED AGENT AND MANAGERS
        504 TEXAS STREET                                      ACCOUNT NO.:
        SUITE 200                                             NOT AVAILABLE
        SHREVEPORT, LA 71101



3.327   ALLEGIANCE HEALTH CENTER OF RUSTON                       6/14/2019                   Opioid Matter              UNDETERMINED
        ATTN: REGISTERED AGENT AND OFFICERS
        1401 EZELL STREET                                     ACCOUNT NO.:
        1ST AND 2ND FLOOR                                     NOT AVAILABLE
        RUSTON, LA 71270



3.328   ALLEGIANCE HEALTH CENTER OF RUSTON                       6/14/2019                   Opioid Matter              UNDETERMINED
        ATTN: REGISTERED AGENT AND OFFICERS
        504 TEXAS STREET                                      ACCOUNT NO.:
        SUITE 200                                             NOT AVAILABLE
        SHREVEPORT, LA 71101



3.329   ALLEN COUNTY BOARD OF COUNTY COMMISSIONERS               4/10/2018                   Opioid Matter              UNDETERMINED
        ATTN: BOARD OF ALLEN COMMISSIONERS
        204 NORTH MAIN STREET                                 ACCOUNT NO.:
        SUITE 301                                             NOT AVAILABLE
        LIMA, OH 45801



3.330   ALLEN COUNTY BOARD OF COUNTY COMMISSIONERS               4/10/2018                   Opioid Matter              UNDETERMINED
        204 NORTH MAIN STREET
        SUITE 302                                             ACCOUNT NO.:
        LIMA, OH 45801                                        NOT AVAILABLE



3.331   ALYSSA LYLE, INDIVIDUALLY AND AS NEXT FRIEND AND         6/18/2019                   Opioid Matter              UNDETERMINED
        GUARDIAN OF BABY A.W.
        ATTN: CELESTE BRUSTOWICZ                              ACCOUNT NO.:
        COOPER LAW FIRM, LLC                                  NOT AVAILABLE
        1525 RELIGIOUS STREET
        NEW ORLEANS, LA 70130




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Code                                                 And Account Number                         Claim

Litigation

3.332   AMALGAMATED UNION LOCAL 450-A WELFARE FUND               8/29/2019                   Opioid Matter              UNDETERMINED
        ATTN: PRESIDENT, VICE PRESIDENT, SECRETARY, AND
        TREASURER                                             ACCOUNT NO.:
        P.O. BOX 604921                                       NOT AVAILABLE
        BAYSIDE, NY 11360



3.333   AMANDA GIBSON, INDIVIDUALLY AND AS NEXT FRIEND           6/18/2019                   Opioid Matter              UNDETERMINED
        AND GUARDIAN OF BABY B.A.
        ATTN: KEVIN W. THOMPSON, DAVID R. BARNEY, JR.         ACCOUNT NO.:
        THOMPSON BARNEY LAW FIRM                              NOT AVAILABLE
        2030 KANAWHA BOULEVARD, EAST
        CHARLESTON, WV 25311



3.334   AMANDA GIBSON, INDIVIDUALLY AND AS NEXT FRIEND           6/18/2019                   Opioid Matter              UNDETERMINED
        AND GUARDIAN OF BABY B.A.
        ATTN: STEPHEN WUSSOW                                  ACCOUNT NO.:
        COOPER LAW FIRM                                       NOT AVAILABLE
        1525 RELIGIOUS STREET
        NEW ORLEANS, LA 70130



3.335   AMANDA GIBSON, INDIVIDUALLY AND AS NEXT FRIEND           6/18/2019                   Opioid Matter              UNDETERMINED
        AND GUARDIAN OF BABY B.A.
        ATTN: SPENCER R. DOODY                                ACCOUNT NO.:
        MARTZELL, BICKFORD & CENTOLA                          NOT AVAILABLE
        338 LAFAYETTE STREET
        NEW ORLEANS, LA 70130



3.336   AMANDA GIBSON, INDIVIDUALLY AND AS NEXT FRIEND           6/18/2019                   Opioid Matter              UNDETERMINED
        AND GUARDIAN OF BABY B.A.
        ATTN: KENT HARRISON ROBBINS                           ACCOUNT NO.:
        242 NORTHEAST 27TH STREET                             NOT AVAILABLE
        MIAMI, FL 33137



3.337   AMANDA GIBSON, INDIVIDUALLY AND AS NEXT FRIEND           6/18/2019                   Opioid Matter              UNDETERMINED
        AND GUARDIAN OF BABY B.A.
        ATTN: CELESTE BRUSTOWICZ, STEPHEN H. WUSSOW           ACCOUNT NO.:
        COOPER LAW FIRM, LLC                                  NOT AVAILABLE
        1525 RELIGIOUS STREET
        NEW ORLEANS, LA 70130



3.338   AMANDA GIBSON, INDIVIDUALLY AND AS NEXT FRIEND           6/18/2019                   Opioid Matter              UNDETERMINED
        AND GUARDIAN OF BABY B.A.
        ATTN: DONALD E. CREADORE                              ACCOUNT NO.:
        CREADOR LAW FIRM                                      NOT AVAILABLE
        450 SEVENTH AVENUE - SUITE 1408
        NEW YORK, NY 10123



3.339   AMANDA GIBSON, INDIVIDUALLY AND AS NEXT FRIEND           6/18/2019                   Opioid Matter              UNDETERMINED
        AND GUARDIAN OF BABY B.A.
        ATTN: SCOTT R. BICKFORD                               ACCOUNT NO.:
        MARTZELL, BICKFORD & CENTOLA                          NOT AVAILABLE
        338 LAFAYETTE STREET
        NEW ORLEANS, LA 70130




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.340   AMANDA GIBSON, INDIVIDUALLY AND AS NEXT FRIEND           6/18/2019                   Opioid Matter              UNDETERMINED
        AND GUARDIAN OF BABY B.A.
        ATTN: DAVID R. BARNEY, JR.                            ACCOUNT NO.:
        THOMPSON BARNEY LAW FIRM                              NOT AVAILABLE
        2030 KANAWHA BOULEVARD, EAST
        CHARLESTON, WV 25311



3.341   AMANDA HANLON AND AMY GARDNER                            3/28/2019                   Opioid Matter              UNDETERMINED
        ATTN: DONALD E. CREADORE
        CREADOR LAW FIRM                                      ACCOUNT NO.:
        450 SEVENTH AVENUE - SUITE 1408                       NOT AVAILABLE
        NEW YORK, NY 10123



3.342   AMANDA HANLON AND AMY GARDNER                            3/28/2019                   Opioid Matter              UNDETERMINED
        ATTN: DAVID R. BARNEY, JR.
        THOMPSON BARNEY LAW FIRM                              ACCOUNT NO.:
        2030 KANAWHA BOULEVARD                                NOT AVAILABLE
        EAST CHARLESTON, WV 25311



3.343   AMANDA HANLON AND AMY GARDNER                            3/28/2019                   Opioid Matter              UNDETERMINED
        ATTN: STEPHEN WUSSOW
        COOPER LAW FIRM                                       ACCOUNT NO.:
        1525 RELIGIOUS STREET                                 NOT AVAILABLE
        NEW ORLEANS, LA 70130



3.344   AMANDA HANLON AND AMY GARDNER                            3/28/2019                   Opioid Matter              UNDETERMINED
        ATTN: SPENCER R. DOODY
        MARTZELL, BICKFORD & CENTOLA                          ACCOUNT NO.:
        338 LAFAYETTE STREET                                  NOT AVAILABLE
        NEW ORLEANS, LA 70130



3.345   AMANDA HANLON AND AMY GARDNER                            3/28/2019                   Opioid Matter              UNDETERMINED
        ATTN: AMANDA HANLON
        529 92ND STREET                                       ACCOUNT NO.:
        NIAGARA FALLS, NY 14304-3501                          NOT AVAILABLE



3.346   AMANDA HANLON AND AMY GARDNER                            3/28/2019                   Opioid Matter              UNDETERMINED
        ATTN: KEVIN W. THOMPSON, DAVID R. BARNEY, JR.
        THOMPSON BARNEY LAW FIRM                              ACCOUNT NO.:
        2030 KANAWHA BOULEVARD, EAST                          NOT AVAILABLE
        EAST CHARLESTON, WV 25311



3.347   AMANDA HANLON AND AMY GARDNER                            3/28/2019                   Opioid Matter              UNDETERMINED
        ATTN: SCOTT R. BICKFORD
        MARTZELL, BICKFORD & CENTOLA                          ACCOUNT NO.:
        338 LAFAYETTE STREET                                  NOT AVAILABLE
        NEW ORLEANS, LA 70130



3.348   AMANDA HANLON AND AMY GARDNER                            3/28/2019                   Opioid Matter              UNDETERMINED
        ATTN: KENT HARRISON ROBBINS
        THE LAW OFFICE OF KENT HARRISON ROBBINS, P.A.         ACCOUNT NO.:
        242 NORTHEAST 27TH STREET                             NOT AVAILABLE
        MIAMI, FL 33137




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Code                                                 And Account Number                         Claim

Litigation

3.349   AMANDA HANLON AND AMY GARDNER                            3/28/2019                   Opioid Matter              UNDETERMINED
        715 SEVERN AVENUE B
        METAIRIE, LA 70001-5150                               ACCOUNT NO.:
                                                              NOT AVAILABLE


3.350   AMANDA HANLON AND AMY GARDNER                            3/28/2019                   Opioid Matter              UNDETERMINED
        ATTN: CELESTE BRUSTOWICZ, STEPHEN H. WUSSOW
        COOPER LAW FIRM, LLC                                  ACCOUNT NO.:
        1525 RELIGIOUS STREET                                 NOT AVAILABLE
        NEW ORLEANS, LA 70130



3.351   AMANDA MUFFLEY, INDIVIDUALLY AND AS NEXT FRIEND          6/17/2019                   Opioid Matter              UNDETERMINED
        AND GUARDIAN OF BABY M.S.
        ATTN: STEPHEN H. WUSSOW                               ACCOUNT NO.:
        COOPER LAW FIRM, LLC                                  NOT AVAILABLE
        1525 RELIGIOUS STREET
        NEW ORLEANS, LA 70130



3.352   AMEL EILAND, INDIVIDUALLY AND ON BEHALF OF ALL           11/9/2018                   Opioid Matter              UNDETERMINED
        OTHERS SIMILARLY SITUATED
        ATTN: COLLEEN THERESE CALANDRA                        ACCOUNT NO.:
        RAMOS LAW                                             NOT AVAILABLE
        3000 YOUNGFIELD STREET - SUITE 200
        WHEAT RIDGE, CO 80215



3.353   AMEL EILAND, INDIVIDUALLY AND ON BEHALF OF ALL           11/9/2018                   Opioid Matter              UNDETERMINED
        OTHERS SIMILARLY SITUATED
        ATTN: MICHAEL H. PARK                                 ACCOUNT NO.:
        ATTN: MICHAEL H PARK                                  NOT AVAILABLE
        745 FIFTH AVENUE - SUITE 500
        NEW YORK, NY 10151



3.354   AMEL EILAND, INDIVIDUALLY AND ON BEHALF OF ALL           11/9/2018                   Opioid Matter              UNDETERMINED
        OTHERS SIMILARLY SITUATED
        ATTN: THOMAS R. MCCARTHY                              ACCOUNT NO.:
        CONSOVOY MCCARTHY PARK PLLC                           NOT AVAILABLE
        3033 WILSON BOULEVARD - SUITE 700
        ARLINGTON, VA 22201



3.355   AMEL EILAND, INDIVIDUALLY AND ON BEHALF OF ALL           11/9/2018                   Opioid Matter              UNDETERMINED
        OTHERS SIMILARLY SITUATED
        ATTN: WILLIAM S. CONSOVOY                             ACCOUNT NO.:
        CONSOVOY MCCARTHY PARK PLLC                           NOT AVAILABLE
        3033 WILSON BOULEVARD - SUITE 700
        ARLINGTON, VA 22201



3.356   AMEL EILAND, INDIVIDUALLY AND ON BEHALF OF ALL           11/9/2018                   Opioid Matter              UNDETERMINED
        OTHERS SIMILARLY SITUATED
        ATTN: ASHLEY C. KELLER                                ACCOUNT NO.:
        KELLER LENKNER LLC                                    NOT AVAILABLE
        150 NORTH RIVERSIDE PLAZA - SUITE 2750
        CHICAGO, IL 60606




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Code                                                 And Account Number                         Claim

Litigation

3.357   AMEL EILAND, INDIVIDUALLY AND ON BEHALF OF ALL           11/9/2018                   Opioid Matter              UNDETERMINED
        OTHERS SIMILARLY SITUATED
        ATTN: TRAVIS LENKNER                                  ACCOUNT NO.:
        KELLER LENKNER LLC                                    NOT AVAILABLE
        150 NORTH RIVERSIDE PLAZA - SUITE 2570
        CHICAGO, IL 60606



3.358   AMEL EILAND, INDIVIDUALLY AND ON BEHALF OF ALL           11/9/2018                   Opioid Matter              UNDETERMINED
        OTHERS SIMILARLY SITUATED
        ATTN: SETH MEYER                                      ACCOUNT NO.:
        KELLER LENKNER LLC                                    NOT AVAILABLE
        150 N. RIVERSIDE PLAZA - SUITE 2570
        CHICAGO, IL 60606



3.359   AMERICAN FEDERATION OF STATE, COUNTY AND                 12/12/2017                  Opioid Matter              UNDETERMINED
        MUNICIPAL EMPLOYEES DISTRICT COUNCIL 37 HEALTH
        & SECURITY PLAN                                       ACCOUNT NO.:
        ATTN: EXECUTIVE DIRECTOR; PRESIDENT OF DISTRICT       NOT AVAILABLE
        COUNCIL 37
        DISTRICT COUNCIL 37, AFSCME, AFL-CIO
        125 BARCLAY STREET
        NEW YORK, NY 10007



3.360   AMERICAN RESOURCES INSURANCE COMPANY, INC.               3/27/2018                   Opioid Matter              UNDETERMINED
        ATTN: PRESIDENT AND REGISTERED AGENT
        1111 HILLCREST ROAD                                   ACCOUNT NO.:
        SUITE 100                                             NOT AVAILABLE
        MOBILE, AL 36695



3.361   AMISUB (SFH), INC.                                       7/11/2019                   Opioid Matter              UNDETERMINED
        ATTN: OFFICER OR MANAGING AGENT
        5959 PARK AVENUE                                      ACCOUNT NO.:
        MEMPHIS, TN 38119                                     NOT AVAILABLE



3.362   AMISUB (SFH), INC.                                       7/11/2019                   Opioid Matter              UNDETERMINED
        ATTN: REGISTERED AGENT
        C T CORPORATION SYSTEM                                ACCOUNT NO.:
        300 MONTVUE ROAD                                      NOT AVAILABLE
        KNOXVILLE, TN 37919-5546



3.363   AMISUB (SFH), INC.                                       7/11/2019                   Opioid Matter              UNDETERMINED
        ATTN: OFFICER OR MANAGING AGENT
        1445 ROSS AVENUE                                      ACCOUNT NO.:
        SUITE 1400                                            NOT AVAILABLE
        DALLAS, TX 75202



3.364   AMITE COUNTY, MISS.                                       1/9/2018                   Opioid Matter              UNDETERMINED
        ATTN: CLERK AND PRESIDENT OF THE BOARD OF
        SUPERVISORS                                           ACCOUNT NO.:
        243 WEST MAIN STREET                                  NOT AVAILABLE
        P. O. BOX 680
        LIBERTY, MS 39645




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.365   A-MMED AMBULANCE, INC.                                   10/26/2018                  Opioid Matter              UNDETERMINED
        ATTN: REGISTERED AGENT
        1800 MONROE STREET                                    ACCOUNT NO.:
        GRETNA, LA 70053                                      NOT AVAILABLE



3.366   AMY SHEPARD, INDIVIDUALLY AND AS NEXT FRIEND AND         6/20/2019                   Opioid Matter              UNDETERMINED
        GUARDIAN OF BABY E.S.
        ATTN: KEVIN W. THOMPSON, DAVID R. BARNEY, JR.         ACCOUNT NO.:
        THOMPSON BARNEY LAW FIRM                              NOT AVAILABLE
        2030 KANAWHA BOULEVARD, EAST
        CHARLESTON, WV 25311



3.367   AMY SHEPARD, INDIVIDUALLY AND AS NEXT FRIEND AND         6/20/2019                   Opioid Matter              UNDETERMINED
        GUARDIAN OF BABY E.S.
        ATTN: SCOTT R. BICKFORD                               ACCOUNT NO.:
        MARTZELL, BICKFORD & CENTOLA                          NOT AVAILABLE
        338 LAFAYETTE STREET
        NEW ORLEANS, LA 70130



3.368   AMY SHEPARD, INDIVIDUALLY AND AS NEXT FRIEND AND         6/20/2019                   Opioid Matter              UNDETERMINED
        GUARDIAN OF BABY E.S.
        ATTN: DONALD E. CREADORE                              ACCOUNT NO.:
        CREADOR LAW FIRM                                      NOT AVAILABLE
        450 SEVENTH AVENUE - SUITE 1408
        NEW YORK, NY 10123



3.369   AMY SHEPARD, INDIVIDUALLY AND AS NEXT FRIEND AND         6/20/2019                   Opioid Matter              UNDETERMINED
        GUARDIAN OF BABY E.S.
        ATTN: SPENCER R. DOODY                                ACCOUNT NO.:
        MARTZELL, BICKFORD & CENTOLA                          NOT AVAILABLE
        338 LAFAYETTE STREET
        NEW ORLEANS, LA 70130



3.370   AMY SHEPARD, INDIVIDUALLY AND AS NEXT FRIEND AND         6/20/2019                   Opioid Matter              UNDETERMINED
        GUARDIAN OF BABY E.S.
        ATTN: CELESTE BRUSTOWICZ, STEPHEN H. WUSSOW           ACCOUNT NO.:
        COOPER LAW FIRM, LLC                                  NOT AVAILABLE
        1525 RELIGIOUS STREET
        NEW ORLEANS, LA 70130



3.371   AMY SHEPARD, INDIVIDUALLY AND AS NEXT FRIEND AND         6/20/2019                   Opioid Matter              UNDETERMINED
        GUARDIAN OF BABY E.S.
        ATTN: DAVID R. BARNEY JR.                             ACCOUNT NO.:
        THOMPSON BARNEY LAW FIRM                              NOT AVAILABLE
        2030 KANAWHA BOULEVARD, EAST
        CHARLESTON, WV 25311



3.372   AMY SHEPARD, INDIVIDUALLY AND AS NEXT FRIEND AND         6/20/2019                   Opioid Matter              UNDETERMINED
        GUARDIAN OF BABY E.S.
        ATTN: KENT HARRISON ROBBINS                           ACCOUNT NO.:
        HARRISON ROBBINS, P.A.                                NOT AVAILABLE
        242 NORTHEAST 27TH STREET
        MIAMI, FL 33137




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.373   AMY SHEPARD, INDIVIDUALLY AND AS NEXT FRIEND AND         6/20/2019                   Opioid Matter              UNDETERMINED
        GUARDIAN OF BABY E.S.
        ATTN: STEPHEN WUSSOW                                  ACCOUNT NO.:
        COOPER LAW FIRM                                       NOT AVAILABLE
        1525 RELIGIOUS STREET
        NEW ORLEANS, LA 70130



3.374   ANDERSON COUNTY                                         UNKNOWN                      Opioid Matter              UNDETERMINED
        ATTN: COUNTY CLERK
        100 NORTH MAIN STREET                                 ACCOUNT NO.:
        ROOM 111                                              NOT AVAILABLE
        CLINTON, TN 37716



3.375   ANDERSON COUNTY                                         UNKNOWN                      Opioid Matter              UNDETERMINED
        ATTN: COUNTY MAYOR
        100 NORTH MAIN STREET                                 ACCOUNT NO.:
        ROOM 208                                              NOT AVAILABLE
        CLINTON, TN 37716



3.376   ANDERSON COUNTY                                         UNKNOWN                      Opioid Matter              UNDETERMINED
        ATTN: COUNTY CLERK
        728 EMORY VALLEY ROAD                                 ACCOUNT NO.:
        OAK RIDGE, TN 37830                                   NOT AVAILABLE



3.377   ANDERSON COUNTY                                         UNKNOWN                      Opioid Matter              UNDETERMINED
        ATTN: COUNTY ATTORNEY
        101 SOUTH MAIN STREET                                 ACCOUNT NO.:
        SUITE 310                                             NOT AVAILABLE
        CLINTON, TN 37716



3.378   ANDREA HARLEY, INDIVIDUALLY AND ON BEHALF OF ALL          6/5/2019                   Opioid Matter              UNDETERMINED
        OTHERS SIMILARLY SITUATED
        ZELDES NEEDLE & COOPER                                ACCOUNT NO.:
        PO BOX 1740                                           NOT AVAILABLE
        BRIDGEPORT, CT 06601



3.379   ANDREA HARLEY, INDIVIDUALLY AND ON BEHALF OF ALL          6/5/2019                   Opioid Matter              UNDETERMINED
        OTHERS SIMILARLY SITUATED
        ATTN: BRENDAN J. O'ROURKE                             ACCOUNT NO.:
        ZELDES NEEDLE & COOPER, P.C.                          NOT AVAILABLE
        PO BOX 1740
        BRIDGEPORT, CT 06601



3.380   ANDREA HARLEY, INDIVIDUALLY AND ON BEHALF OF ALL          6/5/2019                   Opioid Matter              UNDETERMINED
        OTHERS SIMILARLY SITUATED
        ATTN: HEATHER SPAIDE                                  ACCOUNT NO.:
        ZELDES NEEDLE & COOPER, P.C.                          NOT AVAILABLE
        PO BOX 1740
        BRIDGEPORT, CT 06601



3.381   ANDREA HARLEY, INDIVIDUALLY AND ON BEHALF OF ALL          6/5/2019                   Opioid Matter              UNDETERMINED
        OTHERS SIMILARLY SITUATED
        101 MAPLE AVENUE                                      ACCOUNT NO.:
        STAMFORD, CT 06902                                    NOT AVAILABLE



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.382   ANDREA HARLEY, INDIVIDUALLY AND ON BEHALF OF ALL          6/5/2019                   Opioid Matter              UNDETERMINED
        OTHERS SIMILARLY SITUATED
        ATTN: HEATHER SPAIDE                                  ACCOUNT NO.:
        ZELDES NEEDLE & COOPER, P.C.                          NOT AVAILABLE
        263 TRESSER BOULEVARD - 14TH FLOOR
        STAMFORD, CT 06901



3.383   ANDREA HARLEY, INDIVIDUALLY AND ON BEHALF OF ALL          6/5/2019                   Opioid Matter              UNDETERMINED
        OTHERS SIMILARLY SITUATED
        ATTN: BRANDON J. O'ROURKE                             ACCOUNT NO.:
        ZELDES NEEDLE & COOPER, P.C.                          NOT AVAILABLE
        263 TRESSER BOULEVARD - 14TH FLOOR
        STAMFORD, CT 06901



3.384   ANDREW G. RILING AND BEVERLY RILING, AS NEXT             10/29/2018                  Opioid Matter              UNDETERMINED
        FRIENDS OF A.P. RILING, A MINOR UNDER THE AGE OF 18
        ATTN: W. STUART CALWELL                               ACCOUNT NO.:
        THE CALWELL PRACTICE                                  NOT AVAILABLE
        P. O. BOX 113
        CHARLESTON, WV 25321-0113



3.385   ANDREW G. RILING AND BEVERLY RILING, AS NEXT             10/29/2018                  Opioid Matter              UNDETERMINED
        FRIENDS OF A.P. RILING, A MINOR UNDER THE AGE OF 18
        ATTN: TIMOTHY P. LUPARDUS                             ACCOUNT NO.:
        LUPARDUS LAW OFFICE                                   NOT AVAILABLE
        P. O. BOX 1680
        PINEVILLE, WV 24874-1680



3.386   ANDREW G. RILING AND BEVERLY RILING, AS NEXT             10/29/2018                  Opioid Matter              UNDETERMINED
        FRIENDS OF A.P. RILING, A MINOR UNDER THE AGE OF 18
        ATTN: R. BOOTH GOODWIN, II                            ACCOUNT NO.:
        GOODWIN & GOODWIN                                     NOT AVAILABLE
        P. O. BOX 2107
        CHARLESTON, WV 25328-2107



3.387   ANDREW G. RILING AND BEVERLY RILING, AS NEXT             10/29/2018                  Opioid Matter              UNDETERMINED
        FRIENDS OF A.P. RILING, A MINOR UNDER THE AGE OF 18
        ATTN: P. RODNEY JACKSON                               ACCOUNT NO.:
        LAW OFFICE OF P. RODNEY JACKSON                       NOT AVAILABLE
        106 CAPITOL STREET
        CHARLESTON, WV 25301



3.388   ANDREW G. RILING AND BEVERLY RILING, AS NEXT             10/29/2018                  Opioid Matter              UNDETERMINED
        FRIENDS OF A.P. RILING, A MINOR UNDER THE AGE OF 18
        ATTN: ALEXANDER D. MCLAUGHLIN                         ACCOUNT NO.:
        CALWELL LUCE DITRAPANO PLLC                           NOT AVAILABLE
        500 RANDOLPH STREET
        CHARLESTON, WV 25321-0113



3.389   ANDREW G. RILING AND BEVERLY RILING, AS NEXT             10/29/2018                  Opioid Matter              UNDETERMINED
        FRIENDS OF A.P. RILING, A MINOR UNDER THE AGE OF 18
        ATTN: BENJAMIN D. ADAMS                               ACCOUNT NO.:
        THE CALWELL PRACTICE                                  NOT AVAILABLE
        LAW AND ARTS CENTER WEST - 500 RANDOLPH STREET
        CHARLESTON, WV 25302




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Code                                                            And Account Number                         Claim

Litigation

3.390   ANDREW G. RILING AND BEVERLY RILING, AS NEXT                        10/29/2018                  Opioid Matter              UNDETERMINED
        FRIENDS OF A.P. RILING, A MINOR UNDER THE AGE OF 18
        ATTN: L. DANTE DITRAPANO                                         ACCOUNT NO.:
        THE CALWELL PRACTICE                                             NOT AVAILABLE
        LAW AND ARTS CENTER WEST - 500 RANDOLPH STREET
        CHARLESTON, WV 25302



3.391   ANDREW G. RILING AND BEVERLY RILING, INDIVIDUALLY                  UNKNOWN                      Opioid Matter              UNDETERMINED
        AND AS THE NEXT FRIEND OF A.P. RILING
        ATTN: TIMOTHY P. LUPARDUS, ESQ.                                  ACCOUNT NO.:
        LUPARDUS LAW OFFICE                                              NOT AVAILABLE
        ROUTE 97 TWIN FALLS ROAD
        PINEVILLE, WV 24874



3.392   ANDREW G. RILING AND BEVERLY RILING, INDIVIDUALLY                  UNKNOWN                      Opioid Matter              UNDETERMINED
        AND AS THE NEXT FRIEND OF A.P. RILING
        ATTN: P. RODNEY JACKSON, ESQ.                                    ACCOUNT NO.:
        LAW OFFICES OF P. RODNEY JACKSON                                 NOT AVAILABLE
        106 CAPITOL STREET
        CHARLESTON, WV 25301



3.393   Andrew G. Riling and Beverly Riling, individually and as the       UNKNOWN                      Opioid Matter              UNDETERMINED
        next friend of A.P. Riling
        Attn: W. Stuart Calwell, Jr., Esq., L. Dante diTrapano, Esq.,    ACCOUNT NO.:
        Alex McLaughlin, Esq., Benjamin D. Adams, Esq.                   NOT AVAILABLE
        Calwell Luce diTrapano, PLLC
        500 Randolph St.
        Charleston, WV 25302



3.394   ANDREW G. RILING AND BEVERLY RILING, INDIVIDUALLY                  UNKNOWN                      Opioid Matter              UNDETERMINED
        AND AS THE NEXT FRIEND OF A.P. RILING
        ATTN: R. BOOTH GOODWIN II, ESQ.                                  ACCOUNT NO.:
        GOODWIN & GOODWIN, LLP                                           NOT AVAILABLE
        300 SUMMERS STREET, STE. 1500
        CHARLESTON, WV 25301



3.395   ANDROSCOGGIN COUNTY                                                 11/21/2018                  Opioid Matter              UNDETERMINED
        ATTN: COUNTY COMMISSIONER AND TREASURER
        2 TURNER STREET                                                  ACCOUNT NO.:
        AUBURN, ME 04210                                                 NOT AVAILABLE



3.396   ANDROSCOGGIN COUNTY                                                 11/21/2018                  Opioid Matter              UNDETERMINED
        ATTN: COUNTY COMMISSIONER AND TREASURER
        2 TURNER STREET                                                  ACCOUNT NO.:
        AUBURN, ME 04210                                                 NOT AVAILABLE



3.397   ANDY BROWN, IN HIS CAPACITY AS THE SHERIFF FOR                       8/6/2018                   Opioid Matter              UNDETERMINED
        JACKSON PARISH
        ATTN: JACKSON PARISH SHERIFF                                     ACCOUNT NO.:
        500 EAST COURT STREET                                            NOT AVAILABLE
        ROOM 100
        JONESBORO, LA 71251




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Code                                                 And Account Number                         Claim

Litigation

3.398   ANGEL BOLTON AND CHRISTOPHER BOLTON, AS                   4/6/2018                   Opioid Matter              UNDETERMINED
        SURVIVING CHILDREN OF KEVI BOLTON, DECEASED
        ATTN: JAMES W. SHIPLEY                                ACCOUNT NO.:
        TATE LAW GROUP                                        NOT AVAILABLE
        2 EAST BRYAN STREET - SUITE 600
        SAVANNAH, GA 31401



3.399   ANGEL BOLTON AND CHRISTOPHER BOLTON, AS                   4/6/2018                   Opioid Matter              UNDETERMINED
        SURVIVING CHILDREN OF KEVI BOLTON, DECEASED
        ATTN: STEVEN E. SCHEER                                ACCOUNT NO.:
        SCHEER, MONTGOMERY & CALL, P.C.                       NOT AVAILABLE
        8 EAST LIBERTY STREET
        SAVANNAH, GA 31401



3.400   ANGEL BOLTON AND CHRISTOPHER BOLTON, AS                   4/6/2018                   Opioid Matter              UNDETERMINED
        SURVIVING CHILDREN OF KEVI BOLTON, DECEASED
        ATTN: MARK A. TATE                                    ACCOUNT NO.:
        TATE LAW GROUP                                        NOT AVAILABLE
        2 EAST BRYAN STREET - SUITE 600
        SAVANNAH, GA 31401



3.401   ANGEL BOLTON AND CHRISTOPHER BOLTON, AS                   4/6/2018                   Opioid Matter              UNDETERMINED
        SURVIVING CHILDREN OF KEVI BOLTON, DECEASED
        ATTN: CRAIG ALAN CALL                                 ACCOUNT NO.:
        SCHEER, MONTGOMERY & CALL, PC                         NOT AVAILABLE
        8 EAST LIBERTY STREET
        SAVANNAH, GA 31401



3.402   ANGEL BOLTON AND CHRISTOPHER BOLTON, AS                  12/7/2018                   Opioid Matter              UNDETERMINED
        SURVIVING CHILDREN OF KEVIN BOLTON, DECEASED
        ATTN: JAMES W. SHIPLEY                                ACCOUNT NO.:
        TATE LAW GROUP, LLC                                   NOT AVAILABLE
        2 EAST BRYAN STREET
        SAVANNAH, GA 31401



3.403   ANGEL BOLTON AND CHRISTOPHER BOLTON, AS                  12/7/2018                   Opioid Matter              UNDETERMINED
        SURVIVING CHILDREN OF KEVIN BOLTON, DECEASED
        ATTN: MARK A. TATE                                    ACCOUNT NO.:
        TATE LAW GROUP, LLC                                   NOT AVAILABLE
        2 EAST BRYAN STREET - SUITE 600
        SAVANNAH, GA 31401



3.404   ANGEL BOLTON AND CHRISTOPHER BOLTON, AS                  12/7/2018                   Opioid Matter              UNDETERMINED
        SURVIVING CHILDREN OF KEVIN BOLTON, DECEASED
        ATTN: STEVEN E. SCHEER, ESQ.                          ACCOUNT NO.:
        SCHEER, MONTGOMERY & CALL, P.C.                       NOT AVAILABLE
        8 EAST LIBERTY STREET
        SAVANNAH, GA 03101-0000



3.405   ANGEL BOLTON AND CHRISTOPHER BOLTON, AS                  12/7/2018                   Opioid Matter              UNDETERMINED
        SURVIVING CHILDREN OF KEVIN BOLTON, DECEASED
        ATTN: CRAIG ALAN CALL                                 ACCOUNT NO.:
        SCHEER, MONTGOMERY & CALL, PC                         NOT AVAILABLE
        8 EAST LIBERTY STREET
        SAVANNAH, GA 31401




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip                Date Claim Was Incurred     C U     D    Basis For      Offset   Amount of Claim
Code                                                           And Account Number                        Claim

Litigation

3.406   ANGELA CHERRY, INDIVIDUALLY AND AS NEXT FRIEND                     6/16/2019                  Opioid Matter              UNDETERMINED
        AND GUARDIAN OF BABY Z.C.T., ON BEHALF OF
        THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
        ATTN: SCOTT R. BICKFORD                                          NOT AVAILABLE
        MARTZELL, BICKFORD & CENTOLA
        338 LAFAYETTE STREET
        NEW ORLEANS, LA 70130



3.407   ANGELA CHERRY, INDIVIDUALLY AND AS NEXT FRIEND                     6/16/2019                  Opioid Matter              UNDETERMINED
        AND GUARDIAN OF BABY Z.C.T., ON BEHALF OF
        THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
        ATTN: KENT HARRISON ROBBINS                                      NOT AVAILABLE
        THE LAW OFFICE OF KENT HARRISON ROBBINS, P.A.
        242 NORTHEAST 27TH STREET
        MIAMI, FL 33137



3.408   ANGELA CHERRY, INDIVIDUALLY AND AS NEXT FRIEND                     6/16/2019                  Opioid Matter              UNDETERMINED
        AND GUARDIAN OF BABY Z.C.T., ON BEHALF OF
        THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
        ATTN: SPENCER R. DOODY                                           NOT AVAILABLE
        MARTZELL, BICKFORD & CENTOLA
        338 LAFAYETTE STREET
        NEW ORLEANS, LA 70130



3.409   ANGELA CHERRY, INDIVIDUALLY AND AS NEXT FRIEND                     6/16/2019                  Opioid Matter              UNDETERMINED
        AND GUARDIAN OF BABY Z.C.T., ON BEHALF OF
        THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
        ATTN: STEPHEN WUSSOW                                             NOT AVAILABLE
        COOPER LAW FIRM
        1525 RELIGIOUS STREET
        NEW ORLEANS, LA 70130



3.410   ANGELA CHERRY, INDIVIDUALLY AND AS NEXT FRIEND                     6/16/2019                  Opioid Matter              UNDETERMINED
        AND GUARDIAN OF BABY Z.C.T., ON BEHALF OF
        THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
        ATTN: CELESTE BRUSTOWICZ, STEPHEN H. WUSSOW                      NOT AVAILABLE
        COOPER LAW FIRM, LLC
        1525 RELIGIOUS STREET
        NEW ORLEANS, LA 70130



3.411   ANGELA CHERRY, INDIVIDUALLY AND AS NEXT FRIEND                     6/16/2019                  Opioid Matter              UNDETERMINED
        AND GUARDIAN OF BABY Z.C.T., ON BEHALF OF
        THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
        ATTN: DAVID R. BARNEY, JR.                                       NOT AVAILABLE
        THOMPSON BARNEY LAW FIRM
        2030 KANAWHA BOULEVARD, EAST
        CHARLESTON, WV 25311



3.412   Angela Cherry, individually and as next friend and guardian of     6/16/2019                  Opioid Matter              UNDETERMINED
        Baby Z.C.T., on behalf of themselves and all others similarly
        situated                                                         ACCOUNT NO.:
        Attn: Kevin W. Thompson, David R. Barney, Jr.                    NOT AVAILABLE
        Thompson Barney Law Firm
        2030 Kanawha Boulevard, East
        Charleston, WV 25311




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.413   ANGELA CHERRY, INDIVIDUALLY AND AS NEXT FRIEND           6/16/2019                   Opioid Matter              UNDETERMINED
        AND GUARDIAN OF BABY Z.C.T., ON BEHALF OF
        THEMSELVES AND ALL OTHERS SIMILARLY SITUATED          ACCOUNT NO.:
        ATTN: DONALD E. CREADORE                              NOT AVAILABLE
        CREADOR LAW FIRM
        450 SEVENTH AVENUE - SUITE 1408
        NEW YORK, NY 10123



3.414   ANNE ARUNDEL COUNTY                                       1/3/2018                   Opioid Matter              UNDETERMINED
        GREGORY JOSEPH SWAIN
        GREGORY JOSEPH SWAIN OFFICE OF LAW                    ACCOUNT NO.:
        2660 RIVA ROAD - 4TH FLOOR                            NOT AVAILABLE
        ANNAPOLIS, MD 21401



3.415   ANNE ARUNDEL COUNTY                                       1/3/2018                   Opioid Matter              UNDETERMINED
        SUSAN LAURA BURKE
        MOTLEY RICE LLC                                       ACCOUNT NO.:
        401 9TH STREET NORTHWEST - SUITE 1001                 NOT AVAILABLE
        WASHINGTON, DC 20004



3.416   ANNE ARUNDEL COUNTY                                       1/3/2018                   Opioid Matter              UNDETERMINED
        NANCY MCCUTCHAN DUDEN
        NANCY MCCUTCHAN DUDEN                                 ACCOUNT NO.:
        1517 RITCHIE HIGHWAY - SUITE 201                      NOT AVAILABLE
        ARNOLD, MD 21401



3.417   ANNE ARUNDEL COUNTY                                       1/3/2018                   Opioid Matter              UNDETERMINED
        LINDA SINGER
        MOTLEY RICE LLC                                       ACCOUNT NO.:
        401 9TH STREET NORTHWEST - SUITE 1001                 NOT AVAILABLE
        WASHINGTON, DC 20004



3.418   ANNE ARUNDEL COUNTY                                       1/3/2018                   Opioid Matter              UNDETERMINED
        JEFFREY CHARLES NELSON
        MOTLEY RICE LLC                                       ACCOUNT NO.:
        401 9TH STREET NORTHWEST - SUITE 1001                 NOT AVAILABLE
        WASHINGTON, DC 20004



3.419   ANNE ARUNDEL COUNTY                                       1/3/2018                   Opioid Matter              UNDETERMINED
        HAMILTON FISK TYLER
        HAMILTON FISK TYLER OFFICE OF LAW                     ACCOUNT NO.:
        2660 RIVA ROAD - 4TH FLOOR                            NOT AVAILABLE
        ANNAPOLIS, MD 21401



3.420   ANNE ARUNDEL COUNTY                                       1/3/2018                   Opioid Matter              UNDETERMINED
        ELIZABETH SMITH
        MOTLEY RICE LLC                                       ACCOUNT NO.:
        401 9TH STREET NORTHWEST - SUITE 1001                 NOT AVAILABLE
        WASHINGTON, DC 20004



3.421   ANNE ARUNDEL COUNTY, MARYLAND                             1/3/2018                   Opioid Matter              UNDETERMINED
        ATTN: COUNTY ATTORNEY
        2660 RIVA ROAD                                        ACCOUNT NO.:
        4TH FLOOR                                             NOT AVAILABLE
        ANNAPOLIS, MD 21401


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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.422   ANSON COUNTY                                             12/6/2018                   Opioid Matter              UNDETERMINED
        ATTN: COUNTY MANAGER
        101 SOUTH GREENE STREET                               ACCOUNT NO.:
        WADESBORO, NC 28170                                   NOT AVAILABLE



3.423   ANSON COUNTY                                             12/6/2018                   Opioid Matter              UNDETERMINED
        101 S. GREENE ST.
        SUITE 205                                             ACCOUNT NO.:
        WADESBORO, NC 28170                                   NOT AVAILABLE



3.424   APACHE TRIBE OF OKLAHOMA                                 7/26/2019                   Opioid Matter              UNDETERMINED
        ATTN: TRIBAL CHAIRMAN OF THE APACHE TRIBE, TRIBAL
        ADMINISTRATOR                                         ACCOUNT NO.:
        511 E. COLORADO ST                                    NOT AVAILABLE
        ANADARKO, OK 73005



3.425   APACHE TRIBE OF OKLAHOMA                                 7/26/2019                   Opioid Matter              UNDETERMINED
        ATTN: TRIBAL CHAIRMAN OF THE APACHE TRIBE
        P.O BOX 1330                                          ACCOUNT NO.:
        ANADARKO, OK 73005                                    NOT AVAILABLE



3.426   APACHE TRIBE OF OKLAHOMA                                 7/26/2019                   Opioid Matter              UNDETERMINED
        CURTIS "MUSKRAT" BRUEHL
        THE BRUEHL LAW FIRM, PLLC                             ACCOUNT NO.:
        14005 NORTH EASTERN AVENUE                            NOT AVAILABLE
        EDMOND, OK 73013



3.427   APACHE TRIBE OF OKLAHOMA                                 7/26/2019                   Opioid Matter              UNDETERMINED
        MATTHEW J. SILL
        FULMER SILL LAW GROUP                                 ACCOUNT NO.:
        P.O. BOX 2448 - 1101 NORTH BROADWAY AVENUE,           NOT AVAILABLE
        SUITE 102
        OKLAHOMA CITY, OK 73103



3.428   APACHE TRIBE OF OKLAHOMA                                 7/26/2019                   Opioid Matter              UNDETERMINED
        HARRISON C. LUJAN
        FULMER SILL LAW GROUP                                 ACCOUNT NO.:
        P.O. BOX 2448 - 1101 NORTH BROADWAY AVENUE, SUITE     NOT AVAILABLE
        102
        OKLAHOMA CITY, OK 73103



3.429   APACHE TRIBE OF OKLAHOMA                                 7/26/2019                   Opioid Matter              UNDETERMINED
        DANIEL M. DELLUOMO
        DELLUOMO & CROW                                       ACCOUNT NO.:
        6812 NORTH ROBINSON AVENUE                            NOT AVAILABLE
        OKLAHOMA CITY, OK 73116



3.430   APACHE TRIBE OF OKLAHOMA                                 7/26/2019                   Opioid Matter              UNDETERMINED
        STEVEN W. CROW
        DELLUOMO & CROW                                       ACCOUNT NO.:
        6812 NORTH ROBINSON AVENUE                            NOT AVAILABLE
        OKLAHOMA CITY, OK 73116




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Code                                                 And Account Number                         Claim

Litigation

3.431   APOLLOMD BUSINESS SERVICES, LLC, A GEORGIA                3/8/2018                   Opioid Matter              UNDETERMINED
        LIMITED LIABILITY COMPANY
        ATTN: MANAGING MEMBER; CHIEF OFFICER; PRESIDENT       ACCOUNT NO.:
        5665 NEW NORTHSIDE DRIVE                              NOT AVAILABLE
        SUITE 200
        ATLANTA, GA 30328



3.432   APOLLOMD BUSINESS SERVICES, LLC, A GEORGIA                3/8/2018                   Opioid Matter              UNDETERMINED
        LIMITED LIABILITY COMPANY
        ATTN: SECRETARY OF STATE: SUBSTITUTED SERVICE         ACCOUNT NO.:
        2 MARTIN LUTHER KING JR. DRIVE                        NOT AVAILABLE
        WEST TOWER SUITE 313
        ATLANTA, GA 30334-1530



3.433   APOLLOMD BUSINESS SERVICES, LLC, A GEORGIA                3/8/2018                   Opioid Matter              UNDETERMINED
        LIMITED LIABILITY COMPANY
        ATTN: REGISTERED AGENT                                ACCOUNT NO.:
        CSC OF COBB COUNTY, INC.                              NOT AVAILABLE
        192 ANDERSON STREET SOUTHEAST - SUITE 125
        MARIETTA, GA 30060



3.434   APPALACHIAN REGIONAL HEALTHCARE, INC.                    4/29/2019                   Opioid Matter              UNDETERMINED
        ATTN: PRESIDENT AND CEO
        P.O. BOX 8086                                         ACCOUNT NO.:
        LEXINGTON, KY 40533                                   NOT AVAILABLE



3.435   APPALACHIAN REGIONAL HEALTHCARE, INC.                    4/29/2019                   Opioid Matter              UNDETERMINED
        ATTN: PRESIDENT AND CEO
        306 STANAFORD ROAD                                    ACCOUNT NO.:
        BECKLEY, WV 25801                                     NOT AVAILABLE



3.436   APPALACHIAN REGIONAL HEALTHCARE, INC.                    4/29/2019                   Opioid Matter              UNDETERMINED
        ATTN: PRESIDENT AND CEO
        100 AIRPORT GARDENS RD                                ACCOUNT NO.:
        SUITE 306 - ARH SYSTEM CENTER-HAZARD                  NOT AVAILABLE
        HAZARD, KY 41701



3.437   APPALACHIAN REGIONAL HEALTHCARE, INC.                    4/29/2019                   Opioid Matter              UNDETERMINED
        ATTN: PRESIDENT AND CEO
        100 MEDICAL CENTER DRIVE                              ACCOUNT NO.:
        HAZARD, KY 41701                                      NOT AVAILABLE



3.438   APPALACHIAN REGIONAL HEALTHCARE, INC.                    4/29/2019                   Opioid Matter              UNDETERMINED
        ATTN: REGISTERED AGENT
        RICK KING                                             ACCOUNT NO.:
        ARH SYSTEM CENTER-HAZARD - 101 AIRPORT GARDENS        NOT AVAILABLE
        ROAD, SUITE 306
        HAZARD, KY 41701



3.439   APPALACHIAN REGIONAL HEALTHCARE, INC.                    4/29/2019                   Opioid Matter              UNDETERMINED
        ATTN: SECRETARY OF STATE
        KENTUCKY SECRETARY OF STATE                           ACCOUNT NO.:
        700 CAPITAL AVE - STE. 152                            NOT AVAILABLE
        FRANKFORT, KY 40601



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.440   APPALACHIAN REGIONAL HEALTHCARE, INC.                    12/3/2018                   Opioid Matter              UNDETERMINED
        ATTN: CHAIRMAN, VICE PRESIDENTS AND DIRECTORS
        ARH SYSTEMS CENTER                                    ACCOUNT NO.:
        P.O. BOX 8086                                         NOT AVAILABLE
        LEXINGTON, KY 40533



3.441   APPALACHIAN REGIONAL HEALTHCARE, INC.                    12/3/2018                   Opioid Matter              UNDETERMINED
        ATTN: REGISTERED AGENT
        RICK KING                                             ACCOUNT NO.:
        ARH SYSTEM-HAZARD - 101 AIRPORT GARDENS ROAD,         NOT AVAILABLE
        SUITE 306
        HAZARD, KY 41701



3.442   APPALACHIAN REGIONAL HEALTHCARE, INC.                    12/3/2018                   Opioid Matter              UNDETERMINED
        ATTN: CHAIRMAN, VICE PRESIDENTS AND DIRECTORS
        2260 EXECUTIVE DRIVE                                  ACCOUNT NO.:
        LEXINGTON, KY 40505                                   NOT AVAILABLE



3.443   APRIL BERZINSKI, INDIVIDUALLY AND AS NEXT FRIEND         6/17/2019                   Opioid Matter              UNDETERMINED
        AND GUARDIAN OF BABY A.Z.
        ATTN: CELESTE BRUSTOWICZ                              ACCOUNT NO.:
        COOPER LAW FIRM, LLC                                  NOT AVAILABLE
        1525 RELIGIOUS STREET
        NEW ORLEANS, LA 70130



3.444   ARAB, AL                                                  2/8/2018                   Opioid Matter              UNDETERMINED
        ATTN: MAYOR AND CITY CLERK
        740 NORTH MAIN STREET                                 ACCOUNT NO.:
        ARAB, AL 35016                                        NOT AVAILABLE



3.445   ARAB, AL                                                  2/8/2018                   Opioid Matter              UNDETERMINED
        ATTN: STEVE MARSHALL
        STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
        501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
        MONTGOMERY, AL 36130-0152



3.446   ARACYA JOHNSON, INDIVIDUALLY AND AS NEXT FRIEND          6/18/2019                   Opioid Matter              UNDETERMINED
        AND GUARDIAN OF BABY R.H.
        ATTN: KENT HARRISON ROBBINS                           ACCOUNT NO.:
        THE LAW OFFICE OF KENT HARRISON ROBBINS, P.A.         NOT AVAILABLE
        242 NORTHEAST 27TH STREET
        MIAMI, FL 33137



3.447   ARACYA JOHNSON, INDIVIDUALLY AND AS NEXT FRIEND          6/18/2019                   Opioid Matter              UNDETERMINED
        AND GUARDIAN OF BABY R.H.
        ATTN: SCOTT R. BICKFORD                               ACCOUNT NO.:
        MARTZELL, BICKFORD & CENTOLA                          NOT AVAILABLE
        338 LAFAYETTE STREET
        NEW ORLEANS, LA 70130




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Code                                                 And Account Number                         Claim

Litigation

3.448   ARACYA JOHNSON, INDIVIDUALLY AND AS NEXT FRIEND          6/18/2019                   Opioid Matter              UNDETERMINED
        AND GUARDIAN OF BABY R.H.
        ATTN: CELESTE BRUSTOWICZ, STEPHEN H. WUSSOW           ACCOUNT NO.:
        COOPER LAW FIRM, LLC                                  NOT AVAILABLE
        1525 RELIGIOUS STREET
        NEW ORLEANS, LA 70130



3.449   ARACYA JOHNSON, INDIVIDUALLY AND AS NEXT FRIEND          6/18/2019                   Opioid Matter              UNDETERMINED
        AND GUARDIAN OF BABY R.H.
        ATTN: KENT HARRISON ROBBINS                           ACCOUNT NO.:
        THE LAW OFFICES OF KENT HARRISON ROBBINS, P.A.        NOT AVAILABLE
        242 NORTHEAST 27TH STREET
        MIAMI, FL 33137



3.450   ARACYA JOHNSON, INDIVIDUALLY AND AS NEXT FRIEND          6/18/2019                   Opioid Matter              UNDETERMINED
        AND GUARDIAN OF BABY R.H.
        ATTN: STEPHEN WUSSOW                                  ACCOUNT NO.:
        COOPER LAW FIRM                                       NOT AVAILABLE
        1525 RELIGIOUS STREET
        NEW ORLEANS, LA 70130



3.451   ARACYA JOHNSON, INDIVIDUALLY AND AS NEXT FRIEND          6/18/2019                   Opioid Matter              UNDETERMINED
        AND GUARDIAN OF BABY R.H.
        ATTN: SCOTT R. BICKFORD                               ACCOUNT NO.:
        MARTZELL, BICKFORD & CENTOLA                          NOT AVAILABLE
        338 LAFAYETTE STREET
        NEW ORLEANS, LA 70130



3.452   ARACYA JOHNSON, INDIVIDUALLY AND AS NEXT FRIEND          6/18/2019                   Opioid Matter              UNDETERMINED
        AND GUARDIAN OF BABY R.H.
        ATTN: DONALD E. CREADORE                              ACCOUNT NO.:
        CREADORE LAW FIRM                                     NOT AVAILABLE
        450 SEVENTH AVENUE, SUITE 1408
        NEW YORK, NY 10123



3.453   ARACYA JOHNSON, INDIVIDUALLY AND AS NEXT FRIEND          6/18/2019                   Opioid Matter              UNDETERMINED
        AND GUARDIAN OF BABY R.H.
        ATTN: KEVIN W. THOMPSON, DAVID R. BARNEY, JR.         ACCOUNT NO.:
        THOMPSON BARNEY LAW FIRM                              NOT AVAILABLE
        2030 KANAWHA BOULEVARD, EAST
        CHARLESTON, WV 25311



3.454   ARACYA JOHNSON, INDIVIDUALLY AND AS NEXT FRIEND          6/18/2019                   Opioid Matter              UNDETERMINED
        AND GUARDIAN OF BABY R.H.
        ATTN: SPENCER R. DOODY                                ACCOUNT NO.:
        MARTZELL, BICKFORD & CENTOLA                          NOT AVAILABLE
        338 LAFAYETTE STREET
        NEW ORLEANS, LA 70130



3.455   ARACYA JOHNSON, INDIVIDUALLY AND AS NEXT FRIEND          6/18/2019                   Opioid Matter              UNDETERMINED
        AND GUARDIAN OF BABY R.H.
        ATTN: DONALD E. CREADORE                              ACCOUNT NO.:
        CREADOR LAW FIRM                                      NOT AVAILABLE
        450 SEVENTH AVENUE - SUITE 1408
        NEW YORK, NY 10123




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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred     C U     D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                        Claim

Litigation

3.456   ARACYA JOHNSON, INDIVIDUALLY AND AS NEXT FRIEND          6/18/2019                   Opioid Matter              UNDETERMINED
        AND GUARDIAN OF BABY R.H.
        ATTN: DAVID R. BARNEY, JR.                            ACCOUNT NO.:
        THOMPSON BARNEY LAW FIRM                              NOT AVAILABLE
        2030 KANAWHA BOULEVARD, EAST
        CHARLESTON, WV 25311



3.457   ARACYA JOHNSON, INDIVIDUALLY AND AS NEXT FRIEND          6/18/2019                   Opioid Matter              UNDETERMINED
        AND GUARDIAN OF BABY R.H.
        ATTN: KEVIN W. THOMPSON                               ACCOUNT NO.:
        THOMPSON BARNEY LAW FIRM                              NOT AVAILABLE
        2030 KANAWHA BOULEVARD, EAST
        CHARLESTON,, WV 25311



3.458   ARH TUG VALLEY HEALTH SERVICES, INC. F/K/A               8/17/2018                   Opioid Matter              UNDETERMINED
        HIGHLANDS HOSPITAL CORPORATION
        ATTN: CEO, PARTNER, OR MANAGER                        ACCOUNT NO.:
        2260 EXECUTIVE DRIVE                                  NOT AVAILABLE
        SUITE 400
        LEXINGTON, KY 40505



3.459   ARH TUG VALLEY HEALTH SERVICES, INC. F/K/A               8/17/2018                   Opioid Matter              UNDETERMINED
        HIGHLANDS HOSPITAL CORPORATION
        ATTN: CEO, PARTNER, OR MANAGER                        ACCOUNT NO.:
        260 HOSPITAL DRIVE                                    NOT AVAILABLE
        SOUTH WILLIAMSON, KY 41503



3.460   ARH TUG VALLEY HEALTH SERVICES, INC. F/K/A               8/17/2018                   Opioid Matter              UNDETERMINED
        HIGHLANDS HOSPITAL CORPORATION
        ATTN: REGISTERED AGENT                                ACCOUNT NO.:
        101 AIRPORT GARDENS ROAD                              NOT AVAILABLE
        SUITE 305
        HAZARD, KY 41701



3.461   ARIZONA COUNTIES INSURANCE POOL                          5/10/2018                   Opioid Matter              UNDETERMINED
        ATTN: THE CHAIRMAN OF THE BOARD OF TRUSTEES
        AND OFFICERS AND TRUSTEES                             ACCOUNT NO.:
        1905 WEST WASHINGTON STREET                           NOT AVAILABLE
        SUITE 200
        PHOENIX, AZ 85009



3.462   ARIZONA DEPARTMENT OF TRANSPORTATION                     3/20/2019                    Automobile                UNDETERMINED
        NOT AVAILABLE
                                                              ACCOUNT NO.:
                                                              AB94936001401


3.463   ARIZONA MUNICIPAL RISK RETENTION POOL                     2/1/2018                   Opioid Matter              UNDETERMINED
        ATTN: THE BOARD PRESIDENT
        14902 NORTH 73RD STREET                               ACCOUNT NO.:
        SCOTTSDALE, AR 85260                                  NOT AVAILABLE



3.464   ARIZONA MUNICIPAL RISK RETENTION POOL                     2/1/2018                   Opioid Matter              UNDETERMINED
        ATTN: REGISTERED AGENT
        3101 NORTH CENTRAL AVENUE                             ACCOUNT NO.:
        SUITE 870                                             NOT AVAILABLE
        PHOENIX, AZ 85012


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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.465   ARIZONA SPINE AND JOINT HOSPITAL LLC                     6/18/2019                   Opioid Matter              UNDETERMINED
        ATTN: SECRETARY OF STATE
        1700 WEST WASHINGTON STREET                           ACCOUNT NO.:
        FLOOR 7                                               NOT AVAILABLE
        PHOENIX, AZ 85007



3.466   ARIZONA SPINE AND JOINT HOSPITAL LLC                     6/18/2019                   Opioid Matter              UNDETERMINED
        ATTN: CHAIRMAN OF THE GOVERNING BOARD, CHIEF
        EXECUTIVE OFFICER                                     ACCOUNT NO.:
        4620 EAST BASELINE ROAD                               NOT AVAILABLE
        MESA, AZ 85206



3.467   ARIZONA SPINE AND JOINT HOSPITAL LLC                     6/18/2019                   Opioid Matter              UNDETERMINED
        ATTN: CHIEF FINANCIAL OFFICER
        4620 EAST BASELINE ROAD                               ACCOUNT NO.:
        MESA, AZ 85206                                        NOT AVAILABLE



3.468   ARIZONA SPINE AND JOINT HOSPITAL LLC                     6/18/2019                   Opioid Matter              UNDETERMINED
        ATTN: REGISTERED AGENT
        8825 NORTH 23RD AVENUE                                ACCOUNT NO.:
        SUITE 100                                             NOT AVAILABLE
        PHOENIX, AZ 85021



3.469   ARMC, L.P. D/B/A ABILENE REGIONAL MEDICAL CENTER        UNKNOWN                      Opioid Matter              UNDETERMINED
        ATTN: REGISTERED AGENT AND CHAIR OF THE BOARD
        2101 PEASE STREET                                     ACCOUNT NO.:
        HARLINGEN, TX 78550                                   NOT AVAILABLE



3.470   ARMSTRONG COUNTY, PA                                     11/9/2017                   Opioid Matter              UNDETERMINED
        ATTN: CHAIRMAN OF COMMISSIONERS, CHIEF CLERK
        COURTHOUSE ADMINISTRATION BUILDING                    ACCOUNT NO.:
        450 EAST MARKET STREET, SUITE 200                     NOT AVAILABLE
        KITTANNING, PA 16201



3.471   AROOSTOOK BAND OF MICMACS                                5/28/2019                   Opioid Matter              UNDETERMINED
        ATTN: TRIBAL CHIEF, TRIBAL
        CEO/ADMINISTRATOR,CLERK AND COUNCIL CHAIRMAN          ACCOUNT NO.:
        THE AROOSTOOK BAND OF MICMACS CULTURAL                NOT AVAILABLE
        COMMUNITY EDUCATION CENTER
        7 NORTHERN RD.
        PRESQUE ISLE, ME 04736



3.472   AROOSTOOK COUNTY                                         11/21/2018                  Opioid Matter              UNDETERMINED
        ATTN: COUNTY COMMISSIONER AND COUNTY
        TREASURER                                             ACCOUNT NO.:
        144 SWEDEN STREET, SUITE 1                            NOT AVAILABLE
        CARIBOU, ME 04736



3.473   AROOSTOOK COUNTY                                         11/21/2018                  Opioid Matter              UNDETERMINED
        ATTN: COUNTY COMMISSIONER AND COUNTY
        TREASURER                                             ACCOUNT NO.:
        144 SWEDEN STREET, SUITE 1                            NOT AVAILABLE
        CARIBOU, ME 04736




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.474   ASA’ CARSAMIUT TRIBE                                     11/16/2018                  Opioid Matter              UNDETERMINED
        ATTN: CHAIRPERSON & CHIEF EXECUTIVE OFFICER
        PO BOX 32249                                          ACCOUNT NO.:
        MOUNTAIN VILLAGE, AK 99632-0249                       NOT AVAILABLE



3.475   ASA’ CARSAMIUT TRIBE                                     11/16/2018                  Opioid Matter              UNDETERMINED
        ATTN: CHAIRPERSON & CHIEF EXECUTIVE OFFICER
        OFFICE #1 OLD AIRPORT ROAD                            ACCOUNT NO.:
        MOUNTAIN VILLAGE, AK 99632                            NOT AVAILABLE



3.476   ASBESTOS WORKERS LOCAL 6 HEALTH AND WELFARE              4/24/2018                   Opioid Matter              UNDETERMINED
        FUND
        ATTN: ASBESTOS WORKERS LOCAL 6 PRESIDENT AND          ACCOUNT NO.:
        BUSINESS MANAGER                                      NOT AVAILABLE
        303 FREEPORT STREET
        DORCHESTER, MA 02122



3.477   ASBESTOS WORKERS LOCAL 6 HEALTH AND WELFARE              4/24/2018                   Opioid Matter              UNDETERMINED
        FUND
        ATTN: ASBESTOS WORKERS LOCAL 6 PRESIDENT AND          ACCOUNT NO.:
        BUSINESS MANAGER                                      NOT AVAILABLE
        750 DORCHESTER AVENUE
        SUITE 2101
        BOSTON, MA 02125



3.478   ASCENSION PARISH GOVERNMENT                              11/13/2018                  Opioid Matter              UNDETERMINED
        ATTN: PARISH PRESIDENT OF ASCENSION PARISH
        GOVERNMENT                                            ACCOUNT NO.:
        615 EAST WORTHEY ROAD                                 NOT AVAILABLE
        GONZALES, LA 70737



3.479   ASCENSION PARISH GOVERNMENT                              11/13/2018                  Opioid Matter              UNDETERMINED
        ATTN: PARISH PRESIDENT OF ASCENSION PARISH
        GOVERNMENT                                            ACCOUNT NO.:
        300 HOUMAS STREET                                     NOT AVAILABLE
        DONALDSONVILLE, LA 70346



3.480   ASHE COUNTY                                              10/12/2018                  Opioid Matter              UNDETERMINED
        ATTN: COUNTY MANAGER AND CHAIRMAN OF THE
        BOARD OF COMMISSIONERS                                ACCOUNT NO.:
        150 GOVERNMENT CIRCLE                                 NOT AVAILABLE
        SUITE 2500
        JEFFERSON, NC 28640



3.481   ASHLAND COUNTY                                           11/28/2017                  Opioid Matter              UNDETERMINED
        ATTN: COUNTY BOARD CHAIR AND COUNTY CLERK
        511 LINCOLN STREET                                    ACCOUNT NO.:
        P.O. BOX 603                                          NOT AVAILABLE
        MELLEN, WI 54546



3.482   ASHLAND COUNTY                                           11/28/2017                  Opioid Matter              UNDETERMINED
        ATTN: COUNTY BOARD CHAIR AND COUNTY CLERK
        ASHLAND COUNTY COURTHOUSE                             ACCOUNT NO.:
        201 MAIN STREET WEST - ROOM 202                       NOT AVAILABLE
        ASHLAND, WI 54806


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Code                                                 And Account Number                         Claim

Litigation

3.483   ASHLAND COUNTY BOARD OF COUNTY COMMISSIONERS             12/8/2017                   Opioid Matter              UNDETERMINED
        ATTN: BOARD OF COUNTY COMMISSIONERS
        110 COTTAGE STREET                                    ACCOUNT NO.:
        ASHLAND, OH 44805                                     NOT AVAILABLE



3.484   ASSOC. OF ARK. COUNTIES                                  12/14/2017                  Opioid Matter              UNDETERMINED
        ATTN: REGISTERED AGENT
        124 WEST CAPITOL AVENUE                               ACCOUNT NO.:
        SUITE 1900                                            NOT AVAILABLE
        LITTLE ROCK, AR 72201



3.485   ASSOC. OF ARK. COUNTIES                                  12/14/2017                  Opioid Matter              UNDETERMINED
        ATTN: EXECUTIVE DIRECTOR AND CHIEF LEGAL
        COUNSEL                                               ACCOUNT NO.:
        1415 WEST THIRD STREET                                NOT AVAILABLE
        LITTLE ROCK, AR 72201



3.486   ASSOC. OF ARK. COUNTIES RISK MGMT. FUND                  12/14/2017                  Opioid Matter              UNDETERMINED
        ATTN: RISK MANAGEMENT DIRECTOR AND RMF
        GENERAL COUNSEL AND OFFICERS AND AGENTS               ACCOUNT NO.:
        1415 WEST THIRD STREET                                NOT AVAILABLE
        LITTLE ROCK, AR 72201



3.487   ASSOC. OF ARK. COUNTIES WC TRUST                         12/14/2017                  Opioid Matter              UNDETERMINED
        ATTN: RISK MANAGEMENT DIRECTOR AND
        ADMINISTRATIVE ASSISTANT AND OFFICERS AND             ACCOUNT NO.:
        AGENTS                                                NOT AVAILABLE
        1415 WEST THIRD STREET
        LITTLE ROCK, AR 72201



3.488   ATCHISON COUNTY, MISSOURI                                6/13/2018                   Opioid Matter              UNDETERMINED
        ATTN: CLERK OF THE COUNTY COMMISSION
        PO BOX 280                                            ACCOUNT NO.:
        ROCK PORT, MO 64482                                   NOT AVAILABLE



3.489   ATHENS COUNTY BOARD OF COUNTY COMMISSIONERS              3/14/2018                   Opioid Matter              UNDETERMINED
        ATTN: PRESIDENT OF THE BOARD OF COMMISSIONERS,
        VICE-PRESIDENT OF THE BOARD OF COMMISSIONERS          ACCOUNT NO.:
        15 S. COURT STREET                                    NOT AVAILABLE
        2ND FLOOR
        ATHENS, OH 45701



3.490   ATHENS COUNTY BOARD OF COUNTY COMMISSIONERS              3/14/2018                   Opioid Matter              UNDETERMINED
        ATHENS COUNTY COURTHOUSE
        1 SOUTH COURT STREET                                  ACCOUNT NO.:
         - FIRST FLOOR                                        NOT AVAILABLE
        ATHENS, OH 45701



3.491   ATKINSON COUNTY, GEORGIA                                 2/21/2019                   Opioid Matter              UNDETERMINED
        ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
        PO BOX 518                                            ACCOUNT NO.:
        PEARSON, GA 31642                                     NOT AVAILABLE




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Code                                                 And Account Number                         Claim

Litigation

3.492   ATKINSON COUNTY, GEORGIA                                 2/21/2019                   Opioid Matter              UNDETERMINED
        ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
        86 MAIN STREET SOUTH                                  ACCOUNT NO.:
        PEASON, GA 31642                                      NOT AVAILABLE



3.493   ATTENTUS MOULTON, LLC D/B/A LAWRENCE MEDICAL             3/15/2019                   Opioid Matter              UNDETERMINED
        CENTER
        ATTN: REGISTERED AGENT                                ACCOUNT NO.:
        NATIONAL REGISTERED AGENTS INC                        NOT AVAILABLE
        150 S PERRY ST
        MONTGOMERY, AL 36104



3.494   ATTENTUS MOULTON, LLC D/B/A LAWRENCE MEDICAL             3/15/2019                   Opioid Matter              UNDETERMINED
        CENTER
        ATTN: SECRETARY OF STATE                              ACCOUNT NO.:
        PO BOX 5616                                           NOT AVAILABLE
        MONTGOMERY, AL 36103-5616



3.495   ATTENTUS MOULTON, LLC D/B/A LAWRENCE MEDICAL             3/15/2019                   Opioid Matter              UNDETERMINED
        CENTER
        ATTN: MANAGER                                         ACCOUNT NO.:
        202 HOSPITAL STREET                                   NOT AVAILABLE
        MOULTON, AL 35650



3.496   AUDRAIN COUNTY, MISSOURI                                 11/20/2018                  Opioid Matter              UNDETERMINED
        ATTN: COUNTY CLERK
        AUDRAIN COUNTY COURTHOUSE                             ACCOUNT NO.:
        ROOM 101 - 101 NORTH JEFFERSON STREET                 NOT AVAILABLE
        MEXICO, MO 65265



3.497   AUGLAIZE COUNTY BOARD OF COUNTY COMMISSIONERS            5/14/2018                   Opioid Matter              UNDETERMINED
        AUGLAIZE COUNTY COURTHOUSE
        SUITE 309                                             ACCOUNT NO.:
        WAPAKONETA, OH 45895                                  NOT AVAILABLE



3.498   AUGLAIZE COUNTY BOARD OF COUNTY COMMISSIONERS            5/14/2018                   Opioid Matter              UNDETERMINED
        ATTN: COUNTY COMMISSIONERS
        209 SOUTH BLACKHOOF STREET                            ACCOUNT NO.:
        ROOM 201                                              NOT AVAILABLE
        WAPAKONETA, OH 45895



3.499   AUGLAIZE COUNTY BOARD OF COUNTY COMMISSIONERS            5/14/2018                   Opioid Matter              UNDETERMINED
        AUGLAIZE COUNTY COURTHOUSE
        SUITE 309                                             ACCOUNT NO.:
        - P.O. BOX 1992                                       NOT AVAILABLE
        WAPAKONETA, OH 45895



3.500   AUGUSTA, GA                                              2/13/2018                   Opioid Matter              UNDETERMINED
        ATTN: MAYOR
        535 TELFAIR ST.                                       ACCOUNT NO.:
        SUITE 200                                             NOT AVAILABLE
        AUGUSTA, GA 30901




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.501   AUTAUGA COUNTY, ALABAMA                                   2/4/2019                   Opioid Matter              UNDETERMINED
        ATTN: AUTAUGA COUNTY CIRCUIT CLERK
        134 NORTH COURT STREET                                ACCOUNT NO.:
        ROOM 114                                              NOT AVAILABLE
        PRATTVILLE, AL 36067



3.502   AUTAUGA COUNTY, ALABAMA                                   2/4/2019                   Opioid Matter              UNDETERMINED
        ATTN: CHAIRMAN OF COMMISSIONERS
        COMMISSION OFFICE                                     ACCOUNT NO.:
        135 NORTH COURT STREET, SUITE B                       NOT AVAILABLE
        PRATTVILLE, AL 36067



3.503   AUTAUGA COUNTY, ALABAMA                                   2/4/2019                   Opioid Matter              UNDETERMINED
        ATTN: STEVE MARSHALL
        STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
        501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
        MONTGOMERY, AL 36130-0152



3.504   BACON COUNTY HOSPITAL FOUNDATION, INC. D/B/A              3/9/2018                   Opioid Matter              UNDETERMINED
        BACON COUNTY HOSPITAL AND HEALTH SYSTEM
        ATTN: SECRETARY OF STATE: SUBSTITUTED SERVICE         ACCOUNT NO.:
        2 MARTIN LUTHER KING JR. DRIVE                        NOT AVAILABLE
        WEST TOWER SUITE 313
        ATLANTA, GA 30334-1530



3.505   BACON COUNTY HOSPITAL FOUNDATION, INC. D/B/A              3/9/2018                   Opioid Matter              UNDETERMINED
        BACON COUNTY HOSPITAL AND HEALTH SYSTEM
        ATTN: REGISTERED AGENT                                ACCOUNT NO.:
        302 SOUTH WAYNE STREET                                NOT AVAILABLE
        ALMA, GA 31510



3.506   BACON COUNTY, GEORGA                                      9/7/2018                   Opioid Matter              UNDETERMINED
        ATTN: MAYOR
        502 W. 12TH STREET                                    ACCOUNT NO.:
        SUITE 104                                             NOT AVAILABLE
        ALMA, GA 31510



3.507   BAD RIVER BAND OF LAKE SUPERIOR CHIPPEWA                 11/5/2018                   Opioid Matter              UNDETERMINED
        ATTN: TRIBAL COUNCIL CHAIRMAN AND CHIEF
        EXECUTIVE OFFICER                                     ACCOUNT NO.:
        PO BOX 39                                             NOT AVAILABLE
        ODANAH, WI 54861



3.508   BAD RIVER BAND OF LAKE SUPERIOR CHIPPEWA                 11/5/2018                   Opioid Matter              UNDETERMINED
        ATTN: AN OFFICER, MANAGER, MANAGING AGENT, OR
        AGENT; AND REGISTERED AGENT                           ACCOUNT NO.:
        PO BOX 39                                             NOT AVAILABLE
        ODANAH, WI 54861



3.509   BAD RIVER BAND OF LAKE SUPERIOR CHIPPEWA                 11/5/2018                   Opioid Matter              UNDETERMINED
        ATTN: TRIBAL COUNCIL CHAIRMAN AND CHIEF
        EXECUTIVE OFFICER                                     ACCOUNT NO.:
        72662 MAPLE STREET                                    NOT AVAILABLE
        ODANAH, WI 54861



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Code                                                 And Account Number                         Claim

Litigation

3.510   BALDWIN COUNTY, ALABAMA                                  1/12/2018                   Opioid Matter              UNDETERMINED
        ATTN: STEVE MARSHALL
        STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
        501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
        MONTGOMERY, AL 36130-0152



3.511   BALDWIN COUNTY, ALABAMA                                  1/12/2018                   Opioid Matter              UNDETERMINED
        ATTN: COUNTY ADMINISTRATOR
        BALDWIN COUNTY ADMINISTRATION BUILDING                ACCOUNT NO.:
        COUNTY COMMISSION OFFICE - 312 COURTHOUSE             NOT AVAILABLE
        SQUARE, SUITE 12
        BAY MINETTE, AL 36507



3.512   BALTIMORE COUNTY, MARYLAND                               4/25/2018                   Opioid Matter              UNDETERMINED
        ATTN: COUNTY ATTORNEY
        HISTORIC COURTHOUSE                                   ACCOUNT NO.:
        400 WASHINGTON AVENUE                                 NOT AVAILABLE
        TOWSON, MD 21204



3.513   BANKS COUNTY, GEORGIA                                    3/16/2018                   Opioid Matter              UNDETERMINED
        ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
        150 HUDSON RIDGE                                      ACCOUNT NO.:
        SUITE 1                                               NOT AVAILABLE
        HOMER, GA 30547



3.514   BANNOCK COUNTY                                           4/24/2019                   Opioid Matter              UNDETERMINED
        ATTN: COUNTY CLERK/COUNTY COMMISSIONERS
        COUNTY COURTHOUSE                                     ACCOUNT NO.:
        624 EAST CENTER - ROOM 211                            NOT AVAILABLE
        POCATELLO, ID 83201



3.515   BAPTIST HEALTH FLOYD                                     8/17/2018                   Opioid Matter              UNDETERMINED
        ATTN: REGISTERED AGENT AND OFFICERS
        1850 STATE STREET                                     ACCOUNT NO.:
        NEW ALBANY, IN 47150                                  NOT AVAILABLE



3.516   BAPTIST HEALTH FLOYD                                     8/17/2018                   Opioid Matter              UNDETERMINED
        ATTN: REGISTERED AGENT AND OFFICERS
        1850 STATE STREET                                     ACCOUNT NO.:
        NEW ALBANY, IN 47150                                  NOT AVAILABLE



3.517   BAPTIST HEALTH FLOYD                                     8/17/2018                   Opioid Matter              UNDETERMINED
        ATTN: CHIEF EXECUTIVE OFFICER, AND CHIEF
        LEGAL/REGULATORY AFFAIRS OFFICER, OFFICERS, AND       ACCOUNT NO.:
        AGENTS                                                NOT AVAILABLE
        BAPTIST HEALTH
        2701 EASTPOINT PARKWAY
        LOUISVILLE, KY 40223



3.518   BAPTIST HEALTH LA GRANGE                                 8/17/2018                   Opioid Matter              UNDETERMINED
        ATTN: PRESIDENT, OFFICERS, AND AGENTS
        2701 EASTPOINT PARKWAY                                ACCOUNT NO.:
        LOUISVILLE, KY 40223                                  NOT AVAILABLE




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Code                                                            And Account Number                        Claim

Litigation

3.519   BAPTIST HEALTH LA GRANGE                                            8/17/2018                  Opioid Matter              UNDETERMINED
        ATTN: PRESIDENT, OFFICERS, AND AGENTS
        1025 NEW MOODY LANE                                               ACCOUNT NO.:
        LA GRANGE, KY 40031                                               NOT AVAILABLE



3.520   Baptist Health Lexington                                            8/17/2018                  Opioid Matter              UNDETERMINED
        Attn: President, Hospital Administrator, Executive Directors of
        Patient Services, Finance, Human Resources, Senior Director       ACCOUNT NO.:
        of Professional Services and Corporate Compliance, Officers       NOT AVAILABLE
        and Agents
        1740 Nicholasville Road
        Lexington, KY 40503



3.521   BAPTIST HEALTH LOUISVILLE                                           8/17/2018                  Opioid Matter              UNDETERMINED
        ATTN: PRESIDENT, OFFICERS, AND AGENTS
        2701 EASTPOINT PARKWAY                                            ACCOUNT NO.:
        LOUISVILLE, KY 40223                                              NOT AVAILABLE



3.522   BAPTIST HEALTH LOUISVILLE                                           8/17/2018                  Opioid Matter              UNDETERMINED
        ATTN: PRESIDENT, OFFICERS, AND AGENTS
        4000 KRESGE WAY                                                   ACCOUNT NO.:
        LOUISVILLE, KY 40207                                              NOT AVAILABLE



3.523   BAPTIST HEALTH MADISONVILLE, INC.                                   8/17/2018                  Opioid Matter              UNDETERMINED
        ATTN: REGISTERED AGENT AND CHAIR OF THE BOARD
        OF DIRECTORS                                                      ACCOUNT NO.:
        2701 EASTPOINT PARKWAY                                            NOT AVAILABLE
        LOUISVILLE, KY 40223



3.524   BAPTIST HEALTH MADISONVILLE, INC.                                   8/17/2018                  Opioid Matter              UNDETERMINED
        ATTN: CEO, PARTNER, OR MANAGER
        900 HOSPITAL DRIVE                                                ACCOUNT NO.:
        MADISONVILLE, KY 42431                                            NOT AVAILABLE



3.525   BAPTIST HEALTH MADISONVILLE, INC. D/B/A BAPTIST                     8/17/2018                  Opioid Matter              UNDETERMINED
        HEALTH MADISONVILLE
        ATTN: REGISTERED AGENT, PRESIDENT, OFFICERS, AND                  ACCOUNT NO.:
        AGENTS                                                            NOT AVAILABLE
        2701 EASTPOINT PARKWAY
        LOUISVILLE, KY 40223



3.526   BAPTIST HEALTH MADISONVILLE, INC. D/B/A BAPTIST                     8/17/2018                  Opioid Matter              UNDETERMINED
        HEALTH MADISONVILLE
        ATTN: PRESIDENT, OFFICERS, AND AGENTS                             ACCOUNT NO.:
        900 HOSPITAL DRIVE                                                NOT AVAILABLE
        MADISONVILLE, KY 42431



3.527   BAPTIST HEALTH MADISONVILLE, INC. D/B/A BAPTIST                     8/17/2018                  Opioid Matter              UNDETERMINED
        HEALTH MADISONVILLE
        ATTN: PRESIDENT, OFFICERS, AND AGENTS                             ACCOUNT NO.:
        4007 KRESGE WAY                                                   NOT AVAILABLE
        LOUISVILLE, KY 40207




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Code                                                 And Account Number                         Claim

Litigation

3.528   BAPTIST HEALTH PADUCAH                                   8/17/2018                   Opioid Matter              UNDETERMINED
        ATTN: PRESIDENT, OFFICERS, AND AGENTS
        4007 KRESGE WAY                                       ACCOUNT NO.:
        LOUISVILLE, KY 40207                                  NOT AVAILABLE



3.529   BAPTIST HEALTH PADUCAH                                   8/17/2018                   Opioid Matter              UNDETERMINED
        ATTN: PRESIDENT, OFFICERS, AND AGENTS
        2501 KENTUCKY AVENUE                                  ACCOUNT NO.:
        PADUCAH, KY 42003                                     NOT AVAILABLE



3.530   BAPTIST HEALTH RICHMOND, INC.                            8/17/2018                   Opioid Matter              UNDETERMINED
        ATTN: REGISTERED AGENT AND CHAIR OF THE BOARD
        OF DIRECTORS                                          ACCOUNT NO.:
        2701 EASTPOINT PARKWAY                                NOT AVAILABLE
        LOUISVILLE, KY 40223



3.531   BAPTIST HEALTH RICHMOND, INC.                            8/17/2018                   Opioid Matter              UNDETERMINED
        ATTN: CEO, PARTNER, OR MANAGER
        801 EASTERN BYPASS                                    ACCOUNT NO.:
        RICHMOND, KY 40475                                    NOT AVAILABLE



3.532   BAPTIST HEALTH RICHMOND, INC. D/B/A BAPTIST              8/17/2018                   Opioid Matter              UNDETERMINED
        HEALTH RICHMOND
        ATTN: REGISTERED AGENT AND OFFICERS                   ACCOUNT NO.:
        BAPTIST HEALTHCARE SYSTEM, INC.                       NOT AVAILABLE
        2701 EASTPOINT PARKWAY
        LOUISVILLE, KY 40223



3.533   BAPTIST HEALTH RICHMOND, INC. D/B/A BAPTIST              8/17/2018                   Opioid Matter              UNDETERMINED
        HEALTH RICHMOND
        ATTN: PRESIDENT, OFFICERS, AND AGENTS                 ACCOUNT NO.:
        4007 KRESGE WAY                                       NOT AVAILABLE
        LOUISVILLE, KY 40207



3.534   BAPTIST HEALTH RICHMOND, INC. D/B/A BAPTIST              8/17/2018                   Opioid Matter              UNDETERMINED
        HEALTH RICHMOND
        ATTN: PRESIDENT, OFFICERS, AND AGENTS                 ACCOUNT NO.:
        801 EASTERN BYPASS                                    NOT AVAILABLE
        RICHMOND, KY 40475



3.535   BAPTIST HEALTHCARE SYSTEM, INC.                          8/17/2018                   Opioid Matter              UNDETERMINED
        ATTN: CEO, PARTNER, OR MANAGER
        4000 KRESGE WAY                                       ACCOUNT NO.:
        LOUISVILLE, KY 40207                                  NOT AVAILABLE



3.536   BAPTIST HEALTHCARE SYSTEM, INC.                          8/17/2018                   Opioid Matter              UNDETERMINED
        ATTN: REGISTERED AGENT AND CHAIR OF THE BOARD
        OF DIRECTORS                                          ACCOUNT NO.:
        2701 EASTPOINT PARKWAY                                NOT AVAILABLE
        LOUISVILLE, KY 40223




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.537   BAPTIST HEALTHCARE SYSTEM, INC. D/B/A BAPTIST            8/17/2018                   Opioid Matter              UNDETERMINED
        HEALTH CORBIN
        ATTN: REGISTERED AGENT, CHIEF EXECUTIVE OFFICER,      ACCOUNT NO.:
        AND CHIEF LEGAL/REGULATORY AFFAIRS OFFICER,           NOT AVAILABLE
        OFFICERS AND AGENTS
        BAPTIST HEALTH
        2701 EASTPOINT PARKWAY
        LOUISVILLE, KY 40223



3.538   BAPTIST HEALTHCARE SYSTEM, INC. D/B/A BAPTIST            8/17/2018                   Opioid Matter              UNDETERMINED
        HEALTH CORBIN
        ATTN: REGISTERED AGENT, CHIEF EXECUTIVE OFFICER,      ACCOUNT NO.:
        AND CHIEF LEGAL/REGULATORY AFFAIRS OFFICER,           NOT AVAILABLE
        OFFICERS AND AGENTS
        BAPTIST HEALTH CORBIN
        1 TRILLIUM WAY
        CORBIN, KY 40701



3.539   BAPTIST HOSPITAL INC.                                    11/21/2017                  Opioid Matter              UNDETERMINED
        ATTN: CHIEF EXECUTIVE OFFICER AND PRESIDENT
        1000 WEST MORENO STREET                               ACCOUNT NO.:
        P.O. BOX 17500                                        NOT AVAILABLE
        PENSACOLA, FL 32501



3.540   BAPTIST HOSPITAL INC.                                    11/21/2017                  Opioid Matter              UNDETERMINED
        ATTN: REGISTERED AGENT
        ELIZABETH C. CALLAHAN                                 ACCOUNT NO.:
        BAPTIST MEDICAL TOWERS - 1717 NORTH EAST STREET,      NOT AVAILABLE
        SUITE 320
        PENSACOLA, FL 32501



3.541   BAPTIST WOMENS HEALTH CENTER, LLC                        7/11/2019                   Opioid Matter              UNDETERMINED
        ATTN: OFFICER OR MANAGING AGENT
        350 NORTH HUMPHREYS BOULEVARD                         ACCOUNT NO.:
        MEMPHIS, TN 38120                                     NOT AVAILABLE



3.542   BAPTIST WOMENS HEALTH CENTER, LLC                        7/11/2019                   Opioid Matter              UNDETERMINED
        ATTN: OFFICER OR MANAGING AGENT
        C/O WENDY BEARD                                       ACCOUNT NO.:
        15305 DALLAS PARKWAY - SUITE 1600                     NOT AVAILABLE
        ADDISON, TX 75001



3.543   BAPTIST WOMENS HEALTH CENTER, LLC                        7/11/2019                   Opioid Matter              UNDETERMINED
        ATTN: REGISTERED AGENT
        C T CORPORATION SYSTEM                                ACCOUNT NO.:
        300 MONTVUE ROAD                                      NOT AVAILABLE
        KNOXVILLE, TN 37919



3.544   BARBARA RIVERS, INDIVIDUALLY AND ON BEHALF OF             5/2/2018                   Opioid Matter              UNDETERMINED
        ALL OTHERS SIMILARLY SITUATED
        ATTN: THOMAS R. MCCARTHY                              ACCOUNT NO.:
        CONSOVOY MCCARTHY PARK PLLC                           NOT AVAILABLE
        3033 WILSON BOULEVARD - SUITE 700
        ARLINGTON, VA 22201




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.545   BARBARA RIVERS, INDIVIDUALLY AND ON BEHALF OF             5/2/2018                   Opioid Matter              UNDETERMINED
        ALL OTHERS SIMILARLY SITUATED
        ATTN: TRAVIS LENKNER                                  ACCOUNT NO.:
        KELLER LENKNER LLC                                    NOT AVAILABLE
        150 NORTH RIVERSIDE PLAZA - SUITE 2570
        CHICAGO, IL 60606



3.546   BARBARA RIVERS, INDIVIDUALLY AND ON BEHALF OF             5/2/2018                   Opioid Matter              UNDETERMINED
        ALL OTHERS SIMILARLY SITUATED
        ATTN: MICHAEL H. PARK                                 ACCOUNT NO.:
        ATTN: MICHAEL H PARK                                  NOT AVAILABLE
        745 FIFTH AVENUE - SUITE 500
        NEW YORK, NY 10151



3.547   BARBARA RIVERS, INDIVIDUALLY AND ON BEHALF OF             5/2/2018                   Opioid Matter              UNDETERMINED
        ALL OTHERS SIMILARLY SITUATED
        ATTN: WILLIAM S. CONSOVOY                             ACCOUNT NO.:
        CONSOVOY MCCARTHY PARK PLLC                           NOT AVAILABLE
        3033 WILSON BOULEVARD - SUITE 700
        ARLINGTON, VA 22201



3.548   BARBARA RIVERS, INDIVIDUALLY AND ON BEHALF OF             5/2/2018                   Opioid Matter              UNDETERMINED
        ALL OTHERS SIMILARLY SITUATED
        ATTN: ASHLEY C. KELLER                                ACCOUNT NO.:
        KELLER LENKNER LLC                                    NOT AVAILABLE
        150 NORTH RIVERSIDE PLAZA - SUITE 2750
        CHICAGO, IL 60606



3.549   BARBARA RIVERS, INDIVIDUALLY AND ON BEHALF OF             5/2/2018                   Opioid Matter              UNDETERMINED
        ALL OTHERS SIMILARLY SITUATED
        ATTN: RAFEY S. BALABANIAN                             ACCOUNT NO.:
        EDELSON PC                                            NOT AVAILABLE
        123 TOWNSEND STREET - SUITE 100
        SAN FRANCISCO, CA 94107



3.550   BARBARA RIVERS, INDIVIDUALLY AND ON BEHALF OF             5/2/2018                   Opioid Matter              UNDETERMINED
        ALL OTHERS SIMILARLY SITUATED
        ATTN: TODD LOGAN                                      ACCOUNT NO.:
        EDELSON PC                                            NOT AVAILABLE
        123 TOWNSEND STREET - SUITE 100
        SAN FRANCISCO, CA 94107



3.551   BARBARA RIVERS, INDIVIDUALLY AND ON BEHALF OF             5/2/2018                   Opioid Matter              UNDETERMINED
        ALL OTHERS SIMILARLY SITUATED
        ATTN: BENJAMIN H. RICHMAN                             ACCOUNT NO.:
        EDELSON PC                                            NOT AVAILABLE
        350 NORTH LASALLE STREET - 14TH FLOOR
        CHICAGO, IL 60654



3.552   BARBARA RIVERS, INDIVIDUALLY AND ON BEHALF OF             5/2/2018                   Opioid Matter              UNDETERMINED
        ALL OTHERS SIMILARLY SITUATED
        ATTN: SETH ADAM MEYER                                 ACCOUNT NO.:
        KELLER LENKNER LLC                                    NOT AVAILABLE
        150 NORTH RIVERSIDE PLAZA - SUITE 2570
        CHICAGO, IL 60606




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.553   BARBARA RIVERS, INDIVIDUALLY AND ON BEHALF OF             5/2/2018                   Opioid Matter              UNDETERMINED
        ALL OTHERS SIMILARLY SITUATED
        ATTN: JAY EDELSON                                     ACCOUNT NO.:
        EDELSON P.C.                                          NOT AVAILABLE
        350 NORTH LASALLE STREET - 14TH FLOOR
        CHICAGO, IL 60654



3.554   BARBARA RIVERS, INDIVIDUALLY AND ON BEHALF OF             5/2/2018                   Opioid Matter              UNDETERMINED
        ALL OTHERS SIMILARLY SITUATED
        ATTN: DAVID I. MINDELL                                ACCOUNT NO.:
        EDELSON PC                                            NOT AVAILABLE
        350 NORTH LASALLE STREET - 14TH FLOOR
        CHICAGO, IL 60654



3.555   BARBOUR COUNTY, ALABAMA                                  2/20/2018                   Opioid Matter              UNDETERMINED
        ATTN: STEVE MARSHALL
        STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
        501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
        MONTGOMERY, AL 36130-0152



3.556   BARBOUR COUNTY, ALABAMA                                  2/20/2018                   Opioid Matter              UNDETERMINED
        ATTN: CIRCUIT CLERK
        303 EAST BROAD STREET, ROOM 201                       ACCOUNT NO.:
        EUFAULA, AL 36027                                     NOT AVAILABLE



3.557   BARBOUR COUNTY, ALABAMA                                  2/20/2018                   Opioid Matter              UNDETERMINED
        ATTN: BARBOUR COUNTY COMMISSIONER
        113 COURT SQUARE                                      ACCOUNT NO.:
        CLAYTON, AL 36016                                     NOT AVAILABLE



3.558   BARNES COUNTY                                            6/14/2019                   Opioid Matter              UNDETERMINED
        ATTN: CHAIRMAN AND BOARD OF COMMISSIONERS
        OFFICE OF THE COUNTY BOARD                            ACCOUNT NO.:
        BARNES COUNTY COURT HOUSE - 230 4TH ST. NW            NOT AVAILABLE
        VALLEY CITY, ND 58072



3.559   BARRON COUNTY                                             3/7/2018                   Opioid Matter              UNDETERMINED
        ATTN: COUNTY BOARD CHAIR AND COUNTY CLERK
        PO BOX 218                                            ACCOUNT NO.:
        2982 27TH STREET                                      NOT AVAILABLE
        BIRCHWOOD, WI 54817



3.560   BARRON COUNTY                                             3/7/2018                   Opioid Matter              UNDETERMINED
        ATTN: COUNTY BOARD CHAIR AND COUNTY CLERK
        BARRON COUNTY GOVERNMENT CENTER                       ACCOUNT NO.:
        335 EAST MONROE AVENUE, ROOM 2130                     NOT AVAILABLE
        BARRON, WI 54812



3.561   BARRY STAUBUS, ET AL.                                    6/13/2017                   Opioid Matter              UNDETERMINED
        ATTN: JAMES G STRANCH , III
        BRANSTETTER, STRANCH & JENNINGS, PLLC                 ACCOUNT NO.:
        THE FREEDOM CENTER - 223 ROSA L. PARKS AVENUE,        NOT AVAILABLE
        SUITE 200
        NASHVILLE, TN 37203



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Creditor's Name, Mailing Address Including Zip                   Date Claim Was Incurred     C U     D    Basis For      Offset   Amount of Claim
Code                                                              And Account Number                        Claim

Litigation

3.562   BARRY STAUBUS, ET AL.                                                6/13/2017                   Opioid Matter              UNDETERMINED
        ATTN: ANTHONY A. ORLANDI, BENJAMIN A. GASTEL,
        JAMES GERARD STRANCH, IV, JAMES GERARD                             ACCOUNT NO.:
        STRANCH, III,                                                      NOT AVAILABLE
        TRICIA A. HERZFELD
        BRANSTETTER, STRANCH & JENNINGS, PLLC - THE
        FREEDOM CENTER, 223 ROSA L. PARKS AVE, STE 200
        NASHVILLE, TN 37203



3.563   BARRY STAUBUS, ET AL.                                                6/13/2017                   Opioid Matter              UNDETERMINED
        ATTN: BENJAMIN A GASTEL
        BRANSTETTER, STRANCH & JENNINGS, PLLC                              ACCOUNT NO.:
        THE FREEDOM CENTER - 223 ROSA L. PARKS AVENUE,                     NOT AVAILABLE
        SUITE 200
        NASHVILLE, TN 37203



3.564   BARRY STAUBUS, ET AL.                                                6/13/2017                   Opioid Matter              UNDETERMINED
        ATTN: J. GERARD STRANCH , IV
        BRANSTETTER, STRANCH & JENNINGS, PLLC                              ACCOUNT NO.:
        THE FREEDOM CENTER - 223 ROSA L. PARKS AVENUE,                     NOT AVAILABLE
        SUITE 200
        NASHVILLE, TN 37203



3.565   BARRY STAUBUS, ET AL.                                                6/13/2017                   Opioid Matter              UNDETERMINED
        ATTN: TRICIA HERZFELD
        BRANSTETTER, STRANCH & JENNINGS, PLLC                              ACCOUNT NO.:
        THE FREEDOM CENTER - 223 ROSA L. PARKS AVENUE,                     NOT AVAILABLE
        SUITE 200
        NASHVILLE, TN 37203



3.566   Barry Staubus, in his official capacity as the District Attorney     6/13/2017                   Opioid Matter              UNDETERMINED
        General for the Second Judicial District and on behalf of all
        political subdivisions therein                                     ACCOUNT NO.:
        Attn: Herbert H. Slatery III                                       NOT AVAILABLE
        State of Tennessee Attorney General
        425 5th Avenue North
        Nashville, TN 37243



3.567   BARRY STAUBUS, IN HIS OFFICIAL CAPACITY AS THE                       6/13/2017                   Opioid Matter              UNDETERMINED
        DISTRICT ATTORNEY GENERAL FOR THE SECOND
        JUDICIAL DISTRICT AND ON BEHALF OF ALL POLITICAL                   ACCOUNT NO.:
        SUBDIVISIONS THEREIN                                               NOT AVAILABLE
        ATTN: DISTRICT ATTORNEY
        140 BLOUNTVILLE BYPASS
        P.O. BOX 526
        BLOUNTVILLE, TN 37617



3.568   BARRY STAUBUS, IN HIS OFFICIAL CAPACITY AS THE                       6/13/2017                   Opioid Matter              UNDETERMINED
        DISTRICT ATTORNEY GENERAL FOR THE SECOND
        JUDICIAL DISTRICT AND ON BEHALF OF ALL POLITICAL                   ACCOUNT NO.:
        SUBDIVISIONS THEREIN                                               NOT AVAILABLE
        ATTN: ATTORNEY GENERAL
        425 5TH AVENUE NORTH
        NASHVILLE, TN 37243




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.569   BARTOW COUNTY, GEORGIA                                   1/16/2019                   Opioid Matter              UNDETERMINED
        ATTN: COUNTY COMMISSIONER
        135 W CHEROKEE AVENUE                                 ACCOUNT NO.:
        SUITE 251                                             NOT AVAILABLE
        CARTERSVILLE, GA 30120



3.570   BATTLE MOUNTAIN OF THE TE-MOAK TRIBE OF                  8/31/2018                   Opioid Matter              UNDETERMINED
        WESTERN SHOSHONE INDIANS
        ATTN: TRIBAL COUNCIL CHAIRMAN; TRIBAL CHIEF           ACCOUNT NO.:
        EXECUTIVE OFFICER                                     NOT AVAILABLE
        37 MOUNTAIN VIEW
        BATTLE MOUNTAIN, NV 89820



3.571   BATTLE MOUNTAIN OF THE TE-MOAK TRIBE OF                  8/31/2018                   Opioid Matter              UNDETERMINED
        WESTERN SHOSHONE INDIANS
        ATTN: TRIBAL COUNCIL CHAIRPERSON; VICE                ACCOUNT NO.:
        CHAIRPERSON                                           NOT AVAILABLE
        525 SUNSET STREET
        ELKO, NV 89801



3.572   BAY COUNTY                                                4/4/2018                   Opioid Matter              UNDETERMINED
        ATTN: BAY COUNTY CLERK
        300 EAST 4TH STREET                                   ACCOUNT NO.:
        PANAMA CITY, FL 32401                                 NOT AVAILABLE



3.573   BAY COUNTY                                                4/4/2018                   Opioid Matter              UNDETERMINED
        ATTN: COUNTY MANAGER
        840 WEST 11TH STREET                                  ACCOUNT NO.:
        PANAMA CITY, FL 32401                                 NOT AVAILABLE



3.574   BAY MILLS INDIAN COMMUNITY                               4/19/2019                   Opioid Matter              UNDETERMINED
        ATTN: CHAIRMAN
        12140 WEST LAKESHORE DRIVE                            ACCOUNT NO.:
        BRIMLEY, MI 49715                                     NOT AVAILABLE



3.575   BAYFIELD COUNTY                                          11/28/2017                  Opioid Matter              UNDETERMINED
        ATTN: COUNTY BOARD CHAIR AND COUNTY CLERK
        117 EAST 5TH STREET                                   ACCOUNT NO.:
        P.O. BOX 878                                          NOT AVAILABLE
        WASHBURN, WI 54891



3.576   BAYFIELD COUNTY                                          11/28/2017                  Opioid Matter              UNDETERMINED
        ATTN: COUNTY BOARD CHAIR AND COUNTY CLERK
        71115 ONDOSSAGON ROAD                                 ACCOUNT NO.:
        ASHLAND, WI 54806                                     NOT AVAILABLE



3.577   BAYFIELD COUNTY                                          11/28/2017                  Opioid Matter              UNDETERMINED
        ATTN: COUNTY BOARD CHAIR AND COUNTY CLERK
        40360 CABLE SUNSET ROAD                               ACCOUNT NO.:
        CABLE, WI 54821                                       NOT AVAILABLE




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Code                                                 And Account Number                         Claim

Litigation

3.578   BBH BMC, LLC                                              9/3/2019                   Opioid Matter              UNDETERMINED
        ATTN: REGISTERED AGENT
        2 NORTH JACKSON STREET                                ACCOUNT NO.:
        SUITE 605                                             NOT AVAILABLE
        MONTGOMERY, AL 36104



3.579   BBH BMC, LLC                                              9/3/2019                   Opioid Matter              UNDETERMINED
        ATTN: CEO, PARTNER, OR MANAGER
        1445 ROSS AVENUE                                      ACCOUNT NO.:
        SUITE 1400                                            NOT AVAILABLE
        DALLAS, TX 75202



3.580   BBH BMC, LLC                                              9/3/2019                   Opioid Matter              UNDETERMINED
        ATTN: CEO, PARTNER, OR MANAGER
        2010 BROOKWOOD MEDICAL CENTER DRIVE                   ACCOUNT NO.:
        BIRMINGHAM, AL 35209                                  NOT AVAILABLE



3.581   BBH CBMC, LLC                                             9/3/2019                   Opioid Matter              UNDETERMINED
        ATTN: CEO, PARTNER, OR MANAGER
        1445 ROSS AVENUE                                      ACCOUNT NO.:
        SUITE 1400                                            NOT AVAILABLE
        DALLAS, TX 75202



3.582   BBH CBMC, LLC                                             9/3/2019                   Opioid Matter              UNDETERMINED
        ATTN: REGISTERED AGENT
        2 NORTH JACKSON STREET                                ACCOUNT NO.:
        SUITE 605                                             NOT AVAILABLE
        MONTGOMERY, AL 36104



3.583   BBH CBMC, LLC                                             9/3/2019                   Opioid Matter              UNDETERMINED
        ATTN: CEO, PARTNER, OR MANAGER
        604 STONE AVENUE                                      ACCOUNT NO.:
        TALLADEGA, AL 35160-2217                              NOT AVAILABLE



3.584   BBH PBMC, LLC                                             9/3/2019                   Opioid Matter              UNDETERMINED
        ATTN: CEO, PARTNER, OR MANAGER
        701 PRINCETON AVENUE SOUTHWEST                        ACCOUNT NO.:
        BIRMINGHAM, AL 35211-1303                             NOT AVAILABLE



3.585   BBH PBMC, LLC                                             9/3/2019                   Opioid Matter              UNDETERMINED
        ATTN: CEO, PARTNER, OR MANAGER
        1445 ROSS AVENUE                                      ACCOUNT NO.:
        SUITE 1400                                            NOT AVAILABLE
        DALLAS, TX 75202



3.586   BBH PBMC, LLC                                             9/3/2019                   Opioid Matter              UNDETERMINED
        ATTN: REGISTERED AGENT
        2 NORTH JACKSON STREET                                ACCOUNT NO.:
        SUITE 605                                             NOT AVAILABLE
        MONTGOMERY, AL 36104




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Code                                                 And Account Number                         Claim

Litigation

3.587   BBH SBMC, LLC                                             9/3/2019                   Opioid Matter              UNDETERMINED
        ATTN: CEO, PARTNER, OR MANAGER
        1000 1ST STREET NORTH                                 ACCOUNT NO.:
        ALABASTER, AL 35007                                   NOT AVAILABLE



3.588   BBH SBMC, LLC                                             9/3/2019                   Opioid Matter              UNDETERMINED
        ATTN: CEO, PARTNER, OR MANAGER
        1445 ROSS AVENUE                                      ACCOUNT NO.:
        SUITE 1400                                            NOT AVAILABLE
        DALLAS, TX 75202



3.589   BBH SBMC, LLC                                             9/3/2019                   Opioid Matter              UNDETERMINED
        ATTN: REGISTERED AGENT
        2 NORTH JACKSON STREET                                ACCOUNT NO.:
        SUITE 605                                             NOT AVAILABLE
        MONTGOMERY, AL 36104



3.590   BBH, WBMC, LLC                                            9/3/2019                   Opioid Matter              UNDETERMINED
        ATTN: CEO, PARTNER, OR MANAGER
        3400 HIGHWAY 78 EAST                                  ACCOUNT NO.:
        JASPER, AL 35501-8956                                 NOT AVAILABLE



3.591   BBH, WBMC, LLC                                            9/3/2019                   Opioid Matter              UNDETERMINED
        ATTN: CEO, PARTNER, OR MANAGER
        1445 ROSS AVENUE                                      ACCOUNT NO.:
        SUITE 1400                                            NOT AVAILABLE
        DALLAS, TX 75202



3.592   BBH, WBMC, LLC                                            9/3/2019                   Opioid Matter              UNDETERMINED
        ATTN: REGISTERED AGENT
        2 NORTH JACKSON STREET                                ACCOUNT NO.:
        SUITE 605                                             NOT AVAILABLE
        MONTGOMERY, AL 36104



3.593   BEAUFORT COUNTY                                           3/2/2018                   Opioid Matter              UNDETERMINED
        ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
        AND CLERK TO THE BOARD                                ACCOUNT NO.:
        121 WEST 3RD STREET                                   NOT AVAILABLE
        WASHINGTON, NC 27889



3.594   BEAUREGARD PARISH POLICE JURY                             9/4/2018                   Opioid Matter              UNDETERMINED
        ATTN: PRESIDENT BEAUREGARD PARISH POLICE JURY
        POLICE JURY ADMINISTRATION BUILDING                   ACCOUNT NO.:
        201 W. 2ND STREET                                     NOT AVAILABLE
        DERIDDER, LA 70634



3.595   BEAVER COUNTY, PENNSYLVANIA                              10/13/2017                  Opioid Matter              UNDETERMINED
        ATTN: COMMISSIONER CHAIRMAN
        BEAVER COUNTY COURT HOUSE                             ACCOUNT NO.:
        810 THIRD STREET                                      NOT AVAILABLE
        BEAVER, PA 15009




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Code                                                 And Account Number                         Claim

Litigation

3.596   BEAVER COUNTY, UTAH                                       4/3/2019                   Opioid Matter              UNDETERMINED
        ATTN: COUNTY CLERK
        COUNTY ADMINISTRATION BUILDING                        ACCOUNT NO.:
        105 EAST CENTER STREET - P.O. BOX 431                 NOT AVAILABLE
        BEAVER, UT 84713



3.597   BEAVER COUNTY, UTAH                                       4/3/2019                   Opioid Matter              UNDETERMINED
        ATTN: COUNTY ATTORNEY
        2270 SOUTH 525 WEST                                   ACCOUNT NO.:
        P.O. BOX 391                                          NOT AVAILABLE
        BEAVER, UT 84713



3.598   BEDFORD COUNTY                                          UNKNOWN                      Opioid Matter              UNDETERMINED
        ATTN: COUNTY MAYOR
        1 PUBLIC SQUARE                                       ACCOUNT NO.:
        SUITE 101                                             NOT AVAILABLE
        SHELBYVILLE, TN 37160



3.599   BELLATOR HEALTHCARE MANAGEMENT, LLC                      6/12/2019                   Opioid Matter              UNDETERMINED
        ATTN: OWNER
        4615 PARLIAMENT DRIVE                                 ACCOUNT NO.:
        SUITE 202                                             NOT AVAILABLE
        ALEXANDRIA, LA 71303-2759



3.600   BELLATOR HEALTHCARE MANAGEMENT, LLC                      6/12/2019                   Opioid Matter              UNDETERMINED
        ATTN: REGISTERED AGENT; MANAGER
        GEOFFREY MORTHLAND; STAT CENTRAL PARENT, LLC          ACCOUNT NO.:
        THE CARPENTER HEALTH NETWORK - 10615 JEFFERSON        NOT AVAILABLE
        HIGHWAY
        BATON ROUGE, LA 70809



3.601   BELLATOR HEALTHCARE MANAGEMENT, LLC                      6/12/2019                   Opioid Matter              UNDETERMINED
        ATTN: OFFICER; REGISTERED AGENT FOR SERVICE OF
        PROCESS                                               ACCOUNT NO.:
        4615 PARLIAMENT DRIVE                                 NOT AVAILABLE
        SUITE 202
        ALEXANDRIA, LA 71303



3.602   BELLEFONTE PHYSICIAN SERVICES, INC.                      7/11/2018                   Opioid Matter              UNDETERMINED
        ATTN: CHAIRMAN, PRESIDENT, DIRECTOR
        1000 ST. CHRISTOPHER DRIVE                            ACCOUNT NO.:
        ASHLAND, KY 41144                                     NOT AVAILABLE



3.603   BELLEFONTE PHYSICIAN SERVICES, INC.                      7/11/2018                   Opioid Matter              UNDETERMINED
        ATTN: AGENT/REGISTRANT
        BRUCE MACDONALD                                       ACCOUNT NO.:
        2671 DOGWOOD RIDGE                                    NOT AVAILABLE
        WHEELERSBURG, OH 45694



3.604   BELLEFONTE PHYSICIAN SERVICES, INC.                      7/11/2018                   Opioid Matter              UNDETERMINED
        ATTN: REGISTERED AGENT
        402 MAIN STREET                                       ACCOUNT NO.:
        GREENUP, KY 41144                                     NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.605   BELLEFONTE PHYSICIAN SERVICES, INC.                      7/11/2018                   Opioid Matter              UNDETERMINED
        ATTN: PRESIDENT; CHAIRPERSON; CHIEF EXECUTIVE
        OFFICER                                               ACCOUNT NO.:
        8991 OHIO RIVER ROAD                                  NOT AVAILABLE
        WHEELERSBURG, OH 45694



3.606   BELMONT COUNTY BOARD OF COUNTY COMMISSIONERS             10/11/2017                  Opioid Matter              UNDETERMINED
        ATTN: PRESIDENT OF THE BOARD OF COUNTY
        COMMISSIONERS                                         ACCOUNT NO.:
        101 WEST MAIN STREET                                  NOT AVAILABLE
        ST. CLAIRSVILLE, OH 43950



3.607   BELMONT COUNTY BOARD OF COUNTY COMMISSIONERS             10/11/2017                  Opioid Matter              UNDETERMINED
        COURTHOUSE ANNEX I
        147 WEST MAIN STREET                                  ACCOUNT NO.:
        ST. CLAIRSVILLE, OH 43950                             NOT AVAILABLE



3.608   BELTRAMI COUNTY, MINNESOTA                               7/15/2019                   Opioid Matter              UNDETERMINED
        ATTN: COUNTY AUDITOR
        701 MINNESOTA AVENUE NW                               ACCOUNT NO.:
        SUITE 220                                             NOT AVAILABLE
        BEMIDJI, MN 56601



3.609   BELTRAMI COUNTY, MINNESOTA                               7/15/2019                   Opioid Matter              UNDETERMINED
        ATTN: COUNTY ATTORNEY
        701 MINNESOTA AVENUE NW                               ACCOUNT NO.:
        SUITE 400                                             NOT AVAILABLE
        BEMIDJI, MN 56601



3.610   BELTRAMI COUNTY, MINNESOTA                               7/15/2019                   Opioid Matter              UNDETERMINED
        ATTN: COUNTY COMMISSIONERS; COUNTY
        ADMINISTRATOR                                         ACCOUNT NO.:
        701 MINNESOTA AVENUE NW                               NOT AVAILABLE
        SUITE 200
        BEMIDJI, MN 56601



3.611   BEN HILL COUNTY, GEORGIA                                 4/23/2018                   Opioid Matter              UNDETERMINED
        ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
        402-A EAST PINE STREET                                ACCOUNT NO.:
        FITZGERALD, GA 31750                                  NOT AVAILABLE



3.612   BENSON COUNTY                                            6/14/2019                   Opioid Matter              UNDETERMINED
        ATTN: CHAIRMAN AND BOARD OF COMMISSIONERS
        BENSON COUNTY COURTHOUSE                              ACCOUNT NO.:
        311 B AVENUE SOUTH                                    NOT AVAILABLE
        MINNEWAUKAN, ND 58351



3.613   BENTON COUNTY                                            10/4/2018                   Opioid Matter              UNDETERMINED
        ATTN: COUNTY CLERK
        706 EAST 5TH STREET, SUITE 37                         ACCOUNT NO.:
        FOWLER, IN 47944                                      NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.614   BENTON COUNTY                                            10/4/2018                   Opioid Matter              UNDETERMINED
        ATTN: PRESIDENT OF COUNTY COUNCIL
        706 EAST 5TH STREET                                   ACCOUNT NO.:
        FOWLER, IN 47944                                      NOT AVAILABLE



3.615   BENTON COUNTY, MISS.                                      1/8/2018                   Opioid Matter              UNDETERMINED
        ATTN: CLERK AND PRESIDENT OF THE BOARD OF
        SUPERVISORS                                           ACCOUNT NO.:
        PO BOX 218                                            NOT AVAILABLE
        ASHLAND, MS 38603



3.616   BENTON FIRE PROTECTION DISTRICT NO. 4                    10/26/2018                  Opioid Matter              UNDETERMINED
        ATTN: CHAIRMAN OF THE BOARD OF COMMISIONERS
        BENTON FIRE DISTRICT 4 FIRE DEPARTMENT                ACCOUNT NO.:
        306 5TH STREET                                        NOT AVAILABLE
        BENTON, LA 71006



3.617   BERGEN COUNTY                                             5/4/2018                   Opioid Matter              UNDETERMINED
        ATTN: CHAIR FREEHOLDERS, CLERK, COUNTY
        EXECUTIVE                                             ACCOUNT NO.:
        ONE BERGEN COUNTY PLAZA                               NOT AVAILABLE
        5TH FLOOR, ROOM 580
        HACKENSACK, NJ 07601-7076



3.618   BERKELEY COUNTY COUNCIL                                  11/21/2017                  Opioid Matter              UNDETERMINED
        ATTN: COUNTY COUNCIL
        400 WEST STEPHENS STREET, SUITE 201                   ACCOUNT NO.:
        MARTINSBURG, WV 25401                                 NOT AVAILABLE



3.619   BERLIN, NEW HAMPSHIRE                                    8/17/2018                   Opioid Matter              UNDETERMINED
        ATTN: MAYOR AND CITY CLERK
        168 MAIN STREET                                       ACCOUNT NO.:
        BERLIN, NH 03570                                      NOT AVAILABLE



3.620   BERRIEN COUNTY, GEORGIA                                   6/8/2018                   Opioid Matter              UNDETERMINED
        ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
        201 N DAVIS STREET                                    ACCOUNT NO.:
        ROOM 198                                              NOT AVAILABLE
        NASHVILLE, GA 31639



3.621   BERTIE COUNTY                                             8/3/2019                   Opioid Matter              UNDETERMINED
        ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
        PO BOX 609                                            ACCOUNT NO.:
        LEWISTOWN-WOODVILLE, NC 27849                         NOT AVAILABLE



3.622   BERTIE COUNTY                                             8/3/2019                   Opioid Matter              UNDETERMINED
        ATTN: COUNTY MANAGER
        PO BOX 530                                            ACCOUNT NO.:
        WINDSOR, NC 27983                                     NOT AVAILABLE




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Code                                                 And Account Number                         Claim

Litigation

3.623   BIBB COUNTY, ALABAMA                                     3/26/2018                   Opioid Matter              UNDETERMINED
        ATTN: STEVE MARSHALL
        STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
        501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
        MONTGOMERY, AL 36130-0152



3.624   BIBB COUNTY, ALABAMA                                     3/26/2018                   Opioid Matter              UNDETERMINED
        ATTN: BIBB COUNTY COMMISSION
        183 SW DAVIDSON DRIVE                                 ACCOUNT NO.:
        CENTREVILLE, AL 35042                                 NOT AVAILABLE



3.625   BIENVILLE MEDICAL CENTER, ARCADIA                        6/14/2019                   Opioid Matter              UNDETERMINED
        ATTN: REGISTERED AGENT
        504 TEXAS STREET - SUITE 200                          ACCOUNT NO.:
        SHREVEPORT, LA 71101                                  NOT AVAILABLE



3.626   BIENVILLE MEDICAL CENTER, ARCADIA                        6/14/2019                   Opioid Matter              UNDETERMINED
        ATTN: SECRETARY OF STATE
        8585 ARCHIVES AVE                                     ACCOUNT NO.:
        BATON ROUGE, LA 70809                                 NOT AVAILABLE



3.627   BIENVILLE MEDICAL CENTER, ARCADIA                        6/14/2019                   Opioid Matter              UNDETERMINED
        ATTN: CEO
        BIENVILLE MEDICAL CENTER                              ACCOUNT NO.:
        1175 PINE STREET - SUITE 200                          NOT AVAILABLE
        ARCADIA, LA 71001



3.628   BIG BEND COMMUNITY BASED CARE INC.                        4/4/2018                   Opioid Matter              UNDETERMINED
        ATTN: PRESIDENT; VICE-PRESIDENT AND REGISTERED
        AGENT/WATKINS, MIKE                                   ACCOUNT NO.:
        525 N. MARTIN LUTHER KING BOULEVARD                   NOT AVAILABLE
        TALLAHASSEE, FL 32301



3.629   BIG SANDY RANCHERIA OF WESTERN MONO INDIANS               3/2/2018                   Opioid Matter              UNDETERMINED
        ATTN: CHAIRPERSON, VICE CHAIPERSON, AND TRIBE
        ATTORNEY                                              ACCOUNT NO.:
        37387 AUBERRY MISSION ROAD                            NOT AVAILABLE
        AUBERRY, CA 93602



3.630   BIG VALLEY BAND OF POMO INDIANS OF THE BIG               2/13/2018                   Opioid Matter              UNDETERMINED
        VALLEY RANCHERIA
        ATTN: CHAIRMAN, VICE CHAIRMAN                         ACCOUNT NO.:
        2726 MISSION RANCHERIA ROAD                           NOT AVAILABLE
        LAKEPORT, CA 95453



3.631   BILLIE IVIE, INDIVIDUALLY AND AS NEXT FRIEND AND         6/16/2019                   Opioid Matter              UNDETERMINED
        GUARDIAN OF BABY A.I., ON BEHALF OF THEMSELVES
        AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
        ATTN: SPENCER R. DOODY                                NOT AVAILABLE
        MARTZELL, BICKFORD, & CENTOLA
        338 LAFAYETTE STREET
        NEW ORLEANS, LA 70130




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Code                                                 And Account Number                         Claim

Litigation

3.632   BILLIE IVIE, INDIVIDUALLY AND AS NEXT FRIEND AND         6/16/2019                   Opioid Matter              UNDETERMINED
        GUARDIAN OF BABY A.I., ON BEHALF OF THEMSELVES
        AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
        ATTN: DAVID R. BARNEY, JR.                            NOT AVAILABLE
        THOMPSON BARNEY LAW FIRM
        2030 KANAWHA BOULEVARD, EAST
        CHARLESTON, WV 25311



3.633   BILLIE IVIE, INDIVIDUALLY AND AS NEXT FRIEND AND         6/16/2019                   Opioid Matter              UNDETERMINED
        GUARDIAN OF BABY A.I., ON BEHALF OF THEMSELVES
        AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
        ATTN: STEPHEN WUSSOW                                  NOT AVAILABLE
        COOPER LAW FIRM
        1525 RELIGIOUS STREET
        NEW ORLEANS, LA 70130



3.634   BILLIE IVIE, INDIVIDUALLY AND AS NEXT FRIEND AND         6/16/2019                   Opioid Matter              UNDETERMINED
        GUARDIAN OF BABY A.I., ON BEHALF OF THEMSELVES
        AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
        ATTN: SPENCER R. DOODY                                NOT AVAILABLE
        MARTZELL, BICKFORD & CENTOLA
        338 LAFAYETTE STREET
        NEW ORLEANS, LA 70130



3.635   BILLIE IVIE, INDIVIDUALLY AND AS NEXT FRIEND AND         6/16/2019                   Opioid Matter              UNDETERMINED
        GUARDIAN OF BABY A.I., ON BEHALF OF THEMSELVES
        AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
        ATTN: KEVIN THOMPSON                                  NOT AVAILABLE
        THOMPSON BARNEY LAW FIRM
        2030 KANAWHA BOULEVARD, EAST
        CHARLESTON, WV 25311



3.636   BILLIE IVIE, INDIVIDUALLY AND AS NEXT FRIEND AND         6/16/2019                   Opioid Matter              UNDETERMINED
        GUARDIAN OF BABY A.I., ON BEHALF OF THEMSELVES
        AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
        ATTN: KEVIN W. THOMPSON, DAVID R. BARNEY, JR.         NOT AVAILABLE
        THOMPSON BARNEY LAW FIRM
        2030 KANAWHA BOULEVARD, EAST
        CHARLESTON, WV 25311



3.637   BILLIE IVIE, INDIVIDUALLY AND AS NEXT FRIEND AND         6/16/2019                   Opioid Matter              UNDETERMINED
        GUARDIAN OF BABY A.I., ON BEHALF OF THEMSELVES
        AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
        ATTN: SCOTT R. BICKFORD                               NOT AVAILABLE
        MARTZELL, BICKFORD & CENTOLA
        338 LAYFAYETTE STREET
        NEW ORLEANS, LA 70130



3.638   BILLIE IVIE, INDIVIDUALLY AND AS NEXT FRIEND AND         6/16/2019                   Opioid Matter              UNDETERMINED
        GUARDIAN OF BABY A.I., ON BEHALF OF THEMSELVES
        AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
        ATTN: KENT HARRISON ROBBINS                           NOT AVAILABLE
        THE LAW OFFICE OF KENT HARRISON ROBBINS, P.A.
        242 NORTHEAST 27TH STREET
        MIAMI, FL 33137




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Creditor's Name, Mailing Address Including Zip                 Date Claim Was Incurred     C U     D    Basis For      Offset   Amount of Claim
Code                                                            And Account Number                        Claim

Litigation

3.639   BILLIE IVIE, INDIVIDUALLY AND AS NEXT FRIEND AND                    6/16/2019                  Opioid Matter              UNDETERMINED
        GUARDIAN OF BABY A.I., ON BEHALF OF THEMSELVES
        AND ALL OTHERS SIMILARLY SITUATED                                 ACCOUNT NO.:
        ATTN: CELESTE BRUSTOWICZ, STEPHEN H. WUSSOW                       NOT AVAILABLE
        COOPER LAW FIRM, LLC
        1525 RELIGIOUS STREET
        NEW ORLEANS, LA 70130



3.640   BILLIE IVIE, INDIVIDUALLY AND AS NEXT FRIEND AND                    6/16/2019                  Opioid Matter              UNDETERMINED
        GUARDIAN OF BABY A.I., ON BEHALF OF THEMSELVES
        AND ALL OTHERS SIMILARLY SITUATED                                 ACCOUNT NO.:
        ATTN: DONALD E. CREADORE                                          NOT AVAILABLE
        CREADOR LAW FIRM
        450 SEVENTH AVENUE - SUITE 1408
        NEW YORK, NY 10123



3.641   BINGHAM COUNTY                                                      7/26/2019                  Opioid Matter              UNDETERMINED
        ATTN: CLERK & CHAIR, COUNTY COMMISSIONERS
        501 NORTH MAPLE                                                   ACCOUNT NO.:
        BLACKFOOT, ID 83221                                               NOT AVAILABLE



3.642   Bios Companies, Inc. as plan sponsor and fiduciary of Bios          10/9/2018                  Opioid Matter              UNDETERMINED
        Companies, Inc. Welfare Plan, all individually and on behalf of
        all others similarly situated                                     ACCOUNT NO.:
        Attn: Mark D. Spencer                                             NOT AVAILABLE
        McAfee & Taft, A Professional Corporation
        211 North Robinson - 10th Floor
        Oklahoma City, OK 73012



3.643   Bios Companies, Inc. as plan sponsor and fiduciary of Bios          10/9/2018                  Opioid Matter              UNDETERMINED
        Companies, Inc. Welfare Plan, all individually and on behalf of
        all others similarly situated                                     ACCOUNT NO.:
        Attn: Richard M. Nix                                              NOT AVAILABLE
        McAfee & Taft, A Professional Corporation
        211 North Robinson - 10th Floor
        Oklahoma City, OK 73012



3.644   Bios Companies, Inc. as plan sponsor and fiduciary of Bios          10/9/2018                  Opioid Matter              UNDETERMINED
        Companies, Inc. Welfare Plan, all individually and on behalf of
        all others similarly situated                                     ACCOUNT NO.:
        Attn: Henry D. Hoss                                               NOT AVAILABLE
        McAfee & Taft, A Professional Corporation
        211 North Robinson - 10th Floor
        Oklahoma City, OK 73012



3.645   Bios Companies, Inc. as plan sponsor and fiduciary of Bios          10/9/2018                  Opioid Matter              UNDETERMINED
        Companies, Inc. Welfare Plan, all individually and on behalf of
        all others similarly situated                                     ACCOUNT NO.:
        Attn: Brandon P. Long                                             NOT AVAILABLE
        McAfee & Taft, A Professional Corporation
        211 North Robinson - 10th Floor
        Oklahoma City, OK 73012




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Code                                                 And Account Number                         Claim

Litigation

3.646   BIOS COMPANIES, INC. WELFARE PLAN                        10/9/2018                   Opioid Matter              UNDETERMINED
        ATTN: CO-FOUNDER, PRESIDENT & CHIEF EXECUTIVE
        OFFICER AND CHIEF OPERATING OFFICER                   ACCOUNT NO.:
        BIOS HEADQUARTERS                                     NOT AVAILABLE
        309 EAST DEWEY AVENUE
        SAPULPA, OK 74066



3.647   BIOS COMPANIES, INC. WELFARE PLAN                        10/9/2018                   Opioid Matter              UNDETERMINED
        ATTN: REGISTERED AGENT, EDWARD W. MILLER
        309 EAST DEWEY                                        ACCOUNT NO.:
        SAPULPA, OK 74066                                     NOT AVAILABLE



3.648   BLACK HAWK COUNTY                                         3/8/2018                   Opioid Matter              UNDETERMINED
        ATTN: AUDITOR; CHAIR OF COUNTY SUPERVISORS
        316 EAST 5TH STREET                                   ACCOUNT NO.:
        ROOM 213                                              NOT AVAILABLE
        WATERLOO, IA 50703



3.649   BLACKFORD COUNTY, INDIANA                                11/20/2018                  Opioid Matter              UNDETERMINED
        ATTN: CURTIS T. HILL, JR.
        STATE OF INDIANA ATTORNEY GENERAL                     ACCOUNT NO.:
        INDIANA GOVERNMENT CENTER SOUTH - 5TH FLOOR -         NOT AVAILABLE
        302 WEST WASHINGTON STREET
        INDIANAPOLIS, IN 46204



3.650   BLACKFORD COUNTY, INDIANA                                11/20/2018                  Opioid Matter              UNDETERMINED
        ATTN: PRESIDENT, VICE PRESIDENT, COUNTY
        COMMISSIONERS                                         ACCOUNT NO.:
        BLACKFORD COUNTY COURTHOUSE                           NOT AVAILABLE
        110 WEST WASHINGTON STREET
        HARTFORD CITY, IN 47348



3.651   BLADEN COUNTY                                             6/5/2019                   Opioid Matter              UNDETERMINED
        201 EAST KING STREET
        ELIZABETHTOWN, NC 28337                               ACCOUNT NO.:
                                                              NOT AVAILABLE


3.652   BLADEN COUNTY                                             6/5/2019                   Opioid Matter              UNDETERMINED
        ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
        AND COUNTY MANAGER                                    ACCOUNT NO.:
        201 EAST KING STREET                                  NOT AVAILABLE
        ELIZABETHTOWN, NC 28337



3.653   BLAINE COUNTY                                            8/17/2018                   Opioid Matter              UNDETERMINED
        ATTN: CLERK - RECORDER
        206 SOUTH 1ST AVENUE                                  ACCOUNT NO.:
        SUITE 200                                             NOT AVAILABLE
        HAILEY, ID 83333



3.654   BLAND COUNTY, VIRGINIA                                   6/28/2018                   Opioid Matter              UNDETERMINED
        ATTN: COMMONWEALTH ATTORNEY
        654 MAIN STREET                                       ACCOUNT NO.:
        P.O. BOX 276                                          NOT AVAILABLE
        BLAND, VA 24315




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Code                                                 And Account Number                         Claim

Litigation

3.655   BLEDSOE COUNTY                                          UNKNOWN                      Opioid Matter              UNDETERMINED
        ATTN: MAYOR
        P.O. BOX 149                                          ACCOUNT NO.:
        PIKEVILLE, TN 37367                                   NOT AVAILABLE



3.656   BLEDSOE COUNTY                                          UNKNOWN                      Opioid Matter              UNDETERMINED
        ATTN: COUNTY CLERK
        P.O. BOX 212                                          ACCOUNT NO.:
        PIKEVILLE, TN 37367                                   NOT AVAILABLE



3.657   BLEDSOE COUNTY                                          UNKNOWN                      Opioid Matter              UNDETERMINED
        ATTN: COUNTY ATTORNEY
        119 MAIN STREET                                       ACCOUNT NO.:
        PIKEVILLE, TN 37367                                   NOT AVAILABLE



3.658   BLOUNT COUNTY                                            3/28/2018                   Opioid Matter              UNDETERMINED
        ATTN: BLOUNT COUNTY ADMINISTRATOR / CHIEF
        FINANCIAL OFFICER AND BLOUNT COUNTY                   ACCOUNT NO.:
        COMMISSIONERS CHAIRMAN                                NOT AVAILABLE
        220 2ND AVENUE, SUITE 106
        ONEONTA, AL 35121



3.659   BLOUNT COUNTY                                            3/28/2018                   Opioid Matter              UNDETERMINED
        ATTN: STEVE MARSHALL
        STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
        501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
        MONTGOMERY, AL 36130-0152



3.660   BLOUNT COUNTY, TENNESSEE                                 3/12/2019                   Opioid Matter              UNDETERMINED
        ATTN: COUNTY CLERK AND COUNTY ATTORNEY
        BLOUNT COUNTY COURTHOUSE                              ACCOUNT NO.:
        345 COURT STREET                                      NOT AVAILABLE
        MARYVILLE, TN 37804



3.661   BLUEFIELD HOSPITAL COMPANY, LLC                          4/29/2019                   Opioid Matter              UNDETERMINED
        ATTN: CHIEF EXECUTIVE OFFICER
        500 CHERRY STREET                                     ACCOUNT NO.:
        BLUEFIELD, WV 24701-3390                              NOT AVAILABLE



3.662   BLUEFIELD HOSPITAL COMPANY, LLC                          4/29/2019                   Opioid Matter              UNDETERMINED
        ATTN: MANAGER
        4000 MERIDIAN BLVD.                                   ACCOUNT NO.:
        FRANKLIN, TN 37067                                    NOT AVAILABLE



3.663   BLUEFIELD HOSPITAL COMPANY, LLC                          4/29/2019                   Opioid Matter              UNDETERMINED
        ATTN: CEO
        CORPORATION SERVICE COMPANY                           ACCOUNT NO.:
        209 WEST WASHINGTON STREET                            NOT AVAILABLE
        CHARLESTON, WV 25302




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Code                                                 And Account Number                         Claim

Litigation

3.664   BLUEFIELD HOSPITAL COMPANY, LLC                          4/29/2019                   Opioid Matter              UNDETERMINED
        ATTN: SECRETARY OF STATE
        STATE CAPITOL BUILDING                                ACCOUNT NO.:
        CHARLESTON, WV 25305                                  NOT AVAILABLE



3.665   BLUEFIELD HOSPITAL COMPANY, LLC                          4/29/2019                   Opioid Matter              UNDETERMINED
        ATTN: NOTICE OF PROCESS AGENT
        CORPORATION SERVICE COMPANY                           ACCOUNT NO.:
        209 WEST WASHINGTON STREET                            NOT AVAILABLE
        CHARLESTON, WV 25302



3.666   BLUEFIELD HOSPITAL COMPANY, LLC D/B/A BLUEFIELD          4/29/2019                   Opioid Matter              UNDETERMINED
        REGIONAL MEDICAL CENTER
        ATTN: DIR REV MANAGEMENT                              ACCOUNT NO.:
        500 CHERRY STREET                                     NOT AVAILABLE
        BLUEFIELD, WV 24701



3.667   BOARD COMMISSIONERS OF FULTON COUNTY, OHIO               6/13/2019                   Opioid Matter              UNDETERMINED
        ATTN: COUNTY ADMINISTRATOR
        152 S. FULTON ST.                                     ACCOUNT NO.:
        SUITE 270                                             NOT AVAILABLE
        WAUSEON, OH 43567



3.668   BOARD OF COMMISSIONERS FOR LUCAS COUNTY, OHIO            10/23/2018                  Opioid Matter              UNDETERMINED
        ATTN: COMMISSIONER
        ONE GOVERNMENT CENTER                                 ACCOUNT NO.:
        SUITE 800                                             NOT AVAILABLE
        TOLEDO, OH 43604



3.669   BOARD OF COMMISSIONERS FOR LUCAS COUNTY, OHIO            10/23/2018                  Opioid Matter              UNDETERMINED
        711 ADAMS STREET
        2ND FLOOR                                             ACCOUNT NO.:
        TOLEDO, OH 43604                                      NOT AVAILABLE



3.670   BOARD OF COMMISSIONERS FOR LUCAS COUNTY, OHIO            10/23/2018                  Opioid Matter              UNDETERMINED
        ONE GOVERNMENT CENTER
        TOLEDO, OH 43604                                      ACCOUNT NO.:
                                                              NOT AVAILABLE


3.671   BOARD OF COMMISSIONERS OF LEAVENWORTH                    6/14/2019                   Opioid Matter              UNDETERMINED
        COUNTY, KANSAS
        ATTN: CHAIR OF THE BOARD OF COMMISSIONERS             ACCOUNT NO.:
        300 WALNUT STREET                                     NOT AVAILABLE
        SUITE 225
        LEAVENWORTH, KS 66048



3.672   BOARD OF COMMISSIONERS OF LEAVENWORTH                    6/14/2019                   Opioid Matter              UNDETERMINED
        COUNTY, KANSAS
        300 WALNUT STREET, SUITE 105                          ACCOUNT NO.:
        LEAVENWORTH, KS 66048                                 NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.673   BOARD OF COMMISSIONERS OF LEAVENWORTH                    6/14/2019                   Opioid Matter              UNDETERMINED
        COUNTY, KANSAS
        300 WALNUT ST, SUITE 106                              ACCOUNT NO.:
        LEAVENWORTH, KS 66048                                 NOT AVAILABLE



3.674   BOARD OF COUNTY COMMISSIONERS                            1/14/2019                   Opioid Matter              UNDETERMINED
        TODD A. COURT
        MCAFEE & TAFT A PROFESSIONAL CORPORATION              ACCOUNT NO.:
        10TH FLOOR, TWO LEADERSHIP SQUARE - 211 NORTH         NOT AVAILABLE
        ROBINSON
        OKLAHOMA CITY, OK 73102-7103



3.675   BOARD OF COUNTY COMMISSIONERS                            1/14/2019                   Opioid Matter              UNDETERMINED
        TONY G. PUCKETT
        MCAFEE & TAFT A PROFESSIONAL CORPORATION              ACCOUNT NO.:
        10TH FLOOR, TWO LEADERSHIP SQUARE - 211 NORTH         NOT AVAILABLE
        ROBINSON
        OKLAHOMA CITY, OK 73102-7103



3.676   BOARD OF COUNTY COMMISSIONERS                            1/14/2019                   Opioid Matter              UNDETERMINED
        MATTHEW J.SILL
        MCAFEE & TAFT A PROFESSIONAL CORPORATION              ACCOUNT NO.:
        P.O. BOX 2448 - 1101 NORTH BROADWAY AVENUE.,          NOT AVAILABLE
        SUITE 102
        OKLAHOMA CITY, OK 73103



3.677   BOARD OF COUNTY COMMISSIONERS                            1/14/2019                   Opioid Matter              UNDETERMINED
        HARRISON C. LUJAN
        MCAFEE & TAFT A PROFESSIONAL CORPORATION              ACCOUNT NO.:
        P.O. BOX 2448 - 1101 NORTH BROADWAY AVENUE.,          NOT AVAILABLE
        SUITE 102
        OKLAHOMA CITY, OK 73103



3.678   BOARD OF COUNTY COMMISSIONERS                            1/14/2019                   Opioid Matter              UNDETERMINED
        ATTN: ALEX YAFFE
        MCAFEE & TAFT A PROFESSIONAL CORPORATION              ACCOUNT NO.:
        P.O. BOX 2448 - 1101 NORTH BROADWAY AVENUE.,          NOT AVAILABLE
        SUITE 102
        OKLAHOMA CITY, OK 73103



3.679   BOARD OF COUNTY COMMISSIONERS FOR SAN MIGUEL             12/28/2018                  Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: COUNTY COMMISSION CHAIR, COUNTY MANAGER         ACCOUNT NO.:
        500 WEST NATION AVENUE SUITE 200                      NOT AVAILABLE
        LAS VEGAS, NM 87701



3.680   BOARD OF COUNTY COMMISSIONERS FOR SAN MIGUEL             12/28/2018                  Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: COUNTY CLERK                                    ACCOUNT NO.:
        500 WEST NATIONAL AVENUE SUITE 113                    NOT AVAILABLE
        LAS VEGAS, NM 87701




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.681   BOARD OF COUNTY COMMISSIONERS FOR SAN MIGUEL             12/28/2018                  Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: HECTOR BALDERAS                                 ACCOUNT NO.:
        STATE OF NEW MEXICO ATTORNEY GENERAL                  NOT AVAILABLE
        P.O. DRAWER 1508
        SANTA FE, NM 87504-1508



3.682   BOARD OF COUNTY COMMISSIONERS OF ATOKA                   2/25/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: CHAIRMAN COUNTY COMMISSIONER AND COUNTY         ACCOUNT NO.:
        CLERK                                                 NOT AVAILABLE
        200 E COURT STREET
        SUITE 201
        ATOKA, OK 74525-2056



3.683   BOARD OF COUNTY COMMISSIONERS OF ATOKA                   2/25/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        TONY G. PUCKETT                                       ACCOUNT NO.:
        MACAFEE AND TAFT                                      NOT AVAILABLE
        TWO LEADERSHIP SQUARE, 10TH FLOOR - 211 NORTH
        ROBINSON
        OKLAHOMA CITY, OK 73102



3.684   BOARD OF COUNTY COMMISSIONERS OF ATOKA                   2/25/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        SILL, MATTHEW J.                                      ACCOUNT NO.:
        FULMER SILL                                           NOT AVAILABLE
        P.O. BOX 2448 - 1101 N. BROADWAY AVE, SUITE 102
        OKLAHOMA CITY, OK 73103



3.685   BOARD OF COUNTY COMMISSIONERS OF CADDO                   1/14/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: CHAIRPERSON, CADDO COUNTY COMMISSIONERS         ACCOUNT NO.:
        AND COUNTY CLERK                                      NOT AVAILABLE
        P.O. BOX 1427
        COUNTY COURTHOUSE
        ANADARKO, OK 73005-1427



3.686   BOARD OF COUNTY COMMISSIONERS OF CHEROKEE                 4/5/2018                   Opioid Matter              UNDETERMINED
        COUNTY, KANSAS
        ATTN: CHAIR OF THE BOARD OF COUNTY                    ACCOUNT NO.:
        COMMISSIONERS                                         NOT AVAILABLE
        CHEROKEE COUNTY COURTHOUSE
        110 WEST MAPLE STREET
        COLUMBUS, KS 66725



3.687   BOARD OF COUNTY COMMISSIONERS OF CHEROKEE                 4/5/2018                   Opioid Matter              UNDETERMINED
        COUNTY, KANSAS
        ATTN: COUNTY TREASURER                                ACCOUNT NO.:
        CHEROKEE COUNTY COURTHOUSE                            NOT AVAILABLE
        110 WEST MAPLE STREET, ROOM 144 - P.O. BOX 149
        COLUMBUS, KS 66725




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.688   BOARD OF COUNTY COMMISSIONERS OF CHEROKEE                 4/5/2018                   Opioid Matter              UNDETERMINED
        COUNTY, KANSAS
        ATTN: CHEROKEE COUNTY CLERK                           ACCOUNT NO.:
        CHEROKEE COUNTY COURTHOUSE                            NOT AVAILABLE
        110 WEST MAPLE STREET - P.O. BOX 14
        COLUMBUS, KS 66725



3.689   BOARD OF COUNTY COMMISSIONERS OF CIMARRON                2/25/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: COUNTY COMMISSIONER, CHAIRMAN                   ACCOUNT NO.:
        1 COURTHOUSE SQUARE                                   NOT AVAILABLE
        BOISE CITY, OK 73933



3.690   BOARD OF COUNTY COMMISSIONERS OF CIMARRON                2/25/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: COUNTY CLERK                                    ACCOUNT NO.:
        PO BOX 145                                            NOT AVAILABLE
        COUNTY COURTHOUSE
        BOISE CITY, OK 73933-0145



3.691   BOARD OF COUNTY COMMISSIONERS OF CIMARRON                2/25/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: COUNTY CLERK                                    ACCOUNT NO.:
        P.O. BOX 145                                          NOT AVAILABLE
        COUNTY COURTHOUSE
        BOISE CITY, OK 73933-0145



3.692   BOARD OF COUNTY COMMISSIONERS OF CIMARRON                2/25/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        SILL, MATTHEW J.                                      ACCOUNT NO.:
        FULMER SILL                                           NOT AVAILABLE
        P.O. BOX 2448 - 1101 N. BROADWAY AVE, SUITE 102
        OKLAHOMA CITY, OK 73103



3.693   BOARD OF COUNTY COMMISSIONERS OF CIMARRON                2/25/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        TONY G. PUCKETT                                       ACCOUNT NO.:
        MACAFEE AND TAFT                                      NOT AVAILABLE
        TWO LEADERSHIP SQUARE, 10TH FLOOR - 211 NORTH
        ROBINSON
        OKLAHOMA CITY, OK 73102



3.694   BOARD OF COUNTY COMMISSIONERS OF CLEVELAND              UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: COUNTY COMMISSIONERS                            ACCOUNT NO.:
        201 SOUTH JONES AVENUE                                NOT AVAILABLE
        SUITE 260
        NORMAN, OK 73069



3.695   BOARD OF COUNTY COMMISSIONERS OF CLEVELAND              UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: COUNTY CLERK                                    ACCOUNT NO.:
        201 SOUTH JONES AVENUE                                NOT AVAILABLE
        SUITE 210
        NORMAN, OK 73069




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.696   BOARD OF COUNTY COMMISSIONERS OF CLEVELAND              UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: ROBERT S. LAFFERRANDRE                          ACCOUNT NO.:
        PIERCE COUCH HENDRICKSON BAYSINGER & GREEN,           NOT AVAILABLE
        L.L.P
        1109 NORTH FRANCIS AVENUE
        OKLAHOMA CITY, OK 73106



3.697   BOARD OF COUNTY COMMISSIONERS OF CLEVELAND              UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: RANDALL J. WOOD                                 ACCOUNT NO.:
        PIERCE COUCH HENDRICKSON BAYSINGER & GREEN,           NOT AVAILABLE
        L.L.P
        1109 NORTH FRANCIS AVENUE
        OKLAHOMA CITY, OK 73106



3.698   BOARD OF COUNTY COMMISSIONERS OF CLEVELAND              UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: JESSICA L. DARK                                 ACCOUNT NO.:
        PIERCE COUCH HENDRICKSON BAYSINGER & GREEN,           NOT AVAILABLE
        L.L.P
        1109 NORTH FRANCIS AVENUE
        OKLAHOMA CITY, OK 73106



3.699   BOARD OF COUNTY COMMISSIONERS OF CLEVELAND              UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: BOARD OF COMMISIONERS AND COUNTY CLERK          ACCOUNT NO.:
        201 SOUTH JONES                                       NOT AVAILABLE
        SUITE 210
        NORMAN, OK 73069



3.700   BOARD OF COUNTY COMMISSIONERS OF COAL COUNTY            UNKNOWN                      Opioid Matter              UNDETERMINED
        ATTN: COUNTY CLERK
        COUNTY COURTHOUSE                                     ACCOUNT NO.:
        4 NORTH MAIN, SUITE 1                                 NOT AVAILABLE
        COALGATE, OK 74538-2844



3.701   BOARD OF COUNTY COMMISSIONERS OF COAL COUNTY            UNKNOWN                      Opioid Matter              UNDETERMINED
        ATTN: COUNTY COMMISSIONERS
        4 NORTH MAIN                                          ACCOUNT NO.:
        SUITE 3                                               NOT AVAILABLE
        COALGATE, OK 74538



3.702   BOARD OF COUNTY COMMISSIONERS OF COAL COUNTY            UNKNOWN                      Opioid Matter              UNDETERMINED
        ATTN: COUNTY COMMISSIONERS
        5 WEST CLAY                                           ACCOUNT NO.:
        COALGATE, OK 74538                                    NOT AVAILABLE



3.703   BOARD OF COUNTY COMMISSIONERS OF COAL COUNTY            UNKNOWN                      Opioid Matter              UNDETERMINED
        MATTHEW J. SILL
        FULMER SILL LAW GROUP                                 ACCOUNT NO.:
        P.O. BOX 2448 - 1101 NORTH BROADWAY AVENUE, SUITE     NOT AVAILABLE
        102
        OKLAHOMA CITY, OK 73103




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.704   BOARD OF COUNTY COMMISSIONERS OF COAL COUNTY            UNKNOWN                      Opioid Matter              UNDETERMINED
        HARRISON C. LUJAN
        FULMER SILL LAW GROUP                                 ACCOUNT NO.:
        P.O. BOX 2448 - 1101 NORTH BROADWAY AVENUE, SUITE     NOT AVAILABLE
        102
        OKLAHOMA CITY, OK 73103



3.705   BOARD OF COUNTY COMMISSIONERS OF COAL COUNTY            UNKNOWN                      Opioid Matter              UNDETERMINED
        TONY G. PUCKETT
        MCAFEE & TAFT A PROFESSIONAL CORPORATION              ACCOUNT NO.:
        10TH FLOOR, TWO LEADERSHIP SQUARE - 211 NORTH         NOT AVAILABLE
        ROBINSON
        OKLAHOMA CITY, OK 73102-7103



3.706   BOARD OF COUNTY COMMISSIONERS OF COAL COUNTY            UNKNOWN                      Opioid Matter              UNDETERMINED
        TODD A. COURT
        MCAFEE & TAFT A PROFESSIONAL CORPORATION              ACCOUNT NO.:
        10TH FLOOR, TWO LEADERSHIP SQUARE - 211 NORTH         NOT AVAILABLE
        ROBINSON
        OKLAHOMA CITY, OK 73102-7103



3.707   BOARD OF COUNTY COMMISSIONERS OF COUNTY OF               1/11/2019                   Opioid Matter              UNDETERMINED
        LARIMER
        ATTN: COUNTY CLERK AND RECORDER                       ACCOUNT NO.:
        PO BOX 1280                                           NOT AVAILABLE
        FORT COLLINS, CO 80522



3.708   BOARD OF COUNTY COMMISSIONERS OF COUNTY OF               1/11/2019                   Opioid Matter              UNDETERMINED
        LARIMER
        ATTN: LARIMER COUNTY COMMISSIONERS                    ACCOUNT NO.:
        PO BOX 1190                                           NOT AVAILABLE
        FORT COLLINS, CO 80522



3.709   BOARD OF COUNTY COMMISSIONERS OF COUNTY OF               1/11/2019                   Opioid Matter              UNDETERMINED
        LARIMER
        ATTN: LARIMER COUNTY SHERIFF                          ACCOUNT NO.:
        2501 MIDPOINT DRIVE                                   NOT AVAILABLE
        FORT COLLINS, CO 80525



3.710   BOARD OF COUNTY COMMISSIONERS OF COWLEY                  7/13/2018                   Opioid Matter              UNDETERMINED
        COUNTY, KANSAS
        ATTN: CHAIR OF THE COUNTY COMMISSIONERS               ACCOUNT NO.:
        COWLEY COUNTY COURTHOUSE                              NOT AVAILABLE
        311 EAST 9TH AVENUE
        WINFIELD, KS 67156-2843



3.711   BOARD OF COUNTY COMMISSIONERS OF COWLEY                  7/13/2018                   Opioid Matter              UNDETERMINED
        COUNTY, KANSAS
        321 EAST 10TH AVENUE                                  ACCOUNT NO.:
        WINFIELD, KS 67156                                    NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.712   BOARD OF COUNTY COMMISSIONERS OF CRAWFORD                5/11/2018                   Opioid Matter              UNDETERMINED
        COUNTY, KANSAS
        COUNTY COURTHOUSE                                     ACCOUNT NO.:
        PO BOX 96                                             NOT AVAILABLE
        GIRARD, KS 66743



3.713   BOARD OF COUNTY COMMISSIONERS OF CRAWFORD                5/11/2018                   Opioid Matter              UNDETERMINED
        COUNTY, KANSAS
        ATTN: COUNTY CLERK; CHAIR OF THE BOARD OF             ACCOUNT NO.:
        COUNTY COMMISSIONERS                                  NOT AVAILABLE
        COUNTY COURTHOUSE
        PO BOX 249
        GIRARD, KS 66743



3.714   BOARD OF COUNTY COMMISSIONERS OF FINNEY                   6/6/2019                   Opioid Matter              UNDETERMINED
        COUNTY, KANSAS AND THOMAS BURGARDT, FINNEY
        COUNTY COUNSELOR                                      ACCOUNT NO.:
        ATTN: CHAIR OF COUNTY COMMISSIONERS; COUNTY           NOT AVAILABLE
        CLERK; TREASURER
        311 NORTH 9TH STREET
        P.O. BOX M
        GARDEN CITY, KS 67846



3.715   BOARD OF COUNTY COMMISSIONERS OF GRADY                   1/14/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: GRADY COUNTY COMMISSIONER                       ACCOUNT NO.:
        4248 COUNTY STREET 2820                               NOT AVAILABLE
        RUSH SPRINGS, OK 73082



3.716   BOARD OF COUNTY COMMISSIONERS OF GRADY                   1/14/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: COUNTY CLERK                                    ACCOUNT NO.:
        P.O. BOX 1009                                         NOT AVAILABLE
        CHICKASHA, OK 73023



3.717   BOARD OF COUNTY COMMISSIONERS OF GRADY                   1/14/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        HARRISON C. LUJAN                                     ACCOUNT NO.:
        FULMER SILL LAW GROUP                                 NOT AVAILABLE
        P.O. BOX 2448 - 1101 N. BROADWAY AVE, SUITE 102
        OKLAHOMA CITY, OK 73103



3.718   BOARD OF COUNTY COMMISSIONERS OF GRADY                   1/14/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        MATTHEW J. SILL                                       ACCOUNT NO.:
        FULMER SILL LAW GROUP                                 NOT AVAILABLE
        P.O. BOX 2448 - 1101 N. BROADWAY AVE, SUITE 102
        OKLAHOMA CITY, OK 73103



3.719   BOARD OF COUNTY COMMISSIONERS OF GRADY                   1/14/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        TONY G. PUCKETT                                       ACCOUNT NO.:
        MACAFEE AND TAFT                                      NOT AVAILABLE
        TWO LEADERSHIP SQUARE, 10TH FLOOR
        OKLAHOMA CITY, OK 73102-7103




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.720   BOARD OF COUNTY COMMISSIONERS OF GRADY                   1/14/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        TODD A. COURT                                         ACCOUNT NO.:
        MACAFEE AND TAFT                                      NOT AVAILABLE
        TWO LEADERSHIP SQUARE, 10TH FLOOR
        OKLAHOMA CITY, OK 73102-7103



3.721   BOARD OF COUNTY COMMISSIONERS OF GREER                  UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: COUNTY COMMISSIONERS; COUNTY CLERK              ACCOUNT NO.:
        106 EAST JEFFERSON STREET                             NOT AVAILABLE
        P.O. BOX 207
        MANGUM, OK 73554



3.722   BOARD OF COUNTY COMMISSIONERS OF GREER                  UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: BOARD OF COMMISSIONERS AND COUNTY CLERK         ACCOUNT NO.:
        106 EAST JEFFERSON, 2ND FLOOR                         NOT AVAILABLE
        MANGUM, OK 73554



3.723   BOARD OF COUNTY COMMISSIONERS OF GREER                  UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: TONY G. PUCKETT                                 ACCOUNT NO.:
        MCAFEE& TAFT A PROFESSIONAL CORPORATION               NOT AVAILABLE
        TWO LEADERSHIP SQUARE, 10TH FLOOR - 211 NORTH
        ROBINSON
        OKLAHOMA CITY, OK 73102-7103



3.724   BOARD OF COUNTY COMMISSIONERS OF GREER                  UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: TODD A. COURT                                   ACCOUNT NO.:
        MCAFEE& TAFT A PROFESSIONAL CORPORATION               NOT AVAILABLE
        TWO LEADERSHIP SQUARE, 10TH FLOOR - 211 NORTH
        ROBINSON
        OKLAHOMA CITY, OK 73102-7103



3.725   BOARD OF COUNTY COMMISSIONERS OF GREER                  UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: MATTHEW J. SILL                                 ACCOUNT NO.:
        FULMER SILL LAW GROUP                                 NOT AVAILABLE
        1101 NORTH BROADWAY AVENUE, SUITE 102 - PO BOX
        2448
        OKLAHOMA CITY, OK 73103



3.726   BOARD OF COUNTY COMMISSIONERS OF GREER                  UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: HARRISON C. LUJAN                               ACCOUNT NO.:
        FULMER SILL LAW GROUP                                 NOT AVAILABLE
        1101 NORTH BROADWAY AVENUE, SUITE 102 - PO BOX
        2448
        OKLAHOMA CITY, OK 73103




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.727   BOARD OF COUNTY COMMISSIONERS OF HARPER                  2/22/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        TONY G. PUCKETT                                       ACCOUNT NO.:
        MACAFEE AND TAFT                                      NOT AVAILABLE
        TWO LEADERSHIP SQUARE, 10TH FLOOR - 211 NORTH
        ROBINSON
        OKLAHOMA CITY, OK 73102



3.728   BOARD OF COUNTY COMMISSIONERS OF HARPER                  2/22/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        SILL, MATTHEW J.                                      ACCOUNT NO.:
        FULMER SILL                                           NOT AVAILABLE
        P.O. BOX 2448 - 1101 N. BROADWAY AVE, SUITE 102
        OKLAHOMA CITY, OK 73103



3.729   BOARD OF COUNTY COMMISSIONERS OF HARPER                  2/22/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: COMMISSIONER, HARPER COUNTY AND COUNTY          ACCOUNT NO.:
        CLERK                                                 NOT AVAILABLE
        PO BOX 369
        COUNTY COURTHOUSE
        BUFFALO, OK 73834-0369



3.730   BOARD OF COUNTY COMMISSIONERS OF HASKELL                 2/25/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: COUNTY COMMISSIONER, CHAIRMAN AND               ACCOUNT NO.:
        COUNTY CLERK                                          NOT AVAILABLE
        202 E MAIN STREET
        COUNTY COURTHOUSE
        STIGLER, OK 74462-2439



3.731   BOARD OF COUNTY COMMISSIONERS OF HASKELL                 2/25/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        TONY G. PUCKETT                                       ACCOUNT NO.:
        MACAFEE AND TAFT                                      NOT AVAILABLE
        TWO LEADERSHIP SQUARE, 10TH FLOOR - 211 NORTH
        ROBINSON
        OKLAHOMA CITY, OK 73102



3.732   BOARD OF COUNTY COMMISSIONERS OF HASKELL                 2/25/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        SILL, MATTHEW J.                                      ACCOUNT NO.:
        FULMER SILL                                           NOT AVAILABLE
        P.O. BOX 2448 - 1101 N. BROADWAY AVE, SUITE 102
        OKLAHOMA CITY, OK 73103



3.733   BOARD OF COUNTY COMMISSIONERS OF HUGHES                 UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: COUNTY CLERK                                    ACCOUNT NO.:
        200 N BROADWAY ST                                     NOT AVAILABLE
        SUITE 10
        HOLDENVILLE, OK 74848




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.734   BOARD OF COUNTY COMMISSIONERS OF HUGHES                 UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: BRADLEY C. WEST                                 ACCOUNT NO.:
        THE WEST LAW FIRM                                     NOT AVAILABLE
        124 WEST HIGHLAND - PO BOX 699
        SHAWNEE, OK 74802-0698



3.735   BOARD OF COUNTY COMMISSIONERS OF HUGHES                 UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: MATTHEW J. SILL                                 ACCOUNT NO.:
        FULMER SILL LAW GROUP                                 NOT AVAILABLE
        1101 NORTH BROADWAY AVENUE, SUITE 102 - PO BOX
        2448
        OKLAHOMA CITY, OK 73103



3.736   BOARD OF COUNTY COMMISSIONERS OF HUGHES                 UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: TERRY W. WEST                                   ACCOUNT NO.:
        THE WEST LAW FIRM                                     NOT AVAILABLE
        124 WEST HIGHLAND - PO BOX 698
        SHAWNEE, OK 74802-0698



3.737   BOARD OF COUNTY COMMISSIONERS OF HUGHES                 UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: GEORGE GIBBS                                    ACCOUNT NO.:
        GIBBS ARMSTRONG BOROCHOFF, P.C.                       NOT AVAILABLE
        601 SOUTH BOULDER AVENUE - SUITE 500
        TULSA, OK 74119



3.738   BOARD OF COUNTY COMMISSIONERS OF HUGHES                 UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: HARRISON C. LUJAN                               ACCOUNT NO.:
        FULMER SILL LAW GROUP                                 NOT AVAILABLE
        1101 NORTH BROADWAY AVENUE, SUITE 102 - PO BOX
        2448
        OKLAHOMA CITY, OK 73103



3.739   BOARD OF COUNTY COMMISSIONERS OF HUGHES                 UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: TODD A. COURT                                   ACCOUNT NO.:
        MCAFEE& TAFT A PROFESSIONAL CORPORATION               NOT AVAILABLE
        TWO LEADERSHIP SQUARE, 10TH FLOOR - 211 NORTH
        ROBINSON
        OKLAHOMA CITY, OK 73102-7103



3.740   BOARD OF COUNTY COMMISSIONERS OF HUGHES                 UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: TONY G. PUCKETT                                 ACCOUNT NO.:
        MCAFEE& TAFT A PROFESSIONAL CORPORATION               NOT AVAILABLE
        TWO LEADERSHIP SQUARE, 10TH FLOOR - 211 NORTH
        ROBINSON
        OKLAHOMA CITY, OK 73102-7103




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.741   BOARD OF COUNTY COMMISSIONERS OF HUGHES                 UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: BOARD OF COMMISSIONERS AND COUNTY CLERK         ACCOUNT NO.:
        200 N BROADWAY STREET                                 NOT AVAILABLE
        COUNTY COURTHOUSE
        HOLDENVILLE, OK 74848-3402



3.742   BOARD OF COUNTY COMMISSIONERS OF JACKSON                UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: COUNTY CLERK                                    ACCOUNT NO.:
        JACKSON COUNTY COURTHOUSE                             NOT AVAILABLE
        P.O. BOX 515
        ALTUS, OK 73522



3.743   BOARD OF COUNTY COMMISSIONERS OF JACKSON                UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: HARRISON C. LUJAN                               ACCOUNT NO.:
        FULMER SILL LAW GROUP                                 NOT AVAILABLE
        1101 NORTH BROADWAY AVENUE, SUITE 102 - PO BOX
        2448
        OKLAHOMA CITY, OK 73103



3.744   BOARD OF COUNTY COMMISSIONERS OF JACKSON                UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: PATRICK O'HARA JR.                              ACCOUNT NO.:
        TISDALE & O'HARA, PLLC                                NOT AVAILABLE
        13808 WIRELESS WAY
        OKLAHOMA CITY, OK 73134



3.745   BOARD OF COUNTY COMMISSIONERS OF JACKSON                UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: TONY G. PUCKETT                                 ACCOUNT NO.:
        MCAFEE& TAFT A PROFESSIONAL CORPORATION               NOT AVAILABLE
        TWO LEADERSHIP SQUARE, 10TH FLOOR - 211 NORTH
        ROBINSON
        OKLAHOMA CITY, OK 73102-7103



3.746   BOARD OF COUNTY COMMISSIONERS OF JACKSON                UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: TODD A. COURT                                   ACCOUNT NO.:
        MCAFEE& TAFT A PROFESSIONAL CORPORATION               NOT AVAILABLE
        TWO LEADERSHIP SQUARE, 10TH FLOOR - 211 NORTH
        ROBINSON
        OKLAHOMA CITY, OK 73102-7103



3.747   BOARD OF COUNTY COMMISSIONERS OF JACKSON                UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: BOARD OF COMMISSIONERS AND COUNTY CLERK         ACCOUNT NO.:
        101 NORTH MAIN                                        NOT AVAILABLE
        ROOM 101
        ALTUS, OK 73521




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.748   BOARD OF COUNTY COMMISSIONERS OF JACKSON                UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: MATTHEW J. SILL                                 ACCOUNT NO.:
        FULMER SILL LAW GROUP                                 NOT AVAILABLE
        1101 NORTH BROADWAY AVENUE, SUITE 102 - PO BOX
        2448
        OKLAHOMA CITY, OK 73103



3.749   BOARD OF COUNTY COMMISSIONERS OF JEFFERSON               1/14/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: COMMISSIONER, JEFFERSON COUNTY AND              ACCOUNT NO.:
        COUNTY CLERK                                          NOT AVAILABLE
        220 N MAIN STREET
        ROOM 101
        WAURIKA, OK 73573-2235



3.750   BOARD OF COUNTY COMMISSIONERS OF JEFFERSON               1/14/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        MATTHEW J. SILL                                       ACCOUNT NO.:
        FULMER SILL                                           NOT AVAILABLE
        PO BOX 2448 - 1101 NORTH BROADWAY AVENUE, SUITE
        102
        OKLAHOMA CITY, OK 73103



3.751   BOARD OF COUNTY COMMISSIONERS OF JEFFERSON               1/14/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        TODD A. COURT                                         ACCOUNT NO.:
        MCAFEE & TAFT, A PROFESSIONAL CORPORATION             NOT AVAILABLE
        10TH FLOOR, TWO LEADERSHIP SQUARE - 211 NORTH
        ROBINSON
        OKLAHOMA CITY, OK 73102-7103



3.752   BOARD OF COUNTY COMMISSIONERS OF JEFFERSON               1/14/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        TONY G. PUCKETT                                       ACCOUNT NO.:
        MCAFEE & TAFT, A PROFESSIONAL CORPORATION             NOT AVAILABLE
        10TH FLOOR, TWO LEADERSHIP SQUARE - 211 NORTH
        ROBINSON
        OKLAHOMA CITY, OK 73102-7103



3.753   BOARD OF COUNTY COMMISSIONERS OF JEFFERSON               1/14/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        HARRISON C. LUJAN                                     ACCOUNT NO.:
        FULMER SILL                                           NOT AVAILABLE
        PO BOX 2448 - 1101 NORTH BROADWAY AVENUE, SUITE
        102
        OKLAHOMA CITY, OK 73103



3.754   BOARD OF COUNTY COMMISSIONERS OF JOHNSTON                2/22/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        HARRISON C. LUJAN                                     ACCOUNT NO.:
        FULMER SILL LAW GROUP                                 NOT AVAILABLE
        P.O. BOX 2448 - 1101 NORTH BROADWAY AVENUE, SUITE
        102
        OKLAHOMA CITY, OK 73103




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.755   BOARD OF COUNTY COMMISSIONERS OF JOHNSTON                2/22/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: BOARD OF COMMISSIONERS                          ACCOUNT NO.:
        403 WEST MAIN STREET                                  NOT AVAILABLE
        COUNTY COURTHOUSE
        TISHOMINGO, OK 73460-1753



3.756   BOARD OF COUNTY COMMISSIONERS OF JOHNSTON                2/22/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        MATTHEW J. SILL                                       ACCOUNT NO.:
        FULMER SILL LAW GROUP                                 NOT AVAILABLE
        P.O. BOX 2448 - 1101 NORTH BROADWAY AVENUE, SUITE
        102
        OKLAHOMA CITY, OK 73103



3.757   BOARD OF COUNTY COMMISSIONERS OF JOHNSTON                2/22/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: ALEX YAFFE                                      ACCOUNT NO.:
        FULMER SILL LAW GROUP                                 NOT AVAILABLE
        P.O. BOX 2448 - 1101 NORTH BROADWAY AVENUE, SUITE
        102
        OKLAHOMA CITY, OK 73103



3.758   BOARD OF COUNTY COMMISSIONERS OF JOHNSTON                2/22/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        TONY G. PUCKETT                                       ACCOUNT NO.:
        MCAFEE & TAFT A PROFESSIONAL CORPORATION              NOT AVAILABLE
        10TH FLOOR, TWO LEADERSHIP SQUARE - 211 NORTH
        ROBINSON
        OKLAHOMA CITY, OK 73102-7103



3.759   BOARD OF COUNTY COMMISSIONERS OF JOHNSTON                2/22/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        TODD A. COURT                                         ACCOUNT NO.:
        MCAFEE & TAFT A PROFESSIONAL CORPORATION              NOT AVAILABLE
        10TH FLOOR, TWO LEADERSHIP SQUARE - 211 NORTH
        ROBINSON
        OKLAHOMA CITY, OK 73102-7103



3.760   BOARD OF COUNTY COMMISSIONERS OF KAY COUNTY              3/11/2019                   Opioid Matter              UNDETERMINED
        ATTN: KAY COUNTY COMMISSIONER
        2026 E COLEMAN ROAD                                   ACCOUNT NO.:
        PONCA CITY, OK 74604                                  NOT AVAILABLE



3.761   BOARD OF COUNTY COMMISSIONERS OF KAY COUNTY              3/11/2019                   Opioid Matter              UNDETERMINED
        ATTN: COUNTY CLERK
        201 S MAIN STREET                                     ACCOUNT NO.:
        NEWKIRK, OK 74647                                     NOT AVAILABLE



3.762   BOARD OF COUNTY COMMISSIONERS OF LATIMER                 2/25/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: COUNTY COMMISSIONER AND COUNTY CLERK            ACCOUNT NO.:
        109 NORTH CENTRAL                                     NOT AVAILABLE
        COUNTY COURTHOUSE
        WILBURTON, OK 74578




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                         Claim

Litigation

3.763   BOARD OF COUNTY COMMISSIONERS OF LATIMER                  2/25/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        TODD A. COURT                                          ACCOUNT NO.:
        MCAFEE & TAFT A PROFESSIONAL CORPORATION               NOT AVAILABLE
        10TH FLOOR, TWO LEADERSHIP SQUARE - 211 NORTH
        ROBINSON
        OKLAHOMA CITY, OK 73102



3.764   BOARD OF COUNTY COMMISSIONERS OF LATIMER                  2/25/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        TONY G. PUCKET                                         ACCOUNT NO.:
        MCAFEE & TAFT A PROFESSIONAL CORPORATION               NOT AVAILABLE
        10TH FLOOR, TWO LEADERSHIP SQUARE - 211 NORTH
        ROBINSON
        OKLAHOMA CITY, OK 73102



3.765   BOARD OF COUNTY COMMISSIONERS OF LATIMER                  2/25/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        HARRISON C. LUJAN                                      ACCOUNT NO.:
        FULMER SILL                                            NOT AVAILABLE
        P. O. BOX 2448 - 1101 N. BROADWAY AVE., SUITE 102
        OKLAHOMA CITY, OK 73103



3.766   BOARD OF COUNTY COMMISSIONERS OF LATIMER                  2/25/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        MATTHEW J.SILL                                         ACCOUNT NO.:
        FULMER SILL                                            NOT AVAILABLE
        P. O. BOX 2448 - 1101 NORTH BROADWAY AVENUE.,
        SUITE 102
        OKLAHOMA CITY, OK 73103



3.767   BOARD OF COUNTY COMMISSIONERS OF LATIMER                  2/25/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        MATTHEW J.SILL                                         ACCOUNT NO.:
        FULMER SILL                                            NOT AVAILABLE
        P. O. BOX 2448 - 1101 N. BROADWAY AVE., SUITE 102
        OKLAHOMA CITY, OK 73103



3.768   BOARD OF COUNTY COMMISSIONERS OF LATIMER                  2/25/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: ALEX YAFFE                                       ACCOUNT NO.:
        FULMER SILL                                            NOT AVAILABLE
        P. O. BOX 2448 - 1101 N. BROADWAY AVE., SUITE 102
        OKLAHOMA CITY, OK 73103



3.769   BOARD OF COUNTY COMMISSIONERS OF LEFLORE                 UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: COUNTY CLERK                                     ACCOUNT NO.:
        LEFLORE COUNTY COURTHOUSE                              NOT AVAILABLE
        P.O. BOX 218 - 100 SOUTH BROADWAY STREET
        POTEAU, OK 74953




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.770   BOARD OF COUNTY COMMISSIONERS OF LEFLORE                UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: COUNTY CLERK, AND COUNTY COMMISSIONERS          ACCOUNT NO.:
        COUNTY COURTHOUSE                                     NOT AVAILABLE
        P.O. BOX 607
        POTEAU, OK 74953-0607



3.771   BOARD OF COUNTY COMMISSIONERS OF LEFLORE                UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: COUNTY COMMISSIONERS                            ACCOUNT NO.:
        P.O. BOX 607                                          NOT AVAILABLE
        COUNTY COURTHOUSE - 100 SOUTH BROADWAY STREET
        POTEAU, OK 74953-0607



3.772   BOARD OF COUNTY COMMISSIONERS OF LEFLORE                UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: HARRISON C. LUJAN                               ACCOUNT NO.:
        FULMER SILL LAW GROUP                                 NOT AVAILABLE
        1101 NORTH BROADWAY AVENUE, SUITE 102 - PO BOX
        2448
        OKLAHOMA CITY, OK 73103



3.773   BOARD OF COUNTY COMMISSIONERS OF LEFLORE                UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: BOARD OF COMMISSIONERS AND COUNTY CLERK         ACCOUNT NO.:
        PO BOX 607                                            NOT AVAILABLE
        COUNTY COURTHOUSE
        POTEAU, OK 74953-0607



3.774   BOARD OF COUNTY COMMISSIONERS OF LEFLORE                UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: MATTHEW J. SILL                                 ACCOUNT NO.:
        FULMER SILL LAW GROUP                                 NOT AVAILABLE
        1101 NORTH BROADWAY AVENUE, SUITE 102 - PO BOX
        2448
        OKLAHOMA CITY, OK 73103



3.775   BOARD OF COUNTY COMMISSIONERS OF LEFLORE                UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: TONY G. PUCKETT                                 ACCOUNT NO.:
        MCAFEE& TAFT A PROFESSIONAL CORPORATION               NOT AVAILABLE
        TWO LEADERSHIP SQUARE, 10TH FLOOR - 211 NORTH
        ROBINSON
        OKLAHOMA CITY, OK 73102-7103



3.776   BOARD OF COUNTY COMMISSIONERS OF LEFLORE                UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: TODD A. COURT                                   ACCOUNT NO.:
        MCAFEE& TAFT A PROFESSIONAL CORPORATION               NOT AVAILABLE
        TWO LEADERSHIP SQUARE, 10TH FLOOR - 211 NORTH
        ROBINSON
        OKLAHOMA CITY, OK 73102-7103




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.777   BOARD OF COUNTY COMMISSIONERS OF LINCOLN                UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: COUNTY CLERK                                    ACCOUNT NO.:
        811 MANVEL AVE # 5                                    NOT AVAILABLE
        CHANDLER, OK 74834



3.778   BOARD OF COUNTY COMMISSIONERS OF LINCOLN                UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: GEORGE GIBBS                                    ACCOUNT NO.:
        GIBBS ARMSTRONG BOROCHOFF, P.C.                       NOT AVAILABLE
        601 SOUTH BOULDER AVENUE - SUITE 500
        TULSA, OK 74119



3.779   BOARD OF COUNTY COMMISSIONERS OF LINCOLN                UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: HARRISON C. LUJAN                               ACCOUNT NO.:
        FULMER SILL LAW GROUP                                 NOT AVAILABLE
        1101 NORTH BROADWAY AVENUE, SUITE 102 - PO BOX
        2448
        OKLAHOMA CITY, OK 73103



3.780   BOARD OF COUNTY COMMISSIONERS OF LINCOLN                UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: TONY G. PUCKETT                                 ACCOUNT NO.:
        MCAFEE& TAFT A PROFESSIONAL CORPORATION               NOT AVAILABLE
        TWO LEADERSHIP SQUARE, 10TH FLOOR - 211 NORTH
        ROBINSON
        OKLAHOMA CITY, OK 73102-7103



3.781   BOARD OF COUNTY COMMISSIONERS OF LINCOLN                UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: TODD A. COURT                                   ACCOUNT NO.:
        MCAFEE& TAFT A PROFESSIONAL CORPORATION               NOT AVAILABLE
        TWO LEADERSHIP SQUARE, 10TH FLOOR - 211 NORTH
        ROBINSON
        OKLAHOMA CITY, OK 73102-7103



3.782   BOARD OF COUNTY COMMISSIONERS OF LINCOLN                UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: MATTHEW J. SILL                                 ACCOUNT NO.:
        FULMER SILL LAW GROUP                                 NOT AVAILABLE
        1101 NORTH BROADWAY AVENUE, SUITE 102 - PO BOX
        2448
        OKLAHOMA CITY, OK 73103



3.783   BOARD OF COUNTY COMMISSIONERS OF LINCOLN                UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: BOARD OF COMMISSIONERS AND COUNTY CLERK         ACCOUNT NO.:
        811 MANVEL AVENUE                                     NOT AVAILABLE
        COUNTY COURTHOUSE
        CHANDLER, OK 74834-3880




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.784   BOARD OF COUNTY COMMISSIONERS OF LOGAN                   12/15/2017                  Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: COMMISSIONERS                                   ACCOUNT NO.:
        312 EAST HARRISON                                     NOT AVAILABLE
        COURTHOUSE ANNEX
        GUTHRIE, OK 73044



3.785   BOARD OF COUNTY COMMISSIONERS OF LOGAN                   12/15/2017                  Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: COUNTY CLERK                                    ACCOUNT NO.:
        301 EAST HARRISON                                     NOT AVAILABLE
        SUITE 102 - ROOM 201
        GUTHRIE, OK 73044



3.786   BOARD OF COUNTY COMMISSIONERS OF LOGAN                   12/15/2017                  Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: HARRISON C. LUJAN                               ACCOUNT NO.:
        FULMER SILL LAW GROUP                                 NOT AVAILABLE
        1101 NORTH BROADWAY AVENUE, SUITE 102 - PO BOX
        2448
        OKLAHOMA CITY, OK 73103



3.787   BOARD OF COUNTY COMMISSIONERS OF LOGAN                   12/15/2017                  Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: MATTHEW J. SILL                                 ACCOUNT NO.:
        FULMER SILL LAW GROUP                                 NOT AVAILABLE
        1101 NORTH BROADWAY AVENUE, SUITE 102 - PO BOX
        2448
        OKLAHOMA CITY, OK 73103



3.788   BOARD OF COUNTY COMMISSIONERS OF LOGAN                   12/15/2017                  Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: TODD A. COURT                                   ACCOUNT NO.:
        MCAFEE& TAFT A PROFESSIONAL CORPORATION               NOT AVAILABLE
        TWO LEADERSHIP SQUARE, 10TH FLOOR - 211 NORTH
        ROBINSON
        OKLAHOMA CITY, OK 73102-7103



3.789   BOARD OF COUNTY COMMISSIONERS OF LOGAN                   12/15/2017                  Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: TONY G. PUCKETT                                 ACCOUNT NO.:
        MCAFEE& TAFT A PROFESSIONAL CORPORATION               NOT AVAILABLE
        TWO LEADERSHIP SQUARE, 10TH FLOOR - 211 NORTH
        ROBINSON
        OKLAHOMA CITY, OK 73102-7103



3.790   BOARD OF COUNTY COMMISSIONERS OF LOGAN                   12/15/2017                  Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: BOARD OF COMMISIONERS AND COUNTY CLERK          ACCOUNT NO.:
        312 EAST HARRISON                                     NOT AVAILABLE
        COURTHOUSE ANNEX
        GUTHRIE, OK 73044




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.791   BOARD OF COUNTY COMMISSIONERS OF LOGAN                   12/15/2017                  Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: ALEX YAFFE                                      ACCOUNT NO.:
        FULMER SILL LAW GROUP                                 NOT AVAILABLE
        1101 NORTH BROADWAY AVENUE, SUITE 102 - PO BOX
        2448
        OKLAHOMA CITY, OK 73103



3.792   BOARD OF COUNTY COMMISSIONERS OF LOVE COUNTY             2/22/2019                   Opioid Matter              UNDETERMINED
        ATTN: COUNTY COMMISSIONER
        405 W. MAIN STREET                                    ACCOUNT NO.:
        SUITE 101                                             NOT AVAILABLE
        MARIETTA, OK 73448



3.793   BOARD OF COUNTY COMMISSIONERS OF LOVE COUNTY             2/22/2019                   Opioid Matter              UNDETERMINED
        ATTN: COUNTY CLERK
        405 WEST MAIN STREET                                  ACCOUNT NO.:
        SUITE 203                                             NOT AVAILABLE
        MARIETTA, OK 73448



3.794   BOARD OF COUNTY COMMISSIONERS OF LOVE COUNTY             2/22/2019                   Opioid Matter              UNDETERMINED
        MATTHEW J. SILL
        FULMER SILL                                           ACCOUNT NO.:
        P.O. BOX 2448 - 1101 NORTH BROADWAY AVENUE.,          NOT AVAILABLE
        SUITE 102
        OKLAHOMA CITY, OK 73103



3.795   BOARD OF COUNTY COMMISSIONERS OF MCCURTAIN              UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: COUNTY CLERK                                    ACCOUNT NO.:
        108 N CENTRAL AVE                                     NOT AVAILABLE
        IDABEL, OK 74745



3.796   BOARD OF COUNTY COMMISSIONERS OF MCCURTAIN              UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: BOARD OF COMMISSIONERS AND COUNTY CLERK         ACCOUNT NO.:
        PO BOX 1078                                           NOT AVAILABLE
        COUNTY COURTHOUSE
        IDABEL, OK 74745-1078



3.797   BOARD OF COUNTY COMMISSIONERS OF MCCURTAIN              UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: MATTHEW J. SILL                                 ACCOUNT NO.:
        FULMER SILL LAW GROUP                                 NOT AVAILABLE
        1101 NORTH BROADWAY AVENUE, SUITE 102 - PO BOX
        2448
        OKLAHOMA CITY, OK 73103



3.798   BOARD OF COUNTY COMMISSIONERS OF MCCURTAIN              UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: TODD A. COURT                                   ACCOUNT NO.:
        MCAFEE& TAFT A PROFESSIONAL CORPORATION               NOT AVAILABLE
        TWO LEADERSHIP SQUARE, 10TH FLOOR - 211 NORTH
        ROBINSON
        OKLAHOMA CITY, OK 73102-7103




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.799   BOARD OF COUNTY COMMISSIONERS OF MCCURTAIN              UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: TONY G. PUCKETT                                 ACCOUNT NO.:
        MCAFEE& TAFT A PROFESSIONAL CORPORATION               NOT AVAILABLE
        TWO LEADERSHIP SQUARE, 10TH FLOOR - 211 NORTH
        ROBINSON
        OKLAHOMA CITY, OK 73102-7103



3.800   BOARD OF COUNTY COMMISSIONERS OF MCCURTAIN              UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: HARRISON C. LUJAN                               ACCOUNT NO.:
        FULMER SILL LAW GROUP                                 NOT AVAILABLE
        1101 NORTH BROADWAY AVENUE, SUITE 102 - PO BOX
        2448
        OKLAHOMA CITY, OK 73103



3.801   BOARD OF COUNTY COMMISSIONERS OF MORTON                   6/6/2019                   Opioid Matter              UNDETERMINED
        COUNTY, KANSAS AND ERIC WITCHER, MORTON
        COUNTY COUNSELOR                                      ACCOUNT NO.:
        ATTN: COUNTY CLERK                                    NOT AVAILABLE
        1025 MORTON STREET
        P.O. BOX 1116
        ELKHART, KS 67950-1116



3.802   BOARD OF COUNTY COMMISSIONERS OF MORTON                   6/6/2019                   Opioid Matter              UNDETERMINED
        COUNTY, KANSAS AND ERIC WITCHER, MORTON
        COUNTY COUNSELOR                                      ACCOUNT NO.:
        ATTN: COUNTY TREASURER                                NOT AVAILABLE
        1025 MORTON STREET
        P.O. BOX 998
        ELKHART, KS 67950



3.803   BOARD OF COUNTY COMMISSIONERS OF NEOSHO                  9/14/2018                   Opioid Matter              UNDETERMINED
        COUNTY, KANSAS
        ATTN: CHAIR OF BOARD OF COUNTY COMMISSIONERS          ACCOUNT NO.:
        NEOSHO COUNTY COURTHOUSE                              NOT AVAILABLE
        100 SOUTH MAIN STREET
        ERIE, KS 66733



3.804   BOARD OF COUNTY COMMISSIONERS OF NEOSHO                  9/14/2018                   Opioid Matter              UNDETERMINED
        COUNTY, KANSAS
        NEOSHO COUNTY COURTHOUSE                              ACCOUNT NO.:
        100 SOUTH MAIN STREET, ROOM 102                       NOT AVAILABLE
         - P.O. BOX 138
        ERIE, KS 66733



3.805   BOARD OF COUNTY COMMISSIONERS OF NEOSHO                  9/14/2018                   Opioid Matter              UNDETERMINED
        COUNTY, KANSAS
        100 SOUTH MAIN STREET                                 ACCOUNT NO.:
        ROOM 101                                              NOT AVAILABLE
         - P.O. BOX 176
        ERIE, KS 66733




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.806   BOARD OF COUNTY COMMISSIONERS OF NOBLE                   3/11/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: BOARD OF COUNTY COMMISSIONERS OF NOBLE          ACCOUNT NO.:
        COUNTY                                                NOT AVAILABLE
        300 COURTHOUSE DRIVE #1
        PERRY, OK 73077



3.807   BOARD OF COUNTY COMMISSIONERS OF NOBLE                   3/11/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: NOBLE COUNTY CLERK                              ACCOUNT NO.:
        300 COURTHOUSE DRIVE #11                              NOT AVAILABLE
        PERRY, OK 73077



3.808   BOARD OF COUNTY COMMISSIONERS OF NOBLE                   3/11/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        TODD A, COURT                                         ACCOUNT NO.:
        10TH FLOOR, TWO LEADERSHIP SQUARE                     NOT AVAILABLE
        211 NORTH ROBINSON
        OKLAHOMA CITY, OK 73102



3.809   BOARD OF COUNTY COMMISSIONERS OF OKFUSKEE                6/14/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: COUNTY CLERK                                    ACCOUNT NO.:
        209 N 3RD ST                                          NOT AVAILABLE
        OKEMAH, OK 74859



3.810   BOARD OF COUNTY COMMISSIONERS OF OKFUSKEE                6/14/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: BOARD OF COMMISSIONERS AND COUNTY CLERK         ACCOUNT NO.:
        PO BOX 26                                             NOT AVAILABLE
        COUNTY COURTHOUSE
        OKEMAH, OK 74859-0026



3.811   BOARD OF COUNTY COMMISSIONERS OF OKFUSKEE                6/14/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: JOSEPH L. CIACCIO                               ACCOUNT NO.:
        NAPOLI SHKOLNIK, PLLC                                 NOT AVAILABLE
        400 BROADHOLLOW ROAD - SUITE 350
        MELVILLE, NY 11747



3.812   BOARD OF COUNTY COMMISSIONERS OF OKFUSKEE                6/14/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: GEORGE GIBBS                                    ACCOUNT NO.:
        GIBBS ARMSTRONG BOROCHOFF, P.C.                       NOT AVAILABLE
        601 SOUTH BOULDER AVENUE - SUITE 500
        TULSA, OK 74119



3.813   BOARD OF COUNTY COMMISSIONERS OF OKFUSKEE                6/14/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: SALVATORE BADALA                                ACCOUNT NO.:
        NAPOLI SHKOLNIK, PLLC                                 NOT AVAILABLE
        400 BROADHOLLOW ROAD - SUITE 350
        MELVILLE, NY 11747




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.814   BOARD OF COUNTY COMMISSIONERS OF OKFUSKEE                6/14/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: SHAYNA E. SACKS                                 ACCOUNT NO.:
        NAPOLI SHKOLNIK, PLLC                                 NOT AVAILABLE
        400 BROADHOLLOW ROAD - SUITE 350
        MELVILLE, NY 11747



3.815   BOARD OF COUNTY COMMISSIONERS OF OKFUSKEE                6/14/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: HUNTER J. SHKOLNIK                              ACCOUNT NO.:
        NAPOLI SHKOLNIK, PLLC                                 NOT AVAILABLE
        400 BROADHOLLOW ROAD - SUITE 350
        MELVILLE, NY 11747



3.816   BOARD OF COUNTY COMMISSIONERS OF OKLAHOMA                8/16/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: CHAIR OF THE BOARD OF COMMISSIONERS             ACCOUNT NO.:
        OKLAHOMA COUNTY ANNEX BUILDING                        NOT AVAILABLE
        320 ROBERT SOUTH KERR AVENUE
        OKLAHOMA CITY, OK 73102



3.817   BOARD OF COUNTY COMMISSIONERS OF OKLAHOMA                8/16/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: COUNTY CLERK                                    ACCOUNT NO.:
        ANNEX BUILDING 2ND FLOOR                              NOT AVAILABLE
        320 ROBERT SOUTH KERR AVENUE - ROOM 203
        OKLAHOMA CITY, OK 73102



3.818   BOARD OF COUNTY COMMISSIONERS OF PITTSBURG               2/25/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: BOARD OF COUNTY COMMISSIONERS OF                ACCOUNT NO.:
        PITTSBURG COUNTY                                      NOT AVAILABLE
        115 CARL ALBERT PARKWAY #1A
        MCALESTER, OK 74501



3.819   BOARD OF COUNTY COMMISSIONERS OF PITTSBURG               2/25/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: COUNTY CLERK OF PITTSBURG COUNTY                ACCOUNT NO.:
        PO BOX 3304                                           NOT AVAILABLE
        MCALESTER, OK 74501



3.820   BOARD OF COUNTY COMMISSIONERS OF                         2/22/2019                   Opioid Matter              UNDETERMINED
        POTTAWATOMIE COUNTY
        ATTN: COUNTY CLERK                                    ACCOUNT NO.:
        325 N BROADWAY AVE                                    NOT AVAILABLE
        SHAWNEE, OK 74801



3.821   BOARD OF COUNTY COMMISSIONERS OF                         2/22/2019                   Opioid Matter              UNDETERMINED
        POTTAWATOMIE COUNTY
        ATTN: ALEX YAFFE                                      ACCOUNT NO.:
        FULMER SILL LAW GROUP                                 NOT AVAILABLE
        1101 NORTH BROADWAY AVENUE, SUITE 102 - PO BOX
        2448
        OKLAHOMA CITY, OK 73103




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.822   BOARD OF COUNTY COMMISSIONERS OF                         2/22/2019                   Opioid Matter              UNDETERMINED
        POTTAWATOMIE COUNTY
        ATTN: BOARD OF COMMISSIONERS                          ACCOUNT NO.:
        14101 ACME ROAD                                       NOT AVAILABLE
        SHAWNEE, OK 74804



3.823   BOARD OF COUNTY COMMISSIONERS OF                         2/22/2019                   Opioid Matter              UNDETERMINED
        POTTAWATOMIE COUNTY
        ATTN: TODD A. COURT                                   ACCOUNT NO.:
        MCAFEE& TAFT A PROFESSIONAL CORPORATION               NOT AVAILABLE
        TWO LEADERSHIP SQUARE, 10TH FLOOR - 211 NORTH
        ROBINSON
        OKLAHOMA CITY, OK 73102-7103



3.824   BOARD OF COUNTY COMMISSIONERS OF                         2/22/2019                   Opioid Matter              UNDETERMINED
        POTTAWATOMIE COUNTY
        ATTN: MATTHEW J. SILL                                 ACCOUNT NO.:
        FULMER SILL LAW GROUP                                 NOT AVAILABLE
        1101 NORTH BROADWAY AVENUE, SUITE 102 - PO BOX
        2448
        OKLAHOMA CITY, OK 73103



3.825   BOARD OF COUNTY COMMISSIONERS OF                         2/22/2019                   Opioid Matter              UNDETERMINED
        POTTAWATOMIE COUNTY
        ATTN: HARRISON C. LUJAN                               ACCOUNT NO.:
        FULMER SILL LAW GROUP                                 NOT AVAILABLE
        1101 NORTH BROADWAY AVENUE, SUITE 102 - PO BOX
        2448
        OKLAHOMA CITY, OK 73103



3.826   BOARD OF COUNTY COMMISSIONERS OF                         2/22/2019                   Opioid Matter              UNDETERMINED
        POTTAWATOMIE COUNTY
        ATTN: TONY G. PUCKETT                                 ACCOUNT NO.:
        MCAFEE& TAFT A PROFESSIONAL CORPORATION               NOT AVAILABLE
        TWO LEADERSHIP SQUARE, 10TH FLOOR - 211 NORTH
        ROBINSON
        OKLAHOMA CITY, OK 73102-7103



3.827   BOARD OF COUNTY COMMISSIONERS OF PRATT                    4/5/2018                   Opioid Matter              UNDETERMINED
        COUNTY, KANSAS
        ATTN: COMMISSION CHAIR; COUNTY CLERK                  ACCOUNT NO.:
        300 SOUTH NINNESCAH STREET                            NOT AVAILABLE
        PO BOX 885
        PRATT, KS 67124



3.828   BOARD OF COUNTY COMMISSIONERS OF PRATT                    4/5/2018                   Opioid Matter              UNDETERMINED
        COUNTY, KANSAS
        300 SOUTH NINNESCAH STREET                            ACCOUNT NO.:
        PO BOX 905                                            NOT AVAILABLE
        PRATT, KS 67124




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.829   BOARD OF COUNTY COMMISSIONERS OF SEWARD                   6/6/2019                   Opioid Matter              UNDETERMINED
        COUNTY, KANSAS AND RUSSELL HASENBANK, SEWARD
        COUNTY COUNSELOR                                      ACCOUNT NO.:
        ATTN: COUNTY ADMINISTRATOR; COUNTY COMMISSION         NOT AVAILABLE
        515 NORTH WASHINGTON AVENUE
        SUITE 204
        LIBERAL, KS 67901



3.830   BOARD OF COUNTY COMMISSIONERS OF SEWARD                   6/6/2019                   Opioid Matter              UNDETERMINED
        COUNTY, KANSAS AND RUSSELL HASENBANK, SEWARD
        COUNTY COUNSELOR                                      ACCOUNT NO.:
        ATTN: COUNTY TRESAURER                                NOT AVAILABLE
        SEWARD COUNTY ADMINISTRATION BUILDING
        515 NORTH WASHINGTON AVENUE - SUITE 102
        LIBERAL, KS 67901



3.831   BOARD OF COUNTY COMMISSIONERS OF SEWARD                   6/6/2019                   Opioid Matter              UNDETERMINED
        COUNTY, KANSAS AND RUSSELL HASENBANK, SEWARD
        COUNTY COUNSELOR                                      ACCOUNT NO.:
        ATTN: COUNTY CLERK                                    NOT AVAILABLE
        SEWARD COUNTY ADMINISTRATION BUILDING
        515 NORTH WASHINGTON AVENUE - SUITE 100
        LIBERAL, KS 67901



3.832   BOARD OF COUNTY COMMISSIONERS OF SEWARD                   6/6/2019                   Opioid Matter              UNDETERMINED
        COUNTY, KANSAS AND RUSSELL HASENBANK, SEWARD
        COUNTY COUNSELOR                                      ACCOUNT NO.:
        ATTN: COUNTY ATTORNEY                                 NOT AVAILABLE
        415 NORTH WASHINGTON AVENUE
        SUITE 106
        LIBERAL, KS 67901



3.833   BOARD OF COUNTY COMMISSIONERS OF STEPHENS                1/14/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: BOARD OF COUNTY COMMISSIONERS OF                ACCOUNT NO.:
        STEPHENS COUNTY                                       NOT AVAILABLE
        101 SOUTH 11TH STREET
        #200
        DUNCAN, OK 73533



3.834   BOARD OF COUNTY COMMISSIONERS OF STEPHENS                1/14/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: CLERK                                           ACCOUNT NO.:
        101 SOUTH 11TH STREET, ROOM 200                       NOT AVAILABLE
        COUNTY COURTHOUSE
        DUNCAN, OK 73533-4758



3.835   BOARD OF COUNTY COMMISSIONERS OF TEXAS COUNTY           UNKNOWN                      Opioid Matter              UNDETERMINED
        ATTN: COUNTY CLERK
        P.O. BOX 197                                          ACCOUNT NO.:
        319 NORTH MAIN STREET, SUITE 202                      NOT AVAILABLE
        GUYMON, OK 73942



3.836   BOARD OF COUNTY COMMISSIONERS OF TEXAS COUNTY           UNKNOWN                      Opioid Matter              UNDETERMINED
        ATTN: COUNTY COMMISSIONERS
        HCR 4, BOX 1-C                                        ACCOUNT NO.:
        TEXHOMA, OK 73949                                     NOT AVAILABLE


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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.837   BOARD OF COUNTY COMMISSIONERS OF TEXAS COUNTY           UNKNOWN                      Opioid Matter              UNDETERMINED
        ATTN: COUNTY COMMISSIONERS
        RT 2 BOX 92                                           ACCOUNT NO.:
        HOOKER, OK 73945                                      NOT AVAILABLE



3.838   BOARD OF COUNTY COMMISSIONERS OF TEXAS COUNTY           UNKNOWN                      Opioid Matter              UNDETERMINED
        ATTN: COMMISSIONERS
        319 NORTH MAIN                                        ACCOUNT NO.:
        GUYMON, OK 73942                                      NOT AVAILABLE



3.839   BOARD OF COUNTY COMMISSIONERS OF TEXAS COUNTY           UNKNOWN                      Opioid Matter              UNDETERMINED
        ATTN: COUNTY COMMISSIONERS
        501 SOUTH MAIN                                        ACCOUNT NO.:
        GUYMON, OK 73942                                      NOT AVAILABLE



3.840   BOARD OF COUNTY COMMISSIONERS OF TEXAS COUNTY           UNKNOWN                      Opioid Matter              UNDETERMINED
        ATTN: HARRISON C. LUJAN
        FULMER SILL LAW GROUP                                 ACCOUNT NO.:
        1101 NORTH BROADWAY AVENUE, SUITE 102 - PO BOX        NOT AVAILABLE
        2448
        OKLAHOMA CITY, OK 73103



3.841   BOARD OF COUNTY COMMISSIONERS OF TEXAS COUNTY           UNKNOWN                      Opioid Matter              UNDETERMINED
        ATTN: TODD A. COURT
        MCAFEE& TAFT A PROFESSIONAL CORPORATION               ACCOUNT NO.:
        TWO LEADERSHIP SQUARE, 10TH FLOOR - 211 NORTH         NOT AVAILABLE
        ROBINSON
        OKLAHOMA CITY, OK 73102-7103



3.842   BOARD OF COUNTY COMMISSIONERS OF TEXAS COUNTY           UNKNOWN                      Opioid Matter              UNDETERMINED
        ATTN: MATTHEW J. SILL
        FULMER SILL LAW GROUP                                 ACCOUNT NO.:
        1101 NORTH BROADWAY AVENUE, SUITE 102 - PO BOX        NOT AVAILABLE
        2448
        OKLAHOMA CITY, OK 73103



3.843   BOARD OF COUNTY COMMISSIONERS OF TEXAS COUNTY           UNKNOWN                      Opioid Matter              UNDETERMINED
        ATTN: TONY G. PUCKETT
        MCAFEE& TAFT A PROFESSIONAL CORPORATION               ACCOUNT NO.:
        TWO LEADERSHIP SQUARE, 10TH FLOOR - 211 NORTH         NOT AVAILABLE
        ROBINSON
        OKLAHOMA CITY, OK 73102-7103



3.844   BOARD OF COUNTY COMMISSIONERS OF TEXAS COUNTY           UNKNOWN                      Opioid Matter              UNDETERMINED
        ATTN: BOARD OF COMMISSIONERS
        319 NORTH MAIN STREET                                 ACCOUNT NO.:
        GUYMON, OK 73942                                      NOT AVAILABLE



3.845   BOARD OF COUNTY COMMISSIONERS OF TEXAS COUNTY           UNKNOWN                      Opioid Matter              UNDETERMINED
        ATTN: ALEX YAFFE
        FULMER SILL LAW GROUP                                 ACCOUNT NO.:
        1101 NORTH BROADWAY AVENUE, SUITE 102 - PO BOX        NOT AVAILABLE
        2448
        OKLAHOMA CITY, OK 73103



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.846   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY              1/11/2019                   Opioid Matter              UNDETERMINED
        OF ADAMS
        ATTN: PHIL WEISER                                     ACCOUNT NO.:
        STATE OF COLORADO ATTORNEY GENERAL                    NOT AVAILABLE
        RALPH L. CARR COLORADO JUDICIAL CENTER - 1300
        BROADWAY, 10TH FLOOR
        DENVER, CO 80203



3.847   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY              1/11/2019                   Opioid Matter              UNDETERMINED
        OF ADAMS
        ATTN: BOARD OF COUNTY COMMISSIONERS                   ACCOUNT NO.:
        COMMISSIONERS' OFFICE                                 NOT AVAILABLE
        4430 S. ADAMS COUNTY PARKWAY - 5TH FLOOR, SUITE
        C5000A
        BRIGHTON, CO 80601



3.848   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY              1/11/2019                   Opioid Matter              UNDETERMINED
        OF ADAMS
        ATTN: COUNTY CLERK & RECORDER                         ACCOUNT NO.:
        4430 S. ADAMS COUNTY PKWY.                            NOT AVAILABLE
        BRIGHTON, CO 80601



3.849   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY              1/11/2019                   Opioid Matter              UNDETERMINED
        OF ARAPAHOE
        ATTN: CLERK AND RECORDER                              ACCOUNT NO.:
        5334 SOUTH PRINCE STREET                              NOT AVAILABLE
        LITTLETON, CO 80120



3.850   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY              4/12/2019                   Opioid Matter              UNDETERMINED
        OF BERNADILLO
        ATTN: HECTOR BALDERAS                                 ACCOUNT NO.:
        STATE OF NEW MEXICO ATTORNEY GENERAL                  NOT AVAILABLE
        P.O. DRAWER 1508
        SANTA FE, NM 87504-1508



3.851   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY              4/12/2019                   Opioid Matter              UNDETERMINED
        OF BERNADILLO
        ATTN: COUNTY MANAGER, COUNTY ATTORNEY                 ACCOUNT NO.:
        ONE CIVIC PLAZA NORTHWEST                             NOT AVAILABLE
        10TH FLOOR
        ALBUQUERQUE, NM 87102



3.852   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY              1/11/2019                   Opioid Matter              UNDETERMINED
        OF BOULDER
        ATTN: CLERK AND RECORDER                              ACCOUNT NO.:
        1750 33RD STREET, SUITE 200                           NOT AVAILABLE
        BOULDER, CO 80301



3.853   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY              4/23/2019                   Opioid Matter              UNDETERMINED
        OF CATRON
        ATTN: HECTOR BALDERAS                                 ACCOUNT NO.:
        STATE OF NEW MEXICO ATTORNEY GENERAL                  NOT AVAILABLE
        P.O. DRAWER 1508
        SANTA FE, NM 87504-1508




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.854   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY              4/23/2019                   Opioid Matter              UNDETERMINED
        OF CATRON
        ATTN: COUNTY COMMISSION CHAIR                         ACCOUNT NO.:
        100 MAIN STREET                                       NOT AVAILABLE
        RESERVE, NM 87830



3.855   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY              4/23/2019                   Opioid Matter              UNDETERMINED
        OF CIBOLA
        ATTN: BOARD OF COMMISSIONERS,COUNTY MANAGER,          ACCOUNT NO.:
        COUNTY ATTORNEY                                       NOT AVAILABLE
        700 EAST ROOSEVELT
        SUITE 50
        GRANTS, NM 87020



3.856   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY              4/23/2019                   Opioid Matter              UNDETERMINED
        OF CIBOLA
        ATTN: HECTOR BALDERAS                                 ACCOUNT NO.:
        STATE OF NEW MEXICO ATTORNEY GENERAL                  NOT AVAILABLE
        P.O. DRAWER 1508
        SANTA FE, NM 87504-1508



3.857   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY               5/6/2019                   Opioid Matter              UNDETERMINED
        OF CURRY
        ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS,         ACCOUNT NO.:
        CITY MANAGER                                          NOT AVAILABLE
        417 GIDDING STREET
        SUITE #100
        CLOVIS, NM 88101



3.858   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY               5/6/2019                   Opioid Matter              UNDETERMINED
        OF CURRY
        ATTN: HECTOR BALDERAS                                 ACCOUNT NO.:
        STATE OF NEW MEXICO ATTORNEY GENERAL                  NOT AVAILABLE
        P.O. DRAWER 1508
        SANTA FE, NM 87504-1508



3.859   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY              10/15/2018                  Opioid Matter              UNDETERMINED
        OF DONA ANA, NEW MEXICO
        ATTN: HECTOR BALDERAS                                 ACCOUNT NO.:
        STATE OF NEW MEXICO ATTORNEY GENERAL                  NOT AVAILABLE
        P.O. DRAWER 1508
        SANTA FE, NM 87504-1508



3.860   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY              10/15/2018                  Opioid Matter              UNDETERMINED
        OF DONA ANA, NEW MEXICO
        ATTN: COUNTY MANAGER, COUNTY ATTORNEY                 ACCOUNT NO.:
        845 NORTH MOTEL BOULEVARD                             NOT AVAILABLE
        LAS CRUCES, NM 88007



3.861   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY              1/11/2019                   Opioid Matter              UNDETERMINED
        OF FREMONT
        ATTN: CHAIRMAN, FREMONT COUNTY COMMISSIONERS          ACCOUNT NO.:
        615 MACON AVENUE, ROOM 105                            NOT AVAILABLE
        CAÑON CITY, CO 81212




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.862   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY              1/11/2019                   Opioid Matter              UNDETERMINED
        OF FREMONT
        ATTN: CLERK AND RECORDER                              ACCOUNT NO.:
        615 MACON AVENUE, ROOM 102                            NOT AVAILABLE
        CAÑON CITY, CO 81212



3.863   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY              3/15/2019                   Opioid Matter              UNDETERMINED
        OF LEA
        ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS,         ACCOUNT NO.:
        COUNTY MANAGER                                        NOT AVAILABLE
        100 NORTH MAIN AVENUE
        SUITE 4
        LOVINGTON, NM 88260



3.864   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY              3/15/2019                   Opioid Matter              UNDETERMINED
        OF LEA
        ATTN: HECTOR BALDERAS                                 ACCOUNT NO.:
        STATE OF NEW MEXICO ATTORNEY GENERAL                  NOT AVAILABLE
        P.O. DRAWER 1508
        SANTA FE, NM 87504-1508



3.865   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY              5/20/2019                   Opioid Matter              UNDETERMINED
        OF LINCOLN
        ATTN: CHAIR OF THE BOARD OF COUNTY                    ACCOUNT NO.:
        COMMISSIONERS                                         NOT AVAILABLE
        300 CENTRAL AVENUE
        P.O. BOX 711
        CARRIZOZO, NM 88301



3.866   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY              5/20/2019                   Opioid Matter              UNDETERMINED
        OF LINCOLN
        ATTN: COUNTY CLERK                                    ACCOUNT NO.:
        300 CENTRAL AVENUE                                    NOT AVAILABLE
        P.O. BOX 338
        CARRIZOZO, NM 88301



3.867   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY              5/20/2019                   Opioid Matter              UNDETERMINED
        OF LINCOLN
        ATTN: HECTOR BALDERAS                                 ACCOUNT NO.:
        STATE OF NEW MEXICO ATTORNEY GENERAL                  NOT AVAILABLE
        P.O. DRAWER 1508
        SANTA FE, NM 87504-1508



3.868   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY              1/11/2019                   Opioid Matter              UNDETERMINED
        OF MCKINLEY
        ATTN: CHAIR                                           ACCOUNT NO.:
        BOARD OF COUNTY COMMISSIONERS OF THE COUNTY           NOT AVAILABLE
        OF MCKINLEY
        COUNTY COURTHOUSE - 207 WEST HILL STREET, THIRD
        FLOOR
        GALLUP, NM 87301




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                         Claim

Litigation

3.869   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY              1/11/2019                   Opioid Matter              UNDETERMINED
        OF MCKINLEY
        ATTN: HECTOR BALDERAS                                 ACCOUNT NO.:
        STATE OF NEW MEXICO ATTORNEY GENERAL                  NOT AVAILABLE
        P.O. DRAWER 1508
        SANTA FE, NM 87504-1508



3.870   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY              3/12/2019                   Opioid Matter              UNDETERMINED
        OF OTERO
        ATTN: HECTOR BALDERAS                                 ACCOUNT NO.:
        STATE OF NEW MEXICO ATTORNEY GENERAL                  NOT AVAILABLE
        P.O. DRAWER 1508
        SANTA FE, NM 87504-1508



3.871   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY              3/12/2019                   Opioid Matter              UNDETERMINED
        OF OTERO
        ATTN: CHAIRPERSON                                     ACCOUNT NO.:
        1101 NEW YORK AVENUE                                  NOT AVAILABLE
        ALAMOGORDO, NM 88310



3.872   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY               6/8/2018                   Opioid Matter              UNDETERMINED
        OF SANTA FE
        ATTN: CHAIR OF COUNTY COMMISSION                      ACCOUNT NO.:
        PO BOX 276                                            NOT AVAILABLE
        SANTA FE, NM 87504



3.873   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY               6/8/2018                   Opioid Matter              UNDETERMINED
        OF SANTA FE
        ATTN: HECTOR BALDERAS                                 ACCOUNT NO.:
        STATE OF NEW MEXICO ATTORNEY GENERAL                  NOT AVAILABLE
        P.O. DRAWER 1508
        SANTA FE, NM 87504-1508



3.874   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY               6/8/2018                   Opioid Matter              UNDETERMINED
        OF SANTA FE
        ATTN: CHAIR OF COUNTY COMMISSION                      ACCOUNT NO.:
        102 GRANT AVENUE                                      NOT AVAILABLE
        SANTA FE, NM 87501



3.875   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY              4/23/2019                   Opioid Matter              UNDETERMINED
        OF SIERRA
        ATTN: CHAIR OF COUNTY COMMISSION AND COUNTY           ACCOUNT NO.:
        MANAGER                                               NOT AVAILABLE
        855 VAN PATTEN
        TRUTH OR CONSEQUENCES, NM 87901



3.876   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY              4/23/2019                   Opioid Matter              UNDETERMINED
        OF SIERRA
        ATTN: HECTOR BALDERAS                                 ACCOUNT NO.:
        STATE OF NEW MEXICO ATTORNEY GENERAL                  NOT AVAILABLE
        P.O. DRAWER 1508
        SANTA FE, NM 87504-1508




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.877   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY               4/23/2019                   Opioid Matter              UNDETERMINED
        OF SOCORRO
        ATTN: HECTOR BALDERAS                                  ACCOUNT NO.:
        STATE OF NEW MEXICO ATTORNEY GENERAL                   NOT AVAILABLE
        P.O. DRAWER 1508
        SANTA FE, NM 87504-1508



3.878   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY               4/23/2019                   Opioid Matter              UNDETERMINED
        OF SOCORRO
        ATTN: CHAIR OF COUNTY COMMISSION                       ACCOUNT NO.:
        PO BOX I                                               NOT AVAILABLE
        SOCORRO, NM 87801



3.879   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY               1/18/2019                   Opioid Matter              UNDETERMINED
        OF TAOS
        ATTN: CHAIR OF COUNTY COMMISSION                       ACCOUNT NO.:
        105 ALBRIGHT STREET                                    NOT AVAILABLE
        TAOS, NM 87571



3.880   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY               1/18/2019                   Opioid Matter              UNDETERMINED
        OF TAOS
        ATTN: HECTOR BALDERAS                                  ACCOUNT NO.:
        STATE OF NEW MEXICO ATTORNEY GENERAL                   NOT AVAILABLE
        P.O. DRAWER 1508
        SANTA FE, NM 87504-1508



3.881   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY               1/11/2019                   Opioid Matter              UNDETERMINED
        OF TELLER
        ATTN: CHAIRPERSON, TELLER COUNTY COMMISSIONER          ACCOUNT NO.:
        112 "A" STREET                                         NOT AVAILABLE
        PO BOX 959
        CRIPPLE CREEK, CO 80813



3.882   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY               1/11/2019                   Opioid Matter              UNDETERMINED
        OF TELLER
        ATTN: TELLER COUNTY CLERK AND RECORDER'S OFFICE        ACCOUNT NO.:
        101 W. BENNETT AVENUE                                  NOT AVAILABLE
        CRIPPLE CREEK, CO 80813



3.883   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY               1/11/2019                   Opioid Matter              UNDETERMINED
        OF TELLER
        ATTN: TELLER COUNTY CLERK AND RECORDER                 ACCOUNT NO.:
        800 RESEARCH DRIVE, SUITE 200                          NOT AVAILABLE
        TAMARAC BUSINESS CENTER
        WOODLAND PARK, CO 80863



3.884   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY               4/23/2019                   Opioid Matter              UNDETERMINED
        OF VALENCIA
        ATTN: CHAIR OF COUNTY COMMISSION                       ACCOUNT NO.:
        PO BOX 1119                                            NOT AVAILABLE
        LOS LUNAS, NM 87031




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.885   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY               4/23/2019                   Opioid Matter              UNDETERMINED
        OF VALENCIA
        ATTN: HECTOR BALDERAS                                  ACCOUNT NO.:
        STATE OF NEW MEXICO ATTORNEY GENERAL                   NOT AVAILABLE
        P.O. DRAWER 1508
        SANTA FE, NM 87504-1508



3.886   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY               4/23/2019                   Opioid Matter              UNDETERMINED
        OF VALENCIA
        ATTN: CHAIR OF COUNTY COMMISSION                       ACCOUNT NO.:
        444 LUNA AVENUE                                        NOT AVAILABLE
        LOS LUNAS, NM 87031



3.887   BOARD OF COUNTY COMMISSIONERS OF TULSA COUNTY             3/18/2019                   Opioid Matter              UNDETERMINED
        ATTN: COUNTY CLERK AND CHAIRPERSON OF THE
        BOARD OF COMMISSIONERS                                 ACCOUNT NO.:
        RAY JORDAN ADMINISTRATION BUILDING                     NOT AVAILABLE
        500 SOUTH DENVER AVENUE
        TULSA, OK 74103-3832



3.888   BOARD OF COUNTY COMMISSIONERS OF WASHINGTON               8/21/2018                   Opioid Matter              UNDETERMINED
        COUNTY, MARYLAND
        ATTN: CHAIRMAN, BOARD OF COMMISSIONERS                 ACCOUNT NO.:
        100 WEST WASHINGTON STREET, ROOM 1101                  NOT AVAILABLE
        HAGERSTOWN, MD 21740



3.889   BOARD OF COUNTY COMMISSIONERS OF WOODWARD                UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: COUNTY COMMISSIONERS                             ACCOUNT NO.:
        1600 MAIN STREET                                       NOT AVAILABLE
        SUITE 9
        WOODWARD, OK 73801



3.890   BOARD OF COUNTY COMMISSIONERS OF WOODWARD                UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: COUNTY CLERK                                     ACCOUNT NO.:
        1600 MAIN STREET                                       NOT AVAILABLE
        SUITE 8
        WOODWARD, OK 73801



3.891   BOARD OF COUNTY COMMISSIONERS OF WOODWARD                UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: BOARD OF COMMISSIONERS                           ACCOUNT NO.:
        1600 MAIN STREET                                       NOT AVAILABLE
        SUITE 9
        WOODWARD, OK 73801



3.892   BOARD OF COUNTY COMMISSIONERS OF WOODWARD                UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: HARRISON C. LUJAN                                ACCOUNT NO.:
        FULMER SILL LAW GROUP                                  NOT AVAILABLE
        1101 NORTH BROADWAY AVENUE, SUITE 102 - PO BOX
        2448
        OKLAHOMA CITY, OK 73103




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.893   BOARD OF COUNTY COMMISSIONERS OF WOODWARD                UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: TODD A. COURT                                    ACCOUNT NO.:
        MCAFEE& TAFT A PROFESSIONAL CORPORATION                NOT AVAILABLE
        TWO LEADERSHIP SQUARE, 10TH FLOOR - 211 NORTH
        ROBINSON
        OKLAHOMA CITY, OK 73102-7103



3.894   BOARD OF COUNTY COMMISSIONERS OF WOODWARD                UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: MATTHEW J. SILL                                  ACCOUNT NO.:
        FULMER SILL LAW GROUP                                  NOT AVAILABLE
        1101 NORTH BROADWAY AVENUE, SUITE 102 - PO BOX
        2448
        OKLAHOMA CITY, OK 73103



3.895   BOARD OF COUNTY COMMISSIONERS OF WOODWARD                UNKNOWN                      Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: TONY G. PUCKETT                                  ACCOUNT NO.:
        MCAFEE& TAFT A PROFESSIONAL CORPORATION                NOT AVAILABLE
        TWO LEADERSHIP SQUARE, 10TH FLOOR - 211 NORTH
        ROBINSON
        OKLAHOMA CITY, OK 73102-7103



3.896   BOARD OF DEWEY COMMISSIONERS OF DEWEY COUNTY              2/22/2019                   Opioid Matter              UNDETERMINED
        ATTN: DEWEY COUNTY COMMISSIONERS
        BROADWAY & RUBLE                                       ACCOUNT NO.:
        TALOGA, OK 73667                                       NOT AVAILABLE



3.897   BOARD OF DEWEY COMMISSIONERS OF DEWEY COUNTY              2/22/2019                   Opioid Matter              UNDETERMINED
        TONY G. PUCKETT
        MACAFEE AND TAFT                                       ACCOUNT NO.:
        TWO LEADERSHIP SQUARE, 10TH FLOOR - 211 NORTH          NOT AVAILABLE
        ROBINSON
        OKLAHOMA CITY, OK 73102



3.898   BOARD OF DEWEY COMMISSIONERS OF DEWEY COUNTY              2/22/2019                   Opioid Matter              UNDETERMINED
        SILL, MATTHEW J.
        FULMER SILL                                            ACCOUNT NO.:
        P.O. BOX 2448 - 1101 N. BROADWAY AVE, SUITE 102        NOT AVAILABLE
        OKLAHOMA CITY, OK 73103



3.899   BOARD OF KIOWA COMMISSIONERS OF KIOWA COUNTY              2/22/2019                   Opioid Matter              UNDETERMINED
        ATTN: COUNTY CLERK
        COUNTY COURTHOUSE                                      ACCOUNT NO.:
        HOBART, OK 73651-0653                                  NOT AVAILABLE



3.900   BOARD OF MAJOR COMMISSIONERS OF MAJOR COUNTY              2/22/2019                   Opioid Matter              UNDETERMINED
        ATTN: BOARD COMMISSIONERS OF MAJOR COUNTY AND
        COUNTY CLERK                                           ACCOUNT NO.:
        COUNTY COURTHOUSE                                      NOT AVAILABLE
        P.O. BOX 279
        FAIRVIEW, OK 73737-0379




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.901   BOARD OF MAJOR COMMISSIONERS OF MAJOR COUNTY              2/22/2019                   Opioid Matter              UNDETERMINED
        ATTN: COUNTY CLERK
        COUNTY COURTHOUSE                                      ACCOUNT NO.:
        500 EAST BROADWAY                                      NOT AVAILABLE
        FAIRVIEW, OK 73737-0379



3.902   BOARD OF MAJOR COMMISSIONERS OF MAJOR COUNTY              2/22/2019                   Opioid Matter              UNDETERMINED
        10TH FLOOR, TWO LEADERSHIP SQUARE
        211 NORTH ROBINSON                                     ACCOUNT NO.:
        OKLAHOMA CITY, OK 73102                                NOT AVAILABLE



3.903   BOARD OF MAJOR COMMISSIONERS OF MAJOR COUNTY              2/22/2019                   Opioid Matter              UNDETERMINED
        211 NORTH ROBINSON
        TODD A. COURT                                          ACCOUNT NO.:
        10TH FLOOR, TWO LEADERSHIP SQUARE                      NOT AVAILABLE
        OKLAHOMA CITY, OK 73102



3.904   BOARD OF MAJOR COMMISSIONERS OF MAJOR COUNTY              2/22/2019                   Opioid Matter              UNDETERMINED
        MATTHEW J.SILL
        P. O. BOX 2448                                         ACCOUNT NO.:
        1101 NORTH BROADWAY AVENUE., SUITE 102                 NOT AVAILABLE
        OKLAHOMA CITY, OK 73103



3.905   BOARD OF MIAMI COUNTY COMMISSIONERS, ON BEHALF            5/20/2019                   Opioid Matter              UNDETERMINED
        OF MIAMI COUNTY, OHIO
        ATTN: COUNTY PROSECUTER                                ACCOUNT NO.:
        SAFETY BUILDING                                        NOT AVAILABLE
        201 WEST MAIN STREET - SECOND FLOOR
        TROY, OH 45373



3.906   BOARD OF SUPERVISORS, PRINCE WILLIAM COUNTY              UNKNOWN                      Opioid Matter              UNDETERMINED
        ATTN: CHAIRMAN AT LARGE
        CHAIRMAN'S OFFICE                                      ACCOUNT NO.:
        1 COUNTY COMPLEX COURT                                 NOT AVAILABLE
        PRINCE WILLIAM, VA 22192



3.907   BOARD OF SUPERVISORS, PRINCE WILLIAM COUNTY              UNKNOWN                      Opioid Matter              UNDETERMINED
        ONE COUNTY COMPLEX COURT
        PO BOX 240                                             ACCOUNT NO.:
        PRINCE WILLIAM, VA 22192                               NOT AVAILABLE



3.908   BOARD OF WOODS COMMISSIONERS OF WOODS                     2/22/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: COUNTY CLERK                                     ACCOUNT NO.:
        COUNTY COURTHOUSE                                      NOT AVAILABLE
        407 GOVERNMENT STREET
        ALVA, OK 73717-0386



3.909   BOARD OF WOODS COMMISSIONERS OF WOODS                     2/22/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        TODD A. COURT                                          ACCOUNT NO.:
        MCAFEE & TAFT A PROFESSIONAL CORPORATION               NOT AVAILABLE
        10TH FLOOR, TWO LEADERSHIP SQUARE - 211 NORTH
        ROBINSON
        OKLAHOMA CITY, OK 73102-7103


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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.910   BOARD OF WOODS COMMISSIONERS OF WOODS                     2/22/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        ATTN: ALEX YAFFE                                       ACCOUNT NO.:
        FULMER SILL                                            NOT AVAILABLE
        P.O. BOX 2448 - 1101 NORTH BROADWAY AVENUE, SUITE
        102
        OKLAHOMA CITY, OK 73103



3.911   BOARD OF WOODS COMMISSIONERS OF WOODS                     2/22/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        HARRISON C. LUJAN                                      ACCOUNT NO.:
        FULMER SILL                                            NOT AVAILABLE
        P.O. BOX 2448 - 1101 NORTH BROADWAY AVENUE, SUITE
        102
        OKLAHOMA CITY, OK 73103



3.912   BOARD OF WOODS COMMISSIONERS OF WOODS                     2/22/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        TONY G. PUCKETT                                        ACCOUNT NO.:
        MCAFEE & TAFT A PROFESSIONAL CORPORATION               NOT AVAILABLE
        10TH FLOOR, TWO LEADERSHIP SQUARE - 211 NORTH
        ROBINSON
        OKLAHOMA CITY, OK 73102-7103



3.913   BOARD OF WOODS COMMISSIONERS OF WOODS                     2/22/2019                   Opioid Matter              UNDETERMINED
        COUNTY
        MATTHEW J. SILL                                        ACCOUNT NO.:
        FULMER SILL                                            NOT AVAILABLE
        P.O. BOX 2448 - 1101 NORTH BROADWAY AVENUE, SUITE
        102
        OKLAHOMA CITY, OK 73103



3.914   BOBBIE LOU MOORE, INDIVIDUALLY AND AS NEXT                8/15/2018                   Opioid Matter              UNDETERMINED
        FRIEND AND GUARDIAN OF MINOR OF MINOR R.R.C., ON
        BEHALF OF THEMSELVES AND ALL OTHERS SIMILARLY          ACCOUNT NO.:
        SITUATED                                               NOT AVAILABLE
        ATTN: STEPHEN H. WUSSOW
        COOPER LAW FIRM, LLC
        1525 RELIGIOUS STREET
        NEW ORLEANS, LA 70130



3.915   BOBBIE LOU MOORE, INDIVIDUALLY AND AS NEXT                8/15/2018                   Opioid Matter              UNDETERMINED
        FRIEND AND GUARDIAN OF MINOR OF MINOR R.R.C., ON
        BEHALF OF THEMSELVES AND ALL OTHERS SIMILARLY          ACCOUNT NO.:
        SITUATED                                               NOT AVAILABLE
        ATTN: VICTOR COBB
        COOPER LAW FIRM, LLC
        1525 RELIGIOUS STREET
        NEW ORLEANS, LA 70130



3.916   BOBBIE LOU MOORE, INDIVIDUALLY AND AS NEXT                8/15/2018                   Opioid Matter              UNDETERMINED
        FRIEND AND GUARDIAN OF MINOR OF MINOR R.R.C., ON
        BEHALF OF THEMSELVES AND ALL OTHERS SIMILARLY          ACCOUNT NO.:
        SITUATED                                               NOT AVAILABLE
        ATTN: BARRY J. COOPER, JR.
        COOPER LAW FIRM
        1525 RELIGIOUS STREET
        NEW ORLEANS, LA 70130


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Creditor's Name, Mailing Address Including Zip               Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                          And Account Number                         Claim

Litigation

3.917   Bobbie Lou Moore, individually and as next friend and guardian     8/15/2018                  Opioid Matter              UNDETERMINED
        of minor of minor R.R.C., on behalf of themselves and all
        others similarly situated                                        ACCOUNT NO.:
        Attn: Celeste Brustowicz, Barry James Cooper, Jr., Stephen H.    NOT AVAILABLE
        Wussow, Victor T. Cobb
        Cooper Law Firm, LLC
        1525 Religious Street
        New Orleans, LA 70130



3.918   BOBBIE LOU MOORE, INDIVIDUALLY AND AS NEXT                         8/15/2018                  Opioid Matter              UNDETERMINED
        FRIEND AND GUARDIAN OF MINOR OF MINOR R.R.C., ON
        BEHALF OF THEMSELVES AND ALL OTHERS SIMILARLY                    ACCOUNT NO.:
        SITUATED                                                         NOT AVAILABLE
        ATTN: DAVID R. BARNEY, JR.
        THOMPSON BARNEY LAW FIRM
        2030 KANAWHA BOULEVARD, EAST
        CHARLESTON, WV 25311



3.919   BOBBIE LOU MOORE, INDIVIDUALLY AND AS NEXT                         8/15/2018                  Opioid Matter              UNDETERMINED
        FRIEND AND GUARDIAN OF MINOR OF MINOR R.R.C., ON
        BEHALF OF THEMSELVES AND ALL OTHERS SIMILARLY                    ACCOUNT NO.:
        SITUATED                                                         NOT AVAILABLE
        ATTN: KEVIN W. THOMPSON
        THOMPSON BARNEY LAW FIRM
        2030 KANAWHA BOULEVARD, EAST
        CHARLESTON, WV 25311-2204



3.920   Bobbie Lou Moore, individually and as next friend and guardian     8/15/2018                  Opioid Matter              UNDETERMINED
        of minor of minor R.R.C., on behalf of themselves and all
        others similarly situated                                        ACCOUNT NO.:
        Attn: Kevin W. Thompson, David R. Barney, Jr.                    NOT AVAILABLE
        Thompson Barney Law Firm
        2030 Kanawha Boulevard, East
        Charleston, WV 25311-2204



3.921   BOBBY GUIDROZ, DULY ELECTED SHERIFF OF ST.                          9/7/2018                  Opioid Matter              UNDETERMINED
        LANDRY PARISH, LOUISIANA, IN HIS CAPACITY AS EX
        OFFICIO OF THE ST. LANDRY PARISH'S OFFICE AND THE                ACCOUNT NO.:
        ST. LANDRY PARISH LAW ENFORCEMENT DISTRICT                       NOT AVAILABLE
        ATTN: SHERIFF
        1592 E. PRUDHOMME STREET
        OPELOUSAS, LA 70570



3.922   BOISE COUNTY                                                       8/17/2018                  Opioid Matter              UNDETERMINED
        ATTN: CLERK OF BOISE COUNTY
        420 MAIN STREET                                                  ACCOUNT NO.:
        P.O. BOX 1300                                                    NOT AVAILABLE
        IDAHO CITY, ID 83631



3.923   BOISE COUNTY                                                       8/17/2018                  Opioid Matter              UNDETERMINED
        ATTN: BOARD OF COMMISSIONERS OF BOISE COUNTY
        420 MAIN STREET                                                  ACCOUNT NO.:
        IDAHO CITY, ID 83631                                             NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.924   BON SECOURS HEALTH SYSTEM, INC.                           7/11/2018                   Opioid Matter              UNDETERMINED
        ATTN: REGISTERED AGENT
        MERCY HEALTH                                           ACCOUNT NO.:
        1701 MERCY HEALTH PLACE                                NOT AVAILABLE
        CINCINNATI, OH 45237



3.925   BON SECOURS HEALTH SYSTEM, INC.                           7/11/2018                   Opioid Matter              UNDETERMINED
        ATTN: PRESIDENT AND CHIEF EXECUTIVE OFFICER
        1505 MARRIOTTSVILLE ROAD                               ACCOUNT NO.:
        MARRIOTTSVILLE, MD 21104                               NOT AVAILABLE



3.926   BONNEVILLE COUNTY                                         8/17/2018                   Opioid Matter              UNDETERMINED
        ATTN: COUNTY CLERK AND CHAIR OF COMMISSIONERS
        605 NORTH CAPITAL AVENUE                               ACCOUNT NO.:
        IDAHO FALLS, ID 83402                                  NOT AVAILABLE



3.927   BOONE COUNTY, MISSOURI                                    6/6/2019                    Opioid Matter              UNDETERMINED
        BOONE COUNTY COURTHOUSE
        801 EAST WALNUT STREET                                 ACCOUNT NO.:
         - ROOM 333                                            NOT AVAILABLE
        COLUMBIA, MO 65201



3.928   BOONE COUNTY, MISSOURI                                    6/6/2019                    Opioid Matter              UNDETERMINED
        ATTN: COUNTY CLERK
        BOONE COUNTY COURTHOUSE                                ACCOUNT NO.:
        801 EAST WALNUT STREET - ROOM 236                      NOT AVAILABLE
        COLUMBIA, MO 65201



3.929   BOROUGH OF NAUGATUCK                                      1/9/2018                    Opioid Matter              UNDETERMINED
        PAUL J. HANLY JR.
        SIMMONS HANLY CONROY LLC                               ACCOUNT NO.:
        112 MADISON AVENUE, 7TH FLOOR                          NOT AVAILABLE
        NEW YORK, NY 10016



3.930   BOROUGH OF NAUGATUCK                                      1/9/2018                    Opioid Matter              UNDETERMINED
        JAMES E. HARTLEY JR.
        500 CHASE PARKWAY                                      ACCOUNT NO.:
        WATERBURY, CT 06708                                    NOT AVAILABLE



3.931   BOROUGH OF NAUGATUCK                                      1/9/2018                    Opioid Matter              UNDETERMINED
        SARAH S. BURNS
        SIMMONS HANLY CONROY LLC                               ACCOUNT NO.:
        ONE COURT STREET                                       NOT AVAILABLE
        ALTON, IL 62002



3.932   BOROUGH OF NAUGATUCK                                      1/9/2018                    Opioid Matter              UNDETERMINED
        THOMAS SHERIDAN
        SIMMONS HANLY CONROY LLC                               ACCOUNT NO.:
        112 MADISON AVENUE                                     NOT AVAILABLE
        NEW YORK, NY 10016




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.933   BOROUGH OF NAUGATUCK                                      1/9/2018                    Opioid Matter              UNDETERMINED
        400 ORANGE STREET
        CLENDENEN & SHEA LLC                                   ACCOUNT NO.:
        NEW HAVEN, CT 06511                                    NOT AVAILABLE



3.934   BOROUGH OF NAUGATUCK                                      1/9/2018                    Opioid Matter              UNDETERMINED
        CHARLES S. HELLMAN
        1177 AVENUE OF THE AMERICAS                            ACCOUNT NO.:
        44TH FLOOR                                             NOT AVAILABLE
        NEW YORK, NY 10036



3.935   BOROUGH OF NAUGATUCK                                      1/9/2018                    Opioid Matter              UNDETERMINED
        ATTN: ANDREA BIERSTEIN
        SIMMONS HANLY CONROY LLC                               ACCOUNT NO.:
        112 MADISON AVENUE                                     NOT AVAILABLE
        NEW YORK, NY 10016



3.936   BOROUGH OF NAUGATUCK                                      1/9/2018                    Opioid Matter              UNDETERMINED
        ATTN: CLERK
        229 CHURCH STREET, 2ND FLOOR                           ACCOUNT NO.:
        NAUGATUCK, CT 06770                                    NOT AVAILABLE



3.937   BOSSIER CITY                                              9/4/2018                    Opioid Matter              UNDETERMINED
        ATTN: THE MAYOR
        620 BENTON ROAD                                        ACCOUNT NO.:
        BOSSIER CITY, LA 71111                                 NOT AVAILABLE



3.938   BOSSIER PARISH                                           12/29/2017                   Opioid Matter              UNDETERMINED
        ATTN: MAYOR
        620 BENTON ROAD                                        ACCOUNT NO.:
        BOSSIER CITY, LA 71111                                 NOT AVAILABLE



3.939   BOSSIER PARISH EMERGENCY MEDICAL SERVICES                10/26/2018                   Opioid Matter              UNDETERMINED
        AMBULANCE DISTRICT
        ATTN: BOARD OF COMMISSIONERS                           ACCOUNT NO.:
        5275 SWAN LAKE ROAD                                    NOT AVAILABLE
        BOSSIER CITY, LA 71111



3.940   BOSTON GLOBE MEDIA PARTNERS, LLC                          6/13/2018                   Opioid Matter              UNDETERMINED
        ROBERT A. BERTSCHE, ESQ.
        PRINCE LOBEL TYE LLP                                   ACCOUNT NO.:
        ONE INTERNATIONAL PLACE - SUITE 3700                   NOT AVAILABLE
        BOSTON, MA 02110



3.941   BOSTON GLOBE MEDIA PARTNERS, LLC                          6/13/2018                   Opioid Matter              UNDETERMINED
        JEFFREY JACKSON PYLE, ESQ.
        PRINCE LOBEL TYE LLP                                   ACCOUNT NO.:
        ONE INTERNATIONAL PLACE - SUITE 3700                   NOT AVAILABLE
        BOSTON, MA 02110




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Creditor's Name, Mailing Address Including Zip              Date Claim Was Incurred    C U      D    Basis For      Offset   Amount of Claim
Code                                                         And Account Number                        Claim

Litigation

3.942   BOSTON TOWNSHIP                                                 6/30/2018                   Opioid Matter              UNDETERMINED
        ATTN: BOSTON TOWNSHIP TRUSTEES
        1775 MAIN STREET                                              ACCOUNT NO.:
        PENINSULA, OH 44264                                           NOT AVAILABLE



3.943   BOULDER CITY                                                    6/20/2019                   Opioid Matter              UNDETERMINED
        ATTN: MAYOR
        401 CALIFORNIA AVENUE                                         ACCOUNT NO.:
        BOULDER CITY, NV 89005                                        NOT AVAILABLE



3.944   BOULDER CITY                                                    6/20/2019                   Opioid Matter              UNDETERMINED
        ATTN: AARON FORD
        STATE OF NEVADA ATTORNEY GENERAL                              ACCOUNT NO.:
        OLD SUPREME CT. BLDG. - 100 N. CARSON ST.                     NOT AVAILABLE
        CARSON CITY, NV 89701



3.945   BOURBON COUNTY, KANSAS                                          6/12/2018                   Opioid Matter              UNDETERMINED
        ATTN: COUNTY CLERK; COMMISSION CHAIR; TREASURER
        210 SOUTH NATIONAL AVENUE                                     ACCOUNT NO.:
        FORT SCOTT, KS 66701                                          NOT AVAILABLE



3.946   Bowling Green Warren County Community Hospital                  8/17/2018                   Opioid Matter              UNDETERMINED
        Corporation d/b/a The Medical Center at Bowling Green d/b/a
        The Medical Center at Caverna d/b/a The Medical Center at     ACCOUNT NO.:
        Scottsville                                                   NOT AVAILABLE
        Attn: Chief Executive Officer of The Medical Center and The
        Chair of the Medical Center Board of Directors
        The Medical Center
        250 Park Street
        Bowling Green, KY 42101



3.947   Bowling Green Warren County Community Hospital                  8/17/2018                   Opioid Matter              UNDETERMINED
        Corporation d/b/a The Medical Center at Bowling Green d/b/a
        The Medical Center at Caverna d/b/a The Medical Center at     ACCOUNT NO.:
        Scottsville                                                   NOT AVAILABLE
        Attn: Registered Agent, John A. Chaney
        Commonwealth Health Corporation
        800 Park Street
        Bowling Green, KY 42101



3.948   BOWLING GREEN-WARREN COUNTY COMMUNITY                           8/17/2018                   Opioid Matter              UNDETERMINED
        HOSPITAL CORPORATION
        ATTN: CHAIR OF BOWLING GREEN-WARREN COUNTY                    ACCOUNT NO.:
        COMMUNITY HOSPITAL CORPORATION                                NOT AVAILABLE
        250 PARK STREET
        BOWLING GREEN, KY 42101



3.949   BOWLING GREEN-WARREN COUNTY COMMUNITY                           8/17/2018                   Opioid Matter              UNDETERMINED
        HOSPITAL CORPORATION
        ATTN: REGISTERED AGENT                                        ACCOUNT NO.:
        800 PARK STREET                                               NOT AVAILABLE
        BOWLING GREEN, KY 42101




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Creditor's Name, Mailing Address Including Zip                Date Claim Was Incurred     C U     D    Basis For      Offset   Amount of Claim
Code                                                           And Account Number                        Claim

Litigation

3.950   BRADFORD COUNTY, FLORIDA                                            6/11/2019                 Opioid Matter              UNDETERMINED
        ATTN: COUNTY COMMISSIONER
        945 NORTH TEMPLE AVENUE                                           ACCOUNT NO.:
        STARKE, FL 32091                                                  NOT AVAILABLE



3.951   BRADLEY COUNTY                                                      UNKNOWN                   Opioid Matter              UNDETERMINED
        ATTN: COUNTY ATTORNEY
        PO BOX 1167                                                       ACCOUNT NO.:
        CLEVELAND, TN 37364                                               NOT AVAILABLE



3.952   BRADLEY COUNTY                                                      UNKNOWN                   Opioid Matter              UNDETERMINED
        ATTN: MAYOR
        155 BROAD STREET                                                  ACCOUNT NO.:
        COURTHOUSE ANNEX BUILDING, 2ND FLOOR - PO BOX                     NOT AVAILABLE
        1167
        CLEVELAND, TN 37364



3.953   Brandi Brumbarger, individually and as next friend and              6/14/2019                 Opioid Matter              UNDETERMINED
        guardian of Baby J.B.B., on behalf of themselves and all others
        similarly situated                                                ACCOUNT NO.:
        Attn: Kent Harrison Robbins                                       NOT AVAILABLE
        The Law Office of Kent Harrison Robbins, P.A.
        242 Northeast 27th Street
        Miami, FL 33137



3.954   BRANDI BRUMBARGER, INDIVIDUALLY AND AS NEXT                         6/14/2019                 Opioid Matter              UNDETERMINED
        FRIEND AND GUARDIAN OF BABY J.B.B., ON BEHALF OF
        THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                      ACCOUNT NO.:
        ATTN: SCOTT R. BICKFORD                                           NOT AVAILABLE
        MARTZELL, BICKFORD & CENTOLA
        338 LAFAYETTE STREET
        NEW ORLEANS, LA 70130



3.955   BRANDI BRUMBARGER, INDIVIDUALLY AND AS NEXT                         6/14/2019                 Opioid Matter              UNDETERMINED
        FRIEND AND GUARDIAN OF BABY J.B.B., ON BEHALF OF
        THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                      ACCOUNT NO.:
        ATTN: DONALD E. CREADORE                                          NOT AVAILABLE
        CREADOR LAW FIRM
        450 SEVENTH AVENUE - SUITE 1408
        NEW YORK, NY 10123



3.956   Brandi Brumbarger, individually and as next friend and              6/14/2019                 Opioid Matter              UNDETERMINED
        guardian of Baby J.B.B., on behalf of themselves and all others
        similarly situated                                                ACCOUNT NO.:
        Attn: Kevin W. Thompson, David R. Barney, Jr.                     NOT AVAILABLE
        Thompson Barney Law Firm
        2030 Kanawha Boulevard, East
        Charleston, WV 25311



3.957   BRANDI BRUMBARGER, INDIVIDUALLY AND AS NEXT                         6/14/2019                 Opioid Matter              UNDETERMINED
        FRIEND AND GUARDIAN OF BABY J.B.B., ON BEHALF OF
        THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                      ACCOUNT NO.:
        ATTN: STEPHEN WUSSOW                                              NOT AVAILABLE
        COOPER LAW FIRM
        1525 RELIGIOUS STREET
        NEW ORLEANS, LA 70130



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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.958   BRANDI BRUMBARGER, INDIVIDUALLY AND AS NEXT               6/14/2019                   Opioid Matter              UNDETERMINED
        FRIEND AND GUARDIAN OF BABY J.B.B., ON BEHALF OF
        THEMSELVES AND ALL OTHERS SIMILARLY SITUATED           ACCOUNT NO.:
        ATTN: SPENCER R. DOODY                                 NOT AVAILABLE
        MARTZELL, BICKFORD & CENTOLA
        338 LAFAYETTE STREET
        NEW ORLEANS, LA 70130



3.959   BRANDI BRUMBARGER, INDIVIDUALLY AND AS NEXT               6/14/2019                   Opioid Matter              UNDETERMINED
        FRIEND AND GUARDIAN OF BABY J.B.B., ON BEHALF OF
        THEMSELVES AND ALL OTHERS SIMILARLY SITUATED           ACCOUNT NO.:
        ATTN: DAVID R. BARNEY, JR.                             NOT AVAILABLE
        THOMPSON BARNEY LAW FIRM
        2030 KANAWHA BOULEVARD, EAST
        CHARLESTON, WV 25311



3.960   BRANDI BRUMBARGER, INDIVIDUALLY AND AS NEXT               6/14/2019                   Opioid Matter              UNDETERMINED
        FRIEND AND GUARDIAN OF BABY J.B.B., ON BEHALF OF
        THEMSELVES AND ALL OTHERS SIMILARLY SITUATED           ACCOUNT NO.:
        ATTN: CELESTE BRUSTOWICZ, STEPHEN H. WUSSOW            NOT AVAILABLE
        COOPER LAW FIRM, LLC
        1525 RELIGIOUS STREET
        NEW ORLEANS, LA 70130



3.961   BRANTLEY COUNTY, GEORGIA                                  6/13/2018                   Opioid Matter              UNDETERMINED
        ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
        33 ALLEN ROAD                                          ACCOUNT NO.:
        NAHUNTA, GA 31553                                      NOT AVAILABLE



3.962   BRAXTON COUNTY COMMISSION, WEST VIRGINIA                  3/15/2019                   Opioid Matter              UNDETERMINED
        ATTN: COUNTY PROSECUTING ATTORNEY
        BRAXTON COUNTY PROSECUTING ATTORNEY                    ACCOUNT NO.:
        PO BOX 118                                             NOT AVAILABLE
        SUTTON, WV 26601



3.963   BRAXTON COUNTY COMMISSION, WEST VIRGINIA                  3/15/2019                   Opioid Matter              UNDETERMINED
        ATTN: COMMISSIONER, COUNTY CLERK
        BRAXTON COUNTY COMMISSION                              ACCOUNT NO.:
        300 MAIN STREET - PO BOX 486                           NOT AVAILABLE
        SUTTON, WV 26601



3.964   BRAZOS COUNTY                                             7/5/2018                    Opioid Matter              UNDETERMINED
        ATTN: BRAZOS COUNTY JUDGE
        200 SOUTH TEXAS AVENUE                                 ACCOUNT NO.:
        SUITE 332                                              NOT AVAILABLE
        BRYAN, TX 77803



3.965   BRENT A. COOPER                                           1/10/2018                   Opioid Matter              UNDETERMINED
        ATTN: HENRY D. FINCHER
        305 EAST SPRING STREET                                 ACCOUNT NO.:
        COOKVILLE, TN 38501                                    NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip                 Date Claim Was Incurred    C U      D    Basis For      Offset   Amount of Claim
Code                                                            And Account Number                        Claim

Litigation

3.966   BRENT A. COOPER                                                    1/10/2018                   Opioid Matter              UNDETERMINED
        ATTN: ANTHONY A. ORLANDI, BENJAMIN A. GASTEL,
        JAMES GERARD STRANCH, IV, JAMES GERARD                           ACCOUNT NO.:
        STRANCH, III,                                                    NOT AVAILABLE
        TRICIA A. HERZFELD
        BRANSTETTER, STRANCH & JENNINGS, PLLC - THE
        FREEDOM CENTER, 223 ROSA L. PARKS AVE, STE 200
        NASHVILLE, TN 37203



3.967   BRENT A. COOPER, in his official capacity as the District          1/10/2018                   Opioid Matter              UNDETERMINED
        Attorney General for the Twenty-Second Judicial District, TN
        and on behalf of all political subdivisions therein, including   ACCOUNT NO.:
        Giles County, City of Elkton, Town of Lynnville, City of Minor   NOT AVAILABLE
        Hill, City
        Attn: J. Gerard Stranch, IV
        Branstetter, Stranch & Jennings, PLLC
        The Freedom Center - 223 Rosa L. Parks Avenue, Suite 200
        Nashville, TN 37203



3.968   BRENT A. COOPER, in his official capacity as the District          1/10/2018                   Opioid Matter              UNDETERMINED
        Attorney General for the Twenty-Second Judicial District, TN
        and on behalf of all political subdivisions therein, including   ACCOUNT NO.:
        Giles County, City of Elkton, Town of Lynnville, City of Minor   NOT AVAILABLE
        Hill, City
        Attn: Tricia A. Herzfeld
        Branstetter, Stranch & Jennings, PLLC
        The Freedom Center - 223 Rosa L. Parks Avenue, Suite 200
        Nashville, TN 37203



3.969   BRENT A. COOPER, in his official capacity as the District          1/10/2018                   Opioid Matter              UNDETERMINED
        Attorney General for the Twenty-Second Judicial District, TN
        and on behalf of all political subdivisions therein, including   ACCOUNT NO.:
        Giles County, City of Elkton, Town of Lynnville, City of Minor   NOT AVAILABLE
        Hill, City
        Attn: James G. Stranch, III
        Branstetter, Stranch & Jennings, PLLC
        The Freedom Center - 223 Rosa L. Parks Avenue, Suite 200
        Nashville, TN 37203



3.970   BRENT A. COOPER, in his official capacity as the District          1/10/2018                   Opioid Matter              UNDETERMINED
        Attorney General for the Twenty-Second Judicial District, TN
        and on behalf of all political subdivisions therein, including   ACCOUNT NO.:
        Giles County, City of Elkton, Town of Lynnville, City of Minor   NOT AVAILABLE
        Hill, City
        Attn: Benjamin A. Gastel
        Branstetter, Stranch & Jennings, PLLC
        The Freedom Center - 223 Rosa L. Parks Avenue, Suite 200
        Nashville, TN 37203



3.971   BRICKLAYERS AND ALLIED CRAFTWORKERS                                3/19/2018                   Opioid Matter              UNDETERMINED
        ATTN: PRESIDENT AND BUSINESS MANAGER
        100 KINGSTON DRIVE                                               ACCOUNT NO.:
        WILKINS TOWNSHIP                                                 NOT AVAILABLE
        PITTSBURGH, PA 15235




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Code                                                            And Account Number                         Claim

Litigation

3.972   BRICKLAYERS AND ALLIED CRAFTWORKERS                                 3/19/2018                   Opioid Matter              UNDETERMINED
        ATTN: PRESIDENT AND BUSINESS MANAGER
        733 FIREHOUSE LANE                                                ACCOUNT NO.:
        HARRISBURG, PA 17111                                              NOT AVAILABLE



3.973   BRICKLAYERS AND ALLIED CRAFTWORKERS LOCAL 1 OF                      3/19/2018                   Opioid Matter              UNDETERMINED
        PA/DE
        ATTN: PRESIDENT AND BUSINESS MANAGER                              ACCOUNT NO.:
        2706 BLACK LAKE PLACE                                             NOT AVAILABLE
        PHILADELPHIA, PA 19154



3.974   BRIDGE HOUSE CORPORATION                                            8/16/2018                   Opioid Matter              UNDETERMINED
        ATTN: CHIEF EXECUTIVE OFFICER
        BRIDGE HOUSE CORPORATION                                          ACCOUNT NO.:
        4150 EARHART BOULEVARD                                            NOT AVAILABLE
        NEW ORLEANS, LA 70125



3.975   BRIDGE HOUSE CORPORATION                                            8/16/2018                   Opioid Matter              UNDETERMINED
        ATTN: REGISTERED AGENT
        4150 EARHART BOULEVARD                                            ACCOUNT NO.:
        NEW ORLEANS, LA 70125                                             NOT AVAILABLE



3.976   BRISTOL TOWNSHIP, PENNSYLVANIA                                      6/12/2019                   Opioid Matter              UNDETERMINED
        ATTN: TOWNSHIP MANAGER
        2501 BATH ROAD                                                    ACCOUNT NO.:
        BRISTOL, PA 19007-2150                                            NOT AVAILABLE



3.977   BRISTOL TOWNSHIP, PENNSYLVANIA                                      6/12/2019                   Opioid Matter              UNDETERMINED
        ATTN: JOSH SHAPIRO
        STATE OF PENNSYLVANIA ATTORNEY GENERAL                            ACCOUNT NO.:
        PENNSYLVANIA OFFICE OF ATTORNEY GENERAL - 16TH                    NOT AVAILABLE
        FLOOR, STRAWBERRY SQUARE
        HARRISBURG, PA 17120



3.978   Brittany Flach, individually and as next friend and guardian of     6/16/2019                   Opioid Matter              UNDETERMINED
        Babies A.B. and G.B., on behalf of themselves and all others
        similarly situated                                                ACCOUNT NO.:
        Attn: Celeste Brustowicz, Stephen H. Wussow                       NOT AVAILABLE
        Cooper Law Firm, LLC
        1525 Religious Street
        New Orleans, LA 70130



3.979   BRITTANY FLACH, INDIVIDUALLY AND AS NEXT FRIEND                     6/16/2019                   Opioid Matter              UNDETERMINED
        AND GUARDIAN OF BABIES A.B. AND G.B., ON BEHALF OF
        THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                      ACCOUNT NO.:
        ATTN: DONALD E. CREADORE                                          NOT AVAILABLE
        CREADOR LAW FIRM
        450 SEVENTH AVENUE - SUITE 1408
        NEW YORK, NY 10123




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Creditor's Name, Mailing Address Including Zip                  Date Claim Was Incurred    C U      D    Basis For      Offset   Amount of Claim
Code                                                             And Account Number                        Claim

Litigation

3.980   BRITTANY FLACH, INDIVIDUALLY AND AS NEXT FRIEND                     6/16/2019                   Opioid Matter              UNDETERMINED
        AND GUARDIAN OF BABIES A.B. AND G.B., ON BEHALF OF
        THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                      ACCOUNT NO.:
        ATTN: SPENCER R. DOODY                                            NOT AVAILABLE
        MARTZELL, BICKFORD & CENTOLA
        338 LAFAYETTE STREET
        NEW ORLEANS, LA 70130



3.981   BRITTANY FLACH, INDIVIDUALLY AND AS NEXT FRIEND                     6/16/2019                   Opioid Matter              UNDETERMINED
        AND GUARDIAN OF BABIES A.B. AND G.B., ON BEHALF OF
        THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                      ACCOUNT NO.:
        ATTN: SCOTT R. BICKFORD                                           NOT AVAILABLE
        MARTZELL, BICKFORD & CENTOLA
        338 LAFAYETTE STREET
        NEW ORLEANS, LA 70130



3.982   Brittany Flach, individually and as next friend and guardian of     6/16/2019                   Opioid Matter              UNDETERMINED
        Babies A.B. and G.B., on behalf of themselves and all others
        similarly situated                                                ACCOUNT NO.:
        Attn: Kevin W. Thompson, David R. Barney, Jr.                     NOT AVAILABLE
        Thompson Barney Law Firm
        2030 Kanawha Boulevard, East
        Charleston, WV 25311



3.983   BRITTANY FLACH, INDIVIDUALLY AND AS NEXT FRIEND                     6/16/2019                   Opioid Matter              UNDETERMINED
        AND GUARDIAN OF BABIES A.B. AND G.B., ON BEHALF OF
        THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                      ACCOUNT NO.:
        ATTN: STEPHEN WUSSOW                                              NOT AVAILABLE
        COOPER LAW FIRM
        1525 RELIGIOUS STREET
        NEW ORLEANS, LA 70130



3.984   BRITTANY FLACH, INDIVIDUALLY AND AS NEXT FRIEND                     6/16/2019                   Opioid Matter              UNDETERMINED
        AND GUARDIAN OF BABIES A.B. AND G.B., ON BEHALF OF
        THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                      ACCOUNT NO.:
        ATTN: DAVID R. BARNEY, JR.                                        NOT AVAILABLE
        THOMPSON BARNEY LAW FIRM
        2030 KANAWHA BOULEVARD, EAST
        CHARLESTON, WV 25311



3.985   Brittany Flach, individually and as next friend and guardian of     6/16/2019                   Opioid Matter              UNDETERMINED
        Babies A.B. and G.B., on behalf of themselves and all others
        similarly situated                                                ACCOUNT NO.:
        Attn: Kent Harrison Robbins                                       NOT AVAILABLE
        The Law Office of Kent Harrison Robbins, P.A.
        242 Northeast 27th Street
        Miami, FL 33137



3.986   BROADDUS HOSPITAL ASSOCIATION                                       4/29/2019                   Opioid Matter              UNDETERMINED
        ATTN: PRESIDENT AND REGISTERED AGENT, DANA
        GOULD                                                             ACCOUNT NO.:
        1 HEALTHCARE DRIVE                                                NOT AVAILABLE
        MANSFIELD HILL
        PHILIPPI, WV 26416




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  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.987   BROADDUS HOSPITAL ASSOCIATION                             4/29/2019                   Opioid Matter              UNDETERMINED
        ATTN: NOTICE OF PROCESS ADDRESS
        DANA GOULD                                             ACCOUNT NO.:
        1 HEALTHCARE DRIVE                                     NOT AVAILABLE
        PHILIPPI, WV 26416



3.988   BROADDUS HOSPITAL ASSOCIATION                             4/29/2019                   Opioid Matter              UNDETERMINED
        ATTN: SECRETARY OF STATE
        OFFICE OF THE SECRETARY OF STATE                       ACCOUNT NO.:
        STATE CAPITOL BUILDING                                 NOT AVAILABLE
        CHARLESTON, WV 25305



3.989   BROOKE COUNTY COMMISSION                                 12/13/2017                   Opioid Matter              UNDETERMINED
        ATTN: COMMISSIONER
        632 MAIN ST                                            ACCOUNT NO.:
        WELLSBURG, WV 26070                                    NOT AVAILABLE



3.990   BROOKE COUNTY COMMISSION                                 12/13/2017                   Opioid Matter              UNDETERMINED
        JOSEPH F. SHAFFER
        SHAFFER MADIA LAW PLLC                                 ACCOUNT NO.:
        343 WEST MAIN STREET                                   NOT AVAILABLE
        CLARKSBURG, WV 26301



3.991   BROOKE COUNTY COMMISSION                                 12/13/2017                   Opioid Matter              UNDETERMINED
        JONATHAN E. TURAK
        GOLD, KHOUREY & TURAK, LC                              ACCOUNT NO.:
        510 TOMLINSON AVENUE                                   NOT AVAILABLE
        MOUNDSVILLE, WV 26041



3.992   BROOKE COUNTY COMMISSION                                 12/13/2017                   Opioid Matter              UNDETERMINED
        ROBERT P. FITZSIMMONS
        FITZSIMMONS LAW FIRM, PLLC                             ACCOUNT NO.:
        1609 WARWOOD AVENUE                                    NOT AVAILABLE
        WHEELING, WV 26036



3.993   BROOKE COUNTY COMMISSION                                 12/13/2017                   Opioid Matter              UNDETERMINED
        JOSEPH L. CIACCIO
        NAPOLI SHKOKNIK, PLLC                                  ACCOUNT NO.:
        400 BROADHOLLOW ROAD - SUITE 350                       NOT AVAILABLE
        MELVILLE, NY 11747



3.994   BROOKE COUNTY COMMISSION                                 12/13/2017                   Opioid Matter              UNDETERMINED
        PAUL J. NAPOLI
        NAPOLI SHKOKNIK, PLLC                                  ACCOUNT NO.:
        400 BROADHOLLOW ROAD - SUITE 350                       NOT AVAILABLE
        MELVILLE, NY 11747



3.995   BROOKE COUNTY COMMISSION                                 12/13/2017                   Opioid Matter              UNDETERMINED
        HUNTER J. SHKOLNIK
        NAPOLI SHKOKNIK, PLLC                                  ACCOUNT NO.:
        400 BROADHOLLOW ROAD - SUITE 350                       NOT AVAILABLE
        MELVILLE, NY 11747




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.996    BROOKE COUNTY COMMISSION                                12/13/2017                   Opioid Matter              UNDETERMINED
         SHAYNA E. SACKS
         NAPOLI SHKOKNIK, PLLC                                 ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 350                      NOT AVAILABLE
         MELVILLE, NY 11747



3.997    BROOKE COUNTY COMMISSION                                12/13/2017                   Opioid Matter              UNDETERMINED
         DANIEL J. GUIDA
         3374 MAIN STREET                                      ACCOUNT NO.:
         WEIRTON, WV 26062                                     NOT AVAILABLE



3.998    BROOKE COUNTY COMMISSION                                12/13/2017                   Opioid Matter              UNDETERMINED
         SAMUEL D. MADIA
         SHAFFER MADIA LAW PLLC                                ACCOUNT NO.:
         343 WEST MAIN STREET                                  NOT AVAILABLE
         CLARKSBURG, WV 26301



3.999    BROOKE COUNTY COMMISSION                                12/13/2017                   Opioid Matter              UNDETERMINED
         CLAYTON J FITZSIMMONS
         FITZSIMMONS LAW FIRM, PLLC                            ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26036



3.1000   BROOKE COUNTY COMMISSION                                12/13/2017                   Opioid Matter              UNDETERMINED
         MARK A. COLANTONIO
         FITZSIMMONS LAW FIRM, PLLC                            ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26036



3.1001   BROOKE COUNTY COMMISSION                                12/13/2017                   Opioid Matter              UNDETERMINED
         SALVATORE C. BADALA
         NAPOLI SHKOKNIK, PLLC                                 ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 350                      NOT AVAILABLE
         MELVILLE, NY 11747



3.1002   BROOKS COUNTY, GEORGIA                                   8/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         AND COUNTY ADMINISTRATOR                              ACCOUNT NO.:
         610 SOUTH HIGHLAND STREET                             NOT AVAILABLE
         QUITMAN, GA 31643



3.1003   BROWARD BEHAVIORAL HEALTH COALITION                      5/8/2019                    Opioid Matter              UNDETERMINED
         ATTN: BROWARD BEHAVIORAL HEALTH COALITION CEO;
         CHAIR; VICE CHAIR; TREASURER; SECRETARY               ACCOUNT NO.:
         3521 WEST BROWARD BOULEVARD                           NOT AVAILABLE
         SUITE 206
         LAUDERHILL, FL 33312



3.1004   BROWARD BEHAVIORAL HEALTH COALITION                      5/8/2019                    Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         GOREN CHEROF DOODY & EZROL, P.A.                      ACCOUNT NO.:
         3099 EAST COMMERCIAL BOULEVARD - SUITE 200            NOT AVAILABLE
         FORT LAUDERDALE, FL 33308




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1005   BROWARD COUNTY, FLORIDA                                  3/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS
         BROWARD COUNTY GOVERNMENTAL CENTER                    ACCOUNT NO.:
         115 SOUTH ANDREWS AVENUE                              NOT AVAILABLE
         FORT LAUDERDALE, FL 33301



3.1006   BROWARD COUNTY, FLORIDA                                  3/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: VICE MAYOR
         BROWARD COUNTY GOVERNMENTAL CENTER                    ACCOUNT NO.:
         115 SOUTH ANDREWS AVENUE - ROOM 417                   NOT AVAILABLE
         FORT LAUDERDALE, FL 33301



3.1007   BROWARD COUNTY, FLORIDA                                  3/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         BROWARD COUNTY GOVERNMENTAL CENTER                    ACCOUNT NO.:
         115 SOUTH ANDREWS AVENUE - ROOM 437B                  NOT AVAILABLE
         FORT LAUDERDALE, FL 33301



3.1008   BROWN COUNTY BOARD OF COUNTY COMMISSIONERS              10/12/2017                   Opioid Matter              UNDETERMINED
         510 EAST STATE STREET
         SUITE 2                                               ACCOUNT NO.:
         GEORGETOWN, OH 45121                                  NOT AVAILABLE



3.1009   BROWN COUNTY BOARD OF COUNTY COMMISSIONERS              10/12/2017                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE COUNTY COMMISSIONERS
         ADMINISTRATION BUILDING                               ACCOUNT NO.:
         SUITE# 101 - 800 MOUNT ORAB PIKE                      NOT AVAILABLE
         GEORGETOWN, OH 45121



3.1010   BROWN COUNTY, ET AL.                                     1/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY BOARD CHAIR AND COUNTY CLERK
         2444 BABCOCK ROAD                                     ACCOUNT NO.:
         GREEN BAY, WI 54313                                   NOT AVAILABLE



3.1011   BROWN COUNTY, ET AL.                                     1/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY BOARD CHAIR AND COUNTY CLERK
         NORTHERN BUILDING                                     ACCOUNT NO.:
         305 E. WALNUT STREET, ROOM 120                        NOT AVAILABLE
         GREEN BAY, WI 54301



3.1012   BROWN COUNTY, ET AL.                                     1/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY BOARD CHAIR AND COUNTY CLERK
         PO BOX 23600                                          ACCOUNT NO.:
         GREEN BAY, WI 54305-3600                              NOT AVAILABLE



3.1013   BROWNWOOD HOSPITAL, L.P. D/B/A BROWNWOOD                UNKNOWN                      Opioid Matter              UNDETERMINED
         REGIONALMEDICAL CENTER
         ATTN: CEO, PARTNER, OR MANAGER                        ACCOUNT NO.:
         1501 BURNETT ROAD                                     NOT AVAILABLE
         BROWNWOOD, TX 76801




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1014   BROWNWOOD HOSPITAL, L.P. D/B/A BROWNWOOD                UNKNOWN                      Opioid Matter              UNDETERMINED
         REGIONALMEDICAL CENTER
         ATTN: CEO, PARTNER, OR MANAGER                        ACCOUNT NO.:
         P.O. BOX 760                                          NOT AVAILABLE
         BROWNWOOD, TX 76804-0760



3.1015   BRUNSWICK COUNTY                                         2/2/2018                    Opioid Matter              UNDETERMINED
         P.O. BOX 249
         BOLIVIA, NC 28422                                     ACCOUNT NO.:
                                                               NOT AVAILABLE


3.1016   BRUNSWICK COUNTY                                         2/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER
         30 GOVERNMENT CENTER DRIVE                            ACCOUNT NO.:
         DAVID R. SANDIFER BUILDING - THIRD FLOOR              NOT AVAILABLE
         BOLIVIA, NC 28422



3.1017   BRYANT C. DUNAWAY                                        1/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: ANTHONY A. ORLANDI, BENJAMIN A. GASTEL,
         JAMES GERARD STRANCH, IV, JAMES GERARD                ACCOUNT NO.:
         STRANCH, III,                                         NOT AVAILABLE
         TRICIA A. HERZFELD
         BRANSTETTER, STRANCH & JENNINGS, PLLC - THE
         FREEDOM CENTER, 223 ROSA L. PARKS AVE, STE 200
         NASHVILLE, TN 37023



3.1018   BRYANT C. DUNAWAY                                        1/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: HENRY D. FINCHER
         HENRY FINCHER ATTORNEY AT LAW                         ACCOUNT NO.:
         305 EAST SPRING STREET                                NOT AVAILABLE
         COOKEVILLE, TN 38501-3311



3.1019   BRYANT C. DUNAWAY                                        1/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: DISTRICT ATTORNEY GENERAL
         1519-A EAST SPRING STREET                             ACCOUNT NO.:
         COOKEVILLE, TN 38506                                  NOT AVAILABLE



3.1020   BRYANT C. DUNAWAY, ET AL.                                1/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: BENJAMIN A. GASTEL, JAMES GERARD STRANCH,
         IV, JAMES GERARD STRANCH, III, TRICIA A. HERZFELD     ACCOUNT NO.:
         BRANSTETTER, STRANCH & JENNINGS, PLLC                 NOT AVAILABLE
         THE FREEDOM CENTER - 223 ROSA L. PARKS AVENUE,
         SUITE 200
         NASHVILLE, TN 37203



3.1021   BRYANT C. DUNAWAY, ET AL.                                1/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: HENRY D. FINCHER
         HENRY FINCHER ATTORNEY AT LAW                         ACCOUNT NO.:
         305 EAST SPRING STREET                                NOT AVAILABLE
         COOKEVILLE, TN 38501-3311



3.1022   BRYANT C. DUNAWAY, ET AL.                                1/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: BRYANT C. DUNAWAY
         1519-A EAST SPRING STREET                             ACCOUNT NO.:
         COOKEVILLE, TN 38506                                  NOT AVAILABLE



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Creditor's Name, Mailing Address Including Zip                  Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                             And Account Number                         Claim

Litigation

3.1023   BRYANT C. DUNAWAY, ET AL.                                            1/10/2018                  Opioid Matter              UNDETERMINED
         ATTN: BRYANT C. DUNAWAY
         112 4TH STREET                                                     ACCOUNT NO.:
         CROSSVILLE, TN 38555                                               NOT AVAILABLE



3.1024   BRYANT C. DUNAWAY, ET AL.                                            1/10/2018                  Opioid Matter              UNDETERMINED
         ATTN: BRYANT C. DUNAWAY
         1920 BRADFORD HICKS DRIVE                                          ACCOUNT NO.:
         LIVINGSTON, TN 38570                                               NOT AVAILABLE



3.1025   BRYANT C. DUNAWAY, ET AL.                                            1/10/2018                  Opioid Matter              UNDETERMINED
         ATTN: JAMES GERARD STRANCH, III
         BRANSTETTER, STRANCH & JENNINGS, PLLC                              ACCOUNT NO.:
         THE FREEDOM CENTER - 223 ROSA L. PARKS AVENUE,                     NOT AVAILABLE
         SUITE 200
         NASHVILLE, TN 37203



3.1026   BRYANT C. DUNAWAY, ET AL.                                            1/10/2018                  Opioid Matter              UNDETERMINED
         ATTN: JAMES GERARD STRANCH, IV
         BRANSTETTER, STRANCH & JENNINGS, PLLC                              ACCOUNT NO.:
         THE FREEDOM CENTER - 223 ROSA L. PARKS AVENUE,                     NOT AVAILABLE
         SUITE 200
         NASHVILLE, TN 37203



3.1027   BRYANT C. DUNAWAY, ET AL.                                            1/10/2018                  Opioid Matter              UNDETERMINED
         ATTN: TRICIA HERZFELD
         BRANSTETTER, STRANCH & JENNINGS, PLLC                              ACCOUNT NO.:
         THE FREEDOM CENTER - 223 ROSA L. PARKS AVENUE,                     NOT AVAILABLE
         SUITE 200
         NASHVILLE, TN 37203



3.1028   Bryant C. Dunaway, in his official capacity as the District          1/10/2018                  Opioid Matter              UNDETERMINED
         Attorney General for the Thirteenth Judicial District, TN and on
         behalf of all political subdivisions therein, Including Clay       ACCOUNT NO.:
         County, City of Celine, Cumberland County                          NOT AVAILABLE
         Attn: James Gerard Stranch, III
         Branstetter, Stranch & Jennings, PLLC
         The Freedom Center - 223 Rosa L. Parks Avenue, Suite 200
         Nashville, TN 37203



3.1029   Bryant C. Dunaway, in his official capacity as the District          1/10/2018                  Opioid Matter              UNDETERMINED
         Attorney General for the Thirteenth Judicial District, TN and on
         behalf of all political subdivisions therein, Including Clay       ACCOUNT NO.:
         County, City of Celine, Cumberland County                          NOT AVAILABLE
         Attn: James Gerard Stranch, IV
         Branstetter, Stranch & Jennings, PLLC
         The Freedom Center - 223 Rosa L. Parks Avenue, Suite 200
         Nashville, TN 37203



3.1030   Bryant C. Dunaway, in his official capacity as the District          1/10/2018                  Opioid Matter              UNDETERMINED
         Attorney General for the Thirteenth Judicial District, TN and on
         behalf of all political subdivisions therein, Including Clay       ACCOUNT NO.:
         County, City of Celine, Cumberland County                          NOT AVAILABLE
         Attn: Tricia Herzfeld
         Branstetter, Stranch & Jennings, PLLC
         The Freedom Center - 223 Rosa L. Parks Avenue, Suite 200
         Nashville, TN 37203

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Code                                                             And Account Number                         Claim

Litigation

3.1031   Bryant C. Dunaway, in his official capacity as the District          1/10/2018                  Opioid Matter              UNDETERMINED
         Attorney General for the Thirteenth Judicial District, TN and on
         behalf of all political subdivisions therein, Including Clay       ACCOUNT NO.:
         County, City of Celine, Cumberland County                          NOT AVAILABLE
         Attn: Benjamin A. Gastel
         Branstetter, Stranch & Jennings, PLLC
         The Freedom Center - 223 Rosa L. Parks Avenue, Suite 200
         Nashville, TN 37203



3.1032   BUCHANAN COUNTY                                                       9/6/2018                  Opioid Matter              UNDETERMINED
         ATTN: COMMONWEALTH'S ATTORNEY
         1012 WALNUT STREET                                                 ACCOUNT NO.:
         ROOM 426 - P. O. BOX 804                                           NOT AVAILABLE
         GRUNDY, VA 24614



3.1033   BUCHANAN COUNTY, MISSOURI                                            11/29/2017                 Opioid Matter              UNDETERMINED
         ATTN: CLERK OF THE COUNTY COMMISSION
         411 JULES                                                          ACCOUNT NO.:
         ROOM 121                                                           NOT AVAILABLE
         ST. JOSEPH, MO 64501



3.1034   BUCKS COUNTY                                                         5/29/2018                  Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF BUCKS COUNTY COMMISSIONERS
         BUCKS COUNTY ADMINISTRATION BUILDING                               ACCOUNT NO.:
         55 EAST COURT STREET                                               NOT AVAILABLE
         DOYLESTOWN, PA 18901



3.1035   BUFFALO COUNTY                                                       11/28/2017                 Opioid Matter              UNDETERMINED
         ATTN: COUNTY BOARD CHAIR AND COUNTY CLERK
         PO BOX 58                                                          ACCOUNT NO.:
         ALMA, WI 54610                                                     NOT AVAILABLE



3.1036   BUFFALO COUNTY                                                       11/28/2017                 Opioid Matter              UNDETERMINED
         ATTN: COUNTY BOARD CHAIR AND COUNTY CLERK
         W166 THOMAS ROAD                                                   ACCOUNT NO.:
         FOUNTAIN CITY, WI 54629                                            NOT AVAILABLE



3.1037   BUFFALO COUNTY                                                       11/28/2017                 Opioid Matter              UNDETERMINED
         ATTN: COUNTY BOARD CHAIR AND COUNTY CLERK
         407 SOUTH 2ND STREET                                               ACCOUNT NO.:
         ALMA, WI 54610                                                     NOT AVAILABLE



3.1038   BULLHEAD CITY                                                        6/25/2019                  Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         CITY CLERK'S OFFICE                                                ACCOUNT NO.:
         2355 TRANE ROAD                                                    NOT AVAILABLE
         BULLHEAD CITY, AZ 86442



3.1039   BULLHEAD CITY HOSPITAL CORPORATION                                   6/18/2019                  Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         OFFICE OF THE SECRETARY OF STATE                                   ACCOUNT NO.:
         1700 WEST WASHINGTON STREET - FLOOR 7                              NOT AVAILABLE
         PHOENIX, AZ 85007-2808




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Code                                                 And Account Number                          Claim

Litigation

3.1040   BULLHEAD CITY HOSPITAL CORPORATION                       6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         2735 SILVER CREEK ROAD                                ACCOUNT NO.:
         BULLHEAD CITY, AZ 86442                               NOT AVAILABLE



3.1041   BULLHEAD CITY HOSPITAL CORPORATION                       6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         8825 NORTH 23RD AVENUE                                ACCOUNT NO.:
         SUITE 100 - CORPORATION SERVICE COMPANY               NOT AVAILABLE
         PHOENIX, AZ 85021



3.1042   BULLOCH COUNTY, GEORGIA                                  3/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, BOARD OF COMMISSIONERS
         NORTH MAIN ANNEX BUILDING, COMMUNITY ROOM             ACCOUNT NO.:
         115 NORTH MAIN ST                                     NOT AVAILABLE
         STATESBORO, GA 30458



3.1043   BULLOCK COUNTY, ALABAMA                                  2/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: CIRCUIT CLERK
         217 PRAIRIE STREET N                                  ACCOUNT NO.:
         ROOM 101                                              NOT AVAILABLE
         UNION SPRINGS, AL 36089-1659



3.1044   BULLOCK COUNTY, ALABAMA                                  2/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, BULLOCK COUNTY COMMISSION AND
         ADMINISTRATOR, BULLOCK COUNTY COMMISSION              ACCOUNT NO.:
         110 HARDAWAY AVE WEST                                 NOT AVAILABLE
         UNION SPRINGS, AL 36089



3.1045   BULLOCK COUNTY, ALABAMA                                  2/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.1046   BUNCOMBE COUNTY                                         11/14/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER, CHAIRMAN, CLERK TO
         BOARD, BOARD MEMBERS                                  ACCOUNT NO.:
         200 COLLEGE STREET, SUITE 300                         NOT AVAILABLE
         ASHEVILLE, NC 28801



3.1047   BURKE COUNTY                                             1/31/2018                   Opioid Matter              UNDETERMINED
         P.O. BOX 219
         MORGANTON, NC 28680                                   ACCOUNT NO.:
                                                               NOT AVAILABLE


3.1048   BURKE COUNTY                                             1/31/2018                   Opioid Matter              UNDETERMINED
         110 N GREEN STREET
         MORGANTON, NC 28655                                   ACCOUNT NO.:
                                                               NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.1049   BURKE COUNTY                                             1/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER, CLERK TO BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         200 AVERY AVENUE                                      NOT AVAILABLE
         MORGANTON, NC 28655



3.1050   BURKE COUNTY, GEORGIA                                    3/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE BURKE COUNTY BOARD
         OF COMMISSIONERS                                      ACCOUNT NO.:
         BURKE COUNTY BOARD OF COMMISSIONERS                   NOT AVAILABLE
         602 LIBERTY STREET
         WAYNESBORO, GA 30830



3.1051   BURLEIGH COUNTY                                          6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR AND BOARD OF COMMISSIONERS
         CITY/COUNTY OFFICE BUILDING                           ACCOUNT NO.:
         221 N. 5TH STREET                                     NOT AVAILABLE
         BISMARCK, ND 58501



3.1052   BURNETT COUNTY                                          11/28/2017                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND CHAIRPERSON OF THE COUNTY
         BOARD                                                 ACCOUNT NO.:
         5952 DEVILS LAKE ROAD                                 NOT AVAILABLE
         WEBSTER, WI 54893



3.1053   BURNETT COUNTY                                          11/28/2017                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND CHAIRPERSON OF THE COUNTY
         BOARD                                                 ACCOUNT NO.:
         7410 COUNTY ROAD K #105                               NOT AVAILABLE
         SIREN, WI 54872



3.1054   BUTLER COUNTY                                            1/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF COMMISSIONERS; COUNTY CLERK
         BUTLER COUNTY COURTHOUSE                              ACCOUNT NO.:
         100 NORTH MAIN STREET - ROOM 202                      NOT AVAILABLE
         POPLAR BLUFF, MO 63901



3.1055   BUTLER COUNTY BOARD OF COMMISSIONERS                    11/22/2017                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF COMMISSIONERS
         BUTLER COUNTY GOVERNMENT SERVICES CENTER              ACCOUNT NO.:
         315 HIGH STREET - 6TH FLOOR                           NOT AVAILABLE
         HAMILTON, OH 45011



3.1056   BUTLER COUNTY BOARD OF COMMISSIONERS                    11/22/2017                   Opioid Matter              UNDETERMINED
         BUTLER COUNTY GOVERNMENT SERVICES CENTER
         315 HIGH STREET                                       ACCOUNT NO.:
          - 11TH FLOOR                                         NOT AVAILABLE
         HAMILTON, OH 45011



3.1057   BUTLER COUNTY, ALABAMA                                   3/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1058   BUTLER COUNTY, ALABAMA                                   3/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSION, COMMISSION
         ADMINISTRATOR                                         ACCOUNT NO.:
         202 PATSALIGA STREET                                  NOT AVAILABLE
         GREENVILLE, AL 36037



3.1059   BUTLER COUNTY, ALABAMA                                   3/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSION, COMMISSION
         ADMINISTRATOR                                         ACCOUNT NO.:
         202 PATSALIGA STREET                                  NOT AVAILABLE
         GREENVILLE, AL 36037



3.1060   BUTLER COUNTY, ALABAMA                                   3/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: BUTLER COUNTY DISTRICT COURT CLERK
         700 COURT SQUARE #2                                   ACCOUNT NO.:
         GREENVILLE, AL 36037                                  NOT AVAILABLE



3.1061   BUTTS COUNTY, GEORGIA                                    4/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         625 WEST THIRD STREET                                 ACCOUNT NO.:
         JACKSON, GA 30233                                     NOT AVAILABLE



3.1062   CABARRUS COUNTY                                          6/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER, CHAIRMAN, CLERK TO
         BOARD, BOARD MEMBERS                                  ACCOUNT NO.:
         65 CHURCH ST S                                        NOT AVAILABLE
         CONCORD, NC 28025



3.1063   CABARRUS COUNTY                                          6/4/2018                    Opioid Matter              UNDETERMINED
         PO BOX 707
         CONCORD, NC 28026-0707                                ACCOUNT NO.:
                                                               NOT AVAILABLE


3.1064   CABELL COUNTY COMMISSION                                 3/9/2017                    Opioid Matter              UNDETERMINED
         ATTN: COMMISSIONER
         SUITE 300 - COURTHOUSE                                ACCOUNT NO.:
         750 - 5TH AVENUE                                      NOT AVAILABLE
         HUNTINGTON, WV 25701



3.1065   CABELL COUNTY COMMISSION                                 3/9/2017                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         SUITE 108 - COURTHOUSE                                ACCOUNT NO.:
         750 - 5TH AVENUE                                      NOT AVAILABLE
         HUNTINGTON, WV 25701



3.1066   CABELL COUNTY COMMISSION                                 3/9/2017                    Opioid Matter              UNDETERMINED
         ATTN: PROSECUTING ATTORNEY
         SUITE 350 - COURTHOUSE                                ACCOUNT NO.:
         750 - 5TH AVENUE                                      NOT AVAILABLE
         HUNTINGTON, WV 25701




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Code                                                  And Account Number                         Claim

Litigation

3.1067   CABELL COUNTY COMMISSION                                 3/9/2017                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER, COUNTY CLERK
         CABELL COUNTY COMMISSION                              ACCOUNT NO.:
         SUITE 300 - COURTHOUSE - 750 - 5TH AVENUE             NOT AVAILABLE
         HUNTINGTON, WV 25701-2072



3.1068   CACHE COUNTY, UTAH                                       4/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         199 NORTH MAIN STREET                                 ACCOUNT NO.:
         LOGAN, UT 84321                                       NOT AVAILABLE



3.1069   CACHE COUNTY, UTAH                                       4/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         179 NORTH MAIN STREET                                 ACCOUNT NO.:
         SUITE 102                                             NOT AVAILABLE
         LOGAN, UT 84321



3.1070   CADDO FIRE PROTECTION DISTRICT NO. 1                    10/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF
         7058 OLD MOORINGSPORT RD,                             ACCOUNT NO.:
         SHREVEPORT, LA 71107                                  NOT AVAILABLE



3.1071   CADDO PARISH                                            10/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: ADMINISTRATOR & CEO
         505 TRAVIS STREET, SUITE 800                          ACCOUNT NO.:
         SHREVEPORT, LA 71101                                  NOT AVAILABLE



3.1072   CAHTO INDIAN TRIBE OF THE LAYTONVILLE RANCHERIA          1/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON AND CHIEF EXECUTIVE OFFICER
         300 CAHTO DRIVE                                       ACCOUNT NO.:
         LAYTONVILLE, CA 95454                                 NOT AVAILABLE



3.1073   CALDWELL COUNTY                                          3/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER, CHAIRMAN, CLERK, AND
         COMMISSIONERS                                         ACCOUNT NO.:
         PO BOX 2200                                           NOT AVAILABLE
         905 WEST AVENUE NW
         LENOIR, NC 28645



3.1074   CALDWELL PARISH                                         10/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY/TREASURER
         PO BOX 1737                                           ACCOUNT NO.:
         COLUMBIA, LA 71418                                    NOT AVAILABLE



3.1075   CALHOUN COUNTY COMMISSION, WEST VIRGINIA                 3/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY PROSECUTING ATTORNEY
         CALHOUN COUNTY PROSECUTING ATTORNEY                   ACCOUNT NO.:
         PO BOX 337                                            NOT AVAILABLE
         GRANTSVILLE, WV 26147




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1076   CALHOUN COUNTY COMMISSION, WEST VIRGINIA                 3/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: COMMISSIONERS, COUNTY CLERK
         CALHOUN COUNTY COMMISSION                             ACCOUNT NO.:
         PO BOX 230                                            NOT AVAILABLE
         GRANTSVILLE, WV 26147



3.1077   CALHOUN COUNTY, ALABAMA                                  1/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: CALHOUN COUNTY ADMINISTRATOR AND
         CHAIRMAN CALHOUN COUNTY COMMISSION                    ACCOUNT NO.:
         1702 NOBLE STREET, SUITE 103                          NOT AVAILABLE
         ANNISTON, AL 36201



3.1078   CALHOUN COUNTY, ALABAMA                                  1/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.1079   CALHOUN COUNTY, FLORIDA                                  3/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE COUNTY COMMISSIONERS;
         VICE-CHAIRMAN OF THE COUNTY COMMISSIONERS;            ACCOUNT NO.:
         COUNTY COMMISSIONERS                                  NOT AVAILABLE
         CALHOUN COUNTY COURTHOUSE
         20859 CENTRAL AVENUE EAST
         BLOUNTSTOWN, FL 32424



3.1080   CALHOUN COUNTY, MICHIGAN                                 6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         315 WEST GREEN STREET                                 ACCOUNT NO.:
         MARSHALL, MI 49068                                    NOT AVAILABLE



3.1081   CALHOUN COUNTY, SOUTH CAROLINA                           6/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY ADMINISTRATOR, CLERK TO COUNCIL
         102 COURTHOUSE DRIVE                                  ACCOUNT NO.:
         COURTHOUSE ANNEX SUITE 108                            NOT AVAILABLE
         ST. MATTHEWS, SC 29135



3.1082   CALLAWAY COUNTY, MISSOURI                                6/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK AND COMMISSIONER
         CALLAWAY COUNTY COURTHOUSE                            ACCOUNT NO.:
         10 EAST 5TH STREET                                    NOT AVAILABLE
         FULTON, MO 65251



3.1083   CALUMET COUNTY                                          11/28/2017                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND CHAIRPERSON OF THE COUNTY
         BOARD                                                 ACCOUNT NO.:
         206 COURT ST.                                         NOT AVAILABLE
         CHILTON, WI 53014



3.1084   CAMAS COUNTY, IDAHO                                      6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: CLERK
         501 SOLDIER ROAD                                      ACCOUNT NO.:
         P.O. BOX 430                                          NOT AVAILABLE
         FAIRFIELD, ID 83327



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1085   CAMBRIA COUNTY, PENNSYLVANIA                            10/24/2017                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF COMMISSIONERS
         CAMBRIA COUNTY COMMISSIONERS                          ACCOUNT NO.:
         200 SOUTH CENTER STREET                               NOT AVAILABLE
         EBENSBURG, PA 15931



3.1086   CAMDEN COUNTY, GEORGIA                                   6/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         PO BOX 99                                             ACCOUNT NO.:
         WOODBINE, GA 31569                                    NOT AVAILABLE



3.1087   CAMDEN COUNTY, NJ                                        2/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: DIRECTOR FREEHOLDERS
         COURTHOUSE, SUITE 306                                 ACCOUNT NO.:
         520 MARKET STREET                                     NOT AVAILABLE
         CAMDEN,, NJ 08102



3.1088   CAMDEN COUNTY, NJ                                        2/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         520 MARKET STREET                                     ACCOUNT NO.:
         ROOM 102                                              NOT AVAILABLE
         CAMDEN, NJ 08102



3.1089   CAMDEN-CLARK MEMORIAL HOSPITAL CORPORATION               4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: NOTICE OF PROCESS
         STEVE ALTMILLER                                       ACCOUNT NO.:
         800 GARFIELD AVENUE                                   NOT AVAILABLE
         PARKERSBURG, WV 26101



3.1090   CAMDEN-CLARK MEMORIAL HOSPITAL CORPORATION               4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         OFFICE OF THE SECRETARY OF STATE                      ACCOUNT NO.:
         STATE CAPITOL BUILDING                                NOT AVAILABLE
         CHARLESTON, WV 25305



3.1091   CAMDEN-CLARK MEMORIAL HOSPITAL CORPORATION               4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: AGENT
         8020 GARFIELD AVENUE                                  ACCOUNT NO.:
         PARKERSBURG, WV 26101                                 NOT AVAILABLE



3.1092   CAMDEN-CLARK MEMORIAL HOSPITAL CORPORATION               4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRINCIPAL OFFICER
         P.O. BOX 718                                          ACCOUNT NO.:
         PARKERSBURG, WV 26102                                 NOT AVAILABLE



3.1093   CAMERON PARISH                                           6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: CAMERON PARISH POLICE JURORS PRESIDENT
         148 SMITH CIRCLE                                      ACCOUNT NO.:
         CAMERON, LA 70631                                     NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1094   CAMPBELL COUNTY                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         570 MAIN STREET                                       ACCOUNT NO.:
         P.O. BOX 435                                          NOT AVAILABLE
         JACKSBORO, TN 37757



3.1095   CAMPBELL COUNTY                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         590 MAIN STREET                                       ACCOUNT NO.:
         SUITE A21                                             NOT AVAILABLE
         JACKSBORO, TN 37757



3.1096   CAMPBELL COUNTY HMA, LLC                                 7/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         JUSTIN D. PITT, CHIEF LITIGATION COUNSEL              ACCOUNT NO.:
         4000 MERIDIAN BOULEVARD - COMMUNITY HEALTH            NOT AVAILABLE
         SYSTEMS
         FRANKLIN, TN 37067



3.1097   CAMPBELL COUNTY HMA, LLC                                 7/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: OFFICER OR MANAGING AGENT
         4000 MERIDIAN BOULEVARD                               ACCOUNT NO.:
         FRANKLIN, TN 37067                                    NOT AVAILABLE



3.1098   CAMPBELL COUNTY, TN                                      1/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY MAYOR,
         CAMPBELL COUNTY GOVERNMENT                            ACCOUNT NO.:
         P.O. BOX 435 - 570 MAIN STREET                        NOT AVAILABLE
         JACKSBORO, TN 37757



3.1099   CAMPBELL COUNTY, TN                                      1/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         CLERK & MASTERS OFFICE                                ACCOUNT NO.:
         570 MAIN ST., SUITE 110                               NOT AVAILABLE
         JACKSBORO, TN 37757



3.1100   CAMPBELL, JASON                                          5/18/2018                    Automobile                UNDETERMINED
         NOT AVAILABLE
                                                               ACCOUNT NO.:
                                                               AB94933999901


3.1101   CANDLER COUNTY, GA                                       1/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, BOARD OF COMMISSIONERS
         1075 E. HIAWATHA STREET                               ACCOUNT NO.:
         COMMISSIONER’S BOARDROOM - SUITE A                    NOT AVAILABLE
         METTER, GA 30439



3.1102   CANNON COUNTY                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE
         107 WILLIAM BRYANT DR.                                ACCOUNT NO.:
         WOODBURY, TN 37190                                    NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.1103   CANNON COUNTY                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         200 WEST MAIN STREET                                  ACCOUNT NO.:
         WOODBURY, TN 37190                                    NOT AVAILABLE



3.1104   CANNON COUNTY                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         722 SOUTH CHURCH STREET                               ACCOUNT NO.:
         MURFREESBORO, TN 37130                                NOT AVAILABLE



3.1105   CANYON COUNTY                                           10/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISIONERS/CLERK
         1115 ALBANY STREET - ROOM 101                         ACCOUNT NO.:
         CALDWELL, ID 83605                                    NOT AVAILABLE



3.1106   CAPE GIRARDEAU COUNTY                                    8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK; COUNTY COMMISIONER
         1 BARTON SQUARE                                       ACCOUNT NO.:
         SUITE 301                                             NOT AVAILABLE
         JACKSON, MO 63755



3.1107   CAPE GIRARDEAU COUNTY                                    1/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: CLERK OF THE COUNTY COMMISSION
         ADMINISTRATIVE OFFICE 3RD FLOOR                       ACCOUNT NO.:
         ONE BARTON SQUARE                                     NOT AVAILABLE
         JACKSON, MO 63755



3.1108   CAPE MAY COUNTY, NEW JERSEY                              7/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: DIRECTOR FREEHOLDERS
         ADMINISTRATION BUILDING                               ACCOUNT NO.:
         4 MOORE ROAD                                          NOT AVAILABLE
         CAPE MAY COURT HOUSE, NJ 08210



3.1109   CAPE MAY COUNTY, NEW JERSEY                              7/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         7 NORTH MAIN STREET                                   ACCOUNT NO.:
         CAPE MAY COURT HOUSE, NJ 08210-5000                   NOT AVAILABLE



3.1110   CAPE MAY COUNTY, NEW JERSEY                              7/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         PO BOX 5000                                           ACCOUNT NO.:
         CAPE MAY COURT HOUSE, NJ 08210-5000                   NOT AVAILABLE



3.1111   CARBON COUNTY, UTAH                                      11/1/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         751 EAST 100 NORTH                                    ACCOUNT NO.:
         PRICE, UT 84501                                       NOT AVAILABLE



3.1112   CARBON COUNTY, WYOMING                                   5/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE COUNTY CLERK
         PO BOX 6                                              ACCOUNT NO.:
         RAWLINS, WY 82301                                     NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.1113   CARE PLAN OVERSIGHT, LLC D/B/A SAGE                      6/12/2019                   Opioid Matter              UNDETERMINED
         REHABILITATION HOSPITAL
         ATTN: REGISTERED AGENT AND MANAGER                    ACCOUNT NO.:
         GEOFFREY MORTHLAND; PATRICK MITCHELL                  NOT AVAILABLE
         THE CARPENTER HEALTH NETWORK - 10615 JEFFERSON
         HIGHWAY
         BATON ROUGE, LA 70809



3.1114   CARE PLAN OVERSIGHT, LLC D/B/A SAGE                      6/12/2019                   Opioid Matter              UNDETERMINED
         REHABILITATION HOSPITAL
         ATTN: CHIEF EXECUTIVE OFFICER; MANAGING MEMBER        ACCOUNT NO.:
         8000 SUMMA AVENUE                                     NOT AVAILABLE
         BATON ROUGE, LA 70809



3.1115   CARE PLAN OVERSIGHT, LLC D/B/A SAGE                      6/12/2019                   Opioid Matter              UNDETERMINED
         REHABILITATION HOSPITAL
         ATTN: CHIEF EXECUTIVE OFFICER                         ACCOUNT NO.:
         8313 PICARDY AVENUE                                   NOT AVAILABLE
         BATON ROUGE, LA 70809



3.1116   CARIBOU COUNTY                                           8/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CL;ERK AND CHAIR OF COMMISSIONERS
         159 SOUTH MAIN STREET                                 ACCOUNT NO.:
         SODA SPRINGS, ID 83276                                NOT AVAILABLE



3.1117   CARLTON COUNTY, MINNESOTA                                6/14/2019                   Opioid Matter              UNDETERMINED
         301 WALNUT AVENUE
         ROOMS 205 / 207                                       ACCOUNT NO.:
         CARLTON, MN 55718                                     NOT AVAILABLE



3.1118   CARLTON COUNTY, MINNESOTA                                6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE COUNTY BOARD
         1501 SUMMIT AVENUE                                    ACCOUNT NO.:
         CLOQUET, MN 55720                                     NOT AVAILABLE



3.1119   CARMEN SIEBLER, AS PERSONAL REPRESENTATIVE OF            9/7/2018                    Opioid Matter              UNDETERMINED
         THE ESTATE OF GEORGE SIEBLER, DECEASED
         ATTN: JOSEPH ANTHONY OSBORNE                          ACCOUNT NO.:
         OSBORNE & FRANCIS, PLLC                               NOT AVAILABLE
         433 PLAZA REAL BOULEVARD - SUITE 271
         BOCA RATON, FL 33432



3.1120   CAROL LIVELY, INDIVIDUALLY AND AS NEXT FRIEND AND        6/18/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY L.L.
         ATTN: CELESTE BRUSTOWICZ                              ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                  NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.1121   CAROLINE COUNTY, MARYLAND                                6/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSION PRESIDENT OR COUNTY
         COMMISSIONERS                                         ACCOUNT NO.:
         COUNTY COURTHOUSE                                     NOT AVAILABLE
         109 MARKET STREET - ROOM 123
         DENTON, MD 21629


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Code                                                 And Account Number                          Claim

Litigation

3.1122   CAROLINE COUNTY, MARYLAND                                6/25/2018                   Opioid Matter              UNDETERMINED
         SUITE 246
         HAPS BUILDING                                         ACCOUNT NO.:
         - 403 S. 7TH STREET                                   NOT AVAILABLE
         DENTON, MD 21629



3.1123   CAROLINE VONCANNON, INDIVIDUALLY AND AS NEXT             6/20/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABIES C.W. AND S.W.
         ATTN: CELESTE BRUSTOWICZ                              ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                  NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.1124   CARONDELET ST. JOSEPH'S HOSPITAL                         6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         OFFICE OF THE SECRETARY OF STATE                      ACCOUNT NO.:
         1700 WEST WASHINGTON STREET - FLOOR 7                 NOT AVAILABLE
         PHOENIX, AZ 85007-2808



3.1125   CARONDELET ST. JOSEPH'S HOSPITAL                         6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER, CHIEF FINANCIAL
         OFFICER, CHIEF OPERATING OFFICER                      ACCOUNT NO.:
         350 NORTH WILMOT ROAD                                 NOT AVAILABLE
         TUCSON, AZ 85711



3.1126   CARPENTER HOSPICE OF NORTHWEST LOUISIANA, LLC            6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT AND MANAGER
         668 JORDAN STREET                                     ACCOUNT NO.:
         SHREVEPORT, LA 71101                                  NOT AVAILABLE



3.1127   CARPENTER HOSPICE OF NORTHWEST LOUISIANA, LLC            6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT AND MANAGER
         252 NORTH MAIN STREET, SUITE C                        ACCOUNT NO.:
         SIBLEY, LA 71073                                      NOT AVAILABLE



3.1128   CARPENTER HOSPICE OF NORTHWEST LOUISIANA, LLC            6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT AND MANAGER
         THE CARPENTER HEALTH NETWORK - 10615 JEFFERSON        ACCOUNT NO.:
         HIGHWAY                                               NOT AVAILABLE
         BATON ROUGE, LA 70809



3.1129   CARPENTER HOSPICE OF NORTHWEST LOUISIANA, LLC            6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         8585 ARCHIVES AVE.                                    ACCOUNT NO.:
         BATON ROUGE, LA 70809                                 NOT AVAILABLE



3.1130   CARPENTERS HEALTH & WELFARE FUND OF                      3/19/2018                   Opioid Matter              UNDETERMINED
         PHILADELPHIA AND VICINITY
         ATTN: MANAGER                                         ACCOUNT NO.:
         1811 SPRING GARDEN ST.                                NOT AVAILABLE
         PHILADELPHIA, PA 19130




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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                         Claim

Litigation

3.1131   CARPENTERS HEALTH & WELFARE OF PHILADELPHIA &            3/19/2018                   Opioid Matter              UNDETERMINED
         VICINITY
         ATTN: PRINCIPAL OFFICER                               ACCOUNT NO.:
         1811 SPRING GARDEN STREET                             NOT AVAILABLE
         PHILADELPHIA, PA 19130



3.1132   CARROLL COUNTY                                           11/2/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, BOARD OF COMMISSIONERS
         OFFICE OF THE BOARD OF COMMISSIONERS                  ACCOUNT NO.:
         323 NEWNAN STREET - ROOM 200                          NOT AVAILABLE
         CARROLLTON, GA 30117



3.1133   CARROLL COUNTY BOARD OF COUNTY COMMISSIONERS             9/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: BOARD OF COUNTY COMMISSIONERS
         119 SOUTH LISBON STREET                               ACCOUNT NO.:
         SUITE 201                                             NOT AVAILABLE
         CARROLLTON, OH 44615



3.1134   CARROLL COUNTY, MISSISSIPPI                              3/1/2019                    Opioid Matter              UNDETERMINED
         ATTN: CLERK AND PRESIDENT OF THE BOARD OF
         SUPERVISORS                                           ACCOUNT NO.:
         PO BOX 6                                              NOT AVAILABLE
         VAIDEN, MS 39176



3.1135   CARROLL COUNTY, VIRGINIA                                 6/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: COMMONWEALTH'S ATTORNEY FOR CARROLL
         COUNTY                                                ACCOUNT NO.:
         605-11 PINE STREET                                    NOT AVAILABLE
         HILLSVILLE, VA 24343



3.1136   CARTER COUNTY                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         801 EAST ELK AVENUE                                   ACCOUNT NO.:
         ELIZABETHTON, TN 37643                                NOT AVAILABLE



3.1137   CARTER COUNTY                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         801 EAST ELK AVENUE                                   ACCOUNT NO.:
         SUITE 201                                             NOT AVAILABLE
         ELIZABETHTON, TN 37363



3.1138   CARTERET COUNTY, NORTH CAROLINA                          4/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER, CHAIRMAN, CLERK, AND
         COMMISSIONERS                                         ACCOUNT NO.:
         COUNTY ADMINISTRATIVE BUILDING                        NOT AVAILABLE
         302 COURT HOUSE SQUARE
         BEAUFORT, NC 28516



3.1139   CARVER COUNTY, MINNESOTA                                 8/29/2019                   Opioid Matter              UNDETERMINED
         DANIEL E. GUSTAFSON
         GUSTAFSON GLUEK PLLC                                  ACCOUNT NO.:
         CANADIAN PACIFIC PLAZA - SUITE 2600 - 120 SOUTH 6TH   NOT AVAILABLE
         STREET
         MINNEAPOLIS, MN 55402



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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                         Claim

Litigation

3.1140   CARVER COUNTY, MINNESOTA                                 8/29/2019                   Opioid Matter              UNDETERMINED
         RICHARD A. LOCKRIDGE
         LOCKRIDGE DRINDAL NAUEN P.L.L.P.                      ACCOUNT NO.:
         100 WASHINGTON AVENUE SOUTH - SUITE 2200              NOT AVAILABLE
         MINNEAPOLIS, MN 55401



3.1141   CARVER COUNTY, MINNESOTA                                 8/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: YVONNE M. FLAHERTY
         LOCKRIDGE DRINDAL NAUEN P.L.L.P.                      ACCOUNT NO.:
         100 WASHINGTON AVENUE SOUTH - SUITE 2200              NOT AVAILABLE
         MINNEAPOLIS, MN 55401



3.1142   CARVER COUNTY, MINNESOTA                                 8/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         604 EAST FOURTH STREET                                ACCOUNT NO.:
         CHASKA, MN 55318                                      NOT AVAILABLE



3.1143   CARVER COUNTY, MINNESOTA                                 8/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: AMANDA M. WILLIAMS
         GUSTAFSON GLUEK PLLC                                  ACCOUNT NO.:
         CANADIAN PACIFIC PLAZA - SUITE 2600 - 120 SOUTH 6TH   NOT AVAILABLE
         STREET
         MINNEAPOLIS, MN 55402



3.1144   CARVER COUNTY, MINNESOTA                                 8/29/2019                   Opioid Matter              UNDETERMINED
         ERIC S. TAUBEL
         GUSTAFSON GLUEK PLLC                                  ACCOUNT NO.:
         CANADIAN PACIFIC PLAZA - SUITE 2600 - 120 SOUTH 6TH   NOT AVAILABLE
         STREET
         MINNEAPOLIS, MN 55402



3.1145   CARVER COUNTY, MINNESOTA                                 8/29/2019                   Opioid Matter              UNDETERMINED
         DAVID A. GOODWIN
         GUSTAFSON GLUEK PLLC                                  ACCOUNT NO.:
         CANADIAN PACIFIC PLAZA - SUITE 2600 - 120 SOUTH 6TH   NOT AVAILABLE
         STREET
         MINNEAPOLIS, MN 55402



3.1146   CARVER COUNTY, MINNESOTA                                 8/29/2019                   Opioid Matter              UNDETERMINED
         DAVID W. ASP
         LOCKRIDGE DRINDAL NAUEN P.L.L.P.                      ACCOUNT NO.:
         100 WASHINGTON AVENUE SOUTH - SUITE 2200              NOT AVAILABLE
         MINNEAPOLIS, MN 55401



3.1147   CASPER, WYOMING                                          2/4/2019                    Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER
         CITY MANAGER'S OFFICE                                 ACCOUNT NO.:
         200 N. DAVID STREET                                   NOT AVAILABLE
         CASPER, WY 82601



3.1148   CASS COUNTY, MISSOURI                                    6/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK OF THE COUNTY COMMISSION
         102 EAST WALL STREET                                  ACCOUNT NO.:
         HARRISONVILLE, MO 64701                               NOT AVAILABLE



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1149   CASS COUNTY, NORTH DAKTOA                                3/26/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE COUNTY COMMISSION AND
         COMMISSIONERS                                         ACCOUNT NO.:
         CASS COUNTY COURTHOUSE                                NOT AVAILABLE
         211 9TH STREET S
         FARGO, ND 58103



3.1150   CASSIA COUNTY                                            8/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISIONERS
         1559 OVERLAND AVENUE                                  ACCOUNT NO.:
         BURLEY, ID 83318                                      NOT AVAILABLE



3.1151   CASWELL COUNTY                                           7/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER, CHAIRMAN, CLERK, AND
         COMMISSIONERS                                         ACCOUNT NO.:
         144 COURT SQUARE                                      NOT AVAILABLE
         YANCEYVILLE, NC 27379



3.1152   CASWELL COUNTY                                           7/6/2018                    Opioid Matter              UNDETERMINED
         PO BOX 98
         YANCEYVILLE, NC 27379                                 ACCOUNT NO.:
                                                               NOT AVAILABLE


3.1153   CATAHOULA PARISH POLICY JUROR                           10/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE CATAHOULA PARISH POLICE
         JURORS                                                ACCOUNT NO.:
         301 BUSHLEY STREET, SUITE 104                         NOT AVAILABLE
         P.O. BOX 258
         HARRISONBURG, LA 71340



3.1154   CATAWBA COUNTY, NC                                       1/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER, CHAIRMAN, CLERK, AND
         COMMISSIONERS                                         ACCOUNT NO.:
         25 GOVERNMENT DRIVE                                   NOT AVAILABLE
         NEWTON, NC 28658



3.1155   CATAWBA COUNTY, NC                                       1/11/2018                   Opioid Matter              UNDETERMINED
         25 GOVERNMENT DRIVE
         PO BOX 389                                            ACCOUNT NO.:
         NEWTON, NC 28658                                      NOT AVAILABLE



3.1156   CATOOSA COUNTY, GEORGIA                                  4/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, BOARD OF COMMISSIONERS
         COUNTY ADMINISTRATION BUILDING                        ACCOUNT NO.:
         800 LAFAYETTE STREET                                  NOT AVAILABLE
         RINGGOLD, GA 30736



3.1157   CECIL COUNTY, MARYLAND                                   1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE
         CECIL COUNTY ADMINISTRATION BUILDING                  ACCOUNT NO.:
         200 CHESAPEAKE BLVD. - SUITE 2100                     NOT AVAILABLE
         ELKTON, MD 21921




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1158   CEDAR PARK HEALTH SYSTEM, L.P.D/B/A CEDAR PARK          UNKNOWN                      Opioid Matter              UNDETERMINED
         REGIONAL MEDICAL CENTER
         ATTN: CEO, PARTNER, OR MANAGER                        ACCOUNT NO.:
         1401 MEDICAL PARKWAY                                  NOT AVAILABLE
         CEDAR PARK, TX 78613



3.1159   CEDAR PARK HEALTH SYSTEM, L.P.D/B/A CEDAR PARK          UNKNOWN                      Opioid Matter              UNDETERMINED
         REGIONAL MEDICAL CENTER
         ATTN: REGISTERED AGENT                                ACCOUNT NO.:
         CORPORATION SERVICE COMPANY                           NOT AVAILABLE
         211 EAST 7TH STREET - SUITE 620
         AUSTIN, TX 78701



3.1160   CENTER POINT, INC.                                       3/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         241 COLEMAN DRIVE                                     ACCOUNT NO.:
         SAN RAFAEL, CA 94901                                  NOT AVAILABLE



3.1161   CENTER POINT, INC.                                       3/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT AND CEO, CENTER POINT, INC.
         135 PAUL DRIVE                                        ACCOUNT NO.:
         SAN RAFAEL, CA 94903                                  NOT AVAILABLE



3.1162   CENTRAL FLORIDA BEHAVIORAL HEALTH NETWORK INC.           4/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIR; VICE CHAIR; TREASURER; SECRETARY;
         REGISTERED AGENT/MCKINNON, LINDA                      ACCOUNT NO.:
         719 SOUTH US HIGHWAY 301                              NOT AVAILABLE
         TAMPA, FL 33619



3.1163   CENTRAL FLORIDA CARES HEALTH SYSTEM INC                  4/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT; VICE PRESIDENT; SECRETARY;
         TREASURER; REGISTERED AGENT/BLEDSOE, MARIA            ACCOUNT NO.:
         707 MENDHAM BOULEVARD                                 NOT AVAILABLE
         SUITE 201 - BLEDSOE, MARIA
         ORLANDO, FL 32825



3.1164   CENTRAL STATES, SOUTHEAST AND SOUTHWEST                  5/30/2018                   Opioid Matter              UNDETERMINED
         AREAS HEALTH & WELFARE FUND
         ATTN: TRUSTEE                                         ACCOUNT NO.:
         8647 WEST HIGGINS ROAD                                NOT AVAILABLE
         CHICAGO, IL 60631



3.1165   CHAFFEE COUNTY                                           5/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK & RECORDER
         112 LINDERMAN AVE.                                    ACCOUNT NO.:
         BUENA VISTA, CO 81211                                 NOT AVAILABLE



3.1166   CHAFFEE COUNTY                                           5/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK & RECORDER, CHAIRPERSON, AND
         COUNTY COMMISSIONERS                                  ACCOUNT NO.:
         PO BOX 699                                            NOT AVAILABLE
         104 CRESTONE AVENUE
         SALIDA, CO 81201




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1167   CHAMBERS COUNTY, ALABAMA                                 3/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAMBERS COUNTY MANAGER AND ATTORNEY;
         AND CHAIRMAN, CHAMBERS COUNTY COMMISSION              ACCOUNT NO.:
         2 SOUTH LAFAYETTE STREET                              NOT AVAILABLE
         LAFAYETTE, AL 36862



3.1168   CHAMBERS COUNTY, ALABAMA                                 3/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK AND COUNTY COMMISSION
         CHAIRMAN                                              ACCOUNT NO.:
         2 SOUTH LAFAYETTE STREET                              NOT AVAILABLE
         LAFAYETTE, AL 36862



3.1169   CHAMBERS COUNTY, ALABAMA                                 3/20/2018                   Opioid Matter              UNDETERMINED
         610 SOUTH GILMER AVENUE
         LANETT, AL 36863                                      ACCOUNT NO.:
                                                               NOT AVAILABLE


3.1170   CHAMBERS COUNTY, ALABAMA                                 3/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.1171   CHAMPAIGN COUNTY BOARD OF COUNTY                        12/21/2017                   Opioid Matter              UNDETERMINED
         COMMISSIONERS
         ATTN: CHAMPAIGN COUNTY COMMISSIONER                   ACCOUNT NO.:
         1512 S. U.S. HWY. 68, SUITE A100                      NOT AVAILABLE
         URBANA, OH 43078



3.1172   CHARLESTON AREA MEDICAL CENTER, INC.                     4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT
         P.O. BOX 1547                                         ACCOUNT NO.:
         CHARLESTON, WV 25326                                  NOT AVAILABLE



3.1173   CHARLESTON AREA MEDICAL CENTER, INC.                     4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         ANGELA F. HILL                                        ACCOUNT NO.:
         P.O. BOX 3669                                         NOT AVAILABLE
         CHARLSTON, WV 25336



3.1174   CHARLESTON AREA MEDICAL CENTER, INC.                     4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT
         501 MORRIS STREET                                     ACCOUNT NO.:
         CHARLESTON, WV 25301                                  NOT AVAILABLE



3.1175   CHARLESTON COUNTY, SOUTH CAROLINA                        7/26/2019                   Opioid Matter              UNDETERMINED
         ATTN: CLERK OF COUNCIL OFFICE & COUNCIL CHAIRMAN
         LONNIE HAMILTON, III, PUBLIC SERVICES BUILDING        ACCOUNT NO.:
         4045 BRIDGE VIEW DRIVE                                NOT AVAILABLE
         NORTH CHARLESTON, SC 29405




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Code                                                 And Account Number                          Claim

Litigation

3.1176   CHARLOTTE COUNTY, VIRGINIA                              UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COMMONWEALTH'S ATTORNEY
         P.O. BOX 503                                          ACCOUNT NO.:
         111 LEGRANDE AVENUE                                   NOT AVAILABLE
         CHARLOTTE COURT HOUSE, VA 23923



3.1177   CHARLOTTE COUNTY, VIRGINIA                              UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COMMWEALTH'S ATTORNEY
         P.O. BOX 503                                          ACCOUNT NO.:
         111 LEGRANDE AVENUE - CHARLOTTE COURT HOUSE           NOT AVAILABLE
         CHARLOTTE, VA 23923



3.1178   CHARLTON COUNTY, GEORGIA                                 6/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         PO BOX 845                                            ACCOUNT NO.:
         FOLKSTON, GA 31537                                    NOT AVAILABLE



3.1179   CHARME ALLEN, IN HER OFFICIAL CAPACITY AS THE            9/29/2017                   Opioid Matter              UNDETERMINED
         DISTRICT ATTORNEY GENERAL FOR THE SIXTH JUDICIAL
         DISTRICT                                              ACCOUNT NO.:
         ATTN: HERBERT H. SLATERY III                          NOT AVAILABLE
         STATE OF TENNESSEE ATTORNEY GENERAL
         425 5TH AVENUE NORTH
         NASHVILLE, TN 37243



3.1180   CHARME ALLEN, IN HER OFFICIAL CAPACITY AS THE            9/29/2017                   Opioid Matter              UNDETERMINED
         DISTRICT ATTORNEY GENERAL FOR THE SIXTH JUDICIAL
         DISTRICT                                              ACCOUNT NO.:
         ATTN: ATTORNEY GENERAL                                NOT AVAILABLE
         425 5TH AVENUE NORTH
         NASHVILLE, TN 37243



3.1181   CHARTER TOWNSHIP OF CANTON                               9/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWNSHIP SUPERVISOR OR TOWNSHIP CLERK
         1150 SOUTH CANTON CENTER ROAD                         ACCOUNT NO.:
         CANTON, MI 48188-1699                                 NOT AVAILABLE



3.1182   CHARTER TOWNSHIP OF CLINTON, MICHIGAN                    9/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWNSHIP SUPERVISOR OR TOWNSHIP CLERK
         40700 ROMEO PLANK ROAD                                ACCOUNT NO.:
         CLINTON TOWNSHIP, MI 48038                            NOT AVAILABLE



3.1183   CHARTER TOWNSHIP OF HARRISON                             4/24/2019                   Opioid Matter              UNDETERMINED
         ATTN: CLERK, SUPERVISOR
         38151 L'ANSE CREUSE                                   ACCOUNT NO.:
         HARRISON TOWNSHIP, MI 48045                           NOT AVAILABLE



3.1184   CHARTER TOWNSHIP OF HARRISON                             4/24/2019                   Opioid Matter              UNDETERMINED
         ATTN: TOWNSHIP CLERK AND SUPERVISOR
         3815 L'ANSE CREUSE                                    ACCOUNT NO.:
         HARRISON TOWNSHIP, MI 48045                           NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.1185   CHARTER TOWNSHIP OF HURON, MICHIGAN                      9/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: COMMISSION CHAIRPERSON AND COUNTY CLERK
         22950 HURON RIVER DRIVE                               ACCOUNT NO.:
         NEW BOSTON, MI 48164-9791                             NOT AVAILABLE



3.1186   CHARTER TOWNSHIP OF NORTHVILLE                           9/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWNSHIP SUPERVISOR OR CLERK OF TOWNSHIP
         44405 SIX MILE ROAD                                   ACCOUNT NO.:
         NORTHVILLE, MI 48168                                  NOT AVAILABLE



3.1187   CHARTER TOWNSHIP OF PITTSFIELD, MICHIGAN                 6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: TOWNSHIP SUPERVISOR AND TOWNSHIP CLERK
         6201 WEST MICHIGAN AVENUE                             ACCOUNT NO.:
         ANN ARBOR, MI 48108                                   NOT AVAILABLE



3.1188   CHARTER TOWNSHIP OF VAN BUREN                            9/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWNSHIP SUPERVISOR OR TOWNSHIP CLERK
         46425 TYLER ROAD                                      ACCOUNT NO.:
         VAN BUREN TOWNSHIP, MI 48111                          NOT AVAILABLE



3.1189   CHATHAM COUNTY HOSPITAL AUTHORITY                        4/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND SECRETARY
         124 BULL STREET                                       ACCOUNT NO.:
         SUITE 220                                             NOT AVAILABLE
         SAVANNAH, GA 31401



3.1190   CHATHAM COUNTY HOSPITAL AUTHORITY, GEORGIA               7/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHRIS CARR
         STATE OF GEORGIA ATTORNEY GENERAL                     ACCOUNT NO.:
         40 CAPITOL SQUARE, SW                                 NOT AVAILABLE
         ATLANTA, GA 30334-1300



3.1191   CHATHAM COUNTY HOSPITAL AUTHORITY, GEORGIA               7/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OR REGISTERED
         AGENT                                                 ACCOUNT NO.:
         MEMORIAL HEALTH                                       NOT AVAILABLE
         4700 WATERS AVENUE
         SAVANNAH, GA 31404



3.1192   CHATHAM COUNTY, GEORGIA                                  3/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, BOARD OF COMMISSIONERS
         124 BULL ST.                                          ACCOUNT NO.:
         SUITE 220                                             NOT AVAILABLE
         SAVANNAH, GA 31401



3.1193   CHATHAM COUNTY, NORTH CAROLINA, AND ALL                  6/14/2019                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: WILLIAM BENNET ATWATER, JR.                     ACCOUNT NO.:
         ATWATER LAW FIRM                                      NOT AVAILABLE
         P.O. BOX 629
         SILER CITY, NC 27344




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1194   CHATHAM COUNTY, NORTH CAROLINA, AND ALL                  6/14/2019                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: J. ANDERSON DAVIS                               ACCOUNT NO.:
         BRINSON, ASKEW, BERRY, SEIGLER, RICHARDSON &          NOT AVAILABLE
         DAVIS, LLP
         P.O. BOX 5007
         ROME, GA 30162-5007



3.1195   CHATHAM COUNTY, NORTH CAROLINA, AND ALL                  6/14/2019                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: PAUL I. HOTCHKISS                               ACCOUNT NO.:
         BIRD LAW GROUP, P.C.                                  NOT AVAILABLE
         2170 DEFOOR HILLS ROAD
         ATLANTA, GA 30318



3.1196   CHATHAM COUNTY, NORTH CAROLINA, AND ALL                  6/14/2019                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: WILLIAM Q. BIRD                                 ACCOUNT NO.:
         BIRD LAW GROUP, P.C.                                  NOT AVAILABLE
         2170 DEFOOR HILLS ROAD
         ATLANTA, GA 30318



3.1197   CHATHAM COUNTY, NORTH CAROLINA, AND ALL                  6/14/2019                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: ROBERT FINNELL                                  ACCOUNT NO.:
         THE FINNELL FIRM                                      NOT AVAILABLE
         1 WEST FOURTH AVENUE - SUITE 200
         ROME, GA 30162-0063



3.1198   CHATHAM COUNTY, NORTH CAROLINA, AND ALL                  6/14/2019                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: WILLIAM BENNET ATWATER, JR.                     ACCOUNT NO.:
         ATWATER LAW FIRM                                      NOT AVAILABLE
         122 SOUTH CHATAM AVENUE
         SILER CITY, NC 27344



3.1199   CHATHAM COUNTY, NORTH CAROLINA, AND ALL                  6/14/2019                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: JOHN W. CRONGEYER, M.D.                         ACCOUNT NO.:
         CRONGEYER LAW FIRM, PC                                NOT AVAILABLE
         2170 DEFOOR HILLS ROAD
         ATLANTA, GA 30318



3.1200   CHATHAM COUNTY, NORTH CAROLINA, AND ALL                  6/14/2019                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: PAUL D. COATES                                  ACCOUNT NO.:
         PINTO COATES KYRE & BOWERS, PLLC                      NOT AVAILABLE
         3203 BRASSFIELD ROAD
         GREENSBORO, NC 27410



3.1201   CHATHAM COUNTY, NORTH CAROLINA, AND ALL                  6/14/2019                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: GARRY WHITAKER                                  ACCOUNT NO.:
         GARRY WHITAKER LAW, P.C.                              NOT AVAILABLE
         ONE NORTH MARSHALL STREET - SUITE 350
         WINSTON-SALEM, NC 27101



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1202   CHATHAM COUNTY, NORTH CAROLINA, AND ALL                  6/14/2019                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: ROBERT H. SMALLEY                               ACCOUNT NO.:
         MCCAMY, PHILLIPS, TUGGLE & FORDHAM, LLP               NOT AVAILABLE
         P.O. BOX 1105
         DALTON, GA 30720-1105



3.1203   CHATHAM COUNTY, NORTH CAROLINA, AND ALL                  6/14/2019                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: LEE B. CARTER                                   ACCOUNT NO.:
         BRINSON, ASKEW, BERRY, SEIGLER, RICHARDSON &          NOT AVAILABLE
         DAVIS, LLP
         P.O. BOX 5007
         ROME, GA 30162-5007



3.1204   CHATHAM COUNTY, NORTH CAROLINA, AND ALL                  6/14/2019                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: SAMUEL L. LUCAS                                 ACCOUNT NO.:
         BRINSON, ASKEW, BERRY, SEIGLER, RICHARDSON &          NOT AVAILABLE
         DAVIS, LLP
         P.O. BOX 5007
         ROME, GA 30162-5007



3.1205   CHATHAM COUNTY, NORTH CAROLINA, AND ALL                  6/14/2019                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: DONALD R. VAUGHAN, ESQ.                         ACCOUNT NO.:
         DONALD R. VAUGHAN AND ASSOCIATES                      NOT AVAILABLE
         612 WEST FRIENDLY AVENUE
         GREENSBORO, NC 27401



3.1206   CHATHAM COUNTY, NORTH CAROLINA, AND ALL                  6/14/2019                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: ROBERT H. SMALLEY                               ACCOUNT NO.:
         MCCAMY, PHILLIPS, TUGGLE & FORDHAM, LLP               NOT AVAILABLE
         411 WEST CRAWFORD STREET
         DALTON, GA 30720



3.1207   CHATHAM COUNTY, NORTH CAROLINA, AND ALL                  6/14/2019                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: J. ANDERSON DAVIS                               ACCOUNT NO.:
         BRINSON, ASKEW, BERRY, SEIGLER, RICHARDSON &          NOT AVAILABLE
         DAVIS, LLP
         THE OMBERG HOSUE - 615 WEST 1ST STREET
         ROME, GA 30161



3.1208   CHATHAM COUNTY, NORTH CAROLINA, AND ALL                  6/14/2019                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: WILLIAM BENNET ATWATER, JR.                     ACCOUNT NO.:
         ATWATER LAW FIRM                                      NOT AVAILABLE
         122 SOUTH CHATAM AVENUE
         SILER CITY, NC 27344




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1209   CHATHAM COUNTY, NORTH CAROLINA, AND ALL                  6/14/2019                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: SAMUEL L. LUCAS                                 ACCOUNT NO.:
         BRINSON, ASKEW, BERRY, SEIGLER, RICHARDSON &          NOT AVAILABLE
         DAVIS, LLP
         THE OMBERG HOSUE - 615 WEST 1ST STREET
         ROME, GA 30161



3.1210   CHATHAM COUNTY, NORTH CAROLINA, AND ALL                  6/14/2019                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: GEORGE B. DANIEL, ESQ.                          ACCOUNT NO.:
         GEORGE B. DANIEL, P.A.                                NOT AVAILABLE
         139 EAST MAIN STREET
         YANCEYVILLE, NC 27379



3.1211   CHATHAM COUNTY, NORTH CAROLINA, AND ALL                  6/14/2019                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: LEE B. CARTER                                   ACCOUNT NO.:
         BRINSON, ASKEW, BERRY, SEIGLER, RICHARDSON &          NOT AVAILABLE
         DAVIS, LLP
         THE OMBERG HOUSE - 615 WEST 1ST STREET
         ROME, GA 30161



3.1212   CHATTOOGA COUNTY                                         3/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHATTOOGA COUNTY COMMISSIONER
         10102 COMMERCE STREET                                 ACCOUNT NO.:
         POST OFFICE BOX 211                                   NOT AVAILABLE
         SUMMERVILLE, GA 30747



3.1213   CHELAN COUNTY                                            9/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHELAN COUNTY AUDITOR
         350 ORONDO AVENUE                                     ACCOUNT NO.:
         SUITE 202                                             NOT AVAILABLE
         WENATCHEE, WA 98801



3.1214   CHER-AE HEIGHTS INDIAN COMMUNITY OF THE                  1/28/2019                   Opioid Matter              UNDETERMINED
         TRINIDAD RANCHERIA
         ATTN: TRIBAL COUNCIL CHAIRMAN AND CHIEF               ACCOUNT NO.:
         EXECUTIVE OFFICER                                     NOT AVAILABLE
         PO BOX 630
         TRINIDAD, CA 95570



3.1215   CHEROKEE COUNTY                                          7/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER
         75 PEACHTREE STREET                                   ACCOUNT NO.:
         MURPHY, NC 28906                                      NOT AVAILABLE



3.1216   CHEROKEE COUNTY, ALABAMA                                 2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHEROKEE COUNTY COMMISSION CHAIRMAN
         260 CEDAR BLUFF ROAD, SUITE 103                       ACCOUNT NO.:
         CENTRE, AL 35960                                      NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1217   CHEROKEE COUNTY, ALABAMA                                 2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.1218   CHEROKEE COUNTY, GEORGIA                                 3/25/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN BOARD OF COMMISSIONERS
         CHEROKEE COUNTY COMMISSIONERS                         ACCOUNT NO.:
         839 TOWNE LAKE PKWY                                   NOT AVAILABLE
         WOODSTOCK, GA 30189



3.1219   CHEROKEE COUNTY, GEORGIA                                 3/25/2019                   Opioid Matter              UNDETERMINED
         CHEROKEE COUNTY COURTHOUSE
         90 NORTH ST                                           ACCOUNT NO.:
         CANTON, GA 30114                                      NOT AVAILABLE



3.1220   CHESHIRE COUNTY                                          9/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER AND COUNTY
         TREASURER                                             ACCOUNT NO.:
         12 COURT STREET                                       NOT AVAILABLE
         KEENE, NH 03431



3.1221   CHESTER COUNTY, PENNSYVANIA, INDIVIDUALLY AND            3/11/2019                   Opioid Matter              UNDETERMINED
         ON BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: DOROTHY P. ANTULLIS                             ACCOUNT NO.:
         655 W BROADWAY                                        NOT AVAILABLE
         SUITE 1900
         SAN DIEGO, CA 92101



3.1222   CHESTER COUNTY, PENNSYVANIA, INDIVIDUALLY AND            3/11/2019                   Opioid Matter              UNDETERMINED
         ON BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: PAUL J. GELLER                                  ACCOUNT NO.:
         ROBBINS GELLER RUDMAN & DOWD LLP                      NOT AVAILABLE
         655 WEST BROADWAY, - SUITE 1900
         SAN DIEGO, CA 92101



3.1223   CHESTER COUNTY, PENNSYVANIA, INDIVIDUALLY AND            3/11/2019                   Opioid Matter              UNDETERMINED
         ON BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: THOMAS E. EGLER                                 ACCOUNT NO.:
         ROBBINS GELLER RUDMAN & DOWD LLP                      NOT AVAILABLE
         655 W BROADWAY - SUITE 1900
         SAN DIEGO, CA 92101



3.1224   CHESTER COUNTY, PENNSYVANIA, INDIVIDUALLY AND            3/11/2019                   Opioid Matter              UNDETERMINED
         ON BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: DEBORAH R. GROSS                                ACCOUNT NO.:
         KAUFMAN, COREN & RESS P.C.                            NOT AVAILABLE
         TWO COMMERCE SQUARE, SUITE 3900 - 2001 MARKET
         STREET
         PHILADELPHIA, PA 19103




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Code                                                 And Account Number                          Claim

Litigation

3.1225   CHESTER COUNTY, PENNSYVANIA, INDIVIDUALLY AND            3/11/2019                   Opioid Matter              UNDETERMINED
         ON BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: MARK J. DEARMAN                                 ACCOUNT NO.:
         ROBBINS GELLER RUDMAN & DOWN LLP                      NOT AVAILABLE
         655 W BROADWAY - SUITE 1900
         SAN DIEGO, CA 92101



3.1226   CHESTER COUNTY, PENNSYVANIA, INDIVIDUALLY AND            3/11/2019                   Opioid Matter              UNDETERMINED
         ON BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: AELISH M. BAIG                                  ACCOUNT NO.:
         ROBBINS GELLER RUDMAN & DOWD LLP                      NOT AVAILABLE
         POST MONTGOMERY CENTER - ONE MONTGOMERY
         STREET, SUITE 1800
         SAN FRANCISCO, CA 94104



3.1227   CHESTER COUNTY, PENNSYVANIA, INDIVIDUALLY AND            3/11/2019                   Opioid Matter              UNDETERMINED
         ON BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: MATTHEW S. MELAMED                              ACCOUNT NO.:
         ROBBINS GELLER RUDMAN & DOWD LLP                      NOT AVAILABLE
         POST MONTGOMERY CENTER - ONE MONTGOMERY
         STREET, SUITE 1800
         SAN FRANCISCO, CA 94104



3.1228   CHESTER COUNTY, PENNSYVANIA, INDIVIDUALLY AND            3/11/2019                   Opioid Matter              UNDETERMINED
         ON BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: CHAIR OF THE BOARD OF COMMISSIONERS             ACCOUNT NO.:
         COMMISSIONERS' OFFICE                                 NOT AVAILABLE
         313 WEST MARKET STREET - SUITE 6202
         WEST CHESTER, PA 19380



3.1229   CHESTER COUNTY, PENNSYVANIA, INDIVIDUALLY AND            3/11/2019                   Opioid Matter              UNDETERMINED
         ON BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: CARISSA J. DOLAN                                ACCOUNT NO.:
         ROBBINS GELLER RUDMAN & DOWD LLP                      NOT AVAILABLE
         655 W BROADWAY - SUITE 1900
         SAN DIEGO, CA 92101



3.1230   CHEYENNE & ARAPAHO TRIBES                               12/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: GOVERNOR, LT. GOVERNOR, GENERAL COUNSEL
         OFFICE OF TRIBAL COUNCIL                              ACCOUNT NO.:
         100 RED MOON CIRCLE - P.O. BOX 38                     NOT AVAILABLE
         CONCHO, OK 73022



3.1231   CHEYENNE RIVER SIOUX TRIBE                               3/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN
         PO BOX 590                                            ACCOUNT NO.:
         BLDG. 2002 WING C & D STREET                          NOT AVAILABLE
         EAGLE BUTTE, SD 57625



3.1232   CHEYENNE, WYOMING                                        3/8/2019                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         2101 O’NEIL AVE.                                      ACCOUNT NO.:
         ROOM 101                                              NOT AVAILABLE
         CHEYENNE, WY 82001




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Code                                                 And Account Number                          Claim

Litigation

3.1233   CHEYENNE, WYOMING                                        3/8/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         MAYOR'S OFFICE                                        ACCOUNT NO.:
         2101 O’NEIL AVE                                       NOT AVAILABLE
         CHEYENNE, WY 82001



3.1234   CHICAGO REGIONAL COUNCIL OF CARPENTER                    2/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT, EXECUTIVE SECRETARY-
         TREASURER, VICE-PRESIDENT                             ACCOUNT NO.:
         12 EAST ERIE STREET                                   NOT AVAILABLE
         CHICAGO, IL 60611



3.1235   CHICAGO REGIONAL COUNCIL OF CARPENTERS                   2/7/2019                    Opioid Matter              UNDETERMINED
         WELFARE FUND
         ATTN: CHAIRMAN AND SECRETARY OF THE BOARD OF          ACCOUNT NO.:
         TRUSTEES AND ADMINISTRATOR                            NOT AVAILABLE
         12 EAST ERIE STREET
         CHICAGO, IL 60611



3.1236   CHICKASAW COUNTY, MISSISSIPPI                            3/1/2019                    Opioid Matter              UNDETERMINED
         ATTN: CLERK AND PRESIDENT OF THE BOARD OF
         SUPERVISORS                                           ACCOUNT NO.:
         1 PINSON SQUARE                                       NOT AVAILABLE
         HOUSTON, MS 38851



3.1237   CHICKASAW NATION                                         8/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: GOVENOR OF THE CHICKASAW NATION, LT.
         GOVENOR OF THE CHICKASAW NATION, GENERAL              ACCOUNT NO.:
         COUNSEL AND EXECUTIVE OFFICER OF THE DIVISION         NOT AVAILABLE
         OF JUSTICE
         CHICKASAW NATION HEADQUARTERS
         520 EAST ARLINGTON
         ADA, OK 74820



3.1238   CHICKASAW NATION                                         8/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: GOVENOR OF THE CHICKASAW NATION, LT.
         GOVENOR OF THE CHICKASAW NATION                       ACCOUNT NO.:
         PO BOX 1548                                           NOT AVAILABLE
         ADA, OK 74821



3.1239   CHILTON COUNTY, ALABAMA                                  6/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHILTON COUNTY COMMISSION, COUNTY
         ADMINISTRATOR                                         ACCOUNT NO.:
         500 2ND AVE NORTH                                     NOT AVAILABLE
         CLANTON, AL 35045



3.1240   CHILTON COUNTY, ALABAMA                                  6/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152




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Code                                                 And Account Number                          Claim

Litigation

3.1241   CHIPPEWA COUNTY                                         11/28/2017                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND CHAIRPERSON OF THE COUNTY
         BOARD                                                 ACCOUNT NO.:
         711 NORTH BRIDGE STREET, ROOM 109                     NOT AVAILABLE
         CHIPPEWA FALLS, WI 54729



3.1242   CHIPPEWA CREE TRIBE OF THE ROCKY BOY'S                   6/6/2019                    Opioid Matter              UNDETERMINED
         RESERVATION
         ATTN: BUSINESS COMMITTEE CHAIRMAN AND CHIEF           ACCOUNT NO.:
         EXECUTIVE OFFICER                                     NOT AVAILABLE
         96 CLINIC ROAD NORTH
         BOX ELDER, MT 59521



3.1243   CHITIMACHA TRIBE OF LOUISIANA                            7/16/2018                   Opioid Matter              UNDETERMINED
         P.O. BOX 661
         CHARENTON, LA 70523                                   ACCOUNT NO.:
                                                               NOT AVAILABLE


3.1244   CHITIMACHA TRIBE OF LOUISIANA                            7/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: TRIBAL CHAIR AND CHIEF EXECUTIVE OFFICER
         155 CHITIMACHA LOOP                                   ACCOUNT NO.:
         P.O. BOX 661                                          NOT AVAILABLE
         CHARENTON, LA 70523



3.1245   CHLOE PAUL, INDIVIDUALLY AND AS NEXT FRIEND AND          6/14/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY A.R.P., ON BEHALF OF THEMSELVES
         AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
         ATTN: DONALD E. CREADORE                              NOT AVAILABLE
         CREADOR LAW FIRM
         450 SEVENTH AVENUE - SUITE 1408
         NEW YORK, NY 10123



3.1246   CHLOE PAUL, INDIVIDUALLY AND AS NEXT FRIEND AND          6/14/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY A.R.P., ON BEHALF OF THEMSELVES
         AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
         ATTN: STEPHEN WUSSOW                                  NOT AVAILABLE
         COOPER LAW FIRM
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.1247   CHLOE PAUL, INDIVIDUALLY AND AS NEXT FRIEND AND          6/14/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY A.R.P., ON BEHALF OF THEMSELVES
         AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
         ATTN: SCOTT R. BICKFORD                               NOT AVAILABLE
         MARTZELL, BICKFORD & CENTOLA
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.1248   CHLOE PAUL, INDIVIDUALLY AND AS NEXT FRIEND AND          6/14/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY A.R.P., ON BEHALF OF THEMSELVES
         AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
         ATTN: KENT HARRISON ROBBINS                           NOT AVAILABLE
         THE LAW OFFICE OF KENT HARRISON ROBBINS, P.A.
         242 NORTHEAST 27TH STREET
         MIAMI, FL 33137




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Code                                                 And Account Number                          Claim

Litigation

3.1249   CHLOE PAUL, INDIVIDUALLY AND AS NEXT FRIEND AND          6/14/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY A.R.P., ON BEHALF OF THEMSELVES
         AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
         ATTN: KEVIN W. THOMPSON, DAVID R. BARNEY, JR.         NOT AVAILABLE
         THOMPSON BARNEY LAW FIRM
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311



3.1250   CHLOE PAUL, INDIVIDUALLY AND AS NEXT FRIEND AND          6/14/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY A.R.P., ON BEHALF OF THEMSELVES
         AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
         ATTN: DAVID R. BARNEY, JR.                            NOT AVAILABLE
         THOMPSON BARNEY LAW FIRM
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311



3.1251   CHLOE PAUL, INDIVIDUALLY AND AS NEXT FRIEND AND          6/14/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY A.R.P., ON BEHALF OF THEMSELVES
         AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
         ATTN: SPENCER R. DOODY                                NOT AVAILABLE
         MARTZELL, BICKFORD & CENTOLA
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.1252   CHLOE PAUL, INDIVIDUALLY AND AS NEXT FRIEND AND          6/14/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY A.R.P., ON BEHALF OF THEMSELVES
         AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
         ATTN: KEVIN THOMPSON                                  NOT AVAILABLE
         THOMPSON BARNEY LAW FIRM
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311



3.1253   CHLOE PAUL, INDIVIDUALLY AND AS NEXT FRIEND AND          6/14/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY A.R.P., ON BEHALF OF THEMSELVES
         AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
         ATTN: CELESTE BRUSTOWICZ, STEPHEN H. WUSSOW           NOT AVAILABLE
         COOPER LAW FIRM, LLC
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.1254   CHOCTAW NATION                                           8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHIEF, ASSISTANT CHIEF, GENERAL COUNSEL
         PO BOX 1210                                           ACCOUNT NO.:
         DURANT, OK 74702-1210                                 NOT AVAILABLE



3.1255   CHOCTAW NATION                                           8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHIEF, ASSISTANT CHIEF, GENERAL COUNSEL
         1802 CHUKKA HINA                                      ACCOUNT NO.:
         DURANT, OK 74701                                      NOT AVAILABLE



3.1256   CHOWAN COUNTY                                            9/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER
         305 W FREEMASON ST.                                   ACCOUNT NO.:
         P0 BOX 1030                                           NOT AVAILABLE
         EDENTON, NC 27932




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Code                                                 And Account Number                          Claim

Litigation

3.1257   CHP PROPERTIES, LLC D/B/A CAPITOL HOUSE                  6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         CAPITOL HOUSE NURSING AND REHABILITATION              ACCOUNT NO.:
         11546 FLORIDA BOULEVARD                               NOT AVAILABLE
         BATON ROUGE, LA 70815



3.1258   CHP PROPERTIES, LLC D/B/A CAPITOL HOUSE                  6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT AND MANAGER
         GEOFFREY MORTHLAND AND PATRICK MITCHELL               ACCOUNT NO.:
         THE CARPENTER HEALTH NETWORK - 10615 JEFFERSON        NOT AVAILABLE
         HIGHWAY
         BATON ROUGE, LA 70809



3.1259   CHRIS AND DIANE DENSON, INDIVIDUALLY AND AS NEXT         3/16/2018                   Opioid Matter              UNDETERMINED
         FRIENDS OF BABLY L.D.L, ON BEHALF OF THEMSELVES
         AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
         ATTN: MELISA JANENE WILLIAMS                          NOT AVAILABLE
         MELISA J. WILLIAMS, ATTORNEY AT LAW
         16980 US HIGHWAY 64
         SOMERVILLE, TN 38068



3.1260   CHRIS AND DIANE DENSON, INDIVIDUALLY AND AS NEXT         3/16/2018                   Opioid Matter              UNDETERMINED
         FRIENDS OF BABLY L.D.L, ON BEHALF OF THEMSELVES
         AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
         ATTN: MELISA JANENE WILLIAMS                          NOT AVAILABLE
         MELISA J. WILLIAMS, ATTORNEY AT LAW
         P.O. BOX 515
         SOMERVILLE, TN 38068



3.1261   CHRIS STEVERSON IN HIS OFOCIAL CAPACITY AS THE           5/9/2019                    Opioid Matter              UNDETERMINED
         SHERRIFF OF TELFAIR COUNTY, GEORGIA
         ATTN: CHAIRPERSON OF THE BOARD OF                     ACCOUNT NO.:
         COMMISSIONERS                                         NOT AVAILABLE
         91 TELFAIR AVENUE
         MCRAE-HELENA, GA 31055



3.1262   CHRISTIAN COUNTY                                         1/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: CLERK OF THE COUNTY COMMISSION
         100 WEST CHURCH                                       ACCOUNT NO.:
         ROOM 304                                              NOT AVAILABLE
         OZARK, MO 65721



3.1263   CHRISTIAN COUNTY                                         8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         CHRISTIAN COUNTY CLERK                                ACCOUNT NO.:
         100 WEST CHURCH, ROOM 304                             NOT AVAILABLE
         OZARK, MO 65721



3.1264   CHRISTINA DELANCEY, INDIVIDUALLY AND AS NEXT             6/15/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY A.J.W., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED          ACCOUNT NO.:
         ATTN: CELESTE BRUSTOWICZ                              NOT AVAILABLE
         COOPER LAW FIRM, LLC
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130




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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                         Claim

Litigation

3.1265   CHUCK SMITH IN HIS OFFICIAL CAPACITY AS THE              5/7/2019                    Opioid Matter              UNDETERMINED
         SHERIFF OF MERIWETHER COUNTY, GEORGIA
         ATTN: SHERIFF                                         ACCOUNT NO.:
         MERIWETHER COUNTY SHERIFF'S OFFICE                    NOT AVAILABLE
         17400 ROOSEVELT HWY
         GREENVILLE, GA 30222



3.1266   CHUGACHMIUT, INC.                                       10/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: EXECUTIVE DIRECTOR
         CHUGACHMIUT, INC.                                     ACCOUNT NO.:
         1840 BRAGAW STREET, SUITE 110                         NOT AVAILABLE
         ANCHORAGE, AK 99508-3463



3.1267   CITIZEN POTAWATOMI NATION                                7/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND CHIEF EXECUTIVE OFFICER
         1601 SOUTH GORDON COOPER DRIVE                        ACCOUNT NO.:
         SHAWNEE, OK 74801                                     NOT AVAILABLE



3.1268   CITY AND COUNTY OF BROOMFIELD                            1/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE CITY AND COUNTY CLERK
         ONE DESCOMBES DRIVE                                   ACCOUNT NO.:
         BROOMFIELD, CO 80020                                  NOT AVAILABLE



3.1269   CITY HOSPITAL, INC.                                      4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: DIRECTOR
         2500 HOSPITAL DR                                      ACCOUNT NO.:
         MARTINSBURG, WV 25401                                 NOT AVAILABLE



3.1270   CITY HOSPITAL, INC.                                      4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: DIRECTOR
         2000 FOUNDATION WAY                                   ACCOUNT NO.:
         SUITE 2310                                            NOT AVAILABLE
         MARTINSBURG, WV 25401



3.1271   CITY HOSPITAL, INC.                                      4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         2000 FOUNDATION WAY                                   ACCOUNT NO.:
         SUITE 2310                                            NOT AVAILABLE
         MARTINSBURG, WV 25401



3.1272   CITY HOSPITAL, INC.                                      4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT
         P.O. BOX 440                                          ACCOUNT NO.:
         MARTINSBURG, WV 25402                                 NOT AVAILABLE



3.1273   CITY OF ABBEVILLE, AL                                    3/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK & MAYOR
         101 EAST WASHINGTON STREET                            ACCOUNT NO.:
         ABBEVILLE, AL 36310                                   NOT AVAILABLE




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Code                                                  And Account Number                         Claim

Litigation

3.1274   CITY OF ABBEVILLE, AL                                    3/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.1275   CITY OF ABBEVILLE, AL                                    3/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK & MAYOR
         PO BOX 427                                            ACCOUNT NO.:
         ABBEVILLE, AL 36310                                   NOT AVAILABLE



3.1276   CITY OF ABERDEEN, MARYLAND                               7/9/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         60 NORTH PARKE STREET                                 ACCOUNT NO.:
         ABERDEEN, MD 21001                                    NOT AVAILABLE



3.1277   CITY OF ADA                                              1/9/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY MANAGER, AND CITY CLERK
         231 SOUTH TOWNSEND STREET                             ACCOUNT NO.:
         ADA, OK 74820                                         NOT AVAILABLE



3.1278   CITY OF ADEL, GEORGIA                                    4/26/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY MANAGER
         112 NORTH PARRISH AVENUE                              ACCOUNT NO.:
         ADEL, GA 31620                                        NOT AVAILABLE



3.1279   CITY OF AKRON, OH                                       12/20/2017                   Opioid Matter              UNDETERMINED
         ATTN: CITY SOLICITOR
         OCASEK GOVERNMENT OFFICE BUILDING                     ACCOUNT NO.:
         161 SOUTH HIGH STREET, SUITE 202                      NOT AVAILABLE
         AKRON, OH 44308



3.1280   CITY OF ALBANY                                           1/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         CITY HALL                                             ACCOUNT NO.:
         ROOM 109 - 24 EAGLE STREET                            NOT AVAILABLE
         ALBANY, NY 12207



3.1281   CITY OF ALBANY                                           1/7/2019                    Opioid Matter              UNDETERMINED
         JAMES R. PELUSO
         DREYER BOYAJIAN LAMARCHE SAFRANKO                     ACCOUNT NO.:
         75 COLUMBIA STREET                                    NOT AVAILABLE
         ALBANY, NY 12210



3.1282   CITY OF ALBANY, GEORGIA                                 11/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER
         401 PINE AVENUE                                       ACCOUNT NO.:
         ALBANY, GA 31701                                      NOT AVAILABLE



3.1283   CITY OF ALBANY, GEORGIA                                 11/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 447                                            ACCOUNT NO.:
         ALBANY, GA 31702                                      NOT AVAILABLE


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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1284   CITY OF ALBANY, GEORGIA                                 11/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 447                                            ACCOUNT NO.:
         ALBANY, GA 31702                                      NOT AVAILABLE



3.1285   CITY OF ALBANY, NY                                       1/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         CITY HALL                                             ACCOUNT NO.:
         24 EAGLE STREET - ROOM 102                            NOT AVAILABLE
         ALBANY, NY 12207



3.1286   CITY OF ALBANY, NY                                       1/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: CORPORATION COUNSEL
         24 EAGLE STREET                                       ACCOUNT NO.:
         ROOM 106 - CITY HALL                                  NOT AVAILABLE
         ALBANY, NY 12207



3.1287   CITY OF ALBANY, NY                                       1/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: CITY TREASURER
         CITY HALL                                             ACCOUNT NO.:
         24 EAGLE STREET - ROOM 109                            NOT AVAILABLE
         ALBANY, NY 12207



3.1288   CITY OF ALBANY, NY                                       1/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         CITY HALL                                             ACCOUNT NO.:
         ROOM 109 - 24 EAGLE STREET                            NOT AVAILABLE
         ALBANY, NY 12207



3.1289   CITY OF ALBANY, NY                                       1/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         CITY HALL                                             ACCOUNT NO.:
         24 EAGLE STREET - ROOM 202                            NOT AVAILABLE
         ALBANY, NY 12207



3.1290   CITY OF ALBANY, NY                                       1/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHIEF CITY AUDITOR
         CITY HALL                                             ACCOUNT NO.:
         24 EAGLE STREET - ROOM 111                            NOT AVAILABLE
         ALBANY, NY 12207



3.1291   CITY OF ALBERTVILLE, AL                                  2/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.1292   CITY OF ALBERTVILLE, AL                                  2/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: CLERK & MAYOR
         116 W. MAIN STREET                                    ACCOUNT NO.:
         PO BOX 1248                                           NOT AVAILABLE
         ALBERTVILLE, AL 35950




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Code                                                 And Account Number                          Claim

Litigation

3.1293   CITY OF ALBERTVILLE, AL                                  2/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: CLERK & MAYOR
         116 W. MAIN STREET                                    ACCOUNT NO.:
         PO BOX 1248                                           NOT AVAILABLE
         ALBERTVILLE, AL 35950



3.1294   CITY OF ALEXANDER CITY, AL                               8/30/2019                   Opioid Matter              UNDETERMINED
         ATTN: RHON E. JONES
         BEASLEY, ALLEN, CROW, METHVIN, PORTIS ET AL.          ACCOUNT NO.:
         218 COMMERCE STREET - P.O. BOX 4160                   NOT AVAILABLE
         MONTGOMERY, AL 36104



3.1295   CITY OF ALEXANDER CITY, AL                               8/30/2019                   Opioid Matter              UNDETERMINED
         ATTN: WILLIAM R. SUTTON
         BEASLEY, ALLEN, CROW, METHVIN, PORTIS ET AL.          ACCOUNT NO.:
         218 COMMERCE STREET - P.O. BOX 4160                   NOT AVAILABLE
         MONTGOMERY, AL 36104



3.1296   CITY OF ALEXANDER CITY, AL                               8/30/2019                   Opioid Matter              UNDETERMINED
         ATTN: J. RYAN KRAL
         BEASLEY, ALLEN, CROW, METHVIN, PORTIS ET AL.          ACCOUNT NO.:
         218 COMMERCE STREET - P.O. BOX 4160                   NOT AVAILABLE
         MONTGOMERY, AL 36104



3.1297   CITY OF ALEXANDER CITY, AL                               8/30/2019                   Opioid Matter              UNDETERMINED
         ATTN: JERE L. BEASLEY
         BEASLEY, ALLEN, CROW, METHVIN, PORTIS ET AL.          ACCOUNT NO.:
         218 COMMERCE STREET - P.O. BOX 4160                   NOT AVAILABLE
         MONTGOMERY, AL 36104



3.1298   CITY OF ALEXANDER CITY, AL                               8/30/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         4 COURT SQUARE                                        ACCOUNT NO.:
         ALEXANDER CITY, AL 35010                              NOT AVAILABLE



3.1299   CITY OF ALEXANDER CITY, AL                               8/30/2019                   Opioid Matter              UNDETERMINED
         ATTN: JEFFREY D. PRICE
         BEASLEY, ALLEN, CROW, METHVIN, PORTIS ET AL.          ACCOUNT NO.:
         218 COMMERCE STREET - P.O. BOX 4160                   NOT AVAILABLE
         MONTGOMERY, AL 36104



3.1300   CITY OF ALEXANDER CITY, AL                               8/30/2019                   Opioid Matter              UNDETERMINED
         ATTN: RICHARD D. STRATTON
         BEASLEY, ALLEN, CROW, METHVIN, PORTIS ET AL.          ACCOUNT NO.:
         218 COMMERCE STREET - P.O. BOX 4160                   NOT AVAILABLE
         MONTGOMERY, AL 36104



3.1301   CITY OF ALEXANDRIA                                       1/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         ALEXANDRIA CITY HALL                                  ACCOUNT NO.:
         125 NORTH WAYNE STREET                                NOT AVAILABLE
         ALEXANDRIA, IN 46001




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Code                                                   And Account Number                          Claim

Litigation

3.1302   CITY OF ALEXANDRIA                                         3/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY OF ALEXANDRIA
         301 KING STREET                                         ACCOUNT NO.:
         ROOM 1300                                               NOT AVAILABLE
         ALEXANDRIA, VA 22314



3.1303   CITY OF ALEXANDRIA, LOUISIANA                              9/7/2018                    Opioid Matter              UNDETERMINED
         FIRST FLOOR CITY HALL, 915 THIRD STREET
         ALEXANDRIA, VA 71309                                    ACCOUNT NO.:
                                                                 NOT AVAILABLE


3.1304   CITY OF ALEXANDRIA, LOUISIANA                              9/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 71                                               ACCOUNT NO.:
         ALEXANDRIA, LA 71309                                    NOT AVAILABLE



3.1305   CITY OF ALGOOD                                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 49215                                            ACCOUNT NO.:
         ALGOOD, TN 38506                                        NOT AVAILABLE



3.1306   CITY OF ALGOOD                                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ADMINISTRATOR
         PO BOX 49215                                            ACCOUNT NO.:
         ALGOOD, TN 38506                                        NOT AVAILABLE



3.1307   CITY OF ALIQUIPPA AND UNION TOWNSHIP, ON BEHALF            3/16/2018                   Opioid Matter              UNDETERMINED
         OF THEMSELVES AND ALL OTHERS SIMILARLY SITUATED
         ATTN: DANIEL C. LEVIN                                   ACCOUNT NO.:
         LEVIN SEDRAN & BERMAN LLP                               NOT AVAILABLE
         510 WALNUT STREET - SUITE 500
         PHILADELPHIA, PA 19106



3.1308   CITY OF ALIQUIPPA AND UNION TOWNSHIP, ON BEHALF            3/16/2018                   Opioid Matter              UNDETERMINED
         OF THEMSELVES AND ALL OTHERS SIMILARLY SITUATED
         ATTN: CHARLES E. SCHAFFER                               ACCOUNT NO.:
         LEVIN SEDRAN & BERMAN LLP                               NOT AVAILABLE
         510 WALNUT STREET - STE 500
         PHILADELPHIA, PA 19106



3.1309   CITY OF ALIQUIPPA AND UNION TOWNSHIP, ON BEHALF            3/16/2018                   Opioid Matter              UNDETERMINED
         OF THEMSELVES AND ALL OTHERS SIMILARLY SITUATED
         ATTN: SECRETARY/TREASURER                               ACCOUNT NO.:
         UNION TOWNSHIP MUNICIPAL OFFICES                        NOT AVAILABLE
         3904 FINLEYVILLE-ELRAMA ROAD
         FINLEYVILLE, PA 15332



3.1310   CITY OF ALIQUIPPA AND UNION TOWNSHIP, ON BEHALF            3/16/2018                   Opioid Matter              UNDETERMINED
         OF THEMSELVES AND ALL OTHERS SIMILARLY SITUATED
         ATTN: ARNOLD LEVIN                                      ACCOUNT NO.:
         LEVIN SEDRAN & BERMAN LLP                               NOT AVAILABLE
         510 WALNUT STREET - STE 500
         PHILADELPHIA, PA 19106




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Code                                                 And Account Number                          Claim

Litigation

3.1311   CITY OF ALIQUIPPA AND UNION TOWNSHIP, ON BEHALF          3/16/2018                   Opioid Matter              UNDETERMINED
         OF THEMSELVES AND ALL OTHERS SIMILARLY SITUATED
         ATTN: MAYOR, AND CITY ADMINISTRATOR                   ACCOUNT NO.:
         581 FRANKLIN AVE.                                     NOT AVAILABLE
         ALIQUIPPA, PA 15001



3.1312   CITY OF ALLARDT                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         2015 MICHIGAN AVENUE                                  ACCOUNT NO.:
         P.O. BOX 159                                          NOT AVAILABLE
         ALLARDT, TN 38504



3.1313   CITY OF ALLENTOWN, PA                                    8/27/2019                   Opioid Matter              UNDETERMINED
         ATTN: JOHN GROGAN
         LANGER, GROGAN & DIVER, P.C.                          ACCOUNT NO.:
         1717 ARCH STREET - SUITE 4020                         NOT AVAILABLE
         PHILADELPHIA, PA 19103



3.1314   CITY OF ALLENTOWN, PA                                    8/27/2019                   Opioid Matter              UNDETERMINED
         ATTN: JOSEPH J. KHAN
         LANGER, GROGAN & DIVER, P.C.                          ACCOUNT NO.:
         1717 ARCH STREET - SUITE 4020                         NOT AVAILABLE
         PHILADELPHIA, PA 19103



3.1315   CITY OF ALLENTOWN, PA                                    8/27/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY COUNCIL
         435 HAMILTON STREET                                   ACCOUNT NO.:
         ALLENTOWN, PA 18101                                   NOT AVAILABLE



3.1316   CITY OF ALMA, GEORGIA                                    5/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY MANAGER
         502 WEST 12TH STREET                                  ACCOUNT NO.:
         SUITE 104 - PO BOX 429                                NOT AVAILABLE
         ALMA, GA 31510



3.1317   CITY OF AMORY, MISSISSIPPI                               6/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND MUNICIPAL CLERK
         109 SOUTH FRONT STREET                                ACCOUNT NO.:
         P. O. DRAWER 457                                      NOT AVAILABLE
         AMORY, MS 38821



3.1318   CITY OF ANACORTES AND SEDRO-WOOLLEY SCHOOL              12/21/2018                   Opioid Matter              UNDETERMINED
         DISTRICT
         ATTN: MAYOR                                           ACCOUNT NO.:
         MAYOR'S OFFICE                                        NOT AVAILABLE
         904 6TH STREET
         ANACORTES, WA 98221



3.1319   CITY OF ANACORTES AND SEDRO-WOOLLEY SCHOOL              12/21/2018                   Opioid Matter              UNDETERMINED
         DISTRICT
         ATTN: CITY CLERK-TREASURER                            ACCOUNT NO.:
         PO BOX 547                                            NOT AVAILABLE
         ANACORTES, WA 98221




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Code                                                 And Account Number                          Claim

Litigation

3.1320   CITY OF ANACORTES AND SEDRO-WOOLLEY SCHOOL              12/21/2018                   Opioid Matter              UNDETERMINED
         DISTRICT
         ATTN: SUPERINTENDENT, ASSISTANT                       ACCOUNT NO.:
         SUPERINTENDENT, AND EXECUTIVE DIRECTOR OF             NOT AVAILABLE
         BUSINESS & OPERATIONS
         801 TRAIL ROAD
         SEDRO-WOOLLEY, WA 98284



3.1321   CITY OF ANACORTES AND SEDRO-WOOLLEY SCHOOL              12/21/2018                   Opioid Matter              UNDETERMINED
         DISTRICT
         ATTN: OFFICE OF THE MAYOR                             ACCOUNT NO.:
         904 6TH STREET                                        NOT AVAILABLE
         ANACORTES, WA 98221



3.1322   CITY OF ANADARKO, OK                                     3/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK, CITY MANAGER
         501 WEST VIRGINIA                                     ACCOUNT NO.:
         ANADARKO, OK 73005                                    NOT AVAILABLE



3.1323   CITY OF ANADARKO, OK                                     3/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         203 WEST BROADWAY                                     ACCOUNT NO.:
         ANADARKO, OK 73005                                    NOT AVAILABLE



3.1324   CITY OF ANNAPOLIS, MARYLAND                              2/26/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, AND CITY ATTORNEY
         160 DUKE OF GLOUCESTER STREET                         ACCOUNT NO.:
         ANNAPOLIS, MD 21401                                   NOT AVAILABLE



3.1325   CITY OF ANNISTON, ALABAMA                                3/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 2168                                           ACCOUNT NO.:
         ANNISTON, AL 36202                                    NOT AVAILABLE



3.1326   CITY OF ANNISTON, ALABAMA                                3/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         PO BOX 2168                                           ACCOUNT NO.:
         ANNISTON, AL 36202-2168                               NOT AVAILABLE



3.1327   CITY OF ANNISTON, ALABAMA                                3/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.1328   CITY OF ARDMORE                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         119 SOUTH FIRST STREET                                ACCOUNT NO.:
         PO BOX 458                                            NOT AVAILABLE
         PULASKI, TN 38478




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Code                                                 And Account Number                          Claim

Litigation

3.1329   CITY OF ARDMORE                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 55                                             ACCOUNT NO.:
         ARDMORE, TN 38449                                     NOT AVAILABLE



3.1330   CITY OF ARDMORE                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         25844 MAIN STREET                                     ACCOUNT NO.:
         ARDMORE, TN 38449                                     NOT AVAILABLE



3.1331   CITY OF ARGO, ALABAMA                                    8/8/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR; CITY COUNCIL; CITY CLERK
         100 BLACKJACK ROAD                                    ACCOUNT NO.:
         ARGO, AL 35173                                        NOT AVAILABLE



3.1332   CITY OF ARLINGTON, GEORGIA                               3/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 126                                            ACCOUNT NO.:
         ARLINGTON, GA 39813-0126                              NOT AVAILABLE



3.1333   CITY OF ASHLAND, OHIO                                   10/31/2018                   Opioid Matter              UNDETERMINED
         ASHLAND COUNTY COMMISSIONERS' OFFICE
         110 COTTAGE STREET                                    ACCOUNT NO.:
         ASHLAND, OH 44805                                     NOT AVAILABLE



3.1334   CITY OF ASHLAND, OHIO                                   10/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         CITY OF ASHLAND OHIO                                  ACCOUNT NO.:
         206 CLAREMONT AVENUE                                  NOT AVAILABLE
         ASHLAND, OH 44805



3.1335   CITY OF ATLANTA                                          5/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         DEPARTMENT OF LAW                                     ACCOUNT NO.:
         55 TRINITY AVENUE - SUITE 5000                        NOT AVAILABLE
         ATLANTA, GA 30303



3.1336   CITY OF ATLANTA                                          5/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY COUNCIL PRESIDENT
         CITY HALL                                             ACCOUNT NO.:
         55 TRINITY AVENUE SW - SUITE 2500                     NOT AVAILABLE
         ATLANTA, GA 30303



3.1337   CITY OF AUBURN                                          11/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK AND CITY MANAGER
         60 COURT STREET                                       ACCOUNT NO.:
         AUBURN, ME 04210                                      NOT AVAILABLE



3.1338   CITY OF AUBURN                                          11/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK AND CITY MANAGER
         60 COURT STREET                                       ACCOUNT NO.:
         AUBURN, ME 04210                                      NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1339   CITY OF AUBURN, NY                                       6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         MAYOR'S OFFICE                                        ACCOUNT NO.:
         MEMORIAL CITY HALL - 24 SOUTH STREET                  NOT AVAILABLE
         AUBURN, NY 13021



3.1340   CITY OF AUBURN, NY                                       6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK, COMPTROLLER, TREASURER
         MEMORIAL CITY HALL                                    ACCOUNT NO.:
         24 SOUTH STREET - 1ST FLOOR                           NOT AVAILABLE
         AUBURN, NY 13021



3.1341   CITY OF AUBURN, NY                                       6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: CORPORATION COUNSEL
         MEMORIAL CITY HALL                                    ACCOUNT NO.:
         24 SOUTH STREET                                       NOT AVAILABLE
         AUBURN, NY 13021



3.1342   CITY OF AUGUSTA                                         11/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER AND CITY TREASURER
         CITY CENTER PLAZA                                     ACCOUNT NO.:
         16 CONY STREET                                        NOT AVAILABLE
         AUGUSTA, ME 14330



3.1343   CITY OF AUGUSTA                                         11/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER AND CITY TREASURER
         CITY CENTER PLAZA                                     ACCOUNT NO.:
         16 CONY STREET                                        NOT AVAILABLE
         AUGUSTA, ME 14330



3.1344   CITY OF AURORA                                           1/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         15151 E. ALAMEDA PARKWAY                              ACCOUNT NO.:
         AURORA, CO 80012                                      NOT AVAILABLE



3.1345   CITY OF AURORA                                           1/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE MAYOR
         15151 EAST ALAMEDA PARKWAY                            ACCOUNT NO.:
         AURORA, CO 80012                                      NOT AVAILABLE



3.1346   CITY OF AURORA, OHIO                                     7/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         130 S. CHILLICOTHE ROAD                               ACCOUNT NO.:
         AURORA, OH 44202-7845                                 NOT AVAILABLE



3.1347   CITY OF AUSTIN                                           6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         82 WEST MAIN STREET                                   ACCOUNT NO.:
         AUSTIN, IN 47102                                      NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1348   CITY OF AUSTIN                                           6/14/2019                   Opioid Matter              UNDETERMINED
         JOSHUA ALLEN STIGDON
         HOUSTON, THOMPSON AND LEWIS, PC                       ACCOUNT NO.:
         49 EAST WARDELL STREET                                NOT AVAILABLE
         SCOTTBURG, IN 47170



3.1349   CITY OF AUSTIN                                           6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         82 WEST MAIN STREET                                   ACCOUNT NO.:
         AUSTIN, IN 47102                                      NOT AVAILABLE



3.1350   CITY OF BAINBRIDGE, GEORGIA                              3/22/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY MANAGER
         101 SOUTH BROAD STREET                                ACCOUNT NO.:
         BAINBRIDGE, GA 39817                                  NOT AVAILABLE



3.1351   CITY OF BAINBRIDGE, GEORGIA                              3/22/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY MANAGER
         PO BOX 158                                            ACCOUNT NO.:
         BAINBRIDGE, GA 39818                                  NOT AVAILABLE



3.1352   CITY OF BANEBERRY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         PO BOX 798                                            ACCOUNT NO.:
         DANDRIDGE, TN 37725                                   NOT AVAILABLE



3.1353   CITY OF BANEBERRY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         CITY HALL                                             ACCOUNT NO.:
         521 HARRISON FERRY ROAD                               NOT AVAILABLE
         BANEBERRY, TN 37890



3.1354   CITY OF BANGOR                                           6/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER AND CITY CLERK
         73 HARLOW STREET                                      ACCOUNT NO.:
         BANGOR, ME 04401                                      NOT AVAILABLE



3.1355   CITY OF BANGOR                                           6/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER AND CITY CLERK
         73 HARLOW STREET                                      ACCOUNT NO.:
         BANGOR, ME 04401                                      NOT AVAILABLE



3.1356   CITY OF BASTROP, LOUISIANA                               7/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 431                                            ACCOUNT NO.:
         BASTROP, LA 71221                                     NOT AVAILABLE



3.1357   CITY OF BASTROP, LOUISIANA                               7/2/2018                    Opioid Matter              UNDETERMINED
         202 EAST JEFFERSON AVENUE
         1ST FLOOR, ROOM 134                                   ACCOUNT NO.:
         BASTROP, LA 71220                                     NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1358   CITY OF BATON ROUGE, PARISH OF EAST BATON ROUGE          1/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR-PRESIDENT
         222 SAINT LOUIS STREET                                ACCOUNT NO.:
         3RD FLOOR                                             NOT AVAILABLE
         BATON ROUGE, LA 70802



3.1359   CITY OF BEAN STATION                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         PO BOX 798                                            ACCOUNT NO.:
         DANDRIDGE, TN 37725                                   NOT AVAILABLE



3.1360   CITY OF BEAN STATION                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         785 MAIN STREET                                       ACCOUNT NO.:
         BEAN STATION, TN 37708                                NOT AVAILABLE



3.1361   CITY OF BEECH GROVE, INDIANA                             9/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         806 MAIN STREET                                       ACCOUNT NO.:
         BEEACH GROVE, IN 46107                                NOT AVAILABLE



3.1362   CITY OF BEL AIR, MARYLAND                                7/9/2019                    Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         39 N HICKORY AVENUE                                   ACCOUNT NO.:
         BEL AIR, MD 21014                                     NOT AVAILABLE



3.1363   CITY OF BELKNAP                                          9/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER AND COUNTY
         TREASURER                                             ACCOUNT NO.:
         34 COUNTY DRIVE                                       NOT AVAILABLE
         LACONIA, NH 03246



3.1364   CITY OF BELMONT                                          9/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN SELECTMEN AND TOWN CLERK
         P. O. BOX 310                                         ACCOUNT NO.:
         143 MAIN STREET                                       NOT AVAILABLE
         BELMONT, NH 03220-0310



3.1365   CITY OF BENHAM                                           2/14/2019                   Opioid Matter              UNDETERMINED
         BENHAM CITY HALL
         MAIN STREET                                           ACCOUNT NO.:
         BENHAM, KY 40807                                      NOT AVAILABLE



3.1366   CITY OF BENHAM                                           2/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER/MAYOR
         BENHAM CITY HALL                                      ACCOUNT NO.:
         230 MAIN ST, BENHAM                                   NOT AVAILABLE
         BENHAM, KY 40807



3.1367   CITY OF BENTON, AR                                       3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         P.O. BOX 607                                          ACCOUNT NO.:
         BENTON, AR 72018                                      NOT AVAILABLE


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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1368   CITY OF BENTON, AR                                       3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         114 SOUTH EAST STREET                                 ACCOUNT NO.:
         BENTON, AR 72015                                      NOT AVAILABLE



3.1369   CITY OF BENTONVILLE, AR                                  3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         117 WEST CENTRAL AVENUE                               ACCOUNT NO.:
         BENTONVILLE, AR 72712                                 NOT AVAILABLE



3.1370   CITY OF BERLIN, MARYLAND                                 7/9/2019                    Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE MAYOR; TOWN ATTORNEY
         10 WILLIAM STREET                                     ACCOUNT NO.:
         BERLIN, MD 21811                                      NOT AVAILABLE



3.1371   CITY OF BERWYN                                           5/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         6700 WEST 26TH STREET                                 ACCOUNT NO.:
         BERWYN, IL 60402                                      NOT AVAILABLE



3.1372   CITY OF BETHANY                                          8/1/2019                    Opioid Matter              UNDETERMINED
         ATTN: TODD A. COURT
         MCAFEE& TAFT A PROFESSIONAL CORPORATION               ACCOUNT NO.:
         TWO LEADERSHIP SQUARE, 10TH FLOOR - 211 NORTH         NOT AVAILABLE
         ROBINSON
         OKLAHOMA CITY, OK 73102-7103



3.1373   CITY OF BETHANY                                          8/1/2019                    Opioid Matter              UNDETERMINED
         ATTN: MATTHEW J. SILL
         FULMER SILL LAW GROUP                                 ACCOUNT NO.:
         1101 NORTH BROADWAY AVENUE, SUITE 102 - PO BOX        NOT AVAILABLE
         2448
         OKLAHOMA CITY, OK 73103



3.1374   CITY OF BETHANY                                          8/1/2019                    Opioid Matter              UNDETERMINED
         ATTN: HARRISON C. LUJAN
         FULMER SILL LAW GROUP                                 ACCOUNT NO.:
         1101 NORTH BROADWAY AVENUE, SUITE 102 - PO BOX        NOT AVAILABLE
         2448
         OKLAHOMA CITY, OK 73103



3.1375   CITY OF BETHANY                                          8/1/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         6700 NORTHWEST 36TH STREET                            ACCOUNT NO.:
         BETHANY, OK 73008                                     NOT AVAILABLE



3.1376   CITY OF BETHANY                                          8/1/2019                    Opioid Matter              UNDETERMINED
         ATTN: TONY G. PUCKETT
         MCAFEE& TAFT A PROFESSIONAL CORPORATION               ACCOUNT NO.:
         TWO LEADERSHIP SQUARE, 10TH FLOOR - 211 NORTH         NOT AVAILABLE
         ROBINSON
         OKLAHOMA CITY, OK 73102-7103




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Code                                                 And Account Number                          Claim

Litigation

3.1377   CITY OF BETHANY, OK                                      8/1/2019                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         6700 NW 36TH STREET                                   ACCOUNT NO.:
         BETHANY, OK 73008                                     NOT AVAILABLE



3.1378   CITY OF BEVERLY, MASSACHUSETTS                           3/4/2019                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         CITY HALL                                             ACCOUNT NO.:
         191 CABOT STREET                                      NOT AVAILABLE
         BEVERLY, MA 01915



3.1379   CITY OF BIDDEFORD                                        1/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: FINANCE DIRECTOR
         205 MAIN STREET                                       ACCOUNT NO.:
         BIDDEFORD, ME 04005                                   NOT AVAILABLE



3.1380   CITY OF BIDDEFORD                                        1/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: FINANCE DIRECTOR
         PO BOX 586                                            ACCOUNT NO.:
         BIDDEFORD, ME 04005                                   NOT AVAILABLE



3.1381   CITY OF BIDDEFORD                                        1/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: AARON FREY
         STATE OF MAINE ATTORNEY GENERAL                       ACCOUNT NO.:
         STATE HOUSE STATION 6                                 NOT AVAILABLE
         AUGUSTA, ME 04333-



3.1382   CITY OF BIDDEFORD                                        1/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         205 MAIN STREET                                       ACCOUNT NO.:
         BIDDEFORD, ME 04005                                   NOT AVAILABLE



3.1383   CITY OF BIDDEFORD                                        1/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER
         205 MAIN STREET                                       ACCOUNT NO.:
         SUITE 107                                             NOT AVAILABLE
         BIDDEFORD, ME 04005



3.1384   CITY OF BIRMINGHAM, ALABAMA, ET AL.                      8/14/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR & CLERK
         710 20TH STREET N                                     ACCOUNT NO.:
         CITY HALL, 3RD FLOOR                                  NOT AVAILABLE
         BIRMINGHAM, AL 35203



3.1385   CITY OF BIRMINGHAM, ALABAMA, ET AL.                      8/14/2017                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.1386   CITY OF BISMARCK                                         6/14/2019                   Opioid Matter              UNDETERMINED
         221 NORTH 5TH STREET
         BISMACK, ND 58506                                     ACCOUNT NO.:
                                                               NOT AVAILABLE

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Code                                                 And Account Number                          Claim

Litigation

3.1387   CITY OF BISMARCK                                         6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND BOARD OF COMMISSIONERS
         CITY COMMISSION                                       ACCOUNT NO.:
         P O BOX 5503                                          NOT AVAILABLE
         BISMARCK, ND 58506-5503



3.1388   CITY OF BLACK HAWK                                       1/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY MANAGER AND CITY CLERK
         201 SELAK STREET                                      ACCOUNT NO.:
         BLACK HAWK, CO 80422                                  NOT AVAILABLE



3.1389   CITY OF BLACKSHEAR, GEORGIA                              8/22/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY COUNCIL
         CITY HALL                                             ACCOUNT NO.:
         318 TAYLOR STREET                                     NOT AVAILABLE
         BLACKSHEAR, GA 31516



3.1390   CITY OF BLAKELY, GEORGIA                                 3/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         82 COURT SQUARE                                       ACCOUNT NO.:
         P.O. BOX 350                                          NOT AVAILABLE
         BLAKELY, GA 39823



3.1391   CITY OF BLOOMINGTON AND MONROE COUNTY                    2/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         100 WEST KIRKWOOD AVENUE                              ACCOUNT NO.:
         BLOOMINGTON, IN 47404                                 NOT AVAILABLE



3.1392   CITY OF BLOOMINGTON AND MONROE COUNTY                    2/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         401 NORTH MORTON STREET                               ACCOUNT NO.:
         BLOOMINGTON, IN 47404                                 NOT AVAILABLE



3.1393   CITY OF BLUEFIELD, WEST VIRGINIA                         3/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANGER
         200 ROGERS STREET                                     ACCOUNT NO.:
         BLUEFIELD, WV 24701                                   NOT AVAILABLE



3.1394   CITY OF BLUEFIELD, WEST VIRGINIA                         3/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         100 ROGERS STREET                                     ACCOUNT NO.:
         BLUEFIELD, WV 24701                                   NOT AVAILABLE



3.1395   CITY OF BLUFF                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         5771 HIGHWAY 11 EAST, NUMBER C                        ACCOUNT NO.:
         PO BOX 220                                            NOT AVAILABLE
         PINEY FLATS, TN 37686




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Code                                                 And Account Number                          Claim

Litigation

3.1396   CITY OF BLUFF                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         4391 BLUFF CITY HIGHWAY                               ACCOUNT NO.:
         PO BOX 70                                             NOT AVAILABLE
         BLUFF CITY, TN 37618



3.1397   CITY OF BOAZ, AL                                         2/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.1398   CITY OF BOAZ, AL                                         2/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         MAYOR'S OFFICE                                        ACCOUNT NO.:
         112 N BROAD STREET                                    NOT AVAILABLE
         BOAZ, AL 35957



3.1399   CITY OF BOGALUSA, LOUISIANA                              12/5/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         CITY HALL                                             ACCOUNT NO.:
         202 ARKANSAS AVE.                                     NOT AVAILABLE
         BOGALUSA, LA 70427



3.1400   CITY OF BOISE                                            11/8/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK OR CHIEF EXCUTIVE OFFICER/MAYOR
         CITY HALL                                             ACCOUNT NO.:
         150 NORTH CAPITOL BOULEVARD                           NOT AVAILABLE
         BOISE, ID 83702



3.1401   CITY OF BOSTON, THE BOSTON PUBLIC HEALTH                 9/13/2018                   Opioid Matter              UNDETERMINED
         COMMISSION, THE BOSTON HOUSING AUTHORITY
         ATTN: CITY CLERK                                      ACCOUNT NO.:
         1 CITY HALL SQUARE                                    NOT AVAILABLE
         ROOM 601
         BOSTON, MA 02201



3.1402   CITY OF BOSTON, THE BOSTON PUBLIC HEALTH                 9/13/2018                   Opioid Matter              UNDETERMINED
         COMMISSION, THE BOSTON HOUSING AUTHORITY
         ATTN: TREASURER                                       ACCOUNT NO.:
         1 CITY HALL SQUARE                                    NOT AVAILABLE
         ROOM M-35
         BOSTON, MA 02201



3.1403   CITY OF BOWIE, MARYLAND                                  6/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: RESIDENT AGENT
         CITY OF BOWIE                                         ACCOUNT NO.:
         15901 EXCALIBUR ROAD                                  NOT AVAILABLE
         BOWIE, MD 20716



3.1404   CITY OF BRADENTON                                       11/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR; CITY COUNCIL MEMBERS
         BRADENTON CITY HALL                                   ACCOUNT NO.:
         101 OLD MAIN STREET                                   NOT AVAILABLE
         BRADENTON, FL 34205


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Code                                                  And Account Number                         Claim

Litigation

3.1405   CITY OF BRIDGEPORT, ALABAMA                              6/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         116 JIM B THOMAS AVE                                  ACCOUNT NO.:
         BRIDGEPORT, AL 35740                                  NOT AVAILABLE



3.1406   CITY OF BRIDGEPORT, ALABAMA                              6/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 747                                            ACCOUNT NO.:
         BRIDGEPORT, AL 35740                                  NOT AVAILABLE



3.1407   CITY OF BRIDGEPORT, ALABAMA                              6/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.1408   CITY OF BRIGHTON                                         4/9/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY MANAGER, AND CITY CLERK
         500 SOUTH 4TH AVENUE                                  ACCOUNT NO.:
         BRIGHTON, CO 80601                                    NOT AVAILABLE



3.1409   CITY OF BRIGHTON                                         4/9/2019                    Opioid Matter              UNDETERMINED
         ATTN: PHIL WEISER
         STATE OF COLORADO ATTORNEY GENERAL                    ACCOUNT NO.:
         RALPH L. CARR COLORADO JUDICIAL CENTER - 1300         NOT AVAILABLE
         BROADWAY, 10TH FLOOR
         DENVER, CO 80203



3.1410   CITY OF BRISTOL                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         801 ANDERSON STREET                                   ACCOUNT NO.:
         PO BOX 1189                                           NOT AVAILABLE
         BRISTOL, TN 37620



3.1411   CITY OF BRISTOL                                          1/9/2018                    Opioid Matter              UNDETERMINED
         JAMES E. HARTLEY JR.
         500 CHASE PARKWAY                                     ACCOUNT NO.:
         WATERBURY, CT 06708                                   NOT AVAILABLE



3.1412   CITY OF BRISTOL                                          1/9/2018                    Opioid Matter              UNDETERMINED
         CHARLES S. HELLMAN
         1177 AVENUE OF THE AMERICAS                           ACCOUNT NO.:
         44TH FLOOR                                            NOT AVAILABLE
         NEW YORK, NY 10036



3.1413   CITY OF BRISTOL                                          1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: ANDREA BIERSTEIN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1414   CITY OF BRISTOL                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         801 ANDERSON STREET                                   ACCOUNT NO.:
         BRISTOL, TN 37620                                     NOT AVAILABLE



3.1415   CITY OF BRISTOL                                          1/9/2018                    Opioid Matter              UNDETERMINED
         PAUL J. HANLY JR.
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE - 7TH FLOOR                        NOT AVAILABLE
         NEW YORK, NY 10016



3.1416   CITY OF BRISTOL                                          1/9/2018                    Opioid Matter              UNDETERMINED
         SARAH S. BURNS
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002



3.1417   CITY OF BRISTOL                                          1/9/2018                    Opioid Matter              UNDETERMINED
         400 ORANGE STREET
         CLENDENEN & SHEA LLC                                  ACCOUNT NO.:
         NEW HAVEN, CT 06511                                   NOT AVAILABLE



3.1418   CITY OF BRISTOL                                          1/9/2018                    Opioid Matter              UNDETERMINED
         THOMAS SHERIDAN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.1419   CITY OF BRISTOL                                          1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         111 NORTH MAIN STREET                                 ACCOUNT NO.:
         BRISTOL, CT 06010                                     NOT AVAILABLE



3.1420   CITY OF BRISTOL, VIRGINIA                               UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY AND MAYOR
         300 LEE STREET                                        ACCOUNT NO.:
         BRISTOL, VA 24201                                     NOT AVAILABLE



3.1421   CITY OF BROKEN ARROW                                     1/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER AND CITY CLERK
         220 SOUTH FIRST STREET                                ACCOUNT NO.:
         BROKEN ARROW, OK 74012                                NOT AVAILABLE



3.1422   CITY OF BRUNSWICK, GA                                    3/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         CORRY LAW, LLC                                        ACCOUNT NO.:
         1612 NEWCASTLE STREET, SUITE 211                      NOT AVAILABLE
         BRUNSWICK, GA 31520



3.1423   CITY OF BRUNSWICK, GEORGIA                               3/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY MANAGER
         601 GLOUCESTER STREET                                 ACCOUNT NO.:
         BRUNSWICK, GA 31520                                   NOT AVAILABLE


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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1424   CITY OF BUCKHORN                                         2/12/2019                   Opioid Matter              UNDETERMINED
         18027 KY HWY 28
         BUCKHORN, KY 41721                                    ACCOUNT NO.:
                                                               NOT AVAILABLE


3.1425   CITY OF BUCKHORN                                         2/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER/ MAYOR
         264 BUCKHORN LANE                                     ACCOUNT NO.:
         BUCKHORN, KY 41721                                    NOT AVAILABLE



3.1426   CITY OF BURLINGTON                                       1/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         833 SOUTH SPRUCE STREET                               ACCOUNT NO.:
         BURLINGTON, WA 98233                                  NOT AVAILABLE



3.1427   CITY OF BURNS FLAT                                       7/19/2019                   Opioid Matter              UNDETERMINED
         HARRISON C. LUJAN
         FULMER SILL LAW GROUP                                 ACCOUNT NO.:
         P.O. BOX 2448 - 1101 NORTH BROADWAY AVENUE.,          NOT AVAILABLE
         SUITE 102
         OKLAHOMA CITY, OK 73103



3.1428   CITY OF BURNS FLAT                                       7/19/2019                   Opioid Matter              UNDETERMINED
         DANIEL M. DELLUOMO
         DELLUOMO & CROW, PA.                                  ACCOUNT NO.:
         6812 NORTH ROBINSON AVENUE                            NOT AVAILABLE
         OKLAHOMA CITY, OK 73116



3.1429   CITY OF BURNS FLAT                                       7/19/2019                   Opioid Matter              UNDETERMINED
         TONY G. PUCKETT
         MCAFEE & TAFT A PROFESSIONAL CORPORATION              ACCOUNT NO.:
         10TH FLOOR, TWO LEADERSHIP SQUARE - 211 NORTH         NOT AVAILABLE
         ROBINSON
         OKLAHOMA CITY, OK 73102-7103



3.1430   CITY OF BURNS FLAT                                       7/19/2019                   Opioid Matter              UNDETERMINED
         MATTHEW J.SILL
         FULMER SILL LAW GROUP                                 ACCOUNT NO.:
         P.O. BOX 2448 - 1101 NORTH BROADWAY AVENUE.,          NOT AVAILABLE
         SUITE 102
         OKLAHOMA CITY, OK 73102-7103



3.1431   CITY OF BURNS FLAT                                       7/19/2019                   Opioid Matter              UNDETERMINED
         TODD A. COURT
         MCAFEE & TAFT A PROFESSIONAL CORPORATION              ACCOUNT NO.:
         10TH FLOOR, TWO LEADERSHIP SQUARE - 211 NORTH         NOT AVAILABLE
         ROBINSON
         OKLAHOMA CITY, OK 73102-7103



3.1432   CITY OF BURNS FLAT, OK                                   7/19/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND THE CLERK/TREASURER
         BOX 410                                               ACCOUNT NO.:
         BURNS FLAT, OK 73624                                  NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.1433   CITY OF BURNS FLAT, OK                                   7/19/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND THE CLERK/TREASURER
         222 HIGHWAY 44                                        ACCOUNT NO.:
         BURNS FLAT, OK 73624                                  NOT AVAILABLE



3.1434   CITY OF CAMBRIDGE, MA                                    4/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK AND ASSISTANT CITY MANAGER FOR
         FISCAL AFFAIRS                                        ACCOUNT NO.:
         795 MASSACHUSETTS AVENUE                              NOT AVAILABLE
         1ST FLOOR
         CAMBRIDGE, MA 02139



3.1435   CITY OF CAMBRIDGE, MARYLAND                              6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE MAYOR
         CITY OF CAMBRIDGE                                     ACCOUNT NO.:
         410 ACADEMY STREET                                    NOT AVAILABLE
         CAMBRIDGE, MD 21613



3.1436   CITY OF CAMBRIDGE, MARYLAND                              6/13/2019                   Opioid Matter              UNDETERMINED
         795 MASSACHUSETTS AVENUE
         CAMBRIDGE, MD 02139                                   ACCOUNT NO.:
                                                               NOT AVAILABLE


3.1437   CITY OF CANTON, A MUNICIPAL CORPORATION                  6/14/2019                   Opioid Matter              UNDETERMINED
         CITY HALL
         PLAZA LEVEL                                           ACCOUNT NO.:
         - 218 CLEVELAND AVENUE SOUTHWEST                      NOT AVAILABLE
         CANTON, OH 44702



3.1438   CITY OF CANTON, A MUNICIPAL CORPORATION                  6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR OF THE CITY OF CANTON
         CANTON CITY HALL                                      ACCOUNT NO.:
         218 CLEVELAND AVENUE SOUTHWEST - 8TH FLOOR            NOT AVAILABLE
         CANTON, OH 44702



3.1439   CITY OF CARIBOU                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK, CITY MANAGER
         CARIBOU MUNICIPAL BUILDING                            ACCOUNT NO.:
         25 HIGH STREET                                        NOT AVAILABLE
         CARIBOU, ME 04736



3.1440   CITY OF CATERSVILLE                                      3/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY MANAGER
         1 NORTH ERWIN STREET                                  ACCOUNT NO.:
         PO BOX 1390                                           NOT AVAILABLE
         CATERSVILLE, GA 30120



3.1441   CITY OF CELINA                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CLAY COUNTY MAYOR
         145 CORDELL HULL DRIVE                                ACCOUNT NO.:
         CELINA, TN 38551                                      NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1442   CITY OF CELINA                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER, 3RD DISTRICT
         806 RIVERSIDE CIRCLE                                  ACCOUNT NO.:
         CELINA, TN 38551                                      NOT AVAILABLE



3.1443   CITY OF CELINA                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         430 STONE ROAD                                        ACCOUNT NO.:
         CELINA, TN 38551                                      NOT AVAILABLE



3.1444   CITY OF CELINA                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER, 3RD DISTRICT
         1018 CLARK CIRCLE                                     ACCOUNT NO.:
         CELINA, TN 38551                                      NOT AVAILABLE



3.1445   CITY OF CELINA                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER, 1ST DISTRICT
         1018 HAPPY RIDGE RD.                                  ACCOUNT NO.:
         MOSS, TN 38575                                        NOT AVAILABLE



3.1446   CITY OF CELINA                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CIRCUIT COURT CLERK
         P.O. BOX 749                                          ACCOUNT NO.:
         CELINA, TN 38551                                      NOT AVAILABLE



3.1447   CITY OF CELINA                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER, 2ND DISTRICT
         3835 HAPPY VALLEY RD                                  ACCOUNT NO.:
         RED BOILING SPRINGS, TN 37150                         NOT AVAILABLE



3.1448   CITY OF CELINA                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: GENERAL SESSIONS COURT JUDGE
         298 MONROE LANE                                       ACCOUNT NO.:
         CELINA, TN 38551                                      NOT AVAILABLE



3.1449   CITY OF CELINA                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER, 1ST DISTRICT
         262 MOSS ARCOT RD.                                    ACCOUNT NO.:
         MOSS, TN 38575                                        NOT AVAILABLE



3.1450   CITY OF CELINA                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY OF CELINA MAYOR
         330 DOW AVENUE                                        ACCOUNT NO.:
         P. O. BOX 449                                         NOT AVAILABLE
         CELINA, TN 38551



3.1451   CITY OF CELINA                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         1199 WALNUT AVENUE                                    ACCOUNT NO.:
         CELINA, TN 38551                                      NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1452   CITY OF CELINA                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         101 GREEN STREET                                      ACCOUNT NO.:
         CELINA, TN 38551                                      NOT AVAILABLE



3.1453   CITY OF CELINA                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER, 5TH DISTRICT
         310 B. THOMPSON RD                                    ACCOUNT NO.:
         CELINA, TN 38551                                      NOT AVAILABLE



3.1454   CITY OF CELINA                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER, 5H DISTRICT
         753 ASHLOCK ROAD                                      ACCOUNT NO.:
         CELINA, TN 38551                                      NOT AVAILABLE



3.1455   CITY OF CELINA                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER, 4TH DISTRICT
         3221 LIVINGSTON HWY.                                  ACCOUNT NO.:
         CELINA, TN 38551                                      NOT AVAILABLE



3.1456   CITY OF CELINA                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER, 4TH DISTRICT
         15 RHOTON LANE                                        ACCOUNT NO.:
         CELINA, TN 38551                                      NOT AVAILABLE



3.1457   CITY OF CELINA                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER, 2ND DISTRICT
         1169 MCCORMICK RIDGE RD.                              ACCOUNT NO.:
         RED BOILING SPRINGS, TN 37150                         NOT AVAILABLE



3.1458   CITY OF CENTRAL FALLS, RI                                3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY CLERK
         CENTRAL FALLS CITY HALL                               ACCOUNT NO.:
         580 BROAD STREET                                      NOT AVAILABLE
         CENTRAL FALLS, RI 02863



3.1459   CITY OF CHARLES TOWN                                     3/20/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY MANAGER, RECORDER, CLERK,
         TREASURER, AND COUNCIL                                ACCOUNT NO.:
         101 EAST WASHINGTON STREET                            NOT AVAILABLE
         P. O. BOX 14
         CHARLES TOWN, WV 25414-0014



3.1460   CITY OF CHARLESTON                                       8/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: CARMEN A. DE GISI
         MARC J. BERN & PARTNERS LLP                           ACCOUNT NO.:
         ONE GRAND CENTRAL PLACE - 60 EAST 42ND STREET,        NOT AVAILABLE
         SUITE 950
         NEW YORK, NY 10165




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Code                                                 And Account Number                          Claim

Litigation

3.1461   CITY OF CHARLESTON                                       8/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: MARGARET E. CORDNER
         MARC J. BERN & PARTNERS LLP                           ACCOUNT NO.:
         ONE GRAND CENTRAL PLACE - 60 EAST 42ND STREET,        NOT AVAILABLE
         SUITE 950
         NEW YORK, NY 10165



3.1462   CITY OF CHARLESTON                                       8/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: MARC J. BERN, JOSEPH J. CAPPELLI, MARGARET
         E. CORDNER, CARMEN A. DE GISI                         ACCOUNT NO.:
         MARC J. BERN & PARTNERS LLP                           NOT AVAILABLE
         ONE GRAND CENTRAL PLACE - 60 EAST 42ND STREET,
         SUITE 950
         NEW YORK, NY 10165



3.1463   CITY OF CHARLESTON                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         126 WORTH STREET                                      ACCOUNT NO.:
         PO BOX 431                                            NOT AVAILABLE
         CHARLESTON, TN 37310



3.1464   CITY OF CHARLESTON                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         170 OCOEE STREET                                      ACCOUNT NO.:
         SUITE 206                                             NOT AVAILABLE
         CLEVELAND, TN 37310



3.1465   CITY OF CHARLESTON                                       8/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: JOSEPH J. CAPPELLI
         MARC J. BERN & PARTNERS LLP                           ACCOUNT NO.:
         ONE GRAND CENTRAL PLACE - 60 EAST 42ND STREET,        NOT AVAILABLE
         SUITE 950
         NEW YORK, NY 10165



3.1466   CITY OF CHARLESTON, MISS.                                3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND MUNICIPAL CLERK
         PO BOX 350                                            ACCOUNT NO.:
         CHARLESTON, MS 38921                                  NOT AVAILABLE



3.1467   CITY OF CHARLESTON, SC                                   8/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: SANDRA J. SENN
         SENN LEGAL, LLC                                       ACCOUNT NO.:
         P.O. BOX 12279                                        NOT AVAILABLE
         CHARLESTON, SC 29422



3.1468   CITY OF CHARLESTON, SC                                   8/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: CLERK OF COUNCIL
         80 BROAD STREET                                       ACCOUNT NO.:
         CHARLESTON, SC 29401                                  NOT AVAILABLE



3.1469   CITY OF CHARLESTOWN, MARYLAND                            7/9/2019                    Opioid Matter              UNDETERMINED
         ATTN: TOWN ADMINISTRATOR
         TOWN OF CHARLESTOWN                                   ACCOUNT NO.:
         P.O. BOX 154 - 241 MARKET STREET                      NOT AVAILABLE
         ELKTON, MD 21921


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Code                                                 And Account Number                          Claim

Litigation

3.1470   CITY OF CHARLESTOWN, MARYLAND                            7/9/2019                    Opioid Matter              UNDETERMINED
         TOWN OF CHARLESTOWN
         PO BOX 154                                            ACCOUNT NO.:
         - 241 MARKET STREET                                   NOT AVAILABLE
         CHARLESTOWN, MD 21914



3.1471   CITY OF CHELSEA                                          5/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         CITY HALL                                             ACCOUNT NO.:
         500 BROADWAY                                          NOT AVAILABLE
         CHELSEA, MA 02150



3.1472   CITY OF CHESTER, SOUTH CAROLINA                          6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY ADMINISTRATOR
         1033 HAMILTON ROAD                                    ACCOUNT NO.:
         CHESTER, SC 29706                                     NOT AVAILABLE



3.1473   CITY OF CHESTER, SOUTH CAROLINA                          6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         MAYOR'S OFFICE                                        ACCOUNT NO.:
         100 WEST END STREET                                   NOT AVAILABLE
         CHESTER, SC 29706



3.1474   CITY OF CHESTER, SOUTH CAROLINA                          6/12/2019                   Opioid Matter              UNDETERMINED
         1033 HAMILTON ROAD
         CHESTER, SC 29706                                     ACCOUNT NO.:
                                                               NOT AVAILABLE


3.1475   CITY OF CHICAGO HEIGHTS                                  5/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         1601 CHICAGO ROAD                                     ACCOUNT NO.:
         CHICAGO HEIGHTS, IL 60411                             NOT AVAILABLE



3.1476   CITY OF CHICAGO, IL                                      6/11/2014                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         CHICAGO CITY HALL 4TH FLOOR                           ACCOUNT NO.:
         121 NORTH LASALLE STREET                              NOT AVAILABLE
         CHICAGO, IL 60602



3.1477   CITY OF CHICAGO, IL                                      6/11/2014                   Opioid Matter              UNDETERMINED
         ATTN: CLERK
         121 NORTH LASALLE STREET, ROOM 107                    ACCOUNT NO.:
         CHICAGO, IL 60602                                     NOT AVAILABLE



3.1478   CITY OF CHICOPEE, MA                                     2/4/2019                    Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         274 FRONT STREET                                      ACCOUNT NO.:
         2ND FLOOR ANNEX                                       NOT AVAILABLE
         CHICOPEE, MA 01013




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Code                                                 And Account Number                          Claim

Litigation

3.1479   CITY OF CHICOPEE, MA                                     2/4/2019                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         CITY HALL                                             ACCOUNT NO.:
         17 SPRINGFIELD STREET                                 NOT AVAILABLE
         CHICOPEE, MA 01013



3.1480   CITY OF CHUBBUCK                                         7/17/2019                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE MAYOR: CITY CLERK
         5160 YELLOWSTONE AVENUE                               ACCOUNT NO.:
         CHUBBUCK, ID 83202                                    NOT AVAILABLE



3.1481   CITY OF CHULA VISTA, CALIFORNIA, A MUNICIPAL             6/14/2019                   Opioid Matter              UNDETERMINED
         CORPORATION
         ATTN: MAYOR AND CITY CLERK                            ACCOUNT NO.:
         CITY HALL                                             NOT AVAILABLE
         276 FOURTH AVENUE - BUILDING A
         CHULA VISTA, CA 91910



3.1482   CITY OF CHULA VISTA, CALIFORNIA, A MUNICIPAL             6/14/2019                   Opioid Matter              UNDETERMINED
         CORPORATION
         ATTN: MAYOR AND CITY CLERK                            ACCOUNT NO.:
         CITY HALL                                             NOT AVAILABLE
         276 FOURTH AVENUE - BUILDING A
         CHULA VISTA, CA 91910



3.1483   CITY OF CHURCH HILL                                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         300 EAST MAIN STREET WEST                             ACCOUNT NO.:
         CHURCH HILL, TN 37642                                 NOT AVAILABLE



3.1484   CITY OF CHURCH HILL                                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         300 EAST MAIN STREET WEST                             ACCOUNT NO.:
         CHURCH HILL, TN 37642                                 NOT AVAILABLE



3.1485   CITY OF CINCINNATI                                       9/22/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY SOLICITOR
         801 PLUM STREET                                       ACCOUNT NO.:
         SUITE 150                                             NOT AVAILABLE
         CINCINNATI, OH 45202



3.1486   CITY OF CLANTON, ALABAMA, A MUNICIPAL                    8/27/2018                   Opioid Matter              UNDETERMINED
         CORPORATION
         ATTN: STEVE MARSHALL                                  ACCOUNT NO.:
         STATE OF ALABAMA ATTORNEY GENERAL                     NOT AVAILABLE
         501 WASHINGTON AVE. - P.O. BOX 300152
         MONTGOMERY, AL 36130-0152



3.1487   CITY OF CLANTON, ALABAMA, A MUNICIPAL                    8/27/2018                   Opioid Matter              UNDETERMINED
         CORPORATION
         ATTN: CITY CLERK                                      ACCOUNT NO.:
         CITY HALL                                             NOT AVAILABLE
         505 2ND AVENUE N
         CLANTON, AL 35046-0580



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1488   CITY OF CLANTON, ALABAMA, A MUNICIPAL                    8/27/2018                   Opioid Matter              UNDETERMINED
         CORPORATION
         ATTN: MAYOR & CLERK                                   ACCOUNT NO.:
         CITY HALL                                             NOT AVAILABLE
         505 2ND AVENUE N
         CLANTON, AL 35046-0580



3.1489   CITY OF CLAREMONT                                        9/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER AND CITY CLERK
         58 OPERA HOUSE SQUARE                                 ACCOUNT NO.:
         CLAREMONT, NH 03743-2677                              NOT AVAILABLE



3.1490   CITY OF CLARKSDALE                                       6/14/2019                   Opioid Matter              UNDETERMINED
         POST OFFICE BOX 940
         CLARKSDALE, MS 38614                                  ACCOUNT NO.:
                                                               NOT AVAILABLE


3.1491   CITY OF CLARKSDALE                                       6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY CLERK
         121 SUNFLOWER AVENUE                                  ACCOUNT NO.:
         CLARKSDALE, MS 38614                                  NOT AVAILABLE



3.1492   CITY OF CLEARWATER IN THE COUNTY OF PINELLAS            11/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         OFFICE OF THE MAYOR                                   ACCOUNT NO.:
         OFFICES OF THE CITY COUNCIL - PO BOX 4748             NOT AVAILABLE
         CLEARWATER, FL 33758-4748



3.1493   CITY OF CLEARWATER IN THE COUNTY OF PINELLAS            11/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         CITY OF CLEARWATER OFFICES                            ACCOUNT NO.:
         ONE CLEARWATER TOWER, 6TH FLOOR - 600                 NOT AVAILABLE
         CLEVELAND ST.
         CLEARWATER, FL 33756



3.1494   CITY OF CLEVELAND                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         PO BOX 1519                                           ACCOUNT NO.:
         CLEVELAND, TN 37364-1519                              NOT AVAILABLE



3.1495   CITY OF CLEVELAND                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         190 CHURCH ST. NE                                     ACCOUNT NO.:
         CLEVELAND, TN 37311                                   NOT AVAILABLE



3.1496   CITY OF CLEVELAND                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 1519                                           ACCOUNT NO.:
         CLEVELAND, TN 37364                                   NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1497   CITY OF CLEVELAND, OH                                    3/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: DIRECTOR OF DEPARTMENT OF LAW
         601 LAKESIDE AVENUE                                   ACCOUNT NO.:
         ROOM 106                                              NOT AVAILABLE
         CLEVELAND, OH 44114



3.1498   CITY OF CLEVELAND, OH                                    3/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: DIRECTOR OF DEPARTMENT OF LAW, MAYOR
         601 LAKESIDE AVENUE, ROOM 106                         ACCOUNT NO.:
         CLEVELAND, OH 44114                                   NOT AVAILABLE



3.1499   CITY OF CLIFTON                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         142 MAIN STREET                                       ACCOUNT NO.:
         PO BOX 192                                            NOT AVAILABLE
         CLIFTON, TN 38425



3.1500   CITY OF CLIFTON                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         142 MAIN STREET                                       ACCOUNT NO.:
         PO BOX 192                                            NOT AVAILABLE
         CLIFTON, TN 38425



3.1501   CITY OF CLINTON                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         245 NORTH MAIN STREET                                 ACCOUNT NO.:
         CLINTON, TN 37716                                     NOT AVAILABLE



3.1502   CITY OF CLINTON                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         100 NORTH BOWLING STREET                              ACCOUNT NO.:
         CLINTON, TN 37716                                     NOT AVAILABLE



3.1503   CITY OF COALMONT                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         HIGHWAY 56                                            ACCOUNT NO.:
         P.O. BOX 308                                          NOT AVAILABLE
         COALMONT, TN 37313



3.1504   CITY OF COATESVILLE, PENNSYLVANIA                        6/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: JOSH SHAPIRO
         STATE OF PENNSYLVANIA ATTORNEY GENERAL                ACCOUNT NO.:
         PENNSYLVANIA OFFICE OF ATTORNEY GENERAL - 16TH        NOT AVAILABLE
         FLOOR, STRAWBERRY SQUARE
         HARRISBURG, PA 17120



3.1505   CITY OF COATESVILLE, PENNSYLVANIA                        6/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER AND CITY CLERK
         ONE CITY HALL PLACE                                   ACCOUNT NO.:
         COATESVILLE, PA 19320                                 NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.1506   CITY OF COLLINWOOD                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         101 THIRD AVENUE NORTH                                ACCOUNT NO.:
         PO BOX 98                                             NOT AVAILABLE
         COLLINWOOD, TN 38450



3.1507   CITY OF COLLINWOOD                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         PO BOX 456                                            ACCOUNT NO.:
         WAYNESBORO, TN 38485                                  NOT AVAILABLE



3.1508   CITY OF COLUMBIA                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR OR CITY COUNCIL
         700 NORTH GARDEN STREET                               ACCOUNT NO.:
         COLUMBIA, TN 38401                                    NOT AVAILABLE



3.1509   CITY OF COLUMBIA, MISSISSIPPI                            1/16/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY CLERK
         201 SECOND STREET                                     ACCOUNT NO.:
         COLUMBIA, MS 39429                                    NOT AVAILABLE



3.1510   CITY OF COLUMBUS, MISSISSIPPI                           11/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CHIEF FINANCIAL OFFICER/SECRETARY
         TREASURER AND CITY CLERK                              ACCOUNT NO.:
         523 MAIN STREET                                       NOT AVAILABLE
         P.O. BOX 1408
         COLUMBUS, MS 39701



3.1511   CITY OF COMMERCE CITY                                    1/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER
         7887 EAST 60TH AVENUE                                 ACCOUNT NO.:
         COMMERCE CITY, CO 80022                               NOT AVAILABLE



3.1512   CITY OF CONCORD, NEW HAMPSHIRE                           4/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER AND CITY CLERK
         41 GREEN STREET                                       ACCOUNT NO.:
         CONCORD, NH 03301                                     NOT AVAILABLE



3.1513   CITY OF CONNERSVILLE                                     1/22/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         500 NORTH CENTRAL AVENUE                              ACCOUNT NO.:
         CONNERSVILLE, IN 47331                                NOT AVAILABLE



3.1514   CITY OF CONWAY, AR                                       3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         CONWAY CITY HALL                                      ACCOUNT NO.:
         1201 OAK STREET                                       NOT AVAILABLE
         CONWAY, AR 72032



3.1515   CITY OF COOKEVILLE                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER
         45 EAST BROAD STREET                                  ACCOUNT NO.:
         COOKEVILLE, TN 38501                                  NOT AVAILABLE


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Code                                                   And Account Number                          Claim

Litigation

3.1516   CITY OF COOKEVILLE                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER
         45 EAST BROAD STREET                                    ACCOUNT NO.:
         COOKEVILLE, TN 38501                                    NOT AVAILABLE



3.1517   CITY OF COON RAPIDS, MN                                    8/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: SETH MEYER
         KELLER LENKNER LLC                                      ACCOUNT NO.:
         150 NORTH RIVERSIDE PLAZA - SUITE 5100                  NOT AVAILABLE
         CHICAGO, IL 60606



3.1518   CITY OF COON RAPIDS, MN                                    8/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: JARED D. SHEPHERD
         HOFF BARRY, P.A.                                        ACCOUNT NO.:
         775 PRAIRIE CENTER DRIVE - SUITE 160                    NOT AVAILABLE
         EDEN PRAIRIE, MN 55344



3.1519   CITY OF COON RAPIDS, MN                                    8/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         11155 ROBINSON DRIVE                                    ACCOUNT NO.:
         COON RAPIDS, MN 55433                                   NOT AVAILABLE



3.1520   CITY OF COON RAPIDS, MN                                    8/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: ASHLEY KELLER
         KELLER LENKNER LLC                                      ACCOUNT NO.:
         150 NORTH RIVERSIDE PLAZA - SUITE 5100                  NOT AVAILABLE
         CHICAGO, IL 60606



3.1521   CITY OF COON RAPIDS, MN                                    8/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: THOMAS R. MCCARTHY
         CONSOVOY MCCARTHY PARK, PLLC                            ACCOUNT NO.:
         3033 WILSON BOULEVARD - SUITE 700                       NOT AVAILABLE
         ARLINGTON, VA 22201



3.1522   CITY OF COON RAPIDS, MN                                    8/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: WILLIAM S. CONSOVOY
         CONSOVOY MCCARTHY PARK, PLLC                            ACCOUNT NO.:
         3033 WILSON BOULEVARD - SUITE 700                       NOT AVAILABLE
         ARLINGTON, VA 22201



3.1523   CITY OF COON RAPIDS, MN                                    8/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: MICHAEL H. PARK
         CONSOVOY MCCARTHY PARK, PLLC                            ACCOUNT NO.:
         745 FIFTH AVENUE - SUITE 500                            NOT AVAILABLE
         NEW YORK, NY 10151



3.1524   CITY OF COON RAPIDS, MN                                    8/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: TRAVIS LENKNER
         KELLER LENKNER LLC                                      ACCOUNT NO.:
         150 NORTH RIVERSIDE PLAZA - SUITE 5100                  NOT AVAILABLE
         CHICAGO, IL 60606




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Code                                                 And Account Number                          Claim

Litigation

3.1525   CITY OF COPPERHILL                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         160 MAIN STREET                                       ACCOUNT NO.:
         PO BOX 640                                            NOT AVAILABLE
         COPPERHILL, TN 37317



3.1526   CITY OF COPPERHILL                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         301 KEITH STREET                                      ACCOUNT NO.:
         SOUTH WEST # 207                                      NOT AVAILABLE
         CLEVELAND, TN 37311



3.1527   CITY OF COSTA MESA, AND THE PEOPLE OF THE STATE          3/28/2019                   Opioid Matter              UNDETERMINED
         OF CALIFORNIA, BY AND THROUGH COSTA MESA CITY
         ATTORNEY KIMBERLY HALL BARLOW                         ACCOUNT NO.:
         ATTN: KIMBERLY HALL BARLOW                            NOT AVAILABLE
         CITY ATTORNEY
         JONES & MAYER - 6349 AUBURN BOULEVARD
         CITRUS HEIGHTS, CA 95621



3.1528   CITY OF COSTA MESA, AND THE PEOPLE OF THE STATE          3/28/2019                   Opioid Matter              UNDETERMINED
         OF CALIFORNIA, BY AND THROUGH COSTA MESA CITY
         ATTORNEY KIMBERLY HALL BARLOW                         ACCOUNT NO.:
         ATTN: KIMBERLY HALL BARLOW                            NOT AVAILABLE
         CITY ATTORNEY
         JONES & MAYER - 3777 NORTH HARBOR BOULEVARD
         FULLERTON, CA 92835



3.1529   CITY OF COSTA MESA, AND THE PEOPLE OF THE STATE          3/28/2019                   Opioid Matter              UNDETERMINED
         OF CALIFORNIA, BY AND THROUGH COSTA MESA CITY
         ATTORNEY KIMBERLY HALL BARLOW                         ACCOUNT NO.:
         ATTN: MAYOR                                           NOT AVAILABLE
         77 FAIR DRIVE
         COSTA MESA, CA 92626



3.1530   CITY OF COSTA MESA, CA                                   3/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         77 FAIR DRIVE                                         ACCOUNT NO.:
         COSTA MESA, CA 92626                                  NOT AVAILABLE



3.1531   CITY OF COVINGTON                                        5/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         CITY HALL                                             ACCOUNT NO.:
         317 NORTH JEFFERSON AVENUE                            NOT AVAILABLE
         COVINGTON, LA 70433



3.1532   CITY OF COVINGTON, KENTUCKY                              7/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         20 WEST PIKE STREET                                   ACCOUNT NO.:
         COVINGTON, KY 41011                                   NOT AVAILABLE



3.1533   CITY OF COVINGTON, VIRGINIA                             UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         318 EAST MALLOW ROAD                                  ACCOUNT NO.:
         COVINGTON, VA 24426                                   NOT AVAILABLE


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Code                                                 And Account Number                          Claim

Litigation

3.1534   CITY OF COWAN                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         300 SOUTH COLLEGE STREET                              ACCOUNT NO.:
         WINCHESTER, TN 37398                                  NOT AVAILABLE



3.1535   CITY OF COWAN                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         301 EAST CUMBERLAND                                   ACCOUNT NO.:
         PO BOX 338                                            NOT AVAILABLE
         COWAN, TN 37318



3.1536   CITY OF CRAB ORCHARD                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         156 RECTOR AVENUE                                     ACCOUNT NO.:
         PO BOX 1250                                           NOT AVAILABLE
         CROSSVILLE, TN 38557



3.1537   CITY OF CRAB ORCHARD                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         338 HEBBERTSBURG ROAD                                 ACCOUNT NO.:
         PO BOX 215                                            NOT AVAILABLE
         CRAB ORCHARD, TN 37723



3.1538   CITY OF CRANSTON, RI                                     3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         CRANSTON CITY HALL                                    ACCOUNT NO.:
         869 PARK AVENUE                                       NOT AVAILABLE
         CRANSTON, RI 02910



3.1539   CITY OF CROSSVILLE                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         396 SOUTH MAIN STREET                                 ACCOUNT NO.:
         CROSSVILLE, TN 38555                                  NOT AVAILABLE



3.1540   CITY OF CROSSVILLE                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER
         392 NORTH MAIN STREET                                 ACCOUNT NO.:
         CROSSVILLE, TN 38555                                  NOT AVAILABLE



3.1541   CITY OF CULLMAN, ALABAMA                                 3/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         204 2ND AVENUE NE                                     ACCOUNT NO.:
         CULLMAN, AL 35055                                     NOT AVAILABLE



3.1542   CITY OF CULLMAN, ALABAMA                                 3/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152




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Code                                                 And Account Number                          Claim

Litigation

3.1543   CITY OF CULLMAN, ALABAMA                                 3/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         204 2ND AVENUE NE                                     ACCOUNT NO.:
         CULLMAN, AL 35056                                     NOT AVAILABLE



3.1544   CITY OF CUMBERLAND, MARYLAND                             5/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY COUNCIL MEMBERS
         57 N LIBERTY STREET                                   ACCOUNT NO.:
         COUNCIL CHAMBERS                                      NOT AVAILABLE
         CUMBERLAND, MD 21502



3.1545   CITY OF DADEVILLE, ALABAMA                               8/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR; CITY COUNCIL; CITY CLERK
         265 NORTH BROADNAX STREET                             ACCOUNT NO.:
         DADEVILLE, AL 36853                                   NOT AVAILABLE



3.1546   CITY OF DANVILLE                                         6/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND THE CITY COUNCIL
         427 PATTON STREET                                     ACCOUNT NO.:
         FOURTH FLOOR                                          NOT AVAILABLE
         DANVILLE, VA 24541



3.1547   CITY OF DAWSON, GA                                       6/19/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY COUNCIL
         WARD 1                                                ACCOUNT NO.:
         595 CHURCH STREET NE                                  NOT AVAILABLE
         DAWSON, GA 39842



3.1548   CITY OF DAWSON, GEORGIA                                  6/19/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY MANAGER AND CITY CLERK
         101 SOUTH MAIN STREET                                 ACCOUNT NO.:
         DAWSON, GA 39842                                      NOT AVAILABLE



3.1549   CITY OF DAYTON                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 226                                            ACCOUNT NO.:
         339 FIRST AVENUE                                      NOT AVAILABLE
         DAYTON, TN 37321



3.1550   CITY OF DAYTON                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         PO BOX 174                                            ACCOUNT NO.:
         DAYTON, TN 37321                                      NOT AVAILABLE



3.1551   CITY OF DAYTONA BEACH SHORES, FLORIDA                    6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR; VICE MAYOR; COUNCIL MEMBERS
         2990 SOUTH ATLANTIC AVENUE                            ACCOUNT NO.:
         DAYTONA BEACH SHORES, FL 32118                        NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.1552   CITY OF DAYTONA BEACH, FLORIDA                           6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         CITY HALL                                             ACCOUNT NO.:
         301 SOUTH RIDGEWOOD AVENUE - ROOM 200                 NOT AVAILABLE
         DAYTONA BEACH, FL 32114



3.1553   CITY OF DAYTONA BEACH, FLORIDA                           6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY COMMISSION
         CITY HALL                                             ACCOUNT NO.:
         301 SOUTH RIDGEWOOD AVENUE                            NOT AVAILABLE
         DAYTONA BEACH, FL 32114



3.1554   CITY OF DAYTONA BEACH, FLORIDA                           6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR; CITY COMMISSIONERS
         PO BOX 2451                                           ACCOUNT NO.:
         DAYTONA BEACH, FL 32115-2451                          NOT AVAILABLE



3.1555   CITY OF DECATUR, ALABAMA                                 2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.1556   CITY OF DECATUR, ALABAMA                                 2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK; TREASURER
         402 LEE STREET NE                                     ACCOUNT NO.:
         FIRST FLOOR                                           NOT AVAILABLE
         DECATUR, AL 35601



3.1557   CITY OF DECATUR, ALABAMA                                 2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 488                                            ACCOUNT NO.:
         DECATUR, AL 35602                                     NOT AVAILABLE



3.1558   CITY OF DECATUR, ALABAMA                                 2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         402 LEE STREET NE                                     ACCOUNT NO.:
         SIXTH FLOOR                                           NOT AVAILABLE
         DECATUR, AL 35601



3.1559   CITY OF DECHERD                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR & CITY ATTORNEY
         1301 WEST MAIN                                        ACCOUNT NO.:
         PO BOX 488                                            NOT AVAILABLE
         DECHERD, TN 37324



3.1560   CITY OF DEERFIELD BEACH, FLORIDA                        12/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR; CITY COMMISSIONERS
         150 NORTHEAST 2ND AVENUE                              ACCOUNT NO.:
         DEERFIELD BEACH, FL 33441                             NOT AVAILABLE




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Code                                                 And Account Number                          Claim

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3.1561   CITY OF DELRAY BEACH                                    12/21/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR; VICE-MAYOR; DEPUTY VICE-MAYOR;
         COMMISSIONERS                                         ACCOUNT NO.:
         100 NORTHWEST FIRST AVENUE                            NOT AVAILABLE
         DELRAY BEACH, FL 33444



3.1562   CITY OF DELTONA, FLORIDA                                 6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, VICE MAYOR, CITY COMMISSIONERS
         CITY HALL                                             ACCOUNT NO.:
         2345 PROVIDENCE BOULEVARD                             NOT AVAILABLE
         DELTONA, FL 32725



3.1563   CITY OF DEMASCUS, GEORGIA                                3/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: GLORIA MCMURRAY
         PO BOX 26                                             ACCOUNT NO.:
         DAMASCUS, GA 39841-0026                               NOT AVAILABLE



3.1564   CITY OF DEMOPOLIS, ALABAMA                               2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.1565   CITY OF DEMOPOLIS, ALABAMA                               2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR & CLERK
         211 N WALNUT AVENUE                                   ACCOUNT NO.:
         DEMOPOLIS, AL 36732                                   NOT AVAILABLE



3.1566   CITY OF DEMOPOLIS, ALABAMA                               2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR & CLERK
         211 N WALNUT AVENUE                                   ACCOUNT NO.:
         DEMOPOLIS, AL 36732                                   NOT AVAILABLE



3.1567   CITY OF DEMOREST, GEORGA                                 9/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: CITY COUNCIL; MAYOR; CITY CLERK
         546 GEORGIA STREET                                    ACCOUNT NO.:
         DEMOREST, GA 30535                                    NOT AVAILABLE



3.1568   CITY OF DENVER                                           1/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE MAYOR
         1437 BANNOCK ST.                                      ACCOUNT NO.:
         #451                                                  NOT AVAILABLE
         DENVER, CO 80202



3.1569   CITY OF DENVER                                           1/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE CLERK AND RECORDER
         201 W. COLFAX AVENUE                                  ACCOUNT NO.:
         DEPT 101                                              NOT AVAILABLE
         DENVER, CO 80202




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1570   CITY OF DETROIT                                         12/18/2017                   Opioid Matter              UNDETERMINED
         CITY CLERK'S OFFICE
         COLEMAN A. YOUNG MUNICIPAL CENTER                     ACCOUNT NO.:
         - 2 WOODWARD AVE. SUITE 200                           NOT AVAILABLE
         DETROIT, MI 48226



3.1571   CITY OF DETROIT                                         12/18/2017                   Opioid Matter              UNDETERMINED
         ATTN: DETROIT MAYOR
         2 WOODWARD AVENUE                                     ACCOUNT NO.:
         SUITE 1126                                            NOT AVAILABLE
         DETROIT, MI 48209



3.1572   CITY OF DETROIT                                         12/18/2017                   Opioid Matter              UNDETERMINED
         2 WOODWARD AVENUE, SUITE 500
         DETROIT, MI 48226                                     ACCOUNT NO.:
                                                               NOT AVAILABLE


3.1573   CITY OF DIAMONDHEAD, MISSISSIPPI                         8/2/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         5000 DIAMONDHEAD CIRCLE                               ACCOUNT NO.:
         DIAMONDHEAD, MS 39525                                 NOT AVAILABLE



3.1574   CITY OF DONALDSONVILLE                                  11/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CLERK
         609 RAILROAD AVENUE                                   ACCOUNT NO.:
         DONALDSVILLE, LA 70346                                NOT AVAILABLE



3.1575   CITY OF DORA                                             1/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         DORA CITY HALL                                        ACCOUNT NO.:
         1485 SHARON BLVD                                      NOT AVAILABLE
         DORA, AL 35062



3.1576   CITY OF DORA                                             1/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.1577   CITY OF DOVER, A MUNICIPAL CORPORATION OF THE            6/14/2019                   Opioid Matter              UNDETERMINED
         STATE OF DELAWARE
         ATTN: MAYOR                                           ACCOUNT NO.:
         MAYOR'S OFFICE                                        NOT AVAILABLE
         15 LOOCKERMAN PLAZA
         DOVER, DE 19901



3.1578   CITY OF DOVER, NEW HAMPSHIRE                             4/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER AND CITY CLERK
         288 CENTRAL AVENUE                                    ACCOUNT NO.:
         DOVER, NH 03820                                       NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1579   CITY OF DOVER, NEW HAMPSHIRE                             4/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         288 CENTRAL AVENUE                                    ACCOUNT NO.:
         DOVER, NH 03820                                       NOT AVAILABLE



3.1580   CITY OF DUCKTOWN                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         301 KEITH STREET                                      ACCOUNT NO.:
         SOUTH WEST # 207                                      NOT AVAILABLE
         CLEVELAND, TN 37311



3.1581   CITY OF DUCKTOWN                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         340 MAIN STREET                                       ACCOUNT NO.:
         PO BOX 506                                            NOT AVAILABLE
         DUCKTOWN, TN 37326



3.1582   CITY OF DULUTH, MINNESOTA                                4/19/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR'S OFFICE
         CITY HALL                                             ACCOUNT NO.:
         411 WEST FIRST STREET - ROOM 403                      NOT AVAILABLE
         DULUTH, MN 55802



3.1583   CITY OF DULUTH, MINNESOTA                                4/19/2019                   Opioid Matter              UNDETERMINED
         CITY HALL
         411 WEST FIRST STREET                                 ACCOUNT NO.:
          - ROOM 330                                           NOT AVAILABLE
         DULUTH, MN 55802



3.1584   CITY OF DUNLAP                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         15595 RANKIN AVENUE                                   ACCOUNT NO.:
         PO BOX 546                                            NOT AVAILABLE
         DUNLAP, TN 37327



3.1585   CITY OF DUNLAP                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         PO BOX 758                                            ACCOUNT NO.:
         DUNLAP, TN 37327                                      NOT AVAILABLE



3.1586   CITY OF EAGLEVILLE                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         108 SOUTH MAIN STREET                                 ACCOUNT NO.:
         PO BOX 68                                             NOT AVAILABLE
         EAGLEVILLE, TN 37060



3.1587   CITY OF EAGLEVILLE                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         108 SOUTH MAIN STREET                                 ACCOUNT NO.:
         PO BOX 68                                             NOT AVAILABLE
         EAGLEVILLE, TN 37060




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1588   CITY OF EAST CLEVELAND, OH                               4/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND LAW DEPARTMENT DIRECTOR
         EAST CLEVELAND CITY HALL                              ACCOUNT NO.:
         14340 EUCLID AVENUE                                   NOT AVAILABLE
         EAST CLEVELAND, OH 44112



3.1589   CITY OF EAST LANSING, MICHIGAN                           7/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK; MAYOR
         410 ABBOT ROAD                                        ACCOUNT NO.:
         ROOM 100                                              NOT AVAILABLE
         EAST LANSING, MI 48823



3.1590   CITY OF EAST PROVIDENCE                                  3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         EAST PROVIDENCE CITY HALL                             ACCOUNT NO.:
         145 TAUNTON AVENUE - ROOM 102                         NOT AVAILABLE
         EAST PROVIDENCE, RI 02914



3.1591   CITY OF EAST PROVIDENCE                                  3/26/2018                   Opioid Matter              UNDETERMINED
         145 TAUNTON AVENUE, ROOM 105
         EAST PROVIDENCE, RI 02914                             ACCOUNT NO.:
                                                               NOT AVAILABLE


3.1592   CITY OF EASTHAMPTON, MASS.                               3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK AND TREASURER
         MUNICIPAL BUILDING                                    ACCOUNT NO.:
         50 PAYSON AVENUE                                      NOT AVAILABLE
         EASTHAMPTON, MA 01027



3.1593   CITY OF EDMOND                                           1/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK & CITY MANAGER
         24 EAST FIRST STREET                                  ACCOUNT NO.:
         PO BOX 2970                                           NOT AVAILABLE
         EDMOND, OK 73083



3.1594   CITY OF EDMOND                                           1/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER AND CITY CLERK
         24 EAST 1ST STREET                                    ACCOUNT NO.:
         EDMOND, OK 73034                                      NOT AVAILABLE



3.1595   CITY OF EL MONTE, AND THE PEOPLE OF THE STATE OF         3/28/2019                   Opioid Matter              UNDETERMINED
         CALIFORNIA, BY AND THROUGH EL MONTE CITY
         ATTORNEY RICK OLIVAREZ                                ACCOUNT NO.:
         ATTN: CITY MANAGER                                    NOT AVAILABLE
         CITY HALL EAST
         11333 VALLEY BOULEVARD
         EL MONTE, CA 91731



3.1596   CITY OF EL MONTE, AND THE PEOPLE OF THE STATE OF         3/28/2019                   Opioid Matter              UNDETERMINED
         CALIFORNIA, BY AND THROUGH EL MONTE CITY
         ATTORNEY RICK OLIVAREZ                                ACCOUNT NO.:
         ATTN: EL MONTE CITY ATTORNEY RICK OLIVAREZ            NOT AVAILABLE
         500 S. GRAND AVENUE, 12TH FLOOR
         LOS ANGELES, CA 90071




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1597   CITY OF ELIZABETHTON                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY ATTORNEY
         136 SOUTH SYCAMORE STREET                             ACCOUNT NO.:
         ELIZABETHTON, TN 37643                                NOT AVAILABLE



3.1598   CITY OF ELKTON                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         168 MAIN STREET                                       ACCOUNT NO.:
         PO BOX 157                                            NOT AVAILABLE
         ELKTON, TN 348455-0157



3.1599   CITY OF ELKTON                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         PO BOX 677                                            ACCOUNT NO.:
         109 WEST MADISON STREET                               NOT AVAILABLE
         PULASKI, TN 38478



3.1600   CITY OF ELWOOD                                           1/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CLERK, CITY COUNCIL
         1505 SOUTH B STREET                                   ACCOUNT NO.:
         ELWOOD, IN 46036                                      NOT AVAILABLE



3.1601   CITY OF EMPORIA, VA                                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER
         201 SOUTH MAIN STREET                                 ACCOUNT NO.:
         P.O. BOX 511                                          NOT AVAILABLE
         EMPORIA, VA 23847



3.1602   CITY OF EMPORIA, VIRGINIA                               UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER
         201 SOUTH MAIN STREET                                 ACCOUNT NO.:
         P. O. BOX 511                                         NOT AVAILABLE
         EMPORIA, VA 23847



3.1603   CITY OF ENID                                             3/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR; CITY MANAGER; CITY CLERK
         401 WEST OWEN K GARRIOTT ROAD                         ACCOUNT NO.:
         P.O. BOX 1768                                         NOT AVAILABLE
         ENID, OK 73702



3.1604   CITY OF ENTERPRISE, ALABAMA                              2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK ORTREASURER
         PO BOX 311000                                         ACCOUNT NO.:
         ENTERPRISE, AL 36330                                  NOT AVAILABLE



3.1605   CITY OF ENTERPRISE, ALABAMA                              2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK OR TREASURER
         ENTERPRISE CITY HALL                                  ACCOUNT NO.:
         MAYOR'S OFFICE - PO BOX 311000-1000                   NOT AVAILABLE
         ENTERPRISE, AL 36330




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1606   CITY OF ENTERPRISE, ALABAMA                              2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK ORTREASURER
         PO BOX 311000                                         ACCOUNT NO.:
         ENTERPRISE, AL 36330                                  NOT AVAILABLE



3.1607   CITY OF ENTERPRISE, ALABAMA                              2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK ORTREASURER
         PO BOX 311000                                         ACCOUNT NO.:
         ENTERPRISE, AL 36330                                  NOT AVAILABLE



3.1608   CITY OF ENTERPRISE, ALABAMA                              2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.1609   CITY OF ESCANABA, MICHIGAN                              12/19/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CLERK OF THE CITY OF ESCANABA
         CITY HALL                                             ACCOUNT NO.:
         410 LUDINGTON STREET                                  NOT AVAILABLE
         ESCANABA, MI 49829



3.1610   CITY OF ETOWAH                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         WALDEN, BLAIR & ASSOCIATES, PLLC                      ACCOUNT NO.:
         1891 INGLESIDE AVENUE - SUITE 150                     NOT AVAILABLE
         ATHENS, TN 37371



3.1611   CITY OF ETOWAH                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         ETOWAH CITY HALL                                      ACCOUNT NO.:
         415 NORTH TENNESSEE AVENUE                            NOT AVAILABLE
         ETOWAH, TN 37331-1345



3.1612   CITY OF EUNICE, LOUISIANA                               12/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         300 S 2ND STREET                                      ACCOUNT NO.:
         EUNICE, LA 70535                                      NOT AVAILABLE



3.1613   CITY OF EUREKA; THE PEOPLE OF THE STATE OF               8/30/2018                   Opioid Matter              UNDETERMINED
         CALIFORNIA, ACTING BY AND THROUGH INTERIM
         EUREKA CITY ATTORNEY, ROBERT NORRIS BLACK             ACCOUNT NO.:
         ATTN: MAYOR                                           NOT AVAILABLE
         531 K STREET
         EUREKA, CA 95501



3.1614   CITY OF EUREKA; THE PEOPLE OF THE STATE OF               8/30/2018                   Opioid Matter              UNDETERMINED
         CALIFORNIA, ACTING BY AND THROUGH INTERIM
         EUREKA CITY ATTORNEY, ROBERT NORRIS BLACK             ACCOUNT NO.:
         ATTN: CITY ATTORNEY                                   NOT AVAILABLE
         EUREKA CITY HALL
         531 K STREET - ROOM 203
         EUREKA, CA 95501




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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                         Claim

Litigation

3.1615   CITY OF EVANSVILLE, INDIANA                              4/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         CIVIC CENTER COMPLEX, ROOM 302                        ACCOUNT NO.:
         1 NORTH WEST MARTIN LUTHER KING JR. BLVD., ROOM       NOT AVAILABLE
         302
         EVANSVILLE, IN 47708



3.1616   CITY OF EVANSVILLE, INDIANA                              4/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK
         CIVIC CENTER COMPLEX, ROOM 314                        ACCOUNT NO.:
         1 NORTH WEST MARTIN LUTHER KING JR. BLVD.             NOT AVAILABLE
         EVANSVILLE, IN 47708



3.1617   CITY OF EVERETT                                          4/5/2018                    Opioid Matter              UNDETERMINED
         484 BROADWAY
         ROOM 13                                               ACCOUNT NO.:
         EVERETT, MA 02149                                     NOT AVAILABLE



3.1618   CITY OF EVERETT                                          4/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         484 BROADWAY                                          ACCOUNT NO.:
         ROOM 10                                               NOT AVAILABLE
         EVERETT, MA 02149



3.1619   CITY OF EVERETT                                          1/19/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         2930 WETMORE AVENUE                                   ACCOUNT NO.:
         SUITE 10-A                                            NOT AVAILABLE
         EVERETT, WA 98201



3.1620   CITY OF EVERETT                                          1/19/2017                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         2930 WETMORE AVENUE                                   ACCOUNT NO.:
         SUITE 1-A                                             NOT AVAILABLE
         EVERETT, WA 98201



3.1621   CITY OF EVERGREEN, ALABAMA                               3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.1622   CITY OF EVERGREEN, ALABAMA                               3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         355 EAST FRONT STREET                                 ACCOUNT NO.:
         EVERGREEN, AL 36401                                   NOT AVAILABLE



3.1623   CITY OF FAIRFIELD, OHIO                                  7/22/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER
         5350 PLEASANT AVENUE                                  ACCOUNT NO.:
         FAIRFIELD, OH 45104                                   NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.1624   CITY OF FAUQUIER, VIRGNIA                               UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY'S OFFICE
         10 HOTEL STREET                                       ACCOUNT NO.:
         2ND FLOOR                                             NOT AVAILABLE
         WARRENTON, VA 20186



3.1625   CITY OF FAYETTE, ALABAMA                                 2/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.1626   CITY OF FAYETTE, ALABAMA                                 2/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         CITY HALL                                             ACCOUNT NO.:
         203 TEMPLE AVENUE NORTH                               NOT AVAILABLE
         FAYETTE, AL 35555



3.1627   CITY OF FAYETTEVILLE                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         110 ELK AVENUE SOUTH                                  ACCOUNT NO.:
         FAYETTEVILLE, TN 37334                                NOT AVAILABLE



3.1628   CITY OF FAYETTEVILLE                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         205 MARKET STREET EAST                                ACCOUNT NO.:
         FAYETTEVILLE, TN 37334                                NOT AVAILABLE



3.1629   CITY OF FAYETTEVILLE                                     5/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         433 HAY STREET                                        ACCOUNT NO.:
         FAYETTEVILLE, NC 28301                                NOT AVAILABLE



3.1630   CITY OF FEDERAL HEIGHTS                                  6/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: PHIL WEISER
         STATE OF COLORADO ATTORNEY GENERAL                    ACCOUNT NO.:
         RALPH L. CARR COLORADO JUDICIAL CENTER - 1300         NOT AVAILABLE
         BROADWAY, 10TH FLOOR
         DENVER, CO 80203



3.1631   CITY OF FEDERAL HEIGHTS                                  6/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY MANAGER, CITY CLERK
         CITY HALL                                             ACCOUNT NO.:
         2380 WEST 90TH AVENUE                                 NOT AVAILABLE
         FEDERAL HEIGHTS, CO 80260



3.1632   CITY OF FISHERS, INDIANA                                 6/22/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         1 MUNICIPAL DRIVE                                     ACCOUNT NO.:
         FISHERS, IN 46038                                     NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.1633   CITY OF FITZGERALD, GEORGIA                              5/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         CITY OF FITZGERALD CITY HALL                          ACCOUNT NO.:
         MAYOR'S OFFICE - 302 EAST CENTRAL AVENUE              NOT AVAILABLE
         FITZGERALD, GA 31750



3.1634   CITY OF FLINT, MICHIGAN                                  2/18/2019                   Opioid Matter              UNDETERMINED
         2ND FLOOR CITY HALL
         201-C                                                 ACCOUNT NO.:
          - 1101 S. SAGINAW STREET                             NOT AVAILABLE
         FLINT, MI 48502



3.1635   CITY OF FLINT, MICHIGAN                                  2/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR OF FLINT
         FLINT MUNICIPAL CENTER (CITY HALL)                    ACCOUNT NO.:
         1101 SOUTH SAGINAW STREET                             NOT AVAILABLE
         FLINT, MI 48502



3.1636   CITY OF FLORENCE                                         2/5/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         FLORENCE CITY ADMINISTRATION                          ACCOUNT NO.:
         FLORENCE GOVERNMENT CENTER - 8100 EWING               NOT AVAILABLE
         BOULEVARD
         FLORENCE, KY 41042



3.1637   CITY OF FLORIDA CITY, FLORIDA                            6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, VICE-MAYOR, CITY COMMISSIONERS
         CITY OF FLORIDA CITY, FLORIDA                         ACCOUNT NO.:
         CITY OF FLORIDA CITY - 404 WEST PALM DRIVE            NOT AVAILABLE
         FLORIDA CITY, FL 33034



3.1638   CITY OF FORT COBB                                        3/15/2019                   Opioid Matter              UNDETERMINED
         DANIEL M. DELLUOMO
         DELLUOMO & CROW                                       ACCOUNT NO.:
         6812 NORTH ROBINSON AVENUE                            NOT AVAILABLE
         OKLAHOMA CITY, OK 73116



3.1639   CITY OF FORT COBB                                        3/15/2019                   Opioid Matter              UNDETERMINED
         STEVEN W. CROW
         DELLUOMO & CROW                                       ACCOUNT NO.:
         6812 NORTH ROBINSON AVENUE                            NOT AVAILABLE
         OKLAHOMA CITY, OK 73116



3.1640   CITY OF FORT COBB                                        3/15/2019                   Opioid Matter              UNDETERMINED
         HARRISON C. LUJAN
         FULMER SILL LAW GROUP                                 ACCOUNT NO.:
         P.O. BOX 2448 - 1101 NORTH BROADWAY AVENUE, SUITE     NOT AVAILABLE
         102
         OKLAHOMA CITY, OK 73103



3.1641   CITY OF FORT COBB                                        3/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, MANAGER, CLERK
         201 EAST MAIN STREET                                  ACCOUNT NO.:
         FORT COBB, OK 73038                                   NOT AVAILABLE



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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                          Claim

Litigation

3.1642   CITY OF FORT COBB                                         3/15/2019                   Opioid Matter              UNDETERMINED
         MATTHEW J. SILL
         FULMER SILL LAW GROUP                                  ACCOUNT NO.:
         P.O. BOX 2448 - 1101 NORTH BROADWAY AVENUE, SUITE      NOT AVAILABLE
         102
         OKLAHOMA CITY, OK 73103



3.1643   CITY OF FORT COBB                                         3/15/2019                   Opioid Matter              UNDETERMINED
         TONY G. PUCKETT
         MCAFEE & TAFT A PROFESSIONAL CORPORATION               ACCOUNT NO.:
         10TH FLOOR, TWO LEADERSHIP SQUARE - 211 NORTH          NOT AVAILABLE
         ROBINSON
         OKLAHOMA CITY, OK 73102-7103



3.1644   CITY OF FORT COBB                                         3/15/2019                   Opioid Matter              UNDETERMINED
         TONY G. PUCKETT
         MCAFEE & TAFT A PROFESSIONAL CORPORATION               ACCOUNT NO.:
         10TH FLOOR, TWO LEADERSHIP SQUARE - 211 NORTH          NOT AVAILABLE
         ROBINSON
         OKLAHOMA CITY, OK 73102-7103



3.1645   CITY OF FORT COBB, OK                                     8/23/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY CLERK
         201 EAST MAIN STREET                                   ACCOUNT NO.:
         FORT COBB, OK 73038                                    NOT AVAILABLE



3.1646   CITY OF FORT LAUDERDALE, FLORIDA                         11/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, VICE MAYOR, CITY COMMISSIONERS
         CITY OF FORT LAUDERDALE, FLORIDA                       ACCOUNT NO.:
         CITY HALL, 8TH FLOOR - 100 NORTH ANDREWS AVENUE        NOT AVAILABLE
         FORT LAUDERDALE, FL 33311



3.1647   CITY OF FORT PAYNE, ALABAMA, ET AL.                       11/8/2017                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                      ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                  NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.1648   CITY OF FORT PAYNE, ALABAMA, ET AL.                       11/8/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         CITY HALL                                              ACCOUNT NO.:
         100 ALABAMA AVENUE NW                                  NOT AVAILABLE
         FORT PAYNE, AL 35967



3.1649   CITY OF FORT PIERCE, FLORIDA                              6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY COMMISSIONERS
         100 NORTH U.S. HIGHWAY 1                               ACCOUNT NO.:
         FORT PIERCE, FL 34950                                  NOT AVAILABLE



3.1650   CITY OF FORT SMITH, AR                                    3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         623 GARRISON AVENUE                                    ACCOUNT NO.:
         ROOM 303                                               NOT AVAILABLE
         FORT SMITH, AR 72901



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1651   CITY OF FOSTORIA                                         3/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND LAW DIRECTOR AND
         213 S MAIN ST                                         ACCOUNT NO.:
         FOSTORIA, OH 44830                                    NOT AVAILABLE



3.1652   CITY OF FRAMINGHAM, MA                                   12/5/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         150 CONCORD STREET                                    ACCOUNT NO.:
         ROOM 105                                              NOT AVAILABLE
         FRAMINGHAM, MA 01702



3.1653   CITY OF FRAMINGHAM, MA                                   12/5/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         150 CONCORD STREET                                    ACCOUNT NO.:
         ROOM 111                                              NOT AVAILABLE
         FRAMINGHAM, MA 01702



3.1654   CITY OF FRANKLIN                                        10/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         70 EAST MONROE STREET                                 ACCOUNT NO.:
         FRANKLIN, IN 46131                                    NOT AVAILABLE



3.1655   CITY OF FRANKLIN                                        10/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: CURTIS T. HILL, JR.
         STATE OF INDIANA ATTORNEY GENERAL                     ACCOUNT NO.:
         INDIANA GOVERNMENT CENTER SOUTH - 5TH FLOOR -         NOT AVAILABLE
         302 WEST WASHINGTON STREET
         INDIANAPOLIS, IN 46204



3.1656   CITY OF FRANKLIN                                        10/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         300 IBERIA STREET                                     ACCOUNT NO.:
         FRANKLIN, LA 70538                                    NOT AVAILABLE



3.1657   CITY OF FRANKLIN, NEW HAMPSHIRE                          5/22/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         316 CENTRAL STREET                                    ACCOUNT NO.:
         FRANKLIN, NH 03235                                    NOT AVAILABLE



3.1658   CITY OF FRANKLIN, NEW HAMPSHIRE                          5/22/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, COUNCILORS, CITY MANAGER, CITY
         CLERK                                                 ACCOUNT NO.:
         316 CENTRAL STREET                                    NOT AVAILABLE
         FRANKLIN, NH 03235



3.1659   CITY OF FREDERICK, MARYLAND                              6/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY ATTORNEY
         CITY HALL                                             ACCOUNT NO.:
         101 NORTH COURT STREET                                NOT AVAILABLE
         FREDERICK, MD 21701




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Code                                                   And Account Number                          Claim

Litigation

3.1660   CITY OF FREDERICKSBURG, VA                                UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         601 CAROLINE STREET                                     ACCOUNT NO.:
         SUITE 200B                                              NOT AVAILABLE
         FREDERICKSBURG, VA 22401



3.1661   CITY OF FREDERICKSBURG, VA                                UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         601 CAROLINE STREET                                     ACCOUNT NO.:
         SUITE 200B                                              NOT AVAILABLE
         FREDERICKSBURG, VA 22404



3.1662   CITY OF FROSTBURG, MARYLAND                                5/11/2018                   Opioid Matter              UNDETERMINED
         P.O. BOX 440
         59 EAST MAIN STREET                                     ACCOUNT NO.:
         FROSTBURG, MD 21532                                     NOT AVAILABLE



3.1663   CITY OF FROSTBURG, MARYLAND                                5/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY ADMINISTRATOR, JOHN R. KIRBY
         59 EAST MAIN STREET                                     ACCOUNT NO.:
         FROSTBURG, MD 21532                                     NOT AVAILABLE



3.1664   CITY OF FULLERTON, AND THE PEOPLE OF THE STATE             3/28/2019                   Opioid Matter              UNDETERMINED
         OF CALIFORNIA, BY AND THROUGH FULLERTON CITY
         ATTORNEY RICHARD D. JONES                               ACCOUNT NO.:
         ATTN: CITY ATTORNEY                                     NOT AVAILABLE
         JONES & MAYER
         3777 NORTH HARBOR BOULEVARD
         FULLERTON, CA 92835



3.1665   CITY OF FULLERTON, AND THE PEOPLE OF THE STATE             3/28/2019                   Opioid Matter              UNDETERMINED
         OF CALIFORNIA, BY AND THROUGH FULLERTON CITY
         ATTORNEY RICHARD D. JONES                               ACCOUNT NO.:
         ATTN: MAYOR                                             NOT AVAILABLE
         303 WEST COMMONWEALTH AVENUE
         FULLERTON, CA 92832



3.1666   CITY OF FULLERTON, CA                                      3/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         CITY CLERK'S OFFICE                                     ACCOUNT NO.:
         303 WEST COMMONWEALTH AVENUE                            NOT AVAILABLE
         FULLERTON, CA 92832



3.1667   CITY OF GADSDEN, ALABAMA, ET AL.                          10/25/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         90 BROAD ST.                                            ACCOUNT NO.:
         GADSDEN, AL 35901                                       NOT AVAILABLE



3.1668   CITY OF GADSDEN, ALABAMA, ET AL.                          10/25/2017                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                       ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                   NOT AVAILABLE
         MONTGOMERY, AL 36130-0152




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Code                                                  And Account Number                         Claim

Litigation

3.1669   CITY OF GADSDEN,ET AL.                                  10/25/2017                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND MAYOR
         PO BOX 267                                            ACCOUNT NO.:
         GADSDEN, AL 35902                                     NOT AVAILABLE



3.1670   CITY OF GALAX                                            8/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER
         MUNICIPAL BUILDING                                    ACCOUNT NO.:
         111 EAST GRAYSON STREET                               NOT AVAILABLE
         GALAX, VA 24333



3.1671   CITY OF GARFIELD HEIGHTS                                 7/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         5407 TURNEY ROAD                                      ACCOUNT NO.:
         GARFIELD HEIGHTS, OH 44125                            NOT AVAILABLE



3.1672   CITY OF GARY, INDIANA                                    1/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: CURTIS T. HILL, JR.
         STATE OF INDIANA ATTORNEY GENERAL                     ACCOUNT NO.:
         INDIANA GOVERNMENT CENTER SOUTH - 5TH FLOOR -         NOT AVAILABLE
         302 WEST WASHINGTON STREET
         INDIANAPOLIS, IN 46204



3.1673   CITY OF GARY, INDIANA                                    1/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         401 BROADWAY, SUITE 203                               ACCOUNT NO.:
         GARY, IN 46402                                        NOT AVAILABLE



3.1674   CITY OF GATLINBURG                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         1230 PARKWAY EAST                                     ACCOUNT NO.:
         PO BOX 5                                              NOT AVAILABLE
         GATLINBURG, TN 37738



3.1675   CITY OF GATLINBURG                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         PO BOX 4630                                           ACCOUNT NO.:
         SEVIERVILLE, TN 37864                                 NOT AVAILABLE



3.1676   CITY OF GENEVA, NEW YORK                                 3/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY ATTORNEY, CITY MANAGER,
         ASSISTANT CITY MANAGER/COMPTROLLER                    ACCOUNT NO.:
         CITY HALL                                             NOT AVAILABLE
         47 CASTLE STREET
         GENEVA, NY 14456



3.1677   CITY OF GENEVA, NEW YORK                                 3/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         CITY HALL                                             ACCOUNT NO.:
         47 CASTLE STREET - 1ST FLOOR                          NOT AVAILABLE
         GENEVA, NY 14456




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Code                                                 And Account Number                          Claim

Litigation

3.1678   CITY OF GEORGIANA, AL                                    3/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR OR CITY CLERK
         400 W RAILROAD AVE N                                  ACCOUNT NO.:
         GEORGIANA, AL 36033                                   NOT AVAILABLE



3.1679   CITY OF GEORGIANA, AL                                    3/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         400 E RAILROAD AVENUE                                 ACCOUNT NO.:
         GEORGIANA, AL 36033                                   NOT AVAILABLE



3.1680   CITY OF GEORGIANA, AL                                    3/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.1681   CITY OF GEORGIANA, AL                                    3/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         PO BOX 310                                            ACCOUNT NO.:
         GEORGIANA, AL 36033                                   NOT AVAILABLE



3.1682   CITY OF GLENDALE                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CHERYL PRIEST AINSWORTH, ESQ.
         THEODORA ORINGHER PC                                  ACCOUNT NO.:
         535 ANTON BOULEVARD, NINTH FLOOR                      NOT AVAILABLE
         COSTA MESA, CA 92626-7109



3.1683   CITY OF GLENDALE                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: JEFF REEVES, CHERYL PRIEST AINSWORTH,
         KEVIN N. ROYER                                        ACCOUNT NO.:
         THEODORA ORINGHER PC                                  NOT AVAILABLE
         535 ANTON BOULEVARD, NINTH FLOOR
         COSTA MESA, CA 92626-7109



3.1684   CITY OF GLENDALE                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: KEVIN N. ROYER
         THEODORA ORINGHER PC                                  ACCOUNT NO.:
         535 ANTON BOULEVARD, NINTH FLOOR                      NOT AVAILABLE
         COSTA MESA, CA 92626-7109



3.1685   CITY OF GLENDALE, AZ                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: SCOTT DAY FREEMAN
         FENNIMORE CRAIG, P.C.                                 ACCOUNT NO.:
         2394 EAST CAMELBACK ROAD, SUITE 600                   NOT AVAILABLE
         PHOENIX, AZ 85016-9077



3.1686   CITY OF GLENDALE, AZ                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         5850 W. GLENDALE AVENUE                               ACCOUNT NO.:
         SUITE #451                                            NOT AVAILABLE
         GLENDALE, AZ 85301




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Code                                                  And Account Number                          Claim

Litigation

3.1687   CITY OF GLENDALE, AZ                                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: J. CHRISTOPHER GOOCH
         FENNIMORE CRAIG, P.C.                                  ACCOUNT NO.:
         2394 EAST CAMELBACK ROAD, SUITE 600                    NOT AVAILABLE
         PHOENIX, AZ 85016-9077



3.1688   CITY OF GLENDALE, AZ                                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY COUNCIL MEMBERS
         5850 W. GLENDALE AVENUE                                ACCOUNT NO.:
         GLENDALE, AZ 85301                                     NOT AVAILABLE



3.1689   CITY OF GLENDALE, AZ                                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: JOHN P. KAITES
         FENNIMORE CRAIG, P.C.                                  ACCOUNT NO.:
         2394 EAST CAMELBACK ROAD, SUITE 600                    NOT AVAILABLE
         PHOENIX, AZ 85016-9077



3.1690   CITY OF GLOUCESTER                                        12/3/2018                   Opioid Matter              UNDETERMINED
         ATTN: ARTHUR PAUL KRIEGER, ESQ.
         ANDERSON & KRIEGER LLP                                 ACCOUNT NO.:
         50 MILK STREET - 21ST FLOOR                            NOT AVAILABLE
         BOSTON, MA 02109



3.1691   CITY OF GLOUCESTER                                        12/3/2018                   Opioid Matter              UNDETERMINED
         JUDITH SCOFNICK, ESQ.
         SCOTT + SCOTT ATTORNEYS AT LAW LLP                     ACCOUNT NO.:
         THE HELMSLEY BUILDING - 230 PARK AVENUE, 17TH          NOT AVAILABLE
         FLOOR
         NEW YORK, NY 10169



3.1692   CITY OF GLOUCESTER                                        12/3/2018                   Opioid Matter              UNDETERMINED
         CHRISTINA MARSHALL, ESQ.
         ANDERSON & KRIEGER LLP                                 ACCOUNT NO.:
         50 MILK STREET - 21ST FLOOR                            NOT AVAILABLE
         BOSTON, MA 02109



3.1693   CITY OF GLOUCESTER, MA                                    12/3/2018                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE TREASURER; CITY CLERK
         9 DALE AVENUE                                          ACCOUNT NO.:
         GLOUCESTER, MA 01930                                   NOT AVAILABLE



3.1694   CITY OF GRAND FORKS, NORTH DAKOTA, INDIVIDUALLY           3/26/2019                   Opioid Matter              UNDETERMINED
         AND ON BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: MAYOR; CITY COUNCIL PRESIDENT; CITY              ACCOUNT NO.:
         ADMINISTRATOR                                          NOT AVAILABLE
         255 N. 4TH STREET
         GRAND FORKS, ND 58203



3.1695   CITY OF GRAND RAPIDS, MICHIGAN                            3/22/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR; CITY ATTORNEY; CITY CLERK
         CITY HALL                                              ACCOUNT NO.:
         300 MONROE AVENUE NW                                   NOT AVAILABLE
         GRAND RAPIDS, MI 49503




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Code                                                 And Account Number                          Claim

Litigation

3.1696   CITY OF GRANITE CITY, IL                                 5/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         CITY HALL                                             ACCOUNT NO.:
         2000 EDISON AVENUE                                    NOT AVAILABLE
         GRANITE CITY, IL 62040



3.1697   CITY OF GRANTSVILLE, MARYLAND                            7/9/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR, TOWN COUNCIL
         PO BOX 296                                            ACCOUNT NO.:
         171 HILL STREET                                       NOT AVAILABLE
         GRANTSVILLE, MD 21536



3.1698   CITY OF GRAYSON                                          2/5/2019                    Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         302 EAST MAIN STREET                                  ACCOUNT NO.:
         GRAYSON, KY 41143                                     NOT AVAILABLE



3.1699   CITY OF GREAT FALLS                                      2/6/2019                    Opioid Matter              UNDETERMINED
         #2 PARK DRIVE SOUTH, ROOM 201
         GREAT FALLS, MT 59403                                 ACCOUNT NO.:
                                                               NOT AVAILABLE


3.1700   CITY OF GREAT FALLS                                      2/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER
         #2 PARK DRIVE SOUTH, ROOM 201                         ACCOUNT NO.:
         P.O. BOX 5021                                         NOT AVAILABLE
         GREAT FALLS, MT 59403



3.1701   CITY OF GREENBACK                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         KIZER & BLACK, ATTORNEYS PLLC                         ACCOUNT NO.:
         217 EAST BROADWAY AVENUE                              NOT AVAILABLE
         MARYVILLE, TN 37804



3.1702   CITY OF GREENBACK                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         6889 MORGANTON ROAD                                   ACCOUNT NO.:
         P.O. BOX 140                                          NOT AVAILABLE
         GREENBACK, TN 37742



3.1703   CITY OF GREENBORO, ALABAMA                               3/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         1101 MAIN STREET                                      ACCOUNT NO.:
         GREENBORO, AL 36744                                   NOT AVAILABLE



3.1704   CITY OF GREENFIELD                                      12/14/2017                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         14 COURT SQUARE                                       ACCOUNT NO.:
         ROOM 205                                              NOT AVAILABLE
         GREENFIELD, MA 01301




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Code                                                 And Account Number                          Claim

Litigation

3.1705   CITY OF GREENFIELD                                      12/14/2017                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         CITY HALL                                             ACCOUNT NO.:
         14 COURT SQUARE - ROOM 104                            NOT AVAILABLE
         GREENFIELD, MA 01301



3.1706   CITY OF GREENSBORO                                       4/8/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         300 WEST WASHINGTON STREET                            ACCOUNT NO.:
         GREENSBORO, NC 27401                                  NOT AVAILABLE



3.1707   CITY OF GREENSBORO, AL                                   3/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.1708   CITY OF GREENSBORO, AL                                   3/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         1101 MAIN STREET                                      ACCOUNT NO.:
         GREENSBORO, AL 36744                                  NOT AVAILABLE



3.1709   CITY OF GREENVILLE, ALABAMA                             12/13/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         MAYOR'S OFFICE                                        ACCOUNT NO.:
         119 EAST COMMERCE STREET                              NOT AVAILABLE
         GREENVILLE, AL 36037



3.1710   CITY OF GREENVILLE, ALABAMA                             12/13/2017                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK; TREASURER
         119 EAST COMMERCE STREET                              ACCOUNT NO.:
         GREENVILLE, AL 36037                                  NOT AVAILABLE



3.1711   CITY OF GREENVILLE, ALABAMA                             12/13/2017                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.1712   CITY OF GREENWOOD, INDIANA                               1/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         300 SOUTH MADISON AVENUE                              ACCOUNT NO.:
         GREENWOOD, IN 46142                                   NOT AVAILABLE



3.1713   CITY OF GREENWOOD, INDIANA                               1/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: CURTIS T. HILL, JR.
         STATE OF INDIANA ATTORNEY GENERAL                     ACCOUNT NO.:
         INDIANA GOVERNMENT CENTER SOUTH - 5TH FLOOR -         NOT AVAILABLE
         302 WEST WASHINGTON STREET
         INDIANAPOLIS, IN 46204




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1714   CITY OF GREENWOOD, MISSISSIPPI                           7/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         101 W CHURCH ST.                                      ACCOUNT NO.:
         GREENWOOD, MS 38930                                   NOT AVAILABLE



3.1715   CITY OF GREENWOOD, MISSISSIPPI                           7/12/2018                   Opioid Matter              UNDETERMINED
         CITY OF GREENWOOD
         POST OFFICE BOX 907                                   ACCOUNT NO.:
         GREENWOOD, MS 38935                                   NOT AVAILABLE



3.1716   CITY OF GRENADA                                          6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         108 S. MAIN ST.                                       ACCOUNT NO.:
         GRENADA, MS 38901                                     NOT AVAILABLE



3.1717   CITY OF GRENADA                                          6/14/2019                   Opioid Matter              UNDETERMINED
         P.O. BOX 310
         GRENADA, MS 38902                                     ACCOUNT NO.:
                                                               NOT AVAILABLE


3.1718   CITY OF GRENADA                                          6/14/2019                   Opioid Matter              UNDETERMINED
         105 S. MAIN STREET
         GRENADA, MS 38901                                     ACCOUNT NO.:
                                                               NOT AVAILABLE


3.1719   CITY OF GRETNA                                           1/16/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         740 2ND STREET                                        ACCOUNT NO.:
         GRETNA, LA 70053                                      NOT AVAILABLE



3.1720   CITY OF GRUETLI-LAAGER                                  UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         460 SOUTH 40TH AVENUE                                 ACCOUNT NO.:
         GRUETLI-LAAGER, TN 37339                              NOT AVAILABLE



3.1721   CITY OF GRUETLI-LAAGER                                  UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         P.O. BOX 790                                          ACCOUNT NO.:
         TRACY CITY, TN 37387                                  NOT AVAILABLE



3.1722   CITY OF GRUETLI-LAAGER                                  UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         PO BOX 790                                            ACCOUNT NO.:
         TRACY CITY, TN 37387                                  NOT AVAILABLE



3.1723   CITY OF GUIN, AL                                         4/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         GUIN CITY HALL                                        ACCOUNT NO.:
         PO BOX 249                                            NOT AVAILABLE
         GUIN, AL 35563




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Code                                                 And Account Number                          Claim

Litigation

3.1724   CITY OF GUIN, AL                                         4/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         7500 US HIGHWAY 43                                    ACCOUNT NO.:
         GUIN, AL 35563                                        NOT AVAILABLE



3.1725   CITY OF GUIN, AL                                         4/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.1726   CITY OF GUIN, ALABAMA                                    4/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         GUIN CITY HALL                                        ACCOUNT NO.:
         PO BOX 249                                            NOT AVAILABLE
         GUIN, AL 35563



3.1727   CITY OF GUNTERSVILLE, AL                                 2/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         MAYOR'S OFFICE                                        ACCOUNT NO.:
         5625 JACKSON TRAIL                                    NOT AVAILABLE
         GUNTERSVILLE, AL 35976



3.1728   CITY OF GUNTERSVILLE, AL                                 2/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.1729   CITY OF GUNTERSVILLE, ALABAMA                            2/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         CITY CLERKS OFFICE                                    ACCOUNT NO.:
         341 GUNTER AVENUE                                     NOT AVAILABLE
         GUNTERSVILLE, AL 35976



3.1730   CITY OF GUTHRIE COUNTY                                   1/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER AND CITY CLERK
         GUTHRIE CITY HALL                                     ACCOUNT NO.:
         101 NORTH SECOND STREET                               NOT AVAILABLE
         GUTHRIE, OK 73044



3.1731   CITY OF HAGERSTOWN, MARYLAND                             5/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         CITY OF HAGERSTOWN                                    ACCOUNT NO.:
         ONE EAST FRANKLIN STREET - ROOM 202                   NOT AVAILABLE
         HAGERSTOWN, MD 21740



3.1732   CITY OF HAGERSTOWN, MARYLAND                             5/11/2018                   Opioid Matter              UNDETERMINED
         CITY OF HAGERSTOWN
         ONE EAST FRANKLIN STREET                              ACCOUNT NO.:
         - SECOND FLOOR, CITY HALL                             NOT AVAILABLE
         HAGERSTOWN, MD 21740




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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                          Claim

Litigation

3.1733   CITY OF HAMILTON, AL                                      4/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                      ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                  NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.1734   CITY OF HAMILTON, AL                                      4/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND COUNCIL CHAIRMAN
         HAMILTON CITY HALL                                     ACCOUNT NO.:
         736 MILITARY STREET SOUTH - PO BOX 188                 NOT AVAILABLE
         HAMILTON, AL 35570



3.1735   CITY OF HAMILTON, OHIO                                    8/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY CLERK
         345 HIGH STREET                                        ACCOUNT NO.:
         7TH FLOOR                                              NOT AVAILABLE
         HAMILTON, OH 45011



3.1736   CITY OF HAMMOND, ET AL.                                  11/16/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY CLERK, CITY COUNCIL PRESIDENT
         HAMMOND CITY HALL                                      ACCOUNT NO.:
         5925 CALUMET AVENUE                                    NOT AVAILABLE
         HAMMOND, IN 46320



3.1737   CITY OF HARLAN                                            2/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         218 SOUTH MAIN STREET                                  ACCOUNT NO.:
         HARLAN, KY 40831                                       NOT AVAILABLE



3.1738   CITY OF HARRIMAN                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         609 NORTH ROANE STREET                                 ACCOUNT NO.:
         HARRIMAN, TN 37748                                     NOT AVAILABLE



3.1739   CITY OF HARRIMAN                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         316 TRENTON STREET                                     ACCOUNT NO.:
         HARRIMAN, TN 37748                                     NOT AVAILABLE



3.1740   CITY OF HARRISBURG, ILLINOIS                              5/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CLERK
         110 EAST LOCUST STREET                                 ACCOUNT NO.:
         HARRISBURG, IL 62946                                   NOT AVAILABLE



3.1741   CITY OF HARRISONVILLE, CASS COUNTY, MISSOURI              6/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         CITY HALL                                              ACCOUNT NO.:
         300 EAST PEARL STREET - P.O. BOX 367                   NOT AVAILABLE
         HARRISONVILLE, MO 64701




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Code                                                 And Account Number                          Claim

Litigation

3.1742   CITY OF HARRISVILLE                                      9/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY MANAGER, RECORDER, CLERK,
         TREASURER, AND COUNCIL                                ACCOUNT NO.:
         TOWN OF HARRISVILLE                                   NOT AVAILABLE
         P. O. BOX 243
         HARRISVILLE, WV 26362



3.1743   CITY OF HARROGATE                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         138 HARROGATE CROSSING                                ACCOUNT NO.:
         P.O. BOX 979                                          NOT AVAILABLE
         HARROGATE, TN 37752



3.1744   CITY OF HARROGATE                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         1111 NORTHSHORE DRIVE                                 ACCOUNT NO.:
         LANDMARK TOWER NORTH - SUITE N-290                    NOT AVAILABLE
         KNOXVILLE, TN 37919



3.1745   CITY OF HARTSELLE, ALABAMA, A MUNICIPAL                  5/25/2018                   Opioid Matter              UNDETERMINED
         CORPORATION
         ATTN: MAYOR AND CITY CLERK-CONTROLLER                 ACCOUNT NO.:
         CITY HALL                                             NOT AVAILABLE
         200 SPARKMAN STREET NW
         HARTSELLE, AL 35640



3.1746   CITY OF HARTSELLE, ALABAMA, A MUNICIPAL                  5/25/2018                   Opioid Matter              UNDETERMINED
         CORPORATION
         ATTN: STEVE MARSHALL                                  ACCOUNT NO.:
         STATE OF ALABAMA ATTORNEY GENERAL                     NOT AVAILABLE
         501 WASHINGTON AVE. - P.O. BOX 300152
         MONTGOMERY, AL 36130-0152



3.1747   CITY OF HARVEY                                           7/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         CITY HALL                                             ACCOUNT NO.:
         15320 BROADWAY AVENUE                                 NOT AVAILABLE
         HARVEY, IL 60426



3.1748   CITY OF HATTIESBURG, MS                                  4/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         200 FORREST ST                                        ACCOUNT NO.:
         HATTIESBURG, MS 39401                                 NOT AVAILABLE



3.1749   CITY OF HAVERHILL                                        12/3/2018                   Opioid Matter              UNDETERMINED
         ATTN: ARTHUR PAUL KRIEGER, ESQ.
         ANDERSON & KRIEGER LLP                                ACCOUNT NO.:
         50 MILK STREET - 21ST FLOOR                           NOT AVAILABLE
         BOSTON, MA 02109



3.1750   CITY OF HAVERHILL                                        12/3/2018                   Opioid Matter              UNDETERMINED
         CHRISTINA MARSHALL, ESQ.
         ANDERSON & KRIEGER LLP                                ACCOUNT NO.:
         50 MILK STREET - 21ST FLOOR                           NOT AVAILABLE
         BOSTON, MA 02109


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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1751   CITY OF HAVERHILL                                        12/3/2018                   Opioid Matter              UNDETERMINED
         JUDITH SCOFNICK, ESQ.
         SCOTT + SCOTT ATTORNEYS AT LAW LLP                    ACCOUNT NO.:
         THE HELMSLEY BUILDING - 230 PARK AVENUE, 17TH         NOT AVAILABLE
         FLOOR
         NEW YORK, NY 10169



3.1752   CITY OF HAVERHILL, MA                                    12/3/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK
         4 SUMMER STREET                                       ACCOUNT NO.:
         HAVERHILL, MA 01830                                   NOT AVAILABLE



3.1753   CITY OF HAVERHILL, MA                                    12/3/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         4 SUMMER STREET                                       ACCOUNT NO.:
         ROOM 114                                              NOT AVAILABLE
         HAVERHILL, MA 01830



3.1754   CITY OF HAVRE DE GRACE, MARYLAND                         7/9/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR, PRESIDENT, CITY COUNCIL MEMBERS
         CITY OF HAVRE DE GRACE, MARYLAND                      ACCOUNT NO.:
         711 PENNINGTON AVE.                                   NOT AVAILABLE
         HAVRE DE GRACE, MD 21078



3.1755   CITY OF HAZLETON, PENNSYLVANIA                           8/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: JOSH SHAPIRO
         STATE OF PENNSYLVANIA ATTORNEY GENERAL                ACCOUNT NO.:
         PENNSYLVANIA OFFICE OF ATTORNEY GENERAL - 16TH        NOT AVAILABLE
         FLOOR, STRAWBERRY SQUARE
         HARRISBURG, PA 17120



3.1756   CITY OF HAZLETON, PENNSYLVANIA                           8/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR; CITY COUNCIL; CITY CLERK
         40 NORTH CHURCH STREET                                ACCOUNT NO.:
         HAZELTON, PA 18201                                    NOT AVAILABLE



3.1757   CITY OF HENAGAR, ALABAMA                                 6/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         PO BOX 39                                             ACCOUNT NO.:
         HENAGAR, AL 35978                                     NOT AVAILABLE



3.1758   CITY OF HENAGAR, ALABAMA                                 6/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.1759   CITY OF HENDERSON                                        6/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         134 ROSE AVENUE                                       ACCOUNT NO.:
         P. O. BOX 1434                                        NOT AVAILABLE
         HENDERSON, NC 27536




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Code                                                 And Account Number                          Claim

Litigation

3.1760   CITY OF HENDERSON, KENTUCKY                             10/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER; CITY ATTORNEY
         222 FIRST STREET                                      ACCOUNT NO.:
         HENDERSON, KY 42420                                   NOT AVAILABLE



3.1761   CITY OF HENDERSON, NV                                   UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR OF HENDERSON
         HENDERSON CITY HALL                                   ACCOUNT NO.:
         240 SOUTH WATER STREET                                NOT AVAILABLE
         HENDERSON, NV 89015



3.1762   CITY OF HICKORY                                         11/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         76 NORTH CENTER STREET                                ACCOUNT NO.:
         HICKORY, NC 28601                                     NOT AVAILABLE



3.1763   CITY OF HOLYOKE                                          5/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         536 DWIGHT STREET, ROOM 2                             ACCOUNT NO.:
         HOLYOKE, MA 01040                                     NOT AVAILABLE



3.1764   CITY OF HOLYOKE                                          5/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         536 DWIGHT STREET                                     ACCOUNT NO.:
         ROOM 17                                               NOT AVAILABLE
         HOLYOKE, MA 01040-5019



3.1765   CITY OF HOOVER, A MUNICIPAL CORPORATION                  8/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR OF HOOVER
         100 MUNICIPAL LANE                                    ACCOUNT NO.:
         HOOVER, AL 35216                                      NOT AVAILABLE



3.1766   CITY OF HOPEWELL, VIRGINIA                               6/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         300 NORTH MAIN STREET                                 ACCOUNT NO.:
         HOPEWELL, VA 23860                                    NOT AVAILABLE



3.1767   CITY OF HOT SPRINGS, AR                                  3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         CITY HALL                                             ACCOUNT NO.:
         133 CONVENTION BOULEVARD                              NOT AVAILABLE
         HOT SPRINGS, AR 71901



3.1768   CITY OF HOT SPRINGS, AR                                  3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         P.O BOX 700                                           ACCOUNT NO.:
         HOT SPRINGS, AR 71902                                 NOT AVAILABLE



3.1769   CITY OF HOUSTON, TX                                      6/24/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         P.O. BOX 1562                                         ACCOUNT NO.:
         HOUSTON, TX 77251                                     NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.1770   CITY OF HUEYTOWN, AL                                     3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK AND TREASURER
         CITY HALL                                             ACCOUNT NO.:
         1318 HUEYTOWN ROAD                                    NOT AVAILABLE
         HUEYTOWN, AL 35023



3.1771   CITY OF HUEYTOWN, AL                                     3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: CIRCUIT CLERK
         1851 2ND AVENUE NORTH                                 ACCOUNT NO.:
         BESSEMER, AL 35020                                    NOT AVAILABLE



3.1772   CITY OF HUEYTOWN, AL                                     3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.1773   CITY OF HUNTINGTON, INDIANA                             11/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: CURTIS T. HILL, JR.
         STATE OF INDIANA ATTORNEY GENERAL                     ACCOUNT NO.:
         INDIANA GOVERNMENT CENTER SOUTH - 5TH FLOOR -         NOT AVAILABLE
         302 WEST WASHINGTON STREET
         INDIANAPOLIS, IN 46204



3.1774   CITY OF HUNTINGTON, INDIANA                             11/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK TREASURER
         300 CHERRY ST.                                        ACCOUNT NO.:
         HUNTINGTON, IN 46750                                  NOT AVAILABLE



3.1775   CITY OF HUNTINGTON, WV                                   2/23/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY COUNCIL MEMBERS AND CITY CLERK
         800 FIFTH AVENUE                                      ACCOUNT NO.:
         HUNTINGTON, WV 25701                                  NOT AVAILABLE



3.1776   CITY OF HUNTINGTON, WV                                   2/23/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY MANAGER, RECORDER, CLERK,
         TREASURER, AND COUNCIL                                ACCOUNT NO.:
         800 5TH AVENUE                                        NOT AVAILABLE
         P.O. BOX 1659
         HUNTINGTON, WV 25701



3.1777   CITY OF HUNTINGTON, WV                                   2/23/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY MANAGER, RECORDER, CLERK,
         TREASURER, AND COUNCIL                                ACCOUNT NO.:
         840 CAMDEN ROAD                                       NOT AVAILABLE
         HUNTINGTON, WV 25704



3.1778   CITY OF HURON, OHIO                                      4/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY MANAGER, LAW DIRECTOR
         MUNICIPAL BUILDING                                    ACCOUNT NO.:
         417 MAIN STREET                                       NOT AVAILABLE
         HURON, OH 44839




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Code                                                  And Account Number                         Claim

Litigation

3.1779   CITY OF HURRICANE, WEST VIRGINIA                         3/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE MAYOR
         CITY OF HURRICANE                                     ACCOUNT NO.:
         3255 TEAYS VALLEY ROAD                                NOT AVAILABLE
         HURRICANE, WV 25526



3.1780   CITY OF HYDEN                                            2/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         22035 MAIN STREET                                     ACCOUNT NO.:
         HYDEN, KY 41749                                       NOT AVAILABLE



3.1781   CITY OF INDEPENDENCE, MO                                 1/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK AND CITY PROSECUTOR
         INDEPENDENCE CITY HALL                                ACCOUNT NO.:
         111 E MAPLE AVENUE                                    NOT AVAILABLE
         INDEPENDENCE, MO 64050



3.1782   CITY OF INDIANAPOLIS, ET AL.                            11/14/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         200 EAST WASHINGTON STREET                            ACCOUNT NO.:
         SUITE 2501                                            NOT AVAILABLE
         INDIANAPOLIS, IN 46204



3.1783   CITY OF INDIANAPOLIS, ET AL.                            11/14/2017                   Opioid Matter              UNDETERMINED
         ATTN: CORPORATION COUNSEL, DEPUTY CORPORATION
         COUNSEL, CHIEF COUNSEL, CHIEF LITIGATION COUNSEL      ACCOUNT NO.:
         200 E. WASHINGTON STREET                              NOT AVAILABLE
         SUITE 1601
         INDIANAPOLIS, IN 46204



3.1784   CITY OF INDIANAPOLIS, ET AL.                            11/14/2017                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE CITY COUNCIL, VICE
         PRESIDENT OF THE CITY COUNCIL                         ACCOUNT NO.:
         200 E. WASHINGTON STREET                              NOT AVAILABLE
         T241
         INDIANAPOLIS, IN 46204



3.1785   CITY OF INDIANOLA                                        6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         101 FRONT STREET                                      ACCOUNT NO.:
         P.O. BOX 269                                          NOT AVAILABLE
         INDIANOLA, MS 38751



3.1786   CITY OF IRON CITY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         C/O LAWRENCE COUNTY
         ATTN: COUNTY CLERK                                    ACCOUNT NO.:
         200 WEST GAINES STREET - SUITE 103                    NOT AVAILABLE
         LAWRENCEBURG, TN 38464



3.1787   CITY OF IRON CITY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         C/O LAWRENCE COUNTY
         ATTN: COUNTY EXECUTIVE                                ACCOUNT NO.:
         200 WEST GAINES STREET - SUITE 201                    NOT AVAILABLE
         LAWRENCEBURG, TN 38464



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Code                                                  And Account Number                          Claim

Litigation

3.1788   CITY OF IRON CITY                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         C/O LAWRENCE COUNTY
         ATTN: CIRCUIT COURT CLERK                              ACCOUNT NO.:
         NBU #12 - 200 WEST GAINES STREET                       NOT AVAILABLE
         LAWRENCEBURG, TN 38464



3.1789   CITY OF IRON MOUNTAIN, MICHIGAN                           3/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR; CITY ATTORNEY; CITY CLERK
         CITY HALL                                              ACCOUNT NO.:
         501 SOUTH STEPHENSON AVENUE                            NOT AVAILABLE
         IRON MOUNTAIN, MI 49801



3.1790   CITY OF IRONTON, OHIO                                     8/14/2018                   Opioid Matter              UNDETERMINED
         MAYOR'S OFFICE
         IRONTON CITY CENTER                                    ACCOUNT NO.:
          - 301 SOUTH 3RD ST., P.O. BOX 704                     NOT AVAILABLE
         IRONTON, OH 45638



3.1791   CITY OF IRONTON, OHIO                                     8/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR CITY SOLICITOR
         301 SOUTH 3RD ST                                       ACCOUNT NO.:
         IRONTON, OH 45638                                      NOT AVAILABLE



3.1792   CITY OF IRVINE, AND THE PEOPLE OF THE STATE OF            3/28/2019                   Opioid Matter              UNDETERMINED
         CALIFORNIA, BY AND THROUGH IRVINE CITY ATTORNEY
         JEFFREY MELCHING                                       ACCOUNT NO.:
         ATTN: MAYOR                                            NOT AVAILABLE
         1 CIVIC CENTER PLAZA
         IRVINE, CA 92606-5207



3.1793   CITY OF IRVINE, AND THE PEOPLE OF THE STATE OF            3/28/2019                   Opioid Matter              UNDETERMINED
         CALIFORNIA, BY AND THROUGH IRVINE CITY ATTORNEY
         JEFFREY MELCHING                                       ACCOUNT NO.:
         ATTN: CITY ATTORNEY                                    NOT AVAILABLE
         JEFFREY MELCHING
         RUTAN & TUCKER, LLP - 611 ANTON BOULEVARD SUITE
         1400
         COSTA MESA, CA 92626



3.1794   CITY OF IRVINE, CA                                        3/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         1 CIVIC CENTER PLAZA                                   ACCOUNT NO.:
         IRVINE, CA 92606                                       NOT AVAILABLE



3.1795   CITY OF ITHACA                                            1/24/2018                   Opioid Matter              UNDETERMINED
         SALVATORE CHARLES BADALA
         NAPOLI SHKOLNIK PLLC                                   ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                      NOT AVAILABLE
         NEW YORK, NY 10017



3.1796   CITY OF ITHACA                                            1/24/2018                   Opioid Matter              UNDETERMINED
         MARIE NAPOLI
         NAPOLI LAW, PLLC                                       ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                      NOT AVAILABLE
         NEW YORK, NY 10017


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  Part 2:         List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1797   CITY OF ITHACA                                           1/24/2018                   Opioid Matter              UNDETERMINED
         PAUL J. NAPOLI
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.1798   CITY OF ITHACA, NY                                       1/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK, COMPTROLLER
         108 EAST GREEN STREET                                 ACCOUNT NO.:
         ITHACA, NY 14850                                      NOT AVAILABLE



3.1799   CITY OF ITHACA, NY                                       1/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY ATTORNEY, CLERK, COMPTROLLER
         CITY HALL 4TH FLOOR                                   ACCOUNT NO.:
         108 EAST GREEN STREET                                 NOT AVAILABLE
         ITHACA, NY 14850



3.1800   CITY OF IUKA, MISSISSIPPI                                9/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         118 PEARL STREET                                      ACCOUNT NO.:
         LUKA, MS 38852                                        NOT AVAILABLE



3.1801   CITY OF JACKSON, MICHAGAN                                7/31/2018                   Opioid Matter              UNDETERMINED
         CITY HALL
         1ST FLOOR                                             ACCOUNT NO.:
         161. W. MICHIGAN AVE.                                 NOT AVAILABLE
         JACKSON, MI 49201



3.1802   CITY OF JACKSON, MICHIGAN                                7/31/2018                   Opioid Matter              UNDETERMINED
         ATTN': THE MAYOR
         1011 S. THOMPSON ST.                                  ACCOUNT NO.:
         JACKSON, MI 49203                                     NOT AVAILABLE



3.1803   CITY OF JACKSONVILLE                                     1/4/2017                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 128                                            ACCOUNT NO.:
         JACKSONVILLE, NC 28541                                NOT AVAILABLE



3.1804   CITY OF JACKSONVILLE, A FLORIDA MUNICIPAL                2/27/2018                   Opioid Matter              UNDETERMINED
         CORPORATION
         ATTN: MAYOR, PRESIDENT OF CITY COUNCIL, CITY          ACCOUNT NO.:
         COUNCIL MEMBERS                                       NOT AVAILABLE
         CITY HALL AT ST. JAMES BUILDING
         117 WEST DUVAL STREET - SUITE 400
         JACKSONVILLE, FL 32202



3.1805   CITY OF JACKSONVILLE, AR                                 3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         1 MUNICIPAL DRIVE                                     ACCOUNT NO.:
         JACKSONVILLE, AR 72076                                NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1806   CITY OF JACKSONVILLE, FL, A MUNICIPAL CORPORATION       10/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY COUNCIL
         OFFICE OF THE CITY COUNCIL                            ACCOUNT NO.:
         117 W. DUVAL STREET, SUITE 425                        NOT AVAILABLE
         JACKSONVILLE, FL 32202



3.1807   CITY OF JACKSONVILLE, FL, A MUNICIPAL CORPORATION       10/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         MAYOR'S OFFICE                                        ACCOUNT NO.:
         CITY HALL AT ST. JAMES BUILDING - 117 WEST DUVAL      NOT AVAILABLE
         STREET, SUITE 400
         JACKSONVILLE, FL 32202



3.1808   CITY OF JAMESTOWN                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY ATTORNEY
         314 EAST CENTRAL AVENUE                               ACCOUNT NO.:
         P.O. BOX 670                                          NOT AVAILABLE
         JAMESTOWN, TN 38556



3.1809   CITY OF JASPER AND CITY CLERK                            1/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.1810   CITY OF JASPER AND CITY CLERK                            1/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         400 WEST 19TH STREET                                  ACCOUNT NO.:
         P. O. BOX 1589                                        NOT AVAILABLE
         JASPER, AL 35501



3.1811   CITY OF JASPER, INDIANA                                  8/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CLERK-TREASURER, PRESIDENT OF THE
         COMMON COUNCIL                                        ACCOUNT NO.:
         JASPER CITY HALL                                      NOT AVAILABLE
         610 MAIN STREET - PO BOX 29
         JASPER, IN 47547



3.1812   CITY OF JEFFERSON CITY                                  UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         PO BOX 366                                            ACCOUNT NO.:
         JEFFERSON CITY, TN 37760                              NOT AVAILABLE



3.1813   CITY OF JEFFERSON CITY                                  UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         112 CITY CENTER DRIVE                                 ACCOUNT NO.:
         PO BOX 530                                            NOT AVAILABLE
         JEFFERSON CITY, TN 37760



3.1814   CITY OF JEFFERSONVILLE, INDIANA                          7/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK, PRESIDENT OF THE COMMON
         COUNCIL                                               ACCOUNT NO.:
         CITY HALL                                             NOT AVAILABLE
         500 QUARTERMASTER COURT - SUITE 156
         JEFFERSONVILLE, IN 47130


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Code                                                 And Account Number                          Claim

Litigation

3.1815   CITY OF JEFFERSONVILLE, INDIANA                          7/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY ATTORNEY/CORPORATION
         COUNSEL/DIRECTOR OF LEGAL AFFAIRS                     ACCOUNT NO.:
         CITY HALL                                             NOT AVAILABLE
         500 QUARTERMASTER COURT - SUITE 250
         JEFFERSONVILLE, IN 47130



3.1816   CITY OF JELLICO                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         124 INDEPENDENCE LANE                                 ACCOUNT NO.:
         LAFOLLETTE, TN 37766                                  NOT AVAILABLE



3.1817   CITY OF JELLICO                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         410 SOUTH MAIN STREET                                 ACCOUNT NO.:
         JELLICO, TN 37762                                     NOT AVAILABLE



3.1818   CITY OF JENKS, OK                                        6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER, MAYOR AND CITY COUNCIL OF
         JENKS                                                 ACCOUNT NO.:
         JENKS CITY HALL                                       NOT AVAILABLE
         211 NORTH ELM STREET - P.O. BOX 2007
         JENKS, OK 74037



3.1819   CITY OF JERSEY CITY, NEW JERSEY                          6/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY COUNCIL PRESIDENT
         280 GROVE STREET, ROOM 202                            ACCOUNT NO.:
         JERSEY CITY, NJ 07302                                 NOT AVAILABLE



3.1820   CITY OF JERSEY CITY, NEW JERSEY                          6/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: THE MAYOR, CITY CLERK
         280 GROVE STREET, 2D FLOOR                            ACCOUNT NO.:
         JERSEY CITY, NJ 07302                                 NOT AVAILABLE



3.1821   CITY OF JOHNSON                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         601 EAST MAIN STREET                                  ACCOUNT NO.:
         PO BOX 2150                                           NOT AVAILABLE
         JOHNSON CITY, TN 37605



3.1822   CITY OF JOHNSON                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         601 EAST MAIN STREET                                  ACCOUNT NO.:
         PO BOX 2150                                           NOT AVAILABLE
         JOHNSON CITY, TN 37605



3.1823   CITY OF JONESBORO, AR                                    3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         300 SOUTH CHURCH STREET                               ACCOUNT NO.:
         JONESBORO, AR 72401                                   NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1824   CITY OF JONESBOROUGH                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         WHEELER & SEELY                                       ACCOUNT NO.:
         1211 EAST JACKSON BOULEVARD                           NOT AVAILABLE
         JONESBOROUGH, TN 37659



3.1825   CITY OF JONESBOROUGH                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         123 BOONE STREET                                      ACCOUNT NO.:
         JONESBOROUGH, TN 37659                                NOT AVAILABLE



3.1826   CITY OF JONESTOWN                                        6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXCUTIVE OFFICER/MAYOR AND TOWN
         CLERK                                                 ACCOUNT NO.:
         219 MAIN STREET                                       NOT AVAILABLE
         JONESTOWN, MS 38639



3.1827   CITY OF JOPLIN                                           1/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         CITY HALL 5TH FLOOR                                   ACCOUNT NO.:
         602 SOUTH MAIN STREET                                 NOT AVAILABLE
         JOPLIN, MO 64801



3.1828   CITY OF JOPLIN                                           8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER, CITY CLERK, CITY ATTORNEY
         602 S. MAIN ST.                                       ACCOUNT NO.:
         JOPLIN, MO 64801                                      NOT AVAILABLE



3.1829   CITY OF JOPLIN, MO                                       1/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK AND CITY ATTORNEY
         CITY HALL                                             ACCOUNT NO.:
         602 S. MAIN STREET                                    NOT AVAILABLE
         JOPLIN, MO 64801



3.1830   CITY OF KANSAS CITY, MISSOURI                            8/9/2018                    Opioid Matter              UNDETERMINED
         414 EAST 12TH STREET
         25TH FLOOR                                            ACCOUNT NO.:
         KANSAS CITY, MO 64106                                 NOT AVAILABLE



3.1831   CITY OF KANSAS CITY, MISSOURI                            8/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         414 EAST 12TH STREET                                  ACCOUNT NO.:
         23RD FLOOR, CITY HALL                                 NOT AVAILABLE
         KANSAS CITY, MO 64106



3.1832   CITY OF KANSAS CITY, MISSOURI                            8/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         414 EAST 12TH STREET                                  ACCOUNT NO.:
         22ND FLOOR                                            NOT AVAILABLE
         KANSAS CITY, MO 64106




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1833   CITY OF KEENE, NH                                        4/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, COUNCIL MEMBERS
         3 WASHINGTON STREET                                   ACCOUNT NO.:
         KEENE, NH 03431                                       NOT AVAILABLE



3.1834   CITY OF KEENE, NH                                        4/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER
         3 WASHINGTON STREET, 3RD FLOOR                        ACCOUNT NO.:
         KEENE, NH 03431                                       NOT AVAILABLE



3.1835   CITY OF KEENE, NH                                        4/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         CITY HALL, 1ST FLOOR                                  ACCOUNT NO.:
         3 WASHINGTON STREET                                   NOT AVAILABLE
         KEENE, NH 03431



3.1836   CITY OF KEENE, NH                                        4/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         CITY HALL, 1ST FLOOR                                  ACCOUNT NO.:
         3 WASHINGTON STREET                                   NOT AVAILABLE
         KEENE, NH 03431



3.1837   CITY OF KENNER                                          10/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         1801 WILLIAMS BOULEVARD                               ACCOUNT NO.:
         BUILDING B - SUITE 200                                NOT AVAILABLE
         KENNER, LA 70062



3.1838   CITY OF KENT                                             4/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE MAYOR & CITY ADMINISTRATIVE
         OFFICER                                               ACCOUNT NO.:
         220 FOURTH AVENUE S                                   NOT AVAILABLE
         KENT, WA 98032



3.1839   CITY OF KENT, MICHIGAN                                   1/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: VILLAGE CLERK AND VILLAGE PRESIDENT AND
         VILLAGE TREASURER                                     ACCOUNT NO.:
         83 SPRING STREET                                      NOT AVAILABLE
         PO BOX 296
         KENT CITY, MI 49330



3.1840   CITY OF KENT, OHIO                                       7/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         320 S. DEPEYSTER STREET                               ACCOUNT NO.:
         KENT, OH 44240                                        NOT AVAILABLE



3.1841   CITY OF KINGMAN                                          8/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK AND MAYOR
         MAYOR'S OFFICE/CITY OFFICE                            ACCOUNT NO.:
         310 NORTH 4TH STREET,                                 NOT AVAILABLE
         KINGMAN, AZ 86401




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Code                                                  And Account Number                         Claim

Litigation

3.1842   CITY OF KINGSPORT                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         CITY HALL                                             ACCOUNT NO.:
         225 WEST CENTER STREET                                NOT AVAILABLE
         KINGSPORT, TN 37660



3.1843   CITY OF KINGSTON                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         CITY MUNICIPAL BUILDING                               ACCOUNT NO.:
         900 WATERFORD PLACE                                   NOT AVAILABLE
         KINGSTON, TN 37763



3.1844   CITY OF KINGSTON                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         204 EAST LOVELISS STREET                              ACCOUNT NO.:
         KINGSTON, TN 37763                                    NOT AVAILABLE



3.1845   CITY OF KNOXVILLE                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         400 MAIN STREET                                       ACCOUNT NO.:
         ROOM 699                                              NOT AVAILABLE
         KNOXVILLE, TN 37902



3.1846   CITY OF KNOXVILLE                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         400 MAIN STREET                                       ACCOUNT NO.:
         ROOM 691                                              NOT AVAILABLE
         KNOXVILLE, TN 37902



3.1847   CITY OF KNOXVILLE                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         CITY OF KNOXVILLE                                     ACCOUNT NO.:
         MAYOR'S OFFICE - P.O. BOX 1631                        NOT AVAILABLE
         KNOXVILLE, TN 37902



3.1848   CITY OF KOKOMO, INDIANA                                  1/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY CLERK, PRESIDENT OF THE
         COMMON COUNCIL, CITY ATTORNEY                         ACCOUNT NO.:
         100 SOUTH UNION STREET                                NOT AVAILABLE
         KOKOMO, IN 46901



3.1849   CITY OF LACKAWANNA, NEW YORK                             4/15/2019                   Opioid Matter              UNDETERMINED
         714 RIDGE ROAD
         ROOM 215                                              ACCOUNT NO.:
         LACKAWANN, NY 14218                                   NOT AVAILABLE



3.1850   CITY OF LACKAWANNA, NEW YORK                             4/15/2019                   Opioid Matter              UNDETERMINED
         714 RIDGE ROAD
         ROOM 305                                              ACCOUNT NO.:
         LACKAWANNA, NY 14218                                  NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.1851   CITY OF LACKAWANNA, NEW YORK                             4/15/2019                   Opioid Matter              UNDETERMINED
         CITY HALL
         714 RIDGE ROAD                                        ACCOUNT NO.:
         LACKAWANNA, NY 14218                                  NOT AVAILABLE



3.1852   CITY OF LACKAWANNA, NEW YORK                             4/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         CITY HALL                                             ACCOUNT NO.:
         714 RIDGE ROAD - ROOM 301                             NOT AVAILABLE
         LACKAWANNA, NY 14218



3.1853   CITY OF LACKAWANNA, NEW YORK                             4/15/2019                   Opioid Matter              UNDETERMINED
         714 RIDGE ROAD
         ROOM 211                                              ACCOUNT NO.:
         LACKAWANNA, NY 14218                                  NOT AVAILABLE



3.1854   CITY OF LACONIA, NEW HAMPSHIRE                           4/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         45 BEACON STREET E                                    ACCOUNT NO.:
         1ST FLOOR                                             NOT AVAILABLE
         LACONIA, NH 03246



3.1855   CITY OF LACONIA, NEW HAMPSHIRE                           4/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         45 BEACON STREET EAST, 1ST FLOOR                      ACCOUNT NO.:
         LACONIA, NH 03246                                     NOT AVAILABLE



3.1856   CITY OF LACONIA, NEW HAMPSHIRE                           4/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER
         45 BEACON STREET EAST                                 ACCOUNT NO.:
         CITY HALL                                             NOT AVAILABLE
         LACONIA, NH 03246



3.1857   CITY OF LAFAYETTE, ET AL.                               11/29/2017                   Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         CITY ATTORNEY'S OFFICE                                ACCOUNT NO.:
         316 FERRY STREET                                      NOT AVAILABLE
         LAFAYETTE, IN 47901



3.1858   CITY OF LAFAYETTE, ET AL.                               11/29/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY COUNCIL PRESIDENT, CITY COUNCIL
         PRESIDENT PRO-TEM                                     ACCOUNT NO.:
         CITY HALL                                             NOT AVAILABLE
         20 NORTH 6TH STREET
         LAFAYETTE, IN 47901



3.1859   CITY OF LAFOLLETTE                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         TROUTMAN & TROUTMAN ATTORNEYS AT LAW                  ACCOUNT NO.:
         124 INDEPENDENCE LANE                                 NOT AVAILABLE
         LAFOLLETTE, TN 37766




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Code                                                  And Account Number                          Claim

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3.1860   CITY OF LAFOLLETTE                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         207 SOUTH TENNESSEE AVENUE                             ACCOUNT NO.:
         LAFOLLETTE, TN 37766                                   NOT AVAILABLE



3.1861   CITY OF LAGUNA BEACH, CALIFORNIA                          6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         CITY HALL                                              ACCOUNT NO.:
         505 FOREST AVENUE                                      NOT AVAILABLE
         LAGUNA BEACH, CA 92651



3.1862   CITY OF LAKE CHARLES                                      6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         326 PUJO STREET                                        ACCOUNT NO.:
         LAKE CHARLES, LA 70601                                 NOT AVAILABLE



3.1863   CITY OF LAKELAND, GEORGIA                                 6/19/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY COUNCIL, CITY ATTORNEY
         64 SOUTH VALDOSTA ROAD                                 ACCOUNT NO.:
         LAKELAND, GA 31635                                     NOT AVAILABLE



3.1864   CITY OF LAKEWOOD                                          3/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER
         CITY HALL                                              ACCOUNT NO.:
         6000 MAIN STREET SW                                    NOT AVAILABLE
         LAKEWOOD, WA 98499



3.1865   CITY OF LAKEWOOD                                          3/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         LAKEWOOD CITY HALL                                     ACCOUNT NO.:
         12650 DETROIT AVE                                      NOT AVAILABLE
         LAKEWOOD, LA 44107



3.1866   CITY OF LANSING                                          12/19/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR; CITY ATTORNEY; CITY CLERK
         CITY HALL                                              ACCOUNT NO.:
         124 WEST MICHIGAN AVENUE                               NOT AVAILABLE
         LANSING, MI 48933



3.1867   CITY OF LAS VEGAS, NV                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR OF LAS VEGAS
         LAS VEGAS CITY HALL                                    ACCOUNT NO.:
         495 SOUTH MAIN STREET                                  NOT AVAILABLE
         LAS VEGAS, NV 89101



3.1868   CITY OF LAUREL, MARYLAND                                  7/9/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         LAUREL MUNICIPAL CENTER                                ACCOUNT NO.:
         8103 SANDY SPRING ROAD                                 NOT AVAILABLE
         LAUREL, MD 20707




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Code                                                 And Account Number                          Claim

Litigation

3.1869   CITY OF LAUREL, MARYLAND                                 7/9/2019                    Opioid Matter              UNDETERMINED
         7850 WALKER DRIVE, SUITE 310
         GREENBELT, MD 20770                                   ACCOUNT NO.:
                                                               NOT AVAILABLE


3.1870   CITY OF LAUREL, MISSISSIPPI                              9/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 647                                            ACCOUNT NO.:
         LAUREL, MS 39441                                      NOT AVAILABLE



3.1871   CITY OF LAWRENCE, INDIANA                                6/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CORPORATION COUNSEL
         9001 EAST 59TH STREET                                 ACCOUNT NO.:
         LAWRENCE, IN 46216                                    NOT AVAILABLE



3.1872   CITY OF LAWRENCEBURG                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         PO BOX 488                                            ACCOUNT NO.:
         LAWRENCEBURG, TN 38464                                NOT AVAILABLE



3.1873   CITY OF LAWRENCEBURG                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         25 PUBLIC SQUARE                                      ACCOUNT NO.:
         LAWRENCEBURG, TN 38464                                NOT AVAILABLE



3.1874   CITY OF LAWTON                                           11/8/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER AND CITY CLERK
         212 SOUTHWEST 9TH STREET                              ACCOUNT NO.:
         LAWTON, OK 73501                                      NOT AVAILABLE



3.1875   CITY OF LENOIR CITY                                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR, AND CITY ATTORNEY
         530 HIGHWAY 321 NORTH                                 ACCOUNT NO.:
         LENOIR CITY, TN 37771                                 NOT AVAILABLE



3.1876   CITY OF LENOIR CITY                                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         800 SOUTH GAY STREET                                  ACCOUNT NO.:
         SUITE 1650                                            NOT AVAILABLE
         KNOXVILLE, TN 37929



3.1877   CITY OF LEOMINSTER                                       5/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         25 WEST STREET                                        ACCOUNT NO.:
         LEOMINSTER, MA 01453                                  NOT AVAILABLE



3.1878   CITY OF LEOMINSTER                                       5/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         ROOM 1                                                ACCOUNT NO.:
         CITY HALL - 25 WEST STREET                            NOT AVAILABLE
         LEOMINSTER, MA 01453




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Code                                                 And Account Number                          Claim

Litigation

3.1879   CITY OF LEWISBURG                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR OR CITY ATTORNEY
         131 EAST CHURCH STREET                                ACCOUNT NO.:
         LEWISBURG, TN 37091                                   NOT AVAILABLE



3.1880   CITY OF LEWISTON                                         7/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY ADMINISTRATOR
         27 PINE STREET                                        ACCOUNT NO.:
         LEWISTON, ME 04240                                    NOT AVAILABLE



3.1881   CITY OF LEWISTON                                         7/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY ADMINISTRATOR
         27 PINE STREET                                        ACCOUNT NO.:
         LEWISTON, ME 04240                                    NOT AVAILABLE



3.1882   CITY OF LEXINGTON, VIRGINIA                             UNKNOWN                      Opioid Matter              UNDETERMINED
         MANN LEGAL GROUP, P.L.L.C.
         15A E. NELSON ST.                                     ACCOUNT NO.:
         LEXINGTON, VA 24450                                   NOT AVAILABLE



3.1883   CITY OF LEXINGTON, VIRGINIA                             UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         300 EAST WASHINGTON STREET                            ACCOUNT NO.:
         LEXINGTON, VA 24450                                   NOT AVAILABLE



3.1884   CITY OF LIMA                                             4/3/2018                    Opioid Matter              UNDETERMINED
         202 EAST HIGH STREET
         2ND FL`                                               ACCOUNT NO.:
         LIMA, OH 45801                                        NOT AVAILABLE



3.1885   CITY OF LIMA                                             4/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY COUNCIL PRESIDENT
         50 TOWN SQUARE                                        ACCOUNT NO.:
         LIMA, OH 45801                                        NOT AVAILABLE



3.1886   CITY OF LINCOLN, ALABAMA, A MUNICIPAL                    5/29/2018                   Opioid Matter              UNDETERMINED
         CORPORATION
         ATTN: MAYOR                                           ACCOUNT NO.:
         CITY HALL                                             NOT AVAILABLE
         150 MAGNOLIA ST
         LINCOLN, AL 35096



3.1887   CITY OF LINCOLN, ALABAMA, A MUNICIPAL                    5/29/2018                   Opioid Matter              UNDETERMINED
         CORPORATION
         ATTN: CITY CLERK                                      ACCOUNT NO.:
         150 MAGNOLIA STREET                                   NOT AVAILABLE
         P. O. BOX 172
         LINCOLN, AL 35096




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Code                                                 And Account Number                          Claim

Litigation

3.1888   CITY OF LINCOLN, ALABAMA, A MUNICIPAL                    5/29/2018                   Opioid Matter              UNDETERMINED
         CORPORATION
         ATTN: STEVE MARSHALL                                  ACCOUNT NO.:
         STATE OF ALABAMA ATTORNEY GENERAL                     NOT AVAILABLE
         501 WASHINGTON AVE. - P.O. BOX 300152
         MONTGOMERY, AL 36130-0152



3.1889   CITY OF LISBON                                           8/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND COUNCIL MEMBERS OF LISBON
         PO BOX 1079                                           ACCOUNT NO.:
         423 MAIN STREET                                       NOT AVAILABLE
         LISBON, ND 58054



3.1890   CITY OF LITTLE ROCK, AR                                  3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         LITTLE ROCK CITY HALL                                 ACCOUNT NO.:
         500 WEST MARKHAM STREET - ROOM 200                    NOT AVAILABLE
         LITTLE ROCK, AR 72201



3.1891   CITY OF LITTLE ROCK, AR                                  3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         LITTLE ROCK CITY HALL                                 ACCOUNT NO.:
         500 WEST MARKHAM STREET - ROOM 203                    NOT AVAILABLE
         LITTLE ROCK, AR 72201



3.1892   CITY OF LIVONIA                                          9/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR OF LIVONIA, CLERK OF LIVONIA OR CITY
         ATTORNEY OF LIVONIA                                   ACCOUNT NO.:
         33000 CIVIC CENTER DRIVE                              NOT AVAILABLE
         LIVONIA, MI 48154



3.1893   CITY OF LOCK HAVEN, PA                                   9/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER
         20 EAST CHURCH STREET                                 ACCOUNT NO.:
         LOCK HAVEN, PA 17745                                  NOT AVAILABLE



3.1894   CITY OF LOCUST FORK, ALABAMA                             8/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR; TOWN COUNCIL; CLERK
         34 TOWN HALL ROAD                                     ACCOUNT NO.:
         P.O. BOX 67                                           NOT AVAILABLE
         LOCUST FORK, AL 35097



3.1895   CITY OF LOGAN, WEST VIRGINIA                             3/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON, COUNTY COMMISSION AND
         COUNTY CLERK AND COUNTY ADMINISTRATOR AND             ACCOUNT NO.:
         COUNTY ASSESSOR                                       NOT AVAILABLE
         300 STRATTON STREET
         LOGAN, WV 25601



3.1896   CITY OF LOGANSPORT                                       5/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         CITY HALL                                             ACCOUNT NO.:
         601 EAST BROADWAY                                     NOT AVAILABLE
         LOGANSPORT, IN 46947



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Code                                                 And Account Number                          Claim

Litigation

3.1897   CITY OF LOGANSPORT                                       5/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         601 EAST BROADWAY                                     ACCOUNT NO.:
         LOGANSPORT, IN 46947                                  NOT AVAILABLE



3.1898   CITY OF LONDON                                           2/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         501 SOUTH MAIN STREET                                 ACCOUNT NO.:
         LONDON, KY 40741                                      NOT AVAILABLE



3.1899   CITY OF LONDON                                           2/14/2019                   Opioid Matter              UNDETERMINED
         318 W DIXIE STREET
         BRYSON LARRY G PSC                                    ACCOUNT NO.:
         LONDON, KY 40741                                      NOT AVAILABLE



3.1900   CITY OF LORETTO                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         PO DRAWER H                                           ACCOUNT NO.:
         LAWRENCEBURG, TN 38464                                NOT AVAILABLE



3.1901   CITY OF LORETTO                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         415 NORTH MILITARY                                    ACCOUNT NO.:
         PO BOX 176                                            NOT AVAILABLE
         LORETTO, TN 38469-0176



3.1902   CITY OF LOS ANGELES, CALIFORNIA                          5/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         THE OFFICE OF MIKE FEUER - LOS ANGELES CITY           ACCOUNT NO.:
         ATTORNEY                                              NOT AVAILABLE
         JAMES K. HAHN CITY HALL EAST - SUITE 800
         LOS ANGELES, CA 90012



3.1903   CITY OF LOS ANGELES, CALIFORNIA                          5/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         200 NORTH SPRING STREET                               ACCOUNT NO.:
         LOS ANGELES, CA 90012                                 NOT AVAILABLE



3.1904   CITY OF LOWELL                                           4/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         375 MERRIMACK STREET                                  ACCOUNT NO.:
         1ST FLOOR - ROOM 30                                   NOT AVAILABLE
         LOWELL, MA 01852



3.1905   CITY OF LOWELL                                           4/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         375 MERRIMACK STREET 1ST FLOOR, ROOM 31               ACCOUNT NO.:
         LOWELL, MA 01852                                      NOT AVAILABLE



3.1906   CITY OF LOYALL                                           2/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         306 CARTER AVENUE                                     ACCOUNT NO.:
         LOYALL, KY 40854                                      NOT AVAILABLE


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Code                                                 And Account Number                          Claim

Litigation

3.1907   CITY OF LUMBERTON, MISSISSIPPI                          10/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         102 EAST MAIN AVENUE                                  ACCOUNT NO.:
         LUMBERTON, MS 39455                                   NOT AVAILABLE



3.1908   CITY OF LUTTRELL                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         101 PARK ROAD                                         ACCOUNT NO.:
         P.O. BOX 82                                           NOT AVAILABLE
         LUTTRELL, TN 37779



3.1909   CITY OF LUTTRELL                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         200 MONROE                                            ACCOUNT NO.:
         P.O. BOX 13                                           NOT AVAILABLE
         MAYNARDVILLE, TN 37807



3.1910   CITY OF LYNCH                                            2/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 667                                            ACCOUNT NO.:
         LYNCH, KY 40855                                       NOT AVAILABLE



3.1911   CITY OF LYNCHBURG                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         PO BOX 169                                            ACCOUNT NO.:
         SHELBYVILLE, TN 37162                                 NOT AVAILABLE



3.1912   CITY OF LYNCHBURG                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         196 MAIN STREET                                       ACCOUNT NO.:
         PO BOX 196                                            NOT AVAILABLE
         LYNCHBURG, TN 37352



3.1913   CITY OF LYNCHBURG                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         196 MAIN STREET                                       ACCOUNT NO.:
         PO BOX 206                                            NOT AVAILABLE
         LYNCHBURG, TN 37352



3.1914   CITY OF LYNDHURST                                        6/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR, DIRECTOR OF LAW
         LYNDHURST MUNICIPAL CENTER                            ACCOUNT NO.:
         5301 MAYFIELD ROAD                                    NOT AVAILABLE
         LYNDHURST, OH 44124



3.1915   CITY OF LYNN                                             6/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK; CITY TREASURER
         3 CITY HALL SQUARE                                    ACCOUNT NO.:
         ROOM 201                                              NOT AVAILABLE
         LYNN, MA 01901




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Code                                                               And Account Number                        Claim

Litigation

3.1916   CITY OF MACEDONIA, OH                                                 4/17/2018                  Opioid Matter              UNDETERMINED
         1360 S. O. M. CENTER ROAD
         CLEVELAND, OH 44124                                                 ACCOUNT NO.:
                                                                             NOT AVAILABLE


3.1917   CITY OF MACEDONIA, OH                                                 4/17/2018                  Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         9691 VALLEY VIEW ROAD                                               ACCOUNT NO.:
         MACEDONIA, OH 44056                                                 NOT AVAILABLE



3.1918   CITY OF MADISON, INDIANA, A POLITICAL SUBDIVISION                     6/18/2019                  Opioid Matter              UNDETERMINED
         OF THE STATE OF INDIANA, LOCATED IN JEFFERSON
         COUNTY, INDIANA, BY AND THROUGH ITS MAYOR AND                       ACCOUNT NO.:
         COMMON COUNCIL                                                      NOT AVAILABLE
         ATTN: MAYOR, CITY COUNCIL PRESIDENT, CITY
         ATTORNEY
         101 WEST MAIN STREET
         MADISON, IN 47250



3.1919   City of Madison, Indiana, a political subdivision of the State of     6/18/2019                  Opioid Matter              UNDETERMINED
         Indiana, located in Jefferson County, Indiana, by and through
         its Mayor and Common Council                                        ACCOUNT NO.:
         Attn: Curtis T. Hill, Jr.                                           NOT AVAILABLE
         State of Indiana Attorney General
         Indiana Government Center South - 5th Floor - 302 West
         Washington Street
         Indianapolis, IN 46204



3.1920   CITY OF MADISON, INDIANA, A POLITICAL SUBDIVISION                     6/18/2019                  Opioid Matter              UNDETERMINED
         OF THE STATE OF INDIANA, LOCATED IN JEFFERSON
         COUNTY, INDIANA, BY AND THROUGH ITS MAYOR AND                       ACCOUNT NO.:
         COMMON COUNCIL                                                      NOT AVAILABLE
         ATTN: MAYOR
         101 WEST MADISON STREET
         MADISON, IN 47250



3.1921   CITY OF MADISONVILLE                                                  UNKNOWN                    Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         GENTRY, TIPTON, KIZER &MCLEMORE, P.C.                               ACCOUNT NO.:
         900 SOUTH GAY STREET - SUITE 2300                                   NOT AVAILABLE
         KNOXVILLE, TN 37901



3.1922   CITY OF MADISONVILLE                                                  UNKNOWN                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         400 COLLEGE STREET NORTH                                            ACCOUNT NO.:
         MADISONVILLE, TN 37354                                              NOT AVAILABLE



3.1923   CITY OF MADISONVILLE                                                  UNKNOWN                    Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         PO BOX 1990                                                         ACCOUNT NO.:
         KNOXVILLE, TN 37901                                                 NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.1924   CITY OF MALDEN                                           3/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER, CITY CLERK
         110 PLEASANT STREET                                   ACCOUNT NO.:
         1ST FLOOR                                             NOT AVAILABLE
         MALDEN, MA 02148



3.1925   CITY OF MANCHESTER                                       2/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         207 CHURCH STREET                                     ACCOUNT NO.:
         MANCHESTER, KY 40962                                  NOT AVAILABLE



3.1926   CITY OF MANCHESTER                                       9/1/2017                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR, ALDERMEN AND CITY CLERK
         ONE CITY HALL PLAZA                                   ACCOUNT NO.:
         MANCHESTER, NH 03101                                  NOT AVAILABLE



3.1927   CITY OF MANDEVILLE                                       5/31/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR'S OFFICE, LEGAL DEPARTMENT
         3101 EAST CAUSEWAY APPROACH                           ACCOUNT NO.:
         MANDEVILLE, LA 70448                                  NOT AVAILABLE



3.1928   CITY OF MANDEVILLE                                       5/31/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR OF THE CITY OF MANDEVILLE
         3101 EAST CAUSEWAY APPROACH                           ACCOUNT NO.:
         MANDEVILLE, LA 70448                                  NOT AVAILABLE



3.1929   CITY OF MANDEVILLE                                       5/31/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         3101 EAST CAUSEWAY APPROACH                           ACCOUNT NO.:
         MANDEVILLE, LA 70448                                  NOT AVAILABLE



3.1930   CITY OF MANSFIELD                                        3/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR & LAW DIRECTOR
         30 NORTH DIAMOND ST.,                                 ACCOUNT NO.:
         MANSFIELD, OH 44902                                   NOT AVAILABLE



3.1931   CITY OF MARIETTA, OHIO                                   11/7/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         MARIETTA MAYOR'S OFFICE                               ACCOUNT NO.:
         301 W PUTNAM STREET                                   NOT AVAILABLE
         MARIETTA, OH 45750



3.1932   CITY OF MARION ALABAMA                                   2/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.1933   CITY OF MARION ALABAMA                                   2/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         123 EAST JEFFERSON STREET                             ACCOUNT NO.:
         MARION, AL 36756                                      NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.1934   CITY OF MARTINSVILLE, INDIANA                            3/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY ATTORNEY
         CITY HALL                                             ACCOUNT NO.:
         59 SOUTH JEFFERSON STREET                             NOT AVAILABLE
         MARTINSVILLE, IN 46151



3.1935   CITY OF MARTINSVILLE, INDIANA                            3/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY COUNCIL PRESIDENT
         CITY HALL                                             ACCOUNT NO.:
         59 SOUTH JEFFERSON STREET - 2ND FLOOR                 NOT AVAILABLE
         MARTINSVILLE, IN 46151



3.1936   CITY OF MARTINSVILLE, VA                                 10/4/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         55 WEST CHURCH STREET                                 ACCOUNT NO.:
         P.O. BOX 1311                                         NOT AVAILABLE
         MARTINSVILLE, VA 24114



3.1937   CITY OF MAYNARDVILLE                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR & CITY ATTORNEY
         125 JOHNSON ROAD                                      ACCOUNT NO.:
         P.O. BOX 217                                          NOT AVAILABLE
         MAYNARDVILLE, TN 37807



3.1938   CITY OF MCMINNVILLE                                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 7088                                           ACCOUNT NO.:
         MCMINNVILLE, TN 37111                                 NOT AVAILABLE



3.1939   CITY OF MELROSE                                          7/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: TREASURER; CLERK
         562 MAIN STREET                                       ACCOUNT NO.:
         MELROSE, MA 02176                                     NOT AVAILABLE



3.1940   CITY OF MEMPHIS                                          3/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         MEMPHIS CITY HALL                                     ACCOUNT NO.:
         125 N. MAIN ST. ROOM 700                              NOT AVAILABLE
         MEMPHIS, TN 38103



3.1941   CITY OF MERIDIAN                                         7/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK OF THE COUNCIL
         601 23RD AVENUE                                       ACCOUNT NO.:
         MERIDIAN, MS 39301                                    NOT AVAILABLE



3.1942   CITY OF MESQUITE                                         6/20/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER AND MAYOR
         10 E MESQUITE BOULEVARD                               ACCOUNT NO.:
         MESQUITE, NV 89027                                    NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                         Claim

Litigation

3.1943   CITY OF MESQUITE                                         6/20/2019                   Opioid Matter              UNDETERMINED
         ATTN: AARON FORD
         STATE OF NEVADA ATTORNEY GENERAL                      ACCOUNT NO.:
         OLD SUPREME CT. BLDG. - 100 N. CARSON ST.             NOT AVAILABLE
         CARSON CITY, NV 89701



3.1944   CITY OF METHUEN                                          1/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         SEARLES BUILDING, ROOM 112                            ACCOUNT NO.:
         41 PLEASANT STREET                                    NOT AVAILABLE
         METHUEN, MA 01844



3.1945   CITY OF METHUEN                                          1/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         SEARLES BUILDING                                      ACCOUNT NO.:
         ROOM 103 - 41 PLEASANT STREET                         NOT AVAILABLE
         METHUEN, MA 01844



3.1946   CITY OF METROPOLIS, ILLINOIS                             5/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK AND MAYOR
         CITY HALL                                             ACCOUNT NO.:
         106 WEST 5TH STREET                                   NOT AVAILABLE
         METROPOLIS, IL 62960



3.1947   CITY OF MIAMI GARDENS, FLORIDA                           6/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND VICE MAYOR
         CITY OF MIAMI GARDENS, FLORIDA                        ACCOUNT NO.:
         18605 NW 27TH AVENUE                                  NOT AVAILABLE
         MIAMI GARDENS, FL 33056



3.1948   CITY OF MIDDLETOWN                                       4/24/2019                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         245 DEKOVEN DRIVE                                     ACCOUNT NO.:
         MIDDLETOWN, CT 06457                                  NOT AVAILABLE



3.1949   CITY OF MIDFIELD, ALABAMA                                3/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         725 BESSEMER SUPER HIGHWAY                            ACCOUNT NO.:
         MIDFIELD, AL 35228                                    NOT AVAILABLE



3.1950   CITY OF MIDFIELD, ALABAMA                                3/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.1951   CITY OF MIDWEST CITY                                     3/22/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK & CITY MANAGER
         100 N MIDWEST BLVD                                    ACCOUNT NO.:
         MIDWEST CITY, OK 73110                                NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.1952   CITY OF MILFORD                                          1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: ANDREA BIERSTEIN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.1953   CITY OF MILFORD                                          1/9/2018                    Opioid Matter              UNDETERMINED
         CHARLES S. HELLMAN
         1177 AVENUE OF THE AMERICAS                           ACCOUNT NO.:
         44TH FLOOR                                            NOT AVAILABLE
         NEW YORK, NY 10036



3.1954   CITY OF MILFORD                                          1/9/2018                    Opioid Matter              UNDETERMINED
         400 ORANGE STREET
         CLENDENEN & SHEA LLC                                  ACCOUNT NO.:
         NEW HAVEN, CT 06511                                   NOT AVAILABLE



3.1955   CITY OF MILFORD                                          1/9/2018                    Opioid Matter              UNDETERMINED
         JAMES E. HARTLEY JR.
         500 CHASE PARKWAY                                     ACCOUNT NO.:
         WATERBURY, CT 06708                                   NOT AVAILABLE



3.1956   CITY OF MILFORD                                          1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         70 WEST RIVER ST                                      ACCOUNT NO.:
         MILFORD, CT 06460                                     NOT AVAILABLE



3.1957   CITY OF MILFORD                                          1/9/2018                    Opioid Matter              UNDETERMINED
         PAUL J. HANLY JR.
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE - 7TH FLOOR                        NOT AVAILABLE
         NEW YORK, NY 10016



3.1958   CITY OF MILFORD                                          1/9/2018                    Opioid Matter              UNDETERMINED
         SARAH S. BURNS
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002



3.1959   CITY OF MILFORD                                          1/9/2018                    Opioid Matter              UNDETERMINED
         THOMAS SHERIDAN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.1960   CITY OF MILLINGTON, TENNESSEE                            6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR OF THE CITY OF MILLINGTON
         7930 NELSON STREET                                    ACCOUNT NO.:
         MILLINGTON, TN 38053                                  NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.1961   CITY OF MILTON, WEST VIRGINIA                            3/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE MAYOR AND CITY COUNCIL
         1139 SMITH STREET                                     ACCOUNT NO.:
         MILTON, WV 25541                                      NOT AVAILABLE



3.1962   CITY OF MINNEAPOLIS, MINNESOTA                           6/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         OFFICE OF CITY CLERK                                  ACCOUNT NO.:
         350 SOUTH 5TH STREET - ROOM 304                       NOT AVAILABLE
         MINNEAPOLIS, MN 55415



3.1963   CITY OF MINNEAPOLIS, MINNESOTA                           6/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         MAYOR'S OFFICE                                        ACCOUNT NO.:
         350 SOUTH 5TH STREET - ROOM 331                       NOT AVAILABLE
         MINNEAPOLIS, MN 55415



3.1964   CITY OF MINOR HILL                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         13200 MINOR HILL HIGHWAY                              ACCOUNT NO.:
         PO BOX 69                                             NOT AVAILABLE
         MINOR HLL, TN 38473



3.1965   CITY OF MINOR HILL                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY OR ALDERMAN
         119 SOUTH FIRST STREET                                ACCOUNT NO.:
         PULASKI, TN 38478                                     NOT AVAILABLE



3.1966   CITY OF MISSOULA                                         2/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         435 RYMAN                                             ACCOUNT NO.:
         MISSOULA, MT 59802                                    NOT AVAILABLE



3.1967   CITY OF MOBILE, ALABAMA                                 12/27/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         205 GOVERNMENT STREET                                 ACCOUNT NO.:
         PO BOX 1827                                           NOT AVAILABLE
         MOBILE, AL 36633-1827



3.1968   CITY OF MOBILE, ALABAMA                                 12/27/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         205 GOVERNMENT STREET                                 ACCOUNT NO.:
         PO BOX 1827                                           NOT AVAILABLE
         MOBILE, AL 36633-1827



3.1969   CITY OF MOBILE, ALABAMA                                 12/27/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         205 GOVERNMENT STREET                                 ACCOUNT NO.:
         PO BOX 1827                                           NOT AVAILABLE
         MOBILE, AL 36633-1827




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Code                                                 And Account Number                          Claim

Litigation

3.1970   CITY OF MOBILE, ALABAMA                                 12/27/2017                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.1971   CITY OF MOBILE, ALABAMA                                 12/27/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         205 GOVERNMENT STREET                                 ACCOUNT NO.:
         PO BOX 1827                                           NOT AVAILABLE
         MOBILE, AL 36633-1827



3.1972   CITY OF MOBILE, ALABAMA                                 12/27/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         205 GOVERNMENT STREET                                 ACCOUNT NO.:
         PO BOX 1827                                           NOT AVAILABLE
         MOBILE, AL 36633-1827



3.1973   CITY OF MOBILE, ALABAMA                                 12/27/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         205 GOVERNMENT STREET                                 ACCOUNT NO.:
         PO BOX 1827                                           NOT AVAILABLE
         MOBILE, AL 36633-1827



3.1974   CITY OF MONROE, LOUISIANA                                6/13/2018                   Opioid Matter              UNDETERMINED
         P.O. BOX 123
         MONROE, LA 71210                                      ACCOUNT NO.:
                                                               NOT AVAILABLE


3.1975   CITY OF MONROE, LOUISIANA                                6/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         400 LEA JOYNER EXPRESSWAY                             ACCOUNT NO.:
         MONROE, LA 71201                                      NOT AVAILABLE



3.1976   CITY OF MONTEPELIER, INDIANA                             6/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         MONTPELIER CITY BUILDING                              ACCOUNT NO.:
         300 WEST HUNTINGTON STREET                            NOT AVAILABLE
         MONTPELIER, IN 47359



3.1977   CITY OF MONTGOMERY, AL                                   4/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.1978   CITY OF MONTGOMERY, AL                                   4/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         CITY HALL                                             ACCOUNT NO.:
         103 NORTH PERRY STREET                                NOT AVAILABLE
         MONTGOMERY, AL 36104




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Code                                                 And Account Number                          Claim

Litigation

3.1979   CITY OF MONTICELLO, AR                                   3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         P.O. BOX 505                                          ACCOUNT NO.:
         MONTICELLO, AR 71657                                  NOT AVAILABLE



3.1980   CITY OF MOREHEAD                                         2/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY ATTORNEY
         314 BRIDGE ST.                                        ACCOUNT NO.:
         MOREHEAD, KY 40351                                    NOT AVAILABLE



3.1981   CITY OF MORRISTOWN                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         100 WEST FIRST NORTH STREET                           ACCOUNT NO.:
         PO BOX 1499                                           NOT AVAILABLE
         MORRISTOWN, TN 37816-1499



3.1982   CITY OF MORRISTOWN                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         100 WEST FIRST NORTH STREET                           ACCOUNT NO.:
         PO BOX 1499                                           NOT AVAILABLE
         MORRISTOWN, TN 37816-1499



3.1983   CITY OF MOULTON, ALABAMA                                 2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         720 SEMINARY STREET                                   ACCOUNT NO.:
         MOULTON, AL 35650                                     NOT AVAILABLE



3.1984   CITY OF MOULTON, ALABAMA                                 2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.1985   CITY OF MOUND BAYOU, MISSISSIPPI                         6/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY MAYOR
         304 E. MARTIN LUTHER KING ST.                         ACCOUNT NO.:
         MOUND BAYOU, MS 38762                                 NOT AVAILABLE



3.1986   CITY OF MOUND BAYOU, MISSISSIPPI                         6/10/2019                   Opioid Matter              UNDETERMINED
         106 GREEN STREET W
         MOUND BAYOU, MS 38762                                 ACCOUNT NO.:
                                                               NOT AVAILABLE


3.1987   CITY OF MOUND BAYOU, MISSISSIPPI                         6/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         106 GREEN AVENUE                                      ACCOUNT NO.:
         MOUND BAYOU, MS 38762                                 NOT AVAILABLE



3.1988   CITY OF MOUND BAYOU, MISSISSIPPI                         6/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         PO BOX 680                                            ACCOUNT NO.:
         MOUND BAYOU, MS 38762-0680                            NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.1989   CITY OF MOUNT PLEASANT                                  UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         MOUNGER & MOULDER, PPLC                               ACCOUNT NO.:
         808 SOUTH HIGH STREET - PO BOX 1468                   NOT AVAILABLE
         COLUMBIA, TN 38402



3.1990   CITY OF MOUNT PLEASANT                                  UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         100 PUBLIC SQUARE                                     ACCOUNT NO.:
         PO BOX 426                                            NOT AVAILABLE
         MOUNT PLEASANT, TN 38474



3.1991   CITY OF MOUNT VERNON                                     1/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         910 CLEVELAND AVENUE                                  ACCOUNT NO.:
         MOUNT VERNON, WA 98273                                NOT AVAILABLE



3.1992   CITY OF MOUNTAIN BROOK, AL                               3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.1993   CITY OF MOUNTAIN BROOK, AL                               3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         MAYOR'S OFFICE                                        ACCOUNT NO.:
         56 CHURCH STREET                                      NOT AVAILABLE
         MOUNTAIN BROOK, AL 35213



3.1994   CITY OF MOUNTAIN CITY                                   UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         210 SOUTH CHURCH STREET                               ACCOUNT NO.:
         MOUNTAIN CITY, TN 37683                               NOT AVAILABLE



3.1995   CITY OF MOUNTAIN CITY                                   UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         410 WEST MAIN STREET                                  ACCOUNT NO.:
         MOUNTAIN CITY, TN 37683                               NOT AVAILABLE



3.1996   CITY OF MOUNTAIN LAKE PARK, MARYLAND                     7/9/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY ATTORNEY, TOWN COUNCIL
         MEMBERS                                               ACCOUNT NO.:
         TOWN OF MOUNTAIN LAKE PARK                            NOT AVAILABLE
         P.O. BOX 2182 - 1007 ALLEGANY DRIVE
         MOUNTAIN LAKE PARK, MD 21550



3.1997   CITY OF MURFREEBORO                                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         111 WEST VINE STREET                                  ACCOUNT NO.:
         MURFREESBORO, TN 37130                                NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.1998   CITY OF MURFREEBORO                                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         111 WEST VINE STREET                                  ACCOUNT NO.:
         CITY HALL - 1ST FLOOR                                 NOT AVAILABLE
         MURFREESBORO, TN 37130



3.1999   CITY OF MUSTANG                                          3/22/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK & MAYOR
         1501 NORTH MUSTANG ROAD                               ACCOUNT NO.:
         MUSTANG, OK 73064                                     NOT AVAILABLE



3.2000   CITY OF NANTICOKE, PENNSYLVANIA                          2/4/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY CLERK
         CITY OF NANTICOKE                                     ACCOUNT NO.:
         15 EAST RIDGE STREET                                  NOT AVAILABLE
         NANTICOKE, PA 18634-2800



3.2001   CITY OF NASHVILLE, GEORGIA                               6/19/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY MANAGER
         405 WEST WASHINGTON AVENUE                            ACCOUNT NO.:
         PO BOXC 495                                           NOT AVAILABLE
         NASHVILLE, GA 31639



3.2002   CITY OF NASHVILLE, GEORGIA                               6/19/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY MANAGER
         CITY OF NASHVILLE                                     ACCOUNT NO.:
         405 W WASHINGTON AVE                                  NOT AVAILABLE
         NASHVILLE, GA 31639



3.2003   CITY OF NETTLETON, MISSISSIPPI                           3/1/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         124 SHORT AVENUE                                      ACCOUNT NO.:
         NETTLETON, MS 38858                                   NOT AVAILABLE



3.2004   CITY OF NEW ALBANY, INDIANA                             10/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         311 HAUSS SQUARE                                      ACCOUNT NO.:
         NEW ALBANY, IN 47150                                  NOT AVAILABLE



3.2005   CITY OF NEW ALBANY, INDIANA                             10/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         311 HAUSS SQUARE, SUITE 316                           ACCOUNT NO.:
         NEW ALBANY, IN 47150                                  NOT AVAILABLE



3.2006   CITY OF NEW ALBANY, MISSISSIPPI                          7/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         101 W BANKHEAD STREET                                 ACCOUNT NO.:
         NEW ALBANY, MS 38652                                  NOT AVAILABLE



3.2007   CITY OF NEW BEDFORD, MASSACHUSETTS                       6/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         133 WILLIAM ST - ROOM 118                             ACCOUNT NO.:
         NEW BEDFORD, MA 02740                                 NOT AVAILABLE


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Code                                                 And Account Number                          Claim

Litigation

3.2008   CITY OF NEW BEDFORD, MASSACHUSETTS                       6/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         133 WILLIAM STREET                                    ACCOUNT NO.:
         ROOMS 101-104                                         NOT AVAILABLE
         NEW BEDFORD, MA 02740



3.2009   CITY OF NEW BRITAIN                                     11/15/2017                   Opioid Matter              UNDETERMINED
         156 SOUTH MAIN STREET
         SCOTT + SCOTT ATTORNEYS AT LAW                        ACCOUNT NO.:
         PO BOX 192                                            NOT AVAILABLE
         COLCHESTER, CT 06415



3.2010   CITY OF NEW BRITAIN, CT                                 11/15/2017                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         OFFICE OF CITY CLERK                                  ACCOUNT NO.:
         27 WEST MAIN STREET - ROOM 109                        NOT AVAILABLE
         NEW BRITAIN, CT 06051



3.2011   CITY OF NEW BRITAIN, CT                                 11/15/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         OFFICE OF MAYOR                                       ACCOUNT NO.:
         27 WEST MAIN STREET                                   NOT AVAILABLE
         NEW BRITAIN, CT 06051



3.2012   CITY OF NEW CASTLE                                       2/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY CLERK
         MUNICIPAL BUILDING                                    ACCOUNT NO.:
         230 NORTH JEFFERSON STREET                            NOT AVAILABLE
         NEW CASTLE, PA 16101-2220



3.2013   CITY OF NEW HAVEN                                       10/25/2017                   Opioid Matter              UNDETERMINED
         156 SOUTH MAIN STREET
         SCOTT + SCOTT ATTORNEYS AT LAW                        ACCOUNT NO.:
         PO BOX 192                                            NOT AVAILABLE
         COLCHESTER, CT 06415



3.2014   CITY OF NEW HAVEN, CT                                   10/25/2017                   Opioid Matter              UNDETERMINED
         ATTN: CLERK
         200 ORANGE STREET                                     ACCOUNT NO.:
         ROOM 202                                              NOT AVAILABLE
         NEW HAVEN, CT 06510



3.2015   CITY OF NEW HAVEN, CT                                   10/25/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         165 CHURCH STREET                                     ACCOUNT NO.:
         NEW HAVEN, CT 06510                                   NOT AVAILABLE



3.2016   CITY OF NEW HOPE                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MARION COUNTY ATTORNEY
         1 COURTHOUSE SQUARE                                   ACCOUNT NO.:
         PO BOX 789                                            NOT AVAILABLE
         JASPER, TN 37347




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Code                                                   And Account Number                        Claim

Litigation

3.2017   CITY OF NEW HOPE                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MARION COUNTY CLERK
         1 COURTHOUSE SQUARE                                   ACCOUNT NO.:
         PO BOX 789                                            NOT AVAILABLE
         JASPER, TN 37347



3.2018   CITY OF NEW HOPE                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MARION COUNTY MAYOR
         1 COURTHOUSE SQUARE                                   ACCOUNT NO.:
         PO BOX 789                                            NOT AVAILABLE
         JASPER, TN 37347



3.2019   CITY OF NEW HOPE, ALABAMA                                6/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.2020   CITY OF NEW HOPE, ALABAMA                                6/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         CITY HALL                                             ACCOUNT NO.:
         5496 MAIN DRIVE                                       NOT AVAILABLE
         NEW HOPE, AL 35760



3.2021   CITY OF NEW IBERIA                                      10/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         457 EAST MAIN STREET                                  ACCOUNT NO.:
         SUITE 300                                             NOT AVAILABLE
         NEW IBERIA, LA 70560



3.2022   CITY OF NEW LONDON                                       4/3/2018                    Opioid Matter              UNDETERMINED
         156 SOUTH MAIN STREET
         SCOTT + SCOTT ATTORNEYS AT LAW                        ACCOUNT NO.:
         PO BOX 192                                            NOT AVAILABLE
         COLCHESTER, CT 06415



3.2023   CITY OF NEW ORLEANS                                     10/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         1300 PERDIDO STREET                                   ACCOUNT NO.:
         2ND FLOOR                                             NOT AVAILABLE
         NEW ORLEANS, LA 70112



3.2024   CITY OF NEW ROADS, LOUISIANA                             1/16/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, SECRETARY TREASURER
         CITY OF NEW ROADS CITY HALL                           ACCOUNT NO.:
         211 WEST MAIN STREET - POST OFFICE BOX 280            NOT AVAILABLE
         NEW ROADS, LA 70760



3.2025   CITY OF NEW WHITWELL                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         13671 HIGHWAY 28                                      ACCOUNT NO.:
         WHITWELL, TN 37397                                    NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.2026   CITY OF NEW WHITWELL                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         13671 HIGHWAY 28                                      ACCOUNT NO.:
         WHITWELL, TN 37397                                    NOT AVAILABLE



3.2027   CITY OF NEW WHITWELL                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         13671 HIGHWAY 28                                      ACCOUNT NO.:
         WHITWELL, TN 37397                                    NOT AVAILABLE



3.2028   CITY OF NEW WHITWELL                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         13671 HIGHWAY 28                                      ACCOUNT NO.:
         WHITWELL, TN 37397                                    NOT AVAILABLE



3.2029   CITY OF NEW YORK, NY                                     1/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: CORPORATION COUNSEL
         NEW YORK CITY LAW DEPARTMENT                          ACCOUNT NO.:
         100 CHURCH STREET                                     NOT AVAILABLE
         NEW YORK, NY 10007



3.2030   CITY OF NEW YORK, NY                                     1/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK OF NEW YORK COUNTY
         NEW YORK COUNTY COURTHOUSE                            ACCOUNT NO.:
         60 CENTRE STREET, ROOM 161                            NOT AVAILABLE
         NEW YORK, NY 10007



3.2031   CITY OF NEWBURGH HEIGHTS, OH                             4/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY SOLICITOR
         NEWBURGH HEIGHTS VILLAGE HALL                         ACCOUNT NO.:
         3801 HARVARD AVENUE                                   NOT AVAILABLE
         NEWBURGH, OH 44105



3.2032   CITY OF NEWBURYPORT                                      5/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         OFFICE OF THE TREASURER/COLLECTOR                     ACCOUNT NO.:
         60 PLEASANT STREET                                    NOT AVAILABLE
         NEWBURYPORT, MA 01950



3.2033   CITY OF NEWBURYPORT                                      5/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         CITY CLERK'S OFFICE                                   ACCOUNT NO.:
         60 PLEASANT STREET - PO BOX 550                       NOT AVAILABLE
         NEWBURYPORT, MA 01950



3.2034   CITY OF NEWPORT                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 370                                            ACCOUNT NO.:
         NEWPORT, TN 37822-0370                                NOT AVAILABLE




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Code                                                   And Account Number                        Claim

Litigation

3.2035   CITY OF NEWPORT                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         331 EAST MAIN STREET                                  ACCOUNT NO.:
         NEWPORT, TN 37821                                     NOT AVAILABLE



3.2036   CITY OF NEWPORT, RI                                      3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY CLERK
         NEWPORT CITY HALL                                     ACCOUNT NO.:
         43 BROADWAY                                           NOT AVAILABLE
         NEWPORT, RI 02840



3.2037   CITY OF NIOTA                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         PO BOX 515                                            ACCOUNT NO.:
         NIOTA, TN 37826                                       NOT AVAILABLE



3.2038   CITY OF NIOTA                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 515                                            ACCOUNT NO.:
         NIOTA, TN 37826                                       NOT AVAILABLE



3.2039   CITY OF NOBLESVILLE, INDIANA                             1/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CLERK
         CITY HALL                                             ACCOUNT NO.:
         16 SOUTH 10TH STREET                                  NOT AVAILABLE
         NOBLESVILLE, IN 46060



3.2040   CITY OF NORFOLK                                          6/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY ATTORNEY
         OFFICE OF THE CITY COUNCIL                            ACCOUNT NO.:
         1006 CITY HALL BUILDING - 810 UNION STREET            NOT AVAILABLE
         NORFOLK, VA 23510



3.2041   CITY OF NORRIS                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         20 CHESTNUT DRIVE                                     ACCOUNT NO.:
         P.O. BOX 1090                                         NOT AVAILABLE
         NORRIS, TN 37828



3.2042   CITY OF NORRIS                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         P.O. BOX 1792                                         ACCOUNT NO.:
         KNOXVILLE, TN 37902                                   NOT AVAILABLE



3.2043   CITY OF NORTH ADAMS                                      5/18/2018                   Opioid Matter              UNDETERMINED
         CITY HALL
         10 MAIN STREET                                        ACCOUNT NO.:
          - FIRST FLOOR ROOM 108                               NOT AVAILABLE
         NORTH ADAMS, MA 01247




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Code                                                 And Account Number                          Claim

Litigation

3.2044   CITY OF NORTH ADAMS                                      5/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         CITY HALL                                             ACCOUNT NO.:
         10 MAIN STREET - FIRST FLOOR ROOM 104                 NOT AVAILABLE
         NORTH ADAMS, MA 01247



3.2045   CITY OF NORTH CHARLESTON                                 7/25/2019                   Opioid Matter              UNDETERMINED
         ATTN: MARC J. BERN, JOSEPH J. CAPPELLI, MARGARET
         E. CORDNER, CARMEN A. DE GISI                         ACCOUNT NO.:
         MARC J. BERN & PARTNERS LLP                           NOT AVAILABLE
         ONE GRAND CENTRAL PLACE - 60 EAST 42ND STREET,
         SUITE 950
         NEW YORK, NY 10165



3.2046   CITY OF NORTH CHARLESTON                                 7/25/2019                   Opioid Matter              UNDETERMINED
         ATTN: JOSEPH J. CAPPELLI
         MARC J. BERN & PARTNERS LLP                           ACCOUNT NO.:
         ONE GRAND CENTRAL PLACE - 60 EAST 42ND STREET,        NOT AVAILABLE
         SUITE 950
         NEW YORK, NY 10165



3.2047   CITY OF NORTH CHARLESTON                                 7/25/2019                   Opioid Matter              UNDETERMINED
         ATTN: MARGARET E. CORDNER
         MARC J. BERN & PARTNERS LLP                           ACCOUNT NO.:
         ONE GRAND CENTRAL PLACE - 60 EAST 42ND STREET,        NOT AVAILABLE
         SUITE 950
         NEW YORK, NY 10165



3.2048   CITY OF NORTH CHARLESTON                                 7/25/2019                   Opioid Matter              UNDETERMINED
         ATTN: CARMEN A. DE GISI
         MARC J. BERN & PARTNERS LLP                           ACCOUNT NO.:
         ONE GRAND CENTRAL PLACE - 60 EAST 42ND STREET,        NOT AVAILABLE
         SUITE 950
         NEW YORK, NY 10165



3.2049   CITY OF NORTH CHARLESTON, SC                             7/25/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         2500 CITY HALL LN                                     ACCOUNT NO.:
         NORTH CHARLESTON, SC 29406                            NOT AVAILABLE



3.2050   CITY OF NORTH CHARLESTON, SC                             7/25/2019                   Opioid Matter              UNDETERMINED
         ATTN: SANDRA J. SENN
         SENN LEGAL, LLC                                       ACCOUNT NO.:
         P.O. BOX 12279                                        NOT AVAILABLE
         CHARLESTON, SC 29422



3.2051   CITY OF NORTH EAST, MARYLAND                             7/9/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR, COMMISSIONERS
         106 SOUTH MAIN STREET                                 ACCOUNT NO.:
         P.O. BOX 528                                          NOT AVAILABLE
         NORTH EAST, MD 21901




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Code                                                 And Account Number                          Claim

Litigation

3.2052   CITY OF NORTH LAS VEGAS, NV                             UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR OF NORTH LAS VEGAS
         CITY HALL                                             ACCOUNT NO.:
         2250 LAS VEGAS BOULEVARD NORTH                        NOT AVAILABLE
         NORTH LAS VEGAS, NV 89030



3.2053   CITY OF NORTH LITTLE ROCK, AR                            3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         CITY HALL                                             ACCOUNT NO.:
         300 MAIN STREET - P.O. BOX 5757                       NOT AVAILABLE
         NORTH LITTLE ROCK, AR 72119



3.2054   CITY OF NORTH MIAMI, FLORIDA                             5/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CHAIRPERSON CITY BOARDS
         COMMISSIONS AND COMMITTEES                            ACCOUNT NO.:
         776 NORTHEAST 125 STREET                              NOT AVAILABLE
         2ND FLOOR
         NORTH MIAMI, FL 33161



3.2055   CITY OF NORTH PAUL, MINNESOTA                            7/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         2400 MARGARET STREET                                  ACCOUNT NO.:
         NORTH ST. PAUL, MN 55109                              NOT AVAILABLE



3.2056   CITY OF NORTH ROYALTON, OH                               4/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND LAW DIRECTOR SND ASSISTANT LAW
         DIRECTOR                                              ACCOUNT NO.:
         14600 STATE ROAD                                      NOT AVAILABLE
         NORTH ROYALTON, OH 44133



3.2057   CITY OF NORTHAMPTON                                      3/16/2018                   Opioid Matter              UNDETERMINED
         PUCHALSKI MUNICIPAL BUILDING
         212 MAIN STREET                                       ACCOUNT NO.:
          - ROOM 305                                           NOT AVAILABLE
         NORTHAMPTON, MA 01060



3.2058   CITY OF NORTHAMPTON                                      3/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         210 MAIN STREET                                       ACCOUNT NO.:
         ROOM 4                                                NOT AVAILABLE
         NORTHAMPTON, MA 01060



3.2059   CITY OF NORTHGLENN                                       1/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER AND CITY CLERK
         1701 COMMUNITY CENTER DRIVE                           ACCOUNT NO.:
         NORTHGLENN, CO 80233                                  NOT AVAILABLE



3.2060   CITY OF NORTHGLENN                                       1/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         3057 EAST 108TH DRIVE                                 ACCOUNT NO.:
         NORTHGLENN, CO 80233                                  NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.2061   CITY OF NORTHLAKE                                        5/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         55 EAST NORTH AVENUE                                  ACCOUNT NO.:
         NORTHLAKE, IL 60164                                   NOT AVAILABLE



3.2062   CITY OF NORTON, VIRGINIA                                10/22/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER
         618 VIRGINIA AVENUE NORTHWEST                         ACCOUNT NO.:
         NORTON, VA 24273                                      NOT AVAILABLE



3.2063   CITY OF NORWALK                                         11/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, LAW DIRECTOR
         CITY HALL                                             ACCOUNT NO.:
         38 WHITTLESEY AVENUE                                  NOT AVAILABLE
         NORWALK, OH 44857



3.2064   CITY OF NORWICH                                          4/9/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         NORWICH CITY HALL                                     ACCOUNT NO.:
         100 BROADWAY                                          NOT AVAILABLE
         NORWICH, CT 06360



3.2065   CITY OF OAK RIDGE                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         200 SOUTH TULANE AVENUE                               ACCOUNT NO.:
         OAK RIDGE, TN 37831                                   NOT AVAILABLE



3.2066   CITY OF OAK RIDGE                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         200 SOUTH TULANE AVENUE                               ACCOUNT NO.:
         P.O. BOX 1                                            NOT AVAILABLE
         OAK RIDGE, TN 37831



3.2067   CITY OF OAKLAND, MARYLAND                                7/9/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND REGISTERED AGENT FOR OAKLAND,
         MARYLAND                                              ACCOUNT NO.:
         15 SOUTH THIRD STREET                                 NOT AVAILABLE
         OAKLAND, MD 21550



3.2068   CITY OF OCALA, FL                                        9/5/2019                    Opioid Matter              UNDETERMINED
         ATTN: ERIC ROMANO
         ROMANO LAW GROUP                                      ACCOUNT NO.:
         801 SPENCER DRIVE                                     NOT AVAILABLE
         WEST PALM BEACH, FL 33409-4027



3.2069   CITY OF OCALA, FL                                        9/5/2019                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         110 SE WATULA AVENUE                                  ACCOUNT NO.:
         OCALA, FL 34471                                       NOT AVAILABLE




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Code                                                  And Account Number                          Claim

Litigation

3.2070   CITY OF OKLAHOMA CITY                                     11/8/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR OF OKLAHOMA CITY
         200 NORTH WALKER AVENUE                                ACCOUNT NO.:
         THIRD FLOOR                                            NOT AVAILABLE
         OKLAHOMA CITY, OK 73102



3.2071   CITY OF OKLAHOMA CITY                                     11/8/2018                   Opioid Matter              UNDETERMINED
         200 N WALKER AVENUE
         2ND FLOOR                                              ACCOUNT NO.:
         OKLAHOMA CITY, OK 73102                                NOT AVAILABLE



3.2072   CITY OF OLYMPIA                                           7/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE MAYOR & CITY CLERK
         OLYMPIA CITY COUNCIL                                   ACCOUNT NO.:
         PO BOX 1967                                            NOT AVAILABLE
         OLYMPIA, WA 98507-1967



3.2073   CITY OF OPP, ALABAMA                                     12/14/2017                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                      ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                  NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.2074   CITY OF OPP, ALABAMA                                     12/14/2017                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         OPP CITY HALL                                          ACCOUNT NO.:
         101 NORTH MAIN STREET                                  NOT AVAILABLE
         OPP, AL 36467



3.2075   CITY OF OPP, ALABAMA                                     12/14/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         OPP CITY HALL                                          ACCOUNT NO.:
         MAYOR'S OFFICE - 101 NORTH MAIN STREET                 NOT AVAILABLE
         OPP, AL 36467



3.2076   CITY OF ORANGEBURG, SOUTH CAROLINA                        6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY ADMINISTRATOR
         979 MIDDLETON STREET                                   ACCOUNT NO.:
         ORANGEBURG, SC 29115                                   NOT AVAILABLE



3.2077   CITY OF ORANGEBURG, SOUTH CAROLINA                        6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR; CITY COUNCIL
         PO DRAWER 387                                          ACCOUNT NO.:
         ORANGEBURG, SC 29116                                   NOT AVAILABLE



3.2078   CITY OF OVERLAND PARK, KANSAS                            11/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK; MAYOR
         CITY HALL                                              ACCOUNT NO.:
         8500 SANTE FE DRIVE                                    NOT AVAILABLE
         OVERLAND PARK, KS 66212




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Code                                                 And Account Number                          Claim

Litigation

3.2079   CITY OF OVIEDO, FLORIDA                                  6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR; DEPUTY MAYOR
         400 ALEXANDRIA BOULEVARD                              ACCOUNT NO.:
         OVIEDO, FL 32765                                      NOT AVAILABLE



3.2080   CITY OF OWASSO                                           2/22/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER; CITY CLERK
         200 SOUTH MAIN STREET                                 ACCOUNT NO.:
         P.O. BOX 180                                          NOT AVAILABLE
         OWASSO, OK 74055



3.2081   CITY OF OWASSO                                           2/22/2019                   Opioid Matter              UNDETERMINED
         109 NORTH BIRCH
         OWASSO, OK 74055                                      ACCOUNT NO.:
                                                               NOT AVAILABLE


3.2082   CITY OF OXFORD, AL                                       8/27/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY COUNCIL
         OXFORD CITY HALL                                      ACCOUNT NO.:
         145 HAMRIC DRIVE EAST - P.O. BOX 3383                 NOT AVAILABLE
         OXFORD, AL 36203



3.2083   CITY OF OZARK, ALABAMA                                   2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         P. O. BOX 1987                                        ACCOUNT NO.:
         OZARK, AL 36361                                       NOT AVAILABLE



3.2084   CITY OF OZARK, ALABAMA                                   2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         P. O. BOX 1987                                        ACCOUNT NO.:
         OZARK, AL 36361                                       NOT AVAILABLE



3.2085   CITY OF OZARK, ALABAMA                                   2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.2086   CITY OF PADUCAH, KENTUCKY                                5/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER
         300 SOUTH 5TH STREET                                  ACCOUNT NO.:
         PO BOX 2267                                           NOT AVAILABLE
         PADUCAH, KY 42002-2267



3.2087   CITY OF PALM BAY FLORIDA                                 5/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR; DEPUTY MAYOR
         120 MALABAR ROAD                                      ACCOUNT NO.:
         PALM BAY, FL 32907                                    NOT AVAILABLE



3.2088   CITY OF PALMETTO, FLORIDA                                8/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR; CHAIRPERSON OF THE CITY
         COMMISSIONS; CITY COMMISSIONERS                       ACCOUNT NO.:
         516 8TH AVENUE WEST                                   NOT AVAILABLE
         PALMETTO, FL 34221


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Code                                                 And Account Number                          Claim

Litigation

3.2089   CITY OF PATTERSON                                       10/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR OF THE CITY OF PATTERSON
         CITY HALL                                             ACCOUNT NO.:
         1314 MAIN STREET - P.O. BOX 367                       NOT AVAILABLE
         PATTERSON, LA 70392



3.2090   CITY OF PAWTUCKET, RI                                    3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PAWTUCKET CITY HALL                                   ACCOUNT NO.:
         137 ROOSEVELT AVENUE - 2ND FLOOR ROOM 200             NOT AVAILABLE
         PAWTUCKET, RI 02860



3.2091   CITY OF PAWTUCKET, RI                                    3/26/2018                   Opioid Matter              UNDETERMINED
         PAWTUCKET CITY HALL
         137 ROOSEVELT AVENUE                                  ACCOUNT NO.:
          - 3RD FLOOR, ROOMS 300-302                           NOT AVAILABLE
         PAWTUCKET, RI 02860



3.2092   CITY OF PEABODY                                          7/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK; TREASURER
         24 LOWELL STREET                                      ACCOUNT NO.:
         PEABODY, MA 01960                                     NOT AVAILABLE



3.2093   CITY OF PEKIN                                            5/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER, MAYOR AND CITY CLERK
         CITY HALL                                             ACCOUNT NO.:
         111 SOUTH CAPITOL STREET                              NOT AVAILABLE
         PEKIN, IL 61554



3.2094   CITY OF PEMBROKE PINES, FLORIDA                          12/6/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR; DEPUTY CITY MANAGER
         601 CITY CENTER WAY                                   ACCOUNT NO.:
         PEMBROKE PINES, FL 33025                              NOT AVAILABLE



3.2095   CITY OF PENSACOLA                                        3/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR OF THE CITY OF PENSACOLA; CITY
         ADMINISTRATOR                                         ACCOUNT NO.:
         222 WEST MAIN STREET                                  NOT AVAILABLE
         PENSACOLA, FL 32502



3.2096   CITY OF PEORIA                                           7/19/2018                   Opioid Matter              UNDETERMINED
         CITY HALL
         419 FULTON STREET                                     ACCOUNT NO.:
          - SUITE 401                                          NOT AVAILABLE
         PEORIA, IL 61602



3.2097   CITY OF PEORIA                                           7/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         OFFICE OF THE MAYOR                                   ACCOUNT NO.:
         419 FULTON STREET - SUITE 207L                        NOT AVAILABLE
         PEORIA, IL 61602




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Code                                                 And Account Number                          Claim

Litigation

3.2098   CITY OF PERRYVILLE, MARYLAND                             7/9/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND REGISTERED AGENT FOR
         PERRYVILLE, MARYLAND                                  ACCOUNT NO.:
         PERRYVILLE TOWN HALL                                  NOT AVAILABLE
         515 BROAD STREET
         PERRYVILLE, MD 21903



3.2099   CITY OF PERRYVILLE, MARYLAND                             7/9/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND REGISTERED AGENT FOR
         PERRYVILLE, MARYLAND                                  ACCOUNT NO.:
         PERRYVILLE TOWN HALL                                  NOT AVAILABLE
         515 BROAD STREET - P.O. BOX 773
         PERRYVILLE, MD 21903



3.2100   CITY OF PERU, INDIANA                                    6/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY COUNCIL PRESIDENT, VICE
         CHAIRMAN OF THE CITY COUNCIL, CITY ATTORNEY           ACCOUNT NO.:
         CITY HALL                                             NOT AVAILABLE
         35 SOUTH BROADWAY
         PERU, IN 46970



3.2101   CITY OF PHILADELPHIA                                     1/17/2018                   Opioid Matter              UNDETERMINED
         SARAH SCHALMAN-BERGEN
         BERGER & MONTAGUE, P.C.                               ACCOUNT NO.:
         1622 LOCUST STREET                                    NOT AVAILABLE
         PHILADELPHIA, PA 19103



3.2102   CITY OF PHILADELPHIA                                     1/17/2018                   Opioid Matter              UNDETERMINED
         JON LAMBIRAS
         BERGER & MONTAGUE, P.C.                               ACCOUNT NO.:
         1622 LOCUST STREET                                    NOT AVAILABLE
         PHILADELPHIA, PA 19103



3.2103   CITY OF PHILADELPHIA                                     1/17/2018                   Opioid Matter              UNDETERMINED
         LAWRENCE J. LEDERER
         BERGER & MONTAGUE, P.C.                               ACCOUNT NO.:
         1622 LOCUST STREET                                    NOT AVAILABLE
         PHILADELPHIA, PA 19103



3.2104   CITY OF PHILADELPHIA                                     1/17/2018                   Opioid Matter              UNDETERMINED
         MICHAELA WALLIN
         BERGER & MONTAGUE, P.C.                               ACCOUNT NO.:
         1622 LOCUST STREET                                    NOT AVAILABLE
         PHILADELPHIA, PA 19103



3.2105   CITY OF PHILADELPHIA                                     1/17/2018                   Opioid Matter              UNDETERMINED
         CITY OF PHILADELPHIA LAW DEPARTMENT
         ELEANOR N. EWING                                      ACCOUNT NO.:
         CHIEF DEPUTY SOLICITOR - 1515 ARCH STREET, 17TH       NOT AVAILABLE
         FLOOR
         PHILADELPHIA, PA 19102




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Code                                                 And Account Number                          Claim

Litigation

3.2106   CITY OF PHILADELPHIA                                     1/17/2018                   Opioid Matter              UNDETERMINED
         CITY OF PHILADELPHIA LAW DEPARTMENT
         MARCEL S. PRATT                                       ACCOUNT NO.:
         CHAIR, LITIGATION GROUP - 1515 ARCH STREET, 17TH      NOT AVAILABLE
         FLOOR
         PHILADELPHIA, PA 19102



3.2107   CITY OF PHILADELPHIA                                     1/17/2018                   Opioid Matter              UNDETERMINED
         CITY OF PHILADELPHIA LAW DEPARTMENT
         BENJAMIN H. FIELD                                     ACCOUNT NO.:
         DEPUTY CITY SOLICITOR - 1515 ARCH STREET, 17TH        NOT AVAILABLE
         FLOOR
         PHILADELPHIA, PA 19102



3.2108   CITY OF PHILADELPHIA                                     1/17/2018                   Opioid Matter              UNDETERMINED
         NEIL MAKHIJA
         BERGER & MONTAGUE, P.C.                               ACCOUNT NO.:
         1622 LOCUST STREET                                    NOT AVAILABLE
         PHILADELPHIA, PA 19103



3.2109   CITY OF PHILADELPHIA                                     1/17/2018                   Opioid Matter              UNDETERMINED
         THOMAS S. BIEMER
         DILWORTH PAXSON, LLP                                  ACCOUNT NO.:
         1500 MARKET STREET - SUITE 3500E                      NOT AVAILABLE
         PHILADELPHIA, PA 19102



3.2110   CITY OF PHILADELPHIA                                     1/17/2018                   Opioid Matter              UNDETERMINED
         JOHN WESTON
         SACKS WESTON DIAMOND, LLC                             ACCOUNT NO.:
         1845 WALNUT STREET - SUITE 1600                       NOT AVAILABLE
         PHILADELPHIA, PA 19103



3.2111   CITY OF PHILADELPHIA                                     1/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: ANDREW SACKS
         SACKS WESTON DIAMOND, LLC                             ACCOUNT NO.:
         1845 WALNUT STREET - SUITE 1600                       NOT AVAILABLE
         PHILADELPHIA, PA 19103



3.2112   CITY OF PHILADELPHIA                                     1/17/2018                   Opioid Matter              UNDETERMINED
         DANIEL BERGER
         BERGER & MONTAGUE, P.C.                               ACCOUNT NO.:
         1622 LOCUST STREET                                    NOT AVAILABLE
         PHILADELPHIA, PA 19103



3.2113   CITY OF PHILADELPHIA                                     1/17/2018                   Opioid Matter              UNDETERMINED
         STEPHEN A. SHELLER
         SHELLER P.C.                                          ACCOUNT NO.:
         1528 WALNUT STREET - 4TH FLOOR                        NOT AVAILABLE
         PHILADELPHIA, PA 19102



3.2114   CITY OF PHILADELPHIA                                     1/17/2018                   Opioid Matter              UNDETERMINED
         LAUREN SHELLER
         SHELLER P.C.                                          ACCOUNT NO.:
         1528 WALNUT STREET - 4TH FLOOR                        NOT AVAILABLE
         PHILADELPHIA, PA 19102


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Code                                                 And Account Number                          Claim

Litigation

3.2115   CITY OF PHILADELPHIA                                     1/17/2018                   Opioid Matter              UNDETERMINED
         GREGORY B. HELLER
         YOUNG RICCHIUTI CALDWELL & HELLER, LLC                ACCOUNT NO.:
         1600 MARKET STREET - SUITE 3800                       NOT AVAILABLE
         PHILADELPHIA, PA 19103



3.2116   CITY OF PHILADELPHIA                                     1/17/2018                   Opioid Matter              UNDETERMINED
         DAVID KAIRYS
         1719 NORTH BROAD STREET                               ACCOUNT NO.:
         PHILADELPHIA, PA 19122                                NOT AVAILABLE



3.2117   CITY OF PHILADELPHIA                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         P.O. BOX 129                                          ACCOUNT NO.:
         PHILADELPHIA, TN 37846                                NOT AVAILABLE



3.2118   CITY OF PHILADELPHIA                                     1/17/2018                   Opioid Matter              UNDETERMINED
         JERRY R. DESIDERATO
         DILWORTH PAXSON, LLP                                  ACCOUNT NO.:
         1500 MARKET STREET - SUITE 3500E                      NOT AVAILABLE
         PHILADELPHIA, PA 19102



3.2119   CITY OF PHILADELPHIA                                     1/17/2018                   Opioid Matter              UNDETERMINED
         TYLER E. WREN
         BERGER & MONTAGUE, P.C.                               ACCOUNT NO.:
         1622 LOCUST STREET                                    NOT AVAILABLE
         PHILADELPHIA, PA 19103



3.2120   CITY OF PHILADELPHIA, MISS.                              3/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         525 MAIN STREET                                       ACCOUNT NO.:
         PHILADELPHIA, MS 39350                                NOT AVAILABLE



3.2121   CITY OF PHILADELPHIA, PA                                UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         1401 JOHN F KENNEDY BLVD                              ACCOUNT NO.:
         PHILADELPHIA, PA 19102                                NOT AVAILABLE



3.2122   CITY OF PHILADELPHIA, PA                                 1/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: THE MAYOR
         CITY HALL                                             ACCOUNT NO.:
         OFFICE 215                                            NOT AVAILABLE
         PHILADELPHIA, PA 19107



3.2123   CITY OF PHOENIX                                          4/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: THE CITY CLERK
         PHOENIX CITY HALL                                     ACCOUNT NO.:
         200 WEST WASHINGTON STREET - 15TH FLOOR               NOT AVAILABLE
         PHOENIX, AZ 85003




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Code                                                 And Account Number                          Claim

Litigation

3.2124   CITY OF PIGEON FORGE                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         103 BRUCE STREET                                      ACCOUNT NO.:
         PO BOX 5365                                           NOT AVAILABLE
         SEVIERVILLE, TN 37862



3.2125   CITY OF PIGEON FORGE                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         3221 RENA STREET                                      ACCOUNT NO.:
         PO BOX 1350                                           NOT AVAILABLE
         PEGEON FORGE, TN 37868-1350



3.2126   CITY OF PIKEVILLE                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         25 MUNICIPAL DRIVE                                    ACCOUNT NO.:
         PIKEVILLE, TN 37367                                   NOT AVAILABLE



3.2127   CITY OF PIKEVILLE                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         PO BOX 1025                                           ACCOUNT NO.:
         47 CITY HALL STREET                                   NOT AVAILABLE
         PIKEVILLE, TN 37367



3.2128   CITY OF PINE BLUFF, AR                                   3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         200 EAST 8TH AVENUE                                   ACCOUNT NO.:
         SUITE 201                                             NOT AVAILABLE
         PINE BLUFF, AR 71601



3.2129   CITY OF PINE BLUFF, AR                                   3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         200 EAST 8TH AVENUE                                   ACCOUNT NO.:
         PINE BLUFF, AR 71601                                  NOT AVAILABLE



3.2130   CITY OF PINELLAS PARK                                    6/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR OF THE CITY OF PINELLAS PARK
         5141 78TH AVENUE NORTH                                ACCOUNT NO.:
         PINELLAS PARK, FL 33781                               NOT AVAILABLE



3.2131   CITY OF PINEVILLE, LOUISIANA                             1/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         910 MAIN STREET                                       ACCOUNT NO.:
         PINEVILLE, LA 71360                                   NOT AVAILABLE



3.2132   CITY OF PIPPA PASSES                                     2/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY ATTORNEY
         PO BOX 194                                            ACCOUNT NO.:
         100 PURPOSE ROAD                                      NOT AVAILABLE
         PIPPA PASSES, KY 41844




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Code                                                  And Account Number                          Claim

Litigation

3.2133   CITY OF PITTSBURGH, PA                                    5/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         OFFICE OF MAYOR                                        ACCOUNT NO.:
         414 GRANT STREET, 5TH FLOOR                            NOT AVAILABLE
         PITTSBURGH, PA 15219



3.2134   CITY OF PITTSBURGH, PA                                    5/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         510 CITY-COUNTY BUILDING                               ACCOUNT NO.:
         414 GRANT STREET                                       NOT AVAILABLE
         PITTSBURGH, PA 15219



3.2135   CITY OF PITTSFIELD                                        3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK; TREASURER
         70 ALLEN STREET                                        ACCOUNT NO.:
         PITTSFIELD, MA 01201                                   NOT AVAILABLE



3.2136   CITY OF PLAINVIEW                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         1500 RIVERVIEW TOWER                                   ACCOUNT NO.:
         900 SOUTH GAY STREET - P.O. BOX 131                    NOT AVAILABLE
         KNOXVILLE, TN 37902



3.2137   CITY OF PLAINVIEW                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         1037 TAZEWELL PIKE                                     ACCOUNT NO.:
         P.O. BOX 37                                            NOT AVAILABLE
         LUTTRELL, TN 37779



3.2138   CITY OF PLATTSBURGH                                       1/7/2019                    Opioid Matter              UNDETERMINED
         JAMES R. PELUSO
         DREYER BOYAJIAN LAMARCHE SAFRANKO                      ACCOUNT NO.:
         75 COLUMBIA STREET                                     NOT AVAILABLE
         ALBANY, NY 12210



3.2139   CITY OF PLATTSBURGH, NY                                   1/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY CHAMBERLAIN, CITY CLERK AND
         CORPORATION COUNSEL                                    ACCOUNT NO.:
         41 CITY HALL PLACE                                     NOT AVAILABLE
         PLATTSBURGH, NY 12901



3.2140   CITY OF PLEASANT GROVE, AL                                3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                      ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                  NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.2141   CITY OF PLEASANT GROVE, AL                                3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND CHIEF EXECUTIVE OFFICER/MAYOR
         501 PARK ROAD                                          ACCOUNT NO.:
         PLEASANT GROVE, AL 35127                               NOT AVAILABLE




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Code                                                  And Account Number                          Claim

Litigation

3.2142   CITY OF POCATELLO                                         5/23/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MAYOR / CLERK
         911 NORTH 7TH AVENUE                                   ACCOUNT NO.:
         POCATELLO, ID 83201                                    NOT AVAILABLE



3.2143   CITY OF POCATTELLO                                        5/23/2019                   Opioid Matter              UNDETERMINED
         PO BOX 4169
         POCATELLO, ID 83205-4169                               ACCOUNT NO.:
                                                                NOT AVAILABLE


3.2144   CITY OF PONCA CITY                                        1/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR; CITY MANAGER; CITY CLERK;
         PO BOX 1450                                            ACCOUNT NO.:
         PONCA CITY, OK 74602                                   NOT AVAILABLE



3.2145   CITY OF PONCA CITY                                        1/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER, MAYOR, AND CITY CLERK
         516 EAST GRAND                                         ACCOUNT NO.:
         PONCA CITY, OK 74601                                   NOT AVAILABLE



3.2146   CITY OF POOLER, GEROGIA                                   3/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY MANAGER
         100 US HIGHWAY 80                                      ACCOUNT NO.:
         POOLER, GA 31322                                       NOT AVAILABLE



3.2147   CITY OF PORT ST. LUCIE, FLORIDA                           6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR OF THE CITY OF PORT ST. LUCIE, FLORIDA
         OFFICE OF THE MAYOR AND CITY COUNCIL                   ACCOUNT NO.:
         PORT ST. LUCIE CITY HALL - 121 SW PORT ST. LUCIE       NOT AVAILABLE
         BOULEVARD
         PORT SAINT LUCIE, FL 34984



3.2148   CITY OF PORTLAND                                          4/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER
         389 CONGRESS ST.                                       ACCOUNT NO.:
         ROOM 208                                               NOT AVAILABLE
         PORTLAND, ME 04101



3.2149   CITY OF PORTLAND                                          9/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY ATTORNEY
         321 NORTH MERIDIAN STREET                              ACCOUNT NO.:
         PORTLAND, IN 47371                                     NOT AVAILABLE



3.2150   CITY OF PORTLAND, OREGON                                  5/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         1221 SW 4TH AVENUE, ROOM 430                           ACCOUNT NO.:
         PORTLAND, OR 97204                                     NOT AVAILABLE



3.2151   CITY OF PORTLAND, OREGON                                  5/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY COMMISSIONER
         1221 SW 4TH AVENUE                                     ACCOUNT NO.:
         ROOM 220                                               NOT AVAILABLE
         PORTLAND, OR 97204



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Code                                                 And Account Number                          Claim

Litigation

3.2152   CITY OF PORTLAND, OREGON                                 5/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY COUNCIL CLERK
         1221 SW 4TH AVENUE                                    ACCOUNT NO.:
         ROOM 130                                              NOT AVAILABLE
         PORTLAND, OR 97204



3.2153   CITY OF PORTLAND, OREGON                                 5/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         1221 SW 4TH AVENUE                                    ACCOUNT NO.:
         ROOM 340                                              NOT AVAILABLE
         PORTLAND, OR 97204



3.2154   CITY OF PORTSMOUTH                                       8/16/2017                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER
         728 SECOND STREET                                     ACCOUNT NO.:
         PORTSMOUTH, OH 45662                                  NOT AVAILABLE



3.2155   CITY OF PORTSMOUTH                                       8/16/2017                   Opioid Matter              UNDETERMINED
         728 SECOND STREET
         ROOM 22                                               ACCOUNT NO.:
         PORTSMOUTH, OH 45662                                  NOT AVAILABLE



3.2156   CITY OF PORTSMOUTH, VA                                   1/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         801 CRAWFORD STREET                                   ACCOUNT NO.:
         6TH FLOOR                                             NOT AVAILABLE
         PORTSMOUTH, VA 23704



3.2157   CITY OF PORTSMOUTH, VA                                   1/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER; CITY ATTORNEY
         801 CRAWFORD STREET                                   ACCOUNT NO.:
         PORTSMOUTH, VA 23704                                  NOT AVAILABLE



3.2158   CITY OF PORTSMOUTH, VA                                   1/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         801 CRAWFORD STREET                                   ACCOUNT NO.:
         PORTSMOUTH, VA 23704                                  NOT AVAILABLE



3.2159   CITY OF PRESCOTT                                         4/23/2019                   Opioid Matter              UNDETERMINED
         J. CHRISTOPHER GOOCH
         FENNEMORE CRAIG, P.C.                                 ACCOUNT NO.:
         2394 EAST CAMELBACK ROAD                              NOT AVAILABLE
         PHOENIX, AZ 85016



3.2160   CITY OF PRESCOTT                                         4/23/2019                   Opioid Matter              UNDETERMINED
         JESSICA HERNANDEZ DIOTALEVI
         THEODORA ORINGHER P.C.                                ACCOUNT NO.:
         535 ANTON BOULEVARD - NINTH FLOOR                     NOT AVAILABLE
         COSTA MESA, CA 92626-7109




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Code                                                 And Account Number                          Claim

Litigation

3.2161   CITY OF PRESCOTT                                         4/23/2019                   Opioid Matter              UNDETERMINED
         KEVIN R. ROYER
         THEODORA ORINGHER P.C.                                ACCOUNT NO.:
         535 ANTON BOULEVARD - NINTH FLOOR                     NOT AVAILABLE
         COSTA MESA, CA 92626-7109



3.2162   CITY OF PRESCOTT                                         4/23/2019                   Opioid Matter              UNDETERMINED
         ATTN: ANNE ANDREWS
         ANDREWS THORNTON                                      ACCOUNT NO.:
         4701 VON KARMAN AVENUE - SUITE 300                    NOT AVAILABLE
         NEWPORT, CA 92660



3.2163   CITY OF PRESCOTT                                         4/23/2019                   Opioid Matter              UNDETERMINED
         ROB SIKO
         ANDREWS THORNTON                                      ACCOUNT NO.:
         4701 VON KARMAN AVENUE - SUITE 300                    NOT AVAILABLE
         NEWPORT, CA 92660



3.2164   CITY OF PRESCOTT                                         4/23/2019                   Opioid Matter              UNDETERMINED
         SCOTT DAY FREEMAN
         FENNEMORE CRAIG, P.C.                                 ACCOUNT NO.:
         2394 EAST CAMELBACK ROAD                              NOT AVAILABLE
         PHOENIX, AZ 85016



3.2165   CITY OF PRESCOTT                                         4/23/2019                   Opioid Matter              UNDETERMINED
         JEFFREY H. REEVES
         THEODORA ORINGHER P.C.                                ACCOUNT NO.:
         535 ANTON BOULEVARD - NINTH FLOOR                     NOT AVAILABLE
         COSTA MESA, CA 92626-7109



3.2166   CITY OF PRESCOTT                                         4/23/2019                   Opioid Matter              UNDETERMINED
         CHERYL PRIEST AINSWORTH
         THEODORA ORINGHER P.C.                                ACCOUNT NO.:
         535 ANTON BOULEVARD - NINTH FLOOR                     NOT AVAILABLE
         COSTA MESA, CA 92626-7109



3.2167   CITY OF PRESCOTT                                         4/23/2019                   Opioid Matter              UNDETERMINED
         JOHN P. KAITES
         FENNEMORE CRAIG, P.C.                                 ACCOUNT NO.:
         2394 EAST CAMELBACK ROAD - SUITE 600                  NOT AVAILABLE
         PHOENIX, AZ 85016



3.2168   CITY OF PRESCOTT                                         4/23/2019                   Opioid Matter              UNDETERMINED
         TODD C. THEODORA
         THEODORA ORINGHER P.C.                                ACCOUNT NO.:
         535 ANTON BOULEVARD - NINTH FLOOR                     NOT AVAILABLE
         COSTA MESA, CA 92626-7109



3.2169   CITY OF PRESCOTT, AZ                                     4/23/2019                   Opioid Matter              UNDETERMINED
         ATTN: THE CITY CLERK
         CITY HALL                                             ACCOUNT NO.:
         201 SOUTH CORTEZ STREET                               NOT AVAILABLE
         PRESCOTT, AZ 86303




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Code                                                 And Account Number                          Claim

Litigation

3.2170   CITY OF PRESCOTT, AZ                                     4/23/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER; MAYOR; CITY CLERK
         201 SOUTH CORTEZ                                      ACCOUNT NO.:
         PRESCOTT, AZ 86303                                    NOT AVAILABLE



3.2171   CITY OF PRESTON                                          1/25/2019                   Opioid Matter              UNDETERMINED
         ATTN: CLERK
         70 WEST ONEIDA                                        ACCOUNT NO.:
         PRESTON, ID 83263                                     NOT AVAILABLE



3.2172   CITY OF PRICHARD, ALABAMA                                5/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND CHIEF EXECUTIVE OFFICER/MAYOR
         216 EAST PRITCHARD AVENUE                             ACCOUNT NO.:
         PRITCHARD, AL 36610                                   NOT AVAILABLE



3.2173   CITY OF PRICHARD, ALABAMA                                5/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.2174   CITY OF PRINCETON, ILLINOIS                              5/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         CITY HALL                                             ACCOUNT NO.:
         2 MAIN STREET SOUTH                                   NOT AVAILABLE
         PRINCETON, IL 61356



3.2175   CITY OF PROCTOR, MINNESOTA                               8/9/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR; CITY ADMINISTRATOR; CITY COUNCIL
         100 PIONK DRIVE                                       ACCOUNT NO.:
         PROCTOR, MN 55810                                     NOT AVAILABLE



3.2176   CITY OF PROVIDENCE                                       6/28/2018                   Opioid Matter              UNDETERMINED
         PROVIDENCE CITY HALL
         25 DORRANCE STREET                                    ACCOUNT NO.:
          - ROOM 311                                           NOT AVAILABLE
         PROVIDENCE, RI 02903



3.2177   CITY OF PROVIDENCE                                       6/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         25 DORRANCE STREET                                    ACCOUNT NO.:
         PROVIDENCE, RI 02903                                  NOT AVAILABLE



3.2178   CITY OF PULASKI                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR & ALDERMAN
         203 SOUTH FIRST STREET                                ACCOUNT NO.:
         PO BOX 633                                            NOT AVAILABLE
         PULASKI, TN 38478-0633




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2179   CITY OF PULASKI                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY OF ATTORNEY
         134 NORTH SECOND STREET                               ACCOUNT NO.:
         PO BOX 288                                            NOT AVAILABLE
         PULASKI, TN 38478



3.2180   CITY OF RADFORD, VA                                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COMMONWEALTH'S ATTORNEY
         619 2ND STREET                                        ACCOUNT NO.:
         SUITE 140                                             NOT AVAILABLE
         RADFORD, VA 24141



3.2181   CITY OF RADFORD, VA                                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR OF RADFORD AND CITY MANAGER
         10 ROBERTSON STREET                                   ACCOUNT NO.:
         RADFORD, VA 24141                                     NOT AVAILABLE



3.2182   CITY OF RADFORD, VIRGINIA                               UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND THE CITY COUNCIL
         COUNCIL CHAMBERS                                      ACCOUNT NO.:
         10 ROBERTSON STREET                                   NOT AVAILABLE
         RADFORD, VA 24141



3.2183   CITY OF RAINSVILLE, ALABAMA                              3/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.2184   CITY OF RAINSVILLE, ALABAMA                              3/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         CITY HALL/MAYOR'S OFFICE                              ACCOUNT NO.:
         70 MC CURDY AVENUE S - PO BOX 309                     NOT AVAILABLE
         RAINSVILLE, AL 35986



3.2185   CITY OF RAVENNA, OHIO                                    7/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         210 PARK WAY                                          ACCOUNT NO.:
         P.O. BOX 1215                                         NOT AVAILABLE
         RAVENNA, OH 44266



3.2186   CITY OF RED BAY, ALABAMA                                 3/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.2187   CITY OF RED BAY, ALABAMA                                 3/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         203 4TH AVENUE SOUTH EAST                             ACCOUNT NO.:
         RED BAY, AL 35582                                     NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                         Claim

Litigation

3.2188   CITY OF RENO, NV                                         9/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         MAYOR'S OFFICE                                        ACCOUNT NO.:
         1 E. 1ST STREET                                       NOT AVAILABLE
         RENO, NV 89501



3.2189   CITY OF RENO, NV                                         9/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         CITY CLERK'S OFFICE                                   ACCOUNT NO.:
         1 E. FIRST STREET - 2ND FLOOR                         NOT AVAILABLE
         RENO, NV 89501



3.2190   CITY OF RENO, NV                                         9/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: AARON FORD
         STATE OF NEVADA ATTORNEY GENERAL                      ACCOUNT NO.:
         OLD SUPREME CT. BLDG. - 100 N. CARSON ST.             NOT AVAILABLE
         CARSON CITY, NV 89701



3.2191   CITY OF RENO, NV                                         9/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         P.O. BOX 7                                            ACCOUNT NO.:
         RENO, NV 89504                                        NOT AVAILABLE



3.2192   CITY OF REVERE                                           1/22/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK; TREASURER
         281 BROADWAY                                          ACCOUNT NO.:
         REVERE, MA 02151                                      NOT AVAILABLE



3.2193   CITY OF RICHMOND                                        10/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: CURTIS T. HILL, JR.
         STATE OF INDIANA ATTORNEY GENERAL                     ACCOUNT NO.:
         INDIANA GOVERNMENT CENTER SOUTH - 5TH FLOOR -         NOT AVAILABLE
         302 WEST WASHINGTON STREET
         INDIANAPOLIS, IN 46204



3.2194   CITY OF RICHMOND                                        10/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         50 NORTH 5TH STREET                                   ACCOUNT NO.:
         RICHMOND, IN 47374                                    NOT AVAILABLE



3.2195   CITY OF RICHMOND                                         5/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE CITY ATTORNEY
         900 EAST BROAD STREET                                 ACCOUNT NO.:
         RICHMOND, VA 23219                                    NOT AVAILABLE



3.2196   CITY OF RICHMOND HILL, GEORGIA                           3/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY MANAGER
         PO BOX 250                                            ACCOUNT NO.:
         40 RICHARD R. DAVIS DR.                               NOT AVAILABLE
         RICHMOND HILL, GA 31324




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2197   CITY OF RICHMOND HILL, GEORGIA                           3/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 250                                            ACCOUNT NO.:
         RICHMOND HILL, GA 31324                               NOT AVAILABLE



3.2198   CITY OF ROANOKE, VIRGINIA                               UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         215 CHURCH AVENUE SOUTHWEST                           ACCOUNT NO.:
         ROOM 464                                              NOT AVAILABLE
         ROANOKE, VA 24011



3.2199   CITY OF ROANOKE, VIRGINIA                               UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER
         215 CHURCH AVENUE SW, ROOM 364                        ACCOUNT NO.:
         ROANOKE, VA 24011                                     NOT AVAILABLE



3.2200   CITY OF ROANOKE, VIRGINIA                               UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         215 CHURCH AVENUE SOUTHWEST                           ACCOUNT NO.:
         ROOM 464                                              NOT AVAILABLE
         ROANOKE, VA 24011



3.2201   CITY OF ROCHESTER                                        9/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY CLERK, CITY MANAGER, CITY
         COUNCIL                                               ACCOUNT NO.:
         CITY HALL                                             NOT AVAILABLE
         31 WAKEFIELD STREET
         ROCHESTER, NH 03867



3.2202   CITY OF ROCHESTER, MINNESOTA                             5/20/2019                   Opioid Matter              UNDETERMINED
         ATTN:CITY CLERK
         OFFICE OF THE CITY CLERK                              ACCOUNT NO.:
         201 4TH STREET SE - ROOM 135                          NOT AVAILABLE
         ROCHESTER, MN 55904



3.2203   CITY OF ROCHESTER, MINNESOTA                             5/20/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         OFFICE OF THE MAYOR                                   ACCOUNT NO.:
         201 4TH STREET SE - ROOM 281                          NOT AVAILABLE
         ROCHESTER, MN 55904



3.2204   CITY OF ROCHESTER, NY                                    6/5/2019                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         CITY HALL                                             ACCOUNT NO.:
         30 CHURCH STREET - ROOM 301A                          NOT AVAILABLE
         ROCHESTER, NY 14614-1265



3.2205   CITY OF ROCHESTER, NY                                    6/5/2019                    Opioid Matter              UNDETERMINED
         ATTN: DIRECTOR OF FINANCE
         CITY HALL                                             ACCOUNT NO.:
         30 CHURCH STREET - ROOM 109A                          NOT AVAILABLE
         ROCHESTER, NY 14614-1265




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Creditor's Name, Mailing Address Including Zip        Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                   And Account Number                          Claim

Litigation

3.2206   CITY OF ROCHESTER, NY                                      6/5/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         CITY HALL                                               ACCOUNT NO.:
         OFFICE OF THE MAYOR - 30 CHURCH ST., ROOM 307A          NOT AVAILABLE
         ROCHESTER, NY 14614-1265



3.2207   CITY OF ROCHESTER, NY                                      6/5/2019                    Opioid Matter              UNDETERMINED
         ATTN: CITY TREASURER
         CITY HALL                                               ACCOUNT NO.:
         30 CHURCH STREET - ROOM 111A                            NOT AVAILABLE
         ROCHESTER, NY 14614-1265



3.2208   CITY OF ROCKFORD, AN ILLINOIS MUNICIPAL                    3/12/2018                   Opioid Matter              UNDETERMINED
         CORPORATION
         404 ELM STREET                                          ACCOUNT NO.:
         SUITE 104                                               NOT AVAILABLE
         ROCKFORD, IL 61101



3.2209   CITY OF ROCKFORD, AN ILLINOIS MUNICIPAL                    3/12/2018                   Opioid Matter              UNDETERMINED
         CORPORATION
         ATTN: MAYOR AND CITY CLERK                              ACCOUNT NO.:
         425 EAST STATE STREET                                   NOT AVAILABLE
         ROCKFORD, IL 61104



3.2210   CITY OF ROCKLAND, STATE OF MAINE                           5/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER, CITY CLERK
         270 PLEASANT ST                                         ACCOUNT NO.:
         ROCKLAND, ME 04841                                      NOT AVAILABLE



3.2211   CITY OF ROCKWOOD                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         110 NORTH CHAMBERLAIN AVENUE                            ACCOUNT NO.:
         ROCKWOOD, TN 37854                                      NOT AVAILABLE



3.2212   CITY OF ROCKY TOP                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         GENTRY, TIPTON, KIZER & MCLEMORE, PC                    ACCOUNT NO.:
         900 SOUTH GAY STREET, SUITE 2300 - P.O. BOX 1990        NOT AVAILABLE
         KNOXVILLE, TN 37901



3.2213   CITY OF ROCKY TOP                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         195 SOUTH MAIN STREET                                   ACCOUNT NO.:
         P.O. BOX 66                                             NOT AVAILABLE
         ROCKY TOP, TN 37769



3.2214   CITY OF ROGERS, AR                                         3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         ROGERS CITY HALL                                        ACCOUNT NO.:
         301 WEST CHESTNUT STREET                                NOT AVAILABLE
         ROGERS, AR 72756




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Creditor's Name, Mailing Address Including Zip        Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                   And Account Number                          Claim

Litigation

3.2215   CITY OF ROME                                               3/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR, MAYOR PRO TEM AND CITY MANAGER
         601 BROAD STREET                                        ACCOUNT NO.:
         CITY HALL - PO BOX 1433                                 NOT AVAILABLE
         ROME, GA 30162-1433



3.2216   CITY OF ROME, NEW YORK                                     3/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR: CITY CLERK; CORPORATION COUNSEL;
         CITY TREASURER                                          ACCOUNT NO.:
         ROME CITY HALL                                          NOT AVAILABLE
         198 NORTH WASHINGTON STREET
         ROME, NY 13440



3.2217   CITY OF ROMULUS                                            9/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE MAYOR OR CITY CLERK'S OFFICE
         11111 WAYNE ROAD                                        ACCOUNT NO.:
         ROMULUS, MI 48174                                       NOT AVAILABLE



3.2218   CITY OF RUSSELLVILLE, ALABAMA                              3/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                       ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                   NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.2219   CITY OF RUSSELLVILLE, ALABAMA                              3/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         304 NORTH JACKSON AVENUE                                ACCOUNT NO.:
         P. O. BOX 1000 - RUSSELLVILLE CITY HALL                 NOT AVAILABLE
         RUSSELLVILLE, AL 35653



3.2220   CITY OF SACO                                               2/1/2019                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK, TREASURER
         SACO CITY HALL                                          ACCOUNT NO.:
         SACO, ME 04072-1538                                     NOT AVAILABLE



3.2221   CITY OF SACO                                               2/1/2019                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK, TREASURER
         SACO CITY HALL                                          ACCOUNT NO.:
         300 MAIN STREET                                         NOT AVAILABLE
         SACO, ME 04072-1538



3.2222   CITY OF SAINT MARTINVILLE                                 12/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR OF THE CITY OF SAINT MARTINVILLE
         PO BOX 379                                              ACCOUNT NO.:
         ST. MARTINVILLE, LA 70582                               NOT AVAILABLE



3.2223   CITY OF SALEM                                              12/3/2018                   Opioid Matter              UNDETERMINED
         ATTN: ARTHUR PAUL KRIEGER, ESQ.
         ANDERSON & KRIEGER LLP                                  ACCOUNT NO.:
         50 MILK STREET - 21ST FLOOR                             NOT AVAILABLE
         BOSTON, MA 02109




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Code                                                 And Account Number                          Claim

Litigation

3.2224   CITY OF SALEM                                            12/3/2018                   Opioid Matter              UNDETERMINED
         CHRISTINA MARSHALL, ESQ.
         ANDERSON & KRIEGER LLP                                ACCOUNT NO.:
         50 MILK STREET - 21ST FLOOR                           NOT AVAILABLE
         BOSTON, MA 02109



3.2225   CITY OF SALEM                                            12/3/2018                   Opioid Matter              UNDETERMINED
         JUDITH SCOFNICK, ESQ.
         SCOTT + SCOTT ATTORNEYS AT LAW LLP                    ACCOUNT NO.:
         THE HELMSLEY BUILDING - 230 PARK AVENUE, 17TH         NOT AVAILABLE
         FLOOR
         NEW YORK, NY 10169



3.2226   CITY OF SALEM, MA                                        12/3/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         SALEM CITY HALL                                       ACCOUNT NO.:
         93 WASHINGTON STREET                                  NOT AVAILABLE
         SALEM, MA 01970



3.2227   CITY OF SALEM, MA                                        12/3/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         98 WASHINGTON STREET, 3RD FLOOR                       ACCOUNT NO.:
         SALEM, MA 01970                                       NOT AVAILABLE



3.2228   CITY OF SALEM, VIRGINIA                                 UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER
         CITY HALL                                             ACCOUNT NO.:
         114 NORTH BROAD STREET                                NOT AVAILABLE
         SALEM, VA 24153



3.2229   CITY OF SAN CLEMENTE, AND THE PEOPLE OF THE              3/28/2019                   Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA, BY AND THROUGH SAN
         CLEMENTE CITY ATTORNEY SCOTT C. SMITH                 ACCOUNT NO.:
         ATTN: CITY ATTORNEY                                   NOT AVAILABLE
         BEST, BEST & KRIEGER LLP
         18101 VON KARMAN AVENUE - SUITE 1000
         IRVINE, CA 92612



3.2230   CITY OF SAN CLEMENTE, AND THE PEOPLE OF THE              3/28/2019                   Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA, BY AND THROUGH SAN
         CLEMENTE CITY ATTORNEY SCOTT C. SMITH                 ACCOUNT NO.:
         ATTN: MAYOR PRO TEM                                   NOT AVAILABLE
         SAM CLEMENTE CITY HALL
         910 CALLE NEGOCIO
         SAN CLEMENTE, CA 92673



3.2231   CITY OF SAN CLEMENTE, CA                                 3/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         910 CALLE NEGOCIO                                     ACCOUNT NO.:
         SAN CLEMENTE, CA 92673                                NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.2232   CITY OF SAN JOSE, A POLITICAL SUBDIVISION OF             8/2/2019                    Opioid Matter              UNDETERMINED
         CALIFORNIA, THE PEOPLE OF THE STATE OF
         CALIFORNIA, ACTING BY AND THROUGH THE CITY OF         ACCOUNT NO.:
         SAN JOSE                                              NOT AVAILABLE
         ATTN: CITY CLERK OF SAN JOSE
         200 EAST SANTA CLARA STREET
         SAN JOSE, CA 95113



3.2233   CITY OF SANDUSKY                                         6/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER, LAW DEPARTMENT
         240 COLUMBUS AVENUE                                   ACCOUNT NO.:
         SANDUSKY, OH 44870                                    NOT AVAILABLE



3.2234   CITY OF SANFORD                                          2/1/2019                    Opioid Matter              UNDETERMINED
         ATTN: TREASURER, CITY CLERK
         919 MAIN STREET                                       ACCOUNT NO.:
         SANFORD, ME 04073                                     NOT AVAILABLE



3.2235   CITY OF SANFORD                                          2/1/2019                    Opioid Matter              UNDETERMINED
         ATTN: TREASURER, CITY CLERK
         919 MAIN STREET                                       ACCOUNT NO.:
         SANFORD, ME 04073                                     NOT AVAILABLE



3.2236   CITY OF SANFORD, FLORIDA                                 6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR OF THE CITY OF SANFORD
         PO BOX 1788                                           ACCOUNT NO.:
         SANFORD, FL 32772-1788                                NOT AVAILABLE



3.2237   CITY OF SANFORD, FLORIDA                                 6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR OF THE CITY OF SANFORD
         300 N. PARK AVE                                       ACCOUNT NO.:
         SANFORD, FL 32771                                     NOT AVAILABLE



3.2238   CITY OF SANTA ANA, AND THE PEOPLE OF THE STATE           3/28/2019                   Opioid Matter              UNDETERMINED
         OF CALIFORNIA, BY AND THROUGH SANTA ANA CITY
         ATTORNEY SONIA R. CARVALHO                            ACCOUNT NO.:
         ATTN: MAYOR                                           NOT AVAILABLE
         20 CIVIC CENTER PLAZA
         P.O. BOX 1988, M31
         SANTA ANA, CA 92701



3.2239   CITY OF SANTA ANA, AND THE PEOPLE OF THE STATE           3/28/2019                   Opioid Matter              UNDETERMINED
         OF CALIFORNIA, BY AND THROUGH SANTA ANA CITY
         ATTORNEY SONIA R. CARVALHO                            ACCOUNT NO.:
         ATTN: CITY ATTORNEY                                   NOT AVAILABLE
         20 CIVIC CENTER PLAZA
         SANTA ANA, CA 92701



3.2240   CITY OF SANTA ANA, CA                                    3/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         20 CIVIC CENTER PLAZA                                 ACCOUNT NO.:
         SANTA ANA, CA 92702                                   NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2241   CITY OF SARASOTA                                         4/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR OF THE CITY OF SARASOTA
         CITY HALL                                             ACCOUNT NO.:
         1565 1ST STREET                                       NOT AVAILABLE
         SARASOTA, FL 34236



3.2242   CITY OF SAULT STE. MARIE, MICHIGAN                       8/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         300 GOLF COURT                                        ACCOUNT NO.:
         SAULT STE. MARIE, MI 49783                            NOT AVAILABLE



3.2243   CITY OF SAULT STE. MARIE, MICHIGAN                       8/6/2018                    Opioid Matter              UNDETERMINED
         225 EAST PORTAGE AVE
         SAULT STE. MARIE, MI 49783                            ACCOUNT NO.:
                                                               NOT AVAILABLE


3.2244   CITY OF SCHENECTADY                                      1/7/2019                    Opioid Matter              UNDETERMINED
         JAMES R. PELUSO
         DREYER BOYAJIAN LAMARCHE SAFRANKO                     ACCOUNT NO.:
         DREYER BOYAJIAN LAMARCHE SAFRANKO                     NOT AVAILABLE
         ALBANY, NY 12210



3.2245   CITY OF SCHENECTADY, NY                                  1/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         105 JAY STREET                                        ACCOUNT NO.:
         ROOM 107                                              NOT AVAILABLE
         SCHENECTADY, NY 12305



3.2246   CITY OF SCHENECTADY, NY                                  1/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: CORPORATION COUNSEL
         105 JAY STREET                                        ACCOUNT NO.:
         ROOM 201                                              NOT AVAILABLE
         SCHENECTADY, NY 12305



3.2247   CITY OF SCHENECTADY, NY                                  1/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         105 JAY STREET                                        ACCOUNT NO.:
         ROOM 111                                              NOT AVAILABLE
         SCHENECTADY, NY 12305



3.2248   CITY OF SCHENECTADY, NY                                  1/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: COMMISSIONER OF FINANCE & ADMINISTRATION
         105 JAY STREET                                        ACCOUNT NO.:
         ROOM 103                                              NOT AVAILABLE
         SCHENECTADY, NY 12305



3.2249   CITY OF SCOTTSBORO, ALABAMA                              6/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152




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Code                                                 And Account Number                          Claim

Litigation

3.2250   CITY OF SCOTTSBORO, ALABAMA                              6/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR OF SCOTTSBORO AND CITY CLERK
         CITY HALL                                             ACCOUNT NO.:
         316 S BROAD STREET                                    NOT AVAILABLE
         SCOTTSBORO, AL 35768



3.2251   CITY OF SEAFORD, A MUNICIPAL CORPORATION OF THE          6/14/2019                   Opioid Matter              UNDETERMINED
         STATE OF DELAWARE
         ATTN: CITY MANAGER; MAYOR                             ACCOUNT NO.:
         414 HIGH STREET                                       NOT AVAILABLE
         SEAFOOD, DE 19973



3.2252   CITY OF SEATTLE                                          9/28/2017                   Opioid Matter              UNDETERMINED
         600 4TH AVENUE
         FLOOR 3                                               ACCOUNT NO.:
         SEATTLE, WA 98104                                     NOT AVAILABLE



3.2253   CITY OF SEATTLE                                          9/28/2017                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE MAYOR
         600 4TH AVENUE                                        ACCOUNT NO.:
         7TH FLOOR                                             NOT AVAILABLE
         SEATTLE, WA 98104



3.2254   CITY OF SEDRO WOOLLEY                                    1/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         325 METCALF STREET                                    ACCOUNT NO.:
         SEDRO-WOOLLEY, WA 98284                               NOT AVAILABLE



3.2255   CITY OF SELMA, ALABAMA                                   2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.2256   CITY OF SELMA, ALABAMA                                   2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CLERK AND CHIEF EXECUTIVE OFFICER/MAYOR
         222 BROAD ST.                                         ACCOUNT NO.:
         P. O. BOX 450                                         NOT AVAILABLE
         SELMA, AL 36702



3.2257   CITY OF SEMINOLE                                         7/30/2019                   Opioid Matter              UNDETERMINED
         HARRISON C. LUJAN
         FULMER SILL LAW GROUP                                 ACCOUNT NO.:
         P.O. BOX 2448 - 1101 NORTH BROADWAY AVENUE, SUITE     NOT AVAILABLE
         102
         OKLAHOMA CITY, OK 73103



3.2258   CITY OF SEMINOLE                                         7/30/2019                   Opioid Matter              UNDETERMINED
         MATTHEW J. SILL
         FULMER SILL LAW GROUP                                 ACCOUNT NO.:
         P.O. BOX 2448 - 1101 NORTH BROADWAY AVENUE, SUITE     NOT AVAILABLE
         102
         OKLAHOMA CITY, OK 73103




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2259   CITY OF SEMINOLE                                         7/30/2019                   Opioid Matter              UNDETERMINED
         TODD A. COURT
         MCAFEE & TAFT A PROFESSIONAL CORPORATION              ACCOUNT NO.:
         10TH FLOOR, TWO LEADERSHIP SQUARE - 211 NORTH         NOT AVAILABLE
         ROBINSON
         OKLAHOMA CITY, OK 73102-7103



3.2260   CITY OF SEMINOLE                                         7/30/2019                   Opioid Matter              UNDETERMINED
         TONY G. PUCKETT
         MCAFEE & TAFT A PROFESSIONAL CORPORATION              ACCOUNT NO.:
         10TH FLOOR, TWO LEADERSHIP SQUARE - 211 NORTH         NOT AVAILABLE
         ROBINSON
         OKLAHOMA CITY, OK 73102-7103



3.2261   CITY OF SEMINOLE, OK                                     7/30/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         401 N MAIN ST.                                        ACCOUNT NO.:
         SEMINOLE, OK 74868                                    NOT AVAILABLE



3.2262   CITY OF SESSER                                           7/24/2019                   Opioid Matter              UNDETERMINED
         KASIF KWOWAJA
         THE KHOWAJA LAW FIRM                                  ACCOUNT NO.:
         70 EAST LAKE STREET - SUITE 1220                      NOT AVAILABLE
         CHICAGO, IL 60601



3.2263   CITY OF SESSER                                           7/24/2019                   Opioid Matter              UNDETERMINED
         FRANK CASTIGLIONE
         THE KHOWAJA LAW FIRM                                  ACCOUNT NO.:
         70 EAST LAKE STREET - SUITE 1220                      NOT AVAILABLE
         CHICAGO, IL 60601



3.2264   CITY OF SESSER                                           7/24/2019                   Opioid Matter              UNDETERMINED
         JENNIFER K. SCIFO
         KRALOVEC, JAMBOIS & SCHWARTZ                          ACCOUNT NO.:
         60 WEST RANDOLPH STREET - 4TH FLOOR                   NOT AVAILABLE
         CHICAGO, IL 60601



3.2265   CITY OF SESSER                                           7/24/2019                   Opioid Matter              UNDETERMINED
         ATTN: ALLEN N. SCHWARTZ
         KRALOVEC, JAMBOIS & SCHWARTZ                          ACCOUNT NO.:
         60 WEST RANDOLPH STREET - 4TH FLOOR                   NOT AVAILABLE
         CHICAGO, IL 60601



3.2266   CITY OF SESSER, IL                                       7/24/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         P.O. BOX 517                                          ACCOUNT NO.:
         SESSOR, IL 62884                                      NOT AVAILABLE



3.2267   CITY OF SESSER, IL                                       7/24/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         CITY HALL                                             ACCOUNT NO.:
         302 WEST FRANKLIN ST                                  NOT AVAILABLE
         SESSER, IL 62884




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2268   CITY OF SEVEN HILLS, OHIO                                6/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         7325 SUMMITVIEW DRIVE                                 ACCOUNT NO.:
         SEVEN HILLS, OH 44131                                 NOT AVAILABLE



3.2269   CITY OF SEVEN HILLS, OHIO                                6/10/2019                   Opioid Matter              UNDETERMINED
         3479 JASMINE DRIVE
         SEVEN HILLS, OH 44131                                 ACCOUNT NO.:
                                                               NOT AVAILABLE


3.2270   CITY OF SEVIERVILLE                                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         248 BRUCE STREET                                      ACCOUNT NO.:
         SUITE 2                                               NOT AVAILABLE
         SEVIERVILLE, TN 37862



3.2271   CITY OF SEVIERVILLE                                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         120 GARY WADE BLVD.,                                  ACCOUNT NO.:
         PO BOX 5500                                           NOT AVAILABLE
         SEVIERVILLE, TN 37862



3.2272   CITY OF SEYMOUR, INDIANA                                 5/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         301-309 NORTH CHESTNUT STREET                         ACCOUNT NO.:
         SEYMOUR, IN 47274                                     NOT AVAILABLE



3.2273   CITY OF SEYMOUR, INDIANA                                 5/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: CURTIS T. HILL, JR.
         STATE OF INDIANA ATTORNEY GENERAL                     ACCOUNT NO.:
         INDIANA GOVERNMENT CENTER SOUTH - 5TH FLOOR -         NOT AVAILABLE
         302 WEST WASHINGTON STREET
         INDIANAPOLIS, IN 46204



3.2274   CITY OF SHANNON, MISSISSIPPI                             3/1/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         1426 NORTH STREET                                     ACCOUNT NO.:
         SHANNON, MS 38868                                     NOT AVAILABLE



3.2275   CITY OF SHAWNEE, OK                                      1/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER, MAYOR AND CITY COUNCIL OF
         SHAWNEE                                               ACCOUNT NO.:
         CITY HALL                                             NOT AVAILABLE
         16 WEST 9TH STREET
         SHAWNEE, OK 74801



3.2276   CITY OF SHEFFIELD, ALABAMA                               3/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2277   CITY OF SHEFFIELD, ALABAMA                               3/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         600 NORTH MONTGOMERY AVENUE                           ACCOUNT NO.:
         SHEFFIELD, AL 35660                                   NOT AVAILABLE



3.2278   CITY OF SHELBYVILLE                                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         201 NORTH SPRING STREET                               ACCOUNT NO.:
         SHELBYVILLE, TN 37160                                 NOT AVAILABLE



3.2279   CITY OF SHELBYVILLE, INDIANA                             7/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: CURTIS T. HILL, JR.
         STATE OF INDIANA ATTORNEY GENERAL                     ACCOUNT NO.:
         INDIANA GOVERNMENT CENTER SOUTH - 5TH FLOOR -         NOT AVAILABLE
         302 WEST WASHINGTON STREET
         INDIANAPOLIS, IN 46204



3.2280   CITY OF SHELBYVILLE, INDIANA                             7/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         44 WEST WASHINGTON STREET                             ACCOUNT NO.:
         SHELBYVILLE, IN 46176                                 NOT AVAILABLE



3.2281   CITY OF SHELTON                                          1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: ANDREA BIERSTEIN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.2282   CITY OF SHELTON                                          1/9/2018                    Opioid Matter              UNDETERMINED
         CHARLES S. HELLMAN
         1177 AVENUE OF THE AMERICAS                           ACCOUNT NO.:
         44TH FLOOR                                            NOT AVAILABLE
         NEW YORK, NY 10036



3.2283   CITY OF SHELTON                                          1/9/2018                    Opioid Matter              UNDETERMINED
         JAMES E. HARTLEY JR.
         500 CHASE PARKWAY                                     ACCOUNT NO.:
         WATERBURY, CT 06708                                   NOT AVAILABLE



3.2284   CITY OF SHELTON                                          1/9/2018                    Opioid Matter              UNDETERMINED
         SARAH S. BURNS
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002



3.2285   CITY OF SHELTON                                          1/9/2018                    Opioid Matter              UNDETERMINED
         THOMAS SHERIDAN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016




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Code                                                 And Account Number                          Claim

Litigation

3.2286   CITY OF SHELTON                                          1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         54 HILL STREET – FIRST FLOOR                          ACCOUNT NO.:
         SHELTON, CT 06484                                     NOT AVAILABLE



3.2287   CITY OF SHELTON                                          1/9/2018                    Opioid Matter              UNDETERMINED
         PAUL J. HANLY JR.
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE - 7TH FLOOR                        NOT AVAILABLE
         NEW YORK, NY 10016



3.2288   CITY OF SHELTON                                          1/9/2018                    Opioid Matter              UNDETERMINED
         400 ORANGE STREET
         CLENDENEN & SHEA LLC                                  ACCOUNT NO.:
         NEW HAVEN, CT 06511                                   NOT AVAILABLE



3.2289   CITY OF SHERIDAN                                         6/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY MANAGER, CITY CLERK
         4101 SOUTH FEDERAL BOULEVARD                          ACCOUNT NO.:
         SHERIDAN, CO 80110                                    NOT AVAILABLE



3.2290   CITY OF SHERIDAN                                         6/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: PHIL WEISER
         STATE OF COLORADO ATTORNEY GENERAL                    ACCOUNT NO.:
         RALPH L. CARR COLORADO JUDICIAL CENTER - 1300         NOT AVAILABLE
         BROADWAY, 10TH FLOOR
         DENVER, CO 80203



3.2291   CITY OF SHERWOOD, AR                                     3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         2199 EAST KIEHL AVENUE                                ACCOUNT NO.:
         SHERWOOD, AR 72120                                    NOT AVAILABLE



3.2292   CITY OF SHREVEPORT                                      12/19/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         505 TRAVIS STREET                                     ACCOUNT NO.:
         SUITE 200                                             NOT AVAILABLE
         SHREVEPORT, LA 71101



3.2293   CITY OF SLIDELL                                          6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR OF SLIDELL
         2055 SECOND STREET                                    ACCOUNT NO.:
         SLIDELL, LA 70460                                     NOT AVAILABLE



3.2294   CITY OF SLIDELL                                          6/12/2019                   Opioid Matter              UNDETERMINED
         2045 SECOND STREET, SUITE 304
         SLIDELL, LA 70458                                     ACCOUNT NO.:
                                                               NOT AVAILABLE


3.2295   CITY OF SLIDELL                                          6/12/2019                   Opioid Matter              UNDETERMINED
         PO BOX 828
         SLIDELL, LA 70459                                     ACCOUNT NO.:
                                                               NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.2296   CITY OF SLIDELL                                          6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         2055 SECOND STREET                                    ACCOUNT NO.:
         SLIDELL, LA 70460                                     NOT AVAILABLE



3.2297   CITY OF SMITHVILLE                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND BOARD OF ALDERMEN
         104 EAST MAIN STREET                                  ACCOUNT NO.:
         SMITHVILLE, TN 37166                                  NOT AVAILABLE



3.2298   CITY OF SMITHVILLE                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         111 WEST MAIN STREET                                  ACCOUNT NO.:
         SMITHVILLE, TN 37116                                  NOT AVAILABLE



3.2299   CITY OF SOMERVILLE                                       1/30/2019                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         CITY HALL                                             ACCOUNT NO.:
         93 HIGHLAND AVENUE                                    NOT AVAILABLE
         SOMERVILLE, MA 02143



3.2300   CITY OF SOMERVILLE                                       1/30/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         CITY HALL                                             ACCOUNT NO.:
         93 HIGHLAND AVENUE - FIRST FLOOR                      NOT AVAILABLE
         SOMERVILLE, MA 02143



3.2301   CITY OF SOUTH BEND, INDIANA                              3/22/2018                   Opioid Matter              UNDETERMINED
         ATTN: CURTIS T. HILL, JR.
         STATE OF INDIANA ATTORNEY GENERAL                     ACCOUNT NO.:
         INDIANA GOVERNMENT CENTER SOUTH - 5TH FLOOR -         NOT AVAILABLE
         302 WEST WASHINGTON STREET
         INDIANAPOLIS, IN 46204



3.2302   CITY OF SOUTH BEND, INDIANA                              3/22/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         227 WEST JEFFERSON BOULEVARD                          ACCOUNT NO.:
         SUITE 1400 N                                          NOT AVAILABLE
         SOUTH BEND, IN 46601



3.2303   CITY OF SOUTH PITTSBURG                                 UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         204 W. 3RD STREET                                     ACCOUNT NO.:
         SOUTH PITTSBURG, TN 37380                             NOT AVAILABLE



3.2304   CITY OF SOUTH SIOUX CITY, NEBRASKA, A MUNICIPAL          6/5/2019                    Opioid Matter              UNDETERMINED
         CORPORATION
         ATTN: MAYOR AND CITY CLERK                            ACCOUNT NO.:
         1615 1ST AVENUE                                       NOT AVAILABLE
         SOUTH SIOUX CITY, NE 68776




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Code                                                 And Account Number                          Claim

Litigation

3.2305   CITY OF SPARTA                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         6 LIBERTY SQUARE                                      ACCOUNT NO.:
         PO BOX 30                                             NOT AVAILABLE
         SPARTA, TN 38583



3.2306   CITY OF SPARTA                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         6 LIBERTY SQUARE                                      ACCOUNT NO.:
         PO BOX 30                                             NOT AVAILABLE
         SPARTA, TN 38583



3.2307   CITY OF SPRING HILL                                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         199 TOWN CENTER PARKWAY                               ACCOUNT NO.:
         PO BOX 789                                            NOT AVAILABLE
         SPRING HILL, TN 37174



3.2308   CITY OF SPRING HILL                                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         809 SOUTH MAIN STREET                                 ACCOUNT NO.:
         2ND FLOOR                                             NOT AVAILABLE
         COLUMBIA, TN 38401



3.2309   CITY OF SPRINGDALE, AR                                   3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         201 SPRING STREET                                     ACCOUNT NO.:
         SPRINGDALE, AR 72764                                  NOT AVAILABLE



3.2310   CITY OF SPRINGFIELD, GEORGIA                             3/27/2019                   Opioid Matter              UNDETERMINED
         130 S. LAUREL STREET
         PO BOX 1                                              ACCOUNT NO.:
         SPRINGFIELD, GA 31329                                 NOT AVAILABLE



3.2311   CITY OF SPRINGFIELD, GEORGIA                             3/27/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND COUNCIL MEMBERS, CITY CLERK
         AND MAYOR                                             ACCOUNT NO.:
         130 S. LAUREL STREET                                  NOT AVAILABLE
         SPRINGFIELD, GA 31329



3.2312   CITY OF ST. ALBANS, VT                                   6/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK & CITY MANAGER
         100 NORTH STREET                                      ACCOUNT NO.:
         P. O. BOX 867                                         NOT AVAILABLE
         ST. ALBANS, VT 05478-0867



3.2313   CITY OF ST. AUGUSTINE, FLORIDA                           6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR OF THE CITY OF ST. AUGUSTINE
         CITY HALL                                             ACCOUNT NO.:
         75 KING ST. - PO BOX 210                              NOT AVAILABLE
         CITY OF ST. AUGUSTINE, FL 32085




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Code                                                 And Account Number                          Claim

Litigation

3.2314   CITY OF ST. JOSEPH                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         409 NORTH MAIN STREET                                 ACCOUNT NO.:
         PO BOX 37                                             NOT AVAILABLE
         ST. JOSEPH, TN 38481



3.2315   CITY OF ST. JOSEPH                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         PO BOX 399                                            ACCOUNT NO.:
         LAWRENCEBURG, TN 38464                                NOT AVAILABLE



3.2316   CITY OF ST. JOSEPH, MISSOURI                             6/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR OR CITY CLERK
         1100 FREDERICK AVENUE                                 ACCOUNT NO.:
         ST. JOSEPH, MO 64501                                  NOT AVAILABLE



3.2317   CITY OF ST. JOSEPH, MISSOURI                             6/13/2018                   Opioid Matter              UNDETERMINED
         1100 FREDERICK AVENUE
         ROOM 307                                              ACCOUNT NO.:
         ST. JOSEPH, MO 64501                                  NOT AVAILABLE



3.2318   CITY OF ST. LOUIS                                        11/5/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         1200 MARKET STREET                                    ACCOUNT NO.:
         CITY HALL, ROOM 200                                   NOT AVAILABLE
         ST. LOUIS, MO 63103



3.2319   CITY OF ST. LOUIS                                        11/5/2018                   Opioid Matter              UNDETERMINED
         1200 MARKET STREET
         CITY HALL, ROOM 230                                   ACCOUNT NO.:
         ST. LOUIS, MO 63103                                   NOT AVAILABLE



3.2320   CITY OF ST. LOUIS                                        11/5/2018                   Opioid Matter              UNDETERMINED
         CIVIL COURTS BUILDING
         10 NORTH TUCKER BOULEVARD                             ACCOUNT NO.:
         ST. LOUIS, MO 63101                                   NOT AVAILABLE



3.2321   CITY OF ST. MARY'S                                       9/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY MANAGER, RECORDER, CLERK,
         TREASURER, AND COUNCIL                                ACCOUNT NO.:
         418 SECOND STREET                                     NOT AVAILABLE
         ST. MARYS, WV 26170



3.2322   CITY OF ST. MARY'S OHIO                                  6/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR, LAW DIRECTOR
         101 EAST SPRING STREET                                ACCOUNT NO.:
         ST. MARYS, OH 45885                                   NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.2323   CITY OF ST. MARY'S, WV                                   5/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY MANAGER AND CITY COUNCIL
         MEMBER                                                ACCOUNT NO.:
         CITY MAYOR                                            NOT AVAILABLE
         418 SECOND STREET
         ST. MARY'S, WV 26170



3.2324   CITY OF ST. PAUL, MINNESOTA                              6/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CLERK
         15 KELLOGG BLVD. WEST                                 ACCOUNT NO.:
         SAINT PAUL, MN 55102                                  NOT AVAILABLE



3.2325   CITY OF STARKVILLE, MISSISSIPPI                          3/1/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         110 WEST MAIN STREET                                  ACCOUNT NO.:
         STARKVILLE, MS 39759                                  NOT AVAILABLE



3.2326   CITY OF STERLING HEIGHTS, MI                             4/24/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         12900 HALL ROAD                                       ACCOUNT NO.:
         SUITE 350                                             NOT AVAILABLE
         STERLING HEIGHTS, MI 48313



3.2327   CITY OF STERLING HEIGHTS, MI                             4/24/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         405555 UTICA ROAD                                     ACCOUNT NO.:
         P.O. BOX 8009                                         NOT AVAILABLE
         STERLING HEIGHTS, MI 48313



3.2328   CITY OF STERLING HEIGHTS, MI                             4/24/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         405555 UTICA ROAD                                     ACCOUNT NO.:
         STERLING HEIGHTS, MI 48313                            NOT AVAILABLE



3.2329   CITY OF STERLING HEIGHTS, MI                             4/24/2019                   Opioid Matter              UNDETERMINED
         O'REILLY RANCILIO P.C.
         12900 HALL ROAD                                       ACCOUNT NO.:
         SUITE 350                                             NOT AVAILABLE
         STERLING HEIGHTS, MI 48313



3.2330   CITY OF STERLING HEIGHTS, MI                             4/24/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR; CITY CLERK
         40555 UTICA ROAD                                      ACCOUNT NO.:
         STERLING HEIGHTS, MI 48313                            NOT AVAILABLE



3.2331   CITY OF SUMITON                                          1/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND CHIEF EXECUTIVE OFFICER/MAYOR
         416 STATE ST.                                         ACCOUNT NO.:
         SUMITON, AL 35148                                     NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.2332   CITY OF SUMITON                                          1/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.2333   CITY OF SUNBRIGHT                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         PO BOX 925                                            ACCOUNT NO.:
         WARTBURG, TN 37887                                    NOT AVAILABLE



3.2334   CITY OF SUNBRIGHT                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 188                                            ACCOUNT NO.:
         120 MELTON DRIVE                                      NOT AVAILABLE
         SUNBRIGHT, TN 37872



3.2335   CITY OF SUPERIOR                                         4/30/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CLERK
         1326 NORTH 9TH STREET                                 ACCOUNT NO.:
         SUPERIOR, WI 54880                                    NOT AVAILABLE



3.2336   CITY OF SURPRISE                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CHERYL PRIEST AINSWORTH, ESQ.
         THEODORA ORINGHER PC                                  ACCOUNT NO.:
         535 ANTON BOULEVARD, NINTH FLOOR                      NOT AVAILABLE
         COSTA MESA, CA 92626-7109



3.2337   CITY OF SURPRISE                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: JEFF REEVES, CHERYL PRIEST AINSWORTH,
         KEVIN N. ROYER                                        ACCOUNT NO.:
         THEODORA ORINGHER PC                                  NOT AVAILABLE
         535 ANTON BOULEVARD, NINTH FLOOR
         COSTA MESA, CA 92626-7109



3.2338   CITY OF SURPRISE                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: KEVIN N. ROYER
         THEODORA ORINGHER PC                                  ACCOUNT NO.:
         535 ANTON BOULEVARD, NINTH FLOOR                      NOT AVAILABLE
         COSTA MESA, CA 92626-7109



3.2339   CITY OF SURPRISE, AZ                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         1600 N. CIVIC CENTER PLAZA                            ACCOUNT NO.:
         SURPRISE, AZ 85374                                    NOT AVAILABLE



3.2340   CITY OF SURPRISE, AZ                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: JOHN P. KAITES
         FENNIMORE CRAIG, P.C.                                 ACCOUNT NO.:
         2394 EAST CAMELBACK ROAD, SUITE 600                   NOT AVAILABLE
         PHOENIX, AZ 85016-9077




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Code                                                 And Account Number                          Claim

Litigation

3.2341   CITY OF SURPRISE, AZ                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: J. CHRISTOPHER GOOCH
         FENNIMORE CRAIG, P.C.                                 ACCOUNT NO.:
         2394 EAST CAMELBACK ROAD, SUITE 600                   NOT AVAILABLE
         PHOENIX, AZ 85016-9077



3.2342   CITY OF SURPRISE, AZ                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: SCOTT DAY FREEMAN
         FENNIMORE CRAIG, P.C.                                 ACCOUNT NO.:
         2394 EAST CAMELBACK ROAD, SUITE 600                   NOT AVAILABLE
         PHOENIX, AZ 85016-9077



3.2343   CITY OF SWEETWATER                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         CLEVELAND & CLEVELAND                                 ACCOUNT NO.:
         120 WEST MORRIS STREET                                NOT AVAILABLE
         SWEETWATER, TN 37874



3.2344   CITY OF SWEETWATER                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         203 MONROE STREET                                     ACCOUNT NO.:
         PO BOX 267                                            NOT AVAILABLE
         SWEETWATER, TN 37874



3.2345   CITY OF SWEETWATER                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         CLEVELAND & CLEVELAND                                 ACCOUNT NO.:
         120 W MORRIS STREET                                   NOT AVAILABLE
         SWEETWATER, TN 37874



3.2346   CITY OF SWEETWATER                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         203 MONROE STREET                                     ACCOUNT NO.:
         SWEETWATER, TN 37874                                  NOT AVAILABLE



3.2347   CITY OF SYRACUSE, NEW YORK                               10/3/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         203 CITY HALL                                         ACCOUNT NO.:
         233 EAST WASHINGTON STREET                            NOT AVAILABLE
         SYRACUSE, NY 13202-1473



3.2348   CITY OF SYRACUSE, NEW YORK                               10/3/2018                   Opioid Matter              UNDETERMINED
         231 CITY HALL
         233 EAST WASHINGTON STREET                            ACCOUNT NO.:
         SYRACUSE, NY 13202                                    NOT AVAILABLE



3.2349   CITY OF SYRACUSE, NEW YORK                               10/3/2018                   Opioid Matter              UNDETERMINED
         122 & 128 CITY HALL
         233 E. WASHINGTON ST                                  ACCOUNT NO.:
         SYRACUSE, NY 13202                                    NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.2350   CITY OF SYRACUSE, NEW YORK                               10/3/2018                   Opioid Matter              UNDETERMINED
         233 EAST WASHINGTON STREET
         300 CITY HALL                                         ACCOUNT NO.:
         SYRACUSE, NY 13202                                    NOT AVAILABLE



3.2351   CITY OF TACOMA                                           9/13/2017                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE MAYOR
         TACOMA MUNICIPAL BUILDING                             ACCOUNT NO.:
         747 MARKET STREET - 12TH FLOOR                        NOT AVAILABLE
         TACOMA, WA 98402



3.2352   CITY OF TACOMA                                           9/13/2017                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER
         747 MARKET STREET                                     ACCOUNT NO.:
         ROOM 1200                                             NOT AVAILABLE
         TACOMA, WA 98402



3.2353   CITY OF TALLAHASSE                                      10/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR OF THE CITY OF TALLAHASSE
         CITY HALL                                             ACCOUNT NO.:
         300 SOUTH ADAMS STREET                                NOT AVAILABLE
         TALLAHASSEE, FL 32301



3.2354   CITY OF TALLEDEGA, ALABAMA                               1/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.2355   CITY OF TALLEDEGA, ALABAMA                               1/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND CHIEF EXECUTIVE OFFICER/MAYOR
         PO BOX 498                                            ACCOUNT NO.:
         203 W. SOUTH ST.                                      NOT AVAILABLE
         TALLADEGA, AL 35161



3.2356   CITY OF TEXARKANA, AR                                    3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         216 WALNUT STREET                                     ACCOUNT NO.:
         TEXARKANA, AR 71854                                   NOT AVAILABLE



3.2357   CITY OF TEXARKANA, AR                                    3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER
         P.O. BOX 2711                                         ACCOUNT NO.:
         TEXARKANA, AR 75504-2711                              NOT AVAILABLE



3.2358   CITY OF TEXARKANA, AR                                    3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         P.O. BOX 2711                                         ACCOUNT NO.:
         TEXARKANA, AR 75504-2711                              NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2359   CITY OF THORNTON                                         1/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY MANAGER, CITY CLERK
         9500 CIVIC CENTER DRIVE                               ACCOUNT NO.:
         THORNTON, CO 80229                                    NOT AVAILABLE



3.2360   CITY OF TOLEDO                                          10/30/2017                   Opioid Matter              UNDETERMINED
         ONE GOVERNMENT CENTER
         640 JACKSON STREET                                    ACCOUNT NO.:
          - SUITE 2250                                         NOT AVAILABLE
         TOLEDO, OH 43604



3.2361   CITY OF TORRINGTON                                       1/9/2018                    Opioid Matter              UNDETERMINED
         CHARLES S. HELLMAN
         1177 AVENUE OF THE AMERICAS                           ACCOUNT NO.:
         44TH FLOOR                                            NOT AVAILABLE
         NEW YORK, NY 10036



3.2362   CITY OF TORRINGTON                                       1/9/2018                    Opioid Matter              UNDETERMINED
         SARAH S. BURNS
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002



3.2363   CITY OF TORRINGTON                                       1/9/2018                    Opioid Matter              UNDETERMINED
         PAUL J. HANLY JR.
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE - 7TH FLOOR                        NOT AVAILABLE
         NEW YORK, NY 10016



3.2364   CITY OF TORRINGTON                                       1/9/2018                    Opioid Matter              UNDETERMINED
         JAMES E. HARTLEY JR.
         500 CHASE PARKWAY                                     ACCOUNT NO.:
         WATERBURY, CT 06708                                   NOT AVAILABLE



3.2365   CITY OF TORRINGTON                                       1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: ANDREA BIERSTEIN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.2366   CITY OF TORRINGTON                                       1/9/2018                    Opioid Matter              UNDETERMINED
         THOMAS SHERIDAN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.2367   CITY OF TORRINGTON                                       1/9/2018                    Opioid Matter              UNDETERMINED
         400 ORANGE STREET
         CLENDENEN & SHEA LLC                                  ACCOUNT NO.:
         NEW HAVEN, CT 06511                                   NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.2368   CITY OF TORRINGTON                                       1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         CITY HALL                                             ACCOUNT NO.:
         140 MAIN STREET - FIRST FLOOR                         NOT AVAILABLE
         TORRINGTON, CT 06790



3.2369   CITY OF TRAVERSE CITY, MICHIGAN                          7/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: THE MAYOR
         218 WEST ELEVENTH STREET                              ACCOUNT NO.:
         TRAVERSE CITY, MI 49684                               NOT AVAILABLE



3.2370   CITY OF TRAVERSE CITY, MICHIGAN                          7/31/2018                   Opioid Matter              UNDETERMINED
         CITY CLERK'S DEPARTMENT
         GOV. CENTER IST FLOOR                                 ACCOUNT NO.:
         - 400 BOARDMAN AVENUE                                 NOT AVAILABLE
         TRAVERSE CITY, MI 49684



3.2371   CITY OF TRENTON, NJ                                      6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: CLERK, CITY COUNCIL PRESIDENT, MAYOR
         CITY OF TRENTON MUNICIPAL CLERK                       ACCOUNT NO.:
         CITY HALL - 319 EAST STATE STREET                     NOT AVAILABLE
         TRENTON, NJ 08608



3.2372   CITY OF TROY                                             1/7/2019                    Opioid Matter              UNDETERMINED
         JAMES R. PELUSO
         DREYER BOYAJIAN LAMARCHE SAFRANKO                     ACCOUNT NO.:
         75 COLUMBIA STREET                                    NOT AVAILABLE
         ALBANY, NY 12210



3.2373   CITY OF TROY, ALABAMA                                    7/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND CHIEF EXECUTIVE OFFICER/MAYOR
         PO BOX 549                                            ACCOUNT NO.:
         TROY, AL 36081-0549                                   NOT AVAILABLE



3.2374   CITY OF TROY, ALABAMA                                    7/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.2375   CITY OF TROY, NY                                         1/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY CLERK, TREASURER, CORPORATION
         COUNSEL                                               ACCOUNT NO.:
         433 RIVER STREET                                      NOT AVAILABLE
         TROY, NY 12180



3.2376   CITY OF TUCSON, A MUNICIPAL CORPORATION                  1/17/2019                   Opioid Matter              UNDETERMINED
         ATTN: THE CITY CLERK
         CITY HALL                                             ACCOUNT NO.:
         255 WEST ALAMEDA                                      NOT AVAILABLE
         TUCSON, AZ 85701




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Litigation

3.2377   CITY OF TULLAHOMA                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR & CITY ATTORNEY
         CITY HALL                                             ACCOUNT NO.:
         201 WEST GRUNDY STREET - P.O. BOX 807                 NOT AVAILABLE
         TULLAHOMA, TN 37388



3.2378   CITY OF TUPELO, MISSISSIPPI                              6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR OF THE CITY OF TUPELO
         71 EAST TROY STREET                                   ACCOUNT NO.:
         TUPELO, MS 38804                                      NOT AVAILABLE



3.2379   CITY OF TUPELO, MISSISSIPPI                              6/14/2019                   Opioid Matter              UNDETERMINED
         316 COURT STREET
         PO BOX 765                                            ACCOUNT NO.:
         TUPELO, MS 38804                                      NOT AVAILABLE



3.2380   CITY OF TUSCALOOSA, ALABAMA                              4/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND CHIEF EXECUTIVE OFFICER/MAYOR
         PO BOX 2089                                           ACCOUNT NO.:
         TUSCALOOSA, AL 35403                                  NOT AVAILABLE



3.2381   CITY OF TUSCALOOSA, ALABAMA                              4/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.2382   CITY OF TUSCULUM                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 5014                                           ACCOUNT NO.:
         TUSCULUM STATION                                      NOT AVAILABLE
         GREENVILLE, TN 37743



3.2383   CITY OF TUSCULUM                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         145 ALEXANDER STREET                                  ACCOUNT NO.:
         GREENVILLE, TN 37745                                  NOT AVAILABLE



3.2384   CITY OF TUSKEGEE, ALABAMA                                4/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.2385   CITY OF TUSKEGEE, ALABAMA                                4/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         CITY OF TUSKEGEE                                      ACCOUNT NO.:
         101 FONVILLE STREET                                   NOT AVAILABLE
         TUSKEGEE, AL 36083




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Code                                                 And Account Number                          Claim

Litigation

3.2386   CITY OF TUSKEGEE, ALABAMA                                4/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         101 FONVILLE STREET                                   ACCOUNT NO.:
         TUSKEGEE, AL 36083                                    NOT AVAILABLE



3.2387   CITY OF TWIN FALLS                                       8/2/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY COUNCIL
         COUNCIL CHAMBERS                                      ACCOUNT NO.:
         203 MAIN AVENUE EAST                                  NOT AVAILABLE
         TWIN FALLS, ID 83301



3.2388   CITY OF UNION SPRINGS, ALABAMA                           2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.2389   CITY OF UNION SPRINGS, ALABAMA                           2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: THE OFFICE OF THE MAYOR
         212 PRARIE STREET NORTH                               ACCOUNT NO.:
         UNION SPRINGS, AL 36089                               NOT AVAILABLE



3.2390   CITY OF UTICA, NEW YORK                                 11/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR; CITY CLERK; COMPTROLLER;
         CORPORATION COUNSEL                                   ACCOUNT NO.:
         1 KENNEDY PLAZA                                       NOT AVAILABLE
         UTICA, NY 13502



3.2391   CITY OF VAN WERT                                        12/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         515 E MAIN ST                                         ACCOUNT NO.:
         VAN WERT, OH 45891                                    NOT AVAILABLE



3.2392   CITY OF VERGNE                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         16 PUBLIC SQUARE NORTH                                ACCOUNT NO.:
         PO BOX 884                                            NOT AVAILABLE
         MURFREESBORO, TN 37130



3.2393   CITY OF VERGNE                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         5093 MURFREESBORO ROAD                                ACCOUNT NO.:
         LA VERGNE, TN 37086                                   NOT AVAILABLE



3.2394   CITY OF VERNON, ALABAMA AND HAL ALLRED, SHERIFF          2/5/2018                    Opioid Matter              UNDETERMINED
         OF LAMAR COUNTY
         ATTN: SHERIFF                                         ACCOUNT NO.:
         PO BOX 770                                            NOT AVAILABLE
         VERNON, AL 35592




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Code                                                 And Account Number                          Claim

Litigation

3.2395   CITY OF VERNON, ALABAMA AND HAL ALLRED, SHERIFF          2/5/2018                    Opioid Matter              UNDETERMINED
         OF LAMAR COUNTY, ALABAMA
         ATTN: STEVE MARSHALL                                  ACCOUNT NO.:
         STATE OF ALABAMA ATTORNEY GENERAL                     NOT AVAILABLE
         501 WASHINGTON AVE. - P.O. BOX 300152
         MONTGOMERY, AL 36130-0152



3.2396   CITY OF VERNON, ALABAMA AND HAL ALLRED, SHERIFF          2/5/2018                    Opioid Matter              UNDETERMINED
         OF LAMAR COUNTY, ALABAMA
         ATTN: OFFICE OF THE MAYOR                             ACCOUNT NO.:
         CITY OF VERNON                                        NOT AVAILABLE
         VERNON CITY HALL - 44425 HIGHWAY 17
         VERNON, AL 35592



3.2397   CITY OF VERONA, MISSISSIPPI                              3/1/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         194 MAIN STREET                                       ACCOUNT NO.:
         VERONA, MS 38879                                      NOT AVAILABLE



3.2398   CITY OF VESTAVIA HILLS, ALABAMA                          3/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.2399   CITY OF VESTAVIA HILLS, ALABAMA                          3/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         1032 MONTGOMERY HIGHWAY                               ACCOUNT NO.:
         VESTAVIA HILLS, AL 35216                              NOT AVAILABLE



3.2400   CITY OF VIENNA, MARYLAND                                 7/9/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND REGISTERED AGENT FOR VIENNA,
         MARYLAND                                              ACCOUNT NO.:
         214 MARKET STREET                                     NOT AVAILABLE
         VIENNA, MD 21869



3.2401   CITY OF VIRGINIA BEACH AND SHERIFF OF THE CITY OF        9/10/2018                   Opioid Matter              UNDETERMINED
         VIRGINIA BEACH
         ATTN: MAYOR AND CITY ATTORNEY                         ACCOUNT NO.:
         2401 COURTHOUSE DRIVE                                 NOT AVAILABLE
         VIRGINIA BEACH, VA 23456



3.2402   CITY OF VIRGINIA BEACH AND SHERIFF OF THE CITY OF        9/10/2018                   Opioid Matter              UNDETERMINED
         VIRGINIA BEACH
         ATTN: VIRGINIA BEACH SHERIFF'S OFFICE                 ACCOUNT NO.:
         2501 JAMES MADISON BLVD                               NOT AVAILABLE
         VIRGINIA BEACH, VA 23456



3.2403   CITY OF WARREN                                           4/24/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         ONE CITY SQUARE                                       ACCOUNT NO.:
         SUITE 215                                             NOT AVAILABLE
         WARREN, MI 48093




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2404   CITY OF WARREN                                           4/24/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         CITY HALL                                             ACCOUNT NO.:
         ONE CITY SQUARE - SUITE 205                           NOT AVAILABLE
         WARREN, MI 48093



3.2405   CITY OF WARREN                                           4/24/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         CITY HALL                                             ACCOUNT NO.:
         ONE CITY SQUARE - 4TH FLOOR                           NOT AVAILABLE
         WARREN, MI 48093



3.2406   CITY OF WARREN                                           3/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         141 S ST SE                                           ACCOUNT NO.:
         WARREN, OH 44483                                      NOT AVAILABLE



3.2407   CITY OF WARREN, MI                                       4/24/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         ONE CITY SQUARE                                       ACCOUNT NO.:
         SUITE 205                                             NOT AVAILABLE
         WARREN, MI 48093-2393



3.2408   CITY OF WARREN, MI                                       4/24/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         ONE CITY SQUARE                                       ACCOUNT NO.:
         SUITE 215                                             NOT AVAILABLE
         WARREN, MI 48093



3.2409   CITY OF WARREN, MI                                       4/24/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         ONE CITY SQUARE                                       ACCOUNT NO.:
         SUITE 400                                             NOT AVAILABLE
         WARREN, MI 48093



3.2410   CITY OF WARTBURG                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 386                                            ACCOUNT NO.:
         121 NORTH KINGSTON STREET                             NOT AVAILABLE
         WARTBURG, TN 37887



3.2411   CITY OF WARWICK, GEORGIA                                 6/20/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         132 WASHINGTON STREET SW                              ACCOUNT NO.:
         WARWICK, GA 31796                                     NOT AVAILABLE



3.2412   CITY OF WARWICK, RI                                      3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         WARWICK CITY HALL                                     ACCOUNT NO.:
         3275 POST ROAD                                        NOT AVAILABLE
         WARWICK, RI 02886




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Code                                                  And Account Number                         Claim

Litigation

3.2413   CITY OF WATAUGA                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY ATTORNEY
         103 WEST 4TH AVENUE                                   ACCOUNT NO.:
         WATAUGA, TN 37694-0068                                NOT AVAILABLE



3.2414   CITY OF WATERBURY                                        8/31/2017                   Opioid Matter              UNDETERMINED
         JAMES E. HARTLEY JR.
         500 CHASE PARKWAY                                     ACCOUNT NO.:
         WATERBURY, CT 06708                                   NOT AVAILABLE



3.2415   CITY OF WATERBURY, CT                                    8/31/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         CITY HALL BUILDING                                    ACCOUNT NO.:
         235 GRAND STREET                                      NOT AVAILABLE
         WATERBURY, CT 06702



3.2416   CITY OF WATERBURY, CT                                    8/31/2017                   Opioid Matter              UNDETERMINED
         ATTN: CLERK
         235 GRAND STREET                                      ACCOUNT NO.:
         COURTYARD LEVEL                                       NOT AVAILABLE
         WATERBURY, CT 06702



3.2417   CITY OF WATERVILLE                                      11/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK: TREASURER; CITY MANAGER
         ONE COMMON STREET                                     ACCOUNT NO.:
         WATERVILLE, ME 04901                                  NOT AVAILABLE



3.2418   CITY OF WATERVILLE                                      11/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK; TREASURER; CITY MANAGER
         ONE COMMON STREET                                     ACCOUNT NO.:
         WATERVILLE, ME 04901                                  NOT AVAILABLE



3.2419   CITY OF WAYNE                                            9/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE MAYOR OR CITY CLERK'S OFFICE
         3355 SOUTH WAYNE ROAD                                 ACCOUNT NO.:
         WAYNE, MI 48184                                       NOT AVAILABLE



3.2420   CITY OF WAYNESBORO                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         PO BOX 471                                            ACCOUNT NO.:
         WAYNESBORO, TN 38485                                  NOT AVAILABLE



3.2421   CITY OF WAYNESBORO                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         122 PUBLIC SQUARE EAST                                ACCOUNT NO.:
         PO BOX 471                                            NOT AVAILABLE
         WAYNESBORO, TN 38485



3.2422   CITY OF WEAVER, ALABAMA                                  4/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 1060                                           ACCOUNT NO.:
         500 ANNISTON STREET                                   NOT AVAILABLE
         WEAVER, AL 36277


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Code                                                 And Account Number                          Claim

Litigation

3.2423   CITY OF WEAVER, ALABAMA                                  4/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.2424   CITY OF WEST LAFAYETTE                                   3/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CLERK
         1200 NORTH SALISBURY STREET                           ACCOUNT NO.:
         WEST LAFAYETTE, IN 47906                              NOT AVAILABLE



3.2425   CITY OF WEST LAFAYETTE                                   3/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: CORPORATION COUNSEL
         8 NORTH 3RD STREET                                    ACCOUNT NO.:
         LAFAYETTE, IN 47902                                   NOT AVAILABLE



3.2426   CITY OF WEST MONROE, LOUISIANA                           10/5/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         2305 N. 7TH STREET                                    ACCOUNT NO.:
         WEST MONROE, LA 71291                                 NOT AVAILABLE



3.2427   CITY OF WESTFIELD, INDIANA                               8/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         2728 EAST 171ST STREET                                ACCOUNT NO.:
         WESTFIELD, IN 46074                                   NOT AVAILABLE



3.2428   CITY OF WESTFIELD, INDIANA                               8/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: CURTIS T. HILL, JR.
         STATE OF INDIANA ATTORNEY GENERAL                     ACCOUNT NO.:
         INDIANA GOVERNMENT CENTER SOUTH - 5TH FLOOR -         NOT AVAILABLE
         302 WEST WASHINGTON STREET
         INDIANAPOLIS, IN 46204



3.2429   CITY OF WESTLAND, MICHIGAN                               7/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK; MAYOR;
         36300 WARREN RD.                                      ACCOUNT NO.:
         WESTLAND, MI 48185                                    NOT AVAILABLE



3.2430   CITY OF WESTMINSTER                                      1/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE CITY MANAGER AND MAYOR
         4800 WEST 92ND AVENUE                                 ACCOUNT NO.:
         WESTMINSTER, CO 80031                                 NOT AVAILABLE



3.2431   CITY OF WESTMINSTER, AND THE PEOPLE OF THE               3/28/2019                   Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA, BY AND THROUGH
         WESTMINSTER CITY ATTORNEY RICK OLIVAREZ               ACCOUNT NO.:
         ATTN: CITY ATTORNEY FOR THE CITY OF WESTMINSTER       NOT AVAILABLE
         JONES & MAYER
         3777 NORTH HARBOR BOULEVARD
         FULLERTON, CA 92835




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Code                                                  And Account Number                         Claim

Litigation

3.2432   CITY OF WESTMINSTER, AND THE PEOPLE OF THE               3/28/2019                   Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA, BY AND THROUGH
         WESTMINSTER CITY ATTORNEY RICK OLIVAREZ               ACCOUNT NO.:
         ATTN: MAYOR, CITY CLERK                               NOT AVAILABLE
         WESTMINSTER CIVIC CENTER
         8200 WESTMINSTER BOULEVARD
         WESTMINSTER, CA 92683



3.2433   CITY OF WESTMINSTER, CA                                  3/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         CITY OF WESTMINSTER - CITY CLERK'S OFFICE             ACCOUNT NO.:
         8200 WESTMINSTER BOULEVARD                            NOT AVAILABLE
         WESTMINSTER, CA 92683



3.2434   CITY OF WHITESBURG                                       3/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY ATTORNEY
         38 EAST MAIN STREET                                   ACCOUNT NO.:
         WHITESBURG, KY 41858                                  NOT AVAILABLE



3.2435   CITY OF WICKLIFFE                                        6/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         WICKLIFFE CITY HALL                                   ACCOUNT NO.:
         28730 RIDGE ROAD                                      NOT AVAILABLE
         WICKLIFFE, OH 44092



3.2436   CITY OF WIGGINS, MISSISSIPPI                             6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         117 FIRST STREET NORTH                                ACCOUNT NO.:
         WIGGINS, MS 39577                                     NOT AVAILABLE



3.2437   CITY OF WILKES-BARRE, PENNSYLVANIA                       4/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CLERK
         THE CITY OF WILKES-BARRE                              ACCOUNT NO.:
         40 EAST MARKET STREET, 4TH FLOOR                      NOT AVAILABLE
         WILKES-BARRE, PA 18711



3.2438   CITY OF WILMINGTON                                       5/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         102 NORTH THIRD STREET                                ACCOUNT NO.:
         PO BOX 1810                                           NOT AVAILABLE
         WILMINGTON, NC 28402-1810



3.2439   CITY OF WINCHESTER                                      11/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY ATTORNEY
         32 WALL ST                                            ACCOUNT NO.:
         PO BOX 40                                             NOT AVAILABLE
         WINCHESTER, KY 40392-0040



3.2440   CITY OF WINCHESTER                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         CITY HALL                                             ACCOUNT NO.:
         7 SOUTH HIGH STREET                                   NOT AVAILABLE
         WINCHESTER, TN 37398




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Code                                                 And Account Number                          Claim

Litigation

3.2441   CITY OF WINCHESTER                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         10 WESTSIDE PUBLIC SQUARE                             ACCOUNT NO.:
         P.O. BOX 555                                          NOT AVAILABLE
         WINCHESTER, TN 37398



3.2442   CITY OF WOBURN                                           1/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: TREASURER AND CITY CLERK
         WOBURN CITY HALL                                      ACCOUNT NO.:
         10 COMMON STREET                                      NOT AVAILABLE
         WOBURN, MA 01801



3.2443   CITY OF WOODBURY, GEORGIA                                5/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         WOODBURY CITY HALL                                    ACCOUNT NO.:
         18053 MAIN STREET                                     NOT AVAILABLE
         WOODBURY, GA 30293



3.2444   CITY OF WORCESTER                                        7/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: ARTHUR PAUL KRIEGER, ESQ.
         ANDERSON & KRIEGER LLP                                ACCOUNT NO.:
         50 MILK STREET - 21ST FLOOR                           NOT AVAILABLE
         BOSTON, MA 02109



3.2445   CITY OF WORCESTER                                        7/30/2018                   Opioid Matter              UNDETERMINED
         CHRISTINA MARSHALL, ESQ.
         ANDERSON & KRIEGER LLP                                ACCOUNT NO.:
         50 MILK STREET - 21ST FLOOR                           NOT AVAILABLE
         BOSTON, MA 02109



3.2446   CITY OF WORCESTER, MA                                    7/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         CITY HALL ROOM 203                                    ACCOUNT NO.:
         455 MAIN STREET                                       NOT AVAILABLE
         WORCESTER, MA 01608



3.2447   CITY OF WORCESTER, MA                                    7/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         CITY HALL ROOM 206                                    ACCOUNT NO.:
         455 MAIN STREET                                       NOT AVAILABLE
         WORCESTER, MA 01608



3.2448   CITY OF YONKERS, NY                                      5/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         CITY HALL                                             ACCOUNT NO.:
         40 S. BROADWAY, ROOM 107                              NOT AVAILABLE
         YONKERS, NY 10701



3.2449   CITY OF YONKERS, NY                                      5/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CORPORATION COUNSEL, COMPTROLLER
         CITY HALL                                             ACCOUNT NO.:
         40 SOUTH BROADWAY                                     NOT AVAILABLE
         YONKERS, NY 10701




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Code                                                 And Account Number                          Claim

Litigation

3.2450   CITY OF YONKERS, NY                                      5/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: CORPORATION COUNSEL
         CITY HALL                                             ACCOUNT NO.:
         SUITE 300 - 40 SOUTH BROADWAY                         NOT AVAILABLE
         YONKERS, NY 10701



3.2451   CITY OF YONKERS, NY                                      5/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         40 SOUTH BROADWAY                                     ACCOUNT NO.:
         ROOM 107                                              NOT AVAILABLE
         YONKERS, NY 10701



3.2452   CITY OF YONKERS, NY                                      5/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: COMPTROLLER
         40 SOUTH BROADWAY                                     ACCOUNT NO.:
         SUITE 212                                             NOT AVAILABLE
         YONKERS, NY 10701



3.2453   CITY OF YUKON                                            2/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER
         PO BOX 850500                                         ACCOUNT NO.:
         YUKON, OK 73085                                       NOT AVAILABLE



3.2454   CITY OF YUKON                                            2/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER AND CITY CLERK
         ?500 WEST MAIN STREET                                 ACCOUNT NO.:
         YUKON, OK 73099                                       NOT AVAILABLE



3.2455   CITY OF WEST HAVEN                                       1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         CITY HALL                                             ACCOUNT NO.:
         355 MAIN STREET - 1ST FLOOR                           NOT AVAILABLE
         WEST HAVEN, CT 06516



3.2456   CITY OF WEST HAVEN                                       1/9/2018                    Opioid Matter              UNDETERMINED
         CHARLES S. HELLMAN
         1177 AVENUE OF THE AMERICAS                           ACCOUNT NO.:
         44TH FLOOR                                            NOT AVAILABLE
         NEW YORK, NY 10036



3.2457   CITY OF WEST HAVEN                                       1/9/2018                    Opioid Matter              UNDETERMINED
         400 ORANGE STREET
         CLENDENEN & SHEA LLC                                  ACCOUNT NO.:
         NEW HAVEN, CT 06511                                   NOT AVAILABLE



3.2458   CITY OF WEST HAVEN                                       1/9/2018                    Opioid Matter              UNDETERMINED
         JAMES E. HARTLEY JR.
         500 CHASE PARKWAY                                     ACCOUNT NO.:
         WATERBURY, CT 06708                                   NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.2459   CITY OF WEST HAVEN                                       1/9/2018                    Opioid Matter              UNDETERMINED
         PAUL J. HANLY JR.
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE - 7TH FLOOR                        NOT AVAILABLE
         NEW YORK, NY 10016



3.2460   CITY OF WEST HAVEN                                       1/9/2018                    Opioid Matter              UNDETERMINED
         SARAH S. BURNS
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002



3.2461   CITY OF WEST HAVEN                                       1/9/2018                    Opioid Matter              UNDETERMINED
         THOMAS SHERIDAN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.2462   CITY OF WEST HAVEN                                       1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: ANDREA BIERSTEIN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.2463   CIVIL INVESTIGATIVE DEMAND TO PURDUE                    UNKNOWN                      Opioid Matter              UNDETERMINED
         PHARMACEUTICAL PRODUCTS L.P.
         ATTN: KEN PAXTON                                      ACCOUNT NO.:
         STATE OF TEXAS ATTORNEY GENERAL                       NOT AVAILABLE
         CAPITOL STATION - P.O.BOX 12548
         AUSTIN, TX 78711-2548



3.2464   CIVIL INVESTIGATIVE DEMAND TO PURDUE                    UNKNOWN                      Opioid Matter              UNDETERMINED
         PHARMACEUTICAL PRODUCTS L.P.
         ATTN: KEN PAXTON                                      ACCOUNT NO.:
         STATE OF TEXAS ATTORNEY GENERAL                       NOT AVAILABLE
         CAPITOL STATION - P.O.BOX 12548
         AUSTIN, TX 78711-2548



3.2465   CLAIBORNE COUNTY, MISS                                  12/20/2017                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF SUPERVISORS
         PO BOX 339                                            ACCOUNT NO.:
         PORT GIBSON, MS 39150                                 NOT AVAILABLE



3.2466   CLAIBORNE COUNTY, TENNESSEE                              6/21/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         1740 MAIN STREET                                      ACCOUNT NO.:
         TAZEWELL, TN 37879                                    NOT AVAILABLE



3.2467   CLAIBORNE PARISH                                         9/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT
         CLAIBORNE PARISH POLICE JURY                          ACCOUNT NO.:
         507 WEST MAIN STREET                                  NOT AVAILABLE
         HOMER, LA 71040-0270




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Code                                                 And Account Number                          Claim

Litigation

3.2468   CLALLAM COUNTY                                           5/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: THE AUDITOR
         CLALLAM COUNTY COURTHOUSE                             ACCOUNT NO.:
         223 E. 4TH STREET - SUITE 1                           NOT AVAILABLE
         PORT ANGELES, WA 98362



3.2469   CLARK COUNTY                                             12/6/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE CLARK COUNTY
         COMMISSIONERS?RS, COUNTY MANAGER                      ACCOUNT NO.:
         500 S GRAND CENTRAL PKWY.                             NOT AVAILABLE
         6TH FLOOR
         LAS VEGAS, NV 89155



3.2470   CLARK COUNTY                                             5/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY AUDITOR
         PO BOX 5000                                           ACCOUNT NO.:
         VANCOUVER, WA 98666-5000                              NOT AVAILABLE



3.2471   CLARK COUNTY                                            11/28/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE COUNTY BOARD OF
         SUPERVISORS                                           ACCOUNT NO.:
         N11151 BADGER AVENUE                                  NOT AVAILABLE
         UNITY, WI 54488



3.2472   CLARKE COUNTY, MISSISSIPPI                               3/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OR CLERK OF THE BOARD OF
         SUPERVISORS                                           ACCOUNT NO.:
         CLARKE COUNTY SUPERVISORS BRD                         NOT AVAILABLE
         100 E CHURCH ST
         QUITMAN, MS 39355



3.2473   CLARKE COUNTY, MISSISSIPPI                               3/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OR CLERK OF THE BOARD OF
         SUPERVISORS                                           ACCOUNT NO.:
         CLARKE COUNTY CHAMBER                                 NOT AVAILABLE
         100 SOUTH RAILROAD AVENUE - P.O. BOX 172
         QUITMAN, MS 39335



3.2474   CLARKSVILLE HEALTH SYSTEM, G.P.                          7/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: PARTNER OR MANAGING AGENT AND
         REGISTERED AGENT                                      ACCOUNT NO.:
         4000 MERIDIAN BOULEVARD                               NOT AVAILABLE
         FRANKLIN`, TN 37067



3.2475   CLARKSVILLE HEALTH SYSTEM, G.P.                          7/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: OFFICER OR MANAGING AGENT
         TENNOVA HEALTHCARE - CLARKSVILLE                      ACCOUNT NO.:
         651 DUNLOP LANE                                       NOT AVAILABLE
         CLARKSVILLE, TN 37040



3.2476   CLAY COUNTY                                             UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         145 CORDELL HULL DRIVE                                ACCOUNT NO.:
         CELINA, TN 38551                                      NOT AVAILABLE



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2477   CLAY COUNTY                                             UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 387                                            ACCOUNT NO.:
         CELINA, TN 38551                                      NOT AVAILABLE



3.2478   CLAY COUNTY                                             UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         101 GREEN STREET                                      ACCOUNT NO.:
         CELINA, TN 38551                                      NOT AVAILABLE



3.2479   CLAY COUNTY                                             UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         430 STONE ROAD                                        ACCOUNT NO.:
         CELINA, TN 38551                                      NOT AVAILABLE



3.2480   CLAY COUNTY MEDICAL CORPORATION                          3/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT; CHIEF LEGAL OFFICER
         BRUCE J. TOPPIN                                       ACCOUNT NO.:
         NORTH MISSISSIPPI HEALTH SERVICES - 830 SOUTH         NOT AVAILABLE
         GLOSTER STREET
         TUPELO, MS 38801



3.2481   CLAY COUNTY MEDICAL CORPORATION                          3/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: OFFICER; INCORPORATOR
         F.M. BUSH III                                         ACCOUNT NO.:
         PHELPS DUNBAR - 4270 I-55 NORTH                       NOT AVAILABLE
         JACKSON, MS 39211



3.2482   CLAY COUNTY MEDICAL CORPORATION                          3/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: OFFICER; INCORPORATOR
         FM BUSH III                                           ACCOUNT NO.:
         316 COURT STREET - P.O. BOX 648                       NOT AVAILABLE
         TUPELO, MS 38804



3.2483   CLAY COUNTY, ALABAMA                                     2/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.2484   CLAY COUNTY, ALABAMA                                     2/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         25 COURT SQUARE                                       ACCOUNT NO.:
         ASHLAND, AL 36251                                     NOT AVAILABLE



3.2485   CLAY COUNTY, ALABAMA                                     2/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         CLAY CITY HALL                                        ACCOUNT NO.:
         2441 OLD SPRINGVILLE ROAD                             NOT AVAILABLE
         BIRMINGHAM, AL 35215




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Code                                                 And Account Number                          Claim

Litigation

3.2486   CLAY COUNTY, FLORIDA                                     6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: CLAY COUNTY MANAGER; BOARD OF COUNTY
         COMMISSIONERS                                         ACCOUNT NO.:
         CLAY COUNTY BCC                                       NOT AVAILABLE
         PO BOX 1366
         GREEN COVE SPRINGS, FL 32043



3.2487   CLAY COUNTY, GEORGIA                                     3/27/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND BOARD OF COMMISSIONERS AND
         COUNTY ADMINISTRATOR                                  ACCOUNT NO.:
         105 WASHINGTON STREET SUITE1                          NOT AVAILABLE
         FORT GAINES, GA 39851



3.2488   CLAYTON COUNTY, GEORGIA                                  12/6/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF COUNTY COMMISSIONERS; CHIEF
         OPERATING OFFICER                                     ACCOUNT NO.:
         112 SMITH STREET                                      NOT AVAILABLE
         ANNEX 1
         JONESBORO, GA 30236



3.2489   CLEARFIELD COUNTY, PENNSYLVANIA                          9/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF COUNTY COMMISSIONERS AND
         CHIEF CLERK OF COUNTY COMMISSIONERS                   ACCOUNT NO.:
         212 EAST LOCUST STREET                                NOT AVAILABLE
         SUITE 112
         CLEARFIELD, PA 16830



3.2490   CLEARFIELD COUNTY, PENNSYLVANIA                          9/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN BOARD OF COMMISSIONERS
         212 EAST LOCUST STREET, SUITE 112                     ACCOUNT NO.:
         CLEARFIELD, PA 16830                                  NOT AVAILABLE



3.2491   CLEARFIELD COUNTY, PENNSYLVANIA                          9/14/2018                   Opioid Matter              UNDETERMINED
         MICHAEL J. D'AMICO
         D'AMICO LAW OFFICES, LLC                              ACCOUNT NO.:
         310 GRANT STREET - SUITE 825                          NOT AVAILABLE
         PITTSBURGH, PA 15219



3.2492   CLEARFIELD COUNTY, PENNSYLVANIA                          9/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: ANTHONY J. D'AMICO
         D'AMICO LAW OFFICES, LLC                              ACCOUNT NO.:
         310 GRANT STREET - SUITE 825                          NOT AVAILABLE
         PITTSBURGH, PA 15219



3.2493   CLEARFIELD COUNTY, PENNSYLVANIA                          9/14/2018                   Opioid Matter              UNDETERMINED
         THERON G. NOBLE
         FERRARACCIO & NOBLE                                   ACCOUNT NO.:
         301 EAST PINE STREET                                  NOT AVAILABLE
         CLEARFIELD, PA 16830



3.2494   CLEARFIELD COUNTY, PENNSYLVANIA                          9/14/2018                   Opioid Matter              UNDETERMINED
         KIM C. KESNER
         COUNTY SOLICITOR, CLEARFIELD COUNTY                   ACCOUNT NO.:
         212 SOUTH SECOND STREET                               NOT AVAILABLE
         CLEARFIELD, PA 16830


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Code                                                 And Account Number                          Claim

Litigation

3.2495   CLEBURNE COUNTY, ALABAMA                                 4/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.2496   CLEBURNE COUNTY, ALABAMA                                 4/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: CIRCUIT CLERK
         120 VICKERY STREET                                    ACCOUNT NO.:
         SUITE 202                                             NOT AVAILABLE
         HEFLIN, AL 36264



3.2497   CLERMONT COUNTY BOARD OF COUNTY                          10/9/2017                   Opioid Matter              UNDETERMINED
         COMMISSIONERS
         ATTN: PRESIDENT OF THE BOARD OF COUNTY                ACCOUNT NO.:
         COMMISSIONERS                                         NOT AVAILABLE
         101 EAST MAIN STREET
         BATAVIA, OH 45103



3.2498   CLERMONT COUNTY BOARD OF COUNTY                          10/9/2017                   Opioid Matter              UNDETERMINED
         COMMISSIONERS
         101 EAST MAIN STREET, SECOND FLOOR                    ACCOUNT NO.:
         BATAVIA, OH 45103                                     NOT AVAILABLE



3.2499   CLERMONT COUNTY BOARD OF COUNTY                          10/9/2017                   Opioid Matter              UNDETERMINED
         COMMISSIONERS
         76 SOUTH RIVERSIDE DRIVE                              ACCOUNT NO.:
         SECOND FLOOR                                          NOT AVAILABLE
         BATAVIA, OH 45103



3.2500   CLEVELAND BAKERS AND TEAMSTERS HEALTH AND                4/13/2018                   Opioid Matter              UNDETERMINED
         WELFARE FUND
         ATTN: FUND CHAIRMAN AND HEALTH AND WELFARE            ACCOUNT NO.:
         MANAGER                                               NOT AVAILABLE
         9665 ROCKSIDE ROAD
         VALLEY VIEW, OH 44125



3.2501   CLEVELAND COUNTY                                         3/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: CLEVELAND COUNTY MANAGER
         311 EAST MARION STREE                                 ACCOUNT NO.:
         SHELBY, NC 28150                                      NOT AVAILABLE



3.2502   CLEVELAND COUNTY                                         3/7/2018                    Opioid Matter              UNDETERMINED
         PO BOX 1210
         SHELBY, NC 28151                                      ACCOUNT NO.:
                                                               NOT AVAILABLE


3.2503   CLEVELAND TEACHERS UNION, LOCAL 279                      1/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLEVELAND TEACHERS UNION, LOCAL 279; AFT
         PRESIDENT                                             ACCOUNT NO.:
         1228 EUCLID AVE                                       NOT AVAILABLE
         CLEVELAND, OH 44115-1802




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Code                                                 And Account Number                          Claim

Litigation

3.2504   CLEVELAND TENNESSEE HOSPITAL COMPANY, LLC                7/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: OFFICER OR MANAGING AGENT
         2305 CHAMBLISS AVENUE NORTHWEST                       ACCOUNT NO.:
         CLEVELAND, TN 37311                                   NOT AVAILABLE



3.2505   CLEVELAND TENNESSEE HOSPITAL COMPANY, LLC                7/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT AND OFFICER OR MANAGING
         AGENT                                                 ACCOUNT NO.:
         4000 MERIDIAN BOULEVARD                               NOT AVAILABLE
         FRANKLIN, TN 37067



3.2506   CLHG-ACADIAN, LLC D/B/A ACADIAN MEDICAL CENTER,          6/14/2019                   Opioid Matter              UNDETERMINED
         EUNICE
         ATTN: REGISTERED AGENT AND MANAGER                    ACCOUNT NO.:
         504 TEXAS STREET                                      NOT AVAILABLE
         SUITE 200
         SHREVEPORT, LA 71101



3.2507   CLHG-ACADIAN, LLC D/B/A ACADIAN MEDICAL CENTER,          6/14/2019                   Opioid Matter              UNDETERMINED
         EUNICE
         ATTN: SECRETARY OF STATE                              ACCOUNT NO.:
         8585 ARCHIVES AVE.                                    NOT AVAILABLE
         BATON ROUGE, LA 70809



3.2508   CLHG-ACADIAN, LLC D/B/A ACADIAN MEDICAL CENTER,          6/14/2019                   Opioid Matter              UNDETERMINED
         EUNICE
         ATTN: CHIEF EXECUTIVE OFFICER                         ACCOUNT NO.:
         ACADIAN MEDICAL CENTER                                NOT AVAILABLE
         3501 US HIGHWAY 190
         EUNICE, LA 70535



3.2509   CLHG-AVOYELLES, LLC D/B/A AVOYELLES HOSPITAL,            6/14/2019                   Opioid Matter              UNDETERMINED
         MARKSVILLE
         ATTN: REGISTERED AGENT; MANAGER                       ACCOUNT NO.:
         PETER SAVOY; ROCK BORDELON                            NOT AVAILABLE
         504 TEXAS STREET - SUITE 200
         SHREVEPORT, LA 71101



3.2510   CLHG-AVOYELLES, LLC D/B/A AVOYELLES HOSPITAL,            6/14/2019                   Opioid Matter              UNDETERMINED
         MARKSVILLE
         ATTN: CHIEF EXECUTIVE OFFICER                         ACCOUNT NO.:
         4231 LOUISIANA HIGHWAY 1192                           NOT AVAILABLE
         MARKSVILLE, LA 71351



3.2511   CLHG-DEQUINCY D/B/A DEQUINCY MEMORIAL HOSPITAL,          6/14/2019                   Opioid Matter              UNDETERMINED
         DEQUINCY
         ATTN: JERIED H. HAIRGROVE AND REGISTERED AGENT        ACCOUNT NO.:
         AND OFFICER                                           NOT AVAILABLE
         CLHG-DEQUINCY D/B/A DEQUINCY MEMORIAL HOSPITAL,
         DEQUINCY
         P.O. BOX 1166
         DEQUINCY, LA 70633




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Code                                                 And Account Number                          Claim

Litigation

3.2512   CLHG-DEQUINCY D/B/A DEQUINCY MEMORIAL HOSPITAL,          6/14/2019                   Opioid Matter              UNDETERMINED
         DEQUINCY
         ATTN: REGISTERED AGENT                                ACCOUNT NO.:
         504 TEXAS STREET                                      NOT AVAILABLE
         SUITE 200
         SHREVEPORT, LA 71101



3.2513   CLHG-DEQUINCY D/B/A DEQUINCY MEMORIAL HOSPITAL,          6/14/2019                   Opioid Matter              UNDETERMINED
         DEQUINCY
         ATTN: MANAGER                                         ACCOUNT NO.:
         CLHG-DEQUINCY D/B/A DEQUINCY MEMORIAL HOSPITAL,       NOT AVAILABLE
         DEQUINCY
         504 TEXAS STREET - SUITE 200
         SHREVEPORT, LA 71101



3.2514   CLHG-LEESVILLE D/B/A BYRD REGIONAL HOSPITAL,             6/14/2019                   Opioid Matter              UNDETERMINED
         LEESVILLE
         ATTN: REGISTERED AGENT                                ACCOUNT NO.:
         504 TEXAS STREET                                      NOT AVAILABLE
         SUITE 200
         SHREVEPORT, LA 71101



3.2515   CLHG-MINDEN, LLC                                         6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT AND MANAGER / MEMBER
         504 TEXAS STREET                                      ACCOUNT NO.:
         SUITE 200                                             NOT AVAILABLE
         SHREVEPORT, LA 71101



3.2516   CLHG-MINDEN, LLC                                         6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         MINDEN MEDICAL CENTER                                 ACCOUNT NO.:
         #1 MEDICAL PLAZA                                      NOT AVAILABLE
         MINDEN, LA 71055



3.2517   CLHG-MINDEN, LLC D/B/A MINDEN MEDICAL CENTER,            6/14/2019                   Opioid Matter              UNDETERMINED
         MINDEN
         ATTN: CHIEF EXECUTIVE OFFICER                         ACCOUNT NO.:
         MINDEN MEDICAL CENTER                                 NOT AVAILABLE
         PARK CITY SHOPPING CENTER - 346 HOMER ROAD
         MINDEN, LA 71055



3.2518   CLHG-MINDEN, LLC D/B/A MINDEN MEDICAL CENTER,            6/14/2019                   Opioid Matter              UNDETERMINED
         MINDEN
         ATTN: CHIEF EXECUTIE OFFICER                          ACCOUNT NO.:
         MINDEN MEDICAL CENTER                                 NOT AVAILABLE
         #1 MEDICAL PLAZA
         MINDEN, LA 71055



3.2519   CLHG-MINDEN, LLC D/B/A MINDEN MEDICAL CENTER,            6/14/2019                   Opioid Matter              UNDETERMINED
         MINDEN
         ATTN: REGISTERED AGENT; MANAGER                       ACCOUNT NO.:
         504 TEXAS STREET                                      NOT AVAILABLE
         SUITE 200
         SHREVEPORT, LA 71101




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Code                                                 And Account Number                          Claim

Litigation

3.2520   CLHG-OAKDALE, LLC OAKDALE COMMUNITY HOSPITAL,            6/14/2019                   Opioid Matter              UNDETERMINED
         OAKDALE
         ATTN: CHIEF EXECUTIVE OFFICER                         ACCOUNT NO.:
         130 NORTH HOSPITAL DRIVE                              NOT AVAILABLE
         OAKDALE, LA 71463



3.2521   CLHG-OAKDALE, LLC OAKDALE COMMUNITY HOSPITAL,            6/14/2019                   Opioid Matter              UNDETERMINED
         OAKDALE
         ATTN: REGISTERED AGENT; MANAGER                       ACCOUNT NO.:
         504 TEXAS STREET                                      NOT AVAILABLE
         SUITE 200
         SHREVEPORT, LA 71101



3.2522   CLHG-VILLE PLATTE, LLC D/B/A MERCY REGIONAL              6/14/2019                   Opioid Matter              UNDETERMINED
         MEDICAL CENTER, VILLE PLATTE
         ATTN: CHIEF EXECUTIVE OFFICER                         ACCOUNT NO.:
         800 EAST MAIN STREET                                  NOT AVAILABLE
         VILLE PLATTE, LA 70586



3.2523   CLHG-VILLE PLATTE, LLC D/B/A MERCY REGIONAL              6/14/2019                   Opioid Matter              UNDETERMINED
         MEDICAL CENTER, VILLE PLATTE
         ATTN: REGISTERED AGENT; MANAGING MEMBER               ACCOUNT NO.:
         504 TEXAS STREET                                      NOT AVAILABLE
         SUITE 200
         SHREVEPORT, LA 71101



3.2524   CLHG-WINN, LLC D/B/A WINN PARISH MEDICAL CENTER,         6/14/2019                   Opioid Matter              UNDETERMINED
         WINNFIELD
         ATTN: REGISTERED AGENT; MANAGER                       ACCOUNT NO.:
         504 TEXAS STREET                                      NOT AVAILABLE
         SUITE 200
         SHREVEPORT, LA 71101



3.2525   CLHG-WINN, LLC D/B/A WINN PARISH MEDICAL CENTER,         6/14/2019                   Opioid Matter              UNDETERMINED
         WINNFIELD
         ATTN: CHIEF EXECUTIVE OFFICER                         ACCOUNT NO.:
         301 WEST BOUNDARY STREET                              NOT AVAILABLE
         WINNFIELD, LA 71483



3.2526   CLINCH COUNTY HOSPITAL AUTHORITY                         4/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         CLINCH MEMORIAL HOSPITAL                              ACCOUNT NO.:
         1050 VALDOSTA HIGHWAY                                 NOT AVAILABLE
         HOMERVILLE, GA 31634



3.2527   CLINCH COUNTY, GEORGIA                                   3/27/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND BOARD OF
         COMMISSIONERS,COUNTY ADMINISTRATOR                    ACCOUNT NO.:
         22 COURT SQUARE, SUITE B                              NOT AVAILABLE
         HOMERVILLE, GA 31634




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Code                                                 And Account Number                          Claim

Litigation

3.2528   CLINTON COUNTY                                           6/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF ASSESSOR
         2 PIPER WAY                                           ACCOUNT NO.:
         SUITE 240                                             NOT AVAILABLE
         LOCK HAVEN, PA 17745



3.2529   CLINTON COUNTY BOARD OF COMMISSIONERS                   12/20/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY BOARD OF COMMISSIONERS
         46 S. SOUTH STREET                                    ACCOUNT NO.:
         SUITE 213 - 2ND FLOOR COURTHOUSE                      NOT AVAILABLE
         WILMINGTON, OH 45177



3.2530   CLOVERDALE RANCHERIA OF POMO INDIANS                    11/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON
         555 SOUTH CLOVERDALE BOULE                            ACCOUNT NO.:
         SUITE A                                               NOT AVAILABLE
         CLOVERDALE, CA 95425



3.2531   CMGH MINDEN LLC                                          6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         8585 ARCHIVES AVE.                                    ACCOUNT NO.:
         BATON ROUGE, LA 70809                                 NOT AVAILABLE



3.2532   COBB COUNTY                                              6/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         100 CHEROKEE STREET                                   ACCOUNT NO.:
         MARIETTA, GA 30090                                    NOT AVAILABLE



3.2533   COCKE COUNTY                                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         360 EAST MAIN STREET                                  ACCOUNT NO.:
         NEWPORT, TN 37821                                     NOT AVAILABLE



3.2534   COCKE COUNTY                                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         111 COURT AVENUE                                      ACCOUNT NO.:
         ROOM 101                                              NOT AVAILABLE
         NEWPORT, TN 37821



3.2535   COCKE COUNTY HMA, LLC                                    7/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: PAM BECK, CEO
         NEWPORT MEDICAL CENTER                                ACCOUNT NO.:
         435 SECOND STREET                                     NOT AVAILABLE
         NEWPORT, TN 37821



3.2536   COCKE COUNTY HMA, LLC                                    7/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT; MANAGING MEMBER
         JUSTIN D. PITT, CHIEF LITIGATION COUNSEL              ACCOUNT NO.:
         4000 MERIDIAN BOULEVARD - COMMUNITY HEALTH            NOT AVAILABLE
         SYSTEMS
         FRANKLIN, TN 37067-6325




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Code                                                 And Account Number                          Claim

Litigation

3.2537   COEUR D'ALENE TRIBE                                      3/8/2019                    Opioid Matter              UNDETERMINED
         PO BOX 2022
         COEUR D'ALENE, ID 83816                               ACCOUNT NO.:
                                                               NOT AVAILABLE


3.2538   COEUR D'ALENE TRIBE                                      3/8/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN
         850 A STREET                                          ACCOUNT NO.:
         PO BOX 408                                            NOT AVAILABLE
         PLUMMER, ID 83851



3.2539   COFFEE COUNTY, ALABAMA                                   2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CIRCUIT CLERK
         101 SOUTH EDWARDS STREET                              ACCOUNT NO.:
         ENTERPRISE, AL 36330                                  NOT AVAILABLE



3.2540   COFFEE COUNTY, ALABAMA                                   2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF COUNTY COMMISSIONERS
         COFFEE COUNTY COURTHOUSE                              ACCOUNT NO.:
         1065 EAST MCKINNON STREET                             NOT AVAILABLE
         NEW BROCKTON, AL 36351



3.2541   COFFEE COUNTY, ALABAMA                                   2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.2542   COLE COUNTY, MISSOURI                                   10/26/2018                   Opioid Matter              UNDETERMINED
         311 E HIGH STREET
         ROOM 201                                              ACCOUNT NO.:
         JEFFERSON CITY, MO 65101                              NOT AVAILABLE



3.2543   COLE COUNTY, MISSOURI                                   10/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK OF COUNTY COMMISSION
         311 E. HIGH STREET                                    ACCOUNT NO.:
         JEFFERSON CITY, MO 65101                              NOT AVAILABLE



3.2544   COLLEGE STATION HOSPITAL, LP                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT AND CHAIR OF THE BOARD
         1604 ROCK PRAIRIE ROAD                                ACCOUNT NO.:
         COLLEGE STATION, TX 77845                             NOT AVAILABLE



3.2545   COLLEGIUM PHARMACEUTICAL, INC.                           3/13/2018                   Patent Matter              UNDETERMINED
         780 DEDHAM STREET
         SUITE 800                                             ACCOUNT NO.:
         CANTON, MA 02021                                       PGR2018-48



3.2546   COLUMBIA COUNTY                                         11/28/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE COUNTY BOARD AND
         COUNTY CLERK;                                         ACCOUNT NO.:
         112 EAST EDGEWATER STREET                             NOT AVAILABLE
         PORTAGE, WI 53901



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Schedule E/F: Creditors Who Have Unsecured Claims
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Code                                                 And Account Number                          Claim

Litigation

3.2547   COLUMBIA COUNTY, GEORGIA                                 5/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         PO BOXD 498                                           ACCOUNT NO.:
         EVANS, GA 30809                                       NOT AVAILABLE



3.2548   COLUMBIA COUNTY, PA                                      11/9/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF COMMISSIONERS
         11 WEST MAIN STREE                                    ACCOUNT NO.:
         MAIN STREET COUNTY ANNEX                              NOT AVAILABLE
         BLOOMSBURG, PA 17815



3.2549   COLUMBIANA COUNTY BOARD OF COUNTY                       10/10/2017                   Opioid Matter              UNDETERMINED
         COMMISSIONERS
         COLUMBIANA COUNTY COURTHOUSE                          ACCOUNT NO.:
         105 SOUTH MARKET STREET                               NOT AVAILABLE
         LISBON, OH 44432



3.2550   COLUMBIANA COUNTY BOARD OF COUNTY                       10/10/2017                   Opioid Matter              UNDETERMINED
         COMMISSIONERS
         ATTN: EXECUTIVE COMMISSIONER                          ACCOUNT NO.:
         105 SOUTH MARKET STREET                               NOT AVAILABLE
         LISBON, OH 44432



3.2551   COLUMBUS COUNTY                                          6/22/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER
         111 WASHINGTON STREET                                 ACCOUNT NO.:
         WHITEVILLE, NC 28472                                  NOT AVAILABLE



3.2552   COLUMBUS, GEORGIA                                        4/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY MANAGER
         GOVERNMENT CENTER TOWER                               ACCOUNT NO.:
         6TH FLOOR - 100 10TH STREET                           NOT AVAILABLE
         COLUMBUS, GA 31901



3.2553   COMMISSIONERS OF ST. MARY'S COUNTY, MARYLAND            11/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF COUNTY
         COMMISSIONERS                                         ACCOUNT NO.:
         AND REGISTERED AGENT FOR ST. MARY'S COUNTY,           NOT AVAILABLE
         MARYLAND
         CHESEAPEAKE BUILDING - 41770 BALDRIDGE STREET
         LEONARDTOWN, MD 20650



3.2554   COMMISSIONERS OF ST. MARY'S COUNTY, MARYLAND            11/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF COUNTY
         COMMISSIONERS                                         ACCOUNT NO.:
         AND REGISTERED AGENT FOR ST. MARY'S COUNTY,           NOT AVAILABLE
         MARYLAND
         P.O. BOX 653 - 41770 BALDRIDGE STREET
         LEONARDTOWN, MD 20650



3.2555   COMMON WEALTH OF PA                                      2/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE GOVERNOR
         508 MAIN CAPITOL BUILDING                             ACCOUNT NO.:
         HARRISBURG, PA 17120                                  NOT AVAILABLE



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Code                                                 And Account Number                          Claim

Litigation

3.2556   COMMON WEALTH OF PA                                      2/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: JOSH SHAPIRO
         STATE OF PENNSYLVANIA ATTORNEY GENERAL                ACCOUNT NO.:
         PENNSYLVANIA OFFICE OF ATTORNEY GENERAL - 16TH        NOT AVAILABLE
         FLOOR, STRAWBERRY SQUARE
         HARRISBURG, PA 17120



3.2557   COMMONWEALTH OF MASSACHUSETTS                            6/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAURA HEALEY
         STATE OF MASSACHUSETTS ATTORNEY GENERAL               ACCOUNT NO.:
         1 ASHBURTON PLACE                                     NOT AVAILABLE
         BOSTON, MA 02108-1698



3.2558   COMMONWEALTH OF MASSACHUSETTS                            6/13/2018                   Opioid Matter              UNDETERMINED
         JOANNA LYDGATE, ESQ.
         OFFICE OF THE ATTORNEY GENERAL OF                     ACCOUNT NO.:
         MASSACHUSETTS                                         NOT AVAILABLE
         ONE ASHBURTON PLACE - 20TH FLOOR
         BOSTON, MA 02108



3.2559   COMMONWEALTH OF MASSACHUSETTS                            6/13/2018                   Opioid Matter              UNDETERMINED
         GILLIAN FEINER, ESQ.
         OFFICE OF THE ATTORNEY GENERAL FALSE CLAIMS           ACCOUNT NO.:
         DIVISION                                              NOT AVAILABLE
         1 ASHBURTON PLACE
         BOSTON, MA 02108



3.2560   COMMONWEALTH OF MASSACHUSETTS                            6/13/2018                   Opioid Matter              UNDETERMINED
         JEFFREY THOMAS WALKER, ESQ.
         OFFICE OF THE ATTORNEY GENERAL                        ACCOUNT NO.:
         1 ASHBURTON PLACE                                     NOT AVAILABLE
         BOSTON, MA 02108



3.2561   COMMONWEALTH OF MASSACHUSETTS                            6/13/2018                   Opioid Matter              UNDETERMINED
         ERIC M. GOLD, ESQ.
         OFFICE OF THE ATTORNEY GENERAL                        ACCOUNT NO.:
         ONE ASHBURTON PLACE                                   NOT AVAILABLE
         BOSTON, MA 02108



3.2562   COMMONWEALTH OF MASSACHUSETTS                            6/13/2018                   Opioid Matter              UNDETERMINED
         SYDENHAM B. ALEXANDER, III, ESQ.
         MASSACHUSETTS ATTORNEY GENERAL'S OFFICE               ACCOUNT NO.:
         ONE ASHBURTON PLACE                                   NOT AVAILABLE
         BOSTON, MA 02108



3.2563   COMMONWEALTH OF MASSACHUSETTS                            6/13/2018                   Opioid Matter              UNDETERMINED
         JENNY L. WOJEWODA, ESQ.
         MASSACHUSETTS ATTORNEY GENERAL                        ACCOUNT NO.:
         ONE ASHBURTON PLACE - 18TH FLOOR                      NOT AVAILABLE
         BOSTON, MA 02108




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Code                                                 And Account Number                          Claim

Litigation

3.2564   COMMONWEALTH OF PA                                       2/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: JOSH SHAPIRO
         STATE OF PENNSYLVANIA ATTORNEY GENERAL                ACCOUNT NO.:
         PENNSYLVANIA OFFICE OF ATTORNEY GENERAL - 16TH        NOT AVAILABLE
         FLOOR, STRAWBERRY SQUARE
         HARRISBURG, PA 17120



3.2565   COMMONWEALTH OF PA                                       2/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE GOVERNOR
         508 MAIN CAPITOL BUILDING                             ACCOUNT NO.:
         HARRISBURG, PA 17120                                  NOT AVAILABLE



3.2566   COMMONWEALTH OF PA, ACTING BY AND THROUGH                2/2/2018                    Opioid Matter              UNDETERMINED
         PHILADELPHIA DISTRICT ATTORNEY LAWRENCE S.
         KRASNER                                               ACCOUNT NO.:
         ATTN: PHILADELPHIA DISTRICT ATTORNEY                  NOT AVAILABLE
         3 S PENN SQUARE
         PHILADELPHIA, PA 19107



3.2567   COMMONWEALTH OF PA, ACTING BY AND THROUGH                2/2/2018                    Opioid Matter              UNDETERMINED
         PHILADELPHIA DISTRICT ATTORNEY LAWRENCE S.
         KRASNER                                               ACCOUNT NO.:
         CARMEN P. BELEFONTE                                   NOT AVAILABLE
         SALTZ MONGELUZZI BARRETT & BENDESKY
         20 WEST THIRD STREET - P.O. BOX 1670
         MEDIA, PA 19063



3.2568   COMMONWEALTH OF PA, ACTING BY AND THROUGH                2/2/2018                    Opioid Matter              UNDETERMINED
         PHILADELPHIA DISTRICT ATTORNEY LAWRENCE S.
         KRASNER                                               ACCOUNT NO.:
         HARRIS L. POGUST                                      NOT AVAILABLE
         POGUST BRASLOW & MILLROOD, LLC
         161 WASHINGTON STREET - SUITE 940
         CONSHOHOCKEN, PA 19428



3.2569   COMMONWEALTH OF PA, ACTING BY AND THROUGH                2/2/2018                    Opioid Matter              UNDETERMINED
         PHILADELPHIA DISTRICT ATTORNEY LAWRENCE S.
         KRASNER                                               ACCOUNT NO.:
         PAUL J. HANLY, JR.                                    NOT AVAILABLE
         SIMMONS HANLY CONROY LLC
         112 MADISON AVENUE
         NEW YORK, NY 10016



3.2570   COMMONWEALTH OF PA, ACTING BY AND THROUGH                2/2/2018                    Opioid Matter              UNDETERMINED
         PHILADELPHIA DISTRICT ATTORNEY LAWRENCE S.
         KRASNER                                               ACCOUNT NO.:
         JAYNE CONROY                                          NOT AVAILABLE
         SIMMONS HANLY CONROY LLC
         112 MADISON AVENUE - 7TH FLOOR
         NEW YORK, NY 10016




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Code                                                 And Account Number                          Claim

Litigation

3.2571   COMMONWEALTH OF PA, ACTING BY AND THROUGH                2/2/2018                    Opioid Matter              UNDETERMINED
         PHILADELPHIA DISTRICT ATTORNEY LAWRENCE S.
         KRASNER                                               ACCOUNT NO.:
         ATTN: AMY E. GARRETT                                  NOT AVAILABLE
         SIMMONS HANLY CONROY LLC
         ONE COURT STREET
         ALTON, IL 62002



3.2572   COMMONWEALTH OF PA, ACTING BY AND THROUGH                2/2/2018                    Opioid Matter              UNDETERMINED
         PHILADELPHIA DISTRICT ATTORNEY LAWRENCE S.
         KRASNER                                               ACCOUNT NO.:
         MICHAEL F. BARRETT                                    NOT AVAILABLE
         SALTZ MONGELUZZI BARRETT & BENDESKY
         20 WEST THIRD STREET - P.O. BOX 1670
         MEDIA, PA 19063



3.2573   COMMONWEALTH OF PA, ACTING BY AND THROUGH                2/2/2018                    Opioid Matter              UNDETERMINED
         PHILADELPHIA DISTRICT ATTORNEY LAWRENCE S.
         KRASNER                                               ACCOUNT NO.:
         SARAH S. BURNS                                        NOT AVAILABLE
         SIMMONS HANLY CONROY LLC
         ONE COURT STREET
         ALTON, IL 62002



3.2574   COMMONWEALTH OF PA, ACTING BY AND THROUGH                2/2/2018                    Opioid Matter              UNDETERMINED
         PHILADELPHIA DISTRICT ATTORNEY LAWRENCE S.
         KRASNER                                               ACCOUNT NO.:
         ROBERT J. MONGELUZZI                                  NOT AVAILABLE
         SALTZ MONGELUZZI BARRETT & BENDESKY
         20 WEST THIRD STREET - P.O. BOX 1670
         MEDIA, PA 19063



3.2575   COMMONWEALTH OF PA, ACTING BY AND THROUGH                2/2/2018                    Opioid Matter              UNDETERMINED
         PHILADELPHIA DISTRICT ATTORNEY LAWRENCE S.
         KRASNER                                               ACCOUNT NO.:
         PATRICK C. TIMONEY                                    NOT AVAILABLE
         SCHWARZ MONGELUZZI, LLC
         ONE LIBERTY PLACE - 1650 MARKET STREET, 51ST
         FLOOR
         PHILADELPHIA, PA 19103



3.2576   COMMONWEALTH OF PA, ACTING BY AND THROUGH                2/2/2018                    Opioid Matter              UNDETERMINED
         PHILADELPHIA DISTRICT ATTORNEY LAWRENCE S.
         KRASNER                                               ACCOUNT NO.:
         TRENT B. MIRACLE                                      NOT AVAILABLE
         SIMMONS HANLY CONROY LLC
         ONE COURT STREET
         ALTON, IL 62002



3.2577   COMMONWEALTH OF PENNSYLVANIA BY ATTORNEY                 5/2/2019                    Opioid Matter              UNDETERMINED
         GENERAL JOSH SHAPIRO
         ATTN: JOSH SHAPIRO                                    ACCOUNT NO.:
         STATE OF PENNSYLVANIA ATTORNEY GENERAL                NOT AVAILABLE
         PENNSYLVANIA OFFICE OF ATTORNEY GENERAL - 16TH
         FLOOR, STRAWBERRY SQUARE
         HARRISBURG, PA 17120




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Code                                                 And Account Number                          Claim

Litigation

3.2578   COMMONWEALTH OF VIRGINIA, EX REL. MARK R.                6/27/2018                   Opioid Matter              UNDETERMINED
         HERRING, ATTORNEY GENERAL
         ATTN: MARK HERRING                                    ACCOUNT NO.:
         STATE OF VIRGINIA ATTORNEY GENERAL                    NOT AVAILABLE
         202 NORTH NINTH STREET
         RICHMOND, VA 23219



3.2579   COMMUNITY BASED CARE OF BREVARD, INC. D/B/A             11/15/2018                   Opioid Matter              UNDETERMINED
         BREVARD FAMILY PARTNERSHIP
         ATTN: CHIEF EXECUTIVE OFFICER AND REGISTERED          ACCOUNT NO.:
         AGENT                                                 NOT AVAILABLE
         2301 WEST EAU GALLIE BLVD
         SUITE 104
         MELBOURNE, FL 32935



3.2580   COMMUNITY PARTNERSHIP FOR CHILDREN, INC.                 8/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER AND REGISTERED
         AGENT                                                 ACCOUNT NO.:
         COMMUNITY PARTERSHIP FOR CHILDREN, INC.               NOT AVAILABLE
         135 EXECUTIVE CIRCLE, 2ND FLOOR
         DAYTONA BEACH, FL 32114



3.2581   COMPANION HOME SERVICES, LLC                             6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         10615 JEFFERSON HIGHWAY                               ACCOUNT NO.:
         BATON ROUGE, LA 70809                                 NOT AVAILABLE



3.2582   COMPANION HOME SERVICES, LLC                             6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         8039 LINE AVENUE                                      ACCOUNT NO.:
         SUITE 1C                                              NOT AVAILABLE
         SHREVEPORT, LA 71106



3.2583   COMPANION HOME SERVICES, LLC                             6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER AND LEADERSHIP
         TEAM                                                  ACCOUNT NO.:
         8039 LINE AVENUE                                      NOT AVAILABLE
         SUITE 1C
         SHREVEPORT, LA 71106.



3.2584   COMPANION HOME SERVICES, LLC                             6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: ATTORNEY / AGENT
         8039 LINE AVENUE                                      ACCOUNT NO.:
         SUITE 1C                                              NOT AVAILABLE
         SHREVEPORT, LA 71106



3.2585   COMPANION HOME SERVICES, LLC                             6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER AND LEADERSHIP
         TEAM                                                  ACCOUNT NO.:
         8039 LINE AVENUE                                      NOT AVAILABLE
         SUITE 1C
         SHREVEPORT, LA 71106




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Code                                                 And Account Number                          Claim

Litigation

3.2586   COMPANION HOME SERVICES, LLC                             6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT; MANAGER
         10615 JEFFERSON HIGHWAY                               ACCOUNT NO.:
         BATON ROUGE, LA 70809                                 NOT AVAILABLE



3.2587   COMPANION HOME SERVICES, LLC                             6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: ATTORNEY / AGENT
         820 JORDAN STREET                                     ACCOUNT NO.:
         SUITE 240                                             NOT AVAILABLE
         SHREVEPORT, LA 71101



3.2588   CONCORDIA PARISH                                        10/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT
         4001 CARTER STREET                                    ACCOUNT NO.:
         ROOM 1                                                NOT AVAILABLE
         VIDALIA, LA 71373



3.2589   CONECUH COUNTY, ALABAMA                                  7/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.2590   CONECUH COUNTY, ALABAMA                                  7/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: CIRCUIT CIRCUIT CLERK
         111 COURT ST.                                         ACCOUNT NO.:
         RM 203                                                NOT AVAILABLE
         EVERGREEN, AL 36401-0107



3.2591   CONEJOS COUNTY                                           5/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF DEPUTY-UNDER SHETIFF
         PO BOX 37                                             ACCOUNT NO.:
         CONEJOS, CO 81129                                     NOT AVAILABLE



3.2592   CONEJOS COUNTY                                           5/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN COUNTY COMMISSIONERS
         6683 COUNTY ROAD 13                                   ACCOUNT NO.:
         PO BOX 157                                            NOT AVAILABLE
         CONEJOS, CO 81129



3.2593   CONEJOS COUNTY                                           5/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF DEPUTY-UNDERSHERIFF
         14044 CO RD G.5                                       ACCOUNT NO.:
         ANTONITO, CO 81120                                    NOT AVAILABLE



3.2594   CONEJOS COUNTY                                           5/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN COUNTY COMMISSIONER
         6683 COUNTY ROAD. 13                                  ACCOUNT NO.:
         CONEJOS, CO 81129                                     NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.2595   CONEJOS COUNTY                                           5/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND COUNTY COMMISSIONERS
         PO BOX 157                                            ACCOUNT NO.:
         6683 COUNTY RD. 13                                    NOT AVAILABLE
         CONEJOS, CO 81129



3.2596   CONEJOS COUNTY                                           5/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND RECORDER
         PO BOX 127                                            ACCOUNT NO.:
         6683 COUNTY RD. 13                                    NOT AVAILABLE
         CONEJOS, CO 81129



3.2597   CONEJOS COUNTY                                           5/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND RECORDER
         6683 COUNTY ROAD 13                                   ACCOUNT NO.:
         CONEJOS, CO 81129                                     NOT AVAILABLE



3.2598   CONFEDERATED SALISH AND KOOTENAI TRIBES OF THE           6/5/2019                    Opioid Matter              UNDETERMINED
         FLATHEAD RESERVATION
         ATTN: TRIBAL COUNCIL CHAIRMAN AND CHIEF               ACCOUNT NO.:
         EXECUTIVE OFFICER                                     NOT AVAILABLE
         PO BOX 278
         PABLO, MT 59855



3.2599   CONFEDERATED SALISH AND KOOTENAI TRIBES OF THE           6/5/2019                    Opioid Matter              UNDETERMINED
         FLATHEAD RESERVATION
         42487 COMPLEX BOULEVARD                               ACCOUNT NO.:
         PABLO, MT 59855                                       NOT AVAILABLE



3.2600   CONFEDERATED TRIBE OF WARM SPRINGS                       1/25/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN & CHIEF
         1233 VETERANS STREET                                  ACCOUNT NO.:
         WARM SPRINGS, OR 97761                                NOT AVAILABLE



3.2601   CONFEDERATED TRIBE OF WARM SPRINGS                       1/25/2019                   Opioid Matter              UNDETERMINED
         CONFEDERATED TRIBES OF WARM SPRINGS
         1233 VETERANS STREET                                  ACCOUNT NO.:
          - P O BOX C                                          NOT AVAILABLE
         WARM SPRINGS, OR 97761



3.2602   CONFEDERATED TRIBES AND BANDS OF THE YAKAMA             10/31/2018                   Opioid Matter              UNDETERMINED
         NATION
         ATTN: CHAIRMAN, CEO                                   ACCOUNT NO.:
         401 FORT ROAD                                         NOT AVAILABLE
         P.O. BOX 151
         TOPPENISH, WA 98948



3.2603   CONFEDERATED TRIBES OF THE COLVILLE                      5/8/2019                    Opioid Matter              UNDETERMINED
         RESERVATION
         ATTN: TRIBAL GOVERNMENT COMMITTEE CHAIR AND           ACCOUNT NO.:
         EXECUTIVE DIRECTOR                                    NOT AVAILABLE
         LUCY F. COVINGTON GOVERNMENT CENTER
         21 COLVILLE STREET
         NESPELEM, WA 99155



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Code                                                 And Account Number                          Claim

Litigation

3.2604   CONFEDERATED TRIBES OF THE GRAND RONDE                   2/27/2019                   Opioid Matter              UNDETERMINED
         COMMUNITY OF OREGON
         ATTN: CHAIRPERSON & CHIEF EXECUTIVE OFFICER           ACCOUNT NO.:
         9615 GRAND RONDE ROAD                                 NOT AVAILABLE
         GRAND RONDE, OR 97347



3.2605   CONFEDERATED TRIBES OF THE GRAND RONDE                   2/27/2019                   Opioid Matter              UNDETERMINED
         COMMUNITY OF OREGON
         1520 EAST ELLENDALE                                   ACCOUNT NO.:
         DALLAS, OR 97338                                      NOT AVAILABLE



3.2606   CONFEDERATED TRIBES OF THE GRAND RONDE                   2/27/2019                   Opioid Matter              UNDETERMINED
         COMMUNITY OF OREGON
         1520 EAST ELLENDALE                                   ACCOUNT NO.:
         DALLAS, OR 97338                                      NOT AVAILABLE



3.2607   CONFEDERATED TRIBES OF THE UMATILLA INDIAN               4/19/2018                   Opioid Matter              UNDETERMINED
         RESERVATION
         ATTN: CHAIRMAN GENERAL COUNCIL,CHAIRMAN BOARD         ACCOUNT NO.:
         OF TRUSTEES AND EXECUTIVE DIRECTOR                    NOT AVAILABLE
         NIXYAAWII GOVERNANCE CENTER
         46411 TIMINE WAY
         PENDLETON, OR 97801



3.2608   CONSOLIDATED TRIBAL HEALTH PROJECT, INC.                 3/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         6991 NORTH STATE STREET                               ACCOUNT NO.:
         REDWOOD VALLEY, CA 95470                              NOT AVAILABLE



3.2609   CONSOLIDATED TRIBAL HEALTH PROJECT, INC.                 3/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         PO BOX 387                                            ACCOUNT NO.:
         CALPELLA, CA 95418                                    NOT AVAILABLE



3.2610   CONSUMER PROTECTION DIVISION OFFICE OF THE               5/29/2019                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         ATTN: BRIAN FROSH                                     ACCOUNT NO.:
         STATE OF MARYLAND ATTORNEY GENERAL                    NOT AVAILABLE
         200 ST. PAUL PLACE
         BALTIMORE, MD 21202-2202



3.2611   CONSUMER PROTECTION DIVISION OFFICE OF THE               5/29/2019                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         PAUL J. GELLER                                        ACCOUNT NO.:
         ROBBINS GELLER RUDMAN & DOWD LLP                      NOT AVAILABLE
         120 EAST PALMETTO PARK ROAD - SUITE 500
         BOCA RATON, FL 33432



3.2612   CONSUMER PROTECTION DIVISION OFFICE OF THE               5/29/2019                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         CARISSA J. DOLAN                                      ACCOUNT NO.:
         ROBBINS GELLER RUDMAN & DOWD LLP                      NOT AVAILABLE
         665 WEST BROADWAY - SUITE 1900
         SAN DIEGO, CA 92101



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2613   CONSUMER PROTECTION DIVISION OFFICE OF THE               5/29/2019                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         RYAN E. BOUNDS                                        ACCOUNT NO.:
         OFFICE OF THE ATTORNEY GENERAL OF MARYLAND            NOT AVAILABLE
         200 ST. PAUL PLACE - 16TH FLOOR
         BALTIMORE, MD 21202



3.2614   CONSUMER PROTECTION DIVISION OFFICE OF THE               5/29/2019                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         BRIAN T. EDMUNDS                                      ACCOUNT NO.:
         OFFICE OF THE ATTORNEY GENERAL OF MARYLAND            NOT AVAILABLE
         200 ST. PAUL PLACE - 16TH FLOOR
         BALTIMORE, MD 21202



3.2615   CONSUMER PROTECTION DIVISION OFFICE OF THE               5/29/2019                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         PAULINA DO AMARAL                                     ACCOUNT NO.:
         LIEFF, CABRASER, HEIMANN & BERNSTEIN, LLP             NOT AVAILABLE
         250 HUDSON STREET - 8TH FLOOR
         NEW YORK, NY 10013



3.2616   CONSUMER PROTECTION DIVISION OFFICE OF THE               5/29/2019                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         MARK P. CHALOS                                        ACCOUNT NO.:
         LIEFF, CABRASER, HEIMANN & BERNSTEIN, LLP             NOT AVAILABLE
         222 SECOND AVENUE SOUTH - SUITE 1640
         NASHVILLE, TN 37201



3.2617   CONSUMER PROTECTION DIVISION OFFICE OF THE               5/29/2019                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         DOROTHY P. ANTULLIS                                   ACCOUNT NO.:
         ROBBINS GELLER RUDMAN & DOWD LLP                      NOT AVAILABLE
         120 EAST PALMETTO PARK ROAD - SUITE 500
         BOCA RATON, FL 33432



3.2618   CONSUMER PROTECTION DIVISION OFFICE OF THE               5/29/2019                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         SARA E. TONNESEN                                      ACCOUNT NO.:
         OFFICE OF THE ATTORNEY GENERAL OF MARYLAND            NOT AVAILABLE
         200 ST. PAUL PLACE - 16TH FLOOR
         BALTIMORE, MD 21202



3.2619   CONSUMER PROTECTION DIVISION OFFICE OF THE               5/29/2019                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         ELIZABETH J. CABRASER                                 ACCOUNT NO.:
         LIEFF, CABRASER, HEIMANN & BERNSTEIN, LLP             NOT AVAILABLE
         275 BATTERY STREET - 29TH FLOOR
         SAN FRANCISCO, CA 94111



3.2620   CONSUMER PROTECTION DIVISION OFFICE OF THE               5/29/2019                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         MATTHEW S. MELAMED                                    ACCOUNT NO.:
         ROBBINS GELLER RUDMAN & DOWD LLP                      NOT AVAILABLE
         POST MONTGOMERY CENTER - ONE MONTGOMERY
         STREET SUITE 1800
         SAN FRANCISCO, CA 94104



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2621   CONSUMER PROTECTION DIVISION OFFICE OF THE               5/29/2019                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         ATTN: AELISH M. BAIG                                  ACCOUNT NO.:
         ROBBINS GELLER RUDMAN & DOWD LLP                      NOT AVAILABLE
         POST MONTGOMERY CENTER - ONE MONTGOMERY
         STREET SUITE 1800
         SAN FRANCISCO, CA 94104



3.2622   CONSUMER PROTECTION DIVISION OFFICE OF THE               5/29/2019                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         THOMAS E. EGLER                                       ACCOUNT NO.:
         ROBBINS GELLER RUDMAN & DOWD LLP                      NOT AVAILABLE
         665 WEST BROADWAY - SUITE 1900
         SAN DIEGO, CA 92101



3.2623   CONSUMER PROTECTION DIVISION OFFICE OF THE               5/29/2019                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         ATTN: ANDREW C. WHITE                                 ACCOUNT NO.:
         SILVERMAN, THOMPSON, SLUTKIN & WHITE, LLC             NOT AVAILABLE
         201 NORTH CHARLES STREET - 26TH FLOOR
         BALTIMORE, MD 21201



3.2624   CONSUMER PROTECTION DIVISION OFFICE OF THE               5/29/2019                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         JOSEPH F. MURPHY, JR.                                 ACCOUNT NO.:
         SILVERMAN, THOMPSON, SLUTKIN & WHITE, LLC             NOT AVAILABLE
         201 NORTH CHARLES STREET - 26TH FLOOR
         BALTIMORE, MD 21201



3.2625   CONSUMER PROTECTION DIVISION OFFICE OF THE               5/29/2019                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         STEVEN D. SILVERMAN                                   ACCOUNT NO.:
         SILVERMAN, THOMPSON, SLUTKIN & WHITE, LLC             NOT AVAILABLE
         201 NORTH CHARLES STREET - 26TH FLOOR
         BALTIMORE, MD 21201



3.2626   CONSUMER PROTECTION DIVISION OFFICE OF THE               5/29/2019                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         WILLIAM SINCLAIR                                      ACCOUNT NO.:
         SILVERMAN, THOMPSON, SLUTKIN & WHITE, LLC             NOT AVAILABLE
         201 NORTH CHARLES STREET - 26TH FLOOR
         BALTIMORE, MD 21201



3.2627   CONSUMER PROTECTION DIVISION OFFICE OF THE               5/29/2019                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         MARK J. DEARMAN                                       ACCOUNT NO.:
         ROBBINS GELLER RUDMAN & DOWD LLP                      NOT AVAILABLE
         120 EAST PALMETTO PARK ROAD - SUITE 500
         BOCA RATON, FL 33432



3.2628   COOK COUNTY, GEORGIA                                     3/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         1200 SOUTH HUTCHINSON AVENUE                          ACCOUNT NO.:
         ADEL, GA 31620                                        NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip                 Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                            And Account Number                         Claim

Litigation

3.2629   COOS COUNTY, OREGON                                                12/9/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, BOARD OF COMMISSIONERS AND
         COUNTY CLERK                                                    ACCOUNT NO.:
         COOS COUNTY COURTHOUSE                                          NOT AVAILABLE
         250 N. BAXTER
         COQUILLE, OR 97423



3.2630   COPLEY TOWNSHIP                                                    6/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT BOARD OF TRUSTEES OR THE
         TOWNSHIP CLERK                                                  ACCOUNT NO.:
         1540 SOUTH CLEVELAND-MASSILLON ROAD                             NOT AVAILABLE
         COPLEY, OH 44321-1908



3.2631   COPPER RIVER NATIVE ASSOCIATION                                   10/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         MILE 111.5 RICHARDSON HIGHWAY                                   ACCOUNT NO.:
         PO BOX H                                                        NOT AVAILABLE
         COPPER CENTER, AK 99573



3.2632   COPPER RIVER NATIVE ASSOCIATION                                   10/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         ROBERT MARSHALL BUILDING                                        ACCOUNT NO.:
         MILE 111.5 RICHARDSON HIGHWAY                                   NOT AVAILABLE
         COPPER CENTER, AK 99573



3.2633   COREY MEANS, INDIVIDUALLY AND AS NEXT FRIEND                       6/14/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY E.D.J., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                    ACCOUNT NO.:
         ATTN: KENT HARRISON ROBBINS                                     NOT AVAILABLE
         THE LAW OFFICE OF KENT HARRISON ROBBINS, P.A.
         242 NORTHEAST 27TH STREET
         MIAMI, FL 33137



3.2634   COREY MEANS, INDIVIDUALLY AND AS NEXT FRIEND                       6/14/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY E.D.J., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                    ACCOUNT NO.:
         ATTN: CELESTE BRUSTOWICZ                                        NOT AVAILABLE
         COOPER LAW FIRM
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.2635   COREY MEANS, INDIVIDUALLY AND AS NEXT FRIEND                       6/14/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY E.D.J., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                    ACCOUNT NO.:
         ATTN: DONALD E. CREADORE                                        NOT AVAILABLE
         CREADOR LAW FIRM
         450 SEVENTH AVENUE - SUITE 1408
         NEW YORK, NY 10213



3.2636   Corey Means, individually and as next friend and guardian of       6/14/2019                   Opioid Matter              UNDETERMINED
         Baby E.D.J., on behalf of themselves and all others similarly
         situated                                                        ACCOUNT NO.:
         Attn: Kevin W. Thompson, David R. Barney, Jr.                   NOT AVAILABLE
         Thompson Barney Law Firm
         2030 Kanawha Boulevard, East
         Charleston, WV 25311



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2637   COREY MEANS, INDIVIDUALLY AND AS NEXT FRIEND             6/14/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY E.D.J., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED          ACCOUNT NO.:
         ATTN: SPENCER R. DOODY                                NOT AVAILABLE
         MARTZELL, BICKFORD & CENTOLA
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.2638   COREY MEANS, INDIVIDUALLY AND AS NEXT FRIEND             6/14/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY E.D.J., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED          ACCOUNT NO.:
         ATTN: DAVID R. BARNEY, JR.                            NOT AVAILABLE
         THOMPSON BARNEY LAW FIRM
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311



3.2639   COREY MEANS, INDIVIDUALLY AND AS NEXT FRIEND             6/14/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY E.D.J., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED          ACCOUNT NO.:
         ATTN: SCOTT R. BICKFORD                               NOT AVAILABLE
         MARTZELL, BICKFORD & CENTOLA
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.2640   COREY MEANS, INDIVIDUALLY AND AS NEXT FRIEND             6/14/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY E.D.J., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED          ACCOUNT NO.:
         ATTN: CELESTE BRUSTOWICZ, STEPHEN H. WUSSOW           NOT AVAILABLE
         COOPER LAW FIRM, LLC
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.2641   COSHOCTON COUNTY BOARD OF COUNTY                        12/18/2017                   Opioid Matter              UNDETERMINED
         COMMISSIONERS
         ATTN: COUNTY COMMISSIONER                             ACCOUNT NO.:
         401 1/2 MAIN STREET                                   NOT AVAILABLE
         COSHOCTON, OH 43812



3.2642   COUNTY COMMISSION OF CLAY COUNTY                         2/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS
         CLAY COUNTY COMMISSION                                ACCOUNT NO.:
         246 MAIN STREET - P. O. BOX 190                       NOT AVAILABLE
         CLAY, WV 25043



3.2643   COUNTY COMMISSIONERS OF CALVERT COUNTY,                  6/13/2019                   Opioid Matter              UNDETERMINED
         MARYLAND
         ATTN: PRESIDENT OF THE BOARD OF COUNTY                ACCOUNT NO.:
         COMMISSIONERS                                         NOT AVAILABLE
         AND REGISTERED AGENT FOR CALVERT COUNTY,
         MARYLAND
         175 MAIN STREET PRINCE
         FREDERICK, MD 20678




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2644   COUNTY COMMISSIONERS OF CHARLES COUNTY,                  2/4/2019                    Opioid Matter              UNDETERMINED
         MARYLAND
         ATTN: PRESIDENT OF THE BOARD OF COUNTY                ACCOUNT NO.:
         COMMISSIONERS                                         NOT AVAILABLE
         AND REGISTERED AGENT FOR CHARLES COUNTY,
         MARYLAND
         200 BALTIMORE STREET
         LA PLATA, MD 20646



3.2645   COUNTY OF ABBEVILLE                                      5/20/2019                   Opioid Matter              UNDETERMINED
         FINGER, TERRY A.
         PO BOX 24005                                          ACCOUNT NO.:
         HILTON HEAD ISLAND, SC 29925-4005                     NOT AVAILABLE



3.2646   COUNTY OF ABBEVILLE, SC                                  5/20/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY DIRECTOR AND CLERK TO COUNCIL
         903 WEST GREENWOOD STREET                             ACCOUNT NO.:
         SUITE 2800                                            NOT AVAILABLE
         ABBEVILLE, SC 29620



3.2647   COUNTY OF AIKEN                                          5/2/2019                    Opioid Matter              UNDETERMINED
         MARGHRETTA HAGOOD SHISKO
         HARRISON WHITE, P.C.                                  ACCOUNT NO.:
         178 WEST MAIN STREET - PO BOX 3547                    NOT AVAILABLE
         SPARTANBURG, SC 29306



3.2648   COUNTY OF AIKEN                                          5/2/2019                    Opioid Matter              UNDETERMINED
         JOHN BELTON WHITE JR.
         HARRISON WHITE SMITH & COGGINS                        ACCOUNT NO.:
         PO BOX 3547                                           NOT AVAILABLE
         SPARTANBURG, SC 29304



3.2649   COUNTY OF AIKEN, SC                                      5/2/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF COUNTY COUNCIL
         1930 UNIVERSITY PARKWAY                               ACCOUNT NO.:
         SUITE 3600                                            NOT AVAILABLE
         AIKEN, SC 29801



3.2650   COUNTY OF AIKEN, SC                                      5/2/2019                    Opioid Matter              UNDETERMINED
         ATTN: CLERK OF COURT
         JUDICIAL CENTER (COURTHOUSE)                          ACCOUNT NO.:
         109 PARK AVENUE SE - FIRST, SECOND, THIRD FLOORS      NOT AVAILABLE
         AIKEN, SC 29801



3.2651   COUNTY OF ALACHUA                                        1/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK OF THE COURT
         201 EAST UNIVERSITY AVENUE                            ACCOUNT NO.:
         GAINESVILLE, FL 32601                                 NOT AVAILABLE



3.2652   COUNTY OF ALACHUA                                        1/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER; BOARD OF COUNTY
         COMMISIONERS                                          ACCOUNT NO.:
         12 SE 1ST STREET                                      NOT AVAILABLE
         2ND FLOOR
         GAINESVILLE, FL 32601


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Code                                                 And Account Number                          Claim

Litigation

3.2653   COUNTY OF ALAMEDA, AND THE PEOPLE OF THE STATE           3/28/2019                   Opioid Matter              UNDETERMINED
         OF CALIFORNIA, BY AND THROUGH ALAMEDA COUNTY
         ATTORNEY DONNA ZIEGLER                                ACCOUNT NO.:
         ATTN: COUNTY COUNSEL                                  NOT AVAILABLE
         1221 OAK STREET
         SUITE 450
         OAKLAND, CA 94612



3.2654   COUNTY OF ALAMEDA, AND THE PEOPLE OF THE STATE           3/28/2019                   Opioid Matter              UNDETERMINED
         OF CALIFORNIA, BY AND THROUGH ALAMEDA COUNTY
         ATTORNEY DONNA ZIEGLER                                ACCOUNT NO.:
         ATTN: CLERK OF THE BOARD OF SUPERVISORS               NOT AVAILABLE
         1221 OAK STREET
         SUITE 536
         OAKLAND, CA 94612



3.2655   COUNTY OF ALAMEDA, CA                                    3/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: AUDITOR-CONTROLLER/CLERK-RECORDER
         ALAMEDA COUNTY CLERK-RECORDER'S OFFICE                ACCOUNT NO.:
         7600 DUBLIN BOULEVARD                                 NOT AVAILABLE
         DUBLIN, CA 94568



3.2656   COUNTY OF ALAMEDA, CA                                    3/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: AUDITOR-CONTROLLER/CLERK-RECORDER
         ALAMEDA COUNTY CLERK-RECORDER'S OFFICE                ACCOUNT NO.:
         1106 MADISON STREET                                   NOT AVAILABLE
         OAKLAND, CA 94607



3.2657   COUNTY OF ALCONA, MICHIGAN                               3/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF COMMISSIONERS; COUNTY CLERK
         106 5TH STREET                                        ACCOUNT NO.:
         P.O. BOX 308                                          NOT AVAILABLE
         HARRISVILLE, MI 48740



3.2658   COUNTY OF ALGER, MICHIGAN                                3/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON, BOARD OF COMMISSIONERS AND
         COUNTY CLERK                                          ACCOUNT NO.:
         101 COURT STREET                                      NOT AVAILABLE
         MUNISING, MI 49862



3.2659   COUNTY OF ALLEGHENY                                      5/15/2018                   Opioid Matter              UNDETERMINED
         BRUCE E. MATTACK
         GOLDBERG PERSKY & WHITE, P.C.                         ACCOUNT NO.:
         11 STANWIX STREET - SUITE 1800                        NOT AVAILABLE
         PITTSBURGH, PA 15222



3.2660   COUNTY OF ALLEGHENY                                      5/15/2018                   Opioid Matter              UNDETERMINED
         JASON T. SHIPP
         GOLDBERG PERSKY & WHITE, P.C.                         ACCOUNT NO.:
         11 STANWIX STREET - SUITE 1800                        NOT AVAILABLE
         PITTSBURGH, PA 15222




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Code                                                 And Account Number                          Claim

Litigation

3.2661   COUNTY OF ALLEGHENY                                      5/15/2018                   Opioid Matter              UNDETERMINED
         LINDA SINGER
         MOTLEY RICE LLC                                       ACCOUNT NO.:
         401 9TH STREET NORTHWEST - SUITE 1001                 NOT AVAILABLE
         WASHINGTON, DC 20004



3.2662   COUNTY OF ALLEGHENY                                      5/15/2018                   Opioid Matter              UNDETERMINED
         ELIZABETH SMITH
         MOTLEY RICE LLC                                       ACCOUNT NO.:
         401 9TH STREET NORTHWEST - SUITE 1001                 NOT AVAILABLE
         WASHINGTON, DC 20004



3.2663   COUNTY OF ALLEGHENY                                      5/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: ANDREW F. SZEFI
         COUNTY SOLICITOR ALLEGHENT COUNTY                     ACCOUNT NO.:
         445 FORT PITT BOULEVARD - SUITE 300                   NOT AVAILABLE
         PITTSBURGH, PA 15219



3.2664   COUNTY OF ALLEGHENY                                      5/15/2018                   Opioid Matter              UNDETERMINED
         JEFFREY C. NELSON
         MOTLEY RICE LLC                                       ACCOUNT NO.:
         401 9TH STREET NORTHWEST - SUITE 1001                 NOT AVAILABLE
         WASHINGTON, DC 20004



3.2665   COUNTY OF ALLEGHENY, PA                                  5/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE COUNTY COUNCIL
         COUNTY COUNCIL                                        ACCOUNT NO.:
         COUNTY COURTHOUSE - 436 GRANT STREET, ROOM 119        NOT AVAILABLE
         PITTSBURGH, PA 15219-2497



3.2666   COUNTY OF ALLEGHENY, PA                                  5/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE
         101 COUNTY COURTHOUSE                                 ACCOUNT NO.:
         436 GRANT STREET                                      NOT AVAILABLE
         PITTSBURGH, PA 15219



3.2667   COUNTY OF ALLEGHENY, PA                                  5/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COUNCIL
         436 GRANT STREET                                      ACCOUNT NO.:
         ROOM 119                                              NOT AVAILABLE
         PITTSBURGH, PA 15219



3.2668   COUNTY OF ALLEGHENY, PA                                  5/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         436 GRANT STREET                                      ACCOUNT NO.:
         ROOM 108                                              NOT AVAILABLE
         PITTSBURGH, PA 15219



3.2669   COUNTY OF ALLEGHENY, PA                                  5/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE
         436 GRANT STREET                                      ACCOUNT NO.:
         ROOM 101                                              NOT AVAILABLE
         PITTSBURGH, PA 15219




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Code                                                 And Account Number                          Claim

Litigation

3.2670   COUNTY OF ALLENDALE                                      6/25/2018                   Opioid Matter              UNDETERMINED
         H. WOODROW GOODING
         P.O. BOX 1000                                         ACCOUNT NO.:
         ALLENDALE, SC 29810                                   NOT AVAILABLE



3.2671   COUNTY OF ALLENDALE                                      6/25/2018                   Opioid Matter              UNDETERMINED
         TERRY A. FINGER
         P.O. BOX 24005                                        ACCOUNT NO.:
         HILTON HEAD ISLAND, SC 29925-4005                     NOT AVAILABLE



3.2672   COUNTY OF ALLENDALE                                      6/25/2018                   Opioid Matter              UNDETERMINED
         MARK BRANDON TINSLEY
         P.O. BOX 1000                                         ACCOUNT NO.:
         ALLENDALE, SC 29810                                   NOT AVAILABLE



3.2673   COUNTY OF ALLENDALE, SC                                  6/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COUNCIL CHAIRPERSON AND CLERK TO
         COUNCIL                                               ACCOUNT NO.:
         526 MEMORIAL AVENUE                                   NOT AVAILABLE
         P.O. BOX 190
         ALLENDALE, SC 29810



3.2674   COUNTY OF ALLENDALE, SC                                  6/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK OF COURT
         P.O. BOX 126                                          ACCOUNT NO.:
         ALLENDALE, SC 29810                                   NOT AVAILABLE



3.2675   COUNTY OF ALPENA, MICHIGAN                               3/16/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         720 WEST CHISHOLM STREET                              ACCOUNT NO.:
         SUITE 2                                               NOT AVAILABLE
         ALPENA, MI 49707



3.2676   COUNTY OF ALPENA, MICHIGAN                               3/16/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         720 WEST CHISHOLM STREET                              NOT AVAILABLE
         SUITE 7
         ALPENA, MI 49707



3.2677   COUNTY OF AMADOR, A POLITICAL SUBDIVISION OF THE         8/22/2018                   Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA, THE PEOPLE OF THE STATE OF
         CALIFORNIA, ACTING BY AND THROUGH THE COUNTY OF       ACCOUNT NO.:
         AMADOR                                                NOT AVAILABLE
         ATTN: CHAIR OF THE BOARD OF SUPERVISORS AND
         COUNTY CLERK
         810 COURT STREET
         JACKSON, CA 95642



3.2678   COUNTY OF ANACONDA-DEER LODGE                            2/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         A-DLC COURTHOUSE, FIRST FLOOR                         ACCOUNT NO.:
         800 MAIN STREET                                       NOT AVAILABLE
         ANACONDA, MT 59711



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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2679   COUNTY OF ANDERSON                                       6/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: WHITE, JOHN BELTON JR.
         HARRISON WHITE, P.C.                                  ACCOUNT NO.:
         178 WEST MAIN STREET - PO BOX 3547                    NOT AVAILABLE
         SPARTANBURG, SC 29306



3.2680   COUNTY OF ANDERSON                                       6/6/2018                    Opioid Matter              UNDETERMINED
         SHISKO, MARGHRETTA HAGOOD
         HARRISON WHITE, P.C.                                  ACCOUNT NO.:
         178 WEST MAIN STREET - PO BOX 3547                    NOT AVAILABLE
         SPARTANBURG, SC 29306



3.2681   COUNTY OF ANDERSON                                       6/6/2018                    Opioid Matter              UNDETERMINED
         COLE, GREGORY LEE JR.
         COX & COLE ATTORNEYS AT LAW                           ACCOUNT NO.:
         32 EAST MAIN STREET                                   NOT AVAILABLE
         WILLIAMSTON, SC 29697



3.2682   COUNTY OF ANDERSON                                       6/6/2018                    Opioid Matter              UNDETERMINED
         COLE, GREGORY LEE JR.
         COX & COLE ATTORNEYS AT LAW                           ACCOUNT NO.:
         PO BOX 315                                            NOT AVAILABLE
         WILLIAMSTON, SC 29697



3.2683   COUNTY OF ANDERSON                                       6/6/2018                    Opioid Matter              UNDETERMINED
         YELVERTON, MATTHEW EVERT
         60 FOLLY ROAD BOULEVARD                               ACCOUNT NO.:
         PO BOX 3547                                           NOT AVAILABLE
         CHARLESTON, SC 29407



3.2684   COUNTY OF ANDERSON                                       6/6/2018                    Opioid Matter              UNDETERMINED
         YELVERTON, MATTHEW EVERT
         SHEFFRON LAW FIRM, P.A.                               ACCOUNT NO.:
         475 S. CHURCH STREET                                  NOT AVAILABLE
         HENDERSONVILLE, NC 28792



3.2685   COUNTY OF ANDERSON, SC                                   6/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY COUNCIL CHAIRMAN AND CLERK TO
         COUNCIL                                               ACCOUNT NO.:
         101 SOUTH MAIN STREET                                 NOT AVAILABLE
         ANDERSON, SC 29624



3.2686   COUNTY OF ANGELINA                                      11/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: ANGELINA COUNTY JUDGE
         ANGELINA COUNTY DENMAN BUILDING                       ACCOUNT NO.:
         606 EAST LUFKIN AVENUE                                NOT AVAILABLE
         LUFKIN, TX 75901



3.2687   COUNTY OF ANOKA, MN                                      1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN
         ANOKA COUNTY GOVERNMENT CENTER                        ACCOUNT NO.:
         2100 THIRD AVE.                                       NOT AVAILABLE
         ANOKA, MN 55303-5024




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2688   COUNTY OF ANTRIM, MICHIGAN                               3/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF COUNTY BOARD OF COMMISSIONERS
         ANTRIM COUNTY BOARD OF COMMISSIONERS                  ACCOUNT NO.:
         P.O. BOX 520                                          NOT AVAILABLE
         BELLAIRE, MI 49615



3.2689   COUNTY OF ANTRIM, MICHIGAN                               3/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK OF ANTRIM
         203 EAST CAYUGA STREET                                ACCOUNT NO.:
         P.O. BOX 520                                          NOT AVAILABLE
         BELLAIRE, MI 49615



3.2690   COUNTY OF APACHE                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: JEFF REEVES, ESQ.
         THEODORA ORINGHER PC                                  ACCOUNT NO.:
         535 ANTON BOULEVARD, NINTH FLOOR                      NOT AVAILABLE
         COSTA MESA, CA 92626-7109



3.2691   COUNTY OF APACHE                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CHERYL PRIEST AINSWORTH, ESQ.
         THEODORA ORINGHER PC                                  ACCOUNT NO.:
         535 ANTON BOULEVARD, NINTH FLOOR                      NOT AVAILABLE
         COSTA MESA, CA 92626-7109



3.2692   COUNTY OF APACHE                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: JESSICA HERNANDEZ DIOTALEVI
         THEODORA ORINGHER PC                                  ACCOUNT NO.:
         535 ANTON BOULEVARD, NINTH FLOOR                      NOT AVAILABLE
         COSTA MESA, CA 92626-7109



3.2693   COUNTY OF APACHE                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: KEVIN N. ROYER
         THEODORA ORINGHER PC                                  ACCOUNT NO.:
         535 ANTON BOULEVARD, NINTH FLOOR                      NOT AVAILABLE
         COSTA MESA, CA 92626-7109



3.2694   COUNTY OF APACHE, AZ                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: SCOTT DAY FREEMAN
         FENNIMORE CRAIG, P.C.                                 ACCOUNT NO.:
         2394 EAST CAMELBACK ROAD, SUITE 600                   NOT AVAILABLE
         PHOENIX, AZ 85016-9077



3.2695   COUNTY OF APACHE, AZ                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: J. CHRISTOPHER GOOCH
         FENNIMORE CRAIG, P.C.                                 ACCOUNT NO.:
         2394 EAST CAMELBACK ROAD, SUITE 600                   NOT AVAILABLE
         PHOENIX, AZ 85016-9077



3.2696   COUNTY OF APACHE, AZ                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: JOHN P. KAITES
         FENNIMORE CRAIG, P.C.                                 ACCOUNT NO.:
         2394 EAST CAMELBACK ROAD, SUITE 600                   NOT AVAILABLE
         PHOENIX, AZ 85016-9077




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2697   COUNTY OF APACHE, AZ                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CLERK OF THE BOARD OF SUPERVISORS
         APACHE COUNTY ANNEX BUILDING                          ACCOUNT NO.:
         75 WEST CLEVELAND STREET                              NOT AVAILABLE
         ST. JOHNS, AZ 85936



3.2698   COUNTY OF APACHE, CA                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: ANNE ANDREWS
         ANDREWS & THORNTON                                    ACCOUNT NO.:
         4701 VON KARMAN AVENUE, SUITE 300                     NOT AVAILABLE
         NEWPORT BEACH, CA 92660



3.2699   COUNTY OF APACHE, CA                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: TODD C. THEODORA, JEFF REEVES, CHERYL
         PRIEST AINSWORTH, JESSICA HERNANDEZ DIOTALEVI,        ACCOUNT NO.:
         KEVIN N. ROYER                                        NOT AVAILABLE
         THEODORA ORINGHER PC - 535 ANTON BOULEVARD,
         NINTH FLOOR
         COSTA MESA, CA 92626-7109



3.2700   COUNTY OF APACHE, CA                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: ROBERT SIKO
         ANDREWS & THORNTON                                    ACCOUNT NO.:
         4701 VON KARMAN AVENUE, SUITE 300                     NOT AVAILABLE
         NEWPORT BEACH, CA 92660



3.2701   COUNTY OF ARENAC, MICHIGAN                               3/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE BOARD OF COMMISSIONERS AND
         COUNTY CLERK                                          ACCOUNT NO.:
         120 NORTH GROVE STREET                                NOT AVAILABLE
         P.O. BOX 747
         STANDISH, MI 48658



3.2702   COUNTY OF ARKANSAS, AR                                   3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COUNTY CLERK
         101 COURT SQUARE                                      ACCOUNT NO.:
         DEWITT, AR 72042                                      NOT AVAILABLE



3.2703   COUNTY OF ASHLEY, AR                                     3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         205 EAST JEFFERSON STREET                             ACCOUNT NO.:
         ROOM 5                                                NOT AVAILABLE
         HAMBURG, AR 71646



3.2704   COUNTY OF ASHLEY, AR                                     3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         205 EAST JEFFERSON STREET                             ACCOUNT NO.:
         ROOM 4                                                NOT AVAILABLE
         HAMBURG, AR 71646



3.2705   COUNTY OF ASHTABULA                                      1/12/2018                   Opioid Matter              UNDETERMINED
         25 WEST JEFFERSON STREET
         2ND FLOOR OLD COURTHOUSE                              ACCOUNT NO.:
         JEFFERSON, OH 44047                                   NOT AVAILABLE



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2706   COUNTY OF ASHTABULA                                      1/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS AND ATTORNEY
         25 WEST JEFFERSON STREET                              ACCOUNT NO.:
         JEFFERSON, OH 44047                                   NOT AVAILABLE



3.2707   COUNTY OF BAMBERG                                        9/13/2018                   Opioid Matter              UNDETERMINED
         TERRY A. FINGER
         P.O. BOX 24005                                        ACCOUNT NO.:
         HILTON HEAD ISLAND, SC 29925-4005                     NOT AVAILABLE



3.2708   COUNTY OF BAMBERG                                        9/13/2018                   Opioid Matter              UNDETERMINED
         C. BRADLEY HUTTO
         WILLIAMS AND WILLIAMS                                 ACCOUNT NO.:
         P.O. BOX 1084                                         NOT AVAILABLE
         ORANGEBURG, SC 29116



3.2709   COUNTY OF BAMBERG, SC                                    9/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF COUNTY COUNCIL AND CLERK TO
         COUNCIL                                               ACCOUNT NO.:
         COURTHOUSE ANNEX                                      NOT AVAILABLE
         1234 NORTH STREET - P.O. BOX 149
         BAMBERG, SC 29003



3.2710   COUNTY OF BARAGA, MICHIGAN                               3/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR COUNTY BOARD OF COMMISSIONERS AND
         COUNTY CLERK                                          ACCOUNT NO.:
         2 S. MAIN STREET                                      NOT AVAILABLE
         L’ANSE, MI 49946



3.2711   COUNTY OF BARNWELL                                       9/13/2018                   Opioid Matter              UNDETERMINED
         TERRY A. FINGER
         P.O. BOX 24005                                        ACCOUNT NO.:
         HILTON HEAD ISLAND, SC 29925-4005                     NOT AVAILABLE



3.2712   COUNTY OF BARNWELL                                       9/13/2018                   Opioid Matter              UNDETERMINED
         C. BRADLEY HUTTO
         WILLIAMS AND WILLIAMS                                 ACCOUNT NO.:
         P.O. BOX 1084                                         NOT AVAILABLE
         ORANGEBURG, SC 29116



3.2713   COUNTY OF BARNWELL, SC                                   9/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COUNCIL CHAIRMAN
         93 PHILLIPS STREET                                    ACCOUNT NO.:
         BARNWELL, SC 29812                                    NOT AVAILABLE



3.2714   COUNTY OF BARNWELL, SC                                   9/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK TO COUNCIL
         57 WALL STREET                                        ACCOUNT NO.:
         BARNWELL, SC 29812                                    NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2715   COUNTY OF BAXTER, AR                                     3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         BAXTER COUNTY COURTHOUSE                              ACCOUNT NO.:
         1 EAST 7TH STREET - 3RD FLOOR                         NOT AVAILABLE
         MOUNTAIN HOME, AR 72653



3.2716   COUNTY OF BAXTER, AR                                     3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         BAXTER COUNTY COURTHOUSE                              ACCOUNT NO.:
         1 EAST 7TH STREET - 1ST FLOOR                         NOT AVAILABLE
         MOUNTAIN HOME, AR 72653



3.2717   COUNTY OF BAY, MICHIGAN                                  4/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS ;
         515 CENTER AVENUE                                     ACCOUNT NO.:
         SUITE 405                                             NOT AVAILABLE
         BAY CITY, MI 48708-5125



3.2718   COUNTY OF BAY, MICHIGAN                                  4/3/2019                    Opioid Matter              UNDETERMINED
         515 CENTER AVENUE,
         STE. 101                                              ACCOUNT NO.:
         BAY CITY, MI 48708-5941                               NOT AVAILABLE



3.2719   COUNTY OF BEAUFORT                                       6/19/2018                   Opioid Matter              UNDETERMINED
         BENJAMIN THOMAS SHELTON
         P.O. BOX 24005                                        ACCOUNT NO.:
         HILTON HEAD ISLAND, SC 29925-4005                     NOT AVAILABLE



3.2720   COUNTY OF BEAUFORT                                       6/19/2018                   Opioid Matter              UNDETERMINED
         TERRY A FINGER
         P.O. BOX 24005                                        ACCOUNT NO.:
         HILTON HEAD ISLAND, SC 29925-4005                     NOT AVAILABLE



3.2721   COUNTY OF BEAUFORT, SC                                   6/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF COUNTY COUNCIL AND CLERK TO
         COUNCIL                                               ACCOUNT NO.:
         100 RIBAUT ROAD                                       NOT AVAILABLE
         BEAUFORT, SC 29902



3.2722   COUNTY OF BEAUFORT, SC                                   6/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY ADMINISTRATOR
         P.O. DRAWER 1228                                      ACCOUNT NO.:
         BEAUFORT, SC 29901                                    NOT AVAILABLE



3.2723   COUNTY OF BEE, TX                                        5/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: BEE COUNTY JUDGE
         105 W. CORPUS CHRISTI                                 ACCOUNT NO.:
         RM# 305                                               NOT AVAILABLE
         BEEVILLE, TX 78102




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2724   COUNTY OF BENTON, AR                                     3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COUNTY CLERK
         215 EAST CENTRAL AVENUE                               ACCOUNT NO.:
         BENTONVILLE, AR 72712                                 NOT AVAILABLE



3.2725   COUNTY OF BENZIE, MICHIGAN                               3/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK OF BENZIE
         UPPER LEVEL                                           ACCOUNT NO.:
         GOVERNMENT CENTER - 448 COURT PLACE                   NOT AVAILABLE
         BEULAH, MI 49617



3.2726   COUNTY OF BENZIE, MICHIGAN                               3/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE COUNTY BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         448 COURT PLACE                                       NOT AVAILABLE
         BEULAH, MI 49617



3.2727   COUNTY OF BERKELEY, SOUTH CAROLINA                       6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: CLERK TO COUNCIL & COUNTY SUPERVISOR AND
         COUNCIL CHAIRMAN                                      ACCOUNT NO.:
         1003 US HIGHWAY 52                                    NOT AVAILABLE
         MONCKS CORNER, SC 29461



3.2728   COUNTY OF BERRIEN, MICHIGAN                              7/26/2018                   Opioid Matter              UNDETERMINED
         811 PORT STREET
         FIRST FLOOR                                           ACCOUNT NO.:
         SAINT JOSEPH, MI 49085                                NOT AVAILABLE



3.2729   COUNTY OF BERRIEN, MICHIGAN                              7/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         701 MAIN STREET                                       NOT AVAILABLE
         4TH FLOOR
         ST. JOSEPH, MI 49085



3.2730   COUNTY OF BEXAR, TX                                      5/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: BEXAR COUNTY JUDGE
         101 W NUEVA                                           ACCOUNT NO.:
         10TH FLOOR                                            NOT AVAILABLE
         SAN ANTONIO, TX 78205



3.2731   COUNTY OF BLANCO                                         11/5/2018                   Opioid Matter              UNDETERMINED
         ATTN: BLANCO COUNTY JUDGE
         PO BOX 387                                            ACCOUNT NO.:
         JOHNSON CITY, TX 78636                                NOT AVAILABLE



3.2732   COUNTY OF BLANCO                                         11/5/2018                   Opioid Matter              UNDETERMINED
         ATTN: BLANCO COUNTY JUDGE
         BLANCO COUNTY COURTHOUSE                              ACCOUNT NO.:
         101 EAST PECAN                                        NOT AVAILABLE
         JOHNSON CITY, TX 78636




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2733   COUNTY OF BOONE, AR                                      3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         100 NORTH MAIN                                        ACCOUNT NO.:
         SUITE 201                                             NOT AVAILABLE
         HARRISON, AR 72601



3.2734   COUNTY OF BOONE, AR                                      3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         100 NORTH MAIN                                        ACCOUNT NO.:
         SUITE 300                                             NOT AVAILABLE
         HARRISON, AR 72601



3.2735   COUNTY OF BOWIE                                          10/2/2017                   Opioid Matter              UNDETERMINED
         ATTN: BOWIE COUNTY JUDGE
         BOWIE COUNTY COURTHOUSE                               ACCOUNT NO.:
         710 JAMES BOWIE DRIVE                                 NOT AVAILABLE
         NEW BOSTON, TX 75570



3.2736   COUNTY OF BRADFORD                                       4/2/2018                    Opioid Matter              UNDETERMINED
         CARMEN A. DE GISI
         MARC J. BERN & PARTNERS LLP                           ACCOUNT NO.:
         101 WEST ELM STREET - SUITE 215                       NOT AVAILABLE
         CONSHOHOCKEN, PA 19428



3.2737   COUNTY OF BRADFORD                                       4/2/2018                    Opioid Matter              UNDETERMINED
         JOSEPH CAPPELLI
         MARC J. BERN & PARTNERS LLP                           ACCOUNT NO.:
         101 WEST ELM STREET - SUITE 215                       NOT AVAILABLE
         CONSHOHOCKEN, PA 19428



3.2738   COUNTY OF BRADFORD                                       4/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: COMMISIONERS, CHIEF CLERK OF THE COUNTY
         301 MAIN STREET                                       ACCOUNT NO.:
         TOWANDA, PA 18848                                     NOT AVAILABLE



3.2739   COUNTY OF BRADFORD, PA                                   4/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS AND CHIEF CLERK OF
         COUNTY COMMISSIONERS                                  ACCOUNT NO.:
         BRADFORD COUNTY COURTHOUSE                            NOT AVAILABLE
         301 MAIN STREET
         TOWANDA, PA 18848



3.2740   COUNTY OF BRADLEY, AR                                    3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COUNTY CLERK
         101 EAST CEDAR                                        ACCOUNT NO.:
         WARREN, AR 71671                                      NOT AVAILABLE



3.2741   COUNTY OF BRANCH                                         8/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         COURTHOUSE, FIRST FLOOR                               ACCOUNT NO.:
         31 DIVISION STREET                                    NOT AVAILABLE
         COLDWATER, MI 49036




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2742   COUNTY OF BRANCH                                         8/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE COUNTY BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         31 DIVISION STREET                                    NOT AVAILABLE
         COLDWATER, MI 49036



3.2743   COUNTY OF BREVARD, FLORIDA                               1/23/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER; BOARD OF COUNTY
         COMMISSIONERS                                         ACCOUNT NO.:
         2725 JUDGE FRAN JAMIESON WAY                          NOT AVAILABLE
         VIERA, FL 32940



3.2744   COUNTY OF BROOME                                         2/1/2017                    Opioid Matter              UNDETERMINED
         RICHARD KROGER
         SIMMONS HANLY CONROY, LLC                             ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.2745   COUNTY OF BROOME                                         2/1/2017                    Opioid Matter              UNDETERMINED
         JOSEPH L. CIACCIO
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.2746   COUNTY OF BROOME                                         2/1/2017                    Opioid Matter              UNDETERMINED
         PAUL J. HANLY, JR.
         SIMMONS HANLY CONROY, LLC                             ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.2747   COUNTY OF BROOME                                         2/1/2017                    Opioid Matter              UNDETERMINED
         SARAH S. BURNS
         SIMMONS HANLY CONROY, LLC                             ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002



3.2748   COUNTY OF BROOME                                         2/1/2017                    Opioid Matter              UNDETERMINED
         ATTN: ANDREA BIERSTEIN
         SIMMONS HANLY CONROY, LLC                             ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.2749   COUNTY OF BROOME                                         2/1/2017                    Opioid Matter              UNDETERMINED
         BROOME COUNTY OFFICE BUILDING, SIXTH FLOOR
         ROBERT G. BEHNKE, COUNTY ATTORNEY                     ACCOUNT NO.:
         60 HAWLEY STREET - PO BOX 1766                        NOT AVAILABLE
         BINGHAMTON, NY 13902



3.2750   COUNTY OF BROOME                                         2/1/2017                    Opioid Matter              UNDETERMINED
         PAUL J. NAPOLI
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2751   COUNTY OF BROOME                                         2/1/2017                    Opioid Matter              UNDETERMINED
         THOMAS I. SHERIDAN, III
         SIMMONS HANLY CONROY, LLC                             ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.2752   COUNTY OF BROOME                                         2/1/2017                    Opioid Matter              UNDETERMINED
         JAYNE CONROY
         SIMMONS HANLY CONROY, LLC                             ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.2753   COUNTY OF BROOME                                         2/1/2017                    Opioid Matter              UNDETERMINED
         SALVATORE C. BADALA
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD, - SUITE 305                     NOT AVAILABLE
         MELVILLE, NY 11747



3.2754   COUNTY OF BROOME, NY                                     2/1/2017                    Opioid Matter              UNDETERMINED
         ATTN:: BROOME COUNTY CLERK
         BROOME COUNTY CLERK'S OFFICE                          ACCOUNT NO.:
         BROOME COUNTY OFFICE BUILDING - 60 HAWLEY             NOT AVAILABLE
         STREET, 3RD FLOOR, P.O. BOX 2062
         BINGHAMTON, NY 13902-2062



3.2755   COUNTY OF BROOME, NY                                     2/1/2017                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY DISTRICT ATTORNEY
         BROOME COUNTY DISTRICT ATTORNEY’S OFFICE              ACCOUNT NO.:
         P.O. BOX 1766                                         NOT AVAILABLE
         BINGHAMTON, NY 13902



3.2756   COUNTY OF BURLESON, TX                                   4/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: BURLESON COUNTY JUDGE
         100 W. BUCK                                           ACCOUNT NO.:
         #306                                                  NOT AVAILABLE
         CALDWELL, TX 77836



3.2757   COUNTY OF BURLINGTON, NJ                                 5/8/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK; COUNTY ADMINISTRATOR;
         FREEHOLDER DIRECTOR                                   ACCOUNT NO.:
         49 RANCOCAS ROAD                                      NOT AVAILABLE
         ROOM 123 - P.O. BOX 6000
         MOUNT HOLLY, NJ 08060



3.2758   COUNTY OF BURLINGTON, NJ                                 5/8/2019                    Opioid Matter              UNDETERMINED
         ATTN: DIRECTOR FREEHOLDERS
         49 RANCOCAS ROAD, ROOM 123                            ACCOUNT NO.:
         P.O. BOX 6000                                         NOT AVAILABLE
         MOUNT HOLLY, NJ 08060



3.2759   COUNTY OF BURLINGTON, NJ                                 5/8/2019                    Opioid Matter              UNDETERMINED
         ATTN: CLERK
         50 RANCOCAS ROAD                                      ACCOUNT NO.:
         3RD FLOOR - P.O. BOX 6000                             NOT AVAILABLE
         MOUNT HOLLY, NJ 08060


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Creditor's Name, Mailing Address Including Zip                   Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                              And Account Number                         Claim

Litigation

3.2760   COUNTY OF BURLINGTON, NJ                                              5/8/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         P.O. BOX 6000                                                      ACCOUNT NO.:
         MOUNT HOLLY, NJ 08060                                              NOT AVAILABLE



3.2761   COUNTY OF BURNET, TX                                                 4/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         COURTHOUSE ON THE SQUARE                                           ACCOUNT NO.:
         220 S. PIERCE                                                      NOT AVAILABLE
         BURNET, TX 78611



3.2762   COUNTY OF BUTTE, A POLITICAL SUBDIVISION OF THE                       5/9/2018                   Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA; THE PEOPLE OF THE STATE OF
         CALIFORNIA, ACTING BY AND THROUGH THE COUNTY OF                    ACCOUNT NO.:
         BUTTE                                                              NOT AVAILABLE
         ATTN: COUNTY CLERK
         155 NELSON AVENUE
         OROVILLE, CA 95965



3.2763   COUNTY OF BUTTE, A POLITICAL SUBDIVISION OF THE                       5/9/2018                   Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA; THE PEOPLE OF THE STATE OF
         CALIFORNIA, ACTING BY AND THROUGH THE COUNTY OF                    ACCOUNT NO.:
         BUTTE                                                              NOT AVAILABLE
         ATTN: CHAIR OF THE BOARD OF SUPERVISORS
         25 COUNTY CENTER DRIVE
         SUITE 200
         OROVILLE, CA 95965



3.2764   County of Calaveras, a political subdivision of the State of          5/9/2018                   Opioid Matter              UNDETERMINED
         California; the People of the State of California, acting by and
         through the County of Calaveras                                    ACCOUNT NO.:
         Attn: Chair of the Board of Supervisors and Clerk/Recorder         NOT AVAILABLE
         891 Mountain Ranch Road
         San Andreas, CA 95249



3.2765   COUNTY OF CALHOUN                                                     5/2/2019                   Opioid Matter              UNDETERMINED
         CHERYL F PERKINS
         WHETSTONE PERKINS & FULDA LLC                                      ACCOUNT NO.:
         P.O. BOX 8086                                                      NOT AVAILABLE
         COLUMBIA, SC 29202



3.2766   COUNTY OF CALHOUN                                                     5/2/2019                   Opioid Matter              UNDETERMINED
         CHARLES W WHETSTONE JR.
         WHETSTONE PERKINS & FULDA LLC                                      ACCOUNT NO.:
         P.O. BOX 8086                                                      NOT AVAILABLE
         COLUMBIA, SC 29202



3.2767   COUNTY OF CALHOUN, AR                                                3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COUNTY CLERK
         CALHOUN COUNTY COUNTHOUSE                                          ACCOUNT NO.:
         309 WEST MAIN STREET                                               NOT AVAILABLE
         HAMPTON, AR 71744




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2768   COUNTY OF CALHOUN, SC                                    5/2/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF COUNTY COUNCIL AND CLERK TO
         COUNCIL                                               ACCOUNT NO.:
         102 COURTHOUSE DRIVE                                  NOT AVAILABLE
         ST. MATTHEWS, SC 29135



3.2769   COUNTY OF CAMERON, TX                                    4/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: CAMERON COUNTY JUDGE
         1100 EAST MONROE STREET, SUITE 218                    ACCOUNT NO.:
         BROWNSVILLE, TX 78520                                 NOT AVAILABLE



3.2770   COUNTY OF CAMP                                           1/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         126 CHURCH STREET                                     ACCOUNT NO.:
         ROOM 303                                              NOT AVAILABLE
         PITTSBURG, TX 75686



3.2771   COUNTY OF CARBON, PA                                     4/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: COMMISIONERS, CLERK OF THE COUNTY
         CARBON COUNTY COMMISSIONERS                           ACCOUNT NO.:
         P.O. BOX 129                                          NOT AVAILABLE
         JIM THORPE, PA 18229



3.2772   COUNTY OF CARROLL, AR                                    3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COUNTY CLERK
         210 WEST CHURCH AVENUE                                ACCOUNT NO.:
         BERRYVILLE, AR 72616                                  NOT AVAILABLE



3.2773   COUNTY OF CASCADE                                       11/29/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER
         325 2ND AVENUE NORTH                                  ACCOUNT NO.:
         GREAT FALLS, MT 59401                                 NOT AVAILABLE



3.2774   COUNTY OF CASS, MICHIGAN                                 3/16/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         120 NORTH BROADWAY STREET                             NOT AVAILABLE
         CASSOPOLIS, MI 49031



3.2775   COUNTY OF CASS, MICHIGAN                                 3/16/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         CASS COUNTY CLERK REGISTER OFFICE                     ACCOUNT NO.:
         120 NORTH BROADWAY STREET - SUITE 123                 NOT AVAILABLE
         CASSOPOLIS, MI 49031



3.2776   COUNTY OF CASS, TX                                       5/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: CASS COUNTY JUDGE
         P.O. BOX 825                                          ACCOUNT NO.:
         LINDEN, TX 75563                                      NOT AVAILABLE



3.2777   COUNTY OF CHARLEVOIX, MICHIGAN                           7/30/2018                   Opioid Matter              UNDETERMINED
         203 ANTRIM ST.
         CHARLEVOIX, MI 49720                                  ACCOUNT NO.:
                                                               NOT AVAILABLE

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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2778   COUNTY OF CHARLEVOIX, MICHIGAN                           7/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         125 STEWART ST                                        NOT AVAILABLE
         BOYNE CITY, MI 49712



3.2779   COUNTY OF CHEBOYGAN                                      6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         PO 70                                                 ACCOUNT NO.:
         CHEBOYGAN, MI 49721                                   NOT AVAILABLE



3.2780   COUNTY OF CHEBOYGAN                                      6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE COUNTY BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         870 SOUTH MAIN STREET                                 NOT AVAILABLE
         CHEBOYGAN, MI 49721



3.2781   COUNTY OF CHEROKEE                                       8/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: CLERK TO THE BOARD OF COMMISSIONERS
         75 PEACHTREE STREET                                   ACCOUNT NO.:
         MURPHY, NC 28906                                      NOT AVAILABLE



3.2782   COUNTY OF CHEROKEE                                       8/2/2018                    Opioid Matter              UNDETERMINED
         MARGHRETTA HAGOOD SHISKO
         178 WEST MAIN STREET                                  ACCOUNT NO.:
         P.O. BOX 3547                                         NOT AVAILABLE
         SPARTANBURG, SC 29306



3.2783   COUNTY OF CHEROKEE                                      11/20/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         135 SOUTH MAIN STREET                                 ACCOUNT NO.:
         3RD FLOOR                                             NOT AVAILABLE
         RUSK, TX 75785



3.2784   COUNTY OF CHEROKEE                                       8/2/2018                    Opioid Matter              UNDETERMINED
         JOHN BELTON WHITE JR.
         HARRISON WHITE SMITH & COGGINS                        ACCOUNT NO.:
         P.O. BOX 3547                                         NOT AVAILABLE
         SPARTANBURG, SC 29304



3.2785   COUNTY OF CHEROKEE, NC                                   8/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: CLERK TO THE BOARD OF COMMISSIONERS
         75 PEACHTREE STREET                                   ACCOUNT NO.:
         MURPHY, NC 28906                                      NOT AVAILABLE



3.2786   COUNTY OF CHESTERFIELD                                   7/3/2018                    Opioid Matter              UNDETERMINED
         TERRY A. FINGER
         P.O. BOX 24005                                        ACCOUNT NO.:
         HILTON HEAD ISLAND, SC 29925                          NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2787   COUNTY OF CHESTERFIELD, SC                               7/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF COUNTY COUNCIL AND CLERK TO
         COUNCIL                                               ACCOUNT NO.:
         178 MILL STREET                                       NOT AVAILABLE
         CHESTERFIELD, SC 29709



3.2788   COUNTY OF CHICOT, AR                                     3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COUNTY CLERK
         CHICOT COUNTY COURTHOUSE                              ACCOUNT NO.:
         417 MAIN STREET                                       NOT AVAILABLE
         LAKE VILLAGE, AR 71663



3.2789   COUNTY OF CHILDRESS                                      2/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         100 AVENUE EAST NORTHWEST                             ACCOUNT NO.:
         BOX 1                                                 NOT AVAILABLE
         CHILDRESS, TX 79201



3.2790   COUNTY OF CHIPPEWA                                      12/19/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE COUNTY BOARD OF
         COMMISSIONERS, COUNTY CLERK                           ACCOUNT NO.:
         CHIPPEWA COUNTY COURTHOUSE                            NOT AVAILABLE
         319 COURT STREET
         SAULT STE. MARIE, MI 49783



3.2791   COUNTY OF CLACKAMAS, COUNTY OF LANE AND                  3/27/2018                   Opioid Matter              UNDETERMINED
         COUNTY OF WASHINGTON
         ATTN: LANE COUNTY COUNSEL                             ACCOUNT NO.:
         LANE COUNTY OFFICE OF LEGAL COUNSEL                   NOT AVAILABLE
         125 EAST 8TH AVENUE
         EUGENE, OR 97401



3.2792   COUNTY OF CLACKAMAS, COUNTY OF LANE AND                  3/27/2018                   Opioid Matter              UNDETERMINED
         COUNTY OF WASHINGTON
         ATTN: WASHINGTON COUNTY COUNSEL                       ACCOUNT NO.:
         155 NORTH FIRST AVENUE                                NOT AVAILABLE
         SUITE 340
         HILLSBORO, OR 97124-3072



3.2793   COUNTY OF CLACKAMAS, COUNTY OF LANE AND                  3/27/2018                   Opioid Matter              UNDETERMINED
         COUNTY OF WASHINGTON
         ATTN: CLACKMAS COUNTY COUNSEL                         ACCOUNT NO.:
         OFFICE OF COUNTY COUNSEL                              NOT AVAILABLE
         2051 KAEN ROAD
         OREGON CITY, OR 97045



3.2794   COUNTY OF CLACKAMAS, COUNTY OF LANE AND                  3/27/2018                   Opioid Matter              UNDETERMINED
         COUNTY OF WASHINGTON
         ATTN: WASHINGTON COUNTY CLERK                         ACCOUNT NO.:
         155 NORTH FIRST AVENUE                                NOT AVAILABLE
         SUITE 130
         HILLSBORO, OR 97124




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2795   COUNTY OF CLACKAMAS, COUNTY OF LANE AND                  3/27/2018                   Opioid Matter              UNDETERMINED
         COUNTY OF WASHINGTON
         ATTN: LANE COUNTY CLERK                               ACCOUNT NO.:
         125 EAST 8TH AVE                                      NOT AVAILABLE
         EUGENE, OR 97401



3.2796   COUNTY OF CLACKAMAS, COUNTY OF LANE AND                  3/27/2018                   Opioid Matter              UNDETERMINED
         COUNTY OF WASHINGTON
         ATTN: CLACKMAS COUNTY CLERK                           ACCOUNT NO.:
         1710 RED SOLIS COURT                                  NOT AVAILABLE
         SUITE 100
         OREGON CITY, OR 97045



3.2797   COUNTY OF CLAIBORNE                                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY MAYOR AND COUNTY COURT CLERK
         CLAIBORNE COUNTY COURTHOUSE                           ACCOUNT NO.:
         P.O. BOX 318                                          NOT AVAILABLE
         TAZEWELL, TN 37879



3.2798   COUNTY OF CLARENDON                                      5/20/2019                   Opioid Matter              UNDETERMINED
         CEZAR EDWARD MCKNIGHT
         POST OFFICE BOX 688                                   ACCOUNT NO.:
         LAKE CITY, SC 29560                                   NOT AVAILABLE



3.2799   COUNTY OF CLARENDON                                      5/20/2019                   Opioid Matter              UNDETERMINED
         TERRY A. FINGER
         P.O. BOX 24005                                        ACCOUNT NO.:
         HILTON HEAD ISLAND, SC 29925                          NOT AVAILABLE



3.2800   COUNTY OF CLARENDON, SC                                  5/20/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF COUNTY COUNCIL AND CLERK TO
         COUNCIL                                               ACCOUNT NO.:
         411 SUNSET DRIVE                                      NOT AVAILABLE
         MANNING, SC 29102



3.2801   COUNTY OF CLARENDON, SC                                  5/20/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF COUNTY COUNCIL
         26 EAST BOYCE STREET                                  ACCOUNT NO.:
         MANNING, SC 29102                                     NOT AVAILABLE



3.2802   COUNTY OF CLARION                                        3/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         ?CLARION COUNTY ADMINISTRATION OFFICE                 ACCOUNT NO.:
         330 MAIN STREET - 2ND FLOOR                           NOT AVAILABLE
         CLARION, PA 16214



3.2803   COUNTY OF CLARION                                        3/16/2018                   Opioid Matter              UNDETERMINED
         JOSEPH CAPPELLI
         MARC J. BERN & PARTNERS LLP                           ACCOUNT NO.:
         101 WEST ELM STREET - SUITE 215                       NOT AVAILABLE
         CONSHOHOCKEN, PA 19428




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Code                                                 And Account Number                          Claim

Litigation

3.2804   COUNTY OF CLARION                                        3/16/2018                   Opioid Matter              UNDETERMINED
         CARMEN A. DE GISI
         MARC J. BERN & PARTNERS LLP                           ACCOUNT NO.:
         101 WEST ELM STREET - SUITE 215                       NOT AVAILABLE
         CONSHOHOCKEN, PA 19428



3.2805   COUNTY OF CLARION                                        3/16/2018                   Opioid Matter              UNDETERMINED
         ROBERT N. PEIRCE, JR.
         ROBERT PEIRCE & ASSOCIATES, P.C.                      ACCOUNT NO.:
         707 GRANT STREET - SUITE 2500                         NOT AVAILABLE
         PITTSBURGH, PA 15219



3.2806   COUNTY OF CLARION, PA                                    3/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: THE MAYOR AND PRESIDENT
         1400 EAST MAIN STREET                                 ACCOUNT NO.:
         CLARION, PA 16214                                     NOT AVAILABLE



3.2807   COUNTY OF CLARION, PA                                    3/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: JOSH SHAPIRO
         STATE OF PENNSYLVANIA ATTORNEY GENERAL                ACCOUNT NO.:
         PENNSYLVANIA OFFICE OF ATTORNEY GENERAL - 16TH        NOT AVAILABLE
         FLOOR, STRAWBERRY SQUARE
         HARRISBURG, PA 17120



3.2808   COUNTY OF CLARK, AR                                      3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COUNTY CLERK
         401 CLAY STREET                                       ACCOUNT NO.:
         ARKADELPHIA, AR 71923                                 NOT AVAILABLE



3.2809   COUNTY OF CLAY                                           1/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         COURTHOUSE ANNEX                                      ACCOUNT NO.:
         214 NORTH MAIN STREET                                 NOT AVAILABLE
         HENRIETTA, TX 76365



3.2810   COUNTY OF CLAY, AR                                       3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COUNTY CLERK
         CLAY COUNTY COURTHOUSE                                ACCOUNT NO.:
         2ND STREET                                            NOT AVAILABLE
         PIGGOTT, AR 72454



3.2811   COUNTY OF CLEBURNE, AR                                   3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COUNTY CLERK
         CLEBURNE COUNTY COURTHOUSE                            ACCOUNT NO.:
         301 WEST MAIN STREET                                  NOT AVAILABLE
         HEBER SPRINGS, AR 72543



3.2812   COUNTY OF CLEVELAND, AR                                  3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         CLEVELAND COUNTY COURTHOUSE                           ACCOUNT NO.:
         P.O BOX 368                                           NOT AVAILABLE
         RISON, AR 71665




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2813   COUNTY OF CLEVELAND, AR                                  3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         CLEVELAND COUNTY COURTHOUSE                           ACCOUNT NO.:
         P.O BOX 348                                           NOT AVAILABLE
         RISON, AR 71665



3.2814   COUNTY OF CLINTON, MICHIGAN                              7/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE BOARD OF
         COMMISSIONERS, COUNTY CLERK                           ACCOUNT NO.:
         100 E STATE STREET                                    NOT AVAILABLE
         SUITE 2600
         ST. JOHNS, MI 48879



3.2815   COUNTY OF COCHISE                                        6/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: THE CLERK OF THE BOARD OF SUPERVISORS
         COUNTY OFFICES                                        ACCOUNT NO.:
         1415 MELODY LANE - BUILDING G                         NOT AVAILABLE
         BISBEE, AZ 85603



3.2816   COUNTY OF COLLETON                                       6/19/2018                   Opioid Matter              UNDETERMINED
         JOHN E. PARKER
         P.O. BOX 457                                          ACCOUNT NO.:
         HAMPTON, SC 29924-0457                                NOT AVAILABLE



3.2817   COUNTY OF COLLETON                                       6/19/2018                   Opioid Matter              UNDETERMINED
         BERT GLENN UTSEY III
         P.O. BOX 30968                                        ACCOUNT NO.:
         CHARLESTON, SC 29202                                  NOT AVAILABLE



3.2818   COUNTY OF COLLETON                                       6/19/2018                   Opioid Matter              UNDETERMINED
         DANIEL E. HENDERSON
         P.O. DRAWER 2500                                      ACCOUNT NO.:
         RIDGELAND, SC 29936                                   NOT AVAILABLE



3.2819   COUNTY OF COLLETON                                       6/19/2018                   Opioid Matter              UNDETERMINED
         TERRY A. FINGER
         P.O. BOX 24005                                        ACCOUNT NO.:
         HILTON HEAD, SC 29925-4005                            NOT AVAILABLE



3.2820   COUNTY OF COLLETON, SC                                   6/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK TO COUNCIL
         109 BENSON STREET                                     ACCOUNT NO.:
         OLD JAIL BUILDING - 2ND FLOOR                         NOT AVAILABLE
         WALTERBORO, SC 29488



3.2821   COUNTY OF COLLETON, SC                                   6/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF COUNTY COUNCIL
         107 CHURCH STREET                                     ACCOUNT NO.:
         WALTERBORO, SC 29488                                  NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip                   Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                              And Account Number                         Claim

Litigation

3.2822   COUNTY OF COLUMBIA, AR                                               3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         101 BOUNDARY                                                       ACCOUNT NO.:
         SUITE 101                                                          NOT AVAILABLE
         MAGNOLIA, AR 71753



3.2823   COUNTY OF COLUMBIA, AR                                               3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         #1 COURT SQUARE                                                    ACCOUNT NO.:
         MAGNOLIA, AR 71753                                                 NOT AVAILABLE



3.2824   COUNTY OF COLUMBIA, NY                                                2/2/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD
         COLUMBIA COUNTY BOARD OF SUPERVISORS                               ACCOUNT NO.:
         401 STATE STREET                                                   NOT AVAILABLE
         HUDSON, NY 12534



3.2825   COUNTY OF COLUMBIA, NY                                                2/2/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         COUNTY CLERK'S OFFICE                                              ACCOUNT NO.:
         560 WARREN STREET                                                  NOT AVAILABLE
         HUDSON, NY 12534



3.2826   COUNTY OF COLUMBIA, NY                                                2/2/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY TREASURER
         15 NORTH 6TH STREET                                                ACCOUNT NO.:
         HUDSON, NY 12534                                                   NOT AVAILABLE



3.2827   COUNTY OF COLUMBIA, NY                                                2/2/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         401 STATE STREET                                                   ACCOUNT NO.:
         SUITE 2B                                                           NOT AVAILABLE
         HUDSON, NY 12534



3.2828   COUNTY OF COLUMBIA, NY                                                2/2/2018                   Opioid Matter              UNDETERMINED
         ATTN: COLUMBIA COUNTY TREASURER
         15 N.6TH STREET                                                    ACCOUNT NO.:
         HUDSON, NY 12534                                                   NOT AVAILABLE



3.2829   County of Contra Costa, a political subdivision of the State of       5/8/2018                   Opioid Matter              UNDETERMINED
         California; the People of the State of California, acting by and
         through the County of Contra Costa                                 ACCOUNT NO.:
         Attn: Chair of the Board of Supervisors                            NOT AVAILABLE
         11780 San Pablo Avenue
         Suite D
         El Cerrito, CA 94530



3.2830   COUNTY OF CONTRA COSTA, A POLITICAL SUBDIVISION                       5/8/2018                   Opioid Matter              UNDETERMINED
         OF THE STATE OF CALIFORNIA; THE PEOPLE OF THE
         STATE OF CALIFORNIA, ACTING BY AND THROUGH THE                     ACCOUNT NO.:
         COUNTY OF CONTRA COSTA                                             NOT AVAILABLE
         ATTN: CLERK-RECORDER
         555 ESCOBAR STREET
         MARTINEZ, CA 94533



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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2831   COUNTY OF CONWAY, AR                                     3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COUNTY CLERK
         117 SOUTH MOOSE STREET                                ACCOUNT NO.:
         MORRILTON, AR 72110                                   NOT AVAILABLE



3.2832   COUNTY OF COOKE, TX                                      5/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: COOKE COUNTY JUDGE
         101 SOUTH DIXON, SUITE 132                            ACCOUNT NO.:
         GAINESVILLE, TX 76240                                 NOT AVAILABLE



3.2833   COUNTY OF CORYELL, TX                                    3/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: CORYELL COUNTY JUDGE
         CORYELL COUNTY MAIN STREET ANNEX                      ACCOUNT NO.:
         800 EAST MAIN STREET SUITE A                          NOT AVAILABLE
         GATESVILLE, TX 76528



3.2834   COUNTY OF CRAIGHEAD, AR                                  3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         511 SOUTH MAIN STREET                                 ACCOUNT NO.:
         ROOM 202                                              NOT AVAILABLE
         JONESBORO, AR 72401



3.2835   COUNTY OF CRAIGHEAD, AR                                  3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         511 UNION STREET                                      ACCOUNT NO.:
         ROOM 119                                              NOT AVAILABLE
         JONESBORO, AR 72401



3.2836   COUNTY OF CRAWFORD, AR                                   3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         300 MAIN STREET                                       ACCOUNT NO.:
         ROOM 7                                                NOT AVAILABLE
         VAN BUREN, AR 72956



3.2837   COUNTY OF CRAWFORD, AR                                   3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         300 MAIN STREET                                       ACCOUNT NO.:
         ROOM 4                                                NOT AVAILABLE
         VAN BUREN, AR 72956



3.2838   COUNTY OF CRAWFORD, MICHIGAN                             1/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK, CHAIR BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         200 WEST MICHIGAN AVE.NUE                             NOT AVAILABLE
         GRAYLING, MI 49738



3.2839   COUNTY OF CRITTENDEN, ARKANSAS                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CIRCUIT CLERK
         CRITTENDEN COUNTY COURTHOUSE                          ACCOUNT NO.:
         100 COURT SQUARE                                      NOT AVAILABLE
         MARION, AR 72364




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2840   COUNTY OF CRITTENDEN, ARKANSAS                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         CRITTENDEN COUNTY COURTHOUSE                          ACCOUNT NO.:
         100 COURT SQUARE                                      NOT AVAILABLE
         MARION, AR 72364



3.2841   COUNTY OF CRITTENDEN, ARKANSAS                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         CRITTENDEN COUNTY COURTHOUSE                          ACCOUNT NO.:
         100 COURT SQUARE                                      NOT AVAILABLE
         MARION, AR 72364



3.2842   COUNTY OF CROSS, AR                                      3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         705 UNION AVENUE EAST                                 ACCOUNT NO.:
         SUITE 8                                               NOT AVAILABLE
         WYNNE, AR 72396



3.2843   COUNTY OF CROSS, AR                                      3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         705 UNION AVENUE EAST                                 ACCOUNT NO.:
         SUITE 4                                               NOT AVAILABLE
         WYNNE, AR 72396



3.2844   COUNTY OF CUMBERLAND, PA                                 2/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS CHAIMAN AND CHIEF
         CLERK                                                 ACCOUNT NO.:
         1 COURTHOUSE SQUARE                                   NOT AVAILABLE
         2ND FLOOR, SUITE 200
         CARLISLE, PA 17013



3.2845   COUNTY OF CURRY                                          5/24/2019                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND CHAIRMAN BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         CURRY COUNTY ADMINISTRATIVE ANNEX                     NOT AVAILABLE
         94235 MOORE STREET, SUITE 122
         GOLD BEACH, OR 97444



3.2846   COUNTY OF DALLAS, AR                                     3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COUNTY CLERK
         206 WEST THIRD STREET                                 ACCOUNT NO.:
         FORDYCE, AR 71742                                     NOT AVAILABLE



3.2847   COUNTY OF DALLAS, TX                                     1/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: DALLAS COUNTY JUDGE
         411 ELM STREET, SUITE 200                             ACCOUNT NO.:
         DALLAS, TX 75202                                      NOT AVAILABLE



3.2848   COUNTY OF DALLAS, TX                                     1/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: DALLAS COUNTY JUDGE
         ADMINISTRATION BUILDING                               ACCOUNT NO.:
         411 ELM STREET, 2ND FLOOR                             NOT AVAILABLE
         DALLAS, TX 75202




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                         Claim

Litigation

3.2849   COUNTY OF DEKALB                                        12/20/2017                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDING OFFICER OF DEKALB COUNTY BOARD
         OF COMMISSIONERS AND CHIEF EXECUTIVE OFFICER          ACCOUNT NO.:
         1300 COMMERCE DRIVE                                   NOT AVAILABLE
         DECATUR, GA 30030



3.2850   COUNTY OF DEL NORTE, A POLITICAL SUBDIVISION OF          5/9/2018                    Opioid Matter              UNDETERMINED
         THE STATE OF CALIFORNIA; THE PEOPLE OF THE STATE
         OF CALIFORNIA, ACTING BY AND THROUGH THE COUNTY       ACCOUNT NO.:
         OF DEL NORTE                                          NOT AVAILABLE
         ATTN: COUNTY CLERK
         981 H STREET
         SUITE 160
         CRESCENT CITY, CA 95531



3.2851   COUNTY OF DEL NORTE, A POLITICAL SUBDIVISION OF          5/9/2018                    Opioid Matter              UNDETERMINED
         THE STATE OF CALIFORNIA; THE PEOPLE OF THE STATE
         OF CALIFORNIA, ACTING BY AND THROUGH THE COUNTY       ACCOUNT NO.:
         OF DEL NORTE                                          NOT AVAILABLE
         ATTN: CHAIR OF THE BOARD OF SUPERVISORS
         981 H STREET
         SUITE 200
         CRESCENT CITY, CA 95531



3.2852   COUNTY OF DELTA                                         12/19/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK, CHAIR BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         310 LUDINGTON STREET                                  NOT AVAILABLE
         ESCANABA, MI 49829



3.2853   COUNTY OF DELTA                                         12/19/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         200 WEST DALLAS AVENUE                                ACCOUNT NO.:
         COOPER, TX 75432                                      NOT AVAILABLE



3.2854   COUNTY OF DELTA, TX                                     12/19/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         200 WEST DALLAS AVENUE                                ACCOUNT NO.:
         COOPER, TX 75432                                      NOT AVAILABLE



3.2855   COUNTY OF DENVER                                         1/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE CLERK AND RECORDER
         CITY AND COUNTY BUILDING                              ACCOUNT NO.:
         1437 BANNOCK STREET - ROOM 451                        NOT AVAILABLE
         DENVER, CO 80202



3.2856   COUNTY OF DESHA, AR                                      3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COUNTY CLERK
         DESHA COUNTY COURTHOUSE                               ACCOUNT NO.:
         608 ROBERT S. MOORE AVENUE - P.O. BOX 188             NOT AVAILABLE
         ARKANSAS CITY, AR 71630




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2857   COUNTY OF DICKINSON, MICHIGAN                            3/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF COMMISSIONERS; COUNTY CLERK
         705 SOUTH STEPHENSON AVENUE                           ACCOUNT NO.:
         P.O. BOX 609                                          NOT AVAILABLE
         IRON MOUNTAIN, MI 49801



3.2858   COUNTY OF DILLON                                         5/2/2019                    Opioid Matter              UNDETERMINED
         CHARLES W. WHETSTONE JR.
         P.O. BOX 8086                                         ACCOUNT NO.:
         COLUMBIA, SC 29202                                    NOT AVAILABLE



3.2859   COUNTY OF DILLON                                         5/2/2019                    Opioid Matter              UNDETERMINED
         CHERYL F. PERKINS
         WHETSTONE PERKINS & FULDA, LLC                        ACCOUNT NO.:
         P.O. BOX 8086                                         NOT AVAILABLE
         COLUMBIA, SC 29202



3.2860   COUNTY OF DILLON                                         5/2/2019                    Opioid Matter              UNDETERMINED
         MARGHRETTA HAGOOD SHISKO
         178 WEST MAIN STREET                                  ACCOUNT NO.:
         P.O. BOX 3547                                         NOT AVAILABLE
         SPARTANBURG, SC 29306



3.2861   COUNTY OF DILLON                                         5/2/2019                    Opioid Matter              UNDETERMINED
         JOHN BELTON WHITE, JR.
         HARRISON WHITE SMITH & COGGINS                        ACCOUNT NO.:
         P.O. BOX 3547                                         NOT AVAILABLE
         SPARTANBURG, SC 29304



3.2862   COUNTY OF DILLON                                         5/2/2019                    Opioid Matter              UNDETERMINED
         JAMES EDWARD BROGDON III
         P.O. BOX 8086                                         ACCOUNT NO.:
         COLUMBIA, SC 29202                                    NOT AVAILABLE



3.2863   COUNTY OF DILLON, SC                                     5/2/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF COUNTY COUNCIL AND CLERK TO
         COUNCIL                                               ACCOUNT NO.:
         109 SOUTH 3RD AVENUE                                  NOT AVAILABLE
         P.O. BOX 449
         DILLON, SC 29536



3.2864   COUNTY OF DIMMIT, TX                                     5/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: DIMMIT COUNTY JUDGE
         212 NORTH 4TH STREET                                  ACCOUNT NO.:
         CARRIZO SPRINGS, TX 78834                             NOT AVAILABLE



3.2865   COUNTY OF DORCHESTER                                     6/19/2018                   Opioid Matter              UNDETERMINED
         PAUL E. TINKLER
         154 KING STREET                                       ACCOUNT NO.:
         3RD FLOOR                                             NOT AVAILABLE
         CHARLESTON, SC 29401




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2866   COUNTY OF DORCHESTER                                     6/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: ANDREW JOHN SAVAGE III
         15 PRIOLEAU STREET                                    ACCOUNT NO.:
         CHARLESTON, SC 29401                                  NOT AVAILABLE



3.2867   COUNTY OF DORCHESTER                                     6/19/2018                   Opioid Matter              UNDETERMINED
         MARC J. BERN
         ONE GRAND CENTRAL PLACE                               ACCOUNT NO.:
         60 EAST 42ND STREET SUITE 950                         NOT AVAILABLE
         NEW YORK, NY 10165



3.2868   COUNTY OF DORCHESTER                                     6/19/2018                   Opioid Matter              UNDETERMINED
         JOHN S. SIMMONS
         1711 PICKENS STREET                                   ACCOUNT NO.:
         COLUMBIA, SC 29201                                    NOT AVAILABLE



3.2869   COUNTY OF DORCHESTER                                     6/19/2018                   Opioid Matter              UNDETERMINED
         JOHN BELTON WHITE, JR.
         HARRISON WHITE SMITH & COGGINS                        ACCOUNT NO.:
         P.O. BOX 3547                                         NOT AVAILABLE
         SPARTANBURG, SC 29202



3.2870   COUNTY OF DORCHESTER, SC                                 6/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF COUNTY COUNCIL AND CLERK TO
         COUNCIL                                               ACCOUNT NO.:
         500 NORTH MAIN STREET                                 NOT AVAILABLE
         SUMMERVILLE, SC 29483



3.2871   COUNTY OF DOUGLAS, STATE OF NEBRASKA                     1/31/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         1819 FARNAM STREET                                    ACCOUNT NO.:
         ROOM H-08                                             NOT AVAILABLE
         OMAHA, NE 68183



3.2872   COUNTY OF DOUGLAS, STATE OF NEBRASKA                     1/31/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE COUNTY BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         1819 FARNAM STREET                                    NOT AVAILABLE
         LC2, CIVIC CENTER
         OMAHA, NE 68183



3.2873   COUNTY OF DUTCHESS                                       6/6/2017                    Opioid Matter              UNDETERMINED
         PAUL JAMES HANLY
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON A VENUE                                   NOT AVAILABLE
         NEW YORK, NY 10016



3.2874   COUNTY OF DUTCHESS, NY                                   6/6/2017                    Opioid Matter              UNDETERMINED
         ATTN: COMMISSIONER OF FINANCE
         DUTCHESS COUNTY OFFICE BUILDING                       ACCOUNT NO.:
         FINANCE DEPARTMENT - 22 MARKET ST., 3RD FL.           NOT AVAILABLE
         POUGHKEEPSIE, NY 12601




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2875   COUNTY OF DUTCHESS, NY                                   6/6/2017                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK, COUNTY ATTORNEY
         22 MARKET STREET                                      ACCOUNT NO.:
         POUGHKEEPSIE, NY 12601                                NOT AVAILABLE



3.2876   COUNTY OF DUTCHESS, NY                                   6/6/2017                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         22 MARKET STREET, 5TH FLOOR                           ACCOUNT NO.:
         POUGHKEEPSIE, NY 12601                                NOT AVAILABLE



3.2877   COUNTY OF DUVAL, TX                                      6/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: DUVAL COUNTY JUDGE
         DUVAL COUNTY                                          ACCOUNT NO.:
         P.O. BOX 189                                          NOT AVAILABLE
         SAN DIEGO, TX 78384



3.2878   COUNTY OF DUVAL, TX                                      6/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COUNTY COMMISSIONERS
         DUVAL COUNTY                                          ACCOUNT NO.:
         P.O. BOX 189                                          NOT AVAILABLE
         SAN DIEGO, TX 78384



3.2879   COUNTY OF DUVAL, TX                                      6/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: DUVAL COUNTY JUDGE
         400 E. GRAVIS STEET                                   ACCOUNT NO.:
         SAN DIEGO, TX 78384                                   NOT AVAILABLE



3.2880   COUNTY OF DUVAL, TX                                      6/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COUNTY COMMISSIONERS
         DUVAL COUNTY COURTHOUSE                               ACCOUNT NO.:
         400 EAST GRAVIS STREET                                NOT AVAILABLE
         SAN DIEGO, TX 78384



3.2881   COUNTY OF EATON                                          7/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         1045 INDEPENDENCE BOULEVARD                           ACCOUNT NO.:
         CHARLOTTE, MI 48813                                   NOT AVAILABLE



3.2882   COUNTY OF EATON                                          7/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR BOARD OF COMMISSIONERS
         EATON COUNTY COURTHOUSE                               ACCOUNT NO.:
         1045 INDEPENDENCE BOULEVARD - BOARD OF                NOT AVAILABLE
         COMMISSIONERS ROOM
         CHARLOTTE, MI 48813



3.2883   COUNTY OF ECTOR, TX                                      5/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: ECTOR COUNTY JUDGE
         300 NORTH GRANT, ROOM 227                             ACCOUNT NO.:
         ODESSA, TX 79761                                      NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2884   COUNTY OF EDGEFIELD                                      5/2/2019                    Opioid Matter              UNDETERMINED
         JOHN BELTON WHITE, JR.
         HARRISON WHITE SMITH & COGGINS                        ACCOUNT NO.:
         P.O. BOX 3587                                         NOT AVAILABLE
         SPARTANBURG, SC 29304



3.2885   COUNTY OF EDGEFIELD                                      5/2/2019                    Opioid Matter              UNDETERMINED
         MARGHRETTA HAGOOD SHISKO
         178 WEST MAIN STREET                                  ACCOUNT NO.:
         P.O. BOX 3587                                         NOT AVAILABLE
         SPARTANBURG, SC 29306



3.2886   COUNTY OF EDGEFIELD, SC                                  5/2/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF COUNTY COUNCIL
         342 SWEETWATER ROAD                                   ACCOUNT NO.:
         NORTH AUGUSTA, SC 29860                               NOT AVAILABLE



3.2887   COUNTY OF EDGEFIELD, SC                                  5/2/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF COUNTY COUNCIL AND CLERK TO
         COUNCIL                                               ACCOUNT NO.:
         124 COURTHOUSE SQUARE                                 NOT AVAILABLE
         EDGEFIELD, SC 29824



3.2888   COUNTY OF EL DORADO, A POLITICAL SUBDIVISION OF          5/9/2018                    Opioid Matter              UNDETERMINED
         THE STATE OF CALIFORNIA; THE PEOPLE OF THE STATE
         OF CALIFORNIA, ACTING BY AND THROUGH THE COUNTY       ACCOUNT NO.:
         OF EL DORADO                                          NOT AVAILABLE
         ATTN: RECORDER CLERK
         2850 FAIRLANE COURT
         PLACERVILLE, CA 95667



3.2889   COUNTY OF EL DORADO, A POLITICAL SUBDIVISION OF          5/9/2018                    Opioid Matter              UNDETERMINED
         THE STATE OF CALIFORNIA; THE PEOPLE OF THE STATE
         OF CALIFORNIA, ACTING BY AND THROUGH THE COUNTY       ACCOUNT NO.:
         OF EL DORADO                                          NOT AVAILABLE
         ATTN: CHAIR OF THE BOARD OF SUPERVISORS
         330 FAIR LANE
         BUILDING A
         PLACERVILLE, CA 95667



3.2890   COUNTY OF EL PASO, TX                                    5/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: EL PASO COUNTY JUDGE
         500 EAST SAN ANTONIO, SUITE 301                       ACCOUNT NO.:
         EL PASO, TX 79901                                     NOT AVAILABLE



3.2891   COUNTY OF ERIE                                           2/1/2017                    Opioid Matter              UNDETERMINED
         PAUL JAMES HANLY
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON A VENUE                                   NOT AVAILABLE
         NEW YORK, NY 10016




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2892   COUNTY OF ERIE, NY                                       2/1/2017                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         ERIE COUNTY CLERK'S OFFICE                            ACCOUNT NO.:
         92 FRANKLIN ST.                                       NOT AVAILABLE
         BUFFALO, NY 14202



3.2893   COUNTY OF ERIE, NY                                       2/1/2017                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         DEPARTMENT OF LAW                                     ACCOUNT NO.:
         EDWARD A. RATH COUNTY OFFICE BUILDING - 95            NOT AVAILABLE
         FRANKLIN STREET, RM 1634
         BUFFALO, NY 14202



3.2894   COUNTY OF ERIE, PA                                       6/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY TREASURER
         626 STATE STREET                                      ACCOUNT NO.:
         ROOM 105                                              NOT AVAILABLE
         ERIE, PA 16501



3.2895   COUNTY OF ERIE, PA                                       6/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE AND COUNTY COUNCIL OF
         ERIE COUNTY                                           ACCOUNT NO.:
         ERIE COURTHOUSE                                       NOT AVAILABLE
         140 WEST SIXTH STREET
         ERIE, PA 16501



3.2896   COUNTY OF ERIE, PA                                       6/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         626 STATE STREET                                      ACCOUNT NO.:
         ROOM 104                                              NOT AVAILABLE
         ERIE, PA 16501



3.2897   COUNTY OF FAIRFIELD                                      7/3/2018                    Opioid Matter              UNDETERMINED
         TERRY A. FINGER
         P.O. BOX 24005                                        ACCOUNT NO.:
         HILTON HEAD ISLAND, SC 29925                          NOT AVAILABLE



3.2898   COUNTY OF FAIRFIELD                                      7/3/2018                    Opioid Matter              UNDETERMINED
         VINCENT AUSTIN SHEHEEN
         P.O. DRAWER 10                                        ACCOUNT NO.:
         CAMDEN, SC 29021                                      NOT AVAILABLE



3.2899   COUNTY OF FAIRFIELD, SC                                  7/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: CLERK TO COUNCIL
         350 COLUMBIA ROAD                                     ACCOUNT NO.:
         WINNSBORO, SC 29180                                   NOT AVAILABLE



3.2900   COUNTY OF FAIRFIELD, SC                                  7/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF COUNTY COUNCIL
         325 WEST HIGH STREET                                  ACCOUNT NO.:
         WINNSBORO, SC 29180                                   NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                          Claim

Litigation

3.2901   COUNTY OF FALLS, TX                                       1/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         P.O. BOX 458                                           ACCOUNT NO.:
         #1 COURTHOUSE SQUARE - 125 BRIDGE STREET               NOT AVAILABLE
         MARLIN, TX 76661



3.2902   COUNTY OF FALLS, TX                                       1/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         P.O. BOX 458                                           ACCOUNT NO.:
         MARLIN, TX 76661                                       NOT AVAILABLE



3.2903   COUNTY OF FALLS, TX                                       1/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         125 BRIDGE STREET                                      ACCOUNT NO.:
         ROOM 203                                               NOT AVAILABLE
         MARLIN, TX 76661



3.2904   COUNTY OF FANNIN                                          3/22/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF BOARD OF COMMISSIONERS
         400 WEST MAIN STREET                                   ACCOUNT NO.:
         SUITE 100                                              NOT AVAILABLE
         BLUE RIDGE, GA 30513



3.2905   COUNTY OF FANNIN                                          5/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         BONHAM CITY HALL                                       ACCOUNT NO.:
         514 CHESTNUT STREET                                    NOT AVAILABLE
         BONHAM, TX 75418



3.2906   COUNTY OF FANNIN                                          3/22/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, BOARD OF COMMISSIONERS
         FANNIN COUNTY COURTHOUSE                               ACCOUNT NO.:
         400 WEST MAIN STREET                                   NOT AVAILABLE
         BLUE RIDGE, GA 30513



3.2907   COUNTY OF FANNIN, TX                                      5/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         FANNIN COUNTY COURTHOUSE                               ACCOUNT NO.:
         101 EAST SAM RAYBURN DRIVE - SUITE 101                 NOT AVAILABLE
         BONHAM, TX 75418



3.2908   COUNTY OF FANNIN, TX                                      5/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         BONHAM CITY HALL                                       ACCOUNT NO.:
         514 CHESTNUT STREET                                    NOT AVAILABLE
         BONHAM, TX 75418



3.2909   COUNTY OF FAULKNER, AR                                    3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         810 FAULKNER STREET                                    ACCOUNT NO.:
         CONWAY, AR 72034                                       NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2910   COUNTY OF FAULKNER, AR                                   3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COUNTY CLERK
         801 LOCUST AVENUE                                     ACCOUNT NO.:
         CONWAY, AR 72034                                      NOT AVAILABLE



3.2911   COUNTY OF FAYETTE, PA                                   12/20/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF COUNTY OF FAYETTE
         FAYETTE COUNTY                                        ACCOUNT NO.:
         61 EAST MAIN STREET                                   NOT AVAILABLE
         UNIONTOWN, PA 15401



3.2912   COUNTY OF FLORENCE                                       5/2/2019                    Opioid Matter              UNDETERMINED
         P.O. BOX 3547
         HARRISON WHITE SMITH & COGGINS                        ACCOUNT NO.:
         SPARTANBURG, SC 29306                                 NOT AVAILABLE



3.2913   COUNTY OF FLORENCE                                       5/2/2019                    Opioid Matter              UNDETERMINED
         MARGHRETTA HAGOOD SHISKO
         178 WEST MAIN STREET                                  ACCOUNT NO.:
         P.O. BOX 3547                                         NOT AVAILABLE
         SPARTANBURG, SC 29306



3.2914   COUNTY OF FLORENCE, SC                                   5/2/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF COUNTY COUNCIL
         1421 WHITEHALL ROAD                                   ACCOUNT NO.:
         FLORENCE, SC 29506                                    NOT AVAILABLE



3.2915   COUNTY OF FLORENCE, SC                                   5/2/2019                    Opioid Matter              UNDETERMINED
         ATTN: CLERK TO COUNTY COUNCIL
         180 NORTH IRBY STREET                                 ACCOUNT NO.:
         MSC-G                                                 NOT AVAILABLE
         FLORENCE, SC 29501



3.2916   COUNTY OF FRANKLIN                                       1/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         200 NORTH KAUFMAN STREET                              ACCOUNT NO.:
         MOUNT VERNON, TX 75457                                NOT AVAILABLE



3.2917   COUNTY OF FRANKLIN, AR                                   3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COUNTY CLERK
         211 WEST COMMERCIAL                                   ACCOUNT NO.:
         OZARK, AR 72949                                       NOT AVAILABLE



3.2918   COUNTY OF FREESTONE, TX                                  5/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         118 EAST COMMERCE STREET                              ACCOUNT NO.:
         ROOM 205                                              NOT AVAILABLE
         FAIRFIELD, TX 75840




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2919   COUNTY OF FRESNO, A POLITICAL SUBDIVISION OF THE         5/9/2018                    Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA; THE PEOPLE OF THE STATE OF
         CALIFORNIA, ACTING BY AND THROUGH THE COUNTY OF       ACCOUNT NO.:
         FRESNO                                                NOT AVAILABLE
         ATTN: COUNTY CLERK
         2220 TULARE STREET
         1ST FLOOR
         FRESNO, CA 93721



3.2920   COUNTY OF FRESNO, A POLITICAL SUBDIVISION OF THE         5/9/2018                    Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA; THE PEOPLE OF THE STATE OF
         CALIFORNIA, ACTING BY AND THROUGH THE COUNTY OF       ACCOUNT NO.:
         FRESNO                                                NOT AVAILABLE
         ATTN: CHAIRMAN OF THE BOARD OF SUPERVISORS
         2281 TULARE STREET
         ROOM 301
         FRESNO, CA 93721



3.2921   COUNTY OF FULTON, AR                                     3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         P.O. BOX 219                                          ACCOUNT NO.:
         SALEM, AR 72576                                       NOT AVAILABLE



3.2922   COUNTY OF FULTON, AR                                     3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         P.O. BOX 278                                          ACCOUNT NO.:
         SALEM, AR 72576                                       NOT AVAILABLE



3.2923   COUNTY OF GALVESTON                                      3/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         722 MOODY                                             ACCOUNT NO.:
         SUITE 200                                             NOT AVAILABLE
         GALVESTON, TX 77550



3.2924   COUNTY OF GALVESTON                                     11/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         722 MOODY                                             ACCOUNT NO.:
         SUITE 200                                             NOT AVAILABLE
         GALVESTON, TX 77550



3.2925   COUNTY OF GARLAND, AR                                    3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         501 OUACHITA AVENUE                                   ACCOUNT NO.:
         ROOM 210                                              NOT AVAILABLE
         HOT SPRINGS, AR 71913



3.2926   COUNTY OF GARLAND, AR                                    3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         501 OUACHITA AVENUE                                   ACCOUNT NO.:
         ROOM 103                                              NOT AVAILABLE
         HOT SPRINGS, AR 71913




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2927   COUNTY OF GLENN, A POLITICAL SUBDIVISION OF THE          5/8/2018                    Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA; THE PEOPLE OF THE STATE OF
         CALIFORNIA, ACTING BY AND THROUGH THE COUNTY OF       ACCOUNT NO.:
         GLENN                                                 NOT AVAILABLE
         ATTN: CLERK RECORDER
         516 WEST SYCAMORE STREET
         WILLOWS, CA 95988



3.2928   COUNTY OF GLENN, A POLITICAL SUBDIVISION OF THE          5/8/2018                    Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA; THE PEOPLE OF THE STATE OF
         CALIFORNIA, ACTING BY AND THROUGH THE COUNTY OF       ACCOUNT NO.:
         GLENN                                                 NOT AVAILABLE
         ATTN: BOARD OF SUPERVISORS
         525 WEST SYCAMORE STREET
         SUITE B1
         WILLOWS, CA 95988



3.2929   COUNTY OF GRAND TRAVERSE                                12/19/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         400 BOARDMAN AVENUE                                   ACCOUNT NO.:
         TRAVERSE CITY, MI 49684                               NOT AVAILABLE



3.2930   COUNTY OF GRAND TRAVERSE                                12/19/2017                   Opioid Matter              UNDETERMINED
         ATTN: BOARD OF COMMISSIONERS
         400 BOARDMAN AVENUE, SUITE 305                        ACCOUNT NO.:
         TRAVERSE CITY, MI 49684                               NOT AVAILABLE



3.2931   COUNTY OF GRANT, AR                                      3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         101 WEST CENTER                                       ACCOUNT NO.:
         ROOM 106                                              NOT AVAILABLE
         SHERIDAN, AR 72150



3.2932   COUNTY OF GRANT, AR                                      3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         101 WEST CENTER                                       ACCOUNT NO.:
         ROOM 101                                              NOT AVAILABLE
         SHERIDAN, AR 72150



3.2933   COUNTY OF GRATIOT, MICHIGAN                              3/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         214 EAST CENTER STREET                                ACCOUNT NO.:
         ITHACA, MI 48847                                      NOT AVAILABLE



3.2934   COUNTY OF GRATIOT, MICHIGAN                              3/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         6240 LEEWARD COURT                                    NOT AVAILABLE
         ITHACA, MI 48847



3.2935   COUNTY OF GRAYSON, TX                                    6/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         100 W. HOUSTON                                        ACCOUNT NO.:
         SHERMAN, TX 75090                                     NOT AVAILABLE



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2936   COUNTY OF GREENE, AR                                     3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         320 WEST COURT STREET                                 ACCOUNT NO.:
         ROOM 102                                              NOT AVAILABLE
         PARAGOULD, AR 72450



3.2937   COUNTY OF GREENE, AR                                     3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         320 WEST COURT STREET                                 ACCOUNT NO.:
         OFFICE 107                                            NOT AVAILABLE
         PARAGOULD, AR 72450



3.2938   COUNTY OF GREENWOOD                                      8/23/2018                   Opioid Matter              UNDETERMINED
         MATTHEW EVERT YELVERTON
         HARRISON WHITE SMITH & COGGINS                        ACCOUNT NO.:
         60 FOLLY ROAD BOULEVARD                               NOT AVAILABLE
         CHARLESTON, SC 29407



3.2939   COUNTY OF GREENWOOD                                      8/23/2018                   Opioid Matter              UNDETERMINED
         MARGHRETTA HAGOOD SHISKO
         178 WEST MAIN STREET                                  ACCOUNT NO.:
         P.O. BOX 3247                                         NOT AVAILABLE
         SPARTANBURG, SC 29306



3.2940   COUNTY OF GREENWOOD                                      8/23/2018                   Opioid Matter              UNDETERMINED
         JOHN BELTON WHITE JR.
         HARRISON WHITE SMITH & COGGINS                        ACCOUNT NO.:
         P.O. BOX 3547                                         NOT AVAILABLE
         SPARTANBURG, SC 29304



3.2941   COUNTY OF GREENWOOD                                      8/23/2018                   Opioid Matter              UNDETERMINED
         JAMES GRAHAM PADGETT III
         414 MONUMENT STREET                                   ACCOUNT NO.:
         SUITE C                                               NOT AVAILABLE
         GREENWOOD, SC 29646



3.2942   COUNTY OF GREENWOOD, SC                                  8/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF COUNTY COUNCIL AND CLERK TO
         COUNCIL                                               ACCOUNT NO.:
         600 MONUMENT STREET                                   NOT AVAILABLE
         BOX P-103 - PARK PLAZA, SUITE 102
         GREENWOOD, SC 29646



3.2943   COUNTY OF GRENADA                                       10/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF SUPERVISORS
         2000 GATEWAY STREET                                   ACCOUNT NO.:
         SUITE A                                               NOT AVAILABLE
         GRENADA, MS 38901



3.2944   COUNTY OF HAMPTON                                        6/25/2018                   Opioid Matter              UNDETERMINED
         WILLIAM FRANKLIN BARNES III
         PO BOX 457                                            ACCOUNT NO.:
         101 MULBERRY STREET                                   NOT AVAILABLE
         EAST HAMPTON, SC 29924-0457



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2945   COUNTY OF HAMPTON, SC                                    6/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF COUNTY COUNCIL AND CLERK TO
         COUNCIL                                               ACCOUNT NO.:
         200 JACKSON AVENUE EAST                               NOT AVAILABLE
         HAMPTON, SC 29924



3.2946   COUNTY OF HARDIN                                         12/7/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         HARDIN COUNTY COURTHOUSE                              ACCOUNT NO.:
         300 WEST MONROE STREET                                NOT AVAILABLE
         KOUNTZE, TX 77625



3.2947   COUNTY OF HARRISON                                       4/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         HISTORIC COURTHOUSE                                   ACCOUNT NO.:
         #1 PETER WHETSTONE SQUARE - ROOM 314                  NOT AVAILABLE
         MARSHALL, TX 75670



3.2948   COUNTY OF HARRISON                                      11/17/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         HISTORIC COURTHOUSE                                   ACCOUNT NO.:
         #1 PETER WHITESTONE SQUARE, RM 314                    NOT AVAILABLE
         MARSHALL, TX 75670



3.2949   COUNTY OF HARRISON, TX                                   4/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         HISTORIC COURTHOUSE                                   ACCOUNT NO.:
         #1 PETER WHETSTONE SQUARE - ROOM 314                  NOT AVAILABLE
         MARSHALL, TX 75670



3.2950   COUNTY OF HARVEY                                         6/22/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK; CHAIR OF COMMISSIONERS;
         TREASURER                                             ACCOUNT NO.:
         800 NORTH MAIN STREET                                 NOT AVAILABLE
         P. O. BOX 687
         NEWTON, KS 67114



3.2951   COUNTY OF HAWAI'I, HI                                    6/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: CORPORATION COUNSEL
         HILO LAGOON CENTRE                                    ACCOUNT NO.:
         101 AUPUNI STREET, UNIT 325                           NOT AVAILABLE
         HILO, HI 96720



3.2952   COUNTY OF HEMPSTEAD, AR                                  3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COUNTY CLERK
         400 SOUTH WASHINGTON                                  ACCOUNT NO.:
         P.O. BOX 1420                                         NOT AVAILABLE
         HOPE, AR 71802



3.2953   COUNTY OF HENDERSON, TEXAS                               7/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         125 NORTH PRAIRIEVILLE STREET, ROOM 100               ACCOUNT NO.:
         ATHENS, TX 75751                                      NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2954   COUNTY OF HIDALGO, TX                                    4/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         100 E. CANO                                           ACCOUNT NO.:
         SECOND FLOOR                                          NOT AVAILABLE
         EDINBURG, TX 78539



3.2955   COUNTY OF HILLSDALE, MICHIGAN                            3/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         9471 HICKS ROAD                                       NOT AVAILABLE
         QUINCY, MI 49082-9607



3.2956   COUNTY OF HILLSDALE, MICHIGAN                            3/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         29 N. HOWELL STREET                                   ACCOUNT NO.:
         ROOM 1                                                NOT AVAILABLE
         HILLSDALE, MI 49242



3.2957   COUNTY OF HOPKINS                                       10/31/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         HOPKINS COUNTY COURTHOUSE                             ACCOUNT NO.:
         118 CHURCH ST.                                        NOT AVAILABLE
         SULPHUR SPRINGS, TX 75482



3.2958   COUNTY OF HOPKINS, TX                                   10/31/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         P.O. BOX 288                                          ACCOUNT NO.:
         SULPHUR SPRINGS, TX 75483                             NOT AVAILABLE



3.2959   COUNTY OF HORRY                                          5/6/2019                    Opioid Matter              UNDETERMINED
         CHERYL F. PERKINS
         WHETSTONE PERKINS & FULDA, LLC                        ACCOUNT NO.:
         PO BOX 8086                                           NOT AVAILABLE
         COLUMBIA, SC 29202



3.2960   COUNTY OF HORRY, SC                                      5/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF COUNTY COUNCIL AND CLERK TO
         COUNCIL                                               ACCOUNT NO.:
         1301 SECOND AVENUE                                    NOT AVAILABLE
         CONWAY, SC 29526



3.2961   COUNTY OF HORRY, SC                                      5/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY ADMINISTRATOR
         P.O. BOX 1236                                         ACCOUNT NO.:
         CONWAY, SC 29528                                      NOT AVAILABLE



3.2962   COUNTY OF HOT SPRING, AR                                 3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COUNTY CLERK
         210 LOCUST STREET                                     ACCOUNT NO.:
         MALVERN, AR 72104                                     NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip                   Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                              And Account Number                         Claim

Litigation

3.2963   COUNTY OF HOUGHTON, MICHIGAN                                         3/16/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE BOARD OF
         COMMMISSIONERS                                                     ACCOUNT NO.:
         HOUGHTON COUNTY COURTHOUSE 5TH FLOOR                               NOT AVAILABLE
         401 EAST HOUGHTON AVENUE
         HOUGHTON, MI 49931



3.2964   COUNTY OF HOUGHTON, MICHIGAN                                         3/16/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         HOUGHTON COUNTY COURTHOUSE, 2ND FLOOR                              ACCOUNT NO.:
         401 EAST HOUGHTON AVENUE                                           NOT AVAILABLE
         HOUGHTON, MI 49931



3.2965   COUNTY OF HOUSTON, TX                                                5/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         401 EAST GOLIAD AVENUE                                             ACCOUNT NO.:
         SUITE 201 - P.O. BOX 370                                           NOT AVAILABLE
         CROCKETT, TX 75835



3.2966   COUNTY OF HOWARD, AR                                                 3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COUNTY CLERK
         421 NORTH MAIN STREET                                              ACCOUNT NO.:
         NASHVILLE, AR 71852                                                NOT AVAILABLE



3.2967   COUNTY OF HUDSON, NJ                                                  4/3/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         257 CORNELISON AVENUE                                              ACCOUNT NO.:
         4TH FLOOR                                                          NOT AVAILABLE
         JERSEY CITY, NJ 07302



3.2968   COUNTY OF HUDSON, NJ                                                  4/3/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE
         583 NEWARK AVENUE                                                  ACCOUNT NO.:
         JERSEY CITY, NJ 07306                                              NOT AVAILABLE



3.2969   COUNTY OF IMPERIAL, A POLITICAL SUBDIVISION OF                        5/8/2018                   Opioid Matter              UNDETERMINED
         THE STATE OF CALIFORNIA; THE PEOPLE OF THE STATE
         OF CALIFORNIA, ACTING BY AND THROUGH THE COUNTY                    ACCOUNT NO.:
         OF IMPERIAL                                                        NOT AVAILABLE
         ATTN: COUNTY CLERK
         940 WEST MAIN STREET
         SUITE 202
         EL CENTRO, CA 92243



3.2970   County of Imperial, a political subdivision of the State of           5/8/2018                   Opioid Matter              UNDETERMINED
         California; the People of the State of California, acting by and
         through the County of Imperial                                     ACCOUNT NO.:
         Attn: Imperial County Board of Supervisors                         NOT AVAILABLE
         940 West Main Street
         Suite 209
         El Centro, CA 92243-2839




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2971   COUNTY OF INDEPENDENCE, AR                               3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COUNTY CLERK
         192 EAST MAIN STREET                                  ACCOUNT NO.:
         BATESVILLE, AR 72501                                  NOT AVAILABLE



3.2972   COUNTY OF INGHAM, MICHIGAN                               3/16/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         341 SOUTH JEFFERSON STREET                            ACCOUNT NO.:
         MASON, MI 48854                                       NOT AVAILABLE



3.2973   COUNTY OF INGHAM, MICHIGAN                               3/16/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         INGHAM COUNTY COURTHOUSE                              NOT AVAILABLE
         P.O. BOX 319
         MASON, MI 48854



3.2974   COUNTY OF INYO, A POLITICAL SUBDIVISION OF THE           5/9/2018                    Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA; THE PEOPLE OF THE STATE OF
         CALIFORNIA, ACTING BY AND THROUGH THE COUNTY OF       ACCOUNT NO.:
         INYO                                                  NOT AVAILABLE
         ATTN: BOARD OF SUPERVISORS
         PO BOX N
         INDEPENDENCE, CA 93526



3.2975   COUNTY OF INYO, A POLITICAL SUBDIVISION OF THE           5/9/2018                    Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA; THE PEOPLE OF THE STATE OF
         CALIFORNIA, ACTING BY AND THROUGH THE COUNTY OF       ACCOUNT NO.:
         INYO                                                  NOT AVAILABLE
         ATTN: COUNTY CLERK
         168 NORTH EDWARDS STREET
         INDEPENDENCE, CA 93526



3.2976   COUNTY OF IONIA, MICHIGAN                                4/9/2019                    Opioid Matter              UNDETERMINED
         IONIA COUNTY CLERK’S OFFICE
         100 W. MAIN STREET                                    ACCOUNT NO.:
         IONIA, MI 48846                                       NOT AVAILABLE



3.2977   COUNTY OF IONIA, MICHIGAN                                4/9/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON, IONIA COUNTY COMMISSIONERS
         4833 FLAT RIVER TRAIL                                 ACCOUNT NO.:
         BELDING, MI 48809                                     NOT AVAILABLE



3.2978   COUNTY OF IOSCO, MICHIGAN                                3/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         422 WEST LAKE STREET                                  NOT AVAILABLE
         TAWAS CITY, MI 48763



3.2979   COUNTY OF IOSCO, MICHIGAN                                3/13/2018                   Opioid Matter              UNDETERMINED
         422 WEST LAKE STREET
         PO BOX 838                                            ACCOUNT NO.:
         TAWAS CITY, MI 48763                                  NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2980   COUNTY OF ISABELLA, MICHIGAN                             3/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         ISABELLA COUNTY BUILDING                              NOT AVAILABLE
         BOARD OF COMMISSIONERS - 200 NORTH MAIN
         STREET - ROOM 225
         MT. PLEASANT, MI 48858



3.2981   COUNTY OF ISABELLA, MICHIGAN                             3/13/2018                   Opioid Matter              UNDETERMINED
         ISABELLA COUNTY BUILDING
         COUNTY CLERK'S OFFICE - ROOM 205                      ACCOUNT NO.:
          - 200 NORTH MAIN STREET                              NOT AVAILABLE
         MT. PLEASANT, MI 48858



3.2982   COUNTY OF IZARD, AR                                      3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         P.O. BOX 327                                          ACCOUNT NO.:
         MELBOURNE, AR 72556                                   NOT AVAILABLE



3.2983   COUNTY OF IZARD, AR                                      3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         80 EAST MAIN STREET                                   ACCOUNT NO.:
         P.O. BOX 95                                           NOT AVAILABLE
         MELBOURNE, AR 72556



3.2984   COUNTY OF JACKSON, AR                                    3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COUNTY CLERK
         208 SOUTH MAIN STREET                                 ACCOUNT NO.:
         NEWPORT, AR 72112                                     NOT AVAILABLE



3.2985   COUNTY OF JASPER                                         6/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND CLERK OF THE COUNTY COUNCIL
         JASPER COUNTY CLEMENTA C. PINCKNEY                    ACCOUNT NO.:
         GOVERNMENT BUILDING                                   NOT AVAILABLE
         358 THIRD AVENUE
         RIDGELAND, SC 29936



3.2986   COUNTY OF JASPER                                         11/5/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         121 NORTH AUSTIN, ROOM 106                            ACCOUNT NO.:
         JASPER, TX 75951                                      NOT AVAILABLE



3.2987   COUNTY OF JASPER                                         6/25/2018                   Opioid Matter              UNDETERMINED
         TERRY A. FINGER
         PO BOX 24005                                          ACCOUNT NO.:
         HILTON HEAD ISLAND, SC 29925-4005                     NOT AVAILABLE



3.2988   COUNTY OF JASPER                                         6/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: DANIEL E. HENDERSON
         PO DRAWER 2500                                        ACCOUNT NO.:
         RIDGELAND, SC 28836                                   NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.2989   COUNTY OF JASPER                                         6/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: JOHN E. PARKER
         PO BOX 457                                            ACCOUNT NO.:
         HAMPTON, SC 29924-0457                                NOT AVAILABLE



3.2990   COUNTY OF JASPER                                         6/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: BERT GLENN UTSEY, III
         PO BOX 30968                                          ACCOUNT NO.:
         CHARLESTON, SC 29417                                  NOT AVAILABLE



3.2991   COUNTY OF JASPER, SC                                     6/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND CLERK OF THE COUNTY COUNCIL
         JASPER COUNTY CLEMENTA C. PINCKNEY GOV'T              ACCOUNT NO.:
         BUILDING                                              NOT AVAILABLE
         358 THIRD AVENUE
         RIDGELAND, SC 29936



3.2992   COUNTY OF JASPER, SC                                     6/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         P.O. DRAWER F                                         ACCOUNT NO.:
         RIDGELAND, SC 29936                                   NOT AVAILABLE



3.2993   COUNTY OF JEFFERSON                                     12/13/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS AND ATTORNEY
         301 MARKET STREET, 1ST FLOOR                          ACCOUNT NO.:
         STEUBENVILLE, OH 43952                                NOT AVAILABLE



3.2994   COUNTY OF JEFFERSON, ARKANSAS                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CIRCUIT CLERK
         101 WEST BARRAQUE                                     ACCOUNT NO.:
         SUITE 104                                             NOT AVAILABLE
         PINE BLUFF, AR 71601



3.2995   COUNTY OF JEFFERSON, ARKANSAS                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         101 WEST BARRAQUE                                     ACCOUNT NO.:
         SUITE 101                                             NOT AVAILABLE
         PINE BLUFF, AR 71601



3.2996   COUNTY OF JEFFERSON, ARKANSAS                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         101 WEST BARRAQUE                                     ACCOUNT NO.:
         SUITE 107                                             NOT AVAILABLE
         PINE BLUFF, AR 71601



3.2997   COUNTY OF JEFFERSON, NEW YORK                            6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK, COUNTY ATTORNEY, COUNTY
         TREASURER                                             ACCOUNT NO.:
         175 ARSENAL STREET, 1ST FLOOR                         NOT AVAILABLE
         WATERTOWN, NY 13601




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:           List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip                    Date Claim Was Incurred    C U      D    Basis For      Offset   Amount of Claim
Code                                                               And Account Number                        Claim

Litigation

3.2998   COUNTY OF JIM HOGG                                                    6/14/2019                  Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         JIM HOGG COUNTY COURTHOUSE                                          ACCOUNT NO.:
         P.O. BOX 729 - EAST TILLEY STREET                                   NOT AVAILABLE
         HEBBRONVILLE, TX 78361



3.2999   COUNTY OF JIM HOGG, TX                                                UNKNOWN                    Opioid Matter              UNDETERMINED
         ATTN: JIM HOGG COUNTY JUDGE
         JIM HOGG COUNTY COURTHOUSE                                          ACCOUNT NO.:
         P.O. BOX 729 - EAST TILLEY STREET                                   NOT AVAILABLE
         HEBBRONVILLE, TX 78361



3.3000   COUNTY OF JOHNSON, AR                                                 3/15/2018                  Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COUNTY CLERK
         JOHNSON COUNTY COURTHOUSE                                           ACCOUNT NO.:
         215 WEST MAIN STREET                                                NOT AVAILABLE
         CLARKSVILLE, AR 72830



3.3001   COUNTY OF JONES                                                       1/16/2018                  Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         PO BOX 148                                                          ACCOUNT NO.:
         ANSON, TX 79501                                                     NOT AVAILABLE



3.3002   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: Tyler D. Trew
         Liskow & Lewis, PLC
         701 Poydras Street - Suite 5000



3.3003   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: A'Dair R. Flynt
         Liskow & Lewis, PLC
         701 Poydras Street - Suite 5000



3.3004   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: Craig D. Dillard
         Foley Gardere Foley & Lardner LLP
         1000 Louisiana Street - Suite 2000



3.3005   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: Philip C. Brickman
         Degan, Blanchard & Nash
         400 Poydras Street - Suite 2600




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:           List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip                    Date Claim Was Incurred    C U      D    Basis For      Offset   Amount of Claim
Code                                                               And Account Number                        Claim

Litigation

3.3006   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: Harry Rosenberg
         Phelps Dunbar LLP
         Canal Place - 365 Canal Stret, Suite 2000



3.3007   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: Sidney W. Degan
         Degan, Blanchard & Nash
         400 Poydras Street - Suite 2600



3.3008   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: James A. Brown
         Liskow & Lewis, PLC
         701 Poydras Street - Suite 5000



3.3009   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: Nicole M. Boyer
         Duplass, Zwain, Bourgeois, Pfister, Weinstock & Bogart
         3838 North Causeway Boulevard - Suite 2900



3.3010   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: Gregory T. Stevens
         Phelps Dunbar LLP
         11 City Plaza, 400 Convention Street, Suite 1100 - P.O. Box
         4412



3.3011   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: Chad A. Sullivan
         Keogh, Cox & Wilson, LTD
         701 Main Street - Post Office Box 1151



3.3012   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: John P. Wolff, III
         Keogh, Cox & Wilson, LTD
         701 Main Street - Post Office Box 1151




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:           List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip                    Date Claim Was Incurred    C U      D    Basis For      Offset   Amount of Claim
Code                                                               And Account Number                        Claim

Litigation

3.3013   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: Madison A. Sharko
         Barrasso Usdin Kupperman Freeman & Sarver L.L.C.
         909 Poydras Street - Suite 2350



3.3014   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: Celeste R. Coco-Ewing
         Barrasso Usdin Kupperman Freeman & Sarver L.L.C.
         909 Poydras Street - Suite 2350



3.3015   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: Glenn M. Farnet
         Kean Miller LLP
         400 Convention Street, Suite 700 - P.O. Box 3513



3.3016   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: Kelly C. Bogart
         Duplass, Zwain, Bourgeois, Pfister, Weinstock & Bogart
         3838 North Causeway Boulevard - Suite 2900



3.3017   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: Caroline Darwin
         Taylor, Porter, Brooks & Phillips LLP
         450 Laurel Street, 8th Floor - Post Office Box 2471



3.3018   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: T. MacDougall Womack
         Taylor , Porter Brooks & Phillips LLP
         450 Laurel Street, 8th Floor - Post Office Box 2471



3.3019   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: John Y.U. Choi
         Hawai'i Accident Law Center
         Pacific Guardian Center - 733 Bishop Street, Suite 2390




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip                    Date Claim Was Incurred    C U      D    Basis For      Offset   Amount of Claim
Code                                                               And Account Number                        Claim

Litigation

3.3020   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: County Attorney, First Deputy County Attorney
         County of Kauai
         4444 Rice Street - Suite 220



3.3021   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: Karen M. Fontana Young
         Kean Miller LLP
         First Bank and Trust Tower - 909 Poydras Street, Suite 3600



3.3022   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: Franklin J. Foil
         412 North Fourth Street
         Suite 240



3.3023   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: County Attorney and Deputy County Attorney
         County Attorney Office
         4444 Rice Street - Suite 220



3.3024   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: Simon E. Masur
         Gordon Arata Montgomery Barnett
         400 East Kaliste Saloom Road - Suite 4200



3.3025   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: Paul B. Simon
         Gordon Arata Montgomery Barnett
         400 East Kaliste Saloom Road - Suite 4200



3.3026   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: Ezra Dodd Church
         Morgan Lewis & Brookius LLP
         1701 Market Street




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:           List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip                    Date Claim Was Incurred    C U      D    Basis For      Offset   Amount of Claim
Code                                                               And Account Number                        Claim

Litigation

3.3027   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: Peter J. Rotolo
         Chaffe McCall LLP
         2300 Energy Center - 1100 Poydras Street



3.3028   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: John F. Olinde
         Chaffe McCall LLP
         2300 Energy Center - 1100 Poydras Street



3.3029   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: Kathryn M. Knight
         Stone Pigman Walther Wittman LLC
         909 Poydras Street - Suite 3150



3.3030   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: J. Dalton Courson
         Stone Pigman Walther Wittmann LLC
         909 Poydras Street - Suite 3150



3.3031   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: Camille E. Gauthier
         Flanagan Partners LLP
         201 St. Charles Avenue - Suite 2405



3.3032   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: Richard C. Crisler
         Bradley Murchison Kelly & "Shea LLC
         1100 Poydras Street - Suite 2700



3.3033   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: Thomas M. Flanagan
         Flanagan Partners LLP
         201 St. Charles Avenue - Suite 2405




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Creditor's Name, Mailing Address Including Zip                    Date Claim Was Incurred    C U      D    Basis For      Offset   Amount of Claim
Code                                                               And Account Number                        Claim

Litigation

3.3034   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: Michael C. Mims
         Bradley Murchison Kelly & Shea LLC
         1100 Poydras Street - Suite 2700



3.3035   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: Shelley K. Napolitano
         Maron Marvel Bradley Anderson & Tardy LLC
         Place St. Charles - 201 St. Charles Avenue, Suite 2411



3.3036   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: Douglas J. Moore
         Irwin Fritchie Urquhart & Moore LLC
         400 Poydras Street - Suite 2700



3.3037   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: Richard M. Crump
         Maron Marvel Bradley Anderson & Tardy LLC
         Place St. Charles - 201 St. Charles Avenue, Suite 2411



3.3038   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: Stacey D. Williams
         Blanchard Walker O'Quinn & Roberts
         Post office Drawer 1126



3.3039   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: Scott R. Wolf
         Blanchard Walker O'Quinn & Roberts
         Post Office Drawer 1126



3.3040   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: W. Michael Adams
         Blanchard Walker O'Quinn & Roberts
         Post Office Drawer 1126




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip                    Date Claim Was Incurred    C U      D    Basis For      Offset   Amount of Claim
Code                                                               And Account Number                        Claim

Litigation

3.3041   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: I. Bradley Hancock
         Holland & Knight LLP
         1100 Louisiana Street - Suite 4300



3.3042   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: Kerry J. MIller
         Fishman Haygood LLP
         201 St. Charles Avenue - Suite 4600



3.3043   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: Kelly Juneau Rookard
         Irwin Fritchie Urquhart & Moore LLC
         400 Poydras Street - Suite 2700



3.3044   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: Robert E. Dille
         Maron Marvel Bradley Anderson & Tardy LLC
         Place St. Charles - 201 St. Charles Avenue, Suite 2411



3.3045   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: Natalie J. Taylor
         Bradley Murchison Kelly & Shea LLC
         1100 Poydras Street - Suite 2700



3.3046   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: Leland G. Horton
         Bradley Murchison Kelly & Shea LLC
         401 Edwards Street - Suite 1000



3.3047   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: C. Wm. Bradley
         Bradley Murchison Kelly & Shea LLC
         1100 Poydras Street - Suite 2700




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Creditor's Name, Mailing Address Including Zip                    Date Claim Was Incurred    C U      D    Basis For      Offset   Amount of Claim
Code                                                               And Account Number                        Claim

Litigation

3.3048   County of Kaua'i, a political subdivision of the State of Hawaii,     5/17/2019                  Opioid Matter              UNDETERMINED
         for themselves individually, and on behalf of all similarly
         situated persons, and on behalf of the general public, as a         ACCOUNT NO.:
         class                                                               NOT AVAILABLE
         Attn: David W. O'Quinn
         Irwin Fritchie Urquhart & Moore LLC
         400 Poydras Street - Suite 2700



3.3049   COUNTY OF KENDALL, TX                                                 5/18/2018                  Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         201 EAST SAN ANTONIO AVENUE                                         ACCOUNT NO.:
         SUITE 122                                                           NOT AVAILABLE
         BOERNE, TX 78006



3.3050   COUNTY OF KENNEBEC                                                    1/18/2019                  Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS; COUNTY
         ADMINISTRATOR                                                       ACCOUNT NO.:
         125 STATE STREET                                                    NOT AVAILABLE
         2ND FLOOR
         AUGUSTA, ME 04330



3.3051   COUNTY OF KENNEBEC                                                    1/18/2019                  Opioid Matter              UNDETERMINED
         1 COURT STREET
         KENNEBEC COUNTY SUPERIOR COURT                                      ACCOUNT NO.:
          - SUITE 101                                                        NOT AVAILABLE
         AUGUSTA, ME 04330-0000



3.3052   COUNTY OF KENT, MICHIGAN                                              3/16/2019                  Opioid Matter              UNDETERMINED
         ATTN: BOARD CHAIR, COUNY CLERK
         ADMINISTRATION BUILDING                                             ACCOUNT NO.:
         300 MONROE AVENUE NW                                                NOT AVAILABLE
         GRAND RAPIDS, MI 49503-2288



3.3053   COUNTY OF KERN, AND THE PEOPLE OF THE STATE OF                        3/27/2019                  Opioid Matter              UNDETERMINED
         CALIFORNIA, BY AND THROUGH KERN COUNTY
         COUNSEL MARGO RAISON                                                ACCOUNT NO.:
         ATTN: COUNTY CLERK                                                  NOT AVAILABLE
         1115 TRUXTUN AVENUE
         FIRST FLOOR
         BAKERSFIELD, CA 93301



3.3054   COUNTY OF KERN, AND THE PEOPLE OF THE STATE OF                        3/27/2019                  Opioid Matter              UNDETERMINED
         CALIFORNIA, BY AND THROUGH KERN COUNTY
         COUNSEL MARGO RAISON                                                ACCOUNT NO.:
         ATTN: COUNTY COUNSEL                                                NOT AVAILABLE
         1115 TRUXTUN AVENUE
         4TH FLOOR
         BAKERSFIELD, CA 93301



3.3055   COUNTY OF KERN, AND THE PEOPLE OF THE STATE OF                        3/27/2019                  Opioid Matter              UNDETERMINED
         CALIFORNIA, BY AND THROUGH KERN COUNTY
         COUNSEL MARGO RAISON                                                ACCOUNT NO.:
         ATTN: CHAIR OF THE BOARD OF SUPERVISORS                             NOT AVAILABLE
         1115 TRUXTUN AVENUE
         5TH FLOOR
         BAKERSFIELD, CA 93301



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3056   COUNTY OF KERN, AND THE PEOPLE OF THE STATE OF           3/27/2019                   Opioid Matter              UNDETERMINED
         CALIFORNIA, BY AND THROUGH KERN COUNTY
         COUNSEL MARGO RAISON                                  ACCOUNT NO.:
         ATTN: COUNTY CLERK                                    NOT AVAILABLE
         COUNTY ADMINISTRATION BUILDING
         1115 TRUXTUN AVENUE - FIRST FLOOR
         BAKERSFIELD, CA 93301



3.3057   COUNTY OF KERN, AND THE PEOPLE OF THE STATE OF           3/27/2019                   Opioid Matter              UNDETERMINED
         CALIFORNIA, BY AND THROUGH KERN COUNTY
         COUNSEL MARGO RAISON                                  ACCOUNT NO.:
         ATTN: CHAIRMAN OF THE BOARD OF SUPERVISORS            NOT AVAILABLE
         1115 TRUXTUN AVENUE
         ROOM 504
         BAKERSFIELD, CA 93301



3.3058   COUNTY OF KERR, TX                                       4/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         700 E. MAIN STREET                                    ACCOUNT NO.:
         KERRVILLE, TX 78028                                   NOT AVAILABLE



3.3059   COUNTY OF KERSHAW                                        6/25/2018                   Opioid Matter              UNDETERMINED
         TERRY A. FINGER
         PO BOX 24005                                          ACCOUNT NO.:
         HILTON HEAD ISLAND, SC 29925-4005                     NOT AVAILABLE



3.3060   COUNTY OF KERSHAW, SC                                    6/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF COUNTY COUNCIL AND CLERK TO
         COUNCIL                                               ACCOUNT NO.:
         515 WALNUT STREET                                     NOT AVAILABLE
         CAMDEN, SC 29020



3.3061   COUNTY OF KINNEY                                         2/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         501 SOUTH ANN STREET                                  ACCOUNT NO.:
         BRACKETVILLE, TX 78832                                NOT AVAILABLE



3.3062   COUNTY OF KLEBERG                                        6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         PO BOX 752                                            ACCOUNT NO.:
         KINGSVILLE, TX 78363                                  NOT AVAILABLE



3.3063   COUNTY OF KLEBERG, TX                                   UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: KLEBERG COUNTY JUDGE
         KLEBERG COUNTY COURTHOUSE                             ACCOUNT NO.:
         700 EAST KLEBERG AVENUE                               NOT AVAILABLE
         KINGSVILLE, TX 78363



3.3064   COUNTY OF KLEBERG, TX                                   UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: KLEBERG COUNTY JUDGE
         P.O. BOX 752                                          ACCOUNT NO.:
         KINGSVILLE, TX 78364                                  NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3065   COUNTY OF KNOX, STATE OF NEBRASKA                        4/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         PO BOX 166                                            ACCOUNT NO.:
         CENTER, NE 68724-0166                                 NOT AVAILABLE



3.3066   COUNTY OF KNOX, STATE OF NEBRASKA                        4/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF SUPERVISORS AND
         COUNTY CLERK                                          ACCOUNT NO.:
         206 MAIN STREET                                       NOT AVAILABLE
         CENTER, NE 68724



3.3067   COUNTY OF LA PAZ                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: KEVIN N. ROYER
         THEODORA ORINGHER PC                                  ACCOUNT NO.:
         535 ANTON BOULEVARD, NINTH FLOOR                      NOT AVAILABLE
         COSTA MESA, CA 92626-7109



3.3068   COUNTY OF LA PAZ                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CHERYL PRIEST AINSWORTH, ESQ.
         THEODORA ORINGHER PC                                  ACCOUNT NO.:
         535 ANTON BOULEVARD, NINTH FLOOR                      NOT AVAILABLE
         COSTA MESA, CA 92626-7109



3.3069   COUNTY OF LA PAZ, AZ                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: J. CHRISTOPHER GOOCH
         FENNIMORE CRAIG, P.C.                                 ACCOUNT NO.:
         2394 EAST CAMELBACK ROAD, SUITE 600                   NOT AVAILABLE
         PHOENIX, AZ 85016-9077



3.3070   COUNTY OF LA PAZ, AZ                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: JOHN P. KAITES
         FENNIMORE CRAIG, P.C.                                 ACCOUNT NO.:
         2394 EAST CAMELBACK ROAD, SUITE 600                   NOT AVAILABLE
         PHOENIX, AZ 85016-9077



3.3071   COUNTY OF LA PAZ, AZ                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: SCOTT DAY FREEMAN
         FENNIMORE CRAIG, P.C.                                 ACCOUNT NO.:
         2394 EAST CAMELBACK ROAD, SUITE 600                   NOT AVAILABLE
         PHOENIX, AZ 85016-9077



3.3072   COUNTY OF LA PAZ, AZ                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CLERK OF THE BOARD OF SUPERVISORS
         1108 JOSHUA AVENUE                                    ACCOUNT NO.:
         PARKER, AZ 85344                                      NOT AVAILABLE



3.3073   COUNTY OF LA PAZ, CA                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: JEFF REEVES, CHERYL PRIEST AINSWORTH,
         KEVIN N. ROYER                                        ACCOUNT NO.:
         THEODORA ORINGHER PC                                  NOT AVAILABLE
         535 ANTON BOULEVARD, NINTH FLOOR
         COSTA MESA, CA 92626-7109




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3074   COUNTY OF LA SALLE                                       2/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         101 COURTHOUSE SQUARE, SUITE #315                     ACCOUNT NO.:
         3RD FLOOR                                             NOT AVAILABLE
         COTULLA, TX 78014



3.3075   COUNTY OF LAFAYETTE, AR                                  3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         1 COURTHOUSE SQUARE                                   ACCOUNT NO.:
         LEWISVILLE, AR 71845                                  NOT AVAILABLE



3.3076   COUNTY OF LAFAYETTE, AR                                  3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         2 COURTHOUSE SQUARE                                   ACCOUNT NO.:
         LEWISVILLE, AR 71845                                  NOT AVAILABLE



3.3077   COUNTY OF LAKE                                          12/11/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS AND ATTORNEY
         105 MAIN STREET                                       ACCOUNT NO.:
         PAINESVILLE, OH 44077                                 NOT AVAILABLE



3.3078   COUNTY OF LAKE                                           2/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: COMMISSIONER
         LAKE COUNTY COURTHOUSE                                ACCOUNT NO.:
         ROOM 211 - 106 4TH AVENUE E.                          NOT AVAILABLE
         POLSON, MT 59860



3.3079   COUNTY OF LAKE                                          12/11/2017                   Opioid Matter              UNDETERMINED
         105 MAIN STREET
         PO BOX 490                                            ACCOUNT NO.:
         PAINESVILLE, OH 44077                                 NOT AVAILABLE



3.3080   COUNTY OF LAKE, ET AL.                                  12/21/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF COUNTY BOARD
         18 NORTH COUNTY STREET                                ACCOUNT NO.:
         WAUKEGAN, IL 60085                                    NOT AVAILABLE



3.3081   COUNTY OF LAKE, ET AL.                                  12/21/2017                   Opioid Matter              UNDETERMINED
         ATTN: LAKE COUNTY CLERK
         18 NORTH COUNTY STREET                                ACCOUNT NO.:
         ROOM 101                                              NOT AVAILABLE
         WAUKEGAN, IL 60085



3.3082   COUNTY OF LAKE, MICHIGAN                                 3/12/2018                   Opioid Matter              UNDETERMINED
         800 TENTH STREET
         SUITE 200                                             ACCOUNT NO.:
         BALDWIN, MI 49304                                     NOT AVAILABLE



3.3083   COUNTY OF LAKE, MICHIGAN                                 3/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         6764 SOUTH ADAMS STREET                               NOT AVAILABLE
         CHASE, MI 49623


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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3084   COUNTY OF LAKE, MICHIGAN                                 3/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         800 TENTH STREET                                      ACCOUNT NO.:
         SUITE 200                                             NOT AVAILABLE
         BALDWIN, MI 49304



3.3085   COUNTY OF LAMAR                                         11/20/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         119 NORTH MAIN                                        ACCOUNT NO.:
         PARIS, TX 75460                                       NOT AVAILABLE



3.3086   COUNTY OF LANCASTER                                      5/2/2019                    Opioid Matter              UNDETERMINED
         JOHN BELTON WHITE JR.
         HARRISON WHITE SMITH & COGGINS                        ACCOUNT NO.:
         P.O. BOX 3547                                         NOT AVAILABLE
         SPARTANBURG, SC 29304



3.3087   COUNTY OF LANCASTER                                      5/2/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHERYL F. PERKINS
         WHETSTONE PERKINS & FULDA, LLC                        ACCOUNT NO.:
         PO BOX 8086                                           NOT AVAILABLE
         COLUMBIA, SC 29201



3.3088   COUNTY OF LANCASTER                                      5/2/2019                    Opioid Matter              UNDETERMINED
         MARGHRETTA HAGOOD SHISKO
         178 WEST MAIN STREET                                  ACCOUNT NO.:
         P.O. BOX 3547                                         NOT AVAILABLE
         SPARTANBURG, SC 29306



3.3089   COUNTY OF LANCASTER                                      5/2/2019                    Opioid Matter              UNDETERMINED
         JOHN BELTON WHITE, JR.
         HARRISON WHITE SMITH & COGGIN                         ACCOUNT NO.:
         PO BOX 3547                                           NOT AVAILABLE
         SPARTANBURG, SC 29306



3.3090   COUNTY OF LANCASTER                                      5/2/2019                    Opioid Matter              UNDETERMINED
         CHARLES W. WHETSTONE, JR.
         PO BOX 8086                                           ACCOUNT NO.:
         COLUMBIA, SC 29202                                    NOT AVAILABLE



3.3091   COUNTY OF LANCASTER                                      5/2/2019                    Opioid Matter              UNDETERMINED
         CHARLES W. WHETSTONE JR.
         P.O. BOX 8086                                         ACCOUNT NO.:
         COLUMBIA, SC 29202                                    NOT AVAILABLE



3.3092   COUNTY OF LANCASTER                                      5/2/2019                    Opioid Matter              UNDETERMINED
         SHISKO, MARGHRETTA HAGOOD
         PO BOX 3547                                           ACCOUNT NO.:
         SPARTANBURG, SC 29306                                 NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3093   COUNTY OF LANCASTER, SC                                  5/2/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF COUNTY COUNCIL AND CLERK TO
         COUNCIL                                               ACCOUNT NO.:
         101 NORTH MAIN STREET                                 NOT AVAILABLE
         LANCASTER, SC 29720



3.3094   COUNTY OF LANCASTER, SC                                  5/2/2019                    Opioid Matter              UNDETERMINED
         ATTN: ADMINSITRATOR
         P.O. BOX 1809                                         ACCOUNT NO.:
         LANCASTER, SC 29720                                   NOT AVAILABLE



3.3095   COUNTY OF LASSEN, A POLITICAL SUBDIVISION OF THE         5/8/2018                    Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA; THE PEOPLE OF THE STATE OF
         CALIFORNIA, ACTING BY AND THROUGH THE COUNTY OF       ACCOUNT NO.:
         LASSEN                                                NOT AVAILABLE
         ATTN: BOARD OF SUPERVISORS CHAIRMAN
         221 SOUTH ROOP STREET
         SUITE 4
         SUSANVILLE, CA 96130



3.3096   COUNTY OF LASSEN, A POLITICAL SUBDIVISION OF THE         5/8/2018                    Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA; THE PEOPLE OF THE STATE OF
         CALIFORNIA, ACTING BY AND THROUGH THE COUNTY OF       ACCOUNT NO.:
         LASSEN                                                NOT AVAILABLE
         ATTN: COUNTY CLERK
         HISTORIC COURTHOUSE
         220 SOUTH LASSEN STREET - SUITE 5
         SUSANVILLE, CA 96130



3.3097   COUNTY OF LASSEN, A POLITICAL SUBDIVISION OF THE         5/8/2018                    Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA; THE PEOPLE OF THE STATE OF
         CALIFORNIA, ACTING BY AND THROUGH THE COUNTY OF       ACCOUNT NO.:
         LASSEN                                                NOT AVAILABLE
         ATTN: CHAIRMAN OF THE BOARD OF SUPERVISORS
         221 SOUTH ROPE STREET
         SUITE 4
         SUSANVILLE, CA 96130



3.3098   COUNTY OF LAURENS, SC                                    8/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF COUNTY COUNCIL AND CLERK TO
         COUNCIL                                               ACCOUNT NO.:
         100 HILLCREST SQUARE                                  NOT AVAILABLE
         LAURENS, SC 29360



3.3099   COUNTY OF LAURENS, SC                                    8/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY ADMINISTRATOR
         P.O. BOX 445                                          ACCOUNT NO.:
         LAURENS, SC 29360                                     NOT AVAILABLE



3.3100   COUNTY OF LAWRENCE, AR                                   3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         315 WEST MAIN STREET                                  ACCOUNT NO.:
         ROOM 2 - P.O. BOX 526                                 NOT AVAILABLE
         WALNUT RIDGE, AR 72476




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3101   COUNTY OF LAWRENCE, AR                                   3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         315 WEST MAIN STREET                                  ACCOUNT NO.:
         ROOM 1                                                NOT AVAILABLE
         WALNUT RIDGE, AR 72476



3.3102   COUNTY OF LEE                                            7/2/2018                    Opioid Matter              UNDETERMINED
         TERRY A. FINGER
         P.O. BOX 24005                                        ACCOUNT NO.:
         HILTON HEAD ISLAND, SC 29925                          NOT AVAILABLE



3.3103   COUNTY OF LEE, AR                                        3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COUNTY CLERK
         15 EAST CHESTNUT STREET                               ACCOUNT NO.:
         MARIANNA, AR 72360                                    NOT AVAILABLE



3.3104   COUNTY OF LEE, SC                                        7/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF COUNTY COUNCIL AND CLERK TO
         COUNCIL                                               ACCOUNT NO.:
         P.O. BOX 309                                          NOT AVAILABLE
         BISHOPVILLE, SC 29010



3.3105   COUNTY OF LEELANAU, MICHIGAN                             1/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         3161 S. MAPLE VALLEY ROAD                             NOT AVAILABLE
         SUTTONS BAY, MI 49682



3.3106   COUNTY OF LEELANAU, MICHIGAN                             1/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         8527 EAST GOVERNMENT CENTER DRIVE                     ACCOUNT NO.:
         SUITE 103                                             NOT AVAILABLE
         SUTTONS BAY, MI 49682



3.3107   COUNTY OF LENAWEE, MICHIGAN                              3/13/2018                   Opioid Matter              UNDETERMINED
         425 NORTH MAIN STREET
         3RD FLOOR                                             ACCOUNT NO.:
         ADRIAN, MI 49221                                      NOT AVAILABLE



3.3108   COUNTY OF LENAWEE, MICHIGAN                              3/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         301 NORTH MAIN STREET                                 NOT AVAILABLE
         ADRIAN, MI 49221



3.3109   COUNTY OF LEON                                          11/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         130 E. ST. MARY                                       ACCOUNT NO.:
         P. O. BOX 429                                         NOT AVAILABLE
         CENTERVILLE, TX 75833




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  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3110   COUNTY OF LEON                                          11/14/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         130 EAST ST. MARY                                     ACCOUNT NO.:
         P. O. BOX 429                                         NOT AVAILABLE
         CENTERVILLE, TX 75833



3.3111   COUNTY OF LEXINGTON                                      6/27/2018                   Opioid Matter              UNDETERMINED
         JOHN S. SIMMONS
         1711 PICKENS STREET                                   ACCOUNT NO.:
         COLUMBIA, SC 29201                                    NOT AVAILABLE



3.3112   COUNTY OF LEXINGTON                                      6/27/2018                   Opioid Matter              UNDETERMINED
         JOHN B. WHITE JR.
         P.O. BOX 3547                                         ACCOUNT NO.:
         SPARTANBURG, SC 29304                                 NOT AVAILABLE



3.3113   COUNTY OF LEXINGTON                                      6/27/2018                   Opioid Matter              UNDETERMINED
         TERRY A. FINGER
         FINGER MELNICK AND BROOKS PA                          ACCOUNT NO.:
         P.O. BOX 24005                                        NOT AVAILABLE
         HILTON HEAD ISLAND, SC 10165



3.3114   COUNTY OF LEXINGTON                                      6/27/2018                   Opioid Matter              UNDETERMINED
         MARC J. BERN
         ONE GRAND CENTRAL PLACE                               ACCOUNT NO.:
         60 EAST 42ND STREET SUITE 950                         NOT AVAILABLE
         NEW YORK, NY 10165



3.3115   COUNTY OF LEXINGTON, SC                                  6/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF COUNTY COUNCIL AND CLERK TO
         COUNCIL                                               ACCOUNT NO.:
         212 SOUTH LAKE DRIVE                                  NOT AVAILABLE
         SUITE 601
         LEXINGTON, SC 29072



3.3116   COUNTY OF LIBERTY, TX                                    4/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         1923 SAM HOUSTON                                      ACCOUNT NO.:
         ROOM 201                                              NOT AVAILABLE
         LIBERTY, TX 77575



3.3117   COUNTY OF LIMESTONE, TX                                  5/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         200 W STATE STREET                                    ACCOUNT NO.:
         SUITE 101                                             NOT AVAILABLE
         GROESBECK, TX 76642



3.3118   COUNTY OF LINCOLN                                       11/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER; COUNTY CLERK;
         COUNTY TREASURER                                      ACCOUNT NO.:
         32 HIGH STREET                                        NOT AVAILABLE
         P.O. BOX 249
         WISCASSET, ME 04578




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3119   COUNTY OF LINCOLN, AR                                    3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COUNTY CLERK
         LINCOLN COUNTY COURTHOUSE                             ACCOUNT NO.:
         300 SOUTH DREW STREET                                 NOT AVAILABLE
         STAR CITY, AR 71667



3.3120   COUNTY OF LITTLE RIVER, AR                               3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         351 NORTH SECOND STREET                               ACCOUNT NO.:
         SUITE 4                                               NOT AVAILABLE
         ASHDOWN, AR 71822



3.3121   COUNTY OF LITTLE RIVER, AR                               3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         351 NORTH SECOND STREET                               ACCOUNT NO.:
         ASHDOWN, AR 71822                                     NOT AVAILABLE



3.3122   COUNTY OF LOGAN, AR                                      3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         25 WEST WALNUT                                        ACCOUNT NO.:
         ROOM 25                                               NOT AVAILABLE
         PARIS, AR 72855



3.3123   COUNTY OF LOGAN, AR                                      3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         25 WEST WALNUT                                        ACCOUNT NO.:
         ROOM 22                                               NOT AVAILABLE
         PARIS, AR 72855



3.3124   COUNTY OF LONOKE, AR                                     3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         301 NORTH CENTER                                      ACCOUNT NO.:
         SUITE 201                                             NOT AVAILABLE
         LONOKE, AR 72086



3.3125   COUNTY OF LONOKE, AR                                     3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         301 NORTH CENTER                                      ACCOUNT NO.:
         LONOKE, AR 72086                                      NOT AVAILABLE



3.3126   COUNTY OF LORAIN                                        12/13/2017                   Opioid Matter              UNDETERMINED
         ATTN: COMMISSIONER
         226 MIDDLE AVE.                                       ACCOUNT NO.:
         ELYRIA, OH 44035                                      NOT AVAILABLE



3.3127   COUNTY OF LUCE, MICHIGAN                                 3/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         401 WEST AVENUE A                                     NOT AVAILABLE
         NEWBERRY, MI 49868




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Creditor's Name, Mailing Address Including Zip                   Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                              And Account Number                         Claim

Litigation

3.3128   COUNTY OF LUCE, MICHIGAN                                             3/12/2018                   Opioid Matter              UNDETERMINED
         407 WEST HARRIE STREET
         NEWBERRY, MI 49868                                                 ACCOUNT NO.:
                                                                            NOT AVAILABLE


3.3129   COUNTY OF LYCOMING, PENNSYLVANIA                                     6/19/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, COMMISSIONERS
         48 WEST THIRD STREET                                               ACCOUNT NO.:
         WILLIAMSPORT, PA 17701                                             NOT AVAILABLE



3.3130   COUNTY OF MACOMB                                                     12/19/2017                  Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE BOARD OF
         COMMISSIONERS                                                      ACCOUNT NO.:
         ADMINISTRATION BUILDING                                            NOT AVAILABLE
         15 MAIN STREET - 9TH FLOOR
         MOUNT CLEMENS, MI 48043



3.3131   COUNTY OF MACOMB                                                     12/19/2017                  Opioid Matter              UNDETERMINED
         120 NORTH MAIN
         MOUNT CLEMENS, MI 48043                                            ACCOUNT NO.:
                                                                            NOT AVAILABLE


3.3132   County of Madera, a political subdivision of the State of             5/9/2018                   Opioid Matter              UNDETERMINED
         California; the People of the State of California, acting by and
         through the County of Madera                                       ACCOUNT NO.:
         Attn: County Clerk and Chairman of the Board of Supervisors        NOT AVAILABLE
         Main Government Center
         200 West 4th Street
         Madera, CA 93637



3.3133   COUNTY OF MADISON, AR                                                3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COUNTY CLERK
         P.O BOX 37                                                         ACCOUNT NO.:
         HUNTSVILLE, AR 72740                                               NOT AVAILABLE



3.3134   COUNTY OF MANISTEE, MICHIGAN                                          1/8/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON, BOARD OF COMMISSIONERS AND
         THE COUNTY CLERK                                                   ACCOUNT NO.:
         415 THIRD STREET                                                   NOT AVAILABLE
         MANISTEE, MI 49660



3.3135   COUNTY OF MARICOPA                                                   12/21/2018                  Opioid Matter              UNDETERMINED
         ATTN: THE CLERK OF THE BOARD OF SUPERVISORS
         301 WEST JEFFERSON                                                 ACCOUNT NO.:
         10TH FLOOR                                                         NOT AVAILABLE
         PHOENIX, AZ 85003



3.3136   COUNTY OF MARIN                                                       5/9/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF SUPERVISORS
         3501 CIVIC CENTER DRIVE                                            ACCOUNT NO.:
         ROOM 329                                                           NOT AVAILABLE
         SAN RAFAEL, CA 94903




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3137   COUNTY OF MARIN                                          5/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         3501 CIVIC CENTER DRIVE                               ACCOUNT NO.:
         SUITE 208                                             NOT AVAILABLE
         SAN RAFAEL, CA 94903



3.3138   COUNTY OF MARION                                         5/2/2019                    Opioid Matter              UNDETERMINED
         ATTN: CLERK OF COURT
         100 WEST COURT STREET                                 ACCOUNT NO.:
         PO BOX 295                                            NOT AVAILABLE
         MARION, SC 29571



3.3139   COUNTY OF MARION                                         5/2/2019                    Opioid Matter              UNDETERMINED
         JAMES E. BROGDON, III
         WHETSTONE PERKINS & FULDA, LLC                        ACCOUNT NO.:
         P.O. BOX 8086                                         NOT AVAILABLE
         COLUMBIA, SC 29202



3.3140   COUNTY OF MARION                                         5/2/2019                    Opioid Matter              UNDETERMINED
         CHARLES W. WHETSTONE, JR.
         WHETSTONE PERKINS & FULDA, LLC                        ACCOUNT NO.:
         P.O. BOX 8086                                         NOT AVAILABLE
         COLUMBIA, SC 29202



3.3141   COUNTY OF MARION                                         5/2/2019                    Opioid Matter              UNDETERMINED
         CHERYL F. PERKINS
         WHETSTONE PERKINS & FULDA, LLC                        ACCOUNT NO.:
         P.O. BOX 8086                                         NOT AVAILABLE
         COLUMBIA, SC 29202



3.3142   COUNTY OF MARION                                         5/2/2019                    Opioid Matter              UNDETERMINED
         MARC J. BERN
         MARC J. BERN & PARTNERS LLP                           ACCOUNT NO.:
         ONE GRAND CENTRAL PLACE - 60 EAST 42ND STREET,        NOT AVAILABLE
         SUITE 950
         NEW YORK, NY 10165



3.3143   COUNTY OF MARION                                         5/2/2019                    Opioid Matter              UNDETERMINED
         MARGHRETTA H. SHISKO
         HARRISON WHITE, P.C.                                  ACCOUNT NO.:
         P.O. BOX 3547                                         NOT AVAILABLE
         SPARTANBURG, SC 29304



3.3144   COUNTY OF MARION                                         5/2/2019                    Opioid Matter              UNDETERMINED
         JOHN B. WHITE, JR.
         HARRISON WHITE, P.C.                                  ACCOUNT NO.:
         P.O. BOX 3547                                         NOT AVAILABLE
         SPARTANBURG, SC 29304



3.3145   COUNTY OF MARION, SC                                     5/2/2019                    Opioid Matter              UNDETERMINED
         ATTN: CLERK OF COURT
         100 WEST COURT STREET                                 ACCOUNT NO.:
         P.O. BOX 295                                          NOT AVAILABLE
         MARION, SC 29571



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3146   COUNTY OF MARION, SC                                     5/2/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY ADMINISTRATOR
         2523 EAST HIGHWAY 76                                  ACCOUNT NO.:
         P.O. BOX 183                                          NOT AVAILABLE
         MARION, SC 29571



3.3147   COUNTY OF MARION, TX                                     5/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         MARION COUNTY JUDGE                                   ACCOUNT NO.:
         119 W. LAFAYETTE - SUITE 1                            NOT AVAILABLE
         JEFFERSON, TX 75657



3.3148   COUNTY OF MARIPOSA, A POLITICAL SUBDIVISION OF           5/7/2018                    Opioid Matter              UNDETERMINED
         THE STATE OF CALIFORNIA; THE PEOPLE OF THE STATE
         OF CALIFORNIA, ACTING BY AND THROUGH THE COUNTY       ACCOUNT NO.:
         OF MARIPOSA                                           NOT AVAILABLE
         ATTN: CHAIRMAN OF THE BOARD OF SUPERVISORS
         5100 BULLION STREET
         MARIPOSA, CA 95338



3.3149   COUNTY OF MARIPOSA, CA                                   5/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         4982 10TH STREET                                      ACCOUNT NO.:
         P.O. BOX 247                                          NOT AVAILABLE
         MARIPOSA, CA 95338



3.3150   COUNTY OF MARQUETTE, MICHIGAN                            1/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON, BOARD OF COMMISSIONERS AND
         THE COUNTY CLERK                                      ACCOUNT NO.:
         234 WEST BARAGA AVENUE                                NOT AVAILABLE
         MARQUETTE, MI 49855



3.3151   COUNTY OF MASON, MICHIGAN                                1/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK AND CHAIRPERSON, BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         304 EAST LUDINGTON AVENUE                             NOT AVAILABLE
         LUDINGTON, MI 49431



3.3152   COUNTY OF MCCORMICK                                      5/2/2019                    Opioid Matter              UNDETERMINED
         MARGHRETTA H. SHISKO
         HARRISON WHITE, P.C.                                  ACCOUNT NO.:
         P.O. BOX 3547                                         NOT AVAILABLE
         SPARTANBURG, SC 29304



3.3153   COUNTY OF MCCORMICK                                      5/2/2019                    Opioid Matter              UNDETERMINED
         MARC J. BERN
         MARC J. BERN & PARTNERS LLP                           ACCOUNT NO.:
         ONE GRAND CENTRAL PLACE - 60 EAST 42ND STREET,        NOT AVAILABLE
         SUITE 950
         NEW YORK, NY 10165




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3154   COUNTY OF MCCORMICK                                      5/2/2019                    Opioid Matter              UNDETERMINED
         JOHN B. WHITE, JR.
         HARRISON WHITE, P.C.                                  ACCOUNT NO.:
         P.O. BOX 3547                                         NOT AVAILABLE
         SPARTANBURG, SC 29304



3.3155   COUNTY OF MCCORMICK; CLERK OF COURT                      5/2/2019                    Opioid Matter              UNDETERMINED
         ATTN: ADMINISTRATOR
         610 SOUTH MINE STREET                                 ACCOUNT NO.:
         MCCORMICK, SC 29835                                   NOT AVAILABLE



3.3156   COUNTY OF MCCRACKEN COUNTY, KENTUCKY                     5/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COUNTY ATTORNEY
         MCCRACKEN COUNTY COURTHOUSE                           ACCOUNT NO.:
         300 CLARENCE GAINS STREET                             NOT AVAILABLE
         PADUCAH, KY 42003



3.3157   COUNTY OF MCLENNAN                                      10/31/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         501 WASHINGTON AVE                                    ACCOUNT NO.:
         ROOM 214                                              NOT AVAILABLE
         WACO, TX 76701



3.3158   COUNTY OF MCMULLEN, TX                                   5/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         P.O. BOX 237                                          ACCOUNT NO.:
         501 RIVER STREET                                      NOT AVAILABLE
         TILDEN, TX 78072



3.3159   COUNTY OF MENDOCINO, A POLITICAL SUBDIVISION OF          5/8/2018                    Opioid Matter              UNDETERMINED
         THE STATE OF CALIFORNIA; THE PEOPLE OF THE STATE
         OF CALIFORNIA, ACTING BY AND THROUGH THE COUNTY       ACCOUNT NO.:
         OF MENDOCINO                                          NOT AVAILABLE
         ATTN: CHAIR OF THE BOARD OF SUPERVISORS
         MAIN UKIAH CAMPUS
         501 LOW GAP ROAD
         UKIAH, CA 95482



3.3160   COUNTY OF MENDOCINO, A POLITICAL SUBDIVISION OF          5/8/2018                    Opioid Matter              UNDETERMINED
         THE STATE OF CALIFORNIA; THE PEOPLE OF THE STATE
         OF CALIFORNIA, ACTING BY AND THROUGH THE COUNTY       ACCOUNT NO.:
         OF MENDOCINO                                          NOT AVAILABLE
         ATTN: COUNTY CLERK
         501 LOW GAP ROAD
         ROOM 1020
         UKIAH, CA 95482



3.3161   COUNTY OF MERCED, A POLITICAL SUBDIVISION OF THE         5/8/2018                    Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA; THE PEOPLE OF THE STATE OF
         CALIFORNIA, ACTING BY AND THROUGH THE COUNTY OF       ACCOUNT NO.:
         MERCED                                                NOT AVAILABLE
         ATTN: COUNTY EXECUTIVE OFFICER AND COUNTY
         CLERK
         2222 M STREET
         MERCED, CA 95340




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3162   COUNTY OF MERRIMACK                                      9/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE COUNTY BOARD OF
         COMMISSIONERS, TREASURER                              ACCOUNT NO.:
         333 DANIEL WEBSTER HIGHWAY                            NOT AVAILABLE
         SUITE #2
         BOSCAWEN, NH 03303



3.3163   COUNTY OF MILAM, TX                                      4/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         MILAM COUNTY COURTHOUSE                               ACCOUNT NO.:
         FIRST FLOOR - 102 S FANNIN AVENUE                     NOT AVAILABLE
         CAMERON, TX 76520



3.3164   COUNTY OF MILLER, AR                                     3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         MILLER COUNTY COURTHOUSE                              ACCOUNT NO.:
         400 LAUREL STREET - SUITE 105                         NOT AVAILABLE
         TEXARKANA, AR 71854



3.3165   COUNTY OF MILLER, AR                                     3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         MILLER COUNTY COURTHOUSE                              ACCOUNT NO.:
         400 LAUREL STREET - SUITE 115                         NOT AVAILABLE
         TEXARKANA, AR 71854



3.3166   COUNTY OF MISSISSPPI, AR                                 3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         BLYTHEVILLE COURTHOUSE                                ACCOUNT NO.:
         200 WEST WALNUT STREET                                NOT AVAILABLE
         BLYTHEVILLE, AR 72315



3.3167   COUNTY OF MISSISSPPI, AR                                 3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         OSCEOLA COURTHOUSE                                    ACCOUNT NO.:
         200 WEST HALE - ROOM 205                              NOT AVAILABLE
         OSCEOLA, AR 72370



3.3168   COUNTY OF MISSISSPPI, AR                                 3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         BLYTHEVILLE COURTHOUSE                                ACCOUNT NO.:
         200 WEST WALNUT STREET - ROOM 103                     NOT AVAILABLE
         BLYTHEVILLE, AR 72315



3.3169   COUNTY OF MITCHELL, TEXAS                               12/27/2017                   Opioid Matter              UNDETERMINED
         ATTN: MITCHELL COUNTY JUDGE
         COURTHOUSE                                            ACCOUNT NO.:
         349 OAK STREET                                        NOT AVAILABLE
         COLORADO CITY, TX 79512




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Creditor's Name, Mailing Address Including Zip                   Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                              And Account Number                         Claim

Litigation

3.3170   COUNTY OF MODOC, A POLITICAL SUBDIVISION OF THE                       5/8/2018                   Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA; THE PEOPLE OF THE STATE OF
         CALIFORNIA, ACTING BY AND THROUGH THE COUNTY OF                    ACCOUNT NO.:
         MODOC                                                              NOT AVAILABLE
         ATTN: CHAIR OF THE BOARD OF SUPERVISORS
         204 SOUTH COURT STREET
         SUITE 100
         ALTURAS, CA 96101



3.3171   COUNTY OF MODOC, CA                                                   5/8/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         108 EAST MODOC STREET                                              ACCOUNT NO.:
         ALTURAS, CA 96101                                                  NOT AVAILABLE



3.3172   COUNTY OF MOHAVE                                                     2/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: THE CLERK OF THE BOARD OF SUPERVISORS
         700 WEST BEALE STREET                                              ACCOUNT NO.:
         KINGMAN, AZ 86401                                                  NOT AVAILABLE



3.3173   COUNTY OF MONO, A POLITICAL SUBDIVISION OF THE                        5/9/2018                   Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA; THE PEOPLE OF THE STATE OF
         CALIFORNIA, ACTING BY AND THROUGH THE COUNTY OF                    ACCOUNT NO.:
         MONO                                                               NOT AVAILABLE
         ATTN: CHAIR OF THE BOARD OF SUPERVISORS
         C/O CLERK OF THE BOARD
         P.O. BOX 715
         BRIDGEPORT, CA 93517



3.3174   County of Mono, a political subdivision of the State of               5/9/2018                   Opioid Matter              UNDETERMINED
         California; the People of the State of California, acting by and
         through the County of Mono                                         ACCOUNT NO.:
         Attn: Clerk - Recorder                                             NOT AVAILABLE
         Bridgeport Office Location - Annex I
         74 School Street - P.O. Box 237
         Bridgeport, CA 93517



3.3175   COUNTY OF MONROE                                                      6/4/2018                   Opioid Matter              UNDETERMINED
         CARMEN A. DE GISI
         MARC J. BERN & PARTNERS LLP                                        ACCOUNT NO.:
         101 WEST ELM STREET - SUITE 215                                    NOT AVAILABLE
         CONSHOHOCKEN, PA 19428



3.3176   COUNTY OF MONROE                                                      6/4/2018                   Opioid Matter              UNDETERMINED
         JOSEPH J. CAPPELLI
         MARC J. BERN & PARTNERS LLP                                        ACCOUNT NO.:
         101 WEST ELM STREET                                                NOT AVAILABLE
         CONSHOHOCKEN, PA 19428



3.3177   COUNTY OF MONROE, AR                                                 3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         MONROE COUNTY COURTHOUSE                                           ACCOUNT NO.:
         123 MADISON STREET                                                 NOT AVAILABLE
         CLARENDON, AR 72029




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3178   COUNTY OF MONROE, AR                                     3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         717 NORTH 11TH STREET                                 ACCOUNT NO.:
         CLARENDON, AR 72029                                   NOT AVAILABLE



3.3179   COUNTY OF MONROE, MI                                     1/22/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         106 EAST FIRST STREET                                 ACCOUNT NO.:
         MONROE, MI 48161                                      NOT AVAILABLE



3.3180   COUNTY OF MONROE, MI                                     1/22/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, BOARD OF COMMISSIONERS
         125 EAST 2ND STREET                                   ACCOUNT NO.:
         MONROE, MI 48161                                      NOT AVAILABLE



3.3181   COUNTY OF MONROE, NY                                     1/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: SENIOR DELINQUENT TAX COLLECTOR
         MONROE COUNTY TREASURY                                ACCOUNT NO.:
         COUNTY OFFICE BUILDING - ROOM B2 - 39 WEST MAIN       NOT AVAILABLE
         STREET
         ROCHESTER, NY 14614



3.3182   COUNTY OF MONROE, NY                                     1/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         307 COUNTY OFFICE BUILDING                            ACCOUNT NO.:
         39 WEST MAIN STREET                                   NOT AVAILABLE
         ROCHESTER, NY 14614



3.3183   COUNTY OF MONROE, PA                                     6/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON AND CLERK OF THE BOARD OF
         COUNTY COMMISSIONERS                                  ACCOUNT NO.:
         ONE QUAKER PLAZA                                      NOT AVAILABLE
         ROOM 201
         STROUDSBURG, PA 18360



3.3184   COUNTY OF MONROE, PA                                     6/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: JOSH SHAPIRO
         STATE OF PENNSYLVANIA ATTORNEY GENERAL                ACCOUNT NO.:
         PENNSYLVANIA OFFICE OF ATTORNEY GENERAL - 16TH        NOT AVAILABLE
         FLOOR, STRAWBERRY SQUARE
         HARRISBURG, PA 17120



3.3185   COUNTY OF MONROE, PA                                     6/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         ONE QUAKER PLAZA                                      NOT AVAILABLE
         ROOM 201
         STROUDSBURG, PA 18360



3.3186   COUNTY OF MONTCALM, MICHIGAN                             3/16/2019                   Opioid Matter              UNDETERMINED
         ATTN: BOARD OF COMMISSIONERS, COUNTY CLERK
         MONTCALM COUNTY OFFICES                               ACCOUNT NO.:
         211 W. MAIN STREET                                    NOT AVAILABLE
         STANTON, MI 48888



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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip                   Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                              And Account Number                         Claim

Litigation

3.3187   County of Monterey, a political subdivision of the State of           5/8/2018                   Opioid Matter              UNDETERMINED
         California; the People of the State of California, acting by and
         through the County of Monterey                                     ACCOUNT NO.:
         Attn: Chair of the Board of Supervisors and County Clerk           NOT AVAILABLE
         Monterey County Clerk of the Board
         Government Center - 168 West Alisal Street, 1st Floor
         Salinas, CA 93901



3.3188   COUNTY OF MONTGOMERY                                                  9/4/2018                   Opioid Matter              UNDETERMINED
         PAUL J. HANLY, JR.
         SIMMONS HANLY CONROY, LLC                                          ACCOUNT NO.:
         112 MADISON AVENUE - 7TH FLOOR                                     NOT AVAILABLE
         NEW YORK, NY 10016



3.3189   COUNTY OF MONTGOMERY                                                 12/13/2017                  Opioid Matter              UNDETERMINED
         ATTN: MONTGOMERY COUNTY JUDGE
         SADLER COMMISSIONERS' COURT BUILDING                               ACCOUNT NO.:
         501 NORTH THOMPSON - SUITE 401 - FOURTH FLOOR OF                   NOT AVAILABLE
         THE ALAN B.
         CONROE, TX 77301



3.3190   COUNTY OF MONTGOMERY, AR                                             3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COUNTY CLERK
         MONTGOMERY COUNTY COURTHOUSE                                       ACCOUNT NO.:
         1 GEORGE STREET                                                    NOT AVAILABLE
         MOUNT IDA, AR 71957



3.3191   COUNTY OF MONTMORENCY, MICHIGAN                                      3/13/2018                   Opioid Matter              UNDETERMINED
         P.O. BOX 540
         LEWISTON, MI 49756                                                 ACCOUNT NO.:
                                                                            NOT AVAILABLE


3.3192   COUNTY OF MONTMORENCY, MICHIGAN                                      3/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE BOARD OF
         COMMISSIONERS AND THE COUNTY CLERK                                 ACCOUNT NO.:
         PO BOX 789                                                         NOT AVAILABLE
         ATLANTA, MI 49709



3.3193   COUNTY OF MONTMORENCY, MICHIGAN                                      3/13/2018                   Opioid Matter              UNDETERMINED
         12265 M-32 WEST
         PO BOX 789                                                         ACCOUNT NO.:
         ATLANTA, MI 49709                                                  NOT AVAILABLE



3.3194   COUNTY OF MORA                                                       8/28/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         PO BOX 360                                                         ACCOUNT NO.:
         MORA, NM 87732                                                     NOT AVAILABLE



3.3195   COUNTY OF MORRIS                                                     11/3/2017                   Opioid Matter              UNDETERMINED
         ATTN: MORRIS COUNTY JUDGE
         500 BROADNAX                                                       ACCOUNT NO.:
         SUITE B                                                            NOT AVAILABLE
         DAINGERFIELD, TX 75638




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  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3196   COUNTY OF MULTNOMAH                                      8/3/2017                    Opioid Matter              UNDETERMINED
         ATTN: CHAIR OR COMMISSIONERS OF THE BOARD
         501 SE HAWTHORNE BLVD.                                ACCOUNT NO.:
         SUITE 600                                             NOT AVAILABLE
         PORTLAND, OR 97214



3.3197   COUNTY OF NACOGDOCHES, TX                                5/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         101 W MAIN STREET                                     ACCOUNT NO.:
         SUITE 170                                             NOT AVAILABLE
         NACOGDOCHES, TX 75961



3.3198   COUNTY OF NAPA, CALIFORNIA                               6/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         1127 1ST STREET                                       ACCOUNT NO.:
         SUITE A                                               NOT AVAILABLE
         NAPA, CA 94559



3.3199   COUNTY OF NAPA, CALIFORNIA                               6/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE BOARD OF SUPERVISORS
         1195 THIRD STREET                                     ACCOUNT NO.:
         SUITE 310                                             NOT AVAILABLE
         NAPA, CA 94559



3.3200   COUNTY OF NASSAU                                         6/12/2017                   Opioid Matter              UNDETERMINED
         SALVATORE CHARLES BADALA
         NAPOLI SHKOLNIK, PLLC                                 ACCOUNT NO.:
         400 BROAD HOLLOW ROAD - SUITE 305                     NOT AVAILABLE
         MELVILLE, NY 11747



3.3201   COUNTY OF NASSAU                                         6/12/2017                   Opioid Matter              UNDETERMINED
         NAPOLI, MARIE
         NAPOLI LAW, PLLC                                      ACCOUNT NO.:
         400 BROAD HOLLOW ROAD                                 NOT AVAILABLE
         MELVILLE, NY 11747



3.3202   COUNTY OF NASSAU                                         6/12/2017                   Opioid Matter              UNDETERMINED
         JOSEPH LEONARD CIACCIO
         NAPOLI SHKOLNIK, PLLC                                 ACCOUNT NO.:
         400 BROAD HOLLOW ROAD - SUITE 305                     NOT AVAILABLE
         MELVILLE, NY 11747



3.3203   COUNTY OF NASSAU                                         6/12/2017                   Opioid Matter              UNDETERMINED
         PAUL J NAPOLI
         NAPOLI SHKOLNIK, PLLC                                 ACCOUNT NO.:
         400 BROAD HOLLOW ROAD - SUITE 305                     NOT AVAILABLE
         MELVILLE, NY 11747



3.3204   COUNTY OF NASSAU, NY                                     6/12/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE
         1550 FRANKLIN AVENUE                                  ACCOUNT NO.:
         MINEOLA, NY 11501                                     NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip                   Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                              And Account Number                         Claim

Litigation

3.3205   COUNTY OF NASSAU, NY                                                 6/12/2017                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND CHAIRPERSON OF THE COUNTY
         BOARD                                                              ACCOUNT NO.:
         240 OLD COUNTRY ROAD                                               NOT AVAILABLE
         MINEOLA, NY 11501



3.3206   COUNTY OF NAVAJO                                                     3/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         100 EAST CODE TALKERS DRIVE                                        ACCOUNT NO.:
         SOUTH HIGHWAY 77 - PO BOX 688                                      NOT AVAILABLE
         HOLBROOK, AZ 86025



3.3207   COUNTY OF NEVADA, A POLITICAL SUBDIVISION OF THE                      5/9/2018                   Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA; THE PEOPLE OF THE STATE OF
         CALIFORNIA, ACTING BY AND THROUGH THE COUNTY OF                    ACCOUNT NO.:
         NEVADA                                                             NOT AVAILABLE
         ATTN: COUNTY CLERK-RECORDER
         950 MAIDU AVENUE
         SUITE 210
         NEVADA CITY, CA 95959



3.3208   County of Nevada, a political subdivision of the State of             5/9/2018                   Opioid Matter              UNDETERMINED
         California; the People of the State of California, acting by and
         through the County of Nevada                                       ACCOUNT NO.:
         Attn: Chair of the Board of Supervisors                            NOT AVAILABLE
         Eric Rood Administrative Center
         950 Maidu Avenue - Board of Supervisors' Chambers
         Nevada City, CA 95959



3.3209   COUNTY OF NEVADA, ARKANSAS                                           UNKNOWN                     Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         NEVADA COUNTY COURTHOUSE                                           ACCOUNT NO.:
         215 EAST 2ND STREET SOUTH                                          NOT AVAILABLE
         PRESCOTT, AR 71857



3.3210   COUNTY OF NEVADA, ARKANSAS                                           UNKNOWN                     Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         NEVADA COUNTY COURTHOUSE                                           ACCOUNT NO.:
         215 EAST 2ND STREET SOUTH                                          NOT AVAILABLE
         PRESCOTT, AR 71857



3.3211   COUNTY OF NEVADA, ARKANSAS                                           UNKNOWN                     Opioid Matter              UNDETERMINED
         ATTN: CIRCUIT CLERK
         NEVADA COUNTY COURTHOUSE                                           ACCOUNT NO.:
         215 EAST 2ND STREET SOUTH                                          NOT AVAILABLE
         PRESCOTT, AR 71857



3.3212   COUNTY OF NEWAYGO, MICHIGAN                                          10/25/2018                  Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK ; BOARD COMMISSIONERS
         DISTRICTS 1-7                                                      ACCOUNT NO.:
         1087 NEWELL ST                                                     NOT AVAILABLE
         WHITE CLOUD, MI 49349




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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                         Claim

Litigation

3.3213   COUNTY OF NEWTON                                         12/7/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         110 COURT STREET, ROOM 125                            ACCOUNT NO.:
         NEWTON, TX 75966                                      NOT AVAILABLE



3.3214   COUNTY OF NEWTON, AR                                     3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         P.O. BOX 410                                          ACCOUNT NO.:
         JASPER, AR 72641                                      NOT AVAILABLE



3.3215   COUNTY OF NEWTON, AR                                     3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         P.O. BOX 435                                          ACCOUNT NO.:
         JASPER, AR 72641                                      NOT AVAILABLE



3.3216   COUNTY OF NIAGARA, NY                                   10/20/2017                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND CHAIRPERSON OF THE COUNTY
         BOARD                                                 ACCOUNT NO.:
         P.O. BOX 461                                          NOT AVAILABLE
         175 HAWLEY STREET, 1ST FLOOR
         LOCKPORT, NY 14095



3.3217   COUNTY OF NOLAN, TEXAS                                  12/27/2017                   Opioid Matter              UNDETERMINED
         ATTN: NOLAN COUNTY JUDGE
         100 EAST THIRD                                        ACCOUNT NO.:
         SUITE 105                                             NOT AVAILABLE
         SWEETWATER, TX 79556



3.3218   COUNTY OF NORTHUMBERLAND, PENNSYLVANIA                   6/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: COMMISSIONERS
         ADMINISTRATION CENTER                                 ACCOUNT NO.:
         399 STADIUM DRIVE                                     NOT AVAILABLE
         SUNBURY, PA 17801



3.3219   COUNTY OF NUECES, TX                                     7/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         NUECES COUNTY COURTHOUSE                              ACCOUNT NO.:
         901 LEOPARD STREET - FLOOR: 3RD ROOM: 303             NOT AVAILABLE
         CORPUS CHRISTI, TX 78401



3.3220   COUNTY OF OAKLAND                                       10/12/2017                   Opioid Matter              UNDETERMINED
         1200 NORTH TELEGRAPH ROAD
         BUILDING 12E                                          ACCOUNT NO.:
         PONTIAC, MI 48341                                     NOT AVAILABLE



3.3221   COUNTY OF OAKLAND                                       10/12/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         1200 NORTH TELEGRAPH ROAD                             NOT AVAILABLE
         PONTIAC, MI 48341




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3222   COUNTY OF OCEAN, NJ                                      6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         118 WASHINGTON STREET                                 ACCOUNT NO.:
         TOMS RIVER, NJ 08753                                  NOT AVAILABLE



3.3223   COUNTY OF OCEAN, NJ                                      6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK; CHAIR OF THE COUNTY
         FREEHOLDERS                                           ACCOUNT NO.:
         101 HOOPER AVENUE                                     NOT AVAILABLE
         ROOM 328 - P.O. BOX 2191
         TOMS RIVER, NJ 08753



3.3224   COUNTY OF OCEAN, NJ                                      6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         OCEAN COUNTY CLERK'S OFFICE                           ACCOUNT NO.:
         P.O. BOX 2191                                         NOT AVAILABLE
         TOMS RIVER, NJ 08754



3.3225   COUNTY OF OCEAN, NJ                                      6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: DIRECTOR OF THE COUNTY BOARD OF
         FREEHOLDERS                                           ACCOUNT NO.:
         OFFICE OF THE FREEHOLDERS                             NOT AVAILABLE
         101 HOOPER AVENUE
         TOMS RIVER, NJ 08753



3.3226   COUNTY OF OCEAN, NJ                                      6/13/2019                   Opioid Matter              UNDETERMINED
         MARC GROSSMAN & VICKI J. MANIATIS
         SANDERS PHILLIPS GROSSMAN, LLC                        ACCOUNT NO.:
         90 MAIN STREET - SUITE 204                            NOT AVAILABLE
         HACKENSACK, NJ 07601



3.3227   COUNTY OF OCEAN, NJ                                      6/13/2019                   Opioid Matter              UNDETERMINED
         MARC GROSSMAN & VICKI J. MANIATIS
         SANDERS PHILLIPS GROSSMAN, LLC                        ACCOUNT NO.:
         100 GARDEN CITY PLAZA - SUITE 500                     NOT AVAILABLE
         GARDEN CITY, NY 11501



3.3228   COUNTY OF OCEANA, MICHIGAN                               3/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         100 SOUTH STATE STREET                                NOT AVAILABLE
         SUITE M-4
         HART, MI 49420



3.3229   COUNTY OF OCEANA, MICHIGAN                               3/13/2018                   Opioid Matter              UNDETERMINED
         100 SOUTH STATE STREET
         SUITE M-1                                             ACCOUNT NO.:
         HART, MI 49420                                        NOT AVAILABLE



3.3230   COUNTY OF OCONEE                                         7/26/2018                   Opioid Matter              UNDETERMINED
         CARMEN A. DE GISI
         MARC J. BERN & PARTNERS LLP                           ACCOUNT NO.:
         60 EAST 42ND STREET - SUITE 950                       NOT AVAILABLE
         NEW YORK, NY 10165



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3231   COUNTY OF OCONEE                                         7/26/2018                   Opioid Matter              UNDETERMINED
         MARC J. BERN
         MARC J. BERN & PARTNERS LLP                           ACCOUNT NO.:
         60 EAST 42ND STREET - SUITE 950                       NOT AVAILABLE
         NEW YORK, NY 10165



3.3232   COUNTY OF OCONEE                                         7/26/2018                   Opioid Matter              UNDETERMINED
         JOHN B. WHITE, JR.
         HARRISON WHITE, P.C.                                  ACCOUNT NO.:
         178 WEST MAIN STREET                                  NOT AVAILABLE
         SPARTANBURG, SC 29306



3.3233   COUNTY OF OCONEE                                         7/26/2018                   Opioid Matter              UNDETERMINED
         MARGHRETTA H. SHISKO
         HARRISON WHITE, P.C.                                  ACCOUNT NO.:
         178 WEST MAIN STREET                                  NOT AVAILABLE
         SPARTANBURG, SC 29306



3.3234   COUNTY OF OCONEE                                         7/26/2018                   Opioid Matter              UNDETERMINED
         GARY E. CLARY, ESQ.
         GARY E. CLARY, ESQ.                                   ACCOUNT NO.:
         P.O. BOX 1645                                         NOT AVAILABLE
         CLEMSON, SC 29633



3.3235   COUNTY OF OCONEE                                         7/26/2018                   Opioid Matter              UNDETERMINED
         JOSEPH CAPPELLI
         MARC J. BERN & PARTNERS LLP                           ACCOUNT NO.:
         60 EAST 42ND STREET - SUITE 950                       NOT AVAILABLE
         NEW YORK, NY 10165



3.3236   COUNTY OF OCONEE                                         7/26/2018                   Opioid Matter              UNDETERMINED
         MATTHEW E. YELVERTON
         YELVERTON LAW FIRM LLC                                ACCOUNT NO.:
         60 FOLLY ROAD                                         NOT AVAILABLE
         CHARLESTON, SC 29407



3.3237   COUNTY OF OCONEE, SC                                     7/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNCIL CLERK
         415 S PINE ST                                         ACCOUNT NO.:
         WALHALLA, SC 29691                                    NOT AVAILABLE



3.3238   COUNTY OF OCONEE, SC                                     7/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK OF COURT
         205 W MAIN ST                                         ACCOUNT NO.:
         WALHALLA, SC 29691                                    NOT AVAILABLE



3.3239   COUNTY OF OCONEE, SC                                     7/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN PRO TEM
         266 FRIENDSHIP VALLEY RD.                             ACCOUNT NO.:
         SENECA, SC 29678                                      NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3240   COUNTY OF OGEMAW, MICHIGAN                               3/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         OGEMAW COUNTY BUILDING                                ACCOUNT NO.:
         806 WEST HOUGHTON AVENUE                              NOT AVAILABLE
         WEST BRANCH, MI 48661



3.3241   COUNTY OF OGEMAW, MICHIGAN                               3/13/2018                   Opioid Matter              UNDETERMINED
         806 WEST HOUGHTON AVENUE
         SUITE 101                                             ACCOUNT NO.:
         WEST BRANCH, MI 48661                                 NOT AVAILABLE



3.3242   COUNTY OF ONTONAGON, MICHIGAN                            7/30/2018                   Opioid Matter              UNDETERMINED
         ONTONAGON COUNTY COURTHOUSE
         725 GREENLAND ROAD                                    ACCOUNT NO.:
          - 1ST FLOOR                                          NOT AVAILABLE
         ONTONAGON, MI 49953



3.3243   COUNTY OF ONTONAGON, MICHIGAN                            7/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         5613 N. CEMETERY RD.                                  NOT AVAILABLE
         EWEN, MI 49925



3.3244   COUNTY OF ORANGE                                         5/11/2017                   Opioid Matter              UNDETERMINED
         ORANGE COUNTY LAW DEPARTMENT
         CHAPMAN, LANGDON COVERLY                              ACCOUNT NO.:
         15 MATTHEWS STREET - SUITE 305                        NOT AVAILABLE
         GOSHEN, NY 10924



3.3245   COUNTY OF ORANGE                                         5/11/2017                   Opioid Matter              UNDETERMINED
         HANLY, PAUL JAMES
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON A VENUE                                   NOT AVAILABLE
         NEW YORK, NY 10016



3.3246   COUNTY OF ORANGE, NY                                     5/11/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         255-275 MAIN STREET                                   ACCOUNT NO.:
         GOSHEN, NY 10924                                      NOT AVAILABLE



3.3247   COUNTY OF ORANGE, NY                                     5/11/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         225 MAIN ST.                                          ACCOUNT NO.:
         GOSHEN, NY 10924                                      NOT AVAILABLE



3.3248   COUNTY OF ORANGE, TX                                     5/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         123 SOUTH 6TH STREET                                  ACCOUNT NO.:
         ORANGE, TX 77630                                      NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3249   COUNTY OF ORANGEBURG                                     7/3/2018                    Opioid Matter              UNDETERMINED
         C. BRADLEY HUTTO
         WILLIAMS & WILLIAMS                                   ACCOUNT NO.:
         P.O. BOX 1084                                         NOT AVAILABLE
         ORANGEBURG, SC 29116



3.3250   COUNTY OF ORANGEBURG                                     7/3/2018                    Opioid Matter              UNDETERMINED
         JOSEPH CAPPELLI
         MARC J. BERN & PARTNERS LLP                           ACCOUNT NO.:
         60 EAST 42ND STREET - SUITE 950                       NOT AVAILABLE
         NEW YORK, NY 10165



3.3251   COUNTY OF ORANGEBURG                                     7/3/2018                    Opioid Matter              UNDETERMINED
         MARC J. BERN
         MARC J. BERN & PARTNERS LLP                           ACCOUNT NO.:
         60 EAST 42ND STREET - SUITE 950                       NOT AVAILABLE
         NEW YORK, NY 10165



3.3252   COUNTY OF ORANGEBURG, SC                                 7/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK OF COURT
         151 DOCKET STREET                                     ACCOUNT NO.:
         ORANGEBURG, SC 29115                                  NOT AVAILABLE



3.3253   COUNTY OF OSCEOLA, MICHIGAN                              3/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE BOARD OF
         COMMISSIONERS AND COUNTY CLERK                        ACCOUNT NO.:
         MAIN COURTHOUSE                                       NOT AVAILABLE
         301 WEST UPTON AVENUE
         REED CITY, MI 49677



3.3254   COUNTY OF OSTEGO, MICHIGAN                               3/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE BOARD OF COMMISSIONERS AND
         THE COUNTY CLERK                                      ACCOUNT NO.:
         225 WEST MAIN STREET                                  NOT AVAILABLE
         GAYLORD, MI 49735



3.3255   COUNTY OF OSWEGO, NY                                     1/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: CLERK AND CHAIRPERSON OF THE COUNTY
         BOARD                                                 ACCOUNT NO.:
         46 EAST BRIDGE STREET                                 NOT AVAILABLE
         OSWEGO, NY 13126



3.3256   COUNTY OF OTSEGO, MICHIGAN                               3/16/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR, BOARD OF COMMISSIONERS, COUNTY
         CLERK                                                 ACCOUNT NO.:
         225 W. MAIN                                           NOT AVAILABLE
         GAYLORD, MI 49735



3.3257   COUNTY OF OUACHITA, AR                                   3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         145 JEFFERSON STREET                                  ACCOUNT NO.:
         CAMDEN, AR 71701                                      NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip         Date Claim Was Incurred    C U      D    Basis For      Offset   Amount of Claim
Code                                                    And Account Number                        Claim

Litigation

3.3258   COUNTY OF OUACHITA, AR                                    3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         P.O. BOX 644                                           ACCOUNT NO.:
         CAMDEN, AR 71701                                       NOT AVAILABLE



3.3259   COUNTY OF PANOLA, TX                                      5/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         110 S. SYCAMORE                                        ACCOUNT NO.:
         ROOM 216-A                                             NOT AVAILABLE
         CARTHAGE, TX 75633



3.3260   COUNTY OF PARKER, TX                                      4/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         ONE COURTHOUSE SQUARE                                  ACCOUNT NO.:
         WEATHERFORD, TX 76086                                  NOT AVAILABLE



3.3261   COUNTY OF PERRY, AR                                       3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND CIRCUIT CLERK
         PERRY COUNTY COURTHOUSE                                ACCOUNT NO.:
         310 WEST MAIN STREET SUITE 101 - P.O. BOX 358          NOT AVAILABLE
         PERRYVILLE, AR 72126



3.3262   COUNTY OF PHILLIPS, AR                                    3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         PHILLIPS COUNTY COURTHOUSE                             ACCOUNT NO.:
         620 CHERRY STREET - SUITE 202                          NOT AVAILABLE
         HELENA, AR 72342



3.3263   COUNTY OF PHILLIPS, AR                                    3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         PHILLIPS COUNTY COURTHOUSE                             ACCOUNT NO.:
         620 CHERRY STREET, SUITE 208 - P.O. BOX 391            NOT AVAILABLE
         HELENA, AR 72342



3.3264   COUNTY OF PICKENS                                         6/13/2018                   Opioid Matter              UNDETERMINED
         MARC J. BERN
         MARC J. BERN & PARTNERS LLP                            ACCOUNT NO.:
         60 EAST 42ND STREET - SUITE 950                        NOT AVAILABLE
         NEW YORK, NY 10165



3.3265   COUNTY OF PICKENS                                         6/13/2018                   Opioid Matter              UNDETERMINED
         GARY E. CLARY, ESQ.
         GARY E. CLARY, ESQ.                                    ACCOUNT NO.:
         P.O. BOX 1645                                          NOT AVAILABLE
         CLEMSON, SC 29633



3.3266   COUNTY OF PICKENS                                         6/13/2018                   Opioid Matter              UNDETERMINED
         MARGHRETTA H. SHISKO
         HARRISON WHITE, P.C.                                   ACCOUNT NO.:
         P.O. BOX 3547                                          NOT AVAILABLE
         SPARTANBURG, SC 29304




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3267   COUNTY OF PICKENS                                        6/13/2018                   Opioid Matter              UNDETERMINED
         JOHN B. WHITE, JR.
         HARRISON WHITE, P.C.                                  ACCOUNT NO.:
         P.O. BOX 3547                                         NOT AVAILABLE
         SPARTANBURG, SC 29304



3.3268   COUNTY OF PICKENS, SC                                    6/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK TO COUNCIL
         PICKENS COUNTY ADMINISTRATION FACILITY                ACCOUNT NO.:
         222 MCDANIEL AVENUE                                   NOT AVAILABLE
         PICKENS, SC 29671



3.3269   COUNTY OF PICKENS, SC                                    6/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: ADMINISTRATOR
         PICKENS COUNTY ADMINISTRATION FACILITY                ACCOUNT NO.:
         222 MCDANIEL AVENUE, B-2                              NOT AVAILABLE
         PICKENS, SC 29671



3.3270   COUNTY OF PIKE, AR                                       3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COUNTY CLERK
         COURTHOUSE SQUARE                                     ACCOUNT NO.:
         MURFREESBORO, AR 71958                                NOT AVAILABLE



3.3271   COUNTY OF PLACER, A POLITICAL SUBDIVISION OF THE         5/8/2018                    Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA; THE PEOPLE OF THE STATE OF
         CALIFORNIA, ACTING BY AND THROUGH THE COUNTY OF       ACCOUNT NO.:
         PLACER                                                NOT AVAILABLE
         ATTN: CHAIR OF THE BOARD OF SUPERVISORS
         175 FULWEILER AVENUE
         AUBURN, CA 95603



3.3272   COUNTY OF PLACER, A POLITICAL SUBDIVISION OF THE         5/8/2018                    Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA; THE PEOPLE OF THE STATE OF
         CALIFORNIA, ACTING BY AND THROUGH THE COUNTY OF       ACCOUNT NO.:
         PLACER                                                NOT AVAILABLE
         ATTN: CLERK-RECORDER
         2954 RICHARDSON DRIVE
         AUBURN, CA 95603



3.3273   COUNTY OF PLUMAS, A POLITICAL SUBDIVISION OF THE         5/8/2018                    Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA; THE PEOPLE OF THE STATE OF
         CALIFORNIA, ACTING BY AND THROUGH THE COUNTY OF       ACCOUNT NO.:
         PLUMAS                                                NOT AVAILABLE
         ATTN: CHAIR OF THE BOARD OF SUPERVISORS
         520 MAIN STREET
         RM 309
         QUINCY, CA 95971



3.3274   COUNTY OF PLUMAS, A POLITICAL SUBDIVISION OF THE         5/8/2018                    Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA; THE PEOPLE OF THE STATE OF
         CALIFORNIA, ACTING BY AND THROUGH THE COUNTY OF       ACCOUNT NO.:
         PLUMAS                                                NOT AVAILABLE
         ATTN: COUNTY CLERK-RECORDER
         520 MAIN STREET
         ROOM 102
         QUINCY, CA 95971



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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3275   COUNTY OF POINSETT, AR                                   3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COUNTY CLERK
         401 MARKET STREET                                     ACCOUNT NO.:
         HARRISBURG, AR 72432                                  NOT AVAILABLE



3.3276   COUNTY OF POLK, AR                                       3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         507 CHURCH STREET                                     ACCOUNT NO.:
         MENA, AR 71953                                        NOT AVAILABLE



3.3277   COUNTY OF POLK, AR                                       3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         507 CHURCH STREET                                     ACCOUNT NO.:
         BOX 7                                                 NOT AVAILABLE
         MENA, AR 71953



3.3278   COUNTY OF POLK, TEXAS                                   12/27/2017                   Opioid Matter              UNDETERMINED
         ATTN: POLK COUNTY JUDGE
         101 WEST CHURCH STREET                                ACCOUNT NO.:
         SUITE 300                                             NOT AVAILABLE
         LIVINGSTON, TX 77351



3.3279   COUNTY OF POPE, AR                                       3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COUNTY CLERK
         100 WEST MAIN STREET                                  ACCOUNT NO.:
         RUSSELLVILLE, AR 72801                                NOT AVAILABLE



3.3280   COUNTY OF POTTER, TX                                     5/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         500 SOUTH FILLMORE                                    ACCOUNT NO.:
         SUITE 103                                             NOT AVAILABLE
         AMARILLO, TX 79101



3.3281   COUNTY OF PRAIRIE, AR                                    3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         200 COURTOUSE SQUARE                                  ACCOUNT NO.:
         SUITE 104                                             NOT AVAILABLE
         DES ARC, AR 72040



3.3282   COUNTY OF PRAIRIE, AR                                    3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         PRAIRIE COUNTY COURTHOUSE                             ACCOUNT NO.:
         208 COURT HOUSE SQUARE                                NOT AVAILABLE
         DES ARC, AR 72040



3.3283   COUNTY OF PRAIRIE, AR                                    3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         183 PRAIRIE STREET                                    ACCOUNT NO.:
         P.O. BOX 283                                          NOT AVAILABLE
         DES ARC, AR 72041




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3284   COUNTY OF PRESQUE ISLE, MICHIGAN                         7/30/2018                   Opioid Matter              UNDETERMINED
         PO BOX 110
         ROGERS CITY, MI 49779                                 ACCOUNT NO.:
                                                               NOT AVAILABLE


3.3285   COUNTY OF PRESQUE ISLE, MICHIGAN                         7/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, BOARD OF COMMISSIONERS
         3232 BIRCHWOOD DRIVE                                  ACCOUNT NO.:
         ROGERS CITY, MI 49779                                 NOT AVAILABLE



3.3286   COUNTY OF PULASKI, ARKANSAS                             UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         201 S. BROADWAY                                       ACCOUNT NO.:
         SUITE 400                                             NOT AVAILABLE
         LITTLE ROCK, AR 72201



3.3287   COUNTY OF PULASKI, ARKANSAS                             UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CIRCUIT/COUNTY CLERK
         401 WEST MARKHAM STREET                               ACCOUNT NO.:
         LITTLE ROCK, AR 72201                                 NOT AVAILABLE



3.3288   COUNTY OF RANDOLPH, AR                                   3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COUNTY CLERK
         107 WEST BROADWAY STREET                              ACCOUNT NO.:
         POCAHONTAS, AR 72455                                  NOT AVAILABLE



3.3289   COUNTY OF RED RIVER                                      11/2/2017                   Opioid Matter              UNDETERMINED
         ATTN: RED RIVER COUNTY JUDGE
         400 N WALNUT                                          ACCOUNT NO.:
         CLARKSVILLE, TX 75426                                 NOT AVAILABLE



3.3290   COUNTY OF RENO                                           5/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF COUNTY COMMISSIONERS; COUNTY
         CLERK; TREASURER                                      ACCOUNT NO.:
         125 WEST 1ST AVENUE                                   NOT AVAILABLE
         HUTCHINSON, KS 67501



3.3291   COUNTY OF RENSSELAER, NY                                 9/27/2017                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND CHAIRPERSON OF THE COUNTY
         BOARD AND ATTORNEY                                    ACCOUNT NO.:
         RENSSELEAR COUNTY OFFICE BUILDING, 4TH FLOOR          NOT AVAILABLE
         TROY, NY 12180



3.3292   COUNTY OF RENSSELAER, NY                                 9/27/2017                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND CHAIRPERSON OF THE COUNTY
         BOARD AND ATTORNEY                                    ACCOUNT NO.:
         1600 7TH AVE                                          NOT AVAILABLE
         TROY, NY 12180



3.3293   COUNTY OF RIVERSIDE                                      6/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF SUPERVISORS
         4080 LEMON STREET                                     ACCOUNT NO.:
         5TH FLOOR                                             NOT AVAILABLE
         RIVERSIDE, CA 92501


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Creditor's Name, Mailing Address Including Zip                   Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                              And Account Number                         Claim

Litigation

3.3294   COUNTY OF RIVERSIDE                                                  6/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         4080 LEMON STREET                                                  ACCOUNT NO.:
         RIVERSIDE, CA 92501                                                NOT AVAILABLE



3.3295   COUNTY OF ROBERTSON, TX                                              5/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: ROBERTSON COUNTY JUDGE
         102 E. DECHERD                                                     ACCOUNT NO.:
         P.O. BOX 427                                                       NOT AVAILABLE
         FRANKLIN, TX 77856



3.3296   COUNTY OF ROCKLAND, NEW YORK                                         6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         ROCKLAND COUNTY COURTHOUSE                                         ACCOUNT NO.:
         1 SOUTH MAIN STREET - SUITE 100                                    NOT AVAILABLE
         NEW CITY, NY 10956



3.3297   COUNTY OF ROSCOMMON, MICHIGAN                                         1/8/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         AND COUNTY CLERK                                                   ACCOUNT NO.:
         ROSCOMMON COUNTY BUILDING                                          NOT AVAILABLE
         500 LAKE STREET
         ROSCOMMON, MI 48653



3.3298   COUNTY OF RUSK                                                       11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: RUSK COUNTY JUDGE
         COUNTY JUDGE'S OFFICE                                              ACCOUNT NO.:
         115 NORTH MAIN STREET - SUITE 104                                  NOT AVAILABLE
         HENDERSON, TX 75652



3.3299   County of Sacramento, a political subdivision of the State of         5/8/2018                   Opioid Matter              UNDETERMINED
         California; the People of the State of California, acting by and
         through the County of Sacramento                                   ACCOUNT NO.:
         Attn: County Clerk Recorder                                        NOT AVAILABLE
         Sacramento County Clerk/Recorder
         P.O. Box 839
         Sacramento, CA 95812-0839



3.3300   COUNTY OF SACRAMENTO, A POLITICAL SUBDIVISION                         5/8/2018                   Opioid Matter              UNDETERMINED
         OF THE STATE OF CALIFORNIA; THE PEOPLE OF THE
         STATE OF CALIFORNIA, ACTING BY AND THROUGH THE                     ACCOUNT NO.:
         COUNTY OF SACRAMENTO                                               NOT AVAILABLE
         ATTN: CHAIR OF THE BOARD OF SUPERVISORS
         700 H STREET
         SUITE 2450
         SACRAMENTO, CA 95814



3.3301   COUNTY OF SAGINAW                                                    12/19/2017                  Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE BOARD OF COMMISSIONERS
         111 SOUTH MICHIGAN AVENUE                                          ACCOUNT NO.:
         SAGINAW, MI 48602                                                  NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip                  Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                             And Account Number                         Claim

Litigation

3.3302   COUNTY OF SAGINAW                                                     12/19/2017                Opioid Matter              UNDETERMINED
         111 SOUTH MICHIGAN AVENUE
         ROOM 101                                                            ACCOUNT NO.:
         SAGINAW, MI 48602                                                   NOT AVAILABLE



3.3303   COUNTY OF SALINE, AR                                                  3/15/2018                 Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         215 NORTH MAIN STREET                                               ACCOUNT NO.:
         SUITE 9                                                             NOT AVAILABLE
         BENTON, AR 72015



3.3304   COUNTY OF SALINE, AR                                                  3/15/2018                 Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         SALINE COUNTY COURTHOUSE                                            ACCOUNT NO.:
         200 NORTH MAIN STREET - SUITE 117                                   NOT AVAILABLE
         BENTON, AR 72015



3.3305   COUNTY OF SALUDA                                                      5/20/2019                 Opioid Matter              UNDETERMINED
         CHRISTIAN GIRESI SPRADLEY
         110 SOUTH MAIN STREET                                               ACCOUNT NO.:
         SALUDA, SC 29138                                                    NOT AVAILABLE



3.3306   COUNTY OF SALUDA                                                      5/20/2019                 Opioid Matter              UNDETERMINED
         TERRY A. FINGER
         P.O. BOX 24005                                                      ACCOUNT NO.:
         HILTON HEAD ISLAND, SC 29925                                        NOT AVAILABLE



3.3307   COUNTY OF SALUDA, SC                                                  5/20/2019                 Opioid Matter              UNDETERMINED
         ATTN: COUNTY DIRECTOR; DEPUTY COUNTY
         DIRECTOR/CLERK TO COUNCIL                                           ACCOUNT NO.:
         SALUDA COUNTY                                                       NOT AVAILABLE
         400 WEST HIGHLAND ST.
         SALUDA, SC 29138



3.3308   COUNTY OF SAN BERNARDINO, A POLITICAL                                 7/19/2018                 Opioid Matter              UNDETERMINED
         SUBDIVISION OF THE STATE OF CALIFORNIA, THE
         PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY AND                    ACCOUNT NO.:
         THROUGH THE COUNTY OF SAN BERNARDINO                                NOT AVAILABLE
         ATTN: ASSESSOR-RECORDER-CLERK
         222 WEST HOSPITALITY LANE
         SAN BERNARDINO, CA 92415



3.3309   County of San Bernardino, a political subdivision of the State of     7/19/2018                 Opioid Matter              UNDETERMINED
         California, The People of the State of California, acting by and
         through the County of San Bernardino                                ACCOUNT NO.:
         Attn: Chair of the Board of Supervisors                             NOT AVAILABLE
         385 North Arrowhead Avenue
         5th Floor
         San Bernardino, CA 92415




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Creditor's Name, Mailing Address Including Zip                   Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                              And Account Number                         Claim

Litigation

3.3310   County of San Diego, a political subdivision of the State of          5/7/2018                   Opioid Matter              UNDETERMINED
         California; the People of the State of California, acting by and
         through the County of San Diego                                    ACCOUNT NO.:
         Attn: Chair of the Board of Supervisors                            NOT AVAILABLE
         County Administration Center
         1600 Pacific Highway, Lower Level, Bayside Room
         San Diego, CA 92101



3.3311   County of San Diego, a political subdivision of the State of          5/7/2018                   Opioid Matter              UNDETERMINED
         California; the People of the State of California, acting by and
         through the County of San Diego                                    ACCOUNT NO.:
         Attn: County Clerk                                                 NOT AVAILABLE
         County Administration Center
         1600 Pacific Highway - Suite 103
         San Diego, CA 92101



3.3312   COUNTY OF SAN JOAQUIN, ET. AL.                                       5/25/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         44 NORTH SAN JOAQUIN STREET                                        ACCOUNT NO.:
         SIXTH FLOOR, SUITE 230                                             NOT AVAILABLE
         STOCKTON, CA 95202



3.3313   COUNTY OF SAN JOAQUIN, ET. AL.                                       5/25/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE BOARD OF SUPERVISORS
         44 NORTH SAN JOAQUIN STREET                                        ACCOUNT NO.:
         SIXTH FLOOR - SUITE 627                                            NOT AVAILABLE
         STOCKTON, CA 95202



3.3314   COUNTY OF SAN LUIS OBISPO, CALIFORNIA                                11/9/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE BOARD OF SUPERVISORS
         NEW GOVERNMENT CENTER                                              ACCOUNT NO.:
         1055 MONTEREY STREET, SUITE D430                                   NOT AVAILABLE
         SAN LUIS OBISPO, CA 93408



3.3315   COUNTY OF SAN LUIS OBISPO, CALIFORNIA                                11/9/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK-RECORDER
         1055 MONTEREY STREET                                               ACCOUNT NO.:
         SUITE D120                                                         NOT AVAILABLE
         SAN LUIS OBISPO, CA 93408



3.3316   COUNTY OF SAN MATEO                                                  2/21/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF SUPERVISORS
         400 COUNTY CENTER                                                  ACCOUNT NO.:
         REDWOOD CITY, CA 94063                                             NOT AVAILABLE



3.3317   COUNTY OF SAN MATEO                                                  2/21/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         555 COUNTY CENTER                                                  ACCOUNT NO.:
         1ST FLOOR                                                          NOT AVAILABLE
         REDWOOD CITY, CA 94063-1662



3.3318   COUNTY OF SAN PATRICIO, TX                                           6/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: SAN PATRICO COUNTY JUDGE
         400 WEST SINTON STREET, SUITE 109                                  ACCOUNT NO.:
         SINTON, TX 78387                                                   NOT AVAILABLE


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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3319   COUNTY OF SANILAC, MICHIGAN                              3/12/2018                   Opioid Matter              UNDETERMINED
         COURTHOUSE
         ROOM 203                                              ACCOUNT NO.:
         - 60 WEST SANILAC AVENUE                              NOT AVAILABLE
         SANDUSKY, MI 48471



3.3320   COUNTY OF SANILAC, MICHIGAN                              3/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         COURTHOUSE                                            NOT AVAILABLE
         60 WEST SANILAC AVENUE - ROOM 105
         SANDUSKY, MI 48471



3.3321   COUNTY OF SANTA BARBARA; THE PEOPLE OF THE               2/15/2019                   Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA
         ATTN: CHAIRMAN BOARD OF SUPERVISORS AND CLERK-        ACCOUNT NO.:
         RECORDER-ASSESSOR                                     NOT AVAILABLE
         105 EAST ANAPAMU STREET
         SANTA BARBARA, CA 93101



3.3322   COUNTY OF SANTA CRUZ, CALIFORNIA                         5/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         701 OCEAN STREET                                      ACCOUNT NO.:
         ROOM 310                                              NOT AVAILABLE
         SANTA CRUZ, CA 95060



3.3323   COUNTY OF SANTA CRUZ, CALIFORNIA                         5/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE BOARD OF SUPERVISORS
         701 OCEAN STREET                                      ACCOUNT NO.:
         ROOM 500                                              NOT AVAILABLE
         SANTA CRUZ, CA 95060



3.3324   COUNTY OF SARATOGA, NY                                   1/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK OF THE BOARD OF SUPERVISORS
         40 MCMASTER ST.                                       ACCOUNT NO.:
         BALLSTON, NY 12020                                    NOT AVAILABLE



3.3325   COUNTY OF SCHENECTADY                                    6/15/2017                   Opioid Matter              UNDETERMINED
         HANLY, PAUL JAMES
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON A VENUE                                   NOT AVAILABLE
         NEW YORK, NY 10016



3.3326   COUNTY OF SCHENECTADY, NY                                6/15/2017                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND ATTORNEY
         620 STATE STREET                                      ACCOUNT NO.:
         3RD FLOOR                                             NOT AVAILABLE
         SCHENECTADY, NY 12305



3.3327   COUNTY OF SCHOHARIE                                      9/27/2017                   Opioid Matter              UNDETERMINED
         NAPOLI, MARIE
         NAPOLI LAW, PLLC                                      ACCOUNT NO.:
         400 BROAD HOLLOW ROAD                                 NOT AVAILABLE
         MELVILLE, NY 11747



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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3328   COUNTY OF SCHOHARIE, NY                                  9/27/2017                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND CHAIRPERSON OF THE COUNTY
         BOARD                                                 ACCOUNT NO.:
         P.O. BOX 226                                          NOT AVAILABLE
         ESPERANCE, NY 12066



3.3329   COUNTY OF SCHOHARIE, NY                                  9/27/2017                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND CHAIRPERSON OF THE COUNTY
         BOARD                                                 ACCOUNT NO.:
         P.O. BOX 429                                          NOT AVAILABLE
         SCHOHARIE, NY 12157



3.3330   COUNTY OF SCHOHARIE, NY                                  9/27/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         COUNTY OFFICE BUILDING                                ACCOUNT NO.:
         1ST FLOOR - 284 MAIN STREET                           NOT AVAILABLE
         SCHOHARIE, NY 12157



3.3331   COUNTY OF SCOTT, AR                                      3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COUNTY CLERK
         SCOTT COUNTY COURTHOUSE                               ACCOUNT NO.:
         190 WEST 1ST STREET                                   NOT AVAILABLE
         WALDRON, AR 72958



3.3332   COUNTY OF SEARCY, AR                                     3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         P.O. BOX 1370                                         ACCOUNT NO.:
         MARSHALL, AR 72650                                    NOT AVAILABLE



3.3333   COUNTY OF SEARCY, AR                                     3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         P.O. BOX 998                                          ACCOUNT NO.:
         MARSHALL, AR 72650                                    NOT AVAILABLE



3.3334   COUNTY OF SEBASTIAN, AR                                  3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         FORT SMITH COURTHOUSE                                 ACCOUNT NO.:
         35 SOUTH 6TH STREET - ROOM 106                        NOT AVAILABLE
         FORT SMITH, AR 72901



3.3335   COUNTY OF SEBASTIAN, AR                                  3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         FORT SMITH COURTHOUSE                                 ACCOUNT NO.:
         35 SOUTH 6TH STREET - ROOM 102                        NOT AVAILABLE
         FORT SMITH, AR 72901



3.3336   COUNTY OF SEBASTIAN, AR                                  3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         GREENWOOD COURTHOUSE                                  ACCOUNT NO.:
         301 EAST CENTER - ROOM 104                            NOT AVAILABLE
         GREENWOOD, AR 72936




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Creditor's Name, Mailing Address Including Zip                   Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                              And Account Number                         Claim

Litigation

3.3337   COUNTY OF SEBASTIAN, AR                                              3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         GREENWOOD COURTHOUSE                                               ACCOUNT NO.:
         301 EAST CENTER - 1ST FLOOR                                        NOT AVAILABLE
         GREENWOOD, AR 72936



3.3338   COUNTY OF SENECA, NY                                                 10/10/2017                  Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY, COUNTY CLERK, COUNTY
         TREASURER                                                          ACCOUNT NO.:
         SENECA COUNTY OFFICE BUILDING                                      NOT AVAILABLE
         1 DIPRONIO DRIVE
         WATERLOO, NY 13165



3.3339   COUNTY OF SENECA, NY                                                 10/10/2017                  Opioid Matter              UNDETERMINED
         ATTN: CHAIR, COUNTY BOARD OF SUPERVISORS, AND
         COUNTY ATTORNEY                                                    ACCOUNT NO.:
         SENECA COUNTY OFFICE BUILDING                                      NOT AVAILABLE
         1 DIPRONIO DRIVE
         WATERLOO, NY 13165



3.3340   COUNTY OF SEVIER, AR                                                 3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         115 NORTH 3RD STREET                                               ACCOUNT NO.:
         ROOM 102                                                           NOT AVAILABLE
         DE QUEEN, AR 71832



3.3341   COUNTY OF SEVIER, AR                                                 3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         115 NORTH 3RD STREET                                               ACCOUNT NO.:
         DE QUEEN, AR 71832                                                 NOT AVAILABLE



3.3342   COUNTY OF SHARP, AR                                                  3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COUNTY CLERK
         SHARP COUNTY COURTHOUSE                                            ACCOUNT NO.:
         718 ASH FLAT DRIVE                                                 NOT AVAILABLE
         ASH FLAT, AR 72513



3.3343   County of Shasta, a political subdivision of the State of             5/8/2018                   Opioid Matter              UNDETERMINED
         California; the People of the State of California, acting by and
         through the County of Shasta                                       ACCOUNT NO.:
         Attn: Chairman Board of Supervisors and Clerk of the Board         NOT AVAILABLE
         1450 Court Street
         Suite 308B
         Redding, CA 96001-1673, CA 96001-1673



3.3344   COUNTY OF SHASTA, A POLITICAL SUBDIVISION OF THE                      5/8/2018                   Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA; THE PEOPLE OF THE STATE OF
         CALIFORNIA, ACTING BY AND THROUGH THE COUNTY OF                    ACCOUNT NO.:
         SHASTA                                                             NOT AVAILABLE
         ATTN: COUNTY CLERK
         1643 MARKET STREET
         REDDING, CA 96001




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3345   COUNTY OF SHASTA, A POLITICAL SUBDIVISION OF THE         5/8/2018                    Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA; THE PEOPLE OF THE STATE OF
         CALIFORNIA, ACTING BY AND THROUGH THE COUNTY OF       ACCOUNT NO.:
         SHASTA                                                NOT AVAILABLE
         ATTN: SHASTA COUNTY CLERK
         PO BOX 990880
         REDDING, CA, CA 96099-0880



3.3346   COUNTY OF SHELBY, TX                                     5/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: SHELBY COUNTY JUDGE
         200 SAN AUGUSTINE                                     ACCOUNT NO.:
         BOX 6                                                 NOT AVAILABLE
         CENTER, TX 75935



3.3347   COUNTY OF SHIAWASSEE, MICHIGAN                           3/12/2018                   Opioid Matter              UNDETERMINED
         CIRCUIT COURTHOUSE
         208 NORTH SHIAWASSEE STREET                           ACCOUNT NO.:
          - 2ND FLOOR                                          NOT AVAILABLE
         CORUNNA, MI 48817



3.3348   COUNTY OF SHIAWASSEE, MICHIGAN                           3/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         SURBECK BUILDING                                      ACCOUNT NO.:
         201 NORTH SHIAWASSEE STREET - 1ST FLOOR               NOT AVAILABLE
         CORUNNA, MI 48817



3.3349   COUNTY OF SISKIYOU, A POLITICAL SUBDIVISION OF           5/9/2018                    Opioid Matter              UNDETERMINED
         THE STATE OF CALIFORNIA; THE PEOPLE OF THE STATE
         OF CALIFORNIA, ACTING BY AND THROUGH THE COUNTY       ACCOUNT NO.:
         OF SISKIYOU                                           NOT AVAILABLE
         ATTN: COUNTY CLERK
         510 NORTH MAIN STREET
         YREKA, CA 96097



3.3350   COUNTY OF SISKIYOU, A POLITICAL SUBDIVISION OF           5/9/2018                    Opioid Matter              UNDETERMINED
         THE STATE OF CALIFORNIA; THE PEOPLE OF THE STATE
         OF CALIFORNIA, ACTING BY AND THROUGH THE COUNTY       ACCOUNT NO.:
         OF SISKIYOU                                           NOT AVAILABLE
         ATTN: CHAIR OF THE COUNTY BOARD OF SUPERVISORS
         PO BOX 750
         1312 FAIRLANE ROAD
         YREKA, CA 96097



3.3351   COUNTY OF SMITH                                         12/19/2017                   Opioid Matter              UNDETERMINED
         ATTN: SMITH COUNTY JUDGE
         SMITH COUNTY ANNEX BUILDING                           ACCOUNT NO.:
         200 E. FERGUSON - SUITE 100                           NOT AVAILABLE
         TYLER, TX 75702



3.3352   COUNTY OF SONOMA, CALIFORNIA                             6/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         585 FISCAL DRIVE                                      ACCOUNT NO.:
         ROOM 103                                              NOT AVAILABLE
         SANTA ROSA, CA 95403




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3353   COUNTY OF SONOMA, CALIFORNIA                             6/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF SUPERVISORS
         575 ADMINISTRATION DRIVE                              ACCOUNT NO.:
         ROOM 100 A                                            NOT AVAILABLE
         SANTA ROSA, CA 95403



3.3354   COUNTY OF ST. CLAIR, MICHIGAN                            7/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR, BOARD OF COMMISSIONERS
         3453 ST. CLAIR SHORES BLVD                            ACCOUNT NO.:
         EAST CHINA, MI 48054                                  NOT AVAILABLE



3.3355   COUNTY OF ST. CLAIR, MICHIGAN                            7/30/2018                   Opioid Matter              UNDETERMINED
         201 MCMORRAN BLVD
         ROOM 1100                                             ACCOUNT NO.:
         PORT HURON, MI 48060                                  NOT AVAILABLE



3.3356   COUNTY OF ST. FRANCIS, AR                                3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         313 SOUTH IZARD                                       ACCOUNT NO.:
         SUITE 1                                               NOT AVAILABLE
         FORREST CITY, AR 72335



3.3357   COUNTY OF ST. FRANCIS, AR                                3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         313 SOUTH IZARD                                       ACCOUNT NO.:
         ROOM 2 - P.O. BOX 1653                                NOT AVAILABLE
         FORREST CITY, AR 72336



3.3358   COUNTY OF ST. LAWRENCE                                   1/12/2018                   Opioid Matter              UNDETERMINED
         PAUL JAMES HANLY
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE - 7TH FLOOR                        NOT AVAILABLE
         NEW YORK, NY 10016-7416



3.3359   COUNTY OF ST. LAWRENCE, NY                               1/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         COUNTY COURTHOUSE                                     ACCOUNT NO.:
         48 COURT STREET                                       NOT AVAILABLE
         CANTON, NY 13617-1169



3.3360   COUNTY OF STONE, AR                                      3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         107 WEST MAIN STREET                                  ACCOUNT NO.:
         SUITE D                                               NOT AVAILABLE
         MOUNTAINVIEW, AR 72560



3.3361   COUNTY OF STONE, AR                                      3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         107 WEST MAIN STREET                                  ACCOUNT NO.:
         SUITE C                                               NOT AVAILABLE
         MOUNTAINVIEW, AR 72560




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3362   COUNTY OF SUFFOLK                                        8/31/2016                   Opioid Matter              UNDETERMINED
         SHERIDAN THOMAS I.
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON A VENUE                                   NOT AVAILABLE
         NEW YORK, NY 10016-7416



3.3363   COUNTY OF SUFFOLK                                        8/31/2016                   Opioid Matter              UNDETERMINED
         BIERSTEIN, ANDREA B
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON A VENUE                                   NOT AVAILABLE
         NEW YORK, NY 10016-7416



3.3364   COUNTY OF SUFFOLK                                        8/31/2016                   Opioid Matter              UNDETERMINED
         HANLY, PAUL JAMES
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON A VENUE                                   NOT AVAILABLE
         NEW YORK, NY 10016



3.3365   COUNTY OF SUFFOLK                                        8/31/2016                   Opioid Matter              UNDETERMINED
         BURNS, SARAH
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002



3.3366   COUNTY OF SUFFOLK, NY                                    8/31/2016                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE AND COUNTY ATTORNEY
         H. LEE DENNISON BLDG                                  ACCOUNT NO.:
         100 VETERANS MEMORIAL HIGHWAY                         NOT AVAILABLE
         HAUPPAUGE, NY 11788



3.3367   COUNTY OF SUFFOLK, NY                                    8/31/2016                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         310 CENTER DRIVE                                      ACCOUNT NO.:
         RIVERHEAD, NY 11901-3392                              NOT AVAILABLE



3.3368   COUNTY OF SULLIVAN, NY                                   6/7/2017                    Opioid Matter              UNDETERMINED
         ATTN: COUNTRY MANAGER AND COUNTY ATTORNEY
         COUNTY GOVERNMENT CENTER                              ACCOUNT NO.:
         100 NORTH STREET                                      NOT AVAILABLE
         MONTICELLO, NY 12701



3.3369   COUNTY OF SUMMIT, OHIO, ET AL.                          12/20/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE
         OHIO BUILDING, 8TH FLOOR                              ACCOUNT NO.:
         175 SOUTH MAIN STREET                                 NOT AVAILABLE
         AKRON, OH 44308



3.3370   COUNTY OF SUMMIT, OHIO, ET AL.                          12/20/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         OFFICE OF THE MAYOR                                   ACCOUNT NO.:
         166 SOUTH HIGH ST., SUITE 200 MUNICIPAL BUILDING      NOT AVAILABLE
         AKRON, OH 44308




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3371   COUNTY OF SUMMIT, OHIO, ET AL.                          12/20/2017                   Opioid Matter              UNDETERMINED
         ATTN: PROSECUTOR
         53 UNIVERSITY AVENUE                                  ACCOUNT NO.:
         AKRON, OH 44308-1680                                  NOT AVAILABLE



3.3372   COUNTY OF SUMMIT, OHIO; CITY OF AKRON, ET AL. V.        12/20/2017                   Opioid Matter              UNDETERMINED
         PURDUE PHARMA L.P., ET AL.
         ATTN: MAYOR                                           ACCOUNT NO.:
         OFFICE OF THE MAYOR, CITY OF AKRON                    NOT AVAILABLE
         166 SOUTH HIGH ST., SUITE 200 MUNICIPAL BUILDING
         AKRON, OH 44308



3.3373   COUNTY OF SUMMIT, OHIO; CITY OF AKRON, ET AL. V.        12/20/2017                   Opioid Matter              UNDETERMINED
         PURDUE PHARMA L.P., ET AL.
         ATTN: PROSECUTOR                                      ACCOUNT NO.:
         53 UNIVERSITY AVENUE                                  NOT AVAILABLE
         AKRON, OH 44308-1680



3.3374   COUNTY OF SUMMIT, OHIO; CITY OF AKRON, ET AL. V.        12/20/2017                   Opioid Matter              UNDETERMINED
         PURDUE PHARMA L.P., ET AL.
         ATTN: PROSECUTOR COUNTY OF SUMMIT                     ACCOUNT NO.:
         175 S. MAIN STREET                                    NOT AVAILABLE
         AKRON, OH 44308



3.3375   COUNTY OF SUMTER                                         5/2/2019                    Opioid Matter              UNDETERMINED
         WEEKS LAW OFFICE, LLC
         J. DAVID WEEKS                                        ACCOUNT NO.:
         P.O. BOX 370                                          NOT AVAILABLE
         SUMTER, SC 29151



3.3376   COUNTY OF SUMTER                                         5/2/2019                    Opioid Matter              UNDETERMINED
         JOHN B. WHITE, JR.
         HARRISON WHITE, P.C.                                  ACCOUNT NO.:
         P.O. BOX 3547                                         NOT AVAILABLE
         SPARTANBURG, SC 29304



3.3377   COUNTY OF SUMTER                                         5/2/2019                    Opioid Matter              UNDETERMINED
         MARGHRETTA H. SHISKO
         HARRISON WHITE, P.C.                                  ACCOUNT NO.:
         P.O. BOX 3547                                         NOT AVAILABLE
         SPARTANBURG, SC 29304



3.3378   COUNTY OF SUMTER                                         5/2/2019                    Opioid Matter              UNDETERMINED
         MARC J. BERN
         MARC J. BERN & PARTNERS LLP                           ACCOUNT NO.:
         ONE GRAND CENTRAL PLACE - 60 EAST 42ND STREET,        NOT AVAILABLE
         SUITE 950
         NEW YORK, NY 10165



3.3379   COUNTY OF SUMTER                                         5/2/2019                    Opioid Matter              UNDETERMINED
         G. MURRELL SMITH, JR.
         SMITH, ROBINSON, HOLLER, DUBOSE & MORGAN, LLC         ACCOUNT NO.:
         P.O. BOX 580                                          NOT AVAILABLE
         SUMTER, SC 29151



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3380   COUNTY OF SUMTER                                         5/2/2019                    Opioid Matter              UNDETERMINED
         J. THOMAS MCELVEEN, III
         BRYAN LAW FIRM OF SC, LLP                             ACCOUNT NO.:
         17 EAST CALHOUN STREET                                NOT AVAILABLE
         SUMTER, SC 29151



3.3381   COUNTY OF SUMTER, SC                                     5/2/2019                    Opioid Matter              UNDETERMINED
         ATTN: CLERK TO COUNCIL
         13 E CANAL ST                                         ACCOUNT NO.:
         SUMTER, SC 29150                                      NOT AVAILABLE



3.3382   COUNTY OF SUMTER, SC                                     5/2/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN
         317 WEST BARTLETTE STREET                             ACCOUNT NO.:
         SUMTER, SC 29150                                      NOT AVAILABLE



3.3383   COUNTY OF SUTTER, A POLITICAL SUBDIVISION OF THE         5/8/2018                    Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA; THE PEOPLE OF THE STATE OF
         CALIFORNIA, ACTING BY AND THROUGH THE COUNTY OF       ACCOUNT NO.:
         SUTTER                                                NOT AVAILABLE
         ATTN: CHAIRMAN OF THE BOARD OF SUPERVISORS
         1160 CIVIC CENTER BOULEVARD
         YUBA CITY, CA 95993



3.3384   COUNTY OF SUTTER, A POLITICAL SUBDIVISION OF THE         5/8/2018                    Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA; THE PEOPLE OF THE STATE OF
         CALIFORNIA, ACTING BY AND THROUGH THE COUNTY OF       ACCOUNT NO.:
         SUTTER                                                NOT AVAILABLE
         ATTN: COUNTY CLERK RECORDER
         433 SECOND STREET
         YUBA CITY, CA 95991



3.3385   COUNTY OF TARRANT                                        3/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         TARRANT COUNTY COMMISSIONERS COURT                    ACCOUNT NO.:
         100 EAST WEATHERFORD STREET, SUITE 502A               NOT AVAILABLE
         FORT WORTH, TX 76102



3.3386   COUNTY OF TEHAMA, A POLITICAL SUBDIVISION OF THE         5/14/2018                   Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA; THE PEOPLE OF THE STATE OF
         CALIFORNIA, ACTING BY AND THROUGH THE COUNTY OF       ACCOUNT NO.:
         TEHAMA                                                NOT AVAILABLE
         ATTN: COUNTY CLERK
         585 FISCAL DRIVE
         ROOM 103
         SANTA ROSA, CA 95403



3.3387   COUNTY OF TEHAMA, A POLITICAL SUBDIVISION OF THE         5/14/2018                   Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA; THE PEOPLE OF THE STATE OF
         CALIFORNIA, ACTING BY AND THROUGH THE COUNTY OF       ACCOUNT NO.:
         TEHAMA                                                NOT AVAILABLE
         ATTN: CHAIRMAN OF THE BOARD OF SUPERVISORS
         727 OAK ST
         BOARD CHAMBERS
         RED BLUFF, CA 96080




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3388   COUNTY OF THROCKMORTON                                   1/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         105 NORTH MINTER                                      ACCOUNT NO.:
         PO BOX 700                                            NOT AVAILABLE
         THROCKMORTON, TX 76483



3.3389   COUNTY OF TIOGA                                          7/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: JAYNE CONROY
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE - 7TH FLOOR                        NOT AVAILABLE
         NEW YORK, NY 10016



3.3390   COUNTY OF TIOGA                                          7/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: PAUL J. HANLEY
         SIMMONS HANLEY CONROY LLC                             ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.3391   COUNTY OF TIOGA                                          7/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: ROBERT J. MONGELUZZI
         SALTZ MONGELUZZI BARRETT & BENDESKY                   ACCOUNT NO.:
         20 WEST THIRD STREET - PO BOX 1670                    NOT AVAILABLE
         MEDIA, PA 19063



3.3392   COUNTY OF TIOGA                                          7/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: MICHAEL F. BARRETT
         SALTZ MONGELUZZI BARRETT & BENDESKY                   ACCOUNT NO.:
         20 WEST THIRD STREET - PO BOX 1670                    NOT AVAILABLE
         MEDIA, PA 19063



3.3393   COUNTY OF TIOGA                                          7/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: HARRIS L. POGUST
         POGUST BRASLOW & MILLROOD, LLC                        ACCOUNT NO.:
         161 WASHINGTON STREET - SUITE 940                     NOT AVAILABLE
         CONSHOHOCKEN, PA 19428



3.3394   COUNTY OF TIOGA                                          7/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: CARMEN P. BELEFONTE
         SALTZ MONGELUZZI BARRETT & BENDESKY                   ACCOUNT NO.:
         20 WEST THIRD STREET - PO BOX 1670                    NOT AVAILABLE
         MEDIA, PA 19063



3.3395   COUNTY OF TIOGA                                          7/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOBIAS L. MILLROOD
         POGUST BRASLOW & MILLROOD, LLC                        ACCOUNT NO.:
         161 WASHINGTON STREET - SUITE 940                     NOT AVAILABLE
         CONSHOHOCKEN, PA 19428



3.3396   COUNTY OF TIOGA                                          7/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: COMMISSIONERS, CHIEF CLERK
         118 MAIN STREET                                       ACCOUNT NO.:
         WELLSBORO, PA 16901                                   NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3397   COUNTY OF TIOGA                                          7/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: BOARD OF COMMISIONERS AND CLERK
         TIOGA COUNTY COURTHOUSE                               ACCOUNT NO.:
         118 MAIN STREET                                       NOT AVAILABLE
         WELLSBORO, PA 16901



3.3398   COUNTY OF TIOGA                                          7/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: AMY E. GARRETT
         SIMMONS HANLEY CONROY LLC                             ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002



3.3399   COUNTY OF TIOGA                                          7/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: TRENT B. MIRACLE
         SIMMONS HANLEY CONROY LLC                             ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002



3.3400   COUNTY OF TIOGA                                          7/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: SARAH BURNS
         SIMMONS HANLEY CONROY LLC                             ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002



3.3401   COUNTY OF TIOGA                                          7/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: DANIEL SCHWARZ
         SCHWARZ MONGELUZZI, LLC                               ACCOUNT NO.:
         ONE LIBERTY PLACE - 1650 MARKET STREET, 51ST          NOT AVAILABLE
         FLOOR
         PHILADELPHIA, PA 19103



3.3402   COUNTY OF TIOGA, PA                                      7/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: JOSH SHAPIRO
         STATE OF PENNSYLVANIA ATTORNEY GENERAL                ACCOUNT NO.:
         PENNSYLVANIA OFFICE OF ATTORNEY GENERAL - 16TH        NOT AVAILABLE
         FLOOR, STRAWBERRY SQUARE
         HARRISBURG, PA 17120



3.3403   COUNTY OF TIOGA, PA                                      7/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY BOARD OF COMMISSIONERS
         118 MAIN STREET                                       ACCOUNT NO.:
         WELLSBORO, PA 16901                                   NOT AVAILABLE



3.3404   COUNTY OF TITUS                                          11/8/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         100 WEST FIRST STREET                                 ACCOUNT NO.:
         SUITE 200                                             NOT AVAILABLE
         MT. PLEASANT, TX 75455



3.3405   COUNTY OF TOMPKINS, NY                                   1/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE BOARD LEGISLATURE, COUNTY
         ATTORNEY                                              ACCOUNT NO.:
         GOVERNOR DANIEL D. TOMPKINS BUILDING                  NOT AVAILABLE
         121 EAST COURT STREET
         ITHACA, NY 14850


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Creditor's Name, Mailing Address Including Zip                   Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                              And Account Number                         Claim

Litigation

3.3406   COUNTY OF TOMPKINS, NY                                                1/5/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         320 NORTH TIOGA STREET                                             ACCOUNT NO.:
         ITHACA, NY 14850                                                   NOT AVAILABLE



3.3407   COUNTY OF TOMPKINS, NY                                                1/5/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY ADMINISTRATOR AND COUNTY
         ATTORNEY                                                           ACCOUNT NO.:
         GOVERNOR DANIEL D. TOMPKINS BUILDING                               NOT AVAILABLE
         121 E. COURT STREET - OLD JAIL BLDG. 3RD FLOOR
         ITHACA, NY 14850



3.3408   COUNTY OF TRAVIS, TX                                                  2/5/2018                   Opioid Matter              UNDETERMINED
         ATTN: TRAVIS COUNTY JUDGE
         700 LAVACA, SUITE 2300                                             ACCOUNT NO.:
         AUSTIN, TX 78767                                                   NOT AVAILABLE



3.3409   County of Trinity, a political subdivision of the State of            5/8/2018                   Opioid Matter              UNDETERMINED
         California; the People of the State of California, acting by and
         through the County of Trinity                                      ACCOUNT NO.:
         Attn: Chairman of the Board of Supervisors                         NOT AVAILABLE
         11 Court Street
         Room 230 - P.O. Box 1613
         Weaverville, CA 96093



3.3410   COUNTY OF TRINITY, A POLITICAL SUBDIVISION OF THE                     5/8/2018                   Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA; THE PEOPLE OF THE STATE OF
         CALIFORNIA, ACTING BY AND THROUGH THE COUNTY OF                    ACCOUNT NO.:
         TRINITY                                                            NOT AVAILABLE
         ATTN: COUNTY CLERK
         11 COURT STREET
         P.O. BOX 1215
         WEAVERVILLE, CA 96093



3.3411   COUNTY OF TRINITY, TX                                                5/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY OF TRINITY JUDGE
         P.O. BOX 457                                                       ACCOUNT NO.:
         GROVETON, TX 75845                                                 NOT AVAILABLE



3.3412   COUNTY OF TRINITY, TX                                                5/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY OF TRINITY JUDGE
         162 WEST 1ST STREET                                                ACCOUNT NO.:
         GROVETON, TX 75845                                                 NOT AVAILABLE



3.3413   COUNTY OF TRUMBULL                                                   12/13/2017                  Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER
         TRUMBULL COUNTY ADMINISTRATION BUILDING                            ACCOUNT NO.:
         160 HIGH STREET NW                                                 NOT AVAILABLE
         GIRARD, OH 44420




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Creditor's Name, Mailing Address Including Zip                   Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                              And Account Number                         Claim

Litigation

3.3414   COUNTY OF TULARE, CALIFORNIA                                         3/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE BOARD OF
         COMMISSIONERS                                                      ACCOUNT NO.:
         COUNTY OF TULARE ADMINISTRATIVE OFFICES                            NOT AVAILABLE
         2800 WEST BURREL AVENUE
         VISALIA, CA 93291



3.3415   COUNTY OF TULARE, CALIFORNIA                                         3/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         COUNTY CIVIC CENTER                                                ACCOUNT NO.:
         221 SOUTH MOONEY BOULEVARD                                         NOT AVAILABLE
         VISALIA, CA 93291



3.3416   County of Tuolumne, a political subdivision of the State of           5/8/2018                   Opioid Matter              UNDETERMINED
         California; the People of the State of California, acting by and
         through the County of Tuolumne                                     ACCOUNT NO.:
         Attn: Chairman of the Board of Supervisors                         NOT AVAILABLE
         Tuolumne County Administration Center
         2 South Green Street
         Sonora, CA 95370



3.3417   COUNTY OF TUOLUMNE, A POLITICAL SUBDIVISION OF                        5/8/2018                   Opioid Matter              UNDETERMINED
         THE STATE OF CALIFORNIA; THE PEOPLE OF THESTATE
         OF CALIFORNIA, ACTING BY AND THROUGH THE COUNTY                    ACCOUNT NO.:
         OF TUOLUMNE                                                        NOT AVAILABLE
         ATTN: COUNTY CLERK
         2 SOUTH GREEN STREET
         SECOND FLOOR
         SONORA, CA 95370



3.3418   COUNTY OF TUSCOLA, MICHIGAN                                          3/16/2019                   Opioid Matter              UNDETERMINED
         440 NORTH STATE STREET
         CARO, MI 48723                                                     ACCOUNT NO.:
                                                                            NOT AVAILABLE


3.3419   COUNTY OF TUSCOLA, MICHIGAN                                          3/16/2019                   Opioid Matter              UNDETERMINED
         ATTN: BOARD OF COMMISSIONERS
         125 WEST LINCOLN STREET                                            ACCOUNT NO.:
         SUITE 500                                                          NOT AVAILABLE
         CARO, MI 48723



3.3420   COUNTY OF ULSTER                                                     3/15/2018                   Opioid Matter              UNDETERMINED
         JAYNE CONROY
         SIMMONS HANLY CONROY LLC                                           ACCOUNT NO.:
         112 MADISON AVENUE                                                 NOT AVAILABLE
         NEW YORK, NY 10016



3.3421   COUNTY OF ULSTER                                                     3/15/2018                   Opioid Matter              UNDETERMINED
         THOMAS I. SHERIDAN, III
         SIMMONS HANLY CONROY LLC                                           ACCOUNT NO.:
         112 MADISON AVENUE                                                 NOT AVAILABLE
         NEW YORK, NY 10016




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3422   COUNTY OF ULSTER                                         3/15/2018                   Opioid Matter              UNDETERMINED
         PAUL J. HANLY, JR.
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.3423   COUNTY OF ULSTER                                         3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: ANDREA BIERSTEIN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.3424   COUNTY OF ULSTER                                         3/15/2018                   Opioid Matter              UNDETERMINED
         SARAH S. BURNS
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002



3.3425   COUNTY OF UNION                                          8/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: UNION COUNTY SUPERVISOR AND CLERK
         UNION COUNTY COURT HOUSE                              ACCOUNT NO.:
         210 WEST MAIN STREET                                  NOT AVAILABLE
         UNION, SC 29379



3.3426   COUNTY OF UNION                                          8/2/2018                    Opioid Matter              UNDETERMINED
         MARC J. BERN
         MARC J. BERN & PARTNERS LLP                           ACCOUNT NO.:
         60 EAST 42ND STREET - SUITE 950                       NOT AVAILABLE
         NEW YORK, NY 10165



3.3427   COUNTY OF UNION                                          8/2/2018                    Opioid Matter              UNDETERMINED
         JOHN B. WHITE, JR.
         HARRISON WHITE, P.C.                                  ACCOUNT NO.:
         178 WEST MAIN STREET                                  NOT AVAILABLE
         SPARTANBURG, SC 29306



3.3428   COUNTY OF UNION                                          8/2/2018                    Opioid Matter              UNDETERMINED
         CARMEN A. DE GISI
         MARC J. BERN & PARTNERS LLP                           ACCOUNT NO.:
         60 EAST 42ND STREET - SUITE 950                       NOT AVAILABLE
         NEW YORK, NY 10165



3.3429   COUNTY OF UNION                                          8/2/2018                    Opioid Matter              UNDETERMINED
         JOSEPH CAPPELLI
         MARC J. BERN & PARTNERS LLP                           ACCOUNT NO.:
         60 EAST 42ND STREET - SUITE 950                       NOT AVAILABLE
         NEW YORK, NY 10165



3.3430   COUNTY OF UNION                                          8/2/2018                    Opioid Matter              UNDETERMINED
         MATTHEW E. YELVERTON
         YELVERTON LAW FIRM LLC                                ACCOUNT NO.:
         60 FOLLY ROAD                                         NOT AVAILABLE
         CHARLESTON, SC 29407




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3431   COUNTY OF UNION                                          8/2/2018                    Opioid Matter              UNDETERMINED
         MARGHRETTA H. SHISKO
         HARRISON WHITE, P.C.                                  ACCOUNT NO.:
         178 WEST MAIN STREET                                  NOT AVAILABLE
         SPARTANBURG, SC 29306



3.3432   COUNTY OF UNION, AR                                      3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         101 NORTH WASHINGTON                                  ACCOUNT NO.:
         ROOM 101                                              NOT AVAILABLE
         EL DORADO, AR 71730



3.3433   COUNTY OF UNION, AR                                      3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         101 NORTH WASHINGTON                                  ACCOUNT NO.:
         ROOM 102                                              NOT AVAILABLE
         EL DORADO, AR 71730



3.3434   COUNTY OF UNION, SC                                      8/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: UNION COUNTY SUPERVISOR AND CLERK
         UNION COUNTY COURT HOUSE                              ACCOUNT NO.:
         210 WEST MAIN STREET                                  NOT AVAILABLE
         UNION, SC 29379



3.3435   COUNTY OF UPSHUR                                         9/29/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         UPSHUR COUNTY COURT HOUSE                             ACCOUNT NO.:
         3RD FLOOR - PO BOX 730                                NOT AVAILABLE
         GILMER, TX 75644



3.3436   COUNTY OF VAN BUREN, AR                                  3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         1414 HIGHWAY 65 SOUTH                                 ACCOUNT NO.:
         SUITE 128                                             NOT AVAILABLE
         CLINTON, AR 72031



3.3437   COUNTY OF VAN BUREN, AR                                  3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         P.O. BOX 60                                           ACCOUNT NO.:
         CLINTON, AR 72031                                     NOT AVAILABLE



3.3438   COUNTY OF VAN ZANDT, TX                                 12/29/2017                   Opioid Matter              UNDETERMINED
         ATTN: VAN ZANDT COUNTY JUDGE
         121 E. DALLAS ST., SUITE 206                          ACCOUNT NO.:
         CANTON, TX 75103                                      NOT AVAILABLE



3.3439   COUNTY OF VENTURA                                        8/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK OF VENTURA
         800 SOUTH VICTORIA AVENUE                             ACCOUNT NO.:
         VENTURA, CA 93009                                     NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3440   COUNTY OF VOLUSIA, FLORIDA                               6/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER; COUNTY COUNCIL MEMBERS
         COUNTY OF VOLUSIA                                     ACCOUNT NO.:
         THOMAS C. KELLY ADMINISTRATION CENTER - 123 WEST      NOT AVAILABLE
         INDIANA AVENUE
         DELAND, FL 32720



3.3441   COUNTY OF WALKER                                         1/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY OF WALKER JUDGE
         1100 UNIVERSITY AVE, ROOM 204                         ACCOUNT NO.:
         HUNTSVILLE, TX 77340                                  NOT AVAILABLE



3.3442   COUNTY OF WALKER                                         1/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY OF WALKER JUDGE
         1100 UNIVERSITY AVE, ROOM 204                         ACCOUNT NO.:
         HUNTSVILLE, TX 77340                                  NOT AVAILABLE



3.3443   COUNTY OF WALLER, TX                                     4/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         836 AUSTIN STREET                                     ACCOUNT NO.:
         SUITE 203                                             NOT AVAILABLE
         HEMPSTEAD, TX 77445



3.3444   COUNTY OF WASHINGTON                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         COUNTY COMMISSIONERS; TREASURER
         85 COURT STREET                                       ACCOUNT NO.:
         MACHIAS, ME 04654                                     NOT AVAILABLE



3.3445   COUNTY OF WASHINGTON, AR                                 3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         WASHINGTON COUNTY COURTHOUSE                          ACCOUNT NO.:
         280 NORTH COLLEGE AVENUE - SUITE 500                  NOT AVAILABLE
         FAYETTEVILLE, AR 72701



3.3446   COUNTY OF WASHINGTON, AR                                 3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         WASHINGTON COUNTY COURTHOUSE                          ACCOUNT NO.:
         280 NORTH COLLEGE AVENUE - SUITE 300                  NOT AVAILABLE
         FAYETTEVILLE, AR 72701



3.3447   COUNTY OF WASHINGTON, PA                                12/11/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY OF WASHINGTON BOARD OF
         COMISSIONERS                                          ACCOUNT NO.:
         COURTHOUSE SQUARE                                     NOT AVAILABLE
         100 WEST BEAU STREET - SUITE 702
         WASHINGTON, PA 15301



3.3448   COUNTY OF WASHTENAW, MICHIGAN                            3/16/2019                   Opioid Matter              UNDETERMINED
         ATTN: BOARD OF COMMISSIONERS
         220 N MAIN STREET                                     ACCOUNT NO.:
         ANN ARBOR, MI 48104                                   NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                          Claim

Litigation

3.3449   COUNTY OF WASHTENAW, MICHIGAN                             3/16/2019                   Opioid Matter              UNDETERMINED
         200 N MAIN
         ANN ARBOR, MI 48104                                    ACCOUNT NO.:
                                                                NOT AVAILABLE


3.3450   COUNTY OF WAYNE                                          10/12/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE BOARD OF
         COMMISSIONERS AND COUNTY CLERK                         ACCOUNT NO.:
         WAYNE COUNTY CLERK'S OFFICE                            NOT AVAILABLE
         ROOM 211 - 2 WOODWARD AVENUE
         DETROIT, MI 48226



3.3451   COUNTY OF WEBB                                            1/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         1000 HOUSTON STREET                                    ACCOUNT NO.:
         3RD FLOOR                                              NOT AVAILABLE
         LAREDO, TX 78040



3.3452   COUNTY OF WESTCHESTER, NY                                 2/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         RICHARD J. DARONCO COURTHOUSE                          ACCOUNT NO.:
         111 DR. MARTIN LUTHER KING JR. BLVD                    NOT AVAILABLE
         WHITE PLAINS, NY 10601



3.3453   COUNTY OF WESTCHESTER, NY                                 2/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF COUNTY BOARD OF LEGISLATORS AND
         COUNTY ATTORNEY                                        ACCOUNT NO.:
         800 MICHAELIAN OFFICE BUILDING                         NOT AVAILABLE
         148 MARTINE AVENUE - 8TH FLOOR
         WHITE PLAINS, NY 10601



3.3454   COUNTY OF WESTCHESTER, NY                                 2/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         148 MARTINE AVENUE                                     ACCOUNT NO.:
         WHITE PLAINS, NY 10601                                 NOT AVAILABLE



3.3455   COUNTY OF WESTMORELAND, PA                               12/15/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE WESTMORELAND COUNTY BOARD
         OF COMMISSIONERS                                       ACCOUNT NO.:
         BOARD OF COMMISSIONERS MAIN OFFICE                     NOT AVAILABLE
         2 NORTH MAIN STREET - SUITE 101
         GREENSBURG, PA 15601



3.3456   COUNTY OF WEXFORD, MICHIGAN                               3/13/2018                   Opioid Matter              UNDETERMINED
         437 EAST DIVISION STRET
         PO BOX 490                                             ACCOUNT NO.:
         CADILLAC, MI 49601                                     NOT AVAILABLE



3.3457   COUNTY OF WEXFORD, MICHIGAN                               3/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE BOARD OF
         COMMISSIONERS AND COUNTY CLERK                         ACCOUNT NO.:
         437 EAST DIVISION STREET                               NOT AVAILABLE
         CADILLAC, MI 49601




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3458   COUNTY OF WHITE, AR                                      3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         WHITE COUNTY COURTHOUSE                               ACCOUNT NO.:
         300 NORTH SPRUCE                                      NOT AVAILABLE
         SEARCY, AR 72143



3.3459   COUNTY OF WHITE, AR                                      3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         WHITE COUNTY COURTHOUSE                               ACCOUNT NO.:
         315 NORTH SPRUCE                                      NOT AVAILABLE
         SEARCY, AR 72143



3.3460   COUNTY OF WICHITA, TEXAS                                12/22/2017                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDING JUDGE OF THE COUNTY OF WICHITA,
         TEXAS                                                 ACCOUNT NO.:
         611 BLUFF STREET                                      NOT AVAILABLE
         WICHITA FALLS, TX 76301



3.3461   COUNTY OF WICOMICO, MARYLAND                             7/9/2019                    Opioid Matter              UNDETERMINED
         108 E MAIN ST
         SALISBURY, MD 21801                                   ACCOUNT NO.:
                                                               NOT AVAILABLE


3.3462   COUNTY OF WICOMICO, MARYLAND                             7/9/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE
         125 NORTH DIVISION STREET                             ACCOUNT NO.:
         ROOM 303 - P.O. BOX 870                               NOT AVAILABLE
         SALISBURY, MD 21803-0870



3.3463   COUNTY OF WICOMICO, MARYLAND                             7/9/2019                    Opioid Matter              UNDETERMINED
         ATTN: RESIDENT AGENT FOR COUNTY OF WICOMICO,
         MARYLAND                                              ACCOUNT NO.:
         125 NORTH DIVISION STREET                             NOT AVAILABLE
         P.O. BOX 870
         SALISBURY, MD 21803-0870



3.3464   COUNTY OF WILCOX, GEORGIA                                4/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         103 N BROAD ST                                        ACCOUNT NO.:
         ABBEVILLE, GA 31001                                   NOT AVAILABLE



3.3465   COUNTY OF WILLIAMSBURG                                   6/27/2018                   Opioid Matter              UNDETERMINED
         MARC J. BERN
         MARC J. BERN & PARTNERS LLP                           ACCOUNT NO.:
         60 EAST 42ND STREET - SUITE 950                       NOT AVAILABLE
         NEW YORK, NY 10165



3.3466   COUNTY OF WILLIAMSBURG                                   6/27/2018                   Opioid Matter              UNDETERMINED
         R. JOSEPH KRAMER
         MARC J. BERN & PARTNERS LLP                           ACCOUNT NO.:
         60 EAST 42ND STREET - SUITE 950                       NOT AVAILABLE
         NEW YORK, NY 10165




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3467   COUNTY OF WILLIAMSBURG                                   6/27/2018                   Opioid Matter              UNDETERMINED
         JOSSEPH CAPPELLI
         MARC J. BERN & PARTNERS LLP                           ACCOUNT NO.:
         60 EAST 42ND STREET - SUITE 950                       NOT AVAILABLE
         NEW YORK, NY 10165



3.3468   COUNTY OF WILLIAMSBURG                                   6/27/2018                   Opioid Matter              UNDETERMINED
         CEZAR E. MCKNIGHT, ESQUIRE
         CEZAR E. MCKNIGHT LAW OFFICE                          ACCOUNT NO.:
         106 EAST MAIN STREET                                  NOT AVAILABLE
         LAKE CITY, SC 29560



3.3469   COUNTY OF WILLIAMSBURG, SC                               6/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY SUPERVISOR AND COUNTY CLERK
         WILLIAMSBURG COUNTY                                   ACCOUNT NO.:
         201 WEST MAIN STREET                                  NOT AVAILABLE
         KINGSTREE, SC 29556



3.3470   COUNTY OF WILLIAMSBURG, SC                               6/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY SUPERVISOR AND COUNTY CLERK
         P.O. BOX 330                                          ACCOUNT NO.:
         KINGSTREE, SC 29556                                   NOT AVAILABLE



3.3471   COUNTY OF WILLIAMSON, TX                                 6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         WILLIAMSON COUNTY HISTORIC COURTHOUSE                 ACCOUNT NO.:
         710 SOUTH MAIN STREET - SUITE 101                     NOT AVAILABLE
         GEORGETOWN, TX 78626



3.3472   COUNTY OF WOOD, TX                                       5/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         P.O. BOX 938                                          ACCOUNT NO.:
         QUITMAN, TX 75783-0938                                NOT AVAILABLE



3.3473   COUNTY OF WOODRUFF, AR                                   3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         WOODRUFF COUNTY COURTHOUSE                            ACCOUNT NO.:
         500 NORTH 3RD STREET                                  NOT AVAILABLE
         AUGUSTA, AR 72006



3.3474   COUNTY OF WOODRUFF, AR                                   3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         WOODRUFF COUNTY COURTHOUSE                            ACCOUNT NO.:
         500 NORTH 3RD STREET                                  NOT AVAILABLE
         AUGUSTA, AR 72006



3.3475   COUNTY OF WOODRUFF, AR                                   3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         WOODRUFF COUNTY COURTHOUSE                            ACCOUNT NO.:
         P.O BOX 300                                           NOT AVAILABLE
         AUGUSTA, AR 72006




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Creditor's Name, Mailing Address Including Zip                   Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                              And Account Number                         Claim

Litigation

3.3476   COUNTY OF YELL, AR                                                    3/15/2018                  Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COUNTY CLERK
         P.O. BOX 219                                                        ACCOUNT NO.:
         DANVILLE, AR 72833                                                  NOT AVAILABLE



3.3477   County of Yolo, a political subdivision of California, the People      5/7/2019                  Opioid Matter              UNDETERMINED
         of the State of California, acting by and through the Yolo
         County Counsel                                                      ACCOUNT NO.:
         Attn: Chairman of ther Board of Supervisors                         NOT AVAILABLE
         Yolo County Board of Supervisors
         625 Court Street - Room 204
         Woodland, CA 95695



3.3478   COUNTY OF YOLO, A POLITICAL SUBDIVISION OF                             5/7/2019                  Opioid Matter              UNDETERMINED
         CALIFORNIA, THE PEOPLE OF THE STATE OF
         CALIFORNIA, ACTING BY AND THROUGH THE YOLO                          ACCOUNT NO.:
         COUNTY COUNSEL                                                      NOT AVAILABLE
         ATTN: CLERK-RECORDER
         625 COURT STREET
         ROOM B01
         WOODLAND, CA 95695



3.3479   COUNTY OF YORK                                                        8/15/2018                  Opioid Matter              UNDETERMINED
         MARC J. BERN
         MARC J. BERN & PARTNERS LLP                                         ACCOUNT NO.:
         60 EAST 42ND STREET - SUITE 950                                     NOT AVAILABLE
         NEW YORK, NY 10165



3.3480   COUNTY OF YORK                                                        8/15/2018                  Opioid Matter              UNDETERMINED
         CARMEN A. DE GISI
         MARC J. BERN & PARTNERS LLP                                         ACCOUNT NO.:
         60 EAST 42ND STREET - SUITE 950                                     NOT AVAILABLE
         NEW YORK, NY 10165



3.3481   COUNTY OF YORK                                                        8/15/2018                  Opioid Matter              UNDETERMINED
         JOSEPH CAPPELLI
         MARC J. BERN & PARTNERS LLP                                         ACCOUNT NO.:
         60 EAST 42ND STREET - SUITE 950                                     NOT AVAILABLE
         NEW YORK, NY 10165



3.3482   COUNTY OF YORK                                                        8/15/2018                  Opioid Matter              UNDETERMINED
         MATTHEW E. YELVERTON
         YELVERTON LAW FIRM LLC                                              ACCOUNT NO.:
         60 FOLLY ROAD                                                       NOT AVAILABLE
         CHARLESTON, SC 29407



3.3483   COUNTY OF YORK                                                        8/15/2018                  Opioid Matter              UNDETERMINED
         MARGHRETTA H. SHISKO
         HARRISON WHITE, P.C.                                                ACCOUNT NO.:
         178 WEST MAIN STREET                                                NOT AVAILABLE
         SPARTANBURG, SC 29306




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3484   COUNTY OF YORK                                           8/15/2018                   Opioid Matter              UNDETERMINED
         JOHN B. WHITE, JR.
         HARRISON WHITE, P.C.                                  ACCOUNT NO.:
         178 WEST MAIN STREET                                  NOT AVAILABLE
         SPARTANBURG, SC 29306



3.3485   COUNTY OF YORK, PA                                       12/8/2017                   Opioid Matter              UNDETERMINED
         ATTN: DIRECTOR OF ASSESSMENT
         COUNTY OF YORK DEPT. OF ASSESSMENT AND TAX            ACCOUNT NO.:
         CLAIM                                                 NOT AVAILABLE
         ADMINISTRATIVE CENTER - 28 EAST MARKET STREET,
         ROOM 105
         YORK, PA 17401-1585



3.3486   COUNTY OF YORK, SC                                       8/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY COUNCIL CHAIR
         P.O. BOX 66                                           ACCOUNT NO.:
         28 EAST MARKET STREET                                 NOT AVAILABLE
         YORK, SC 29745



3.3487   COUNTY OF YUBA, A POLITICAL SUBDIVISION OF THE           5/8/2018                    Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA; THE PEOPLE OF THE STATE OF
         CALIFORNIA, ACTING BY AND THROUGH THE COUNTY OF       ACCOUNT NO.:
         YUBA                                                  NOT AVAILABLE
         ATTN: CHAIR OF THE BOARD OF SUPERVISORS FOR
         YUBA COUNTY
         915 8TH STREET
         SUITE 109
         MARYSVILLE, CA 95901



3.3488   COUNTY OF YUBA, A POLITICAL SUBDIVISION OF THE           5/8/2018                    Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA; THE PEOPLE OF THE STATE OF
         CALIFORNIA, ACTING BY AND THROUGH THE COUNTY OF       ACCOUNT NO.:
         YUBA                                                  NOT AVAILABLE
         ATTN: COUNTY CLERK-RECORDER
         915 8TH STREET
         SUITE 107
         MARYSVILLE, CA 95901



3.3489   COUNTY OF YUMA                                           6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: THE CLERK OF THE BOARD OF SUPERVISORS
         YUMA COUNTY                                           ACCOUNT NO.:
         198 SOUTH MAIN STREET                                 NOT AVAILABLE
         YUMA, AZ 85364



3.3490   COURTNEY HERRING, INDIVIDUALLY AND AS NEXT               6/18/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY M.T.
         ATTN: CELESTE BRUSTOWICZ                              ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                  NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.3491   COUSHATTA TRIBE OF LOUISIANA                             6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: TRIBAL CHAIRMAN AND CHIEF EXECUTIVE OF THE
         COUSHATTA TRIBE OF LOUISIANA                          ACCOUNT NO.:
         PO BOX 10                                             NOT AVAILABLE
         ELTON, LA 70532

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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3492   COVENTRY TOWNSHIP                                        6/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWNSHIP TRUSTEES AND TOWNSHIP
         ADMINISTRATOR                                         ACCOUNT NO.:
         ADMINISTRATION OFFICE                                 NOT AVAILABLE
         68 PORTAGE LAKES DRIVE
         AKRON, OH 44319



3.3493   COVENTRY TOWNSHIP                                        6/30/2018                   Opioid Matter              UNDETERMINED
         175 SOUTH MAIN STREET
         AKRON, OH 44308                                       ACCOUNT NO.:
                                                               NOT AVAILABLE


3.3494   COVINGTON COUNTY, MISSISSIPPI                            6/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         101 SOUTH ELM AVENUE                                  NOT AVAILABLE
         PO BOX 1679
         COLLINS, MS 39428



3.3495   COW CREEK BAND OF UMPQUA TRIBE OF INDIANS                3/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND MEMBERS BOARD OF
         DIRECTORS, CHIEF EXECUTIVE OFFICER                    ACCOUNT NO.:
         2371 NORTHEAST STEPHENS STREET                        NOT AVAILABLE
         SUITE 100
         ROSEBURG, OR 97470



3.3496   COYOTE VALLEY BAND OF POMO INDIANS                       1/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE TRIBAL COUNSEL, AND
         THE TRIBAL CHIEF, AND THE TRIBAL ADMINISTRATOR        ACCOUNT NO.:
         7751 NORTH STATE STREET                               NOT AVAILABLE
         PO BOX 39
         REDWOOD VALLEY, CA 95470



3.3497   CRAVEN COUNTY                                            5/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER, CHAIRMAN, CLERK, AND
         COMMISSIONERS                                         ACCOUNT NO.:
         203 CAMBRIDGE COURT                                   NOT AVAILABLE
         HAVELOCK, NC 28532



3.3498   CRAWFORD COUNTY                                          8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CLERK OF COUNTY COMMISSION
         CRAWFORD COUNTY COMMISSION                            ACCOUNT NO.:
         P. O. BOX AS - 302 W. MAIN STREET                     NOT AVAILABLE
         STEELVILLE, MO 65565



3.3499   CRAWFORD COUNTY                                          1/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         302 W. MAIN STREET                                    ACCOUNT NO.:
         P.O. BOX AS                                           NOT AVAILABLE
         STEELVILLE, MO 65565



3.3500   CRAWFORD COUNTY BOARD OF COUNTY                          11/6/2017                   Opioid Matter              UNDETERMINED
         COMMISSIONERS
         112 EAST MANSFIELD STREET                             ACCOUNT NO.:
         SUITE 305                                             NOT AVAILABLE
         BUCYRUS, OH 44820


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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3501   CRAWFORD COUNTY BOARD OF COUNTY                          11/6/2017                   Opioid Matter              UNDETERMINED
         COMMISSIONERS
         ATTN: COMMISSIONERS                                   ACCOUNT NO.:
         CRAWFORD COUNTY COMMISSIONERS                         NOT AVAILABLE
         112 EAST MANSFIELD STREET - SUITE 304
         BUCYRUS, OH 44820



3.3502   CRESTWOOD HEALTHCARE, L.P.                               9/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         641 SOUTH LAWRENCE STREET                             ACCOUNT NO.:
         MONTGOMERY, AL 36104                                  NOT AVAILABLE



3.3503   CRESTWOOD HEALTHCARE, L.P.                               9/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: CEO, PARTNER, OR MANAGER
         ONE HOSPITAL DRIVE                                    ACCOUNT NO.:
         HUNTSVILLE, AL 35801                                  NOT AVAILABLE



3.3504   CRESTWOOD HEALTHCARE, L.P.                               9/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: CEO, PARTNER, OR MANAGER
         6200 SPRINT PARKWAY                                   ACCOUNT NO.:
         OVERLAND PARK, KS 66251                               NOT AVAILABLE



3.3505   CRESTWOOD HEALTHCARE, L.P.                               9/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: CEO, PARTNER, OR MANAGER
         P.O. BOX 898                                          ACCOUNT NO.:
         DOVER, DE 19903                                       NOT AVAILABLE



3.3506   CRISP COUNTY, GA                                         2/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF BOARD OF COMMISSIONERS
         210 SOUTH 7TH STREET                                  ACCOUNT NO.:
         CORDELE, GA 31015                                     NOT AVAILABLE



3.3507   CROCKETT COUNTY, TN                                      2/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR, COUNTY CLERK
         1 SOUTH BELLS STREET                                  ACCOUNT NO.:
         ALAMO, TN 38001                                       NOT AVAILABLE



3.3508   CROSSROADS                                              UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         20520 HIGHWAY 22 NORTH                                ACCOUNT NO.:
         PARKERS CROSSROADS, TN 38388                          NOT AVAILABLE



3.3509   CROSSROADS                                              UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         52 NATCHEZ TRACE DRIVE                                ACCOUNT NO.:
         LEXINGTON, TN 38351                                   NOT AVAILABLE



3.3510   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         DAVID R. SCOTT
         SCOTT & SCOTT ATTORNEYS AT LAW LLP                    ACCOUNT NO.:
         156 SOUTH MAIN STREET - P.O. BOX 192                  NOT AVAILABLE
         COLCHESTER, CT 06415



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3511   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: AMANDA F. LAWRENCE
         SCOTT & SCOTT ATTORNEYS AT LAW LLP                    ACCOUNT NO.:
         156 SOUTH MAIN STREET - P.O. BOX 192                  NOT AVAILABLE
         COLCHESTER, CT 06415



3.3512   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         JUDITH S. SCOLNICK
         SCOTT & SCOTT ATTORNEYS AT LAW LLP                    ACCOUNT NO.:
         THE HELMSLEY BUILDING - 230 PARK AVENUE 17TH          NOT AVAILABLE
         FLOOR
         NEW YORK, NY 10169



3.3513   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         DONALD A. BROGGI
         SCOTT & SCOTT ATTORNEYS AT LAW LLP                    ACCOUNT NO.:
         THE HELMSLEY BUILDING - 230 PARK AVENUE 17TH          NOT AVAILABLE
         FLOOR
         NEW YORK, NY 10169



3.3514   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: JAMES E. HARTLEY, JR.
         DRUBNER HARTLEY & HELLMAN, L.L.C.                     ACCOUNT NO.:
         500 CHASE PARKWAY                                     NOT AVAILABLE
         WATERBURY, CT 06708



3.3515   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         CHARLES HELLMAN
         DRUBNER HARTLEY & HELLMAN, L.L.C.                     ACCOUNT NO.:
         461 5TH AVENUE - 12TH FLOOR                           NOT AVAILABLE
         NEW YORK, NY 10017



3.3516   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         PAUL J. HANLY, JR.
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.3517   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         DONALD A. BROGGI
         SCOTT & SCOTT ATTORNEYS AT LAW LLP                    ACCOUNT NO.:
         THE HELMSLEY BUILDING - 230 PARK AVENUE 17TH          NOT AVAILABLE
         FLOOR
         NEW YORK, NY 10169



3.3518   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         JAMES YOUNG
         MORGAN & MORGAN                                       ACCOUNT NO.:
         76 SOUTH LAURA STREET - SUITE 1100                    NOT AVAILABLE
         JACKSONVILLE, FL 32202




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Code                                                  And Account Number                          Claim

Litigation

3.3519   CT CONSOLIDATED LITIGATION                               UNKNOWN                      Opioid Matter              UNDETERMINED
         DEVIN HARTLEY
         DRUBNER HARTLEY & HELLMAN, L.L.C.                      ACCOUNT NO.:
         500 CHASE PARKWAY                                      NOT AVAILABLE
         WATERBURY, CT 06708



3.3520   CT CONSOLIDATED LITIGATION                               UNKNOWN                      Opioid Matter              UNDETERMINED
         JUDITH S. SCOLNICK
         SCOTT & SCOTT ATTORNEYS AT LAW LLP                     ACCOUNT NO.:
         THE HELMSLEY BUILDING - 230 PARK AVENUE 17TH           NOT AVAILABLE
         FLOOR
         NEW YORK, NY 10169



3.3521   CT CONSOLIDATED LITIGATION                               UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: AMANDA F. LAWRENCE
         SCOTT & SCOTT ATTORNEYS AT LAW LLP                     ACCOUNT NO.:
         156 SOUTH MAIN STREET - P.O. BOX 192                   NOT AVAILABLE
         COLCHESTER, CT 06415



3.3522   CT CONSOLIDATED LITIGATION                               UNKNOWN                      Opioid Matter              UNDETERMINED
         DAVID R. SCOTT
         SCOTT & SCOTT ATTORNEYS AT LAW LLP                     ACCOUNT NO.:
         156 SOUTH MAIN STREET - P.O. BOX 192                   NOT AVAILABLE
         COLCHESTER, CT 06415



3.3523   CT CONSOLIDATED LITIGATION                               UNKNOWN                      Opioid Matter              UNDETERMINED
         JUAN MARTINEZ
         MORGAN & MORGAN                                        ACCOUNT NO.:
         201 NORTH FRANKLIN STREET - 7TH FLOOR                  NOT AVAILABLE
         TAMPA, FL 33602



3.3524   CT CONSOLIDATED LITIGATION                               UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: SARAH S. BURNS
         SIMMONS HANLY CONROY LLC                               ACCOUNT NO.:
         ONE COURT STREET                                       NOT AVAILABLE
         ALTON, IL 62002



3.3525   CT CONSOLIDATED LITIGATION                               UNKNOWN                      Opioid Matter              UNDETERMINED
         JOHN A. YANCHUNIS
         MORGAN & MORGAN                                        ACCOUNT NO.:
         201 NORTH FRANKLIN STREET - 7TH FLOOR                  NOT AVAILABLE
         TAMPA, FL 33602



3.3526   CT CONSOLIDATED LITIGATION                               UNKNOWN                      Opioid Matter              UNDETERMINED
         KELLY A. FITZPATRICK, ESQ.
         VENTURA LAW                                            ACCOUNT NO.:
         235 MAIN STREET                                        NOT AVAILABLE
         DANBURY, CT 06810



3.3527   CT CONSOLIDATED LITIGATION                               UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: SETH MEYER
         KELLER LENKNER LLC                                     ACCOUNT NO.:
         150 NORTH RIVERSIDE PLAZA - SUITE 2570                 NOT AVAILABLE
         CHICAGO, IL 60606



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Code                                                  And Account Number                          Claim

Litigation

3.3528   CT CONSOLIDATED LITIGATION                               UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: TRAVIS LENKNER
         KELLER LENKNER LLC                                     ACCOUNT NO.:
         150 NORTH RIVERSIDE PLAZA - SUITE 2570                 NOT AVAILABLE
         CHICAGO, IL 60606



3.3529   CT CONSOLIDATED LITIGATION                               UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: ASHLEY C. KELLER
         KELLER LENKNER LLC                                     ACCOUNT NO.:
         150 NORTH RIVERSIDE PLAZA - SUITE 2750                 NOT AVAILABLE
         CHICAGO, IL 60606



3.3530   CT CONSOLIDATED LITIGATION                               UNKNOWN                      Opioid Matter              UNDETERMINED
         J. MICHAEL CONNOLLY
         CONSOVOY MCCARTHY PLLC                                 ACCOUNT NO.:
         3033 WILSON BOULEVARD - SUITE 700                      NOT AVAILABLE
         ARLINGTON, VA 22201



3.3531   CT CONSOLIDATED LITIGATION                               UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: WILLIAM S. CONSOVOY
         CONSOVOY MCCARTHY PLLC                                 ACCOUNT NO.:
         3033 WILSON BOULEVARD - SUITE 700                      NOT AVAILABLE
         ARLINGTON, VA 22201



3.3532   CT CONSOLIDATED LITIGATION                               UNKNOWN                      Opioid Matter              UNDETERMINED
         PATRICK A. BARTHLE II
         MORGAN & MORGAN                                        ACCOUNT NO.:
         201 NORTH FRANKLIN STREET - 7TH FLOOR                  NOT AVAILABLE
         TAMPA, FL 33602



3.3533   CT CONSOLIDATED LITIGATION                               UNKNOWN                      Opioid Matter              UNDETERMINED
         DAVID R. SCOTT
         SCOTT & SCOTT ATTORNEYS AT LAW LLP                     ACCOUNT NO.:
         156 SOUTH MAIN STREET - P.O. BOX 192                   NOT AVAILABLE
         COLCHESTER, CT 06415



3.3534   CT CONSOLIDATED LITIGATION                               UNKNOWN                      Opioid Matter              UNDETERMINED
         KEVIN C. SHEA
         CLENDENEN & SHEA, LLC                                  ACCOUNT NO.:
         400 ORANGE STREET                                      NOT AVAILABLE
         NEW HAVEN, CT 06511



3.3535   CT CONSOLIDATED LITIGATION                               UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: WILLIAM TONG
         STATE OF CONNECTICUT ATTORNEY GENERAL                  ACCOUNT NO.:
         55 ELM ST.                                             NOT AVAILABLE
         HARTFORD, CT 06106-0000



3.3536   CT CONSOLIDATED LITIGATION                               UNKNOWN                      Opioid Matter              UNDETERMINED
         DONALD A. BROGGI
         SCOTT & SCOTT ATTORNEYS AT LAW LLP                     ACCOUNT NO.:
         THE HELMSLEY BUILDING - 230 PARK AVENUE 17TH           NOT AVAILABLE
         FLOOR
         NEW YORK, NY 10169



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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3537   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         JUDITH S. SCOLNICK
         SCOTT & SCOTT ATTORNEYS AT LAW LLP                    ACCOUNT NO.:
         THE HELMSLEY BUILDING - 230 PARK AVENUE 17TH          NOT AVAILABLE
         FLOOR
         NEW YORK, NY 10169



3.3538   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         MARGARET FERRON
         SCOTT & SCOTT ATTORNEYS AT LAW LLP                    ACCOUNT NO.:
         156 SOUTH MAIN STREET - P.O. BOX 192                  NOT AVAILABLE
         COLCHESTER, CT 06415



3.3539   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         DAVID R. SCOTT
         SCOTT & SCOTT ATTORNEYS AT LAW LLP                    ACCOUNT NO.:
         156 SOUTH MAIN STREET - P.O. BOX 192                  NOT AVAILABLE
         COLCHESTER, CT 06415



3.3540   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         DAVID SLOSSBERG
         HURWITZ, SAGARIN, SLOSSBERG & KNUFF, LLC              ACCOUNT NO.:
         147 NORTH BROAD STREET                                NOT AVAILABLE
         MILFORD, CT 06460



3.3541   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: WILLIAM H. CLENDENEN, JR.
         CLENDENEN & SHEA, LLC                                 ACCOUNT NO.:
         400 ORANGE STREET                                     NOT AVAILABLE
         NEW HAVEN, CT 06511



3.3542   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         PAUL J. HANLY, JR.
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.3543   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         CHARLES HELLMAN
         DRUBNER HARTLEY & HELLMAN, L.L.C.                     ACCOUNT NO.:
         1177 AVENUE OF THE AMERICAS - 44TH FLOOR              NOT AVAILABLE
         NEW YORK, NY 10036



3.3544   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         DEVIN HARTLEY
         DRUBNER HARTLEY & HELLMAN, L.L.C.                     ACCOUNT NO.:
         500 CHASE PARKWAY                                     NOT AVAILABLE
         WATERBURY, CT 06708



3.3545   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         JAMES E. HARTLEY, JR.
         DRUBNER HARTLEY & HELLMAN, L.L.C.                     ACCOUNT NO.:
         500 CHASE PARKWAY                                     NOT AVAILABLE
         WATERBURY, CT 06708



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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3546   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         DONALD A. BROGGI
         SCOTT & SCOTT ATTORNEYS AT LAW LLP                    ACCOUNT NO.:
         THE HELMSLEY BUILDING - 230 PARK AVENUE 17TH          NOT AVAILABLE
         FLOOR
         NEW YORK, NY 10169



3.3547   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         KEVIN C. SHEA
         CLENDENEN & SHEA, LLC                                 ACCOUNT NO.:
         400 ORANGE STREET                                     NOT AVAILABLE
         NEW HAVEN, CT 06511



3.3548   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         CHARLES HELLMAN
         DRUBNER HARTLEY & HELLMAN, L.L.C.                     ACCOUNT NO.:
         1177 AVENUE OF THE AMERICAS - 44TH FLOOR              NOT AVAILABLE
         NEW YORK, NY 10036



3.3549   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         MAURA A. MASTRONY
         CLENDENEN & SHEA, LLC                                 ACCOUNT NO.:
         400 ORANGE STREET                                     NOT AVAILABLE
         NEW HAVEN, CT 06511



3.3550   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         SABRINA A. VICTOR, ESQ.
         VENTURA LAW                                           ACCOUNT NO.:
         235 MAIN STREET                                       NOT AVAILABLE
         DANBURY, CT 06810



3.3551   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         JAMES K. SMITH, ESQ.
         VENTURA LAW                                           ACCOUNT NO.:
         235 MAIN STREET                                       NOT AVAILABLE
         DANBURY, CT 06810



3.3552   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         J. GERARD STRANCH, ESQ.
         BRANSTETTER, STRANCH & JENNINGS, PLLC                 ACCOUNT NO.:
         THE FREEDOM CENTER - 223 ROSA L. PARKS AVENUE,        NOT AVAILABLE
         SUITE 200
         NASHVILLE, TN 37203



3.3553   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         TRICIA HERZFELD, ESQ.
         BRANSTETTER, STRANCH & JENNINGS, PLLC                 ACCOUNT NO.:
         THE FREEDOM CENTER - 223 ROSA L. PARKS AVENUE,        NOT AVAILABLE
         SUITE 200
         NASHVILLE, TN 37203




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3554   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         JUDITH S. SCOLNICK
         SCOTT & SCOTT ATTORNEYS AT LAW LLP                    ACCOUNT NO.:
         THE HELMSLEY BUILDING - 230 PARK AVENUE 17TH          NOT AVAILABLE
         FLOOR
         NEW YORK, NY 10169



3.3555   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         DEVIN HARTLEY
         DRUBNER HARTLEY & HELLMAN, L.L.C.                     ACCOUNT NO.:
         500 CHASE PARKWAY                                     NOT AVAILABLE
         WATERBURY, CT 06708



3.3556   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         MARGARET FERRON
         SCOTT & SCOTT ATTORNEYS AT LAW LLP                    ACCOUNT NO.:
         156 SOUTH MAIN STREET - P.O. BOX 192                  NOT AVAILABLE
         COLCHESTER, CT 06415



3.3557   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         PAUL J. HANLY, JR.
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.3558   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         SARAH S. BURNS
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002



3.3559   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: WILLIAM H. CLENDENEN, JR.
         CLENDENEN & SHEA, LLC                                 ACCOUNT NO.:
         400 ORANGE STREET                                     NOT AVAILABLE
         NEW HAVEN, CT 06511



3.3560   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         KEVIN C. SHEA
         CLENDENEN & SHEA, LLC                                 ACCOUNT NO.:
         400 ORANGE STREET                                     NOT AVAILABLE
         NEW HAVEN, CT 06511



3.3561   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         DAVID SLOSSBERG
         HURWITZ, SAGARIN, SLOSSBERG & KNUFF, LLC              ACCOUNT NO.:
         147 NORTH BROAD STREET                                NOT AVAILABLE
         MILFORD, CT 06460



3.3562   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: WILLIAM H. CLENDENEN, JR.
         CLENDENEN & SHEA, LLC                                 ACCOUNT NO.:
         400 ORANGE STREET                                     NOT AVAILABLE
         NEW HAVEN, CT 06511



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3563   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         JAMES E. HARTLEY, JR.
         DRUBNER HARTLEY & HELLMAN, L.L.C.                     ACCOUNT NO.:
         500 CHASE PARKWAY                                     NOT AVAILABLE
         WATERBURY, CT 06708



3.3564   CT CONSOLIDATED LITIGATION                              UNKNOWN                      Opioid Matter              UNDETERMINED
         SARAH S. BURNS
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002



3.3565   CULLEN TALTON IN HIS OFFICIAL CAPACITY AS THE            5/8/2019                    Opioid Matter              UNDETERMINED
         SHERIFF OF HOUSTON COUNTY, GEORGIA
         ATTN: SHERIFF                                         ACCOUNT NO.:
         202 CARL VINSON PARKWAY                               NOT AVAILABLE
         WARNER ROBINS, GA 31088



3.3566   CULLEN TALTON IN HIS OFFICIAL CAPACITY AS THE            5/8/2019                    Opioid Matter              UNDETERMINED
         SHERIFF OF HOUSTON COUNTY, GEORGIA
         201 PERRY PARKWAY                                     ACCOUNT NO.:
         PERRY, GA 31069                                       NOT AVAILABLE



3.3567   CULLMAN COUNTY, ALABAMA                                  2/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.3568   CULLMAN COUNTY, ALABAMA                                  2/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: CIRCUIT CLERK
         500 SECOND AVENUE SW                                  ACCOUNT NO.:
         SUITE 303                                             NOT AVAILABLE
         CULLMAN, AL 35055-4137



3.3569   CULPEPER COUNTY, VIRGINIA                               UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         306 NORTH MAIN STREET                                 ACCOUNT NO.:
         CULPEPER, VA 22701                                    NOT AVAILABLE



3.3570   CULPEPPER COUNTY, VIRGINIA                              UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         306 NORTH MAIN STREET                                 ACCOUNT NO.:
         CULPEPPER, VA 22701                                   NOT AVAILABLE



3.3571   CUMBERLAND COUNTY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: ALLAN KANNER, ESQ.
         KANNER & WHITELEY, LLC                                ACCOUNT NO.:
         701 CAMP STREET                                       NOT AVAILABLE
         NEW ORLEANS, LA 70130




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3572   CUMBERLAND COUNTY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER, 3RD DISTRICT
         294 CLEVELAND ST.                                     ACCOUNT NO.:
         CROSSVILLE, TN 38555                                  NOT AVAILABLE



3.3573   CUMBERLAND COUNTY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER, 6TH DISTRICT
         9706 HIGHWAY 70 EAST                                  ACCOUNT NO.:
         CRAB ORCHARD, TN 37723                                NOT AVAILABLE



3.3574   CUMBERLAND COUNTY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: ANNEMIEKE M. TENNIS, ESQ.
         KANNER & WHITELEY, LLC                                ACCOUNT NO.:
         701 CAMP STREET                                       NOT AVAILABLE
         NEW ORLEANS, LA 70130



3.3575   CUMBERLAND COUNTY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         2 NORTH MAIN STREET                                   ACCOUNT NO.:
         SUITE 206                                             NOT AVAILABLE
         CROSSVILLE, TN 38555



3.3576   CUMBERLAND COUNTY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER, 1ST DISTRICT
         203 THOMPSON LN                                       ACCOUNT NO.:
         CROSSVILLE, TN 38571-0899                             NOT AVAILABLE



3.3577   CUMBERLAND COUNTY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         300 THURMAN AVENUE                                    ACCOUNT NO.:
         CROSSVILLE, TN 38555                                  NOT AVAILABLE



3.3578   CUMBERLAND COUNTY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CONLEE S. WHITELEY, ESQ.
         KANNER & WHITELEY, LLC                                ACCOUNT NO.:
         701 CAMP STREET                                       NOT AVAILABLE
         NEW ORLEANS, LA 70130



3.3579   CUMBERLAND COUNTY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER, 4TH DISTRICT
         5186 GENESIS RD.                                      ACCOUNT NO.:
         CROSSVILLE, TN 38571                                  NOT AVAILABLE



3.3580   CUMBERLAND COUNTY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER, 4TH DISTRICT
         185 HUNTERS LN.                                       ACCOUNT NO.:
         CROSSVILLE, TN 38571                                  NOT AVAILABLE



3.3581   CUMBERLAND COUNTY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER, 5TH DISTRICT
         106 VANDEVER LN.                                      ACCOUNT NO.:
         CROSSVILLE, TN 38572                                  NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3582   CUMBERLAND COUNTY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY MAYOR
         2 NORTH MAIN STREET                                   ACCOUNT NO.:
         SUITE 203                                             NOT AVAILABLE
         CROSSVILLE, TN 38555



3.3583   CUMBERLAND COUNTY                                        8/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND CLERK OF THE COUNTY
         COMMISSIONERS                                         ACCOUNT NO.:
         117 DICK STREET                                       NOT AVAILABLE
         ROOM 561
         FAYETTEVILLE, NC 28301



3.3584   CUMBERLAND COUNTY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER, 5TH DISTRICT
         498 LIMERICK DR.                                      ACCOUNT NO.:
         CROSSVILLE, TN 38572                                  NOT AVAILABLE



3.3585   CUMBERLAND COUNTY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER, 2ND DISTRICT
         124 EAST CENTER TOWN DR.                              ACCOUNT NO.:
         CROSSVILLE, TN 38555                                  NOT AVAILABLE



3.3586   CUMBERLAND COUNTY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         CUMBERLAND COUNTY COURT HOUSE                         ACCOUNT NO.:
         60 W. BROAD STREET                                    NOT AVAILABLE
         BRIDGETON, NJ 08302



3.3587   CUMBERLAND COUNTY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CLERK AND MASTER
         60 JUSTICE CENTER DRIVE                               ACCOUNT NO.:
         SUITE 226                                             NOT AVAILABLE
         CROSSVILLE, TN 38555



3.3588   CUMBERLAND COUNTY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER, 1ST DISTRICT
         258 RIDGEWOOD DR.                                     ACCOUNT NO.:
         CROSSVILLE, TN 38555                                  NOT AVAILABLE



3.3589   CUMBERLAND COUNTY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER, 8TH DISTRICT
         239 BLALOCK DR.                                       ACCOUNT NO.:
         CROSSVILLE, TN 38571                                  NOT AVAILABLE



3.3590   CUMBERLAND COUNTY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER, 8TH DISTRICT
         145 FOREST VIEW DR.                                   ACCOUNT NO.:
         CROSSVILLE, TN 38558                                  NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.3591   CUMBERLAND COUNTY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: GENERAL SESSIONS COURT JUDGE
         60 JUSTICE CENTER DRIVE                               ACCOUNT NO.:
         CROSSVILLE, TN 38555                                  NOT AVAILABLE



3.3592   CUMBERLAND COUNTY                                        1/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS; COUNTY MANAGER;
         ADMINISTRATION; TREASURER                             ACCOUNT NO.:
         142 FEDERAL STREET                                    NOT AVAILABLE
         PORTLAND, ME 04101



3.3593   CUMBERLAND COUNTY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER, 8TH DISTRICT
         575 UPPER MEADOWS RD.                                 ACCOUNT NO.:
         PLEASANT HILL, TN 38578                               NOT AVAILABLE



3.3594   CUMBERLAND COUNTY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER, 8TH DISTRICT
         108 WALDEN RIDGE DR.                                  ACCOUNT NO.:
         CROSSVILLE, TN 38558                                  NOT AVAILABLE



3.3595   CUMBERLAND COUNTY                                        8/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER OF CUMBERLAND COUNTY
         117 DICK STREET                                       ACCOUNT NO.:
         FAYETTEVILLE, NC 28301                                NOT AVAILABLE



3.3596   CUMBERLAND COUNTY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER, 7TH DISTRICT
         340 PLATEAU FIRETOWER RD.                             ACCOUNT NO.:
         CROSSVILLE, TN 38571                                  NOT AVAILABLE



3.3597   CUMBERLAND COUNTY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER, 6TH DISTRICT
         806 FORD LN.                                          ACCOUNT NO.:
         CROSSVILLE, TN 38555                                  NOT AVAILABLE



3.3598   CUMBERLAND COUNTY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER, 7TH DISTRICT
         525 OLD ELMORE RD.                                    ACCOUNT NO.:
         CROSSVILLE, TN 38571                                  NOT AVAILABLE



3.3599   CUMBERLAND COUNTY, STATE OF MAINE                        1/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS; COUNTY MANAGER:
         TREASURER                                             ACCOUNT NO.:
         142 FEDERAL STREET                                    NOT AVAILABLE
         PORTLAND, ME 04101



3.3600   CUMBERLAND COUNTY, VIRGINIA                             UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COMMONWEALTH'S ATTORNEY
         1 COURTHOUSE CIRCLE                                   ACCOUNT NO.:
         P.O. BOX 285                                          NOT AVAILABLE
         CUMBERLAND, VA 23040



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Code                                                 And Account Number                          Claim

Litigation

3.3601   CUMBERLAND COUNTY, VIRGINIA                             UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         1 COURTHOUSE CIRCLE                                   ACCOUNT NO.:
         P.O. BOX 110                                          NOT AVAILABLE
         CUMBERLAND, VA 23040



3.3602   CURRITUCK COUNTY                                         9/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER OF CURRITUCK COUNTY
         153 COURTHOUSE ROAD                                   ACCOUNT NO.:
         SUITE 204                                             NOT AVAILABLE
         CURRITUCK, NC 27929



3.3603   CURRITUCK COUNTY                                         9/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND CLERK OF THE COUNTY
         COMMISSIONERS                                         ACCOUNT NO.:
         153 COURTHOUSE ROAD                                   NOT AVAILABLE
         SUITE 206
         CURRITUCK, NC 27929



3.3604   CWA LOCAL 1182 & 1183 HEALTH & WELFARE FUNDS             8/27/2019                   Opioid Matter              UNDETERMINED
         ATTN: DESIGNATED AGENT, PRESIDENT, VICE-
         PRESIDENT, SECRETARY & TREASURER                      ACCOUNT NO.:
         CWA LOCAL 1183                                        NOT AVAILABLE
         200 VARICK STREET - 10TH FLOOR
         NEW YORK, NY 10014



3.3605   CWA LOCAL 1182 & 1183 HEALTH & WELFARE FUNDS             8/27/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT, VICE-PRESIDENT, SECRETARY &
         TREASURER                                             ACCOUNT NO.:
         CWA LOCAL 1182                                        NOT AVAILABLE
         108-18 QUEENS BOULEVARD - SUITE 701
         FOREST HILLS, NY 11375



3.3606   CYNTHIA DRAKE                                            2/11/2019                   Opioid Matter              UNDETERMINED
         4221 WIEDENMANN PLACE
         KANSAS CITY, MO 64111                                 ACCOUNT NO.:
                                                               NOT AVAILABLE


3.3607   CYNTHIA DRAKE                                            2/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: BRADLEY D. HONNOLD
         GOZA & HONNOLD, LLC                                   ACCOUNT NO.:
         9500 NALL AVENUE #400                                 NOT AVAILABLE
         OVERLAND PARK, KS 66207



3.3608   DAGGETT COUNTY, UTAH                                     6/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         95 NORTH 1ST WEST                                     ACCOUNT NO.:
         P.O. BOX 400                                          NOT AVAILABLE
         MANILA, UT 84046



3.3609   DAGGETT COUNTY, UTAH                                     6/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         95 NORTH 1ST WEST                                     ACCOUNT NO.:
         P.O. BOX 219                                          NOT AVAILABLE
         MANILA, UT 84046



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Code                                                              And Account Number                         Claim

Litigation

3.3610   DAKOTA COUNTY, MINNESOTA                                             8/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR, TREASURER-AUDITOR
         ADMINISTRATION CENTER                                              ACCOUNT NO.:
         1590 HIGHWAY 55                                                    NOT AVAILABLE
         HASTINGS, MN 55033-2343



3.3611   DALE COUNTY, ALABAMA                                                 4/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY ADMINISTRATOR
         202 SOUTH HWY 123, SUITE C                                         ACCOUNT NO.:
         OZARK, AL 36360                                                    NOT AVAILABLE



3.3612   DALE COUNTY, ALABAMA                                                 4/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                                  ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                              NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.3613   DALE COUNTY, ALABAMA                                                 4/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, DALE COUNTY COMMISSION
         PO BOX 1350                                                        ACCOUNT NO.:
         OZARK, AL 36361                                                    NOT AVAILABLE



3.3614   DALE COUNTY, ALABAMA                                                 4/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: COMMISSION CHAIRPERSON
         DALE COUNTY COMMISSION OFFICE                                      ACCOUNT NO.:
         202 SOUTH AL-123                                                   NOT AVAILABLE
         OZARK, AL 36360



3.3615   DALE COUNTY, ALABAMA                                                 4/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, DALE COUNTY COMMISSION
         202 SOUTH AL-123                                                   ACCOUNT NO.:
         OZARK, AL 36360                                                    NOT AVAILABLE



3.3616   DALE COUNTY, ALABAMA                                                 4/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, DALE COUNTY COMMISSION
         202 SOUTH AL-123                                                   ACCOUNT NO.:
         OZARK, AL 36360                                                    NOT AVAILABLE



3.3617   DALLAS COUNTY HOSPITAL DISTRICT D/B/A PARKLAND                       UNKNOWN                     Opioid Matter              UNDETERMINED
         HEALTH & HOSPITAL SYSTEM
         ATTN: REGISTERED AGENT AND CHAIR OF THE BOARD                      ACCOUNT NO.:
         OF MANAGERS                                                        NOT AVAILABLE
         5200 HARRY HINES BOULEVARD
         DALLAS, TX 75235



3.3618   Dan Armstrong, in his official capacity as the District Attorney     6/13/2017                   Opioid Matter              UNDETERMINED
         General for the Third Judicial District and on behalf of all
         political subdivisions therein                                     ACCOUNT NO.:
         Attn: Herbert H. Slatery III                                       NOT AVAILABLE
         State of Tennessee Attorney General
         425 5th Avenue North
         Nashville, TN 37243




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Creditor's Name, Mailing Address Including Zip                   Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                              And Account Number                         Claim

Litigation

3.3619   Dan Armstrong, in his official capacity as the District Attorney     6/13/2017                   Opioid Matter              UNDETERMINED
         General for the Third Judicial District and on behalf of all
         political subdivisions therein                                     ACCOUNT NO.:
         Attn: District Attorney General                                    NOT AVAILABLE
         Third Judicial District
         Rogersville Criminal Office - 568 East Main Street
         Rogersville, TN 37857



3.3620   Dan Armstrong, in his official capacity as the District Attorney     6/13/2017                   Opioid Matter              UNDETERMINED
         General for the Third Judicial District and on behalf of all
         political subdivisions therein                                     ACCOUNT NO.:
         Attn: District Attorney General                                    NOT AVAILABLE
         Third Judicial District
         Greenville Criminal Office - 124 Austin Street Suite 3
         Greenville, TN 37745



3.3621   Dan Armstrong, in his official capacity as the District Attorney     6/13/2017                   Opioid Matter              UNDETERMINED
         General for the Third Judicial District and on behalf of all
         political subdivisions therein                                     ACCOUNT NO.:
         Attn: District Attorney General                                    NOT AVAILABLE
         Third Judicial District
         Morristown Criminal Office - 407 West 5th North Street
         Morristown, TN 37814



3.3622   DANE COUNTY, WISCONSIN                                               6/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE BOARD OF SUPERVISORS
         210 MARTIN LUTHER KIND JR. BOULEVARD                               ACCOUNT NO.:
         ROOM 425                                                           NOT AVAILABLE
         MADISON, WI 53703



3.3623   DANE COUNTY, WISCONSIN                                               6/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         210 MARTIN LUTHER KING JR. BOULEVARD                               ACCOUNT NO.:
         ROOM 106A                                                          NOT AVAILABLE
         MADISON, WI 53703



3.3624   DANIEL WILSON                                                        12/27/2018                  Opioid Matter              UNDETERMINED
         ATTN: ROSEMARY PINTO
         FELDMAN AND PINTO                                                  ACCOUNT NO.:
         30 SOUTH 15TH STREET - FIFTEENTH FLOOR                             NOT AVAILABLE
         PHILADELPHIA, PA 19102



3.3625   DARCY C. SHERMAN, INDIVIDUALLY AND ON BEHALF OF                      12/6/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: JARED D SHEPHERD                                             ACCOUNT NO.:
         HOFF BARRY, P.A.                                                   NOT AVAILABLE
         775 PRAIRIE CENTER DRIVE - SUITE 160
         EDEN PRAIRIE, MN 55344



3.3626   DARCY C. SHERMAN, INDIVIDUALLY AND ON BEHALF OF                      12/6/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED V. PURDUE PHARMA
         L.P., ET AL.                                                       ACCOUNT NO.:
         ATTN: SETH MEYER                                                   NOT AVAILABLE
         KELLER LENKNER LLC
         150 N. RIVERSIDE PLAZA - SUITE 2570
         CHICAGO, IL 60606



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3627   DARCY C. SHERMAN, INDIVIDUALLY AND ON BEHALF OF          12/6/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED V. PURDUE PHARMA
         L.P., ET AL.                                          ACCOUNT NO.:
         ATTN: THOMAS R. MCCARTHY                              NOT AVAILABLE
         CONSOVOY MCCARTHY PLLC
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201



3.3628   DARCY C. SHERMAN, INDIVIDUALLY AND ON BEHALF OF          12/6/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED V. PURDUE PHARMA
         L.P., ET AL.                                          ACCOUNT NO.:
         ATTN: MICHAEL H. PARK                                 NOT AVAILABLE
         ATTN: MICHAEL H PARK
         745 FIFTH AVENUE - SUITE 500
         NEW YORK, NY 10151



3.3629   DARCY C. SHERMAN, INDIVIDUALLY AND ON BEHALF OF          12/6/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED V. PURDUE PHARMA
         L.P., ET AL.                                          ACCOUNT NO.:
         ATTN: WILLIAM S. CONSOVOY                             NOT AVAILABLE
         CONSOVOY MCCARTHY PLLC
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201



3.3630   DARCY C. SHERMAN, INDIVIDUALLY AND ON BEHALF OF          12/6/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED V. PURDUE PHARMA
         L.P., ET AL.                                          ACCOUNT NO.:
         ATTN: ASHLEY C. KELLER                                NOT AVAILABLE
         KELLER LENKNER LLC
         150 NORTH RIVERSIDE PLAZA - SUITE 2750
         CHICAGO, IL 60606



3.3631   DARCY C. SHERMAN, INDIVIDUALLY AND ON BEHALF OF          12/6/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED V. PURDUE PHARMA
         L.P., ET AL.                                          ACCOUNT NO.:
         ATTN: TRAVIS LENKNER                                  NOT AVAILABLE
         KELLER LENKNER LLC
         150 N. RIVERSIDE PLAZA - SUITE 2570
         CHICAGO, IL 60606



3.3632   DARE COUNTY                                              5/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER, CLERK AND CHAIRMEN OF
         COUNTY COMMISSIONERS                                  ACCOUNT NO.:
         954 MARSHALL C. COLLINS DRIVE                         NOT AVAILABLE
         MANTEO, NC 27954



3.3633   DARKE COUNTY BOARD OF COUNTY COMMISSIONERS               12/9/2017                   Opioid Matter              UNDETERMINED
         ATTN: BOARD OF COUNTY COMMISSIONERS
         520 SOUTH BROADWAY GREENVILLE                         ACCOUNT NO.:
         GREENVILLE, OH 45331                                  NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip               Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                          And Account Number                         Claim

Litigation

3.3634   DARREN AND ELENA FLANAGAN, INDIVIDUALLY AND AS                   3/21/2018                   Opioid Matter              UNDETERMINED
         ADOPTIVE PARENTS AND NEXT FRIENDS OF BABY K.L.F.,
         ON BEHALF OF THEMSELVES AND ALL OTHERS                        ACCOUNT NO.:
         SIMILARLY SITUATED                                            NOT AVAILABLE
         ATTN: MELISA J. WILLIAMS, ATTORNEY AT LAW
         16980 US HIGHWAY 64
         SOMERVILLE, TN 38068



3.3635   Darren and Elena Flanagan, individually and as adoptive          3/21/2018                   Opioid Matter              UNDETERMINED
         parents and next friends of Baby K.L.F., on behalf of
         themselves and all others similarly situated                  ACCOUNT NO.:
         Attn: MeLisa Janene Williams                                  NOT AVAILABLE
         MeLisa J. Williams, Attorney At Law
         P.O. Box 515
         Somerville, TN 38068



3.3636   DARRYL GEBIEN                                                    5/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: KIRK M. BAERT
         KOSKIE MINSKY LLP                                             ACCOUNT NO.:
         20 QUEEN STREET WEST - SUITE 900, BOX 52                      NOT AVAILABLE
         TORONTO, ON M5H 3R3
         CANADA



3.3637   DARRYL GEBIEN                                                    5/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: ADAM TANEL
         KOSKIE MINSKY LLP                                             ACCOUNT NO.:
         20 QUEEN STREET WEST - SUITE 900, BOX 52                      NOT AVAILABLE
         TORONTO, ON M5H 3R3
         CANADA



3.3638   DAUPHIN COUNTY, PA                                               1/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF DAUPIN COUNTY BOARD OF
         COMISSIONERS                                                  ACCOUNT NO.:
         DAUPHIN COUNTY ADMINISTRATION BUILDING                        NOT AVAILABLE
         2 SOUTH SECOND STREET - 4TH FLOOR
         HARRISBURG, PA 17101



3.3639   DAVE CLARK, IN HIS OFFICIAL CAPACITY AS THE                      9/29/2017                   Opioid Matter              UNDETERMINED
         DISTRICT ATTORNEY GENERAL FOR THE SEVENTH
         JUDICIAL DISTRICT, TN                                         ACCOUNT NO.:
         ATTN: ATTORNEY GENERAL                                        NOT AVAILABLE
         425 5TH AVENUE NORTH
         NASHVILLE, TN 37243



3.3640   DAVE CLARK, IN HIS OFFICIAL CAPACITY AS THE                      9/29/2017                   Opioid Matter              UNDETERMINED
         DISTRICT ATTORNEY GENERAL FOR THE SEVENTH
         JUDICIAL DISTRICT, TN                                         ACCOUNT NO.:
         ATTN: ATTORNEY GENERAL                                        NOT AVAILABLE
         OFFICE OF THE ATTORNEY GENERAL AND REPORTER
         P.O. BOX 20207
         NASHVILLE, TN 37202-0207



3.3641   DAVID DYAR                                                       2/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK/TREASURER
         112 N BROAD STREET                                            ACCOUNT NO.:
         P.O. BOX 537                                                  NOT AVAILABLE
         BOAZ, AL 35957

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Code                                                 And Account Number                          Claim

Litigation

3.3642   DAVID J. DAVIS, IN HIS OFFOCIAL CAPACITY AS THE          5/31/2019                   Opioid Matter              UNDETERMINED
         SHERRIFF OF BIBB COUNTY, GEORGIA
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS          ACCOUNT NO.:
         700 POPULAR STREET                                    NOT AVAILABLE
         MACON, GA 31201



3.3643   DAVIDSON COUNTY                                         11/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER & CHAIRMAN OF THE COUNTY
         COMMISSIONERS                                         ACCOUNT NO.:
         913 GREENSBORO STREET                                 NOT AVAILABLE
         LEXINGTON, NC 27292



3.3644   DAVIDSON COUNTY                                         11/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER & CHAIRMAN OF THE COUNTY
         COMMISSIONERS                                         ACCOUNT NO.:
         PO BOX 1067                                           NOT AVAILABLE
         LEXINGTON, NC 27292



3.3645   DAVIE COUNTY                                            10/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER
         123 SOUTH MAIN STREET                                 ACCOUNT NO.:
         SECOND FLOOR                                          NOT AVAILABLE
         MOCKSVILLE, NC 27028



3.3646   DAVIE COUNTY                                            10/15/2018                   Opioid Matter              UNDETERMINED
         123 SOUTH MAIN STREET
         MOCKVILLE, NC 27028                                   ACCOUNT NO.:
                                                               NOT AVAILABLE


3.3647   DAVIE COUNTY                                             12/6/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER
         123 S MAIN ST.                                        ACCOUNT NO.:
         SECOND FLOOR                                          NOT AVAILABLE
         MOCKSVILLE, NC 27028



3.3648   DAVIE COUNTY                                             12/6/2018                   Opioid Matter              UNDETERMINED
         299 JAMES WAY
         BERMUDA RUN, NC 27006                                 ACCOUNT NO.:
                                                               NOT AVAILABLE


3.3649   DAVIS COUNTY                                             8/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         DAVIS COUNTY ADMIN BUILDING                           ACCOUNT NO.:
         61 SOUTH MAIN STREET - ROOM 104                       NOT AVAILABLE
         FARMINGTON, UT 84025



3.3650   DAVIS COUNTY                                             8/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         800 WEST STATE STREET                                 ACCOUNT NO.:
         FARMINGTON, UT 84025                                  NOT AVAILABLE



3.3651   DAVIS MEMORIAL HOSPITAL                                  4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT
         P.O. BOX 243                                          ACCOUNT NO.:
         ELKANS, WV 26241                                      NOT AVAILABLE


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Code                                                 And Account Number                          Claim

Litigation

3.3652   DAVIS MEMORIAL HOSPITAL                                  4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         REED STREET & GORMAN AVENUE                           ACCOUNT NO.:
         ELKANS, WV 26241                                      NOT AVAILABLE



3.3653   DAVIS MEMORIAL HOSPITAL                                  4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT & CEO
         812 CORMAN AVENUE                                     ACCOUNT NO.:
         ELKINS, WV 26241                                      NOT AVAILABLE



3.3654   DAWSON COUNTY, GEORGIA                                   3/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE DAWSON COUNTY BOARD
         OF COMMISSIONERS                                      ACCOUNT NO.:
         25 JUSTICE WAY, SUITE 2313                            NOT AVAILABLE
         DAWSONVILLE, GA 30534



3.3655   DAY, CHRISTOPHER                                         1/24/2018                    Automobile                UNDETERMINED
         NOT AVAILABLE
                                                               ACCOUNT NO.:
                                                               AB22025355301


3.3656   DEBORAH DIXON, AS NEXT FRIEND AND GUARDIAN OF            6/20/2019                   Opioid Matter              UNDETERMINED
         BABY S.E.T
         ATTN: CELESTE BRUSTOWICZ                              ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                  NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.3657   DEBORAH GREEN-KUCHTA, INDIVIDUALLY AND ON               10/15/2018                   Opioid Matter              UNDETERMINED
         BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: MICHAEL D. BORNITZ                              ACCOUNT NO.:
         CUTLER LAW FRIM, LLP                                  NOT AVAILABLE
         140 NORTH PHILLIPS AVENUE - 4TH FLOOR
         SIOUX FALLS, SD 57104



3.3658   DEBORAH GREEN-KUCHTA, INDIVIDUALLY AND ON               10/15/2018                   Opioid Matter              UNDETERMINED
         BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: WILLIAM S. CONSOVOY                             ACCOUNT NO.:
         CONSOVOY MCCARTHY PARK PLLC                           NOT AVAILABLE
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201



3.3659   DEBORAH GREEN-KUCHTA, INDIVIDUALLY AND ON               10/15/2018                   Opioid Matter              UNDETERMINED
         BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: SETH MEYER                                      ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 2570
         CHICAGO, IL 60606



3.3660   DEBORAH GREEN-KUCHTA, INDIVIDUALLY AND ON               10/15/2018                   Opioid Matter              UNDETERMINED
         BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: MICHAEL H. PARK                                 ACCOUNT NO.:
         ATTN: MICHAEL H PARK                                  NOT AVAILABLE
         745 FIFTH AVENUE - SUITE 500
         NEW YORK, NY 10151



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3661   DEBORAH GREEN-KUCHTA, INDIVIDUALLY AND ON               10/15/2018                   Opioid Matter              UNDETERMINED
         BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: TRAVIS LENKNER                                  ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 2570
         CHICAGO, IL 60606



3.3662   DEBORAH GREEN-KUCHTA, INDIVIDUALLY AND ON               10/15/2018                   Opioid Matter              UNDETERMINED
         BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: ASHLEY C. KELLER                                ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 2750
         CHICAGO, IL 60606



3.3663   DEBORAH GREEN-KUCHTA, INDIVIDUALLY AND ON               10/15/2018                   Opioid Matter              UNDETERMINED
         BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: THOMAS R. MCCARTHY                              ACCOUNT NO.:
         CONSOVOY MCCARTHY PARK PLLC                           NOT AVAILABLE
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201



3.3664   DEBRA DAWSEY, INDIVIDUALLY AND ON BEHALF OF ALL          2/6/2019                    Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: SETH ADAM MEYER                                 ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 N RIVERSIDE PLZ. - STE. 4270
         CHICAGO, IL 60606



3.3665   DEBRA DAWSEY, INDIVIDUALLY AND ON BEHALF OF ALL          2/6/2019                    Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: ASHLEY C. KELLER                                ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 2750
         CHICAGO, IL 60606



3.3666   DEBRA DAWSEY, INDIVIDUALLY AND ON BEHALF OF ALL          2/6/2019                    Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED V. PURDUE PHARMA L.P.,
         ET AL.                                                ACCOUNT NO.:
         ATTN: THOMAS R. MCCARTHY                              NOT AVAILABLE
         CONSOVOY MCCARTHY PLLC
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201



3.3667   DEBRA DAWSEY, INDIVIDUALLY AND ON BEHALF OF ALL          2/6/2019                    Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED V. PURDUE PHARMA L.P.,
         ET AL.                                                ACCOUNT NO.:
         ATTN: WILLIAM S. CONSOVOY                             NOT AVAILABLE
         CONSOVOY MCCARTHY PLLC
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3668   DEBRA DAWSEY, INDIVIDUALLY AND ON BEHALF OF ALL          2/6/2019                    Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED V. PURDUE PHARMA L.P.,
         ET AL.                                                ACCOUNT NO.:
         ATTN: PATRICK A. BARTHLE II                           NOT AVAILABLE
         MORGAN & MORGAN, P.A.
         COMPLEX LITIGATION GROUP - 201 N. FRANKLIN
         STREET, 7TH FLOOR
         TAMPA, FL 33602



3.3669   DEBRA DAWSEY, INDIVIDUALLY AND ON BEHALF OF ALL          2/6/2019                    Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED V. PURDUE PHARMA L.P.,
         ET AL.                                                ACCOUNT NO.:
         ATTN: JUAN R. MARTINEZ                                NOT AVAILABLE
         MORGAN & MORGAN, P.A.
         COMPLEX LITIGATION GROUP - 201 N. FRANKLIN
         STREET, 7TH FLOOR
         TAMPA, FL 33602



3.3670   DEBRA DAWSEY, INDIVIDUALLY AND ON BEHALF OF ALL          2/6/2019                    Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED V. PURDUE PHARMA L.P.,
         ET AL.                                                ACCOUNT NO.:
         ATTN: JOHN A. YANCHUNIS                               NOT AVAILABLE
         MORGAN & MORGAN
         COMPLEX LITIGATION GROUP - 201 NORTH FRANKLIN
         STREET, 7TH FLOOR
         TAMPA, FL 33602



3.3671   DEBRA DAWSEY, INDIVIDUALLY AND ON BEHALF OF ALL          2/6/2019                    Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED V. PURDUE PHARMA L.P.,
         ET AL.                                                ACCOUNT NO.:
         ATTN: TRAVIS LENKNER                                  NOT AVAILABLE
         KELLER LENKNER LLC
         150 N. RIVERSIDE PLAZA - SUITE 2570
         CHICAGO, IL 60606



3.3672   DEBRA DAWSEY, INDIVIDUALLY AND ON BEHALF OF ALL          2/6/2019                    Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED V. PURDUE PHARMA L.P.,
         ET AL.                                                ACCOUNT NO.:
         ATTN: JAMES YOUNG                                     NOT AVAILABLE
         MORGAN & MORGAN, P.A.
         COMPLEX LITIGATION GROUP - 76 S. LAURA ST., SUITE
         1100
         JACKSONVILLE, FL 32202



3.3673   DECATUR COUNTY, GEORGIA                                  3/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF DECATUR COUNTY BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         PO BOX 726                                            NOT AVAILABLE
         BAINBRIDGE, GA 39818



3.3674   DEKALB COUNTY                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         732 SOUTH CONGRESS BOULEVARD                          ACCOUNT NO.:
         SMITHVILLE, TN 37166                                  NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                         Claim

Litigation

3.3675   DEKALB COUNTY                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         DEKALB COUNTY COURTHOUSE                              ACCOUNT NO.:
         1 PUBLIC SQUARE - ROOM 204                            NOT AVAILABLE
         SMITHVILLE, TN 37166



3.3676   DELAWARE COUNTY                                          7/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS
         100 WEST MAIN STREET                                  ACCOUNT NO.:
         MUNCIE, IN 47305                                      NOT AVAILABLE



3.3677   DELAWARE COUNTY                                          7/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: CURTIS T. HILL, JR.
         STATE OF INDIANA ATTORNEY GENERAL                     ACCOUNT NO.:
         INDIANA GOVERNMENT CENTER SOUTH - 5TH FLOOR -         NOT AVAILABLE
         302 WEST WASHINGTON STREET
         INDIANAPOLIS, IN 46204



3.3678   DELAWARE COUNTY BOARD OF COUNTY                          2/28/2018                   Opioid Matter              UNDETERMINED
         COMMISSIONERS
         145 N. UNION STREET                                   ACCOUNT NO.:
         3RD FLOOR                                             NOT AVAILABLE
         DELAWARE, OH 43015



3.3679   DELAWARE COUNTY BOARD OF COUNTY                          2/28/2018                   Opioid Matter              UNDETERMINED
         COMMISSIONERS
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS          ACCOUNT NO.:
         101 N. SANDUSKY STREET                                NOT AVAILABLE
         DELAWARE, OH 43015



3.3680   DELAWARE COUNTY, PENNSYLVANIA                            9/21/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, COUNHTY COUNCIL
         201 WEST FRONT STREET                                 ACCOUNT NO.:
         MEDIA, PA 19063                                       NOT AVAILABLE



3.3681   DELAWARE NATION                                          7/26/2019                   Opioid Matter              UNDETERMINED
         ATTN: DANIEL M. DELLUOMO
         DELLUOMO & CROW                                       ACCOUNT NO.:
         6812 N. ROBINSON AVENUE                               NOT AVAILABLE
         OKLAHOMA CITY, OK 73116



3.3682   DELAWARE NATION                                          7/26/2019                   Opioid Matter              UNDETERMINED
         ATTN: MATTHEW J. SILL
         FULMERS SILL LAW GROUP                                ACCOUNT NO.:
         P.O. BOX 2448 - 1101 N. BROADWAY AVENUE, SUITE 102    NOT AVAILABLE
         OKLAHOMA CITY, OK 73103



3.3683   DELAWARE NATION                                          7/26/2019                   Opioid Matter              UNDETERMINED
         ATTN: HARRISON C. LUJAN
         FULMERS SILL LAW GROUP                                ACCOUNT NO.:
         P.O. BOX 2448 - 1101 N. BROADWAY AVENUE, SUITE 102    NOT AVAILABLE
         OKLAHOMA CITY, OK 73103




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3684   DELAWARE NATION                                          7/26/2019                   Opioid Matter              UNDETERMINED
         ATTN: CURTIS "MUSKRAT" BRUEH
         BRUEHL LAW FIRM, PLLC                                 ACCOUNT NO.:
         14005 N. EASTERN AVENUE                               NOT AVAILABLE
         EDMOND, OK 73013



3.3685   DELAWARE NATION                                          7/26/2019                   Opioid Matter              UNDETERMINED
         HARRISON C. LUJAN
         FULMER SILL LAW GROUP                                 ACCOUNT NO.:
         P.O. BOX 2448 - 1101 NORTH BROADWAY AVENUE, SUITE     NOT AVAILABLE
         102
         OKLAHOMA CITY, OK 73103



3.3686   DELAWARE NATION                                          7/26/2019                   Opioid Matter              UNDETERMINED
         MATTHEW J. SILL
         FULMER SILL LAW GROUP                                 ACCOUNT NO.:
         P.O. BOX 2448 - 1101 NORTH BROADWAY AVENUE, SUITE     NOT AVAILABLE
         102
         OKLAHOMA CITY, OK 73103



3.3687   DELAWARE NATION                                          7/26/2019                   Opioid Matter              UNDETERMINED
         DANIEL M. DELLUOMO
         DELLUOMO & CROW                                       ACCOUNT NO.:
         6812 NORTH ROBINSON AVENUE                            NOT AVAILABLE
         OKLAHOMA CITY, OK 73116



3.3688   DELAWARE NATION                                          7/26/2019                   Opioid Matter              UNDETERMINED
         CURTIS "MUSKRAT" BRUEHL
         THE BRUEHL LAW FIRM, PLLC                             ACCOUNT NO.:
         14005 NORTH EASTERN AVENUE                            NOT AVAILABLE
         EDMOND, OK 73013



3.3689   DELAWARE NATION                                          7/26/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         P.O. BOX 825                                          ACCOUNT NO.:
         ANADARKO, OK 73005                                    NOT AVAILABLE



3.3690   DELAWARE NATION                                          7/26/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         31064 US HIGHWAY 281                                  ACCOUNT NO.:
         BUILDING 100                                          NOT AVAILABLE
         ANADARKO, OK 73005



3.3691   DENT COUNTY                                              1/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF COMMISSIONERS; COUNTY CLERK
         400 N. MAIN STREET                                    ACCOUNT NO.:
         SALEM, MO 65560                                       NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip               Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                          And Account Number                         Claim

Litigation

3.3692   DERIC REES AND CEONDA REES, INDIVIDUALLY AND AS                  2/28/2018                   Opioid Matter              UNDETERMINED
         NEXT FRIEND AND GUARDIAN OF BABY T.W.B. ON
         BEHALF OF THEMSELVES AND ALL OTHERS SIMILARLY                 ACCOUNT NO.:
         SITUATED                                                      NOT AVAILABLE
         ATTN: ANTHONY D. GRAY
         JOHNSON GRAY, LLC
         319 NORTH 4TH STREET - SUITE 212
         ST. LOUIS, MO 63102



3.3693   Deric Rees and Ceonda Rees, individually and as next friend      2/28/2018                   Opioid Matter              UNDETERMINED
         and guardian of baby T.W.B. on behalf of themselves and all
         others similarly situated                                     ACCOUNT NO.:
         Attn: James F. Clayborne, Jr.                                 NOT AVAILABLE
         Clayborne, Sabo and Wagner LLP
         525 West Main Street, Suite 105
         Belleville, IL 62220



3.3694   DERIC REES AND CEONDA REES, INDIVIDUALLY AND AS                  2/28/2018                   Opioid Matter              UNDETERMINED
         NEXT FRIEND AND GUARDIAN OF BABY T.W.B. ON
         BEHALF OF THEMSELVES AND ALL OTHERS SIMILARLY                 ACCOUNT NO.:
         SITUATED                                                      NOT AVAILABLE
         ATTN: DAVID R. BARNEY, JR.
         THOMPSON BARNEY LAW FIRM
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311



3.3695   DES MOINES COUNTY                                                3/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: AUDITOR; CHAIR OF SUPERVISORS
         513 NORTH MAIN STREET                                         ACCOUNT NO.:
         P.O. BOX 784                                                  NOT AVAILABLE
         BURLINGTON, IA 52601



3.3696   DESIRAE WARREN, INDIVIDUALLY AND AS NEXT FRIEND                  6/16/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY A.W., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                  ACCOUNT NO.:
         ATTN: KENT HARRISON ROBBINS                                   NOT AVAILABLE
         THE LAW OFFICE OF KENT HARRISON ROBBINS, P.A.
         242 NORTHEAST 27TH STREET
         MIAMI, FL 33137



3.3697   DESIRAE WARREN, INDIVIDUALLY AND AS NEXT FRIEND                  6/16/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY A.W., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                  ACCOUNT NO.:
         ATTN: SPENCER R. DOODY                                        NOT AVAILABLE
         MARTZELL, BICKFORD & CENTOLA
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.3698   DESIRAE WARREN, INDIVIDUALLY AND AS NEXT FRIEND                  6/16/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY A.W., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                  ACCOUNT NO.:
         ATTN: STEPHEN WUSSOW                                          NOT AVAILABLE
         COOPER LAW FIRM
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130




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Creditor's Name, Mailing Address Including Zip                 Date Claim Was Incurred     C U     D    Basis For      Offset   Amount of Claim
Code                                                            And Account Number                        Claim

Litigation

3.3699   DESIRAE WARREN, INDIVIDUALLY AND AS NEXT FRIEND                     6/16/2019                 Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY A.W., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                      ACCOUNT NO.:
         ATTN: DONALD E. CREADORE                                          NOT AVAILABLE
         CREADOR LAW FIRM
         450 SEVENTH AVENUE - SUITE 1408
         NEW YORK, NY 10123



3.3700   Desirae Warren, individually and as next friend and guardian of     6/16/2019                 Opioid Matter              UNDETERMINED
         Baby A.W., on behalf of themselves and all others similarly
         situated                                                          ACCOUNT NO.:
         Attn: Kevin W. Thompson, David R. Barney, Jr.                     NOT AVAILABLE
         Thompson Barney Law Firm
         2030 Kanawha Boulevard, East
         Charleston, WV 25311



3.3701   DESIRAE WARREN, INDIVIDUALLY AND AS NEXT FRIEND                     6/16/2019                 Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY A.W., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                      ACCOUNT NO.:
         ATTN: CELESTE BRUSTOWICZ, STEPHEN H. WUSSOW                       NOT AVAILABLE
         COOPER LAW FIRM, LLC
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.3702   DESIRAE WARREN, INDIVIDUALLY AND AS NEXT FRIEND                     6/16/2019                 Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY A.W., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                      ACCOUNT NO.:
         ATTN: SCOTT R. BICKFORD                                           NOT AVAILABLE
         MARTZELL, BICKFORD & CENTOLA
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.3703   DESIRAE WARREN, INDIVIDUALLY AND AS NEXT FRIEND                     6/16/2019                 Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY A.W., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                      ACCOUNT NO.:
         ATTN: DAVID R. BARNEY, JR.                                        NOT AVAILABLE
         THOMPSON BARNEY LAW FIRM
         2030 KANAWHA BOULEVARD EAST
         CHARLESTON, WV 25311



3.3704   DESIREE CARLSON, INDIVIDUALLY AND AS NEXT FRIEND                    6/16/2019                 Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY J.S., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                      ACCOUNT NO.:
         ATTN: SPENCER R. DOODY                                            NOT AVAILABLE
         MARTZELL, BICKFORD & CENTOLA
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.3705   DESIREE CARLSON, INDIVIDUALLY AND AS NEXT FRIEND                    6/16/2019                 Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY J.S., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                      ACCOUNT NO.:
         ATTN: KENT HARRISON ROBBINS                                       NOT AVAILABLE
         THE LAW OFFICE OF KENT HARRISON ROBBINS, P.A.
         242 NORTHEAST 27TH STREET
         MIAMI, FL 33137




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Creditor's Name, Mailing Address Including Zip                  Date Claim Was Incurred    C U      D    Basis For      Offset   Amount of Claim
Code                                                             And Account Number                        Claim

Litigation

3.3706   DESIREE CARLSON, INDIVIDUALLY AND AS NEXT FRIEND                   6/16/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY J.S., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
         ATTN: CELESTE BRUSTOWICZ, STEPHEN H. WUSSOW                      NOT AVAILABLE
         COOPER LAW FIRM, LLC
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.3707   DESIREE CARLSON, INDIVIDUALLY AND AS NEXT FRIEND                   6/16/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY J.S., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
         ATTN: SCOTT R. BICKFORD                                          NOT AVAILABLE
         MARTZELL, BICKFORD & CENTOLA
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.3708   DESIREE CARLSON, INDIVIDUALLY AND AS NEXT FRIEND                   6/16/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY J.S., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
         ATTN: DONALD E. CREADORE                                         NOT AVAILABLE
         CREADOR LAW FIRM
         450 SEVENTH AVENUE - SUITE 1408
         NEW YORK, NY 10123



3.3709   DESIREE CARLSON, INDIVIDUALLY AND AS NEXT FRIEND                   6/16/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY J.S., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
         ATTN: DAVID R. BARNEY JR.                                        NOT AVAILABLE
         THOMPSON BARNEY LAW FIRM
         2030 KANAWHA BOULEVARD EAST
         CHARLESTON, WV 25311



3.3710   DESIREE CARLSON, INDIVIDUALLY AND AS NEXT FRIEND                   6/16/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY J.S., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
         ATTN: STEPHEN WUSSOW                                             NOT AVAILABLE
         COOPER LAW FIRM
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.3711   Desiree Carlson, individually and as next friend and guardian      6/16/2019                   Opioid Matter              UNDETERMINED
         of Baby J.S., on behalf of themselves and all others similarly
         situated                                                         ACCOUNT NO.:
         Attn: Kevin W. Thompson, David R. Barney, Jr.                    NOT AVAILABLE
         Thompson Barney Law Firm
         2030 Kanawha Boulevard, East
         Charleston, WV 25311



3.3712   DESOTO COUNTY, MISSISSIPPI                                          6/3/2019                   Opioid Matter              UNDETERMINED
         ATTN: CLERK OF THE BOARD OF SUPERVISORS
         365 LOSHER STREET                                                ACCOUNT NO.:
         SUITE 300                                                        NOT AVAILABLE
         HERNANDO, MS 38632




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3713   DESOTO FIRE PROTECTION DISTRICT NO. 8                   10/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: FIRE CHIEF
         13011 HWY 175                                         ACCOUNT NO.:
         MANSFIELD, LA 71052                                   NOT AVAILABLE



3.3714   DETROIT WAYNE MENTAL HEALTH AUTHORITY                   11/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON, SECRETARY, BOARD OF
         DIRECTORS, AND CEO/PRESIDENT                          ACCOUNT NO.:
         707 W. MILWAUKEE AVE                                  NOT AVAILABLE
         DETROIT, MI 48202



3.3715   DEVILS LAKE                                              6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY COMMISSIONERS
         CITY COMMISSION                                       ACCOUNT NO.:
         423 6TH STREET NE                                     NOT AVAILABLE
         DEVILS LAKE, ND 53801



3.3716   DICKENSON COMMUNITY HOSPITAL                             7/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         TIMOTHY BELISLE, GENERAL COUNSEL                      ACCOUNT NO.:
         400 NORTH STATE OF FRANKLIN ROAD - JOHNSON CITY       NOT AVAILABLE
         MEDICAL CENTER
         JOHNSON CITY, TN 37604-6035



3.3717   DICKENSON COMMUNITY HOSPITAL                             7/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: MARK VANOVER, CEO
         312 HOSPITAL DRIVE                                    ACCOUNT NO.:
         CLINTWOOD, VA 24228                                   NOT AVAILABLE



3.3718   DICKENSON COMMUNITY HOSPITAL                             7/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: TENNESSEE SECRETARY OF STATE
         312 ROSA L. PARKS AVENUE                              ACCOUNT NO.:
         SNODGRASS TOWER, 6TH FLOOR - BALLAD HEALTH            NOT AVAILABLE
         NOTICE AGENT
         NASHVILLE, TN 37243-1102



3.3719   DICKENSON COUNTY                                         3/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: COMMONWEALTH'S ATTORNEY
         293 CLINTWOOD MAIN STREET                             ACCOUNT NO.:
         CLINTWOOD, VA 24228                                   NOT AVAILABLE



3.3720   DIDOMENICO, CHRISTINE R                                  3/27/2011                     Workers                  UNDETERMINED
         NOT AVAILABLE                                                                        Compensation
                                                               ACCOUNT NO.:
                                                                WC390A11531


3.3721   DINWIDDIE COUNTY, VIRGINIA                               4/4/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNY
         P.O. DRAWER 70                                        ACCOUNT NO.:
         DINWIDDIE, VA 23841                                   NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.3722   DINWIDDIE COUNTY, VIRGINIA                               4/4/2019                    Opioid Matter              UNDETERMINED
         ATTN: ATTORNEY FOR THE COMMONWEALTH
         P.O. BOX 296                                          ACCOUNT NO.:
         DINWIDDIE, VA 23841                                   NOT AVAILABLE



3.3723   DIRECTOR OF LAW FOR THE CITY OF AKRON, EVE              12/20/2017                   Opioid Matter              UNDETERMINED
         BELFANCE
         ATTN: DIRECTOR OF LAW                                 ACCOUNT NO.:
         161 SOUTH HIGH STREET                                 NOT AVAILABLE
         SUITE 202
         AKRON, OH 44308



3.3724   DISCTRICT OF COLUMBIA                                    6/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: ATTORNEY GENERAL
         441 4TH STREET NW                                     ACCOUNT NO.:
         WASHINGTON, DC 20001                                  NOT AVAILABLE



3.3725   DISTRIC ATTORNEY GENERAL - 10TH JUDICIAL DISTRICT        9/29/2017                   Opioid Matter              UNDETERMINED
         WALL, MICHAEL J.
         BRANSTETTER, STRANCH & JENNINGS, PLLC                 ACCOUNT NO.:
         223 ROSA L. PARKS AVENUE - SUITE 200                  NOT AVAILABLE
         NASHVILLE, TN 37203



3.3726   DISTRIC ATTORNEY GENERAL - 12TH JUDICIAL DISTRICT        9/29/2017                   Opioid Matter              UNDETERMINED
         WALL, MICHAEL J.
         BRANSTETTER, STRANCH & JENNINGS, PLLC                 ACCOUNT NO.:
         223 ROSA L. PARKS AVENUE - SUITE 200                  NOT AVAILABLE
         NASHVILLE, TN 37203



3.3727   DISTRIC ATTORNEY GENERAL - 4TH JUDICIAL DISTRICT         9/29/2017                   Opioid Matter              UNDETERMINED
         WALL, MICHAEL J.
         BRANSTETTER, STRANCH & JENNINGS, PLLC                 ACCOUNT NO.:
         223 ROSA L. PARKS AVENUE - SUITE 200                  NOT AVAILABLE
         NASHVILLE, TN 37203



3.3728   DISTRIC ATTORNEY GENERAL - 7TH JUDICIAL DISTRICT         9/29/2017                   Opioid Matter              UNDETERMINED
         WALL, MICHAEL J.
         BRANSTETTER, STRANCH & JENNINGS, PLLC                 ACCOUNT NO.:
         223 ROSA L. PARKS AVENUE - SUITE 200                  NOT AVAILABLE
         NASHVILLE, TN 37203



3.3729   DISTRIC ATTORNEY GENERAL - 8TH JUDICIAL DISTRICT         9/29/2017                   Opioid Matter              UNDETERMINED
         WALL, MICHAEL J.
         BRANSTETTER, STRANCH & JENNINGS, PLLC                 ACCOUNT NO.:
         223 ROSA L. PARKS AVENUE - SUITE 200                  NOT AVAILABLE
         NASHVILLE, TN 37203



3.3730   DISTRIC ATTORNEY GENERAL - 9TH JUDICIAL DISTRICT         9/29/2017                   Opioid Matter              UNDETERMINED
         WALL, MICHAEL J.
         BRANSTETTER, STRANCH & JENNINGS, PLLC                 ACCOUNT NO.:
         223 ROSA L. PARKS AVENUE - SUITE 200                  NOT AVAILABLE
         NASHVILLE, TN 37203




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3731   DISTRICT OF COLUMBIA                                     6/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: KARL A. RACINE
         DISTRICT OF COLUMBIA ATTORNEY GENERAL                 ACCOUNT NO.:
         441 4TH STREET, NW, SUITE 1100S                       NOT AVAILABLE
         WASHINGTON, DC 20001



3.3732   DISTRICT OF COLUMBIA                                     6/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: ATTORNEY GENERAL
         441 4TH STREET NW                                     ACCOUNT NO.:
         WASHINGTON, DC 20001                                  NOT AVAILABLE



3.3733   DISTRICT OF COLUMBIA                                     6/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         OFFICE OF THE MAYOR                                   ACCOUNT NO.:
         1350 PENNSYLVANIA AVENUE NW                           NOT AVAILABLE
         WASHINGTON, DC 20004



3.3734   DISTRICT OF COLUMBIA                                     6/3/2019                    Opioid Matter              UNDETERMINED
         BEN WISEMAN
         OFFICE OF ATTORNEY GENERAL                            ACCOUNT NO.:
         441 4TH STREET, NORTHWEST - SUITE 600 SOUTH           NOT AVAILABLE
         WASHINGTON, DC 20001



3.3735   DISTRICT OF COLUMBIA                                     6/3/2019                    Opioid Matter              UNDETERMINED
         WENDY J. WEINBERG
         OFFICE OF ATTORNEY GENERAL                            ACCOUNT NO.:
         441 4TH STREET NORTHWEST - SUITE 600 SOUTH            NOT AVAILABLE
         WASHINGTON, DC 20001



3.3736   DIXIE COUNTY, FLORIDA                                    6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS
         DIXIE COUNTY COURTHOUSE                               ACCOUNT NO.:
         214 NE 351 HIGHWAY                                    NOT AVAILABLE
         CROSS CITY, FL 32628



3.3737   DIXIE COUNTY, FLORIDA                                    6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS
         214 NORTHEAST 351 HIGHWAY                             ACCOUNT NO.:
         PO BOX 2600                                           NOT AVAILABLE
         CROSS CITY, FL 32628



3.3738   DODDRIDGE COUNTY COMMISSION                              9/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: COMMISSION PRESIDENT
         101 CHURCH STREET, SUITE 101                          ACCOUNT NO.:
         WEST UNION, WV 26456                                  NOT AVAILABLE



3.3739   DODDRIDGE COUNTY COMMISSION                              9/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: DODDRIDGE COUNTY PROSECUTING ATTORNEY
         P.O. BOX 125                                          ACCOUNT NO.:
         108 COURT STREET                                      NOT AVAILABLE
         WEST UNION, WV 26456




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Code                                                 And Account Number                          Claim

Litigation

3.3740   DODDRIDGE COUNTY COMMISSION                              9/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: DODDRIDGE COUNTY CLERK
         108 EAST COURT STREET, SUITE 1                        ACCOUNT NO.:
         WEST UNION, WV 26456                                  NOT AVAILABLE



3.3741   DODDRIDGE COUNTY COMMISSION                              9/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: DODDRIDGE COUNTY PROSECUTING ATTORNEY:
         108 COURT STREET                                      ACCOUNT NO.:
         WEST UNION, WV 26456                                  NOT AVAILABLE



3.3742   DODDRIDGE COUNTY COMMISSION                              9/28/2018                   Opioid Matter              UNDETERMINED
         MARK A. COLANTONIO
         FITZSIMMONS LAW FIRM PLLC                             ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26003



3.3743   DODDRIDGE COUNTY COMMISSION                              9/28/2018                   Opioid Matter              UNDETERMINED
         SHAYNA E. SACKS
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.3744   DODDRIDGE COUNTY COMMISSION                              9/28/2018                   Opioid Matter              UNDETERMINED
         JOSEPH L. CIACCIO
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.3745   DODDRIDGE COUNTY COMMISSION                              9/28/2018                   Opioid Matter              UNDETERMINED
         JOSEPH F. SHAFFER
         SHAFFER MADIA LAW PLLC                                ACCOUNT NO.:
         343 WEST MAIN STREET                                  NOT AVAILABLE
         CLARKSBURG, WV 26301



3.3746   DODDRIDGE COUNTY COMMISSION                              9/28/2018                   Opioid Matter              UNDETERMINED
         HUNTER J. SHKOLNIK
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.3747   DODDRIDGE COUNTY COMMISSION                              9/28/2018                   Opioid Matter              UNDETERMINED
         SALVATORE C. BADALA
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.3748   DODDRIDGE COUNTY COMMISSION                              9/28/2018                   Opioid Matter              UNDETERMINED
         ROBERT P. FITZSIMMONS
         FITZSIMMONS LAW FIRM PLLC                             ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26003




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3749   DODDRIDGE COUNTY COMMISSION                              9/28/2018                   Opioid Matter              UNDETERMINED
         CLAYTON J. FITZSIMMONS
         FITZSIMMONS LAW FIRM PLLC                             ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26003



3.3750   DODDRIDGE COUNTY COMMISSION                              9/28/2018                   Opioid Matter              UNDETERMINED
         SAMUEL D. MADIA
         SHAFFER MADIA LAW PLLC                                ACCOUNT NO.:
         343 WEST MAIN STREET                                  NOT AVAILABLE
         CLARKSBURG, WV 26301



3.3751   DODDRIDGE COUNTY COMMISSION                              9/28/2018                   Opioid Matter              UNDETERMINED
         PAUL J. NAPOLI
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.3752   DODGE COUNTY                                            11/28/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK AND CHAIRPERSON OF THE
         BOARD                                                 ACCOUNT NO.:
         127 EAST OAK STREET                                   NOT AVAILABLE
         JUNEAU, WI 53039



3.3753   DODGE COUNTY HOSPITAL AUTHORITY D/B/A DODGE              6/22/2018                   Opioid Matter              UNDETERMINED
         COUNTY HOSPITAL
         ATTN: DODGE COUNTY COMMISSIONERS                      ACCOUNT NO.:
         PO BOX 818                                            NOT AVAILABLE
         EASTMAN, GA 31023



3.3754   DODGE COUNTY HOSPITAL AUTHORITY D/B/A DODGE              6/22/2018                   Opioid Matter              UNDETERMINED
         COUNTY HOSPITAL
         ATTN: DODGE COUNTY HOSPITAL AUTHORITY                 ACCOUNT NO.:
         C/O PAUL JONES, CHAIRMAN (2015 APPOINTEE)             NOT AVAILABLE
         1367 MILAN-EASTMAN ROAD
         EASTMAN, GA 31023



3.3755   DODGE COUNTY HOSPITAL AUTHORITY D/B/A DODGE              6/22/2018                   Opioid Matter              UNDETERMINED
         COUNTY HOSPITAL
         ATTN: REGISTERED AGENT                                ACCOUNT NO.:
         5425 ANSON AVENUE                                     NOT AVAILABLE
         EASTMAN, GA 31023



3.3756   DODGE COUNTY HOSPITAL AUTHORITY D/B/A DODGE              6/22/2018                   Opioid Matter              UNDETERMINED
         COUNTY HOSPITAL
         ATTN: BOARD OF COMMISSIONERS; HOSPITAL                ACCOUNT NO.:
         AUTHORITY                                             NOT AVAILABLE
         C/O COUNTY CLERK; COUNTY ATTORNEY
         5016 COURTHOUSE CIRCLE
         EASTMAN, GA 31023




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3757   DODGE COUNTY HOSPITAL AUTHORITY D/B/A DODGE              6/22/2018                   Opioid Matter              UNDETERMINED
         COUNTY HOSPITAL
         ATTN: CHIEF OF STAFF; CHIEF EXECUTIVE OFFICER         ACCOUNT NO.:
         901 GRIFFIN AVENUE                                    NOT AVAILABLE
         EASTMAN, GA 31023



3.3758   DOE#1, BABY                                              9/29/2017                   Opioid Matter              UNDETERMINED
         WALL, MICHAEL J.
         BRANSTETTER, STRANCH & JENNINGS, PLLC                 ACCOUNT NO.:
         223 ROSA L. PARKS AVENUE - SUITE 200                  NOT AVAILABLE
         NASHVILLE, TN 37203



3.3759   DOE2, BABY                                               9/29/2017                   Opioid Matter              UNDETERMINED
         WALL, MICHAEL J.
         BRANSTETTER, STRANCH & JENNINGS, PLLC                 ACCOUNT NO.:
         223 ROSA L. PARKS AVENUE - SUITE 200                  NOT AVAILABLE
         NASHVILLE, TN 37203



3.3760   DOOLY COUNTY, GEORGIA                                    6/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         113 N. THIRD STREET                                   ACCOUNT NO.:
         ROOM #1                                               NOT AVAILABLE
         VIENNA, GA 31092



3.3761   DOOR COUNTY                                              11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND CHAIR OF THE BOARD OF
         SUPERVISORS AND COUNTY ADMINISTRATOR                  ACCOUNT NO.:
         421 NEBRASKA STREET                                   NOT AVAILABLE
         STURGEON BAY, WI 54235



3.3762   DORA LAWRENCE, INDIVIDUALLY AND ON BEHALF OF             8/21/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: ASHLEY C. KELLER                                ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 2750
         CHICAGO, IL 60606



3.3763   DORA LAWRENCE, INDIVIDUALLY AND ON BEHALF OF             8/21/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: JASON S. MCMANIS                                ACCOUNT NO.:
         AHMAD, ZAVITSANOS, ANAIPAKOS, ALAVI & MENSING PC      NOT AVAILABLE
         1221 MCKINNEY, SUITE 2500
         HOUSTON, TX 77010



3.3764   DORA LAWRENCE, INDIVIDUALLY AND ON BEHALF OF             8/21/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: WILLIAM S. CONSOVOY                             ACCOUNT NO.:
         CONSOVOY MCCARTHY PARK PLLC                           NOT AVAILABLE
         3033 WILSON BOULEVARD, SUITE 700
         ARLINGTON, VA 22201




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3765   DORA LAWRENCE, INDIVIDUALLY AND ON BEHALF OF             8/21/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: THOMAS R. MCCARTHY                              ACCOUNT NO.:
         CONSOVOY MCCARTHY PARK PLLC                           NOT AVAILABLE
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201



3.3766   DORA LAWRENCE, INDIVIDUALLY AND ON BEHALF OF             8/21/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: MICHAEL H. PARK                                 ACCOUNT NO.:
         ATTN: MICHAEL H PARK                                  NOT AVAILABLE
         745 FIFTH AVENUE - SUITE 500
         NEW YORK, NY 10151



3.3767   DORA LAWRENCE, INDIVIDUALLY AND ON BEHALF OF             8/21/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: TRAVIS LENKNER                                  ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 5100
         CHICAGO, IL 60606



3.3768   DORA LAWRENCE, INDIVIDUALLY AND ON BEHALF OF             8/21/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: SETH MEYER                                      ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA, SUITE 5100
         CHICAGO, IL 60606



3.3769   DORCHESTER COUNTY, MARYLAND                              6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: RESIDENT AGENT
         501 SOURT LANE                                        ACCOUNT NO.:
         P.O. BOX 26                                           NOT AVAILABLE
         CAMBRIDGE, MD 21613



3.3770   DORCHESTER COUNTY, MARYLAND                              6/13/2019                   Opioid Matter              UNDETERMINED
         501 COURT LANE
         SUITE 211                                             ACCOUNT NO.:
         CAMBRIDGE, MD 21613                                   NOT AVAILABLE



3.3771   DORCHESTER COUNTY, MARYLAND                              6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT, DORCHESTER COUNTY COUNCIL
         DORCHESTER COUNTY COUNCIL                             ACCOUNT NO.:
         501 COURT LANE - P.O. BOX 26                          NOT AVAILABLE
         CAMBRIDGE, MD 21613



3.3772   DOUGHERTY COUNTY, GEORGIA                                4/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         222 PINE AVE                                          ACCOUNT NO.:
         SUITE 540                                             NOT AVAILABLE
         ALBANY, GA 31701



3.3773   DOUGLAS ANDERSON, SHERIFF OF AVOYELLES PARISH            9/18/2017                   Opioid Matter              UNDETERMINED
         ATTN: SHERIFF OF AVOYELLES PARISH
         675 GOVERNMENT STREET                                 ACCOUNT NO.:
         MARKSVILLE, LA 71351                                  NOT AVAILABLE


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Code                                                 And Account Number                          Claim

Litigation

3.3774   DOUGLAS COUNTY                                           11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, BOARD OF SUPERVISORS AND
         COUNTY CLERK                                          ACCOUNT NO.:
         COURTHOUSE BUILDING                                   NOT AVAILABLE
         1313 BELKNAP STREET
         SUPERIOR, WI 54880



3.3775   DOUGLAS COUNTY, MISSOURI                                 6/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK AND COMMISSIONER
         DOUGLAS COUNTY COURTHOUSE                             ACCOUNT NO.:
         203 SOUTHEAST 2ND AVENUE - PO BOX 398                 NOT AVAILABLE
         AVA, MO 65608



3.3776   DOUGLAS COUNTY, MN                                       3/26/2018                   Opioid Matter              UNDETERMINED
         214 RODEO RD
         ALEXANDRIA, MN 56308                                  ACCOUNT NO.:
                                                               NOT AVAILABLE


3.3777   DOUGLAS COUNTY, MN                                       3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON
         214 RODEO RD                                          ACCOUNT NO.:
         PO BOX 114                                            NOT AVAILABLE
         ALEXANDRIA, MN 56308



3.3778   DOUGLAS COUNTY, MN                                       3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: AUDITOR/TREASURER'S OFFICE
         305 8TH AVE W                                         ACCOUNT NO.:
          - 1ST FLOOR                                          NOT AVAILABLE
         ALEXANDRIA, MN 56308



3.3779   DOUGLAS HERBERT III, DULY EXECUTED SHERIFF OF           11/22/2017                   Opioid Matter              UNDETERMINED
         ALLEN PARISH
         ATTN: SHERIFF OF ALLEN PARISH                         ACCOUNT NO.:
         7340 HIGHWAY 26 WEST                                  NOT AVAILABLE
         P.O. BOX 278
         OBERLIN, LA 70655



3.3780   DOYLE T. WOOTEN, IN HIS OFFICIAL CAPACITY AS THE         3/22/2019                   Opioid Matter              UNDETERMINED
         SHERIFF OF COFFEE COUNTY, GEORGIA
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS          ACCOUNT NO.:
         101 S. PETERSON AVE                                   NOT AVAILABLE
         DOUGLAS, GA 31533



3.3781   DOYLE T. WOOTEN, IN HIS OFFICIAL CAPACITY AS THE         3/22/2019                   Opioid Matter              UNDETERMINED
         SHERIFF OF COFFEE COUNTY, GEORGIA
         3000 HIGHWAY 42 N.                                    ACCOUNT NO.:
         PO BOX 1000                                           NOT AVAILABLE
         STOCKBRIDGE, GA 30281



3.3782   DR. CHARLES PRESTON, CORONER                             3/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: CORONER
         65278 LOUISIANA 434                                   ACCOUNT NO.:
         LACOMBE, LA 70445                                     NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.3783   DREW MEMORIAL HOSPITAL INC.                             12/14/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER AND BOARD OF
         GOVERNORS AND REGISTERED AGENT                        ACCOUNT NO.:
         778 SCOGIN DRIVE                                      NOT AVAILABLE
         MONTICELLO, AR 71655



3.3784   DRYWALL TAPERS INSURANCE FUND                            8/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT, VICE PRESIDENT, SECRETARY, AND
         TREASURER                                             ACCOUNT NO.:
         3618 33RD STREET                                      NOT AVAILABLE
         ASTORIA, NY 11106



3.3785   DRYWALL TAPERS INSURANCE FUND                            8/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT, VICE PRESIDENT, SECRETARY, AND
         TREASURER                                             ACCOUNT NO.:
         265 WEST 14TH STREET                                  NOT AVAILABLE
         SUITE 1003
         NEW YORK, NY 10011



3.3786   DUNKLIN COUNTY                                           1/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: CLERK OF THE COUNTY COMMISSION; COUNTY
         CLERK                                                 ACCOUNT NO.:
         100 COURTHOUSE SQUARE, ROOM 201                       NOT AVAILABLE
         P.O. BOX 188
         KENNETT, MO 63857



3.3787   DUNN COUNTY                                             11/28/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE COUNTY BOARD OF
         SUPERVISORS                                           ACCOUNT NO.:
         N12395 430TH STREET                                   NOT AVAILABLE
         BOYCEVILLE, WI 54725



3.3788   DUNN COUNTY                                              6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF COUNTY COMMISSION; AND DUNN
         COUNTY STATES ATTORNEY                                ACCOUNT NO.:
         DUNN COUNTY COURTHOUSE                                NOT AVAILABLE
         205 OWENS STREET
         MANNING, ND 58642



3.3789   DUPLIN COUNTY                                            1/18/2019                   Opioid Matter              UNDETERMINED
         P.O. BOX 910
         KENANSVILLE, NC 28349                                 ACCOUNT NO.:
                                                               NOT AVAILABLE


3.3790   DUPLIN COUNTY                                            1/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER, CLERK TO THE BOARD OF
         COMMISSIONERS AND COUNTY COMMISSIONERS                ACCOUNT NO.:
         DUPLIN COUNTY ADMINISTRATIVE BUILDING                 NOT AVAILABLE
         224 SEMINARY STREET
         KENANSVILLE, NC 28349




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Code                                                  And Account Number                          Claim

Litigation

3.3791   DURHAM COUNTY                                             5/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER AND CLERK TO THE BOARD
         OF COMMISSIONERS AND COUNTY COMMISSIONERS              ACCOUNT NO.:
         200 EAST MAIN STREET                                   NOT AVAILABLE
         2ND FLOOR, OLD COURTHOUSE
         DURHAM, NC 27701



3.3792   DUSCESNE COUNTY, UTAH                                     6/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         DUCHESNE COUNTY OFFICES                                ACCOUNT NO.:
         734 NORTH CENTER STREET - P.O. BOX 910                 NOT AVAILABLE
         DUCHESNE, UT 84021



3.3793   DUSCESNE COUNTY, UTAH                                     6/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTTORNEY
         P.O. BOX 206                                           ACCOUNT NO.:
         DUCHESNE, UT 84021                                     NOT AVAILABLE



3.3794   DUSTY GATES, IN HIS CAPACITY AS THE SHERIFF FOR           8/6/2018                    Opioid Matter              UNDETERMINED
         UNION PARISH
         ATTN: SHERIFF                                          ACCOUNT NO.:
         UNION PARISH SHERIFF'S OFFICE                          NOT AVAILABLE
         710 HOLDER RD
         FARMERVILLE, LA 71241



3.3795   E. NEAL JUMP, IN HIS OFFICIAL CAPACITY AS THE             3/22/2019                   Opioid Matter              UNDETERMINED
         SHERIFF OF GLYNN COUNTY, GEORGIA
         W. HAROLD PATE BUILDING                                ACCOUNT NO.:
         1725 REYNOLDS STREET                                   NOT AVAILABLE
          - SUITE 302
         BRUNSWICK, GA 31520



3.3796   E. NEAL JUMP, IN HIS OFFICIAL CAPACITY AS THE             3/22/2019                   Opioid Matter              UNDETERMINED
         SHERIFF OF GLYNN COUNTY, GEORGIA
         ATTN: SHERIFF OF GLYNN COUNTY, GEORGIA                 ACCOUNT NO.:
         SHERIFF OFFICE                                         NOT AVAILABLE
         100 SULPHUR SPRINGS ROAD
         BRUNSWICK, GA 31520



3.3797   EARLY COUNTY, GEORGIA                                     3/26/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         204 COURT SQUARE                                       ACCOUNT NO.:
         BLAKLEY, GA 39823                                      NOT AVAILABLE



3.3798   EASTERN ALEUTIAN TRIBES                                   8/30/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT, PRESIDENT OF THE TRIBAL
         COUNCIL, AND CHIEF EXECUTIVE OFFICER                   ACCOUNT NO.:
         KEJA WHITEMAN                                          NOT AVAILABLE
         3380 C STREET SUITE 100
         ANCHORAGE, AK 99503




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Code                                                 And Account Number                          Claim

Litigation

3.3799   EASTERN BAND OF CHEROKEE INDIANS                         1/4/2017                    Opioid Matter              UNDETERMINED
         ATTN: TRIBAL COUNCIL CHAIRMAN & PRINCIPAL CHIEF
         EASTERN BAND OF CHEROKEE INDIANS                      ACCOUNT NO.:
         88 COUNCIL HOUSE LOOP                                 NOT AVAILABLE
         CHEROKEE, NC 28719



3.3800   EASTERN BAND OF CHEROKEE INDIANS                         1/4/2017                    Opioid Matter              UNDETERMINED
         ATTN: PRINCIPAL CHIEF
         OFFICE OF THE PRINCIPAL CHIEF                         ACCOUNT NO.:
         88 COUNCIL HOUSE LOOP - PO BOX 1927                   NOT AVAILABLE
         CHEROKEE, NC 28719



3.3801   EASTERN SHOSHONE TRIBE                                   6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF BUSINESS COUNCIL
         14 NORTH FORK ROAD                                    ACCOUNT NO.:
         FORT WASHAKIE, WY 82514                               NOT AVAILABLE



3.3802   EASTERN SHOSHONE TRIBE                                   6/7/2019                    Opioid Matter              UNDETERMINED
         17A NORTH FORK ROAD
         FORT WASHAKIE, WY 82514                               ACCOUNT NO.:
                                                               NOT AVAILABLE


3.3803   EAU CLAIRE COUNTY                                        11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, BOARD OF SUPERVISORS AND
         COUNTY CLERK                                          ACCOUNT NO.:
         721 OXFORD AVENUE                                     NOT AVAILABLE
         EAU CLAIRE, WI 54703



3.3804   ECHOLS COUNTY, GEORGIA                                  10/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: BOARD OF COMMISSIONERS
         110 GENERAL DELOACH ST.                               ACCOUNT NO.:
         STATENVILLE, GA 31648                                 NOT AVAILABLE



3.3805   ECHOLS COUNTY, GEORGIA                                  10/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF BOARD OF COMMISSIONERS
         PO BOX 190                                            ACCOUNT NO.:
         STATENVILLE, GA 31648                                 NOT AVAILABLE



3.3806   EDNA HOUSE FOR WOMEN, INC.                               11/1/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         2007 WEST 65TH STREET                                 ACCOUNT NO.:
         CLEVELAND, OH 44102                                   NOT AVAILABLE



3.3807   EDNA HOUSE FOR WOMEN, INC.                               11/1/2018                   Opioid Matter              UNDETERMINED
         ATTN: EXECUTIVE DIRECTOR, PRESIDENT/AGENT
         2007 WEST 65TH STREET                                 ACCOUNT NO.:
         CLEVELAND, OH 44102                                   NOT AVAILABLE



3.3808   EDRICK SOILEAU, SHERRIFF OF EVANGELINE PARISH           12/15/2017                   Opioid Matter              UNDETERMINED
         ATTN: SHERIFF
         EVANGELINE PARISH SHERIFF'S OFFICE                    ACCOUNT NO.:
         200 COURT STREET COURTHOUSE BUILDING                  NOT AVAILABLE
         VILLE PLATTE, LA 70586



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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3809   EDWARD GRACE, INDIVIDUALLY AND ON BEHALF OF ALL          5/2/2018                    Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: RAFEY S. BALABANIAN                             ACCOUNT NO.:
         EDELSON PC                                            NOT AVAILABLE
         123 TOWNSEND STREET - SUITE 100
         SAN FRANCISCO, CA 94107



3.3810   EDWARD GRACE, INDIVIDUALLY AND ON BEHALF OF ALL          5/2/2018                    Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: DAVID I. MINDELL                                ACCOUNT NO.:
         EDELSON P.C.                                          NOT AVAILABLE
         350 NORTH LASALLE STREET - 14TH FLOOR
         CHICAGO, IL 60654



3.3811   EDWARD GRACE, INDIVIDUALLY AND ON BEHALF OF ALL          5/2/2018                    Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: JAY EDELSON                                     ACCOUNT NO.:
         EDELSON P.C.                                          NOT AVAILABLE
         350 NORTH LASALLE STREET - 14TH FLOOR
         CHICAGO, IL 60654



3.3812   EDWARD GRACE, INDIVIDUALLY AND ON BEHALF OF ALL          5/2/2018                    Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: WILLIAM S. CONSOVOY                             ACCOUNT NO.:
         CONSOVOY MCCARTHY PLLC                                NOT AVAILABLE
         1600 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22209



3.3813   EDWARD GRACE, INDIVIDUALLY AND ON BEHALF OF ALL          5/2/2018                    Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: TRAVIS LENKNER                                  ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 2750
         CHICAGO, IL 60606



3.3814   EDWARD GRACE, INDIVIDUALLY AND ON BEHALF OF ALL          5/2/2018                    Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: TODD LOGAN                                      ACCOUNT NO.:
         EDELSON PC                                            NOT AVAILABLE
         123 TOWNSEND STREET - SUITE 100
         SAN FRANCISCO, CA 94107



3.3815   EDWARD GRACE, INDIVIDUALLY AND ON BEHALF OF ALL          5/2/2018                    Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: THOMAS R. MCCARTHY                              ACCOUNT NO.:
         CONSOVOY MCCARTHY PLLC                                NOT AVAILABLE
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201



3.3816   EDWARD GRACE, INDIVIDUALLY AND ON BEHALF OF ALL          5/2/2018                    Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: SETH A. MEYER                                   ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 2750
         CHICAGO, IL 60606




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3817   EDWARD GRACE, INDIVIDUALLY AND ON BEHALF OF ALL          5/2/2018                    Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: ASHLEY C. KELLER                                ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 2750
         CHICAGO, IL 60606



3.3818   EDWARD GRACE, INDIVIDUALLY AND ON BEHALF OF ALL          5/2/2018                    Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: PATRICK STRAWBRIDGE                             ACCOUNT NO.:
         CONSOVOY MCCARTHY PLLC                                NOT AVAILABLE
         8TH FLOOR, SOUTH, PMB #706 - TEN POST OFFICE
         SQUARE
         BOSTON, MA 02109-0000



3.3819   EDWARD GRACE, INDIVIDUALLY AND ON BEHALF OF ALL          5/2/2018                    Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: MICHAEL H. PARK                                 ACCOUNT NO.:
         ATTN: MICHAEL H PARK                                  NOT AVAILABLE
         745 FIFTH AVENUE - SUITE 500
         NEW YORK, NY 10151



3.3820   EDWARD GRACE, INDIVIDUALLY AND ON BEHALF OF ALL          5/2/2018                    Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: ELI J. WADE-SCOTT                               ACCOUNT NO.:
         EDELSON PC                                            NOT AVAILABLE
         350 NORTH LASALLE STREET - 14TH FLOOR
         CHICAGO, IL 60654



3.3821   EDWARD GRACE, INDIVIDUALLY AND ON BEHALF OF ALL          5/2/2018                    Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: BENJAMIN H. RICHMAN                             ACCOUNT NO.:
         EDELSON PC                                            NOT AVAILABLE
         350 NORTH LASALLE STREET - 14TH FLOOR
         CHICAGO, IL 60654



3.3822   EFFINGHAM COUNTY, GEORGIA                                3/26/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         601 N LAUREL STREET                                   ACCOUNT NO.:
         SPRINGFIELD, GA 31329                                 NOT AVAILABLE



3.3823   EL CAMPO MEMORIAL HOSPITAL                               3/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         TEXAS SECRETARY OF STATE                              ACCOUNT NO.:
         1100 CONGRESS - CAPITOL BUILDING, ROOM 1E.8           NOT AVAILABLE
         AUSTIN, TX 78701



3.3824   EL CAMPO MEMORIAL HOSPITAL                               3/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         SERVICE OF PROCESS                                    ACCOUNT NO.:
         JAMES E. RUDDER BUILDING - 1019 BRAZOS, ROOM 105      NOT AVAILABLE
         AUSTIN, TX 78701




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3825   EL CAMPO MEMORIAL HOSPITAL                               3/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT AND BOARD OF DIRECTORS
         PRESIDENT                                             ACCOUNT NO.:
         303 SANDY CORNER ROAD                                 NOT AVAILABLE
         EL CAMPO, TX 77437



3.3826   EL CAMPO MEMORIAL HOSPITAL                               3/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         TEXAS SECRETARY OF STATE                              ACCOUNT NO.:
         P.O. BOX 12887                                        NOT AVAILABLE
         AUSTIN, TX 78711-2887



3.3827   ELBERT COUNTY, GEORGIA                                   3/22/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         45 FOREST AVE.                                        ACCOUNT NO.:
         ELBERTON, GA 30635                                    NOT AVAILABLE



3.3828   ELI MEDINA, INDIVIDUALLY AND ON BEHALF OF ALL            8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: MICHAEL H. PARK                                 ACCOUNT NO.:
         ATTN: MICHAEL H PARK                                  NOT AVAILABLE
         745 FIFTH AVENUE - SUITE 500
         NEW YORK, NY 10151



3.3829   ELI MEDINA, INDIVIDUALLY AND ON BEHALF OF ALL            8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: STEVEN P WIELAND                                ACCOUNT NO.:
         MOONEY WIELAND PLLC                                   NOT AVAILABLE
         802 WEST BANNOCK STREET - SUITE 500
         BOISE, ID 83702



3.3830   ELI MEDINA, INDIVIDUALLY AND ON BEHALF OF ALL            8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: STEVEN WIELAND                                  ACCOUNT NO.:
         MOONEY WIELAND SMITH & ROSE PLLC                      NOT AVAILABLE
         405 SOUTH 8TH STREET - SUITE 295
         BOISE, ID 83702



3.3831   ELI MEDINA, INDIVIDUALLY AND ON BEHALF OF ALL            8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: SETH MEYER                                      ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 2570
         CHICAGO, IL 60606



3.3832   ELI MEDINA, INDIVIDUALLY AND ON BEHALF OF ALL            8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: WILLIAM S. CONSOVOY                             ACCOUNT NO.:
         CONSOVOY MCCARTHY PARK PLLC                           NOT AVAILABLE
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3833   ELI MEDINA, INDIVIDUALLY AND ON BEHALF OF ALL            8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: ASHLEY C. KELLER                                ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 2750
         CHICAGO, IL 60606



3.3834   ELI MEDINA, INDIVIDUALLY AND ON BEHALF OF ALL            8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: TRAVIS LENKNER                                  ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 2570
         CHICAGO, IL 60606



3.3835   ELIZABETH KOMMER, INDIVIDUALLY AND AS NEXT               6/18/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY C.K.
         ATTN: CELESTE BRUSTOWICZ                              ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                  NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.3836   ELLIS COUNTY                                             5/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: COMMISSIONERS
         1400 OAK GROVE ROAD                                   ACCOUNT NO.:
         ENNIS, TX 75119                                       NOT AVAILABLE



3.3837   ELLIS COUNTY                                             5/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         ELLIS COUNTY COURTHOUSE                               ACCOUNT NO.:
         101 W MAIN STREET                                     NOT AVAILABLE
         WAXAHACHIE, TX 75165



3.3838   ELLIS COUNTY                                             5/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: COMMISSIONERS
         1011 EASTGATE                                         ACCOUNT NO.:
         MIDLOTHIAN, TX 76065                                  NOT AVAILABLE



3.3839   ELLIS COUNTY                                             5/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COUNTY COMMISSIONERS
         ELLIS COUNTY COURTHOUSE                               ACCOUNT NO.:
         101 WEST MAIN STREET                                  NOT AVAILABLE
         WAXAHACHIE, TX 75165



3.3840   ELLIS COUNTY                                             5/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: COMMISSIONERS
         600 N I-45 BUSINESS                                   ACCOUNT NO.:
         P.O. BOX 536                                          NOT AVAILABLE
         PALMER, TX 75152



3.3841   ELLIS COUNTY                                             5/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: COMMISSIONERS
         933 COLLEGE STREET                                    ACCOUNT NO.:
         P.O. BOX 396                                          NOT AVAILABLE
         ITALY, TX 76651



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3842   ELMORE COUNTY                                            8/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER
         150 SOUTH 4TH E ST.                                   ACCOUNT NO.:
         MOUNTAIN HOME, ID 83647                               NOT AVAILABLE



3.3843   ELY SHOSHONE TRIBE OF NEVADA                             8/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: TRIBAL COUNCIL CHAIRMAN; TRIBAL CHIEF
         EXECUTIVE OFFICER                                     ACCOUNT NO.:
         16 SHOSHONE CIRCLE                                    NOT AVAILABLE
         ELY, NV 89301



3.3844   EMANUEL COUNTY, GEORGIA                                  3/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE EMANUEL COUNTY BOARD
         OF COMMISSIONERS                                      ACCOUNT NO.:
         101 N MAIN STREET , GA                                NOT AVAILABLE
         SWAINSBORO, GA 30401



3.3845   EMANUEL COUNTY, GEORGIA                                  3/28/2019                   Opioid Matter              UNDETERMINED
         P.O. BOX 787
         SWAINSBORO, GA 30401                                  ACCOUNT NO.:
                                                               NOT AVAILABLE


3.3846   EMPLOYER-TEAMSTERS LOCAL NOS. 175 & 505 HEALTH           4/17/2018                   Opioid Matter              UNDETERMINED
         & WELFARE FUND
         ATTN: OFFICER, DIRECTOR, PRESIDENT                    ACCOUNT NO.:
         6810 MACCORKLE AVE SE                                 NOT AVAILABLE
         CHARLESTON, WV 25304



3.3847   EMPLOYER-TEAMSTERS LOCAL NOS. 175 & 505 RETIREE          4/17/2018                   Opioid Matter              UNDETERMINED
         HEALTH & WELFARE FUND
         ATTN: PRESIDENT, OFFICER                              ACCOUNT NO.:
         TEAMSTERS LOCAL 505                                   NOT AVAILABLE
         834 WASHINGTON AVENUE
         HUNTINGTON, WV 25504



3.3848   EMPLOYER-TEAMSTERS LOCAL NOS. 175 & 505 RETIREE          4/17/2018                   Opioid Matter              UNDETERMINED
         HEALTH & WELFARE FUND
         ATTN: PRESIDENT                                       ACCOUNT NO.:
         6810 MACCORKLE AVENUE SOUTHWEST                       NOT AVAILABLE
         CHARLESTON, WV 25304



3.3849   EMPLOYER-TEAMSTERS LOCAL NOS. 175 & 505 RETIREE          4/17/2018                   Opioid Matter              UNDETERMINED
         HEALTH & WELFARE FUND
         ATTN: PRESIDENT                                       ACCOUNT NO.:
         TEAMSTERS LOCAL 175                                   NOT AVAILABLE
         267 STAUNTON AVENUE
         SOUTH CHARLESTON, WV 25303



3.3850   ERIE COUNTY BOARD OF COUNTY COMMISSIONERS               10/20/2017                   Opioid Matter              UNDETERMINED
         247 COLUMBUS AVENUE, SUITE 319
         SANDUSKY, OH 44870                                    ACCOUNT NO.:
                                                               NOT AVAILABLE




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Code                                                             And Account Number                        Claim

Litigation

3.3851   ERIE COUNTY BOARD OF COUNTY COMMISSIONERS                            10/20/2017                Opioid Matter              UNDETERMINED
         ATTN: CLERK OF COMMISSION BOARD
         2900 COLUMBUS AVENUE, THIRD FLOOR                                  ACCOUNT NO.:
         SANDUSKY, OH 44870                                                 NOT AVAILABLE



3.3852   ERIN DOYLE, INDIVIDUALLY AND AS MOTHER AND                            5/9/2018                 Opioid Matter              UNDETERMINED
         CUSTODIAN OF BABY D.F., ON BEHALF OF THEMSELVES
         AND ALL OTHERS SIMILARLY SITUATED                                  ACCOUNT NO.:
         ATTN: C/O ANNA VILLARREAL                                          NOT AVAILABLE
         2 W. MAIN STREET
         CHILLICOTHE, OH 45601



3.3853   ESCAMBIA COUNTY, FLORIDA                                             5/22/2018                 Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE COUNTY COMMISSIONERS;
         BOARD OF COUNTY COMMISSIONERS                                      ACCOUNT NO.:
         221 PALAFOX PLACE                                                  NOT AVAILABLE
         SUITE 400
         PENSACOLA, FL 32502



3.3854   ESPERENZA ELLIS, INDIVIDUALLY AND AS NEXT FRIEND                     6/14/2019                 Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY S.O.D., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                       ACCOUNT NO.:
         ATTN: CELESTE BRUSTOWICZ, STEPHEN H. WUSSOW                        NOT AVAILABLE
         COOPER LAW FIRM, LLC
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.3855   ESPERENZA ELLIS, INDIVIDUALLY AND AS NEXT FRIEND                     6/14/2019                 Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY S.O.D., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                       ACCOUNT NO.:
         ATTN: DONALD E. CREADORE                                           NOT AVAILABLE
         CREADOR LAW FIRM
         450 SEVENTH AVENUE - SUITE 1408
         NEW YORK, NY 10123



3.3856   Esperenza Ellis, individually and as next friend and guardian of     6/14/2019                 Opioid Matter              UNDETERMINED
         Baby S.O.D., on behalf of themselves and all others similarly
         situated                                                           ACCOUNT NO.:
         Attn: Kevin W. Thompson, David R. Barney, Jr.                      NOT AVAILABLE
         Thompson Barney Law Firm
         2030 Kanawha Boulevard, East
         Charleston, WV 25311



3.3857   ESPERENZA ELLIS, INDIVIDUALLY AND AS NEXT FRIEND                     6/14/2019                 Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY S.O.D., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                       ACCOUNT NO.:
         ATTN: KENT HARRISON ROBBINS                                        NOT AVAILABLE
         THE LAW OFFICE OF KENT HARRISON ROBBINS, P.A.
         242 NORTHEAST 27TH STREET
         MIAMI, FL 33137




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Code                                                  And Account Number                         Claim

Litigation

3.3858   ESPERENZA ELLIS, INDIVIDUALLY AND AS NEXT FRIEND         6/14/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY S.O.D., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED          ACCOUNT NO.:
         ATTN: SPENCER R. DOODY                                NOT AVAILABLE
         MARTZELL, BICKFORD & CENTOLA
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.3859   ESPERENZA ELLIS, INDIVIDUALLY AND AS NEXT FRIEND         6/14/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY S.O.D., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED          ACCOUNT NO.:
         ATTN: CELESTE BRUSTOWICZ                              NOT AVAILABLE
         COOPER LAW FIRM
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.3860   ESPERENZA ELLIS, INDIVIDUALLY AND AS NEXT FRIEND         6/14/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY S.O.D., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED          ACCOUNT NO.:
         ATTN: DAVID R. BARNEY, JR.                            NOT AVAILABLE
         THOMPSON BARNEY LAW FIRM
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311



3.3861   ESPERENZA ELLIS, INDIVIDUALLY AND AS NEXT FRIEND         6/14/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY S.O.D., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED          ACCOUNT NO.:
         ATTN: SCOTT R. BICKFORD                               NOT AVAILABLE
         MARTZELL, BICKFORD & CENTOLA
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.3862   ESSEX COUNTY, NEW JERSEY                                 6/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         465 MARTIN LUTHER KING JR. BLVD.                      ACCOUNT NO.:
         ROOM 247                                              NOT AVAILABLE
         NEWARK, NJ 07102-0690



3.3863   ESSEX COUNTY, NEW JERSEY                                 6/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE
         465 DR. MARTIN LUTHER KING, JR. BOULEVARD             ACCOUNT NO.:
         HALL OF RECORDS - ROOM 405                            NOT AVAILABLE
         NEWARK, NJ 07102



3.3864   ESTATE OF BRUCE BROCKEL                                 10/25/2017                   Opioid Matter              UNDETERMINED
         ATTN: C. BENNETT LONG
         LONG & LONG                                           ACCOUNT NO.:
         301 ST. LOUIS STREET                                  NOT AVAILABLE
         MOBILE, AL 36602



3.3865   ESTATE OF BRUCE BROCKEL                                 10/25/2017                   Opioid Matter              UNDETERMINED
         ATTN: DAVID ANTHONY BUSBY
         DANIELL, UPTON, PERRY & MORRIS                        ACCOUNT NO.:
         30421 HIGHWAY 181                                     NOT AVAILABLE
         DAPHNE, AL 36526




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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                          Claim

Litigation

3.3866   ESTATE OF BRUCE BROCKEL                                  10/25/2017                   Opioid Matter              UNDETERMINED
         ATTN: JONATHON R. LAW
         JONATHON R. LAW                                        ACCOUNT NO.:
         30421 HIGHWAY 181                                      NOT AVAILABLE
         DAPHNE, AL 36527



3.3867   ESTILL COUNTY EMERGENCY MEDICAL SERVICES                 10/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, VICE CHAIRMAN BOARD OF
         EDUCATION AND SUPERINTENDENT                           ACCOUNT NO.:
         22 MERCY COURT                                         NOT AVAILABLE
         IRVINE, KY 40336



3.3868   ESTILL COUNTY EMERGENCY MEDICAL SERVICES                 10/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: OFFICER IN-CHARGE/JIMMY WISE
         22 MERCY COURT(MAIN OFFICE)                            ACCOUNT NO.:
         IRVINE, KY 40336                                       NOT AVAILABLE



3.3869   EVANGELINE PARISH POLICE JURY                             6/13/2019                   Opioid Matter              UNDETERMINED
         1008 WEST LA SALLE STREET
         VILLE PLATTE, LA 70586                                 ACCOUNT NO.:
                                                                NOT AVAILABLE


3.3870   EVANGELINE PARISH POLICE JURY                             6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE EVANGELINE PARISH POLICE
         JURY                                                   ACCOUNT NO.:
         1049 RACHAEL DRIVE                                     NOT AVAILABLE
         VILLE PLATTE, LA 70586



3.3871   EVANS MEMORIAL HOSPITAL, INC.                             6/22/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         P. O. BOX 518                                          ACCOUNT NO.:
         CLAXTON, GA 30417-1659                                 NOT AVAILABLE



3.3872   EVANS MEMORIAL HOSPITAL, INC.                             6/22/2018                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE: SUBSTITUTED SERVICE
         2 MARTIN LUTHER KING JR. DRIVE                         ACCOUNT NO.:
         WEST TOWER SUITE 313                                   NOT AVAILABLE
         ATLANTA, GA 30334



3.3873   EVANS MEMORIAL HOSPITAL, INC.                             6/22/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT; CHIEF EXECUTIVE OFFICER
         200 NORTH RIVER STREET                                 ACCOUNT NO.:
         CLAXTON, GA 30417                                      NOT AVAILABLE



3.3874   EVERGREEN MEDICAL CENTER, LLC                             9/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: CEO
         EVERGREEN MEDICAL CENTER                               ACCOUNT NO.:
         P.O. BOX 706 - 101 CRESTVIEW AVENUE                    NOT AVAILABLE
         EVERGREEN, AL 36401



3.3875   EVERGREEN MEDICAL CENTER, LLC                             9/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         3091 CARTER HILL ROAD                                  ACCOUNT NO.:
         MONTGOMERY, AL 36111                                   NOT AVAILABLE


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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3876   EWIIAAPAAYP BAND OF KUMEYAAY INDIANS                     1/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: TRIBAL COUNCIL CHAIRMAN AND CHIEF
         EXECUTIVE OFFICER                                     ACCOUNT NO.:
         4054 WILLOWS ROAD                                     NOT AVAILABLE
         ALPINE, CA 91901



3.3877   F. KIRK HOPKINS, INDIVIDUALLY AND ON BEHALF OF ALL       8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: TODD FELTUS                                     ACCOUNT NO.:
         KERCSMAR & FELTUS PLLC                                NOT AVAILABLE
         7150 EAST CAMELBACK ROAD - SUITE 285
         SCOTTSDALE, AZ 85251



3.3878   F. KIRK HOPKINS, INDIVIDUALLY AND ON BEHALF OF ALL       8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: SEAN JAMES O'HARA                               ACCOUNT NO.:
         KERCSMAR & FELTUS PLLC                                NOT AVAILABLE
         7150 EAST CAMELBACK ROAD - SUITE 285
         SCOTTSDALE, AZ 85251



3.3879   F. KIRK HOPKINS, INDIVIDUALLY AND ON BEHALF OF ALL       8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: JULIA ANNE WAGNER                               ACCOUNT NO.:
         KERCSMAR & FELTUS PLLC                                NOT AVAILABLE
         7150 EAST CAMELBACK ROAD - SUITE 285
         SCOTTSDALE, AZ 85251



3.3880   F. KIRK HOPKINS, INDIVIDUALLY AND ON BEHALF OF ALL       8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: ASHLEY C. KELLER                                ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 2750
         CHICAGO, IL 60606



3.3881   F. KIRK HOPKINS, INDIVIDUALLY AND ON BEHALF OF ALL       8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: THOMAS R. MCCARTHY                              ACCOUNT NO.:
         CONSOVOY MCCARTHY PARK PLLC                           NOT AVAILABLE
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201



3.3882   F. KIRK HOPKINS, INDIVIDUALLY AND ON BEHALF OF ALL       8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: MICHAEL H. PARK                                 ACCOUNT NO.:
         ATTN: MICHAEL H PARK                                  NOT AVAILABLE
         745 FIFTH AVENUE - SUITE 500
         NEW YORK, NY 10151



3.3883   F. KIRK HOPKINS, INDIVIDUALLY AND ON BEHALF OF ALL       8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: SETH MEYER                                      ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 2570
         CHICAGO, IL 60606




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip        Date Claim Was Incurred    C U      D    Basis For      Offset   Amount of Claim
Code                                                   And Account Number                        Claim

Litigation

3.3884   F. KIRK HOPKINS, INDIVIDUALLY AND ON BEHALF OF ALL       8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: TRAVIS LENKNER                                  ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 2570
         CHICAGO, IL 60606



3.3885   F. KIRK HOPKINS, INDIVIDUALLY AND ON BEHALF OF ALL       8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: WILLIAM S. CONSOVOY                             ACCOUNT NO.:
         CONSOVOY MCCARTHY PARK PLLC                           NOT AVAILABLE
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201



3.3886   FAIRFAX COUNTY BOARD OF SUPERVISORS                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, BOARD OF SUPERVISORS,
         12000 GOVERNMENT CENTER PARKWAY                       ACCOUNT NO.:
         SUITE 527                                             NOT AVAILABLE
         FAIRFAX, VA 22035



3.3887   FAIRFAX COUNTY BOARD OF SUPERVISORS                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         12000 GOVERNMENT CENTER PARKWAY SUITE 549             ACCOUNT NO.:
         FAIRFAX, VA 22035                                     NOT AVAILABLE



3.3888   FAIRFIELD COUNTY BOARD OF COUNTY                        11/17/2017                   Opioid Matter              UNDETERMINED
         COMMISSIONERS
         239 WEST MAIN STREET, SUITE 101                       ACCOUNT NO.:
         LANCASTER, OH 43130                                   NOT AVAILABLE



3.3889   FAIRFIELD COUNTY BOARD OF COUNTY                        11/17/2017                   Opioid Matter              UNDETERMINED
         COMMISSIONERS
         ATTN: CLERK                                           ACCOUNT NO.:
         210 EAST MAIN STREET, ROOM 301                        NOT AVAILABLE
         LANCASTER, OH 43130



3.3890   FAIRVIEW TOWNSHIP, PENNSYLVANIA                          5/9/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, BOARD OF SUPERVISORS
         FAIRVIEW TOWNSHIP MUNICIPAL BUILDING                  ACCOUNT NO.:
         599 LEWISBERRY ROAD                                   NOT AVAILABLE
         NEW CUMBERLAND, PA 17070



3.3891   FAMILY HEALTH CARE CLINIC, PSC                           3/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT, KIM BREWER COX AND
         OWNER                                                 ACCOUNT NO.:
         1012 CENTER DR.                                       NOT AVAILABLE
         RICHMOND, KY 40475-2785



3.3892   FAMILY PRACTICE CLINIC OF BOONEVILLE, INC.               3/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: OWNER OPERATOR
         200 MULBERRY ST.                                      ACCOUNT NO.:
         SUITE A                                               NOT AVAILABLE
         BOONESVILLE, KY 41314-7505




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip        Date Claim Was Incurred    C U      D    Basis For      Offset   Amount of Claim
Code                                                   And Account Number                        Claim

Litigation

3.3893   FAMILY PRACTICE CLINIC OF BOONEVILLE, INC.               3/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT, KIM MCINTOSH
         200 MULBERRY STREET                                   ACCOUNT NO.:
         SUITE A - PO BOX 737                                  NOT AVAILABLE
         BOONESVILLE, KY 41314



3.3894   FARRAH WILLIAMS, INDIVIDUALLY AND AS NEXT FRIEND         6/16/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY A.W., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED          ACCOUNT NO.:
         ATTN: CELESTE BRUSTOWICZ                              NOT AVAILABLE
         COOPER LAW FIRM, LLC
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.3895   FAYETTE COUNTY                                           1/22/2018                   Opioid Matter              UNDETERMINED
         ATTN: CURTIS T. HILL, JR.
         STATE OF INDIANA ATTORNEY GENERAL                     ACCOUNT NO.:
         INDIANA GOVERNMENT CENTER SOUTH - 5TH FLOOR -         NOT AVAILABLE
         302 WEST WASHINGTON STREET
         INDIANAPOLIS, IN 46204



3.3896   FAYETTE COUNTY                                           1/22/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COUNCIL PRESIDENT
         COURTHOUSE, 1ST FLOOR                                 ACCOUNT NO.:
         401 CENTRAL AVENUE                                    NOT AVAILABLE
         CONNERSVILLE, IN 47331



3.3897   FAYETTE COUNTY                                           1/22/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE COUNTY COMMISSION
         401 CENTRAL AVENUE                                    ACCOUNT NO.:
         CONNERSVILLE, IN 47331                                NOT AVAILABLE



3.3898   FAYETTE COUNTY, ALABAMA                                  2/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         FAYETTE COUNTY COURTHOUSE                             ACCOUNT NO.:
         113 TEMPLE AVENUE NORTH                               NOT AVAILABLE
         FAYETTE, AL 35555



3.3899   FAYETTE COUNTY, ALABAMA                                  2/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: FAYETTE COUNTY COMMISSION CHAIRMAN
         103 1ST AVE NORTHWEST #2                              ACCOUNT NO.:
         FAYETTE, AL 35555                                     NOT AVAILABLE



3.3900   FAYETTE COUNTY, ALABAMA                                  2/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         FAYETTE COUNTY COURTHOUSE                             ACCOUNT NO.:
         113 TEMPLE AVENUE NORTH                               NOT AVAILABLE
         FAYETTE, AL 35555



3.3901   FAYETTE COUNTY, ALABAMA                                  2/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3902   FAYETTE COUNTY, GEORGIA                                  4/25/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         140 STONEWALL AVE. W. ,                               ACCOUNT NO.:
         SUITE 100                                             NOT AVAILABLE
         FAYETTEVILLE, GA 30214



3.3903   FEATHER RIVER TRIBAL HEALTH, INC.                        5/2/2019                    Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT OF FEATHER RIVER TRIBAL
         HEALTH, INC.                                          ACCOUNT NO.:
         2145 5TH AVENUE                                       NOT AVAILABLE
         OROVILLE, CA 95965



3.3904   FENTRESS COUNTY                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE
         101 NORTH MAIN STREET                                 ACCOUNT NO.:
         P.O. BOX 1128                                         NOT AVAILABLE
         JAMESTOWN, TN 38556



3.3905   FENTRESS COUNTY                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         101 NORTH MAIN STREET                                 ACCOUNT NO.:
         P.O. BOX 823                                          NOT AVAILABLE
         JAMESTOWN, TN 38556



3.3906   FENTRESS COUNTY, TN                                      3/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE OFFICE
         101 N MAIN STREET                                     ACCOUNT NO.:
         PO BOX 1128                                           NOT AVAILABLE
         JAMESTOWN, TN 38556



3.3907   FIRE AND POLICE RETIREMENT HEALTH CARE FUND,             4/18/2019                   Opioid Matter              UNDETERMINED
         SAN ANTONIO
         ATTN: MAYOR                                           ACCOUNT NO.:
         115 PLAZA DE ARMAS                                    NOT AVAILABLE
         2ND FLOOR
         SAN ANTONIO, TX 78205



3.3908   FIRE AND POLICE RETIREMENT HEALTH CARE FUND,             4/18/2019                   Opioid Matter              UNDETERMINED
         SAN ANTONIO
         ATTN: CHAIRPERSON OF THE BOARD OF TRUSTEES            ACCOUNT NO.:
         11603 W. COKER LOOP                                   NOT AVAILABLE
         SUITE 130
         SAN ANTONIO, TX 78216



3.3909   FIRE AND POLICE RETIREMENT HEALTH CARE FUND,             4/18/2019                   Opioid Matter              UNDETERMINED
         SAN ANTONIO
         ATTN: EXECUTIVE DIRECTOR                              ACCOUNT NO.:
         11603 WEST CORKER LOOP                                NOT AVAILABLE
         SUITE 130
         SAN ANTONIO, TX 78216




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3910   FIRE AND POLICE RETIREMENT HEALTH CARE FUND,             4/18/2019                   Opioid Matter              UNDETERMINED
         SAN ANTONIO
         ATTN: CITY CLERK                                      ACCOUNT NO.:
         OFFICE OF THE CITY CLERK                              NOT AVAILABLE
         GEORGE WHITFIELD, JR. MUNICIPAL RECORDS
         FACILITY - 719 SOUTH SANTA ROSA
         SAN ANTONIO, TX 78204



3.3911   FISCAL COURT OF ALLEN COUNTY, ON BEHALF OF               12/1/2017                   Opioid Matter              UNDETERMINED
         ALLEN COUNTY
         ATTN: COUNTY JUDGE EXECUTIVE AND COUNTY               ACCOUNT NO.:
         ATTORNEY AND FISCAL COURT MEMBERS                     NOT AVAILABLE
         PO BOX 115
         SCOTTSVILLE, KY 42164



3.3912   FISCAL COURT OF ANDERSON COUNTY, ON BEHALF OF            9/12/2017                   Opioid Matter              UNDETERMINED
         ANDERSON COUNTY
         ATTN: COUNTY JUDGE-EXECUTIVE AND FISCAL COURT         ACCOUNT NO.:
         MEMBERS                                               NOT AVAILABLE
         137 SOUTH MAIN STREET
         LAWRENCEBURG, KY 40342



3.3913   FISCAL COURT OF ANDERSON COUNTY, ON BEHALF OF            9/12/2017                   Opioid Matter              UNDETERMINED
         ANDERSON COUNTY
         ATTN: COUNTY ATTORNEY                                 ACCOUNT NO.:
         216 SOUTH MAIN STREET                                 NOT AVAILABLE
         LAWRENCEBURG, KY 40342



3.3914   FISCAL COURT OF BELL COUNTY, ON BEHALF OF BELL           9/12/2017                   Opioid Matter              UNDETERMINED
         COUNTY
         ATTN: COUNTY ATTORNEY                                 ACCOUNT NO.:
         PO BOX 190                                            NOT AVAILABLE
         PINEVILLE, KY 40977



3.3915   FISCAL COURT OF BELL COUNTY, ON BEHALF OF BELL           9/12/2017                   Opioid Matter              UNDETERMINED
         COUNTY
         ATTN: JUDGE-EXECUTIVE AND COUNTY ATTORNEY AND         ACCOUNT NO.:
         FISCAL COURT MEMBERS                                  NOT AVAILABLE
         COURTHOUSE SQUARE 101
         PINEVILLE, KY 40977



3.3916   FISCAL COURT OF BELL COUNTY, ON BEHALF OF BELL           9/12/2017                   Opioid Matter              UNDETERMINED
         COUNTY
         ATTN: BELL COUNTY JUDGE EXECUTIVE                     ACCOUNT NO.:
         PO BOX 339                                            NOT AVAILABLE
         PINEVILLE, KY 40977



3.3917   FISCAL COURT OF BOONE COUNTY, ON BEHALF OF               9/12/2017                   Opioid Matter              UNDETERMINED
         BOONE COUNTY
         ATTN: COUNTY ATTORNEY                                 ACCOUNT NO.:
         BOONE COUNTY ATTORNEY'S OFFICE                        NOT AVAILABLE
         2970 UNION SQUARE
         BURLINGTON, KY 41005




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3918   FISCAL COURT OF BOONE COUNTY, ON BEHALF OF               9/12/2017                   Opioid Matter              UNDETERMINED
         BOONE COUNTY
         ATTN: COUNTY JUDGE / EXECUTIVE, COUNTY                ACCOUNT NO.:
         COMMISSIONERS, AND COUNTY ATTORNEY                    NOT AVAILABLE
         BOONE COUNTY ADMINISTRATION BUILDING
         2950 WASHINGTON STREET
         BURLINGTON, KY 41005



3.3919   FISCAL COURT OF BOONE COUNTY, ON BEHALF OF               9/12/2017                   Opioid Matter              UNDETERMINED
         BOONE COUNTY
         ATTN: COUNTY JUDGE / EXECUTIVE AND COUNTY             ACCOUNT NO.:
         COMMISSIONERS                                         NOT AVAILABLE
         PO BOX 900
         2950 WASHINGTON STREET
         BURLINGTON, KY 41005



3.3920   FISCAL COURT OF BOONE COUNTY, ON BEHALF OF               9/12/2017                   Opioid Matter              UNDETERMINED
         BOONE COUNTY
         ATTN: COUNTY JUDGE / EXECUTIVE, COUNTY                ACCOUNT NO.:
         COMMISSIONERS, AND COUNTY ATTORNEY                    NOT AVAILABLE
         FLORENCE CITY BUILDING
         8100 EWING BOULEVARD
         FLORENCE, KY 41042



3.3921   FISCAL COURT OF BOYD COUNTY, ON BEHALF OF BOYD           9/25/2017                   Opioid Matter              UNDETERMINED
         COUNTY
         ATTN: BOYD COUNTY JUDGE EXECUTIVE, COUNTY             ACCOUNT NO.:
         COMMISSIONERS, AND COUNTY ATTORNEY                    NOT AVAILABLE
         2800 LOUISA STREET
         CATLETTSBURG, KY 41129



3.3922   FISCAL COURT OF BOYD COUNTY, ON BEHALF OF BOYD           9/25/2017                   Opioid Matter              UNDETERMINED
         COUNTY
         ATTN: BOYD COUNTY JUDGE EXECUTIVE AND COUNTY          ACCOUNT NO.:
         COMMISSIONERS                                         NOT AVAILABLE
         2800 LOUISA STREET
         PO BOX 423
         CATLETTSBURG, KY 41129



3.3923   FISCAL COURT OF BOYLE COUNTY, ON BEHALF OF               9/12/2017                   Opioid Matter              UNDETERMINED
         BOYLE COUNTY
         ATTN: COUNTY ATTORNEY                                 ACCOUNT NO.:
         BOYLE COUNTY COURTHOUSE                               NOT AVAILABLE
         321 WEST MAIN STREET - ROOM 120
         DANVILLE, KY 40422



3.3924   FISCAL COURT OF BOYLE COUNTY, ON BEHALF OF               9/12/2017                   Opioid Matter              UNDETERMINED
         BOYLE COUNTY
         ATTN: JUDGE/EXECUTIVE, COUNTY COMMISSIONERS,          ACCOUNT NO.:
         AND COUNTY ATTORNEY                                   NOT AVAILABLE
         321 WEST MAIN STREET
         ROOM 111
         DANVILLE, KY 40422




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3925   FISCAL COURT OF BOYLE COUNTY, ON BEHALF OF               9/12/2017                   Opioid Matter              UNDETERMINED
         BOYLE COUNTY
         321 WEST MAIN STREET                                  ACCOUNT NO.:
         BOYLE COUNTY COURTHOUSE ROOM 120                      NOT AVAILABLE
         DANVILLE, KY 40422



3.3926   FISCAL COURT OF BULLITT COUNTY, ON BEHALF OF             12/1/2017                   Opioid Matter              UNDETERMINED
         BULLITT COUNTY
         COURTHOUSE 2ND FLOOR                                  ACCOUNT NO.:
         300 SOUTH BUCKMAN STREET                              NOT AVAILABLE
          - PO BOX 1446
         SHEPHERDSVILLE, KY 40165



3.3927   FISCAL COURT OF BULLITT COUNTY, ON BEHALF OF             12/1/2017                   Opioid Matter              UNDETERMINED
         BULLITT COUNTY
         COURTHOUSE 2ND FLOOR                                  ACCOUNT NO.:
         300 SOUTH BUCKMAN STREET                              NOT AVAILABLE
         SHEPHERDSVILLE, KY 40165



3.3928   FISCAL COURT OF BULLITT COUNTY, ON BEHALF OF             12/1/2017                   Opioid Matter              UNDETERMINED
         BULLITT COUNTY
         300 SOUTH BUCKMAN STREET                              ACCOUNT NO.:
         P. O. BOX 768                                         NOT AVAILABLE
         SHEPHERDSVILLE, KY 40165



3.3929   FISCAL COURT OF BULLITT COUNTY, ON BEHALF OF             12/1/2017                   Opioid Matter              UNDETERMINED
         BULLITT COUNTY
         ATTN: COUNTY JUDGE EXECUTIVE, FISCAL COURT            ACCOUNT NO.:
         MEMBERS, AND COUNTY ATTORNEY                          NOT AVAILABLE
         BULLITT COUNTY COURTHOUSE
         300 SOUTH BUCKMAN STREET
         SHEPHERDSVILLE, KY 40165



3.3930   FLANDREAU SANTEE SIOUX TRIBE                             1/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF FLANDREAU SANTEE SIOUX TRIBE
         PO BOX 283                                            ACCOUNT NO.:
         603 WEST BROAD AVENUE                                 NOT AVAILABLE
         FLANDREAU, SD 57028



3.3931   FLINT PLUMBING AND PIPEFITTING INDUSTRY HEALTH           6/10/2019                   Opioid Matter              UNDETERMINED
         CARE FUND, ON BEHALF OF ITSELF AND ALL OTHERS
         SIMILARLY SITUATED                                    ACCOUNT NO.:
         ATTN: BUSINESS MANAGER                                NOT AVAILABLE
         UA LOCAL 370
         G-5500 W. PIERSON ROAD
         FLUSHING, MI 48433



3.3932   FLINT PLUMBING AND PIPEFITTING INDUSTRY HEALTH           6/10/2019                   Opioid Matter              UNDETERMINED
         CARE FUND, ON BEHALF OF ITSELF AND ALL OTHERS
         SIMILARLY SITUATED                                    ACCOUNT NO.:
         ATTN: SHAYNA E. SACKS                                 NOT AVAILABLE
         NAPOLI SHKOLNIK PLLC
         360 LEXINGTON AVENUE - ELEVENTH FLOOR
         NEW YORK, NY 10017




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3933   FLINT PLUMBING AND PIPEFITTING INDUSTRY HEALTH           6/10/2019                   Opioid Matter              UNDETERMINED
         CARE FUND, ON BEHALF OF ITSELF AND ALL OTHERS
         SIMILARLY SITUATED                                    ACCOUNT NO.:
         ATTN: HUNTER J. SHKOLNIK                              NOT AVAILABLE
         NAPOLI SHKOLNIK PLLC
         360 LEXINGTON AVENUE - ELEVENTH FLOOR
         NEW YORK, NY 10017



3.3934   FLINT PLUMBING AND PIPEFITTING INDUSTRY HEALTH           6/10/2019                   Opioid Matter              UNDETERMINED
         CARE FUND, ON BEHALF OF ITSELF AND ALL OTHERS
         SIMILARLY SITUATED                                    ACCOUNT NO.:
         ATTN: SALVATORE C. BADALA                             NOT AVAILABLE
         NAPOLI SHKOLNIK PLLC
         360 LEXINGTON AVENUE - ELEVENTH FLOOR
         NEW YORK, NY 10017



3.3935   FLINT PLUMBING AND PIPEFITTING INDUSTRY HEALTH           6/10/2019                   Opioid Matter              UNDETERMINED
         CARE FUND, ON BEHALF OF ITSELF AND ALL OTHERS
         SIMILARLY SITUATED                                    ACCOUNT NO.:
         ATTN: PAUL J. NAPOLI                                  NOT AVAILABLE
         NAPOLI SHKOLNIK PLLC
         360 LEXINGTON AVENUE - ELEVENTH FLOOR
         NEW YORK, NY 10017



3.3936   FLINT PLUMBING AND PIPEFITTING INDUSTRY HEALTH           6/10/2019                   Opioid Matter              UNDETERMINED
         CARE FUND, ON BEHALF OF ITSELF AND ALL OTHERS
         SIMILARLY SITUATED                                    ACCOUNT NO.:
         ATTN: JOSEPH L. CIACCIO                               NOT AVAILABLE
         NAPOLI SHKOLNIK PLLC
         400 BROADHOLLOW ROAD - SUITE 305
         MELVILLE, NY 11747



3.3937   FLINT PLUMBING AND PIPEFITTING INDUSTRY HEALTH           6/10/2019                   Opioid Matter              UNDETERMINED
         CARE FUND, ON BEHALF OF ITSELF AND ALL OTHERS
         SIMILARLY SITUATED                                    ACCOUNT NO.:
         ATTN: FRANK GALLUCCI                                  NOT AVAILABLE
         PLEVIN & GALLUCI COMPANY, L.P.
         55 PUBLIC SQUARE - SUITE 2222
         CLEVELAND, OH 44113



3.3938   FLINT PLUMBING AND PIPEFITTING INDUSTRY HEALTH           6/10/2019                   Opioid Matter              UNDETERMINED
         CARE FUND, ON BEHALF OF ITSELF AND ALL OTHERS
         SIMILARLY SITUATED                                    ACCOUNT NO.:
         ATTN: JOHN D. MCCLUNE                                 NOT AVAILABLE
         SULLIVAN, WARD, ASHER & PATTON, P.C.
         25800 NORTHWESTERN HIGHWAY - SUITE 1000
         SOUTHFIELD, MI 48075



3.3939   FLINT PLUMBING AND PIPEFITTING INDUSTRY HEALTH           6/10/2019                   Opioid Matter              UNDETERMINED
         CARE FUND, ON BEHALF OF ITSELF AND ALL OTHERS
         SIMILARLY SITUATED                                    ACCOUNT NO.:
         ATTN: MICHAEL J. ASHER                                NOT AVAILABLE
         SULLIVAN, WARD, ASHER & PATTON, P.C.
         25800 NORTHWESTERN HIGHWAY - SUITE 1000
         SOUTHFIELD, MI 48075




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3940   FLORENCE COUNTY                                          11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, BOARD OF COMMISSIONERS AND
         COUNTY CLERK                                          ACCOUNT NO.:
         501 LAKE AVENUE                                       NOT AVAILABLE
         FLORENCE, WI 54121



3.3941   FLOYD COUNTY                                             3/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER
         12 EAST 4TH AVENUE                                    ACCOUNT NO.:
         ROME, GA 30161                                        NOT AVAILABLE



3.3942   FLOYD COUNTY                                             3/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE FLOYD COUNTY BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         12 EAST 4TH AVENUE                                    NOT AVAILABLE
         ROME, GA 30161



3.3943   FLOYD COUNTY, VIRGINIA                                  UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COMMONWEALTH'S ATTORNEY
         100 EAST MAIN STREET, ROOM 108                        ACCOUNT NO.:
         FLOYD, VA 24091                                       NOT AVAILABLE



3.3944   FOLEY HOSPITAL CORPORATION                               9/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         641 SOUTH LAWRENCE STREET                             ACCOUNT NO.:
         MONTGOMERY, AL 36104                                  NOT AVAILABLE



3.3945   FOLEY HOSPITAL CORPORATION                               9/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: CEO, PARTNER, OR MANAGER
         1613 NORTH MCKENZIE STREET                            ACCOUNT NO.:
         FOLEY, AL 36535                                       NOT AVAILABLE



3.3946   FOND DU LAC BAND OF LAKE SUPERIOR CHIPPEWA               10/9/2018                   Opioid Matter              UNDETERMINED
         15542 STATE HIGHWAY 371 NORTHWEST
         CASS LAKE, MN 56633                                   ACCOUNT NO.:
                                                               NOT AVAILABLE


3.3947   FOND DU LAC BAND OF LAKE SUPERIOR CHIPPEWA               10/9/2018                   Opioid Matter              UNDETERMINED
         ATTN: TRIBAL CHAIRMAN OF FOND DU LAC BAND OF
         LAKE SUPERIOR CHIPPEWA                                ACCOUNT NO.:
         1720 BIG LAKE ROAD                                    NOT AVAILABLE
         CLOQUET, MN 55720



3.3948   FOND DU LAC COUNTY                                       11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, BOARD OF SUPERVISORS AND
         COUNTY CLERK                                          ACCOUNT NO.:
         CITY COUNTY GOVERNMENT CENTER                         NOT AVAILABLE
         160 S. MACY STREET
         FOND DU LAC, WI 54935




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Creditor's Name, Mailing Address Including Zip             Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                        And Account Number                         Claim

Litigation

3.3949   FOREST COUNTY                                                 11/28/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, BOARD OF SUPERVISORS AND
         COUNTY CLERK                                                ACCOUNT NO.:
         200 E MADISON AVENUE                                        NOT AVAILABLE
         CRANDON, WI 54520



3.3950   FOREST COUNTY POTAWATOMI COMMUNITY                            12/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND CHIEF EXECUTIVE OFFICER OF
         THE FOREST COUNTY POTAWATOMI COMMUNITY                      ACCOUNT NO.:
         5416 EVERYBODY'S ROAD                                       NOT AVAILABLE
         P.O. BOX 340
         CRANDON, WI 54520



3.3951   FORREST COUNTY, MISS.                                          1/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF SUPERVISORS
         641 N MAIN STREET                                           ACCOUNT NO.:
         HATTIESBURG, MS 39401                                       NOT AVAILABLE



3.3952   FORSYTH COUNTY, GEORGIA                                        6/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         110 EAST MAIN STREET                                        ACCOUNT NO.:
         SUITE 210                                                   NOT AVAILABLE
         CUMMING, GA 30040



3.3953   FORT BELKNAP INDIAN COMMUNITY OF THE FORT                      6/5/2019                    Opioid Matter              UNDETERMINED
         BELKNAP INDIAN RESERVATION OF MONTANA
         ATTN: TRIBAL COUNCIL CHAIRMAN, PRESIDENT, AND               ACCOUNT NO.:
         CHIEF EXECUTIVE OFFICER                                     NOT AVAILABLE
         656 AGENCY MAIN STREET
         HARLEM, MT 59526



3.3954   FOUR WINDS TRIBE LOUISIANA CHEROKEE                            6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT OF THE FOUR WINDS TRIBE
         LOUISIANA CHEROKEE                                          ACCOUNT NO.:
         127 OVERBEY LANE                                            NOT AVAILABLE
         DRY PRONG, LA 71423



3.3955   Francisco Perez, individually, as admin and admin ad           10/5/2018                   Opioid Matter              UNDETERMINED
         prosequendum for the Estate of Tanny Robles-Perez,
         Fransheka Robles Gomez, Sarai Perez Robles, a minor, by     ACCOUNT NO.:
         Francisco Perez, his guardian ad litem                      NOT AVAILABLE
         Attn: James P. Kimball, Esq
         Seigel Law LLC
         505 Goffle Road
         Ridgewood, NJ 07450



3.3956   FRANKLIN COUNTY                                                6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: DIRECTOR, TAX OFFICE
         2 NORTH MAIN ST.                                            ACCOUNT NO.:
         CHAMBERSBURG, PA 17201                                      NOT AVAILABLE



3.3957   FRANKLIN COUNTY                                                8/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         400 EAST LOCUST STREET                                      ACCOUNT NO.:
         UNION, MO 63084                                             NOT AVAILABLE


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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3958   FRANKLIN COUNTY                                          1/29/2019                   Opioid Matter              UNDETERMINED
         CHRIS R. MILTENBERGER
         THE LAW OFFICE OF CHRIS R. MILTENBERGER, PLLC         ACCOUNT NO.:
         1360 NORTH WHITE CHAPEL - SUITE 200                   NOT AVAILABLE
         SOUTHLAKE, TX 76092



3.3959   FRANKLIN COUNTY                                          1/29/2019                   Opioid Matter              UNDETERMINED
         JAMES P. HOLLORAN
         HOLLORAN SCHWARTZ & GAERTNER                          ACCOUNT NO.:
         9200 LITZSINGER ROAD                                  NOT AVAILABLE
         SAINT LOUIS, MO 63144



3.3960   FRANKLIN COUNTY                                          1/29/2019                   Opioid Matter              UNDETERMINED
         JEFF BAUER
         STRONG-GARNER-BAUER, P.C.                             ACCOUNT NO.:
         415 EAST CHESTNUT EXPRESSWAY                          NOT AVAILABLE
         SPRINGFIELD, MO 65802



3.3961   FRANKLIN COUNTY                                          7/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY AUDITOR
         1016 NORTH 4TH AVENUE                                 ACCOUNT NO.:
         PASCO, WA 99301                                       NOT AVAILABLE



3.3962   FRANKLIN COUNTY                                          1/29/2019                   Opioid Matter              UNDETERMINED
         NEIL CHANTER
         STRONG-GARNER-BAUER, P.C.                             ACCOUNT NO.:
         415 EAST CHESTNUT EXPRESSWAY                          NOT AVAILABLE
         SPRINGFIELD, MO 65802



3.3963   FRANKLIN COUNTY                                          1/29/2019                   Opioid Matter              UNDETERMINED
         STEVE GARNER
         STRONG-GARNER-BAUER, P.C.                             ACCOUNT NO.:
         415 EAST CHESTNUT EXPRESSWAY                          NOT AVAILABLE
         SPRINGFIELD, MO 65802



3.3964   FRANKLIN COUNTY                                          1/29/2019                   Opioid Matter              UNDETERMINED
         PATRICIA J. SCHILLING
         STYRON & SHILLING                                     ACCOUNT NO.:
         302 EAST CHURCH STREET                                NOT AVAILABLE
         OZARK, MO 65721



3.3965   FRANKLIN COUNTY                                          1/29/2019                   Opioid Matter              UNDETERMINED
         JEFFREY B. SIMON
         SIMON GREENSTONE PANATIER, P.C.                       ACCOUNT NO.:
         1201 ELM STREET - SUITE 3400                          NOT AVAILABLE
         DALLAS, TX 75270



3.3966   FRANKLIN COUNTY                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY MAYOR
         855 DINAH SHORE BOULEVARD                             ACCOUNT NO.:
         SUITE #3                                              NOT AVAILABLE
         WINCHESTER, TN 37398




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3967   FRANKLIN COUNTY                                          1/29/2019                   Opioid Matter              UNDETERMINED
         JEFFREY J. LOWE
         CAREY DANIS & LOWE                                    ACCOUNT NO.:
         8235 FORSYTH BOULEVARD                                NOT AVAILABLE
         SAINT LOUIS, MO 63105



3.3968   FRANKLIN COUNTY                                          1/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK; DISTRICT COMMISSIONERS 1-2
         400 E LOCUST                                          ACCOUNT NO.:
         UNION, MO 63084                                       NOT AVAILABLE



3.3969   FRANKLIN COUNTY                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         1 SOUTH JEFFERSON STREET                              ACCOUNT NO.:
         WINCHESTER, TN 37398                                  NOT AVAILABLE



3.3970   FRANKLIN COUNTY                                          1/29/2019                   Opioid Matter              UNDETERMINED
         THOMAS E. SCHWARTZ
         HOLLORAN SCHWARTZ & GAERTNER                          ACCOUNT NO.:
         9200 LITZSINGER ROAD                                  NOT AVAILABLE
         SAINT LOUIS, MO 63144



3.3971   FRANKLIN COUNTY                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CIRCUIT COURT CLERK
         440 GEORGE FRALEY PARKWAY                             ACCOUNT NO.:
         ROOM #157                                             NOT AVAILABLE
         WINCHESTER, TN 37398



3.3972   FRANKLIN COUNTY                                          1/29/2019                   Opioid Matter              UNDETERMINED
         RAMONA GAU
         MARLER SCHRUM                                         ACCOUNT NO.:
         406 EAST KARSCH BOULEVARD                             NOT AVAILABLE
         FARMINGTON, MO 63640



3.3973   FRANKLIN COUNTY                                         10/22/2018                   Opioid Matter              UNDETERMINED
         9001 MAIL SERVICE CENTER
         RALEIGH, NC 27699-9001                                ACCOUNT NO.:
                                                               NOT AVAILABLE


3.3974   FRANKLIN COUNTY                                         10/22/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER AND CLERK TO THE BOARD
         OF COMMISSIONERS AND COUNTY COMMISSIONERS             ACCOUNT NO.:
         113 MARKET STREET                                     NOT AVAILABLE
         LOUISBURG, NC 27549



3.3975   FRANKLIN COUNTY                                          1/29/2019                   Opioid Matter              UNDETERMINED
         JOHN F. GARVEY
         CAREY DANIS & LOWE                                    ACCOUNT NO.:
         8235 FORSYTH BOULEVARD                                NOT AVAILABLE
         SAINT LOUIS, MO 63105




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.3976   FRANKLIN COUNTY                                          1/29/2019                   Opioid Matter              UNDETERMINED
         SARA L. MARLER
         MARLER SCHRUM                                         ACCOUNT NO.:
         406 EAST KARSCH BOULEVARD                             NOT AVAILABLE
         FARMINGTON, MO 63640



3.3977   FRANKLIN COUNTY                                          1/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: ALYSON M. PETRICK
         CAREY DANIS & LOWE                                    ACCOUNT NO.:
         8235 FORSYTH BOULEVARD                                NOT AVAILABLE
         SAINT LOUIS, MO 63105



3.3978   FRANKLIN COUNTY                                          1/29/2019                   Opioid Matter              UNDETERMINED
         SCOTT J. SCHRUM
         MARLER SCHRUM                                         ACCOUNT NO.:
         406 EAST KARSCH BOULEVARD                             NOT AVAILABLE
         FARMINGTON, MO 63640



3.3979   FRANKLIN COUNTY                                          1/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: ANNE CALLIS
         HOLLORAN SCHWARTZ & GAERTNER                          ACCOUNT NO.:
         9200 LITZSINGER ROAD                                  NOT AVAILABLE
         SAINT LOUIS, MO 63144



3.3980   FRANKLIN COUNTY                                          1/29/2019                   Opioid Matter              UNDETERMINED
         DEREK GOOD
         CHURMAN, HOWARD, WEBER, SENKEL & NORRICK LLC          ACCOUNT NO.:
         P.O.BOX 800 - 301 MAIN STREET                         NOT AVAILABLE
         HILLSBORO, MO 63050



3.3981   FRANKLIN COUNTY                                          1/29/2019                   Opioid Matter              UNDETERMINED
         SARAH SHOEMAKE DOLES
         CAREY DANIS & LOWE                                    ACCOUNT NO.:
         8235 FORSYTH BOULEVARD                                NOT AVAILABLE
         SAINT LOUIS, MO 63105



3.3982   FRANKLIN COUNTY BOARD OF COUNTY COMMISSIONERS            1/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: FRANKLIN COUNTY BOARD OF COUNTY
         COMMISSIONERS PRESIDENT                               ACCOUNT NO.:
         373 S. HIGH STREET, 26TH FLOOR                        NOT AVAILABLE
         COLUMBUS, OH 43215



3.3983   FRANKLIN COUNTY, MISSISSIPPI                             6/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF SUPERVISORS
         PO BOX 297                                            ACCOUNT NO.:
         MEADVILLE, MS 39653                                   NOT AVAILABLE



3.3984   FRANKLIN COUNTY, VIRGINIA                               UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COMMONWEALTH ATTORNEY
         FRANKLIN COUNTY COURTHOUSE                            ACCOUNT NO.:
         275 SOUTH MAIN STREET, SUITE 33                       NOT AVAILABLE
         ROCKY MOUNT, VA 24151




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Code                                                 And Account Number                          Claim

Litigation

3.3985   FRANKLIN PARISH                                         10/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT, VICE PRESIDENT
         6558 MAIN STREET                                      ACCOUNT NO.:
         WINNSBORO, LA 71295                                   NOT AVAILABLE



3.3986   FREDERICK COUNTY, MARYLAND                               6/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY AND RESIDENT AGENT
         WINCHESTER HALL                                       ACCOUNT NO.:
         12 EAST CHURCH STREET                                 NOT AVAILABLE
         FREDERICK, MD 21701



3.3987   FREDERICK HILL                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         PRO SE LITIGANT
         FREDRICK HILL                                         ACCOUNT NO.:
         25 STEPHEN DRIVE                                      NOT AVAILABLE
         GLENDORA, NJ 08029



3.3988   FREDRICK HILL                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         25 STEPHENS DRIVE
         GLENDORA, NJ 08029                                    ACCOUNT NO.:
                                                               NOT AVAILABLE


3.3989   FREEBORN COUNTY, MINNESOTA                               7/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY BOARD CHAIRMAN
         405 GARDEN RD                                         ACCOUNT NO.:
         ALBERT LEA, MN 56007                                  NOT AVAILABLE



3.3990   FREEBORN COUNTY, MINNESOTA                               7/15/2019                   Opioid Matter              UNDETERMINED
         411 BROADWAY S
         ALBERT LEA, MN 56007                                  ACCOUNT NO.:
                                                               NOT AVAILABLE


3.3991   GADSDEN REGIONAL MEDICAL CENTER, LLC                     9/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: CEO, PARTNER, OR MANAGER
         5800 TENNYSON PARKWAY                                 ACCOUNT NO.:
         PLANO, TX 75024                                       NOT AVAILABLE



3.3992   GADSDEN REGIONAL MEDICAL CENTER, LLC                     9/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: CEO, PARTNER, OR MANAGER
         1007 GOODYEAR AVENUE                                  ACCOUNT NO.:
         GADSEN, AL 35903                                      NOT AVAILABLE



3.3993   GADSDEN REGIONAL MEDICAL CENTER, LLC                     9/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         641 SOUTH LAWRENCE STREET                             ACCOUNT NO.:
         MONTGOMERY, AL 36104                                  NOT AVAILABLE



3.3994   GALLIA COUNTY BOARD OF COUNTY COMMISSIONERS              10/9/2017                   Opioid Matter              UNDETERMINED
         ATTN: CLERK OF THE BOARD OF COMMISSIONERS AND
         PRESECUTING ATTORNEY                                  ACCOUNT NO.:
         GALLIA COUNTY COURTHOUSE                              NOT AVAILABLE
         18 LOCUST STREET - ROOM 1292
         GALLIPOLIS, OH 45631




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Code                                                 And Account Number                          Claim

Litigation

3.3995   GARFIELD COUNTY, UTAH                                    4/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY AUDITOR / CLERK
         GARFIELD COUNTY COURTHOUSE                            ACCOUNT NO.:
         AUDITOR/CLERK'S OFFICE - 55 SOUTH MAIN STREET         NOT AVAILABLE
         PANGUITCH, UT 84759-0077



3.3996   GARFIELD COUNTY, UTAH                                    4/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK AND COUNTY ATTORNEY
         GARFIELD COUNTY COURTHOUSE                            ACCOUNT NO.:
         55 SOUTH MAIN STREET                                  NOT AVAILABLE
         PANGUITCH, UT 84759



3.3997   GARRETT COUNTY, MARYLAND                                 6/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: BOARD OF COUNTY COMMISSIONERS AND
         COUNTY ATTORNEY                                       ACCOUNT NO.:
         203 SOUTH FOURTH STREET                               NOT AVAILABLE
         ROOM 207
         OAKLAND, MD 21550



3.3998   GARY CARR, INDIVIDUALLY AS NEXT FRIEND AND ON            6/14/2019                   Opioid Matter              UNDETERMINED
         BEHALF OF ALL WRONGFUL DEATH BENEFICIARIES OF
         LUTHER GREER, DECEASED                                ACCOUNT NO.:
         ATTN: KIMBERLY P. SIMOES                              NOT AVAILABLE
         GREER, RUSSELL, DENT & LEATHERS, PLLC
         117 NORTH BROADWAY
         TUPELO, MS 38802



3.3999   GARY CARR, INDIVIDUALLY AS NEXT FRIEND AND ON            6/14/2019                   Opioid Matter              UNDETERMINED
         BEHALF OF ALL WRONGFUL DEATH BENEFICIARIES OF
         LUTHER GREER, DECEASED                                ACCOUNT NO.:
         ATTN: JEFFERSON V. HESTER                             NOT AVAILABLE
         GREER, RUSSELL, DENT & LEATHERS, PLLC
         117 NORTH BROADWAY
         TUPELO, MS 38802



3.4000   GARY CARR, INDIVIDUALLY AS NEXT FRIEND AND ON            6/14/2019                   Opioid Matter              UNDETERMINED
         BEHALF OF ALL WRONGFUL DEATH BENEFICIARIES OF
         LUTHER GREER, DECEASED                                ACCOUNT NO.:
         ATTN: MICHAEL D. GREER                                NOT AVAILABLE
         GREER, RUSSELL, DENT & LEATHERS, PLLC
         117 NORTH BROADWAY
         TUPELO, MS 38802



3.4001   GARY GILLEY, SHERIFF                                    12/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: SHERIFF
         RICHLAND PARISH SHERIFF'S OFFICE                      ACCOUNT NO.:
         708 JULIA STREET - ROOM 113                           NOT AVAILABLE
         RAYVILLE, LA 71269



3.4002   GARY LANDFORD, IN HIS OFFICIAL CAPACITY AS THE           3/22/2019                   Opioid Matter              UNDETERMINED
         SHERIFF OF MURRAY COUNTY, GEORGIA
         ATTN: SOLE COMMISSIONER                               ACCOUNT NO.:
         121 N. FOURTH AVE.                                    NOT AVAILABLE
         P.O. BOX 1129
         CHATSWORTH, GA 30705




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4003   GARY LANDFORD, IN HIS OFFICIAL CAPACITY AS THE           3/22/2019                   Opioid Matter              UNDETERMINED
         SHERIFF OF MURRAY COUNTY, GEORGIA
         3000 HIGHWAY 42 N.                                    ACCOUNT NO.:
         PO BOX 1000                                           NOT AVAILABLE
         STOCKBRIDGE, GA 30281



3.4004   GASCONADE COUNTY, MISSOURI                              10/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK, COUNTY COMMISSION
         GASCONADE COUNTY COURTHOUSE                           ACCOUNT NO.:
         119 EAST FIRST STREET - SUITE 2                       NOT AVAILABLE
         HERMANN, MO 65041



3.4005   GASTON COUNTY                                            1/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS;
         COUNTY CLERK                                          ACCOUNT NO.:
         PO BOX 1578                                           NOT AVAILABLE
         GASTONIA, NC 28053-1578



3.4006   GASTON COUNTY                                            1/28/2018                   Opioid Matter              UNDETERMINED
         ADMINISTRATION BLDG
         128 WEST MAIN AVENUE                                  ACCOUNT NO.:
         GASTONIA, NC 28053                                    NOT AVAILABLE



3.4007   GEAUGA COUNTY BOARD OF COUNTY COMMISSIONERS              3/15/2018                   Opioid Matter              UNDETERMINED
         231 MAIN STREET
         3RD FLOOR                                             ACCOUNT NO.:
         CHARDON, OH 44024                                     NOT AVAILABLE



3.4008   GEAUGA COUNTY BOARD OF COUNTY COMMISSIONERS              3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF COMMISSIONERS,
         VICE-PRESIDENT OF THE BOARD OF COMMISSIONERS,         ACCOUNT NO.:
         COUNTY COMMISSIONER                                   NOT AVAILABLE
         470 CENTER STREET
         BUILDING #4
         CHARDON, OH 44024



3.4009   GENA PATTERSON, INDIVIDUALLY AND AS NEXT FRIEND          6/20/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY F.P.
         ATTN: CELESTE BRUSTOWICZ                              ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                  NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.4010   GENE SCARBOROUGH, IN HIS OFFICIAL CAPACITY AS            3/22/2019                   Opioid Matter              UNDETERMINED
         THE SHERIFF OF TIFT COUNTY, GEORGIA
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS          ACCOUNT NO.:
         225 NORTH TIFT AVENUE                                 NOT AVAILABLE
         TIFTON, GA 31794



3.4011   GENE SCARBOROUGH, IN HIS OFFICIAL CAPACITY AS            3/22/2019                   Opioid Matter              UNDETERMINED
         THE SHERIFF OF TIFT COUNTY, GEORGIA
         GEORGIA SHERIFFS’ ASSOCIATION                         ACCOUNT NO.:
         3000 HIGHWAY 42 N.                                    NOT AVAILABLE
          - P.O. BOX 1000
         STOCKBRIDGE, GA 30281


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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4012   GENESEE COUNTY                                          12/18/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         900 S. SAGINAW ST - 2ND FLOOR                         ACCOUNT NO.:
         FLINT, MI 48502                                       NOT AVAILABLE



3.4013   GENESEE COUNTY                                          12/18/2017                   Opioid Matter              UNDETERMINED
         900 SOUTH SAGINAW STREET
         FLINT, MI 48502                                       ACCOUNT NO.:
                                                               NOT AVAILABLE


3.4014   GEORGE COUNTY, MISSISSIPPI                               3/1/2019                    Opioid Matter              UNDETERMINED
         355 COX STREET
         LUCEDALE, MS 39452                                    ACCOUNT NO.:
                                                               NOT AVAILABLE


3.4015   GEORGE COUNTY, MISSISSIPPI                               3/1/2019                    Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF SUPERVISORS
         329 RATLIFF STREET                                    ACCOUNT NO.:
         LUCEDALE, MS 39452                                    NOT AVAILABLE



3.4016   GEORGETOWN CITY, SOUTH CAROLINA                          6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR; CITY CLERK
         PO DRAWER 939                                         ACCOUNT NO.:
         GEORGETOWN, SC 29442                                  NOT AVAILABLE



3.4017   GEORGETOWN CITY, SOUTH CAROLINA                          6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY CLERK
         417 WOOD STREET                                       ACCOUNT NO.:
         GEORGETOWN, SC 29440                                  NOT AVAILABLE



3.4018   GEORGETOWN CITY, SOUTH CAROLINA                          6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR; CITY CLERK
         417 WOOD STREET                                       ACCOUNT NO.:
         GEORGETOWN, SC 29442                                  NOT AVAILABLE



3.4019   GEORGETOWN COUNTY, SOUTH CAROLINA                        6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY ADMINISTRATOR
         716 PRINCE STREET                                     ACCOUNT NO.:
         GEORGETOWN, SC 29440                                  NOT AVAILABLE



3.4020   GILA RIVER INDIAN COMMUNITY                              6/5/2019                    Opioid Matter              UNDETERMINED
         ATTN: GOVERNOR
         525 WEST GU U KI                                      ACCOUNT NO.:
         SACATON, AZ 85147                                     NOT AVAILABLE



3.4021   GILCHRIST COUNTY, FLORIDA                                6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COUNTY
         COMMISSIONERS                                         ACCOUNT NO.:
         209 SE 1ST STREET                                     NOT AVAILABLE
         TRENTON, FL 32693




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4022   GILES COUNTY                                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         1340 CHICKEN CREEK ROAD                               ACCOUNT NO.:
         PULASKI, TN 38478                                     NOT AVAILABLE



3.4023   GILES COUNTY                                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ATT: CIRCUIT COURT CLERK
         1 PUBLIC SQUARE                                       ACCOUNT NO.:
         PULASKI, TN 38478                                     NOT AVAILABLE



3.4024   GILES COUNTY                                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE
         222 WEST MADISON STREET                               ACCOUNT NO.:
         PULASKI, TN 38478-0678                                NOT AVAILABLE



3.4025   GILES COUNTY                                            12/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         GILES COUNTY LEGAL COUNSEL                            ACCOUNT NO.:
         315 NORTH MAIN STREET                                 NOT AVAILABLE
         PEARISBURG, VA 24134



3.4026   GILLIARD HEALTH SERVICES, INC.                           9/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND CEO
         101 CRESTVIEW AVENUE                                  ACCOUNT NO.:
         EVERGREEN, AL 36401                                   NOT AVAILABLE



3.4027   GILLIARD HEALTH SERVICES, INC.                           9/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         121 LEWIS STREET                                      ACCOUNT NO.:
         EVERGREEN, AL 36401                                   NOT AVAILABLE



3.4028   GLASCOCK COUNTY, GEORGIA                                 3/25/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         64 WARREN STREET                                      ACCOUNT NO.:
         GIBSON, GA 30810                                      NOT AVAILABLE



3.4029   GLENN GOLDEN, GRETTA GOLDEN AND MICHAEL                  2/6/2019                    Opioid Matter              UNDETERMINED
         CHRISTY, INDIVIDUALLY, AND ON BEHALF OF ALL
         OTHERS SIMILARLY SITUATED                             ACCOUNT NO.:
         ATTN: JAMES D. YOUNG                                  NOT AVAILABLE
         MORGAN & MORGAN
         COMPLEX LITIGATION GROUP - 76 SOUTH LAURA
         STREET, SUITE 1100
         JACKSONVILLE, FL 32202



3.4030   GLENN GOLDEN, GRETTA GOLDEN AND MICHAEL                  2/6/2019                    Opioid Matter              UNDETERMINED
         CHRISTY, INDIVIDUALLY, AND ON BEHALF OF ALL
         OTHERS SIMILARLY SITUATED                             ACCOUNT NO.:
         ATTN: THOMAS R. MCCARTHY                              NOT AVAILABLE
         CONSOVOY MCCARTHY PARK PLLC
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4031   GLENN GOLDEN, GRETTA GOLDEN AND MICHAEL                  2/6/2019                    Opioid Matter              UNDETERMINED
         CHRISTY, INDIVIDUALLY, AND ON BEHALF OF ALL
         OTHERS SIMILARLY SITUATED                             ACCOUNT NO.:
         ATTN: WILLIAM S. CONSOVOY                             NOT AVAILABLE
         CONSOVOY MCCARTHY PARK PLLC
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201



3.4032   GLENN GOLDEN, GRETTA GOLDEN AND MICHAEL                  2/6/2019                    Opioid Matter              UNDETERMINED
         CHRISTY, INDIVIDUALLY, AND ON BEHALF OF ALL
         OTHERS SIMILARLY SITUATED                             ACCOUNT NO.:
         ATTN: SETH MEYER                                      NOT AVAILABLE
         KELLER LENKNER LLC
         150 NORTH RIVERSIDE PLAZA - SUITE 5100
         CHICAGO, IL 60606



3.4033   GLENN GOLDEN, GRETTA GOLDEN AND MICHAEL                  2/6/2019                    Opioid Matter              UNDETERMINED
         CHRISTY, INDIVIDUALLY, AND ON BEHALF OF ALL
         OTHERS SIMILARLY SITUATED                             ACCOUNT NO.:
         ATTN: TRAVIS LENKNER                                  NOT AVAILABLE
         KELLER LENKNER LLC
         150 NORTH RIVERSIDE PLAZA - SUITE 5100
         CHICAGO, IL 60606



3.4034   GLENN GOLDEN, GRETTA GOLDEN AND MICHAEL                  2/6/2019                    Opioid Matter              UNDETERMINED
         CHRISTY, INDIVIDUALLY, AND ON BEHALF OF ALL
         OTHERS SIMILARLY SITUATED                             ACCOUNT NO.:
         ATTN: DEWAYNE LARRY WILLIAMS                          NOT AVAILABLE
         AARON & GIANNA, PLC
         201 ST. CHARLES AVENUE - SUITE 3800
         NEW ORLEANS, LA 70170



3.4035   GLENN GOLDEN, GRETTA GOLDEN AND MICHAEL                  2/6/2019                    Opioid Matter              UNDETERMINED
         CHRISTY, INDIVIDUALLY, AND ON BEHALF OF ALL
         OTHERS SIMILARLY SITUATED                             ACCOUNT NO.:
         ATTN: MICHAEL H. PARK                                 NOT AVAILABLE
         ATTN: MICHAEL H PARK
         745 FIFTH AVENUE - SUITE 500
         NEW YORK, NY 10151



3.4036   GLENN GOLDEN, GRETTA GOLDEN AND MICHAEL                  2/6/2019                    Opioid Matter              UNDETERMINED
         CHRISTY, INDIVIDUALLY, AND ON BEHALF OF ALL
         OTHERS SIMILARLY SITUATED                             ACCOUNT NO.:
         ATTN: JOHN A. YANCHUNIS                               NOT AVAILABLE
         MORGAN & MORGAN
         COMPLEX LITIGATION GROUP - 201 NORTH FRANKLIN
         STREET, 7TH FLOOR
         TAMPA, FL 33602



3.4037   GLENN GOLDEN, GRETTA GOLDEN AND MICHAEL                  2/6/2019                    Opioid Matter              UNDETERMINED
         CHRISTY, INDIVIDUALLY, AND ON BEHALF OF ALL
         OTHERS SIMILARLY SITUATED                             ACCOUNT NO.:
         ATTN: JUAN MARTINEZ                                   NOT AVAILABLE
         MORGAN & MORGAN
         COMPLEX LITIGATION GROUP - 201 NORTH FRANKLIN
         STREET, 7TH FLOOR
         TAMPA, FL 33602



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Creditor's Name, Mailing Address Including Zip                 Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                            And Account Number                         Claim

Litigation

3.4038   GLENN GOLDEN, GRETTA GOLDEN AND MICHAEL                            2/6/2019                    Opioid Matter              UNDETERMINED
         CHRISTY, INDIVIDUALLY, AND ON BEHALF OF ALL
         OTHERS SIMILARLY SITUATED                                       ACCOUNT NO.:
         ATTN: PATRICK A. BARTHLE II                                     NOT AVAILABLE
         MORGAN & MORGAN
         COMPLEX LITIGATION GROUP - 201 NORTH FRANKLIN
         STREET, 7TH FLOOR
         TAMPA, FL 33602



3.4039   GLENN GOLDEN, GRETTA GOLDEN AND MICHAEL                            2/6/2019                    Opioid Matter              UNDETERMINED
         CHRISTY, INDIVIDUALLY, AND ON BEHALF OF ALL
         OTHERS SIMILARLY SITUATED                                       ACCOUNT NO.:
         ATTN: WILLIAM DAVID AARON , JR.                                 NOT AVAILABLE
         AARON & GIANNA, PLC
         201 ST. CHARLES AVENUE - SUITE 3800
         NEW ORLEANS, LA 70170



3.4040   GLENN GOLDEN, GRETTA GOLDEN AND MICHAEL                            2/6/2019                    Opioid Matter              UNDETERMINED
         CHRISTY, INDIVIDUALLY, AND ON BEHALF OF ALL
         OTHERS SIMILARLY SITUATED                                       ACCOUNT NO.:
         ATTN: ANNA A. RAINER                                            NOT AVAILABLE
         AARON & GIANNA, PLC
         201 ST. CHARLES AVENUE - SUITE 3800
         NEW ORLEANS, LA 70170



3.4041   GLENN GOLDEN, GRETTA GOLDEN AND MICHAEL                            2/6/2019                    Opioid Matter              UNDETERMINED
         CHRISTY, INDIVIDUALLY, AND ON BEHALF OF ALL
         OTHERS SIMILARLY SITUATED                                       ACCOUNT NO.:
         ATTN: ASHLEY C. KELLER                                          NOT AVAILABLE
         KELLER LENKNER LLC
         150 NORTH RIVERSIDE PLAZA - SUITE 2750
         CHICAGO, IL 60606



3.4042   GLORIA CRUZ, INDIVIDUALLY AND AS NEXT FRIEND AND                   6/14/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY C.E.L., ON BEHALF OF THEMSELVES
         AND ALL OTHERS SIMILARLY SITUATED                               ACCOUNT NO.:
         ATTN: SCOTT R. BICKFORD                                         NOT AVAILABLE
         MARTZELL, BICKFORD & CENTOLA
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.4043   Gloria Cruz, individually and as next friend and guardian of       6/14/2019                   Opioid Matter              UNDETERMINED
         Baby C.E.L., on behalf of themselves and all others similarly
         situated                                                        ACCOUNT NO.:
         Attn: Kevin W. Thompson, David R. Barney, Jr.                   NOT AVAILABLE
         Thompson Barney Law Firm
         2030 Kanawha Boulevard, East
         Charleston, WV 25311



3.4044   GLORIA CRUZ, INDIVIDUALLY AND AS NEXT FRIEND AND                   6/14/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY C.E.L., ON BEHALF OF THEMSELVES
         AND ALL OTHERS SIMILARLY SITUATED                               ACCOUNT NO.:
         ATTN: DAVID R. BARNEY, JR.                                      NOT AVAILABLE
         THOMPSON BARNEY LAW FIRM
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4045   GLORIA CRUZ, INDIVIDUALLY AND AS NEXT FRIEND AND         6/14/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY C.E.L., ON BEHALF OF THEMSELVES
         AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
         ATTN: DONALD E. CREADORE                              NOT AVAILABLE
         CREADOR LAW FIRM
         450 SEVENTH AVENUE - SUITE 1408
         NEW YORK, NY 10123



3.4046   GLORIA CRUZ, INDIVIDUALLY AND AS NEXT FRIEND AND         6/14/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY C.E.L., ON BEHALF OF THEMSELVES
         AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
         ATTN: CELESTE BRUSTOWICZ, STEPHEN H. WUSSOW           NOT AVAILABLE
         COOPER LAW FIRM, LLC
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.4047   GLORIA CRUZ, INDIVIDUALLY AND AS NEXT FRIEND AND         6/14/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY C.E.L., ON BEHALF OF THEMSELVES
         AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
         ATTN: STEPHEN WUSSOW                                  NOT AVAILABLE
         COOPER LAW FIRM
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.4048   GLORIA CRUZ, INDIVIDUALLY AND AS NEXT FRIEND AND         6/14/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY C.E.L., ON BEHALF OF THEMSELVES
         AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
         ATTN: KENT HARRISON ROBBINS                           NOT AVAILABLE
         THE LAW OFFICE OF KENT HARRISON ROBBINS, P.A.
         242 NORTHEAST 27TH STREET
         MIAMI, FL 33137



3.4049   GLORIA CRUZ, INDIVIDUALLY AND AS NEXT FRIEND AND         6/14/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY C.E.L., ON BEHALF OF THEMSELVES
         AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
         ATTN: CELESTE BRUSTOWICZ                              NOT AVAILABLE
         COOPER LAW FIRM
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.4050   GLORIA CRUZ, INDIVIDUALLY AND AS NEXT FRIEND AND         6/14/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY C.E.L., ON BEHALF OF THEMSELVES
         AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
         ATTN: SPENCER R. DOODY                                NOT AVAILABLE
         MARTZELL, BICKFORD & CENTOLA
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.4051   GLYNN COUNTY, GEORGIA                                   10/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER; COUNTY MANAGER;
         COUNTY CLERK                                          ACCOUNT NO.:
         1725 REYNOLDS STREET                                  NOT AVAILABLE
         SUITE 302
         BRUNSWICK, GA 31520




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4052   GONZALES HEALTHCARE SYSTEMS                              7/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         HIGHWAY 90 A BYPASS                                   ACCOUNT NO.:
         GONZALES, TX 78629                                    NOT AVAILABLE



3.4053   GONZALES HEALTHCARE SYSTEMS                              7/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: BOARD OF DIRECTORS PRESIDENT
         1110 N SARAH DEWITT DRIVE                             ACCOUNT NO.:
         GONZALAS, TX 78629                                    NOT AVAILABLE



3.4054   GOODING COUNTY, IDAHO                                    6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: CLERK
         624 MAIN STREET                                       ACCOUNT NO.:
         GOODING, ID 83330                                     NOT AVAILABLE



3.4055   GORLOW, JANET                                            8/26/2016                    Automobile                UNDETERMINED
         NOT AVAILABLE
                                                               ACCOUNT NO.:
                                                               AB50539798401


3.4056   GRACE HOSPICE OF NEW ORLEANS, LLC                        6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         6464 JEFFERSON HIGHWAY                                ACCOUNT NO.:
         HARAHAN, LA 70123                                     NOT AVAILABLE



3.4057   GRACE HOSPICE OF NEW ORLEANS, LLC                        6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT; MANAGER; CHIEF
         EXECUTIVE OFFICER                                     ACCOUNT NO.:
         10615 JEFFERSON HIGHWAY                               NOT AVAILABLE
         BATON ROUGE, LA 70809



3.4058   GRADY COUNTY, GEORGIA                                   11/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         250 NORTH BROAD STREET                                ACCOUNT NO.:
         CAIRO, GA 39828-2107                                  NOT AVAILABLE



3.4059   GRAFTON CITY HOSPITAL, INC.                              4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         1 HOSPITAL PLAZA                                      ACCOUNT NO.:
         GRAFTON, WV 26354                                     NOT AVAILABLE



3.4060   GRAFTON COUNTY                                           9/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE COUNTY BOARD OF
         COMMISSIONERS, TREASURER                              ACCOUNT NO.:
         3855 DARTMOUTH COLLEGE HWY                            NOT AVAILABLE
         NORTH HAVERHILL, NH 03774



3.4061   GRAINGER COUNTY                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 126                                            ACCOUNT NO.:
         RUTLEDGE, TN 37861                                    NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4062   GRAINGER COUNTY                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         8095 RUTLEDGE PIKE                                    ACCOUNT NO.:
         RUTLEDGE, TN 37861                                    NOT AVAILABLE



3.4063   GRAINGER COUNTY                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         8095 RUTLEDGE PIKE                                    ACCOUNT NO.:
         SUITE 103                                             NOT AVAILABLE
         RUTLEDGE, TN 37861



3.4064   GRANBURY HOSPITAL CORPORATION D/B/A LAKE                UNKNOWN                      Opioid Matter              UNDETERMINED
         GRANBURY MEDICAL CENTER
         ATTN: CEO, PARTNER, OR MANAGER                        ACCOUNT NO.:
         7100 COMMERCE WAY                                     NOT AVAILABLE
         SUITE 100
         BREETWOOD, TN 37027-6935



3.4065   GRANBURY HOSPITAL CORPORATION D/B/A LAKE                UNKNOWN                      Opioid Matter              UNDETERMINED
         GRANBURY MEDICAL CENTER
         ATTN: REGISTERED AGENT                                ACCOUNT NO.:
         211 EAST 7TH STREET                                   NOT AVAILABLE
         SUITE 620
         AUSTIN, TX 78701



3.4066   GRANBURY HOSPITAL CORPORATION D/B/A LAKE                UNKNOWN                      Opioid Matter              UNDETERMINED
         GRANBURY MEDICAL CENTER
         ATTN: CEO                                             ACCOUNT NO.:
         1310 PALUXY ROAD                                      NOT AVAILABLE
         GRANBURY, TX 76048



3.4067   GRAND COUNTY                                             11/8/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK AND COUNTY ATTORNEY
         55 SOUTH MAIN STREET                                  ACCOUNT NO.:
         PANGUITCH, UT 84759                                   NOT AVAILABLE



3.4068   GRAND FORKS COUNTY                                       6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR, COUNTY BOARD OF COMMISSIONERS
         GRAND FORKS COUNTY OFFICE BUILDING                    ACCOUNT NO.:
         151 SOUTH 4TH STREET                                  NOT AVAILABLE
         GRAND FORKS, ND 58201



3.4069   GRANT COUNTY                                             11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, BOARD OF SUPERVISORS AND
         COUNTY CLERK                                          ACCOUNT NO.:
         111 S. JEFFERSON STREET                               NOT AVAILABLE
         PO BOX 529
         LANCASTER, WI 53813



3.4070   GRANT COUNTY, NEW MEXICO                                 3/4/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         GRANT COUNTY ADMINISTRATION CENTER                    ACCOUNT NO.:
         1400 HIGHWAY 180 EAST - P.O. BOX 898                  NOT AVAILABLE
         SILVER CITY, NM 88061



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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4071   GRANT PARISH, LOUISIANA, BY AND THROUGH ITS DULY         4/12/2019                   Opioid Matter              UNDETERMINED
         ELECTED POLICE JURY
         ATTN: GRANT PARISH POLICE JURY                        ACCOUNT NO.:
         200 MAIN STREET                                       NOT AVAILABLE
         COLFAX, LA 71417



3.4072   GRAYSON COUNTY HOSPITAL FOUNDATION, INC.                 8/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT AND CHAIR OF THE BOARD
         OF DIRECTORS                                          ACCOUNT NO.:
         910 WALLACE AVENUE                                    NOT AVAILABLE
         LEITCHFIELD, KY 42754



3.4073   GRAYSON COUNTY, VIRGINIA                                 6/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: COMMONWEALTH ATTORNEY
         129 DAVIS STREET                                      ACCOUNT NO.:
         P. O. BOX 445                                         NOT AVAILABLE
         INDEPENDENCE, VA 24348



3.4074   GREEN COUNTY                                             11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR, BOARD OF SUPERVISORS AND COUNTY
         CLERK                                                 ACCOUNT NO.:
         GREEN COUNTY COURTHOUSE                               NOT AVAILABLE
         1016 16TH AVENUE
         MONROE, WI 53566



3.4075   GREEN LAKE COUNTY                                        5/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, BOARD OF SUPERVISORS AND
         COUNTY CLERK                                          ACCOUNT NO.:
         GOVERNMENT CENTER                                     NOT AVAILABLE
         571 COUNTY ROAD A
         GREEN LAKE, WI 54941



3.4076   GREEN RIVER, WYOMING                                     7/24/2019                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE MAYOR
         THE CITY GREEN RIVER                                  ACCOUNT NO.:
         50 E 2ND NORTH                                        NOT AVAILABLE
         GREEN RIVER, WY 82935



3.4077   GREENBRIER COUNTY COMMISSION                             2/4/2019                    Opioid Matter              UNDETERMINED
         ATTN: CLERK AND COMMISSIONER
         912 NORTH COURT STREET                                ACCOUNT NO.:
         LEWISBURG, WV 24901                                   NOT AVAILABLE



3.4078   GREENBRIER VMC, LLC                                      4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         STATE CAPITOL BUILDING                                ACCOUNT NO.:
         CHARLESTON, WV 25305                                  NOT AVAILABLE



3.4079   GREENBRIER VMC, LLC                                      4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         CORPORATION SERVICE COMPANY                           ACCOUNT NO.:
         209 WEST WASHINGTON STREET                            NOT AVAILABLE
         CHARLESTON, WV 25302




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4080   GREENBRIER VMC, LLC                                      4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER, OFFICERS,
         DIRECTORS, AND TRUSTEES                               ACCOUNT NO.:
         1320 MAPLEWOOD AVENUE                                 NOT AVAILABLE
         RONCEVERTE, WV 24970



3.4081   GREENE COUNTY                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         204 NORTH CUTLER STREET                               ACCOUNT NO.:
         SUITE 200                                             NOT AVAILABLE
         GREENVILLE, TN 37745



3.4082   GREENE COUNTY                                            1/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSION MEMBERS
         1443 N ROBBERSON AVE                                  ACCOUNT NO.:
         10TH FLOOR                                            NOT AVAILABLE
         SPRINGFIELD, MO 65802



3.4083   GREENE COUNTY                                            8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         940 NORTH BOONVILLE AVENUE                            ACCOUNT NO.:
         ROOM 113                                              NOT AVAILABLE
         SPRINGFIELD, MO 65802



3.4084   GREENE COUNTY                                            1/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: CLERK
         940 N BOONVILLE AVE                                   ACCOUNT NO.:
         ROOM 113                                              NOT AVAILABLE
         SPRINGFIELD, MO 65802



3.4085   GREENE COUNTY                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY MAYOR
         204 NORTH CUTLER STREET                               ACCOUNT NO.:
         SUITE 206                                             NOT AVAILABLE
         GREENVILLE, TN 37745



3.4086   GREENE COUNTY                                            8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER
         1443 NORTH ROBBERSON AVENUE                           ACCOUNT NO.:
         10TH FLOOR                                            NOT AVAILABLE
         SPRINGFIELD, MO 65802



3.4087   GREENE COUNTY, ALABAMA                                   2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN COUNTY COMMISSION
         300 FINCHES FERRY ROAD                                ACCOUNT NO.:
         EUTAW, AL 35462                                       NOT AVAILABLE



3.4088   GREENE COUNTY, ALABAMA                                   2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: GREENE COUNTY COMMISSIONERS
         CHAIRPERSON                                           ACCOUNT NO.:
         300 FINCHESE FERRY ROAD                               NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4089   GREENE COUNTY, ALABAMA                                   2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.4090   GREENE COUNTY, ALABAMA                                   2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: GREENE COUNTY COMMISSIONERS
         CHAIRPERSON AND COUNTY CLERK                          ACCOUNT NO.:
         400 MORROW AVENUE                                     NOT AVAILABLE
         EUTAW, AL 35462



3.4091   GREENE COUNTY, ALABAMA                                   2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CIRCUIT COURT CLERK
         400 LEVI MORROW SR COURT                              ACCOUNT NO.:
         EUTAW, AL 35462                                       NOT AVAILABLE



3.4092   GREENE COUNTY, GEORGIA                                   3/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         1034 SILVER DRIVE                                     ACCOUNT NO.:
         SUITE 201                                             NOT AVAILABLE
         GREENSBORO, GA 30642



3.4093   GREENE COUNTY, NORTH CAROLINA                            4/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS,
         COUNTY MANAGER                                        ACCOUNT NO.:
         GREENE COUNTY                                         NOT AVAILABLE
         OFFICE COMPLEX - 229 KINGOLD BLVD
         SNOW HILL, NC 28580



3.4094   GREENE COUNTY, PENNSYLVANIA                              11/2/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF GREENE COUNTY BOARD OF
         COMISSIONERS                                          ACCOUNT NO.:
         GREENE COUNTY OFFICE BUILDING                         NOT AVAILABLE
         93 E. HIGH STREET - 3RD FLOOR
         WAYNESBURG, PA 15370



3.4095   GREENE COUNTY, TN                                        1/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE MAYOR
         204 N CUTLER STREET                                   ACCOUNT NO.:
         SUITE 206                                             NOT AVAILABLE
         GREENEVILLE, TN 37745



3.4096   GREENSVILLE COUNTY, VIRGINIA                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COMMONWEALTH ATTORNEY
         320 SOUTH MAIN STREET                                 ACCOUNT NO.:
         EMPORIA, VA 23847                                     NOT AVAILABLE



3.4097   GREENSVILLE COUNTY, VIRGINIA                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COMMONWEALTH'S ATTORNEY
         320 SOUTH MAIN STREET                                 ACCOUNT NO.:
         EMPORIA, VA 23847                                     NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4098   GREENSVILLE COUNTY, VIRGINIA                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY ADMINISTRATION; BOARD OF
         SUPERVISORS                                           ACCOUNT NO.:
         1781 GREENSVILLE COUNTY CIRCLE                        NOT AVAILABLE
         EMPORIA, VA 23847



3.4099   GREENVILLE COUNTY                                        3/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNCIL CHAIR AND COUNTY ADMINISTRATOR
         301 UNIVERSITY RIDGE                                  ACCOUNT NO.:
         SUITE 2400                                            NOT AVAILABLE
         GREENVILLE, SC 29601



3.4100   GREENVILLE COUNTY                                        3/5/2018                    Opioid Matter              UNDETERMINED
         BRADLEY C. HUTTO
         WILLIAMS & WILLIAMS                                   ACCOUNT NO.:
         P.O. BOX 1084                                         NOT AVAILABLE
         ORANGEBURG, SC 29116



3.4101   GREENVILLE COUNTY                                        3/5/2018                    Opioid Matter              UNDETERMINED
         MARGHRETTA HAGOOD SHISKO
         178 WEST MAIN STREET                                  ACCOUNT NO.:
         P.O. BOX 3547                                         NOT AVAILABLE
         SPARTANBURG, SC 29306



3.4102   GREENVILLE COUNTY                                        3/5/2018                    Opioid Matter              UNDETERMINED
         MARC J. BERN
         MARC J. BERN & PARTNERS, LLP                          ACCOUNT NO.:
         60 E. 42ND STREET - SUITE 950                         NOT AVAILABLE
         NEW YORK, NY 10165



3.4103   GREENVILLE COUNTY                                        3/5/2018                    Opioid Matter              UNDETERMINED
         PAUL E. TINKLER
         154 KING STREET                                       ACCOUNT NO.:
         3RD FLOOR                                             NOT AVAILABLE
         CHARLESTON, SC 29401



3.4104   GREENVILLE COUNTY                                        3/5/2018                    Opioid Matter              UNDETERMINED
         CHERYL F. PERKINS
         WHETSTONE PERKINS & FULDA, LLC                        ACCOUNT NO.:
         P.O. BOX 8086                                         NOT AVAILABLE
         COLUMBIA, SC 29925



3.4105   GREENVILLE COUNTY                                        3/5/2018                    Opioid Matter              UNDETERMINED
         JOHN S. SIMMONS
         1711 PICKENS STREET                                   ACCOUNT NO.:
         COLUMBIA, SC 29201                                    NOT AVAILABLE



3.4106   GREENVILLE COUNTY                                        3/5/2018                    Opioid Matter              UNDETERMINED
         GRIFFIN LITTLEJOHN LYNCH
         HARRISON WHITE, P.C.                                  ACCOUNT NO.:
         P.O. BOX 3547                                         NOT AVAILABLE
         SPARTANBURG, SC 29116




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Code                                                 And Account Number                          Claim

Litigation

3.4107   GREENVILLE COUNTY                                        3/5/2018                    Opioid Matter              UNDETERMINED
         JOSEPH J. CAPPELLI
         MARC J. BERN & PARTNERS, LLP                          ACCOUNT NO.:
         60 EAST 42ND STREET - SUITE 950                       NOT AVAILABLE
         NEW YORK, NY 10165



3.4108   GREENVILLE COUNTY                                        3/5/2018                    Opioid Matter              UNDETERMINED
         TERRY A. FINGER
         P.O. BOX 24005                                        ACCOUNT NO.:
         HILTON HEAD, SC 29925-4005                            NOT AVAILABLE



3.4109   GREENVILLE COUNTY                                        3/5/2018                    Opioid Matter              UNDETERMINED
         MATTHEW EVERT YELVERTON
         60 FOLLY ROAD BOULEVARD                               ACCOUNT NO.:
         CHARLESTON, SC 29407                                  NOT AVAILABLE



3.4110   GREENVILLE COUNTY                                        3/5/2018                    Opioid Matter              UNDETERMINED
         JOHN BELTON WHITE, JR.
         HARRISON WHITE SMITH & COGGINS                        ACCOUNT NO.:
         PO BOX 3547                                           NOT AVAILABLE
         SPARTANBURG, SC 29304



3.4111   GREENVILLE COUNTY                                        3/5/2018                    Opioid Matter              UNDETERMINED
         CHRISTIAN GIRESI SPRADLEY
         110 SOUTH MAIN STREET                                 ACCOUNT NO.:
         SALUDA, SC 29201                                      NOT AVAILABLE



3.4112   GREENVILLE COUNTY                                        3/5/2018                    Opioid Matter              UNDETERMINED
         CHARLES W. WHETSTONE, JR.
         PO BOX 8086                                           ACCOUNT NO.:
         COLUMBIA, SC 29202                                    NOT AVAILABLE



3.4113   GREENVILLE COUNTY                                        3/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: BENJAMIN THOMAS SHELTON
         PO BOX 24005                                          ACCOUNT NO.:
         HILTON HEAD ISLAND, SC 29925                          NOT AVAILABLE



3.4114   GREENVILLE COUNTY                                        3/5/2018                    Opioid Matter              UNDETERMINED
         BERT GLENN UTSEY, III
         P.O. BOX 30968                                        ACCOUNT NO.:
         CHARLESTON, SC 29401                                  NOT AVAILABLE



3.4115   GREENVILLE COUNTY                                        3/5/2018                    Opioid Matter              UNDETERMINED
         CARMEN A. DEGISI
         MARC J. BERN & PARTNERS, LLP                          ACCOUNT NO.:
         101 WEST ELM STREET - SUITE 215                       NOT AVAILABLE
         CONSHOHCKEN, PA 19428



3.4116   GREENWOOD LEFLORE HOSPITAL                               4/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER AND CHAIRMAN
         1401 RIVER ROAD                                       ACCOUNT NO.:
         GREENWOOD, MS 38930                                   NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4117   GRUNDY COUNTY                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         P.O. BOX 177                                          ACCOUNT NO.:
         ALTAMONT, TN 37301                                    NOT AVAILABLE



3.4118   GRUNDY COUNTY                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         214 NORTH ATLANTIC STREET                             ACCOUNT NO.:
         TULLAHOMA, TN 37301                                   NOT AVAILABLE



3.4119   GRUNDY COUNTY                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         P.O. BOX 215                                          ACCOUNT NO.:
         ALTAMONT, TN 37301                                    NOT AVAILABLE



3.4120   GUADALUPE VALLEY HOSPITAL A/K/A GUADALUPE               UNKNOWN                      Opioid Matter              UNDETERMINED
         REGIONAL MEDICAL CENTER
         ATTN: REGISTERED AGENT AND CHAIR OF THE BOARD         ACCOUNT NO.:
         OF MANAGERS                                           NOT AVAILABLE
         1215 EAST COURT STREET
         SEGUIN, TX 78155



3.4121   GUERNSEY COUNTY BOARD OF COUNTY                         10/11/2017                   Opioid Matter              UNDETERMINED
         COMMISSIONERS
         COUNTY ADMINISTRATOR BUILDING                         ACCOUNT NO.:
         C/O PROSECUTING ATTORNEY                              NOT AVAILABLE
         - 627 WHEELING AVE
         CAMBRIDGE, OH 43725



3.4122   GUERNSEY COUNTY BOARD OF COUNTY                         10/11/2017                   Opioid Matter              UNDETERMINED
         COMMISSIONERS
         ATTN: CLERK OF THE COUNTY COMMISSIONERS               ACCOUNT NO.:
         GUERNSEY COUNTY COURTHOUSE                            NOT AVAILABLE
         627 WHEELING AVE - ROOM 300
         CAMBRIDGE, OH 43725



3.4123   GUIDIVILLE RANCHERIA OF CALIFORNIA                       2/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE TRIBAL COUNSEL, AND
         THE TRIBAL CHIEF, AND THE TRIBAL ADMINISTRATOR,       ACCOUNT NO.:
         AND THE CHAIRPERSON                                   NOT AVAILABLE
         405 TALMAGE RD.
         UKIAH, CA 95482



3.4124   GUILDFORD COUNTY                                         5/4/2019                    Opioid Matter              UNDETERMINED
         W. MARKET ST., STE 203D
         GREENSBORO, NC 27402                                  ACCOUNT NO.:
                                                               NOT AVAILABLE


3.4125   GUILDFORD COUNTY                                         5/4/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER
         301 WEST MARKET STREET                                ACCOUNT NO.:
         GREENSBORO, NC 27402                                  NOT AVAILABLE




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Code                                                  And Account Number                         Claim

Litigation

3.4126   GUILFORD COUNTY                                          5/4/2019                    Opioid Matter              UNDETERMINED
         PO BOX 3427
         GREENSBORO, NC 27402                                  ACCOUNT NO.:
                                                               NOT AVAILABLE


3.4127   GULF COUNTY                                              7/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR AND BOARD OF COUNTY COMMISSIONERS
         1000 CECIL G. COSTIN, SR. BOULEVARD                   ACCOUNT NO.:
         PORT ST. JOE, FL 32456                                NOT AVAILABLE



3.4128   GURBIR S. GREWAL, ATTORNEY GENERAL                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: GOVERNOR OF THE STATE OF NEW JERSEY
         P.O. BOX 001                                          ACCOUNT NO.:
         TRENTON, NJ 08625                                     NOT AVAILABLE



3.4129   GURBIR S. GREWAL, ATTORNEY GENERAL                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: ATTORNEY GENERAL
         NEW JERSEY DEPARTMENT OF LAW                          ACCOUNT NO.:
         P.O. BOX 080                                          NOT AVAILABLE
         TRENTEN, NJ 08625-0080



3.4130   GURBIR S. GREWAL, ET AL.                                10/31/2017                   Opioid Matter              UNDETERMINED
         ATTN: GURBIR S. GREWAL
         STATE OF NEW JERSEY ATTORNEY GENERAL                  ACCOUNT NO.:
         RICHARD J. HUGHES JUSTICE COMPLEX, 25 MARKET          NOT AVAILABLE
         ST. - P.O. BOX 080
         TRENTON, NJ 08625



3.4131   GURBIR S. GREWAL, ET AL.                                10/31/2017                   Opioid Matter              UNDETERMINED
         GURBIR S. GREWAL
         NEW JERSEY ATTORNEY GENERAL                           ACCOUNT NO.:
         25 MARKET STREET - P.O. BOX 080                       NOT AVAILABLE
         TRENTON, NJ 08625



3.4132   GWINNETT COUNTY, GEORGIA                                 5/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF BOARD OF COMMISSIONERS
         75 LANGLEY DRIVE                                      ACCOUNT NO.:
         LAWRENCEVILLE, GA 30046                               NOT AVAILABLE



3.4133   H.W. "BILLY" HANCOCK, IN HIS OFFICIAL CAPACITY AS        6/26/2019                   Opioid Matter              UNDETERMINED
         THE SHERIFF OF CRISP COUNTY, GEORGIA
         210 S. 7TH STREET                                     ACCOUNT NO.:
         CORDELE, GA 31015                                     NOT AVAILABLE



3.4134   H.W. "BILLY" HANCOCK, IN HIS OFFICIAL CAPACITY AS        6/26/2019                   Opioid Matter              UNDETERMINED
         THE SHERIFF OF CRISP COUNTY, GEORGIA
         ATTN: SHERIFF OF CRISP COUNTY                         ACCOUNT NO.:
         196 HIGHWAY 300 SOUTH                                 NOT AVAILABLE
         CORDELE, GA 31015




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Code                                                  And Account Number                         Claim

Litigation

3.4135   H.W. "BILLY" HANCOCK, IN HIS OFFICIAL CAPACITY AS        6/26/2019                   Opioid Matter              UNDETERMINED
         THE SHERIFF OF CRISP COUNTY, GEORGIA
         ATTN: EXECUTIVE DIRECTOR OF GEORGIA SHERIFFS’         ACCOUNT NO.:
         ASSOCIATION                                           NOT AVAILABLE
         GEORGIA SHERIFFS’ ASSOCIATION
         3000 HIGHWAY 42 N. - P.O. BOX 1000
         STOCKBRIDGE, GA 30281



3.4136   HABERSHAM COUNTY MEDICAL CENTER                          9/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         164 PROFESSIONAL DRIVE                                ACCOUNT NO.:
         CORNELIA, GA 30511                                    NOT AVAILABLE



3.4137   HABERSHAM COUNTY MEDICAL CENTER                          9/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: HOSPITAL AUTHORITY; CHIEF EXECUTIVE OFFICER
         PO BOX 37                                             ACCOUNT NO.:
         DEMOREST, GA 0037                                     NOT AVAILABLE



3.4138   HABERSHAM COUNTY MEDICAL CENTER                          9/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: HOSPITAL AUTHORITY OF HABERSHAM COUNTY
         C/O HABERSHAM COUNTY COMMISSIONERS; COUNTY            ACCOUNT NO.:
         MANAGER; CLERK                                        NOT AVAILABLE
         130 JACOB'S WAY - SUITE 301
         CLAKRESVILLE, GA 30523



3.4139   HABERSHAM COUNTY MEDICAL CENTER                          9/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: HOSPITAL AUTHORITY; CHIEF EXECUTIVE OFFICER
         PO BOX 37                                             ACCOUNT NO.:
         DEMOREST, GA 0037                                     NOT AVAILABLE



3.4140   HABERSHAM COUNTY MEDICAL CENTER                          9/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: HOSPITAL AUTHORITY; CHIEF EXECUTIVE OFFICER
         541 HISTORIC HIGHWAY 441 NORTH                        ACCOUNT NO.:
         DEMOREST, GA 30535                                    NOT AVAILABLE



3.4141   HABERSHAM COUNTY, GEORGIA                                4/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE BOARD OF
         COMMISSIONERS, COUNTY CLERK                           ACCOUNT NO.:
         130 JACOB'S WAY, SUITE 301                            NOT AVAILABLE
         CLARKESVILLE, GA 30523



3.4142   HAL ALLRED, SHERIFF OF LAMAR COUNTY, ALABAMA             2/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF BOARD OF COMMISSIONERS
         LAMAR COUNTY, ALABAMA                                 ACCOUNT NO.:
         44690 HIGHWAY 17 - PO BOX 338                         NOT AVAILABLE
         VERNON, AL 35592



3.4143   HAL ALLRED, SHERIFF OF LAMAR COUNTY, ALABAMA             2/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF BOARD OF COMMISSIONERS
         LAMAR COUNTY, ALABAMA                                 ACCOUNT NO.:
         44690 HIGHWAY 17 - PO BOX 338                         NOT AVAILABLE
         VERNON, AL 35592




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4144   HAL ALLRED, SHERIFF OF LAMAR COUNTY, ALABAMA             2/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: CIRCUIT CLERK
         330 1ST STREET NORTHEAST                              ACCOUNT NO.:
         PO BOX 434                                            NOT AVAILABLE
         VERNON, AL 35592-0434



3.4145   HAL ALLRED, SHERIFF OF LAMAR COUNTY, ALABAMA             2/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: SHERIFF OF LAMAR COUNTY
         330 1ST STREET NORTH EAST                             ACCOUNT NO.:
         PO BOX 770                                            NOT AVAILABLE
         VERNON, AL 35592



3.4146   HAL ALLRED, SHERIFF OF LAMAR COUNTY, ALABAMA             2/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: SHERIFF OF LAMAR COUNTY
         330 1ST STREET NORTHEAST                              ACCOUNT NO.:
         P.O. BOX 770                                          NOT AVAILABLE
         VERNON, AL 35592



3.4147   HAL ALLRED, SHERIFF OF LAMAR COUNTY, ALABAMA             2/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: COMMISSION CHAIRMAN OF LAMAR COUNTY
         44690 HIGHWAY 17                                      ACCOUNT NO.:
         P.O. BOX 338                                          NOT AVAILABLE
         VERNON, AL 35592



3.4148   HAL ALLRED, SHERIFF OF LAMAR COUNTY, ALABAMA             2/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.4149   HALE COUNTY, ALABAMA                                     3/27/2018                   Opioid Matter              UNDETERMINED
         1001 MAIN STREET, SUITE 13
         PO BOX 99                                             ACCOUNT NO.:
         GREENSBORO, AL 36744                                  NOT AVAILABLE



3.4150   HALE COUNTY, ALABAMA                                     3/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: CIRCUIT COURT CLERK
         1001 MAIN STREET, SUITE 13                            ACCOUNT NO.:
         PO BOX 99                                             NOT AVAILABLE
         GREENSBORO, AL 36744



3.4151   HALE COUNTY, ALABAMA                                     3/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.4152   HALE COUNTY, ALABAMA                                     3/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         1001 MAIN STREET, SUITE 396                           ACCOUNT NO.:
         PO BOX 396                                            NOT AVAILABLE
         GREENSBORO, AL 36744




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4153   HALE COUNTY, ALABAMA                                     3/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF BOARD OF COMMISSIONERS
         1001 MAIN STREET, SUITE 396                           ACCOUNT NO.:
         P.O. BOX 396                                          NOT AVAILABLE
         GREENSBORO, AL 36744



3.4154   HALIFAX COUNTY                                           3/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK, CHAIRMAN AND COMMISSIONERS
         10 NORTH KING STREET                                  ACCOUNT NO.:
         HALIFAX, NC 27839                                     NOT AVAILABLE



3.4155   HALIFAX COUNTY                                           3/12/2018                   Opioid Matter              UNDETERMINED
         P.O. BOX 38
         HALIFAX, NC 27839                                     ACCOUNT NO.:
                                                               NOT AVAILABLE


3.4156   HALIFAX COUNTY, VIRGINIA                                UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COMMONWEALTH ATTORNEY
         PO BOX 550                                            ACCOUNT NO.:
         HALIFAX, VA 24558                                     NOT AVAILABLE



3.4157   HALL COUNTY, GEORGIA                                     3/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF BOARD OF COMMISSIONERS
         PO DRAWER 1435                                        ACCOUNT NO.:
         GAINESVILLE, GA 30503                                 NOT AVAILABLE



3.4158   HALL COUNTY, GEORGIA                                     3/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: CLERK OF THE COURTS
         HALL COUNTY COURTHOUSE                                ACCOUNT NO.:
         225 GREEN ST. SE                                      NOT AVAILABLE
         GAINESVILLE, GA 30501



3.4159   HALL COUNTY, GEORGIA                                     3/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF BOARD OF COMMISSIONERS
         2875 BROWNS BRIDGE ROAD                               ACCOUNT NO.:
         GAINESVILLE, GA 30504                                 NOT AVAILABLE



3.4160   HAMBLEN COUNTY                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         2415 NORTH DAVY CROCKETT PARKWAY                      ACCOUNT NO.:
         MORRISTOWN, TN 37814                                  NOT AVAILABLE



3.4161   HAMBLEN COUNTY                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         HAMBLEN COUNTY COURTHOUSE                             ACCOUNT NO.:
         511 WEST SECOND NORTH STREET                          NOT AVAILABLE
         MORRISTOWN, TN 37814



3.4162   HAMBLEN COUNTY                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY MAYOR
         HAMBLEN COUNTY COURTHOUSE                             ACCOUNT NO.:
         511 WEST SECOND NORTH STREET                          NOT AVAILABLE
         MORRISTOWN, TN 37814



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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4163   HAMILTON COUNTY BOARD OF COUNTY                          3/1/2018                    Opioid Matter              UNDETERMINED
         COMMISSIONERS
         HAMILTON COUNTY PROSECUTING ATTORNEY'S OFFICE         ACCOUNT NO.:
         230 E NINTH STREET                                    NOT AVAILABLE
          - SUITE 4000
         CINCINNATI, OH 45202



3.4164   HAMILTON COUNTY BOARD OF COUNTY                          3/1/2018                    Opioid Matter              UNDETERMINED
         COMMISSIONERS
         ATTN: PRESIDENT OF THE BOARD OF COMMISSIONERS,        ACCOUNT NO.:
         VICE-PRESIDENT OF THE BOARD OF COMMISSIONERS          NOT AVAILABLE
         COUNTY ADMINISTRATION BUILDING
         138 EAST COURT STREET - ROOM 603
         CINCINNATI, OH 45202



3.4165   HAMILTON COUNTY, FLORIDA                                 6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRWOMAN AND BOARD OF COUNTY
         COMMISSIONERS                                         ACCOUNT NO.:
         1153 US HIGHWAY 41 NW                                 NOT AVAILABLE
         SUITE 2
         JASPER, FL 32052



3.4166   HAMILTON COUNTY, TN                                      4/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MAYOR
         208 COURTHOUSE                                        ACCOUNT NO.:
         625 GEORGIA AVENUE                                    NOT AVAILABLE
         CHATTANOOGA, TN 37402



3.4167   HANCOCK COUNTY                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY MAYOR
         1237 MAIN STREET                                      ACCOUNT NO.:
         PO BOX 347                                            NOT AVAILABLE
         SNEEDVILLE, TN 37869



3.4168   HANCOCK COUNTY                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         418 HARRISON STREET                                   ACCOUNT NO.:
         PO BOX 575                                            NOT AVAILABLE
         SNEEDVILLE, TN 37869



3.4169   HANCOCK COUNTY BOARD OF COUNTY COMMISSIONERS             5/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: HANCOCK COUNTY COMMISSIONERS
         514 S. MAIN ST                                        ACCOUNT NO.:
         2ND FLOOR                                             NOT AVAILABLE
         FINDLAY, OH 45840



3.4170   HANCOCK COUNTY BOARD OF COUNTY COMMISSIONERS             5/14/2018                   Opioid Matter              UNDETERMINED
         514 SOUTH MAIN STREET
         HANCOCK COUNTY PROSECUTING ATTORNEY                   ACCOUNT NO.:
          - SUITE B                                            NOT AVAILABLE
         FINDLAY, OH 45840




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4171   HANCOCK COUNTY COMMISSION                               12/13/2017                   Opioid Matter              UNDETERMINED
         ATTN: PROSECUTING ATTORNEY
         1114 RIDGE AVENUE                                     ACCOUNT NO.:
         NEW CUMBERLAND, WV 26047                              NOT AVAILABLE



3.4172   HANCOCK COUNTY COMMISSION                               12/13/2017                   Opioid Matter              UNDETERMINED
         ATTN: COMMISSIONER
         P.O. BOX 485                                          ACCOUNT NO.:
         102 N. COURT ST.                                      NOT AVAILABLE
         NEW CUMBERLAND, WV 26047



3.4173   HANCOCK COUNTY COMMISSION                               12/13/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         P.O. BOX 367                                          ACCOUNT NO.:
         102 N. COURT ST.                                      NOT AVAILABLE
         NEW CUMBERLAND, WV 26047



3.4174   HANCOCK COUNTY COMMISSION                               12/13/2017                   Opioid Matter              UNDETERMINED
         ATTN: PROSECUTING ATTORNEY
         P.O. BOX 924                                          ACCOUNT NO.:
         1114 RIDGE AVENUE                                     NOT AVAILABLE
         NEW CUMBERLAND, WV 26047



3.4175   HANCOCK COUNTY COMMISSION                               12/13/2017                   Opioid Matter              UNDETERMINED
         ATTN: COMMISSIONER
         102 N. COURT ST.                                      ACCOUNT NO.:
         NEW CUMBERLAND, WV 26047                              NOT AVAILABLE



3.4176   HANCOCK COUNTY COMMISSION                               12/13/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         102 N. COURT ST.                                      ACCOUNT NO.:
         NEW CUMBERLAND, WV 26047                              NOT AVAILABLE



3.4177   HANCOCK COUNTY COMMISSION                               12/13/2017                   Opioid Matter              UNDETERMINED
         PAUL J. NAPOLI
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.4178   HANCOCK COUNTY COMMISSION                               12/13/2017                   Opioid Matter              UNDETERMINED
         SAMUEL D. MADIA
         SHAFFER MADIA LAW PLLC                                ACCOUNT NO.:
         343 WEST MAIN STREET                                  NOT AVAILABLE
         CLARKSBURG, WV 26301



3.4179   HANCOCK COUNTY COMMISSION                               12/13/2017                   Opioid Matter              UNDETERMINED
         JOSEPH F. SHAFFER
         SHAFFER MADIA LAW PLLC                                ACCOUNT NO.:
         343 WEST MAIN STREET                                  NOT AVAILABLE
         CLARKSBURG, WV 26301




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4180   HANCOCK COUNTY COMMISSION                               12/13/2017                   Opioid Matter              UNDETERMINED
         ROBERT P. FITZSIMMONS
         FITZSIMMONS LAW FIRM PLLC                             ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26003



3.4181   HANCOCK COUNTY COMMISSION                               12/13/2017                   Opioid Matter              UNDETERMINED
         DANIEL J. GUIDA
         GUIDA LAW OFFICE                                      ACCOUNT NO.:
         3374 MAIN STREET                                      NOT AVAILABLE
         WEIRTON, WV 26062



3.4182   HANCOCK COUNTY COMMISSION                               12/13/2017                   Opioid Matter              UNDETERMINED
         MARK A. COLANTONIO
         FITZSIMMONS LAW FIRM PLLC                             ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26003



3.4183   HANCOCK COUNTY COMMISSION                               12/13/2017                   Opioid Matter              UNDETERMINED
         JONATHAN E. TURAK
         GOLD, KHOUREY & TURAK                                 ACCOUNT NO.:
         510 TOMLINSON AVENUE                                  NOT AVAILABLE
         MOUNDSVILLE, WV 26041



3.4184   HANCOCK COUNTY COMMISSION                               12/13/2017                   Opioid Matter              UNDETERMINED
         SALVATORE C. BADALA
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.4185   HANCOCK COUNTY COMMISSION                               12/13/2017                   Opioid Matter              UNDETERMINED
         HUNTER J. SHKOLNIK
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.4186   HANCOCK COUNTY COMMISSION                               12/13/2017                   Opioid Matter              UNDETERMINED
         SHAYNA E. SACKS
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.4187   HANCOCK COUNTY COMMISSION                               12/13/2017                   Opioid Matter              UNDETERMINED
         CLAYTON J. FITZSIMMONS
         FITZSIMMONS LAW FIRM PLLC                             ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26003



3.4188   HANCOCK COUNTY COMMISSION                               12/13/2017                   Opioid Matter              UNDETERMINED
         JOSEPH L. CIACCIO
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4189   HANCOCK COUNTY, GEORGIA                                  5/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF BOARD OF COMMISSIONERS AND
         COUNTY CLERK                                          ACCOUNT NO.:
         12630 BROAD STREET                                    NOT AVAILABLE
         SPARTA, GA 31087



3.4190   HANCOCK COUNTY, MISSISSIPPI                              6/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF SUPERVISORS
         854 HIGHWAY 90, SUITE A                               ACCOUNT NO.:
         BAY ST. LOUIS, MS 39520                               NOT AVAILABLE



3.4191   HANCOCK COUNTY, MISSISSIPPI                              6/12/2018                   Opioid Matter              UNDETERMINED
         152 MAIN STREET, SUITE A
         BAY ST. LOUIS, MS 39520                               ACCOUNT NO.:
                                                               NOT AVAILABLE


3.4192   HANCOCK COUNTY, TN                                       1/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE MAYOR
         SNEEDVILLE CITY HALL                                  ACCOUNT NO.:
         292 JAIL STREET                                       NOT AVAILABLE
         SNEEDVILLE, TN 37869



3.4193   HANOVER TOWNSHIP, PENNSYLVANIA                           6/21/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHARIMAN, BOARD OF COMMISSIONERS
         1267 SAN SOUCI PARKWAY                                ACCOUNT NO.:
         HANOVER TOWNSHIP, PA 18706                            NOT AVAILABLE



3.4194   HANOVER TOWNSHIP, PENNSYLVANIA                           6/21/2019                   Opioid Matter              UNDETERMINED
         ATTN: TOWNSHIP MANAGER
         1267 SAN SOUCI PARKWAY                                ACCOUNT NO.:
         HANOVER TOWNSHIP, PA 18706                            NOT AVAILABLE



3.4195   HARFORD COUNTY, MARYLAND                                 6/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: STATE'S ATTORNEY OF HARFORD COUNTY
         20 W COURTLAND STREET                                 ACCOUNT NO.:
         BEL AIR, MD 21014                                     NOT AVAILABLE



3.4196   HARFORD COUNTY, MARYLAND                                 6/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE
         220 SOUTH MAIN STREET                                 ACCOUNT NO.:
         BEL AIR, MD 21014                                     NOT AVAILABLE



3.4197   HARFORD COUNTY, MARYLAND, ET AL.                         3/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE; COUNTY ATTORNEY
         220 SOUTH MAIN STREET                                 ACCOUNT NO.:
         BEL AIR, MD 21014                                     NOT AVAILABLE



3.4198   HARRIS COUNTY                                           12/13/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         1001 PRESTON                                          ACCOUNT NO.:
         SUITE 911                                             NOT AVAILABLE
         HOUSTON, TX 77002




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4199   HARRISON COUNTY                                          3/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: AUDITOR; CHAIR OF SUPERVISORS
         111 NORTH 2ND AVENUE                                  ACCOUNT NO.:
         SECOND FLOOR                                          NOT AVAILABLE
         LOGAN, IA 51546



3.4200   HARRISON COUNTY BOARD OF COUNTY                          3/20/2018                   Opioid Matter              UNDETERMINED
         COMMISSIONERS
         ATTN: PROSECUTING ATTORNEY                            ACCOUNT NO.:
         OFFICE OF THE PROSECUTING ATTORNEY                    NOT AVAILABLE
         111 W. WARREN STREET - P. O. BOX 248
         CADIZ, OH 43907



3.4201   HARRISON COUNTY BOARD OF COUNTY                          3/20/2018                   Opioid Matter              UNDETERMINED
         COMMISSIONERS
         ATTN: PROSECUTING ATTORNEY                            ACCOUNT NO.:
         OFFICE OF THE PROSECUTING ATTORNEY                    NOT AVAILABLE
         111 W. WARREN STREET - P. O. BOX 248
         CADIZ, OH 43907



3.4202   HARRISON COUNTY BOARD OF COUNTY                          3/20/2018                   Opioid Matter              UNDETERMINED
         COMMISSIONERS
         ATTN: PRESIDENTOF THE HARRISON COUNTY BOARD           ACCOUNT NO.:
         OF COMISSIONERS                                       NOT AVAILABLE
         HARRISON COUNTY COURTHOUSE
         100 WEST MARKET STREET
         CADIZ, OH 43907



3.4203   HARRISON COUNTY COMMISSION                              12/13/2017                   Opioid Matter              UNDETERMINED
         ATTN: COMMISSIONER & CLERK & PROSECUTING
         ATTORNEY                                              ACCOUNT NO.:
         301 WEST MAIN STREET                                  NOT AVAILABLE
         CLARKSBURG, WV 26301



3.4204   HARRISON COUNTY COMMISSION                              12/13/2017                   Opioid Matter              UNDETERMINED
         PAUL J. NAPOLI
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.4205   HARRISON COUNTY COMMISSION                              12/13/2017                   Opioid Matter              UNDETERMINED
         ROBERT P. FITZSIMMONS
         FITZSIMMONS LAW FIRM PLLC                             ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26003



3.4206   HARRISON COUNTY COMMISSION                              12/13/2017                   Opioid Matter              UNDETERMINED
         CLAYTON J. FITZSIMMONS
         FITZSIMMONS LAW FIRM PLLC                             ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26003




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4207   HARRISON COUNTY COMMISSION                              12/13/2017                   Opioid Matter              UNDETERMINED
         MARK A. COLANTONIO
         FITZSIMMONS LAW FIRM PLLC                             ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26003



3.4208   HARRISON COUNTY COMMISSION                              12/13/2017                   Opioid Matter              UNDETERMINED
         HUNTER J. SHKOLNIK
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.4209   HARRISON COUNTY COMMISSION                              12/13/2017                   Opioid Matter              UNDETERMINED
         JOSEPH L. CIACCIO
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.4210   HARRISON COUNTY COMMISSION                              12/13/2017                   Opioid Matter              UNDETERMINED
         SHAYNA E. SACKS
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.4211   HARRISON COUNTY COMMISSION                              12/13/2017                   Opioid Matter              UNDETERMINED
         SALVATORE C. BADALA
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.4212   HARRISON COUNTY COMMISSION                              12/13/2017                   Opioid Matter              UNDETERMINED
         JONATHAN E. TURAK
         GOLD, KHOUREY & TURAK                                 ACCOUNT NO.:
         510 TOMLINSON AVENUE                                  NOT AVAILABLE
         MOUNDSVILLE, WV 26041



3.4213   HARRISON COUNTY COMMISSION                              12/13/2017                   Opioid Matter              UNDETERMINED
         DANIEL J. GUIDA
         GUIDA LAW OFFICE                                      ACCOUNT NO.:
         3374 MAIN STREET                                      NOT AVAILABLE
         WEIRTON, WV 26062



3.4214   HARRISON COUNTY COMMISSION                              12/13/2017                   Opioid Matter              UNDETERMINED
         JOSEPH F. SHAFFER
         SHAFFER MADIA LAW PLLC                                ACCOUNT NO.:
         343 WEST MAIN STREET                                  NOT AVAILABLE
         CLARKSBURG, WV 26301



3.4215   HARRISON COUNTY COMMISSION                              12/13/2017                   Opioid Matter              UNDETERMINED
         SAMUEL D. MADIA
         SHAFFER MADIA LAW PLLC                                ACCOUNT NO.:
         343 WEST MAIN STREET                                  NOT AVAILABLE
         CLARKSBURG, WV 26301




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4216   HARRISON COUNTY, MISSISSIPPI                             3/5/2019                    Opioid Matter              UNDETERMINED
         ATTN: CLERK OF BOARD
         ATTN: MINUTES CLERK                                   ACCOUNT NO.:
         JOHN MCADAMS, CHANCERY CLERK - 1801 23RD AVENUE       NOT AVAILABLE
         GULFPORT, MS 39501



3.4217   HARTFORD CITY, INDIANA                                   6/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR; CITY CLERK; TREASURER
         700 NORTH WALNUT STREET                               ACCOUNT NO.:
         HARTFORD CITY, IN 47348                               NOT AVAILABLE



3.4218   HARTFORD CITY, INDIANA                                   6/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: CURTIS T. HILL, JR.
         STATE OF INDIANA ATTORNEY GENERAL                     ACCOUNT NO.:
         INDIANA GOVERNMENT CENTER SOUTH - 5TH FLOOR -         NOT AVAILABLE
         302 WEST WASHINGTON STREET
         INDIANAPOLIS, IN 46204



3.4219   HASKELL COUNTY, TEXAS                                    2/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         HASKELL COUNTY COURTHOUSE                             ACCOUNT NO.:
         1 AVENUE D                                            NOT AVAILABLE
         HASKELL, TX 79521



3.4220   HAWKINS COUNTY                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY MAYOR
         150 EAST WASHINGTON STREET                            ACCOUNT NO.:
         SUITE 2                                               NOT AVAILABLE
         ROGERSVILLE, TN 37857



3.4221   HAWKINS COUNTY                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         300 MAIN STREET                                       ACCOUNT NO.:
         PO BOX 848                                            NOT AVAILABLE
         CHURCH HILL, TN 37642



3.4222   HAWKINS COUNTY                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         210 EAST MAIN STREET                                  ACCOUNT NO.:
         ROGERSVILLE, TN 37857                                 NOT AVAILABLE



3.4223   HAWKINS COUNTY                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         110 EAST MAIN STREET                                  ACCOUNT NO.:
         ROOM 204                                              NOT AVAILABLE
         ROGERSVILLE, TN 37857



3.4224   HAWKINS COUNTY MEMORIAL HOSPITAL F/K/A HAWKINS           7/11/2019                   Opioid Matter              UNDETERMINED
         COUNTY MEMORIAL HOSPITAL
         ATTN: REGISTERED AGENT                                ACCOUNT NO.:
         TIMOTHY BELISLE, GENERAL COUNSEL                      NOT AVAILABLE
         303 MED TECH PARKWAY, SUITE 300 - BALLAD HEALTH
         MEDICAL CENTER
         JOHNSON CITY, TN 37604-2392



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4225   HAWKINS COUNTY MEMORIAL HOSPITAL F/K/A HAWKINS           7/11/2019                   Opioid Matter              UNDETERMINED
         COUNTY MEMORIAL HOSPITAL
         ATTN: LEGAL DEPARTMENT; CHIEF EXECUTIVE OFFICER       ACCOUNT NO.:
         851 LOCUST STREET                                     NOT AVAILABLE
         ROGERSVILLE, TN 37857-2407



3.4226   HAWKINS COUNTY, TN                                       3/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY MAYOR
         150 EAST WASHINGTON STREET                            ACCOUNT NO.:
         SUITE 2                                               NOT AVAILABLE
         ROGERSVILLE, TN 37857



3.4227   HAYWOOD COUNTY                                          12/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK, CHAIRMAN, AND
         COMMISSIONERS                                         ACCOUNT NO.:
         215 NORTH MAIN STREET                                 NOT AVAILABLE
         WAYNESVILLE, NC 28786



3.4228   HAYWOOD COUNTY                                          12/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER
         OFFICE OF THE COUNTY MANAGER                          ACCOUNT NO.:
         HAYWOOD COUNTY HISTORIC COURTHOUSE - THIRD            NOT AVAILABLE
         FLOOR, 215 N. MAIN STREET
         WAYNESVILLE, NC 28786



3.4229   HAYWOOD COUNTY, TN                                       1/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY MAYOR, COUNTY CLERK
         HAYWOOD COUNTY GOVERNMENT                             ACCOUNT NO.:
         1 NORTH WASHINGTON AVENUE                             NOT AVAILABLE
         BROWNSVILLE, TN 38012



3.4230   HD MEDIA COMPANY, LLC                                    9/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: MANAGING PARTNER
         C/O THE HERALD DISPATCH                               ACCOUNT NO.:
         946 5TH AVENUE                                        NOT AVAILABLE
         HUNTINGTON, WV 25701



3.4231   HD MEDIA COMPANY, LLC                                    9/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         THE HERALD DISPTACH                                   ACCOUNT NO.:
         946 FIFTH AVENUE                                      NOT AVAILABLE
         HUNTINGTON, WV 25701



3.4232   HEALTH CARE AUTHORITY OF MORGAN COUNTY-CITY              3/15/2019                   Opioid Matter              UNDETERMINED
         OF DECATUR
         ATTN: MANAGING AGENT OR AGENT FOR SERVICE OF          ACCOUNT NO.:
         PROCESS                                               NOT AVAILABLE
         BEHAVIORAL MEDICINE CENTER
         2205 BELTLINE ROAD SOUTHWEST
         DECATUR, AL 35601




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Creditor's Name, Mailing Address Including Zip                Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                           And Account Number                         Claim

Litigation

3.4233   Health Care Authority of the City of Huntsville d/b/a HH Health     3/15/2019                 Opioid Matter              UNDETERMINED
         System d/b/a Huntsville Hospital d/b/a Madison Hospital
         d/b/aHuntsville Hospital for Women and Children                   ACCOUNT NO.:
         Attn: President, Managing Agent or Agent for Sevice of Process    NOT AVAILABLE
         101 Sivley Road
         Huntsville, AL 35801



3.4234   HEARD COUNTY, GEORGIA                                               3/12/2019                 Opioid Matter              UNDETERMINED
         ATTN: CLERK OF SUPERIOR COURT
         121 SOUTH COURT SQUARE                                            ACCOUNT NO.:
         P.O. BOX 249                                                      NOT AVAILABLE
         FRANKLIN, GA 30217



3.4235   HEARD COUNTY, GEORGIA                                               3/12/2019                 Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF COUNTY COMMISSIONERS
         201 PARK AVENUE, ROOM 200                                         ACCOUNT NO.:
         P.O. BOX 40                                                       NOT AVAILABLE
         FRANKLIN, GA 30217



3.4236   HEATHER ENDERS, INDIVIDUALLY AND ON BEHALF OF                       2/11/2019                 Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: CHARLES H. COOPER, JR.                                      ACCOUNT NO.:
         COOPER & ELLIOTT, LLC                                             NOT AVAILABLE
         2175 RIVERSIDE DRIVE
         COLUMBUS, OH 43221



3.4237   HEATHER ENDERS, INDIVIDUALLY AND ON BEHALF OF                       2/11/2019                 Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: WILLIAM S. CONSOVOY                                         ACCOUNT NO.:
         CONSOVOY MCCARTHY PARK PLLC                                       NOT AVAILABLE
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201



3.4238   HEATHER ENDERS, INDIVIDUALLY AND ON BEHALF OF                       2/11/2019                 Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: ASHLEY C. KELLER                                            ACCOUNT NO.:
         KELLER LENKNER LLC                                                NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 2750
         CHICAGO, IL 60606



3.4239   HEATHER ENDERS, INDIVIDUALLY AND ON BEHALF OF                       2/11/2019                 Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: REX H. ELLIOTT                                              ACCOUNT NO.:
         COOPER & ELLIOTT, LLC                                             NOT AVAILABLE
         2175 RIVERSIDE DRIVE
         COLUMBUS, OH 43221



3.4240   HEATHER ENDERS, INDIVIDUALLY AND ON BEHALF OF                       2/11/2019                 Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: THOMAS R. MCCARTHY                                          ACCOUNT NO.:
         CONSOVOY MCCARTHY PARK PLLC                                       NOT AVAILABLE
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4241   HEATHER ENDERS, INDIVIDUALLY AND ON BEHALF OF            2/11/2019                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: C. BENJAMIN COOPER                              ACCOUNT NO.:
         COOPER & ELLIOTT, LLC                                 NOT AVAILABLE
         2175 RIVERSIDE DRIVE
         COLUMBUS, OH 43221



3.4242   HEATHER ENDERS, INDIVIDUALLY AND ON BEHALF OF            2/11/2019                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: MICHAEL H. PARK                                 ACCOUNT NO.:
         ATTN: MICHAEL H PARK                                  NOT AVAILABLE
         745 FIFTH AVENUE - SUITE 500
         NEW YORK, NY 10151



3.4243   HEATHER ENDERS, INDIVIDUALLY AND ON BEHALF OF            2/11/2019                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: JOHN A. YANCHUNIS                               ACCOUNT NO.:
         MORGAN & MORGAN                                       NOT AVAILABLE
         COMPLEX LITIGATION GROUP - 201 NORTH FRANKLIN
         STREET, 7TH FLOOR
         TAMPA, FL 33602



3.4244   HEATHER ENDERS, INDIVIDUALLY AND ON BEHALF OF            2/11/2019                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: PATRICK A. BARTHLE II                           ACCOUNT NO.:
         MORGAN & MORGAN                                       NOT AVAILABLE
         COMPLEX LITIGATION GROUP - 201 NORTH FRANKLIN
         STREET, 7TH FLOOR
         TAMPA, FL 33602



3.4245   HEATHER ENDERS, INDIVIDUALLY AND ON BEHALF OF            2/11/2019                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: SETH MEYER                                      ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 4270
         CHICAGO, IL 60606



3.4246   HEATHER ENDERS, INDIVIDUALLY AND ON BEHALF OF            2/11/2019                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: TRAVIS LENKNER                                  ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 4270
         CHICAGO, IL 60606



3.4247   HEATHER ENDERS, INDIVIDUALLY AND ON BEHALF OF            2/11/2019                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: JUAN MARTINEZ                                   ACCOUNT NO.:
         MORGAN & MORGAN                                       NOT AVAILABLE
         COMPLEX LITIGATION GROUP - 201 NORTH FRANKLIN
         STREET, 7TH FLOOR
         TAMPA, FL 33602




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4248   HEATHER GOSS, INDIVIDUALLY AND AS NEXT FRIEND            6/18/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABIES C.B. AND
         ATTN: DAVID R. BARNEY, JR.                            ACCOUNT NO.:
         THOMPSON BARNEY LAW FIRM                              NOT AVAILABLE
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311



3.4249   HEATHER GOSS, INDIVIDUALLY AND AS NEXT FRIEND            6/18/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABIES C.B. AND
         ATTN: DONALD E. CREADORE                              ACCOUNT NO.:
         CREADOR LAW FIRM                                      NOT AVAILABLE
         450 SEVENTH AVENUE - SUITE 1408
         NEW YORK, NY 10123



3.4250   HEATHER GOSS, INDIVIDUALLY AND AS NEXT FRIEND            6/18/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABIES C.B. AND
         ATTN: STEPHEN WUSSOW                                  ACCOUNT NO.:
         COOPER LAW FIRM                                       NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.4251   HEATHER GOSS, INDIVIDUALLY AND AS NEXT FRIEND            6/18/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABIES C.B. AND
         ATTN: SCOTT R. BICKFORD                               ACCOUNT NO.:
         MARTZELL, BICKFORD & CENTOLA                          NOT AVAILABLE
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.4252   HEATHER GOSS, INDIVIDUALLY AND AS NEXT FRIEND            6/18/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABIES C.B. AND
         ATTN: CELESTE BRUSTOWICZ, STEPHEN H. WUSSOW           ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                  NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.4253   HEATHER GOSS, INDIVIDUALLY AND AS NEXT FRIEND            6/18/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABIES C.B. AND
         ATTN: KENT HARRISON ROBBINS                           ACCOUNT NO.:
         THE LAW OFFICE OF KENT HARRISON ROBBINS, P.A.         NOT AVAILABLE
         242 NORTHEAST 27TH STREET
         MIAMI, FL 33137



3.4254   HEATHER GOSS, INDIVIDUALLY AND AS NEXT FRIEND            6/18/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABIES C.B. AND
         ATTN: SPENCER R. DOODY                                ACCOUNT NO.:
         MARTZELL, BICKFORD & CENTOLA                          NOT AVAILABLE
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.4255   HEATHER GOSS, INDIVIDUALLY AND AS NEXT FRIEND            6/18/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABIES C.B. AND
         ATTN: KEVIN W. THOMPSON, DAVID R. BARNEY, JR.         ACCOUNT NO.:
         THOMPSON BARNEY LAW FIRM                              NOT AVAILABLE
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4256   HEATHER PUCKETT, INDIVIDUALLY AND AS NEXT FRIEND         6/20/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY C.M.B.
         ATTN: CELESTE BRUSTOWICZ                              ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                  NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.4257   HECTOR BALDERASSTATE OF NEW MEXICO, EX REL.,             9/7/2017                    Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         HECTOR H BALDERAS                                     ACCOUNT NO.:
         NM OFFICE OF ATTORNEY GENERAL                         NOT AVAILABLE
         P.O. DRAWER 1508
         SANTA FE, NM 87504-1508



3.4258   HECTOR BALDERASSTATE OF NEW MEXICO, EX REL.,             9/7/2017                    Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         MARCUS J. RAEL, JR.                                   ACCOUNT NO.:
         ROBLES, RAEL & ANAYA, P.C.                            NOT AVAILABLE
         500 MARQUETTE AVENUE, NORTHWEST - SUITE 700
         ALBUQUERQUE, NM 87102



3.4259   HECTOR BALDERASSTATE OF NEW MEXICO, EX REL.,             9/7/2017                    Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         LUIS E. ROBLES                                        ACCOUNT NO.:
         ROBLES, RAEL & ANAYA, P.C.                            NOT AVAILABLE
         500 MARQUETTE AVENUE, NORTHWEST - SUITE 700
         ALBUQUERQUE, NM 87102



3.4260   HECTOR BALDERASSTATE OF NEW MEXICO, EX REL.,             9/7/2017                    Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         RUSSELL BUDD                                          ACCOUNT NO.:
         BARON & BUDD                                          NOT AVAILABLE
         3102 OAK LAW AVENUE - SUITE 1100
         DALLAS, TX 75219



3.4261   HENDERSON COUNTY, TN                                     3/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MAYOR, COUNTY COMMISSION, COUNTY
         CLERK                                                 ACCOUNT NO.:
         17 MONROE STREET                                      NOT AVAILABLE
         LEXINGTON, TN 38351



3.4262   HENNEPIN COUNTY, MN                                      1/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE COUNTY BOARD AND COUNTY
         AUDITOR                                               ACCOUNT NO.:
         A-2400 GOVERNMENT CENTER                              NOT AVAILABLE
         300 SOUNTH 6TH STREET
         MINNEAPOLIS, MN 55487-0240



3.4263   HENRY COUNTY, ALABAMA                                    4/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152




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Code                                                 And Account Number                          Claim

Litigation

3.4264   HENRY COUNTY, ALABAMA                                    4/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIMAN, HENRY COUNTY COMMISSIONERS
         HENRY COUNTY COURTHOUSE                               ACCOUNT NO.:
         101 COURT SQUARE, SUITE B                             NOT AVAILABLE
         ABBEVILLE, AL 36310



3.4265   HENRY COUNTY, ALABAMA                                    4/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIMAN, HENRY COUNTY COMMISSIONERS
         HENRY COUNTY COURTHOUSE                               ACCOUNT NO.:
         101 COURT SQUARE, SUITE B                             NOT AVAILABLE
         ABBEVILLE, AL 36310



3.4266   HENRY COUNTY, GEORGIA                                    7/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: SOLICITOR'S OFFICE
         44 JOHN FRANK WARD BOULEVARD                          ACCOUNT NO.:
         SUITE 350                                             NOT AVAILABLE
         MCDONOUGH, GA 30253



3.4267   HENRY COUNTY, VIRGINIA                                   10/3/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         PO BOX 7                                              ACCOUNT NO.:
         COLLINSVILLE, VA 24078                                NOT AVAILABLE



3.4268   HER MAJESTY THE QUEEN IN RIGHT OF THE PROVINCE           8/29/2018                   Opioid Matter              UNDETERMINED
         OF BRITISH COLUMBIA
         ATTN: ATTORNEY GENERAL                                ACCOUNT NO.:
         PO BOX 9044 STN PROV GOVT                             NOT AVAILABLE
         VICTORIA, BC V8W 9E2
         CANADA



3.4269   HER MAJESTY THE QUEEN IN RIGHT OF THE PROVINCE           8/29/2018                   Opioid Matter              UNDETERMINED
         OF BRITISH COLUMBIA
         ATTN: HONOURABLE DAVID EBY                            ACCOUNT NO.:
         BRITISH COLUMBIA MINISTRY OF JUSTICE                  NOT AVAILABLE
         PO BOX 9044 STN PROV GOVT
         VICTORIA, BC V8W 9E2
         CANADA



3.4270   HERNANDO COUNTY                                          6/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER
         20 N MAIN ST                                          ACCOUNT NO.:
         ROOM 263                                              NOT AVAILABLE
         BROOKSVILLE, FL 34601



3.4271   HH HEALTH SYSTEM-ATHENS LIMESTONE, LLC D/B/A             3/15/2019                   Opioid Matter              UNDETERMINED
         ATHENS LIMESTONE HOSPITAL
         ATTN: REGISTERED AGENT                                ACCOUNT NO.:
         SPILLERS, DAVID S                                     NOT AVAILABLE
         101 SIVLEY ROAD
         HUNTSVILLE, AL 35801




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Code                                                 And Account Number                          Claim

Litigation

3.4272   HH HEALTH SYSTEM-ATHENS LIMESTONE, LLC D/B/A             3/15/2019                   Opioid Matter              UNDETERMINED
         ATHENS LIMESTONE HOSPITAL
         ATTN: PRESIDENT                                       ACCOUNT NO.:
         700 WEST MARKET STREET                                NOT AVAILABLE
         ATHENS, AL 35611



3.4273   HH HEALTH SYSTEM-ATHENS LIMESTONE, LLC D/B/A             3/15/2019                   Opioid Matter              UNDETERMINED
         ATHENS LIMESTONE HOSPITAL
         ATTN: SECRETARY OF STATE                              ACCOUNT NO.:
         PO BOX 5616                                           NOT AVAILABLE
         MONTGOMERY, AL 36103-5616



3.4274   HH HEALTH SYSTEM-MORGAN, LLC D/B/A DECATUR               3/15/2019                   Opioid Matter              UNDETERMINED
         MORGAN HOSPITAL D/B/A DECATUR MORGAN HOSPITAL-
         PARKWAY                                               ACCOUNT NO.:
         ATTN: PRESIDENT                                       NOT AVAILABLE
         1201 7TH STREET SOUTHEAST
         DECATUR, AL 35603



3.4275   HH HEALTH SYSTEM-MORGAN, LLC D/B/ADECATUR                3/15/2019                   Opioid Matter              UNDETERMINED
         MORGAN HOSPITAL D/B/A DECATUR MORGAN HOSPITAL-
         PARKWAY                                               ACCOUNT NO.:
         ATTN: REGISTERED AGENT                                NOT AVAILABLE
         SPILLERS, DAVID S
         101 SIVLEY ROAD
         HUNTSVILLE, AL 35801



3.4276   HH HEALTH SYSTEM-MORGAN, LLC D/B/ADECATUR                3/15/2019                   Opioid Matter              UNDETERMINED
         MORGAN HOSPITAL D/B/A DECATUR MORGAN HOSPITAL-
         PARKWAY                                               ACCOUNT NO.:
         ATTN: SECRETARY OF STATE                              NOT AVAILABLE
         PO BOX 5616
         MONTGOMERY, AL 36103-5616



3.4277   HH HEALTH SYSTEM-SHOALS, LLC D/B/A HELEN KELLER          3/15/2019                   Opioid Matter              UNDETERMINED
         HOSPITAL D/B/A RED BAY HOSPITAL
         ATTN: PRESIDENT                                       ACCOUNT NO.:
         HELEN KELLER HOSPITAL                                 NOT AVAILABLE
         1300 MONGOMERY AVENUE
         SHEFFIELD, AL 35660



3.4278   HH HEALTH SYSTEM-SHOALS, LLC D/B/A HELEN KELLER          3/15/2019                   Opioid Matter              UNDETERMINED
         HOSPITAL D/B/A RED BAY HOSPITAL
         ATTN: REGISTERED AGENT                                ACCOUNT NO.:
         SPILLERS, DAVID S                                     NOT AVAILABLE
         101 SIVLEY ROAD
         HUNTSVILLE, AL 35801



3.4279   HH HEALTH SYSTEM-SHOALS, LLC D/B/A HELEN KELLER          3/15/2019                   Opioid Matter              UNDETERMINED
         HOSPITAL D/B/A RED BAY HOSPITAL
         ATTN: SECRETARY OF STATE                              ACCOUNT NO.:
         PO BOX 5616                                           NOT AVAILABLE
         MONTGOMERY, AL 36103-5616




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4280   HIGHLANDS HOSPITAL CORPORATION D/B/A HIGHLANDS           8/17/2018                   Opioid Matter              UNDETERMINED
         REGIONAL MEDICAL CENTER
         ATTN: PRESIDENT & CHIEF EXECUTIVE OFFICER             ACCOUNT NO.:
         5000 KENTUCKY ROUTE 321                               NOT AVAILABLE
         PRESTONSBURG, KY 41653



3.4281   HIGHLANDS HOSPITAL CORPORATION D/B/A HIGHLANDS           8/17/2018                   Opioid Matter              UNDETERMINED
         REGIONAL MEDICAL CENTER
         ATTN: REGISTERED AGENT, RICK KING                     ACCOUNT NO.:
         100 AIRPORT GARDENS ROAD                              NOT AVAILABLE
         HAZARD, KY 41701



3.4282   HILLSBOROUGH COUNTY, A POLITICAL SUBDIVISION OF          8/14/2018                   Opioid Matter              UNDETERMINED
         THE STATE OF FLORIDA
         ATTN: CHAIRMAN OF THE BOARD OF COUNTY                 ACCOUNT NO.:
         COMMISSIONERS                                         NOT AVAILABLE
         601 E. KENNEDY BLVD.
         TAMPA, FL 33602



3.4283   HILLSBOROUGH COUNTY, NEW HAMPSHIRE                      12/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE BOARD OF COMMISSIONERS
         HILLSBOROUGH COUNTY BOARD OF COMMISSIONERS            ACCOUNT NO.:
         SUITE 120 - 329 MAST ROAD                             NOT AVAILABLE
         GOFFSTOWN, NH 03045



3.4284   HILLSBOROUGH COUNTY, NEW HAMPSHIRE                      12/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY TREASURER
         HILLSBOROUGH COUNTY C/O THE OFFICE OF                 ACCOUNT NO.:
         ADMINISTRATION & FINANCE                              NOT AVAILABLE
         SUITE 114 - 329 MAST ROAD
         GOFFSTOWN, NH 03045



3.4285   HMO LOUISIANA INC.                                       11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT
         IAN STEVEN UDVARHELYI, M.D.                           ACCOUNT NO.:
         5525 REITZ AVENUE                                     NOT AVAILABLE
         BATON ROUGE, LA 70809



3.4286   HMO LOUISIANA INC.                                       11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         C/O MICHELE S. CALANDRO                               ACCOUNT NO.:
         5525 REITZ AVENUE                                     NOT AVAILABLE
         BATON ROUGE, LA 70809



3.4287   HOCKING COUNTY BOARD OF COUNTY COMMISSIONERS            10/12/2017                   Opioid Matter              UNDETERMINED
         ATTN: CLERK OF THE HOCKING COUNTY
         COMMISSIONERS                                         ACCOUNT NO.:
         HOCKING COUNTY COURTHOUSE                             NOT AVAILABLE
         1 EAST MAIN STREET
         LOGAN, OH 43138



3.4288   HOCKING COUNTY BOARD OF COUNTY COMMISSIONERS            10/12/2017                   Opioid Matter              UNDETERMINED
         88 SOUTH MARKET STREET
         LOGAN, OH 43138                                       ACCOUNT NO.:
                                                               NOT AVAILABLE


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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4289   HOLMES COUNTY                                            4/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COUNTY
         COMMISSIONERS                                         ACCOUNT NO.:
         107 E VIRGINIA AVENUE                                 NOT AVAILABLE
         BONIFAY, FL 32425



3.4290   HOLMES COUNTY, MISSISSIPPI                               6/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF SUPERVISORS
         408 COURT SQUARE                                      ACCOUNT NO.:
         PO BOX 239                                            NOT AVAILABLE
         LEXINGTON, MS 39095



3.4291   HOLMES COUNTY, MISSISSIPPI                               6/20/2018                   Opioid Matter              UNDETERMINED
         2 COURT SQUARE
         PO BOX 1211                                           ACCOUNT NO.:
         LEXINGTON, MS 39095                                   NOT AVAILABLE



3.4292   HOLY CROSS HOSPITAL, INC.                                6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         1171 WEST TARGET RANGE ROAD                           ACCOUNT NO.:
         NOGALES, AZ 85621                                     NOT AVAILABLE



3.4293   HOLY CROSS HOSPITAL, INC.                                6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN. STATUTORY AGENT
         C T CORPORATION SYSTEM                                ACCOUNT NO.:
         3800 NORTH CENTRAL AVENUE                             NOT AVAILABLE
         PHOENIX, AZ 85012



3.4294   HOLY CROSS HOSPITAL, INC.                                6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: DIRECTOR
         1445 ROSS AVENUE                                      ACCOUNT NO.:
         SUITE 1400                                            NOT AVAILABLE
         DALLAS, TX 75202



3.4295   HOLY CROSS HOSPITAL, INC.                                6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         OFFICE OF THE SECRETARY OF STATE                      ACCOUNT NO.:
         1700 WEST WASHINGTON STREET - FLOOR 7                 NOT AVAILABLE
         PHOENIX, AZ 85007-2808



3.4296   HOMEDICA OF LOUISIANA, LLC                               6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         8923 BLUEBONNET BOULEVARD                             ACCOUNT NO.:
         BATON ROUGE, LA 70810                                 NOT AVAILABLE



3.4297   HOMEDICA OF LOUISIANA, LLC                               6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         10615 JEFFERSON HIGHWAY                               ACCOUNT NO.:
         THE CARPENTER HEALTH NETWORK                          NOT AVAILABLE
         BATON ROUGE, LA 70809




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Creditor's Name, Mailing Address Including Zip               Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                          And Account Number                         Claim

Litigation

3.4298   HOPLAND BAND OF POMO INDIANS                                     2/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE TRIBAL COUNSEL, AND
         THE TRIBAL CHIEF, AND THE TRIBAL ADMINISTRATOR                ACCOUNT NO.:
         3000 SHANEL ROAD                                              NOT AVAILABLE
         HOPLAND, CA 95449



3.4299   HOSPITAL AUTHORITY OF BAINBRIDGE AND DECATUR                     3/22/2018                   Opioid Matter              UNDETERMINED
         COUNTY, GEORGIA
         ATTN: CHIEF EXECUTIVE OFFICER                                 ACCOUNT NO.:
         1500 E. SHOTWELL STREET                                       NOT AVAILABLE
         BAINBRIDGE, GA 39819



3.4300   HOSPITAL AUTHORITY OF BAXLEY AND APPLING                         9/24/2018                   Opioid Matter              UNDETERMINED
         COUNTY D/B/A APPLING HEALTH CARE SYSTEM
         ATTN: CHIEF EXECUTIVE OFFICER                                 ACCOUNT NO.:
         PO BOX 2070                                                   NOT AVAILABLE
         163 E. TOLLISON STREET
         BAXLEY, GA 31515



3.4301   HOSPITAL AUTHORITY OF BAXLEY AND APPLING                         9/24/2018                   Opioid Matter              UNDETERMINED
         COUNTY D/B/A APPLING HEALTH CARE SYSTEM
         ATTN: CHIEF EXECUTIVE OFFICER                                 ACCOUNT NO.:
         163 E. TOLLISON STREET                                        NOT AVAILABLE
         BAXLEY, GA 31513



3.4302   HOSPITAL AUTHORITY OF BLECKLEY COUNTY D/B/A                      10/4/2018                   Opioid Matter              UNDETERMINED
         BLECKLEY MEMORIAL HOSPITAL
         ATTN: SECRETARY OF STATE                                      ACCOUNT NO.:
         214 STATE CAPITOL                                             NOT AVAILABLE
         ATLANTA, GA 30334



3.4303   HOSPITAL AUTHORITY OF BLECKLEY COUNTY D/B/A                      10/4/2018                   Opioid Matter              UNDETERMINED
         BLECKLEY MEMORIAL HOSPITAL
         ATTN: CEO AND PRESIDENT, OFFICERS AND AGENTS                  ACCOUNT NO.:
         145 EAST PEACOCK STREET                                       NOT AVAILABLE
         COCHRAN, GA 31014



3.4304   Hospital Authority of Valdosta and Lowndes County, Georgia       3/12/2019                   Opioid Matter              UNDETERMINED
         d/b/a South Georgia Medical Center
         Attn: Hospital Authority Chairman, Vice Chairman, Treasurer   ACCOUNT NO.:
         The Hospital Authority of Valdosta and Lowndes County         NOT AVAILABLE
         2501 North Patterson Street
         Valdosta, GA 31602



3.4305   HOSPITAL AUTHORITY OF VALDOSTA AND LOWNDES                       3/12/2019                   Opioid Matter              UNDETERMINED
         COUNTY, GEORGIA D/B/A SOUTH GEORGIA MEDICAL
         CENTER                                                        ACCOUNT NO.:
         ATTN: CHIEF EXECUTIVE OFFICER                                 NOT AVAILABLE
         2501 NORTH PATTERSON STREET
         P.O. BOX 1727
         VALDOSTA, GA 31603




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4306   HOSPITAL AUTHORITY OF VALDOSTA AND LOWNDES               3/12/2019                   Opioid Matter              UNDETERMINED
         COUNTY, GEORGIA D/B/A SOUTH GEORGIA MEDICAL
         CENTER                                                ACCOUNT NO.:
         ATTN: CHIEF EXECUTIVE OFFICER                         NOT AVAILABLE
         2501 NORTH PATTERSON STREET
         VALDOSTA, GA 31602



3.4307   HOSPITAL DEVELOPMENT OF WEST PHOENIX, INC.               6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         OFFICE OF THE SECRETARY OF STATE                      ACCOUNT NO.:
         1700 WEST WASHINGTON STREET - FLOOR 7                 NOT AVAILABLE
         PHOENIX, AZ 85007-2808



3.4308   HOSPITAL DEVELOPMENT OF WEST PHOENIX, INC.               6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT
         1445 ROSS AVENUE                                      ACCOUNT NO.:
         STE. 1400                                             NOT AVAILABLE
         DALLAS, TX 75202



3.4309   HOSPITAL DEVELOPMENT OF WEST PHOENIX, INC.               6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: STATUTORY AGENT
         CT CORPORATION SYSTEM                                 ACCOUNT NO.:
         3800 NORTH CENTRAL AVENUE - SUITE 460                 NOT AVAILABLE
         PHOENIX, AZ 85012



3.4310   HOSPITAL MENONITA CAGUAS, INC.                           3/4/2019                    Opioid Matter              UNDETERMINED
         ATTN: RESIDENT AGENT
         PO BOX 5550                                           ACCOUNT NO.:
         CAGUAS, PR 00726-6660                                 NOT AVAILABLE



3.4311   HOSPITAL MENONITA CAGUAS, INC.                           3/4/2019                    Opioid Matter              UNDETERMINED
         ATTN: RESIDENT AGENT
         CARR. 172 CAGUAS A CIDRA                              ACCOUNT NO.:
         CAGUAS, PR 00725                                      NOT AVAILABLE



3.4312   HOSPITAL MENONITA CAGUAS, INC.                           3/4/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER AND CHIEF
         OPERATING OFFICER                                     ACCOUNT NO.:
         ST 172 EXIT 21 TURABO GARDENS                         NOT AVAILABLE
         CARRETERA CAGUAS A CIDRA
         CAGUAS, PR 00725



3.4313   HOSPITAL MENONITA CAGUAS, INC.                           3/4/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER AND CHIEF
         OPERATING OFFICER                                     ACCOUNT NO.:
         PO BOX 373130                                         NOT AVAILABLE
         CAYEY, PR 00737-3130



3.4314   HOSPITAL MENONITA GAUYAMA, INC.                          3/4/2019                    Opioid Matter              UNDETERMINED
         ATTN: RESIDENT AGENT
         PO BOX 1650                                           ACCOUNT NO.:
         CIDRA, PR 00739                                       NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4315   HOSPITAL MENONITA GAUYAMA, INC.                          3/4/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER AND CHIEF
         OPERATING OFFICER AND CODING MANAGER                  ACCOUNT NO.:
         PO BOX 1650                                           NOT AVAILABLE
         CIDRA, PR 00739-1650



3.4316   HOSPITAL MENONITA GAUYAMA, INC.                          3/4/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER AND CHIEF
         OPERATING OFFICER                                     ACCOUNT NO.:
         PO BOX 1650                                           NOT AVAILABLE
         CIDRA, PR 00739-1650



3.4317   HOSPITAL MENONITA GUAYAMA, INC.                          3/4/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER, CHIEF OPERATING
         OFFICER, AND AGENT                                    ACCOUNT NO.:
         ESQUINA PRINCIPAL, URB. LA HACIENDA ALBIZU            NOT AVAILABLE
         CAMPOS
         GUAYAMA, PR 00784-0011



3.4318   HOSPITAL SERVICE DISTRICT NO. 1 OF THE PARISH OF        10/15/2018                   Opioid Matter              UNDETERMINED
         LASALLE, STATE OF LOUISIANA D/B/A HARDTNER
         MEDICAL CENTER                                        ACCOUNT NO.:
         ATTN: CHIEF EXECUTIVE OFFICER                         NOT AVAILABLE
         1102 NORTH PINE ROAD
         OLLA, LA 71465



3.4319   HOULTON BAND OF MALISEET INDIANS                         5/9/2019                    Opioid Matter              UNDETERMINED
         ATTN:TRIBAL CHIEF AND COUNCIL MEMBERS, TRIBAL
         ADMINSTRATOR                                          ACCOUNT NO.:
         88 BELL ROAD                                          NOT AVAILABLE
         LITTLETON, ME 04730



3.4320   HOUSTON COUNTY                                           7/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF COUNTY COMMISSIONERS
         HOUSTON COUNTY BOARD OF COMMISSIONERS                 ACCOUNT NO.:
         200 CARL VINSON PARKWAY                               NOT AVAILABLE
         WARNER ROBINS, GA 31088



3.4321   HOUSTON COUNTY, ALABAMA                                 12/14/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER
         462 NORTH OATES STREET, 6TH FLOOR                     ACCOUNT NO.:
         DOTHAN, AL 36302                                      NOT AVAILABLE



3.4322   HOUSTON COUNTY, ALABAMA                                 12/14/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF ADMINISTRATIVE OFFICER AND CHAIMAN,
         HOUSTON COUNTY COMMISSION                             ACCOUNT NO.:
         462 NORTH OATES STREET                                NOT AVAILABLE
         DOTHAN, AL 36303



3.4323   HOUSTON COUNTY, ALABAMA                                 12/14/2017                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4324   HOWARD COUNTY                                            3/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: AUDITOR; CHAIR OF SUPERVISORS
         137 NORTH ELM STREET                                  ACCOUNT NO.:
         CRESCO, IA 52136                                      NOT AVAILABLE



3.4325   HOWARD COUNTY                                            5/17/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY SOLICITOR
         CARROLL BUILDING                                      ACCOUNT NO.:
         3450 COURT HOUSE DRIVE                                NOT AVAILABLE
         ELLICOTT CITY, MD 21043



3.4326   HOWARD COUNTY, INDIANA                                   1/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: CURTIS T. HILL, JR.
         STATE OF INDIANA ATTORNEY GENERAL                     ACCOUNT NO.:
         INDIANA GOVERNMENT CENTER SOUTH - 5TH FLOOR -         NOT AVAILABLE
         302 WEST WASHINGTON STREET
         INDIANAPOLIS, IN 46204



3.4327   HOWARD COUNTY, INDIANA                                   1/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS
         220 NORTH MAIN STREET                                 ACCOUNT NO.:
         KOKOMO, IN 46901                                      NOT AVAILABLE



3.4328   HOWARD COUNTY, MARYLAND                                  5/17/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY SOLICITOR
         3450 COURT HOUSE DRIVE                                ACCOUNT NO.:
         ELLICOTT CITY, MD 21043                               NOT AVAILABLE



3.4329   HOWARD COUNTY, MARYLAND                                  5/17/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE
         3430 COURT HOUSE DRIVE                                ACCOUNT NO.:
         ELLICOTT CITY, MD 21043                               NOT AVAILABLE



3.4330   HOWARD COUNTY, MARYLAND                                  5/17/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE
         GEORGE HOWARD BUILDING                                ACCOUNT NO.:
         3430 COURT HOUSE DRIVE                                NOT AVAILABLE
         ELLICOTT CITY, MD 21043



3.4331   HOWARD COUNTY, MARYLAND                                  5/17/2019                   Opioid Matter              UNDETERMINED
         ATTN: RESIDENT AGENT FOR HOWARD COUNTY,
         MARYLAND                                              ACCOUNT NO.:
         GEORGE HOWARD BUILDING                                NOT AVAILABLE
         3430 COURT HOUSE DRIVE
         ELLICOTT CITY, MD 21043



3.4332   HOWARD COUNTY, MARYLAND                                  5/17/2019                   Opioid Matter              UNDETERMINED
         JONATHAN PATRICK NOVAK
         MCNAMEE, HOSEA, ET AL                                 ACCOUNT NO.:
         6411 IVY LANE - SUITE 200                             NOT AVAILABLE
         GREENBELT, MD 20770




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4333   HOWARD COUNTY, MARYLAND                                  5/17/2019                   Opioid Matter              UNDETERMINED
         GARY W. KUC
         HOWARD COUNTY OFFICE OF LAW                           ACCOUNT NO.:
         3430 COURTHOUSE DRIVE                                 NOT AVAILABLE
         ELLICOTT CITY, MD 21043



3.4334   HOWARD COUNTY, MARYLAND                                  5/17/2019                   Opioid Matter              UNDETERMINED
         MARK W. SCHWEITZER
         MARK W. SCHWEITZER                                    ACCOUNT NO.:
         6411 IVY LANE - SUITE 200                             NOT AVAILABLE
         GREENBELT, MD 20770



3.4335   HOWARD COUNTY, MARYLAND                                  5/17/2019                   Opioid Matter              UNDETERMINED
         401 9TH STREET NORTHWEST
         MOTLEY RICE                                           ACCOUNT NO.:
         SUITE 1001                                            NOT AVAILABLE
         WASHINGTON, DC 20004



3.4336   HOWELL COUNTY, MISSOURI                                  6/6/2019                    Opioid Matter              UNDETERMINED
         HOWELL COUNTY COURTHOUSE
         35 COURT SQUARE                                       ACCOUNT NO.:
          - SUITE 302                                          NOT AVAILABLE
         WEST PLAINS, MO 65775



3.4337   HOWELL COUNTY, MISSOURI                                  6/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         HOWELL COUNTY COURTHOUSE                              ACCOUNT NO.:
         35 COURT SQUARE - SUITE 200                           NOT AVAILABLE
         WEST PLAINS, MO 65775



3.4338   HUALAPAI TRIBE                                           1/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: TRIBE’S COUNSEL CHAIRMAN, CEO
         HUALAPAI TRIBE                                        ACCOUNT NO.:
         941 HUALAPAI WAY                                      NOT AVAILABLE
         PEACH SPRINGS, AZ 86434



3.4339   HUALAPAI TRIBE                                           1/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: TRIBE’S COUNSEL CHAIRMAN, CEO
         941 HUALAPAI WAY                                      ACCOUNT NO.:
         P.O. BOX 179                                          NOT AVAILABLE
         PEACH SPRINGS, AZ 86434



3.4340   HUERFANO COUNTY                                          1/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK, CHIEF DEPUTY
         401 MAIN STREET                                       ACCOUNT NO.:
         SUITE 204                                             NOT AVAILABLE
         WALSENBURG, CO 81089



3.4341   HUERFANO COUNTY                                          1/28/2018                   Opioid Matter              UNDETERMINED
         401 MAIN ST. STE 201
         WALSENBURG, CO 81089                                  ACCOUNT NO.:
                                                               NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4342   HUMBOLDT COUNTY                                          7/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE HUMBOLDT COUNTY BOARD
         OF SUPERVISORS                                        ACCOUNT NO.:
         HUMBOLDT COUNTY COURTHOUSE                            NOT AVAILABLE
         825 5TH STREET - ROOM 111
         EUREKA, CA 95501



3.4343   HUMBOLDT COUNTY                                          7/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK RECORDER
         825 5TH STREET                                        ACCOUNT NO.:
         5TH FLOOR                                             NOT AVAILABLE
         EUREKA, CA 95501



3.4344   HUMPHREYS COUNTY, MISS.                                 12/20/2017                   Opioid Matter              UNDETERMINED
         2 COURT SQUARE
         PO BOX 1211                                           ACCOUNT NO.:
         LEXINGTON, MS 39095                                   NOT AVAILABLE



3.4345   HUMPHREYS COUNTY, MISS.                                 12/20/2017                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF SUPERVISORS
         C/O HUMPHREYS COUNTY SHERIFF                          ACCOUNT NO.:
         107 SOUTH HAYDEN STREET                               NOT AVAILABLE
         BELZONI, MS 39038



3.4346   HUNTINGTON BEACH                                         2/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR OF HUNTINGTON BEACH
         2000 MAIN STREET                                      ACCOUNT NO.:
         HUNTINGTON BEACH, CA 92648                            NOT AVAILABLE



3.4347   HUNTINGTON BEACH                                         2/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         CITY CLERK OFFICE                                     ACCOUNT NO.:
         2000 MAIN STREET                                      NOT AVAILABLE
         HUNTINGTON BEACH, CA 92648



3.4348   HURON COUNTY BOARD OF COUNTY COMMISSIONERS              10/12/2017                   Opioid Matter              UNDETERMINED
         ATTN: CLERK OF THE COUNTY COMMISSIONERS
         HURON COUNTY ADMINISTRATION BUILDING                  ACCOUNT NO.:
         180 MILAN AVENUE, SUITE 7                             NOT AVAILABLE
         NORWALK, OH 44857



3.4349   HURON COUNTY BOARD OF COUNTY COMMISSIONERS              10/12/2017                   Opioid Matter              UNDETERMINED
         HURON COUNTY OFFICE BUILDING
         12 EAST MAIN STREET                                   ACCOUNT NO.:
          - 4TH FLOOR                                          NOT AVAILABLE
         NORWALK, OH 44857



3.4350   IBERIA PARISH                                           10/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: PARISH PRESIDENT, CHIEF ADMINISTRATIVE
         OFFICER                                               ACCOUNT NO.:
         COURTHOUSE BUILDING                                   NOT AVAILABLE
         300 IBERIA STREET - SUITE 400
         NEW IBERIA, LA 70560-4543




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4351   IBERIA PARISH SCHOOL BOARD                              10/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: SUPERINTENDENT
         IBERIA PARISH SCHOOL DISTRICT                         ACCOUNT NO.:
         1500 JANE STREET                                      NOT AVAILABLE
         NEW IBERIA, LA 70560



3.4352   IBERVILLE PARISH COUNCIL, A LOUISIANA                    1/16/2019                   Opioid Matter              UNDETERMINED
         GOVERNMENTAL ENTITY
         ATTN: PRESIDENT OF IBERVILLE PARISH COUNCIL           ACCOUNT NO.:
         IBERVILLE PARISH PRESIDENT'S OFFICE                   NOT AVAILABLE
         23405 CHURCH STREET
         PLAQUEMINE, LA 70764



3.4353   IBERVILLE PARISH COUNCIL, A LOUISIANA                    1/16/2019                   Opioid Matter              UNDETERMINED
         GOVERNMENTAL ENTITY
         ATTN: PRESIDENT OF IBERVILLE PARISH COUNCIL           ACCOUNT NO.:
         IBERVILLE PARISH PRESIDENT                            NOT AVAILABLE
         P. O. BOX 389
         PLAQUEMINE, LA 70765-0389



3.4354   IBEW LOCAL 38 HEALTH AND WELFARE FUND                   10/13/2017                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT AND EXECUTIVE BOARD CHAIR
         1590 EAST 23RD STREET                                 ACCOUNT NO.:
         CLEVELAND, OH 44114                                   NOT AVAILABLE



3.4355   IBEW LOCAL 38 HEALTH AND WELFARE FUND                   10/13/2017                   Opioid Matter              UNDETERMINED
         ATTN: IBEW LOCAL 38 HEALTH AND WELFARE FUND,
         AND OFFICERS THEREOF                                  ACCOUNT NO.:
         PO BOX 6326                                           NOT AVAILABLE
         CLEVELAND, OH 44102



3.4356   IBEW LOCAL 38 HEALTH AND WELFARE FUND                   10/13/2017                   Opioid Matter              UNDETERMINED
         ATTN: IBEW LOCAL 38 HEALTH AND WELFARE FUND,
         AND OFFICERS THEREOF                                  ACCOUNT NO.:
         3250 EUCLID AVENUE                                    NOT AVAILABLE
         ROOM 270
         CLEVELAND, OH 44115



3.4357   IBEW LOCAL 728 FAMILY HEALTHCARE PLAN                    3/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT; BUSINESS MANAGER
         4620 SUMMIT BOULEVARD                                 ACCOUNT NO.:
         WEST PALM BEACH, FL 33415                             NOT AVAILABLE



3.4358   IBEW LOCAL 728 FAMILY HEALTHCARE PLAN                    3/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT; BUSINESS MANAGER
         201 SOUTHEAST 24TH STREET                             ACCOUNT NO.:
         FT. LAUDERDALE, FL 33316                              NOT AVAILABLE



3.4359   IBEW LOCAL 90 BENEFITS PLAN                             12/18/2017                   Opioid Matter              UNDETERMINED
         ATTN: BUSINESS MANAGER/FINANCIAL SECRETARY;
         PRESIDENT/BUSINESS AGENT;TREASURER/ORGANIZER          ACCOUNT NO.:
         2 NORTH PLAINS INDUSTRIAL ROAD                        NOT AVAILABLE
         WALLINGFORD, CT 06492




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Code                                                 And Account Number                          Claim

Litigation

3.4360   I-KARE TREATMENT CENTER, LLC                             8/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         2200 NORTH FLORIDA MANGO ROAD                         ACCOUNT NO.:
         SUITE 301                                             NOT AVAILABLE
         WEST PALM BEACH, FL 33409



3.4361   I-KARE TREATMENT CENTER, LLC                             8/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: RANDI KASSAN
         SANDERS PHILLIPS GROSSMAN LLC                         ACCOUNT NO.:
         100 GARDEN CITY PLAZA - SUITE 500                     NOT AVAILABLE
         GARDEN CITY, NY 11530



3.4362   ILLINOIS CONSOLIDATED ACTION                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: ST. CLAIR COUNTY BOARD CHAIRMAN
         #10 PUBLIC SQUARE                                     ACCOUNT NO.:
         BELLEVILLE, LA 62220                                  NOT AVAILABLE



3.4363   ILLINOIS PUBLIC RISK FUND                                5/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: BOARD OF TRUSTEES
         7851 WEST 185TH STREET #101                           ACCOUNT NO.:
         TINLEY PARK, IL 60477                                 NOT AVAILABLE



3.4364   INDIAN HEALTH COUNCIL, INC.                             11/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT OF THE INDIAN HEALTH
         COUNCIL, INC.                                         ACCOUNT NO.:
         50100 GOLSH ROAD                                      NOT AVAILABLE
         VALLEY CENTER, CA 92082



3.4365   INDIAN HEALTH COUNCIL, INC.                             11/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: INDIAN HEALTH COUNCIL, INC.
         PO BOX 406                                            ACCOUNT NO.:
         PAUMA VALLEY, CA 92061                                NOT AVAILABLE



3.4366   INDIANA COUNTY, PA                                       2/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND CHIEF CLERK OF THE COUNTY
         COMMISSIONERS                                         ACCOUNT NO.:
         INDIANA COUNTY COURTHOUSE                             NOT AVAILABLE
         825 PHILADELPHIA STREET
         INDIANA, PA 15701



3.4367   INTERGOVERNMENTAL RISK MANAGEMENT AGENCY                10/15/2018                   Opioid Matter              UNDETERMINED
         AND INTERGOVERNMENTAL PERSONNEL BENEFIT
         COOPERATIVE                                           ACCOUNT NO.:
         ATTN: IPBC BOARD OF DIRECTORS                         NOT AVAILABLE
         1220 OAK BROOK ROAD
         OAK BROOK, IL 60523



3.4368   INTERGOVERNMENTAL RISK MANAGEMENT AGENCY                10/15/2018                   Opioid Matter              UNDETERMINED
         AND INTERGOVERNMENTAL PERSONNEL BENEFIT
         COOPERATIVE                                           ACCOUNT NO.:
         ATTN: CHAIR, CHAIR-ELECT, AND TREASURER               NOT AVAILABLE
         IRMA EXECUTIVE BOARD
         FOUR WESTBROOK CORPORATE CENTER - SUITE 940
         WESTCHESTER, IL 60154



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4369   INTERGOVERNMENTAL RISK MANAGEMENT AGENCY                10/15/2018                   Opioid Matter              UNDETERMINED
         AND INTERGOVERNMENTAL PERSONNEL BENEFIT
         COOPERATIVE                                           ACCOUNT NO.:
         ATTN: CHAIR, VICE CHAIR, AND TREASURER OF THE         NOT AVAILABLE
         EXECUTIVE COMMITTEE
         IPBC BOARD OF DIRECTORS
         800 ROOSEVELT ROAD - BUILDING C, SUITE 312
         GLEN ELLYN, IL 60137



3.4370   INTERNATIONAL BROTHERHOOD OF ELECTRICAL                  7/24/2019                   Opioid Matter              UNDETERMINED
         WORKERS LOCAL 728 FAMILY HEALTHCARE PLAN
         ATTN: PRESIDENT, BUSINESS MANAGER                     ACCOUNT NO.:
         4620 SUMMIT BLVD                                      NOT AVAILABLE
         WEST PALM BEACH, FL 33415



3.4371   INTERNATIONAL BROTHERHOOD OF ELECTRICAL                  7/24/2019                   Opioid Matter              UNDETERMINED
         WORKERS LOCAL 728 FAMILY HEALTHCARE PLAN
         ATTN: PRESIDENT, BUSINESS MANAGER                     ACCOUNT NO.:
         201 SOUTHEAST 24TH STREET                             NOT AVAILABLE
         FT. LAUDERDALE, FL 33316



3.4372   INTERNATIONAL BROTHERHOOD OF ELECTRICAL                  7/24/2019                   Opioid Matter              UNDETERMINED
         WORKERS LOCAL 728 FAMILY HEALTHCARE PLAN
         DAVID S. SENOFF                                       ACCOUNT NO.:
         FIRST LAW STRATEGY GROUP, LLC                         NOT AVAILABLE
         121 SOUTH BROAD STREET - SUITE 300
         PHILADELPHIA, PA 19107



3.4373   INTERNATIONAL BROTHERHOOD OF ELECTRICAL                  3/15/2019                   Opioid Matter              UNDETERMINED
         WORKERS LOCAL 89 SOUND AND COMMUNICATION
         HEALTH & WELFARE FUND                                 ACCOUNT NO.:
         ATTN: PRESIDENT AND BUSINESS MANAGER                  NOT AVAILABLE
         SOUND AND COMMUNICATIONS APPRENTICE TRAINING
         2150 SOUTH 3RD STREET
         PHILADELPHIA, PA 19148



3.4374   INTERNATIONAL BROTHERHOOD OF ELECTRICAL                  3/15/2019                   Opioid Matter              UNDETERMINED
         WORKERS LOCAL 89 SOUND AND COMMUNICATION
         HEALTH & WELFARE FUND                                 ACCOUNT NO.:
         ATTN: PRESIDENT AND BUSINESS MANAGER                  NOT AVAILABLE
         IBEW LOCAL 98 BUSINESS OFFICE
         1701 SPRING GARDEN STREET
         PHILADELPHIA, PA 19130



3.4375   INTERNATIONAL BROTHERHOOD OF ELECTRICAL                  3/15/2019                   Opioid Matter              UNDETERMINED
         WORKERS LOCAL 98 HEALTH & WELFARE FUND
         ATTN: PRESIDENT AND BUSINESS MANAGER                  ACCOUNT NO.:
         IBEW LOCAL 98 BUSINESS OFFICE                         NOT AVAILABLE
         1701 SPRING GARDEN STREET
         PHILADELPHIA, PA 19130




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Code                                                 And Account Number                          Claim

Litigation

3.4376   INTERNATIONAL UNION OF OPERATING ENGINEERS,              2/7/2019                    Opioid Matter              UNDETERMINED
         LOCAL 150
         ATTN: PRESIDENT-BUSINESS MANAGER, VICE                ACCOUNT NO.:
         PRESIDENT, AND CORRESPONDING SECRETARY                NOT AVAILABLE
         LOCAL 150 HEADQUARTERS
         6200 JOLIET ROAD
         COUNTRYSIDE, IL 60525?



3.4377   INTERNATIONAL UNION OF PAINTERS AND ALLIED               4/12/2019                   Opioid Matter              UNDETERMINED
         TRADES, DISTRICT COUNCIL NO. 21 WELFARE FUND
         ATTN: FUND ADMINISTRATOR AND BUSINESS MANAGER         ACCOUNT NO.:
         AND PRESIDENT                                         NOT AVAILABLE
         IUPAT DISTRICT COUNCIL 21 WELFARE FUND
         2980 SOUTHHAMPTON ROAD
         PHILADELPHIA, PA 19154



3.4378   IOWA COUNTY                                              11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         222 NORTH IOWA STREET                                 ACCOUNT NO.:
         DODGEVILLE, WI 53533                                  NOT AVAILABLE



3.4379   IOWA COUNTY                                              11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE COUNTY BOARD
         3110 COUNTY HIGHWAY K                                 ACCOUNT NO.:
         BARNEVELD, WI 53507                                   NOT AVAILABLE



3.4380   IQBAL AKHTER                                             9/17/2017                   Opioid Matter              UNDETERMINED
         6400 N. LONGMEADOW AVENUE
         LINCOLNWOOD, IL 60712                                 ACCOUNT NO.:
                                                               NOT AVAILABLE


3.4381   IREDELL COUNTY                                           6/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: CLERK, CHAIRMAN, COMMISSIONERS, AND
         COUNTY MANAGER                                        ACCOUNT NO.:
         IREDELL COUNTY GOVERNMENT CENTER                      NOT AVAILABLE
         P.O. BOX 788
         STATESVILLE, NC 28687



3.4382   IREDELL COUNTY                                           6/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: CLERK, CHAIRMAN, COMMISSIONERS, AND
         COUNTY MANAGER                                        ACCOUNT NO.:
         200 S CENTER STREET, ROOM 101                         NOT AVAILABLE
         P.O. BOX 788
         STATESVILLE, NC 28677



3.4383   IRON COUNTY                                             10/26/2019                   Opioid Matter              UNDETERMINED
         ATTN: CLERK
         68 S 100 E                                            ACCOUNT NO.:
         PAROWAN, UT 84761                                     NOT AVAILABLE



3.4384   IRON COUNTY                                              1/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER; COUNTY CLERK
         250 SOUTH MAIN STREET                                 ACCOUNT NO.:
         P.O. BOX 42                                           NOT AVAILABLE
         IRONTON, MO 63650-0042



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Code                                                  And Account Number                          Claim

Litigation

3.4385   IRON COUNTY                                               8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CLERK OF COUNTY COMMISSION
         IRON COUNTY COURTHOUSE                                 ACCOUNT NO.:
         250 S. MAIN, PO BOX 42                                 NOT AVAILABLE
         IRONTON, MO 63650



3.4386   IRON WORKERS DISTRICT COUNCIL OF PHILADELPHIA             5/23/2018                   Opioid Matter              UNDETERMINED
         AND VICINITY, BENEFIT FUND
         ATTN: JOSH SHAPIRO                                     ACCOUNT NO.:
         STATE OF PENNSYLVANIA ATTORNEY GENERAL                 NOT AVAILABLE
         PENNSYLVANIA OFFICE OF ATTORNEY GENERAL - 16TH
         FLOOR, STRAWBERRY SQUARE
         HARRISBURG, PA 17120



3.4387   IRON WORKERS DISTRICT COUNCIL OF PHILADELPHIA             5/23/2018                   Opioid Matter              UNDETERMINED
         AND VICINITY, BENEFIT FUND
         ATTN: PRESIDENT                                        ACCOUNT NO.:
         2 INTERNATIONAL PLAZA                                  NOT AVAILABLE
         Q SUITE
         PHILADELPHIA, PA 19113-1504



3.4388   IRWIN COUNTY, GEORGIA                                     3/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF COUNTY COMMISSIONERS
         207 S IRWIN AVE                                        ACCOUNT NO.:
         OCILLA, GA 31774                                       NOT AVAILABLE



3.4389   ISLAND COUNTY                                             8/1/2018                    Opioid Matter              UNDETERMINED
         PO BOX 5000
         COUPEVILLE, WA 98239-5000                              ACCOUNT NO.:
                                                                NOT AVAILABLE


3.4390   ISLAND COUNTY                                             8/1/2018                    Opioid Matter              UNDETERMINED
         CAMANO OFFICE
         121 N EAST CAMANO DRIVE                                ACCOUNT NO.:
         CAMANO ISLAND, WA 98282                                NOT AVAILABLE



3.4391   ISLAND COUNTY                                             8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY AUDITOR
         WHIDBEY OFFICE                                         ACCOUNT NO.:
         ADMINISTRATION BLDG. - 1 NE 7TH STREET                 NOT AVAILABLE
         COUPEVILLE, WA 98239



3.4392   ITASCA COUNTY, MINNESOTA                                  7/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY BOARD MEMBER AND COUNTY AUDITOR
         ITASCA COUNTY COURTHOUSE                               ACCOUNT NO.:
         123 NE 4TH STREET                                      NOT AVAILABLE
         GRAND RAPIDS, MN 55744



3.4393   ITAWAMBA COUNTY, MISS.                                    3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT AND CLERK OF THE BOARD OF
         SUPERVISORS                                            ACCOUNT NO.:
         201 WEST MAIN STREET                                   NOT AVAILABLE
         P.O. BOX 776
         FULTON, MS 38843




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Code                                                 And Account Number                          Claim

Litigation

3.4394   IVY WOODS, SHERIFF OF JEFFERSON DAVIS PARISH             9/18/2017                   Opioid Matter              UNDETERMINED
         PARISH COURTHOUSE
         PO BOX 1049                                           ACCOUNT NO.:
         JENNINGS, LA 70546-1049                               NOT AVAILABLE



3.4395   IVY WOODS, SHERIFF OF JEFFERSON DAVIS PARISH             9/18/2017                   Opioid Matter              UNDETERMINED
         1530 HWY. 90 WEST
         JENNINGS, LA 70546                                    ACCOUNT NO.:
                                                               NOT AVAILABLE


3.4396   IVY WOODS, SHERIFF OF JEFFERSON DAVIS PARISH             9/18/2017                   Opioid Matter              UNDETERMINED
         ATTN: SHERIFF
         PO BOX 863                                            ACCOUNT NO.:
         1530 HWY. 90 WEST                                     NOT AVAILABLE
         JENNINGS, LA 70546



3.4397   J. PAUL JONES HOSPITAL                                   1/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER AND REGISTERED
         AGENT                                                 ACCOUNT NO.:
         PINE HILL CLINIC                                      NOT AVAILABLE
         45 INDUSTRIAL DRIVE WEST
         PINE HILL, AL 36769



3.4398   J. PAUL JONES HOSPITAL                                   1/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER AND REGISTERED
         AGENT                                                 ACCOUNT NO.:
         317 MCWILLIAMS AVENUE                                 NOT AVAILABLE
         CAMDEN, AL 36726



3.4399   JACKSON COUNTY                                           4/2/2019                    Opioid Matter              UNDETERMINED
         ATTN: JACKSON COUNTY CLERK OF CIRCUIT COURT
         4445 LAFAYETTE ST                                     ACCOUNT NO.:
         MARIANNA, FL 32446                                    NOT AVAILABLE



3.4400   JACKSON COUNTY                                           4/2/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER
         JACKSON COUNTY ADMINISTRATION BUILDING                ACCOUNT NO.:
         2864 MADISON STREET                                   NOT AVAILABLE
         MARIANNA, FL 32448



3.4401   JACKSON COUNTY                                           11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         307 MAIN STREET                                       ACCOUNT NO.:
         BLACK RIVER FALLS, WI 54615                           NOT AVAILABLE



3.4402   JACKSON COUNTY                                           11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE COUNTY BOARD OF
         SUPERVISORS                                           ACCOUNT NO.:
         306 OAKWOOD PLACE                                     NOT AVAILABLE
         PO BOX 146
         MERRILLAN, WI 54754




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Code                                                 And Account Number                          Claim

Litigation

3.4403   JACKSON COUNTY BOARD OF COUNTY COMMISSIONERS            10/12/2017                   Opioid Matter              UNDETERMINED
         ATTN: CLERK OF THE COUNTY COMMISSIONERS
         JACKSON COUNTY COURTHOUSE ANNEX                       ACCOUNT NO.:
         275 PORTSMOUTH STREET                                 NOT AVAILABLE
         JACKSON, OH 45640



3.4404   JACKSON COUNTY BOARD OF COUNTY COMMISSIONERS            10/12/2017                   Opioid Matter              UNDETERMINED
         295 BROADWAY ST, SUITE 100
         JACKSON, OH 45640                                     ACCOUNT NO.:
                                                               NOT AVAILABLE


3.4405   JACKSON COUNTY COMMISSION                                5/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER
         P.O. BOX 800                                          ACCOUNT NO.:
         RIPLEY, WV 25271                                      NOT AVAILABLE



3.4406   JACKSON COUNTY HEALTH CARE AUTHORITY                     3/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         380 WOODS COVE ROAD                                   ACCOUNT NO.:
         SCOTTSBORO, AL 35768                                  NOT AVAILABLE



3.4407   JACKSON COUNTY HEALTH CARE AUTHORITY                     3/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.4408   JACKSON COUNTY, ALABAMA                                  6/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, COUNTY COMMISSION AND COUNTY
         CLERK                                                 ACCOUNT NO.:
         102 E LAUREL STREET                                   NOT AVAILABLE
         SUITE 47
         SCOTTSBORO, AL 35768



3.4409   JACKSON COUNTY, ALABAMA                                  6/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.4410   JACKSON COUNTY, GEORGIA                                  5/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN BOARD OF COMMISSIONERS; COUNTY
         MANAGER                                               ACCOUNT NO.:
         67 ATHENS STREET                                      NOT AVAILABLE
         JEFFERSON, GA 30549



3.4411   JACKSON COUNTY, INDIANA                                  3/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: CURTIS T. HILL, JR.
         STATE OF INDIANA ATTORNEY GENERAL                     ACCOUNT NO.:
         INDIANA GOVERNMENT CENTER SOUTH - 5TH FLOOR -         NOT AVAILABLE
         302 WEST WASHINGTON STREET
         INDIANAPOLIS, IN 46204




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Code                                                 And Account Number                          Claim

Litigation

3.4412   JACKSON COUNTY, INDIANA                                  3/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS
         220 EAST WALNUT STREET                                ACCOUNT NO.:
         BROWNSTOWN, IN 47220                                  NOT AVAILABLE



3.4413   JACKSON COUNTY, MISSOURI                                 7/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE AND CLERK OF THE COUNTY
         LEGISLATURE                                           ACCOUNT NO.:
         JACKSON COUNTY COURTHOUSE                             NOT AVAILABLE
         415 EAST 12TH STREET
         KANSAS CITY, MO 64106



3.4414   JACKSON PARISH POLICE JURY                              10/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT
         JACKSON PARISH POLICE JURY                            ACCOUNT NO.:
         JACKSON PARISH COURT HOUSE - 500 EAST COURT           NOT AVAILABLE
         STREET, ROOM 301
         JONESBORO, LA 71251



3.4415   JACKSON, DYANDRA                                         5/18/2018                    Automobile                UNDETERMINED
         NOT AVAILABLE
                                                               ACCOUNT NO.:
                                                               AB94933999904


3.4416   JACQUELYNN MARTINEZ, INDIVIDUALLY AND AS NEXT            6/16/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY J.M., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED          ACCOUNT NO.:
         ATTN: CELESTE BRUSTOWICZ                              NOT AVAILABLE
         COOPER LAW FIRM, LLC
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.4417   JAMES & TERI HOLLAND                                     3/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: MELISA JANENE WILLIAMS
         MELISA J. WILLIAMS, ATTORNEY AT LAW                   ACCOUNT NO.:
         P.O. BOX 515                                          NOT AVAILABLE
         SOMERVILLE, TN 38068



3.4418   JAMES, CARLA D                                           1/12/2016                     Workers                  UNDETERMINED
         NOT AVAILABLE                                                                        Compensation
                                                               ACCOUNT NO.:
                                                                WC949C90715


3.4419   JAMESTOWN S’KLALLAM TRIBE                                3/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER AND CHIEF
         EXECUTIVE OFFICER                                     ACCOUNT NO.:
         JAMESTOWN S'KLALLAM TRIBE                             NOT AVAILABLE
         1033 OLD BLYN HIGHWAY
         SEQUIM, WA 98382



3.4420   JAMIE JOHNSON, INDIVIDUALLY AND AS NEXT FRIEND           6/17/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABIES K.D. AND J.D.
         ATTN: STEPHEN H. WUSSOW                               ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                  NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4421   JAMIEE GILSON, AS NEXT FRIEND AND GUARDIAN OF            6/14/2019                   Opioid Matter              UNDETERMINED
         BABY M.M.D
         ATTN: KEVIN THOMPSON                                  ACCOUNT NO.:
         THOMPSON BARNEY LAW FIRM                              NOT AVAILABLE
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311



3.4422   JAMIEE GILSON, AS NEXT FRIEND AND GUARDIAN OF            6/14/2019                   Opioid Matter              UNDETERMINED
         BABY M.M.D
         ATTN: KEVIN W. THOMPSON, DAVID R. BARNEY, JR.         ACCOUNT NO.:
         THOMPSON BARNEY LAW FIRM                              NOT AVAILABLE
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311



3.4423   JAMIEE GILSON, AS NEXT FRIEND AND GUARDIAN OF            6/14/2019                   Opioid Matter              UNDETERMINED
         BABY M.M.D.
         ATTN: SCOTT R. BICKFORD                               ACCOUNT NO.:
         MARTZELL, BICKFORD & CENTOLA                          NOT AVAILABLE
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.4424   JAMIEE GILSON, AS NEXT FRIEND AND GUARDIAN OF            6/14/2019                   Opioid Matter              UNDETERMINED
         BABY M.M.D.
         ATTN: SPENCER R. DOODY                                ACCOUNT NO.:
         MARTZELL, BICKFORD & CENTOLA                          NOT AVAILABLE
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.4425   JAMIEE GILSON, AS NEXT FRIEND AND GUARDIAN OF            6/14/2019                   Opioid Matter              UNDETERMINED
         BABY M.M.D.
         ATTN: DAVID R. BARNEY, JR.                            ACCOUNT NO.:
         THOMPSON BARNEY LAW FIRM                              NOT AVAILABLE
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311



3.4426   JAMIEE GILSON, AS NEXT FRIEND AND GUARDIAN OF            6/14/2019                   Opioid Matter              UNDETERMINED
         BABY M.M.D.
         ATTN: KENT HARRISON ROBBINS                           ACCOUNT NO.:
         THE LAW OFFICE OF KENT HARRISON ROBBINS, P.A.         NOT AVAILABLE
         242 NORTHEAST 27TH STREET
         MIAMI, FL 33137



3.4427   JAMIEE GILSON, AS NEXT FRIEND AND GUARDIAN OF            6/14/2019                   Opioid Matter              UNDETERMINED
         BABY M.M.D.
         ATTN: STEPHEN WUSSOW                                  ACCOUNT NO.:
         COOPER LAW FIRM                                       NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.4428   JAMIEE GILSON, AS NEXT FRIEND AND GUARDIAN OF            6/14/2019                   Opioid Matter              UNDETERMINED
         BABY M.M.D.
         ATTN: CELESTE BRUSTOWICZ, STEPHEN H. WUSSOW           ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                  NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130




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Code                                                 And Account Number                          Claim

Litigation

3.4429   JAMIEE GILSON, AS NEXT FRIEND AND GUARDIAN OF            6/14/2019                   Opioid Matter              UNDETERMINED
         BABY M.M.D.
         ATTN: DONALD E. CREADORE                              ACCOUNT NO.:
         CREADOR LAW FIRM                                      NOT AVAILABLE
         450 SEVENTH AVENUE - SUITE 1408
         CHARLESTON, WV 25311



3.4430   JANNA LOWRY, AS SPOUSE OF DECEDENT, BRIAN                1/17/2018                   Opioid Matter              UNDETERMINED
         LOWRY
         ATTN: DANIEL T. RYAN                                  ACCOUNT NO.:
         LAW OFFICE OF DANIEL T. RYAN, LLC                     NOT AVAILABLE
         1717 PARK AVENUE
         ST. LOUIS, MO 63104



3.4431   JANNA LOWRY, AS SPOUSE OF DECEDENT, BRIAN                1/17/2018                   Opioid Matter              UNDETERMINED
         LOWRY
         ATTN: MICHAEL P. SINGER III                           ACCOUNT NO.:
         KLAR, IZSAK, & STENGER LLC                            NOT AVAILABLE
         1505 SOUTH BIG BEND BOULEVARD
         ST. LOUIS, MO 63117



3.4432   JANNA LOWRY, AS SPOUSE OF DECEDENT, BRIAN                1/17/2018                   Opioid Matter              UNDETERMINED
         LOWRY
         ATTN: GARY K. BURGER                                  ACCOUNT NO.:
         BURGER LAW FIRM, LLC                                  NOT AVAILABLE
         500 NORTH BROADWAY - SUITE 1860
         ST. LOUIS, MO 63102



3.4433   JARED EFFLER, ET AL.                                     9/29/2017                   Opioid Matter              UNDETERMINED
         ATTN: BRADLEY H. HODGE
         HAGOOD MOODY HODGE PLC                                ACCOUNT NO.:
         900 SOUTH GAY STREET - SUITE 2100                     NOT AVAILABLE
         KNOXVILLE, TN 37902



3.4434   JARED EFFLER, ET AL.                                     9/29/2017                   Opioid Matter              UNDETERMINED
         ATTN: WILLIAM C. KILLIAN
         LEITNER, WILLIAMS, DOOLEY & NAPOLITAN                 ACCOUNT NO.:
         TALLAN BUILDING - 200 WEST M.L. KING BOULEVARD,       NOT AVAILABLE
         SUITE 500
         CHATTANOOGA, TN 37402



3.4435   JARED EFFLER, ET AL.                                     9/29/2017                   Opioid Matter              UNDETERMINED
         ATTN: WILLIAM KILLIAN
         801 BROAD STREET                                      ACCOUNT NO.:
         SUITE 428                                             NOT AVAILABLE
         CHATTANOOGA, TN 37402



3.4436   JARED EFFLER, ET AL.                                     9/29/2017                   Opioid Matter              UNDETERMINED
         ATTN: L. JEFFREY HAGOOD
         HAGOOD MOODY HODGE PLC                                ACCOUNT NO.:
         900 SOUTH GAY STREET - SUITE 2100                     NOT AVAILABLE
         KNOXVILLE, TN 37902




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Code                                                         And Account Number                         Claim

Litigation

3.4437   JARED EFFLER, ET AL.                                            9/29/2017                   Opioid Matter              UNDETERMINED
         ATTN: TIMOTHY A. HOUSHOLDER
         HAGOOD MOODY HODGE PLC                                        ACCOUNT NO.:
         900 SOUTH GAY STREET - SUITE 2100                             NOT AVAILABLE
         KNOXVILLE, TN 37902



3.4438   Jared Effler, et al.                                            9/29/2017                   Opioid Matter              UNDETERMINED
         Attn: Anthony A. Orlandi, Benjamin A. Gastel, James Gerard
         Stranch, III, James Gerard Stranch, IV,                       ACCOUNT NO.:
         Michael J. Wall, Tricia A. Herzfeld                           NOT AVAILABLE
         Branstetter, Stranch & Jennings, PLLC - The Freedom Center,
         223 Rosa L. Parks Ave, Ste 200
         Nashville, TN 37203



3.4439   JARED EFFLER, ET AL.                                            9/29/2017                   Opioid Matter              UNDETERMINED
         ATTN: TRICIA HERZFELD
         BRANSTETTER, STRANCH & JENNINGS, PLLC                         ACCOUNT NO.:
         THE FREEDOM CENTER - 223 ROSA L. PARKS AVENUE,                NOT AVAILABLE
         SUITE 200
         NASHVILLE, TN 37203



3.4440   JARED EFFLER, ET AL.                                            9/29/2017                   Opioid Matter              UNDETERMINED
         ATTN: BENJAMIN A GASTEL
         BRANSTETTER, STRANCH & JENNINGS, PLLC                         ACCOUNT NO.:
         THE FREEDOM CENTER - 223 ROSA L. PARKS AVENUE,                NOT AVAILABLE
         SUITE 200
         NASHVILLE, TN 37203



3.4441   JARED EFFLER, ET AL.                                            9/29/2017                   Opioid Matter              UNDETERMINED
         ATTN: J. GERARD STRANCH, IV
         BRANSTETTER, STRANCH & JENNINGS, PLLC                         ACCOUNT NO.:
         THE FREEDOM CENTER - 223 ROSA L. PARKS AVENUE,                NOT AVAILABLE
         SUITE 200
         NASHVILLE, TN 37203



3.4442   JARED EFFLER, ET AL.                                            9/29/2017                   Opioid Matter              UNDETERMINED
         ATTN: JAMES G. STRANCH, III
         BRANSTETTER, STRANCH & JENNINGS, PLLC                         ACCOUNT NO.:
         THE FREEDOM CENTER - 223 ROSA L. PARKS AVENUE,                NOT AVAILABLE
         SUITE 200
         NASHVILLE, TN 37203



3.4443   JARED EFFLER, ET AL.                                            9/29/2017                   Opioid Matter              UNDETERMINED
         ATTN: MICHAEL J. WALL
         BRANSTETTER, STRANCH & JENNINGS, PLLC                         ACCOUNT NO.:
         THE FREEDOM CENTER - 223 ROSA L. PARKS AVENUE,                NOT AVAILABLE
         SUITE 200
         NASHVILLE, TN 37203



3.4444   JARED EFFLER, ET AL.                                            9/29/2017                   Opioid Matter              UNDETERMINED
         L. JEFFREY HAGOOD
         HAGOOD MOODY HODGE PLC                                        ACCOUNT NO.:
         900 SOUTH GAY STREET - SUITE 2100                             NOT AVAILABLE
         KNOXVILLE, TN 37902




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Code                                                 And Account Number                          Claim

Litigation

3.4445   JARED EFFLER, ET AL.                                     9/29/2017                   Opioid Matter              UNDETERMINED
         BRUCE D. FOX
         FOX & FARLEY                                          ACCOUNT NO.:
         310 NORTH MAIN STREET                                 NOT AVAILABLE
         CLINTON, TN 37716



3.4446   JARED EFFLER, ET AL.                                     9/29/2017                   Opioid Matter              UNDETERMINED
         TIMOTHY HOUSEHOLDER
         HAGOOD MOODY HODGE PLC                                ACCOUNT NO.:
         900 SOUTH GAY STREET - SUITE 2100                     NOT AVAILABLE
         KNOXVILLE, TN 37902



3.4447   JARED EFFLER, ET AL.                                     9/29/2017                   Opioid Matter              UNDETERMINED
         J. GARARD STRANCH, IV
         BRANSTETTER, STRANCH & JENNINGS, PLLC                 ACCOUNT NO.:
         THE FREEDOM CENTER - 223 ROSA L. PARKS AVENUE,        NOT AVAILABLE
         SUITE 200
         NASHVILLE, TN 37203



3.4448   JARED EFFLER, ET AL.                                     9/29/2017                   Opioid Matter              UNDETERMINED
         JAMES G. STRANCH, III
         BRANSTETTER, STRANCH & JENNINGS, PLLC                 ACCOUNT NO.:
         THE FREEDOM CENTER - 223 ROSA L. PARKS AVENUE,        NOT AVAILABLE
         SUITE 200
         NASHVILLE, TN 37203



3.4449   JARED EFFLER, ET AL.                                     9/29/2017                   Opioid Matter              UNDETERMINED
         BENJAMIN A. GASTEL
         BRANSTETTER, STRANCH & JENNINGS, PLLC                 ACCOUNT NO.:
         THE FREEDOM CENTER - 223 ROSA L. PARKS AVENUE,        NOT AVAILABLE
         SUITE 200
         NASHVILLE, TN 37203



3.4450   JARED EFFLER, ET AL.                                     9/29/2017                   Opioid Matter              UNDETERMINED
         TRICIA HERZFELD, ESQ.
         BRANSTETTER, STRANCH & JENNINGS, PLLC                 ACCOUNT NO.:
         THE FREEDOM CENTER - 223 ROSA L. PARKS AVENUE,        NOT AVAILABLE
         SUITE 200
         NASHVILLE, TN 37203



3.4451   JARED EFFLER, IN HIS OFFICIAL CAPACITY AS THE            9/29/2017                   Opioid Matter              UNDETERMINED
         DISTRICT ATTORNEY GENERAL FOR THE EIGTH
         JUDICIAL DISTRICT, TN                                 ACCOUNT NO.:
         ATTN: HERBERT H. SLATERY III                          NOT AVAILABLE
         STATE OF TENNESSEE ATTORNEY GENERAL
         425 5TH AVENUE NORTH
         NASHVILLE, TN 37243



3.4452   JASON REYNOLDS, INDIVIDUALLY AND ON BEHALF OF            11/1/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: TRAVIS LENKNER                                  ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 2570
         CHICAGO, IL 60606




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Code                                                 And Account Number                          Claim

Litigation

3.4453   JASON REYNOLDS, INDIVIDUALLY AND ON BEHALF OF            11/1/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: SETH MEYER                                      ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 2570
         CHICAGO, IL 60606



3.4454   JASON REYNOLDS, INDIVIDUALLY AND ON BEHALF OF            11/1/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: WILLIAM S. CONSOVOY                             ACCOUNT NO.:
         CONSOVOY MCCARTHY PARK PLLC                           NOT AVAILABLE
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201



3.4455   JASON REYNOLDS, INDIVIDUALLY AND ON BEHALF OF            11/1/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: STEVE D. LARSON                                 ACCOUNT NO.:
         STOLL STOLL BERNE LOKTING & SHLACHTER P.C.            NOT AVAILABLE
         209 SOUTHWEST OAK STREET - SUITE 500
         PORTLAND, OR 97204



3.4456   JASON REYNOLDS, INDIVIDUALLY AND ON BEHALF OF            11/1/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: MICHAEL H. PARK                                 ACCOUNT NO.:
         ATTN: MICHAEL H PARK                                  NOT AVAILABLE
         745 FIFTH AVENUE - SUITE 500
         NEW YORK, NY 10151



3.4457   JASON REYNOLDS, INDIVIDUALLY AND ON BEHALF OF            11/1/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: ASHLEY C. KELLER                                ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 2750
         CHICAGO, IL 60606



3.4458   JASON REYNOLDS, INDIVIDUALLY AND ON BEHALF OF            11/1/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: THOMAS R. MCCARTHY                              ACCOUNT NO.:
         CONSOVOY MCCARTHY PARK PLLC                           NOT AVAILABLE
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201



3.4459   JASPER COUNTY                                            3/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: BOARD OF SUPERVISORS CHAIR
         JASPER COUNTY COURTHOUSE                              ACCOUNT NO.:
         101 1ST STREET NORTH, ROOM 203                        NOT AVAILABLE
         NEWTON, IA 50208



3.4460   JASPER COUNTY                                            3/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: AUDITOR
         101 1ST STREET NORTH                                  ACCOUNT NO.:
         ROOM 202                                              NOT AVAILABLE
         NEWTON, IA 50208




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Code                                                 And Account Number                          Claim

Litigation

3.4461   JASPER COUNTY                                            8/1/2018                    Opioid Matter              UNDETERMINED
         JOPLIN COURTHOUSE
         COUNTY COURTS BUILDING                                ACCOUNT NO.:
          - 601 SOUTH PEARL AVE                                NOT AVAILABLE
         JOPLIN, MO 64801



3.4462   JASPER COUNTY                                            8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CLERK OF THE COUNTY COMMISSION
         CARTHAGE COURTHOUSE                                   ACCOUNT NO.:
         302 SOUTH MAIN STREET                                 NOT AVAILABLE
         CARTHAGE, MO 64836



3.4463   JASPER COUNTY                                            1/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: CLERK
         302 SOUTH MAIN STREET                                 ACCOUNT NO.:
         ROOM 102                                              NOT AVAILABLE
         CARTHAGE, MO 64836



3.4464   JASPER COUNTY, GEORGIA                                   4/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         126 WEST GREENE STREET                                ACCOUNT NO.:
         SUITE 18                                              NOT AVAILABLE
         MONTICELLO, GA 31064



3.4465   JAY BRODSKY                                              5/7/2018                    Opioid Matter              UNDETERMINED
         PRO SE
         240 EAST SHORE ROAD                                   ACCOUNT NO.:
         APARTMENT 444                                         NOT AVAILABLE
         GREAT NECK, NY 11023



3.4466   JAY COUNTY                                               9/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE COUNTY COMMISSION
         120 NORTH COURT STREET                                ACCOUNT NO.:
         PORTLAND, IN 47371                                    NOT AVAILABLE



3.4467   JAY COUNTY                                               9/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: CURTIS T. HILL, JR.
         STATE OF INDIANA ATTORNEY GENERAL                     ACCOUNT NO.:
         INDIANA GOVERNMENT CENTER SOUTH - 5TH FLOOR -         NOT AVAILABLE
         302 WEST WASHINGTON STREET
         INDIANAPOLIS, IN 46204



3.4468   JAY HOSPITAL                                            11/21/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN
         555 BRENT LANE                                        ACCOUNT NO.:
         PENSACOLA, FL 32503                                   NOT AVAILABLE



3.4469   JAY HOSPITAL                                            11/21/2017                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT/CEO AND REGISTERED AGENT
         1717 NORTH EAST STREET                                ACCOUNT NO.:
         SUITE 320                                             NOT AVAILABLE
         PENSACOLA, FL 32501




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Code                                                 And Account Number                          Claim

Litigation

3.4470   JAY RUSSELL, SHERIFF OF OUACHITA PARISH                  10/5/2017                   Opioid Matter              UNDETERMINED
         ATTN: SHERIFF
         OUACHITA PARISH SHERIFF'S OFFICE                      ACCOUNT NO.:
         400 SAINT JOHN STREET                                 NOT AVAILABLE
         MONROE, LA 71201



3.4471   JAY RUSSELL, SHERIFF OF OUACHITA PARISH                  10/5/2017                   Opioid Matter              UNDETERMINED
         301 S GRAND ST #201
         MONROE, LA 71201                                      ACCOUNT NO.:
                                                               NOT AVAILABLE


3.4472   JEAN LAFITTE TOWN                                        1/17/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND COUNCILPERSON
         TOWN GOVERNMENT BUILDING                              ACCOUNT NO.:
         2654 JEAN LAFITTE BOULEVARD                           NOT AVAILABLE
         LAFITTE, LA 70067



3.4473   JEFF DAVIS COUNTY, GA                                    2/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF COUNTY COMMISSIONERS
         PO BOX 609                                            ACCOUNT NO.:
         HAZLEHURST, GA 31539                                  NOT AVAILABLE



3.4474   JEFFERSON CITY                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         112 CITY CENTER DRIVE                                 ACCOUNT NO.:
         PO BOX 530                                            NOT AVAILABLE
         JEFFERSON CITY, TN 37760



3.4475   JEFFERSON COUNTY                                         8/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK OF THE COUNTY COMMISSION
         729 MAPLE STREET                                      ACCOUNT NO.:
         HILLSBORO, MO 63050                                   NOT AVAILABLE



3.4476   JEFFERSON COUNTY                                         8/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK OF THE COUNTY COMMISSION
         P.O. BOX 100                                          ACCOUNT NO.:
         HILLSBORO, MO 63050                                   NOT AVAILABLE



3.4477   JEFFERSON COUNTY                                         1/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: CLERK OF THE COUNTY COMMISSION; COUNTY
         CLERK                                                 ACCOUNT NO.:
         729 MAPLE STREET                                      NOT AVAILABLE
         P.O. BOX 100
         HILLSBORO, MO 63050



3.4478   JEFFERSON COUNTY                                         11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY BOARD CHAIRMAN & COUNTY CLERK
         JEFFERSON COUNTY COURTHOUSE                           ACCOUNT NO.:
         311 S. CENTER AVENUE                                  NOT AVAILABLE
         JEFFERSON, WI 53549



3.4479   JEFFERSON COUNTY                                         8/14/2018                   Opioid Matter              UNDETERMINED
         P.O. BOX 563
         PORT TOWNSEND, WA 98368                               ACCOUNT NO.:
                                                               NOT AVAILABLE

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Code                                                 And Account Number                          Claim

Litigation

3.4480   JEFFERSON COUNTY                                         8/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY AUDITOR
         1820 JEFFERSON STREET                                 ACCOUNT NO.:
         PORT TOWNSEND, WA 98368                               NOT AVAILABLE



3.4481   JEFFERSON COUNTY                                         8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         729 MAPLE STREET                                      ACCOUNT NO.:
         P.O. BOX 100                                          NOT AVAILABLE
         HILLSBORO, MO 63050



3.4482   JEFFERSON COUNTY COMMISSION                             11/21/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         OLD COURTHOUSE                                        ACCOUNT NO.:
         100 EAST WASHINGTON STREET                            NOT AVAILABLE
         CHARLES TOWN, WV 25414



3.4483   JEFFERSON COUNTY HMA, LLC                                7/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT; MANAGING MEMBER
         JUSTIN D. PITT, CHIEF LITIGATION COUNSEL              ACCOUNT NO.:
         4000 MERIDIAN BOULEVARD - COMMUNITY HEALTH            NOT AVAILABLE
         SYSTEMS
         FRANKLIN, TN 37067-6325



3.4484   JEFFERSON COUNTY HMA, LLC                                7/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         JEFFERSON MEMORIAL HOSPITAL                           ACCOUNT NO.:
         110 HOSPITAL DRIVE                                    NOT AVAILABLE
         JEFFERSON CITY, TN 37760



3.4485   JEFFERSON COUNTY, AL                                     3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER
         COUNTY MANAGER'S OFFICE                               ACCOUNT NO.:
         716 RICHARD ARRINGTON JR BOULVARD NORTH - SUITE       NOT AVAILABLE
         251
         BIRMINGHAM, AL 35203



3.4486   JEFFERSON COUNTY, AL                                     3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER
         COUNTY MANAGER'S OFFICE                               ACCOUNT NO.:
         716 RICHARD ARRINGTON JR BOULVARD NORTH - SUITE       NOT AVAILABLE
         251
         BIRMINGHAM, AL 35203



3.4487   JEFFERSON COUNTY, AL                                     3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.4488   JEFFERSON COUNTY, GEORGIA                                6/19/2019                   Opioid Matter              UNDETERMINED
         ATTN: JEFFERSON COUNTY CHAIRMAN
         JEFFERSON COUNTY COMMISSIONERS OFFICE                 ACCOUNT NO.:
         217 EAST BROAD STREET                                 NOT AVAILABLE
         LOUISVILLE, GA 30434


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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4489   JEFFERSON COUNTY, MISSISSIPPI                            6/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT AND CLERK OF THE BOARD OF
         SUPERVISORS                                           ACCOUNT NO.:
         1483 MAIN STREET                                      NOT AVAILABLE
         PO BOX 145
         FAYETTE, MS 36069



3.4490   JEFFERSON COUNTY, TENNESSEE                              3/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK AND MAYOR
         214 MAIN STREET                                       ACCOUNT NO.:
         DANDRIDGE, TN 37725                                   NOT AVAILABLE



3.4491   JEFFERSON COUNTY, TENNESSEE                              3/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK AND MAYOR
         PO BOX 710                                            ACCOUNT NO.:
         DANDRIDGE, TN 37725-0710                              NOT AVAILABLE



3.4492   JEFFERSON DAVIS COUNTY, MISS.                           12/13/2017                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT AND CLERK OF THE BOARD OF
         SUPERVISORS                                           ACCOUNT NO.:
         2426 PEARL AVE                                        NOT AVAILABLE
         PRENTISS, MS 39474



3.4493   JEFFERSON DAVIS PARISH POLICE JURY                       10/2/2018                   Opioid Matter              UNDETERMINED
         ATTN: POLICE JURY PRESIDENT
         SIDNEY BRISCOE JR. BUILDING                           ACCOUNT NO.:
         304 NORTH STATE STREET                                NOT AVAILABLE
         JENNINGS, LA 70546



3.4494   JEFFERSON PARISH HOSPITAL SERVICE NO. 1                  6/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE BOARD OF COMMISSIONERS AND
         REGISTERED AGENT                                      ACCOUNT NO.:
         1101 MEDICAL CENTER BOULEVARD                         NOT AVAILABLE
         MARRERO, LA 70072



3.4495   JEFFERSON PARISH HOSPITAL SERVICE NO. 1                  6/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE BOARD OF COMMISSIONERS AND
         CHIEF OPERATING OFFICER AND REGISTERED AGENT          ACCOUNT NO.:
         EXECUTIVE OFFICE                                      NOT AVAILABLE
         1101 MEDICAL CENTER BLVD
         MARRERO, LA 70072



3.4496   JEFFERSON PARISH HOSPITAL SERVICE NO. 1                  6/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: PARISH PRESIDENT
         JOSEPH S. YENNI BUILDING                              ACCOUNT NO.:
         1221 ELMWOOD PARK BLVD - 10TH FLOOR                   NOT AVAILABLE
         JEFFERSON, LA 70123-2337



3.4497   JEFFERSON PARISH HOSPITAL SERVICE NO. 2                  6/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         4308 HOLTON STREET                                    ACCOUNT NO.:
         METAIRIE, LA 70001                                    NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip                  Date Claim Was Incurred    C U      D    Basis For      Offset   Amount of Claim
Code                                                             And Account Number                        Claim

Litigation

3.4498   JEFFERSON PARISH HOSPITAL SERVICE NO. 2                             6/29/2018                  Opioid Matter              UNDETERMINED
         ATTN: PARISH PRESIDENT
         JOSEPH S. YENNI BUILDING                                          ACCOUNT NO.:
         1221 ELMWOOD PARK BLVD - 10TH FLOOR                               NOT AVAILABLE
         JEFFERSONM, LA 70123-2337



3.4499   JEFFERSON PARISH HOSPITAL SERVICE NO. 2                             6/29/2018                  Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         EAST JEFFERSON GENERAL HOSPITAL                                   ACCOUNT NO.:
         4200 HOUMA BOULEVARD                                              NOT AVAILABLE
         METAIRIE, LA 70006



3.4500   JENNI GOLDMAN, INDIVIDUALLY AND AS NEXT FRIEND                      6/18/2019                  Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABIES J.K.W. AND M.J.R.
         ATTN: CELESTE BRUSTOWICZ                                          ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                              NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.4501   JENNIFER ARTZ, INDIVIDUALLY AND AS NEXT FRIEND                      6/17/2019                  Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY I.A.A., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                      ACCOUNT NO.:
         ATTN: STEPHEN H. WUSSOW                                           NOT AVAILABLE
         COOPER LAW FIRM, LLC
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.4502   JENNIFER THOMAS, INDIVIDUALLY AND AS NEXT FRIEND                    6/20/2019                  Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY A.S.
         ATTN: CELESTE BRUSTOWICZ                                          ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                              NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.4503   JENNING H. JONES                                                    1/10/2018                  Opioid Matter              UNDETERMINED
         ATTN: HENRY D. FINCHER
         305 EAST SPRING STREET                                            ACCOUNT NO.:
         COOKEVILLE, TN 38501                                              NOT AVAILABLE



3.4504   JENNING H. JONES                                                    1/10/2018                  Opioid Matter              UNDETERMINED
         ATTN: ANTHONY A. ORLANDI, BENJAMIN A. GASTEL,
         JAMES GERARD STRANCH, IV, JAMES GERARD                            ACCOUNT NO.:
         STRANCH, III,                                                     NOT AVAILABLE
         TRICIA A. HERZFELD
         BRANSTETTER, STRANCH & JENNINGS, PLLC - THE
         FREEDOM CENTER, 223 ROSA L. PARKS AVE, STE 200
         NASHVILLE, TN 37203



3.4505   Jenning H. Jones, in his official capacity as the District          1/10/2018                  Opioid Matter              UNDETERMINED
         Attorney General for the Sixteenth Judicial District, TN and on
         behalf of all political subdivisions therein, including Cannon    ACCOUNT NO.:
         County, Town of Auburntown, Town of Woodbury, Rutherford          NOT AVAILABLE
         County, City
         Attn: James G. Stranch, III
         Branstetter, Stranch & Jennings, PLLC
         The Freedom Center - 223 Rosa L. Parks Avenue Suite 200
         Nashville, TN 37203

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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip                  Date Claim Was Incurred    C U      D    Basis For      Offset   Amount of Claim
Code                                                             And Account Number                        Claim

Litigation

3.4506   Jenning H. Jones, in his official capacity as the District          1/10/2018                  Opioid Matter              UNDETERMINED
         Attorney General for the Sixteenth Judicial District, TN and on
         behalf of all political subdivisions therein, including Cannon    ACCOUNT NO.:
         County, Town of Auburntown, Town of Woodbury, Rutherford          NOT AVAILABLE
         County, City
         Attn: Tricia A. Herzfeld
         Branstetter, Stranch & Jennings, PLLC
         The Freedom Center - 223 Rosa L. Parks Avenue, Suite 200
         Nashville, TN 37203



3.4507   Jenning H. Jones, in his official capacity as the District          1/10/2018                  Opioid Matter              UNDETERMINED
         Attorney General for the Sixteenth Judicial District, TN and on
         behalf of all political subdivisions therein, including Cannon    ACCOUNT NO.:
         County, Town of Auburntown, Town of Woodbury, Rutherford          NOT AVAILABLE
         County, City
         Attn: J. Gerard Stranch, IV
         Branstetter, Stranch & Jennings, PLLC
         The Freedom Center - 223 Rosa L. Parks Avenue, Suite 200
         Nashville, TN 37203



3.4508   Jenning H. Jones, in his official capacity as the District          1/10/2018                  Opioid Matter              UNDETERMINED
         Attorney General for the Sixteenth Judicial District, TN and on
         behalf of all political subdivisions therein, including Cannon    ACCOUNT NO.:
         County, Town of Auburntown, Town of Woodbury, Rutherford          NOT AVAILABLE
         County, City
         Attn: Benjamin A. Gastel
         Branstetter, Stranch & Jennings, PLLC
         The Freedom Center - 223 Rosa L. Parks Avenue, Suite 200
         Nashville, TN 37203



3.4509   JENNINGS COUNTY                                                      1/8/2018                  Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE COUNTY COMMISSION
         200 EAST BROWN STREET                                             ACCOUNT NO.:
         VERNON, IN 47282                                                  NOT AVAILABLE



3.4510   JENNINGS COUNTY                                                      1/8/2018                  Opioid Matter              UNDETERMINED
         ATTN: CURTIS T. HILL, JR.
         STATE OF INDIANA ATTORNEY GENERAL                                 ACCOUNT NO.:
         INDIANA GOVERNMENT CENTER SOUTH - 5TH FLOOR -                     NOT AVAILABLE
         302 WEST WASHINGTON STREET
         INDIANAPOLIS, IN 46204



3.4511   JENNY SCULLY, INDIVIDUALLY AND AS NEXT FRIEND                       6/20/2019                  Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY I.S.
         ATTN: DAVID R. BARNEY JR.                                         ACCOUNT NO.:
         THOMPSON BARNEY LAW FIRM                                          NOT AVAILABLE
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311



3.4512   JENNY SCULLY, INDIVIDUALLY AND AS NEXT FRIEND                       6/20/2019                  Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY I.S.
         ATTN: CELESTE BRUSTOWICZ, STEPHEN H. WUSSOW                       ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                              NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4513   JENNY SCULLY, INDIVIDUALLY AND AS NEXT FRIEND            6/20/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY I.S.
         ATTN: STEPHEN WUSSOW                                  ACCOUNT NO.:
         COOPER LAW FIRM                                       NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.4514   JENNY SCULLY, INDIVIDUALLY AND AS NEXT FRIEND            6/20/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY I.S.
         ATTN: DONALD E. CREADORE                              ACCOUNT NO.:
         CREADOR LAW FIRM                                      NOT AVAILABLE
         450 SEVENTH AVENUE - SUITE 1408
         NEW YORK, NY 10123



3.4515   JENNY SCULLY, INDIVIDUALLY AND AS NEXT FRIEND            6/20/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY I.S.
         ATTN: KEVIN W. THOMPSON, DAVID R. BARNEY, JR.         ACCOUNT NO.:
         THOMPSON BARNEY LAW FIRM                              NOT AVAILABLE
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311



3.4516   JENNY SCULLY, INDIVIDUALLY AND AS NEXT FRIEND            6/20/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY I.S.
         ATTN: SPENCER R. DOODY                                ACCOUNT NO.:
         MARTZELL, BICKFORD & CENTOLA                          NOT AVAILABLE
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.4517   JENNY SCULLY, INDIVIDUALLY AND AS NEXT FRIEND            6/20/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY I.S.
         ATTN: SCOTT R. BICKFORD                               ACCOUNT NO.:
         MARTZELL, BICKFORD & CENTOLA                          NOT AVAILABLE
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.4518   JERRY PHILLEY, SHERRIFF OF WEST CARROLL PARISH           1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: SHERIFF
         305 EAST MAIN STREET                                  ACCOUNT NO.:
         OAK GROVE, LA 71263                                   NOT AVAILABLE



3.4519   JERRY PHILLEY, SHERRIFF OF WEST CARROLL PARISH           1/9/2018                    Opioid Matter              UNDETERMINED
         PO DRAWER 630
         OAK GROVE, LA 71263                                   ACCOUNT NO.:
                                                               NOT AVAILABLE


3.4520   JESSICA COLLIER, INDIVIDUALLY AND AS NEXT FRIEND         6/17/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY A.P.
         ATTN: CELESTE BRUSTOWICZ                              ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                  NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4521   JESSICA HAMPEL, INDIVIDUALLY AND AS NEXT FRIEND          6/14/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY A.M.H., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED          ACCOUNT NO.:
         ATTN: KENT HARRISON ROBBINS                           NOT AVAILABLE
         THE LAW OFFICE OF KENT HARRISON ROBBINS, P.A.
         242 NORTHEAST 27TH STREET
         MIAMI, FL 33137



3.4522   JESSICA HAMPEL, INDIVIDUALLY AND AS NEXT FRIEND          6/14/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY A.M.H., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED          ACCOUNT NO.:
         ATTN: CELESTE BRUSTOWICZ, STEPHEN H. WUSSOW           NOT AVAILABLE
         COOPER LAW FIRM, LLC
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.4523   JESSICA HAMPEL, INDIVIDUALLY AND AS NEXT FRIEND          6/14/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY A.M.H., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED          ACCOUNT NO.:
         ATTN: STEPHEN WUSSOW                                  NOT AVAILABLE
         COOPER LAW FIRM
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.4524   JESSICA HAMPEL, INDIVIDUALLY AND AS NEXT FRIEND          6/14/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY A.M.H., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED          ACCOUNT NO.:
         ATTN: SCOTT R. BICKFORD                               NOT AVAILABLE
         MARTZELL, BICKFORD & CENTOLA
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.4525   JESSICA HAMPEL, INDIVIDUALLY AND AS NEXT FRIEND          6/14/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY A.M.H., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED          ACCOUNT NO.:
         ATTN: DAVID R. BARNEY, JR.                            NOT AVAILABLE
         THOMPSON BARNEY LAW FIRM
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311



3.4526   JESSICA HAMPEL, INDIVIDUALLY AND AS NEXT FRIEND          6/14/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY A.M.H., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED          ACCOUNT NO.:
         ATTN: CELESTE BRUSTOWICZ                              NOT AVAILABLE
         COOPER LAW FIRM
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.4527   JESSICA HAMPEL, INDIVIDUALLY AND AS NEXT FRIEND          6/14/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY A.M.H., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED          ACCOUNT NO.:
         ATTN: DONALD E. CREADORE                              NOT AVAILABLE
         CREADORE LAW FIRM
         450 SEVENTH AVENUE - SUITE 1408
         NEW YORK, NY 10123




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Creditor's Name, Mailing Address Including Zip                 Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                            And Account Number                         Claim

Litigation

3.4528   Jessica Hampel, individually and as next friend and guardian of      6/14/2019                 Opioid Matter              UNDETERMINED
         Baby A.M.H., on behalf of themselves and all others similarly
         situated                                                           ACCOUNT NO.:
         Attn: Kevin W. Thompson, David R. Barney, Jr.                      NOT AVAILABLE
         Thompson Barney Law Firm
         2030 Kanawha Boulevard, East
         Charleston, WV 25311



3.4529   JESSICA HAMPEL, INDIVIDUALLY AND AS NEXT FRIEND                      6/14/2019                 Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY A.M.H., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                       ACCOUNT NO.:
         ATTN: DONALD E. CREADORE                                           NOT AVAILABLE
         CREADOR LAW FIRM
         450 SEVENTH AVENUE - SUITE 1408
         NEW YORK, NY 10123



3.4530   JESSICA HAMPEL, INDIVIDUALLY AND AS NEXT FRIEND                      6/14/2019                 Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY A.M.H., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                       ACCOUNT NO.:
         ATTN: SPENCER R. DOODY                                             NOT AVAILABLE
         MARTZELL, BICKFORD & CENTOLA
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.4531   JESSICA PERKINS, INDIVIDUALLY AND AS NEXT FRIEND                     6/20/2019                 Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABIES P.A. AND R.A.
         ATTN: CELESTE BRUSTOWICZ                                           ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                               NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.4532   JESSICA RODRIGUEZ, INDIVIDUALLY AND AS NEXT                          6/14/2019                 Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY M.A.P., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                       ACCOUNT NO.:
         ATTN: DAVID R. BARNEY, JR.                                         NOT AVAILABLE
         THOMPSON BARNEY LAW FIRM
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311



3.4533   Jessica Rodriguez, individually and as next friend and guardian      6/14/2019                 Opioid Matter              UNDETERMINED
         of Baby M.A.P., on behalf of themselves and all others similarly
         situated                                                           ACCOUNT NO.:
         Attn: Kevin W. Thompson, David R. Barney, Jr.                      NOT AVAILABLE
         Thompson Barney Law Firm
         2030 Kanawha Boulevard, East
         Charleston, WV 25311



3.4534   JESSICA RODRIGUEZ, INDIVIDUALLY AND AS NEXT                          6/14/2019                 Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY M.A.P., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                       ACCOUNT NO.:
         ATTN: DONALD E. CREADORE                                           NOT AVAILABLE
         CREADOR LAW FIRM
         450 SEVENTH AVENUE - SUITE 1408
         NEW YORK, NY 10123




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip                 Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                            And Account Number                         Claim

Litigation

3.4535   JESSICA RODRIGUEZ, INDIVIDUALLY AND AS NEXT                          6/14/2019                 Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY M.A.P., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                       ACCOUNT NO.:
         ATTN: SCOTT R. BICKFORD                                            NOT AVAILABLE
         MARTZELL, BICKFORD & CENTOLA
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.4536   JESSICA RODRIGUEZ, INDIVIDUALLY AND AS NEXT                          6/14/2019                 Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY M.A.P., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                       ACCOUNT NO.:
         ATTN: STEPHEN WUSSOW                                               NOT AVAILABLE
         COOPER LAW FIRM
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.4537   Jessica Rodriguez, individually and as next friend and guardian      6/14/2019                 Opioid Matter              UNDETERMINED
         of Baby M.A.P., on behalf of themselves and all others similarly
         situated                                                           ACCOUNT NO.:
         Attn: Kent Harrison Robbins                                        NOT AVAILABLE
         The Law Office of Kent Harrison Robbins, P.A.
         242 Northeast 27th Street
         Miami, FL 33137



3.4538   JESSICA RODRIGUEZ, INDIVIDUALLY AND AS NEXT                          6/14/2019                 Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY M.A.P., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                       ACCOUNT NO.:
         ATTN: CELESTE BRUSTOWICZ, STEPHEN H. WUSSOW                        NOT AVAILABLE
         COOPER LAW FIRM, LLC
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.4539   JESSICA RODRIGUEZ, INDIVIDUALLY AND AS NEXT                          6/14/2019                 Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY M.A.P., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                       ACCOUNT NO.:
         ATTN: SPENCER R. DOODY                                             NOT AVAILABLE
         MARTZELL, BICKFORD & CENTOLA
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.4540   JESSICA TAYLOR, INDIVIDUALLY AND AS NEXT FRIEND                      6/18/2019                 Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY D.S.
         ATTN: STEPHEN H. WUSSOW                                            ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                               NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.4541   JIMMY DUNN, IN HIS OFFICIAL CAPACITY AS THE                          UNKNOWN                   Opioid Matter              UNDETERMINED
         DISTRICT ATTORNEY GENERAL FOR THE FOURTH
         JUDICIAL DISTRICT AND ON BEHLAF OF ALL POLITICAL                   ACCOUNT NO.:
         SUBDIVISIONS THEREIN                                               NOT AVAILABLE
         ATTN: ATTORNEY GENERAL
         125 COURT AVE, SUITE 301-E
         SEVIERVILLE, TN 37862




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4542   JODI SHAFFER, INDIVIDUALLY AND AS NEXT FRIEND AND       11/15/2018                   Opioid Matter              UNDETERMINED
         GUARDIAN OF MINOR R.C., ON BEHALF OF THEMSELVES
         AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
         ATTN: THOMAS E. BILEK, KELLY COX BILEK                NOT AVAILABLE
         THE BILEK LAW FIRM, LLP
         700 LOUISIANA, SUITE 2950
         HOUSTON, TX 77002



3.4543   JODI SHAFFER, INDIVIDUALLY AND AS NEXT FRIEND AND       11/15/2018                   Opioid Matter              UNDETERMINED
         GUARDIAN OF MINOR R.C., ON BEHALF OF THEMSELVES
         AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
         ATTN: KELLY COX BILEK                                 NOT AVAILABLE
         THE BILEK LAW FIRM
         700 LOUISIANA, SUITE 3950
         HOUSTON, TX 77002



3.4544   JODI SHAFFER, INDIVIDUALLY AND AS NEXT FRIEND AND       11/15/2018                   Opioid Matter              UNDETERMINED
         GUARDIAN OF MINOR R.C., ON BEHALF OF THEMSELVES
         AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
         ATTN: GREGORY B. HELLER                               NOT AVAILABLE
         YOUNG RICCHIUTI CALDWELL & HELLER
         1600 MARKET STREET, SUITE 3800
         PHILADELPHIA, PA 19103



3.4545   JODI SHAFFER, INDIVIDUALLY AND AS NEXT FRIEND AND       11/15/2018                   Opioid Matter              UNDETERMINED
         GUARDIAN OF MINOR R.C., ON BEHALF OF THEMSELVES
         AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
         ATTN: MARC E. DANN, BRIAN D. FLICK                    NOT AVAILABLE
         DANNLAW
         PO BOX 6031041
         CLEVELAND, OH 44103



3.4546   JODI SHAFFER, INDIVIDUALLY AND AS NEXT FRIEND AND       11/15/2018                   Opioid Matter              UNDETERMINED
         GUARDIAN OF MINOR R.C., ON BEHALF OF THEMSELVES
         AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
         ATTN: ANDREW SACKS                                    NOT AVAILABLE
         SACKS WESTON DIAMOND, LLC
         1845 WALNUT STREET, SUITE 1600
         PHILADELPHIA, PA 19103



3.4547   JODI SHAFFER, INDIVIDUALLY AND AS NEXT FRIEND AND       11/15/2018                   Opioid Matter              UNDETERMINED
         GUARDIAN OF MINOR R.C., ON BEHALF OF THEMSELVES
         AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
         ATTN: J.K. WESTON, ANDREW SACKS                       NOT AVAILABLE
         SACKS WESTON DIAMOND, LLC
         1845 WALNUT STREET, SUITE 1600
         PHILADELPHIA, PA 19103



3.4548   JODI SHAFFER, INDIVIDUALLY AND AS NEXT FRIEND AND       11/15/2018                   Opioid Matter              UNDETERMINED
         GUARDIAN OF MINOR R.C., ON BEHALF OF THEMSELVES
         AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
         ATTN: THOMAS E. MCINTIRE                              NOT AVAILABLE
         82 1/2 14TH STREET
         WHEELING, WV 26003




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4549   JODI SHAFFER, INDIVIDUALLY AND AS NEXT FRIEND AND       11/15/2018                   Opioid Matter              UNDETERMINED
         GUARDIAN OF MINOR R.C., ON BEHALF OF THEMSELVES
         AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
         ATTN: BRIAN D. FLICK                                  NOT AVAILABLE
         DANNLAW
         PO BOX 6031040
         CLEVELAND, OH 44103



3.4550   JOEL BISHOP                                              3/27/2019                   Opioid Matter              UNDETERMINED
         ATTN: GREG SHEVLIN
         COOK, BARTHOLOMEW, SHEVLIN, COOK & JONES LLP          ACCOUNT NO.:
         12 WEST LINCOLN STREET                                NOT AVAILABLE
         BELLEVILLE, IL 62220



3.4551   JOEL BISHOP                                              3/27/2019                   Opioid Matter              UNDETERMINED
         ATTN: EDWARD TJADEN; NICHOLAS MERIAGE
         PITZER SNODGRASS, P.C.                                ACCOUNT NO.:
         100 SOUTH FOURTH STREET - SUITE 400                   NOT AVAILABLE
         ST. LOUIS, MO 63102



3.4552   JOEL BISHOP                                              3/27/2019                   Opioid Matter              UNDETERMINED
         ATTN: JOSHUA EVANS; EDWARD UNSELL
         THE UNSELL LAW FIRM, P.C.                             ACCOUNT NO.:
         69 SOUTH 9TH STREET                                   NOT AVAILABLE
         EAST ALTON, IL 62024



3.4553   JOEL BISHOP, DEAN COLMAN, AND PETE LAVITE V.             3/27/2019                   Opioid Matter              UNDETERMINED
         PURDUE PHARMA L.P., ET AL.
         ATTN: JOSHUA R. EVANS                                 ACCOUNT NO.:
         THE UNSELL LAW FIRM, P.C.                             NOT AVAILABLE
         69 SOUTH 9TH STREET
         EAST ALTON, IL 62024



3.4554   JOEL BISHOP, DEAN COLMAN, AND PETE LAVITE V.             3/27/2019                   Opioid Matter              UNDETERMINED
         PURDUE PHARMA L.P., ET AL.
         ATTN: GREG SHEVLIN                                    ACCOUNT NO.:
         COOK, BARTHOLOMEW, SHEVLIN, COOK & JONES LLP          NOT AVAILABLE
         12 WEST LINCOLN STREET
         BELLEVILLE, IL 62220



3.4555   JOEL BISHOP, DEAN COLMAN, AND PETE LAVITE V.             3/27/2019                   Opioid Matter              UNDETERMINED
         PURDUE PHARMA L.P., ET AL.
         ATTN: NICHOLAS P. MERIAGE                             ACCOUNT NO.:
         PITZER SNODGRASS P.C.                                 NOT AVAILABLE
         100 SOUTH FOURTH STREET - SUITE 400
         ST. LOUIS, MI 63102-1821



3.4556   JOEL BISHOP, DEAN COLMAN, AND PETE LAVITE V.             3/27/2019                   Opioid Matter              UNDETERMINED
         PURDUE PHARMA L.P., ET AL.
         ATTN: EDWARD W. UNSELL                                ACCOUNT NO.:
         THE UNSELL LAW FIRM, P.C.                             NOT AVAILABLE
         69 S. 9TH STREET
         EAST ALTON, IL 62024




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4557   JOEL BISHOP, DEAN COLMAN, AND PETE LAVITE V.             3/27/2019                   Opioid Matter              UNDETERMINED
         PURDUE PHARMA L.P., ET AL.
         ATTN: EDWARD M. TJADEN                                ACCOUNT NO.:
         PITZER SNODGRASS, P.C.                                NOT AVAILABLE
         100 SOUTH FOURTH STREET - SUITE 400
         ST. LOUIS, MI 63102-1821



3.4558   JOHN CRAFT (VERNON PARISH SHERIFF)                       10/5/2017                   Opioid Matter              UNDETERMINED
         ATTN: SHERIFF
         VERNON PARISH SHERIFF'S OFFICE                        ACCOUNT NO.:
         1203 SOUTH 4TH STREET                                 NOT AVAILABLE
         LEESVILLE, LA 71446



3.4559   JOHN CRAFT (VERNON PARISH SHERIFF)                       10/5/2017                   Opioid Matter              UNDETERMINED
         VERNON PARISH SHERIFF'S OFFICE
         1203 SOUTH 4TH STREET                                 ACCOUNT NO.:
          - P.O. BOX 649                                       NOT AVAILABLE
         LEESVILLE, LA 71446



3.4560   JOHN CRAFT (VERNON PARISH SHERIFF)                       10/5/2017                   Opioid Matter              UNDETERMINED
         ADMINISTRATIVE OFFICE
         300 S. 3RD ST                                         ACCOUNT NO.:
         LEESVILLE, LA 71496                                   NOT AVAILABLE



3.4561   JOHN DOE, BY AND THROUGH JANE DOE, HIS PARENT            8/24/2018                   Opioid Matter              UNDETERMINED
         AND NATURAL GUARDIAN, ON BEHALF OF HIMSELF AND
         ALL OTHERS SIMILARLY SITUATED                         ACCOUNT NO.:
         ATTN: KELLY COX BILEK                                 NOT AVAILABLE
         THE BILEK LAW FIRM, L.L.P.
         700 LOUISIANA STREET - SUITE 3950
         HOUSTON, TX 77002



3.4562   JOHN DOE, BY AND THROUGH JANE DOE, HIS PARENT            8/24/2018                   Opioid Matter              UNDETERMINED
         AND NATURAL GUARDIAN, ON BEHALF OF HIMSELF AND
         ALL OTHERS SIMILARLY SITUATED                         ACCOUNT NO.:
         ATTN: GREGORY B. HELLER                               NOT AVAILABLE
         YOUNG RICCHIUTI CALDWELL & HELLER, L.L.C.
         1600 MARKET STREET - SUITE 3800
         PHILADELPHIA, PA 19103



3.4563   JOHN DOE, BY AND THROUGH JANE DOE, HIS PARENT            8/24/2018                   Opioid Matter              UNDETERMINED
         AND NATURAL GUARDIAN, ON BEHALF OF HIMSELF AND
         ALL OTHERS SIMILARLY SITUATED                         ACCOUNT NO.:
         ATTN: ANDREW SACKS                                    NOT AVAILABLE
         SACKS WESTON DIAMOND, LLC
         1845 WALNUT STREET - SUITE 1600
         PHILADELPHIA, PA 19103



3.4564   JOHN DOE, BY AND THROUGH JANE DOE, HIS PARENT            8/24/2018                   Opioid Matter              UNDETERMINED
         AND NATURAL GUARDIAN, ON BEHALF OF HIMSELF AND
         ALL OTHERS SIMILARLY SITUATED                         ACCOUNT NO.:
         ATTN: JOHN WESTON                                     NOT AVAILABLE
         SACKS WESTON DIAMOND, LLC
         1845 WALNUT STREET - SUITE 1600
         PHILADELPHIA, PA 19103




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4565   JOHN DOE, BY AND THROUGH JANE DOE, HIS PARENT            8/24/2018                   Opioid Matter              UNDETERMINED
         AND NATURAL GUARDIAN, ON BEHALF OF HIMSELF AND
         ALL OTHERS SIMILARLY SITUATED                         ACCOUNT NO.:
         ATTN:THOMAS E. BILEK                                  NOT AVAILABLE
         THE BILEK LAW FIRM, L.L.P.
         700 LOUISIANA STREET - SUITE 3950
         HOUSTON, TX 77002



3.4566   JOHN DOE, BY AND THROUGH JANE DOES, HIS PARENT           8/24/2018                   Opioid Matter              UNDETERMINED
         AND NATURAL GUARDIAN, ON BEHALF OF HIMSELF AND
         ALL OTHERS SIMILARLY SITUATED                         ACCOUNT NO.:
         ATTN: THOMAS E. BILEK                                 NOT AVAILABLE
         THE BILEK LAW FIRM, L.L.P.
         700 LOUISIANA - SUITE 3950
         HOUSTON, TX 77002



3.4567   JOHN DOE, BY AND THROUGH JANE DOES, HIS PARENT           8/24/2018                   Opioid Matter              UNDETERMINED
         AND NATURAL GUARDIAN, ON BEHALF OF HIMSELF AND
         ALL OTHERS SIMILARLY SITUATED                         ACCOUNT NO.:
         ATTN: JOHN WESTON                                     NOT AVAILABLE
         SACKS WESTON DIAMOND, LLC
         1845 WALNUT STREET - SUITE 1600
         PHILADELPHIA, PA 19103



3.4568   JOHN DOE, BY AND THROUGH JANE DOES, HIS PARENT           8/24/2018                   Opioid Matter              UNDETERMINED
         AND NATURAL GUARDIAN, ON BEHALF OF HIMSELF AND
         ALL OTHERS SIMILARLY SITUATED                         ACCOUNT NO.:
         ATTN: ANDREW SACKS                                    NOT AVAILABLE
         SACKS WESTON DIAMOND, LLC
         1845 WALNUT STREET - SUITE 1600
         PHILADELPHIA, PA 19103



3.4569   JOHN DOE, BY AND THROUGH JANE DOES, HIS PARENT           8/24/2018                   Opioid Matter              UNDETERMINED
         AND NATURAL GUARDIAN, ON BEHALF OF HIMSELF AND
         ALL OTHERS SIMILARLY SITUATED                         ACCOUNT NO.:
         ATTN: GREGORY B. HELLER                               NOT AVAILABLE
         YOUNG RICCHIUTI CALDWELL & HELLER, LLC
         1600 MARKET STREET - SUITE 3800
         PHILADELPHIA, PA 19103



3.4570   JOHN DOE, BY AND THROUGH JANE DOES, HIS PARENT           8/24/2018                   Opioid Matter              UNDETERMINED
         AND NATURAL GUARDIAN, ON BEHALF OF HIMSELF AND
         ALL OTHERS SIMILARLY SITUATED                         ACCOUNT NO.:
         ATTN: KELLY COX BILEK                                 NOT AVAILABLE
         THE BILEK LAW FIRM, L.L.P.
         700 LOUISIANA - SUITE 3950
         HOUSTON, TX 77002



3.4571   JOHN E. BALLANCE, IN HIS CAPACITY AS THE SHERIFF         8/6/2018                    Opioid Matter              UNDETERMINED
         FOR BIENVILLE PARISH
         ATTN: SHERIFF                                         ACCOUNT NO.:
         100 COURTHOUSE DRIVE                                  NOT AVAILABLE
         PO BOX 328
         ARCADIA, LA 71001




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Creditor's Name, Mailing Address Including Zip                    Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                               And Account Number                         Claim

Litigation

3.4572   JOHN G. CARTER, IN HIS OFFICIAL CAPACITY AS THE                        3/22/2019                  Opioid Matter              UNDETERMINED
         SHERIFF OF WAYNE COUNTY, GEORGIA
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS                         ACCOUNT NO.:
         341 E WALNUT ST                                                      NOT AVAILABLE
         JESUP, GA 31546



3.4573   JOHN G. CARTER, IN HIS OFFICIAL CAPACITY AS THE                        3/22/2019                  Opioid Matter              UNDETERMINED
         SHERIFF OF WAYNE COUNTY, GEORGIA
         3000 HIGHWAY 42 N.                                                   ACCOUNT NO.:
         PO BOX 1000                                                          NOT AVAILABLE
         STOCKBRIDGE, GA 30281



3.4574   John Pohlmann, Sheriff of St. Bernard Parish, Louisiana in his         8/31/2018                  Opioid Matter              UNDETERMINED
         capacity as officer ex officio of the St. Bernard Parish Sheriff's
         Office and the St. Bernard Parish Law Enforcement District           ACCOUNT NO.:
         Attn: Sheriff                                                        NOT AVAILABLE
         St. Bernard Sheriff's Office
         Courthouse Annex - #2 Courthouse Square
         Chalmette, LA 70043



3.4575   JOHN POHLMANN, SHERIFF OF ST. BERNARD PARISH,                          8/31/2018                  Opioid Matter              UNDETERMINED
         LOUISIANA IN HIS CAPACITY AS OFFICER EX OFFICIO OF
         THE ST. BERNARD PARISH SHERIFF'S OFFICE AND THE                      ACCOUNT NO.:
         ST. BERNARD PARISH LAW ENFORCEMENT DISTRICT                          NOT AVAILABLE
         8201 W JUDGE PEREZ DRIVE
         CHALMETTE, LA 70043



3.4576   JOHN T. FOUNDATION D/B/A JACK MULHALL CENTER                           11/1/2018                  Opioid Matter              UNDETERMINED
         FOR SOBER LIVING
         ATTN: JOHN T. FOUNDATION D/B/A JACK MULHALL                          ACCOUNT NO.:
         CENTER FOR SOBER LIVING                                              NOT AVAILABLE
         4395 ROCKY RIVER DRIVE
         CLEVELAND, OH 44135



3.4577   JOHN T. FOUNDATION D/B/A JACK MULHALL CENTER                           11/1/2018                  Opioid Matter              UNDETERMINED
         FOR SOBER LIVING
         ATTN: DIRECTOR                                                       ACCOUNT NO.:
         4395 ROCKY RIVER DRIVE                                               NOT AVAILABLE
         CLEVELAND, OH 44135



3.4578   JOHN T. FOUNDATION D/B/A JACK MULHALL CENTER                           11/1/2018                  Opioid Matter              UNDETERMINED
         FOR SOBER LIVING
         ATTN: REGISTERED AGENT                                               ACCOUNT NO.:
         DANIEL MCGOWAN, ESQ.                                                 NOT AVAILABLE
         815 SUPERIOR AVENUE, SUITE 1328
         CLEVELAND, OH 44114



3.4579   JOHNSON COUNTY                                                         11/2/2018                  Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         JOHNSON COUNTY COURTHOUSE                                            ACCOUNT NO.:
         2 NORTH MAIN STREET                                                  NOT AVAILABLE
         CLEBURNE, TX 76033




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4580   JOHNSON COUNTY                                           11/2/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         JOHNSON COUNTY COURTHOUSE                             ACCOUNT NO.:
         2 NORTH MAIN STREET                                   NOT AVAILABLE
         CLEBURNE, TX 76033



3.4581   JOHNSON COUNTY                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY MAYOR, ATTORNEY AND CLERK
         JOHNSON COUNTY TENNESEE GOVERNMENT                    ACCOUNT NO.:
         222 WEST MAIN STREET                                  NOT AVAILABLE
         MOUNTAIN CITY, TN 37683



3.4582   JOHNSON COUNTY, GEORGIA                                  6/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE BOARD OF
         COMMISSIONERS, AND PRESIDENT OF THE COUNCIL OF        ACCOUNT NO.:
         TRUSTEES                                              NOT AVAILABLE
         2484 WEST ELM STREET
         WRIGHTSVILLE, GA 31096



3.4583   JOHNSON COUNTY, KANSAS                                   6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COUNTY
         COMMISSIONERS, COUNTY MANAGER,                        ACCOUNT NO.:
         111 S. CHERRY ST.                                     NOT AVAILABLE
         SUITE 3300
         OLATHE, KS 66061



3.4584   JOHNSON COUNTY, KANSAS                                   6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF COUNSEL
         111 S. CHERRY ST.                                     ACCOUNT NO.:
         SUITE 3200                                            NOT AVAILABLE
         OLATHE, KS 66061



3.4585   JOHNSON COUNTY, MISSOURI                                 6/5/2019                    Opioid Matter              UNDETERMINED
         ATTN: CLERK AND COMMISSIONER
         JOHNSON COUNTY COURTHOUSE                             ACCOUNT NO.:
         300 NORTH HOLDEN, # 205                               NOT AVAILABLE
         WARRENSBURG, MO 64039



3.4586   JOHNSON COUNTY, TN                                       1/4/2018                    Opioid Matter              UNDETERMINED
         303 SOUTH CHURCH STREET.
         MOUNTAIN CITY, TN 37683                               ACCOUNT NO.:
                                                               NOT AVAILABLE


3.4587   JOHNSON COUNTY, TN                                       1/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY MAYOR, COUNTY CLERK,
         222 WEST MAIN STREET                                  ACCOUNT NO.:
         MOUNTAIN CITY, TN 37683                               NOT AVAILABLE



3.4588   JOHNSTON MEMORIAL HOSPITAL, INC.                         7/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         TIMOTHY BELISLE, GENERAL COUNSEL                      ACCOUNT NO.:
         400 NORTH STATE OF FRANKLIN ROAD - JOHNSON CITY       NOT AVAILABLE
         MEDICAL CENTER
         JOHNSON CITY, TN 37604-6035




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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                          Claim

Litigation

3.4589   JOHNSTON MEMORIAL HOSPITAL, INC.                          7/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         16000 JOHNSTON MEMORIAL DRIVE                          ACCOUNT NO.:
         ABINGDON, VA 24211                                     NOT AVAILABLE



3.4590   JONES COUNTY                                              1/16/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER, CLERK, BOARD OF
         COMMISSIONERS                                          ACCOUNT NO.:
         2314 WYSE FORK ROAD                                    NOT AVAILABLE
         TRENTON, NC 28585



3.4591   JONES COUNTY, GEORGIA                                     4/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         PO BOX 1359                                            ACCOUNT NO.:
         GRAY, GA 31032-1359                                    NOT AVAILABLE



3.4592   JONES, MITCHELL                                           5/19/2004                     Workers                  UNDETERMINED
         NOT AVAILABLE                                                                         Compensation
                                                                ACCOUNT NO.:
                                                                 WC949790205


3.4593   JORDAN CHU                                                5/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: THOMAS R. MCCARTHY
         CONSOVOY MCCARTHY PARK PLLC                            ACCOUNT NO.:
         3033 WILSON BOULEVARD - SUITE 700                      NOT AVAILABLE
         ARLINGTON, VA 22201



3.4594   JORDAN CHU                                                5/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: ASHLEY C. KELLER
         KELLER LENKNER LLC                                     ACCOUNT NO.:
         150 NORTH RIVERSIDE PLAZA - SUITE 2750                 NOT AVAILABLE
         CHICAGO, IL 60606



3.4595   JORDAN CHU                                                5/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: TODD M. LOGAN
         EDELSON PC                                             ACCOUNT NO.:
         123 TOWNSEND STREET - SUITE 100                        NOT AVAILABLE
         SAN FRANCISCO, CA 94107



3.4596   JORDAN CHU                                                5/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: MICHAEL H. PARK
         ATTN: MICHAEL H PARK                                   ACCOUNT NO.:
         745 FIFTH AVENUE - SUITE 500                           NOT AVAILABLE
         NEW YORK, NY 10151



3.4597   JORDAN CHU                                                5/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: TRAVIS LENKNER*
         KELLER LENKNER LLC                                     ACCOUNT NO.:
         150 N. RIVERSIDE PLAZA - SUITE 2570                    NOT AVAILABLE
         CHICAGO, IL 60606




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Code                                                   And Account Number                         Claim

Litigation

3.4598   JORDAN CHU                                                5/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: SETH MEYER
         KELLER LENKNER LLC                                     ACCOUNT NO.:
         150 N. RIVERSIDE PLAZA - SUITE 2570                    NOT AVAILABLE
         CHICAGO, IL 60606



3.4599   JORDAN CHU                                                5/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: WILLIAM S. CONSOVOY
         CONSOVOY MCCARTHY PARK PLLC                            ACCOUNT NO.:
         3033 WILSON BOULEVARD - SUITE 700                      NOT AVAILABLE
         ARLINGTON, VA 22201



3.4600   JORDAN CHU                                                5/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: DAVID I. MINDELL
         EDELSON PC                                             ACCOUNT NO.:
         350 NORTH LASALLE STREET - 14TH FLOOR                  NOT AVAILABLE
         CHICAGO, IL 60654



3.4601   JORDAN CHU                                                5/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: BENJAMIN H. RICHMAN
         EDELSON PC                                             ACCOUNT NO.:
         350 NORTH LASALLE STREET - 14TH FLOOR                  NOT AVAILABLE
         CHICAGO, IL 60654



3.4602   JORDAN CHU                                                5/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: JAY EDELSON
         EDELSON P.C.                                           ACCOUNT NO.:
         350 NORTH LASALLE STREET - 14TH FLOOR                  NOT AVAILABLE
         CHICAGO, IL 60654



3.4603   JORDAN CHU                                                5/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: RAFEY SARKIS BALABANIAN
         EDELSON PC                                             ACCOUNT NO.:
         123 TOWNSEND STREET - SUITE 100                        NOT AVAILABLE
         SAN FRANCISCO, CA 94107



3.4604   JORDAN CHU                                                5/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: BRYAN KIPP WEIR
         CONSOVOY MCCARTHY PLLC                                 ACCOUNT NO.:
         1600 WILSON BOULEVARD - SUITE 700                      NOT AVAILABLE
         ARLINGTON, VA 22209



3.4605   JORGE A. MARTINEZ, PRO SE                                 5/24/2019                   Opioid Matter              UNDETERMINED
         39798-060
         ALLENWOOD U.S. PENITENTIARY                            ACCOUNT NO.:
         INMATE MAIL/ PARCELS - PO BOX 3000                     NOT AVAILABLE
         WHITE DEER, PA 17887



3.4606   JOSEPH P. LOPINTO, III, IN HIS CAPACITY AS SHERRIFF      10/25/2018                   Opioid Matter              UNDETERMINED
         ON BEHALF OF THE JEFFERSON PARISH SHERRIFF’S
         OFFICE                                                 ACCOUNT NO.:
         ATTN: SHERIFF                                          NOT AVAILABLE
         JEFFERSON PARISH SHERIFF'S OFFICE
         1233 WESTBANK EXPRESSWAY
         HARVEY, LA 70058


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Creditor's Name, Mailing Address Including Zip         Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                    And Account Number                          Claim

Litigation

3.4607   JOSEPH P. LOPINTO, III, IN HIS CAPACITY AS SHERRIFF        10/25/2018                   Opioid Matter              UNDETERMINED
         ON BEHALF OF THE JEFFERSON PARISH SHERRIFF’S
         OFFICE                                                   ACCOUNT NO.:
         JOSEPH S. YENNI BUILDING                                 NOT AVAILABLE
         1221 ELMWOOD PARK BOULEVARD
          - 10TH FLOOR
         JEFFERSON, LA 70123-2337



3.4608   JOSEPH P. LOPINTO, III, IN HIS CAPACITY AS SHERRIFF        10/25/2018                   Opioid Matter              UNDETERMINED
         ON BEHALF OF THE JEFFERSON PARISH SHERRIFF’S
         OFFICE                                                   ACCOUNT NO.:
         GENERAL GOVERNMENT BUILDING                              NOT AVAILABLE
         200 DERBIGNY STREET
          - 6TH FLOOR
         GRETNA, LA 70053-5850



3.4609   K.I.S.S. FOUNDATION INC. D/B/A LIA HOUSE                    11/1/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         PO BOX 609008                                            ACCOUNT NO.:
         CLEVELAND, OH 44109                                      NOT AVAILABLE



3.4610   K.I.S.S. FOUNDATION INC. D/B/A LIA HOUSE                    11/1/2018                   Opioid Matter              UNDETERMINED
         ATTN: EXECUTIVE DIRECTOR/AGENT, FACILITIES
         DIRECTOR                                                 ACCOUNT NO.:
         2003 DENISON AVENUE                                      NOT AVAILABLE
         CLEVELAND, OH 44109



3.4611   KALAMAZOO COUNTY, MICHIGAN                                  6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         201 WEST KALAMAZOO AVENUE                                ACCOUNT NO.:
         KALAMAZOO, MI 49007                                      NOT AVAILABLE



3.4612   KANE COUNTY, UTAH                                           4/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: CLERK
         76 NORTH MAIN STREET                                     ACCOUNT NO.:
         KANAB, UT 84741                                          NOT AVAILABLE



3.4613   KATHERINE WHITTINGTON, INDIVIDUALLY AND AS NEXT             6/20/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABIES S.W. AND A.W.
         ATTN: CELESTE BRUSTOWICZ                                 ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                     NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.4614   KATHY CHAMBLESS                                             1/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         400 WEST 19TH STREET                                     ACCOUNT NO.:
         P. O. BOX 1589                                           NOT AVAILABLE
         JASPER, AL 35501



3.4615   KAUFMAN COUNTY                                              8/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         100 WEST MULBERRY                                        ACCOUNT NO.:
         KAUFMAN, TX 75142                                        NOT AVAILABLE



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4616   KAYLA SHOCKLEY, INDIVIDUALLY AND AS NEXT FRIEND          6/18/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY M.G.L.
         ATTN: SCOTT R. BICKFORD                               ACCOUNT NO.:
         MARTZELL, BICKFORD & CENTOLA                          NOT AVAILABLE
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.4617   KAYLA SHOCKLEY, INDIVIDUALLY AND AS NEXT FRIEND          6/18/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY M.G.L.
         ATTN: KEVIN W. THOMPSON                               ACCOUNT NO.:
         THOMPSON BARNEY LAW FIRM                              NOT AVAILABLE
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311



3.4618   KAYLA SHOCKLEY, INDIVIDUALLY AND AS NEXT FRIEND          6/18/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY M.G.L.
         ATTN: DAVID R. BARNEY, JR.                            ACCOUNT NO.:
         2030 KANAWHA BOULEVARD, EAST                          NOT AVAILABLE
         CHARLESTON, WV 25311



3.4619   KAYLA SHOCKLEY, INDIVIDUALLY AND AS NEXT FRIEND          6/18/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY M.G.L.
         ATTN: KENT HARRISON ROBBINS                           ACCOUNT NO.:
         THE LAW OFFICE OF KENT HARRISON ROBBINS, P.A.         NOT AVAILABLE
         242 NORTHEAST 27TH STREET
         MIAMI, FL 33137



3.4620   KAYLA SHOCKLEY, INDIVIDUALLY AND AS NEXT FRIEND          6/18/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY M.G.L.
         ATTN: DONALD E. CREADORE                              ACCOUNT NO.:
         CREADOR LAW FIRM                                      NOT AVAILABLE
         450 SEVENTH AVENUE - SUITE 1408
         NEW YORK, NY 10123



3.4621   KAYLA SHOCKLEY, INDIVIDUALLY AND AS NEXT FRIEND          6/18/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY M.G.L.
         ATTN: CELESTE BRUSTOWICZ, STEPHEN H. WUSSOW           ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                  NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.4622   KAYLA SHOCKLEY, INDIVIDUALLY AND AS NEXT FRIEND          6/18/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY M.G.L.
         ATTN: SPENCER R. DOODY                                ACCOUNT NO.:
         MARTZELL, BICKFORD & CENTOLA                          NOT AVAILABLE
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.4623   KAYLA SHOCKLEY, INDIVIDUALLY AND AS NEXT FRIEND          6/18/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY M.G.L.
         ATTN: CELESTE BRUSTOWICZ                              ACCOUNT NO.:
         COOPER LAW FIRM                                       NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4624   KENAITZE INDIAN TRIBE                                   11/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON, EXECUTIVE DIRECTOR
         150 N. WILLOW ST.                                     ACCOUNT NO.:
         P.O. BOX 988                                          NOT AVAILABLE
         KENAI, AK 99611



3.4625   KENAITZE INDIAN TRIBE                                   11/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON, EXECUTIVE DIRECTOR
         150 N. WILLOW ST.                                     ACCOUNT NO.:
         P.O. BOX 988                                          NOT AVAILABLE
         KENAI, AK 99611



3.4626   KENEHAN, DE ANN L                                        7/20/2017                     Workers                  UNDETERMINED
         NOT AVAILABLE                                                                        Compensation
                                                               ACCOUNT NO.:
                                                                WC413D03262


3.4627   KENNEBEC COUNTY, STATE OF MAINE                          1/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS; COUNTY
         ADMINISTRATOR                                         ACCOUNT NO.:
         125 STATE STREET                                      NOT AVAILABLE
         2ND FLOOR
         AUGUSTA, ME 04330



3.4628   KENNEBEC COUNTY, STATE OF MAINE                          1/18/2019                   Opioid Matter              UNDETERMINED
         1 COURT STREET
         SUITE 101                                             ACCOUNT NO.:
         AUGUSTA, ME 04330-0000                                NOT AVAILABLE



3.4629   KENOSHA COUNTY                                          11/28/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         1010 56TH STREET                                      ACCOUNT NO.:
         KENOSHA, WI 53140                                     NOT AVAILABLE



3.4630   KENOSHA COUNTY                                          11/28/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE COUNTY BOARD
         3630 98TH PLACE                                       ACCOUNT NO.:
         PLEASANT PRAIRIE, WI 53158                            NOT AVAILABLE



3.4631   KENT COUNTY, A POLITICAL SUBDIVISION OF THE STATE        6/14/2019                   Opioid Matter              UNDETERMINED
         OF DELAWARE
         ATTN: COMMISSIONER CHAIR                              ACCOUNT NO.:
         KENT COUNTY LEVY COURT                                NOT AVAILABLE
         555 BAY ROAD
         DOVER, DE 19901



3.4632   KENTUCKY LEAGUE OF CITIES INSURANCE SERVICES             7/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT; REGISTERED AGENT
         ATTN; ROBIN T. COOPER AND REGISTERED AGENT,           ACCOUNT NO.:
         WILLIAM L. HAMILTON                                   NOT AVAILABLE
         101 EAST VINE STREET - SUITE 600
         LEXINGTON, KY 40507




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4633   KENTUCKY RIVER DISTRICT HEALTH DEPARTMENT, ON            2/6/2019                    Opioid Matter              UNDETERMINED
         BEHALF OF THEMSELVES AND ALL OTHERS SIMILARLY
         SITUATED                                              ACCOUNT NO.:
         ATTN: ROBERT E. MACLIN III                            NOT AVAILABLE
         MCBRAYER, MCGINNIS, LESLIE & KIRKLAND, PLLC
         201 E. MAIN STREET - SUITE 900
         LEXINGTON, KY 40507



3.4634   KENTUCKY RIVER DISTRICT HEALTH DEPARTMENT, ON            2/6/2019                    Opioid Matter              UNDETERMINED
         BEHALF OF THEMSELVES AND ALL OTHERS SIMILARLY
         SITUATED                                              ACCOUNT NO.:
         ATTN: A. SCOTT LOCKARD, PUBLIC HEALTH DIRECTOR        NOT AVAILABLE
         441 GORMAN HOLLOW ROAD
         HAZARD, KY 41701



3.4635   KENTUCKY RIVER DISTRICT HEALTH DEPARTMENT, ON            2/6/2019                    Opioid Matter              UNDETERMINED
         BEHALF OF THEMSELVES AND ALL OTHERS SIMILARLY
         SITUATED                                              ACCOUNT NO.:
         ATTN: JARON P. BLANDFORD                              NOT AVAILABLE
         MCBRAYER, MCGINNIS, LESLIE & KIRKLAND, PLLC
         201 E. MAIN STREET - SUITE 900
         LEXINGTON, KY 40507



3.4636   KENTUCKY RIVER DISTRICT HEALTH DEPARTMENT, ON            2/6/2019                    Opioid Matter              UNDETERMINED
         BEHALF OF THEMSELVES AND ALL OTHERS SIMILARLY
         SITUATED                                              ACCOUNT NO.:
         ATTN: LISA E. HINKLE                                  NOT AVAILABLE
         MCBRAYER, MCGINNIS, LESLIE & KIRKLAND, PLLC
         201 E. MAIN STREET - SUITE 900
         LEXINGTON, KY 40507



3.4637   KENTUCKY RIVER DISTRICT HEALTH DEPARTMENT, ON            2/6/2019                    Opioid Matter              UNDETERMINED
         BEHALF OF THEMSELVES AND ALL OTHERS SIMILARLY
         SITUATED                                              ACCOUNT NO.:
         ATTN: ROBERT FINNELL                                  NOT AVAILABLE
         THE FINNELL FIRM
         1 WEST 4TH STREET - SUITE 200
         ROME, GA 30161



3.4638   KENTUCKY RIVER DISTRICT HEALTH DEPARTMENT, ON            2/6/2019                    Opioid Matter              UNDETERMINED
         BEHALF OF THEMSELVES AND ALL OTHERS SIMILARLY
         SITUATED                                              ACCOUNT NO.:
         ATTN: DAVID J. GUARNIERI                              NOT AVAILABLE
         MCBRAYER, MCGINNIS, LESLIE & KIRKLAND, PLLC
         201 E. MAIN STREET - SUITE 900
         LEXINGTON, KY 40507



3.4639   KEVIN SCHWARTZ AND STEPHANIE SCHWARTZ                   12/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: DANIEL J. SCHNEIDER
         EDELSON PC                                            ACCOUNT NO.:
         350 NORTH LASALLE STREET - FOURTEENTH FLOOR           NOT AVAILABLE
         CHICAGO, IL 60654




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4640   KEVIN SCHWARTZ AND STEPHANIE SCHWARTZ                   12/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: BENJAMIN H. RICHMAN
         EDELSON PC                                            ACCOUNT NO.:
         350 NORTH LASALLE STREET - 14TH FLOOR                 NOT AVAILABLE
         CHICAGO, IL 60654



3.4641   KEVIN SCHWARTZ AND STEPHANIE SCHWARTZ                   12/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: DANIEL R. KARON
         KARON LLC                                             ACCOUNT NO.:
         700 WEST ST. CLAIR AVENUE - SUITE 200                 NOT AVAILABLE
         CLEVELAND, OH 44113



3.4642   KEVIN SCHWARTZ AND STEPHANIE SCHWARTZ                   12/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: JAY EDELSON
         EDELSON P.C.                                          ACCOUNT NO.:
         350 NORTH LASALLE STREET - 14TH FLOOR                 NOT AVAILABLE
         CHICAGO, IL 60654



3.4643   KEVIN WILK, INDIVIDUALLY AND ON BEHALF OF ALL           10/30/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: MICHAEL H. PARK                                 ACCOUNT NO.:
         ATTN: MICHAEL H PARK                                  NOT AVAILABLE
         745 FIFTH AVENUE - SUITE 500
         NEW YORK, NY 10151



3.4644   KEVIN WILK, INDIVIDUALLY AND ON BEHALF OF ALL           10/30/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: SETH MEYER                                      ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 N. RIVERSIDE PLAZA - SUITE 2570
         CHICAGO, IL 60606



3.4645   KEVIN WILK, INDIVIDUALLY AND ON BEHALF OF ALL           10/30/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: E.D. GASKINS, JR.                               ACCOUNT NO.:
         EVERETT GASKINS HANCOCK LLP                           NOT AVAILABLE
         THE HISTORIC BRIGGS HARDWARE BUILDING - 220
         FAYETTEVILLE STREET, SUITE 300
         RALEIGH, NC 27602



3.4646   KEVIN WILK, INDIVIDUALLY AND ON BEHALF OF ALL           10/30/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: TRAVIS LENKNER                                  ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 N. RIVERSIDE PLAZA - SUITE 2570
         CHICAGO, IL 60606



3.4647   KEVIN WILK, INDIVIDUALLY AND ON BEHALF OF ALL           10/30/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: JAMES M. HASH                                   ACCOUNT NO.:
         EVERETT GASKINS HANCOCK LLP                           NOT AVAILABLE
         THE HISTORIC BRIGGS HARDWARE BUILDING - 220
         FAYETTEVILLE STREET, SUITE 300
         RALEIGH, NC 27602




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4648   KEVIN WILK, INDIVIDUALLY AND ON BEHALF OF ALL           10/30/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: WILLIAM S. CONSOVOY                             ACCOUNT NO.:
         CONSOVOY MCCARTHY PARK PLLC                           NOT AVAILABLE
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201



3.4649   KEVIN WILK, INDIVIDUALLY AND ON BEHALF OF ALL           10/30/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: THOMAS R. MCCARTHY                              ACCOUNT NO.:
         CONSOVOY MCCARTHY PARK PLLC                           NOT AVAILABLE
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201



3.4650   KEVIN WILK, INDIVIDUALLY AND ON BEHALF OF ALL           10/30/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: ASHLEY C. KELLER                                ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 2750
         CHICAGO, IL 60606



3.4651   KIANA HUTCHINS, INDIVIDUALLY AND AS NEXT FRIEND          6/17/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY T.E.
         ATTN: STEPHEN H. WUSSOW                               ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                  NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.4652   KICKAPOO TRIBE IN KANSAS                                 6/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: TRIBAL COUNCIL CHAIRMAN AND CHIEF
         EXECUTIVE OFFICER                                     ACCOUNT NO.:
         824 111TH DRIVE                                       NOT AVAILABLE
         HORTON, KS 66439



3.4653   KICKAPOO TRIBE IN KANSAS                                 6/6/2019                    Opioid Matter              UNDETERMINED
         824 111TH DRIVE
         HORTON, KS 66439                                      ACCOUNT NO.:
                                                               NOT AVAILABLE


3.4654   KIDS FIRST OF FLORIDA, INC.                              9/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         1726 KINGSLEY AVENUE                                  ACCOUNT NO.:
         SUITE #2                                              NOT AVAILABLE
         JACKSONVILLE, FL 32073



3.4655   KIDS FIRST OF FLORIDA, INC.                              9/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER, AND CHAIRPERSON
         1726 KINGSLEY AVENUE                                  ACCOUNT NO.:
         SUITE 2                                               NOT AVAILABLE
         ORANGE PARK, FL 32073




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4656   KIMBERLY BRAND, INDIVIDUALLY AND ON BEHALF OF            8/21/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: ROBERT L KINSMAN                                ACCOUNT NO.:
         KRAUSE & KINSMAN LLC                                  NOT AVAILABLE
         4717 GRAND AVE - SUITE 250
         KANSAS CITY, MO 64112



3.4657   KIMBERLY BRAND, INDIVIDUALLY AND ON BEHALF OF            8/21/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED V. PURDUE PHARMA
         L.P., ET AL.                                          ACCOUNT NO.:
         ATTN: WILLIAM S. CONSOVOY                             NOT AVAILABLE
         CONSOVOY MCCARTHY PLLC
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201



3.4658   KIMBERLY BRAND, INDIVIDUALLY AND ON BEHALF OF            8/21/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED V. PURDUE PHARMA
         L.P., ET AL.                                          ACCOUNT NO.:
         ATTN: MICHAEL H. PARK                                 NOT AVAILABLE
         ATTN: MICHAEL H PARK
         745 FIFTH AVENUE - SUITE 500
         NEW YORK, NY 10151



3.4659   KIMBERLY BRAND, INDIVIDUALLY AND ON BEHALF OF            8/21/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED V. PURDUE PHARMA
         L.P., ET AL.                                          ACCOUNT NO.:
         ATTN: ASHLEY C. KELLER                                NOT AVAILABLE
         KELLER LENKNER LLC
         150 NORTH RIVERSIDE PLAZA - SUITE 2750
         CHICAGO, IL 60606



3.4660   KIMBERLY BRAND, INDIVIDUALLY AND ON BEHALF OF            8/21/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED V. PURDUE PHARMA
         L.P., ET AL.                                          ACCOUNT NO.:
         ATTN: THOMAS R. MCCARTHY                              NOT AVAILABLE
         CONSOVOY MCCARTHY PLLC
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201



3.4661   KIMBERLY BRAND, INDIVIDUALLY AND ON BEHALF OF            8/21/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED V. PURDUE PHARMA
         L.P., ET AL.                                          ACCOUNT NO.:
         ATTN: TRAVIS LENKNER                                  NOT AVAILABLE
         KELLER LENKNER LLC
         150 N. RIVERSIDE PLAZA - SUITE 2570
         CHICAGO, IL 60606



3.4662   KIMBERLY BRAND, INDIVIDUALLY AND ON BEHALF OF            8/21/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED V. PURDUE PHARMA
         L.P., ET AL.                                          ACCOUNT NO.:
         ATTN: SETH MEYER                                      NOT AVAILABLE
         KELLER LENKNER LLC
         150 N. RIVERSIDE PLAZA - SUITE 2570
         CHICAGO, IL 60606




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4663   KIMBERLY BRAND, INDIVIDUALLY AND ON BEHALF OF            8/21/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED V. PURDUE PHARMA
         L.P., ET AL.                                          ACCOUNT NO.:
         ATTN: ADAM W. KRAUSE                                  NOT AVAILABLE
         4717 GRAND AVE.,
         SUITE 250
         KANSAS CITY, MO 64112



3.4664   KIMBERLY MARTIN, INDIVIDUALLY AND AS NEXT FRIEND         6/17/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY A.M.
         ATTN: STEPHEN H. WUSSOW                               ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                  NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.4665   KING COUNTY                                              1/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY AUDITOR
         KING COUNTY COURTHOUSE                                ACCOUNT NO.:
         516 THIRD AVENUE, ROOM W-1033                         NOT AVAILABLE
         SEATTLE, WA 98104



3.4666   KINGMAN HOSPITAL, INC.                                   6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF DIRECTORS
         1435 FRANKLIN DRIVE                                   ACCOUNT NO.:
         KINGMAN, AZ 86401                                     NOT AVAILABLE



3.4667   KINGMAN HOSPITAL, INC.                                   6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         OFFICE OF THE SECRETARY OF STATE                      ACCOUNT NO.:
         1700 WEST WASHINGTON STREET - FLOOR 7                 NOT AVAILABLE
         PHOENIX, AZ 85007-2808



3.4668   KINGMAN HOSPITAL, INC.                                   6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         1212 EAST ANDY DEVINE                                 ACCOUNT NO.:
         #101                                                  NOT AVAILABLE
         KINGMAN, AZ 86401



3.4669   KINGMAN HOSPITAL, INC.                                   6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BD OF DIRECTORS AND CEO
         AND PARTNERS, OFFICERS, AND AGENTS                    ACCOUNT NO.:
         KINGMAN REGIONAL MEDICAL CENTER                       NOT AVAILABLE
         3269 STOCKTON HILL ROAD
         KINGMAN, AZ 86409



3.4670   KINGMAN HOSPITAL, INC.                                   6/18/2019                   Opioid Matter              UNDETERMINED
         RICK YELTON
         BURNS CHAREST, LLP                                    ACCOUNT NO.:
         365 CANEL STREET - SUITE 1170                         NOT AVAILABLE
         NEW ORLEANS, LA 70130




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4671   KINGMAN HOSPITAL, INC.                                   6/18/2019                   Opioid Matter              UNDETERMINED
         KOREY A. NELSON
         BURNS CHAREST, LLP                                    ACCOUNT NO.:
         365 CANEL STREET - SUITE 1170                         NOT AVAILABLE
         NEW ORLEANS, LA 70130



3.4672   KINGMAN HOSPITAL, INC.                                   6/18/2019                   Opioid Matter              UNDETERMINED
         STERLING STARNS
         BARRETT LAW GROUP                                     ACCOUNT NO.:
         P.O. BOX 927 - 404 COURT SQUARE NORTH                 NOT AVAILABLE
         LEXINGTON, MS 39095



3.4673   KINGMAN HOSPITAL, INC.                                   6/18/2019                   Opioid Matter              UNDETERMINED
         GERALD M. ABDALLA, JR.
         ABDALLA LAW, PLLC                                     ACCOUNT NO.:
         602 STEED ROAD - SUITE 200                            NOT AVAILABLE
         RIDGELAND, MS 36602



3.4674   KINGMAN HOSPITAL, INC.                                   6/18/2019                   Opioid Matter              UNDETERMINED
         WARREN BURNS
         BURNS CHAREST, LLP                                    ACCOUNT NO.:
         900 JACKSON STREET - SUITE 500                        NOT AVAILABLE
         DALLAS, TX 75202



3.4675   KINGMAN HOSPITAL, INC.                                   6/18/2019                   Opioid Matter              UNDETERMINED
         JOHN W. ("DON") BARRETT
         BARRETT LAW GROUP                                     ACCOUNT NO.:
         P.O. BOX 927 - 404 COURT SQUARE NORTH                 NOT AVAILABLE
         LEXINGTON, MS 39095



3.4676   KINGMAN HOSPITAL, INC.                                   6/18/2019                   Opioid Matter              UNDETERMINED
         DAVID L. BLACK
         CUNEO GILBERT & LADUCA, LLP                           ACCOUNT NO.:
         4725 WISCONSIN AVENUE, NORTHWEST - SUITE 200          NOT AVAILABLE
         WASHINGTON, DC 20016



3.4677   KINGMAN HOSPITAL, INC.                                   6/18/2019                   Opioid Matter              UNDETERMINED
         EVELYN LI
         CUNEO GILBERT & LADUCA, LLP                           ACCOUNT NO.:
         4725 WISCONSIN AVENUE, NORTHWEST - SUITE 200          NOT AVAILABLE
         WASHINGTON, DC 20016



3.4678   KINGMAN HOSPITAL, INC.                                   6/18/2019                   Opioid Matter              UNDETERMINED
         EVELYN LI
         CUNEO GILBERT & LADUCA, LLP                           ACCOUNT NO.:
         4725 WISCONSIN AVENUE, NORTHWEST - SUITE 200          NOT AVAILABLE
         WASHINGTON, DC 20016



3.4679   KINGMAN HOSPITAL, INC.                                   6/18/2019                   Opioid Matter              UNDETERMINED
         JOHN W. ("DON") BARRETT
         BARRETT LAW GROUP                                     ACCOUNT NO.:
         P.O. BOX 927 - 404 COURT SQUARE NORTH                 NOT AVAILABLE
         LEXINGTON, MS 39095




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4680   KINGMAN HOSPITAL, INC.                                   6/18/2019                   Opioid Matter              UNDETERMINED
         JENNIFER E. KELLY
         CUNEO GILBERT & LADUCA, LLP                           ACCOUNT NO.:
         4725 WISCONSIN AVENUE, NORTHWEST - SUITE 200          NOT AVAILABLE
         WASHINGTON, DC 20016



3.4681   KINGMAN HOSPITAL, INC.                                   6/18/2019                   Opioid Matter              UNDETERMINED
         MARK H. DUBESTER
         CUNEO GILBERT & LADUCA, LLP                           ACCOUNT NO.:
         4725 WISCONSIN AVENUE, NORTHWEST - SUITE 200          NOT AVAILABLE
         WASHINGTON, DC 20016



3.4682   KINGMAN HOSPITAL, INC.                                   6/18/2019                   Opioid Matter              UNDETERMINED
         MONICA MILLER
         CUNEO GILBERT & LADUCA, LLP                           ACCOUNT NO.:
         4725 WISCONSIN AVENUE, NORTHWEST - SUITE 200          NOT AVAILABLE
         WASHINGTON, DC 20016



3.4683   KINGMAN HOSPITAL, INC.                                   6/18/2019                   Opioid Matter              UNDETERMINED
         JONATHAN W. CUNEO
         CUNEO GILBERT & LADUCA, LLP                           ACCOUNT NO.:
         4725 WISCONSIN AVENUE, NORTHWEST - SUITE 200          NOT AVAILABLE
         WASHINGTON, DC 20016



3.4684   KINGMAN HOSPITAL, INC.                                   6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: BRYAN WHITNEY
         WHITNEY & WHITNEY, PLLC                               ACCOUNT NO.:
         111 NORTH 4TH STREET                                  NOT AVAILABLE
         KINGMAN, AZ 86401



3.4685   KINGMAN HOSPITAL, INC.                                   6/18/2019                   Opioid Matter              UNDETERMINED
         LYDIA A. WRIGHT
         BURNS CHAREST, LLP                                    ACCOUNT NO.:
         365 CANEL STREET - SUITE 1170                         NOT AVAILABLE
         NEW ORLEANS, LA 70130



3.4686   KINGMAN HOSPITAL, INC.                                   6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: G. ROBERT BLAKEY
         WILLIAM J. & DOROTHY T. O'NEILL PROFESSOR OF LAW      ACCOUNT NO.:
         EMERITUS NOTRE DAME LAW SCHOOL                        NOT AVAILABLE
         7002 EAST SAN MIGUEL AVENUE
         PARADISE VALLEY, AZ 85253



3.4687   KINGSTON TOWNSHIP, PENNSYLVANIA                          6/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: TOWNSHIP MANAGER AND CHAIRMAN AND
         SECRETARY OF THE BOARD OF SUPERVISORS                 ACCOUNT NO.:
         180 EAST CENTER STREET                                NOT AVAILABLE
         SHAVERTOWN, PA 18708-1514



3.4688   KINLOCH FIRE PROTECTION DISTRICT OF ST. LOUIS            6/14/2019                   Opioid Matter              UNDETERMINED
         COUNTY, MISSOURI
         ATTN: CHIEF EXECUTIVE OFFICER                         ACCOUNT NO.:
         5684 MARTIN LUTHER KING BOULEVARD                     NOT AVAILABLE
         KINLOCH, MO 63140



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4689   KITSAP COUNTY                                            7/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY AUDITOR
         KITSAP COUNTY AUDITOR                                 ACCOUNT NO.:
         KITSAP COUNTY AUDITOR 619 DIVISION STREET 3RD         NOT AVAILABLE
         FLOOR
         ORCHARD, WA 98366



3.4690   KITTITAS COUNTY                                          8/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY AUDITOR
         KITTITAS COUNTY AUDITOR                               ACCOUNT NO.:
         205 W 5TH AVE SUITE 105                               NOT AVAILABLE
         ELLENSBURG, WA 98926



3.4691   KJELLSI MEINECKE, INDIVIDUALLY AND AS NEXT FRIEND        6/17/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY J.B., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED          ACCOUNT NO.:
         ATTN: CELESTE BRUSTOWICZ                              NOT AVAILABLE
         COOPER LAW FIRM, LLC
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.4692   KNOX COUNTY                                             UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         300 MAIN STREET                                       ACCOUNT NO.:
         KNOXVILLE, TN 37902                                   NOT AVAILABLE



3.4693   KNOX COUNTY                                             UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY MAYOR
         400 MAIN STREET                                       ACCOUNT NO.:
         SUITE 615                                             NOT AVAILABLE
         KNOXVILLE, TN 37902



3.4694   KNOX COUNTY BOARD OF COUNTY COMMISSIONERS                5/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: BOARD OF COUNTY COMMISSIONERS'
         PRESIDENT, COUNTY ADMINISTRATOR                       ACCOUNT NO.:
         117 EAST HIGH STREET                                  NOT AVAILABLE
         MOUNT VERNON, OH 43050



3.4695   KNOX COUNTY, STATE OF MAINE, INDIVIDUALLY, AND ON        5/13/2019                   Opioid Matter              UNDETERMINED
         BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: COMMISSIONERS                                   ACCOUNT NO.:
         KNOX COUNTY COURTHOUSE                                NOT AVAILABLE
         62 UNION STREET
         ROCKLAND, ME 04841



3.4696   KNOX COUNTY, STATE OF MAINE, INDIVIDUALLY, AND ON        5/13/2019                   Opioid Matter              UNDETERMINED
         BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: COUNTY TREASURER                                ACCOUNT NO.:
         KNOX COUNTY FINANCE OFFICE                            NOT AVAILABLE
         62 UNION STREET
         ROCKLAND, ME 04841




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Creditor's Name, Mailing Address Including Zip                Date Claim Was Incurred    C U      D    Basis For      Offset   Amount of Claim
Code                                                           And Account Number                        Claim

Litigation

3.4697   KODIAK AREA NATIVE ASSOCIATION                                  10/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT AND CHIEF EXECUTIVE OFFICER
         3449 REZANOF DRIVE EAST                                       ACCOUNT NO.:
         KODIAK, AK 99615                                              NOT AVAILABLE



3.4698   KOI NATION OF NORTHERN CALIFORNIA                                1/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: TRIBAL COUNCIL CHAIRMAN AND CHIEF
         EXECUTIVE OFFICER                                             ACCOUNT NO.:
         GOVERNMENT BUILDING                                           NOT AVAILABLE
         705 COLLEGE AVENUE
         SANTA ROSA, CA 95404



3.4699   KOOTENAI TRIBE OF IDAHO                                         10/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, ADMINISTRATIVE DIRECTOR
         PO BOX 1269                                                   ACCOUNT NO.:
         BONNERS FERRY, ID 83805                                       NOT AVAILABLE



3.4700   KRIS KOECHLEY, ADMINISTRATOR OF THE ESTATE OF                    9/17/2018                   Opioid Matter              UNDETERMINED
         JAMES P. KOECHLEY, DECEASED
         ATTN: WESLEY D. MERILLAT                                      ACCOUNT NO.:
         LAW OFFICE OF CHARLES E. BOYK                                 NOT AVAILABLE
         SUITE 1200 - 405 MADISON AVENUE
         TOLEDO, OH 43604



3.4701   KRIS KOECHLEY, ADMINISTRATOR OF THE ESTATE OF                    9/17/2018                   Opioid Matter              UNDETERMINED
         JAMES P. KOECHLEY, DECEASED
         ATTN: KRIS KOECHLEY                                           ACCOUNT NO.:
         2231 EASTBROOK DRIVE                                          NOT AVAILABLE
         TOLEDO, OH 43613-3966



3.4702   KRIS KOECHLEY, ADMINISTRATOR OF THE ESTATE OF                    9/17/2018                   Opioid Matter              UNDETERMINED
         JAMES P. KOECHLEY, DECEASED
         ATTN: CHARLES E. BOYK                                         ACCOUNT NO.:
         LAW OFFICE OF CHARLES E. BOYK                                 NOT AVAILABLE
         SUITE 1200 - 405 MADISION AVENUE
         TOLEDO, OH 43604



3.4703   Krista Gauthier, Angela Sawyers, and Jessica Springborn,         6/15/2019                   Opioid Matter              UNDETERMINED
         individually and as next friends and guardians of Babies
         D.L.D., M.A.S., and N.S., on behalf of themselves and all     ACCOUNT NO.:
         others similarly situated                                     NOT AVAILABLE
         Attn: Celeste Brustowicz
         Cooper Law Firm, LLC
         1525 Religious Street
         New Orleans, LA 70130



3.4704   KRISTIE MILNER                                                   2/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         123 EAST JEFFERSON STREET                                     ACCOUNT NO.:
         P.O. BOX 959                                                  NOT AVAILABLE
         MARION, AL 36756




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4705   KRYSTLE KIRK, INDIVIDUALLY AND AS NEXT FRIEND AND        6/17/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY B.K.
         ATTN: SPENCER R. DOODY                                ACCOUNT NO.:
         MARTZELL, BICKFORD & CENTOLA                          NOT AVAILABLE
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.4706   KRYSTLE KIRK, INDIVIDUALLY AND AS NEXT FRIEND AND        6/17/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY B.K.
         ATTN: DAVID R. BARNEY, JR.                            ACCOUNT NO.:
         THOMPSON BARNEY LAW FIRM                              NOT AVAILABLE
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311



3.4707   KRYSTLE KIRK, INDIVIDUALLY AND AS NEXT FRIEND AND        6/17/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY B.K.
         ATTN: KEVIN W. THOMPSON, DAVID R. BARNEY, JR.         ACCOUNT NO.:
         THOMPSON BARNEY LAW FIRM                              NOT AVAILABLE
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311



3.4708   KRYSTLE KIRK, INDIVIDUALLY AND AS NEXT FRIEND AND        6/17/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY B.K.
         ATTN: SCOTT R. RICHARD                                ACCOUNT NO.:
         MARTZELL, BICKFORD & CENTOLA                          NOT AVAILABLE
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.4709   KRYSTLE KIRK, INDIVIDUALLY AND AS NEXT FRIEND AND        6/17/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY B.K.
         ATTN: KENT HARRISON ROBBINS                           ACCOUNT NO.:
         THE LAW OFFICE OF KENT HARRISON ROBBINS, P.A.         NOT AVAILABLE
         242 NORTHEAST 27TH STREET
         MIAMI, FL 33137



3.4710   KRYSTLE KIRK, INDIVIDUALLY AND AS NEXT FRIEND AND        6/17/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY B.K.
         ATTN: CELESTE BRUSTOWICZ, STEPHEN H. WUSSOW           ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                  NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.4711   KRYSTLE KIRK, INDIVIDUALLY AND AS NEXT FRIEND AND        6/17/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY B.K.
         ATTN: STEPHEN WUSSOW                                  ACCOUNT NO.:
         COOPER LAW FIRM                                       NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.4712   KRYSTLE KIRK, INDIVIDUALLY AND AS NEXT FRIEND AND        6/17/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY B.K.
         ATTN: DONALD E. CREADORE                              ACCOUNT NO.:
         CREADOR LAW FIRM                                      NOT AVAILABLE
         450 SEVENTH AVENUE - SUITE 1408
         NEW YORK, NY 10123




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Code                                                 And Account Number                          Claim

Litigation

3.4713   LA CROSSE COUNTY                                         3/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE COUNTY BOARD & COUNTY CLERK
         ADMINISTRATIVE CENTER                                 ACCOUNT NO.:
         212 6TH STREET NORTH                                  NOT AVAILABLE
         LA CROSSE, WI 54601



3.4714   LA POSTA BAND OF DIEGUENO MISSION INDIANS OF THE         6/6/2019                    Opioid Matter              UNDETERMINED
         LA POSTA INDIAN RESERVATION
         ATTN: CHAIR WOMAN AND CHIEF EXECUTIVE OFFICER         ACCOUNT NO.:
         8 CRESTWOOD ROAD                                      NOT AVAILABLE
         BOULEVARD, CA 91905



3.4715   LABORERS 17 HEALTH BENEFIT FUND                         12/18/2017                   Opioid Matter              UNDETERMINED
         ATTN: BUSINESS MANAGER
         451A LITTLE BRITAIN ROAD                              ACCOUNT NO.:
         NEWBURGH, NY 12550                                    NOT AVAILABLE



3.4716   LABORERS 17 HEALTH BENEFIT FUND                         12/18/2017                   Opioid Matter              UNDETERMINED
         ATTN: FUND ADMINISTRATOR
         451B LITTLE BRITAIN ROAD                              ACCOUNT NO.:
         NEWBURGH, NY 12550                                    NOT AVAILABLE



3.4717   LABORERS LOCAL 1298 OF NASSAU & SUFFOLK                  8/30/2019                   Opioid Matter              UNDETERMINED
         COUNTIES WELFARE FUND
         ATTN: PRESIDENT, VICE PRESIDENT, AND SECRETARY        ACCOUNT NO.:
         TREASURER                                             NOT AVAILABLE
         LABORERS LOCAL 1298
         681 FULTON AVENUE - MAIN FLOOR
         HEMPSTEAD, NY 11550



3.4718   LABORERS LOCAL 235 WELFARE FUND                          8/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT, VICE-PRESIDENT, SECRETARY &
         TREASURER                                             ACCOUNT NO.:
         LABORERS' LOCAL 235                                   NOT AVAILABLE
         41 KNOLLWOOD ROAD
         ELSMFORD, NY 10523



3.4719   LAC COURTE OREILLES BAND OF LAKE SUPERIOR                3/16/2018                   Opioid Matter              UNDETERMINED
         CHIPPEWA INDIANS
         ATTN: CHAIRMAN OF THE TRIBAL GOVERNING BOARD          ACCOUNT NO.:
         13394 WEST TREPANIA ROAD                              NOT AVAILABLE
         HAYWARD, WI 54843



3.4720   LAC DU FLAMBEAU BAND OF CHIPPEWA INDIANS                 3/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF TRIBAL ADMINISTRATION
         418 LITTLE PINES                                      ACCOUNT NO.:
         LAC DU FLAMBEAU, WI 54538                             NOT AVAILABLE



3.4721   LAC VIEUX DESERT BAND OF LAKE SUPERIOR                  11/14/2018                   Opioid Matter              UNDETERMINED
         CHIPPEWA INDIANS
         ATTN: TRIBAL CHAIRMAN                                 ACCOUNT NO.:
         N4698 US 45                                           NOT AVAILABLE
         WATERSMEET, MI 49969




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Code                                                   And Account Number                          Claim

Litigation

3.4722   LAC VIEUX DESERT BAND OF LAKE SUPERIOR                    11/14/2018                   Opioid Matter              UNDETERMINED
         CHIPPEWA INDIANS
         JOHN C. MCGESHICK                                       ACCOUNT NO.:
         CHOATE RD.                                              NOT AVAILABLE
          - POB 446
         WATERSMEET, MI 49969



3.4723   LACKAWANNA COUNTY, PENNSYLVANIA                            9/25/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER, CHAIRMAN
         LACKAWANNA COUNTY GOVERNMENT CENTER                     ACCOUNT NO.:
         123 WYOMING AVENUE                                      NOT AVAILABLE
         SCRANTON, PA 18503



3.4724   LACKAWANNA COUNTY, PENNSYLVANIA                            9/25/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         123 WYOMING AVENUE                                      ACCOUNT NO.:
         SUITE 218                                               NOT AVAILABLE
         SCRANTON, PA 18503



3.4725   LAFAYETTE COUNTY                                           3/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY BOARD CHAIRMAN
         C/O JACK SAUER                                          ACCOUNT NO.:
         11165 BURKE ROAD                                        NOT AVAILABLE
         DARLINGTON, WI 53530



3.4726   LAFAYETTE COUNTY                                           3/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK; CORPORATION COUNSEL
         626 MAIN STREET, ROOM 204                               ACCOUNT NO.:
         DARLINGTON, WI 53530                                    NOT AVAILABLE



3.4727   LAFAYETTE COUNTY, MISSISSIPPI                              5/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF SUPERVISORS
         AND CHANCERY CLERK                                      ACCOUNT NO.:
         300 NORTH LAMAR BOULEVARD                               NOT AVAILABLE
         P. O. BOX 1240
         OXFORD, MS 38655



3.4728   LAFAYETTE GENERAL HEALTH SYSTEM, INC.                      9/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: VICE-PRESIDENT
         BEN DOGA, M.D.                                          ACCOUNT NO.:
         427 HEYMANN BOULEVARD                                   NOT AVAILABLE
         LAFAYETTE, LA 70503



3.4729   LAFAYETTE GENERAL HEALTH SYSTEM, INC.                      9/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY
         MARTIN BECH                                             ACCOUNT NO.:
         900 EAST ST. MARY BOULEVARD - SUITE 109                 NOT AVAILABLE
         LAFAYETTE, LA 70503



3.4730   LAFAYETTE GENERAL HEALTH SYSTEM, INC.                      9/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         FLO MEADOWS                                             ACCOUNT NO.:
         800 EAST ST. MARY BOULEVARD                             NOT AVAILABLE
         LAFAYETTE, LA 70503



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Schedule E/F: Creditors Who Have Unsecured Claims
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Code                                                 And Account Number                          Claim

Litigation

3.4731   LAFAYETTE GENERAL HEALTH SYSTEM, INC.                    9/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         C/O DAVID L. CALLECOD                                 ACCOUNT NO.:
         920 WEST PINHOOK ROAD - THIRD FLOOR                   NOT AVAILABLE
         LAFAYETTE, LA 70503



3.4732   LAFAYETTE GENERAL HEALTH SYSTEM, INC.                    9/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: DIRECTOR
         DAVID WILSON                                          ACCOUNT NO.:
         6203 HIGHWAY 90W                                      NOT AVAILABLE
         NEW IBERIA, LA 70560



3.4733   LAFAYETTE GENERAL HEALTH SYSTEM, INC.                    9/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT
         920 WEST PINHOOK ROAD                                 ACCOUNT NO.:
         LAFAYETTE, LA 70503                                   NOT AVAILABLE



3.4734   LAFAYETTE GENERAL HEALTH SYSTEM, INC.                    9/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: DIRECTOR
         CLAY M. ALLEN                                         ACCOUNT NO.:
         2000 KALISTE SALOOM ROAD - SUITE 400                  NOT AVAILABLE
         LAFAYETTE, LA 70506



3.4735   LAKE COUNTY                                              1/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: CURTIS T. HILL, JR.
         STATE OF INDIANA ATTORNEY GENERAL                     ACCOUNT NO.:
         INDIANA GOVERNMENT CENTER SOUTH - 5TH FLOOR -         NOT AVAILABLE
         302 WEST WASHINGTON STREET
         INDIANAPOLIS, IN 46204



3.4736   LAKE COUNTY                                              1/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS
         BUILDING 'A', 3RD FLOOR                               ACCOUNT NO.:
         2293 NORTH MAIN STREET                                NOT AVAILABLE
         CROWN POINT, IN 46307



3.4737   LAKE COUNTY CORONER DR. HOWARD COOPER                   12/21/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CORONER
         26 NORTH MARTIN LUTHER KING JR. AVENUE                ACCOUNT NO.:
         WAUKEGAN, IL 60085-4351                               NOT AVAILABLE



3.4738   LAKE COUNTY CORONER DR. HOWARD COOPER                   12/21/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         18 NORTH COUNTY STREET                                ACCOUNT NO.:
         ROOM 101                                              NOT AVAILABLE
         WAUKEGAN, IL 60085



3.4739   LAKE COUNTY SHERRIFF MARK C. CURRAN                     12/21/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY SHERRIFF
         LAKE COUNTY SHERIFF'S OFFICE                          ACCOUNT NO.:
         25 SOUTH MARTIN LUTHER KING JR. AVENUE                NOT AVAILABLE
         WAUKEGAN, IL 60085




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4740   LAKE COUNTY SHERRIFF MARK C. CURRAN                     12/21/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         18 NORTH COUNTY STREET                                ACCOUNT NO.:
         ROOM 101                                              NOT AVAILABLE
         WAUKEGAN, IL 60085



3.4741   LAKE COUNTY, FLORIDA                                     6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER
         315 W. MAIN ST., SUITE 308                            ACCOUNT NO.:
         TAVARES, FL 32778                                     NOT AVAILABLE



3.4742   LAKESHORE HOME HEALTH CARE, LLC                          6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: MANAGER AND MEMBER
         1724 HERMAN DUPUIS ROAD                               ACCOUNT NO.:
         BREAUX BRIDGE, LA 70517                               NOT AVAILABLE



3.4743   LAKESHORE HOME HEALTH CARE, LLC                          6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         10615 JEFFERSON HIGHWAY                               ACCOUNT NO.:
         BATON ROUGE, LA 70809                                 NOT AVAILABLE



3.4744   LAKEVIEW CENTER, INC.                                    4/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         CORPORATION SERVICE COMPANY                           ACCOUNT NO.:
         1201 HAYS STREET                                      NOT AVAILABLE
         TALLAHASSEE, FL 32301-2525



3.4745   LAKEVIEW CENTER, INC.                                    4/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT/CEO
         1221 WEST LAKEVIEW AVENUE                             ACCOUNT NO.:
         PENSACOLA, FL 32501                                   NOT AVAILABLE



3.4746   LAMAR COUNTY, ALABAMA                                    2/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: CIRCUIT COURT CLERK
         330 1ST STREET NE                                     ACCOUNT NO.:
         PO BOX 434                                            NOT AVAILABLE
         VERNON, AL 35592



3.4747   LAMAR COUNTY, ALABAMA                                    2/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.4748   LAMAR COUNTY, ALABAMA                                    2/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN BOARD OF COMMISSIONERS
         44690 HIGHWAY 17                                      ACCOUNT NO.:
         PO BOX 338                                            NOT AVAILABLE
         VERNON, AL 35592




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4749   LAMOURE COUNTY                                           8/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: LAMOURE COUNTY COMMISSIONERS
         PO BOX 128                                            ACCOUNT NO.:
         202 4TH AVENUE NORTHEAST                              NOT AVAILABLE
         LAMOURE, ND 58458



3.4750   LANGLADE COUNTY                                          11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK; CORPORATION COUNSEL
         COUNTY COURTHOUSE                                     ACCOUNT NO.:
         800 CLERMONT STREET                                   NOT AVAILABLE
         ANTIGO, WI 54409



3.4751   LANGLADE COUNTY                                          11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF COUNTY BOARD
         C/O DAVID J. SOLIN                                    ACCOUNT NO.:
         NORTH 6411 VACHA LANE                                 NOT AVAILABLE
         DEERBROOK, WI 54424



3.4752   LANIER COUNTY, GEORGIA                                   8/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF COUNTY COMMISSIONERS
         56 W, MAIN STREET                                     ACCOUNT NO.:
         SUITE 9                                               NOT AVAILABLE
         LAKELAND, GA 31635



3.4753   LANTERN                                                  11/1/2018                   Opioid Matter              UNDETERMINED
         ATTN: EXECUTIVE DIRECTOR
         12160 TRISKETT ROAD                                   ACCOUNT NO.:
         CLEVELAND, OH 44111                                   NOT AVAILABLE



3.4754   LAPORTE COUNTY                                           3/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE COUNTY COMMISSION
         555 MICHIGAN AVENUE                                   ACCOUNT NO.:
         SUITE 202                                             NOT AVAILABLE
         LAPORTE, IN 46350



3.4755   LAPORTE COUNTY                                           3/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: CURTIS T. HILL, JR.
         STATE OF INDIANA ATTORNEY GENERAL                     ACCOUNT NO.:
         INDIANA GOVERNMENT CENTER SOUTH - 5TH FLOOR -         NOT AVAILABLE
         302 WEST WASHINGTON STREET
         INDIANAPOLIS, IN 46204



3.4756   LAREDO TEXAS HOSPITAL COMPANY, L.P. D/B/A LAREDO        UNKNOWN                      Opioid Matter              UNDETERMINED
         MEDICAL CENTER
         ATTN: REGISTERED AGENT                                ACCOUNT NO.:
         CORPORATION SERVICE COMPANY                           NOT AVAILABLE
         211 EAST 7TH STREET - SUITE 620
         AUSTIN, TX 78701



3.4757   LAREDO TEXAS HOSPITAL COMPANY, L.P. D/B/A LAREDO        UNKNOWN                      Opioid Matter              UNDETERMINED
         MEDICAL CENTER
         ATTN: CEO, PARTNER, OR MANAGER                        ACCOUNT NO.:
         1700 EAST SAUNDERS                                    NOT AVAILABLE
         LAREDO, TX 78701



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4758   LARRY H. DEAN, IN HIS OFFICIAL CAPACITY AS THE           3/22/2019                   Opioid Matter              UNDETERMINED
         SHERIFF OF LAURENS COUNTY, GEORGIA
         LAURENS COUNTY BOARD OF COMMISSIONERS                 ACCOUNT NO.:
         117 E JACKSON STREET                                  NOT AVAILABLE
         DUBLIN, GA 31040



3.4759   LARRY H. DEAN, IN HIS OFFICIAL CAPACITY AS THE           3/22/2019                   Opioid Matter              UNDETERMINED
         SHERIFF OF LAURENS COUNTY, GEORGIA
         ATTN: SHERIFF OF LAURENS COUNTY, GEORGIA              ACCOUNT NO.:
         LAURENS COUNTY SHERIFF'S OFFICE                       NOT AVAILABLE
         511 SOUTHERN PINES ROAD
         DUBLIN, GA 31021



3.4760   LAS ANIMAS COUNTY                                        5/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK AND RECORDER
         200 EAST 1ST STREET                                   ACCOUNT NO.:
         ROOM 205                                              NOT AVAILABLE
         TRINIDAD, CO 81082



3.4761   LAS ANIMAS COUNTY                                        5/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS
         200 EAST 1ST STREET                                   ACCOUNT NO.:
         TRINIDAD, CO 81082                                    NOT AVAILABLE



3.4762   LASALLE PARISH                                           10/2/2018                   Opioid Matter              UNDETERMINED
         LASALLE PARISH COURTHOUSE
         COURTHOUSE STREET                                     ACCOUNT NO.:
         JENA, LA 71342                                        NOT AVAILABLE



3.4763   LASALLE PARISH                                           10/2/2018                   Opioid Matter              UNDETERMINED
         1050 COURTHOUSE STREET
         PO BOX 1316                                           ACCOUNT NO.:
         JENA, LA 71342                                        NOT AVAILABLE



3.4764   LASALLE PARISH                                           10/2/2018                   Opioid Matter              UNDETERMINED
         ATTN: PARISH PRESIDENT
         P. O. BOX 1288                                        ACCOUNT NO.:
         JENA, LA 71342                                        NOT AVAILABLE



3.4765   LATAH COUNTY                                             8/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: COMMISSIONERS OF LATAH COUNTY
         LATAH COUNTY COURTHOUSE                               ACCOUNT NO.:
         522 SOUTH ADMAS STREET - ROOM 3B                      NOT AVAILABLE
         MOSCOW, ID 83843



3.4766   LAUDERDALE COUNTY, TN                                   11/19/2018                   Opioid Matter              UNDETERMINED
         109 NORTH MAIN STREET
         RIPLEY, TN 38063-1307                                 ACCOUNT NO.:
                                                               NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.4767   LAUDERDALE COUNTY, TN                                   11/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MAYOR, COUNTY COURT CLERK
         LAUDERDALE COUNTY COURTHOUSE                          ACCOUNT NO.:
         100 COURT SQUARE                                      NOT AVAILABLE
         RIPLEY, TN 38063



3.4768   LAURENS COUNTY, GEORGIA                                  7/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF COUNTY COMMISSIONERS
         PO BOX 2011                                           ACCOUNT NO.:
         117 EAST JACKSON STREET                               NOT AVAILABLE
         DUBLIN, GA 31040



3.4769   LAURENS COUNTY, SOUTH CAROLINA                           8/14/2018                   Opioid Matter              UNDETERMINED
         MARGHRETTA HAGOOD SHISKO
         178 WEST MAIN STREET                                  ACCOUNT NO.:
         P.O. BOX 3547                                         NOT AVAILABLE
         SPARTANBURG, SC 29306



3.4770   LAURENS COUNTY, SOUTH CAROLINA                           8/14/2018                   Opioid Matter              UNDETERMINED
         JOHN BELTON WHITE JR.
         178 WEST MAIN STREET                                  ACCOUNT NO.:
         P.O. BOX 3547                                         NOT AVAILABLE
         SPARTANBURG, SC 29306



3.4771   LAVIN, SOPHIA                                            5/11/2016                     Workers                  UNDETERMINED
         NOT AVAILABLE                                                                        Compensation
                                                               ACCOUNT NO.:
                                                                WC390E23574


3.4772   LAWRENCE COUNTY                                          10/8/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS
         LAWRENCE COUNTY COURTHOUSE                            ACCOUNT NO.:
         916 15TH STREET                                       NOT AVAILABLE
         BEDFORD, IN 47421



3.4773   LAWRENCE COUNTY                                          10/8/2018                   Opioid Matter              UNDETERMINED
         ATTN: CURTIS T. HILL, JR.
         STATE OF INDIANA ATTORNEY GENERAL                     ACCOUNT NO.:
         INDIANA GOVERNMENT CENTER SOUTH - 5TH FLOOR -         NOT AVAILABLE
         302 WEST WASHINGTON STREET
         INDIANAPOLIS, IN 46204



3.4774   LAWRENCE COUNTY                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE
         200 WEST GAINES STREET                                ACCOUNT NO.:
         SUITE 201                                             NOT AVAILABLE
         LAWRENCEBURG, TN 38464



3.4775   LAWRENCE COUNTY                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         200 WEST GAINES STREET                                ACCOUNT NO.:
         SUITE 103                                             NOT AVAILABLE
         LAWRENCEBURG, TN 38464




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Code                                                 And Account Number                          Claim

Litigation

3.4776   LAWRENCE COUNTY                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CIRCUIT COURT CLERK
         NBU #12                                               ACCOUNT NO.:
         200 WEST GAINES STREET                                NOT AVAILABLE
         LAWRENCEBURG, TN 38464



3.4777   LAWRENCE COUNTY BOARD OF COUNTY                         10/11/2017                   Opioid Matter              UNDETERMINED
         COMMISSIONERS
         ATTN: CLERK OF THE LAWRENCE COUNTY                    ACCOUNT NO.:
         COMMISSIONERS                                         NOT AVAILABLE
         111 SOUTH FOURTH STREET 3RD FLOOR
         IRONTON, OH 45638



3.4778   LAWRENCE COUNTY BOARD OF COUNTY                         10/11/2017                   Opioid Matter              UNDETERMINED
         COMMISSIONERS
         1 VETERANS SQUARE                                     ACCOUNT NO.:
         IRONTON, OH 45638                                     NOT AVAILABLE



3.4779   LAWRENCE COUNTY, ALABAMA                                 2/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN BOARD OF COMMISSIONERS, COUNTY
         ADMINISTRATOR                                         ACCOUNT NO.:
         12001 HIGHWAY 157                                     NOT AVAILABLE
         MOULTON, AL 35650



3.4780   LAWRENCE COUNTY, ALABAMA                                 2/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.4781   LAWRENCE COUNTY, ALABAMA                                 2/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE CIRCUIT CLERK
         SANDRA LIGON                                          ACCOUNT NO.:
         14451 MARKET STREET - SUITE 300                       NOT AVAILABLE
         MOULTON, AL 35650



3.4782   LAWRENCE COUNTY, MISS.                                  12/13/2017                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF SUPERVISORS
         AND CHANCERY CLERK                                    ACCOUNT NO.:
         517 EAST BROAD STREET                                 NOT AVAILABLE
         POST OFFICE BOX 821
         MONTICELLO, MS 39654



3.4783   LAWRENCE COUNTY, PENNSYLVANIA                           11/10/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER, CHAIRMAN AND
         COUNTY ADMINISTRATOR                                  ACCOUNT NO.:
         LAWRENCE COUNTY GOVERNMENT CENTER                     NOT AVAILABLE
         430 COURT STREET
         NEW CASTLE, PA 16101-3503



3.4784   LEARN TO COPE, INC.                                      6/13/2018                   Opioid Matter              UNDETERMINED
         KEVIN SMITH, ESQ.
         ARROWOOD LLP                                          ACCOUNT NO.:
         10 POST OFF SQUARE - 7TH FLOOR SOUTH                  NOT AVAILABLE
         BOSTON, MA 02109


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Code                                                 And Account Number                          Claim

Litigation

3.4785   LEARN TO COPE, INC.                                      6/13/2018                   Opioid Matter              UNDETERMINED
         LISA G. ARROWOOD, ESQ.
         ARROWOOD LLP                                          ACCOUNT NO.:
         10 POST OFF SQUARE - 7TH FLOOR SOUTH                  NOT AVAILABLE
         BOSTON, MA 02109



3.4786   LEBANON HMA, LLC F/K/A LEBANON HMA, INC.                 7/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT; MANAGING MEMBER
         JUSTIN D. PITT, CHIEF LITIGATION COUNSEL              ACCOUNT NO.:
         4000 MERIDIAN BOULEVARD - COMMUNITY HEALTH            NOT AVAILABLE
         SYSTEMS
         FRANKLIN, TN 37067-6325



3.4787   LEBANON HMA, LLC F/K/A LEBANON HMA, INC.                 7/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         CORPORATE SERVICE COMPANY                             ACCOUNT NO.:
         251 LITTLE FALLS DRIVE - NOTICE AGENT OF              NOT AVAILABLE
         COMMUNITY HEALTH SYSTEMS, INC.
         WILMINGTON, DE 19808



3.4788   LEE COUNTY                                              10/22/2018                   Opioid Matter              UNDETERMINED
         ATTN: COMMONWEALTH'S ATTORNEY
         33640 MAIN STREET                                     ACCOUNT NO.:
         JONESVILLE, VA 24263                                  NOT AVAILABLE



3.4789   LEE COUNTY                                               4/8/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER, CLERK, BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         408 SUMMIT DRIVE                                      NOT AVAILABLE
         SANFORD, NC 27330



3.4790   LEE COUNTY, FLORIDA                                      7/9/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS, AND PRESIDING
         OFFICER                                               ACCOUNT NO.:
         2120 MAIN ST.                                         NOT AVAILABLE
         FORT MYERS, FL 33901



3.4791   LEE COUNTY, GEORGIA                                      9/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN BOARD OF COMMISSIONERS
         LEE COUNTY BOARD OF COMMISSIONERS                     ACCOUNT NO.:
         102 STARKSVILLE AVENUE NORTH                          NOT AVAILABLE
         LEESBURG, GA 31763



3.4792   LEE COUNTY, MISSISSIPPI                                  3/1/2019                    Opioid Matter              UNDETERMINED
         C/O CHANCERY CLERK
         200 W. JEFFERSON ST.                                  ACCOUNT NO.:
         TUPELO, MS 38804                                      NOT AVAILABLE



3.4793   LEE COUNTY, MISSISSIPPI                                  3/1/2019                    Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT AND CLERK OF THE BOARD OF
         SUPERVISORS                                           ACCOUNT NO.:
         300 WEST MAIN STREET                                  NOT AVAILABLE
         TUPELO, MS 38804




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Code                                                 And Account Number                          Claim

Litigation

3.4794   LEFLORE COUNTY, MISSISSIPPI                              6/3/2019                    Opioid Matter              UNDETERMINED
         POST OFFICE BOX 250
         GREENWOOD, MS 38935                                   ACCOUNT NO.:
                                                               NOT AVAILABLE


3.4795   LEFLORE COUNTY, MISSISSIPPI                              6/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF SUPERVISORS
         LEFLORE COUNTY BOARD-SPRVSRS                          ACCOUNT NO.:
         306 W MARKET ST                                       NOT AVAILABLE
         GREENWOOD, MS 38930



3.4796   LENOIR COUNTY                                            7/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER, CLERK, CHAIRMAN AND
         COMMISSIONERS                                         ACCOUNT NO.:
         130 SOUTH QUEEN STREET                                NOT AVAILABLE
         KINSTON, NC 28502



3.4797   LENOIR COUNTY                                            7/30/2018                   Opioid Matter              UNDETERMINED
         POST OFFICE BOX 3289
         KINSTON, NC 28502                                     ACCOUNT NO.:
                                                               NOT AVAILABLE


3.4798   LEON COUNTY, FLORIDA                                    10/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON AND COUNTY COMMISSIONERS
         301 S. MONROE ST.                                     ACCOUNT NO.:
         TALLAHASSEE, FL 32301                                 NOT AVAILABLE



3.4799   LEVY COUNTY                                              4/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS, AND PRESIDING
         OFFICER                                               ACCOUNT NO.:
         PO BOX 310                                            NOT AVAILABLE
         BRONSON, FL 32621



3.4800   LEVY COUNTY                                              4/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS, AND PRESIDING
         OFFICER                                               ACCOUNT NO.:
         355 S. COURT STREET                                   NOT AVAILABLE
         BRONSON, FL 32621



3.4801   LEWIS COUNTY COMMISSION                                 12/13/2017                   Opioid Matter              UNDETERMINED
         ATTN: PROSECUTING ATTORNEY
         117 COURT AVENUE, ROOM 201                            ACCOUNT NO.:
         WESTON, WV 26452                                      NOT AVAILABLE



3.4802   LEWIS COUNTY COMMISSION                                 12/13/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         110 CENTER AVENUE                                     ACCOUNT NO.:
         WESTON, WV 26452                                      NOT AVAILABLE



3.4803   LEWIS COUNTY COMMISSION                                 12/13/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSION PRESIDENT
         110 CENTER AVENUE, 2ND FLOOR                          ACCOUNT NO.:
         WESTON, WV 26452                                      NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4804   LEWIS COUNTY COMMISSION                                 12/13/2017                   Opioid Matter              UNDETERMINED
         JOSEPH L. CIACCIO
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.4805   LEWIS COUNTY COMMISSION                                 12/13/2017                   Opioid Matter              UNDETERMINED
         ROBERT P. FITZSIMMONS
         FITZSIMMONS LAW FIRM PLLC                             ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26003



3.4806   LEWIS COUNTY COMMISSION                                 12/13/2017                   Opioid Matter              UNDETERMINED
         CLAYTON J. FITZSIMMONS
         FITZSIMMONS LAW FIRM PLLC                             ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26003



3.4807   LEWIS COUNTY COMMISSION                                 12/13/2017                   Opioid Matter              UNDETERMINED
         MARK A. COLANTONIO
         FITZSIMMONS LAW FIRM PLLC                             ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26003



3.4808   LEWIS COUNTY COMMISSION                                 12/13/2017                   Opioid Matter              UNDETERMINED
         HUNTER J. SHKOLNIK
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.4809   LEWIS COUNTY COMMISSION                                 12/13/2017                   Opioid Matter              UNDETERMINED
         SHAYNA E. SACKS
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.4810   LEWIS COUNTY COMMISSION                                 12/13/2017                   Opioid Matter              UNDETERMINED
         SALVATORE C. BADALA
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.4811   LEWIS COUNTY COMMISSION                                 12/13/2017                   Opioid Matter              UNDETERMINED
         JONATHAN E. TURAK
         GOLD, KHOUREY & TURAK                                 ACCOUNT NO.:
         510 TOMLINSON AVENUE                                  NOT AVAILABLE
         MOUNDSVILLE, WV 26041



3.4812   LEWIS COUNTY COMMISSION                                 12/13/2017                   Opioid Matter              UNDETERMINED
         DANIEL J. GUIDA
         GUIDA LAW OFFICE                                      ACCOUNT NO.:
         3374 MAIN STREET                                      NOT AVAILABLE
         WEIRTON, WV 26062




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Code                                                 And Account Number                          Claim

Litigation

3.4813   LEWIS COUNTY COMMISSION                                 12/13/2017                   Opioid Matter              UNDETERMINED
         PAUL J. NAPOLI
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.4814   LEWIS COUNTY COMMISSION                                 12/13/2017                   Opioid Matter              UNDETERMINED
         SAMUEL D. MADIA
         SHAFFER MADIA LAW PLLC                                ACCOUNT NO.:
         343 WEST MAIN STREET                                  NOT AVAILABLE
         CLARKSBURG, WV 26301



3.4815   LEWIS COUNTY COMMISSION                                 12/13/2017                   Opioid Matter              UNDETERMINED
         JOSEPH F. SHAFFER
         SHAFFER MADIA LAW PLLC                                ACCOUNT NO.:
         343 WEST MAIN STREET                                  NOT AVAILABLE
         CLARKSBURG, WV 26301



3.4816   LEWIS COUNTY, MISSOURI                                  11/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         100 EAST LAFAYETTE STREET                             ACCOUNT NO.:
         MONTICELLO, MO 63457                                  NOT AVAILABLE



3.4817   LEWIS COUNTY, WASHINGTON                                 12/9/2018                   Opioid Matter              UNDETERMINED
         ATTN: AUDITOR
         351 NW NORTH STREET                                   ACCOUNT NO.:
         CHEHALIS, WA 98532                                    NOT AVAILABLE



3.4818   LEWIS S. WALKER, IN HIS OFFICIAL CAPACITY AS THE         3/22/2019                   Opioid Matter              UNDETERMINED
         SHERIFF OF CRAWFORD COUNTY, GEORGIA
         ATTN: SHERIFF                                         ACCOUNT NO.:
         21 HORTMAN MILL RD.                                   NOT AVAILABLE
         KNOXVILLE, GA 31050



3.4819   LEWIS S. WALKER, IN HIS OFFICIAL CAPACITY AS THE         3/22/2019                   Opioid Matter              UNDETERMINED
         SHERIFF OF CRAWFORD COUNTY, GEORGIA
         ATTN: COMMISSIONER                                    ACCOUNT NO.:
         CRAWFORD COUNTY COMMISSIONERS OFFICE                  NOT AVAILABLE
         640 GA HWY 128
         ROBERTA, GA 31078



3.4820   LEWIS S. WALKER, IN HIS OFFICIAL CAPACITY AS THE         3/22/2019                   Opioid Matter              UNDETERMINED
         SHERIFF OF CRAWFORD COUNTY, GEORGIA
         P.O. BOX 1009                                         ACCOUNT NO.:
         ROBERTA, GA 31078                                     NOT AVAILABLE



3.4821   LEWIS, DANIELLE                                          3/10/2019                    Automobile                UNDETERMINED
         NOT AVAILABLE
                                                               ACCOUNT NO.:
                                                               AB22027164304




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4822   LEXINGTON HOSPITAL CORPORATION                           7/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT AND OFFICER OR MANAGING
         AGENT                                                 ACCOUNT NO.:
         1573 MALLORY LANE                                     NOT AVAILABLE
         SUITE 100
         BRENTWOOD, TN 37027-2895



3.4823   LEXINGTON HOSPITAL CORPORATION                           7/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         HENDERSON COUNTY COMMUNITY HOSPITAL                   ACCOUNT NO.:
         200 WEST CHURCH STREET                                NOT AVAILABLE
         LEXINGTON, TN 38351



3.4824   LEXINGTON, TN                                            4/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         CITY HALL                                             ACCOUNT NO.:
         33 FIRST STREET                                       NOT AVAILABLE
         LEXINGTON, TN 38351



3.4825   LEXINGTON-FAYETTE URBAN COUNTY GOVERNMENT                11/9/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         OFFICE OF THE MAYOR                                   ACCOUNT NO.:
         200 EAST MAIN STREET                                  NOT AVAILABLE
         LEXINGTON, KY 40507



3.4826   LEXINGTON-FAYETTE URBAN COUNTY GOVERNMENT                11/9/2017                   Opioid Matter              UNDETERMINED
         FAYETTE COUNTY ATTORNEY'S OFFICE
         201 EAST MAIN STREET                                  ACCOUNT NO.:
          - SUITE 600                                          NOT AVAILABLE
         LEXINGTON, KY 40507



3.4827   LIBERTY COUNTY , GEORGIA                                 3/27/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, MEMBERS OF BOARD OF
         COMMISIONERS, AND COUNTY ADMINISTRATOR                ACCOUNT NO.:
         112 N MAIN ST                                         NOT AVAILABLE
         HINESVILLE, GA 31313



3.4828   LICKING COUNTY BOARD OF COUNTY COMMISSIONERS            10/18/2017                   Opioid Matter              UNDETERMINED
         ATTN: CLERK OF THE COMMISSIONERS AND
         PROSECUTING ATTORNEY                                  ACCOUNT NO.:
         THE DONALD D. HILL COUNTY ADMINISTRATION              NOT AVAILABLE
         BUILDING
         20 SOUTH SECOND STREET
         NEWARK, OH 43055



3.4829   LIMESTONE COUNTY, ALABAMA                                3/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: CIRCUIT COURT CLERK
         BRAD CURNUTT                                          ACCOUNT NO.:
         200 WEST WASHINGTON STREET - 1ST FLOOR                NOT AVAILABLE
         ATHENS, AL 35611




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Code                                                 And Account Number                          Claim

Litigation

3.4830   LIMESTONE COUNTY, ALABAMA                                3/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.4831   LINCOLN COUNTY                                          11/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: BOARD OF COMMISSIONERS; COUNTY CLERK;
         TREASURER                                             ACCOUNT NO.:
         32 HIGH STREET                                        NOT AVAILABLE
         P.O. BOX 249
         WISCASSET, ME 04578



3.4832   LINCOLN COUNTY                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY MAYOR
         112 MAIN AVENUE SOUTH                                 ACCOUNT NO.:
         ROOM 101                                              NOT AVAILABLE
         FAYETTEVILLE, TN 37334



3.4833   LINCOLN COUNTY                                           11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         LINCOLN COUNTY SERVICE CENTER                         ACCOUNT NO.:
         801 N SALES STREET, SUITE 201                         NOT AVAILABLE
         MERRILL, WI 54452



3.4834   LINCOLN COUNTY                                           5/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, BOARD OF COMMISSIONERS
         LINCOLN COUNTY GOVERNMENT                             ACCOUNT NO.:
         353 N. GENERALS BLVD.                                 NOT AVAILABLE
         LINCOLNTON, NC 28092



3.4835   LINCOLN COUNTY                                           5/23/2018                   Opioid Matter              UNDETERMINED
         LINCOLN COUNTY GOVERNMENT
         353 N. GENERALS BLVD.                                 ACCOUNT NO.:
         LINCOLNTON, NC 28092                                  NOT AVAILABLE



3.4836   LINCOLN COUNTY, GEORGIA                                  4/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE LINCOLN COUNTY BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         LINCOLN COUNTY GOVERNMENT                             NOT AVAILABLE
         1092 LANDFILL RD
         LINCOLNTON, GA 30817



3.4837   LINCOLN COUNTY, GEORGIA                                  4/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE LINCOLN COUNTY BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         LINCOLN COUNTY GOVERNMENT                             NOT AVAILABLE
         182 HUMPHREY ST
         LINCOLNTON, GA 30817-5855




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Code                                                              And Account Number                         Claim

Litigation

3.4838   LINCOLN COUNTY, GEORGIA                                                4/11/2018                 Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE LINCOLN COUNTY BOARD OF
         COMMISSIONERS                                                        ACCOUNT NO.:
         LINCOLN COUNTY GOVERNMENT                                            NOT AVAILABLE
         PO BOX 340 - 210 HUMPHREY STREET
         LINCOLNTON, GA 30817



3.4839   LINCOLN COUNTY, MISSISSIPPI                                            5/23/2018                 Opioid Matter              UNDETERMINED
         301 S FIRST STREET
         ROOM 111                                                             ACCOUNT NO.:
         BROOKHAVEN, MS 39601                                                 NOT AVAILABLE



3.4840   LINCOLN COUNTY, MISSISSIPPI                                            5/23/2018                 Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF SUPERVISORS
         BOARD OF SUPERVISORS                                                 ACCOUNT NO.:
         301 FIRST STREET                                                     NOT AVAILABLE
         BROOKHAVEN, MS 39601



3.4841   LISA S. ZAVOGIANNIS                                                    1/10/2018                 Opioid Matter              UNDETERMINED
         ATTN: HENRY D. FINCHER
         305 EAST SPRING STREET                                               ACCOUNT NO.:
         COOKVILLE, TN 38501                                                  NOT AVAILABLE



3.4842   LISA S. ZAVOGIANNIS                                                    1/10/2018                 Opioid Matter              UNDETERMINED
         ATTN: ANTHONY A. ORLANDI, BENJAMIN A. GASTEL,
         JAMES GERARD STRANCH, IV, JAMES GERARD                               ACCOUNT NO.:
         STRANCH, III,                                                        NOT AVAILABLE
         TRICIA A. HERZFELD
         BRANSTETTER, STRANCH & JENNINGS, PLLC - THE
         FREEDOM CENTER, 223 ROSA L. PARKS AVE, STE 200
         NASHVILLE, TN 37203



3.4843   LISA S. ZAVOGIANNIS, in her official capacity as the District          1/10/2018                 Opioid Matter              UNDETERMINED
         Attorney General for the Thirty-First Judicial District, TN and on
         behalf of all political subdivisions therein, including Van Buren    ACCOUNT NO.:
         County, Town of Spencer, Warren County, Town of                      NOT AVAILABLE
         Centertown,
         Attn: J. Gerard Stranch, IV
         Branstetter, Stranch & Jennings, PLLC
         The Freedom Center - 223 Rosa L. Parks Avenue, Suite 200
         Nashville, TN 37203



3.4844   LISA S. ZAVOGIANNIS, in her official capacity as the District          1/10/2018                 Opioid Matter              UNDETERMINED
         Attorney General for the Thirty-First Judicial District, TN and on
         behalf of all political subdivisions therein, including Van Buren    ACCOUNT NO.:
         County, Town of Spencer, Warren County, Town of                      NOT AVAILABLE
         Centertown,
         Attn: Benjamin A. Gastel
         Branstetter, Stranch & Jennings, PLLC
         The Freedom Center - 223 Rosa L. Parks Avenue, Suite 200
         Nashville, TN 37203




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Code                                                              And Account Number                         Claim

Litigation

3.4845   LISA S. ZAVOGIANNIS, in her official capacity as the District          1/10/2018                 Opioid Matter              UNDETERMINED
         Attorney General for the Thirty-First Judicial District, TN and on
         behalf of all political subdivisions therein, including Van Buren    ACCOUNT NO.:
         County, Town of Spencer, Warren County, Town of                      NOT AVAILABLE
         Centertown,
         Attn: Tricia A. Herzfeld
         Branstetter, Stranch & Jennings, PLLC
         The Freedom Center - 223 Rosa L. Parks Avenue, Suite 200
         Nashville, TN 37203



3.4846   LISA S. ZAVOGIANNIS, in her official capacity as the District          1/10/2018                 Opioid Matter              UNDETERMINED
         Attorney General for the Thirty-First Judicial District, TN and on
         behalf of all political subdivisions therein, including Van Buren    ACCOUNT NO.:
         County, Town of Spencer, Warren County, Town of                      NOT AVAILABLE
         Centertown,
         Attn: James G. Stranch, III
         Branstetter, Stranch & Jennings, PLLC
         The Freedom Center - 223 Rosa L. Parks Avenue Suite 200
         Nashville, TN 37203



3.4847   LIVINGSTON COUNTY, MISSOURI                                            10/3/2018                 Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         700 WEBSTER STREET                                                   ACCOUNT NO.:
         SUITE 10                                                             NOT AVAILABLE
         CHILLICOTHE, MO 64601



3.4848   LOCAL 22 HEALTH BENEFIT FUND                                           8/30/2019                 Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT, VICE PRESIDENT, SECRETARY, AND
         TREASURER                                                            ACCOUNT NO.:
         UA LOCAL 22 PLUMBERS & STEAMFITTERS                                  NOT AVAILABLE
         120 GARDENVILLE PARKWAY - SUITE 3
         WEST SENECA, NY 14224



3.4849   LOCAL 8A-28A WELFARE FUND                                              8/29/2019                 Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT, VICE PRESIDENT, SECRETARY, AND
         TREASURER                                                            ACCOUNT NO.:
         INTERNATIONAL UNION OF PAINTERS AND ALLIED                           NOT AVAILABLE
         TRADES LOCAL 8A-28A
         36-16/18 33RD STREET - 2ND FLOOR
         LONG ISLAND CITY, NY 11106



3.4850   LOCAL INITIATIVE HEALTH AUTHORITY FOR LOS                              3/29/2019                 Opioid Matter              UNDETERMINED
         ANGELES COUNTY
         ATTN: CHIEF EXECUTIVE OFFICER                                        ACCOUNT NO.:
         L.A. CARE HEALTH PLAN                                                NOT AVAILABLE
         1055 WEST 7TH STREET, 10TH FLOOR
         LOS ANGELES, CA 90017



3.4851   LOGAN COUNTY BOARD OF COUNTY COMMISSIONERS                             12/15/2017                Opioid Matter              UNDETERMINED
         ATTN: BOARD OF COUNTY COMMISSIONERS PRESIDENT
         117 E. COLUMBUS AVE                                                  ACCOUNT NO.:
         BELLEFONTAINE, OH 43311                                              NOT AVAILABLE



3.4852   LONG COUNTY , GEORGIA                                                  3/27/2019                 Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND BOARD OF COMMISSIONERS.
         459 S. MCDONALD STREET                                               ACCOUNT NO.:
         LUDOWICI, GA 31316                                                   NOT AVAILABLE


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Code                                                 And Account Number                          Claim

Litigation

3.4853   LONG COUNTY , GEORGIA                                    3/27/2019                   Opioid Matter              UNDETERMINED
         POST OFFICE BOX 476
         LUDOWICI, GA 31316                                    ACCOUNT NO.:
                                                               NOT AVAILABLE


3.4854   LONGVIEW MEDICAL CENTER, L.P. D/B/A LONGVIEW            UNKNOWN                      Opioid Matter              UNDETERMINED
         REGIONAL MEDICAL CENTER
         ATTN: REGISTERED AGENT                                ACCOUNT NO.:
         CORPORATION SERVICE COMPANY                           NOT AVAILABLE
         211 EAST 7TH STREET - SUITE 620
         AUSTIN, TX 78701



3.4855   LONGVIEW MEDICAL CENTER, L.P. D/B/A LONGVIEW            UNKNOWN                      Opioid Matter              UNDETERMINED
         REGIONAL MEDICAL CENTER
         ATTN: CEO, PARTNER, OR MANAGER                        ACCOUNT NO.:
         2901 NORTH FOURTH STREET                              NOT AVAILABLE
         LONGVIEW, TX 75605



3.4856   LORETTO HOSPITAL OF CHICAGO                              6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT & CHIEF EXECUTIVE OFFICER, VICE
         PRESIDENT, CHIEF OPERATING OFFICER & CHIEF            ACCOUNT NO.:
         FINANCIAL OFFICER, VICE PRESIDENT & CHIEF             NOT AVAILABLE
         TREASURY OFFICER
         645 SOUTH CENTRAL AVENUE
         CHICAGO, IL 60644



3.4857   LORI TAYLOR, INDIVIDUALLY AND AS NEXT FRIEND AND         6/18/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY M.T.
         ATTN: CELESTE BRUSTOWICZ                              ACCOUNT NO.:
         COOPER LAW FIRM                                       NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.4858   LORI TAYLOR, INDIVIDUALLY AND AS NEXT FRIEND AND         6/18/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY M.T.
         ATTN: CELESTE BRUSTOWICZ, STEPHEN H. WUSSOW           ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                  NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.4859   LORI TAYLOR, INDIVIDUALLY AND AS NEXT FRIEND AND         6/18/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY M.T.
         ATTN: KENT HARRISON ROBBINS                           ACCOUNT NO.:
         THE LAW OFFICE OF KENT HARRISON ROBBINS, P.A.         NOT AVAILABLE
         242 NORTHEAST 27TH STREET
         MIAMI, FL 33137



3.4860   LORI TAYLOR, INDIVIDUALLY AND AS NEXT FRIEND AND         6/18/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY M.T.
         ATTN: KEVIN THOMPSON                                  ACCOUNT NO.:
         THOMPSON BARNEY LAW FIRM                              NOT AVAILABLE
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311




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Code                                                 And Account Number                          Claim

Litigation

3.4861   LORI TAYLOR, INDIVIDUALLY AND AS NEXT FRIEND AND         6/18/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY M.T.
         ATTN: SCOTT R. BICKFORD                               ACCOUNT NO.:
         MARTZELL, BICKFORD & CENTOLA                          NOT AVAILABLE
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.4862   LORI TAYLOR, INDIVIDUALLY AND AS NEXT FRIEND AND         6/18/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY M.T.
         ATTN: DONALD E. CREADORE                              ACCOUNT NO.:
         CREADOR LAW FIRM                                      NOT AVAILABLE
         450 SEVENTH AVENUE - SUITE 1408
         NEW YORK, NY 10123



3.4863   LORI TAYLOR, INDIVIDUALLY AND AS NEXT FRIEND AND         6/18/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY M.T.
         ATTN: DAVID R. BARNEY, JR.                            ACCOUNT NO.:
         THOMPSON BARNEY LAW FIRM                              NOT AVAILABLE
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311



3.4864   LORI TAYLOR, INDIVIDUALLY AND AS NEXT FRIEND AND         6/18/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY M.T.
         ATTN: KEVIN W. THOMPSON, DAVID R. BARNEY, JR.         ACCOUNT NO.:
         THOMPSON BARNEY LAW FIRM                              NOT AVAILABLE
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311



3.4865   LORI TAYLOR, INDIVIDUALLY AND AS NEXT FRIEND AND         6/18/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY M.T.
         ATTN: SPENCER R. DOODY                                ACCOUNT NO.:
         MARTZELL, BICKFORD & CENTOLA                          NOT AVAILABLE
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.4866   LOU SARDELLA, INDIVIDUALLY AND ON BEHALF OF ALL          5/2/2018                    Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: ERIC H. JASO                                    ACCOUNT NO.:
         SPIRO HARRISON                                        NOT AVAILABLE
         830 MORRIS TURNPIKE - SECOND FLOOR
         SHORT HILLS, NJ 07078



3.4867   LOU SARDELLA, INDIVIDUALLY AND ON BEHALF OF ALL          5/2/2018                    Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED V. PURDUE PHARMA L.P.,
         ET AL.                                                ACCOUNT NO.:
         ATTN: MICHAEL H. PARK                                 NOT AVAILABLE
         ATTN: MICHAEL H PARK
         745 FIFTH AVENUE - SUITE 500
         NEW YORK, NY 10151



3.4868   LOU SARDELLA, INDIVIDUALLY AND ON BEHALF OF ALL          5/2/2018                    Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED V. PURDUE PHARMA L.P.,
         ET AL.                                                ACCOUNT NO.:
         ATTN: ASHLEY C. KELLER                                NOT AVAILABLE
         KELLER LENKNER LLC
         150 NORTH RIVERSIDE PLAZA - SUITE 2750
         CHICAGO, IL 60606

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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4869   LOU SARDELLA, INDIVIDUALLY AND ON BEHALF OF ALL          5/2/2018                    Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED V. PURDUE PHARMA L.P.,
         ET AL.                                                ACCOUNT NO.:
         ATTN: TRAVIS LENKNER                                  NOT AVAILABLE
         KELLER LENKNER LLC
         150 N. RIVERSIDE PLAZA - SUITE 2570
         CHICAGO, IL 60606



3.4870   LOU SARDELLA, INDIVIDUALLY AND ON BEHALF OF ALL          5/2/2018                    Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED V. PURDUE PHARMA L.P.,
         ET AL.                                                ACCOUNT NO.:
         ATTN: SETH MEYER                                      NOT AVAILABLE
         KELLER LENKNER LLC
         150 N. RIVERSIDE PLAZA - SUITE 2570
         CHICAGO, IL 60606



3.4871   LOU SARDELLA, INDIVIDUALLY AND ON BEHALF OF ALL          5/2/2018                    Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED V. PURDUE PHARMA L.P.,
         ET AL.                                                ACCOUNT NO.:
         ATTN: TODD LOGAN                                      NOT AVAILABLE
         123 TOWNSEND STREET
         SUITE 100
         SAN FRANCISCO, CA 94107



3.4872   LOU SARDELLA, INDIVIDUALLY AND ON BEHALF OF ALL          5/2/2018                    Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED V. PURDUE PHARMA L.P.,
         ET AL.                                                ACCOUNT NO.:
         ATTN: RAFEY S. BALABANIAN                             NOT AVAILABLE
         EDELSON PC
         123 TOWNSEND STREET - SUITE 100
         SAN FRANCISCO, CA 94107



3.4873   LOU SARDELLA, INDIVIDUALLY AND ON BEHALF OF ALL          5/2/2018                    Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED V. PURDUE PHARMA L.P.,
         ET AL.                                                ACCOUNT NO.:
         ATTN: BENJAMIN H. RICHMAN                             NOT AVAILABLE
         EDELSON PC
         350 NORTH LASALLE STREET - 14TH FLOOR
         CHICAGO, IL 60654



3.4874   LOU SARDELLA, INDIVIDUALLY AND ON BEHALF OF ALL          5/2/2018                    Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED V. PURDUE PHARMA L.P.,
         ET AL.                                                ACCOUNT NO.:
         ATTN: DAVID I. MINDELL                                NOT AVAILABLE
         EDELSON PC
         350 NORTH LASALLE STREET - 14TH FLOOR
         CHICAGO, IL 60654



3.4875   LOU SARDELLA, INDIVIDUALLY AND ON BEHALF OF ALL          5/2/2018                    Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED V. PURDUE PHARMA L.P.,
         ET AL.                                                ACCOUNT NO.:
         ATTN: JAY EDELSON                                     NOT AVAILABLE
         EDELSON P.C.
         350 NORTH LASALLE STREET - 14TH FLOOR
         CHICAGO, IL 60654




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Code                                                  And Account Number                         Claim

Litigation

3.4876   LOU SARDELLA, INDIVIDUALLY AND ON BEHALF OF ALL          5/2/2018                    Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED V. PURDUE PHARMA L.P.,
         ET AL.                                                ACCOUNT NO.:
         ATTN: WILLIAM S. CONSOVOY                             NOT AVAILABLE
         CONSOVOY MCCARTHY PLLC
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201



3.4877   LOU SARDELLA, INDIVIDUALLY AND ON BEHALF OF ALL          5/2/2018                    Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED V. PURDUE PHARMA L.P.,
         ET AL.                                                ACCOUNT NO.:
         ATTN: THOMAS R. MCCARTHY                              NOT AVAILABLE
         CONSOVOY MCCARTHY PLLC
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201



3.4878   LOUDON COUNTY                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY MAYOR
         100 RIVER ROAD                                        ACCOUNT NO.:
         SUITE 106                                             NOT AVAILABLE
         LOUDON, TN 37774



3.4879   LOUDON COUNTY                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         101 MULBERRY STREET                                   ACCOUNT NO.:
         LOUDON, TN 37774                                      NOT AVAILABLE



3.4880   LOUDOUN COUNTY, VIRGINIA                                UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY ADMINISTRATOR; BOARD OF
         SUPERVISORS                                           ACCOUNT NO.:
         1 HARRISON STREET SE                                  NOT AVAILABLE
         5TH FLOOR
         LEESBURG, VA 20175



3.4881   LOUDOUN COUNTY, VIRGINIA                                UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COMMONWEALTH ATTORNEY
         20 EAST MARKET STREET                                 ACCOUNT NO.:
         LEESBURG, VA 20176                                    NOT AVAILABLE



3.4882   LOUDOUN COUNTY, VIRGINIA                                UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         1 HARRISON STREET SE                                  ACCOUNT NO.:
         LEESBURG, VA 20175                                    NOT AVAILABLE



3.4883   LOUIS M. ACKAL, DULY ELECTED SHERIFF OF IBERIA           9/10/2018                   Opioid Matter              UNDETERMINED
         PARISH, LOUISIANA, IN HIS CAPACITY AS EX OFFICIO OF
         THE IBERIA PARISH SHERIFF'S OFFICE AND THE IBERIA     ACCOUNT NO.:
         PARISH LAW ENFORCEMENT DISTRICT                       NOT AVAILABLE
         ATTN: SHERIFF
         300 IBERIA STREET
         SUITE 120
         NEW IBERIA, LA 70560




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4884   LOUISA COUNTY, VIRGINIA                                 UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COMMONWEALTH ATTORNEY
         PO BOX 128                                            ACCOUNT NO.:
         LOUISA, VA 23093                                      NOT AVAILABLE



3.4885   LOUISIANA ASSESSORS' INSURANCE FUND A/K/A THE           10/25/2018                   Opioid Matter              UNDETERMINED
         INSURANCE COMMITTEE OF THE ASSESSORS'
         INSURANCE FUND                                        ACCOUNT NO.:
         ATTN: EXECUTIVE DIRECTOR                              NOT AVAILABLE
         3060 VALLEY CREEK DRIVE
         PO BOX 14699
         BATON ROUGE, LA 70898-4699



3.4886   LOUISIANA ASSESSORS' INSURANCE FUND A/K/A THE           10/25/2018                   Opioid Matter              UNDETERMINED
         INSURANCE COMMITTEE OF THE ASSESSORS'
         INSURANCE FUND                                        ACCOUNT NO.:
         ATTN: PRESIDENT                                       NOT AVAILABLE
         29940 S. MAGNOLIA STREET
         LIVINGSTON, LA 70754



3.4887   LOUISIANA ASSESSORS' INSURANCE FUND A/K/A THE           10/25/2018                   Opioid Matter              UNDETERMINED
         INSURANCE COMMITTEE OF THE ASSESSORS'
         INSURANCE FUND                                        ACCOUNT NO.:
         ATTN: REGISTERED AGENT                                NOT AVAILABLE
         3060 VALLEY CREEK DR
         BATON ROUGE, LA 70808



3.4888   LOUISIANA HEALTH SERVICE & INDEMNITY COMPANY             11/7/2017                   Opioid Matter              UNDETERMINED
         D/B/A BLUE CROSS AND BLUE SHIELD OF LOUISIANA
         ATTN: DIRECTORS                                       ACCOUNT NO.:
         P. J. MILLS AND HERSCHEL C. ADCOCK                    NOT AVAILABLE
         5525 REITZ AVENUE
         BATON ROUGE, LA 70898



3.4889   LOUISIANA HEALTH SERVICE & INDEMNITY COMPANY             11/7/2017                   Opioid Matter              UNDETERMINED
         D/B/A BLUE CROSS AND BLUE SHIELD OF LOUISIANA
         ATTN: DIRECTOR                                        ACCOUNT NO.:
         JAMES B. MANDA                                        NOT AVAILABLE
         1838 CHEVELLE DRIVE
         BATON ROUGE, LA 70806



3.4890   LOUISIANA HEALTH SERVICE & INDEMNITY COMPANY             11/7/2017                   Opioid Matter              UNDETERMINED
         D/B/A BLUE CROSS AND BLUE SHIELD OF LOUISIANA
         ATTN: REGISTERED AGENT                                ACCOUNT NO.:
         HERSCHEL C. ADCOCK                                    NOT AVAILABLE
         5525 REITZ AVENUE
         BATON ROUGE, LA 70809



3.4891   LOUISVILLE/JEFFERSON COUNTY GOVERNMENT                   8/21/2017                   Opioid Matter              UNDETERMINED
         JEFFERSON HALL OF JUSTICE
         600 WEST JEFFERSON STREET                             ACCOUNT NO.:
         LOUISVILLE, KY 40202                                  NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.4892   LOUISVILLE/JEFFERSON COUNTY GOVERNMENT                   8/21/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         527 WEST JEFFERSON STREET                             ACCOUNT NO.:
         4TH FLOOR                                             NOT AVAILABLE
         LOUISVILLE, KY 40202



3.4893   LOVELACE HEALTH SYSTEMS, INC.                            6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         C/O CORPORATION SERVICE COMPANY                       ACCOUNT NO.:
         123 EAST MARCY STREET - SUITE 101                     NOT AVAILABLE
         SANTA FE, NM 87501



3.4894   LOVELACE HEALTH SYSTEMS, INC.                            6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT/CEO AND SENIOR LEADERSHIP
         4101 INDIAN SCHOOL ROAD NORTHEAST                     ACCOUNT NO.:
         SUITE 405                                             NOT AVAILABLE
         ALBUQUERQUE, NM 87110



3.4895   LOWER BRULE SIOUX TRIBE                                  5/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN/CEO,VICE CHAIRMAN, COUNCIL
         MEMBERS AND SECRETARY-TREASURER                       ACCOUNT NO.:
         187 OYATE CIRCLE                                      NOT AVAILABLE
         LOWER BRULE, SD 57548



3.4896   LOWER SIOUX INDIAN COMMUNITY IN THE STATE OF             8/16/2018                   Opioid Matter              UNDETERMINED
         MINNESOTA
         ATTN: PRESIDENT                                       ACCOUNT NO.:
         PO BOX 308                                            NOT AVAILABLE
         39527 RESERVATION HIGHWAY 1
         MORTON, MN 56370



3.4897   LOWNDES COUNTY, ALABAMA                                  2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.4898   LOWNDES COUNTY, ALABAMA                                  2/1/2018                    Opioid Matter              UNDETERMINED
         RUBY JONES THOMAS
         OFFICE OF THE CIRCUIT CLERK                           ACCOUNT NO.:
         PO BOX 876                                            NOT AVAILABLE
         HAYENVILLE, AL 36040-0876



3.4899   LOWNDES COUNTY, GEORGIA                                  6/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         BOARD OF COMMISSIONERS                                ACCOUNT NO.:
         327 N. ASHLEY STREET - 3RD FLOOR                      NOT AVAILABLE
         VALDOSTA, GA 31601



3.4900   LUCAS COUNTY CHILDREN SERVICES BOARD OF                 10/23/2018                   Opioid Matter              UNDETERMINED
         TRUSTEES
         711 ADAMS STREET                                      ACCOUNT NO.:
         2ND FLOOR                                             NOT AVAILABLE
         TOLEDO, OH 43604



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Code                                                 And Account Number                          Claim

Litigation

3.4901   LUCAS COUNTY CHILDREN SERVICES BOARD OF                 10/23/2018                   Opioid Matter              UNDETERMINED
         TRUSTEES
         1 GOVERNMENT CENTER                                   ACCOUNT NO.:
         TOLEDO, OH 43604                                      NOT AVAILABLE



3.4902   LUCAS COUNTY CHILDREN SERVICES BOARD OF                 10/23/2018                   Opioid Matter              UNDETERMINED
         TRUSTEES
         711 ADAMS STREET                                      ACCOUNT NO.:
         2ND FLOOR                                             NOT AVAILABLE
         TOLEDO, OH 43604



3.4903   LUCAS COUNTY CHILDREN SERVICES BOARD OF                 10/23/2018                   Opioid Matter              UNDETERMINED
         TRUSTEES
         ATTN: CHAIR, SECRETARY                                ACCOUNT NO.:
         1 GOVERNMENT CENTER                                   NOT AVAILABLE
         TOLEDO, OH 43604



3.4904   LUMPKIN COUNTY, GEORGIA                                  3/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE LUMPKIN COUNTY
         COMMISSIONERS                                         ACCOUNT NO.:
         99 COURTHOUSE HILL                                    NOT AVAILABLE
         DAHLONEGA, GA 30533



3.4905   LUTHERAN SERVICES FLORIDA INC.                           4/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT AND CHIEF EXECUTIVE OFFICER AND
         VICE PRESIDENT AND GENERAL COUNSEL                    ACCOUNT NO.:
         3627 W. WATERS AVENUE                                 NOT AVAILABLE
         TAMPA, FL 33614



3.4906   LUTHERAN SERVICES FLORIDA INC.                           4/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         CF REGISTERD AGENT, INC.                              ACCOUNT NO.:
         100 SOUTH ASHLEY DRIVE - SUITE 400                    NOT AVAILABLE
         TAMPA, FL 33602



3.4907   LUZERNE COUNTY, PA                                       11/8/2017                   Opioid Matter              UNDETERMINED
         ATTN: CLERK
         CLERK OF COUNCIL                                      ACCOUNT NO.:
         WILKES BARRE, PA 18711                                NOT AVAILABLE



3.4908   LUZERNE COUNTY, PA                                       11/8/2017                   Opioid Matter              UNDETERMINED
         ATTN: JOSH SHAPIRO
         STATE OF PENNSYLVANIA ATTORNEY GENERAL                ACCOUNT NO.:
         PENNSYLVANIA OFFICE OF ATTORNEY GENERAL - 16TH        NOT AVAILABLE
         FLOOR, STRAWBERRY SQUARE
         HARRISBURG, PA 17120



3.4909   LYON COUNTY                                              3/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: AUDITOR; BOARD OF SUPERVISORS CHAIR
         206 SOUTH 2ND AVENUE                                  ACCOUNT NO.:
         ROCK RAPIDS, IA 51246                                 NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4910   LYONS, MAGGIE                                            5/18/2018                    Automobile                UNDETERMINED
         NOT AVAILABLE
                                                               ACCOUNT NO.:
                                                               AB94933999903


3.4911   LYTTON BAND OF POMO INDIANS                              6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE TRIBAL COUNSEL, AND
         THE TRIBAL CHIEF, AND THE TRIBAL ADMINISTRATOR,       ACCOUNT NO.:
         AND THE CHAIRPERSON                                   NOT AVAILABLE
         PO BOX 1289
         WINDSOR, CA 95492



3.4912   MACON COUNTY, GEORGIA                                    5/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN BOARD OF COMMISSIONERS, COUNTY
         MANAGER                                               ACCOUNT NO.:
         121 SOUTH SUMTER STREET                               NOT AVAILABLE
         OGLETHORPE, GA 31068



3.4913   MADISON COUNTY                                           1/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS
         MADISON COUNTY GOVERNMENT CENTER                      ACCOUNT NO.:
         16 EAST 9TH STREET                                    NOT AVAILABLE
         ANDERSON, IN 46016



3.4914   MADISON COUNTY                                           8/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, BOARD OF COMMISSIONERS
         1 GENRRY LANE                                         ACCOUNT NO.:
         PO BOX 445                                            NOT AVAILABLE
         MARSHALL, NC 28753



3.4915   MADISON COUNTY                                           1/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         1 COURT SQUARE                                        ACCOUNT NO.:
         FREDERICKTOWN, MO 63645                               NOT AVAILABLE



3.4916   MADISON COUNTY, ALABAMA                                 12/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.4917   MADISON COUNTY, ALABAMA                                 12/10/2018                   Opioid Matter              UNDETERMINED
         DEBRA KIZER
         OFFICE OF THE CIRCUIT CLERK                           ACCOUNT NO.:
         100 NORTHSIDE SQ - ROOM 217                           NOT AVAILABLE
         HUNTSVILLE, AL 35801-4800



3.4918   MADISON COUNTY, GEORGIA                                  3/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN BOARD OF COMMISSIONERS
         P. O. BOX 147                                         ACCOUNT NO.:
         DANIELSVILLE, GA 30633                                NOT AVAILABLE




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Code                                                  And Account Number                          Claim

Litigation

3.4919   MADISON COUNTY, GEORGIA                                   3/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN BOARD OF COMMISSIONERS
         MADISON COUNTY COMMISSIONERS                           ACCOUNT NO.:
         91 ALBANY AVE                                          NOT AVAILABLE
         DANIELSVILLE, GA 30633



3.4920   MADISON COUNTY, NC                                        8/23/2018                   Opioid Matter              UNDETERMINED
         107 ELIZABETH LANE
         MARSHALL, NC 28753                                     ACCOUNT NO.:
                                                                NOT AVAILABLE


3.4921   MADISON COUNTY, TN                                        3/21/2018                   Opioid Matter              UNDETERMINED
         425 EAST BALTIMORE STREET
         JACKSON, TN 38301                                      ACCOUNT NO.:
                                                                NOT AVAILABLE


3.4922   MADISON COUNTY, TN                                        3/21/2018                   Opioid Matter              UNDETERMINED
         515 SOUTH LIBERTY STREET, SUITE 200
         JACKSON, TN 38301                                      ACCOUNT NO.:
                                                                NOT AVAILABLE


3.4923   MADISON COUNTY, TN                                        3/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MAYOR
         100 EAST MAIN STREET, ROOM 302                         ACCOUNT NO.:
         JACKSON, TN 38301                                      NOT AVAILABLE



3.4924   MADISON COUNTY, VIRGINIA                                 UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COMMONWEALTH ATTORNEY
         15 COURT SQUARE                                        ACCOUNT NO.:
         P. O. BOX 450                                          NOT AVAILABLE
         MADISON, VA 22727



3.4925   MAHONING TOWNSHIP                                         6/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE BOARD OF SUPERVISORS
         MUNICIPAL BUILDING                                     ACCOUNT NO.:
         849 BLOOM ROAD                                         NOT AVAILABLE
         DANVILLE, PA 17821-1351



3.4926   MAHONING TOWNSHIP                                         6/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF SUPERVISORS OR
         SECRETARY                                              ACCOUNT NO.:
         849 BLOOM ROAD                                         NOT AVAILABLE
         DANVILLE, PA 17821-1351



3.4927   MAHONING TOWNSHIP                                         6/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: JOSH SHAPIRO
         STATE OF PENNSYLVANIA ATTORNEY GENERAL                 ACCOUNT NO.:
         PENNSYLVANIA OFFICE OF ATTORNEY GENERAL - 16TH         NOT AVAILABLE
         FLOOR, STRAWBERRY SQUARE
         HARRISBURG, PA 17120



3.4928   MAHONING TOWNSHIP                                         6/28/2018                   Opioid Matter              UNDETERMINED
         CHARLES E. SCHAFFER
         LEVIN SEDRAN & BERMAN LLP                              ACCOUNT NO.:
         510 WALNUT STREET - SUITE 500                          NOT AVAILABLE
         PHILADELPHIA, PA 19106


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Code                                                 And Account Number                          Claim

Litigation

3.4929   MAHONING TOWNSHIP                                        6/28/2018                   Opioid Matter              UNDETERMINED
         DANIEL C. LEVIN
         LEVIN SEDRAN & BERMAN LLP                             ACCOUNT NO.:
         510 WALNUT STREET - SUITE 500                         NOT AVAILABLE
         PHILADELPHIA, PA 19106



3.4930   MAHONING TOWNSHIP                                        6/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: ARNOLD LEVIN
         LEVIN SEDRAN & BERMAN LLP                             ACCOUNT NO.:
         510 WALNUT STREET - SUITE 500                         NOT AVAILABLE
         PHILADELPHIA, PA 19106



3.4931   MANATEE COUNTY, FLORIDA                                  1/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS, AND PRESIDING
         OFFICER                                               ACCOUNT NO.:
         MANATEE COUNTY ADMINISTRATION BUILDING                NOT AVAILABLE
         1112 MANATEE AVENUE WEST
         BRADENTON, FL 34205



3.4932   MANCHESTER BAND OF POMO INDIANS OF THE                   1/28/2019                   Opioid Matter              UNDETERMINED
         MANCHESTER RANCHERIA
         ATTN: TRIBAL COUNCIL CHAIRMAN AND CHIEF               ACCOUNT NO.:
         EXECUTIVE OFFICER                                     NOT AVAILABLE
         PO BOX 623
         POINT ARENA, CA 95468



3.4933   MANITOWOC COUNTY                                        11/28/2017                   Opioid Matter              UNDETERMINED
         COUNTY EXECUTIVE
         MANITOWOC COUNTY COURTHOUSE                           ACCOUNT NO.:
         1010 SOUTH 8TH STREET                                 NOT AVAILABLE
         MANITOWOC, WI 54220



3.4934   MANITOWOC COUNTY                                        11/28/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         MANITOWOC COUNTY COURTHOUSE                           ACCOUNT NO.:
         1010 SOUTH 8TH STREET - 1ST FLOOR, ROOM 115           NOT AVAILABLE
         MANITOWOC, WI 54220



3.4935   MAO-MSO RECOVERY II, LLC                                 2/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         THE CORPORATION TRUST COMPANY                         ACCOUNT NO.:
         CORPORATION TRUST CENTER - 1209 ORANGE STREET         NOT AVAILABLE
         WILMINGTON, DE 19801



3.4936   MAO-MSO RECOVERY II, LLC                                 1/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: THE CORPORATION TRUST COMPANY
         CORPORATION TRUST CENTER                              ACCOUNT NO.:
         1209 ORANGE STREET                                    NOT AVAILABLE
         WILMINGTON, DE 19801




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4937   MARATHON COUNTY                                          11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK; COUNTY BOARD OF
         SUPERVISORS                                           ACCOUNT NO.:
         COUNTY COURTHOUSE                                     NOT AVAILABLE
         500 FOREST STREET
         WAUSAU, WI 54403



3.4938   MARCY BROWN                                              1/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         DORA CITY HALL                                        ACCOUNT NO.:
         1485 SHARON BLVD                                      NOT AVAILABLE
         DORA, AL 35062



3.4939   MARENGO COUNTY, ALABAMA                                  2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE CIRCUIT CLERK
         KENNY FREEMAN                                         ACCOUNT NO.:
         PO BOX 480566                                         NOT AVAILABLE
         LINDEN, AL 36748-0566



3.4940   MARENGO COUNTY, ALABAMA                                  2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.4941   MARIA ORTIZ, INDIVIDUALLY AND AS NEXT FRIEND AND         6/17/2019                   Opioid Matter              UNDETERMINED
         GUARDIAN OF BABY A.O., ON BEHALF OF THEMSELVES
         AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
         ATTN: CELESTE BRUSTOWICZ                              NOT AVAILABLE
         COOPER LAW FIRM, LLC
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.4942   MARIES COUNTY, MISSOURI                                 10/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: MARIES COUNTY CLERK AND PRESIDING
         COMMISSIONER AND CLERK OF THE COUNTY                  ACCOUNT NO.:
         COMMISSION                                            NOT AVAILABLE
         PO BOX 205
         VIENNA, MO 65582



3.4943   MARIJHA HAMAWI, INDIVIDUALLY AND AS NEXT FRIEND          6/15/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABIES K.L.H. AND N.A.W., ON
         BEHALF OF THEMSELVES AND ALL OTHERS SIMILARLY         ACCOUNT NO.:
         SITUATED                                              NOT AVAILABLE
         ATTN: CELESTE BRUSTOWICZ
         COOPER LAW FIRM, LLC
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.4944   MARINETTE COUNTY                                        11/28/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK; COUNTY BOARD CHAIR
         1926 HALL AVENUE                                      ACCOUNT NO.:
         MARINETTE, WI 54143                                   NOT AVAILABLE




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  Part 2:         List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4945   MARION COUNTY                                            1/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.4946   MARION COUNTY                                            1/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE CIRCUIT CLERK
         DENISE MIXON                                          ACCOUNT NO.:
         PO BOX 1595                                           NOT AVAILABLE
         HAMILTON, AL 35570



3.4947   MARION COUNTY                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         1 COURTHOUSE SQUARE                                   ACCOUNT NO.:
         SUITE 105 - P.O. BOX 789                              NOT AVAILABLE
         JASPER, TN 37347



3.4948   MARION COUNTY                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         P.O. BOX 759                                          ACCOUNT NO.:
         JASPER, TN 37347                                      NOT AVAILABLE



3.4949   MARION COUNTY                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         P.O. BOX 664                                          ACCOUNT NO.:
         JASPER, TN 37347                                      NOT AVAILABLE



3.4950   MARION COUNTY                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CIRCUIT COURT CLERK
         1 COURTHOUSE SQUARE                                   ACCOUNT NO.:
         PO BOX 789                                            NOT AVAILABLE
         JASPER, TN 37347



3.4951   MARION COUNTY BOARD OF COUNTY COMMISSIONERS              5/3/2018                    Opioid Matter              UNDETERMINED
         MARION COUNTY OHIO PROSECUTOR'S OFFICE
         134 E CENTER ST                                       ACCOUNT NO.:
         MARION, OH 43302                                      NOT AVAILABLE



3.4952   MARION COUNTY BOARD OF COUNTY COMMISSIONERS              5/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD
         222 WEST CENTER STREET                                ACCOUNT NO.:
         MARION, OH 43302                                      NOT AVAILABLE



3.4953   MARION COUNTY COMMISSION                                 9/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: COMMISSION & CLERK & PROSECUTING
         ATTORNEY                                              ACCOUNT NO.:
         200 JACKSON STREET                                    NOT AVAILABLE
         FAIRMONT, WV 26554




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4954   MARION COUNTY COMMISSION                                 9/28/2018                   Opioid Matter              UNDETERMINED
         HUNTER J. SHKOLNIK
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.4955   MARION COUNTY COMMISSION                                 9/28/2018                   Opioid Matter              UNDETERMINED
         JOSEPH F. SHAFFER
         SHAFFER MADIA LAW PLLC                                ACCOUNT NO.:
         343 WEST MAIN STREET                                  NOT AVAILABLE
         CLARKSBURG, WV 26301



3.4956   MARION COUNTY COMMISSION                                 9/28/2018                   Opioid Matter              UNDETERMINED
         SHAYNA E. SACKS
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.4957   MARION COUNTY COMMISSION                                 9/28/2018                   Opioid Matter              UNDETERMINED
         JOSEPH L. CIACCIO
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.4958   MARION COUNTY COMMISSION                                 9/28/2018                   Opioid Matter              UNDETERMINED
         ROBERT P. FITZSIMMONS
         FITZSIMMONS LAW FIRM PLLC                             ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26003



3.4959   MARION COUNTY COMMISSION                                 9/28/2018                   Opioid Matter              UNDETERMINED
         MARK A. COLANTONIO
         FITZSIMMONS LAW FIRM PLLC                             ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26003



3.4960   MARION COUNTY COMMISSION                                 9/28/2018                   Opioid Matter              UNDETERMINED
         CLAYTON J. FITZSIMMONS
         FITZSIMMONS LAW FIRM PLLC                             ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26003



3.4961   MARION COUNTY COMMISSION                                 9/28/2018                   Opioid Matter              UNDETERMINED
         SALVATORE C. BADALA
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.4962   MARION COUNTY COMMISSION                                 9/28/2018                   Opioid Matter              UNDETERMINED
         PAUL J. NAPOLI
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                         Claim

Litigation

3.4963   MARION COUNTY COMMISSION                                 9/28/2018                   Opioid Matter              UNDETERMINED
         SAMUEL D. MADIA
         SHAFFER MADIA LAW PLLC                                ACCOUNT NO.:
         343 WEST MAIN STREET                                  NOT AVAILABLE
         CLARKSBURG, WV 26301



3.4964   MARION COUNTY, FLORIDA                                   4/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS
         601 SE 25TH AVE                                       ACCOUNT NO.:
         OCALA, FL 34471                                       NOT AVAILABLE



3.4965   MARION COUNTY, MISS.                                    12/14/2017                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF SUPERVISORS
         BOARD OF SUPERVISORS                                  ACCOUNT NO.:
         215 BROAD STREET                                      NOT AVAILABLE
         COLUMBIA, MS 39429



3.4966   MARION COUNTY, MISS.                                    12/14/2017                   Opioid Matter              UNDETERMINED
         250 BROAD STREET
         SUITE 2                                               ACCOUNT NO.:
         COLUMBIA, MS 39429                                    NOT AVAILABLE



3.4967   MARION REGIONAL MEDICAL CENTER, INC.                     3/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER AND ADMINISTRATOR
         OFFICE OF THE CEO                                     ACCOUNT NO.:
         830 SOUTH GLOSTER ST                                  NOT AVAILABLE
         TUPELO, MS 38801-4934



3.4968   MARK GARBER, SHERIFF OF LAFAYETTE PARISH                 9/18/2017                   Opioid Matter              UNDETERMINED
         ATTN: SHERIFF
         LAFAYETTE PARISH SHERIFF'S OFFICE                     ACCOUNT NO.:
         316 WEST MAIN STREET                                  NOT AVAILABLE
         LAFAYETTE, LA 70501



3.4969   MARK GARBER, SHERIFF OF LAFAYETTE PARISH                 9/18/2017                   Opioid Matter              UNDETERMINED
         P. O. BOX 4017-C
         LAFAYETTE, LA 70502                                   ACCOUNT NO.:
                                                               NOT AVAILABLE


3.4970   MARK MELTON IN HIS OFFICIAL CAPACITY AS THE              5/8/2019                    Opioid Matter              UNDETERMINED
         SHERIFF OF APPLING COUNTY, GEORGIA
         ATTN: SHERIFF                                         ACCOUNT NO.:
         APPLING COUNTY SHERIFF'S OFFICE                       NOT AVAILABLE
         560 BARNES STREET - SUITE B
         BAXLEY, GA 31513



3.4971   MARK TILLEY, AS NEXT FRIEND OF K.B. TILLEY, A MINOR      8/2/2019                    Opioid Matter              UNDETERMINED
         CHILD UNDER THE AGE OF 18
         R. BOOTH GOODWIN , II                                 ACCOUNT NO.:
         GOODWIN & GOODWIN                                     NOT AVAILABLE
         PO BOX 2107
         CHARLESTON, WV 25328-2107




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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                         Claim

Litigation

3.4972   MARK TILLEY, AS NEXT FRIEND OF K.B. TILLEY, A MINOR      8/2/2019                    Opioid Matter              UNDETERMINED
         CHILD UNDER THE AGE OF 18
         TIMOTHY P. LUPARDUS                                   ACCOUNT NO.:
         LUPARDUS LAW OFFICE                                   NOT AVAILABLE
         PO BOX 1680
         PINEVILLE, WV 24874-1680



3.4973   MARK TILLEY, AS NEXT FRIEND OF K.B. TILLEY, A MINOR      8/2/2019                    Opioid Matter              UNDETERMINED
         CHILD UNDER THE AGE OF 18
         W. STUART CALWELL                                     ACCOUNT NO.:
         CALWELL LUCE DITRAPANO                                NOT AVAILABLE
         LAW AND ARTS CENTER WEST - 500 RANDOLPH STREET
         CHARLESTON, WV 25302



3.4974   MARK TILLEY, AS NEXT FRIEND OF K.B. TILLEY, A MINOR      8/2/2019                    Opioid Matter              UNDETERMINED
         CHILD UNDER THE AGE OF 18
         BENJAMIN D. ADAMS                                     ACCOUNT NO.:
         THE CALWELL PRACTICE                                  NOT AVAILABLE
         LAW AND ARTS CENTER WEST - 500 RANDOLPH STREET
         CHARLESTON, WV 25302



3.4975   MARK TILLEY, AS NEXT FRIEND OF K.B. TILLEY, A MINOR      8/2/2019                    Opioid Matter              UNDETERMINED
         CHILD UNDER THE AGE OF 18
         L. DANTE DITRAPANO                                    ACCOUNT NO.:
         CALWELL LUCE DITRAPANO                                NOT AVAILABLE
         LAW AND ARTS CENTER WEST - 500 RANDOLPH STREET
         CHARLESTON, WV 25302



3.4976   MARK TILLEY, AS NEXT FRIEND OF K.B. TILLEY, A MINOR      8/2/2019                    Opioid Matter              UNDETERMINED
         CHILD UNDER THE AGE OF 18
         CALWELL LUCE DITRAPANO                                ACCOUNT NO.:
         ALEXANDER D. MCLAUGHLIN                               NOT AVAILABLE
         LAW AND ARTS CENTER WEST - 500 RANDOLPH STREET
         CHARLESTON, WV 25302



3.4977   MARK TILLEY, AS NEXT FRIEND OF K.B. TILLEY, A MINOR      8/2/2019                    Opioid Matter              UNDETERMINED
         CHILD UNDER THE AGE OF 18
         P. RODNEY JACKSON                                     ACCOUNT NO.:
         LAW OFFICE OF P. RODNEY JACKSON                       NOT AVAILABLE
         106 CAPITOL STREET
         CHARLESTON, WV 25301



3.4978   MARKETING SERVICES OF INDIANA, INC., INDIVIDUALLY        9/10/2018                   Opioid Matter              UNDETERMINED
         AND ON BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: MICHAEL H. PARK                                 ACCOUNT NO.:
         ATTN: MICHAEL H PARK                                  NOT AVAILABLE
         745 FIFTH AVENUE - SUITE 500
         NEW YORK, NY 10151



3.4979   MARKETING SERVICES OF INDIANA, INC., INDIVIDUALLY        9/10/2018                   Opioid Matter              UNDETERMINED
         AND ON BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: WILLIAM S. CONSOVOY                             ACCOUNT NO.:
         CONSOVOY MCCARTHY PARK PLLC                           NOT AVAILABLE
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4980   MARKETING SERVICES OF INDIANA, INC., INDIVIDUALLY        9/10/2018                   Opioid Matter              UNDETERMINED
         AND ON BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: TRAVIS LENKNER                                  ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 2570
         CHICAGO, IL 60606



3.4981   MARKETING SERVICES OF INDIANA, INC., INDIVIDUALLY        9/10/2018                   Opioid Matter              UNDETERMINED
         AND ON BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: SETH MEYER                                      ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 2570
         CHICAGO, IL 60606



3.4982   MARKETING SERVICES OF INDIANA, INC., INDIVIDUALLY        9/10/2018                   Opioid Matter              UNDETERMINED
         AND ON BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: THOMAS R. MCCARTHY                              ACCOUNT NO.:
         CONSOVOY MCCARTHY PARK PLLC                           NOT AVAILABLE
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201



3.4983   MARKETING SERVICES OF INDIANA, INC., INDIVIDUALLY        9/10/2018                   Opioid Matter              UNDETERMINED
         AND ON BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: CHRISTOPHER E. CLARK                            ACCOUNT NO.:
         GOODIN ABERNATHY, LLP                                 NOT AVAILABLE
         301 EAST 38TH STREET
         INDIANAPOLIS, IN 46205



3.4984   MARKETING SERVICES OF INDIANA, INC., INDIVIDUALLY        9/10/2018                   Opioid Matter              UNDETERMINED
         AND ON BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: ASHLEY C. KELLER                                ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 2750
         CHICAGO, IL 60606



3.4985   MARLIN N. GUSMAN, SHERIFF OF ORLEANS PARISH              3/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: SHERIFF
         ORLEANS PARISH SHERIFF'S OFFICE                       ACCOUNT NO.:
         2800 PERDIDO ST.                                      NOT AVAILABLE
         NEW ORLEANS, LA 70119



3.4986   MARLIN N. GUSMAN, SHERIFF OF ORLEANS PARISH              3/28/2018                   Opioid Matter              UNDETERMINED
         1300 PERDIDO STREET
         NEW ORLEANS, LA 70112                                 ACCOUNT NO.:
                                                               NOT AVAILABLE


3.4987   MARLIN N. GUSMAN, SHERIFF OF ORLEANS PARISH              3/28/2018                   Opioid Matter              UNDETERMINED
         3630 MACARTHUR BOULEVARD
         SUITE E                                               ACCOUNT NO.:
         NEW ORLEANS, LA 70114-6826                            NOT AVAILABLE



3.4988   MARQUETTE COUNTY                                        11/28/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON AND CLERK OF THE BOARD OF
         SUPERVISORS                                           ACCOUNT NO.:
         77 WEST PARK STREET                                   NOT AVAILABLE
         MONTELLO, WI 53949


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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4989   MARQUETTE COUNTY                                        11/28/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         PO BOX 186                                            ACCOUNT NO.:
         MONTELLO, WI 53949                                    NOT AVAILABLE



3.4990   MARSHALL COUNTY                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR ADMINSTRATIVE ASSISTANT
         1108 COURTHOUSE ANNEX                                 ACCOUNT NO.:
         LEWISBURG, TN 37091                                   NOT AVAILABLE



3.4991   MARSHALL COUNTY                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         101 W COMMERCE STREET                                 ACCOUNT NO.:
         LEWISBURG, TN 37091                                   NOT AVAILABLE



3.4992   MARSHALL COUNTY COMMISSION                              12/13/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER
         P.O. DRAWER B                                         ACCOUNT NO.:
         MOUNDSVILLE, WV 26041                                 NOT AVAILABLE



3.4993   MARSHALL COUNTY COMMISSION                              12/13/2017                   Opioid Matter              UNDETERMINED
         ATTN: PROSECUTOR'S OFFICE
         600 7TH STREET                                        ACCOUNT NO.:
         MOUNDSVILLE, WV 26041                                 NOT AVAILABLE



3.4994   MARSHALL COUNTY COMMISSION                              12/13/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         MARSHALL COUNTY COURTHOUSE                            ACCOUNT NO.:
         ROOM 106 - P.O. BOX 459                               NOT AVAILABLE
         MOUNDSVILL, WV 26041



3.4995   MARSHALL COUNTY COMMISSION                              12/13/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         MARSHALL COUNTY COURTHOUSE                            ACCOUNT NO.:
         ROOM 106                                              NOT AVAILABLE
         MOUNDSVILLE, WV 26041



3.4996   MARSHALL COUNTY COMMISSION                              12/13/2017                   Opioid Matter              UNDETERMINED
         SALVATORE C. BADALA
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.4997   MARSHALL COUNTY COMMISSION                              12/13/2017                   Opioid Matter              UNDETERMINED
         JOSEPH L. CIACCIO
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.4998   MARSHALL COUNTY COMMISSION                              12/13/2017                   Opioid Matter              UNDETERMINED
         HUNTER J. SHKOLNIK
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.4999   MARSHALL COUNTY COMMISSION                              12/13/2017                   Opioid Matter              UNDETERMINED
         PAUL J. NAPOLI
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.5000   MARSHALL COUNTY COMMISSION                              12/13/2017                   Opioid Matter              UNDETERMINED
         MARK A. COLANTONIO
         FITZSIMMONS LAW FIRM PLLC                             ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26003



3.5001   MARSHALL COUNTY COMMISSION                              12/13/2017                   Opioid Matter              UNDETERMINED
         ROBERT P. FITZSIMMONS
         FITZSIMMONS LAW FIRM PLLC                             ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26003



3.5002   MARSHALL COUNTY COMMISSION                              12/13/2017                   Opioid Matter              UNDETERMINED
         CLAYTON J. FITZSIMMONS
         FITZSIMMONS LAW FIRM PLLC                             ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26003



3.5003   MARSHALL COUNTY COMMISSION                              12/13/2017                   Opioid Matter              UNDETERMINED
         SHAYNA E. SACKS
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.5004   MARSHALL COUNTY COMMISSION                              12/13/2017                   Opioid Matter              UNDETERMINED
         JONATHAN E. TURAK
         GOLD, KHOUREY & TURAK                                 ACCOUNT NO.:
         510 TOMLINSON AVENUE                                  NOT AVAILABLE
         MOUNDSVILLE, WV 26041



3.5005   MARSHALL COUNTY COMMISSION                              12/13/2017                   Opioid Matter              UNDETERMINED
         JOSEPH F. SHAFFER
         SHAFFER MADIA LAW PLLC                                ACCOUNT NO.:
         343 WEST MAIN STREET                                  NOT AVAILABLE
         CLARKSBURG, WV 26301



3.5006   MARSHALL COUNTY COMMISSION                              12/13/2017                   Opioid Matter              UNDETERMINED
         SAMUEL D. MADIA
         SHAFFER MADIA LAW PLLC                                ACCOUNT NO.:
         343 WEST MAIN STREET                                  NOT AVAILABLE
         CLARKSBURG, WV 26301




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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                         Claim

Litigation

3.5007   MARSHALL COUNTY COMMISSION                              12/13/2017                   Opioid Matter              UNDETERMINED
         DANIEL J. GUIDA
         GUIDA LAW OFFICE                                      ACCOUNT NO.:
         3374 MAIN STREET                                      NOT AVAILABLE
         WEIRTON, WV 26062



3.5008   MARSHALL COUNTY, AL                                      2/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.5009   MARSHALL COUNTY, AL                                      2/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: ANGIE JOHNSON
         OFFICE OF THE CIRCUIT CLERK                           ACCOUNT NO.:
         424 BOUNT AVE. - SUITE 201                            NOT AVAILABLE
         GUNTERSVILLE, AL 35976



3.5010   MARSHALL COUNTY, MISS.                                   3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF SUPERVISORS
         BOARD OF SUPERVISORS                                  ACCOUNT NO.:
         128 WEST VAN DORN AVENUE                              NOT AVAILABLE
         HOLLY SPRINGS, MS 38635



3.5011   MARSHALL COUNTY, MISS.                                   3/26/2018                   Opioid Matter              UNDETERMINED
         PO BOX 219
         HOLLY SPRINGS, MS 38635                               ACCOUNT NO.:
                                                               NOT AVAILABLE


3.5012   MARSHALL COUNTY, MISS.                                   3/26/2018                   Opioid Matter              UNDETERMINED
         128 WEST VAN DORN AVENUE
         HOLLY SPRINGS, MS 38635                               ACCOUNT NO.:
                                                               NOT AVAILABLE


3.5013   MARTIN COUNTY, NC                                        4/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER; CLERK; BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         305 EAST MAIN STREET                                  NOT AVAILABLE
         P. O. BOX 668
         WILLIAMSTON, NC 27892



3.5014   MARY TILLEY, AS NEXT FRIEND OF K.B. TILLEY, A MINOR      8/2/2019                    Opioid Matter              UNDETERMINED
         CHILD UNDER THE AGE OF 18
         ATTN: P. RODNEY JACKSON                               ACCOUNT NO.:
         LAW OFFICE OF P. RODNEY JACKSON                       NOT AVAILABLE
         106 CAPITOL STREET
         CHARLESTON, WV 25301



3.5015   MARY TILLEY, AS NEXT FRIEND OF K.B. TILLEY, A MINOR      8/2/2019                    Opioid Matter              UNDETERMINED
         CHILD UNDER THE AGE OF 18
         ATTN: TIMOTHY P. LUPARDUS                             ACCOUNT NO.:
         LUPARDUS LAW OFFICE                                   NOT AVAILABLE
         P.O. BOX 1680
         PINEVILLE, WV 24874-1680




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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                         Claim

Litigation

3.5016   MARY TILLEY, AS NEXT FRIEND OF K.B. TILLEY, A MINOR      8/2/2019                    Opioid Matter              UNDETERMINED
         CHILD UNDER THE AGE OF 18
         ATTN: ALEXANDER D. MCLAUGHLIN                         ACCOUNT NO.:
         CALWELL LUCE DITRAPANO                                NOT AVAILABLE
         LAW AND ARTS CENTER WEST - 500 RANDOLPH STREET
         CHARLESTON, WV 25302



3.5017   MARY TILLEY, AS NEXT FRIEND OF K.B. TILLEY, A MINOR      8/2/2019                    Opioid Matter              UNDETERMINED
         CHILD UNDER THE AGE OF 18
         ATTN: R. BOOTH GOODWIN, II                            ACCOUNT NO.:
         GOODWIN & GOODWIN                                     NOT AVAILABLE
         P.O. BOX 2107
         CHARLESTON, WV 25328-2107



3.5018   MARY TILLEY, AS NEXT FRIEND OF K.B. TILLEY, A MINOR      8/2/2019                    Opioid Matter              UNDETERMINED
         CHILD UNDER THE AGE OF 18
         ATTN: L. DANTE DITRAPANO                              ACCOUNT NO.:
         CALWELL LUCE DITRAPANO                                NOT AVAILABLE
         LAW AND ARTS CENTER WEST - 500 RANDOLPH STREET
         CHARLESTON, WV 25302



3.5019   MARY TILLEY, AS NEXT FRIEND OF K.B. TILLEY, A MINOR      8/2/2019                    Opioid Matter              UNDETERMINED
         CHILD UNDER THE AGE OF 18
         ATTN: BENJAMIN D. ADAMS                               ACCOUNT NO.:
         THE CALWELL PRACTICE                                  NOT AVAILABLE
         LAW AND ARTS CENTER WEST - 500 RANDOLPH STREET
         CHARLESTON, WV 25302



3.5020   MARY TILLEY, AS NEXT FRIEND OF K.B. TILLEY, A MINOR      8/2/2019                    Opioid Matter              UNDETERMINED
         CHILD UNDER THE AGE OF 18
         ATTN: W. STUART CALWELL                               ACCOUNT NO.:
         CALWELL LUCE DITRAPANO                                NOT AVAILABLE
         LAW AND ARTS CENTER WEST - 500 RANDOLPH STREET
         CHARLESTON, WV 25302



3.5021   MASHANTUCKET (WESTERN) PEQUOT TRIBE                      6/7/2019                    Opioid Matter              UNDETERMINED
         2 MATTS PATH
         PO BOX 3060                                           ACCOUNT NO.:
         MASHANTUCKET, CT 06338                                NOT AVAILABLE



3.5022   MASHANTUCKET (WESTERN) PEQUOT TRIBE                      6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: TRIBAL COUNCIL CHAIRMAN AND CHIEF
         EXECUTIVE OFFICER                                     ACCOUNT NO.:
         PO BOX 3060                                           NOT AVAILABLE
         MASHANTUCKET, CT 06338



3.5023   MASMOUD BAMDAD, M.D., O.B.O. STATE OF CA                 2/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: MASMOUD BAMBA, M.D. (PRO SE)
         REG NO: 47237-112 FCI BIG SPRING                      ACCOUNT NO.:
         FEDERAL CORRECTIONAL INSTITUTION - INMATE MAIL        NOT AVAILABLE
         PARCELS - 1900 SIMLER AVENUE
         BIG SPRING, TX 79720




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Code                                                 And Account Number                          Claim

Litigation

3.5024   MASMOUD BAMDAD, M.D., O.B.O. STATE OF CA                 2/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: MASMOUD BAMDAD, M.D.
         REPRESENTATION IN PRO PER 47237-112                   ACCOUNT NO.:
         U.S. PENITENTIARY - P.O. BOX 1000                     NOT AVAILABLE
         MARION, IL 62959



3.5025   MASSACHUSETTS BRICKLAYERS & MASONS TRUST                 4/24/2018                   Opioid Matter              UNDETERMINED
         FUNDS
         ATTN: TRUST FUND ADMINISTRATOR                        ACCOUNT NO.:
         645 WILLIAM T MORRISSEY BOULEVARD                     NOT AVAILABLE
         SUITE 3
         DORCHESTER, MA 02122



3.5026   MAURY COUNTY                                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         10 PUBLIC SQUARE                                      ACCOUNT NO.:
         COLUMBIA, TN 38401                                    NOT AVAILABLE



3.5027   MAURY COUNTY                                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         41 PUBLIC SQUARE                                      ACCOUNT NO.:
         COLUMBIA, TN 38401                                    NOT AVAILABLE



3.5028   MAVERICK COUNTY, TEXAS                                   6/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         500 QUARRY STREET                                     ACCOUNT NO.:
         SUITE 3                                               NOT AVAILABLE
         EAGLE PASS, TX 78852



3.5029   MAVERICK COUNTY, TEXAS                                  10/27/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         500 QUARRY STREET, SUITE 3                            ACCOUNT NO.:
         EAGLE PASS, TX 78852                                  NOT AVAILABLE



3.5030   MAXWELL A. NEWMAN AND CAROLINE S. NEWMAN                 8/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: DENNIS P. COUVILLION, COUNSEL FOR
         PETITIONERS                                           ACCOUNT NO.:
         2955 RIDGELAKE DRIVE                                  NOT AVAILABLE
         SUITE 207
         METAIRE, LA 70002



3.5031   MAXWELL A. NEWMAN AND CAROLINE S. NEWMAN                 8/17/2018                   Opioid Matter              UNDETERMINED
         DENNIS P. COUVILLION
         2955 RIDGELAKE DRIVE                                  ACCOUNT NO.:
         METAIRIE, LA 70002                                    NOT AVAILABLE



3.5032   MAXWELL A. NEWMAN AND CAROLINE S. NEWMAN                 8/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: DENNIS P. COUVILLION
         COUNSEL FOR PETITIONERS                               ACCOUNT NO.:
         2955 RIDGELAKE DRIVE - SUITE 207                      NOT AVAILABLE
         METAIRIE, LA 70002




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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                         Claim

Litigation

3.5033   MAYOR & CITY COUNCIL OF BALTIMORE                        1/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY SOLICITOR BALTIMORE CITY
         CITY HALL - ROOM 250                                  ACCOUNT NO.:
         100 N. HOLLIDAY ST.                                   NOT AVAILABLE
         BALTIMORE, MD 21202



3.5034   MAYOR & CITY COUNCIL OF BALTIMORE                        1/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         OFFICE OF THE MAYOR                                   ACCOUNT NO.:
         250 CITY HALL - 100 NORTH HOLLIDAY STREET             NOT AVAILABLE
         BALTIMORE, MD 21202



3.5035   MAYOR & CITY COUNCIL OF BALTIMORE                        1/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: ANDRE M. DAVIS, ESQ.
         BALTIMORE CITY SOLICITOR                              ACCOUNT NO.:
         100 NORTH HOLLIDAY STREET - SUITE 109                 NOT AVAILABLE
         BALTIMORE, MD 21202



3.5036   MAYOR & CITY COUNCIL OF BALTIMORE                        1/31/2018                   Opioid Matter              UNDETERMINED
         LYDIE E. GLYNN, ESQ.
         ASSISTANT SOLICITORS BALTIMORE CITY LAW               ACCOUNT NO.:
         DEPARTMENT                                            NOT AVAILABLE
         100 NORTH HOLLIDAY STREET - SUITE 101
         BALTIMORE, MD 21202



3.5037   MAYOR & CITY COUNCIL OF BALTIMORE                        5/17/2019                   Opioid Matter              UNDETERMINED
         CHANLER A. LANGHAM, ESQ.
         SUSMAN GODFREY LLP                                    ACCOUNT NO.:
         1301 AVE OF THE AMERICAS - 32ND FLOOR                 NOT AVAILABLE
         NEW YORK, NY 10019



3.5038   MAYOR & CITY COUNCIL OF BALTIMORE                        5/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: ZACH SAVAGE, ESQ.
         SUSMAN GODFREY LLP                                    ACCOUNT NO.:
         1301 AVE OF THE AMERICAS - 32ND FLOOR                 NOT AVAILABLE
         NEW YORK, NY 10019



3.5039   MAYOR & CITY COUNCIL OF BALTIMORE                        1/31/2018                   Opioid Matter              UNDETERMINED
         CITY SOLICITOR OFFICE
         SUZANNE SANGREE, ESQ.                                 ACCOUNT NO.:
         100 NORTH HOLLIDAY STREET ROOM 109 - DEPARTMENT       NOT AVAILABLE
         OF LAW
         BALTIMORE, MD 21202



3.5040   MAYOR & CITY COUNCIL OF BALTIMORE                        1/31/2018                   Opioid Matter              UNDETERMINED
         CHRISOPHER R. LUNDY, ESQ.
         SPECIAL ASSISTANT SOLICITOR                           ACCOUNT NO.:
         100 HOLLIDAY STREET - SUITE 101                       NOT AVAILABLE
         BALTIMORE, MD 21202



3.5041   MAYOR & CITY COUNCIL OF BALTIMORE                        1/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: ARUN SUBRAMANIAN, ESQ.
         SUSMAN GODFREY LLP                                    ACCOUNT NO.:
         1301 AVE OF THE AMERICAS - 32ND FLOOR                 NOT AVAILABLE
         NEW YORK, NY 10019


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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5042   MAYOR & CITY COUNCIL OF BALTIMORE                        1/31/2018                   Opioid Matter              UNDETERMINED
         BILL CARMODY, ESQ.
         SUSMAN GODFREY LLP                                    ACCOUNT NO.:
         1301 AVE OF THE AMERICAS - 32ND FLOOR                 NOT AVAILABLE
         NEW YORK, NY 10019



3.5043   MAYOR & CITY COUNCIL OF BALTIMORE                        5/29/2019                   Opioid Matter              UNDETERMINED
         JILLIAN HEWITT, ESQ.
         SUSMAN GODFREY LLP                                    ACCOUNT NO.:
         1301 AVE OF THE AMERICAS - 32ND FLOOR                 NOT AVAILABLE
         NEW YORK, NY 10019



3.5044   MAYOR CHARLES SPARKS, ON BEHALF OF THE TOWN             UNKNOWN                      Opioid Matter              UNDETERMINED
         OF KERMIT
         PAUL T. FARRELL , JR.                                 ACCOUNT NO.:
         GREENE KETCHUM FARRELL BAILEY & TWEEL                 NOT AVAILABLE
         419 ELEVENTH STREET
         HUNTINGTON, WV 25701



3.5045   MAYOR CHARLES SPARKS, ON BEHALF OF THE TOWN             UNKNOWN                      Opioid Matter              UNDETERMINED
         OF KERMIT
         LETITIA NEESE CHAFIN                                  ACCOUNT NO.:
         CHAFIN LAW FIRM                                       NOT AVAILABLE
         PO BOX 1799
         WILLIAMSON, WV 25661



3.5046   MAYOR CHARLES SPARKS, ON BEHALF OF THE TOWN             UNKNOWN                      Opioid Matter              UNDETERMINED
         OF KERMIT
         JOHN A. YANCHUNIS                                     ACCOUNT NO.:
         MORGAN & MORGAN - TAMPA                               NOT AVAILABLE
         201 NORTH FRANKLIN STREET - 7TH FLOOR
         TAMPA, FL 33602



3.5047   MAYOR CHARLES SPARKS, ON BEHALF OF THE TOWN             UNKNOWN                      Opioid Matter              UNDETERMINED
         OF KERMIT
         JAMES DENNIS YOUNG                                    ACCOUNT NO.:
         MORGAN & MORGAN - JACKSONVILLE                        NOT AVAILABLE
         76 SOUTH LAURA STREET - STE. 1100
         JACKSONVILLE, FL 32202



3.5048   MAYOR CHARLES SPARKS, ON BEHALF OF THE TOWN             UNKNOWN                      Opioid Matter              UNDETERMINED
         OF KERMIT
         HARRY F. BELL , JR.                                   ACCOUNT NO.:
         BELL LAW FIRM                                         NOT AVAILABLE
         PO BOX 1723
         CHARLESTON, WV 25301



3.5049   MAYOR CHARLES SPARKS, ON BEHALF OF THE TOWN             UNKNOWN                      Opioid Matter              UNDETERMINED
         OF KERMIT
         H. TRUMAN CHAFIN                                      ACCOUNT NO.:
         CHAFIN LAW FIRM                                       NOT AVAILABLE
         PO BOX 1799
         WILLIAMSON, WV 25661




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Code                                                 And Account Number                          Claim

Litigation

3.5050   MAYOR CHARLES SPARKS, ON BEHALF OF THE TOWN             UNKNOWN                      Opioid Matter              UNDETERMINED
         OF KERMIT
         ATTN: ANTHONY J. MAJESTRO                             ACCOUNT NO.:
         POWELL & MAJESTRO                                     NOT AVAILABLE
         405 CAPITOL STREET - STE. P1200
         CHARLESTON, WV 25301



3.5051   MAYOR CHARLES SPARKS, ON BEHALF OF THE TOWN             UNKNOWN                      Opioid Matter              UNDETERMINED
         OF KERMIT
         ATTN: MAYOR                                           ACCOUNT NO.:
         PO BOX 385                                            NOT AVAILABLE
         KERMIT, WV 25674



3.5052   MAYOR CHARLES SPARKS, ON BEHALF OF THE TOWN             UNKNOWN                      Opioid Matter              UNDETERMINED
         OF KERMIT
         MARK E. TROY                                          ACCOUNT NO.:
         TROY LAW FIRM PLLC                                    NOT AVAILABLE
         222 CAPITOL STREET - STE. 200A
         CHARLESTON, WV 25301



3.5053   MAYOR CHARLES SPARKS, ON BEHALF OF THE TOWN             UNKNOWN                      Opioid Matter              UNDETERMINED
         OF KERMIT
         PATRICK A. BARTHLE , II                               ACCOUNT NO.:
         MORGAN & MORGAN - TAMPA                               NOT AVAILABLE
         201 NORTH FRANKLIN STREET - 7TH FLOOR
         TAMPA, FL 33602



3.5054   MAYOR CHRIS TATUM ON BEHALF OF THE VILLAGE OF           12/18/2018                   Opioid Matter              UNDETERMINED
         BARBOURSVILLE
         ATTN: MAYOR, VILLAGE RECORDER, FINANCE                ACCOUNT NO.:
         DIRECTOR, AND COUNCILMEMBER                           NOT AVAILABLE
         721 CENTRAL AVENUE
         P.O. BOX 262
         BARBOURSVILLE, WV 25504



3.5055   MAYOR DAVID ADKINS, O.B.O. THE TOWN OF HAMLIN            1/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR'S OFFICE
         TOWN OF HAMLIN                                        ACCOUNT NO.:
         220 MAIN STREET                                       NOT AVAILABLE
         HAMLIN, WV 25523



3.5056   MAYOR DON E. MCCOURT, ON BEHALF OF THE TOWN OF          12/18/2018                   Opioid Matter              UNDETERMINED
         ADDISON A/K/A THE TOWN OF WEBSTER SPRINGS
         ATTN: COUNCILMEMBER                                   ACCOUNT NO.:
         TOWN OF ADDISON                                       NOT AVAILABLE
         TOWN COUNCIL - 146 MCGRAW AVENUE
         WEBSTER SPRINGS, WV 26288



3.5057   MAYOR DON E. MCCOURT, ON BEHALF OF THE TOWN OF          12/18/2018                   Opioid Matter              UNDETERMINED
         ADDISON A/K/A THE TOWN OF WEBSTER SPRINGS
         ATTN: RECORDER                                        ACCOUNT NO.:
         TOWN OF ADDISON                                       NOT AVAILABLE
         RECORDER - 146 MCGRAW AVENUE
         WEBSTER SPRINGS, WV 26288




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Code                                                 And Account Number                          Claim

Litigation

3.5058   MAYOR DON E. MCCOURT, ON BEHALF OF THE TOWN OF          12/18/2018                   Opioid Matter              UNDETERMINED
         ADDISON A/K/A THE TOWN OF WEBSTER SPRINGS
         ATTN: MAYOR                                           ACCOUNT NO.:
         TOWN OF ADDISON                                       NOT AVAILABLE
         MAYOR'S OFFICE - 146 MCGRAW AVENUE
         WEBSTER SPRINGS, WV 26288



3.5059   MAYOR FARRIS BURTON, O.B.O. THE TOWN OF WEST             1/13/2018                   Opioid Matter              UNDETERMINED
         HAMLIN
         ATTN: MAYOR'S OFFICE                                  ACCOUNT NO.:
         THE TOWN OF WEST HAMLIN                               NOT AVAILABLE
         MAYOR'S OFFICE - PO BOX 221
         WEST HAMLIN, WV 25571



3.5060   MAYOR PEGGY KNOTTS BARNEY, ON BEHALF OF THE              6/26/2019                   Opioid Matter              UNDETERMINED
         CITY OF GRAFTON
         ATTN: CITY MANAGER                                    ACCOUNT NO.:
         1 W. MAIN STREET                                      NOT AVAILABLE
         GRAFTON, WV 26354



3.5061   MAYOR PEGGY KNOTTS BARNEY, ON BEHALF OF THE              6/26/2019                   Opioid Matter              UNDETERMINED
         CITY OF GRAFTON
         ATTN: CITY CLERK                                      ACCOUNT NO.:
         1 W. MAIN STREET                                      NOT AVAILABLE
         GRAFTON, WV 26354



3.5062   MAYOR PEGGY KNOTTS BARNEY, ON BEHALF OF THE              6/26/2019                   Opioid Matter              UNDETERMINED
         CITY OF GRAFTON
         ATTN: CITY COUNCILOR                                  ACCOUNT NO.:
         1 W. MAIN STREET                                      NOT AVAILABLE
         GRAFTON, WV 26354



3.5063   MAYOR PEGGY KNOTTS BARNEY, ON BEHALF OF THE              6/26/2019                   Opioid Matter              UNDETERMINED
         CITY OF GRAFTON
         ATTN: CITY MANAGER                                    ACCOUNT NO.:
         1 W. MAIN STREET                                      NOT AVAILABLE
         GRAFTON, WV 26354



3.5064   MAYOR PHILIP BOWERS, ON BEHALF OF THE CITY OF            6/26/2019                   Opioid Matter              UNDETERMINED
         PHILIPPI
         ATTN: MAYOR, COUNCILMEMBER, AND CLERK                 ACCOUNT NO.:
         P.O. BOX 460                                          NOT AVAILABLE
         344 SOUTH MAIN STREET
         PHILIPPI, WV 26416



3.5065   MAYOR PHILIP BOWERS, ON BEHALF OF THE CITY OF            6/26/2019                   Opioid Matter              UNDETERMINED
         PHILIPPI
         ATTN: CITY MANAGER                                    ACCOUNT NO.:
         P.O. BOX 460                                          NOT AVAILABLE
         344 SOUTH MAIN STREET
         PHILIPPI, WV 26416




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5066   MAYOR RAAIMIE BARKER, ON BEHALF OF THE TOWN OF          UNKNOWN                      Opioid Matter              UNDETERMINED
         CHAPMANVILLE
         HARRY F. BELL , JR.                                   ACCOUNT NO.:
         BELL LAW FIRM                                         NOT AVAILABLE
         PO BOX 1723
         CHARLESTON, WV 25301



3.5067   MAYOR RAAIMIE BARKER, ON BEHALF OF THE TOWN OF          UNKNOWN                      Opioid Matter              UNDETERMINED
         CHAPMANVILLE
         ATTN: MAYOR                                           ACCOUNT NO.:
         68 BOISE STREET                                       NOT AVAILABLE
         CHAPMANVILLE, WV 25508



3.5068   MAYOR RAAIMIE BARKER, ON BEHALF OF THE TOWN OF          UNKNOWN                      Opioid Matter              UNDETERMINED
         CHAPMANVILLE
         JAMES DENNIS YOUNG                                    ACCOUNT NO.:
         MORGAN & MORGAN - JACKSONVILLE                        NOT AVAILABLE
         76 SOUTH LAURA STREET - STE. 1100
         JACKSONVILLE, FL 32202



3.5069   MAYOR RAAIMIE BARKER, ON BEHALF OF THE TOWN OF          UNKNOWN                      Opioid Matter              UNDETERMINED
         CHAPMANVILLE
         JOHN A. YANCHUNIS                                     ACCOUNT NO.:
         MORGAN & MORGAN - TAMPA                               NOT AVAILABLE
         201 NORTH FRANKLIN STREET - 7TH FLOOR
         TAMPA, FL 33602



3.5070   MAYOR RAAIMIE BARKER, ON BEHALF OF THE TOWN OF          UNKNOWN                      Opioid Matter              UNDETERMINED
         CHAPMANVILLE
         LETITIA NEESE CHAFIN                                  ACCOUNT NO.:
         CHAFIN LAW FIRM                                       NOT AVAILABLE
         PO BOX 1799
         WILLIAMSON, WV 25661



3.5071   MAYOR RAAIMIE BARKER, ON BEHALF OF THE TOWN OF          UNKNOWN                      Opioid Matter              UNDETERMINED
         CHAPMANVILLE
         MARK E. TROY                                          ACCOUNT NO.:
         TROY LAW FIRM PLLC                                    NOT AVAILABLE
         222 CAPITOL STREET - STE. 200A
         CHARLESTON, WV 25301



3.5072   MAYOR RAAIMIE BARKER, ON BEHALF OF THE TOWN OF          UNKNOWN                      Opioid Matter              UNDETERMINED
         CHAPMANVILLE
         PATRICK A. BARTHLE , II                               ACCOUNT NO.:
         MORGAN & MORGAN - TAMPA                               NOT AVAILABLE
         201 NORTH FRANKLIN STREET - 7TH FLOOR
         TAMPA, FL 33602



3.5073   MAYOR RAAIMIE BARKER, ON BEHALF OF THE TOWN OF          UNKNOWN                      Opioid Matter              UNDETERMINED
         CHAPMANVILLE
         H. TRUMAN CHAFIN                                      ACCOUNT NO.:
         CHAFIN LAW FIRM                                       NOT AVAILABLE
         PO BOX 1799
         WILLIAMSON, WV 25661




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5074   MAYOR REBA HONAKER, ON BEHALF OF THE CITY OF            UNKNOWN                      Opioid Matter              UNDETERMINED
         WELCH
         PATRICK A. BARTHLE , II                               ACCOUNT NO.:
         MORGAN & MORGAN - TAMPA                               NOT AVAILABLE
         201 NORTH FRANKLIN STREET - 7TH FLOOR
         TAMPA, FL 33602



3.5075   MAYOR REBA HONAKER, ON BEHALF OF THE CITY OF            UNKNOWN                      Opioid Matter              UNDETERMINED
         WELCH
         MARK E. TROY                                          ACCOUNT NO.:
         TROY LAW FIRM PLLC                                    NOT AVAILABLE
         222 CAPITOL STREET - STE. 200A
         CHARLESTON, WV 25301



3.5076   MAYOR REBA HONAKER, ON BEHALF OF THE CITY OF            UNKNOWN                      Opioid Matter              UNDETERMINED
         WELCH
         ATTN: MAYOR                                           ACCOUNT NO.:
         88 HOWARD STREET                                      NOT AVAILABLE
         WELCH, WV 24801



3.5077   MAYOR REBA HONAKER, ON BEHALF OF THE CITY OF            UNKNOWN                      Opioid Matter              UNDETERMINED
         WELCH
         H. TRUMAN CHAFIN                                      ACCOUNT NO.:
         CHAFIN LAW FIRM                                       NOT AVAILABLE
         PO BOX 1799
         WILLIAMSON, WV 25661



3.5078   MAYOR REBA HONAKER, ON BEHALF OF THE CITY OF            UNKNOWN                      Opioid Matter              UNDETERMINED
         WELCH
         HARRY F. BELL , JR.                                   ACCOUNT NO.:
         BELL LAW FIRM                                         NOT AVAILABLE
         PO BOX 1723
         CHARLESTON, WV 25301



3.5079   MAYOR REBA HONAKER, ON BEHALF OF THE CITY OF            UNKNOWN                      Opioid Matter              UNDETERMINED
         WELCH
         JAMES DENNIS YOUNG                                    ACCOUNT NO.:
         MORGAN & MORGAN - JACKSONVILLE                        NOT AVAILABLE
         76 SOUTH LAURA STREET - STE. 1100
         JACKSONVILLE, FL 32202



3.5080   MAYOR REBA HONAKER, ON BEHALF OF THE CITY OF            UNKNOWN                      Opioid Matter              UNDETERMINED
         WELCH
         JOHN A. YANCHUNIS                                     ACCOUNT NO.:
         MORGAN & MORGAN - TAMPA                               NOT AVAILABLE
         201 NORTH FRANKLIN STREET - 7TH FLOOR
         TAMPA, FL 33602



3.5081   MAYOR REBA HONAKER, ON BEHALF OF THE CITY OF            UNKNOWN                      Opioid Matter              UNDETERMINED
         WELCH
         LETITIA NEESE CHAFIN                                  ACCOUNT NO.:
         CHAFIN LAW FIRM                                       NOT AVAILABLE
         PO BOX 1799
         WILLIAMSON, WV 25661




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5082   MAYOR ROBERT CARLTON, ON BEHALF OF THE CITY OF          UNKNOWN                      Opioid Matter              UNDETERMINED
         WILLIAMSON
         PATRICK A. BARTHLE , II                               ACCOUNT NO.:
         MORGAN & MORGAN - TAMPA                               NOT AVAILABLE
         201 NORTH FRANKLIN STREET - 7TH FLOOR
         TAMPA, FL 33602



3.5083   MAYOR ROBERT CARLTON, ON BEHALF OF THE CITY OF          UNKNOWN                      Opioid Matter              UNDETERMINED
         WILLIAMSON
         PAUL T. FARRELL , JR.                                 ACCOUNT NO.:
         GREENE KETCHUM FARRELL BAILEY & TWEEL                 NOT AVAILABLE
         419 ELEVENTH STREET
         HUNTINGTON, WV 25701



3.5084   MAYOR ROBERT CARLTON, ON BEHALF OF THE CITY OF          UNKNOWN                      Opioid Matter              UNDETERMINED
         WILLIAMSON
         ATTN: MAYOR                                           ACCOUNT NO.:
         107 EAST 4TH AVENUE                                   NOT AVAILABLE
         WILLIAMSON, WV 25661



3.5085   MAYOR ROBERT CARLTON, ON BEHALF OF THE CITY OF          UNKNOWN                      Opioid Matter              UNDETERMINED
         WILLIAMSON
         ATTN: ANTHONY J. MAJESTRO                             ACCOUNT NO.:
         POWELL & MAJESTRO                                     NOT AVAILABLE
         405 CAPITOL STREET - STE. P1200
         CHARLESTON, WV 25301



3.5086   MAYOR ROBERT CARLTON, ON BEHALF OF THE CITY OF          UNKNOWN                      Opioid Matter              UNDETERMINED
         WILLIAMSON
         H. TRUMAN CHAFIN                                      ACCOUNT NO.:
         CHAFIN LAW FIRM                                       NOT AVAILABLE
         PO BOX 1799
         WILLIAMSON, WV 25661



3.5087   MAYOR ROBERT CARLTON, ON BEHALF OF THE CITY OF          UNKNOWN                      Opioid Matter              UNDETERMINED
         WILLIAMSON
         LETITIA NEESE CHAFIN                                  ACCOUNT NO.:
         CHAFIN LAW FIRM                                       NOT AVAILABLE
         PO BOX 1799
         WILLIAMSON, WV 25661



3.5088   MAYOR ROBERT CARLTON, ON BEHALF OF THE CITY OF          UNKNOWN                      Opioid Matter              UNDETERMINED
         WILLIAMSON
         HARRY F. BELL , JR.                                   ACCOUNT NO.:
         BELL LAW FIRM                                         NOT AVAILABLE
         PO BOX 1723
         CHARLESTON, WV 25301



3.5089   MAYOR ROBERT CARLTON, ON BEHALF OF THE CITY OF          UNKNOWN                      Opioid Matter              UNDETERMINED
         WILLIAMSON
         JAMES DENNIS YOUNG                                    ACCOUNT NO.:
         MORGAN & MORGAN - JACKSONVILLE                        NOT AVAILABLE
         76 SOUTH LAURA STREET - STE. 1100
         JACKSONVILLE, FL 32202




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5090   MAYOR ROBERT CARLTON, ON BEHALF OF THE CITY OF          UNKNOWN                      Opioid Matter              UNDETERMINED
         WILLIAMSON
         JOHN A. YANCHUNIS                                     ACCOUNT NO.:
         MORGAN & MORGAN - TAMPA                               NOT AVAILABLE
         201 NORTH FRANKLIN STREET - 7TH FLOOR
         TAMPA, FL 33602



3.5091   MAYOR ROBERT CARLTON, ON BEHALF OF THE CITY OF          UNKNOWN                      Opioid Matter              UNDETERMINED
         WILLIAMSON
         MARK E. TROY                                          ACCOUNT NO.:
         TROY LAW FIRM PLLC                                    NOT AVAILABLE
         222 CAPITOL STREET - STE. 200A
         CHARLESTON, WV 25301



3.5092   MAYOR VIVIAN LIVINGGOOD, ON BEHALF OF THE TOWN          UNKNOWN                      Opioid Matter              UNDETERMINED
         OF GILBERT
         HARRY F. BELL , JR.                                   ACCOUNT NO.:
         BELL LAW FIRM                                         NOT AVAILABLE
         PO BOX 1723
         CHARLESTON, WV 25301



3.5093   MAYOR VIVIAN LIVINGGOOD, ON BEHALF OF THE TOWN          UNKNOWN                      Opioid Matter              UNDETERMINED
         OF GILBERT
         JAMES DENNIS YOUNG                                    ACCOUNT NO.:
         MORGAN & MORGAN - JACKSONVILLE                        NOT AVAILABLE
         76 SOUTH LAURA STREET - STE. 1100
         JACKSONVILLE, FL 32202



3.5094   MAYOR VIVIAN LIVINGGOOD, ON BEHALF OF THE TOWN          UNKNOWN                      Opioid Matter              UNDETERMINED
         OF GILBERT
         PATRICK A. BARTHLE , II                               ACCOUNT NO.:
         MORGAN & MORGAN - TAMPA                               NOT AVAILABLE
         201 NORTH FRANKLIN STREET - 7TH FLOOR
         TAMPA, FL 33602



3.5095   MAYOR VIVIAN LIVINGGOOD, ON BEHALF OF THE TOWN          UNKNOWN                      Opioid Matter              UNDETERMINED
         OF GILBERT
         H. TRUMAN CHAFIN                                      ACCOUNT NO.:
         CHAFIN LAW FIRM                                       NOT AVAILABLE
         PO BOX 1799
         WILLIAMSON, WV 25661



3.5096   MAYOR VIVIAN LIVINGGOOD, ON BEHALF OF THE TOWN          UNKNOWN                      Opioid Matter              UNDETERMINED
         OF GILBERT
         JOHN A. YANCHUNIS                                     ACCOUNT NO.:
         MORGAN & MORGAN - TAMPA                               NOT AVAILABLE
         201 NORTH FRANKLIN STREET - 7TH FLOOR
         TAMPA, FL 33602



3.5097   MAYOR VIVIAN LIVINGGOOD, ON BEHALF OF THE TOWN          UNKNOWN                      Opioid Matter              UNDETERMINED
         OF GILBERT
         LETITIA NEESE CHAFIN                                  ACCOUNT NO.:
         CHAFIN LAW FIRM                                       NOT AVAILABLE
         PO BOX 1799
         WILLIAMSON, WV 25661




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5098   MAYOR VIVIAN LIVINGGOOD, ON BEHALF OF THE TOWN          UNKNOWN                      Opioid Matter              UNDETERMINED
         OF GILBERT
         MARK E. TROY                                          ACCOUNT NO.:
         TROY LAW FIRM PLLC                                    NOT AVAILABLE
         222 CAPITOL STREET - STE. 200A
         CHARLESTON, WV 25301



3.5099   MAYOR VIVIAN LIVINGGOOD, ON BEHALF OF THE TOWN          UNKNOWN                      Opioid Matter              UNDETERMINED
         OF GILBERT
         ATTN: MAYOR                                           ACCOUNT NO.:
         PO BOX 188                                            NOT AVAILABLE
         5 WHARNCLIFFE AVENUE
         GILBERT, WV 25621



3.5100   MCDOWELL COUNTY, NC                                      4/17/2018                   Opioid Matter              UNDETERMINED
         100 SPAULDING ROAD
         SUITE 1                                               ACCOUNT NO.:
         MARION, NC 28752                                      NOT AVAILABLE



3.5101   MCDOWELL COUNTY, NC                                      4/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS; CLERK TO THE BOARD
         60 EAST COURT STREET                                  ACCOUNT NO.:
         MARION, NC 28752                                      NOT AVAILABLE



3.5102   MCDUFFIE COUNTY, GEORGIA                                 4/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN BOARD OF COMMISSIONERS
         MCDUFFIE COUNTY BOARD OF COMMISSIONERS                ACCOUNT NO.:
         210 RAILROAD ST                                       NOT AVAILABLE
         THOMSON, GA 30824-2737



3.5103   MCINTOSH COUNTY, GEORGIA                                 3/25/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         COUNTY COMMISSION OFFICE                              ACCOUNT NO.:
         1200 NORTH WAY                                        NOT AVAILABLE
         DARIEN, GA 31305



3.5104   MCKENZIE COUNTY                                          6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: BOARD OF COMMISSIONERS
         201 5TH STREET NORTHWEST                              ACCOUNT NO.:
         SUITE 543                                             NOT AVAILABLE
         WATFORD CITY, ND 58854



3.5105   MCLEAN COUNTY                                            6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE COUNTY BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         712 5TH AVENUE                                        NOT AVAILABLE
         P.O. BOX 1108
         WASHBURN, ND 58577



3.5106   MCLEOD COUNTY                                            5/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY BOARD MEMBER AND COUNTY AUDITOR
         MCLEOD COUNTY AUDITOR-TREASURER'S OFFICE              ACCOUNT NO.:
         2391 HENNEPIN AVE N                                   NOT AVAILABLE
         GLENCOE, MN 55336



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Code                                                 And Account Number                          Claim

Litigation

3.5107   MCMINN COUNTY                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         6 EAST MADISON AVENUE                                 ACCOUNT NO.:
         ATHENS, TN 37303                                      NOT AVAILABLE



3.5108   MCMINN COUNTY                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         9 EAST MADISON AVENUE                                 ACCOUNT NO.:
         ATHENS, TN 37303                                      NOT AVAILABLE



3.5109   MECHELLE GAUTHIER, INDIVIDUALLY AND AS NEXT              6/18/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY B.L.
         ATTN: SCOTT R. BICKFORD                               ACCOUNT NO.:
         MARTZELL, BICKFORD & CENTOLA                          NOT AVAILABLE
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.5110   MECHELLE GAUTHIER, INDIVIDUALLY AND AS NEXT              6/18/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY B.L.
         ATTN: KEVIN W. THOMPSON                               ACCOUNT NO.:
         THOMPSON BARNEY LAW FIRM                              NOT AVAILABLE
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311



3.5111   MECHELLE GAUTHIER, INDIVIDUALLY AND AS NEXT              6/18/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY B.L.
         ATTN: SPENCER R. DOODY                                ACCOUNT NO.:
         MARTZELL, BICKFORD & CENTOLA                          NOT AVAILABLE
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.5112   MECHELLE GAUTHIER, INDIVIDUALLY AND AS NEXT              6/18/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY B.L.
         ATTN: STEPHEN WUSSOW                                  ACCOUNT NO.:
         COOPER LAW FIRM                                       NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.5113   MECHELLE GAUTHIER, INDIVIDUALLY AND AS NEXT              6/18/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY B.L.
         ATTN: KENT HARRISON ROBBINS                           ACCOUNT NO.:
         THE LAW OFFICE OF KENT HARRISON ROBBINS, P.A.         NOT AVAILABLE
         242 NORTHEAST 27TH STREET
         MIAMI, FL 33137



3.5114   MECHELLE GAUTHIER, INDIVIDUALLY AND AS NEXT              6/18/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY B.L.
         ATTN: CELESTE BRUSTOWICZ, STEPHEN H. WUSSOW           ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                  NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130




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Code                                                 And Account Number                          Claim

Litigation

3.5115   MECHELLE GAUTHIER, INDIVIDUALLY AND AS NEXT              6/18/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY B.L.
         ATTN: DONALD E. CREADORE                              ACCOUNT NO.:
         CREADOR LAW FIRM                                      NOT AVAILABLE
         450 SEVENTH AVENUE - SUITE 1408
         NEW YORK, NY 10123



3.5116   MECHOOPDA INDIAN TRIBE OF CHICO RANCHERIA                6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: TRIBAL COUNCIL CHAIRPERSON & CHIEF
         EXECUTIVE OFFICER                                     ACCOUNT NO.:
         125 MISSION RANCH BOULEVARD                           NOT AVAILABLE
         CHICO, CA 95926



3.5117   MECKLENBURG COUNTY                                       2/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF COUNTY COMMISSIONERS; COUNTY
         MANAGER                                               ACCOUNT NO.:
         600 EAST 4TH STREET                                   NOT AVAILABLE
         CHARLOTTE, NC 28202



3.5118   MECKLENBURG COUNTY, VIRGINIA                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         P.O. BOX 580                                          ACCOUNT NO.:
         LAWRENCEVILLE, VA 23868                               NOT AVAILABLE



3.5119   MECKLENBURG COUNTY, VIRGINIA                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF SUPERVISORS
         P.O. BOX 729                                          ACCOUNT NO.:
         SOUTH HILL, VA 23970                                  NOT AVAILABLE



3.5120   MECKLENBURG COUNTY, VIRGINIA                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY ADMINISTRATOR
         P.O. BOX 307                                          ACCOUNT NO.:
         350 WASHINGTON STREET                                 NOT AVAILABLE
         BOYDTON, VA 23917



3.5121   MECKLENBURG COUNTY, VIRGINIA                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COMMONWEALTH ATTORNEY
         393 WASHINGTON STREET                                 ACCOUNT NO.:
         P.O. BOX 7                                            NOT AVAILABLE
         BOYDTON, VA 23917



3.5122   MECKLENBURG COUNTY, VIRGINIA                            UNKNOWN                      Opioid Matter              UNDETERMINED
         SABA BIREDA
         SANFORD HEISLER SHARP, LLC                            ACCOUNT NO.:
         611 COMMERCE STREET - SUITE 3100                      NOT AVAILABLE
         NASHVILLE, TN 37203



3.5123   MECKLENBURG COUNTY, VIRGINIA                            UNKNOWN                      Opioid Matter              UNDETERMINED
         GRANT MORRIS
         SANFORD HEISLER SHARP, LLC                            ACCOUNT NO.:
         611 COMMERCE STREET - SUITE 3100                      NOT AVAILABLE
         NASHVILLE, TN 37203




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Code                                                 And Account Number                          Claim

Litigation

3.5124   MECKLENBURG COUNTY, VIRGINIA                            UNKNOWN                      Opioid Matter              UNDETERMINED
         KEVIN SHARP
         SANFORD HEISLER SHARP, LLC                            ACCOUNT NO.:
         611 COMMERCE STREET - SUITE 3100                      NOT AVAILABLE
         NASHVILLE, TN 37203



3.5125   MECKLENBURG COUNTY, VIRGINIA                            UNKNOWN                      Opioid Matter              UNDETERMINED
         R. JOHAN CONROD, JR.
         KAUFMAN CANOLES, P.C.                                 ACCOUNT NO.:
         150 WEST MAIN STREET - SUITE 2100                     NOT AVAILABLE
         NORFOLK, VA 23510



3.5126   MECKLENBURG COUNTY, VIRGINIA                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ROSS BROOKS
         SANFORD HEISLER SHARP, LLC                            ACCOUNT NO.:
         611 COMMERCE STREET - SUITE 3100                      NOT AVAILABLE
         NASHVILLE, TN 37203



3.5127   MECKLENBURG COUNTY, VIRGINIA                            UNKNOWN                      Opioid Matter              UNDETERMINED
         LAUREN TALLENT ROGERS
         KAUFMAN CANOLES, P.C.                                 ACCOUNT NO.:
         150 WEST MAIN STREET - SUITE 2100                     NOT AVAILABLE
         NORFOLK, VA 23510



3.5128   MECKLENBURG COUNTY, VIRGINIA                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: ANDREW MILLER
         SANFORD HEISLER SHARP, LLC                            ACCOUNT NO.:
         611 COMMERCE STREET - SUITE 3100                      NOT AVAILABLE
         NASHVILLE, TN 37203



3.5129   MECKLENBURG COUNTY, VIRGINIA                            UNKNOWN                      Opioid Matter              UNDETERMINED
         JOANNE CICALA
         THE CICALA LAW FIRM PLLC                              ACCOUNT NO.:
         101 COLLEGE STREET                                    NOT AVAILABLE
         DRIPPING SPRINGS, TX 78620



3.5130   MECKLENBURG COUNTY, VIRGINIA                            UNKNOWN                      Opioid Matter              UNDETERMINED
         W. EDGAR SPIVEY
         KAUFMAN CANOLES, P.C.                                 ACCOUNT NO.:
         150 WEST MAIN STREET - SUITE 2100                     NOT AVAILABLE
         NORFOLK, VA 23510



3.5131   MECKLENBURG COUNTY, VIRGINIA                            UNKNOWN                      Opioid Matter              UNDETERMINED
         PATRICK H. O'DONNELL
         KAUFMAN CANOLES, P.C.                                 ACCOUNT NO.:
         150 WEST MAIN STREET - SUITE 2100                     NOT AVAILABLE
         NORFOLK, VA 23510



3.5132   MEDICAL MUTUAL OF OHIO                                   3/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         CT CORPORATION SYSTEM                                 ACCOUNT NO.:
         4400 EASTON COMMONS WAY - SUITE 125                   NOT AVAILABLE
         COLUMBUS, OH 43219




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Code                                                 And Account Number                          Claim

Litigation

3.5133   MEDICAL MUTUAL OF OHIO                                   3/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, PRESIDENT AND CHIEF EXECUTIVE
         OFFICER                                               ACCOUNT NO.:
         MEDICAL MUTUAL                                        NOT AVAILABLE
         2060 EAST 9TH STREET
         CLEVELAND, OH 44115



3.5134   MEDICAL MUTUAL OF OHIO                                   3/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         SECRETARY OF STATE'S OFFICE                           ACCOUNT NO.:
         180 EAST BROAD STREET - 16TH FLOOR                    NOT AVAILABLE
         COLUMBUS, OH 43215



3.5135   MEDICAL WEST HOSPITAL AUTHORITY, AND AFFILIATE           9/3/2019                    Opioid Matter              UNDETERMINED
         OF UAB HEALTH SYSTEM
         ATTN: OFFICER, MANAGER OR PARTNER                     ACCOUNT NO.:
         995 9TH AVENUE SOUTHWEST                              NOT AVAILABLE
         BESSEMER, AL 35022



3.5136   MEDICAL WEST HOSPITAL AUTHORITY, AND AFFILIATE           9/3/2019                    Opioid Matter              UNDETERMINED
         OF UAB HEALTH SYSTEM
         ATTN: REGISTERED AGENT                                ACCOUNT NO.:
         701 20TH STREET SOUTH                                 NOT AVAILABLE
         SUITE 820
         BIRMINGHAM, AL 35233



3.5137   MEEKER COUNTY                                            5/6/2019                    Opioid Matter              UNDETERMINED
         325 SIBLEY AVENUE N
         COURTHOUSE, LEVEL 4                                   ACCOUNT NO.:
         LITCHFIELD, MN 55355                                  NOT AVAILABLE



3.5138   MEEKER COUNTY                                            5/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY BOARD CHAIR
         325 SIBLEY AVENUE N                                   ACCOUNT NO.:
         LITCHFIELD, MN 55355                                  NOT AVAILABLE



3.5139   MEGHAN LARA                                              6/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: CELESTE BRUSTOWICZ
         COOPER LAW FIRM, LLC                                  ACCOUNT NO.:
         1525 RELIGIOUS STREET                                 NOT AVAILABLE
         NEW ORLEANS, LA 70130



3.5140   MEIGS COUNTY                                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         PO BOX 218                                            ACCOUNT NO.:
         DECATUR, TN 37322                                     NOT AVAILABLE



3.5141   MEIGS COUNTY                                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         316 NORTH ATHENS STREET                               ACCOUNT NO.:
         ATHENS, TN 37303                                      NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5142   MEIGS COUNTY                                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY MAYOR
         17214 STATE HIGHWAY 58 NORTH                          ACCOUNT NO.:
         DECATUR, TN 37322                                     NOT AVAILABLE



3.5143   MEIGS COUNTY, OHIO                                       11/8/2018                   Opioid Matter              UNDETERMINED
         ATTN: PROSECUTING ATTORNEY
         PROSECUTING ATTORNEY'S OFFICE                         ACCOUNT NO.:
         117 WEST 2ND STREET                                   NOT AVAILABLE
         POMEROY, OH 45769



3.5144   MEIGS COUNTY, OHIO                                       11/8/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF BOARD OF COMMISSIONERS
         100 EAST SECOND ST                                    ACCOUNT NO.:
         POMEROY, OH 45769                                     NOT AVAILABLE



3.5145   MELANIE MASSEY, INDIVIDUALLY AND AS NEXT FRIEND          6/18/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABIES S.L.M. AND K.D.R.
         ATTN: STEPHEN H. WUSSOW                               ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                  NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.5146   MELBA ALEXANDER, INDIVIDUALLY AND AS NEXT                6/17/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY B.H.R.
         ATTN: DAVID R. BARNEY, JR.                            ACCOUNT NO.:
         THOMPSON BARNEY LAW FIRM                              NOT AVAILABLE
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311



3.5147   MELBA ALEXANDER, INDIVIDUALLY AND AS NEXT                6/17/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY B.H.R.
         ATTN: STEPHEN WUSSOW                                  ACCOUNT NO.:
         COOPER LAW FIRM                                       NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.5148   MELBA ALEXANDER, INDIVIDUALLY AND AS NEXT                6/17/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY B.H.R.
         ATTN: SPENCER R. DOODY                                ACCOUNT NO.:
         MARTZELL, BICKFORD & CENTOLA                          NOT AVAILABLE
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.5149   MELBA ALEXANDER, INDIVIDUALLY AND AS NEXT                6/17/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY B.H.R.
         ATTN: KEVIN THOMPSON                                  ACCOUNT NO.:
         THOMPSON BARNEY LAW FIRM                              NOT AVAILABLE
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311




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Code                                                            And Account Number                        Claim

Litigation

3.5150   MELBA ALEXANDER, INDIVIDUALLY AND AS NEXT                           6/17/2019                 Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY B.H.R.
         ATTN: SCOTT R. BICKFORD                                           ACCOUNT NO.:
         MARTZELL, BICKFORD & CENTOLA                                      NOT AVAILABLE
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.5151   MELBA ALEXANDER, INDIVIDUALLY AND AS NEXT                           6/17/2019                 Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY B.H.R.
         ATTN: KENT HARRISON ROBBINS                                       ACCOUNT NO.:
         242 NORTHEAST 27TH STREET                                         NOT AVAILABLE
         MIAMI, FL 33137



3.5152   MELBA ALEXANDER, INDIVIDUALLY AND AS NEXT                           6/17/2019                 Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY B.H.R.
         ATTN: CELESTE BRUSTOWICZ, STEPHEN H. WUSSOW                       ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                              NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.5153   MELBA ALEXANDER, INDIVIDUALLY AND AS NEXT                           6/17/2019                 Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY B.H.R.
         ATTN: DONALD E. CREADORE                                          ACCOUNT NO.:
         CREADOR LAW FIRM                                                  NOT AVAILABLE
         450 SEVENTH AVENUE - SUITE 1408
         NEW YORK, NY 10123



3.5154   MELBA ALEXANDER, INDIVIDUALLY AND AS NEXT                           6/17/2019                 Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY B.H.R.
         ATTN: KEVIN W. THOMPSON, DAVID R. BARNEY, JR.                     ACCOUNT NO.:
         THOMPSON BARNEY LAW FIRM                                          NOT AVAILABLE
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311



3.5155   MELBA ALEXANDER, INDIVIDUALLY AND AS NEXT                           6/17/2019                 Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY B.H.R.
         ATTN: SPENCER R. DOODY                                            ACCOUNT NO.:
         MARTZELL, BICKFORD, & CENTOLA                                     NOT AVAILABLE
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.5156   MELISSA AMBROSIO, INDIVIDUALLY AND AS NEXT                          3/16/2018                 Opioid Matter              UNDETERMINED
         FRIEND OF BABY G.A., ON BEHALF OF THEMSELVES AND
         ALL OTHERS SIMILARLY SITUATED                                     ACCOUNT NO.:
         ATTN: BARRY J. COOPER                                             NOT AVAILABLE
         COOPER LAW FIRM
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.5157   Melissa Ambrosio, individually and as next friend of Baby G.A.,     3/16/2018                 Opioid Matter              UNDETERMINED
         on behalf of themselves and all others similarly situated
         Attn: Celeste Brustowicz, Barry James Cooper, Jr., Stephen H.     ACCOUNT NO.:
         Wussow, Victor T. Cobb                                            NOT AVAILABLE
         Cooper Law Firm, LLC
         1525 Religious Street
         New Orleans, LA 70130



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Code                                                 And Account Number                          Claim

Litigation

3.5158   MELISSA AMBROSIO, INDIVIDUALLY AND AS NEXT               3/16/2018                   Opioid Matter              UNDETERMINED
         FRIEND OF BABY G.A., ON BEHALF OF THEMSELVES AND
         ALL OTHERS SIMILARLY SITUATED                         ACCOUNT NO.:
         ATTN: KEVIN W. THOMPSON, DAVID R. BARNEY, JR.         NOT AVAILABLE
         THOMPSON BARNEY LAW FIRM
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311



3.5159   MELISSA AMBROSIO, INDIVIDUALLY AND AS NEXT               3/16/2018                   Opioid Matter              UNDETERMINED
         FRIEND OF BABY G.A., ON BEHALF OF THEMSELVES AND
         ALL OTHERS SIMILARLY SITUATED                         ACCOUNT NO.:
         ATTN: KEVIN W. THOMPSON                               NOT AVAILABLE
         THOMPSON BARNEY LAW FIRM
         2030 KANAWHA BOULEVARD EAST
         CHARLESTON, WV 25311



3.5160   MELISSA AMBROSIO, INDIVIDUALLY AND AS NEXT               3/16/2018                   Opioid Matter              UNDETERMINED
         FRIEND OF BABY G.A., ON BEHALF OF THEMSELVES AND
         ALL OTHERS SIMILARLY SITUATED                         ACCOUNT NO.:
         ATTN: STEPHEN H. WUSSOW                               NOT AVAILABLE
         COOPER LAW FIRM
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.5161   MELISSA AMBROSIO, INDIVIDUALLY AND AS NEXT               3/16/2018                   Opioid Matter              UNDETERMINED
         FRIEND OF BABY G.A., ON BEHALF OF THEMSELVES AND
         ALL OTHERS SIMILARLY SITUATED                         ACCOUNT NO.:
         ATTN: VICTOR COBB                                     NOT AVAILABLE
         COOPER LAW FIRM
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.5162   MENNONITE GENERAL HOSPITAL, INC.                         3/4/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER AND CHIEF
         OPERATING OFFICER AND FINANCIAL DIRECTOR              ACCOUNT NO.:
         CALLE JOSE C VAZQUEZ                                  NOT AVAILABLE
         AIBONITO, PR 00705



3.5163   MENNONITE GENERAL HOSPITAL, INC.                         3/4/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER AND CHIEF
         OPERATING OFFICER AND FINACE DIRECTOR                 ACCOUNT NO.:
         CALLE JOSE C VAZQUEZ                                  NOT AVAILABLE
         AIBONITO, PR 00705



3.5164   MENNONITE GENERAL HOSPITAL, INC.                         3/4/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER, CHIEF OPERATING
         OFFICER, FINANCIAL DIRECTOR, AND RESIDENT AGENT       ACCOUNT NO.:
         PO BOX 1379                                           NOT AVAILABLE
         AIBONITO, PR 00705-1379



3.5165   MENOMINEE COUNTY                                         3/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIR AND CLERK OF THE COUNTY AND TOWN
         BOARD OF SUPERVISORS                                  ACCOUNT NO.:
         PO BOX 279                                            NOT AVAILABLE
         KESHENA, WI 54135-0279




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Code                                                 And Account Number                          Claim

Litigation

3.5166   MENOMINEE COUNTY                                         3/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIR AND CLERK OF THE COUNTY AND TOWN
         BOARD OF SUPERVISORS                                  ACCOUNT NO.:
         W3269 COURTHOUSE LANE                                 NOT AVAILABLE
         KESHENA, WI 54135-0279



3.5167   MENTAL HEALTH & RECOVERY SERVICES BOARD OF              12/19/2018                   Opioid Matter              UNDETERMINED
         ALLEN, AUGLAIZE AND HARDIN COUNTIES
         ATTN: BOARD OF DIRECTORS AND EXECUTIVE                ACCOUNT NO.:
         DIRECTOR AND CHIEF OPERATING OFFICER                  NOT AVAILABLE
         529 SOUTH ELIZABETH STREET
         LIMA, OH 45804



3.5168   MENTAL HEALTH & RECOVERY SERVICES BOARD OF              10/23/2018                   Opioid Matter              UNDETERMINED
         LUCAS COUNTY
         ATTN: CHAIR, SECRETARY                                ACCOUNT NO.:
         701 ADAMS STREET                                      NOT AVAILABLE
         SUITE 800
         TOLEDO, OH 43604



3.5169   MENTAL HEALTH & RECOVERY SERVICES BOARD OF              10/23/2018                   Opioid Matter              UNDETERMINED
         LUCAS COUNTY
         1 GOVERNMENT CENTER                                   ACCOUNT NO.:
         TOLEDO, OH 43604                                      NOT AVAILABLE



3.5170   MENTAL HEALTH & RECOVERY SERVICES BOARD OF              10/23/2018                   Opioid Matter              UNDETERMINED
         LUCAS COUNTY
         711 ADAMS STREET                                      ACCOUNT NO.:
         2ND FLOOR                                             NOT AVAILABLE
         TOLEDO, OH 43604



3.5171   MERCER COUNTY                                            6/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, MERCER COUNTY COMMISSIONERS
         MERCER COUNTY COURTHOUSE                              ACCOUNT NO.:
         MERCER, PA 16137                                      NOT AVAILABLE



3.5172   MERCER COUNTY                                            6/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, MERCER COUNTY COMMISSIONERS
         112 MERCER COUNTY COURTHOUSE                          ACCOUNT NO.:
         MERCER, PA 16137                                      NOT AVAILABLE



3.5173   MERCER COUNTY                                            6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE COUNTY BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         PO BOX 39                                             NOT AVAILABLE
         STANTON, ND 58571?0039



3.5174   MERCER COUNTY BOARD OF COUNTY COMMISSIONERS              9/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: BOARD OF COUNTY COMMISSIONERS
         CENTRAL SERVICE BUILDING                              ACCOUNT NO.:
         220 WEST LIVINGSTON STREET - ROOM A201                NOT AVAILABLE
         CELINA, OH 45822




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Code                                                 And Account Number                          Claim

Litigation

3.5175   MERCY HOUSE TEEN CHALLENGE, A NON-FOR-PROFIT             8/23/2018                   Opioid Matter              UNDETERMINED
         CORPORATION ON BEHALF OF ITSELF AND ALL OTHERS
         SIMILARLY SITUATED                                    ACCOUNT NO.:
         1110 MARY ST                                          NOT AVAILABLE
         GEORGETOWN, MS 39078



3.5176   MERCY HOUSE TEEN CHALLENGE, A NON-FOR-PROFIT             8/23/2018                   Opioid Matter              UNDETERMINED
         CORPORATION ON BEHALF OF ITSELF AND ALL OTHERS
         SIMILARLY SITUATED                                    ACCOUNT NO.:
         ATTN: JOHN ARTHUR EAVES , JR.                         NOT AVAILABLE
         EAVES LAW FIRM, LLC
         101 NORTH STATE STREET
         JACKSON, MS 39201



3.5177   MERIWETHER COUNTY, GEORGIA                               5/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         17234 ROOSEVELT HWY                                   ACCOUNT NO.:
         BUILDING B                                            NOT AVAILABLE
         GREENVILLE, GA 30222



3.5178   MESCALERO APACHE TRIBE                                   5/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: TRIBAL PRESIDENT, TRIBAL CEO/ ADMINISTRATOR
         AND TRIBAL COUNCIL CHAIRMAN                           ACCOUNT NO.:
         PO BOX 227                                            NOT AVAILABLE
         108 CENTRAL AVENUE
         MESCALERO, NM 88340



3.5179   METRO KNOXVILLE HMA, LLC                                 7/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OR MANAGING AGENT
         NORTH KNOXVILLE MEDICAL CENTER                        ACCOUNT NO.:
         7565 DANNAHER DRIVE                                   NOT AVAILABLE
         POWELL, TN 37849



3.5180   METRO KNOXVILLE HMA, LLC                                 7/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT; MANAGING MEMBER
         4000 MERIDIAN BOULEVARD                               ACCOUNT NO.:
         COMMUNITY HEALTH SYSTEMS                              NOT AVAILABLE
         FRANKLIN, TN 37067-6325



3.5181   METROHEALTH SYSTEM                                       8/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT AND CEO
         THE METROHEALTH SYSTEM                                ACCOUNT NO.:
         2500 METROHEALTH DRIVE                                NOT AVAILABLE
         CLEVELAND, OH 44109



3.5182   METROPOLITAN GOVERNMENT OF NASHVILLE AND                12/22/2017                   Opioid Matter              UNDETERMINED
         DAVIDSON COUNTY, TENNESSEE
         CIRCUIT COURT CLERK'S OFFICE                          ACCOUNT NO.:
         1 PUBLIC SQUARE, SUITE 302                            NOT AVAILABLE
         NASHVILLE, TN 37201




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Code                                                 And Account Number                          Claim

Litigation

3.5183   METROPOLITAN GOVERNMENT OF NASHVILLE AND                12/22/2017                   Opioid Matter              UNDETERMINED
         DAVIDSON COUNTY, TENNESSEE
         ATTN: MAYOR                                           ACCOUNT NO.:
         OFFICE OF THE MAYOR                                   NOT AVAILABLE
         1 PUBLIC SQUARE, SUITE 100
         NASHVILLE, TN 37201



3.5184   MIAMI-DADE COUNTY, FLORIDA                               4/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND COMMISSIONERS
         STEPHEN P. CLARK CENTER                               ACCOUNT NO.:
         111 NW 1ST STREET                                     NOT AVAILABLE
         MIAMI, FL 33128



3.5185   MICCOSUKEE TRIBE OF INDIANS OF FLORIDA                   2/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND CHIEF EXECUTIVE OFFICER
         MILE MARKER 35                                        ACCOUNT NO.:
         U.S HIGHWAY 41 - TAMIAMI TRAIL                        NOT AVAILABLE
         MIAMI, FL 33194



3.5186   MICHAEL ESPINOSA                                         9/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: MICHAEL J. HEINEMAN, ESQ.
         MINGACE & HEINEMAN, PC                                ACCOUNT NO.:
         284 UNION AVENUE                                      NOT AVAILABLE
         FRAMINGHAM, MA 01702



3.5187   MICHAEL ESPINOSA                                         9/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: MICHAEL J. HEINEMAN, ESQ.
         HEINLEIN BEELER MINGACE & HEINEMAN, PC                ACCOUNT NO.:
         276 UNION AVENUE                                      NOT AVAILABLE
         FRAMINGHAM, MA 01702



3.5188   MICHAEL ESPINOSA                                         9/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: MICHAEL J. HEINEMAN, ESQ.
         HEINLEIN BEELER MINGACE & HEINEMAN, PC                ACCOUNT NO.:
         276 UNION AVENUE                                      NOT AVAILABLE
         FRAMINGHAM, MA 01702



3.5189   MICHAEL ESPINOSA                                         9/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: MICHAEL J. HEINEMAN, ESQ.
         MINGACE & HEINEMAN, PC                                ACCOUNT NO.:
         284 UNION AVENUE                                      NOT AVAILABLE
         FRAMINGHAM, MA 01702



3.5190   MICHAEL H. PARK INDIVIDUALLY AND ON BEHALF OF ALL        5/2/2018                    Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITU
         ATTN: RAFEY S. BALABANIAN                             ACCOUNT NO.:
         EDELSON PC                                            NOT AVAILABLE
         123 TOWNSEND STREET - SUITE 100
         SAN FRANCISCO, CA 94107




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Code                                                 And Account Number                          Claim

Litigation

3.5191   MICHAEL KLODZINSKI INDIVIDUALLY AND ON BEHALF OF         5/2/2018                    Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: THOMAS R. MCCARTHY                              ACCOUNT NO.:
         CONSOVOY MCCARTHY PARK PLLC                           NOT AVAILABLE
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201



3.5192   MICHAEL KLODZINSKI INDIVIDUALLY AND ON BEHALF OF         5/2/2018                    Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: WILLIAM S. CONSOVOY                             ACCOUNT NO.:
         CONSOVOY MCCARTHY PARK PLLC                           NOT AVAILABLE
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201



3.5193   MICHAEL KLODZINSKI INDIVIDUALLY AND ON BEHALF OF         5/2/2018                    Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: TRAVIS LENKNER                                  ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 N. RIVERSIDE PLAZA - SUITE 2570
         CHICAGO, IL 60606



3.5194   MICHAEL KLODZINSKI INDIVIDUALLY AND ON BEHALF OF         5/2/2018                    Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: SETH MEYER                                      ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 N. RIVERSIDE PLAZA - SUITE 2570
         CHICAGO, IL 60606



3.5195   MICHAEL KLODZINSKI INDIVIDUALLY AND ON BEHALF OF         5/2/2018                    Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: ASHLEY C. KELLER                                ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 2750
         CHICAGO, IL 60606



3.5196   MICHAEL KLODZINSKI INDIVIDUALLY AND ON BEHALF OF         5/2/2018                    Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: RAFEY S. BALABANIAN                             ACCOUNT NO.:
         EDELSON PC                                            NOT AVAILABLE
         123 TOWNSEND STREET, SUITE 100
         SAN FRANCISCO, CA 94107



3.5197   MICHAEL KLODZINSKI INDIVIDUALLY AND ON BEHALF OF         5/2/2018                    Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: SETH MEYER                                      ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA, SUITE 2570
         CHICAGO, IL 60606



3.5198   MICHAEL KLODZINSKI INDIVIDUALLY AND ON BEHALF OF         5/2/2018                    Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         WILLIAM S. CONSOVOY                                   ACCOUNT NO.:
         CONSOVOY MCCARTHY PARK PLLC                           NOT AVAILABLE
         1600 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22209




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5199   MICHAEL KLODZINSKI INDIVIDUALLY AND ON BEHALF OF         5/2/2018                    Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: BENJAMIN H. RICHMAN                             ACCOUNT NO.:
         EDELSON PC                                            NOT AVAILABLE
         350 NORTH LASALLE STREET - 14TH FLOOR
         CHICAGO, IL 60654



3.5200   MICHAEL KLODZINSKI INDIVIDUALLY AND ON BEHALF OF         5/2/2018                    Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: TODD LOGAN                                      ACCOUNT NO.:
         EDELSON PC                                            NOT AVAILABLE
         123 TOWNSEND STREET - SUITE 100
         SAN FRANCISCO, CA 94107



3.5201   MICHAEL KLODZINSKI INDIVIDUALLY AND ON BEHALF OF         5/2/2018                    Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: JAY EDELSON                                     ACCOUNT NO.:
         EDELSON P.C.                                          NOT AVAILABLE
         350 NORTH LASALLE STREET - 14TH FLOOR
         CHICAGO, IL 60654



3.5202   MICHAEL KLODZINSKI INDIVIDUALLY AND ON BEHALF OF         5/2/2018                    Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: DAVID I. MINDELL                                ACCOUNT NO.:
         EDELSON PC                                            NOT AVAILABLE
         350 NORTH LASALLE STREET - 14TH FLOOR
         CHICAGO, IL 60654



3.5203   MICHAEL KONIG, INDIVIDUALLY AND ON BEHALF OF ALL         8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: TRAVIS LENKNER                                  ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 5100
         CHICAGO, IL 60606



3.5204   MICHAEL KONIG, INDIVIDUALLY AND ON BEHALF OF ALL         8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: SETH MEYER                                      ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 5100
         CHICAGO, IL 60606



3.5205   MICHAEL KONIG, INDIVIDUALLY AND ON BEHALF OF ALL         8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: JORDAN A. SHAW                                  ACCOUNT NO.:
         ZEBERSKY PAYNE LLP                                    NOT AVAILABLE
         110 SOUTHEAST 6TH STREET - SUITE 2150
         FORT LAUDERDALE, FL 33301



3.5206   MICHAEL KONIG, INDIVIDUALLY AND ON BEHALF OF ALL         8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: KIMBERLY A. SLAVEN                              ACCOUNT NO.:
         ZEBERSKY PAYNE LLP                                    NOT AVAILABLE
         110 SOUTHEAST 6TH STREET - SUITE 2150
         FORT LAUDERDALE, FL 33301




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5207   MICHAEL KONIG, INDIVIDUALLY AND ON BEHALF OF ALL         8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: THOMAS R. MCCARTHY                              ACCOUNT NO.:
         CONSOVOY MCCARTHY PARK PLLC                           NOT AVAILABLE
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201



3.5208   MICHAEL KONIG, INDIVIDUALLY AND ON BEHALF OF ALL         8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: JORDAN ALEXANDER SHAW                           ACCOUNT NO.:
         ZEBERSKY PAYNE                                        NOT AVAILABLE
         110 SE 6TH STREET - SUITE 2150
         FT. LAUDERDALE, FL 33301



3.5209   MICHAEL KONIG, INDIVIDUALLY AND ON BEHALF OF ALL         8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: MICHAEL PARK                                    ACCOUNT NO.:
         CONSOVOY MCCARTHY PARK PLLC                           NOT AVAILABLE
         745 FIFTH AVENUE - SUITE 500
         NEW YORK, NY 10151



3.5210   MICHAEL KONIG, INDIVIDUALLY AND ON BEHALF OF ALL         8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: ASHLEY C. KELLER                                ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 2750
         CHICAGO, IL 60606



3.5211   MICHAEL KONIG, INDIVIDUALLY AND ON BEHALF OF ALL         8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: WILLIAM S. CONSOVOY                             ACCOUNT NO.:
         CONSOVOY MCCARTHY PARK PLLC                           NOT AVAILABLE
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201



3.5212   MICHAEL LOPEZ, INDIVIDUALLY AND ON BEHALF OF ALL         9/12/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: TRAVIS LENKNER                                  ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 N. RIVERSIDE PLAZA, SUITE 2570
         CHICAGO, IL 60606



3.5213   MICHAEL LOPEZ, INDIVIDUALLY AND ON BEHALF OF ALL         9/12/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: WILLIAM S. CONSOVOY                             ACCOUNT NO.:
         CONSOVOY MCCARTHY PARK PLLC                           NOT AVAILABLE
         3033 WILSON BOULEVARD, SUITE 700
         ARLINGTON, VA 22201



3.5214   MICHAEL LOPEZ, INDIVIDUALLY AND ON BEHALF OF ALL         9/12/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: SETH MEYER                                      ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA, SUITE 2570
         CHICAGO, IL 60606




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Code                                                 And Account Number                          Claim

Litigation

3.5215   MICHAEL LOPEZ, INDIVIDUALLY AND ON BEHALF OF ALL         9/12/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: MICHAEL H. PARK                                 ACCOUNT NO.:
         ATTN: MICHAEL H PARK                                  NOT AVAILABLE
         745 FIFTH AVENUE - SUITE 500
         NEW YORK, NY 10151



3.5216   MICHAEL LOPEZ, INDIVIDUALLY AND ON BEHALF OF ALL         9/12/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: THOMAS R. MCCARTHY                              ACCOUNT NO.:
         CONSOVOY MCCARTHY PARK PLLC                           NOT AVAILABLE
         3033 WILSON BOULEVARD, SUITE 700
         ARLINGTON, VA 22201



3.5217   MICHAEL LOPEZ, INDIVIDUALLY AND ON BEHALF OF ALL         9/12/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: ASHLEY C. KELLER                                ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 2750
         CHICAGO, IL 60606



3.5218   MICHAEL LOPEZ, INDIVIDUALLY AND ON BEHALF OF ALL         9/12/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: RICHARD ERIC SHELTON                            ACCOUNT NO.:
         DEWSUP KING OLSEN WOREL HAVAS MORTENSEN               NOT AVAILABLE
         36 SOUTH STATE STREET - SUITE 2400
         SALT LAKE CITY, UT 84111-0024



3.5219   MICHAEL MASIOWSKI, M.D., ON BEHALF OF HIMSELF            7/26/2018                   Opioid Matter              UNDETERMINED
         AND ALL OTHERS SIMILARLY SITUATED
         9330 MEDICAL PLAZA DR.                                ACCOUNT NO.:
         NORTH CHARLESTON, SC 29406                            NOT AVAILABLE



3.5220   MICHAEL MASIOWSKI, M.D., ON BEHALF OF HIMSELF            7/26/2018                   Opioid Matter              UNDETERMINED
         AND ALL OTHERS SIMILARLY SITUATED
         ATTN: DEAN ANTHONY HAYES                              ACCOUNT NO.:
         MCCABE TROTTER AND BEVERLY                            NOT AVAILABLE
         PO BOX 212069 - 4500 FORT JACKSON BOULEVARD,
         SUITE 250
         COLUMBIA, SC 29209



3.5221   MICHAEL MASIOWSKI, M.D., ON BEHALF OF HIMSELF            7/26/2018                   Opioid Matter              UNDETERMINED
         AND ALL OTHERS SIMILARLY SITUATED V.
         AMERISOURCEBERGEN DRUG CORP., ET AL.                  ACCOUNT NO.:
         ATTN: PAUL S ROTHSTEIN                                NOT AVAILABLE
         ATTORNEY PAUL S ROTHSTEIN PA
         626 NE FIRST STREET
         GAINESVILLE, FL 32601



3.5222   MICHAEL MASIOWSKI, M.D., ON BEHALF OF HIMSELF            7/26/2018                   Opioid Matter              UNDETERMINED
         AND ALL OTHERS SIMILARLY SITUATED V.
         AMERISOURCEBERGEN DRUG CORP., ET AL.                  ACCOUNT NO.:
         ATTN: DEAN ANTHONY HAYES                              NOT AVAILABLE
         MCCABE TROTTER AND BEVERLY
         4500 FORT JACKSON BOULEVARD - PO BOX 212069
         COLUMBIA, SC 29221



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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                         Claim

Litigation

3.5223   MICHAEL NERHEIM, LAKE COUNTY STATE’S ATTORNEY           12/21/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE COUNTY BOARD AND
         COUNTY CLERK                                          ACCOUNT NO.:
         COUNTY BOARD OFFICE                                   NOT AVAILABLE
         18 NORTH COUNTY STREET
         WAUKEGAN, IL 60085



3.5224   MICHAEL NERHEIM, LAKE COUNTY STATE’S ATTORNEY           12/21/2017                   Opioid Matter              UNDETERMINED
         ATTN: LAKE COUNTY STATE'S ATTORNEY
         18 NORTH COUNTY STREET                                ACCOUNT NO.:
         WAUKEGAN, IL 60085                                    NOT AVAILABLE



3.5225   MICHAEL RAY LEWIS, INDIVIDUALLY AND ON BEHALF OF         6/29/2017                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: THOMAS P. THRASH                                ACCOUNT NO.:
         THRASH LAW FIRM, P.A.                                 NOT AVAILABLE
         1101 GARLAND STREET
         LITTLE ROCK, AR 72201



3.5226   MICHAEL RAY LEWIS, INDIVIDUALLY AND ON BEHALF OF         6/29/2017                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: MARCUS NEIL BOZEMAN                             ACCOUNT NO.:
         THRASH LAW FIRM, P.A.                                 NOT AVAILABLE
         1101 GARLAND STREET
         LITTLE ROCK, AR 72201



3.5227   MICHAEL RAY LEWIS, INDIVIDUALLY AND ON BEHALF OF         6/29/2017                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: KENNETH R. SHEMIN                               ACCOUNT NO.:
         SHEMIN LAW FIRM, PLLC                                 NOT AVAILABLE
         3333 PINNACLE HILLS PARKWAY - SUITE 603
         ROGERS, AR 72758



3.5228   MIDWEST OPERATING ENGINEERS HEALTH AND                   2/7/2019                    Opioid Matter              UNDETERMINED
         WELFARE FUND
         ATTN: PRESIDENT-BUSINESS MANAGER                      ACCOUNT NO.:
         IUOE LOCAL 150                                        NOT AVAILABLE
         6200 JOLIET ROAD
         COUNTRYSIDE, IL 60525



3.5229   MIDWEST OPERATING ENGINEERS HEALTH AND                   2/7/2019                    Opioid Matter              UNDETERMINED
         WELFARE FUND
         ATTN: CHAIRMAN AND SECRETARY TREASURER OF THE         ACCOUNT NO.:
         BOARD OF TRUSTEES                                     NOT AVAILABLE
         6150 JOLIET ROAD
         2ND FLOOR ADMINISTRATION OFFICE
         COUNTRYSIDE, IL 60525-3956



3.5230   MIKE HALE, IN HIS CAPACITY AS SHERRIFF OF                3/15/2018                   Opioid Matter              UNDETERMINED
         JEFFERSON COUNTY, ALABAMA
         ATTN: MARK PETTWAY                                    ACCOUNT NO.:
         THE SHERRIFF OF JEFFERSON COUNTY                      NOT AVAILABLE
         2200 REVEREND ABRAHAM WOODS, JR.
         BIRMINGHAM, AL 35203




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Creditor's Name, Mailing Address Including Zip          Date Claim Was Incurred   C U      D    Basis For      Offset   Amount of Claim
Code                                                     And Account Number                       Claim

Litigation

3.5231   MIKE HALE, IN HIS CAPACITY AS SHERRIFF OF                  3/15/2018                  Opioid Matter              UNDETERMINED
         JEFFERSON COUNTY, ALABAMA
         ATTN: STEVE MARSHALL                                    ACCOUNT NO.:
         STATE OF ALABAMA ATTORNEY GENERAL                       NOT AVAILABLE
         501 WASHINGTON AVE. - P.O. BOX 300152
         MONTGOMERY, AL 36130-0152



3.5232   MIKE JOLLEY, IN HIS OFFICIAL CAPACITY AS THE               3/22/2019                  Opioid Matter              UNDETERMINED
         SHERIFF OF HARRIS COUNTY, GEORGIA
         3000 HIGHWAY 42 N.                                      ACCOUNT NO.:
         PO BOX 1000                                             NOT AVAILABLE
         STOCKBRIDGE, GA 30281



3.5233   MIKE JOLLEY, IN HIS OFFICIAL CAPACITY AS THE               3/22/2019                  Opioid Matter              UNDETERMINED
         SHERIFF OF HARRIS COUNTY, GEORGIA
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS            ACCOUNT NO.:
         104 NORTH COLLEGE STREET                                NOT AVAILABLE
         P.O. BOX 365
         HAMILTON, GA 31811



3.5234   MIKE KILE, IN HIS OFFICIAL CAPACITY AS THE SHERIFF         3/22/2019                  Opioid Matter              UNDETERMINED
         OF SCREVEN COUNTY, GEORGIA
         GEORGIA SHERIFFS’ ASSOCIATION                           ACCOUNT NO.:
         3000 HIGHWAY 42 N.                                      NOT AVAILABLE
          - P.O. BOX 1000
         STOCKBRIDGE, GA 30281



3.5235   MIKE KILE, IN HIS OFFICIAL CAPACITY AS THE SHERIFF         3/22/2019                  Opioid Matter              UNDETERMINED
         OF SCREVEN COUNTY, GEORGIA
         P.O. BOX 159                                            ACCOUNT NO.:
         SYLVANIA, GA 30467-0159                                 NOT AVAILABLE



3.5236   MIKE KILE, IN HIS OFFICIAL CAPACITY AS THE SHERIFF         3/22/2019                  Opioid Matter              UNDETERMINED
         OF SCREVEN COUNTY, GEORGIA
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS            ACCOUNT NO.:
         216 MIMS RD                                             NOT AVAILABLE
         STE 100
         SYLVANIA, GA 30467



3.5237   MIKE STONE, IN HIS CAPACITY AS THE SHERIFF FOR             8/3/2018                   Opioid Matter              UNDETERMINED
         LINCOLN PARISH
         ATTN: SHERIFF                                           ACCOUNT NO.:
         LINCOLN PARISH SHERIFF’S OFFICE                         NOT AVAILABLE
         P.O. BOX 2070
         RUSTON, LA 71273



3.5238   MIKE STONE, IN HIS CAPACITY AS THE SHERIFF FOR             8/3/2018                   Opioid Matter              UNDETERMINED
         LINCOLN PARISH
         LINCOLN PARISH PUBLIC SAFETY COMPLEX                    ACCOUNT NO.:
         161 ROAD CAMP ROAD                                      NOT AVAILABLE
         RUSTON, LA 71270




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Code                                                                And Account Number                        Claim

Litigation

3.5239   Mike Taylor, in his official capacity as the District Attorney        UNKNOWN                     Opioid Matter              UNDETERMINED
         General for the Twelfth Judicial District and on behlaf of all
         political subdivisions therein                                      ACCOUNT NO.:
         Attn: District Attorney General for the Twelfth Judicial District   NOT AVAILABLE
         3162 Tullahoma Highway
         Winchester, TN 37398



3.5240   Mike Taylor, in his official capacity as the District Attorney        UNKNOWN                     Opioid Matter              UNDETERMINED
         General for the Twelfth Judicial District and on behlaf of all
         political subdivisions therein                                      ACCOUNT NO.:
         Attn: District Attorney General for the Twelfth Judicial District   NOT AVAILABLE
         P.O. Box 1058
         3751 Main St.
         Jasper, TN 37347



3.5241   Mike Taylor, in his official capacity as the District Attorney        UNKNOWN                     Opioid Matter              UNDETERMINED
         General for the Twelfth Judicial District and on behlaf of all
         political subdivisions therein                                      ACCOUNT NO.:
         Attn: District Attorney General for the Twelfth Judicial District   NOT AVAILABLE
         375 Church St., Suite 300
         Dayton, TN 37321



3.5242   MILLARD COUNTY                                                        11/9/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         JUSTICE COMPLEX                                                     ACCOUNT NO.:
         765 S HIGHWAY 99                                                    NOT AVAILABLE
         FILLMORE, UT 84631



3.5243   MILLER, BARBARA                                                        9/1/2017                     Workers                  UNDETERMINED
         NOT AVAILABLE                                                                                     Compensation
                                                                             ACCOUNT NO.:
                                                                              WC555D68261


3.5244   MILLS COUNTY                                                           3/8/2018                   Opioid Matter              UNDETERMINED
         ATTN: AUDITOR; CHAIR OF SUPERVISORS
         418 SHARP STREET                                                    ACCOUNT NO.:
         GLENWOOD, IA 51534                                                  NOT AVAILABLE



3.5245   MILWAUKEE COUNTY, WISCONSIN                                           3/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         COUNTY COURTHOSUE                                                   ACCOUNT NO.:
         ROOM 105 - 901 NORTH 9TH STREET                                     NOT AVAILABLE
         MILWAUKEE, WI 53233



3.5246   MILWAUKEE COUNTY, WISCONSIN                                           3/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE BOARD OF SUPERVISORS
         COURTHOUSE                                                          ACCOUNT NO.:
         ROOM 201 - 901 NORTH 9TH STREET                                     NOT AVAILABLE
         MILWAUKEE, WI 53233



3.5247   MILWAUKEE COUNTY, WISCONSIN                                           3/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE
         MILWAUKEE COUNTY COURTHOSUE                                         ACCOUNT NO.:
         ROOM 306 - 901 NORTH 9TH STREET                                     NOT AVAILABLE
         MILWAUKEE, WI 53233



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Code                                                 And Account Number                          Claim

Litigation

3.5248   MINIDOKA COUNTY                                          8/17/2018                   Opioid Matter              UNDETERMINED
         PO BOX 368
         RUPERT, ID 83350                                      ACCOUNT NO.:
                                                               NOT AVAILABLE


3.5249   MINIDOKA COUNTY                                          8/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER; CLERK
         715 G STREET                                          ACCOUNT NO.:
         P.O. BOX 368                                          NOT AVAILABLE
         RUPERT, ID 83350



3.5250   MINISTER DAVID BREWTON                                  11/21/2017                   Opioid Matter              UNDETERMINED
         ATTN: MINISTER DAVID BREWTON
         PO BOX 20845                                          ACCOUNT NO.:
         SHAKER HEIGHTS, OH 44120-0000                         NOT AVAILABLE



3.5251   MINISTER DAVID BREWTON                                  11/21/2017                   Opioid Matter              UNDETERMINED
         MINISTER DAVID BREWTON
         P.O. BOX 20845                                        ACCOUNT NO.:
         SHAKER HEIGHTS, OH 44120                              NOT AVAILABLE



3.5252   MINNESOTA PRAIRIE ALLIANCE                               8/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: EXECUTIVE DIRECTOR
         STEELE COUNTY                                         ACCOUNT NO.:
         630 FLORENCE AVENUE                                   NOT AVAILABLE
         OWATONNA, MN 55060



3.5253   MINNESOTA PRAIRIE ALLIANCE                               8/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: EXECUTIVE DIRECTOR
         WASECA COUNTY                                         ACCOUNT NO.:
         299 JOHNSON AVE SW - SUITE 160                        NOT AVAILABLE
         WASECA, MN 56093



3.5254   MINUTE MEN SELECT, INC.                                  2/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTRANT AGENT
         JASON S. LUCARELLI                                    ACCOUNT NO.:
         3740 CARNEGIE AVENUE                                  NOT AVAILABLE
         CLEVELAND, OH 44114



3.5255   MINUTE MEN SELECT, INC.                                  2/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         SECRETARY OF STATE'S OFFICE                           ACCOUNT NO.:
         180 EAST BROAD STREET - 16TH FLOOR                    NOT AVAILABLE
         COLUMBUS, OH 43215



3.5256   MINUTE MEN, INC.                                         2/21/2018                   Opioid Matter              UNDETERMINED
         JASON S. LUCARELLI
         3740 CARNEGIE AVENUE                                  ACCOUNT NO.:
         CLEVELAND, OH 44114                                   NOT AVAILABLE



3.5257   MINUTE MEN, INC.                                         2/21/2018                   Opioid Matter              UNDETERMINED
         MINUTE MEN STAFFING SERVICES
         3740 CARNEGIE AVENUE                                  ACCOUNT NO.:
         CLEVELAND, OH 44115                                   NOT AVAILABLE


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Code                                                 And Account Number                          Claim

Litigation

3.5258   MINUTE MEN, INC.                                         2/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: BRANCH MANAGER
         MINUTE MEN STAFFING SERVICES                          ACCOUNT NO.:
         3740 CARNEGIE AVENUE                                  NOT AVAILABLE
         CLEVELAND, OH 44115



3.5259   MISSISSIPPI BAND OF CHOCTAW INDIANS                      4/16/2019                   Opioid Matter              UNDETERMINED
         ATTN: TRIBAL CHIEF
         101 INDUSTRIAL ROAD                                   ACCOUNT NO.:
         CHOCTAW, MS 39350                                     NOT AVAILABLE



3.5260   MISSOULA COUNTY                                          1/22/2019                   Opioid Matter              UNDETERMINED
         BOARD OF COUNTY COMMISSIONERS
         MISSOULA COUNTY COURTHOUSE                            ACCOUNT NO.:
         - 200 W. BROADWAY                                     NOT AVAILABLE
         MISSOULA, MT 59802



3.5261   MISSOULA COUNTY                                          1/22/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER
         199 W. PINE ST.                                       ACCOUNT NO.:
         MISSOULA, MT 59802                                    NOT AVAILABLE



3.5262   MITCHELL COUNTY                                          6/5/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         206 OAK AVENUE                                        ACCOUNT NO.:
         SPRUCE PINE, NC 28777                                 NOT AVAILABLE



3.5263   MITCHELL COUNTY                                          6/5/2019                    Opioid Matter              UNDETERMINED
         26 CRIMSON LAUREL CIRCLE
         BAKERSVILLE, NC 28705                                 ACCOUNT NO.:
                                                               NOT AVAILABLE


3.5264   MITCHELL COUNTY                                          6/5/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF COUNTY COMMISSIONERS
         26 CRIMSON LAUREL CIRCLE                              ACCOUNT NO.:
         SUITE 2                                               NOT AVAILABLE
         BAKERSVILLE, NC 28705



3.5265   MOAPA BAND OF PAIUTE INDIANS                             6/20/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND CHIEF EXECUTIVE OFFICER OF
         THE MOAPA BAND OF PAIUTE INDIANS BUSINESS             ACCOUNT NO.:
         COOMITTEE                                             NOT AVAILABLE
         1 LINCOLN STREET
         P.O. BOX 340
         MOAPA, NV 89025



3.5266   MOAPA BAND OF PAIUTE INDIANS                             6/20/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND CHIEF EXECUTIVE OFFICER OF
         THE MOAPA BAND OF PAIUTE INDIANS BUSINESS             ACCOUNT NO.:
         COOMITTEE I                                           NOT AVAILABLE
         1 LINCOLN STREET
         MOAPA, NV 89025




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5267   MOBILE COUNTY EMERGENCY MEDICAL SERVICES                 1/16/2018                   Opioid Matter              UNDETERMINED
         RESCUE SQUAD, INC., A NONPROFIT CORPORATION
         ATTN: REGISTERED AGENT                                ACCOUNT NO.:
         WILLIAMSON, CHARLES IVY DR                            NOT AVAILABLE
         3290 DAUPHIN ST - STE 401
         MOBILE, AL 36608



3.5268   MOBILE COUNTY EMERGENCY MEDICAL SERVICES                 1/16/2018                   Opioid Matter              UNDETERMINED
         RESCUE SQUAD, INC., A NONPROFIT CORPORATION
         ATTN: ALABAMA SECRETARY OF STATE                      ACCOUNT NO.:
         STATE CAPITOL BUILDING                                NOT AVAILABLE
         600 DEXTER AVENUE - SUITE S-105
         MONTGOMERY, AL 36130



3.5269   MOBILE COUNTY EMERGENCY MEDICAL SERVICES                 1/16/2018                   Opioid Matter              UNDETERMINED
         RESCUE SQUAD, INC., A NONPROFIT CORPORATION
         ATTN: MANAGING OR GENERAL AGENT, DIRECTOR             ACCOUNT NO.:
         10394 MOFFETT ROAD                                    NOT AVAILABLE
         SEMMES, AL 36575



3.5270   MOBILE COUNTY, ALABAMA                                   2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CIRCUIT CLERK OF MOBILE COUNTY
         205 GOVERNMENT STREET - SUITE 913                     ACCOUNT NO.:
         MOBILE, AL 96644-2911                                 NOT AVAILABLE



3.5271   MOBILE COUNTY, ALABAMA                                   2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.5272   MONITEAU COUNTY, MISSOURI                               12/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK OF THE COUNTY COMMISSION AND
         COMMISSIONER                                          ACCOUNT NO.:
         MONITEAU COUNTY COURTHOUSE                            NOT AVAILABLE
         200 EAST MAIN STREET
         CALIFORNIA, MO 65018



3.5273   MONMOUTH COUNTY                                          5/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         MARKET YARD                                           ACCOUNT NO.:
         33 MECHANIC STREET                                    NOT AVAILABLE
         FREEHOLD, NJ 07728



3.5274   MONMOUTH COUNTY                                          5/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY ADMINISTRATOR, DIRECTOR OF THE
         BOARD OF CHOSEN FREEHOLDERS                           ACCOUNT NO.:
         MONMOUTH COUNTY HALL OF RECORDS                       NOT AVAILABLE
         ONE EAST MAIN STREET - P.O. BOX 1255
         FREEHOLD, NJ 07728




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5275   MONONGALIA COUNTY COMMISSION                             9/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         243 HIGH STREET                                       ACCOUNT NO.:
         COURTHOUSE ROOM 123                                   NOT AVAILABLE
         MORGANTOWN, WV 26505-5491



3.5276   MONONGALIA COUNTY COMMISSION                             9/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: PROSECUTING ATTORNEY
         243 HIGH STREET                                       ACCOUNT NO.:
         COURTHOUSE ROOM 323                                   NOT AVAILABLE
         MORGANTOWN, WV 26505



3.5277   MONONGALIA COUNTY COMMISSION                             9/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER
         243 HIGH ST                                           ACCOUNT NO.:
         MORGANTOWN, WV 26505                                  NOT AVAILABLE



3.5278   MONONGALIA COUNTY COMMISSION                             9/28/2018                   Opioid Matter              UNDETERMINED
         MARK A. COLANTONIO
         FITZSIMMONS LAW FIRM PLLC                             ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26003



3.5279   MONONGALIA COUNTY COMMISSION                             9/28/2018                   Opioid Matter              UNDETERMINED
         CLAYTON J. FITZSIMMONS
         FITZSIMMONS LAW FIRM PLLC                             ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26003



3.5280   MONONGALIA COUNTY COMMISSION                             9/28/2018                   Opioid Matter              UNDETERMINED
         HUNTER J. SHKOLNIK
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.5281   MONONGALIA COUNTY COMMISSION                             9/28/2018                   Opioid Matter              UNDETERMINED
         JOSEPH L. CIACCIO
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.5282   MONONGALIA COUNTY COMMISSION                             9/28/2018                   Opioid Matter              UNDETERMINED
         ROBERT P. FITZSIMMONS
         FITZSIMMONS LAW FIRM PLLC                             ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26003



3.5283   MONONGALIA COUNTY COMMISSION                             9/28/2018                   Opioid Matter              UNDETERMINED
         SALVATORE C. BADALA
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5284   MONONGALIA COUNTY COMMISSION                             9/28/2018                   Opioid Matter              UNDETERMINED
         SHAYNA E. SACKS
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.5285   MONONGALIA COUNTY COMMISSION                             9/28/2018                   Opioid Matter              UNDETERMINED
         JOSEPH F. SHAFFER
         SHAFFER MADIA LAW PLLC                                ACCOUNT NO.:
         343 WEST MAIN STREET                                  NOT AVAILABLE
         CLARKSBURG, WV 26301



3.5286   MONONGALIA COUNTY COMMISSION                             9/28/2018                   Opioid Matter              UNDETERMINED
         SAMUEL D. MADIA
         SHAFFER MADIA LAW PLLC                                ACCOUNT NO.:
         343 WEST MAIN STREET                                  NOT AVAILABLE
         CLARKSBURG, WV 26301



3.5287   MONONGALIA COUNTY COMMISSION                             9/28/2018                   Opioid Matter              UNDETERMINED
         PAUL J. NAPOLI
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.5288   MONONGALIA COUNTY GENERAL HOSPITAL COMPANY               4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT, SECRETARY, AGENT, OFFICERS,
         DIRECTORS, AND TRUSTEES                               ACCOUNT NO.:
         1200 J.D. ANDERSON DRIVE                              NOT AVAILABLE
         MORGANTOWN, WV 26505



3.5289   MONROE COUNTY                                           11/28/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE COUNTY BOARD, COUNTY
         CLERK                                                 ACCOUNT NO.:
         202 SOUTH K ST                                        NOT AVAILABLE
         ROOM 1
         SPARTA, WI 54656



3.5290   MONROE COUNTY                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY, AND COUNTY COURT CLERK
         PO BOX 1990                                           ACCOUNT NO.:
         KNOXVILLE, TN 37901                                   NOT AVAILABLE



3.5291   MONROE COUNTY                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         105 COLLEGE STREET SOUTH                              ACCOUNT NO.:
         SUITE 1                                               NOT AVAILABLE
         MADISONVILLE, TN 37354



3.5292   MONROE COUNTY BOARD OF COUNTY COMMISSIONERS              5/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF MONROE COUNTY BOARD OF
         COUNTY COMMISSIONERS, COUNTY CLERK                    ACCOUNT NO.:
         101 N. MAIN ST. ROOM 34                               NOT AVAILABLE
         WOODSFIELD, OH 43793




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5293   MONROE COUNTY BOARD OF COUNTY COMMISSIONERS              5/3/2018                    Opioid Matter              UNDETERMINED
         MONROE COUNTY PROSECUTOR'S OFFICE
         101 N. MAIN ST.                                       ACCOUNT NO.:
         WOODSFIELD, OH 43793                                  NOT AVAILABLE



3.5294   MONROE COUNTY, GEORGIA                                   5/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN BOARD OF COMMISSIONERS
         BOARD OF COMMISSIONERS                                ACCOUNT NO.:
         38 WEST MAIN STREET - P.O. BOX 189                    NOT AVAILABLE
         FORSYTH, GA 31029



3.5295   MONROE COUNTY, GEORGIA                                   5/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN BOARD OF COMMISSIONERS
         BOARD OF COMMISSIONERS                                ACCOUNT NO.:
         38 WEST MAIN STREET                                   NOT AVAILABLE
         FORSYTH, GA 31029



3.5296   MONROE COUNTY, MISSISSIPPI                               9/27/2018                   Opioid Matter              UNDETERMINED
         201 W. COMMERCE ST.
         P. O. BOX 578                                         ACCOUNT NO.:
         ABERDEEN, MS 39730                                    NOT AVAILABLE



3.5297   MONROE COUNTY, MISSISSIPPI                               9/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHANCERY CLERK, COUNTY ATTORNEY,
         PRESIDENT OF THE BOARD OF SUPERVISORS                 ACCOUNT NO.:
         201 W. COMMERCE ST.                                   NOT AVAILABLE
         ABERDEEN, MS 39730



3.5298   MONTGOMERY COUNTY                                        12/6/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         MONTGOMERY COUNTY GOVERNMENT CENTER                   ACCOUNT NO.:
         755 ROANOKE STREET, STE 2F                            NOT AVAILABLE
         CHRISTIANSBURG, VA 24073



3.5299   MONTGOMERY COUNTY, AL                                    4/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE MONTGOMERY COUNTY
         COMMISSION                                            ACCOUNT NO.:
         MONTGOMERY COUNTY COMMISSION                          NOT AVAILABLE
         P.O. BOX 1667
         MONTGOMERY, AL 36102



3.5300   MONTGOMERY COUNTY, AL                                    4/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE CIRCUIT CLERK
         PO BOX 1667                                           ACCOUNT NO.:
         MONTGOMERY, AL 36102-1667                             NOT AVAILABLE



3.5301   MONTGOMERY COUNTY, AL                                    4/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5302   MONTGOMERY COUNTY, GEORGIA                               4/25/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE COUNTY COMMISSIONERS
         PO BOX 295                                            ACCOUNT NO.:
         310 WEST BROAD STREET                                 NOT AVAILABLE
         MT VERNON, GA 30445



3.5303   MONTGOMERY COUNTY, KANSAS                                6/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF COMMISSIONERS; COUNTY CLERK AND
         TREASURER                                             ACCOUNT NO.:
         217 EAST MYRTLE STREET                                NOT AVAILABLE
         PO BOX 767
         INDEPENDENCE, KS 67301



3.5304   MONTGOMERY COUNTY, MARYLAND                              2/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE AND RESIDENT AGENT FOR
         MONTGOMERY COUNTY                                     ACCOUNT NO.:
         EXECUTIVE OFFICE BUILDING                             NOT AVAILABLE
         101 MONROE STREET - 2ND FLOOR
         ROCKVILLE, MD 20850



3.5305   MONTGOMERY COUNTY, MISSOURI                             10/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         211 EAST THIRD STREET                                 ACCOUNT NO.:
         MONTGOMERY CITY, MO 63361                             NOT AVAILABLE



3.5306   MONTGOMERY COUNTY, TN                                    3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MAYOR, CIRCUIT COURT CLERK
         1 MILLENNIUM PLAZA                                    ACCOUNT NO.:
         CLARKSVILLE, TN 37040                                 NOT AVAILABLE



3.5307   MOORE COUNTY                                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         196 MAIN STREET                                       ACCOUNT NO.:
         PO BOX 206                                            NOT AVAILABLE
         LYNCHBURG, TN 37352



3.5308   MOORE COUNTY                                             8/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER; COMMISSIONERS; COUNTY
         ATTORNEY                                              ACCOUNT NO.:
         PO BOX 905                                            NOT AVAILABLE
         CARTHAGE, NC 28327



3.5309   MOORE COUNTY                                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         PO BOX 169                                            ACCOUNT NO.:
         SHELBYVILLE, TN 37162                                 NOT AVAILABLE



3.5310   MOORE COUNTY                                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         196 MAIN STREET                                       ACCOUNT NO.:
         PO BOX 196                                            NOT AVAILABLE
         LYNCHBURG, TN 37352




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Code                                                 And Account Number                          Claim

Litigation

3.5311   MOREHOUSE PARISH POLICE JURY                             6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: MOREHOUSE PARISH POLICE JURY PRESIDENT,
         MOREHOUSE PARISH POLICE JURY VICE PRESIDENT           ACCOUNT NO.:
         125 EAST MADISON                                      NOT AVAILABLE
         BASTROP, LA 71220



3.5312   MOREHOUSE PARISH POLICE JURY                             6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: MOREHOUSE PARISH POLICE JURY PRESIDENT,
         MOREHOUSE PARISH POLICE JURY VICE PRESIDENT           ACCOUNT NO.:
         PO BOX 509                                            NOT AVAILABLE
         BASTROP, LA 71221



3.5313   MORGAN CITY                                             10/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY COUNCILL CLERK, CITY ATTORNEY
         MORGAN CITY CITY HALL                                 ACCOUNT NO.:
         512 FIRST STREET                                      NOT AVAILABLE
         MORGAN CITY, LA 70380



3.5314   MORGAN COUNTY                                            6/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COUNTY
         COMMISSIONERS, VICE CHAIRMAN OF THE BOARD OF          ACCOUNT NO.:
         COUNTY COMMISSIONERS                                  NOT AVAILABLE
         MORGAN COUNTY ADMINISTRATION BUILDING
         180 SOUTH MAIN STREET - SUITE 112
         MARTINSVILLE, IN 46151



3.5315   MORGAN COUNTY                                            6/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         10 EAST WASHINGTON STREET                             ACCOUNT NO.:
         MARTINSVILLE, IN 41651                                NOT AVAILABLE



3.5316   MORGAN COUNTY                                            6/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE COUNTY COUNCIL, VICE
         CHAIRMAN OF THE COUNTY COUNCIL, MORGAN COUNTY         ACCOUNT NO.:
         ATTORNEY                                              NOT AVAILABLE
         180 SOUTH MAIN STREET
         MARTINSVILLE, IN 46151



3.5317   MORGAN COUNTY                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         505 MAIN STREET                                       ACCOUNT NO.:
         WARBURG, TN 37887                                     NOT AVAILABLE



3.5318   MORGAN COUNTY                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE AND COUNTY CLERK
         415 NORTH KINGSTON STREET                             ACCOUNT NO.:
         WARBURG, TN 37887                                     NOT AVAILABLE



3.5319   MORGAN COUNTY COMMISSION                                 3/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT, COUNTY COMMISSION
         77 FAIRFAX STREET                                     ACCOUNT NO.:
         ROOM 101                                              NOT AVAILABLE
         BERKELEY SPRINGS, WV 25411




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5320   MORGAN COUNTY COMMISSION                                 3/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         77 FAIRFAX STREET                                     ACCOUNT NO.:
         BERKELEY SPRINGS, WV 25411                            NOT AVAILABLE



3.5321   MORGAN COUNTY, ALABAMA                                   2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE CIRCUIT CLERK AND COMMISSION
         CHAIRMAN                                              ACCOUNT NO.:
         MORGAN COUNTY COURTHOUSE                              NOT AVAILABLE
         302 LEE STREET NORTHEAST
         DECATUR, AL 35601



3.5322   MORGAN COUNTY, ALABAMA                                   2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.5323   MORGAN COUNTY, MISSOURI                                  6/5/2019                    Opioid Matter              UNDETERMINED
         ATTN: CLERK
         MORGAN COUNTY COURTHOUSE                              ACCOUNT NO.:
         100 EAST NEWTON STREET - ROOM 23                      NOT AVAILABLE
         VERSAILLES, MO 65084



3.5324   MORGAN COUNTY, MISSOURI                                  6/5/2019                    Opioid Matter              UNDETERMINED
         MORGAN COUNTY COURTHOUSE
         100 EAST NEWTON STREET                                ACCOUNT NO.:
         VERSAILLES, MO 65084                                  NOT AVAILABLE



3.5325   MORGAN COUNTY, TN                                        1/22/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE, COUNTY ATTORNEY,
         CIRCUIT COURT CLERK                                   ACCOUNT NO.:
         415 NORTH KINGSTON STREET                             NOT AVAILABLE
         WARTBURG, TN 37887



3.5326   MORRISON COUNTY, MN                                      3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE COUNTY BOARD AND COUNTY
         AUDITOR                                               ACCOUNT NO.:
         213 - 1ST AVENUE SE                                   NOT AVAILABLE
         LITTLE FALLS, MN 56345



3.5327   MORRISVILLE BOROUGH, PENNSYLVANIA                        6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND COUNCIL PRESIDENT AND BOROUGH
         MANAGER AND BOROUGH SECRETARY                         ACCOUNT NO.:
         35 UNION STREET                                       NOT AVAILABLE
         MORRISVILLE, PA 19067



3.5328   MORROW COUNTY BOARD OF COUNTY COMMISSIONERS             12/21/2017                   Opioid Matter              UNDETERMINED
         ATTN: COMMISSIONER
         80 NORTH WALNUT STREET                                ACCOUNT NO.:
         MOUNT GLEAD, OH 43338                                 NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.5329   MOUNTAIN STATES HEALTH ALLIANCE F/K/A JOHNSON            7/11/2019                   Opioid Matter              UNDETERMINED
         CITY MEDICAL CENTER HOSPITAL, INC.
         ATTN: REGISTERED AGENT; MANAGING AGENT                ACCOUNT NO.:
         400 NORTH STATE OF FRANKLIN ROAD                      NOT AVAILABLE
         JOHNSON CITY MEDICAL CENTER
         JOHNSON CITY, TN 37604-6035



3.5330   MOUNTRAIL COUNTY                                         6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE COUNTY BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         101 NORTH MAIN STREET                                 NOT AVAILABLE
         STANLEY, ND 58784



3.5331   MOWER COUNTY, MN                                        11/29/2017                   Opioid Matter              UNDETERMINED
         201 - 1ST STREET NE
         SUITE 7                                               ACCOUNT NO.:
         AUSTIN, MN 55912                                      NOT AVAILABLE



3.5332   MOWER COUNTY, MN                                        11/29/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE COUNTY BOARD
         201 - 1ST STREET NE                                   ACCOUNT NO.:
         SUITE 9                                               NOT AVAILABLE
         AUSTIN, MN 55912



3.5333   MSI CORPORATION, INDIVIDUALLY AND ON BEHALF OF           8/21/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: TRAVIS LENKNER                                  ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 5100
         CHICAGO, IL 60606



3.5334   MSI CORPORATION, INDIVIDUALLY AND ON BEHALF OF           8/21/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: SETH MEYER                                      ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 5100
         CHICAGO, IL 60606



3.5335   MSI CORPORATION, INDIVIDUALLY AND ON BEHALF OF           8/21/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         201 1ST STREET                                        ACCOUNT NO.:
         VANDERGRIFT, PA 15690                                 NOT AVAILABLE



3.5336   MSI CORPORATION, INDIVIDUALLY AND ON BEHALF OF           8/21/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: COUNSEL                                         ACCOUNT NO.:
         210 FIRST STREET                                      NOT AVAILABLE
         VANDERGRIFT, PA 15690



3.5337   MSI CORPORATION, INDIVIDUALLY AND ON BEHALF OF           8/21/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: COUNSEL                                         ACCOUNT NO.:
         1101 BUILDING                                         NOT AVAILABLE
         SUITE 205
         EASTON, PA 18042-0


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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5338   MSI CORPORATION, INDIVIDUALLY AND ON BEHALF OF           8/21/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: ASHLEY C. KELLER                                ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 2750
         CHICAGO, IL 60606



3.5339   MSI CORPORATION, INDIVIDUALLY AND ON BEHALF OF           8/21/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: THOMAS R. MCCARTHY                              ACCOUNT NO.:
         CONSOVOY MCCARTHY PARK PLLC                           NOT AVAILABLE
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201



3.5340   MSI CORPORATION, INDIVIDUALLY AND ON BEHALF OF           8/21/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: SCOTT M. HARE                                   ACCOUNT NO.:
         437 GRANT STREET                                      NOT AVAILABLE
         FRICK BUILDING SUITE 1806
         PITTSBURGH, PA 15219



3.5341   MSI CORPORATION, INDIVIDUALLY AND ON BEHALF OF           8/21/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: WILLIAM S. CONSOVOY                             ACCOUNT NO.:
         CONSOVOY MCCARTHY PARK PLLC                           NOT AVAILABLE
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201



3.5342   MSI CORPORATION, INDIVIDUALLY AND ON BEHALF OF           8/21/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: SCOTT M. HARE                                   ACCOUNT NO.:
         1806 FRICK BUILDING                                   NOT AVAILABLE
         437 GRANT STREET
         PITTSBURGH, PA 15219



3.5343   MSI CORPORATION, INDIVIDUALLY AND ON BEHALF OF           8/21/2018                   Opioid Matter              UNDETERMINED
         ALL OTHERS SIMILARLY SITUATED
         ATTN: MICHAEL H. PARK                                 ACCOUNT NO.:
         ATTN: MICHAEL H PARK                                  NOT AVAILABLE
         745 FIFTH AVENUE - SUITE 500
         NEW YORK, NY 10151



3.5344   MSP RECOVERY CLAIMS SERIES LLC                           2/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: TITLE MANAGER
         SERIES MRCS, A SERIES OF MDA, SERIES LLC              ACCOUNT NO.:
         2701 SOUTH LE JEUNE ROAD - 10TH FLOOR                 NOT AVAILABLE
         CORAL GABLES, FL 33134



3.5345   MSP RECOVERY CLAIMS SERIES LLC                           2/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         CORPORATION SERVICE COMPANY                           ACCOUNT NO.:
         1201 HAYS STREET                                      NOT AVAILABLE
         TALAHASSEE, FL 32301




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5346   MSP RECOVERY CLAIMS SERVICES LLC                         1/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         2701 SOUTH LE JEUNE ROAD                              ACCOUNT NO.:
         TENTH FLOOR                                           NOT AVAILABLE
         CORAL GABLES, FL 33134



3.5347   MSP RECOVERY CLAIMS SERVICES LLC                         1/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT, AND MANAGER
         2701 SOUTH LE JEUNE ROAD                              ACCOUNT NO.:
         10TH FLOOR                                            NOT AVAILABLE
         CORAL GABLES, FL 33134



3.5348   MSP RECOVERY CLAIMS, SERIES LLC                          1/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         R.A. GRAY BUILDING                                    ACCOUNT NO.:
         500 SOUTH BRONOUGH STREET                             NOT AVAILABLE
         TALLAHASSEE, FL 32399-0250



3.5349   MSP RECOVERY CLAIMS, SERIES LLC                          1/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT, AND MANAGER
         1201 HAYS STREET                                      ACCOUNT NO.:
         TALLAHASSEE, FL 32301                                 NOT AVAILABLE



3.5350   MSP RECOVERY CLAIMS, SERIES LLC                          1/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER, AND MANAGIER
         2701 SOUTH LE JEUNE ROAD                              ACCOUNT NO.:
         10TH FLOOR                                            NOT AVAILABLE
         CORAL GABLES, FL 33134



3.5351   MSP RECOVERY CLAIMS, SERVICES LLC                        1/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         R.A. GRAY BUILDING                                    ACCOUNT NO.:
         500 SOUTH BRONOUGH STREET                             NOT AVAILABLE
         TALLAHASSEE, FL 32399-0250



3.5352   MSP RECOVERY SERVICES LLC                                1/5/2018                    Opioid Matter              UNDETERMINED
         2701 SOUTH LE JEUNE ROAD
         10TH FLOOR                                            ACCOUNT NO.:
         CORAL GABLES, FL 33134                                NOT AVAILABLE



3.5353   MSPA CLAIMS 1, LLC                                       1/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         R.A. GRAY BUILDING                                    ACCOUNT NO.:
         500 SOUTH BRONOUGH STREET                             NOT AVAILABLE
         TALLAHASSEE, FL 32399-0250



3.5354   MSPA CLAIMS 1, LLC                                       1/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT, AND REGISTERED AGENT, AND
         MANAGER                                               ACCOUNT NO.:
         2701 SOUTH LE JEUNE ROAD                              NOT AVAILABLE
         10TH FLOOR
         CORAL GABLES, FL 33134




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5355   MSPA CLAIMS I, LLC                                       2/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: COURTNEY L. STIDHAM
         PENDLEY, BAUDIN & COFFIN, LLP                         ACCOUNT NO.:
         1515 POYDRAS STREET - SUITE 1400                      NOT AVAILABLE
         NEW ORLEANS, LA 70112



3.5356   MSPA CLAIMS I, LLC                                       2/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHRISTOPHER L. COFFIN
         PENDLEY, BAUDIN & COFFIN, LLP                         ACCOUNT NO.:
         1515 POYDRAS STREET - SUITE 1400                      NOT AVAILABLE
         NEW ORLEANS, LA 70112



3.5357   MSPA CLAIMS I, LLC                                       2/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: TRACY L. TURNER
         PENDLEY, BAUDIN & COFFIN, LLP                         ACCOUNT NO.:
         7573 OGDEN WOODS BLVD                                 NOT AVAILABLE
         NEW ALBANY, OH 43054



3.5358   MSPA CLAIMS I, LLC                                       2/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT FOR SERVICE OF PROCESS;
         MANAGER                                               ACCOUNT NO.:
         C/O SANDRA RODRIGUEZ                                  NOT AVAILABLE
         2701 SOUTH LE JEUNE ROAD - 10TH FLOOR
         CORAL GABLES, FL 33134



3.5359   MUCKLESHOOT INDIAN TRIBE                                 3/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR
         39015 - 172ND AVENUE SOUTHEAST                        ACCOUNT NO.:
         AUBURN, WA 98092                                      NOT AVAILABLE



3.5360   MUNICIPALITY OF ARROYO, PUERTO RICO, ET AL.              8/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: ALCALDE
         GOBIERNO MUNICIPAL DE ARROYO                          ACCOUNT NO.:
         CALLE MORSE #64 - P.O. BOX 477                        NOT AVAILABLE
         ARROYO, PR 00714



3.5361   MUNICIPALITY OF BAYAMON, PUERTO RICO, ET AL.             8/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: ALCALDE
         5TO PISO, CASA ALCALDÍA                               ACCOUNT NO.:
         CARRETERA NÚMERO 2, KILOMETRO 11                      NOT AVAILABLE
         BAYAMÓN, PR 00960



3.5362   MUNICIPALITY OF CAGUAS, PUERTO RICO, ET AL.              8/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: ALCALDE
         ALCALDÍA, WILLIAM MIRANDA MARÍN                       ACCOUNT NO.:
         CALLE ALEJANDRO TAPIA Y RIVERA - 5TO NIVEL            NOT AVAILABLE
         CAGUAS, PR 00725



3.5363   MUNICIPALITY OF CANOVANAS, PUERTO RICO                   8/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 1612                                           ACCOUNT NO.:
         CANÓVANAS, PR 00729-1612                              NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip        Date Claim Was Incurred    C U      D    Basis For      Offset   Amount of Claim
Code                                                   And Account Number                        Claim

Litigation

3.5364   MUNICIPALITY OF CATANO, PUERTO RICO, ET AL.              8/30/2019                   Opioid Matter              UNDETERMINED
         ATTN: ALCALDE
         ALCALDÍA                                              ACCOUNT NO.:
         P.O. BOX 428                                          NOT AVAILABLE
         CATAÑO, PR 00963



3.5365   MUNICIPALITY OF CEIBA, PUERTO RICO, ET AL.               8/30/2019                   Opioid Matter              UNDETERMINED
         ATTN: ALCALDE
         ALCALDÍA                                              ACCOUNT NO.:
         P.O. BOX 224                                          NOT AVAILABLE
         CEIBA, PR 00735



3.5366   MUNICIPALITY OF COAMO, PUERTO RICO, ET AL.               8/30/2019                   Opioid Matter              UNDETERMINED
         ATTN: ALCALDE
         ALCALDÍA                                              ACCOUNT NO.:
         P.O. BOX 1875                                         NOT AVAILABLE
         COAMO, PR 00769



3.5367   MUNICIPALITY OF GUAYAMA, PUERTO RICO                    12/18/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR/ALCALDE
         CITY HALL GUAYAMA                                     ACCOUNT NO.:
         P.O. BOX 360                                          NOT AVAILABLE
         GUAYAMA, PR 00785



3.5368   MUNICIPALITY OF GUAYANILLA, PUERTO RICO                 12/20/2017                   Opioid Matter              UNDETERMINED
         ATTN: GUAYANILLA MAYOR/ALCALDE
         ALCALDÍA DE GUAYANILLA                                ACCOUNT NO.:
         GUAYANILLA, PR 00656                                  NOT AVAILABLE



3.5369   MUNICIPALITY OF GUAYANILLA, PUERTO RICO                 12/20/2017                   Opioid Matter              UNDETERMINED
         ATTN: GUAYANILLA MAYOR/ALCALDE
         CITY HALL GUAYANILLA                                  ACCOUNT NO.:
         P.O. BOX 560550                                       NOT AVAILABLE
         GUAYANILLA, PR 00656



3.5370   MUNICIPALITY OF JUNCOS, PUERTO RICO                      8/22/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 1706                                           ACCOUNT NO.:
         JUNCOS, PR 00777                                      NOT AVAILABLE



3.5371   MUNICIPALITY OF LOIZA, PUERTO RICO                      12/27/2017                   Opioid Matter              UNDETERMINED
         ATTN: LOÍZA MAYOR/ALCALDIA
         CITY HALL LOÍZA                                       ACCOUNT NO.:
         P.O. BOX 508                                          NOT AVAILABLE
         LOIZA, PR 00772



3.5372   MUNICIPALITY OF LOIZA, PUERTO RICO                      12/27/2017                   Opioid Matter              UNDETERMINED
         ATTN: LOÍZA MAYOR/ALCALDIA
         LOÍZA CITY HALL                                       ACCOUNT NO.:
         3 CALLE ESPIRITU SANTO                                NOT AVAILABLE
         LOÍZA, PR 00772




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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                          Claim

Litigation

3.5373   MUNICIPALITY OF RIO GRANDE, PUERTO RICO                   7/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 847                                             ACCOUNT NO.:
         RIO GRANDE, PR 00745                                   NOT AVAILABLE



3.5374   MUNICIPALITY OF SABANA GRANDE, PUERTO RICO, ET            3/26/2018                   Opioid Matter              UNDETERMINED
         AL.
         ATTN: MAYOR/ALCALDE                                    ACCOUNT NO.:
         CASA ALCALDÍA DE SABANA GRANDE                         NOT AVAILABLE
         42 CALLE ÁNGEL GREGORIO MARTÍNEZ
         SABANA GRANDE, PR 00637



3.5375   MUNICIPALITY OF SABANA GRANDE, PUERTO RICO, ET            3/26/2018                   Opioid Matter              UNDETERMINED
         AL.
         ATTN: MAYOR                                            ACCOUNT NO.:
         CITY HALL SABANA GRANDE                                NOT AVAILABLE
         P.O. BOX 356
         SABANA GRANDE, PR 00637



3.5376   MUNICIPALITY OF SABANA GRANDE, PUERTO RICO, ET            3/26/2018                   Opioid Matter              UNDETERMINED
         AL.
         ATTN: MAYOR/ALCALDE                                    ACCOUNT NO.:
         MUNICIPIO DE SABANA GRANDE                             NOT AVAILABLE
         60 ESQ BETANCES
         SABANA GRANDE, PR 00637



3.5377   MUNICIPALITY OF VEGA ALTA, PUERTO RICO                    8/29/2018                   Opioid Matter              UNDETERMINED
         P.O. BOX 1390
         VEGA ALTA, PR 00692-1390                               ACCOUNT NO.:
                                                                NOT AVAILABLE


3.5378   MUNICIPALITY OF VILLALBA, PUERTO RICO, ET AL.             8/30/2019                   Opioid Matter              UNDETERMINED
         ATTN: ALCALDE
         ALCALDÍA                                               ACCOUNT NO.:
         P.O. BOX 1506                                          NOT AVAILABLE
         VILLALBA, PR 00766



3.5379   MUNICIPALITY OF YABUCOA, PUERTO RICO                      6/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 97                                              ACCOUNT NO.:
         YABUCOA, PR 00767-0097                                 NOT AVAILABLE



3.5380   MUSETTE CHANCEY, INDIVIDUALLY AND AS NEXT                 6/20/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABIES D.C.1. AND D.C.2.
         ATTN: CELESTE BRUSTOWICZ                               ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                   NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.5381   MUSKEGON COUNTY, MICHIGAN                                 10/9/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         990 TERRACE STREET                                     ACCOUNT NO.:
         IST FLOOR                                              NOT AVAILABLE
         MUSKEGON, MI 49442




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5382   MUSKEGON COUNTY, MICHIGAN                                10/9/2018                   Opioid Matter              UNDETERMINED
         990 TERRACE STREET
         1ST FLOOR                                             ACCOUNT NO.:
         MUSKEGON, MI 49442                                    NOT AVAILABLE



3.5383   MUSKINGUM COUNTY BOARD OF COUNTY                         1/15/2018                   Opioid Matter              UNDETERMINED
         COMMISSIONERS
         ATTN: COUNTY COMMISSIONERS                            ACCOUNT NO.:
         401 MAIN STREET                                       NOT AVAILABLE
         ZANESVILLE, OH 43701



3.5384   NACOGDOCHES MEDICAL CENTER                              UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CEO
         4920 NORTHEAST STALLINGS DRIVE                        ACCOUNT NO.:
         NACOGDOCHES, TX 75965                                 NOT AVAILABLE



3.5385   NACOGDOCHES MEDICAL CENTER                              UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         7557 RAMBLER ROAD                                     ACCOUNT NO.:
         SUITE 900                                             NOT AVAILABLE
         DALLAS, TX 75231



3.5386   NADJA STREITER, INDIVIDUALLY AND ON BEHALF OF ALL        8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: ASHLEY C. KELLER                                ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 2750
         CHICAGO, IL 60606



3.5387   NADJA STREITER, INDIVIDUALLY AND ON BEHALF OF ALL        8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: TRAVIS LENKNER                                  ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 2570
         CHICAGO, IL 60606



3.5388   NADJA STREITER, INDIVIDUALLY AND ON BEHALF OF ALL        8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: MICHAEL H. PARK                                 ACCOUNT NO.:
         ATTN: MICHAEL H PARK                                  NOT AVAILABLE
         745 FIFTH AVENUE - SUITE 500
         NEW YORK, NY 10151



3.5389   NADJA STREITER, INDIVIDUALLY AND ON BEHALF OF ALL        8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: THOMAS R. MCCARTHY                              ACCOUNT NO.:
         CONSOVOY MCCARTHY PARK PLLC                           NOT AVAILABLE
         - SUITE 700
         ARLINGTON, VA 22201




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Code                                                 And Account Number                          Claim

Litigation

3.5390   NADJA STREITER, INDIVIDUALLY AND ON BEHALF OF ALL        8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: WILLIAM S. CONSOVOY                             ACCOUNT NO.:
         CONSOVOY MCCARTHY PARK PLLC                           NOT AVAILABLE
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201



3.5391   NADJA STREITER, INDIVIDUALLY AND ON BEHALF OF ALL        8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: HEATHER SPAIDE                                  ACCOUNT NO.:
         ZELDES, NEEDLE & COOPER, PC                           NOT AVAILABLE
         263 TRESSER BLVD - 14TH FLOOR
         STAMFORD, CT 06901



3.5392   NADJA STREITER, INDIVIDUALLY AND ON BEHALF OF ALL        8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: BRENDAN J. O'ROURKE                             ACCOUNT NO.:
         ZELDES, NEEDLE & COOPER, PC                           NOT AVAILABLE
         263 TRESSER BLVD - 14TH FLOOR
         STAMFORD, CT 06901



3.5393   NADJA STREITER, INDIVIDUALLY AND ON BEHALF OF ALL        8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: SETH MEYER                                      ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 2570
         CHICAGO, IL 60606



3.5394   NAOMI WRIGHT, INDIVIDUALLY AND AS NEXT FRIEND            6/20/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY M.W.
         ATTN: DONALD E. CREADORE                              ACCOUNT NO.:
         CREADOR LAW FIRM                                      NOT AVAILABLE
         450 SEVENTH AVENUE - SUITE 1408
         NEW YORK, NY 10123



3.5395   NAOMI WRIGHT, INDIVIDUALLY AND AS NEXT FRIEND            6/20/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY M.W.
         ATTN: CELESTE BRUSTOWICZ                              ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                  NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.5396   NASSAU UNIVERSITY MEDICAL CENTER                         8/30/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT AND VICE PRESIDENT
         2201 HEMPSTEAD TURNPIKE                               ACCOUNT NO.:
         EAST MEADOW, NY 11554                                 NOT AVAILABLE



3.5397   NATIONAL ROOFERS UNION & EMPLOYERS JOINT                 6/21/2018                   Opioid Matter              UNDETERMINED
         HEALTH & WELFARE FUND
         ATTN: FUND ADMINISTRATOR                              ACCOUNT NO.:
         WILSON-MCSHANE CORPORATION                            NOT AVAILABLE
         FUNDS OFFICE - 3001 METRO DRIVE, SUITE 500
         BLOOMINGTON, MN 55425




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5398   NATIVE VILLAGE OF AFOGNAK, INDIVIDUALLY AND ON          11/16/2018                   Opioid Matter              UNDETERMINED
         BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: MARK P. CHALOS                                  ACCOUNT NO.:
         LIEFF CABRASER HEIMANN & BERNSTEIN LLP                NOT AVAILABLE
         222 2ND AVENUE SOUTH - SUITE 1540
         NASHVILLE, TN 37201



3.5399   NATIVE VILLAGE OF AFOGNAK, INDIVIDUALLY AND ON          11/16/2018                   Opioid Matter              UNDETERMINED
         BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: ERIC B. FASTIFF                                 ACCOUNT NO.:
         LIEFF CABRASER HEIMANN & BERNSTEIN LLP                NOT AVAILABLE
         275 BATTERY STREET - 29TH FLOOR
         SAN FRANCISCO, CA 94111-3339



3.5400   NATIVE VILLAGE OF AFOGNAK, INDIVIDUALLY AND ON          11/16/2018                   Opioid Matter              UNDETERMINED
         BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: WHITNEY A. LEONARD                              ACCOUNT NO.:
         SONOSKY CHAMBERS SACHSE MILLER & MONKMAN LLP          NOT AVAILABLE
         725 EAST FIREWEED LANE - SUITE 420
         ANCHORAGE, AK 99503



3.5401   NATIVE VILLAGE OF AFOGNAK, INDIVIDUALLY AND ON          11/16/2018                   Opioid Matter              UNDETERMINED
         BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: LLOYD B. MILLER                                 ACCOUNT NO.:
         SONOSKY CHAMBERS SACHSE MILLER & MONKMAN LLP          NOT AVAILABLE
         725 EAST FIREWEED LAND - SUITE 420
         ANCHORAGE, AK 99503



3.5402   NATIVE VILLAGE OF AFOGNAK, INDIVIDUALLY AND ON          11/16/2018                   Opioid Matter              UNDETERMINED
         BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: CHAIRMAN, TRIBAL COUNCIL                        ACCOUNT NO.:
         115 MILL BAY ROAD                                     NOT AVAILABLE
         KODIAK, AK 99615



3.5403   NATIVE VILLAGE OF AFOGNAK, INDIVIDUALLY AND ON          11/16/2018                   Opioid Matter              UNDETERMINED
         BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: DONALD J. SIMON                                 ACCOUNT NO.:
         SONOSKY CHAMBERS SACHSE ENDRESON & PERRY LLP          NOT AVAILABLE
         1425 K STREET N.W. - SUITE 600
         WASHINGTON, DC 20005



3.5404   NATIVE VILLAGE OF AFOGNAK, INDIVIDUALLY AND ON          11/16/2018                   Opioid Matter              UNDETERMINED
         BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: SONA R. SHAH                                    ACCOUNT NO.:
         ZWERLING SCHAACHTER & ZWERLING LLP                    NOT AVAILABLE
         41 MADISON AVENUE
         NEW YORK, NY 10010



3.5405   NATIVE VILLAGE OF AFOGNAK, INDIVIDUALLY AND ON          11/16/2018                   Opioid Matter              UNDETERMINED
         BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: ROBERT S. SCHACHTER                             ACCOUNT NO.:
         ZWERLING SCHACHTER & ZWERLING LLP                     NOT AVAILABLE
         41 MADISON AVENUE
         NEW YORK, NY 10010




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5406   NATIVE VILLAGE OF AFOGNAK, INDIVIDUALLY AND ON          11/16/2018                   Opioid Matter              UNDETERMINED
         BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: DAN DRACHLER                                    ACCOUNT NO.:
         ZWERLING SCHACHTER & SWERLING LLP                     NOT AVAILABLE
         1904 THIRD AVENUE - SUITE 1030
         SEATTLE, WA 98101



3.5407   NATIVE VILLAGE OF AFOGNAK, INDIVIDUALLY AND ON          11/16/2018                   Opioid Matter              UNDETERMINED
         BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: ELIZABETH J. CABRASER                           ACCOUNT NO.:
         LIEFF CABRASER HEIMANN & BERNSTEIN LLP                NOT AVAILABLE
         275 BATTERY STREET - 29TH FLOOR
         SAN FRANCISCO, CA 94111-3339



3.5408   NATIVE VILLAGE OF PORT HEIDEN                           11/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND TRIBAL COUNSEL
         PO BOX 49007                                          ACCOUNT NO.:
         PORT HEIDEN, AK 99549                                 NOT AVAILABLE



3.5409   NATIVE VILLAGE OF PORT HEIDEN                           11/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT, ADMINISTRATOR
         2200 JAMES STREET                                     ACCOUNT NO.:
         PORT HEIDEN, AK 99549                                 NOT AVAILABLE



3.5410   NAVARRO HOSPITAL, L.P.D/B/A NAVARRO                     UNKNOWN                      Opioid Matter              UNDETERMINED
         REGIONALHOSPITAL
         ATTN: CEO, PARTNER, OR MANAGER                        ACCOUNT NO.:
         3201 WEST HIGHWAY 22                                  NOT AVAILABLE
         CORSICANA, TX 75110



3.5411   NAVARRO HOSPITAL, L.P.D/B/A NAVARRO                     UNKNOWN                      Opioid Matter              UNDETERMINED
         REGIONALHOSPITAL
         ATTN: REGISTERED AGENT                                ACCOUNT NO.:
         211 EAST 7TH STREET                                   NOT AVAILABLE
         SUITE 620
         AUSTIN, TX 78701



3.5412   NESHOBA COUNTY, MISSISSIPPI                              6/28/2018                   Opioid Matter              UNDETERMINED
         NESHOBA COUNTY CHANCERY CLERK
         401 E. BEACON STREET,                                 ACCOUNT NO.:
          - SUITE 107                                          NOT AVAILABLE
         PHILADELPHIA, MS 39350



3.5413   NESHOBA COUNTY, MISSISSIPPI                              6/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF SUPERVISORS
         SUPERVISOR DISTRICT FOUR                              ACCOUNT NO.:
         12721 ROAD 339                                        NOT AVAILABLE
         UNION, MS 39365



3.5414   NEW HANOVER COUNTY                                      12/14/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER & CHAIRMAN TO THE BOARD
         OF COUNTY COMMISSIONERS                               ACCOUNT NO.:
         230 GOVERNMENT CENTER DRIVE                           NOT AVAILABLE
         SUITE 195
         WILMINGTON, NC 28403


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Code                                                 And Account Number                          Claim

Litigation

3.5415   NEW HANOVER COUNTY                                      12/14/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         230 GOVERNMENT CENTER DRIVE                           ACCOUNT NO.:
         SUITE 125                                             NOT AVAILABLE
         WILMINGTON, NC 28403



3.5416   NEW HANOVER COUNTY                                      12/14/2017                   Opioid Matter              UNDETERMINED
         230 GOVERNMENT CENTER DRIVE
         SUITE 175                                             ACCOUNT NO.:
         WILMINGTON, NC 28403                                  NOT AVAILABLE



3.5417   NEW ORLEANS MISSION, INC.                                8/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT AND DIRECTOR
         1134 BARONNE STREET                                   ACCOUNT NO.:
         NEW ORLEANS, LA 70113                                 NOT AVAILABLE



3.5418   NEW ORLEANS MISSION, INC.                                8/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: DIRECTOR
         1130 ORETHA CASTLE                                    ACCOUNT NO.:
         HALEY BLVD.                                           NOT AVAILABLE
         NEW ORLEANS, LA 70113



3.5419   NEW YORK DEPARTMENT OF FINANCIAL SERVICES               UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: SUPERINTENDENT OF FINANCIAL SERVICES
         1 STATE ST                                            ACCOUNT NO.:
         NEW YORK, NY 10004                                    NOT AVAILABLE



3.5420   NEWMAN'S MEDICAL SERVICES, INC.                          8/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT
         350 COTTAGE HILL ROAD                                 ACCOUNT NO.:
         SUITE 100                                             NOT AVAILABLE
         MOBILE, AL 36609



3.5421   NEWTON COUNTY, GEORGIA                                   5/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN BOARD OF COMMISSIONERS; COUNTY
         MANAGER                                               ACCOUNT NO.:
         1124 CLARK STREET                                     NOT AVAILABLE
         COVINGTON, GA 30014



3.5422   NEWTOWN TOWNSHIP                                         4/24/2019                   Opioid Matter              UNDETERMINED
         ATTN: TOWNSHIP MANAGER
         NEWTOWN TOWNSHIP ADMINISTRATIVE OFFICES               ACCOUNT NO.:
         100 MUNICIPAL DRIVE                                   NOT AVAILABLE
         NEWTOWN, PA 18940



3.5423   NEZ PERCE TRIBE                                          5/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND CHIEF EXECUTIVE OFFICER OF
         THE NEZ PERCE TRIBE                                   ACCOUNT NO.:
         120 BEAVER GRADE                                      NOT AVAILABLE
         P.O. BOX 305
         LAPWAI, ID 83540




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Code                                                    And Account Number                       Claim

Litigation

3.5424   NHCI OF HILLSBORO, INC. D/B/A HILL REGIONAL              UNKNOWN                     Opioid Matter              UNDETERMINED
         HOSPITAL
         ATTN: CEO, PARTNER, OR MANAGER                         ACCOUNT NO.:
         101 CIRCLE DRIVE                                       NOT AVAILABLE
         HILLSBORO, TX 76645



3.5425   NHCI OF HILLSBORO, INC. D/B/A HILL REGIONAL              UNKNOWN                     Opioid Matter              UNDETERMINED
         HOSPITAL
         ATTN: REGISTERED AGENT                                 ACCOUNT NO.:
         CORPORATION SERVICE COMPANY                            NOT AVAILABLE
         211 EAST 7TH STREET - SUITE 620
         AUSTIN, TX 78701



3.5426   NICHOLAS A. PADRON                                        7/9/2018                   Opioid Matter              UNDETERMINED
         ATTN: S.S. SOSA, ATTORNEY IN FACT
         2510 ELECTRONIC LANE                                   ACCOUNT NO.:
         SUITE 911                                              NOT AVAILABLE
         DALLAS, TX 75220



3.5427   NICHOLE TINDALL, INDIVIDUALLY AND AS NEXT FRIEND          6/18/2019                  Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY L.M.
         ATTN: SPENCER R. DOODY                                 ACCOUNT NO.:
         MARTZELL, BICKFORD & CENTOLA                           NOT AVAILABLE
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.5428   NICHOLE TINDALL, INDIVIDUALLY AND AS NEXT FRIEND          6/18/2019                  Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY L.M.
         ATTN: DAVID R. BARNEY, JR.                             ACCOUNT NO.:
         THOMPSON BARNEY LAW FIRM                               NOT AVAILABLE
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311



3.5429   NICHOLE TINDALL, INDIVIDUALLY AND AS NEXT FRIEND          6/18/2019                  Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY L.M.
         ATTN: KENT HARRISON ROBBINS                            ACCOUNT NO.:
         THE LAW OFFICE OF KENT HARRISON ROBBINS, P.A.          NOT AVAILABLE
         242 NORTHEAST 27TH STREET
         MIAMI, FL 33137



3.5430   NICHOLE TINDALL, INDIVIDUALLY AND AS NEXT FRIEND          6/18/2019                  Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY L.M.
         ATTN: KEVIN W. THOMPSON, DAVID R. BARNEY, JR.          ACCOUNT NO.:
         THOMPSON BARNEY LAW FIRM                               NOT AVAILABLE
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311



3.5431   NICHOLE TINDALL, INDIVIDUALLY AND AS NEXT FRIEND          6/18/2019                  Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY L.M.
         ATTN: CELESTE BRUSTOWICZ, STEPHEN H. WUSSOW            ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                   NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130




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Creditor's Name, Mailing Address Including Zip                 Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                            And Account Number                         Claim

Litigation

3.5432   NICHOLE TINDALL, INDIVIDUALLY AND AS NEXT FRIEND                   6/18/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY L.M.
         ATTN: DONALD E. CREADORE                                         ACCOUNT NO.:
         CREADOR LAW FIRM                                                 NOT AVAILABLE
         450 SEVENTH AVENUE - SUITE 1408
         NEW YORK, NY 10123



3.5433   NICHOLE TINDALL, INDIVIDUALLY AND AS NEXT FRIEND                   6/18/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY L.M.
         ATTN: SPENCER R. DOODY                                           ACCOUNT NO.:
         338 LAFAYETTE STREET                                             NOT AVAILABLE
         NEW ORLEANS, LA 70130



3.5434   NICHOLE TINDALL, INDIVIDUALLY AND AS NEXT FRIEND                   6/18/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY L.M.
         ATTN: CELESTE BRUSTOWICZ                                         ACCOUNT NO.:
         COOPER LAW FIRM                                                  NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.5435   NICHOLE TINDALL, INDIVIDUALLY AND AS NEXT FRIEND                   6/18/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY L.M.
         ATTN: SCOTT R. BICKFORD                                          ACCOUNT NO.:
         MARTZELL, BICKFORD & CENTOLA                                     NOT AVAILABLE
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.5436   NICOLE TUTTLE, INDIVIDUALLY AND AS NEXT FRIEND                     6/15/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY A.T., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                     ACCOUNT NO.:
         ATTN: CELESTE BRUSTOWICZ                                         NOT AVAILABLE
         COOPER LAW FIRM, LLC
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.5437   Niola Lechuga, individually and as next friend and guardian of     6/14/2019                   Opioid Matter              UNDETERMINED
         Babies Q.H.L. and A.G.L., on behalf of themselves and all
         others similarly situated                                        ACCOUNT NO.:
         Attn: Celeste Brustowicz, Stephen H. Wussow                      NOT AVAILABLE
         Cooper Law Firm, LLC
         1525 Religious Street
         New Orleans, LA 70130



3.5438   NIOLA LECHUGA, INDIVIDUALLY AND AS NEXT FRIEND                     6/14/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABIES Q.H.L. AND A.G.L., ON
         BEHALF OF THEMSELVES AND ALL OTHERS SIMILARLY                    ACCOUNT NO.:
         SITUATED                                                         NOT AVAILABLE
         ATTN: CELESTE BRUSTOWICZ
         COOPER LAW FIRM
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5439   NIOLA LECHUGA, INDIVIDUALLY AND AS NEXT FRIEND           6/14/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABIES Q.H.L. AND A.G.L., ON
         BEHALF OF THEMSELVES AND ALL OTHERS SIMILARLY         ACCOUNT NO.:
         SITUATED                                              NOT AVAILABLE
         ATTN: KEVIN W. THOMPSON
         THOMPSON BARNEY LAW FIRM
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311



3.5440   NIOLA LECHUGA, INDIVIDUALLY AND AS NEXT FRIEND           6/14/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABIES Q.H.L. AND A.G.L., ON
         BEHALF OF THEMSELVES AND ALL OTHERS SIMILARLY         ACCOUNT NO.:
         SITUATED                                              NOT AVAILABLE
         ATTN: DONALD E. CREADORE
         CREADOR LAW FIRM
         450 SEVENTH AVENUE - SUITE 1408
         NEW YORK, NY 10123



3.5441   NOBLE COUNTY, OHIO                                       10/3/2018                   Opioid Matter              UNDETERMINED
         COURTHOUSE ROOM 210
         CALDWELL, OH 43724-1294                               ACCOUNT NO.:
                                                               NOT AVAILABLE


3.5442   NOBLE COUNTY, OHIO                                       10/3/2018                   Opioid Matter              UNDETERMINED
         150 COURTHOUSE
         CALDWELL, OH 43724                                    ACCOUNT NO.:
                                                               NOT AVAILABLE


3.5443   NOBLE COUNTY, OHIO                                       10/3/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         CITY HALL 2ND FLOOR                                   ACCOUNT NO.:
         90 WEST BROAD STREET                                  NOT AVAILABLE
         COLUMBUS, OH 43215



3.5444   NODAWAY COUNTY, MISSOURI                                 6/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         403 NORTH MARKET                                      ACCOUNT NO.:
         ROOM 211 - ADMINISTRATION BUILDING                    NOT AVAILABLE
         MARYVILLE, MO 64468



3.5445   NOITU INSURANCE TRUST FUND                               8/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT AND VICE PRESIDENT
         NATIONAL ORGANIZATION OF INDUSTRIAL TRADE             ACCOUNT NO.:
         UNIONS                                                NOT AVAILABLE
         148-06 HILLSIDE AVENUE
         JAMAICA, NY 11435



3.5446   NOLA SJH II, LLC                                         6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT AND OFFICER
         10615 JEFFERSON HIGHWAY                               ACCOUNT NO.:
         BATON ROUGE, LA 70809                                 NOT AVAILABLE



3.5447   NOLA SJH II, LLC                                         6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: MANAGER
         THE CARPENTER HOUSE OF ST JOSEPH HOSPICE              ACCOUNT NO.:
         513 UPSTREAM STREET                                   NOT AVAILABLE
         RIVER RIDGE, LA 70123


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Code                                                 And Account Number                          Claim

Litigation

3.5448   NORTH CADDO HOSPITAL SERVICE DISTRICT D/B/A             10/26/2018                   Opioid Matter              UNDETERMINED
         NORTH CADDO MEDICAL CENTER
         ATTN: REGISTERED AGENT OF NORTH CADDO HOSPITAL        ACCOUNT NO.:
         SERVICE DISTRICT                                      NOT AVAILABLE
         111 FREESTATE BOULEVARD
         SUITE 117
         SHREVEPORT, LA 71107-6540



3.5449   NORTH CADDO HOSPITAL SERVICE DISTRICT D/B/A             10/26/2018                   Opioid Matter              UNDETERMINED
         NORTH CADDO MEDICAL CENTER
         ATTN: CHIEF EXECUTIVE OFFICER                         ACCOUNT NO.:
         815 SOUTH PINE STREET                                 NOT AVAILABLE
         VIVIAN, LA 71082



3.5450   NORTH MISSISSIPPI MEDICAL CENTER INC.                    3/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER, AND ADMINISTRATOR
         NORTH MISSISSIPPI HEALTH SERVICES                     ACCOUNT NO.:
         830 SOUTH GLOSTER STREET                              NOT AVAILABLE
         TUPELO, MS 38801



3.5451   NORTH MISSISSIPPI MEDICAL CENTER INC.                    3/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: INCORPORATOR - F.M. BUSH III
         316 COURT STREET                                      ACCOUNT NO.:
         P.O. BOX 648                                          NOT AVAILABLE
         TUPELO, MS 38804



3.5452   NORTHEAST AMBULANCE AND FIRE PROTECTION                  6/14/2019                   Opioid Matter              UNDETERMINED
         DISTRICT OF ST. LOUIS COUNTY, MISSOURI
         ATTN: CLERK OF ST. LOUIS COUNTY COUNCIL               ACCOUNT NO.:
         LAWRENCE K. ROOS GOVERNMENT BUILDING                  NOT AVAILABLE
         41 SOUTH CENTRAL AVENUE - 1ST FLOOR
         ST. LOUIS, MO 63105



3.5453   NORTHEAST CARPENTERS FUNDS                               4/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: CO-CHAIRMAN OF BOARD OF TRUSTEES; VICE
         CO- CHAIRMAN OF BOARD OF TRUSTEES                     ACCOUNT NO.:
         91 FIELDCREST AVENUE                                  NOT AVAILABLE
         RARITAN PLAZA II - 3RD FLOOR
         EDISON, NJ 08837



3.5454   NORTHEAST TENNESSEE COMMUNITY HEALTH                     7/11/2019                   Opioid Matter              UNDETERMINED
         CENTERS, INC.
         ATTN: REGISTERED AGENT                                ACCOUNT NO.:
         325 TREASURE LANE                                     NOT AVAILABLE
         #70403
         JOHNSON CITY, TN 37614



3.5455   NORTHERN ARAPAHO TRIBE                                   4/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: TRIBE’S COUNSEL CHAIRMAN, CEO
         533 ETHETE RD                                         ACCOUNT NO.:
         # 8480                                                NOT AVAILABLE
         ETHETE, WY 82520




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Code                                                 And Account Number                          Claim

Litigation

3.5456   NORTHERN ARAPAHO TRIBE                                   4/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: TRIBE’S COUNSEL CHAIRMAN, CEO
         533 ETHETE RD                                         ACCOUNT NO.:
         #8480                                                 NOT AVAILABLE
         ETHETE, WY 82520



3.5457   NORTHERN ARAPAHO TRIBE                                   4/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: TRIBE’S COUNSEL CHAIRMAN, CEO
         PO BOX 396                                            ACCOUNT NO.:
         FT. WASHAKIE, WY 82514                                NOT AVAILABLE



3.5458   NORTHERN CHEYENNE TRIBE                                 10/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT AND TRIBAL CHAIRMAN OF THE
         NORTHERN CHEYENNE TRIBE                               ACCOUNT NO.:
         LITTLEWOLF CAPITAL BUILDING                           NOT AVAILABLE
         P.O. BOX 128 - 600 CHEYENNE AVENUE
         LAME DEER, MT 59043



3.5459   NORTHUMBERLAND COUNTY, VIRGINIA                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COMMONWEALTH ATTORNEY
         PO BOX 217                                            ACCOUNT NO.:
         HEATHSVILLE, VA 22473                                 NOT AVAILABLE



3.5460   NORTHWEST ARIZONA EMPLOYEE BENEFIT TRUST                 8/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT, OFFICERS, AND AGENTS
         1905 WEST WASHINGTON STREET, SUITE 201                ACCOUNT NO.:
         PHOENIX, AZ 85009                                     NOT AVAILABLE



3.5461   NORTHWEST ARIZONA EMPLOYEE BENEFIT TRUST                 8/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT, OFFICERS, AND AGENTS
         ERIN P. COLLINS & ASSOCIATES, INC.                    ACCOUNT NO.:
         1115 STOCKTON HILL ROAD - SUITE 101                   NOT AVAILABLE
         KINGMAN, AZ 86401



3.5462   NORTHWEST HOSPITAL, LLC                                  6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         CORPORATION SERVICE COMPANY                           ACCOUNT NO.:
         8825 NORTH 23RD AVENUE - SUITE 100                    NOT AVAILABLE
         PHOENIX, AZ 85021



3.5463   NORTHWEST HOSPITAL, LLC                                  6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         6200 NORTH LACHOLLA BOULEVARD                         ACCOUNT NO.:
         TUCSON, AZ 85741                                      NOT AVAILABLE



3.5464   NORTHWEST HOSPITAL, LLC                                  6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         1700 WEST WASHINGTON STREET                           ACCOUNT NO.:
         FLOOR 7                                               NOT AVAILABLE
         PHOENIX, AZ 85007




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Code                                                  And Account Number                         Claim

Litigation

3.5465   NORTON COMMUNITY HOSPITAL                                7/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: OFFICER OR MANAGING AGENT
         100 FIFTEENTH STREET NORTHWEST                        ACCOUNT NO.:
         NORTON, VA 24273                                      NOT AVAILABLE



3.5466   NORTON COMMUNITY HOSPITAL                                7/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         400 NORTH STATE OF FRANKLIN ROAD                      ACCOUNT NO.:
         JOHNSON CITY, TN 37604                                NOT AVAILABLE



3.5467   NORTON SOUND HEALTH CORPORATION                         10/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT
         1000 GREG KRUSCHEK AVENUE                             ACCOUNT NO.:
         NOME, AK 99762                                        NOT AVAILABLE



3.5468   NORTON SOUND HEALTH CORPORATION                         10/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         DWT ALASKA CORP.                                      ACCOUNT NO.:
         188 WEST NORTHERN LIGHTS BOULEVARD - SUITE 1100       NOT AVAILABLE
         ANCHORAGE, AK 99503



3.5469   NUECES COUNTY HOSPITAL DISTRICT                          7/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         NUECES COUNTY COURTHOUSE                              ACCOUNT NO.:
         901 LEOPARD STREET - FLOOR: 3RD ROOM: 303             NOT AVAILABLE
         CORPUS CHRISTI, TX 78401



3.5470   NYE COUNTY, NEVADA                                      10/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: AARON FORD
         STATE OF NEVADA ATTORNEY GENERAL                      ACCOUNT NO.:
         OLD SUPREME CT. BLDG. - 100 N. CARSON ST.             NOT AVAILABLE
         CARSON CITY, NV 89701



3.5471   NYE COUNTY, NEVADA                                      10/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER, CHAIRMAN
         2100 EAST WALT WILLIAMS DRIVE                         ACCOUNT NO.:
         SUITE 100                                             NOT AVAILABLE
         PAHRUMP, NV 89048



3.5472   OAK HILL HOSPITAL CORPORATION D/B/A PLATEAU              4/29/2019                   Opioid Matter              UNDETERMINED
         MEDICAL CENTER
         ATTN: PRESIDENT, OFFICERS, DIRECTORS, AND             ACCOUNT NO.:
         TRUSTEES                                              NOT AVAILABLE
         430 MAIN STREET
         OAK HILL, WV 25901



3.5473   OAK HILL HOSPITAL CORPORATION D/B/A PLATEAU              4/29/2019                   Opioid Matter              UNDETERMINED
         MEDICAL CENTER
         ATTN: REGISTERED AGENT                                ACCOUNT NO.:
         CORPORATION SERVICE COMPANY                           NOT AVAILABLE
         209 WEST WASHINGTON STTREET
         CHARLESTON, WV 25302




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5474   OAK HILL HOSPITAL CORPORATION D/B/A PLATEAU              4/29/2019                   Opioid Matter              UNDETERMINED
         MEDICAL CENTER
         ATTN: PRESIDENT, OFFICERS, DIRECTORS, AND             ACCOUNT NO.:
         TRUSTEES                                              NOT AVAILABLE
         4000 MERIDIAN BOULEVARD
         FRANKLIN, TN 37067



3.5475   OASIS HOSPITAL                                           6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         OFFICE OF THE SECRETARY OF STATE                      ACCOUNT NO.:
         1700 WEST WASHINGTON STREET - FLOOR 7                 NOT AVAILABLE
         PHOENIX, AZ 85007-2808



3.5476   OASIS HOSPITAL                                           6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF MEDICAL OFFICER
         750 NORTH 40TH STREET                                 ACCOUNT NO.:
         PHOENIX, AZ 85008                                     NOT AVAILABLE



3.5477   OASIS HOSPITAL                                           6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: STATUTORY AGENT
         2345 SOUTH ALMA SCHOOL ROAD                           ACCOUNT NO.:
         #104                                                  NOT AVAILABLE
         MESA, AZ 85210



3.5478   OCHILTREE COUNTY HOSPITAL DISTRICT                       7/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         315 SOUTH MAIN STREET                                 ACCOUNT NO.:
         PERRYTON, TX 79070                                    NOT AVAILABLE



3.5479   OCHILTREE COUNTY HOSPITAL DISTRICT                       7/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: ADMINISTRATOR / CEO
         OCHILTREE GENERAL HOSPITAL                            ACCOUNT NO.:
         3101 SOUTH GARRETT DRIVE                              NOT AVAILABLE
         PERRYTON, TX 79070



3.5480   OCONEE COUNTY, GA                                        2/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: THE MAYOR
         SOUTH MAIN STREET                                     ACCOUNT NO.:
         WATKINSVILLE, GA 30677                                NOT AVAILABLE



3.5481   OCONEE COUNTY, GA                                        2/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, BOARD OF COMMISSIONERS
         PO BOX 145                                            ACCOUNT NO.:
         WATKINSVILLE, GA 30677                                NOT AVAILABLE



3.5482   OCONTO COUNTY                                            11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         301 WASHINGTON STREET                                 ACCOUNT NO.:
         OCONTO, WI 54153                                      NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5483   OCONTO COUNTY                                            11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY BOARD CHAIR
         8304 W. RIVER RD.                                     ACCOUNT NO.:
         LENA, WI 54139                                        NOT AVAILABLE



3.5484   ODYSSEY HOUSE LOUISIANA, INC.                            2/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT AND CHIEF EXECUTIVE
         OFFICER                                               ACCOUNT NO.:
         1125 NORTH TONTI STREET                               NOT AVAILABLE
         NEW ORLEANS, LA 70119



3.5485   OGLALA LAKOTA SIOUX TRIBE                                3/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT, EXECUTIVE COMMITTEE, AND TRIBAL
         COUNSEL                                               ACCOUNT NO.:
         OGLALA SIOUX TRIBE                                    NOT AVAILABLE
         PO BOX 2070 - 107 WEST MAIN STREET
         PINE RIDGE, SD 57770



3.5486   OGLETHORPE COUNTY, GEORGIA                               3/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, BOARD OF COMMISSIONERS
         PO BOX 261                                            ACCOUNT NO.:
         LEXINGTON, GA 30648                                   NOT AVAILABLE



3.5487   OHIO CARPENTERS HEALTH FUND                              2/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: DIRECTOR, AGENT, OFFICERS, AND BOARD OF
         TRUSTEES                                              ACCOUNT NO.:
         6281 YOUNGSTOWN WARREN ROAD # 1                       NOT AVAILABLE
         NILES, OH 44446



3.5488   OHIO CARPENTERS HEALTH FUND                              2/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: DIRECTOR, AGENT, OFFICERS, AND BOARD OF
         TRUSTEES                                              ACCOUNT NO.:
         700 TOWER DRIVE, SUITE 300                            NOT AVAILABLE
         TROY, MI 48098



3.5489   OHIO CONFERENCE OF TEAMSTERS & INDUSTRY                  4/17/2018                   Opioid Matter              UNDETERMINED
         HEALTH & WELFARE FUND
         ATTN: PRESIDENT AND FUND ADMINISTRATOR                ACCOUNT NO.:
         435 SOUTH HAWLEY STREET                               NOT AVAILABLE
         TOLEDO, OH 43609



3.5490   OHIO COUNTY COMMISSION                                  12/13/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         OHIO COUNTY CLERK'S OFFICE                            ACCOUNT NO.:
         1500 CHAPLINE STREET - ROOM 205                       NOT AVAILABLE
         WHEELING, WV 26003



3.5491   OHIO COUNTY COMMISSION                                  12/13/2017                   Opioid Matter              UNDETERMINED
         DANIEL J. GUIDA
         GUIDA LAW OFFICE                                      ACCOUNT NO.:
         3374 MAIN STREET                                      NOT AVAILABLE
         WEIRTON, WV 26062




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5492   OHIO COUNTY COMMISSION                                  12/13/2017                   Opioid Matter              UNDETERMINED
         SALVATORE C. BADALA
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.5493   OHIO COUNTY COMMISSION                                  12/13/2017                   Opioid Matter              UNDETERMINED
         HUNTER J. SHKOLNIK
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.5494   OHIO COUNTY COMMISSION                                  12/13/2017                   Opioid Matter              UNDETERMINED
         JONATHAN E. TURAK
         GOLD, KHOUREY & TURAK                                 ACCOUNT NO.:
         510 TOMLINSON AVENUE                                  NOT AVAILABLE
         MOUNDSVILLE, WV 26041



3.5495   OHIO COUNTY COMMISSION                                  12/13/2017                   Opioid Matter              UNDETERMINED
         PAUL J. NAPOLI
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.5496   OHIO COUNTY COMMISSION                                  12/13/2017                   Opioid Matter              UNDETERMINED
         ROBERT P. FITZSIMMONS
         FITZSIMMONS LAW FIRM PLLC                             ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26003



3.5497   OHIO COUNTY COMMISSION                                  12/13/2017                   Opioid Matter              UNDETERMINED
         CLAYTON J. FITZSIMMONS
         FITZSIMMONS LAW FIRM PLLC                             ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26003



3.5498   OHIO COUNTY COMMISSION                                  12/13/2017                   Opioid Matter              UNDETERMINED
         JOSEPH F. SHAFFER
         SHAFFER MADIA LAW PLLC                                ACCOUNT NO.:
         343 WEST MAIN STREET                                  NOT AVAILABLE
         CLARKSBURG, WV 26301



3.5499   OHIO COUNTY COMMISSION                                  12/13/2017                   Opioid Matter              UNDETERMINED
         JOSEPH L. CIACCIO
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.5500   OHIO COUNTY COMMISSION                                  12/13/2017                   Opioid Matter              UNDETERMINED
         MARK A. COLANTONIO
         FITZSIMMONS LAW FIRM PLLC                             ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26003




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5501   OHIO COUNTY COMMISSION                                  12/13/2017                   Opioid Matter              UNDETERMINED
         SHAYNA E. SACKS
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.5502   OHIO COUNTY COMMISSION                                  12/13/2017                   Opioid Matter              UNDETERMINED
         SAMUEL D. MADIA
         SHAFFER MADIA LAW PLLC                                ACCOUNT NO.:
         343 WEST MAIN STREET                                  NOT AVAILABLE
         CLARKSBURG, WV 26301



3.5503   OLMSTED COUNTY, MINNESOTA                                6/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF COUNTY BOARD
         151 - 4TH STREET SE                                   ACCOUNT NO.:
         ROCHESTER, MN 55904                                   NOT AVAILABLE



3.5504   ONEIDA COUNTY                                            11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON
         1 S ONEIDA AVE.                                       ACCOUNT NO.:
         RHINELANDER, WI 54501                                 NOT AVAILABLE



3.5505   ONEIDA COUNTY                                            11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         ONEIDA COUNTY COURTHOUSE                              ACCOUNT NO.:
         P.O. BOX 400 - 1 S. ONEIDA AVE.                       NOT AVAILABLE
         RHINELANDER, WI 54501



3.5506   ONEIDA NATION                                            9/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNSEL CHAIRMAN AND TRIBE CHIEF
         EXECUTIVE OFFICER                                     ACCOUNT NO.:
         PO BOX 365                                            NOT AVAILABLE
         ONEIDA, WI 54155



3.5507   ONSLOW COUNTY                                            1/4/2017                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, BOARD OF COMMISSIONERS &
         COUNTY MANAGER                                        ACCOUNT NO.:
         ONSLOW COUNTY GOVERNMENT CENTER                       NOT AVAILABLE
         234 NW CORRIDOR BOULEVARD
         JACKSONVILLE, NC 28540



3.5508   OPELOUSAS GENERAL HOSPITAL AUTHORITY D/B/A               9/21/2018                   Opioid Matter              UNDETERMINED
         OPELOUSAS GENERAL HEALTH SYSTEM
         ATTN: PRESIDENT/CEO                                   ACCOUNT NO.:
         PO BOX 1389                                           NOT AVAILABLE
         OPELOUSAS, LA 70571



3.5509   OPELOUSAS GENERAL HOSPITAL AUTHORITY D/B/A               9/21/2018                   Opioid Matter              UNDETERMINED
         OPELOUSAS GENERAL HEALTH SYSTEM
         ATTN: SERVICE DISTRICT BOARD AND BOARD OF             ACCOUNT NO.:
         TRUSTEES CHAIRS                                       NOT AVAILABLE
         539 EAST PRUDHOMME STREET
         OPELOUSAS, LA 70570




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5510   ORANGE COUNTY                                            3/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR, BOARD OF COMMISSIONERS & COUNTY
         MANAGER                                               ACCOUNT NO.:
         200 S CAMERON STREET                                  NOT AVAILABLE
         CLERK'S OFFICE
         HILLSBOROUGH, NC 27278



3.5511   ORANGE COUNTY, FLORIDA                                   8/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         201 S. ROSALIND AVENUE, 5TH FLOOR                     ACCOUNT NO.:
         ORLANDO, FL 32801                                     NOT AVAILABLE



3.5512   ORANGE COUNTY, FLORIDA                                   8/29/2019                   Opioid Matter              UNDETERMINED
         DOUGLAS R. BEAM
         DOUGLAS R. BEAM, PA                                   ACCOUNT NO.:
         25 WEST HAVEN AVENUE, SUITE C - P.O. BOX 640          NOT AVAILABLE
         MELBOURNE, FL 32902-0640



3.5513   ORANGE COUNTY, FLORIDA                                   8/29/2019                   Opioid Matter              UNDETERMINED
         GREGORIO ANTONIO FRANCIS
         OSBOURNE & FRANCIS, PLLC                              ACCOUNT NO.:
         805 SOUTH KIRKMAN ROAD - SUITE 205                    NOT AVAILABLE
         ORLANDO, FL 32811-2200



3.5514   ORANGE COUNTY, FLORIDA                                   8/29/2019                   Opioid Matter              UNDETERMINED
         MICHAEL H. KAHN
         MICHAEL H. KAHN, PA                                   ACCOUNT NO.:
         482 NORTH HARBOR CITY BOULEVARD                       NOT AVAILABLE
         MELBOURNE, FL 32935



3.5515   ORANGE COUNTY, FLORIDA                                   8/29/2019                   Opioid Matter              UNDETERMINED
         ERIC ROMANO
         ROMANO LAW GROUP                                      ACCOUNT NO.:
         801 SPENCER DRIVE                                     NOT AVAILABLE
         WEST PALM BEACH, FL 33409-4027



3.5516   ORANGE COUNTY, FLORIDA                                   8/29/2019                   Opioid Matter              UNDETERMINED
         JOHN FLETCHER ROMANO
         ROMANO LAW GROUP                                      ACCOUNT NO.:
         801 SPENCER DRIVE                                     NOT AVAILABLE
         WEST PALM BEACH, FL 33409-4027



3.5517   ORANGE COUNTY, INDIANA                                   5/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF COMMISSIONERS,
         VICE-PRESIDENT OF THE BOARD OF COMMISSIONERS          ACCOUNT NO.:
         ORANGE COUNTY COMMISSIONERS                           NOT AVAILABLE
         205 EAST MAIN STREET
         PAOLI, IN 47454



3.5518   ORANGE COUNTY, INDIANA                                   5/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE COUNTY COUNCIL, VICE
         PRESIDENT OF THE COUNTY COUNCIL                       ACCOUNT NO.:
         205 EAST MAIN STREET                                  NOT AVAILABLE
         PAOLI, IN 47454



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5519   ORLAND FIRE PROTECTION DISTRICT                          7/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT, PRESIDENT PRO TEM, TREASURE,
         SECRETARY, TRUSTEE                                    ACCOUNT NO.:
         9790 WEST 151ST STREET                                NOT AVAILABLE
         ORLAND PARK, IL 60462



3.5520   ORLEANS PARISH HOSPITAL SERVICE DISTRICT -               10/9/2018                   Opioid Matter              UNDETERMINED
         DISTRICT A
         ATTN: CHAIRMAN, BOARD OF COMMISSIONERS                ACCOUNT NO.:
         5640 READ BOULEVARD                                   NOT AVAILABLE
         SUITE 710
         NEW ORLEANS, LA 70127



3.5521   ORO VALLEY HOSPITAL, LLC                                 6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         1700 W WASHINGTON ST                                  ACCOUNT NO.:
         FL 7                                                  NOT AVAILABLE
         PHOENIX, AZ 85007



3.5522   ORO VALLEY HOSPITAL, LLC                                 6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         CORPORATION SERVICE COMPANY                           ACCOUNT NO.:
         8825 NORTH 23RD AVENUE - SUITE 100                    NOT AVAILABLE
         PHOENIX, AZ 85021



3.5523   ORTHOPEDIC AND SURGICAL SPECIALTY COMPANY, LLC           6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         2905 W WARNER RD STE 19                               ACCOUNT NO.:
         CHANDLER, AZ 85224-1674                               NOT AVAILABLE



3.5524   ORTHOPEDIC AND SURGICAL SPECIALTY COMPANY, LLC           6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         1700 WEST WASHINGTON STREET                           ACCOUNT NO.:
         FLOOR 7                                               NOT AVAILABLE
         PHOENIX, AZ 85007



3.5525   OSAGE COUNTY, MISSOURI                                  10/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         205 EAST MAIN STREET                                  ACCOUNT NO.:
         P.O. BOX 826                                          NOT AVAILABLE
         LINN, MO 65051



3.5526   OSAGE NATION                                             7/26/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRINCIPAL CHIEF AND CHIEF EXECUTIVE OFFICER
         OF THE OSAGE NATION                                   ACCOUNT NO.:
         627 GRANDVIEW AVENUE                                  NOT AVAILABLE
         PAWHUSKA, OK 74056



3.5527   OSAGE NATION                                             7/26/2019                   Opioid Matter              UNDETERMINED
         CURTIS "MUSKRAT" BRUEHL
         FULMER SILL LAW GROUP                                 ACCOUNT NO.:
         P.O. BOX 2448 - 1101 NORTH BROADWAY AVENUE, SUITE     NOT AVAILABLE
         102
         OKLAHOMA CITY, OK 73103



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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                         Claim

Litigation

3.5528   OSAGE NATION                                             7/26/2019                   Opioid Matter              UNDETERMINED
         HARRISON C. LUJAN
         FULMER SILL LAW GROUP                                 ACCOUNT NO.:
         P.O. BOX 2448 - 1101 NORTH BROADWAY AVENUE, SUITE     NOT AVAILABLE
         102
         OKLAHOMA CITY, OK 73103



3.5529   OSAGE NATION                                             7/26/2019                   Opioid Matter              UNDETERMINED
         M. DAVID RIGGS
         RIGGS, ABNEY, NEAL TURPEN, ORBISON & LEWIS, P.C       ACCOUNT NO.:
         502 WEST SIXTH STREET                                 NOT AVAILABLE
         TULSA, OK 74119



3.5530   OSAGE NATION                                             7/26/2019                   Opioid Matter              UNDETERMINED
         MATTHEW J. SILL
         FULMER SILL LAW GROUP                                 ACCOUNT NO.:
         P.O. BOX 2448 - 1101 NORTH BROADWAY AVENUE, SUITE     NOT AVAILABLE
         102
         OKLAHOMA CITY, OK 73103



3.5531   OSAGE NATION                                             7/26/2019                   Opioid Matter              UNDETERMINED
         LISA R. RIGGS
         RIGGS, ABNEY, NEAL TURPEN, ORBISON & LEWIS, P.C       ACCOUNT NO.:
         502 WEST SIXTH STREET                                 NOT AVAILABLE
         TULSA, OK 74119



3.5532   OTERO COUNTY                                             5/29/2018                   Opioid Matter              UNDETERMINED
         13 W. 3RD STREET, ROOM 212
         LA JUNTA, CO 81050                                    ACCOUNT NO.:
                                                               NOT AVAILABLE


3.5533   OTERO COUNTY                                             5/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND RECORDER
         13 W. 3RD STREET, ROOM 210                            ACCOUNT NO.:
         LA JUNTA, CO 81050                                    NOT AVAILABLE



3.5534   OTOE-MISSOURIA TRIBE OF INDIANS                          6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: TRIBAL COUNCIL CHAIRMAN & EXECUTIVE
         DIRECTOR                                              ACCOUNT NO.:
         8151 HIGHWAY 177                                      NOT AVAILABLE
         RED ROCK, OK 74651



3.5535   OTTAWA COUNTY BOARD OF COUNTY COMMISSIONERS              12/8/2017                   Opioid Matter              UNDETERMINED
         ATTN: BOARD OF COUNTY COMMISSIONERS PRESIDENT
         315 MADISON STREET                                    ACCOUNT NO.:
         ROOM 103                                              NOT AVAILABLE
         PORT CLINTON, OH 43452



3.5536   OUR LADY OF BELLEFONTE HOSPITAL, INC.                    7/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         COGENCY GLOBAL INC.                                   ACCOUNT NO.:
         3958-D BROWN PARK DRIVE                               NOT AVAILABLE
         HILLIARD, OH 43026




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5537   OVERTON COUNTY                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE
         OVERTON COUNTY EXECUTIVE OFFICE                       ACCOUNT NO.:
         317 UNIVERSITY STREET - SUITE 1                       NOT AVAILABLE
         LIVINGSTON, TN 38570



3.5538   OVERTON COUNTY                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         317 EAST UNIVERSITY STREET                            ACCOUNT NO.:
         ROOM #22                                              NOT AVAILABLE
         LIVINGSTON, TN 38570



3.5539   OVERTON COUNTY, TN                                       4/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE
         317 UNIVERSITY STREET, SUITE 1                        ACCOUNT NO.:
         LIVINGSTON, TN 38570                                  NOT AVAILABLE



3.5540   OVERTON COUNTY, TN                                       4/17/2018                   Opioid Matter              UNDETERMINED
         1000 JOHN T. POINDEXTER DRIVE
         LIVINGSTON, TN 38570                                  ACCOUNT NO.:
                                                               NOT AVAILABLE


3.5541   OWYHEE COUNTY                                            8/17/2018                   Opioid Matter              UNDETERMINED
         PO BOX 128
         MURPHY, ID 83650                                      ACCOUNT NO.:
                                                               NOT AVAILABLE


3.5542   OWYHEE COUNTY                                            8/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISIONERS/CLERK
         OWYHEE COUNTY COURTHOUSE                              ACCOUNT NO.:
         20381 STATE HIGHWAY 78                                NOT AVAILABLE
         MURPHY, ID 83650



3.5543   OZARK COUNTY, MISSOURI                                  10/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         1 COURTHOUSE SQUARE                                   ACCOUNT NO.:
         GAINESVILLE, MO 65655                                 NOT AVAILABLE



3.5544   PAGE COUNTY                                              9/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: COMMONWEALTH ATTORNEY
         116 SOUTH COURT STREET, SUITE D                       ACCOUNT NO.:
         LURAY, VA 22835                                       NOT AVAILABLE



3.5545   PAINTING INDUSTRY INSURANCE FUND                         8/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT, BUSINESS MANGER, AND
         SECRETARY TREASURER                                   ACCOUNT NO.:
         DISTRICT COUNCIL 9 OF THE INTERNATIONAL UNION OF      NOT AVAILABLE
         PAINTERS AND ALLIED TRADES MAIN OFFICE
         45 WEST 14TH STREET - #5
         NEW YORK, NY 10011




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip        Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                   And Account Number                          Claim

Litigation

3.5546   PAIUTE-SHOSHONE TRIBE OF THE FALLON                        6/1/2018                    Opioid Matter              UNDETERMINED
         RESERVATION AND COLONY
         ATTN: TRIBAL CHAIRMAN AND CHIEF EXECUTIVE               ACCOUNT NO.:
         OFFICER OF THE PAIUTE-SHOSHONE TRIBE OF THE             NOT AVAILABLE
         FALLON RESERVATION AND COLONY
         565 RIO VISTA DRIVE
         FALLON, NV 89406



3.5547   PALA BAND OF MISSION INDIANS                              11/26/2018                   Opioid Matter              UNDETERMINED
         12196 PALA MISSION ROAD
         PALA, CA 92059                                          ACCOUNT NO.:
                                                                 NOT AVAILABLE


3.5548   PALA BAND OF MISSION INDIANS                              11/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND CHIEF EXECUTIVE OFFICER
         12196 PALA TEMECULA ROAD                                ACCOUNT NO.:
         PALA, CA 92059                                          NOT AVAILABLE



3.5549   PALM BEACH COUNTY                                          4/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS, AND MAYOR
         PALM BEACH COUNTY                                       ACCOUNT NO.:
         301 N. OLIVE AVENUE                                     NOT AVAILABLE
         WEST PALM BEACH, FL 33401



3.5550   PALO PINTO COUNTY HOSPITAL DISTRICT A/K/A PALO            UNKNOWN                      Opioid Matter              UNDETERMINED
         PINTO GENERAL HOSPITAL
         ATTN: REGISTERED AGENT AND CEO                          ACCOUNT NO.:
         400 SOUTHWEST 25TH AVENUE                               NOT AVAILABLE
         MINERAL WELLS, TX 76067



3.5551   PAMELA OSBORNE                                            11/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: MICHAEL G. STAG, ASHLEY M. LIUZZA, MATTHEW
         D. ROGENES                                              ACCOUNT NO.:
         STAG LIUZZA, L.L.C.                                     NOT AVAILABLE
         365 CANAL STREET - SUITE 2850
         NEW ORLEANS, LA 70130



3.5552   PAMELA OSBORNE                                            11/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: RODNEY G. DAVIS
         DAVID LAW P.S.C.                                        ACCOUNT NO.:
         230 NORTH SECOND STREET - P.O. BOX 1060                 NOT AVAILABLE
         RICHMOND, KY 40476



3.5553   PAMELA OSBORNE                                            11/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: THOMAS E. BILEK, KELLY COX BILEK
         THE BILEK LAW FIRM, L.L.P                               ACCOUNT NO.:
         700 LOUISIANA - SUITE 3950                              NOT AVAILABLE
         HOUSTON, TX 77002



3.5554   PAMELA OSBORNE                                            11/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: J.K. WESTON, ANDREW SACKS
         SACKS WESTON DIAMOND, LLC                               ACCOUNT NO.:
         1845 WALNUT STREET - SUITE 1600                         NOT AVAILABLE
         PHILADELPHIA, PA 19103




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5555   PAMLICO COUNTY                                           1/16/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER & COUNTY CLERK TO THE
         BOARD                                                 ACCOUNT NO.:
         302 MAIN STREET                                       NOT AVAILABLE
         PO BOX 776
         BAYBORO, NC 28515



3.5556   PANAMA CITY, FLORIDA                                     3/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER; MAYOR; CITY CLERK
         501 HARRISON AVENUE                                   ACCOUNT NO.:
         PANAMA, FL 32401                                      NOT AVAILABLE



3.5557   PANOLA COUNTY, MISSISSIPPI                               3/1/2019                    Opioid Matter              UNDETERMINED
         PANOLA COUNTY COURTHOUSE SARDIS
         215 SOUTH POCAHONTAS STREET                           ACCOUNT NO.:
         SARDIS, MS 38666                                      NOT AVAILABLE



3.5558   PANOLA COUNTY, MISSISSIPPI                               3/1/2019                    Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF SUPERVISORS,
         CHANCERY CLERK                                        ACCOUNT NO.:
         PANOLA COUNTY COURTHOUSE BATESVILLE                   NOT AVAILABLE
         151 PUBLIC SQUARE
         BATESVILLE, MS 38606



3.5559   PANOLA COUNTY, MISSISSIPPI                               3/1/2019                    Opioid Matter              UNDETERMINED
         PANOLA COUNTY COURTHOUSE SARDIS
         215 SOUTH POCAHONTAS STREET                           ACCOUNT NO.:
         SARDIS, MS 38666                                      NOT AVAILABLE



3.5560   PARISH OF DESOTO                                         2/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT, POLICE JURY, VICE PRESIDENT,
         POLICE JURY, DESOTO PARISH COUNSEL                    ACCOUNT NO.:
         101 FRANKLIN STREET                                   NOT AVAILABLE
         MANSFIELD, LA 71052



3.5561   PASCO COUNTY                                             6/27/2018                   Opioid Matter              UNDETERMINED
         37918 MERIDIAN AVENUE
         DADE CITY, FL 33525                                   ACCOUNT NO.:
                                                               NOT AVAILABLE


3.5562   PASCO COUNTY                                             6/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF COUNTY COMMISSIONERS
         8731 CITIZENS DRIVE                                   ACCOUNT NO.:
         NEW PORT RICHEY, FL 34654                             NOT AVAILABLE



3.5563   PASCUA YAQUI TRIBE                                       6/5/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF TRIBAL COUNCIL AND CHIEF
         EXECUTIVE OFFICER                                     ACCOUNT NO.:
         7474 SOUTH CAMINO DE OESTE                            NOT AVAILABLE
         TUCSON, AZ 85746



3.5564   PASCUA YAQUI TRIBE                                       6/5/2019                    Opioid Matter              UNDETERMINED
         7474 SOUTH CAMINO DE OESTE
         TUCSON, AZ 85757                                      ACCOUNT NO.:
                                                               NOT AVAILABLE

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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5565   PASQUOTANK COUNTY                                        7/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER
         206 EAST MAIN STREET                                  ACCOUNT NO.:
         ELIZABETH CITY, NY 27909                              NOT AVAILABLE



3.5566   PASQUOTANK COUNTY                                        7/30/2018                   Opioid Matter              UNDETERMINED
         PO BOX 39
         ELIZABETH CITY, NC 27907-0039                         ACCOUNT NO.:
                                                               NOT AVAILABLE


3.5567   PASSAIC COUNTY, NEW JERSEY                               7/25/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         401 GRAND STREET                                      ACCOUNT NO.:
         ROOM 130                                              NOT AVAILABLE
         PATERSON, NJ 07505



3.5568   PASSAIC COUNTY, NEW JERSEY                               7/25/2019                   Opioid Matter              UNDETERMINED
         ATTN: CLERK TO THE BOARD OF CHOSEN
         FREEHOLDERS & FREEHOLDER DIRECTOR                     ACCOUNT NO.:
         401 GRAND STREET                                      NOT AVAILABLE
         ROOM 223
         PATERSON, NJ 07505



3.5569   PASSAMAQUODDY TRIBE-INDIAN TOWNSHIP                      7/25/2018                   Opioid Matter              UNDETERMINED
         P.O. BOX 301
         PRINCETON, ME 04668                                   ACCOUNT NO.:
                                                               NOT AVAILABLE


3.5570   PASSAMAQUODDY TRIBE-INDIAN TOWNSHIP                      7/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF AND CHIEF EXECUTIVE OFFICER
         TRIBAL OFFICE 8 KENNEBSIS                             ACCOUNT NO.:
         P.O. BOX 301                                          NOT AVAILABLE
         PRINCETON, ME 04668



3.5571   PASSAMAQUODDY TRIBE-PLEASANT POINT                       2/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF
         PO BOX 343                                            ACCOUNT NO.:
         PERRY, ME 04667                                       NOT AVAILABLE



3.5572   PATIENTS' CHOICE MEDICAL CENTER OF CLAIBORNE,            4/15/2019                   Opioid Matter              UNDETERMINED
         LLC
         ATTN: REGISTERED AGENT                                ACCOUNT NO.:
         ELSTON C KEMP                                         NOT AVAILABLE
         431 WEST MAIN STREET SUITE 410 - P.O. BOX 1807
         TUPELO, MS 38801



3.5573   PATIENTS' CHOICE MEDICAL CENTER OF CLAIBORNE,            4/15/2019                   Opioid Matter              UNDETERMINED
         LLC
         ATTN: CHIEF EXECUTIVE OFFICER                         ACCOUNT NO.:
         123 MCCOMB AVENUE                                     NOT AVAILABLE
         PORT GIBSON, MS 39150-2915




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5574   PATIENTS' CHOICE MEDICAL CENTER OF CLAIBORNE,            4/15/2019                   Opioid Matter              UNDETERMINED
         LLC
         ATTN: RAY L SHOEMAKER, MEMBER                         ACCOUNT NO.:
         431 WEST MAIN STREET                                  NOT AVAILABLE
         P.O. BOX 1807
         TUPELO, MS 38802



3.5575   PATIENTS' CHOICE MEDICAL CENTER OF ERIN,                 5/2/2019                    Opioid Matter              UNDETERMINED
         TENNESSEE
         ATTN: CHIEF EXECUTIVE OFFICER                         ACCOUNT NO.:
         HUDSON COUNTY COMMUNITY HOSPITAL                      NOT AVAILABLE
         5001 EAST MAIN STREET
         ERIN, TN 37061



3.5576   PATIENTS' CHOICE MEDICAL CENTER OF ERIN,                 4/16/2019                   Opioid Matter              UNDETERMINED
         TENNESSEE
         ATTN: MANAGING MEMBER, OFFICERS, AND AGENTS           ACCOUNT NO.:
         431 WEST MAIN STREET - SUITE 410                      NOT AVAILABLE
         TUPELO, MS 38804-3869



3.5577   PATIENTS' CHOICE MEDICAL CENTER OF ERIN,                 4/16/2019                   Opioid Matter              UNDETERMINED
         TENNESSEE
         ATTN: CHIEF EXECUTIVE OFFICER, OFFICERS, AND          ACCOUNT NO.:
         AGENTS                                                NOT AVAILABLE
         5001 EAST MAIN STREET
         ERIN, TN 37061



3.5578   PATIENTS' CHOICE MEDICAL CENTER OF HUMPHREYS             4/15/2019                   Opioid Matter              UNDETERMINED
         COUNTY, LLC
         ATTN: CHIEF EXECUTIVE OFFICER                         ACCOUNT NO.:
         PO BOX 510                                            NOT AVAILABLE
         BELZONI, MS 39038-0510



3.5579   PATIENTS' CHOICE MEDICAL CENTER OF HUMPHREYS             4/15/2019                   Opioid Matter              UNDETERMINED
         COUNTY, LLC
         ATTN: CHIEF EXECUTIVE OFFICER                         ACCOUNT NO.:
         500 CCC RD                                            NOT AVAILABLE
         BELZONI, MS 39038-3806



3.5580   PATIENTS' CHOICE MEDICAL CENTER OF HUMPHREYS             4/15/2019                   Opioid Matter              UNDETERMINED
         COUNTY, LLC
         ATTN: REGISTERED AGENT                                ACCOUNT NO.:
         KEMP, ELSTON CHARLES                                  NOT AVAILABLE
         431 WEST MAIN STREET SUITE 410 - P. O. BOX 1807
         TUPELO, MS 38802



3.5581   PATRICK COUNTY, VIRGINIA                                UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         PO BOX 1076                                           ACCOUNT NO.:
         120 SLUSHER STREET                                    NOT AVAILABLE
         STUART, VA 24171




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5582   PATRICK COUNTY, VIRGINIA                                UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COMMONWEALTH'S ATTORNEY
         124 SLUSHER STREET                                    ACCOUNT NO.:
         P.O. BOX 268                                          NOT AVAILABLE
         STUART, VA 24171



3.5583   PAUL RODRIGUEZ, ACTING DIRECTOR OF THE NEW              10/31/2017                   Opioid Matter              UNDETERMINED
         JERSEY DIVISION OF CONSUMER AFFAIRS
         ATTN: GURBIR S. GREWAL                                ACCOUNT NO.:
         STATE OF NEW JERSEY ATTORNEY GENERAL                  NOT AVAILABLE
         RICHARD J. HUGHES JUSTICE COMPLEX, 25 MARKET
         ST. - P.O. BOX 080
         TRENTON, NJ 08625



3.5584   PAUL RODRIGUEZ, ACTING DIRECTOR OF THE NEW              10/31/2017                   Opioid Matter              UNDETERMINED
         JERSEY DIVISION OF CONSUMER AFFAIRS
         ATTN: DIRECTOR OF CONSUMER AFFAIRS OF THE             ACCOUNT NO.:
         STATE OF NEW JERSEY                                   NOT AVAILABLE
         124 HALSEY STREET
         NEWARK, NJ 07102



3.5585   PAUL RODRIGUEZ, ACTING DIRECTOR OF THE NEW              UNKNOWN                      Opioid Matter              UNDETERMINED
         JERSEY DIVISION OF CONSUMER AFFAIRS
         ATTN: DIRECTOR OF CONSUMER AFFAIRS OF THE             ACCOUNT NO.:
         STATE OF NEW JERSEY                                   NOT AVAILABLE
         124 HALSEY STREET
         NEWARK, NJ 07102



3.5586   PAUL RODRIGUEZ, ACTING DIRECTOR OF THE NEW              UNKNOWN                      Opioid Matter              UNDETERMINED
         JERSEY DIVISION OF CONSUMER AFFAIRS
         ATTN: GOVERNOR OF THE STATE OF NEW JERSEY             ACCOUNT NO.:
         P.O. BOX 001                                          NOT AVAILABLE
         TRENTON, NJ 08625



3.5587   PAUL RODRIGUEZ, ACTING DIRECTOR OF THE NEW              10/31/2017                   Opioid Matter              UNDETERMINED
         JERSEY DIVISION OF CONSUMER AFFAIRS
         GURBIR S. GREWAL                                      ACCOUNT NO.:
         NEW JERSEY ATTORNEY GENERAL                           NOT AVAILABLE
         25 MARKET STREET - P.O. BOX 080
         TRENTON, NJ 08625



3.5588   PAULA WATSON, INDIVIDUALLY AND AS NEXT FRIEND            6/20/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY D.M.
         ATTN: STEPHEN WUSSOW                                  ACCOUNT NO.:
         COOPER LAW FIRM                                       NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.5589   PAULA WATSON, INDIVIDUALLY AND AS NEXT FRIEND            6/20/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY D.M.
         ATTN: CELESTE BRUSTOWICZ, STEPHEN H. WUSSOW           ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                  NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5590   PAULA WATSON, INDIVIDUALLY AND AS NEXT FRIEND            6/20/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY D.M.
         ATTN: SCOTT R. BICKFORD                               ACCOUNT NO.:
         MARTZELL, BICKFORD & CENTOLA                          NOT AVAILABLE
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.5591   PAULA WATSON, INDIVIDUALLY AND AS NEXT FRIEND            6/20/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY D.M.
         ATTN: DONALD E. CREADORE                              ACCOUNT NO.:
         CREADOR LAW FIRM                                      NOT AVAILABLE
         450 SEVENTH AVENUE - SUITE 1408
         NEW YORK, NY 10123



3.5592   PAULA WATSON, INDIVIDUALLY AND AS NEXT FRIEND            6/20/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY D.M.
         ATTN: KEVIN W. THOMPSON, DAVID R. BARNEY, JR.         ACCOUNT NO.:
         THOMPSON BARNEY LAW FIRM                              NOT AVAILABLE
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311



3.5593   PAULA WATSON, INDIVIDUALLY AND AS NEXT FRIEND            6/20/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY D.M.
         ATTN: KEVIN W. THOMPSON                               ACCOUNT NO.:
         THOMPSON BARNEY LAW FIRM                              NOT AVAILABLE
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311



3.5594   PAULA WATSON, INDIVIDUALLY AND AS NEXT FRIEND            6/20/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY D.M.
         ATTN: KENT HARRISON ROBBINS                           ACCOUNT NO.:
         HARRISON ROBBINS, P.A.                                NOT AVAILABLE
         242 NORTHEAST 27TH STREET
         MIAMI, FL 33137



3.5595   PAULA WATSON, INDIVIDUALLY AND AS NEXT FRIEND            6/20/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY D.M.
         ATTN: SPENCER R. DOODY                                ACCOUNT NO.:
         MARTZELL, BICKFORD & CENTOLA                          NOT AVAILABLE
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.5596   PAWNEE NATION OF OKLAHOMA                                7/30/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE PAWNEE BUSINESS COUNCIL
         AND EXECUTIVE DIRECTOR                                ACCOUNT NO.:
         P.O. BOX 470                                          NOT AVAILABLE
         PAWNEE, OK 74058



3.5597   PAWNEE NATION OF OKLAHOMA                                7/30/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE PAWNEE BUSINESS COUNCIL
         AND EXECUTIVE DIRECTOR                                ACCOUNT NO.:
         881 LITTLE DEE DR                                     NOT AVAILABLE
         PAWNEE, OK 74058




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5598   PAWNEE NATION OF OKLAHOMA                                7/30/2019                   Opioid Matter              UNDETERMINED
         CURTIS "MUSKRAT" BRUEHL
         THE BRUEHL LAW FIRM, PLLC                             ACCOUNT NO.:
         14005 NORTH EASTERN AVENUE                            NOT AVAILABLE
         EDMOND, OK 73013



3.5599   PAWNEE NATION OF OKLAHOMA                                7/30/2019                   Opioid Matter              UNDETERMINED
         ATTN: SCOTT POYNTER
         POYNTER LAW GROUP                                     ACCOUNT NO.:
         400 WEST CAPITAL AVENUE - SUITE 2910                  NOT AVAILABLE
         LITTLE ROCK, AR 72201



3.5600   PAWNEE NATION OF OKLAHOMA                                7/30/2019                   Opioid Matter              UNDETERMINED
         MATTHEW J. SILL
         FULMER SILL LAW GROUP                                 ACCOUNT NO.:
         P.O. BOX 2448 - 1101 NORTH BROADWAY AVENUE, SUITE     NOT AVAILABLE
         102
         OKLAHOMA CITY, OK 73013



3.5601   PAWNEE NATION OF OKLAHOMA                                7/30/2019                   Opioid Matter              UNDETERMINED
         HARRISON C. LUJAN
         FULMER SILL LAW GROUP                                 ACCOUNT NO.:
         P.O. BOX 2448 - 1101 NORTH BROADWAY AVENUE, SUITE     NOT AVAILABLE
         102
         OKLAHOMA CITY, OK 73013



3.5602   PAYETTE COUNTY                                           8/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK OF PAYETTE COUNTY
         1130 3RD AVENUE NORTH                                 ACCOUNT NO.:
         ROOM 104                                              NOT AVAILABLE
         PAYETTE, ID 83661



3.5603   PAYETTE COUNTY                                           8/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: PAYETTE COUNTY COMMISSIONERS
         1130 3RD AVENUE NORTH                                 ACCOUNT NO.:
         PAYETTE, ID 83661                                     NOT AVAILABLE



3.5604   PEACH COUNTY, GEORGIA                                    5/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN BOARD OF COMMISSIONERS, COUNTY
         ADMINISTRATOR                                         ACCOUNT NO.:
         213 PERSONS STREET                                    NOT AVAILABLE
         FORT VALLEY, GA 31030



3.5605   PEARL RIVER COUNTY, MISSISSIPPI                          6/1/2019                    Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF SUPERVISORS
         200 SOUTH MAIN ST.                                    ACCOUNT NO.:
         POPLARVILLE, MS 39470                                 NOT AVAILABLE



3.5606   PEMBINA COUNTY                                           7/9/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE COUNTY BOARD OF
         COMMISSIONERS AND STATE'S ATTORNEY                    ACCOUNT NO.:
         301 DAKOTA ST WEST                                    NOT AVAILABLE
         CAVALIER, ND 58220




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5607   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: ARNOLD LEVIN
         LEVIN SEDRAN & BERMAN LLP                             ACCOUNT NO.:
         510 WALNUT STREET - SUITE 500                         NOT AVAILABLE
         PHILADELPHIA, PA 19106



3.5608   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: GREGORY B. HELLER
         YOUNG RICCHIUTI CALDWELL & HELLER, LLC                ACCOUNT NO.:
         1600 MARKET STREET - SUITE 3800                       NOT AVAILABLE
         PHILADELPHIA, PA 19103



3.5609   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: DANIEL C. LEVIN
         LEVIN SEDRAN & BERMAN LLP                             ACCOUNT NO.:
         510 WALNUT STREET - SUITE 500                         NOT AVAILABLE
         PHILADELPHIA, PA 19106



3.5610   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: DONALD A. BROGGI
         SCOTT & SCOTT ATTORNEYS AT LAW LLP                    ACCOUNT NO.:
         THE HELMSLEY BUILDING - 230 PARK AVENUE 17TH          NOT AVAILABLE
         FLOOR
         NEW YORK, NY 10169



3.5611   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: DAVID KAIRYS
         1719 NORTH BROAD STREET                               ACCOUNT NO.:
         PHILADELPHIA, PA 19122                                NOT AVAILABLE



3.5612   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: LAWRENCE S. KRASNER
         PHILADELPHIA DISTRICT ATTORNEY                        ACCOUNT NO.:
         OFFICE OF THE DISTRICT ATTORNEY - 3 SOUTH PENN        NOT AVAILABLE
         SQUARE
         PHILADELPHIA, PA 19107



3.5613   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: SARAH S. BURNS
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002



3.5614   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: PAUL J. HANLY
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.5615   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: JOSHUA D. SNYDER
         BONI, ZACK & SNYDER LLC                               ACCOUNT NO.:
         15 ST. ASAPHS ROAD                                    NOT AVAILABLE
         BALA CYNWYD, PA 19004



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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5616   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CHARLES E. SCHAFFER`
         LEVIN SEDRAN & BERMAN LLP                             ACCOUNT NO.:
         510 WALNUT STREET - SUITE 500                         NOT AVAILABLE
         PHILADELPHIA, PA 19106



3.5617   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CARMEN P. BELEFONTE, ESQ.
         SALTZ MONGELUZZI BARRETT & BENDESKY                   ACCOUNT NO.:
         20 WEST THIRD STREET - P.O. BOX 1670                  NOT AVAILABLE
         MEDIA, PA 19063



3.5618   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: ROBERT J. MONGELUZZI
         SALTZ MONGELUZZI BARRETT & BENDESKY                   ACCOUNT NO.:
         20 WEST THIRD STREET - P.O. BOX 1670                  NOT AVAILABLE
         MEDIA, PA 19063



3.5619   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MICHAEL F. BARRETT, ESQ.
         SALTZ MONGELUZZI BARRETT & BENDESKY                   ACCOUNT NO.:
         20 WEST THIRD STREET - P.O. BOX 1670                  NOT AVAILABLE
         MEDIA, PA 19063



3.5620   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: HARRIS L. POGUST, ESQ.
         POGUST BRASLOW & MILLROOD, LLC                        ACCOUNT NO.:
         161 WASHINGTON STREET - SUITE 940                     NOT AVAILABLE
         CONSHOHOCKEN, PA 19428



3.5621   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: TOBIAS L. MILLROOD, ESQ.
         POGUST BRASLOW & MILLROOD, LLC                        ACCOUNT NO.:
         161 WASHINGTON STREET - SUITE 940                     NOT AVAILABLE
         CONSHOHOCKEN, PA 19428



3.5622   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: AMY E. GARRETT, ESQUIRE
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002



3.5623   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: DANIEL SCHWARZ, ESQ.
         SCHWARZ MONGELUZZI, LLC                               ACCOUNT NO.:
         ONE LIBERTY PLACE - 1650 MARKET STREET 51ST FLOOR     NOT AVAILABLE
         PHILADELPHIA, PA 19103



3.5624   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: PATRICK C. TIMONEY, ESQ.
         SCHWARZ MONGELUZZI, LLC                               ACCOUNT NO.:
         ONE LIBERTY PLACE - 1650 MARKET PLACE 51ST FLOOR      NOT AVAILABLE
         PHILADELPHIA, PA 19103




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5625   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: LAUREN SHELLER
         SHELLER, P.C.                                         ACCOUNT NO.:
         1528 WALNUT STREET - 4TH FLOOR                        NOT AVAILABLE
         PHILADELPHIA, PA 19102



3.5626   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: TRENT B. MIRACLE, ESQ.
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002



3.5627   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: ANDREW J. SACCO
         STEINER SACCO LAW                                     ACCOUNT NO.:
         160 NORTH MCKEAN STREET                               NOT AVAILABLE
         KITTANNING, PA 16201



3.5628   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: BENJAMIN H. FIELD
         CITY OF PHILADELPHIA LAW DEPARTMENT                   ACCOUNT NO.:
         1515 ARCH STREET - 17TH FLOOR                         NOT AVAILABLE
         PHILADELPHIA, PA 19102



3.5629   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: ELEANOR N. EWING
         CITY OF PHILADELPHIA LAW DEPARTMENT                   ACCOUNT NO.:
         1515 ARCH STREET - 17TH FLOOR                         NOT AVAILABLE
         PHILADELPHIA, PA 19102



3.5630   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MARCEL S. PRATT
         CITY OF PHILADELPHIA LAW DEPARTMENT                   ACCOUNT NO.:
         1515 ARCH STREET - 17TH FLOOR                         NOT AVAILABLE
         PHILADELPHIA, PA 19102



3.5631   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: JOHN PURCELL, ESQUIRE
         JOHN M. PURCELL ATTORNEY AT LAW                       ACCOUNT NO.:
         55 EAST CHURCH STREET                                 NOT AVAILABLE
         UNIONTOWN, PA 15401



3.5632   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: WILLIAM H. PLATT II, ESQUIRE
         HAVILAND HUGHES                                       ACCOUNT NO.:
         201 SOUTH MAPLE WAY - SUITE 110                       NOT AVAILABLE
         AMBLER, PA 19002



3.5633   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: DONALD E. HAVILAND, ESQUIRE
         HAVILAND HUGHES                                       ACCOUNT NO.:
         201 SOUTH MAPLE WAY - SUITE 110                       NOT AVAILABLE
         AMBLER, PA 19002




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5634   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: GLENN J. SMITH
         YORK COUNTY SOLICITOR                                 ACCOUNT NO.:
         YORK COUNTY ADMINISTRATIVE CENTER - 28 MARKET         NOT AVAILABLE
         STREET 2ND FLOOR
         YORK, PA 17401



3.5635   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: DANIEL BERGER
         BERGER & MONTAGUE, P.C.                               ACCOUNT NO.:
         1622 LOCUST STREET                                    NOT AVAILABLE
         PHILADELPHIA, PA 19103



3.5636   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: TODD O'MALLEY, ESQ.
         O'MALLEY & LANGAN LAW OFFICES                         ACCOUNT NO.:
         201 FRANKLIN AVENUE                                   NOT AVAILABLE
         SCRANTON, PA 18503



3.5637   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: JOSEPH L. CIACCIO
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 350                      NOT AVAILABLE
         MELVILLE, NY 11747



3.5638   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: JOSEPH CAPPELLI, ESQUIRE
         MARC J. BERN & PARTNERS LLP                           ACCOUNT NO.:
         ONE GRAND CENTRAL PLACE - 60 EAST 42ND STREET         NOT AVAILABLE
         SUITE 950
         NEW YORK, NY 10165



3.5639   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: JOSEPH CAPPELLI, ESQUIRE
         MARC J. BERN & PARTNERS LLP                           ACCOUNT NO.:
         101 WEST ELM STREET - SUITE 215                       NOT AVAILABLE
         CONSHOHOCKEN, PA 19428



3.5640   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: ROBERT N. PEIRCE, JR., ESQUIRE
         ROBERT PEIRCE & ASSOCIATES, P.C.                      ACCOUNT NO.:
         707 GRANT STREET - SUITE 125                          NOT AVAILABLE
         PITTSBURGH, PA 15219



3.5641   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: SALVATORE C. BADALA
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 350                      NOT AVAILABLE
         MELVILLE, NY 11747



3.5642   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: SHAYNA E. SACKS
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 350                      NOT AVAILABLE
         MELVILLE, NY 11747


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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5643   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: W. STEVEN BERMAN
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 350                      NOT AVAILABLE
         MELVILLE, NY 11747



3.5644   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: STEPHEN A. SHELLER
         SHELLER, P.C.                                         ACCOUNT NO.:
         1528 WALNUT STREET - 4TH FLOOR                        NOT AVAILABLE
         PHILADELPHIA, PA 19102



3.5645   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: JOHN BRAZIL, ESQ.
         LACKAWANNA COUNTY SOLICITOR                           ACCOUNT NO.:
         200 ADAMS AVENUE - 6TH FLOOR                          NOT AVAILABLE
         SCRANTON, PA 18503



3.5646   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: THOMAS S. BIEMER
         DILWORTH PAXSON, LLP                                  ACCOUNT NO.:
         1500 MARKET STREET - SUITE 3500E                      NOT AVAILABLE
         PHILADELPHIA, PA 19102



3.5647   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: JERRY R DESIDERATO
         DILWORTH PAXSON, LLP                                  ACCOUNT NO.:
         1500 MARKET STREET - SUITE 3500E                      NOT AVAILABLE
         PHILADELPHIA, PA 19102



3.5648   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MICHAELA WALLIN
         BERGER & MONTAGUE, P.C.                               ACCOUNT NO.:
         1622 LOCUST STREET                                    NOT AVAILABLE
         PHILADELPHIA, PA 19103



3.5649   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: SARAH SCHALMAN-BERGEN
         BERGER & MONTAGUE, P.C.                               ACCOUNT NO.:
         1622 LOCUST STREET                                    NOT AVAILABLE
         PHILADELPHIA, PA 19103



3.5650   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: NEIL MAKHIJA
         BERGER & MONTAGUE, P.C.                               ACCOUNT NO.:
         1622 LOCUST STREET                                    NOT AVAILABLE
         PHILADELPHIA, PA 19103



3.5651   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: JOHN WESTON
         SACKS WESTON DIAMOND, LLC                             ACCOUNT NO.:
         1845 WALNUT STREET - SUITE 1600                       NOT AVAILABLE
         PHILADELPHIA, PA 19103




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5652   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: ANDREW SACKS
         SACKS WESTON DIAMOND, LLC                             ACCOUNT NO.:
         1845 WALNUT STREET - SUITE 1600                       NOT AVAILABLE
         PHILADELPHIA, PA 19103`



3.5653   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: LAWRENCE J. LEDERER
         BERGER & MONTAGUE, P.C.                               ACCOUNT NO.:
         1622 LOCUST STREET                                    NOT AVAILABLE
         PHILADELPHIA, PA 19103



3.5654   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: TYLER E. WREN
         BERGER & MONTAGUE, P.C.                               ACCOUNT NO.:
         1622 LOCUST STREET                                    NOT AVAILABLE
         PHILADELPHIA, PA 19103



3.5655   PENNSYLVANIA COORDINATED LITIGATION                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: JON LAMBIRAS
         BERGER & MONTAGUE                                     ACCOUNT NO.:
         1622 LOCUST STREET                                    NOT AVAILABLE
         PHILADELPHIA, PA 19103



3.5656   PENNY MARTIN, INDIVIDUALLY AND AS NEXT FRIEND            6/17/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY D.M.
         ATTN: DAVID R. BARNEY, JR.                            ACCOUNT NO.:
         THOMPSON BARNEY LAW FIRM                              NOT AVAILABLE
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311



3.5657   PENNY MARTIN, INDIVIDUALLY AND AS NEXT FRIEND            6/17/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY D.M.
         ATTN: KEVIN W. THOMPSON, DAVID R. BARNEY, JR.         ACCOUNT NO.:
         THOMPSON BARNEY LAW FIRM                              NOT AVAILABLE
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311



3.5658   PENNY MARTIN, INDIVIDUALLY AND AS NEXT FRIEND            6/17/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY D.M.
         ATTN: KENT HARRISON ROBBINS                           ACCOUNT NO.:
         HARRISON ROBBINS, P.A.                                NOT AVAILABLE
         242 NORTHEAST 27TH STREET
         MIAMI, FL 33137



3.5659   PENNY MARTIN, INDIVIDUALLY AND AS NEXT FRIEND            6/17/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY D.M.
         ATTN: CELESTE BRUSTOWICZ, STEPHEN H. WUSSOW           ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                  NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5660   PENNY MARTIN, INDIVIDUALLY AND AS NEXT FRIEND            6/17/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY D.M.
         ATTN: SCOTT R. BICKFORD                               ACCOUNT NO.:
         MARTZELL, BICKFORD & CENTOLA                          NOT AVAILABLE
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.5661   PENNY MARTIN, INDIVIDUALLY AND AS NEXT FRIEND            6/17/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY D.M.
         ATTN: DONALD E. CREADORE                              ACCOUNT NO.:
         CREADOR LAW FIRM                                      NOT AVAILABLE
         450 SEVENTH AVENUE - SUITE 1408
         NEW YORK, NY 10123



3.5662   PENNY MARTIN, INDIVIDUALLY AND AS NEXT FRIEND            6/17/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY D.M.
         ATTN: SPENCER R. DOODY                                ACCOUNT NO.:
         MARTZELL, BICKFORD & CENTOLA                          NOT AVAILABLE
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.5663   PENNY MARTIN, INDIVIDUALLY AND AS NEXT FRIEND            6/17/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY D.M.
         ATTN: STEPHEN WUSSOW                                  ACCOUNT NO.:
         COOPER LAW FIRM                                       NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.5664   PENOBSCOT COUNTY                                        11/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS
         PENOBSCOT COUNTY GOVERNMENT OFFICES                   ACCOUNT NO.:
         97 HAMMOND STREET                                     NOT AVAILABLE
         BANGOR, ME 04401



3.5665   PENOBSCOT COUNTY                                        11/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS
         PENOBSCOT COUNTY GOVERNMENT OFFICES                   ACCOUNT NO.:
         97 HAMMOND STREET                                     NOT AVAILABLE
         BANGOR, ME 04401



3.5666   PEOPLE OF LEHIGH COUNTY AND LEHIGH COUNTY, PA            3/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE
         GOVERNMENT CENTER                                     ACCOUNT NO.:
         17 SOUTH SEVENTH STREET                               NOT AVAILABLE
         ALLENTOWN, PA 18101-2400



3.5667   PEOPLE OF NORTHAMPTON COUNTY AND                        12/28/2017                   Opioid Matter              UNDETERMINED
         NORTHAMPTON COUNTY, PA
         ATTN: COUNTY EXECUTIVE                                ACCOUNT NO.:
         669 WASHINGTON STREET                                 NOT AVAILABLE
         EASTON, PA 18042




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5668   PEOPLE OF THE STATE OF ILLINOIS, CALHOUN COUNTY          12/3/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         CALHOUN COUNTY CLERK & RECORDER                       ACCOUNT NO.:
         301 SOUTH COUNTY ROAD                                 NOT AVAILABLE
         HARDIN, IL 62047-0187



3.5669   PEOPLE OF THE STATE OF ILLINOIS, JEFFERSON               5/7/2018                    Opioid Matter              UNDETERMINED
         COUNTY
         ATTN: COUNTY CLERK                                    ACCOUNT NO.:
         100 SOUTH 10TH STREET                                 NOT AVAILABLE
         ROOM 105
         MT. VERNON, IL 62864



3.5670   PEOPLE OF THE STATE OF ILLINOIS, JEFFERSON               5/7/2018                    Opioid Matter              UNDETERMINED
         COUNTY
         ATTN: CHAIR OF THE COUNTY BOARD                       ACCOUNT NO.:
         112 LOUIE AVENUE                                      NOT AVAILABLE
         BLUFORD, IL 62814



3.5671   PEOPLE OF THE STATE OF ILLINOIS, LEE COUNTY              5/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: BOARD CHAIR
         OLD COURTHOUSE                                        ACCOUNT NO.:
         112 EAST SECOND STREET                                NOT AVAILABLE
         DIXON, IL 61021



3.5672   PEOPLE OF THE STATE OF ILLINOIS, LEE COUNTY              5/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         OLD LEE COUNTY COURTHOUSE                             ACCOUNT NO.:
         112 EAST SECOND STREET                                NOT AVAILABLE
         DIXON, IL 61021



3.5673   PEOPLE OF THE STATE OF ILLINOIS, LIVINGSTON              5/3/2018                    Opioid Matter              UNDETERMINED
         COUNTY
         ATTN: COUNTY CLERK                                    ACCOUNT NO.:
         PO BOX 618                                            NOT AVAILABLE
         PONTIAC, IL 61764



3.5674   PEOPLE OF THE STATE OF ILLINOIS, LIVINGSTON              5/3/2018                    Opioid Matter              UNDETERMINED
         COUNTY
         ATTN: COUNTY BOARD CHAIR                              ACCOUNT NO.:
         22969 NORTH 3000 EAST ROAD                            NOT AVAILABLE
         EMINGTON, IL 60934



3.5675   PEOPLE OF THE STATE OF ILLINOIS, MARION COUNTY           5/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         MARION COUNTY COURTHOUSE                              ACCOUNT NO.:
         101 EAST MAIN STREET                                  NOT AVAILABLE
         SALEM, IL 62881



3.5676   PEOPLE OF THE STATE OF ILLINOIS, SALINE COUNTY           5/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         SALINE COUNTY COURTHOUSE                              ACCOUNT NO.:
         10 EAST POPLAR STREET                                 NOT AVAILABLE
         HARRISBURG, IL 62946



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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5677   PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE OF           4/19/2018                   Opioid Matter              UNDETERMINED
         EFFINGHAM COUNTY, AND COUNTY OF EFFINGHAM
         ATTN: COUNTY CLERK                                    ACCOUNT NO.:
         EFFINGHAM COUNTY OFFICE BUILDING                      NOT AVAILABLE
         101 NORTH 4TH STREET - P.O. BOX 628
         EFFINGHAM, IL 62401



3.5678   PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE OF           4/19/2018                   Opioid Matter              UNDETERMINED
         EFFINGHAM COUNTY, AND COUNTY OF EFFINGHAM
         121 NORTH LASALLE STREET                              ACCOUNT NO.:
         CHICAGO CITY HALL 4TH FLOOR                           NOT AVAILABLE
         CHICAGO, IL 60602



3.5679   PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE OF           5/1/2018                    Opioid Matter              UNDETERMINED
         LAWRENCE COUNTY, AND COUNTY OF LAWRENCE
         121 NORTH LASALLE STREET                              ACCOUNT NO.:
         CHICAGO CITY HALL 4TH FLOOR                           NOT AVAILABLE
         CHICAGO, IL 60602



3.5680   PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE OF           5/1/2018                    Opioid Matter              UNDETERMINED
         LAWRENCE COUNTY, AND COUNTY OF LAWRENCE
         ATTN: COUNTY CLERK                                    ACCOUNT NO.:
         LAWRENCE COUNTY COURTHOUSE                            NOT AVAILABLE
         1100 STATE STREET
         LAWRENCEVILLE, IL 62439



3.5681   PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE OF           5/1/2018                    Opioid Matter              UNDETERMINED
         LAWRENCE COUNTY, AND COUNTY OF LAWRENCE
         121 NORTH LASALLE STREET                              ACCOUNT NO.:
         CHICAGO CITY HALL 4TH FLOOR                           NOT AVAILABLE
         CHICAGO, IL 60602



3.5682   PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE OF           5/1/2018                    Opioid Matter              UNDETERMINED
         MASSAC COUNTY, AND COUNTY OF MASSAC
         ATTN: COUNTY CLERK                                    ACCOUNT NO.:
         1 SUPERMAN SQUARE, ROOM 2A                            NOT AVAILABLE
         METROPOLIS, IL 62960



3.5683   PERRY COUNTY                                             1/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         321 N MAIN STREET                                     ACCOUNT NO.:
         SUITE 2                                               NOT AVAILABLE
         PERRYVILLE, MO 63775



3.5684   PERRY COUNTY BOARD OF COUNTY COMMISSIONERS               2/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS
         121 WEST BROWN STREET, SUITE C                        ACCOUNT NO.:
         NEW LEXINGTON, OH 43764                               NOT AVAILABLE



3.5685   PERRY COUNTY, MISSISSIPPI                                5/23/2018                   Opioid Matter              UNDETERMINED
         101 S MAIN ST
         NEW AUGUSTA, MS 39462                                 ACCOUNT NO.:
                                                               NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5686   PERRY COUNTY, MISSISSIPPI                                5/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF SUPERVISORS
         PO BOX 345                                            ACCOUNT NO.:
         NEW AUGUSTA, MS 39462-0345                            NOT AVAILABLE



3.5687   PERSON COUNTY                                            3/2/2018                    Opioid Matter              UNDETERMINED
         ROOM 215
         PERSON COUNTY OFFICE BUILDING                         ACCOUNT NO.:
         - 304 MORGAN STREET                                   NOT AVAILABLE
         ROXBORO, NC 27573



3.5688   PERSON COUNTY                                            3/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER
         ROOM 212                                              ACCOUNT NO.:
         304 SOUTH MORGAN STREET                               NOT AVAILABLE
         ROXBORO, NC 27573



3.5689   PETE LAVITE                                              3/27/2019                   Opioid Matter              UNDETERMINED
         ATTN: EDWARD W. UNSELL
         THE UNSELL LAW FIRM, P.C.                             ACCOUNT NO.:
         69 SOUTH 9TH STREET                                   NOT AVAILABLE
         EAST ALTON, IL 62024



3.5690   PETE LAVITE                                              3/27/2019                   Opioid Matter              UNDETERMINED
         ATTN: EDWARD M. TJADEN
         PETZER SNODGRASS, P.C.                                ACCOUNT NO.:
         100 SOUTH FOURTH STREET - SUITE 400                   NOT AVAILABLE
         ST. LOUIS, MO 63102-1821



3.5691   PETE LAVITE                                              3/27/2019                   Opioid Matter              UNDETERMINED
         ATTN: NICHOLAS P. MERIAGE
         PETZER SNODGRASS, P.C.                                ACCOUNT NO.:
         100 SOUTH FOURTH STREET - SUITE 400                   NOT AVAILABLE
         ST. LOUIS, MO 63102-1821



3.5692   PETE LAVITE                                              3/27/2019                   Opioid Matter              UNDETERMINED
         ATTN: JOSHUA R. EVANS
         THE UNSELL LAW FIRM, P.C.                             ACCOUNT NO.:
         69 SOUTH 9TH STREET                                   NOT AVAILABLE
         EAST ALTON, IL 62024



3.5693   PETE LAVITE                                              3/27/2019                   Opioid Matter              UNDETERMINED
         ATTN: NICHOLAS P. MERIAGE
         PITZER SNODGRASS                                      ACCOUNT NO.:
         100 SOUTH FORTH STREET, SUITE 400                     NOT AVAILABLE
         ST. LOUIS, MO 63102



3.5694   PETE LAVITE                                              3/27/2019                   Opioid Matter              UNDETERMINED
         ATTN: EDWARD M. TJADEN
         PITZER SNODGRASS                                      ACCOUNT NO.:
         100 SOUTH FOURTH STREET, SUITE 400                    NOT AVAILABLE
         ST. LOUIS, MO 63102




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5695   PETE LAVITE                                              3/27/2019                   Opioid Matter              UNDETERMINED
         ATTN: GREG SHEVLIN
         COOK, BARTHOLOMEW, SHEVLIN, COOK & JONES LLP          ACCOUNT NO.:
         12 WEST LINCOLN STREET                                NOT AVAILABLE
         BELLEVILLE, IL 62220



3.5696   PETTIS COUNTY, MISSISSIPPI                               6/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         PETTIS COUNTY COURTHOUSE                              ACCOUNT NO.:
         415 S. OHIO - 2ND FLOOR SUITE 214                     NOT AVAILABLE
         SEDALIA, MO 65301



3.5697   PETTIS COUNTY, MISSISSIPPI                               6/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDING COMMISSIONER OF THE PETTIS
         COUNTY COMMISSION                                     ACCOUNT NO.:
         PETTIS COUNTY COURTHOUSE                              NOT AVAILABLE
         415 S. OHIO AVE - 2ND FLOOR SUITE 212
         SEDALIA, MO 65301



3.5698   PHELPS COUNTY, MISSOURI                                 10/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK AND PRESIDING COUNTY
         COMMISSIONER AND CLERK OF THE COUNTY                  ACCOUNT NO.:
         COMMISSION                                            NOT AVAILABLE
         PHELPS COUNTY COURTHOUSE
         200 N. MAIN STREET
         ROLLA, MO 65401



3.5699   PHENIX CITY, ALABAMA                                     2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         601 12TH STREET                                       ACCOUNT NO.:
         THIRD FLOOR                                           NOT AVAILABLE
         PHENIX CITY, AL 36867



3.5700   PHENIX CITY, ALABAMA                                     2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.5701   PHENIX CITY, ALABAMA                                     2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE MAYOR AND THE CITY CLERK
         MUNICIPAL BUILDING                                    ACCOUNT NO.:
         601 12TH STREET - THIRD FLOOR                         NOT AVAILABLE
         PHENIX, AL 36867



3.5702   PHILADELPHIA FEDERATION OF TEACHERS HEALTH AND           4/26/2018                   Opioid Matter              UNDETERMINED
         WELFARE FUND
         ATTN: HEALTH AND WELFARE FUND CHIEF TRUSTEE           ACCOUNT NO.:
         1816 CHESTNUT STREET                                  NOT AVAILABLE
         PHILADELPHIA, PA 19103




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5703   PHILADELPHIA FEDERATION OF TEACHERS HEALTH AND          10/23/2017                   Opioid Matter              UNDETERMINED
         WELFARE FUND, INDIVIDUALLY AND ON BEHALF OF ALL
         OTHERS SIMILARLY SITUATED                             ACCOUNT NO.:
         ATTN: SOL H. WEISS, ESQUIRE                           NOT AVAILABLE
         ANAPOL WEISS
         ONE LOGAN SQUARE - 130 NORTH 18TH STREET, SUITE
         1600
         PHILADELPHIA, PA 19103



3.5704   PHILADELPHIA FEDERATION OF TEACHERS HEALTH AND          10/23/2017                   Opioid Matter              UNDETERMINED
         WELFARE FUND, INDIVIDUALLY AND ON BEHALF OF ALL
         OTHERS SIMILARLY SITUATED                             ACCOUNT NO.:
         ATTN: DAVID S. SENOFF, ESQUIRE                        NOT AVAILABLE
         FIRST LAW STRATEGY GROUP, LLC
         121 SOUTH BROAD STREET - SUITE 300
         PHILADELPHIA, PA 19107



3.5705   PHILADELPHIA FEDERATION OF TEACHERS HEALTH AND          10/23/2017                   Opioid Matter              UNDETERMINED
         WELFARE FUND, INDIVIDUALLY AND ON BEHALF OF ALL
         OTHERS SIMILARLY SITUATED                             ACCOUNT NO.:
         ATTN: THOMAS R. ANAPOL, ESQUIRE                       NOT AVAILABLE
         ANAPOL WEISS
         ONE LOGAN SQUARE - 130 NORTH 18TH STREET, SUITE
         1600
         PHILADELPHIA, PA 19103



3.5706   PHILADELPHIA FEDERATION OF TEACHERS HEALTH AND          10/23/2017                   Opioid Matter              UNDETERMINED
         WELFARE FUND, INDIVIDUALLY AND ON BEHALF OF ALL
         OTHERS SIMILARLY SITUATED                             ACCOUNT NO.:
         ATTN: CHIEF TRUSTEE                                   NOT AVAILABLE
         1816 CHESTNUT ST.
         PHILADELPHIA, PA 19103



3.5707   PHILADELPHIA FEDERATION OF TEACHERS HEALTH AND          10/23/2017                   Opioid Matter              UNDETERMINED
         WELFARE FUND, INDIVIDUALLY AND ON BEHALF OF ALL
         OTHERS SIMILARLY SITUATED                             ACCOUNT NO.:
         ATTN: DAVID S. SENOFF, ESQUIRE                        NOT AVAILABLE
         ANAPOL WEISS
         ONE LOGAN SQUARE - 130 NORTH 18TH STREET, SUITE
         1600
         PHILADELPHIA, PA 19103



3.5708   PHILADELPHIA FEDERATION OF TEACHERS HEALTH AND          10/23/2017                   Opioid Matter              UNDETERMINED
         WELFARE FUND, INDIVIDUALLY AND ON BEHALF OF ALL
         OTHERS SIMILARLY SITUATED                             ACCOUNT NO.:
         ATTN: CLAYTON PATRICK FLAHERTY, ESQUIRE               NOT AVAILABLE
         ANAPOL WEISS
         ONE LOGAN SQUARE - 130 NORTH 18TH STREET, SUITE
         1600
         PHILADELPHIA, PA 19103




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For       Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5709   PHILADELPHIA FEDERATION OF TEACHERS HEALTH AND          10/23/2017                   Opioid Matter               UNDETERMINED
         WELFARE FUND, INDIVIDUALLY AND ON BEHALF OF ALL
         OTHERS SIMILARLY SITUATED                             ACCOUNT NO.:
         ATTN: HILLARY B. WEINSTEIN, ESQUIRE                   NOT AVAILABLE
         ANAPOL WEISS
         ONE LOGAN SQUARE - 130 NORTH 18TH STREET, SUITE
         1600
         PHILADELPHIA, PA 19103



3.5710   PHILADELPHIA FEDERATION OF TEACHERS HEALTH AND          10/23/2017                   Opioid Matter               UNDETERMINED
         WELFARE FUND, INDIVIDUALLY AND ON BEHALF OF ALL
         OTHERS SIMILARLY SITUATED                             ACCOUNT NO.:
         ATTN: RAFEY S. BALABANIAN                             NOT AVAILABLE
         EDELSON PC
         350 NORTH LASALLE - 13TH FLOOR
         CHICAGO, IL 60654



3.5711   PHILADELPHIA FEDERATION OF TEACHERS HEALTH AND          10/23/2017                   Opioid Matter               UNDETERMINED
         WELFARE FUND, INDIVIDUALLY AND ON BEHALF OF ALL
         OTHERS SIMILARLY SITUATED                             ACCOUNT NO.:
         ATTN: JAY EDELSON                                     NOT AVAILABLE
         EDELSON P.C.
         350 NORTH LASALLE STREET - 14TH FLOOR
         CHICAGO, IL 60654



3.5712   PHILADELPHIA FEDERATION OF TEACHERS HEALTH AND          10/23/2017                   Opioid Matter               UNDETERMINED
         WELFARE FUND, INDIVIDUALLY AND ON BEHALF OF ALL
         OTHERS SIMILARLY SITUATED                             ACCOUNT NO.:
         ATTN: BENJAMIN H. RICHMAN                             NOT AVAILABLE
         EDELSON PC
         350 NORTH LASALLE STREET - 14TH FLOOR
         CHICAGO, IL 60654



3.5713   PHYSICIANS HEALTHSOURCE, INC.                            8/17/2012                    Telephone                  UNDETERMINED
         ATTORNEYS BRIAN WANCA AND GLENN L. HARA                                               Consumer
         ANDERSON + WANCA                                      ACCOUNT NO.:                   Protection Act
         3701 ALGONQUIN RD., SUITE 500                         3:12-CV-01208
         ROLLING MEADOWS, IL 60008                                  (SRU)



3.5714   PHYSICIANS HEALTHSOURCE, INC.                           11/26/2013                    Telephone                  UNDETERMINED
         ATTORNEYS BRIAN WANCA AND GLENN L. HARA                                               Consumer
         ANDERSON + WANCA                                      ACCOUNT NO.:                   Protection Act
         3701 ALGONQUIN RD., SUITE 500                         3:14-CV-00599
         ROLLING MEADOWS, IL 60008                                  (SRU)



3.5715   PICKELNY, JONATHAN                                       1/14/2016                     Workers                   UNDETERMINED
         NOT AVAILABLE                                                                        Compensation
                                                               ACCOUNT NO.:
                                                                WC205A84070


3.5716   PICKENS COUNTY                                           1/29/2018                   Opioid Matter               UNDETERMINED
         ATTN: CIRCUIT CLERK
         20 PHOENIX AVENUE                                     ACCOUNT NO.:
         P.O. BOX 418                                          NOT AVAILABLE
         CARROLLTON, AL 35447




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5717   PICKENS COUNTY                                           1/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.5718   PICKETT COUNTY                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         100 WEST HENSON STREET                                ACCOUNT NO.:
         LIVINGSTON, TN 38570                                  NOT AVAILABLE



3.5719   PICKETT COUNTY                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         1 COURTHOUSE SQUARE                                   ACCOUNT NO.:
         SUITE 201                                             NOT AVAILABLE
         BYRDSTOWN, TN 38549



3.5720   PICKETT COUNTY                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE
         1 COURTHOUSE SQUARE                                   ACCOUNT NO.:
         SUITE 200                                             NOT AVAILABLE
         BYRDSTOWN, TN 38549



3.5721   PICKETT COUNTY, TN                                       2/16/2018                   Opioid Matter              UNDETERMINED
         C/O AMANDA HOWARD, ESQ.
         100 WEST HENSON STREET                                ACCOUNT NO.:
         LIVINGSTON, TN 38570                                  NOT AVAILABLE



3.5722   PICKETT COUNTY, TN                                       2/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE
         1 COURTHOUSE SQUARE                                   ACCOUNT NO.:
         SUITE 200                                             NOT AVAILABLE
         BYRDSTOWN, TN 38549



3.5723   PIERCE COUNTY                                            7/9/2019                    Opioid Matter              UNDETERMINED
         PO BOX 196
         RUGBY, ND 58368-0196                                  ACCOUNT NO.:
                                                               NOT AVAILABLE


3.5724   PIERCE COUNTY                                            1/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY AUDITOR
         2401 SOUTH 35TH STREET                                ACCOUNT NO.:
         ROOM 200                                              NOT AVAILABLE
         TACOMA, WA 98409



3.5725   PIERCE COUNTY                                            7/9/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE COUNTY BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         240 2ND STREET SOUTHEAST                              NOT AVAILABLE
         SUITE 6
         RUGBY, ND 58368




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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                         Claim

Litigation

3.5726   PIERCE COUNTY                                            11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         COURTHOUSE                                            ACCOUNT NO.:
         ROOM 101 - 414 W. MAIN STREET, PO BOX 119             NOT AVAILABLE
         ELLSWORTH, WI 54011



3.5727   PIERCE COUNTY, GEORGA                                    9/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, BOARD OF COMMISSIONERS
         312 NICHOLAS STREET                                   ACCOUNT NO.:
         BLACKSHEAR, GA 31516                                  NOT AVAILABLE



3.5728   PIERCE COUNTY, GEORGA                                    9/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, BOARD OF COMMISSIONERS
         PO BOX 679                                            ACCOUNT NO.:
         BLACKSHEAR, GA 31516                                  NOT AVAILABLE



3.5729   PIKE COUNTY BOARD OF COUNTY COMMISSIONERS                10/9/2017                   Opioid Matter              UNDETERMINED
         ATTN: BOARD OF COMMISSIONERS
         PIKE COUNTY GOVERNMENT BUILDING                       ACCOUNT NO.:
         230 WAVERLY PLAZA                                     NOT AVAILABLE
         WAVERLY, OH 45690



3.5730   PIKE COUNTY, ALABAMA                                     6/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: PIKE COUNTY COMMISSION CHAIRPERSON
         900 SOUTH FRANKLIN DRIVE                              ACCOUNT NO.:
         P.O. DRAWER 1147                                      NOT AVAILABLE
         TROY, AL 36081



3.5731   PIKE COUNTY, ALABAMA                                     6/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE CIRCUIT CLERK
         120 CHURCH STREET                                     ACCOUNT NO.:
         TROY, AL 36081                                        NOT AVAILABLE



3.5732   PIKE COUNTY, ALABAMA                                     6/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.5733   PIKE COUNTY, GEORGIA                                     3/26/2019                   Opioid Matter              UNDETERMINED
         P.O. BOX 377
         ZEBULON, GA 30295                                     ACCOUNT NO.:
                                                               NOT AVAILABLE


3.5734   PIKE COUNTY, GEORGIA                                     3/26/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN BOARD OF COMMISSIONERS, INTERIM
         COUNTY MANAGER AND COUNTY CLERK                       ACCOUNT NO.:
         331 THOMASTON STREET                                  NOT AVAILABLE
         ZEBULON, GA 30295



3.5735   PIKE COUNTY, PA.                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF PIKE COUNTY COMMISSIONERS
         506 BROAD STREET                                      ACCOUNT NO.:
         MILFORD, PA 18337                                     NOT AVAILABLE


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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                         Claim

Litigation

3.5736   PIMA COUNTY, A POLITICAL SUBDIVISION OF THE STATE        1/17/2019                   Opioid Matter              UNDETERMINED
         OF ARIZONA
         ATTN: THE CLERK OF THE BOARD OF SUPERVISORS           ACCOUNT NO.:
         130 WEST CONGRESS                                     NOT AVAILABLE
         5TH FLOOR
         TUCSON, AZ 85701



3.5737   PINE COUNTY, MINNESOTA                                   7/19/2019                   Opioid Matter              UNDETERMINED
         635 NORTHRIDGE DR NW
         PINE CITY, MN 55063                                   ACCOUNT NO.:
                                                               NOT AVAILABLE


3.5738   PINE COUNTY, MINNESOTA                                   7/19/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY BOARD CHAIR
         26138 WILDWOOD RD                                     ACCOUNT NO.:
         BROOK PARK, MN 55007                                  NOT AVAILABLE



3.5739   PINELLAS COUNTY, FLORIDA                                 5/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR AND VICE-CHAIR OF COUNTY
         COMMISSIONERS                                         ACCOUNT NO.:
         315 COURT STREET                                      NOT AVAILABLE
         CLEARWATER, FL 33756



3.5740   PINEY WOODS HEALTHCARE SYSTEM, L.P. D/B/A               UNKNOWN                      Opioid Matter              UNDETERMINED
         WOODLAND HEIGHTS MEDICAL CENTER
         ATTN: CEO, PARTNER, OR MANAGER                        ACCOUNT NO.:
         505 SOUTH JOHN REDDITT DRIVE                          NOT AVAILABLE
         LUFKIN, TX 75904



3.5741   PINEY WOODS HEALTHCARE SYSTEM, L.P. D/B/A               UNKNOWN                      Opioid Matter              UNDETERMINED
         WOODLAND HEIGHTS MEDICAL CENTER
         ATTN: REGISTERED AGENT                                ACCOUNT NO.:
         CORPORATION SERVICE COMPANY                           NOT AVAILABLE
         211 EAST 7TH STREET - SUITE 620
         AUSTIN, TX 78701



3.5742   PIONEER TELEPHONE COOPERATIVE, INC. AS PLAN              10/9/2018                   Opioid Matter              UNDETERMINED
         SPONSOR AND FIDUCIARY OF PIONEER TELEPHONE
         COOPERATIVE, INC. EMPLOYEE BENEFITS PLAN              ACCOUNT NO.:
         ATTN: CHAIR, BOARD OF TRUSTEES                        NOT AVAILABLE
         PIONEER TELEPHONE COOPERATIVE, INC.
         PO BOX 539
         KINGFISHER, OK 73750



3.5743   PIONEER TELEPHONE COOPERATIVE, INC. AS PLAN              10/9/2018                   Opioid Matter              UNDETERMINED
         SPONSOR AND FIDUCIARY OF PIONEER TELEPHONE
         COOPERATIVE, INC. EMPLOYEE BENEFITS PLAN              ACCOUNT NO.:
         ATTN: REGISTERED AGENT, PAUL I SCHULTE                NOT AVAILABLE
         108 ROBERTS AVENUE
         KINGFISHER, OK 73750



3.5744   PIONEER TELEPHONE COOPERATIVE, INC. EMPLOYEE             10/9/2018                   Opioid Matter              UNDETERMINED
         BENEFITS PLAN
         ATTN: CHAIR, BOARD OF TRUSTEES                        ACCOUNT NO.:
         PO BOX 539                                            NOT AVAILABLE
         KINGFISHER, OK 73750


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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5745   PIPE FITTERS LOCAL UNION NO. 120 INSURANCE FUND          4/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT
         4680 LAKE ROAD EAST                                   ACCOUNT NO.:
         GENEVA ON THE LAKE, OH 44041                          NOT AVAILABLE



3.5746   PIPE FITTERS LOCAL UNION NO. 120 INSURANCE FUND          4/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRINCIPAL OFFICER, CHAIR, AND ADMINSTRATOR
         6305 HALLE DRIVE                                      ACCOUNT NO.:
         CLEVELAND, OH 44125                                   NOT AVAILABLE



3.5747   PITT COUNTY                                              2/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER AND CLERK TO THE BOARD
         OF COMMISSIONERS                                      ACCOUNT NO.:
         PITT COUNTY OFFICE BUILDING                           NOT AVAILABLE
         1717 WEST 5TH STREET
         GREENVILLE, NC 27834



3.5748   PITTSYLVANIA COUNTY                                      9/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         PO BOX 426                                            ACCOUNT NO.:
         CHATHAM, VA 24531                                     NOT AVAILABLE



3.5749   PLAINS TOWNSHIP, PENNSYLVANIA                           10/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: BOARD OF COMMISSIONERS
         PLAINS TOWNSHIP MUNICIPAL BUILDING                    ACCOUNT NO.:
         N MAIN STREET                                         NOT AVAILABLE
         PLAINS, PA 18705



3.5750   PLAINS TOWNSHIP, PENNSYLVANIA                           10/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: JOSH SHAPIRO
         STATE OF PENNSYLVANIA ATTORNEY GENERAL                ACCOUNT NO.:
         PENNSYLVANIA OFFICE OF ATTORNEY GENERAL - 16TH        NOT AVAILABLE
         FLOOR, STRAWBERRY SQUARE
         HARRISBURG, PA 17120



3.5751   PLEASANTS COUNTY COMMISSION                              5/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY PROSECUTING ATTORNEY
         301 COURT LANE                                        ACCOUNT NO.:
         ROOM 202                                              NOT AVAILABLE
         ST. MARY'S, WV 26170



3.5752   PLEASANTS COUNTY COMMISSION                              5/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         301 COURT LANE                                        ACCOUNT NO.:
         ROOM 101                                              NOT AVAILABLE
         ST. MARYS, WV 26170



3.5753   PLEASANTS COUNTY COMMISSION                              9/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: PLEASANTS COUNTY CLERK
         301 COURT LANE                                        ACCOUNT NO.:
         ROOM 101                                              NOT AVAILABLE
         ST. MARYS, WV 26170




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5754   PLUMBERS & STEAMFITTERS LOCAL 166 HEALTH AND             6/10/2019                   Opioid Matter              UNDETERMINED
         WELFARE FUND
         ATTN: HUNTER J. SHKOLNIK                              ACCOUNT NO.:
         NAPOLI SHKOLNIK PLLC                                  NOT AVAILABLE
         360 LEXINGTON AVENUE - ELEVENTH FLOOR
         NEW YORK, NY 10017



3.5755   PLUMBERS & STEAMFITTERS LOCAL 166 HEALTH AND             6/10/2019                   Opioid Matter              UNDETERMINED
         WELFARE FUND
         ATTN: FRANK GALLUCCI                                  ACCOUNT NO.:
         PELVIN & GALLUCCI COMPANY, L.P.                       NOT AVAILABLE
         55 PUBLIC SQUARE - SUITE 2222
         CLEVELAND, OH 44113



3.5756   PLUMBERS & STEAMFITTERS LOCAL 166 HEALTH AND             6/10/2019                   Opioid Matter              UNDETERMINED
         WELFARE FUND
         ATTN: JOSEPH L. CIACCIO                               ACCOUNT NO.:
         HUNTER J. SHKOLNIK                                    NOT AVAILABLE
         360 LEXINGTON AVENUE
         NEW YORK, NY 10017



3.5757   PLUMBERS & STEAMFITTERS LOCAL 166 HEALTH AND             6/10/2019                   Opioid Matter              UNDETERMINED
         WELFARE FUND
         ATTN: JOHN D. MCCLUNE                                 ACCOUNT NO.:
         SULLIVAN, WARD, ASHER & PATTON, P.C.                  NOT AVAILABLE
         25800 NORTHWESTERN HIGHWAY - SUITE 1000
         SOUTHFIELD, MI 48075



3.5758   PLUMBERS & STEAMFITTERS LOCAL 166 HEALTH AND             6/10/2019                   Opioid Matter              UNDETERMINED
         WELFARE FUND
         ATTN: MICHAEL J. ASHER                                ACCOUNT NO.:
         SULLIVAN, WARD, ASHER & PATTON, P.C.                  NOT AVAILABLE
         25800 NORTHWESTERN HIGHWAY, SUITE 1000
         SOUTHFIELD, MI 48075



3.5759   PLUMBERS & STEAMFITTERS LOCAL 166 HEALTH AND             6/10/2019                   Opioid Matter              UNDETERMINED
         WELFARE FUND
         ATTN: SALVATORE C. BADALA                             ACCOUNT NO.:
         HUNTER J. SCHKOLNIK                                   NOT AVAILABLE
         360 LEXINGTON AVENUE
         NEW YORK, NY 10017



3.5760   PLUMBERS & STEAMFITTERS LOCAL 166 HEALTH AND             6/10/2019                   Opioid Matter              UNDETERMINED
         WELFARE FUND
         ATTN: SHAYNA E. SACKS                                 ACCOUNT NO.:
         360 LEXINGTON AVENUE                                  NOT AVAILABLE
         NEW YORK, NY 10017



3.5761   PLUMBERS & STEAMFITTERS LOCAL 166 HEALTH AND             6/10/2019                   Opioid Matter              UNDETERMINED
         WELFARE FUND
         ATTN: PLUMBERS & STEAMFITTERS LOCAL 166 HEALTH        ACCOUNT NO.:
         AND WELFARE FUND; AND AN OFFICER OF PLUMBERS &        NOT AVAILABLE
         STEAMFITTERS LOCAL 166 HEALTH AND WELFARE FUND
         PO BOX 99485
         TROY, MI 48099




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5762   PLUMBERS & STEAMFITTERS LOCAL 166 HEALTH AND             6/10/2019                   Opioid Matter              UNDETERMINED
         WELFARE FUND
         ATTN: PAUL NAPOLI                                     ACCOUNT NO.:
         NAPOLI SHKOLNIK PLLC                                  NOT AVAILABLE
         360 LEXINGTON AVENUE - ELEVENTH FLOOR
         NEW YORK, NY 10017



3.5763   PLUMBERS & STEAMFITTERS LOCAL 166 HEALTH AND             6/10/2019                   Opioid Matter              UNDETERMINED
         WELFARE FUND
         ATTN: PLUMBERS & STEAMFITTERS LOCAL 166 HEALTH        ACCOUNT NO.:
         AND WELFARE FUND;                                     NOT AVAILABLE
         AND EXECUTIVE OFFICERS THEREOF
         2930 WEST LUDWIG ROAD
         FORT WAYNE, IN 46818



3.5764   PLUMBERS LOCAL UNION NO. 1 WELFARE FUND                  5/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: BUSINESS MANAGER
         50-02 FIFTH STREET                                    ACCOUNT NO.:
         2ND FLOOR                                             NOT AVAILABLE
         LONG ISLAND CITY, NY 11101



3.5765   POCAHONTAS COUNTY COMMISSION                             3/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT, COUNTY COMMISSION
         900 TENTH AVENUE                                      ACCOUNT NO.:
         MARLINTON, WV 24954                                   NOT AVAILABLE



3.5766   POINTE COUPEE PARISH HEALTH SERVICES DISTRICT            1/18/2019                   Opioid Matter              UNDETERMINED
         NUMBER 1
         ATTN: CHAIRMAN OF THE BOARD OF DIRECTORS, VICE        ACCOUNT NO.:
         CHAIRMAN OF THE BOARD OF DIRECTORS, SECRETARY         NOT AVAILABLE
         OF THE BOARD OF DIRECTORS, CHIEF EXECUTIVE
         OFFICER
         2202 FALSE RIVER DRIVE
         NEW ROADS, LA 70760



3.5767   POLICE JURY OF THE PARISH OF POINTE COUPEE,              1/18/2019                   Opioid Matter              UNDETERMINED
         LOUISIANA
         160 E MAIN STREET                                     ACCOUNT NO.:
         NEW ROADS, LA 70760                                   NOT AVAILABLE



3.5768   POLICE JURY OF THE PARISH OF POINTE COUPEE,              1/18/2019                   Opioid Matter              UNDETERMINED
         LOUISIANA
         ATTN: PARISH PRESIDENT AND COUNCIL CHAIRMAN           ACCOUNT NO.:
         PO BOX 290                                            NOT AVAILABLE
         NEW ROADS, LA 70760



3.5769   POLICE JURY OF THE PARISH OF POINTE COUPEE,              1/18/2019                   Opioid Matter              UNDETERMINED
         LOUISIANA
         P O BOX 754                                           ACCOUNT NO.:
         NEW ROADS, LA 70760-0754                              NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5770   POLK COUNTY                                              1/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: AUDITOR
         ADMINISTRATION BUILDING                               ACCOUNT NO.:
         111 COURT AVENUE - ROOM 230                           NOT AVAILABLE
         DES MOINES, IA 50309



3.5771   POLK COUNTY                                              1/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF SUPERVISORS
         111 COURT AVENUE                                      ACCOUNT NO.:
         ROOM 300                                              NOT AVAILABLE
         DES MOINES, IA 50309



3.5772   POLK COUNTY                                             UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         6239 HIGHWAY 411                                      ACCOUNT NO.:
         COURTHOUSE OFFICE #101                                NOT AVAILABLE
         BENTON, TN 37307



3.5773   POLK COUNTY, FLORIDA                                     5/22/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAIN, VICE CHAIR, AND COUNTY
         COMMISSIONERS                                         ACCOUNT NO.:
         330 WEST CHURCH STREET                                NOT AVAILABLE
         DRAWER BC01 - PO BOX 9005
         BARTOW, FL 33831-9005



3.5774   POLK COUNTY, FLORIDA                                     5/22/2018                   Opioid Matter              UNDETERMINED
         330 WEST CHURCH STREET
         BARTOW, FL 33831                                      ACCOUNT NO.:
                                                               NOT AVAILABLE


3.5775   POLK COUNTY, GEORGIA                                     1/16/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, BOARD OF COMMISSIONERS
         144 WEST AVENUE                                       ACCOUNT NO.:
         SUITE B                                               NOT AVAILABLE
         CEDARTOWN, GA 30125



3.5776   PONCA TRIBE OF INDIANS OF OKLAHOMA                       3/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND CHIEF EXECUTIVE OFFICER OF
         THE PONCA TRIBE OF INDIANS OF OKLAHOMA, VICE          ACCOUNT NO.:
         CHARIMAN OF THE PONCA TRIBE BUSINESS COMMITTEE        NOT AVAILABLE
         20 WHITE EAGLE DRIVE
         PONCA CITY, OK 74601



3.5777   PONCA TRIBE OF NEBRASKA                                  4/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: TRIBAL COUNCIL SECRETARY AND THE TRIBE
         ATTORNEY                                              ACCOUNT NO.:
         PONCA TRIBE OF NEBRASKA                               NOT AVAILABLE
         2523 WOODBINE STREET - PO BOX 288
         NIOBRARA, NE 68760



3.5778   PONTOTOC HEALTH SERVICES, INC.                           3/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT, AND LEGAL SERVICES OFFICER
         176 S MAIN ST.                                        ACCOUNT NO.:
         PONTOTOC, MS 38863                                    NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5779   PORT GAMBLE S’KLALLAM TRIBE                              3/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: TRIBAL COUNCIL CHAIRMAN
         31912 LITTLE BOSTON ROAD NE                           ACCOUNT NO.:
         KINGSTON, WA 98346                                    NOT AVAILABLE



3.5780   PORTER COUNTY                                            2/1/2019                    Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT
         PORTER COUNTY COUNCIL                                 ACCOUNT NO.:
         155 INDIANA AVE. - SUITE 205                          NOT AVAILABLE
         VALPARAISO, IN 46383



3.5781   PORTER COUNTY                                            2/1/2019                    Opioid Matter              UNDETERMINED
         ATTN: CURTIS T. HILL, JR.
         STATE OF INDIANA ATTORNEY GENERAL                     ACCOUNT NO.:
         INDIANA GOVERNMENT CENTER SOUTH - 5TH FLOOR -         NOT AVAILABLE
         302 WEST WASHINGTON STREET
         INDIANAPOLIS, IN 46204



3.5782   POTOMAC VALLEY HOSPITAL OF W. VA., INC.                  4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT, CEO, VICE-PRESIDENT,
         OFFICERS, DIRECTORS, AND TRUSTEES                     ACCOUNT NO.:
         ONE MEDICAL CENTER DRIVE                              NOT AVAILABLE
         P.O. BOX 8267
         MORGANTOWN, WV 26508



3.5783   POTOMAC VALLEY HOSPITAL OF W. VA., INC.                  4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: CEO, VICE-PRESIDENT, REGISTERED AGENT,
         OFFICERS, DIRECTORS, AND TRUSTEES                     ACCOUNT NO.:
         100 PIN OAK LANE                                      NOT AVAILABLE
         KEYSER, WV 26726



3.5784   POTTER VALLEY TRIBE                                      1/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: TRIBAL COUNCIL CHAIRMAN AND CHIEF
         EXECUTIVE OFFICER                                     ACCOUNT NO.:
         2251 SOUTH STATE STREET                               NOT AVAILABLE
         UKIAH, CA 95482



3.5785   PRAIRIE ISLAND INDIAN COMMUNITY                          8/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: TRIBAL COUNCIL CHAIRMAN; TRIBAL CHIEF
         EXECUTIVE OFFICER                                     ACCOUNT NO.:
         PRAIRIE ISLAND TRIBAL COURT                           NOT AVAILABLE
         5636 STURGEON LAKE ROAD
         WELCH, MN 55089



3.5786   PRARIE ISLAND INDIAN COMMUNITY                           8/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT
         5636 STURGEON LAKE ROAD                               ACCOUNT NO.:
         WELCH, MN 55089                                       NOT AVAILABLE



3.5787   PRENTISS COUNTY, MISSISSIPPI                             5/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OR CLERK OF THE BOARD OF
         SUPERVISORS                                           ACCOUNT NO.:
         100 NORTH MAIN STREET                                 NOT AVAILABLE
         PO BOX 477
         BOONEVILLE, MS 38829


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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                         Claim

Litigation

3.5788   PRESTON BOHANNON, IN HIS OFFICIAL CAPACITY AS            3/22/2019                   Opioid Matter              UNDETERMINED
         THE SHERIFF OF JEFF DAVIS COUNTY, GEORGIA
         ATTN: SHERIFF OF JEFF DAVIS COUNTY, GEORGIA           ACCOUNT NO.:
         JEFF DAVIS COUNTY SHERIFF'S OFFICE                    NOT AVAILABLE
         15 PUBLIC SAFETY DR.
         HAZLEHURST, GA 31539



3.5789   PRESTON BOHANNON, IN HIS OFFICIAL CAPACITY AS            3/22/2019                   Opioid Matter              UNDETERMINED
         THE SHERIFF OF JEFF DAVIS COUNTY, GEORGIA
         JEFF DAVIS COUNTY BOARD OF COMMISSIONERS              ACCOUNT NO.:
         14 JEFF DAVIS ST                                      NOT AVAILABLE
          - SUITE 101
         HAZLEHURST, GA 31539



3.5790   PRESTON MEMORIAL HOSPITAL CORPORATION                    4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT, CHIEF EXECUTIVE OFFICER,
         OFFICERS, DIRECTORS, TRUSTEES, AND AGENT              ACCOUNT NO.:
         150 MEMORIAL DRIVE                                    NOT AVAILABLE
         KINGWOOD, WV 26537



3.5791   PRICE COUNTY                                             11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         PRICE COUNTY COURTHOUSE                               ACCOUNT NO.:
         126 CHERRY ST. - ROOM 106                             NOT AVAILABLE
         PHILLIPS, WI 54555



3.5792   PRICE COUNTY                                             11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE COUNTY BOARD
         COUNTY BOARD SUPERVISOR - DISTRICT 10                 ACCOUNT NO.:
         N16165 LAKESHORE DRIVE                                NOT AVAILABLE
         BUTTERNUT, WI 54514



3.5793   PRIMARY PURPOSE CENTER INC.                              11/1/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         3222 NORTH RIDGE ROAD                                 ACCOUNT NO.:
         ELYRIA, OH 44035                                      NOT AVAILABLE



3.5794   PRIMARY PURPOSE CENTER INC.                              11/1/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         3222 NORTH RIDGE RD.                                  ACCOUNT NO.:
         ELYRIA, OH 44035                                      NOT AVAILABLE



3.5795   PRINCE GEORGE COUNTY, VIRGINIA                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         P.O. BOX 68                                           ACCOUNT NO.:
         6602 COURTS DRIVE, 3RD FLOOR                          NOT AVAILABLE
         PRINCE GEORGE, VA 23875



3.5796   PRINCE GEORGE COUNTY, VIRGINIA                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF SUPERVISORS
         6255 HUNTER PLACE                                     ACCOUNT NO.:
         PRINCE GEORGE, VA 23875                               NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5797   PRINCE GEORGE COUNTY, VIRGINIA                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY; COUNTY ADMINISTRATION
         6602 COURTS DRIVE, FLOOR 3                            ACCOUNT NO.:
         P.O. BOX 68                                           NOT AVAILABLE
         PRINCE GEORGE, VA 23875



3.5798   PRINCE GEORGE'S COUNTY, MARYLAND                         1/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE AND REGISTERED AGENT FOR
         PRINCE GEORGE'S COUNTY                                ACCOUNT NO.:
         1301 MCCORMICK DRIVE                                  NOT AVAILABLE
         SUITE 4000
         LARGO, MD 20774



3.5799   PRINCE GEORGE'S COUNTY, MARYLAND                         1/23/2018                   Opioid Matter              UNDETERMINED
         14741 GOVERNOR ODEN BOWIE DRIVE
         UPPER MARLBORO, MD 20772                              ACCOUNT NO.:
                                                               NOT AVAILABLE


3.5800   PUEBLO COUNTY                                            6/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND RECORDER, COUNTY
         COMMISSIONERS                                         ACCOUNT NO.:
         PUEBLO COUNTY COURTHOUSE                              NOT AVAILABLE
         215 WEST 10TH STREET
         PUEBLO, CO 81003



3.5801   PULASKI COUNTY                                           8/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: CURTIS T. HILL, JR.
         STATE OF INDIANA ATTORNEY GENERAL                     ACCOUNT NO.:
         INDIANA GOVERNMENT CENTER SOUTH - 5TH FLOOR -         NOT AVAILABLE
         302 WEST WASHINGTON STREET
         INDIANAPOLIS, IN 46204



3.5802   PULASKI COUNTY                                           8/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS
         112 EAST MAIN STREET                                  ACCOUNT NO.:
         WINAMAC, IN 46996                                     NOT AVAILABLE



3.5803   PULASKI COUNTY, GEORGIA                                  3/26/2019                   Opioid Matter              UNDETERMINED
         45 S. LUMPKIN ST.
         PO BOX29                                              ACCOUNT NO.:
         HAWKINSVILLE, GA 31036                                NOT AVAILABLE



3.5804   PULASKI COUNTY, GEORGIA                                  3/26/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER
         COURTHOUSE ANNEX                                      ACCOUNT NO.:
         45 S. LUMPKIN STREET                                  NOT AVAILABLE
         HAWKINSVILLE, GA 31036



3.5805   PULASKI COUNTY, MISSOURI                                10/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK AND CLERK OF THE COUNTY
         COMMISION AND PRESIDING COMMISSIONER                  ACCOUNT NO.:
         301 HISTORIC RT. 66 E.                                NOT AVAILABLE
         SUITE 101
         WAYNESVILLE, MO 65583




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5806   PULASKI COUNTY, VIRGINIA                                 7/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: COMMONWEALTH ATTORNEY
         240 NORTH JEFFERSON AVENUE                            ACCOUNT NO.:
         PULASKI, VA 24301                                     NOT AVAILABLE



3.5807   PURDUE PHARMA INC.,                                      2/22/2019                   Opioid Matter              UNDETERMINED
         TONY G. PUCKETT
         MCAFEE & TAFT A PROFESSIONAL CORPORATION              ACCOUNT NO.:
         10TH FLOOR, TWO LEADERSHIP SQUARE - 211 NORTH         NOT AVAILABLE
         ROBINSON
         OKLAHOMA CITY, OK 73102



3.5808   PURDUE PHARMA INC.,                                      2/22/2019                   Opioid Matter              UNDETERMINED
         TODD A. COURT
         MCAFEE & TAFT A PROFESSIONAL CORPORATION              ACCOUNT NO.:
         10TH FLOOR, TWO LEADERSHIP SQUARE - 211 NORTH         NOT AVAILABLE
         ROBINSON
         OKLAHOMA CITY, OK 73102



3.5809   PURDUE PHARMA INC.,                                      2/22/2019                   Opioid Matter              UNDETERMINED
         HARRISON C. LUJAN
         FULMER SILL                                           ACCOUNT NO.:
         P.O. BOX 2448 - 1101 NORTH BROADWAY AVENUE.,          NOT AVAILABLE
         SUITE 102
         OKLAHOMA CITY, OK 73103



3.5810   PURDUE PHARMA INC.,                                      2/22/2019                   Opioid Matter              UNDETERMINED
         ATTN: ALEX YAFFE
         FULMER SILL                                           ACCOUNT NO.:
         P.O. BOX 2448 - 1101 NORTH BROADWAY AVENUE.,          NOT AVAILABLE
         SUITE 102
         OKLAHOMA CITY, OK 73103



3.5811   PUTNAM COUNTY                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         121 SOUTH DIXIE AVENUE                                ACCOUNT NO.:
         COOKEVILLE, TN 38501                                  NOT AVAILABLE



3.5812   PUTNAM COUNTY                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         300 EAST SPRING STREET                                ACCOUNT NO.:
         ROOM 8                                                NOT AVAILABLE
         COOKEVILLE, TN 38501



3.5813   QHG OF ENTERPRISE, INC.                                  9/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: CEO, PARTNER, OR MANAGER
         400 NORTH EDWARDS STREET                              ACCOUNT NO.:
         ENTERPRISE, AL 36330                                  NOT AVAILABLE



3.5814   QHG OF ENTERPRISE, INC.                                  9/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         641 SOUTH LAWRENCE STREET                             ACCOUNT NO.:
         MONTGOMERY, AL 36104                                  NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                         Claim

Litigation

3.5815   QUAPAW TRIBE OF OKLAHOMA                                 6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND TRIBE ATTORNEY
         5681 SOUTH 630 ROAD                                   ACCOUNT NO.:
         P.O. BOX 765                                          NOT AVAILABLE
         QUAPAW, OK 74363



3.5816   QUINAULT INDIAN NATION                                  10/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT
         1214 AALIS DRIVE                                      ACCOUNT NO.:
         P.O.BOX 189                                           NOT AVAILABLE
         TAHOLAH, WA 98587



3.5817   QUINCY WEATHERWAX, INDIVIDUALLY AND AS NEXT              6/16/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY L.W., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED          ACCOUNT NO.:
         ATTN: CELESTE BRUSTOWICZ                              NOT AVAILABLE
         COOPER LAW FIRM, LLC
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.5818   R. CHRIS NEVILS                                          5/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: NEBLETT, BEARD & ARSENAULT
         RICHARD J. ARSENAULT, ESQ.                            ACCOUNT NO.:
         2220 BONAVENTURE COURT                                NOT AVAILABLE
         ALEXANDRIA, LA 71301



3.5819   R.D. BURNS                                               3/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: ROBERT DAVID BURNS
         PO BOX 11227                                          ACCOUNT NO.:
         COSTA MESA, CA 92627                                  NOT AVAILABLE



3.5820   R.D. BURNS                                               3/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: ROBERT DAVID BURNS, ESQ.
         C/O THE STATE BAR OF CALIFORNIA                       ACCOUNT NO.:
         845 SOUTH FIGUEROA STREET                             NOT AVAILABLE
         LOS ANGELES, CA 90017



3.5821   R.D. BURNS                                               3/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: ROBERT DAVID BURNS
         P. O. BOX 7855                                        ACCOUNT NO.:
         HUNTINGTON BEACH, CA 92615                            NOT AVAILABLE



3.5822   R.N. "BUTCH" REECE, IN HIS OFFICIAL CAPACITY AS THE      3/22/2019                   Opioid Matter              UNDETERMINED
         SHERIFF OF JONES COUNTY, GEORGIA
         JONES COUNTY, GEORGIA                                 ACCOUNT NO.:
         PO BOX 1359                                           NOT AVAILABLE
         GRAY, GA 31032-1359



3.5823   R.N. "BUTCH" REECE, IN HIS OFFICIAL CAPACITY AS THE      3/22/2019                   Opioid Matter              UNDETERMINED
         SHERIFF OF JONES COUNTY, GEORGIA
         ATTN: JONES COUNTY SHERIFF                            ACCOUNT NO.:
         123 HOLMES HAWKINS DR                                 NOT AVAILABLE
         GRAY, GA 31032




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5824   RABUN COUNTY, GEORGIA                                    3/26/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         25 COURTHOUSE SQUARE                                  ACCOUNT NO.:
         SUITE 201                                             NOT AVAILABLE
         CLAYTON, GA 30525



3.5825   RACHEL WOOD, INDIVIDUALLY AND AS NEXT FRIEND             3/3/2018                    Opioid Matter              UNDETERMINED
         AND ADOPTED MOTHER OF BABY O.W., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED          ACCOUNT NO.:
         ATTN: ANTHONY D. GRAY                                 NOT AVAILABLE
         JOHNSON GRAY, LLC
         319 NORTH 4TH STREET - SUITE 212
         ST. LOUIS, MO 63102



3.5826   RAMSEY BENNETT, IN HIS OFFICIAL CAPACITY AS THE          3/22/2019                   Opioid Matter              UNDETERMINED
         SHERIFF OF PIERCE COUNTY, GEORGIA
         312 NICHOLS STREET,                                   ACCOUNT NO.:
         SUITE 5                                               NOT AVAILABLE
          - P.O. BOX 679
         BLACKSHEAR, GA 31516



3.5827   RAMSEY BENNETT, IN HIS OFFICIAL CAPACITY AS THE          3/22/2019                   Opioid Matter              UNDETERMINED
         SHERIFF OF PIERCE COUNTY, GEORGIA
         ATTN: SHERIFF                                         ACCOUNT NO.:
         300 PIERCE INDUSTRIAL BOULEVARD                       NOT AVAILABLE
         BLACKSHEAR, GA 31516



3.5828   RAMSEY BENNETT, IN HIS OFFICIAL CAPACITY AS THE          3/22/2019                   Opioid Matter              UNDETERMINED
         SHERIFF OF PIERCE COUNTY, GEORGIA
         312 NICHOLS STREET                                    ACCOUNT NO.:
         SUITE 5                                               NOT AVAILABLE
         BLACKSHEAR, GA 31516



3.5829   RAMSEY COUNTY                                            6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: COMMISSIONER CHAIRMAN OF RAMSEY COUNTY
         524 4TH AVENUE NORTHEAST                              ACCOUNT NO.:
         COUNTY COURTHOUSE - COMMISSIONERS ROOM                NOT AVAILABLE
         DEVILS LAKE, ND 58301



3.5830   RAMSEY COUNTY, MN                                       11/30/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE COUNTY BOARD
         RAMSEY COUNTY BOARD OFFICE                            ACCOUNT NO.:
         ROOM 220 COURTHOUSE - 15 W. KELLOGG BLVD.             NOT AVAILABLE
         SAINT PAUL, MN 55102



3.5831   RANDOLPH COUNTY                                          3/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER AND BOARD OF
         COMMISSIONERS CHAIRPERSON                             ACCOUNT NO.:
         RANDOLPH COUNTY OFFICE BUILDING                       NOT AVAILABLE
         725 MCDOWELL ROAD - 2ND FLOOR
         ASHEBORO, NC 27205




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5832   RANDOLPH COUNTY COMMISSION                               9/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         2 RANDOLPH AVENUE                                     ACCOUNT NO.:
         ELKINS, WV 26241                                      NOT AVAILABLE



3.5833   RANDOLPH COUNTY COMMISSION                               9/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: PROSECUTING ATTORNEY
         4 RANDOLPH AVENUE                                     ACCOUNT NO.:
         COURTHOUSE ANNEX, 2ND FLOOR                           NOT AVAILABLE
         ELKINS, WV 26241



3.5834   RANDOLPH COUNTY COMMISSION                               9/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF COUNTY COMMISSIONERS
         4 RANDOLPH AVENUE                                     ACCOUNT NO.:
         SUITE 102                                             NOT AVAILABLE
         ELKINS, WV 26241



3.5835   RANDOLPH COUNTY COMMISSION                               9/28/2018                   Opioid Matter              UNDETERMINED
         CLAYTON J. FITZSIMMONS
         FITZSIMMONS LAW FIRM PLLC                             ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26003



3.5836   RANDOLPH COUNTY COMMISSION                               9/28/2018                   Opioid Matter              UNDETERMINED
         ROBERT P. FITZSIMMONS
         FITZSIMMONS LAW FIRM PLLC                             ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26003



3.5837   RANDOLPH COUNTY COMMISSION                               9/28/2018                   Opioid Matter              UNDETERMINED
         MARK A. COLANTONIO
         FITZSIMMONS LAW FIRM PLLC                             ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26003



3.5838   RANDOLPH COUNTY COMMISSION                               9/28/2018                   Opioid Matter              UNDETERMINED
         PAUL J. NAPOLI
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.5839   RANDOLPH COUNTY COMMISSION                               9/28/2018                   Opioid Matter              UNDETERMINED
         SALVATORE C. BADALA
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.5840   RANDOLPH COUNTY COMMISSION                               9/28/2018                   Opioid Matter              UNDETERMINED
         HUNTER J. SHKOLNIK
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5841   RANDOLPH COUNTY COMMISSION                               9/28/2018                   Opioid Matter              UNDETERMINED
         SAMUEL D. MADIA
         SHAFFER MADIA LAW PLLC                                ACCOUNT NO.:
         343 WEST MAIN STREET                                  NOT AVAILABLE
         CLARKSBURG, WV 26301



3.5842   RANDOLPH COUNTY COMMISSION                               9/28/2018                   Opioid Matter              UNDETERMINED
         JOSEPH F. SHAFFER
         SHAFFER MADIA LAW PLLC                                ACCOUNT NO.:
         343 WEST MAIN STREET                                  NOT AVAILABLE
         CLARKSBURG, WV 26301



3.5843   RANDOLPH COUNTY COMMISSION                               9/28/2018                   Opioid Matter              UNDETERMINED
         SHAYNA E. SACKS
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.5844   RANDOLPH COUNTY COMMISSION                               9/28/2018                   Opioid Matter              UNDETERMINED
         JOSEPH L. CIACCIO
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.5845   RANDOLPH COUNTY, GEORGIA                                 3/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE RANDOLPH COUNTY
         BOARD OF COMMISSIONERS                                ACCOUNT NO.:
         BOARD OF COMMISSIONERS OFFICE                         NOT AVAILABLE
         51 COURT STREET
         CUTHBERT, GA 39840



3.5846   RANDOLPH COUNTY, MISSOURI                                6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: CLERK OF THE COUNTY COMMISSION
         372 HIGHWAY JJ STE. 2C                                ACCOUNT NO.:
         HUNTSVILLE, MO 65259                                  NOT AVAILABLE



3.5847   RANDOLPH COUNTY, MISSOURI                                6/7/2019                    Opioid Matter              UNDETERMINED
         372 HIGHWAY JJ STE 2B
         HUNTSVILLE, MO 65259                                  ACCOUNT NO.:
                                                               NOT AVAILABLE


3.5848   RANDY F. ROYAL, IN HIS OFFICIAL CAPACITY AS THE          3/22/2019                   Opioid Matter              UNDETERMINED
         SHERIFF OF WARE COUNTY, GEORGIA
         GEORGIA SHERIFFS’ ASSOCIATION                         ACCOUNT NO.:
         3000 HIGHWAY 42 N.                                    NOT AVAILABLE
          - P.O. BOX 1000
         STOCKBRIDGE, GA 30281



3.5849   RANDY F. ROYAL, IN HIS OFFICIAL CAPACITY AS THE          3/22/2019                   Opioid Matter              UNDETERMINED
         SHERIFF OF WARE COUNTY, GEORGIA
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS          ACCOUNT NO.:
         PO BOX 1069                                           NOT AVAILABLE
         WAYCROSS, GA 31502-1069




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Creditor's Name, Mailing Address Including Zip               Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                          And Account Number                         Claim

Litigation

3.5850   RANDY SEAL, SHERIFF OF WASHINGTON PARISH                         10/5/2017                   Opioid Matter              UNDETERMINED
         ATTN: SHERIFF OF WASHINGTON PARISH
         1002 MAIN STREET                                               ACCOUNT NO.:
         P.O. BOX 677                                                   NOT AVAILABLE
         FRANKLINTON, LA 70438



3.5851   Randy Smith, Sheriff of St. Tammany Parish, Louisiana in his     7/27/2018                   Opioid Matter              UNDETERMINED
         capacity as officer ex officio of the St. Tammany Parish
         Sheriff's Office and the St. Tammany Parish Law Enforcement    ACCOUNT NO.:
         District                                                       NOT AVAILABLE
         Attn: Sheriff of St. Tammany Parish
         PO Box 1120
         Covington, LA 70434



3.5852   Randy Smith, Sheriff of St. Tammany Parish, Louisiana in his     7/27/2018                   Opioid Matter              UNDETERMINED
         capacity as officer ex officio of the St. Tammany Parish
         Sheriff's Office and the St. Tammany Parish Law Enforcement    ACCOUNT NO.:
         District                                                       NOT AVAILABLE
         Attn: Sheriff of St. Tammany Parish
         Slidell Administrative Building
         300 Brownswitch Road
         Slidell, LA 70458



3.5853   RANSOM COUNTY                                                    6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND BOARD OF COUNTY
         COMMISSIONERS                                                  ACCOUNT NO.:
         204 5TH AVENUE WEST                                            NOT AVAILABLE
         LISBON, ND 58054



3.5854   RANSOM COUNTY                                                    6/14/2019                   Opioid Matter              UNDETERMINED
         P O BOX 668
         204 5TH AVENUE WEST                                            ACCOUNT NO.:
         LISBON, ND 58054                                               NOT AVAILABLE



3.5855   RANSOM COUNTY                                                    6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN
         PO BOX 389                                                     ACCOUNT NO.:
         LISBON, ND 58054-0389                                          NOT AVAILABLE



3.5856   REANNAN HOWELL, INDIVIDUALLY AND AS NEXT FRIEND                  6/18/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY N.J.D.
         ATTN: CELESTE BRUSTOWICZ                                       ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                           NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.5857   REBECCA GOFORTH, INDIVIDUALLY AND AS NEXT                        6/20/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABIES A.S. AND N.S.
         ATTN: DAVID R. BARNEY, JR.                                     ACCOUNT NO.:
         THOMPSON BARNEY LAW FIRM                                       NOT AVAILABLE
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5858   REBECCA GOFORTH, INDIVIDUALLY AND AS NEXT                6/20/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABIES A.S. AND N.S.
         ATTN: SPENCER R. DOODY                                ACCOUNT NO.:
         MARTZELL, BICKFORD & CENTOLA                          NOT AVAILABLE
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.5859   REBECCA GOFORTH, INDIVIDUALLY AND AS NEXT                6/20/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABIES A.S. AND N.S.
         ATTN: CELESTE BRUSTOWICZ, STEPHEN H. WUSSOW           ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                  NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.5860   REBECCA GOFORTH, INDIVIDUALLY AND AS NEXT                6/20/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABIES A.S. AND N.S.
         ATTN: KEVIN W. THOMPSON, DAVID R. BARNEY, JR.         ACCOUNT NO.:
         THOMPSON BARNEY LAW FIRM                              NOT AVAILABLE
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311



3.5861   REBECCA GOFORTH, INDIVIDUALLY AND AS NEXT                6/20/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABIES A.S. AND N.S.
         ATTN: DONALD E. CREADORE                              ACCOUNT NO.:
         CREADOR LAW FIRM                                      NOT AVAILABLE
         450 SEVENTH AVENUE - SUITE 1408
         NEW YORK, NY 10123



3.5862   REBECCA GOFORTH, INDIVIDUALLY AND AS NEXT                6/20/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABIES A.S. AND N.S.
         ATTN: SCOTT R. BICKFORD                               ACCOUNT NO.:
         MARTZELL, BICKFORD & CENTOLA                          NOT AVAILABLE
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.5863   REBECCA GOFORTH, INDIVIDUALLY AND AS NEXT                6/20/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABIES A.S. AND N.S.
         ATTN: KENT HARRISON ROBBINS                           ACCOUNT NO.:
         THE LAW OFFICE OF KENT HARRISON ROBBINS, P.A.         NOT AVAILABLE
         242 NORTHEAST 27TH STREET
         MIAMI, FL 33137



3.5864   REBECCA GOFORTH, INDIVIDUALLY AND AS NEXT                6/20/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABIES A.S. AND N.S.
         ATTN: STEPHEN WUSSOW                                  ACCOUNT NO.:
         COOPER LAW FIRM                                       NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.5865   RED CLIFF BAND OF LAKE SUPERIOR CHIPPEWA INDIANS         4/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: TRIBE’S COUNSEL CHAIRMAN, CEO
         RED CLIFF TRIBAL ADMINISTRATION OFFICE                ACCOUNT NO.:
         88455 PIKE ROAD                                       NOT AVAILABLE
         BAYFIELD, WI 54814




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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                         Claim

Litigation

3.5866   RED LAKE CHIPPEWA BAND OF CHIPPEWA INDIANS               7/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: TRIBAL CHAIRMAN AND CHIEF EXECUTIVE OF THE
         RED LAKE CHIPPEWA BAND OF CHIPPEWA INDIANS            ACCOUNT NO.:
         RED LAKE GOVERNMENT CENTER                            NOT AVAILABLE
         15484 MIGIZI DRIVE
         RED LAKE, MN 56671



3.5867   RED RIVER FIRE PROTECTION DISTRICT                      10/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, BOARD OF COMMISSIONERS, VICE
         CHAIRMAN, BOARD OF COMMISSIONERS                      ACCOUNT NO.:
         205 RINGGOLD AVENUE                                   NOT AVAILABLE
         P.O. BOX 454
         COUSHATTA, LA 71019



3.5868   RED RIVER PARISH                                        10/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: POLICE JURORS
         RED RIVER PARISH POLICE JURY                          ACCOUNT NO.:
         615 EAST CARROL STREET - P. O. DRAWER 709             NOT AVAILABLE
         COUSHATTA, LA 71019



3.5869   REDWOOD VALLEY OR LITTLE RIVER BAND OF POMO              2/21/2018                   Opioid Matter              UNDETERMINED
         INDIANS OF THE REDWOOD VALLEY RANCHERIA
         ATTN: CHAIRPERSON OF THE TRIBAL COUNSEL, AND          ACCOUNT NO.:
         THE TRIBAL CHIEF, AND THE TRIBAL ADMINISTRATOR,       NOT AVAILABLE
         AND THE CHAIRPERSON
         3250 ROAD 1
         REDWOOD VALLEY, CA 95470



3.5870   REGINA HAPGOOD, INDIVIDUALLY AND ON BEHALF OF            1/2/2018                    Opioid Matter              UNDETERMINED
         THE ESTATE OF RICHARD COELHO
         ATTN: DOUGLAS SANDERS                                 ACCOUNT NO.:
         100 GARDEN CITY PLAZA                                 NOT AVAILABLE
         SUITE 500
         GARDEN CITY, NY 11530



3.5871   REGINA HAPGOOD, INDIVIDUALLY AND ON BEHALF OF            1/2/2018                    Opioid Matter              UNDETERMINED
         THE ESTATE OF RICHARD COELHO
         ATTN: RANDI A. KASSAN                                 ACCOUNT NO.:
         SANDERS PHILLIPS GROSSMAN, LLC                        NOT AVAILABLE
         100 GARDEN CITY PLAZA - SUITE 500
         GARDEN CITY, NY 11530



3.5872   RENO-SPARKS INDIAN COLONY                                6/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: TRIBAL CHAIRMAN AND CHIEF EXECUTIVE
         OFFICER OF THE RENO-SPARKS INDIAN COLONY              ACCOUNT NO.:
         34 RESERVATION ROAD                                   NOT AVAILABLE
         RENO, NV 89502



3.5873   RESIGHINI RANCHERIA                                      1/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: TRIBAL COUNCIL CHAIRMAN AND CHIEF
         EXECUTIVE OFFICER                                     ACCOUNT NO.:
         158 EAST KLAMATH BEACH ROAD                           NOT AVAILABLE
         KLAMATH, CA 95548




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5874   RESIGHINI RANCHERIA                                      1/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: TRIBAL COUNCIL CHAIRMAN AND CHIEF
         EXECUTIVE OFFICER                                     ACCOUNT NO.:
         PO BOX 529                                            NOT AVAILABLE
         KLAMATH, CA 95548



3.5875   RESOLUTE HOSPITAL COMPANY, LLC D/B/A RESOLUTE           UNKNOWN                      Opioid Matter              UNDETERMINED
         HEALTH
         ATTN: REGISTERED AGENT                                ACCOUNT NO.:
         1999 BRYAN STREET                                     NOT AVAILABLE
         SUITE 900
         DALLAS, TX 75201



3.5876   RESOLUTE HOSPITAL COMPANY, LLC D/B/A RESOLUTE           UNKNOWN                      Opioid Matter              UNDETERMINED
         HEALTH
         ATTN: CEO, PARTNER, OR MANAGER                        ACCOUNT NO.:
         1445 ROSS AVENUE                                      NOT AVAILABLE
         SUITE 1400
         DALLAS, TX 75202-2703



3.5877   RESOLUTE HOSPITAL COMPANY, LLC D/B/A RESOLUTE           UNKNOWN                      Opioid Matter              UNDETERMINED
         HEALTH
         ATTN: CEO, PARTNER, OR MANAGER                        ACCOUNT NO.:
         555 CREEKSIDE CROSSING                                NOT AVAILABLE
         NEW BRAUNFELS, TX 78130



3.5878   REYNOLDS COUNTY, MISSOURI                               10/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK OF THE COUNTY COMMISION AND
         PRESIDING COMMISSIONER AND COUNTY CLERK               ACCOUNT NO.:
         PO BOX 10                                             NOT AVAILABLE
         CENTERVILLE, MO 63633-0010



3.5879   REYNOLDS MEMORIAL HOSPITAL INC.                          4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         800 WHEELING AVENUE                                   ACCOUNT NO.:
         GLEN DALE, WV 26038                                   NOT AVAILABLE



3.5880   REYNOLDS MEMORIAL HOSPITAL INC.                          4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         1238 SUNCREST TOWNE CENTER                            ACCOUNT NO.:
         MORGANTOWN, WV 26505                                  NOT AVAILABLE



3.5881   RHEA COUNTY                                             UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE
         375 CHURCH ST                                         ACCOUNT NO.:
         SUITE 215                                             NOT AVAILABLE
         DAYTON, TN 37321



3.5882   RHONDA BELCHER AND ELLA LOUISE JOHNSON AS                8/15/2018                   Opioid Matter              UNDETERMINED
         ADMINISTRATRIX OF THE ESTATE OF MACKENZIE PAIGE
         HAYS                                                  ACCOUNT NO.:
         ATTN: RYAN BIGGERSTAFF, ESQ.                          NOT AVAILABLE
         GARY C. JOHNSON, P.S.C.
         110 CAROLINE AVENUE
         PIKEVILLE, KY 41502


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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5883   RHONDA BELCHER AND ELLA LOUISE JOHNSON AS                8/15/2018                   Opioid Matter              UNDETERMINED
         ADMINISTRATRIX OF THE ESTATE OF MACKENZIE PAIGE
         HAYS                                                  ACCOUNT NO.:
         ATTN: GARY C. JOHNSON, ESQ.                           NOT AVAILABLE
         GARY C. JOHNSON, P.S.C.
         110 CAROLINE AVENUE - P.O. BOX 110
         PIKEVILLE, KY 41502



3.5884   RHONDA BELCHER AND ELLA LOUISE JOHNSON AS                8/15/2018                   Opioid Matter              UNDETERMINED
         ADMINISTRATRIX OF THE ESTATE OF MACKENZIE PAIGE
         HAYS                                                  ACCOUNT NO.:
         ATTN: RYAN BIGGERSTAFF, ESQ.                          NOT AVAILABLE
         GARY C. JOHNSON, P.S.C.
         110 CAROLINE AVENUE - P.O. BOX 110
         PIKEVILLE, KY 41502



3.5885   RHONDA BELCHER AND ELLA LOUISE JOHNSON AS                8/15/2018                   Opioid Matter              UNDETERMINED
         ADMINISTRATRIX OF THE ESTATE OF MACKENZIE PAIGE
         HAYS                                                  ACCOUNT NO.:
         ATTN: GARY C. JOHNSON, ESQ.                           NOT AVAILABLE
         GARY C. JOHNSON, P.S.C.
         110 CAROLINE AVENUE
         PIKEVILLE, KY 41502



3.5886   RICH COUNTY, UTAH                                        4/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: CLERK
         RICH COUNTY COURTHOUSE                                ACCOUNT NO.:
         20 SOUTH MAIN                                         NOT AVAILABLE
         RANDOLPH, UT 84064



3.5887   RICHLAND COUNTY                                          6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND BOARD OF COMMISSIONERS
         418 2ND AVE NORTH                                     ACCOUNT NO.:
         WAHPETON, ND 58075                                    NOT AVAILABLE



3.5888   RICHLAND COUNTY CHILDREN'S SERVICES                      9/12/2017                   Opioid Matter              UNDETERMINED
         ATTN: PAUL J. NAPOLI
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - ELEVENTH FLOOR                 NOT AVAILABLE
         NEW YORK, NY 10017



3.5889   RICHLAND COUNTY CHILDREN'S SERVICES                      9/12/2017                   Opioid Matter              UNDETERMINED
         ATTN: SALVATORE C. BADALA
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.5890   RICHLAND COUNTY CHILDREN'S SERVICES                      9/12/2017                   Opioid Matter              UNDETERMINED
         ATTN: JOSEPH L. CIACCIO
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         1500 WEST 3RD STREET - SUITE 510                      NOT AVAILABLE
         CLEVELAND, OH 44113




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5891   RICHLAND COUNTY CHILDREN'S SERVICES                      9/12/2017                   Opioid Matter              UNDETERMINED
         ATTN: PATRICK WARNER
         LEIST WARNER                                          ACCOUNT NO.:
         SUITE 201 - 513 EAST RICH STREET                      NOT AVAILABLE
         COLUMBUS, OH 43215



3.5892   RICHLAND COUNTY CHILDREN'S SERVICES                      9/12/2017                   Opioid Matter              UNDETERMINED
         ATTN: SHAYNA ERIN SACKS
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELLVILLE, NY 11747



3.5893   RICHLAND COUNTY CHILDREN'S SERVICES                      9/12/2017                   Opioid Matter              UNDETERMINED
         ATTN: MICHAEL W. CZACK
         CZACK LAW FIRM                                        ACCOUNT NO.:
         SUITE 300, THE GRAYS'S BLOCK - 1360 WEST 9TH          NOT AVAILABLE
         STREET
         CLEVELAND, OH 44113



3.5894   RICHLAND COUNTY CHILDREN'S SERVICES                      9/12/2017                   Opioid Matter              UNDETERMINED
         ATTN: JOHN R. CLIMACO
         CLIMACO, WILCOX, PECA, TARANTINO & GARAFOLI -         ACCOUNT NO.:
         CLEVELAND                                             NOT AVAILABLE
         SUITE 1950 - 55 PUBLIC SQUARE
         CLEVELAND, OH 44113



3.5895   RICHLAND COUNTY CHILDREN'S SERVICES                      9/12/2017                   Opioid Matter              UNDETERMINED
         ATTN: DARRIN C. LEIST
         LEIST WARNER                                          ACCOUNT NO.:
         SUITE 201 - 513 EAST RICH STREET                      NOT AVAILABLE
         COLUMBUS, OH 43215



3.5896   RICHLAND COUNTY CHILDREN'S SERVICES                      9/12/2017                   Opioid Matter              UNDETERMINED
         ATTN: D. SCOTT KALISH
         KALISH LAW                                            ACCOUNT NO.:
         THE WESTERN RESERVE BUILDING - 1468 WEST NINTH        NOT AVAILABLE
         STREET, #405
         CLEVELAND, OH 44113



3.5897   RICHLAND COUNTY CHILDREN'S SERVICES                      9/12/2017                   Opioid Matter              UNDETERMINED
         ATTN: HUNTER J. SCHKOLNIK
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.5898   RICHLAND COUNTY CHILDREN'S SERVICES                      9/12/2017                   Opioid Matter              UNDETERMINED
         ATTN: SCOTT D. SIMPKINS
         CLIMACO, WILCOX, PECA, TARANTINO, GAROFOLI -          ACCOUNT NO.:
         CLEVELAND                                             NOT AVAILABLE
         SUITE 1950 - 55 PUBLIC SQUARE
         CLEVELAND, OH 44113




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5899   RICHLAND COUNTY, SOUTH CAROLINA                          4/25/2019                   Opioid Matter              UNDETERMINED
         ATTN: CLERK OF COUNCIL
         2020 HAMPTON STREET                                   ACCOUNT NO.:
         PO BOX 192                                            NOT AVAILABLE
         COLUMBIA, SC 29202



3.5900   RICHLAND PARISH                                         10/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OR POLICE JURORS OR MANAGER
         PO BOX 668                                            ACCOUNT NO.:
         RAYVILLE, LA 71269                                    NOT AVAILABLE



3.5901   RICHLAND PARISH                                         10/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OR POLICE JURORS OR MANAGER
         708 JULIA ST.                                         ACCOUNT NO.:
         RAYVILLE, LA 71269                                    NOT AVAILABLE



3.5902   RICHMOND COUNTY, NORTH CAROLINA                          4/27/2018                   Opioid Matter              UNDETERMINED
         1401 FAYETTEVILLE ROAD
         PO BAX 504                                            ACCOUNT NO.:
         RICKINGHAM, NC 28379                                  NOT AVAILABLE



3.5903   RICHMOND COUNTY, NORTH CAROLINA                          4/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, BOARD OF COMMISSIONERS
         ADMINISTRATION BUILDING                               ACCOUNT NO.:
         1401 FAYETTEVILLE ROAD                                NOT AVAILABLE
         ROCKINGHAM, NC 28379



3.5904   RICHMOND COUNTY, NORTH CAROLINA                          4/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER, CLERK, BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         1401 FAYETEVILLE ROAD                                 NOT AVAILABLE
         P. O. BOX 504
         ROCKINGHAM, NC 28380



3.5905   RINCON BAND OF LUISENO INDIANS                          10/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, OFFICER, CHIEF EXECUTIVE OFFICER,
         TRIBAL ADMINISTRATOR                                  ACCOUNT NO.:
         ONE GOVERNMENT CENTER LANE                            NOT AVAILABLE
         VALLEY CENTER, CA 92082



3.5906   RIPLEY COUNTY                                            9/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT, BOARD OF COMMISSIONERS;
         PRESIDENT, COUNTY COUNCIL; COUNTY ATTORNEY            ACCOUNT NO.:
         RIPLEY COUNTY COURTHOUSE                              NOT AVAILABLE
         115 NORTH MAIN STREET - P. O. BOX 235
         VERSAILLES, IN 47042



3.5907   RIPLEY COUNTY, MISSOURI                                 11/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         100 COURT HOUSE SQUARE                                ACCOUNT NO.:
         SUITE 2                                               NOT AVAILABLE
         DONIPHAN, MO 63935-1699




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5908   RISK MANAGEMENT, INC.                                    7/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         400 CONVENTION STREET                                 ACCOUNT NO.:
         SUITE 700                                             NOT AVAILABLE
         BATON ROUGE, LA 70802



3.5909   RISK MANAGEMENT, INC.                                    7/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT AND OFFICER
         700 NORTH 10TH STREET                                 ACCOUNT NO.:
         SUITE 300                                             NOT AVAILABLE
         BATON ROUGE, LA 70802



3.5910   RISK MANAGEMENT, INC.                                    7/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENTS
         PO BOX 14177                                          ACCOUNT NO.:
         BATON ROUGE, LA 70808                                 NOT AVAILABLE



3.5911   RITCHIE COUNTY COMMISSION                                5/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         RITCHIE COUNTY COURT HOUSE                            ACCOUNT NO.:
         115 E. MAIN STREET - ROOM 301                         NOT AVAILABLE
         HARRISVILLE, WV 26362



3.5912   RITCHIE COUNTY COMMISSION                                5/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSION PRESIDENT
         RITCHIE COUNTY COURT HOUSE                            ACCOUNT NO.:
         115 E. MAIN STREET - ROOM 201                         NOT AVAILABLE
         HARRISVILLE, WV 26362



3.5913   RITCHIE COUNTY COMMISSION                                9/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: PROSECUTING ATTONERY
         115 EAST MAIN STREET, ROOM 302                        ACCOUNT NO.:
         HARRISVILLE, WV 26362                                 NOT AVAILABLE



3.5914   RITCHIE COUNTY COMMISSION                                9/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: COMMISSIONER, COUNTY CLERK
         RITCHIE COUNTY COMMISSION                             ACCOUNT NO.:
         115 EAST MAIN STREET , ROOM 201                       NOT AVAILABLE
         HARRISVILLE, WV 26326



3.5915   RITTER, ANDREW                                           2/22/2017                     Workers                  UNDETERMINED
         NOT AVAILABLE                                                                        Compensation
                                                               ACCOUNT NO.:
                                                                WC390D50077


3.5916   RIVERSIDE-SAN BERNADINO COUNTY INDIAN HEALTH,            1/2/2019                    Opioid Matter              UNDETERMINED
         INC.
         ATTN: CHIEF OFFICER AND CHIEF OPERATING OFFICER       ACCOUNT NO.:
         AND PRINCIPLE OFFICER                                 NOT AVAILABLE
         11980 MT VERNON AVE,
         GRAND TERRACE, CA 92313




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5917   RIVERTON, WYOMING                                        5/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY CLERK/HUMAN RESOURCE
         DIRECTOR                                              ACCOUNT NO.:
         CITY HALL                                             NOT AVAILABLE
         816 N. FEDERAL BOULEVARD
         RIVERTON, WY 82501



3.5918   ROANE COUNTY                                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         200 EAST RACE STREET                                  ACCOUNT NO.:
         SUITE 2 - PO BOX 546                                  NOT AVAILABLE
         KINGSTON, TN 37763



3.5919   ROANE COUNTY                                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE
         PO BOX 643                                            ACCOUNT NO.:
         KINGSTON, TN 37763                                    NOT AVAILABLE



3.5920   ROANE COUNTY COMMISSION                                  5/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: COMMISSIONER
         ROANE COUNTY                                          ACCOUNT NO.:
         200 MAIN STREET                                       NOT AVAILABLE
         SPENCER, WV 25276



3.5921   ROANOKE COUNTY, VIRGINIA                                UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COMMONWEALTH ATTORNEY
         305 EAST MAIN STREET, ROOM 202                        ACCOUNT NO.:
         SALEM, VA 24153                                       NOT AVAILABLE



3.5922   ROBERT J. CARTER                                         1/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: HENRY D. FINCHER
         305 EAST SPRING STREET                                ACCOUNT NO.:
         COOKVILLE, TN 38501                                   NOT AVAILABLE



3.5923   ROBERT J. CARTER                                         1/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: HERBERT H. SLATERY III
         STATE OF TENNESSEE ATTORNEY GENERAL                   ACCOUNT NO.:
         425 5TH AVENUE NORTH                                  NOT AVAILABLE
         NASHVILLE, TN 37243



3.5924   ROBERT J. CARTER                                         1/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: ANTHONY A. ORLANDI, BENJAMIN A. GASTEL,
         JAMES GERARD STRANCH, IV, JAMES GERARD                ACCOUNT NO.:
         STRANCH, III,                                         NOT AVAILABLE
         TRICIA A. HERZFELD
         BRANSTETTER, STRANCH & JENNINGS, PLLC - THE
         FREEDOM CENTER, 223 ROSA L. PARKS AVE, STE 200
         NASHVILLE, TN 37203




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Creditor's Name, Mailing Address Including Zip                    Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                               And Account Number                         Claim

Litigation

3.5925   Robert J. Carter, in his official capacity as the District Attorney     1/10/2018                 Opioid Matter              UNDETERMINED
         General for the Seventeenth Judicial District, TN and on behalf
         of all political subdivisions therein, including Bedord County,       ACCOUNT NO.:
         Town of Bell Buckle, Town of Normandy, City of Shelbyville,           NOT AVAILABLE
         Attn: Tricia A. Herzfeld
         Branstetter, Stranch & Jennings, PLLC
         The Freedom Center - 223 Rosa L. Parks Avenue, Suite 200
         Nashville, TN 37203



3.5926   Robert J. Carter, in his official capacity as the District Attorney     1/10/2018                 Opioid Matter              UNDETERMINED
         General for the Seventeenth Judicial District, TN and on behalf
         of all political subdivisions therein, including Bedord County,       ACCOUNT NO.:
         Town of Bell Buckle, Town of Normandy, City of Shelbyville,           NOT AVAILABLE
         Attn: James G. Stranch, III
         Branstetter, Stranch & Jennings, PLLC
         The Freedom Center - 223 Rosa L. Parks Avenue Suite 200
         Nashville, TN 37203



3.5927   Robert J. Carter, in his official capacity as the District Attorney     1/10/2018                 Opioid Matter              UNDETERMINED
         General for the Seventeenth Judicial District, TN and on behalf
         of all political subdivisions therein, including Bedord County,       ACCOUNT NO.:
         Town of Bell Buckle, Town of Normandy, City of Shelbyville,           NOT AVAILABLE
         Attn: Benjamin A. Gastel
         Branstetter, Stranch & Jennings, PLLC
         The Freedom Center - 223 Rosa L. Parks Avenue, Suite 200
         Nashville, TN 37203



3.5928   Robert J. Carter, in his official capacity as the District Attorney     1/10/2018                 Opioid Matter              UNDETERMINED
         General for the Seventeenth Judicial District, TN and on behalf
         of all political subdivisions therein, including Bedord County,       ACCOUNT NO.:
         Town of Bell Buckle, Town of Normandy, City of Shelbyville,           NOT AVAILABLE
         Attn: J. Gerard Stranch, IV
         Branstetter, Stranch & Jennings, PLLC
         The Freedom Center - 223 Rosa L. Parks Avenue Suite 200
         Nashville, TN 37203



3.5929   ROBESON COUNTY                                                           9/4/2018                 Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER, CLERK, BOARD OF
         COMMISSIONERS                                                         ACCOUNT NO.:
         701 NORTH ELM STREET                                                  NOT AVAILABLE
         LUMBERTON, NC 28358



3.5930   ROBINSON RANCHERIA                                                       3/2/2018                 Opioid Matter              UNDETERMINED
         ATTN: TRIBAL CHAIRMAN AND CHIEF EXECUTIVE
         OFFICER                                                               ACCOUNT NO.:
         1545 EAST HIGHWAY 20                                                  NOT AVAILABLE
         P.O. BOX 428
         NICE, CA 95464



3.5931   ROCK COUNTY                                                             11/7/2017                 Opioid Matter              UNDETERMINED
         ATTN: COUNTY BOARD, CHAIR
         1421 LARAMIE LANE                                                     ACCOUNT NO.:
         JANESVILLE, WI 53546                                                  NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5932   ROCK COUNTY                                              11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         ROCK COUNTY COURTHOUSE                                ACCOUNT NO.:
         51 SOUTH MAIN STREET                                  NOT AVAILABLE
         JANESVILLE, WI 53545



3.5933   ROCK SPRINGS, WYOMING                                    3/19/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         212 D STREET                                          ACCOUNT NO.:
         ROCK SPRINGS, WY 82901                                NOT AVAILABLE



3.5934   ROCKBRIDGE COUNTY, VIRGINIA                             UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         150 SOUTH MAIN STREET                                 ACCOUNT NO.:
         LEXINGTON, VA 24450                                   NOT AVAILABLE



3.5935   ROCKDALE COUNTY, GEORGIA                                 12/4/2018                   Opioid Matter              UNDETERMINED
         P.O. BOX 937
         CONYERS, GA 30012                                     ACCOUNT NO.:
                                                               NOT AVAILABLE


3.5936   ROCKDALE COUNTY, GEORGIA                                 12/4/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF COMMOSSIONERS
         962 MILSTEAD AVENUE                                   ACCOUNT NO.:
         P.O. BOX 289                                          NOT AVAILABLE
         CONYERS, GA 30012



3.5937   ROCKINGHAM COUNTY                                       12/12/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER, CLERK, BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         ROCKINGHAM COUNTY GOVENRMENTAL CENTER                 NOT AVAILABLE
         2ND FLOOR - 371 NC HIGHWAY 65, SUITE 206
         REIDSVILLE, NC 27320



3.5938   ROCKINGHAM COUNTY                                        9/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE COUNTY BOARD OF
         COMMISSIONERS, TREASURER                              ACCOUNT NO.:
         119 NORTH ROAD                                        NOT AVAILABLE
         BRENTWOOD, NH 03833



3.5939   ROCKINGHAM COUNTY                                       12/12/2017                   Opioid Matter              UNDETERMINED
         P. O. BOX 101
         WENTWORTH, NC 27375                                   ACCOUNT NO.:
                                                               NOT AVAILABLE


3.5940   ROCKWALL COUNTY                                          4/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE AND COMMISSIONERS
         ROCKWALL COUNTY                                       ACCOUNT NO.:
         101 EAST RUSK STREET - SUITE 202                      NOT AVAILABLE
         ROCKWALL, TX 75087




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5941   ROCKWALL COUNTY                                          4/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         ROCKWALL COUNTY JUDGE                                 ACCOUNT NO.:
         101 EAST RUSK STREET, SUITE 202                       NOT AVAILABLE
         ROCKWALL, TX 75087



3.5942   RODNEY INGLE, SHERIFF OF FAYETTE COUNTY,                 2/5/2018                    Opioid Matter              UNDETERMINED
         ALABAMA
         ATTN: FAYETTE COUNTY COMMISSIONS CHAIRPERSON          ACCOUNT NO.:
         103 1ST AVENUE NORTHWEST #2                           NOT AVAILABLE
         FAYETTE, AL 35555



3.5943   RODNEY INGLE, SHERIFF OF FAYETTE COUNTY,                 2/5/2018                    Opioid Matter              UNDETERMINED
         ALABAMA
         ATTN: STEVE MARSHALL                                  ACCOUNT NO.:
         STATE OF ALABAMA ATTORNEY GENERAL                     NOT AVAILABLE
         501 WASHINGTON AVE. - P.O. BOX 300152
         MONTGOMERY, AL 36130-0152



3.5944   RODNEY INGLE, SHERIFF OF FAYETTE COUNTY,                 2/5/2018                    Opioid Matter              UNDETERMINED
         ALABAMA
         ATTN: FAYETTE COUNTY CIRCUIT CLERK                    ACCOUNT NO.:
         113 TEMPLE AVE NORTH                                  NOT AVAILABLE
         P. O. BOX 906
         FAYETTE, AL 35555



3.5945   RODNEY INGLE, SHERIFF OF FAYETTE COUNTY,                 2/5/2018                    Opioid Matter              UNDETERMINED
         ALABAMA
         ATTN: SHERIFF OF FAYETTE COUNTY, ALABAMA              ACCOUNT NO.:
         113 1ST AVENUE NORTHWEST                              NOT AVAILABLE
         FAYETTE, AL 35555-2627



3.5946   ROGERS, CEANETHIA L                                      9/5/2014                      Workers                  UNDETERMINED
         NOT AVAILABLE                                                                        Compensation
                                                               ACCOUNT NO.:
                                                               WC80DC40215


3.5947   ROLETTE COUNTY                                           6/14/2019                   Opioid Matter              UNDETERMINED
         P O BOX 939
         102 2ND ST NE                                         ACCOUNT NO.:
         ROLLA, ND 58367                                       NOT AVAILABLE



3.5948   ROLETTE COUNTY                                           6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND BOARD OF COMMISSIONERS
         102 2ND STREET NORTHEAST                              ACCOUNT NO.:
         ROLLA, ND 58367                                       NOT AVAILABLE



3.5949   RONALD D. STRACENER, INDIVIDUALLY AND ON BEHALF          2/25/2019                   Opioid Matter              UNDETERMINED
         OF ALL OTHERS SIMILARLY SITUATED
         ATTN: JUAN MARTINEZ                                   ACCOUNT NO.:
         MORGAN & MORGAN                                       NOT AVAILABLE
         COMPLEX LITIGATION GROUP - 201 NORTH FRANKLIN
         STREET, 7TH FLOOR
         TAMPA, FL 33602




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5950   RONALD D. STRACENER, INDIVIDUALLY AND ON BEHALF          2/25/2019                   Opioid Matter              UNDETERMINED
         OF ALL OTHERS SIMILARLY SITUATED
         ATTN: MICHAEL H. PARK                                 ACCOUNT NO.:
         ATTN: MICHAEL H PARK                                  NOT AVAILABLE
         745 FIFTH AVENUE - SUITE 500
         NEW YORK, NY 10151



3.5951   RONALD D. STRACENER, INDIVIDUALLY AND ON BEHALF          2/25/2019                   Opioid Matter              UNDETERMINED
         OF ALL OTHERS SIMILARLY SITUATED
         ATTN: JAMES YOUNG                                     ACCOUNT NO.:
         MORGAN & MORGAN                                       NOT AVAILABLE
         COMPLEX LITIGATION GROUP - 76 SOUTH LAURA
         STREET, SUITE 1100
         JACKSONVILLE, FL 32202



3.5952   RONALD D. STRACENER, INDIVIDUALLY AND ON BEHALF          2/25/2019                   Opioid Matter              UNDETERMINED
         OF ALL OTHERS SIMILARLY SITUATED
         ATTN: TRAVIS LENKNER                                  ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 5100
         CHICAGO, IL 60606



3.5953   RONALD D. STRACENER, INDIVIDUALLY AND ON BEHALF          2/25/2019                   Opioid Matter              UNDETERMINED
         OF ALL OTHERS SIMILARLY SITUATED
         ATTN: STEPHEN M. TUNSTALL                             ACCOUNT NO.:
         STEPHEN M. TUNSTALL, P.C.                             NOT AVAILABLE
         260 NORTH JOACHIM STREET
         MOBILE, AL 36603



3.5954   RONALD D. STRACENER, INDIVIDUALLY AND ON BEHALF          2/25/2019                   Opioid Matter              UNDETERMINED
         OF ALL OTHERS SIMILARLY SITUATED
         ATTN: JOHN A. YANCHUNIS                               ACCOUNT NO.:
         MORGAN & MORGAN                                       NOT AVAILABLE
         COMPLEX LITIGATION GROUP - 201 NORTH FRANKLIN
         STREET, 7TH FLOOR
         TAMPA, FL 33602



3.5955   RONALD D. STRACENER, INDIVIDUALLY AND ON BEHALF          2/25/2019                   Opioid Matter              UNDETERMINED
         OF ALL OTHERS SIMILARLY SITUATED
         ATTN: ASHLEY C. KELLER                                ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 2750
         CHICAGO, IL 60606



3.5956   RONALD D. STRACENER, INDIVIDUALLY AND ON BEHALF          2/25/2019                   Opioid Matter              UNDETERMINED
         OF ALL OTHERS SIMILARLY SITUATED
         ATTN: STEPHEN M. TUNSTALL                             ACCOUNT NO.:
         LAW OFFICE OF STEPHEN M. TUNSTALL                     NOT AVAILABLE
         P.O. BOX 152
         MOBILE, AL 36601



3.5957   RONALD D. STRACENER, INDIVIDUALLY AND ON BEHALF          2/25/2019                   Opioid Matter              UNDETERMINED
         OF ALL OTHERS SIMILARLY SITUATED
         ATTN: SETH MEYER                                      ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 5100
         CHICAGO, IL 60606

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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.5958   RONALD D. STRACENER, INDIVIDUALLY AND ON BEHALF          2/25/2019                   Opioid Matter              UNDETERMINED
         OF ALL OTHERS SIMILARLY SITUATED
         ATTN: THOMAS R. MCCARTHY                              ACCOUNT NO.:
         CONSOVOY MCCARTHY PARK PLLC                           NOT AVAILABLE
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201



3.5959   RONALD D. STRACENER, INDIVIDUALLY AND ON BEHALF          2/25/2019                   Opioid Matter              UNDETERMINED
         OF ALL OTHERS SIMILARLY SITUATED
         ATTN: WILLIAM S. CONSOVOY                             ACCOUNT NO.:
         CONSOVOY MCCARTHY PARK PLLC                           NOT AVAILABLE
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201



3.5960   RONALD D. STRACENER, INDIVIDUALLY AND ON BEHALF          2/25/2019                   Opioid Matter              UNDETERMINED
         OF ALL OTHERS SIMILARLY SITUATED
         ATTN: PATRICK A. BARTHLE II                           ACCOUNT NO.:
         MORGAN & MORGAN                                       NOT AVAILABLE
         COMPLEX LITIGATION GROUP - 201 NORTH FRANKLIN
         STREET, 7TH FLOOR
         TAMPA, FL 33602



3.5961   RONALD RICHARDSON, DULY EXECUTED SHERIFF OF              10/5/2017                   Opioid Matter              UNDETERMINED
         SABINE PARISH
         400 SOUTH CAPITOL STREET                              ACCOUNT NO.:
         PO BOX 1440                                           NOT AVAILABLE
         MANY, LA 71449



3.5962   RONALD RICHARDSON, DULY EXECUTED SHERIFF OF              10/5/2017                   Opioid Matter              UNDETERMINED
         SABINE PARISH
         ATTN: PRESIDENT OR EXECUTIVE COMMITTEE MEMBERS        ACCOUNT NO.:
         LOUISIANA SHERIFF'S ASSOCIATION                       NOT AVAILABLE
         1175 NICHOLSON DRIVE
         BATON ROUGE, LA 70802



3.5963   RONALD RICHARDSON, DULY EXECUTED SHERIFF OF              10/5/2017                   Opioid Matter              UNDETERMINED
         SABINE PARISH
         ATTN: PRESIDENT OR POLICE JURORS                      ACCOUNT NO.:
         SABINE PARISH COURTHOUSE                              NOT AVAILABLE
         400 SOUTH CAPITOL STREET - ROOM 101
         MANY, LA 71449



3.5964   ROOFERS LOCAL 149 SECURITY BENEFIT TRUST FUND,           6/10/2019                   Opioid Matter              UNDETERMINED
         ON BEHALF OF ITSELF AND ALL OTHERS SIMILARLY
         SITUATED                                              ACCOUNT NO.:
         ATTN: JOSEPH L. CIACCIO                               NOT AVAILABLE
         NAPOLI SHKOLNIK PLLC
         360 LEXINGTON AVENUE - ELEVENTH FLOOR
         NEW YORK, NY 10017



3.5965   ROOFERS LOCAL 149 SECURITY BENEFIT TRUST FUND,           6/10/2019                   Opioid Matter              UNDETERMINED
         ON BEHALF OF ITSELF AND ALL OTHERS SIMILARLY
         SITUATED                                              ACCOUNT NO.:
         ATTN: JOSEPH L. CIACCIO                               NOT AVAILABLE
         NAPOLI SHKOLNIK PLLC
         400 BROADHOLLOW ROAD - SUITE 305
         MELVILLE, NY 11747

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Creditor's Name, Mailing Address Including Zip                Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                           And Account Number                         Claim

Litigation

3.5966   ROOFERS LOCAL 149 SECURITY BENEFIT TRUST FUND,                    6/10/2019                   Opioid Matter              UNDETERMINED
         ON BEHALF OF ITSELF AND ALL OTHERS SIMILARLY
         SITUATED                                                       ACCOUNT NO.:
         ATTN: PAUL J. NAPOLI                                           NOT AVAILABLE
         NAPOLI SHKOLNIK PLLC
         360 LEXINGTON AVENUE - ELEVENTH FLOOR
         NEW YORK, NY 10017



3.5967   Roofers Local 149 Security Benefit Trust Fund, on behalf of       6/10/2019                   Opioid Matter              UNDETERMINED
         itself and all others similarly situated
         Attn: Roofers Local 149 Security Benefit Trust Fund, and       ACCOUNT NO.:
         Officers Thereof                                               NOT AVAILABLE
         Roofers Local 149 Detroit
         Fringe Benefit Funds - 700 Tower Drive, Suite 300
         Troy, MI 48098



3.5968   ROOFERS LOCAL 149 SECURITY BENEFIT TRUST FUND,                    6/10/2019                   Opioid Matter              UNDETERMINED
         ON BEHALF OF ITSELF AND ALL OTHERS SIMILARLY
         SITUATED                                                       ACCOUNT NO.:
         ATTN: SHAYNA E. SACKS                                          NOT AVAILABLE
         NAPOLI SHKOLNIK PLLC
         360 LEXINGTON AVENUE - ELEVENTH FLOOR
         NEW YORK, NY 10017



3.5969   ROOFERS LOCAL 149 SECURITY BENEFIT TRUST FUND,                    6/10/2019                   Opioid Matter              UNDETERMINED
         ON BEHALF OF ITSELF AND ALL OTHERS SIMILARLY
         SITUATED                                                       ACCOUNT NO.:
         ATTN: HUNTER J. SHKOLNIK                                       NOT AVAILABLE
         NAPOLI SHKOLNIK PLLC
         360 LEXINGTON AVENUE - ELEVENTH FLOOR
         NEW YORK, NY 10017



3.5970   ROOFERS LOCAL 149 SECURITY BENEFIT TRUST FUND,                    6/10/2019                   Opioid Matter              UNDETERMINED
         ON BEHALF OF ITSELF AND ALL OTHERS SIMILARLY
         SITUATED                                                       ACCOUNT NO.:
         ATTN: ROOFERS LOCAL 149 SECURITY BENEFIT TRUST                 NOT AVAILABLE
         FUND, AND OFFICERS THEREOF
         ROOFERS LOCAL #149
         1640 PORTER STREET
         DETROIT, MI 48216



3.5971   ROOFERS LOCAL 149 SECURITY BENEFIT TRUST FUND,                    6/10/2019                   Opioid Matter              UNDETERMINED
         ON BEHALF OF ITSELF AND ALL OTHERS SIMILARLY
         SITUATED                                                       ACCOUNT NO.:
         ATTN: ROOFERS LOCAL 149 SECURITY BENEFIT TRUST                 NOT AVAILABLE
         FUND, AND OFFICERS THEREOF
         ROOFERS LOCAL #149
         810 TACOMA COURT
         CLIO, MI 48420



3.5972   ROOFERS LOCAL 149 SECURITY BENEFIT TRUST FUND,                    6/10/2019                   Opioid Matter              UNDETERMINED
         ON BEHALF OF ITSELF AND ALL OTHERS SIMILARLY
         SITUATED                                                       ACCOUNT NO.:
         ATTN: FRANK GALLUCCI                                           NOT AVAILABLE
         PLEVIN & GALLUCCI COMPANY, L.P.
         55 PUBLIC SQUARE - SUITE 2222
         CLEVELAND, OH 44113



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Code                                                 And Account Number                          Claim

Litigation

3.5973   ROOFERS LOCAL 149 SECURITY BENEFIT TRUST FUND,           6/10/2019                   Opioid Matter              UNDETERMINED
         ON BEHALF OF ITSELF AND ALL OTHERS SIMILARLY
         SITUATED                                              ACCOUNT NO.:
         ATTN: MICHAEL J. ASHER                                NOT AVAILABLE
         SULLIVAN, WARD, ASHER & PATTON, P.C.
         25800 NORTHWESTERN HIGHWAY - SUITE 1000
         SOUTHFIELD, MI 48075



3.5974   ROOFERS LOCAL 149 SECURITY BENEFIT TRUST FUND,           6/10/2019                   Opioid Matter              UNDETERMINED
         ON BEHALF OF ITSELF AND ALL OTHERS SIMILARLY
         SITUATED                                              ACCOUNT NO.:
         ATTN: JOHN D. MCCLUNE                                 NOT AVAILABLE
         SULLIVAN, WARD, ASHER & PATTON, P.C.
         25800 NORTHWESTERN HIGHWAY - SUITE 1000
         SOUTHFIELD, MI 48075



3.5975   ROOFERS LOCAL 149 SECURITY BENEFIT TRUST FUND,           6/10/2019                   Opioid Matter              UNDETERMINED
         ON BEHALF OF ITSELF AND ALL OTHERS SIMILARLY
         SITUATED                                              ACCOUNT NO.:
         ATTN: SALVATORE C. BADALA                             NOT AVAILABLE
         NAPOLI SHKOLNIK PLLC
         360 LEXINGTON AVENUE - ELEVENTH FLOOR
         NEW YORK, NY 10017



3.5976   ROSARY HALL AND ST. VINCENT CHARITY MEDICAL              5/29/2018                   Opioid Matter              UNDETERMINED
         CENTER
         ATTN: AGENT/REGISTRANT                                ACCOUNT NO.:
         A.G.C. CO                                             NOT AVAILABLE
         127 PUBLIC SQUARE - SUITE 2000
         CLEVELAND, OH 44114-1214



3.5977   ROSARY HALL AND ST. VINCENT CHARITY MEDICAL              5/29/2018                   Opioid Matter              UNDETERMINED
         CENTER
         ATTN: PRESIDENT AND CHIEF EXECUTIVE OFFICER           ACCOUNT NO.:
         ST. VINCENT CHARITY MEDICAL CENTER                    NOT AVAILABLE
         2351 EAST 22ND STREET
         CLEVELAND, OH 44115



3.5978   ROSARY HALL AND ST. VINCENT CHARITY MEDICAL              5/29/2018                   Opioid Matter              UNDETERMINED
         CENTER
         ATTN: DIRECTOR                                        ACCOUNT NO.:
         2351 EAST 22ND STREET                                 NOT AVAILABLE
         CLEVELAND, OH 44115



3.5979   ROSEAU COUNTY                                            5/6/2019                    Opioid Matter              UNDETERMINED
         606 - 5TH AVENUE
         ROOM 160                                              ACCOUNT NO.:
         ROSEAU, MN 56751                                      NOT AVAILABLE



3.5980   ROSEAU COUNTY                                            5/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE COUNTY BOARD
         BOARD OF COMMISSIONERS                                ACCOUNT NO.:
         606 - 5TH AVENUE - ROOM 131                           NOT AVAILABLE
         ROSEAU, MN 56751




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Code                                                  And Account Number                         Claim

Litigation

3.5981   ROSEBUD SIOUX TRIBE                                      1/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: TRIBAL PRESIDENT AND TRIBE ATTORNEY
         PO BOX 430                                            ACCOUNT NO.:
         11 LEGION AVENUE                                      NOT AVAILABLE
         ROSEBUD, SD 57570



3.5982   ROSS COUNTY BOARD OF COUNTY COMMISSIONERS               10/12/2017                   Opioid Matter              UNDETERMINED
         ATTN: BOARD OF COMMISSIONERS
         2 NORTH PAINT STREET, SUITE H                         ACCOUNT NO.:
         CHILLICOTHE, OH 45601                                 NOT AVAILABLE



3.5983   ROUND VALLEY INDIAN TRIBES AND ROUND VALLEY              3/2/2018                    Opioid Matter              UNDETERMINED
         INDIAN HEALTH CENTER, INC.
         ATTN: CHIEF EXECUTIVE OFFICER AND CHIEF               ACCOUNT NO.:
         OPERATING OFFICER AND FINANCIAL DIRECTOR              NOT AVAILABLE
         77826 COVELO ROAD
         COVELO, CA 95428



3.5984   ROWAN COUNTY                                             6/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER
         130 WEST INNES STREET                                 ACCOUNT NO.:
         SALISBURY, NC 28144                                   NOT AVAILABLE



3.5985   ROWAN COUNTY                                             6/20/2018                   Opioid Matter              UNDETERMINED
         610 MILLER CHAPEL ROAD
         SALISBURY, NC 28147                                   ACCOUNT NO.:
                                                               NOT AVAILABLE


3.5986   ROWAN COUNTY                                             6/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK TO THE BOARD, CHAIRMAN OF THE BOARD
         OF COMMISSIONERS                                      ACCOUNT NO.:
         ROWAN COUNTY ADMINISTRATION BUILDING                  NOT AVAILABLE
         J. NEWTON COHEN SR. ROOM, 2ND FLOOR - 130 W
         INNES STREET
         SALISBURY, NC 28144



3.5987   ROXIE WHITLEY, INDIVIDUALLY AND AS NEXT FRIEND OF        3/16/2018                   Opioid Matter              UNDETERMINED
         BABY Z.B.D.
         ATTN: MELISA JANENE WILLIAMS                          ACCOUNT NO.:
         MELISA J. WILLIAMS, ATTORNEY AT LAW                   NOT AVAILABLE
         P.O. BOX 515
         SOMERVILLE, TN 38068



3.5988   ROXIE WHITLEY, INDIVIDUALLY AND AS NEXT FRIEND OF        3/16/2018                   Opioid Matter              UNDETERMINED
         BABY Z.B.D.
         ATTN: MELISA J. WILLIAMS, ATTORNEY AT LAW             ACCOUNT NO.:
         16980 US HIGHWAY 64                                   NOT AVAILABLE
         SOMERVILLE, TN 38068



3.5989   RUSH HEALTH SYSTEMS, INC.                               12/13/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER AND ADMINSTRATOR
         1314 19TH AVENUE                                      ACCOUNT NO.:
         MERIDIAN, MS 39301                                    NOT AVAILABLE




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Code                                                  And Account Number                          Claim

Litigation

3.5990   RUSK COUNTY                                               11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE COUNTY BOARD
         RUSK COUNTY GOVERNMENT CENTER                          ACCOUNT NO.:
         311 MINER AVE. E                                       NOT AVAILABLE
         LADYSMITH, WI 54848



3.5991   RUSK COUNTY                                               11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         RUSK COUNTY COURTHOUSE                                 ACCOUNT NO.:
         311 MINER AVENUE EAST, - SUITE C150                    NOT AVAILABLE
         LADYSMITH, WI 54848



3.5992   RUSSELL COUNTY, ALABAMA                                   9/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER
         1000 BROAD STREET                                      ACCOUNT NO.:
         PHENIX CITY, AL 36867                                  NOT AVAILABLE



3.5993   RUSSELL COUNTY, ALABAMA                                   9/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: JEFFREY D. PRICE
         BEASLEY, ALLEN, CROW, METHVIN, PORTIS ET AL.           ACCOUNT NO.:
         218 COMMERCE STREET - P.O. BOX 4160                    NOT AVAILABLE
         MONTGOMERY, AL 36104



3.5994   RUSSELL COUNTY, ALABAMA                                   9/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: JERE L. BEASLEY
         BEASLEY, ALLEN, CROW, METHVIN, PORTIS ET AL.           ACCOUNT NO.:
         218 COMMERCE STREET - P.O. BOX 4160                    NOT AVAILABLE
         MONTGOMERY, AL 36104



3.5995   RUSSELL COUNTY, ALABAMA                                   9/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: RHON E. JONES
         BEASLEY, ALLEN, CROW, METHVIN, PORTIS ET AL.           ACCOUNT NO.:
         218 COMMERCE STREET - P.O. BOX 4160                    NOT AVAILABLE
         MONTGOMERY, AL 36104



3.5996   RUSSELL COUNTY, ALABAMA                                   9/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: WILLIAM R. SUTTON
         BEASLEY, ALLEN, CROW, METHVIN, PORTIS ET AL.           ACCOUNT NO.:
         218 COMMERCE STREET - P.O. BOX 4160                    NOT AVAILABLE
         MONTGOMERY, AL 36104



3.5997   RUSSELL COUNTY, ALABAMA                                   9/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: RICHARD D. STRATTON
         BEASLEY, ALLEN, CROW, METHVIN, PORTIS ET AL.           ACCOUNT NO.:
         218 COMMERCE STREET - P.O. BOX 4160                    NOT AVAILABLE
         MONTGOMERY, AL 36104



3.5998   RUSSELL COUNTY, ALABAMA                                   9/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: J. RYAN KRAL
         BEASLEY, ALLEN, CROW, METHVIN, PORTIS ET AL.           ACCOUNT NO.:
         218 COMMERCE STREET - P.O. BOX 4160                    NOT AVAILABLE
         MONTGOMERY, AL 36104




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Code                                                 And Account Number                          Claim

Litigation

3.5999   RUSSELL COUNTY, VIRGINIA                                 7/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         137 HIGHLAND DRIVE                                    ACCOUNT NO.:
         LEBANON, VA 24266                                     NOT AVAILABLE



3.6000   RUSSELL JOHNSON, IN HIS OFFICIAL CAPACITY AS THE         9/29/2017                   Opioid Matter              UNDETERMINED
         DISTRICT ATTORNEY GENERAL FOR THE NINTH
         JUDICIAL DISTRICT, TN                                 ACCOUNT NO.:
         ATTN: ATTORNEY GENERAL                                NOT AVAILABLE
         OFFICE OF THE ATTORNEY GENERAL AND REPORTER
         P.O. BOX 20207
         NASHVILLE, TN 37202-0207



3.6001   RUSSELL JOHNSON, IN HIS OFFICIAL CAPACITY AS THE         9/29/2017                   Opioid Matter              UNDETERMINED
         DISTRICT ATTORNEY GENERAL FOR THE NINTH
         JUDICIAL DISTRICT, TN                                 ACCOUNT NO.:
         ATTN: ATTORNEY GENERAL                                NOT AVAILABLE
         425 5TH AVENUE NORTH
         NASHVILLE, TN 37243



3.6002   RUTHERFORD COUNTY                                        2/26/2018                   Opioid Matter              UNDETERMINED
         182 BENT CREEK DRIVE
         RUTHERFORDTON, NC 28139                               ACCOUNT NO.:
                                                               NOT AVAILABLE


3.6003   RUTHERFORD COUNTY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         EAGLEVILLE CITY HALL                                  ACCOUNT NO.:
         108 SOUTH MAIN STREET                                 NOT AVAILABLE
         EAGLEVILLE, TN 37060



3.6004   RUTHERFORD COUNTY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         COUNTY COURTHOUSE                                     ACCOUNT NO.:
         ONE PUBLIC SQUARE - ROOM 101                          NOT AVAILABLE
         MURFREESBORO, TN 37130



3.6005   RUTHERFORD COUNTY                                        2/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER, CLERK, BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         289 NORTH MAIN STREET                                 NOT AVAILABLE
         RUTHERFORDTON, NC 28139



3.6006   RUTHERFORD COUNTY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         205 I STREET                                          ACCOUNT NO.:
         SMYRNA, TN 37167                                      NOT AVAILABLE



3.6007   RUTHERFORD COUNTY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         319 NORTH MAPLE STREET                                ACCOUNT NO.:
         SUITE 121                                             NOT AVAILABLE
         MURFREESBORO, TN 37130




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6008   RUTHERFORD COUNTY, TN                                    2/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         COUNTY COURTHOUSE                                     ACCOUNT NO.:
         ONE PUBLIC SQUARE - ROOM 101                          NOT AVAILABLE
         MURFREESBORO, TN 37130



3.6009   SABINE MEDICAL CENTER                                    6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         240 HIGHLAND DRIVE                                    ACCOUNT NO.:
         MANY, LA 71449                                        NOT AVAILABLE



3.6010   SABINE MEDICAL CENTER                                    6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT AND OFFICER
         ALLEGIANCE HOSPITAL OF MANY, LLC                      ACCOUNT NO.:
         504 TEXAS STREET - SUITE 200                          NOT AVAILABLE
         SHREVEPORT, LA 71101



3.6011   SAC & FOX NATION                                         7/26/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRINCIPAL CHIEF
         ADMINISTRATION BUILDING                               ACCOUNT NO.:
         920883 SOUTH HIGHWAY 99 BUILDING A                    NOT AVAILABLE
         STROUD, OK 74079



3.6012   SAC & FOX NATION                                         7/26/2019                   Opioid Matter              UNDETERMINED
         ATTN: ATTORNEY GENERAL
         SAC AND FOX NATION COURT                              ACCOUNT NO.:
         356159 EAST 926 ROAD                                  NOT AVAILABLE
         STROUD, OK 74079



3.6013   SAC & FOX NATION                                         7/26/2019                   Opioid Matter              UNDETERMINED
         ATTN: MIKE HUNTER
         STATE OF OKLAHOMA ATTORNEY GENERAL                    ACCOUNT NO.:
         313 NE 21ST STREET                                    NOT AVAILABLE
         OKLAHOMA CITY, OK 73105



3.6014   SAC & FOX NATION                                         7/26/2019                   Opioid Matter              UNDETERMINED
         CURTIS "MUSKRAT" BRUEHL
         THE BRUEHL LAW FIRM, PLLC                             ACCOUNT NO.:
         14005 NORTH EASTERN AVENUE                            NOT AVAILABLE
         EDMOND, OK 73013



3.6015   SAGADAHOC COUNTY                                        11/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS; CLERK; TREASURER
         752 HIGH STREET                                       ACCOUNT NO.:
         BATH, ME 04530                                        NOT AVAILABLE



3.6016   SAGADAHOC COUNTY                                        11/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS; CLERK; TREASURER
         752 HIGH STREET                                       ACCOUNT NO.:
         BATH, ME 04530                                        NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                         Claim

Litigation

3.6017   SAGE LTAC, LLC                                           6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT AND OFFICER
         10615 JEFFERSON HIGHWAY                               ACCOUNT NO.:
         BATON ROUGE, LA 70809                                 NOT AVAILABLE



3.6018   SAGE LTAC, LLC                                           6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         SAGE SPECIALTY HOSPITAL (LTAC)                        ACCOUNT NO.:
         8225 SUMMA AVENUE - BUILDING B                        NOT AVAILABLE
         BATON ROUGE, LA 70809



3.6019   SAGE LTAC, LLC                                           6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         SAGE SPECIALTY HOSPITAL (LTAC)                        ACCOUNT NO.:
         8375 FLORIDA BOULEVARD                                NOT AVAILABLE
         DENHAM SPRINGS, LA 70726



3.6020   SAINT ELIZABETH MEDICAL CENTER, INC.                     8/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         207 THOMAS MORE PARKWAY                               ACCOUNT NO.:
         CRESTVIEW HILLS, KY 41017-2596                        NOT AVAILABLE



3.6021   SAINT ELIZABETH MEDICAL CENTER, INC.                     8/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: CEO, PARTNER, OR MANAGER
         ONE MEDICAL VILLIAGE DRIVE                            ACCOUNT NO.:
         EDGEWOOD, KY 41017-2596                               NOT AVAILABLE



3.6022   SAINT ELIZABETH MEDICAL CENTER, INC. D/B/A ST.           8/17/2018                   Opioid Matter              UNDETERMINED
         ELIZABETH HEALTHCARE
         ATTN: REGISTERED AGENT, ROBERT M. HOFFER              ACCOUNT NO.:
         207 THOMAS MORE PARKWAY                               NOT AVAILABLE
         CRESTVIEW HILLS, KY 41017-2596



3.6023   SAINT ELIZABETH MEDICAL CENTER, INC. D/B/A ST.           8/17/2018                   Opioid Matter              UNDETERMINED
         ELIZABETH HEALTHCARE
         ATTN: CORPORATE PRESIDENT AND CEO                     ACCOUNT NO.:
         413 S LOOP RD                                         NOT AVAILABLE
         EDGEWOOD, KY 41017



3.6024   SAINT ELIZABETH MEDICAL CENTER, INC. D/B/A ST.           8/17/2018                   Opioid Matter              UNDETERMINED
         ELIZABETH HEALTHCARE
         ATTN: PRESIDENT, AND SECRETARY                        ACCOUNT NO.:
         1 MEDICAL VILLAGE DRIVE                               NOT AVAILABLE
         EDGEWOOD, KY 41017



3.6025   SAINT FRANCIS HOSPITAL — BARTLETT, INC. F/K/A            7/11/2019                   Opioid Matter              UNDETERMINED
         TENET HEALTH SYSTEM BARTLETT, INC.
         ATTN: REGISTERED AGENT                                ACCOUNT NO.:
         C T CORPORATION SYSTEM                                NOT AVAILABLE
         300 MONTVUE ROAD
         KNOXVILLE, TN 37919




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip                  Date Claim Was Incurred    C U      D    Basis For      Offset   Amount of Claim
Code                                                             And Account Number                        Claim

Litigation

3.6026   SAINT FRANCIS HOSPITAL — BARTLETT, INC. F/K/A                       7/11/2019                  Opioid Matter              UNDETERMINED
         TENET HEALTH SYSTEM BARTLETT, INC.
         ATTN: OFFICER OR MANAGING AGENT                                   ACCOUNT NO.:
         5959 PARK AVENUE                                                  NOT AVAILABLE
         MEMPHIS, TN 38119



3.6027   SAINT REGIS MOHAWK TRIBE                                            12/21/2018                 Opioid Matter              UNDETERMINED
         ATTN: SAINT REGIS MOHAWK TRIBE COUNSEL
         CHAIRMAN & CHIEF EXECUTIVE                                        ACCOUNT NO.:
         TRIBAL ADMINISTRATION BUILDING                                    NOT AVAILABLE
         71 MARGARET TERRANCE MEMORIAL WAY - SUITE 305
         AKWESASNE, NY 13655



3.6028   Sally Peterson, individually and as next friend and guardian of     6/14/2019                  Opioid Matter              UNDETERMINED
         Baby E.A.P., on behalf of themselves and all others similarly
         situated                                                          ACCOUNT NO.:
         Attn: Kevin W. Thompson, David R. Barney, Jr.                     NOT AVAILABLE
         Thompson Barney Law Firm
         2030 Kanawha Boulevard, East
         Charleston, WV 25311



3.6029   SALLY PETERSON, INDIVIDUALLY AND AS NEXT FRIEND                     6/14/2019                  Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY E.A.P., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                      ACCOUNT NO.:
         ATTN: CELESTE BRUSTOWICZ, STEPHEN H. WUSSOW                       NOT AVAILABLE
         COOPER LAW FIRM, LLC
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.6030   SALLY PETERSON, INDIVIDUALLY AND AS NEXT FRIEND                     6/14/2019                  Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY E.A.P., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                      ACCOUNT NO.:
         ATTN: KENT HARRISON ROBBINS                                       NOT AVAILABLE
         THE LAW OFFICE OF KENT HARRISON ROBBINS, P.A.
         242 NORTHEAST 27TH STREET
         MIAMI, FL 33137



3.6031   SALLY PETERSON, INDIVIDUALLY AND AS NEXT FRIEND                     6/14/2019                  Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY E.A.P., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                      ACCOUNT NO.:
         ATTN: STEPHEN WUSSOW                                              NOT AVAILABLE
         COOPER LAW FIRM
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.6032   SALLY PETERSON, INDIVIDUALLY AND AS NEXT FRIEND                     6/14/2019                  Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY E.A.P., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                      ACCOUNT NO.:
         ATTN: SPENCER R. DOODY                                            NOT AVAILABLE
         MARTZELL, BICKFORD & CENTOLA
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip                Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                           And Account Number                         Claim

Litigation

3.6033   SALLY PETERSON, INDIVIDUALLY AND AS NEXT FRIEND                   6/14/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY E.A.P., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                   ACCOUNT NO.:
         ATTN: DONALD E. CREADORE                                       NOT AVAILABLE
         CREADOR LAW FIRM
         450 SEVENTH AVENUE - SUITE 1408
         NEW YORK, NY 10123



3.6034   SALLY PETERSON, INDIVIDUALLY AND AS NEXT FRIEND                   6/14/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY E.A.P., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                   ACCOUNT NO.:
         ATTN: DAVID R. BARNEY, JR.                                     NOT AVAILABLE
         THOMPSON BARNEY LAW FIRM
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311



3.6035   SALLY PETERSON, INDIVIDUALLY AND AS NEXT FRIEND                   6/14/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY E.A.P., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                   ACCOUNT NO.:
         ATTN: SCOTT R. BICKFORD                                        NOT AVAILABLE
         MARTZELL, BICKFORD & CENTOLA
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.6036   SALT LAKE COUNTY                                                  4/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         2001 SOUTH STATE STREET, S2-200                                ACCOUNT NO.:
         SALT LAKE CITY, UT 84114-4575                                  NOT AVAILABLE



3.6037   SALVATORE C. BADALA                                               3/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: PAUL J. NAPOLI, HUNTER J. SHKOLNIK,
         SALAVTORE C. BADALA, JOSEPH L. CIACCIO & SHAYNA                ACCOUNT NO.:
         E. SACKS                                                       NOT AVAILABLE
         NAPOLI SHKOLNIK PLLC
         400 BROADHOLLOW ROAD - SUITE 305
         MELVILLE, NY 11747



3.6038   SAM GASTON                                                        3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER; CLERK
         56 CHURCH STREET                                               ACCOUNT NO.:
         P.O BOX 13009                                                  NOT AVAILABLE
         MOUNTAIN BROOK, AL 35213



3.6039   Samantha DeMaro, individually and as next friend and              6/14/2019                   Opioid Matter              UNDETERMINED
         guardian of Baby J.W.L.B., on behalf of themselves and all
         others similarly situated                                      ACCOUNT NO.:
         Attn: Kevin W. Thompson, David R. Barney, Jr.                  NOT AVAILABLE
         Thompson Barney Law Firm
         2030 Kanawha Boulevard, East
         Charleston, WV 25311




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6040   SAMANTHA DEMARO, INDIVIDUALLY AND AS NEXT                6/14/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY J.W.L.B., ON BEHALF
         OF THEMSELVES AND ALL OTHERS SIMILARLY SITUATED       ACCOUNT NO.:
         ATTN: STEPHEN WUSSOW                                  NOT AVAILABLE
         COOPER LAW FIRM
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.6041   SAMANTHA DEMARO, INDIVIDUALLY AND AS NEXT                6/14/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY J.W.L.B., ON BEHALF
         OF THEMSELVES AND ALL OTHERS SIMILARLY SITUATED       ACCOUNT NO.:
         ATTN: SPENCER R. DOODY                                NOT AVAILABLE
         MARTZELL, BICKFORD & CENTOLA
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.6042   SAMANTHA DEMARO, INDIVIDUALLY AND AS NEXT                6/14/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY J.W.L.B., ON BEHALF
         OF THEMSELVES AND ALL OTHERS SIMILARLY SITUATED       ACCOUNT NO.:
         ATTN: KEVIN THOMPSON                                  NOT AVAILABLE
         THOMPSON BARNEY LAW FIRM
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311



3.6043   SAMANTHA DEMARO, INDIVIDUALLY AND AS NEXT                6/14/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY J.W.L.B., ON BEHALF
         OF THEMSELVES AND ALL OTHERS SIMILARLY SITUATED       ACCOUNT NO.:
         ATTN: DAVID R. BARNEY, JR.                            NOT AVAILABLE
         THOMPSON BARNEY LAW FIRM
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311



3.6044   SAMANTHA DEMARO, INDIVIDUALLY AND AS NEXT                6/14/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY J.W.L.B., ON BEHALF
         OF THEMSELVES AND ALL OTHERS SIMILARLY SITUATED       ACCOUNT NO.:
         ATTN: CELESTE BRUSTOWICZ, STEPHEN H. WUSSOW           NOT AVAILABLE
         COOPER LAW FIRM, LLC
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.6045   SAMANTHA DEMARO, INDIVIDUALLY AND AS NEXT                6/14/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY J.W.L.B., ON BEHALF
         OF THEMSELVES AND ALL OTHERS SIMILARLY SITUATED       ACCOUNT NO.:
         ATTN: DONALD E. CREADORE                              NOT AVAILABLE
         CREADOR LAW FIRM
         450 SEVENTH AVENUE - SUITE 1408
         NEW YORK, NY 10123



3.6046   SAMANTHA DEMARO, INDIVIDUALLY AND AS NEXT                6/14/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY J.W.L.B., ON BEHALF
         OF THEMSELVES AND ALL OTHERS SIMILARLY SITUATED       ACCOUNT NO.:
         ATTN: SCOTT R. BICKFORD                               NOT AVAILABLE
         MARTZELL, BICKFORD & CENTOLA
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip                Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                           And Account Number                         Claim

Litigation

3.6047   SAMANTHA DEMARO, INDIVIDUALLY AND AS NEXT                         6/14/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY J.W.L.B., ON BEHALF
         OF THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                ACCOUNT NO.:
         ATTN: SPENCER R. DOODY                                         NOT AVAILABLE
         MARTZELL, BICKFORD, & CENTOLA
         338 LAFAYETTE STREET
         NEW ORLEANS, LA 70130



3.6048   Samantha DeMaro, individually and as next friend and              6/14/2019                   Opioid Matter              UNDETERMINED
         guardian of Baby J.W.L.B., on behalf of themselves and all
         others similarly situated                                      ACCOUNT NO.:
         Attn: Kent Harrison Robbins                                    NOT AVAILABLE
         The Law Office of Kent Harrison Robbins, P.A.
         242 Northeast 27th Street
         Miami, FL 33137



3.6049   SAMANTHA MCANANY, INDIVIDUALLY AND AS NEXT                        6/18/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABY A.L.M.
         ATTN: STEPHEN H. WUSSOW                                        ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                           NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.6050   SAMPSON COUNTY                                                    6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE COUNTY COMMISSIONERS
         406 COUNTY COMPLEX ROAD                                        ACCOUNT NO.:
         CLINTON, NC 28328                                              NOT AVAILABLE



3.6051   SAN ANGELO HOSPITAL, L.P. D/B/A SAN                              UNKNOWN                      Opioid Matter              UNDETERMINED
         ANGELOCOMMUNITY MEDICAL CENTER
         ATTN: REGISTERED AGENT                                         ACCOUNT NO.:
         CORPORATION SER CO D/B/A CSC LAWYERS                           NOT AVAILABLE
         211 EAST 7TH STREET - SUITE 620
         AUSTIN, TX 78701



3.6052   SAN ANGELO HOSPITAL, L.P. D/B/A SAN                              UNKNOWN                      Opioid Matter              UNDETERMINED
         ANGELOCOMMUNITY MEDICAL CENTER
         ATTN: CEO, PARTNER, OR MANAGER                                 ACCOUNT NO.:
         3501 KNICKERBOCKER ROAD                                        NOT AVAILABLE
         SAN ANGELO, TX 76904



3.6053   SAN CARLOS APACHE TRIBE                                           6/5/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF TRIBAL COUNCIL AND CHIEF
         EXECUTIVE OFFICER                                              ACCOUNT NO.:
         ADMINISTRATION                                                 NOT AVAILABLE
         PO BOX "0"
         SAN CARLOS, AZ 85550



3.6054   SAN JUAN COUNTY                                                   11/8/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK/AUDITOR
         P.O. BOX 338                                                   ACCOUNT NO.:
         MONTICELLO, UT 84535                                           NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                         Claim

Litigation

3.6055   SAN JUAN COUNTY                                         11/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY AUDITOR
         350 COURT STREET                                      ACCOUNT NO.:
         1ST FLOOR                                             NOT AVAILABLE
         FRIDAY HARBOR, WA 98250



3.6056   SAN JUAN COUNTY                                          5/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         100 S. OLIVER DRIVE                                   ACCOUNT NO.:
         SUITE 200                                             NOT AVAILABLE
         AZTEC, NM 87410



3.6057   SANDOVAL COUNTY, NM                                      6/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER; COUNTY CLERK; TREASURER
         1500 IDALIA ROAD                                      ACCOUNT NO.:
         BUILDING D - P.O. BOX 40                              NOT AVAILABLE
         BERNALILLO, NM 87004



3.6058   SANDRA ATKINSON, INDIVIDUALLY AND AS NEXT FRIEND         6/20/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY L.C.
         ATTN: CELESTE BRUSTOWICZ                              ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                  NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.6059   SANDUSKY COUNTY BOARD OF COMMISSIONERS                   2/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS,
         COMMISSIONER                                          ACCOUNT NO.:
         622 CROGHAN STREET                                    NOT AVAILABLE
         FREEMONT, OH 43420



3.6060   SANDUSKY COUNTY BOARD OF COMMISSIONERS                   2/9/2018                    Opioid Matter              UNDETERMINED
         100 N. PARK AVE
         SUITE 319                                             ACCOUNT NO.:
         FREMONT, OH 43420                                     NOT AVAILABLE



3.6061   SANPETE COUNTY                                          11/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         160 NORTH MAIN, SUITE 202                             ACCOUNT NO.:
         MANTI, UT 84642                                       NOT AVAILABLE



3.6062   SANTA ROSA COUNTY                                        6/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR, VICE CHAIR, AND COMISSIONERS
         6495 CAROLINE STREET                                  ACCOUNT NO.:
         SUITE M                                               NOT AVAILABLE
         MILTON, FL 32583



3.6063   SARASOTA COUNTY PUBLIC HOSPITAL DISTRICT D/B/A           9/10/2018                   Opioid Matter              UNDETERMINED
         MEMORIAL HEALTHCARE SYSTEM, INC.
         ATTN: REGISTERED AGENT                                ACCOUNT NO.:
         1301 RIVERPLACE BOULEVARD                             NOT AVAILABLE
         SUITE 1500
         JACKSONVILE, FL 32207




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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                         Claim

Litigation

3.6064   SARASOTA COUNTY PUBLIC HOSPITAL DISTRICT D/B/A           9/10/2018                   Opioid Matter              UNDETERMINED
         MEMORIAL HEALTHCARE SYSTEM, INC.
         ATTN: PRESIDENT AND CHIEF EXECUTIVE OFFICER           ACCOUNT NO.:
         3501 JOHNSON STREET                                   NOT AVAILABLE
         HOLLYWOOD, FL 33021



3.6065   SARASOTA COUNTY PUBLIC HOSPITAL DISTRICT D/B/A           9/10/2018                   Opioid Matter              UNDETERMINED
         MEMORIAL HEALTHCARE SYSTEM, INC.
         ATTN: PRESIDENT AND CEO, CHIEF OPERATING              ACCOUNT NO.:
         OFFICER, CHIEF LEGAL OFFICER                          NOT AVAILABLE
         MEMORIAL HEALTH CARE SYSTEM ADMINISTRATION
         1700 S. TAMIAMI TRAIL
         SARASOTA, FL 34239-3555



3.6066   SARASOTA COUNTY, FLORIDA                                 5/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHAIR, VICE CHAIR, AND COMISSIONERS
         1660 RINGLING BLVD.                                   ACCOUNT NO.:
         SARASOTA, FL 34236                                    NOT AVAILABLE



3.6067   SARGEANT COUNTY                                          6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND BOARD OF COMMISSIONERS
         355 MAIN STREET SOUTH                                 ACCOUNT NO.:
         FORMAN, ND 58032                                      NOT AVAILABLE



3.6068   SARPY COUNTY, NEBRASKA, A MUNICIPAL                      8/15/2018                   Opioid Matter              UNDETERMINED
         CORPORATION
         ATTN: CHAIRMAN OF THE COUNTY COMMISSIONERS            ACCOUNT NO.:
         AND COUNTY CLERK                                      NOT AVAILABLE
         1210 GOLDEN GATE DRIVE
         SUITE 1250
         PAPILLION, NE 68046-2894



3.6069   SAUK COUNTY                                              11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         SAUK COUNTY WEST SQUARE BUILDING                      ACCOUNT NO.:
         ROOM #144 - 505 BROADWAY                              NOT AVAILABLE
         BARABOO, WI 53913



3.6070   SAWYER COUNTY                                           11/28/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         10610 MAIN STREET                                     ACCOUNT NO.:
         SUITE 10                                              NOT AVAILABLE
         HAYWARD, WI 54843



3.6071   SCHLEY COUNTY, GEORGIA                                   5/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, BOARD OF COMMISSIONERS; COUNTY
         MANAGER                                               ACCOUNT NO.:
         14 S. BROAD                                           NOT AVAILABLE
         ELLAVILLE, GA 31806



3.6072   SCHUYLER COUNTY, MISSOURI                                6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: CLERK AND COMMISSIONER
         SCHUYLER COUNTY COURTHOUSE                            ACCOUNT NO.:
         110 WEST WASHINGTON STREET - P.O. BOX 187             NOT AVAILABLE
         LANCASTER, MO 63548


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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6073   SCHUYLKILL COUNTY, PA.                                   7/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER AND CHIEF CLERK
         401 NORTH SECOND STREET                               ACCOUNT NO.:
         POTTSVILLE, PA 17901                                  NOT AVAILABLE



3.6074   SCIOTO COUNTY BOARD OF COUNTY COMMISSIONERS              10/9/2017                   Opioid Matter              UNDETERMINED
         ATTN: BOARD OF COUNTY COMMISSIONERS
         602 7TH STREET                                        ACCOUNT NO.:
         ROOM 1                                                NOT AVAILABLE
         PORTSMOUTH, OH 45662



3.6075   SCOTLAND COUNTY                                          4/8/2019                    Opioid Matter              UNDETERMINED
         ATTN: BOARD OF COMMISSIONERS CHAIR
         6361 PEELE CHAPEL ROAD                                ACCOUNT NO.:
         LAUREL HILL, NC 28351                                 NOT AVAILABLE



3.6076   SCOTT ANSLUM IN HIS CAPACITY AS SHERIFF ON              10/26/2018                   Opioid Matter              UNDETERMINED
         BEHALF OF THE ST. MARY PARISH SHERIFF’S OFFICE
         ATTN: PRESIDENT OR EXECUTIVE COMMITTEE MEMBERS        ACCOUNT NO.:
         LOUISIANA SHERIFF'S ASSOCIATION                       NOT AVAILABLE
         1175 NICHOLSON DRIVE
         BATON ROUGE, LA 70802



3.6077   SCOTT ANSLUM IN HIS CAPACITY AS SHERIFF ON              10/26/2018                   Opioid Matter              UNDETERMINED
         BEHALF OF THE ST. MARY PARISH SHERIFF’S OFFICE
         ATTN: CHIEF ADMINISTRATIVE OFFICER, PRESIDENT OR      ACCOUNT NO.:
         COUNCIL MEMBERS                                       NOT AVAILABLE
         ST. MARY PARISH GOVERNMENT
         5TH FLOOR COURTHOUSE
         FRANKLIN, LA 70538



3.6078   SCOTT ANSLUM IN HIS CAPACITY AS SHERIFF ON              10/26/2018                   Opioid Matter              UNDETERMINED
         BEHALF OF THE ST. MARY PARISH SHERIFF’S OFFICE
         ST. MARY COURTHOUSE                                   ACCOUNT NO.:
         500 MAIN STREET                                       NOT AVAILABLE
          - 4TH FLOOR
         FRANKLIN, LA 70538



3.6079   SCOTT COUNTY                                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         282 COURT STREET                                      ACCOUNT NO.:
         HUNTSVILLE, TN 37756                                  NOT AVAILABLE



3.6080   SCOTT COUNTY                                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY MAYOR
         2845 BAKER HIGHWAY                                    ACCOUNT NO.:
         HUNTSVILLE, TN 37756                                  NOT AVAILABLE



3.6081   SCOTT COUNTY                                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         447 BAKER HIGHWAY                                     ACCOUNT NO.:
         HUNTSVILLE, TN 37756                                  NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip                  Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                             And Account Number                         Claim

Litigation

3.6082   SCOTT COUNTY BOARD OF SUPERVISORS                                   7/9/2018                    Opioid Matter              UNDETERMINED
         190 BEECH STREET, SUITE 201
         GATE CITY, VA 24251                                              ACCOUNT NO.:
                                                                          NOT AVAILABLE


3.6083   SCOTT COUNTY BOARD OF SUPERVISORS                                   7/9/2018                    Opioid Matter              UNDETERMINED
         147 KENNEL LN
         GATE CITY, VA 24251                                              ACCOUNT NO.:
                                                                          NOT AVAILABLE


3.6084   SCOTT COUNTY BOARD OF SUPERVISORS                                   7/9/2018                    Opioid Matter              UNDETERMINED
         PO BOX 486
         DUFFIELD, VA 24244                                               ACCOUNT NO.:
                                                                          NOT AVAILABLE


3.6085   SCOTT COUNTY BOARD OF SUPERVISORS                                   7/9/2018                    Opioid Matter              UNDETERMINED
         241 ABANA DR
         DUNGANNON, VA 24245                                              ACCOUNT NO.:
                                                                          NOT AVAILABLE


3.6086   SCOTT COUNTY BOARD OF SUPERVISORS                                   7/9/2018                    Opioid Matter              UNDETERMINED
         3027 MANVILLE ROAD
         GATE CITY, VA 24251                                              ACCOUNT NO.:
                                                                          NOT AVAILABLE


3.6087   SCOTT COUNTY BOARD OF SUPERVISORS                                   7/9/2018                    Opioid Matter              UNDETERMINED
         5231 LONG HOLLOW RD
         HILTONS, VA 24258                                                ACCOUNT NO.:
                                                                          NOT AVAILABLE


3.6088   SCOTT COUNTY BOARD OF SUPERVISORS                                   7/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY SUPERVISOR
         336 WATER STREET                                                 ACCOUNT NO.:
         GATE CITY, VA 24251                                              NOT AVAILABLE



3.6089   SCOTT COUNTY BOARD OF SUPERVISORS                                   7/9/2018                    Opioid Matter              UNDETERMINED
         474 CAVALRY DRIVE
         HILTONS, VA 24258                                                ACCOUNT NO.:
                                                                          NOT AVAILABLE


3.6090   SCOTT COUNTY BOARD OF SUPERVISORS                                   7/9/2018                    Opioid Matter              UNDETERMINED
         5231 LONG HOLLOW RD
         DUNGANNON, VA 24245                                              ACCOUNT NO.:
                                                                          NOT AVAILABLE


3.6091   Scott County Indiana, a Political Subdivision of The State of       9/11/2017                   Opioid Matter              UNDETERMINED
         Indiana, by and through its board of Commissioners
         Attn: Curtis T. Hill, Jr.                                        ACCOUNT NO.:
         State of Indiana Attorney General                                NOT AVAILABLE
         Indiana Government Center South - 5th Floor - 302 West
         Washington Street
         Indianapolis, IN 46204



3.6092   SCOTT COUNTY INDIANA, A POLITICAL SUBDIVISION OF                    9/11/2017                   Opioid Matter              UNDETERMINED
         THE STATE OF INDIANA, BY AND THROUGH ITS BOARD
         OF COMMISSIONERS                                                 ACCOUNT NO.:
         ATTN: COUNTY COUNCIL CHAIRMAN                                    NOT AVAILABLE
         1 EAST MCCLAIN AVENUE
         SCOTTSBURG, IN 47170


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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6093   SCOTT COUNTY, TN                                         3/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         PO BOX 37                                             ACCOUNT NO.:
         HUNTSVILLE, TN 37756                                  NOT AVAILABLE



3.6094   SCOTT COUNTY, TN                                         3/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY/JOHN BEATY
         447 BAKER HIGHWAY                                     ACCOUNT NO.:
         BUILDING 3                                            NOT AVAILABLE
         HUNTSVILLE, TN 37756



3.6095   SCOTT COUNTY, TN                                         3/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY/JOHN BEATY
         PO BOX 302                                            ACCOUNT NO.:
         HUNTSVILLE, TN 37756                                  NOT AVAILABLE



3.6096   SCOTT COUNTY, TN                                         3/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         2845 BAKER HIGHWAY                                    ACCOUNT NO.:
         HUNTSVILLE, TN 37756                                  NOT AVAILABLE



3.6097   SCOTT R. BERRY, IN HIS OFFICIAL CAPACITY AS THE          3/22/2019                   Opioid Matter              UNDETERMINED
         SHERIFF OF OCONEE COUNTY, GEORGIA
         23 NORTH MAIN STREET                                  ACCOUNT NO.:
         WATKINSVILLE, GA 30677                                NOT AVAILABLE



3.6098   SCOTT R. BERRY, IN HIS OFFICIAL CAPACITY AS THE          3/22/2019                   Opioid Matter              UNDETERMINED
         SHERIFF OF OCONEE COUNTY, GEORGIA
         3000 HIGHWAY 42 N.                                    ACCOUNT NO.:
         PO BOX 1000                                           NOT AVAILABLE
         STOCKBRIDGE, GA 30281



3.6099   SCOTT R. BERRY, IN HIS OFFICIAL CAPACITY AS THE          3/22/2019                   Opioid Matter              UNDETERMINED
         SHERIFF OF OCONEE COUNTY, GEORGIA
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS          ACCOUNT NO.:
         PO BOX 145                                            NOT AVAILABLE
         WATKINSVILLE, GA 30677



3.6100   SCOTTS VALLEY BAND OF POMO INDIANS                       2/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER, AND CHIEF
         OPERATING OFFICER                                     ACCOUNT NO.:
         1005 PARALLEL DRIVE                                   NOT AVAILABLE
         LAKEPORT, CA 95453



3.6101   SCREVEN COUNTY, GEORGIA                                  3/27/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE SCREVEN COUNTY
         COMMISSIONERS                                         ACCOUNT NO.:
         216 MIMS RD                                           NOT AVAILABLE
         P.O. BOX 158
         SYLVANIA, GA 30467




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6102   SEATLE INDIAN HEALTH BOARD                               7/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         WASHINGTON SECRETARY OF STATE                         ACCOUNT NO.:
         CORPORATIONS - PO BOX 40234                           NOT AVAILABLE
         OLYMPIA, WA 98504-0234



3.6103   SEATTLE INDIAN HEALTH BOARD                              7/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         611 12TH AVENUE SOUTH                                 ACCOUNT NO.:
         SEATTLE, WA 98144                                     NOT AVAILABLE



3.6104   SEDGWICK COUNTY BOARD OF COUNTY                         12/21/2017                   Opioid Matter              UNDETERMINED
         COMMISSIONERS
         ATTN: SEDGWICK COUNTY CLERK                           ACCOUNT NO.:
         525 NORTH MAIN STREET, SUITE 211                      NOT AVAILABLE
         WICHITA, KS 67203



3.6105   SEDGWICK COUNTY BOARD OF COUNTY                         12/21/2017                   Opioid Matter              UNDETERMINED
         COMMISSIONERS
         ATTN: COUNTY TREASURER                                ACCOUNT NO.:
         525 NORTH MAIN STREET                                 NOT AVAILABLE
         WICHITA, KS 67203



3.6106   SEDGWICK COUNTY BOARD OF COUNTY                         12/21/2017                   Opioid Matter              UNDETERMINED
         COMMISSIONERS
         ATTN: CHAIR OF THE BOARD OF COUNTY                    ACCOUNT NO.:
         COMMISSIONERS                                         NOT AVAILABLE
         525 NORTH MAIN STREET
         SUITE 320
         WICHITA, KS 67203



3.6107   SEMINOLE COUNTY, FLORIDA                                 6/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, VICE CHAIRMAN, COMMISSIONERS,
         AND COUNTY MANAGER                                    ACCOUNT NO.:
         BOARD OF COUNTY COMMISSIONERS                         NOT AVAILABLE
         SEMINOLE COUNTY SERVICES BUILDING - 1101 E. FIRST
         STREET
         SANFORD, FL 32771



3.6108   SEMINOLE COUNTY, GEORGIA                                 3/27/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND BOARD OF COMMISSIONERS,
         COUNTY ADMINISTRATORS                                 ACCOUNT NO.:
         COUNTY COURT HOUSE                                    NOT AVAILABLE
         SUPERIOR COURT ROOM, 2ND FLOOR - 200 SOUTH
         KNOX AVE.
         DONALSONVILLE, GA 39845



3.6109   SENECA COUNTY BOARD OF COUNTY COMMISSIONERS              2/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS AND ATTORNEY
         111 MADISON STREET                                    ACCOUNT NO.:
         TIFFIN, OH 44883                                      NOT AVAILABLE



3.6110   SENECA COUNTY BOARD OF COUNTY COMMISSIONERS              2/27/2018                   Opioid Matter              UNDETERMINED
         79 SOUTH WASHINGTON STREET
         TIFFIN, OH 44883                                      ACCOUNT NO.:
                                                               NOT AVAILABLE

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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6111   SENECA NATION OF INDIANS                                 5/31/2018                   Opioid Matter              UNDETERMINED
         90 OHIYO WAY
         SALAMANCA, NY 14779                                   ACCOUNT NO.:
                                                               NOT AVAILABLE


3.6112   SENECA NATION OF INDIANS                                 5/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNSEL CHAIRMAN, AND CHIEF EXECUTIVE
         OFFICER, AND PRESIDENT                                ACCOUNT NO.:
         12837 ROUTE 438                                       NOT AVAILABLE
         IRVING, NY 14081



3.6113   SEQUATCHIE COUNTY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         22 CHERRY STREET                                      ACCOUNT NO.:
         PO BOX 248                                            NOT AVAILABLE
         DUNLAP, TN 37327



3.6114   SEQUATCHIE COUNTY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE
         22 CHERRY ST.                                         ACCOUNT NO.:
         PO BOX 595                                            NOT AVAILABLE
         DUNLAP, TN 37327



3.6115   SEVIER COUNTY                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         125 COURT AVENUE                                      ACCOUNT NO.:
         SUITE 202E                                            NOT AVAILABLE
         SEVIERVILLE, TN 37862



3.6116   SHAKOPEE MDEWAKANTON SIOUX COMMUNITY                     8/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: BUSINESS COUNCIL CHAIRMAN AND CHIEF
         EXECUTIVE OFFICER                                     ACCOUNT NO.:
         2330 SIOUX TRAIL NW                                   NOT AVAILABLE
         PRIOR LAKE, MN 55372



3.6117   SHANNON COUNTY, MISSOURI                                 6/7/2019                    Opioid Matter              UNDETERMINED
         COUNTY COURTHOUSE
         18529 MAIN STREET                                     ACCOUNT NO.:
         EMINENCE, MO 65466                                    NOT AVAILABLE



3.6118   SHANNON COUNTY, MISSOURI                                 6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: SHANNON COUNTY CLERK
         PO BOX 187                                            ACCOUNT NO.:
         EMINENCE, MO 65466                                    NOT AVAILABLE



3.6119   SHANNON HUNT                                             5/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHARLES A GILMAN
         GILMAN & BEDIGIAN, LLC                                ACCOUNT NO.:
         1954 GREENSPRING DRIVE - SUITE 250                    NOT AVAILABLE
         TIMONIUM, MD 21093




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Code                                                    And Account Number                          Claim

Litigation

3.6120   SHANNON HUNT                                                5/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEPHEN WUSSOW
         COOPER LAW FIRM                                          ACCOUNT NO.:
         1525 RELIGIOUS STREET                                    NOT AVAILABLE
         NEW ORLEANS, LA 70130



3.6121   SHANNON HUNT                                                5/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: CELESTE BRUSTOWICZ, STEPHEN H. WUSSOW
         COOPER LAW FIRM, LLC                                     ACCOUNT NO.:
         1525 RELIGIOUS STREET                                    NOT AVAILABLE
         NEW ORLEANS, LA 70130



3.6122   SHANNON HUNT                                                5/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: LAUREN MONICA GEISSER
         GILMAN & BEDIGIAN, LLC                                   ACCOUNT NO.:
         1954 GREENSPRING DRIVE - SUITE 250                       NOT AVAILABLE
         TIMONIUM, MD 21093



3.6123   SHARKEY-ISSAQUENA COMMUNITY HOSPITAL                        6/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER AND ADMINISTRATOR
         47 SOUTH 4TH STREET                                      ACCOUNT NO.:
         POST OFFICE BOX 339                                      NOT AVAILABLE
         ROLLING FORK, MS 39159



3.6124   SHAWANO COUNTY                                              11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         SHAWANO COUNTY COURT                                     ACCOUNT NO.:
         1ST FLOOR, ROOM 104 - 311 N. MAIN STREET                 NOT AVAILABLE
         SHAWANO, WI 54166



3.6125   SHEBOYGAN COUNTY                                            11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         ADMINISTRATION BUILDING                                  ACCOUNT NO.:
         ROOM 129 - 508 NEW YORK AVENUE                           NOT AVAILABLE
         SHEBOYGAN, WI 53081



3.6126   SHEET METAL WORKERS LOCAL NO. 25 HEALTH AND                 11/9/2017                   Opioid Matter              UNDETERMINED
         WELFARE FUND
         ATTN: PARTNER, OFFICER, AND REGISTERED AGENT,            ACCOUNT NO.:
         MANAGER, AND CLERK                                       NOT AVAILABLE
         440 BARELL AVENUE
         CARLSTADT, NJ 07072



3.6127   SHELBY COUNTY                                               8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         160 N. MAIN                                              ACCOUNT NO.:
         11TH FLOOR                                               NOT AVAILABLE
         MEMPHIS, TN 38103



3.6128   SHELBY COUNTY                                               8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         160 N MAIN ST                                            ACCOUNT NO.:
         MEMPHIS, TN 38103                                        NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6129   SHELBY COUNTY BOARD OF COUNTY COMMISSIONERS              5/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF COUNTY BOARD OF COUNTY
         COMMISSIONERS AND COUNTY CLERK                        ACCOUNT NO.:
         COMMISSIONERS' OFFICE                                 NOT AVAILABLE
         129 EAST COURT STREET - SUITE 100
         SIDNEY, OH 45365



3.6130   SHELBY COUNTY BOARD OF COUNTY COMMISSIONERS              5/11/2018                   Opioid Matter              UNDETERMINED
         SHLEBY COUNTY COURTHOUSE
         OFFICE OF THE SHELBY COUNTY PROSECUTOR                ACCOUNT NO.:
         - 1ST FLOOR                                           NOT AVAILABLE
         SIDNEY, OH 45365



3.6131   SHELBY COUNTY BOARD OF COUNTY COMMISSIONERS              5/11/2018                   Opioid Matter              UNDETERMINED
         SHELBY COUNTY COURTHOUSE
         1ST FLOOR                                             ACCOUNT NO.:
          - P.O. BOX 4159                                      NOT AVAILABLE
         SIDNEY, OH 45365



3.6132   SHELBY COUNTY, ALABAMA                                   3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.6133   SHELBY COUNTY, ALABAMA                                   3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER
         200 W. COLLEGE ST.                                    ACCOUNT NO.:
         RM 123                                                NOT AVAILABLE
         COLUMBIANA, AL 35051



3.6134   SHELBY COUNTY, BY THE SHELBY BOARD OF                    11/2/2017                   Opioid Matter              UNDETERMINED
         COMMISSIONERS
         ATTN: CHIEF ADMINISTRATIVE OFFICER                    ACCOUNT NO.:
         160 N MAIN                                            NOT AVAILABLE
         SUITE 1122
         MEMPHIS, TN 38103



3.6135   SHELBY COUNTY, BY THE SHELBY BOARD OF                    11/2/2017                   Opioid Matter              UNDETERMINED
         COMMISSIONERS
         ATTN: BOARD OF COMMISSIONERS                          ACCOUNT NO.:
         160 MAIN STREET                                       NOT AVAILABLE
         RM 950
         MEMPHIS, TN 38103



3.6136   SHELBY COUNTY, BY THE SHELBY BOARD OF                    11/2/2017                   Opioid Matter              UNDETERMINED
         COMMISSIONERS
         ATTN: COUNTY ATTORNEY                                 ACCOUNT NO.:
         COUNTY ATTORNEY'S OFFICE                              NOT AVAILABLE
         160 N. MAIN STREET - SUITE 950
         MEMPHIS, TN 38103




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Creditor's Name, Mailing Address Including Zip                 Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                            And Account Number                         Claim

Litigation

3.6137   SHELBY COUNTY, BY THE SHELBY BOARD OF                               11/2/2017                  Opioid Matter              UNDETERMINED
         COMMISSIONERS
         ATTN: MAYOR                                                       ACCOUNT NO.:
         MAYOR'S OFFICE                                                    NOT AVAILABLE
         160 N. MAIN - 11TH FLOOR
         MEMPHIS, TN 38103



3.6138   SHELBY COUNTY, MISSOURI                                             11/20/2018                 Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         100 EAST MAIN STREET                                              ACCOUNT NO.:
         SHELBYVILLE, MO 63469                                             NOT AVAILABLE



3.6139   SHELBY L. BRANT, INDIVIDUALLY AND AS NEXT FRIEND                    6/17/2019                  Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY L.A.Z., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                      ACCOUNT NO.:
         ATTN: CELESTE BRUSTOWICZ                                          NOT AVAILABLE
         COOPER LAW FIRM, LLC
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.6140   SHELBYVILLE HOSPITAL COMPANY, LLC F/K/A                             7/11/2019                  Opioid Matter              UNDETERMINED
         SHELBYVILLE HOSPITAL CORPORATION
         ATTN: REGISTERED AGENT                                            ACCOUNT NO.:
         JUSTIN D. PITT, CHIEF LITIGATION COUNSEL                          NOT AVAILABLE
         4000 MERIDIAN BOULEVARD - COMMONITY HEALTH
         SYSTEMS
         FRANKLIN, TN 37067



3.6141   SHELBYVILLE HOSPITAL COMPANY, LLC F/K/A                             7/11/2019                  Opioid Matter              UNDETERMINED
         SHELBYVILLE HOSPITAL CORPORATION
         ATTN: OFFICER OR MANAGING AGENT                                   ACCOUNT NO.:
         4000 MERIDIAN BOULEVARD                                           NOT AVAILABLE
         FRANKLIN, TN 37067



3.6142   Shelley Whittaker, individually and as next friend and guardian     6/14/2019                  Opioid Matter              UNDETERMINED
         of Babies E.W., G.L.O., and N.S.G., on behalf of themselves
         and all others similarly situated                                 ACCOUNT NO.:
         Attn: Spencer R. Doody                                            NOT AVAILABLE
         Martzell, Bickford & Centola
         338 Lafayette Street
         New Orleans, LA 70130



3.6143   Shelley Whittaker, individually and as next friend and guardian     6/14/2019                  Opioid Matter              UNDETERMINED
         of Babies E.W., G.L.O., and N.S.G., on behalf of themselves
         and all others similarly situated                                 ACCOUNT NO.:
         Attn: Kent Harrison Robbins                                       NOT AVAILABLE
         The Law Office of Kent Harrison Robbins, P.A.
         242 Northeast 27th Street
         Miami, FL 33137



3.6144   Shelley Whittaker, individually and as next friend and guardian     6/14/2019                  Opioid Matter              UNDETERMINED
         of Babies E.W., G.L.O., and N.S.G., on behalf of themselves
         and all others similarly situated                                 ACCOUNT NO.:
         Attn: Kevin W. Thompson, David R. Barney, Jr.                     NOT AVAILABLE
         Thompson Barney Law Firm
         2030 Kanawha Boulevard, East
         Charleston, WV 25311

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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:          List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip                 Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                            And Account Number                         Claim

Litigation

3.6145   SHELLEY WHITTAKER, INDIVIDUALLY AND AS NEXT                         6/14/2019                  Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABIES E.W., G.L.O., AND
         N.S.G., ON BEHALF OF THEMSELVES AND ALL OTHERS                    ACCOUNT NO.:
         SIMILARLY SITUATED                                                NOT AVAILABLE
         ATTN: STEPHEN WUSSOW
         COOPER LAW FIRM
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.6146   Shelley Whittaker, individually and as next friend and guardian     6/14/2019                  Opioid Matter              UNDETERMINED
         of Babies E.W., G.L.O., and N.S.G., on behalf of themselves
         and all others similarly situated                                 ACCOUNT NO.:
         Attn: Scott R. Bickford                                           NOT AVAILABLE
         Martzell, Bickford & Centola
         338 Lafayette Street
         New Orleans, LA 70130



3.6147   Shelley Whittaker, individually and as next friend and guardian     6/14/2019                  Opioid Matter              UNDETERMINED
         of Babies E.W., G.L.O., and N.S.G., on behalf of themselves
         and all others similarly situated                                 ACCOUNT NO.:
         Attn: David R. Barney, Jr.                                        NOT AVAILABLE
         Thompson Barney Law Firm
         2030 Kanawha Boulevard, East
         Charleston, WV 25311



3.6148   SHELLEY WHITTAKER, INDIVIDUALLY AND AS NEXT                         6/14/2019                  Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABIES E.W., G.L.O., AND
         N.S.G., ON BEHALF OF THEMSELVES AND ALL OTHERS                    ACCOUNT NO.:
         SIMILARLY SITUATED                                                NOT AVAILABLE
         ATTN: DONALD E. CREADORE
         CREADOR LAW FIRM
         450 SEVENTH AVENUE - SUITE 1408
         NEW YORK, NY 10123



3.6149   Shelley Whittaker, individually and as next friend and guardian     6/14/2019                  Opioid Matter              UNDETERMINED
         of Babies E.W., G.L.O., and N.S.G., on behalf of themselves
         and all others similarly situated                                 ACCOUNT NO.:
         Attn: Celeste Brustowicz, Stephen H. Wussow                       NOT AVAILABLE
         Cooper Law Firm, LLC
         1525 Religious Street
         New Orleans, LA 70130



3.6150   SHENANDOAH COUNTY, VIRGINIA                                         UNKNOWN                    Opioid Matter              UNDETERMINED
         ATTN: COMMONWEALTH'S ATTORNEY
         215 MILL ROAD                                                     ACCOUNT NO.:
         SUITE #109                                                        NOT AVAILABLE
         WOODSTOCK, VA 22664



3.6151   SHERIFF JEFFREY F. WILEY, AS OFFICER EX OFFICIO OF                  6/27/2018                  Opioid Matter              UNDETERMINED
         THE ASCENSION PARISH SHERIFF'S OFFICE AND
         ASCENSION PARISH LAW ENFORCEMENT DISTRICT                         ACCOUNT NO.:
         ATTN: COUNCIL PRESIDENT AND SHERIFF                               NOT AVAILABLE
         615 EAST WORTHEY STREET
         GONZALEZ, LA 70737




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:          List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip               Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                          And Account Number                         Claim

Litigation

3.6152   SHERIFF JEFFREY F. WILEY, AS OFFICER EX OFFICIO OF                6/27/2018                  Opioid Matter              UNDETERMINED
         THE ASCENSION PARISH SHERIFF'S OFFICE AND
         ASCENSION PARISH LAW ENFORCEMENT DISTRICT                       ACCOUNT NO.:
         ATTN: SHERIFF                                                   NOT AVAILABLE
         300 HOUMAS STREET
         DONALDSONVILLE, LA 70346



3.6153   SHERIFF JEFFREY F. WILEY, AS OFFICER EX OFFICIO OF                6/27/2018                  Opioid Matter              UNDETERMINED
         THE ASCENSION PARISH SHERIFF'S OFFICE AND
         ASCENSION PARISH LAW ENFORCEMENT DISTRICT                       ACCOUNT NO.:
         828 SOUTH IRMA BOULEVARD                                        NOT AVAILABLE
         GONZALEZ, LA 70737



3.6154   SHERIFF MICHAEL TUBBS, AS OFFICER EX OFFICIO OF                   6/26/2018                  Opioid Matter              UNDETERMINED
         THE MOREHOUSE PARISH SHERIFF'S OFFICE AND
         MOREHOUSE PARISH LAW ENFORCEMENT DISTRICT                       ACCOUNT NO.:
         351 SOUTH FRANKLIN                                              NOT AVAILABLE
         BASTROP, LA 71220



3.6155   Sheriff Michael Tubbs, as Officer Ex Officio of the Morehouse     6/26/2018                  Opioid Matter              UNDETERMINED
         Parish Sheriff's Office and Morehouse Parish Law Enforcement
         District                                                        ACCOUNT NO.:
         Attn: President or                                              NOT AVAILABLE
         Louisiana Sheriff's Association or Executive Committee
         Members
         1175 Nicholson Drive
         Baton Rouge, LA 70802



3.6156   SHERIFF MICHAEL TUBBS, AS OFFICER EX OFFICIO OF                   6/26/2018                  Opioid Matter              UNDETERMINED
         THE MOREHOUSE PARISH SHERIFF'S OFFICE AND
         MOREHOUSE PARISH LAW ENFORCEMENT DISTRICT                       ACCOUNT NO.:
         ATTN: PRESIDENT OR VICE PRESIDENT                               NOT AVAILABLE
         125 EAST MADISON AVE
         BASTROP, LA 71220



3.6157   SHILO SHEWMAKE, INDIVIDUALLY AND AS NEXT                          6/15/2019                  Opioid Matter              UNDETERMINED
         FRIENDS AND GUARDIANS OF BABIES L.G., A.S., AND
         J.S., ON BEHALF OF THEMSELVES AND ALL OTHERS                    ACCOUNT NO.:
         SIMILARLY SITUATED                                              NOT AVAILABLE
         ATTN: CELESTE BRUSTOWICZ
         COOPER LAW FIRM, LLC
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.6158   SHINNECOCK INDIAN NATION                                          10/9/2018                  Opioid Matter              UNDETERMINED
         ATTN: COUNCIL CHAIRMAN AND CHIEF EXEUTIVE
         OFFICER                                                         ACCOUNT NO.:
         2037 DREAM CATCHER PLAZA                                        NOT AVAILABLE
         ONEIDA, NY 13421



3.6159   SHOSHONE-BANNOCK TRIBES                                            6/6/2019                  Opioid Matter              UNDETERMINED
         ATTN: COUNCIL CHAIRMAN, VICE CHAIRMAN, COUNCIL
         MEMBERS AND CEO & REGISTERED AGENT                              ACCOUNT NO.:
         PO BOX 306                                                      NOT AVAILABLE
         FORT HALL, ID 83203




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip                  Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                             And Account Number                         Claim

Litigation

3.6160   SIBLEY COUNTY                                                          5/3/2019                 Opioid Matter              UNDETERMINED
         P.O. BOX 51
         1ST FLOOR HISTORIC COURTHOUSE                                       ACCOUNT NO.:
         GAYLORD, MN 55334                                                   NOT AVAILABLE



3.6161   SIBLEY COUNTY                                                          5/3/2019                 Opioid Matter              UNDETERMINED
         ATTN: CHAIR
         SIBLEY COUNTY COURTHOUSE                                            ACCOUNT NO.:
         P.O. BOX 256 - 400 COURT AVENUE                                     NOT AVAILABLE
         GAYLORD, MN 55334



3.6162   SID J. GAUTREAUX III, PARISH OF EAST BATON ROUGE                       2/9/2018                 Opioid Matter              UNDETERMINED
         ATTN: SHERIFF OF PARISH OF EAST BATON ROUGE
         EAST BATON ROUGE PARISH SHERIFF'S OFFICE                            ACCOUNT NO.:
         8600 JIMMY WEDELL DRIVE                                             NOT AVAILABLE
         BATON ROUGE, LA 70807



3.6163   SID J. GAUTREAUX III, PARISH OF EAST BATON ROUGE                       2/9/2018                 Opioid Matter              UNDETERMINED
         ATTN: MAYOR-PRESIDENT OF PARISH OF EAST BATON
         ROUGE                                                               ACCOUNT NO.:
         222 SAINT LOUIS STREET                                              NOT AVAILABLE
         3RD FLOOR
         BATON ROUGE, LA 70802



3.6164   SISSETON-WAHPETON OYATE                                                1/8/2018                 Opioid Matter              UNDETERMINED
         ATTN: TRIBAL CHAIRMAN AND TRIBE ATTORNEY
         THE TRIBAL ADMINISTRATIVE BUILDING                                  ACCOUNT NO.:
         12554 BIA HIGHWAY 711 - P.O. BOX 509                                NOT AVAILABLE
         AGENCY VILLAGE, SD 57262



3.6165   Skagit County, City of Sedro Woolley, City of Burlington, City of     1/25/2018                 Opioid Matter              UNDETERMINED
         Mount Vernon
         Attn: Mayor, City Manager, Mayor's designated agent, city           ACCOUNT NO.:
         manager's designated agent, and City Clerk                          NOT AVAILABLE
         City of Mount Vernon
         910 Cleveland Avenue - City Hall, 2nd Floor
         Mount Vernon, WA 98273



3.6166   Skagit County, City of Sedro Woolley, City of Burlington, City of     1/25/2018                 Opioid Matter              UNDETERMINED
         Mount Vernon
         Attn: Mayor, City Administrator, Mayor's designated agent, city     ACCOUNT NO.:
         administrator's designated agent, and City Clerk                    NOT AVAILABLE
         City of Burlington
         833 South Spruce Street
         Burlington, WA 98233



3.6167   SKAGIT COUNTY, CITY OF SEDRO WOOLLEY, CITY OF                         1/25/2018                 Opioid Matter              UNDETERMINED
         BURLINGTON, CITY OF MOUNT VERNON
         ATTN: MAYOR, CITY SUPERVISOR, MAYOR'S                               ACCOUNT NO.:
         DESIGNATED AGENT, CITY MANAGER'S DESIGNATED                         NOT AVAILABLE
         AGENT, AND CITY CLERK
         CITY OF SEDRO-WOOLLEY
         325 METCALF STREET
         SEDRO-WOOLLEY, WA 98284




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6168   SKAGIT COUNTY, CITY OF SEDRO WOOLLEY, CITY OF            1/25/2018                   Opioid Matter              UNDETERMINED
         BURLINGTON, CITY OF MOUNT VERNON
         ATTN: COUNTY AUDITOR                                  ACCOUNT NO.:
         PO BOX 1306 ADMINISTRATION BUILDING, ROOM 201         NOT AVAILABLE
         700 SOUTH SECOND STREET
         MOUNT VERNON, WA 98273



3.6169   SMITH COUNTY, TN                                        12/18/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND COUNTY CLERK
         TURNER BUILDING                                       ACCOUNT NO.:
         122 TURNER HIGH CIRCLE                                NOT AVAILABLE
         CARTHAGE, TN 37030



3.6170   SMYTH COUNTY COMMUNITY HOSPITAL                          7/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         TIMOTHY S. BELISLE                                    ACCOUNT NO.:
         400 NORTH STATE OF FRANKILIN ROAD                     NOT AVAILABLE
         JOHNSON CITY, TN 37604



3.6171   SMYTH COUNTY COMMUNITY HOSPITAL                          7/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: OFFICER OR MANAGING AGENT
         245 MEDICAL PARK DRIVE                                ACCOUNT NO.:
         MARION, VA 24354                                      NOT AVAILABLE



3.6172   SMYTH COUNTY, VIRGINIA                                   6/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: COMMONWEALTH ATTORNEY
         109 WEST MAIN STREET                                  ACCOUNT NO.:
         MARION, VA 24354                                      NOT AVAILABLE



3.6173   SNOHOMISH COUNTY, A WASHINGTON MUNICIPAL                 1/28/2019                   Opioid Matter              UNDETERMINED
         CORPORATION
         ATTN: AUDITOR                                         ACCOUNT NO.:
         SNOHOMISH COUNTY GOVERNMENT                           NOT AVAILABLE
         3000 ROCKEFELLER AVENUE
         EVERETT, WA 98201



3.6174   SOKAOGON CHIPPEWA COMMUNITY                              6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: TRIBAL COUNCIL CHAIRMAN AND CHIEF
         EXECUTIVE OFFICER                                     ACCOUNT NO.:
         3051 SAND LAKE ROAD                                   NOT AVAILABLE
         CRANDON, WI 54520



3.6175   SOKAOGON CHIPPEWA COMMUNITY                              6/7/2019                    Opioid Matter              UNDETERMINED
         3051 SAND LAKE ROAD
         CRANDON, WI 54520                                     ACCOUNT NO.:
                                                               NOT AVAILABLE


3.6176   SOKAOGON CHIPPEWA COMMUNITY                              6/7/2019                    Opioid Matter              UNDETERMINED
         3265 INDIAN SETTLEMENT ROAD
         CRANDON, WI 54520                                     ACCOUNT NO.:
                                                               NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6177   SOLICITOR FOR THE VILLAGE OF CLINTON, MARSHAL            6/30/2018                   Opioid Matter              UNDETERMINED
         PITCHFORD
         7871 MAIN STREET                                      ACCOUNT NO.:
         CLINTON, OH 44216                                     NOT AVAILABLE



3.6178   SOLICITOR FOR THE VILLAGE OF CLINTON, MARSHAL            6/30/2018                   Opioid Matter              UNDETERMINED
         PITCHFORD
         ATTN: VILLAGE SOLICITOR                               ACCOUNT NO.:
         209 SOUTH MAIN STREET                                 NOT AVAILABLE
         3RD FLOOR
         AKRON, OH 44308



3.6179   SOMERSET COUNTY                                         11/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISIONERS; COUNTY TREASURER
         41 COURT STREET                                       ACCOUNT NO.:
         SKOWHEGAN, ME 04976                                   NOT AVAILABLE



3.6180   SOMERSET COUNTY                                         11/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISIONERS; COUNTY TREASURER
         41 COURT STREET                                       ACCOUNT NO.:
         SKOWHEGAN, ME 04976                                   NOT AVAILABLE



3.6181   SOUTH CENTRAL REGIONAL MEDICAL CENTER                    6/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: GENERAL COUNSEL
         214 NORTH 16TH AVENUE                                 ACCOUNT NO.:
         LAUREL, MS 39440                                      NOT AVAILABLE



3.6182   SOUTH CENTRAL REGIONAL MEDICAL CENTER                    6/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         1220 JEFFERSON STREET                                 ACCOUNT NO.:
         LAUREL, MS 39440                                      NOT AVAILABLE



3.6183   SOUTH CENTRAL REGIONAL MEDICAL CENTER                    6/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF TRUSTEES
         1220 JEFFERSON STREET                                 ACCOUNT NO.:
         LAUREL, MS 39440                                      NOT AVAILABLE



3.6184   SOUTH CENTRAL UFCW UNIONS AND EMPLOYERS                  8/23/2018                   Opioid Matter              UNDETERMINED
         HEALTH & WELFARE TRUST
         ATTN: ADMINISTRATOR, AND PRESIDENT, AND               ACCOUNT NO.:
         SECRETARY                                             NOT AVAILABLE
         UFCW UNIONS AND EMPLOYERS BENEFITS
         ADMINISTRATION, LLC
         1740 PHOENIX PARKWAY
         ATLANTA, GA 30349



3.6185   SOUTH FORK BAND OF THE TE-MOAK TRIBE OF                  8/31/2018                   Opioid Matter              UNDETERMINED
         WESTERN SHOSHONE INDIANS
         ATTN: TRIBAL COUNCIL CHAIRMAN AND CEO                 ACCOUNT NO.:
         TE-MOAK TRIBE OF WESTERN SHOSHONE INDIANS OF          NOT AVAILABLE
         NEVADA
         525 SUNSET STREET
         ELKO, NV 89801




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                         Claim

Litigation

3.6186   SOUTH FORK BAND OF THE TE-MOAK TRIBE OF                  8/31/2018                   Opioid Matter              UNDETERMINED
         WESTERN SHOSHONE INDIANS
         ATTN: TRIBAL COUNCIL CHAIRMAN; CHIEF EXECUTIVE        ACCOUNT NO.:
         OFFICER                                               NOT AVAILABLE
         21 LEE
         UNIT B-13
         SPRING CREEK, NV 89815



3.6187   SOUTHCENTRAL FOUNDATION                                 10/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT/CHIEF EXECUTIVE OFFICER
         MT. AHKLUN BUILDING ADMINISTRATIVE OFFICE             ACCOUNT NO.:
         4501 DIPLOMACY DRIVE                                  NOT AVAILABLE
         ANCHORAGE, AK 99508



3.6188   SOUTHEAST ALASKA REGIONAL HEALTH CONSORTIUM              9/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER AND REGISTERED
         AGENT                                                 ACCOUNT NO.:
         3100 CHANNEL DRIVE                                    NOT AVAILABLE
         SUITE 300
         JUNEAU, AK 99801



3.6189   SOUTHEAST FLORIDA BEHAVIORAL HEALTH NETWORK              4/4/2018                    Opioid Matter              UNDETERMINED
         INC
         ATTN: CEO; DPA VICE CHAIR                             ACCOUNT NO.:
         SOUTH COUNTY MENTAL HEALTH CENTER                     NOT AVAILABLE
         16158 SOUTH MILITARY TRAIL
         DELRAY BEACH, FL 33484



3.6190   SOUTHEAST FLORIDA BEHAVIORAL HEALTH NETWORK              4/4/2018                    Opioid Matter              UNDETERMINED
         INC
         ATTN: SECRETARY                                       ACCOUNT NO.:
         EXECUTIVE DIRECTOR                                    NOT AVAILABLE
         CHILDREN'S SERVICE COUNCIL OF ST. LUCIE COUNTY -
         546 NW UNIVERSITY DR. STE. 201
         PORT SAINT LUCIE, FL 34986



3.6191   SOUTHEAST FLORIDA BEHAVIORAL HEALTH NETWORK              4/4/2018                    Opioid Matter              UNDETERMINED
         INC
         ATTN: SECRETARY OF STATE                              ACCOUNT NO.:
         R.A. GRAY BUILDING                                    NOT AVAILABLE
         500 SOUTH BRONOUGH STREET
         TALLAHASSEE, FL 32399



3.6192   SOUTHEAST FLORIDA BEHAVIORAL HEALTH NETWORK              4/4/2018                    Opioid Matter              UNDETERMINED
         INC
         ATTN: TREASURER                                       ACCOUNT NO.:
         COMMUNITIES CONNECTED FOR KIDS, CBC                   NOT AVAILABLE
         10570 SOUTH FEDERAL HIGHWAY - SUITE 300
         PORT SAINT LUCIE, FL 34952



3.6193   SOUTHEAST FLORIDA BEHAVIORAL HEALTH NETWORK              4/4/2018                    Opioid Matter              UNDETERMINED
         INC
         ATTN: CHIEF EXECUTIVE OFFICER                         ACCOUNT NO.:
         140 INTRACOASTAL POINTE DRIVE, SUITE 211              NOT AVAILABLE
         JUPITER, FL 33477




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                         Claim

Litigation

3.6194   SOUTHEAST FLORIDA BEHAVIORAL HEALTH NETWORK              4/4/2018                    Opioid Matter              UNDETERMINED
         INC
         ATTN: REGISTERED AGENT                                ACCOUNT NO.:
         ELLIOTT, TIM                                          NOT AVAILABLE
         3301 THOMASVILLE ROAD - SUITE 201
         TALLAHASSEE, FL 32308



3.6195   SOUTHEAST FLORIDA BEHAVIORAL HEALTH NETWORK              4/4/2018                    Opioid Matter              UNDETERMINED
         INC
         ATTN: CEO                                             ACCOUNT NO.:
         367 SOUTH GULPH ROAD                                  NOT AVAILABLE
         KING OF PRUSSIA, PA 19406



3.6196   SOUTHEAST FLORIDA BEHAVIORAL HEALTH NETWORK              4/4/2018                    Opioid Matter              UNDETERMINED
         INC
         ATTN: CHIEF EXECUTIVE OFFICER                         ACCOUNT NO.:
         1070 EAST INDIANTOWN ROAD, SUITE 408                  NOT AVAILABLE
         JUPITER, FL 33477



3.6197   SOUTHEASTERN PENNSYLVANIA TRANSPORTATION                 3/26/2018                   Opioid Matter              UNDETERMINED
         AUTHORITY
         ATTN: SECRETARY OF STATE                              ACCOUNT NO.:
         PENNSYLVANIA DEPARTMENT OF STATE                      NOT AVAILABLE
         302 NORTH OFFICE BUILDING - 401 NORTH STREET
         HARRISBURG, PA 17120



3.6198   SOUTHEASTERN PENNSYLVANIA TRANSPORTATION                 3/26/2018                   Opioid Matter              UNDETERMINED
         AUTHORITY
         ATTN: SECRETARY TO THE BOARD                          ACCOUNT NO.:
         1234 MARKET STREET                                    NOT AVAILABLE
         5TH FLOOR
         PHILADELPHIA, PA 19107



3.6199   SOUTHERN ILLINOIS HEALTHCARE FOUNDATION                  6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         OFFICE OF THE ILLINOIS SECRETARY OF STATE             ACCOUNT NO.:
         213 STATE CAPITOL                                     NOT AVAILABLE
         SPRINGFIELD, IL 62756



3.6200   SOUTHERN ILLINOIS HEALTHCARE FOUNDATION                  6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT, PRESIDENT/CEO, AND
         OFFICERS AND AGENTS                                   ACCOUNT NO.:
         2041 GOOSE LAKE ROAD                                  NOT AVAILABLE
         SAUGET, IL 62206



3.6201   SOUTHWEST MISSISSIPPI REGIONAL MEDICAL CENTER           11/30/2017                   Opioid Matter              UNDETERMINED
         ET AL
         ATTN: CHIEF EXECUTIVE OFFICER/ADMINISTRATOR,          ACCOUNT NO.:
         OFFICERS, AND AGENTS                                  NOT AVAILABLE
         215 MARION AVENUE
         MCCOMB, MS 39648




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6202   SPALDING COUNTY, GEORGIA                                 3/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE SPALDING COUNTY
         BOARD OF COMMISSIONERS                                ACCOUNT NO.:
         119 E. SOLOMON STREET                                 NOT AVAILABLE
         GRIFFIN, GA 30223



3.6203   SPARTANBURG COUNTY                                       3/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND CLERK OF THE COUNTY COUNCIL
         366 NORTH CHURCH STREET                               ACCOUNT NO.:
         MAIN LEVEL - SUITE 1000                               NOT AVAILABLE
         SPARTANBURG, SC 29303



3.6204   SPARTANBURG COUNTY                                       3/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND CLERK OF THE COUNTY COUNCIL
         P.O. BOX 5666                                         ACCOUNT NO.:
         SPARTANBURG, SC 29304                                 NOT AVAILABLE



3.6205   SPARTANBURG COUNTY                                       3/5/2018                    Opioid Matter              UNDETERMINED
         MATTHEW E. YELVERTON
         YELVERTON LAW FIRM LLC                                ACCOUNT NO.:
         60 FOLLY ROAD                                         NOT AVAILABLE
         CHARLESTON, SC 29407



3.6206   SPARTANBURG COUNTY                                       3/5/2018                    Opioid Matter              UNDETERMINED
         JOHN B. WHITE, JR.
         HARRISON WHITE, P.C.                                  ACCOUNT NO.:
         178 WEST MAIN STREET                                  NOT AVAILABLE
         SPARTANBURG, SC 29306



3.6207   SPARTANBURG COUNTY                                       3/5/2018                    Opioid Matter              UNDETERMINED
         JOSEPH CAPPELLI
         MARC J. BERN & PARTNERS LLP                           ACCOUNT NO.:
         101 WEST ELM STREET - SUITE 215                       NOT AVAILABLE
         CONSHOHOCKEN, PA 19428



3.6208   SPARTANBURG COUNTY                                       3/5/2018                    Opioid Matter              UNDETERMINED
         CARMEN A. DE GISI
         MARC J. BERN & PARTNERS LLP                           ACCOUNT NO.:
         101 WEST ELM STREET - SUITE 215                       NOT AVAILABLE
         CONSHOHOCKEN, PA 19428



3.6209   SPARTANBURG COUNTY                                       3/5/2018                    Opioid Matter              UNDETERMINED
         R. JOSEPH KRAMER
         MARC J. BERN & PARTNERS LLP                           ACCOUNT NO.:
         101 WEST ELM STREET - SUITE 215                       NOT AVAILABLE
         CONSHOHOCKEN, PA 19428



3.6210   SPARTANBURG COUNTY                                       3/5/2018                    Opioid Matter              UNDETERMINED
         MARC J. BERN
         MARC J. BERN & PARTNERS LLP                           ACCOUNT NO.:
         101 WEST ELM STREET - SUITE 215                       NOT AVAILABLE
         CONSHOHOCKEN, PA 19428




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6211   SPARTANBURG COUNTY                                       3/5/2018                    Opioid Matter              UNDETERMINED
         MARGHRETTA H. SHISKO
         HARRISON WHITE, P.C.                                  ACCOUNT NO.:
         178 WEST MAIN STREET                                  NOT AVAILABLE
         SPARTANBURG, SC 29306



3.6212   SPIRIT LAKE TRIBE                                        5/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: TRIBAL COUNCIL CHAIRPERSON AND CHIEF
         EXECUTIVE OF SPIRIT LAKE TRIBE                        ACCOUNT NO.:
         TRIBAL COMMUNITY CENTER BUILDING                      NOT AVAILABLE
         P.O. BOX 359
         FORT TOTTEN, ND 58335



3.6213   SPIRIT LAKE TRIBE                                        5/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: OFFICER; MANAGER; REGISTERED AGENT
         307 1ST AVE                                           ACCOUNT NO.:
         FORT TOTTEN, ND 58335                                 NOT AVAILABLE



3.6214   SPOKANE COUNTY                                           6/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: AUDITOR
         1116 WEST BROADWAY AVENUE                             ACCOUNT NO.:
         SPOKANE, WA 99260                                     NOT AVAILABLE



3.6215   SPRINGFIELD TOWNSHIP                                     6/30/2018                   Opioid Matter              UNDETERMINED
         230 EAST 9TH STREET
         SUITE 4000                                            ACCOUNT NO.:
         CINCINNATI, OH 45202                                  NOT AVAILABLE



3.6216   SPRINGFIELD TOWNSHIP                                     6/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY PROSECUTOR
         230 E. NINTH STREET                                   ACCOUNT NO.:
         SUITE 4000                                            NOT AVAILABLE
         CINCINNATI, OH 45202



3.6217   SPRINGFIELD TOWNSHIP                                     6/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWNSHIP TRUSTEES AND TOWNSHIP
         ADMINISTRATOR                                         ACCOUNT NO.:
         9150 WINTON ROAD                                      NOT AVAILABLE
         CINCINNATI, OH 45231



3.6218   SQUAXIN ISLAND TRIBE                                     5/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: TRIBAL CHAIRMAN OF THE SQUAXIN ISLAND
         TRIBE ; CEO                                           ACCOUNT NO.:
         10 SOUTHEAST SQUAXIN LANE                             NOT AVAILABLE
         SHELTON, WA 98584



3.6219   ST. BERNARD PARISH GOVERNMENT                            12/4/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF ADMINISTRATIVE OFFICER OR PRESIDENT
         OR COUNCIL MEMBERS                                    ACCOUNT NO.:
         8201 WEST JUDGE PEREZ DRIVE                           NOT AVAILABLE
         CHALMETTE, LA 70043




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                          Claim

Litigation

3.6220   ST. CHARLES COUNTY, MISSOURI                              8/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE
         100 N THIRD STREET                                     ACCOUNT NO.:
         ST. CHARLES, MO 63301                                  NOT AVAILABLE



3.6221   ST. CLAIR COUNTY, ALABAMA                                 5/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                      ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                  NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.6222   ST. CLAIR COUNTY, ALABAMA                                 5/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY ADMINISTRATOR
         165 5TH AVENUE                                         ACCOUNT NO.:
         SUITE 100                                              NOT AVAILABLE
         ASHVILLE, AL 35953



3.6223   ST. CLAIR COUNTY, ILLINOIS                                6/9/2017                    Opioid Matter              UNDETERMINED
         ATTN: ST. CLAIR COUNTY BOARD CHAIRMAN AND
         COUNTY CLERK                                           ACCOUNT NO.:
         #10 PUBLIC SQUARE                                      NOT AVAILABLE
         BELLEVILLE, IL 62220



3.6224   ST. CLAIR COUNTY, ILLINOIS                                6/9/2017                    Opioid Matter              UNDETERMINED
         #10 PUBLIC SQUARE
         2ND FLOOR                                              ACCOUNT NO.:
         BELLEVILLE, IL 62220                                   NOT AVAILABLE



3.6225   ST. CLAIRE MEDICAL CENTER, INC.                           8/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT AND CHAIR OF THE BOARD
         OF DIRECTORS                                           ACCOUNT NO.:
         222 MEDICAL CIRCLE                                     NOT AVAILABLE
         MOREHEAD, KY 40351



3.6226   ST. CLAIRE MEDICAL CENTER, INC. D/B/A ST. CLAIRE          8/17/2018                   Opioid Matter              UNDETERMINED
         REGIONAL MEDICAL CENTER
         ATTN: PRESIDENT, CEO                                   ACCOUNT NO.:
         222 MEDICAL CIRCLE                                     NOT AVAILABLE
         MOORHEAD, KY 40351



3.6227   ST. CLAIRE MEDICAL CENTER, INC. D/B/A ST. CLAIRE          8/17/2018                   Opioid Matter              UNDETERMINED
         REGIONAL MEDICAL CENTER
         ATTN: REGISTERED AGENT, DONALD H. LLOYD, II            ACCOUNT NO.:
         222 MEDICAL CIRCLE                                     NOT AVAILABLE
         MOREHEAD, KY 40351



3.6228   ST. CROIX CHIPPEWA INDIANS OF WISCONSIN                   12/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND CHIEF EXECUTIVE OFFICER OF
         THE ST. CROIX CHIPPEWA INDIANS OF WISCONSIN            ACCOUNT NO.:
         ST. CROIX TRIBAL CENTER                                NOT AVAILABLE
         24663 ANGELINE AVENUE
         WEBSTER, WI 54893




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6229   ST. CROIX COUNTY                                        11/28/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK OF ST. CROIX COUNTY
         1101 CARMICHAEL ROAD                                  ACCOUNT NO.:
         ROOM 1400                                             NOT AVAILABLE
         HUDSON, WI 54016



3.6230   ST. CROIX COUNTY                                        11/28/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY BOARD CHAIR
         1101 CARMICHAEL ROAD                                  ACCOUNT NO.:
         HUDSON, WI 54016                                      NOT AVAILABLE



3.6231   ST. FRANCOIS COUNTY                                      6/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: CLERK FOR ST. FRANCOIS COUNTY COMMISSION
         1 WEST LIBERTY STREET                                 ACCOUNT NO.:
         ANNEX BUILDING - SUITE 301                            NOT AVAILABLE
         FARMINGTON, MO 63640



3.6232   ST. FRANCOIS COUNTY                                      6/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         1 WEST LIBERTY STREET                                 ACCOUNT NO.:
         ANNEX BUILDING - SUITE 300                            NOT AVAILABLE
         FARMINGTON, MO 63640



3.6233   ST. FRANCOIS COUNTY                                      6/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: PRESIDING COMMISSIONER
         1 WEST LIBERTY STREET                                 ACCOUNT NO.:
         ANNEX BUILDING - SUITE 301                            NOT AVAILABLE
         FARMINGTON, MO 63640



3.6234   ST. JAMES PARISH                                         9/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: PARISH PRESIDENT AND CHIEF ADMINISTRATIVE
         OFFICER                                               ACCOUNT NO.:
         ST. JAMES PARISH                                      NOT AVAILABLE
         5800 HIGHWAY 44 - SECOND FLOOR
         CONVENT, LA 70723



3.6235   ST. JOHN THE BAPTIST PARISH                              7/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: PARISH PRESIDENT AND CHIEF ADMINISTRATIVE
         OFFICER                                               ACCOUNT NO.:
         ST. JOHN PARISH ADMINISTRATION                        NOT AVAILABLE
         1801 W. AIRLINE HIGHWAY
         LAPLACE, LA 70068



3.6236   ST. JOHNS COUNTY, FLORIDA                                6/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR, VICE CHAIR AND COMMISSIONERS OF
         BOARD OF COUNTY COMMISSIONERS                         ACCOUNT NO.:
         500 SAN SEBASTIAN VIEW                                NOT AVAILABLE
         ST. AUGUSTINE, FL 32084




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6237   ST. JOSEPH COUNTY                                        4/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT, BOARD OF COMMISSIONERS, VICE-
         PRESIDENT, BOARD OF COMMISSIONERS; PRESIDENT,         ACCOUNT NO.:
         COUNTY COUNCIL, VICE-PRESIDENT, COUNTY COUNCIL;       NOT AVAILABLE
         COUNCIL ATTORNEY
         227 WEST JEFFERSON BOULEVARD
         SOUTH BEND, IN 46601



3.6238   ST. JOSEPH HOSPICE & PALLIATIVE CARE OF MONROE,          6/12/2019                   Opioid Matter              UNDETERMINED
         LLC
         ATTN: REGISTERED AGENT AND MANAGER                    ACCOUNT NO.:
         10615 JEFFERSON HIGHWAY                               NOT AVAILABLE
         BATON ROUGE, LA 70809



3.6239   ST. JOSEPH HOSPICE & PALLIATIVE CARE OF MONROE,          6/12/2019                   Opioid Matter              UNDETERMINED
         LLC
         ATTN: CHIEF EXECUTIVE OFFICER                         ACCOUNT NO.:
         1890 HUDSON CIRCLE                                    NOT AVAILABLE
         SUITE 3
         MONROE, LA 71201



3.6240   ST. JOSEPH HOSPICE & PALLIATIVE CARE-                    6/12/2019                   Opioid Matter              UNDETERMINED
         NORTHSHORE, LLC
         ATTN: REGISTERED AGENT AND MANAGER                    ACCOUNT NO.:
         10615 JEFFERSON HIGHWAY                               NOT AVAILABLE
         BATON ROUGE, LA 70809



3.6241   ST. JOSEPH HOSPICE & PALLIATIVE CARE-                    6/12/2019                   Opioid Matter              UNDETERMINED
         NORTHSHORE, LLC
         ATTN: ADMINISTRATOR                                   ACCOUNT NO.:
         19500 HELENBERG ROAD., SUITE C                        NOT AVAILABLE
         COVINGTON, LA 70433



3.6242   ST. JOSEPH HOSPICE OF ACADIANA, LLC                      6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: ADMINISTRATOR
         923 WEST PINHOOK ROAD                                 ACCOUNT NO.:
         LAYFAYETTE, LA 70503                                  NOT AVAILABLE



3.6243   ST. JOSEPH HOSPICE OF ACADIANA, LLC                      6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT AND MANAGER
         GEOFFREY MORTHLAND; PATRICK MITCHELL                  ACCOUNT NO.:
         THE CARPENTER HEALTH NETWORK - 10615 JEFFERSON        NOT AVAILABLE
         HIGHWAY
         BATON ROUGE, LA 70809



3.6244   ST. JOSEPH HOSPICE OF BAYOU REGION, LLC                  6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT; OFFICER
         10615 JEFFERSON HIGHWAY                               ACCOUNT NO.:
         BATON ROUGE, LA 70809                                 NOT AVAILABLE



3.6245   ST. JOSEPH HOSPICE OF CENLA, LLC                         6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         429 MURRAY STREET, FLOOR 6                            ACCOUNT NO.:
         ALEXANDRIA, LA 71301                                  NOT AVAILABLE



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6246   ST. JOSEPH HOSPICE OF CENLA, LLC                         6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT; OFFICER
         10615 JEFFERSON HIGHWAY                               ACCOUNT NO.:
         BATON ROUGE, LA 70809                                 NOT AVAILABLE



3.6247   ST. JOSEPH HOSPICE OF HOUSTON, LLC                       6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         2255 NORTH LOOP 336 WEST                              ACCOUNT NO.:
         SUITE A                                               NOT AVAILABLE
         CONROE, TX 77304



3.6248   ST. JOSEPH HOSPICE OF HOUSTON, LLC                       6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT; OFFICER
         10615 JEFFERSON HIGHWAY                               ACCOUNT NO.:
         BATON ROUGE, LA 70809                                 NOT AVAILABLE



3.6249   ST. JOSEPH HOSPICE OF SOUTH ALABAMA, LLC                 6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         23 MIDTOWN PARK WEST                                  ACCOUNT NO.:
         UNIT B                                                NOT AVAILABLE
         MOBILE, AL 36606



3.6250   ST. JOSEPH HOSPICE OF SOUTH ALABAMA, LLC                 6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT; MANAGER
         10615 JEFFERSON HIGHWAY                               ACCOUNT NO.:
         BATON ROUGE, LA 70809                                 NOT AVAILABLE



3.6251   ST. JOSEPH HOSPICE OF SOUTHERN MISSISSIPPI, LLC          6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         8585 ARCHIVES AVE.                                    ACCOUNT NO.:
         BATON ROUGE, LA 70809                                 NOT AVAILABLE



3.6252   ST. JOSEPH HOSPICE OF SOUTHERN MISSISSIPPI, LLC          6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT; MANAGER
         10615 JEFFERSON HIGHWAY                               ACCOUNT NO.:
         BATON ROUGE, LA 70809                                 NOT AVAILABLE



3.6253   ST. JOSEPH HOSPICE OF SOUTHERN MISSISSIPPI, LLC          6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         32 MILLBRANCH ROAD                                    ACCOUNT NO.:
         SUITE 30                                              NOT AVAILABLE
         HATTIESBURG, MS 39402



3.6254   ST. JOSEPH HOSPICE OF SOUTHWEST LOUISIANA, LLC           6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         1011 3RD AVENUE                                       ACCOUNT NO.:
         SUITE B                                               NOT AVAILABLE
         KINDER, LA 70648



3.6255   ST. JOSEPH HOSPICE OF SOUTHWEST LOUISIANA, LLC           6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         8585 ARCHIVES AVE.                                    ACCOUNT NO.:
         BATON ROUGE, LA 70809                                 NOT AVAILABLE


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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                         Claim

Litigation

3.6256   ST. JOSEPH HOSPICE OF SOUTHWEST LOUISIANA, LLC           6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         10615 JEFFERSON HIGHWAY                               ACCOUNT NO.:
         BATON ROUGE, LA 70809-7230                            NOT AVAILABLE



3.6257   ST. JOSEPH HOSPICE OF WEST MISSISSIPPI, LLC              6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         10615 JEFFERSON HIGHWAY                               ACCOUNT NO.:
         BATON ROUGE, LA 70809                                 NOT AVAILABLE



3.6258   ST. JOSEPH HOSPICE OF WEST MISSISSIPPI, LLC              6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         8585 ARCHIVES AVE.                                    ACCOUNT NO.:
         BATON ROUGE, LA 70809                                 NOT AVAILABLE



3.6259   ST. JOSEPH HOSPICE OF WEST MISSISSIPPI, LLC              6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         322 HIGHWAY 80 EAST                                   ACCOUNT NO.:
         SUITE 3                                               NOT AVAILABLE
         CLINTON, MS 39056



3.6260   ST. JOSEPH HOSPICE, LLC                                  6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: MEMBER
         ANNETTE ZUELKE                                        ACCOUNT NO.:
         1144 SOUTH RIVER ROAD                                 NOT AVAILABLE
         DENHAM SPRINGS, LA 70726



3.6261   ST. JOSEPH HOSPICE, LLC                                  6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT; MANAGER
         GEOFFREY MORTHLAND; PATRICK MITCHELL                  ACCOUNT NO.:
         THE CARPENTER HEALTH NETWORK - 10615 JEFFERSON        NOT AVAILABLE
         HIGHWAY
         BATON ROUGE, LA 70809



3.6262   ST. JOSEPH'S HOSPITAL OF BUCKHANNON, INC.                4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT AND HOSPITAL ADMINISTRATOR
         1 AMALIA DRIVE                                        ACCOUNT NO.:
         BUCKHANNON, WV 26201                                  NOT AVAILABLE



3.6263   ST. JOSEPH'S HOSPITAL OF BUCKHANNON, INC.                4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         327 MEDICAL PARK DRIVE                                ACCOUNT NO.:
         BRIDGEPORT, WV 26330                                  NOT AVAILABLE



3.6264   ST. LANDRY PARISH, LOUISIANA BY AND THROUGH ITS          9/5/2018                    Opioid Matter              UNDETERMINED
         DULY ELECTED PRESIDENT WILLIAM K. "BULL"
         FONTENOT, JR.                                         ACCOUNT NO.:
         ATTN: PRESIDENT                                       NOT AVAILABLE
         P. O. BOX 100
         OPELOUSAS, LA 70571




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6265   ST. LANDRY PARISH, LOUISIANA BY AND THROUGH ITS          9/5/2018                    Opioid Matter              UNDETERMINED
         DULY ELECTED PRESIDENT WILLIAM K. "BULL"
         FONTENOT, JR.                                         ACCOUNT NO.:
         POST OFFICE DRAWER 1550                               NOT AVAILABLE
         OPELOUSAS, LA 70571



3.6266   ST. LOUIS COUNTY                                        11/10/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         41 SOUTH CENTRAL AVENUE                               ACCOUNT NO.:
         CLAYTON, MO 63105                                     NOT AVAILABLE



3.6267   ST. LOUIS COUNTY, MN                                     3/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR
         100 N 5TH AVE W                                       ACCOUNT NO.:
         ROOM 202                                              NOT AVAILABLE
         DULUTH, MN 55802



3.6268   ST. LOUIS COUNTY, MN                                     3/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: AUDITOR'S OFFICE
         100 N. 5TH AVE. W. ROOM 214                           ACCOUNT NO.:
         DULUTH, MN 55802                                      NOT AVAILABLE



3.6269   ST. LUCIE COUNTY, FLORIDA                                6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR, VICE CHAIR AND COMMISSIONERS OF
         BOARD OF COMMISSIONERS                                ACCOUNT NO.:
         ST. LUCIE COUNTY BOCC                                 NOT AVAILABLE
         2300 VIRGINIA AVENUE
         FORT PIERCE, FL 34982



3.6270   ST. MARTIN PARISH                                        5/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: PARISH PRESIDENT AND DIRECTOR OF
         ADMINISTRATION AND GENERAL CLERK                      ACCOUNT NO.:
         PO BOX 9                                              NOT AVAILABLE
         ST. MARTINVILLE, LA 70582



3.6271   ST. MARY PARISH                                         10/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, VICE CHAIRMAN AND CLERK OF THE
         COUNCIL                                               ACCOUNT NO.:
         ST. MARY PARISH GOVERNMENT                            NOT AVAILABLE
         5TH FLOOR COURTHOUSE - 500 MAIN STREET
         FRANKLIN, LA 70538



3.6272   ST. MARY PARISH SCHOOL BOARD                            10/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: SCHOOL BOARD PRESIDENT AND DISTRICT
         SUPERINTENDENT                                        ACCOUNT NO.:
         ST. MARY PARISH SCHOOLS                               NOT AVAILABLE
         474 HWY. 317
         CENTERVILLE, LA 70522



3.6273   ST. MARY'S HOSPITAL OF TUCSON                            6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         1601 WEST ST. MARY'S ROAD                             ACCOUNT NO.:
         TUCSON, AZ 85745                                      NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:          List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip              Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                         And Account Number                         Claim

Litigation

3.6274   ST. MARY'S HOSPITAL OF TUCSON                                   6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         OFFICE OF THE SECRETARY OF STATE                             ACCOUNT NO.:
         1700 WEST WASHINGTON STREET - FLOOR 7                        NOT AVAILABLE
         PHOENIX, AZ 85007-2808



3.6275   ST. MARY'S HOSPITAL OF TUCSON                                   6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: STATUTORY AGENT
         CORPORATION SERVICE COMPANY                                  ACCOUNT NO.:
         2338 WEST ROYAL PALM ROAD - SUITE J                          NOT AVAILABLE
         PHOENIX, AZ 85021



3.6276   ST. MARY'S HOSPITAL OF TUCSON                                   6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         C T CORPORATION SYSTEM                                       ACCOUNT NO.:
         3800 NORTH CENTRAL AVENUE - SUITE 460                        NOT AVAILABLE
         PHOENIX, AZ 85012



3.6277   St. Tammany Fire Protection District No. 1                     10/26/2018                   Opioid Matter              UNDETERMINED
         Attn: Chairman Board of Commisioners and Chief of
         Administration and Fire Chief and Chief of Operations        ACCOUNT NO.:
         St. Tammany Fire Protection District #1                      NOT AVAILABLE
         Headquarters / Administration - 1358 Corporate Square
         Slidell, LA 70458



3.6278   ST. TAMMANY FIRE PROTECTION DISTRICT NO. 12                    10/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: PARISH PRESIDENT AND CHIEF BOARD OF
         COMMISSIONERS AND FIRE CHIEF AND                             ACCOUNT NO.:
         SECRETARY/TREASURER BOARD OF COMMISSIONERS                   NOT AVAILABLE
         19375 HIGHWAY 36,
         COVINGTON, LA 70433



3.6279   ST. TAMMANY FIRE PROTECTION DISTRICT NO. 13                    10/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: BOARD OF COMMISSIONERS
         13053 US-190                                                 ACCOUNT NO.:
         COVINGTON, LA 70433                                          NOT AVAILABLE



3.6280   ST. TAMMANY FIRE PROTECTION DISTRICT NO. 2                     10/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: BOARD OF COMMISSIONERS
         424 LOUISIANNA 22 W                                          ACCOUNT NO.:
         ADMINISTRATIVE OFFICE                                        NOT AVAILABLE
         MADISONVILLE, LA 70447



3.6281   ST. TAMMANY FIRE PROTECTION DISTRICT NO. 3                     10/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN BOARD OF COMMISSIONERS
         27690 MAIN STREET                                            ACCOUNT NO.:
         LACOMBE, LA 70445                                            NOT AVAILABLE



3.6282   ST. TAMMANY FIRE PROTECTION DISTRICT NO. 4                     10/26/2018                   Opioid Matter              UNDETERMINED
         MAIN OFFICE
         21490 KOOP DRIVE                                             ACCOUNT NO.:
         MANDEVILLE, LA 70471                                         NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip        Date Claim Was Incurred    C U      D    Basis For      Offset   Amount of Claim
Code                                                   And Account Number                        Claim

Litigation

3.6283   ST. TAMMANY FIRE PROTECTION DISTRICT NO. 4              10/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: FIRE CHIEF, CHAIRMAN BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         ST. TAMMANY PARISH FIRE PROTECTION DISTRICT #4        NOT AVAILABLE
         709 GIROD STREET
         MANDEVILLE, LA 70448



3.6284   ST. TAMMANY FIRE PROTECTION DISTRICT NO. 5              10/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: FIRE CHIEF
         13206 BROADWAY ST                                     ACCOUNT NO.:
         FOLSOM, LA 70437                                      NOT AVAILABLE



3.6285   ST. TAMMANY FIRE PROTECTION DISTRICT NO. 5              10/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OR CHAIRPERSON OR COUNCIL
         MEMBERS                                               ACCOUNT NO.:
         21490 KOOP DRIVE                                      NOT AVAILABLE
         MANDEVILLE, LA 70471



3.6286   ST. TAMMANY PARISH CORONER'S OFFICE                      3/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: PARISH PRESIDENT
         MAIN OFFICE                                           ACCOUNT NO.:
         21490 KOOP DRIVE                                      NOT AVAILABLE
         MANDEVILLE, LA 70471



3.6287   ST. TAMMANY PARISH CORONER'S OFFICE                      3/31/2018                   Opioid Matter              UNDETERMINED
         65278 LOUISIANA 434
         LACOMBE, LA 70445                                     ACCOUNT NO.:
                                                               NOT AVAILABLE


3.6288   ST. TAMMANY PARISH GOVERNMENT                            7/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: PARISH PRESIDENT
         MAIN OFFICE                                           ACCOUNT NO.:
         21490 KOOP DRIVE                                      NOT AVAILABLE
         MANDEVILLE, LA 70471



3.6289   ST. TAMMANY PARISH GOVERNMENT                            7/27/2018                   Opioid Matter              UNDETERMINED
         21454 KOOP DRIVE
         MANDEVILLE, LA 70471                                  ACCOUNT NO.:
                                                               NOT AVAILABLE


3.6290   ST. VINCENT CHARITY MEDICAL CENTER                       5/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: AGENT
         127 PUBLIC SQUARE                                     ACCOUNT NO.:
         SUITE 2000                                            NOT AVAILABLE
         CLEVELAND, OH 44114-1214



3.6291   STANDING ROCK SIOUX TRIBE                                2/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: TRIBAL CHAIRMAN OF THE STANDING ROCK
         SIOUX TRIBE, TRIBAL VICE CHAIRMAN OF THE STANDING     ACCOUNT NO.:
         ROCK SIOUX TRIBE                                      NOT AVAILABLE
         BUILDING # 1 STANDING ROCK AVENUE
         P.O. BOX D
         FORT YATES, ND 58538




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6292   STARK COUNTY                                             8/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: STARK COUNTY COMMISSIONERS
         PO BOX 130                                            ACCOUNT NO.:
         DICKINSON, ND 58602-0130                              NOT AVAILABLE



3.6293   STARK COUNTY, OHIO BOARD OF COUNTY                      11/14/2018                   Opioid Matter              UNDETERMINED
         COMMISSIONERS
         ATTN: BOARD OF COUNTY COMMISSIONERS                   ACCOUNT NO.:
         STARK COUNTY COMMISSIONERS                            NOT AVAILABLE
         110 CENTRAL PLAZA SOUTH - SUITE 240
         CANTON, OH 44702



3.6294   STARKE COUNTY, INDIANA                                  11/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT, BOARD OF COMMISSIONERS
         53 EAST MOUND STREET                                  ACCOUNT NO.:
         KNOX, IN 46534                                        NOT AVAILABLE



3.6295   STARKE COUNTY, INDIANA                                  11/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: CURTIS T. HILL, JR.
         STATE OF INDIANA ATTORNEY GENERAL                     ACCOUNT NO.:
         INDIANA GOVERNMENT CENTER SOUTH - 5TH FLOOR -         NOT AVAILABLE
         302 WEST WASHINGTON STREET
         INDIANAPOLIS, IN 46204



3.6296   STAT HOME HEALTH FLORIDA PANHANDLE, LLC                  6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT; MANAGER
         GEOFFREY MORTHLAND; PATRICK MITCHELL                  ACCOUNT NO.:
         THE CARPENTER HEALTH NETWORK - 10615 JEFFERSON        NOT AVAILABLE
         HIGHWAY
         BATON ROUGE, LA 70809



3.6297   STAT HOME HEALTH FLORIDA PANHANDLE, LLC                  6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         8585 ARCHIVES AVE.                                    ACCOUNT NO.:
         BATON ROUGE, LA 70809                                 NOT AVAILABLE



3.6298   STAT HOME HEALTH HOUSTON BELLAIRE, LLC                   6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         8585 ARCHIVES AVE.                                    ACCOUNT NO.:
         BATON ROUGE, LA 70809                                 NOT AVAILABLE



3.6299   STAT HOME HEALTH HOUSTON BELLAIRE, LLC                   6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT; MANAGER
         GEOFFREY MORTHLAND; PATRICK MITCHELL                  ACCOUNT NO.:
         THE CARPENTER HEALTH NETWORK - 10615 JEFFERSON        NOT AVAILABLE
         HIGHWAY
         BATON ROUGE, LA 70809



3.6300   STAT HOME HEALTH HOUSTON, LLC                            6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT; MANAGER
         GEOFFREY MORTHLAND; PATRICK MITCHELL                  ACCOUNT NO.:
         THE CARPENTER HEALTH NETWORK - 10615 JEFFERSON        NOT AVAILABLE
         HIGHWAY
         BATON ROUGE, LA 70809



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6301   STAT HOME HEALTH HOUSTON, LLC                            6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         8585 ARCHIVES AVE.                                    ACCOUNT NO.:
         BATON ROUGE, LA 70809                                 NOT AVAILABLE



3.6302   STAT HOME HEALTH OF CENARK, LLC                          6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         8585 ARCHIVES AVE.                                    ACCOUNT NO.:
         BATON ROUGE, LA 70809                                 NOT AVAILABLE



3.6303   STAT HOME HEALTH OF CENARK, LLC                          6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: MANAGER
         1410 BRADEN STREET                                    ACCOUNT NO.:
         JACKSONVILLE, AR 72076                                NOT AVAILABLE



3.6304   STAT HOME HEALTH OF CENARK, LLC                          6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT; MANAGER
         GEOFFREY MORTHLAND; PATRICK MITCHELL                  ACCOUNT NO.:
         THE CARPENTER HEALTH NETWORK - 10615 JEFFERSON        NOT AVAILABLE
         HIGHWAY
         BATON ROUGE, LA 70809



3.6305   STAT HOME HEALTH OF NORTHWEST LOUISIANA, LLC             6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         8585 ARCHIVES AVE.                                    ACCOUNT NO.:
         BATON ROUGE, LA 70809                                 NOT AVAILABLE



3.6306   STAT HOME HEALTH OF NORTHWEST LOUISIANA, LLC             6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         GEOFFREY MORTHLAND                                    ACCOUNT NO.:
         10615 JEFFERSON HIGHWAY                               NOT AVAILABLE
         BATON ROUGE, LA 70809



3.6307   STAT HOME HEALTH OF NORTHWEST LOUISIANA, LLC             6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT; MANAGER
         GEOFFREY MORTHLAND; PATRICK MITCHELL                  ACCOUNT NO.:
         THE CARPENTER HEALTH NETWORK - 10615 JEFFERSON        NOT AVAILABLE
         HIGHWAY
         BATON ROUGE, LA 70809



3.6308   STAT HOME HEALTH OF NORTHWEST LOUISIANA, LLC             6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY REBEKAH E. GEE, MD, MPH
         628 NORTH 4TH STREET                                  ACCOUNT NO.:
         BATON ROUGE, LA 70802                                 NOT AVAILABLE



3.6309   STAT HOME HEALTH OF SOUTHEAST LOUISIANA, LLC             6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         GEOFFREY MORTHLAND                                    ACCOUNT NO.:
         10615 JEFFERSON HIGHWAY                               NOT AVAILABLE
         BATON ROUGE, LA 70809




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6310   STAT HOME HEALTH OF SOUTHEAST LOUISIANA, LLC             6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT AND MANAGER
         1010 CM FAGAN DRIVE                                   ACCOUNT NO.:
         SUITE 100A                                            NOT AVAILABLE
         HAMMOND, LA 70403



3.6311   STAT HOME HEALTH OF SOUTHEAST LOUISIANA, LLC             6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT AND MANAGER
         STAT HOME HEALTH OF SOUTHEAST LOUISIANA, LLC          ACCOUNT NO.:
         THE CARPENTER HEALTH NETWORK - 10615 JEFFERSON        NOT AVAILABLE
         HIGHWAY
         BATON ROUGE, LA 70809



3.6312   STAT HOME HEALTH OF SOUTHWEST LOUISIANA, LLC             6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT AND MANAGERS
         1011 THIRD AVENUE                                     ACCOUNT NO.:
         KINDER, LA 70648                                      NOT AVAILABLE



3.6313   STAT HOME HEALTH OF SOUTHWEST LOUISIANA, LLC             6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         GEOFFREY MORTHLAND                                    ACCOUNT NO.:
         10615 JEFFERSON HIGHWAY                               NOT AVAILABLE
         BATON ROUGE, LA 70809



3.6314   STAT HOME HEALTH OF SOUTHWEST LOUISIANA, LLC             6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT AND MANAGERS
         10615 JEFFERSON HIGHWAY                               ACCOUNT NO.:
         BATON ROUGE, LA 70809                                 NOT AVAILABLE



3.6315   STAT HOME HEALTH, LLC                                    6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT AND MANAGERS
         10615 JEFFERSON HIGHWAY                               ACCOUNT NO.:
         BATON ROUGE, LA 70809                                 NOT AVAILABLE



3.6316   STAT HOME HEALTH-NORTH, LLC                              6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         C/O GEOFFREY MORTHLAND                                ACCOUNT NO.:
         10615 JEFFERSON HIGHWAY                               NOT AVAILABLE
         BATON ROUGE, LA 70809



3.6317   STAT HOME HEALTH-NORTH, LLC                              6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT AND MANAGERS
         1913 STUBBS AVENUE                                    ACCOUNT NO.:
         MONROE, LA 71201                                      NOT AVAILABLE



3.6318   STAT HOME HEALTH-NORTH, LLC                              6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: MANAGER
         700 MAIN STREET                                       ACCOUNT NO.:
         MINDEN, LA 71055                                      NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                          Claim

Litigation

3.6319   STAT HOME HEALTH-NORTH, LLC                               6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT AND MANAGER
         10615 JEFFERSON HIGHWAY                                ACCOUNT NO.:
         BATON ROUGE, LA 70809                                  NOT AVAILABLE



3.6320   STATE OF ALABAMA                                          2/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                      ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                  NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.6321   STATE OF ALASKA                                          10/30/2017                   Opioid Matter              UNDETERMINED
         ATTN: KEVIN G. CLARKSON
         STATE OF ALASKA ATTORNEY GENERAL                       ACCOUNT NO.:
         1031 W. 4TH AVENUE, SUITE 200                          NOT AVAILABLE
         ANCHORAGE, AK 99501-1994



3.6322   STATE OF ARIZONA                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         TRAVIS LENKNER
         KELLER LENKNER LLC                                     ACCOUNT NO.:
         150 NORTH RIVERSIDE PLAZA - SUITE 4270                 NOT AVAILABLE
         CHICAGO, IL 60606



3.6323   STATE OF ARIZONA                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: ASHLEY C. KELLER
         KELLER LENKNER LLC                                     ACCOUNT NO.:
         150 NORTH RIVERSIDE PLAZA - SUITE 2750                 NOT AVAILABLE
         CHICAGO, IL 60606



3.6324   STATE OF ARIZONA                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: WILLIAM S. CONSOVOY
         CONSOVOY MCCARTHY PLLC                                 ACCOUNT NO.:
         1600 WILSON BOULEVARD - SUITE 700                      NOT AVAILABLE
         ARLINGTON, VA 22209



3.6325   STATE OF ARIZONA                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         REBECCA EGGLESTON
         OFFICE OF THE ARIZONA ATTORNEY GENERAL                 ACCOUNT NO.:
         2005 NORTH CENTRAL AVENUE                              NOT AVAILABLE
         PHOENIX, AZ 85004



3.6326   STATE OF ARIZONA                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         MARK BRNOVICH
         OFFICE OF THE ARIZONA ATTORNEY GENERAL                 ACCOUNT NO.:
         ATTORNEY GENERAL - 2005 NORTH CENTRAL AVENUE           NOT AVAILABLE
         PHOENIX, AZ 85004



3.6327   STATE OF ARIZONA                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MARK BRNOVICH
         STATE OF ARIZONA ATTORNEY GENERAL                      ACCOUNT NO.:
         2005 N. CENTRAL AVE.                                   NOT AVAILABLE
         PHOENIX, AZ 85004




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Code                                                 And Account Number                          Claim

Litigation

3.6328   STATE OF ARIZONA, EX REL. MARK BRNOVICH,                UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         ATTN: MARK BRNOVICH                                   ACCOUNT NO.:
         STATE OF ARIZONA ATTORNEY GENERAL                     NOT AVAILABLE
         2005 N. CENTRAL AVENUE
         PHOENIX, AZ 85004



3.6329   STATE OF ARKANSAS, EX REL. LESLIE RUTLEDGE               3/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: LESLIE RUTLEDGE
         STATE OF ARKANSAS ATTORNEY GENERAL                    ACCOUNT NO.:
         323 CENTER ST., SUITE 200                             NOT AVAILABLE
         LITTLE ROCK, AR 72201-2610



3.6330   STATE OF ARKANSAS, EX REL. LESLIE RUTLEDGE,              3/29/2018                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         JAY WARD                                              ACCOUNT NO.:
         MCGOWN, HOOD & FELDER, LLC                            NOT AVAILABLE
         321 WINGO WAY, SUITE 103
         MT. PLEASANT, SC 29464



3.6331   STATE OF ARKANSAS, EX REL. LESLIE RUTLEDGE,              3/29/2018                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         JONATHAN COMPRETTA                                    ACCOUNT NO.:
         MIKE MOORE LAW FIRM, LLC                              NOT AVAILABLE
         P.O. BOX 321048
         FLOWOOD, MS 39232



3.6332   STATE OF ARKANSAS, EX REL. LESLIE RUTLEDGE,              3/29/2018                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         MIKE MOORE                                            ACCOUNT NO.:
         MIKE MOORE LAW FIRM, LLC                              NOT AVAILABLE
         P.O. BOX 321048
         FLOWOOD, MS 39232



3.6333   STATE OF ARKANSAS, EX REL. LESLIE RUTLEDGE,              3/29/2018                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         ATTN: MICHAEL G. SMITH                                ACCOUNT NO.:
         DOVER DIXON HORNE, PLLC                               NOT AVAILABLE
         425 W. CAPITOL AVENUE, SUITE 3700
         LITTLE ROCK, AK 72201



3.6334   STATE OF ARKANSAS, EX REL. LESLIE RUTLEDGE,              3/29/2018                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         JOHN L. DAVIDSON                                      ACCOUNT NO.:
         DAVIDSON BOWIE PLLC                                   NOT AVAILABLE
         2506 LAKELAND DRIVE - SUITE 501
         FLOWOOD, MI 39232



3.6335   STATE OF ARKANSAS, EX REL. LESLIE RUTLEDGE,              3/29/2018                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         BEN HARRINGTON                                        ACCOUNT NO.:
         HAGENS BERMAN SOBOL SHAPIRO LLP                       NOT AVAILABLE
         715 HEARST AVENUE - SUITE 202
         BERKELEY, CA 94710




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Code                                                 And Account Number                          Claim

Litigation

3.6336   STATE OF ARKANSAS, EX REL. LESLIE RUTLEDGE,              3/29/2018                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         JENNIFER FOUNTAIN CONNOLLY                            ACCOUNT NO.:
         HAGENS BERMAN SOBOL SHAPIRO LLP                       NOT AVAILABLE
         1701 PENNSYLVANIA AVENUE NORTHWEST - SUITE 200
         WASHINGTON, DC 20006



3.6337   STATE OF ARKANSAS, EX REL. LESLIE RUTLEDGE,              3/29/2018                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         ATTN: STEVE W. BERRMAN                                ACCOUNT NO.:
         HAGENS BERMAN SOBOL SHAPIRO LLP                       NOT AVAILABLE
         1918 EIGHTH AVENUE - SUITE 3300
         SEATTLE, WA 98101



3.6338   STATE OF ARKANSAS, EX REL. LESLIE RUTLEDGE,              3/29/2018                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         ATTN: GARY B. ROGERS                                  ACCOUNT NO.:
         DOVER DIXON HORNE, PLLC                               NOT AVAILABLE
         425 WEST CAPITOL AVENUE - SUITE 3700
         LITTLE ROCK, AR 72201



3.6339   STATE OF ARKANSAS, EX REL. SCOTT ELLINGTON               3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: LESLIE RUTLEDGE
         STATE OF ARKANSAS ATTORNEY GENERAL                    ACCOUNT NO.:
         323 CENTER ST., SUITE 200                             NOT AVAILABLE
         LITTLE ROCK, AR 72201-2610



3.6340   STATE OF ARKANSAS, EX REL. SCOTT ELLINGTON               3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: BRIAN D. REDDICK
         REDDICK MOSS, PLLC                                    ACCOUNT NO.:
         ONE INFORMATION WAY - SUITE 105                       NOT AVAILABLE
         LITTLE ROCK, AR 72202



3.6341   STATE OF ARKANSAS, EX REL. SCOTT ELLINGTON               3/15/2018                   Opioid Matter              UNDETERMINED
         JAMES C. WYLY
         WYLY-ROMMEL, PLLC                                     ACCOUNT NO.:
         4004 TEXAS BOULEVARD                                  NOT AVAILABLE
         TEXARKANA, TX 75503



3.6342   STATE OF ARKANSAS, EX REL. SCOTT ELLINGTON               3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: SEAN F. ROMMEL
         WYLY-ROMMEL, PLLC                                     ACCOUNT NO.:
         4004 TEXAS BOULEVARD                                  NOT AVAILABLE
         TEXARKANA, TX 75503



3.6343   STATE OF ARKANSAS, EX REL. SCOTT ELLINGTON               3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COLIN JORGENSEN
         ASSOCIATION OF ARKANSAS COUNTIES                      ACCOUNT NO.:
         1415 WEST THIRD STREET                                NOT AVAILABLE
         LITTLE ROCK, AR 72201




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6344   STATE OF ARKANSAS, EX REL. SCOTT ELLINGTON               3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: MIKE RAINWATER
         RAINWATER HOLT & SEXTON                               ACCOUNT NO.:
         801 TECHNOLOGY DRIVE                                  NOT AVAILABLE
         LITTLE ROCK, AR 72223



3.6345   STATE OF ARKANSAS, EX REL. SCOTT ELLINGTON               3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: HIRLYE R. LUTZ, III
         CORY WATSON, P.C.                                     ACCOUNT NO.:
         2131 MAGNOLIA AVENUE SOUTH                            NOT AVAILABLE
         BIRMINGHAM, AL 35205



3.6346   STATE OF ARKANSAS, EX REL. SCOTT ELLINGTON               3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: RALPH C. OHM
         P.O. BOX 1558                                         ACCOUNT NO.:
         HOT SPRINGS, AK 71902                                 NOT AVAILABLE



3.6347   STATE OF ARKANSAS, EX REL. SCOTT ELLINGTON               3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: SCOTT RICHARDSON
         MCDANIEL, RICHARDSON & CALHOUN                        ACCOUNT NO.:
         1020 W. FOURTH STREET, SUITE 410                      NOT AVAILABLE
         LITTLE ROCK, AK 72201



3.6348   STATE OF ARKANSAS, EX REL. SCOTT ELLINGTON               3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: BRETT C. THOMPSON
         CORY WATSON, P.C.                                     ACCOUNT NO.:
         2131 MAGNOLIA AVENUE SOUTH                            NOT AVAILABLE
         BIRMINGHAM, AL 35205



3.6349   STATE OF ARKANSAS, EX REL. SCOTT ELLINGTON               3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: ERNEST CORY
         CORY WATSON, P.C.                                     ACCOUNT NO.:
         2131 MAGNOLIA AVENUE SOUTH                            NOT AVAILABLE
         BIRMINGHAM, AL 35205



3.6350   STATE OF ARKANSAS, EX REL. SCOTT ELLINGTON               3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: ADAM W. PITTMAN
         CORY WATSON, P.C.                                     ACCOUNT NO.:
         2131 MAGNOLIA AVENUE SOUTH                            NOT AVAILABLE
         BIRMINGHAM, AL 35205



3.6351   STATE OF ARKANSAS, EX REL. SCOTT ELLINGTON               3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: MARK R. HAYES
         ARKANSAS MUNICIPAL LEAGUE                             ACCOUNT NO.:
         POST OFFICE BOX 38                                    NOT AVAILABLE
         NORTH LITTLE ROCK, AR 72115



3.6352   STATE OF ARKANSAS, EX REL. SCOTT ELLINGTON               3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: F. JEROME TAPLEY
         CORY WATSON, P.C.                                     ACCOUNT NO.:
         2131 MAGNOLIA AVENUE SOUTH                            NOT AVAILABLE
         BIRMINGHAM, AL 35205




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Creditor's Name, Mailing Address Including Zip        Date Claim Was Incurred    C U      D    Basis For      Offset   Amount of Claim
Code                                                   And Account Number                        Claim

Litigation

3.6353   STATE OF ARKANSAS, EX REL. SCOTT ELLINGTON               3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: JOHN L. WILKERSON
         ARKANSAS MUNICIPAL LEAGUE                             ACCOUNT NO.:
         POST OFFICE BOX 38                                    NOT AVAILABLE
         NORTH LITTLE ROCK, AR 72115



3.6354   STATE OF CONNECTICUT                                    12/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: WILLIAM TONG
         STATE OF CONNECTICUT ATTORNEY GENERAL                 ACCOUNT NO.:
         55 ELM ST.                                            NOT AVAILABLE
         HARTFORD, CT 06106



3.6355   STATE OF CONNECTICUT                                    12/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE CLAIMS COMMISSIONER
         450 COLUMBUS BOULEVARD TOWER                          ACCOUNT NO.:
         SUITE 203                                             NOT AVAILABLE
         HARTFORD, CT 06103



3.6356   STATE OF CONNECTICUT                                    12/20/2018                   Opioid Matter              UNDETERMINED
         JEREMY LAWRENCE PEARLMAN
         AG-PRIVACY/DATA SECURITY                              ACCOUNT NO.:
         110 SHERMAN STREET                                    NOT AVAILABLE
         HARTFORD, CT 06105



3.6357   STATE OF DELAWARE, EX REL. MATTHEW P. DENN               1/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: ATTORNEY GENERAL
         DELAWARE DEPARTMENT OF JUSTICE                        ACCOUNT NO.:
         CARVEL STATE BUILDING - 820 N. FRENCH STREET          NOT AVAILABLE
         WILMINGTON, DE 19801



3.6358   STATE OF DELAWARE, EX REL. MATTHEW P. DENN               1/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: KATHY JENNINGS
         STATE OF DELAWARE ATTORNEY GENERAL                    ACCOUNT NO.:
         CARVEL STATE OFFICE BLDG. - 820 N. FRENCH ST.         NOT AVAILABLE
         WILMINGTON, DE 19801



3.6359   STATE OF FLORIDA, OFFICE OF THE ATTORNEY                 5/15/2018                   Opioid Matter              UNDETERMINED
         GENERAL, DEPARTMENT OF LEGAL AFFAIRS
         ATTN: ASHLEY MOODY                                    ACCOUNT NO.:
         STATE OF FLORIDA ATTORNEY GENERAL                     NOT AVAILABLE
         THE CAPITOL, PL 01
         TALLAHASSEE, FL 32399-1050



3.6360   STATE OF GEORGIA                                         1/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE ATTORNEY GENERAL
         40 CAPITOL SQUARE SW                                  ACCOUNT NO.:
         ATLANTA, GA 30334                                     NOT AVAILABLE



3.6361   STATE OF HAWAII, EX REL. CLARE E. CONNORS,               6/3/2019                    Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         ATTN: CLARE E. CONNORS                                ACCOUNT NO.:
         STATE OF HAWAII ATTORNEY GENERAL                      NOT AVAILABLE
         425 QUEEN ST.
         HONOLULU, HI 96813



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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                          Claim

Litigation

3.6362   STATE OF IDAHO, THROUGH ATTORNEY GENERAL                  6/3/2019                    Opioid Matter              UNDETERMINED
         LAWRENCE G. WASDEN VS. PURDUE
         ATTN: LAWRENCE WASDEN                                  ACCOUNT NO.:
         STATE OF IDAHO ATTORNEY GENERAL                        NOT AVAILABLE
         700 W. JEFFERSON STREET, SUITE 210 - P.O. BOX 83720
         BOISE, ID 83720-1000



3.6363   STATE OF ILLINOIS                                         6/9/2017                    Opioid Matter              UNDETERMINED
         ATTN: KWAME RAOUL
         STATE OF ILLINOIS ATTORNEY GENERAL                     ACCOUNT NO.:
         JAMES R. THOMPSON CTR. - 100 W. RANDOLPH ST.           NOT AVAILABLE
         CHICAGO, IL 60601



3.6364   STATE OF ILLINOIS                                         6/9/2017                    Opioid Matter              UNDETERMINED
         ATTN: ILLINOIS COURT OF CLAIMS
         630 S. COLLEGE ST.                                     ACCOUNT NO.:
         SPRINGFIELD, IL 62756                                  NOT AVAILABLE



3.6365   STATE OF ILLINOIS                                         6/9/2017                    Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         OFFICE OF THE SECRETARY OF STATE                       ACCOUNT NO.:
         213 STATE CAPITOL                                      NOT AVAILABLE
         SPRINGFIELD, IL 62756



3.6366   STATE OF INDIANA                                          5/21/2019                   Opioid Matter              UNDETERMINED
         ATTN: GOVERNOR
         OFFICE OF THE GOVERNOR                                 ACCOUNT NO.:
         STATE HOUSE, ROOM 206 - 200 W. WASHINGTON STREET       NOT AVAILABLE
         INDIANAPOLIS, IN 46204-2797



3.6367   STATE OF INDIANA                                          5/21/2019                   Opioid Matter              UNDETERMINED
         ATTN: CURTIS T. HILL, JR.
         STATE OF INDIANA ATTORNEY GENERAL                      ACCOUNT NO.:
         INDIANA GOVERNMENT CENTER SOUTH - 5TH FLOOR -          NOT AVAILABLE
         302 WEST WASHINGTON STREET
         INDIANAPOLIS, IN 46204



3.6368   STATE OF INDIANA                                         11/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: GOVERNOR
         200 W. WASHINGTON STREET                               ACCOUNT NO.:
         ROOM 206                                               NOT AVAILABLE
         INDIANAPOLIS, IN 46204



3.6369   STATE OF INDIANA                                         11/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: CURTIS T. HILL, JR.
         STATE OF INDIANA ATTORNEY GENERAL                      ACCOUNT NO.:
         INDIANA GOVERNMENT CENTER SOUTH - 5TH FLOOR -          NOT AVAILABLE
         302 WEST WASHINGTON STREET
         INDIANAPOLIS, IN 46204



3.6370   STATE OF INDIANA                                          5/21/2019                   Opioid Matter              UNDETERMINED
         MAYA SEQUEIRA
         1100 NEW YORK AVENUE NORTHWEST                         ACCOUNT NO.:
         SUITE 500                                              NOT AVAILABLE
         WASHINGTON, DC 20005


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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6371   STATE OF INDIANA                                         5/21/2019                   Opioid Matter              UNDETERMINED
         CORY C. VOIGHT
         302 WEST WASHINGTON STREET                            ACCOUNT NO.:
         INDIANAPOLIS, IN 46204                                NOT AVAILABLE



3.6372   STATE OF INDIANA                                         5/21/2019                   Opioid Matter              UNDETERMINED
         JUNE P. HOIDAL
         1100 IDS CENTER                                       ACCOUNT NO.:
         80 SOUTH 8TH STREET                                   NOT AVAILABLE
         MINNEAPOLIS, MN 55402



3.6373   STATE OF INDIANA                                         5/21/2019                   Opioid Matter              UNDETERMINED
         CORINNE TERESE WELCH GILCHRIST
         OFFICE OF THE ATTORNEY GENERAL                        ACCOUNT NO.:
         302 WEST WASHINGTON STREET - IGCS-5TH FLOOR           NOT AVAILABLE
         INDIANAPOLIS, IN 46204



3.6374   STATE OF INDIANA                                         5/21/2019                   Opioid Matter              UNDETERMINED
         CURTIS THEOPHILUS HILL
         INDIANA ATTORNEY GENERAL'S OFFICE                     ACCOUNT NO.:
         302 WEST WASHINGTON STREET - IGCS-5TH FLOOR           NOT AVAILABLE
         INDIANAPOLIS, IN 46204



3.6375   STATE OF INDIANA                                         5/21/2019                   Opioid Matter              UNDETERMINED
         ATTN: AMANDA JANE GALLAGHER
         INDIANA ATTORNEY GENERAL'S OFFICE                     ACCOUNT NO.:
         302 WEST WASHINGTON STREET                            NOT AVAILABLE
         INDIANAPOLIS, IN 46204



3.6376   STATE OF INDIANA                                         5/21/2019                   Opioid Matter              UNDETERMINED
         CAROLYN G. ANDERSON
         1100 IDS CENTER                                       ACCOUNT NO.:
         80 SOUTH 8TH STREET                                   NOT AVAILABLE
         MINNEAPOLIS, MN 55402



3.6377   STATE OF INDIANA                                         5/21/2019                   Opioid Matter              UNDETERMINED
         BETSY A. MILLER
         1100 NEW YORK AVENUE NORTHWEST                        ACCOUNT NO.:
         SUITE 500 WEST TOWER                                  NOT AVAILABLE
         WASHINGTON, DC 20005



3.6378   STATE OF INDIANA                                         5/21/2019                   Opioid Matter              UNDETERMINED
         BEHDAD C. SADEGHI
         1100 IDS CENTER                                       ACCOUNT NO.:
         80 SOUTH 8TH STREET                                   NOT AVAILABLE
         MINNEAPOLIS, MN 55402



3.6379   STATE OF INDIANA                                         5/21/2019                   Opioid Matter              UNDETERMINED
         IAN F. MCFARLAND
         OFFICE OF THE ATTORNEY GENERAL                        ACCOUNT NO.:
         1100 IDS CENTER - 80 SOUTH 8TH STREET                 NOT AVAILABLE
         MINNEAPOLIS, MN 55402




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Creditor's Name, Mailing Address Including Zip         Date Claim Was Incurred   C U      D    Basis For      Offset   Amount of Claim
Code                                                    And Account Number                       Claim

Litigation

3.6380   STATE OF INDIANA                                          5/21/2019                  Opioid Matter              UNDETERMINED
         VICTORIA S. NUGENT
         1100 NEW YORK AVENUE NORTHWEST                         ACCOUNT NO.:
         SUITE 500                                              NOT AVAILABLE
         WASHINGTON, DC 20005



3.6381   STATE OF INDIANA                                          5/21/2019                  Opioid Matter              UNDETERMINED
         SCOTT LEROY BARNHART
         302 WEST WASHINGTON STREET                             ACCOUNT NO.:
         INDIANAPOLIS, IN 46204                                 NOT AVAILABLE



3.6382   STATE OF IOWA, THOMAS J. MILLER, ATTORNEY                UNKNOWN                     Opioid Matter              UNDETERMINED
         GENERAL OF IOWA
         ATTN: ATTORNEY GENERAL OF THE STATE OF IOWA            ACCOUNT NO.:
         OFFICE OF THE ATTORNEY GENERAL OF IOWA                 NOT AVAILABLE
         HOOVER STATE OFFICE BUILDING - 1305 EAST WALNUT
         STREET
         DES MOINES, IA 50319



3.6383   STATE OF KANSAS, EX REL. DEREK SCHMIDT,                   5/16/2019                  Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         ATTN: DEREK SCHMIDT                                    ACCOUNT NO.:
         STATE OF KANSAS ATTORNEY GENERAL                       NOT AVAILABLE
         120 S.W. 10TH AVENUE, 2ND FL.
         TOPEKA, KS 66612-1597



3.6384   STATE OF LA F/K/A LOUISIANA DEPT. OF HEALTH               9/20/2017                  Opioid Matter              UNDETERMINED
         ATTN: JEFF LANDRY
         STATE OF LOUISIANA ATTORNEY GENERAL                    ACCOUNT NO.:
         P.O. BOX 94095                                         NOT AVAILABLE
         BATON ROUGE, LA 70804-4095



3.6385   STATE OF LA F/K/A LOUISIANA DEPT. OF HEALTH               9/20/2017                  Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF THE LOUISIANA DEPARTMENT OF
         HEALTH                                                 ACCOUNT NO.:
         LOUISIANA DEPARTMENT OF HEALTH                         NOT AVAILABLE
         P.O. BOX 629
         BATON ROUGE, LA 70821-0629



3.6386   STATE OF MAINE                                            6/3/2019                   Opioid Matter              UNDETERMINED
         ATTN: AARON FREY
         STATE OF MAINE ATTORNEY GENERAL                        ACCOUNT NO.:
         STATE HOUSE STATION 6                                  NOT AVAILABLE
         AUGUSTA, ME 04333



3.6387   STATE OF MAINE                                            1/18/2019                  Opioid Matter              UNDETERMINED
         ATTN: ADAM R. LEE
         TRAFTON, MATZEN, BELLEAU & FRENETTE, LLP               ACCOUNT NO.:
         P.O. BOX 470 - 10 MINOT AVENUE                         NOT AVAILABLE
         AUBURN, ME 04212-0470




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Code                                                  And Account Number                          Claim

Litigation

3.6388   STATE OF MAINE                                            1/18/2019                   Opioid Matter              UNDETERMINED
         JAMES E. BELLEAU
         TRAFTON, MATZEN, BELLEAU & FRENETTE, LLP               ACCOUNT NO.:
         P.O. BOX 470 - 10 MINOT AVENUE                         NOT AVAILABLE
         AUBURN, ME 04212-0470



3.6389   STATE OF MINNESOTA BY ITS ATTORNEY GENERAL,               7/2/2018                    Opioid Matter              UNDETERMINED
         LORI SWANSON
         ATTN: KEITH ELLISON                                    ACCOUNT NO.:
         STATE OF MINNESOTA ATTORNEY GENERAL                    NOT AVAILABLE
         SUITE 102, STATE CAPITAL - 75 DR. MARTIN LUTHER
         KING, JR. BLVD.
         SAINT PAUL, MN 55155



3.6390   STATE OF MISSISSIPPI                                     12/15/2015                   Opioid Matter              UNDETERMINED
         ATTN: JIM HOOD
         STATE OF MISSISSIPPI ATTORNEY GENERAL                  ACCOUNT NO.:
         DEPARTMENT OF JUSTICE - P.O. BOX 220                   NOT AVAILABLE
         JACKSON, MS 39205



3.6391   STATE OF MISSOURI, EX REL. ERIC SCHMITT, IN HIS           6/21/2017                   Opioid Matter              UNDETERMINED
         OFFICIAL CAPACITY AS MISSOURI ATTORNEY GENERAL
         ATTN: ERIC SCHMITT                                     ACCOUNT NO.:
         STATE OF MISSOURI ATTORNEY GENERAL                     NOT AVAILABLE
         SUPREME CT. BLDG. - 207 W. HIGH ST.
         JEFFERSON CITY, MO 65101



3.6392   STATE OF MONTANA                                         11/30/2017                   Opioid Matter              UNDETERMINED
         ATTN: TIM FOX
         STATE OF MONTANA ATTORNEY GENERAL                      ACCOUNT NO.:
         JUSTICE BLDG. - 215 N. SANDERS                         NOT AVAILABLE
         HELENA, MT 59620-1401



3.6393   STATE OF MONTANA                                         11/30/2017                   Opioid Matter              UNDETERMINED
         TIMOTHY C. FOX
         MONTANA ATTORNEY GENERAL                               ACCOUNT NO.:
         P.O. BOX 201401 - 215 NORTH SANDERS                    NOT AVAILABLE
         HELENA, MT 59620-1401



3.6394   STATE OF MONTANA                                         11/30/2017                   Opioid Matter              UNDETERMINED
         MARK W. MATTIOLI
         OFFICE OF THE MONTANA ATTORNEY GENERAL                 ACCOUNT NO.:
         P.O. BOX 201401 - 215 NORTH SANDERS                    NOT AVAILABLE
         HELENA, MT 59620-1401



3.6395   STATE OF MONTANA                                         11/30/2017                   Opioid Matter              UNDETERMINED
         CHARLES ROBERT MUNSON
         MONTANA DEPARTMENT OF JUSTICE                          ACCOUNT NO.:
         P.O. BOX 201401 - 215 NORTH SANDERS                    NOT AVAILABLE
         HELENA, MT 59620-1401




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Code                                                  And Account Number                          Claim

Litigation

3.6396   STATE OF MONTANA                                         11/30/2017                   Opioid Matter              UNDETERMINED
         MATTHEW T. COCHENOUR
         MONTANA ATTORNEY GENERAL                               ACCOUNT NO.:
         P.O. BOX 201401 - 215 NORTH SANDERS                    NOT AVAILABLE
         HELENA, MT 59620-1401



3.6397   STATE OF MONTANA                                         11/30/2017                   Opioid Matter              UNDETERMINED
         KELLEY L. HUBBARD
         MONTANA ATTORNEY GENERAL                               ACCOUNT NO.:
         P.O. BOX 201401 - 215 NORTH SANDERS                    NOT AVAILABLE
         HELENA, MT 59620-1401



3.6398   STATE OF MONTANA                                         11/30/2017                   Opioid Matter              UNDETERMINED
         ATTN: WILLIAM A. ROSSBACH
         ROSSBACH LAW, P.C.                                     ACCOUNT NO.:
         401 NORTH WASHINGTON STREET - P.O. BOX 8988            NOT AVAILABLE
         MISSOULA, MT 59807



3.6399   STATE OF MONTANA                                         11/30/2017                   Opioid Matter              UNDETERMINED
         DALE M. SCHOWENGERDT
         MONTANA DEPARTMENT OF JUSTICE                          ACCOUNT NO.:
         P.O. BOX 201401 - 215 NORTH SANDERS                    NOT AVAILABLE
         HELENA, MT 59620-1401



3.6400   STATE OF NEVADA                                           6/17/2019                   Opioid Matter              UNDETERMINED
         ATTN: AARON FORD
         STATE OF NEVADA ATTORNEY GENERAL                       ACCOUNT NO.:
         OLD SUPREME CT. BLDG. - 100 N. CARSON ST.              NOT AVAILABLE
         CARSON CITY, NV 89701



3.6401   STATE OF NEVADA                                           5/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: GOVERNOR AND ATTORNEY GENERAL
         STATE CAPITOL BUILDING                                 ACCOUNT NO.:
         101 NORTH CARSON STREET                                NOT AVAILABLE
         CARSON CITY, NV 89701



3.6402   STATE OF NEVADA                                           5/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: DIRECTOR OF DEPARTMENT OF ADMINISTRATION
         515 EAST MUSSER STREET                                 ACCOUNT NO.:
         THIRD FLOOR                                            NOT AVAILABLE
         CARSON CITY, NV 89707



3.6403   STATE OF NEVADA                                           5/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: AARON FORD
         STATE OF NEVADA ATTORNEY GENERAL                       ACCOUNT NO.:
         OLD SUPREME CT. BLDG. - 100 N. CARSON ST.              NOT AVAILABLE
         CARSON CITY, NV 89701



3.6404   STATE OF NEW HAMPSHIRE                                    8/8/2017                    Opioid Matter              UNDETERMINED
         ATTN: GORDON MACDONALD
         STATE OF NEW HAMPSHIRE ATTORNEY GENERAL                ACCOUNT NO.:
         33 CAPITOL STREET                                      NOT AVAILABLE
         CONCORD, NH 03301-0000




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Code                                                 And Account Number                          Claim

Litigation

3.6405   STATE OF NEW HAMPSHIRE                                   8/8/2017                    Opioid Matter              UNDETERMINED
         LINDA J. SINGER, ESQ
         MOTLEY RICE LLC                                       ACCOUNT NO.:
         401 9TH STREET NORTHWEST                              NOT AVAILABLE
         WASHINGTON, DC 20004



3.6406   STATE OF NEW HAMPSHIRE                                   8/8/2017                    Opioid Matter              UNDETERMINED
         JAMES T. BOFFETTI, ESQ
         SENIOR ASSISTANT ATTORNEY GENERALCHIEF,               ACCOUNT NO.:
         CONSUMER PROTECTION AND ANTITRUST BUREAU              NOT AVAILABLE
         DEPARTMENT OF JUSTICE - 33 CAPITOL STREET
         CONCORD, NH 03301



3.6407   STATE OF NEW MEXICO, EX REL., HECTOR BALDERAS,           9/7/2017                    Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         ATTN: HECTOR BALDERAS                                 ACCOUNT NO.:
         STATE OF NEW MEXICO ATTORNEY GENERAL                  NOT AVAILABLE
         P.O. DRAWER 1508
         SANTA FE, NM 87504-1508



3.6408   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: SARAH S. BURNS
         SARAH S. BURNS                                        ACCOUNT NO.:
         SIMMONS HANLY CONROY LLC - ONE COURT STREET           NOT AVAILABLE
         ALTON, IL 62002



3.6409   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: ANDREA BIERSTEIN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.6410   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         COUNTY OF MONROE, MONROE COUNTY LAW                   ACCOUNT NO.:
         DEPARTMENT                                            NOT AVAILABLE
         307 COUNTY OFFICE BUILDING - 39 WEST MAIN STREET
         ROCHESTER, NY 14614



3.6411   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: JAYNE CONROY
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE - 7TH FLOOR                        NOT AVAILABLE
         NEW YORK, NY 10016



3.6412   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: STUART D. BAKER, ESQ.
         STUART D. BAKER ESQ.                                  ACCOUNT NO.:
         NORTON ROSE FULBRIGHT US LLP - 1301 AVENUE OF         NOT AVAILABLE
         THE AMERICAS
         NEW YORK, NY 10019-6022




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6413   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: SARAH S. BURNS
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002



3.6414   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: PAUL J. NAPOLI
         400 BROADHOLLOW ROAD                                  ACCOUNT NO.:
         SUITE 305                                             NOT AVAILABLE
         MELVILLE, NY 11747



3.6415   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: SALVATORE C. BADALA
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.6416   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: JAYNE CONROY
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE - 7TH FLOOR                        NOT AVAILABLE
         NEW YORK, NY 10016



3.6417   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: SHAYNA E. SACKS
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.6418   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: HUNTER SHKOLNIK
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.6419   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: JOSEPH L. CIACCIO
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.6420   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: PAUL B. MASLO
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.6421   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: LISA M. SALTZBURG
         MOTLEY RICE LLC                                       ACCOUNT NO.:
         28 BRIDGESIDE BOULEVARD                               NOT AVAILABLE
         MOUNT PLEASANT, SC 29464




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6422   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: PAUL J. NAPOLI
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - ELEVENTH FLOOR                 NOT AVAILABLE
         NEW YORK, NY 10017



3.6423   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CARNELL T. FOSKEY, COUNTY ATTORNEY
         NASSAU COUNTY ATTORNEY'S OFFICE                       ACCOUNT NO.:
         1 WEST STREET                                         NOT AVAILABLE
         MINEOLA, NY 11501



3.6424   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: ALPA J. SANGHVI, DEPUTY COUNTY ATTORNEY
         NASSAU COUNTY ATTORNEY'S OFFICE                       ACCOUNT NO.:
         1 WEST STREET                                         NOT AVAILABLE
         MINEOLA, NY 11501



3.6425   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: PAUL J. HANLY, JR.
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE - 7TH FLOOR                        NOT AVAILABLE
         NEW YORK, NY 10016



3.6426   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: MEGHAN M. MANION, MONTGOMERY COUNTY
         ATTORNEY                                              ACCOUNT NO.:
         COUNTY ANNEX BUILDING                                 NOT AVAILABLE
         P.O. BOX 1500 -- 20 PARK STREET
         FONDA, NY 12068



3.6427   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: JAMES M. FEDORCHAK, COUNTY ATTORNEY
         DUTCHESS COUNTY ATTORNEY                              ACCOUNT NO.:
         22 MARKET STREET                                      NOT AVAILABLE
         POUGHKEEPSIE, NY 12601



3.6428   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEPHEN D. BUTTON, COUNTY ATTORNEY
         STEPHEN D. BUTTON, COUNTY ATTORNEY                    ACCOUNT NO.:
         48 COURT STREET                                       NOT AVAILABLE
         CANTON, NY 13617



3.6429   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHERYL MCCAUSLAND, COUNTY ATTORNEY
         SULLIVAN COUNTY GOVERNMENT CENTER                     ACCOUNT NO.:
         100 NORTH STREET - PO BOX 5012                        NOT AVAILABLE
         MONTICELLO, NY 12701-5012



3.6430   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: LANGDON C. CHAPMAN, ORANGE COUNTY
         ATTORNEY                                              ACCOUNT NO.:
         ATTORNEY FOR COUNTY OF ORANGE                         NOT AVAILABLE
         15 MATTHEWS STREET - SUITE 305
         GOSHEN, NY 10924


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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6431   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: MICHELLE PARKER, FIRST ASSISTANT COUNTY
         ATTORNEY                                              ACCOUNT NO.:
         COUNTY OF ERIE                                        NOT AVAILABLE
         95 FRANKLIN STREET - 1634
         BUFFALO, NY 14202



3.6432   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: MICHAEL WEST, COUNTY ATTORNEY
         SCHOHARIE COUNTY ATTORNEY'S OFFICE                    ACCOUNT NO.:
         2668 STATE ROUTE 7 - SUITE 34                         NOT AVAILABLE
         COBLESKILL, NY 12043



3.6433   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVEN J. GETMAN, SCHUYLER COUNTY
         ATTORNEY                                              ACCOUNT NO.:
         SCHUYLER COUNTY ATTORNEY                              NOT AVAILABLE
         105 NINTH STREET, UNIT 5
         WATKINS GLEN, NY 14891



3.6434   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: THOMAS I. SHERIDAN, III
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE - 7TH FLOOR                        NOT AVAILABLE
         NEW YORK, NY 10016



3.6435   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: DONALD W. BOYAJIAN
         DREYER BOYAJIAN LLP                                   ACCOUNT NO.:
         75 COLUMBIA STREET                                    NOT AVAILABLE
         ALBANY, NY 12210



3.6436   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: JAMES R. PELLUSO
         DREYER BOYAJIAN LAMARCHE SAFRANKO PLLC                ACCOUNT NO.:
         75 COLUMBIA STREET                                    NOT AVAILABLE
         ALBANY, NY 12210



3.6437   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: MONTGOMERY COUNTY ATTORNEY
         COUNTY ANNEX BUILDING                                 ACCOUNT NO.:
         P.O. BOX 1500 - 20 PARK STREET                        NOT AVAILABLE
         FONDA, NY 12068



3.6438   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: JAYNE CONROY
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE - 7TH FLOOR                        NOT AVAILABLE
         NEW YORK, NY 10016




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6439   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: LYNNE A BIZZARRO, CHIEF DEPUTY COUNTY
         ATTORNEY COUNTY OF SUFFOLK                            ACCOUNT NO.:
         H. LEE DENNISON BUILDING                              NOT AVAILABLE
         100 VETERANS MEMORIAL HIGHWAY, 6TH FLOOR - P.O.
         BOX 6100
         HAUPPAUGE, NY 11788



3.6440   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: THOMAS I. SHERIDAN, III
         THOMAS I. SHERIDAN, III                               ACCOUNT NO.:
         SIMMONS HANLY CONROY LLC - 112 MADISON AVENUE         NOT AVAILABLE
         NEW YORK, NY 10016



3.6441   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: ANDREA BIERSTEIN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.6442   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: DENNIS M. BROWN, COUNTY ATTORNEY
         H. LEE DENNISON BUILDING                              ACCOUNT NO.:
         100 VETERANS MEMORIAL HIGHWAY, 6TH FLOOR - P.O.       NOT AVAILABLE
         BOX 6100
         HAUPPAUGE, NY 11788



3.6443   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: PAUL J. HANLY, JR
         PAUL J. HANLY, JR.                                    ACCOUNT NO.:
         SIMMONS HANLY CONROY LLC - 112 MADISON AVENUE         NOT AVAILABLE
         NEW YORK, NY 10016



3.6444   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: MICHAEL SIRAGUSA, COUNTY ATTORNEY
         COUNTY OF ERIE                                        ACCOUNT NO.:
         95 FRANKLIN STREET - 1634                             NOT AVAILABLE
         BUFFALO, NY 14202



3.6445   STATE OF NEW YORK                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: PAUL HANLY , JR.
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.6446   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: JASON A. BROTT, FULTON COUNTY ATTORNEY
         FULTON COUNTY ATTORNEY                                ACCOUNT NO.:
         COUNTY BUILDING - 2 SOUTH MARKET STREET               NOT AVAILABLE
         JOHNSTOWN, NY 12095




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6447   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: MICHAEL G. REINHARDT
         ASSISTANT COUNTY ATTORNEY                             ACCOUNT NO.:
         COUNTY OF ONTARIO - 20 ONTARIO STREET, 3RD FLOOR      NOT AVAILABLE
         CANANDAIGUA, NY 14424



3.6448   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: VINCENT J MESSINA
         SINNREICH KOSAKOFF & MESSINA, LLP                     ACCOUNT NO.:
         267 CARLETON AVENUE - SUITE 301                       NOT AVAILABLE
         CENTRAL ISLIP, NY 11722



3.6449   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: BEATRICE HAVRANEK, ESQ., ULSTER COUNFY
         ATTORNEY                                              ACCOUNT NO.:
         COUNTY OFFICE BNILDING,                               NOT AVAILABLE
         5TH FLOOR - 244 FAIR STREET
         KINGSTON, NY 12401



3.6450   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: RICHARD C. MITCHELL, COUNTY ATTORNEY
         OSWEGO COUNTY ATTORNEY                                ACCOUNT NO.:
         46 EAST BRIDGE STREET                                 NOT AVAILABLE
         OSWEGO, NY 13126



3.6451   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: BEATRICE HAVRANEK
         ULSTER COUNTY ATTORNEY                                ACCOUNT NO.:
         COUNTY OFFICE BUILDING, 5TH FLOOR - 244 FAIR          NOT AVAILABLE
         STREET
         KINGSTON, NY 12401



3.6452   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: INGO W. SPRIE, JR.
         ARNOLD & PORTER KAYE SCHOLER LLP                      ACCOUNT NO.:
         250 WEST 55TH STREET                                  NOT AVAILABLE
         NEW YORK, NY 10019



3.6453   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: JOSHUA P. RUBIN
         CORPORATION COUNSEL OF THE CITY OF NEW YORK           ACCOUNT NO.:
         ATTORNEY FOR PLAINTIFF THE CITY OF NEW YORK - 100     NOT AVAILABLE
         CHURCH STREET
         NEW YORK, NY 10007



3.6454   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: LETITIA A. JAMES
         STATE OF NEW YORK ATTORNEY GENERAL                    ACCOUNT NO.:
         DEPT. OF LAW - THE CAPITOL, 2ND FL.                   NOT AVAILABLE
         ALBANY, NY 12224




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6455   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: GAIL RUBIN
         CORPORATION COUNSEL OF THE CITY OF NEW YORK           ACCOUNT NO.:
         ATTORNEY FOR PLAINTIFF THE CITY OF NEW YORK - 100     NOT AVAILABLE
         CHURCH STREET
         NEW YORK, NY 10007



3.6456   STATE OF NEW YORK                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: JAYNE CONROY
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE - 7TH FLOOR                        NOT AVAILABLE
         NEW YORK, NY 10016



3.6457   STATE OF NEW YORK                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: THOMAS I. SHERIDAN, III
         112 MADISON AVENUE                                    ACCOUNT NO.:
         NEW YORK, NY 10016                                    NOT AVAILABLE



3.6458   STATE OF NEW YORK                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: ANDREA BIERSTEIN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.6459   STATE OF NEW YORK                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: SARAH S. BURNS
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002



3.6460   STATE OF NEW YORK                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY AND CHIEF DEPUTY COUNTY
         ATTORNEY                                              ACCOUNT NO.:
         COUNTY OF SUFFOLK                                     NOT AVAILABLE
         H. LEE DENNISON BUILDING - 100 VETERANS NEMORIAL
         HIGHWAY, 6TH FLOOR, PO BOX 6100
         HAUPPAUGE, NY 11788



3.6461   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: EDWARD I. KAPLAN, COUNTY ATTORNEY
         COUNTY ATTORNEY                                       ACCOUNT NO.:
         411 MAIN STREET, SUITE #443                           NOT AVAILABLE
         CATSKILL, NY 12414



3.6462   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: DONALD A. MIGLIORI
         MOTLEY RICE LLC                                       ACCOUNT NO.:
         28 BRIDGESIDE BOULEVARD                               NOT AVAILABLE
         MOUNT PLEASANT, SC 29464



3.6463   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: BETH S. ROSE
         SILLS CUMMIS & GROSS P.C.                             ACCOUNT NO.:
         101 PARK AVENUE                                       NOT AVAILABLE
         NEW YORK, NY 10178


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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6464   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: ROBERT FITZSIMMONS, COUNTY ATTORNEY
         COUNTY OF COLUMBIA                                    ACCOUNT NO.:
         401 STATE STREET - SUITE 2B                           NOT AVAILABLE
         HUDSON, NY 12534



3.6465   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: JOSEPH F. RICE
         MOTLEY RICE LLC                                       ACCOUNT NO.:
         28 BRIDGESIDE BOULEVARD                               NOT AVAILABLE
         MOUNT PLEASANT, SC 29464



3.6466   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: ELIZABETH SMITH
         MOTLEY RICE LLC                                       ACCOUNT NO.:
         401 9TH STREET NORTHWEST - SUITE 1001                 NOT AVAILABLE
         WASHINGTON, DC 20004



3.6467   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: BERNARD PEPLINSKI, SR., CHAIRMAN OF THE
         HERKIMER COUNTY LEGISLATURE                           ACCOUNT NO.:
         CHAIRMAN OF THE HERKIMER COUNTY LEGISLATURE           NOT AVAILABLE
         COUNTY OF HERKIMER - 109 MARY STREET, SUITE 1310
         HERKIMER, NY 13350



3.6468   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: JOAN E. MCNICHOL, ESQ., COUNTY ATTORNEY
         COUNTY ATTORNEY                                       ACCOUNT NO.:
         COUNTY OF LEWIS - 7660 NORTH STATE STREET             NOT AVAILABLE
         LOWVILLE, NY 13367



3.6469   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR CITY OF MOUNT VERNON
         OFFICE OF THE MAYOR                                   ACCOUNT NO.:
         1 ROOSEVELT SQUARE NORTH, #107                        NOT AVAILABLE
         MT. VERNON, NY 10550



3.6470   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: JOSEPH L. CIACCIO
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - ELEVENTH FLOOR                 NOT AVAILABLE
         NEW YORK, NY 10017



3.6471   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: GARY L. CURTISS
         COUNTY ATTORNEY                                       ACCOUNT NO.:
         COUNTY OF ONTARIO - 20 ONTARIO STREET, 3RD FLOOR      NOT AVAILABLE
         CANANDAIGUA, NY 14424



3.6472   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CLAUDE A. JOERG, COUNTY ATTORNEY
         COUNTY ATTORNEY                                       ACCOUNT NO.:
         NIAGARA COUNTY COURT HOUSE, 3RD FLOOR - 175           NOT AVAILABLE
         HAWLEY STREET
         LOCKPORT, NY 14094-2740


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Code                                                 And Account Number                          Claim

Litigation

3.6473   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: LINDA SINGER
         MOTLEY RICE LLC                                       ACCOUNT NO.:
         401 9TH STREET NORTHWEST - SUITE 1001                 NOT AVAILABLE
         WASHINGTON, DC 20004



3.6474   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: JAMES WUJCIK
         WYOMING COUNTY ATTORNEY                               ACCOUNT NO.:
         11 EXCHANGE STREET                                    NOT AVAILABLE
         ATTICA, NY 14011



3.6475   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: JOHN OTTAVIANO, FIRST ASSISTANT COUNTY
         ATTORNEY                                              ACCOUNT NO.:
         FIRST ASSISTANT COUNTY ATTORNEY                       NOT AVAILABLE
         NIAGARA COUNTY COURT HOUSE, 3RD FLOOR - 175
         HAWLEY STREET
         LOCKPORT, NY 14094-2740



3.6476   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: RICHARD KROEGER
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.6477   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: FRANK GALLUCCI
         PLEVIN & GALLUCCI COMPANY, LPA                        ACCOUNT NO.:
         55 PUBLIC SQUARE - SUITE 2222                         NOT AVAILABLE
         CLEVELAND, OH 44113



3.6478   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: ROBERT FITZSIMMONS
         COLUMBIA COUNTY ATTORNEY                              ACCOUNT NO.:
         401 STATE STREET - 2B                                 NOT AVAILABLE
         HUDSON, NY 12534



3.6479   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: ZACHARY W. CARTER, CORPORATION COUNSEL
         OF THE CITY OF NEW YORK                               ACCOUNT NO.:
         CORPORATION COUNSEL OF THE CITY OF NEW YORK           NOT AVAILABLE
         ATTORNEY FOR PLAINTIFF THE CITY OF NEW YORK - 100
         CHURCH STREET
         NEW YORK, NY 10007



3.6480   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: SCOTT ELLIOT SMITH
         SCOTT ELLIOT SMITH LPA                                ACCOUNT NO.:
         5003 HORIZONS DRIVE - SUITE 200                       NOT AVAILABLE
         COLUMBUS, OH 43220




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6481   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: TONYA JENERETTE
         CORPORATION COUNSEL OF THE CITY OF NEW YORK           ACCOUNT NO.:
         ATTORNEY FOR PLAINTIFF THE CITY OF NEW YORK - 100     NOT AVAILABLE
         CHURCH STREET
         NEW YORK, NY 10007



3.6482   STATE OF NEW YORK                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: MARY F. STRICKLAND, COUNTY CLERK
         COUNTY CLERK                                          ACCOUNT NO.:
         LIVINGSTON COUNTY GOVERNMENT CENTER - 6 COURT         NOT AVAILABLE
         STREET, ROOM 201
         GENESEO, NY 14454



3.6483   STATE OF NORTH DAKOTA, EX REL. WAYNE                     5/15/2018                   Opioid Matter              UNDETERMINED
         STENEHJEM, ATTORNEY GENERAL
         ATTN: WAYNE STENEHJEM                                 ACCOUNT NO.:
         STATE OF NORTH DAKOTA ATTORNEY GENERAL                NOT AVAILABLE
         STATE CAPITOL - 600 E. BOULEVARD AVENUE
         BISMARCK, ND 58505-0040



3.6484   STATE OF OHIO EX REL.                                    6/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: DAVE YOST
         STATE OF OHIO ATTORNEY GENERAL                        ACCOUNT NO.:
         STATE OFFICE TOWER, 30 E. BROAD ST.                   NOT AVAILABLE
         COLUMBUS, OH 43266-0410



3.6485   STATE OF OHIO EX REL.                                    6/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: GOVERNOR OF OHIO
         GOVERNOR'S OFFICE                                     ACCOUNT NO.:
         RIFFE CENTER, 30TH FLOOR - 77 SOUTH HIGH STREET       NOT AVAILABLE
         COLUMBUS, OH 43215-6117



3.6486   STATE OF OHIO EX REL., PROSECUTING ATTORNEY FOR         12/20/2017                   Opioid Matter              UNDETERMINED
         SUMMIT COUNTY, SHERRI BEVAN WALSH
         ATTN: PROSECUTOR                                      ACCOUNT NO.:
         SUMMIT COUNTY PROSECUTOR'S OFFICE                     NOT AVAILABLE
         175 SOUTH MAIN STREET
         AKRON, OH 44308



3.6487   STATE OF OHIO EX REL., PROSECUTING ATTORNEY OF          10/27/2017                   Opioid Matter              UNDETERMINED
         CUYAHOGA COUNTY, MICHAEL C. O’MALLEY
         ATTN: PROSECUTING ATTORNEY OF CUYAHOGA COUNTY         ACCOUNT NO.:
         THEJUSTICE CENTER, COURTS TOWER                       NOT AVAILABLE
         1200 ONTARIO STREET - 9TH FLOOR
         CLEVELAND, OH 44113



3.6488   STATE OF OHIO, EX REL. DAVID YOST, OHIO ATTORNEY         5/31/2017                   Opioid Matter              UNDETERMINED
         GENERAL
         ATTN: DAVE YOST                                       ACCOUNT NO.:
         STATE OF OHIO ATTORNEY GENERAL                        NOT AVAILABLE
         STATE OFFICE TOWER, 30 E. BROAD ST.
         COLUMBUS, OH 43266-0410




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6489   STATE OF OKLAHOMA, EX REL. MIKE HUNTER OHIO              6/20/2017                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         BECKWORTH, BRADLEY E.                                 ACCOUNT NO.:
         NIX, PATTERSON & ROACH, LLP                           NOT AVAILABLE
         512 N BROADWAY AVE STE 200
         OKLAHOMA CITY, OK 73102



3.6490   STATE OF OKLAHOMA, EX REL. MIKE HUNTER OHIO              6/20/2017                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         TRACY SCHUMAKER                                       ACCOUNT NO.:
         SCHUMACHER & STANLEY PLLC                             NOT AVAILABLE
         114 E. MAIN STREET
         NORMAN, OK 73072



3.6491   STATE OF OKLAHOMA, EX REL. MIKE HUNTER OHIO              6/20/2017                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         ATTN: MIKE HUNTER                                     ACCOUNT NO.:
         STATE OF OKLAHOMA ATTORNEY GENERAL                    NOT AVAILABLE
         313 NE 21ST STREET
         OKLAHOMA CITY, OK 73105



3.6492   STATE OF OKLAHOMA, EX REL. MIKE HUNTER OHIO              6/20/2017                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         ATTN: ATTORNEY GENERAL FOR THE STATE OF               ACCOUNT NO.:
         OKLAHOMA                                              NOT AVAILABLE
         HUNTER, MIKE
         313 NE 21ST STREET
         OKLAHOMA CITY, OK 73105



3.6493   STATE OF OKLAHOMA, EX REL. MIKE HUNTER OHIO              6/20/2017                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         COFFEE, GLENN                                         ACCOUNT NO.:
         GLENN COFFEE & ASSOCIATES PLLC                        NOT AVAILABLE
         915 N ROBINSON AVE
         OKLAHOMA CITY, OK 73102



3.6494   STATE OF OKLAHOMA, EX REL. MIKE HUNTER OHIO              6/20/2017                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         BURRAGE, MICHAEL                                      ACCOUNT NO.:
         WHITTEN BURRAGE                                       NOT AVAILABLE
         512 N BROADWAY AVE STE 300
         OKLAHOMA CITY, OK 73102



3.6495   STATE OF OREGON, EX REL. ELLEN F. ROSENBLUM,             5/16/2019                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL FOR THE STATE OF OREGON
         ATTN: ELLEN F. ROSENBLUM                              ACCOUNT NO.:
         STATE OF OREGON ATTORNEY GENERAL                      NOT AVAILABLE
         JUSTICE BLDG., 1162 COURT ST., NE
         SALEM, OR 97301



3.6496   STATE OF OREGON, EX REL. ELLEN F. ROSENBLUM,             9/13/2018                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL FOR THE STATE OF OREGON
         ATTN: ATTORNEY GENERAL                                ACCOUNT NO.:
         OREGON DEPARTMENT OF JUSTICE                          NOT AVAILABLE
         1162 COURT STREET NE
         SALEM, OR 97301-4096



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6497   STATE OF OREGON, EX REL. ELLEN F. ROSENBLUM,             5/16/2019                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL FOR THE STATE OF OREGON
         ATTN: ELLEN F. ROSENBLUM                              ACCOUNT NO.:
         STATE OF OREGON ATTORNEY GENERAL                      NOT AVAILABLE
         JUSTICE BLDG., 1162 COURT ST., NE
         SALEM, OR 97301



3.6498   STATE OF RHODE ISLAND, BY AND THROUGH PETER              6/25/2018                   Opioid Matter              UNDETERMINED
         NERONHA, ATTORNEY GENERAL
         ATTN: PETER F. NERONHA                                ACCOUNT NO.:
         STATE OF RHODE ISLAND ATTORNEY GENERAL                NOT AVAILABLE
         150 S. MAIN ST.
         PROVIDENCE, RI 02903-0000



3.6499   STATE OF SOUTH CAROLINA, EX REL. ALAN WILSON             8/15/2017                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         ATTN: ATTORNEY GENERAL                                ACCOUNT NO.:
         REMBERT DENNIS BUILDING                               NOT AVAILABLE
         1000 ASSEMBLY STREET - ROOM 519
         COLUMBIA, SC 29201



3.6500   STATE OF SOUTH CAROLINA, EX REL. ALAN WILSON             8/15/2017                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         JARED Q. LIBET                                        ACCOUNT NO.:
         OFFICE OF THE ATTORNEY GENERAL                        NOT AVAILABLE
         ASSISTANT DEPUTY ATTORNEY GENERAL - POST
         OFFICE BOX 11549
         COLUMBIA, SC 11549



3.6501   STATE OF SOUTH CAROLINA, EX REL. ALAN WILSON             8/15/2017                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         LINDA SINGER                                          ACCOUNT NO.:
         MOTLEY RICE LLC                                       NOT AVAILABLE
         401 9TH STREET NORTHWEST - SUITE 1001
         WASHINGTON, DC 20004



3.6502   STATE OF SOUTH CAROLINA, EX REL. ALAN WILSON             8/15/2017                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         ATTN: ALAN WILSON                                     ACCOUNT NO.:
         OFFICE OF THE ATTORNEY GENERAL                        NOT AVAILABLE
         ATTORNEY GENERAL - POST OFFICE BOX 11549
         COLUMBIA, SC 11549



3.6503   STATE OF SOUTH CAROLINA, EX REL. ALAN WILSON             8/15/2017                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         W. JEFFREY YOUNG                                      ACCOUNT NO.:
         OFFICE OF THE ATTORNEY GENERAL                        NOT AVAILABLE
         CHIEF DEPUTY ATTORNEY GENERAL - POST OFFICE BOX
         11549
         COLUMBIA, SC 11549




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6504   STATE OF SOUTH CAROLINA, EX REL. ALAN WILSON             8/15/2017                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         C. HAVIRD JONES, JR.                                  ACCOUNT NO.:
         OFFICE OF THE ATTORNEY GENERAL                        NOT AVAILABLE
         SENIOR ASSISTANT DEPUTY ATTORNEY GENERAL -
         POST OFFICE BOX 11549
         COLUMBIA, SC 11549



3.6505   STATE OF SOUTH CAROLINA, EX REL. ALAN WILSON             8/15/2017                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         ROBERT D. COOK                                        ACCOUNT NO.:
         OFFICE OF THE ATTORNEY GENERAL                        NOT AVAILABLE
         SOLICITOR GENERAL - POST OFFICE BOX 11549
         COLUMBIA, SC 11549



3.6506   STATE OF SOUTH CAROLINA, EX REL. ALAN WILSON             8/15/2017                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         JAMES E. SMITH, JR.                                   ACCOUNT NO.:
         JAMES E. SMITH, JR., PA                               NOT AVAILABLE
         1422 LAUREL STREET
         COLUMBIA, SC 29201



3.6507   STATE OF SOUTH CAROLINA, EX REL. ALAN WILSON             8/15/2017                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         MICHAEL A. TIMBES                                     ACCOUNT NO.:
         THURMOND, KIRCHNER & TIMBES, PA                       NOT AVAILABLE
         210 NEWBERRY STREET, NORTHWEST
         AIKEN, SC 29801



3.6508   STATE OF SOUTH CAROLINA, EX REL. ALAN WILSON             8/15/2017                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         PAUL R. THURMOND                                      ACCOUNT NO.:
         THURMOND, KIRCHNER & TIMBES, PA                       NOT AVAILABLE
         210 NEWBERRY STREET, NORTHWEST
         AIKEN, SC 29801



3.6509   STATE OF SOUTH CAROLINA, EX REL. ALAN WILSON             8/15/2017                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         LISA M. SALTZBURG                                     ACCOUNT NO.:
         MOTLEY RICE LLC                                       NOT AVAILABLE
         28 BRIDGESIDE BOULEVARD
         MOUNT PLEASANT, SC 29464



3.6510   STATE OF SOUTH CAROLINA, EX REL. ALAN WILSON             8/15/2017                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         MARLON E. KIMPSON                                     ACCOUNT NO.:
         MOTLEY RICE LLC                                       NOT AVAILABLE
         28 BRIDGESIDE BOULEVARD
         MOUNT PLEASANT, SC 29464



3.6511   STATE OF SOUTH CAROLINA, EX REL. ALAN WILSON             8/15/2017                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         JOSEPH F. RICE                                        ACCOUNT NO.:
         MOTLEY RICE LLC                                       NOT AVAILABLE
         28 BRIDGESIDE BOULEVARD
         MOUNT PLEASANT, SC 29464



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6512   STATE OF SOUTH CAROLINA, EX REL. ALAN WILSON             8/15/2017                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         DAVID A. BENNER                                       ACCOUNT NO.:
         MOTLEY RICE LLC                                       NOT AVAILABLE
         401 9TH STREET NORTHWEST - SUITE 1001
         WASHINGTON, DC 20004



3.6513   STATE OF SOUTH CAROLINA, EX REL. ALAN WILSON             8/15/2017                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         REBECCA MCCORMACK                                     ACCOUNT NO.:
         OFFICE OF THE ATTORNEY GENERAL                        NOT AVAILABLE
         ASSISTANT ATTORNEY GENERAL - POST OFFICE BOX
         11549
         COLUMBIA, SC 11549



3.6514   STATE OF SOUTH DAKOTA, EX REL. JASON RAVNSBORG,          3/14/2018                   Opioid Matter              UNDETERMINED
         SOUTH DAKOTA ATTORNEY GENERAL
         ATTN: JASON RAVNSBORG                                 ACCOUNT NO.:
         STATE OF SOUTH DAKOTA ATTORNEY GENERAL                NOT AVAILABLE
         1302 EAST HIGHWAY 14, SUITE 1
         PIERRE, SD 57501-8501



3.6515   STATE OF TENNESSEE EX REL. BARRY STAUBUS                UNKNOWN                      Opioid Matter              UNDETERMINED
         BENJAMIN A. GASTEL
         BRANSTETTER, STRANCH & JENNINGS, PLLC                 ACCOUNT NO.:
         223 ROSA L. PARKS AVENUE - SUITE 200                  NOT AVAILABLE
         NASHVILLE, TN 37203



3.6516   STATE OF TENNESSEE EX REL. BARRY STAUBUS                UNKNOWN                      Opioid Matter              UNDETERMINED
         TRICIA HERZFELD
         BRANSTETTER, STRANCH & JENNINGS, PLLC                 ACCOUNT NO.:
         223 ROSA L. PARKS AVENUE - SUITE 200                  NOT AVAILABLE
         NASHVILLE, TN 37203



3.6517   STATE OF TENNESSEE EX REL. BARRY STAUBUS                UNKNOWN                      Opioid Matter              UNDETERMINED
         JAMES GERARD STRANCH, III
         BRANSTETTER, STRANCH & JENNINGS, PLLC                 ACCOUNT NO.:
         223 ROSA L. PARKS AVENUE - SUITE 200                  NOT AVAILABLE
         NASHVILLE, TN 37203



3.6518   STATE OF TENNESSEE EX REL. BARRY STAUBUS                UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: DISTRICT ATTORNEY
         SULLIVAN COUNTY JUSTIC CENTER, 140 BLOUNTVILLE        ACCOUNT NO.:
         BYPASS                                                NOT AVAILABLE
         - PO BOX 526
         BLOUNTVILLE, TN 37617



3.6519   STATE OF TENNESSEE EX REL. BARRY STAUBUS                UNKNOWN                      Opioid Matter              UNDETERMINED
         JAMES GERARD STRANCH, IV
         BRANSTETTER, STRANCH & JENNINGS, PLLC                 ACCOUNT NO.:
         223 ROSA L. PARKS AVENUE - SUITE 200                  NOT AVAILABLE
         NASHVILLE, TN 37203




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6520   STATE OF TENNESSEE EX REL. DAN ARMSTRONG                UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: BENJAMIN A. GASTEL
         BRANSTETTER, STRANCH & JENNINGS, PLLC                 ACCOUNT NO.:
         223 ROSA L. PARKS AVENUE - SUITE 200                  NOT AVAILABLE
         NASHVILLE, TN 37203



3.6521   STATE OF TENNESSEE EX REL. DAN ARMSTRONG                UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: JAMES G. STRANCH III
         BRANSTETTER, STRANCH & JENNINGS, PLLC                 ACCOUNT NO.:
         223 ROSA L. PARKS AVENUE - SUITE 200                  NOT AVAILABLE
         NASHVILLE, TN 37203



3.6522   STATE OF TENNESSEE EX REL. DAN ARMSTRONG                UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: JAMES GERARD STRANCH, IV
         BRANSTETTER, STRANCH & JENNINGS, PLLC                 ACCOUNT NO.:
         223 ROSA L. PARKS AVENUE - SUITE 200                  NOT AVAILABLE
         NASHVILLE, TN 37203



3.6523   STATE OF TENNESSEE EX REL. DAN ARMSTRONG                UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: TRICIA HERZFELD
         BRANSTETTER, STRANCH & JENNINGS, PLLC                 ACCOUNT NO.:
         223 ROSA L. PARKS AVENUE - SUITE 200                  NOT AVAILABLE
         NASHVILLE, TN 37203



3.6524   STATE OF TENNESSEE EX REL. TONY CLARK                   UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: JAMES GERARD STRANCH, IV
         BRANSTETTER, STRANCH & JENNINGS, PLLC                 ACCOUNT NO.:
         223 ROSA L. PARKS AVENUE - SUITE 200                  NOT AVAILABLE
         NASHVILLE, TN 37203



3.6525   STATE OF TENNESSEE EX REL. TONY CLARK                   UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: TRICIA HERZFELD
         BRANSTETTER, STRANCH & JENNINGS, PLLC                 ACCOUNT NO.:
         223 ROSA L. PARKS AVENUE - SUITE 200                  NOT AVAILABLE
         NASHVILLE, TN 37203



3.6526   STATE OF TENNESSEE EX REL. TONY CLARK                   UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: BENJAMIN A. GASTEL
         BRANSTETTER, STRANCH & JENNINGS, PLLC                 ACCOUNT NO.:
         223 ROSA L. PARKS AVENUE - SUITE 200                  NOT AVAILABLE
         NASHVILLE, TN 37203



3.6527   STATE OF TENNESSEE EX REL. TONY CLARK                   UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: DISTRICT ATTORNEY
         GEORGE P JAYNES JUSTICE CENTER                        ACCOUNT NO.:
         108 WEST JACKSON BOULEVARD                            NOT AVAILABLE
         JONESBOROUGH, TN 37659



3.6528   STATE OF TENNESSEE EX REL. TONY CLARK                   UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: JAMES GERARD STRANCH, III
         BRANSTETTER, STRANCH & JENNINGS, PLLC                 ACCOUNT NO.:
         223 ROSA L. PARKS AVENUE - SUITE 200                  NOT AVAILABLE
         NASHVILLE, TN 37203




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6529   STATE OF TENNESSEE, EX REL HERBERT H. SLATERY III,       5/15/2018                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL AND REPORTER
         ATTN: HERBERT H. SLATERY III                          ACCOUNT NO.:
         STATE OF TENNESSEE ATTORNEY GENERAL                   NOT AVAILABLE
         425 5TH AVENUE NORTH
         NASHVILLE, TN 37243



3.6530   STATE OF TEXAS                                           5/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: KEN PAXTON
         STATE OF TEXAS ATTORNEY GENERAL                       ACCOUNT NO.:
         CAPITOL STATION - P.O.BOX 12548                       NOT AVAILABLE
         AUSTIN, TX 78711-2548



3.6531   STATE OF UTAH                                            5/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: SEAN REYES
         STATE OF UTAH ATTORNEY GENERAL                        ACCOUNT NO.:
         STATE CAPITOL, RM. 236                                NOT AVAILABLE
         SALT LAKE CITY, UT 84114-0810



3.6532   STATE OF VERMONT                                         9/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: TJ DONOVAN
         STATE OF VERMONT ATTORNEY GENERAL                     ACCOUNT NO.:
         109 STATE ST.                                         NOT AVAILABLE
         MONTPELIER, VT 05609-1001



3.6533   STATE OF VERMONT                                         5/21/2019                   Opioid Matter              UNDETERMINED
         ATTN: TJ DONOVAN
         STATE OF VERMONT ATTORNEY GENERAL                     ACCOUNT NO.:
         109 STATE ST.                                         NOT AVAILABLE
         MONTPELIER, VT 05609-1001



3.6534   STATE OF VERMONT                                         9/5/2018                    Opioid Matter              UNDETERMINED
         JOSHUA DIAMOND
         DEPUTY ATTORNEY GENERAL                               ACCOUNT NO.:
         109 STATE STREET                                      NOT AVAILABLE
         MONTPELIER, VT 05609



3.6535   STATE OF VERMONT                                         9/5/2018                    Opioid Matter              UNDETERMINED
         JILL S. ABRAMS
         DIRECTOR, CONSUMER PROTECTION DIVISION                ACCOUNT NO.:
         109 STATE STREET                                      NOT AVAILABLE
         MONTPELIER, VT 05609



3.6536   STATE OF VERMONT                                         9/5/2018                    Opioid Matter              UNDETERMINED
         THOMAS J. DONOVAN JR.
         109 STATE STREET                                      ACCOUNT NO.:
         MONTPELIER, VT 05609                                  NOT AVAILABLE



3.6537   STATE OF WASHINGTON                                      9/28/2017                   Opioid Matter              UNDETERMINED
         ATTN: BOB FERGUSON
         STATE OF WASHINGTON ATTORNEY GENERAL                  ACCOUNT NO.:
         1125 WASHINGTON ST. SE - P.O. BOX 40100               NOT AVAILABLE
         OLYMPIA, WA 98504-0100




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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                          Claim

Litigation

3.6538   STATE OF WEST VIRGINIA, EX REL. PATRICK MORRISEY,         5/15/2019                   Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         ATTN: PATRICK MORRISEY                                 ACCOUNT NO.:
         STATE OF WEST VIRGINIA ATTORNEY GENERAL                NOT AVAILABLE
         STATE CAPITOL - 1900 KANAWHA BLVD. , E.
         CHARLESTON, WV 25305



3.6539   STATE OF WISCONSIN                                        5/16/2019                   Opioid Matter              UNDETERMINED
         ATTN: JOSH KAUL
         STATE OF WISCONSIN ATTORNEY GENERAL                    ACCOUNT NO.:
         WI DEPT. OF JUSTICE, STATE CAPITOL, ROOM 114 E. -      NOT AVAILABLE
         P.O. BOX 7857
         MADISON, WI 53707-7857



3.6540   STATE OF WISCONSIN                                        5/16/2019                   Opioid Matter              UNDETERMINED
         ATTN: ASSISTANT ATTORNEY GENERAL
         114 EAST STATE CAPITOL                                 ACCOUNT NO.:
         MADISON, WI 53702-7857                                 NOT AVAILABLE



3.6541   STATE OF WYOMING, EX REL. BRIDGET HILL, ATTORNEY         10/18/2018                   Opioid Matter              UNDETERMINED
         GENERAL
         ATTN: SECRETARY OF STATE                               ACCOUNT NO.:
         2020 CAREY AVENUE, SUITES 600 AND 700                  NOT AVAILABLE
         CHEYENNE, WY 82002-0020



3.6542   STATE OF WYOMING, EX REL. BRIDGET HILL, ATTORNEY         10/18/2018                   Opioid Matter              UNDETERMINED
         GENERAL
         ATTN: BRIDGET HILL                                     ACCOUNT NO.:
         STATE OF WYOMING ATTORNEY GENERAL                      NOT AVAILABLE
         STATE CAPITOL BLDG.
         CHEYENNE, WY 82002



3.6543   STAT-HOME HEALTH-WEST, LLC                                6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT AND MANAGER
         10615 JEFFERSON HIGHWAY                                ACCOUNT NO.:
         BATON ROUGE, LA 70809                                  NOT AVAILABLE



3.6544   STAT-HOME HEALTH-WEST, LLC                                6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         C/O GEOFFREY MORTHLAND                                 ACCOUNT NO.:
         10615 JEFFERSON HIGHWAY                                NOT AVAILABLE
         BATON ROUGE, LA 70809



3.6545   STAT-HOME HEALTH-WEST, LLC                                6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT AND MANAGER
         1724 HERMAN DUPUIS ROAD, SUITE B                       ACCOUNT NO.:
         BREAUX BRIDGE, LA 70517                                NOT AVAILABLE



3.6546   STAT-HOME HEALTH-WEST, LLC                                6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT AND MANAGER
         101 SOUTH MAIN STREET                                  ACCOUNT NO.:
         BREAUX BRIDGE, LA 70517                                NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                         Claim

Litigation

3.6547   STE. GENEVIEVE COUNTY                                    1/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: CLERK OF THE COUNTY COMMISSION
         55 SOUTH THIRD STREET                                 ACCOUNT NO.:
         ROOM 1                                                NOT AVAILABLE
         SAINTE GENEVIEVE, MO 63670



3.6548   STE. GENEVIEVE COUNTY                                    1/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         55 SOUTH THIRD STREET                                 ACCOUNT NO.:
         ROOM 2                                                NOT AVAILABLE
         SAINTE GENEVIEVE, MO 63670



3.6549   STEELE COUNTY, MINNESOTA                                 8/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY AUDITOR
         630 FLORENCE AVE                                      ACCOUNT NO.:
         OWATONNA, MN 55060                                    NOT AVAILABLE



3.6550   STEELE COUNTY, MINNESOTA, WASECA COUNTY,                 8/29/2019                   Opioid Matter              UNDETERMINED
         MINNESOTA, AND MINNESOTA PRAIRIE ALLIANCE
         DAVID W. ASP                                          ACCOUNT NO.:
         LOCKRIDGE DRINDAL NAUEN P.L.L.P.                      NOT AVAILABLE
         100 WASHINGTON AVENUE SOUTH - SUITE 2200
         MINNEAPOLIS, MN 55401



3.6551   STEELE COUNTY, MINNESOTA, WASECA COUNTY,                 8/29/2019                   Opioid Matter              UNDETERMINED
         MINNESOTA, AND MINNESOTA PRAIRIE ALLIANCE
         RICHARD A. LOCKRIDGE                                  ACCOUNT NO.:
         LOCKRIDGE DRINDAL NAUEN P.L.L.P.                      NOT AVAILABLE
         100 WASHINGTON AVENUE SOUTH - SUITE 2200
         MINNEAPOLIS, MN 55401



3.6552   STEELE COUNTY, MINNESOTA, WASECA COUNTY,                 8/29/2019                   Opioid Matter              UNDETERMINED
         MINNESOTA, AND MINNESOTA PRAIRIE ALLIANCE
         ATTN: YVONNE M. FLAHERTY                              ACCOUNT NO.:
         LOCKRIDGE DRINDAL NAUEN P.L.L.P.                      NOT AVAILABLE
         100 WASHINGTON AVENUE SOUTH - SUITE 2200
         MINNEAPOLIS, MN 55401



3.6553   STEELE COUNTY, MINNESOTA, WASECA COUNTY,                 8/29/2019                   Opioid Matter              UNDETERMINED
         MINNESOTA, AND MINNESOTA PRAIRIE ALLIANCE
         DAVID A. GOODWIN                                      ACCOUNT NO.:
         GUSTAFSON GLUEK PLLC                                  NOT AVAILABLE
         CANADIAN PACIFIC PLAZA - SUITE 2600 - 120 SOUTH 6TH
         STREET
         MINNEAPOLIS, MN 55402



3.6554   STEELE COUNTY, MINNESOTA, WASECA COUNTY,                 8/29/2019                   Opioid Matter              UNDETERMINED
         MINNESOTA, AND MINNESOTA PRAIRIE ALLIANCE
         ERIC S. TAUBEL                                        ACCOUNT NO.:
         GUSTAFSON GLUEK PLLC                                  NOT AVAILABLE
         CANADIAN PACIFIC PLAZA - SUITE 2600 - 120 SOUTH 6TH
         STREET
         MINNEAPOLIS, MN 55402




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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                         Claim

Litigation

3.6555   STEELE COUNTY, MINNESOTA, WASECA COUNTY,                 8/29/2019                   Opioid Matter              UNDETERMINED
         MINNESOTA, AND MINNESOTA PRAIRIE ALLIANCE
         ATTN: AMANDA M. WILLIAMS                              ACCOUNT NO.:
         GUSTAFSON GLUEK PLLC                                  NOT AVAILABLE
         CANADIAN PACIFIC PLAZA - SUITE 2600 - 120 SOUTH 6TH
         STREET
         MINNEAPOLIS, MN 55402



3.6556   STEELE COUNTY, MINNESOTA, WASECA COUNTY,                 8/29/2019                   Opioid Matter              UNDETERMINED
         MINNESOTA, AND MINNESOTA PRAIRIE ALLIANCE
         DANIEL E. GUSTAFSON                                   ACCOUNT NO.:
         GUSTAFSON GLUEK PLLC                                  NOT AVAILABLE
         CANADIAN PACIFIC PLAZA - SUITE 2600 - 120 SOUTH 6TH
         STREET
         MINNEAPOLIS, MN 55402



3.6557   STEPHEN CRUMP, IN HIS OFFICIAL CAPACITY AS THE           9/29/2017                   Opioid Matter              UNDETERMINED
         DISTRICT ATTORNEY GENERAL FOR THE TENTH
         JUDICIAL DISTRICT, TN                                 ACCOUNT NO.:
         ATTN: ATTORNEY GENERAL                                NOT AVAILABLE
         425 5TH AVENUE NORTH
         NASHVILLE, TN 37243



3.6558   STEPHEN CRUMP, IN HIS OFFICIAL CAPACITY AS THE           9/29/2017                   Opioid Matter              UNDETERMINED
         DISTRICT ATTORNEY GENERAL FOR THE TENTH
         JUDICIAL DISTRICT, TN                                 ACCOUNT NO.:
         ATTN: ATTORNEY GENERAL                                NOT AVAILABLE
         OFFICE OF THE ATTORNEY GENERAL AND REPORTER
         P.O. BOX 20207
         NASHVILLE, TN 37202-0207



3.6559   STEPHENS COUNTY                                          5/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         STEPHENS COUNTY COURTHOUSE                            ACCOUNT NO.:
         200 WEST WALKER                                       NOT AVAILABLE
         BRECKENRIDGE, TX 76424



3.6560   STEPHENS COUNTY, GEORGIA                                 3/27/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND BOARD OF COMMISSIONERS,
         COUNTY MANAGER                                        ACCOUNT NO.:
         37 WEST TUGALO STREET                                 NOT AVAILABLE
         TOCCOA, GA 30577



3.6561   STEUBEN COUNTY                                           2/21/2018                   Opioid Matter              UNDETERMINED
         SALVATORE CHARLES BADALA
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.6562   STEUBEN COUNTY                                           2/21/2018                   Opioid Matter              UNDETERMINED
         PAUL J. NAPOLI
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6563   STOCKBRIDGE-MUNSEE COMMUNITY                             1/25/2019                   Opioid Matter              UNDETERMINED
         ATTN: TRIBAL COUNCIL PRESIDENT, CEO, TRIBAL
         ADMINISTRATOR                                         ACCOUNT NO.:
         N8476 MOHHECONNUCK ROAD                               NOT AVAILABLE
         BOWLER, WI 54416



3.6564   STOKES COUNTY                                            2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER & CHAIRMAN OF THE BOARD
         OF COUNTY COMMISSIONERS                               ACCOUNT NO.:
         ADMINISTRATION BUILDING                               NOT AVAILABLE
         1014 MAIN STREET
         DANBURY, NC 27016



3.6565   STOKES COUNTY                                            2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: JOSH STEIN
         STATE OF NORTH CAROLINA ATTORNEY GENERAL              ACCOUNT NO.:
         DEPT. OF JUSTICE, P.O.BOX 629                         NOT AVAILABLE
         RALEIGH, NC 27602-0629



3.6566   STONE COUNTY                                             8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: STONE COUNTY CLERK
         PO BOX 45                                             ACCOUNT NO.:
         GALENA, MO 65656                                      NOT AVAILABLE



3.6567   STONE COUNTY                                             8/1/2018                    Opioid Matter              UNDETERMINED
         108 E. 4TH STREET
         PO BOX 19                                             ACCOUNT NO.:
         GALENA, MO 65656                                      NOT AVAILABLE



3.6568   STONE COUNTY                                             1/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK; ATTN: PRESIDING
         COMMISSIONER                                          ACCOUNT NO.:
         108 E. 4TH STREET                                     NOT AVAILABLE
         GALENA, MO 65656



3.6569   STONE COUNTY, MISSISSIPPI                                5/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF SUPERVISORS
         COUNTY COURTHOUSE                                     ACCOUNT NO.:
         323 EAST CAVERS AVENUE - PO DRAWER 7                  NOT AVAILABLE
         WIGGINS, MS 39577



3.6570   STONEWALL JACKSON MEMORIAL HOSPITAL COMPANY              4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT AND REGISTERED AGENT
         230 HOSPITAL PLAZA                                    ACCOUNT NO.:
         WESTON, WV 26452                                      NOT AVAILABLE



3.6571   STRAFFORD COUNTY                                         9/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY BOARD OF COMMISSIONERS,
         TREASURER                                             ACCOUNT NO.:
         STRAFFORD COUNTY WILLIAM A. GRIMES JUSTICE &          NOT AVAILABLE
         ADMINISTRATION BLDG.
         259 COUNTY FARM ROAD - SUITE 204
         DOVER, NH 03820




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6572   SULLIVAN COUNTY                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         3411 HIGHWAY 126                                      ACCOUNT NO.:
         SUITE 209                                             NOT AVAILABLE
         BLOUNTVILLE, TN 37617



3.6573   SULLIVAN COUNTY                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY MAYOR
         3411 HIGHWAY 126                                      ACCOUNT NO.:
         SUITE 206                                             NOT AVAILABLE
         BLOUNTVILLE, TN 37617



3.6574   SULLIVAN COUNTY                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         3258 HIGHWAY 126                                      ACCOUNT NO.:
         SUITE 101                                             NOT AVAILABLE
         BLOUNTVILLE, TN 37617



3.6575   SULLIVAN COUNTY                                          9/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY BOARD OF COMMISSIONERS,
         TREASURER                                             ACCOUNT NO.:
         14 MAIN STREET                                        NOT AVAILABLE
         NEWPORT, NH 03773



3.6576   SUMMIT COUNTY PUBLIC HEALTH                             12/20/2017                   Opioid Matter              UNDETERMINED
         ATTN: HEALTH COMMISIONER AND BOARD PRESIDENT
         1867 WEST MARKET STREET                               ACCOUNT NO.:
         AKRON, OH 44313                                       NOT AVAILABLE



3.6577   SUMMIT COUNTY PUBLIC HEALTH                              6/30/2018                   Opioid Matter              UNDETERMINED
         OHIO BUILDING
         8TH FLOOR                                             ACCOUNT NO.:
          - 175 SOUTH MAIN STREET                              NOT AVAILABLE
         AKRON, OH 44308



3.6578   SUMMIT COUNTY PUBLIC HEALTH                              6/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: SCPH HEALTH COMMISSIONER AND SCPH LEGAL
         COUNSEL                                               ACCOUNT NO.:
         1867 WEST MARKET STREET                               NOT AVAILABLE
         AKRON, OH 44313



3.6579   SUMMIT COUNTY, UTAH                                      3/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK
         60 NORTYH MAIN STREET                                 ACCOUNT NO.:
         COALVILLE, UT 84017                                   NOT AVAILABLE



3.6580   SUMNER COUNTY, TN                                        2/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         355 N. BELVEDERE DRIVE                                ACCOUNT NO.:
         ROOM 111                                              NOT AVAILABLE
         GALLATIN, TN 37066




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6581   SUMNER COUNTY, TN                                        2/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE
         355 N. BELVEDERE DRIVE                                ACCOUNT NO.:
         ROOM 102                                              NOT AVAILABLE
         GALLATIN, TN 37066



3.6582   SUMNER COUNTY, TN                                        2/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MAYOR
         355 NORTH BELVEDERE DRIVE, ROOM 102                   ACCOUNT NO.:
         ROOM 102                                              NOT AVAILABLE
         GALLATIN, TN 37066



3.6583   SUMTER COUNTY, ALABAMA                                   2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE COUNTY BOARD OF
         COMMISSIONERS AND COUNTY ADMINISTRATOR                ACCOUNT NO.:
         PO BOX 70                                             NOT AVAILABLE
         LIVINGSTON, AL 35470



3.6584   SUMTER COUNTY, ALABAMA                                   2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.6585   SUMTER COUNTY, GEORGIA                                   2/22/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         500 WEST LAMAR STREET                                 ACCOUNT NO.:
         PO BOX 295                                            NOT AVAILABLE
         AMERICUS, GA 31709



3.6586   SUMTER COUNTY, GEORGIA                                   2/22/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, BOARD OF COMMISSIONERS
         500 WEST LAMAR STREET                                 ACCOUNT NO.:
         AMERICUS, GA 31709                                    NOT AVAILABLE



3.6587   SUNFLOWER COUNTY, MISS                                  12/19/2017                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF SUPERVISORS
         200 MAIN STREET                                       ACCOUNT NO.:
         P.O. BOX 988                                          NOT AVAILABLE
         INDIANOLA, MS 38751



3.6588   SUNFLOWER COUNTY, MISS                                  12/19/2017                   Opioid Matter              UNDETERMINED
         112 SOUTH MLK DRIVE
         PO BOX 1508                                           ACCOUNT NO.:
         INDIANOLA, MS 38751                                   NOT AVAILABLE



3.6589   SUQUAMISH TRIBE                                          3/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNCIL CHAIRMAN, LEGAL DEPARTMENT
         18490 SUQUAMISH WAY                                   ACCOUNT NO.:
         SUQUAMISH, WA 98392                                   NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6590   SURRY COUNTY                                            12/29/2017                   Opioid Matter              UNDETERMINED
         ATTN: JOSH STEIN
         STATE OF NORTH CAROLINA ATTORNEY GENERAL              ACCOUNT NO.:
         DEPT. OF JUSTICE, P.O.BOX 629                         NOT AVAILABLE
         RALEIGH, NC 27602-0629



3.6591   SURRY COUNTY                                            12/29/2017                   Opioid Matter              UNDETERMINED
         P.O. BOX 1514
         PILOT MOUNTAIN, NC 27041                              ACCOUNT NO.:
                                                               NOT AVAILABLE


3.6592   SURRY COUNTY                                            12/29/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER
         HISTORIC COURTHOUSE                                   ACCOUNT NO.:
         114 WEST ATKINS STREET                                NOT AVAILABLE
         DOBSON, NC 27017



3.6593   SUSSEX COUNTY, DELAWARE                                  7/9/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY COUNCIL PRESIDENT; COUNTY
         ADMINISTRATOR                                         ACCOUNT NO.:
         2 THE CIRCLE                                          NOT AVAILABLE
         P.O. BOX 589
         GEORGETOWN, DE 11947



3.6594   SUSSEX COUNTY, NEW JERSEY                                6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: DIRECTOR OF THE BOARD OF CHOSEN
         FREEHOLDERS                                           ACCOUNT NO.:
         ONE SPRING STREET                                     NOT AVAILABLE
         NEWTON, NJ 07860



3.6595   SUSSEX COUNTY, NEW JERSEY                                6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY ADMINISTRATOR
         SUSSEX COUNTY ADMINISTRATIVE CENTER                   ACCOUNT NO.:
         ONE SPRING STREET                                     NOT AVAILABLE
         NEWTON, NJ 07860



3.6596   SUSSEX COUNTY, NEW JERSEY                                6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         HALL OF RECORDS                                       ACCOUNT NO.:
         COCHRAN HOUSE BUILDING - 83 SPRING STREET SUITE       NOT AVAILABLE
         304
         NEWTON, NJ 07860



3.6597   SUWANNEE COUNTY, FLORIDA                                 6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         200 SOUTH OHIO AVENUE                                 ACCOUNT NO.:
         LIVE OAK, FL 32064                                    NOT AVAILABLE



3.6598   SUWANNEE COUNTY, FLORIDA                                 6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF COMMISSIONERS; COUNTY
         ADMINISTRATOR                                         ACCOUNT NO.:
         13150 80TH TERRACE                                    NOT AVAILABLE
         LIVE OAK, FL 32060




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6599   SUZUKI, WENDY L                                         12/12/2012                     Workers                  UNDETERMINED
         NOT AVAILABLE                                                                        Compensation
                                                               ACCOUNT NO.:
                                                                WC413A67208


3.6600   SWEETWATER COUNTY                                        1/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK; BOARD OF COUNTY
         COMMISSIONERS                                         ACCOUNT NO.:
         80 W. FLAMING GORGE WAY                               NOT AVAILABLE
         SUITE 150
         GREEN RIVER, WY 82935



3.6601   SWINOMISH TRIBE                                          7/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: EXECUTIVE CHAIRMAN
         ADMINISTRATION BUILDING                               ACCOUNT NO.:
         11404 MOORAGE WAY                                     NOT AVAILABLE
         LACONNER, WA 98257



3.6602   SYCUAN BAND OF KUMEYAAY NATION                           7/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: TRIBAL CHAIRPERSON AND CHIEF EXECUTIVE
         OFFICER                                               ACCOUNT NO.:
         1 KWAAYPAAY COURT                                     NOT AVAILABLE
         EL CAJON, CA 92019



3.6603   TAKOMA REGIONAL HOSPITAL, INC. F/K/A TAKOMA              7/11/2019                   Opioid Matter              UNDETERMINED
         HOSPITAL, INC.
         ATTN: REGISTERED AGENT                                ACCOUNT NO.:
         400 NORTH STATE OF FRANKLIN ROAD                      NOT AVAILABLE
         JOHNSON CITY, TN 37604-6035



3.6604   TAKOMA REGIONAL HOSPITAL, INC. F/K/A TAKOMA              7/11/2019                   Opioid Matter              UNDETERMINED
         HOSPITAL, INC.
         ATTN: OFFICER OR MANAGING AGENT                       ACCOUNT NO.:
         401 TAKOMA AVENUE                                     NOT AVAILABLE
         GREENVILLE, TN 37743



3.6605   TALBOT COUNTY, MARYLAND                                  6/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER AND RESIDENT AGENT R.
         ANDREW HOLLIS                                         ACCOUNT NO.:
         SOUTH WING                                            NOT AVAILABLE
         TALBOT COUNTY COURTHOUSE - 11 NORTH
         WASHINGTON STREET
         EASTON, MD 21601



3.6606   TALIAFERRO COUNTY, GEORGIA                               5/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         TALIAFERRO COUNTY BOARD OF COMMISSIONERS              ACCOUNT NO.:
         PO BOX 114                                            NOT AVAILABLE
         CRAWFORDVILLE, GA 30631



3.6607   TALIAFERRO COUNTY, GEORGIA                               5/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         TALIAFERRO COUNTY BOARD OF COMMISSIONERS              ACCOUNT NO.:
         PO BOX 114                                            NOT AVAILABLE
         CRAWFORDVILLE, GA 30631



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6608   TALLADEGA COUNTY, ALABAMA                                1/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.6609   TALLADEGA COUNTY, ALABAMA                                1/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE COUNTY BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         105 HARRISON DRIVE                                    NOT AVAILABLE
         TALLADEGA, AL 35160



3.6610   TALLAHATCHIE COUNTY, MISS.                               3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF SUPERVISORS
         PO BOX 350                                            ACCOUNT NO.:
         CHARLESTON, MS 38921                                  NOT AVAILABLE



3.6611   TALLAPOOSA COUNTY, AL                                    11/8/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR, COUNTY BOARD OF COMMISSIONERS AND
         COUNTY ADMINISTRATOR                                  ACCOUNT NO.:
         125 N BROADNAX STREET                                 NOT AVAILABLE
         RM 132
         DADEVILLE, AL 36853



3.6612   TALLAPOOSA COUNTY, AL                                    11/8/2017                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.6613   TAMA COUNTY                                              3/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: AUDITOR; CHAIR OF SUPERVISORS
         104 WEST STATE STREET                                 ACCOUNT NO.:
         TOLEDO, IA 52342                                      NOT AVAILABLE



3.6614   TANANA CHIEFS CONFERENCE                                10/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: EXECUTIVE BOARD OF DIRECTORS
         MAIN OFFICE                                           ACCOUNT NO.:
         122 1ST AVENUE                                        NOT AVAILABLE
         FAIRBANKS, AK 99701



3.6615   TANEY COUNTY                                             1/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: CIRCUIT CLERK
         266 MAIN STREET                                       ACCOUNT NO.:
         FORSYTH, MO 65653                                     NOT AVAILABLE



3.6616   TANEY COUNTY                                             8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         PO BOX 156                                            ACCOUNT NO.:
         FORSYTH, MO 65653                                     NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6617   TANEY COUNTY                                             1/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: CLERK OF THE COUNTY COMMISSION
         132 DAVID STREET                                      ACCOUNT NO.:
         FORSYTH, MO 65653                                     NOT AVAILABLE



3.6618   TANEY COUNTY                                             8/1/2018                    Opioid Matter              UNDETERMINED
         P.O. BOX 1086
         FORSYTH, MO 65653                                     ACCOUNT NO.:
                                                               NOT AVAILABLE


3.6619   TATE COUNTY, MISSISSIPPI                                 3/1/2019                    Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF SUPERVISORS
         201 WARD ST.                                          ACCOUNT NO.:
         P.O. BOX 309                                          NOT AVAILABLE
         SENATOBIA, MS 38668



3.6620   TATTNALL COUNTY, GEORGIA                                 5/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER; CHAIRMAN OF THE BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         108 WEST BRAZELL STREET                               NOT AVAILABLE
         PO BOX 25
         REIDSVILLE, GA 30453-0025



3.6621   TAYLOR BROOKE UNDERWOOD, INDIVIDUALLY AND AS             6/20/2019                   Opioid Matter              UNDETERMINED
         NEXT FRIEND AND GUARDIAN OF BABY C.U.
         ATTN: CELESTE BRUSTOWICZ                              ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                  NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.6622   TAYLOR COUNTY                                            5/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: BOARD CHAIRMAN AND COUNTY CLERK OF
         TAYLOR COUNTY                                         ACCOUNT NO.:
         224 SOUTH SECOND STREET                               NOT AVAILABLE
         MAIN FLOOR
         MEDFORD, WI 54451



3.6623   TAYLOR COUNTY HOSPITAL DISTRICT HEALTH                   8/17/2018                   Opioid Matter              UNDETERMINED
         FACILITIES CORPORATION
         ATTN: REGISTERED AGENT AND CEO                        ACCOUNT NO.:
         1700 OLD LEBANON ROAD                                 NOT AVAILABLE
         CAMPBELLVILLE, KY 42718



3.6624   TAYLOR COUNTY, FLORIDA                                   6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF COUNTY COMMISSIONERS; COUNTY
         ADMINISTRATOR                                         ACCOUNT NO.:
         201 EAST GREEN STREET                                 NOT AVAILABLE
         PERRY, FL 32347



3.6625   TAYLOR REGIONAL HOSPITAL                                 12/7/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT AND REGISTERED AGENT
         222 PERRY HIGHWAY                                     ACCOUNT NO.:
         HAWKINSVILLE, GA 31014                                NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6626   TAYLOR REGIONAL HOSPITAL                                 12/7/2018                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         214 STATE CAPITOL                                     ACCOUNT NO.:
         ATLANTA, GA 30334                                     NOT AVAILABLE



3.6627   TAZEWELL COUNTY, VIRGINIA                                8/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: COMMONWEALTH ATTORNEY
         P. O. BOX 946                                         ACCOUNT NO.:
         TAZEWELL, VA 24651                                    NOT AVAILABLE



3.6628   TEAMSTERS HEALTH SERVICE AND INSURANCE PLAN             11/28/2017                   Opioid Matter              UNDETERMINED
         LOCAL 404
         ATTN: TRUSTEES AND FUND ADMINISTRATOR                 ACCOUNT NO.:
         FUND OFFICE                                           NOT AVAILABLE
         115 PROGRESS AVENUE - P.O. BOX 1370
         SPRINGFIELD, MA 01104



3.6629   TEAMSTERS LOCAL 237 RETIREES' BENEFIT FUND               1/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT; TREASURER
         216 WEST 14TH STREET                                  ACCOUNT NO.:
         NEW YORK, NY 10011                                    NOT AVAILABLE



3.6630   TEAMSTERS LOCAL 237 WELFARE FUND                         1/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT: TREASURER
         216 WEST 14TH STREET                                  ACCOUNT NO.:
         NEW YORK, NY 10011                                    NOT AVAILABLE



3.6631   TEAMSTERS LOCAL 493 HEALTH SERVICE & INSURANCE          12/18/2017                   Opioid Matter              UNDETERMINED
         FUND
         ATTN: SECRETARY-TREASURER/PRINCIPAL OFFICER,          ACCOUNT NO.:
         PRESIDENT, TRUSTEES, AND FUND ADMINISTRATOR           NOT AVAILABLE
         18 CRESENT STREET
         PO BOX 485
         UNCASVILLE, CT 06382



3.6632   TEAMSTERS LOCAL 671 HEALTH SERVICE & INSURANCE          12/18/2017                   Opioid Matter              UNDETERMINED
         FUND
         ATTN: EXECUTIVE DIRECTOR/PRESIDING OFFICER AND        ACCOUNT NO.:
         SECRETARY                                             NOT AVAILABLE
         18 BRITTON DRIVE
         BLOOMFIELD, CT 06002?



3.6633   TEAMSTERS LOCAL 677 HEALTH SERVICE & INSURANCE          12/18/2017                   Opioid Matter              UNDETERMINED
         FUND
         ATTN: SECRETARY OF STATE                              ACCOUNT NO.:
         CONNECTICUT SECRETARY OF THE STATE                    NOT AVAILABLE
         30 TRINITY STREET
         HARTFORD, CT 06106



3.6634   TEAMSTERS LOCAL 677 HEALTH SERVICE & INSURANCE          12/18/2017                   Opioid Matter              UNDETERMINED
         FUND
         ATTN: PRESIDENT, FUND ADMINISTRATOR, VICE             ACCOUNT NO.:
         PRESIDENT, SECRETARIES AND TRUSTEES                   NOT AVAILABLE
         1871 BALDWIN STREET
         WATERBURY, CT 06706?


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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6635   TEAMSTERS LOCAL NO. 348 HEALTH & WELFARE FUND            4/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: TEAMSTERS LOCAL NO. 348 HEALTH & WELFARE
         FUND, PRINCIPLE OFFICER, AND BUSINESS AGENT           ACCOUNT NO.:
         272 W. MARKET STREET                                  NOT AVAILABLE
         AKRON, OH 44303



3.6636   TEAMSTERS UNION LOCAL NO. 52 HEALTH & WELFARE            4/17/2018                   Opioid Matter              UNDETERMINED
         FUND
         ATTN: TEAMSTERS UNION LOCAL NO. 52 HEALTH &           ACCOUNT NO.:
         WELFARE FUND, PRESIDENT, SECRETARY TREASURER-         NOT AVAILABLE
         PRINCIPAL OFFICER
         TEAMSTERS LOCAL 52
         6511 EASTLAND ROAD - SUITE 160
         BROOK PARK, OH 44142-1309



3.6637   TERRITORY OF GUAM                                        8/20/2019                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE ATTORNEY GENERAL GUAM
         590 SOUTH MARINE CORPS DRIVE                          ACCOUNT NO.:
         SUITE 901                                             NOT AVAILABLE
         TAMUNING, GU 96913



3.6638   TERRY DEESE IN HIS OFFICIAL CAPACITY AS THE              5/9/2019                    Opioid Matter              UNDETERMINED
         SHERIFF OF PEACH COUNTY, GEORGIA
         ATTN: SHERIFF                                         ACCOUNT NO.:
         205 WEST CHURCH STREET                                NOT AVAILABLE
         FORT VALLEY, GA 31030



3.6639   TEXAS COUNTY                                             1/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: CLERK OF THE COUNTY COMMISSION
         210 NORTH GRAND AVENUE, SUITE 301                     ACCOUNT NO.:
         HOUSTON, MO 65483                                     NOT AVAILABLE



3.6640   THE ADMINISTRATOR & LEGAL COUNSEL FOR                    6/30/2018                   Opioid Matter              UNDETERMINED
         SPRINGFIELD TOWNSHIP, WARREN PRICE
         ATTN: TRUSTEES AND TOWNSHIP LAW DIRECTOR AND          ACCOUNT NO.:
         TOWNSHIP ADMINISTRATOR                                NOT AVAILABLE
         9150 WINTON ROAD
         CINCINNATI, OH 45231



3.6641   THE ADMINISTRATOR & LEGAL COUNSEL FOR                    6/30/2018                   Opioid Matter              UNDETERMINED
         SPRINGFIELD TOWNSHIP, WARREN PRICE
         230 EAST 9TH STREET                                   ACCOUNT NO.:
         SUITE 4000                                            NOT AVAILABLE
         CINCINNATI, OH 45202



3.6642   THE ARIZONA SCHOOL ALLIANCE FOR WORKERS’                 4/18/2018                   Opioid Matter              UNDETERMINED
         COMPENSATION, INC.
         ATTN: BOARD PRESIDENT AND BOARD SECRETARY,            ACCOUNT NO.:
         BOARD OF DIRECTORS                                    NOT AVAILABLE
         PO BOX 33037
         PHOENIX, AZ 85067-3037




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6643   THE ARIZONA SCHOOL ALLIANCE FOR WORKERS’                 4/18/2018                   Opioid Matter              UNDETERMINED
         COMPENSATION, INC.
         ATTN: STATUTORY AGENT                                 ACCOUNT NO.:
         THE ARIZONA SCHOOL ALLIANCE FOR WORKERS’              NOT AVAILABLE
         COMPENSATION, INC.
         JONES SKELTON & HOCHULI - 2901 NORTH CENTRAL
         AVENUE
         PHOENIX, AZ 85012



3.6644   THE BEAR RIVER BAND OF ROHNERVILLE RANCHERIA            12/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON, AND VICE CHAIRPERSON, AND
         THE TRIBAL ADMINISTRATOR,. AND THE CHAIRPERSON        ACCOUNT NO.:
         266 KEISNER ROAD                                      NOT AVAILABLE
         LOLETA, CA 95551



3.6645   THE BLACKFEET TRIBE OF THE BLACKFEET INDIAN              6/22/2018                   Opioid Matter              UNDETERMINED
         RESERVATION
         ATTN: CHAIRMAN BUSINESS COUNCIL                       ACCOUNT NO.:
         640 ALL CHIEFS ROAD - TRIBAL HEADQUARTERS             NOT AVAILABLE
         BROWNING, MT 59417



3.6646   THE BOARD OF COMMISSIONERS OF THE COUNTY OF              1/5/2018                    Opioid Matter              UNDETERMINED
         ALLEN
         ATTN: CURTIS T. HILL, JR.                             ACCOUNT NO.:
         STATE OF INDIANA ATTORNEY GENERAL                     NOT AVAILABLE
         INDIANA GOVERNMENT CENTER SOUTH - 5TH FLOOR -
         302 WEST WASHINGTON STREET
         INDIANAPOLIS, IN 46204



3.6647   THE BOARD OF COMMISSIONERS OF THE COUNTY OF              1/5/2018                    Opioid Matter              UNDETERMINED
         ALLEN
         ATTN: PRESIDENT, BOARD OF COMMISSIONERS               ACCOUNT NO.:
         CITIZENS SQUARE                                       NOT AVAILABLE
         200 EAST BERRY STREET - SUITE 410
         FORT WAYNE, IN 46802



3.6648   THE BOARD OF COMMISSIONERS OF THE COUNTY OF              5/30/2018                   Opioid Matter              UNDETERMINED
         FRANKLIN
         ATTN: PRESIDENT, BOARD OF COMMISSIONERS               ACCOUNT NO.:
         1010 FRANKLIN AVENUE                                  NOT AVAILABLE
         BROOKVILLE, IN 47012



3.6649   THE BOARD OF COMMISSIONERS OF THE COUNTY OF              5/30/2018                   Opioid Matter              UNDETERMINED
         FRANKLIN
         ATTN: CURTIS T. HILL, JR.                             ACCOUNT NO.:
         STATE OF INDIANA ATTORNEY GENERAL                     NOT AVAILABLE
         INDIANA GOVERNMENT CENTER SOUTH - 5TH FLOOR -
         302 WEST WASHINGTON STREET
         INDIANAPOLIS, IN 46204



3.6650   THE BOARD OF COUNTY COMMISSIONERS FOR                    6/6/2019                    Opioid Matter              UNDETERMINED
         GREENWOOD COUNTY, KANSAS AND JOE LEE,
         GREENWOOD COUNTY ATTORNEY                             ACCOUNT NO.:
         ATTN: COUNTY CLERK; CHAIR OF COUNTY COMMISSION        NOT AVAILABLE
         311 NORTH MAIN STREET
         SUITE 3
         EUREKA, KS 67045

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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6651   THE BOARD OF COUNTY COMMISSIONERS FOR MEADE              6/6/2019                    Opioid Matter              UNDETERMINED
         COUNTY, KANSAS AND LAURA LEWIS, MEADE COUNTY
         ATTORNEY                                              ACCOUNT NO.:
         ATTN: CHAIR OF COUNTY COMMISSIONERS; COUNTY           NOT AVAILABLE
         CLERK; TREASURER
         MEADE COUNTY COURTHOUSE
         200 NORTH FOWLER - P.O. BOX 278
         MEADE, KS 67864



3.6652   THE BOARD OF COUNTY COMMISSIONERS FOR                    6/6/2019                    Opioid Matter              UNDETERMINED
         STANTON COUNTY, KANSAS AND DAVID BLACK,
         STANTON COUNTY ATTORNEY                               ACCOUNT NO.:
         ATTN: CHAIR OF COUNTY COMMISSIONERS; COUNTY           NOT AVAILABLE
         CLERK
         201 NORTH MAIN STREET
         P.O. BOX 190
         JOHNSON CITY, KS 67855



3.6653   THE BOARD OF COUNTY COMMISSIONERS OF                     6/13/2018                   Opioid Matter              UNDETERMINED
         DELAWARE COUNTY, STATE OF OKLAHOMA
         ATTN: COUNTY COMMISSIONERS AND COUNTY CLERK           ACCOUNT NO.:
         327 SOUTH 5TH STREET                                  NOT AVAILABLE
         JAY, OK 74346



3.6654   THE BOARD OF COUNTY COMMISSIONERS OF GARVIN              7/20/2018                   Opioid Matter              UNDETERMINED
         COUNTY, STATE OF OKLAHOMA
         ATTN: COUNTY COMMISSIONERS                            ACCOUNT NO.:
         201 WEST GRANT AVENUE                                 NOT AVAILABLE
         # A4
         PAULS VALLEY, OK 73075



3.6655   THE BOARD OF COUNTY COMMISSIONERS OF GARVIN              7/20/2018                   Opioid Matter              UNDETERMINED
         COUNTY, STATE OF OKLAHOMA
         ATTN: GARVIN COUNTY CLERK                             ACCOUNT NO.:
         GARVIN COUNTY COURTHOUSE                              NOT AVAILABLE
         201 WEST GRANT - 2ND FLOOR
         PAULS VALLEY, OK 73075



3.6656   THE BOARD OF COUNTY COMMISSIONERS OF GARVIN              7/20/2018                   Opioid Matter              UNDETERMINED
         COUNTY, STATE OF OKLAHOMA
         ATTN: COUNTY COMMISSIONERS AND COUNTY CLERK           ACCOUNT NO.:
         GARVIN COUNTY COURTHOUSE                              NOT AVAILABLE
         PAULS VALLEY, OK 73075



3.6657   THE BOARD OF COUNTY COMMISSIONERS OF MCCLAIN             6/13/2018                   Opioid Matter              UNDETERMINED
         COUNTY, STATE OF OKLAHOMA
         121 NORTH 2ND                                         ACCOUNT NO.:
         SUITE 331                                             NOT AVAILABLE
         PURCELL, OK 73080



3.6658   THE BOARD OF COUNTY COMMISSIONERS OF MCCLAIN             6/13/2018                   Opioid Matter              UNDETERMINED
         COUNTY, STATE OF OKLAHOMA
         MCCLAIN COUNTY COURTHOUSE                             ACCOUNT NO.:
         121 NORTH 2ND AVENUE                                  NOT AVAILABLE
         PURCELL, OK 73080




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6659   THE BOARD OF COUNTY COMMISSIONERS OF MCCLAIN             6/13/2018                   Opioid Matter              UNDETERMINED
         COUNTY, STATE OF OKLAHOMA
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS          ACCOUNT NO.:
         AND COUNTY CLERK                                      NOT AVAILABLE
         PO BOX 629
         PURCELL, OK 73080



3.6660   THE BOARD OF COUNTY COMMISSIONERS OF OSAGE               6/13/2018                   Opioid Matter              UNDETERMINED
         COUNTY, STATE OF OKLAHOMA
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS,         ACCOUNT NO.:
         COMMISSIONER'S SECRETARY, AND COUNTY CLERK            NOT AVAILABLE
         600 GRANDVIEW AVENUE
         PAWHUSKA, OK 74056



3.6661   THE BOARD OF COUNTY COMMISSIONERS OF OSAGE               6/13/2018                   Opioid Matter              UNDETERMINED
         COUNTY, STATE OF OKLAHOMA
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS          ACCOUNT NO.:
         2850 WEST 133RD STREET NORTH                          NOT AVAILABLE
         SKIATOOK, OK 74070



3.6662   THE BOARD OF COUNTY COMMISSIONERS OF OTTAWA              6/13/2018                   Opioid Matter              UNDETERMINED
         COUNTY, STATE OF OKLAHOMA
         101 NORTH CONNELL AVENUE                              ACCOUNT NO.:
         PICHER, OK 74360                                      NOT AVAILABLE



3.6663   THE BOARD OF COUNTY COMMISSIONERS OF OTTAWA              6/13/2018                   Opioid Matter              UNDETERMINED
         COUNTY, STATE OF OKLAHOMA
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS          ACCOUNT NO.:
         AND COUNTY CLERK                                      NOT AVAILABLE
         102 EAST CENTRAL
         MIAMI, OK 74354



3.6664   THE BOARD OF COUNTY COMMISSIONERS OF OTTAWA              6/13/2018                   Opioid Matter              UNDETERMINED
         COUNTY, STATE OF OKLAHOMA
         310 WEST WALKER                                       ACCOUNT NO.:
         WYANDOTTE, OK 74370                                   NOT AVAILABLE



3.6665   THE BOARD OF COUNTY COMMISSIONERS OF OTTAWA              6/13/2018                   Opioid Matter              UNDETERMINED
         COUNTY, STATE OF OKLAHOMA
         ATTN: COUNTY COMMISSIONERS                            ACCOUNT NO.:
         1201 INDUSTRIAL PARK ROAD                             NOT AVAILABLE
         P. O. BOX 737
         FAIRLAND, OK 74343



3.6666   THE BOARD OF COUNTY COMMISSIONERS OF OTTAWA              6/13/2018                   Opioid Matter              UNDETERMINED
         COUNTY, STATE OF OKLAHOMA
         ATTN: COUNTY CLERK                                    ACCOUNT NO.:
         102 EAST CENTRAL                                      NOT AVAILABLE
         SUITE 103
         MIAMI, OK 74354




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6667   THE BOARD OF COUNTY COMMISSIONERS OF PAWNEE              6/13/2018                   Opioid Matter              UNDETERMINED
         COUNTY, STATE OF OKLAHOMA
         ATTN: COUNTY CLERK                                    ACCOUNT NO.:
         500 HARRISON STREET                                   NOT AVAILABLE
         ROOM 202
         PAWNEE, OK 74058



3.6668   THE BOARD OF COUNTY COMMISSIONERS OF PAWNEE              6/13/2018                   Opioid Matter              UNDETERMINED
         COUNTY, STATE OF OKLAHOMA
         ATTN: COUNTY CLERK                                    ACCOUNT NO.:
         500 HARRISON STREET                                   NOT AVAILABLE
         ROOM 202
         PAWNEE, OK 74058



3.6669   THE BOARD OF COUNTY COMMISSIONERS OF PAWNEE              6/13/2018                   Opioid Matter              UNDETERMINED
         COUNTY, STATE OF OKLAHOMA
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS          ACCOUNT NO.:
         500 HARRISON STREET                                   NOT AVAILABLE
         ROOM 203
         PAWNEE, OK 74058



3.6670   THE BOARD OF COUNTY COMMISSIONERS OF SEMINOLE            10/9/2018                   Opioid Matter              UNDETERMINED
         COUNTY, STATE OF OKLAHOMA
         ATTN: COUNTY COMMISSIONERS                            ACCOUNT NO.:
         COUNTY COURTHOUSE                                     NOT AVAILABLE
         110 SOUTH WEWOKA AVENUE - ROOM 103
         WEWOKA, OK 74884-2645



3.6671   THE BOARD OF COUNTY COMMISSIONERS OF SEMINOLE            10/9/2018                   Opioid Matter              UNDETERMINED
         COUNTY, STATE OF OKLAHOMA
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS          ACCOUNT NO.:
         AND COUNTY CLERK                                      NOT AVAILABLE
         SEMINOLE COUNTY COURTHOUSE
         110 SOUTH WEWOKA AVENUE
         WEWOKA, OK 74884



3.6672   THE BOARD OF COUNTY COMMISSIONERS OF SEMINOLE            10/9/2018                   Opioid Matter              UNDETERMINED
         COUNTY, STATE OF OKLAHOMA
         ATTN: COUNTY CLERK                                    ACCOUNT NO.:
         SEMINOLE COUNTY COURTHOUSE                            NOT AVAILABLE
         P.O. BOX 1180
         WEWOKA, OK 74884



3.6673   THE BOARD OF COUNTY COMMISSIONERS OF THE                 1/11/2019                   Opioid Matter              UNDETERMINED
         COUNTY OF JEFFERSON
         ATTN: CHIEF DEPUTY JEFFERSON COUNTY                   ACCOUNT NO.:
         200 JEFFERSON COUNTY PARKWAY                          NOT AVAILABLE
         GOLDEN, CO 80419



3.6674   THE BOARD OF COUNTY COMMISSIONERS OF THE                 1/11/2019                   Opioid Matter              UNDETERMINED
         COUNTY OF JEFFERSON
         ATTN: COUNTY COMMISSIONER AND COUNTY CLERK            ACCOUNT NO.:
         AND RECORDER                                          NOT AVAILABLE
         100 JEFFERSON COUNTY PARKWAY
         GOLDEN, CO 80419




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6675   THE BOARD OF COUNTY COUNSELLORS FOR                      6/5/2019                    Opioid Matter              UNDETERMINED
         WABAUNSEE COUNTY, KANSAS AND TIM LEISMANN,
         WABAUNSEE COUNTY ATTORNEY                             ACCOUNT NO.:
         ATTN: CHAIR OF COUNTY COMMISIONERS; CLERK;            NOT AVAILABLE
         TREASURER
         WABAUNSEE COUNTY COURTHOUSE
         215 KANSAS AVENUE - P.O. BOX 278
         ALMA, KS 66401



3.6676   THE BOARD OF COUNTY COUNSELORS FOR DICKENSON             6/6/2019                    Opioid Matter              UNDETERMINED
         COUNTY, KANSAS AND ANDREA PURVIS, DICKINSON
         COUNTY ATTORNEY                                       ACCOUNT NO.:
         ATTN: CHAIR OF COMMISSIONERS                          NOT AVAILABLE
         109 EAST 1ST STREET
         SUITE 205
         ABILENE, KS 67410



3.6677   THE BOARD OF COUNTY COUNSELORS FOR DICKENSON             6/6/2019                    Opioid Matter              UNDETERMINED
         COUNTY, KANSAS AND ANDREA PURVIS, DICKINSON
         COUNTY ATTORNEY                                       ACCOUNT NO.:
         ATTN: COUNTY CLERK; COUNTY TREASURER                  NOT AVAILABLE
         109 EAST 1ST STREET
         P.O. BOX 248
         ABILENE, KS 67410



3.6678   THE BOARD OF COUNTY COUNSELORS FOR ELK                   6/6/2019                    Opioid Matter              UNDETERMINED
         COUNTY, KANSAS AND JOE LEE, ELK COUNTY ATTORNEY
         ATTN: COUNTY CLERK                                    ACCOUNT NO.:
         PO BOX 606                                            NOT AVAILABLE
         HOWARD, KS 67349



3.6679   THE BOARD OF COUNTY COUNSELORS FOR ELK                   6/6/2019                    Opioid Matter              UNDETERMINED
         COUNTY, KANSAS AND JOE LEE, ELK COUNTY ATTORNEY
         ATTN: COUNTY TREASURER                                ACCOUNT NO.:
         PO BOX 325                                            NOT AVAILABLE
         HOWARD, KS 67349



3.6680   THE BOARD OF COUNTY COUNSELORS FOR ELK                   6/6/2019                    Opioid Matter              UNDETERMINED
         COUNTY, KANSAS AND JOE LEE, ELK COUNTY ATTORNEY
         ATTN: CHAIR OF COUNTY COMMISSIONERS                   ACCOUNT NO.:
         1237 ROAD 27                                          NOT AVAILABLE
         HOWARD, KS 67349



3.6681   THE BOARD OF COUNTY COUNSELORS FOR GRANT                 6/6/2019                    Opioid Matter              UNDETERMINED
         COUNTY, KANSAS AND JESSICA AKERS, GRANT COUNTY
         ATTORNEY                                              ACCOUNT NO.:
         ATTN: COUNTY CLERK; COUNTY TREASURER                  NOT AVAILABLE
         108 SOUTH GLENN STREET
         ULYSSES, KS 67880



3.6682   THE BOARD OF COUNTY COUNSELORS FOR GRANT                 6/6/2019                    Opioid Matter              UNDETERMINED
         COUNTY, KANSAS AND JESSICA AKERS, GRANT COUNTY
         ATTORNEY                                              ACCOUNT NO.:
         ATTN: CHAIR OF COUNTY COMMISSIONERS                   NOT AVAILABLE
         816 NORTH WILSON STREET
         ULYSSES, KS 67880



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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6683   THE BOROUGH OF NAUGATUCK                                 1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: BOARD OF MAYOR AND BURGESSES, BOROUGH
         CLERK                                                 ACCOUNT NO.:
         TOWN HALL                                             NOT AVAILABLE
         229 CHURCH STREET
         NAUGATUCK, CT 06770



3.6684   THE BOROUGH OF RIDGEFIELD                                11/8/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         RIDGEFIELD MUNICIPAL BUILDING                         ACCOUNT NO.:
         604 BROAD STREET                                      NOT AVAILABLE
         RIDGEFIELD, NJ 07657



3.6685   THE BOROUGH OF RIDGEFIELD                                11/8/2017                   Opioid Matter              UNDETERMINED
         ATTN: BOROUGH CLERK
         604 BROAD AVENUE                                      ACCOUNT NO.:
         RIDGEFIELD, NJ 07657                                  NOT AVAILABLE



3.6686   THE CANDLER COUNTY HOSPITAL AUTHORITY                    1/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         400 CEDAR STREET                                      ACCOUNT NO.:
         P.O. BOX 597                                          NOT AVAILABLE
         METTER, GA 30439



3.6687   THE CANDLER COUNTY HOSPITAL AUTHORITY                    1/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE BOARD OF COMMISSIONERS
         1075 EAST HIAWATHA STREET                             ACCOUNT NO.:
         SUITE A                                               NOT AVAILABLE
         METTER, GA 30439



3.6688   THE CANDLER COUNTY HOSPITAL AUTHORITY                    1/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         214 STATE CAPITOL                                     ACCOUNT NO.:
         ATLANTA, GA 30334                                     NOT AVAILABLE



3.6689   THE CHARLES TOWN GENERAL HOSPITAL                        4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND PRESIDENT
         JEFFERSON MEDICAL CENTER                              ACCOUNT NO.:
         300 SOUTH PRESTON STREET                              NOT AVAILABLE
         RANSON, WV 25438



3.6690   THE CHARLES TOWN GENERAL HOSPITAL                        4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         2000 FOUNDATION WAY                                   ACCOUNT NO.:
         SUITE 2310                                            NOT AVAILABLE
         MARTINSBURG, WV 25401



3.6691   THE CHEROKEE NATION                                      6/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRINCIPAL CHIEF, DEPUTY PRINCIPAL CHIEF,
         SPEAKER OF THE TRIBAL COUNCIL, ATTORNEY               ACCOUNT NO.:
         GENERAL, DEPUTY ATTORNEY GENERAL                      NOT AVAILABLE
         PO BOX 948
         TAHLEQUAH, OK 74465




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6692   THE CHEROKEE NATION                                      6/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRINCIPAL CHIEF, DEPUTY PRINCIPAL CHIEF,
         SPEAKER OF THE TRIBAL COUNCIL, ATTORNEY               ACCOUNT NO.:
         GENERAL, DEPUTY ATTORNEY GENERAL                      NOT AVAILABLE
         W.W. KEELER TRIBAL COMPLEX
         17675 S. MUSKOGEE AVE
         TAHLEQUAH, OK 74464



3.6693   THE CITY OF 800 BEE STREET PRINCETON, WEST               8/20/2018                   Opioid Matter              UNDETERMINED
         VIRGINIA, A WEST VIRGINIA MUNICIPAL CORPORATION
         ATTN: CITY CLERK, CITY COUNCIL                        ACCOUNT NO.:
         800 BEE STREET                                        NOT AVAILABLE
         PRINCETON, WV 24740



3.6694   THE CITY OF ALAMOSA                                      5/29/2018                   Opioid Matter              UNDETERMINED
         P.O. BOX 419
         ALAMOSA, CO 81101                                     ACCOUNT NO.:
                                                               NOT AVAILABLE


3.6695   THE CITY OF ALAMOSA                                      5/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY MANAGER, CITY CLERK
         300 HUNT AVE                                          ACCOUNT NO.:
         ALAMOSA, CO 81101                                     NOT AVAILABLE



3.6696   THE CITY OF AMSTERDAM, NY                                6/25/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CONTROLLER OR CITY CLERK
         61 CHURCH ST                                          ACCOUNT NO.:
         AMSTERDAM, NY 12010                                   NOT AVAILABLE



3.6697   THE CITY OF ANSONIA                                      5/24/2018                   Opioid Matter              UNDETERMINED
         TRICIA HERZFELD
         BRANSTETTER ET AL                                     ACCOUNT NO.:
         233 ROSA L. PARKS AVENUE, FLOOR 2                     NOT AVAILABLE
         NASHVILLE, TN 37203



3.6698   THE CITY OF ANSONIA, CT                                  5/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, TOWN CLERK, AND ASSISTANT CLERK
         253 MAIN STREET                                       ACCOUNT NO.:
         ANSONIA, CT 06401                                     NOT AVAILABLE



3.6699   THE CITY OF AUBURN                                       6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         MEMORIAL CITY HALL                                    ACCOUNT NO.:
         24 SOUTH STREET                                       NOT AVAILABLE
         AUBURN, NY 13021



3.6700   THE CITY OF BARBERTON                                    6/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND LAW DIRECTOR
         576 W PARK AVENUE                                     ACCOUNT NO.:
         BARBERTON, OH 44203                                   NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6701   THE CITY OF BRIDGEPORT, ET AL.                           1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         45 LYON TERRACE                                       ACCOUNT NO.:
         ROOM 204                                              NOT AVAILABLE
         BRIDGEPORT, CT 06604



3.6702   THE CITY OF BRIDGEPORT, ET AL.                           1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         999 BROAD STREET                                      ACCOUNT NO.:
         MARGARET E. MORTON GOVERNMENT CENTER                  NOT AVAILABLE
         BRIDGEPORT, CT 06604



3.6703   THE CITY OF BRIDGEPORT, ET AL.                           1/9/2018                    Opioid Matter              UNDETERMINED
         JAMES E. HARTLEY JR.
         500 CHASE PARKWAY                                     ACCOUNT NO.:
         WATERBURY, CT 06708                                   NOT AVAILABLE



3.6704   THE CITY OF BRISTOL, CT                                  1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         MAYOR'S OFFICE 3RD FLOOR                              ACCOUNT NO.:
         111 NORTH MAIN STREET                                 NOT AVAILABLE
         BRISTOL, CT 06010



3.6705   THE CITY OF BRISTOL, CT                                  1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: TOWN & CITY CLERK
         111 NORTH MAIN STREET                                 ACCOUNT NO.:
         BRISTOL, CT 06010                                     NOT AVAILABLE



3.6706   THE CITY OF BROADVIEW HEIGHTS                            2/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY COUNCIL PRESIDENT
         9543 BROADVIEW ROAD                                   ACCOUNT NO.:
         BROADVIEW HEIGHTS, OH 44147                           NOT AVAILABLE



3.6707   THE CITY OF BRUNSWICK                                    2/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER
         4095 CENTER ROAD                                      ACCOUNT NO.:
         BRUNSWICK, OH 44212                                   NOT AVAILABLE



3.6708   THE CITY OF BUCKHANNON, WEST VIRGINIA                    8/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY COUNCIL, CITY RECORDER
         CITY HALL                                             ACCOUNT NO.:
         70 EAST MAIN STREET                                   NOT AVAILABLE
         BUCKHANNON, WV 26201



3.6709   THE CITY OF BURBANK, IL                                 11/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY CLERK
         6530 W. 79TH STREET                                   ACCOUNT NO.:
         BURBANK, IL 60459                                     NOT AVAILABLE



3.6710   THE CITY OF CARBON HILL, ALABAMA                         5/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         170 2ND AVE NW                                        ACCOUNT NO.:
         CARBON HILL, AL 35549                                 NOT AVAILABLE


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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6711   THE CITY OF CARBON HILL, ALABAMA                         5/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.6712   THE CITY OF CARDOVA, ALABAMA                             5/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.6713   THE CITY OF CARDOVA, ALABAMA                             5/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR; CITY CLERK
         154 MAIN STREET                                       ACCOUNT NO.:
         CARDOVA, AL 35550                                     NOT AVAILABLE



3.6714   THE CITY OF CHARLESTON, WEST VIRGINIA                    3/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE MAYOR
         501 VIRGINIA STREET EAST                              ACCOUNT NO.:
         CHARLESTON, WV 25301                                  NOT AVAILABLE



3.6715   THE CITY OF CLARKSVILLE, TENNESSEE                       5/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY AND CITY CLERK
         ONE PUBLIC SQUARE                                     ACCOUNT NO.:
         CLARKSVILLE, TN 37040                                 NOT AVAILABLE



3.6716   THE CITY OF COCONUT CREEK, FLORIDA                       2/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR; CITY COMMISSIONERS; CITY CLERK
         CITY HALL                                             ACCOUNT NO.:
         4800 WEST COPANS ROAD                                 NOT AVAILABLE
         COCONUT CREEK, FL 33063



3.6717   THE CITY OF COLUMBUS                                    12/15/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         CITY HALL 2ND FLOOR                                   ACCOUNT NO.:
         90 WEST BROAD STREET                                  NOT AVAILABLE
         COLUMBUS, OH 43215



3.6718   THE CITY OF CORAL GABLES                                 6/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         405 BILTMORE WAY, FIRST FLOOR                         ACCOUNT NO.:
         CORAL GABLES, FL 33134                                NOT AVAILABLE



3.6719   THE CITY OF CORAL GABLES                                 6/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR; CITY MANAGER; BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         CITY HALL                                             NOT AVAILABLE
         405 BILTMORE WAY - SECOND FLOOR
         CORAL GABLES, FL 33134




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6720   THE CITY OF COUNTRYSIDE, IL                             11/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY CLERK
         CITY HALL                                             ACCOUNT NO.:
         5550 EAST AVENUE                                      NOT AVAILABLE
         COUNTRYSIDE, IL 60525



3.6721   THE CITY OF CUYAHOGA FALLS                               6/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY SOLICITOR AND MAYOR
         2310 SECOND STREET                                    ACCOUNT NO.:
         CUYAHOGA FALLS, OH 44221                              NOT AVAILABLE



3.6722   THE CITY OF DANBURY                                      5/24/2018                   Opioid Matter              UNDETERMINED
         TRICIA HERZFELD
         BRANSTETTER ET AL                                     ACCOUNT NO.:
         233 ROSA L. PARKS AVENUE, FLOOR 2                     NOT AVAILABLE
         NASHVILLE, TN 37203



3.6723   THE CITY OF DANBURY, CT                                  5/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CHIEF LEGAL OFFICER,
         CORPORATION COUNSEL                                   ACCOUNT NO.:
         155 DEER HILL AVENUE                                  NOT AVAILABLE
         DANBURY, CT 06810



3.6724   THE CITY OF DAYTON                                       6/5/2017                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY ATTORNEY
         101 WEST 3RD STREET                                   ACCOUNT NO.:
         DAYTON, OH 45402                                      NOT AVAILABLE



3.6725   THE CITY OF DERBY                                        5/24/2018                   Opioid Matter              UNDETERMINED
         TRICIA HERZFELD
         BRANSTETTER ET AL                                     ACCOUNT NO.:
         233 ROSA L. PARKS AVENUE, FLOOR 2                     NOT AVAILABLE
         NASHVILLE, TN 37203



3.6726   THE CITY OF DERBY, CT                                    5/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY CLERK
         1 ELIZABETH ST.                                       ACCOUNT NO.:
         DERBY, CT 06418                                       NOT AVAILABLE



3.6727   THE CITY OF DUNBAR, WEST VIRGINIA                        3/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE MAYOR
         210 12TH STREET                                       ACCOUNT NO.:
         DUNBAR, WV 25064                                      NOT AVAILABLE



3.6728   THE CITY OF EAGLE PASS, TEXAS                            8/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY SECRETARY
         CITY HALL                                             ACCOUNT NO.:
         100 SOUTH MONROE                                      NOT AVAILABLE
         EAGLE PASS, TX 78852




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6729   THE CITY OF ELKHARDT, MORTON COUNTY, KANSAS              6/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK; MAYOR
         433 MORTON STREET                                     ACCOUNT NO.:
         ELKHART, KS 67950                                     NOT AVAILABLE



3.6730   THE CITY OF ELYRIA                                      11/28/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         CITY HALL                                             ACCOUNT NO.:
         3RD FLOOR - 131 COURT STREET                          NOT AVAILABLE
         ELYRIA, OH 44035



3.6731   THE CITY OF EUCLID                                       7/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         585 EAST 222ND ST.                                    ACCOUNT NO.:
         EUCLID, OH 44123                                      NOT AVAILABLE



3.6732   THE CITY OF FAIRLAWN                                     6/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: DIRECTOR OF LAW AND MAYOR
         3487 SOUTH SMITH ROAD                                 ACCOUNT NO.:
         FAIRLAWN, OH 44333                                    NOT AVAILABLE



3.6733   THE CITY OF FALL RIVER, MA                               8/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK
         ONE GOVERNMENT CENTER                                 ACCOUNT NO.:
         ROOM 227                                              NOT AVAILABLE
         FALL RIVER, MA 02722



3.6734   THE CITY OF FALL RIVER, MA                               8/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         ONE GOVERNMENT CENTER                                 ACCOUNT NO.:
         ROOM 215                                              NOT AVAILABLE
         FALL RIVER, MA 02722



3.6735   THE CITY OF FARGO                                        7/9/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND BOARD OF COMMISSIONERS
         225 4TH STREET NORTH                                  ACCOUNT NO.:
         FARGO, ND 58102                                       NOT AVAILABLE



3.6736   THE CITY OF FINDLAY                                      3/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         318 DORNEY PLAZA                                      ACCOUNT NO.:
         ROOM 310                                              NOT AVAILABLE
         FINDLAY, OH 45840



3.6737   THE CITY OF FINDLAY                                      3/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: LAW DIRECTOR
         318 DORNEY PLAZA                                      ACCOUNT NO.:
         ROOM 310                                              NOT AVAILABLE
         FINDLAY, OH 45840-3346




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6738   THE CITY OF FITCHBURG                                    8/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER AND CLERK
         166 BOULDER DRIVE                                     ACCOUNT NO.:
         SUITE 108                                             NOT AVAILABLE
         FITCHBURG, MA 01420



3.6739   THE CITY OF FLORENCE, ALABAMA                            1/31/2019                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.6740   THE CITY OF FLORENCE, ALABAMA                            1/31/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         110 WEST COLLEGE STREET                               ACCOUNT NO.:
         FLORENCE, AL 35630                                    NOT AVAILABLE



3.6741   THE CITY OF GAINESVILLE, GEORGIA                         3/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         300 HENRY WARD WAY                                    ACCOUNT NO.:
         SUITE 303 - PO BOX 2496                               NOT AVAILABLE
         GAINESVILLE, GA 30501



3.6742   THE CITY OF GREEN                                        6/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: LAW DIRECTOR
         CENTRAL ADMINISTRATION BUILDING                       ACCOUNT NO.:
         1755 TOWN PARK BLVD - PO BOX 278                      NOT AVAILABLE
         GREEN, OH 44232-0278



3.6743   THE CITY OF GREEN                                        6/30/2018                   Opioid Matter              UNDETERMINED
         PO BOX 278
         GREEN, OH 44232-0460                                  ACCOUNT NO.:
                                                               NOT AVAILABLE


3.6744   THE CITY OF GULFPORT, MISSISSIPPI                        4/24/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 1780                                           ACCOUNT NO.:
         GULFPORT, MS 39501                                    NOT AVAILABLE



3.6745   THE CITY OF HALLANDALE BEACH, FLORIDA                    2/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER
         400 SOUTH FEDERAL HIGHWAY, SECOND FLOOR               ACCOUNT NO.:
         HALLANDALE BEACH, FL 33009                            NOT AVAILABLE



3.6746   THE CITY OF HALLANDALE BEACH, FLORIDA                    2/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, VICE MAYOR, CITY COMMISSIONERS
         400 SOUTH FEDERAL HIGHWAY                             ACCOUNT NO.:
         HALLANDALE BEACH, FL 33009                            NOT AVAILABLE




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Code                                                  And Account Number                          Claim

Litigation

3.6747   THE CITY OF INEZ, A POLITICAL SUBDIVISION OF THE          6/17/2019                   Opioid Matter              UNDETERMINED
         COMMONWEALTH OF KENTUCKY
         ATTN: MAYOR                                            ACCOUNT NO.:
         MAIN STREET                                            NOT AVAILABLE
         PO BOX 540
         INEZ, KY 41224



3.6748   THE CITY OF KENOVA, WEST VIRGINIA, A WEST VIRGINIA       11/28/2018                   Opioid Matter              UNDETERMINED
         MUNICIPAL CORPORATION
         ATTN: MAYOR                                            ACCOUNT NO.:
         CITY OF KENOVA                                         NOT AVAILABLE
         1501 PINE STREET
         KENOVA, WV 25530



3.6749   THE CITY OF LAKEWOOD                                      6/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY MANAGER' AND CITY CLERK
         AND DEPUTY CLERK.                                      ACCOUNT NO.:
         480 S. ALLISON PARWAY                                  NOT AVAILABLE
         LAKEWOOD, CO 80226



3.6750   THE CITY OF LAREDO, TEXAS                                 8/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY SECRETARY
         CITY HALL                                              ACCOUNT NO.:
         1110 HOUSTON STREET                                    NOT AVAILABLE
         LAREDO, TX 78040



3.6751   THE CITY OF LAUDERHILL, FLORIDA                           2/22/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, VICE MAYOR, CITY COMMISSIONERS.,
         CITY MANAGER                                           ACCOUNT NO.:
         5581 WEST OAKLAND PARK BOULEVARD                       NOT AVAILABLE
         LAUDERHILL, FL 33313



3.6752   THE CITY OF LEBANON, OHIO                                 1/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER
         50 S. BROADWAY                                         ACCOUNT NO.:
         LEBANON, OH 45036                                      NOT AVAILABLE



3.6753   THE CITY OF LONG BEACH, MISSISSIPPI                       6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR OF THE CITY OF LONG BEACH
         201 JEFF DAVIS AVENUE                                  ACCOUNT NO.:
         LONG BEACH, MS 39560                                   NOT AVAILABLE



3.6754   THE CITY OF LONG BEACH, MISSISSIPPI                       6/18/2019                   Opioid Matter              UNDETERMINED
         P.O. BOX 929
         201 JEFF DAVIS AVENUE                                  ACCOUNT NO.:
         LONG BEACH, MS 39560                                   NOT AVAILABLE



3.6755   THE CITY OF LORAIN                                        6/29/2017                   Opioid Matter              UNDETERMINED
         200 WEST ERIE AVENUE
         3RD FLOOR                                              ACCOUNT NO.:
         LORAIN, OH 44052                                       NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.6756   THE CITY OF LORAIN                                       6/29/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         200 WEST ERIE AVENUE                                  ACCOUNT NO.:
         7TH FLOOR                                             NOT AVAILABLE
         LORAIN, OH 44052



3.6757   THE CITY OF MANTER, STANTON COUNTY, KANSAS               6/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK; MAYOR
         205 WEST 1ST AVENUE                                   ACCOUNT NO.:
         P.O. BOX 98                                           NOT AVAILABLE
         MANTER, KS 67862



3.6758   THE CITY OF MEDFORD                                      2/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         MEDFORD CITY HALL                                     ACCOUNT NO.:
         85 GEORGE P. HASSETT DRIVE                            NOT AVAILABLE
         MEDFORD, MA 02155



3.6759   THE CITY OF MEDFORD                                      2/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         85 GEORGE P. HASSETT DRIVE                            ACCOUNT NO.:
         ROOM 207                                              NOT AVAILABLE
         MEDFORD, MA 02155



3.6760   THE CITY OF MIAMI                                        4/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, COMMISSIONERS, CITY MANAGER
         MIAMI RIVERSIDE CENTER (MRC)                          ACCOUNT NO.:
         444 SW 2ND AVE                                        NOT AVAILABLE
         MIAMI, FL 33130



3.6761   THE CITY OF MILFORD, CT                                  1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         70 WEST RIVER STREET                                  ACCOUNT NO.:
         MILFORD, CT 06460                                     NOT AVAILABLE



3.6762   THE CITY OF MILFORD, CT                                  1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         110 RIVER STREET                                      ACCOUNT NO.:
         MILFORD, CT 06460                                     NOT AVAILABLE



3.6763   THE CITY OF MILLEDGEVILLE, GEORGIA                       4/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         119 E. HANCOCK STREET                                 ACCOUNT NO.:
         PO BOX 1900                                           NOT AVAILABLE
         MILLEDGEVILLE, GA 31059



3.6764   THE CITY OF MIRAMAR, FLORIDA                             2/5/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR, VICE MAYOR, COMMISSIONERS, CITY
         MANAGER.                                              ACCOUNT NO.:
         OFFICE OF THE COMMISSION                              NOT AVAILABLE
         2300 CIVIC CENTER PLACE
         MIRAMAR, FL 33025




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6765   THE CITY OF MONTGOMERY, WEST VIRGINIA                    9/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, RECORDER, CITY COUNCIL
         MONTGOMERY CITY HALL                                  ACCOUNT NO.:
         706 THIRD AVENUE                                      NOT AVAILABLE
         MONTGOMERY, WV 25136



3.6766   THE CITY OF MONTGOMERY, WEST VIRGINIA                    3/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE MAYOR
         MONTGOMERY CITY HALL                                  ACCOUNT NO.:
         706 THIRD AVENUE                                      NOT AVAILABLE
         MONTGOMERY, WV 25136



3.6767   THE CITY OF MOUNT VERNON                                 7/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, COMPTROLLER AND CITY CLERK
         CITY HALL                                             ACCOUNT NO.:
         1 ROOSEVELT SQUARE                                    NOT AVAILABLE
         MOUNT VERNON, NY 10550



3.6768   THE CITY OF MOUNT VERNON                                 7/11/2018                   Opioid Matter              UNDETERMINED
         PAUL J. NAPOLI
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.6769   THE CITY OF MOUNT VERNON, NY                             7/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, COMPTROLLER, CITY CLERK
         CITY HALL, 1 ROOSEVELT SQUARE                         ACCOUNT NO.:
         MOUNT VERNON, NY 10550                                NOT AVAILABLE



3.6770   THE CITY OF MUNROE FALLS                                 6/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         43 MUNROE FALLS AVENUE                                ACCOUNT NO.:
         MUNRO FALLS, OH 44262                                 NOT AVAILABLE



3.6771   THE CITY OF NASHUA                                      12/20/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY CLERK, BOARD OF ALDERMEN
         229 MAIN STREET                                       ACCOUNT NO.:
         NASHUA, NH 03060                                      NOT AVAILABLE



3.6772   THE CITY OF NASHUA                                      12/20/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY CLERK, BOARD OF ALDERMEN
         PO BOX 2019                                           ACCOUNT NO.:
         NASHUA, NH 03061                                      NOT AVAILABLE



3.6773   THE CITY OF NAUVOO, ALABAMA                              5/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: CIRCUIT CLERK
         SUSAN D. ODOM                                         ACCOUNT NO.:
         PO BOX 1389                                           NOT AVAILABLE
         JASPER, AL 35501




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6774   THE CITY OF NAUVOO, ALABAMA                              5/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.6775   THE CITY OF NEW CASTLE                                   3/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         MUNICIPAL BUILDING                                    ACCOUNT NO.:
         230 NORTH JEFFERSON STREET                            NOT AVAILABLE
         NEW CASTLE, PA 16101-2220



3.6776   THE CITY OF NEW CASTLE                                   3/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: JOSH SHAPIRO
         STATE OF PENNSYLVANIA ATTORNEY GENERAL                ACCOUNT NO.:
         PENNSYLVANIA OFFICE OF ATTORNEY GENERAL - 16TH        NOT AVAILABLE
         FLOOR, STRAWBERRY SQUARE
         HARRISBURG, PA 17120



3.6777   THE CITY OF NEW FRANKLIN                                 6/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND DIRECTOR OF LAW
         5611 MANCHESTER ROAD                                  ACCOUNT NO.:
         NEW FRANKLIN, OH 44319                                NOT AVAILABLE



3.6778   THE CITY OF NEW LONDON, CT                               4/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         181 STATE STREET                                      ACCOUNT NO.:
         NEW LONDON, CT 06320                                  NOT AVAILABLE



3.6779   THE CITY OF NEWARK, NJ                                   10/1/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR'S OFFICE
         920 BROAD STREET                                      ACCOUNT NO.:
         ROOM 200                                              NOT AVAILABLE
         NEWARK, NJ 07102



3.6780   THE CITY OF NEWARK, NJ                                   10/1/2017                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         ROOM 306                                              ACCOUNT NO.:
         CITY HALL                                             NOT AVAILABLE
         NEWARK, NJ 07102



3.6781   THE CITY OF NORTH OLMSTEAD                               7/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         5200 DOVER CENTER ROAD                                ACCOUNT NO.:
         NORTH OLMSTED, OH 44070                               NOT AVAILABLE



3.6782   THE CITY OF NORTH RIDGEVILLE                             8/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         7307 AVON BELDEN ROAD                                 ACCOUNT NO.:
         NORTH RIDGEVILLE, OH 44039                            NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6783   THE CITY OF NORTON                                       6/30/2018                   Opioid Matter              UNDETERMINED
         THE BARBERTON PROSECUTORS OFFICE
         576 WEST PARK AVENUE                                  ACCOUNT NO.:
          - SUITE 301                                          NOT AVAILABLE
         BARBERTON, OH 44203



3.6784   THE CITY OF NORTON                                       6/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         4060 COLUMBIA WOODS DRIVE                             ACCOUNT NO.:
         NORTON, OH 44203                                      NOT AVAILABLE



3.6785   THE CITY OF NORWALK                                      5/24/2018                   Opioid Matter              UNDETERMINED
         TRICIA HERZFELD
         BRANSTETTER ET AL                                     ACCOUNT NO.:
         233 ROSA L. PARKS AVENUE, FLOOR 2                     NOT AVAILABLE
         NASHVILLE, TN 37203



3.6786   THE CITY OF NORWALK, CT                                  5/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR'S OFFICE, CITY CLERK
         125 EAST AVENUE                                       ACCOUNT NO.:
         NORWALK, CT 06856-5125                                NOT AVAILABLE



3.6787   THE CITY OF OAKMAN, ALABAMA                              5/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.6788   THE CITY OF OAKMAN, ALABAMA                              5/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER & CLERK
         OAKMAN CITY HALL                                      ACCOUNT NO.:
         8236 MARKET STREET                                    NOT AVAILABLE
         OAKMAN, AL 35579



3.6789   THE CITY OF OGDENSBURG                                   6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR OF OGDENBURG
         330 FORD STREET                                       ACCOUNT NO.:
         OGDENSBURG, NY 13669                                  NOT AVAILABLE



3.6790   THE CITY OF OGDENSBURG                                   6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR OF OGDENBURG
         330 FORD STREET                                       ACCOUNT NO.:
         ROOM #4                                               NOT AVAILABLE
         OGDENSBURG, NY 13669



3.6791   THE CITY OF OGDENSBURG, NY                               6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         MAYOR'S OFFICE                                        ACCOUNT NO.:
         330 FORD ST. - FIRST FLOOR, ROOM 2                    NOT AVAILABLE
         OGDENSBURG, NY 13669




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6792   THE CITY OF OGDENSBURG, NY                               6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY, CITY MANAGER
         330 FORD ST.                                          ACCOUNT NO.:
         FIRST FLOOR, ROOM 1                                   NOT AVAILABLE
         OGDENSBURG, NY 13669



3.6793   THE CITY OF OGDENSBURG, NY                               6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         330 FORD STREET                                       ACCOUNT NO.:
         ROOM #4                                               NOT AVAILABLE
         OGDENSBURG, NY 13669



3.6794   THE CITY OF OGDENSBURG, NY                               6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         330 FORD STREET                                       ACCOUNT NO.:
         FIRST FLOOR, ROOM 2                                   NOT AVAILABLE
         OGDENSBURG, NY 13669



3.6795   THE CITY OF OGDENSBURG, NY                               6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: LETITIA A. JAMES
         STATE OF NEW YORK ATTORNEY GENERAL                    ACCOUNT NO.:
         DEPT. OF LAW - THE CAPITOL, 2ND FL.                   NOT AVAILABLE
         ALBANY, NY 12224



3.6796   THE CITY OF OGDENSBURG, NY                               6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: COMPTROLLER
         330 FORD ST.                                          ACCOUNT NO.:
         FIRST FLOOR, ROOM 5                                   NOT AVAILABLE
         OGDENSBURG, NY 13669



3.6797   THE CITY OF OLMSTED FALLS                                7/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR; CITY COUNCIL; LAW DIRECTOR
         26100 BAGLEY ROAD                                     ACCOUNT NO.:
         OLMSTED FALLS, OH 44138                               NOT AVAILABLE



3.6798   THE CITY OF OLMSTED FALLS                                7/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         26100 BAGLEY ROAD                                     ACCOUNT NO.:
         OLMSTEAD FALLS, OH 44138                              NOT AVAILABLE



3.6799   THE CITY OF PAINTSVILLE, A POLITICAL SUBDIVISION OF      6/24/2019                   Opioid Matter              UNDETERMINED
         THE COMMONWEALTH OF KENTUCKY
         ATTN: MAYOR OF THE CITY PAINTSVILLE                   ACCOUNT NO.:
         340 MAIN STREET                                       NOT AVAILABLE
         PAINTSVILLE, KY 41240



3.6800   THE CITY OF PARMA                                        8/8/2017                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY LAW DIRECTOR
         6611 RIDGE ROAD                                       ACCOUNT NO.:
         PARMA, OH 44129                                       NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip                  Date Claim Was Incurred    C U      D    Basis For      Offset   Amount of Claim
Code                                                             And Account Number                        Claim

Litigation

3.6801   THE CITY OF PARMA HEIGHTS                                          5/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND DIRECTOR OF LAW
         6281 PEARL ROAD                                                  ACCOUNT NO.:
         PARMA HEIGHTS, OH 44130                                          NOT AVAILABLE



3.6802   THE CITY OF PARRISH, ALABAMA                                       5/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         6484 HIGHWAY 269                                                 ACCOUNT NO.:
         PARRISH, AL 35580                                                NOT AVAILABLE



3.6803   THE CITY OF PARRISH, ALABAMA                                       5/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                                ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                            NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.6804   THE CITY OF PATERSON, NJ                                           10/23/2017                  Opioid Matter              UNDETERMINED
         ATTN: CORPORATION COUNSEL
         155 MARKET STREET                                                ACCOUNT NO.:
         PATERSON, NJ 07505                                               NOT AVAILABLE



3.6805   THE CITY OF PATERSON, NJ                                           10/23/2017                  Opioid Matter              UNDETERMINED
         ATTN: MUNICIPAL CLERK, MAYOR
         155 MARKET STREET                                                ACCOUNT NO.:
         PATERSON, NJ 07505                                               NOT AVAILABLE



3.6806   THE CITY OF POMPANO BEACH, FLORIDA                                  2/4/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, VICE MAYOR OR COMMISSIONERS.
         100 WEST ATLANTIC BLVD.                                          ACCOUNT NO.:
         POMPANO BEACH, FL 33060                                          NOT AVAILABLE



3.6807   THE CITY OF POUGHKEEPSIE, INDIVIDUALLY, AND ON                     3/28/2019                   Opioid Matter              UNDETERMINED
         BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: CORPORATION COUNSEL                                        ACCOUNT NO.:
         NAPOLI SHKOLNIK PLLC                                             NOT AVAILABLE
         400 BROADHOLLOW ROAD - SUITE 305
         MELVILLE, NY 11747



3.6808   THE CITY OF POUGHKEEPSIE, INDIVIDUALLY, AND ON                     3/28/2019                   Opioid Matter              UNDETERMINED
         BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: CORPORATION COUNSEL                                        ACCOUNT NO.:
         NAPOLI SHKOLNIK PLLC                                             NOT AVAILABLE
         400 BROADHOLLOW ROAD - SUITE 305
         MELVILLE, NY 11747



3.6809   The City of Poughkeepsie, individually, and on behalf of all       3/28/2019                   Opioid Matter              UNDETERMINED
         others similarly situated
         Attn: Paul J. Napoli, Hunter J. Shkolnik, Salavtore C. Badala,   ACCOUNT NO.:
         Joseph L. Ciaccio & Shayna E. Sacks                              NOT AVAILABLE
         Napoli Shkolnik PLLC
         400 Broadhollow Road - Suite 305
         Melville, NY 11747




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6810   THE CITY OF POUGHKEEPSIE, INDIVIDUALLY, AND ON           3/28/2019                   Opioid Matter              UNDETERMINED
         BEHALF OF ALL OTHERS SIMILARLY SITUATED
         ATTN: MAYOR, CORPORATION COUNSEL                      ACCOUNT NO.:
         CITY HALL                                             NOT AVAILABLE
         3RD FLOOR - 62 CIVIC CENTER PLAZA
         POUGHKEEPSIE, NY 12601



3.6811   THE CITY OF PRESTONBURG, A POLITICAL SUBDIVISION         4/30/2019                   Opioid Matter              UNDETERMINED
         OF THE COMMONWEALTH OF KENTUCKY
         ATTN: MAYOR AND CITY CLERK                            ACCOUNT NO.:
         200 NORTH LAKE DRIVE                                  NOT AVAILABLE
         PRESTONSBURG, KY 41653



3.6812   THE CITY OF QUINCY                                       8/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         CITY HALL                                             ACCOUNT NO.:
         1305 HANCOCK STREET                                   NOT AVAILABLE
         QUINCY, MA 02169



3.6813   THE CITY OF QUINCY                                       8/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         CITY HALL                                             ACCOUNT NO.:
         1305 HANCOCK STREET - 2ND FLOOR                       NOT AVAILABLE
         QUINCY, MA 02169



3.6814   THE CITY OF RIPLEY, WV                                   5/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         RIPLEY CITY HALL                                      ACCOUNT NO.:
         203 S. CHURCH ST.                                     NOT AVAILABLE
         RIPLEY, WV 25271



3.6815   THE CITY OF ROCHESTER                                    6/5/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         CITY HALL                                             ACCOUNT NO.:
         ROOM 301A - 30 CHURCH STREET                          NOT AVAILABLE
         ROCHESTER, NY 14614-1265



3.6816   THE CITY OF ROCHESTER                                    6/5/2019                    Opioid Matter              UNDETERMINED
         ATTN: DIRECTOR OF FINANCE DEPARTMENT
         CITY HALL                                             ACCOUNT NO.:
         ROOM 109A - 30 CHURCH ST.                             NOT AVAILABLE
         ROCHESTER, NY 14614



3.6817   THE CITY OF ROCHESTER                                    6/5/2019                    Opioid Matter              UNDETERMINED
         ATTN: CITY TREASURER
         30 CHURCH STREET                                      ACCOUNT NO.:
         #111A                                                 NOT AVAILABLE
         ROCHESTER, NY 14614



3.6818   THE CITY OF ROCHESTER                                    6/5/2019                    Opioid Matter              UNDETERMINED
         ATTN: LAW DEPARTMENT CORPORATION COUNSEL
         CITY HALL                                             ACCOUNT NO.:
         ROOM 400A - 30 CHURCH STREET                          NOT AVAILABLE
         ROCHESTER, NY 14614



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Creditor's Name, Mailing Address Including Zip        Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                   And Account Number                          Claim

Litigation

3.6819   THE CITY OF ROCHESTER                                      6/5/2019                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         CITY HALL                                               ACCOUNT NO.:
         30 CHURCH STREET - ROOM 300A                            NOT AVAILABLE
         ROCHESTER, NY 14614



3.6820   THE CITY OF SAINT ALBANS, WEST VIRGINIA                    3/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE MAYOR
         1499 MACCORKLE AVENUE                                   ACCOUNT NO.:
         ST ALBANS, WV 25177                                     NOT AVAILABLE



3.6821   THE CITY OF SAN DIEGO AND THE PEOPLE OF THE                3/4/2019                    Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA, BY AND THROUGH MARA W.
         ELLIOTT, CITY ATTORNEY OF SAN DIEGO                     ACCOUNT NO.:
         ATTN: CITY CLERK                                        NOT AVAILABLE
         202 C STREET, SECOND FLOOR
         SAN DIEGO, CA 92101



3.6822   THE CITY OF SAN DIEGO AND THE PEOPLE OF THE                3/4/2019                    Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA, BY AND THROUGH MARA W.
         ELLIOTT, CITY ATTORNEY OF SAN DIEGO                     ACCOUNT NO.:
         ATTN: CITY ATTORNEY                                     NOT AVAILABLE
         1200 THIRD AVENUE
         SUITE 1620
         SAN DIEGO, CA 92101



3.6823   THE CITY OF SAN DIEGO AND THE PEOPLE OF THE                3/4/2019                    Opioid Matter              UNDETERMINED
         STATE OF CALIFORNIA, BY AND THROUGH MARA W.
         ELLIOTT, CITY ATTORNEY OF SAN DIEGO                     ACCOUNT NO.:
         ATTN: MAYOR                                             NOT AVAILABLE
         CITY ADMINISTRATION BUILDING
         202 C STREET - 11TH FLOOR
         SAN DIEGO, CA 92101



3.6824   THE CITY OF SANDY SPRINGS, GEORGIA, A MUNICIPAL            5/1/2018                    Opioid Matter              UNDETERMINED
         CORPORATION
         ATTN: MAYOR; CITY MANGER; CITY CLERK                    ACCOUNT NO.:
         CITY HALL                                               NOT AVAILABLE
         1 GALAMBOS WAY
         SANDY SPRINGS, GA 30328



3.6825   THE CITY OF SARATOGA SPRINGS, NY                           6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         15 VANDERBILT AVENUE                                    ACCOUNT NO.:
         SARATOGA SPRINGS, NY 12866                              NOT AVAILABLE



3.6826   THE CITY OF SARATOGA SPRINGS, NY                           6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         SARATOGA SPRINGS CITY HALL                              ACCOUNT NO.:
         MAYOR'S OFFICE - 474 BROADWAY - SUITE 9                 NOT AVAILABLE
         SARATOGA SPRINGS, NY 12866




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6827   THE CITY OF SARATOGA SPRINGS, NY                         6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: COMMISSIONER OF FINANCE
         SARATOGA SPRINGS CITY HALL                            ACCOUNT NO.:
         474 BROADWAY - FLOOR 1                                NOT AVAILABLE
         SARATOGA SPRINGS, NY 12866



3.6828   THE CITY OF SARATOGA SPRINGS, NY                         6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: LETITIA A. JAMES
         STATE OF NEW YORK ATTORNEY GENERAL                    ACCOUNT NO.:
         DEPT. OF LAW - THE CAPITOL, 2ND FL.                   NOT AVAILABLE
         ALBANY, NY 12224



3.6829   THE CITY OF SARATOGA SPRINGS, NY                         6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: COMMISSIONER OF FINANCE
         FINANCE DEPARTMENT                                    ACCOUNT NO.:
         15 VANDERBILT AVE                                     NOT AVAILABLE
         SARATOGA SPRINGS, NY 12866



3.6830   THE CITY OF SARATOGA SPRINGS, NY                         6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         SARATOGA SPRINGS CITY HALL                            ACCOUNT NO.:
         474 BROADWAY - ROOM 7                                 NOT AVAILABLE
         SARATOGA SPRINGS, NY 12866



3.6831   THE CITY OF SARATOGA SPRINGS, NY                         6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         SARATOGA SPRINGS CITY HALL                            ACCOUNT NO.:
         474 BROADWAY - SUITE 9                                NOT AVAILABLE
         SARATOGTA SPRINGS, NY 12866



3.6832   THE CITY OF SEAT PLEASANT, MARYLAND                      11/2/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR; CITY COUNCIL
         311 68TH PLACE                                        ACCOUNT NO.:
         SEAT PLEASANT, MD 20743                               NOT AVAILABLE



3.6833   THE CITY OF SHELTON, CT                                  1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         CITY HALL                                             ACCOUNT NO.:
         54 HILL STREET - FIRST FLOOR                          NOT AVAILABLE
         SHELTON, CT 06484



3.6834   THE CITY OF SIPSEY, ALABAMA                              5/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.6835   THE CITY OF SIPSEY, ALABAMA                              5/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         SIPSEY CITY HALL                                      ACCOUNT NO.:
         3835 SIPSEY ROAD                                      NOT AVAILABLE
         SIPSEY, AL 35584




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6836   THE CITY OF SMITHERS, WEST VIRGINIA                      3/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CHAIRPERSON, BOARD OF COUNCILS
         AND RECORDER                                          ACCOUNT NO.:
         PO BOX 489                                            NOT AVAILABLE
         SMITHERS, WV 25186



3.6837   THE CITY OF SPENCER, WV                                  5/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CLERK
         116 COURT STREET                                      ACCOUNT NO.:
         SPENCER, WV 25276                                     NOT AVAILABLE



3.6838   THE CITY OF SPRINGFIELD, MISSOURI                        5/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK, AND CITY MANAGER
         BUSCH MUNICIPAL BUILDING                              ACCOUNT NO.:
         840 BOONVILLE AVENUE - 4TH FLOOR                      NOT AVAILABLE
         SPRINGFIELD, MO 65802



3.6839   THE CITY OF SPRINGFIELD, MISSOURI                        5/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         MUNICIPAL COURT                                       ACCOUNT NO.:
         625 N. BENTON AVENUE                                  NOT AVAILABLE
         SPRINGFIELD, MO 65802



3.6840   THE CITY OF STOW                                         6/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY COUNCIL CLERK AND LAW
         DEPARTMENT                                            ACCOUNT NO.:
         3760 DARROW ROAD                                      NOT AVAILABLE
         STOW, OH 44224



3.6841   THE CITY OF STRONGSVILLE                                 8/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         16099 FOLTZ PARKWAY                                   ACCOUNT NO.:
         STRONGSVILLE, OH 44149                                NOT AVAILABLE



3.6842   THE CITY OF SUMMERSVILLE, WEST VIRGINIA                  3/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND RECORDER AND CHAIRPERSON
         BOARD OF COUNCILS                                     ACCOUNT NO.:
         SUMMERSVILLE CITY OFFICES                             NOT AVAILABLE
         400 BROAD STREET
         SUMMERSVILLE, WV 26651



3.6843   THE CITY OF TALLMADGE                                    6/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY COUNCIL AND LAW DEPARTMENT
         46 NORTH AVENUE                                       ACCOUNT NO.:
         TALLMADGE, OH 44278                                   NOT AVAILABLE



3.6844   THE CITY OF TAMPA                                        10/2/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         306 EAST JACKSON STREET                               ACCOUNT NO.:
         TAMPA, FL 33602                                       NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6845   THE CITY OF TAMPA                                        10/2/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNCIL CHAIR
         CITY HALL                                             ACCOUNT NO.:
         315 EAST KENNEDY BOULEVARD - 3RD FLOOR                NOT AVAILABLE
         TAMPA, FL 33602



3.6846   THE CITY OF TIFTON, GEORGIA                              4/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         130 1ST STREET                                        ACCOUNT NO.:
         TIFTON, GA 31794                                      NOT AVAILABLE



3.6847   THE CITY OF TOLEDO                                      10/30/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         ONE GOVERNMENT CENTER                                 ACCOUNT NO.:
         640 JACKSON STREET                                    NOT AVAILABLE
         TOLEDO, OH 43604



3.6848   THE CITY OF TORRINGTON, CT                               1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         CITY HALL                                             ACCOUNT NO.:
         140 MAIN STREET - FIRST FLOOR                         NOT AVAILABLE
         TORRINGTON, CT 06790



3.6849   THE CITY OF ULYSSES, GRANT COUNTY, KANSAS                6/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK; MAYOR
         115 WEST GRANT AVENUE                                 ACCOUNT NO.:
         ULYSSES, KS 67880                                     NOT AVAILABLE



3.6850   THE CITY OF UNION SPRINGS, ALABAMA                       2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK; TREASURER; MAGISTRATE
         212 PRARIE STREET NORTH                               ACCOUNT NO.:
         UNION SPRINGS, AL 36089                               NOT AVAILABLE



3.6851   THE CITY OF VIENNA, WEST VIRGINIA, A WEST VIRGINIA       1/17/2019                   Opioid Matter              UNDETERMINED
         MUNICIPAL CORPORATION
         ATTN: MAYOR, CITY COUNCIL                             ACCOUNT NO.:
         CITY BUILDING                                         NOT AVAILABLE
         609 29TH STREET
         VIENNA, WV 26105



3.6852   THE CITY OF WAYNESBORO, VA                              UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER
         503 WEST MAIN STREET                                  ACCOUNT NO.:
         SUITE 210                                             NOT AVAILABLE
         LEBANON, VA 24266



3.6853   THE CITY OF WAYNESBORO, VA                              UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         503 WEST MAIN STREET                                  ACCOUNT NO.:
         SUITE 208                                             NOT AVAILABLE
         WAYNESBORO, PA 17268




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6854   THE CITY OF WAYNESBORO, VIRGINIA                        UNKNOWN                      Opioid Matter              UNDETERMINED
         KEVIN SHARP
         SANFORD HEISLER SHARP, LLC                            ACCOUNT NO.:
         611 COMMERCE STREET - SUITE 3100                      NOT AVAILABLE
         NASHVILLE, TN 37203



3.6855   THE CITY OF WAYNESBORO, VIRGINIA                        UNKNOWN                      Opioid Matter              UNDETERMINED
         SABA BIREDA
         SANFORD HEISLER SHARP, LLC                            ACCOUNT NO.:
         611 COMMERCE STREET - SUITE 3100                      NOT AVAILABLE
         NASHVILLE, TN 37203



3.6856   THE CITY OF WAYNESBORO, VIRGINIA                        UNKNOWN                      Opioid Matter              UNDETERMINED
         JOANNE CICALA
         THE CICALA LAW FIRM PLLC                              ACCOUNT NO.:
         101 COLLEGE STREET                                    NOT AVAILABLE
         DRIPPING SPRINGS, TX 78620



3.6857   THE CITY OF WAYNESBORO, VIRGINIA                        UNKNOWN                      Opioid Matter              UNDETERMINED
         GRANT MORRIS
         SANFORD HEISLER SHARP, LLC                            ACCOUNT NO.:
         611 COMMERCE STREET - SUITE 3100                      NOT AVAILABLE
         NASHVILLE, TN 37203



3.6858   THE CITY OF WAYNESBORO, VIRGINIA                        UNKNOWN                      Opioid Matter              UNDETERMINED
         W. EDGAR SPIVEY
         KAUFMAN CANOLES, P.C.                                 ACCOUNT NO.:
         150 WEST MAIN STREET - SUITE 2100                     NOT AVAILABLE
         NORFOLK, VA 23510



3.6859   THE CITY OF WAYNESBORO, VIRGINIA                        UNKNOWN                      Opioid Matter              UNDETERMINED
         PATRICK H. O'DONNELL
         KAUFMAN CANOLES, P.C.                                 ACCOUNT NO.:
         150 WEST MAIN STREET - SUITE 2100                     NOT AVAILABLE
         NORFOLK, VA 23510



3.6860   THE CITY OF WAYNESBORO, VIRGINIA                        UNKNOWN                      Opioid Matter              UNDETERMINED
         R. JOHAN CONROD, JR.
         KAUFMAN CANOLES, P.C.                                 ACCOUNT NO.:
         150 WEST MAIN STREET - SUITE 2100                     NOT AVAILABLE
         NORFOLK, VA 23510



3.6861   THE CITY OF WAYNESBORO, VIRGINIA                        UNKNOWN                      Opioid Matter              UNDETERMINED
         LAUREN TALLENT ROGERS
         KAUFMAN CANOLES, P.C.                                 ACCOUNT NO.:
         150 WEST MAIN STREET - SUITE 2100                     NOT AVAILABLE
         NORFOLK, VA 23510



3.6862   THE CITY OF WAYNESBORO, VIRGINIA                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: ANDREW MILLER
         SANFORD HEISLER SHARP, LLC                            ACCOUNT NO.:
         611 COMMERCE STREET - SUITE 3100                      NOT AVAILABLE
         NASHVILLE, TN 37203




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6863   THE CITY OF WAYNESBORO, VIRGINIA                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ROSS BROOKS
         SANFORD HEISLER SHARP, LLC                            ACCOUNT NO.:
         611 COMMERCE STREET - SUITE 3100                      NOT AVAILABLE
         NASHVILLE, TN 37203



3.6864   THE CITY OF WEST HAVEN, CT                               1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         CITY HALL                                             ACCOUNT NO.:
         355 MAIN STREET - 1ST FLOOR                           NOT AVAILABLE
         WEST HAVEN, CT 06516



3.6865   THE CITY OF WEST HAVEN, CT                               1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         CITY HALL                                             ACCOUNT NO.:
         355 MAIN STREET - 3RD FLOOR                           NOT AVAILABLE
         WEST HAVEN, CT 06516



3.6866   THE CITY OF WEST LIBERTY, A POLITICAL SUBDIVISION        5/15/2019                   Opioid Matter              UNDETERMINED
         OF THE COMMONWEALTH OF KENTUCKY
         ATTN: MAYOR AND CITY CLERK                            ACCOUNT NO.:
         CITY HALL                                             NOT AVAILABLE
         409 NORTH CALHOUN STREET
         WEST LIBERTY, IA 52776



3.6867   THE CITY OF WHEAT RIDGE                                  6/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY MANAGER AND CITY CLERK AND
         DEPUTY CITY CLERK                                     ACCOUNT NO.:
         7500 W. 29TH AVENUE                                   NOT AVAILABLE
         1ST FLOOR
         WHEAT RIDGE, CO 80033



3.6868   THE CITY OF WILLIAMSTOWN, WV                             5/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         MAYOR'S OFFICE                                        ACCOUNT NO.:
         100 WEST FIFTH STREET                                 NOT AVAILABLE
         WILLIAMSTOWN, WV 26187



3.6869   THE CITY OF WINFIELD, ALABAMA                            5/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.6870   THE CITY OF WINFIELD, ALABAMA                            5/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         CITY HALL                                             ACCOUNT NO.:
         111 BANKHEAD HIGHWAY                                  NOT AVAILABLE
         WINFIELD, AL 35594



3.6871   THE COMANCHE NATION                                      6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN
         PO BOX 908                                            ACCOUNT NO.:
         LAWTON, OK 73502                                      NOT AVAILABLE



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6872   THE COMANCHE NATION                                      6/13/2019                   Opioid Matter              UNDETERMINED
         PO BOX 908
         LAWTON, OK 73502                                      ACCOUNT NO.:
                                                               NOT AVAILABLE


3.6873   THE COMMONWEALTH OF PA BY JAMES MARTIN                   3/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: JOSH SHAPIRO
         STATE OF PENNSYLVANIA ATTORNEY GENERAL                ACCOUNT NO.:
         PENNSYLVANIA OFFICE OF ATTORNEY GENERAL - 16TH        NOT AVAILABLE
         FLOOR, STRAWBERRY SQUARE
         HARRISBURG, PA 17120



3.6874   THE COMMONWEALTH OF PA BY JAMES MARTIN                   3/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: BOARD OF COMMISIONERS
         17 SOUTH SEVENTH STREET                               ACCOUNT NO.:
         ROOM 408                                              NOT AVAILABLE
         ALLENTOWN, PA 18101-2400



3.6875   THE COMMONWEALTH OF PA BY JAMES MARTIN                   3/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: DISTRICT ATTORNEY JAMES MARTIN
         LEHIGH COUNTY COURTHOUSE                              ACCOUNT NO.:
         ROOM 307 - 455 WEST HAMILTON STREET                   NOT AVAILABLE
         ALLENTOWN, PA 18101-3100



3.6876   THE COMMONWEALTH OF PUERTO RICO                          3/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: GOVERNOR OF PUERTO RICO
         AVENIDA JUAN PONCE DE LEÓN                            ACCOUNT NO.:
         SAN JUAN ANTIGUO, PR 00901                            NOT AVAILABLE



3.6877   THE COUNTY BOARD OF ARLINGTON COUNTY, VIRGINIA          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY BOARD CHAIR
         ELLEN M. BOZMAN GOVERNMENT CENTER                     ACCOUNT NO.:
         2100 CLARENDON BLVD. - SUITE 300                      NOT AVAILABLE
         ARLINGTON, VA 22201



3.6878   THE COUNTY BOARD OF ARLINGTON COUNTY, VIRGINIA          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER
         2100 CLARENDON BLVD.                                  ACCOUNT NO.:
         SUITE 302                                             NOT AVAILABLE
         ARLINGTON, VA 22201



3.6879   THE COUNTY BOARD OF ARLINGTON COUNTY, VIRGINIA          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         CONTACT INFO                                          ACCOUNT NO.:
         2100 CLARENDON BLVD. - SUITE 403                      NOT AVAILABLE
         ARLINGTON, VA 22201



3.6880   THE COUNTY COMMISSION OF BARBOUR COUNTY                 12/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: COMMISSIONER
         BARBOUR COUNTY COMMISSION                             ACCOUNT NO.:
         26 NORTH MAIN STREET                                  NOT AVAILABLE
         PHILIPPI, WV 26416




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6881   THE COUNTY COMMISSION OF CRAIG COUNTY,                   6/14/2019                   Opioid Matter              UNDETERMINED
         OKLAHOMA
         ATTN: COUNTY COMMISSIONERS                            ACCOUNT NO.:
         301 WEST CANADIAN AVENUE, SUITE # 3                   NOT AVAILABLE
         VINITA, OK 74301



3.6882   THE COUNTY COMMISSION OF CREEK COUNTY,                   3/11/2019                   Opioid Matter              UNDETERMINED
         OKLAHOMA
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS          ACCOUNT NO.:
         10920 SOUTH HIGHWAY 99                                NOT AVAILABLE
         DRUMRIGHT, OK 74030



3.6883   THE COUNTY COMMISSION OF CREEK COUNTY,                   3/11/2019                   Opioid Matter              UNDETERMINED
         OKLAHOMA
         ATTN: COUNTY CLERK                                    ACCOUNT NO.:
         CREEK COUNTY CLERK'S OFFICE                           NOT AVAILABLE
         317 EAST LEE AVENUE - SUITE 100
         SAPULPA, OK 74066



3.6884   THE COUNTY COMMISSION OF CREEK COUNTY,                   3/11/2019                   Opioid Matter              UNDETERMINED
         OKLAHOMA
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS          ACCOUNT NO.:
         COUNTY COURTHOUSE                                     NOT AVAILABLE
         222 EAST DEWEY - ROOM 203
         SAPULPA, OK 74066-4208



3.6885   THE COUNTY COMMISSION OF MASON COUNTY                   12/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: COMMISSIONER
         MASON COUNTY COMMISSION                               ACCOUNT NO.:
         200 SIXTH STREET                                      NOT AVAILABLE
         POINT PLEASANT, WV 25550



3.6886   THE COUNTY COMMISSION OF MAYES COUNTY,                   3/12/2019                   Opioid Matter              UNDETERMINED
         OKLAHOMA
         ATTN: COUNTY CLERK                                    ACCOUNT NO.:
         MAYES COUNTY COURT HOUSE                              NOT AVAILABLE
         ONE COURT PLACE - SUITE 120
         PRYOR, OK 74361



3.6887   THE COUNTY COMMISSION OF MAYES COUNTY,                   3/12/2019                   Opioid Matter              UNDETERMINED
         OKLAHOMA
         ATTN: COUNTY COMMISSIONER                             ACCOUNT NO.:
         MAYES COUNTY COURT HOUSE                              NOT AVAILABLE
         ONE COURT PLACE - SUITE 140
         PRYOR, OK 74361



3.6888   THE COUNTY COMMISSION OF MCDOWELL COUNTY                UNKNOWN                      Opioid Matter              UNDETERMINED
         MARK E. TROY
         TROY LAW FIRM PLLC                                    ACCOUNT NO.:
         222 CAPITOL STREET - STE. 200A                        NOT AVAILABLE
         CHARLESTON, WV 25301




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6889   THE COUNTY COMMISSION OF MCDOWELL COUNTY                UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISIONER OR CLERK
         109 WYOMING STREET                                    ACCOUNT NO.:
         WELCH, WV 24801                                       NOT AVAILABLE



3.6890   THE COUNTY COMMISSION OF MCDOWELL COUNTY                UNKNOWN                      Opioid Matter              UNDETERMINED
         JAMES DENNIS YOUNG
         MORGAN & MORGAN - JACKSONVILLE                        ACCOUNT NO.:
         76 SOUTH LAURA STREET - STE. 1100                     NOT AVAILABLE
         JACKSONVILLE, FL 32202



3.6891   THE COUNTY COMMISSION OF MCDOWELL COUNTY                UNKNOWN                      Opioid Matter              UNDETERMINED
         JOHN A. YANCHUNIS
         MORGAN & MORGAN - TAMPA                               ACCOUNT NO.:
         201 NORTH FRANKLIN STREET - 7TH FLOOR                 NOT AVAILABLE
         TAMPA, FL 33602



3.6892   THE COUNTY COMMISSION OF MCDOWELL COUNTY                UNKNOWN                      Opioid Matter              UNDETERMINED
         HARRY F. BELL , JR.
         BELL LAW FIRM                                         ACCOUNT NO.:
         PO BOX 1723                                           NOT AVAILABLE
         CHARLESTON, WV 25301



3.6893   THE COUNTY COMMISSION OF MINGO COUNTY                    1/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: PROSECUTING ATTORNEY
         75 EAST 2ND AVE, ROOM 201                             ACCOUNT NO.:
         WILLIAMSON, WV 25661                                  NOT AVAILABLE



3.6894   THE COUNTY COMMISSION OF MINGO COUNTY                    1/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSION
         75 EAST 2ND AVENUE, ROOM 308                          ACCOUNT NO.:
         WILLIAMSON, WV 25661                                  NOT AVAILABLE



3.6895   THE COUNTY COMMISSION OF MONROE COUNTY,                  4/3/2019                    Opioid Matter              UNDETERMINED
         FLORIDA
         ATTN: COMMISSIONER.                                   ACCOUNT NO.:
         9400 OVERSEAS HWY                                     NOT AVAILABLE
         SUITE 210
         MARATHON, FL 33050



3.6896   THE COUNTY COMMISSION OF MONROE COUNTY,                  4/3/2019                    Opioid Matter              UNDETERMINED
         FLORIDA
         ATTN: COMMISSIONER.                                   ACCOUNT NO.:
         500 WHITEHEAD STREET                                  NOT AVAILABLE
         SUITE 102
         KEY WEST, FL 33040



3.6897   THE COUNTY COMMISSION OF MONROE COUNTY,                  4/3/2019                    Opioid Matter              UNDETERMINED
         FLORIDA
         ATTN: COMMISSIONER.                                   ACCOUNT NO.:
         25 SHIPS WAY                                          NOT AVAILABLE
         BIG PINE KEY, FL 33043




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6898   THE COUNTY COMMISSION OF MONROE COUNTY,                  4/3/2019                    Opioid Matter              UNDETERMINED
         FLORIDA
         ATTN: MAYOR PRO TEM                                   ACCOUNT NO.:
         530 WHITEHEAD STREET                                  NOT AVAILABLE
         SUITE 102
         KEY WEST, FL 33040



3.6899   THE COUNTY COMMISSION OF MONROE COUNTY,                  4/3/2019                    Opioid Matter              UNDETERMINED
         FLORIDA
         ATTN: MAYOR.                                          ACCOUNT NO.:
         102050 OVERSEAS HIGHWAY                               NOT AVAILABLE
         SUITE 234
         KEY LARGO, FL 33037



3.6900   THE COUNTY COMMISSION OF NOWATA COUNTY,                  3/12/2019                   Opioid Matter              UNDETERMINED
         OKLAHOMA
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS          ACCOUNT NO.:
         NOWATA COUNTY COURTHOUSE                              NOT AVAILABLE
         229 NORTH MAPLE STREET
         NOWATA, OK 74048



3.6901   THE COUNTY COMMISSION OF OKMULGEE COUNTY,                3/11/2019                   Opioid Matter              UNDETERMINED
         OKLAHOMA
         ATTN: COUNTY CLERK                                    ACCOUNT NO.:
         314 WEST 7TH STREET                                   NOT AVAILABLE
         SUITE 203
         OKMULGEE, OK 74447



3.6902   THE COUNTY COMMISSION OF OKMULGEE COUNTY,                3/11/2019                   Opioid Matter              UNDETERMINED
         OKLAHOMA
         ATTN: COUNTY COMMISSIONERS                            ACCOUNT NO.:
         COUNTY COURTHOUSE                                     NOT AVAILABLE
         314 WEST 7TH STREET - SUITE #204
         OKMULGEE, OK 74447



3.6903   THE COUNTY COMMISSION OF PAYNE COUNTY,                   6/14/2019                   Opioid Matter              UNDETERMINED
         OKLAHOMA
         ATTN: COUNTY COMMISSIONER                             ACCOUNT NO.:
         COUNTY COMMISSIONSER                                  NOT AVAILABLE
         315 WEST 6TH - SUITE 203
         STILLWATER, OK 74074



3.6904   THE COUNTY COMMISSION OF PUTNAM COUNTY                   2/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK, PROSECUTING ATTORNEY,
         PRESIDENT OF THE PUTNAM COUNTY COMMISSION             ACCOUNT NO.:
         COUNTY COURTHOUSE                                     NOT AVAILABLE
         12093 WINFIELD ROAD
         WINFIELD, WV 25213



3.6905   THE COUNTY COMMISSION OF ROGERS COUNTY,                  3/12/2019                   Opioid Matter              UNDETERMINED
         OKLAHOMA
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS          ACCOUNT NO.:
         AND COUNTY CLERK                                      NOT AVAILABLE
         200 SOUTH LYNN RIGGS BOULEVARD
         CLAREMORE, OK 74017




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6906   THE COUNTY COMMISSION OF TAYLOR COUNTY                  12/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: COMMISSIONER, COUNTY CLERK, PROSECUTING
         ATTORNEY                                              ACCOUNT NO.:
         TAYLOR COUNTY COMMISSION                              NOT AVAILABLE
         214 WEST MAIN STREET - ROOM 105
         GRAFTON, WV 26354



3.6907   THE COUNTY COMMISSION OF WASHINGTON COUNTY,              3/12/2019                   Opioid Matter              UNDETERMINED
         OKLAHOMA
         ATTN: COUNTY COMMISSIONERS                            ACCOUNT NO.:
         WASHINGTON COUNTY ADMINISTRATION BUILDING             NOT AVAILABLE
         400 SOUTH JOHNSTONE - ROOM 201
         BARTLESVILLE, OK 74003



3.6908   THE COUNTY COMMISSION OF WASHINGTON COUNTY,              3/12/2019                   Opioid Matter              UNDETERMINED
         OKLAHOMA
         ATTN: COUNTY CLERK                                    ACCOUNT NO.:
         WASHINGTON COUNTY ADMINISTRATION BUILDING             NOT AVAILABLE
         400 SOUTH JOHNSTONE - ROOM 100
         BARTLESVILLE, OK 74003



3.6909   THE COUNTY COMMISSION OF WEBSTER COUNTY                 12/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: COMMISSIONER
         WEBSTER COUNTY COMMISSION                             ACCOUNT NO.:
         2 COURT SQUARE, ROOM G1                               NOT AVAILABLE
         WEBSTER SPRINGS, WV 26288



3.6910   THE COUNTY COMMISSIONER OF CARROLL COUNTY,              UNKNOWN                      Opioid Matter              UNDETERMINED
         MARYLAND, A BODY CORPORATE AND POLITIC OF THE
         STATE OF MARYLAND                                     ACCOUNT NO.:
         ATTN: PRESIDENT OF THE BOARD OF COUNTY                NOT AVAILABLE
         COMMISSIONERS
         CARROLL COUNTY OFFICE BUILDING
         225 NORTH CENTER STREET
         WESTMINSTER, MD 21157



3.6911   THE COUNTY OF ALBANY, NY                                 1/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: ALBANY COUNTY EXECUTIVE
         HAROLD L. JOYCE ALBANY COUNTY OFFICE BUILDING         ACCOUNT NO.:
         112 STATE STREET - ROOM 1200                          NOT AVAILABLE
         ALBANY, NY 12207



3.6912   THE COUNTY OF BALLARD, KENTUCKY                          5/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         132 NORTH 4TH STREET                                  ACCOUNT NO.:
         WICKLIFFE, KY 42087                                   NOT AVAILABLE



3.6913   THE COUNTY OF CATTARAUGUS, NY                            8/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         COUNTY BUILDING                                       ACCOUNT NO.:
         1 LEO MOSS DRIVE - SUITE 6010                         NOT AVAILABLE
         OLEAN, NY 14760




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6914   THE COUNTY OF CATTARAUGUS, NY                            8/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK, ATTORNEY AND TREASURER
         303 COURT STREET                                      ACCOUNT NO.:
         LITTLE VALLEY, NY 14755                               NOT AVAILABLE



3.6915   THE COUNTY OF CATTARAUGUS, NY                            8/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         COUNTY BUILDING                                       ACCOUNT NO.:
         1 LEO MOSS DRIVE - SUITE 7610                         NOT AVAILABLE
         OLEAN, NY 14760



3.6916   THE COUNTY OF CAYUGA                                     6/8/2018                    Opioid Matter              UNDETERMINED
         SALVATORE CHARLES BADALA
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.6917   THE COUNTY OF CAYUGA                                     6/8/2018                    Opioid Matter              UNDETERMINED
         PAUL J. NAPOLI
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.6918   THE COUNTY OF CAYUGA, NY                                 6/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         160 GENESEE STREET                                    ACCOUNT NO.:
         1ST FLOOR                                             NOT AVAILABLE
         AUBURN, NY 13021



3.6919   THE COUNTY OF CAYUGA, NY                                 6/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         160 GENESEE STREET                                    ACCOUNT NO.:
         6TH FLOOR                                             NOT AVAILABLE
         AUBURN, NY 13021



3.6920   THE COUNTY OF CAYUGA, NY                                 6/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         160 GENESEE STREET                                    ACCOUNT NO.:
         5TH FLOOR                                             NOT AVAILABLE
         AUBURN, NY 13021



3.6921   THE COUNTY OF CHAUTAUQUA, NY                             1/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK, ATTORNEY AND TREASURER
         3 NORTH ERIE STREET                                   ACCOUNT NO.:
         MAYVILLE, NY 14757                                    NOT AVAILABLE



3.6922   THE COUNTY OF CHENAGO                                    6/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK, CLERK OF THE BOARD OF
         SUPERVISORS AND TREASURER                             ACCOUNT NO.:
         5 COURT STREET                                        NOT AVAILABLE
         NORWICH, NY 13815




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6923   THE COUNTY OF CHENANGO, NY                               6/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR, CLERK OF BOARD OF SUPERVISORS,
         CLERK, ATTORNEY, TREASURER                            ACCOUNT NO.:
         5 COURT STREET                                        NOT AVAILABLE
         NORWICH, NY 13815



3.6924   THE COUNTY OF CLINTON                                    1/12/2018                   Opioid Matter              UNDETERMINED
         MARIE NAPOLI
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.6925   THE COUNTY OF CLINTON                                    1/12/2018                   Opioid Matter              UNDETERMINED
         SALVATORE CHARLES BADALA
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.6926   THE COUNTY OF CLINTON                                    1/12/2018                   Opioid Matter              UNDETERMINED
         PAUL J. NAPOLI
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.6927   THE COUNTY OF CLINTON, NY                                1/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         CLINTON COUNTY TREASURER'S OFFICE                     ACCOUNT NO.:
         CLINTON COUNTY GOVERNMENT CENTER - 137                NOT AVAILABLE
         MARGARET STREET, SUITE 205
         PLATTSBURGH, NY 12901



3.6928   THE COUNTY OF CLINTON, NY                                1/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         CLINTON COUNTY GOVERNMENT CENTER                      ACCOUNT NO.:
         137 MARGARET STREET, FIRST FLOOR                      NOT AVAILABLE
         PLATTSBURGH, NY 12901



3.6929   THE COUNTY OF CLINTON, NY                                1/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR, CLERK OF LEGISLATURE
         CLINTON COUNTY GOVERNMENT CENTER                      ACCOUNT NO.:
         137 MARGARET STREET - SUITE 208                       NOT AVAILABLE
         PLATTSBURGH, NY 12901



3.6930   THE COUNTY OF CORTLAND                                   8/6/2018                    Opioid Matter              UNDETERMINED
         MARIE NAPOLI
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.6931   THE COUNTY OF CORTLAND                                   8/6/2018                    Opioid Matter              UNDETERMINED
         PAUL J. NAPOLI
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6932   THE COUNTY OF CORTLAND                                   8/6/2018                    Opioid Matter              UNDETERMINED
         SALVATORE CHARLES BADALA
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.6933   THE COUNTY OF CORTLAND, NY                               8/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIR, CLERK
         60 CENTRAL AVENUE                                     ACCOUNT NO.:
         ROOM 316                                              NOT AVAILABLE
         CORTLAND, NY 13045



3.6934   THE COUNTY OF CORTLAND, NY                               8/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         46 GREENBUSH STREET, SUITE 105                        ACCOUNT NO.:
         CORTLAND, NY 13045                                    NOT AVAILABLE



3.6935   THE COUNTY OF CORTLAND, NY                               8/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: TREASURER'S OFFICE
         60 CENTRAL AVENUE, ROOM 132                           ACCOUNT NO.:
         CORTLAND, NY 13045                                    NOT AVAILABLE



3.6936   THE COUNTY OF CORTLAND, NY                               8/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY/FOIL APPEALS OFFICER
         COUNTY OFFICE BUILDING                                ACCOUNT NO.:
         60 CENTRAL AVENUE, SUITE 312                          NOT AVAILABLE
         CORTLAND, NY 13045



3.6937   THE COUNTY OF CUYAHOGA, OH                              10/27/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY PROSECUTOR
         THE JUSTICE CENTER, COURTS TOWER                      ACCOUNT NO.:
         1200 ONTARIO STREET, 9TH FLOOR                        NOT AVAILABLE
         CLEVELAND, OH 44113



3.6938   THE COUNTY OF CUYAHOGA, OH                              10/27/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE
         2079 EAST 9TH STREET                                  ACCOUNT NO.:
         CLEVELAND, OH 44115                                   NOT AVAILABLE



3.6939   THE COUNTY OF ESSEX, NY                                  6/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF BD OF SUPERVISORS, CLERK OF
         BD OF SUPERVISORS, CNTY ATTORNEY, CNTY                ACCOUNT NO.:
         TREASURER                                             NOT AVAILABLE
         7551 COURT STREET
         P.O. BOX 217
         ELIZABETHTOWN, NY 12932



3.6940   THE COUNTY OF FAYETTE, OH                               UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: WILLIAM T. JUNK
         JUNK & JUNK                                           ACCOUNT NO.:
         213 NORTH MAIN STREET                                 NOT AVAILABLE
         WASHINGTON COURT HOUSE, OH 43160




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip         Date Claim Was Incurred   C U      D    Basis For      Offset   Amount of Claim
Code                                                    And Account Number                       Claim

Litigation

3.6941   THE COUNTY OF FAYETTE, OH                                UNKNOWN                     Opioid Matter              UNDETERMINED
         ATTN: DONALD W. DAVIS, JR., ADAM D. FULLER,
         ELIZABETH SHIVELY BOATWRIGHT                           ACCOUNT NO.:
         BRENNAN, MANNA & DIAMOND, LLC                          NOT AVAILABLE
         75 EAST MARKET STREET
         AKRON, OH 44308



3.6942   THE COUNTY OF FAYETTE, OH                                UNKNOWN                     Opioid Matter              UNDETERMINED
         ATTN: LISA SALTZBURG
         MOTLEY RICE LLC                                        ACCOUNT NO.:
         28 BRIDGESIDE BOULEVARD                                NOT AVAILABLE
         MOUNT PLEASANT, SC 29464



3.6943   THE COUNTY OF FAYETTE, OH                                UNKNOWN                     Opioid Matter              UNDETERMINED
         ATTN: LINDA SINGER
         MOTLEY RICE LLC                                        ACCOUNT NO.:
         401 9TH STREET NORTHWEST - SUITE 1001                  NOT AVAILABLE
         WASHINGTON, DC 20004



3.6944   THE COUNTY OF FAYETTE, OH                                UNKNOWN                     Opioid Matter              UNDETERMINED
         ATTN: JESS WEADE
         FAYETTE COUNTY PROSECUTING ATTORNEY                    ACCOUNT NO.:
         110 EAST COURT STREET                                  NOT AVAILABLE
         WASHINGTON COURT HOUSE, OH 43160



3.6945   THE COUNTY OF FAYETTE, OH                                UNKNOWN                     Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF COUNTY COMMISSION
         133 SOUTH MAIN STREET                                  ACCOUNT NO.:
         SUITE 401                                              NOT AVAILABLE
         WASHINGTON COURT HOUSE, OH 43160



3.6946   THE COUNTY OF FAYETTE, OHIO                              UNKNOWN                     Opioid Matter              UNDETERMINED
         ATTN: ADAM D. FULLER
         BRENNAN, MANNA & DIAMOND, LLC                          ACCOUNT NO.:
         75 EAST MARKET STREET                                  NOT AVAILABLE
         AKRON, OH 44308



3.6947   THE COUNTY OF FAYETTE, OHIO                              UNKNOWN                     Opioid Matter              UNDETERMINED
         ATTN: ELIZABETH SHIVELY BOATWRIGHT
         BRENNAN, MANNA & DIAMOND, LLC                          ACCOUNT NO.:
         75 EAST MARKET STREET                                  NOT AVAILABLE
         AKRON, OH 44308



3.6948   THE COUNTY OF FLOYD                                      10/23/2017                  Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         149 SOUTH CENTRAL AVENUE                               ACCOUNT NO.:
         ROOM 1                                                 NOT AVAILABLE
         PRESTONSBURG, KY 41653



3.6949   THE COUNTY OF FLOYD                                      10/23/2017                  Opioid Matter              UNDETERMINED
         ATTN: FLOYD COUNTY JUDGE/EXECUTIVE
         149 SOUTH CENTRAL AVENUE                               ACCOUNT NO.:
         PRESTONSBURG, KY 41653                                 NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6950   THE COUNTY OF FLOYD                                     10/23/2017                   Opioid Matter              UNDETERMINED
         149 SOUTH CENTRAL AVENUE
         PO BOX 1000                                           ACCOUNT NO.:
         PRESTONSBURG, KY 41653                                NOT AVAILABLE



3.6951   THE COUNTY OF FLOYD                                     10/23/2017                   Opioid Matter              UNDETERMINED
         ATTN: FLOYD COUNTY JUDGE / EXECUTIVE
         149 SOUTH CENTRAL AVENUE                              ACCOUNT NO.:
         ROOM 9                                                NOT AVAILABLE
         PRESTONSBURG, KY 41653



3.6952   THE COUNTY OF FRANKLIN, NY                               3/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         P.O. BOX 70                                           ACCOUNT NO.:
         355 WEST MAIN STREET, SUITE 248                       NOT AVAILABLE
         MALONE, NY 12953



3.6953   THE COUNTY OF FRANKLIN, NY                               3/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         355 MAIN STREET, SUITE 140                            ACCOUNT NO.:
         MALONE, NY 12953                                      NOT AVAILABLE



3.6954   THE COUNTY OF FRANKLIN, NY                               3/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF BOARD OF LEGISLATORS, CLERK OF
         BOARD OF LEGISLATORS, COUNTY ATTORNEY                 ACCOUNT NO.:
         355 MAIN STREET, SUITE 409                            NOT AVAILABLE
         MALONE, NY 12953



3.6955   THE COUNTY OF FULTON                                    10/23/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         141 PRYOR STREET                                      ACCOUNT NO.:
         ATLANTA, GA 30303                                     NOT AVAILABLE



3.6956   THE COUNTY OF FULTON                                     3/26/2018                   Opioid Matter              UNDETERMINED
         JAYNE CONROY
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.6957   THE COUNTY OF FULTON                                     3/26/2018                   Opioid Matter              UNDETERMINED
         PAUL J. HANLY, JR.
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE - 7TH FLOOR                        NOT AVAILABLE
         NEW YORK, NY 10016



3.6958   THE COUNTY OF FULTON                                     3/26/2018                   Opioid Matter              UNDETERMINED
         SARAH S. BURNS
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6959   THE COUNTY OF FULTON                                     3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: ANDREA BIERSTEIN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.6960   THE COUNTY OF FULTON                                     3/26/2018                   Opioid Matter              UNDETERMINED
         JASON A. BROTT
         FULTON COUNTY ATTORNEY                                ACCOUNT NO.:
         COUNTY BUILDING - 2 SOUTH MARKET STREET               NOT AVAILABLE
         JOHNSTOWN, NY 12095



3.6961   THE COUNTY OF FULTON                                     3/26/2018                   Opioid Matter              UNDETERMINED
         THOMAS I. SHERIDAN, III
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.6962   THE COUNTY OF FULTON, NY                                 3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         2 SOUTH MARKET STREET                                 ACCOUNT NO.:
         JOHNSTOWN, NY 12095                                   NOT AVAILABLE



3.6963   THE COUNTY OF FULTON, NY                                 3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, BOARD OF SUPERVISORS
         COUNTY OFFICE BUILDING, SUITE 1                       ACCOUNT NO.:
         2714 STATE HIGHWAY 29                                 NOT AVAILABLE
         JOHNSTOWN, NY 12095



3.6964   THE COUNTY OF FULTON, NY                                 3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY TREASURER
         COUNTY OFFICE BUILDING                                ACCOUNT NO.:
         223 WEST MAIN STREET                                  NOT AVAILABLE
         JOHNSTOWN, NY 12095



3.6965   THE COUNTY OF GENESEE, NY                                2/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         COUNTY BUILDING I                                     ACCOUNT NO.:
         15 MAIN STREET                                        NOT AVAILABLE
         BATAVIA, NY 14020



3.6966   THE COUNTY OF GENESEE, NY                                2/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         COUNTY BUILDING I                                     ACCOUNT NO.:
         15 MAIN STREET                                        NOT AVAILABLE
         BATAVIA, NY 14020



3.6967   THE COUNTY OF GENESEE, NY                                2/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF LEGISLATURE, CLERK OF
         LEGISLATURE, COUNTY ATTORNEY                          ACCOUNT NO.:
         OLD COURTHOUSE                                        NOT AVAILABLE
         7 MAIN STREET
         BATAVIA, NY 14020




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6968   THE COUNTY OF GENESEE, NY                                2/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         GENESEE COUNTY CLERK                                  ACCOUNT NO.:
         CO. BLDG. #1 P.O. BOX 379                             NOT AVAILABLE
         BATAVIA, NY 14021-0379



3.6969   THE COUNTY OF GREENE, NY                                 1/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY TREASURER
         411 MAIN STREET                                       ACCOUNT NO.:
         4TH FLOOR - SUITE 462                                 NOT AVAILABLE
         CATSKILL, NY 12414



3.6970   THE COUNTY OF GREENE, NY                                 1/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         411 MAIN STREET                                       ACCOUNT NO.:
         4TH FLOOR - SUITE 443                                 NOT AVAILABLE
         CATSKILL, NY 12414



3.6971   THE COUNTY OF GREENE, NY                                 1/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK
         411 STREET                                            ACCOUNT NO.:
         CATSKILL, NY 12414                                    NOT AVAILABLE



3.6972   THE COUNTY OF HAMILTON, NY                               2/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE BOARD OF SUPERVISORS
         COUNTY SEAT                                           ACCOUNT NO.:
         102 COUNTY VIEW DRIVE - P.O. BOX 205                  NOT AVAILABLE
         LAKE PLEASANT, NY 12108



3.6973   THE COUNTY OF HAMILTON, NY                               2/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF SUPERVISORS,
         CLERK OF THE BOARD                                    ACCOUNT NO.:
         102 COUNTY VIEW DRIVE                                 NOT AVAILABLE
         LAKE PLEASANT, NY 12108



3.6974   THE COUNTY OF HAMILTON, NY                               2/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK
         102 COUNTY VIEW DRIVE                                 ACCOUNT NO.:
         P.O. BOX 204                                          NOT AVAILABLE
         LAKE PLEASANT, NY 12108



3.6975   THE COUNTY OF HAMILTON, NY                               2/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         320 NORTH GEORGE STREET                               ACCOUNT NO.:
         P.O. BOX 950                                          NOT AVAILABLE
         ROME, NY 13442-0950



3.6976   THE COUNTY OF HAMILTON, NY                               2/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         320 NORTH GEORGE STREET                               ACCOUNT NO.:
         ROME, NY 13442-0950                                   NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6977   THE COUNTY OF HERKIMER                                   4/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: ANDREA BIERSTEIN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.6978   THE COUNTY OF HERKIMER                                   4/4/2018                    Opioid Matter              UNDETERMINED
         JAYNE CONROY
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016-7416



3.6979   THE COUNTY OF HERKIMER                                   4/4/2018                    Opioid Matter              UNDETERMINED
         SARAH S. BURNS
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002



3.6980   THE COUNTY OF HERKIMER                                   4/4/2018                    Opioid Matter              UNDETERMINED
         PAUL J. HANLY, JR.
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE - 7TH FLOOR                        NOT AVAILABLE
         NEW YORK, NY 10016



3.6981   THE COUNTY OF HERKIMER                                   4/4/2018                    Opioid Matter              UNDETERMINED
         THOMAS I. SHERIDAN, III
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016-7416



3.6982   THE COUNTY OF HERKIMER, NY                               4/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: CLERK
         109 MARY STREET                                       ACCOUNT NO.:
         SUITE 1111                                            NOT AVAILABLE
         HERKIMER, NY 13350-1998



3.6983   THE COUNTY OF KNOTT                                     12/13/2017                   Opioid Matter              UNDETERMINED
         54 WEST MAIN STREET
         PO BOX 470                                            ACCOUNT NO.:
         HINDMAN, KY 41822                                     NOT AVAILABLE



3.6984   THE COUNTY OF KNOTT                                     12/13/2017                   Opioid Matter              UNDETERMINED
         ATTN: KNOTT COUNTY JUDGE/EXECUTIVE AND COUNTY
         ATTORNEY                                              ACCOUNT NO.:
         54 WEST MAIN STREET                                   NOT AVAILABLE
         HINDMAN, KY 41822



3.6985   THE COUNTY OF LEWIS                                      4/13/2018                   Opioid Matter              UNDETERMINED
         SARAH S. BURNS
         SIMMONS HANLY CONROY, LLC                             ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                         Claim

Litigation

3.6986   THE COUNTY OF LEWIS                                      4/13/2018                   Opioid Matter              UNDETERMINED
         PAUL J. HANLY, JR.
         SIMMONS HANLY CONROY, LLC                             ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.6987   THE COUNTY OF LEWIS                                      4/13/2018                   Opioid Matter              UNDETERMINED
         JOAN E. MCNICHOL, ESQ.
         COUNTY ATTORNEY                                       ACCOUNT NO.:
         COUNTY OF LEWIS - 7660 NORTH STATE STREET             NOT AVAILABLE
         LOWVILLE, NY 13367



3.6988   THE COUNTY OF LEWIS                                      4/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: ANDREA BIERSTEIN
         SIMMONS HANLY CONROY, LLC                             ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.6989   THE COUNTY OF LEWIS                                      4/13/2018                   Opioid Matter              UNDETERMINED
         JAYNE CONROY
         SIMMONS HANLY CONROY, LLC                             ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016-7416



3.6990   THE COUNTY OF LEWIS                                      4/13/2018                   Opioid Matter              UNDETERMINED
         THOMAS I. SHERIDAN, III
         SIMMONS HANLY CONROY, LLC                             ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016-7416



3.6991   THE COUNTY OF LEWIS, NY                                  4/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY, COUNTY CLERK, TREASURER
         7660 N STATE ST                                       ACCOUNT NO.:
         LOWVILLE, NY 13367                                    NOT AVAILABLE



3.6992   THE COUNTY OF LIVINGSTON                                 3/15/2018                   Opioid Matter              UNDETERMINED
         HUNTER J. SHKOLNIK
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.6993   THE COUNTY OF LIVINGSTON                                 3/15/2018                   Opioid Matter              UNDETERMINED
         SHAYNA E. SACKS
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.6994   THE COUNTY OF LIVINGSTON                                 3/15/2018                   Opioid Matter              UNDETERMINED
         SALVATORE C. BADALA
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.6995   THE COUNTY OF LIVINGSTON                                 3/15/2018                   Opioid Matter              UNDETERMINED
         JOSEPH L. CIACCIO
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.6996   THE COUNTY OF LIVINGSTON                                 3/15/2018                   Opioid Matter              UNDETERMINED
         MARIE NAPOLI
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.6997   THE COUNTY OF LIVINGSTON                                 3/15/2018                   Opioid Matter              UNDETERMINED
         MARIE NAPOLI
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.6998   THE COUNTY OF LIVINGSTON                                 3/15/2018                   Opioid Matter              UNDETERMINED
         PAUL J. NAPOLI
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD, SUITE 305                       NOT AVAILABLE
         MELVILLE, NY 11747



3.6999   THE COUNTY OF LIVINGSTON                                 3/15/2018                   Opioid Matter              UNDETERMINED
         PAUL J. NAPOLI
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.7000   THE COUNTY OF LIVINGSTON, NY                             3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY TREASURER
         LIVINGSTON COUNTY GOVERNMENT CENTER                   ACCOUNT NO.:
         6 COURT STREET - ROOM 203                             NOT AVAILABLE
         GENESEO, NY 14454



3.7001   THE COUNTY OF LIVINGSTON, NY                             3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         LIVINGSTON COUNTY GOVERNMENT CENTER                   ACCOUNT NO.:
         6 COURT STREET - ROOM 201                             NOT AVAILABLE
         GENESEO, NY 14454



3.7002   THE COUNTY OF LIVINGSTON, NY                             3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK OF THE BOARD OF SUPERVISORS
         LIVINGSTON COUNTY GOVERNMENT CENTER                   ACCOUNT NO.:
         6 COURT STREET - ROOM 302                             NOT AVAILABLE
         GENESEO, NY 14454



3.7003   THE COUNTY OF MADISON, NY                                1/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: CLERK OF THE BOARD OF SUPERVISORS
         138 N COURT STREET                                    ACCOUNT NO.:
         WAMPSVILLE, NY 13163                                  NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip         Date Claim Was Incurred   C U      D    Basis For      Offset   Amount of Claim
Code                                                    And Account Number                       Claim

Litigation

3.7004   THE COUNTY OF MEDINA, OH                                 UNKNOWN                     Opioid Matter              UNDETERMINED
         ATTN: S. FORREST THOMPSON
         MEDINA COUNTY PROSECUTOR                               ACCOUNT NO.:
         60 PUBLIC SQUARE - 2ND FLOOR                           NOT AVAILABLE
         MEDINA, OH 44256



3.7005   THE COUNTY OF MEDINA, OH                                 UNKNOWN                     Opioid Matter              UNDETERMINED
         ATTN: MICHAEL K. LYONS
         ASSISTANT PROSECUTING ATTORNEY                         ACCOUNT NO.:
         60 PUBLIC SQUARE - 2ND FLOOR                           NOT AVAILABLE
         MEDINA, OH 44256



3.7006   THE COUNTY OF MEDINA, OH                                 UNKNOWN                     Opioid Matter              UNDETERMINED
         ATTN: LINDA SINGER
         MOTLEY RICE LLC                                        ACCOUNT NO.:
         401 9TH STREET NORTHWEST - SUITE 1001                  NOT AVAILABLE
         WASHINGTON, DC 20004



3.7007   THE COUNTY OF MEDINA, OH                                 UNKNOWN                     Opioid Matter              UNDETERMINED
         ATTN: LISA SALTZBURG
         MOTLEY RICE LLC                                        ACCOUNT NO.:
         28 BRIDGESIDE BOULEVARD                                NOT AVAILABLE
         MOUNT PLEASANT, SC 29464



3.7008   THE COUNTY OF MEDINA, OH                                 UNKNOWN                     Opioid Matter              UNDETERMINED
         ATTN: DONALD W. DAVIS, JR., ADAM D. FULLER,
         ELIZABETH SHIVELY BOATWRIGHT                           ACCOUNT NO.:
         BRENNAN, MANNA & DIAMOND, LLC                          NOT AVAILABLE
         75 EAST MARKET STREET
         AKRON, OH 44308



3.7009   THE COUNTY OF MEDINA, OHIO                               UNKNOWN                     Opioid Matter              UNDETERMINED
         ATTN: ELIZABETH SHIVELY BOATWRIGHT
         BRENNAN, MANNA & DIAMOND, LLC                          ACCOUNT NO.:
         75 EAST MARKET STREET                                  NOT AVAILABLE
         AKRON, OH 44308



3.7010   THE COUNTY OF MEDINA, OHIO                               UNKNOWN                     Opioid Matter              UNDETERMINED
         ATTN: ADAM D. FULLER
         BRENNAN, MANNA & DIAMOND, LLC                          ACCOUNT NO.:
         75 EAST MARKET STREET                                  NOT AVAILABLE
         AKRON, OH 44308



3.7011   THE COUNTY OF MONROE                                      1/24/2018                  Opioid Matter              UNDETERMINED
         PAUL J. HANLY, JR.
         SIMMONS HANLY CONROY, LLC                              ACCOUNT NO.:
         112 MADISON AVENUE - 7TH FLOOR                         NOT AVAILABLE
         NEW YORK, NY 10016



3.7012   THE COUNTY OF MONROE                                      1/24/2018                  Opioid Matter              UNDETERMINED
         MICHAEL E. DAVIS, COUNTY ATTORNEY
         COUNTY OF MONROE                                       ACCOUNT NO.:
         MONROE COUNTY LAW DEPARTMENT, 307 COUNTY               NOT AVAILABLE
         OFFICE BUILDING - 39 WEST MAIN STREET
         ROCHESTER, NY 14614


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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7013   THE COUNTY OF MONROE                                     1/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: ANDREA BIERSTEIN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.7014   THE COUNTY OF MONROE                                     1/24/2018                   Opioid Matter              UNDETERMINED
         JAYNE CONROY
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.7015   THE COUNTY OF MONROE                                     1/24/2018                   Opioid Matter              UNDETERMINED
         THOMAS I. SHERIDAN, III
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.7016   THE COUNTY OF MONROE                                     1/24/2018                   Opioid Matter              UNDETERMINED
         SARAH S. BURNS
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002



3.7017   THE COUNTY OF MONROE, NY                                 1/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE BOARD OF SUPERVISORS, CLERK
         101 COUNTY OFFICE BUILDING                            ACCOUNT NO.:
         39 W. MAIN STREET                                     NOT AVAILABLE
         ROCHESTER, NY 14614



3.7018   THE COUNTY OF MONTGOMERY                                 9/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: ANDREA BIERSTEIN
         SIMMONS HANLY CONROY, LLC                             ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.7019   THE COUNTY OF MONTGOMERY                                 9/4/2018                    Opioid Matter              UNDETERMINED
         JAYNE CONROY
         SIMMONS HANLY CONROY, LLC                             ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.7020   THE COUNTY OF MONTGOMERY                                 9/4/2018                    Opioid Matter              UNDETERMINED
         THOMAS I. SHERIDAN, III
         SIMMONS HANLY CONROY, LLC                             ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.7021   THE COUNTY OF MONTGOMERY                                 9/4/2018                    Opioid Matter              UNDETERMINED
         SARAH S. BURNS
         SIMMONS HANLY CONROY, LLC                             ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7022   THE COUNTY OF MONTGOMERY                                 9/4/2018                    Opioid Matter              UNDETERMINED
         MEGHAN M. MANION, ESQ.
         MONTGOMERY COUNTY ATTORNEY                            ACCOUNT NO.:
         COUNTY ANNEX BUILDING - PO BOX 1500 -- 20 PARK        NOT AVAILABLE
         STREET
         FONDA, NY 12068-1500



3.7023   THE COUNTY OF MONTGOMERY, NY                             9/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: CLERK
         MONTGOMERY COUNTY OFFICE BUILDING                     ACCOUNT NO.:
         P.O. BOX 1500 - 64 BROADWAY                           NOT AVAILABLE
         FONDA, NY 12068-1500



3.7024   THE COUNTY OF ONEIDA, NY                                 3/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF BOARD OF LEGISLATORS, CLERK
         OF BOARD OF LEGISLATORS, COUNTY CLERK, COUNTY         ACCOUNT NO.:
         ATTORNEY, COMMISSIONER OF FINANCE                     NOT AVAILABLE
         ONEIDA COUNTY OFFICE BUILDING
         800 PARK AVENUE
         UTICA, NY 13501



3.7025   THE COUNTY OF ONONDAGA, NY                               1/23/2018                   Opioid Matter              UNDETERMINED
         JOHN H. MULROY CIVIC CENTER
         421 MONTGOMERY STREET, 15TH FLOOR                     ACCOUNT NO.:
         SYRACUSE, NY 13202                                    NOT AVAILABLE



3.7026   THE COUNTY OF ONONDAGA, NY                               1/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         401 MONTGOMERY ST., ROOM 200                          ACCOUNT NO.:
         SYRACUSE, NY 13202                                    NOT AVAILABLE



3.7027   THE COUNTY OF ONONDAGA, NY                               1/23/2018                   Opioid Matter              UNDETERMINED
         JOHN H. MULROY CIVIC CENTER 10TH FL.
         ONONDAGA COUNTY DEPARTMENT OF LAW                     ACCOUNT NO.:
          - 421 MONTGOMERY STREET                              NOT AVAILABLE
         SYRACUSE, NY 13202



3.7028   THE COUNTY OF ONTARIO                                    4/13/2018                   Opioid Matter              UNDETERMINED
         JAYNE CONROY
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.7029   THE COUNTY OF ONTARIO                                    4/13/2018                   Opioid Matter              UNDETERMINED
         THOMAS I. SHERIDAN, III
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.7030   THE COUNTY OF ONTARIO                                    4/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: ANDREA BIERSTEIN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7031   THE COUNTY OF ONTARIO                                    4/13/2018                   Opioid Matter              UNDETERMINED
         PAUL J. HANLY, JR.
         SIMMONS HANLY CONROY, LLC                             ACCOUNT NO.:
         112 MADISON AVENUE - 7TH FLOOR                        NOT AVAILABLE
         NEW YORK, NY 10016



3.7032   THE COUNTY OF ONTARIO                                    4/13/2018                   Opioid Matter              UNDETERMINED
         GARY L. CURTISS
         COUNTY ATTORNEY                                       ACCOUNT NO.:
         COUNTY OF ONTARIO - 20 ONTARIO STREET, 3RD FLOOR      NOT AVAILABLE
         CANANDAIGUA, NY 14424



3.7033   THE COUNTY OF ONTARIO                                    4/13/2018                   Opioid Matter              UNDETERMINED
         MICHAEL G. REINHARDT
         ASSISTANT COUNTY ATTORNEY                             ACCOUNT NO.:
         COUNTY OF ONTARIO - 20 ONTARIO STREET, 3RD FLOOR      NOT AVAILABLE
         CANANDAIGUA, NY 14424



3.7034   THE COUNTY OF ONTARIO                                    4/13/2018                   Opioid Matter              UNDETERMINED
         SARAH S. BURNS
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002



3.7035   THE COUNTY OF ONTARIO, NY                                4/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         ONTARIO COUNTY MUNICIPAL BUILDING                     ACCOUNT NO.:
         20 ONTARIO STREET - 3RD FLOOR                         NOT AVAILABLE
         CANANDAIGUA, NY 14424



3.7036   THE COUNTY OF ONTARIO, NY                                4/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         ONTARIO COUNTY MUNICIPAL BUILDING                     ACCOUNT NO.:
         20 ONTARIO STREET                                     NOT AVAILABLE
         CANANDAIGUA, NY 14424



3.7037   THE COUNTY OF ONTARIO, NY                                4/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK OF THE BOARD OF SUPERVISORS,
         COUNTY CLERK, COUNTY ATTORNEY, TREASURER              ACCOUNT NO.:
         20 ONTARIO STREET                                     NOT AVAILABLE
         CANANDAIGUA, NY 14424



3.7038   THE COUNTY OF OSCEOLA                                   12/27/2017                   Opioid Matter              UNDETERMINED
         ATTN: BOCC CHAIRWOMAN
         1 COURTHOUSE SQUARE                                   ACCOUNT NO.:
         KISSIMMEE, FL 34741                                   NOT AVAILABLE



3.7039   THE COUNTY OF OTSEGO, NY                                 8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CLERK OF THE BOARD OF SUPERVISORS
         197 MAIN STREET                                       ACCOUNT NO.:
         COOPERSTOWN, NY 13326-1129                            NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7040   THE COUNTY OF OTSEGO, NY                                 8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF SUPERVISORS
         2209 COUNTY HIGHWAY 33                                ACCOUNT NO.:
         COOPERSTOWN, NY 13326                                 NOT AVAILABLE



3.7041   THE COUNTY OF PIKE                                       3/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF COMMISSIONERS,
         VICE-PRESIDENT OF THE BOARD OF COMMISSIONERS          ACCOUNT NO.:
         PIKE COUNTY GOVERNMENT BUILDING                       NOT AVAILABLE
         230 WAVERLY PLAZA
         WAVERLY, OH 45690



3.7042   THE COUNTY OF PIKE                                       3/18/2019                   Opioid Matter              UNDETERMINED
         230 WAVERLY PLAZA
         SUITE 600                                             ACCOUNT NO.:
         WAVERLY, OH 45690                                     NOT AVAILABLE



3.7043   THE COUNTY OF PORTAGE, OHIO                              7/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: PROSECUTING ATTORNEY
         241 SOUTH CHESTNUT STREET                             ACCOUNT NO.:
         RAVENNA, OH 44266                                     NOT AVAILABLE



3.7044   THE COUNTY OF PUTNAM                                     5/29/2018                   Opioid Matter              UNDETERMINED
         PAUL J. NAPOLI
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.7045   THE COUNTY OF PUTNAM                                     5/29/2018                   Opioid Matter              UNDETERMINED
         SALVATORE C. BADALA
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.7046   THE COUNTY OF PUTNAM                                     5/29/2018                   Opioid Matter              UNDETERMINED
         SHAYNA E. SACKS
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.7047   THE COUNTY OF PUTNAM                                     5/29/2018                   Opioid Matter              UNDETERMINED
         JOSEPH L. CIACCIO
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.7048   THE COUNTY OF PUTNAM                                     5/29/2018                   Opioid Matter              UNDETERMINED
         MARIE NAPOLI
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7049   THE COUNTY OF PUTNAM                                     5/29/2018                   Opioid Matter              UNDETERMINED
         PAUL J. NAPOLI
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.7050   THE COUNTY OF PUTNAM, NY                                 5/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK
         PUTNAM COUNTY OFFICE BUILDING                         ACCOUNT NO.:
         40 GLENEIDA AVENUE                                    NOT AVAILABLE
         CARMEL, NY 10512



3.7051   THE COUNTY OF RIO ARRIBA                                11/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         PO BOX 158                                            ACCOUNT NO.:
         TIERRA AMARILLA, NM 85775                             NOT AVAILABLE



3.7052   THE COUNTY OF RIO ARRIBA                                11/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         RIO ARRIBA ARCHIVE BUILDING                           ACCOUNT NO.:
         10 STATE ROAD 531                                     NOT AVAILABLE
         TIERRA AMARILLA, NM 87575



3.7053   THE COUNTY OF RIO ARRIBA                                11/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         NEW MEXICO CAPITOL ANNEX NORTH                        ACCOUNT NO.:
         BUSINESS SERVICES DIVISION - 325 DON GASPAR,          NOT AVAILABLE
         SUITE 300
         SANTA FE, NM 87501



3.7054   THE COUNTY OF RIO ARRIBA                                11/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         RIO ARRIBA COUNTY ANNEX                               ACCOUNT NO.:
         1122 INDUSTRIAL PARK ROAD                             NOT AVAILABLE
         ESPANOLA, NM 87532



3.7055   THE COUNTY OF ROOSEVELT                                  7/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         NEW MEXICO CAPITOL ANNEX NORTH                        ACCOUNT NO.:
         BUSINESS SERVICES DIVISION - 325 DON GASPAR,          NOT AVAILABLE
         SUITE 300
         SANTA FE, NM 87501



3.7056   THE COUNTY OF ROOSEVELT                                  7/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         109 WEST 1ST STREET                                   ACCOUNT NO.:
         LOBBY BOX 4                                           NOT AVAILABLE
         PORTALES, NM 88130



3.7057   THE COUNTY OF ROOSEVELT                                  7/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: HECTOR BALDERAS
         STATE OF NEW MEXICO ATTORNEY GENERAL                  ACCOUNT NO.:
         P.O. DRAWER 1508                                      NOT AVAILABLE
         SANTA FE, NM 87504-1508



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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7058   THE COUNTY OF SCHUYLER, NY                               5/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK AND SCHUYLER COUNTY
         ATTORNEY                                              ACCOUNT NO.:
         105 NINTH STREET                                      NOT AVAILABLE
         UNIT 8
         WATKINS GLEN, NY 14891



3.7059   THE COUNTY OF SCHUYLER, NY                               5/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: SCHUYLER COUNTY ADMINISTRATOR
         105 NINTH STREET                                      ACCOUNT NO.:
         UNIT 37                                               NOT AVAILABLE
         WATKINS GLEN, NY 14891



3.7060   THE COUNTY OF STEUBEN                                    2/21/2018                   Opioid Matter              UNDETERMINED
         MARIE NAPOLI
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.7061   THE COUNTY OF STEUBEN, NY                                2/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEUBEN COUNTY MANAGER AND COUNTY
         CLERK AND STEUBEN COUNTY DISTRICT ATTORNEY            ACCOUNT NO.:
         3 EAST PULTENEY SQUARE                                NOT AVAILABLE
         BATH, NY 14810



3.7062   THE COUNTY OF TIOGA, NY                                  6/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         56 MAIN STREET                                        ACCOUNT NO.:
         OWEGO, NY 13827                                       NOT AVAILABLE



3.7063   THE COUNTY OF TIOGA, NY                                  6/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: TIOGA COUNTY TREASURER
         56 MAIN STREET                                        ACCOUNT NO.:
         ROOM 210                                              NOT AVAILABLE
         OWEGO, NY 13827



3.7064   THE COUNTY OF TIOGA, NY                                  6/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         16 COURT STREET                                       ACCOUNT NO.:
         P.O. BOX 307                                          NOT AVAILABLE
         OWEGO, NY 13827



3.7065   THE COUNTY OF TUSCARAWAS, OHIO                           1/25/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIMAN, BOARD OF COMMISSIONERS AND
         TUSCARAWAS COUNTY PROSECUTOR                          ACCOUNT NO.:
         125 EAST HIGH AVENUE                                  NOT AVAILABLE
         NEW PHILADELPHIA, OH 44663



3.7066   THE COUNTY OF ULSTER, NY                                 3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE AND ULSTER COUNTY CLERK
         COUNTY OFFICE BUILDING, 6TH FLOOR                     ACCOUNT NO.:
         244 FAIR STREET                                       NOT AVAILABLE
         KINGSTON, NY 12401




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7067   THE COUNTY OF ULSTER, NY                                 3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: ULSTER COUNTY DISTRICT ATTORNEY
         ULSTER COUNTY COURTHOUSE                              ACCOUNT NO.:
         275 WALL STREET                                       NOT AVAILABLE
         KINGSTON, NY 12401



3.7068   THE COUNTY OF WARREN, NY                                 1/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: WARREN CNTY CLERK AND CHAIRMAN, WARREN
         CNTY BD OF SUPERVISORS AND CLERK OF BD AND            ACCOUNT NO.:
         CNTY ATTY                                             NOT AVAILABLE
         WARREN COUNTY MUNICIPAL CENTER
         1340 STATE ROUTE 9
         LAKE GEORGE, NY 12845



3.7069   THE COUNTY OF WASHINGTON                                 6/15/2018                   Opioid Matter              UNDETERMINED
         JAYNE CONROY
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016-7416



3.7070   THE COUNTY OF WASHINGTON                                 6/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: ANDREA BIERSTEIN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.7071   THE COUNTY OF WASHINGTON                                 6/15/2018                   Opioid Matter              UNDETERMINED
         THOMAS I. SHERIDAN, III
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016-7416



3.7072   THE COUNTY OF WASHINGTON                                 6/15/2018                   Opioid Matter              UNDETERMINED
         PAUL J. HANLY, JR.
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.7073   THE COUNTY OF WASHINGTON                                 6/15/2018                   Opioid Matter              UNDETERMINED
         SARAH S. BURNS
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002



3.7074   THE COUNTY OF WASHINGTON, NY                             6/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: WASHINGTON COUNTY CLERK
         MUNICIPAL CENTER                                      ACCOUNT NO.:
         383 BROADWAY, BUILDING A                              NOT AVAILABLE
         FORT EDWARD, NY 12828




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7075   THE COUNTY OF WASHINGTON, NY                             6/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: BOARD OF SUPERVISORS CHAIRMAN AND BOARD
         OF SUPERVISORS CLERK AND COUNTY ATTY                  ACCOUNT NO.:
         MUNICIPAL CENTER                                      NOT AVAILABLE
         383 BROADWAY BUILDING B
         FORT EDWARD, NY 12828



3.7076   THE COUNTY OF WYOMING, NY                                6/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: WYOMING COUNTY CLERK
         143 N MAIN STREET                                     ACCOUNT NO.:
         SUITE 104                                             NOT AVAILABLE
         WARSAW, NY 14569



3.7077   THE COUNTY OF WYOMING, NY                                6/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMANBOARD OF SUPERVISORS AND BOARD
         CLERK AND COUNTY ATTORNEY                             ACCOUNT NO.:
         143 NORTH MAIN STREET                                 NOT AVAILABLE
         WARSAW, NY 14569



3.7078   THE COUNTY OF ZAVALA, TEXAS                              8/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY JUDGE
         ZAVALA COUNTY COURTHOUSE                              ACCOUNT NO.:
         200 EAST UVALDE STREET, SUITE 9                       NOT AVAILABLE
         CRYSTAL CITY, TX 78839



3.7079   THE DCH HEALTH CARE AUTHORITY                            9/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT AND CHAIR OF THE BOARD
         OF DIRECTORS                                          ACCOUNT NO.:
         809 UNIVERSITY BOULEVARD EAST                         NOT AVAILABLE
         TUSCALOOSA, AL 35401



3.7080   THE DIRECTOR OF LAW FOR THE CITY OF BARBERTON,           6/30/2018                   Opioid Matter              UNDETERMINED
         LISA MILLER
         576 WEST PARK AVENUE                                  ACCOUNT NO.:
         ROOM 106                                              NOT AVAILABLE
         BARBERTON, OH 44203



3.7081   THE DIRECTOR OF LAW FOR THE CITY OF BARBERTON,           6/30/2018                   Opioid Matter              UNDETERMINED
         LISA MILLER
         ATTN: LAW DIRECTOR                                    ACCOUNT NO.:
         576 WEST PARK AVENUE                                  NOT AVAILABLE
         ROOM 301
         BARBERTON, OH 44203



3.7082   THE DIRECTOR OF LAW FOR THE CITY OF TALLMADGE,           6/30/2018                   Opioid Matter              UNDETERMINED
         MEGAN RABER
         ATTN: CITY COUNCIL CLERK AND LAW DEPARTMENT           ACCOUNT NO.:
         46 NORTH AVENUE                                       NOT AVAILABLE
         TALLMADGE, OH 44278



3.7083   THE FISCAL COURT OF BOURBON COUNTY                       5/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: BOURBON COUNTY JUDGE/EXECUTIVE
         301 MAIN STREET                                       ACCOUNT NO.:
         SUITE 203                                             NOT AVAILABLE
         PARIS, KY 40361


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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7084   THE FISCAL COURT OF BRACKEN COUNTY, ON BEHALF            3/22/2018                   Opioid Matter              UNDETERMINED
         OF BRACKEN COUNTY
         ATTN: ANDY BESHEAR                                    ACCOUNT NO.:
         STATE OF KENTUCKY ATTORNEY GENERAL                    NOT AVAILABLE
         700 CAPITOL AVENUE - CAPITOL BUILDING, SUITE 118
         FRANKFORT, KY 40601



3.7085   THE FISCAL COURT OF BRACKEN COUNTY, ON BEHALF            3/22/2018                   Opioid Matter              UNDETERMINED
         OF BRACKEN COUNTY
         ATTN: OFFICE OF COUNTY JUDGE EXECUTIVE                ACCOUNT NO.:
         116 WEST MIAMI ST.                                    NOT AVAILABLE
         PO BOX 264
         BROOKSVILLE, KY 41004



3.7086   THE FISCAL COURT OF BRACKEN COUNTY, ON BEHALF            3/22/2018                   Opioid Matter              UNDETERMINED
         OF BRACKEN COUNTY
         116 WEST MIAMI ST.                                    ACCOUNT NO.:
         BROOKSVILLE, IN 41004                                 NOT AVAILABLE



3.7087   THE FISCAL COURT OF BRECKINRIDGE COUNTY, ON             10/30/2018                   Opioid Matter              UNDETERMINED
         BEHALF OF BRECKINRIDGE COUNTY
         ATTN: JUDGE OF THE FISCAL COURT OF BRECKINRIDGE       ACCOUNT NO.:
         COUNTY                                                NOT AVAILABLE
         PO BOX 227
         HARDINSBURG, KY 40143



3.7088   THE FISCAL COURT OF BRECKINRIDGE COUNTY, ON             10/30/2018                   Opioid Matter              UNDETERMINED
         BEHALF OF BRECKINRIDGE COUNTY
         208 SOUTH MAIN STREET                                 ACCOUNT NO.:
         HARDINSBURG, KY 40143                                 NOT AVAILABLE



3.7089   THE FISCAL COURT OF CAMPBELL COUNTY, ON BEHALF           9/20/2017                   Opioid Matter              UNDETERMINED
         OF CAMPBELL COUNTY
         319 YORK STREET                                       ACCOUNT NO.:
         NEWPORT, KY 41071                                     NOT AVAILABLE



3.7090   THE FISCAL COURT OF CAMPBELL COUNTY, ON BEHALF           9/20/2017                   Opioid Matter              UNDETERMINED
         OF CAMPBELL COUNTY
         ATTN: JUDGE OF THE FISCAL COURT OF CAMPBELL           ACCOUNT NO.:
         COUNTY                                                NOT AVAILABLE
         1098 MONMOUTH STREET
         NEWPORT, KY 41071



3.7091   THE FISCAL COURT OF CARLISLE COUNTY, ON BEHALF           9/12/2017                   Opioid Matter              UNDETERMINED
         OF CARLISLE COUNTY
         ATTN: JUDGE OF THE FISCAL COURT OF CARLISLE           ACCOUNT NO.:
         COUNTY                                                NOT AVAILABLE
         PO BOX 279
         BARDWELL, KY 42023



3.7092   THE FISCAL COURT OF CARLISLE COUNTY, ON BEHALF           9/12/2017                   Opioid Matter              UNDETERMINED
         OF CARLISLE COUNTY
         P.O. BOX 514                                          ACCOUNT NO.:
         BARDWELL, KY 42023                                    NOT AVAILABLE



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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7093   THE FISCAL COURT OF CARTER COUNTY, ON BEHALF OF          3/22/2018                   Opioid Matter              UNDETERMINED
         CARTER COUNTY
         ATTN: ANDY BESHEAR                                    ACCOUNT NO.:
         STATE OF KENTUCKY ATTORNEY GENERAL                    NOT AVAILABLE
         700 CAPITOL AVENUE - CAPITOL BUILDING, SUITE 118
         FRANKFORT, KY 40601



3.7094   THE FISCAL COURT OF CARTER COUNTY, ON BEHALF OF          3/22/2018                   Opioid Matter              UNDETERMINED
         CARTER COUNTY
         ATTN: COUNTY JUDGE EXECUTIVE                          ACCOUNT NO.:
         300 WEST MAIN STREET                                  NOT AVAILABLE
         ROOM 227
         GRAYSON, KY 41143



3.7095   THE FISCAL COURT OF CHRISTIAN COUNTY, ON BEHALF          9/25/2017                   Opioid Matter              UNDETERMINED
         OF CHRISTIAN COUNTY
         ATTN: COUNTY JUDGE                                    ACCOUNT NO.:
         515 WEBER STREET                                      NOT AVAILABLE
         HOPKINSVILLE, KY 42240



3.7096   THE FISCAL COURT OF CHRISTIAN COUNTY, ON BEHALF          9/25/2017                   Opioid Matter              UNDETERMINED
         OF CHRISTIAN COUNTY
         P.O. BOX 24                                           ACCOUNT NO.:
         HOPKINSVILLE, KY 42240                                NOT AVAILABLE



3.7097   THE FISCAL COURT OF CLARK COUNTY, ON BEHALF OF           12/1/2017                   Opioid Matter              UNDETERMINED
         CLARK COUNTY
         17 CLEVELAND AVENUE                                   ACCOUNT NO.:
         WINCHESTER, KY 40391                                  NOT AVAILABLE



3.7098   THE FISCAL COURT OF CLARK COUNTY, ON BEHALF OF           12/1/2017                   Opioid Matter              UNDETERMINED
         CLARK COUNTY
         ATTN: COUNTY JUDGE                                    ACCOUNT NO.:
         COUNTY COURTHOUSE                                     NOT AVAILABLE
         34 SOUTH MAIN
         WINCHESTER, KY 40391



3.7099   THE FISCAL COURT OF CLAY COUNTY, ON BEHALF OF            9/20/2017                   Opioid Matter              UNDETERMINED
         CLAY COUNTY
         102 WALTERS STREET                                    ACCOUNT NO.:
         SUITE 2                                               NOT AVAILABLE
         MANCHESTER, KY 40962



3.7100   THE FISCAL COURT OF CLAY COUNTY, ON BEHALF OF            9/20/2017                   Opioid Matter              UNDETERMINED
         CLAY COUNTY
         ATTN: COUNTY JUDGE                                    ACCOUNT NO.:
         102 RICHMOND ROAD                                     NOT AVAILABLE
         SUITE 201
         MANCHESTER, KY 40962



3.7101   THE FISCAL COURT OF CUMBERLAND COUNTY, ON                9/20/2017                   Opioid Matter              UNDETERMINED
         BEHALF OF CUMBERLAND COUNTY
         ATTN: JUDGE EXECUTIVE                                 ACCOUNT NO.:
         PO BOX 826                                            NOT AVAILABLE
         BURKESVILLE, KY 42717


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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7102   THE FISCAL COURT OF ELLIOTT COUNTY, ON BEHALF OF         3/22/2018                   Opioid Matter              UNDETERMINED
         ELLIOTT COUNTY
         ATTN: ELLIOTT COUNTY JUDGE EXECUTIVE                  ACCOUNT NO.:
         3390 N KY 7                                           NOT AVAILABLE
         PO BOX 710
         SANDY HOOK, KY 41171



3.7103   THE FISCAL COURT OF ELLIOTT COUNTY, ON BEHALF OF         3/22/2018                   Opioid Matter              UNDETERMINED
         ELLIOTT COUNTY
         3390 N KY 7                                           ACCOUNT NO.:
         SANDY HOOK, KY 41171                                  NOT AVAILABLE



3.7104   THE FISCAL COURT OF ELLIOTT COUNTY, ON BEHALF OF         3/22/2018                   Opioid Matter              UNDETERMINED
         ELLIOTT COUNTY
         ATTN: ANDY BESHEAR                                    ACCOUNT NO.:
         STATE OF KENTUCKY ATTORNEY GENERAL                    NOT AVAILABLE
         700 CAPITOL AVENUE - CAPITOL BUILDING, SUITE 118
         FRANKFORT, KY 40601



3.7105   THE FISCAL COURT OF ESTILL COUNTY, ON BEHALF OF          9/18/2018                   Opioid Matter              UNDETERMINED
         ESTILL COUNTY
         ATTN: ANDY BESHEAR                                    ACCOUNT NO.:
         STATE OF KENTUCKY ATTORNEY GENERAL                    NOT AVAILABLE
         700 CAPITOL AVENUE - CAPITOL BUILDING, SUITE 118
         FRANKFORT, KY 40601



3.7106   THE FISCAL COURT OF ESTILL COUNTY, ON BEHALF OF          9/18/2018                   Opioid Matter              UNDETERMINED
         ESTILL COUNTY
         ATTN: ESTILL COUNTY JUDGE EXECUTIVE                   ACCOUNT NO.:
         130 MAIN STREET                                       NOT AVAILABLE
         COURTHOUSE ROOM 102
         IRVINE, KY 40336



3.7107   THE FISCAL COURT OF FLEMING COUNTY, ON BEHALF            9/12/2017                   Opioid Matter              UNDETERMINED
         OF FLEMING COUNTY
         ATTN: JUDGE EXECUTIVE                                 ACCOUNT NO.:
         100 COURT SQUARE                                      NOT AVAILABLE
         FLEMINGSBURG, KY 41041



3.7108   THE FISCAL COURT OF FRANKLIN COUNTY, ON BEHALF           9/12/2017                   Opioid Matter              UNDETERMINED
         OF FRANKLIN COUNTY
         ATTN: JUDGE EXECUTIVE                                 ACCOUNT NO.:
         321 WEST MAIN STREET                                  NOT AVAILABLE
         FRANKFORT, KY 40601



3.7109   THE FISCAL COURT OF GARRARD COUNTY, ON BEHALF            9/12/2017                   Opioid Matter              UNDETERMINED
         OF GARRARD COUNTY
         ATTN: JUDGE EXECUTIVE                                 ACCOUNT NO.:
         15 PUBLIC SQUARE                                      NOT AVAILABLE
         LANCASTER, KY 40444




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7110   THE FISCAL COURT OF GREEN COUNTY, ON BEHALF OF          10/30/2018                   Opioid Matter              UNDETERMINED
         GREEN COUNTY
         ATTN: JUDGE EXECUTIVE                                 ACCOUNT NO.:
         203 WEST COURT STREET                                 NOT AVAILABLE
         GREENSBURG, KY 42743



3.7111   THE FISCAL COURT OF GREENUP COUNTY, ON BEHALF            9/25/2017                   Opioid Matter              UNDETERMINED
         OF GREENUP COUNTY
         ATTN: JUDGE EXECUTIVE                                 ACCOUNT NO.:
         GREENUP COUNTY FISCAL COURT                           NOT AVAILABLE
         301 MAIN ST / RM 102
         GREENUP, KY 41144



3.7112   THE FISCAL COURT OF HARDIN COUNTY, ON BEHALF OF         10/30/2018                   Opioid Matter              UNDETERMINED
         HARDIN COUNTY
         ATTN: JUDGE EXECUTIVE                                 ACCOUNT NO.:
         PO BOX 568                                            NOT AVAILABLE
         ELIZABETHTOWN, KY 42702



3.7113   THE FISCAL COURT OF HARLAN COUNTY, ON BEHALF OF          9/12/2017                   Opioid Matter              UNDETERMINED
         HARLAN COUNTY
         ATTN: JUDGE EXECUTIVE                                 ACCOUNT NO.:
         HARLAN COUNTY JUDGE EXECUTIVE                         NOT AVAILABLE
         P.O. BOX 956
         HARLAN, KY 40831



3.7114   THE FISCAL COURT OF HENDERSON COUNTY, ON                 9/29/2017                   Opioid Matter              UNDETERMINED
         BEHALF OF HENDERSON COUNTY
         ATTN: JUDGE EXECUTIVE                                 ACCOUNT NO.:
         HENDERSON COUNTY FISCAL COURT                         NOT AVAILABLE
         20 N MAIN STREET - FISCAL COURT ROOM, 3RD FLOOR
         OF THE OLD COURT HOUSE
         HENDERSON, KY 42420



3.7115   THE FISCAL COURT OF HENRY COUNTY, ON BEHALF OF           9/13/2017                   Opioid Matter              UNDETERMINED
         HENRY COUNTY
         ATTN: COUNTY JUDGE                                    ACCOUNT NO.:
         P. O. BOX 202                                         NOT AVAILABLE
         19 SOUTH PROPERTY ROAD
         NEW CASTLE, KY 40050



3.7116   THE FISCAL COURT OF HENRY COUNTY, ON BEHALF OF           9/13/2017                   Opioid Matter              UNDETERMINED
         HENRY COUNTY
         106 SOUTH MAIN STREET                                 ACCOUNT NO.:
         PO BOX 128                                            NOT AVAILABLE
         NEW CASTLE, KY 40050



3.7117   THE FISCAL COURT OF HOPKINS COUNTY, ON BEHALF            12/1/2017                   Opioid Matter              UNDETERMINED
         OF HOPKINS COUNTY
         ATTN: COUNTY JUDGE                                    ACCOUNT NO.:
         56 NORTH MAIN STREET                                  NOT AVAILABLE
         MADISONVILLE, KY 42431




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7118   THE FISCAL COURT OF HOPKINS COUNTY, ON BEHALF            12/1/2017                   Opioid Matter              UNDETERMINED
         OF HOPKINS COUNTY
         25 EAST CENTER STREET                                 ACCOUNT NO.:
         MADISONVILLLE, KY 42431                               NOT AVAILABLE



3.7119   THE FISCAL COURT OF JESSAMINE COUNTY, ON BEHALF          11/7/2017                   Opioid Matter              UNDETERMINED
         OF JESSAMINE COUNTY
         ATTN: COUNTY JUDGE                                    ACCOUNT NO.:
         101 NORTH MAIN STREET                                 NOT AVAILABLE
         NICHOLASVILLE, KY 40356



3.7120   THE FISCAL COURT OF JESSAMINE COUNTY, ON BEHALF          11/7/2017                   Opioid Matter              UNDETERMINED
         OF JESSAMINE COUNTY
         117 SOUTH MAIN STREET                                 ACCOUNT NO.:
         SUITE 100                                             NOT AVAILABLE
         NICHOLASVILLE, KY 40356



3.7121   THE FISCAL COURT OF KENTON COUNTY, ON BEHALF             9/29/2017                   Opioid Matter              UNDETERMINED
         OF KENTON COUNTY
         ATTN: COUNTY JUDGE                                    ACCOUNT NO.:
         303 COURT STREET                                      NOT AVAILABLE
         COVINGTON, KY 41011



3.7122   THE FISCAL COURT OF KENTON COUNTY, ON BEHALF             9/29/2017                   Opioid Matter              UNDETERMINED
         OF KENTON COUNTY
         303 COURT STREET                                      ACCOUNT NO.:
         ROOM 307                                              NOT AVAILABLE
         COVINGTON, KY 41011



3.7123   THE FISCAL COURT OF KNOX COUNTY, ON BEHALF OF            9/12/2017                   Opioid Matter              UNDETERMINED
         KNOX COUNTY
         KNOX COUNTY COURTHOUSE                                ACCOUNT NO.:
         SUITE 107                                             NOT AVAILABLE
         - P.O. BOX 1809
         BARBOURVILLE, KY 40906



3.7124   THE FISCAL COURT OF KNOX COUNTY, ON BEHALF OF            9/12/2017                   Opioid Matter              UNDETERMINED
         KNOX COUNTY
         ATTN: COUNTY JUDGE                                    ACCOUNT NO.:
         401 COURT STREET                                      NOT AVAILABLE
         SUITE 6
         BARBOURVILLE, KY 40906



3.7125   THE FISCAL COURT OF LAUREL COUNTY, ON BEHALF OF          9/29/2017                   Opioid Matter              UNDETERMINED
         LAUREL COUNTY
         101 SOUTH MAIN STREET                                 ACCOUNT NO.:
         ROOM 200                                              NOT AVAILABLE
         LONDON, KY 40741-230



3.7126   THE FISCAL COURT OF LAUREL COUNTY, ON BEHALF OF          9/29/2017                   Opioid Matter              UNDETERMINED
         LAUREL COUNTY
         ATTN: COUNTY JUDGE                                    ACCOUNT NO.:
         101 SOUTH MAIN STREET                                 NOT AVAILABLE
         SUITE 320
         LONDON, KY 40741


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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7127   THE FISCAL COURT OF LEE COUNTY, KENTUCKY                 9/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: LEE COUNTY JUDGE EXECUTIVE
         LEE COUNTY COURTHOUSE                                 ACCOUNT NO.:
         256 MAIN STREET                                       NOT AVAILABLE
         BEATTYVILLE, KY 41311



3.7128   THE FISCAL COURT OF LESLIE COUNTY, ON BEHALF OF          9/12/2017                   Opioid Matter              UNDETERMINED
         LESLIE COUNTY
         ATTN: JUDGE EXECUTIVE                                 ACCOUNT NO.:
         PO BOX 619                                            NOT AVAILABLE
         22010 MAIN STREET
         HYDEN, KY 41749



3.7129   THE FISCAL COURT OF LETCHER COUNTY, ON BEHALF            9/18/2018                   Opioid Matter              UNDETERMINED
         OF LETCHER COUNTY
         ATTN: JUDGE EXECUTIVE                                 ACCOUNT NO.:
         LETCHER COUNTY FISCAL COURT                           NOT AVAILABLE
         156 MAIN ST., SUITE 107
         WHITESBURG, KY 41858



3.7130   THE FISCAL COURT OF LINCOLN COUNTY, ON BEHALF            9/12/2017                   Opioid Matter              UNDETERMINED
         OF LINCOLN COUNTY
         ATTN: JUDGE EXECUTIVE                                 ACCOUNT NO.:
         102 EAST MAIN ST                                      NOT AVAILABLE
         STANFORD, KY 40484



3.7131   THE FISCAL COURT OF MADISON COUNTY, ON BEHALF            9/12/2017                   Opioid Matter              UNDETERMINED
         OF MADISON COUNTY
         ATTN: JUDGE EXECUTIVE                                 ACCOUNT NO.:
         135 WEST IRVINE STREET, 3RD FLOOR                     NOT AVAILABLE
         MADISON COUNTY COURTHOUSE ANNEX
         RICHMOND, KY 40475



3.7132   THE FISCAL COURT OF MARSHALL COUNTY, ON BEHALF           9/25/2017                   Opioid Matter              UNDETERMINED
         OF MARSHALL COUNTY
         ATTN: JUDGE EXECUTIVE                                 ACCOUNT NO.:
         1101 MAIN STREET                                      NOT AVAILABLE
         BENTON, KY 42025



3.7133   THE FISCAL COURT OF MARTIN COUNTY, ON BEHALF OF          3/22/2018                   Opioid Matter              UNDETERMINED
         MARTIN COUNTY
         ATTN: JUDGE-EXECUTIVE                                 ACCOUNT NO.:
         PO BOX 309                                            NOT AVAILABLE
         INEZ, KY 41224



3.7134   THE FISCAL COURT OF MARTIN COUNTY, ON BEHALF OF          3/22/2018                   Opioid Matter              UNDETERMINED
         MARTIN COUNTY
         ATTN: ANDY BESHEAR                                    ACCOUNT NO.:
         STATE OF KENTUCKY ATTORNEY GENERAL                    NOT AVAILABLE
         700 CAPITOL AVENUE - CAPITOL BUILDING, SUITE 118
         FRANKFORT, KY 40601




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7135   THE FISCAL COURT OF MEADE COUNTY, ON BEHALF OF          10/30/2018                   Opioid Matter              UNDETERMINED
         MEADE COUNTY
         516 HILLCREST DRIVE, STE 10                           ACCOUNT NO.:
         BRANDENBURG, KY 40108                                 NOT AVAILABLE



3.7136   THE FISCAL COURT OF MEADE COUNTY, ON BEHALF OF          10/30/2018                   Opioid Matter              UNDETERMINED
         MEADE COUNTY
         ATTN: JUDGE EXECUTIVE                                 ACCOUNT NO.:
         516 HILLCREST DRIVE                                   NOT AVAILABLE
         BRANDENBURG, KY 40108



3.7137   THE FISCAL COURT OF MONTGOMERY COUNTY, ON                9/21/2018                   Opioid Matter              UNDETERMINED
         BEHALF OF MONTGOMERY COUNTY
         ATTN: COUNTY JUDGE EXECUTIVE                          ACCOUNT NO.:
         44 WEST MAIN STREET                                   NOT AVAILABLE
         MT. STERLING, KY 40353



3.7138   THE FISCAL COURT OF MORGAN COUNTY, ON BEHALF             6/10/2019                   Opioid Matter              UNDETERMINED
         OF MORGAN COUNTY
         527 MAIN STREET                                       ACCOUNT NO.:
         WEST LIBERTY, KY 41472                                NOT AVAILABLE



3.7139   THE FISCAL COURT OF MORGAN COUNTY, ON BEHALF             6/10/2019                   Opioid Matter              UNDETERMINED
         OF MORGAN COUNTY
         ATTN: COUNTY JUDGE EXECUTIVE                          ACCOUNT NO.:
         MORGAN COUNTY OFFICE BUIDLING                         NOT AVAILABLE
         450 PRESTONSBURG STREET
         WEST LIBERTY, KY 41472



3.7140   THE FISCAL COURT OF NICHOLAS COUNTY, ON BEHALF           9/13/2017                   Opioid Matter              UNDETERMINED
         OF NICHOLAS COUNTY
         ATTN: COUNTY JUDGE EXECUTIVE AND COUNTY               ACCOUNT NO.:
         ATTORNEY                                              NOT AVAILABLE
         125 EAST MAIN STREET
         CARLISLE, KY 40311



3.7141   THE FISCAL COURT OF OLDHAM COUNTY, ON BEHALF             9/25/2017                   Opioid Matter              UNDETERMINED
         OF OLDHAM COUNTY
         ATTN: COUNTY JUDGE-EXECUTIVE AND COUNTY               ACCOUNT NO.:
         ATTORNEY                                              NOT AVAILABLE
         100 WEST JEFFERSON STREET
         SUITE 4
         LA GRANGE, KY 40031



3.7142   THE FISCAL COURT OF OWEN COUNTY                          5/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: OWEN COUNTY JUDGE/EXECUTIVE
         100 NORTH THOMAS STREET                               ACCOUNT NO.:
         OWENTON, KY 40359                                     NOT AVAILABLE



3.7143   THE FISCAL COURT OF OWSLEY COUNTY, ON BEHALF            10/26/2018                   Opioid Matter              UNDETERMINED
         OF OWSLEY COUNTY
         ATTN: COUNTY JUDGE EXECUTIVE                          ACCOUNT NO.:
         PO BOX 749                                            NOT AVAILABLE
         20 MAIN STREET
         BOONEVILLE, KY 41314


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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7144   THE FISCAL COURT OF OWSLEY COUNTY, ON BEHALF            10/26/2018                   Opioid Matter              UNDETERMINED
         OF OWSLEY COUNTY
         100 MULBERRY STREET                                   ACCOUNT NO.:
         PO BOX 68                                             NOT AVAILABLE
         BOONEVILLE, KY 41314



3.7145   THE FISCAL COURT OF PENDLETON COUNTY, ON                 9/13/2017                   Opioid Matter              UNDETERMINED
         BEHALF OF PENDLETON COUNTY
         ATTN: COUNTY JUDGE EXECUTIVE AND COUNTY               ACCOUNT NO.:
         ATTORNEY                                              NOT AVAILABLE
         233 MAIN STREET
         FALMOUTH, KY 41040



3.7146   THE FISCAL COURT OF PERRY COUNTY, ON BEHALF OF           9/25/2017                   Opioid Matter              UNDETERMINED
         PERRY COUNTY
         ATTN: COUNTY JUDGE EXECUTIVE AND COUNTY               ACCOUNT NO.:
         ATTORNEY                                              NOT AVAILABLE
         481 MAIN STREET
         1ST FLOOR - P.O. DRAWER 210
         HAZARD, KY 41701



3.7147   THE FISCAL COURT OF POWELL COUNTY, ON BEHALF             9/20/2018                   Opioid Matter              UNDETERMINED
         OF POWELL COUNTY
         ATTN: COUNTY JUDGE EXECUTIVE                          ACCOUNT NO.:
         525 WASHINGTON STREET                                 NOT AVAILABLE
         COURTHOUSE, ROOM 102
         STANTON, KY 40380



3.7148   THE FISCAL COURT OF POWELL COUNTY, ON BEHALF             9/20/2018                   Opioid Matter              UNDETERMINED
         OF POWELL COUNTY
         PO BOX 8                                              ACCOUNT NO.:
         STANTON, KY 40380                                     NOT AVAILABLE



3.7149   THE FISCAL COURT OF PULASKI COUNTY, ON BEHALF            9/25/2017                   Opioid Matter              UNDETERMINED
         OF PULASKI COUNTY
         ATTN: COUNTY JUDGE EXECUTIVE                          ACCOUNT NO.:
         100 NORTH MAIN STREET                                 NOT AVAILABLE
         SOMERSET, KY 42501



3.7150   THE FISCAL COURT OF PULASKI COUNTY, ON BEHALF            9/25/2017                   Opioid Matter              UNDETERMINED
         OF PULASKI COUNTY
         103 SOUTH MAPLE STREET                                ACCOUNT NO.:
         SOMERSET, KY 42501                                    NOT AVAILABLE



3.7151   THE FISCAL COURT OF ROWAN COUNTY, ON BEHALF OF           12/2/2017                   Opioid Matter              UNDETERMINED
         ROWAN COUNTY
         600 WEST MAIN STREET                                  ACCOUNT NO.:
         SUITE 139                                             NOT AVAILABLE
         MOREHEAD, KY 40351



3.7152   THE FISCAL COURT OF ROWAN COUNTY, ON BEHALF OF           12/2/2017                   Opioid Matter              UNDETERMINED
         ROWAN COUNTY
         ATTN: COUNTY JUDGE EXECUTIVE                          ACCOUNT NO.:
         600 WEST MAIN STREET                                  NOT AVAILABLE
         MOREHEAD, KY 40351


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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7153   THE FISCAL COURT OF SCOTT COUNTY, ON BEHALF OF           12/2/2017                   Opioid Matter              UNDETERMINED
         SCOTT COUNTY
         198 EAST WASHINGTON STREET                            ACCOUNT NO.:
         GEORGETOWN, KY 40324                                  NOT AVAILABLE



3.7154   THE FISCAL COURT OF SCOTT COUNTY, ON BEHALF OF           12/2/2017                   Opioid Matter              UNDETERMINED
         SCOTT COUNTY
         ATTN: COUNTY JUDGE EXECUTIVE                          ACCOUNT NO.:
         COURTHOUSE                                            NOT AVAILABLE
         P.O. BOX 973 - 101 EAST MAIN STREET
         GEORGETOWN, KY 40324



3.7155   THE FISCAL COURT OF SHELBY COUNTY, ON BEHALF OF          9/13/2017                   Opioid Matter              UNDETERMINED
         SHELBY COUNTY
         501 MAIN STREET                                       ACCOUNT NO.:
         SUITE 10                                              NOT AVAILABLE
         SHELBYVILLE, KY 40065



3.7156   THE FISCAL COURT OF SHELBY COUNTY, ON BEHALF OF          9/13/2017                   Opioid Matter              UNDETERMINED
         SHELBY COUNTY
         ATTN: COUNTY JUDGE EXECUTIVE                          ACCOUNT NO.:
         501 MAIN STREET                                       NOT AVAILABLE
         SHELBYVILLE, KY 40065



3.7157   THE FISCAL COURT OF SPENCER COUNTY, ON BEHALF            9/13/2017                   Opioid Matter              UNDETERMINED
         OF SPENCER COUNTY
         ATTN: COUNTY JUDGE-EXECUTIVE                          ACCOUNT NO.:
         12 WEST MAIN STREET                                   NOT AVAILABLE
         TAYLORSVILLE, KY 40071



3.7158   THE FISCAL COURT OF SPENCER COUNTY, ON BEHALF            9/13/2017                   Opioid Matter              UNDETERMINED
         OF SPENCER COUNTY
         7 WEST MAIN STREET                                    ACCOUNT NO.:
         TAYLORSVILLE, KY 40071                                NOT AVAILABLE



3.7159   THE FISCAL COURT OF UNION COUNTY, ON BEHALF OF           9/13/2017                   Opioid Matter              UNDETERMINED
         UNION COUNTY
         ATTN: COUNTY JUDGE EXECUTIVE                          ACCOUNT NO.:
         PO BOX 60                                             NOT AVAILABLE
         100 WEST MAIN STREET
         MORGANFIELD, KY 42437



3.7160   THE FISCAL COURT OF UNION COUNTY, ON BEHALF OF           9/13/2017                   Opioid Matter              UNDETERMINED
         UNION COUNTY
         111 SOUTH COURT STREET                                ACCOUNT NO.:
         PO BOX 28                                             NOT AVAILABLE
         MORGANFIELD, KY 43437



3.7161   THE FISCAL COURT OF WAYNE COUNTY, ON BEHALF OF           3/22/2018                   Opioid Matter              UNDETERMINED
         WAYNE COUNTY
         ATTN: ANDY BESHEAR                                    ACCOUNT NO.:
         STATE OF KENTUCKY ATTORNEY GENERAL                    NOT AVAILABLE
         700 CAPITOL AVENUE - CAPITOL BUILDING, SUITE 118
         FRANKFORT, KY 40601



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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                         Claim

Litigation

3.7162   THE FISCAL COURT OF WAYNE COUNTY, ON BEHALF OF           3/22/2018                   Opioid Matter              UNDETERMINED
         WAYNE COUNTY
         ATTN: JUDGE/EXECUTIVE                                 ACCOUNT NO.:
         55 N. MAIN ST. STE. 103                               NOT AVAILABLE
         PO BOX 439
         MONTICELLO, KY 42633



3.7163   THE FISCAL COURT OF WAYNE COUNTY, ON BEHALF OF           3/22/2018                   Opioid Matter              UNDETERMINED
         WAYNE COUNTY
         55 N. MAIN ST. STE. 103                               ACCOUNT NO.:
         MONTICELLO, KY 42633                                  NOT AVAILABLE



3.7164   THE FISCAL COURT OF WHITLEY, ON BEHALF OF                9/13/2017                   Opioid Matter              UNDETERMINED
         WHITLEY COUNTY
         ATTN: JUDGE OF THE WHITLEY COUNTY FISCAL COURT        ACCOUNT NO.:
         PO BOX 237                                            NOT AVAILABLE
         WILLIAMSBURG, KY 40769



3.7165   THE FISCAL COURT OF WHITLEY, ON BEHALF OF                9/13/2017                   Opioid Matter              UNDETERMINED
         WHITLEY COUNTY
         218 NORTH MAIN STREET                                 ACCOUNT NO.:
         PO BOX 1388                                           NOT AVAILABLE
         CORBIN, KY 40702



3.7166   THE FISCAL COURT OF WOLFE COUNTY, KENTUCKY               9/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: WOLFE COUNTY JUDGE EXECUTIVE
         16 COURT STREET                                       ACCOUNT NO.:
         P.O. BOX 429                                          NOT AVAILABLE
         COMPTON, KY 41301



3.7167   THE FISCAL COURT OF WOODFORD, ON BEHALF OF               12/2/2017                   Opioid Matter              UNDETERMINED
         WOODFORD COUNTY
         103 SOUTH MAIN STREET                                 ACCOUNT NO.:
         ROOM 300                                              NOT AVAILABLE
         VERSAILLES, KY 40383



3.7168   THE FISCAL COURT OF WOODFORD, ON BEHALF OF               12/2/2017                   Opioid Matter              UNDETERMINED
         WOODFORD COUNTY
         ATTN: JUDGE OF THE FISCAL COURT OF WOODFORD           ACCOUNT NO.:
         103 SOUTH MAIN STREET                                 NOT AVAILABLE
         ROOM 200
         VERSAILLES, KY 40383



3.7169   THE GILMER COUNTY COMMISSION                             9/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSION, COUNTY CLERK
         10 HOWARD STREET                                      ACCOUNT NO.:
         GLENVILLE, WV 26351                                   NOT AVAILABLE



3.7170   THE GILMER COUNTY COMMISSION                             9/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: PROSECUTING ATTORNEY
         7 NORTH COURT STREET                                  ACCOUNT NO.:
         GLENVILLE, WV 26351                                   NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7171   THE HARRISON MEMORIAL HOSPITAL, INC.                     8/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT AND CEO
         1210 KENTUCKY HIGHWAY 36 EAST                         ACCOUNT NO.:
         CYNTHIANA, KY 41031-7498                              NOT AVAILABLE



3.7172   THE HEALTH CARE AUTHORITY OF CLARKE COUNTY,              9/3/2019                    Opioid Matter              UNDETERMINED
         ALABAMA
         ATTN: CEO, PARTNER, OR MANAGER                        ACCOUNT NO.:
         119 MAIN STREET                                       NOT AVAILABLE
         GROVE HILL, AL 36451



3.7173   THE HEALTHCARE AUTHORITY FOR BAPTIST HEALTH, AN          9/3/2019                    Opioid Matter              UNDETERMINED
         AFFILIATE OF UAB HEALTH SYSTEM
         ATTN: REGISTERED AGENT                                ACCOUNT NO.:
         500 22ND STREET SOTUH                                 NOT AVAILABLE
         SUITE 504
         BIRMINGHAM, AL 35233-3110



3.7174   THE HEALTHCARE AUTHORITY FOR BAPTIST HEALTH, AN          9/3/2019                    Opioid Matter              UNDETERMINED
         AFFILIATE OF UAB HEALTH SYSTEM
         ATTN: CEO                                             ACCOUNT NO.:
         124 SOUTH MEMORIAL DRIVE                              NOT AVAILABLE
         PRATTVILLE, AL 36067



3.7175   THE HOOPAH VALLEY TRIBE                                 12/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN
         HOOPA VALLEY TRIBE                                    ACCOUNT NO.:
         11860 STATE HWY 96                                    NOT AVAILABLE
         HOOPA, CA 95546



3.7176   THE HOOPAH VALLEY TRIBE                                 12/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON
         HOOPA VALLEY TRIBE                                    ACCOUNT NO.:
         11860 STATE HWY 96 - PO BOX 1348                      NOT AVAILABLE
         HOOPA, CA 95546



3.7177   THE HOSPITAL AUTHORITY OF WAYNE COUNTY,                  4/16/2019                   Opioid Matter              UNDETERMINED
         GEORGIA
         ATTN: CHIEF EXECUTIVE OFFICER AND AUTHORITY           ACCOUNT NO.:
         MEMBERS                                               NOT AVAILABLE
         865 SOUTH FIRST STREET
         JESUP, GA 31545



3.7178   THE HOSPITAL AUTHORITY OF WAYNE COUNTY,                  4/16/2019                   Opioid Matter              UNDETERMINED
         GEORGIA
         214 STATE CAPITOL                                     ACCOUNT NO.:
         ATLANTA, GA 30334                                     NOT AVAILABLE



3.7179   THE HOSPITALS OF PROVIDENCE EAST CAMPUS                 UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT AND CHAIR OF THE BOARD
         3280 JOE BATTLE BOULEVARD                             ACCOUNT NO.:
         EL PASO, TX 79938                                     NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7180   THE HOSPITALS OF PROVIDENCE MEMORIAL CAMPUS             UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT AND CHAIR OF THE BOARD
         2001 NORTH OREGON STREET                              ACCOUNT NO.:
         EL PASO, TX 79902                                     NOT AVAILABLE



3.7181   THE HOSPITALS OF PROVIDENCE SIERRA CAMPUS               UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT AND CHAIR OF THE BOARD
         1625 MEDICAL CENTER DRIVE                             ACCOUNT NO.:
         EL PASO, TX 79902                                     NOT AVAILABLE



3.7182   THE HOSPITALS OF PROVIDENCE TRANSMOUNTAIN               UNKNOWN                      Opioid Matter              UNDETERMINED
         CAMPUS
         ATTN: REGISTERED AGENT AND CHAIR OF THE BOARD         ACCOUNT NO.:
         2000 TRANSMOUNTAIN ROAD                               NOT AVAILABLE
         EL PASO, TX 79911



3.7183   THE JICARILLA APACHE NATION                              6/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE JICARILLA APACHE NATION,
         VICE PRESIDENT OF THE JICARILLA APACHE NATION,        ACCOUNT NO.:
         TRIBAL COUNCIL CHAIRMAN                               NOT AVAILABLE
         PO BOX 507
         DULCE, NM 87528



3.7184   THE JICARILLA APACHE NATION                              6/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE JICARILLA APACHE NATION,
         VICE PRESIDENT OF THE JICARILLA APACHE NATION,        ACCOUNT NO.:
         TRIBAL COUNCIL CHAIRMAN                               NOT AVAILABLE
         BUILDING NO. 25 HAWKS DRIVE
         DULCE, NM 87528



3.7185   THE KERSHAW COUNTY HOSPITAL BOARD A/K/A                  6/25/2018                   Opioid Matter              UNDETERMINED
         KERSHAW HEALTH D/B/HEALTH SERVICE DISTRICT OF
         KERSHAW COUNTY                                        ACCOUNT NO.:
         VINCENT AUSTIN SHEHEEN                                NOT AVAILABLE
         PO DRAWER 10
         CAMDEN, SC 29021



3.7186   THE LAW DIRECTOR FOR COPLEY TOWNSHIP, IRVING B.          6/30/2018                   Opioid Matter              UNDETERMINED
         SUGERMAN
         ATTN: COPLEY TOWN ATTORNEY                            ACCOUNT NO.:
         C/O IRVING B. SUGARMAN                                NOT AVAILABLE
         BROUSE MCDOWELL - 388 SOUTH MAIN STREET, SUITE
         500
         AKRON, OH 44311



3.7187   THE LAW DIRECTOR FOR COPLEY TOWNSHIP, IRVING B.          6/30/2018                   Opioid Matter              UNDETERMINED
         SUGERMAN
         1540 SOUTH CLEVELAND-MASSILLON ROAD                   ACCOUNT NO.:
         COPLEY, OH 44321                                      NOT AVAILABLE




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  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7188   THE LAW DIRECTOR FOR COVENTRY TOWNSHIP, IRVING           6/30/2018                   Opioid Matter              UNDETERMINED
         B. SUGERMAN
         C/O IRVING B SUGARMAN                                 ACCOUNT NO.:
         BROUSE MCDOWELL                                       NOT AVAILABLE
         - 388 SOUTH MAIN STREET, SUITE 500
         AKRON, OH 44311



3.7189   THE LAW DIRECTOR FOR COVENTRY TOWNSHIP, IRVING           6/30/2018                   Opioid Matter              UNDETERMINED
         B. SUGERMAN
         ATTN: TOWNSHIP ADMINISTRATOR AND TRUSTEE              ACCOUNT NO.:
         68 PORTAGE LAKES DRIVE                                NOT AVAILABLE
         AKRON, OH 44319



3.7190   THE LAW DIRECTOR FOR THE CITY OF CUYAHOGA                6/30/2018                   Opioid Matter              UNDETERMINED
         FALLS, RUSS BALTHIS
         ATTN: CLERK OF THE CITY COUNCIL AND LAW               ACCOUNT NO.:
         DEPARTMENT                                            NOT AVAILABLE
         2310 SECOND STREET
         CUYAHOGA FALLS, OH 44221



3.7191   THE LAW DIRECTOR FOR THE CITY OF FAIRLAWN,               6/30/2018                   Opioid Matter              UNDETERMINED
         BRYAN NACE
         ATTN: CLERK OF COUNCIL AND LAW DEPARTMENT             ACCOUNT NO.:
         3487 SOUTH SMITH ROAD                                 NOT AVAILABLE
         FAIRLAWN, OH 44333



3.7192   THE LAW DIRECTOR FOR THE CITY OF GREEN, INTERIM          6/30/2018                   Opioid Matter              UNDETERMINED
         LAW DIRECTOR BILL CHRIS
         ATTN: LAW DEPARTMENT AND CLERK OF THE CITY            ACCOUNT NO.:
         COUNCIL                                               NOT AVAILABLE
         CENTRAL ADMINISTRATION BUILDING
         1755 TOWN PARK BOULEVARD
         UNIONTOWN, OH 44685



3.7193   THE LAW DIRECTOR FOR THE CITY OF GREEN, INTERIM          6/30/2018                   Opioid Matter              UNDETERMINED
         LAW DIRECTOR BILL CHRIS
         ATTN: LAW DEPARTMENT AND CLERK OF THE CITY            ACCOUNT NO.:
         COUNCIL                                               NOT AVAILABLE
         PO BOX 278
         GREEN, OH 44232



3.7194   THE LAW DIRECTOR FOR THE CITY OF MOGADORE,               6/30/2018                   Opioid Matter              UNDETERMINED
         MARSHAL M. PITCHFORD
         C/O MARSHAL M. PITCHFORD                              ACCOUNT NO.:
         DICAUDO, PITCHFORD & YODER                            NOT AVAILABLE
         - 209 SOUTH MAIN STREET, THIRD FLOOR
         AKRON, OH 44308



3.7195   THE LAW DIRECTOR FOR THE CITY OF MOGADORE,               6/30/2018                   Opioid Matter              UNDETERMINED
         MARSHAL M. PITCHFORD
         ATTN: CLERK OF MAYOR'S COURT AND ASSISTANT            ACCOUNT NO.:
         CLERK TREASURER                                       NOT AVAILABLE
         135 SOUTH CLEVELAND AVENUE
         MOGADORE, OH 44260




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7196   THE LAW DIRECTOR FOR THE CITY OF MUNROE FALLS,           6/30/2018                   Opioid Matter              UNDETERMINED
         TOM KOSTOFF
         C/O THOMAS W. KOSTOFF                                 ACCOUNT NO.:
         41 MERZ BOULEVARD                                     NOT AVAILABLE
         FAIRLAWN, OH 44333



3.7197   THE LAW DIRECTOR FOR THE CITY OF MUNROE FALLS,           6/30/2018                   Opioid Matter              UNDETERMINED
         TOM KOSTOFF
         ATTN: CITY COUNCIL CLERK AND LAW DIRECTOR             ACCOUNT NO.:
         CITY HALL                                             NOT AVAILABLE
         43 MUNROE FALLS AVENUE
         MUNROE FALLS, OH 44262



3.7198   THE LAW DIRECTOR FOR THE CITY OF NEW FRANKLIN,           6/30/2018                   Opioid Matter              UNDETERMINED
         IRVING B. SUGERMAN
         ATTN: CITY COUNCIL CLERK                              ACCOUNT NO.:
         5611 MANCHESTER ROAD                                  NOT AVAILABLE
         NEW FRANKLIN, OH 44319



3.7199   THE LAW DIRECTOR FOR THE CITY OF NEW FRANKLIN,           6/30/2018                   Opioid Matter              UNDETERMINED
         IRVING B. SUGERMAN
         ATTN: IRVING B. SUGARMAN                              ACCOUNT NO.:
         BROUSE MCDOWELL                                       NOT AVAILABLE
          - 388 SOUTH MAIN STREET, SUITE 500
         AKRON, OH 44311



3.7200   THE LAW DIRECTOR FOR THE CITY OF NORTON, JUSTIN          6/30/2018                   Opioid Matter              UNDETERMINED
         MARKEY
         ATTN: ADMINISTRATIVE OFFICER, LAW DEPARTMENT          ACCOUNT NO.:
         4060 COLUMBIA WOODS DRIVE                             NOT AVAILABLE
         NORTON, OH 44203



3.7201   THE LAW DIRECTOR FOR THE CITY OF STOW, AMBER             6/30/2018                   Opioid Matter              UNDETERMINED
         ZIBRITOSKY
         ATTN: MAYOR, LAW DIRECTOR                             ACCOUNT NO.:
         3760 DARROW ROAD                                      NOT AVAILABLE
         STOW, OH 44224-4038



3.7202   THE LAW SOLICITOR FOR THE VILLAGE OF RICHFIELD,          6/30/2018                   Opioid Matter              UNDETERMINED
         WILLIAM HANNA
         ATTN: MAYOR, LAW DIRECTOR                             ACCOUNT NO.:
         4410 WEST STREETSBORO ROAD                            NOT AVAILABLE
         RICHFIELD, OH 44286



3.7203   THE LEECH LAKE BAND OF OJIBWE                           12/19/2017                   Opioid Matter              UNDETERMINED
         ATTN: TRIBAL CHAIRMAN OF THE LEECH LAKE BAND OF
         OJIBWE                                                ACCOUNT NO.:
         LEECH LAKE BAND OF OJIBWE                             NOT AVAILABLE
         190 SAILSTAR DRIVE NORTHWEST
         CASS LAKE, MN 56633



3.7204   THE LEECH LAKE BAND OF OJIBWE                           12/19/2017                   Opioid Matter              UNDETERMINED
         15542 STATE HIGHWAY 371 NORTHWEST
         CASS LAKE, MN 56633                                   ACCOUNT NO.:
                                                               NOT AVAILABLE


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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7205   THE LUMMI TRIBE OF THE LUMMI RESERVATION                 7/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE CHAIR AND CHIEF EXECUTIVE
         OFFICER                                               ACCOUNT NO.:
         2665 KWINA ROAD                                       NOT AVAILABLE
         BELLINGHAM, WA 98226



3.7206   THE MAKAH INDIAN TRIBE, A FEDERALLY RECOGNIZED           8/14/2018                   Opioid Matter              UNDETERMINED
         INDIAN TRIBE
         ATTN: COUNCIL CHAIRMAN                                ACCOUNT NO.:
         OFFICE OF THE GENERAL MANAGER                         NOT AVAILABLE
         PO BOX 115
         NEAH BAY, WA 98357



3.7207   THE MARSHALL COUNTY HEALTH CARE AUTHORITY                5/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHIEF OPERATING OFFICER
         8000 ALABAMA HIGHWAY 69                               ACCOUNT NO.:
         GUNTERSVILLE, AL 35976                                NOT AVAILABLE



3.7208   THE MARSHALL COUNTY HEALTH CARE AUTHORITY                5/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: OFFICER, MANAGER, PARTNER
         2505 US HIGHWAY 431                                   ACCOUNT NO.:
         BOAZ, AL 35957                                        NOT AVAILABLE



3.7209   THE MAYOR AND ALDERMAN OF THE CITY OF SAVANNAH           4/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: ALDERMAN
         PO BOX 9141                                           ACCOUNT NO.:
         SAVANNAH, GA 31412                                    NOT AVAILABLE



3.7210   THE MAYOR AND ALDERMAN OF THE CITY OF SAVANNAH           4/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER
         CITY OF SAVANNAH                                      ACCOUNT NO.:
         P.O. BOX 1027                                         NOT AVAILABLE
         SAVANNAH, GA 31402



3.7211   THE MAYOR AND ALDERMAN OF THE CITY OF SAVANNAH           4/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: ALDERMAN
         18 VERNONBURG ROAD                                    ACCOUNT NO.:
         SAVANNAH, GA 31419                                    NOT AVAILABLE



3.7212   THE MAYOR AND ALDERMAN OF THE CITY OF SAVANNAH           4/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: ALDERMAN
         PO BOX 23146                                          ACCOUNT NO.:
         SAVANNAH, GA 31403                                    NOT AVAILABLE



3.7213   THE MAYOR AND ALDERMAN OF THE CITY OF SAVANNAH           4/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: ALDERMAN
         516 EAST 44TH STREET                                  ACCOUNT NO.:
         SAVANNAH, GA 31405                                    NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7214   THE MAYOR AND ALDERMAN OF THE CITY OF SAVANNAH           4/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER
         OFFICE OF THE CITY MANAGER                            ACCOUNT NO.:
         2 EAST BAY STREET                                     NOT AVAILABLE
         SAVANNAH, GA 31402



3.7215   THE MAYOR AND ALDERMAN OF THE CITY OF SAVANNAH           4/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: ALDERMAN
         2205 EAST VICTORY DRIVE                               ACCOUNT NO.:
         3301 HAZEL STREET                                     NOT AVAILABLE
         SAVANNAH, GA 31404



3.7216   THE MAYOR AND ALDERMAN OF THE CITY OF SAVANNAH           4/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: ALDERMEN
         PO BOX 1027                                           ACCOUNT NO.:
         SAVANNAH, GA 31402                                    NOT AVAILABLE



3.7217   THE MAYOR AND ALDERMAN OF THE CITY OF SAVANNAH           4/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: ALDERMAN
         210 EAST BOLTON STREET                                ACCOUNT NO.:
         SAVANNAH, GA 31401                                    NOT AVAILABLE



3.7218   THE MAYOR AND ALDERMAN OF THE CITY OF SAVANNAH           4/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         CITY OF SAVANNAH                                      ACCOUNT NO.:
         P.O. BOX 1027                                         NOT AVAILABLE
         SAVANNAH, GA 31402



3.7219   THE MAYOR AND ALDERMAN OF THE CITY OF SAVANNAH           4/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         SAVANNAH CITY HALL                                    ACCOUNT NO.:
         2ND FLOOR - 2 EAST BAY STREET                         NOT AVAILABLE
         SAVANNAH, GA 31402



3.7220   THE MAYOR AND COMMON COUNCIL OF WESTMINSTER,             6/25/2018                   Opioid Matter              UNDETERMINED
         MARYLAND
         ATTN: MAYOR AND COUNCIL                               ACCOUNT NO.:
         56 WEST MAIN STREET                                   NOT AVAILABLE
         SUITE 1
         WESTMINISTER, MD 21157



3.7221   THE MAYOR AND COUNCIL OF ROCKVILLE, MARYLAND             6/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND COUNCIL
         111 MARYLAND AVENUE                                   ACCOUNT NO.:
         ROCKVILLE, MD 20850                                   NOT AVAILABLE



3.7222   THE MEDICAL CENTER AT CLINTON COUNTY, INC.               8/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: CEO, PARTNER, OR MANAGER
         701 BURKESVILLE ROAD                                  ACCOUNT NO.:
         ALBANY, KY 42602                                      NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7223   THE MEDICAL CENTER AT CLINTON COUNTY, INC.               8/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         800 PARK STREET                                       ACCOUNT NO.:
         BOWLING GREEN, KY 42101                               NOT AVAILABLE



3.7224   THE MEDICAL CENTER AT CLINTON COUNTY, INC. D/B/A         8/17/2018                   Opioid Matter              UNDETERMINED
         THE MEDICAL CENTER AT ALBANY
         EXECUTIVE VICE PRESIDENT                              ACCOUNT NO.:
         PO BOX 8000                                           NOT AVAILABLE
         BOWLING GREEN, KY 42102-8000



3.7225   THE MEDICAL CENTER AT CLINTON COUNTY, INC. D/B/A         8/17/2018                   Opioid Matter              UNDETERMINED
         THE MEDICAL CENTER AT ALBANY
         ATTN: REGISTERED AGENT, JOHN A. CHANEY                ACCOUNT NO.:
         COMMONWEALTH HEALTH CORPORATION                       NOT AVAILABLE
         800 PARK STREET
         BOWLING GREEN, KY 42101



3.7226   THE MEDICAL CENTER AT CLINTON COUNTY, INC. D/B/A         8/17/2018                   Opioid Matter              UNDETERMINED
         THE MEDICAL CENTER AT ALBANY
         ATTN: EXECUTIVE VICE PRESIDENT                        ACCOUNT NO.:
         701 BURKESVILLE ROAD                                  NOT AVAILABLE
         ALBANY, KY 42602-1654



3.7227   THE MEDICAL CENTER AT FRANKLIN, INC.                     8/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         800 PARK STREET                                       ACCOUNT NO.:
         BOWLING GREEN, KY 42101                               NOT AVAILABLE



3.7228   THE MEDICAL CENTER AT FRANKLIN, INC.                     8/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: CEO, PARTNER, OR MANAGER
         1100 BROOKHAVEN ROAD                                  ACCOUNT NO.:
         FRANKLIN, KY 42134                                    NOT AVAILABLE



3.7229   THE MEDICAL CENTER AT FRANKLIN, INC. D/B/A THE           8/17/2018                   Opioid Matter              UNDETERMINED
         MEDICAL CENTER AT FRANKLIN
         ATTN: REGISTERED AGENT; JOHN A. CHANEY                ACCOUNT NO.:
         COMMONWEALTH HEALTH CORPORATION                       NOT AVAILABLE
         800 PARK STREET
         BOWLING GREEN, KY 42101



3.7230   THE MEDICAL CENTER AT FRANKLIN, INC. D/B/A THE           8/17/2018                   Opioid Matter              UNDETERMINED
         MEDICAL CENTER AT FRANKLIN
         ATTN: CHAIR, BOARD OF DIRECTORS                       ACCOUNT NO.:
         THE MEDICAL CENTER FRANKLIN                           NOT AVAILABLE
         1100 BROOKHAVEN ROAD
         FRANKLIN, KY 42134



3.7231   THE MEDICAL CENTER AT FRANKLIN, INC. D/B/A THE           8/17/2018                   Opioid Matter              UNDETERMINED
         MEDICAL CENTER AT FRANKLIN
         ATTN: PRESIDENT AND CHIEF EXECUTIVE OFFICER,          ACCOUNT NO.:
         EXECUTIVE VICE PRESIDENTS                             NOT AVAILABLE
         MED CENTER HEALTH
         800 PARK STREET
         BOWLING GREEN, KY 42101


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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7232   THE MENOMINEE INDIAN TRIBE OF WISCONSIN                  3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND CHIEF EXECUTIVE OFFICER OF
         THE MENOMINEE INDIAN TRIBE OF WISCONSIN               ACCOUNT NO.:
         W2908 TRIBAL OFFICE LOOP ROAD                         NOT AVAILABLE
         P.P. BOX 910
         KESHENA, WI 54135



3.7233   THE MODOC NATION, F/K/A THE MODOC TRIBE OF               6/13/2019                   Opioid Matter              UNDETERMINED
         OKLAHOMA
         ATTN: CHIEF                                           ACCOUNT NO.:
         22 N. EIGHT TRIBES TRAIL                              NOT AVAILABLE
         MIAMI, OK 74354



3.7234   THE MONTGOMERY COUNTY BOARD OF COUNTY                    7/25/2018                   Opioid Matter              UNDETERMINED
         COMMISSIONERS
         P.O. BOX 972                                          ACCOUNT NO.:
         DAYTON, OH 45422-0972                                 NOT AVAILABLE



3.7235   THE MONTGOMERY COUNTY BOARD OF COUNTY                    7/25/2018                   Opioid Matter              UNDETERMINED
         COMMISSIONERS
         ATTN: PROSECUTING ATTORNEY                            ACCOUNT NO.:
         301 W. THIRD ST.                                      NOT AVAILABLE
         DAYTON, OH 45402



3.7236   THE MONTGOMERY COUNTY BOARD OF COUNTY                    7/25/2018                   Opioid Matter              UNDETERMINED
         COMMISSIONERS
         ATTN: CHAIRPERSON MONTGOMERY COUNTY                   ACCOUNT NO.:
         COMMISSIONER                                          NOT AVAILABLE
         451 W. THIRD STREET, 11TH FLOOR
         P.O. BOX 972
         DAYTON, OH 45422-1110



3.7237   THE MUNICIPALITY OF NORRISTOWN AND THE                   5/9/2019                    Opioid Matter              UNDETERMINED
         TOWNSHIP OF WEST NORRITON
         ATTN: TAX COLLECTOR                                   ACCOUNT NO.:
         TAX COLLECTION                                        NOT AVAILABLE
         1632 W MARSHALL STREET
         JEFFERSONVILLE, PA 19403



3.7238   THE MUNICIPALITY OF NORRISTOWN AND THE                   5/9/2019                    Opioid Matter              UNDETERMINED
         TOWNSHIP OF WEST NORRITON
         ATTN: COMMISSIONER                                    ACCOUNT NO.:
         1630 W. MARSHALL STREET                               NOT AVAILABLE
         JEFFERSONVILLE, PA 19403



3.7239   THE MUSCOGEE (CREEK) NATION                              4/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: RICHARD W. FIELDS
         FIELDS PLLC                                           ACCOUNT NO.:
         1700 K STREET NW, SUITE 810                           NOT AVAILABLE
         WASHINGTON, DC 20006




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7240   THE MUSCOGEE (CREEK) NATION                              4/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: WHITNEY A. LEONARD
         SONOSKY CHAMBERS SACHSE ENDRESON & PERRY, LLP         ACCOUNT NO.:
         1425 K STREET, NW, SUITE 600                          NOT AVAILABLE
         WASHINGTON, DC 20005



3.7241   THE MUSCOGEE (CREEK) NATION                              4/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: MICHAEL B. RUSH
         GILBERT LLP                                           ACCOUNT NO.:
         1100 NEW YORK AVENUE, NW, SUITE 700                   NOT AVAILABLE
         WASHINGTON, DC 20005



3.7242   THE MUSCOGEE (CREEK) NATION                              4/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: JENNA A. HUDSON
         GILBERT LLP                                           ACCOUNT NO.:
         1100 NEW YORK AVENUE, NW, SUITE 700                   NOT AVAILABLE
         WASHINGTON, DC 20005



3.7243   THE MUSCOGEE (CREEK) NATION                              4/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: MARK A. PACKMAN
         GILBERT LLP                                           ACCOUNT NO.:
         1100 NEW YORK AVENUE, NW, SUITE 700                   NOT AVAILABLE
         WASHINGTON, DC 20005



3.7244   THE MUSCOGEE (CREEK) NATION                              4/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: SCOTT D. GILBERT
         GILBERT LLP                                           ACCOUNT NO.:
         1100 NEW YORK AVENUE, NW, SUITE 700                   NOT AVAILABLE
         WASHINGTON, DC 20005



3.7245   THE MUSCOGEE (CREEK) NATION                              4/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: ATTORNEY GENERAL AND FIRST ASSISTANT
         ATTORNEY GENERAL                                      ACCOUNT NO.:
         P.O. BOX 580                                          NOT AVAILABLE
         OKMULGEE, OK 74447



3.7246   THE MUSCOGEE (CREEK) NATION                              4/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: DONALD J. SIMON
         SONOSKY CHAMBERS SACHSE ENDRESON & PERRY, LLP         ACCOUNT NO.:
         1425 K STREET STREET, NW, SUITE 600                   NOT AVAILABLE
         WASHINGTON, DC 20005



3.7247   THE MUSCOGEE (CREEK) NATION                              4/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: PRINCIPAL CHIEF
         P.O. BOX 580                                          ACCOUNT NO.:
         OKMULGEE, OK 74447                                    NOT AVAILABLE



3.7248   THE MUSCOGEE (CREEK) NATION                              4/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: SPEAKER, NATIONAL COUNCIL & REGISTERED
         AGENT                                                 ACCOUNT NO.:
         P.O. BOX 158                                          NOT AVAILABLE
         HWY 75 & LOOP 56
         OKMULGEE, OK 74447




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Code                                                  And Account Number                         Claim

Litigation

3.7249   THE MUSCOGEE (CREEK) NATION                              4/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: ATTORNEY GENERAL KEVIN DELLINGER, FIRST
         ASSISTANT ATTORNEY GENERAL LINDSAY DOWELL             ACCOUNT NO.:
         P.O. BOX 580                                          NOT AVAILABLE
         OKMULGEE, OK 74447



3.7250   THE MUSCOGEE (CREEK) NATION                              4/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: WILLIAM S. OHLEMEYER
         BOIES SCHILLER FLEXNER LLP                            ACCOUNT NO.:
         333 MAIN STREET                                       NOT AVAILABLE
         ARMONK, NY 10504



3.7251   THE MUSCOGEE (CREEK) NATION                              4/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: TERRY S. O'DONNELL
         SAVAGE O'DONNELL, AFFELDT WEINTRAUB & JOHNSON         ACCOUNT NO.:
         110 WEST 7TH, SUITE 1010                              NOT AVAILABLE
         TULSA, OK 74119



3.7252   THE MUSCOGEE (CREEK) NATION                              4/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: ADAM SCOTT WEINTRAUB
         SAVAGE O'DONNELL, AFFELDT WEINTRAUB & JOHNSON         ACCOUNT NO.:
         110 WEST 7TH, SUITE 1010                              NOT AVAILABLE
         TULSA, OK 74119



3.7253   THE MUSCOGEE (CREEK) NATION                              4/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: LLOYD B. MILLER
         SONOSKY CHAMBERS SACHSE ENDRESON & PERRY, LLP         ACCOUNT NO.:
         1425 K STREET, NW, SUITE 600                          NOT AVAILABLE
         WASHINGTON, DC 20005



3.7254   THE MUSCOGEE (CREEK) NATION                              4/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: RICHARD SHORE
         GILBERT LLP                                           ACCOUNT NO.:
         1100 NEW YORK AVENUE NW, SUITE 700                    NOT AVAILABLE
         WASHINGTON, DC 20005



3.7255   THE NAVAJO NATION                                        4/11/2018                   Opioid Matter              UNDETERMINED
         P O BOX 7440
         WINDOW ROCK, AZ 86515                                 ACCOUNT NO.:
                                                               NOT AVAILABLE


3.7256   THE NAVAJO NATION                                        4/11/2018                   Opioid Matter              UNDETERMINED
         P O BOX 9000
         WINDOW ROCK, AZ 86515                                 ACCOUNT NO.:
                                                               NOT AVAILABLE


3.7257   THE NAVAJO NATION                                        4/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT AND VICE PRESIDENT/ CHIEF
         EXECUTIVE OFFICER                                     ACCOUNT NO.:
         100 PARKWAY                                           NOT AVAILABLE
         WINDOW ROCK, AZ 86515




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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                         Claim

Litigation

3.7258   THE NAVAJO NATION                                        4/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: SPEAKER AND COUNCIL MEMBERS
         PO BOX 7440                                           ACCOUNT NO.:
         WINDOW ROCK, AZ 86515                                 NOT AVAILABLE



3.7259   THE NICHOLAS COUNTY COMMISSION, WEST VIRGINIA            3/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: PROSECUTING ATTORNEY AND COUNTY CLERK
         203 COURTHOUSE ANNEX                                  ACCOUNT NO.:
         511 CHURCH STREET                                     NOT AVAILABLE
         SUMMERSVILLE, WV 26651



3.7260   THE NICHOLAS COUNTY COMMISSION, WEST VIRGINIA            3/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: NICHOLAS COUNTY COMMISSIONERS
         700 MAIN STREET                                       ACCOUNT NO.:
         SUITE 1                                               NOT AVAILABLE
         SUMMERSVILLE, WV 26651



3.7261   THE NISQUALLY INDIAN TRIBE                               3/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: TRIBAL CHAIRMAN AND CHIEF EXECUTIVE
         OFFICER OF THE NISQUALLY INDIAN TRIBE                 ACCOUNT NO.:
         4820 SHE-NAH-NUM DRIVE SOUTHEAST                      NOT AVAILABLE
         OLYMPIA, WA 98513



3.7262   THE PARISH OF JEFFERSON                                  6/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: PARISH PRESIDENT
         GENERAL GOVERNMENT BUILDING                           ACCOUNT NO.:
         200 DERBIGNY STREET, 6TH FLOOR                        NOT AVAILABLE
         GRETNA, LA 70053-5850



3.7263   THE PARISH OF JEFFERSON                                  6/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: PARISH ATTORNEY'S OFFICE
         JOSEPH S. YENNI BUILDING                              ACCOUNT NO.:
         1221 ELMWOOD PARK BOULEVARD - SUITE 701               NOT AVAILABLE
         JEFFERSON, LA 70123



3.7264   THE PASSAMAQUODDY TRIBE-INDIAN TOWNSHIP                  7/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: TRIBAL GOVERNOR, CHIEF EXECUTIVE OFFICER
         PASSAMAQUODDY TRIBAL GOVERNMENT- INDIAN               ACCOUNT NO.:
         TOWNSHIP                                              NOT AVAILABLE
         8 KENNEBASIS ST
         PRINCETON, ME 04668-0000



3.7265   THE PASSAMAQUODDY TRIBE-PLEASANT POINT                   7/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF GOVERNOR; CHIEF EXECUTIVE OFFICER
         PASSAMAQUODDY TRIBAL GOVERNMENT                       ACCOUNT NO.:
         9 SAKOM ROAD                                          NOT AVAILABLE
         PERRY, ME 04667



3.7266   THE PEOPLE OF THE STATE OF CALIFORNIA                    6/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: XAVIER BECERRA
         STATE OF CALIFORNIA ATTORNEY GENERAL                  ACCOUNT NO.:
         1300 I ST., STE. 1740                                 NOT AVAILABLE
         SACRAMENTO, CA 95814




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Purdue Pharma L.P.                                                                                          Case Number: 19-23649 (RDD)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:          List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip                 Date Claim Was Incurred    C U      D    Basis For      Offset   Amount of Claim
Code                                                            And Account Number                        Claim

Litigation

3.7267   THE PEOPLE OF THE STATE OF CALIFORNIA                             6/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHIEF CLERK & SECRETARY OF SENATE AND
         GOV. AND ASSEMBLY SPEAKER AND SENATE PRES. PRO                 ACCOUNT NO.:
         TEMPORE                                                        NOT AVAILABLE
         CALIFORNIA STATE CAPITOL
         1315 10TH STREET
         SACRAMENTO, CA 95814



3.7268   The People of the State of California acting by and through      12/18/2018                   Opioid Matter              UNDETERMINED
         San Francisco City Attorney Dennis J. Herrera and the City
         and County of San Francisco                                    ACCOUNT NO.:
         Attn: Mayor                                                    NOT AVAILABLE
         Office of the Mayor
         City Hall, Room 200 - One Dr. Carlton B. Goodlett Place
         San Francisco, CA 94102



3.7269   The People of the State of California acting by and through      12/18/2018                   Opioid Matter              UNDETERMINED
         San Francisco City Attorney Dennis J. Herrera and the City
         and County of San Francisco                                    ACCOUNT NO.:
         Attn: City Attorney                                            NOT AVAILABLE
         Office of the City Attorney
         City Hall, Room 234 - One Dr. Carlton B. Goodlett Place
         San Francisco, CA 94102



3.7270   THE PEOPLE OF THE STATE OF CALIFORNIA ACTING BY                  12/18/2018                   Opioid Matter              UNDETERMINED
         AND THROUGH SAN FRANCISCO CITY ATTORNEY
         DENNIS J. HERRERA AND THE CITY AND COUNTY OF                   ACCOUNT NO.:
         SAN FRANCISCO                                                  NOT AVAILABLE
         ATTN: COUNTY CLERK
         CITY HALL, ROOM 168
         1 DR. CARLTON B. GOODLETT PLACE
         SAN FRANCISCO, CA 94102



3.7271   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY                  5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH LOS ANGELES COUNTY COUNSEL MARY
         C. WICKHAM                                                     ACCOUNT NO.:
         ATTN: COUNTY CLERK                                             NOT AVAILABLE
         12400 IMPERIAL HIGHWAY
         NORWALK, CA 90650



3.7272   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY                  5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH LOS ANGELES COUNTY COUNSEL MARY
         C. WICKHAM                                                     ACCOUNT NO.:
         ATTN: XAVIER BECERRA                                           NOT AVAILABLE
         STATE OF CALIFORNIA ATTORNEY GENERAL
         1300 I ST., STE. 1740
         SACRAMENTO, CA 95814



3.7273   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY                  5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH LOS ANGELES COUNTY COUNSEL MARY
         C. WICKHAM                                                     ACCOUNT NO.:
         ATTN: COUNTY COUNSEL                                           NOT AVAILABLE
         500 WEST TEMPLE STREET
         ROOM 648
         LOS ANGELES, CA 90012




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Purdue Pharma L.P.                                                                                 Case Number: 19-23649 (RDD)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7274   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY         5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH LOS ANGELES COUNTY COUNSEL MARY
         C. WICKHAM                                            ACCOUNT NO.:
         ATTN: CHAIR OF THE BOARD OF SUPERVISORS               NOT AVAILABLE
         KENNETH HAHN HALL OF ADMINISTRATION
         500 WEST TEMPLE STREET - SUITE 383
         LOS ANGELES, CA 90012



3.7275   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY         5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH OAKLAND CITY ATTORNEY BARBARA J.
         PARKER                                                ACCOUNT NO.:
         ATTN: CITY CLERK                                      NOT AVAILABLE
         1 FRANK H. OGAWA PLAZA
         FIRST AND SECOND FLOORS
         OAKLAND, CA 94612



3.7276   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY         5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH ORANGE COUNTY DISTRICT ATTORNEY
         TONY RACKAUCKAS                                       ACCOUNT NO.:
         ATTN: XAVIER BECERRA                                  NOT AVAILABLE
         STATE OF CALIFORNIA ATTORNEY GENERAL
         1300 I ST., STE. 1740
         SACRAMENTO, CA 95814



3.7277   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY         5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH ORANGE COUNTY DISTRICT ATTORNEY
         TONY RACKAUCKAS                                       ACCOUNT NO.:
         ATTN: DISTRICT ATTORNEY                               NOT AVAILABLE
         401 CIVIC CENTER DRIVE WEST
         SANTA ANA, CA 92701



3.7278   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY         5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH ORANGE COUNTY DISTRICT ATTORNEY
         TONY RACKAUCKAS                                       ACCOUNT NO.:
         ATTN: COUNTY CLERK                                    NOT AVAILABLE
         12 CIVIC CENTER PLAZA, ROOM 101
         SANTA ANA, CA 92701



3.7279   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY         5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH ORANGE COUNTY DISTRICT ATTORNEY
         TONY RACKAUCKAS                                       ACCOUNT NO.:
         ATTN: CHAIR OF THE BOARD OF SUPERVISORS               NOT AVAILABLE
         333 WEST SANTA ANA BOULEVARD
         5TH FLOOR
         SANTA ANA, CA 92701



3.7280   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY         5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                           ACCOUNT NO.:
         ATTN: XAVIER BECERRA                                  NOT AVAILABLE
         STATE OF CALIFORNIA ATTORNEY GENERAL
         1300 I ST., STE. 1740
         SACRAMENTO, CA 95814




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Purdue Pharma L.P.                                                                                 Case Number: 19-23649 (RDD)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7281   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY         5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                           ACCOUNT NO.:
         ATTN: COUNTY COUNSEL                                  NOT AVAILABLE
         70 WEST HEDDING STREET
         EAST WING, 9TH FLOOR
         SAN JOSE, CA 95110



3.7282   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY         5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                           ACCOUNT NO.:
         ATTN: COUNTY CLERK                                    NOT AVAILABLE
         70 WEST HEDDING STREET
         FIRST FLOOR, EAST WING
         SAN JOSE, CA 95110



3.7283   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY         5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                           ACCOUNT NO.:
         ATTN: PRESIDENT OF THE BOARD OF SUPERVISORS           NOT AVAILABLE
         70 WEST HEDDING STREET
         EAST WING 10TH FLOOR
         SAN JOSE, CA 95110



3.7284   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY         5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                           ACCOUNT NO.:
         NICKLAS A. ACKERS                                     NOT AVAILABLE
         SENIOR ASSISTANT ATTORNEY GENERAL
         300 SOUTH SPRING STREET - SUITE 1702
         LOS ANGELES, CA 90013



3.7285   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY         5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                           ACCOUNT NO.:
         MELANIE MENESES PALMER                                NOT AVAILABLE
         KIESEL LAW LLP
         8648 WILSHIRE BOULEVARD
         BEVERLY HILLS, CA 90211-2910



3.7286   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY         5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                           ACCOUNT NO.:
         DAVID I. ACKERMAN                                     NOT AVAILABLE
         MOTLEY RICE LLC
         401 9TH STREET, NORTHWEST - SUITE 1001
         WASHINGTON, DC 20004



3.7287   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY         5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                           ACCOUNT NO.:
         NICOLE RAMIREZ                                        NOT AVAILABLE
         KIESEL LAW LLP
         8648 WILSHIRE BOULEVARD
         BEVERLY HILLS, CA 90211-2910




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7288   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY         5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                           ACCOUNT NO.:
         STEVE W. BERRMAN                                      NOT AVAILABLE
         HAGENS BERMAN SOBOL SHAPIRO LLP
         1918 EIGHTH AVENUE - SUITE 3300
         SEATTLE, WA 98101



3.7289   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY         5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                           ACCOUNT NO.:
         THOMAS E. LOESER                                      NOT AVAILABLE
         HAGENS BERMAN SOBOL SHAPIRO LLP
         1918 EIGHTH AVENUE - SUITE 3300
         SEATTLE, WA 98101



3.7290   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY         5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                           ACCOUNT NO.:
         ELAINE BYSZEWSKI                                      NOT AVAILABLE
         HAGENS BERMAN SOBOL SHAPIRO LLP
         301 NORTH LAKE AVENUE - SUITE 203
         PASADENA, CA 91101



3.7291   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY         5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                           ACCOUNT NO.:
         JENNIFER FOUNTAIN CONNOLLY                            NOT AVAILABLE
         HAGENS BERMAN SOBOL SHAPIRO LLP
         1701 PENNSYLVANIA AVENUE, NORTHWEST - SUITE 300
         WASHINGTON, DC 20006



3.7292   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY         5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                           ACCOUNT NO.:
         BEN HARRINGTON                                        NOT AVAILABLE
         HAGENS BERMAN SOBOL SHAPIRO LLP
         715 HEARST AVENUE - SUITE 202
         BERKELEY, CA 94710



3.7293   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY         5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                           ACCOUNT NO.:
         PAUL KIESEL                                           NOT AVAILABLE
         KIESEL LAW LLP
         8648 WILSHIRE BOULEVARD
         BEVERLY HILLS, CA 90211-2910



3.7294   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY         5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                           ACCOUNT NO.:
         XAVIER BECERRA                                        NOT AVAILABLE
         ATTORNEY GENERAL OF CALIFORNIA
         300 SOUTH SPRING STREET - SUITE 1702
         LOS ANGELES, CA 90013




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7295   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY         5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                           ACCOUNT NO.:
         SCOT D. WILSON                                        NOT AVAILABLE
         ROBINSON CALCAGNIE, INC
         19 CORPORATE PLAZA DRIVE
         NEWPORT, CA 92660



3.7296   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY         5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                           ACCOUNT NO.:
         JUDITH FIORENTINI                                     NOT AVAILABLE
         SUPERVISING DEPUTY ATTORNEY GENERAL
         300 SOUTH SPRING STREET - SUITE 1702
         LOS ANGELES, CA 90013



3.7297   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY         5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                           ACCOUNT NO.:
         MICHELLE BURKART                                      NOT AVAILABLE
         DEPUTY ATTORNEY GENERAL
         300 SOUTH SPRING STREET - SUITE 1702
         LOS ANGELES, CA 90013



3.7298   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY         5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                           ACCOUNT NO.:
         TIMOTHY D. LUNDGREN                                   NOT AVAILABLE
         DEPUTY ATTORNEY GENERAL
         300 SOUTH SPRING STREET - SUITE 1702
         LOS ANGELES, CA 90013



3.7299   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY         5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                           ACCOUNT NO.:
         LAUREL M. CARNES                                      NOT AVAILABLE
         DEPUTY ATTORNEY GENERAL
         300 SOUTH SPRING STREET - SUITE 1702
         LOS ANGELES, CA 90013



3.7300   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY         5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                           ACCOUNT NO.:
         RENE JUDKIEWICZ                                       NOT AVAILABLE
         DEPUTY ATTORNEY GENERAL
         300 SOUTH SPRING STREET - SUITE 1702
         LOS ANGELES, CA 90013



3.7301   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY         5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                           ACCOUNT NO.:
         NIMA RAZFAR                                           NOT AVAILABLE
         DEPUTY ATTORNEY GENERAL
         300 SOUTH SPRING STREET - SUITE 1702
         LOS ANGELES, CA 90013




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:          List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip                 Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                            And Account Number                         Claim

Litigation

3.7302   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY                   5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                                     ACCOUNT NO.:
         STEPHANIE YU                                                    NOT AVAILABLE
         DEPUTY ATTORNEY GENERAL
         300 SOUTH SPRING STREET - SUITE 1702
         LOS ANGELES, CA 90013



3.7303   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY                   5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                                     ACCOUNT NO.:
         KETAKEE KANE                                                    NOT AVAILABLE
         DEPUTY ATTORNEY GENERAL
         300 SOUTH SPRING STREET - SUITE 1702
         LOS ANGELES, CA 90013



3.7304   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY                   5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                                     ACCOUNT NO.:
         REBEKAH FRETZ                                                   NOT AVAILABLE
         DEPUTY ATTORNEY GENERAL
         300 SOUTH SPRING STREET - SUITE 1702
         LOS ANGELES, CA 90013



3.7305   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY                   5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                                     ACCOUNT NO.:
         XAVIER BECERRA                                                  NOT AVAILABLE
         ATTORNEY GENERAL OF CALIFORNIA
         300 SOUTH SPRING STREET - SUITE 1702
         LOS ANGELES, CA 90013



3.7306   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY                   5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                                     ACCOUNT NO.:
         SCOTT ZIDBECK                                                   NOT AVAILABLE
         ORANGE COUNTY DISTRICT ATTORNEY
         401 CIVIC CENTER DRIVE
         SANTA ANA, CA 92701-4575



3.7307   The People of the State of California, acting by and through       5/21/2014                   Opioid Matter              UNDETERMINED
         Santa Clara County Counsel James R. Williams
         Greta S. Hansen, Chief Assistant County Counsel                 ACCOUNT NO.:
         Office of the County Counsel, County of Santa Clara             NOT AVAILABLE
         70 West Hedding Street - East Wing, 9th floor
         San Jose, CA 95110



3.7308   The People of the State of California, acting by and through       5/21/2014                   Opioid Matter              UNDETERMINED
         Santa Clara County Counsel James R. Williams
         Kavita Narayan, Lead Deputy County Counsel                      ACCOUNT NO.:
         Office of the County Counsel, County of Santa Clara             NOT AVAILABLE
         70 West Hedding Street - East Wing, 9th floor
         San Jose, CA 95110




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:          List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip                 Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                            And Account Number                         Claim

Litigation

3.7309   The People of the State of California, acting by and through       5/21/2014                   Opioid Matter              UNDETERMINED
         Santa Clara County Counsel James R. Williams
         Laura S. Trice, Lead Deputy County Counsel                      ACCOUNT NO.:
         Office of the County Counsel, County of Santa Clara             NOT AVAILABLE
         70 West Hedding Street - East Wing, 9th floor
         San Jose, CA 95110



3.7310   The People of the State of California, acting by and through       5/21/2014                   Opioid Matter              UNDETERMINED
         Santa Clara County Counsel James R. Williams
         Julia Spiegel, Deputy County Counsel                            ACCOUNT NO.:
         Office of the County Counsel, County of Santa Clara             NOT AVAILABLE
         70 West Hedding Street - East Wing, 9th floor
         San Jose, CA 95110



3.7311   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY                   5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                                     ACCOUNT NO.:
         LYNETTE K. MINER, FELLOW                                        NOT AVAILABLE
         OFFICE OF THE COUNTY COUNSEL, COUNTY OF SANTA
         CLARA
         70 WEST HEDDING STREET - EAST WING, 9TH FLOOR
         SAN JOSE, CA 95110



3.7312   The People of the State of California, acting by and through       5/21/2014                   Opioid Matter              UNDETERMINED
         Santa Clara County Counsel James R. Williams
         Marcy C. Wickman, County Counsel                                ACCOUNT NO.:
         Office of the County Counsel, County of Los Angeles             NOT AVAILABLE
         Kenneth Hahn Hall of Administration - 500 West Temple
         Street, 6th Floor
         Los Angeles, CA 90012



3.7313   The People of the State of California, acting by and through       5/21/2014                   Opioid Matter              UNDETERMINED
         Santa Clara County Counsel James R. Williams
         Robert E. Ragland, Principal Deputy County Counsel              ACCOUNT NO.:
         Office of the County Counsel, County of Los Angeles             NOT AVAILABLE
         Kenneth Hahn Hall of Administration - 500 West Temple
         Street, 6th Floor
         Los Angeles, CA 90012



3.7314   The People of the State of California, acting by and through       5/21/2014                   Opioid Matter              UNDETERMINED
         Santa Clara County Counsel James R. Williams
         Scott Kuhn, Acting Assistant County Counsel                     ACCOUNT NO.:
         Office of the County Counsel, County of Los Angeles             NOT AVAILABLE
         Kenneth Hahn Hall of Administration - 500 West Temple
         Street, 6th Floor
         Los Angeles, CA 90012



3.7315   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY                   5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                                     ACCOUNT NO.:
         HELEN ZUKIN                                                     NOT AVAILABLE
         KIESEL LAW LLP
         8648 WILSHIRE BOULEVARD
         BEVERLY HILLS, CA 90211-2910




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:          List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip                 Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                            And Account Number                         Claim

Litigation

3.7316   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY                   5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                                     ACCOUNT NO.:
         TONY RACKAUCKAS, DISTRICT ATTORNEY                              NOT AVAILABLE
         ORANGE COUNTY DISTRICT ATTORNEY
         401 CIVIC CENTER DRIVE
         SANTA ANA, CA 92701-4575



3.7317   The People of the State of California, acting by and through       5/21/2014                   Opioid Matter              UNDETERMINED
         Santa Clara County Counsel James R. Williams
         James R. Williams, County Counsel                               ACCOUNT NO.:
         Office of the County Counsel, County of Santa Clara             NOT AVAILABLE
         70 West Hedding Street - East Wing, 9th floor
         San Jose, CA 95110



3.7318   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY                   5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                                     ACCOUNT NO.:
         TRACY HUGHES                                                    NOT AVAILABLE
         ORANGE COUNTY DISTRICT ATTORNEY
         401 CIVIC CENTER DRIVE
         SANTA ANA, CA 92701-4575



3.7319   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY                   5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                                     ACCOUNT NO.:
         JOSEPH D'AGOSTINO                                               NOT AVAILABLE
         ORANGE COUNTY DISTRICT ATTORNEY
         401 CIVIC CENTER DRIVE
         SANTA ANA, CA 92701-4575



3.7320   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY                   5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                                     ACCOUNT NO.:
         BARBARA J. PARKER, CITY ATTORNEY                                NOT AVAILABLE
         OFFICE OF THE CITY ATTORNEY CITY OF OAKLAND
         ONE FRANK H. OGAWA PLAZA - 6TH FLOOR
         PAKLAND, CA 94612



3.7321   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY                   5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                                     ACCOUNT NO.:
         MARIA BEE, SPECIAL COUNSEL                                      NOT AVAILABLE
         OFFICE OF THE CITY ATTORNEY CITY OF OAKLAND
         ONE FRANK H. OGAWA PLAZA - 6TH FLOOR
         PAKLAND, CA 94612



3.7322   The People of the State of California, acting by and through       5/21/2014                   Opioid Matter              UNDETERMINED
         Santa Clara County Counsel James R. Williams
         Erin Bernstein, Supervising Deputy City Attorney                ACCOUNT NO.:
         Office of the City Attorney City of Oakland                     NOT AVAILABLE
         One Frank H. Ogawa Plaza - 6th Floor
         Pakland, CA 94612




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip                 Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                            And Account Number                         Claim

Litigation

3.7323   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY                   5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                                     ACCOUNT NO.:
         MALIA MCPHERSON, ATTORNEY                                       NOT AVAILABLE
         OFFICE OF THE CITY ATTORNEY CITY OF OAKLAND
         ONE FRANK H. OGAWA PLAZA - 6TH FLOOR
         PAKLAND, CA 94612



3.7324   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY                   5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                                     ACCOUNT NO.:
         MARK P. ROBINSON, JR.                                           NOT AVAILABLE
         ROBINSON CALCAGNIE, INC
         19 CORPORATE PLAZA DRIVE
         NEWPORT, CA 92660



3.7325   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY                   5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                                     ACCOUNT NO.:
         KEVIN CALCAGNIE                                                 NOT AVAILABLE
         ROBINSON CALCAGNIE, INC
         19 CORPORATE PLAZA DRIVE
         NEWPORT, CA 92660



3.7326   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY                   5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                                     ACCOUNT NO.:
         DANIEL S. ROBINSON                                              NOT AVAILABLE
         ROBINSON CALCAGNIE, INC
         19 CORPORATE PLAZA DRIVE
         NEWPORT, CA 92660



3.7327   The People of the State of California, acting by and through       5/21/2014                   Opioid Matter              UNDETERMINED
         Santa Clara County Counsel James R. Williams
         Attn: Andrea Ross, Principal Deputy County Counsel              ACCOUNT NO.:
         Office of the County Counsel, County of Los Angeles             NOT AVAILABLE
         Kenneth Hahn Hall of Administration - 500 West Temple
         Street, 6th Floor
         Los Angeles, CA 90012



3.7328   THE PEOPLE OF THE STATE OF CALIFORNIA, ACTING BY                   5/21/2014                   Opioid Matter              UNDETERMINED
         AND THROUGH SANTA CLARA COUNTY COUNSEL JAMES
         R. WILLIAMS                                                     ACCOUNT NO.:
         LINDA SINGER                                                    NOT AVAILABLE
         MOTLEY RICE LLC
         401 9TH STREET, NORTHWEST - SUITE 1001
         WASHINGTON, DC 20004



3.7329   THE PEOPLE OF THE STATE OF ILLINOIS                               12/21/2017                   Opioid Matter              UNDETERMINED
         ATTN: KWAME RAOUL
         STATE OF ILLINOIS ATTORNEY GENERAL                              ACCOUNT NO.:
         JAMES R. THOMPSON CTR. - 100 W. RANDOLPH ST.                    NOT AVAILABLE
         CHICAGO, IL 60601




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7330   THE PEOPLE OF THE STATE OF ILLINOIS                      4/5/2019                    Opioid Matter              UNDETERMINED
         ATTN: KWAME RAOUL
         STATE OF ILLINOIS ATTORNEY GENERAL                    ACCOUNT NO.:
         JAMES R. THOMPSON CTR. - 100 W. RANDOLPH ST.          NOT AVAILABLE
         CHICAGO, IL 60601



3.7331   THE PEOPLE OF THE STATE OF ILLINOIS                      4/5/2019                    Opioid Matter              UNDETERMINED
         ATTORNEY GENERALS OFFICE
         100 W RANDOLPH ST                                     ACCOUNT NO.:
         CHICAGO, IL 60601                                     NOT AVAILABLE



3.7332   THE PEOPLE OF THE STATE OF ILLINOIS AND BOONE            2/5/2018                    Opioid Matter              UNDETERMINED
         COUNTY, ILLINOIS
         ATTN: KWAME RAOUL                                     ACCOUNT NO.:
         STATE OF ILLINOIS ATTORNEY GENERAL                    NOT AVAILABLE
         JAMES R. THOMPSON CTR. - 100 W. RANDOLPH ST.
         CHICAGO, IL 60601



3.7333   THE PEOPLE OF THE STATE OF ILLINOIS AND BOONE            2/5/2018                    Opioid Matter              UNDETERMINED
         COUNTY, ILLINOIS
         ATTN: CHAIRMAN                                        ACCOUNT NO.:
         1212 LOGAN AVENUE, SUITE 102                          NOT AVAILABLE
         BELVIDERE, IL 61008



3.7334   THE PEOPLE OF THE STATE OF ILLINOIS AND BOONE            2/5/2018                    Opioid Matter              UNDETERMINED
         COUNTY, ILLINOIS
         ATTN: COUNTY CLERK                                    ACCOUNT NO.:
         COUNTY CLERK & RECORDER OFFICE                        NOT AVAILABLE
         1212 LOGAN AVENUE - SUITE 103
         BELVIDERE, IL 61008



3.7335   THE PEOPLE OF THE STATE OF ILLINOIS AND BUREAU           1/12/2018                   Opioid Matter              UNDETERMINED
         COUNTY, ILLINOIS
         ATTN: CLERK AND CHAIRPERSON OF THE COUNTY             ACCOUNT NO.:
         BOARD                                                 NOT AVAILABLE
         700 SOUTH MAIN STREET
         ROOM 104
         PRINCETON, IL 61356



3.7336   THE PEOPLE OF THE STATE OF ILLINOIS AND                  1/11/2018                   Opioid Matter              UNDETERMINED
         CHAMPAIGN COUNTY, ILLINOIS
         ATTN: CLERK AND CHAIRPERSON OF THE COUNTY             ACCOUNT NO.:
         BOARD                                                 NOT AVAILABLE
         BROOKENS ADMINISTRATION CENTER
         1776 EAST WASHINGTON STREET
         URBANA, IL 61802



3.7337   THE PEOPLE OF THE STATE OF ILLINOIS AND COOK            12/27/2017                   Opioid Matter              UNDETERMINED
         COUNTY, ILLINOIS
         ATTN: CLERK AND CHAIRPERSON OF THE COUNTY             ACCOUNT NO.:
         BOARD                                                 NOT AVAILABLE
         69 W. WASHINGTON ST.
         SUITE 500
         CHICAGO, IL 60602




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7338   THE PEOPLE OF THE STATE OF ILLINOIS AND DUPAGE          12/21/2017                   Opioid Matter              UNDETERMINED
         COUNTY, ILLINOIS
         ATTN: DUPAGE COUNTY CLERK                             ACCOUNT NO.:
         P.O. BOX 1028                                         NOT AVAILABLE
         WHEATON, IL 60187



3.7339   THE PEOPLE OF THE STATE OF ILLINOIS AND DUPAGE          12/21/2017                   Opioid Matter              UNDETERMINED
         COUNTY, ILLINOIS
         ATTN: CLERK AND CHAIRPERSON OF THE COUNTY             ACCOUNT NO.:
         BOARD                                                 NOT AVAILABLE
         P.O. BOX 1028
         WHEATON, IL 60187



3.7340   THE PEOPLE OF THE STATE OF ILLINOIS AND KANE            12/21/2017                   Opioid Matter              UNDETERMINED
         COUNTY, ILLINOIS
         ATTN: CLERK AND CHAIRPERSON OF THE COUNTY             ACCOUNT NO.:
         BOARD                                                 NOT AVAILABLE
         719 S. BATAVIA AVENUE, BUILDING B
         GENEVA, IL 60134



3.7341   THE PEOPLE OF THE STATE OF ILLINOIS AND LASALLE          4/22/2019                   Opioid Matter              UNDETERMINED
         COUNTY
         ATTN: CLERK AND CHAIRPERSON OF THE COUNTY             ACCOUNT NO.:
         BOARD                                                 NOT AVAILABLE
         707 EAST ETNA ROAD
         OTTAWA, IL 61350-1047



3.7342   THE PEOPLE OF THE STATE OF ILLINOIS AND MACON            1/12/2018                   Opioid Matter              UNDETERMINED
         COUNTY, ILLINOIS
         ATTN: CLERK AND CHAIRPERSON OF THE COUNTY             ACCOUNT NO.:
         BOARD                                                 NOT AVAILABLE
         253 EAST WOOD STREET
         DECATUR, IL 62523



3.7343   THE PEOPLE OF THE STATE OF ILLINOIS AND MCHENRY         12/21/2017                   Opioid Matter              UNDETERMINED
         COUNTY, ILLINOIS
         ATTN: COUNTY CLERK                                    ACCOUNT NO.:
         2200 NORTH SEMINARY AVENUE                            NOT AVAILABLE
         WOODSTOCK, IL 60098



3.7344   THE PEOPLE OF THE STATE OF ILLINOIS AND MCHENRY         12/21/2017                   Opioid Matter              UNDETERMINED
         COUNTY, ILLINOIS
         ATTN: CHAIRPERSON OF THE COUNTY BOARD                 ACCOUNT NO.:
         667 WARE RD.                                          NOT AVAILABLE
         WOODSTOCK, IL 60098



3.7345   THE PEOPLE OF THE STATE OF ILLINOIS AND MCLEAN          UNKNOWN                      Opioid Matter              UNDETERMINED
         COUNTY, ILLINOIS
         ATTN: COUNTY CLERK                                    ACCOUNT NO.:
         115 E. WASHINGTON ST., RM. 102                        NOT AVAILABLE
         P.O. BOX 2400
         BLOOMINGTON, IL 61701




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7346   THE PEOPLE OF THE STATE OF ILLINOIS AND MCLEAN          UNKNOWN                      Opioid Matter              UNDETERMINED
         COUNTY, ILLINOIS
         ATTN: MELISSA K. SIMS, ESQ., MARC GROSSMAN, RANDI     ACCOUNT NO.:
         KASSAN                                                NOT AVAILABLE
         SANDERS PHILLIPS GROSSMAN LLC
         100 GARDEN CITY PLAZA - SUITE 500
         GARDEN CITY, NY 11530



3.7347   THE PEOPLE OF THE STATE OF ILLINOIS AND WILL            12/21/2017                   Opioid Matter              UNDETERMINED
         COUNTY, ILLINOIS
         ATTN: CHAIRPERSON OF THE COUNTY BOARD                 ACCOUNT NO.:
         302 N. CHICAGO STREET                                 NOT AVAILABLE
         JOLIET, IL 60432



3.7348   THE PEOPLE OF THE STATE OF ILLINOIS AND                  5/21/2019                   Opioid Matter              UNDETERMINED
         WILLIAMSON COUNTY
         ATTN: KWAME RAOUL                                     ACCOUNT NO.:
         STATE OF ILLINOIS ATTORNEY GENERAL                    NOT AVAILABLE
         JAMES R. THOMPSON CTR. - 100 W. RANDOLPH ST.
         CHICAGO, IL 60601



3.7349   THE PEOPLE OF THE STATE OF ILLINOIS AND                  5/21/2019                   Opioid Matter              UNDETERMINED
         WILLIAMSON COUNTY
         ATTN: CHAIRPERSON OF THE COUNTY BOARD; COUNTY         ACCOUNT NO.:
         CLERK                                                 NOT AVAILABLE
         407 N MONROE
         SUITE 119
         MARION, IL 62959



3.7350   THE PEOPLE OF THE STATE OF ILLINOIS, AND DEKALB          8/20/2018                   Opioid Matter              UNDETERMINED
         COUNTY, ILLINOIS
         ATTN: CHAIRPERSON OF THE COUNTY BOARD                 ACCOUNT NO.:
         200 NOTH MAIN STREET                                  NOT AVAILABLE
         SYCAMORE, IL 60178



3.7351   THE PEOPLE OF THE STATE OF ILLINOIS, AND HENRY           9/5/2018                    Opioid Matter              UNDETERMINED
         COUNTY, ILLINOIS
         ATTN: CHAIRPERSON OF THE COUNTY BOARD                 ACCOUNT NO.:
         307 WEST CENTER STREET                                NOT AVAILABLE
         CAMBRIDGE, IL 61238



3.7352   THE PEOPLE OF THE STATE OF ILLINOIS, AND KENDALL         8/21/2018                   Opioid Matter              UNDETERMINED
         COUNTY, ILLINOIS
         ATTN: COUNTY CLERK                                    ACCOUNT NO.:
         111 W FOX STREET                                      NOT AVAILABLE
         YORKSVILLE, IL 60560



3.7353   THE PEOPLE OF THE STATE OF ILLINOIS, AND                 8/23/2018                   Opioid Matter              UNDETERMINED
         MACOUPIN COUNTY, ILLINOIS
         ATTN: COUNTY CLERK                                    ACCOUNT NO.:
         201 EAST MAIN                                         NOT AVAILABLE
         P.O. BOX 107
         CARLINVILLE, IL 62626-0197




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7354   THE PEOPLE OF THE STATE OF ILLINOIS, AND                 8/23/2018                   Opioid Matter              UNDETERMINED
         MACOUPIN COUNTY, ILLINOIS
         ATTN: CHAIRPERSON OF THE COUNTY BOARD                 ACCOUNT NO.:
         215 S. EAST STREET                                    NOT AVAILABLE
         CARLINVILLE, IL 62626



3.7355   THE PEOPLE OF THE STATE OF ILLINOIS, AND PIATT           7/23/2018                   Opioid Matter              UNDETERMINED
         COUNTY, ILLINOIS
         ATTN: CHAIRPERSON OF THE COUNTY BOARD                 ACCOUNT NO.:
         108 E MEAD                                            NOT AVAILABLE
         P.O. BOX 191
         WHITE HEATH, IL 61884



3.7356   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE          8/17/2017                   Opioid Matter              UNDETERMINED
         OF ALEXANDER COUNTY AND COUNTY OF ALEXANDER
         ATTN: CHAIRMAN OF THE COUNTY BOARD, COUNTY            ACCOUNT NO.:
         CLERK & RECORDER                                      NOT AVAILABLE
         2000 WASHINGTON AVENUE
         CAIRO, IL 62914



3.7357   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/26/2017                   Opioid Matter              UNDETERMINED
         OF BOND COUNTY AND COUNTY OF BOND
         ATTN: COUNTY CLERK, CHAIRMAN BOND COUNTY BOARD        ACCOUNT NO.:
         203 WEST COLLEGE AVENUE                               NOT AVAILABLE
         GREENVILLE, IL 62246



3.7358   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/26/2017                   Opioid Matter              UNDETERMINED
         OF BOND COUNTY AND COUNTY OF BOND
         ATTN: KWAME RAOUL                                     ACCOUNT NO.:
         STATE OF ILLINOIS ATTORNEY GENERAL                    NOT AVAILABLE
         JAMES R. THOMPSON CTR. - 100 W. RANDOLPH ST.
         CHICAGO, IL 60601



3.7359   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         11/14/2017                   Opioid Matter              UNDETERMINED
         OF CHRISTIAN COUNTY AND COUNTY OF CHRISTIAN
         ATTN: CHAIR COUNTY BOARD, COUNTY CLERK &              ACCOUNT NO.:
         RECORDER                                              NOT AVAILABLE
         101 SOUTH MAIN
         TAYLORVILLE, IL 62568



3.7360   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         11/14/2017                   Opioid Matter              UNDETERMINED
         OF CHRISTIAN COUNTY AND COUNTY OF CHRISTIAN
         ATTN: COUNTY CLERK & RECORDER                         ACCOUNT NO.:
         PO BOX 647                                            NOT AVAILABLE
         TAYLORVILLE, IL 62568



3.7361   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         11/14/2017                   Opioid Matter              UNDETERMINED
         OF CHRISTIAN COUNTY AND COUNTY OF CHRISTIAN
         ATTN: KWAME RAOUL                                     ACCOUNT NO.:
         STATE OF ILLINOIS ATTORNEY GENERAL                    NOT AVAILABLE
         JAMES R. THOMPSON CTR. - 100 W. RANDOLPH ST.
         CHICAGO, IL 60601




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7362   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE          1/17/2018                   Opioid Matter              UNDETERMINED
         OF COLES COUNTY AND COUNTY OF COLES
         ATTN: COLES COUNTY CLERK & RECORDER 651               ACCOUNT NO.:
         JACKSON AVENUE                                        NOT AVAILABLE
         651 JACKSON AVENUE
          - ROOM 122
         CHARLESTON, IL 61920



3.7363   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE          1/17/2018                   Opioid Matter              UNDETERMINED
         OF COLES COUNTY AND COUNTY OF COLES
         ATTN: CHAIRPERSON OF COUNTY BOARD                     ACCOUNT NO.:
         COLES COUNTY BOARD                                    NOT AVAILABLE
         651 JACKSON AVE, ROOM 326
         CHARLESTON, IL 61920



3.7364   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         12/12/2017                   Opioid Matter              UNDETERMINED
         OF EDWARDS COUNTY AND COUNTY OF EDWARDS
         ATTN: KWAME RAOUL                                     ACCOUNT NO.:
         STATE OF ILLINOIS ATTORNEY GENERAL                    NOT AVAILABLE
         JAMES R. THOMPSON CTR. - 100 W. RANDOLPH ST.
         CHICAGO, IL 60601



3.7365   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         12/12/2017                   Opioid Matter              UNDETERMINED
         OF EDWARDS COUNTY AND COUNTY OF EDWARDS
         121 N LASALLE STREET                                  ACCOUNT NO.:
         CHICAGO CITY HALL 4TH FLOOR                           NOT AVAILABLE
         CHICAGO, IL 60602



3.7366   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         12/12/2017                   Opioid Matter              UNDETERMINED
         OF EDWARDS COUNTY AND COUNTY OF EDWARDS
         ATTN: CHAIRMAN OF THE COUNTY COMMISSIONERS            ACCOUNT NO.:
         AND COUNTY CLERK                                      NOT AVAILABLE
         EDWARDS COUNTY COURT HOUSE
         50 EAST MAIN STREET
         ALBION, IL 62806



3.7367   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/26/2017                   Opioid Matter              UNDETERMINED
         OF GALLATIN COUNTY AND COUNTY OF GALLATIN
         ATTN: KWAME RAOUL                                     ACCOUNT NO.:
         STATE OF ILLINOIS ATTORNEY GENERAL                    NOT AVAILABLE
         JAMES R. THOMPSON CTR. - 100 W. RANDOLPH ST.
         CHICAGO, IL 60601



3.7368   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/26/2017                   Opioid Matter              UNDETERMINED
         OF GALLATIN COUNTY AND COUNTY OF GALLATIN
         ATTN: DOUGLAS E. DYHRKOPP                             ACCOUNT NO.:
         PO BOX 815                                            NOT AVAILABLE
         SHAWNEETOWN, IL 62894



3.7369   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/26/2017                   Opioid Matter              UNDETERMINED
         OF GALLATIN COUNTY AND COUNTY OF GALLATIN
         ATTN: GALLATIN COUNTY CLERK; COUNTY TREASURER         ACCOUNT NO.:
         484 NORTH LINCOLN BOULEVARD WEST                      NOT AVAILABLE
         SHAWNEETOWN, IL 62984




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7370   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/27/2017                   Opioid Matter              UNDETERMINED
         OF HAMILTON COUNTY AND COUNTY OF HAMILTON
         ATTN: HAMILTON COUNTY CLERK                           ACCOUNT NO.:
         100 SOUTH JACKSON STREET                              NOT AVAILABLE
         ROOM 2
         MCLEANSBORO, IL 62859



3.7371   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/27/2017                   Opioid Matter              UNDETERMINED
         OF HAMILTON COUNTY AND COUNTY OF HAMILTON
         100 SOUTH JACKSON STREET                              ACCOUNT NO.:
         MCLEANSBORO, IL 62859                                 NOT AVAILABLE



3.7372   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/27/2017                   Opioid Matter              UNDETERMINED
         OF HAMILTON COUNTY AND COUNTY OF HAMILTON
         ATTN: KWAME RAOUL                                     ACCOUNT NO.:
         STATE OF ILLINOIS ATTORNEY GENERAL                    NOT AVAILABLE
         JAMES R. THOMPSON CTR. - 100 W. RANDOLPH ST.
         CHICAGO, IL 60601



3.7373   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/26/2017                   Opioid Matter              UNDETERMINED
         OF HARDIN COUNTY AND COUNTY OF HARDIN
         ATTN: ATTORNEY GENERAL                                ACCOUNT NO.:
         OFFICE OF THE ATTORNEY GENERAL OF ILLINOIS            NOT AVAILABLE
         500 SOUTH 2ND STREET
         SPRINGFIELD, IL 62704



3.7374   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/26/2017                   Opioid Matter              UNDETERMINED
         OF HARDIN COUNTY AND COUNTY OF HARDIN
         ATTN: CLERK OF THE COURT OF CLAIMS                    ACCOUNT NO.:
         630 SOUTH COLLEGE STREET                              NOT AVAILABLE
         SPRINGFIELD, IL 62704



3.7375   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/26/2017                   Opioid Matter              UNDETERMINED
         OF HARDIN COUNTY AND COUNTY OF HARDIN
         ATTN: CHAIRMAN COMMISSIONERS, COUNTY CLERK            ACCOUNT NO.:
         HARDIN COUNTY COURTHOUSE                              NOT AVAILABLE
         1 MAIN STREET
         ELIZABETHTOWN, IL 62931



3.7376   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         12/12/2017                   Opioid Matter              UNDETERMINED
         OF JASPER COUNTY AND COUNTY OF JASPER
         ATTN: KWAME RAOUL                                     ACCOUNT NO.:
         STATE OF ILLINOIS ATTORNEY GENERAL                    NOT AVAILABLE
         JAMES R. THOMPSON CTR. - 100 W. RANDOLPH ST.
         CHICAGO, IL 60601



3.7377   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         12/12/2017                   Opioid Matter              UNDETERMINED
         OF JASPER COUNTY AND COUNTY OF JASPER
         ATTN: COUNTY CLERK                                    ACCOUNT NO.:
         JASPER COUNTY OFFICE BLDG.                            NOT AVAILABLE
         204 WEST WASHINGTON STREET, UITE 2
         NEWTON, IL 62448




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Purdue Pharma L.P.                                                                                 Case Number: 19-23649 (RDD)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7378   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         12/12/2017                   Opioid Matter              UNDETERMINED
         OF JASPER COUNTY AND COUNTY OF JASPER
         ATTN: CLERK                                           ACCOUNT NO.:
         COURT OF CLAIMS                                       NOT AVAILABLE
         630 SOUTH COLLEGE STREET
         SPRINGFIELD, IL 62756



3.7379   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         12/12/2017                   Opioid Matter              UNDETERMINED
         OF JASPER COUNTY AND COUNTY OF JASPER
         ATTN: ATTORNEY GENERAL                                ACCOUNT NO.:
         OFFICE OF THE ATTORNEY GENERAL OF ILLINOIS            NOT AVAILABLE
         500 SOUTH 2ND STREET
         SPRINGFIELD, IL 62704



3.7380   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE          6/26/2017                   Opioid Matter              UNDETERMINED
         OF JERSEY COUNTY AND JERSEY COUNTY
         ATTN: COUNTY CLERK                                    ACCOUNT NO.:
         200 NORTH LAFAYETTE                                   NOT AVAILABLE
         P.O. BOX 216
         JERSEYVILLE, IL 62052



3.7381   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE          6/26/2017                   Opioid Matter              UNDETERMINED
         OF JERSEY COUNTY AND JERSEY COUNTY
         ATTN: KWAME RAOUL                                     ACCOUNT NO.:
         STATE OF ILLINOIS ATTORNEY GENERAL                    NOT AVAILABLE
         JAMES R. THOMPSON CTR. - 100 W. RANDOLPH ST.
         CHICAGO, IL 60601



3.7382   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/12/2018                   Opioid Matter              UNDETERMINED
         OF JOHNSON COUNTY, AND COUNTY OF JOHNSON
         ATTN: THOMAS J. LECH                                  ACCOUNT NO.:
         GOLDENBERG HELLER & ANTOGNOLI, P.C.                   NOT AVAILABLE
         2227 SOUTH STATE ROUTE 157
         EDWARDSVILLE, IL 62025



3.7383   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE          10/5/2018                   Opioid Matter              UNDETERMINED
         OF JOHNSON COUNTY, AND COUNTY OF JOHNSON
         ATTN: GREGORY R. JONES                                ACCOUNT NO.:
         GOLDENBERG HELLER & ANTOGNOLI P.C.                    NOT AVAILABLE
         2227 SOUTH STATE ROUTE 157
         EDWARDSVILLLE, IL 62025



3.7384   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/12/2018                   Opioid Matter              UNDETERMINED
         OF JOHNSON COUNTY, AND COUNTY OF JOHNSON
         ATTN: PETER J. MOUGEY                                 ACCOUNT NO.:
         LEVIN, PAPANTONIO, THOMAS, MITCHELL, RAFFERTY &       NOT AVAILABLE
         PROCTOR, P.A.
         316 S. BAYLEN STREET - SUITE 600
         PENSACOLA, FL 32502-5996



3.7385   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/12/2018                   Opioid Matter              UNDETERMINED
         OF JOHNSON COUNTY, AND COUNTY OF JOHNSON
         ATTN: ROLAND K. TELLIS                                ACCOUNT NO.:
         BARON & BUDD, P.C.                                    NOT AVAILABLE
         15910 VENTURA BOULEVARD - SUITE 1600
         LOS ANGELES, CA 91436



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Purdue Pharma L.P.                                                                                 Case Number: 19-23649 (RDD)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7386   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/12/2018                   Opioid Matter              UNDETERMINED
         OF JOHNSON COUNTY, AND COUNTY OF JOHNSON
         ATTN: AMY QUEZON                                      ACCOUNT NO.:
         MCHUGH FULLER LAW GROUP, PLLC                         NOT AVAILABLE
         97 ELIAS WHIDDON ROAD
         HATTIESBURG, MS 39402



3.7387   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/12/2018                   Opioid Matter              UNDETERMINED
         OF JOHNSON COUNTY, AND COUNTY OF JOHNSON
         ATTN: MARK P. PIFKO                                   ACCOUNT NO.:
         BARON & BUDD, P.C                                     NOT AVAILABLE
         15910 VENTURA BOULEVARD - SUITE 1600
         LOS ANGELES, CA 91436



3.7388   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/12/2018                   Opioid Matter              UNDETERMINED
         OF JOHNSON COUNTY, AND COUNTY OF JOHNSON
         ATTN: JAMES C. PETERSON                               ACCOUNT NO.:
         HILL, PETERSON, CARPER, BEE & DEITZLER, PLLC          NOT AVAILABLE
         NORTHGATE BUSINESS PARK - 500 TRACY WAY
         CHARLESTON, WV 25311



3.7389   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/12/2018                   Opioid Matter              UNDETERMINED
         OF JOHNSON COUNTY, AND COUNTY OF JOHNSON
         ATTN: R. EDISON HILL                                  ACCOUNT NO.:
         HILL, PETERSON, CARPER, BEE & DEITZLER, PLLC          NOT AVAILABLE
         NORTHGATE BUSINESS PARK - 500 TRACY WAY
         CHARLESTON, WV 25311



3.7390   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/12/2018                   Opioid Matter              UNDETERMINED
         OF JOHNSON COUNTY, AND COUNTY OF JOHNSON
         ATTN: LLOYD M. CUETO                                  ACCOUNT NO.:
         LAW OFFICE OF LLOYD M. CUETO                          NOT AVAILABLE
         7110 WEST MAIN STREET
         BELLEVILLE, IL 62223



3.7391   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/12/2018                   Opioid Matter              UNDETERMINED
         OF JOHNSON COUNTY, AND COUNTY OF JOHNSON
         ATTN: S. ANN SAUCER                                   ACCOUNT NO.:
         BARON & BUDD, P.C.                                    NOT AVAILABLE
         3102 OAK LAWN AVENUE - SUITE 1100
         DALLAS, TX 75219



3.7392   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/12/2018                   Opioid Matter              UNDETERMINED
         OF JOHNSON COUNTY, AND COUNTY OF JOHNSON
         ATTN: MICHAEL J. GRAS                                 ACCOUNT NO.:
         LAW OFFICE OF CHRISTOPHER CUETO, LTD                  NOT AVAILABLE
         7110 WEST MAIN STREET
         BELLEVILLE, IL 62223



3.7393   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/12/2018                   Opioid Matter              UNDETERMINED
         OF JOHNSON COUNTY, AND COUNTY OF JOHNSON
         ATTN: LAURA S. DUNNING                                ACCOUNT NO.:
         LEVIN, PAPANTONIO, THOMAS, MITCHELL, RAFFERTY &       NOT AVAILABLE
         PROCTOR, P.A.
         316 S. BAYLEN STREET - SUITE 600
         PENSACOLA, FL 32502-5996



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Purdue Pharma L.P.                                                                                 Case Number: 19-23649 (RDD)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7394   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/12/2018                   Opioid Matter              UNDETERMINED
         OF JOHNSON COUNTY, AND COUNTY OF JOHNSON
         ATTN: PAGE A. POERSCHKE                               ACCOUNT NO.:
         LEVIN, PAPANTONIO, THOMAS, MITCHELL, RAFFERTY &       NOT AVAILABLE
         PROCTOR, P.A.
         316 S. BAYLEN STREET - SUITE 600
         PENSACOLA, FL 32502-5996



3.7395   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/12/2018                   Opioid Matter              UNDETERMINED
         OF JOHNSON COUNTY, AND COUNTY OF JOHNSON
         ATTN: ANTHONY J. MAJESTRO, ESQ.                       ACCOUNT NO.:
         POWELL & MAJESTRO, PLLC                               NOT AVAILABLE
         405 CAPITOL STREET - SUITE P-1200
         CHARLESTON, WV 25301



3.7396   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/12/2018                   Opioid Matter              UNDETERMINED
         OF JOHNSON COUNTY, AND COUNTY OF JOHNSON
         ATTN: ERIC D. HOLLAND                                 ACCOUNT NO.:
         HOLLAND LAW FIRM                                      NOT AVAILABLE
         300 NORTH TUCKER - SUITE 801
         ST. LOUIS, MO 63101



3.7397   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/12/2018                   Opioid Matter              UNDETERMINED
         OF JOHNSON COUNTY, AND COUNTY OF JOHNSON
         ATTN: R. SETH CROMPTON                                ACCOUNT NO.:
         HOLLAND LAW FIRM                                      NOT AVAILABLE
         300 NORTH TUCKER - SUITE 801
         ST. LOUIS, MO 63101



3.7398   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/12/2018                   Opioid Matter              UNDETERMINED
         OF JOHNSON COUNTY, AND COUNTY OF JOHNSON
         ATTN: MICHAEL J. FULLER, JR.                          ACCOUNT NO.:
         MCHUGH FULLER LAW GROUP, PLLC                         NOT AVAILABLE
         97 ELIAS WHIDDON ROAD
         HATTIESBURG, MS 39402



3.7399   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/12/2018                   Opioid Matter              UNDETERMINED
         OF JOHNSON COUNTY, AND COUNTY OF JOHNSON
         ATTN: JAMES M. "MIKE" PAPANTONIO                      ACCOUNT NO.:
         LEVIN, PAPANTONIO, THOMAS, MITCHELL, RAFFERTY &       NOT AVAILABLE
         PROCTOR, P.A.
         316 S. BAYLEN STREET - SUITE 600
         PENSACOLA, FL 32502-5996



3.7400   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/12/2018                   Opioid Matter              UNDETERMINED
         OF JOHNSON COUNTY, AND COUNTY OF JOHNSON
         ATTN: ARCHIE C. LAMB, JR.                             ACCOUNT NO.:
         LEVIN, PAPANTONIO, THOMAS, MITCHELL, RAFFERTY &       NOT AVAILABLE
         PROCTOR, P.A.
         316 S. BAYLEN STREET - SUITE 600
         PENSACOLA, FL 32502-5996




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7401   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/12/2018                   Opioid Matter              UNDETERMINED
         OF JOHNSON COUNTY, AND COUNTY OF JOHNSON
         ATTN: DAVID CATES                                     ACCOUNT NO.:
         CATES MAHONEY, LLC                                    NOT AVAILABLE
         216 WEST POINTE DRIVE - SUITE A
         SWANSEA, IL 62226



3.7402   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/12/2018                   Opioid Matter              UNDETERMINED
         OF JOHNSON COUNTY, AND COUNTY OF JOHNSON
         ATTN: PAUL T. FARRELL, JR.                            ACCOUNT NO.:
         GREENE, KETCHUM, FARRELL, BAILEY & TWEEL, LLP         NOT AVAILABLE
         419 - 11TH STREET
         HUNTINGTON, WV 25701



3.7403   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/12/2018                   Opioid Matter              UNDETERMINED
         OF JOHNSON COUNTY, AND COUNTY OF JOHNSON
         ATTN: RUSSELL W. BUDD                                 ACCOUNT NO.:
         BARON & BUDD, P.C.                                    NOT AVAILABLE
         3102 OAK LAWN AVENUE - SUITE 1100
         DALLAS CITY, TX 75219



3.7404   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/12/2018                   Opioid Matter              UNDETERMINED
         OF JOHNSON COUNTY, AND COUNTY OF JOHNSON
         ATTN: ANN E. CALLIS                                   ACCOUNT NO.:
         GOLDENBERG HELLER & ANTOGNOLI, P.C.                   NOT AVAILABLE
         2227 SOUTH STATE ROUTE 157
         EDWARDSVILLE, IL 62025



3.7405   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/12/2018                   Opioid Matter              UNDETERMINED
         OF JOHNSON COUNTY, AND COUNTY OF JOHNSON
         ATTN: CHRISTOPHER CUETO                               ACCOUNT NO.:
         LAW OFFICE OF CHRISTOPHER CUETO, LTD.                 NOT AVAILABLE
         7110 WEST MAIN STREET
         BELLEVILLE, IL 62223



3.7406   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/12/2018                   Opioid Matter              UNDETERMINED
         OF JOHNSON COUNTY, AND COUNTY OF JOHNSON
         ATTN: JEFFREY GADDY                                   ACCOUNT NO.:
         LEVIN, PAPANTONIO, THOMAS, MITCHELL, RAFFERTY &       NOT AVAILABLE
         PROCTOR, P.A.
         316 S. BAYLEN STREET - SUITE 600
         PENSACOLA, FL 32502-5996



3.7407   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/12/2018                   Opioid Matter              UNDETERMINED
         OF JOHNSON COUNTY, AND COUNTY OF JOHNSON
         ATTN: J. BURTON LEBLANC, IV                           ACCOUNT NO.:
         BARON & BUDD, P.C.                                    NOT AVAILABLE
         3102 OAK LAWN AVENUE - SUITE 1100
         DALLAS, TX 75219



3.7408   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/12/2018                   Opioid Matter              UNDETERMINED
         OF JOHNSON COUNTY, AND COUNTY OF JOHNSON
         ERIC D. HOLLAND                                       ACCOUNT NO.:
         HOLLAND LAW FIRM                                      NOT AVAILABLE
         300 NORTH TUCKER - SUITE 801
         ST. LOUIS, MO 63101



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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7409   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/12/2018                   Opioid Matter              UNDETERMINED
         OF JOHNSON COUNTY, AND COUNTY OF JOHNSON
         ATTN: GREGORY R. JONES                                ACCOUNT NO.:
         GOLDENBERG HELLER & ANTOGNOLI, P.C.                   NOT AVAILABLE
         2227 SOUTH STATE ROUTE 157
         EDWARDSVILLE, IL 62025



3.7410   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/12/2018                   Opioid Matter              UNDETERMINED
         OF JOHNSON COUNTY, AND COUNTY OF JOHNSON
         ATTN: LAURA J. BAUGHMAN                               ACCOUNT NO.:
         BARON & BUDD, P.C                                     NOT AVAILABLE
         3102 OAK LAWN AVENUE - SUITE 1100
         DALLAS, TX 75219



3.7411   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/12/2018                   Opioid Matter              UNDETERMINED
         OF JOHNSON COUNTY, AND COUNTY OF JOHNSON
         ATTN: NEIL E. “NED” MCWILLIAMS, JR.                   ACCOUNT NO.:
         LEVIN, PAPANTONIO, THOMAS, MITCHELL, RAFFERTY &       NOT AVAILABLE
         PROCTOR, P.A.
         316 S. BAYLEN STREET - SUITE 600
         PENSACOLA, FL 32502-5996



3.7412   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE          9/25/2017                   Opioid Matter              UNDETERMINED
         OF KANKAKEE CNTY
         ATTN: KWAME RAOUL                                     ACCOUNT NO.:
         STATE OF ILLINOIS ATTORNEY GENERAL                    NOT AVAILABLE
         JAMES R. THOMPSON CTR. - 100 W. RANDOLPH ST.
         CHICAGO, IL 60601



3.7413   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE          9/25/2017                   Opioid Matter              UNDETERMINED
         OF KANKAKEE CNTY
         ATTN: KANKAKEE COUNTY CLERK; COUNTY BOARD             ACCOUNT NO.:
         CHAIRMAN                                              NOT AVAILABLE
         189 EAST COURT STREET
         KANKAKEE, IL 60901



3.7414   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE          9/25/2017                   Opioid Matter              UNDETERMINED
         OF KANKAKEE CNTY
         ATTN: KANKAKEE COUNTY STATE'S ATTORNEY                ACCOUNT NO.:
         450 EAST COURT STREET, 3RD FLOOR                      NOT AVAILABLE
         KANKAKEE, IL 60602



3.7415   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         11/17/2017                   Opioid Matter              UNDETERMINED
         OF PULASKI COUNTY AND COUNTY OF PULASKI
         ATTN: KWAME RAOUL                                     ACCOUNT NO.:
         STATE OF ILLINOIS ATTORNEY GENERAL                    NOT AVAILABLE
         JAMES R. THOMPSON CTR. - 100 W. RANDOLPH ST.
         CHICAGO, IL 60601



3.7416   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         11/17/2017                   Opioid Matter              UNDETERMINED
         OF PULASKI COUNTY AND COUNTY OF PULASKI
         ATTN: COUNTY BOARD CHAIR; COUNTY TREASURER            ACCOUNT NO.:
         500 ILLINOIS AVENUE                                   NOT AVAILABLE
         MOUND CITY, IL 62963




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7417   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         11/17/2017                   Opioid Matter              UNDETERMINED
         OF PULASKI COUNTY AND COUNTY OF PULASKI
         ATTN: COUNTY CLERK                                    ACCOUNT NO.:
         PO BOX 118                                            NOT AVAILABLE
         MOUND CITY, IL 62963



3.7418   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/12/2018                   Opioid Matter              UNDETERMINED
         OF SCHUYLER COUNTY, AND COUNTY OF SCHUYLER
         ATTN: COUNTY CLERK                                    ACCOUNT NO.:
         102 SOUTH CONGRESS STREET                             NOT AVAILABLE
         SUITE 104
         RUSHVILLE, IL 62681



3.7419   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         12/12/2017                   Opioid Matter              UNDETERMINED
         OF SHELBY COUNTY AND COUNTY OF SHELBY
         ATTN: CHAIR OF THE BOARD OF COMMISSIONERS AND         ACCOUNT NO.:
         COUNTY CLERK                                          NOT AVAILABLE
         PO BOX 230
         COUNTY COURTHOUSE
         SHELBYVILLE, IL 62565-0230



3.7420   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         12/12/2017                   Opioid Matter              UNDETERMINED
         OF SHELBY COUNTY AND COUNTY OF SHELBY
         ATTN: KWAME RAOUL                                     ACCOUNT NO.:
         STATE OF ILLINOIS ATTORNEY GENERAL                    NOT AVAILABLE
         JAMES R. THOMPSON CTR. - 100 W. RANDOLPH ST.
         CHICAGO, IL 60601



3.7421   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         12/12/2017                   Opioid Matter              UNDETERMINED
         OF SHELBY COUNTY AND COUNTY OF SHELBY
         ATTN: CHAIR OF THE BOARD OF COMMISSIONERS AND         ACCOUNT NO.:
         COUNTY CLERK                                          NOT AVAILABLE
         SHELBY COUNTY COURTHOUSE
         301 EAST MAIN STREET
         SHELBYVILLE, IL 62565



3.7422   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE          6/26/2017                   Opioid Matter              UNDETERMINED
         OF UNION COUNTY AND UNION COUNTY
         ATTN: KWAME RAOUL                                     ACCOUNT NO.:
         STATE OF ILLINOIS ATTORNEY GENERAL                    NOT AVAILABLE
         JAMES R. THOMPSON CTR. - 100 W. RANDOLPH ST.
         CHICAGO, IL 60601



3.7423   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE          6/26/2017                   Opioid Matter              UNDETERMINED
         OF UNION COUNTY AND UNION COUNTY
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS          ACCOUNT NO.:
         309 WEST MARKET STREET                                NOT AVAILABLE
         ROOM 110
         JONESBORO, IL 62952



3.7424   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE          6/26/2017                   Opioid Matter              UNDETERMINED
         OF UNION COUNTY AND UNION COUNTY
         ATTN: COUNTY CLERK                                    ACCOUNT NO.:
         309 WEST MARKET STREET                                NOT AVAILABLE
         ROOM 116
         JONESBORO, IL 62952



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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7425   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/26/2017                   Opioid Matter              UNDETERMINED
         OF WABASH COUNTY AND COUNTY OF WABASH
         ATTN: KWAME RAOUL                                     ACCOUNT NO.:
         STATE OF ILLINOIS ATTORNEY GENERAL                    NOT AVAILABLE
         JAMES R. THOMPSON CTR. - 100 W. RANDOLPH ST.
         CHICAGO, IL 60601



3.7426   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/26/2017                   Opioid Matter              UNDETERMINED
         OF WABASH COUNTY AND COUNTY OF WABASH
         121 NORTH LASALLE STREET                              ACCOUNT NO.:
         CHICAGO CITY HALL 4TH FLOOR                           NOT AVAILABLE
         CHICAGO, IL 60602



3.7427   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/26/2017                   Opioid Matter              UNDETERMINED
         OF WABASH COUNTY AND COUNTY OF WABASH
         ATTN: WABASH COUNTY CLERK                             ACCOUNT NO.:
         401 MARKET STREET                                     NOT AVAILABLE
         MT. CARMEL, IL 62863



3.7428   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         10/26/2017                   Opioid Matter              UNDETERMINED
         OF WASHINGTON COUNTY AND COUNTY OF
         WASHINGTON                                            ACCOUNT NO.:
         ATTN: COUNTY CLERK AND RECORDER                       NOT AVAILABLE
         101 E. ST. LOUIS ST.
         NASHVILLE, IL 62263



3.7429   THE PEOPLE OF THE STATE OF ILLINOIS, THE PEOPLE         12/12/2017                   Opioid Matter              UNDETERMINED
         OF WHITE COUNTY AND COUNTY OF WHITE
         ATTN: OFFICE OF THE COUNTY CLERK AND COUNTY           ACCOUNT NO.:
         BOARD CHAIR                                           NOT AVAILABLE
         301 E MAIN STREET
         PO BOX 339
         CARMI, IL 62821



3.7430   THE PEOPLE OF THE STATE OF NEW YORK, BY LETITIA          8/14/2018                   Opioid Matter              UNDETERMINED
         JAMES, ATTORNEY GENERAL OF THE STATE OF NEW
         YORK                                                  ACCOUNT NO.:
         ATTN: ASSISTANT ATTORNEY GENERAL OF THE STATE         NOT AVAILABLE
         OF NEW YORK
         28 LIBERTY STREET, 16TH FLOOR
         NEW YORK, NY 10005



3.7431   THE PEOPLE OF THE STATE OF NEW YORK, BY LETITIA          8/14/2018                   Opioid Matter              UNDETERMINED
         JAMES, ATTORNEY GENERAL OF THE STATE OF NEW
         YORK                                                  ACCOUNT NO.:
         ATTN: ASSISTANT ATTORNEY GENERAL OF THE STATE         NOT AVAILABLE
         OF NEW YORK
         28 LIBERTY STREET, 16TH FLOOR
         NEW YORK, NY 10005



3.7432   THE PEOPLE OF THE STATE OF NEW YORK, BY LETITIA          8/14/2018                   Opioid Matter              UNDETERMINED
         JAMES, ATTORNEY GENERAL OF THE STATE OF NEW
         YORK                                                  ACCOUNT NO.:
         ATTN: LETITIA A. JAMES                                NOT AVAILABLE
         STATE OF NEW YORK ATTORNEY GENERAL
         DEPT. OF LAW - THE CAPITOL, 2ND FL.
         ALBANY, NY 12224

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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7433   THE PEOPLE OF THE STATE OF NEW YORK, BY LETITIA          8/14/2018                   Opioid Matter              UNDETERMINED
         JAMES, ATTORNEY GENERAL OF THE STATE OF NEW
         YORK                                                  ACCOUNT NO.:
         ATTN: ASSISTANT ATTORNEY GENERAL OF THE STATE         NOT AVAILABLE
         OF NEW YORK
         EMPIRE STATE PLAZA
         JUSTICE BUILDING, 2ND FLOOR
         ALBANY, NY 12224



3.7434   THE PEOPLE OF THE STATE OF NEW YORK, BY LETITIA          8/14/2018                   Opioid Matter              UNDETERMINED
         JAMES, ATTORNEY GENERAL OF THE STATE OF NEW
         YORK                                                  ACCOUNT NO.:
         NACHMAN, DAVID ELI                                    NOT AVAILABLE
         OFFICE OF THE ATTORNEY GENERAL
         28 LIBERTY STREET - 23RD FLOOR
         NEW YORK, NY 10005



3.7435   THE PEOPLE OF THE STATE OF NEW YORK, BY LETITIA          8/14/2018                   Opioid Matter              UNDETERMINED
         JAMES, ATTORNEY GENERAL OF THE STATE OF NEW
         YORK                                                  ACCOUNT NO.:
         HUNT, CAROL JEAN                                      NOT AVAILABLE
         OFFICE OF THE ATTORNEY GENERAL
         120 BROADWAY - 26TH FLOOR
         NEW YORK, NY 10271



3.7436   THE PEOPLE OF THE STATE OF NEW YORK, BY LETITIA          8/14/2018                   Opioid Matter              UNDETERMINED
         JAMES, ATTORNEY GENERAL OF THE STATE OF NEW
         YORK                                                  ACCOUNT NO.:
         STAMATELOS, PAULINA ANGELA                            NOT AVAILABLE
         NEW YORK STATE OFFICE OF THE ATTORNEY GENERAL
         28 LIBERTY STREET
         NEW YORK, NY 10005



3.7437   THE PEOPLE OF THE STATE OF NEW YORK, BY LETITIA          8/14/2018                   Opioid Matter              UNDETERMINED
         JAMES, ATTORNEY GENERAL OF THE STATE OF NEW
         YORK                                                  ACCOUNT NO.:
         DEROCHE, MANDY                                        NOT AVAILABLE
         NEW YORK STATE OFFICE OF THE ATTORNEY GENERAL
         28 LIBERTY STREET - 19TH FLOOR
         NEW YORK, NY 10005



3.7438   THE PEOPLE OF THE STATE OF NEW YORK, BY LETITIA          8/14/2018                   Opioid Matter              UNDETERMINED
         JAMES, ATTORNEY GENERAL OF THE STATE OF NEW
         YORK                                                  ACCOUNT NO.:
         CHESLER, ELIZABETH RICHER                             NOT AVAILABLE
         NEW YORK STATE OFFICE OF THE ATTORNEY GENERAL
         28 LIBERTY STREET - 19TH FLOOR
         NEW YORK, NY 10005



3.7439   THE PEOPLE OF THE STATE OF NEW YORK, BY LETITIA          8/14/2018                   Opioid Matter              UNDETERMINED
         JAMES, ATTORNEY GENERAL OF THE STATE OF NEW
         YORK                                                  ACCOUNT NO.:
         JOHNSTON, DIANE NICOLE                                NOT AVAILABLE
         NEW YORK STATE OFFICE OF THE ATTORNEY GENERAL
         28 LIBERTY STREET - 19TH FLOOR
         NEW YORK, NY 10005




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7440   THE SOLICITOR FOR BOSTON TOWNSHIP, ED PULLEKINS          6/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: TRUSTEE CHAIR
         BOSTON TOWNSHIP HALL                                  ACCOUNT NO.:
         1775 MAIN STREET                                      NOT AVAILABLE
         PENINSULA, OH 44264



3.7441   THE SOLICITOR FOR THE VILLAGE OF LAKEMORE,               6/30/2018                   Opioid Matter              UNDETERMINED
         IRVING B. SUGERMAN
         ATTN: MAYOR                                           ACCOUNT NO.:
         THE VILLAGE OF LAKEMORE                               NOT AVAILABLE
         1400 MAIN STREET
         LAKEMORE, OH 44250



3.7442   THE SOLICITOR FOR THE VILLAGE OF PENINSULA, BRAD         6/30/2018                   Opioid Matter              UNDETERMINED
         BRYAN
         ATTN: MAYOR                                           ACCOUNT NO.:
         VILLAGE OF PENINSULA                                  NOT AVAILABLE
         1582 MAIN STREET
         PENINSULA, OH 44264



3.7443   THE SOLICITOR THE VILLAGE OF SILVER LAKE, BOB            6/30/2018                   Opioid Matter              UNDETERMINED
         HEYDORN
         ATTN: MAYOR’S OFFICE & ADMINISTRATION, VILLAGE        ACCOUNT NO.:
         SOLICITOR                                             NOT AVAILABLE
         2961 KENT ROAD
         SILVER LAKE, OH 44224



3.7444   THE STATE OF ALABAMA                                     6/20/2019                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVENUE - P.O. BOX 300152               NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.7445   THE STATE OF COLORADO EX REL. PHIL WEISER,               9/6/2018                    Opioid Matter              UNDETERMINED
         ATTORNEY GENERAL
         ATTN: PHIL WEISER                                     ACCOUNT NO.:
         STATE OF COLORADO ATTORNEY GENERAL                    NOT AVAILABLE
         RALPH L. CARR COLORADO JUDICIAL CENTER - 1300
         BROADWAY, 10TH FLOOR
         DENVER, CO 80203



3.7446   THE STATE OF OHIO EX REL. PROSECUTING ATTORNEY          UNKNOWN                      Opioid Matter              UNDETERMINED
         OF FAYETTE COUNTY, JESS WEADE
         ATTN: JESS WEADE                                      ACCOUNT NO.:
         FAYETTE COUNTY PROSECUTING ATTORNEY                   NOT AVAILABLE
         110 EAST COURT STREET
         WASHINGTON COURT HOUSE, OH 43160



3.7447   THE STATE OF OHIO EX REL. PROSECUTING ATTORNEY          UNKNOWN                      Opioid Matter              UNDETERMINED
         OF MEDINA COUNTY, S. FORREST THOMPSON
         ATTN: S. FORREST THOMPSON                             ACCOUNT NO.:
         MEDINA COUNTY PROSECUTOR                              NOT AVAILABLE
         72 PUBLIC SQUARE
         MEDINA, OH 44256




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7448   THE TOWN OF AMHERST                                      3/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: SUPERVISOR & CLERK
         MUNICIPAL BUILDING (TOWN HALL)                        ACCOUNT NO.:
         5583 MAIN STREET                                      NOT AVAILABLE
         WILLIAMSVILLE, NY 14221



3.7449   THE TOWN OF BEACON FALLS                                 1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: FIRST SELECTMAN, BOARD OF SELECTMEN, AND
         TOWN CLERK                                            ACCOUNT NO.:
         BEACON FALLS TOWN HALL                                NOT AVAILABLE
         10 MAPLE AVENUE
         BEACON FALLS, CT 06403



3.7450   THE TOWN OF BERLIN                                       8/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK, TOWN MANAGER
         240 KENSINGTON RD                                     ACCOUNT NO.:
         BERLIN, CT 06037                                      NOT AVAILABLE



3.7451   THE TOWN OF BERLIN                                       8/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         187 CASTLEWOOD DRIVE                                  ACCOUNT NO.:
         BERLIN, CT 06037                                      NOT AVAILABLE



3.7452   THE TOWN OF BETHLEHEM                                    8/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND ASSISTANT CLERK AND SELECTMAN
         36 MAIN STREET SOUTH                                  ACCOUNT NO.:
         BETHLEHEM, CT 06751                                   NOT AVAILABLE



3.7453   THE TOWN OF CHEEKTOWAGA                                  4/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: SUPERVISOR & CLERK
         TOWN HALL                                             ACCOUNT NO.:
         3301 BROADWAY                                         NOT AVAILABLE
         CHEEKTOWAGA, NY 14227



3.7454   THE TOWN OF CHEROKEE, ALABAMA, ET AL.                    11/9/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, TOWN CLERK
         TOWN HALL                                             ACCOUNT NO.:
         3780 OLD LEE HIGHWAY                                  NOT AVAILABLE
         CHEROKEE, AL 35616



3.7455   THE TOWN OF CHEROKEE, ALABAMA, ET AL.                    11/9/2017                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.7456   THE TOWN OF CLENDENIN, WEST VIRGINIA                     9/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, MUNICIPAL CLERK, TREASURER, TOWN
         RECORDER, CITY COUNCIL                                ACCOUNT NO.:
         COUNTY ROUTE 4/1                                      NOT AVAILABLE
         CLENDENIN, WV 25045




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7457   THE TOWN OF COVENTRY                                     8/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN MANAGER OF COVENTRY
         1712 MAIN STREET                                      ACCOUNT NO.:
         COVENTRY, CT 06238                                    NOT AVAILABLE



3.7458   THE TOWN OF COVENTRY                                     8/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE TOWN COUNCIL OF COVENTRY
         1712 MAIN STREET                                      ACCOUNT NO.:
         COVENTRY, CT 06238                                    NOT AVAILABLE



3.7459   THE TOWN OF COVENTRY                                     8/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: ASSISTANT TOWN CLERK OF COVENTRY
         1712 MAIN STREET                                      ACCOUNT NO.:
         COVENTRY, CT 06238                                    NOT AVAILABLE



3.7460   THE TOWN OF COVENTRY                                     8/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK OF COVENTRY
         1712 MAIN STREET                                      ACCOUNT NO.:
         COVENTRY, CT 06238                                    NOT AVAILABLE



3.7461   THE TOWN OF EAST HARTFORD                                1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         740 MAIN STREET                                       ACCOUNT NO.:
         1ST FLOOR                                             NOT AVAILABLE
         EAST HARTFORD, CT 06108



3.7462   THE TOWN OF EAST HARTFORD                                1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: FIRST SELECTMAN AND BOARD OF SELECTMEN
         740 MAIN STREET                                       ACCOUNT NO.:
         EAST HARTFORD, CT 06108                               NOT AVAILABLE



3.7463   THE TOWN OF ELEANOR, WEST VIRGINIA                       3/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND RECORDER AND CHAIRPERSON,
         COUNCIL BOARD                                         ACCOUNT NO.:
         401 ROOSEVELT BLVD                                    NOT AVAILABLE
         PO BOX 185
         ELEANOR, WV 25070



3.7464   THE TOWN OF ELIZABETH                                    5/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: RECORDER
         P.O. BOX 478                                          ACCOUNT NO.:
         ELIZABETH, WV 26142                                   NOT AVAILABLE



3.7465   THE TOWN OF FAIRFIELD                                    1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         OLD TOWN HALL                                         ACCOUNT NO.:
         611 OLD POST ROAD                                     NOT AVAILABLE
         FAIRFIELD, CT 06824



3.7466   THE TOWN OF FAIRFIELD                                    1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: FIRST SELECTMAN AND BOARD OF SELECTMEN
         725 OLD POST ROAD                                     ACCOUNT NO.:
         FAIRFIELD, CT 06824                                   NOT AVAILABLE


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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7467   THE TOWN OF GAULEY BRIDGE, WEST VIRGINIA, A WEST        10/30/2018                   Opioid Matter              UNDETERMINED
         VIRGINIA MUNICIPAL CORPORATION
         ATTN: MAYOR, CITY COUNCIL,                            ACCOUNT NO.:
         278 RAILROAD STREET                                   NOT AVAILABLE
         GAULEY BRIDGE, WV 25085



3.7468   THE TOWN OF GLENVILLE, WEST VIRGINIA                     3/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         20 NORTH COURT STREET                                 ACCOUNT NO.:
         GLENVILLE, WV 26351                                   NOT AVAILABLE



3.7469   THE TOWN OF GRANVILLE, WEST VIRGINIA                     3/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CHAIRPERSON BOARD OF COUNCIL
         AND TOWN CLERK AND TOWN TREASURER                     ACCOUNT NO.:
         PO BOX 119                                            NOT AVAILABLE
         GRANVILLE, WV 26534



3.7470   THE TOWN OF GRANVILLE, WEST VIRGINIA                     3/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CHAIRPERSON BOARD OF COUNCIL
         AND TOWN CLERK AND TOWN TREASURER                     ACCOUNT NO.:
         1245 MAIN STREET                                      NOT AVAILABLE
         GRANVILLE, WV 26534



3.7471   THE TOWN OF LANCASTER                                    6/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN SUPERVISOR & TOWN CLERK
         21 CENTRAL AVENUE                                     ACCOUNT NO.:
         LANCASTER, NY 14086                                   NOT AVAILABLE



3.7472   THE TOWN OF MAN, WEST VIRGINIA                           3/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK AND CITY TREASURER
         AND CHAIRPERSON, BOARD OF COMMISSION                  ACCOUNT NO.:
         105 MARKET STREET                                     NOT AVAILABLE
         MAN, WV 25635



3.7473   THE TOWN OF MIDDLEBURY                                   8/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND SELECTMEN
         1212 WHITTMORE ROAD                                   ACCOUNT NO.:
         MIDDLEBURY, CT 06762                                  NOT AVAILABLE



3.7474   THE TOWN OF NEW MILFORD                                  8/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND TOWN COUNCIL MEMBER
         NEW MILFORD TOWN HALL                                 ACCOUNT NO.:
         10 MAIN STREET                                        NOT AVAILABLE
         NEW MILFORD, CT 06776



3.7475   THE TOWN OF NEW MILFORD                                  8/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND ASSISTANT CLERK
         TOWN CLERK'S OFFICE                                   ACCOUNT NO.:
         NEW MILFORD TOWN HALL - 10 MAIN STREET                NOT AVAILABLE
         NEW MILFORD, CT 06776




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7476   THE TOWN OF NEWTOWN                                      1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: FIRST SELECTMAN, BOARD OF SELECTMEN, AND
         TOWN CLERK                                            ACCOUNT NO.:
         NEWTOWN MUNICIPAL CENTER                              NOT AVAILABLE
         3 PRIMROSE STREET
         NEWTOWN, CT 06470



3.7477   THE TOWN OF NORTH HAVEN                                  1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: FIRST SELECTMAN, BOARD OF SELECTMEN, AND
         TOWN CLERK                                            ACCOUNT NO.:
         TOWN HALL                                             NOT AVAILABLE
         18 CHURCH STREET
         NORTH HAVEN, CT 06473



3.7478   THE TOWN OF OXFORD                                       1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: FIRST SELECTMAN, BOARD OF SELECTMEN, AND
         TOWN CLERK                                            ACCOUNT NO.:
         OXFORD TOWN HALL                                      NOT AVAILABLE
         486 OXFORD ROAD
         OXFORD, CT 06478



3.7479   THE TOWN OF PROSPECT                                     8/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND ASSISTANT TOWN CLERK AND
         COUNCIL MEMBER AND MAYOR                              ACCOUNT NO.:
         TOWN HALL                                             NOT AVAILABLE
         36 CENTER STREET
         PROSPECT, CT 06712



3.7480   THE TOWN OF RAINELLE, WEST VIRGINIA                      3/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE MAYOR
         201 KANAWHA AVENUE                                    ACCOUNT NO.:
         RAINELLE, WV 25962                                    NOT AVAILABLE



3.7481   THE TOWN OF RAVENSWOOD                                   5/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY RECORDER
         CITY OF RAVENSWOOD CITY HALL                          ACCOUNT NO.:
         212 WALNUT ST.                                        NOT AVAILABLE
         RAVENSWOOD, WV 26164



3.7482   THE TOWN OF ROXBURY                                      8/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK, ASSISTANT TOWN CLERK,
         SELECTMEN                                             ACCOUNT NO.:
         P.O. BOX 203                                          NOT AVAILABLE
         ROXBURY, CT 06783



3.7483   THE TOWN OF ROXBURY                                      8/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK, ASSISTANT TOWN CLERK OR
         SELECTMEN                                             ACCOUNT NO.:
         29 NORTH STREET                                       NOT AVAILABLE
         P.O. BOX 203
         ROXBURY, CT 06783




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7484   THE TOWN OF RUPERT, WEST VIRGINIA                        3/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE MAYOR
         TOWN OF RUPERT                                        ACCOUNT NO.:
         MAYOR'S OFFICE - DRAWER B                             NOT AVAILABLE
         RUPERT, WV 25984



3.7485   THE TOWN OF SEYMOUR                                      8/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND ASSISTANT TOWN CLERK AND
         SELECTMEN                                             ACCOUNT NO.:
         ONE FIRST STREET                                      NOT AVAILABLE
         SEYMOUR, CT 06483



3.7486   THE TOWN OF SOPHIA, WEST VIRGINIA                        9/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY COUNCIL, RECORDER
         100 EAST RAILROAD AVENUE                              ACCOUNT NO.:
         SOPHIA, WV 25921                                      NOT AVAILABLE



3.7487   THE TOWN OF SOUTHBURY                                    1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: FIRST SELECTMAN AND BOARD OF SELECTMEN
         SOUTHBURY TOWN HALL                                   ACCOUNT NO.:
         501 MAIN STREET SOUTH - ROOM 212                      NOT AVAILABLE
         SOUTHBURY, CT 06488



3.7488   THE TOWN OF SOUTHBURY                                    1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         SOUTHBURY TOWN HALL                                   ACCOUNT NO.:
         501 MAIN STREET SOUTH - ROOM 202                      NOT AVAILABLE
         SOUTHBURY, CT 06488



3.7489   THE TOWN OF SOUTHINGTON                                  1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: TOWN MANAGER AND TOWN CLERK
         SOUTHINGTON TOWN HALL                                 ACCOUNT NO.:
         75 MAIN STREET                                        NOT AVAILABLE
         SOUTHINGTON, CT 06489



3.7490   THE TOWN OF STRATFORD                                    8/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         2725 MAIN STREET                                      ACCOUNT NO.:
         ROOM 106                                              NOT AVAILABLE
         STRATFORD, CT 06615



3.7491   THE TOWN OF STRATFORD                                    8/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF ADMINISTRATIVE OFFICER
         2725 MAIN STREET                                      ACCOUNT NO.:
         STRATFORD, CT 06615                                   NOT AVAILABLE



3.7492   THE TOWN OF SUTTON, WEST VIRGINIA                        3/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         450 FOURTH STREET                                     ACCOUNT NO.:
         PO BOX 366                                            NOT AVAILABLE
         SUTTON, WV 26601




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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                          Claim

Litigation

3.7493   THE TOWN OF THOMASTON                                     1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: FIRST SELECTMAN, BOARD OF SELECTMEN, AND
         TOWN CLERK                                             ACCOUNT NO.:
         THOMASTOWN TOWN HALL                                   NOT AVAILABLE
         158 MAIN STREET
         THOMASTON, CT 06787



3.7494   THE TOWN OF TOLLAND                                       1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: TOWN MANAGER AND TOWN CLERK
         HICKS MEMORIAL MUNICIPAL CENTER                        ACCOUNT NO.:
         21 TOLLAND GREEN - 5TH LEVEL                           NOT AVAILABLE
         TOLLAND, CT 06084



3.7495   THE TOWN OF TONAWANDA                                     7/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: SUPERVISOR
         2919 DELAWARE AVENUE, ROOM 11                          ACCOUNT NO.:
         TONAWANDA, NY 14217                                    NOT AVAILABLE



3.7496   THE TOWN OF TONAWANDA                                     7/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: SUPERVISOR
         2919 DELAWARE AVENUE #11                               ACCOUNT NO.:
         TONAWANDA, NY 14217                                    NOT AVAILABLE



3.7497   THE TOWN OF WHITESVILLE, WEST VIRGINIA                    9/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         MAYOR FREDDIE HARLESS' OFFICE                          ACCOUNT NO.:
         39140 COAL RIVER ROAD                                  NOT AVAILABLE
         WHITESVILLE, WV 25209



3.7498   THE TOWN OF WOLCOTT                                       8/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND ASSISTANT CLERK AND MAYOR AND
         TOWN COUNCIL MEMBER                                    ACCOUNT NO.:
         WOLCOTT TOWN HALL                                      NOT AVAILABLE
         10 KENEA AVENUE
         WOLCOTT, CT 06716-0000



3.7499   THE TOWN OF WOODBURY                                      1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: FIRST SELECTMAN, BOARD OF SELECTMEN AND
         TOWN CLERK                                             ACCOUNT NO.:
         281 MAIN STREET SOUTH                                  NOT AVAILABLE
         WOODBURY, CT 06798



3.7500   THE TOWN OF WOODBURY                                      1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         275 MAIN STREET SOUTH                                  ACCOUNT NO.:
         WOODBURY, CT 06798                                     NOT AVAILABLE



3.7501   THE TRUSTEES OF THE UNITE HERE LOCAL 634 HEALTH           4/9/2018                    Opioid Matter              UNDETERMINED
         & WELFARE FUND
         ATTN: CHAIRPERSON OF THE BOARD OF TRUSTEES /           ACCOUNT NO.:
         PRESIDENT                                              NOT AVAILABLE
         LOCAL 634 PHILADELPHIA
         1415 NORTH BROAD STREET - SUITE 219
         PHILADELPHIA, PA 19121



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7502   THE TRUSTEES OF THE UNITE HERE LOCAL 634 HEALTH          4/9/2018                    Opioid Matter              UNDETERMINED
         & WELFARE FUND
         ATTN: CHAIRPERSON OF THE BOARD OF TRUSTEES /          ACCOUNT NO.:
         PRESIDENT                                             NOT AVAILABLE
         275 7TH AVENUE
         NEW YORK, NY 10001-6708



3.7503   THE UNIFIED GOVERNMENT OF MACON BIBB COUNTY              3/27/2018                   Opioid Matter              UNDETERMINED
         GEORGIA
         ATTN: MAYOR                                           ACCOUNT NO.:
         OFFICE OF THE MAYOR                                   NOT AVAILABLE
         700 POPLAR STREET
         MACON, GA 31201



3.7504   THE UNIFIED GOVERNMENT OF MACON BIBB COUNTY              3/27/2018                   Opioid Matter              UNDETERMINED
         GEORGIA
         ATTN: COUNTY MANAGER                                  ACCOUNT NO.:
         OFFICES OF THE COUNTY MANAGER                         NOT AVAILABLE
         700 POPLAR STREET
         MACON, GA 71201



3.7505   THE UNIFIED GOVERNMENT OF MACON BIBB COUNTY              3/27/2018                   Opioid Matter              UNDETERMINED
         GEORGIA
         ATTN: CHAIR, MAYOR PRO TEM, AND BOARD OF              ACCOUNT NO.:
         COMMISSIONERS                                         NOT AVAILABLE
         700 POPLAR STREET
         MACON, GA 71201



3.7506   THE UNIVERSITY SYSTEM OF LOUISIANA                       6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE PRESIDENT AND REGISTERED
         AGENT                                                 ACCOUNT NO.:
         1201 NORTH THIRD STREET                               NOT AVAILABLE
         SUITE 7-300
         BATON ROUGE, LA 70802



3.7507   THE VILLAGE OF BEDFORD PARK                              8/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: VILLAGE CLERK
         6701 S. ARCHER ROAD                                   ACCOUNT NO.:
         BEDFORD PARK, IL 60501                                NOT AVAILABLE



3.7508   THE VILLAGE OF BOSTON HEIGHTS                            6/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, VILLAGE SOLICITOR
         45 EAST BOSTON MILLS ROAD                             ACCOUNT NO.:
         BOSTON HEIGHTS, OH 44236                              NOT AVAILABLE



3.7509   THE VILLAGE OF CLINTON                                   6/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, OFFICE ADMINISTRATOR
         VILLAGE OF CLINTON                                    ACCOUNT NO.:
         7871 MAIN STREET                                      NOT AVAILABLE
         CLINTON, OH 44216



3.7510   THE VILLAGE OF EVERGREEN PARK                           11/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE MAYOR
         9418 S. KEDZIE                                        ACCOUNT NO.:
         EVERGREEN PARK, IL 60805                              NOT AVAILABLE


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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7511   THE VILLAGE OF LAKEMORE                                  6/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         THE VILLAGE OF LAKEMORE                               ACCOUNT NO.:
         1400 MAIN STREET                                      NOT AVAILABLE
         LAKEMORE, OH 44250



3.7512   THE VILLAGE OF LYONS                                     8/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, PRESIDENT, BOARD OF TRUSTEES AND
         VILLAGE CLERK                                         ACCOUNT NO.:
         LYONS VILLAGE HALL                                    NOT AVAILABLE
         4200 LAWNDALE AVENUE
         LYONS, IL 60534



3.7513   THE VILLAGE OF MOGADORE                                  6/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         VILLAGE OF MOGADORE                                   ACCOUNT NO.:
         135 SOUTH CLEVELAND AVENUE                            NOT AVAILABLE
         VILLAGE OF MOGADORE, OH 44260



3.7514   THE VILLAGE OF PENINSULA                                 6/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         1582 MAIN STREET                                      ACCOUNT NO.:
         PENINSULA, OH 44264                                   NOT AVAILABLE



3.7515   THE VILLAGE OF RICHFIELD                                 6/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         4410 WEST STREETSBORO ROAD                            ACCOUNT NO.:
         RICHFIELD, OH 44286                                   NOT AVAILABLE



3.7516   THE VILLAGE OF SILVER LAKE                               6/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY SOLICITOR
         2961 KENT ROAD                                        ACCOUNT NO.:
         SILVER LAKE, OH 44224                                 NOT AVAILABLE



3.7517   THE VILLAGE OF SUMMIT                                    8/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF BOARD OF TRUSTEES AND
         VILLAGE CLERK                                         ACCOUNT NO.:
         7321 W 59TH STREET                                    NOT AVAILABLE
         SUMMIT, IL 60501



3.7518   THE VILLAGE SOLICITOR FOR THE VILLAGE OF BOSTON          6/30/2018                   Opioid Matter              UNDETERMINED
         HEIGHTS, MARSHAL PITCHFORD
         ATTN: VILLAGE SOLICITOR                               ACCOUNT NO.:
         45 E. BOSTON MILLS ROAD                               NOT AVAILABLE
         BOSTON HEIGHTS, OH 44236



3.7519   THLOPTHLOCCO TRIBAL TOWN                                 7/30/2019                   Opioid Matter              UNDETERMINED
         ATTN: TOWN KING AND CHIEF EXECUTIVE OFFICER
         P.O. BOX 1888                                         ACCOUNT NO.:
         OKEMAH, OK 74859                                      NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7520   THLOPTHLOCCO TRIBAL TOWN                                 7/30/2019                   Opioid Matter              UNDETERMINED
         CURTIS "MUSKRAT" BRUEHL
         THE BRUEHL LAW FIRM, PLLC                             ACCOUNT NO.:
         14005 NORTH EASTERN AVENUE                            NOT AVAILABLE
         EDMOND, OK 73013



3.7521   THLOPTHLOCCO TRIBAL TOWN                                 7/30/2019                   Opioid Matter              UNDETERMINED
         MICHAEL G. ROSSETTI
         LIPPES MATHIAS WEXLER FRIEDMAN                        ACCOUNT NO.:
         1900 K STREET, NORTHWEST - SUITE 730                  NOT AVAILABLE
         WASHINGTON, DC 20006



3.7522   THOMAS HICKEY                                            8/22/2019                   Opioid Matter              UNDETERMINED
         SUFFOLK COUNTY HOUSE OF CORRECTION
         20 BRADSTON STREET                                    ACCOUNT NO.:
         BOSTON, MA 02118                                      NOT AVAILABLE



3.7523   THREE AFFILIATED TRIBES                                  6/6/2019                    Opioid Matter              UNDETERMINED
         404 FRONTAGE ROAD
         NEW TOWN, ND 58763-9404                               ACCOUNT NO.:
                                                               NOT AVAILABLE


3.7524   THREE AFFILIATED TRIBES                                  6/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: TRIBAL COUNCIL CHAIRMAN AND CHIEF
         EXECUTIVE OFFICER                                     ACCOUNT NO.:
         404 FRONTAGE ROAD                                     NOT AVAILABLE
         NEW TOWN, ND 58763-9404



3.7525   THURSTON COUNTY                                          3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: AUDITOR
         MAIN OFFICE                                           ACCOUNT NO.:
         BUILDING 1 - 2000 LAKERIDGE DRIVE SOUTH WEST          NOT AVAILABLE
         OLYMPIA, WA 98502



3.7526   TIPPAH COUNTY, MISS.                                     1/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF SUPERVISORS
         101 EAST SPRING STREET                                ACCOUNT NO.:
         RIPLEY, MS 38663                                      NOT AVAILABLE



3.7527   TIPPECANOE COUNTY, INDIANA                               6/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE COUNTY COMMISSIONERS
         20 NORTH 3RD STREET                                   ACCOUNT NO.:
         1ST FLOOR                                             NOT AVAILABLE
         LAFAYETTE, IN 47901



3.7528   TIPPECANOE COUNTY, INDIANA                               6/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: CURTIS T. HILL, JR.
         STATE OF INDIANA ATTORNEY GENERAL                     ACCOUNT NO.:
         INDIANA GOVERNMENT CENTER SOUTH - 5TH FLOOR -         NOT AVAILABLE
         302 WEST WASHINGTON STREET
         INDIANAPOLIS, IN 46204




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  Part 2:           List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip                     Date Claim Was Incurred    C U      D    Basis For      Offset   Amount of Claim
Code                                                                And Account Number                        Claim

Litigation

3.7529   TISHOMINGO HEALTH SERVICES                                            3/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT, AND CHIEF EXECUTIVE OFFICER,
         AND ADMINISTRATOR                                                  ACCOUNT NO.:
         1777 CURTIS DRIVE                                                  NOT AVAILABLE
         IUKA, MS 38852



3.7530   TISHOMINGO HEALTH SERVICES                                            3/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT (BRUCE J. TOPPIN)
         830 SOUTH GLOSTER                                                  ACCOUNT NO.:
         TUPELO, MS 38801                                                   NOT AVAILABLE



3.7531   TOHONO O'ODHAM NATION                                                 6/7/2019                    Opioid Matter              UNDETERMINED
         P.O. BOX 837
         SELLS, AZ 85634                                                    ACCOUNT NO.:
                                                                            NOT AVAILABLE


3.7532   TOHONO O'ODHAM NATION                                                 6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: TRIBAL COUNCIL CHAIRMAN / CEO
         SELLS BUSINESS LOOP                                                ACCOUNT NO.:
         SELLS, AZ 85634                                                    NOT AVAILABLE



3.7533   TONTO APACHE TRIBE                                                    6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRWOMAN OF TRIBAL COUNCIL
         TONTO APACHE RESERVATION #30                                       ACCOUNT NO.:
         PAYSON, AZ 85541                                                   NOT AVAILABLE



3.7534   Tony Clark, in his official capacity as the District Attorney         6/13/2017                   Opioid Matter              UNDETERMINED
         General for the First Judicial District and on behalf of all
         political subdivisions therein                                     ACCOUNT NO.:
         Attn: District Attorney General                                    NOT AVAILABLE
         First Judicial District
         George P. Jaynes Justice Center - 108 West Jackson
         Boulevard
         Jonesborough, TN 37659



3.7535   Tony Clark, in his official capacity as the District Attorney         6/13/2017                   Opioid Matter              UNDETERMINED
         General for the First Judicial District and on behalf of all
         political subdivisions therein                                     ACCOUNT NO.:
         Attn: Herbert H. Slatery III                                       NOT AVAILABLE
         State of Tennessee Attorney General
         425 5th Avenue North
         Nashville, TN 37243



3.7536   TONY MANCUSO, SHERIFF OF CALCASIEU PARISH                             10/5/2017                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OR EXECUTIVE COMMITTEE MEMBER
         LOUISIANA SHERIFF'S ASSOCIATION                                    ACCOUNT NO.:
         1175 NICHOLSON DRIVE                                               NOT AVAILABLE
         BATON ROUGE, LA 70802



3.7537   TONY MANCUSO, SHERIFF OF CALCASIEU PARISH                             10/5/2017                   Opioid Matter              UNDETERMINED
         ATTN: SHERIFF
         CALCASIEU SERIFF'S OFFICE                                          ACCOUNT NO.:
         5400 EAST BROAD STREET                                             NOT AVAILABLE
         LAKE CHARLES, LA 70615




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7538   TONY MANCUSO, SHERIFF OF CALCASIEU PARISH                10/5/2017                   Opioid Matter              UNDETERMINED
         ATTN: ADMINISTRATOR
         1015 PITHON STREET                                    ACCOUNT NO.:
         P.O. BOX 1583                                         NOT AVAILABLE
         LAKE CHARLES, LA 70602



3.7539   TONY MANCUSO, SHERIFF OF CALCASIEU PARISH                10/5/2017                   Opioid Matter              UNDETERMINED
         ATTN: ADMINISTRATOR
         1015 PITHON STREET                                    ACCOUNT NO.:
         LAKE CHARLES, LA 70602                                NOT AVAILABLE



3.7540   TOOELE COUNTY, UTAH                                      3/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         47 SOUTH MAIN, RM #318                                ACCOUNT NO.:
         TOOELE, UT 84074                                      NOT AVAILABLE



3.7541   TOOMBS COUNTY, GEORGIA                                   5/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER; CHAIR OF COMMISSIONERS
         PO BOX 112                                            ACCOUNT NO.:
         LYONS, GA 30436                                       NOT AVAILABLE



3.7542   TORRES MARTINEZ DESERT CAHUILLA INDIANS                 10/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: TRIBE COUNSEL CHAIRMAN AND CHIEF
         EXECUTIVE OFFICER                                     ACCOUNT NO.:
         66-725 MARTINEZ STREET                                NOT AVAILABLE
         THERMAL, CA 92274



3.7543   TOUCHETTE REGIONAL HOSPITAL                              6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: ILLINOIS CORPORATION SERVICE C
         801 ADLAI STEVENSON DRIVE                             ACCOUNT NO.:
         SPRINGFIELD, IL 62703                                 NOT AVAILABLE



3.7544   TOUCHETTE REGIONAL HOSPITAL                              6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVER OFFICER
         TOUCHETTE REGIONAL HOSPITAL                           ACCOUNT NO.:
         5900 BOND AVENUE                                      NOT AVAILABLE
         CENTREVILLE, IL 62207



3.7545   TOWN OF ACUSHNET, MASSACHUSETTS                          5/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER AND CLERK
         ACUSHNET TOWN HALL                                    ACCOUNT NO.:
         122 MAIN STREET                                       NOT AVAILABLE
         ACUSHNET, MA 02743



3.7546   TOWN OF AGAWAM                                           6/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: TREASURER AND TOWN CLERK
         36 MAIN STREET                                        ACCOUNT NO.:
         AGAWAM, MA 01001                                      NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7547   TOWN OF ALEXANDRIA                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         102 HIGH STREET                                       ACCOUNT NO.:
         PO BOX 277                                            NOT AVAILABLE
         ALEXANDRIA, TN 37012



3.7548   TOWN OF ALEXANDRIA                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         111 WEST MAIN STREET                                  ACCOUNT NO.:
         SMITHVILLE, TN 37116                                  NOT AVAILABLE



3.7549   TOWN OF ALTAMONT                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR & CITY ATTORNEY
         P.O. BOX 200                                          ACCOUNT NO.:
         ALTAMONT, TN 37301                                    NOT AVAILABLE



3.7550   TOWN OF AMESBURY                                         5/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER AND CITY CLERK
         62 FRIEND STREET                                      ACCOUNT NO.:
         AMESBURY, MA 01913                                    NOT AVAILABLE



3.7551   TOWN OF AQUINNAH                                         8/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER AND TOWN CLERK
         TOWN HALL                                             ACCOUNT NO.:
         953-55-57 STATE ROAD                                  NOT AVAILABLE
         AQUINNAH, MA 02535



3.7552   TOWN OF ARCOLA, MISSISSIPPI                              6/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: CLERK
         PO BOX 25                                             ACCOUNT NO.:
         ARCOLA, MS 38722-0025                                 NOT AVAILABLE



3.7553   TOWN OF ARLINGTON, TENNESSEE                             6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR OF THE TOWN OF ARLINGTON
         5854 AIRLINE ROAD                                     ACCOUNT NO.:
         P.O. BOX 507                                          NOT AVAILABLE
         ARLINGTON, TN 38002



3.7554   TOWN OF ATHOL, MASSACHUSETTS                             1/22/2019                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER AND CLERK
         ATHOL TOWN HALL                                       ACCOUNT NO.:
         584 MAIN STREET                                       NOT AVAILABLE
         ATHOL, MA 01331



3.7555   TOWN OF AUBURN                                           5/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER AND TOWN CLERK
         104 CENTRAL STREET                                    ACCOUNT NO.:
         AUBURN, MA 01501                                      NOT AVAILABLE



3.7556   TOWN OF AUBURNTOWN                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         215 WEST HIGH STREET                                  ACCOUNT NO.:
         WOODBURY, TN 37019                                    NOT AVAILABLE


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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7557   TOWN OF AUBURNTOWN                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         291 KNOB HILL ROAD                                    ACCOUNT NO.:
         AUBURNTOWN, TN 37016                                  NOT AVAILABLE



3.7558   TOWN OF AYER, MASSACHUSETTS                              6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: TREASURER OR TOWN CLERK
         1 MAIN STREET                                         ACCOUNT NO.:
         AYER, MA 01432                                        NOT AVAILABLE



3.7559   TOWN OF BAILEYTON                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         TOWN HALL                                             ACCOUNT NO.:
         6530 HORTON HIGHWAY                                   NOT AVAILABLE
         BAILEYTON, TN 37745



3.7560   TOWN OF BAILEYTON                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         124 SOUTH MAIN STREET                                 ACCOUNT NO.:
         GREENVILLE, TN 37743                                  NOT AVAILABLE



3.7561   TOWN OF BALDWIN                                         10/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND TOWN CLERK
         TOWN HALL                                             ACCOUNT NO.:
         800 MAIN STREET - P.O. BOX 800                        NOT AVAILABLE
         BALDWIN, LA 70514



3.7562   TOWN OF BARNSTABLE                                       7/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: TREASURER OR TOWN CLERK
         367 MAIN STREET                                       ACCOUNT NO.:
         HYANNIS, MA 02601                                     NOT AVAILABLE



3.7563   TOWN OF BARRINGTON                                       3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN MANAGER
         FIRST FLOOR TOWN HALL,                                ACCOUNT NO.:
         283 COUNTY ROAD                                       NOT AVAILABLE
         BARRINGTON, RI 02806-2406



3.7564   TOWN OF BAXTER                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         200 MAIN STREET                                       ACCOUNT NO.:
         PO BOX 335                                            NOT AVAILABLE
         BAXTER, TN 38544



3.7565   TOWN OF BAXTER                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         200 MAIN STREET                                       ACCOUNT NO.:
         BAXTER, TN 38544                                      NOT AVAILABLE



3.7566   TOWN OF BEACON FALLS                                     1/9/2018                    Opioid Matter              UNDETERMINED
         JAMES E. HARTLEY JR.
         500 CHASE PARKWAY                                     ACCOUNT NO.:
         WATERBURY, CT 06708                                   NOT AVAILABLE


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Code                                                 And Account Number                          Claim

Litigation

3.7567   TOWN OF BEACON FALLS                                     1/9/2018                    Opioid Matter              UNDETERMINED
         SARAH S. BURNS
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002



3.7568   TOWN OF BEACON FALLS                                     1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: ANDREA BIERSTEIN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.7569   TOWN OF BEACON FALLS                                     1/9/2018                    Opioid Matter              UNDETERMINED
         CHARLES S. HELLMAN
         1177 AVENUE OF THE AMERICAS                           ACCOUNT NO.:
         44TH FLOOR                                            NOT AVAILABLE
         NEW YORK, NY 10036



3.7570   TOWN OF BEACON FALLS                                     1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         BEACON FALLS TOWN HALL                                ACCOUNT NO.:
         10 MAPLE AVENUE                                       NOT AVAILABLE
         BEACON FALLS, CT 06403



3.7571   TOWN OF BEACON FALLS                                     1/9/2018                    Opioid Matter              UNDETERMINED
         THOMAS SHERIDAN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.7572   TOWN OF BEACON FALLS                                     1/9/2018                    Opioid Matter              UNDETERMINED
         400 ORANGE STREET
         CLENDENEN & SHEA LLC                                  ACCOUNT NO.:
         NEW HAVEN, CT 06511                                   NOT AVAILABLE



3.7573   TOWN OF BEACON FALLS                                     1/9/2018                    Opioid Matter              UNDETERMINED
         PAUL J. HANLY JR.
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE, 7TH FLOOR                         NOT AVAILABLE
         NEW YORK, NY 10016



3.7574   TOWN OF BEERSHEBA SPRINGS                               UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         CITY HALL                                             ACCOUNT NO.:
         P.O. BOX 546                                          NOT AVAILABLE
         BEERSHEBA SPRINGS, TN 37305



3.7575   TOWN OF BEERSHEBA SPRINGS                               UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         CITY HALL                                             ACCOUNT NO.:
         PO BOX 546                                            NOT AVAILABLE
         BEERSHEBA SPRINGS, TN 37305




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Code                                                 And Account Number                          Claim

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3.7576   TOWN OF BEERSHEBA SPRINGS                               UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         P.O. BOX 214                                          ACCOUNT NO.:
         BEERSHEBA SPRINGS, TN 37305                           NOT AVAILABLE



3.7577   TOWN OF BELCHERTOWN                                      7/6/2018                    Opioid Matter              UNDETERMINED
         TOWN HALL
         2 JABISH ST., ROOM 201                                ACCOUNT NO.:
          - P.O. BOX 629                                       NOT AVAILABLE
         BELCHERTOWN, MA 01007



3.7578   TOWN OF BELCHERTOWN                                      7/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: TOWN TREASURER
         2 JABISH STREET                                       ACCOUNT NO.:
         P.O. BOX 607                                          NOT AVAILABLE
         BELCHERTOWN, MA 01007



3.7579   TOWN OF BELL BUCKLE                                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         8 RAILROAD SQUARE                                     ACCOUNT NO.:
         PO BOX 276                                            NOT AVAILABLE
         BELL BUCKLE, TN 37020



3.7580   TOWN OF BENTON                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         301 KEITH STREET                                      ACCOUNT NO.:
         SOUTH WEST # 207                                      NOT AVAILABLE
         CLEVELAND, TN 37311



3.7581   TOWN OF BENTON                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         6496 HIGHWAY 411 NORTH                                ACCOUNT NO.:
         PO BOX 687                                            NOT AVAILABLE
         BENTON, TN 37307-1010



3.7582   TOWN OF BERLIN                                           8/13/2018                   Opioid Matter              UNDETERMINED
         JAMES E. HARTLEY JR.
         500 CHASE PARKWAY                                     ACCOUNT NO.:
         WATERBURY, CT 06708                                   NOT AVAILABLE



3.7583   TOWN OF BERWICK                                         10/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CAO
         3225 THIRD STREET                                     ACCOUNT NO.:
         BERWICK, LA 70342                                     NOT AVAILABLE



3.7584   TOWN OF BETHLEHEM                                        8/13/2018                   Opioid Matter              UNDETERMINED
         JAMES A. HARTLEY JR.
         500 CHASE PARKWAY                                     ACCOUNT NO.:
         WATERBURY, CT 06708                                   NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7585   TOWN OF BILLERICA                                        4/5/2018                    Opioid Matter              UNDETERMINED
         365 BOSTON ROAD
         OFFICE #101                                           ACCOUNT NO.:
         BILLERICA, MA 01821                                   NOT AVAILABLE



3.7586   TOWN OF BILLERICA                                        4/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         365 BOSTON ROAD                                       ACCOUNT NO.:
         OFFICE #113, 114, 115                                 NOT AVAILABLE
         BILLERICA, MA 01821



3.7587   TOWN OF BLAINE                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR & CITY ATTORNEY
         220 INDIAN RIDGE ROAD                                 ACCOUNT NO.:
         PO BOX 85                                             NOT AVAILABLE
         BLAINE, TN 37709-0085



3.7588   TOWN OF BRAINTREE                                        7/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: TOWN TREASURER OR TOWN CLERK
         1 JOHN F. KENNEDY MEMORIAL DRIVE                      ACCOUNT NO.:
         BRAINTREE, MA 02184                                   NOT AVAILABLE



3.7589   TOWN OF BREWSTER                                         4/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: TOWN TREASURER/COLLECTOR, TOWN CLERK
         2198 MAIN STREET                                      ACCOUNT NO.:
         BREWSTER, MA 02631                                    NOT AVAILABLE



3.7590   TOWN OF BRIDGEWATER                                      6/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: TOWN TREASURER/COLLECTOR, TOWN CLERK
         MUNICIPAL OFFICE BUILDING                             ACCOUNT NO.:
         66 CENTRAL SQUARE                                     NOT AVAILABLE
         BRIDGEWATER, MA 02324



3.7591   TOWN OF BRISTOL                                          3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         TOWN HALL                                             ACCOUNT NO.:
         10 COURT STREET                                       NOT AVAILABLE
         BRISTOL, RI 02809



3.7592   TOWN OF BROOKLINE, MASSACHUSETTS                         1/22/2019                   Opioid Matter              UNDETERMINED
         ATTN: TOWN TREASURER/COLLECTOR
         333 WASHINGTON STREET                                 ACCOUNT NO.:
         BROOKLINE, MA 02445                                   NOT AVAILABLE



3.7593   TOWN OF BROOKLINE, MASSACHUSETTS                         1/22/2019                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         333 WASHINGTON STREET                                 ACCOUNT NO.:
         1ST FLOOR, ROOM 104                                   NOT AVAILABLE
         BROOKLINE, MA 02445




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7594   TOWN OF BROOKLINE, MASSACHUSETTS                         1/22/2019                   Opioid Matter              UNDETERMINED
         ATTN: TOWN COUNSEL
         333 WASHINGTON STREET                                 ACCOUNT NO.:
         6TH FLOOR                                             NOT AVAILABLE
         BROOKLINE, MA 02445



3.7595   TOWN OF BROWNSTOWN, INDIANA                              5/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF TOWN COUNCIL
         200 WEST WALNUT STREET                                ACCOUNT NO.:
         BROWNSTOWN, IN 47220                                  NOT AVAILABLE



3.7596   TOWN OF BROWNSTOWN, INDIANA                              5/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: CURTIS T. HILL, JR.
         STATE OF INDIANA ATTORNEY GENERAL                     ACCOUNT NO.:
         INDIANA GOVERNMENT CENTER SOUTH - 5TH FLOOR -         NOT AVAILABLE
         302 WEST WASHINGTON STREET
         INDIANAPOLIS, IN 46204



3.7597   TOWN OF BULLS GAP                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         124 SOUTH MAIN STREET                                 ACCOUNT NO.:
         GREENVILLE, TN 37743                                  NOT AVAILABLE



3.7598   TOWN OF BULLS GAP                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         139 SOUTH MAIN STREET                                 ACCOUNT NO.:
         PO BOX 10                                             NOT AVAILABLE
         BULLS GAP, TN 37711



3.7599   TOWN OF BURRILLVILLE                                     3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN MANAGER
         105 HARRISVILLE MAIN STREET                           ACCOUNT NO.:
         HARRISVILLE, RI 02830                                 NOT AVAILABLE



3.7600   TOWN OF BUTLER, AL                                       1/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.7601   TOWN OF BUTLER, AL                                       1/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: CIRCUIT COURT CLERK
         117 SOUTH MULBERRY AVENUE, SUITE 10                   ACCOUNT NO.:
         BUTLER, AL 36904                                      NOT AVAILABLE



3.7602   TOWN OF BUTLER, AL                                       1/24/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         BUTLER TOWN HALL                                      ACCOUNT NO.:
         222 SOUTH MULBERRY AVENUE                             NOT AVAILABLE
         BUTLER, AL 36904




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7603   TOWN OF BYRDSTOWN                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         109 WEST MAIN STREET                                  ACCOUNT NO.:
         BYRDSTOWN, TN 38549                                   NOT AVAILABLE



3.7604   TOWN OF CALEDONIA, MISSISSIPPI                           1/23/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR OR TOWN CLERK
         754 MAIN ST                                           ACCOUNT NO.:
         CALEDONIA, MS 39740                                   NOT AVAILABLE



3.7605   TOWN OF CALEDONIA, MISSISSIPPI                           1/23/2019                   Opioid Matter              UNDETERMINED
         P.O. BOX 100
         CALEDONIA, MS 39740                                   ACCOUNT NO.:
                                                               NOT AVAILABLE


3.7606   TOWN OF CALHOUN                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         746 HIGHWAY 163                                       ACCOUNT NO.:
         PO BOX 115                                            NOT AVAILABLE
         CALHOUN, TN 37309



3.7607   TOWN OF CALHOUN                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         67 NORTH OCOEE STREET                                 ACCOUNT NO.:
         CLEVELAND, TN 37311                                   NOT AVAILABLE



3.7608   TOWN OF CANTON                                          12/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN TREASURER/COLLECTOR
         801 WASHINGTON STREET                                 ACCOUNT NO.:
         ROOM 109                                              NOT AVAILABLE
         CANTON, MA 02021



3.7609   TOWN OF CANTON                                          12/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         MEMORIAL HALL                                         ACCOUNT NO.:
         FIRST FLOOR - 801 WASHINGTON ST.                      NOT AVAILABLE
         CANTON, MA 02021



3.7610   TOWN OF CANTON                                          12/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER/COLLECTOR
         801 WASHINGTON ST.                                    ACCOUNT NO.:
         ROOM 109                                              NOT AVAILABLE
         CANTON, MA 02021



3.7611   TOWN OF CARVER                                           5/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         108 MAIN ST.                                          ACCOUNT NO.:
         CARVER, MA 02330                                      NOT AVAILABLE



3.7612   TOWN OF CARVER                                           5/17/2018                   Opioid Matter              UNDETERMINED
         108 MAIN STREET
         PO BOX 67                                             ACCOUNT NO.:
         CARVER, MA 02330                                      NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7613   TOWN OF CARVER                                           5/17/2018                   Opioid Matter              UNDETERMINED
         108 MAIN STREET
         CARVER, MA 02330                                      ACCOUNT NO.:
                                                               NOT AVAILABLE


3.7614   TOWN OF CARYVILLE                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR, AND CITY ATTORNEY
         4839 OLD HIGHWAY 63                                   ACCOUNT NO.:
         CARYVILLE, TN 37714                                   NOT AVAILABLE



3.7615   TOWN OF CENTERTOWN                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 164                                            ACCOUNT NO.:
         MCMINNVILLE, TN 37111-0164                            NOT AVAILABLE



3.7616   TOWN OF CENTERVILLE, TENNESSEE                           6/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK AND MAYOR
         102 E SWAN STREET                                     ACCOUNT NO.:
         CENTERVILLE, TN 37033                                 NOT AVAILABLE



3.7617   TOWN OF CHANDLER, INDIANA                                3/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN COUNCIL
         401 EAST LINCOLN AVENUE                               ACCOUNT NO.:
         CHANDLER, IN 47610                                    NOT AVAILABLE



3.7618   TOWN OF CHANDLER, INDIANA                                3/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: CURTIS T. HILL, JR.
         STATE OF INDIANA ATTORNEY GENERAL                     ACCOUNT NO.:
         INDIANA GOVERNMENT CENTER SOUTH - 5TH FLOOR -         NOT AVAILABLE
         302 WEST WASHINGTON STREET
         INDIANAPOLIS, IN 46204



3.7619   TOWN OF CHAPEL HILL                                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR OR CITY ATTORNEY
         2202 UNIONVILLE ROAD                                  ACCOUNT NO.:
         CHAPEL HILL, TN 37034                                 NOT AVAILABLE



3.7620   TOWN OF CHARLESTOWN, RI                                  3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK
         OFFICE OF THE TOWN CLERK                              ACCOUNT NO.:
         4540 SOUTH COUNTY TRAIL                               NOT AVAILABLE
         CHARLESTOWN, RI 02813



3.7621   TOWN OF CHARLTON                                         5/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN TREASURER/COLLECTOR
         TOWN OF CHARLTON                                      ACCOUNT NO.:
         DEPARTMENT 3320 - P.O. BOX 4110                       NOT AVAILABLE
         WOBURN, MA 01888



3.7622   TOWN OF CHARLTON                                         5/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK & TOWN TREASURER/COLLECTOR
         37 MAIN STREET                                        ACCOUNT NO.:
         CHARLTON, MA 01507                                    NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7623   TOWN OF CHELMSFORD                                       7/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK, FINANCE DIRECTOR/TREASURER-
         COLLECTOR, TOWN COUNSEL                               ACCOUNT NO.:
         TOWN OFFICES                                          NOT AVAILABLE
         50 BILLERICA ROAD
         CHELMSFORD, MA 01824



3.7624   TOWN OF CLARKSBURG                                       6/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN TREASURER; TOWN CLERK
         TOWN HALL                                             ACCOUNT NO.:
         111 RIVER ROAD                                        NOT AVAILABLE
         CLARKSBURG, MA 01247



3.7625   TOWN OF CORNERSVILLE                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR OR ALDERMEN
         118 SOUTH MAIN STREET                                 ACCOUNT NO.:
         PO BOX 128                                            NOT AVAILABLE
         CORNERVILLE, TN 37047



3.7626   TOWN OF COVENTRY                                         8/13/2018                   Opioid Matter              UNDETERMINED
         JAMES A. HARTLEY JR.
         500 CHASE PARKWAY                                     ACCOUNT NO.:
         WATERBURY, CT 06708                                   NOT AVAILABLE



3.7627   TOWN OF COVENTRY, RI                                     3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN MANAGER
         1670 FLAT RIVER ROAD                                  ACCOUNT NO.:
         COVENTRY, RI 02816                                    NOT AVAILABLE



3.7628   TOWN OF CUMBERLAND GAP                                  UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         P.O. BOX 770                                          ACCOUNT NO.:
         TAZEWELL, TN 37879                                    NOT AVAILABLE



3.7629   TOWN OF CUMBERLAND GAP                                  UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         330 COLWYN AVENUE                                     ACCOUNT NO.:
         P.O. BOX 78                                           NOT AVAILABLE
         CUMBERLAND GAP, TN 37724



3.7630   TOWN OF CUMBERLAND, RI                                   3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         45 BROAD STREET                                       ACCOUNT NO.:
         CUMBERLAND, RI 02864                                  NOT AVAILABLE



3.7631   TOWN OF DANDRIDGE                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR & CITY ATTORNEY
         131 EAST MAIN STREET                                  ACCOUNT NO.:
         PO BOX 249                                            NOT AVAILABLE
         DANDRIDGE, TN 37725




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7632   TOWN OF DANVERS                                          6/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: TOWN TREASURER/COLLECTOR, TOWN CLERK,
         TOWN COUNSEL                                          ACCOUNT NO.:
         DANVERS TOWN HALL                                     NOT AVAILABLE
         1 SYLVAN STREET
         DANVERS, MA 01923



3.7633   TOWN OF DANVILLE, INDIANA                                3/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF TOWN COUNCIL
         49 NORTH WAYNE STREET                                 ACCOUNT NO.:
         DANVILLE, IN 46122                                    NOT AVAILABLE



3.7634   TOWN OF DANVILLE, INDIANA                                3/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: CURTIS T. HILL, JR.
         STATE OF INDIANA ATTORNEY GENERAL                     ACCOUNT NO.:
         INDIANA GOVERNMENT CENTER SOUTH - 5TH FLOOR -         NOT AVAILABLE
         302 WEST WASHINGTON STREET
         INDIANAPOLIS, IN 46204



3.7635   TOWN OF DECATUR                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         116 NORTH MAIN STREET                                 ACCOUNT NO.:
         DECATUR, TN 37322                                     NOT AVAILABLE



3.7636   TOWN OF DECATUR                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         PO BOX 533                                            ACCOUNT NO.:
         ATHENS, TN 37371                                      NOT AVAILABLE



3.7637   TOWN OF DEDHAM, MASSACHUSETTS                           12/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN TREASURER/COLLECTOR, TOWN CLERK
         DEDHAM TOWN HALL                                      ACCOUNT NO.:
         26 BRYANT STREET                                      NOT AVAILABLE
         DEDHAM, MA 02026



3.7638   TOWN OF DEDHAM, MASSACHUSETTS                           12/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF SELECTMEN, TOWN
         COUNSEL                                               ACCOUNT NO.:
         DEDHAM TOWN HALL                                      NOT AVAILABLE
         26 BRYANT STREET
         DEDHAM, MA 02026



3.7639   TOWN OF DENNIS, MASSACHUSETTS                            2/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: TOWN TREASURER/COLLECTOR, TOWN CLERK
         DENNIS MASSACHUSETTS                                  ACCOUNT NO.:
         685 ROUTE 134                                         NOT AVAILABLE
         SOUTH DENNIS, MA 02660



3.7640   TOWN OF DERRY, NEW HAMPSHIRE                             4/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN COUNCIL AND TOWN CLERK
         14 MANNING STREET                                     ACCOUNT NO.:
         DERRY, NH 03038                                       NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.7641   TOWN OF DOUBLE SPRINGS, ALABAMA, A MUNICIPAL             5/25/2018                   Opioid Matter              UNDETERMINED
         CORPORATION
         ATTN: STEVE MARSHALL                                  ACCOUNT NO.:
         STATE OF ALABAMA ATTORNEY GENERAL                     NOT AVAILABLE
         501 WASHINGTON AVE. - P.O. BOX 300152
         MONTGOMERY, AL 36130-0152



3.7642   TOWN OF DOUBLE SPRINGS, ALABAMA, A MUNICIPAL             5/25/2018                   Opioid Matter              UNDETERMINED
         CORPORATION
         ATTN: MAYOR                                           ACCOUNT NO.:
         21 MAIN STREET                                        NOT AVAILABLE
         DOUBLE SPRINGS, AL 35553



3.7643   TOWN OF DOUBLE SPRINGS, ALABAMA, A MUNICIPAL             5/25/2018                   Opioid Matter              UNDETERMINED
         CORPORATION
         ATTN: MAYOR OR CLERK                                  ACCOUNT NO.:
         PO BOX 279                                            NOT AVAILABLE
         DOUBLE SPRINGS, AL 35553



3.7644   TOWN OF DOUGLAS                                          5/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN TREASURER AND TOWN CLERK
         THE TOWN OF DOUGLAS MUNICIPAL CENTER                  ACCOUNT NO.:
         29 DEPOT STREET                                       NOT AVAILABLE
         DOUGLAS, MA 01516



3.7645   TOWN OF DOUGLAS, AL                                      2/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND TOWN CLERK
         55 ALABAMA HIGHWAY 168                                ACCOUNT NO.:
         DOUGLAS, AL 35964                                     NOT AVAILABLE



3.7646   TOWN OF DOUGLAS, AL                                      2/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         P. O. BOX 45                                          ACCOUNT NO.:
         DOUGLAS, AL 35964                                     NOT AVAILABLE



3.7647   TOWN OF DOUGLAS, AL                                      2/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.7648   TOWN OF DOUGLAS, AL                                      2/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND TOWN CLERK
         55 ALABAMA HIGHWAY 168                                ACCOUNT NO.:
         DOUGLAS, AL 35964                                     NOT AVAILABLE



3.7649   TOWN OF DOWELLTOWN                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND BOARD OF ALDERMEN
         PO BOX 100                                            ACCOUNT NO.:
         DOWELLTOWN, TN 37059                                  NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.7650   TOWN OF DOWELLTOWN                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         124 WEST MAIN STREET                                  ACCOUNT NO.:
         SMITHVILLE, TN 37166                                  NOT AVAILABLE



3.7651   TOWN OF DOYLE                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         158 WOMACK STREET                                     ACCOUNT NO.:
         DOYLE, TN 38559                                       NOT AVAILABLE



3.7652   TOWN OF DUDLEY                                           5/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN TREASURER AND TOWN CLERK
         TOWN OF DUDLEY TOWN HALL                              ACCOUNT NO.:
         71 WEST MAIN STREET                                   NOT AVAILABLE
         DUDLEY, MA 01571



3.7653   TOWN OF EAST BRIDGEWATER                                 5/17/2018                   Opioid Matter              UNDETERMINED
         175 CENTRAL STREET
         PO BOX 387                                            ACCOUNT NO.:
         EAST BRIDGEWATER, MA 02333-0000                       NOT AVAILABLE



3.7654   TOWN OF EAST BRIDGEWATER                                 5/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN TREASURER AND TOWN CLERK
         175 CENTRAL STREET                                    ACCOUNT NO.:
         P.O. BOX 386                                          NOT AVAILABLE
         EAST BRIDGEWATER, MA 02333-0000



3.7655   TOWN OF EAST GREENWICH                                   3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK AND TOWN MANAGER
         125 MAIN STREET                                       ACCOUNT NO.:
         2ND FLOOR                                             NOT AVAILABLE
         EAST GREENWICH, RI 02818



3.7656   TOWN OF EAST GREENWICH                                   3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK AND TOWN MANAGER
         125 MAIN STREET                                       ACCOUNT NO.:
         2ND FLOOR                                             NOT AVAILABLE
         EAST GREENWICH, RI 02818



3.7657   TOWN OF EAST GREENWICH                                   3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK AND TOWN MANAGER
         TOWN CLERK                                            ACCOUNT NO.:
         P.O. BOX 111                                          NOT AVAILABLE
         EAST GREENWICH, RI 02818



3.7658   TOWN OF EAST HARTFORD                                    1/9/2018                    Opioid Matter              UNDETERMINED
         JAMES E. HARTLEY JR.
         500 CHASE PARKWAY                                     ACCOUNT NO.:
         WATERBURY, CT 06708                                   NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7659   TOWN OF EAST HARTFORD                                    1/9/2018                    Opioid Matter              UNDETERMINED
         THOMAS SHERIDAN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.7660   TOWN OF EAST HARTFORD                                    1/9/2018                    Opioid Matter              UNDETERMINED
         SARAH S. BURNS
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002



3.7661   TOWN OF EAST HARTFORD                                    1/9/2018                    Opioid Matter              UNDETERMINED
         PAUL J. HANLY JR.
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE - 7TH FLOOR                        NOT AVAILABLE
         NEW YORK, NY 10016



3.7662   TOWN OF EAST HARTFORD                                    1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         740 MAIN STREET                                       ACCOUNT NO.:
         EAST HARTFORD, CT 06108                               NOT AVAILABLE



3.7663   TOWN OF EAST HARTFORD                                    1/9/2018                    Opioid Matter              UNDETERMINED
         400 ORANGE STREET
         CLENDENEN & SHEA LLC                                  ACCOUNT NO.:
         NEW HAVEN, CT 06511                                   NOT AVAILABLE



3.7664   TOWN OF EAST HARTFORD                                    1/9/2018                    Opioid Matter              UNDETERMINED
         CHARLES S. HELLMAN
         1177 AVENUE OF THE AMERICAS                           ACCOUNT NO.:
         44TH FLOOR                                            NOT AVAILABLE
         NEW YORK, NY 10036



3.7665   TOWN OF EAST HARTFORD                                    1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: ANDREA BIERSTEIN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.7666   TOWN OF EASTHAM                                          6/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN TREASURER AND TOWN CLERK
         2500 STATE HIGHWAY                                    ACCOUNT NO.:
         EASTHAM, MA 02642                                     NOT AVAILABLE



3.7667   TOWN OF ENFIELD                                          4/9/2019                    Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         820 ENFIELD STREET                                    ACCOUNT NO.:
         ENFIELD, CT 06082                                     NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7668   TOWN OF ENGLEWOOD                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         111 SOUTH NIOTA ROAD                                  ACCOUNT NO.:
         PO BOX 150                                            NOT AVAILABLE
         ENGLEWOOD, TN 37329



3.7669   TOWN OF ENGLEWOOD                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         PO BOX 804                                            ACCOUNT NO.:
         ETOWAH, TN 37331-0804                                 NOT AVAILABLE



3.7670   TOWN OF ERWIN                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 59                                             ACCOUNT NO.:
         211 NORTH MAIN STREET                                 NOT AVAILABLE
         ERWIN, TN 37650



3.7671   TOWN OF ERWIN                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         THE SEELEY LAW FIRM                                   ACCOUNT NO.:
         109 EAST MAIN STREET - SUITE 201                      NOT AVAILABLE
         JONESBOROUGH, TN 37659



3.7672   TOWN OF ESTILL SPRINGS                                  UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         705 DINAH SHORE BOULEVARD                             ACCOUNT NO.:
         WINCHESTER, TN 37398                                  NOT AVAILABLE



3.7673   TOWN OF ESTILL SPRINGS                                  UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO DRAWER 100                                         ACCOUNT NO.:
         ESTILL SPRINGS, TN 37330                              NOT AVAILABLE



3.7674   TOWN OF ETHRIDGE                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY ATTORNEY OR CITY JUDGE
         PO BOX 173                                            ACCOUNT NO.:
         ETHRIDGE, TN 38456                                    NOT AVAILABLE



3.7675   TOWN OF FAIRFIELD                                        1/9/2018                    Opioid Matter              UNDETERMINED
         CHARLES S. HELLMAN
         1177 AVENUE OF THE AMERICAS                           ACCOUNT NO.:
         44TH FLOOR                                            NOT AVAILABLE
         NEW YORK, NY 10036



3.7676   TOWN OF FAIRFIELD                                        1/9/2018                    Opioid Matter              UNDETERMINED
         JAMES E. HARTLEY JR.
         500 CHASE PARKWAY                                     ACCOUNT NO.:
         WATERBURY, CT 06708                                   NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7677   TOWN OF FAIRFIELD                                        1/9/2018                    Opioid Matter              UNDETERMINED
         PAUL J. HANLY JR.
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE, 7TH FLOOR                         NOT AVAILABLE
         NEW YORK, NY 10016



3.7678   TOWN OF FAIRFIELD                                        1/9/2018                    Opioid Matter              UNDETERMINED
         THOMAS SHERIDAN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.7679   TOWN OF FAIRFIELD                                        1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: ANDREA BIERSTEIN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.7680   TOWN OF FAIRFIELD                                        1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         OLD TOWN HALL                                         ACCOUNT NO.:
         611 OLD POST ROAD                                     NOT AVAILABLE
         FAIRFIELD, CT 06824



3.7681   TOWN OF FAIRFIELD                                        1/9/2018                    Opioid Matter              UNDETERMINED
         SARAH S. BURNS
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002



3.7682   TOWN OF FAIRFIELD                                        1/9/2018                    Opioid Matter              UNDETERMINED
         400 ORANGE STREET
         CLENDENEN & SHEA LLC                                  ACCOUNT NO.:
         NEW HAVEN, CT 06511                                   NOT AVAILABLE



3.7683   TOWN OF FAIRHAVEN, MASSACHUSETTS                         1/23/2019                   Opioid Matter              UNDETERMINED
         ATTN: TOWN TREASURER OR TOWN CLERK
         TOWN HALL                                             ACCOUNT NO.:
         40 CENTER STREET                                      NOT AVAILABLE
         FAIRHAVEN, MA 02719-0000



3.7684   TOWN OF FALMOUTH                                         8/28/2018                   Opioid Matter              UNDETERMINED
         59 TOWN HALL SQUARE
         FALMOUTH, MA 02541                                    ACCOUNT NO.:
                                                               NOT AVAILABLE


3.7685   TOWN OF FALMOUTH                                         8/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN TREASURER AND TOWN CLERK
         59 TOWN HALL SQUARE                                   ACCOUNT NO.:
         MAIN FLOOR IN TOWN HALL                               NOT AVAILABLE
         FALMOUTH, MA 02540




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7686   TOWN OF FALMOUTH                                         8/28/2018                   Opioid Matter              UNDETERMINED
         59 TOWN HALL SQUARE
         MAIN FLOOR IN TOWN HALL                               ACCOUNT NO.:
         FALMOUTH, MA 02540                                    NOT AVAILABLE



3.7687   TOWN OF FARRAGUT                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY ATTORNEY
         11408 MUNICPAL CENTER DRIVE                           ACCOUNT NO.:
         FARRAGUT, TN 37934                                    NOT AVAILABLE



3.7688   TOWN OF FERRIDAY, LOUISIANA                             10/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         1116 2ND ST                                           ACCOUNT NO.:
         FERRIDAY, LA 71334                                    NOT AVAILABLE



3.7689   TOWN OF FORT DEPOSIT, ALABAMA                            6/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.7690   TOWN OF FORT DEPOSIT, ALABAMA                            6/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR; TOWN COUNCIL; CLERK
         260 OLD FORT ROAD                                     ACCOUNT NO.:
         FORT DEPOSIT, AL 36032                                NOT AVAILABLE



3.7691   TOWN OF FORT GAY, WEST VIRGINIA                          3/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CHAIRPERSON, BOARD OF COUNCILS
         AND RECORDER                                          ACCOUNT NO.:
         3407 WAYNE STREET                                     NOT AVAILABLE
         FORT GAY, WV 25514



3.7692   TOWN OF FOSTER                                           3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK AND TOWN COUNCIL
         FOSTER TOWN HALL                                      ACCOUNT NO.:
         181 HOWARD HILL ROAD                                  NOT AVAILABLE
         FOSTER, RI 02825-0000



3.7693   TOWN OF FREETOWN                                         5/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN TREASURER AND TOWN CLERK
         TOWN HALL, 1ST FLOOR                                  ACCOUNT NO.:
         3 NORTH MAIN STREET - P.O. BOX 438                    NOT AVAILABLE
         ASSONET, MA 02702-0000



3.7694   TOWN OF FREETOWN                                         5/17/2018                   Opioid Matter              UNDETERMINED
         3 NORTH MAIN ST
         P O BOX 438                                           ACCOUNT NO.:
         ASSONET, MA 02702                                     NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7695   TOWN OF GEORGETOWN                                       6/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN TREASURER OR TOWN CLERK
         TOWN HALL                                             ACCOUNT NO.:
         1 LIBRARY STREET                                      NOT AVAILABLE
         GEORGETOWN, MA 01833-0000



3.7696   TOWN OF GERALDINE, ALABAMA                               6/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.7697   TOWN OF GERALDINE, ALABAMA                               6/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR, TOWN OF GERALDINE AND TOWN CLERK
         PO BOX 183                                            ACCOUNT NO.:
         GERALDINE, AL 35974                                   NOT AVAILABLE



3.7698   TOWN OF GLOCESTER                                        3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK AND TOWN COUNCIL
         GLOCESTER TOWN HALL                                   ACCOUNT NO.:
         P.O. BOX B                                            NOT AVAILABLE
         CHEPACHET, RI 02814-0702



3.7699   TOWN OF GLOCESTER                                        3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK AND TOWN COUNCIL
         TOWN HALL                                             ACCOUNT NO.:
         1145 PUTNAM PIKE                                      NOT AVAILABLE
         CHEPACHET, RI 02814



3.7700   TOWN OF GRAFTON                                          6/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: TOWN TREASURER AND TOWN CLERK
         GRAFTON MEMORIAL MUNICIPAL CENTER                     ACCOUNT NO.:
         30 PROVIDENCE ROAD                                    NOT AVAILABLE
         GRAFTON, MA 01519



3.7701   TOWN OF GRANT, AL                                        2/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.7702   TOWN OF GRANT, AL                                        2/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CLERK
         4766 MAIN STREET                                      ACCOUNT NO.:
         GRANT, AL 35747                                       NOT AVAILABLE



3.7703   TOWN OF GRAYSVILLE                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         136 HARRISON AVE                                      ACCOUNT NO.:
         GRAYSVILLE, TN 37338                                  NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7704   TOWN OF GRAYSVILLE                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         264 THIRD AVENUE                                      ACCOUNT NO.:
         PIKEVILLE, TN 37321                                   NOT AVAILABLE



3.7705   TOWN OF GREENEVILLE                                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         200 NORTH COLLEGE STREET                              ACCOUNT NO.:
         GREENVILLE, TN 37745                                  NOT AVAILABLE



3.7706   TOWN OF GREENEVILLE                                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         PO BOX 1060                                           ACCOUNT NO.:
         GREENVILLE, TN 37744                                  NOT AVAILABLE



3.7707   TOWN OF HAMMONDVILLE, ALABAMA                            3/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         CITY HALL HAMMONDVILLE                                ACCOUNT NO.:
         37669 U.S. HIGHWAY 11                                 NOT AVAILABLE
         HAMMONDVILLE, AL 35989



3.7708   TOWN OF HAMMONDVILLE, ALABAMA                            3/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.7709   TOWN OF HANSON                                           5/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK AND TOWN TREASURER
         TOWN HALL                                             ACCOUNT NO.:
         542 LIBERTY STREET - FIRST FLOOR                      NOT AVAILABLE
         HANSON, MA 02341



3.7710   TOWN OF HARRISVILLE                                      5/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR OR MEMBERS OF COUNCIL
         1501 E. MAIN ST.                                      ACCOUNT NO.:
         HARRISVILLE, WV 26362                                 NOT AVAILABLE



3.7711   TOWN OF HARRISVILLE                                      5/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR OR MEMBERS OF COUNCIL
         P.O. BOX 243                                          ACCOUNT NO.:
         HARRISVILLE, WV 26362                                 NOT AVAILABLE



3.7712   TOWN OF HOLLISTON                                        7/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK AND TREASURER
         TOWN HALL                                             ACCOUNT NO.:
         703 WASHINGTON STREET                                 NOT AVAILABLE
         HOLLISTON, MA 01746




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7713   TOWN OF HOPEDALE                                         5/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         TOWN HALL                                             ACCOUNT NO.:
         74 HOPEDALE STREET                                    NOT AVAILABLE
         HOPEDALE, MA 01747



3.7714   TOWN OF HOPEDALE                                         5/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         78 HOPEDALE STREET                                    ACCOUNT NO.:
         HOPEDALE, MA 01747                                    NOT AVAILABLE



3.7715   TOWN OF HOPKINTON, RI                                    3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK AND TOWN MANAGER
         TOWN HALL                                             ACCOUNT NO.:
         18 MAIN STREET                                        NOT AVAILABLE
         HOPKINTON, RI 01748



3.7716   TOWN OF HUDSON                                           1/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, TOWN MANAGER, AND TOWN CLERK
         50 SOUTH BEECH STREET                                 ACCOUNT NO.:
         HUDSON, CO 80642                                      NOT AVAILABLE



3.7717   TOWN OF HUDSON                                           1/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, TOWN MANAGER, TOWN CLERK
         50 S. BEECH STREET                                    ACCOUNT NO.:
         P.O. BOX 351                                          NOT AVAILABLE
         HUDSON, CO 80642



3.7718   TOWN OF HUDSON                                           1/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: PHIL WEISER
         STATE OF COLORADO ATTORNEY GENERAL                    ACCOUNT NO.:
         RALPH L. CARR COLORADO JUDICIAL CENTER - 1300         NOT AVAILABLE
         BROADWAY, 10TH FLOOR
         DENVER, CO 80203



3.7719   TOWN OF HUNTLAND                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         300 SOUTH COLLEGE STREET                              ACCOUNT NO.:
         WINCHESTER, TN 37398                                  NOT AVAILABLE



3.7720   TOWN OF HUNTLAND                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         100 BANKS STEET                                       ACCOUNT NO.:
         PO DRAWER H                                           NOT AVAILABLE
         HUNTLAND, TN 37345



3.7721   TOWN OF HUNTSVILLE                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         3053 BAKER HIGHWAY                                    ACCOUNT NO.:
         HUNTSVILLE, TN 37756                                  NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7722   TOWN OF JACKSBORO                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 1391                                           ACCOUNT NO.:
         JACKSBORO, TN 37766                                   NOT AVAILABLE



3.7723   TOWN OF JACKSBORO                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         585 MAIN STREET                                       ACCOUNT NO.:
         P.O. BOX 75                                           NOT AVAILABLE
         JACKSBORO, TN 37757



3.7724   TOWN OF JAMESTOWN, A MUNICIPAL CORPORATION               3/26/2018                   Opioid Matter              UNDETERMINED
         C/O PETER D. RUGGIERO
         20 CENTERVILLE ROAD                                   ACCOUNT NO.:
         WARWICK, RI 02886                                     NOT AVAILABLE



3.7725   TOWN OF JAMESTOWN, A MUNICIPAL CORPORATION               3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK AND TOWN MANAGER
         TOWN HALL                                             ACCOUNT NO.:
         93 NARRAGANSETT AVENUE - 1ST FLOOR                    NOT AVAILABLE
         JAMESTOWN, RI 02835-0000



3.7726   TOWN OF JASPER                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         SWAFFOR, JENKINS & RAINES                             ACCOUNT NO.:
         32 COURTHOUSE SQUARE                                  NOT AVAILABLE
         JASPER, TN 37347



3.7727   TOWN OF JASPER                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         4460 MAIN STREET                                      ACCOUNT NO.:
         JASPER, TN 37347                                      NOT AVAILABLE



3.7728   TOWN OF JOHNSTON, RI                                     3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK AND TOWN COUNCIL
         TOWN HALL                                             ACCOUNT NO.:
         1385 HARTFORD AVENUE                                  NOT AVAILABLE
         JOHNSTON, RI 02919



3.7729   TOWN OF KIMBALL                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: TOWN ATTORNEY
         675 MAIN STREET                                       ACCOUNT NO.:
         KIMBALL, TN 37347                                     NOT AVAILABLE



3.7730   TOWN OF KIMBALL                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         675 MAIN STREET                                       ACCOUNT NO.:
         KIMBALL, TN 37347                                     NOT AVAILABLE



3.7731   TOWN OF LAKE PROVIDENCE, LOUISIANA                       8/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         201 SPARROW STREET                                    ACCOUNT NO.:
         LAKE PROVIDENCE, LA 71254                             NOT AVAILABLE


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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7732   TOWN OF LAKEVILLE                                        5/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK AND TREASURER
         346 BEDFORD STREET                                    ACCOUNT NO.:
         LAKEVILLE, MA 02347                                   NOT AVAILABLE



3.7733   TOWN OF LEICESTER                                        5/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK AND TOWN TREASURER
         3 WASHBURN SQUARE                                     ACCOUNT NO.:
         LEICHESTER, MA 01524                                  NOT AVAILABLE



3.7734   TOWN OF LEIGHTON, ALABAMA                                3/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         8900 MAIN STREET                                      ACCOUNT NO.:
         LEIGHTON, AL 35646                                    NOT AVAILABLE



3.7735   TOWN OF LEIGHTON, ALABAMA                                3/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.7736   TOWN OF LEVERETT                                         6/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: TOWN TREASURER/TAX COLLECTOR
         PO BOX 300                                            ACCOUNT NO.:
         LEVERETT, MA 01054                                    NOT AVAILABLE



3.7737   TOWN OF LEVERETT                                         6/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK AND TOWN TREASURER/TAX
         COLLECTOR                                             ACCOUNT NO.:
         9 MONTAGUE ROAD                                       NOT AVAILABLE
         LEVERETT, MA 01054



3.7738   TOWN OF LIBERTY                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND BOARD OF ALDERMEN
         MAIN STREET                                           ACCOUNT NO.:
         PO BOX 8                                              NOT AVAILABLE
         LIBERTY, TN 37095



3.7739   TOWN OF LIVINGSTON                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND BOARD OF ALDERMEN
         LIVINGSTON CITY HALL                                  ACCOUNT NO.:
         301 MCHENRY CIRCLE                                    NOT AVAILABLE
         LIVINGSTON, TN 38570



3.7740   TOWN OF LONDONDERRY, NEW HAMPSHIRE                       5/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN COUNCIL, TOWN CLERK
         268B MAMMOTH ROAD                                     ACCOUNT NO.:
         LONDONDERRY, NH 03053                                 NOT AVAILABLE



3.7741   TOWN OF LONGMEADOW                                       8/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK AND TOWN TREASURER
         20 WILLIAMS STREET                                    ACCOUNT NO.:
         LONGMEADOW, MA 01106                                  NOT AVAILABLE


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Code                                                 And Account Number                          Claim

Litigation

3.7742   TOWN OF LOUDON                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR, AND CITY ATTORNEY
         2480 HIGHWAY 72 NORTH                                 ACCOUNT NO.:
         LOUDON, TN 37774                                      NOT AVAILABLE



3.7743   TOWN OF LUDLOW                                           7/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: TREASURER OR TOWN CLERK
         TOWN HALL                                             ACCOUNT NO.:
         2ND FLOOR - 488 CHAPIN STREET                         NOT AVAILABLE
         LUDLOW, MA 01056



3.7744   TOWN OF LUNENBERG                                        9/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER OR TOWN CLERK
         TOWN HALL                                             ACCOUNT NO.:
         17 MAIN STREET - P.O. BOX 135                         NOT AVAILABLE
         LUNENBERG, MA 01462



3.7745   TOWN OF LYNNFIELD                                        12/3/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK AND TOWN TREASURER
         55 SUMMER STREET                                      ACCOUNT NO.:
         LYNNFIELD, MA 01940                                   NOT AVAILABLE



3.7746   TOWN OF LYNNFIELD                                        12/3/2018                   Opioid Matter              UNDETERMINED
         JUDITH SCOFNICK, ESQ.
         SCOTT + SCOTT ATTORNEYS AT LAW LLP                    ACCOUNT NO.:
         THE HELMSLEY BUILDING - 230 PARK AVENUE, 17TH         NOT AVAILABLE
         FLOOR
         NEW YORK, NY 10169



3.7747   TOWN OF LYNNFIELD                                        12/3/2018                   Opioid Matter              UNDETERMINED
         ATTN: ARTHUR PAUL KRIEGER, ESQ.
         ANDERSON & KRIEGER LLP                                ACCOUNT NO.:
         50 MILK STREET - 21ST FLOOR                           NOT AVAILABLE
         BOSTON, MA 02109



3.7748   TOWN OF LYNNFIELD                                        12/3/2018                   Opioid Matter              UNDETERMINED
         CHRISTINA MARSHALL, ESQ.
         ANDERSON & KRIEGER LLP                                ACCOUNT NO.:
         50 MILK STREET - 21ST FLOOR                           NOT AVAILABLE
         BOSTON, MA 02109



3.7749   TOWN OF LYNNVILLE                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: TOWN ATTORNEY
         TULL LAW FIRM                                         ACCOUNT NO.:
         SPEDALE COURT - SUITE 1                               NOT AVAILABLE
         SPRING HILL, TN 37174



3.7750   TOWN OF LYNNVILLE                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         151 MILL STREET                                       ACCOUNT NO.:
         PO BOX 158                                            NOT AVAILABLE
         LYNNVILLE, TN 38472




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Code                                                 And Account Number                          Claim

Litigation

3.7751   TOWN OF MADISONVILLE                                     8/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND TOWN CLERK
         403 SAINT FRANCIS STREET                              ACCOUNT NO.:
         MADISONVILLE, LA 70447                                NOT AVAILABLE



3.7752   TOWN OF MARBLEHEAD                                       6/8/2018                    Opioid Matter              UNDETERMINED
         MARY ALLEY MUNICIPAL BUILDING
         7 WIDGER ROAD                                         ACCOUNT NO.:
         MARBLEHEAD, MA 01945                                  NOT AVAILABLE



3.7753   TOWN OF MARBLEHEAD                                       6/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         188 WASHINGTON STREET                                 ACCOUNT NO.:
         MARBLEHEAD, MA 01945                                  NOT AVAILABLE



3.7754   TOWN OF MARSHFIELD                                       6/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: TREASURER OR TOWN CLERK
         TOWN HALL                                             ACCOUNT NO.:
         870 MORAINE STREET                                    NOT AVAILABLE
         MARSHFIELD, MA 02050



3.7755   TOWN OF MASHPEE                                          6/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: TREASURER OR TOWN CLERK
         16 GREAT NECK ROAD NORTH                              ACCOUNT NO.:
         MASHPEE, MA 02649                                     NOT AVAILABLE



3.7756   TOWN OF MATTAPOISETT                                     6/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER OR TOWN CLERK
         16 MAIN STREET                                        ACCOUNT NO.:
         MATTAPOISETT, MA 02739                                NOT AVAILABLE



3.7757   TOWN OF MCKENZIE, AL                                     3/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.7758   TOWN OF MCKENZIE, AL                                     3/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         CITY OF GREENVILLE                                    ACCOUNT NO.:
         119 EAST COMMERCE STREET                              NOT AVAILABLE
         GREENVILLE, AL 36037



3.7759   TOWN OF MIDDLEBOROUGH                                   10/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         20 CENTRE STREET (TOWN HALL ANNEX - EASTERN           ACCOUNT NO.:
         BANK)                                                 NOT AVAILABLE
         1ST FLOOR
         MIDDLEBOROUGH, MA 02346




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7760   TOWN OF MIDDLEBOROUGH                                   10/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         20 CENTER STREET                                      ACCOUNT NO.:
         3RD FLOOR                                             NOT AVAILABLE
         MIDDLEBOROUGH, MA 02346



3.7761   TOWN OF MIDDLEBURY                                       8/13/2018                   Opioid Matter              UNDETERMINED
         JAMES E. HARTLEY JR.
         500 CHASE PARKWAY                                     ACCOUNT NO.:
         WATERBURY, CT 06708                                   NOT AVAILABLE



3.7762   TOWN OF MIDDLETOWN, RHODE ISLAND, A MUNICIPAL            3/26/2018                   Opioid Matter              UNDETERMINED
         CORPORATION
         ATTN: TOWN CLERK AND TOWN COUNCIL                     ACCOUNT NO.:
         TOWN HALL                                             NOT AVAILABLE
         350 EAST MAIN ROAD
         MIDDLETOWN, RI 02842



3.7763   TOWN OF MILFORD                                          6/11/2018                   Opioid Matter              UNDETERMINED
         TOWN HALL
         52 MAIN STREET                                        ACCOUNT NO.:
          - ROOM 12                                            NOT AVAILABLE
         MILFORD, MA 01757



3.7764   TOWN OF MILFORD                                          6/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN TREASURER
         TOWN HALL                                             ACCOUNT NO.:
         52 MAIN STREET - ROOM 18                              NOT AVAILABLE
         MILFORD, MA 01757



3.7765   TOWN OF MILFORD                                          6/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         TOWN HALL                                             ACCOUNT NO.:
         52 MAIN STREET, ROOM 12                               NOT AVAILABLE
         MILFORD, MA 01757



3.7766   TOWN OF MONROE, CONNECTICUT                              6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK AND FIRST SELECTMAN
         TOWN HALL                                             ACCOUNT NO.:
         7 FAN HILL ROAD                                       NOT AVAILABLE
         MONROE, CT 06468



3.7767   TOWN OF MONTEAGLE                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 127                                            ACCOUNT NO.:
         MONTEAGLE, TN 37356                                   NOT AVAILABLE



3.7768   TOWN OF MONTEAGLE                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         100 LAWYERS BUILDING                                  ACCOUNT NO.:
         JASPER, TN 37347                                      NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7769   TOWN OF MONTEAGLE                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         100 LAWYERS BUILDING                                  ACCOUNT NO.:
         JASPER, TN 37347                                      NOT AVAILABLE



3.7770   TOWN OF MONTEAGLE                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         P.O. BOX 136                                          ACCOUNT NO.:
         MONTEAGLE, TN 37356                                   NOT AVAILABLE



3.7771   TOWN OF MONTEREY                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         302 EAST COMMERCIAL AVENUE                            ACCOUNT NO.:
         MONTEREY, TN 38574                                    NOT AVAILABLE



3.7772   TOWN OF MONTEREY                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         302 EAST COMMERCIAL AVENUE                            ACCOUNT NO.:
         MONTEREY, TN 38574                                    NOT AVAILABLE



3.7773   TOWN OF MOORESVILLE, INDIANA                            12/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: CURTIS T. HILL, JR.
         STATE OF INDIANA ATTORNEY GENERAL                     ACCOUNT NO.:
         INDIANA GOVERNMENT CENTER SOUTH - 5TH FLOOR -         NOT AVAILABLE
         302 WEST WASHINGTON STREET
         INDIANAPOLIS, IN 46204



3.7774   TOWN OF MOORESVILLE, INDIANA                            12/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF TOWN COUNCIL
         4 EAST HARRISON ST.                                   ACCOUNT NO.:
         MOORESVILLE, IN 46158                                 NOT AVAILABLE



3.7775   TOWN OF MORRISON                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         130 W MAPLE STREET                                    ACCOUNT NO.:
         MORRISON, TN 37357                                    NOT AVAILABLE



3.7776   TOWN OF MORRISON                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         104 NORTH CHURCH STREET                               ACCOUNT NO.:
         MURFREESBORO, TN 37130                                NOT AVAILABLE



3.7777   TOWN OF MOSHEIM                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         401 WEST IRISH STREET                                 ACCOUNT NO.:
         GREENEVILLE, TN 37743                                 NOT AVAILABLE



3.7778   TOWN OF MOSHEIM                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         TOWN HALL                                             ACCOUNT NO.:
         1000 MAIN STREET                                      NOT AVAILABLE
         MOSHEIM, TN 37818-4010



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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7779   TOWN OF MOUNT CARMEL                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         100 MAIN STREET EAST                                  ACCOUNT NO.:
         PO BOX 1421                                           NOT AVAILABLE
         MOUNT CARMEL, TN 37645



3.7780   TOWN OF MOUNT CARMEL                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         MILLIGAN & COLEMAN, PLLP                              ACCOUNT NO.:
         PO BOX 1060 - 230 WEST DEPOT STREET                   NOT AVAILABLE
         GREENVILLE, TN 37743



3.7781   TOWN OF MOUNT PLEASANT                                   8/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: MARGARET E. CORDNER
         MARC J. BERN & PARTNERS LLP                           ACCOUNT NO.:
         ONE GRAND CENTRAL PLACE - 60 EAST 42ND STREET,        NOT AVAILABLE
         SUITE 950
         NEW YORK, NY 10165



3.7782   TOWN OF MOUNT PLEASANT                                   8/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: JOSEPH J. CAPPELLI
         MARC J. BERN & PARTNERS LLP                           ACCOUNT NO.:
         ONE GRAND CENTRAL PLACE - 60 EAST 42ND STREET,        NOT AVAILABLE
         SUITE 950
         NEW YORK, NY 10165



3.7783   TOWN OF MOUNT PLEASANT                                   8/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: MARC J. BERN, JOSEPH J. CAPPELLI, MARGARET
         E. CORDNER, CARMEN A. DE GISI                         ACCOUNT NO.:
         MARC J. BERN & PARTNERS LLP                           NOT AVAILABLE
         ONE GRAND CENTRAL PLACE - 60 EAST 42ND STREET,
         SUITE 950
         NEW YORK, NY 10165



3.7784   TOWN OF MOUNT PLEASANT                                   8/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: SANDRA J. SENN
         SENN LEGAL, LLC                                       ACCOUNT NO.:
         P.O. BOX 12279                                        NOT AVAILABLE
         CHARLESTON, SC 29422



3.7785   TOWN OF MOUNT PLEASANT                                   8/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: TOWN SOLICITOR
         100 ANN EDWARDS LANE                                  ACCOUNT NO.:
         MOUNT PLEASANT, SC 29464                              NOT AVAILABLE



3.7786   TOWN OF MOUNT PLEASANT                                   8/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: CARMEN A. DE GISI
         MARC J. BERN & PARTNERS LLP                           ACCOUNT NO.:
         ONE GRAND CENTRAL PLACE - 60 EAST 42ND STREET,        NOT AVAILABLE
         SUITE 950
         NEW YORK, NY 10165




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Code                                                 And Account Number                          Claim

Litigation

3.7787   TOWN OF MUNFORD, ALABAMA, A MUNICIPAL                    5/29/2018                   Opioid Matter              UNDETERMINED
         CORPORATION
         ATTN: STEVE MARSHALL                                  ACCOUNT NO.:
         STATE OF ALABAMA ATTORNEY GENERAL                     NOT AVAILABLE
         501 WASHINGTON AVE. - P.O. BOX 300152
         MONTGOMERY, AL 36130-0152



3.7788   TOWN OF MUNFORD, ALABAMA, A MUNICIPAL                    5/29/2018                   Opioid Matter              UNDETERMINED
         CORPORATION
         ATTN: MAYOR                                           ACCOUNT NO.:
         115 LIONS ROAD                                        NOT AVAILABLE
         MUNFORD, AL 36268



3.7789   TOWN OF NANTUCKET                                        5/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         16 BROAD STREET                                       ACCOUNT NO.:
         NANTUCKET, MA 02554                                   NOT AVAILABLE



3.7790   TOWN OF NANTUCKET                                        5/18/2018                   Opioid Matter              UNDETERMINED
         16 BROAD STREET
         NANTUCKET, MA 02554                                   ACCOUNT NO.:
                                                               NOT AVAILABLE


3.7791   TOWN OF NANTUCKET                                        5/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         37 WASHINGTON STREET                                  ACCOUNT NO.:
         NANTUCKET, MA 02554                                   NOT AVAILABLE



3.7792   TOWN OF NARRAGANSETT                                     3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK AND TOWN MANAGER
         TOWN HALL                                             ACCOUNT NO.:
         25 FIFTH AVE                                          NOT AVAILABLE
         NARRAGANSETT, RI 02882



3.7793   TOWN OF NATICK                                           3/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK; TREASURER
         NATICK TOWN HALL                                      ACCOUNT NO.:
         1ST FLOOR - 13 EAST CENTRAL STREET                    NOT AVAILABLE
         NATICK, MA 01760



3.7794   TOWN OF NEW DELHI, LOUISIANA                             8/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY MANAGER; MAYOR; CITY CLERK
         209 BROADWAY STREET                                   ACCOUNT NO.:
         DELHI, LA 71232                                       NOT AVAILABLE



3.7795   TOWN OF NEW MARKET                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         1024 VOLUNTEER STREET                                 ACCOUNT NO.:
         PO BOX 300                                            NOT AVAILABLE
         NEW MARKET, TN 37820




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Code                                                 And Account Number                          Claim

Litigation

3.7796   TOWN OF NEW MARKET                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         PO BOX 798                                            ACCOUNT NO.:
         DANDRIDGE, TN 37725                                   NOT AVAILABLE



3.7797   TOWN OF NEW MILFORD                                      8/13/2018                   Opioid Matter              UNDETERMINED
         JAMES A. HARTLEY JR.
         500 CHASE PARKWAY                                     ACCOUNT NO.:
         WATERBURY, CT 06708                                   NOT AVAILABLE



3.7798   TOWN OF NEW TAZEWELL                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         P.O. BOX 177                                          ACCOUNT NO.:
         TAZWELL, TN 37879                                     NOT AVAILABLE



3.7799   TOWN OF NEW TAZEWELL                                    UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         413 1ST AVENUE                                        ACCOUNT NO.:
         P.O. BOX 609                                          NOT AVAILABLE
         NEW TAZWELL, TN 37825



3.7800   TOWN OF NEWTOWN                                          1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         NEWTOWN MUNICIPAL CENTER                              ACCOUNT NO.:
         3 PRIMROSE STREET                                     NOT AVAILABLE
         NEWTOWN, CT 06470



3.7801   TOWN OF NEWTOWN                                          1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: ANDREA BIERSTEIN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.7802   TOWN OF NEWTOWN                                          1/9/2018                    Opioid Matter              UNDETERMINED
         SARAH S. BURNS
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002



3.7803   TOWN OF NEWTOWN                                          1/9/2018                    Opioid Matter              UNDETERMINED
         THOMAS SHERIDAN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.7804   TOWN OF NEWTOWN                                          1/9/2018                    Opioid Matter              UNDETERMINED
         PAUL J. HANLY JR.
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE - 7TH FLOOR                        NOT AVAILABLE
         NEW YORK, NY 10016




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7805   TOWN OF NEWTOWN                                          1/9/2018                    Opioid Matter              UNDETERMINED
         JAMES E. HARTLEY JR.
         500 CHASE PARKWAY                                     ACCOUNT NO.:
         WATERBURY, CT 06708                                   NOT AVAILABLE



3.7806   TOWN OF NEWTOWN                                          1/9/2018                    Opioid Matter              UNDETERMINED
         400 ORANGE STREET
         CLENDENEN & SHEA LLC                                  ACCOUNT NO.:
         NEW HAVEN, CT 06511                                   NOT AVAILABLE



3.7807   TOWN OF NEWTOWN                                          1/9/2018                    Opioid Matter              UNDETERMINED
         CHARLES S. HELLMAN
         1177 AVENUE OF THE AMERICAS                           ACCOUNT NO.:
         44TH FLOOR                                            NOT AVAILABLE
         NEW YORK, NY 10036



3.7808   TOWN OF NORMANDY                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 68                                             ACCOUNT NO.:
         NORMANDY, TN 37360                                    NOT AVAILABLE



3.7809   TOWN OF NORTH ANDOVER                                    9/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE TOWN CLERK;
         TREASURER/COLLECTOR                                   ACCOUNT NO.:
         120 MAIN STREET                                       NOT AVAILABLE
         NORTH ANDOVER, MA 01845



3.7810   TOWN OF NORTH ATTLEBOROUGH                               5/18/2018                   Opioid Matter              UNDETERMINED
         TOWN HALL
         43 SOUTH WASHINGTON STREET                            ACCOUNT NO.:
          - PO BOX 871                                         NOT AVAILABLE
         NORTH ATTLEBOROUGH, MA 02761



3.7811   TOWN OF NORTH ATTLEBOROUGH                               5/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN TREASURER / COLLECTOR
         PO BOX 871                                            ACCOUNT NO.:
         NORTH ATTLEBOROUGH, MA 02761-0871                     NOT AVAILABLE



3.7812   TOWN OF NORTH ATTLEBOROUGH                               5/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK, TOWN TREASURER/COLLECTOR
         43 SOUTH WASHINGTON STREET                            ACCOUNT NO.:
         NORTH ATTLEBOROUGH, MA 02760                          NOT AVAILABLE



3.7813   TOWN OF NORTH HAVEN                                      1/9/2018                    Opioid Matter              UNDETERMINED
         400 ORANGE STREET
         CLENDENEN & SHEA LLC                                  ACCOUNT NO.:
         NEW HAVEN, CT 06511                                   NOT AVAILABLE



3.7814   TOWN OF NORTH HAVEN                                      1/9/2018                    Opioid Matter              UNDETERMINED
         JAMES E. HARTLEY JR.
         500 CHASE PARKWAY                                     ACCOUNT NO.:
         WATERBURY, CT 06708                                   NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7815   TOWN OF NORTH HAVEN                                      1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         18 CHURCH ST.                                         ACCOUNT NO.:
         NORTH HAVEN, CT 06473                                 NOT AVAILABLE



3.7816   TOWN OF NORTH HAVEN                                      1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: ANDREA BIERSTEIN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.7817   TOWN OF NORTH HAVEN                                      1/9/2018                    Opioid Matter              UNDETERMINED
         PAUL J. HANLY JR.
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE - 7TH FLOOR                        NOT AVAILABLE
         NEW YORK, NY 10016



3.7818   TOWN OF NORTH HAVEN                                      1/9/2018                    Opioid Matter              UNDETERMINED
         CHARLES S. HELLMAN
         1177 AVENUE OF THE AMERICAS                           ACCOUNT NO.:
         44TH FLOOR                                            NOT AVAILABLE
         NEW YORK, NY 10036



3.7819   TOWN OF NORTH HAVEN                                      1/9/2018                    Opioid Matter              UNDETERMINED
         THOMAS SHERIDAN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.7820   TOWN OF NORTH HAVEN                                      1/9/2018                    Opioid Matter              UNDETERMINED
         SARAH S. BURNS
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002



3.7821   TOWN OF NORTH KINGSTOWN                                  3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK AND TOWN MANAGER
         TOWN HALL                                             ACCOUNT NO.:
         100 FAIRWAY DRIVE                                     NOT AVAILABLE
         NORTH KINGSTOWN, RI 02852



3.7822   TOWN OF NORTH PROVIDENCE                                 3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND TOWN CLERK
         2000 SMITH STREET                                     ACCOUNT NO.:
         NORTH PROVIDENCE, RI 02911                            NOT AVAILABLE



3.7823   TOWN OF NORTH READING                                    6/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER/COLLECTOR, TOWN CLERK
         235 NORTH STREET                                      ACCOUNT NO.:
         NORTH READING, MA 01864                               NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7824   TOWN OF NORTON                                           6/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: TREASURER AND TOWN CLERK
         70 EAST MAIN STREET                                   ACCOUNT NO.:
         NORTON TOWN HALL, FIRST FLOOR                         NOT AVAILABLE
         NORTON, MA 02766



3.7825   TOWN OF NORWELL                                          5/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         345 MAIN STREET                                       ACCOUNT NO.:
         NORWELL, MA 02061                                     NOT AVAILABLE



3.7826   TOWN OF NORWELL                                          5/31/2018                   Opioid Matter              UNDETERMINED
         NORWELL TOWN OFFICES
         345 MAIN STREET                                       ACCOUNT NO.:
          - PO BOX 295                                         NOT AVAILABLE
         NORWELL, MA 02061



3.7827   TOWN OF NORWELL                                          5/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         345 MAIN STREET                                       ACCOUNT NO.:
         PO BOX 295                                            NOT AVAILABLE
         NORWELL, MA 02061



3.7828   TOWN OF NORWOOD, MASSACHUSETTS                           1/22/2019                   Opioid Matter              UNDETERMINED
         566 WASHINGTON STREET
         2ND FLOOR, ROOM 32                                    ACCOUNT NO.:
         NORWOOD, MA 02062                                     NOT AVAILABLE



3.7829   TOWN OF NORWOOD, MASSACHUSETTS                           1/22/2019                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER / COLLECTOR
         566 WASHINGTON STREET                                 ACCOUNT NO.:
         FIRST FLOOR, ROOM 22                                  NOT AVAILABLE
         NORWOOD, MA 02062



3.7830   TOWN OF OAKDALE                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         204 QUEEN STREET                                      ACCOUNT NO.:
         PO BOX 116                                            NOT AVAILABLE
         OAKDALE, TN 37829



3.7831   TOWN OF OLIVER SPRINGS                                  UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         PO BOX 4038                                           ACCOUNT NO.:
         OAK RIDGE, TN 37831                                   NOT AVAILABLE



3.7832   TOWN OF OLIVER SPRINGS                                  UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         717 MAIN STREET                                       ACCOUNT NO.:
         OLIVER SPRINGS, TN 37841                              NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.7833   TOWN OF ONEIDA                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR, AND CITY ATTORNEY
         19922 ALBERTA STREET                                  ACCOUNT NO.:
         P.O. BOX 4237                                         NOT AVAILABLE
         ONEIDA, TN 37841



3.7834   TOWN OF ORANGE, MASSACHUSETTS                           12/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER AND TOWN CLERK
         6 PROSPECT STREET                                     ACCOUNT NO.:
         ORANGE, MA 01364                                      NOT AVAILABLE



3.7835   TOWN OF ORME                                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         860 ORME ROAD                                         ACCOUNT NO.:
         SOUTH PITTSBURG, TN 37380                             NOT AVAILABLE



3.7836   TOWN OF OXFORD                                           1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         OXFORD TOWN HALL                                      ACCOUNT NO.:
         486 OXFORD ROAD                                       NOT AVAILABLE
         OXFORD, CT 06478



3.7837   TOWN OF OXFORD                                           1/9/2018                    Opioid Matter              UNDETERMINED
         JAMES E. HARTLEY JR.
         500 CHASE PARKWAY                                     ACCOUNT NO.:
         WATERBURY, CT 06708                                   NOT AVAILABLE



3.7838   TOWN OF OXFORD                                           1/9/2018                    Opioid Matter              UNDETERMINED
         CHARLES S. HELLMAN
         1177 AVENUE OF THE AMERICAS                           ACCOUNT NO.:
         44TH FLOOR                                            NOT AVAILABLE
         NEW YORK, NY 10036



3.7839   TOWN OF OXFORD                                           1/9/2018                    Opioid Matter              UNDETERMINED
         THOMAS SHERIDAN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.7840   TOWN OF OXFORD                                           1/9/2018                    Opioid Matter              UNDETERMINED
         PAUL J. HANLY JR.
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE - 7TH FLOOR                        NOT AVAILABLE
         NEW YORK, NY 10016



3.7841   TOWN OF OXFORD                                           1/9/2018                    Opioid Matter              UNDETERMINED
         400 ORANGE STREET
         CLENDENEN & SHEA LLC                                  ACCOUNT NO.:
         NEW HAVEN, CT 06511                                   NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.7842   TOWN OF OXFORD                                           1/9/2018                    Opioid Matter              UNDETERMINED
         SARAH S. BURNS
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002



3.7843   TOWN OF OXFORD                                           1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: ANDREA BIERSTEIN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.7844   TOWN OF OXFORD, MASSACHUSETTS                            6/11/2019                   Opioid Matter              UNDETERMINED
         TOWN HALL - FIRST FLOOR
         325 MAIN STREET                                       ACCOUNT NO.:
         OXFORD, MA 01540                                      NOT AVAILABLE



3.7845   TOWN OF OXFORD, MASSACHUSETTS                            6/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         325 MAIN STREET                                       ACCOUNT NO.:
         OXFORD, MA 01540                                      NOT AVAILABLE



3.7846   TOWN OF PALMER                                           5/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK AND TREASURER
         4417 MAIN STREET                                      ACCOUNT NO.:
         PALMER, MA 01069                                      NOT AVAILABLE



3.7847   TOWN OF PALMER                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         35 SCHOOL ROAD                                        ACCOUNT NO.:
         P.O. BOX 219                                          NOT AVAILABLE
         PALMER, TN 37365



3.7848   TOWN OF PARROTTSVILLE                                   UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         321 EAST BROADWAY                                     ACCOUNT NO.:
         NEWPORT, TN 37821                                     NOT AVAILABLE



3.7849   TOWN OF PARROTTSVILLE                                   UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 300                                            ACCOUNT NO.:
         PARROTSVILLE, TN 37843                                NOT AVAILABLE



3.7850   TOWN OF PEARL RIVER                                      6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         TOWN HALL                                             ACCOUNT NO.:
         39460 WILLIS ALLEY                                    NOT AVAILABLE
         PEARL RIVER, LA 70452




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7851   TOWN OF PEARL RIVER                                      6/12/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         TOWN HALL                                             ACCOUNT NO.:
         39460 WILLIS ALLEY                                    NOT AVAILABLE
         PEARL RIVER, LA 70452



3.7852   TOWN OF PEMBROKE                                         5/31/2018                   Opioid Matter              UNDETERMINED
         100 CENTER STREET
         PEMBROKE, MA 02359                                    ACCOUNT NO.:
                                                               NOT AVAILABLE


3.7853   TOWN OF PEMBROKE                                         5/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         TOWN HALL, ROOM 11                                    ACCOUNT NO.:
         100 CENTER STREET                                     NOT AVAILABLE
         PEMBROKE, MA 02359



3.7854   TOWN OF PENDLETON                                       10/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNCIL PRESIDENT
         100 WEST STATE STREET                                 ACCOUNT NO.:
         PO BOX 230                                            NOT AVAILABLE
         PENDLETON, IN 46064



3.7855   TOWN OF PENDLETON                                       10/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: CURTIS T. HILL, JR.
         STATE OF INDIANA ATTORNEY GENERAL                     ACCOUNT NO.:
         INDIANA GOVERNMENT CENTER SOUTH - 5TH FLOOR -         NOT AVAILABLE
         302 WEST WASHINGTON STREET
         INDIANAPOLIS, IN 46204



3.7856   TOWN OF PENDLETON                                       10/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNCIL PRESIDENT
         100 WEST STATE STREET                                 ACCOUNT NO.:
         PENDLETON, IN 46064                                   NOT AVAILABLE



3.7857   TOWN OF PETERBURG                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 215                                            ACCOUNT NO.:
         PETERSBURG, TN 37144                                  NOT AVAILABLE



3.7858   TOWN OF PETERBURG                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         101 W COMMERCE STREET                                 ACCOUNT NO.:
         LEWISBURG, TN 37091                                   NOT AVAILABLE



3.7859   TOWN OF PITTMAN CENTER                                  UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         GENTRY, TIPTON & MCLEMORE, P.C.                       ACCOUNT NO.:
         2540 SAND PIKE BLOUVARD - SUITE 2                     NOT AVAILABLE
         PIGEON FORGE, TN 37863




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7860   TOWN OF PITTMAN CENTER                                  UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         2839 WEBB CREEK ROAD                                  ACCOUNT NO.:
         SEVIERVILLE, TN 37876                                 NOT AVAILABLE



3.7861   TOWN OF PLAINFIELD, INDIANA                             12/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN COUNCIL PRESIDENT, TOWN COUNCIL VICE
         PRESIDENT, TOWN CLERK/TREASURER                       ACCOUNT NO.:
         206 WEST MAIN STREET                                  NOT AVAILABLE
         PLAINFIELD, IN 46168



3.7862   TOWN OF PLAINVILLE                                       5/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         190 SOUTH STREET                                      ACCOUNT NO.:
         PO BOX 1717                                           NOT AVAILABLE
         PLAINVILLE, MA 02762



3.7863   TOWN OF PLAINVILLE                                       5/31/2018                   Opioid Matter              UNDETERMINED
         P.O. BOX 1795
         190 SOUTH STREET                                      ACCOUNT NO.:
         PLAINVILLE, MA 02762                                  NOT AVAILABLE



3.7864   TOWN OF PLEASANT HILL                                   UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         351 MAIN STREET                                       ACCOUNT NO.:
         PLEASANT HILL, TN 38571                               NOT AVAILABLE



3.7865   TOWN OF PLYMOUTH                                         5/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER/COLLECTOR OR TOWN CLERK
         26 COURT STREET                                       ACCOUNT NO.:
         PLYMOUTH, MA 02360                                    NOT AVAILABLE



3.7866   TOWN OF PORTSMOUTH, RHODE ISLAND, A MUNICIPAL            6/6/2019                    Opioid Matter              UNDETERMINED
         CORPORATION
         ATTN: TOWN CLERK AND TOWN SOLICITOR AND               ACCOUNT NO.:
         CHAIRPERSON BOARDS AND COMMISSIONS                    NOT AVAILABLE
         2200 EAST MAIN ROAD
         PORTSMOUTH, RI 02871



3.7867   TOWN OF POWELLS CROSSROADS                              UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         WOODEN LAW FIRM,P.C.                                  ACCOUNT NO.:
         730 CHERRY STREET - SUITE B                           NOT AVAILABLE
         CHATTANOOGA, TN 37402-4806



3.7868   TOWN OF POWELLS CROSSROADS                              UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         105 HIGHWAY 27                                        ACCOUNT NO.:
         POWELLS CROSSROADS, TN 37397                          NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.7869   TOWN OF PROSPECT                                         8/13/2018                   Opioid Matter              UNDETERMINED
         JAMES A. HARTLEY JR.
         500 CHASE PARKWAY                                     ACCOUNT NO.:
         WATERBURY, CT 06708                                   NOT AVAILABLE



3.7870   TOWN OF PROVINCETOWN, MASSACHUSETTS                      2/15/2019                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER OR TOWN CLERK
         260 COMMERCIAL STREET                                 ACCOUNT NO.:
         PROVINCETOWN, MA 02657                                NOT AVAILABLE



3.7871   TOWN OF QUINWOOD, WEST VIRGINIA                          3/16/2019                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE MAYOR
         219 SCHOOL STREET                                     ACCOUNT NO.:
         QUINWOOD, WV 25981                                    NOT AVAILABLE



3.7872   TOWN OF RANDOLPH                                         3/27/2019                   Opioid Matter              UNDETERMINED
         ATTN: CLERK/REGISTRAR & TREASURER/COLLECTOR
         41 SOUTH MAIN STREET                                  ACCOUNT NO.:
         RANDOLPH, MA 02368                                    NOT AVAILABLE



3.7873   TOWN OF REHOBOTH, MASSACHUSETTS                          1/23/2019                   Opioid Matter              UNDETERMINED
         ATTN: TAX COLLECTOR/TREASURER OR TOWN CLERK
         148 PECK STREET                                       ACCOUNT NO.:
         REHOBOTH, MA 02769                                    NOT AVAILABLE



3.7874   TOWN OF RICHMOND                                         3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK; FINANCE DIRECTOR; CHAIRPERSON
         5 RICHMOND TOWNHOUSE ROAD                             ACCOUNT NO.:
         WYOMING, RI 02898                                     NOT AVAILABLE



3.7875   TOWN OF RICHWOOD, LOUISIANA                              7/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         2710 MARTIN LUTHER KING DR.                           ACCOUNT NO.:
         RICHWOOD, LA 71202                                    NOT AVAILABLE



3.7876   TOWN OF ROCKLAND                                         5/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN TREASURER OR TOWN CLERK
         TOWN HALL                                             ACCOUNT NO.:
         242 UNION STREET                                      NOT AVAILABLE
         ROCKLAND, MA 02370



3.7877   TOWN OF ROGERSVILLE                                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR, VICE MAYOR OR ALDERMAN
         106 EAST KYLE STREET                                  ACCOUNT NO.:
          - P.O. BOX 788                                       NOT AVAILABLE
         ROGERSVILLE, TN 37857



3.7878   TOWN OF ROGERSVILLE                                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         FIRST CITIZENS BANK BLDG.                             ACCOUNT NO.:
         - 210 EAST MAIN STREET                                NOT AVAILABLE
         ROGERSVILLE, TN 37857



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Code                                                 And Account Number                          Claim

Litigation

3.7879   TOWN OF ROXBURY                                          8/13/2018                   Opioid Matter              UNDETERMINED
         JAMES A. HARTLEY JR.
         500 CHASE PARKWAY                                     ACCOUNT NO.:
         WATERBURY, CT 06708                                   NOT AVAILABLE



3.7880   TOWN OF RUTLEDGE                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         8655 RUTLEDGE PIKE                                    ACCOUNT NO.:
         RUTLEDGE, TN 37861                                    NOT AVAILABLE



3.7881   TOWN OF RUTLEDGE                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         8655 RUTLEDGE PIKE                                    ACCOUNT NO.:
         RUTLEDGE, TN 37861                                    NOT AVAILABLE



3.7882   TOWN OF SALISBURY                                        4/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: TREASURER OR TOWN CLERK
         5 BEACH ROAD                                          ACCOUNT NO.:
         SALISBURY, MA 01952                                   NOT AVAILABLE



3.7883   TOWN OF SANDWICH                                         5/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN TREASURER
         130 MAIN STREET                                       ACCOUNT NO.:
         SANDWICH, MA 02563                                    NOT AVAILABLE



3.7884   TOWN OF SANDWICH                                         5/31/2018                   Opioid Matter              UNDETERMINED
         145 MAIN STREET
         SANDWICH, MA 02563                                    ACCOUNT NO.:
                                                               NOT AVAILABLE


3.7885   TOWN OF SCITUATE, MASSACHUSETTS                          1/23/2019                   Opioid Matter              UNDETERMINED
         ATTN: TOWN TREASURER OR TOWN CLERK
         600 CHIEF JUSTICE CUSHING HIGHWAY                     ACCOUNT NO.:
         SCITUATE, MA 02066                                    NOT AVAILABLE



3.7886   TOWN OF SCITUATE, RHODE ISLAND, A MUNICIPAL              4/2/2019                    Opioid Matter              UNDETERMINED
         CORPORATION
         ATTN: SCITUATE TOWN CLERK AND SCITUATE TOWN           ACCOUNT NO.:
         TREASURER                                             NOT AVAILABLE
         195 DANIELSON PIKE
         SCITUATE, RI 02857



3.7887   TOWN OF SEEKONK                                          6/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN TREASURER OR TOWN CLERK
         SEEKONK TOWN HALL                                     ACCOUNT NO.:
         100 PECK STREET                                       NOT AVAILABLE
         SEEKONK, MA 02771



3.7888   TOWN OF SEYMOUR                                          8/13/2018                   Opioid Matter              UNDETERMINED
         JAMES A. HARTLEY JR.
         500 CHASE PARKWAY                                     ACCOUNT NO.:
         WATERBURY, CT 06708                                   NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.7889   TOWN OF SHEFFIELD                                        6/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER OR TOWN CLERK
         TOWN HALL                                             ACCOUNT NO.:
         21 DEPOT SQUARE                                       NOT AVAILABLE
         SHEFFIELD, MA 01257



3.7890   TOWN OF SHERIDAN                                        12/16/2017                   Opioid Matter              UNDETERMINED
         ATTN: CURTIS T. HILL, JR.
         STATE OF INDIANA ATTORNEY GENERAL                     ACCOUNT NO.:
         INDIANA GOVERNMENT CENTER SOUTH - 5TH FLOOR -         NOT AVAILABLE
         302 WEST WASHINGTON STREET
         INDIANAPOLIS, IN 46204



3.7891   TOWN OF SHERIDAN                                        12/16/2017                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE SHERIDAN TOWN COUNCIL
         506 SOUTH MAIN STREET                                 ACCOUNT NO.:
         SHERIDAN, IN 46069                                    NOT AVAILABLE



3.7892   TOWN OF SHIRLEY                                          6/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN TREASURER
         SHIRLEY TOWN OFFICE                                   ACCOUNT NO.:
         FIRST FLOOR IN COLLECTOR'S OFFICE - 7 KEADY WAY       NOT AVAILABLE
         SHIRLEY, MA 01464



3.7893   TOWN OF SHIRLEY                                          6/29/2018                   Opioid Matter              UNDETERMINED
         TOWN OFFICES
         1ST FLOOR                                             ACCOUNT NO.:
          - 7 KEADY WAY                                        NOT AVAILABLE
         SHIRLEY, MA 01464



3.7894   TOWN OF SMITHFIELD                                       3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN MANAGER AND TOWN CLERK
         SMITHFIELD TOWN HALL                                  ACCOUNT NO.:
         64 FARNUM PIKE                                        NOT AVAILABLE
         SMITHFIELD, RI 02917



3.7895   TOWN OF SMYRNA                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         SMYRNA TOWN HALL                                      ACCOUNT NO.:
         315 SOUTH LOWRY STREET                                NOT AVAILABLE
         SMYRNA, TN 37167



3.7896   TOWN OF SNEEDVILLE                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         SNEEDVILLE CITY HALL                                  ACCOUNT NO.:
         292 JAIL STREET                                       NOT AVAILABLE
         SNEEDVILLE, TN 37869



3.7897   TOWN OF SNEEDVILLE                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         SNEEDVILLE CITY HALL                                  ACCOUNT NO.:
         292 JAIL STREET                                       NOT AVAILABLE
         SNEEDVILLE, TN 37869




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7898   TOWN OF SOMERSET                                         6/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         ROOM 6 FIRST FLOOR                                    ACCOUNT NO.:
         140 WOOD STREET                                       NOT AVAILABLE
         SOMERSET, MA 02726



3.7899   TOWN OF SOMERSET                                         6/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         140 WOOD STREET                                       ACCOUNT NO.:
         SOMERSET, MA 02726                                    NOT AVAILABLE



3.7900   TOWN OF SOUTH HADLEY                                     7/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         116 MAIN STREET                                       ACCOUNT NO.:
         ROOM 107                                              NOT AVAILABLE
         SOUTH HADLEY, MA 01075



3.7901   TOWN OF SOUTH HADLEY                                     7/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         116 MAIN STREET                                       ACCOUNT NO.:
         ROOM 108                                              NOT AVAILABLE
         SOUTH HADLEY, MA 01075



3.7902   TOWN OF SOUTH KINGSTOWN MUNICIPAL                        3/26/2018                   Opioid Matter              UNDETERMINED
         CORPORATION
         ATTN: TOWN CLERK AND TOWN MANAGER                     ACCOUNT NO.:
         180 HIGH STREET                                       NOT AVAILABLE
         WAKEFIELD, RI 02879



3.7903   TOWN OF SOUTHBRIDGE                                      5/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER OR TOWN CLERK
         41 ELM STREET                                         ACCOUNT NO.:
         SOUTHBRIDGE, MA 01550                                 NOT AVAILABLE



3.7904   TOWN OF SOUTHBURY                                        1/9/2018                    Opioid Matter              UNDETERMINED
         JAMES E. HARTLEY JR.
         500 CHASE PARKWAY                                     ACCOUNT NO.:
         WATERBURY, CT 06708                                   NOT AVAILABLE



3.7905   TOWN OF SOUTHBURY                                        1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         501 MAIN STREET SOUTH                                 ACCOUNT NO.:
         ROOM 202                                              NOT AVAILABLE
         SOUTHBURY, CT 06488



3.7906   TOWN OF SOUTHBURY                                        1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: ANDREA BIERSTEIN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016




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Code                                                 And Account Number                          Claim

Litigation

3.7907   TOWN OF SOUTHBURY                                        1/9/2018                    Opioid Matter              UNDETERMINED
         THOMAS SHERIDAN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.7908   TOWN OF SOUTHBURY                                        1/9/2018                    Opioid Matter              UNDETERMINED
         400 ORANGE STREET
         CLENDENEN & SHEA LLC                                  ACCOUNT NO.:
         NEW HAVEN, CT 06511                                   NOT AVAILABLE



3.7909   TOWN OF SOUTHBURY                                        1/9/2018                    Opioid Matter              UNDETERMINED
         SARAH S. BURNS
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002



3.7910   TOWN OF SOUTHBURY                                        1/9/2018                    Opioid Matter              UNDETERMINED
         CHARLES S. HELLMAN
         1177 AVENUE OF THE AMERICAS                           ACCOUNT NO.:
         44TH FLOOR                                            NOT AVAILABLE
         NEW YORK, NY 10036



3.7911   TOWN OF SOUTHBURY                                        1/9/2018                    Opioid Matter              UNDETERMINED
         PAUL J. HANLY JR.
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE, 7TH FLOOR                         NOT AVAILABLE
         NEW YORK, NY 10016



3.7912   TOWN OF SOUTHINGTON                                      1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: ANDREA BIERSTEIN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.7913   TOWN OF SOUTHINGTON                                      1/9/2018                    Opioid Matter              UNDETERMINED
         SARAH S. BURNS
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002



3.7914   TOWN OF SOUTHINGTON                                      1/9/2018                    Opioid Matter              UNDETERMINED
         PAUL J. HANLY JR.
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE - 7TH FLOOR                        NOT AVAILABLE
         NEW YORK, NY 10016



3.7915   TOWN OF SOUTHINGTON                                      1/9/2018                    Opioid Matter              UNDETERMINED
         JAMES E. HARTLEY JR.
         500 CHASE PARKWAY                                     ACCOUNT NO.:
         WATERBURY, CT 06708                                   NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7916   TOWN OF SOUTHINGTON                                      1/9/2018                    Opioid Matter              UNDETERMINED
         400 ORANGE STREET
         CLENDENEN & SHEA LLC                                  ACCOUNT NO.:
         NEW HAVEN, CT 06511                                   NOT AVAILABLE



3.7917   TOWN OF SOUTHINGTON                                      1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         75 MAIN STREET                                        ACCOUNT NO.:
         SOUTHINGTON, CT 06489                                 NOT AVAILABLE



3.7918   TOWN OF SOUTHINGTON                                      1/9/2018                    Opioid Matter              UNDETERMINED
         CHARLES S. HELLMAN
         1177 AVENUE OF THE AMERICAS                           ACCOUNT NO.:
         44TH FLOOR                                            NOT AVAILABLE
         NEW YORK, NY 10036



3.7919   TOWN OF SOUTHINGTON                                      1/9/2018                    Opioid Matter              UNDETERMINED
         THOMAS SHERIDAN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.7920   TOWN OF SPENCER                                          5/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER OR TOWN CLERK
         157 MAIN STREET                                       ACCOUNT NO.:
         SPENCER, MA 01562                                     NOT AVAILABLE



3.7921   TOWN OF SPENCER                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         PO BOX 187                                            ACCOUNT NO.:
         12180 STATE HIGHWAY 111                               NOT AVAILABLE
         SPENCER, TN 38585



3.7922   TOWN OF SPENCER                                         UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         PO BOX 1025                                           ACCOUNT NO.:
         47 CITTY HALL STREET                                  NOT AVAILABLE
         PIKEVILLE, TN 37367



3.7923   TOWN OF SPRING CITY                                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         264 THIRD AVENUE                                      ACCOUNT NO.:
         DAYTON, TN 37321                                      NOT AVAILABLE



3.7924   TOWN OF SPRING CITY                                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         229 FRONT STREET                                      ACCOUNT NO.:
         PO BOX 369                                            NOT AVAILABLE
         SPRING CITY, TN 37381




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7925   TOWN OF SPRINGFIELD                                     12/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: CITY CLERK
         CITY HALL                                             ACCOUNT NO.:
         ROOM 123 - 36 COURT STREET                            NOT AVAILABLE
         SPRINGFIELD, MA 01103



3.7926   TOWN OF SPRINGFIELD                                     12/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         CITY HALL ROOM 112                                    ACCOUNT NO.:
         36 COURT STREET                                       NOT AVAILABLE
         SPRINGFIELD, MA 01103



3.7927   TOWN OF STONEHAM                                         9/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER, TOWN CLERK
         35 CENTRAL STREET                                     ACCOUNT NO.:
         1ST FLOOR                                             NOT AVAILABLE
         STONEHAM, MA 02180



3.7928   TOWN OF STOUGHTON, MASSACHUSETTS                        12/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         STOUGHTON TOWN HALL                                   ACCOUNT NO.:
         10 PEARL STREET                                       NOT AVAILABLE
         STOUGHTON, MA 02072



3.7929   TOWN OF STOUGHTON, MASSACHUSETTS                        12/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         10 PEARL STREET, 1ST FLOOR                            ACCOUNT NO.:
         STOUGHTON, MA 02072                                   NOT AVAILABLE



3.7930   TOWN OF STRATFORD                                        8/13/2018                   Opioid Matter              UNDETERMINED
         JAMES E. HARTLEY JR.
         500 CHASE PARKWAY                                     ACCOUNT NO.:
         WATERBURY, CT 06708                                   NOT AVAILABLE



3.7931   TOWN OF STURBRIDGE                                       7/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER, TOWN CLERK
         308 MAIN STREET                                       ACCOUNT NO.:
         STURBRIDGE, MA 01566                                  NOT AVAILABLE



3.7932   TOWN OF SUDBURY                                          6/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         322 CONCORD ROAD                                      ACCOUNT NO.:
         SUDBURY, MA 01776                                     NOT AVAILABLE



3.7933   TOWN OF SUDBURY                                          6/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         FLYNN BUILDING                                        ACCOUNT NO.:
         278 OLD SUDBURY ROAD                                  NOT AVAILABLE
         SUDBURY, MA 01776-0000




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Code                                                 And Account Number                          Claim

Litigation

3.7934   TOWN OF SUMMIT, MISSISSIPPI                              6/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         706 WEST RAILROAD AVENUE                              ACCOUNT NO.:
         SUMMIT, MS 39666                                      NOT AVAILABLE



3.7935   TOWN OF SURGOINSVILLE                                   UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         130 WEST MAIN STREET                                  ACCOUNT NO.:
         PO BOX 1804                                           NOT AVAILABLE
         MOUNT CARMEL, TN 37645



3.7936   TOWN OF SURGOINSVILLE                                   UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         1735 MAIN STREET                                      ACCOUNT NO.:
         PO BOX 67                                             NOT AVAILABLE
         SURGOINSVILLE, TN 37873-0067



3.7937   TOWN OF SUTTON                                           5/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK; TREASURER
         4 UXBRIDGE ROAD                                       ACCOUNT NO.:
         SUTTON, MA 01590                                      NOT AVAILABLE



3.7938   TOWN OF SWAMPSCOTT                                       7/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: CLERK, TREASURER
         22 MONUMENT AVE                                       ACCOUNT NO.:
         SWAMPSCOTT, MA 01907                                  NOT AVAILABLE



3.7939   TOWN OF TAZEWELL                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         1830 MAIN STREET                                      ACCOUNT NO.:
         P.O. BOX 206                                          NOT AVAILABLE
         TAZEWELL, TN 37879



3.7940   TOWN OF TAZEWELL                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         STANIFER & STANIFER                                   ACCOUNT NO.:
         P.O. BOX 203                                          NOT AVAILABLE
         TAZEWELL, TN 37879



3.7941   TOWN OF TELLICO PLAINS                                  UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         PO BOX 444                                            ACCOUNT NO.:
         401 SWEATWATER-VONORE ROAD                            NOT AVAILABLE
         SWEETWATER, TN 37874



3.7942   TOWN OF TELLICO PLAINS                                  UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         405 VETERANS MEMORIAL DRIVE                           ACCOUNT NO.:
         TELLICO PLAINS, TN 37385                              NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7943   TOWN OF TEMPLETON                                        6/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         PO BOX 620                                            ACCOUNT NO.:
         EAST TEMPLETON, MA 01438                              NOT AVAILABLE



3.7944   TOWN OF TEMPLETON                                        6/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK, TREASURER
         PO BOX 620                                            ACCOUNT NO.:
         EAST TEMPLETON, MA 01438                              NOT AVAILABLE



3.7945   TOWN OF TEMPLETON                                        6/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE TREASURER & TOWN CLERK
         TOWN HALL                                             ACCOUNT NO.:
         160 PATRIOTS ROAD - PO BOX 620                        NOT AVAILABLE
         EAST TEMPLETON, MA 01438



3.7946   TOWN OF TEMPLETON                                        6/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK, TREASURER
         160 PATRIOTS ROAD                                     ACCOUNT NO.:
         EAST TEMPLETON, MA 01438                              NOT AVAILABLE



3.7947   TOWN OF TEWKSBURY, MASSACHUSETTS                         1/23/2019                   Opioid Matter              UNDETERMINED
         ATTN: CLERK
         TOWN HALL                                             ACCOUNT NO.:
         1009 MAIN STREET, 1ST FLOOR                           NOT AVAILABLE
         TEWKSBURY, MA 01876



3.7948   TOWN OF TEWKSBURY, MASSACHUSETTS                         1/23/2019                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         11 TOWN HALL AVENUE                                   ACCOUNT NO.:
         TEWKSBURY, MA 01876                                   NOT AVAILABLE



3.7949   TOWN OF THOMASTON                                        1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         158 MAIN STREET, LEVEL 3                              ACCOUNT NO.:
         THOMASTON, CT 06787                                   NOT AVAILABLE



3.7950   TOWN OF THOMASTON                                        1/9/2018                    Opioid Matter              UNDETERMINED
         THOMAS SHERIDAN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.7951   TOWN OF THOMASTON                                        1/9/2018                    Opioid Matter              UNDETERMINED
         SARAH S. BURNS
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.7952   TOWN OF THOMASTON                                        1/9/2018                    Opioid Matter              UNDETERMINED
         PAUL J. HANLY JR.
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE - 7TH FLOOR                        NOT AVAILABLE
         NEW YORK, NY 10016



3.7953   TOWN OF THOMASTON                                        1/9/2018                    Opioid Matter              UNDETERMINED
         JAMES E. HARTLEY JR.
         500 CHASE PARKWAY                                     ACCOUNT NO.:
         WATERBURY, CT 06708                                   NOT AVAILABLE



3.7954   TOWN OF THOMASTON                                        1/9/2018                    Opioid Matter              UNDETERMINED
         400 ORANGE STREET
         CLENDENEN & SHEA LLC                                  ACCOUNT NO.:
         NEW HAVEN, CT 06511                                   NOT AVAILABLE



3.7955   TOWN OF THOMASTON                                        1/9/2018                    Opioid Matter              UNDETERMINED
         CHARLES S. HELLMAN
         1177 AVENUE OF THE AMERICAS                           ACCOUNT NO.:
         44TH FLOOR                                            NOT AVAILABLE
         NEW YORK, NY 10036



3.7956   TOWN OF THOMASTON                                        1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: ANDREA BIERSTEIN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.7957   TOWN OF TOLLAND                                          1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         HICKS MEMORIAL MUNICIPAL CENTER                       ACCOUNT NO.:
         21 TOLLAND GREEN, 5TH LEVEL                           NOT AVAILABLE
         TOLLAND, CT 06084



3.7958   TOWN OF TOLLAND                                          1/9/2018                    Opioid Matter              UNDETERMINED
         400 ORANGE STREET
         CLENDENEN & SHEA LLC                                  ACCOUNT NO.:
         NEW HAVEN, CT 06511                                   NOT AVAILABLE



3.7959   TOWN OF TOLLAND                                          1/9/2018                    Opioid Matter              UNDETERMINED
         SARAH S. BURNS
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002



3.7960   TOWN OF TOLLAND                                          1/9/2018                    Opioid Matter              UNDETERMINED
         PAUL J. HANLY JR.
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE - 7TH FLOOR                        NOT AVAILABLE
         NEW YORK, NY 10016




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Code                                                 And Account Number                          Claim

Litigation

3.7961   TOWN OF TOLLAND                                          1/9/2018                    Opioid Matter              UNDETERMINED
         CHARLES S. HELLMAN
         1177 AVENUE OF THE AMERICAS                           ACCOUNT NO.:
         44TH FLOOR                                            NOT AVAILABLE
         NEW YORK, NY 10036



3.7962   TOWN OF TOLLAND                                          1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: ANDREA BIERSTEIN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.7963   TOWN OF TOLLAND                                          1/9/2018                    Opioid Matter              UNDETERMINED
         THOMAS SHERIDAN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.7964   TOWN OF TOLLAND                                          1/9/2018                    Opioid Matter              UNDETERMINED
         JAMES E. HARTLEY JR.
         500 CHASE PARKWAY                                     ACCOUNT NO.:
         WATERBURY, CT 06708                                   NOT AVAILABLE



3.7965   TOWN OF TRACY CITY                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         300 SOUTH COLLEGE STREET                              ACCOUNT NO.:
         WINCHESTER, TN 37398                                  NOT AVAILABLE



3.7966   TOWN OF TRACY CITY                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         300 SOUTH COLLEGE STREET                              ACCOUNT NO.:
         WINCHESTER, TN 37398                                  NOT AVAILABLE



3.7967   TOWN OF TRACY CITY                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         TOWN HALL                                             ACCOUNT NO.:
         50 MAIN STREET - P.O. BOX 277                         NOT AVAILABLE
         TRACY CITY, TN 37387



3.7968   TOWN OF TRURO                                            5/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK, TREASURER
         24 TOWN HALL ROAD                                     ACCOUNT NO.:
         TRURO, MA 02666                                       NOT AVAILABLE



3.7969   TOWN OF TRURO                                            5/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK, TREASURER
         PO BOX 2012                                           ACCOUNT NO.:
         TRURO, MA 02666-0000                                  NOT AVAILABLE



3.7970   TOWN OF TYNGSBOROUGH                                     6/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: CLERK, TREASURER
         25 BRYANT LANE                                        ACCOUNT NO.:
         TYNGSBOROUGH, MA 01879                                NOT AVAILABLE


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Code                                                 And Account Number                          Claim

Litigation

3.7971   TOWN OF UNICOI                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         PO BOX 129                                            ACCOUNT NO.:
         ERWIN, TN 37650                                       NOT AVAILABLE



3.7972   TOWN OF UNICOI                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         TOWN HALL, 3600 UNICOI DRIVE                          ACCOUNT NO.:
         PO BOX 39                                             NOT AVAILABLE
         UNICOI, TN 37692



3.7973   TOWN OF UPLAND, INDIANA                                 11/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN COUNCIL PRESIDENT, TOWN COUNCIL VICE
         PRESIDENT, TOWN ATTORNEY                              ACCOUNT NO.:
         87 NORTH MAIN STREET                                  NOT AVAILABLE
         PO BOX 428
         UPLAND, IN 46989



3.7974   TOWN OF UPTON                                            9/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK
         TOWN HALL ROOM 101                                    ACCOUNT NO.:
         1 MAIN STREET BOX 11                                  NOT AVAILABLE
         UPTON, MA 01568



3.7975   TOWN OF UPTON                                            9/26/2018                   Opioid Matter              UNDETERMINED
         TOWN HALL ROOM G01
         1 MAIN STREET BOX 2                                   ACCOUNT NO.:
         UPTON, MA 01568                                       NOT AVAILABLE



3.7976   TOWN OF UPTON                                            9/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         TOWN HALL ROOM G01                                    ACCOUNT NO.:
         1 MAIN STREET BOX 2                                   NOT AVAILABLE
         UPTON, MA 01568-0000



3.7977   TOWN OF VIOLA                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         HIGHWAY 108                                           ACCOUNT NO.:
         PO BOX 66                                             NOT AVAILABLE
         VIOLATN, TN 37394



3.7978   TOWN OF VONORE                                          UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR & CITY ATTORNEY
         613 CHURCH STREEET                                    ACCOUNT NO.:
         PO BOX 218                                            NOT AVAILABLE
         VONORE, TN 37885



3.7979   TOWN OF WAKEFIELD                                        12/3/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         5 COMMON STREET                                       ACCOUNT NO.:
         WAKEFIELD, MA 01880                                   NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.7980   TOWN OF WAKEFIELD                                        12/3/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK
         1 LAFAYETTE ST.                                       ACCOUNT NO.:
         WAKEFIELD, MA 01880                                   NOT AVAILABLE



3.7981   TOWN OF WALLINGFORD                                      4/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE TOWN COUNCIL
         45 SOUTH MAIN STREET                                  ACCOUNT NO.:
         ROOM 220                                              NOT AVAILABLE
         WALLINGFORD, CT 06492



3.7982   TOWN OF WALLINGFORD                                      4/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         45 SOUTH MAIN STREET                                  ACCOUNT NO.:
         ROOM 108                                              NOT AVAILABLE
         WALLINGFORD, CT 06492



3.7983   TOWN OF WALLINGFORD                                      4/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         45 SOUTH MAIN STREET                                  ACCOUNT NO.:
         ROOM 310                                              NOT AVAILABLE
         WALLINGFORD, CT 06492



3.7984   TOWN OF WALLINGFORD                                      4/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         45 SOUTH MAIN STREET                                  ACCOUNT NO.:
         ROOM 108                                              NOT AVAILABLE
         WALLINGFORD, CT 06492



3.7985   TOWN OF WALLINGFORD                                      4/10/2018                   Opioid Matter              UNDETERMINED
         156 SOUTH MAIN STREET
         SCOTT + SCOTT ATTORNEYS AT LAW                        ACCOUNT NO.:
         PO BOX 192                                            NOT AVAILABLE
         COLCHESTER, CT 06415



3.7986   TOWN OF WARE                                             7/9/2018                    Opioid Matter              UNDETERMINED
         126 MAIN STREET
         SUITE C                                               ACCOUNT NO.:
         WARE, MA 01082-1370                                   NOT AVAILABLE



3.7987   TOWN OF WARE                                             7/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         126 MAIN STREET                                       ACCOUNT NO.:
         SUITE F                                               NOT AVAILABLE
         WARE, MA 01082



3.7988   TOWN OF WARREN                                           5/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN TREASURER AND TOWN CLERK
         48 HIGH STREET                                        ACCOUNT NO.:
         WARREN, MA 01083                                      NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.7989   TOWN OF WARREN                                           5/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         ?48 HIGH STREET                                       ACCOUNT NO.:
         P.O. BOX 603                                          NOT AVAILABLE
         WARREN, MA 01083-0000



3.7990   TOWN OF WARREN, RHODE ISLAND, A MUNICIPAL                4/2/2019                    Opioid Matter              UNDETERMINED
         CORPORATION
         ATTN: TOWN MANAGER AND TOWN CLEKRK                    ACCOUNT NO.:
         514 MAIN STREET                                       NOT AVAILABLE
         WARREN, RI 02885



3.7991   TOWN OF WARTRACE                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         29 MAIN STREET EAST                                   ACCOUNT NO.:
         PO BOX 158                                            NOT AVAILABLE
         WARTRACE, TN 37183



3.7992   TOWN OF WATERTOWN                                        5/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER AND CLERK
         149 MAIN STREET                                       ACCOUNT NO.:
         WATERTOWN, MA 02472                                   NOT AVAILABLE



3.7993   TOWN OF WELLFLEET, MASSACHUSETTS                         5/30/2019                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK AND TOWN TREASURER
         TOWN HALL                                             ACCOUNT NO.:
         300 MAIN STREET                                       NOT AVAILABLE
         WELLFLEET, MA 02667



3.7994   TOWN OF WEST BOYLSTON                                    6/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK AND TREASURER/COLLECTOR
         140 WORCESTER STREET                                  ACCOUNT NO.:
         WEST BOYLSTON, MA 01583                               NOT AVAILABLE



3.7995   TOWN OF WEST BRIDGEWATER                                 8/31/2018                   Opioid Matter              UNDETERMINED
         P.O. BOX 369
         WEST BRIDGEWATER, MA 02379                            ACCOUNT NO.:
                                                               NOT AVAILABLE


3.7996   TOWN OF WEST BRIDGEWATER                                 8/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK AND TOWN TREASURER
         65 NORTH MAIN STREET                                  ACCOUNT NO.:
         WEST BRIDGEWATER, MA 02379-0000                       NOT AVAILABLE



3.7997   TOWN OF WEST GREENWICH                                   3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK AND TOWN ADMINISTARTOR AND
         TOWN TREASURER                                        ACCOUNT NO.:
         TOWN HALL                                             NOT AVAILABLE
         280 VICTORY HIGHWAY
         WEST GREENWICH, RI 02817




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Code                                                 And Account Number                          Claim

Litigation

3.7998   TOWN OF WEST SPRINGFIELD                                 5/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK AND TREASURER
         26 CENTRAL STREET                                     ACCOUNT NO.:
         SPRINGFIELD, MA 01089-0000                            NOT AVAILABLE



3.7999   TOWN OF WEST WARWICK, RI                                 3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN MANAGER AND TOWN CLERK
         WEST WARWICK TOWN HALL                                ACCOUNT NO.:
         1170 MAIN STREET                                      NOT AVAILABLE
         WEST WARWICK, RI 02893



3.8000   TOWN OF WESTBOROUGH                                      6/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK AND TREASURER / COLLECTOR
         34 WEST MAIN STREET                                   ACCOUNT NO.:
         WESTBOROUGH, MA 01581                                 NOT AVAILABLE



3.8001   TOWN OF WESTERLY                                         3/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN MANAGER, TOWN CLERK, TOWN SOLICITOR
         45 BROAD STREET                                       ACCOUNT NO.:
         WESTERLY, RI 02891                                    NOT AVAILABLE



3.8002   TOWN OF WESTFORD                                         6/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         55 MAIN STREET                                        ACCOUNT NO.:
         WESTFORD, MA 01886                                    NOT AVAILABLE



3.8003   TOWN OF WETHERSFIELD                                     5/22/2019                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         505 SILAS DEANE HIGHWAY                               ACCOUNT NO.:
         WETHERSFIELD, CT 06109                                NOT AVAILABLE



3.8004   TOWN OF WEYMOUTH                                         7/1/2019                    Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK AND TREASURER
         TOWN HALL                                             ACCOUNT NO.:
         75 MIDDLE STREET                                      NOT AVAILABLE
         WEYMOUTH, MA 02189



3.8005   TOWN OF WHITE PINE                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         1548 MAIN STREET                                      ACCOUNT NO.:
         PO BOX 66                                             NOT AVAILABLE
         WHITE PINE, TN 37890-0066



3.8006   TOWN OF WHITE PINE                                      UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CITY ATTORNEY
         PO BOX 1760                                           ACCOUNT NO.:
         DANDRIDGE, TN 37725                                   NOT AVAILABLE



3.8007   TOWN OF WILMINGTON                                       9/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         TOWN HALL                                             ACCOUNT NO.:
         121 GLEN ROAD - ROOM 12                               NOT AVAILABLE
         WILMINGTON, MA 01887


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Code                                                 And Account Number                          Claim

Litigation

3.8008   TOWN OF WILMINGTON                                       9/26/2018                   Opioid Matter              UNDETERMINED
         121 GLEN ROAD
         ROOM 1                                                ACCOUNT NO.:
         WILMINGTON, MA 01887-0000                             NOT AVAILABLE



3.8009   TOWN OF WINCHENDON, MASSACHUSETTS                        5/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         109 FRONT STREET                                      ACCOUNT NO.:
         DEPARTMENT 3                                          NOT AVAILABLE
         WINCHENDON, MA 01475



3.8010   TOWN OF WINCHENDON, MASSACHUSETTS                        5/14/2018                   Opioid Matter              UNDETERMINED
         ATTN: COLLECTOR/TREASURER
         109 FRONT STREET                                      ACCOUNT NO.:
         DEPARTMENT 2                                          NOT AVAILABLE
         WINCHENDON, MA 01475



3.8011   TOWN OF WINFIELD                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY ATTORNEY
         24961 SCOTT HIGHWAY                                   ACCOUNT NO.:
         WINFIELD, TN 37892                                    NOT AVAILABLE



3.8012   TOWN OF WINTHROP                                         5/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         WINTHROP TOWN HALL                                    ACCOUNT NO.:
         1 METCLAF SQUARE - ROOM 5                             NOT AVAILABLE
         WINTHROP, MA 02152



3.8013   TOWN OF WINTHROP                                         5/31/2018                   Opioid Matter              UNDETERMINED
         ATTN: TREASURER
         TOWN HALL                                             ACCOUNT NO.:
         1 METCALF SQUARE                                      NOT AVAILABLE
         WINTHROP, MA 02152



3.8014   TOWN OF WOLCOTT                                          8/13/2018                   Opioid Matter              UNDETERMINED
         JAMES A. HARTLEY JR.
         500 CHASE PARKWAY                                     ACCOUNT NO.:
         WATERBURY, CT 06708                                   NOT AVAILABLE



3.8015   TOWN OF WOODBURY                                         1/9/2018                    Opioid Matter              UNDETERMINED
         SARAH S. BURNS
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         ONE COURT STREET                                      NOT AVAILABLE
         ALTON, IL 62002



3.8016   TOWN OF WOODBURY                                         1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: TOWN CLERK
         281 MAIN ST. S.                                       ACCOUNT NO.:
         WOODBURY, CT 06798                                    NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.8017   TOWN OF WOODBURY                                         1/9/2018                    Opioid Matter              UNDETERMINED
         P.O. BOX 9
         SLAVIN STAUFFACHER & SCOTT LLC                        ACCOUNT NO.:
         WATERTOWN, CT 06795                                   NOT AVAILABLE



3.8018   TOWN OF WOODBURY                                         1/9/2018                    Opioid Matter              UNDETERMINED
         PAUL J. HANLY JR.
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE, 7TH FLOOR                         NOT AVAILABLE
         NEW YORK, NY 10016



3.8019   TOWN OF WOODBURY                                         1/9/2018                    Opioid Matter              UNDETERMINED
         JAMES E. HARTLEY JR.
         500 CHASE PARKWAY                                     ACCOUNT NO.:
         WATERBURY, CT 06708                                   NOT AVAILABLE



3.8020   TOWN OF WOODBURY                                         1/9/2018                    Opioid Matter              UNDETERMINED
         400 ORANGE STREET
         CLENDENEN & SHEA LLC                                  ACCOUNT NO.:
         NEW HAVEN, CT 06511                                   NOT AVAILABLE



3.8021   TOWN OF WOODBURY                                         1/9/2018                    Opioid Matter              UNDETERMINED
         CHARLES S. HELLMAN
         1177 AVENUE OF THE AMERICAS                           ACCOUNT NO.:
         44TH FLOOR                                            NOT AVAILABLE
         NEW YORK, NY 10036



3.8022   TOWN OF WOODBURY                                         1/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: ANDREA BIERSTEIN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.8023   TOWN OF WOODBURY                                         1/9/2018                    Opioid Matter              UNDETERMINED
         THOMAS SHERIDAN
         SIMMONS HANLY CONROY LLC                              ACCOUNT NO.:
         112 MADISON AVENUE                                    NOT AVAILABLE
         NEW YORK, NY 10016



3.8024   TOWN OF WOODBURY                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         101 WEST WATER STREET                                 ACCOUNT NO.:
         WOODBURY, TN 37190                                    NOT AVAILABLE



3.8025   TOWN OF WOODVILLE, ALABAMA                               6/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CITY CLERK
         WOODVILLE CITY HALL. PO BOX 94                        ACCOUNT NO.:
         29923 AL HIGHWAY 35                                   NOT AVAILABLE
         WOODVILLE, AL 35776




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Code                                                 And Account Number                          Claim

Litigation

3.8026   TOWN OF WOODVILLE, ALABAMA                               6/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: STEVE MARSHALL
         STATE OF ALABAMA ATTORNEY GENERAL                     ACCOUNT NO.:
         501 WASHINGTON AVE. - P.O. BOX 300152                 NOT AVAILABLE
         MONTGOMERY, AL 36130-0152



3.8027   TOWN OF WOONSOCKET, RHODE ISLAND, A MUNICIPAL            4/22/2019                   Opioid Matter              UNDETERMINED
         CORPORATION
         ATTN: MAYOR, CITY CLERK, CITY SOLICITOR               ACCOUNT NO.:
         CITY OF WOONSOCKET                                    NOT AVAILABLE
         169 MAIN STREET
         WOONSOCKET, RI 02895



3.8028   TOWN OF YELLOW BLUFF, ALABAMA                            3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: CIRCUIT CLERK
         12 WATER STREET                                       ACCOUNT NO.:
         CAMDEN, AL 36726                                      NOT AVAILABLE



3.8029   TOWN OF ZIONSVILLE, INDIANA                              6/22/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, DEPUTY MAYOR, TOWN COUNCIL
         PRESIDENT, TOWN COUNCIL VICE PRESIDENT, TOWN          ACCOUNT NO.:
         ATTORNEY                                              NOT AVAILABLE
         1100 WEST OAK STREET
         ZIONSVILLE, IN 46077



3.8030   TOWNER COUNTY                                            6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND BOARD OF COMMISSIONERS
         TOWNER COUNTY COURTHOUSE                              ACCOUNT NO.:
         COMMISSIONERS ROOM - 315 2ND STREET                   NOT AVAILABLE
         CANDO, ND 58324



3.8031   TOWNS COUNTY, GEORGIA                                    3/25/2019                   Opioid Matter              UNDETERMINED
         CLERK OF SUPERIOR COURT
         48 RIVER STREET                                       ACCOUNT NO.:
          - SUITE E                                            NOT AVAILABLE
         HIAWASSEE, GA 30546



3.8032   TOWNS COUNTY, GEORGIA                                    3/25/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER
         48 RIVER STREET                                       ACCOUNT NO.:
         SUITE B                                               NOT AVAILABLE
         HIAWASSEE, GA 30546



3.8033   TOWNSHIP OF BLOOMFIELD                                  12/21/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         1 MUNICIPAL PLAZA                                     ACCOUNT NO.:
         ROOM 209                                              NOT AVAILABLE
         BLOOMFIELD, NJ 07003



3.8034   TOWNSHIP OF BLOOMFIELD                                  12/21/2017                   Opioid Matter              UNDETERMINED
         ATTN: TOWNSHIP ATTORNEY
         1 MUNICIPAL PLAZA                                     ACCOUNT NO.:
         BLOOMFIELD, NJ 07003                                  NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.8035   TOWNSHIP OF BLOOMFIELD                                  12/21/2017                   Opioid Matter              UNDETERMINED
         ATTN: MUNICIPAL CLERK
         1 MUNICIPAL PLAZA                                     ACCOUNT NO.:
         2ND FLOOR - ROOM 214                                  NOT AVAILABLE
         BLOOMFIELD, NJ 07003



3.8036   TOWNSHIP OF BRICK                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: PETER W. SMITH, ESQ.
         3120 FIRE ROAD, SUITE 100                             ACCOUNT NO.:
         EGG HARBOR TOWNSHIP, NJ 08234                         NOT AVAILABLE



3.8037   TOWNSHIP OF BRICK                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: LINDA SINGER
         MOTLEY RICE LLC                                       ACCOUNT NO.:
         401 9TH STREET NORTHWEST - SUITE 1001                 NOT AVAILABLE
         WASHINGTON, DC 20004



3.8038   TOWNSHIP OF BRICK                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: TOWNSHIP CLERK
         401 CHAMBERS BRIDGE RD                                ACCOUNT NO.:
         BRICK, NJ 08723                                       NOT AVAILABLE



3.8039   TOWNSHIP OF BRICK                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: ANDREW D'ARCY, ESQ.
         3120 FIRE ROAD, SUITE 100                             ACCOUNT NO.:
         EGG HARBOR TOWNSHIP, NJ 08234                         NOT AVAILABLE



3.8040   TOWNSHIP OF BRICK                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: DAVID I. ACKERMAN
         MOTLEY RICE LLC                                       ACCOUNT NO.:
         401 9TH STREET NORTHWEST - SUITE 1001                 NOT AVAILABLE
         WASHINGTON, DC 20004



3.8041   TOWNSHIP OF IRVINGTON                                   11/28/2017                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         MUNICIPAL BUILDING                                    ACCOUNT NO.:
         1 CIVIC SQUARE                                        NOT AVAILABLE
         IRVINGTON, NJ 07111



3.8042   TOWNSHIP OF IRVINGTON                                   11/28/2017                   Opioid Matter              UNDETERMINED
         ATTN: MUNICIPAL CLERK
         MUNICIPAL BUILDING                                    ACCOUNT NO.:
         1 CIVIC SQUARE - ROOM 116                             NOT AVAILABLE
         IRVINGTON, NJ 07111



3.8043   TOWNSHIP OF IRVINGTON                                   11/28/2017                   Opioid Matter              UNDETERMINED
         ATTN: TOWNSHIP ATTORNEY
         MUNICIPAL BUILDING                                    ACCOUNT NO.:
         1 CIVIC SQUARE - ROOM 206                             NOT AVAILABLE
         IRVINGTON, NJ 07111




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Code                                                 And Account Number                          Claim

Litigation

3.8044   TOWNSHIP OF SADDLE BROOK, NEW JERSEY                     6/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND TOWNSHIP CLERK
         93 MARKET STREET                                      ACCOUNT NO.:
         SADDLE BROOK, NJ 07663                                NOT AVAILABLE



3.8045   TOWNSHIP OF TEANECK, NJ                                  3/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CLERK, TOWNSHIP ATTORNEY
         MUNICIPAL BUILDING                                    ACCOUNT NO.:
         818 TEANECK ROAD                                      NOT AVAILABLE
         TEANECK, NJ 07666



3.8046   TREATMENT WORKS INC. D/B/A ABSOLUTE HOUSE                11/1/2018                   Opioid Matter              UNDETERMINED
         ATTN: DIRECTOR
         7835 HARVARD AVENUE                                   ACCOUNT NO.:
         CLEVELAND, OH 44105                                   NOT AVAILABLE



3.8047   TREATMENT WORKS INC. D/B/A ABSOLUTE HOUSE                11/1/2018                   Opioid Matter              UNDETERMINED
         ATTN: DIRECTOR OF OPERATIONS, AND TREATMENT
         WORKS INC. D/B/A ABSOLUTE HOUSE                       ACCOUNT NO.:
         7835 HARVARD AVENUE                                   NOT AVAILABLE
         CLEVELAND, OH 44105



3.8048   TREATMENT WORKS INC. D/B/A ABSOLUTE HOUSE                11/1/2018                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         SECRETARY OF STATE'S OFFICE                           ACCOUNT NO.:
         180 EAST BROAD STREET - 16TH FLOOR                    NOT AVAILABLE
         COLUMBUS, OH 43215



3.8049   TREATMENT WORKS INC. D/B/A ABSOLUTE HOUSE                11/1/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTRANT AGENT
         SSSB SERVICE COMANY, INC                              ACCOUNT NO.:
         1375 E NINTH ST - STE 900                             NOT AVAILABLE
         CLEVELAND, OH 44114



3.8050   TREMPEALEAU COUNTY                                       11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: BOARD OF SUPERVISORS CHAIR AND COUNTY
         COURT OF TREMPEALEAU COUNTY                           ACCOUNT NO.:
         36245 MAIN STREET                                     NOT AVAILABLE
         P.O. 67
         WHITEHALL, WI 54773



3.8051   TRIAD OF ALABAMA, LLC                                    9/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         641 SOUTH LAWRENCE STREET                             ACCOUNT NO.:
         MONTGOMERY, AL 36104                                  NOT AVAILABLE



3.8052   TRIAD OF ALABAMA, LLC                                    9/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: CEO, PARTNER, OR MANAGER
         P.O. BOX 1459                                         ACCOUNT NO.:
         LA JOLLA, CA 92038-1459                               NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.8053   TRIAD OF ALABAMA, LLC                                    9/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: CEO, PARTNER, OR MANAGER
         5800 TENNYSON PARKWAY                                 ACCOUNT NO.:
         PLANTO, TX 75024                                      NOT AVAILABLE



3.8054   TRIAD OF ALABAMA, LLC                                    9/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: CEO, PARTNER, OR MANAGER
         4370 WEST MAIN STREET                                 ACCOUNT NO.:
         DOTHAN, AL 36305                                      NOT AVAILABLE



3.8055   TRI-COUNTY HEALTH DEPARTMENT                             6/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: CLERK
         147 E MAIN                                            ACCOUNT NO.:
         VERNAL, UT 84078                                      NOT AVAILABLE



3.8056   TRI-COUNTY HEALTH DEPARTMENT                             1/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: EXECUTIVE DIRECTOR AND DEPUTY DIRECTOR
         EXECUTIVE STAFF                                       ACCOUNT NO.:
         6162 SOUTH WILLOW DRIVE - SUITE 100                   NOT AVAILABLE
         GREENWOOD VILLAGE, CO 80111



3.8057   TRI-COUNTY HEALTH DEPARTMENT                             1/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: PHIL WEISER
         STATE OF COLORADO ATTORNEY GENERAL                    ACCOUNT NO.:
         RALPH L. CARR COLORADO JUDICIAL CENTER - 1300         NOT AVAILABLE
         BROADWAY, 10TH FLOOR
         DENVER, CO 80203



3.8058   TRI-COUNTY HEALTH DEPARTMENT                             6/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: SEAN REYES
         STATE OF UTAH ATTORNEY GENERAL                        ACCOUNT NO.:
         STATE CAPITOL, RM. 236                                NOT AVAILABLE
         SALT LAKE CITY, UT 84114-0810



3.8059   TROUP COUNTY, GEORGIA                                    6/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         100 RIDLEY AVENUE                                     ACCOUNT NO.:
         LAGRANGE, GA 30240                                    NOT AVAILABLE



3.8060   TUCSON MEDICAL CENTER, A CORPORATION                     10/9/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT, CHIEF EXECUTIVE OFFICER AND
         SENIOR VICE PRESIDENT, CHIEF OPERATING OFFICER        ACCOUNT NO.:
         5301 EAST GRANT ROAD                                  NOT AVAILABLE
         TUCSON, AZ 85712



3.8061   TUCSON MEDICAL CENTER, A CORPORATION                     10/9/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT AND CHIEF EXECUTIVE OFFICER
         5301 EAST GRANT ROAD                                  ACCOUNT NO.:
         TUCSON, AZ 85712                                      NOT AVAILABLE



3.8062   TULALIP TRIBES                                           4/27/2018                   Opioid Matter              UNDETERMINED
         6406 MARINE DRIVE
         TULALIP, WA 98271                                     ACCOUNT NO.:
                                                               NOT AVAILABLE

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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.8063   TULE RIVER INDIAN TRIBE OF CALIFORNIA                    6/7/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON
         340 N RESERVATION RD                                  ACCOUNT NO.:
         PORTERVILLE, CA 93257                                 NOT AVAILABLE



3.8064   TULLAHOMA HMA, LLC F/K/A TULLAHOMA HMA, INC.             7/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         1801 NORTH JACKSON STREET                             ACCOUNT NO.:
         TENNOVA HEALTHCARE - HARTON HOSPITAL                  NOT AVAILABLE
         TULLAHOMA, TN 37388



3.8065   TULLAHOMA HMA, LLC F/K/A TULLAHOMA HMA, INC.             7/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT; MANAGING MEMBER
         4000 MERIDIAN BOULEVARD                               ACCOUNT NO.:
         COMMUNITY HEALTH SYSTEMS                              NOT AVAILABLE
         FRANKLIN, TN 37067-6325



3.8066   TUNICA-BILOXI TRIBE OF LOUISIANA                         8/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND CHIEF EXECUTIVE OFFICER
         150 MELACON ROAD                                      ACCOUNT NO.:
         MARKSVILLE, LA 71351                                  NOT AVAILABLE



3.8067   TURNER, NATASHA H                                       10/28/2016                    Automobile                UNDETERMINED
         NOT AVAILABLE
                                                               ACCOUNT NO.:
                                                               AB50540162602


3.8068   TURTLE MOUNTAIN BAND OF CHIPPEWA INDIANS                 5/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: TRIBAL CHAIRMAN AND CHIEF EXECUTIVE
         OFFICER OF THE TURTLE MOUNTAIN BAND OF                ACCOUNT NO.:
         CHIPPEWA INDIANS                                      NOT AVAILABLE
         TRIBAL HEADQUARTERS
         4180 HIGHWAY 281
         BELCOURT, ND 58316



3.8069   TUSCALOOSA COUNTY, ALABAMA                               2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISIONER, AND CLERK
         714 GREENSBORO AVE                                    ACCOUNT NO.:
         TUSCALOOSA, AL 35401                                  NOT AVAILABLE



3.8070   TWIGGS COUNTY, GEORGIA                                   3/22/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         TWIGGS COUNTY COMMISSIONERS                           ACCOUNT NO.:
         425 RAILROAD STREET - PO BOX 202                      NOT AVAILABLE
         JEFFERSONVILLE, GA 31044



3.8071   TYLER COUNTY COMMISSION                                 12/13/2017                   Opioid Matter              UNDETERMINED
         ATTN: TYLER COUNTY PROSECUTOR
         225 1/2 MAIN STREET                                   ACCOUNT NO.:
         OLD TYLER COUNTY BANK BUILDING - 2ND FLOOR            NOT AVAILABLE
         MIDDLEBOURNE, WV 26149




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.8072   TYLER COUNTY COMMISSION                                 12/13/2017                   Opioid Matter              UNDETERMINED
         ATTN: TYLER COUNTY PROSECUTOR
         P.O. BOX 125                                          ACCOUNT NO.:
         MIDDLEBOURNE, WV 26149                                NOT AVAILABLE



3.8073   TYLER COUNTY COMMISSION                                 12/13/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS AND CLERK
         TYLER COUNTY COURTHOUSE                               ACCOUNT NO.:
         121 MAIN STREET                                       NOT AVAILABLE
         MIDDLEBOURNE, WV 26149



3.8074   TYLER COUNTY COMMISSION                                 12/13/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS AND CLERK
         POBOX 66                                              ACCOUNT NO.:
         MIDDLEBOURNE, WV 26149                                NOT AVAILABLE



3.8075   TYLER COUNTY COMMISSION                                 12/13/2017                   Opioid Matter              UNDETERMINED
         PAUL J. NAPOLI
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.8076   TYLER COUNTY COMMISSION                                 12/13/2017                   Opioid Matter              UNDETERMINED
         JOSEPH F. SHAFFER
         SHAFFER MADIA LAW PLLC                                ACCOUNT NO.:
         343 WEST MAIN STREET                                  NOT AVAILABLE
         CLARKSBURG, WV 26301



3.8077   TYLER COUNTY COMMISSION                                 12/13/2017                   Opioid Matter              UNDETERMINED
         JOSEPH L. CIACCIO
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.8078   TYLER COUNTY COMMISSION                                 12/13/2017                   Opioid Matter              UNDETERMINED
         CLAYTON J. FITZSIMMONS
         FITZSIMMONS LAW FIRM PLLC                             ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26003



3.8079   TYLER COUNTY COMMISSION                                 12/13/2017                   Opioid Matter              UNDETERMINED
         MARK A. COLANTONIO
         FITZSIMMONS LAW FIRM PLLC                             ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26003



3.8080   TYLER COUNTY COMMISSION                                 12/13/2017                   Opioid Matter              UNDETERMINED
         DANIEL J. GUIDA
         GUIDA LAW OFFICE                                      ACCOUNT NO.:
         3374 MAIN STREET                                      NOT AVAILABLE
         WEIRTON, WV 26062




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip                 Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                            And Account Number                         Claim

Litigation

3.8081   TYLER COUNTY COMMISSION                                              12/13/2017                Opioid Matter              UNDETERMINED
         HUNTER J. SHKOLNIK
         NAPOLI SHKOLNIK PLLC                                               ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                                   NOT AVAILABLE
         MELVILLE, NY 11747



3.8082   TYLER COUNTY COMMISSION                                              12/13/2017                Opioid Matter              UNDETERMINED
         ROBERT P. FITZSIMMONS
         FITZSIMMONS LAW FIRM PLLC                                          ACCOUNT NO.:
         1609 WARWOOD AVENUE                                                NOT AVAILABLE
         WHEELING, WV 26003



3.8083   TYLER COUNTY COMMISSION                                              12/13/2017                Opioid Matter              UNDETERMINED
         JONATHAN E. TURAK
         GOLD, KHOUREY & TURAK                                              ACCOUNT NO.:
         510 TOMLINSON AVENUE                                               NOT AVAILABLE
         MOUNDSVILLE, WV 26041



3.8084   TYLER COUNTY COMMISSION                                              12/13/2017                Opioid Matter              UNDETERMINED
         SALVATORE C. BADALA
         NAPOLI SHKOLNIK PLLC                                               ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                                   NOT AVAILABLE
         MELVILLE, NY 11747



3.8085   TYLER COUNTY COMMISSION                                              12/13/2017                Opioid Matter              UNDETERMINED
         SHAYNA E. SACKS
         NAPOLI SHKOLNIK PLLC                                               ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                                   NOT AVAILABLE
         MELVILLE, NY 11747



3.8086   TYLER COUNTY COMMISSION                                              12/13/2017                Opioid Matter              UNDETERMINED
         SAMUEL D. MADIA
         SHAFFER MADIA LAW PLLC                                             ACCOUNT NO.:
         343 WEST MAIN STREET                                               NOT AVAILABLE
         CLARKSBURG, WV 26301



3.8087   Tyler M. Roach, natural Tutor on behalf of his minor child, Baby     2/26/2018                 Opioid Matter              UNDETERMINED
         K.E.R., and as class representative for all Neonatal Abstinence
         Syndrome afflicted babies born in Louisiana                        ACCOUNT NO.:
         Attn: William P. Gibbens                                           NOT AVAILABLE
         Schonekas, Evans, McGoey & McEachin, LLC
         909 Poydras Street, Suite 1600
         New Orleans, LA 70112



3.8088   Tyler M. Roach, natural Tutor on behalf of his minor child, Baby     2/26/2018                 Opioid Matter              UNDETERMINED
         K.E.R., and as class representative for all Neonatal Abstinence
         Syndrome afflicted babies born in Louisiana                        ACCOUNT NO.:
         Attn: Barry James Cooper, Jr., Celeste Brustowicz                  NOT AVAILABLE
         Cooper Law Firm, LLC
         1525 Religious Street
         New Orleans, LA 70130




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip                 Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                            And Account Number                         Claim

Litigation

3.8089   Tyler M. Roach, natural Tutor on behalf of his minor child, Baby     2/26/2018                 Opioid Matter              UNDETERMINED
         K.E.R., and as class representative for all Neonatal Abstinence
         Syndrome afflicted babies born in Louisiana                        ACCOUNT NO.:
         Attn: Lawrence J. Centola, III                                     NOT AVAILABLE
         Martzell & Bickford
         338 Lafayette St.
         New Orlean, LA 70130



3.8090   Tyler M. Roach, natural Tutor on behalf of his minor child, Baby     2/26/2018                 Opioid Matter              UNDETERMINED
         K.E.R., and as class representative for all Neonatal Abstinence
         Syndrome afflicted babies born in Louisiana                        ACCOUNT NO.:
         Attn: Neil Franz Nazareth                                          NOT AVAILABLE
         Martzell & Bickford
         338 Lafayette St.
         New Orleans, LA 70130



3.8091   Tyler M. Roach, natural Tutor on behalf of his minor child, Baby     2/26/2018                 Opioid Matter              UNDETERMINED
         K.E.R., and as class representative for all Neonatal Abstinence
         Syndrome afflicted babies born in Louisiana                        ACCOUNT NO.:
         Attn: Jason Zachary Landry                                         NOT AVAILABLE
         Martzell & Bickford
         338 Lafayette St.
         New Orleans, LA 70130



3.8092   Tyler M. Roach, natural Tutor on behalf of his minor child, Baby     2/26/2018                 Opioid Matter              UNDETERMINED
         K.E.R., and as class representative for all Neonatal Abstinence
         Syndrome afflicted babies born in Louisiana                        ACCOUNT NO.:
         Attn: Warren Perrin                                                NOT AVAILABLE
         Perrin, Landry, deLaunay
         251 La Rue France - P.O. Box 53597
         Lafayette, LA 70505



3.8093   Tyler M. Roach, natural Tutor on behalf of his minor child, Baby     2/26/2018                 Opioid Matter              UNDETERMINED
         K.E.R., and as class representative for all Neonatal Abstinence
         Syndrome afflicted babies born in Louisiana                        ACCOUNT NO.:
         Attn: Jack W. Harang                                               NOT AVAILABLE
         Law Offices of Jack W. Harang
         2433 Taffy Dr.
         Kenner, LA 70065



3.8094   Tyler M. Roach, natural Tutor on behalf of his minor child, Baby     2/26/2018                 Opioid Matter              UNDETERMINED
         K.E.R., and as class representative for all Neonatal Abstinence
         Syndrome afflicted babies born in Louisiana                        ACCOUNT NO.:
         Attn: Spencer R. Doody                                             NOT AVAILABLE
         Martzell & Bickford
         338 Lafayette St.
         New Orleans, LA 70130



3.8095   Tyler M. Roach, natural Tutor on behalf of his minor child, Baby     2/26/2018                 Opioid Matter              UNDETERMINED
         K.E.R., and as class representative for all Neonatal Abstinence
         Syndrome afflicted babies born in Louisiana                        ACCOUNT NO.:
         Attn: Justin Winch                                                 NOT AVAILABLE
         Winch Law Firm, LLC
         14616 Leon Road, Suite 101
         Abbeville, LA 70510




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Creditor's Name, Mailing Address Including Zip                 Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                            And Account Number                         Claim

Litigation

3.8096   Tyler M. Roach, natural Tutor on behalf of his minor child, Baby     2/26/2018                 Opioid Matter              UNDETERMINED
         K.E.R., and as class representative for all Neonatal Abstinence
         Syndrome afflicted babies born in Louisiana                        ACCOUNT NO.:
         Attn: Celeste Brustowicz                                           NOT AVAILABLE
         Cooper Law Firm, LLC
         1525 Religious Street
         New Orleans, LA 70130



3.8097   Tyler M. Roach, natural Tutor on behalf of his minor child, Baby     2/26/2018                 Opioid Matter              UNDETERMINED
         K.E.R., and as class representative for all Neonatal Abstinence
         Syndrome afflicted babies born in Louisiana                        ACCOUNT NO.:
         Attn: Scott R. Bickford                                            NOT AVAILABLE
         Martzell & Bickford
         338 Lafayette St.
         New Orleans, LA 70130



3.8098   TYRRELL COUNTY                                                       5/23/2018                 Opioid Matter              UNDETERMINED
         ATTN: JOSH STEIN
         STATE OF NORTH CAROLINA ATTORNEY GENERAL                           ACCOUNT NO.:
         DEPT. OF JUSTICE, P.O.BOX 629                                      NOT AVAILABLE
         RALEIGH, NC 27602-0629



3.8099   TYRRELL COUNTY                                                       5/23/2018                 Opioid Matter              UNDETERMINED
         1466 RHODES ROAD
         COLUMBIA, NC 27925                                                 ACCOUNT NO.:
                                                                            NOT AVAILABLE


3.8100   TYRRELL COUNTY                                                       5/23/2018                 Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER
         PO BOX 449                                                         ACCOUNT NO.:
         COLUMBIA, NC 27925                                                 NOT AVAILABLE



3.8101   U.S. EX REL., ROBERT E. MANCHESTER, ET AL.                           5/25/2016                 Opioid Matter              UNDETERMINED
         ATTN: MAURA HEALEY
         STATE OF MASSACHUSETTS ATTORNEY GENERAL                            ACCOUNT NO.:
         1 ASHBURTON PLACE                                                  NOT AVAILABLE
         BOSTON, MA 02108-1698



3.8102   U.S. EX REL., ROBERT E. MANCHESTER, ET AL.                           5/25/2016                 Opioid Matter              UNDETERMINED
         ATTN: FRANCIS G. CONRAD
         THE CONRAD LAW FIRM                                                ACCOUNT NO.:
         P.O. BOX 68                                                        NOT AVAILABLE
         HULETTS LANDING, NY 12841



3.8103   UFCW LOCAL 23 AND EMPLOYERS HEALTH FUND                              4/24/2018                 Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT, CHAIRPERSON
         UFCW LOCAL 23 & EMPLOYERS BENEFIT FUND                             ACCOUNT NO.:
         345 SOUTHPOINTE BOULEVARD - SUITE 200                              NOT AVAILABLE
         CANONSBURG, PA 15317



3.8104   UINTAH COUNTY, UTAH                                                   6/4/2018                 Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         147 EAST MAIN STREET                                               ACCOUNT NO.:
         VERNAL, UT 84078                                                   NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.8105   UNICOI COUNTY                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY MAYOR & CLERK
         PO BOX 169                                            ACCOUNT NO.:
         ERWIN, TN 37650                                       NOT AVAILABLE



3.8106   UNIFIED GOVERNMENT OF WYANDOTTE                         12/18/2018                   Opioid Matter              UNDETERMINED
         COUNTY/KANSAS CITY, KANSAS
         ATTN: COUNTY CLERK                                    ACCOUNT NO.:
         CITY HALL                                             NOT AVAILABLE
         701 NORTH 7TH STREET - SUITE 323
         KANSAS CITY, KS 66101



3.8107   UNIFIED GOVERNMENT OF WYANDOTTE                         12/18/2018                   Opioid Matter              UNDETERMINED
         COUNTY/KANSAS CITY, KANSAS
         ATTN: COUNTY COMMISSIONERS                            ACCOUNT NO.:
         CITY HALL                                             NOT AVAILABLE
         701 NORTH 7TH STREET - SUITE 979
         KANSAS CITY, KS 66101



3.8108   UNION COUNTY                                             3/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: AUDITOR
         300 NORTH PINE STREET                                 ACCOUNT NO.:
         SUITE 2                                               NOT AVAILABLE
         CRESTON, IA 50801



3.8109   UNION COUNTY                                             3/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: BOARD OF SUPERVISORS CHAIR
         2021 240TH STREET                                     ACCOUNT NO.:
         SHANNON CITY, IA 50861                                NOT AVAILABLE



3.8110   UNION COUNTY                                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY MAYOR
         901 MAIN STREET                                       ACCOUNT NO.:
         SUITE 100                                             NOT AVAILABLE
         MAYNARDVILLE, TN 37807



3.8111   UNION COUNTY                                            12/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         UNION COUNTY COURTHOUSE                               ACCOUNT NO.:
         2 BROAD STREET                                        NOT AVAILABLE
         ELIZABETH, NJ 07207



3.8112   UNION COUNTY                                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         825 MAIN STREET                                       ACCOUNT NO.:
         MAYNARDVILLE, TN 37807                                NOT AVAILABLE



3.8113   UNION COUNTY                                            12/20/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE BOARD OF CHOSEN FREEHOLDERS
         10 ELIZABETHTOWN PLAZA                                ACCOUNT NO.:
         ELIZABETH, NJ 07207                                   NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.8114   UNION COUNTY, FLORIDA                                    6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: CLERK OF THE CIRCUIT COURT
         55 WEST MAIN STREET, ROOM 103                         ACCOUNT NO.:
         LAKE BUTLER, FL 32054                                 NOT AVAILABLE



3.8115   UNION COUNTY, FLORIDA                                    6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRWOMAN OF BOARD OF COUNTY
         COMMISSIONERS                                         ACCOUNT NO.:
         15 NE 1ST STREET                                      NOT AVAILABLE
         LAKE BUTLER, FL 32054



3.8116   UNION COUNTY, GEORGIA                                   10/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: SOLE COMMISSIONER AND COUNTY MANAGER
         65 COURTHOSUE STREET                                  ACCOUNT NO.:
         SUITE 1                                               NOT AVAILABLE
         BLAIRSVILLE, GA 30512



3.8117   UNION COUNTY, MISS.                                      1/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF SUPERVISORS
         PO BOX 847                                            ACCOUNT NO.:
         109 E. MAIN ST.                                       NOT AVAILABLE
         NEW ALBANY, MS 38652



3.8118   UNION PARISH                                             10/8/2018                   Opioid Matter              UNDETERMINED
         100 EAST BAYOU STREET, SUITE 105
         FARMERVILLE, LA 71241                                 ACCOUNT NO.:
                                                               NOT AVAILABLE


3.8119   UNION PARISH                                             10/8/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF POLICE JURY
         303 EAST WATER STREET                                 ACCOUNT NO.:
         FARMERVILLE, LA 71241                                 NOT AVAILABLE



3.8120   UNITED FOOD AND COMMERCIAL WORKERS HEALTH                11/9/2017                   Opioid Matter              UNDETERMINED
         AND WELFARE FUND OF NORTHEASTERN
         PENNSYLVANIA                                          ACCOUNT NO.:
         ATTN: PRESIDENT AND FUND ADMINISTRATOR                NOT AVAILABLE
         3031B WALTON ROAD
         PLYMOUTH MEETING, PA 19462



3.8121   UNITED FOOD AND COMMERCIAL WORKERS HEALTH                11/9/2017                   Opioid Matter              UNDETERMINED
         AND WELFARE FUND OF NORTHEASTERN
         PENNSYLVANIA                                          ACCOUNT NO.:
         ATTN: ATTN: PRESIDENT AND FUND ADMINISTRATOR          NOT AVAILABLE
         66 GRAND AVENUE
         ENGLEWOOD, NJ 07631



3.8122   UNITED FOOD AND COMMERCIAL WORKERS LOCAL 1000            6/15/2018                   Opioid Matter              UNDETERMINED
         OKLAHOMA HEALTH AND WELFARE FUND
         ATTN: PRESIDENT                                       ACCOUNT NO.:
         967 WEST WALL STREET                                  NOT AVAILABLE
         SUITE 100
         GRAPEVINE, TX 76051




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.8123   UNITED FOOD AND COMMERCIAL WORKERS LOCAL 1995            9/27/2018                   Opioid Matter              UNDETERMINED
         EMPLOYERS HEALTH AND WELFARE FUND
         ATTN: REGISTERED AGENT                                ACCOUNT NO.:
         CT CORPORATION SYSTEM                                 NOT AVAILABLE
         289 SOUTH CULVER STREET
         LAWRENCEVILLE, GA 30046



3.8124   UNITED FOOD AND COMMERCIAL WORKERS LOCAL 1995            9/27/2018                   Opioid Matter              UNDETERMINED
         EMPLOYERS HEALTH AND WELFARE FUND
         ATTN: EXECUTIVE DIRECTOR                              ACCOUNT NO.:
         UFCW UNITONS AND EMPLOYERS BENEFITS                   NOT AVAILABLE
         ADMINISTRATION, LLC
         1740 PHOENIX PARKWAY
         ATLANTA, GA 30349



3.8125   UNITED FOOD AND COMMERCIAL WORKERS UNION                 6/8/2018                    Opioid Matter              UNDETERMINED
         UFCW LOCAL 1529 AND EMPLOYERS HEALTH AND
         WELFARE PLAN AND TRUST                                ACCOUNT NO.:
         ATTN: PRESIDENT AND CHIEF EXECUTIVE OFFICER, AND      NOT AVAILABLE
         SECRETARY-TREASURER
         8205 MACON ROAD
         CORDOVA, TN 38018



3.8126   UNITED FOOD AND COMMERCIAL WORKERS UNION                 6/8/2018                    Opioid Matter              UNDETERMINED
         UFCW LOCAL 1529 AND EMPLOYERS HEALTH AND
         WELFARE PLAN AND TRUST                                ACCOUNT NO.:
         ATTN: ADMINISTRATOR, AND PRESIDENT AND CHIEF          NOT AVAILABLE
         EXECUITVE OFFICER
         661 N. ERICSON ROAD
         CORDOVA, TN 38018



3.8127   UNITED FOOD AND COMMERCIAL WORKERS UNIONS                1/11/2019                   Opioid Matter              UNDETERMINED
         AND EMPLOYERS HEALTH AND WELFARE FUND -
         ATLANTA                                               ACCOUNT NO.:
         ATTN: PRESIDENT OF THE FUND                           NOT AVAILABLE
         1800 PHOENIX BLVD
         #310
         ATLANTA, GA 30349



3.8128   UNITED FOOD AND COMMERCIAL WORKERS UNIONS                1/11/2019                   Opioid Matter              UNDETERMINED
         AND EMPLOYERS HEALTH AND WELFARE FUND -
         ATLANTA                                               ACCOUNT NO.:
         ATTN: PRESIDENT, SECRETARY-TREASURER                  NOT AVAILABLE
         UFCW CONSOLIDATED PENSION FUND (HEALTH &
         WELFARE OFFICE)
         1740 PHENIX PARKWAY
         ATLANTA, GA 30349



3.8129   UNITED GOVERNMENT OF ATHENS-CLARKE COUNTY                2/7/2018                    Opioid Matter              UNDETERMINED
         GEORGIA
         CITY HALL                                             ACCOUNT NO.:
         301 COLLEGE AVENUE                                    NOT AVAILABLE
          - SUITE 303
         ATHENS, GA 30601




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.8130   UNITED GOVERNMENT OF ATHENS-CLARKE COUNTY                2/7/2018                    Opioid Matter              UNDETERMINED
         GEORGIA
         ATTN: MAYOR                                           ACCOUNT NO.:
         301 COLLEGE AVENUE                                    NOT AVAILABLE
         SUITE 300
         ATHENS, GA 30601



3.8131   UNITED HOSPITAL CENTER, INC.                             4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         MICHAEL C. TILLMAN                                    ACCOUNT NO.:
         327 MEDICAL PARK DRIVE                                NOT AVAILABLE
         BRIDGEPORT, WV 26330



3.8132   UNITED HOSPITAL CENTER, INC.                             4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT
         327 MEDICAL PARK DRIVE                                ACCOUNT NO.:
         C/O JIM RUTKOWSKI                                     NOT AVAILABLE
         BRIDGEPORT, WV 26330



3.8133   UNITED KEETOOWAH BAND OF CHEROKEE INDIANS                6/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF AND EXECUTIVE OFFICER OF THE UNITED
         KEETOOWAH BAND OF CHEROKEE INDIANS                    ACCOUNT NO.:
         18263 WEST KEETOOWAH CIRCLE                           NOT AVAILABLE
         TAHLEQUAH, OK 74464



3.8134   UPPER SIOUX COMMUNITY                                    8/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT
         PEZIHUTAZIZI OYATE                                    ACCOUNT NO.:
         5722 TRAVERS LANE - PO BOX 147                        NOT AVAILABLE
         GRANITE FALLS, MN 56241



3.8135   UPSHUR COUNTY COMMISSION                                 9/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: MEMBERS OF THE COUNTY COMMISSION AND
         COUNTY ADMINISTRATOR                                  ACCOUNT NO.:
         UPSHUR COUNTY ADMINISTRATIVE ANNEX                    NOT AVAILABLE
         91 WEST MAIN STREET - SUITE 101
         BUCKHANNON, WV 26201



3.8136   UPSHUR COUNTY COMMISSION                                 9/28/2018                   Opioid Matter              UNDETERMINED
         SALVATORE C. BADALA
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.8137   UPSHUR COUNTY COMMISSION                                 9/28/2018                   Opioid Matter              UNDETERMINED
         ROBERT P. FITZSIMMONS
         FITZSIMMONS LAW FIRM PLLC                             ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26003



3.8138   UPSHUR COUNTY COMMISSION                                 9/28/2018                   Opioid Matter              UNDETERMINED
         CLAYTON J. FITZSIMMONS
         FITZSIMMONS LAW FIRM PLLC                             ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26003


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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.8139   UPSHUR COUNTY COMMISSION                                 9/28/2018                   Opioid Matter              UNDETERMINED
         MARK A. COLANTONIO
         FITZSIMMONS LAW FIRM PLLC                             ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26003



3.8140   UPSHUR COUNTY COMMISSION                                 9/28/2018                   Opioid Matter              UNDETERMINED
         PAUL J. NAPOLI
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.8141   UPSHUR COUNTY COMMISSION                                 9/28/2018                   Opioid Matter              UNDETERMINED
         HUNTER J. SHKOLNIK
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.8142   UPSHUR COUNTY COMMISSION                                 9/28/2018                   Opioid Matter              UNDETERMINED
         SHAYNA E. SACKS
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.8143   UPSHUR COUNTY COMMISSION                                 9/28/2018                   Opioid Matter              UNDETERMINED
         SAMUEL D. MADIA
         SHAFFER MADIA LAW PLLC                                ACCOUNT NO.:
         343 WEST MAIN STREET                                  NOT AVAILABLE
         CLARKSBURG, WV 26301



3.8144   UPSHUR COUNTY COMMISSION                                 9/28/2018                   Opioid Matter              UNDETERMINED
         JOSEPH F. SHAFFER
         SHAFFER MADIA LAW PLLC                                ACCOUNT NO.:
         343 WEST MAIN STREET                                  NOT AVAILABLE
         CLARKSBURG, WV 26301



3.8145   UPSHUR COUNTY COMMISSION                                 9/28/2018                   Opioid Matter              UNDETERMINED
         JOSEPH L. CIACCIO
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         360 LEXINGTON AVENUE - 11TH FLOOR                     NOT AVAILABLE
         NEW YORK, NY 10017



3.8146   UTAH COUNTY, UTAH                                        10/9/2018                   Opioid Matter              UNDETERMINED
         111 S. UNIVERSITY AVENUE
         PROVO, UT 84601                                       ACCOUNT NO.:
                                                               NOT AVAILABLE


3.8147   UTAH COUNTY, UTAH                                        10/9/2018                   Opioid Matter              UNDETERMINED
         ATTN: UTAH COUNTY CLERK/AUDITOR
         100 EAST CENTER STREET                                ACCOUNT NO.:
         PROVO, UT 84606                                       NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.8148   UTAH DIVISION OF CONSUMER PROTECTION                     1/30/2019                   Opioid Matter              UNDETERMINED
         STATE OF UTAH ATTORNEY GENERAL
         ATTN: SEAN REYES                                      ACCOUNT NO.:
         STATE CAPITOL, RM. 236                                NOT AVAILABLE
         SALT LAKE CITY, UT 84114-0810



3.8149   UTAH DIVISION OF CONSUMER PROTECTION                     1/30/2019                   Opioid Matter              UNDETERMINED
         STATE OF UTAH ATTORNEY GENERAL
         ATTN: SEAN REYES                                      ACCOUNT NO.:
         STATE CAPITOL, RM. 236                                NOT AVAILABLE
         SALT LAKE CITY, UT 84114-0810



3.8150   UTAH DIVISION OF CONSUMER PROTECTION                     1/30/2019                   Opioid Matter              UNDETERMINED
         ATTN: ATTORNEY GENERAL UTAH STATE
         HEBER M. WELLS BUILDING                               ACCOUNT NO.:
         P.O. BOX 140811                                       NOT AVAILABLE
         SALT LAKE CITY, UT 84114



3.8151   UTAH DIVISION OF CONSUMER PROTECTION                     1/30/2019                   Opioid Matter              UNDETERMINED
         ATTN: ATTORNEY GENERAL UTAH STATE
         OFFICE OF THE ATTORNEY GENERAL                        ACCOUNT NO.:
         P.O. BOX 142320                                       NOT AVAILABLE
         SALT LAKE CITY, UT 84114-2320



3.8152   UTAH DIVISION OF CONSUMER PROTECTION                     1/30/2019                   Opioid Matter              UNDETERMINED
         ATTN: ATTORNEY GENERAL UTAH STATE
         OFFICE OF THE ATTORNEY GENERAL                        ACCOUNT NO.:
         PO BOX 142320                                         NOT AVAILABLE
         SALT LAKE CITY, UT 84114-2320



3.8153   UTAH DIVISION OF CONSUMER PROTECTION                     1/30/2019                   Opioid Matter              UNDETERMINED
         ATTN: ATTORNEY GENERAL UTAH STATE
         HEBER M. WELLS BUILDING                               ACCOUNT NO.:
         P.O. BOX 140811                                       NOT AVAILABLE
         SALT LAKE CITY, UT 84114



3.8154   UTAH DIVISION OF CONSUMER PROTECTION                     1/30/2019                   Opioid Matter              UNDETERMINED
         ATTN: ATTORNEY GENERAL UTAH STATE
         UTAH STATE CAPITOL COMPLEX                            ACCOUNT NO.:
         350 NORTH STATE STREET, SUITE 230                     NOT AVAILABLE
         SALT LAKE CITY, UT 84114-2320



3.8155   UTAH DIVISION OF CONSUMER PROTECTION                     1/30/2019                   Opioid Matter              UNDETERMINED
         ATTN: KEVIN MCLEAN, ROBERT WING
         HEBER M. WELLS BUILDING                               ACCOUNT NO.:
         160 WEST 300 SOUTH - P.O. BOX 146704                  NOT AVAILABLE
         SALT LAKE CITY, UT 84114



3.8156   VALLEY FIRE DISTRICT                                     6/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE BOARD OF TRUSTEES
         5287 DOGWOOD DRIVE                                    ACCOUNT NO.:
         PENINSULA, OH 44264                                   NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.8157   VALLEY HOPE ASSOCIATION, ON BEHALF OF ITSELF AND         5/25/2018                   Opioid Matter              UNDETERMINED
         ALL OTHER ENTITIES SIMILARLY SITUATED
         ATTN: DAVID J. REBEIN                                 ACCOUNT NO.:
         REBEIN BANGERTER REBEIN PA                            NOT AVAILABLE
         810 FRONTVIEW - PO BOX 1147
         DODGE CITY, KS 67801



3.8158   VALLEY HOPE ASSOCIATION, ON BEHALF OF ITSELF AND         5/25/2018                   Opioid Matter              UNDETERMINED
         ALL OTHER ENTITIES SIMILARLY SITUATED
         ATTN: AARON L. KITE                                   ACCOUNT NO.:
         KITE LAW FIRM, LLC                                    NOT AVAILABLE
         808 WEST MCARTOR ROAD - PO BOX 22
         DODGE CITY, KS 67801



3.8159   VALLEY HOPE ASSOCIATION, ON BEHALF OF ITSELF AND         5/25/2018                   Opioid Matter              UNDETERMINED
         ALL OTHER ENTITIES SIMILARLY SITUATED
         ATTN: W. MARK LANIER                                  ACCOUNT NO.:
         THE LANIER LAW FIRM                                   NOT AVAILABLE
         6810 FM 1960 WEST
         HOUSTON, TX 77069



3.8160   VALLEY HOPE ASSOCIATION, ON BEHALF OF ITSELF AND         5/25/2018                   Opioid Matter              UNDETERMINED
         ALL OTHER ENTITIES SIMILARLY SITUATED
         ATTN: REAGAN E. BRADFORD                              ACCOUNT NO.:
         THE LANIER LAW FIRM                                   NOT AVAILABLE
         6810 FM 1960 WEST
         HOUSTON, TX 77069



3.8161   VALLEY HOPE ASSOCIATION, ON BEHALF OF ITSELF AND         5/25/2018                   Opioid Matter              UNDETERMINED
         ALL OTHER ENTITIES SIMILARLY SITUATED
         ATTN: REX A. SHARP                                    ACCOUNT NO.:
         REX A. SHARP, PA                                      NOT AVAILABLE
         5301 W. 75TH STREET
         PRAIRIE VILLAGE, KS 66208



3.8162   VALLEY HOPE ASSOCIATION, ON BEHALF OF ITSELF AND         5/25/2018                   Opioid Matter              UNDETERMINED
         ALL OTHER ENTITIES SIMILARLY SITUATED
         ATTN: TODD GRIMMETT                                   ACCOUNT NO.:
         THE LANIER LAW FIRM                                   NOT AVAILABLE
         6810 FM 1960 WEST
         HOUSTON, TX 77069



3.8163   VAN BUREN COUNTY                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         121 TAFT DRIVE                                        ACCOUNT NO.:
         SPENCER, TN 38585                                     NOT AVAILABLE



3.8164   VAN BUREN COUNTY                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: CIRCUIT COURT CLERK
         PO BOX 126                                            ACCOUNT NO.:
         179 VETERANS SQUARE                                   NOT AVAILABLE
         SPENCER, TN 38585




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.8165   VAN BUREN COUNTY                                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         121 TAFT DRIVE                                        ACCOUNT NO.:
         SPENCER, TN 38585                                     NOT AVAILABLE



3.8166   VAN WERT COUNTY BOARD OF COUNTY                          5/14/2018                   Opioid Matter              UNDETERMINED
         COMMISSIONERS
         ATTN: COUNTY COMISSIONERS AND COUNTY CLERK            ACCOUNT NO.:
         COMMISSIONERS OFFICE                                  NOT AVAILABLE
         114 E. MAIN STREET - SUITE 200
         VAN WERT, OH 45891



3.8167   VAN WERT COUNTY BOARD OF COUNTY                          5/14/2018                   Opioid Matter              UNDETERMINED
         COMMISSIONERS
         VAN WERT COUNTY PROSECUTOR’S OFFICE                   ACCOUNT NO.:
         120 W. MAIN ST                                        NOT AVAILABLE
          - SUITE 100
         VAN WERT, OH 45891



3.8168   VANCE COUNTY                                             6/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: JOSH STEIN
         STATE OF NORTH CAROLINA ATTORNEY GENERAL              ACCOUNT NO.:
         DEPT. OF JUSTICE, P.O.BOX 629                         NOT AVAILABLE
         RALEIGH, NC 27602-0629



3.8169   VANCE COUNTY                                             6/13/2018                   Opioid Matter              UNDETERMINED
         259 DOCTOR FINCH ROAD
         HENDERSON, NC 27537                                   ACCOUNT NO.:
                                                               NOT AVAILABLE


3.8170   VANCE COUNTY                                             6/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER
         122 YOUNG STREET                                      ACCOUNT NO.:
         SUITE B                                               NOT AVAILABLE
         HENDERSON, NC 27536



3.8171   VANDERBURGH COUNTY                                       4/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE COUNTY COMMISSIONERS;
         VICE PRESIDENT OF THE COUNTY COMMISSIONERS;           ACCOUNT NO.:
         1 NORTHWEST MARTIN LUTHER KING JR BLVD                NOT AVAILABLE
         CIVIC CENTER COMPLEX - ROOM 305
         EVANSVILLE, IN 47708



3.8172   VANDERBURGH COUNTY                                       4/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE COUNTY COUNCIL, VICE-
         PRESIDENT OF THE COUNTY COUNCIL                       ACCOUNT NO.:
         1 NORTHWEST MARTIN LUTHER KING JR BLVD                NOT AVAILABLE
         CIVIC CENTER COMPLEX - ROOM 303
         EVANSVILLE, IN 47708



3.8173   VERMILION PARISH POLICE JURY                            10/26/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT, VERMILION PARISH POLICE JURY
         100 NORTH STATE STREET                                ACCOUNT NO.:
         ABBEVILLE, LA 70510                                   NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip       Date Claim Was Incurred     C U      D    Basis For      Offset   Amount of Claim
Code                                                  And Account Number                         Claim

Litigation

3.8174   VERNON COUNTY                                            11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY BOARD CHAIRMAN OF VERNON COUNTY
         ROOM 307 COURTHOUSE ANNEX                             ACCOUNT NO.:
         VIROQUA, WI 54665                                     NOT AVAILABLE



3.8175   VERNON COUNTY                                            11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK OF VERNON COUNTY
         108 COURTHOUSE ANNEX                                  ACCOUNT NO.:
         VIROQUA, WI 54665                                     NOT AVAILABLE



3.8176   VHS ACQUISITION SUBSIDIARY NUMBER 1, INC.                6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         OFFICE OF THE SECRETARY OF STATE                      ACCOUNT NO.:
         1700 WEST WASHINGTON STREET                           NOT AVAILABLE
         FLOOR 7, AZ 85007-2808



3.8177   VHS ACQUISITION SUBSIDIARY NUMBER 1, INC.                6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         CT CORPORATION SYSTEM                                 ACCOUNT NO.:
         3800 NORTH CENTRAL AVENUE - SUITE 460                 NOT AVAILABLE
         PHOENIX, AZ 85012



3.8178   VHS ACQUISITION SUBSIDIARY NUMBER 1, INC.                6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT
         1445 ROSS AVENUE                                      ACCOUNT NO.:
         SUITE 1400                                            NOT AVAILABLE
         DALLAS, TX 75202



3.8179   VHS BROWNSVILLE HOSPITAL COMPANY, LLC                   UNKNOWN                      Opioid Matter              UNDETERMINED
         D/B/AVALLEY BAPTIST MEDICAL CENTER - BROWNSVILLE
         ATTN: REGISTERED AGENT AND CHAIR OF THE BOARD         ACCOUNT NO.:
         1040 WEST JEFFERSON STREET                            NOT AVAILABLE
         BROWNSVILLE, TX 78520



3.8180   VHS HARLINGEN HOSPITAL COMPANY, LLC D/B/A               UNKNOWN                      Opioid Matter              UNDETERMINED
         VALLEY BAPTIST MEDICAL CENTER
         ATTN: REGISTERED AGENT AND CHAIR OF THE BOARD         ACCOUNT NO.:
         1999 BRYAN STREET                                     NOT AVAILABLE
         SUITE 900
         DALLAS, TX 75201



3.8181   VHS OF ARROWHEAD, INC.                                   6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: SECRETARY OF STATE
         OFFICE OF THE SECRETARY OF STATE                      ACCOUNT NO.:
         1700 WEST WASHINGTON STREET - FLOOR 7                 NOT AVAILABLE
         PHOENIX, AZ 85007-2808



3.8182   VHS OF ARROWHEAD, INC.                                   6/18/2019                   Opioid Matter              UNDETERMINED
         ATTN: MARKET CEO
         ABRAZO ARROWHEAD CAMPUS                               ACCOUNT NO.:
         18701 NORTH 67TH AVENUE                               NOT AVAILABLE
         GLENDALE, AZ 85308




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Creditor's Name, Mailing Address Including Zip                  Date Claim Was Incurred    C U      D    Basis For      Offset   Amount of Claim
Code                                                             And Account Number                        Claim

Litigation

3.8183   VHS OF ARROWHEAD, INC.                                              6/18/2019                  Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         1445 ROSS AVENUE                                                  ACCOUNT NO.:
         SUITE 1400                                                        NOT AVAILABLE
         DALLAS, TX 75202



3.8184   VHS San Antonio Partners, LLC d/b/a Baptist Medical Center,         UNKNOWN                    Opioid Matter              UNDETERMINED
         Mission Trail Baptist Hospital, North Central Baptist Hospital,
         Northeast Baptist Hospital, and St. Luke’s Baptist Hospital       ACCOUNT NO.:
         Attn: CEO, Partner, or Manager                                    NOT AVAILABLE
         1445 Ross Avenue
         Suite 1400
         Dallas, TX 75202-2703



3.8185   VHS San Antonio Partners, LLC d/b/a Baptist Medical Center,         UNKNOWN                    Opioid Matter              UNDETERMINED
         Mission Trail Baptist Hospital, North Central Baptist Hospital,
         Northeast Baptist Hospital, and St. Luke’s Baptist Hospital       ACCOUNT NO.:
         Attn: CEO, Partner, or Manager                                    NOT AVAILABLE
         1999 Bryan Street
         Suite 900
         Dallas, TX 75201



3.8186   VHS San Antonio Partners, LLC d/b/a Baptist Medical Center,         UNKNOWN                    Opioid Matter              UNDETERMINED
         Mission Trail Baptist Hospital, North Central Baptist Hospital,
         Northeast Baptist Hospital, and St. Luke’s Baptist Hospital       ACCOUNT NO.:
         Attn: CEO, Partner, or Manager                                    NOT AVAILABLE
         1150 Brussels Street
         San Antonio, TX 78219



3.8187   VHS SAN ANTONIO PARTNERS, LLC D/B/A BAPTIST                         UNKNOWN                    Opioid Matter              UNDETERMINED
         MEDICAL CENTER, MISSION TRAIL BAPTIST HOSPITAL,
         NORTH CENTRAL BAPTIST HOSPITAL, NORTHEAST                         ACCOUNT NO.:
         BAPTIST HOSPITAL, AND ST. LUKE’S BAPTIST HOSPITAL                 NOT AVAILABLE
         ATTN: REGISTERED AGENT
         1999 BRYAN STREET
         SUITE 900
         DALLAS, TX 75201



3.8188   VICTORIA OF TEXAS, L.P. D/B/A DETAR HOSPITAL                        UNKNOWN                    Opioid Matter              UNDETERMINED
         NAVARRO AND DETAR HOSPITAL NORTH
         ATTN: CEO, PARTNER, OR MANAGER                                    ACCOUNT NO.:
         101 MEDICAL DRIVE                                                 NOT AVAILABLE
         VICTORIA, TX 77904



3.8189   VICTORIA OF TEXAS, L.P. D/B/A DETAR HOSPITAL                        UNKNOWN                    Opioid Matter              UNDETERMINED
         NAVARRO AND DETAR HOSPITAL NORTH
         ATTN: CEO, PARTNER, OR MANAGER                                    ACCOUNT NO.:
         506 EAST SAN ANTONIO STREET                                       NOT AVAILABLE
         VICTORIA, TX 77901-6060



3.8190   VIGO COUNTY, INDIANA                                                 1/7/2018                  Opioid Matter              UNDETERMINED
         ATTN: CURTIS T. HILL, JR.
         STATE OF INDIANA ATTORNEY GENERAL                                 ACCOUNT NO.:
         INDIANA GOVERNMENT CENTER SOUTH - 5TH FLOOR -                     NOT AVAILABLE
         302 WEST WASHINGTON STREET
         INDIANAPOLIS, IN 46204



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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.8191   VIGO COUNTY, INDIANA                                     1/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY COUNCIL ADMINISTRATOR
         VIGO COUNTY GOVERNMENT CENTER                         ACCOUNT NO.:
         127 OAK STREET                                        NOT AVAILABLE
         TERRE HAUTE, IN 47807



3.8192   VILAS COUNTY                                             5/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND CHAIRPERSON OF THE COUNTY
         BOARD                                                 ACCOUNT NO.:
         330 COURT ST.                                         NOT AVAILABLE
         EAGLE RIVER, WI 54521



3.8193   VILAS COUNTY                                             5/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND CHAIRPERSON OF THE COUNTY
         BOARD                                                 ACCOUNT NO.:
         1147 JOHNSON CREEK ROAD                               NOT AVAILABLE
         ARBOR VITAE, WI 54568-9914



3.8194   VILLAGE OF BELWOOD                                       5/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF TRUSTEES OR
         VILLAGE CLERK                                         ACCOUNT NO.:
         3200 WASHINGTON BOULEVARD                             NOT AVAILABLE
         BELLWOOD, IL 60104



3.8195   VILLAGE OF BERKELEY                                      5/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: VILLAGE PRESIDENT OR VILLAGE CLERK
         5819 ELECTRIC AVENUE                                  ACCOUNT NO.:
         BERKELEY, IL 60163                                    NOT AVAILABLE



3.8196   VILLAGE OF BRIDGEVIEW                                    9/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF BOARD OF TRUSTEES AND
         VILLAGE CLERK                                         ACCOUNT NO.:
         7500 S. OKETO AVENUE, IL                              NOT AVAILABLE
         BRIDGEVIEW, IL 60455



3.8197   VILLAGE OF BROADVIEW                                     7/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: VILLAGE PRESIDENT/MAYOR OR VILLAGE CLERK
         VILLAGE OF BROADVIEW MUNICIPAL BUILDING               ACCOUNT NO.:
         2350 SOUTH 25TH AVENUE                                NOT AVAILABLE
         BROADVIEW, IL 60155



3.8198   VILLAGE OF BROOKLYN HEIGHTS                              4/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND CLERK/TREASURER AND LAW
         DIRECTOR                                              ACCOUNT NO.:
         BH MUNICIPAL CENTER                                   NOT AVAILABLE
         345 TUXEDO AVENUE
         BROOKLYN HEIGHTS, OH 44131



3.8199   VILLAGE OF CHICAGO RIDGE                                 7/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF TRUSTEES OR
         VILLAGE CLERK                                         ACCOUNT NO.:
         10455 SOUTH RIDGELAND AVENUE                          NOT AVAILABLE
         CHICAGO RIDGE, IL 60415




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.8200   VILLAGE OF CLINTON                                       6/30/2018                   Opioid Matter              UNDETERMINED
         209 SOUTH MAIN STREET, 3RD FLOOR
         AKRON, OH 44308                                       ACCOUNT NO.:
                                                               NOT AVAILABLE


3.8201   VILLAGE OF DOLTON                                        7/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF TRUSTEES OR
         VILLAGE CLERK                                         ACCOUNT NO.:
         14122 CHICAGO ROAD                                    NOT AVAILABLE
         DOLTON, IL 60419



3.8202   VILLAGE OF HERKIMER, NEW YORK                            7/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND VILLAGE CLERK TREASURER
         120 GREEN ST.                                         ACCOUNT NO.:
         MUNICIPAL HALL                                        NOT AVAILABLE
         HERKIMER, NY 13350



3.8203   VILLAGE OF HILLSIDE                                      5/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR/CHAIRMAN OF THE BOARD OF TRUSTEES
         VILLAGE HALL                                          ACCOUNT NO.:
         425 HILLSIDE AVENUE                                   NOT AVAILABLE
         HILSIDE, IL 60162



3.8204   VILLAGE OF HILLSIDE                                      5/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: VILLAGE CLERK
         425 NORTH HILLSIDE AVENUE                             ACCOUNT NO.:
         HILLSIDE, IL 60162                                    NOT AVAILABLE



3.8205   VILLAGE OF HODGKINS                                      9/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF BOARD OF TRUSTEES AND
         VILLAGE CLERK                                         ACCOUNT NO.:
         8990 LYONS STREET                                     NOT AVAILABLE
         HODGKINS, IL 60525



3.8206   VILLAGE OF HOFFMAN ESTATES                               7/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR / PRESIDENT OF BOARD OF TRUSTEES
         AND VILLAGE CLERK                                     ACCOUNT NO.:
         1900 HASSELL ROAD                                     NOT AVAILABLE
         HOFFMAN ESTATES, IL 60169



3.8207   VILLAGE OF MARRIONETTE PARK                              7/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: VILLAGE CLERK
         11720 SOUTH KEDZIE AVENUE                             ACCOUNT NO.:
         MERRIONETTE PARK, IL 60803                            NOT AVAILABLE



3.8208   VILLAGE OF MARRIONETTE PARK                              7/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF BOARD OF TRUSTEES / MAYOR
         11720 SOUTH KEDZIE                                    ACCOUNT NO.:
         MERRIONETTE PARK, IL 60803                            NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.8209   VILLAGE OF MAYWOOD                                       7/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF VILLAGE BOARD AND VILLAGE
         CLERK                                                 ACCOUNT NO.:
         40 MADISON STREET                                     NOT AVAILABLE
         MAYWOOD, IL 60153



3.8210   VILLAGE OF MELROSE PARK                                  5/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT, BOARD OF TRUSTEES AND VILLAGE
         CLERK                                                 ACCOUNT NO.:
         1000 N. 25TH AVENUE                                   NOT AVAILABLE
         MELROSE PARK, IL 60160



3.8211   VILLAGE OF NEWBURGH HEIGHTS                              4/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR AND VILLAGE SOLICITOR AND VILLAGE
         FISCAL OFFICER                                        ACCOUNT NO.:
         NEWBURGH HEIGHTS VILLAGE HALL                         NOT AVAILABLE
         3801 HARVARD AVENUE
         NEWBURGH HEIGHTS, OH 44105



3.8212   VILLAGE OF NORTH RIVERSIDE                               7/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: VILLAGE PRESIDENT / MAYOR AND VILLAGE CLERK
         2401 SOUTH DESPLAINES AVENUE                          ACCOUNT NO.:
         NORTH RIVERSIDE, IL 60546                             NOT AVAILABLE



3.8213   VILLAGE OF OAK LAWN                                      5/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: VILLAGE PRESIDENT / MAYOR AND VILLAGE CLERK
         9446 SOUTH RAYMOND AVENUE                             ACCOUNT NO.:
         OAK LAWN, IL 60453                                    NOT AVAILABLE



3.8214   VILLAGE OF ORLAND PARK                                   7/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: VILLAGE PRESIDENT / MAYOR
         14700 RAVINIA AVE                                     ACCOUNT NO.:
         ORLAND PARK, IL 60462                                 NOT AVAILABLE



3.8215   VILLAGE OF ORLAND PARK                                   7/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: VILLAGE CLERK
         14700 SOUTH RAVINIA AVE                               ACCOUNT NO.:
         ORLAND PARK, IL 60462                                 NOT AVAILABLE



3.8216   VILLAGE OF POSEN                                         7/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: VILLAGE BOARD
         VILLAGE HALL                                          ACCOUNT NO.:
         2440 WALTER ZIMNY DRIVE                               NOT AVAILABLE
         POSEN, IL 60469



3.8217   VILLAGE OF RIVER FOREST                                  5/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: VILLAGE PRESIDENT
         400 PARK AVENUE                                       ACCOUNT NO.:
         RIVER FOREST, IL 60305                                NOT AVAILABLE




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Code                                                 And Account Number                          Claim

Litigation

3.8218   VILLAGE OF RIVER GROVE                                   7/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: VILLAGE PRESIDENT, CLERK
         2621 NORTH THATCHER AVENUE                            ACCOUNT NO.:
         VILLAGE OF RIVER GROVE, IL 60171                      NOT AVAILABLE



3.8219   VILLAGE OF STONE PARK                                    7/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: VILLAGE PRESIDENT, CLERK
         1825 NORTH 32ND AVENUE                                ACCOUNT NO.:
         STONE PARK, IL 60165                                  NOT AVAILABLE



3.8220   VILLAGE OF TINLEY PARK                                   5/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT, BOARD OF TRUSTEES AND VILLAGE
         CLERK                                                 ACCOUNT NO.:
         16250 SOUTH OAK PARK AVENUE                           NOT AVAILABLE
         TINLEY PARK, IL 60477



3.8221   VINTON COUNTY BOARD OF COUNTY COMMISSIONERS             10/11/2017                   Opioid Matter              UNDETERMINED
         ATTN: CLERK OF THE BOARD OF COUNTY
         COMMISSIONERS; PRESIDENT OF BOARD OF COUNTY           ACCOUNT NO.:
         OF COMMISSIONERS                                      NOT AVAILABLE
         VINTON COUNTY COURTHOUSE
         FIRST FLOOR - 100 EAST MAIN STREET
         MCARTHUR, OH 45651



3.8222   W. ANDREW FOX, INDIVIDUALLY AND ON BEHALF OF ALL         8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: ANDREW M MUTTER                                 ACCOUNT NO.:
         CHAMBLISS, BAHNER & STOPHEL, PC                       NOT AVAILABLE
         605 CHESTNUT STREET, SUITE 1700
         CHATTANOOGA, TN 37450



3.8223   W. ANDREW FOX, INDIVIDUALLY AND ON BEHALF OF ALL         8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: WILLIAM S CONSOVOY                              ACCOUNT NO.:
         CONSOVOY MCCARTHY PARK PLLC                           NOT AVAILABLE
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201



3.8224   W. ANDREW FOX, INDIVIDUALLY AND ON BEHALF OF ALL         8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: TRAVIS LENKNER                                  ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 2570
         CHICAGO, IL 60606



3.8225   W. ANDREW FOX, INDIVIDUALLY AND ON BEHALF OF ALL         8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: THOMAS R MCCARTHY                               ACCOUNT NO.:
         CONSOVOY MCCARTHY PARK PLLC                           NOT AVAILABLE
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.8226   W. ANDREW FOX, INDIVIDUALLY AND ON BEHALF OF ALL         8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: SETH MEYER                                      ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 2570
         CHICAGO, IL 60606



3.8227   W. ANDREW FOX, INDIVIDUALLY AND ON BEHALF OF ALL         8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: MICHAEL H PARK                                  ACCOUNT NO.:
         ATTN: MICHAEL H PARK                                  NOT AVAILABLE
         745 FIFTH AVENUE - SUITE 500
         NEW YORK, NY 10151



3.8228   W. ANDREW FOX, INDIVIDUALLY AND ON BEHALF OF ALL         8/21/2018                   Opioid Matter              UNDETERMINED
         OTHERS SIMILARLY SITUATED
         ATTN: ASHLEY C. KELLER                                ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 2750
         CHICAGO, IL 60606



3.8229   W.E., ON BEHALF OF HERSELF AND ALL OTHERS               11/28/2018                   Opioid Matter              UNDETERMINED
         SIMILARLY SITUATED, BY AND THROUGH HER NEXT
         FRIEND PAMELA OSBORNE                                 ACCOUNT NO.:
         ATTN: KELLY COX BILEK                                 NOT AVAILABLE
         THE BILEK LAW FIRM, L.L.P.
         700 LOUISIANA - SUITE 3950
         HOUSTON, TX 77002



3.8230   W.E., ON BEHALF OF HERSELF AND ALL OTHERS               11/28/2018                   Opioid Matter              UNDETERMINED
         SIMILARLY SITUATED, BY AND THROUGH HER NEXT
         FRIEND PAMELA OSBORNE                                 ACCOUNT NO.:
         ATTN: MATTHEW D. ROGENES                              NOT AVAILABLE
         STAG LIUZZA, L.L.C.
         365 CANAL STREET - SUITE 2850
         NEW ORLEANS, LA 70130



3.8231   W.E., ON BEHALF OF HERSELF AND ALL OTHERS               11/28/2018                   Opioid Matter              UNDETERMINED
         SIMILARLY SITUATED, BY AND THROUGH HER NEXT
         FRIEND PAMELA OSBORNE                                 ACCOUNT NO.:
         ATTN: ASHLEY M. LIUZZA                                NOT AVAILABLE
         STAG LIUZZA, L.L.C.
         365 CANAL STREET - SUITE 2850
         NEW ORLEANS, LA 70130



3.8232   W.E., ON BEHALF OF HERSELF AND ALL OTHERS               11/28/2018                   Opioid Matter              UNDETERMINED
         SIMILARLY SITUATED, BY AND THROUGH HER NEXT
         FRIEND PAMELA OSBORNE                                 ACCOUNT NO.:
         ATTN: J.K. WESTON, ANDREW SACKS                       NOT AVAILABLE
         SACKS WESTON DIAMOND, LLC
         1845 WALNUT STREET - SUITE 1600
         PHILADELPHIA, PA 19103




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Code                                                  And Account Number                         Claim

Litigation

3.8233   W.E., ON BEHALF OF HERSELF AND ALL OTHERS               11/28/2018                   Opioid Matter              UNDETERMINED
         SIMILARLY SITUATED, BY AND THROUGH HER NEXT
         FRIEND PAMELA OSBORNE                                 ACCOUNT NO.:
         ATTN: JOHN WESTON                                     NOT AVAILABLE
         SACKS WESTON DIAMOND, LLC
         1845 WALNUT STREET - SUITE 1600
         PHILADELPHIA, PA 19103



3.8234   W.E., ON BEHALF OF HERSELF AND ALL OTHERS               11/28/2018                   Opioid Matter              UNDETERMINED
         SIMILARLY SITUATED, BY AND THROUGH HER NEXT
         FRIEND PAMELA OSBORNE                                 ACCOUNT NO.:
         ATTN: THOMAS E. BILEK, KELLY COX BILEK                NOT AVAILABLE
         THE BILEK LAW FIRM, L.L.P
         700 LOUISIANA - SUITE 3950
         HOUSTON, TX 77002



3.8235   W.E., ON BEHALF OF HERSELF AND ALL OTHERS               11/28/2018                   Opioid Matter              UNDETERMINED
         SIMILARLY SITUATED, BY AND THROUGH HER NEXT
         FRIEND PAMELA OSBORNE                                 ACCOUNT NO.:
         ATTN: MICHAEL G. STAG, ASHLEY M. LIUZZA, MATTHEW      NOT AVAILABLE
         D. ROGENES
         STAG LIUZZA, L.L.C.
         365 CANAL STREET - SUITE 2850
         NEW ORLEANS, LA 70130



3.8236   W.E., ON BEHALF OF HERSELF AND ALL OTHERS               11/28/2018                   Opioid Matter              UNDETERMINED
         SIMILARLY SITUATED, BY AND THROUGH HER NEXT
         FRIEND PAMELA OSBORNE                                 ACCOUNT NO.:
         ATTN: RODNEY G. DAVIS                                 NOT AVAILABLE
         DAVID LAW P.S.C.
         230 NORTH SECOND STREET - P.O. BOX 1060
         RICHMOND, KY 40476



3.8237   WAIKEISHA RICHARDSON, INDIVIDUALLY AND AS NEXT           6/20/2019                   Opioid Matter              UNDETERMINED
         FRIEND AND GUARDIAN OF BABIES E.M.1. AND E.M.2.
         ATTN: CELESTE BRUSTOWICZ                              ACCOUNT NO.:
         COOPER LAW FIRM, LLC                                  NOT AVAILABLE
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.8238   WALDO COUNTY                                             2/1/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS; COUNTY CLERK;
         TREASURER                                             ACCOUNT NO.:
         39B SPRING STREET                                     NOT AVAILABLE
         BELFAST, ME 04915



3.8239   WALDO COUNTY                                             2/1/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS; COUNTY CLERK;
         TREASURER                                             ACCOUNT NO.:
         39B SPRING STREET                                     NOT AVAILABLE
         BELFAST, ME 04915



3.8240   WALGREENS BOOTS ALLIANCE, INC.                           4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: EXECUTIVE CHAIRMAN, CHIEF EXECUTIVE
         OFFICER                                               ACCOUNT NO.:
         108 WILMOT ROAD                                       NOT AVAILABLE
         DEERFIELD, IL 60015

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Code                                                 And Account Number                          Claim

Litigation

3.8241   WALGREENS BOOTS ALLIANCE, INC.                           4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         801 ADLAI STEVENSON DRIVE                             ACCOUNT NO.:
         SPRINGFIELD, IL 62703                                 NOT AVAILABLE



3.8242   WALKER COUNTY                                            1/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER; CLERK
         1801 3RD AVENUE SOUTH, SUITE 113                      ACCOUNT NO.:
         JASPER, AL 35501                                      NOT AVAILABLE



3.8243   WALKER RIVER PAIUTE TRIBE OF THE WALKER RIVER            6/8/2018                    Opioid Matter              UNDETERMINED
         RESERVATION
         ATTN: TRIBAL CHAIRMAN AND CHIEF EXECUTIVE             ACCOUNT NO.:
         OFFICER OF THE WALKER RIVER PAIUTE TRIBE OF THE       NOT AVAILABLE
         WALKER RIVER RESERVATION
         WALKER RIVER PAIUTE TRIBE
         P.O. BOX 220 - 1022 HOSPITAL ROAD
         SCHURZ, NV 89427



3.8244   WALLA WALLA COUNTY                                       8/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: AUDITOR
         315 WEST MAIN STREET                                  ACCOUNT NO.:
         SECOND FLOOR - RM 201                                 NOT AVAILABLE
         WALLA WALLA, WA 99362



3.8245   WALSH COUNTY                                             6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND BOARD OF COMMISSIONERS
         COURT HOUSE BUILDING                                  ACCOUNT NO.:
         BOARD ROOM - 600 COOPER AVENUE                        NOT AVAILABLE
         GRAFTON, ND 58237



3.8246   WALTER AND VIRGINIA SALMONS, INDIVIDUALLY AND AS         3/2/2018                    Opioid Matter              UNDETERMINED
         THE NEXT FRIEND OR GUARDIAN OF MINOR W.D. AND
         ON BEHALF OF ALL OTHER SIMILARLY SITUATED             ACCOUNT NO.:
         ATTN: KEVIN W. THOMPSON                               NOT AVAILABLE
         THOMPSON BARNEY
         2030 KANAWHA BOULEVARD, EAST
         CHARLESTON, WV 25311-2204



3.8247   WALTER AND VIRGINIA SALMONS, INDIVIDUALLY AND AS         3/2/2018                    Opioid Matter              UNDETERMINED
         THE NEXT FRIEND OR GUARDIAN OF MINOR W.D. AND
         ON BEHALF OF ALL OTHER SIMILARLY SITUATED             ACCOUNT NO.:
         ATTN: STEPHEN H. WUSSOW                               NOT AVAILABLE
         COOPER LAW FIRM
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.8248   WALTER AND VIRGINIA SALMONS, INDIVIDUALLY AND AS         3/2/2018                    Opioid Matter              UNDETERMINED
         THE NEXT FRIEND OR GUARDIAN OF MINOR W.D. AND
         ON BEHALF OF ALL OTHER SIMILARLY SITUATED             ACCOUNT NO.:
         ATTN: VICTOR T. COBB                                  NOT AVAILABLE
         COOPER LAW FIRM
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:          List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip                 Date Claim Was Incurred      C U     D    Basis For      Offset   Amount of Claim
Code                                                            And Account Number                         Claim

Litigation

3.8249   WALTER AND VIRGINIA SALMONS, INDIVIDUALLY AND AS                      3/2/2018                 Opioid Matter              UNDETERMINED
         THE NEXT FRIEND OR GUARDIAN OF MINOR W.D. AND
         ON BEHALF OF ALL OTHER SIMILARLY SITUATED                          ACCOUNT NO.:
         ATTN: SUSAN J. VANZANT                                             NOT AVAILABLE
         P.O. BOX 987
         WILLIAMSON, WV 25661



3.8250   WALTER AND VIRGINIA SALMONS, INDIVIDUALLY AND AS                      3/2/2018                 Opioid Matter              UNDETERMINED
         THE NEXT FRIEND OR GUARDIAN OF MINOR W.D. AND
         ON BEHALF OF ALL OTHER SIMILARLY SITUATED                          ACCOUNT NO.:
         ATTN: CELESTE BRUSTOWICZ                                           NOT AVAILABLE
         COOPER LAW FIRM
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.8251   Walter and Virginia Salmons, individually and as the next friend      3/2/2018                 Opioid Matter              UNDETERMINED
         or guardian of Minor W.D. and on behalf of all other similarly
         situated                                                           ACCOUNT NO.:
         Attn: Kevin W. Thompson, David R. Barney, Jr.                      NOT AVAILABLE
         Thompson Barney Law Firm
         2030 Kanawha Boulevard, East
         Charleston, WV 25311-2204



3.8252   Walter and Virginia Salmons, individually and as the next friend      3/2/2018                 Opioid Matter              UNDETERMINED
         or guardian of Minor W.D. and on behalf of all other similarly
         situated                                                           ACCOUNT NO.:
         Attn: Barry James Cooper, Jr., Celeste Brustowicz, Stephen H.      NOT AVAILABLE
         Wussow, Victor T. Cobb
         Cooper Law Firm, LLC
         1525 Religious Street
         New Orleans, LA 70130



3.8253   WALTER AND VIRGINIA SALMONS, INDIVIDUALLY AND AS                      3/2/2018                 Opioid Matter              UNDETERMINED
         THE NEXT FRIEND OR GUARDIAN OF MINOR W.D. AND
         ON BEHALF OF ALL OTHER SIMILARLY SITUATED                          ACCOUNT NO.:
         ATTN: JOHN W. ALDERMAN, III                                        NOT AVAILABLE
         LAW OFFICES OF JOHN W. ALDERMAN, III
         3 MONTICELLO PLACE
         CHARLESTON, WV 25314



3.8254   WALTER AND VIRGINIA SALMONS, INDIVIDUALLY AND AS                      3/2/2018                 Opioid Matter              UNDETERMINED
         THE NEXT FRIEND OR GUARDIAN OF MINOR W.D. AND
         ON BEHALF OF ALL OTHER SIMILARLY SITUATED                          ACCOUNT NO.:
         ATTN: SUSAN J. VANZANT, L.C.                                       NOT AVAILABLE
         68 EAST 2ND AVENUE
         WILLIAMSON, WV 25661-3534



3.8255   WALTHALL COUNTY, MISS.                                               3/26/2018                 Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF SUPERVISORS
         AND CLERK AND RECORDS, CHANCERY COURT                              ACCOUNT NO.:
         WALTHALL COUNTY COURTHOUSE                                         NOT AVAILABLE
         200 BALL AVENUE - P.O. BOX 351
         TYLERTOWN, MS 39667




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.8256   WALTON COUNTY, FLORIDA                                   6/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE COUNTY BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         76 N 6TH STREET                                       NOT AVAILABLE
         DEFUNIAK SPRINGS, FL 32433



3.8257   WALTON COUNTY, FLORIDA                                   6/10/2019                   Opioid Matter              UNDETERMINED
         PO BOX 1355
         DEFUNIAK SPRINGS, FL 32433                            ACCOUNT NO.:
                                                               NOT AVAILABLE


3.8258   WALTON COUNTY, GEORGIA                                   3/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIR OF THE BOARD OF COMMISSIONERS
         303 SOUTH HAMMOND DRIVE                               ACCOUNT NO.:
         SUITE 330                                             NOT AVAILABLE
         MONROE, GA 30655



3.8259   WALWORTH COUNTY, WISCONSIN                               8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CLERK AND CHAIRPERSON OF THE COUNTY
         BOARD                                                 ACCOUNT NO.:
         100 WEST WALWORTH ST.                                 NOT AVAILABLE
         P. O. BOX 1001
         ELKHORN, WI 53121



3.8260   WALWORTH COUNTY, WISCONSIN                               8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CLERK AND CHAIRPERSON OF THE COUNTY
         BOARD                                                 ACCOUNT NO.:
         1720 FAIRVIEW DRIVE                                   NOT AVAILABLE
         LAKE GENEVA, WI 53147



3.8261   WAMPUM BOROUGH                                           7/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, SECRETARY, SOLICITOR
         WAMPUM BOROUGH OFFICE                                 ACCOUNT NO.:
         355 MAIN STREET                                       NOT AVAILABLE
         WAMPUM, PA 16157



3.8262   WARD COUNTY                                              8/13/2019                   Opioid Matter              UNDETERMINED
         ATTN: BOARD OF WARD COUNTY COMMISSIONERS
         COMMISSIONER’S CHAMBERS                               ACCOUNT NO.:
         225 THIRD STREET SOUTHEAST                            NOT AVAILABLE
         MINOT, ND 58701



3.8263   WARREN COUNTY                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE
         201 LOCUST STREET                                     ACCOUNT NO.:
         SUITE 1                                               NOT AVAILABLE
         MCMINNVILLE, RN 37110



3.8264   WARREN COUNTY                                           UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         201 LOCUST STREET                                     ACCOUNT NO.:
         SUITE 2P                                              NOT AVAILABLE
         MCMINNVILLE, TN 37110




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.8265   WARREN COUNTY, GEORGIA                                   4/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         521 MAIN STREET                                       ACCOUNT NO.:
         WARRENTON, GA 30828                                   NOT AVAILABLE



3.8266   WARREN COUNTY, MISSOURI                                 10/29/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         101 MOCKINGBIRD LANE MO                               ACCOUNT NO.:
         SUITE 302                                             NOT AVAILABLE
         WARRENTON, MO 63383



3.8267   WARREN COUNTY, NC                                        4/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: JOSH STEIN
         STATE OF NORTH CAROLINA ATTORNEY GENERAL              ACCOUNT NO.:
         DEPT. OF JUSTICE, P.O.BOX 629                         NOT AVAILABLE
         RALEIGH, NC 27602-0629



3.8268   WARREN COUNTY, NC                                        4/17/2018                   Opioid Matter              UNDETERMINED
         146 NORTHSIDE DRIVE
         LITTLETON, NC 27850                                   ACCOUNT NO.:
                                                               NOT AVAILABLE


3.8269   WARREN COUNTY, NC                                        4/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER
         602 WEST RIDGEWAY STREET                              ACCOUNT NO.:
         WARRENTON, NC 27589                                   NOT AVAILABLE



3.8270   WARRENSVILLE HEIGHTS, OHIO                               12/6/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         4301 WARRENSVILLE CENTER ROAD                         ACCOUNT NO.:
         WARRENSVILLE HEIGHTS, OH 44128                        NOT AVAILABLE



3.8271   WARRINGTON TOWNSHIP                                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: DONALD A. BROGGI
         SCOTT & SCOTT ATTORNEYS AT LAW LLP                    ACCOUNT NO.:
         THE HELMSLEY BUILDING - 230 PARK AVENUE 17TH          NOT AVAILABLE
         FLOOR
         NEW YORK, NY 10169



3.8272   WARRINGTON TOWNSHIP                                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: BETH A. KASWAN
         SCOTT & SCOTT ATTORNEYS AT LAW LLP                    ACCOUNT NO.:
         THE HELMSLEY BUILDING - 230 PARK AVENUE 17TH          NOT AVAILABLE
         FLOOR
         NEW YORK, NY 10169



3.8273   WARRINGTON TOWNSHIP                                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: JUDITH S. SCOLNICK
         SCOTT & SCOTT ATTORNEYS AT LAW LLP                    ACCOUNT NO.:
         THE HELMSLEY BUILDING - 230 PARK AVENUE 17TH          NOT AVAILABLE
         FLOOR
         NEW YORK, NY 10169




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.8274   WARRINGTON TOWNSHIP                                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: SEAN T. MASSON
         SCOTT & SCOTT ATTORNEYS AT LAW LLP                    ACCOUNT NO.:
         THE HELMSLEY BUILDING - 230 PARK AVENUE 17TH          NOT AVAILABLE
         FLOOR
         NEW YORK, NY 10169



3.8275   WARRINGTON TOWNSHIP                                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: TOWNSHIP TAX COLLECTOR
         3400 PICKERTOWN RD., UNIT #1                          ACCOUNT NO.:
         CHALFONT, PA 18914                                    NOT AVAILABLE



3.8276   WARRINGTON TOWNSHIP                                     UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: JOSEPH G. CLEEMAN
         SCOTT & SCOTT ATTORNEYS AT LAW LLP                    ACCOUNT NO.:
         THE HELMSLEY BUILDING - 230 PARK AVENUE 17TH          NOT AVAILABLE
         FLOOR
         NEW YORK, NY 10169



3.8277   WASATCH COUNTY, UTAH                                     6/28/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         25 NORTH MAIN                                         ACCOUNT NO.:
         HEBER CITY, UT 84032                                  NOT AVAILABLE



3.8278   WASECA COUNTY, MINNESOTA                                 8/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY AUDITOR/TREASURER
         307 N STATE ST                                        ACCOUNT NO.:
         WASECA, MN 56093                                      NOT AVAILABLE



3.8279   WASHBURN COUNTY                                          11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND CHAIRPERSON OF THE COUNTY
         BOARD                                                 ACCOUNT NO.:
         PO BOX 639                                            NOT AVAILABLE
         10 4TH AVENUE
         SHELL LAKE, WI 54871



3.8280   WASHINGTON COUNTY                                       11/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS; COUNTY CLERK;
         TREASURER                                             ACCOUNT NO.:
         COUNTY OF WASHINGTON                                  NOT AVAILABLE
         PO BOX 297 - 85 COURT STREET
         MACHIAS, ME 04654



3.8281   WASHINGTON COUNTY                                       11/21/2018                   Opioid Matter              UNDETERMINED
         COUNTY OF WASHINGTON
         85 COURT STREET                                       ACCOUNT NO.:
         MACHIAS, ME 04654                                     NOT AVAILABLE



3.8282   WASHINGTON COUNTY                                        8/6/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY ATTORNEY
         GOVERNMENT CENTER BUILDING                            ACCOUNT NO.:
         1 GOVERNMENT CENTER PLACE - SUITE A                   NOT AVAILABLE
         ABINGDON, VA 24210




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.8283   WASHINGTON COUNTY                                        8/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CLERK OF THE COUNTY COMMISSION
         102 NORTH MISSOURI STREET                             ACCOUNT NO.:
         POTOSI, MO 63664                                      NOT AVAILABLE



3.8284   WASHINGTON COUNTY                                       11/28/2017                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY BOARD CHAIRPERSON
         WASHINGTON COUNTY GOVERNMENT CENTER                   ACCOUNT NO.:
         432 EAST WASHINGTON STREET - SUITE 3029               NOT AVAILABLE
         WEST BEND, WI 53095



3.8285   WASHINGTON COUNTY                                       12/10/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR, BOARD OF COMMISSIONERS & CLERK TO
         THE BOARD OF COMMISSIONERS                            ACCOUNT NO.:
         WASHINGTON COUNTY GOVERNMENT                          NOT AVAILABLE
         ADMINISTRATIVE BUILDING - PO BOX 1007
         PLYMOUTH, NC 27962



3.8286   WASHINGTON COUNTY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: WASHINGTON COUNTY CLERK
         100 EAST MAIN STREET                                  ACCOUNT NO.:
         JONESBOROUGH, TN 37659                                NOT AVAILABLE



3.8287   WASHINGTON COUNTY                                        1/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: CLERK OF COUNTY COMMISSION
         COURTHOUSE                                            ACCOUNT NO.:
         102 NORTH MISSOURI STREET                             NOT AVAILABLE
         POTOSI, MO 63664



3.8288   WASHINGTON COUNTY                                       UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: WASHINGTON COUNTY MAYOR
         100 EAST MAIN STREET                                  ACCOUNT NO.:
         JONESBOROUGH, TN 37659                                NOT AVAILABLE



3.8289   WASHINGTON COUNTY, ALABAMA                               2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER; ADMINISTRATOR; CLERK
         45 COURT STREET                                       ACCOUNT NO.:
         CHATOM, AL 36518-0548                                 NOT AVAILABLE



3.8290   WASHINGTON COUNTY, FLORIDA                               4/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         1331 SOUTH BLVD.                                      NOT AVAILABLE
         CHIPLEY, FL 32428



3.8291   WASHINGTON COUNTY, FLORIDA                               4/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK
         1293 JACKSON AVENUE STE 101                           ACCOUNT NO.:
         CHIPLEY, FL 32428                                     NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.8292   WASHINGTON COUNTY, GEORGIA                               5/11/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, BOARD OF COMMISSIONERS
         PO BOX 271                                            ACCOUNT NO.:
         119 JONES STREET                                      NOT AVAILABLE
         SANDERSVILLE, GA 31082



3.8293   WASHINGTON COUNTY, MISS.                                12/21/2017                   Opioid Matter              UNDETERMINED
         P.O. BOX 309
         GREENVILLE, MS 38702                                  ACCOUNT NO.:
                                                               NOT AVAILABLE


3.8294   WASHINGTON COUNTY, MISS.                                12/21/2017                   Opioid Matter              UNDETERMINED
         ATTN: VICE-PRESIDENT, BOARD OF SUPERVISORS
         PO BOX 158                                            ACCOUNT NO.:
         GREENVILLE, MS 38702                                  NOT AVAILABLE



3.8295   WASHINGTON COUNTY, MN                                   11/30/2017                   Opioid Matter              UNDETERMINED
         GOVERNMENT CENTER
         14949 62ND STREET NORTH                               ACCOUNT NO.:
         STILLWATER, MN 55082                                  NOT AVAILABLE



3.8296   WASHINGTON COUNTY, MN                                   11/30/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR
         PO BOX 6                                              ACCOUNT NO.:
         14949 62ND ST NORTH                                   NOT AVAILABLE
         STILLWATER, MN 55082



3.8297   WASHINGTON COUNTY, OHIO                                  11/7/2018                   Opioid Matter              UNDETERMINED
         ATTN: WASHINGTON COUNTY BOARD OF COUNTY
         COMMISSIONERS                                         ACCOUNT NO.:
         1115 GILMAN AVENUE                                    NOT AVAILABLE
         MARIETTA, OH 45750



3.8298   WASHINGTON COUNTY, TN                                   11/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: CIRCUIT COURT CLERK
         108 W. JACKSON BLVD., JONESBOROUGH, TN 37659          ACCOUNT NO.:
         JONESBOROUGH, TN 37659                                NOT AVAILABLE



3.8299   WASHINGTON COUNTY, TN                                   11/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR WAHINGTON COUNTY AND COUNTY CLERK
         100 E. MAIN STREET                                    ACCOUNT NO.:
         JONESBOROUGH, TN 37959                                NOT AVAILABLE



3.8300   WASHINGTON COUNTY, UTAH                                  4/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         197 EAST TABERNACLE STREET                            ACCOUNT NO.:
         ST. GEORGE, UT 84770                                  NOT AVAILABLE



3.8301   WASHINGTON PARISH GOVERNMENT                             5/19/2019                   Opioid Matter              UNDETERMINED
         ATTN: PARISH PRESIDENT, CHAIRMAN OF THE PARISH
         COUNCIL                                               ACCOUNT NO.:
         909 PEARL STREET                                      NOT AVAILABLE
         FRANKLINTON, LA 70438-1712



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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.8302   WASHINGTON PARISH GOVERNMENT                             5/19/2019                   Opioid Matter              UNDETERMINED
         ATTN: PARISH PRESIDENT OF WASHINGTON PARISH
         GOVERNMENT                                            ACCOUNT NO.:
         WASHINGTON PARISH GOVERNMENT                          NOT AVAILABLE
         909 PEARL STREET
         FRANKLINTON, LA 70438-1712



3.8303   WASHINGTON POST COMPANY, LLC                             9/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: MANAGING MEMBER, OFFICERS, AND AGENTS
         GRAHAM HOLDINGS, LLC                                  ACCOUNT NO.:
         1300 NORTH 17TH STREET - SUITE 1700                   NOT AVAILABLE
         ARLINGTON, VA 22209



3.8304   WASHINGTON POST COMPANY, LLC                             9/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         C T CORPORATION SYSTEM                                ACCOUNT NO.:
         4701 COX ROAD - SUITE 285                             NOT AVAILABLE
         GLEN ALLEN, VA 23060



3.8305   WASHINGTON POST COMPANY, LLC                             9/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: MANAGING MEMBER, OFFICERS, AND AGENTS
         1150 15TH STREET NW                                   ACCOUNT NO.:
         WASHINGTON, DC 20071                                  NOT AVAILABLE



3.8306   WATAUGA COUNTY, NC                                       4/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER & CHAIRMAN OF THE BOARD
         OF COMMISSIONERS                                      ACCOUNT NO.:
         814 WEST KING STREET                                  NOT AVAILABLE
         SUITE 205
         BOONE, NC 28607



3.8307   WATAUGA COUNTY, NC                                       4/17/2018                   Opioid Matter              UNDETERMINED
         ATTN: JOSH STEIN
         STATE OF NORTH CAROLINA ATTORNEY GENERAL              ACCOUNT NO.:
         DEPT. OF JUSTICE, P.O.BOX 629                         NOT AVAILABLE
         RALEIGH, NC 27602-0629



3.8308   WAUKESHA COUNTY, WISCONSIN                               7/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND CHAIRPERSON OF THE COUNTY
         BOARD                                                 ACCOUNT NO.:
         WAUKESHA COUNTY ADMINISTRATION CENTER                 NOT AVAILABLE
         515 WEST MORELAND BLVD.-ROOM 120
         WAUKESHA, WI 53188



3.8309   WAUPACA COUNTY                                           11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND CHAIRPERSON OF THE COUNTY
         BOARD                                                 ACCOUNT NO.:
         107 ROHRER ST                                         NOT AVAILABLE
         CLINTONVILLE, WI 54929



3.8310   WAUPACA COUNTY                                           11/7/2017                   Opioid Matter              UNDETERMINED
         ATTN: CLERK AND CHAIRPERSON OF THE COUNTY
         BOARD                                                 ACCOUNT NO.:
         811 HARDING STREET                                    NOT AVAILABLE
         WAUPACA, WI 54981


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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip        Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                   And Account Number                          Claim

Litigation

3.8311   WAUSHARA COUNTY                                            1/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE COUNTY CLERK
         WAUSHARA COUNTY COURTHOUSE                              ACCOUNT NO.:
         209 S. STE MARIE STREET - PO BOX 488                    NOT AVAILABLE
         WAUTOMA, WI 54982



3.8312   WAYNE COUNTY                                              UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE
         100 COURT CIRCLE                                        ACCOUNT NO.:
         PO BOX 848 - SUITE 300                                  NOT AVAILABLE
         WAYNEBORO, TN 38485



3.8313   WAYNE COUNTY                                              UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         100 COURT CIRCLE                                        ACCOUNT NO.:
         PO BOX 367, SUITE 200                                   NOT AVAILABLE
         WAYNESBORO, TN 38485



3.8314   WAYNE COUNTY BOARD OF COUNTY COMMISSIONERS                 2/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS
         COUNTY ADMINISTRATION BUILDING                          ACCOUNT NO.:
         428 WEST LIBERTY STREET                                 NOT AVAILABLE
         WOOSTER, OH 44691



3.8315   WAYNE COUNTY, GEORGIA                                      3/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE WAYNE COUNTY BOARD
         OF COMMISSIONERS                                        ACCOUNT NO.:
         341 E WALNUT ST                                         NOT AVAILABLE
         JESUP, GA 31546



3.8316   WAYNE COUNTY, NORTH CAROLINA                               4/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: JOSH STEIN
         STATE OF NORTH CAROLINA ATTORNEY GENERAL                ACCOUNT NO.:
         DEPT. OF JUSTICE, P.O.BOX 629                           NOT AVAILABLE
         RALEIGH, NC 27602-0629



3.8317   WAYNE COUNTY, NORTH CAROLINA                               4/27/2018                   Opioid Matter              UNDETERMINED
         2236 US HIGHWAY 581 NORTH
         PIKEVILLE, NC 27863                                     ACCOUNT NO.:
                                                                 NOT AVAILABLE


3.8318   WAYNE COUNTY, NORTH CAROLINA                               4/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY MANAGER
         224 EAST WALNUT STREET                                  ACCOUNT NO.:
         ROOM 466                                                NOT AVAILABLE
         GOLDSBORO, OH 27530



3.8319   WEBER COUNTY, UTAH                                         5/25/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         2380 WASHINGTON BLVD, SUITE #320                        ACCOUNT NO.:
         OGDEN, UT 84401                                         NOT AVAILABLE




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.8320   WEBSTER COUNTY MEMORIAL HOSPITAL, INC.                   4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         JIM PARKER                                            ACCOUNT NO.:
         P.O. BOX 312                                          NOT AVAILABLE
         WEBSTER SPRINGS, WV 26288



3.8321   WEBSTER COUNTY MEMORIAL HOSPITAL, INC.                   4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT AND CHIEF OPERATING OFFICER
         324 MILLER MOUNTAIN DRIVE                             ACCOUNT NO.:
         WEBSTER SPRINGS, WV 26288                             NOT AVAILABLE



3.8322   WEBSTER COUNTY, MISSOURI                                12/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         101 SOUTH CRITTENDEN                                  ACCOUNT NO.:
         ROOM 12                                               NOT AVAILABLE
         MARSHFIELD, MO 65706



3.8323   WEBSTER HEALTH SERVICES, INC.                            3/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: EXECUTIVE OFFICER, AND ADMINISTRATOR
         70 MEDICAL PLAZA                                      ACCOUNT NO.:
         EUPORA, MS 39744                                      NOT AVAILABLE



3.8324   WEBSTER HEALTH SERVICES, INC.                            3/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT BRUCE J. TOPPIN
         830 SOUTH GLOSTER                                     ACCOUNT NO.:
         TUPELO, MS 38801                                      NOT AVAILABLE



3.8325   WEBSTER PARISH                                           7/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: PARISH POLICE JURY PRESIDENT, PARISH POLICE
         JURY VICE-PRESIDENT                                   ACCOUNT NO.:
         401 MAIN STREET                                       NOT AVAILABLE
         1ST FLOOR - P.O. BOX 389
         MINDEN, LA 71058



3.8326   WELLMONT HEALTH SYSTEM F/K/A BRMC/HVHMC, INC.            7/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER
         303 MED TECH PARKWAY                                  ACCOUNT NO.:
         BALLAD HEALTH CORPORATE HEADQUARTERS                  NOT AVAILABLE
         JOHNSON CITY, TN 37604



3.8327   WELLMONT HEALTH SYSTEM F/K/A BRMC/HVHMC, INC.            7/11/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         TIMOTHY BELISLE, GENERAL COUNSEL                      ACCOUNT NO.:
         400 NORTH STATE OF FRANKLIN ROAD - JOHNSON CITY       NOT AVAILABLE
         MEDICAL CENTER
         JOHNSON CITY, TN 37604-6035



3.8328   WELLS COUNTY                                             7/9/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND BOARD OF COMMISSIONERS
         700 RAILWAY STREET NORTH                              ACCOUNT NO.:
         FESSENDEN, ND 58438                                   NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:          List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip                  Date Claim Was Incurred    C U      D    Basis For      Offset   Amount of Claim
Code                                                             And Account Number                        Claim

Litigation

3.8329   WENDY STEWART, INDIVIDUALLY AND AS NEXT FRIEND                     6/15/2019                   Opioid Matter              UNDETERMINED
         AND GUARDIAN OF BABY K.J.C., ON BEHALF OF
         THEMSELVES AND ALL OTHERS SIMILARLY SITUATED                    ACCOUNT NO.:
         ATTN: CELESTE BRUSTOWICZ                                        NOT AVAILABLE
         COOPER LAW FIRM, LLC
         1525 RELIGIOUS STREET
         NEW ORLEANS, LA 70130



3.8330   WEST BATON ROUGE FIRE PROTECTION DISTRICT NO. 1                   10/26/2018                   Opioid Matter              UNDETERMINED
         WEST BATON ROUGE PARISH COUNCIL
         880 NORTH ALEXANDER AVENUE                                      ACCOUNT NO.:
          - P.O. BOX 757                                                 NOT AVAILABLE
         PORT ALLEN, LA 70767



3.8331   West Baton Rouge Fire Protection District No. 1                   10/26/2018                   Opioid Matter              UNDETERMINED
         Attn: Chairman, West Baton Rouge Parish Fire Protection
         District #1 Civil Service Board, Vice-Chairman, West Baton      ACCOUNT NO.:
         Rouge Parish Fire Protection District #1 Civil Service Board,   NOT AVAILABLE
         Clerk
         PO Box 757
         Port Allen, LA 70767



3.8332   WEST BEND MUTUAL INSURANCE COMPANY                                 2/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT AND CHIEF EXECUTIVE OFFICER
         1900 SOUTH 18TH AVENUE                                          ACCOUNT NO.:
         WEST BEND, WI 53095                                             NOT AVAILABLE



3.8333   WEST BOCA MEDICAL CENTER, INC.                                     5/4/2018                    Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OR CHIEF EXECUTIVE OFFICER OR
         REGISTERED AGENT                                                ACCOUNT NO.:
         21644 STATE ROAD 7                                              NOT AVAILABLE
         WEST BOCA, FL 33428



3.8334   WEST VIRGINIA UNIVERSITY HOSPITALS INC.                            4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         CHRISTINE VAGLIENTI                                             ACCOUNT NO.:
         1238 SUNCREDT TOWNE CENTRE                                      NOT AVAILABLE
         MORGANTOWN, WV 26506



3.8335   WEST VIRGINIA UNIVERSITY HOSPITALS INC.                            4/29/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT AND SECRETARY
         ONE MEDICAL CENTER DRIVE                                        ACCOUNT NO.:
         MORGANTOWN, WV 26506                                            NOT AVAILABLE



3.8336   WEST VOLUSIA HOSPITAL AUTHORITY                                    9/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT
         131 E NEW YORK AVE                                              ACCOUNT NO.:
         DELAND, FL 32724                                                NOT AVAILABLE



3.8337   WEST VOLUSIA HOSPITAL AUTHORITY                                    9/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT
         P.O. BOX 940                                                    ACCOUNT NO.:
         DELAND, FL 32721-0940                                           NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
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Code                                                  And Account Number                         Claim

Litigation

3.8338   WEST VOLUSIA HOSPITAL AUTHORITY                          9/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: ERIC ROMANO
         ROMANO LAW GROUP                                      ACCOUNT NO.:
         801 SPENCER DRIVE                                     NOT AVAILABLE
         WEST PALM BEACH, FL 33409-4027



3.8339   WEST VOLUSIA HOSPITAL AUTHORITY                          9/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: MICHAEL H. KAHN
         MICHAEL H. KAHN, PA                                   ACCOUNT NO.:
         482 NORTH HARBOR CITY BOULEVARD                       NOT AVAILABLE
         MELBOURNE, FL 32935



3.8340   WEST VOLUSIA HOSPITAL AUTHORITY                          9/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: DOUGLAS R. BEAM
         DOUGLAS R. BEAM, PA                                   ACCOUNT NO.:
         25 WEST HAVEN AVENUE, SUITE C - P.O. BOX 640          NOT AVAILABLE
         MELBOURNE, FL 32902-0640



3.8341   WEST WHARTON COUNTY HOSPITAL DISTRICT                    3/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: NATHAN TUDOR
         TEXAS REGISTERED AGENT AND PRESIDENT                  ACCOUNT NO.:
         303 SANDY CORNER RD., EL CAMPO, TX 77437              NOT AVAILABLE
         EL CAMPO, TX 77437



3.8342   WESTCARE FOUNDATION, INC.                                5/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER/PRESIDENT
         1711 WHITNEY MESA DRIVE                               ACCOUNT NO.:
         HENDERSON, NV 89014-2080                              NOT AVAILABLE



3.8343   WESTCARE FOUNDATION, INC.                                5/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: AARON FORD
         STATE OF NEVADA ATTORNEY GENERAL                      ACCOUNT NO.:
         OLD SUPREME CT. BLDG. - 100 N. CARSON ST.             NOT AVAILABLE
         CARSON CITY, NV 89701



3.8344   WESTCARE FOUNDATION, INC.                                5/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: REGISTERED AGENT
         701 SOUTH CARSON STREET                               ACCOUNT NO.:
         SUITE 200                                             NOT AVAILABLE
         CARSON CITY, NV 89701



3.8345   WESTCHESTER HEAVY CONSTRUCTION LABORERS                  8/29/2019                   Opioid Matter              UNDETERMINED
         LOCAL 60 HEALTH & WELFARE FUND
         ATTN: PRESIDENT, VICE PRESIDENT, AND SECRETARY-       ACCOUNT NO.:
         TREASURER                                             NOT AVAILABLE
         LABORERS' LOCAL 60
         140 BROADWAY
         HAWTHORNE, NY 10532



3.8346   WESTERN PENNSYLVANIA ELECTRICAL EMPLOYEES                12/3/2018                   Opioid Matter              UNDETERMINED
         INSURANCE TRUST FUND
         ATTN: BUSINESS FUND MANAGER AND PRESIDENT             ACCOUNT NO.:
         5 HOT METAL STREET                                    NOT AVAILABLE
         SUITE 200
         PITTSBURGH, PA 15203


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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.8347   WESTWEGO CITY                                            1/17/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR, CITY COUNCIL MEMBER
         CITY HALL                                             ACCOUNT NO.:
         1100 FOURTH STREET                                    NOT AVAILABLE
         WESTWEGO, LA 70094



3.8348   WETZEL COUNTY COMMISSION                                12/13/2017                   Opioid Matter              UNDETERMINED
         ATTN: COMMISSIONERS AND PROSECUTING ATTORNEY
         200 MAIN STREET                                       ACCOUNT NO.:
         NEW MARTINSVILLE, WV 26155                            NOT AVAILABLE



3.8349   WETZEL COUNTY COMMISSION                                12/13/2017                   Opioid Matter              UNDETERMINED
         MARK A. COLANTONIO
         FITZSIMMONS LAW FIRM PLLC                             ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26003



3.8350   WETZEL COUNTY COMMISSION                                12/13/2017                   Opioid Matter              UNDETERMINED
         JONATHAN E. TURAK
         GOLD, KHOUREY & TURAK                                 ACCOUNT NO.:
         510 TOMLINSON AVENUE                                  NOT AVAILABLE
         MOUNDSVILLE, WV 26041



3.8351   WETZEL COUNTY COMMISSION                                12/13/2017                   Opioid Matter              UNDETERMINED
         HUNTER J. SHKOLNIK
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.8352   WETZEL COUNTY COMMISSION                                12/13/2017                   Opioid Matter              UNDETERMINED
         JOSEPH L. CIACCIO
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.8353   WETZEL COUNTY COMMISSION                                12/13/2017                   Opioid Matter              UNDETERMINED
         SHAYNA E. SACKS
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.8354   WETZEL COUNTY COMMISSION                                12/13/2017                   Opioid Matter              UNDETERMINED
         ROBERT P. FITZSIMMONS
         FITZSIMMONS LAW FIRM PLLC                             ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26003



3.8355   WETZEL COUNTY COMMISSION                                12/13/2017                   Opioid Matter              UNDETERMINED
         SALVATORE C. BADALA
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.8356   WETZEL COUNTY COMMISSION                                12/13/2017                   Opioid Matter              UNDETERMINED
         PAUL J. NAPOLI
         NAPOLI SHKOLNIK PLLC                                  ACCOUNT NO.:
         400 BROADHOLLOW ROAD - SUITE 305                      NOT AVAILABLE
         MELVILLE, NY 11747



3.8357   WETZEL COUNTY COMMISSION                                12/13/2017                   Opioid Matter              UNDETERMINED
         JOSEPH F. SHAFFER
         SHAFFER MADIA LAW PLLC                                ACCOUNT NO.:
         343 WEST MAIN STREET                                  NOT AVAILABLE
         CLARKSBURG, WV 26301



3.8358   WETZEL COUNTY COMMISSION                                12/13/2017                   Opioid Matter              UNDETERMINED
         CLAYTON J. FITZSIMMONS
         FITZSIMMONS LAW FIRM PLLC                             ACCOUNT NO.:
         1609 WARWOOD AVENUE                                   NOT AVAILABLE
         WHEELING, WV 26003



3.8359   WETZEL COUNTY COMMISSION                                12/13/2017                   Opioid Matter              UNDETERMINED
         SAMUEL D. MADIA
         SHAFFER MADIA LAW PLLC                                ACCOUNT NO.:
         343 WEST MAIN STREET                                  NOT AVAILABLE
         CLARKSBURG, WV 26301



3.8360   WETZEL COUNTY COMMISSION                                12/13/2017                   Opioid Matter              UNDETERMINED
         DANIEL J. GUIDA
         GUIDA LAW OFFICE                                      ACCOUNT NO.:
         3374 MAIN STREET                                      NOT AVAILABLE
         WEIRTON, WV 26062



3.8361   WHATCOM COUNTY                                           6/27/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY AUDITOR
         311 GRAND AVENUE                                      ACCOUNT NO.:
         SUITE 103                                             NOT AVAILABLE
         BELLINGHAM, WA 98225



3.8362   WHITE COUNTY                                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY EXECUTIVE
         1 EAST BOCKMAN WAY                                    ACCOUNT NO.:
         ROOM 205                                              NOT AVAILABLE
         SPARTA, TN 38583



3.8363   WHITE COUNTY                                            UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         1 EAST BOCKMAN WAY                                    ACCOUNT NO.:
         ROOM 115                                              NOT AVAILABLE
         SPARTA, TN 38583



3.8364   WHITE EARTH NATION                                       5/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: VICE CHAIRMAN OF THE WHITE EARTH
         NATION/EUGENE TIBBETTS                                ACCOUNT NO.:
         WHITE EARTH TRIBAL HEADQUARTERS                       NOT AVAILABLE
         35500 EAGLE VIEW ROAD
         OGEMA, MN 56569



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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.8365   WHITE EARTH NATION                                       5/10/2019                   Opioid Matter              UNDETERMINED
         15542 STATE HIGHWAY 371 NORTHWEST
         CASS LAKE, MN 56633                                   ACCOUNT NO.:
                                                               NOT AVAILABLE


3.8366   WHITFIELD COUNTY                                         3/2/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN
         201 S HAMILTON ST                                     ACCOUNT NO.:
         5TH FLOOR                                             NOT AVAILABLE
         DALTON, GA 30720



3.8367   WHITMAN COUNTY                                           8/9/2018                    Opioid Matter              UNDETERMINED
         ATTN: AUDITOR
         400 NORTH MAIN STREET                                 ACCOUNT NO.:
         COLFAX, WA 99111                                      NOT AVAILABLE



3.8368   WILCOX COUNTY, ALABAMA                                   2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CIRCUIT CLERK
         PO BOX 608                                            ACCOUNT NO.:
         CAMDEN, AL 36726-0608                                 NOT AVAILABLE



3.8369   WILCOX COUNTY, ALBAMA                                    2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CIRCUIT CLERK
         PO BOX 608                                            ACCOUNT NO.:
         CAMDEN, AL 36726-0608                                 NOT AVAILABLE



3.8370   WILKES COUNTY                                            2/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, BOARD OF COMMISSIONERS
         WILKES COUNTY OFFICES                                 ACCOUNT NO.:
         110 NORTH STREET                                      NOT AVAILABLE
         WILKESBORO, NC 28697



3.8371   WILKES COUNTY                                            2/16/2018                   Opioid Matter              UNDETERMINED
         110 NORTH STREET
         ROOM 101                                              ACCOUNT NO.:
         WILKESBORO, NC 28697                                  NOT AVAILABLE



3.8372   WILKES COUNTY, GEORGIA                                   3/25/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS
         23 COURT STREET                                       ACCOUNT NO.:
         ROOM 222                                              NOT AVAILABLE
         WASHINGTON, GA 30673



3.8373   WILKES-BARRE TOWNSHIP, PENNSYLVANIA                      4/25/2019                   Opioid Matter              UNDETERMINED
         ATTN: JOSH SHAPIRO
         STATE OF PENNSYLVANIA ATTORNEY GENERAL                ACCOUNT NO.:
         PENNSYLVANIA OFFICE OF ATTORNEY GENERAL - 16TH        NOT AVAILABLE
         FLOOR, STRAWBERRY SQUARE
         HARRISBURG, PA 17120



3.8374   WILKES-BARRE TOWNSHIP, PENNSYLVANIA                      4/25/2019                   Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         150 WATSON STREET                                     ACCOUNT NO.:
         WILKES-BARRE TOWNSHIP, PA 18702                       NOT AVAILABLE


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Schedule E/F: Creditors Who Have Unsecured Claims
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Code                                                  And Account Number                          Claim

Litigation

3.8375   WILKINSON COUNTY, GEORGIA                                 5/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN
         100 BACON STREET                                       ACCOUNT NO.:
         IRWINTON, GA 31042                                     NOT AVAILABLE



3.8376   WILKINSON COUNTY, GEORGIA                                 5/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN COUNTY BOARD OF COMMISSIONERS,
         COUNTY MANAGER                                         ACCOUNT NO.:
         PO BOX 161                                             NOT AVAILABLE
         IRWINTON, GA 31042



3.8377   WILKINSON COUNTY, GEORGIA                                 5/16/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN BOARD OF COMMISSIONERS
         100 BACON STREET                                       ACCOUNT NO.:
         IRWINTON, GA 31042                                     NOT AVAILABLE



3.8378   WILLIAM C. MASSE, JR., IN HIS OFFOCIAL CAPACITY AS        6/4/2019                    Opioid Matter              UNDETERMINED
         THE SHERRIFF OF BALDWIN COUNTY, GEORGIA
         ATTN: CHAIRMAN OF THE BOARD OF COMMISSIONERS           ACCOUNT NO.:
         121 N. WILKINSON STREET                                NOT AVAILABLE
         SUITE 314
         MILLEDGEVILLE, GA 31061



3.8379   WILLIAM HILTON, SHERIFF OF RAPIDES PARISH                 12/6/2017                   Opioid Matter              UNDETERMINED
         ATTN: SHERIFF
         RAPIDES PARISH SHERIFF'S OFFICE                        ACCOUNT NO.:
         700 MURRAY STREET                                      NOT AVAILABLE
         ALEXANDRIA, LA 71301



3.8380   WILLIAMS COUNTY                                           6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN AND BOARD OF COMMISSIONERS
         COURT HOUSE BUILDING (3RD FLOOR)                       ACCOUNT NO.:
         600 COOPER AVENUE                                      NOT AVAILABLE
         GRAFTON, ND 58237



3.8381   WILLIAMS COUNTY                                           6/14/2019                   Opioid Matter              UNDETERMINED
         WILLIAMS COUNTY ADMINISTRATION BUILDING
         206 E BROADWAY                                         ACCOUNT NO.:
          - PO BOX 2047                                         NOT AVAILABLE
         GRAFTON, ND 58802-2047



3.8382   WILLIAMS COUNTY                                           6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE COMMISSIONERS
         222 14TH ST E                                          ACCOUNT NO.:
         WILLISTON, ND 58801                                    NOT AVAILABLE



3.8383   WILLIAMS COUNTY BOARD OF COUNTY COMMISSIONERS             3/15/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT OF THE BOARD OF COMMISSIONERS,
         VICE-PRESIDENT OF THE BOARD OF COMMISSIONERS           ACCOUNT NO.:
         ONE COURTHOUSE SQUARE                                  NOT AVAILABLE
         4TH FLOOR
         BRYAN, OH 43506




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Code                                                 And Account Number                          Claim

Litigation

3.8384   WILLIAMS COUNTY BOARD OF COUNTY COMMISSIONERS            3/15/2018                   Opioid Matter              UNDETERMINED
         1425 E HIGH STREET
         SUITE 115                                             ACCOUNT NO.:
         BRYAN, OH 43506                                       NOT AVAILABLE



3.8385   WILLIAMSON COUNTY, TN                                    1/3/2018                    Opioid Matter              UNDETERMINED
         ATTN: MAYOR
         1320 WEST MAIN STREET                                 ACCOUNT NO.:
         SUITE 125                                             NOT AVAILABLE
         FRANKLIN, TN 37064



3.8386   WILLIAMSON COUNTY, TN                                    1/3/2018                    Opioid Matter              UNDETERMINED
         1320 WEST MAIN STREET
         SUITE 135                                             ACCOUNT NO.:
         FRANKLIN, TN 37064                                    NOT AVAILABLE



3.8387   WINN PARISH, LOUISIANA                                   5/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: WINN PARISH POLICE JURY
         119 W MAIN STREET #102                                ACCOUNT NO.:
         WINNFIELD, LA 71483                                   NOT AVAILABLE



3.8388   WINNEBAGO COUNTY                                         3/13/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON OF THE COUNTY BOARD AND
         COUNTY CLERK                                          ACCOUNT NO.:
         404 ELM STREET                                        NOT AVAILABLE
         ROCKFORD, IL 61101



3.8389   WINNEBAGO TRIBE OF NEBRASKA                              5/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: TRIBAL COUNCIL CHAIRMAN, CHIEF EXECUTIVE
         OFFICER AND TRIBAL ATTORNEY                           ACCOUNT NO.:
         WINNEBAGO TRIBE OF NEBRASKA                           NOT AVAILABLE
         100 BUFF STREET
         WINNEBAGO, NE 68071



3.8390   WINONA COUNTY                                            3/28/2019                   Opioid Matter              UNDETERMINED
         177 MAIN STREET
         WINONA, MN 55987                                      ACCOUNT NO.:
                                                               NOT AVAILABLE


3.8391   WINONA COUNTY                                            3/28/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIR
         133 WHISPERING LANE                                   ACCOUNT NO.:
         WINONA, MN 55987                                      NOT AVAILABLE



3.8392   WINSTON MEDICAL CENTER                                   2/1/2018                    Opioid Matter              UNDETERMINED
         ATTN: CHIEF EXECUTIVE OFFICER, DIRECTOR OF
         MARKETING/PUBLIC RELATIONS, AND REGISTERED            ACCOUNT NO.:
         AGENT                                                 NOT AVAILABLE
         17550 EAST MAIN STREET
         P. O. BOX 967
         LOUISVILLE, MS 39339




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Creditor's Name, Mailing Address Including Zip        Date Claim Was Incurred    C U      D    Basis For      Offset   Amount of Claim
Code                                                   And Account Number                        Claim

Litigation

3.8393   WIRT COUNTY COMMISSION                                   5/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY PROSECUTING ATTORNEY
         P.O. BOX 387                                          ACCOUNT NO.:
         ELIZABETH, WV 26143                                   NOT AVAILABLE



3.8394   WIRT COUNTY COMMISSION                                   5/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: COMMISSIONERS OR COUNTY CLERK
         P.O. BOX 53                                           ACCOUNT NO.:
         ELIZABETH, WV 26143                                   NOT AVAILABLE



3.8395   WISE COUNTY BOARD OF SUPERVISORS                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: PAUL T. FARRELL, JR.
         GREENE, KETCHUM, FARRELL, BAILEY & TWEEL LLP          ACCOUNT NO.:
         419 - 11TH STREET (25701) - P.O. BOX 2389             NOT AVAILABLE
         HUNGTINGTON, WV 25724-2389



3.8396   WISE COUNTY BOARD OF SUPERVISORS                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: BERT KETCHUM
         GREENE, KETCHUM, FARRELL, BAILEY & TWEEL LLP          ACCOUNT NO.:
         419 - 11TH STREET (25701) - P.O. BOX 2389             NOT AVAILABLE
         HUNGTINGTON, WV 25724-2389



3.8397   WISE COUNTY BOARD OF SUPERVISORS                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: J. BURTON LEBLANC, IV
         BARON & BUDD, P.C.                                    ACCOUNT NO.:
         3102 OAK LAWN AVENUE - SUITE 1100                     NOT AVAILABLE
         DALLAS, TX 75219



3.8398   WISE COUNTY BOARD OF SUPERVISORS                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN:TERRY G. KILGORE
         KILGORE LAW OFFICE                                    ACCOUNT NO.:
         197 WEST JACKSON - P.O. BOX 669                       NOT AVAILABLE
         GATE CITY, VA 24251



3.8399   WISE COUNTY BOARD OF SUPERVISORS                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: ANTHONY J. MAJESTRO
         POWELL & MAJESTRO, PLLC                               ACCOUNT NO.:
         405 CAPITOL STREET - SUITE P-1200                     NOT AVAILABLE
         CHARLESTON, WV 25301



3.8400   WISE COUNTY BOARD OF SUPERVISORS                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: PETER J. MOUGEY
         LEVIN, PAPANTONIO, THOMAS, MITCHELL ET AL.            ACCOUNT NO.:
         316 SOUTH BAYLEN STREET - SUITE 600                   NOT AVAILABLE
         PENSACOLA, FL 32502-5996



3.8401   WISE COUNTY BOARD OF SUPERVISORS                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: JAMES C. PETERSON
         HILL, PETERSON, CARPER, BEE & DEITZLER, PLLC          ACCOUNT NO.:
         NORTHGATE BUSINESS PARK                               NOT AVAILABLE
         CHARLESTON, WV 25311




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.8402   WISE COUNTY BOARD OF SUPERVISORS                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: MICHAEL J. FULLER, JR.
         MCHUGH FULLER LAW GROUP, PLLC                         ACCOUNT NO.:
         97 ELIAS WHIDDON ROAD                                 NOT AVAILABLE
         HATTIESBURG, MS 39402



3.8403   WISE COUNTY BOARD OF SUPERVISORS                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: WISE COUNTY BOARD OF SUPERVISORS
         C/O OFFICE OF CNTY ADMIN FOR CHAIRMAN OF THE BD       ACCOUNT NO.:
         P.O. BOX 570                                          NOT AVAILABLE
         WISE, VA 24293-0570



3.8404   WISE COUNTY BOARD OF SUPERVISORS                        UNKNOWN                      Opioid Matter              UNDETERMINED
         ATTN: WISE COUNTY BOARD OF SUPERVISORS
         C/O OFFICE OF CNTY ADMIN FOR CHAIRMAN OF THE BD       ACCOUNT NO.:
         206 EAST MAIN STREET - SUITE 223                      NOT AVAILABLE
         WISE, VA 24293



3.8405   WOOD COUNTY                                              3/7/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         WOOD COUNTY COURTHOUSE                                ACCOUNT NO.:
         1ST FLOOR, ROOM 101 - 400 MARKET STREET               NOT AVAILABLE
         WISCONSIN RAPIDS, WI 54494



3.8406   WOOD COUNTY COMMISSION                                   5/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: PROSECUTING ATTORNEY
         317 MARKET ST.                                        ACCOUNT NO.:
         PARKERSBURG, WV 26102                                 NOT AVAILABLE



3.8407   WOOD COUNTY COMMISSION                                   5/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK
         1 COURT SQUARE                                        ACCOUNT NO.:
         P.O. BOX 1474                                         NOT AVAILABLE
         PARKERSBURG, WV 26102



3.8408   WOOD COUNTY COMMISSION                                   5/3/2019                    Opioid Matter              UNDETERMINED
         ATTN: COMMISSIONERS
         #1 COURT SQUARE                                       ACCOUNT NO.:
         SUITE 205                                             NOT AVAILABLE
         PARKERSBURG, WV 26101



3.8409   WOODRING, VICKI                                          1/6/2015                      Workers                  UNDETERMINED
         NOT AVAILABLE                                                                        Compensation
                                                               ACCOUNT NO.:
                                                                WC390D80347


3.8410   WORTH COUNTY                                             3/8/2018                    Opioid Matter              UNDETERMINED
         ATTN: AUDITOR; CHAIR OF SUPERVISORS
         1000 CENTRAL AVENUE                                   ACCOUNT NO.:
         NORTHWOOD, IA 50459                                   NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.8411   WORTH COUNTY, GEORGIA                                    5/18/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN BOARD OF COMMISSIONERS, COUNTY
         ADMINISTRATOR                                         ACCOUNT NO.:
         201 NORTH MAIN STREET, SUITE 30                       NOT AVAILABLE
         SYLVESTER, GA 31791



3.8412   WORTH COUNTY, MISSOURI                                   6/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: CLERK OF WORTH COUNTY COMMISSION
         11 WEST 4TH STREET                                    ACCOUNT NO.:
         GRANT CITY, MO 64456                                  NOT AVAILABLE



3.8413   WRIGHT COUNTY, MINNESOTA                                 7/10/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON
         WRIGHT COUNTY GOVERNMENT CENTER                       ACCOUNT NO.:
         10 2ND STREET NW                                      NOT AVAILABLE
         BUFFALO, MN 55313



3.8414   WRIGHT COUNTY, MINNESOTA                                 7/10/2019                   Opioid Matter              UNDETERMINED
         10 2ND STREET NW
         ROOM 230                                              ACCOUNT NO.:
         BUFFALO, MN 55313                                     NOT AVAILABLE



3.8415   WRIGHT COUNTY, MISSOURI                                  6/6/2019                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY CLERK AND COMMISSIONER
         WRIGHT COUNTY COURTHOUSE                              ACCOUNT NO.:
         125 COURT SQUARE - P.O. BOX 98                        NOT AVAILABLE
         HARTVILLE, MO 65667



3.8416   WRIGHT TOWNSHIP, PENNSYLVANIA                            6/5/2019                    Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN OF THE BOARD OF SUPERVISORS
         WRIGHT TOWNSHIP MUNICIPAL BUILDING                    ACCOUNT NO.:
         321 S MOUNTAIN BOULEVARD                              NOT AVAILABLE
         MOUNTAIN TOP, PA 18707



3.8417   WRIGHT TOWNSHIP, PENNSYLVANIA                            6/5/2019                    Opioid Matter              UNDETERMINED
         ATTN: JOSH SHAPIRO
         STATE OF PENNSYLVANIA ATTORNEY GENERAL                ACCOUNT NO.:
         PENNSYLVANIA OFFICE OF ATTORNEY GENERAL - 16TH        NOT AVAILABLE
         FLOOR, STRAWBERRY SQUARE
         HARRISBURG, PA 17120



3.8418   WYANDOT COUNTY BOARD OF COUNTY                           9/18/2018                   Opioid Matter              UNDETERMINED
         COMMISSIONERS
         ATTN: BOARD OF COUNTY COMMISSIONERS                   ACCOUNT NO.:
         109 S. SANDUSKY AVENUE                                NOT AVAILABLE
         SANDUSKY, OH 43351



3.8419   WYANDOTTE NATION                                         6/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: CHIEF AND EXECUTIVE OFFICER OF THE
         WYANDOTTE NATION                                      ACCOUNT NO.:
         64700 EAST HIGHWAY 60                                 NOT AVAILABLE
         WYANDOTTE, OK 74370




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.8420   WYDETTE WILLIAMS, SHERRIFF OF EAST CARROLL               1/25/2018                   Opioid Matter              UNDETERMINED
         PARISH
         ATTN: SHERIFF                                         ACCOUNT NO.:
         P. O. BOX 246                                         NOT AVAILABLE
         LAKE PROVIDENCE, LA 71254



3.8421   WYDETTE WILLIAMS, SHERRIFF OF EAST CARROLL               1/25/2018                   Opioid Matter              UNDETERMINED
         PARISH
         EAST CARROLL SHERIFF'S ANNEX BUILDING                 ACCOUNT NO.:
         301 FIRST STREET                                      NOT AVAILABLE
         LAKE PROVIDENCE, LA 71254



3.8422   WYOMING COUNTY, PA                                       4/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONER, CHAIRMAN AND
         COUNTY CLERK                                          ACCOUNT NO.:
         1 COURTHOUSE SQUARE                                   NOT AVAILABLE
         SECOND FL
         TUNKHANNOCK, PA 18657



3.8423   WYOMING COUNTY, PA                                       4/5/2018                    Opioid Matter              UNDETERMINED
         ATTN: JOSH SHAPIRO
         STATE OF PENNSYLVANIA ATTORNEY GENERAL                ACCOUNT NO.:
         PENNSYLVANIA OFFICE OF ATTORNEY GENERAL - 16TH        NOT AVAILABLE
         FLOOR, STRAWBERRY SQUARE
         HARRISBURG, PA 17120



3.8424   WYTHE COUNTY, VIRGINIA                                   7/19/2018                   Opioid Matter              UNDETERMINED
         ATTN: COMMONWEALTH ATTORNEY
         SOUTH FOURTH STREET                                   ACCOUNT NO.:
         SUITE 105                                             NOT AVAILABLE
         WYTHEVILLE, VA 24382



3.8425   YADKIN COUNTY                                            12/1/2017                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, COUNTY COMMISSIONERS & COUNTY
         MANAGER                                               ACCOUNT NO.:
         217 E. WILLOW ST.                                     NOT AVAILABLE
         PO BOX 220
         YADKINVILLE, NC 27055



3.8426   YALOBUSHA COUNTY, MISSISSIPPI                            3/1/2019                    Opioid Matter              UNDETERMINED
         PO BOX 260
         COFFEEVILLE, MS 38922                                 ACCOUNT NO.:
                                                               NOT AVAILABLE


3.8427   YALOBUSHA COUNTY, MISSISSIPPI                            3/1/2019                    Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT, BOARD OF SUPERVISORS AND
         YALOBUSHA COUNTY CHANCERY CLERK                       ACCOUNT NO.:
         201 BLACKMUR DRIVE                                    NOT AVAILABLE
         PO BOX 664
         WATER VALLEY, MS 38965-0664



3.8428   YANCEY COUNTY                                            8/23/2018                   Opioid Matter              UNDETERMINED
         110 TOWN SQUARE
         ROOM 11                                               ACCOUNT NO.:
         BURNSVILLE, NC 28714                                  NOT AVAILABLE



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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.8429   YANCEY COUNTY                                            8/23/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRMAN, BOARD OF COMMISSIONERS
         YANCEY COUNTY GOVERNMENT                              ACCOUNT NO.:
         110 TOWN SQUARE                                       NOT AVAILABLE
         BURNSVILLE, NC 28714



3.8430   YELLOW MEDICINE COUNTY, MINNESOTA                        5/14/2019                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY ADMINISTRATOR, CHAIRMAN BOARD OF
         COMMISSIONERS                                         ACCOUNT NO.:
         COMMISSIONERS ROOM IN THE GOVERNMENT CENTER           NOT AVAILABLE
         180 8TH AVENUE
         GRANITE FALLS, MN 56241



3.8431   YERINGTON PAIUTE TRIBE                                   12/3/2018                   Opioid Matter              UNDETERMINED
         ATTN: TRIBAL COUNCIL CHAIRMAN; TRIBAL CHIEF
         EXECUTIVE OFFICER                                     ACCOUNT NO.:
         YERINGTON PAIUTE TRIBE                                NOT AVAILABLE
         171 CAMPBELL LANE
         YERINGTON, NV 89447



3.8432   YORK COUNTY                                             11/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS; COUNTY CLERK;
         TREASURER                                             ACCOUNT NO.:
         149 JORDAN SPRINGS ROAD                               NOT AVAILABLE
         ALFRED, ME 04002



3.8433   YORK COUNTY                                             11/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS; COUNTY CLERK;
         TREASURER                                             ACCOUNT NO.:
         45 KENNEBUNK ROAD                                     NOT AVAILABLE
         ALFRED, ME 04002



3.8434   YORK COUNTY                                             11/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS; COUNTY MANAGER
         45 KENNEBUNK ROAD                                     ACCOUNT NO.:
         ALFRED, ME 04002                                      NOT AVAILABLE



3.8435   YORK COUNTY                                             11/21/2018                   Opioid Matter              UNDETERMINED
         ATTN: COUNTY COMMISSIONERS; COUNTY MANAGER
         149 JORDAN SPRINGS ROAD                               ACCOUNT NO.:
         ALFRED, ME 04002                                      NOT AVAILABLE



3.8436   YUKON-KUSKOWKWIM HEALTH CORPORATION                     10/30/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT AND CHIEF EXECUTIVE OFFICER
         PO BOX 528                                            ACCOUNT NO.:
         BETHEL, AK 99559                                      NOT AVAILABLE



3.8437   YUROK TRIBE                                              3/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: OFFICE OF THE TRIBAL ATTORNEY
         190 KLAMATH BLVD                                      ACCOUNT NO.:
         KLAMATH, CA 95548                                     NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.8438   YUROK TRIBE                                              3/12/2018                   Opioid Matter              UNDETERMINED
         ATTN: CHAIRPERSON
         190 KLAMATH BLVD                                      ACCOUNT NO.:
         PO BOX 1027                                           NOT AVAILABLE
         KLAMATH, CA 95548



3.8439   ZACHARY R. SCHNEIDER, INDIVIDUALLY AND ON BEHALF         4/26/2019                   Opioid Matter              UNDETERMINED
         OF ALL OTHERS SIMILARLY SITUATED
         ATTN: MICHAEL H. PARK                                 ACCOUNT NO.:
         ATTN: MICHAEL H PARK                                  NOT AVAILABLE
         745 FIFTH AVENUE - SUITE 500
         NEW YORK, NY 10151



3.8440   ZACHARY R. SCHNEIDER, INDIVIDUALLY AND ON BEHALF         4/26/2019                   Opioid Matter              UNDETERMINED
         OF ALL OTHERS SIMILARLY SITUATED
         ATTN: ASHLEY KELLER                                   ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLACE - SUITE 4270
         CHICAGO, IL 60606



3.8441   ZACHARY R. SCHNEIDER, INDIVIDUALLY AND ON BEHALF         4/26/2019                   Opioid Matter              UNDETERMINED
         OF ALL OTHERS SIMILARLY SITUATED
         ATTN: BENJAMIN H. RICHMAN                             ACCOUNT NO.:
         EDELSON PC                                            NOT AVAILABLE
         350 NORTH LASALLE STREET - 14TH FLOOR
         CHICAGO, IL 60654



3.8442   ZACHARY R. SCHNEIDER, INDIVIDUALLY AND ON BEHALF         4/26/2019                   Opioid Matter              UNDETERMINED
         OF ALL OTHERS SIMILARLY SITUATED
         ATTN: JAY EDELSON                                     ACCOUNT NO.:
         EDELSON P.C.                                          NOT AVAILABLE
         350 NORTH LASALLE STREET - 14TH FLOOR
         CHICAGO, IL 60654



3.8443   ZACHARY R. SCHNEIDER, INDIVIDUALLY AND ON BEHALF         4/26/2019                   Opioid Matter              UNDETERMINED
         OF ALL OTHERS SIMILARLY SITUATED
         ATTN: RAFEY S. BALABANIAN                             ACCOUNT NO.:
         EDELSON PC                                            NOT AVAILABLE
         123 TOWNSEND STREET - SUITE 100
         SAN FRANCISCO, CA 94107



3.8444   ZACHARY R. SCHNEIDER, INDIVIDUALLY AND ON BEHALF         4/26/2019                   Opioid Matter              UNDETERMINED
         OF ALL OTHERS SIMILARLY SITUATED
         ATTN: SETH MEYER                                      ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 2570
         CHICAGO, IL 60606



3.8445   ZACHARY R. SCHNEIDER, INDIVIDUALLY AND ON BEHALF         4/26/2019                   Opioid Matter              UNDETERMINED
         OF ALL OTHERS SIMILARLY SITUATED
         ATTN: STEVEN G. KLUENDER                              ACCOUNT NO.:
         THE PREVIANT LAW FIRM SC                              NOT AVAILABLE
         310 WEST WISCONSIN AVE - SUITE 100 MW
         MILWAUKEE, WI 53203




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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.8446   ZACHARY R. SCHNEIDER, INDIVIDUALLY AND ON BEHALF         4/26/2019                   Opioid Matter              UNDETERMINED
         OF ALL OTHERS SIMILARLY SITUATED
         ATTN: THOMAS R. MCCARTHY                              ACCOUNT NO.:
         CONSOVOY MCCARTHY PARK PLLC                           NOT AVAILABLE
         3033 WILSON BOULEVARD - SUITE 700
         ARLINGTON, VA 22201



3.8447   ZACHARY R. SCHNEIDER, INDIVIDUALLY AND ON BEHALF         4/26/2019                   Opioid Matter              UNDETERMINED
         OF ALL OTHERS SIMILARLY SITUATED
         ATTN: TODD LOGAN                                      ACCOUNT NO.:
         EDELSON PC                                            NOT AVAILABLE
         123 TOWNSEND STREET - SUITE 100
         SAN FRANCISCO, CA 94107



3.8448   ZACHARY R. SCHNEIDER, INDIVIDUALLY AND ON BEHALF         4/26/2019                   Opioid Matter              UNDETERMINED
         OF ALL OTHERS SIMILARLY SITUATED
         ATTN: TRAVIS LENKNER                                  ACCOUNT NO.:
         KELLER LENKNER LLC                                    NOT AVAILABLE
         150 NORTH RIVERSIDE PLAZA - SUITE 2570
         CHICAGO, IL 60606



3.8449   ZACHARY R. SCHNEIDER, INDIVIDUALLY AND ON BEHALF         4/26/2019                   Opioid Matter              UNDETERMINED
         OF ALL OTHERS SIMILARLY SITUATED
         ATTN: CASEY PAUL SHORTS                               ACCOUNT NO.:
         PREVIANT LAW FIRM                                     NOT AVAILABLE
         310 WEST WISCONSIN AVE - SUITE 100
         MILWAUKEE, WI 53207



3.8450   ZACHARY R. SCHNEIDER, INDIVIDUALLY AND ON BEHALF         4/26/2019                   Opioid Matter              UNDETERMINED
         OF ALL OTHERS SIMILARLY SITUATED
         ATTN: WILLIAM S. CONSOVOY                             ACCOUNT NO.:
         CONSOVOY MCCARTHY PARK PLLC                           NOT AVAILABLE
         3033 WILSON BLVD - STE 700
         ARLINGTON, VA 22201



3.8451   ZACHARY R. SCHNEIDER, INDIVIDUALLY AND ON BEHALF         4/26/2019                   Opioid Matter              UNDETERMINED
         OF ALL OTHERS SIMILARLY SITUATED
         ATTN: DAVID I. MINDELL                                ACCOUNT NO.:
         EDELSON PC                                            NOT AVAILABLE
         350 N LASALLE ST - 14TH FL
         CHICAGO, IL 60654



3.8452   ZEMBLE, GERALD                                           5/30/2012                     Workers                  UNDETERMINED
         NOT AVAILABLE                                                                        Compensation
                                                               ACCOUNT NO.:
                                                                WC555A61609


3.8453   ZENITH INSURANCE COMPANY                                 10/2/2018                   Opioid Matter              UNDETERMINED
         ATTN: PRESIDENT AND CHIEF OPERATING OFFICER &
         CHAIRMAN OF THE BOARD                                 ACCOUNT NO.:
         21255 CALIFA STREET                                   NOT AVAILABLE
         WOODLAND HILLS, CA 91367




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For       Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Litigation

3.8454   ZENITH INSURANCE COMPANY                                 10/2/2018                   Opioid Matter               UNDETERMINED
         ATTN: AGENT FOR SERVICE OF PROCESS
         CT CORPORATION SYSTEM                                 ACCOUNT NO.:
         C/O NATIONAL REGISTERED AGENTS, INC. - 818 WEST       NOT AVAILABLE
         SEVENTH STREET, SUITE 930
         NEW YORK, NY 10005



3.8455   ZEPEDA, TANIA                                            3/13/2017                     General                   UNDETERMINED
         NOT AVAILABLE
                                                              ACCOUNT NO.: P
                                                                22014958901


3.8456   ZNAT INSURANCE COMPANY                                   10/2/2018                   Opioid Matter               UNDETERMINED
         ATTN: PRESIDENT AND CHIEF EXECUTIVE OFFICER
         21255 CALIFA STREET                                   ACCOUNT NO.:
         WOODLAND HILLS, CA 91367                              NOT AVAILABLE



3.8457   ZNAT INSURANCE COMPANY                                   10/2/2018                   Opioid Matter               UNDETERMINED
         ATTN: AGENT FOR SERVICE OF PROCESS
         C/O CT CORPORATION SYSTEM                             ACCOUNT NO.:
         C/O NATIONAL REGISTERED AGENTS, INC. - 111 EIGHTH     NOT AVAILABLE
         AVENUE, 13TH FLOOR
         NEW YORK, NY 10011



                                                                                                   Litigation Total:    UNDETERMINED




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Creditor's Name, Mailing Address Including Zip      Date Claim Was Incurred      C U      D    Basis For      Offset   Amount of Claim
Code                                                 And Account Number                          Claim

Unpaid Prepetition Trade Payables to Affiliated Entities

3.8458   MUNDIPHARMA RESEARCH LTD                                UNKNOWN                                                       $75,909
         194 CAMBRIDGE SCIENCE PARK
         CAMBRIDGE, CB4 0A                                     ACCOUNT NO.:
         UNITED KINGDOM                                        NOT AVAILABLE



                                                    Unpaid Prepetition Trade Payables to Affiliated Entities Total:           $75,909




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                                      Total: All Creditors with NONPRIORITY Unsecured Claims        $14,250,045




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Schedule E/F: Creditors Who Have Unsecured Claims
     Part 3:       List Others to Be Notified About Unsecured Claims

4.     List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed
       are collection agencies, assignees of claims listed above, and attorneys for secured creditors.


 Creditor's Name, Mailing Address Including Zip Code                      On which line in Part 1 did you enter        Last 4 digits of account
                                                                                 the related creditor?                   number for this entity


4. 1    NONE




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Schedule E/F: Creditors Who Have Unsecured Claims
      Part 4:       Total Amounts of the Priority and Nonpriority Unsecured Claims


5.      Add the amounts of priority and nonpriority unsecured claims.


                                                                                                        Total of claim amounts


5a.     Total claims from Part 1                                                          5a.                       $1,627,548



5b.     Total claims from Part 2                                                          5b.     +                $14,250,045




5c.     Total of Parts 1 and 2                                                            5c.                      $15,877,593

        Lines 5a + 5b = 5c.




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Schedule G: Executory Contracts and Unexpired Leases
1.     Does the debtor have any executory contracts or unexpired leases?
             No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
             Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B).

2.     List all contracts and unexpired leases

 Nature of the Debtor's Interest                                 Expiration Date        Contract ID      Co-Debtor Name                                             Address



Service and/or Supply Agreements

2. 1          MASTER SERVICES AGREEMENT                                                   100003                     1798 CONSULTANTS INC                          ATTN: ROSHAWN BLUNT,
              EFFECTIVE AS OF JANUARY 25, 2016                                                                                                                     MANAGING DIRECTOR
                                                                                                                                                                   828 PROSPECT ST
                                                                                                                                                                   SUITE H
                                                                                                                                                                   LA JOLLA, CA 92037

2. 2          MASTER SERVICES AGREEMENT                                                   100004                     3D COMMUNICATIONS, LLC                        ATTN: NATHAN GEDE, ESQ.
              EFFECTIVE AS OF JULY 15, 2016                                                                                                                        15480 ANNAPOLIS ROAD
                                                                                                                                                                   SUITE 202 PMB 198
                                                                                                                                                                   BOWIE, MD 20715

2. 3          AMENDMENT NO. 1 TO MASTER                                                   100006                     4TH DOWN SOFTWARE                             ATTN: JAMES BODAJLO, VP
              SERVICES AGREEMENT EFFECTIVE AS                                                                        DEVELOPMENT, LLC                              SOLUTIONS
              OF DECEMBER 31, 2016                                                                                                                                 9 BRADY ROAD
                                                                                                                                                                   WARREN, NJ 07059

2. 4          AMENDMENT NO. 1 TO MASTER                                                   100008                     4TH DOWN SOLUTIONS, LLC                       ATTN: JAMES BODAJLO, VP
              SERVICES AGREEMENT EFFECTIVE AS                                                                                                                      SOLUTIONS
              OF DECEMBER 31, 2016                                                                                                                                 9 BRADY ROAD
                                                                                                                                                                   WARREN, NJ 07059

2. 5          ANTHONY H. WILLIAMS CSA CW2365159                     1/31/2020             105935                     A H WILLIAMS                                  NOT AVAILABLE
              (LH.RA) EFFECTIVE JANUARY 14, 2019

2. 6          SERVICE AGREEMENT DATED JULY 17,                                            100010                     AAI                                           ATTN: GENERAL COUNSEL
              1998                                                                                                                                                 1206 NORTH 23RD STREET
                                                                                                                                                                   WILMINGTON, NC 28405

2. 7          PROJECT SPECIFICATION ORDER #9 TO                                           100011                     AAIPHARMA SERVICES CORP.                      ATTN: GENERAL COUNSEL
              MASTER LABORATORY SERVICES                                                                                                                           2320 SCIENTIFIC PARK DRIVE
              AGREEMENT EFFECTIVE AS OF                                                                                                                            WILMINGTON, NC 28405
              OCTOBER 08, 2015

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Schedule G: Executory Contracts and Unexpired Leases
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2. 8       LIMITED PARTNERSHIP AGREEMENT                              100012                   AB GENERICS L.P.                C/O/ THE PRENTICE-HALL
           DATED APRIL 01, 1993                                                                                                CORPORATION SYSTEM, INC.
                                                                                                                               32 LOOCKERMAN SQUARE
                                                                                                                               SUITE L-100
                                                                                                                               DOVER, DE 19901

2. 9       LIMITED PARTNERSHIP AGREEMENT                              100013                   AB GENERICS L.P.                ATTN: STUART D. BAKER
           DATED APRIL 01, 1993                                                                                                CHADBOURNE & PARKE
                                                                                                                               30 ROCKEFELLER PLAZA
                                                                                                                               NEW YORK, NY 10112

2. 10      DISTRIBUTION AND SUPPLY                                    106207                   ABHAI, LLC                      C/O KVK-TECH INC
           AGREEMENT BETWEEN ABHAI, LLC AND                                                                                    110 TERRY DRIVE
           CERTAIN ASSOCIATED COMPANIES                                                                                        SUITE 200
           AND PURDUE PHARMA L.P., DATED                                                                                       NEWTON, PA 18940
           DECEMBER 22, 2017

2. 11      DISTRIBUTION AND SUPPLY                                    106211                   ABHAI, LLC                      C/O KVK-TECH INC
           AGREEMENT BETWEEN ABHAI, LLC AND                                                                                    110 TERRY DRIVE
           CERTAIN ASSOCIATED COMPANIES                                                                                        SUITE 200
           AND PURDUE PHARMA L.P., DATED                                                                                       NEWTON, PA 18940
           DECEMBER 22, 2017

2. 12      DISTRIBUTION AND SUPPLY                                    100033                   ABHAI, LLC                      C/O KVK-TECH INC
           AGREEMENT DATED DECEMBER 22,                                                                                        110 TERRY DRIVE
           2017                                                                                                                SUITE 200
                                                                                                                               NEWTON, PA 18940

2. 13      PHARMACOVIGILANCE AGREEMENT                                100034                   ABHAI, LLC                      C/O KVK-TECH INC
           DATED DECEMBER 22, 2017                                                                                             110 TERRY DRIVE
                                                                                                                               SUITE 200
                                                                                                                               NEWTON, PA 18940

2. 14      QUALITY AGREEMENT DATED                                    100036                   ABHAI, LLC                      C/O KVK-TECH INC
           DECEMBER 22, 2017                                                                                                   110 TERRY DRIVE
                                                                                                                               SUITE 200
                                                                                                                               NEWTON, PA 18940

2. 15      AMENDMENT NO. 2 TO MASTER                                  100044                   ABSORPTION SYSTEMS LP           ATTN: GENERAL COUNSEL
           PROJECT SPECIFICATION ORDER                                                                                         OAKLAND CORPORATE CENTER
           DATED FEBRUARY 17, 2017                                                                                             436 CREAMERY WAY, SUITE 600
                                                                                                                               EXTON, PA 19341

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Schedule G: Executory Contracts and Unexpired Leases
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2. 16      AMENDMENT NO. 3 TO MASTER                                  100043                   ABSORPTION SYSTEMS LP           ATTN: GENERAL COUNSEL
           LABORATORY SERVICES AGREEMENT                                                                                       OAKLAND CORPORATE CENTER
           DATED FEBRUARY 17, 2017                                                                                             436 CREAMERY WAY, SUITE 600
                                                                                                                               EXTON, PA 19341

2. 17      AMENDMENT NO. 3 TO MASTER                                  100042                   ABSORPTION SYSTEMS LP           ATTN: GENERAL COUNSEL
           PROJECT SPECIFICATION ORDER                                                                                         OAKLAND CORPORATE CENTER
           EFFECTIVE AS OF OCTOBER 10, 2018                                                                                    436 CREAMERY WAY, SUITE 600
                                                                                                                               EXTON, PA 19341

2. 18      MASTER LABORATORY SERVICES                                 100045                   ABSORPTION SYSTEMS LP           ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF MARCH                                                                                     OAKLAND CORPORATE CENTER
           18, 2011                                                                                                            436 CREAMERY WAY, SUITE 600
                                                                                                                               EXTON, PA 19341

2. 19      PROJECT AGREEMENT DATED JULY 02,                           100046                   ABT ASSOCIATES, INC.            ATTN: GENERAL COUNSEL
           2003                                                                                                                2503 CAVES FOREST ROAD
                                                                                                                               OWINGS MILLS, MD 21117

2. 20      PROJECT AGREEMENT DATED                                    100047                   ABT ASSOCIATES, INC.            ATTN: GENERAL COUNSEL
           OCTOBER 08, 2003                                                                                                    2503 CAVES FOREST ROAD
                                                                                                                               OWINGS MILLS, MD 21117

2. 21      AMENDMENT NO. 1 TO MASTER                                  100059                   ACCENCIO LLC                    ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT DATED                                                                                            2417 WELSH RD STE 21
           AUGUST 01, 2018                                                                                                     PHILADELPHIA, PA 19114

2. 22      MASTER SERVICES AGREEMENT                                  100067                   ACLAIRO PHARMACEUTICAL          ATTN: EMILIA KOSTADINOVA
           EFFECTIVE AS OF MAY 19, 2017                                                        DEVELOPMENT GROUP, INC          1950 OLD GALLOWS ROAD
                                                                                                                               SUITE 300
                                                                                                                               VIENNA, VA 22182

2. 23      ADDENDUM NO. 1 TO AMENDED AND                              100070                   ACTAVIS INC                     ATTN: CHIEF LEGAL OFFICER -
           RESTATED STATEMENT OF WORK                                                                                          GLOBAL
           EFFECTIVE AS OF APRIL 01, 2015                                                                                      MORRIS CORPORATE CENTER III
                                                                                                                               400 INTERPACE PARKWAY
                                                                                                                               PARSIPPANY, NJ 07053




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Schedule G: Executory Contracts and Unexpired Leases
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2. 24      QUALITY AGREEMENT DATED AUGUST                             100078                   ACTAVIS PHARMA INC                ATTN: CHIEF LEGAL OFFICER -
           20, 2014                                                                                                              GLOBAL
                                                                                                                                 MORRIS CORPORATE CENTER III
                                                                                                                                 400 INTERPACE PARKWAY
                                                                                                                                 PARSIPPANY, NJ 07053

2. 25      AMENDMENT NO. 1 TO DISTRIBUTION                            100081                   ACTAVIS PHARMA, INC.              ATTN: GENERAL COUNSEL
           AND SUPPLY AGREEMENT DATED                                                                                            MORRIS CORPORATE CENTER III
           SEPTEMBER 26, 2014                                                                                                    400 INTERPACE PARKWAY
                                                                                                                                 PARSIPPANY, NJ 07054

2. 26      AMENDMENT NO. 1 TO                                         100079                   ACTAVIS PHARMA, INC.              ATTN: CHIEF LEGAL OFFICER -
           PHARMACOVIGILANCE AGREEMENT                                                                                           GLOBAL
           DATED DECEMBER 15, 2015                                                                                               MORRIS CORPORATE CENTER III
                                                                                                                                 400 INTERPACE PARKWAY
                                                                                                                                 PARSIPPANY, NJ 07053

2. 27      AMENDMENT NO. 2 TO                                         100080                   ACTAVIS PHARMA, INC.              ATTN: GENERAL COUNSEL
           PHARMACOVIGILANCE AGREEMENT                                                                                           MORRIS CORPORATE CENTER III
           EFFECTIVE AS OF FEBRUARY 29, 2016                                                                                     400 INTERPACE PARKWAY
                                                                                                                                 PARSIPPANY, NJ 07054

2. 28      PHARMACOVIGILANCE AGREEMENT                                100082                   ACTAVIS PHARMA, INC.              ATTN: GENERAL COUNSEL
           EXECUTED JULY 07, 2014                                                                                                MORRIS CORPORATE CENTER III
                                                                                                                                 400 INTERPACE PARKWAY
                                                                                                                                 PARSIPPANY, NJ 07054

2. 29      DISTRIBUTION AND SUPPLY                                    100087                   ACTAVIS TOTWA LLC                 ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JULY                                                                                        4 TAFT ROAD
           31, 2009                                                                                                              TOTOWA, NJ 07512

2. 30      AMENDMENT NO. 2 TO MASTER                                  100093                   ACTIVUS SOLUTIONS, LLC            ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT DATED                                                                                              PO BOX 1034
           OCTOBER 31, 2017                                                                                                      YARMOUTH, ME 04096

2. 31      AMENDMENT #1 TO STATEMENT OF                               100094                   ACTIVUS SOLUTIONS, LLC.           ATTN: GENERAL COUNSEL
           WORK EFFECTIVE AS OF NOVEMBER                                                                                         PO BOX 1034
           10, 2017                                                                                                              YARMOUTH, ME 04096




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Schedule G: Executory Contracts and Unexpired Leases
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2. 32      MASTER LABORATORY SERVICES                                 100097                   ADARE PHARMACEUTICALS, INC.      ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                                                            PRINCETON PIKE CORPORATE
           NOVEMBER 06, 2018                                                                                                    CENTER
                                                                                                                                1200 LENOX DRIVE, SUITE 100
                                                                                                                                LAWERENCEVILLE, NJ 08648

2. 33      PROED COMMUNICATIONS INC MSA                               100098                   ADCOM                            ATTN: GENERAL COUNSEL
           CW2364054 MSR AD COM (LH.RA)
           DATED OCTOBER 04, 2018

2. 34      PROPOSAL FOR TRAFFIC ENGINEERING                           100101                   ADLER CONSULTING,                ATTN: GENERAL COUNSEL
           SERVICES DATED MAY 15, 2002                                                         TRANSPORTATION PLANNING &        235 MAIN STREET
                                                                                               TRAFFIC ENGINEERING, PLLC        WHITE PLAINS, NY 10601

2. 35      MASTER SERVICES AGREEMENT                                  100104                   ADVANCED CLINICAL, LLC           ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF APRIL 20, 2015                                                                                       10 PARKWAY NORTH, SUITE 350
                                                                                                                                DEERFIELD, IL 60015

2. 36      AMENDMENT #3 TO STUDY                                      100107                   ADVANCED PAIN MANAGEMENT AND     ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #001 TO                                                         REHABILITATION                   HILLTOP MEDICAL CENTER
           MASTER SERVICES AGREEMENT                                                                                            1788 REPUBLIC ROAD #200
           EFFECTIVE AS OF AUGUST 11, 2003                                                                                      VIRGINIA BEACH, VA 23454

2. 37      AMENDMENT #1 TO STUDY                                      100109                   ADVANCED PAIN MANAGEMENT AND     ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #002                                                            REHABILITATION, P.C.             HILLTOP MEDICAL CENTER
           EFFECTIVE AS OF DECEMBER 30, 2003                                                                                    1788 REPUBLIC ROAD #200
                                                                                                                                VIRGINIA BEACH, VA 23454

2. 38      AMENDMENT #2 TO MASTER CLINICAL                            100110                   ADVANCED PAIN MANAGEMENT AND     ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED AUGUST 09,                                                    REHABILITATION, P.C.             HILLTOP MEDICAL CENTER
           2002                                                                                                                 1788 REPUBLIC ROAD #200
                                                                                                                                VIRGINIA BEACH, VA 23454

2. 39      STUDY SPECIFICATION ORDER #002 TO                          100108                   ADVANCED PAIN MANAGEMENT AND     ATTN: STEVEN GERSHON, MD
           MASTER SERVICES AGREEMENT                                                           REHABILITATION, P.C.             HILLTOP MEDICAL CENTER
           DATED 09-AUGUST-02 EFFECTIVE AS                                                                                      1788 REPUBLIC RD. #200
           OF DECEMBER 30, 2003                                                                                                 VIRGINIA BEACH, VA 23454

2. 40      SEARCH FIRM AGREEMENT EFFECTIVE                            100111                   ADVANCED RECRUITERS, INC         ATTN: GENERAL COUNSEL
           AS OF JULY 15, 2009                                                                                                  1192 TRIOPIA ROAD
                                                                                                                                CONCORD, IL 62631

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Schedule G: Executory Contracts and Unexpired Leases
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2. 41      MASTER SERVICES AGREEMENT                                  100113                   AECOM TECHNICAL SERVICES, INC      ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF APRIL 01, 2016                                                                                         PURDUE: 4701 PURDUE DRIVE
                                                                                                                                  WILSON, NC 27893
                                                                                                                                  1600 PERIMETER PARK DRIVE,
                                                                                                                                  SUITE 400
                                                                                                                                  MORRISVILLE, NC 27560

2. 42      AMENDMENT #2 TO MASTER SERVICES                            100117                   AGILENT TECHNOLOGIES INC.          ATTN: GENERAL COUNSEL
           AGREEMENT DATED SEPTEMBER 29,                                                                                          2850 CENTERVILLE ROAD
           2016                                                                                                                   WILMINGTON, DE 19808

2. 43      MSA DATED FEBRUARY 10, 2014                                100119                   AIRGAS, INC.                       259 N. RADNOR-CHESTER ROAD,
                                                                                                                                  SUITE 100
                                                                                                                                  RADNOR, PA 19087

2. 44      MASTER SERVICES AGREEMENT                                  100120                   AIRMID CONSULTING LIMITED          ATTN: ANTONIA DANIEL
           EFFECTIVE AS OF JUNE 01, 2016                                                                                          RICH GOCH, HALFWAY BRIDGE
                                                                                                                                  BANGOR, GWYNEDD LL57 3AX

2. 45      TERMS AND CONDITIONS EXECUTED                              100123                   AKAMAI TECHNOLOGIES, INC.          NOT AVAILABLE
           APRIL 07, 2015

2. 46      ALACRITA CONSULTING INC CSA               1/24/2020        105943                   ALACRITA CONSULTING INC            NOT AVAILABLE
           CW2365284 (LH.RA) EFFECTIVE
           JANUARY 25, 2019

2. 47      AMENDMENT #2 TO MASTER                                     100132                   ALBANY MOLECULAR RESEARCH, INC.    ATTN: GENERAL COUNSEL
           LABORATORY AND CLINICAL SUPPLIES                                                                                       26 CORPORATE CIRCLE
           SERVICES AGREEMENT EFFECTIVE AS                                                                                        POB 1508
           OF JANUARY 12, 2017                                                                                                    ALBANY, NY 12212

2. 48      STATEMENT OF WORK TO MASTER                                100131                   ALBANY MOLECULAR RESEARCH, INC.    ATTN: GENERAL COUNSEL
           LABORATORY AND CLINICAL SUPPLIES                                                                                       26 CORPORATE CIRCLE
           SERVICES AGREEMENT DATED                                                                                               POB 1508
           JANUARY 05, 2017                                                                                                       ALBANY, NY 12212

2. 49      MASTER SUPPLY AGREEMENT DATED                              106217                   ALCALIBER, S.A.                    NOT AVAILABLE
           JANUARY 1, 2015 (LAST AMENDED IN
           OCTOBER 29, 2015) BETWEEN
           ALCALIBER, S.A., AND THE COMPANY



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Schedule G: Executory Contracts and Unexpired Leases
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2. 50      AMENDMENT NO.1 MASTER SERVICES                             100135                   ALL STAR SOFTWARE SYSTEMS, LLC       ATTN: GENERAL COUNSEL
           AGREEMENT DATED SEPTEMBER 04,                                                                                            440 SMITH STREET
           2018                                                                                                                     MIDDLETOWN, CT 06457

2. 51      STATEMENT OF WORK #2018-1 UNDER                            100136                   ALL STAR SOFTWARE SYSTEMS, LLC       ATTN: GENERAL COUNSEL
           MASTER SERVICES AGREEMENT                                                                                                440 SMITH STREET
           EFFECTIVE AS OF SEPTEMBER 10, 2018                                                                                       MIDDLETOWN, CT 06457

2. 52      CHANGE ORDER #1 TO PROJECT                                 100141                   ALLIANCE MARKETING SERVICE           ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER DATED                                                           GROUP, INC.                          2370 YORK ROAD, SUITE B-1
           NOVEMBER 17, 2003                                                                                                        JAMISON, PA 18929

2. 53      AMENDMENT NO. 1 TO MASTER                                  100142                   ALLIANCE MARKETING SERVICES          ATTN: GENERAL COUNSEL
           SERVICE PROVIDER AGREEMENT                                                          GROUP, INC.                          2370 YORK ROAD, SUITE B-1
           DATED JUNE 28, 2001                                                                                                      JAMISON, PA 18929

2. 54      CALL CENTER OPERATIONS FOR                                 100143                   ALLIANCE MARKETING SERVICES          ATTN: SHIRLEY ORTLEIB
           STUDY PROTOCOL EFFECTIVE AS OF                                                      GROUP, INC.                          2370 YORK ROAD BUILDING B
           NOVEMBER 01, 2002                                                                                                        JAMISON, PA 18929

2. 55      AMENDMENT NO. 4 TO MASTER                                  100145                   ALMAC CLINICAL SERVICES (IRELAND)    ATTN: GENERAL COUNSEL
           MANUFACTURING SERVICES                                                              LIMITED                              RIVERSIDE ONE
           AGREEMENT DATED MARCH 14, 2018                                                                                           SIR JOHN RICHARDSONS QUAY
                                                                                                                                    DUBLIN 2
                                                                                                                                    IRAN, ISLAMIC REPUBLIC OF

2. 56      QUALITY AGREEMENT EFFECTIVE AS                             100155                   ALMAC PHARMA SERVICES LLC            ATTN: GENERAL COUNSEL
           OF NOVEMBER 18, 2015                                                                                                     2661 AUDUBON ROAD
                                                                                                                                    AUDUBON, PA 19403

2. 57      ALPHA SCRIP SOW HYSINGLA                 12/31/2019        106167                   ALPHA SCRIP INCORPORATED             NOT AVAILABLE
           CW2366640 (SD.RA) EFFECTIVE APRIL
           26, 2019

2. 58      ALPHA SCRIP, INCORPORATED -              12/31/2021        106160                   ALPHA SCRIP INCORPORATED             NOT AVAILABLE
           MASTER SERVICES AGREEMENT
           CW2366530 (SD.RA) EFFECTIVE APRIL
           19, 2019




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2. 59      ALPHA SCRIP, INCORPORATED - SOW          12/31/2019        106168                   ALPHA SCRIP INCORPORATED       NOT AVAILABLE
           OXYCONTIN CW2366642 (SD.RA)
           EFFECTIVE APRIL 26, 2019

2. 60      STUDY SPECIFICATION ORDER #003                             100159                   ALTOONA CENTER FOR CLINICAL    ATTN: LISA RILEY
           MASTER CLINICAL TRIAL AGREEMENT                                                     RESEARCH                       1125 OLD RT. 220 NORTH
           EFFECTIVE AS OF JANUARY 22, 2004                                                                                   P.O. BOX 1018
                                                                                                                              DUNCANSVILLE, PA 16635

2. 61      AMENDMENT #1 TO MASTER CLINICAL                            100161                   ALTOONA CENTER FOR CLINICAL    ATTN: LISA RILEY
           TRIAL AGREEMENT EFFECTIVE AS OF                                                     RESEARCH, PC                   1125 OLD RT. 220 NORTH
           JUNE 14, 2004                                                                                                      P.O. BOX 1018
                                                                                                                              DUNCANSVILLE, PA 16635

2. 62      AMENDMENT NO. 1 TO STUDY                                   100162                   ALTOONA CENTER FOR CLINICAL    ATTN: LISA RILEY
           SPECIFICATION ORDER #002                                                            RESEARCH, PC                   1125 OLD RT. 220 NORTH
           EFFECTIVE AS OF OCTOBER 10, 2003                                                                                   P.O. BOX 1018
                                                                                                                              DUNCANSVILLE, PA 16635

2. 63      AMENDMENT NO. 2 TO STUDY                                   100172                   ALTOONA CENTER FOR CLINICAL    ATTN: LISA RILEY
           SPECIFICATION ORDER DATED                                                           RESEARCH, PC                   1125 OLD RT. 220 NORTH
           FEBRUARY 22, 2005                                                                                                  P.O. BOX 1018
                                                                                                                              DUNCANSVILLE, PA 16635

2. 64      AMENDMENT NO. 2 TO STUDY                                   100163                   ALTOONA CENTER FOR CLINICAL    ATTN: LISA RILEY
           SPECIFICATION ORDER DATED JUNE                                                      RESEARCH, PC                   1125 OLD RT. 220 NORTH
           14, 2004                                                                                                           P.O. BOX 1018
                                                                                                                              DUNCANSVILLE, PA 16635

2. 65      AMENDMENT NO.3 TO STUDY                                    100171                   ALTOONA CENTER FOR CLINICAL    ATTN: LISA RILEY
           SPECIFICATION EFFECTIVE AS OF                                                       RESEARCH, PC                   1125 OLD RT. 220 NORTH
           JANUARY 19, 2005                                                                                                   P.O. BOX 1018
                                                                                                                              DUNCANSVILLE, PA 16635

2. 66      STUDY SPECIFICATION ORDER #002 TO                          100160                   ALTOONA CENTER FOR CLINICAL    ATTN: LISA RILEY
           MASTER CLINICAL TRIAL AGREEMENT                                                     RESEARCH, PC                   1125 OLD RT. 220 NORTH
           DATED OCTOBER 10, 2003                                                                                             P.O. BOX 1018
                                                                                                                              DUNCANSVILLE, PA 16635




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2. 67      STUDY SPECIFICATION ORDER #004                             100173                   ALTOONA CENTER FOR CLINICAL        ATTN: LISA RILEY
           MASTER CLINICAL TRIAL AGREEMENT                                                     RESEARCH, PC                       1125 OLD RT. 220 NORTH
           EFFECTIVE AS OF MARCH 11, 2005                                                                                         P.O. BOX 1018
                                                                                                                                  DUNCANSVILLE, PA 16635

2. 68      AMENDMENT NO. 1 MASTER SERVICES                            100174                   ALTREOS RESEARCH PARTNERS, INC.    ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF MARCH                                                                                        50 WANDA ROAD
           11, 2014                                                                                                               TORONTO, ONTARIO M6P 1C6
                                                                                                                                  CANADA

2. 69      PROFESSIONAL VALUATION SERVICES                            100180                   AMERICAN APPRAISAL ASSOCIATES      ATTN: GENERAL COUNSEL
           CONTRACT DATED DECEMBER 07, 2005                                                                                       6 LANDMARK SQUARE, 4TH FLOOR
                                                                                                                                  STAMFORD, CT 06901

2. 70      AMENDMENT NO. 4 TO STUDY                                   100197                   AMERICASDOCTOR, INC.               ATTN: GENERAL COUNSEL
           SPECIFICATION EFFECTIVE AS OF                                                                                          1325 TRI-STATE PARKWAY
           FEBRUARY 22, 2005                                                                                                      GURNEE, IL 60031

2. 71      MEDVANTX INC. MSA CW2365465               2/13/2022        106171                   AMERIPHARM INC                     NOT AVAILABLE
           (SD.RA) EFFECTIVE FEBRUARY 14, 2019

2. 72      AMENDMENT NO. 1 TO AUTHORIZED                              100202                   AMERISOURCEBERGEN DRUG             ATTN: GENERAL COUNSEL
           DISTRIBUTOR AGREEMENT EFFECTIVE                                                     CORPORATION                        1300 MORRIS DRIVE
           AS OF SEPTEMBER 30, 2014                                                                                               CHESTERBROOK, PA 19087

2. 73      AMENDMENT NO. 1 TO DISTRIBUTION                            100203                   AMERISOURCEBERGEN DRUG             ATTN: GENERAL COUNSEL
           PERFORMANCE AGREEMENT                                                               CORPORATION                        1300 MORRIS DRIVE
           EFFECTIVE AS OF SEPTEMBER 30, 2014                                                                                     CHESTERBROOK, PA 19087

2. 74      AMENDMENT NO. 1 TO LOGISTICS                               100206                   AMERISOURCEBERGEN DRUG             ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT DATED JULY                                                       CORPORATION                        1300 MORRIS DRIVE
           01, 2018                                                                                                               CHESTERBROOK, PA 19087

2. 75      AMENDMENT NO. 2 TO AUTHORIZED                              100204                   AMERISOURCEBERGEN DRUG             ATTN: GENERAL COUNSEL
           DISTRIBUTOR AGREEMENT EFFECTIVE                                                     CORPORATION                        1300 MORRIS DRIVE
           AS OF SEPTEMBER 30, 2015                                                                                               CHESTERBROOK, PA 19087

2. 76      AMENDMENT NO. 2 TO DISTRIBUTION                            100205                   AMERISOURCEBERGEN DRUG             ATTN: GENERAL COUNSEL
           PERFORMANCE AGREEMENT                                                               CORPORATION                        1300 MORRIS DRIVE
           EFFECTIVE AS OF SEPTEMBER 30, 2015                                                                                     CHESTERBROOK, PA 19087


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2. 77      AMENDMENT NO. 3 TO AUTHORIZED                              100209                   AMERISOURCEBERGEN DRUG          ATTN: GENERAL COUNSEL
           DISTRIBUTOR AGREEMENT EFFECTIVE                                                     CORPORATION                     1300 MORRIS DRIVE
           AS OF SEPTEMBER 01, 2017                                                                                            CHESTERBROOK, PA 19087

2. 78      AUTHORIZED DISTRIBUTOR                                     100198                   AMERISOURCEBERGEN DRUG          ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                           CORPORATION                     1300 MORRIS DRIVE
           OCTOBER 01, 2012                                                                                                    CHESTERBROOK, PA 19087

2. 79      DISTRIBUTION PERFORMANCE                                   100201                   AMERISOURCEBERGEN DRUG          ATTN: VP BRANDED RX
           AGREEMENT EFFECTIVE AS OF                                                           CORPORATION                     1300 MORRIS DRIVE
           OCTOBER 01, 2012                                                                                                    CHESTERBROOK, PA 19087

2. 80      DRUG DISTRIBUTION SERVICE                                  100199                   AMERISOURCEBERGEN DRUG          ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF APRIL                                                     CORPORATION                     1300 MORRIS DRIVE
           01, 2006                                                                                                            CHESTERBROOK, PA 19087

2. 81      DRUG DISTRIBUTION SERVICE                                  100200                   AMERISOURCEBERGEN DRUG          ATTN: GENERAL COUNSEL
           AGREEMENT AMENDMENT EFFECTIVE                                                       CORPORATION                     1300 MORRIS DRIVE
           AS OF OCTOBER 01, 2009                                                                                              CHESTERBROOK, PA 19087

2. 82      LOGISTICS SERVICES AGREEMENT                               100212                   AMERISOURCEBERGEN DRUG          ATTN: GROUP GENERAL COUNSEL
           EFFECTIVE AS OF NOVEMBER 01, 2015                                                   CORPORATION                     3101 GAYLORD PARKWAY
                                                                                                                               FRISCO, TX 75034

2. 83      AMENDMENT #3 TO MASTER SERVICES                            100222                   ANALYSIS GROUP, INC.            NOT AVAILABLE
           AGREEMENT DATED OCTOBER 09, 2017

2. 84      AMENDMENT TO MASTER SERVICES                               100221                   ANALYSIS GROUP, INC.            NOT AVAILABLE
           AGREEMENT DATED NOVEMBER 28,
           2016

2. 85      ANAQUA INC. - SOW 2019-1 DOCKETING        3/31/2022        106043                   ANAQUA INC                      NOT AVAILABLE
           SERVICES 2019-2022 CW2366578
           (PB.RA) EFFECTIVE APRIL 01, 2019

2. 86      IP RIGHTS MAINTENANCE SERVICE                              100224                   ANAQUA SERVICES, INC.           ATTN: GENERAL COUNSEL
           AGREEMENT DATED DECEMBER 19,                                                                                        31 ST. JAMES AVENUE
           2016                                                                                                                11TH FLOOR
                                                                                                                               BOSTON, MA 02116



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2. 87      AMENDMENT #1 TO THE IPRMSA                                 100227                   ANAQUA, INC.           ATTN: CHIEF EXECUTIVE OFFICER
           AGREEMENT DATED JUNE 09, 2017                                                                              745 BOYLSTON STREET, 6TH
                                                                                                                      FLOOR
                                                                                                                      BOSTON, MA 02116

2. 88      MASTER SERVICES AGREEMENT                                  100225                   ANAQUA, INC.           ATTN: CHIEF EXECUTIVE OFFICER
           EFFECTIVE AS OF OCTOBER 24, 2011                                                                           745 BOYLSTON STREET, 6TH
                                                                                                                      FLOOR
                                                                                                                      BOSTON, MA 02116

2. 89      SUBSCRIPTION AGREEMENT DATED                               100226                   ANAQUA, INC.           ATTN: CHIEF EXECUTIVE OFFICER
           DECEMBER 15, 2016                                                                                          745 BOYLSTON STREET, 6TH
                                                                                                                      FLOOR
                                                                                                                      BOSTON, MA 02116

2. 90      AMENDMENT NO. 1 TO AUTHORIZED                              100231                   ANDA INC.              ATTN: GENERAL COUNSEL
           DISTRIBUTOR AGREEMENT DATED                                                                                2915 WESTON ROAD
           APRIL 15, 2016                                                                                             WESTON, FL 33331

2. 91      AMENDMENT NO. 1 TO DISTRIBUTION                            100230                   ANDA INC.              ATTN: GENERAL COUNSEL
           PERFORMANCE AGREEMENT                                                                                      2915 WESTON ROAD
           EFFECTIVE AS OF JUNE 30, 2015                                                                              WESTON, FL 33331

2. 92      AMENDMENT NO. 2 TO AUTHORIZED                              100232                   ANDA INC.              ATTN: GENERAL COUNSEL
           DISTRIBUTOR AGREEMENT DATED                                                                                2915 WESTON ROAD
           JUNE 30, 2017                                                                                              WESTON, FL 33331

2. 93      AMENDMENT NO. 2 TO DISTRIBUTION                            100233                   ANDA INC.              ATTN: GENERAL COUNSEL
           PERFORMANCE AGREEMENT DATED                                                                                2915 WESTON ROAD
           JUNE 01, 2018                                                                                              WESTON, FL 33331

2. 94      AUTHORIZED DISTRIBUTOR                                     100228                   ANDA INC.              ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JULY                                                                             2915 WESTON ROAD
           01, 2012                                                                                                   WESTON, FL 33331

2. 95      DISTRIBUTION PERFORMANCE                                   100229                   ANDA INC.              ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JULY                                                                             2915 WESTON ROAD
           01, 2012                                                                                                   WESTON, FL 33331




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2. 96      CONTRACT SERVICES QUALITY                                  100234                   ANDERSONBRECON INC. DBA PCI OF       ATTN: GENERAL COUNSEL
           AGREEMENT DATED SEPTEMBER 03,                                                       ILLINOIS                             4545 ASSEMBLY DRIVE
           2015                                                                                                                     ROCKFORD, IL 61109

2. 97      AMENDMENT #7 TO SUPPLY                                     100235                   ANDERSONBRECON, INC. D/B/A/ PCI      ATTN: GENERAL COUNSEL
           AGREEMENT DATED MARCH 31, 2017                                                      OF ILLINOIS F/K/A ANDERSON           4545 ASSEMBLY DRIVE
                                                                                               PACKAGING INC.                       ROCKFORD, IL 61109

2. 98      GLOBAL CLINICAL SUPPLY SERVICES                            100236                   ANDERSONBRECON, INC., D/B/A PCI      ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                           OF ILLINOIS                          4545 ASSEMBLY DRIVE
           AUGUST 31, 2015                                                                                                          ROCKFORD, IL 61109

2. 99      SEARCH FIRM AGREEMENT DATED                                100237                   ANDOS ASSOCIATES, INC.               ATTN: GENERAL COUNSEL
           JANUARY 25, 2012                                                                                                         2 STONE HOUSE ROAD
                                                                                                                                    MENDHAM, NJ 07945

2. 100     ANDREW CUTLER WO CW2365580               12/31/2019        105944                   ANDREW J. CULTER, M.D.               ATTN: GENERAL COUNSEL
           SUPPORT AWARENESS OF ADHANSIA                                                                                            10800 ALPHARETTA HIGHWAY
           XRÂ„¢ (LH.RA) EFFECTIVE FEBRUARY                                                                                         SUITE 208
           07, 2019                                                                                                                 ROSEWELL, GA 30076

2. 101     AUTHORSHIP AGREEMENT DATED                                 100244                   ANGELA DE VEAUGH-GEISS, PH.D., MS    ATTN: GENERAL COUNSEL
           MARCH 27, 2018                                                                                                           333 EAST 43RD STREET
                                                                                                                                    #503
                                                                                                                                    NEW YORK, NY 10017

2. 102     MANAGEMENT SERVICES AGREEMENT                              100249                   APC WORKFORCE SOLUTIONS, LLC         ATTN: LEGAL
           EFFECTIVE AS OF SEPTEMBER 01, 2018                                                  D/B/A ZEROCHAOS                      420 S. ORANGE AVENUE
                                                                                                                                    ORLANDO, FL 32601

2. 103     MASTER SERVICES AND CLOUD                                  100251                   APEX HEALTH INNOVATIONS, LLC         ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                                                                3158 EVELYN AVENUE
           NOVEMBER 22, 2016                                                                                                        SIMI VALLEY, CA 93063

2. 104     DISTRIBUTION AND SUPPLY                                    100256                   APOTEX CORP.                         ATTN: CHIEF COMMERCIAL
           AGREEMENT DATED AUGUST 31, 2009                                                                                          OFFICER
                                                                                                                                    2400 NORTH COMMERCE
                                                                                                                                    PARKWAY
                                                                                                                                    SUITE 400
                                                                                                                                    WESTON, FL 33326



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2. 105     QUALITY AGREEMENT DATED                                    100259                   APOTEX INC.                     ATTN: CHIEF COMMERCIAL
           DECEMBER 17, 2009                                                                                                   OFFICER; VP GLOBAL
                                                                                                                               INTELLECTUAL PROPERTIES
                                                                                                                               2400 NORTH COMMERCE
                                                                                                                               PARKWAY
                                                                                                                               SUITE 400
                                                                                                                               WESTON, FL 33326

2. 106     APTUS HEALTH - SOW 2019-1 PATIENT        12/31/2019        106154                   APTUS HEALTH                    ATTN: GENERAL COUNSEL
           FEEDBACK PROGRAM CW2366538                                                                                          55 WALKERS BRROK DR STE 500
           (SD.RA) EFFECTIVE APRIL 01, 2019                                                                                    READING, MA 01867

2. 107     APTUS HEALTH AMENDMENT TO MSA            12/31/2021        106141                   APTUS HEALTH                    ATTN: GENERAL COUNSEL
           CW2364608 (SD.RA) EFFECTIVE                                                                                         55 WALKERS BRROK DR STE 500
           JANUARY 01, 2019                                                                                                    READING, MA 01867

2. 108     RIDER #1 TO ORDER FORM #1 UNDER                            100265                   ARIBA, INC                      ATTN: GENERAL COUNSEL
           CLOUD SERVICES AGREEMENT DATED                                                                                      910 HERMOSA COURT
           SEPTEMBER 15, 2014                                                                                                  SUNNYSIDE, CA 94085

2. 109     ORDER FORM #1 UNDER GENERAL                                100266                   ARIBA, INC.                     ATTN: GENERAL COUNSEL
           TERMS AND CONDITIONS FOR SAP                                                                                        910 HERMOSA COURT
           CLOUD SERVICES EFFECTIVE AS OF                                                                                      SUNNYSIDE, CA 94085
           SEPTEMBER 30, 2014

2. 110     AMENDMENT #1: TO MASTER CLINICAL                           100267                   ARKANSAS CHILDREN'S HOSPITAL    NOT AVAILABLE
           TRIAL AGREEMENT DATED MARCH 02,                                                     RESEARCH INSTITUTE
           2004

2. 111     AMENDMENT #1: TO MASTER CLINICAL                           100273                   ARTHRITIS AND OSTEOPOROSIS      NOT AVAILABLE
           TRIAL AGREEMENT EFFECTIVE AS OF                                                     CENTER, P.A.
           SEPTEMBER 30, 2003

2. 112     AMENDMENT NO. 1 TO STUDY                                   100271                   ARTHRITIS AND OSTEOPOROSIS      NOT AVAILABLE
           SPECIFICATION ORDER #003                                                            CENTER, P.A.
           EFFECTIVE AS OF JUNE 14, 2004

2. 113     AMENDMENT NO. 2 TO STUDY                                   100274                   ARTHRITIS AND OSTEOPOROSIS      NOT AVAILABLE
           SPECIFICATION DATED DECEMBER 02,                                                    CENTER, P.A.
           2004



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2. 114     MASTER SERVICES AND CLOUD                                  100278                   ARTIA SOLUTIONS, LLC            ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                                                           2619 CENTENNIAL BLVD
           SEPTEMBER 15, 2015                                                                                                  SUITE 102
                                                                                                                               TALLAHASSEE, FL 32308

2. 115     DISTRIBUTION AND SUPPLY                                    106221                   ASCENT PHARMACEUTICALS, INC.    ATTN: GENERAL COUNSEL
           AGREEMENT BETWEEN PURDUE                                                                                            400 S. TECHNOLOGY DRIVE
           PHARMA, L.P. AND ASCENT                                                                                             CENTRAL SLIP, NY 11722
           PHARMACEUTICALS, INC. DATED
           MARCH 27, 2019

2. 116     AMENDMENT #1: TO MASTER CLINICAL                           100289                   ASSOCIATED MEDICAL SERVICES     NOT AVAILABLE
           TRIAL AGREEMENT DATED DECEMBER
           29, 2003

2. 117     AMENDMENT NO. 2 TO STUDY                                   100290                   ASSOCIATED MEDICAL SERVICES     NOT AVAILABLE
           SPECIFICATION ORDER #001
           EFFECTIVE AS OF JUNE 14, 2004

2. 118     AMENDMENT NO. 4 TO STUDY                                   100291                   ASSOCIATED MEDICAL SERVICES     NOT AVAILABLE
           SPECIFICATION EFFECTIVE AS OF
           FEBRUARY 22, 2005

2. 119     ATHENA SOLUTIONS GROUP, LLC CSA          12/31/2020        105979                   ATHENA SOLUTIONS LLC            NOT AVAILABLE
           CW2366605 (LH.RA) EFFECTIVE MAY 01,
           2019

2. 120     SERVICES AGREEMENT DATED                                   100297                   ATLANTIC AIR ENTERPRISES        ATTN: GENERAL COUNSEL
           FEBRUARY 01, 2008                                                                                                   856 ELSTON STREET
                                                                                                                               RAHWAY, NJ 07065

2. 121     MASTER SERVICES AGREEMENT                                  100299                   ATLANTIC INFORMATION            ATTN: GENERAL COUNSEL
           DATED MARCH 06, 2008                                                                MANAGEMENT GROUP, LLC           ONE COMMERCE CENTER
                                                                                                                               10320 LITTLE PATUXENT
                                                                                                                               PARKWAY, SUITE 1104
                                                                                                                               COLUMBIA, MD 21044

2. 122     STATEMENT OF WORK DATED                                    100300                   ATMOSPHERE INTERACTIVE          ATTN: GENERAL COUNSEL
           DECEMBER 04, 2001                                                                                                   1375 BROADWAY
                                                                                                                               NEW YORK, NY 10018



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2. 123     WORK ORDER UNDER MASTER CRO                                100307                   ATP, LLC D/B/A PPD MEDICAL       ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT DATED                                                            COMMUNICATIONS                   1400 PERIMETER PARK DRIVE
           OCTOBER 01, 2016                                                                                                     MORRISVILLE, NC 27560

2. 124     ATRASH, SHEBLI CSA CW2367013              5/31/2020        105914                   ATRASH, SHEBLI                   NOT AVAILABLE
           (SS.RA) EFFECTIVE JUNE 01, 2019

2. 125     AVALERE HEALTH LLC AMEND MSA              3/11/2022        106185                   AVALERE HEALTH                   NOT AVAILABLE
           CW2365725 (SD.RA) EFFECTIVE MARCH
           12, 2019

2. 126     PROJECT SPECIFICATION ORDER NO. 9                          100319                   AVALON HEALTH SOLUTIONS, INC.    ATTN: GENERAL COUNSEL
           DATED NOVEMBER 15, 2001                                                                                              1601 WALNUT STREET
                                                                                                                                SUITE 1507
                                                                                                                                PHILADELPHIA, PA 19102

2. 127     STUDY SPECIFICATION ORDER #002                             100328                   AVANCIA CLINICAL RESEARCH        ATTN: KAREN BUSCH
           MASTER CLINICAL TRIAL AGREEMENT                                                                                      1900 N. UNIVERSITY DRIVE
           EFFECTIVE AS OF FEBRUARY 04, 2005                                                                                    SUITE 103
                                                                                                                                PEMBROKE PINES, FL 33024

2. 128     AMENDMENT #1: TO STUDY                                     100329                   AVANCIA RESEARCH LLC             NOT AVAILABLE
           SPECIFICATION ORDER #002 DATED
           FEBRUARY 22, 2005

2. 129     MASTER LABORATORY SERVICES                                 100335                   AVISTA PHARMA SOLUTIONS, INC.    ATTN: GENERAL COUNSEL
           AGREEMENT DATED FEBRUARY 27, 2018                                                                                    3501 TRICENTER BOULEVARD
                                                                                                                                SUITE C
                                                                                                                                DURHAM, NC 27713-1849

2. 130     MASTER PROFESSIONAL SERVICES                               100339                   AXWAY INC.                       NOT AVAILABLE
           AGREEMENT DATED MARCH 18, 2004

2. 131     STUDY SPECIFICATION ORDER #001                             100355                   BARRY BOCKOW, MD                 ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JANUARY 26, 2004                                                                                     16122 8TH AVENUE SW
                                                                                                                                SUITE D-3
                                                                                                                                SEATTLE, WA 98166




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2. 132     AMENDMENT #1: TO MASTER CLINICAL                           100356                   BARRY BOCKOW, MD, P.S.           ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED JUNE 14,                                                                                       16122 8TH AVENUE SW
           2004                                                                                                                 SUITE D-3
                                                                                                                                SEATTLE, WA 98166

2. 133     BASHIR, QAISER CSA CW2367021              5/31/2020        105917                   BASHIR, QAISER                   NOT AVAILABLE
           (SS.RA) EFFECTIVE JUNE 01, 2019

2. 134     QUALITY AGREEMENT EFFECTIVE AS                             100360                   BD RX INC                        ATTN: GENERAL COUNSEL
           OF AUGUST 12, 2014                                                                                                   1 BECTON DRIVE
                                                                                                                                FRANKLIN LAKES, NJ 07417

2. 135     AMENDMENT NO. 1 TO                                         100361                   BD RX INC.                       ATTN: GENERAL COUNSEL
           PHARMACOVIGILANCE AGREEMENT                                                                                          1 BECTON DRIVE
           DATED OCTOBER 01, 2015                                                                                               FRANKLIN LAKES, NJ 07417

2. 136     PHARMACOVIGILANCE AGREEMENT                                100362                   BD RX INC.                       ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JUNE 02, 2014                                                                                        1 BECTON DRIVE
                                                                                                                                FRANKLIN LAKES, NJ 07417

2. 137     AMENDMENT NO. 1 TO MASTER                                  100367                   BELLUSCI CREATIVE LLC            ATTN: MARK BELLUSCI
           STATEMENT OF WORK DATED                                                                                              104 HEMLOCK DRIVE
           DECEMBER 14, 2017                                                                                                    STAMFORD, CT 06902

2. 138     MASTER SERVICES AGREEMENT                                  100366                   BELLUSCI CREATIVE LLC            ATTN: MARK BELLUSCI
           DATED JANUARY 12, 2017                                                                                               104 HEMLOCK DRIVE
                                                                                                                                STAMFORD, CT 06902

2. 139     AMENDMENT #1 TO MASTER SERVICES                            100371                   BELWAY ELECTRICAL CONTRACTING    ATTN: GENERAL COUNSEL
           AGREEMENT DATED JANUARY 01, 2016                                                    CORPORATION                      66 SOUTH CENTRAL AVENUE
                                                                                                                                ELMSFORD, NY 10523

2. 140     MASTER SERVICES AGREEMENT                                  100370                   BELWAY ELECTRICAL CONTRACTING    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JANUARY 01, 2013                                                    CORPORATION                      66 SOUTH CENTRAL AVENUE
                                                                                                                                ELMSFORD, NY 10523

2. 141     AMENDMENT NO. 2 TO STUDY                                   100377                   BENCHMARK RESEARCH               ATTN: MELISSA REYNOLDS
           SPECIFICATION EFFECTIVE AS OF                                                                                        4504 BOAT CLUB ROAD
           JANUARY 21, 2004                                                                                                     SUITE 800
                                                                                                                                FORTH WORTH, TX 76135


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2. 142     STUDY SPECIFICATION ORDER #001                             100374                   BENCHMARK RESEARCH                ATTN: MELISSA REYNOLDS
           DATED DECEMBER 31, 2001                                                                                               4504 BOAT CLUB ROAD
                                                                                                                                 SUITE 800
                                                                                                                                 FORTH WORTH, TX 76135

2. 143     STUDY SPECIFICATION ORDER #002                             100375                   BENCHMARK RESEARCH                ATTN: MELISSA REYNOLDS
           MASTER SITE MANAGEMENT                                                                                                4504 BOAT CLUB ROAD
           ORGANIZATION AGREEMENT                                                                                                SUITE 800
           EFFECTIVE AS OF JANUARY 21, 2004                                                                                      FORTH WORTH, TX 76135

2. 144     BENEFITFOCUS.COM INC HIPPA                3/28/2022        106149                   BENEFITFOCUS.COM INC              ATTN: GENERAL COUNSEL
           ADDENDUM CW2366072 (SD.RA)                                                                                            DEPT 3383 PO BOX 123383
           EFFECTIVE MARCH 29, 2019                                                                                              DALLAS, TX 75312

2. 145     BENEFITFOCUS.COM INC ORDER FORM           3/28/2022        106150                   BENEFITFOCUS.COM INC              ATTN: GENERAL COUNSEL
           CW2366070(SD.RA) EFFECTIVE MARCH                                                                                      DEPT 3383 PO BOX 123383
           29, 2019                                                                                                              DALLAS, TX 75312

2. 146     BENEFITFOCUS.COM INC. CLIENT              3/28/2022        106147                   BENEFITFOCUS.COM INC              ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT CW2366057                                                                                          DEPT 3383 PO BOX 123383
           (SD.RA) EFFECTIVE MARCH 29, 2019                                                                                      DALLAS, TX 75312

2. 147     BENNANI, NORA CSA CW2367283               6/30/2020        105928                   BENNANI, NORA                     NOT AVAILABLE
           (SS.SD) EFFECTIVE JUNE 15, 2019

2. 148     AGREEMENT FOR LEGAL SERVICES                               100378                   BENNETT BIGELOW & LEEDOM, P.S.    NOT AVAILABLE
           DATED SEPTEMBER 21, 2001

2. 149     MASTER SERVICES AGREEMENT                                  100383                   BFPE INTERNATIONAL, INC.          ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MAY 01, 2017                                                                                          115 BESTWOOD DRIVE
                                                                                                                                 CLAYTON, NC 27520

2. 150     MASTER SERVICES AGREEMENT                                  100385                   BFPE INTERNATIONAL, INC.          ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MAY 01, 2017                                                                                          115 BESTWOOD DRIVE
                                                                                                                                 CLAYTON, NC 27520

2. 151     BHARGAVE, SUVRAT CSA 01012019            12/31/2019        105927                   BHARGAVE, SUVRAT                  NOT AVAILABLE
           CW2364579 (SS.SD) EFFECTIVE
           JANUARY 01, 2019



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2. 152     AMENDMENT #1 TO MASTER SERVICES                            100387                   BI, A TRADENAME OF SCHOENECKERS    ATTN: GENERAL COUNSEL
           AGREEMENT DATED OCTOBER 13, 2003                                                                                       7630 BUSH LAKE ROAD
                                                                                                                                  MINNEAPOLIS, MN 55439

2. 153     SOW RE PRODUCT LAUNCH AWARDS                               100386                   BI, A TRADENAME OF SCHOENECKERS    ATTN: GENERAL COUNSEL
           PROGRAM DATED SEPTEMBER 09, 2003                                                                                       7630 BUSH LAKE ROAD
                                                                                                                                  MINNEAPOLIS, MN 55439

2. 154     MASTER SERVICES AGREEMENT                                  100388                   BIOCENTRIC, INC.                   ATTN: GENERAL COUNSEL
           DATED JULY 01, 2016                                                                                                    700 COLLINGS AVENUE
                                                                                                                                  COLLINGSWOOD, NJ 08107

2. 155     PROJECT SPECIFICATION ORDER #2017-                         100394                   BIOKEY, INC.                       ATTN: GENERAL COUNSEL
           2 UNDER MASTER SERVICES                                                                                                44370 OLD WARM SPRINGS
           AGREEMENT DATED JUNE 08, 2017                                                                                          BOULEVARD
                                                                                                                                  FREMONT, CA 94538

2. 156     PROJECT SPECIFICATION ORDER                                100395                   BIOKEY, INC.                       ATTN: GENERAL COUNSEL
           DATED JUNE 30, 2017                                                                                                    44370 OLD WARM SPRINGS BLVD.
                                                                                                                                  FREMONT, CA 94538

2. 157     QUALITY AGREEMENT DATED                                    100392                   BIOKEY, INC.                       ATTN: GENERAL COUNSEL
           FEBRUARY 07, 2013                                                                                                      44370 OLD WARM SPRINGS
                                                                                                                                  BOULEVARD
                                                                                                                                  FREMONT, CA 94538

2. 158     STATEMENT OF WORK #1 TO MASTER                             100393                   BIOKEY, INC.                       ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT EFFECTIVE AS                                                                                        44370 OLD WARM SPRINGS
           OF JANUARY 25, 2016                                                                                                    BOULEVARD
                                                                                                                                  FREMONT, CA 94538

2. 159     AGREEMENT RE: CLINICAL TRIAL                               100399                   BIO-KINETIC EUROPE, LTD.           ATTN: GENERAL COUNSEL
           SERVICES EFFECTIVE AS OF JUNE 12,                                                                                      83-85 GREAT VICTORIA STREET
           2001                                                                                                                   BELFAST, NORTHERN IRELAND
                                                                                                                                  BT2 7AF

2. 160     MASTER LABORATORY SERVICES                                 100406                   BIORELIANCE CORPORATION            ATTN: GENERAL COUNSEL
           AGREEMENT DATED MARCH 01, 2017                                                                                         14920 BROSCHART ROAD
                                                                                                                                  ROCKVILLE, MD 20850-3499




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2. 161     MASTER PROJECT SPECIFICATION                               100407                   BIORELIANCE CORPORATION LABS,    ATTN: GENERAL COUNSEL
           ORDER DATED JANUARY 13, 2017                                                        INC.                             14920 BROASCHART ROAD
                                                                                                                                ROCKVILLE, MD 20850

2. 162     MASTER SERVICES AGREEMENT                                  100408                   BIOTAGE LLC                      ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MAY 01, 2011                                                                                         10430 HARRIS OAKS BOULEVARD
                                                                                                                                SUITE C
                                                                                                                                CHARLOTTE, NC 28269

2. 163     AMENDMENT #2 TO MASTER SERVICE                             100409                   BIOTAGE, LLC                     ATTN: GENERAL COUNSEL
           AGREEMENT DATED APRIL 01, 2016                                                                                       10430 HARRIS OAKS BOULEVARD
                                                                                                                                SUITE C
                                                                                                                                CHARLOTTE, NC 28269

2. 164     BLUE MATTER LLC - AMENDMENT TO            7/31/2022        106157                   BLUE MATTER LLC                  ATTN: ASHWIN DANDEKAR
           MSA CW2366441 (SD.RA) EFFECTIVE                                                                                      400 OYSTER POINT BOULEVARD
           APRIL 11, 2019                                                                                                       SUITE 309
                                                                                                                                SOUTH SAN FRANCISCO, CA 94080

2. 165     MASTER SERVICES AGREEMENT                                  100419                   BLUE MATTER LLC                  ATTN: ASHWIN DANDEKAR
           DATED AUGUST 01, 2016                                                                                                400 OYSTER POINT BOULEVARD
                                                                                                                                SUITE 309
                                                                                                                                SOUTH SAN FRANCISCO, CA 94080

2. 166     AMENDMENT #1 TO MASTER SERVICES                            100420                   BLUEPRINT RESEARCH GROUP, LLC    NOT AVAILABLE
           AGREEMENT DATED JULY 31, 2018

2. 167     MASTER SERVICES AGREEMENT                                  100421                   BMC SOFTWARE SERVICES, INC.      ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF APRIL 13, 2007                                                                                       2101 CITY WEST BLVD.
                                                                                                                                HOUSTON, TX 77042-2827

2. 168     STATEMENT OF WORK DATED JUNE 27,                           100423                   BMC SOFTWARE SERVICES, INC.      ATTN: GENERAL COUNSEL
           2009                                                                                                                 2101 CITYWEST BLVD.
                                                                                                                                HOUSTON, TX 77042

2. 169     STATEMENT OF WORK DATED MAY 15,                            100422                   BMC SOFTWARE SERVICES, INC.      ATTN: GENERAL COUNSEL
           2007                                                                                                                 2101 CITYWEST BLVD.
                                                                                                                                HOUSTON, TX 77042




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2. 170     AMENDMENT #1 TO MASTER CLINICAL                            100431                   BOARD OF TRUSTEES OF THE         ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED FEBRUARY                                                      UNIVERSITY OF ALABAMA FOR THE
           27, 2003                                                                            UNIVERSITY OF ALABAMA AT
                                                                                               BIRMINGHAM

2. 171     AMENDMENT #2 TO MASTER CLINICAL                            100433                   BOARD OF TRUSTEES OF THE         ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED FEBRUARY                                                      UNIVERSITY OF ALABAMA FOR THE
           27, 2003                                                                            UNIVERSITY OF ALABAMA AT
                                                                                               BIRMINGHAM

2. 172     AMENDMENT #1 TO MASTER CLINICAL                            100435                   BOARD OF TRUSTEES OF THE         ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED DECEMBER                                                      UNIVERSITY OF ARKANSAS ON
           19, 2003                                                                            BEHALF OF THE UNIVERSITY OF
                                                                                               ARKANSAS FOR MEDICAL SCIENCES

2. 173     STUDY SPECIFICATION ORDER 001                              100434                   BOARD OF TRUSTEES OF THE         ATTN: GENERAL COUNSEL
           DATED APRIL 06, 2004                                                                UNIVERSITY OF ARKANSAS ON        4301 WEST MARKHAM STREET,
                                                                                               BEHALF OF THE UNIVERSITY OF      MS515
                                                                                               ARKANSAS FOR MEDICAL SCIENCES    LITTLE ROCK, AR 72205

2. 174     MASTER SERVICES AGREEMENT                                  100437                   BOSTON CONSULTING GROUP INC.     ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JUNE 27, 2016                                                                                        ONE PROSPECT STREET
                                                                                                                                SUMMIT, NJ 07901

2. 175     BRAJAK CONSULTING LLC - SOW 2019-1       12/31/2019        106140                   BRAJAK CONSULTING LLC            6 SHADY MILL LN
           MONITORING SERVICES CW2367916                                                                                        MILFORD, NJ 08848-1529
           (SD.RA) EFFECTIVE AUGUST 12, 2019

2. 176     BRAJAK CONSULTING LLC AMENDMENT           4/30/2022        106180                   BRAJAK CONSULTING LLC            6 SHADY MILL LN
           TO MCSA CW2367221 (SD.RA)                                                                                            MILFORD, NJ 08848-1529
           EFFECTIVE MAY 01, 2019

2. 177     STATEMENT OF WORK #2017-1 DATED                            100453                   BRAJAK CONSULTING LLC            ATTN: GENERAL COUNSEL
           MARCH 01, 2017                                                                                                       6 SHADY MILL LANE
                                                                                                                                MILFORD, NJ 08848

2. 178     STATEMENT OF WORK DATED APRIL 14,                          100451                   BRAJAK CONSULTING LLC            ATTN: GENERAL COUNSEL
           2011                                                                                                                 6 SHADY MILL LNAE
                                                                                                                                MILFORD, NJ 08848




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2. 179     STATEMENT OF WORK DATED MAY 01,                             100452                   BRAJAK CONSULTING LLC               ATTN: GENERAL COUNSEL
           2016                                                                                                                     6 SHADY MILL LANE
                                                                                                                                    MILFORD, NJ 08848

2. 180     MASTER SERVICES AGREEMENT                                   100457                   BRAND DEVELOPMENT NETWORK           ATTN: RICHARD CZERNIAWSKI
           EFFECTIVE AS OF OCTOBER 25, 2016                                                     INTERNATIONAL                       430 ABBOTSFORD RD
                                                                                                                                    KENILWORTH, IL 60043

2. 181     BRETT SNODGRASS MSN, APRN, FNP-                             100462                   BRETT SNODGRASS, MSN, APRN, FNP-    ATTN: GENERAL COUNSEL
           BC AMD CSA CW2356956 (KP.RA) DATED                                                   BC
           OCTOBER 09, 2017

2. 182     RELOCATION SERVICES AGREEMENT                               100467                   BROOKFIELD RELOCATION INC.          ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JUNE 17, 2014                                                                                            16260 NORTH 71ST STREET
                                                                                                                                    SCOTTSDALE, AR 85254

2. 183     BROWN, THOMAS CSA 01012019                12/31/2019        105920                   BROWN, THOMAS                       NOT AVAILABLE
           CW2364630 (SS.SD) EFFECTIVE
           JANUARY 01, 2019

2. 184     AMENDMENT NO. 1 TO MASTER                                   100475                   BRUNSWICK GROUP LLC                 NOT AVAILABLE
           SERVICES AGREEMENT EFFECTIVE AS
           OF JANUARY 01, 2017

2. 185     AMENDMENT NO. 2 TO MASTER                                   100480                   BUREAU VERITAS NORTH AMERICA,       NOT AVAILABLE
           SERVICES AGREEMENT DATED MAY 23,                                                     INC.
           2016

2. 186     AMENDMENT NO. 2 TO STATEMENT OF                             100482                   BURKHART CONSULTING LLC             ATTN: GENERAL COUNSEL
           WORK #1 EFFECTIVE AS OF JANUARY                                                                                          12223 QUORN LANE
           17, 2017                                                                                                                 RESTON, VA 20191

2. 187     BURKHART CONSULTING LLC - HCP CSA          7/14/2023        105967                   BURKHART CONSULTING LLC             ATTN: GENERAL COUNSEL
           CW2367692 (LH.RA) EFFECTIVE JULY 15,                                                                                     12223 QUORN LANE
           2019                                                                                                                     RESTON, VA 20191

2. 188     AMENDMENT NO. 1 TO DISTRIBUTION                             100487                   BURLINGTON DRUG COMPANY INC.        ATTN: GENERAL COUNSEL
           PERFORMANCE AGREEMENT                                                                                                    91 CATAMOUNT DRIVE
           EFFECTIVE AS OF JUNE 30, 2015                                                                                            MILTON, VT 05468



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2. 189     AMENDMENT NO. 2 TO AUTHORIZED                              100488                   BURLINGTON DRUG COMPANY INC.      ATTN: GENERAL COUNSEL
           DISTRIBUTOR AGREEMENT DATED                                                                                           91 CATAMOUNT DRIVE
           JUNE 30, 2017                                                                                                         MILTON, VT 05468

2. 190     AUTHORIZED DISTRIBUTOR                                     100485                   BURLINGTON DRUG COMPANY INC.      ATTN: MEG GLAZER
           AGREEMENT EFFECTIVE AS OF JULY                                                                                        91 CATAMOUNT DRIVE
           01, 2012                                                                                                              MILTON, VT 05468

2. 191     DISTRIBUTION PERFORMANCE                                   100486                   BURLINGTON DRUG COMPANY INC.      ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JULY                                                                                        91 CATAMOUNT DRIVE
           01, 2012                                                                                                              MILTON, VT 05468

2. 192     BUSINESSWIRE SERVICEAGREEMENT             5/20/2020        105983                   BUSINESS WIRE INC                 NOT AVAILABLE
           CW2366691 NEWSHQ (LH.RA)
           EFFECTIVE MAY 21, 2019

2. 193     PROJECT SPECIFICATION ORDER                                100490                   BUZZEOPDMA LLC                    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF FEBRUARY 01, 2017                                                                                     SUITE 301
                                                                                                                                 RICHMOND, VA 23225

2. 194     PROJECT SPECIFICATION ORDER                                100492                   BUZZEOPDMA, LLC                   ATTN: GENERAL COUNSEL
           DATED DECEMBER 22, 2008                                                                                               SUITE 301
                                                                                                                                 RICHMOND, VA 23225

2. 195     AMENDMENT NO. 1 TO MASTER                                  100493                   C SPACE                           NOT AVAILABLE
           SERVICES AGREEMENT DATED
           SEPTEMBER 03, 2018

2. 196     MASTER SERVICES AGREEMENT                                  100494                   C&E COMMUNICATIONS INC. DBA DE    PO BOX 4952
           EFFECTIVE AS OF JULY 01, 2016                                                       WITT COMMUNICATIONS               EAST LANSING, MI 48826

2. 197     SEARCH FIRM AGREEMENT DATED                                100495                   C.A. MCINNIS & ASSOCIATES         ATTN: GENERAL COUNSEL
           APRIL 20, 2012                                                                                                        203 BROAD STREET
                                                                                                                                 MILFORD, CT 06460

2. 198     MASTER SERVICES AGREEMENT                                  100496                   C/O DIRAY MEDIA, INC.             ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF FEBRUARY 08, 2017                                                                                     327 DANBURY ROAD
                                                                                                                                 WILTON, CT 06897




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2. 199     STATEMENT OF WORK UNDER MASTER                             100497                   C/O DIRAY MEDIA, INC.              ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT EFFECTIVE AS                                                                                        327 DANBURY ROAD
           OF FEBRUARY 08, 2017                                                                                                   WILTON, CT 06897

2. 200     AMENDMENT #4 TO MASTER                                     100498                   C/O EXPRESS SCRIPTS SPECIALTY      ATTN: LEGAL DEPARTMENT
           AGREEMENT DATED FEBRUARY 27, 2012                                                   DISTRIBUTION SERVICES, INC.        EXPRESS SCRIPTS, INC.
                                                                                                                                  ONE EXPRESS WAY
                                                                                                                                  ST. LOUIS, MO 63121

2. 201     DEVELOPMENT AGREEMENT DATED                                100501                   C/O PRIMATECH                      ATTN: GENERAL COUNSEL
           DECEMBER 03, 1999                                                                                                      84-35 62ND DRIVE
                                                                                                                                  SUITE T-65
                                                                                                                                  MIDDLE VILLAGE, NY 11379

2. 202     LETTER: CONSENT EXECUTED                                   100503                   C4PAIN                             ATTN: HANS CHER, HOECK MD
           DECEMBER 12, 2013                                                                                                      PHD
                                                                                                                                  HOBROVEJ 42 D, 3
                                                                                                                                  AALBORG DK-9000
                                                                                                                                  GERMANY

2. 203     STATEMENT OF WORK EFFECTIVE AS                             100505                   CA, INC.                           ATTN: GENERAL COUNSEL
           OF JUNE 30, 2008                                                                                                       ONE CA PLAZA
                                                                                                                                  ISLANDIA, NY 11749

2. 204     FOOD SERVICE OPERATING CONTRACT                            100506                   CAFE 107, INC,                     ATTN: HOLLY TRUMP
           EFFECTIVE AS OF OCTOBER 06, 2009                                                                                       PO BOX 3202
                                                                                                                                  PRINCETON, NJ 08543

2. 205     CAMBRIDGE UNIVERSITY TECHNICAL           12/31/2019        105948                   CAMBRIDGE UNIVERISITY TECHNICAL    NOT AVAILABLE
           SERVICES LIMITED (CUTS) CSA
           CW2365516 (LH.RA) EFFECTIVE
           FEBRUARY 01, 2019

2. 206     ADDENDUM NO. 1 TO AMENDED AND                              100512                   CAMPBELL ALLIANCE LTD.             NOT AVAILABLE
           RESTATED STATEMENT OF WORK
           EFFECTIVE AS OF APRIL 01, 2015




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2. 207     CLINICAL TRIAL AGREEMENT DATED                             100513                   CAPITAL HEALTH AND THE            ATTN: GENERAL COUNSEL
           DECEMBER 04, 2003                                                                   GOVERNORS OF THE UNIVERSITY OF    RESEARCH ADMINISTRATION
                                                                                               ALBERTA                           OFFICE, SUITE 1800
                                                                                                                                 8215-112 STREET
                                                                                                                                 EDMONTON, AB T6G 2C8
                                                                                                                                 CANADA

2. 208     CLINICAL TRIAL AGREEMENT DATED                             100514                   CAPITAL HEALTH AND THE            ATTN: GENERAL COUNSEL
           DECEMBER 04, 2003                                                                   GOVERNORS OF THE UNIVERSITY OF    RESEARCH ADMINISTRATION
                                                                                               ALBERTA                           OFFICE, SUITE 1800
                                                                                                                                 8215-112 STREET
                                                                                                                                 EDMONTON, AB T6G 2C8
                                                                                                                                 CANADA

2. 209     AMENDMENT NO. 1 TO AUTHORIZED                              100516                   CAPITAL WHOLESALE DRUG COMPANY    ATTN: GENERAL COUNSEL
           DISTRIBUTOR AGREEMENT EFFECTIVE                                                                                       873 WILLIAMS AVENUE
           AS OF APRIL 15, 2016                                                                                                  COLUMBUS, OH 43212

2. 210     AMENDMENT NO. 2 TO AUTHORIZED                              100517                   CAPITAL WHOLESALE DRUG COMPANY    ATTN: GENERAL COUNSEL
           DISTRIBUTOR AGREEMENT EFFECTIVE                                                                                       973 WILLIAMS AVENUE
           AS OF JUNE 30, 2017                                                                                                   COLUMBUS, OH 43212

2. 211     AUTHORIZED DISTRIBUTOR                                     100515                   CAPITAL WHOLESALE DRUG COMPANY    ATTN: DAVID FRANKLIN
           AGREEMENT EFFECTIVE AS OF JULY                                                                                        873 WILLIAMS AVENUE
           01, 2012                                                                                                              COLUMBUS, OH 43212

2. 212     MASTER SERVICES AGREEMENT                                  100518                   CAPSUGEL US, LLC                  ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF DECEMBER 21, 2016                                                                                     412 MT. KEMBLE AVEENUE, SUITE
                                                                                                                                 200 C
                                                                                                                                 MORRISTOWN, NJ 07960

2. 213     AMENDMENT NO. 1 TO AUTHORIZED                              100527                   CARDINAL HEALTH                   ATTN: GENERAL COUNSEL
           DISTRIBUTOR AGREEMENT EFFECTIVE                                                                                       7000 CARDINAL PLACE
           AS OF AUGUST 31, 2015                                                                                                 DUBLIN, OH 43017

2. 214     AMENDMENT NO. 1 TO CENTRAL                                 100524                   CARDINAL HEALTH                   ATTN: GENERAL COUNSEL
           DISTRIBUTION SERVICES AGREEMENT                                                                                       7000 CARDINAL PLACE
           EFFECTIVE AS OF JUNE 30, 2015                                                                                         DUBLIN, OH 43017

2. 215     AMENDMENT NO. 1 TO DISTRIBUTION                            100525                   CARDINAL HEALTH                   ATTN: GENERAL COUNSEL
           PERFORMANCE AGREEMENT                                                                                                 7000 CARDINAL PLACE
           EFFECTIVE AS OF JULY 31, 2015                                                                                         DUBLIN, OH 43017
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2. 216     AMENDMENT NO. 2 TO AUTHORIZED                              100532                   CARDINAL HEALTH           ATTN: GENERAL COUNSEL
           DISTRIBUTOR AGREEMENT EFFECTIVE                                                                               7000 CARDINAL PLACE
           AS OF JUNE 30, 2017                                                                                           DUBLIN, OH 43017

2. 217     AMENDMENT NO. 2 TO CENTRAL                                 100528                   CARDINAL HEALTH           ATTN: GENERAL COUNSEL
           DISTRIBUTION SERVICES AGREEMENT                                                                               7000 CARDINAL PLACE
           EFFECTIVE AS OF AUGUST 31, 2015                                                                               DUBLIN, OH 43017

2. 218     AMENDMENT NO. 2 TO DISTRIBUTION                            100530                   CARDINAL HEALTH           ATTN: GENERAL COUNSEL
           PERFORMANCE AGREEMENT                                                                                         7000 CARDINAL PLACE
           EFFECTIVE AS OF AUGUST 31, 2015                                                                               DUBLIN, OH 43017

2. 219     AMENDMENT NO. 3 TO CENTRAL                                 100533                   CARDINAL HEALTH           ATTN: GENERAL COUNSEL
           DISTRIBUTION SERVICES AGREEMENT                                                                               7000 CARDINAL PLACE
           EFFECTIVE AS OF AUGUST 01, 2018                                                                               DUBLIN, OH 43017

2. 220     AMENDMENT NO. 3 TO DISTRIBUTION                            100531                   CARDINAL HEALTH           ATTN: GENERAL COUNSEL
           PERFORMANCE AGREEMENT                                                                                         7000 CARDINAL PLACE
           EFFECTIVE AS OF SEPTEMBER 30, 2015                                                                            DUBLIN, OH 43017

2. 221     AMENDMENT NO. 4 TO CENTRAL                                 100534                   CARDINAL HEALTH           ATTN: GENERAL COUNSEL
           DISTRIBUTION SERVICES AGREEMENT                                                                               7000 CARDINAL PLACE
           EFFECTIVE AS OF JANUARY 01, 2019                                                                              DUBLIN, OH 43017

2. 222     AMENDMENT NO. 4 TO DISTRIBUTION                            100535                   CARDINAL HEALTH           ATTN: GENERAL COUNSEL
           PERFORMANCE AGREEMENT                                                                                         7000 CARDINAL PLACE
           EFFECTIVE AS OF JANUARY 01, 2019                                                                              DUBLIN, OH 43017

2. 223     AUTHORIZED DISTRIBUTOR                                      90001                   CARDINAL HEALTH           ATTN: VICE PRESIDENT,
           AGREEMENT (“ADA”), DATED AS OF                                                                                STRATEGIC SOURCING PROJECT
           JULY 1, 2012, BY AND BETWEEN                                                                                  MANAGEMENT BRANDED
           PURDUE PHARMA L.P. AND CARDINAL                                                                               7000 CARDINAL PLACE
           HEALTH (LAST AMENDED JUNE 30, 2017)                                                                           DUBLIN, OH 43017

2. 224     CENTRAL DISTRIBUTION SERVICES                              100522                   CARDINAL HEALTH           ATTN: VICE PRESIDENT,
           AGREEMENT (“CDSA”), DATED AS OF                                                                               STRATEGIC SOURCING PROJECT
           JULY 1, 2012, BY AND BETWEEN                                                                                  MANAGEMENT BRANDED
           PURDUE PHARMA L.P. AND CARDINAL                                                                               7000 CARDINAL PLACE
           HEALTH (LAST AMENDED JANUARY 1,                                                                               DUBLIN, OH 43017
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2. 225     CENTRAL DISTRIBUTION SERVICES                              100526                   CARDINAL HEALTH                   ATTN: GENERAL COUNSEL
           AGREEMENT DATED AUGUST 31, 2015                                                                                       7000 CARDINAL PLACE
                                                                                                                                 DUBLIN, OH 43017

2. 226     DISTRIBUTION PERFORMANCE                                   100523                   CARDINAL HEALTH                   ATTN: VICE PRESIDENT,
           AGREEMENT (“DPA”), DATED AS OF                                                                                        STRATEGIC SOURCING PROJECT
           JULY 1, 2012, BY AND BETWEEN                                                                                          MANAGEMENT BRANDED
           PURDUE PHARMA L.P. AND CARDINAL                                                                                       7000 CARDINAL PLACE
           HEALTH (LAST AMENDED JANUARY 1,                                                                                       DUBLIN, OH 43017
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2. 227     AMENDMENT TO THE PHARMACY                                  100538                   CARDINAL HEALTH PHARMACEUTICAL    ATTN: DIEGO ARMENDARIZ,
           SUPPLIER AGREEMENT EFFECTIVE AS                                                     CONTRACTING LLC                   DIRECTOR OF CONTRACTING
           OF APRIL 02, 2018                                                                                                     1330 ENCLAVE PARKWAY
                                                                                                                                 HOUSTON, TX 77077

2. 228     AMENDMENT TO THE PHARMACY                                  100540                   CARDINAL HEALTH PHARMACEUTICAL    ATTN: DIEGO ARMENDARIZ,
           SUPPLIER AGREEMENT EFFECTIVE AS                                                     CONTRACTING LLC                   DIRECTOR OF CONTRACTING
           OF JULY 01, 2019                                                                                                      1330 ENCLAVE PARKWAY
                                                                                                                                 HOUSTON, TX 77077

2. 229     AMENDMENT TO THE PHARMACY                                  100541                   CARDINAL HEALTH PHARMACEUTICAL    ATTN: DIEGO ARMENDARIZ,
           SUPPLIER AGREEMENT EFFECTIVE AS                                                     CONTRACTING LLC                   DIRECTOR OF CONTRACTING
           OF JULY 01, 2019                                                                                                      1330 ENCLAVE PARKWAY
                                                                                                                                 HOUSTON, TX 77077

2. 230     AMENDMENT TO THE PHARMACY                                  100537                   CARDINAL HEALTH PHARMACEUTICAL    ATTN: DIEGO ARMENDARIZ,
           SUPPLIER AGREEMENT EFFECTIVE AS                                                     CONTRACTING LLC                   DIRECTOR OF CONTRACTING
           OF OCTOBER 09, 2017                                                                                                   1330 ENCLAVE PARKWAY
                                                                                                                                 HOUSTON, TX 77077

2. 231     AMENDMENT TO THE PHARMACY                                  100539                   CARDINAL HEALTH PHARMACEUTICAL    ATTN: DIEGO ARMENDARIZ,
           SUPPLIER AGREEMENT EFFECTIVE AS                                                     CONTRACTING LLC                   DIRECTOR OF CONTRACTING
           OF OCTOBER 15, 2018                                                                                                   1330 ENCLAVE PARKWAY
                                                                                                                                 HOUSTON, TX 77077

2. 232     CONSENT AND CONFIRMATION                                   100543                   CARDINAL HEALTH PTS, INC F/K/A    ATTN: DIEGO ARMENDARIZ,
           STATEMENT EXECUTED DECEMBER 23,                                                     MAGELLAN LABORATORIES             DIRECTOR OF CONTRACTING
           2002                                                                                INCORPORATED                      1330 ENCLAVE PARKWAY
                                                                                                                                 HOUSTON, TX 77077



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2. 233     WORK ORDER UNDER MASTER                                    100542                   CARDINAL HEALTH PTS, INC F/K/A    ATTN: DIEGO ARMENDARIZ,
           LABORATORY SERVICES AGREEMENT                                                       MAGELLAN LABORATORIES             DIRECTOR OF CONTRACTING
           DATED MAY 07, 2003                                                                  INCORPORATED                      1330 ENCLAVE PARKWAY
                                                                                                                                 HOUSTON, TX 77077

2. 234     QUOTATION FOR ANALYTICAL                                   100544                   CARDINAL HEALTH PTS, LLC          ATTN: DIEGO ARMENDARIZ,
           DEVELOPMENT DATED JULY 20, 2005                                                                                       DIRECTOR OF CONTRACTING
                                                                                                                                 1330 ENCLAVE PARKWAY
                                                                                                                                 HOUSTON, TX 77077

2. 235     AMENDMENT NO. 2 TO SUPPLY                                  100552                   CATALENT PHARMA SOLUTIONS, LLC    ATTN: GENERAL COUNSEL
           AGREEMENT DATED JANUARY 29, 1998                                                                                      2725 SCHERER DRIVE NORTH
                                                                                                                                 ST. PETERSBURG, FL 33716

2. 236     AMENDMENT NO. 6 TO THE MASTER                              100553                   CATALENT PHARMA SOLUTIONS, LLC    ATTN: GENERAL COUNSEL
           LABORATORY SERVICES AGREEMENT                                                                                         2725 SCHERER DRIVE NORTH
           EFFECTIVE AS OF NOVEMBER 17, 2016                                                                                     ST. PETERSBURG, FL 33716

2. 237     PROJECT SPECIFICATION ORDER #2018-                         100554                   CATALENT PHARMA SOLUTIONS, LLC    ATTN: GENERAL COUNSEL
           1 DATED OCTOBER 26, 2018                                                                                              160 PHARMA DRIVE
                                                                                                                                 MORRISVILLE, NC 27560-9570

2. 238     PROJECT AGREEMENT DATED                                    100556                   CATCHWORD                         ATTN: GENERAL COUNSEL
           FEBRUARY 04, 2002                                                                                                     405 LEXINGTON AVENUE
                                                                                                                                 26TH FLOOR
                                                                                                                                 NEW YORK, NY 10174

2. 239     PROJECT AGREEMENT DATED                                    100555                   CATCHWORD                         ATTN: GENERAL COUNSEL
           JANUARY 16, 2002                                                                                                      405 LEXINGTON AVENUE, 26TH
                                                                                                                                 FLOOR
                                                                                                                                 NEW YORK, NY 10174

2. 240     AMENDMENT #1 TO MASTER SERVICES                            100557                   CC FORD GROUP, LLC                NOT AVAILABLE
           AGREEMENT DATED OCTOBER 10, 2018

2. 241     MASTER CRO SERVICES AGREEMENT                              100558                   CE3, INC.                         ATTN: TIM GARRELTS
           DATED MARCH 24, 2014                                                                                                  246 GOOSE LANE
                                                                                                                                 SUITE 202
                                                                                                                                 GUILFORD, CT 06437




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2. 242     EQUIPMENT SUPPLY CONTRACT DATED                            100560                   CEDAR MEDICAL CENTER              ATTN: GENERAL COUNSEL
           APRIL 19, 2000                                                                                                        1901 SOUTH CEDAR
                                                                                                                                 SUITE 205
                                                                                                                                 TACOMA, WA 94085

2. 243     COMPUTER EQUIPMENT AGREEMENT                               100561                   CEDAR-CROSSE RESEARCH CENTER      ATTN: GENERAL COUNSEL
           DATED APRIL 19, 2000                                                                                                  800 SOUTH WELLS STREET
                                                                                                                                 M15
                                                                                                                                 CHICAGO, IL 60607

2. 244     COMMON INTEREST AGREEMENT                                  100564                   CELLTRION HEALTHCARE CO., LTD.    NOT AVAILABLE
           EFFECTIVE AS OF APRIL 18, 2014                                                      AND CELLTRION, INC.

2. 245     MASTER SERVICES AGREEMENT                                  100565                   CENTER FOR CREATIVE LEADERSHIP    ATTN: MANAGING DIRECTOR
           EFFECTIVE AS OF DECEMBER 08, 2016                                                                                     ONE LEADERSHIP PLACE
                                                                                                                                 GREENSBORO, NC 27410

2. 246     STATEMENT OF WORK EFFECTIVE AS                             100566                   CENTER FOR CREATIVE LEADERSHIP    ATTN: MANAGING DIRECTOR
           OF DECEMBER 08, 2016                                                                                                  ONE LEADERSHIP PLACE
                                                                                                                                 GREENSBORO, NC 27410

2. 247     MASTER SERVICES AGREEMENT                                  100567                   CENTER FOR HEALTH RESEARCH        ATTN: GENERAL COUNSEL
           DATED APRIL 02, 2015                                                                                                  3800 N. INTERSTATE AVENUE
                                                                                                                                 PORTLAND, OR 97227

2. 248     MASTER SERVICES AGREEMENT                                  100568                   CENTER FOR HEALTH RESEARCH        ATTN: GENERAL COUNSEL
           DATED APRIL 02, 2015                                                                                                  3800 N INTERSTATE AVENUE
                                                                                                                                 PORTLAND, OR 97227

2. 249     MASTER CLINICAL TRIAL AGREEMENT                            100570                   CENTRAL IOWA HOSPITAL             ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF DECEMBER 15, 2014                                                   CORPORATION                       1200 PLEASANT STREET
                                                                                                                                 DES MOINES, IA 50309

2. 250     SERVICE AGREEMENT EFFECTIVE AS                             100574                   CERIDIAN CORPORATION              ATTN: GENERAL COUNSEL
           OF NOVEMBER 21, 2012                                                                                                  3311 EAST OLD SHAKOPEE ROAD
                                                                                                                                 MINNEAPOLIS, MN 55425

2. 251     WORK ORDER 1 TO SERVICE                                    100576                   CERIDIAN CORPORATION              ATTN: GENERAL COUNSEL
           AGREEMENT DATED NOVEMBER 21,                                                                                          3311 EAST OLD SHAKOPEE ROAD
           2012                                                                                                                  MINNEAPOLIS, MN 55425


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2. 252     AMENDMENT NO. 1 TO AUTHORIZED                              100578                   CESAR CASTILLO INC.                 ATTN: GENERAL COUNSEL
           DISTRIBUTOR AGREEMENT EFFECTIVE                                                                                         RD. #1 KM 21.1 SECTOR LA MUDA
           AS OF APRIL 15, 2016                                                                                                    GUAYNABO, PR 00971

2. 253     AMENDMENT NO. 2 TO AUTHORIZED                              100580                   CESAR CASTILLO INC.                 ATTN: GENERAL COUNSEL
           DISTRIBUTOR AGREEMENT EFFECTIVE                                                                                         RD. #1 KM 21.1 SECTOR LA MUDA
           AS OF JUNE 30, 2017                                                                                                     GUAYNABO, PR 00971

2. 254     AUTHORIZED DISTRIBUTOR                                     100577                   CESAR CASTILLO INC.                 ATTN: LUIS VAZQUEZ
           AGREEMENT EFFECTIVE AS OF JULY                                                                                          RD. #1 KM 21.1 SECTOR LA MUDA
           01, 2012                                                                                                                GUAYNABO, PR 00971

2. 255     FIRST AMENDMENT TO DISTRIBUTION                            100581                   CESAR CASTILLO, INC.                ATTN: GENERAL COUNSEL
           PERFORMANCE AGREEMENT                                                                                                   RD. #1 KM 21.1 SECTOR LA MUDA
           EFFECTIVE AS OF JUNE 30, 2015                                                                                           GUAYNABO, PR 00971

2. 256     STUDY WORK ORDER EXECUTED                                  100584                   CHANTEST CORPORATION                ATTN: ROBERT D. SCHULTEK
           NOVEMBER 19, 2009                                                                                                       14656 NEO PARKWAY
                                                                                                                                   CLEVELAND, OH 44128

2. 257     STUDY SPECIFICATION ORDER TO                               100587                   CHARLES GARO AVETIAN, DO            ATTN: GENERAL COUNSEL
           MASTER CLINICAL TRIAL AGREEMENT                                                                                         TWO MILL CT SPRINGTON
           EFFECTIVE AS OF DECEMBER 16, 2003                                                                                       ESTATES
                                                                                                                                   NEWTOWN SQUARE, PA 19073

2. 258     CHARLES RIVER LABORATORIES PSO            10/5/2020        105962                   CHARLES RIVER LABORATORIES          ATTN: GENERAL COUNSEL
           NAG FEMALE FERTILITY STUDY                                                                                              ELPHINSTONE RESEARCH
           CW2366328 (LH.KM) EFFECTIVE APRIL                                                                                       CENTRE
           02, 2019                                                                                                                TRANENT EH33 2NE
                                                                                                                                   EDINBURGH

2. 259     AMENDMENT NO. 3 NONCLINICAL                                100589                   CHARLES RIVER LABORATORIES, INC.    ATTN: GENERAL COUNSEL
           MASTER SERVICES AGREEMENT                                                                                               ELPHINSTONE RESEARCH
           DATED MARCH 09, 2018                                                                                                    CENTRE
                                                                                                                                   TRANENT EH33 2NE
                                                                                                                                   EDINBURGH

2. 260     AMENDMENT NO. 1 TO PROJECT                                 100591                   CHARLES RIVER LABORATORIES, INC.    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #2018-3 DATED                                                                                       ELPHINSTONE RESEARCH
           SEPTEMBER 28, 2018                                                                                                      CENTRE
                                                                                                                                   TRANENT EH33 2NE
                                                                                                                                   EDINBURGH
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2. 261     AMENDMENT NO. 2 TO PROJECT                                 100592                   CHARLES RIVER LABORATORIES, INC.    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #2018-3 DATED                                                                                       ELPHINSTONE RESEARCH
           FEBRUARY 20, 2019                                                                                                       CENTRE
                                                                                                                                   TRANENT EH33 2NE
                                                                                                                                   EDINBURGH

2. 262     PROJECT SPECIFICATION ORDER #2018-                         100590                   CHARLES RIVER LABORATORIES, INC.    ATTN: GENERAL COUNSEL
           1 NONCLINICAL MASTER SERVICES                                                                                           ELPHINSTONE RESEARCH
           AGREEMENT DATED MARCH 14, 2018                                                                                          CENTRE
                                                                                                                                   TRANENT EH33 2NE
                                                                                                                                   EDINBURGH

2. 263     AMENDMENT NO. 1 TO PROJECT                                 100597                   CHASE MEDICAL COMMUNICATIONS,       ATTN: GENERAL COUNSEL
           AGREEMENT DATED NOVEMBER 06,                                                        INC.                                65 OLD RIDGEFIELD ROAD
           2003                                                                                                                    WILTON, CT 06897

2. 264     AMENDMENT #1 TO STUDY                                      100602                   CHERRY HILL ORTHOPEDIC              ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #003 DATED                                                      SURGEONS, P.A.                      PO BOX 8285
           DECEMBER 11, 2003                                                                                                       RT. 38 AND HADDON FIELD ROAD
                                                                                                                                   CHERRY HILL, NJ 08002

2. 265     AMENDMENT #1: TO STUDY                                     100599                   CHERRY HILL ORTHOPEDIC              ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #002                                                            SURGEONS, P.A.                      PO BOX 8285
           EFFECTIVE AS OF DECEMBER 10, 2003                                                                                       RT. 38 AND HADDON FIELD ROAD
                                                                                                                                   CHERRY HILL, NJ 08002

2. 266     AMENDMENT NO. 2 TO STUDY                                   100604                   CHERRY HILL ORTHOPEDIC              ATTN: GENERAL COUNSEL
           SPECIFICATION DATED MARCH 02, 2000                                                  SURGEONS, P.A.                      PO BOX 8285
                                                                                                                                   RT. 38 AND HADDON FIELD ROAD
                                                                                                                                   CHERRY HILL, NJ 08002

2. 267     AMENDMENT NO. 3 TO STUDY                                   100600                   CHERRY HILL ORTHOPEDIC              ATTN: GENERAL COUNSEL
           SPECIFICATION EFFECTIVE AS OF                                                       SURGEONS, P.A.                      PO BOX 8285
           JANUARY 19, 2005                                                                                                        RT. 38 AND HADDON FIELD ROAD
                                                                                                                                   CHERRY HILL, NJ 08002

2. 268     STUDY SPECIFICATION ORDER #002                             100601                   CHERRY HILL ORTHOPEDIC              ATTN: GENERAL COUNSEL
           MASTER CLINICAL TRIAL AGREEMENT                                                     SURGEONS, P.A.                      PO BOX 8285
           DATED MARCH 20, 2002                                                                                                    RT. 38 AND HADDON FIELD ROAD
                                                                                                                                   CHERRY HILL, NJ 08002



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2. 269     STUDY SPECIFICATION ORDER #003                             100603                   CHERRY HILL ORTHOPEDIC             ATTN: MARK REINER, DO
           MASTER CLINICAL TRIAL AGREEMENT                                                     SURGEONS, P.A.                     PO BOX 8252
           EFFECTIVE AS OF DECEMBER 11, 2003                                                                                      RT. 38 AND HADDON FIELD ROAD
                                                                                                                                  CHERRY HILL, NJ 08002

2. 270     AMENDMENT NO. 3 TO MASTER                                  100605                   CHILD RELATED RESEARCH, INC.       NOT AVAILABLE
           SERVICES AGREEMENT DATED APRIL
           17, 2017

2. 271     STUDY SPECIFICATION ORDER #002                             100607                   CHILDREN'S MEMORIAL HOSPITAL       ATTN: PHILLIP V. SPINA, CRA;
           MASTER CLINICAL TRIAL AGREEMENT                                                     INSTITUTE FOR EDUCATION            CHARLES COTE, M.D.
           EFFECTIVE AS OF APRIL 22, 2003                                                                                         2300 CHILDREN'S PLAZA
                                                                                                                                  CHICAGO, IL 60657

2. 272     AMENDMENT #1 TO MASTER                                     100609                   CHILWORTH TECHNOLOGY, INC.         250 PLAINSBORO ROAD, BUILDING
           MATERIALS TESTING AND                                                                                                  #7
           PROFESSIONAL SERVICES AGREEMENT                                                                                        PLAINSBORO, NJ 08536
           DATED DECEMBER 19, 2014

2. 273     STATEMENT OF WORK EFFECTIVE AS                             100608                   CHILWORTH TECHNOLOGY, INC.         250 PLAINSBORO ROAD, BUILDING
           OF JUNE 09, 2009                                                                                                       #7
                                                                                                                                  PLAINSBORO, NJ 08536

2. 274     SUBSCRIBER APPLICATION AND                                 100610                   CHOICEPOINT PUBLIC RECORDS INC.    ATTN: LEGAL DEPARTMENT
           SERVICE AGREEMENT EFFECTIVE AS                                                                                         1000 ALDERMAN DRIVE
           OF OCTOBER 26, 2004                                                                                                    ALPHARETTA, GA 30005

2. 275     CI SCIENTISTS CSA CW2366783 (SD.RA)        5/7/2022        106161                   CI SCIENTISTS PRIVATE LIMITED      NOT AVAILABLE
           EFFECTIVE MAY 15, 2019

2. 276     ADMINISTRATIVE SERVICES ONLY                               100615                   CIGNA HEALTH AND LIFE INSURANCE    ATTN: CAROLYN BATTISTA,
           AGREEMENT EFFECTIVE AS OF                                                           COMPANY                            UNDERWRITING MANAGER
           JANUARY 01, 2014                                                                                                       900 COTTAGE GROVE ROAD,
                                                                                                                                  WILDE
                                                                                                                                  HARTFORD, CT 06152

2. 277     AMENDMENT TO THE ADMINISTRATIVE                            100619                   CIGNA HEALTHCARE                   ATTN: GENERAL COUNSEL
           SERVICES ONLY AGREEMENT DATED                                                                                          900 COTTAGE GROVE ROAD
           SEPTEMBER 11, 2009                                                                                                     HARTFORD, CT 06152




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2. 278     WEBEX SERVICES AGREEMENT                                   100625                   CISCO WEBEX LLC                    ATTN: DIRECTOR, FINANCE
           EFFECTIVE AS OF APRIL 08, 2015                                                                                         170 WEST TASMAN
                                                                                                                                  SAN JOSE, CA 95134

2. 279     ORDER FORM UNDER MASTER                                    100626                   CISION US INC.                     ATTN: GENERAL COUNSEL
           SERVICES OR SUBSCRIPTION                                                                                               130 E. RANDOLPH STREET
           AGREEMENT DATED AUGUST 13, 2018                                                                                        CHICAGO, IL 60601

2. 280     SERVICES AGREEMENT EFFECTIVE AS                            100630                   CLARIVATE ANALYTICS (US) LLC       ATTN: GENERAL COUNSEL
           OF DECEMBER 04, 2018                                                                                                   1500 SPRING GARDEN STREET
                                                                                                                                  FOURTH FLOOR
                                                                                                                                  PHILADELPHIA, PA 19130

2. 281     STATEMENT OF WORK #2018-1 UNDER                            100631                   CLARIVATE ANALYTICS (US) LLC       ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT DATED                                                                                               1500 SPRING GARDEN STREET
           DECEMBER 31, 2018                                                                                                      FOURTH FLOOR
                                                                                                                                  PHILADELPHIA, PA 19130

2. 282     STUDY SPECIFICATION ORDER #003                             100633                   CLAYTON MEDICAL ASSOCIATES, PC     ATTN: DONNA MANN, RN, CCRC;
           MASTER CLINICAL TRIAL AGREEMENT                                                                                        JACKIE TERRELL, RN, CCRC
           EFFECTIVE AS OF APRIL 28, 2005                                                                                         6400 CLAYTON ROAD
                                                                                                                                  SUITE 110
                                                                                                                                  ST. LOUIS, MO 63317

2. 283     AGREEMENT FOR CLINICAL SERVICES                            100636                   CLIENT RESEARCH GROUP              ATTN: LYNN S. BACHRACH
           DATED SEPTEMBER 14, 1995                                                                                               POST OFFICE BOX 127
                                                                                                                                  HAVERFORD, PA 19041-0127

2. 284     AMENDMENT NO. 1 TO STATEMENT OF                            100638                   CLINFORCE, INC.                    NOT AVAILABLE
           WORK DATED AUGUST 15, 2002

2. 285     WOLTERS KLUWER AMENDMENT 8                7/31/2020        106142                   CLINICAL DRUG INFORMATION, LLC     NOT AVAILABLE
           CW2368043 (SD.RA) EFFECTIVE                                                         (FORMERLY MEDI-SPAN, A PART OF
           AUGUST 01, 2019                                                                     WOLTERS KLUWER HEALTH, INC).

2. 286     AMENDMENT NO. 1 TO LETTER OF                               100639                   CLINICAL PHARMACOLOGY SERVICES,    ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF APRIL                                                     INC.                               6285 EAST FOWLER AVENUE
           03, 2017                                                                                                               TAMPA, FL 33617




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2. 287     AMENDMENT #3 TO STUDY                                      100645                   CLINICAL TRIAL MANAGEMENT, LLC       NOT AVAILABLE
           SPECIFICATION ORDER #001 TO
           MASTER SERVICES AGREEMENT
           EFFECTIVE AS OF JUNE 14, 2004

2. 288     AMENDMENT NO. 1 TO STUDY                                   100647                   CLINICAL TRIAL NETWORK               ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #001                                                                                                 8303 SOUTHWEST FREEWAY
           EFFECTIVE AS OF FEBRUARY 22, 2005                                                                                        SUITE 500
                                                                                                                                    HOUSTON, TX 77074

2. 289     AMENDMENT NO. 1 TO STUDY                                   100649                   CLINICAL TRIAL NETWORK               ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #002                                                                                                 8303 SOUTHWEST FREEWAY
           EFFECTIVE AS OF FEBRUARY 22, 2005                                                                                        SUITE 500
                                                                                                                                    HOUSTON, TX 77074

2. 290     STUDY SPECIFICATION ORDER #001                             100646                   CLINICAL TRIAL NETWORK               ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF DECEMBER 28, 2004                                                                                        8303 SOUTHWEST FREEWAY
                                                                                                                                    SUITE 500
                                                                                                                                    HOUSTON, TX 77074

2. 291     STUDY SPECIFICATION ORDER #002                             100648                   CLINICAL TRIAL NETWORK               ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF DECEMBER 28, 2004                                                                                        8303 SOUTHWEST FREEWAY
                                                                                                                                    SUITE 500
                                                                                                                                    HOUSTON, TX 77074

2. 292     AMENDMENT #3 TO STUDY                                      100651                   CLINICAL TRIALS MANAGEMENT L.L.C.    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #002 TO                                                                                              3901 HOUMA BOULEVARD
           MASTER SITE MANAGEMENT                                                                                                   MEDICAL PLAZA II, SUITE 405
           AGREEMENT EFFECTIVE AS OF                                                                                                METAIRIE, LA 70006
           FEBRUARY 22, 2005

2. 293     AMENDMENT #1 TO STUDY                                      100652                   CLINICAL TRIALS MANAGEMENT LLC       ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #002                                                                                                 3901 HOUMA BOULEVARD
           EFFECTIVE AS OF MAY 16, 2004                                                                                             MEDICAL PLAZA II, SUITE 405
                                                                                                                                    METAIRIE, LA 70006

2. 294     AMENDMENT #2 TO MASTER CLINICAL                            100653                   CLINICAL TRIALS MANAGEMENT, LLC      ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED JUNE 12,                                                                                           3901 HOUMA BOULEVARD
           2004                                                                                                                     MEDICAL PLAZA II, SUITE 405
                                                                                                                                    METAIRIE, LA 70006



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2. 295     AMENDMENT #2 TO MASTER CLINICAL                            100654                   CLINICAL TRIALS MANAGEMENT, LLC    ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED JUNE 14,                                                                                         3901 HOUMA BOULEVARD
           2002                                                                                                                   MEDICAL PLAZA II, SUITE 405
                                                                                                                                  METAIRIE, LA 70006

2. 296     AMENDMENT #1: TO MASTER CLINICAL                           100656                   CLINICAL TRIALS RESEARCH           ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED MAY 06, 2005                                                                                     1544 EUREKA ROAD
                                                                                                                                  SUITE 160
                                                                                                                                  ROSEVILLE, CA 95661

2. 297     STUDY SPECIFICATION ORDER #001                             100655                   CLINICAL TRIALS RESEARCH           ATTN: GENERAL COUNSEL
           DATED NOVEMBER 30, 2004                                                                                                1544 EUREKA ROAD
                                                                                                                                  SUITE 160
                                                                                                                                  ROSEVILLE, CA 95661

2. 298     AMENDMENT NO. 1 TO MASTER                                  100658                   CLOCKWELL STRATEGY                 ATTN: GENERAL COUNSEL
           SERVICE AGREEMENT DATED APRIL 05,                                                                                      3 LAURA LANE
           2017                                                                                                                   SARATOGA SPRINGS, NY 12866

2. 299     MASTER SERVICES AGREEMENT                                  100659                   CM ENGINEERS, LLC                  ATTN: JOSEPH T. MISTRETTA
           EFFECTIVE AS OF JUNE 01, 2016                                                                                          PO BOX 764
                                                                                                                                  BERNARDSVILLE, NJ 07924

2. 300     MASTER SERVICES AGREEMENT                                  100660                   CMDI LLC                           ATTN: SERVI BARRIENTOS
           EFFECTIVE AS OF NOVEMBER 21, 2016                                                                                      130 BELLEVUE AVENUE
                                                                                                                                  SUITE 201
                                                                                                                                  NEWPORT, RI 02840

2. 301     MASTER SERVICES AGREEMENT                                  100661                   CMGRP, INC. (DBA DNA)              ATTN: GENERAL COUNSEL
           EXECUTED SEPTEMBER 30, 2016                                                                                            909 3RD AVENUE
                                                                                                                                  NEW YORK, NY 10022

2. 302     CONSENT TO SUBLEASE EFFECTIVE AS                           100662                   CNBB OWNER LLC                     ATTN: GENERAL COUNSEL
           OF JANUARY 09, 2018                                                                                                    C/O PARAMOUNT GROUP, INC.
                                                                                                                                  1633 BROADWAY, SUITE 1801
                                                                                                                                  NEW YORK, NY 10019

2. 303     AMENDMENT NO. 1 TO STATEMENT OF                            100667                   COBRA LEGAL SOLUTIONS LLC          ATTN: CANDICE CORBY
           WORK #2018-1 DATED JULY 02, 2018                                                                                       1717 WEST SIXTH STREET
                                                                                                                                  SUITE 112
                                                                                                                                  AUSTIN, TX 78703

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2. 304     MASTER SERVICES AGREEMENT                                  100665                   COBRA LEGAL SOLUTIONS LLC         ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JUNE 22, 2018                                                                                         1717 WEST SIXTH STREET
                                                                                                                                 AUSTIN, TX 78703

2. 305     MASTER SERVICES AGREEMENT                                  100666                   COBRA LEGAL SOLUTIONS LLC         ATTN: CANDICE CORBY
           EFFECTIVE AS OF JUNE 22, 2018                                                                                         1717 WEST SIXTH STREET
                                                                                                                                 SUITE 112
                                                                                                                                 AUSTIN, TX 78703

2. 306     STATEMENT OF WORK #2018-1 UNDER                            100664                   COBRA LEGAL SOLUTIONS LLC         ATTN: GENERAL COUNSEL
           MASTER AGREEMENT DATED JUNE 22,                                                                                       1717 WEST SIXTH STREET, SUITE
           2018                                                                                                                  112
                                                                                                                                 AUSTIN, TX 78703

2. 307     STATEMENT OF WORK #2019-1 UNDER                            100668                   COBRA LEGAL SOLUTIONS LLC         ATTN: GENERAL COUNSEL
           MASTER SERVICES AGREEMENT                                                                                             1717 WEST SIXTH STREET
           DATED FEBRUARY 07, 2019                                                                                               SUITE 112
                                                                                                                                 AUSTIN, TX 78703

2. 308     AMENDMENT NO. 2 TO INVESTIGATORS-                          100669                   COGNIFISENSE, INC.                NOT AVAILABLE
           INITIATED RESEARCH AGREEMENT
           DATED JULY 24, 2018

2. 309     AMENDMENT NO. 6 TO MASTER                                  100671                   COGNIZANT TECHNOLOGY SOLUTIONS    ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT DATED                                                            U.S. CORPORATION                  24721 NETWORK PL
           FEBRUARY 27, 2018                                                                                                     CHICAGO, IL 60673

2. 310     COGNIZANT - SOW 2019-1                    4/30/2020        106040                   COGNIZANT TECHNOLOGY SOLUTIONS    ATTN: GENERAL COUNSEL
           SERIALIZATION SUPPORT - BASIS                                                       U.S. CORPORATION                  24721 NETWORK PL
           SECURITY ABAP CW2366901 (PB.RA)                                                                                       CHICAGO, IL 60673
           EFFECTIVE MAY 06, 2019

2. 311     STATEMENT OF WORK #2018-1                                  100672                   COGNIZANT TECHNOLOGY SOLUTIONS    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JULY 01, 2018                                                       U.S. CORPORATION                  24721 NETWORK PL
                                                                                                                                 CHICAGO, IL 60673

2. 312     AMENDMENT #1 TO STUDY                                      100686                   COMMONWEALTH BIOMEDICAL           NOT AVAILABLE
           SPECIFICATION ORDER #003                                                            RESEARCH, LLC
           EFFECTIVE AS OF JUNE 14, 2004




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2. 313     AMENDMENT NO. 3 TO STUDY                                   100687                   COMMONWEALTH BIOMEDICAL           NOT AVAILABLE
           SPECIFICATION EFFECTIVE AS OF                                                       RESEARCH, LLC
           FEBRUARY 22, 2005

2. 314     STUDY SPECIFICATION ORDER #001                             100695                   COMMUNITY ASSOCIATION FOR         ATTN: GENERAL COUNSEL
           DATED MAY 09, 2005                                                                  RESEARCH AND EDUCATION            10459 MOUNTAIN VIEW AVENUE
                                                                                                                                 LOMA LINDA, CA 92354

2. 315     MASTER SERVICES AGREEMENT                                  100704                   COMPREHENSIVE HEALTH INSIGHTS,    ATTN: BOBBLE WHEET
           EFFECTIVE AS OF NOVEMBER 15, 2015                                                   INC.                              515 WEST MARKET STREET
                                                                                                                                 7TH FLOOR
                                                                                                                                 LOUISVILLE, KY 40202

2. 316     AMENDED AND RESTATED CHANGE                                100709                   COMPUTER SCIENCES CORPORATION     ATTN: GENERAL COUNSEL
           ORDER NO. 2 TO STATEMENTS OF                                                                                          1775 TYSONS BLVD.
           WORK DATED DECEMBER 01, 2017                                                                                          TYSONS, VA 22102

2. 317     MASTER SERVICES AGREEMENT                                  100708                   COMPUTER SCIENCES CORPORATION     ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF DECEMBER 01, 2017                                                                                     1775 TYSONS BLVD.
                                                                                                                                 TYSONS, VA 22102

2. 318     CONEXUS SOLUTIONS, INC. - CSA              6/9/2022        106038                   CONEXUS SOLUTIONS, INC.           NOT AVAILABLE
           CW2367161 (PB.RA) EFFECTIVE JUNE
           10, 2019

2. 319     ADMINISTRATIVE SERVICES ONLY                               100711                   CONNECTICUT GENERAL LIFE          ATTN: ANDREW M. DUNN
           AGREEMENT EFFECTIVE AS OF                                                           INSURANCE COMPANY                 900 COTTAGE GROVE ROAD
           JANUARY 01, 2006                                                                                                      HARTFORD, CT 06152

2. 320     RETIREE DRUG SUBSIDY AGREEMENT                             100714                   CONNECTICUT GENERAL LIFE          ATTN: ANDREW M. DUNN
           EFFECTIVE AS OF JANUARY 01, 2006                                                    INSURANCE COMPANY                 CIGNA HEATHCARE, ROUTING:
                                                                                                                                 ER32
                                                                                                                                 900 COTTAGE GROVE ROAD
                                                                                                                                 HARTFORD, CT 06152

2. 321     MASTER SERVICES AGREEMENT                                  100715                   CONNECTIONS MEDIA LLC             ATTN: JONAH SEIGER
           EFFECTIVE AS OF JULY 01, 2017                                                                                         1728 14TH STREET NW
                                                                                                                                 4TH FLOOR
                                                                                                                                 WASHINGTON, DC 20009




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2. 322     MASTER LABORATORY SERVICES                                 100725                   CONSUMER PRODUCT TESTING          ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                           COMPANY, INC.                     70 NEW DUTCH LANE
           FEBRUARY 06, 2017                                                                                                     FAIRFIELD, NJ 07004

2. 323     MASTER SERVICES AGREEMENT                                  100726                   CONTINUUM CLINICAL, LLC           ATTN: JEFFREY P. TROTTER
           EFFECTIVE AS OF SEPTEMBER 22, 2017                                                                                    650 DUNDEE ROAD
                                                                                                                                 SUITE 250
                                                                                                                                 NORTHBROOK, IL 60062

2. 324     AMENDMENT NO. 3 SUPPLY                                     100728                   CONTRACT PHARMACAL CORP.          ATTN: GENERAL COUNSEL
           AGREEMENT DATED APRIL 01, 2011                                                                                        135 ADAMS AVENUE
                                                                                                                                 HAUPPAUGE, NY 11788

2. 325     AMENDMENT NO. 2 TO PROJECT                                 100730                   CONVANCE PERIAPPROVAL SERVICES    NOT AVAILABLE
           SPECIFICATION DATED NOVEMBER 22,                                                    INC.
           2002

2. 326     MASTER SERVICES AGREEMENT                                  100732                   CONVERCENT, INC.                  ATTN: GENERAL COUNSEL
           EXECUTED DECEMBER 14, 2018                                                                                            3858 WALNUT STREET
                                                                                                                                 SUITE #255
                                                                                                                                 DENVER, CO 80205

2. 327     ORDER FORM UNDER MASTER                                    100731                   CONVERCENT, INC.                  ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT DATED                                                                                              3858 WALNUT STREET
           DECEMBER 14, 2018                                                                                                     SUITE 255
                                                                                                                                 DENVER, CO 80205

2. 328     MASTER SERVICES AGREEMENT                                  100734                   CORE ACCESS GROUP LLC             ATTN: GREG BERZOLLA, SENIOR
           EFFECTIVE AS OF NOVEMBER 24, 2015                                                                                     PRINCIPAL
                                                                                                                                 9100 KEYSTONE CROSSING
                                                                                                                                 SUITE 250
                                                                                                                                 INDIANAPOLIS, IN 46240

2. 329     MASTER SERVICES AGREEMENT                                  100742                   CORPORATE STRATEGIES BY           ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF OCTOBER 21, 2016                                                    SKILLPATH                         6900 SQUIBB ROAD
                                                                                                                                 MISSION, KS 66202

2. 330     AMENDMENT NO. 1 NONCLINICAL                                100745                   COVANCE BIOANALYTICAL SERVICES    ATTN: GENERAL COUNSEL
           MASTER SERVICES AGREEMENT                                                           LLC                               8211 SCICOR DRIVE
           DATED DECEMBER 31, 2012                                                                                               SUITE B
                                                                                                                                 INDIANAPOLIS, IN 46214

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2. 331     PROJECT SPECIFICATION ORDER TO                             100746                   COVANCE CENTRAL LABORATORY       ATTN: GENERAL COUNSEL
           MASTER CRO SERVICES AGREEMENT                                                       SERVICES, L.P.                   8211 SCICOR DRIVE
           EFFECTIVE AS OF AUGUST 14, 2012                                                                                      INDIANAPOLIS, IN 46214-2985

2. 332     AMENDMENT NO. 1 NONCLINICAL                                100748                   COVANCE LABORATORIES INC.        ATTN: GENERAL COUNSEL
           MASTER SERVICES AGREEMENT                                                                                            3301 KINSMAN BOULEVARD
           DATED DECEMBER 31, 2012                                                                                              MADISON, WI 53704

2. 333     MASTER PROJECT SPECIFICATION                               100749                   COVANCE LABORATORIES INC.        ATTN: GENERAL COUNSEL
           ORDER EFFECTIVE AS OF JANUARY 20,                                                                                    OTLEY ROAD
           2017                                                                                                                 HARROGATE, N. YORKSHIRE HG3
                                                                                                                                1P7

2. 334     MASTER PROJECT SPECIFICATION                               100750                   COVANCE LABORATORIES INC.        ATTN: GENERAL COUNSEL
           ORDER EFFECTIVE AS OF JANUARY 20,                                                                                    OTLEY ROAD
           2017                                                                                                                 HARROGATE, N. YORKSHIRE HG3
                                                                                                                                1P7

2. 335     MASTER PROJECT SPECIFICATION                               100751                   COVANCE LABORATORIES INC.        ATTN: GENERAL COUNSEL
           ORDER EFFECTIVE AS OF JANUARY 20,                                                                                    8211 SCICOR DRIVE
           2017                                                                                                                 SUITE B
                                                                                                                                INDIANAPOLIS, IN 46214

2. 336     MASTER PROJECT SPECIFICATION                               100752                   COVANCE LABORATORIES INC.        ATTN: GENERAL COUNSEL
           ORDER EFFECTIVE AS OF JANUARY 20,                                                                                    29 KESSELFELD
           2017                                                                                                                 MUNSTER 48163
                                                                                                                                GEORGIA

2. 337     AMENDMENT NO. 1 NONCLINICAL                                100753                   COVANCE LABORATORIES LTD         ATTN: GENERAL COUNSEL
           MASTER SERVICES AGREEMENT                                                                                            OTLEY ROAD
           DATED DECEMBER 31, 2012                                                                                              HARROGATE, N. YORKSHIRE HG3
                                                                                                                                1P7

2. 338     CLINICAL TRIAL AGREEMENT                                   100754                   COVANCE PERIAPPROVAL SERVICES    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF APRIL 10, 2002                                                      INC                              ONE RADNOR CORPORATE
                                                                                                                                CENTER
                                                                                                                                SUITE 300
                                                                                                                                RADNOR, PA 19087




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2. 339     AMENDMENT NO. 1 TO PROJECT                                 100766                   COVANCE PERIAPPROVAL SERVICES,    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #1 DATED                                                        INC.                              ONE RADNOR CORPORATE
           APRIL 26, 2004                                                                                                        CENTER
                                                                                                                                 SUITE 300
                                                                                                                                 RADNOR, PA 19087

2. 340     AMENDMENT NO. 2 TO PROJECT                                 100757                   COVANCE PERIAPPROVAL SERVICES,    ATTN: GENERAL COUNSEL
           SPECIFICATION DATED NOVEMBER 22,                                                    INC.                              ONE RADNOR CORPORATE
           2002                                                                                                                  CENTER
                                                                                                                                 SUITE 300
                                                                                                                                 RADNOR, PA 19087

2. 341     CHANGE ORDER #1 TO PROJECT                                 100767                   COVANCE PERIAPPROVAL SERVICES,    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #2 DATED JULY                                                   INC.                              ONE RADNOR CORPORATE
           02, 2002                                                                                                              CENTER
                                                                                                                                 SUITE 300
                                                                                                                                 RADNOR, PA 19087

2. 342     CHANGE ORDER #10 TO PROJECT                                100758                   COVANCE PERIAPPROVAL SERVICES,    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #2 DATED                                                        INC.                              ONE RADNOR CORPORATE
           DECEMBER 16, 2002                                                                                                     CENTER
                                                                                                                                 SUITE 300
                                                                                                                                 RADNOR, PA 19087

2. 343     CHANGE ORDER #11 TO PROJECT                                100759                   COVANCE PERIAPPROVAL SERVICES,    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #2 DATED                                                        INC.                              ONE RADNOR CORPORATE
           DECEMBER 16, 2002                                                                                                     CENTER
                                                                                                                                 SUITE 300
                                                                                                                                 RADNOR, PA 19087

2. 344     CHANGE ORDER #14 TO PROJECT                                100761                   COVANCE PERIAPPROVAL SERVICES,    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #2 DATED JULY                                                   INC.                              ONE RADNOR CORPORATE
           30, 2003                                                                                                              CENTER
                                                                                                                                 SUITE 300
                                                                                                                                 RADNOR, PA 19087

2. 345     CHANGE ORDER #16 TO PROJECT                                100764                   COVANCE PERIAPPROVAL SERVICES,    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #2 DATED                                                        INC.                              ONE RADNOR CORPORATE
           JANUARY 13, 2004                                                                                                      CENTER
                                                                                                                                 SUITE 300
                                                                                                                                 RADNOR, PA 19087



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2. 346     CHANGE ORDER #2 TO PROJECT                                 100756                   COVANCE PERIAPPROVAL SERVICES,    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #2 DATED                                                        INC.                              ONE RADNOR CORPORATE
           SEPTEMBER 19, 2002                                                                                                    CENTER
                                                                                                                                 SUITE 300
                                                                                                                                 RADNOR, PA 19087

2. 347     CHANGE ORDER #3 TO PROJECT                                 100755                   COVANCE PERIAPPROVAL SERVICES,    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #2 DATED                                                        INC.                              ONE RADNOR CORPORATE
           SEPTEMBER 16, 2002                                                                                                    CENTER
                                                                                                                                 SUITE 300
                                                                                                                                 RADNOR, PA 19087

2. 348     CHANGE ORDER #9 TO PROJECT                                 100760                   COVANCE PERIAPPROVAL SERVICES,    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #2 DATED                                                        INC.                              ONE RADNOR CORPORATE
           DECEMBER 16, 2002                                                                                                     CENTER
                                                                                                                                 SUITE 300
                                                                                                                                 RADNOR, PA 19087

2. 349     AMENDMENT NO. 1 NONCLINICAL                                100768                   COVANCE PRECLINICAL SERVICES      ATTN: GENERAL COUNSEL
           MASTER SERVICES AGREEMENT                                                           GMBH                              29 KESSELFELD
           DATED DECEMBER 31, 2012                                                                                               MUNSTER 48163
                                                                                                                                 GEORGIA

2. 350     AMENDMENT NO. 1 MASTER SERVICES                            100769                   COVERMYMEDS LLC                   NOT AVAILABLE
           AGREEMENT DATED JUNE 26, 2017

2. 351     MASTER SERVICES AGREEMENT                                  100770                   CRA INTERNATIONAL INC DBA         ATTN: ANDREW PARECE
           EFFECTIVE AS OF JANUARY 01, 2016                                                    CHARLES RIVER ASSOCIATES          200 CLARENDON STREET
                                                                                                                                 BOSTON, MA 02116

2. 352     PROFESSIONAL SERVICES MASTER                               100787                   C-SHELL, INC.                     ATTN: GENERAL COUNSEL
           AGREEMENT DATED JANUARY 01, 1998                                                                                      257 LAKE AVENUE
                                                                                                                                 METUCHEN, NJ 08840

2. 353     PROFESSIONAL SERVICES MASTER                               100788                   C-SHELL, INC.                     ATTN: GENERAL COUNSEL
           AGREEMENT DATED JANUARY 01, 1998                                                                                      257 LAKE AVENUE
                                                                                                                                 METUCHEN, NJ 08840

2. 354     AMENDMENT #3 TO FOOD SERVICE                               100795                   CULINART, INC.                    ATTN: THOMAS R. EICH,
           AGREEMENT EFFECTIVE AS OF                                                                                             PRESIDENT
           SEPTEMBER 30, 2014                                                                                                    175 SUNNYSIDE BOULEVARD
                                                                                                                                 PLAINVIEW, NY 11803
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2. 355     FOOD SERVICE AGREEMENT DATED                               100792                   CULINART, INC.                  ATTN: GENERAL COUNSEL
           NOVEMBER 17, 2004                                                                                                   1979 MARCUS AVENUE
                                                                                                                               LAKE SUCCESS, NY 11042

2. 356     FOOD SERVICE AGREEMENT                                     100794                   CULINART, INC.                  ATTN: THOMAS R. EICH,
           EFFECTIVE AS OF JANUARY 01, 2011                                                                                    PRESIDENT
                                                                                                                               175 SUNNYSIDE BOULEVARD
                                                                                                                               PLAINVIEW, NY 11803

2. 357     SERVICE TERMS EXECUTED APRIL 25,                           100797                   CULTURE AMP PTY. LTD.           ATTN: GENERAL COUNSEL
           2016                                                                                                                LEVEL 3
                                                                                                                               41 STEWART STREET
                                                                                                                               VICTORIA
                                                                                                                               AUSTRALIA

2. 358     MASTER SERVICES AGREEMENT                                  100798                   CUMBERLAND CONSULTING GROUP,    ATTN: GARY MEYER, CFO
           EFFECTIVE AS OF JANUARY 01, 2017                                                    LLC                             720 COOL SPRINGS BLVD
                                                                                                                               SUITE 550
                                                                                                                               FRANKLIN, TN 37067

2. 359     AUTHORSHIP AGREEMENT DATED                                 100807                   CYNTHIA BARTLETT, BSC, MMATH    ATTN: GENERAL COUNSEL
           DECEMBER 01, 2017                                                                                                   604-590 QUEEN STREET
                                                                                                                               FREDERICTON, NB E3B 7H9
                                                                                                                               CANADA

2. 360     AGREEMENT MODIFICATION NO. 1                               100809                   D.F. GIBSON ARCHITECTS, P.C.    ATTN: GENERAL COUNSEL
           ARCHITECT SERVICE AGREEMENT                                                                                         40 CLINTON STREET
           DATED JANUARY 28, 1998                                                                                              NEWARK, NJ 07102

2. 361     AMENDMENT NO. 1 TO AUTHORIZED                              100815                   DAKOTA DRUG INC.                ATTN: GENERAL COUNSEL
           DISTRIBUTOR AGREEMENT EFFECTIVE                                                                                     1101 LUND BLVD
           AS OF JUNE 30, 2017                                                                                                 ANOKA, MN 55303

2. 362     AUTHORIZED DISTRIBUTOR                                     100814                   DAKOTA DRUG INC.                ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JULY                                                                                      28-32 NORTH MAIN STREET
           01, 2012                                                                                                            MILNOT, ND 58702

2. 363     AMENDMENT TO SERVICES                                      100826                   DATA NICHE ASSOCIATES, INC.     ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                                                           3 PARKWAY NORTH
           AUGUST 21, 2017                                                                                                     SUITE 110N
                                                                                                                               DEERFIELD, IL 60015

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2. 364     PROFESSIONAL SERVICES AGREEMENT                             100833                   DATAFARM, INC.                   ATTN: GENERAL COUNSEL
           DATED JULY 14, 2004                                                                                                   221 BOSTON POST ROAD EAST
                                                                                                                                 SUITE 480
                                                                                                                                 MARLBORO, MA 01752

2. 365     SEARCH FIRM AGREEMENT DATED                                 100834                   DATAPATH SEARCHCORPORATION       ATTN: GENERAL COUNSEL
           SEPTEMBER 16, 2010                                                                                                    32 SHERWOOD PLACE
                                                                                                                                 GREENWICH, CT 06830

2. 366     MASTER SERVICES AGREEMENT                                   100836                   DATAWATCH CORPORATION            ATTN: LEGAL DEPT
           EFFECTIVE AS OF MARCH 01, 2016                                                                                        BEDFORD, MA 01730

2. 367     LETTER OF AGREEMENT DATED                                   100838                   DAVID BRUSHWOOD, R. PH., J.D.    ATTN: GENERAL COUNSEL
           OCTOBER 20, 2017                                                                                                      690 RHAPSODY ROAD
                                                                                                                                 SEDONA, AZ 86336

2. 368     DAVID S. CRAIG, PHARM.D. - HCP CSA         7/31/2021        106016                   DAVID S CRAIG                    NOT AVAILABLE
           CW2367522 (LH.RA) EFFECTIVE JULY 01,
           2019

2. 369     TENEO STRATEGY LLC - DAVIS POLK -          6/30/2020        105911                   DAVIS POLK AND WARDWELL LLP      450 LEXINGTON AVE
           PURDUE CSA CW2367893 (RA)                                                                                             NEW YORK, NY 10017
           EFFECTIVE JULY 01, 2019

2. 370     US WARRANTY PARTS REENROLLMENT                              100856                   DELL, INC.                       NOT AVAILABLE
           TERMS AND CONDITIONS DATED
           MARCH 30, 2006

2. 371     AMENDMENT NO. 3 TO MASTER                                   100861                   DELOITTE CONSULTING LLP          ONE WORLD FINANCIAL CENTER
           SERVICES AGREEMENT EFFECTIVE AS                                                                                       NEW YORK, NY 10281
           OF APRIL 16, 2018

2. 372     STATEMENT OF WORK AMENDMENT                                 100860                   DELOITTE CONSULTING LLP          ONE WORLD FINANCIAL CENTER
           UNDER MASTER SERVICES                                                                                                 NEW YORK, NY 10281
           AGREEMENT DATED JANUARY 01, 2019

2. 373     STATEMENT OF WORK EFFECTIVE AS                              100858                   DELOITTE CONSULTING LLP          ONE WORLD FINANCIAL CENTER
           OF JANUARY 01, 2018                                                                                                   NEW YORK, NY 10281




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2. 374     AMENDMENT #1 TO SERVICE ORDER                              100865                   DENVER HEALTH AND HOSPITAL    ATTN: GENERAL COUNSEL
           NUMBER 1 DATED DECEMBER 21, 2006                                                    AUTHORITY                     601 BROADWAY
                                                                                                                             DENVER, CO 80203

2. 375     AMENDMENT #1 TO SUBSCRIPTION                               100866                   DENVER HEALTH AND HOSPITAL    ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT AND                                                              AUTHORITY                     601 BROADWAY
           AMENDMENT #2 TO SERVICE ORDER                                                                                     DENVER, CO 80203
           NUMBER 1 DATED DECEMBER 10, 2007

2. 376     AMENDMENT NO. 6 TO MASTER                                  100883                   DENVER HEALTH AND HOSPITAL    ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT EFFECTIVE AS                                                     AUTHORITY                     601 BROADWAY
           OF JANUARY 01, 2017                                                                                               DENVER, CO 80203

2. 377     DENVER HEALTH HOSPITAL AUTHORITY          3/31/2020        105932                   DENVER HEALTH AND HOSPITAL    ATTN: GENERAL COUNSEL
           SOW CW2365780 DART - OXYCONTIN                                                      AUTHORITY                     660 BANNOCK STREET
           ADVISORY COMMITTEE CONSULTING                                                                                     MC 1919
           (LH.RA) EFFECTIVE JANUARY 02, 2019                                                                                DENVER, CO 80204

2. 378     FIFTH AMENDATORY SERVICE ORDER                             100872                   DENVER HEALTH AND HOSPITAL    ATTN: GENERAL COUNSEL
           #5 TO SUBSCRIPTION SERVICES                                                         AUTHORITY                     601 BROADWAY
           AGREEMENT DATED DECEMBER 09,                                                                                      DENVER, CO 80203
           2014

2. 379     FOURTH AMENDATORY SERVICE                                  100871                   DENVER HEALTH AND HOSPITAL    ATTN: GENERAL COUNSEL
           ORDER #5 TO SUBSCRIPTION                                                            AUTHORITY                     601 BROADWAY
           SERVICES AGREEMENT DATED                                                                                          DENVER, CO 80203
           NOVEMBER 26, 2013

2. 380     PROJECT SPECIFICATION ORDER #7 TO                          100878                   DENVER HEALTH AND HOSPITAL    ATTN: GENERAL COUNSEL
           MASTER SERVICES AGREEMENT                                                           AUTHORITY                     601 BROADWAY
           EFFECTIVE AS OF JANUARY 01, 2017                                                                                  DENVER, CO 80203

2. 381     PROJECT SPECIFICATION ORDER #8                             100879                   DENVER HEALTH AND HOSPITAL    ATTN: GENERAL COUNSEL
           UNDER MASTER SERVICES                                                               AUTHORITY                     601 BROADWAY
           AGREEMENT EFFECTIVE AS OF                                                                                         DENVER, CO 80203
           JANUARY 01, 2018

2. 382     SERVICE ORDER #4 TO SUBSCRIPTION                           100867                   DENVER HEALTH AND HOSPITAL    ATTN: GENERAL COUNSEL
           SERVICE AGREEMENT DATED JANUARY                                                     AUTHORITY                     601 BROADWAY
           01, 2009                                                                                                          DENVER, CO 80203



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2. 383     SERVICE ORDER #5 TO SUBSCRIPTION                           100869                   DENVER HEALTH AND HOSPITAL      ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT DATED                                                            AUTHORITY                       601 BROADWAY
           JANUARY 01, 2010                                                                                                    DENVER, CO 80203

2. 384     SERVICE ORDER #9 DATED JANUARY                             100882                   DENVER HEALTH AND HOSPITAL      ATTN: GENERAL COUNSEL
           01, 2019                                                                            AUTHORITY                       601 BROADWAY
                                                                                                                               DENVER, CO 80203

2. 385     SIXTH AMENDATORY SERVICE ORDER                             100873                   DENVER HEALTH AND HOSPITAL      ATTN: GENERAL COUNSEL
           #5 DATED JANUARY 28, 2016                                                           AUTHORITY                       601 BROADWAY
                                                                                                                               DENVER, CO 80203

2. 386     SUBSCRIPTION SERVICES AGREEMENT                            100875                   DENVER HEALTH AND HOSPITAL      ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JANUARY 01, 2006                                                    AUTHORITY                       601 BROADWAY
                                                                                                                               DENVER, CO 80203

2. 387     THIRD AMENDATORY SERVICE ORDER                             100877                   DENVER HEALTH AND HOSPITAL      ATTN: GENERAL COUNSEL
           NO. 5 TO SUBSCRIPTION SERVICES                                                      AUTHORITY                       601 BROADWAY
           AGREEMENT DATED FEBRUARY 06, 2013                                                                                   DENVER, CO 80203

2. 388     SERVICE ORDER #8 EFFECTIVE AS OF                           100886                   DENVER HEALTH AND HOSPITAL      ATTN: GENERAL COUNSEL
           JANUARY 01, 2019                                                                    AUTHORITY/ DHHA                 601 BROADWAY
                                                                                                                               DENVER, CO 80203

2. 389     ADDENDUM NO. 1 TO AMENDED AND                              100897                   DEPOMED INC                     ATTN: GENERAL COUNSEL
           RESTATED STATEMENT OF WORK                                                                                          7999 GATEWAY BLVD, SUITE 300,
           EFFECTIVE AS OF APRIL 01, 2015                                                                                      NEWARK, CA 94560

2. 390     AGREEMENT MODIFICATION NO. 2                               100903                   DF GIBSON ARCHITECTS PC         ATTN: GENERAL COUNSEL
           ARCHITECT SERVICE AGREEMENT                                                                                         40 CLINTON STREET
           EXECUTED JANUARY 28, 1998                                                                                           NEWARK, NY 07102

2. 391     SEARCH FIRM AGREEMENT DATED                                100907                   DIGITAL INTELLIGENCE SYSTEMS    ATTN: GENERAL COUNSEL
           JULY 29, 2010                                                                       CORPORATION                     8270 GREENSOBOR DRIVE
                                                                                                                               SUITE 900
                                                                                                                               MCLEAN, VA 22102

2. 392     MASTER AGREEMENT EFFECTIVE AS                              100909                   DIMENSION DATA                  ATTN: GENERAL COUNSEL
           OF MARCH 10, 2008                                                                                                   550 COCHITUATE ROAD
                                                                                                                               FRAMINGHAM, MA 01701


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2. 393     STATEMENT OF WORK DATED JULY 14,                           100911                   DIMENSION DATA NORTH AMERICA,    ATTN: GENERAL COUNSEL
           2009                                                                                INC.                             550 COCHITUATE ROAD
                                                                                                                                FRAMINGHAM, MA 01701

2. 394     STATEMENT OF WORK EFFECTIVE AS                             100913                   DIMENSION DATA NORTH AMERICA,    ATTN: GENERAL COUNSEL
           OF JULY 30, 2009                                                                    INC.                             550 COCHITUATE ROAD
                                                                                                                                FRAMINGHAM, MA 01701

2. 395     STATEMENT OF WORK EFFECTIVE AS                             100910                   DIMENSION DATA NORTH AMERICA,    ATTN: GENERAL COUNSEL
           OF JUNE 25, 2009                                                                    INC.                             550 COCHITUATE ROAD
                                                                                                                                FRAMINGHAM, MA 01701

2. 396     MASTERS SERVICES AGREEMENT                                 100917                   DISTEK, INC                      ATTN: JEFF SEELY
           EFFECTIVE AS OF MARCH 19, 2018                                                                                       121 NORTH CENTER
                                                                                                                                NORTH BRUNSWICK, NJ 08902

2. 397     MASTER SERVICES AGREEMENT                                  100918                   DISTEK, INC.                     ATTN: JEFF SEELY
           EFFECTIVE AS OF MARCH 19, 2018                                                                                       121 NORTH CENTER DRIVE
                                                                                                                                NORTH BRUNSWICK, NJ 08902

2. 398     MASTER SERVICES AGREEMENT                                  100920                   DISTEK, INC.                     ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MARCH 19, 2018                                                                                       121 NORTH CENTER DRIVE
                                                                                                                                NORTH BRUNSWICK, NJ 08902

2. 399     DL GLOBAL PARTNERS WO CW2366431           4/30/2020        105988                   DL GLOBAL PARTNERS INC           NOT AVAILABLE
           EDWARD SELLERS ORF AD BOARD
           (LH.SD) EFFECTIVE MAY 01, 2019

2. 400     DMD AMERICA INC. CSA CW2366960            5/31/2022        106148                   DMD AMERICA INC                  NOT AVAILABLE
           (SD.RA) EFFECTIVE JUNE 01, 2019

2. 401     AMENDMENT NO. 1 TO AUTHORIZED                              100922                   DMS PHARMACEUTICAL GROUP INC.    ATTN: GENERAL COUNSEL
           DISTRIBUTOR AGREEMENT DATED                                                                                          810 BUSSE HIGHWAY
           JUNE 30, 2017                                                                                                        PARK RIDGE, IL 60068

2. 402     AUTHORIZED DISTRIBUTOR                                     100921                   DMS PHARMACEUTICAL GROUP INC.    ATTN: BILL ANDERSON
           AGREEMENT EFFECTIVE AS OF JULY                                                                                       810 BUSSE HIGHWAY
           01, 2012                                                                                                             PARK RIDGE, IL 60068




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2. 403     AMENDMENT NO. 1 TO STUDY                                   100929                   DOLBY RESEARCH, LLC                 ATTN: CHISTOPHER MARRERO,
           SPECIFICATION ORDER #003                                                                                                M.D.; DICKSON OGBOMAH
           EFFECTIVE AS OF JUNE 01, 2005                                                                                           6030 BULLARD AVENUE
                                                                                                                                   SUITE 250
                                                                                                                                   NEW ORLEANS, LA 70128

2. 404     STUDY SPECIFICATION ORDER #002                             100928                   DOLBY RESEARCH, LLC                 ATTN: CHISTOPHER MARRERO,
           MASTER CLINICAL TRIAL AGREEMENT                                                                                         M.D.; DICKSON OGBOMAH
           EFFECTIVE AS OF MARCH 31, 2005                                                                                          6030 BULLARD AVENUE
                                                                                                                                   SUITE 250
                                                                                                                                   NEW ORLEANS, LA 70128

2. 405     MASTER SERVICES AGREEMENT                                  100933                   DOTTIKON EXCLUSIVE SYNTHESIS AG     ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF NOVEMBER 09, 2016                                                                                       HEMBRUNNSTRASSE 17
                                                                                                                                   5605 DOTTIKON

2. 406     STATEMENT OF WORK NO. 1 DATED                              100932                   DOTTIKON EXCLUSIVE SYNTHESIS AG     ATTN: GENERAL COUNSEL
           FEBRUARY 01, 2017                                                                                                       HEMBRUNNSTRASSE 17
                                                                                                                                   5605 DOTTIKON

2. 407     MASTER SERVICES AGREEMENT                                  100942                   DOXIMITY, INC.                      ATTN: FINANCE AND LEGAL
           EFFECTIVE AS OF DECEMBER 22, 2017                                                                                       DEPARTMENTS
                                                                                                                                   ATTN: GENERAL COUNSEL
                                                                                                                                   500 3RD STREET, SUITE 510
                                                                                                                                   SAN FRANCISCO, CA 94107

2. 408     AMENDMENT #1 TO STUDY                                      100945                   DR. JAMES GREGORY SULLIVAN D/B/A    NOT AVAILABLE
           SPECIFICATION ORDER #001                                                            PARKWAY MEDICAL CENTER
           EFFECTIVE AS OF NOVEMBER 18, 2003

2. 409     AMENDMENT #1 TO STUDY                                      100947                   DR. JAMES GREGORY SULLIVAN D/B/A    NOT AVAILABLE
           SPECIFICATION ORDER #002                                                            PARKWAY MEDICAL CENTER
           EFFECTIVE AS OF JUNE 14, 2004

2. 410     AMENDMENT #2 TO MASTER CLINICAL                            100946                   DR. JAMES GREGORY SULLIVAN D/B/A    NOT AVAILABLE
           TRIAL AGREEMENT DATED NOVEMBER                                                      PARKWAY MEDICAL CENTER
           18, 2003




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2. 411     CLINICAL TRIAL AGREEMENT DATED                             100948                   DR. KORAVANGATTU SANKARAN         ATTN: GENERAL COUNSEL
           AUGUST 21, 2003                                                                                                       ROYAL UNIVERSITY HOSPITAL
                                                                                                                                 103 HOSPITAL DRIVE
                                                                                                                                 SASKATOON, SK S7N 0W8
                                                                                                                                 CANADA

2. 412     AMENDMENT NO. 1 TO AUTHORIZED                              100952                   DROGUERIA BETANCES INC.           ATTN: GENERAL COUNSEL
           DISTRIBUTOR AGREEMENT EFFECTIVE                                                                                       AVE LUIS MARIN ESQ TROCHE
           AS OF APRIL 15, 2016                                                                                                  FINAL
                                                                                                                                 CAGUAS, PR 00725

2. 413     AMENDMENT NO. 2 TO AUTHORIZED                              100953                   DROGUERIA BETANCES INC.           ATTN: GENERAL COUNSEL
           DISTRIBUTOR AGREEMENT EFFECTIVE                                                                                       AVE LUIS MARIN ESQ TROCHE
           AS OF JUNE 30, 2017                                                                                                   FINAL
                                                                                                                                 CAGUAS, PR 00725

2. 414     AUTHORIZED DISTRIBUTOR                                     100951                   DROGUERIA BETANCES INC.           ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JULY                                                                                        AVE LUIS MARIN ESQ TROCHE
           01, 2012                                                                                                              FINAL
                                                                                                                                 CAGUAS, PR 00725

2. 415     AUTHORIZED DISTRIBUTOR                                     100954                   DROGUERIA CENTRAL INC.            ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JULY                                                                                        PEPSI INDUSTRIAL PARK
           01, 2012                                                                                                              CARR. 2
                                                                                                                                 TOA BAJA, PR 00953

2. 416     AMENDMENT #1 TO MASTER SERVICE                             100956                   DRUGSCAN, INC.                    ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JUNE                                                                                        200 PRECISION ROAD, SUITE 200
           17, 2016                                                                                                              HORSHAM, PA 19044

2. 417     AMENDMENT #2 TO MASTER SERVICE                             100955                   DRUGSCAN, INC.                    ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JUNE                                                                                        200 PRECISION ROAD, SUITE 200
           18, 2013                                                                                                              HORSHAM, PA 19044

2. 418     PREFERRED ESCROW AGREEMENT                                 100957                   DSI TECHNOLOGY ESCROW SERVICES    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF FEBRUARY 01, 2003                                                   INC                               9365 SKY PARK COURT
                                                                                                                                 SUITE 202
                                                                                                                                 SAN DIEGO, CA 92123

2. 419     D'SOUZA, ANITA CSA CW2367026              5/31/2020        105918                   D'SOUZA, ANITA                    NOT AVAILABLE
           (SS.RA) EFFECTIVE JUNE 01, 2019

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2. 420     PROJECT AGREEMENT DATED                                    100958                   DTW MARKETING RESEARCH GROUP,      ATTN: GENERAL COUNSEL
           NOVEMBER 18, 2003                                                                   INC,                               227 ROUTE 206
                                                                                                                                  FLANDERS, NJ 07836

2. 421     STUDY SPECIFICATION ORDER #001                             100959                   DUKE UNIVERSITY                    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF APRIL 18, 2018                                                                                         P.O. BOX 602651
                                                                                                                                  CHARLOTTE, NC 28260-2651

2. 422     LIFE SCIENCES REGULATORY CLOUD                             100969                   DXC. TECHNOLOGY/ COMPUTER          NOT AVAILABLE
           ORDER UNDER MASTER SERVICES                                                         SCIENCES CORPORATION
           AGREEMENT DATED DECEMBER 01,
           2017

2. 423     MASTER SERVICES AGREEMENT                                  100971                   ECKEL & VAUGHAN                    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JULY 01, 2016                                                                                          ATTN: HARRIS VAUGHAN,
                                                                                                                                  PARTNER
                                                                                                                                  706 HILLSBOROUGH ST., SUITE 102
                                                                                                                                  RALEIGH, NC 27603

2. 424     MASTER SERVICES AGREEMENT                                  100973                   ECP ELECTRIC, LLC                  ATTN: GENERAL COUNSEL
           DATED JULY 08, 2013                                                                                                    857 POST ROAD #315
                                                                                                                                  FAIRFIELD, CT 06824

2. 425     EDWARDS INC. MASTER                       8/31/2020        105950                   EDWARDS INC                        ATTN: GENERAL COUNSEL
           CONSTRUCTION SERVICES                                                                                                  4119 SHEEP PASTURE ROAD
           AGREEMENT CW2368065 (LH.RA)                                                                                            SPRING HOPE, NC 27882
           EFFECTIVE SEPTEMBER 03, 2019

2. 426     PHARMACOVIGILANCE AGREEMENT                                100997                   EISAI INC.                         ATTN: PRESIDENT; GENERAL
                                                                                                                                  COUNSEL
                                                                                                                                  100 TICE BOULEVARD
                                                                                                                                  WOODCLIFF LAKE, NJ 07677

2. 427     PHARMACOVIGILANCE AGREEMENT                                100990                   EISAI INC.                         ATTN: PRESIDENT; GENERAL
           EXECUTED NOVEMBER 11, 2015                                                                                             COUNSEL
                                                                                                                                  100 TICE BOULEVARD
                                                                                                                                  WOODCLIFF LAKE, NJ 07677

2. 428     MATERIALS TRANSFER AGREEMENT                               101001                   ELITE LABORATORIES, INC.           ATTN: GENERAL COUNSEL
           DATED MAY 06, 2004                                                                                                     165 LUDLOW AVENUE
                                                                                                                                  NORTHVALE, NJ 07647

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2. 429     LETTER OF INTENT NOT TO RENEW                              101003                   ELM SOLUTIONS                ATTN: GENERAL COUNSEL
           MSA EFFECTIVE AS OF SEPTEMBER 29,                                                                                20 CHURCH STREET
           2015                                                                                                             HARTFORD, CT 06237

2. 430     SUBSCRIPTION AGREEMENT DATED                               101007                   ELSEVIER B.V.                ATTN: GENERAL COUNSEL
           DECEMBER 22, 2017                                                                                                RADARWEG 29
                                                                                                                            AMSTERDAM 1043 NX
                                                                                                                            NIGER

2. 431     AMENDMENT #3 TO MASTER SERVICE                             101012                   EMC CORPORATION              ATTN: GENERAL COUNSEL
           AGREEMENT DATED MARCH 21, 2016                                                                                   176 SOUTH STREET
                                                                                                                            HOPKINTON, MA 01748

2. 432     AMENDMENT #3 TO MASTER SERVICE                             101013                   EMC CORPORATION              ATTN: GENERAL COUNSEL
           AGREEMENT DATED MARCH 21, 2016                                                                                   176 SOUTH STREET
                                                                                                                            HOPKINTON, MA 01748

2. 433     BASIC ORDER AGREEMENT DATED                                101009                   EMC CORPORATION              ATTN: GENERAL COUNSEL
           JUNE 27, 2003                                                                                                    176 SOUTH STREET
                                                                                                                            HOPKINTON, MA 01748

2. 434     BASIC ORDERING AGREEMENT DATED                             101008                   EMC CORPORATION              ATTN: GENERAL COUNSEL
           JUNE 27, 2003                                                                                                    176 SOUTH STREET
                                                                                                                            HOPKINTON, MA 01748

2. 435     CHANGE REQUEST TO STATEMENT OF                             101014                   EMC CORPORATION              ATTN: GENERAL COUNSEL
           WORK DATED JANUARY 01, 2018                                                                                      176 SOUTH STREET
                                                                                                                            HOPKINTON, MA 01748

2. 436     AMENDMENT #6 TO MASTER SERVICE                             101018                   EMD MILLIPORE CORPORATION    ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                                                        290 CONCORD ROAD
           JANUARY 01, 2017                                                                                                 BILLERICA, MA 01821

2. 437     AMENDMENT #6 TO MASTER SERVICES                            101017                   EMD MILLIPORE CORPORATION    ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                                                        290 CONCORD ROAD
           JANUARY 01, 2017                                                                                                 BILLERICA, MA 01821

2. 438     AMENDMENT #7 TO MASTER SERVICES                            101019                   EMD MILLIPORE CORPORATION    ATTN: GENERAL COUNSEL
           AGREEMENT DATED MARCH 12, 2008                                                                                   290 CONCORD ROAD
                                                                                                                            BILLERICA, MA 01821


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2. 439     SERVICES LOGISTICS AGREEMENT                               101021                   EMERSON HEALTHCARE, LLC      ATTN: GENERAL COUNSEL
           DATED APRIL 26, 2017                                                                                             ATTN: SCOTT EMERSON
                                                                                                                            407 EAST LANCASTER AVENUE
                                                                                                                            WAYNE, PA 19087

2. 440     AMENDMENT #1: TO MASTER CLINICAL                           101023                   EMORY UNIVERSITY             NOT AVAILABLE
           TRIAL AGREEMENT DATED SEPTEMBER
           10, 2003

2. 441     AMENDMENT NO. 1 TO STUDY                                   101024                   EMORY UNIVERSITY             NOT AVAILABLE
           SPECIFICATION ORDER #001
           EFFECTIVE AS OF SEPTEMBER 10, 2003

2. 442     ADDENDUM NO. 1 TO AMENDED AND                              101026                   ENDO PHARMACEUTICALS INC     ATTN: CHIEF LEGAL OFFICER
           RESTATED STATEMENT OF WORK                                                                                       100 ENDO BOULEVARD
           EFFECTIVE AS OF APRIL 01, 2015                                                                                   CHADDS FORD, PA 19317

2. 443     DATA USE AGREEMENT EFFECTIVE AS                            101030                   ENDO PHARMACEUTICALS INC.    ATTN: CHIEF LEGAL OFFICER
           OF JANUARY 25, 2017                                                                                              100 ENDO BOULEVARD
                                                                                                                            CHADDS FORD, PA 19317

2. 444     MASTER LABORATORY SERVICES                                 101037                   ENVIGO CRS, INC.             ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                                                        100 METTLERS ROAD
           JANUARY 20, 2017                                                                                                 EAST MILLSTONE, NJ 08875

2. 445     MASTER PROJECT SPECIFICATION                               101038                   ENVIRGO CRS, INC.            ATTN: GENERAL COUNSEL
           ORDER EFFECTIVE AS OF JANUARY 20,                                                                                100 METTLERS ROAD
           2017                                                                                                             EAST MILLSTONE, NJ 08875

2. 446     AGREEMENT RE: START-UP ACTIVITIES                          101065                   ERESEARCHTECHONLOGY INC.     ATTN: GENERAL COUNSEL
           DATED JANUARY 09, 2003                                                                                           30 SOUTH 17TH STREET
                                                                                                                            PHILADELPHIA, PA 19103

2. 447     CHANGE ORDER #1 TO WORK ORDER                              101059                   ERESEARCHTECHONLOGY INC.     ATTN: GENERAL COUNSEL
           DATED DECEMBER 17, 2003                                                                                          30 SOUTH 17TH STREET
                                                                                                                            PHILADELPHIA, PA 19103

2. 448     WORK ORDER BUP3012ERT007                                   101060                   ERESEARCHTECHONLOGY INC.     ATTN: GENERAL COUNSEL
           CHANGE ORDER #1 DATED JANUARY                                                                                    30 SOUTH 17TH STREET
           22, 2004                                                                                                         PHILADELPHIA, PA 19103


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2. 449     WORK ORDER BUP3012ERT202                                   101061                   ERESEARCHTECHONLOGY INC.    ATTN: GENERAL COUNSEL
           CHANGE ORDER #2 DATED MAY 13, 2004                                                                              30 SOUTH 17TH STREET
                                                                                                                           PHILADELPHIA, PA 19103

2. 450     WORK ORDER BUP3012ERT202                                   101062                   ERESEARCHTECHONLOGY INC.    ATTN: GENERAL COUNSEL
           CHANGE ORDER #3 DATED DECEMBER                                                                                  30 SOUTH 17TH STREET
           20, 2004                                                                                                        PHILADELPHIA, PA 19103

2. 451     WORK ORDER BUP3015ERT206                                   101063                   ERESEARCHTECHONLOGY INC.    ATTN: GENERAL COUNSEL
           CHANGE ORDER #1 DATED MARCH 01,                                                                                 30 SOUTH 17TH STREET
           2005                                                                                                            PHILADELPHIA, PA 19103

2. 452     WORK ORDER NO. 1 DATED MAY 30,                             101044                   ERESEARCHTECHONLOGY INC.    ATTN: GENERAL COUNSEL
           2000                                                                                                            30 SOUTH 17TH STREET
                                                                                                                           PHILADELPHIA, PA 19103

2. 453     WORK ORDER NO. 2 DATED MAY 30,                             101045                   ERESEARCHTECHONLOGY INC.    ATTN: GENERAL COUNSEL
           2000                                                                                                            30 SOUTH 17TH STREET
                                                                                                                           PHILADELPHIA, PA 19103

2. 454     WORK ORDER NO. 3 DATED MAY 30,                             101047                   ERESEARCHTECHONLOGY INC.    ATTN: GENERAL COUNSEL
           2000                                                                                                            30 SOUTH 17TH STREET
                                                                                                                           PHILADELPHIA, PA 19103

2. 455     WORK ORDER NO. 4 DATED MAY 30,                             101046                   ERESEARCHTECHONLOGY INC.    ATTN: GENERAL COUNSEL
           2000                                                                                                            30 SOUTH 17TH STREET
                                                                                                                           PHILADELPHIA, PA 19103

2. 456     WORK ORDER NO. 5 DATED NOVEMBER                            101049                   ERESEARCHTECHONLOGY INC.    ATTN: GENERAL COUNSEL
           15, 2000                                                                                                        30 SOUTH 17TH STREET
                                                                                                                           PHILADELPHIA, PA 19103

2. 457     WORK ORDER TO AMEND DIAGNOSTIC                             101051                   ERESEARCHTECHONLOGY INC.    ATTN: GENERAL COUNSEL
           SERVICE AGREEMENT EFFECTIVE AS                                                                                  30 SOUTH 17TH STREET
           OF JANUARY 09, 2003                                                                                             PHILADELPHIA, PA 19103

2. 458     WORK ORDER TO AMENDED AND                                  101052                   ERESEARCHTECHONLOGY INC.    ATTN: GENERAL COUNSEL
           RESTATED MASTER SERVICE                                                                                         30 SOUTH 17TH STREET
           AGREEMENT DATED AUGUST 19, 2003                                                                                 PHILADELPHIA, PA 19103



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2. 459     WORK ORDER TO AMENDED AND                                  101057                   ERESEARCHTECHONLOGY INC.     ATTN: GENERAL COUNSEL
           RESTATED MASTER SERVICE                                                                                          30 SOUTH 17TH STREET
           AGREEMENT DATED DECEMBER 05,                                                                                     PHILADELPHIA, PA 19103
           2003

2. 460     WORK ORDER TO AMENDED AND                                  101064                   ERESEARCHTECHONLOGY INC.     ATTN: GENERAL COUNSEL
           RESTATED MASTER SERVICE                                                                                          30 SOUTH 17TH STREET
           AGREEMENT DATED DECEMBER 20,                                                                                     PHILADELPHIA, PA 19103
           2005

2. 461     WORK ORDER TO AMENDED AND                                  101055                   ERESEARCHTECHONLOGY INC.     ATTN: GENERAL COUNSEL
           RESTATED MASTER SERVICE                                                                                          30 SOUTH 17TH STREET
           AGREEMENT DATED NOVEMBER 07,                                                                                     PHILADELPHIA, PA 19103
           2003

2. 462     WORK ORDER TO AMENDED AND                                  101056                   ERESEARCHTECHONLOGY INC.     ATTN: GENERAL COUNSEL
           RESTATED MASTER SERVICE                                                                                          30 SOUTH 17TH STREET
           AGREEMENT DATED NOVEMBER 24,                                                                                     PHILADELPHIA, PA 19103
           2003

2. 463     WORK ORDER TO AMENDED AND                                  101053                   ERESEARCHTECHONLOGY INC.     ATTN: GENERAL COUNSEL
           RESTATED MASTER SERVICE                                                                                          30 SOUTH 17TH STREET
           AGREEMENT EFFECTIVE AS OF                                                                                        PHILADELPHIA, PA 19103
           NOVEMBER 03, 2003

2. 464     WORK ORDER TO AMENDED                                      101050                   ERESEARCHTECHONLOGY INC.     ATTN: GENERAL COUNSEL
           DIAGNOSTIC SERVICE AGREEMENT                                                                                     30 SOUTH 17TH STREET
           DATED JANUARY 09, 2003                                                                                           PHILADELPHIA, PA 19103

2. 465     ERX NETWORK, LLC - SOW 2019-1            12/31/2020        106155                   ERX NETWORK HOLDINGS INC     PO BOX 25485
           CW2366836 (SD.RA) EFFECTIVE JUNE                                                                                 SALT LAKE CITY, UT 84125
           17, 2019

2. 466     AMENDMENT #1 TO STATEMENT OF                               101070                   ERX NETWORK, LLC             NOT AVAILABLE
           WORK DATED MARCH 01, 2019

2. 467     AMENDMENT #1 TO LIVE SUPPORT                               101071                   ESKILLS CORP.                NOT AVAILABLE
           SERVICES DATED MARCH 21, 2018




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2. 468     AMENDMENT NO. 1 TO STATEMENT OF                            101073                   EURO SYSTEMS INTERNATIONAL INC.    ATTN: GENERAL COUNSEL
           WORK EFFECTIVE AS OF SEPTEMBER                                                                                         2 CORPORATE DRIVE
           24, 2003                                                                                                               SUITE 300
                                                                                                                                  SHELTON, CT 06484

2. 469     TERMS AND CONDITION FOR                                    101083                   EUROSCREEN S.A                     ATTN: DR. JEAN COMBALBERT,
           QUOTATION # PP 15152 DATED APRIL                                                                                       PRESIDENT AND CEO
           28, 2006                                                                                                               802 ROUTE DE LENNIK
                                                                                                                                  BRUSSELS 1070
                                                                                                                                  BELGIUM

2. 470     AMENDMENT TO MASTER CRO                                    101088                   EVIDERA INC                        ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT DATED                                                                                               P.O. BOX 758641
           FEBRUARY 15, 2018                                                                                                      BALTIMORE, MD 21275

2. 471     WORK ORDER UNDER MASTER CRO                                101089                   EVIDERA, INC.                      ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT EFFECTIVE AS                                                                                        P.O. BOX 758641
           OF DECEMBER 10, 2018                                                                                                   BALTIMORE, MD 21275

2. 472     WORK ORDER UNDER MASTER CRO                                101090                   EVIDERA, INC.                      ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT EFFECTIVE AS                                                                                        P.O. BOX 758641
           OF DECEMBER 10, 2018                                                                                                   BALTIMORE, MD 21275

2. 473     MASTER SERVICES AGREEMENT                                  101097                   EXPERIMENTAL PATHOLOGY             ATTN: GEORGE BOURAS, CHIEF
           EFFECTIVE AS OF MAY 19, 2017                                                        LABORATORIES, INC.                 FINANCIAL OFFICER
                                                                                                                                  45600 TERMINAL DRIVE
                                                                                                                                  STERLING, VA 20166

2. 474     AMENDMENT #1 TO MASTER                                     101115                   EXPRESS SCRIPTS SPECIALTY          ATTN: VICE PRESIDENT &
           AGREEMENT DATED JULY 01, 2007                                                       DISTRIBUTION SERVICES, INC.        GENERAL MANAGER
                                                                                                                                  3168 RIVERPORT TECH CENTER
                                                                                                                                  DRIVE
                                                                                                                                  MARYLAND HEIGHTS, MO 63043

2. 475     AMENDMENT TO MASTER AGREEMENT                              101114                   EXPRESS SCRIPTS SPECIALTY          ATTN: VICE PRESIDENT &
           (PATIENT ASSISTANCE PROGRAM)                                                        DISTRIBUTION SERVICES, INC.        GENERAL MANAGER
           DATED JUNE 01, 2007                                                                                                    3168 RIVERPORT TECH CENTER
                                                                                                                                  DRIVE
                                                                                                                                  MARYLAND HEIGHTS, MO 63043




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2. 476     AMENDMENT: EXTENSION AMENDMENT                             101112                   EXPRESS SCRIPTS SPECIALTY      ATTN: VICE PRESIDENT &
           TO MASTER AGREEMENT DATED                                                           DISTRIBUTION SERVICES, INC.    GENERAL MANAGER
           DECEMBER 01, 2005                                                                                                  3168 RIVERPORT TECH CENTER
                                                                                                                              DRIVE
                                                                                                                              MARYLAND HEIGHTS, MO 63043

2. 477     AMENDMENT: EXTENSION AMENDMENT                             101109                   EXPRESS SCRIPTS SPECIALTY      ATTN: VICE PRESIDENT &
           TO MASTER AGREEMENT DATED                                                           DISTRIBUTION SERVICES, INC.    GENERAL MANAGER
           FEBRUARY 01, 2004                                                                                                  3168 RIVERPORT TECH CENTER
                                                                                                                              DRIVE
                                                                                                                              MARYLAND HEIGHTS, MO 63043

2. 478     AMENDMENT: EXTENSION AMENDMENT                             101113                   EXPRESS SCRIPTS SPECIALTY      ATTN: VICE PRESIDENT &
           TO MASTER AGREEMENT DATED                                                           DISTRIBUTION SERVICES, INC.    GENERAL MANAGER
           FEBRUARY 01, 2006                                                                                                  3168 RIVERPORT TECH CENTER
                                                                                                                              DRIVE
                                                                                                                              MARYLAND HEIGHTS, MO 63043

2. 479     EXTENSION AMENDMENT DATED                                  101110                   EXPRESS SCRIPTS SPECIALTY      ATTN: VICE PRESIDENT &
           FEBRUARY 01, 2002                                                                   DISTRIBUTION SERVICES, INC.    GENERAL MANAGER
                                                                                                                              3168 RIVERPORT TECH CENTER
                                                                                                                              DRIVE
                                                                                                                              MARYLAND HEIGHTS, MO 63043

2. 480     EXTENSION AMENDMENT EFFECTIVE                              101111                   EXPRESS SCRIPTS SPECIALTY      ATTN: VICE PRESIDENT &
           AS OF AUGUST 01, 2005                                                               DISTRIBUTION SERVICES, INC.    GENERAL MANAGER
                                                                                                                              3168 RIVERPORT TECH CENTER
                                                                                                                              DRIVE
                                                                                                                              MARYLAND HEIGHTS, MO 63043

2. 481     EXTENSION AMENDMENT TO MASTER                              101117                   EXPRESS SCRIPTS SPECIALTY      ATTN: VICE PRESIDENT &
           AGREEMENT EFFECTIVE AS OF MARCH                                                     DISTRIBUTION SERVICES, INC.    GENERAL MANAGER
           01, 2006                                                                                                           3168 RIVERPORT TECH CENTER
                                                                                                                              DRIVE
                                                                                                                              MARYLAND HEIGHTS, MO 63043

2. 482     FIFTH AMENDMENT TO MASTER                                  101116                   EXPRESS SCRIPTS SPECIALTY      ATTN: VICE PRESIDENT &
           AGREEMENT (PATIENT ASSISTANCE                                                       DISTRIBUTION SERVICES, INC.    GENERAL MANAGER
           PROGRAM) DATED APRIL 26, 2012                                                                                      3168 RIVERPORT TECH CENTER
                                                                                                                              DRIVE
                                                                                                                              MARYLAND HEIGHTS, MO 63043



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2. 483     AMENDMENT #1: TO PROJECT                                   101124                   EYECRO, LLC                           ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #2018-1 DATED                                                                                         5301 N. BEVERLY DRIVE
           JANUARY 31, 2019                                                                                                          OKLAHOMA CITY, OK 73105

2. 484     MASTER LABORATORY AND NON-                                 101120                   EYECRO, LLC                           ATTN: GENERAL COUNSEL
           CLINICAL SERVICES AGREEMENT                                                                                               5301 N. BEVERLY DRIVE
           EFFECTIVE AS OF APRIL 19, 2018                                                                                            OKLAHOMA CITY, OK 73105

2. 485     MASTER LABORATORY AND NON-                                 101121                   EYECRO, LLC                           ATTN: GENERAL COUNSEL
           CLINICAL SERVICES AGREEMENT                                                                                               5301 N. BEVERLY DRIVE
           EFFECTIVE AS OF APRIL 19, 2018                                                                                            OKLAHOMA CITY, OK 73105

2. 486     MASTER AGREEMENT DATED JULY 08,                            101128                   FACTIVA INC AN AFFILIATE OF DOW       ATTN: GENERAL COUNSEL
           2013                                                                                JONES COMPANY                         1211 6TH AVENUE
                                                                                                                                     NEW YORK, NY 10036

2. 487     FACULTY CONNECTION, LLC-DANIEL            4/30/2021        105960                   FACULTY CONNECTION, LLC               ATTN: GENERAL COUNSEL
           BENJAMIN CSA CW2366314 2019 (LH.RA)                                                                                       1232 AUBUM VILLAGE DRIVE
           EFFECTIVE APRIL 15, 2019                                                                                                  DURHAM, NC 27713

2. 488     G2 UPGRADE ENGINEERING CHANGE                              101136                   FCG CSI, INC. DBA FIRST CONSULTING    ATTN: EXECUTIVE VICE
           ORDER DATED JUNE 19, 2007                                                           GROUP                                 PRESIDENT
                                                                                                                                     575 EAST SWEDESFORD ROAD
                                                                                                                                     SUITE 200
                                                                                                                                     WAYNE, PA 19087

2. 489     GRASP UPGRADE ENGINEERING                                  101141                   FCG CSI, INC. DBA FIRST CONSULTING    ATTN: EXECUTIVE VICE
           CHANGE ORDER FORM DATED JUNE 06,                                                    GROUP                                 PRESIDENT
           2005                                                                                                                      575 EAST SWEDESFORD ROAD
                                                                                                                                     SUITE 200
                                                                                                                                     WAYNE, PA 19087

2. 490     MASTER SERVICES AGREEMENT                                  101139                   FCG CSI, INC. DBA FIRST CONSULTING    ATTN: EXECUTIVE VICE
           DATED APRIL 15, 2001                                                                GROUP                                 PRESIDENT
                                                                                                                                     575 EAST SWEDESFORD ROAD
                                                                                                                                     SUITE 200
                                                                                                                                     WAYNE, PA 19087




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2. 491     UPGRADE ENGINEERING CHANGE                                 101135                   FCG CSI, INC. DBA FIRST CONSULTING    ATTN: EXECUTIVE VICE
           ORDER (ECO) FORM EFFECTIVE AS OF                                                    GROUP                                 PRESIDENT
           FEBRUARY 24, 2007                                                                                                         575 EAST SWEDESFORD ROAD
                                                                                                                                     SUITE 200
                                                                                                                                     WAYNE, PA 19087

2. 492     AMENDMENT #1 TO ELECTRICAL                                 101153                   FIRST CHOICE ELECTRIC INC.            ATTN: GENERAL COUNSEL
           CONTRACTING SERVICES AGREEMENT                                                                                            34 OVERLOOK DRIVE
           DATED APRIL 01, 2013                                                                                                      JACKSON, NJ 08527

2. 493     ELECTRICAL CONTRACTING SERVICES                            101154                   FIRST CHOICE ELECTRIC, INC.           ATTN: GENERAL COUNSEL
           AGREEMENT DATED MARCH 01, 2009                                                                                            ATTN: TOM SKWAIT, OWNER
                                                                                                                                     34 OVERLOOK DRIVE
                                                                                                                                     JACKSON, NJ 08527

2. 494     AMENDMENT #1 TO MASTER SERVICES                            101155                   FIRST DERIVATIVES PLC                 ATTN: GENERAL COUNSEL
           AGREEMENT DATED MAY 31, 2017                                                                                              3 CANAL QUAY, NEWRY
                                                                                                                                     CO DOWN

2. 495     QUALITY AGREEMENT EFFECTIVE AS                             101161                   FISHER CLINICAL SERVICES INC.         ATTN: GENERAL COUNSEL
           OF NOVEMBER 24, 2015                                                                                                      7554 SCHANTZ ROAD
                                                                                                                                     ALLENTOWN, PA 18106

2. 496     AMENDED AND RESTATED MASTER                                101163                   FISHER CLINICAL SERVICES, INC.        ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT EFFECTIVE AS                                                                                           7554 SCHANTZ ROAD
           OF OCTOBER 01, 2012                                                                                                       ALLENTOWN, PA 18106

2. 497     QUALITY AGREEMENT EFFECTIVE AS                             101162                   FISHER CLINICAL SERVICES, INC.        ATTN: GENERAL COUNSEL
           OF NOVEMBER 24, 2015                                                                                                      7554 SCHANTZ ROAD
                                                                                                                                     ALLENTOWN, PA 18106

2. 498     F BUD SWEET III CSA CW2366986             5/31/2021        105951                   FLOYD B SWEET III                     NOT AVAILABLE
           (LH.SD) EFFECTIVE JUNE 01, 2019

2. 499     AMENDMENT #4 TO MASTER SERVICES                            101167                   FOCUSVISION WORLDWIDE, INC.           ATTN: GENERAL COUNSEL
           AGREEMENT DATED AUGUST 20, 2018                                                                                           1266 EAST MAIN STREET
                                                                                                                                     STAMFORD, CT 06902

2. 500     STATEMENT OF WORK #2018-1 DATED                            101168                   FOCUSVISION WORLDWIDE, INC.           ATTN: GENERAL COUNSEL
           OCTOBER 26, 2018                                                                                                          1266 EAST MAIN STREET
                                                                                                                                     STAMFORD, CT 06902

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2. 501     SEARCH FIRM AGREEMENT DATED                                 101169                   FOGARTHY KNAPP & ASSOCIATES, INC. ATTN: GENERAL COUNSEL
           APRIL 14, 2006                                                                                                         1150 SUMMER STREET
                                                                                                                                  STAMFORD, CT 06905

2. 502     YOUNKER MSA 10152016 CW2321137 NP                           101180                   FRANK S. YOUNKER                    ATTN: GENERAL COUNSEL
           WORKSHOP SPEAKER (SS.PMM) DATED                                                                                          409 BEECHWOOD BOULEVARD
           OCTOBER 15, 2016                                                                                                         BULTER, PA 16001

2. 503     REIMHERR, FRED CSA 01012019                                 101183                   FRED REIMHERR, M.D                  ATTN: GENERAL COUNSEL
           CW2364604 (SS.SD) DATED JANUARY                                                                                          1522 SOUTH 1100 EAST
           01, 2019                                                                                                                 SALT LAKE CITY, UT 84105

2. 504     MASTER SERVICES AGREEMENT                                   101186                   FREUND-VECTOR CORPORATION F/K/A     ATTN: GENERAL COUNSEL
           DATED NOVEMBER 30, 2017                                                              VECTOR CORPORATION                  675 44TH STREET
                                                                                                                                    MARION, IA 52302

2. 505     AMENDMENT #3 TO MASTER SERVICES                             101187                   FREUND-VECTOR CORPORATION,          ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JULY                                                       F/K/A VECTOR CORPORATION            675 44TH STREET
           31, 2017                                                                                                                 MARION, IA 52302

2. 506     AMENDMENT NO. 4 TO MASTER                                   101192                   FTI CONSULTING (SC), INC.           ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT DATED                                                                                                 3 TIMES SQUARE
           NOVEMBER 07, 2018                                                                                                        9TH FLOOR
                                                                                                                                    NEW YORK, NY 10036

2. 507     DATA USE AGREEMENT DATED MAY 24,                            101191                   FTI CONSULTING (SC), INC.           ATTN: GENERAL COUNSEL
           2018                                                                                                                     3 TIMES SQUARE
                                                                                                                                    9TH FLOOR
                                                                                                                                    NEW YORK, NY 10036

2. 508     GALINKIN CONSULTING, LLC - HCP CSA         6/30/2021        106034                   GALINKIN CONSULTING LLC             NOT AVAILABLE
           CW2367457 (LH.SD) EFFECTIVE JULY 01,
           2019

2. 509     GALINKIN CONSULTING, LLC - WO 2019-        6/30/2021        106015                   GALINKIN CONSULTING LLC             NOT AVAILABLE
           1 CW2367504 HCP (LH.SD) EFFECTIVE
           JULY 01, 2019

2. 510     GALLOWAY RESEARCH SERVICE                                   101200                   GALLOWAY RESEARCH SERVICE, INC.     ATTN: GENERAL COUNSEL
           DATED OCTOBER 30, 2000                                                                                                   4751 HAMILTON WOLFE
                                                                                                                                    SAN ANTONIO, TX 78229

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2. 511     AMENDMENT TO THE MASTER CLIENT                             101202                   GARTNER, INC.                      ATTN: GENERAL COUNSEL
           AGREEMENT DATED APRIL 25, 2009                                                                                         12600 GATEWAY BOULEVARD
                                                                                                                                  FORT MYERS, FL 33913

2. 512     EXPENSELINK SERVICE AGREEMENT                              101208                   GEICO INFORMATION NETWORK, INC.    ATTN: GENERAL COUNSEL
           EXECUTED APRIL 30, 1999                                                                                                10700 PRAIRIE LAKES DRIVE
                                                                                                                                  EDEN PRAIRIE, MN 55344

2. 513     RESEARCH AND COLLABORATION                                 101210                   GEISINGER CLINIC FOR HEALTH        ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                           RESEARCH                           100 NORTH ACADEMY AVENUE
           OCTOBER 23, 2017                                                                                                       DANVILLE, PA 17822-3057

2. 514     GELCO INFORMATION NETWORK                                  101211                   GELCO INFORMATION NETWORK          ATTN: GENERAL COUNSEL
           EXPENSELINK SERVICE AGREEMENT                                                                                          10700 PRAIRIE LAKES DRIVE
           FEE SCHEDULE EFFECTIVE AS OF                                                                                           EDEN PRAIRIE, MN 55344
           AUGUST 01, 1999

2. 515     STATEMENT OF WORK DATED APRIL 21,                          101216                   GELCO INFORMATION NETWORK, INC.    ATTN: GENERAL COUNSEL
           2005                                                                                                                   10700 PRAIRIE LAKES DRIVE
                                                                                                                                  EDEN PRAIRIE, MN 55344

2. 516     STATEMENT OF WORK DATED APRIL 30,                          101213                   GELCO INFORMATION NETWORK, INC.    ATTN: GENERAL COUNSEL
           1999                                                                                                                   10700 PRAIRIE LAKES DRIVE
                                                                                                                                  EDEN PRAIRIE, MN 55344

2. 517     STATEMENT OF WORK DATED                                    101214                   GELCO INFORMATION NETWORK, INC.    ATTN: GENERAL COUNSEL
           FEBRUARY 25, 2004                                                                                                      10700 PRAIRIE LAKES DRIVE
                                                                                                                                  EDEN PRAIRIE, MN 55344

2. 518     STATEMENT OF WORK DATED                                    101215                   GELCO INFORMATION NETWORK, INC.    ATTN: GENERAL COUNSEL
           FEBRUARY 25, 2004                                                                                                      10700 PRAIRIE LAKES DRIVE
                                                                                                                                  EDEN PRAIRIE, MN 55344

2. 519     STATEMENT OF WORK EXECUTED                                 101218                   GELCO INFORMATION NETWORK, INC.    ATTN: GENERAL COUNSEL
           FEBRUARY 21, 2006                                                                                                      10700 PRAIRIE LAKES DRIVE
                                                                                                                                  EDEN PRAIRIE, MN 55344

2. 520     STATEMENT OF WORK EXECUTED MAY                             101217                   GELCO INFORMATION NETWORK, INC.    ATTN: GENERAL COUNSEL
           20, 2004                                                                                                               10700 PRAIRIE LAKES DRIVE
                                                                                                                                  EDEN PRAIRIE, MN 55344


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2. 521     MASTER SERVICES AGREEMENT                                  101220                   GENESIS ENGINEERS, INC.           ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF OCTOBER 01, 2016                                                                                      1850 N. GRAVERS ROAD
                                                                                                                                 SUITE 300
                                                                                                                                 PLYMOUTH MEETING, PA 19462

2. 522     AMENDMENT NO. 1 MASTER SERVICES                            101221                   GENESIS RESEARCH LLC              ATTN: GENERAL COUNSEL
           AGREEMENT DATED OCTOBER 20, 2017                                                                                      5 MARINE VIEW PLAZA
                                                                                                                                 SUITE 312
                                                                                                                                 HOBOKEN, NJ 07030

2. 523     AMENDMENT NO. 1 MASTER SERVICES                            101222                   GENESIS RESEARCH LLC              ATTN: GENERAL COUNSEL
           AGREEMENT DATED OCTOBER 20, 2017                                                                                      5 MARINE VIEW PLAZA
                                                                                                                                 SUITE 312
                                                                                                                                 HOBOKEN, NJ 07030

2. 524     AMENDMENT #2 TO MASTER SERVICES                            101223                   GENESIS RESEARCH LLC.             ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                                                             5 MARINE VIEW PLAZA
           JANUARY 01, 2019                                                                                                      SUITE 312
                                                                                                                                 HOBOKEN, NJ 07030

2. 525     MASTER SERVICES AGREEMENT                                  101224                   GENESIS RESEARCH, LLC             ATTN: GENERAL COUNSEL
           DATED DECEMBER 05, 2016                                                                                               5 MARINE VIEW PLAZA
                                                                                                                                 SUITE 312
                                                                                                                                 HOBOKEN, NJ 07030

2. 526     MASTER SERVICES AGREEMENT                                  101225                   GENESIS RESEARCH, LLC             ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF DECEMBER 05, 2016                                                                                     5 MARINE VIEW PLAZA
                                                                                                                                 SUITE 312
                                                                                                                                 HOBOKEN, NJ 07030

2. 527     CANCER ANTIGEN DISCOVERY                                   101226                   GENZYME CORPORATION               ATTN: PRESIDENT, GENZYME
           AGREEMENT DATED OCTOBER 01, 2000                                                                                      MOLECULAR ONCOLOGY
                                                                                                                                 15 PLEASANT STREET
                                                                                                                                 CONNECTOR
                                                                                                                                 PO BOX 9322
                                                                                                                                 FRAMINGHAM, MA 01701-9322

2. 528     MASTER SERVICES AGREEMENT                                  101230                   GERSON LEHRMAN GROUP              ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JULY 18, 2016                                                                                         60 EAST 42ND STREET
                                                                                                                                 3RD FLOOR
                                                                                                                                 NEW YORK, NY 10165


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2. 529     MASTER SERVICES AGREEMENT                                  101231                   GERSON LEHRMAN GROUP, INC.       ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JULY 18, 2016                                                                                        60 EAST 42ND STREET
                                                                                                                                3RD FLOOR
                                                                                                                                NEW YORK, NY 10165

2. 530     AMENDMENT NO. 3 TO MASTER                                  101233                   GIBRALTAR LABORATORIES, INC.     ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT EFFECTIVE AS                                                                                      122 FAIRFIELD ROAD
           OF DECEMBER 01, 2017                                                                                                 FAIRFIELD, NJ 07004

2. 531     MASTER CLINICAL TRIAL AGREEMENT                            101234                   GILLETTE CHILDREN'S SPECIALTY    ATTN: GENERAL COUNSEL
           DATED NOVEMBER 07, 2014                                                             HEALTHCARE                       200 EAST UNIVERSITY AVENUE
                                                                                                                                ST. PAUL, MN 55101

2. 532     MASTER SERVICES AGREEMENT                                  101235                   GLATT AIR TECHNIQUES, INC.       ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF DECEMBER 19, 2018                                                                                    20 SPEAR ROAD
                                                                                                                                RAMSEY, NJ 07466

2. 533     STATEMENT OF WORK NO. 1                                    101236                   GLATT AIR TECHNIQUES, INC.       ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF DECEMBER 19, 2018                                                                                    20 SPEAR ROAD
                                                                                                                                RAMSEY, NJ 07466

2. 534     AMENDMENT NO. 2 TO STATEMENT OF                            101237                   GLEMSER TECHNOLOGIES             NOT AVAILABLE
           WORK EFFECTIVE AS OF OCTOBER 01,                                                    CORPORATION
           2018

2. 535     GERSON LEHRMAN GROUP AMEND MSA            6/30/2022        106190                   GLG                              BOX 200589
           CW2365817(SD.RA) EFFECTIVE MARCH                                                                                     PITTSBURGH, PA 15251-0589
           05, 2019

2. 536     GERSON LEHRMAN GROUP SOW                  6/18/2020        106192                   GLG                              BOX 200589
           CW2365835 (SD.RA) EFFECTIVE                                                                                          PITTSBURGH, PA 15251-0589
           FEBRUARY 19, 2019

2. 537     PROJECT AGREEMENT DATED APRIL                              101239                   GLICKMAN RESEARCH ASSOCIATES,    ATTN: GENERAL COUNSEL
           04, 2002                                                                            INC.                             160 PARIS AVENUE
                                                                                                                                NORTHVALE, NJ 07647

2. 538     MASTER SERVICES AGREEMENT                                  101241                   GLOBAL PHARMA ALLIANCE, INC.     ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF DECEMBER 15, 2016                                                                                    1200 ROUTE 22 EAST
                                                                                                                                SUITE 200 PMB2031
                                                                                                                                BRIDGEWATER 08807

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2. 539     STATEMENT OF WORK DATED APRIL 09,                          101240                   GLOBAL PHARMA ALLIANCE, INC.       ATTN: GENERAL COUNSEL
           2018                                                                                                                   5 MARINE VIEW PLAZA
                                                                                                                                  SUITE 312
                                                                                                                                  HOBOKEN, NJ 07030

2. 540     ARTWORK SERVICE QUOTATION #                                101247                   GLOBAL VISION INC.                 ATTN: GENERAL COUNSEL
           PP15050 EFFECTIVE AS OF APRIL 28,                                                                                      15795 GOUIN BOULEVARD
           2006                                                                                                                   MONTREAL, QC H9H 1C5
                                                                                                                                  CANADA

2. 541     TERMS AND CONDITIONS FOR                                   101245                   GLOBAL VISION INC.                 ATTN: GENERAL COUNSEL
           QUOTATION # PP 15100-B DATED APRIL                                                                                     15795 GOUIN BOULEVARD
           28, 2006                                                                                                               MONTREAL, QC H9H 1C5

2. 542     TERMS AND CONDITIONS FOR                                   101246                   GLOBAL VISION INC.                 ATTN: GENERAL COUNSEL
           QUOTATION # PP 15151 DATED APRIL                                                                                       15795 GOUIN BOULEVARD
           28, 2006                                                                                                               MONTREAL, QC H9H 1C5
                                                                                                                                  CANADA

2. 543     STUDY SPECIFICATION ORDER #005                             101259                   GOLD COAST RESEARCH, LLC           ATTN: LYNDA HALE
           MASTER SITE MANAGEMENT                                                                                                 2965 SURREY LANE
           ORGANIZATION AGREEMENT                                                                                                 WESTON, FL 33331
           EFFECTIVE AS OF JANUARY 13, 2005

2. 544     PROJECT AGREEMENT DATED                                    101260                   GOLDMAN & YOUNG GROUP              ATTN: GENERAL COUNSEL
           DECEMBER 18, 2002                                                                                                      545 MADISON AVENUE
                                                                                                                                  NEW YORK, NY 10022

2. 545     AMENDED AND RESTATED INVESTMENT                            101261                   GOLDMAN SACHS ASSET                ATTN: GENERAL COUNSEL /
           MANAGEMENT AGREEMENT DATED                                                          MANAGEMENT, L.P.                   LEGAL DEPARTMENT
           JUNE 14, 2017                                                                                                          200 WEST STREET
                                                                                                                                  NEW YORK, NY 10282-2198

2. 546     AMENDMENT NO. 1 TO STATEMENT OF                            101267                   GREGG FRANK CORPORATION            ATTN: GENERAL COUNSEL
           WORK DATED APRIL 24, 2003                                                                                              6 NURSERY LANE
                                                                                                                                  SUITE B
                                                                                                                                  RYE, NY 10580

2. 547     LETTER OF AGREEMENT DATED                                  101268                   GREGORY A. BURKHART, M.D., M.S.    ATTN: GENERAL COUNSEL
           JANUARY 05, 2018                                                                                                       1224 QUORN LANE
                                                                                                                                  RESTON, VA 20191

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2. 548     MASTER SERVICES AGREEMENT                                  101269                   GRM INFORMATION MANAGEMENT          ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JULY 30, 2010                                                       SERVICES, INC                       215 COLES STREET
                                                                                                                                   JERSEY CITY, NJ 07310

2. 549     AMENDMENT NO. 1 TO MASTER                                  101314                   GUIDEPOINT GLOBAL, LLC.             ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT DATED MAY 25,                                                                                        730 THIRD AVENUE
           2017                                                                                                                    11TH FLOOR
                                                                                                                                   NEW YORK, NY 10017

2. 550     AMENDMENT NO. 1 TO AUTHORIZED                              101316                   H.D. SMITH LLC                      ATTN: GENERAL COUNSEL
           DISTRIBUTOR AGREEMENT EFFECTIVE                                                                                         3201 WEST WHITE OAKS DRIVE
           AS OF JUNE 30, 2017                                                                                                     SUITE 400
                                                                                                                                   SPRINGFIELD, IL 62704

2. 551     AMENDMENT NO. 2 TO AUTHORIZED                              101317                   H.D. SMITH LLC                      ATTN: GENERAL COUNSEL
           DISTRIBUTOR AGREEMENT EFFECTIVE                                                                                         3201 WEST WHITE OAKS DRIVE
           AS OF JULY 01, 2018                                                                                                     SUITE 400
                                                                                                                                   SPRINGFIELD, IL 62704

2. 552     AMENDMENT NO. 2 TO DISTRIBUTION                            101318                   H.D. SMITH LLC                      ATTN: GENERAL COUNSEL
           PERFORMANCE AGREEMENT                                                                                                   3201 WEST WHITE OAKS DRIVE
           EFFECTIVE AS OF JULY 01, 2018                                                                                           SUITE 400
                                                                                                                                   SPRINGFIELD, IL 62704

2. 553     AMENDMENT NO. 1 TO DISTRIBUTION                            101319                   H.D. SMITH LLC. F/K/A H.D. SMITH    ATTN: GENERAL COUNSEL
           PERFORMANCE AGREEMENT                                                               WHOLESALE DRUG CO.                  3063 FIAT AVENUE
           EFFECTIVE AS OF JUNE 30, 2015                                                                                           SPRINGFIELD, IL 62703

2. 554     AUTHORIZED DISTRIBUTOR                                     101320                   H.D. SMITH WHOLESALE DRUG CO.       ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JULY                                                                                          3063 FIAT AVENUE
           01, 2012                                                                                                                SPRINGFIELD, IL 62703

2. 555     DISTRIBUTION PERFORMANCE                                   101321                   H.D. SMITH WHOLESALE DRUG CO.       ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JULY                                                                                          3063 FIAT AVENUE
           01, 2012                                                                                                                SPRINGFIELD, IL 62703

2. 556     J. DAVID HADDOX, D.D.S., M.D. -          12/31/2019        106089                   HADDOX, J. DAVID DDS, M.D.          NOT AVAILABLE
           CONSULTANT SERVICES AGREEMENT
           7MAR19 (AM.CG) EFFECTIVE MARCH 07,
           2019



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Schedule G: Executory Contracts and Unexpired Leases
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2. 557     GENERAL CONTRACTOR                                         101323                   HAHR & LYONS CONSTRUCTION, LLC    ATTN: PAUL HAHR
           CONSTRUCTION SERVICES                                                                                                 24 COKESBURY ROAD, SUITE 8
           AGREEMENT DATED AUGUST 17, 2007                                                                                       LEBANON 08833

2. 558     GENERAL CONTRACTOR                                         101325                   HAHR & LYONS CONSTRUCTION, LLC    ATTN: PAUL H. HAHR, PRESIDENT
           CONSTRUCTION SERVICES                                                                                                 24 COKESBURY ROAD, SUITE 8
           AGREEMENT DATED JUNE 07, 2010                                                                                         LEBANON, NJ 08833

2. 559     GENERAL CONTRACTOR                                         101324                   HAHR & LYONS CONSTRUCTION, LLC    ATTN: PAUL H. HAHR
           CONSTRUCTION SERVICES                                                                                                 24 COKESBURY ROAD
           AGREEMENT DATED SEPTEMBER 01,                                                                                         SUITE 8
           2009                                                                                                                  LEBANON, NJ 08833

2. 560     MASTER SERVICES AGREEMENT                                  101326                   HALE ADVISORS, INC.               ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF SEPTEMBER 26, 2016                                                                                    1 NORTH FRONT STREET
                                                                                                                                 2ND FLOOR
                                                                                                                                 KINGSTON, NY

2. 561     QUALITY AGREEMENT EFFECTIVE AS                             101327                   HALO PHARMACEUTICAL INC           ATTN: GENERAL COUNSEL
           OF AUGUST 07, 2015                                                                                                    30 NORTH JEFFERSON ROAD
                                                                                                                                 WHIPPANY, NJ 07981

2. 562     MASTER MANUFACTURING AND                                   106241                   HALO PHARMACEUTICAL, INC.         ATTN: GENERAL COUNSEL
           SUPPLY AGREEMENT DATED JANUARY                                                                                        30 NORTH JEFFERSON ROAD
           27, 2010 (LAST AMENDED JANUARY 19,                                                                                    WHIPPANY, NJ 07981
           2017) BETWEEN HALO
           PHARMACEUTICAL, INC. AND THE
           COMPANY

2. 563     QUALITY AGREEMENT DATED JUNE 26,                           101328                   HALO PHARMACEUTICAL, INC.         ATTN: GENERAL COUNSEL
           2009                                                                                                                  30 NORTH JEFFERSON ROAD
                                                                                                                                 WHIPPANY, NJ 07981

2. 564     SUPPLY AGREEMENT DATED                                     101328                   HALO PHARMACEUTICAL, INC.         ATTN: GENERAL COUNSEL
           DECEMBER 1, 2008 (LAST AMENDED                                                                                        30 NORTH JEFFERSON ROAD
           JUNE 13, 2017) BETWEEN HALO                                                                                           WHIPPANY, NJ 07981
           PHARMACEUTICAL, INC. AND THE
           COMPANY




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2. 565     CLINICAL AGREEMENT DATED                                   101334                   HARRIS LABORATORIES, INC.       ATTN: GENERAL COUNSEL
           DECEMBER 16, 1996                                                                                                   621 ROSE STREET
                                                                                                                               PO BOX 80837
                                                                                                                               LINCOLN, NE 68501

2. 566     MASTER SERVICES AGREEMENT                                  101348                   HB COMMUNICATIONS INC           ATTN: TIMOTHY HUTTON
           EFFECTIVE AS OF JUNE 30, 2011                                                                                       60 DODGE AVENUE
                                                                                                                               NORTH HAVEN, CT 06473

2. 567     AMENDMENT NO. 2 TO MASTER                                  101349                   HB COMMUNICATIONS, INC.         ATTN: TIMOTHY HUTTON
           SERVICES AGREEMENT DATED MAY 15,                                                                                    60 DODGE AVENUE
           2016                                                                                                                NORTH HAVEN, CT 06473

2. 568     STATEMENT OF WORK NO. 19 DATED                             101351                   HB COMMUNICATIONS, INC.         ATTN: TIMOTHY HUTTON
           OCTOBER 31, 2016                                                                                                    60 DODGE AVENUE
                                                                                                                               NORTH HAVEN, CT 06473

2. 569     STATEMENT OF WORK NO. 19 TO                                101350                   HB COMMUNICATIONS, INC.         ATTN: TIMOTHY HUTTON
           MASTER SERVICES AGREEMENT                                                                                           60 DODGE AVENUE
           DATED OCTOBER 31, 2016                                                                                              NORTH HAVEN, CT 06473

2. 570     MASTER SERVICES AGREEMENT                                  101352                   HB LIVE, INC                    ATTN: JONATHAN KAUFMAN
           EFFECTIVE AS OF OCTOBER 15, 2016                                                                                    60 DODGE AVENUE
                                                                                                                               NORTH HAVEN, CT 06473

2. 571     AMENDMENT #1 TO MASTER SERVICES                            101353                   HBE SOLUTIONS, LLC              ATTN: GENERAL COUNSEL
           AGREEMENT DATED MARCH 12, 2016                                                                                      415 MADISON AVENUE
                                                                                                                               13TH FLOOR
                                                                                                                               NEW YORK, NY 10017

2. 572     MASTER SERVICES AGREEMENT                                  101354                   HBE SOLUTIONS, LLC              ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF OCTOBER 31, 2013                                                                                    415 MADISON AVENUE
                                                                                                                               13TH FLOOR
                                                                                                                               NEW YORK, NY 10017

2. 573     AMENDMENT NO. 1 TO STATEMENT OF                            101358                   HCL AMERICA INC.                ATTN: MANOJ KENKARE,
           WORK DATED APRIL 14, 2015                                                                                           ACCOUNT MANAGER
                                                                                                                               330 POTRERO AVENUE
                                                                                                                               SUNNYVALE, CA 94085




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2. 574     AMENDMENT TO STATEMENT OF WORK                             101359                   HCL AMERICA INC.              ATTN: MANOJ KENKARE,
           DATED JANUARY 25, 2017                                                                                            ACCOUNT MANAGER
                                                                                                                             330 POTRERO AVENUE
                                                                                                                             SUNNYVALE, CA 94085

2. 575     STATEMENT OF WORK DATED APRIL 10,                          101355                   HCL AMERICA INC.              ATTN: MANOJ KENKARE,
           2014                                                                                                              ACCOUNT MANAGER
                                                                                                                             330 POTRERO AVENUE
                                                                                                                             SUNNYVALE, CA 94085

2. 576     STATEMENT OF WORK EFFECTIVE AS                             101356                   HCL AMERICA INC.              ATTN: MANOJ KENKARE,
           OF MAY 01, 2014                                                                                                   ACCOUNT MANAGER
                                                                                                                             330 POTRERO AVENUE
                                                                                                                             SUNNYVALE, CA 94085

2. 577     TELEPHONE NUMBER RETENTION                                 101357                   HCL AMERICA INC.              ATTN: MANOJ KENKARE,
           AGREEMENT EFFECTIVE AS OF JULY                                                                                    ACCOUNT MANAGER
           15, 2014                                                                                                          330 POTRERO AVENUE
                                                                                                                             SUNNYVALE, CA 94085

2. 578     AMENDMENT NO. 2 TO MASTER                                  101361                   HCL AMERICA, INC.             ATTN: MANOJ KENKARE,
           SERVICES AGREEMENT DATED JUNE                                                                                     ACCOUNT MANAGER
           06, 2014                                                                                                          330 POTRERO AVENUE
                                                                                                                             SUNNYVALE, CA 94085

2. 579     AMENDMENT NO. 2 TO STATEMENT OF                            101363                   HCL AMERICA, INC.             ATTN: MANOJ KENKARE,
           WORK DATED JULY 15, 2015                                                                                          ACCOUNT MANAGER
                                                                                                                             330 POTRERO AVENUE
                                                                                                                             SUNNYVALE, CA 94085

2. 580     MASTER SERVICES AGREEMENT                                  101360                   HCL AMERICA, INC.             ATTN: MANOJ KENKARE,
           EFFECTIVE AS OF AUGUST 01, 2009                                                                                   ACCOUNT MANAGER
                                                                                                                             330 POTRERO AVENUE
                                                                                                                             SUNNYVALE, CA 94085

2. 581     STATEMENT OF WORK EFFECTIVE AS                             101364                   HCL TECHNOLOGIES LIMITED      ATTN: GENERAL COUNSEL
           OF JANUARY 01, 2019                                                                                               806 SIDDHARTH
                                                                                                                             96 NEHRU PLACE
                                                                                                                             NEW DELHI 110019
                                                                                                                             INDIA



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2. 582     HEALTHACE LTD. SOW CW2367851              7/31/2020        106139                   HEALTHACE LTD                  ATTN: GENERAL COUNSEL
           SD.RA) EFFECTIVE AUGUST 01, 2019                                                                                   370 LEXINGTON AVE.
                                                                                                                              SUITE 1702
                                                                                                                              NEW YORK, NY 10017

2. 583     TERMS OF SERVICE EFFECTIVE AS OF                           101368                   HEALTHACE LTD                  ATTN: GENERAL COUNSEL
           AUGUST 01, 2019                                                                                                    370 LEXINGTON AVE.
                                                                                                                              SUITE 1702
                                                                                                                              NEW YORK, NY 10017

2. 584     MASTER SERVICES AGREEMENT                                  101369                   HEALTHAGEN LLC                 ATTN: LOUIS SANQUINI
           EFFECTIVE AS OF DECEMBER 01, 2017                                                                                  151 FARMINGTON AVENUE
                                                                                                                              HARTFORD, CT 06156

2. 585     MASTER SERVICES AGREEMENT                                  101371                   HEALTHCARE INNOVATION AND      ATTN: STAN KACHNOWSKI AND
           EFFECTIVE AS OF NOVEMBER 15, 2016                                                   TECHNOLOGY LAB, INC.           LAURA PUGLLESE
                                                                                                                              3960 BROADWAY, LAB 501
                                                                                                                              NEW YORK, NY 10032

2. 586     AMENDMENT NO. 3 TO STUDY                                   101372                   HEALTHCARE RESEARCH, LLC,      ATTN: GENERAL COUNSEL
           SPECIFICATION EFFECTIVE AS OF                                                                                      711 OLD BALLAS ROAD
           FEBRUARY 22, 2005                                                                                                  SUITE 104
                                                                                                                              ST. LOUIS, MO 63141

2. 587     AMENDMENT TO NO. 4 TO STATEMENT                            101374                   HEALTHCORE INC                 ATTN: GENERAL COUNSEL
           OF WORK NO. 1 DATED JANUARY 10,                                                                                    123 JUSTISON STREET, SUITE 200
           2019                                                                                                               WILMINGTON, DE 19801

2. 588     MASTER SERVICES AGREEMENT                                  101373                   HEALTHCORE INC                 ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF DECEMBER 19, 2016                                                                                  123 JUSTISON STREET, SUITE 200
                                                                                                                              WILMINGTON, DE 19801

2. 589     EQUIPMENT SUPPLY CONTRACT DATED                            101389                   HENRY FORD HEALTH SYSTEMS      ATTN: GENERAL COUNSEL
           APRIL 19, 2000                                                                                                     2799 WEST GRAND BOULEVARD
                                                                                                                              K-16
                                                                                                                              DETROIT, MI 48202

2. 590     MASTER SERVICES AGREEMENT                                  101390                   HERRMANN INTERNATIONAL INC.    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JUNE 06, 2016                                                                                      794 BUFFALO CREEK ROAD
                                                                                                                              LAKE LURE, NC 28746



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2. 591     HP CUSTOMER TERMS DATED                                    101398                   HEWLETT-PACKARD COMPANY           ATTN: GENERAL COUNSEL
           OCTOBER 15, 2013                                                                                                      9737 WASHINGTONIAN BLVD.
                                                                                                                                 GAITHERSBURG, MD 20878

2. 592     COMPUTER EQUIPMENT AGREEMENT                               101400                   HILL TOP RESEARCH, INC.           ATTN: GENERAL COUNSEL
           DATED APRIL 19, 2000                                                                                                  7555 EAST OSBORN ROAD
                                                                                                                                 SUITE 200
                                                                                                                                 SCOTTSDALE, AZ 85251

2. 593     HOFMEISTER, CRAIG, M.D. - CSA             5/31/2020        105924                   HOFMEISTER, CRAIG, M.D.           NOT AVAILABLE
           CW2367031 (SS.RA) EFFECTIVE JUNE
           01, 2019

2. 594     AMENDMENT NO. 1 TO STUDY                                   101402                   HOLSTON MEDICAL GROUP, PC         ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #003                                                                                              2323 N JOHN B DENNIS HWY,
           EFFECTIVE AS OF DECEMBER 29, 2003                                                                                     KINGSPORT, TN 37660

2. 595     AMENDMENT NO. 2 TO STUDY                                   101403                   HOLSTON MEDICAL GROUP, PC         ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER DATED JUNE                                                                                        2324 N JOHN B DENNIS HWY,
           14, 2004                                                                                                              KINGSPORT, TN 37660

2. 596     AMENDMENT #001 TO MASTER SITE                              101408                   HOPE RESEARCH INSTITUTE, LLC.     NOT AVAILABLE
           MANAGEMENT ORGANIZATION
           AGREEMENT EFFECTIVE AS OF MARCH
           28, 2003

2. 597     QUALITY AGREEMENT DATED AUGUST                             101409                   HOSPIRA, INC.                     ATTN: GENERAL COUNSEL
           29, 2011                                                                                                              275 NORTH FIELD DRIVE
                                                                                                                                 LAKE FOREST, IL

2. 598     AMENDMENT NO. 4 MASTER SERVICES                            101414                   HR FOCAL POINT, LLC               NOT AVAILABLE
           AGREEMENT DATED FEBRUARY 01, 2018

2. 599     SEARCH FIRM AGREEMENT DATED                                101415                   HR SEARCH PARTNERS                ATTN: GENERAL COUNSEL
           FEBRUARY 01, 2012                                                                                                     1501 BROADWAY
                                                                                                                                 12TH FLOOR
                                                                                                                                 NEW YORK, NY 10036

2. 600     SERVICE AGREEMENT - CPG DATED                              101422                   IBOTTA, INC.                      ATTN: GENERAL COUNSEL
           DECEMBER 15, 2016                                                                                                     1801 CALIFORNIA ST, SUITE 400
                                                                                                                                 DENVER, CO 80202

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2. 601     IEP TECHNOLOGIES MSA                      5/31/2021        106118                   IEP TECHNOLOGIES LLC               NOT AVAILABLE
           CW2366899              (AH.KM)
           EFFECTIVE MAY 17, 2019

2. 602     PREFERRED ESCROW AGREEMENT                                 101431                   IMAGE SOLUTIONS, INC.              ATTN: SUNJOO SHIN
           EFFECTIVE AS OF FEBRUARY 01, 2003                                                                                      100 SOUTH JEFFERSON ROAD
                                                                                                                                  WHIPPANY, NJ 07981

2. 603     MASTER SERVICES AGREEMENT                                  101437                   IMPACT LEARNING & DEVELOPMENT,     ATTN: GENERAL COUNSEL
           DATED MARCH 07, 2016                                                                INC. (DBA IMPACT INTERNATIONAL)    18 WEST PUTNAM AVENUE
                                                                                                                                  GREENWICH, CT 06901

2. 604     DISTRIBUTION AND SUPPLY                                    106246                   IMPAX LABORATORIES, INC.           ATTN: GENERAL COUNSEL
           AGREEMENT BETWEEN IMPAX                                                                                                31047 GENSTAR ROAD
           LABORATORIES, INC. AND PURDUE                                                                                          HAYWARD, CA 94544
           PHARMA L.P., DATED NOVEMBER 27,
           2013

2. 605     PHARMACOVIGILANCE AGREEMENT                                101440                   IMPAX LABORATORIES, INC.           ATTN: GENERAL COUNSEL
           EXECUTED DECEMBER 21, 2015                                                                                             31047 GENSTAR ROAD
                                                                                                                                  HAYWARD, CA 94544

2. 606     QUALITY AGREEMENT DATED                                    101439                   IMPAX LABORATORIES, INC.           ATTN: TIM BAUER, SENIOR
           DECEMBER 15, 2015                                                                                                      DIRECTOR EXTERNAL
                                                                                                                                  MANUFACTURING QUALITY
                                                                                                                                  2 WALNUT GROVE DRIVE, SUITE
                                                                                                                                  190
                                                                                                                                  HORSHAM, PA 19044

2. 607     STATEMENT OF WORK EFFECTIVE AS                             101445                   IMS HEALTH INCORPORATED            ATTN: GENERAL COUNSEL
           OF JANUARY 13, 2016                                                                                                    ONE IMS DRIVE
                                                                                                                                  PLYMOTH MEETING, PA 19462

2. 608     CONTRACT STUDY AGREEMENT                                   101449                   INA RESEARCH INC.                  ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JANUARY 16, 2008                                                                                       2148-188 NISHIMINOWA
                                                                                                                                  INA-SHI
                                                                                                                                  NAGANO-KEN 399-4501




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2. 609     PROJECT SPECIFICATION ORDER                                101452                   INC RESEARCH TORONTO, INC        ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MARCH 23, 2018                                                                                       720 KING STREET WEST, 7TH
                                                                                                                                FLOOR
                                                                                                                                TORONTO, ON M5V 2T3
                                                                                                                                CANADA

2. 610     AMENDMENT NO. 3 TO MASTER CRO                              101453                   INC RESEARCH, LLC                ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT EFFECTIVE AS                                                                                      3201 BEECHLEAF COURT, SUITE
           OF MARCH 07, 2011                                                                                                    600
                                                                                                                                RALEIGH, NC 27604

2. 611     MASTER CRO SERVICES AGREEMENT                              101454                   INC RESEARCH, LLC                ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MARCH 07, 2011                                                                                       3201 BEECHLEAF COURT, SUITE
                                                                                                                                600
                                                                                                                                RALEIGH, NC 27604

2. 612     PROJECT SPECIFICATION ORDER TO                             101455                   INC RESEARCH, LLC                ATTN: GENERAL COUNSEL
           MASTER CRO SERVICES AGREEMENT                                                                                        3201 BEECHLEAF COURT, SUITE
           EFFECTIVE AS OF MAY 27, 2013                                                                                         600
                                                                                                                                RALEIGH, NC 27604

2. 613     LETTER: CONSENT EXECUTED                                   101456                   INC. RESEARCH                    ATTN: ANDREW SHAW, SENIOR
           JANUARY 07, 2014                                                                                                     CORPORATE COUNSEL
                                                                                                                                3201 BEECHLEAF COURT
                                                                                                                                RALEIGH, NC 27604

2. 614     STUDY SPECIFICATION ORDER #001                             101461                   INDEPENDENT RESEARCH NURSES      ATTN: GENERAL COUNSEL
           DATED NOVEMBER 11, 2003                                                             D/B/A OMEGA MEDICAL RESEARCH     400 BALD HILL ROAD
                                                                                                                                WARWICK, RI 02886

2. 615     AMENDMENT#1: TO MASTER CLINICAL                            101462                   INDEPENDENT RESEARCH NURSES,     ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED DECEMBER                                                      INC.                             400 BALD HILL ROAD
           03, 2003                                                                                                             WARWICK, RI 02886

2. 616     AMENDMENT NO. 2 TO STUDY                                   101463                   INDEPENDENT RESEARCH NURSES,      ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER EXECUTED                                                        INC. D/B/A OMEGA MEDICAL RESEARCH 400 BALD HILL ROAD
           AUGUST 16, 2004                                                                                                       WARWICK, RI 02886

2. 617     INDUSTRIAL AND CONSTRUCTION              12/31/2020        106129                   INDUSTRIAL CONSTRUCTION          NOT AVAILABLE
           ENTERPRISES, INC. - MASTER                                                          ENTERPRISES
           SERVICES AGREEMENT (AH.RA)
           EFFECTIVE JANUARY 01, 2019
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2. 618     INFO-TECH RESEARCH GROUP INC. -            5/5/2021        106037                   INFO TECH RESEARCH GROUP INC        NOT AVAILABLE
           CSA CW2366753 (PB.RA) EFFECTIVE
           MAY 06, 2019

2. 619     INFORMA BUSINESS INTELLIGENCE,            5/29/2020        106027                   INFORMA BUSINESS INTELLIGENCE INC PO BOX 415214
           INC. - CSA CW2367111 AML ANALYSIS                                                                                     BOSTON, MA 02241
           (LH.RA) EFFECTIVE MAY 30, 2019

2. 620     AMENDMENT 3 TO CONTRACT FOR                                101469                   INFORMATION RESOURCES, INC.         NOT AVAILABLE
           INFOSCAN SERVICES DATED JULY 14,
           2003

2. 621     SERVICES AGREEMENT DATED JULY 01,                          101470                   INFOTRIEVE, INC.                    ATTN: GENERAL COUNSEL
           2004                                                                                                                    11755 WILSHIRE BOULEVARD
                                                                                                                                   19TH FLOOR
                                                                                                                                   LOS ANGELES, CA 90025

2. 622     AMENDMENT #1 TO PROJECT                                    101471                   INGENIX PHARMACEUTICAL SERVICES,    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #1 DATED                                                        INC.                                1001 WINSTEAD DRIVE
           NOVEMBER 09, 2001                                                                                                       SUITE 530
                                                                                                                                   CARY, NC 27513

2. 623     AMENDMENT TO CLINICAL TRIAL                                101473                   INGENIX PHARMACEUTICAL SERVICES,    ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                           INC.                                131 MORRISTOWN ROAD
           OCTOBER 09, 2003                                                                                                        BASKING RIDGE, NJ 07920

2. 624     AMENDMENT TO CLINICAL TRIAL                                101474                   INGENIX PHARMACEUTICAL SERVICES,    ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                           INC.                                131 MORRISTOWN ROAD
           OCTOBER 09, 2003                                                                                                        BASKING RIDGE, NJ 07920

2. 625     INVESTIGATOR AGREEMENT                                     101472                   INGENIX PHARMACEUTICAL SERVICES,    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF SEPTEMBER 24, 2001                                                  INC.                                1001 WINSTEAD DRIVE
                                                                                                                                   SUITE 530
                                                                                                                                   CARY, NC 27513

2. 626     MED-TURN (INMAR) RETURNS MGMT            12/31/2021        106047                   INMAR RX SOLUTIONS INC              NOT AVAILABLE
           AGREEMENT 1AUG2018 CW2362683
           (RJ.RA) EFFECTIVE JANUARY 01, 2019




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2. 627     MED-TURN AMD RECALL MANAGEMENT           12/31/2021        106048                   INMAR RX SOLUTIONS INC             NOT AVAILABLE
           AGREEMENT CW2360722 (RJ.JM)
           EFFECTIVE JANUARY 01, 2019

2. 628     INNOPLEXUS HOLDINGS INC. CSA              5/28/2022        106193                   INNOPLEXUS HOLDINGS INC            NOT AVAILABLE
           CW2367048 (SD.RA) EFFECTIVE MAY 29,
           2019

2. 629     AMENDMENT #1 TO MASTER SERVICES                            101476                   INNOVATIVE INFORMATION             NOT AVAILABLE
           AGREEMENT DATED DECEMBER 18,                                                        SOLUTIONS, INC.
           2014

2. 630     AMENDMENT #1: TO STUDY                                     101477                   INNOVATIVE RESEARCH CONSULTING,    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #002 DATED                                                      LLC                                D/B/A SOUTHBAY PHARMA
           JUNE 14, 2004                                                                                                          RESEARCH
                                                                                                                                  6888 LINCOLN AVENUE, SUITE M
                                                                                                                                  BUENA PARK, CA 90620

2. 631     STUDY SPECIFICATION ORDER TO                               101478                   INNOVATIVE RESEARCH CONSULTING,    ATTN: GENERAL COUNSEL
           MASTER CLINICAL TRIAL AGREEMENT                                                     LLC                                D/B/A SOUTHBAY PHARMA
           EFFECTIVE AS OF FEBRUARY 13, 2004                                                                                      RESEARCH
                                                                                                                                  6888 LINCOLN AVENUE, SUITE M
                                                                                                                                  BUENA PARK, CA 90620

2. 632     STUDY SPECIFICATION ORDER #002 TO                          101479                   INNOVATIVE RESEARCH CONSULTING,    ATTN: VIOLET LUISZER
           MASTER CLINICAL TRIAL AGREEMENT                                                     LLC D/B/A SOUTHBAY PHARMA          6888 LINCOLN AVENUE, SUITE L
           DATED MAY 20, 2004                                                                  RESEARCH                           BUENA PARK, CA 90620

2. 633     AMENDMENT #1: TO MASTER CLINICAL                           101481                   INNOVATIVE RESEARCH OF WEST FL     ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED JUNE 14,                                                      INC.                               360 CLEARWATER LARGO RD.
           2004                                                                                                                   LARGO, FL 33770

2. 634     AMENDMENT #1: TO MASTER CLINICAL                           101482                   INNOVATIVE RESEARCH OF WEST FL     ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED JUNE 14,                                                      INC.                               360 CLEARWATER LARGO RD.
           2004                                                                                                                   LARGO, FL 33770

2. 635     AMENDMENT NO. 2 TO STUDY                                   101483                   INNOVATIVE RESEARCH OF WEST FL     ATTN: GENERAL COUNSEL
           SPECIFICATION DATED FEBRUARY 04,                                                    INC.                               360 CLEARWATER LARGO RD.
           2012                                                                                                                   LARGO, FL 33770




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Schedule G: Executory Contracts and Unexpired Leases
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2. 636     STUDY SPECIFICATION ORDER #002                             101480                   INNOVATIVE RESEARCH OF WEST FL     ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF FEBRUARY 27, 2004                                                   INC.                               360 CLEARWATER LARGO RD.
                                                                                                                                  LARGO, FL 33770

2. 637     AMENDMENT NO. 2 TO STUDY                                   101484                   INNOVATIVE RESEARCH OF WEST FL.    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER DATED                                                           INC.                               360 CLEARWATER LARGO RD.
           FEBRUARY 22, 2005                                                                                                      LARGO, FL 33770

2. 638     MASTER SERVICES AGREEMENT                                  101485                   INSTRON, INC.                      ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF APRIL 01, 2016                                                                                         TWO CITY PLACE DRIVE
                                                                                                                                  SUITE 400
                                                                                                                                  ST. LOUIS, MO 63141

2. 639     STATEMENT OF WORK NO.3 TO                                  101486                   INSTRON, INC.                      ATTN: GENERAL COUNSEL
           MASTER SERVICES AGREEMENT                                                                                              TWO CITY PLACE DRIVE
           DATED APRIL 01, 2016                                                                                                   SUITE 400
                                                                                                                                  ST. LOUIS, MO 63141

2. 640     INTEGRATED BEHAVIORAL                     3/31/2020        105970                   INTEGRATED BEHAVIORAL HEALTH,      3070 BRISTOL ST STE 350
           HEALTH_INFLEXXION SOW CW2366066                                                     INC.                               COSTA MESA, CA 92626
           OXYCONTIN AD BOARD CONSULTING -
           JODY GREEN (LH.RA) EFFECTIVE
           MARCH 25, 2019

2. 641     AMENDMENT NO. 1 TO LOGISTICS                               101499                   INTEGRATED COMMERCIALIZATION       ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT DATED JULY                                                       SOLUTIONS INC.                     1300 MORRIS DRIVE
           01, 2018                                                                                                               CHESTERBROOK, PA 19087

2. 642     LOGISTICS SERVICES AGREEMENT                               101497                   INTEGRATED COMMERCIALIZATION       ATTN: PRESIDENT
           DATED NOVEMBER 01, 2015                                                             SOLUTIONS INC.                     3101 GAYLORD PARKWAY
                                                                                                                                  FRISCO, TX 75034

2. 643     LOGISTICS SERVICES AGREEMENT                               101498                   INTEGRATED COMMERCIALIZATION       ATTN: PRESIDENT
           EFFECTIVE AS OF NOVEMBER 01, 2015                                                   SOLUTIONS INC.                     3101 GAYLORD PARKWAY
                                                                                                                                  FRISCO, TX 75034




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2. 644     LOGISTICS SERVICES AGREEMENT                               106250                   INTEGRATED COMMERCIALIZATION        NOT AVAILABLE
           (“LSA”), DATED AS OF NOVEMBER 1,                                                    SOLUTIONS INC.
           2015, BY AND AMONG PURDUE
           PHARMA. L.P. AND INTEGRATED
           COMMERCIALIZATION SOLUTIONS INC.
           AND AMERISOURCEBERGEN DRUG
           CORPORATION

2. 645     AMENDMENT #1 TO LOGISTICS                                  101500                   INTEGRATED COMMERCIALIZATION        ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT EFFECTIVE AS                                                     SOLUTIONS, INC.                     1300 MORRIS DRIVE
           OF OCTOBER 31, 2016                                                                                                     CHESTERBROOK, PA 19087

2. 646     AGREEMENT RE: DESIGN/BUILD                                 101501                   INTEGRATED PROJECT SERVICES, INC.   ATTN: GENERAL COUNSEL
           SERVICES DATED SEPTEMBER 03, 2003                                                                                       105 RAIDER BOULEVARD
                                                                                                                                   HILLSBOROUGH, NJ 08844

2. 647     MASTER SERVICES AGREEMENT                                  101503                   INTEGREON MANAGED SOLUTIONS,        ATTN: LEGAL DEPARTMENT
           EFFECTIVE AS OF JANUARY 01, 2019                                                    INC.                                1450 BROADWAY, SUITE 620
                                                                                                                                   NEW YORK, NY 10018

2. 648     MASTER SERVICES AGREEMENT                                  101504                   INTEGREON MANAGED SOLUTIONS,        ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MARCH 01, 2017                                                      INC.                                1450 BROADWAY
                                                                                                                                   SUITE 1100
                                                                                                                                   NEW YORK, NY 10018

2. 649     STATEMENT OF WORK #4 UNDER                                 101506                   INTEGREON MANAGED SOLUTIONS,        ATTN: GENERAL COUNSEL
           MASTER SERVICES AGREEMENT                                                           INC.                                1450 BROADWAY
           EFFECTIVE AS OF MAY 23, 2018                                                                                            SUITE 1100
                                                                                                                                   NEW YORK, NY 10018

2. 650     STATEMENT OF WORK NO.3 UNDER                               101505                   INTEGREON MANAGED SOLUTIONS,        ATTN: GENERAL COUNSEL
           MASTER SERVICES AGREEMENT                                                           INC.                                1450 BROADWAY
           EFFECTIVE AS OF MARCH 01, 2018                                                                                          SUITE 1100
                                                                                                                                   NEW YORK, NY 10018

2. 651     AMENDMENT NO. 2 TO STUDY                                   101509                   INTEGRITY CLINICAL RESEARCH, LLC    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER DATED JUNE                                                                                          1059 JONES BOULEVARD
           14, 2004                                                                                                                MILAN, TX 38358

2. 652     AMENDMENT NO. 3 TO STUDY                                   101510                   INTEGRITY CLINICAL RESEARCH, LLC    ATTN: GENERAL COUNSEL
           SPECIFICATION EFFECTIVE AS OF                                                                                           1059 JONES BOULEVARD
           JANUARY 19, 2005                                                                                                        MILAN, TX 38358
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2. 653     STUDY SPECIFICATION ORDER #001                             101508                   INTEGRITY CLINICAL RESEARCH, LLC    ATTN: GENERAL COUNSEL
           DATED DECEMBER 01, 2003                                                                                                 1059 JONES BOULEVARD
                                                                                                                                   MILAN, TX 38358

2. 654     AMENDMENT TO DISTRIBUTION                                  101517                   INTERFERON SCIENCES, INC.           NOT AVAILABLE
           AGREEMENT DATED MARCH 29, 1995

2. 655     KOL DATABASE SOW EXTENSION 2019                            101523                   INTERNATIONAL BUSINESS MACHINES     ATTN: GENERAL COUNSEL
           CW2364617 PB.RA DATED DECEMBER                                                      CORPORATION                         1 ORCHARD ROAD
           19, 2018                                                                                                                ARMONK, NY 10504

2. 656     AMENDMENT #1: TO MASTER CLINICAL                           101526                   INTERNATIONAL CLINICAL RESEARCH     ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED JUNE 14,                                                      NETWORK                             855 THIRD AVENUE
           2004                                                                                                                    SUITE 2210
                                                                                                                                   CHULA VISTA, CA 91910

2. 657     AMENDMENT #1: TO MASTER CLINICAL                           101527                   INTERNATIONAL CLINICAL RESEARCH     ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED JUNE 14,                                                      NETWORK                             855 THIRD AVENUE
           2004                                                                                                                    SUITE 2210
                                                                                                                                   CHULA VISTA, CA 91910

2. 658     AMENDMENT NO. 2 TO STUDY                                   101530                   INTERNATIONAL CLINICAL RESEARCH     ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER DATED                                                           NETWORK                             855 THIRD AVENUE
           DECEMBER 01, 2004                                                                                                       SUITE 2210
                                                                                                                                   CHULA VISTA, CA 91910

2. 659     STUDY SPECIFICATION ORDER #001                             101525                   INTERNATIONAL CLINICAL RESEARCH     ATTN: GENERAL COUNSEL
           DATED JANUARY 14, 2004                                                              NETWORK                             855 THIRD AVENUE
                                                                                                                                   SUITE 2210
                                                                                                                                   CHULA VISTA, CA 91910

2. 660     STUDY SPECIFICATION ORDER #002                             101528                   INTERNATIONAL CLINICAL RESEARCH     ATTN: GENERAL COUNSEL
           MASTER CLINICAL TRIAL AGREEMENT                                                     NETWORK                             855 THIRD AVENUE
           EFFECTIVE AS OF MARCH 11, 2004                                                                                          SUITE 2210
                                                                                                                                   CHULA VISTA, CA 91910

2. 661     AMENDMENT NO. 3 TO STUDY                                   101531                   INTERNATIONAL CLINICAL RESEARCH     ATTN: GENERAL COUNSEL
           SPECIFICATION EFFECTIVE AS OF                                                       NETWORK, INC.                       855 THIRD AVENUE
           FEBRUARY 22, 2005                                                                                                       SUITE 2210
                                                                                                                                   CHULA VISTA, CA 91911



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2. 662     SERVICES AGREEMENT EFFECTIVE AS                            101532                   INTERNATIONAL MEDICAL TECHNICAL        ATTN: GENERAL COUNSEL
           OF JUNE 30, 1998                                                                    CONSULTANTS, INC.                      16300 COLLEGE BOULEVARD
                                                                                                                                      LENEXA, KS 66219

2. 663     PROGRAM SERVICES AGREEMENT                                 101534                   INTERNATIONAL PHARMACEUTICAL           NOT AVAILABLE
           DATED DECEMBER 10, 2003                                                             EXCIPIENTS AUDITING, INC.

2. 664     AMENDMENT #1: TO MASTER CLINICAL                           101536                   INTERNIST ASSOCIATES OF CNY            ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED JUNE 14,                                                                                             739 IRVING AVENUE
           2004                                                                                                                       SUITE 200
                                                                                                                                      SYRACUSE, NY 13210

2. 665     STUDY SPECIFICATION ORDER #001                             101535                   INTERNIST ASSOCIATES OF CNY            ATTN: GENERAL COUNSEL
           DATED DECEMBER 19, 2003                                                                                                    739 IRVING AVENUE
                                                                                                                                      SUITE 200
                                                                                                                                      SYRACUSE, NY 13210

2. 666     INVENTIV COMMERICAL SERVICE SOW           7/28/2021        106162                   INVENTIV COMMERCIAL SERVICES LLC       500 ATRIUM DR
           CSO CW2366741 (SD.RA) EFFECTIVE                                                                                            SOMERSET, NJ 08873
           MAY 10, 2019

2. 667     AMENDED AND RESTATED MASTER                                101538                   INVENTIV HEALTH CLINIC LAB, INC.       ATTN: GENERAL COUNSEL
           PROJECT SPECIFICATION ORDER                                                                                                P.O. BOX 415914
           EFFECTIVE AS OF JANUARY 01, 2017                                                                                           BOSTON, MA 02241-8302

2. 668     LETTER: CONSENT EXECUTED                                   101540                   INVENTIV HEALTH CLINICAL               ATTN: GENERAL COUNSEL
           JANUARY 24, 2014                                                                                                           1787 SENTRY PARKWAY WEST
                                                                                                                                      SUITE 300, BUILDING 16
                                                                                                                                      BLUE BELL, PA 19422

2. 669     INVENTIV PSO CW2367113 NAL1002            5/31/2020        106011                   INVENTIV HEALTH CLINICAL LAB INC       PO BOX 415914
           (LH.RA) EFFECTIVE JUNE 01, 2019                                                                                            BOSTON, MA 02241

2. 670     MASTER PROJECT SPECIFICATION                               101542                   INVENTIVE HEALTH CLINICAL LAB, INC.    ATTN: GENERAL COUNSEL
           ORDER TO MASTER LABORATORY                                                                                                 1787 SENTRY PARKWAY WEST
           SERVICES AGREEMENT EFFECTIVE AS                                                                                            SUITE 300, BUILDING 16
           OF JANUARY 01, 2017                                                                                                        BLUE BELL, PA 19422

2. 671     AGREEMENT LETTER DATED MAY 25,                             101547                   IOKINETIC, LLC                         ATTN: GENERAL COUNSEL
           2017                                                                                                                       95 STILES ROAD
                                                                                                                                      SALEM, NH 03079

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2. 672     AMENDED AND RESTATED                                       101555                   IQVIA INC           ATTN: GENERAL COUNSEL
           PRODUCT/SERVICE ORDER EFFECTIVE                                                                         ONE IMS DRIVE
           AS OF JANUARY 14, 2019                                                                                  PLYMOUTH MEETING, PA 19462

2. 673     IQVIA INC. - AMENDMENT 1 TO SOW          12/31/2019        106169                   IQVIA INC           ATTN: GENERAL COUNSEL
           VALUCENTRIC SCORECARD CW2367563                                                                         ONE IMS DRIVE
           (SD.RA) EFFECTIVE JULY 01, 2019                                                                         PLYMOUTH MEETING, PA 19462

2. 674     IQVIA INC. - AMENDMENT 8 TO              12/31/2019        106132                   IQVIA INC           ATTN: GENERAL COUNSEL
           VALUECENTRIC HOSTED SERVICES                                                                            ONE IMS DRIVE
           AGREEMENT CW2367664 (SD.RA)                                                                             PLYMOUTH MEETING, PA 19462
           EFFECTIVE JULY 01, 2019

2. 675     IQVIA INC. - AMENDMENT TO SOW            12/31/2020        106191                   IQVIA INC           ATTN: GENERAL COUNSEL
           MASTER DATA CW2365832(SD.RA)                                                                            ONE IMS DRIVE
           EFFECTIVE JANUARY 01, 2019                                                                              PLYMOUTH MEETING, PA 19462

2. 676     IQVIA INC. - AMENDMENT TO SOW            12/31/2020        106145                   IQVIA INC           ATTN: GENERAL COUNSEL
           OPIOID DATA CW2367027(SD.RA)                                                                            ONE IMS DRIVE
           EFFECTIVE MAY 06, 2019                                                                                  PLYMOUTH MEETING, PA 19462

2. 677     IQVIA INC. - PSO REGULATORY               2/24/2020        106189                   IQVIA INC           ATTN: GENERAL COUNSEL
           CONSULTING CW2365794 (SD.RA)                                                                            ONE IMS DRIVE
           EFFECTIVE FEBRUARY 25, 2019                                                                             PLYMOUTH MEETING, PA 19462

2. 678     IQVIA INC. - SOW - OPIOID PATIENT         7/19/2020        106080                   IQVIA INC           ATTN: GENERAL COUNSEL
           COUNTS CW2367867 (RA) EFFECTIVE                                                                         ONE IMS DRIVE
           JULY 19, 2019                                                                                           PLYMOUTH MEETING, PA 19462

2. 679     IQVIA INC. - SOW PARALLEL TESTING         7/27/2020        106137                   IQVIA INC           ATTN: GENERAL COUNSEL
           SUPPORT CW2367801(SD.RA)                                                                                ONE IMS DRIVE
           EFFECTIVE JUNE 27, 2019                                                                                 PLYMOUTH MEETING, PA 19462

2. 680     IQVIA INC. SOW TRACKER CW2366807          3/31/2020        106159                   IQVIA INC           ATTN: GENERAL COUNSEL
           (SD.RA) EFFECTIVE MAY 08, 2019                                                                          ONE IMS DRIVE
                                                                                                                   PLYMOUTH MEETING, PA 19462

2. 681     STATEMENT OF WORK EFFECTIVE AS                             101556                   IQVIA INC           ATTN: GENERAL COUNSEL
           OF FEBRUARY 12, 2019                                                                                    ONE IMS DRIVE
                                                                                                                   PLYMOUTH MEETING, PA 19462


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2. 682     STATEMENT OF WORK EFFECTIVE AS                             101551                   IQVIA INC                         ATTN: GENERAL COUNSEL
           OF FEBRUARY 15, 2019                                                                                                  ONE IMS DRIVE
                                                                                                                                 PLYMOTH MEETING, PA 19462

2. 683     STATEMENT OF WORK EFFECTIVE AS                             101552                   IQVIA INC                         ATTN: GENERAL COUNSEL
           OF JANUARY 01, 2018                                                                                                   ONE IMS DRIVE
                                                                                                                                 PLYMOUTH MEETING, PA 19462

2. 684     STATEMENT OF WORK EFFECTIVE AS                             101550                   IQVIA INC                         ATTN: GENERAL COUNSEL
           OF SEPTEMBER 14, 2018                                                                                                 ONE IMS DRIVE
                                                                                                                                 PLYMOUTH MEETING, PA 19462

2. 685     MASTER LABORATORY SERVICES                                 101558                   IRIS PHARMA                       ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                                                             ONE STAMFORD FORUM
           SEPTEMBER 29, 2017                                                                                                    STAMFORD, CT 06901

2. 686     QUALITY AGREEMENT DATED MARCH                              101563                   IVAX PHARMACEUTICALS, INC.        ATTN: ADEL KHEIR-ELDIN, VICE
           14, 2005                                                                                                              PRESIDENT, QUALITY; JUAN
                                                                                                                                 CARLOS TORRES, MANAGER
                                                                                                                                 REGULATORY; KATH KEES,
                                                                                                                                 ASSOCIAT DIRECTOR, QA & DEA

2. 687     AMENDMENT NO. 1 TO STUDY                                   101572                   J. LEWIS RESEARCH INC.            ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #001                                                                                              3191 SOUTH 330 EAST
           EFFECTIVE AS OF NOVEMBER 20, 2003                                                                                     SUITE 100C
                                                                                                                                 SALT LAKE CITY, UT 84109

2. 688     STUDY SPECIFICATION ORDER #001                             101571                   J. LEWIS RESEARCH INC.            ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF NOVEMBER 30, 2003                                                                                     3191 SOUTH 330 EAST
                                                                                                                                 SUITE 100C
                                                                                                                                 SALT LAKE CITY, UT 84109

2. 689     STUDY SPECIFICATION ORDER #002 TO                          101570                   J. LEWIS RESEARCH INC.            ATTN: JANET LEWIS
           MASTER SITE MANAGEMENT                                                                                                3191 SOUTH 3300 EAST, SUITE
           ORGANIZATION AGREEMENT DATED                                                                                          100C
           NOVEMBER 20, 2003                                                                                                     SALT LAKE CITY, UT 84109

2. 690     AMENDMENT NO. 2 TO STUDY                                   101573                   J. LEWIS RESEARCH, INC.           ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER DATED JUNE                                                                                        3191 SOUTH 330 EAST
           14, 2004                                                                                                              SUITE 100C
                                                                                                                                 SALT LAKE CITY, UT 84109

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2. 691     MASTER SERVICES AGREEMENT                                  101574                   J.KNIPPER AND COMPANY, INC.     ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JANUARY 11, 2017                                                                                    ONE HEALTHCARE WAY
                                                                                                                               LAKEWOOD 08701

2. 692     ADDENDUM NO. 1 TO AMENDED AND                              101581                   JANSSEN PHARMACEUTICALS INC     ATTN: GENERAL COUNSEL
           RESTATED STATEMENT OF WORK                                                                                          JANSSEN PHARMACEUTICALAAN 3
           EFFECTIVE AS OF APRIL 01, 2015                                                                                      GEEL, BELGIUM 2440

2. 693     AMENDMENT NO. 2 TO STUDY                                   101589                   JBA RESEARCH                    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER DATED                                                                                           1045 E 3900 SOUTH
           FEBRUARY 22, 2005                                                                                                   SALT LAKE CITY, UT 84124

2. 694     STUDY SPECIFICATION ORDER #002                             101587                   JBA RESEARCH                    ATTN: GENERAL COUNSEL
           DATED JULY 15, 2003                                                                                                 1045 E 3900 SOUTH
                                                                                                                               SALT LAKE CITY, UT 84124

2. 695     STUDY SPECIFICATION ORDER #003                             101590                   JBA RESEARCH                    ATTN: MINDI TURPIN; RONI
           MASTER SITE MANAGEMENT                                                                                              O'CALLAHAN
           ORGANIZATION AGREEMENT                                                                                              1045 E. 3900 SOUTH
           EFFECTIVE AS OF MARCH 01, 2004                                                                                      SALT LAKE CITY, UT 82124

2. 696     WASSERSTEIN, JEANETTE CSA 0101019                          101593                   JEANETTE WASSERSTEIN, PH.D.     ATTN: GENERAL COUNSEL
           CW2364676 (SS.SD) DATED JANUARY                                                                                     1160 FIFTH AVENUE, SUITE 112
           01, 2019                                                                                                            NEW YORK, NY 10029

2. 697     AMENDMENT TO STATEMENTS OF                                 101597                   JEFFREY GUDIN, MD               ATTN: GENERAL COUNSEL
           WORK EFFECTIVE AS OF JUNE 02, 2016                                                                                  5506 S. EMPORIA CIRCLE
                                                                                                                               GREENWOOD VILLAGE, CO 80111

2. 698     SERVICE AGREEMENT DATED MARCH                              101601                   JL SHAPIRO ASSOCIATES, INC.     ATTN: GENERAL COUNSEL
           13, 2003                                                                                                            292 FERNWOOD AVENUE
                                                                                                                               EDISON, NJ 08837

2. 699     AMENDMENT NO. 1 TO AUTHORIZED                              101607                   JM SMITH CORPORATION            ATTN: GENERAL COUNSEL
           DISTRIBUTOR AGREEMENT EFFECTIVE                                                                                     9098 FAIRFOREST ROAD
           AS OF APRIL 15, 2016                                                                                                SPARTANBURG, SC 29301

2. 700     AMENDMENT NO. 1 TO DISTRIBUTION                            101604                   JM SMITH CORPORATION            ATTN: GENERAL COUNSEL
           PERFORMANCE AGREEMENT                                                                                               9098 FAIRFOREST ROAD
           EFFECTIVE AS OF JUNE 30, 2015                                                                                       SPARTANBURG, SC 29301


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2. 701     AMENDMENT NO. 2 TO AUTHORIZED                              101605                   JM SMITH CORPORATION               ATTN: GENERAL COUNSEL
           DISTRIBUTOR AGREEMENT EFFECTIVE                                                                                        9098 FAIRFOREST ROAD
           AS OF JUNE 30, 2017                                                                                                    SPARTANBURG, SC 29301

2. 702     AMENDMENT NO. 2 TO DISTRIBUTION                            101606                   JM SMITH CORPORATION               ATTN: GENERAL COUNSEL
           PERFORMANCE AGREEMENT AND                                                                                              9098 FAIRFOREST ROAD
           TERMINATION EFFECTIVE AS OF MAY                                                                                        SPARTANBURG, SC 29301
           04, 2018

2. 703     AUTHORIZED DISTRIBUTOR                                     101602                   JM SMITH CORPORATION               ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JULY                                                                                         9098 FAIRFOREST ROAD
           01, 2012                                                                                                               SPARTANBURG, SC 29301

2. 704     DISTRIBUTION PERFORMANCE                                   101603                   JM SMITH CORPORATION               ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JULY                                                                                         9098 FAIRFOREST ROAD
           01, 2012                                                                                                               SPARTANBURG, SC 29301

2. 705     ARCHITECT SERVICES AGREEMENT                               101614                   JOHN STANDISH PERRIN ARCHITECT,    ATTN: JOHN STANDISH PERRIN
           DATED AUGUST 18, 2003                                                               LLC                                1164 FOOTHILL WAY
                                                                                                                                  MOUNTAINSIDE, NJ 07092

2. 706     STATEMENT OF WORK #20 EFFECTIVE                            101615                   JOHNSON CONTROLS, INC.             ATTN: GENERAL COUNSEL
           AS OF MAY 01, 2016                                                                                                     5757 NORTH GREEN BAY AVENUE
                                                                                                                                  MILWAUKEE, WI 53209

2. 707     AFFILIATE ELECTION ADDENDUM                                101622                   JPMORGAN CHASE BANK, N.A.          ATTN: MASTER PRODUCT
           DATED JUNE 09, 2005                                                                                                    AGREEMENT MANAGER
                                                                                                                                  TREASURY SERVICES
                                                                                                                                  1 CHASE MANHATTAN PLAZA, 9TH
                                                                                                                                  FLOOR
                                                                                                                                  NEW YORK, NY 10081

2. 708     AFFILIATE ELECTION ADDENDUM                                101623                   JPMORGAN CHASE BANK, N.A.          ATTN: MASTER PRODUCT
           DATED JUNE 09, 2005                                                                                                    AGREEMENT MANAGER
                                                                                                                                  TREASURY SERVICES
                                                                                                                                  1 CHASE MANHATTAN PLAZA, 9TH
                                                                                                                                  FLOOR
                                                                                                                                  NEW YORK, NY 10081




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2. 709     AFFILIATE ELECTION ADDENDUM                                101624                   JPMORGAN CHASE BANK, N.A.      ATTN: MASTER PRODUCT
           DATED JUNE 09, 2005                                                                                                AGREEMENT MANAGER
                                                                                                                              TREASURY SERVICES
                                                                                                                              1 CHASE MANHATTAN PLAZA, 9TH
                                                                                                                              FLOOR
                                                                                                                              NEW YORK, NY 10081

2. 710     AFFILIATE ELECTION ADDENDUM                                101625                   JPMORGAN CHASE BANK, N.A.      ATTN: MASTER PRODUCT
           DATED JUNE 09, 2005                                                                                                AGREEMENT MANAGER
                                                                                                                              TREASURY SERVICES
                                                                                                                              1 CHASE MANHATTAN PLAZA, 9TH
                                                                                                                              FLOOR
                                                                                                                              NEW YORK, NY 10081

2. 711     AFFILIATE ELECTION ADDENDUM                                101626                   JPMORGAN CHASE BANK, N.A.      ATTN: MASTER PRODUCT
           DATED JUNE 09, 2005                                                                                                AGREEMENT MANAGER
                                                                                                                              TREASURY SERVICES
                                                                                                                              1 CHASE MANHATTAN PLAZA, 9TH
                                                                                                                              FLOOR
                                                                                                                              NEW YORK, NY 10081

2. 712     MASTER IMPLEMENTATION FORM                                 101627                   JPMORGAN CHASE BANK, N.A.      ATTN: MASTER PRODUCT
           EXECUTED JUNE 13, 2005                                                                                             AGREEMENT MANAGER
                                                                                                                              TREASURY SERVICES
                                                                                                                              1 CHASE MANHATTAN PLAZA, 9TH
                                                                                                                              FLOOR
                                                                                                                              NEW YORK, NY 10081

2. 713     AUTHORSHIP AGREEMENT DATED                                 101628                   JULIE KANTER-WASHKO, M.D.      ATTN: GENERAL COUNSEL
           NOVEMBER 20, 2017                                                                                                  102 PRESIDENT CIRCLE
                                                                                                                              SUMMERVILLE, SC 29483

2. 714     AMENDMENT NO. 1 TO MASTER                                  101630                   JUNIPER CONSULTING GROUP       NOT AVAILABLE
           SERVICES AGREEMENT DATED JUNE
           22, 2016

2. 715     AMENDMENT #4 MASTER SERVICES                               101636                   KANTAR HEALTH INC              ATTN: GENERAL COUNSEL
           AGREEMENT DATED OCTOBER 16, 2018                                                                                   11 MADISON AVENUE
                                                                                                                              NEW YORK, NY 10010




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2. 716     MASTER SERVICES AGREEMENT                                  101635                   KANTAR HEALTH INC                    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF SEPTEMBER 28, 2011                                                                                       11 MADISON AVENUE
                                                                                                                                    NEW YORK, NY 10010

2. 717     STATEMENT OF WORK #2018-3 UNDER                            101637                   KANTAR HEALTH LLC                    ATTN: GENERAL COUNSEL
           MASTER SERVICE AGREEMENT DATED                                                                                           11 MADISON AVENUE
           OCTOBER 16, 2018                                                                                                         NEW YORK, NY 10010

2. 718     STATEMENT OF WORK UNDER MASTER                             101638                   KANTAR HEALTH LLC                    ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                                                                11 MADISON AVENUE
           OCTOBER 16, 2018                                                                                                         NEW YORK, NY 10010

2. 719     MASTER SERVICES AGREEMENT                                  101639                   KANTAR LLC D/B/A KANTAR MILLWARD     ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF FEBRUARY 06, 2017                                                   BROWN                                401 MERRITT 7
                                                                                                                                    3RD FLOOR
                                                                                                                                    NORWALK, CT 06851

2. 720     DISTRIBUTION AND SUPPLY                                    106253                   KASHIV PHARMA, LLC                   ATTN: GENERAL COUNSEL
           AGREEMENT AMONG PURDUE PHARMA                                                                                            1 NEW ENGLAND AVE,
           L.P., AND KASHIV PHARMA, LLC DATED                                                                                       PISCATAWAY, NJ 08854
           AUGUST 9, 2018

2. 721     SEARCH FIRM AGREEMENT DATED MAY                            101644                   KELLY SERVICES, INC.                 ATTN: GENERAL COUNSEL
           19, 2011                                                                                                                 999 WEST BIG BEAVER ROAD
                                                                                                                                    TROY, MI 48084

2. 722     AMENDMENT #1 TO MASTER SERVICES                            101646                   KERNEL RESEARCH                      NOT AVAILABLE
           AGREEMENT EFFECTIVE AS OF MAY 31,
           2017

2. 723     AMENDMENT #002 TO MASTER SITE                              101656                   KEYSTONE CLINICAL SOLUTIONS, INC.    ATTN: SHARI ELLIOTT-EDEVANE;
           MANAGEMENT ORGANIZATION                                                                                                  KAREN HASS
           AGREEMENT EFFECTIVE AS OF MARCH                                                                                          3900 INDUSTRIAL PARK DRIVE
           28, 2003                                                                                                                 SUITE 8
                                                                                                                                    ALTOONA, PA 16602

2. 724     AMENDMENT #1 TO STUDY                                      101659                   KEYSTONE CLINICAL SOLUTIONS, INC.    ATTN: SHARI ELLIOTT-EDEVANE;
           SPECIFICATION ORDER #004                                                                                                 KAREN HASS
           EFFECTIVE AS OF JUNE 14, 2004                                                                                            3900 INDUSTRIAL PARK DRIVE
                                                                                                                                    SUITE 8
                                                                                                                                    ALTOONA, PA 16602

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2. 725     AMENDMENT #1: TO STUDY                                     101649                   KEYSTONE CLINICAL SOLUTIONS, INC.    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #003                                                                                                 3900 INDUSTRIAL PARK DRIVE
           EFFECTIVE AS OF NOVEMBER 13, 2003                                                                                        SUITE 9
                                                                                                                                    ALTOONA, PA 16602

2. 726     AMENDMENT #1: TO STUDY                                     101655                   KEYSTONE CLINICAL SOLUTIONS, INC.    ATTN: SHARI ELLIOTT-EDEVANE;
           SPECIFICATION ORDER #005 DATED                                                                                           KAREN HASS
           JUNE 14, 2004                                                                                                            3900 INDUSTRIAL PARK DRIVE
                                                                                                                                    SUITE 8
                                                                                                                                    ALTOONA, PA 16602

2. 727     AMENDMENT #1: TO STUDY                                     101654                   KEYSTONE CLINICAL SOLUTIONS, INC.    ATTN: SHARI ELLIOTT-EDEVANE;
           SPECIFICATION ORDER #006 DATED                                                                                           KAREN HASS
           JUNE 14, 2004                                                                                                            3900 INDUSTRIAL PARK DRIVE
                                                                                                                                    SUITE 8
                                                                                                                                    ALTOONA, PA 16602

2. 728     AMENDMENT NO. 2 TO STUDY                                   101660                   KEYSTONE CLINICAL SOLUTIONS, INC.    ATTN: SHARI ELLIOTT-EDEVANE;
           SPECIFICATION EFFECTIVE AS OF                                                                                            KAREN HASS
           DECEMBER 01, 2004                                                                                                        3900 INDUSTRIAL PARK DRIVE
                                                                                                                                    SUITE 8
                                                                                                                                    ALTOONA, PA 16602

2. 729     AMENDMENT NO. 2 TO STUDY                                   101657                   KEYSTONE CLINICAL SOLUTIONS, INC.    ATTN: SHARI ELLIOTT-EDEVANE;
           SPECIFICATION ORDER DATED                                                                                                KAREN HASS
           FEBRUARY 02, 2004                                                                                                        3900 INDUSTRIAL PARK DRIVE
                                                                                                                                    SUITE 8
                                                                                                                                    ALTOONA, PA 16602

2. 730     AMENDMENT NO. 2 TO STUDY                                   101658                   KEYSTONE CLINICAL SOLUTIONS, INC.    ATTN: SHARI ELLIOTT-EDEVANE;
           SPECIFICATION ORDER DATED JUNE                                                                                           KAREN HASS
           14, 2004                                                                                                                 3900 INDUSTRIAL PARK DRIVE
                                                                                                                                    SUITE 8
                                                                                                                                    ALTOONA, PA 16602

2. 731     AMENDMENT NO. 3 TO STUDY                                   101661                   KEYSTONE CLINICAL SOLUTIONS, INC.    ATTN: SHARI ELLIOTT-EDEVANE;
           SPECIFICATION EFFECTIVE AS OF                                                                                            KAREN HASS
           FEBRUARY 22, 2005                                                                                                        3900 INDUSTRIAL PARK DRIVE
                                                                                                                                    SUITE 8
                                                                                                                                    ALTOONA, PA 16602




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2. 732     AMENDMENT NO. 3 TO STUDY                                   101662                   KEYSTONE CLINICAL SOLUTIONS, INC.    ATTN: GENERAL COUNSEL
           SPECIFICATION EFFECTIVE AS OF                                                                                            3900 INDUSTRIAL PARK DRIVE,
           FEBRUARY 22, 2005                                                                                                        SUITE 8
                                                                                                                                    ALTOONA, PA 16602

2. 733     STUDY SPECIFICATION ORDER #002                             101647                   KEYSTONE CLINICAL SOLUTIONS, INC.    ATTN: GENERAL COUNSEL
           DATED FEBRUARY 04, 2002                                                                                                  3900 INDUSTRIAL PARK DRIVE
                                                                                                                                    SUITE 9
                                                                                                                                    ALTOONA, PA 16602

2. 734     STUDY SPECIFICATION ORDER #003                             101650                   KEYSTONE CLINICAL SOLUTIONS, INC.    ATTN: SHARI ELLIOTT-EDEVANE;
           MASTER SITE MANAGEMENT                                                                                                   KAREN HASS
           ORGANIZATION AGREEMENT                                                                                                   3900 INDUSTRIAL PARK DRIVE
           EFFECTIVE AS OF NOVEMBER 13, 2003                                                                                        SUITE 8
                                                                                                                                    ALTOONA, PA 16602

2. 735     STUDY SPECIFICATION ORDER #004                             101651                   KEYSTONE CLINICAL SOLUTIONS, INC.    ATTN: SHARI ELLIOTT-EDEVANE;
           MASTER SITE MANAGEMENT                                                                                                   KAREN HASS
           ORGANIZATION AGREEMENT                                                                                                   3900 INDUSTRIAL PARK DRIVE
           EFFECTIVE AS OF JANUARY 26, 2004                                                                                         SUITE 8
                                                                                                                                    ALTOONA, PA 16602

2. 736     STUDY SPECIFICATION ORDER #005                             101652                   KEYSTONE CLINICAL SOLUTIONS, INC.    ATTN: SHARI ELLIOTT-EDEVANE;
           MASTER SITE MANAGEMENT                                                                                                   KAREN HASS
           ORGANIZATION AGREEMENT                                                                                                   3900 INDUSTRIAL PARK DRIVE
           EFFECTIVE AS OF JANUARY 26, 2004                                                                                         SUITE 8
                                                                                                                                    ALTOONA, PA 16602

2. 737     STUDY SPECIFICATION ORDER #006                             101653                   KEYSTONE CLINICAL SOLUTIONS, INC.    ATTN: SHARI ELLIOTT-EDEVANE;
           MASTER SITE MANAGEMENT                                                                                                   KAREN HASS
           ORGANIZATION AGREEMENT                                                                                                   3900 INDUSTRIAL PARK DRIVE
           EFFECTIVE AS OF JANUARY 26, 2004                                                                                         SUITE 8
                                                                                                                                    ALTOONA, PA 16602

2. 738     AMENDMENT NO. 1 TO STATEMENT OF                            101663                   KFORCE INC.                          ATTN: GENERAL COUNSEL
           WORK EFFECTIVE AS OF MARCH 17,                                                                                           1001 EAST PALM AVENUE
           2003                                                                                                                     TAMPA, FL 33605

2. 739     AMENDMENT TO CLINICAL TRIAL                                101666                   KINGS HARBOR MULTICARE               ATTN: GENERAL COUNSEL
           AGREEMENT DATED NOVEMBER 17,                                                        CENTER/SUBACUTE NETWORK, LLC         1979 MARCUS AVENUE
           2000                                                                                                                     LAKE SUCCESS, NY 11042


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2. 740     STUDY SPECIFICATION ORDER #003                             101669                   KKR MEDICAL RESEARCH           ATTN: CATHY MONROE; ROBERT
           MASTER CLINICAL TRIAL AGREEMENT                                                                                    FREEDENFELD
           EFFECTIVE AS OF FEBRUARY 19, 2004                                                                                  811 SOUTH CENTRAL
                                                                                                                              EXPRESSWAY
                                                                                                                              SUITE 436
                                                                                                                              RICHARDSON, TX 75080

2. 741     DEVELOPMENT AGREEMENT DATED                                101670                   KLARIA AB                      ATTN: CHIEF EXECUTIVE OFFICER
           AUGUST 08, 2017                                                                                                    VIRDING ALLÉ 2
                                                                                                                              UPPSALA, SWEDEN 75450

2. 742     KLICK USA, INC. ORDER FORM KINETIQ        2/27/2020        106151                   KLICK USA INC                  ATTN: GENERAL COUNSEL
           CW2366174 (SD.RA) EFFECTIVE                                                                                        500 NORTH MICHIGAN AVENUE
           FEBRUARY 27, 2019                                                                                                  SUITE 600
                                                                                                                              CHICAGO, IL

2. 743     MASTER SERVICES AGREEMENT                                  101673                   KMR GROUP, INC.                ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MARCH 10, 2017                                                                                     15 N. WACKER DRIVE, 1070
                                                                                                                              CHICAGO, IL 60606

2. 744     AMENDMENT #1 TO MASTER SERVICES                            101677                   KORSCH AMERICA, INC            ATTN: FREDERICK J MURRAY,
           AGREEMENT EFFECTIVE AS OF MAY 01,                                                                                  PRESIDENT
           2016                                                                                                               18 BRISTOL DRIVE
                                                                                                                              SOUTH EASTON, MA 02375

2. 745     STATEMENT OF WORK EFFECTIVE AS                             101678                   KPMG LLP                       ATTN: GENERAL COUNSEL
           OF MAY 16, 2018                                                                                                    1350 AVENUE OF THE AMERICAS
                                                                                                                              NEW YORK, NY 10019

2. 746     AMENDMENT #1: TO STUDY                                     101684                   KRK MEDICAL RESEARCH           ATTN: ROBERT FREEDENFELD,
           SPECIFICATION ORDER #003 DATED                                                                                     SITE MANAGER
           JUNE 14, 2004                                                                                                      811 S/ CENTRAL EXPWY, STE 436
                                                                                                                              RICHARDSON, TX 75080

2. 747     AMENDMENT NO. 1 TO STUDY                                   101685                   KRK MEDICAL RESEARCH           ATTN: ROBERT FREEDENFELD,
           SPECIFICATION ORDER #002                                                                                           SITE MANAGER
           EFFECTIVE AS OF JANUARY 09, 2004                                                                                   811 S/ CENTRAL EXPWY, STE 436
                                                                                                                              RICHARDSON, TX 75080




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2. 748     AMENDMENT NO. 2 TO STUDY                                   101687                   KRK MEDICAL RESEARCH           ATTN: ROBERT FREEDENFELD,
           SPECIFICATION ORDER DATED                                                                                          SITE MANAGER
           DECEMBER 03, 2004                                                                                                  811 S/ CENTRAL EXPWY, STE 436
                                                                                                                              RICHARDSON, TX 75080

2. 749     AMENDMENT NO. 2 TO STUDY                                   101686                   KRK MEDICAL RESEARCH           ATTN: ROBERT FREEDENFELD,
           SPECIFICATION ORDER DATED JUNE                                                                                     SITE MANAGER
           14, 2004                                                                                                           811 S/ CENTRAL EXPWY, STE 436
                                                                                                                              RICHARDSON, TX 75080

2. 750     AMENDMENT NO. 3 TO STUDY                                   101689                   KRK MEDICAL RESEARCH           ATTN: ROBERT FREEDENFELD,
           SPECIFICATION EFFECTIVE AS OF                                                                                      SITE MANAGER
           DECEMBER 10, 2004                                                                                                  811 S/ CENTRAL EXPWY, STE 436
                                                                                                                              RICHARDSON, TX 75080

2. 751     AMENDMENT NO. 3 TO STUDY                                   101690                   KRK MEDICAL RESEARCH           ATTN: ROBERT FREEDENFELD,
           SPECIFICATION EFFECTIVE AS OF                                                                                      SITE MANAGER
           FEBRUARY 22, 2005                                                                                                  811 S/ CENTRAL EXPWY, STE 436
                                                                                                                              RICHARDSON, TX 75080

2. 752     STUDY SPECIFICATION ORDER #002 TO                          101683                   KRK MEDICAL RESEARCH           ATTN: ROBERT FREEDENFELD,
           MASTER CLINICAL TRIAL AGREEMENT                                                                                    SITE MANAGER
           EFFECTIVE AS OF JANUARY 09, 2004                                                                                   811 S/ CENTRAL EXPWY, STE 436
                                                                                                                              RICHARDSON, TX 75080

2. 753     DISTRIBUTION AND SUPPLY                                    101691                   KV PHARMACEUTICAK COMPANY      ATTN: GENERAL COUNSEL
           AGREEMENT DATED JUNE 09, 2009                                                                                      2503 SOUTH HANLEY ROAD
                                                                                                                              SAINT LOUIS, MO 63144

2. 754     AMENDMENT NO. 1 TO DISTRIBUTION                            101693                   KV PHARMACEUTICAL COMPANY      ATTN: GENERAL COUNSEL
           AND SUPPLY AGREEMENT DATED JULY                                                                                    2503 SOUTH HANLEY ROAD
           28, 2009                                                                                                           SAINT LOUIS, MO 63144

2. 755     DISTRIBUTION AND SUPPLY                                    101695                   KVK-TECH, INC                  ATTN: GENERAL COUNSEL
           AGREEMENT DATED DECEMBER 22,                                                                                       110 TERRY DRIVE
           2017                                                                                                               SUITE 200
                                                                                                                              NEWTON, PA 18940

2. 756     PHARMACOVIGILANCE AGREEMENT                                101696                   KVK-TECH, INC                  ATTN: GENERAL COUNSEL
           DATED DECEMBER 22, 2017                                                                                            110 TERRY DRIVE
                                                                                                                              SUITE 200
                                                                                                                              NEWTON, PA 18940
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2. 757     QUALITY AGREEMENT DATED                                    101697                   KVK-TECH, INC                ATTN: GENERAL COUNSEL
           DECEMBER 22, 2017                                                                                                110 TERRY DRIVE
                                                                                                                            SUITE 200
                                                                                                                            NEWTON, PA 18940

2. 758     AMENDMENT TO SUPPLY AGREEMENT                              101704                   LABOPHARM EUROPE LIMITED     ATTN: GENERAL COUNSEL
           DATED MAY 01, 2005                                                                                               5 THE SEAPOINT BUILDING, 45
                                                                                                                            CLONTARF ROAD
                                                                                                                            DUBLIN
                                                                                                                            IRAN, ISLAMIC REPUBLIC OF

2. 759     SUPPLY AGREEMENT DATED OCTOBER                             101703                   LABOPHARM EUROPE LIMITED     ATTN: GENERAL COUNSEL
           31, 2005                                                                                                         5 THE SEAPOINT BUILDING, 45
                                                                                                                            CLONTARF ROAD
                                                                                                                            DUBLIN
                                                                                                                            IRAN, ISLAMIC REPUBLIC OF

2. 760     QUALITY AGREEMENT DATED                                    101709                   LABOPHARM INC.               ATTN: GENERAL COUNSEL
           DECEMBER 23, 2011                                                                                                5 THE SEAPOINT BUILDING, 45
                                                                                                                            CLONTARF ROAD
                                                                                                                            DUBLIN
                                                                                                                            IRAN, ISLAMIC REPUBLIC OF

2. 761     QUALITY AGREEMENT DATED                                    101706                   LABOPHARM INC.               ATTN: GENERAL COUNSEL
           FEBRUARY 16, 2006                                                                                                5 THE SEAPOINT BUILDING, 45
                                                                                                                            CLONTARF ROAD
                                                                                                                            DUBLIN
                                                                                                                            IRAN, ISLAMIC REPUBLIC OF

2. 762     QUALITY AGREEMENT DATED MARCH                              101707                   LABOPHARM INC.               ATTN: GENERAL COUNSEL
           16, 2010                                                                                                         5 THE SEAPOINT BUILDING, 45
                                                                                                                            CLONTARF ROAD
                                                                                                                            DUBLIN
                                                                                                                            IRAN, ISLAMIC REPUBLIC OF

2. 763     SECOND AMMENDMENT TO SUPPLY                                101712                   LABOPHARM INC.               ATTN: GENERAL COUNSEL
           AGREEMENT DATED JANUARY 01, 2012                                                                                 5 THE SEAPOINT BUILDING, 45
                                                                                                                            CLONTARF ROAD
                                                                                                                            DUBLIN
                                                                                                                            IRAN, ISLAMIC REPUBLIC OF




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2. 764     DRAFT MANUFACTURING AND SUPPLY                             101719                   LABORATORIES DEL DR. ESTEVE S.A.    ATTN: GENERAL COUNSEL, LEGAL
           AGREEMENT                                                                                                               DEPARTMENT
                                                                                                                                   221 AVINGUDA DEL LA MARE DE
                                                                                                                                   DEU DE MONTSERRAT
                                                                                                                                   BARCELONA, SPAIN 8041

2. 765     MASTER CLINICAL TRIALS                                     101722                   LABORATORY CORPORATION OF           ATTN: GENERAL COUNSEL
           LABORATORY SERVICES AGREEMENT                                                       AMERICA HOLDINGS                    358 SOUTH MAIN STREET
           DATED FEBRUARY 22, 1999                                                                                                 BURLINGTON, NC 27215

2. 766     AMENDMENT #1 TO MASTER CLINICAL                            101723                   LABORATORY CORPORATION OF           ATTN: GENERAL COUNSEL
           TRIALS LABORATORY SERVICES                                                          AMERICA HOLDINGS SERVICES           1904 ALEXANDER DRIVE
           AGREEMENT EFFECTIVE AS OF                                                                                               RESEARCH TRIANGLE PARK, NC
           JANUARY 01, 2004                                                                                                        27709

2. 767     AMENDMENT #2 TO MASTER SERVICES                            101728                   LABWARE, INC.                       ATTN: GENERAL COUNSEL
           AGREEMENT DATED FEBRUARY 14, 2018                                                                                       THREE MILL ROAD
                                                                                                                                   WILMINGTON, DE 19806

2. 768     AMENDMENT NO. 2 TO MASTER                                  101726                   LABWARE, INC.                       ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT DATED                                                                                                THREE MILL ROAD
           FEBRUARY 14, 2018                                                                                                       WILMINGTON, DE 19806

2. 769     KNOW-HOW ASSIGNMENT DATED JULY                             101734                   LADENBURG BV                        ATTN: GENERAL COUNSEL
           28, 2005                                                                                                                VAN ALKEMADELAAN 1
                                                                                                                                   DEN HAAG 2597-AA
                                                                                                                                   NIGER

2. 770     LATITUDE PHARMACEUTICALS INC. -           5/14/2020        105990                   LATITUDE PHARMACEUTICALS INC.       NOT AVAILABLE
           PSO RILUZOLE FORMULATION
           CW2366883 (LH.RA) EFFECTIVE MAY 15,
           2019

2. 771     MASTER LABORATORY SERVICES                                 101740                   LATITUDE PHARMACEUTICALS INC.       ATTN: GENERAL COUNSEL
           AGREEMENT DATED MARCH 01, 2018                                                                                          9675 BUSINESSPARK AENUE
                                                                                                                                   SAN DIEGO, CA 92131

2. 772     PROJECT SPECIFICATION ORDER #2018-                         101739                   LATITUDE PHARMACEUTICALS INC.       ATTN: MATTHEW A. SINGER, PHD
           1 TO MASTER LABORATORY SERVICES                                                                                         9675 BUSINESSPARK AVENUE
           AGREEMENT EFFECTIVE AS OF MARCH                                                                                         SAN DIEGO, CA 92131
           28, 2018

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2. 773     MASTER CLINICAL TRIAL AGREEMENT                            101751                   LE BONHEUR CHILDREN'S HOSPITAL    ATTN: GENERAL COUNSEL
           DATED DECEMBER 01, 2014                                                             FOUNDATION-LE BONHEUR             1211 UNION AVENUE, SUITE 700
                                                                                               HEALTHCARE                        MEMPHIS, TN 38104

2. 774     MASTER SERVICES AGREEMENT                                  101753                   LEARNING PLUS INC                 ATTN: MARTI MATTHEWS
           DATED SEPTEMBER 15, 2016                                                                                              1140 HIGHLAND AVENUE
                                                                                                                                 ROCHESTER, NY 14620

2. 775     AGREEMENT RELATING TO THE                                  101755                   LEICESTER CLINICAL RESEARCH       ATTN: GENERAL COUNSEL
           PROVISION OF CLINICAL TRIAL                                                         CENTRE LTD                        72 HOSPITAL CLOSE
           SERVICES EXECUTED JUNE 26, 2001                                                                                       LEICESTER LES 4WW

2. 776     RISK MANAGEMENT SERVICES ORDER                             101761                   LEXISNEXIS                        ATTN: GENERAL COUNSEL
           FORM DATED APRIL 13, 2012                                                                                             1000 ALDERMAN DRIVE
                                                                                                                                 ALPHARETTA, GA 30005

2. 777     SUBSCRIPTION PLAN AMENDMENT                                101760                   LEXISNEXIS                        ATTN: GENERAL COUNSEL
           DATED FEBRUARY 01, 2003                                                                                               1000 ALDERMAN DRIVE
                                                                                                                                 ALPHARETTA, GA 30005

2. 778     AMENDMENT #3 TO INTEGRATION                                101762                   LIAISON TECHNOLOGIES, INC.        ATTN: GENERAL COUNSEL
           SERVICES ORDER #001 DATED                                                                                             3157 ROYAL DRIVE, SUITE 200
           DECEMBER 01, 2018                                                                                                     ALPHARETTA, GA 30022

2. 779     SEARCH FIRM SERVICE AGREEMENT                              101764                   LIBRARY CONSULTING SERVICES       NOT AVAILABLE
           DATED DECEMBER 17, 2003

2. 780     AMENDMENT NO. 1 TO MASTER                                  101768                   LIEBERMAN, INC.                   NOT AVAILABLE
           SERVICES AGREEMENT DATED MAY 22,
           2018

2. 781     LIGHTPATH SERVICE AGREEMENT                                101770                   LIGHTPATH, INC.                   ATTN: GENERAL COUNSEL
           CW2357075 (DS.RA) DATED AUGUST 11,                                                                                    200 JERICHO QUANDRANGLE
           2017                                                                                                                  JERICHO, NY 11753

2. 782     AMENDMENT NO. 1 TO MASTER                                  101779                   LINGUIS-TECHS INC. DBA SOMMER     NOT AVAILABLE
           SERVICES AGREEMENT DATED MAY 27,                                                    CONSULTING
           2018




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2. 783     MASTER SERVICES AGREEMENT                                  101795                   LIVINGSTON CONSULTING GROUP, INC. ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF AUGUST 19, 2016                                                                                       2829 AUTUMN BREEZE WAY
                                                                                                                                 KISSIMMEE, FL 34744

2. 784     LLX SOLUTIONS LLC MSA CW2366472           4/14/2023        105993                   LLX SOLUTIONS INC                    NOT AVAILABLE
           (LH.RA) EFFECTIVE APRIL 15, 2019

2. 785     LLX SOLUTIONS LLC MSA CW2366472           4/14/2023        105992                   LLX SOLUTIONS, LLC                   NOT AVAILABLE
           (LH.RA) EFFECTIVE APRIL 15, 2019

2. 786     NORTHEAST SERIES OF LOCKTON               2/28/2022        106044                   LOCKTON COMPANIES                    NOT AVAILABLE
           COMPANIES, LLC - MSA CW2365755
           (PB.RA) EFFECTIVE MARCH 01, 2019

2. 787     AUGUSTENBORG CONSULTING LLC -             5/31/2022        106163                   LON D AUGUSTENBORG                   NOT AVAILABLE
           CONSULTANT ENGAGEMENT LETTER
           CW2366554 (SD.RA) EFFECTIVE JUNE
           01, 2019

2. 788     LOUIS CHRISTOS CSA CW2366850              5/14/2021        105994                   LOUIS CHRISTOS                       NOT AVAILABLE
           (LH.SD) EFFECTIVE MAY 15, 2019

2. 789     AMENDMENT NO. 1 TO AUTHORIZED                              101804                   LOUISANA WHOLESALE DRUG              ATTN: GENERAL COUNSEL
           DISTRIBUTOR AGREEMENT EFFECTIVE                                                     COMPANY INC.                         2085 I-49 SOUTH SERVICE ROAD
           AS OF APRIL 15, 2016                                                                                                     SUNSET, LA 70584

2. 790     AMENDMENT NO. 2 TO AUTHORIZED                              101805                   LOUISANA WHOLESALE DRUG              ATTN: GENERAL COUNSEL
           DISTRIBUTOR AGREEMENT DATED                                                         COMPANY INC.                         2085 I-49 SOUTH SERVICE ROAD
           JUNE 30, 2017                                                                                                            SUNSET, LA 70584

2. 791     AUTHORIZED DISTRIBUTOR                                     101803                   LOUISANA WHOLESALE DRUG              ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JULY                                                      COMPANY INC.                         2085 I-49 SOUTH SERVICE ROAD
           01, 2012                                                                                                                 SUNSET, LA 70584

2. 792     AMENDMENT TO CLINICAL TRIAL                                101806                   LOVELACE SCIENTIFIC RESEARCH INC.    NOT AVAILABLE
           AGREEMENT EFFECTIVE AS OF
           OCTOBER 09, 2003




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2. 793     LPW TRAINING SERVICES LLC CSA             4/23/2022        106164                   LPW TRAINING SERVICES LLC          NOT AVAILABLE
           CW2366582 (SD.RA) EFFECTIVE APRIL
           24, 2019

2. 794     EIGHTH AMENDMENT TO KNOWLEDGE                              101807                   LRN CORPORATION                    ATTN: GENERAL COUNSEL
           SERVICE PROVIDER AGREEMENT                                                                                             1100 GLENDON AVENUE SUITE 700
           DATED DECEMBER 15, 2014                                                                                                LOS ANGELES, CA 90024

2. 795     AMENDMENT 01: SOW EXECUTED                                 101840                   LTS LOHMANN THERAPIE-SYSTEME AG    ATTN: GENERAL COUNSEL
           NOVEMBER 23, 2015                                                                                                      LOHMANNSTRASSE 2
                                                                                                                                  ANDERNACH D-56626
                                                                                                                                  GEORGIA

2. 796     AMENDMENT 02: SOW EXECUTED APRIL                           101841                   LTS LOHMANN THERAPIE-SYSTEME AG    ATTN: GENERAL COUNSEL
           21, 2016                                                                                                               LOHMANNSTRASSE 2
                                                                                                                                  ANDERNACH D-56626
                                                                                                                                  GEORGIA

2. 797     AMENDMENT NO. 3 TO                                         101815                   LTS LOHMANN THERAPIE-SYSTEME AG    ATTN: GENERAL COUNSEL
           MANUFACTURING AND SUPPLY                                                                                               LOHMANNSTRASSE 2
           AGREEMENT DATED NOVEMBER 03,                                                                                           ANDERNACH D-56626
           2014                                                                                                                   GEORGIA

2. 798     AMENDMENT NO. 4 TO                                         101831                   LTS LOHMANN THERAPIE-SYSTEME AG    ATTN: GENERAL COUNSEL
           MANUFACTURING AND SUPPLY                                                                                               LOHMANNSTRASSE 2
           AGREEMENT EFFECTIVE AS OF                                                                                              ANDERNACH D-56626
           JANUARY 01, 2017                                                                                                       GEORGIA

2. 799     AMENDMENT TO MANUFACTURING AND                             101826                   LTS LOHMANN THERAPIE-SYSTEME AG    ATTN: GENERAL COUNSEL
           SUPPLY AGREEMENT DATED APRIL 12,                                                                                       LOHMANNSTRASSE 2
           1995                                                                                                                   ANDERNACH D-56626
                                                                                                                                  GEORGIA

2. 800     AMENDMENT TO MANUFACTURING AND                             101813                   LTS LOHMANN THERAPIE-SYSTEME AG    ATTN: GENERAL COUNSEL
           SUPPLY AGREEMENT DATED JULY 19,                                                                                        LOHMANNSTRASSE 2
           2013                                                                                                                   ANDERNACH D-56626
                                                                                                                                  GEORGIA

2. 801     AMENDMENT TO MANUFACTURING AND                             101812                   LTS LOHMANN THERAPIE-SYSTEME AG    ATTN: GENERAL COUNSEL
           SUPPLY AGREEMENT EFFECTIVE AS OF                                                                                       LOHMANNSTRASSE 2
           JULY 19, 2013                                                                                                          ANDERNACH D-56626
                                                                                                                                  GEORGIA
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2. 802     AMENDMENT TO TECHNOLOGY                                    101836                   LTS LOHMANN THERAPIE-SYSTEME AG    ATTN: GENERAL COUNSEL
           TRANSFER AND INVESTMENT                                                                                                LOHMANNSTRASSE 2
           AGREEMENT DATED JUNE 01, 2009                                                                                          ANDERNACH D-56626
                                                                                                                                  GEORGIA

2. 803     MANUFACTURING AND SUPPLY                                   101821                   LTS LOHMANN THERAPIE-SYSTEME AG    ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                                                              LOHMANNSTRASSE 2
           DECEMBER 21, 2010                                                                                                      ANDERNACH D-56626
                                                                                                                                  GEORGIA

2. 804     QUALITY AGREEMENT EFFECTIVE AS                             101830                   LTS LOHMANN THERAPIE-SYSTEME AG    ATTN: GENERAL COUNSEL
           OF SEPTEMBER 01, 2016                                                                                                  LOHMANNSTRASSE 2
                                                                                                                                  ANDERNACH D-56626
                                                                                                                                  GEORGIA

2. 805     QUALITY ASSURANCE AGREEMENT                                101833                   LTS LOHMANN THERAPIE-SYSTEME AG    ATTN: GENERAL COUNSEL
           DATED APRIL 12, 1995                                                                                                   LOHMANNSTRASSE 2
                                                                                                                                  ANDERNACH D-56626
                                                                                                                                  GEORGIA

2. 806     QUALITY ASSURANCE AGREEMENT                                101835                   LTS LOHMANN THERAPIE-SYSTEME AG    ATTN: GENERAL COUNSEL
           DATED JULY 23, 2008                                                                                                    LOHMANNSTRASSE 2
                                                                                                                                  ANDERNACH D-56626
                                                                                                                                  GEORGIA

2. 807     AMENDMENT EXECUTED JULY 19, 1996                           101842                   LTS LOHMANN THERAPIE-SYSTEME       ATTN: GENERAL COUNSEL
                                                                                               GMBH                               LOHMANNSTRASSE 2
                                                                                                                                  ANDERNACH D-56605
                                                                                                                                  GEORGIA

2. 808     MANUFACTURING AND SUPPLY                                   101844                   LTS LOHMANN THERAPY SYSTEMS        ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                           CORP.                              21 HENDERSON DRIVE
           DECEMBER 21, 2010                                                                                                      WEST CALDWELLL, NJ 07006

2. 809     QUALITY ASSURANCE AGREEMENT                                101845                   LTS LOHMANN THERAPY SYSTEMS        ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF FEBRUARY 09, 2015                                                   CORP.                              21 HENDERSON DRIVE
                                                                                                                                  WEST CALDWELL, NJ 07006

2. 810     MASTER SERVICES AGREEMENT                                  101847                   LZ LIFESCIENCE US INC.             ATTN: LEGAL DEPARTMENT
           EFFECTIVE AS OF JULY 01, 2016                                                                                          751 ARBOR WAY
                                                                                                                                  SUITE 115
                                                                                                                                  BLUE BELL, PA 19422
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2. 811     AMENDMENT NO. 1 TO MASTER                                  101852                   MAGTYPE COMPUTER RESOURCES LLC NOT AVAILABLE
           SERVICES AGREEMENT EFFECTIVE AS
           OF FEBRUARY 01, 2018

2. 812     AMENDMENT NO. 1 TO STUDY                                   101854                   MAIA U. CHAKERIAN, M.D. D/B/A    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #001                                                            SAMARITAN CENTER FOR MEDICAL     14651 S. BASCOM AVENUE, SUITE
           EFFECTIVE AS OF NOVEMBER 20, 2003                                                   RESEARCH MEDICAL GROUP           260
                                                                                                                                LOS GATOS, CA 95032

2. 813     AMENDMENT NO. 2 TO STUDY                                   101855                   MAIA U. CHAKERIAN, M.D. D/B/A    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER DATED JUNE                                                      SAMARITAN CENTER FOR MEDICAL     14651 S. BASCOM AVENUE, SUITE
           14, 2004                                                                            RESEARCH MEDICAL GROUP           260
                                                                                                                                LOS GATOS, CA 95032

2. 814     STUDY SPECIFICATION ORDER #001                             101853                   MAIA U. CHAKERIAN, M.D. D/B/A    ATTN: GENERAL COUNSEL
           DATED NOVEMBER 20, 2003                                                             SAMARITAN CENTER FOR MEDICAL     14651 S. BASCOM AVENUE, SUITE
                                                                                               RESEARCH MEDICAL GROUP           260
                                                                                                                                LOS GATOS, CA 95032

2. 815     STUDY SPECIFICATION ORDER #002 TO                          101856                   MAIA U. CHAKERIAN, M.D. D/B/A    ATTN: MAIA CHAKERIAN, MD
           MASTER CLINICAL TRIAL AGREEMENT                                                     SAMARITAN CENTER FOR MEDICAL     14651 S. BASCOME AVENUE,
           DATED MAY 19, 2005                                                                  RESEARCH MEDICAL GROUP           SUITE 260
                                                                                                                                LOS GATOS, CA 95032

2. 816     MAINTENANCE SERVICES AGREEMENT                             101857                   MAINTENANCE ASSISTANCE           ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF FEBRUARY 18, 2003                                                   PROGRAM, INC.                    666 GARLAND PLACE
                                                                                                                                DES PLAINS, IL 60016

2. 817     AMENDMENT #3 TO THE MAINTENANCE                            101858                   MAINTENANCE ASSISTANCE           ATTN: GENERAL COUNSEL
           ASSISTANCE PROGRAMS, INC. DATED                                                     PROGRAMS, INC.                   666 GARLAND PLACE
           FEBRUARY 18, 2003                                                                                                    DES PLAINES, IL 60016

2. 818     AMENDMENT NO. 1 TO MAINTENANCE                             101863                   MAINTENANCE ASSISTANCE           ATTN: GENERAL COUNSEL
           ASSISTANCE PROGRAM, INC. SERVICE                                                    PROGRAMS, INC.                   666 GARLAND PLACE
           AGREEMENT DATED MARCH 09, 2005                                                                                       DES PLAINES, IL 60016

2. 819     AMENDMENT NO. 2 TO THE                                     101864                   MAINTENANCE ASSISTANCE           ATTN: GENERAL COUNSEL
           MAINTENANCE ASSISTANCE                                                              PROGRAMS, INC.                   666 GARKAND PLACE
           PROGRAMS, INC. SERVICE AGREEMENT                                                                                     DES PLAINES, IL 60016
           DATED MARCH 28, 2011



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2. 820     AMENDMENT NO. 5 TO THE                                     101859                   MAINTENANCE ASSISTANCE          ATTN: GENERAL COUNSEL
           MAINTENANCE SERVICE AGREEMENT                                                       PROGRAMS, INC.                  666 GARLAND PLACE
           DATED FEBRUARY 18, 2003                                                                                             DES PLAINES, IL 60016

2. 821     AMENDMENT NO. 6 TO THE                                     101861                   MAINTENANCE ASSISTANCE          ATTN: GENERAL COUNSEL
           MAINTENANCE ASSISTANCE                                                              PROGRAMS, INC.                  666 GARLAND PLACE
           PROGRAMS, INC. DATED FEBRUARY 01,                                                                                   DES PLAINES, IL 60016
           2017

2. 822     AMENDMENT NO. 6 TO THE                                     101862                   MAINTENANCE ASSISTANCE          ATTN: GENERAL COUNSEL
           MAINTENANCE SERVICE AGREEMENT                                                       PROGRAMS, INC.                  666 GARLAND PLACE
           DATED FEBRUARY 01, 2017                                                                                             DES PLAINES, IL 60016

2. 823     SERVICES AGREEMENT DATED                                   101860                   MAINTENANCE ASSISTANCE          ATTN: GENERAL COUNSEL
           FEBRUARY 18, 2003                                                                   PROGRAMS, INC.                  666 GARLAND PLACE
                                                                                                                               DES PLAINES, IL 60016

2. 824     ADDENDUM NO. 1 TO AMENDED AND                              101865                   MALLINCKRODT PHARMACEUTICALS    675 MCDONNELL BOULEVARD
           RESTATED STATEMENT OF WORK                                                                                          HAZELWOOD, MO 63042
           EFFECTIVE AS OF APRIL 01, 2015

2. 825     SEARCH FIRM AGREEMENT DATED                                101879                   MANAGEMENT RECRUITERS OF        ATTN: GENERAL COUNSEL
           JANUARY 28, 2008                                                                    MYRTLE BEACH                    1500 HIGHWAY 17 N.
                                                                                                                               SUITE 308
                                                                                                                               SURFSIDE BEACH, SC 29575

2. 826     SEARCH FIRM AGREEMENT DATED                                101880                   MANAGEMENT RECRUITERS OF        ATTN: GENERAL COUNSEL
           FEBRUARY 08, 2011                                                                   RALEIGH                         5171 GLENWOOD AVENUE, SUITE
                                                                                                                               350
                                                                                                                               RALEIGH, NC 27612

2. 827     SEARCH FIRM AGREEMENT DATED                                101882                   MANAGEMENT RECRUITERS OF        ATTN: GENERAL COUNSEL
           OCTOBER 04, 2007                                                                    WILLIAMSBURG                    356 MCLAWS CIRCLE
                                                                                                                               SUITE 3
                                                                                                                               WILLIAMSBURG, VA 23185

2. 828     SEARCH FIRM AGREEMENT DATED                                101883                   MANAGEMENT RECRUITERS OF        ATTN: GENERAL COUNSEL
           AUGUST 02, 2007                                                                     WOODBURY                        100 CROSSWAYS PARK W
                                                                                                                               SUITE 208
                                                                                                                               WOODBURY, NY 11797



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2. 829     SEARCH FIRM AGREEMENT DATED                                101884                   MANKUTA GALLAGHER & ASSOCIATES,    ATTN: GENERAL COUNSEL
           OCTOBER 04, 2007                                                                    INC.                               8333 W. MCNAB ROAD
                                                                                                                                  SUITE 231
                                                                                                                                  FT. LAUDERDALE, FL 33321

2. 830     LETTER OF AGREEMENT (AUTHORSHIP)                           101885                   MARC FLEMING, PH.D.                2714 AUTUMN FALLS DRIVE
           DATED OCTOBER 01, 2017                                                                                                 PEARLAND, TX 77584

2. 831     OWENS, MARK, M.D. CSA 1JAN19             12/31/2019        105916                   MARK OWENS                         NOT AVAILABLE
           CW2364666 (SS.SD) EFFECTIVE
           JANUARY 01, 2019

2. 832     QUALITY AGREEMENT EFFECTIVE AS                             101896                   MARYPAUL LABORATORIES, INC.        ATTN: GENERAL COUNSEL
           OF JUNE 03, 2014                                                                                                       P.O. BOX 952
                                                                                                                                  70 SPARTA AVENUE
                                                                                                                                  SPARTA, NJ 07871

2. 833     MASTER SERVICE AGREEMENT DATED                             101897                   MASERGY                            ATTN: GENERAL COUNSEL
           DECEMBER 05, 2011                                                                                                      COMMUNICATONS (UK) LIMITED
                                                                                                                                  32 FARRINGDON STREET
                                                                                                                                  LONDON EC4A 4HJ

2. 834     SEARCH FIRM AGREEMENT DATED                                101909                   MBR & ASSOCIATES, LLC              ATTN: GENERAL COUNSEL
           JUNE 19, 2012                                                                                                          40604 N. KEARNEY WAY
                                                                                                                                  PHOENIX, AZ 85086

2. 835     MASTER SERVICES AGREEMENT                                  101910                   MC3, INC                           ATTN: ROBERT ARMSTRONG,
           DATED NOVEMBER 20, 2017                                                                                                PRESIDENT
                                                                                                                                  1180 MCDERMOTT DRIVE
                                                                                                                                  WESTCHESTER, PA 19380

2. 836     STATEMENT OF WORK DATED                                    101911                   MC3, INC.                          ATTN: GENERAL COUNSEL
           SEPTEMBER 14, 2018                                                                                                     1180 MCDERMOTT DRIVE
                                                                                                                                  WEST CHESTER, PA 19380

2. 837     MASTER SERVICES AGREEMENT                                  101912                   MCCRONE ASSOCIATES, INC.           ATTN: GENERAL COUNSEL
           DATED DECEMBER 01, 2017                                                                                                850 PASQUINELLI DRIVE
                                                                                                                                  WESTMONT, IL 60559




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2. 838     FIRST AMENDMENT TO THE MCI                                 101914                   MCI WORLDCOM COMMUNICATIONS,        NOT AVAILABLE
           SERVICE AGREEMENT EFFECTIVE AS                                                      INC.
           OF DECEMBER 20, 2004

2. 839     AMENDMENT NO. 1 TO AUTHORIZED                              101920                   MCKENSSON CORPORATION               ATTN: GENERAL COUNSEL
           DISTRIBUTOR AGREEMENT EFFECTIVE                                                                                         ONE POST STREET
           AS OF JUNE 30, 2017                                                                                                     SAN FRANCISCO, CA 94104

2. 840     AMENDMENT NO. 1 TO CENTRAL                                 101918                   MCKENSSON CORPORATION               ATTN: GENERAL COUNSEL
           DISTRIBUTION SERVICES AGREEMENT                                                                                         ONE POST STREET
           EFFECTIVE AS OF JUNE 30, 2016                                                                                           SAN FRANCISCO, CA 94104

2. 841     AMENDMENT NO. 1 TO DISTRIBUTION                            101919                   MCKENSSON CORPORATION               ATTN: GENERAL COUNSEL
           PERFORMANCE AGREEMENT                                                                                                   ONE POST STREET
           EFFECTIVE AS OF JUNE 30, 2016                                                                                           SAN FRANCISCO, CA 94104

2. 842     AUTHORIZED DISTRIBUTOR                                     101916                   MCKENSSON CORPORATION               ATTN: LEGAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JULY                                                                                          MCKESSON PHARMACEUTICAL
           01, 2012                                                                                                                ONE POST STREET
                                                                                                                                   SAN FRANCISCO, CA 94104

2. 843     CENTRAL DISTRIBUTION SERVICES                              101915                   MCKENSSON CORPORATION               ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JULY                                                                                          ONE POST STREET
           01, 2012                                                                                                                SAN FRANCISCO, CA 94104

2. 844     DISTRIBUTION PERFORMANCE                                   101917                   MCKENSSON CORPORATION               ATTN: GREG YONKO, SENIOR
           AGREEMENT EFFECTIVE AS OF JULY                                                                                          VICE PRESIDENT, PURCHASING
           01, 2012                                                                                                                ONE POST STREET
                                                                                                                                   SAN FRANCISCO, CA 94104

2. 845     AMENDMENT NO. 2 TO SCHEDULE 9A                             101922                   MCKESSON SPECIALTY ARIZONA, INC.    ATTN: GENERAL COUNSEL
           DATED OCTOBER 15, 2018                                                                                                  13796 COLLECTIONS CENTER DR
                                                                                                                                   CHICAGO, IL 60693

2. 846     AMENDMENT NO. 7 TO SERVICE                                 101921                   MCKESSON SPECIALTY ARIZONA, INC.    ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF APRIL                                                                                         13796 COLLECTIONS CENTER DR
           01, 2018                                                                                                                CHICAGO, IL 60693




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2. 847     REVISED CLINICAL AGREEMENT DATED                           101935                   MDS HARRIS LABORATORIES, INC.     ATTN: ACCOUNTS RECEIVABLE
           JUNE 02, 1997                                                                                                         621 ROSE STREET
                                                                                                                                 PO BOX 80837
                                                                                                                                 LINCOLN, NE 68501

2. 848     MATERIALS TRANSFER AGREEMENT                               101938                   MEBIAS DISCOVERY, LLC             ATTN: GENERAL COUNSEL
           DATED JULY 20, 2016                                                                                                   3001 MARKET STREET
                                                                                                                                 SUITE 140
                                                                                                                                 PHILADELPHIA, PA 19104

2. 849     AMENDMENT #2 TO PROJECT                                    101939                   MEDICAL & TECHNICAL RESEARCH      NOT AVAILABLE
           SPECIFICATION ORDER #1 DATED                                                        ASSOCIATES INC.
           FEBRUARY 01, 2001

2. 850     AMENDMENT #1 TO STUDY                                      101941                   MEDICAL COLLEGE OF GEORGIA        NOT AVAILABLE
           SPECIFICATION ORDER #001 DATED                                                      RESEARCH INSTITUTE
           JUNE 14, 2004

2. 851     PROJECT AGREEMENT DATED AUGUST                             101942                   MEDICAL EDUCATION NETWORK         ATTN: GENERAL COUNSEL
           29, 2001                                                                                                              450 7TH AVENUE
                                                                                                                                 SUITE 1300
                                                                                                                                 NEW YORK, NY 10123

2. 852     MASTER AGREEMENT FOR SERVICES                              101943                   MEDICAL RESEARCH CONSULTANTS      ATTN: GENERAL COUNSEL
           DATED AUGUST 07, 2013                                                                                                 10114 W. SAM HOUSTON
                                                                                                                                 PARKWAY SOUTH, SUITE 200
                                                                                                                                 HOUSTON, TX 77099

2. 853     MASTER AGREEMENT FOR SERVICES                              101944                   MEDICAL RESEARCH CONSULTANTS      ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF AUGUST 01, 2016                                                                                       10114 W. SAM HOUSTON
                                                                                                                                 PARKWAY SOUTH, SUITE 200
                                                                                                                                 HOUSTON, TX 77099

2. 854     SEARCH FIRM AGREEMENT DATED                                101945                   MEDICAL STAFFING NETWORK, INC.    ATTN: GENERAL COUNSEL
           OCTOBER 08, 2007                                                                                                      6110 EXECUTIVE ROAD
                                                                                                                                 SUITE 204
                                                                                                                                 ROCKVILLE, MD 20852

2. 855     AMENDMENT #1 TO STUDY                                      101947                   MEDISPHERE MEDICAL RESEARCH       NOT AVAILABLE
           SPECIFICATION ORDER #003                                                            CENTER, LLC
           EFFECTIVE AS OF JUNE 14, 2004

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2. 856     AMENDMENT #2 TO MASTER CLINICAL                            101946                   MEDISPHERE MEDICAL RESEARCH       NOT AVAILABLE
           TRIAL AGREEMENT DATED AUGUST 04,                                                    CENTER, LLC
           2003

2. 857     MASTER LABORATORY SERVICES                                 101951                   MEDPHARM LIMITED                  ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                                                             UNIT 3, CHANCELLOR COURT
           AUGUST 01, 2017                                                                                                       50 OCCAM ROAD, SURREY
                                                                                                                                 RESEARCH PARK
                                                                                                                                 GUILDFORD, SURREY GU27YN

2. 858     MEHTA, AMITKUMAR CSA CW2367279            6/30/2020        105926                   MEHTA, AMITKUMAR                  NOT AVAILABLE
           (SS.SD) EFFECTIVE JUNE 15, 2019

2. 859     MASTER LABORATORY SERVICES                                 101957                   MELIOR DISCOVERY, INC.            ATTN: PATRIZIA FERRANTE
           AGREEMENT EFFECTIVE AS OF                                                                                             ATTN: GENERAL COUNSEL
           OCTOBER 02, 2017                                                                                                      860 SPRINGDALE, SUITE 500
                                                                                                                                 EXTON, PA 19341

2. 860     STATEMENT OF WORK DATED                                    101961                   MERCER HEALTH & BENEFITS LLC      ATTN: GENERAL COUNSEL
           NOVEMBER 28, 2016                                                                                                     501 MERRITT 7
                                                                                                                                 NORWALK, CT 06856

2. 861     AMENDMENT #10 TO OCCUPATIONAL                              101968                   MERIDAN COMP OF NEW YORK, INC.    ATTN: GENERAL COUNSEL
           HEALTH SERVICES AGREEMENT                                                                                             275 MADISON AVE FL 32, NEW
           EFFECTIVE AS OF MARCH 01, 2018                                                                                        YORK, NY 10016

2. 862     AMENDMENT NO. 10 TO OCCUPATIONAL                           101966                   MERIDAN COMP OF NEW YORK, INC.    ATTN: GENERAL COUNSEL
           HEALTH SERVICES AGREEMENT DATED                                                                                       275 MADISON AVE FL 32, NEW
           FEBRUARY 20, 2007                                                                                                     YORK, NY 10016

2. 863     AMENDMENT NO. 7 TO OCCUPATIONAL                            101962                   MERIDAN COMP OF NEW YORK, INC.    ATTN: GENERAL COUNSEL
           HEALTH SERVICES AGREEMENT DATED                                                                                       275 MADISON AVE FL 32, NEW
           JULY 27, 2015                                                                                                         YORK, NY 10016

2. 864     AMENDMENT NO. 7 TO OCCUPATIONAL                            101973                   MERIDAN COMP OF NEW YORK, INC.    ATTN: GENERAL COUNSEL
           HEALTH SERVICES AGREEMENT DATED                                                                                       275 MADISON AVE FL 32, NEW
           OCTOBER 19, 2011                                                                                                      YORK, NY 10016

2. 865     AMENDMENT NO. 9 AND 10 TO                                  101965                   MERIDAN COMP OF NEW YORK, INC.    ATTN: GENERAL COUNSEL
           OCCUPATIONAL HEALTH SERVICES                                                                                          275 MADISON AVE FL 32, NEW
           AGREEMENT DATED FEBRUARY 02, 2007                                                                                     YORK, NY 10016

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2. 866     AMENDMENT NO. 9 TO OCCUPATIONAL                            101963                   MERIDAN COMP OF NEW YORK, INC.     ATTN: GENERAL COUNSEL
           HEALTH SERVICES AGREEMENT DATED                                                                                        275 MADISON AVE FL 32, NEW
           FEBRUARY 02, 2007                                                                                                      YORK, NY 10016

2. 867     AMENDMENT NO. 9 TO OCCUPATIONAL                            101964                   MERIDAN COMP OF NEW YORK, INC.     ATTN: GENERAL COUNSEL
           HEALTH SERVICES AGREEMENT DATED                                                                                        275 MADISON AVE FL 32, NEW
           FEBRUARY 02, 2007                                                                                                      YORK, NY 10016

2. 868     MASTER SERVICES AGREEMENT                                  101975                   METROHM USA, INC.                  ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JULY 11, 2018                                                                                          9250 CAMDEN FIELD PARKWAY
                                                                                                                                  RIVERVIEW, FL 33578

2. 869     MASTER SERVICES AGREEMENT                                  101976                   METROHM USA, INC.                  ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JULY 11, 2018                                                                                          9250 CAMDEN FIELD PARKWAY
                                                                                                                                  RIVERVIEW, FL 33578

2. 870     MASTER SERVICES AGREEMENT                                  101977                   MFD COMMUNICATIONS, LLC            ATTN: LINDSAY GORDON,
           EFFECTIVE AS OF JANUARY 06, 2017                                                                                       PRESIDENT
                                                                                                                                  3207 MEADOWVIEW CIRCLE
                                                                                                                                  FURLONG, PA 18925

2. 871     MANOS, MICHAEL CSA 01012019              12/31/2019        105921                   MICHAEL J MANOS PHD                NOT AVAILABLE
           CW2364766 (SS.SD) EFFECTIVE
           JANUARY 01, 2019

2. 872     SEARCH FIRM AGREEMENT DATED                                101983                   MICHAEL PAGE INTERNATIONAL         ATTN: GENERAL COUNSEL
           OCTOBER 04, 2007                                                                                                       405 LEXINGTON AVENUE
                                                                                                                                  28TH FLOOR
                                                                                                                                  NEW YORK, NY 10174

2. 873     INITIAL ORDER TO MASTER                                    101999                   MICROSTRATEGY SERVICES             ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                           CORPORATION
           SEPTEMBER 30, 2016

2. 874     AMENDMENT #1 TO STUDY                                      102001                   MIDWEST REGIONAL RESEARCH, INC.    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #001                                                                                               4336 STATE ROUTE 725
           EFFECTIVE AS OF OCTOBER 17, 2003                                                                                       BELLBROOK, OH 45305




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2. 875     STUDY SPECIFICATION ORDER 001 TO                           102000                   MIDWEST REGIONAL RESEARCH, INC.    ATTN: GENERAL COUNSEL
           MASTER CLINICAL TRIAL AGREEMENT                                                                                        4336 STATE ROUTE 725
           DATED 14-JAN-03 DATED OCTOBER 17,                                                                                      BELLBROOK, OH 45305
           2003

2. 876     MSA DATED MARCH 12, 2008                                   102012                   MILLIPORE CORPORATION              290 CONCORD ROAD
                                                                                                                                  BILLERICA, MA 01821

2. 877     EXCLUSIVE SUPPLY AND DISTRIBUTION                          102014                   MINNESOTA MINING AND               ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                           MANUFACTURING COMPANY (3M)         3M CENTER
           DECEMBER 29, 2000                                                                                                      ST. PAUL, MN 55144

2. 878     AMENDED AND RESTATED STUDY                                 102018                   MIRAY MEDICAL CENTER               ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER EFFECTIVE AS                                                                                       348 NORTH PEARL STREET, UNIT
           OF AUGUST 12, 2004                                                                                                     #8
                                                                                                                                  BROCKTON, MA 02301

2. 879     AMENDMENT #2 TO MASTER CLINICAL                            102019                   MIRAY MEDICAL CENTER               ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED AUGUST 12,                                                                                       48 NORTH PEARL STREET, UNIT #8
           2004                                                                                                                   BROCKTON, MA 02301

2. 880     AMENDMENT #3 TO STUDY                                      102020                   MIRAY MEDICAL CENTER               ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #001 TO                                                                                            48 NORTH PEARL STREET, UNIT #8
           MASTER SERVICES AGREEMENT                                                                                              BROCKTON, MA 02301
           EFFECTIVE AS OF FEBRUARY 23, 2005

2. 881     STUDY SPECIFICATION ORDER 001 TO                           102021                   MIRAY MEDICAL CENTER               ATTN: GENERAL COUNSEL
           MASTER CLINICAL TRIAL AGREEMENT                                                                                        348 NORTH PEARL STREET, UNIT
           AUGUST 12, 2004 DATED AUGUST 12,                                                                                       #48
           2004                                                                                                                   BROCKTON, MA 02301

2. 882     PURCHASE ORDER EFFECTIVE AS OF                             102025                   MITRATECH HOLDINGS INC.            ATTN: GENERAL COUNSEL
           NOVEMBER 20, 2015                                                                                                      5001 PL ON THE LAKE STE 111
                                                                                                                                  AUSTIN, TX 78746

2. 883     SERVICE AGREEMENT DATED JULY 15,                           102027                   MITSUBISHI CORPORATION             ATTN: GENERAL COUNSEL
           1996                                                                                                                   6-3 MARUNOUCHI
                                                                                                                                  2-CHROME
                                                                                                                                  CHIYODA-KU, TOKYO 100-86




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2. 884     MMDLOPES, LLC - MARIA LOPES - SOW -      12/31/2019         105997                   MMD LOPES LLC                     ATTN: GENERAL COUNSEL
           ADHANSIA AD BOARD CW2366860                                                                                            117 TRUMAN DRIVE
           (LH.SD) EFFECTIVE MAY 15, 2019                                                                                         CRESSKILL, NJ 07626

2. 885     SERVICES CHANGE ORDER DATED                                 102033                   MOBILE IRON INC                   ATTN: GENERAL COUNSEL
           NOVEMBER 03, 2014                                                                                                      815A EAST MIDDLEFIELD ROAD
                                                                                                                                  MOUNTIAN VIEW, CA 94043

2. 886     AMENDMENT #1 TO PROJECT                                     102038                   MONITECH SERVICES, INC            ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #2 DATED                                                                                           36 GYPSY ROCK ROAD
           DECEMBER 14, 2000                                                                                                      STUYVESANT, NY 12173

2. 887     PSO 1 TO MATER SERVICE AGREEMENT                            102039                   MONITECH SERVICES, INC.           ATTN: GENERAL COUNSEL
           BETWEEN PURDUE PHARMA L.P. AND                                                                                         3 GYPSY ROCK ROAD
           MONITECH SERVICES, INC. DATED                                                                                          STUYVESANT, NY 12173
           FEBRUARY 07, 2000

2. 888     PSO 2 TO MATER SERVICE AGREEMENT                            102040                   MONITECH SERVICES, INC.           ATTN: GENERAL COUNSEL
           BETWEEN PURDUE PHARMA L.P. AND                                                                                         36 GYPSY ROCK ROAD
           MONITECH SERVICES, INC. DATED                                                                                          STUYVESANT, NY 12173
           FEBRUARY 24, 2000

2. 889     SEARCH FIRM AGREEMENT DATED                                 102043                   MONROE STAFFING SERVICES, LLC     ATTN: GENERAL COUNSEL
           OCTOBER 04, 2007                                                                                                       500 PURDY HILL ROAD
                                                                                                                                  MONROE, CT 06468

2. 890     EDUCATIONAL GRANT AGREEMENT                                 102044                   MOREHOUSE SCHOOL OF MEDICINE      NOT AVAILABLE
           DATED MAY 02, 2002

2. 891     AMENDMENT NO. 1 TO AUTHORIZED                               102047                   MORRIS & DICKSON CO. LLC          ATTN: GENERAL COUNSEL
           DISTRIBUTOR AGREEMENT EFFECTIVE                                                                                        410 KAY LANE
           AS OF JUNE 30, 2017                                                                                                    SHREVEPORT, LA 71135

2. 892     AUTHORIZED DISTRIBUTOR                                      102046                   MORRIS & DICKSON CO. LLC          ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JULY                                                                                         410 KAY LANE
           01, 2012                                                                                                               SHREVEPORT, LA 71135

2. 893     CONSENT TO ASSIGNMENT AND                                   102048                   MOTIVILITAS CONSULTING LLC        ATTN: LEGAL DEPARTMENT
           AMENDMENT DATED OCTOBER 09, 2017                                                                                       10330 OLD COLUMBIA ROAD
                                                                                                                                  COLUMBIA, MD 21046


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2. 894     AMENDMENT #1 TO STUDY                                       102050                   MOUNTAIN VIEW CLINICAL RESEARCH,    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #001                                                             INC.                                3865 CHERRY CREEK DR. NORTH
           EFFECTIVE AS OF DECEMBER 04, 2003                                                                                        #250
                                                                                                                                    DENVER, CO 80209

2. 895     AMENDMENT #1 TO STUDY                                       102051                   MOUNTAIN VIEW CLINICAL RESEARCH,    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #002                                                             INC.                                3865 CHERRY CREEK DR. NORTH
           EFFECTIVE AS OF DECEMBER 04, 2003                                                                                        #250
                                                                                                                                    DENVER, CO 80209

2. 896     STUDY SPECIFICATION ORDER 002 TO                            102049                   MOUNTAIN VIEW CLINICAL RESEARCH,    ATTN: GENERAL COUNSEL
           MASTER SITE MANAGEMENT                                                               INC.                                3865 CHERRY CREEK DR. NORTH
           ORGANIZATION AGREEMENT DATED                                                                                             #250
           DECEMBER 4, 2003 DATED DECEMBER                                                                                          DENVER, CO 80209
           04, 2003

2. 897     SEARCH FIRM AGREEMENT DATED                                 102053                   MRI NETWORK SALES CONSULTANTS       ATTN: GENERAL COUNSEL
           JANUARY 13, 2009                                                                     OF BRIDGEWATER                      991 ROUTE 22 WEST
                                                                                                                                    SUITE 106
                                                                                                                                    BRIDGEWATER 08807

2. 898     SOW DATED 12303 DATED JANUARY 31,                           102055                   MTI TECHNOLOGY, INC.                ATTN: GENERAL COUNSEL
           2003                                                                                                                     14661 FRANKLIN AVE.
                                                                                                                                    TUSTIN, CA 92780

2. 899     AMENDMENT #3 TO MASTER SERVICES                             102057                   MULVANEY MECHANICAL, INC.           LEUSDEREND 16
           AGREEMENT DATED JUNE 01, 2008                                                                                            3832 RC LEUSDEN
                                                                                                                                    POSTBUS 2084
                                                                                                                                    AMERSFOORT 3800 CB
                                                                                                                                    NIGER

2. 900     MASTER LABORATORY SERVICES                                  102177                   NANOMERICS, LTD.                    ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                                                                30-34 NEW BRIDGE STREET
           JANUARY 17, 2018                                                                                                         LONDON, UNITED KINGDOM
                                                                                                                                    LONDON EC4V 6BJ

2. 901     STATEMENT OF WORK DATED APRIL 02,                           102178                   NANOSYSTEMS                         ATTN: GENERAL COUNSEL
           1998                                                                                                                     3000 HORIZON DRIVE
                                                                                                                                    KING OF PRUSSIA, PA 19406




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2. 902     SUBSCRIBER AGREEMENT DATED                                  102181                   NATIONAL HOTLINE SERVICES, INC.    ATTN: GENERAL COUNSEL
           JANUARY 21, 2005                                                                                                        620 KENMORE AVENUE, SUITE B
                                                                                                                                   FREDERICKSBURG, VA 22401

2. 903     PAIN AWARENESS PROGRAMS LETTER                              102184                   NATIONAL PAIN FOUNDATION           NOT AVAILABLE
           OF AGREEMENT EXECUTED DECEMBER
           18, 2007

2. 904     AMENDMENT #1 TO STUDY                                       102194                   NEEMAN MEDICAL INTERNATIONAL       NOT AVAILABLE
           SPECIFICATION ORDER #003                                                             INCORPORATED
           EFFECTIVE AS OF JUNE 14, 2004

2. 905     AMENDMENT #1 TO STUDY                                       102195                   NEEMAN MEDICAL INTERNATIONAL       NOT AVAILABLE
           SPECIFICATION ORDER #005                                                             INCORPORATED
           EFFECTIVE AS OF JUNE 14, 2005

2. 906     NEW HORIZONS LEARNING SOLUTIONS            6/9/2022         106036                   NEW HORIZONS COMPUTER LEARNING     NOT AVAILABLE
           CORPORATION - CSA CW2367154                                                          CTR
           (PB.RA) EFFECTIVE JUNE 10, 2019

2. 907     STUDY SPECIFICATION ORDER 001 TO                            102203                   NEW ORLEANS CLINCIAL TRIAL         ATTN: GENERAL COUNSEL
           MASTER SITE MANAGEMENT                                                               MANAGEMENT, INC.                   3901 HOUMA BLVD., MEDICAL
           ORGANIZATION AGREEMENT DATED                                                                                            PLAZA II, SUITE 405
           JUNE 14, 2002 DATED NOVEMBER 14,                                                                                        METARIE, LA 70006
           2003

2. 908     STUDY SPECIFICATION ORDER 002 TO                            102204                   NEW ORLEANS CLINCIAL TRIAL         ATTN: GENERAL COUNSEL
           MASTER SITE MANAGEMENT                                                               MANAGEMENT, INC.                   3901 HOUMA BLVD., MEDICAL
           ORGANIZATION AGREEMENT DATED 14-                                                                                        PLAZA II, SUITE 405
           JUN-02 DATED DECEMBER 31, 2003                                                                                          METARIE, LA 70006

2. 909     AMENDMENT #1 TO STUDY                                       102205                   NEW ORLEANS CLINICAL TRIAL         ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #001                                                             MANAGEMENT, INC.                   3901 HOUMA BLVD., MEDICAL
           EFFECTIVE AS OF NOVEMBER 14, 2003                                                                                       PLAZA II, SUITE 405
                                                                                                                                   METARIE, LA 70006

2. 910     MASTER SERVICES AGREEMENT                                   102206                   NEW SIGNATURE                      ATTN: LEGAL DEPARTMENT; AND
           EFFECTIVE AS OF NOVEMBER 01, 2016                                                                                       GARRY ANZAROOT
                                                                                                                                   1101 NEW YORK AVENUE
                                                                                                                                   NORTHWEST
                                                                                                                                   SUITE 675
                                                                                                                                   WASHINGTON, DC 20005
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2. 911     AMENDMENT #1 TO MASTER SERVICES                             102212                   NNE PHARMAPLAN, INC.             ATTN: GENERAL COUNSEL
           AGREEMENT DATED JUNE 01, 2013                                                                                         3005 CARRINGTON MALL BLVD.
                                                                                                                                 SUITE 380
                                                                                                                                 MORRISVILLE, NC 21560

2. 912     MASTER SERVICES AGREEMENT                                   102211                   NNE PHARMAPLAN, INC.             ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JUNE 01, 2013                                                                                         3005 CARRINGTON MALL BLVD.
                                                                                                                                 SUITE 380
                                                                                                                                 MORRISVILLE, NC 21560

2. 913     NOAHSPHARM LTD. - SOW -                                     102214                   NOAHSPHARM                       ATTN: GENERAL COUNSEL
           HYDROCODONE 30NOV18 (PS) DATED                                                                                        227 HONEY LOCUST DRIVE
           NOVEMBER 30, 2018                                                                                                     AVONDALE, PA 19311

2. 914     NOAHSPHARM LTD. - SOW -                                     102215                   NOAHSPHARM                       ATTN: GENERAL COUNSEL
           OXYCODONE 30NOV18 (PS) DATED                                                                                          227 HONEY LOCUST DRIVE
           NOVEMBER 30, 2018                                                                                                     AVONDALE, PA 19311

2. 915     MASTER SUPPLY AGREEMENT                                     106222                   NORAMCO INC.                     ATTN: GENERAL COUNSEL
           BETWEEN AND PURDUE PHARMA L.P.,                                                                                       500 SWEDES LANDING ROAD
           DATED JANUARY 1, 2008, AS AMENDED                                                                                     WILMINGTON, DE 19801
           BY AMENDMENTS 1 – 6

2. 916     STUDY SPECIFICATION ORDER 001                               102226                   NORTH TEXAS CLINICAL RESEARCH    ATTN: GENERAL COUNSEL
           DATED NOVEMBER 04, 2003                                                                                               1110 COTTONWOOD LANE
                                                                                                                                 IRVING, TX 75038

2. 917     PSO FORM TO MASTER SERVICES                                 102227                   NORTHERN BIOMEDICAL RESEARCH,    ATTN: GENERAL COUNSEL
           AGREEMENT DATED DECEMBER 05,                                                         INC.                             930 WEST SHERMAN BLVD.
           2000                                                                                                                  MUSKEGON, MI 49441

2. 918     PSO FORM TO MASTER SERVICES                                 102228                   NORTHERN BIOMEDICAL RESEARCH,    ATTN: GENERAL COUNSEL
           AGREEMENT DATED JANUARY 10, 2001                                                     INC.                             930 WEST SHERMAN BLVD.
                                                                                                                                 MUSKEGON, MI 49441

2. 919     PSO FORM TO MASTER SERVICES                                 102229                   NORTHERN BIOMEDICAL RESEARCH,    ATTN: GENERAL COUNSEL
           AGREEMENT DATED JANUARY 17, 2001                                                     INC.                             930 WEST SHERMAN BLVD.
                                                                                                                                 MUSKEGON, MI 49441




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2. 920     PHARMACY SUPPLY AGREEMENT                                    102233                   NOVATION LLC                      ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF NOVEMBER 15, 2013                                                                                       125 EAST JOHN CARPENTER
                                                                                                                                   FREEWAY
                                                                                                                                   IRVING, TX 75062-2324

2. 921     NOVUS INTELLIGENCE LLC MSA                 1/31/2022         106134                   NOVUS INTELLIGENCE LLC            NOT AVAILABLE
           CW2365261 (SD.RA) EFFECTIVE
           JANUARY 25, 2019

2. 922     MSA NEPC CW2352834 (DT.RA) DATED                             102234                   NPEC, LLC                         ATTN: GENERAL COUNSEL
           MARCH 16, 2017

2. 923     MASTER SERVICES AGREEMENT                                    102235                   NSF HEALTH SCIENCES, LLC          ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JULY 21, 2016                                                                                           2001 PENNSYLVANIA AVE.
                                                                                                                                   SUITE 950
                                                                                                                                   WASHINGTON, DC 20006

2. 924     AMENDMENT NO. 1 MASTER SERVICES                              102236                   NSPRO INC.                        NOT AVAILABLE
           AGREEMENT EFFECTIVE AS OF JUNE
           01, 2017

2. 925     AMENDMENT #2 TO MASTER CLINICAL                              102237                   NTOUCH RESEARCH CORPORATION       ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED JULY 16, 2001

2. 926     AMENDMENT #1 TO STUDY                                        102241                   NULIFE CLINICAL RESEARCH, INC.    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #001                                                                                                1020 S. ANAHELM BOULEVARD,
           EFFECTIVE AS OF JUNE 14, 2004                                                                                           SUITE 209
                                                                                                                                   ANAHEIM, CA 92805

2. 927     AMENDMENT #1 TO STUDY                                        102242                   NULIFE CLINICAL RESEARCH, INC.    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #002                                                                                                1020 S. ANAHELM BOULEVARD,
           EFFECTIVE AS OF FEBRUARY 22, 2005                                                                                       SUITE 209
                                                                                                                                   ANAHEIM, CA 92805

2. 928     STUDY SPECIFICATION ORDER 001 TO                             102240                   NULIFE CLINICAL RESEARCH, INC.    ATTN: GENERAL COUNSEL
           MASTER CLINICAL TRIAL AGREEMENT                                                                                         1020 S. ANAHELM BOULEVARD,
           DATED 22-APR-04 DATED APRIL 22, 2004                                                                                    SUITE 209
                                                                                                                                   ANAHEIM, CA 92805




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2. 929     STUDY SPECIFICATION ORDER 002 TO                            102243                   NULIFE CLINICAL RESEARCH, INC.      ATTN: GENERAL COUNSEL
           MASTER CLINICAL TRIAL AGREEMENT                                                                                          1020 S. ANAHELM BOULEVARD,
           DATED 22-APRIL-04 DATED MARCH 18,                                                                                        SUITE 209
           2005                                                                                                                     ANAHEIM, CA 92805

2. 930     AMENDMENT NO. 2 TO MASTER                                   102247                   NWN CORPORATION                     NOT AVAILABLE
           SERVICES AGREEMENT DATED
           DECEMBER 18, 2017

2. 931     AMENDMENT #7 TO SUPPLY                                      102250                   O.BERK COMPANY                      ATTN: GENERAL COUNSEL
           AGREEMENT DATED DECEMBER 01,                                                                                             3 MILLTOWN COURT
           2008                                                                                                                     UNION, NJ 07083

2. 932     QUALITY AGREEMENT EFFECTIVE AS                              102249                   O.BERK COMPANY                      ATTN: GENERAL COUNSEL
           OF JULY 15, 2014                                                                                                         3 MILLTOWN COURT
                                                                                                                                    UNION, NJ 07083

2. 933     STATEMENT OF WORK DATED APRIL 01,                           102251                   OCEAN COMPUTER GROUP, INC.          ATTN: GENERAL COUNSEL
           2016

2. 934     MASTER SERVICES AGREEMENT                                   102253                   OCTANT8, LLC D/B/A NYC MEETING      ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JUNE 08, 2016                                                        FACILITATORS                        360 7TH STREET, SUITE 3
                                                                                                                                    JERSEY CITY, NJ 07302

2. 935     MATERIAL TRANSFER AGREEMENT                                 106268                   OCULAR THERAPEUTIX, INC.            ATTN: CFO
           EFFECTIVE NOVEMBER 4, 2018                                                                                               15 CROSBY DRIVE
                                                                                                                                    BEDFORD, MA 01730

2. 936     AMENDMENT #1 TO STUDY                                       102254                   ODEYSSEY & COMPANY D/B/A            ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER DATED MARCH                                                      CLINICAL RESEARCH CONSORTIUM        4275 SOUTH BURNHAM, SUITE 128
           03, 2004                                                                                                                 LAS VEGAS, NV 89119

2. 937     AMENDMENT #001 TO MASTER SITE                               102256                   ODYSSET & COMPANY D/B/A CLINICAL    ATTN: GENERAL COUNSEL
           MANAGEMENT ORGANIZATION                                                              RESEARCH CONSORTIUM                 2250 E. TROPICANA AVE. #19-203
           AGREEMENT DATED APRIL 18, 2005                                                                                           LAS VEGAS, NV 89119

2. 938     AMENDMENT #2 TO MASTER CLINICAL                             102258                   ODYSSEY & COMPANY D/B/A CLINICAL    ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED MARCH 09,                                                      RESEARCH CONSORTIUM                 4275 SOUTH BURNHAM, SUITE 128
           2004                                                                                                                     LAS VEGAS, NV 89119



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2. 939     AMENDMENT #3 TO STUDY                                       102259                   ODYSSEY & COMPANY D/B/A CLINICAL    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #001 TO                                                          RESEARCH CONSORTIUM                 4275 SOUTH BURNHAM, SUITE 128
           MASTER SERVICES AGREEMENT                                                                                                LAS VEGAS, NV 89119
           EFFECTIVE AS OF JUNE 14, 2004

2. 940     STUDY SPECIFICATION ORDER 001 TO                            102257                   ODYSSEY & COMPANY D/B/A CLINICAL    ATTN: GENERAL COUNSEL
           MASTER SITE MANAGEMENT                                                               RESEARCH CONSORTIUM                 1338 SOUTH FOOTHILL DRIVE,
           ORGANIZATION AGREEMENT DATED                                                                                             #113
           MARCH 09, 2004                                                                                                           SALT LAKE CITY, UT 84108

2. 941     AMENDMENT #1 TO MASTER SITE                                 102267                   ODYSSEY RESEARCH SERVICES, INC.     ATTN: GENERAL COUNSEL
           MANAGEMENT ORGANIZATION                                                                                                  705 EAST MAIN AVENUE
           AGREEMENT DATED JUNE 14, 2004                                                                                            BISMARK, ND 58501

2. 942     AMENDMENT #1 TO MASTER SITE                                 102268                   ODYSSEY RESEARCH SERVICES, INC.     ATTN: GENERAL COUNSEL
           MANAGEMENT ORGANIZATION                                                                                                  705 EAST MAIN AVENUE
           AGREEMENT DATED JUNE 14, 2004                                                                                            BISMARK, ND 58501

2. 943     AMENDMENT #1 TO STUDY                                       102261                   ODYSSEY RESEARCH SERVICES, INC.     ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #003                                                                                                 705 EAST MAIN AVENUE
           EFFECTIVE AS OF OCTOBER 08, 2003                                                                                         BISMARK, ND 58501

2. 944     AMENDMENT #2 TO MASTER CLINICAL                             102270                   ODYSSEY RESEARCH SERVICES, INC.     ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED MAY 17, 2002                                                                                       705 EAST MAIN AVENUE
                                                                                                                                    BISMARCK, ND 58501

2. 945     AMENDMENT #2 TO MASTER SITE                                 102272                   ODYSSEY RESEARCH SERVICES, INC.     ATTN: GENERAL COUNSEL
           MANAGEMENT ORGANIZATION                                                                                                  705 EAST MAIN AVENUE
           AGREEMENT DATED MAY 17, 2002                                                                                             BISMARK, ND 58501

2. 946     AMENDMENT #3 TO STUDY                                       102255                   ODYSSEY RESEARCH SERVICES, INC.     ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #005 TO                                                                                              705 EAST MAIN AVENUE
           MASTER SITE MANAGEMENT                                                                                                   BISMARK, ND 58501
           ORGANIZATION AGREEMENT
           EFFECTIVE AS OF JUNE 14, 2004

2. 947     AMENDMENT TO MASTER SITE                                    102273                   ODYSSEY RESEARCH SERVICES, INC.     ATTN: GENERAL COUNSEL
           MANAGEMENT ORGANIZATION                                                                                                  705 EAST MAIN AVENUE
           AGREEMENT(PAYMENT AND BUDGET                                                                                             BISMARK, ND 58501
           SCHEDULE) EFFECTIVE AS OF
           DECEMBER 05, 2003

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2. 948     STUDY SPECIFICATION ORDER 003 TO                            102260                   ODYSSEY RESEARCH SERVICES, INC.    ATTN: GENERAL COUNSEL
           MASTER SITE MANAGEMENT                                                                                                  705 EAST MAIN AVENUE
           AGREEMENT DATED 17-MAY-02 DATED                                                                                         BISMARK, ND 58501
           OCTOBER 08, 2003

2. 949     STUDY SPECIFICATION ORDER 005 TO                            102274                   ODYSSEY RESEARCH SERVICES, INC.    ATTN: GENERAL COUNSEL
           MASTER SITE MANAGEMENT                                                                                                  705 E. MAIN AVENUE
           AGREEMENT DATED 17-MAY-02 DATED                                                                                         BISMARCK, ND 58501
           MAY 17, 2002

2. 950     STUDY SPECIFICATION ORDER 006 TO                            102262                   ODYSSEY RESEARCH SERVICES, INC.    ATTN: GENERAL COUNSEL
           MASTER SITE MANAGEMENT                                                                                                  705 EAST MAIN AVENUE
           AGREEMENT DATED 17-MAY-02 DATED                                                                                         BISMARCK, ND 58501
           MAY 17, 2002

2. 951     STUDY SPECIFICATION ORDER 007 TO                            102263                   ODYSSEY RESEARCH SERVICES, INC.    ATTN: GENERAL COUNSEL
           MASTER SITE MANAGEMENT                                                                                                  705 EAST MAIN AVENUE
           AGREEMENT DATED 17-MAY-02 DATED                                                                                         BISMARCK, ND 58501
           MAY 17, 2002

2. 952     STUDY SPECIFICATION ORDER 008 TO                            102264                   ODYSSEY RESEARCH SERVICES, INC.    ATTN: GENERAL COUNSEL
           MASTER SITE MANAGEMENT                                                                                                  705 EAST MAIN AVENUE
           ORGANIZATION AGREEMENT DATED 17-                                                                                        BISMARCK, ND 58501
           MAY-02 DATED MAY 17, 2002

2. 953     STUDY SPECIFICATION ORDER 009 TO                            102265                   ODYSSEY RESEARCH SERVICES, INC.    ATTN: GENERAL COUNSEL
           MASTER SITE MANAGEMENT                                                                                                  705 EAST MAIN AVENUE
           ORGANIZATION AGREEMENT DATED 17-                                                                                        BISMARCK, ND 58501
           MAY-02 DATED MAY 17, 2002

2. 954     STUDY SPECIFICATION ORDER 009 TO                            102266                   ODYSSEY RESEARCH SERVICES, INC.    ATTN: GENERAL COUNSEL
           MASTER SITE MANAGEMENT                                                                                                  705 EAST MAIN AVENUE
           ORGANIZATION AGREEMENT DATED 17-                                                                                        BISMARCK, ND 58501
           MAY-02 DATED MAY 17, 2002

2. 955     MASTER CLINICAL TRIAL AGREEMENT                             102277                   OHIO CLINICAL TRIALS, INC.         ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JANUARY 01, 2019                                                                                        1380 EDGEHILL ROAD
                                                                                                                                   COLUMBUS, OH 43212




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2. 956     OHIO CLINICAL TRIALS INC. (OCT)          12/31/2019         106197                   OHIO CLINICAL TRIALS, INC.            ATTN: GENERAL COUNSEL
           MASTER CLINICAL TRIAL AGMT 2019                                                                                            1380 EDGEHILL ROAD
           CW2364656 EFFECTIVE JANUARY 01,                                                                                            COLUMBUS, OH 43212
           2019

2. 957     OHIO CLINICAL TRIALS STUDY                                  102276                   OHIO CLINICAL TRIALS, INC.            ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER CW2361260                                                                                              1380 EDGEHILL ROAD
           OAG1010 (LK.RA) DATED JANUARY 01,                                                                                          COLUMBUS, OH 43212
           2018

2. 958     AMENDMENT #1: TO MASTER CLINICAL                            102281                   OMEGA MEDICAL RESEARCH                ATTN: JOHNNA PEZZULLO
           TRIAL AGREEMENT DATED JUNE 14,                                                                                             400 BALD HILL ROAD
           2004                                                                                                                       WARWICK, RI 02886

2. 959     AMENDMENT NO. 2 TO STUDY                                    102283                   OMEGA MEDICAL RESEARCH                ATTN: JOHNNA PEZZULLO
           SPECIFICATION EFFECTIVE AS OF                                                                                              400 BALD HILL ROAD
           DECEMBER 15, 2004                                                                                                          WARWICK, RI 02886

2. 960     STUDY SPECIFICATION ORDER #002                              102282                   OMEGA MEDICAL RESEARCH                ATTN: JOHNNA PEZZULLO
           MASTER CLINICAL TRIAL AGREEMENT                                                                                            400 BALD HILL ROAD
           EFFECTIVE AS OF FEBRUARY 13, 2004                                                                                          WARWICK, RI 02886

2. 961     AMENDMENT #1 TO CONTRACT                                    102286                   OMNICARE CLINICAL RESEARCH, INC.      ATTN: GENERAL COUNSEL
           RESEARCH ORGANIZATION                                                                                                      630 ALLENDALE ROAD
           AGREEMENT DATED SEPTEMBER 15,                                                                                              KING OF PRUSSIA, PA 19406
           2000

2. 962     AMENDMENT #1 TO PROJECT                                     102284                   OMNICARE CLINICAL RESEARCH, INC.      ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #3 DATED MAY                                                                                           630 ALLENDALE ROAD
           30, 2001                                                                                                                   KING OF PRUSSIA, PA 19406

2. 963     PSO 2 DATED OCTOBER 24, 2000                                102285                   OMNICARE CLINICAL RESEARCH, INC.      ATTN: GENERAL COUNSEL
                                                                                                                                      630 ALLENDALE ROAD
                                                                                                                                      KING OF PRUSSIA, PA 19406

2. 964     MASTER SERVICES AGREEMENT                                   102292                   ONLINE BUSINESS APPLICATIONS, INC.    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF NOVEMBER 30, 2016                                                                                          9018 HERITAGE PARKWAY, SUITE
                                                                                                                                      600
                                                                                                                                      WOODRIDGE, IL 60517




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2. 965     SEARCH FIRM AGREEMENT EFFECTIVE                             102293                   ONWARD SEARCH, INC. D/B/A        ATTN: GENERAL COUNSEL
           AS OF JULY 10, 2012                                                                  ONWARD ITG                       64 DANBURY ROAD
                                                                                                                                 SUITE 100
                                                                                                                                 WILTON, CT 06897

2. 966     OPTIMAL STRAGEGIX GROUP, INC. MSA                           102298                   OPTIMAL STRATEGIX GROUP, INC.    ATTN: GENERAL COUNSEL
           09022016 CW2319575 (AB.MCR) DATED                                                                                     100 TERRY DRIVE, SUITE 118
           SEPTEMBER 02, 2016                                                                                                    NEWTOWN, PA 18940

2. 967     AMENDMENT #3 TO STUDY                                       102300                   OPTIMED RESEARCH, LLC            ATTN: GENERAL COUNSEL
           APPLICATION ORDER #001 EFFECTIVE                                                                                      8100 RAVINES EDGE COURT,
           AS OF FEBRUARY 22, 2005                                                                                               SUITE 240
                                                                                                                                 COLUMBUS, OH 43235

2. 968     STUDY SPECIFICATION ORDER 001 TO                            102299                   OPTIMED RESEARCH, LLC            ATTN: GENERAL COUNSEL
           MASTER CLINICAL TRIAL AGREEMENT                                                                                       8100 RAVINES EDGE COURT,
           DATED MARCH 05, 2004                                                                                                  SUITE 240
                                                                                                                                 COLUMBUS, OH 43235

2. 969     AMENDMENT #1 TO STUDY                                       102301                   OPTIMED RESEARCH, LLC.           ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER DATED MARCH                                                                                       8100 RAVINES EDGE COURT,
           04, 2004                                                                                                              SUITE 240
                                                                                                                                 COLUMBUS, OH 43235

2. 970     AMENDMENT #2 TO MASTER CLINICAL                             102302                   OPTIMED RESEARCH, LLC.           ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED MARCH 04,                                                                                       8100 RAVINES EDGE COURT,
           2004                                                                                                                  SUITE 240
                                                                                                                                 COLUMBUS, OH 43235

2. 971     OPTIMIZERX CORPORATION - SOW 2019-       12/31/2019         106184                   OPTIMIZERX CORPORATION           ATTN: GENERAL COUNSEL
           1 DRUG FILE INTEGRATION CW2367169                                                                                     400 WATER ST STE 200
           (SD.RA) EFFECTIVE JUNE 06, 2019                                                                                       ROCHESTER, MI 48307

2. 972     OPTIMIZERX CORPORATION - SOW 2019-       12/31/2019         106176                   OPTIMIZERX CORPORATION           ATTN: GENERAL COUNSEL
           2 MESSAGING CW2367251(SD.RA)                                                                                          400 WATER ST STE 200
           EFFECTIVE JUNE 13, 2019                                                                                               ROCHESTER, MI 48307

2. 973     OPTIMIZERX CORPORATION MSA                4/25/2022         106166                   OPTIMIZERX CORPORATION           ATTN: GENERAL COUNSEL
           CW2366638 (SD.RA) EFFECTIVE APRIL                                                                                     400 WATER ST STE 200
           26, 2019                                                                                                              ROCHESTER, MI 48307



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2. 974     AMENDMENT #3 TO MSA DATED MARCH                             102305                   OPTUMINSIGHT LIFE SCIENCES, INC.    ATTN: GENERAL COUNSEL
           30, 2011                                                                                                                 1301 ATWOOD AVE, SUITE 311N
                                                                                                                                    JOHNSTON, RI 2919

2. 975     OPTUM MSA AMENDMENT 1 PRO                                   102304                   OPTUMINSIGHT LIFE SCIENCES, INC.    ATTN: GENERAL COUNSEL
           SCALE 01252018 CW2360031 (LK.RA)                                                                                         1301 ATWOOD AVE, SUITE 311N
           DATED FEBRUARY 05, 2018                                                                                                  JOHNSTON, RI 2919

2. 976     AMENDMENT ONE FOR ORDERING                                  102311                   ORACLE AMERICA, INC.                ATTN: GENERAL COUNSEL
           DOCUMENT DATED NOVEMBER 02, 2011

2. 977     SERVICES AGREEMENT DATED APRIL 9,                           102314                   ORACLE COPORATION                   ATTN: GENERAL COUNSEL
           2001 DATED APRIL 09, 2001                                                                                                500 ORACLE PARKWAY
                                                                                                                                    REDWOOD CITY, CA 94065

2. 978     AMENDMENT ONE TO ORDERING                                   102316                   ORACLE CORPORATION                  ATTN: GENERAL COUNSEL
           DOCUMENT DATED AUGUST 31, 2001                                                                                           500 ORACLE PARKWAY
                                                                                                                                    REDWOOD CITY, CA 94065

2. 979     AMENDMENT ONE TO SERVICES                                   102315                   ORACLE CORPORATION                  ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF APRIL                                                                                          500 ORACLE PARKWAY
           09, 2001                                                                                                                 REDWOOD CITY, CA 94065

2. 980     ORDERING DOCUMENT EFFECTIVE AS                              102318                   ORACLE USA, INC.                    ATTN: GENERAL COUNSEL
           OF AUGUST 26, 2009                                                                                                       500 ORACLE PARKWAY
                                                                                                                                    REDWOOD SHORES, CA 94065

2. 981     DR. MICHAEL ORR CSA CW2364352                               102319                   ORR NONCLINICAL CONSULTING LLC      ATTN: GENERAL COUNSEL
           (LH.RA) DATED NOVEMBER 26, 2018                                                                                          12173 HIDDEN BROOK TERRACE
                                                                                                                                    NORTH POTOMAC, MD 20878

2. 982     QUALITY AGREEMENT DATED                                     102326                   OTHER                               ATTN: GENERAL COUNSEL
           DECEMBER 07, 2007                                                                                                        575 GRANITE COURT, PICKERING
                                                                                                                                    ONTARIO L1W 3W8
                                                                                                                                    CANADA

2. 983     MASTER LABORATORY AND NON-                                  102327                   OTOSCIENCE LABS, LLC                ATTN: GENERAL COUNSEL
           CLINICAL SERVICES AGREEMENT                                                                                              1225 TENDICK STREET
           EFFECTIVE AS OF MARCH 03, 2017                                                                                           JACKSONVILLE, IL 62650



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2. 984     MASTER PROJECT SPECIFICATION                                102328                   OTOSCIENCE LABS, LLC               ATTN: GENERAL COUNSEL
           ORDER EFFECTIVE AS OF MARCH 03,                                                                                         1225 TENDICK STREET
           2017                                                                                                                    JACKSONVILLE, IL 62650

2. 985     PROJECT AGREEMENT DATED JUNE 17,                            102330                   P \S \L GROUP AMERICA LIMITED      ATTN: GENERAL COUNSEL
           2003                                                                                                                    PARK 80 WEST PLAZA II
                                                                                                                                   SUITE 200
                                                                                                                                   SADDLE BROOK, NJ 07663

2. 986     AMENDMENT #2 TO MASTER SERVICES                             102334                   PACKETLOGIX INC.                   140 LINCOLN AVENUE
           AGREEMENT DATED JANUARY 01, 2014                                                                                        BARRINGTON, RI 02806

2. 987     PADILLA SPEER BEARDSLEY INC. - CSA         6/9/2022         106009                   PADILLA                            NOT AVAILABLE
           CW2367175 OXYCONTIN SUPPORT
           (LH.RA) EFFECTIVE JUNE 10, 2019

2. 988     AMENDMENT #1 TO STUDY                                       102337                   PAIN & REHABILITATION CLINIC OF    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #001                                                             CHICAGO                            640 N. LASALLE STREET, SUITE
           EFFECTIVE AS OF JUNE 14, 2004                                                                                           610
                                                                                                                                   CHICAGO, IL 61610

2. 989     AMENDMENT #1 TO STUDY                                       102338                   PAIN & REHABILITATION CLINIC OF    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #003                                                             CHICAGO                            640 N. LASALLE STREET, SUITE
           EFFECTIVE AS OF JUNE 14, 2004                                                                                           610
                                                                                                                                   CHICAGO, IL 61610

2. 990     AMENDMENT #2 TO MASTER CLINICAL                             102340                   PAIN & REHABILITATION CLINIC OF    ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED NOVEMBER                                                       CHICAGO                            640 N. LASALLE STREET, SUITE
           06, 2003                                                                                                                610
                                                                                                                                   CHICAGO, IL 61610

2. 991     AMENDMENT #2 TO MASTER CLINICAL                             102347                   PAIN & REHABILITATION CLINIC OF    ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED NOVEMBER                                                       CHICAGO
           06, 2003

2. 992     AMENDMENT #3 TO STUDY                                       102342                   PAIN & REHABILITATION CLINIC OF    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #001 TO                                                          CHICAGO                            640 N. LASALLE STREET, SUITE
           MASTER CLINICAL TRIAL AGREEMENT                                                                                         610
           EFFECTIVE AS OF FEBRUARY 22, 2005                                                                                       CHICAGO, IL 61610




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2. 993     AMENDMENT #3 TO STUDY                                       102341                   PAIN & REHABILITATION CLINIC OF    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #001 TO                                                          CHICAGO                            640 N. LASALLE STREET, SUITE
           MASTER SERVICES AGREEMENT                                                                                               610
           EFFECTIVE AS OF FEBRUARY 22, 2005                                                                                       CHICAGO, IL 61610

2. 994     STUDY SPECIFICATION ORDER 001 TO                            102339                   PAIN & REHABILITATION CLINIC OF    ATTN: GENERAL COUNSEL
           MASTER CLINICAL TRIAL AGREEMENT                                                      CHICAGO                            640 NORTH LASALLIE STREET,
           DATED DECEMBER 05, 2004                                                                                                 SUIRE 610
                                                                                                                                   CHICAGO, IL 61610

2. 995     STUDY SPECIFICATION ORDER 003                               102336                   PAIN & REHABILITATION CLINIC OF    ATTN: GENERAL COUNSEL
           DATED FEBRUARY 12, 2004                                                              CHICAGO                            640 N. LASALLE STREET, SUITE
                                                                                                                                   610
                                                                                                                                   CHICAGO, IL 61610

2. 996     AMENDMENT #1 TO STUDY                                       102344                   PAIN AND PHARMACEUTICAL C-         NOT AVAILABLE
           SPECIFICATION ORDER #005                                                             TRIALS, INC.
           EFFECTIVE AS OF JUNE 14, 2004

2. 997     AMENDMENT #1 TO STUDY                                       102343                   PAIN AND PHARMACEUTICAL C-         NOT AVAILABLE
           SPECIFICATION ORDER #010 DATED                                                       TRIALS, INC.
           JUNE 14, 2004

2. 998     AMENDMENT #1 TO MASTER CLINICAL                             102345                   PAIN AND PHARMACEUTICAL C-         NOT AVAILABLE
           TRIAL AGREEMENT DATED JUNE 14,                                                       TRIALS. INC
           2004

2. 999     AMENDMENT #1 TO MASTER CLINICAL                             102346                   PAIN AND PHARMACEUTICAL C-         NOT AVAILABLE
           TRIAL AGREEMENT DATED JUNE 14,                                                       TRIALS. INC
           2004

2. 1000    STUDY SPECIFICATION ORDER 001 TO                            102348                   PAIN RESEARCH INSTITUTE OF THE     ATTN: GENERAL COUNSEL
           MASTER CLINICAL TRIAL AGREEMENT                                                      CAROLINAS                          2001 RANDOLPH ROAD
           DATED 91304 DATED SEPTEMBER 20,                                                                                         CHARLOTTE, NC 28207
           2004

2. 1001    STUDY SPECIFICATION ORDER 002 TO                            102349                   PAIN RESEARCH INSTITUTE OF THE     ATTN: GENERAL COUNSEL
           MASTER CLINICAL TRIAL AGREEMENT                                                      CAROLINAS                          2001 RANDOLPH ROAD
           DATED 91304 DATED APRIL 13, 2005                                                                                        CHARLOTTE, NC 28207




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2. 1002    SEARCH FIRM AGREEMENT DATED                                 102350                   PALMER & YOUNG, INC.            ATTN: GENERAL COUNSEL
           OCTOBER 12, 2009                                                                                                     P.O. BOX 805
                                                                                                                                WILLSBORO, NY 12996

2. 1003    PANGEA3 US LLC MSA CW2365615              2/29/2024         105931                   PANGEA3 US LLC                  NOT AVAILABLE
           (LH.RA) EFFECTIVE MARCH 01, 2019

2. 1004    AMENDMENT #1 TO                                             102351                   PAR PHARMACEUTICAL, INC.        ATTN: GENERAL COUNSEL
           PHARMACOVIGILANCE AGREEMENT                                                                                          6 RAM RIDGE ROAD
           DATED JUNE 05, 2014                                                                                                  CHESNUT RIDGE, NY 10977

2. 1005    DISTRIBUTION AND SUPPLY                                     106272                   PAR PHARMACEUTICAL, INC.        GENERAL COUNSEL
           AGREEMENT BETWEEN PAR                                                                                                ONE RAM RIDGE ROAD
           PHARMACEUTICAL, INC. AND PURDUE                                                                                      SPRING VALLEY, NY 10977
           PHARMA L.P., DATED SEPTEMBER 20,
           2013

2. 1006    DISTRIBUTION AND SUPPLY                                     106273                   PAR PHARMACEUTICAL, INC.        GENERAL COUNSEL
           AGREEMENT BETWEEN PAR                                                                                                ONE RAM RIDGE ROAD
           PHARMACEUTICAL, INC. AND PURDUE                                                                                      SPRING VALLEY, NY 10977
           PHARMA L.P., DATED SEPTEMBER 20,
           2013

2. 1007    DISTRIBUTION AND SUPPLY                                     102353                   PAR PHARMACEUTICAL, INC.        ATTN: GENERAL COUNSEL
           AGREEMENT DATED SEPTEMBER 20,                                                                                        300 TICE BOULEVARD
           2013                                                                                                                 WOODCLIFF LAKE, NJ 07677

2. 1008    PHARMACOVIGILANCE AGREEMENT                                 102358                   PAR PHARMACEUTICAL, INC.        ATTN: GENERAL COUNSEL
           EXECUTED JUNE 05, 2014                                                                                               300 TICE BOULEVARD
                                                                                                                                WOODCLIFF LAKE, NJ 07677

2. 1009    QUALITY AGREEMENT DATED MAY 20,                             102357                   PAR PHARMACEUTICAL, INC.        ATTN: GENERAL COUNSEL
           2014                                                                                                                 300 TICE BOULEVARD
                                                                                                                                WOODCLIFF LAKE, NJ 07677

2. 1010    LETTER OF AGREEMENT DATED JULY                              102360                   PAREXEL INTERNATIONAL           ATTN: GENERAL COUNSEL
           14, 2000                                                                             CORPORATION                     200 WEST STREET
                                                                                                                                WALTHAM, MA 02451-1163




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2. 1011    PSO 1 TO MASTER AND FILINGS                                 102361                   PAREXEL INTERNATIONAL             ATTN: GENERAL COUNSEL
           AGREEMENT DATED NOVEMBER 30,                                                         CORPORATION
           2000

2. 1012    SEARCH FIRM AGREEMENT EFFECTIVE                             102362                   PARKWOOD INTERNATIONAL            ATTN: GENERAL COUNSEL
           AS OF JUNE 24, 2008                                                                                                    3550 PARKWOOD BLVD
                                                                                                                                  SUITE 500
                                                                                                                                  FRISCO, TX 75034

2. 1013    PARTICLE SCIENCES SOW 19NOV18                               102364                   PARTICLE SCIENCES, INC.           ATTN: GENERAL COUNSEL
           CW2364581 PUR2863 NALMEFENE                                                                                            3894 COURTNEY STREET, SUITE
           CLINICAL MFG (RJ.RA) DATED                                                                                             180
           NOVEMBER 19, 2018                                                                                                      BETHLELEM, PA 18017

2. 1014    MASTER SERVICE AGREEMENT                                    102365                   PARTICLE SCIENCES, LLC            ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF NOVEMBER 05, 2018                                                                                      3894 COURTNEY STREET, SUITE
                                                                                                                                  180
                                                                                                                                  BETHLEHEM, PA 18017

2. 1015    MASTER SERVICE AGREEMENT                                    102366                   PARTICLE SCIENCES, LLC            ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF NOVEMBER 26, 2018                                                                                      3894 COURTNEY STREET, SUITE
                                                                                                                                  180
                                                                                                                                  BETHLEHEM, PA 18017

2. 1016    PARX SOLUTIONS, INC. - SOW 2019-1          6/5/2020         106182                   PARX SOLUTIONS INC                NOT AVAILABLE
           CW2367165 (SD.RA) EFFECTIVE JUNE
           06, 2019

2. 1017    PARX SOLUTIONS, INC. MSA CW2366809        5/16/2022         106158                   PARX SOLUTIONS INC                NOT AVAILABLE
           (SD.RA) EFFECTIVE MAY 17, 2019

2. 1018    MANUFACTURING AND SUPPLY                                    106274                   PATHEON MANUFACTURING SERVICES    NOT AVAILABLE
           AGREEMENT DATED FEBRUARY 25,                                                         LLC
           2016 BETWEEN PATHEON
           MANUFACTURING SERVICES LLC AND
           THE COMPANY




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2. 1019    MANUFACTURING SERVICES                                      102367                   PATHEON PHARMACEUTICALS, INC.    ATTN: GENERAL COUNSEL
           AGREEMENT DATED MARCH 22, 2011                                                                                        2110 EAST GALBRAITH ROAD,
                                                                                                                                 CINCINNATI, OH 45237
                                                                                                                                 4721 EMPEROR BOULEVARD,
                                                                                                                                 RESEARCH TRIANGLE PARK, NC
                                                                                                                                 27703

2. 1020    MASTER AGREEMENT FOR                                        106275                   PATHEON PHARMACEUTICALS, INC.    ATTN: GENERAL COUNSEL
           PHARMACEUTICAL DEVELOPMENT AND                                                                                        2110 EAST GALBRAITH ROAD
           TECHNOLOGY TRANSFER SERVICES                                                                                          CINCINNATI, OH 45237
           DATED AUGUST 30, 2018 BETWEEN
           PATHEON PHARMACEUTICALS INC. AND
           THE COMPANY

2. 1021    MASTER SERVICES AGREEMENT                                   102368                   PATHEON PHARMACEUTICALS, INC.    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF OCTOBER 01, 2016                                                                                      2110 EAST GALBRAITH ROAD
                                                                                                                                 CINCINNATI, OH 45237

2. 1022    QUALITY AGREEMENT DATED JULY 31,                            102369                   PATHEON PHARMACEUTICALS, INC.    ATTN: GENERAL COUNSEL
           2009                                                                                                                  2110 EAST GALBRAITH ROAD
                                                                                                                                 CINCINNATI, OH 45237

2. 1023    MANUFACTURING SERVICES                                      102371                   PATHEON SOFTGELS, INC.           ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JULY                                                                                        4125 PREMIER DRIVE
           25, 2017                                                                                                              HIGH POINT, NC 27265

2. 1024    AUTHORSHIP AGREEMENT DATED                                  102380                   PAUL L. BIGLIARDI                ATTN: GENERAL COUNSEL
           OCTOBER 05, 2017                                                                                                      222A OCEAN DRIVE
                                                                                                                                 #06-28
                                                                                                                                 SINGAPORE 098619
                                                                                                                                 SLOVENIA

2. 1025    AMENDMENT NO. 1 TO WORK ORDER                               102382                   PDD GLOBAL CENTRAL LABS, LLC     NOT AVAILABLE
           TO MASTER CRO AGREEMENT
           EFFECTIVE AS OF SEPTEMBER 28, 2015

2. 1026    MASTER SERVICES AGREEMENT                                   102383                   PDQ COMMUNICATIONS, INC.         ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JANUARY 27, 2017                                                                                      105 STEWART AVENUE
                                                                                                                                 GARDEN CITY, NY 11530




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Schedule G: Executory Contracts and Unexpired Leases
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2. 1027    CONSENT TO ASSIGNMENT AND                                   102386                   PEAK-RYZEX INC                      ATTN: GENERAL COUNSEL
           AMENDMENT DATED OCTOBER 09, 2017                                                                                         10330 OLD COLUMBIA ROAD
                                                                                                                                    COLUMBIA, MD 21046

2. 1028    MASTER SERVICES AGREEMENT                                   102387                   PEAK-RYZEX, INC.                    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF APRIL 05, 2014                                                                                           10330 OLD COLUMBIA ROAD
                                                                                                                                    COLUMBIA, MD 21046

2. 1029    INDEPENDENT CONTRACTOR                                      102390                   PEOPLE-TO-PEOPLE HEALTH             ATTN: GENERAL COUNSEL
           AGREEMENT DATED APRIL 30, 1997                                                       FOUNDATION, INC.                    7500 OLD GEORGETOWN ROAD
                                                                                                                                    SUITE 600
                                                                                                                                    BETHESDA, MD 20814-6133

2. 1030    STATEMENT OF WORK DATED                                     102392                   PEREGRINE MARKET ACCESS             ATTN: GENERAL COUNSEL
           SEPTEMBER 19, 2018                                                                                                       125 HIGH ROCK AVENUE, SUITE
                                                                                                                                    300
                                                                                                                                    SARATOGA SPRINGS, NY 12866

2. 1031    AMENDMENT #4 TO MASTER SERVICES                             102393                   PERKINELMER HEALTH SCIENCES, INC. ATTN: GENERAL COUNSEL
           AGREEMENT DATED APRIL 01, 2008

2. 1032    SEARCH FIRM AGREEMENT DATED                                 102394                   PERMANENT SOLUTIONS GROUP, INC.     ATTN: GENERAL COUNSEL
           AUGUST 17, 2010                                                                                                          135 SULLY'S TRAIL
                                                                                                                                    SUITE 6
                                                                                                                                    PITTSFORD, NY 14534

2. 1033    ADDENDUM NO. 1 TO AMENDED AND                               102395                   PERNIX THERAPEUTICS HOLDINGS INC    ATTN: GENERAL COUNSEL
           RESTATED STATEMENT OF WORK                                                                                               10 NORTH PARK PLACE, SUITE
           EFFECTIVE AS OF APRIL 01, 2015                                                                                           201, MORRISTOWN, NJ 07960

2. 1034    AMENDMENT #1 TO STATEMENT OF                                102399                   PETER J. PITTS                      ATTN: GENERAL COUNSEL
           WORK DATED JANUARY 01, 2018                                                                                              54 RIVERSIDE DRIVE, SUITE D
                                                                                                                                    NEW YORK, NY 10025

2. 1035    AMENDMENT #2 TO STATEMENT OF                                102400                   PETER J. PITTS                      ATTN: GENERAL COUNSEL
           WORK DATED DECEMBER 31, 2018                                                                                             54 RIVERSIDE DRIVE, SUITE D
                                                                                                                                    NEW YORK, NY 10025

2. 1036    ADDENDUM NO. 1 TO AMENDED AND                               102402                   PFIZER INC                          235 EAST 42ND STREET
           RESTATED STATEMENT OF WORK                                                                                               NEW YORK, NY 10017
           EFFECTIVE AS OF APRIL 01, 2015

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2. 1037    AMENDMENT TO MASTER SERVICES                                102405                   PHARMA DIGITAL COMMUNICATIONS    ATTN: GENERAL COUNSEL
           AGREEMENT DATED NOVEMBER 18,
           2013

2. 1038    MASTER SERVICES AGREEMENT                                   102407                   PHARMACENTRA LLC                 ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JUNE 16, 2016                                                                                         105 INDUSTRIAL DRIVE
                                                                                                                                 AMERICUS, GA 31717

2. 1039    PHARMACENTRA LLC - SOW 2019-2             7/31/2020         106146                   PHARMACENTRA LLC                 ATTN: GENERAL COUNSEL
           PHARMACY LOCATOR SERVCIES                                                                                             105 INDUSTRIAL DRIVE
           ADHANSIA CW2367003 (SD.RA)                                                                                            AMERICUS, GA 31717
           EFFECTIVE APRIL 19, 2019

2. 1040    PHARMACENTRA SOW PHARMACY                 1/31/2020         106144                   PHARMACENTRA LLC                 ATTN: GENERAL COUNSEL
           LOCATOR SERVCIES CW2365974                                                                                            105 INDUSTRIAL DRIVE
           (SD.RA) EFFECTIVE FEBRUARY 01, 2019                                                                                   AMERICUS, GA 31717

2. 1041    PHARMACENTRA, LLC - AMEND 1 TO            6/15/2022         106194                   PHARMACENTRA LLC                 ATTN: GENERAL COUNSEL
           MSA CW2365971 (SD.RA) EFFECTIVE                                                                                       105 INDUSTRIAL DRIVE
           MARCH 18, 2019                                                                                                        AMERICUS, GA 31717

2. 1042    STUDY SPECIFICATION ORDER 005 TO                            102409                   PHARMACEUTICAL C-TRIALS, INC     ATTN: GENERAL COUNSEL
           MASTER CLINICAL TRIAL AGREEMENT                                                                                       1550 NORWOOD DRIVE, SUITE 100
           DATED NOVEMBER 19, 2003                                                                                               HURST, TX 76054

2. 1043    STUDY SPECIFICATION ORDER 006 TO                            102410                   PHARMACEUTICAL C-TRIALS, INC     ATTN: GENERAL COUNSEL
           MASTER CLINICAL TRIAL AGREEMENT                                                                                       1550 NORWOOD DRIVE, SUITE 100
           DATED NOVEMBER 19, 2003                                                                                               HURST, TX 76054

2. 1044    STUDY SPECIFICATION ORDER 007 TO                            102411                   PHARMACEUTICAL C-TRIALS, INC     ATTN: GENERAL COUNSEL
           MASTER CLINICAL TRIAL AGREEMENT                                                                                       1550 NORWOOD DRIVE, SUITE 100
           DATED 111903 DATED NOVEMBER 19,                                                                                       HURST, TX 76054
           2003

2. 1045    AMENDMENT #2 TO MASTER CLINICAL                             102412                   PHARMACEUTICAL C-TRIALS, INC.    ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED NOVEMBER                                                                                        1550 NORWOOD DRIVE, SUITE 100
           19, 2003                                                                                                              HURST, TX 76054

2. 1046    AMENDMENT #2 TO MASTER CLINICAL                             102413                   PHARMACEUTICAL C-TRIALS, INC.    ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED NOVEMBER                                                                                        1550 NORWOOD DRIVE, SUITE 100
           19, 2003                                                                                                              HURST, TX 76054

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2. 1047    AMENDMENT #3 TO STUDY                                       102414                   PHARMACEUTICAL C-TRIALS, INC.    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #005 TO                                                                                           1550 NORWOOD DRIVE, SUITE 100
           MASTER CLINICAL TRIAL AGREEMENT                                                                                       HURST, TX 76054
           EFFECTIVE AS OF FEBRUARY 22, 2005

2. 1048    MASTER SERVICES AGREEMENT                                   102415                   PHARMACEUTICAL DATA SERVICES,    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF APRIL 17, 2017                                                       INC.                             43 MARNE STREET REAR
                                                                                                                                 HAMDEN, CT 06514

2. 1049    AMENDMENT TO MASTER SERVICES                                102421                   PHARMACEUTICAL RESEARCH          ATTN: GENERAL COUNSEL
           AGREEMENT DATED APRIL 10, 1998                                                       ASSOCIATES, INC.                 ONE STAMFORD FORUM
                                                                                                                                 STAMFORD, CT 06901

2. 1050    AMENDMENT TO TASK ORDERS                                    102425                   PHARMACEUTICAL RESEARCH          ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF SEPTEMBER 30, 1999                                                   ASSOCIATES, INC.                 2400 OLD IVY ROAD
                                                                                                                                 CHARLOTTESVILLE, VA 22903

2. 1051    CONSENT AGREEMENT DATED                                     102424                   PHARMACEUTICAL RESEARCH          ATTN: GENERAL COUNSEL
           DECEMBER 20, 2013                                                                    ASSOCIATES, INC.                 4130 PARK LAKE AVENUE
                                                                                                                                 SUITE 400
                                                                                                                                 RELEIGH, NC 27612

2. 1052    MASTER SERVICES AGREEMENT                                   102419                   PHARMACEUTICAL RESEARCH          ATTN: GENERAL COUNSEL
           DATED APRIL 10, 1998                                                                 ASSOCIATES, INC.                 ONE STAMFORD FORUM
                                                                                                                                 STAMFORD, CT 06901

2. 1053    TASK ORDER #7 DATED APRIL 10, 1998                          102420                   PHARMACEUTICAL RESEARCH          ATTN: GENERAL COUNSEL
                                                                                                ASSOCIATES, INC.                 ONE STAMFORD FORUM
                                                                                                                                 STAMFORD, CT 06901

2. 1054    TASK ORDER 1 OXYCODONE PROJECT                              102417                   PHARMACEUTICAL RESEARCH          ATTN: GENERAL COUNSEL
           DATED APRIL 27, 1998                                                                 ASSOCIATES, INC.                 ONE STAMFORD FORUM
                                                                                                                                 STAMFORD, CT 06901

2. 1055    TASK ORDER 2 HYDROCODONE                                    102418                   PHARMACEUTICAL RESEARCH          ATTN: GENERAL COUNSEL
           PROJECT DATED APRIL 27, 1998                                                         ASSOCIATES, INC.                 ONE STAMFORD FORUM
                                                                                                                                 STAMFORD, CT 06901

2. 1056    THIRD AMENDMENT TO TASK ORDERS                              102422                   PHARMACEUTICAL RESEARCH          ATTN: GENERAL COUNSEL
           DATED APRIL 17, 2000                                                                 ASSOCIATES, INC.                 ONE STAMFORD FORUM
                                                                                                                                 STAMFORD, CT 06901

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2. 1057    SEARCH FIRM AGREEMENT DATED                                 102430                   PHARMACEUTICAL SEARCH, INC.         ATTN: GENERAL COUNSEL
           OCTOBER 04, 2007                                                                                                         5032 REMINGTON DRIVE
                                                                                                                                    COOPERSBURG, PA 18036

2. 1058    STUDY SPECIFICATION ORDER 008 TO                            102432                   PHARMACEUTICALS C-TRIALS, INC       ATTN: GENERAL COUNSEL
           MASTER CLINICAL TRIAL AGREEMENT                                                                                          1550 NORWOOD DRIVE, SUITE 100
           DATED 111903 DATED NOVEMBER 19,                                                                                          HURST, TX 76054
           2003

2. 1059    STUDY SPECIFICATION ORDER 009 TO                            102433                   PHARMACEUTICALS C-TRIALS, INC       ATTN: GENERAL COUNSEL
           MASTER CLINICAL TRIAL AGREEMENT                                                                                          1550 NORWOOD DRIVE, SUITE 100
           DATED 111903 DATED NOVEMBER 19,                                                                                          HURST, TX 76054
           2003

2. 1060    STUDY SPECIFICATION ORDER 010 TO                            102431                   PHARMACEUTICALS C-TRIALS, INC       ATTN: GENERAL COUNSEL
           MASTER CLINICAL TRIAL AGREEMENT                                                                                          1550 NORWOOD DRIVE, SUITE 100
           DATED 111903 DATED NOVEMBER 19,                                                                                          HURST, TX 76054
           2003

2. 1061    STUDY SPECIFICATION ORDER 011 TO                            102434                   PHARMACEUTICALS C-TRIALS, INC       ATTN: GENERAL COUNSEL
           MASTER SITE MANAGEMENT                                                                                                   1550 NORWOOD DRIVE, SUITE 100
           ORGANIZATION AGREEMENT DATED                                                                                             HURST, TX 76054
           111903 DATED NOVEMBER 19, 2003

2. 1062    AMENDMENT #2 TO MASTER CLINICAL                             102435                   PHARMACEUTICALS C-TRIALS, INC.      ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED NOVEMBER                                                                                           1550 NORWOOD DRIVE, SUITE 100
           19, 2003                                                                                                                 HURST, TX 76054

2. 1063    AMENDMENT #2 TO MASTER CLINICAL                             102436                   PHARMACEUTICALS C-TRIALS, INC.      ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED NOVEMBER                                                                                           1550 NORWOOD DRIVE, SUITE 100
           19, 2003                                                                                                                 HURST, TX 76054

2. 1064    MILLING PROJECT PROPOSAL DATED                              102438                   PHARMACEUTICS INTERNATIONAL INC.    ATTN: GENERAL COUNSEL
           JANUARY 06, 2000                                                                                                         10819 GILROY ROAD
                                                                                                                                    HUNT VALLEY, MD 21031

2. 1065    QUALITY AGREEMENT DATED                                     102437                   PHARMACEUTICS INTERNATIONAL,        ATTN: GENERAL COUNSEL
           OCTOBER 21, 2009                                                                     INC. (PII)                          10819 GILROY ROAD
                                                                                                                                    HUNT VALLEY, MD 21031




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2. 1066    COLLABORATION AGREEMENT DATED                               102440                   PHARMACO PTY. LTD.                  ATTN: GENERAL COUNSEL
           APRIL 30, 1996                                                                                                           GROUND FLOOR, BUILDING 1
                                                                                                                                    PYMBLE CORPORATE CENTRE, 20
                                                                                                                                    BRIDGE ST.
                                                                                                                                    PYMBLE, NSW, AUSTRALIA 2073

2. 1067    AMENDMENT #3 TO MASTER SERVICES                             102441                   PHARMACY & HEALTHCARE               ATTN: GENERAL COUNSEL
           AGREEMENT DATED JULY 19, 2010                                                        COMMUNICATIONS, LLC

2. 1068    AMENDMENT NO. 1 TO AUTHORIZED                               102445                   PHARMACY BUYING ASSOCIATION INC.    ATTN: GENERAL COUNSEL
           DISTRIBUTOR AGREEMENT DATED                                                                                              6300 ENTERPRISE ROAD
           JUNE 30, 2017                                                                                                            KANSAS CITY, MO 64120

2. 1069    AMENDMENT NO. 1 TO DISTRIBUTION                             102444                   PHARMACY BUYING ASSOCIATION INC.    ATTN: GENERAL COUNSEL
           PERFORMANCE AGREEMENT DATED                                                                                              6300 ENTERPRISE ROAD
           JUNE 30, 2015                                                                                                            KANSAS CITY, MO 64120

2. 1070    AMENDMENT NO. 2 TO DISTRIBUTION                             102446                   PHARMACY BUYING ASSOCIATION INC.    ATTN: GENERAL COUNSEL
           PERFORMANCE AGREEMENT DATED                                                                                              6300 ENTERPRISE ROAD
           JUNE 01, 2018                                                                                                            KANSAS CITY, MO 64120

2. 1071    AUTHORIZED DISTRIBUTOR                                      102442                   PHARMACY BUYING ASSOCIATION INC.    ATTN: NICK SMOCK
           AGREEMENT EFFECTIVE AS OF JULY                                                                                           6300 ENTERPRISE ROAD
           01, 2012                                                                                                                 KANSAS CITY, MO 64120

2. 1072    DISTRIBUTION PERFORMANCE                                    102443                   PHARMACY BUYING ASSOCIATION INC.    ATTN: NICK SMOCK
           AGREEMENT EFFECTIVE AS OF JULY                                                                                           6300 ENTERPRISE ROAD
           01, 2012                                                                                                                 KANSAS CITY, MO 64120

2. 1073    STATEMENT OF WORK EFFECTIVE AS                              102449                   PHARMALEX US CORP.                  ATTN: GENERAL COUNSEL
           OF AUGUST 18, 2016                                                                                                       9302 LEE HWY #700
                                                                                                                                    FAIRFAX, VA 22031

2. 1074    STATEMENT OF WORK EFFECTIVE AS                              102450                   PHARMALEX US CORP.                  ATTN: GENERAL COUNSEL
           OF AUGUST 21, 2018                                                                                                       9302 LEE HWY #700
                                                                                                                                    FAIRFAX, VA 22031

2. 1075    MASTER SERVICES AGREEMENT                                   102451                   PHARMALEX US, LLC                   ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF AUGUST 18, 2016                                                                                          942 LITTLE MEADOW ROAD
                                                                                                                                    P.O. BOX 441
                                                                                                                                    GUILFORD, CT 06437

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2. 1076    MASTER SERVICES AGREEMENT                                   102452                   PHARMALEX US, LLC               ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF AUGUST 18, 2016                                                                                      942 LITTLE MEADOW ROAD
                                                                                                                                P.O. BOX 441
                                                                                                                                GUILFORD, CT 06437

2. 1077    INDEPENDENT CONTRACTOR                                      102453                   PHARMALOGICS RECRUITING, LLC    ATTN: MEGAN DRISCOLL
           AGREEMENT EFFECTIVE AS OF MARCH                                                                                      2 HERITAGE DRIVE
           26, 2014                                                                                                             QUINCY, MA 02171

2. 1078    PSO FORM TO NONCLINICAL MASTER                              102454                   PHARMALYTICA SERVICES LLC       ATTN: GENERAL COUNSEL
           SERVICE AGREEMENT BETWEEN                                                                                            NSF INTERNATIONAL
           PURDUE PHARMA L.P. AND                                                                                               789 N. DIXBORO ROAD
           PHARMALYTICA SERVICES LLC DATED                                                                                      ANN ARBOR, MI 48105
           NOVEMBER 08, 2002

2. 1079    PSO FORM TO NONCLINICAL MASTER                              102455                   PHARMALYTICA SERVICES LLC       ATTN: GENERAL COUNSEL
           SERVICE AGREEMENT DATED                                                                                              NSF INTERNATIONAL
           FEBRUARY 07, 2003                                                                                                    789 N. DIXBORO ROAD
                                                                                                                                ANN ARBOR, MI 48105

2. 1080    PSO FORM TO NONCLINICAL MASTER                              102456                   PHARMALYTICA SERVICES LLC       ATTN: GENERAL COUNSEL
           SERVICE AGREEMENT DATED                                                                                              NSF INTERNATIONAL
           FEBRUARY 07, 2003                                                                                                    789 N. DIXBORO ROAD
                                                                                                                                ANN ARBOR, MI 48105

2. 1081    PSO FORM TO NONCLINICAL MASTER                              102457                   PHARMALYTICA SERVICES LLC       ATTN: GENERAL COUNSEL
           SERVICE AGREEMENT DATED JULY 14,                                                                                     NSF INTERNATIONAL
           2003                                                                                                                 789 N. DIXBORO ROAD
                                                                                                                                ANN ARBOR, MI 48105

2. 1082    PSO FORM TO NONCLINICAL MASTER                              102458                   PHARMALYTICA SERVICES LLC       ATTN: GENERAL COUNSEL
           SERVICE AGREEMENT DATED JULY 23,                                                                                     NSF INTERNATIONAL
           2003                                                                                                                 789 N. DIXBORO ROAD
                                                                                                                                ANN ARBOR, MI 48105

2. 1083    PSO FORM TO NONCLINICAL MASTER                              102459                   PHARMALYTICA SERVICES LLC       ATTN: GENERAL COUNSEL
           SERVICE AGREEMENT DATED JULY 25,                                                                                     NSF INTERNATIONAL
           2003                                                                                                                 789 N. DIXBORO ROAD
                                                                                                                                ANN ARBOR, MI 48105




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2. 1084    CME AGREEMENT - CONTINUING                                  102460                   PHARMCON                            ATTN: GENERAL COUNSEL
           MEDICAL EDUCATION EFFECTIVE AS OF                                                                                        603 LAKEVIEW PROFESSIONAL
           FEBRUARY 25, 2003                                                                                                        PARK
                                                                                                                                    POST OFFICE ROAD, SUITE 106
                                                                                                                                    WALDORF, MD 20602-1914

2. 1085    AMENDMENT TO SUPPLY AGREEMENT                               102461                   PHARMETRIX DIVISION OF TECHNICAL    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF FEBRUARY 11, 1998                                                    CHEMICALS & PRODUCTS, INC.          1330 O'BRIEN DRIVE
                                                                                                                                    MENLO PARK, CA 94025

2. 1086    AMENDMENT TO SUPPLY AGREEMENT                               102462                   PHARMETRIX DIVISION OF TECHNICAL    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF FEBRUARY 11, 1998                                                    CHEMICALS & PRODUCTS, INC.          1330 O'BRIEN DRIVE
                                                                                                                                    MENLO PARK, CA 94025

2. 1087    SUPPLY AGREEMENT DATED                                      102464                   PHARMETRIX DIVISION OF TECHNICAL    ATTN: GENERAL COUNSEL
           FEBRUARY 11, 1998                                                                    CHEMICALS & PRODUCTS, INC.          1330 O'BRIEN DRIVE
                                                                                                                                    MENLO PARK, CA 94025

2. 1088    SUPPLY AGREEMENT EFFECTIVE AS OF                            102463                   PHARMETRIX DIVISION OF TECHNICAL    ATTN: GENERAL COUNSEL
           FEBRUARY 11, 1998                                                                    CHEMICALS & PRODUCTS, INC.          1330 O'BRIEN DRIVE
                                                                                                                                    MENLO PARK, CA 94025

2. 1089    AMENDMENT #1 TO STUDY                                       102466                   PHARMQUEST, LLC                     NOT AVAILABLE
           SPECIFICATION ORDER #002
           EFFECTIVE AS OF FEBRUARY 22, 2005

2. 1090    MASTER SERVICES AGREEMENT                                   102469                   PHASE FORWARD INCORPORATED          ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MAY 05, 2000                                                                                             610 LINCOLN STREET
                                                                                                                                    WALTHAM, MA 02451

2. 1091    PSO 1 - PROVIDING ELECTRONIC DATA                           102470                   PHASE FORWARD, INC.                 ATTN: GENERAL COUNSEL
           CAPTURE SERVICES. DATED MAY 05,                                                                                          DE
           2000

2. 1092    STUDY SPECIFICATION ORDER 002                               102471                   PHILADELPHIA HEALTH & EDUCATION     ATTN: GENERAL COUNSEL
           DATED OCTOBER 06, 2003                                                               CORPORATION D/B/A DREXEL            3201 ARCH STREET
                                                                                                UNVIERSITY COLLEGE OF MEDICINE      PHILADELPHIA, PA 19104

2. 1093    AMENDMENT #2 TO TASK ORDER                                  102474                   PHLEXGLOBAL LIMITED                 ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JANUARY 01, 2018


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2. 1094    AMENDMENT #3 TO MASTER SERVICES                             102475                   PHLEXGLOBAL LIMITED            ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF
           JANUARY 02, 2018

2. 1095    SCIENTIFIC RESEARCH SERVICES                                102476                   PHOENIX INTERNATIONAL LIFE     ATTN: GENERAL COUNSEL
           AGREEMENT DATED JUNE 03, 1998                                                        SCIENCES INC.                  5642 HAMILTON AVENUE
                                                                                                                               CINCINNATI, OH 45224

2. 1096    MATERIALS TRANSFER AGREEMENT                                102477                   PHOENIX PHARMALABS, INC.       ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF SEPTEMBER 30, 2015                                                                                  1753 SOUTH
                                                                                                                               1800 WEST
                                                                                                                               WOODS CROSS, UT 84087

2. 1097    ZEE MCSA 06012016 CW2231608                                 102482                   PHYLLIS ZEE, MD, PHD           ATTN: GENERAL COUNSEL
           (AA.LLS) LCW00431717 DATED JUNE 01,                                                                                 505 N. LAHESHORE DRIVE, #6804
           2016                                                                                                                CHICAGO, IL 60611

2. 1098    AMENDMENT #1 TO STUDY                                       102489                   PIEDMONT MEDICAL RESEARCH      ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #002                                                             ASSOCIATES, INC.               1091 S. HAWTHORNE ROAD,
           EFFECTIVE AS OF JUNE 14, 2004                                                                                       SUITE 306
                                                                                                                               WINSTON-SALEM, NC 27103

2. 1099    AMENDMENT #1 TO STUDY                                       102493                   PIEDMONT MEDICAL RESEARCH      ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #003                                                             ASSOCIATES, INC.               1958 WEST STATE STREET
           EFFECTIVE AS OF FEBRUARY 22, 2005                                                                                   BRISTOL, TN 37620

2. 1100    AMENDMENT #1 TO STUDY                                       102485                   PIEDMONT MEDICAL RESEARCH      ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER DATED                                                            ASSOCIATES, INC.
           FEBRUARY 05, 2004

2. 1101    AMENDMENT #2 TO MASTER CLINICAL                             102490                   PIEDMONT MEDICAL RESEARCH      ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED FEBRUARY                                                       ASSOCIATES, INC.               1091 S. HAWTHORNE ROAD,
           05, 2004                                                                                                            SUITE 306
                                                                                                                               WINSTON-SALEM, NC 27103

2. 1102    AMENDMENT #3 TO STUDY                                       102492                   PIEDMONT MEDICAL RESEARCH      ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #002 TO                                                          ASSOCIATES, INC.               1958 WEST STATE STREET
           MASTER SITE MANAGEMENT                                                                                              BRISTOL, TN 37620
           ORGANIZATION AGREEMENT
           EFFECTIVE AS OF FEBRUARY 22, 2005



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2. 1103    STUDY SPECIFICATION ORDER 001                               102487                   PIEDMONT MEDICAL RESEARCH          ATTN: GENERAL COUNSEL
           DATED FEBRUARY 05, 2004                                                              ASSOCIATES, INC.                   1091 S. HAWTHORNE ROAD,
                                                                                                                                   SUITE 306
                                                                                                                                   WINSTON-SALEM, NC 27103

2. 1104    STUDY SPECIFICATION ORDER 002                               102488                   PIEDMONT MEDICAL RESEARCH          ATTN: GENERAL COUNSEL
           DATED MARCH 16, 2004                                                                 ASSOCIATES, INC.                   1091 S. HAWTHORNE ROAD,
                                                                                                                                   SUITE 306
                                                                                                                                   WINSTON-SALEM, NC 27103

2. 1105    STUDY SPECIFICATION ORDER 003                               102491                   PIEDMONT MEDICAL RESEARCH          ATTN: GENERAL COUNSEL
           DATED FEBRUARY 17, 2005                                                              ASSOCIATES, INC.                   1958 WEST STATE STREET
                                                                                                                                   BRISTOL, TN 37620

2. 1106    MASTER SERVICES AGREEMENT                                   102496                   PINNACLE HEALTH COMMUNICATIONS,    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF SEPTEMBER 29, 2015                                                   LLC                                259 VETERANS LANE, SUITE 301
                                                                                                                                   DOYLESTOWN, PA 18901

2. 1107    AMENDMENT #2 TO MASTER CLINICAL                             102497                   PINNACLE TRAILS, INC.              ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED JANUARY 05,                                                                                       3626 BUFORD HIGHWAY, SUITE B3
           2004                                                                                                                    ATLANTA, GA 30329

2. 1108    SOW 002 TO MASTER SITE                                      102499                   PINNACLE TRIALS, INC.              ATTN: GENERAL COUNSEL
           MANAGEMENT ORGANIZATION                                                                                                 3626 BUFORD HIGHWAY, SUITE B3
           AGREEMENT DATED FEBRUARY 11, 2004                                                                                       ATLANTA, GA 30329

2. 1109    STUDY SPECIFICATION ORDER 001 TO                            102498                   PINNACLE TRIALS, INC.              ATTN: GENERAL COUNSEL
           MASTER SITE MANAGEMENT                                                                                                  3626 BUFORD HIGHWAY, SUITE B3
           ORGANIZATION AGREEMENT DATED                                                                                            ATLANTA, GA 30329
           JANUARY 5, 2004 DATED JANUARY 12,
           2004

2. 1110    PINNEY ASSOCIATES PSO CW2366435           5/31/2020         105987                   PINNEY ASSOCIATES, INC.            ATTN: GENERAL COUNSEL
           SIDNEY SCHNOLL ORF AD BOARD                                                                                             4800 MONTOGMERY LANE, SUITE
           (LH.RA) EFFECTIVE MAY 01, 2019                                                                                          400
                                                                                                                                   BETHESDA, MD 20814

2. 1111    PINNEY ASSOCIATES SOW CW2365403                             102501                   PINNEY ASSOCIATES, INC.            ATTN: GENERAL COUNSEL
           OPIOID USE DISORDER (LH.RA) DATED                                                                                       4800 MONTOGMERY LANE, SUITE
           FEBRUARY 01, 2019                                                                                                       400
                                                                                                                                   BETHESDA, MD 20814

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2. 1112    PINNEY ASSOCIATES, INC. - SOW             3/19/2021         106023                   PINNEY ASSOCIATES, INC.           ATTN: GENERAL COUNSEL
           SCHNOLL COMPENSATED AUTHOR                                                                                             4800 MONTOGMERY LANE, SUITE
           CW2366028 (LH.RA) EFFECTIVE MARCH                                                                                      400
           19, 2019                                                                                                               BETHESDA, MD 20814

2. 1113    PROJECT SPECIFICATION ORDER                                 102503                   PINNEY ASSOCIATES, INC.           ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF FEBRUARY 01, 2019                                                                                      4800 MONTGOMERY LANE, SUITE
                                                                                                                                  400
                                                                                                                                  BETHESDA, MD 20814

2. 1114    PL DEVELOPMENT AMENDMENT 3                1/31/2022         106127                   PL DEVELOPMENTS OF NEW YORK       NOT AVAILABLE
           CW2366685      (AH.JB) EFFECTIVE                                                     CORPORATION ALSO PL
           APRIL 30, 2019                                                                       DEVELOPMENT OF NEW YORK
                                                                                                CORPORATION

2. 1115    SUPPLY AGREEMENT LETTER                                     102512                   PLANTEX USA, INC.                 ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JULY 31, 2009                                                                                          2 UNIVERSITY PLAZA, SUITE 305
                                                                                                                                  HACKENSACK, NJ 07601

2. 1116    TERMINATION OF MSA DATED AUGUST                             102513                   PLEIO, INC.                       ATTN: GENERAL COUNSEL
           31, 2013                                                                                                               385 CONCORD AVE. #201A
                                                                                                                                  BELMONT, MA 02478

2. 1117    POMS CORPORATION - CSA CW2367327          6/16/2022         106041                   POMS CORPORATION                  NOT AVAILABLE
           (PB.RA) EFFECTIVE JUNE 17, 2019

2. 1118    PORSOLT CSA CW2366051 MODAFINIL           3/19/2024         105965                   PORSOLT SAS                       NOT AVAILABLE
           AND ANIRACETAM (LH.RA) EFFECTIVE
           MARCH 19, 2019

2. 1119    SERVICE AGREEMENT DATED                                     102517                   PORTER NOVELLI INC.               ATTN: GENERAL COUNSEL
           JANUARY 18, 2002                                                                                                       EAST 42ND STREET
                                                                                                                                  NEW YORK, NY 10017

2. 1120    AMENDMENT NO. 2 TO THE                                      102518                   PORZIO LIFE SCIENCES LLC          NOT AVAILABLE
           SUBSCRIPTION AGREEMENT DATED
           FEBRUARY 01, 2011

2. 1121    MASTER SERVICES AGREEMENT                                   102527                   PPD DEVELOPMENT, INC.             ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF APRIL 25, 2002                                                                                         2 TESSENEER DRIVE
                                                                                                                                  HIGHLAND HEIGHTS, KY 41076

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2. 1122    AMENDMENT #1 TO PROJECT                                     102523                   PPD DEVELOPMENT, LLC           ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #5 DATED MAY                                                                                    706A BEN WHITE BOULEVARD
           24, 2001                                                                                                            WEST
                                                                                                                               AUSTIN, TX 78704-7016

2. 1123    CONSENT AND WAIVER DATED JUNE                               102534                   PPD DEVELOPMENT, LLC           ATTN: GENERAL COUNSEL
           24, 2011                                                                                                            706A BEN WHITE BOULEVARD
                                                                                                                               WEST
                                                                                                                               AUSTIN, TX 78704-7016

2. 1124    CONSENT AND WAIVER EXECUTED                                 102533                   PPD DEVELOPMENT, LLC           ATTN: GENERAL COUNSEL
           JANUARY 09, 2014                                                                                                    706A BEN WHITE BOULEVARD
                                                                                                                               WEST
                                                                                                                               AUSTIN, TX 78704-7016

2. 1125    LETTER OF AGREEMENT RE: NAME                                102528                   PPD DEVELOPMENT, LLC           ATTN: GENERAL COUNSEL
           CHANGE DATED OCTOBER 16, 2000                                                                                       706A BEN WHITE BOULEVARD
                                                                                                                               WEST
                                                                                                                               AUSTIN, TX 78704-7016

2. 1126    PPD DEVELOPMENT, L.P. - QUALITY                             102526                   PPD DEVELOPMENT, LLC           ATTN: GENERAL COUNSEL
           AGREEMENT CW2365254 DATED                                                                                           706A BEN WHITE BOULEVARD
           JANUARY 21, 2019                                                                                                    WEST
                                                                                                                               AUSTIN, TX 78704-7016

2. 1127    PSO 4 TO MASTER SERVICES                                    102522                   PPD DEVELOPMENT, LLC           ATTN: GENERAL COUNSEL
           AGREEMENT DATED OCTOBER 01, 2000                                                                                    706A BEN WHITE BOULEVARD
                                                                                                                               WEST
                                                                                                                               AUSTIN, TX 78704-7016

2. 1128    AMENDMENT #1 TO MASTER CRO                                  102536                   PPD DEVELOPMENT, LP            ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT DATED                                                                                            929 NORTH FRONT STREET
           DECEMBER 15, 2017                                                                                                   WILMINGTON, NC 28401

2. 1129    MASTER CRO SERVICES AGREEMENT                               102535                   PPD DEVELOPMENT, LP            ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF OCTOBER 01, 2016                                                                                    929 NORTH FRONT STREET
                                                                                                                               WILMINGTON, NC 28401

2. 1130    PPD PSO CW2364874 PV SERVICES            12/31/2021         105941                   PPD DEVELOPMENT, LP            ATTN: GENERAL COUNSEL
           2019-2021 (LH.RA) EFFECTIVE JANUARY                                                                                 929 NORTH FRONT STREET
           01, 2019                                                                                                            WILMINGTON, NC 28401

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2. 1131    WORK ORDER UNDER MASTER CRO                                 102537                   PPD DEVELOPMENT, LP             ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT DATED                                                                                             929 NORTH FRONT STREET
           OCTOBER 01, 2016                                                                                                     WILMINGTON, NC 28401

2. 1132    AMENDMENT #1 TO WORK ORDER                                  102544                   PPD GLOBAL CENTRAL LABS, LLC    ATTN: GENERAL COUNSEL
           DATED JUNE 1, 2015 TO MASTER CRO                                                                                     26361 NETWORK PLACE
           AGREEMENT DATED SEPTEMBER 28,                                                                                        CHICAGO, IL 60673
           2015

2. 1133    WORK ORDER ; ; OM PROJECT NAME                              102540                   PPD GLOBAL CENTRAL LABS, LLC    ATTN: GENERAL COUNSEL
           PGX0033-MSR1003 DATED JUNE 01, 2015                                                                                  26361 NETWORK PLACE
                                                                                                                                CHICAGO, IL 60673

2. 1134    WORK ORDER DATED 02172016; ; OM                             102546                   PPD GLOBAL CENTRAL LABS, LLC    ATTN: GENERAL COUNSEL
           PROJECT NAME OGX013PPD065-                                                                                           26361 NETWORK PLACE
           OAG1004 DATED FEBRUARY 17, 2016                                                                                      CHICAGO, IL 60673

2. 1135    WORK ORDER DATED 9042014 TO                                 102539                   PPD GLOBAL CENTRAL LABS, LLC    ATTN: GENERAL COUNSEL
           MASTER CRO AGREEMENT; ; OM                                                                                           26361 NETWORK PLACE
           PROJECT NAME PFX002PPD028-                                                                                           CHICAGO, IL 60673
           BUP1026 DATED SEPTEMBER 04, 2014

2. 1136    WORK ORDER TO MASTER CRO                                    102542                   PPD GLOBAL CENTRAL LABS, LLC    ATTN: GENERAL COUNSEL
           AGREEMENT               ; ; OM                                                                                       26361 NETWORK PLACE
           PROJECT NAME PGX006PPD039-                                                                                           CHICAGO, IL 60673
           MSR1006 DATED AUGUST 26, 2015

2. 1137    WORK ORDER TO MASTER CRO                                    102547                   PPD GLOBAL CENTRAL LABS, LLC    ATTN: GENERAL COUNSEL
           AGREEMENT DATED JUNE 24, 2011                                                                                        26361 NETWORK PLACE
                                                                                                                                CHICAGO, IL 60673

2. 1138    WORK ORDER TO MASTER CRO                                    102548                   PPD GLOBAL CENTRAL LABS, LLC    ATTN: GENERAL COUNSEL
           AGREEMENT DATED OCTOBER 01, 2016                                                                                     26361 NETWORK PLACE
                                                                                                                                CHICAGO, IL 60673

2. 1139    WORK ORDER TO MASTER CRO                                    102541                   PPD GLOBAL CENTRAL LABS, LLC    ATTN: GENERAL COUNSEL
           AGREEMENT; ; OM PROJECT NAME                                                                                         26361 NETWORK PLACE
           PGX005PP038-BUP1030 DATED AUGUST                                                                                     CHICAGO, IL 60673
           18, 2015




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2. 1140    WORK ORDER TO MASTER CRO                                    102543                   PPD GLOBAL CENTRAL LABS, LLC    ATTN: GENERAL COUNSEL
           AGREEMENT; ; OM PROJECT NAME                                                                                         26361 NETWORK PLACE
           PGX007PPD040-MSR1007 DATED                                                                                           CHICAGO, IL 60673
           AUGUST 26, 2015

2. 1141    WORK ORDER TO MASTER CRO                                    102545                   PPD GLOBAL CENTRAL LABS, LLC    ATTN: GENERAL COUNSEL
           AGREEMENT; ; OM PROJECT NAME                                                                                         26361 NETWORK PLACE
           PGX008PPD048-HCA1003 DATED                                                                                           CHICAGO, IL 60673
           OCTOBER 22, 2015

2. 1142    WORK ORDER; ; OM PROJECT NAME                               102538                   PPD GLOBAL CENTRAL LABS, LLC    ATTN: GENERAL COUNSEL
           PGX001PPD010-PGX TRANSITION                                                                                          26361 NETWORK PLACE
           DATED APRIL 19, 2013                                                                                                 CHICAGO, IL 60673

2. 1143    TRANSFER OF OWNERSHIP                                       102550                   PRAXIS PHARMACEUTICALS INC.     ATTN: GENERAL COUNSEL
           ACCEPTANCE LETTER DATED                                                                                              101 MAIN STREET
           FEBRUARY 21, 2018                                                                                                    SUITE 1210
                                                                                                                                CAMBRIDGE, MA 02142

2. 1144    AMENDMENT #1 TO MASTER SERVICES                             102552                   PRECISION PROMOTIONAL           ATTN: GENERAL COUNSEL
           AGREEMENT DATED NOVEMBER 24,                                                         EFFECTIVENESS, LLC              4 LANDMARK SQUARE
           2015                                                                                                                 STAMFORD, CT 06901

2. 1145    AMENDMENT #2 TO MASTER SERVICES                             102554                   PRECISION PROMOTIONAL           ATTN: GENERAL COUNSEL
           AGREEMENT DATED DECEMBER 19,                                                         EFFECTIVENESS, LLC              4 LANDMARK SQUARE
           2018                                                                                                                 STAMFORD, CT 06901

2. 1146    PRECISION PROMOTIONAL                                       102553                   PRECISION PROMOTIONAL           ATTN: GENERAL COUNSEL
           EFFECTIVENESS LLC SOW CW2362760                                                      EFFECTIVENESS, LLC              4 LANDMARK SQUARE
           INSOMINA ADOPTION PROPENSITY                                                                                         STAMFORD, CT 06901
           MODELING (SD.RA) DATED AUGUST 01,
           2018

2. 1147    STATEMENT OF WORK UNDER MASTER                              102551                   PRECISION PROMOTIONAL           ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT DATED                                                             EFFECTIVENESS, LLC              4 LANDMARK SQUARE
           SEPTEMBER 10, 2018                                                                                                   STAMFORD, CT 06901

2. 1148    STATEMENT OF WORK UNDER MASTER                              102557                   PRECISION PROMOTIONAL           ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT DATED                                                             EFFECTIVENESS, LLC.             4 LANDMARK SQUARE
           NOVEMBER 24, 2015                                                                                                    STAMFORD, CT 06901



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2. 1149    AMENDMENT NUMBER 29 TO GROUP                              PPPH18PDF02                 PREMIER HEALTHCARE ALLIANCE, L.P.    ATTN: GENERAL COUNSEL
           PURCHASING AGREEMENT EFFECTIVE                                .29                                                          13034 BALLANTYNE CORPORATE
           JANUARY 3, 2019                                                                                                            PLA SUITE 430
                                                                                                                                      CHARLOTTE, NC 28277

2. 1150    GROUP PURCHASING AGREEMENT                                PPPH18PDF02                 PREMIER HEALTHCARE ALLIANCE, L.P.    ATTN: GENERAL COUNSEL
           DATED JULY 1, 2015                                                                                                         13034 BALLANTYNE CORPORATE
                                                                                                                                      PLA SUITE 430
                                                                                                                                      CHARLOTTE, NC 28277

2. 1151    AMENDMENT #1 TO STATEMENT OF                                 102562                   PREMIER HEALTHCARE SOLUTIONS,        ATTN: GENERAL COUNSEL
           WORK EFFECTIVE AS OF DECEMBER                                                         INC.                                 13034 BALLANTYNE CORPORATE
           15, 2017                                                                                                                   PLACE
                                                                                                                                      CHARLOTTE, NC 28277

2. 1152    MASTER SERVICES AGREEMENT                                    102560                   PREMIER HEALTHCARE SOLUTIONS,        ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF OCTOBER 31, 2017                                                      INC.                                 13034 BALLANTYNE CORPORATE
                                                                                                                                      PLACE
                                                                                                                                      CHARLOTTE, NC 28277

2. 1153    STATEMENT OF WORK UNDER MASTER                               102561                   PREMIER HEALTHCARE SOLUTIONS,        ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT DATED                                                              INC.                                 13034 BALLANTYNE CORPORATE
           OCTOBER 31, 2017                                                                                                           PLACE
                                                                                                                                      CHARLOTTE, NC 28277

2. 1154    AMENDMENT NO. 1 TO AUTHORIZED                                102565                   PRESCRIPTION SUPPLY INC              ATTN: GENERAL COUNSEL
           DISTRIBUTOR AGREEMENT DATED                                                                                                2233 TRACY ROAD
           APRIL 15, 2016                                                                                                             NORTHWOOD, OH 43619

2. 1155    AMENDMENT NO. 2 TO AUTHORIZED                                102566                   PRESCRIPTION SUPPLY INC              ATTN: GENERAL COUNSEL
           DISTRIBUTOR AGREEMENT EFFECTIVE                                                                                            2233 TRACY ROAD
           AS OF JUNE 30, 2017                                                                                                        NORTHWOOD, OH 43619

2. 1156    AUTHORIZED DISTRIBUTOR                                       102564                   PRESCRIPTION SUPPLY INC              ATTN: JOHN CROMLY
           AGREEMENT DATED JULY 01, 2012                                                                                              2233 TRACY ROAD
                                                                                                                                      NORTHWOOD, OH 43619

2. 1157    SERVICES AGREEMENT DATED APRIL                               102568                   PRG-SCHULTZ USA, INC.                ATTN: GENERAL COUNSEL
           05, 2005                                                                                                                   600 GALLERIA PARKWAY
                                                                                                                                      SUITE 100
                                                                                                                                      ATLANTA, GA 30339

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2. 1158    SOW 1 DATED OCTOBER 15, 2007                                102576                   PRIME TECHNOLOGIES, INC.        ATTN: GENERAL COUNSEL


2. 1159    PROJECT SPECIFICATION ORDER                                 102605                   PRIMEDICA CORPORATION           ATTN: GENERAL COUNSEL
           DATED DECEMBER 08, 2000                                                                                              DE

2. 1160    PROJECT SPECIFICATION ORDER                                 102609                   PRIMEDICA CORPORATION           ATTN: GENERAL COUNSEL
           DATED JANUARY 29, 2001                                                                                               DE

2. 1161    AMENDMENT #2 TO MASTER                                      102613                   PRIMERA ANALYTICAL SOLUTIONS    ATTN: GENERAL COUNSEL
           LABORATORY SERVICES AGREEMENT                                                        CORP.
           EFFECTIVE AS OF JUNE 27, 2017

2. 1162    MASTER SERVICES AGREEMENT                                   102611                   PRIMERA ANALYTICAL SOLUTIONS    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JUNE 28, 2011                                                        CORP.

2. 1163    MASTER SERVICES AGREEMENT                                   102620                   PRINCIPLED STRATEGIES, INC.     ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF DECEMBER 15, 2014                                                                                    400 SOUTH SIERRA AVENUE,
                                                                                                                                SUITE 104
                                                                                                                                SOLANA BEACH, CA 92075

2. 1164    SERVICE AGREEMENT DATED                                     102626                   PROCLINICAL PHARMACEUTICAL      ATTN: GENERAL COUNSEL
           DECEMBER 18, 1997                                                                    SERVICES                        300 KIMBERTON ROAD
                                                                                                                                PHOENIXVILLE, PA 19460-2114

2. 1165    PROED COMMUNICATIONS INC MSA                                102633                   PROED COMMUNICATIONS, INC.      ATTN: GENERAL COUNSEL
           CW2364054 MSR AD COM (LH.RA)

2. 1166    SEARCH FIRM AGREEMENT DATED                                 102635                   PROFESSIONAL OUTLOOK, INC.      ATTN: GENERAL COUNSEL
           OCTOBER 04, 2007                                                                                                     662 BUTTERNUT DRIVE
                                                                                                                                HOLLAND, MI 49424

2. 1167    STATEMENT OF WORK #1 TO GENERAL                             102638                   PROOFPOINT INC                  ATTN: GENERAL COUNSEL
           TERMS AND CONDITIONS DATED                                                                                           892 ROSS DRIVE
           NOVEMBER 24, 2015                                                                                                    SUNNYVALE, CA 94089

2. 1168    AMENDMENT TO RELOCATION                                     102651                   PRUDENTIAL RELOCATION, INC.     ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT DATED APRIL                                                                                       16260 NORTH 71ST STREET
           27, 2011                                                                                                             SCOTTSDALE, AZ 85254




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2. 1169    AMENDMENT TO SERVICE CONTRACT                               102648                   PRUDENTIAL RELOCATION, INC.         ATTN: GENERAL COUNSEL
           DATED SEPTEMBER 15, 2005                                                                                                 200 SUMMIT LAKE DRIVE
                                                                                                                                    VALHALLA, NY 10595

2. 1170    RELOCATION SERVICES AGREEMENT                               102645                   PRUDENTIAL RELOCATION, INC.         ATTN: GENERAL COUNSEL
           DATED JANUARY 03, 2001                                                                                                   200 SUMMIT LAKE DRIVE
                                                                                                                                    VALHALLA, NY 10595

2. 1171    RELOCATION SERVICES AGREEMENT                               102650                   PRUDENTIAL RELOCATION, INC.         ATTN: GENERAL COUNSEL
           PRUDENTIAL RELOCATION SERVICES                                                                                           16260 NORTH 71ST STREET
           DATED APRIL 27, 2011                                                                                                     SCOTTSDALE, AZ 85254

2. 1172    RELOCATION SERVICES AGREEMENT.                              102647                   PRUDENTIAL RELOCATION, INC.         ATTN: GENERAL COUNSEL
           DATED MARCH 14, 2002                                                                                                     200 SUMMIT LAKE DRIVE
                                                                                                                                    VALHALLA, NY 10595

2. 1173    RELOCATION SERVICES. DATED APRIL                            102646                   PRUDENTIAL RELOCATION, INC.         ATTN: GENERAL COUNSEL
           17, 2001                                                                                                                 200 SUMMIT LAKE DRIVE
                                                                                                                                    VALHALLA, NY 10595

2. 1174    RELOCATION SERVICES. PRUDENTIAL                             102649                   PRUDENTIAL RELOCATION, INC.         ATTN: GENERAL COUNSEL
           RELOCATION SVCS DATED AUGUST 13,                                                                                         16260 NORTH 71ST STREET
           2008                                                                                                                     SCOTTSDALE, AZ 85254

2. 1175    TERMS OF AMENDMENT DATED APRIL                              102652                   PRUDENTIAL RELOCATION, INC.         ATTN: GENERAL COUNSEL
           26, 2012                                                                                                                 16260 NORTH 71ST STREET
                                                                                                                                    SCOTTSDALE, AZ 85254

2. 1176    INTERNET SITE AGREEMENT DATED                               102653                   PRUDENTIAL RESIDENTIAL SERVICES     ATTN: GENERAL COUNSEL
           JANUARY 03, 2001                                                                     LIMITED PARTNERSHIP                 200 SUMMIT LAKE DRIVE
                                                                                                                                    VALHALLA, NY 10595

2. 1177    AMENDMENT TO INTERNATIONAL                                  102656                   PRUDENTIAL RESIDENTIAL SERVICES,    ATTN: GENERAL COUNSEL
           SERVICE AGREEMENT DATED JUNE 20,                                                     LIMITED PARTNERSHIP D/B/A           200 SUMMIT LAKE DRIVE
           2002                                                                                 PRUDENTIAL RELOCATION               VALHALLA, NY 10595

2. 1178    BRIDGE LOAN AGREEMENT EFFECTIVE                             102655                   PRUDENTIAL RESIDENTIAL SERVICES,    ATTN: GENERAL COUNSEL
           AS OF FEBRUARY 05, 2001                                                              LIMITED PARTNERSHIP D/B/A           200 SUMMIT LAKE DRIVE
                                                                                                PRUDENTIAL RELOCATION               VALHALLA, NY 10595



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2. 1179    HOUSEHOLD GOODS                                             102654                   PRUDENTIAL RESIDENTIAL SERVICES,    ATTN: GENERAL COUNSEL
           TRANSPORTATION MANAGEMENT                                                            LIMITED PARTNERSHIP D/B/A           200 SUMMIT LAKE DRIVE
           AGREEMENT DATED SEPTEMBER 27,                                                        PRUDENTIAL RELOCATION               VALHALLA, NY 10595
           2000

2. 1180    INTERNATIONAL SERVICE AGREEMENT                             102657                   PRUDENTIAL RESIDENTIAL SERVICES,    ATTN: GENERAL COUNSEL
           DATED OCTOBER 16, 2001                                                               LIMITED PARTNERSHIP D/B/A           200 SUMMIT LAKE DRIVE
                                                                                                PRUDENTIAL RELOCATION               VALHALLA, NY 10595

2. 1181    PURPLE STRATEGIES SOW CW2359216                             102680                   PURPLE STRATEGIES, LLC              ATTN: GENERAL COUNSEL
           2018-19 (LH.RA) DATED JANUARY 01,                                                                                        815 SLATERS LANE
           2018                                                                                                                     ALEXANDRIA, VA 22314

2. 1182    PURPLE STRATEGIES SOW CW2359216                             102675                   PURPLE STRATEGIES, LLC              ATTN: GENERAL COUNSEL
           2018-19 (LH.RA) DATED JUNE 01, 2017                                                                                      815 SLATERS LANE
                                                                                                                                    ALEXANDRIA, VA 22314

2. 1183    PURPLE STRATEGIES SOW CW2359216                             102676                   PURPLE STRATEGIES, LLC              ATTN: GENERAL COUNSEL
           2018-19 (LH.RA) DATED JUNE 01, 2017                                                                                      815 SLATERS LANE
                                                                                                                                    ALEXANDRIA, VA 22314

2. 1184    PURPLE STRATEGIES SOW CW2359216                             102682                   PURPLE STRATEGIES, LLC              ATTN: GENERAL COUNSEL
           RETAINER (LH.RA) DATED SEPTEMBER                                                                                         815 SLATERS LANE
           01, 2018                                                                                                                 ALEXANDRIA, VA 22314

2. 1185    PURPLE STRATEGIES, LLC AND                3/25/2020         106081                   PURPLE STRATEGIES, LLC              ATTN: GENERAL COUNSEL
           DECHERT LLP - SERVICES AGREEMENT                                                                                         815 SLATERS LANE
           26MAR19 (RA) EFFECTIVE MARCH 26,                                                                                         ALEXANDRIA, VA 22314
           2019

2. 1186    PURPLE STRATEGIES, LLC AND                3/25/2020         106082                   PURPLE STRATEGIES, LLC              ATTN: GENERAL COUNSEL
           DECHERT LLP - SERVICES AGREEMENT                                                                                         815 SLATERS LANE
           26MAR19 (RA) EFFECTIVE MARCH 26,                                                                                         ALEXANDRIA, VA 22314
           2019

2. 1187    STATEMENT OF WORK EFFECTIVE AS                              102681                   PURPLE STRATEGIES, LLC              ATTN: GENERAL COUNSEL
           OF JANUARY 01, 2018                                                                                                      815 SLATERS LANE
                                                                                                                                    ALEXANDRIA, VA 22314




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2. 1188    STATEMENT OF WORK TO MASTER                                 102673                   PURPLE STRATEGIES, LLC               ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT DATED JUNE                                                                                             815 SLATERS LANE
           01, 2017                                                                                                                  ALEXANDRIA, VA 22314

2. 1189    STATEMENT OF WORK UNDER MASTER                              102674                   PURPLE STRATEGIES, LLC               ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT DATED                                                                                                  815 SLATERS LANE
           SEPTEMBER 01, 2018                                                                                                        ALEXANDRAI, VA 22314

2. 1190    PUTNAM ASSOCIATES LLC CSA                 1/24/2023         106196                   PUTNAM ASSOCIATES LLC                NOT AVAILABLE
           CW2365294(SD.RA) EFFECTIVE
           JANUARY 25, 2019

2. 1191    QDISCOVERY AMENDED AND                                      102684                   Q.E.D. INTERNATIONAL, INC.           ATTN: GENERAL COUNSEL
           RESTATED MSA 01OCT2014 CW2351660                                                                                          20 MADISON AVE
           EXTENDED TERM (AP.CAG) DATED                                                                                              VALHALLA, NY 10595
           SEPTEMBER 16, 1996

2. 1192    SERVICES AGREEMENT DATED                                    102683                   Q.E.D. INTERNATIONAL, INC.           ATTN: GENERAL COUNSEL
           SEPTEMBER 16, 1996                                                                                                        200 MADISON AVE
                                                                                                                                     VALHALLA, NY 10595

2. 1193    QDISCOVERY MASTER SOW 03012017                              102686                   QDISCOVERY LLC                       ATTN: GENERAL COUNSEL
           CW2351765 EDISCOVERY SERVICES
           (AP.RA) DATED MARCH 01, 2017

2. 1194    MASTER SUBSCRIPTION AGREEMENT                               102695                   QSTREAM, INC.                        NOT AVAILABLE
           EFFECTIVE AS OF JULY 01, 2014

2. 1195    AMENDMENT #2 TO MASTER CLINICAL                             102696                   QUALITY OF LIFE MEDICAL &            ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED DECEMBER                                                       RESEARCH CENTER, LLC
           31, 2003

2. 1196    QUALTRICS, LLC - MSA AND CLOUD                              102697                   QUALTRICS, LLC                       ATTN: GENERAL COUNSEL
           AGMT. 20DEC16 CW2323148 FEEDBACK                                                                                          2250 N UNIVERSITY PKWY #48C
           SURVEYS PLATFORM (NK.CAG) DATED                                                                                           PROVO, UT 84604
           DECEMBER 20, 2016

2. 1197    ADDENDUM NO. 11 TO MASTER                                   102701                   QUEST DIAGNOSTICS CLINICAL TRIALS    ATTN: GENERAL COUNSEL
           AGREEMENT DATED MARCH 07, 2001                                                                                            1201 SOUTH COLLEGEVILLE ROAD
                                                                                                                                     COLLEGEVILLE, PA


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2. 1198    AMENDMENT NO. 1 TO MASTER                                   102700                   QUEST DIAGNOSTICS CLINICAL TRIALS    ATTN: LEGAL DEPARTMENT
           AGREEMENT DATED SEPTEMBER 01,                                                                                             1201 SOUTH COLLEGEVILLE ROAD
           2000                                                                                                                      COLLEGEVILLE, PA 19426

2. 1199    AMENDMENT NO. 1 TO MASTER                                   102705                   QUEST DIAGNOSTICS INCORPORATED       ATTN: GENERAL COUNSEL
           AGREEMENT DATED FEBRUARY 22, 2001                                                    D/B/A QUEST DIAGNOSTICS CLINICAL     1201 SOUTH COLLEGEVILLE ROAD
                                                                                                TRIALS                               COLLEGEVILLE, PA 19426

2. 1200    MASTER SERVICES AGREEMENT                                   102707                   QUEST PHARMACEUTICALS SERVICES,      ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF FEBRUARY 28, 2002                                                    LLC                                  DELAWARE TECHNOLOGY PARK
                                                                                                                                     3, INNOVATION WAY. SUITE 240
                                                                                                                                     NEWARK, DE 19711

2. 1201    PROJECT SPECIFICATION ORDER                                 102718                   QUEST PHARMACEUTICALS SERVICES,      ATTN: GENERAL COUNSEL
           DATED AUGUST 30, 2002                                                                LLC                                  3 INNOVATION WAY, SUITE 240
                                                                                                                                     NEWARK, DE 19711

2. 1202    PROJECT SPECIFICATION ORDER                                 102735                   QUEST PHARMACEUTICALS SERVICES,      ATTN: GENERAL COUNSEL
           DATED DECEMBER 12, 2002                                                              LLC                                  3 INNOVATION WAY, SUITE 240
                                                                                                                                     NEWARK, DE 19711

2. 1203    PROJECT SPECIFICATION ORDER                                 102731                   QUEST PHARMACEUTICALS SERVICES,      ATTN: GENERAL COUNSEL
           DATED NOVEMBER 01, 2002                                                              LLC                                  3 INNOVATION WAY, SUITE 240
                                                                                                                                     NEWARK, DE 19711

2. 1204    PROJECT SPECIFICATION ORDER                                 102732                   QUEST PHARMACEUTICALS SERVICES,      ATTN: GENERAL COUNSEL
           DATED NOVEMBER 01, 2002                                                              LLC                                  3 INNOVATION WAY, SUITE 240
                                                                                                                                     NEWARK, DE 19711

2. 1205    PROJECT SPECIFICATION ORDER                                 102734                   QUEST PHARMACEUTICALS SERVICES,      ATTN: GENERAL COUNSEL
           DATED NOVEMBER 01, 2002                                                              LLC                                  3 INNOVATION WAY, SUITE 240
                                                                                                                                     NEWARK, DE 19711

2. 1206    PROJECT SPECIFICATION ORDER                                 102720                   QUEST PHARMACEUTICALS SERVICES,      ATTN: GENERAL COUNSEL
           DATED SEPTEMBER 09, 2002                                                             LLC                                  3 INNOVATION WAY, SUITE 240
                                                                                                                                     NEWARK, DE 19711

2. 1207    PROJECT SPECIFICATION ORDER                                 102721                   QUEST PHARMACEUTICALS SERVICES,      ATTN: GENERAL COUNSEL
           DATED SEPTEMBER 09, 2002                                                             LLC                                  3 INNOVATION WAY, SUITE 240
                                                                                                                                     NEWARK, DE 19711


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2. 1208    PROJECT SPECIFICATION ORDER                                 102722                   QUEST PHARMACEUTICALS SERVICES,   ATTN: GENERAL COUNSEL
           DATED SEPTEMBER 09, 2002                                                             LLC                               3 INNOVATION WAY, SUITE 240
                                                                                                                                  NEWARK, DE 19711

2. 1209    PROJECT SPECIFICATION ORDER                                 102723                   QUEST PHARMACEUTICALS SERVICES,   ATTN: GENERAL COUNSEL
           DATED SEPTEMBER 16, 2002                                                             LLC                               3 INNOVATION WAY, SUITE 240
                                                                                                                                  NEWARK, DE 19711

2. 1210    PROJECT SPECIFICATION ORDER                                 102724                   QUEST PHARMACEUTICALS SERVICES,   ATTN: GENERAL COUNSEL
           DATED SEPTEMBER 16, 2002                                                             LLC                               3 INNOVATION WAY, SUITE 240
                                                                                                                                  NEWARK, DE 19711

2. 1211    PROJECT SPECIFICATION ORDER                                 102725                   QUEST PHARMACEUTICALS SERVICES,   ATTN: GENERAL COUNSEL
           DATED SEPTEMBER 16, 2002                                                             LLC                               3 INNOVATION WAY, SUITE 240
                                                                                                                                  NEWARK, DE 19711

2. 1212    PROJECT SPECIFICATION ORDER                                 102726                   QUEST PHARMACEUTICALS SERVICES,   ATTN: GENERAL COUNSEL
           DATED SEPTEMBER 23, 2002                                                             LLC                               3 INNOVATION WAY, SUITE 240
                                                                                                                                  NEWARK, DE 19711

2. 1213    PROJECT SPECIFICATION ORDER                                 102727                   QUEST PHARMACEUTICALS SERVICES,   ATTN: GENERAL COUNSEL
           DATED SEPTEMBER 24, 2002                                                             LLC                               3 INNOVATION WAY, SUITE 240
                                                                                                                                  NEWARK, DE 19711

2. 1214    PROJECT SPECIFICATION ORDER                                 102728                   QUEST PHARMACEUTICALS SERVICES,   ATTN: GENERAL COUNSEL
           DATED SEPTEMBER 24, 2002                                                             LLC                               3 INNOVATION WAY, SUITE 240
                                                                                                                                  NEWARK, DE 19711

2. 1215    PROJECT SPECIFICATION ORDER                                 102729                   QUEST PHARMACEUTICALS SERVICES,   ATTN: GENERAL COUNSEL
           DATED SEPTEMBER 25, 2002                                                             LLC                               3 INNOVATION WAY, SUITE 240
                                                                                                                                  NEWARK, DE 19711

2. 1216    PROJECT SPECIFICATION ORDER                                 102730                   QUEST PHARMACEUTICALS SERVICES,   ATTN: GENERAL COUNSEL
           DATED SEPTEMBER 25, 2002                                                             LLC                               3 INNOVATION WAY, SUITE 240
                                                                                                                                  NEWARK, DE 19711

2. 1217    PROJECT SPECIFICATION ORDER                                 102708                   QUEST PHARMACEUTICALS SERVICES,   ATTN: GENERAL COUNSEL
           DATED FEBRUARY 28, 2002                                                              LLC                               3 INNOVATION WAY, SUITE 240
                                                                                                                                  DELAWARE TECHNOLOGY PARK
                                                                                                                                  NEWARK, DE 19711


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2. 1218    PROJECT SPECIFICATION ORDER                                 102709                   QUEST PHARMACEUTICALS SERVICES,   ATTN: GENERAL COUNSEL
           DATED FEBRUARY 28, 2002                                                              LLC                               3 INNOVATION WAY, SUITE 240
                                                                                                                                  DELAWARE TECHNOLOGY PARK
                                                                                                                                  NEWARK, DE 19711

2. 1219    PROJECT SPECIFICATION ORDER                                 102710                   QUEST PHARMACEUTICALS SERVICES,   ATTN: GENERAL COUNSEL
           DATED FEBRUARY 28, 2002                                                              LLC                               3 INNOVATION WAY, SUITE 240
                                                                                                                                  DELAWARE TECHNOLOGY PARK
                                                                                                                                  NEWARK, DE 19711

2. 1220    PROJECT SPECIFICATION ORDER                                 102714                   QUEST PHARMACEUTICALS SERVICES,   ATTN: GENERAL COUNSEL
           DATED FEBRUARY 28, 2002                                                              LLC                               3 INNOVATION WAY, SUITE 240
                                                                                                                                  DELAWARE TECHNOLOGY PARK
                                                                                                                                  NEWARK, DE 19711

2. 1221    PROJECT SPECIFICATION ORDER                                 102715                   QUEST PHARMACEUTICALS SERVICES,   ATTN: GENERAL COUNSEL
           DATED FEBRUARY 28, 2002                                                              LLC                               3 INNOVATION WAY, SUITE 240
                                                                                                                                  DELAWARE TECHNOLOGY PARK
                                                                                                                                  NEWARK, DE 19711

2. 1222    PROJECT SPECIFICATION ORDER                                 102716                   QUEST PHARMACEUTICALS SERVICES,   ATTN: GENERAL COUNSEL
           DATED FEBRUARY 28, 2002                                                              LLC                               3 INNOVATION WAY, SUITE 240
                                                                                                                                  DELAWARE TECHNOLOGY PARK
                                                                                                                                  NEWARK, DE 19711

2. 1223    MASTER SERVICES AGREEMENT                                   102739                   QUINTILES COMMERCIAL US, INC.     ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JUNE 08, 2011                                                                                          10 WATERVIEW BOULEVARD
                                                                                                                                  PARSIPPANY, NJ 07054

2. 1224    AMENDMENT NO. 4 TO HEALTHCARE                               102745                   QUINTILES IMS INCORPORATED        ATTN: GENERAL COUNSEL
           INFORMATION AND SOLUTIONS                                                                                              3 PARKWAY NORTH
           AGREEMENT DATED FEBRUARY 28, 2017                                                                                      SUITE 110
                                                                                                                                  DEERFIELD, IL 60015

2. 1225    PROJECT/ SERVICE ORDER EFFECTIVE                            102744                   QUINTILES IMS INCORPORATED        ATTN: GENERAL COUNSEL
           AS OF DECEMBER 22, 2008                                                                                                3 PARKWAY NORTH
                                                                                                                                  SUITE 110
                                                                                                                                  DEERFIELD, IL 60015




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2. 1226    LOCAL REPRESENTATIVE AGREEMENT                              102751                   QUINTILES PTY LTD                ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF DECEMBER 22, 2003                                                                                     100 MILLER STREET
                                                                                                                                 NORTH SYDNEY NSW 2060
                                                                                                                                 AUSTRALIA

2. 1227    LETTER: CONSENT EXECUTED                                    102752                   QUINTILES, INC.                  ATTN: GENERAL COUNSEL
           DECEMBER 19, 2013                                                                                                     4820 EMPEROR BOULEVARD
                                                                                                                                 DURHAM, NC 27703

2. 1228    MASTER CRO SERVICES AGREEMENT                               102754                   QUINTILES, INC.                  ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF SEPTEMBER 30, 2016                                                                                    4820 EMPEROR BOULEVARD
                                                                                                                                 DURHAM, NC 27703

2. 1229    START UP WORK ORDER EXECUTED                                102757                   QUINTILES, INC.                  ATTN: GENERAL COUNSEL
           SEPTEMBER 07, 2016                                                                                                    4820 EMPEROR BOULEVARD
                                                                                                                                 DURHAM, NC 27703

2. 1230    START UP WORK ORDER UNDER                                   102756                   QUINTILES, INC.                  ATTN: GENERAL COUNSEL
           MASTER SERVICES AGREEMENT                                                                                             4820 EMPEROR BOULEVARD
           DATED JULY 21, 2006                                                                                                   DURHAM, NC 27703

2. 1231    AMENDMENT NO. 1 TO LITIGATION                               102766                   QUORUM LITIGATION SERVICES       ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT                                                                                                    950 BLUE GENTIAN ROAD, SUITE
                                                                                                                                 100
                                                                                                                                 EAGAN, MN 55121-1500

2. 1232    SEARCH FIRM AGREEMENT EFFECTIVE                             102768                   R&D PARTNERS                     ATTN: MATTHEW ZAPP
           AS OF APRIL 28, 2009                                                                                                  3031 N ROCKY POINT ROAD W,
                                                                                                                                 SUITE 175
                                                                                                                                 TAMPA, FL 33607

2. 1233    AMENDED AND RESTATED STUDY                                  102777                   RADIANT RESEARCH, INC.           ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER DATED JUNE                                                                                        DEPT. 4300, C/O B OF A
           13, 2003                                                                                                              WHOLESALE LOCKBOX
                                                                                                                                 WAI-501-11-30, 800 5TH AVENUE
                                                                                                                                 SEATTLE, WA 98104

2. 1234    AMENDMENT #2 TO MASTER CLINICAL                             102778                   RADIANT RESEARCH, INC.           ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED JUNE 13,                                                                                        DEPT. 4300, C/O B OF A
           2003                                                                                                                  WHOLESALE LOCKBOX
                                                                                                                                 WAI-501-11-30, 800 5TH AVENUE
                                                                                                                                 SEATTLE, WA 98104
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2. 1235    AMENDMENT #2 TO MASTER CLINICAL                              102779                   RADIANT RESEARCH, INC.           ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED JUNE 13,                                                                                         DEPT. 4300, C/O B OF A
           2003                                                                                                                   WHOLESALE LOCKBOX
                                                                                                                                  WAI-501-11-30, 800 5TH AVENUE
                                                                                                                                  SEATTLE, WA 98104

2. 1236    RALPH D'AGOSTINO, JR., PH.D. - CSA         6/30/2021         106018                   RALPH D AGOSTINO JR              NOT AVAILABLE
           CW2367590 (LH.RA) EFFECTIVE JULY 01,
           2019

2. 1237    DISTRIBUTION AND SUPPLY                                      106283                   RANBAXY PHARMACEUTICALS INC.     ATTN: GENERAL COUNSEL
           AGREEMENT BY AND BETWEEN                                                                                               9431 FLORIDA MINING BLVD. EAST
           RANBAXY PHARMACEUTICALS INC. AND                                                                                       JACKSONVILLE, FL 32257
           PURDUE PHARMA L.P., DATED
           DECEMBER 28, 2012

2. 1238    DISTRIBUTION AND SUPPLY                                      106287                   RANBAXY PHARMACEUTICALS INC.     ATTN: GENERAL COUNSEL
           AGREEMENT BY AND BETWEEN                                                                                               9431 FLORIDA MINING BLVD. EAST
           RANBAXY PHARMACEUTICALS INC. AND                                                                                       JACKSONVILLE, FL 32257
           PURDUE PHARMA L.P., DATED
           DECEMBER 28, 2012

2. 1239    AMENDMENT NO. 1 TO DISTRIBUTION                              102790                   RANBAXY PHARMACEUTICALS, INC.    ATTN: GENERAL COUNSEL
           AND SUPPLY AGREEMENT DATED                                                                                             9431 FLORIDA MINING BLVD. EAST
           DECEMBER 28, 2012                                                                                                      JACKSONVILLE, FL 32257

2. 1240    DISTRIBUTION AND SUPPLY                                      102782                   RANBAXY PHARMACEUTICALS, INC.    ATTN: VICE PRESIDENT - SALES,
           AGREEMENT DATED DECEMBER 28,                                                                                           MARKETING & DISTRIBUTION
           2012                                                                                                                   9431 FLORIDA MINING
                                                                                                                                  BOULEVARD EAST
                                                                                                                                  JACKSONVILLE, FL 32257

2. 1241    DISTRIBUTION AND SUPPLY                                      102781                   RANBAXY PHARMACEUTICALS, INC.    ATTN: VICE PRESIDENT - SALES,
           AGREEMENT DATED NOVEMBER 13,                                                                                           MARKETING & DISTRIBUTION
           2009                                                                                                                   9431 FLORIDA MINING
                                                                                                                                  BOULEVARD EAST
                                                                                                                                  JACKSONVILLE, FL 32257

2. 1242    PHARMACOVIGILANCE AGREEMENT                                  102784                   RANBAXY PHARMACEUTICALS, INC.    ATTN: HUNTER MURDOCK, ESQ
           EXECUTED AUGUST 06, 2014                                                                                               600 COLLEGE ROAD EAST
                                                                                                                                  PRINCETON, NJ 08540


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2. 1243    QUALITY AGREEMENT DATED AUGUST                              102783                   RANBAXY PHARMACEUTICALS, INC.      ATTN: LAVESH SAMTANI
           18, 2014                                                                                                                600 COLLEGE ROAD EAST
                                                                                                                                   PRINCETON, NJ 08540

2. 1244    SEARCH FIRM AGREEMENT EFFECTIVE                             102792                   RAPID RESOURCES RECRUITERS, LLC    ATTN: GENERAL COUNSEL
           AS OF JUNE 26, 2009                                                                                                     10 PINEWOOD CT.
                                                                                                                                   RACINE, WI 53402

2. 1245    RAZORFISH HEALTH AMENDMENT 7 TO                             102794                   RAZORFISH HEALTH                   ATTN: GENERAL COUNSEL
           MSA CW2363318 (SD.RA) DATED
           SEPTEMBER 12, 2018

2. 1246    HALKIAS CSA CW2354339                                       102795                   REBECCA L. HALKIAS                 ATTN: GENERAL COUNSEL
           GOVERNMENT AFFAIRS (AB.RA) DATED                                                                                        325 7TH STREET, SUITE 400
           MAY 01, 2017                                                                                                            WASHINGTON, DC 20004

2. 1247    NAVIGATOR(TM) FOR DRUG LABELS                               102796                   REED TECH                          ATTN: GRANT FALATOVICH
           ORDER FORM DATED MAY 01, 2018                                                                                           7 WALNUT GROVE DRIVE
                                                                                                                                   HORSHAM, PA 19044

2. 1248    SEARCH FIRM AGREEMENT DATED                                 102797                   REEVE & ASSOCIATES LLC             ATTN: GENERAL COUNSEL
           JANUARY 18, 2010                                                                                                        1127 HIGH RIDGE ROAD # 306
                                                                                                                                   STAMFORD, CT 06905

2. 1249    MASTER CLINICAL TRIAL AGREEMENT                             102799                   REGENTS OF THE UNIVERSITY OF       ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF APRIL 16, 2014                                                       CALIFORNIA WITH OFFICES AT         10911 WEYBURN AVENUE, 3RD
                                                                                                CLINICAL TRIALS ADMINISTRATION     FLOOR
                                                                                                OFFICE                             LOS ANGELES, CA 90095

2. 1250    REIMHERR, FRED CSA 01012019              12/31/2019         105925                   REIMHERR, FRED                     NOT AVAILABLE
           CW2364604 (SS.SD) EFFECTIVE
           JANUARY 01, 2019

2. 1251    NDCRELAYHEALTHSOW27APR2017CW23                              102802                   RELAYHEALTH                        ATTN: GENERAL COUNSEL
           53610 SYMPROIC(AB.RA) DATED JULY                                                                                        1564 N.E. EXPRESSWAY
           01, 2017                                                                                                                ATLANTA, GA 30329

2. 1252    RELAYHEALTH AMEND MSA CW2360124                             102803                   RELAYHEALTH                        ATTN: GENERAL COUNSEL
           (LB.RA) DATED FEBRUARY 12, 2018                                                                                         1564 N.E. EXPRESSWAY
                                                                                                                                   ATLANTA, GA 30329


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2. 1253    MSA AMENDMENT 2 REMUND GROUP                                102822                   REMUND GROUP, LLC                    ATTN: GENERAL COUNSEL
           CW2359919 (DS.RA) DATED JANUARY
           02, 2018

2. 1254    CLINICAL TRIAL AGREEMENT DATED                              102823                   RENSTAR INC.                         ATTN: GENERAL COUNSEL
           FEBRUARY 10, 2004                                                                                                         104 SE 1ST SUITE B
                                                                                                                                     OCALA, FL 34471

2. 1255    CLINICAL TRIAL AGREEMENT DATED                              102824                   RENSTAR INC.                         ATTN: GENERAL COUNSEL
           MARCH 23, 2004                                                                                                            104 SE 1ST SUITE B
                                                                                                                                     OCALA, FL 34471

2. 1256    CLINICAL TRIAL AGREEMENT                                    102825                   RESEARCH ACROSS AMERICA              ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF APRIL 10, 2002                                                                                            RHD PROFESSIONAL PLAZA 4
                                                                                                                                     9 MEDICAL PARKWAY, SUITE 202
                                                                                                                                     DALLAS, TX 75234

2. 1257    AMENDMENT #3 TO STUDY                                       102826                   RESEARCH CENTER OF LOUISIANA         ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #001 TO                                                                                               3600 PRYTANIA STREET
           MASTER SERVICES AGREEMENT                                                                                                 SUITE 4
           EFFECTIVE AS OF FEBRUARY 22, 2005                                                                                         NEW ORLEANS, LA 70115

2. 1258    STUDY SPECIFICATION ORDER 002                               102827                   RESEARCH CENTER OF THE OZARKS        ATTN: GENERAL COUNSEL
           DATED DECEMBER 30, 2004                                                                                                   118 WEST COMMERICAL STREET,
                                                                                                                                     P.O. BOX 111
                                                                                                                                     EVERTON, MO 65646

2. 1259    RTI HEALTH SOLUTIONS OTH 100916                             102830                   RESEARCH TRIANGLE INSTITUTE D/B/A    ATTN: GENERAL COUNSEL
           CW2320826 AMENDMENT 3 TO SOW 3                                                       RTI HEALTH SOLUTIONS
           (LH.LLS) DATED SEPTEMBER 29, 2016

2. 1260    RTI OTH 101916 CW2320816                                    102829                   RESEARCH TRIANGLE INSTITUTE D/B/A    ATTN: GENERAL COUNSEL
           AMENDMENT TO MSA 101013 (LH.LLS)                                                     RTI HEALTH SOLUTIONS
           DATED SEPTEMBER 29, 2016

2. 1261    WUXI CLINICAL DEVELOPMENT, INC             4/7/2022         105964                   RESEARCHPOINT GLOBAL                 NOT AVAILABLE
           CSA CW2366357 ONCOLOGY
           CONSULTING BY HAUSHEER (LH.RA)
           EFFECTIVE APRIL 08, 2019




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Schedule G: Executory Contracts and Unexpired Leases
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2. 1262    SEARCH FIRM AGREEMENT EFFECTIVE                             102833                   RESPONSE COMPANIES                ATTN: GENERAL COUNSEL
           AS OF AUGUST 12, 2009                                                                                                  10 EAST 40TH STREET
                                                                                                                                  5TH FLOOR
                                                                                                                                  NEW YORK, NY 10016

2. 1263    ADDENDUM TO INTERNET SERVICES                               102837                   REUTERS AMERICA LLC               NOT AVAILABLE
           AGREEMENT

2. 1264    INTERNET SERVICES ORDER FORM                                102840                   REUTERS HEALTH INFORMATION LLC    ATTN: GENERAL COUNSEL
           EXECUTED FEBRUARY 02, 2005                                                                                             THREE TIMES SQUARE
                                                                                                                                  NEW YORK, NY 10036

2. 1265    AMENDMENT #1 TO STUDY                                       102848                   RHEUMATOLOGY ASSOCIATES OF        ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER DATED                                                            NORTH ALABAMA
           FEBRUARY 04, 2002

2. 1266    CONTRACT AGREEMENT EXECUTED                                 102849                   RHEUMATOLOGY RESEARCH             ATTN: DON CROSBIE
           APRIL 06, 1998                                                                       INTERNATIONAL, LLC                SUITE 545
                                                                                                                                  5939 HARRY HINES BOULEVARD
                                                                                                                                  DALLAS, TX 75235

2. 1267    AMENDMENT #2 TO MASTER CLINICAL                             102850                   RHEUMATOLOGY, PC                  ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED NOVEMBER
           17, 2003

2. 1268    CONSENT AGREEMENT EXECUTED                                  102851                   RHO, INC                          ATTN: GENERAL COUNSEL
           JANUARY 17, 2014                                                                                                       LAURA HELMS REECE
                                                                                                                                  6330 QUADRANGLE DRIVE, SUITE
                                                                                                                                  500
                                                                                                                                  CHAPEL HILL, NC 27515

2. 1269    LETTER: CONSENT EXECUTED                                    102852                   RHO, INC.                         ATTN: GENERAL COUNSEL
           JANUARY 17, 2014                                                                                                       LAURA HELMS REECE
                                                                                                                                  6330 QUADRANGLE DRIVE, SUITE
                                                                                                                                  500
                                                                                                                                  CHAPEL HILL, NC 27515

2. 1270    MASTER CLINICAL TRIAL AGREEMENT                             102853                   RHODE ISLAND HOSPITAL             ATTN: LIFESPAN OFFICE OF
           EFFECTIVE AS OF JUNE 04, 2014                                                                                          RESEARCH ADMINISTRATION
                                                                                                                                  ONE HOPPIN STREET BOX 42,
                                                                                                                                  SUITE 1.300
                                                                                                                                  PROVIDENCE, RI 02903
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2. 1271    AMENDMENT #1 TO STUDY                                       102887                   RICHARD J. WINKLE, MD INC. D/B/A ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #002                                                             ORANGE COUNTY CLINICAL RESEARCH 11741 VALLEY VIEW STREET
           EFFECTIVE AS OF OCTOBER 17, 2003                                                                                      CYPRESS, CA 90630

2. 1272    STUDY SPECIFICATION ORDER 002 TO                            102886                   RICHARD J. WINKLE, MD INC. D/B/A ATTN: GENERAL COUNSEL
           MASTER CLINICAL TRIAL AGREEMENT                                                      ORANGE COUNTY CLINICAL RESEARCH 11741 VALLEY VIEW STREET
           DATED OCTOBER 17, 2003                                                                                                CYPRESS, CA 90630

2. 1273    SLUTSKY MD MCSA 09012016                                    102890                   RICHARD M. SLUTSKY, MD           ATTN: GENERAL COUNSEL
           CW2319971 ADDICTION AD BOARD                                                                                          1450 WASHINGTON BLVD.
           (LH.PMM) DATED SEPTEMBER 01, 2016                                                                                     STAMFORD, CT 06902

2. 1274    RIGHT MANAGEMENT MSA                       4/2/2022         106165                   RIGHT MANAGEMENT CONSULTANTS     NOT AVAILABLE
           CW2366613(SD.RA) EFFECTIVE APRIL
           03, 2019

2. 1275    AMENDMENT #1 TO CAREER                                      102892                   RIGHT MANAGEMENT INC.            NOT AVAILABLE
           TRANSITION SERVICES AGREEMENT
           EFFECTIVE AS OF JANUARY 24, 2018

2. 1276    SERVICE AGREEMENT DATED                                     102895                   RITE AID                         ATTN: GENERAL COUNSEL
           FEBRUARY 25, 2015                                                                                                     30 HUNTER LANE
                                                                                                                                 CAMP HILL, PA 17011

2. 1277    SEARCH FIRM AGREEMENT DATED                                 102896                   RJM TECHNOLOGIES, INC.           ATTN: GENERAL COUNSEL
           OCTOBER 04, 2007                                                                                                      9620 MAURY ROAD
                                                                                                                                 FAIRFAX, VA 22032

2. 1278    SEARCH FIRM AGREEMENT DATED                                 102898                   RJS ASSOCIATES                   ATTN: GENERAL COUNSEL
           OCTOBER 04, 2007                                                                                                      10 COLUMBUS BOULEVARD
                                                                                                                                 HARTFORD, CT 06106

2. 1279    RK GROUP LLC (BITTON) MCSA                                  102899                   RK GROUP LLC                     ATTN: GENERAL COUNSEL
           08102016 CW2319371 (LH.ER) DATED                                                                                      6335 APPLE DEW AVENUE
           AUGUST 10, 2016                                                                                                       LAS VEGAS, NV 891331

2. 1280    SEARCH FIRM AGREEMENT EFFECTIVE                             102900                   ROBERT HALF INTERNATIONAL        ATTN: GENERAL COUNSEL
           AS OF AUGUST 10, 2011                                                                                                 2613 CAMINO RAMON
                                                                                                                                 SAN RAMON, CA 94583



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2. 1281    CONSTRUCTION AGREEMENT                                      102902                   ROBERT M. HERLING                ATTN: GENERAL COUNSEL
           BETWEEN OWNER AND CONTRACTOR                                                                                          2500 MAIN STREET
           DATED OCTOBER 28, 2005                                                                                                SUITE 3
                                                                                                                                 SAYREVILLE, NJ 07424

2. 1282    SCHOENHAUS MCSA CW2319179                                   102905                   ROBERT SCHOENHAUS, PHARMD        ATTN: GENERAL COUNSEL
           (LH.ER) DATED AUGUST 10, 2016                                                                                         17005 BUTTERFIELD TRAIL
                                                                                                                                 POWAY, CA 92064

2. 1283    ROBINSON REGDOCS SOW 07012016                               102908                   ROBINSON REGDOCS, INC.           ATTN: GENERAL COUNSEL
           CW2221280 BUTRANS QT MANUSCRIPT                                                                                       4145 HERBST DRIVE
           (LH.CG) DATED JULY 28, 2016                                                                                           DOLYESTOWN, PA 18902

2. 1284    AMENDMENT NO. 1 TO AUTHORIZED                               102914                   ROCHESTER DRUG CO-OPERATIVE,     ATTN: GENERAL COUNSEL
           DISTRIBUTOR AGREEMENT EFFECTIVE                                                      INC.                             50 JET VIEW DRIVE
           AS OF APRIL 15, 2016                                                                                                  ROCHESTER, NY 14624

2. 1285    AMENDMENT NO. 1 TO DISTRIBUTION                             102913                   ROCHESTER DRUG CO-OPERATIVE,     ATTN: GENERAL COUNSEL
           PERFORMANCE AGREEMENT                                                                INC.                             50 JET VIEW DRIVE
           EFFECTIVE AS OF JUNE 30, 2015                                                                                         ROCHESTER, NY 14624

2. 1286    AMENDMENT NO. 2 TO AUTHORIZED                               102915                   ROCHESTER DRUG CO-OPERATIVE,     ATTN: GENERAL COUNSEL
           DISTRIBUTOR AGREEMENT EFFECTIVE                                                      INC.                             50 JET VIEW DRIVE
           AS OF JUNE 30, 2017                                                                                                   ROCHESTER, NY 14624

2. 1287    AMENDMENT NO. 2 TO DISTRIBUTION                             102916                   ROCHESTER DRUG CO-OPERATIVE,     ATTN: GENERAL COUNSEL
           PERFORMANCE AGREEMENT                                                                INC.                             50 JET VIEW DRIVE
           EFFECTIVE AS OF JUNE 01, 2018                                                                                         ROCHESTER, NY 14624

2. 1288    AUTHORIZED DISTRIBUTOR                                      102917                   ROCHESTER DRUG CO-OPERATIVE,     ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JULY                                                       INC.                             50 JET VIEW DRIVE
           01, 2012                                                                                                              ROCHESTER, NY 14624

2. 1289    DISTRIBUTION PERFORMANCE                                    102911                   ROCHESTER DRUG CO-OPERATIVE,     ATTN: ED KIRKER
           AGREEMENT EFFECTIVE AS OF JULY                                                       INC.                             50 JET VIEW DRIVE
           01, 2012                                                                                                              ROCHESTER, NY 14624

2. 1290    AMENDMENT #1 TO MASTER CLINICAL                             102922                   ROCKY MOUNTAIN CLINICAL          ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED SEPTEMBER                                                      RESEARCH                         29 ROGERS COURT
           04, 2002                                                                                                              GOLDEN, CO 80401


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2. 1291    AMENDMENT #3 TO MASTER SERVICES                             102927                   RODA CREATIVE SERVICES          ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                                                            1381 W POPLAR ST STE 200
           DECEMBER 16, 2015                                                                                                    YORK, PA 17404

2. 1292    RODA CREATIVE SERVICES OTH                                  102930                   RODA CREATIVE SERVICES          ATTN: GENERAL COUNSEL
           CW2364192 AMEND TO 2018 - 2019 SOW                                                                                   1381 W POPLAR ST STE 200
           (LH.RA) DATED NOVEMBER 01, 2018                                                                                      YORK, PA 17404

2. 1293    RODA CREATIVE SERVICES SOW                                  102928                   RODA CREATIVE SERVICES          ATTN: GENERAL COUNSEL
           CW2359060 2018 - 2019 (LH.RA) DATED                                                                                  1381 W POPLAR ST STE 200
           DECEMBER 14, 2017                                                                                                    YORK, PA 17404

2. 1294    RODA CREATIVE SERVICES, LTD. OTH                            102931                   RODA CREATIVE SERVICES          ATTN: GENERAL COUNSEL
           CW2365151 AMEND2 TO SOW 2018-1                                                                                       1381 W POPLAR ST STE 200
           (LH.RA) DATED JANUARY 01, 2019                                                                                       YORK, PA 17404

2. 1295    SEARCH FIRM AGREEMENT EFFECTIVE                             102933                   ROSE AND JONES ASSOCIATES       ATTN: GENERAL COUNSEL
           AS OF OCTOBER 04, 2007                                                                                               46 BAYNARD STREET, SUITE 209
                                                                                                                                NEW BRUNSWICK, NJ 08901

2. 1296    ADDENDUM NO. 1 TO AMENDED AND                               102935                   ROXANNE LABORATORIES            NOT AVAILABLE
           RESTATED STATEMENT OF WORK
           EFFECTIVE AS OF APRIL 01, 2015

2. 1297    AMENDMENT #1 TO STUDY                                       102946                   RUSH PRESBYTERIAN-ST. LUKES     ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER DATED AUGUST                                                     MEDICAL CENTER
           13, 2003

2. 1298    STUDY SPECIFICATION ORDER 001                               102947                   RUSH PRESBYTERIAN-ST.LUKES      ATTN: GENERAL COUNSEL
           DATED OCTOBER 07, 2003                                                               MEDICAL CENTER                  1653 WEST CONGRESS PARKWAY
                                                                                                                                CHICAGO, IL 60612

2. 1299    AMENDMENT TO MASTER SERVICES                                102948                   RUSK (NYU) NY MEDICAL CENTER    ATTN: GENERAL COUNSEL
           AGREEMENT DATED DECEMBER 03,                                                                                         317 EAST 34TH STREET
           2000                                                                                                                 NEW YORK, NY 10016

2. 1300    RXMOSAIC CSA CW2364879 (LH.RA)            1/31/2022         105942                   RXMOSAIC LLC                    NOT AVAILABLE
           EFFECTIVE JANUARY 04, 2019




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2. 1301    SEARCH FIRM AGREEMENT DATED                                 102953                   S. ALTMAN ASSOCIATES               ATTN: GENERAL COUNSEL
           OCTOBER 04, 2007                                                                                                        48 HOLLY RIBBONS CIRCLE
                                                                                                                                   BLUFFTON, SC 29909

2. 1302    MASTER SERVICES AGREEMENT                                   102961                   SALADOPS SOLUTIONS                 ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JULY 01, 2016                                                                                           303 WEST 66TH ST. APT. 12DW
                                                                                                                                   NEW YORK, NY 10023

2. 1303    SEARCH FIRM AGREEMENT EFFECTIVE                             102962                   SALES CONSULTANTS OF CARY D/B/A    ATTN: GENERAL COUNSEL
           AS OF SEPTEMBER 20, 2011                                                             PERSONIFY SEARCH                   5020 WESTON PARKWAY
                                                                                                                                   CARY, NC 27513

2. 1304    MASTER SERVICE AGREEMENT DATED                              102963                   SAMETZ BLACKSTONE ASSOCIATES,      ATTN: GENERAL COUNSEL
           JULY 23, 2001                                                                        INC.                               40 WEST NEWTON STREET
                                                                                                                                   BOSTON, MA 02118

2. 1305    DISTRIBUTION AND SUPPLY                                     106288                   SANDOZ INC.                        ATTN: VICE PRESIDENT,
           AGREEMENT BY AND BETWEEN                                                                                                INTELLECTUAL PROPERTY
           SANDOZ INC. AND PURDUE PHARMA                                                                                           ATTN: GENERAL COUNSEL
           L.P., DATED JANUARY 5, 2014                                                                                             506 CARNEGIE CENTER, SUITE 400
                                                                                                                                   PRINCETON, NJ 08540

2. 1306    DISTRIBUTION AND SUPPLY                                     106292                   SANDOZ INC.                        ATTN: VICE PRESIDENT,
           AGREEMENT BY AND BETWEEN                                                                                                INTELLECTUAL PROPERTY
           SANDOZ INC. AND PURDUE PHARMA                                                                                           ATTN: GENERAL COUNSEL
           L.P., DATED JANUARY 5, 2014                                                                                             506 CARNEGIE CENTER, SUITE 400
                                                                                                                                   PRINCETON, NJ 08540

2. 1307    AMENDMENT #1 TO                                             102978                   SANDOZ, INC.                       ATTN: GENERAL COUNSEL
           PHARMACOVIGILANCE AGREEMENT                                                                                             11101 W 120TH AVENUE SUITE 120
           DATED MAY 23, 2014                                                                                                      BROOMFIELD, CO 80021

2. 1308    DISTRIBUTION AND SUPPLY                                     102972                   SANDOZ, INC.                       ATTN: VICE PRESIDENT,
           AGREEMENT DATED JANUARY 05, 2014                                                                                        INTELLECTUAL PROPERTY
                                                                                                                                   ATTN: GENERAL COUNSEL
                                                                                                                                   506 CARNEGIE CENTER, SUITE 400
                                                                                                                                   PRINCETON, NJ 08540

2. 1309    PHARMACOVIGILANCE AGREEMENT                                 102977                   SANDOZ, INC.                       ATTN: BRIAN WATSON
           EFFECTIVE AS OF MAY 23, 2014                                                                                            2555 WEST MIDWAY BOULEVARD
                                                                                                                                   BROOMFIELD, CO 80516

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2. 1310    QUALITY AGREEMENT DATED MAY 28,                             102973                   SANDOZ, INC.                    ATTN: BRIAN WATSON
           2014                                                                                                                 2555 WEST MIDWAY BOULEVARD
                                                                                                                                BROOMFIELD, CO 80516

2. 1311    QUALITY AGREEMENT EFFECTIVE AS                              102991                   SANOFL-AVENTIS US, LLC/P.F.     ATTN: GENERAL COUNSEL
           OF MAY 21, 2012                                                                      LABORATORIES                    55 CORPORATE DRIVE,
                                                                                                                                BRIDGEWATER, NJ 08807

2. 1312    MASTER SERVICES AGREEMENT                                   103013                   SARD VERBINNEN & CO., LLC       ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF SEPTEMBER 06, 2016                                                                                   630 THIRD AVENUE, 9TH FLOOR
                                                                                                                                NEW YORK, NY 10017

2. 1313    AMENDMENT NO. 1 TO MASTER                                   103030                   SCHOENECKERS, INC. D/B/A BI     NOT AVAILABLE
           SERVICES AGREEMENT DATED                                                             WORLDWIDE
           JANUARY 12, 2018

2. 1314    SEARCH FIRM AGREEMENT DATED MAY                             103035                   SCIENTIFIC SEARCH               ATTN: GENERAL COUNSEL
           15, 2008                                                                                                             101 EAST GATE DRIVE
                                                                                                                                CHERRY HILL, NJ 08034

2. 1315    SCIOSCIENTIFIC LLC CSA CW2364541                            103036                   SCIOSCIENTIFIC, LLC             ATTN: GENERAL COUNSEL
           (SD.RA) DATED DECEMBER 07, 2008                                                                                      163 MADISON AVENUE, SUITE 220
                                                                                                                                MORRISTOWN, NJ 07960

2. 1316    SEAN HENNESSY PHARM.D., PH.D.,            6/30/2020         106006                   SEAN HENNESSY                   NOT AVAILABLE
           LLC - AMEND 1 TO CSA OTH CW2367271
           (LH.SD) EFFECTIVE JANUARY 01, 2019

2. 1317    INVESTIGATIVE SERVICES AGREEMENT                            103039                   SECURITY SERVICES OF            ATTN: ROBERT J. ARIUS
           DATED FEBRUARY 09, 2004                                                              CONNECTICUT, INC.               417 KNOWLTON STREET
                                                                                                                                BRIDGEPORT, CT 06606

2. 1318    SEARCH FIRM AGREEMENT DATED                                 103041                   SEGULA TECHNOLOGIES, INC.       ATTN: GENERAL COUNSEL
           OCTOBER 08, 2007                                                                                                     13A RED ROOF LANE
                                                                                                                                P.O. BOX 30
                                                                                                                                SALEM, NH 03079

2. 1319    AMENDMENT #2 TO MASTER CLINICAL                             103045                   SENTARA MEDICAL GROUP           ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED AUGUST 25,
           2003


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2. 1320    PROMOTION SERVICES AGREEMENT                                103051                   SHARED MARKETING SERVICES, INC.     ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JANUARY 01, 1996                                                                                         233 N. MICHIGAN AVE.
                                                                                                                                    SUITE 2700
                                                                                                                                    CHICAGO, IL 60601

2. 1321    STOCKING AGREEMENT EFFECTIVE AS                             103052                   SHARED MARKETING SERVICES, INC.     ATTN: GENERAL COUNSEL
           OF JANUARY 01, 1996                                                                                                      233 N. MICHIGAN AVE.
                                                                                                                                    SUITE 2700
                                                                                                                                    CHICAGO, IL 60601

2. 1322    AMENDMENT #8 TO SUPPLY                                      103056                   SHARP CORPORATION                   ATTN: GENERAL COUNSEL
           AGREEMENT DATED JULY 03, 2006                                                                                            7451 KEEBLER WAY
                                                                                                                                    ALLENTOWN, PA 18106

2. 1323    AMENDMENT TO QUALITY AGREEMENT                              103055                   SHARP CORPORATION                   ATTN: GENERAL COUNSEL
           DATED JULY 03, 2006                                                                                                      7451 KEEBLER WAY
                                                                                                                                    ALLENTOWN, PA 18106

2. 1324    QUALITY AGREEMENT DATED JULY 03,                            103054                   SHARP CORPORATION                   ATTN: GENERAL COUNSEL
           2006                                                                                                                     7451 KEEBLER WAY
                                                                                                                                    ALLENTOWN, PA 18106

2. 1325    QUALITY AGREEMENT DATED JULY 03,                            103057                   SHARP CORPORATION                   ATTN: GENERAL COUNSEL
           2006                                                                                                                     7451 KEEBLER WAY
                                                                                                                                    ALLENTOWN, PA 18106

2. 1326    AMENDMENT #3 TO MASTER SERVICES                             103059                   SHIMADZU SCIENTIFIC INSTRUMENTS,    ATTN: GENERAL COUNSEL
           AGREEMENT DATED MAY 01, 2009                                                         INC.

2. 1327    AMENDMENT NO. 1 TO DISTRIBUTION                             103077                   SHIONOGI INC                        ATTN: GENERAL COUNSEL
           AND PROMOTION COLLABORATION                                                                                              300 CAMPUS DRIVE
           AGREEMENT DATED FEBRUARY 16, 2017                                                                                        FLORHAM PARK, NJ 07932

2. 1328    AMENDMENT NO. 2 TO DISTRIBUTION                             103079                   SHIONOGI INC                        ATTN: GENERAL COUNSEL
           AND PROMOTION COLLABORATION                                                                                              300 CAMPUS DRIVE
           AGREEMENT DATED APRIL 14, 2017                                                                                           FLORHAM PARK, NJ 07932

2. 1329    AMENDMENT, TERMINATION AND                                   9022                    SHIONOGI INC                        ATTN: GENERAL COUNSEL
           REVERSION AGREEMENT EFFECTIVE                                                                                            300 CAMPUS DRIVE
           JUNE 25, 2018                                                                                                            FLORHAM PARK, NJ 07932


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2. 1330    DISTRIBUTION AND PROMOTION                                  103083                   SHIONOGI INC                     ATTN: GENERAL COUNSEL
           COLLABORATION AGREEMENT DATED                                                                                         300 CAMPUS DRIVE
           DECEMBER 17, 2016                                                                                                     FLORHAM PARK, NJ 07932

2. 1331    MANUFACTURING AND SUPPLY                                    103080                   SHIONOGI INC                     ATTN: GENERAL COUNSEL
           AGREEMENT DATED SEPTEMBER 28,                                                                                         300 CAMPUS DRIVE
           2017                                                                                                                  FLORHAM PARK, NJ 07932

2. 1332    PHARMACOVIGILANCE AGREEMENT                                 103089                   SHIONOGI INC                     ATTN: GENERAL COUNSEL
           DATED DECEMBER 17, 2016                                                                                               300 CAMPUS DRIVE
                                                                                                                                 FLORHAM PARK, NJ 07932

2. 1333    PHARMACOVIGILANCE AGREEMENT                                 103078                   SHIONOGI INC                     ATTN: GENERAL COUNSEL
           DATED FEBRUARY 22, 2017                                                                                               300 CAMPUS DRIVE
                                                                                                                                 FLORHAM PARK, NJ 07932

2. 1334    SHIONOGI CO. LTD. - QUALITY                                 103088                   SHIONOGI INC                     ATTN: GENERAL COUNSEL
           AGREEMENT (SYMPROIC) (EGA) DATED                                                                                      300 CAMPUS DRIVE
           NOVEMBER 22, 2017                                                                                                     FLORHAM PARK, NJ 07932

2. 1335    MASTER SERVICES AGREEMENT                                   103090                   SHYFT ANALYTICS, INC.            ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF OCTOBER 26, 2015                                                                                      203 CRESCENT STREET
                                                                                                                                 WALTHAM, MA 02453

2. 1336    MASTER SERVICES AGREEMENT                                   103099                   SIEMENS INDUSTRY, INC.           ATTN: JENNIFER ROSSI
           EFFECTIVE AS OF JANUARY 01, 2017                                                                                      BUILDING TECHNOLOGIES
                                                                                                                                 1000 DEERFIELD PARKWAY
                                                                                                                                 BUFFALO GROVE, IL 60089

2. 1337    SIEMENS INDUSTRY, INC. - SOW 1                              103096                   SIEMENS INDUSTRY, INC.           ATTN: JENNIFER ROSSI
           1JAN17 CW2324030 GENENTECH AND                                                                                        BUILDING TECHNOLOGIES
           CCURE STAMFORD (RA.PT) DATED                                                                                          1000 DEERFIELD PARKWAY
           JANUARY 01, 2017                                                                                                      BUFFALO GROVE, IL 60089

2. 1338    SIEMENS INDUSTRY, INC. - SOW 2                              103097                   SIEMENS INDUSTRY, INC.           ATTN: JENNIFER ROSSI
           1JAN17 CW2324032 GENETECH AND                                                                                         BUILDING TECHNOLOGIES
           CCURE CRANBURY (RA.PT) DATED                                                                                          1000 DEERFIELD PARKWAY
           JANUARY 01, 2017                                                                                                      BUFFALO GROVE, IL 60089

2. 1339    SEARCH AGREEMENT DATED MAY 15,                              103100                   SILVERCHAIR PARTNERS             NOT AVAILABLE
           2013

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2. 1340    SIMON-KUCHER MSA 062716 CW2221330                           103101                   SIMON-KUCHER & PARTNERS,           ATTN: GENERAL COUNSEL
           (LH.RA) DATED JUNE 27, 2016                                                          STRATEGY AND MARKETING             ONE CANAL PARK
                                                                                                CONSULTANTS, LLC                   CAMBRIDGE, MA 02141

2. 1341    SIMPSON CSA CW2353657 COGNOS                                103102                   SIMPSON ASSOCIATES                 ATTN: GENERAL COUNSEL
           (SA.EGA) DATED MAY 05, 2017                                                                                             THIRD FLOOR, REGENCY HOUSE,
                                                                                                                                   YORK BUSINESS PARK,
                                                                                                                                   POPPLETON, YORK, NORTH
                                                                                                                                   YORKSHIRE YO26 6RW

2. 1342    MASTER SERVICES AGREEMENT                                   103103                   SIMR, INC.                         ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MAY 02, 2016                                                                                            211 NORTH 4TH AVENUE, SUITE 2B
                                                                                                                                   ANN ARBOR, MI 48104

2. 1343    STATINMED OTH CW2362982                                     103104                   SIMR, INC.                         ATTN: GENERAL COUNSEL
           AMENDMENT 5 TO SOW DTD 11042016                                                                                         211 NORTH 4TH AVENUE, SUITE 2B
           (LH.RA) DATED AUGUST 16, 2018                                                                                           ANN ARBOR, MI 48104

2. 1344    STATINMED OTH CW2363071                                     103105                   SIMR, INC.                         ATTN: GENERAL COUNSEL
           AMENDMENT 6 TO SOW DTD 11042016                                                                                         211 NORTH 4TH AVENUE, SUITE 2B
           DATED AUGUST 23, 2018                                                                                                   ANN ARBOR, MI 48104

2. 1345    AMENDMENT #7 TO STATEMENT OF                                103106                   SIMR, LLC D/B/A STATINMED          ATTN: GENERAL COUNSEL
           WORK DATED FEBRUARY 13, 2019                                                         RESEARCH                           211 NORTH 4TH AVENUE, SUITE 2B
                                                                                                                                   ANN ARBOR, MI 48104

2. 1346    MSA SKIPTA 06SEPT2016 CW2319842                             103112                   SKIPTA LLC                         ATTN: GENERAL COUNSEL
           MANAGED MARKETS PROMO (AB.LLS)                                                                                          8 NORTH QUEEN STREET
           DATED OCTOBER 14, 2016                                                                                                  LANCASTER, PA 17603

2. 1347    SMART ANALYST, INC. CSA CW2367794         7/25/2022         106138                   SMART ANALYST INC                  NOT AVAILABLE
           (SD.RA) EFFECTIVE JULY 26, 2019

2. 1348    SEARCH FIRM AGREEMENT DATED                                 103117                   SMITH HANLEY ASSOCIATES, L.L.C.    ATTN: GENERAL COUNSEL
           FEBRUARY 12, 2008                                                                                                       107 JOHN STREET
                                                                                                                                   2ND FLOOR
                                                                                                                                   SOUTHPORT, CT 06890




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2. 1349    SMITH, ANDERSON, BLOUNT, DORSETT,                           103118                   SMITH, ANDERSON, BLOUNT, DORSET,    ATTN: GENERAL COUNSEL
           MITCHELL JERNIGAN, L.L.P. CSA                                                        MITCHELL & JERNIGAN, L.L.P.,        150 FAYETTEVILLE STREET,
           CW2356878 (LH.RA) DATED NOVEMBER                                                                                         WELLS FARGO CAPITOL CENTER,
           01, 2017                                                                                                                 SUITE 2300
                                                                                                                                    RALEIGH, NC 27601

2. 1350    ATTACHMENT B - STANDARD SERVICES                            103119                   SMITHKLINE BEECHAM. CLINICAL        NOT AVAILABLE
           EFFECTIVE AS OF APRIL 01, 1999                                                       LABORATORIES, INC

2. 1351    SOCRATES MSA AMENDMENT                                      103121                   SOCRATES LTD                        ATTN: GENERAL COUNSEL
           CW2354185 (RA.DT) DATED JULY 15,                                                                                         WEALHAY, LAVENDER SQUARE
           2017                                                                                                                     BAMPTON OX18 2LR, OXON,
                                                                                                                                    ENGLAND

2. 1352    SODEXO MSA DURHAM, NC CW2319782                             103122                   SODEXO OPERATIONS, LLC              ATTN: GENERAL COUNSEL
           CAFETERIA SERVICES (KL.CG) DATED                                                                                         9801 WASHINGTONIAN BLVD.
           NOVEMBER 18, 2016                                                                                                        GAITHERSBURG, MD 20878

2. 1353    SODEXO MSA WILSON CW2319913                                 103123                   SODEXO OPERATIONS, LLC              ATTN: GENERAL COUNSEL
           (KL.CAG) DATED NOVEMBER 17, 2016                                                                                         9801 WASHINGTONIAN BLVD.
                                                                                                                                    GAITHERSBURG, MD 20878

2. 1354    SODEXO MSA WILSON CW2319913                                 103124                   SODEXO OPERATIONS, LLC              ATTN: GENERAL COUNSEL
           (KL.CAG) DATED NOVEMBER 17, 2016                                                                                         9801 WASHINGTONIAN BLVD.
                                                                                                                                    GAITHERSBURG, MD 20878

2. 1355    SEARCH FIRM AGREEMENT EFFECTIVE                             103127                   SOLOMON-PAGE GROUP, LLC             ATTN: GENERAL COUNSEL
           AS OF OCTOBER 04, 2007                                                                                                   1140 AVENUE OF THE AMERICAS
                                                                                                                                    NEW YORK, NY 10036

2. 1356    SOLVIAS AG MSA 30SEPT2016                                   103128                   SOLVIAS AG                          ATTN: GENERAL COUNSEL
           CW2320217 LH.MP DATED SEPTEMBER                                                                                          ROMERPARK 2           4303
           29, 2016                                                                                                                 KAISERAUGST, CH(SWITZERLAND)

2. 1357    AMENDMENT #2 TO MASTER CLINICAL                             103142                   SONORA CLINICAL RESEARCH, LLC       ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED JANUARY 21,                                                                                        1520 W. STATE STREET, STE 221
           2004                                                                                                                     BOISE, ID 83702




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2. 1358    AMENDMENT #3 TO STUDY                                       103144                   SONORA CLINICAL RESEARCH, LLC    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #001 TO                                                                                           1520 W. STATE STREET, STE 221
           MASTER SERVICES AGREEMENT                                                                                             BOISE, ID 83702
           EFFECTIVE AS OF FEBRUARY 22, 2005

2. 1359    STUDY SPECIFICATION ORDER 003 TO                            103143                   SONORA CLINICAL RESEARCH, LLC    ATTN: GENERAL COUNSEL
           MASTER SITE MANAGEMENT                                                                                                1520 W. STATE STREET, STE 221
           ORGANIZATION AGREEMENT DATED                                                                                          BOISE, ID 83702
           012104 DATED FEBRUARY 11, 2005

2. 1360    STUDY SPEIFICATION ORDER 001 TO                             103141                   SONORA CLINICAL RESEARCH, LLC    ATTN: GENERAL COUNSEL
           MASTER SITE MANAGEMENT                                                                                                1520 W. STATE STREET, STE 221
           ORGANIZATION AGREEMENT DATED                                                                                          BOISE, ID 83702
           012104 DATED JANUARY 21, 2004

2. 1361    AMENDMENT #3 TO MASTER SERVICES                             103146                   SOTAX CORPORATION                ATTN: GENERAL COUNSEL
           AGREEMENT DATED MAY 12, 2009                                                                                          411 CAREDEAN DRIVE, SUITE A
                                                                                                                                 HORSHAM, PA 19044

2. 1362    MASTER SERVICES AGREEMENT                                   103145                   SOTAX CORPORATION                ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MAY 12, 2009                                                                                          411 CAREDEAN DRIVE, SUITE A
                                                                                                                                 HORSHAM, PA 19044

2. 1363    SERVICES AGREEMENT DATED                                    103149                   SOURCE HEALTH ANALYTICS, INC.    ATTN: GENERAL COUNSEL
           FEBRUARY 05, 2007                                                                                                     1010 STONY HILL ROAD, SUITE 200
                                                                                                                                 YARDLEY, PA 19067

2. 1364    STUDY SPECIFICATION ORDER 001 TO                            103150                   SOUTH ALABAMA MEDICAL SCIENCE    ATTN: GENERAL COUNSEL
           MASTER CLINICAL TRIAL AGREEMENT                                                      FOUNDATION                       307 N. UNIVERSITY BOULEVARD,
           DATED 093003 DATED OCTOBER 07,                                                                                        CSAB 170
                                                                                                                                 MOBILE, AL 36688

2. 1365    AMENDMENT #1 TO STUDY                                       103153                   SOUTH TEXAS APPLIED RESEARCH,    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #001                                                             INC.                             3765 SOUTH ALAMEDA, SUITE 422
           EFFECTIVE AS OF JUNE 14, 2004                                                                                         CORPUS CHRISTI, TX 78411

2. 1366    STUDY SPECIFICATION ORDER 001 TO                            103152                   SOUTH TEXAS APPLIED RESEARCH,    ATTN: GENERAL COUNSEL
           MASTER CLINICAL TRIAL AGREEMENT                                                      INC.                             3765 SOUTH ALAMEDA, SUITE 422
           DATED 012904 DATED MARCH 10, 2004                                                                                     CORPUS CHRISTI, TX 78411




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2. 1367    SOUTHERN ELEVATOR COMPANY, INC. -                           103154                   SOUTHERN ELEVATOR COMPANY, INC.      ATTN: GENERAL COUNSEL
           AMEND. 4 TO MSA (AH.RA) DATED
           NOVEMBER 15, 2018

2. 1368    MASTER SERVICES AGREEMENT                                   103155                   SPACEBYTE AG                         ATTN: OMAR LAHYANI
           EFFECTIVE AS OF FEBRUARY 15, 2016                                                                                         ZUGERSTRASSE 34
                                                                                                                                     6312 STEINHAUSEN

2. 1369    SERVICE AGREEMENT DATED JULY 19,                            103164                   SPECIALTY DISPOSAL SERVICES, INC.    ATTN: GENERAL COUNSEL
           2000                                                                                                                      115 ROUTE 46 WEST
                                                                                                                                     BUILDING E-37 & 38
                                                                                                                                     MOUNTAIN LAKES, NJ 07046

2. 1370    MASTER SERVICES AGREEMENT                                   103167                   SPEECH IMPROVEMENT COMPANY           ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MARCH 14, 2016                                                                                            WORLD HEADQUARTERS BOSTON
                                                                                                                                     1614 BEACON STREET
                                                                                                                                     BOSTON, MA 02446

2. 1371    SEARCH FIRM AGREEMENT DATED                                 103168                   SPENKEL CO., INC. DBA                ATTN: GENERAL COUNSEL
           OCTOBER 24, 2006                                                                     ACCOUNTANTS INC.                     60 LONG RIDGE ROAD
                                                                                                                                     #400
                                                                                                                                     STAMFORD, CT 06902

2. 1372    SEARCH FIRM AGREEMENT DATED                                 103169                   SPHERION ATLANTIC ENTERPRISES,       ATTN: GENERAL COUNSEL
           OCTOBER 04, 2007                                                                     LLC D/B/A SPHERION CORPORATION       2050 SPECTRUM BOULEVARD
                                                                                                                                     FORT LAUDERDALE 33309

2. 1373    STUDY SPECIFICATION ORDER 001 TO                            103170                   SPINECARE USA                        ATTN: GENERAL COUNSEL
           MASTER CLINICAL TRAIL AGREEMENT                                                                                           7500 BEECHNUT #150
           DATED 120403 DATED DECEMBER 17,                                                                                           HOUSTON, US 77074
           2003

2. 1374    MATTINGLY, GREG CSA 01012019             12/31/2019         105922                   ST. CHARLES PSYCHIATRIC              ATTN: GENERAL COUNSEL
           CW2364822 (SS.SD) EFFECTIVE                                                          ASSOCIATES (GREG MATTINGLY M.D.)     4801 WELDON SPRING PARKWAY,
           JANUARY 01, 2019                                                                                                          SUITE 300
                                                                                                                                     ST. CHARLES, US 63304

2. 1375    MASTER SERVICES AGREEMENT                                   103175                   STA PHARMACEUTICAL HONG KONG         ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF FEBRUARY 01, 2016                                                    LIMITED                              FLAT/ROOM 1303, 13/F BEVERLY
                                                                                                                                     HOUSE, 93-107 LOCKHART
                                                                                                                                     WANCHAI, HONG KONG
                                                                                                                                     SWITZERLAND
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2. 1376    AMENDMENT #1 TO STUDY                                       103178                   STAMFORD THERAPEUTICS               NOT AVAILABLE
           SPECIFICATION ORDER #002                                                             CONSORTIUM
           EFFECTIVE AS OF JUNE 14, 2004

2. 1377    STATE AND FEDERAL                                           103179                   STATE AND FEDERAL                   ATTN: GENERAL COUNSEL
           COMMUNICATIONS CSA CW2357239                                                         COMMUNICATIONS, INC.                80 SUMMIT STREET, SUITE 100
           (LH.RA) DATED OCTOBER 01, 2017                                                                                           AKRON, US 44308

2. 1378    STATESIDE ASSOCIATES, INC. CSA                              103183                   STATESIDE ASSOCIATES, INC.          ATTN: GENERAL COUNSEL
           CW2358756 (LH.RA) DATED JANUARY 01,                                                                                      1101 WILSON BOULEVARD, 16TH
           2018                                                                                                                     FLOOR
                                                                                                                                    ARLINGTON, US 22209

2. 1379    STERICYCLE AMD 2 TO GENERATOR                               103192                   STERICYCLE INC.                     ATTN: GENERAL COUNSEL
           WASTE MANAGEMENT SERVICES
           AGREEMENT CW2355719 (KL.JM) DATED
           JANUARY 01, 2016

2. 1380    STERICYCLE, INC. - SERVICES                                 103193                   STERICYCLE INC.                     ATTN: GENERAL COUNSEL
           AGREEMENT CW2357524 (AB.RA)                                                                                              2670 EXECUTIVE DRIVE
           DATED OCTOBER 11, 2017                                                                                                   INDIANAPOLIS, IN 46241

2. 1381    AMENDMENT 3 TO AGREEMENT FOR                                103195                   STERLING COMMERCE (AMERICA), INC.   ATTN: GENERAL COUNSEL
           DATA TRANSMISSION SERVICES                                                                                               4600 LAKEHURST COURT
           SUPPLIER EFFECTIVE AS OF                                                                                                 DUBLIN, OH 43016-2000
           DECEMBER 31, 1982

2. 1382    AMENDMENT NO. 2 TO DATA                                     103199                   STERLING COMMERCE (AMERICA), INC.   ATTN: GENERAL COUNSEL
           TRANSMISSION SERVICES SUPPLIER                                                                                           4600 LAKEHURST COURT
           EXECUTED DECEMBER 21, 2004                                                                                               DUBLIN, OH 43016-2000

2. 1383    PROFESSIONAL SERVICES AGREEMENT                             103198                   STERLING COMMERCE (AMERICA), INC.   ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF OCTOBER 03, 2008                                                                                         4600 LAKEHURST COURT
                                                                                                                                    DUBLIN, OH 43016-2000

2. 1384    STATEMENT OF WORK UNDER                                     103194                   STERLING COMMERCE (AMERICA), INC.   ATTN: GENERAL COUNSEL
           PROFESSIONAL SERVICES AGREEMENT                                                                                          4600 LAKEHURST COURT
           EFFECTIVE AS OF NOVEMBER 04, 1994                                                                                        DUBLIN, OH 43016-2000




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2. 1385    STERLING MSA CW2355114 (DT.RA)                              103200                   STERLING INFOSYSTEMS, INC. DBA       ATTN: GENERAL COUNSEL
           DATED JULY 27, 2017                                                                  STERLING TALENT SOLUTIONS            1 STATE STREET PLAZA, 24TH
                                                                                                                                     FLOOR
                                                                                                                                     NEW YORK, NY 10004

2. 1386    STERLING MSA CW2355114 (DT.RA)                              103201                   STERLING INFOSYSTEMS, INC. DBA       ATTN: GENERAL COUNSEL
           DATED JULY 27, 2017                                                                  STERLING TALENT SOLUTIONS            1 STATE STREET PLAZA, 24TH
                                                                                                                                     FLOOR
                                                                                                                                     NEW YORK, NY 10004

2. 1387    STERLING MSA CW2355114 (DT.RA)                              103202                   STERLING INFOSYSTEMS, INC. DBA       ATTN: GENERAL COUNSEL
           EXECUTED OCTOBER 31, 2017                                                            STERLING TALENT SOLUTIONS            1 STATE STREET PLAZA, 24TH
                                                                                                                                     FLOOR
                                                                                                                                     NEW YORK, NY 10004

2. 1388    JAFFE, STEVEN, M.D. - CSA 1JAN19         12/31/2019         105919                   STEVEN L JAFFE MD                    NOT AVAILABLE
           CW2364652 (SS.SD) EFFECTIVE
           JANUARY 01, 2019

2. 1389    STEVEN TREFF MCSA 120116                                    103205                   STEVEN TREFF                         ATTN: GENERAL COUNSEL
           CW2322940 (LH.ER) DATED DECEMBER                                                                                          6245 HARROW TRACE
           01, 2016                                                                                                                  STAMFORD, CT 30092

2. 1390    STEXCON CSA CW2222 (RA.DT) DATED                            103206                   STEXCON BVBA                         ATTN: GENERAL COUNSEL
           APRIL 01, 2017                                                                                                            MILSESTRAAT 64, 3053
                                                                                                                                     HAASRODE, BELGUIM

2. 1391    MASTER SERVICES AGREEMENT                                   103209                   STIRLING ADVISORS, LLC               ATTN: KAREN STIRLING
           EFFECTIVE AS OF JULY 25, 2016                                                                                             49 NORTH FEDERAL HIGHWAY
                                                                                                                                     #185
                                                                                                                                     POMPANO BEACH, FL 33062

2. 1392    STRATEGIC PUBLIC PARTNERS                                   103222                   STRATEGIC PUBLIC PARTNERS, LLC       ATTN: GENERAL COUNSEL
           MSA070116 CW2220619 PUBLIC AFFAIRS                                                                                        88 EAST BROAD STREET, SUITE
           (AB.LLS) DATED JULY 01, 2016                                                                                              1770
                                                                                                                                     COLUMBUS, OH 43215

2. 1393    STRATEGIC RESEARCH CSA CW2353005                            103223                   STRATEGIC RESEARCH INSIGHTS, INC.    ATTN: GENERAL COUNSEL
           (AB.RA) DATED APRIL 05, 2017                                                                                              700 ALEXANDER PARK DRIVE #100
                                                                                                                                     PRINCETON, NJ 08540



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2. 1394    SEARCH FIRM AGREEMENT DATED                                 103225                   STRATEGIC STAFFING SOLUTIONS, L.C. ATTN: DAVID L. FOX
           JULY 10, 2008                                                                                                           645 GRISWALD
                                                                                                                                   SUITE 2900
                                                                                                                                   DETROIT, MI 48226

2. 1395    AMENDMENT #1 TO MASTER SERVICES                             103227                   SUDLER HENNESSEY, LLC D/B/A         ATTN: GENERAL COUNSEL
           AGREEMENT DATED NOVEMBER 02,                                                         COMMAND CENTRAL AND INTRAMED
           2015                                                                                 EDUCATIONAL GROUP

2. 1396    ADDENDUM TO RECOVERY SERVICES                               103229                   SUNGARD AVAILABILITY SERVICES LP    NOT AVAILABLE
           AGREEMENT DATED JULY 01, 1998

2. 1397    CONSENT AGREEMENT EXECUTED                                  103251                   SYMBIANCE, INC.                     ATTN: SHAWKI SALEM
           JANUARY 13, 2014                                                                                                         231 CLARKSVILLE ROAD
                                                                                                                                    SUITE #1
                                                                                                                                    PRINCETON JUNCTION, NJ 08550

2. 1398    LETTER: CONSENT EXECUTED                                    103253                   SYMBIANCE, INC.                     ATTN: SHAWKI SALEM
           JANUARY 13, 2014                                                                                                         231 CLARKSVILLE ROAD, SUITE #1
                                                                                                                                    PRINCETON JUNCTION, NJ 08550

2. 1399    PSO 1 TO CONTRACT RESEARCH                                  103255                   SYMBIANCE, INC.                     ATTN: SHAWKI SALEM
           ORGANIZATION AGREEMENT DATED                                                                                             231 CLARKSVILLE ROAD, SUITE #1
           SEPTEMBER 21, 1999                                                                                                       PRINCETON JUNCTION, NJ 08550

2. 1400    PSO 2 TO CONTRACT RESEARCH                                  103256                   SYMBIANCE, INC.                     ATTN: SHAWKI SALEM
           ORGANIZATION AGREEMENT DATED                                                                                             231 CLARKSVILLE ROAD, SUITE #1
           MARCH 07, 2000                                                                                                           PRINCETON JUNCTION, NJ 08550

2. 1401    PSO 3 TO CONTRACT RESEARCH                                  103257                   SYMBIANCE, INC.                     ATTN: SHAWKI SALEM
           ORGANIZATION AGREEMENT DATED                                                                                             231 CLARKSVILLE ROAD, SUITE #1
           JUNE 02, 2000                                                                                                            PRINCETON JUNCTION, NJ 08550

2. 1402    MASTER SERVICES AGREEMENT                                   103264                   SYSTECH INTERNATIONAL               ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JUNE 01, 2009                                                                                            2540 ROUTE 130, SUITE 138
                                                                                                                                    CRANBURY, NJ 08512

2. 1403    SYSTECH AMENDMENT 2 TO MSA                                  103265                   SYS-TECH SOLUTIONS, INC.            ATTN: GENERAL COUNSEL
           15MAY16 (NK.EGA) CW2319636 DATED                                                                                         ONE RESEARCH WAY
           MAY 15, 2016                                                                                                             PRINCETON, NJ 08540


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2. 1404    SYSTEMS MAINTENANCE SERVICES                                103266                   SYSTEM MAINTENANCE SERVICES,       ATTN: GENERAL COUNSEL
           AMD 1 TO MSA LCW00431605 DATED
           MAY 15, 2016

2. 1405    AMENDMENT #1 TO MASTER SERVICES                             103268                   SYSTEM MAINTENENCE SERVICES,       ATTN: GENERAL COUNSEL
           AGREEMENT DATED JULY 01, 2013

2. 1406    SYSTEMS MANAGEMENT PLANNING,                                103270                   SYSTEMS MANAGEMENT PLANNING,       ATTN: GENERAL COUNSEL
           INC. - MASTER SERVICES AGMT DATED                                                    INC.                               1020 JOHN STREET
           JUNE 07, 2017                                                                                                           WEST HENRIETTA, NY 14586

2. 1407    SYSTEMS MANAGEMENT PLANNING,                                103269                   SYSTEMS MANAGEMENT PLANNING,       ATTN: GENERAL COUNSEL
           INC. - MSA CW2351519 DATED JUNE 07,                                                  INC.                               1020 JOHN STREET
           2017                                                                                                                    WEST HENRIETTA, NY 14586

2. 1408    TM PROTECTION SVCS AMENDMENT                                103271                   T&M PROTECTION RESOURCES, LLC      ATTN: GENERAL COUNSEL
           MSA CW2354137 (DT.RA) DATED JULY                                                                                        230 PARK AVENUE, SUITE 440
           01, 2017                                                                                                                NEW YORK, NY 10169

2. 1409    SEARCH FIRM AGREEMENT DATED                                 103272                   T. M. BURKE AND ASSOCIATES, LLC    ATTN: GENERAL COUNSEL
           JULY 01, 2010                                                                        D/B/A BURKE & ASSOCIATES, LLC      1234 SUMMER STREET
                                                                                                                                   SUITE 201
                                                                                                                                   STAMFORD, CT 06905

2. 1410    AMENDMENT #2 TO MOTOR CARRIER                               103274                   T.F. BOYLE TRANSPORTATION, INC.    15 RIVERHURST ROAD
           SERVICES AGREEMENT DATED                                                             D/B/A BOYLE TRANSPORTATION         BILLERICA, MA 01821
           JANUARY 01, 2018

2. 1411    MOTOR CARRIER SERVICES                                      103273                   T.F. BOYLE TRANSPORTATION, INC.    15 RIVERHURST ROAD
           AGREEMENT DATED DECEMBER 01,                                                         D/B/A BOYLE TRANSPORTATION         BILLERICA, MA 01821
           2011

2. 1412    AMENDMENT #1 TO MASTER CLINICAL                             103279                   TAMPA MEDICAL GROUP, P.A.          ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED DECEMBER                                                                                          4700 N. HABANA AVENUE, SUITE
           16, 2003                                                                                                                303
                                                                                                                                   TAMPA, FL 33614

2. 1413    AMENDMENT #2 TO MASTER CLINICAL                             103280                   TAMPA MEDICAL GROUP, P.A.          ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED DECEMBER                                                                                          4700 N. HABANA AVENUE, SUITE
           16, 2003                                                                                                                303
                                                                                                                                   TAMPA, FL 33614

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2. 1414    STUDY SPECIFICATION ORDER 001 TO                            103278                   TAMPA MEDICAL GROUP, P.A.          ATTN: GENERAL COUNSEL
           MASTER SITE CLINICAL TRIAL DATED                                                                                        4700 N. HABANA AVENUE, SUITE
           FEBRUARY 24, 2004                                                                                                       303
                                                                                                                                   TAMPA, FL 33614

2. 1415    MAINTENANCE & SUPPORT                                       103284                   TDS TOXICOLOGY DATA SYSTEMS LTD.   ATTN: GENERAL COUNSEL
           AGREEMENT EXECUTED JANUARY 06,                                                                                          HAUPTSTRASSE 56
           2004                                                                                                                    4127 BIRSFELDEN
                                                                                                                                   BASEL

2. 1416    TECHNOLOGY CONCEPTS AND DESIGN,           2/28/2022         106020                   TECHNOLOGY CONCEPTS & DESIGN       NOT AVAILABLE
           INC. MSA CW2366007 (LH.KM)                                                           INC
           EFFECTIVE MAY 01, 2019

2. 1417    TENEO STRATEGY LLC - AMENDMENT                              103288                   TENEO STRATEGY, LLC                ATTN: GENERAL COUNSEL
           TO SERVICES AGREEMENT (JM.RA)                                                                                           280 PARK AVENUE, 4TH FLOOR
           DATED FEBRUARY 05, 2019                                                                                                 NEW YORK, NY 10017

2. 1418    TENEO STRATEGY LLC - DAVIS POLK -         6/30/2020         105913                   TENEO STRATEGY, LLC                ATTN: GENERAL COUNSEL
           PURDUE CSA CW2367893 (RA)                                                                                               280 PARK AVENUE, 4TH FLOOR
           EFFECTIVE JULY 01, 2019                                                                                                 NEW YORK, NY 10017

2. 1419    ADDENDUM TO CLINICAL STUDY                                  103292                   TERESA LONG MD                     NOT AVAILABLE
           AGREEMENT EFFECTIVE AS OF
           OCTOBER 30, 1996

2. 1420    ADDENDUM TO CLINICAL STUDY                                  103294                   TERESA LONG MD                     NOT AVAILABLE
           AGREEMENT EFFECTIVE AS OF
           OCTOBER 30, 1996

2. 1421    CLINICAL STUDY AGREEMENT DATED                              103291                   TERESA LONG MD                     NOT AVAILABLE
           OCTOBER 30, 1996

2. 1422    CLINICAL STUDY AGREEMENT                                    103293                   TERESA LONG MD                     NOT AVAILABLE
           EFFECTIVE AS OF OCTOBER 30, 1996

2. 1423    AMENDMENT #1 TO                                             103297                   TEVA BRANDED PHARMACEUTICAL        ATTN: GENERAL COUNSEL
           PHARMACOVIGILANCE AGREEMENT                                                          PRODUCTS R&D, INC.                 ONE STAMFORD FORUM
           DATED FEBRUARY 29, 2016                                                                                                 201 TRESSER BLVD.
                                                                                                                                   STAMFORD, CT 06901


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2. 1424    PHARMACOVIGILANCE AGREEMENT                                 103298                   TEVA BRANDED PHARMACEUTICALS      ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF DECEMBER 18, 2014                                                    USA, INC.                         425 PRIVET ROAD
                                                                                                                                  HORSHAM, PA 19044

2. 1425    SUPPLY AGREEMENT DATED                                      106294                   TEVA CANADA                       NOT AVAILABLE
           NOVEMBER 21, 2016 (LAST AMENDED
           FEBRUARY 2018) AMONG TEVA CANADA
           AND TEVA PHARMACEUTICAL
           INDUSTRIES LIMITED AND THE
           COMPANY

2. 1426    SUPPLY AGREEMENT DATED                                      106295                   TEVA PHARMACEUTICAL INDUSTRIES    ATTN: GENERAL COUNSEL
           NOVEMBER 21, 2016 (LAST AMENDED                                                      LIMITED                           16 BASEL ST. PETACH TIKVA,
           FEBRUARY 2018) AMONG TEVA CANADA                                                                                       ISRAEL 4951008
           AND TEVA PHARMACEUTICAL
           INDUSTRIES LIMITED AND THE
           COMPANY

2. 1427    AMENDMENT NO. 1 TO DISTRIBUTION                             103301                   TEVA PHARMACEUTICALS USA, INC.    ATTN: GENERAL COUNSEL
           AND SUPPLY AGREEMENT DATED                                                                                             425 PRIVET ROAD
           AUGUST 02, 2016                                                                                                        P.O. BOX 1005
                                                                                                                                  HORSHAM, PA 19044-8005

2. 1428    DISTRIBUTION AND SUPPLY                                     106297                   TEVA PHARMACEUTICALS USA, INC.    ATTN: GENERAL COUNSEL
           AGREEMENT BY AND BETWEEN TEVA                                                                                          425 PRIVET ROAD
           PHARMACEUTICALS USA, INC. AND                                                                                          P.O. BOX 1005
           PURDUE PHARMA L.P.., DATED                                                                                             HORSHAM, PA 19044-8005
           DECEMBER 18, 2014, AS AMENDED BY
           AMENDMENT NO. 1 TO DISTRIBUTION
           AND SUPPLY AGREEMENT DATED
           AUGUST 2, 2016

2. 1429    DISTRIBUTION AND SUPPLY                                     106298                   TEVA PHARMACEUTICALS USA, INC.    ATTN: GENERAL COUNSEL
           AGREEMENT BY AND BETWEEN TEVA                                                                                          425 PRIVET ROAD
           PHARMACEUTICALS USA, INC. AND                                                                                          P.O. BOX 1005
           PURDUE PHARMA L.P.., DATED                                                                                             HORSHAM, PA 19044-8005
           DECEMBER 18, 2014, AS AMENDED BY
           AMENDMENT NO. 1 TO DISTRIBUTION
           AND SUPPLY AGREEMENT DATED
           AUGUST 2, 2016




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2. 1430    DISTRIBUTION AND SUPPLY                                     103305                   TEVA PHARMACEUTICALS USA, INC.    ATTN: GENERAL COUNSEL
           AGREEMENT DATED DECEMBER 18,                                                                                           425 PRIVET ROAD
           2014                                                                                                                   P.O. BOX 1005
                                                                                                                                  HORSHAM, PA 19044-8005

2. 1431    QUALITY AGREEMENT DATED                                     103306                   TEVA PHARMACEUTICALS USA, INC.    ATTN: GENERAL COUNSEL
           DECEMBER 18, 2014                                                                                                      425 PRIVET ROAD
                                                                                                                                  P.O. BOX 1005
                                                                                                                                  HORSHAM, PA 19044-8005

2. 1432    TEVA PHARMACEUTICALS USA, INC.-                             103304                   TEVA PHARMACEUTICALS USA, INC.    ATTN: GENERAL COUNSEL
           QUALITY AGREEMENT DATED                                                                                                425 PRIVET ROAD
           DECEMBER 13, 2016                                                                                                      P.O. BOX 1005
                                                                                                                                  HORSHAM, PA 19044-8005

2. 1433    CLINICAL TRIAL AGREEMENT                                    103309                   TEXAS RESEARCH CENTER, LLP        ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF SEPTEMBER 23, 2004                                                                                     16659 SOUTHWEST FREEWAY,
                                                                                                                                  SUITE 235
                                                                                                                                  SUGAR LAND, TX 77479

2. 1434    AMENDMENT #1 TO MASTER SERVICES                             103310                   TGAS ADVISORS, LLC                ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                                                              301 EAST GERMANTOWN PIKE
           JANUARY 28, 2014                                                                                                       EAST NORRITON, PA 19401

2. 1435    MASTER SERVICES AGREEMENT                                   103312                   TGAS ADVISORS, LLC                ATTN: GENERAL COUNSEL
           DATED JANUARY 28, 2014                                                                                                 301 EAST GERMANTOWN PIKE
                                                                                                                                  EAST NORRITON, PA 19401

2. 1436    TGAS ADVISORS LLC SOW CW2364137                             103311                   TGAS ADVISORS, LLC                ATTN: GENERAL COUNSEL
           2019 RENEWAL (SD.RA) DATED                                                                                             301 EAST GERMANTOWN PIKE
           JANUARY 01, 2019                                                                                                       EAST NORRITON, PA 19401

2. 1437    TGAS ADVISORS LLC SOW CW2364137          12/31/2019         106195                   TGAS ADVISORS, LLC                ATTN: GENERAL COUNSEL
           2019 RENEWAL (SD.RA) EFFECTIVE                                                                                         301 EAST GERMANTOWN PIKE
           JANUARY 01, 2019                                                                                                       EAST NORRITON, PA 19401

2. 1438    EXECUTIVE SEARCH AGREEMENT                                  103317                   THE ALDRICH GROUP, INC.           ATTN: GENERAL COUNSEL
           DATED JULY 15, 2013                                                                                                    43 SHERMAN HILL ROAD
                                                                                                                                  WOODBURY, CT 06798




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2. 1439    EXECUTIVE SEARCH AGREEMENT                                  103313                   THE ALDRICH GROUP, INC.             ATTN: GENERAL COUNSEL
           DATED MAY 10, 2010                                                                                                       43 SHERMAN HILL ROAD
                                                                                                                                    WOODBURY, CT 06798

2. 1440    EXECUTIVE SEARCH AGREEMENT                                  103315                   THE ALDRICH GROUP, INC.             ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF APRIL 25, 2011                                                                                           43 SHERMAN HILL ROAD
                                                                                                                                    SUITE 104D
                                                                                                                                    WOODBURY, CT 06798

2. 1441    EXECUTIVE SEARCH AGREEMENT                                  103314                   THE ALDRICH GROUP, INC.             ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JANUARY 06, 2011                                                                                         43 SHERMAN HILL ROAD
                                                                                                                                    SUITE 104D
                                                                                                                                    WOODBURY, CT 06798

2. 1442    EXECUTIVE SEARCH AGREEMENT                                  103316                   THE ALDRICH GROUP, INC.             ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JUNE 20, 2011                                                                                            43 SHERMAN HILL ROAD
                                                                                                                                    SUITE 104D
                                                                                                                                    WOODBURY, CT 06798

2. 1443    AMERICAN ASSOCIATION OF POISON            6/30/2021         106005                   THE AMERICAN ASSN OF POISON         NOT AVAILABLE
           CONTROL CENTERS (AAPPC) CSA
           CW2367204 (LH.RA) EFFECTIVE JUNE
           12, 2019

2. 1444    AMENDMENT #1: TO MASTER CLINICAL                            103319                   THE ARTHRITIS CLINIC OF NORTHERN    NOT AVAILABLE
           TRIAL AGREEMENT EFFECTIVE AS OF                                                      VIRGINIA, PC
           SEPTEMBER 30, 2003

2. 1445    CLINICAL TRIAL AGREEMENT                                    103320                   THE BOARD OF TRUSTEES OF THE        ATTN: KATHY PYKE, SENIOR
           EFFECTIVE AS OF NOVEMBER 21, 2002                                                    LELAND STANFORD JUNIOR              CONTRACTS OFFICER
                                                                                                UNIVERSITY                          1215 WELCH ROAD #B
                                                                                                                                    STANFORD, CA 94305-5401

2. 1446    CLINICAL TRIAL AGREEMENT                                    103322                   THE BOARD OF TRUSTEES OF THE        ATTN: KATHY PYKE, SENIOR
           EFFECTIVE AS OF NOVEMBER 21, 2002                                                    LELAND STANFORD JUNIOR              CONTRACTS OFFICER
                                                                                                UNIVERSITY                          STANFORD UNIVERSITY
                                                                                                                                    1215 WELCH ROAD, #B
                                                                                                                                    STANFORD, CA 94305-5401




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2. 1447    CLINICAL TRIAL AGREEMENT                                    103323                   THE BOARD OF TRUSTEES OF THE     ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF NOVEMBER 21, 2002                                                    LELAND STANFORD JUNIOR           STANFORD UNIVERSITY
                                                                                                UNIVERSITY                       1215 WELCH ROAD, #B
                                                                                                                                 STANFORD, CA 94305-5401

2. 1448    CLINICAL TRIAL AGREEMENT                                    103321                   THE BOARD OF TRUSTEES OF THE     ATTN: KATHY PYKE, SENIOR
           EFFECTIVE AS OF OCTOBER 17, 2002                                                     LELAND STANFORD JUNIOR           CONTRACTS OFFICER
                                                                                                UNIVERSITY                       STANFORD UNIVERSITY
                                                                                                                                 1215 WELCH ROAD, #B
                                                                                                                                 STANFORD, CA 94305-5401

2. 1449    AMENDMENT #1 TO STUDY                                       103324                   THE BOARD OF TRUSTEES OF THE     ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #002                                                             UNIVERSITY OF ALABAMA FOR THE    701 20TH STREET SOUTH, 1170
           EFFECTIVE AS OF JUNE 14, 2004                                                        UNIVERSITY OF ALABAMA AT         ADMINISTRATION BUILDING
                                                                                                BIRMINGHAM                       BIRMINGHAM, AL 35294

2. 1450    STUDY SPECIFICATION ORDER 001                               103325                   THE BOARD OF TRUSTEES OF THE     ATTN: GENERAL COUNSEL
           DATED MARCH 22, 2004                                                                 UNIVERSITY OF ALABAMA FOR THE    701 20TH STREET SOUTH, 1170
                                                                                                UNIVERSITY OF BIRMINGHAM         ADMINISTRATION BUILDING
                                                                                                                                 BIRMINGHAM, AL 35294

2. 1451    STUDY SPECIFICATION ORDER 002                               103326                   THE BOARD OF TRUSTEES OF THE     ATTN: GENERAL COUNSEL
           DATED MARCH 22, 2004                                                                 UNIVERSITY OF ALABAMA FOR THE    701 20TH STREET SOUTH, 1170
                                                                                                UNIVERSITY OF BIRMINGHAM         ADMINISTRATION BUILDING
                                                                                                                                 BIRMINGHAM, AL 35294

2. 1452    INVESTIGATOR-INITIATED CLINICAL                             103327                   THE BRIGHAM AND WOMEN'S          ATTN: KRISTIN COLLINS, JD
           TRIAL AGREEMENT EFFECTIVE AS OF                                                      HOSPITAL, INC.                   PARTNERS CLINICAL TRIALS
           JULY 21, 2016                                                                                                         OFFICE
                                                                                                                                 399 REVOLUTION DRIVE, SUITE 760
                                                                                                                                 SOMERVILLE, MA 02145

2. 1453    MASTER SERVICES AGREEMENT -                                 103328                   THE CENTER FOR INFORMATION &     ATTN: GENERAL COUNSEL
           STATISTICAL AND DATA ANALYSIS                                                        STUDY ON CLINICAL RESEARCH       ONE LIBERTY SQUARE
           SERVICES DATED FEBRUARY 14, 2017                                                     PARTICIPATION                    SUITE 510
                                                                                                                                 BOSTON, MA 02109

2. 1454    STATEMENT OF WORK UNDER MASTER                              103329                   THE CENTER FOR INFORMATION &     ATTN: GENERAL COUNSEL
           SERVICE AGREEMENT - CLINICAL TRIAL                                                   STUDY ON CLINICAL RESEARCH       ONE LIBERTY SQUARE
           RESULTS SUMMARIES DATED                                                              PARTICIPATION                    SUITE 510
           FEBRUARY 14, 2017                                                                                                     BOSTON, MA 02109


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2. 1455    ADDENDUM TO THE STANDARD TERMS                              103335                   THE DIALOG CORPORATION              NOT AVAILABLE
           AND CONDITIONS TO THE STANDARD
           SERVICE AGREEMENT DATED
           SEPTEMBER 01, 2003

2. 1456    AMENDMENT NO. 1 TO INTERNET USER                            103339                   THE ECONOMIST INTELLIGENCE UNIT     ATTN: GENERAL COUNSEL
           AGREEMENT DATED APRIL 01, 2002                                                       N.A INCORPORATED                    THE ECONOMIST BUILDING
                                                                                                                                    111 WEST 57TH STREET
                                                                                                                                    NEW YORK, NY 10019

2. 1457    AMENDMENT #3 TO MASTER SERVICE                              103341                   THE EMERSON GROUP                   ATTN: GENERAL COUNSEL
           AGREEMENT DATED JULY 01, 2018                                                                                            407 EAST LANCASTER AVE
                                                                                                                                    WAYNE, PA 19087

2. 1458    NATIONAL SALES & MARKETING                                  105762                   THE EMERSON GROUP                   ATTN: GENERAL COUNSEL
           AGREEMENT DATED JANUARY 1, 2015                                                                                          407 EAST LANCASTER AVE
           (LAST AMENDED JUNE 1, 2018) AMONG                                                                                        WAYNE, PA 19087
           PURDUE PHARMA L.P., AVRIO HEALTH
           L.P. AND THE EMERSON GROUP.

2. 1459    MASTER SERVICES AGREEMENT                                   103343                   THE EXEQUOR GROUP, LLC              ATTN: CHRISTOPHER LISANTI
           EFFECTIVE AS OF SEPTEMBER 23, 2016                                                                                       109 RIVERSIDE DRIVE
                                                                                                                                    FOURTH FLOOR
                                                                                                                                    NEW YORK, NY 10024

2. 1460    AMENDMENT #1: TO MASTER CLINICAL                            103344                   THE HENRY M. JACKSON FOUNDATION     NOT AVAILABLE
           TRIAL AGREEMENT DATED FEBRUARY                                                       FOR THE ADVANCEMENT OF MILITARY
           06, 2003                                                                             MEDICINE, INC.

2. 1461    SEARCH FIRM AGREEMENT EFFECTIVE                             103347                   THE LYLE GROUP, LLC                 ATTN: GENERAL COUNSEL
           AS OF OCTOBER 04, 2007                                                                                                   555 MAIN STREET
                                                                                                                                    MANCHESTER, CT 06040

2. 1462    THE MEDICAL AFFAIRS COMPANY                                 103349                   THE MEDICAL AFFAIRS COMPANY LLC     ATTN: GENERAL COUNSEL
           (TMAC) CSA CW2363449 (LH.RA) DATED                                                                                       125 TOWNPARK DRIVE, #450
           AUGUST 24, 2018                                                                                                          KENNESAW, GA 30144

2. 1463    STUDY SPECIFICATION ORDER 002 TO                            103350                   THE MONROE MEDICAL FOUNDATION       ATTN: GENERAL COUNSEL
           MASTER CLINICAL TRIAL AGREEMENT                                                      FOR RESEARCH AND EDUCATION, INC.    411 22ND AVENUE
           DATED 01-05-04 DATED FEBRUARY 23,                                                                                        MONROE, WI 53566
           2004

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2. 1464    AMENDMENT #1 TO SERVICE                                     103351                   THE NETWORK, INC.             ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF MAY 24,
           2011

2. 1465    AMENDMENT #2 TO SERVICE                                     103352                   THE NETWORK, INC.             ATTN: GENERAL COUNSEL
           AGREEMENT DATED DECEMBER 16,
           2009

2. 1466    AMENDMENT NO. 1 TO AUTHORIZED                               103357                   THE NORTH CAROLINA MUTUAL     ATTN: GENERAL COUNSEL
           DISTRIBUTOR AGREEMENT EFFECTIVE                                                      WHOLESALE DRUG COMPANY        816 ELLIS ROAD
           AS OF APRIL 15, 2016                                                                                               DURHAM, NC 27703

2. 1467    AMENDMENT NO. 1 TO DISTRIBUTION                             103356                   THE NORTH CAROLINA MUTUAL     ATTN: GENERAL COUNSEL
           PERFORMANCE AGREEMENT                                                                WHOLESALE DRUG COMPANY        816 ELLIS ROAD
           EFFECTIVE AS OF JUNE 30, 2015                                                                                      DURHAM, NC 27703

2. 1468    AMENDMENT NO. 2 TO AUTHORIZED                               103358                   THE NORTH CAROLINA MUTUAL     ATTN: GENERAL COUNSEL
           DISTRIBUTOR AGREEMENT EFFECTIVE                                                      WHOLESALE DRUG COMPANY        816 ELLIS ROAD
           AS OF JUNE 30, 2017                                                                                                DURHAM, NC 27703

2. 1469    AMENDMENT NO. 2 TO DISTRIBUTION                             103359                   THE NORTH CAROLINA MUTUAL     ATTN: GENERAL COUNSEL
           PERFORMANCE AGREEMENT                                                                WHOLESALE DRUG COMPANY        816 ELLIS ROAD
           EFFECTIVE AS OF JUNE 01, 2018                                                                                      DURHAM, NC 27703

2. 1470    AUTHORIZED DISTRIBUTOR                                      103354                   THE NORTH CAROLINA MUTUAL     ATTN: HAL HARRISON
           AGREEMENT EFFECTIVE AS OF JULY                                                       WHOLESALE DRUG COMPANY        816 ELLIS ROAD
           01, 2012                                                                                                           DURHAM, NC 27703

2. 1471    DISTRIBUTION PERFORMANCE                                    103353                   THE NORTH CAROLINA MUTUAL     ATTN: HAL HARRISON
           AGREEMENT EFFECTIVE AS OF JULY                                                       WHOLESALE DRUG COMPANY        816 ELLIS ROAD
           01, 2012                                                                                                           DURHAM, NC 27703

2. 1472    LETTER OF CLARITY EFFECTIVE AS OF                           103355                   THE NORTH CAROLINA MUTUAL     ATTN: GENERAL COUNSEL
           FEBRUARY 13, 2015                                                                    WHOLESALE DRUG COMPANY        816 ELLIS ROAD
                                                                                                                              DURHAM, NC 27703

2. 1473    STUDY SPECIFICATION ORDER 005 TO                            103363                   THE OHIO STATE UNIVERSITY     ATTN: GENERAL COUNSEL
           MASTER CLINICAL TRIAL AGREEMENT                                                      RESEARCH FOUNDATION           1960 KENNY ROAD
           DATED 07-AUG-01 DATED AUGUST 07,                                                                                   COLUMBUS, OH 43210
           2001


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2. 1474    STUDY SPECIFICATION ORDER 011 TO                            103364                   THE OHIO STATE UNIVERSITY           ATTN: GENERAL COUNSEL
           MASTER CLINICAL TRIAL AGREEMENT                                                      RESEARCH FOUNDATION                 1960 KENNY ROAD
           DATED 07-AUG-01 DATED AUGUST 07,                                                                                         COLUMBUS, OH 43210
           2001

2. 1475    STUDY SPECIFICATION ORDER 1 TO                              103362                   THE OHIO STATE UNIVERSITY           ATTN: GENERAL COUNSEL
           MASTER CLINICAL TRIAL AGREEMENT                                                      RESEARCH FOUNDATION                 1960 KENNY ROAD
           DATED 07-AUG-01 DATED AUGUST 07,                                                                                         COLUMBUS, OH 43210
           2001

2. 1476    SEARCH FIRM AGREEMENT DATED                                 103369                   THE PETERSAN GROUP                  ATTN: GENERAL COUNSEL
           JUNE 18, 2013                                                                                                            1450 BROADWAY
                                                                                                                                    SUITE 1501
                                                                                                                                    NEW YORK, NY 10018

2. 1477    AMENDMENT #1 TO STUDY                                       103371                   THE PHYSICIANS CLINIC OF SPOKANE    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER EFFECTIVE AS
           OF SEPTEMBER 09, 2003

2. 1478    STUDY SPECIFICATION ORDER 001                               103370                   THE PHYSICIANS CLINIC OF SPOKANE    ATTN: GENERAL COUNSEL
           DATED SEPTEMBER 09, 2003                                                                                                 820 S. MCCLELLAN ST. SUITE #200
                                                                                                                                    SPOKANE, WA 99204

2. 1479    STUDY SPECIFICATION ORDER 001                               103379                   THE REGENTS OF THE UNIVERSITY OF    ATTN: GENERAL COUNSEL
           DATED FEBRUARY 03, 2004                                                              CALIFORNIA                          UNIVERSITY OF CALIFORNIA,
                                                                                                                                    DAVIS, SHIELDS AVENUE
                                                                                                                                    DAVIS, CA 95616

2. 1480    LABORATORY SERVICES AGREEMENT                               103380                   THE REGENTS OF THE UNIVERSITY OF    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF NOVEMBER 26, 2002                                                    MICHIGAN                            3003 S. STATE STREET
                                                                                                                                    ANN ARBOR, MI 48109-1274

2. 1481    STUDY SPECIFICATION ORDER 004                               103381                   THE REGENTS OF THE UNIVERSITY OF    ATTN: GENERAL COUNSEL
           DATED OCTOBER 09, 2003                                                               MICHIGAN                            3003 S. STATE STREET, ROOM
                                                                                                                                    1070
                                                                                                                                    ANN ARBOR, MI 48109

2. 1482    EXECUTIVE SEARCH AGREEMENT                                  103386                   THE STEVENSON GROUP                 ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF NOVEMBER 19, 2009                                                                                        1530 PLAISADE AVENUE
                                                                                                                                    FORT LEE, NJ 07024



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2. 1483    MASTER SERVICES AGREEMENT                                   103389                   THE WERCS, LTD.                     ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JANUARY 30, 2012                                                                                         PURDUE: 6 CEDARBROOK DRIVE
                                                                                                                                    CRANBURY, NJ 08512
                                                                                                                                    23 BRITISH AMERICAN
                                                                                                                                    BOULEVARD
                                                                                                                                    LATHAM, NY 12110

2. 1484    THE WILLIS GROUP, LLC CSA                                   103393                   THE WILLIS GROUP, LLC               ATTN: GENERAL COUNSEL
           CW2358793 (LH.RA) DATED JANUARY 01,                                                                                      4 THE GREEN
           2018                                                                                                                     DOVER, DE 19901

2. 1485    SEARCH FIRM AGREEMENT DATED                                 103394                   THE YAISER GROUP                    ATTN: GENERAL COUNSEL
           OCTOBER 04, 2007                                                                                                         118 NEW YORK AVENUE
                                                                                                                                    PORT PLEASANT BEACH 08742

2. 1486    THE ZITTER GROUP AMEND MSA                                  103395                   THE ZITTER GROUP                    ATTN: GENERAL COUNSEL
           CW2362710 (SD.RA) DATED AUGUST 15,
           2018

2. 1487    THERESA MALLICK-SEARLE MCSA                                 103396                   THERESA MALLICK-SEARLE, MSN, RN-    ATTN: GENERAL COUNSEL
           07012016 CW2221502 NP TTT (AA.PMM)                                                   BC, APN-BC                          3001 MADISON WAY
           DATED JULY 01, 2016                                                                                                      ANCHORAGE, AL 99508

2. 1488    THERMO ELECTRON MASTER SERVICE                              103397                   THERMO ELECTRON NORTH AMERICA       ATTN: GENERAL COUNSEL
           AGREEMENT - CW2359798 - (AH.JM)                                                      LLC
           DATED FEBRUARY 01, 2018

2. 1489    THOMAS PAPPAS ASSOCIATES CSA                                103400                   THOMAS P. PAPPAS & ASSOCIATES       ATTN: GENERAL COUNSEL
           CW2356895 (LH.RA) DATED NOVEMBER                                                                                         66 EAST LYNN STREET, SUITE 2000
           01, 2017                                                                                                                 COLUMBUS, OH 43215

2. 1490    ROTH MCSA 06012016 (AA.LLS) DATED                           103404                   THOMAS ROTH, PHD                    ATTN: GENERAL COUNSEL
           JUNE 01, 2016                                                                                                            2799 WEST GRAND BLVD, CFP-3
                                                                                                                                    DETROIT, MI 48202

2. 1491    SCAMMELL MCSA 06012016                                      103405                   THOMAS SCAMMELL, MD                 ATTN: GENERAL COUNSEL
           LCW00431715 (AA.LLS) DATED JUNE 01,                                                                                      79 MAYO ROAD
           2016                                                                                                                     WELLESLEY, MA 02482




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2. 1492    AMENDMENT NO. 3 TO MASTER                                    103410                   TIGERNET SYSTEMS INC D/B/A THE    NOT AVAILABLE
           PROFESSIONAL SERVICES AGREEMENT                                                       TNS GROUP
           DATED APRIL 30, 2015

2. 1493    SERVICE AGREEMENT EFFECTIVE AS                               103411                   TIME WARNER CABLE                 ATTN: GENERAL COUNSEL
           OF FEBRUARY 04, 2015                                                                                                    2460 PERIMETER PERK DRIVE
                                                                                                                                   CHARLOTTE, NC 27660

2. 1494    TERMS AND CONDITIONS, SERVICE                                103412                   TIME WARNER CABLE                 ATTN: GENERAL COUNSEL
           ORDER, SERVICE AGREEMENT                                                                                                2460 PERIMETER PERK DRIVE
           EXECUTED SEPTEMBER 05, 2014                                                                                             CHARLOTTE, NC 27660

2. 1495    ORDER FORM FOR INTRASTATE                                    103413                   TIME WARNER CABLE BUSINESS        ATTN: GENERAL COUNSEL
           ETHERNET DATED SEPTEMBER 11, 2014                                                     CLASS                             2460 PERIMETER PARK DR
                                                                                                                                   CHARLOTTE, NC 27660

2. 1496    TIMOTHY ROEHRS PHD CW2355593                                 103414                   TIMOTHY A. ROEHRS, PH.D.          ATTN: GENERAL COUNSEL
           18JULY17 CSA (KP.RA) DATED AUGUST                                                                                       33080 VENETIAN POINT DRIVE
           01, 2017                                                                                                                HARRISON TOWNSHIP, MI 48045

2. 1497    WIGAL, TIMOTHY CSA 01012019                                  103416                   TIMOTHY WIGAL, PHD                ATTN: GENERAL COUNSEL
           CW2364672 (SS.SD) DATED JANUARY                                                                                         4 VIRGIL COURT
           01, 2019                                                                                                                IRVINE, CA 92614

2. 1498    MASTER SERVICES AGREEMENT                                    103417                   TMIT CONSULTING, LLC              ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF NOVEMBER 01, 2017                                                                                       363 SADDLEBROOK LANE
                                                                                                                                   NAPLES, FL 34110

2. 1499    TOTAL LEADERSHIP CSA CW2221464                               103433                   TOTAL LEADERSHIP, INC.            ATTN: GENERAL COUNSEL
           ACCELERATOR PROGRAM (LH.JK)                                                                                             417 SYCAMORE AVENUE
           DATED JUNE 20, 2016                                                                                                     MERION, PA 19066

2. 1500    TOXICOLOGY SOLUTIONS, INC. MSA                               103435                   TOXICOLOGY SOLUTIONS, INC.        ATTN: GENERAL COUNSEL
           CW2354330 (LH.RA) DATED MAY 22, 2017                                                                                    3525 DEL MAR HEIGHTS ROAD,
                                                                                                                                   #336
                                                                                                                                   SAN DIEGO, CA 92130

2. 1501    ENTERPRISE AGREEMENT EFFECTIVE                               103436                   TRACELINK INC                     ATTN: GENERAL COUNSEL
           AS OF SEPTEMBER 29, 2014                                                                                                200 QUANNAPOWITT PARKWAY
                                                                                                                                   WAKEFIELD, MA 01880


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Schedule G: Executory Contracts and Unexpired Leases
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2. 1502    FIRST AMENDMENT IN LEGAL                                    103444                   TRANSCEPT PHARMACEUTICALS, INC.    ATTN: GENERAL COUNSEL
           INTEREST/ JOINT DEFENSE                                                                                                 1003 W. CUTTING BLVS. SUITE 110
           AGREEMENT DATED FEBRUARY 14, 2013                                                                                       PT. RICHMOND, CA 94804

2. 1503    MASTER SERVICES AGREEMENT                                   103452                   TRANSCRIP PARTNERS, LLP            ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF NOVEMBER 08, 2017                                                                                       SPRING PARK HOUSE, BASING
                                                                                                                                   VIEW
                                                                                                                                   BASINGSTOKE, HAMPSHIRE RG21
                                                                                                                                   4HG

2. 1504    TRANSPERFECT TRANSLATIONS                                   103453                   TRANSPERFECT TRANSLATIONS          ATTN: GENERAL COUNSEL
           INTERNATIONAL, INC. - AMENDMENT 4                                                    INTERNATIONAL, INC.
           TO MCSA CW2357024 ALLOWING POS
           (LH.RA) DATED OCTOBER 01, 2017

2. 1505    TRIALCARD INC. SOW COPAY                   6/9/2020         106181                   TRIALCARD INCORPORATED             ATTN: GENERAL COUNSEL
           PROGRAM CW2367194(SD.RA)                                                                                                6501 WESTON PARKWAY, SUITE
           EFFECTIVE JUNE 07, 2019                                                                                                 370
                                                                                                                                   CARY, NC 27513

2. 1506    TRIALCARD INCORPORATED - CHANGE            6/9/2020         106170                   TRIALCARD INCORPORATED             ATTN: GENERAL COUNSEL
           ORDER NUMBER 1 TO SOW CW2367527                                                                                         6501 WESTON PARKWAY, SUITE
           (SD.RA) EFFECTIVE JUNE 10, 2019                                                                                         370
                                                                                                                                   CARY, NC 27513

2. 1507    TRIALCARD INCORPORATED - MSA              5/16/2023         106153                   TRIALCARD INCORPORATED             ATTN: GENERAL COUNSEL
           CW2366881 (SD.RA) EFFECTIVE MAY 17,                                                                                     6501 WESTON PARKWAY, SUITE
           2019                                                                                                                    370
                                                                                                                                   CARY, NC 27513

2. 1508    STUDY SPECIFICATION ORDER 001                               103457                   TRIANGLE ORTHOPEDIC ASSOCIATES,    ATTN: GENERAL COUNSEL
           DATED AUGUST 27, 2004                                                                INC.                               120 WILLIAM PENN PLAZA
                                                                                                                                   DURHAM, NC 27704

2. 1509    STUDY SPECIFICATION ORDER 002 TO                            103458                   TRIANGLE ORTHOPEDIC ASSOCIATES,    ATTN: GENERAL COUNSEL
           MASTER CLINICAL TRIAL AGREEMENT                                                      INC.                               120 WILLIAM PENN PLAZA
           DATED APRIL 29, 2005                                                                                                    DURHAM, NC 27704

2. 1510    AMENDMENT #1 TO MASTER CLINICAL                             103460                   TRIANGLE ORTHOPEDIC ASSOCIATES,    ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED AUGUST 27,                                                     P.A.                               120 WILLIAM PENN PLAZA
           2004                                                                                                                    DURHAM, NC 27704

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2. 1511    AMENDMENT #2 TO MASTER CLINICAL                             103459                   TRIANGLE ORTHOPEDIC ASSOCIATES,    ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED AUGUST 27,                                                     P.A.                               120 WILLIAM PENN PLAZA
           2004                                                                                                                    DURHAM, NC 27704

2. 1512    PROJECT AGREEMENT DATED MARCH                               103467                   TRIGENESIS COMMUNICATIONS          ATTN: GENERAL COUNSEL
           21, 2002                                                                                                                26 MAIN STREET
                                                                                                                                   CHATHAM, NJ 07928

2. 1513    STUDY SPECIFICATION ORDER 001 TO                            103468                   TRUSTEES OF THE UNIVERSITY OF      ATTN: GENERAL COUNSEL
           MASTER CLINICAL TRIAL AGREEMENT                                                      PENNSYLVANIA                       3451 WALNUT STREET, RM 221
           DATED SEPTEMBER 05, 2003                                                                                                PHILADELPHIA, PA 19104

2. 1514    TRUVEN HEALTH ANALYTICS SOW                                 103470                   TRUVEN HEALTH ANALYTICS INC.       ATTN: GENERAL COUNSEL
           09012016 CW2318150 MANUSCRIPTS                                                                                          26361 NETWORK PLACE
           (LH.ER) DATED SEPTEMBER 19, 2016                                                                                        CHICAGO, IL 60673

2. 1515    TRUVEN HEALTH (FORMERLY HBE) AMD                            103473                   TRUVEN HEALTH ANALYTICS LLC        ATTN: GENERAL COUNSEL
           MSA CW2360782 NAME CHANGE                                                                                               26361 NETWORK PLACE
           (RH.RA) DATED JANUARY 01, 2018                                                                                          CHICAGO, IL 60673

2. 1516    SERVICE AGREEMENT DATED MAY 31,                             100002                   TRW INC.                           ATTN: GENERAL COUNSEL
           2001                                                                                                                    12011 SUNSET HILLS ROAD
                                                                                                                                   RESTON, VA 20190-3285

2. 1517    ADMINISTRATIVE SERVICES ONLY                                103475                   TUFTS BENEFIT ADMINISTRATORS, INC. NOT AVAILABLE
           AGREEMENT EFFECTIVE AS OF
           JANUARY 01, 2014

2. 1518    CONSTRUCTION SERVICES                                       103478                   TURNER CONSTRUCTION COMPANY        ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                                                               50 WATERVIEW DRIVE
           AUGUST 07, 2015                                                                                                         SHELTON, CT 06484

2. 1519    PROJECT AGREEMENT DATED MARCH                               103480                   TVG, INC.                          ATTN: GENERAL COUNSEL
           07, 2003                                                                                                                520 VIRGINIA DRIVE
                                                                                                                                   FORT WASHINGTON, PA 19034

2. 1520    SEARCH FIRM AGREEMENT DATED                                 103483                   TWIN IMAGE RECRUITING, LLC         ATTN: GENERAL COUNSEL
           JANUARY 30, 2009                                                                                                        PO BOX 1053
                                                                                                                                   MOUNT LAUREL, NJ 08054



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2. 1521    MASTER CLINICAL TRIAL AGREEMENT                             103485                   UIC OFFICE OF RESEARCH SERVICES     C/O MITRA DUTTA, PH.D., VICE
           EFFECTIVE AS OF MARCH 30, 2015                                                                                           CHANCELLOR FOR RESEARCH
                                                                                                                                    ATTN: WALTER K. KNORR,
                                                                                                                                    COMPTROLLER
                                                                                                                                    1737 W. POLK STREET, 304AOB
                                                                                                                                    BUILDING
                                                                                                                                    CHICAGO, IL 60612-7227

2. 1522    MASTER SERVICES AGREEMENT                                   103487                   UNISYS CORPORATION                  ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MAY 06, 2005                                                                                             UNISYS WAY
                                                                                                                                    BLUE BELL, PA 19424

2. 1523    SUPPLEMENTAL SCHEDULE ORDER                                 103486                   UNISYS CORPORATION                  ATTN: GENERAL COUNSEL
           DATED MAY 30, 2000                                                                                                       UNISYS WAY
                                                                                                                                    BLUE BELL, PA 19424

2. 1524    CONNECTOR MODEL SERVICE                                     103489                   UNITED HEALTHCARE INSURANCE         ATTN: PRESIDENT
           AGREEMENT EFFECTIVE AS OF                                                            COMPANY                             9800 HEALTH CARE LANE
           JANUARY 01, 2015                                                                                                         MINNETONKA, MN 55343

2. 1525    ADMINISTRATIVE SERVICES                                     103490                   UNITED HEALTHCARE SERVICES INC      ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                                                                185 ASYLUM STREET
           JANUARY 01, 2011                                                                                                         HARTFORD, CT 06103-3408

2. 1526    AMENDMENT TO ADMINISTRATIVE                                 103491                   UNITED HEALTHCARE SERVICES, INC.    ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT EFFECTIVE AS
           OF MARCH 01, 2012

2. 1527    AMENDMENT #4 TO SERVICES                                    103493                   UNITED SERVICES OF AMERICA          ATTN: GENERAL COUNSEL
           AGREEMENT DATED JANUARY 01, 2008

2. 1528    MASTER SERVICES AGREEMENT                                   103495                   UNIVERSAL GRAPHICS                  ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JANUARY 13, 2016                                                                                         375 MORGAN LANE, SUITE 203
                                                                                                                                    WEST HAVEN, CT 06516

2. 1529    STUDY SPECIFICATION ORDER 002                               103496                   UNIVERSITY CLINCIAL RESEARCH        ATTN: GENERAL COUNSEL
           DATED OCTOBER 03, 2003                                                               DELAND, INC.                        925 NORTH SPRING GARDEN
                                                                                                                                    AVENUE
                                                                                                                                    DELAND, FL 32720




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2. 1530    STUDY SPECIFICATION ORDER 003                               103497                   UNIVERSITY CLINCIAL RESEARCH        ATTN: GENERAL COUNSEL
           DATED JANUARY 21, 2004                                                               DELAND, INC.                        925 N. SPRING GARDEN AVENUE
                                                                                                                                    DELAND, FL 32720

2. 1531    STUDY SPECIFICATION ORDER 001 TO                            103501                   UNIVERSITY CLINICAL RESEACH INC.    ATTN: GENERAL COUNSEL
           MASTER CLINICAL TRIAL AGREEMENT                                                                                          1150 NORTH UNIVERSITY DRIVE
           DATED 10-FEB-04 DATED FEBRUARY 10,                                                                                       PEMBROKE PINES, FL 33024
           2004

2. 1532    AMENDMENT #1 TO STUDY                                       103508                   UNIVERSITY CLINICAL RESEARCH        ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #002                                                             DELAND, INC.                        925 NORTH SPRING GARDEN
           EFFECTIVE AS OF OCTOBER 03, 2003                                                                                         AVENUE
                                                                                                                                    DELAND, FL 32720

2. 1533    AMENDMENT #1 TO STUDY                                       103510                   UNIVERSITY CLINICAL RESEARCH        ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #003                                                             DELAND, INC.                        925 NORTH SPRING GARDEN
           EFFECTIVE AS OF JUNE 14, 2004                                                                                            AVENUE
                                                                                                                                    DELAND, FL 32720

2. 1534    AMENDMENT #2 TO MASTER CLINICAL                             103509                   UNIVERSITY CLINICAL RESEARCH        ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED FEBRUARY                                                       DELAND, INC.                        925 NORTH SPRING GARDEN
           07, 2002                                                                                                                 AVENUE
                                                                                                                                    DELAND, FL 32720

2. 1535    AMENDMENT #2 TO MASTER CLINICAL                             103512                   UNIVERSITY CLINICAL RESEARCH        ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED FEBRUARY                                                       DELAND, INC.                        925 NORTH SPRING GARDEN
           07, 2003                                                                                                                 AVENUE
                                                                                                                                    DELAND, FL 32720

2. 1536    AMENDMENT #3 TO STUDY                                       103516                   UNIVERSITY CLINICAL RESEARCH        ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #002 TO                                                          DELAND, INC.                        925 NORTH SPRING GARDEN
           MASTER SERVICES AGREEMENT                                                                                                AVENUE
           EFFECTIVE AS OF JANUARY 19, 2005                                                                                         DELAND, FL 32720

2. 1537    AMENDMENT #3 TO STUDY                                       103517                   UNIVERSITY CLINICAL RESEARCH        ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #003 TO                                                          DELAND, INC.                        860 PEACHWOOD DRIVE
           MASTER CLINIC TRIAL AGREEMENT                                                                                            DELAND, FL 32720
           EFFECTIVE AS OF FEBRUARY 22, 2005

2. 1538    STUDY SPECIFICATION ORDER 004                               103519                   UNIVERSITY CLINICAL RESEARCH        ATTN: GENERAL COUNSEL
           DATED MAY 11, 2005                                                                   DELAND, INC.                        860 PEACHWOOD DRIVE
                                                                                                                                    DELAND, FL 32720
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2. 1539    AMENDMENT #1 TO MASTER CLINICAL                             103521                   UNIVERSITY CLINICAL RESEARCH, INC.    ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED FEBRUARY                                                                                             1150 NORTH UNIVERSITY DRIVE
           10, 2004                                                                                                                   PEMBROKE PINES, FL 33024

2. 1540    AMENDMENT #2 TO MASTER CLINICAL                             103526                   UNIVERSITY CLINICAL RESEARCH, INC.    ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED FEBRUARY                                                                                             1150 NORTH UNIVERSITY DRIVE
           10, 2004                                                                                                                   PEMBROKE PINES, FL 33024

2. 1541    ADDENDUM TO CLINICAL STUDY                                  103533                   UNIVERSITY OF KANSAS MEDICAL          ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                            CENTER RESEARCH INSTITUTE, INC        3901 RAINBOW BOULEVARD
           OCTOBER 30, 1996                                                                                                           KANSAS CITY, KS 66160

2. 1542    ADDENDUM TO CLINICAL STUDY                                  103540                   UNIVERSITY OF KANSAS MEDICAL          ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                            CENTER RESEARCH INSTITUTE, INC.       3901 RAINBOW BOULEVARD
           OCTOBER 30, 1996                                                                                                           KANSAS CITY, KS 66160

2. 1543    CLINICAL STUDY AGREEMENT DATED                              103538                   UNIVERSITY OF KANSAS MEDICAL          ATTN: GENERAL COUNSEL
           OCTOBER 30, 1996                                                                     CENTER RESEARCH INSTITUTE, INC.       3901 RAINBOW BOULEVARD
                                                                                                                                      KANSAS CITY, KS 66160

2. 1544    CLINICAL STUDY AGREEMENT DATED                              103539                   UNIVERSITY OF KANSAS MEDICAL          ATTN: GENERAL COUNSEL
           OCTOBER 30, 1996                                                                     CENTER RESEARCH INSTITUTE, INC.       3901 RAINBOW BOULEVARD
                                                                                                                                      KANSAS CITY, KS 66160

2. 1545    STUDY SPECIFICATION ORDER 001                               103542                   UNIVERSITY OF KENTUCKY RESEARCH       ATTN: GENERAL COUNSEL
           DATED FEBRUARY 09, 2004                                                              FOUNDATION                            740 S. LIMESTONE STREET, J402,
                                                                                                                                      KY CLINIC
                                                                                                                                      LEXINGTON, KY 40536

2. 1546    STUDY SPECIFICATION ORDER 002                               103543                   UNIVERSITY OF KENTUCKY RESEARCH       ATTN: GENERAL COUNSEL
           DATED MARCH 04, 2004                                                                 FOUNDATION                            109 KINKEAD HALL
                                                                                                                                      LEXINGTON, KY 40506

2. 1547    AMENDMENT #1 TO MASTER CLINICAL                             103545                   UNIVERSITY OF LOUISVILLE              ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED MARCH 03,                                                      RESEARCH FOUNDATION, INC.             LOUISVILLE, KY
           2004

2. 1548    STUDY SPECIFICATION ORDER 001                               103544                   UNIVERSITY OF LOUISVILLE              ATTN: GENERAL COUNSEL
           DATED MARCH 18, 2004                                                                 RESEARCH FOUNDATION, INC.             MEDICENTER ONE, SUITE 200, 501
                                                                                                                                      EAST BROADWAY
                                                                                                                                      LOUISVILLE, KY 40202

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2. 1549    STUDY SPECIFICATION ORDER 001                               103548                   UNIVERSITY OF MEDICINE AND        ATTN: GENERAL COUNSEL
           DATED NOVEMBER 17, 2004                                                              DENTISTRY OF NEW JERSEY-SCHOOL    40 EAST LAUREL ROAD, SUITE
                                                                                                OF OSTEOPATHIC MEDICINE           1040
                                                                                                                                  STRATFORD, NJ 08084

2. 1550    STUDY SPECIFICATION ORDER 001                               103549                   UNIVERSITY OF MIAMI               ATTN: GENERAL COUNSEL
           DATED SEPTEMBER 24, 2003                                                                                               P.O. BOX 016960
                                                                                                                                  MIAMI, FL 33101

2. 1551    CLINICAL TRIAL AGREEMENT DATED                              103553                   UNIVERSITY OF PITTSBURGH          ATTN: DIRECTOR
           NOVEMBER 06, 2002                                                                                                      OFFICE OF RESEARCH
                                                                                                                                  350 THACKERAY HALL
                                                                                                                                  PITTSBURGH, PA 15620

2. 1552    CLINICAL TRIAL AGREEMENT DATED                              103555                   UNIVERSITY OF SASKATCHEWAN        ATTN: CONTRACTS OFFICER
           AUGUST 21, 2003                                                                                                        ROOM 1607
                                                                                                                                  110 GYMNASIUM PLACE, BOX 5000
                                                                                                                                  RPO UNIVERSITY
                                                                                                                                  SASKATOON, SK S7N 438
                                                                                                                                  CANADA

2. 1553    CLINICAL TRIAL AGREEMENT                                    103557                   UNIVERSITY OF SASKATCHEWAN        ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF AUGUST 21, 2003                                                                                        ROOM 1607, 110 GYMNASIUM
                                                                                                                                  PLACE
                                                                                                                                  BOX 5000 RPO UNIVERSITY
                                                                                                                                  SASKATOON, SK, SASKATOON,
                                                                                                                                  CAN SK S7N 4J8
                                                                                                                                  CANADA

2. 1554    CLINICAL TRIAL AGREEMENT                                    103558                   UNIVERSITY OF SASKATCHEWAN        ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF AUGUST 21, 2003                                                                                        ROOM 1607, 110 GYMNASIUM
                                                                                                                                  PLACE
                                                                                                                                  BOX 5000 RPO UNIVERSITY
                                                                                                                                  SASKATOON, SK, SASKATOON,
                                                                                                                                  CAN SK S7N 4J8
                                                                                                                                  CANADA

2. 1555    STUDY SPECIFICATION ORDER 001                               103554                   UNIVERSITY OF SASKATCHEWAN        ATTN: GENERAL COUNSEL
           DATED AUGUST 21, 2003                                                                                                  ROOM 1607, 110 GYMNASIUM
                                                                                                                                  PLACE, BOX 5000 RPO
                                                                                                                                  UNIVERSITY, SASKATOON, SK S7N
                                                                                                                                  4J8

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2. 1556    STUDY SPECIFICATION ORDER 002                               103562                   UNIVERSITY OF SASKATCHEWAN/ DR.    ATTN: GENERAL COUNSEL
           DATED AUGUST 21, 2003                                                                SANKARAN                           ROYAL UNIVERSITY HOSPITAL
                                                                                                                                   103 HOSPITAL DRIVE
                                                                                                                                   SASKATOON, SK S7N 0W6

2. 1557    CLINICAL TRIAL AGREEMENT                                    103564                   UNIVERSITY OF SASKATCHEWAN/DR.     ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF AUGUST 21, 2003                                                      K. SANKARAN                        SASKATCHEWAN: ROOM 1607, 110
                                                                                                                                   GYMNASIUM PLACE BOX 5000
                                                                                                                                   RPO UNIVERSITY, SASKATOON,
                                                                                                                                   SK S7N 4J8
                                                                                                                                   DR. K. SANKARAN: DEPARTMENT
                                                                                                                                   OF PEDIATRICS, ROYAL
                                                                                                                                   UNIVERSITY HOSPITAL, 103
                                                                                                                                   HOSPITAL DRIVE SASKATOON, SK
                                                                                                                                   S7N 0W8
                                                                                                                                   SASKATOON, SK, CANADA SK S7

2. 1558    AMENDMENT #1 TO STUDY                                       103573                   UNIVERSITY ORTHOPEDICS CENTER      ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #002                                                                                                101 REGENT COURT
           EFFECTIVE AS OF AUGUST 21, 2003                                                                                         STATE COLLEGE, PA 16801

2. 1559    AMENDMENT #1 TO STUDY                                       103577                   UNIVERSITY ORTHOPEDICS CENTER      ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #003                                                                                                101 REGENT COURT
           EFFECTIVE AS OF JUNE 14, 2004                                                                                           STATE COLLEGE, PA 16801

2. 1560    AMENDMENT #2 TO MASTER CLINICAL                             103575                   UNIVERSITY ORTHOPEDICS CENTER      ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED JANUARY 17,                                                                                       101 REGENT COURT
           2003                                                                                                                    STATE COLLEGE, PA 16801

2. 1561    AMENDMENT #2 TO MASTER CLINICAL                             103580                   UNIVERSITY ORTHOPEDICS CENTER      ATTN: GENERAL COUNSEL
           TRIAL AGREEMENT DATED JANUARY 17,                                                                                       101 REGENT COURT
           2003                                                                                                                    STATE COLLEGE, PA 16801

2. 1562    AMENDMENT #3 TO STUDY                                       103582                   UNIVERSITY ORTHOPEDICS CENTER      ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #003 TO                                                                                             101 REGENT COURT
           MASTER CLINICAL TRIAL AGREEMENT                                                                                         STATE COLLEGE, PA 16801
           EFFECTIVE AS OF FEBRUARY 22, 2005

2. 1563    STUDY SPECIFICATION ORDER 002                               103572                   UNIVERSITY ORTHOPEDICS CENTER      ATTN: GENERAL COUNSEL
           DATED AUGUST 21, 2003                                                                                                   101 REGENT COURT
                                                                                                                                   STATE COLLEGE, PA 16801


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2. 1564    STUDY SPECIFICATION ORDER 003                               103574                   UNIVERSITY ORTHOPEDICS CENTER       ATTN: GENERAL COUNSEL
           DATED JANUARY 29, 2004                                                                                                   101 REGENT COURT
                                                                                                                                    STATE COLLEGE, PA 16801

2. 1565    MASTER CLINICAL TRIAL AGREEMENT                             103584                   UPMC OSPARS                         ATTN: EXECUTIVE DIRECTOR
           EFFECTIVE AS OF NOVEMBER 01, 2013                                                                                        600 GRANT STREET, 58TH FLOOR
                                                                                                                                    UST 01-58-01
                                                                                                                                    PITTSBURGH, PA 15219

2. 1566    QUALITY AGREEMENT EFFECTIVE AS                              103587                   UPS SUPPLY CHAIN SOLUTIONS          ATTN: GENERAL COUNSEL
           OF JUNE 21, 2013                                                                                                         12380 MORRIS ROAD
                                                                                                                                    ALPHARETTA, GA 30005

2. 1567    SCHEDULE NO. 1 - WAREHOUSE                                  103588                   UPS SUPPLY CHAIN SOLUTIONS, INC.    ATTN: GENERAL COUNSEL
           DISTRIBUTION SERVICES DATED JULY                                                                                         12380 MORRIS ROAD
           01, 2015                                                                                                                 ALPHARETTA, GA 30005

2. 1568    UPS AMD 1 TO MSA01JAN2018                                   103591                   UPS SUPPLY CHAIN SOLUTIONS, INC.    ATTN: GENERAL COUNSEL
           CW2359330 UPDATE SCOPE AND PRICE                                                                                         12380 MORRIS ROAD
           (RJ.EA) DATED JANUARY 01, 2018                                                                                           ALPHARETTA, GA 30005

2. 1569    MASTER SERVICES AGREEMENT                                   103595                   UPS SUPPLY CHAIN SOLUTIONS/SCS      ATTN: GENERAL COUNSEL
           DATED JUNE 24, 2002                                                                  ASIA                                PURDUE: 4701 PURDUE DRIVE
                                                                                                                                    WILSON, NC 27893
                                                                                                                                    12380 MORRIS ROAD
                                                                                                                                    ALPHARETTA, GA 30005

2. 1570    LETTER: CONSENT EXECUTED                                    103596                   UPSTATE CLINICAL RESEARCH ASSOC.    ATTN: GENERAL COUNSEL
           JANUARY 14, 2014                                                                                                         8201 MAIN STREET, SUITE 1
                                                                                                                                    WILLIAMSVILLE, NY 14221

2. 1571    AMENDMENT NO. 1 TO AUTHORIZED                               103626                   VALLEY WHOLESALE DRUG CO. INC.      ATTN: GENERAL COUNSEL
           DISTRIBUTOR AGREEMENT EFFECTIVE                                                                                          1401 WEST FREMONT STREET
           AS OF JUNE 30, 2017                                                                                                      STOCKTON, CA 95203

2. 1572    AUTHORIZED DISTRIBUTOR                                      103625                   VALLEY WHOLESALE DRUG CO. INC.      ATTN: DAN MATTCOLI
           AGREEMENT EFFECTIVE AS OF JULY                                                                                           1401 WEST FREMONT STREET
           01, 2012                                                                                                                 STOCKTON, CA 95203




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2. 1573    DRUG DISTRIBUTION SERVICE                                   103627                   VALLEY WHOLESALE DRUG COMPANY    ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                                                             1401 WEST FREMONT STREET
           SEPTEMBER 01, 2008                                                                                                    STOCKTON, CA 95203

2. 1574    VALUCENTRIC SOW PIPELINE                                    103630                   VALUE CENTRIC, LLC               ATTN: GENERAL COUNSEL
           INVENTORY CW2364217 (SD.RA) DATED                                                                                     23 COBHAM DRIVE
           OCTOBER 01, 2018                                                                                                      ORCHARD PARK, NY 14127

2. 1575    AMENDMENT NO. 1 TO AUTHORIZED                               103635                   VALUE DRUG COMPANY               ATTN: GENERAL COUNSEL
           DISTRIBUTOR AGREEMENT DATED                                                                                           ONE GOLF VIEW DRIVE
           APRIL 15, 2016                                                                                                        ALTOONA, PA 16601

2. 1576    AMENDMENT NO. 1 TO DISTRIBUTION                             103633                   VALUE DRUG COMPANY               ATTN: GENERAL COUNSEL
           PERFORMANCE AGREEMENT DATED                                                                                           195 THEATER DRIVE
           DECEMBER 31, 2015                                                                                                     DUNCANSVILLE, PA 16635

2. 1577    AMENDMENT NO. 2 TO AUTHORIZED                               103636                   VALUE DRUG COMPANY               ATTN: GENERAL COUNSEL
           DISTRIBUTOR AGREEMENT DATED                                                                                           195 THEATER DRIVE
           JUNE 30, 2017                                                                                                         DUNCANSVILLE, PA 16635

2. 1578    AMENDMENT NO. 2 TO DISTRIBUTION                             103639                   VALUE DRUG COMPANY               ATTN: GENERAL COUNSEL
           PERFORMANCE AGREEMENT DATED                                                                                           195 THEATER DRIVE
           JUNE 01, 2018                                                                                                         DUNCANSVILLE, PA 16635

2. 1579    AMENDMENT NO. 3 TO DISTRIBUTION                             103641                   VALUE DRUG COMPANY               ATTN: GENERAL COUNSEL
           PERFORMANCE AGREEMENT DATED                                                                                           195 THEATER DRIVE
           OCTOBER 18, 2018                                                                                                      DUNCANSVILLE, PA 16635

2. 1580    AUTHORIZED DISTRIBUTOR                                      103644                   VALUE DRUG COMPANY               ATTN: GENERAL COUNSEL
           AGREEMENT EXECUTED OCTOBER 09,                                                                                        ONE GOLF VIEW DRIVE
           2012                                                                                                                  ALTOONA, PA 16601

2. 1581    DISTRIBUTION PERFORMANCE                                    103631                   VALUE DRUG COMPANY               ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                                                             ONE GOLF VIEW DRIVE
           JANUARY 01, 2013                                                                                                      ALTOONA, PA 16601

2. 1582    VALUE DRUG COMPANY - SECOND                                 103638                   VALUE DRUG COMPANY               ATTN: GENERAL COUNSEL
           AMENDMENT TO DISTRIBUTION                                                                                             195 THEATER DRIVE
           PERFORMANCE AGREEMENT                                                                                                 DUNCANSVILLE, PA 16635
           CW2361856 (SD.RA) DATED JUNE 01,
           2018

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2. 1583    VALUE DRUG COMPANY - THIRD                                  103640                   VALUE DRUG COMPANY                ATTN: GENERAL COUNSEL
           AMENDMENT TO DISTRIBUTION                                                                                              195 THEATER DRIVE
           PERFORMANCE AGREEMENT (RP.RA)                                                                                          DUNCANSVILLE, PA 16635
           DATED OCTOBER 18, 2018

2. 1584    HOSTED SERVICES AGREEMENT                                   103646                   VALUECENTRIC, LLC                 ATTN: GENERAL COUNSEL
           DATED NOVEMBER 01, 2008                                                                                                23 COBHAM DRIVE
                                                                                                                                  ORCHARD PARK, NY 14127

2. 1585    VANGUARD PAIN MANAGEMENT                  4/30/2020         105989                   VANGUARD PAIN MANAGEMENT          NOT AVAILABLE
           CONSULTING WO CW2366427 TIMOTHY                                                      CONSULTING LLC
           ATKINSON ORF AD BOARD (LH.SD)
           EFFECTIVE MAY 01, 2019

2. 1586    MASTER SERVICES AGREEMENT                                   103651                   VANTAGE CONSULTING SERVICES, INC. ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MAY 01, 2016                                                                                           601 RT. 206, STE 26-700
                                                                                                                                  HILLSBOROUGH, NJ 08844

2. 1587    MASTER SUBSCRIPTION AND SERVICES                            103661                   VEEVA SYSTEMS, INC.               ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JULY                                                                                         4637 CHABOT DRIVE, SUITE 210
           15, 2015                                                                                                               PLEASANTON, CA 94588

2. 1588    VEEVA MEDCOMM SOWCW2356792                                  103659                   VEEVA SYSTEMS, INC.               ATTN: GENERAL COUNSEL
           (DS.RA) DATED JANUARY 01, 2018                                                                                         4637 CHABOT DRIVE, SUITE 210
                                                                                                                                  PLEASANTON, CA 94588

2. 1589    VEEVA MEDCOMM SOWCW2356792                                  103658                   VEEVA SYSTEMS, INC.               ATTN: GENERAL COUNSEL
           (DS.RA) DATED OCTOBER 02, 2017                                                                                         4637 CHABOT DRIVE, SUITE 210
                                                                                                                                  PLEASANTON, CA 94588

2. 1590    VEEVA PROMOMATS RENEWAL ORDER                               103656                   VEEVA SYSTEMS, INC.               ATTN: GENERAL COUNSEL
           CW2362498 PB.RA DATED JULY 27, 2018                                                                                    4637 CHABOT DRIVE, SUITE 210
                                                                                                                                  PLEASANTON, CA 94588

2. 1591    VEEVA SOW 9 PROMOMATS AND                                   103660                   VEEVA SYSTEMS, INC.               ATTN: GENERAL COUNSEL
           MEDCOMMS MANAGED SERVICES 2019                                                                                         4637 CHABOT DRIVE, SUITE 210
           CW2364510 PB.EA DATED JANUARY 01,                                                                                      PLEASANTON, CA 94588
           2019




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2. 1592    VEEVA SOW 9 PROMOMATS AND                12/31/2019         106045                   VEEVA SYSTEMS, INC.                  ATTN: GENERAL COUNSEL
           MEDCOMMS MANAGED SERVICES 2019                                                                                            4637 CHABOT DRIVE, SUITE 210
           CW2364510 PB.EA EFFECTIVE JANUARY                                                                                         PLEASANTON, CA 94588
           01, 2019

2. 1593    VEEVA VAULT SUBMISSIONS RENEWAL                             103657                   VEEVA SYSTEMS, INC.                  ATTN: GENERAL COUNSEL
           ORDER CW2362500 PB.RA DATED                                                                                               4637 CHABOT DRIVE, SUITE 210
           AUGUST 01, 2018                                                                                                           PLEASANTON, CA 94588

2. 1594    PROFESSIONAL SERVICES AGREEMENT                             103662                   VELQUEST CORPORATION                 ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JUNE 12, 2002                                                                                             35 SOUTH STREET
                                                                                                                                     HOPKINTON, MA 01748

2. 1595    VENDORMATE MSA 07132016                                     103666                   VENDORMATE, INCOPORATED              ATTN: GENERAL COUNSEL
           CW2221866 (SD.PMM) DATED AUGUST                                                                                           1315 CENTURY DR., SUITE 100
           15, 2016                                                                                                                  LOUISVILLE, CO 80027

2. 1596    VENEBIO GROUP MSA 27MAR2018                                 103667                   VENEBIO GROUP, LLC                   ATTN: GENERAL COUNSEL
           CW2360988 (RJ.RA) DATED APRIL 17,                                                                                         7400 BEAUFONT SPRINGS DRIVE,
           2018                                                                                                                      SUITE 300
                                                                                                                                     RICHMOND, VA 23225

2. 1597    AMENDMENT #2 TO MASTER WASTE                                103669                   VEOLIA ES TECHNICAL SOLUTIONS        DEPARTMENT 73709
           MANAGEMENT SERVICES AGREEMENT                                                        L.L.C.                               CHICAGO, IL 60673
           DATED DECEMBER 15, 2015

2. 1598    ZUDY MSA AMENDMENT CW2354595                                103675                   VINYL DEVELOPMENT, LLC D/B/A ZUDY    ATTN: GENERAL COUNSEL
           (DS.EA) DATED AUGUST 11, 2015

2. 1599    MASTER SERVICES AGREEMENT                                   103677                   VIRTUAL REGULATORY SOLUTIONS         ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF OCTOBER 10, 2016                                                     INC.                                 673 SPRING MOUNT ROAD
                                                                                                                                     SCHWENKSVILLE, PA 19473

2. 1600    CHANGE ORDER FORM DATED                                     103685                   VITAL PATH, INC.                     ATTN: GENERAL COUNSEL
           JANUARY 09, 2009

2. 1601    EXECUTIVE SEARCH AGREEMENT                                  103707                   W.A. RUTLEDGE & ASSOCIATES           ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF AUGUST 25, 2009                                                                                           6 MEADOWCREST DRIVE
                                                                                                                                     WOODBURY, CT 06798



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2. 1602    AMENDMENT #1 TO STUDY                                       103710                   WAKE RESEARCH ASSOCIATES, LLC    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #002                                                                                              3100 BLUE RIDGE ROAD, SUITE 200
           EFFECTIVE AS OF JUNE 14, 2004                                                                                         RALEIGH, NC 27612

2. 1603    STUDY SPECIFICATION ORDER 002                               103709                   WAKE RESEARCH ASSOCIATES, LLC    ATTN: GENERAL COUNSEL
           DATED FEBRUARY 10, 2004                                                                                               3100 BLUE RIDGE ROAD, SUITE 200
                                                                                                                                 RALEIGH, NC 27612

2. 1604    PHARMACY INSIGHTS MASTER                                    103712                   WALGREENS CO.                    ATTN: PHARMACY PURCHASING &
           SERVICES AGREEMENT DATED                                                                                              DEVELOPMENT LAW
           SEPTEMBER 20, 2016                                                                                                    104 WILMOT ROAD
                                                                                                                                 MS #1425
                                                                                                                                 DEERFIELD, IL 60015

2. 1605    WALGREENSMSA07JUN2017 CW2354825                             103711                   WALGREENS CO.                    ATTN: GENERAL COUNSEL
           MSA(AB.RA) DATED JULY 15, 2017                                                                                        1417 LAKE COOK ROAD
                                                                                                                                 DEERFIELD, IL 60015

2. 1606    WALKER PAINT AMD 3 TO MSA                                   103713                   WALKER PAINT COMPANY, INC.       ATTN: GENERAL COUNSEL
           CW2356084 (KL.EGA) DATED OCTOBER
           01, 2017

2. 1607    WALRUS MSA CW2358482 SLOMAG                                 103715                   WALRUS, LLC                      ATTN: GENERAL COUNSEL
           (AB.RA) DATED NOVEMBER 20, 2017                                                                                       18 EAST 17TH STREET, 4TH FLOOR
                                                                                                                                 NEW YORK, NY 10003

2. 1608    WASSERSTEIN, JEANETTE CSA 0101019        12/31/2019         105923                   WASSERSTEIN, JEANETTE            NOT AVAILABLE
           CW2364676 (SS.SD) EFFECTIVE
           JANUARY 01, 2019

2. 1609    MASTER SERVICES AGREEMENT                                   103720                   WATERS TECHNOLOGIES              ATTN: GENERAL COUNSEL
           DATED JANUARY 01, 2008                                                               CORPORATION                      34 MAPLE STREET
                                                                                                                                 MILFORD, MA 01757

2. 1610    AMENDMENT #1 TO AMENDED AND                                 103721                   WATERS TECHNOLOGIES              34 MAPLE STREET
           RESTATED MASTER SERVICES                                                             CORPORATION D/B/A WATERS         MILFORD, MA 01757
           AGREEMENT DATED NOVEMBER 15,                                                         CORPORATION
           2015




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2. 1611    WATERS SOW 2019-1 CW2364348              12/31/2019         106049                   WATERS TECHNOLOGIES                  34 MAPLE STREET
           TOTAL ASSURANCE PLAN FOR 2019                                                        CORPORATION D/B/A WATERS             MILFORD, MA 01757
           (RJ.RA) EFFECTIVE JANUARY 01, 2019                                                   CORPORATION

2. 1612    DISTRIBUTION AND SUPPLY                                     106299                   WATSON PHARMA, INC.                  NOT AVAILABLE
           AGREEMENT BETWEEN WATSON
           PHARMA, INC. AND PURDUE PHARMA
           L.P., DATED APRIL 25, 2013, AS
           AMENDED BY AMENDMENT NO. 1 TO
           DISTRIBUTION AND SUPPLY
           AGREEMENT DATED SEPTEMBER 26,
           2014

2. 1613    DISTRIBUTION AND SUPPLY                                     103722                   WATSON PHARMA, INC.                  ATTN: CHIEF LEGAL OFFICER -
           AGREEMENT DATED APRIL 25, 2013                                                                                            GLOBAL
                                                                                                                                     MORRIS CORPORATE CENTER III
                                                                                                                                     400 INTERPACE PARKWAY
                                                                                                                                     PARSIPPANY, NJ 07053

2. 1614    DISTRIBUTION AND SUPPLY                                     103723                   WATSON PHARMA, INC.                  ATTN: CHIEF LEGAL OFFICER -
           AGREEMENT DATED APRIL 25, 2013                                                                                            GLOBAL
                                                                                                                                     MORRIS CORPORATE CENTER III
                                                                                                                                     400 INTERPACE PARKWAY
                                                                                                                                     PARSIPPANY, NJ 07054

2. 1615    DISTRIBUTION AND SUPPLY                                     103724                   WATSON PHARMA, INC.                  ATTN: GENERAL COUNSEL
           AGREEMENT DATED APRIL 25, 2013                                                                                            MORRIS CORPORATE CENTER III
                                                                                                                                     400 INTERPACE PARKWAY
                                                                                                                                     PARSIPPANY, NJ 07053

2. 1616    STUDY SPECIFICATION ORDER 003 TO                            103726                   WAYNE STATE UNIVERSITY               ATTN: GENERAL COUNSEL
           MASTER CLINICAL TRIAL AGREEMENT                                                                                           540 E. CANFIELD RM 1128
           DATED AUGUST 22, 2003                                                                                                     DETROIT, MI 48201

2. 1617    MASTER CLINICAL TRIAL AGREEMENT                             103727                   WEILL MEDICAL COLLEGE OF             ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JUNE 27, 2014                                                        CORNELL UNIVERSITY                   JOINT MEDICAL TRIALS OFFICE
                                                                                                                                     1300 YORK AVENUE, BOX 305
                                                                                                                                     NEW YORK, NY 10065

2. 1618    WEST VIRGINIA LOBBYIST GROUP, LLC                           103730                   WEST VIRGINIA LOBBYIST GROUP, LLC    ATTN: GENERAL COUNSEL
           CSA CW2356899 (LH.RA) DATED                                                                                               650 MAIN STREET
           NOVEMBER 01, 2017                                                                                                         BARBOURSVILLE, WV 25504

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2. 1619    STUDY SPECIFICATION ORDER 001                               103731                   WIETZNER, YONKER, KAINE, MD        ATTN: GENERAL COUNSEL
           DATED OCTOBER 29, 2003                                                               PA/D/B/A SARASOTA ARTHRITIS        1945 VERSAILLES STREET, SUITE
                                                                                                CENTER                             101
                                                                                                                                   SARASOTA, FL 34239

2. 1620    WIGAL, TIMOTHY CSA 01012019              12/31/2019         105915                   WIGAL, TIMOTHY                     NOT AVAILABLE
           CW2364672 (SS.SD) EFFECTIVE
           JANUARY 01, 2019

2. 1621    CHRISTOPHER GUINTHER CSA                  5/14/2021         105991                   WILLIAM C GUINTHER                 NOT AVAILABLE
           CW2366844 (LH.RA) EFFECTIVE MAY 15,
           2019

2. 1622    AUTHORIZED PROVIDER AGREEMENT                               103738                   WILSON/GREENE RED CROSS            ATTN: LIBBY PRIVETTE
           DATED OCTOBER 01, 2007                                                                                                  2305 SUITE G
                                                                                                                                   WELLINGTON DRIVE
                                                                                                                                   WILSON, NC 27893

2. 1623    AMENDMENT #3 TO STUDY                                       103742                   WINSTON PHYSICIAN SERVICES, LLC    ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER #002 TO                                                                                             904 26TH STREET
           MASTER CLINICAL TRIAL AGREEMENT                                                                                         HALLEYVILLE, AL 35565
           EFFECTIVE AS OF FEBRUARY 22, 2005

2. 1624    STUDY SPECIFICATION ORDER 002 TO                            103741                   WINSTON PHYSICIAN SERVICES, LLC    ATTN: GENERAL COUNSEL
           MASTER CLINICAL TRIAL AGREEMENT                                                                                         904 26TH STREET
           DATED 10303 BETWEEN PURDUE                                                                                              HALLEYVILLE, AL 35565
           PHARMA L.P. AND WINSTON PHYSCIAN
           SERVICES, LLC DATED DECEMBER 18,
           2003

2. 1625    WONG BAKER SOW26FEB17                                       103745                   WONG-BAKER FACES FOUNDATION        ATTN: GENERAL COUNSEL
           CW2352087 WONG BAKER FACES                                                                                              13919 B-N. MAY AVE #125
           SUBLICENSE DATED MARCH 06, 2017                                                                                         OKLAHOMA CITY, OK 73134

2. 1626    AMENDMENT #4 TO STATEMENT OF                                103746                   WORLD HEALTH INFORMATION           ATTN: GENERAL COUNSEL
           WORK DATED NOVEMBER 14, 2018                                                         SCIENCE CONSULTANTS                725 GROVE STREET
                                                                                                                                   NEWTON, MA 02466

2. 1627    STATEMENT OF WORK UNDER MASTER                              103747                   WORLD HEALTH INFORMATION           ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT EFFECTIVE AS                                                      SCIENCE CONSULTANTS                725 GROVE STREET
           OF FEBRUARY 14, 2019                                                                                                    NEWTON, MA 02466

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2. 1628    CONSENT AGREEMENT EXECUTED                                  103752                   WORLDWIDE CLINICAL TRIALS, INC.    ATTN: CHRISTOPHER L. CRUCITTI,
           DECEMBER 12, 2013                                                                                                       EXECUTIVE VICE PRESIDENT
                                                                                                                                   1000 CONTINENTAL DRIVE
                                                                                                                                   SUITE 209
                                                                                                                                   KING OF PRUSSIA, PA 19406

2. 1629    XBL (WUXI) OTH CW2362361 MSA                                103753                   XENOBIOTIC LABORATORIES, INC.      ATTN: GENERAL COUNSEL
           EXTENSION (LH.RA) DATED JUNE 29,
           2018

2. 1630    YALE CSA 061516 CW2221469                                   103755                   YALE UNIVERSITY                    ATTN: GENERAL COUNSEL
           ACCELERATOR PROGRAM (LH.JK)                                                                                             165 WHITNEY AVENUE
           DATED JULY 21, 2016                                                                                                     NEW HAVEN, CT

2. 1631    SEARCH FIRM AGREEMENT DATED                                 103757                   Z HEADHUNTERS LLC                  ATTN: GENERAL COUNSEL
           OCTOBER 04, 2007                                                                                                        397 POST ROAD
                                                                                                                                   SUITE 203
                                                                                                                                   DARIEN, CT 06820

2. 1632    MASTER SUBSCRIPTION AGREEMENT                               103759                   ZEPHYR HEALTH, INC                 ATTN: CHIEF INFORMATION
           EFFECTIVE AS OF MARCH 31, 2015                                                                                          SECURITY & PRIVACY OFFICER
                                                                                                                                   450 MISSION STREET
                                                                                                                                   SUITE 201
                                                                                                                                   SAN FRANCISCO 94105
                                                                                                                                   CANADA

2. 1633    ZOUBEK CSA CW2359624 (DT.RA)                                103763                   ZOUBEK CONSULTING, LLC             ATTN: GENERAL COUNSEL
           DATED JANUARY 15, 2018                                                                                                  3047 UNIVERSITY AVENUE, SUITE
                                                                                                                                   211
                                                                                                                                   SAN DIEGO, CA 92104

2. 1634    AMENDMENT #1 TO STATEMENT OF                                103776                   ZS ASSOCIATES, INC.                ATTN: GENERAL COUNSEL
           WORK EFFECTIVE AS OF JULY 01, 2018                                                                                      1800 SHERMAN AVENUE
                                                                                                                                   EVANSTON, IL 60201

2. 1635    MASTER SERVICES AGREEMENT                                   103764                   ZS ASSOCIATES, INC.                ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF NOVEMBER 22, 2016                                                                                       1800 SHERMAN AVENUE
                                                                                                                                   EVANSTON, IL 60201

2. 1636    MASTER SERVICES AGREEMENT                                   103765                   ZS ASSOCIATES, INC.                ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF NOVEMBER 22, 2016                                                                                       1800 SHERMAN AVENUE
                                                                                                                                   EVANSTON, IL 60201
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2. 1637    MASTER SERVICES AGREEMENT                                   103766                   ZS ASSOCIATES, INC.           ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF NOVEMBER 22, 2016                                                                                  1800 SHERMAN AVENUE
                                                                                                                              EVANSTON, IL 60201

2. 1638    MASTER SERVICES AGREEMENT                                   103767                   ZS ASSOCIATES, INC.           ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF NOVEMBER 22, 2016                                                                                  1800 SHERMAN AVENUE
                                                                                                                              EVANSTON, IL 60201

2. 1639    ZS ASSOCIATES SOW 27JUNE2017                                103773                   ZS ASSOCIATES, INC.           ATTN: GENERAL COUNSEL
           CW2355235 OPERATIONAL SUPPORT                                                                                      1800 SHERMAN AVENUE
           FOR MDM DATED JUNE 26, 2017                                                                                        EVANSTON, IL 60201

2. 1640    ZS ASSOCIATES SOW CW2352468                                 103768                   ZS ASSOCIATES, INC.           ATTN: GENERAL COUNSEL
           JAVELIN TERRITORY DESIGNER                                                                                         1800 SHERMAN AVENUE
           STANDARD (EGA.NK) DATED MARCH 01,                                                                                  EVANSTON, IL 60201
           2017

2. 1641    ZS ASSOCIATES SOW11 09MAR17                                 103769                   ZS ASSOCIATES, INC.           ATTN: GENERAL COUNSEL
           CW2352420 INCENTIVE                                                                                                1800 SHERMAN AVENUE
           COMPENSATION SOLUTION                                                                                              EVANSTON, IL 60201
           IMPLEMENTATION OPERATIONS DATED
           MARCH 01, 2017

2. 1642    ZS ASSOCIATES SOW11MAR17                                    103771                   ZS ASSOCIATES, INC.           ATTN: GENERAL COUNSEL
           CW2352472 JAVELIN ALIGNMENT                                                                                        1800 SHERMAN AVENUE
           MANAGER JAVELIN ROSTER MANAGER                                                                                     EVANSTON, IL 60201
           USA SHAPES DATED MARCH 21, 2017

2. 1643    AMENDMENT #2 TO MASTER                                      103777                   ZSCALER, INC.                 ATTN: GENERAL COUNSEL
           SUBSCRIPTION AGREEMENT DATED                                                                                       500 7TH AVENUE, 8TH FLOOR
           JULY 31, 2013                                                                                                      NEW YORK, NY 10018




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Real Property Leases

2. 1644    LEASE AMENDMENT - 502 CANAL              11/30/2019         G-1005                   502-538 CANAL STREET, LLC         ANTHONY RUBINO
           STREET                                                                                                                 502-538 CANAL STREET, LLC
                                                                                                                                  560 CANAL STREET
                                                                                                                                  STAMFORD, CT 06902

2. 1645    SUBLEASE                                  8/31/2028         G-1021                   AIRCASTLE ADVISORS LLC            GENERAL COUNSEL
                                                                                                                                  300 FIRST STAMFORD PLACE, 5TH
                                                                                                                                  FLOOR
                                                                                                                                  STAMFORD, CT 06902

2. 1646    SUBLEASE                                  9/27/2021         G-1022                   BROOKSIDE EQUITY PARTNERS         DONALD L.HAWKS III & RAYMOND
                                                                                                                                  F. WELDON
                                                                                                                                  ONE STAMFORD FORUM
                                                                                                                                  201 TRESSER BOULEVARD
                                                                                                                                  STAMFORD, CT 06901

2. 1647    SECOND AMENDMENT TO SUBLEASE              4/30/2021         G-1024                   CHARTER COMMUNICATIONS HOLDING    CHARTER REAL ESTATE, FILE ID:
                                                                                                COMPANY, LLC                      CT0026
                                                                                                                                  C/O CHARTER COMMUNICATIONS
                                                                                                                                  6360 S. FIDDLERS GREEN CIRCLE,
                                                                                                                                  SUITE 100
                                                                                                                                  GREENWOOD VILLAGE, CO 80111

2. 1648    SUBLEASE                                                    G-1023                   CHARTER COMMUNICATIONS HOLDING    CHARTER REAL ESTATE, FILE ID:
                                                                                                COMPANY, LLC                      CT0026
                                                                                                                                  C/O CHARTER COMMUNICATIONS
                                                                                                                                  6399 S. FIDDLERS GREEN CIRCLE,
                                                                                                                                  SUITE 600
                                                                                                                                  GREENWOOD VILLAGE, CO 80111

2. 1649    AMENDED AND RESTATED SUBLEASE             9/27/2021         G-1027                   HILLSIDE CAPITAL INCORPORATED     JOHN N. IRWIN III AND RAYMOND
                                                                                                                                  F. WELDON
                                                                                                                                  80 FIELD POINT ROAD, 3RD FLOOR
                                                                                                                                  GREENWICH, CT 06830

2. 1650    AMENDED AND RESTATED SUBLEASE             9/27/2021         G-1028                   KOKINO LLC                        DOUGLAS KLINE AND STEPHEN A.
                                                                                                                                  IVES
                                                                                                                                  ONE STAMFORD FORUM
                                                                                                                                  201 TRESSER BOULEVARD
                                                                                                                                  STAMFORD, CT 06901

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Schedule G: Executory Contracts and Unexpired Leases
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2. 1651    AMENDMENT TO LEASE                        6/30/2031         G-1010                   ONE STAMFORD REALTY L.P.           DIANA LENKOWSKY
                                                                                                                                   ONE STAMFORD FORUM
                                                                                                                                   201 BOULEVARD
                                                                                                                                   STAMFORD, CT 06901

2. 1652    LEASE                                     3/31/2037         G-1009                   ONE STAMFORD REALTY L.P.           DIANA LENKOWSKY
                                                                                                                                   ONE STAMFORD FORUM
                                                                                                                                   201 BOULEVARD
                                                                                                                                   STAMFORD, CT 06901

2. 1653    SUBLEASE                                  6/30/2028         G-1029                   PHARMACEUTICAL RESEARCH            EDWARD MAHONY
                                                                                                ASSOCIATES L.P.                    ONE STAMFORD FORUM
                                                                                                                                   201 TRESSER BOULEVARD
                                                                                                                                   STAMFORD, CT 06901

2. 1654    PRINCETON SOUTH CORPORATE                                   G-1011                   PRINCETON OFFICE CENTER, LLC       C/O VISION
           CENTER OFFICE LEASE                                                                                                     1 BLOOMFIELD AVE
                                                                                                                                   MOUNTAIN LAKES, NJ 07046

2. 1655    SUBLEASE AGREEMENT                        4/30/2025         G-1020                   SKADDEN, ARPS, SLATE, MEAGHER &    OFFICE ADMINISTRATOR
                                                                                                FLOM LLP                           1440 NEW YORK AVENUE, NW
                                                                                                                                   2ND FLOOR
                                                                                                                                   WASHINGTON, DC 20005

2. 1656    APARTMENT LEASE CONTRACT                  9/12/2020         G-1015                   THE VAULT APARTMENTS               120 TOWNE STREET
                                                                                                                                   STAMFORD, CT 06902

2. 1657    LEASE CONTRACT                            9/12/2019         G-1014                   THE VAULT APARTMENTS               120 TOWNE STREET
                                                                                                                                   STAMFORD, CT 06902

2. 1658    LEASE CONTRACT                            1/23/2020         G-1016                   THE VAULT APARTMENTS               120 TOWNE STREET
                                                                                                                                   STAMFORD, CT 06902

2. 1659    LEASE AGREEMENT                            9/1/2020         G-1004                   THREE HARBOR POINT SQUARE, LLC     1 ELMCROFT ROAD, SUITE 500
                                                                                                                                   STAMFORD, CT 06902

2. 1660    SUBLEASE                                  6/30/2028         G-1030                   TXP SERVICES INC.                  EDWARD MAHONY
                                                                                                                                   ONE STAMFORD FORUM
                                                                                                                                   201 TRESSER BOULEVARD
                                                                                                                                   STAMFORD, CT 06901


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2. 1661    SUBLEASE                                 12/30/2020         G-1013                   UBS AG                            CORPORATE REAL ESTATE
                                                                                                                                  UBS FINANCIAL SERVICES INC.
                                                                                                                                  1000 HARBOR BOULEVARD, FIFTH
                                                                                                                                  FLOOR
                                                                                                                                  WEEHAWKEN, NJ 07086

2. 1662    SUBLEASE                                 12/30/2020         G-1031                   UBS FINANCIAL SERVICES INC.       CORPORATE REAL ESTATE
                                                                                                                                  1000 HARBOR BOULEVARD, FIFTH
                                                                                                                                  FLOOR
                                                                                                                                  WEEHAWKEN, NJ 07086

2. 1663    LEASE                                    10/22/2014         G-1018                   VIADUCT LANDHOLDINGS              494 GLENBROOK ROAD-SUITE #5
                                                                                                MANAGEMENT & DEVELOPOMENT, LLC    STAMFORD, CT 06906

2. 1664    LEASE EXTENSION AGREEMENT                10/23/2018         G-1017                   VIADUCT LANDHOLDINGS              494 GLENBROOK ROAD-SUITE #5
                                                                                                MANAGEMENT & DEVELOPOMENT, LLC    STAMFORD, CT 06906

2. 1665    LEASE MODIFICATION AGREEMENT             10/22/2017         G-1019                   VIADUCT LANDHOLDINGS              494 GLENBROOK ROAD-SUITE #5
                                                                                                MANAGEMENT & DEVELOPOMENT, LLC    STAMFORD, CT 06906

2. 1666    FIRST DEUTSCH SUBLEASE                    3/31/2027         G-1025                   W.J. DEUTSCH & SONS LTD., DBA     PETER DEUTSCH
                                                                                                DEUTSCH FAMILY WINE & SPIRITS     709 WESTCHESTER AVENUE
                                                                                                                                  WHITE PLAINS, NY 10604

2. 1667    SECOND DEUTSCH SUBLEASE                   3/31/2027         G-1026                   W.J. DEUTSCH & SONS LTD., DBA     PETER DEUTSCH
                                                                                                DEUTSCH FAMILY WINE & SPIRITS     709 WESTCHESTER AVENUE
                                                                                                                                  WHITE PLAINS, NY 10604




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Intercompany Agreements

2. 1668    MANUFACTURER'S LICENSE                                      G-3001                   LADENBURG B.V.                ONE STAMFORD FORUM
           AGREEMENT FOR OXYCODONE (NON-                                                                                      201 TRESSER BLVD
           ADF) - ISREAL                                                                                                      STAMFORD, CT 06901

2. 1669    AMENDMENT TO HEAD LICENSE                                   G-3002                   MUNDIPHARMA BRADENTON B.V.    LEUSDEREND 16
           AGREEMENT EFFECTIVE AS OF 1                                                                                        3832 RC LEUSDEN
           OCTOBER 2013, DATED AUGUST 28, 2019                                                                                AMERSFOORT 3800 CB
                                                                                                                              NIGER

2. 1670    MANUFACTURER'S LICENSE                                      G-3014                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCODONE (NON-                                                                                      3832 RC LEUSDEN
           ADF) - ARAB STATES                                                                                                 POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER

2. 1671    MANUFACTURER'S LICENSE                                      G-3041                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCODONE (NON-                                                                                      3832 RC LEUSDEN
           ADF) - AUSTRIA                                                                                                     POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER

2. 1672    MANUFACTURER'S LICENSE                                      G-3013                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCODONE (NON-                                                                                      3832 RC LEUSDEN
           ADF) - BELGIUM                                                                                                     POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER

2. 1673    MANUFACTURER'S LICENSE                                      G-3040                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCODONE (NON-                                                                                      3832 RC LEUSDEN
           ADF) - CEE                                                                                                         POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER

2. 1674    MANUFACTURER'S LICENSE                                      G-3039                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCODONE (NON-                                                                                      3832 RC LEUSDEN
           ADF) - CHINA                                                                                                       POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER




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2. 1675    MANUFACTURER'S LICENSE                                      G-3038                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCODONE (NON-                                                                                      3832 RC LEUSDEN
           ADF) - CYPRUS                                                                                                      POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER

2. 1676    MANUFACTURER'S LICENSE                                      G-3037                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCODONE (NON-                                                                                      3832 RC LEUSDEN
           ADF) - DENMARK                                                                                                     POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER

2. 1677    MANUFACTURER'S LICENSE                                      G-3036                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCODONE (NON-                                                                                      3832 RC LEUSDEN
           ADF) - EGYPT                                                                                                       POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER

2. 1678    MANUFACTURER'S LICENSE                                      G-3035                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCODONE (NON-                                                                                      3832 RC LEUSDEN
           ADF) - FINLAND                                                                                                     POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER

2. 1679    MANUFACTURER'S LICENSE                                      G-3034                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCODONE (NON-                                                                                      3832 RC LEUSDEN
           ADF) - FRANCE                                                                                                      POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER

2. 1680    MANUFACTURER'S LICENSE                                      G-3033                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCODONE (NON-                                                                                      3832 RC LEUSDEN
           ADF) - GERMANY                                                                                                     POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER

2. 1681    MANUFACTURER'S LICENSE                                      G-3032                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCODONE (NON-                                                                                      3832 RC LEUSDEN
           ADF) - HONG KONG                                                                                                   POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER



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2. 1682    MANUFACTURER'S LICENSE                                      G-3031                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCODONE (NON-                                                                                      3832 RC LEUSDEN
           ADF) - ICELAND                                                                                                     POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER

2. 1683    MANUFACTURER'S LICENSE                                      G-3030                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCODONE (NON-                                                                                      3832 RC LEUSDEN
           ADF) - IRELAND                                                                                                     POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER

2. 1684    MANUFACTURER'S LICENSE                                      G-3029                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCODONE (NON-                                                                                      3832 RC LEUSDEN
           ADF) - ITALY                                                                                                       POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER

2. 1685    MANUFACTURER'S LICENSE                                      G-3028                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCODONE (NON-                                                                                      3832 RC LEUSDEN
           ADF) - JORDAN                                                                                                      POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER

2. 1686    MANUFACTURER'S LICENSE                                      G-3027                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCODONE (NON-                                                                                      3832 RC LEUSDEN
           ADF) - KUWAIT                                                                                                      POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER

2. 1687    MANUFACTURER'S LICENSE                                      G-3026                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCODONE (NON-                                                                                      3832 RC LEUSDEN
           ADF) - LEBANON                                                                                                     POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER

2. 1688    MANUFACTURER'S LICENSE                                      G-3025                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCODONE (NON-                                                                                      3832 RC LEUSDEN
           ADF) - NETHERLANDS                                                                                                 POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER



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2. 1689    MANUFACTURER'S LICENSE                                      G-3024                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCODONE (NON-                                                                                      3832 RC LEUSDEN
           ADF) - NEW ZEALAND                                                                                                 POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER

2. 1690    MANUFACTURER'S LICENSE                                      G-3023                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCODONE (NON-                                                                                      3832 RC LEUSDEN
           ADF) - NORWAY                                                                                                      POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER

2. 1691    MANUFACTURER'S LICENSE                                      G-3022                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCODONE (NON-                                                                                      3832 RC LEUSDEN
           ADF) - PHILIPPINES                                                                                                 POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER

2. 1692    MANUFACTURER'S LICENSE                                      G-3021                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCODONE (NON-                                                                                      3832 RC LEUSDEN
           ADF) - POLAND                                                                                                      POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER

2. 1693    MANUFACTURER'S LICENSE                                      G-3020                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCODONE (NON-                                                                                      3832 RC LEUSDEN
           ADF) - SAUDI ARABIA                                                                                                POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER

2. 1694    MANUFACTURER'S LICENSE                                      G-3019                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCODONE (NON-                                                                                      3832 RC LEUSDEN
           ADF) - SINGAPORE                                                                                                   POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER

2. 1695    MANUFACTURER'S LICENSE                                      G-3018                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCODONE (NON-                                                                                      3832 RC LEUSDEN
           ADF) - SOUTH AFRICA                                                                                                POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER



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2. 1696    MANUFACTURER'S LICENSE                                      G-3017                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCODONE (NON-                                                                                      3832 RC LEUSDEN
           ADF) - SPAIN                                                                                                       POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER

2. 1697    MANUFACTURER'S LICENSE                                      G-3016                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCODONE (NON-                                                                                      3832 RC LEUSDEN
           ADF) - SWEDEN                                                                                                      POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER

2. 1698    MANUFACTURER'S LICENSE                                      G-3015                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCODONE (NON-                                                                                      3832 RC LEUSDEN
           ADF) - SWITZERLAND                                                                                                 POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER

2. 1699    MANUFACTURER'S LICENSE                                      G-3042                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCODONE (NON-                                                                                      3832 RC LEUSDEN
           ADF) - UNITED KINGDOM                                                                                              POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER

2. 1700    MANUFACTURER'S LICENSE                                      G-3003                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCONTIN OTR IN                                                                                     3832 RC LEUSDEN
           AUSTRALIA DATED MAY 1, 2016                                                                                        POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER

2. 1701    MANUFACTURER'S LICENSE                                      G-3011                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCONTIN OTR IN                                                                                     3832 RC LEUSDEN
           CANADA DATED FEBRUARY 1, 2016                                                                                      POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER

2. 1702    MANUFACTURER'S LICENSE                                      G-3004                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCONTIN OTR IN                                                                                     3832 RC LEUSDEN
           KOREA DATED JANUARY 1, 2017                                                                                        POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER



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2. 1703    MANUFACTURER'S LICENSE                                      G-3006                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCONTIN OTR IN                                                                                     3832 RC LEUSDEN
           LEBANON DATED JUNE 1, 2017                                                                                         POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER

2. 1704    MANUFACTURER'S LICENSE                                      G-3009                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCONTIN OTR IN                                                                                     3832 RC LEUSDEN
           MALAYSIA DATED JUNE 1, 2017                                                                                        POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER

2. 1705    MANUFACTURER'S LICENSE                                      G-3005                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCONTIN OTR IN                                                                                     3832 RC LEUSDEN
           PHILIPPINES DATED JUNE 1, 2017                                                                                     POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER

2. 1706    MANUFACTURER'S LICENSE                                      G-3010                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCONTIN OTR IN                                                                                     3832 RC LEUSDEN
           SINGAPORE DATED SEPTEMBER 1, 2017                                                                                  POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER

2. 1707    MANUFACTURER'S LICENSE                                      G-3008                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCONTIN OTR IN                                                                                     3832 RC LEUSDEN
           THAILAND DATED NOVEMBER 1, 2017                                                                                    POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER

2. 1708    MANUFACTURER'S LICENSE                                      G-3007                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYCONTIN OTR IN                                                                                     3832 RC LEUSDEN
           VIETNAM DATED APRIL 1, 2017                                                                                        POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
                                                                                                                              NIGER

2. 1709    MANUFACTURER'S LICENSE                                      G-3012                   MUNDIPHARMA DC B.V.           LEUSDEREND 16
           AGREEMENT FOR OXYNEO IN INDIA                                                                                      3832 RC LEUSDEN
           DATED JANUARY 1, 2017                                                                                              POSTBUS 2084
                                                                                                                              AMERSFOORT 3800 CB
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2. 1710    ADMINISTRATIVE SERVICES                                     G-3043                   MUNDIPHARMA INTERNATIONAL          196 CAMBRIDGE SCIENCE PARK
           AGREEMENT (LEGAL SERVICES                                                            LIMITED                            MILTON RD
           RELATED TO ONCOLOGY ASSETS)                                                                                             MILTON, CAMBRIDGE CB4 0AB

2. 1711    IT SERVICES AGREEMENT DATED AS                              G-3044                   MUNDIPHARMA IT SERVICES LIMITED    9TH FLOOR, NEW ZEALAND
           OF JANUARY 1, 2018 BETWEEN PURDUE                                                                                       HOUSE
           PHARMA L.P. AND MUNDIPHARMA IT                                                                                          80 HAYMARKET
           SERVICES LIMITED (UK).                                                                                                  ATTN: PHILIPPE MAZAS

2. 1712    MANUFACTURER'S LICENSE                                      G-3045                   MUNDIPHARMA LABORATORIES GMBH      ST. ALBAN-RHEINWEG 74
           AGREEMENT FOR OXYCONTIN OTR IN                                                                                          BASEL CH-4020
           BRAZIL DATED JANUARY 1, 2017

2. 1713    MANUFACTURER'S LICENSE                                      G-3046                   MUNDIPHARMA LABORATORIES GMBH      ST. ALBAN-RHEINWEG 74
           AGREEMENT FOR OXYCONTIN OTR IN                                                                                          BASEL CH-4020
           MEXICO DATED JANUARY 1, 2017

2. 1714    RESEARCH SERVICES AGREEMENT                                 G-3048                   MUNDIPHARMA RESEARCH LIMITED       UNIT 194 CAMBRIDGE SCIENCE
                                                                                                                                   PARK MILTON RD
                                                                                                                                   MILTON, CAMBRIDGE CB4 0AB

2. 1715    SERVICES AGREEMENT RELATED TO                               G-3047                   MUNDIPHARMA RESEARCH LIMITED       UNIT 194 CAMBRIDGE SCIENCE
           SERVICES PROVIDED BY PPLP TO MRL                                                                                        PARK MILTON RD
                                                                                                                                   MILTON, CAMBRIDGE CB4 0AB

2. 1716    SERVICES AGREEMENT - FACILITIES                             G-3049                   ONE STAMFORD REALTY L.P.           ONE STAMFORD FORUM
           AND ADMINISTRATIVE SERVICES                                                                                             201 TRESSER BLVD
           EFFECTIVE AS OF JULY 1, 2018                                                                                            STAMFORD, CT 06901

2. 1717    LICENSE AGREEMENT EXPENSES                                  G-3050                   PHARMA ASSOCIATES L.P.             ONE STAMFORD FORUM
           AGREEMENT                                                                                                               201 TRESSER BLVD
                                                                                                                                   STAMFORD, CT 06901

2. 1718    ASSIGNMENT AND ASSUMPTION                                   G-3056                   PHARMACEUTICAL RESEARCH            ONE STAMFORD FORUM
           AGREEMENT FOR OXYCODONE (NON-                                                        ASSOCIATES L.P. (F/K/A PURDUE      201 TRESSER BLVD
           ADF) - ARAB STATES                                                                   HOLDINGS L.P.)                     STAMFORD, CT 06901

2. 1719    ASSIGNMENT AND ASSUMPTION                                   G-3053                   PHARMACEUTICAL RESEARCH            ONE STAMFORD FORUM
           AGREEMENT FOR OXYCODONE (NON-                                                        ASSOCIATES L.P. (F/K/A PURDUE      201 TRESSER BLVD
           ADF) - AUSTRIA                                                                       HOLDINGS L.P.)                     STAMFORD, CT 06901


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2. 1720    ASSIGNMENT AND ASSUMPTION                                   G-3055                   PHARMACEUTICAL RESEARCH          ONE STAMFORD FORUM
           AGREEMENT FOR OXYCODONE (NON-                                                        ASSOCIATES L.P. (F/K/A PURDUE    201 TRESSER BLVD
           ADF) - BELGIUM                                                                       HOLDINGS L.P.)                   STAMFORD, CT 06901

2. 1721    ASSIGNMENT AND ASSUMPTION                                   G-3052                   PHARMACEUTICAL RESEARCH          ONE STAMFORD FORUM
           AGREEMENT FOR OXYCODONE (NON-                                                        ASSOCIATES L.P. (F/K/A PURDUE    201 TRESSER BLVD
           ADF) - CEE                                                                           HOLDINGS L.P.)                   STAMFORD, CT 06901

2. 1722    ASSIGNMENT AND ASSUMPTION                                   G-3051                   PHARMACEUTICAL RESEARCH          ONE STAMFORD FORUM
           AGREEMENT FOR OXYCODONE (NON-                                                        ASSOCIATES L.P. (F/K/A PURDUE    201 TRESSER BLVD
           ADF) - CHINA                                                                         HOLDINGS L.P.)                   STAMFORD, CT 06901

2. 1723    ASSIGNMENT AND ASSUMPTION                                   G-3080                   PHARMACEUTICAL RESEARCH          ONE STAMFORD FORUM
           AGREEMENT FOR OXYCODONE (NON-                                                        ASSOCIATES L.P. (F/K/A PURDUE    201 TRESSER BLVD
           ADF) - CYPRUS                                                                        HOLDINGS L.P.)                   STAMFORD, CT 06901

2. 1724    ASSIGNMENT AND ASSUMPTION                                   G-3079                   PHARMACEUTICAL RESEARCH          ONE STAMFORD FORUM
           AGREEMENT FOR OXYCODONE (NON-                                                        ASSOCIATES L.P. (F/K/A PURDUE    201 TRESSER BLVD
           ADF) - DENMARK                                                                       HOLDINGS L.P.)                   STAMFORD, CT 06901

2. 1725    ASSIGNMENT AND ASSUMPTION                                   G-3078                   PHARMACEUTICAL RESEARCH          ONE STAMFORD FORUM
           AGREEMENT FOR OXYCODONE (NON-                                                        ASSOCIATES L.P. (F/K/A PURDUE    201 TRESSER BLVD
           ADF) - EGYPT                                                                         HOLDINGS L.P.)                   STAMFORD, CT 06901

2. 1726    ASSIGNMENT AND ASSUMPTION                                   G-3077                   PHARMACEUTICAL RESEARCH          ONE STAMFORD FORUM
           AGREEMENT FOR OXYCODONE (NON-                                                        ASSOCIATES L.P. (F/K/A PURDUE    201 TRESSER BLVD
           ADF) - FINLAND                                                                       HOLDINGS L.P.)                   STAMFORD, CT 06901

2. 1727    ASSIGNMENT AND ASSUMPTION                                   G-3076                   PHARMACEUTICAL RESEARCH          ONE STAMFORD FORUM
           AGREEMENT FOR OXYCODONE (NON-                                                        ASSOCIATES L.P. (F/K/A PURDUE    201 TRESSER BLVD
           ADF) - FRANCE                                                                        HOLDINGS L.P.)                   STAMFORD, CT 06901

2. 1728    ASSIGNMENT AND ASSUMPTION                                   G-3075                   PHARMACEUTICAL RESEARCH          ONE STAMFORD FORUM
           AGREEMENT FOR OXYCODONE (NON-                                                        ASSOCIATES L.P. (F/K/A PURDUE    201 TRESSER BLVD
           ADF) - GERMANY                                                                       HOLDINGS L.P.)                   STAMFORD, CT 06901

2. 1729    ASSIGNMENT AND ASSUMPTION                                   G-3074                   PHARMACEUTICAL RESEARCH          ONE STAMFORD FORUM
           AGREEMENT FOR OXYCODONE (NON-                                                        ASSOCIATES L.P. (F/K/A PURDUE    201 TRESSER BLVD
           ADF) - HONG KONG                                                                     HOLDINGS L.P.)                   STAMFORD, CT 06901



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2. 1730    ASSIGNMENT AND ASSUMPTION                                   G-3073                   PHARMACEUTICAL RESEARCH          ONE STAMFORD FORUM
           AGREEMENT FOR OXYCODONE (NON-                                                        ASSOCIATES L.P. (F/K/A PURDUE    201 TRESSER BLVD
           ADF) - ICELAND                                                                       HOLDINGS L.P.)                   STAMFORD, CT 06901

2. 1731    ASSIGNMENT AND ASSUMPTION                                   G-3072                   PHARMACEUTICAL RESEARCH          ONE STAMFORD FORUM
           AGREEMENT FOR OXYCODONE (NON-                                                        ASSOCIATES L.P. (F/K/A PURDUE    201 TRESSER BLVD
           ADF) - IRELAND                                                                       HOLDINGS L.P.)                   STAMFORD, CT 06901

2. 1732    ASSIGNMENT AND ASSUMPTION                                   G-3071                   PHARMACEUTICAL RESEARCH          ONE STAMFORD FORUM
           AGREEMENT FOR OXYCODONE (NON-                                                        ASSOCIATES L.P. (F/K/A PURDUE    201 TRESSER BLVD
           ADF) - ITALY                                                                         HOLDINGS L.P.)                   STAMFORD, CT 06901

2. 1733    ASSIGNMENT AND ASSUMPTION                                   G-3070                   PHARMACEUTICAL RESEARCH          ONE STAMFORD FORUM
           AGREEMENT FOR OXYCODONE (NON-                                                        ASSOCIATES L.P. (F/K/A PURDUE    201 TRESSER BLVD
           ADF) - JORDAN                                                                        HOLDINGS L.P.)                   STAMFORD, CT 06901

2. 1734    ASSIGNMENT AND ASSUMPTION                                   G-3069                   PHARMACEUTICAL RESEARCH          ONE STAMFORD FORUM
           AGREEMENT FOR OXYCODONE (NON-                                                        ASSOCIATES L.P. (F/K/A PURDUE    201 TRESSER BLVD
           ADF) - KUWAIT                                                                        HOLDINGS L.P.)                   STAMFORD, CT 06901

2. 1735    ASSIGNMENT AND ASSUMPTION                                   G-3068                   PHARMACEUTICAL RESEARCH          ONE STAMFORD FORUM
           AGREEMENT FOR OXYCODONE (NON-                                                        ASSOCIATES L.P. (F/K/A PURDUE    201 TRESSER BLVD
           ADF) - LEBANON                                                                       HOLDINGS L.P.)                   STAMFORD, CT 06901

2. 1736    ASSIGNMENT AND ASSUMPTION                                   G-3067                   PHARMACEUTICAL RESEARCH          ONE STAMFORD FORUM
           AGREEMENT FOR OXYCODONE (NON-                                                        ASSOCIATES L.P. (F/K/A PURDUE    201 TRESSER BLVD
           ADF) - NETHERLANDS                                                                   HOLDINGS L.P.)                   STAMFORD, CT 06901

2. 1737    ASSIGNMENT AND ASSUMPTION                                   G-3066                   PHARMACEUTICAL RESEARCH          ONE STAMFORD FORUM
           AGREEMENT FOR OXYCODONE (NON-                                                        ASSOCIATES L.P. (F/K/A PURDUE    201 TRESSER BLVD
           ADF) - NEW ZEALAND                                                                   HOLDINGS L.P.)                   STAMFORD, CT 06901

2. 1738    ASSIGNMENT AND ASSUMPTION                                   G-3065                   PHARMACEUTICAL RESEARCH          ONE STAMFORD FORUM
           AGREEMENT FOR OXYCODONE (NON-                                                        ASSOCIATES L.P. (F/K/A PURDUE    201 TRESSER BLVD
           ADF) - NORWAY                                                                        HOLDINGS L.P.)                   STAMFORD, CT 06901

2. 1739    ASSIGNMENT AND ASSUMPTION                                   G-3064                   PHARMACEUTICAL RESEARCH          ONE STAMFORD FORUM
           AGREEMENT FOR OXYCODONE (NON-                                                        ASSOCIATES L.P. (F/K/A PURDUE    201 TRESSER BLVD
           ADF) - PHILIPPINES                                                                   HOLDINGS L.P.)                   STAMFORD, CT 06901



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2. 1740    ASSIGNMENT AND ASSUMPTION                                   G-3063                   PHARMACEUTICAL RESEARCH          ONE STAMFORD FORUM
           AGREEMENT FOR OXYCODONE (NON-                                                        ASSOCIATES L.P. (F/K/A PURDUE    201 TRESSER BLVD
           ADF) - POLAND                                                                        HOLDINGS L.P.)                   STAMFORD, CT 06901

2. 1741    ASSIGNMENT AND ASSUMPTION                                   G-3062                   PHARMACEUTICAL RESEARCH          ONE STAMFORD FORUM
           AGREEMENT FOR OXYCODONE (NON-                                                        ASSOCIATES L.P. (F/K/A PURDUE    201 TRESSER BLVD
           ADF) - SAUDI ARABIA                                                                  HOLDINGS L.P.)                   STAMFORD, CT 06901

2. 1742    ASSIGNMENT AND ASSUMPTION                                   G-3061                   PHARMACEUTICAL RESEARCH          ONE STAMFORD FORUM
           AGREEMENT FOR OXYCODONE (NON-                                                        ASSOCIATES L.P. (F/K/A PURDUE    201 TRESSER BLVD
           ADF) - SINGAPORE                                                                     HOLDINGS L.P.)                   STAMFORD, CT 06901

2. 1743    ASSIGNMENT AND ASSUMPTION                                   G-3060                   PHARMACEUTICAL RESEARCH          ONE STAMFORD FORUM
           AGREEMENT FOR OXYCODONE (NON-                                                        ASSOCIATES L.P. (F/K/A PURDUE    201 TRESSER BLVD
           ADF) - SOUTH AFRICA                                                                  HOLDINGS L.P.)                   STAMFORD, CT 06901

2. 1744    ASSIGNMENT AND ASSUMPTION                                   G-3057                   PHARMACEUTICAL RESEARCH          ONE STAMFORD FORUM
           AGREEMENT FOR OXYCODONE (NON-                                                        ASSOCIATES L.P. (F/K/A PURDUE    201 TRESSER BLVD
           ADF) - SWITZERLAND                                                                   HOLDINGS L.P.)                   STAMFORD, CT 06901

2. 1745    ASSIGNMENT AND ASSUMPTION                                   G-3054                   PHARMACEUTICAL RESEARCH          ONE STAMFORD FORUM
           AGREEMENT FOR OXYCODONE (NON-                                                        ASSOCIATES L.P. (F/K/A PURDUE    201 TRESSER BLVD
           ADF) - UNITED KINGDOM                                                                HOLDINGS L.P.)                   STAMFORD, CT 06901

2. 1746    ASSIGNMENT AND ASSUMPTION                                   G-3059                   PHARMACEUTICAL RESEARCH          ONE STAMFORD FORUM
           AGREEMENT FOR OXYCODONE                                                              ASSOCIATES L.P. (F/K/A PURDUE    201 TRESSER BLVD
           (NONCADF) - SPAIN                                                                    HOLDINGS L.P.)                   STAMFORD, CT 06901

2. 1747    ASSIGNMENT AND ASSUMPTION                                   G-3058                   PHARMACEUTICAL RESEARCH          ONE STAMFORD FORUM
           AGREEMENT FOR OXYCODONE                                                              ASSOCIATES L.P. (F/K/A PURDUE    201 TRESSER BLVD
           (NONCADF) - SWEDEN                                                                   HOLDINGS L.P.)                   STAMFORD, CT 06901

2. 1748    ADLON THERAPEUTICS L.P. - LIMITED                           550013                   PURDUE PHARMA INC.               ONE STAMFORD FORUM
           PARTNERSHIP AGREEMENT DATED                                                                                           201 TRESSER BLVD
           JUNE 20, 2019                                                                                                         STAMFORD, CT 06901

2. 1749    AVRIO HEALTH L.P. (FKA PURDUE                               550014                   PURDUE PHARMA INC.               ONE STAMFORD FORUM
           PRODUCTS L.P.) - THIRD AMENDED AND                                                                                    201 TRESSER BLVD
           RESTATED LIMITED PARTNERSHIP                                                                                          STAMFORD, CT 06901
           AGREEMENT DATED JULY 11, 2019


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2. 1750    GREENFIELD BIOVENTURES L.P. -                               550016                   PURDUE PHARMA INC.           ONE STAMFORD FORUM
           LIMITED PARTNERSHIP AGREEMENT                                                                                     201 TRESSER BLVD
           DATED JUNE 20, 2019                                                                                               STAMFORD, CT 06901

2. 1751    IMBRIUM THERAPEUTICS L.P. - LIMITED                         550017                   PURDUE PHARMA INC.           ONE STAMFORD FORUM
           PARTNERSHIP AGREEMENT DATED                                                                                       201 TRESSER BLVD
           JUNE 20, 2019                                                                                                     STAMFORD, CT 06901

2. 1752    PURDUE NEUROSCIENCE COMPANY -                               550001                   PURDUE PHARMA INC.           ONE STAMFORD FORUM
           AMENDED AND RESTATED GENERAL                                                                                      201 TRESSER BLVD
           PARTNERSHIP AGREEMENT DATED                                                                                       STAMFORD, CT 06901
           JULY 11, 2019

2. 1753    PURDUE PHARMA MANUFACTURING                                 550002                   PURDUE PHARMA INC.           ONE STAMFORD FORUM
           L.P. - AMENDED AND RESTATED                                                                                       201 TRESSER BLVD
           LIMITED PARTNERSHIP AGREEMENT                                                                                     STAMFORD, CT 06901
           DATED JUNE 20, 2019

2. 1754    PURDUE PHARMACEUTICAL PRODUCTS                              550004                   PURDUE PHARMA INC.           ONE STAMFORD FORUM
           L.P. - THIRD AMENDED AND RESTATED                                                                                 201 TRESSER BLVD
           LIMITED PARTNERSHIP AGREEMENT                                                                                     STAMFORD, CT 06901
           DATED JULY 11, 2019

2. 1755    PURDUE PHARMACEUTICALS L.P. -                               550005                   PURDUE PHARMA INC.           ONE STAMFORD FORUM
           AMENDED AND RESTATED LIMITED                                                                                      201 TRESSER BLVD
           PARTNERSHIP AGREEMENT DATED                                                                                       STAMFORD, CT 06901
           JUNE 20, 2019

2. 1756    PURDUE TRANSDERMAL                                          550006                   PURDUE PHARMA INC.           ONE STAMFORD FORUM
           TECHNOLOGIES L.P. - AMENDED AND                                                                                   201 TRESSER BLVD
           RESTATED LIMITED PARTNERSHIP                                                                                      STAMFORD, CT 06901
           AGREEMENT DATED JUNE 20, 2019

2. 1757    RHODES PHARMACEUTICALS L.P. -                               550009                   PURDUE PHARMA INC.           ONE STAMFORD FORUM
           AMENDED AND RESTATED LIMITED                                                                                      201 TRESSER BLVD
           PARTNERSHIP AGREEMENT DATED                                                                                       STAMFORD, CT 06901
           JULY 11, 2019

2. 1758    AMENDED AND RESTATED QUALITY                                G-3081                   RHODES PHARMACEUTICALS LP    498 WASHINGTON STREET
           SERVICES AGREEMENT                                                                                                COVENTRY, RI 02816



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2. 1759    AMENDED AND RESTATED QUALITY                                G-3082                   RHODES TECHNOLOGIES           498 WASHINGTON STREET
           SERVICES AGREEMENT                                                                                                 COVENTRY, RI 02816

2. 1760    UDF LP - AMENDED AND RESTATED                               550012                   RHODES TECHNOLOGIES           498 WASHINGTON ST.
           LIMITED PARTNERSHIP AGREEMENT                                                                                      COVENTRY, RI 02816
           DATED JULY 24, 2019

2. 1761    AMENDMENT TO SERVICES                                       G-3083                   TXP SERVICES INC.             ONE STAMFORD FORUM
           AGREEMENT DATED AUGUST 8, 2019                                                                                     201 TRESSER BLVD
                                                                                                                              STAMFORD, CT 06901

2. 1762    SERVICES AGREEMENT - DCG & T&E,                             G-3084                   TXP SERVICES INC.             ONE STAMFORD FORUM
           FINANCE & ACCOUNTING SERVICES,                                                                                     201 TRESSER BLVD
           PAYROLL, TAXATION, ACCOUNTS                                                                                        STAMFORD, CT 06901
           PAYABLE, CASH MANAGEMENT AND
           INSURANCE EFFECTIVE AS OF JULY 1,
           2018




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Employment Agreements

2. 1763    EMPLOYMENT AGREEMENT, DATED                                 G-4003                   CHRISTIAN MAZZI           CONFIDENTIAL - AVAILABLE UPON
           JULY 25, 2019                                                                                                  REQUEST

2. 1764    EMPLOYMENT AGREEMENT, DATED AS           12/31/2022         G-4001                   CRAIG J. LANDAU           CONFIDENTIAL - AVAILABLE UPON
           OF OCTOBER 5, 2017, AS AMENDED AS                                                                              REQUEST
           OF MARCH 22, 2018, JUNE 8, 2918 AND
           APRIL 12, 2019

2. 1765    EMPLOYMENT AGREEMENT, DATED                                 G-4004                   JULIE DUCHARME            CONFIDENTIAL - AVAILABLE UPON
           JULY 25, 2019                                                                                                  REQUEST

2. 1766    EMPLOYMENT AGREEMENT, DATED AS                              G-4002                   MARC KESSELMAN            NOT AVAILABLE
           OF JULY 12, 2018, AS AMENDED AS OF
           APRIL 12, 2019




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IT Agreements

2. 1767    AMENDMENT NO. 1 TO SOFTWARE                                 100103                   ADVANCED CHEMISTRY               ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT                                                                    DEVELOPMENT, INC.                8 KING STREET EAST, SUITE 107
                                                                                                                                 TORONTO, ONTARIO M5C 1B5
                                                                                                                                 CANADA

2. 1768    SOFTWARE LICENSE AGREEMENT                                  100102                   ADVANCED CHEMISTRY               ATTN: GENERAL COUNSEL
                                                                                                DEVELOPMENT, INC.                8 KING STREET EAST, SUITE 107
                                                                                                                                 TORONTO, ONTARIO M5C 1B5
                                                                                                                                 CANADA

2. 1769    SCIFINDER SOFTWARE LICENSE                                  100189                   AMERICAN CHEMICAL SOCIETY        ATTN: GENERAL COUNSEL
                                                                                                                                 2540 OLENTANGY RIVER ROAD
                                                                                                                                 COLUMBUS, OH 43202-1505

2. 1770    AMENDMENT #1 TO SOFTWARE                                    100216                   AMG IT SYSTEMS LIMITED           ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT                                                                                                     GARDEN COTTAGE,
                                                                                                                                 BROWNINGHILL
                                                                                                                                 BAUGHURST, HAMPSHIRE RG26
                                                                                                                                 5JZ

2. 1771    SECOND AMENDMENT TO SOFTWARE                                100217                   AMG IT SYSTEMS LIMITED           ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT                                                                                                     GARDEN COTTAGE,
                                                                                                                                 BROWNINGHILL
                                                                                                                                 BAUGHURST, HAMPSHIRE RG26
                                                                                                                                 5JZ

2. 1772    SOFTWARE LICENSE AGREEMENT                                  100215                   AMG IT SYSTEMS LIMITED           ATTN: GENERAL COUNSEL
                                                                                                                                 GARDEN COTTAGE,
                                                                                                                                 BROWNINGHILL
                                                                                                                                 BAUGHURST, HAMPSHIRE RG26
                                                                                                                                 5JZ

2. 1773    SOFTWARE EVALUATION AGREEMENT                               100262                   APPROVA CORPORATION              13560 MORRIS ROAD SUITE 4100
                                                                                                                                 ALPHARETTA, GA 30004

2. 1774    SOFTWARE LICENSE AGREEMENT                                  100286                   ASKME CORPORATION                ATTN: CONTRACTS
                                                                                                                                 ADMINISTRATOR
                                                                                                                                 3290 146TH AVENUE PLACE SE,
                                                                                                                                 SUITE D
                                                                                                                                 BELLEVUE, WA 98007

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2. 1775    END-USER SOFTWARE LICENSE                                   100295                   ATEMPO AMERICAS, INC.            2465 E BAYSHORE RD
           AGREEMENT                                                                                                             PALO ALTO, CA 94303

2. 1776    MAINTENANCE AGREEMENT                                       100296                   ATEMPO AMERICAS, INC.            2465 E BAYSHORE RD
                                                                                                                                 PALO ALTO, CA 94303

2. 1777    SOFTWARE SERVICE AGREEMENT                                  100304                   ATOMUS INC.                      ATTN: GENERAL COUNSEL
                                                                                                                                 1003 HIGH HOUSE ROAD
                                                                                                                                 SUITE 202
                                                                                                                                 CARY, NC 27513

2. 1778    SOFTWARE SERVICE AGREEMENT                                  100305                   ATOMUS, INC.                     ATTN: GENERAL COUNSEL
                                                                                                                                 1003 HIGH HOUSE ROAD
                                                                                                                                 CARY, NC 27513

2. 1779    AMENDMENT NO. 1 TO SOFTWARE                                 100326                   AVAMED CONSULTING GROUP, INC.    ATTN: GENERAL COUNSEL
           LICENSE AND SERVICES AGREEMENT                                                                                        528 RIVERSHIRE PLACE
                                                                                                                                 LINCOLNSHIRE, IL 60069-3812

2. 1780    SOFTWARE LICENSE AND SERVICES                               100327                   AVAMED CONSULTING GROUP, INC.    ATTN: GENERAL COUNSEL
           AGREEMENT                                                                                                             528 RIVERSHIRE PLACE
                                                                                                                                 LINCOLNSHIRE, IL 60069-3812

2. 1781    MASTER SERVICES AGREEMENT                                   100332                   AVEPOINT, INC.                   ATTN: GENERAL COUNSEL
                                                                                                                                 HARBORSIDE FINANCIAL CENTER
                                                                                                                                 PLAZA 10, 3 SECOND STREET, 9TH
                                                                                                                                 FLOOR
                                                                                                                                 JERSEY CITY, NJ 07311

2. 1782    MASTER SOFTWARE LICENSE AND                                 100330                   AVEPOINT, INC.                   ATTN: GENERAL COUNSEL
           SUPPORT AGREEMENT                                                                                                     HARBORSIDE FINANCIAL CENTER
                                                                                                                                 PLAZA 10 3 SECOND STREET, 9TH
                                                                                                                                 FLOOR
                                                                                                                                 JERSEY CITY, NJ 073111

2. 1783    MASTER SOFTWARE SUPPORT                                     100331                   AVEPOINT, INC.                   ATTN: GENERAL COUNSEL
           ADDENDUM                                                                                                              HARBORSIDE FINANCIAL CENTER
                                                                                                                                 PLAZA 10 3 SECOND STREET, 9TH
                                                                                                                                 FLOOR
                                                                                                                                 JERSEY CITY, NJ 073111



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2. 1784    SOFTWARE LICENSE AGREEMENT                                  100333                   AVEPOINT, INC.                     ATTN: GENERAL COUNSEL
                                                                                                                                   HARBORSIDE FINANCIAL CENTER
                                                                                                                                   PLAZA 10, 3 SECOND STREET,
                                                                                                                                   SUITE 202
                                                                                                                                   JERSEY CITY, NJ 07311

2. 1785    SOFTWARE AND DATA LICENSE                                   100404                   BIOPHARM INSIGHT, A DIVISION OF    ATTN: GENERAL COUNSEL
           AGREEMENT                                                                            INFINATA, INC.                     100 RIVER RIDGE DRIVE, SUITE
                                                                                                                                   204

2. 1786    SOFTWARE LICENSE AGREEMENT                                  100463                   BROMIUM INC                        ATTN: GENERAL COUNSEL
                                                                                                                                   20813 STEVENS CREEK
                                                                                                                                   BOULEVARD
                                                                                                                                   SUITE 150
                                                                                                                                   CUPERTINO, CA 95014

2. 1787    CUSTOMER AGREEMENT SUPPLEMENT                               100500                   C/O MOBILEIRON                     ATTN: GENERAL COUNSEL
           #1                                                                                                                      415 EAST MIDDLEFIELD ROAD
                                                                                                                                   MOUNTAIN VIEW, CA 94043

2. 1788    SOFTWARE SUBSCRIPTION AND                                   100624                   CISCO WEBEX                        16720 COLLECTIONS CENTER DR
           LICENSE AGREEMENT                                                                                                       CHICAGO, IL

2. 1789    SOFTWARE ORDER, SUPPORT AND                                 100634                   CLEARWELL SYSTEMS, INC.            ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT                                                                                                       2901 TASMAN DRIVE
                                                                                                                                   SUITE 100
                                                                                                                                   SANTA CLARA, CA 95054

2. 1790    GENERAL SOFTWARE LICENSE                                    100675                   COGNOS CORPORATION                 ATTN: GENERAL COUNSEL
           SUPPORT & SERVICE TERMS                                                                                                 15 WAYSIDE ROAD
                                                                                                                                   BURLINGTON, MA 01803

2. 1791    SOFTWARE LICENSE AND SUPPORT                                100674                   COGNOS CORPORATION                 ATTN: GENERAL COUNSEL
           AGREEMENT                                                                                                               67 SOUTH BEDFORD STREET
                                                                                                                                   BURLINGTON, MA 01803

2. 1792    SOFTWARE ORDER, SUPPORT AND                                 100673                   COGNOS CORPORATION                 ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT                                                                                                       67 SOUTH BEDFORD STREET
                                                                                                                                   BURLINGTON, MA 01803




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2. 1793    SOFTWARE ORDER, SUPPORT AND                                 100676                   COGNOS CORPORATION               ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT                                                                                                     67 SOUTH BEDFORD STREET
                                                                                                                                 BURLINGTON, MA 01803

2. 1794    SOFTWARE ORDER, SUPPORT AND                                 100677                   COGNOS CORPORATION               ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT                                                                                                     67 SOUTH BEDFORD STREET
                                                                                                                                 BURLINGTON, MA 01803

2. 1795    SOFTWARE ORDER, SUPPORT AND                                 100678                   COGNOS CORPORATION               ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT                                                                                                     15 WAYSIDE ROAD
                                                                                                                                 BURLINGTON, MA 01803

2. 1796    SOFTWARE ORDER, SUPPORT AND                                 100679                   COGNOS CORPORATION               ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT                                                                                                     15 WAYSIDE ROAD
                                                                                                                                 BURLINGTON, MA 01803

2. 1797    SOFTWARE ORDER, SUPPORT AND                                 100680                   COGNOS CORPORATION               ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT                                                                                                     15 WAYSIDE ROAD
                                                                                                                                 BURLINGTON, MA 01803

2. 1798    NOTIFICATION OF LICENSED                                    100681                   COGNOS INCORPORATED              3755 RIVERSIDE DRIVE
           SOFTWARE USER                                                                                                         PO BOX 9707
                                                                                                                                 STATION T
                                                                                                                                 OTTAWA, ONTARIO K1G 4K9
                                                                                                                                 CANADA

2. 1799    SOFTWARE LICENSE AGREEMENT                                  100789                   CSS INFORMATICS, INC             ATTN: GENERAL COUNSEL
                                                                                                                                 1255 POST STREET
                                                                                                                                 SAN FRANCISCO, CA 94109

2. 1800    SOFTWARE LICENSE AGREEMENT                                  100790                   CUADRA ASSOCIATES, INC.          ATTN: GENERAL COUNSEL
                                                                                                                                 11835 W. OLYMPIC BLVD, SUITE
                                                                                                                                 855
                                                                                                                                 LOS ANGELES, CA 90064

2. 1801    END SOFTWARE PRODUCT LICENSE                                100805                   CYA TECHNOLOGIES, INC.           ATTN: GENERAL COUNSEL
           AGREEMENT                                                                                                             100 TECHNOLOGY DRIVE
                                                                                                                                 TRUMBULL, CT 06611




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2. 1802    ADDENDUM F TO ENTERPRISE                                    100810                   D2C SOFTWARE SOLUTIONS LTD      ATTN: ROBIN-JAN DELANGE
           SOFTWARE LICENSE AND SUPPORT                                                                                         CHIEF TECHNOLOGY OFFICER
                                                                                                                                777 POST OAK BOULEVARD,
                                                                                                                                SUITE 975
                                                                                                                                HOUSTON, TX 77056

2. 1803    ADDENDUM E TO ENTERPRISE                                    100812                   D2C SOFTWARE SOLUTIONS LTD.     ATTN: ROBIN-JAN DE LANGE
           SOFTWARE LICENSE AND SUPPORT                                                                                         CHIEF TECHNOLOGY OFFICER
           AGREEMENT

2. 1804    SOFTWARE LICENSE AND SUPPORT                                100813                   D2C SOLUTIONS                   ATTN: GENERAL COUNSEL
           AGREEMENT                                                                                                            777 POST OAK, SUITE 975
                                                                                                                                HOUSTON, TX 77056

2. 1805    MASTER SERVICES AGREEMENT                                   100824                   DATA DESIGN CONSULTING INC      ATTN: DAN CONSULTING INC
                                                                                                                                4 TERRACE PARK
                                                                                                                                GARDEN CITY, NY 11530

2. 1806    DATABASICS, INC. - SOW 2019-1             6/30/2020         106017                   DATABASICS INC                  ATTN: GENERAL COUNSEL
           MODIFICATIONS CW2367557 (LH.RA)                                                                                      12700 SUNRISE VALLEY DR STE
           EFFECTIVE JULY 01, 2019                                                                                              102
                                                                                                                                RESTON, VA 20191

2. 1807    SOFTWARE LICENSE AGREEMENT                                  100830                   DATAFARM, INC.                  ATTN: SHYLENDRA KUMAR
                                                                                                                                221 BOSTON POST ROAD EAST,
                                                                                                                                SUITE 480
                                                                                                                                MARLBOROUGH, MA 01752

2. 1808    SOFTWARE SUPPORT AGREEMENT                                  100829                   DATAFARM, INC.                  ATTN: GENERAL COUNSEL
                                                                                                                                221 BOSTON POST ROAD EAST,
                                                                                                                                SUITE 480
                                                                                                                                MARLBOROUGH, MA 01752

2. 1809    SOFTWARE LICENSE AGREEMENT                                  100864                   DENDRITE INTERNATIONAL INC.     ATTN: GENERAL COUNSEL
                                                                                                                                1200 MT. KEMBLE AVENUE
                                                                                                                                MORRISTOWN, NJ 07960

2. 1810    SOFTWARE LICENSE AGREEMENT                                  100916                   DISCUSS DATA SOLUTIONS, INC.    ATTN: GENERAL COUNSEL
                                                                                                                                505 EIGHTH AVENUE, SUITE 802
                                                                                                                                NEW YORK, NY 10018



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2. 1811    ADDENDUM #2 TO SOFTWARE END                                 100925                   DOCUMENTUM, INC.                6801 KOLL CENTER PARKWAY
           USER LICENSE AGREEMENT                                                                                               PLEASANTON, CA 94566-7047

2. 1812    FIRST ADDENDUM TO SOFTWARE END                              100924                   DOCUMENTUM, INC.                6801 KOLL CENTER PARKWAY
           USER LICENSE AGREEMENT                                                                                               PLEASANTON, CA 94566-7047

2. 1813    SOFTWARE END USER LICENSE                                   100926                   DOCUMENTUM, INC.                ATTN: GENERAL COUNSEL
           AGREEMENT                                                                                                            4683 CHABOT DRIVE, SUITE 102
                                                                                                                                PLEASANTON, CA 94588`

2. 1814    THE THIRD ADDENDUM TO SOFTWARE                              100927                   DOCUMENTUM, INC.                6801 KOLL CENTER PARKWAY
           END USER LICENSE AGREEMENT                                                                                           PLEASANTON, CA 94566-7047

2. 1815    PERPETUAL SOFTWARE LICENSE                                  100972                   ECORA CORPORATION               ESW CAPITAL, LLC
                                                                                                                                1675 S STATE ST STE B
                                                                                                                                DOVER, DE 19901

2. 1816    AMENDMENT NO. 1 TO SOFTWARE                                 100976                   EDGE DYNAMICS, INC.             ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT                                                                                                    1001 MARSHALL STREET, SUITE
                                                                                                                                500
                                                                                                                                REDWOOD CITY, CA 94063

2. 1817    SOFTWARE LICENSE AGREEMENT WITH                             100975                   EDGE DYNAMICS, INC.             ATTN: GENERAL COUNSEL
           EDGE DYNAMICS                                                                                                        1001 MARSHALL STREET, SUITE
                                                                                                                                500
                                                                                                                                REDWOOD CITY, CA 94063

2. 1818    SOFTWARE END USER LICENSE                                   101015                   EMC CORPORATION                 ATTN: GENERAL COUNSEL
           AGREEMENT                                                                                                            176 SOUTH STREET
                                                                                                                                HOPKINTON, MA 01748

2. 1819    MASTER SERVICES AGREEMENT                                   101040                   ENVISION PHARMA INC             ATTN: GENERAL COUNSEL
                                                                                                                                3530 POST ROAD
                                                                                                                                SOUTHPORT, CT 06890

2. 1820    SOFTWARE LICENSE AND SERVICE                                101041                   ENVISION PHARMA, INC.           ATTN: GENERAL COUNSEL
           AGREEMENT                                                                                                            3530 POST ROAD
                                                                                                                                SOUTHPORT, CT 06890




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2. 1821    LICENSE AGREEMENT                                           101042                   EOS INTERNATIONAL                     3300 NORTH ASHTON BLVD
                                                                                                                                      SUITE 500
                                                                                                                                      LEHI, UT 84043

2. 1822    SUPPORT AND MAINTENANCE                                     101142                   FCG CSI, INC. DBA FIRST CONSULTING    ATTN: GENERAL COUNSEL
           AGREEMENT                                                                            GROUP                                 575 EAST SWEDESFORD ROAD
                                                                                                                                      WAYNE, PA 19087

2. 1823    SOFTWARE LICENSE AGREEMENT                                  101175                   FOUNDSTONE, INC.                      ATTN: GENERAL COUNSEL
                                                                                                                                      27201 PUERTA REAL, SUITE 400
                                                                                                                                      MISSION VIEJO, CA 92691

2. 1824    MASTER CLIENT AGREEMENT                                     101203                   GARTNER, INC.                         ATTN: GENERAL COUNSEL
                                                                                                                                      56 TOP GALLANT ROAD
                                                                                                                                      P.O. BOX 10212
                                                                                                                                      STAMFORD, CT 06904

2. 1825    QUOTE AND TERMS AND CONDITIONS                              101248                   GLOBAL VISION INC.                    ATTN: GENERAL COUNSEL
           FOR DOCU-PROOF SOFTWARE                                                                                                    15795 GOUIN BLVD WEST
                                                                                                                                      MONTREAL, QC H9H 1C5
                                                                                                                                      CANADA

2. 1826    AMENDMENT NO. 1 CONTENT                                     101251                   GLOBAL VISION, INC.                   ATTN: GENERAL COUNSEL
           COMPARATOR SOFTWARE AGREEMENT                                                                                              15795 GOUIN BOULEVARD
                                                                                                                                      MONTREAL, QC H9H 1C5
                                                                                                                                      CANADA

2. 1827    AMENDMENT NO. 1 INSPECTION                                  101250                   GLOBAL VISION, INC.                   ATTN: GENERAL COUNSEL
           SOFTWARE AGREEMENT                                                                                                         15795 GOUIN BOULEVARD
                                                                                                                                      MONTREAL, QC H9H 1C5
                                                                                                                                      CANADA

2. 1828    AMENDMENT NO. 5 TO SOFTWARE                                 101253                   GLOBAL VISION, INC.                   ATTN: GENERAL COUNSEL
           TERMS AND CONDITIONS                                                                                                       15795 GOUIN BOULEVARD
                                                                                                                                      MONTREAL, QC H9H 1C5
                                                                                                                                      CANADA

2. 1829    AMENDMENT NO. 5 TO SOFTWARE                                 101254                   GLOBAL VISION, INC.                   ATTN: GENERAL COUNSEL
           TERMS AND CONDITIONS                                                                                                       15795 GOUIN BOULEVARD
                                                                                                                                      MONTREAL, QC H9H 1C5
                                                                                                                                      CANADA

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2. 1830    IBM SOFTWARE QUOTATION                                      101420                   IBM                              ATTN: GENERAL COUNSEL
                                                                                                                                 550 KING STREET LKG1
                                                                                                                                 LITTLETON, MA 01460

2. 1831    ADDENDUM 2 TO IDBS SOFTWARE                                 101425                   ID BUSINESS SOLUTIONS LIMITED    ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT 202354-EK                                                                                           2 OCCAM COURT
                                                                                                                                 SURREY RESEARCH PARK
                                                                                                                                 GUILDFORD, SURREY GU2 7QB

2. 1832    ADDENDUM 3 TO IDBS SOFTWARE                                 101424                   ID BUSINESS SOLUTIONS LIMITED    ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT 202354-EK                                                                                           2 OCCAM COURT
                                                                                                                                 SURREY RESEARCH PARK
                                                                                                                                 GUILDFORD, SURREY GU2 7QB

2. 1833    SOFTWARE LICENSE AGREEMENT                                  101423                   ID BUSINESS SOLUTIONS LIMITED    ATTN: NEIL KIPLING
                                                                                                                                 2 OCCAM COURT, SURREY
                                                                                                                                 RESEARCH PARK
                                                                                                                                 GUILDFORD
                                                                                                                                 GU2 7QB

2. 1834    AMENDMENT ONE TO SOFTWARE                                   101427                   IDS SCHEER AMERICAS, INC.        ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT                                                                                                     11175 CICERO DR
                                                                                                                                 ALPHARETTA, GA 30022

2. 1835    AMENDMENT ONE TO SOFTWARE                                   101426                   IDS SCHEER AMERICAS, INC.        ATTN: GENERAL COUNSEL
           MAINTENANCE AGREEMENT                                                                                                 11175 CICERO DR
                                                                                                                                 ALPHARETTA, GA 30022

2. 1836    SCHEDULE A-1 TO THE SOFTWARE                                101428                   IDS SCHEER AMERICAS, INC.        ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT                                                                                                     11175 CICERO DR
                                                                                                                                 ALPHARETTA, GA 30022

2. 1837    SOFTWARE LICENSE AGREEMENT                                  101429                   IDS SCHEER, INC.                 ATTN: GENERAL COUNSEL
                                                                                                                                 1205 WESTLAKES DRIVE, SUITE
                                                                                                                                 270
                                                                                                                                 BERWYN, PA 19312

2. 1838    AMENDMENT NO. 2 TO CRFTRACK AND                             101433                   IMAGE SOLUTIONS, INC.            4669 CROSSROADS INDUSTRIAL
           DOCCOMPOSER LICENSE AGREEMENT                                                                                         BRIDGETON, MO 63044




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2. 1839    AMENDMENT NO. 6 TO MASTER                                   101435                   IMANY INC.                           ATTN: GENERAL COUNSEL
           LICENSE AND MAINTENANCE                                                                                                   37TH FLOOR 1735 MARKET
           AGREEMENT                                                                                                                 STREET,
                                                                                                                                     PHILADELPHIA, PA 19103

2. 1840    USER-CUSTOMER AGREEMENT                                     101448                   IMS HEALTH INCORPORATED              ATTN: GENERAL COUNSEL
                                                                                                                                     200 CAMPUS DRIVE
                                                                                                                                     COLLEGEVILLE, PA 19426

2. 1841    SOFTWARE LICENSE AGREEMENT                                  101493                   INTEGRATED CLINICAL SYSTEMS, INC     ATTN: GENERAL COUNSEL
                                                                                                                                     38 MILLTOWN ROAD
                                                                                                                                     STOCKTON, NJ 08559

2. 1842    AMENDMENT NO. 1 TO SOFTWARE                                 101494                   INTEGRATED CLINICAL SYSTEMS, INC.    ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT                                                                                                         38 MILL TOWN ROAD
                                                                                                                                     STOCKTON, NJ 05889

2. 1843    AMENDMENT NO. 1 TO SOFTWARE                                 101544                   INXIGHT SOFTWARE INC.                ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT                                                                                                         500 MACARA AVENUE
                                                                                                                                     SUNNYVALE, CA 94085

2. 1844    AMENDMENT NO. 2 TO SOFTWARE                                 101546                   INXIGHT SOFTWARE, INC.               ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT                                                                                                         500 MACARA AVENUE
                                                                                                                                     SUNNYVALE, CA 94085

2. 1845    INXIGHT SOFTWARE LICENSE                                    101545                   INXIGHT SOFTWARE, INC.               ATTN: GENERAL COUNSEL
           AGREEMENT                                                                                                                 500 MACARA AVENUE
                                                                                                                                     SUNNYVALE, CA 94085

2. 1846    SOFTWARE LICENSE AGREEMENT                                  101549                   IOMOSAIC CORPORATION                 ATTN: GENERAL COUNSEL
                                                                                                                                     93 STILES ROAD
                                                                                                                                     SALEM, NH 03079

2. 1847    SUPPORT TERMS AND CONDITIONS                                101565                   IVO NETWORKS, INC.                   1840 GATEWAY DR
                                                                                                                                     SAN MATEO, CA 94404

2. 1848    SOFTWARE LICENSE AGREEMENT                                  101674                   KNOWLEDGE MANAGEMENT                 ATTN: GENERAL COUNSEL
                                                                                                SOLUTIONS, INC.                      839 ELKRIDGE LANDING ROAD,
                                                                                                                                     SUITE 2015
                                                                                                                                     LINTHICUM, MD 21090


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2. 1849    SOFTWARE LICENSE AND SUPPORT                                101675                   KOFAX, INC.                       ATTN: GENERAL COUNSEL
           AGREEMENT                                                                                                              15211 LAGUNA CANYON ROAD
                                                                                                                                  IRVINE, CA 92618

2. 1850    KDB+ SOFTWARE LICENSE AGREEMENT                             101698                   KX SYSTEMS, INC.                  ATTN: GENERAL COUNSEL
                                                                                                                                  555 BRYANT STREET
                                                                                                                                  SUITE 375
                                                                                                                                  PALO ALTO, CA 94301

2. 1851    LICENSED CORE EXPANSION                                     101699                   KX SYSTEMS, INC.                  ATTN: GENERAL COUNSEL
           ADDENDUM NO.1 TO SOFTWARE                                                                                              555 BRYANT STREET #375
           LICENSE AGREEMENT                                                                                                      PALO ALTO, CA 94301

2. 1852    MASTER SOFTWARE LICENSE                                     101724                   LABWARE LIMS                      ATTN: JO WEBBER
           AGREEMENT                                                                                                              THREE MILL ROAD
                                                                                                                                  SUITE 102
                                                                                                                                  WILMINGTON, DE 19806

2. 1853    AMENDMENT #4 TO MASTER                                      101725                   LABWARE, INC.                     ATTN: GENERAL COUNSEL
           SOFTWARE LICENSE AGREEMENT                                                                                             THREE MILL ROAD, SUITE 102
                                                                                                                                  WILMINGTON, DE 19806

2. 1854    MASTER SOFTWARE LICENSE                                     101727                   LABWARE, INC.                     ATTN: GENERAL COUNSEL
           AGREEMENT                                                                                                              THREE MILL ROAD
                                                                                                                                  WILMINGTON, DE 19806

2. 1855    MASTER SOFTWARE LICENSE                                     101763                   LIBERTY INFORMATION MANAGEMENT    ATTN: GENERAL COUNSEL
           AGREEMENT                                                                            SYSTEMS                           3158 RED HILL AVE
                                                                                                                                  SUITE 100
                                                                                                                                  COSTA MESA, CA 92626

2. 1856    SOFTWARE LICENSE AND SERVICES                               101773                   LINCOLN TECHNOLOGIES              ATTN: GENERAL COUNSEL
           AGREEMENT                                                                                                              880 WINTER STREET
                                                                                                                                  WALTHAM, MA 02451

2. 1857    SOFTWARE ESCROW AGREEMENT                                   101774                   LINCOLN-PARRY SOFTESCROW, INC.    ATTN: GENERAL COUNSEL
           BETWEEN LINCOLN-PARRY                                                                                                  400 INERVNESS DRIVE, SOUTH
           SOFTESCROW, INC. AND QUMAS                                                                                             SUITE 200
           LIMITED AND ITS SUBSIDIARY QUMAS                                                                                       ENGLEWOOD, CO 80112
           INC.



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2. 1858    END USER SOFTWARE EVALUATION                                101786                   LIQUENT, INC.                    ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT                                                                                                     1300 VIRGINIA DRIVE
                                                                                                                                 SUITE 125
                                                                                                                                 WASHIINGTON, PA 19034

2. 1859    SOFTWARE LICENSE AND SERVICE                                101797                   LORENZ INTERNATIONAL LLC         ATTN: GENERAL COUNSEL
           AGREEMENT                                                                                                             1515 MARKET ST., SUITE 200
                                                                                                                                 PHILADELPHIA, PA 19102

2. 1860    MASERGY ORD16AUG16 CW2319114                                101898                   MASERGY                          ATTN: GENERAL COUNSEL
           INSTALLATION OF NETWORKING                                                                                            ONE GRAND CENTRAL PLACE, 60
           CIRCUIT (NDK)                                                                                                         E 42ND ST
                                                                                                                                 NEW YORK, NY 10165

2. 1861    SOFTWARE LICENSE AND SUPPORT                                101933                   MDL INFORMATION SYSTEMS, INC.    ATTN: GENERAL COUNSEL
           AGREEMENT                                                                                                             SUITE 710
                                                                                                                                 SAN LEANDRO, CA 94577

2. 1862    FOURTH AMENDMENT TO THE                                     101952                   MEDSTAT                          ATTN: GENERAL COUNSEL
           SERVICES AND LICENSE AGREEMENT                                                                                        777 EAST EISENHOWER PARKWAY
                                                                                                                                 ANN ARBOR, MI 48108

2. 1863    SELECT PLUS SIGNATURE FORM AND                              101986                   MICROSOFT CORP.                  ATTN: GENERAL COUNSEL
           AFFILIATE REGISTRATION FORM                                                                                           ONE MICROSOFT WAY
                                                                                                                                 REDMOND, WA 98052

2. 1864    TAP FRAMEWORK PARTICIPATION                                 101987                   MICROSOFT CORPORATION            ATTN: GENERAL COUNSEL
           AGREEMENT                                                                                                             ONE MICROSOFT WAY
                                                                                                                                 REDMOND, WA 98052-7329

2. 1865    MICROSOFT BUSINESS AGREEMENT                                101988                   MICROSOFT LAW AND CORPORATE      ATTN: GENERAL COUNSEL
                                                                                                AFFAIRS/MSLI, GP                 MSLI: 6100 NEIL ROAD, SUITE 210
                                                                                                                                 RENO, NV 89511
                                                                                                                                 ONE MICROSOFT WAY,
                                                                                                                                 REDMOND, WA 98052

2. 1866    LICENSING AGREEMENT                                         101989                   MICROSOFT LICENSING GP           ATTN: GENERAL COUNSEL
                                                                                                                                 DEPT 551, VOLUME LICENSING
                                                                                                                                 6100 NEIL ROAD, SUITE 210
                                                                                                                                 RENO, NV 89511



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2. 1867    AMENDMENT 1 TO BUSINESS                                     101993                   MICROSOFT LICENSING, GP               ATTN: GENERAL COUNSEL
           AGREEMENT                                                                                                                  DEPT. 551, VOLUME LICENSING
                                                                                                                                      6100 NEIL ROAD, SUITE 201
                                                                                                                                      RENO, NV 89511

2. 1868    MICROSOFT SERVICES AGREEMENT                                101990                   MICROSOFT LICENSING, GP               ATTN: GENERAL COUNSEL
                                                                                                                                      6100 NEIL ROAD, SUITE 210
                                                                                                                                      RENO, NV 89511

2. 1869    MICROSOFT TESTING & ADOPTION                                101994                   MICROSOFT LICENSING, GP               ATTN: GENERAL COUNSEL
           PROGRAM                                                                                                                    6100 NEIL ROAD, SUITE 210
                                                                                                                                      RENO, NV 89511

2. 1870    VOLUME LICENSING AGREEMENT                                  101992                   MICROSOFT LICENSING, GP               ATTN: GENERAL COUNSEL
                                                                                                                                      DEPT. 551. VOLUME LICENSING
                                                                                                                                      6100 NEIL ROAD, SUITE 210
                                                                                                                                      RENO, NV 89511

2. 1871    MASTER SOFTWARE LICENSE AND                                 101998                   MICROSTRATEGY SERVICES                ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT                                                                   CORPORATION                           1861 INTERNATIONAL DRIVE
                                                                                                                                      MCLEAN, VA 22102

2. 1872    AMENDMENT #1 TO END USER LICENSE                            102032                   MOBILE IRON INC                       ATTN: GENERAL COUNSEL
           AGREEMENT                                                                                                                  815A EAST MIDDLEFIELD ROAD
                                                                                                                                      MOUNTIAN VIEW, CA 94043

2. 1873    SUPPORT AND MAINTENANCE                                     102196                   NETWORK ASSOCIATES, INC               ATTN: DAVE ROGERS
           AGREEMENT                                                                                                                  3965 FREEDOM CIRCLE
                                                                                                                                      SANTA CLARA, CA 95054

2. 1874    MASTER PERPETUAL SOFTWARE                                   102197                   NETWORK ASSOCIATES, INC.              ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT                                                                                                          3965 FREEDOM CIRCLE
                                                                                                                                      SANTA CLARA, CA 95054

2. 1875    PERPETUAL SOFTWARE LICENSE                                  102199                   NETWORKS ASSOCIATES, INC              ATTN: DAVE ROGERS
           AGREEMENT                                                                                                                  3965 FREEDOM CIRCLE
                                                                                                                                      SANTA CLARA, CA 95054

2. 1876    ADDENDUM NO. 11 TO WORK                                     102290                   ONLINE BUSINESS APPLICATIONS, INC.    9018 HERITAGE PKY SUITE 00
           AUTHORIZATION AND SCHEDULE OF                                                                                              WOODRIDGE, IL
           FEES

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2. 1877    SOFTWARE LICENSE AGREEMENT NO.                              102291                   ONLINE BUSINESS APPLICATIONS, INC.    ATTN: GENERAL COUNSEL
           990601                                                                                                                     602 EXECUTIVE DRIVE
                                                                                                                                      WILLOWBROOK, IL 60521

2. 1878    SOFTWARE MAINTENANCE AGREEMENT                              102289                   ONLINE BUSINESS APPLICATIONS, INC.    ATTN: GENERAL COUNSEL
                                                                                                                                      9018 HERITAGE PARKWAY SUITE
                                                                                                                                      600
                                                                                                                                      WOODRIDGE, IL 60517

2. 1879    LICENSE AND SERVICES AGREEMENT                              102310                   ORACLE AMERICA, INC.                  ATTN: GENERAL COUNSEL
                                                                                                                                      500 ORACLE PARKWAY
                                                                                                                                      REDWOOD CITY, CA 94065

2. 1880    AMENDMENT 3 TO MASTER SERVIES                               102335                   PACKETLOGIX, INC.                     ATTN: GENERAL COUNSEL
           AGREEMENT                                                                                                                  16 CUTLER ST
                                                                                                                                      WARREN, RI 02885

2. 1881    SOFTWARE TERMS AND CONDITIONS                               102363                   PARTEK INCORPORATED                   ATTN: GENERAL COUNSEL
                                                                                                                                      4 RESEARCH PARK DRIVE
                                                                                                                                      SUITE 100
                                                                                                                                      ST. CHARLES, MO 63304

2. 1882    SOFTWARE LICENSE AGREEMENT                                  102373                   PATHOLOGY DATA SYSTEMS LTD (PDS) ATTN: GENERAL COUNSEL
                                                                                                                                 HAUPTSTRASSE 56
                                                                                                                                 4127 BIRSFELDEN
                                                                                                                                 BASEL

2. 1883    SOFTWARE, LICENSE, SUPPORT                                  102516                   POMS CORPORATION                      ATTN: GENERAL COUNSEL
           PROFESSIONAL SERVICES AGREEMENT                                                                                            21641 RIDGETOP CIR #200
                                                                                                                                      STERLING, VA 20166

2. 1884    ADDENDUM NO. 3 TO SUBSCRIPTION                              102519                   PORZIO LIFE SCIENCES, LLC             ATTN: GENERAL COUNSEL
           AGREEMENT                                                                                                                  100 SOUTHGATE PARKWAY
                                                                                                                                      MORRISTOWN, NJ 07962-1997

2. 1885    PPD STATISTICAL ANALYSIS                                    102524                   PPD DEVELOPMENT, LLC                  ATTN: GENERAL COUNSEL
           APPLICATIONS MULTI-STUDY LIMITED                                                                                           929 NORTH FRONT STREET
           SOFTWARE CODE LICENSE                                                                                                      WILMINGTON, NC 28401
           AGREEMENT 11302016 CW2323324




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2. 1886    AMENDMENT #1 TO MASTER SERVICES                             102559                   PREEMINENT SOLUTIONS, INC.      ATTN: GENERAL COUNSEL
           AGREEMENT                                                                                                            1225 FRANKLIN AVENUE, SUITE
                                                                                                                                325
                                                                                                                                GARDEN CITY, NJ 11530

2. 1887    MASTER SERVICES AGREEMENT                                   102558                   PREEMINENT SOLUTIONS, INC.      ATTN: GENERAL COUNSEL
                                                                                                                                1225 FRANKLIN AVENUE, SUITE
                                                                                                                                325
                                                                                                                                GARDEN CITY, NJ 11530

2. 1888    AMENDMENT #4 TO MASTER SERVICES                             102567                   PRESIDIO NETWORKED SOLUTIONS    ATTN: GENERAL COUNSEL
           AGREEMENT                                                                            GROUP, LLC F/K/A BLUEWATER      1 PENNSYLVANIA PLAZA
                                                                                                COMMUNICATIONS GROUP, LLC       NEW YORK, NY 10119

2. 1889    AMENDMENT #1 TO SOFTWARE                                    102577                   PRIME TECHNOLOGIES, INC.        ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT                                                                                                    20 HAGERTY BOULEVARD, SUITE
                                                                                                                                #1
                                                                                                                                WEST CHESTER, PA 19382

2. 1890    SOFTWARE LICENSE AGREEMENT                                  102578                   PRIME TECHNOLOGIES, INC.        ATTN: GENERAL COUNSEL
                                                                                                                                20 HAGERTY BOULEVARD, SUITE
                                                                                                                                #1
                                                                                                                                WEST CHESTER, PA 19382

2. 1891    SCHEDULE 01 FOR SOFTWARE                                    102642                   PROPACK DATA CORPORATION        ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT                                                                                                    2000 REGENCY PARKWAY, SUITE
                                                                                                                                675
                                                                                                                                CARY, NC 27511

2. 1892    SOFTWARE LICENSE AGREEMENT                                  102643                   PROPACK DATA CORPORATION        ATTN: GENERAL COUNSEL
                                                                                                                                2000 REGENCY PARKWAY, SUITE
                                                                                                                                675
                                                                                                                                CARY, NC 27511

2. 1893    ADDENDUM NO.1 TO SOFTWARE                                   102761                   QUMAS INC.                      ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT                                                                                                    325 COLUMBIA TURNPIKE
                                                                                                                                FLORHAM PARK, NJ 07932

2. 1894    SOFTWARE LICENSE AGREEMENT                                  102759                   QUMAS INC.                      ATTN: GENERAL COUNSEL
                                                                                                                                325 COLUMBIA TURNPIKE
                                                                                                                                FLORHAM PARK, NJ 07932

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2. 1895    ADDENDUM NO. 2 TO SOFTWARE                                  102763                   QUMAS, INC.                    ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT AND SOFTWARE                                                                                      66 YORK STREET
           MAINTENANCE AGREEMENT                                                                                               JERSEY CITY, NJ 07302

2. 1896    ADDENDUM NO. 3 TO SOFTWARE                                  102764                   QUMAS, INC.                    ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT TO                                                                                                66 YORK STREET
           MAINTENANCE AGREEMENT                                                                                               JERSEY CITY, NJ 07302

2. 1897    ADDENDUM TO LICENSE AGREEMENT                               102821                   RELSYS INTERNATIONAL, INC.     ATTN: GENERAL COUNSEL
                                                                                                                               16267 LAGUNA CANYON ROAD
                                                                                                                               IRVINE, CA 92618

2. 1898    FIFTH AMENDMENT TO LICENSE                                  102814                   RELSYS INTERNATIONAL, INC.     ATTN: GENERAL COUNSEL
           AGREEMENT                                                                                                           16267 LAGUNA CANYON ROAD
                                                                                                                               IRVINE, CA 92618

2. 1899    FIRST AMENDMENT TO LICENSE                                  102812                   RELSYS INTERNATIONAL, INC.     ATTN: GENERAL COUNSEL
           AGREEMENT                                                                                                           16267 LAGUNA CANYON ROAD
                                                                                                                               IRVINE, CA 92618

2. 1900    FIRST AMENDMENT TO MODULE                                   102813                   RELSYS INTERNATIONAL, INC.     ATTN: GENERAL COUNSEL
           MAINTENANCE AGREEMENT                                                                                               16267 LAGUNA CANYON ROAD
                                                                                                                               IRVINE, CA 92618

2. 1901    FOURTH AMENDMENT TO                                         102820                   RELSYS INTERNATIONAL, INC.     ATTN: GENERAL COUNSEL
           MAINTENANCE AGREEMENT                                                                                               16267 LAUGNA CANYON ROAD
                                                                                                                               IRVINE, CA 92618

2. 1902    LICENSE AGREEMENT                                           102810                   RELSYS INTERNATIONAL, INC.     ATTN: GENERAL COUNSEL
                                                                                                                               PURDUE: 100 CONNECTICUT
                                                                                                                               AVENUE, NORWALK CT 06850
                                                                                                                               16267 LAGUNA CANYON ROAD,
                                                                                                                               P.O. BOX 50700
                                                                                                                               IRVINE, CA 92619

2. 1903    SECOND AMENDMENT TO LICENSE                                 102806                   RELSYS INTERNATIONAL, INC.     ATTN: GENERAL COUNSEL
           AGREEMENT                                                                                                           16267 LAGUNA CANYON ROAD
                                                                                                                               IRVINE, CA 92618




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2. 1904    SECOND AMENDMENT TO                                         102807                   RELSYS INTERNATIONAL, INC.     ATTN: GENERAL COUNSEL
           MAINTENANCE AGREEMENT                                                                                               16267 LAGUNA CANYON ROAD
                                                                                                                               IRVINE, CA 92618

2. 1905    STATEMENT OF WORK                                           102804                   RELSYS INTERNATIONAL, INC.     ATTN: GENERAL COUNSEL
                                                                                                                               16267 LAGUNA CANYON ROAD
                                                                                                                               IRVINE, CA 92618

2. 1906    STATEMENT OF WORK                                           102805                   RELSYS INTERNATIONAL, INC.     ATTN: GENERAL COUNSEL
                                                                                                                               16267 LAGUNA CANYON ROAD
                                                                                                                               IRVINE, CA 92618

2. 1907    THIRD AMENDMENT TO LICENSE                                  102808                   RELSYS INTERNATIONAL, INC.     ATTN: GENERAL COUNSEL
           AGREEMENT                                                                                                           16267 LAGUNA CANYON ROAD
                                                                                                                               IRVINE, CA 92618

2. 1908    THIRD AMENDMENT TO MIANTENANCE                              102809                   RELSYS INTERNATIONAL, INC.     ATTN: GENERAL COUNSEL
           AGREEMENT                                                                                                           16267 LAGUNA CANYON ROAD
                                                                                                                               IRVINE, CA 92618

2. 1909    SOFTWARE EVALUATION AGREEMENT                               102844                   REVOLUTION ANALYTICS, INC.     ATTN: GENERAL COUNSEL
                                                                                                                               2570 WEST EL CAMINO REAL
                                                                                                                               SUITE 222
                                                                                                                               MOUNTAIN VIEW, CA 94040

2. 1910    SOFTWARE LICENSE AGREEMENT AND                              102842                   REVOLUTION ANALYTICS, INC.     ATTN: GENERAL COUNSEL
           QUOTE                                                                                                               2570 W. EL CAMINO REAL, SUITE
                                                                                                                               222, MOUNTAIN VIEW
                                                                                                                               PALO ALTO, CA 94040

2. 1911    PROFESSIONAL SERVICES AGREEMENT                             102939                   RSA SECURITY, INC.             ATTN: GENERAL COUNSEL
                                                                                                                               174 MIDDLESEX TURNPIKE
                                                                                                                               BEDFORD, MA 10730

2. 1912    DEMONSTRATION SOFTWARE LICENSE                              102945                   RTI-HEALTH SOLUTIONS           PO BOX 12194
           AGREEMENT                                                                                                           3040 EAST CORNWALLIS ROAD
                                                                                                                               RESEARCH TRIANGLE PARK, NC
                                                                                                                               27709-2194




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2. 1913    SOFTWARE LICENSE AGREEMENT                                  102956                   SAFEBOOT, LLC               ATTN: GENERAL COUNSEL
                                                                                                                            SPECTRUM OFFICE SYSTEMS INC.
                                                                                                                            11320 RANDOM HILLS ROAD,
                                                                                                                            SUITE 630
                                                                                                                            FAIRFAX, VA 22030

2. 1914    GENERAL TERMS AND CONDITIONS                                102993                   SAP AMERICA, INC            ATTN: GENERAL COUNSEL
           FOR CLOUD SERVICES AGREEMENT                                                                                     3999 WEST CHESTER PIKE
                                                                                                                            NEWTOWN SQUARE, PA 19073

2. 1915    SUCCESSFACTORS - 2019 RENEWAL             6/29/2020         106039                   SAP AMERICA, INC            ATTN: GENERAL COUNSEL
           ORDER FORM FOR SAP CLOUD                                                                                         3999 WEST CHESTER PIKE
           SERVICES CW2366773 (PB.RA)                                                                                       NEWTOWN SQUARE, PA 19073
           EFFECTIVE JUNE 29, 2019

2. 1916    AMENDMENT #3 TO SOFTWARE END                                103004                   SAP AMERICA, INC.           ATTN: GENERAL COUNSEL
           USER LICENSE AGREEMENT                                                                                           3999 WEST CHESTER PIKE
                                                                                                                            NEWTOWN SQUARE, PA 19073

2. 1917    AMENDMENT 1 TO MAINTENANCE                                  103003                   SAP AMERICA, INC.           ATTN: GENERAL COUNSEL
           SCHEDULE TO SOFTWARE END-USER                                                                                    3999 WEST CHESTER PIKE
           LICENSE AGREEMENT                                                                                                NEWTOWN SQUARE, PA 19073

2. 1918    AMENDMENT 1 TO STATEMENT OF                                 103008                   SAP AMERICA, INC.           ATTN: GENERAL COUNSEL
           WORK TO PROFESSIONAL SERVICES                                                                                    3999 WEST CHESTER PIKE
           AGREEMENT                                                                                                        NEWTOWN SQUARE, PA 19073

2. 1919    AMENDMENT 5 TO SOFTWARE END-                                103006                   SAP AMERICA, INC.           ATTN: GENERAL COUNSEL
           USER LICENSE AGREEMENT                                                                                           3999 WEST CHESTER PIKE
                                                                                                                            NEWTOWN SQUARE, PA 19073

2. 1920    LETTER AGREEMENT                                            103000                   SAP AMERICA, INC.           ATTN: GENERAL COUNSEL
                                                                                                                            3999 WESTCHESTER PIKE
                                                                                                                            NEWTOWN SQUARE, PA 19073

2. 1921    PROFESSIONAL SERVICES AGREEMENT                             103009                   SAP AMERICA, INC.           ATTN: GENERAL COUNSEL
                                                                                                                            3999 WEST CHESTER PIKE
                                                                                                                            NEWTOWN SQUARE, PA 19073




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2. 1922    SAP ORD CW2358039 S4 HANA (DS.EA)                           103007                   SAP AMERICA, INC.               ATTN: GENERAL COUNSEL
                                                                                                                                3999 WEST CHESTER PIKE
                                                                                                                                NEWTOWN SQUARE, PA 19073

2. 1923    SOFTWARE END-USER LICENSE                                   102998                   SAP AMERICA, INC.               ATTN: GENERAL COUNSEL
           AGREEMENT                                                                                                            3999 WEST CHESTER PIKE
                                                                                                                                NEWTOWN SQUARE, PA 19073

2. 1924    SOFTWARE ORDER FORM NO. 32                                  103005                   SAP AMERICA, INC.               ATTN: GENERAL COUNSEL
                                                                                                                                3999 WEST CHESTER PIKE
                                                                                                                                NEWTOWN SQUARE, PA 19073

2. 1925    AMENDMENT NO. 1 TO INSTITUTE                                103020                   SAS INSTITUTE, INC.             ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT SOURCE CODE                                                                                        SAS CAMPUS DRIVE
           ESCROW                                                                                                               CARY, NC 27513

2. 1926    AMENDMENT NO. 4 TO MASTER                                   103017                   SAS INSTITUTE, INC.             ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT ELECTRONIC                                                                                         SAS CAMPUS DRIVE
           SOFTWARE DOWNLOAD                                                                                                    CARY, NC 27513

2. 1927    MASTER LICENSE AND SUPPORT                                  103047                   SERVICE-NOW.COM                 ATTN: GENERAL COUNSEL
           AGREEMENT                                                                                                            LEGAL COUNSEL: 12225 EL
                                                                                                                                CAMINO REAL, SUITE 100
                                                                                                                                SAN DIEGO, CA 92130

2. 1928    MASTER LICENSE AGREEMENT                                    103110                   SKILLSOFT CORPORATION           ATTN: GENERAL COUNSEL
                                                                                                                                107 NORTHEASTERN BLVD
                                                                                                                                NASHUA, NH 03062

2. 1929    SOFTWARE ORDER FORM                                         103111                   SKILLSOFT CORPORATION           ATTN: GENERAL COUNSEL
                                                                                                                                107 NORTHEASTERN BLVD
                                                                                                                                NASHUA, NH 03062

2. 1930    SOFTWARE LICENSE AGREEMENT                                  103113                   SKURA CORPORATION, INC.         ATTN: GENERAL COUNSEL
                                                                                                                                2275 UPPER MIDDLE ROAD EAST,
                                                                                                                                SUITE 200
                                                                                                                                OAKVILLE, ONTARIO, CANADA ON
                                                                                                                                L6H 0O3
                                                                                                                                CANADA




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2. 1931    LICENSE AND USE AGREEMENT                                   103115                   SMG MARKETING GROUP INC             ATTN: GENERAL COUNSEL
                                                                                                                                    875 NORTH MICHIGAN AVENUE
                                                                                                                                    CHICAGO, IL 60611

2. 1932    DATABASE LICENSE USE & PURCHASE                             103116                   SMG MARKETING GROUP INC.            ATTN: GENERAL COUNSEL
           AGREEMENT                                                                                                                875 NORTH MICHIGAN AVENUE
                                                                                                                                    CHICAGO, IL 60611

2. 1933    SOFTWARE LICENSE AGREEMENT -                                103125                   SOFTWARE AG USA, INC.               ATTN: GENERAL COUNSEL
           AMENDMENT NO. 3                                                                                                          2 PENNSYLVANIA PLAZA
                                                                                                                                    NEW YORK, NY 10001

2. 1934    TERMS OF SERVICE AGREEMENT                                  103171                   SPLUNK INC.                         ATTN: GENERAL COUNSEL
                                                                                                                                    250 BRANNAN STREET
                                                                                                                                    SAN FRANCISCO 94107

2. 1935    SPOTFIRE SOFTWARE LICENSE AND                               103172                   SPOTFIRE, INC.                      ATTN: GENERAL COUNSEL
           MAINTENANCE AGREEMENT                                                                                                    212 ELM STREET
                                                                                                                                    SOMERVILLE, MA 02144

2. 1936    SOFTWARE LICENSE AGREEMENT                                  103186                   STEEPROCK, INC.                     ATTN: GENERAL COUNSEL
                                                                                                                                    19 BRISTOL STREET
                                                                                                                                    CAMBRIDGE, MA 02142

2. 1937    SOFTWARE LICENSE AGREEMENT                                  103187                   STEEPROCK, INC.                     ATTN: GENERAL COUNSEL
                                                                                                                                    19 BRISTOL STREET
                                                                                                                                    CAMBRIDGE, MA 02142

2. 1938    SOFTWARE LICENSE AGREEMENT                                  103188                   STEEPROCK, INC.                     ATTN: GENERAL COUNSEL
                                                                                                                                    19 BRISTOL STREET
                                                                                                                                    CAMBRIDGE, MA 02142

2. 1939    AMENDMENT G TO TERM SOFTWARE                                103196                   STERLING COMMERCE (AMERICA), INC.   350 NORTH SAINT PAUL STREET
           LICENSE AGREEMENT                                                                                                        DALLAS, TX 75201

2. 1940    YEAR 2000 SERVICES AGREEMENT                                103215                   STRATEGIA CORPORATION               ATTN: GENERAL COUNSEL
                                                                                                                                    P.O. BOX 37144
                                                                                                                                    LOUISVILLE, KY 40233




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2. 1941    CONTRACT ASSUMPTION AGREEMENT                               103230                   SUPPLY CHAIN TECHNOLOGIES LLC    ATTN: GENERAL COUNSEL
                                                                                                                                 303 ROUTE 35
                                                                                                                                 UNIT 5
                                                                                                                                 POINT PLEASANT BEACH 08742

2. 1942    ADDENDUM TO THE STATEMENT OF                                103239                   SYMANTEC CORPORATION             ATTN: GENERAL COUNSEL
           WORK                                                                                                                  350 ELLIS STREET
                                                                                                                                 MOUNTAIN VIEW, CA 94043

2. 1943    AMENDMENT 1 TO MANAGED SECURITY                             103242                   SYMANTEC CORPORATION             ATTN: GENERAL COUNSEL
           SERVICES CERTIFICATE                                                                                                  350 ELLIS STREET
                                                                                                                                 MOUNTAIN VIEW, CA 94043

2. 1944    AMENDMENT NO. 1 TO SERVICES                                 103240                   SYMANTEC CORPORATION             ATTN: GENERAL COUNSEL
           AGREEMENT                                                                                                             350 ELLIS STREET
                                                                                                                                 MOUNTAIN VIEW, CA 94043

2. 1945    CHANGE ORDER FORM                                           103238                   SYMANTEC CORPORATION             ATTN: GENERAL COUNSEL
                                                                                                                                 20330 STEVENS CREEK
                                                                                                                                 BOULEVARD
                                                                                                                                 CUPERTINO, CA 95014

2. 1946    CHANGES ADDENDUM TO THE                                     103244                   SYMANTEC CORPORATION             ATTN: GENERAL COUNSEL
           REWARDS PROGRAM                                                                                                       20330 STEVENS CREEK
                                                                                                                                 BOULEVARD
                                                                                                                                 CUPERTINO, CA 95014

2. 1947    MASTER SERVICES AGREEMENT                                   103237                   SYMANTEC CORPORATION             ATTN: GENERAL COUNSEL
                                                                                                                                 20330 STEVENS CREEK
                                                                                                                                 BOULEVARD
                                                                                                                                 CUPERTINO, CA 95014

2. 1948    REWARDS PROGRAM AGREEMENT -                                 103245                   SYMANTEC CORPORATION             ATTN: GENERAL COUNSEL
           TERMS AND CONDITIONS                                                                                                  350 ELLIS STREET
                                                                                                                                 MOUNTAIN VIEW, CA 94043

2. 1949    SOW TO MASTER SERVICES AGMT.                                103246                   SYMANTEC CORPORATION             ATTN: GENERAL COUNSEL
                                                                                                                                 20330 STEVENS CREEK
                                                                                                                                 BOULEVARD
                                                                                                                                 CUPERTINO, CA 95014



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2. 1950    SOW TO MASTER SERVICES AGMT.                                103248                   SYMANTEC CORPORATION            ATTN: GENERAL COUNSEL
                                                                                                                                20330 STEVENS CREEK
                                                                                                                                BOULEVARD
                                                                                                                                CUPERTINO, CA 95014

2. 1951    TERMINATION LETTER - TERMINATES                             103249                   SYMANTEC CORPORATION            ATTN: GENERAL COUNSEL
           SOW DATED 6122007                                                                                                    350 ELLIS STREET
                                                                                                                                MOUNTAIN VIEW, CA 94043

2. 1952    SCHEDULE #7 TO ISIS DESKTOP/HOST                            103261                   SYMYX SOFTWARE INC              ATTN: GENERAL COUNSEL
           SOFTWARE LICENSE AGREEMENT                                                                                           2440 CAMINO RAMON
                                                                                                                                SUITE 300
                                                                                                                                SAN RAMON, CA 94583

2. 1953    SCHEDULE 6 TO SOFTWARE LICENSE                              103259                   SYMYX SOFTWARE INC              ATTN: GENERAL COUNSEL
           AGREEMENT                                                                                                            2440 CAMINO RAMON
                                                                                                                                SUITE 300
                                                                                                                                SAN RAMON, CA 94583

2. 1954    SCHEDULE #7 TO ISIS DESKTOP/HOST                            103263                   SYMYX SOFTWARE, INC.            ATTN: GENERAL COUNSEL
           SOFTWARE LICENSE AGREEMENT                                                                                           2440 CAMINO RAMON
                                                                                                                                SUITE 300
                                                                                                                                SAN RAMON, CA 94583

2. 1955    SOFTWARE LICENSE AGREEMENT                                  103285                   TDS TOXICOLOGY DATA SYSTEMS,    ATTN: GENERAL COUNSEL
                                                                                                LTD.                            HAUPTSTRASSE 56
                                                                                                                                4127 BIRSFELDEN
                                                                                                                                BASEL

2. 1956    SOFTWARE LICENSE AGREEMENT                                  103287                   TENABLE NETWORK SECURITY        ATTN: GENERAL COUNSEL
                                                                                                                                7063 COLUMBIA GATEWAY DRIVE,
                                                                                                                                SUITE 100
                                                                                                                                COLUMBIA, MD 21046

2. 1957    LEASE AGREEMENT                                             103346                   THE JOLT AGENCY, LLC            ATTN: GENERAL COUNSEL
                                                                                                                                210 SUMMIT AVENUE
                                                                                                                                MONTVALE, NJ 07645

2. 1958    AMENDMENT TO SOFTWARE LICENSE &                             103409                   TIBCO SOFTWARE, INC.            ATTN: GENERAL COUNSEL
           MAINTENANCE AGREEMENT                                                                                                3307 HILLVIEW AVENUE
                                                                                                                                PALO ALTO, CA 94304

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2. 1959    SOFTWARE LICENSE AND                                        103408                   TIBCO SOFTWARE, INC.            ATTN: GENERAL COUNSEL
           MAINTENANCE AGREEMENT                                                                                                PURDUE: 6 CEDARBROOK DRIVE
                                                                                                                                CRANBURY, NJ 08512
                                                                                                                                212 ELM STREET
                                                                                                                                SOMERVILLE, MA 02144

2. 1960    SCHEDULE FOR CONTRACT                                       103418                   TNT PARTNERS, LLC               ATTN: GENERAL COUNSEL
           NEGOTIATION SERVICES                                                                                                 19 WHISPER LN
                                                                                                                                BELTON, MO 64012

2. 1961    TELECOM CONTRACT NEGOTIATIONS                               103419                   TNT PARTNERS, LLC               ATTN: GENERAL COUNSEL
           SCOPE DOCUMENT                                                                                                       19 WHISPER LN
                                                                                                                                BELTON, MO 64012

2. 1962    IBM MSA CW2365546 FORMERLY                3/27/2049         105946                   TRUVEN HEALTH ANALYTICS LLC     ATTN: GENERAL COUNSEL
           TRUVEN (LH.RA) EFFECTIVE MARCH 28,                                                                                   26361 NETWORK PLACE
           2019                                                                                                                 CHICAGO, IL 60673

2. 1963    IBM MSA CW2365546 FORMERLY                3/27/2049         105947                   TRUVEN HEALTH ANALYTICS LLC     ATTN: GENERAL COUNSEL
           TRUVEN (LH.RA) EFFECTIVE MARCH 28,                                                                                   26361 NETWORK PLACE
           2019                                                                                                                 CHICAGO, IL 60673

2. 1964    SOURCE CODE ESCROW AGREEMENT                                103474                   TRW INC.                        ATTN: GENERAL COUNSEL
                                                                                                                                12011 SUNSET HILLS ROAD
                                                                                                                                RESTON, VA 20190

2. 1965    SOFTWARE LICENSE AGREEMENT                                  103645                   VALUE LINE, INC.                ATTN: GENERAL COUNSEL
                                                                                                                                551 FIFTH AVENUE
                                                                                                                                3RD
                                                                                                                                NEW YORK, NY 10176

2. 1966    VARONIS SUPPORT SERVICES                                    103654                   VARONIS SYSTEMS, INC.           ATTN: GENERAL COUNSEL
           AGREEMENT AND LICENSE AGREEMENT                                                                                      499 SEVENTH AV.,
                                                                                                                                NEW YORK, NY 10018

2. 1967    AMENDMENT #1 TO MASTER SERVICES                             103665                   VENAFI, INC.                    ATTN: GENERAL COUNSEL
           AGREEMENT                                                                                                            126 WEST SEGO LILY DRIVE,
                                                                                                                                SUITE 126
                                                                                                                                SANDY, UT 84070




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2. 1968    AMENDMENT ONE TO THE MASTER                                 103664                   VENAFI, INC.                       ATTN: GENERAL COUNSEL
           SOFTWARE LICENSE AND SERVICES                                                                                           126 WEST SEGO LILY DRIVE,
           AGREEMENT                                                                                                               SUITE 126
                                                                                                                                   SANDY, UT 84070

2. 1969    MASTER SOFTWARE LICENSE AND                                 103663                   VENAFI, INC.                       ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT                                                                                                      126 W. SEGO LILY DRIVE, SUITE
                                                                                                                                   126
                                                                                                                                   SANDY, UT 84070

2. 1970    MASTER SERVICES AGREEMENT                                   103672                   VEROXITY TECHNOLOGY PARTNERS       ATTN: GENERAL COUNSEL
                                                                                                                                   182 BEN BURTON CIRCLE, #300
                                                                                                                                   BOGART, GA 30622

2. 1971    MASTER SOFTWARE LICENSE AND                                 103676                   VINYL DEVELOPMENT, LLC DBA ZUDY    ATTN: PRESIDENT
           SUBSCRIPTION AGREEMENT                                                                                                  690 LINCOLN RAOD
                                                                                                                                   SUITE 201
                                                                                                                                   MIAMI BEACH, FL 33139

2. 1972    AMENDMENT NO. 3 TO SOFTWARE                                 103682                   VITAL PATH INC.                    ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT                                                                                                       501 CAMBRIA AVE
                                                                                                                                   BENSALEM, PA 19020

2. 1973    SOFTWARE LICENSE AGREEMENT                                  103683                   VITAL PATH INC.                    ATTN: GENERAL COUNSEL
                                                                                                                                   501 CAMBRIA AVE
                                                                                                                                   BENSALEM, PA 19020

2. 1974    SOFTWARE LICENSING AGREEMENT                                103681                   VITAL PATH INC.                    ATTN: GENERAL COUNSEL
                                                                                                                                   501 CAMBRIA AVE
                                                                                                                                   BENSALEM, PA 19020

2. 1975    SOFTWARE MAINTENANCE AGREEMENT                              103684                   VITAL PATH INC.                    ATTN: GENERAL COUNSEL
                                                                                                                                   501 CAMBRIA AVE.     SUITE
                                                                                                                                   140
                                                                                                                                   BENSALEM, PA 19020

2. 1976    VITALYST - MSA CW JULY2016 (CG)                             103688                   VITALYST, LLC                      ATTN: GENERAL COUNSEL
                                                                                                                                   ONE BALA PLAZA, SUITE 434
                                                                                                                                   BALA CYNWYD, PA 19004




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2. 1977    PROOF OF CONCEPT AGREEMENT                                  103690                   VIVISIMO, INC.                     ATTN: GENERAL COUNSEL
                                                                                                                                   1710 MURRAY AVENUE
                                                                                                                                   PITTSBURGH, PA 15217

2. 1978    MASTER SOFTWARE LICENSE                                     103706                   W VENTURE, LLC                     ATTN: GENERAL COUNSEL
           AGREEMENT                                                                                                               5866 BIRCH COURT
                                                                                                                                   OAKLAND, CA 94618

2. 1979    SOFTWARE LICENSE AGREEMENT                                  103740                   WINSHUTTLE, LLC                    ATTN: GENERAL COUNSEL
                                                                                                                                   20021 120TH AVE. NE STE 101
                                                                                                                                   BOTHELL, WA 98011

2. 1980    MASTER SUBSCRIPTION AGREEMENT                               103762                   ZOOM VIDEO COMMUNICATIONS, INC.    ATTN: GENERAL COUNSEL
                                                                                                                                   HTTP://WWW.ZOOM.US
                                                                                                                                   55 ALMADEN BLVD #600
                                                                                                                                   SAN JOSE, CA 95113

2. 1981    AMENDMENT #1 TO MASTER                                      103780                   ZSCALER, INC.                      ATTN: GENERAL COUNSEL
           SUBSCRIPTION AGREEMENT                                                                                                  392 PROTRERO AVENUE
                                                                                                                                   SUNNYVALE, CA 94085

2. 1982    MASTER SERVICES AGREEMENT                                   103778                   ZSCALER, INC.                      ATTN: GENERAL COUNSEL
                                                                                                                                   392 PROTRERO AVENUE
                                                                                                                                   SUNNYVALE, CA 94085

2. 1983    ZSCALER AMD 3 TO MSA CW2355647                              103781                   ZSCALER, INC.                      ATTN: GENERAL COUNSEL
           (RH.RA)                                                                                                                 500 7TH AVENUE, 8TH FLOOR
                                                                                                                                   NEW YORK, NY 10018




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Financial Agreements

2. 1984    COLLATERAL TRUST AGREEMENT                                  G-3008                   COLUMBIA CASUALTY COMPANY, AS       ATTN: COLLATERAL CONTROL
                                                                                                BENEFICIARY                         UNIT, 19TH FLOOR
                                                                                                                                    333 S. WABASH AVENUE
                                                                                                                                    CHICAGO, IL 60604

2. 1985    TRUST AGREEMENT                                             G-3007                   ISOSCELES INSURANCE LTD., ACTING    ATTN: MR. RICHARD DALEY
                                                                                                IN RESPECT OF SEPARATE ACCOUNT      29 RICHMOND ROAD
                                                                                                NO PLP-01                           2ND FLOOR
                                                                                                                                    PEMBROKE HM 08
                                                                                                                                    BELGIUM

2. 1986    ESCROW AGREEMENT                                            G-3002                   LIBERTY MUTUAL INSURANCE            ATTN: STEVE WHALEN
                                                                                                COMPANY                             175 BERKELEY STREET
                                                                                                                                    BOSTON, MA 02116

2. 1987    ESCROW AGREEMENT ADDENDUM                                   G-3001                   LIBERTY MUTUAL INSURANCE            ATTN: STEVE WHALEN
                                                                                                COMPANY                             175 BERKELEY STREET
                                                                                                                                    BOSTON, MA 02116

2. 1988    TRUST ACCOUNT AGREEMENT                                     G-3006                   METROPOLITAN COMMERCIAL BANK,       ATTN: M. GUARINO, LEGAL / P.
                                                                                                THE TRUSTEE                         GUIDI, OPERATIONS
                                                                                                                                    99 PARK AVE.
                                                                                                                                    NEW YORK, NY 10016

2. 1989    ESCROW, SECURITY AND CONTROL                                G-3004                   NATIONAL UNION FIRE INSURANCE       ATTN: COLLATERAL MANAGEMENT
           AGREEMENT FOR PAYMENT                                                                COMPANY OF PITTSBURGH, PA, AS       P.O. BOX 923
           AGREEMENT OBLIGATIONS                                                                BENEFICIARY                         WALL STREET STATION
                                                                                                                                    NEW YORK, NY 10268

2. 1990    TREATY TRUST ACCOUNT AGREEMENT                              G-3003                   OLD REPUBLIC INSURANCE COMPANY,     ATTN: CFO
                                                                                                AS BENEFICIARY                      C/O OLD REPUBLIC RISK
                                                                                                                                    MANAGEMENT, INC.
                                                                                                                                    445 SOUTH MOORLAND ROAD,
                                                                                                                                    SUITE 300
                                                                                                                                    BROOKFIELD, WI 53005




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2. 1991    TRUST ACCOUNT AGREEMENT                                     G-3006                   OPTUM RX, INC.                  ATTN: S.V.P. INDUSTRY
                                                                                                                                RELATIONS
                                                                                                                                17900 VON KARMEN AVE.
                                                                                                                                M/S CA 016-0202
                                                                                                                                IRVINE, CA 92614

2. 1992    ESCROW AGREEMENT                                            G-3002                   WELLS FARGO BANK, NATIONAL      ATTN: KWEKU ASARE,
                                                                                                ASSOCIATION, AS ESCROW AGENT    CORPORATE, MUNICIPAL AND
                                                                                                                                ESCROW SOLUTIONS
                                                                                                                                150 EAST 42ND STREET 40TH
                                                                                                                                FLOOR
                                                                                                                                NEW YORK, NY 10017

2. 1993    ESCROW AGREEMENT ADDENDUM                                   G-3001                   WELLS FARGO BANK, NATIONAL      ATTN: KWEKU ASARE,
                                                                                                ASSOCIATION, AS ESCROW AGENT    CORPORATE, MUNICIPAL AND
                                                                                                                                ESCROW SOLUTIONS
                                                                                                                                150 EAST 42ND STREET 40TH
                                                                                                                                FLOOR
                                                                                                                                NEW YORK, NY 10017

2. 1994    ESCROW, SECURITY AND CONTROL                                G-3004                   WELLS FARGO BANK, NATIONAL      ATTN: JARRETT SHERRON
           AGREEMENT FOR PAYMENT                                                                ASSOCIATION, AS ESCROW AGENT    150 EAST 42ND STREET 40TH
           AGREEMENT OBLIGATIONS                                                                                                FLOOR
                                                                                                                                NEW YORK, NY 10017

2. 1995    COLLATERAL TRUST AGREEMENT                                  G-3008                   WELLS FARGO BANK, NATIONAL      ATTN: CLIENT SERVICE
                                                                                                ASSOCIATION, AS TRUSTEE         CONSULTANT FOR CNA
                                                                                                                                INSURANCE
                                                                                                                                INSURANCE TRUST GROUP
                                                                                                                                150 EAST 42ND STREET, 40TH
                                                                                                                                FLOOR
                                                                                                                                NEW YORK, NY 10017

2. 1996    TREATY TRUST ACCOUNT AGREEMENT                              G-3003                   WELLS FARGO BANK, NATIONAL      ATTN: STEPHEN M. BRUCE, VICE
                                                                                                ASSOCIATION, AS TRUSTEE         PRESIDENT
                                                                                                                                150 EAST 42ND STREET 40TH
                                                                                                                                FLOOR
                                                                                                                                NEW YORK, NY 10017




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2. 1997    TRUST AGREEMENT                                             G-3007                   WELLS FARGO BANK, NATIONAL    ATTN: JARRETT SHERRON
                                                                                                ASSOCIATION, AS TRUSTEE       CORPORATE TRUST SERVICES
                                                                                                                              150 EAST 42ND STREET 40TH
                                                                                                                              FLOOR
                                                                                                                              NEW YORK, NY 10017




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Vehicle & Equipment Leases

2. 1998    LEASE AGREEMENT EXECUTED APRIL                             EL-8830                   RICOH USA, INC.           ATTN: GENERAL COUNSEL
           24, 2015                                                                                                       70 VALLEY STREAM PARKWAY
                                                                                                                          MALVERN, PA 19355

2. 1999    LEASE AGREEMENT EXECUTED                                   EL-4207                   RICOH USA, INC.           ATTN: GENERAL COUNSEL
           AUGUST 31, 2015                                                                                                70 VALLEY STREAM PARKWAY
                                                                                                                          MALVERN, PA 19355

2. 2000    LEASE AGREEMENT EXECUTED                                   EL-5793                   RICOH USA, INC.           ATTN: GENERAL COUNSEL
           DECEMBER 15, 2015                                                                                              70 VALLEY STREAM PARKWAY
                                                                                                                          MALVERN, PA 19355

2. 2001    LEASE AGREEMENT EXECUTED                                   EL-3612                   RICOH USA, INC.           ATTN: GENERAL COUNSEL
           DECEMBER 7, 2016                                                                                               70 VALLEY STREAM PARKWAY
                                                                                                                          MALVERN, PA 19355

2. 2002    LEASE AGREEMENT EXECUTED                                   EL-1322                   RICOH USA, INC.           ATTN: GENERAL COUNSEL
           JANUARY 21, 2015                                                                                               70 VALLEY STREAM PARKWAY
                                                                                                                          MALVERN, PA 19355

2. 2003    LEASE AGREEMENT EXECUTED JULY                              EL-8197                   RICOH USA, INC.           ATTN: GENERAL COUNSEL
           20, 2017                                                                                                       70 VALLEY STREAM PARKWAY
                                                                                                                          MALVERN, PA 19355

2. 2004    LEASE AGREEMENT EXECUTED MARCH                             EL-8041                   RICOH USA, INC.           ATTN: GENERAL COUNSEL
           5, 2018                                                                                                        70 VALLEY STREAM PARKWAY
                                                                                                                          MALVERN, PA 19355

2. 2005    LEASE AGREEMENT EXECUTED                                   EL-1356                   RICOH USA, INC.           ATTN: GENERAL COUNSEL
           SEPTEMBER 25, 2018                                                                                             70 VALLEY STREAM PARKWAY
                                                                                                                          MALVERN, PA 19355




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Confidentiality and/or Disclosure Agreements

2. 2006    ACCOY PHARMACEUTICALS, INC. - CDA         1/30/2024         106054                   ACCOY PHARMACEUTICALS, INC.        NOT AVAILABLE
           31JAN19 (DS.RA) EFFECTIVE JANUARY
           31, 2019

2. 2007    CONFIDENTIAL DISCLOSURE                                     105904                   ACTAVIS, INC./ENDO                 ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE MARCH 28,                                                        PHARMA/JANSSEN                     6272 LEE VISTA BOULEVARD
           2012                                                                                 PHARMA/MALLINCKRODT LLC/MYLAN,     ORLANDO, FL 32822
                                                                                                INC./NOVEN PHARMA/PFIZER,
                                                                                                INC./ROXANE LABORATORIES/SANDOZ,
                                                                                                INC./TEVA PHARMA
                                                                                                USA/THEPHARMANETWORK/VISTA
                                                                                                PHARM/WATSON LABS, INC./APOTEX,
                                                                                                INC./IMPAX LABS,
                                                                                                INC./LAVIPHARM/RANBAXY
                                                                                                PHARMA/UPSHER-S

2. 2008    ADRIANA DIFAZIO LLC CDA CW2366345          4/3/2024         105963                   ADRIANA DIFAZIO                    NOT AVAILABLE
           (LH.RA) EFFECTIVE APRIL 04, 2019

2. 2009    AICURE, LLC - CDA 1APR19 CW2366132        3/31/2024         105976                   AICURE, LLC                        NOT AVAILABLE
           (LH.RA) EFFECTIVE APRIL 01, 2019

2. 2010    ALACRITA CONSULTING INC. - CDA             1/6/2024         105938                   ALACRITA CONSULTING INC            NOT AVAILABLE
           7JAN19 CW2365040 (LH.RA) EFFECTIVE
           JANUARY 07, 2019

2. 2011    ALPHA SCRIP, INC. CDA 20FEB19             2/19/2024         106178                   ALPHA SCRIP INCORPORATED           NOT AVAILABLE
           CW2365648 (SD.RA) EFFECTIVE
           FEBRUARY 20, 2019

2. 2012    DATA USE AGREEMENT EFFECTIVE                                100187                   AMERICAN ASSOCIATION OF POISON     515 KING ST #510
           JUNE 01, 2010                                                                        CONTROL CENTERS                    ALEXANDRIA, VA 22314

2. 2013    DATA USE AGREEMENT EXECUTED                                 100185                   AMERICAN ASSOCIATION OF POISON     515 KING ST #510
                                                                                                CONTROL CENTERS                    ALEXANDRIA, VA 22314

2. 2014    DATA USE AGREEMENT EXECUTED                                 100186                   AMERICAN ASSOCIATION OF POISON     515 KING ST #510
                                                                                                CONTROL CENTERS                    ALEXANDRIA, VA 22314


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2. 2015    CONFIDENTIALITY AGREEMENT                                   100261                   APPLE INC.                         ATTN: GENERAL COUNSEL
           EFFECTIVE JANUARY 23, 2013                                                                                              1 INFINITE LOOP
                                                                                                                                   CUPERTINO, CA 95014

2. 2016    MUTUAL CONFIDENTIALITY                                      105887                   ARBOR PHARMACEUTICALS, LLC         ATTN: GENERAL COUNSEL
           DISCLOSURE AGREEMENT EFFECTIVE                                                                                          SIX CONCOURSE PARKWAY,
           JANUARY 30, 2017                                                                                                        SUITE 1800, ATLANTA, GA 30328
                                                                                                                                   USA

2. 2017    CONFIDENTIALITY AGREEMENT                                   100285                   ASHLAND SPECIALTY INGREDIENTS GP ATTN: GENERAL COUNSEL
           EFFECTIVE MAY 14, 2015                                                                                                1005 US 202/206
                                                                                                                                 BRIDGEWATER 08807

2. 2018    MUTUAL CONFIDENTIALITY                                      105888                   AVADEL IRELAND (FLAMEL IRELAND     ATTN: GENERAL COUNSEL
           DISCLOSURE AGREEMENT EFFECTIVE                                                       LTD.)                              AVADEL: BLOCK 10-1
           FEBRUARY 14, 2017                                                                                                       BLANCHARDSTOWN CORPORATE
                                                                                                                                   PARK, BALLYCOOLIN, DUBLIN 15,
                                                                                                                                   IRELAND
                                                                                                                                   PURDUE: 575 GRANITE COURT,
                                                                                                                                   PICKERING, ONTARIO, CANADA
                                                                                                                                   L1W 3W8

2. 2019    BANC OF CALIFORNIA, N.A. - CDA            5/28/2024         106067                   BANC OF CALIFORNIA, N.A.           NOT AVAILABLE
           29MAY19 (WC.RA) EFFECTIVE MAY 29,
           2019

2. 2020    CONSENT AGREEMENT TO UPLOAD                                 100504                   C4PAIN                             ATTN: HOECK HANS CHR MD PHD
           INFORMATION EXECUTED DECEMBER                                                                                           HOBRIVEJ 42 D, 34
           12, 2013                                                                                                                AALBORG DK-9000
                                                                                                                                   GERMANY

2. 2021    CONFIDENTIAL DISCLOSURE                                     100519                   CAPSUGEL, US, LLC                  ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE OCTOBER 04,                                                                                         PURDUE: ONE STAMFORD
           2012                                                                                                                    FORUM, STAMFORD, CT 06901
                                                                                                                                   CAPSUGEL: 412 MT. KEMBLE AVE.,
                                                                                                                                   SUITE 200C
                                                                                                                                   MORRISTOWN, NJ 07960

2. 2022    CATALENT PHARMA SOLUTIONS LLC -           10/5/2022         106097                   CATALENT PHARMA SOLUTIONS, LLC     ATTN: GENERAL COUNSEL
           FIRST AMENDMENT TO CDA 30JAN19                                                                                          14 SCHOOLHOUSE ROAD
           (KF.RA) EFFECTIVE JANUARY 30, 2019                                                                                      SOMERSET, NJ 08873


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2. 2023    CBRE GLOBAL INVESTORS - CDA               5/14/2020         106102                   CBRE GLOBAL INVESTORS              NOT AVAILABLE
           15MAY19 (JL.RA) EFFECTIVE MAY 15,
           2019

2. 2024    AUDIT CONFIDENTIALITY AGREEMENT                             100618                   CIGNA HEALTH AND LIFE INSURANCE    ATTN: GENERAL COUNSEL
                                                                                                COMPANY                            900 COTTAGE GROVE ROAD
                                                                                                                                   HARTFORD, CT 06152

2. 2025    CLEXIO BIOSCIENCES LTD. - CDA             2/13/2024         106096                   CLEXIO BIOSCIENCES LTD.            NOT AVAILABLE
           14FEB19 (AM.RA) EFFECTIVE
           FEBRUARY 14, 2019

2. 2026    FIRST AMENDMENT TO                                          100682                   COLLEGIUM PHARMACEUTICAL, INC.     ATTN: GENERAL COUNSEL
           CONFIDENTIALITY AGREEMENT                                                                                               780 DEDHAM STREET, SUITE 800
           EFFECTIVE JANUARY 26, 2015                                                                                              CANTON, MA 02021

2. 2027    COMERICA BANK - CDA 6MAY19                 5/5/2022         106103                   COMERICA BANK                      NOT AVAILABLE
           (WC.RA) EFFECTIVE MAY 06, 2019

2. 2028    COMMUNITIES 4 ACTION - CDA                 9/3/2024         105954                   COMMUNITIES 4 ACTION INC           NOT AVAILABLE
           4SEPT19 CW2368236 (LH.RA)
           EFFECTIVE SEPTEMBER 04, 2019

2. 2029    CONTOURAL, INC. - CDA 5JUN19               6/5/2022         106042                   CONTOURAL, INC.                    NOT AVAILABLE
           CW2367177 (PB.RA) EFFECTIVE JUNE
           05, 2019

2. 2030    MUTUAL CONFIDENTIALITY                                      105889                   COVIS PHARMA, S.A.R.L.             ATTN: GENERAL COUNSEL
           DISCLOSURE AGREEMENT EFFECTIVE                                                                                          COVIS: BAHNHOFSTRASSE 11, CH-
           FEBRUARY 09, 2017                                                                                                       6300, ZUG, SWITZERLAND
                                                                                                                                   PURDUE: 575 GRANITE COURT,
                                                                                                                                   PICKERING, ONTARIO, CANADA
                                                                                                                                   L1W 3W8

2. 2031    CREATIVE BIO-PEPTIDES, INC. - CDA         1/16/2024         106058                   CREATIVE BIO-PEPTIDES, INC.        NOT AVAILABLE
           17JAN19 (JG.RA) EFFECTIVE JANUARY
           17, 2019

2. 2032    NOVALIQ GMBH - CDA 12JAN19 (AM.RA)        1/11/2024         106059                   CREATIVE BIO-PEPTIDES, INC.        NOT AVAILABLE
           EFFECTIVE JANUARY 12, 2019


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2. 2033    DAYA CNS LLC - CDA 1MAR19 (AM.RA)          2/29/2024         106093                   DAYA CNS LLC                        NOT AVAILABLE
           EFFECTIVE MARCH 01, 2019

2. 2034    DONNELLEY FINANCIAL L.L.C. - CDA           7/22/2024         106051                   DONNELLEY FINANCIAL L.L.C           NOT AVAILABLE
           22JUL19 (RA) EFFECTIVE JULY 22, 2019

2. 2035    DR. WILLIAM CHIN - CDA 14MAR19             3/13/2024         106091                   DR. WILLIAM CHIN                    NOT AVAILABLE
           (JM.RA) EFFECTIVE MARCH 14, 2019

2. 2036    DUKE CLINICAL RESEARCH INSTITUTE           1/31/2022         105939                   DUKE CLINICAL RESEARCH INSTITUTE    NOT AVAILABLE
           CDA CW2364998 (LH.RA) EFFECTIVE
           JANUARY 25, 2019

2. 2037    DUKE UNIVERSITY CDA CW2367656               7/9/2024         106025                   DUKE UNIVERSITY                     ATTN: GENERAL COUNSEL
           INVESTIGATOR INITIATED RESEARCH                                                                                           DUKE UNIVERSITY MEDICAL
           (LH.SD) EFFECTIVE JULY 10, 2019                                                                                           CENTER
                                                                                                                                     107 SEELEY G MUDD BUILDING-
                                                                                                                                     BOX 3001
                                                                                                                                     DURHAM, NC 27710

2. 2038    EAST WEST BANK - CDA 31MAY19               5/30/2024         106068                   EAST WEST BANK                      NOT AVAILABLE
           (WC.RA) EFFECTIVE MAY 31, 2019

2. 2039    E-BEAM SERVICES, INC. - CDA                 3/4/2024         106010                   E-BEAM SERVICES, INC.               NOT AVAILABLE
           CW2365827 (LH.RA) EFFECTIVE MARCH
           05, 2019

2. 2040    ELIZABETH BEZYK CDA CW2364914             12/31/2019         105940                   ELIZABETH BEZYK                     NOT AVAILABLE
           (LH.RA) EFFECTIVE JANUARY 01, 2019

2. 2041    EMAGINE COMMUNICATIONS, LLC - CDA          1/24/2024         106057                   EMAGINE COMMUNICATIONS, LLC         NOT AVAILABLE
           25JAN19 (M. LEIPOLD, R. ALEALI)
           EFFECTIVE JANUARY 25, 2019

2. 2042    ENORMOUS CREATIVE LLC CDA                  2/19/2024         105933                   ENORMOUS CREATIVE LLC               NOT AVAILABLE
           20FEB19 CW2365664 (LH.RA) EFFECTIVE
           FEBRUARY 20, 2019

2. 2043    EPICENTRX, INC. - CDA 25JAN19              1/24/2024         106056                   EPICENTRX, INC.                     NOT AVAILABLE
           (AM.RA) EFFECTIVE JANUARY 25, 2019

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2. 2044    EPIQ EDISCOVERY SOLUTIONS, INC. -          5/19/2024         105957                   EPIQ EDISCOVERY SOLUTIONS, INC.    NOT AVAILABLE
           CDA 20MAY19 CW2366907 (LH.RA)
           EFFECTIVE MAY 20, 2019

2. 2045    FLAG THERAPEUTICS, INC. - CDA               1/3/2024         106063                   FLAG THERAPEUTICS, INC.            NOT AVAILABLE
           4JAN19 (JG.RA) EFFECTIVE JANUARY
           04, 2019

2. 2046    FRINK-HAMLETT LEGAL SOLUTIONS,             5/31/2024         105969                   FRINK-HAMLETT LEGAL SOLUTIONS,     NOT AVAILABLE
           INC. CDA CW2367073 (LH.RA)                                                            INC.
           EFFECTIVE JUNE 01, 2019

2. 2047    COMMON INTEREST PRIVILEGE                                    101312                   GRUNENTHAL GMBH                    ATTN: GENERAL COUNSEL
           AGREEMENT EXECUTED                                                                                                       ZIEGLERSTRASSE 6
                                                                                                                                    AACHEN 52078
                                                                                                                                    GEORGIA

2. 2048    HANCOCK, DANIEL AND JOHNSON,                9/3/2024         105953                   HANCOCK, DANIEL & JOHNSON, P.C.    NOT AVAILABLE
           P.C. - CDA 4SEPT19 CW2368240 (LH.RA)
           EFFECTIVE SEPTEMBER 04, 2019

2. 2049    HIKMA PHARMACEUTICALS USA INC. -           3/12/2022         106112                   HIKMA PHARMACEUTICALS USA INC.     246 INDUSTRIAL WAY WEST
           FIRST AMENDMENT TO CDA 11APR19                                                                                           EATONTOWN, NJ 07724
           (DS.RA) EFFECTIVE APRIL 11, 2019

2. 2050    HIKMA PHARMACEUTICALS USA INC.             3/13/2022         106012                   HIKMA PHARMACEUTICALS USA INC.     246 INDUSTRIAL WAY WEST
           CDA 13MAR19 CW2365842 (LH.RA)                                                                                            EATONTOWN, NJ 07724
           EFFECTIVE MARCH 13, 2019

2. 2051    2015 AMENDMENT TO USER-CUSTOMER                              101447                   IMS HEALTH INCORPORATED            C/O IQVIA
           AGREEMENT FOR AMA PHYSICIAN                                                                                              4820 EMPEROR BLVD
           PROFESSIONAL DATA DATED OCTOBER                                                                                          DURHAM, NC 27703
           01, 2014

2. 2052    CONFIDENTIALITY AND PROPRIETARY                              101442                   IMS HEALTH INCORPORATED            ATTN: GENERAL COUNSEL
           CONTRACT EFFECTIVE MAY 08, 2003                                                                                          860 WEST GERMANTOWN PIKE
                                                                                                                                    PLYMOUTH MEETING, PA 19462




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2. 2053    CONSENT AGREEMENT TO UPLOAD                                  101450                   INC RESEARCH                        ATTN: ANDREW SHAW
           INFORMATION EXECUTED JANUARY 07,                                                                                          SENIOR CORPORATE COUNSEL
           2014                                                                                                                      3201 BEECH LEAF COURT
                                                                                                                                     RALEIGH, NC 27604

2. 2054    INFORMA BUSINESS INTELLIGENCE,             5/23/2021         105973                   INFORMA BUSINESS INTELLIGENCE INC PO BOX 415214
           INC. - CDA 23MAY19 CW2367001 (LH.RA)                                                                                    BOSTON, MA 02241
           EFFECTIVE MAY 23, 2019

2. 2055    INNOVATIVE DISCOVERY, LLC CDA              6/24/2024         106035                   INNOVATIVE DISCOVERY, LLC           NOT AVAILABLE
           CW2367424 (LH.RA) EFFECTIVE JUNE
           25, 2019

2. 2056    INSTEDD - CDA 15JUL19 CW2367673            7/14/2021         106026                   INSTEDD                             NOT AVAILABLE
           (LH.RA) EFFECTIVE JULY 15, 2019

2. 2057    MUTUAL NON-DISCLOSURE                                        101513                   INTERBRAND CORPORATION              ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE JUNE 07, 2001                                                                                         130 FIFTH AVENUE
                                                                                                                                     NEW YORK, NY 10011

2. 2058    INTRALINKS, INC. - CDA 15JUL19 (RA)        7/14/2024         106109                   INTRALINKS, INC.                    NOT AVAILABLE
           EFFECTIVE JULY 15, 2019

2. 2059    JLT SPECIALTY INSURANCE SERVICES           1/21/2024         106061                   JLT SPECIALTY INSURANCE SERVICES    NOT AVAILABLE
           INC. - CDA 22JAN19 (MCR.RA)                                                           INC.
           EFFECTIVE JANUARY 22, 2019

2. 2060    LARA KLINE - CDA 25APR19 (JM.RA)           4/25/2024         106106                   LARA KLINE                          NOT AVAILABLE
           EFFECTIVE APRIL 26, 2019

2. 2061    LEVERAGE POINT MEDIA CDA 12FEB19           2/11/2024         106172                   LEVERAGEPOINT MEDIA                 NOT AVAILABLE
           CW2365469 (SD.RA) EFFECTIVE
           FEBRUARY 12, 2019

2. 2062    FIRST AMENDMENT TO AGREEMENT                                 101778                   LINEBERRY RESEARCH ASSOCIATES       ATTN: GENERAL COUNSEL
           EXECUTED                                                                                                                  PO BOX 14626
                                                                                                                                     RESEARCH TRIANGLE PARK, NC
                                                                                                                                     27709




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2. 2063    LLX SOLUTIONS, LLC CDA 9JAN19              1/9/2024         105937                   LLX SOLUTIONS, LLC                 NOT AVAILABLE
           CW2365071 (LH.RA) EFFECTIVE
           JANUARY 09, 2019

2. 2064    AMENDMENT NO. 2 TO TECHNOLOGY                               101818                   LTS LOHMANN THERAPIE-SYSTEME AG    ATTN: GENERAL COUNSEL
           TRANSFER AND INVESTMENT                                                                                                 LOHMANNSTRASSE 2
           AGREEMENT EFFECTIVE JUNE 01, 2009                                                                                       56626 ANDERNACH
                                                                                                                                   FEDERAL REPUBLIC OF GERMANY

2. 2065    LTS LOHMANN THERAPIE-SYSTEME               7/3/2020         106083                   LTS LOHMANN THERAPIE-SYSTEME AG    ATTN: GENERAL COUNSEL
           AG - CDA 5JUL19 (P. STRASSBURGER)                                                                                       LOHMANNSTRASSE 2
           EFFECTIVE JULY 05, 2019                                                                                                 56626 ANDERNACH
                                                                                                                                   FEDERAL REPUBLIC OF GERMANY

2. 2066    MUTUAL CONFIDENTIALITY                                      105891                   LUPIN, INC.                        ATTN: GENERAL COUNSEL
           DISCLOSURE AGREEMENT EFFECTIVE                                                                                          LUPIN: 111 SOUTH CALVERT
           JANUARY 27, 2017                                                                                                        STREET BOSTON, MD 21202, USA
                                                                                                                                   PURDUE: 575 GRANITE COURT,
                                                                                                                                   PICKERING, ONTARIO, L1W 3W8
                                                                                                                                   CANADA

2. 2067    MUTUAL CONFIDENTIALITY                                      105897                   LUPIN, INC.                        ATTN: GENERAL COUNSEL
           DISCLOSURE AGREEMENT EFFECTIVE                                                                                          PURDUE: 575 GRANITE COURT,
           JANUARY 27, 2017                                                                                                        PICKERING, ONTARIO, CANADA,
                                                                                                                                   L1W 3W8
                                                                                                                                   LUPIN: 111 SOUTH CALVERT
                                                                                                                                   STREET BALTIMORE, MD 21202,
                                                                                                                                   USA

2. 2068    MALVERN PANALYTICAL INC. - CDA             4/1/2024         106130                   MALVERN PANALYTICAL INC            NOT AVAILABLE
           CW2366236 (AH.RA) EFFECTIVE APRIL
           02, 2019

2. 2069    MUTUAL CONFIDENTIALITY                                      105892                   MAYNE PHARMA, LLC                  ATTN: GENERAL COUNSEL
           DISCLOSURE AGREEMENT EFFECTIVE                                                                                          MAYNE: 1240 SUGG PARKWAY
           FEBRUARY 09, 2017                                                                                                       GREENVILLE, NC 27834, USA
                                                                                                                                   PURDUE: 575 GRANITE COURT,
                                                                                                                                   PICKERING, ONTARIO L1W 3W8
                                                                                                                                   CANADA




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2. 2070    AMENDMENT # 1 TO CONFIDENTIALITY                             101929                   MCKINSEY & COMPANY, INC. UNITED    ATTN: GENERAL COUNSEL
           & INTELLECTUAL PROPERTY                                                               STATES                             1 DEFOREST AVENUE
           AGREEMENT EXECUTED                                                                                                       SUITE 300
                                                                                                                                    SUMMIT, NJ 07901

2. 2071    MEDNET SOLUTIONS CDA CW2366005             3/20/2024         106019                   MEDNET SOLUTIONS                   NOT AVAILABLE
           (LH.RA) EFFECTIVE MARCH 20, 2019

2. 2072    MERRILL COMMUNICATIONS LLC - CDA           7/22/2024         106050                   MERRILL COMMUNICATIONS LLC         NOT AVAILABLE
           22JUL19 EFFECTIVE JULY 22, 2019

2. 2073    MESSAGEBANK, LLC - CDA 17MAY19             5/16/2029         106100                   MESSAGEBANK, LLC                   NOT AVAILABLE
           (AS.RA) EFFECTIVE MAY 17, 2019

2. 2074    METRIXDATA 360, INC. - CDA 11APR19         4/10/2024         106046                   METRIXDATA 360, INC.               NOT AVAILABLE
           CW2366405 (PB.RA) EFFECTIVE APRIL
           11, 2019

2. 2075    METYS PHARMACEUTICALS AG - CDA             1/28/2024         106053                   METYS PHARMACEUTICALS AG           NOT AVAILABLE
           29JAN19 (AM.RA) EFFECTIVE JANUARY
           29, 2019

2. 2076    CONFIDENTIALITY AGREEMENT                                    102172                   MYLAN INC.                         ATTN: GENERAL COUNSEL
           EFFECTIVE JUNE 04, 2012                                                                                                  1500 CORPORATE DRIVE, SUITE
                                                                                                                                    400
                                                                                                                                    CANONSBURG, PA 15317

2. 2077    NATHANIEL RICKLES, PHARM.D. - CDA           9/4/2024         105955                   NATHANIEL RICKLES                  NOT AVAILABLE
           5SEPT19 CW2368271 (LH.RA)
           EFFECTIVE SEPTEMBER 05, 2019

2. 2078    NOVAREMED AG - CDA 4FEB19 (AM.RA)           2/3/2024         106052                   NOVAREMED AG                       NOT AVAILABLE
           EFFECTIVE FEBRUARY 04, 2019

2. 2079    OMPI OF AMERICA INC. - CDA 11JUL19         7/10/2024         106030                   OMPI OF AMERICA INC                NOT AVAILABLE
           CW2367420 (LH.RA) EFFECTIVE JULY 11,
           2019




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2. 2080    OPTIMIZERX CORPORATION CDA                 3/3/2024         106187                   OPTIMIZERX CORPORATION             ATTN: GENERAL COUNSEL
           4MAR19 CW2365773 (SD.RA) EFFECTIVE                                                                                      400 WATER ST STE 200
           MARCH 04, 2019                                                                                                          ROCHESTER, MI 48307

2. 2081    MUTUAL CONFIDENTIALITY                                      105893                   OTSUKA PHARMACEUTICAL CO., LTD.    ATTN: GENERAL COUNSEL
           DISCLOSURE AGREEMENT EFFECTIVE                                                                                          OTSUKA: SHINAGAWA GRAND
           MAY 23, 2017                                                                                                            CENTRAL TOWER, 2-16-4 KONAN,
                                                                                                                                   MINATO-KU, TOKYO, JAPAN
                                                                                                                                   PURDUE: 575 GRANITE COURT,
                                                                                                                                   PICKERING, ONTARIO, CANADA,
                                                                                                                                   L1W 3W8

2. 2082    PADILLA - CDA 10APR19 CW2366416           4/10/2024         105985                   PADILLA                            NOT AVAILABLE
           (LH.RA) EFFECTIVE APRIL 09, 2019

2. 2083    TRILATERAL CONFIDENTIALITY                                  105894                   PATHEON PHARMACEUTICALS            ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE NOVEMBER                                                         SERVICES, INC.                     PATHEON: 4815 EMPEROR
           06, 2018                                                                                                                BOULEVARD, DURHAM, NC 27703
                                                                                                                                   PURDUE: ONE STAMFORD FORUM
                                                                                                                                   STAMFORD, CT 06901

2. 2084    TRILATERAL CONFIDENTIALITY                                  105895                   PATHEON PHARMACEUTICALS            ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE NOVEMBER                                                         SERVICES, INC.                     PURDUE: ONE STAMFORD
           06, 2018                                                                                                                FORUM, 201 TRESSER
                                                                                                                                   BOULEVARD, STAMFORD, CT
                                                                                                                                   06901
                                                                                                                                   PATHEON: 4815 EMPEROR

2. 2085    PHARMA PACKAGING SOLUTIONS - CDA          5/16/2024         106101                   PHARMA PACKAGING SOLUTIONS         NOT AVAILABLE
           17MAY19 (KF.RA) EFFECTIVE MAY 17,
           2019

2. 2086    PHARMACEUTICAL RESEARCH AND               1/15/2024         106136                   PHARMACEUTICAL RESEARCH AND        ONE STAMFORD FORUM
           MANUFACTURERS OF AMERICA - CDA                                                       MANUFACTURERS OF AMERICA           201 TRESSER BLVD
           16JAN19 CW2365161(SD.RA) EFFECTIVE                                                                                      STAMFORD, CT 06901
           JANUARY 16, 2019

2. 2087    PRICEWATERHOUSECOOPERS                    2/25/2022         106186                   PRICEWATERHOUSECOOPERS INC         ATTN: GENERAL COUNSEL
           ADVISORY LLC CDA 26FEB19                                                                                                18 YORK STREET STE 2600
           CW2365738 (SD.RA) EFFECTIVE                                                                                             TORONTO, ON M5J 0B2
           FEBRUARY 26, 2019                                                                                                       CANADA


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2. 2088    PRIORITY AIR EXPRESS (PATHEON             2/12/2024         106095                   PRIORITY AIR EXPRESS (PATHEON    NOT AVAILABLE
           LOGISTICS) - CDA 13 FEB19 (KF.RA)                                                    LOGISTICS)
           EFFECTIVE FEBRUARY 13, 2019

2. 2089    PRISMIC PHARMACEUTICALS, INC. -           1/29/2024         106055                   PRISMIC PHARMACEUTICALS, INC.    NOT AVAILABLE
           CDA 30JAN19 (AM.RA) EFFECTIVE
           JANUARY 30, 2019

2. 2090    PSKW, LLC DBA CONNECTIVERX CDA            2/13/2024         106175                   PSKW, LLC                        NOT AVAILABLE
           14FEB19 CW2365556 (SD.RA)
           EFFECTIVE FEBRUARY 14, 2019

2. 2091    MUTUAL CONFIDENTIALITY                                      105890                   PURDUE PHARMA                    ATTN: GENERAL COUNSEL
           DISCLOSURE AGREEMENT EFFECTIVE                                                                                        KASTLE: 181 W. MADISON, SUITE
           FEBRUARY 08, 2017                                                                                                     3400, CHICAGO, IL 60602, USA
                                                                                                                                 PURDUE: 575 GRANITE COURT,
                                                                                                                                 PICKERING, ONTARIO, CANADA
                                                                                                                                 L1W 3W8

2. 2092    QUALICAPS, INC. - CDA 21MAY19             5/31/2022         106117                   QUALICAPS, INC.                  ATTN: GENERAL COUNSEL
           CW2366955 (AH.KM) EFFECTIVE MAY 01,                                                                                   6505 FRANZ WARNER PARKWAY
           2019                                                                                                                  WHITSETT, NC 27377

2. 2093    RH NANOPHARMACEUTICALS LLC - CDA          2/26/2024         106092                   RH NANOPHARMACEUTICALS LLC       NOT AVAILABLE
           27FEB19 (AM.RA) EFFECTIVE
           FEBRUARY 27, 2019

2. 2094    MUTUAL CONFIDENTIALITY                                      105898                   ROUNDTABLE HEALTHCARE            ATTN: GENERAL COUNSEL
           DISCLOSURE AGREEMENT EFFECTIVE                                                       MANAGEMENT IV, LLC               PURDUE: 575 GRANITE COURT,
           FEBRUARY 16, 2017                                                                                                     PICKERING, ONTARIO, CANADA
                                                                                                                                 L1W 3W8
                                                                                                                                 ROUNDTABLE: 272 EAST
                                                                                                                                 DEERPATH ROAD, SUITE 350,
                                                                                                                                 LAKE FOREST, IL 60045, USA

2. 2095    MUTUAL CONFIDENTIALITY                                      105901                   ROUNDTABLE HEALTHCARE            ATTN: GENERAL COUNSEL
           DISCLOSURE AGREEMENT EFFECTIVE                                                       MANAGEMENT IV, LLC               ROUNDTABLE: 272 EAST
           FEBRUARY 16, 2017                                                                                                     DEERPATH ROAD, SUITE 350,
                                                                                                                                 LAKE FOREST, IL 60045, USA
                                                                                                                                 PURDUE: 575 GRANITE COURT
                                                                                                                                 PICKERING, ONTARIO, L1W 3W8,
                                                                                                                                 CANADA

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2. 2096    RXDATASCIENCE INC. CDA CW2367923            8/5/2024         105912                   RXDATASCIENCE INC.                NOT AVAILABLE
           (FELTZ.RA) EFFECTIVE AUGUST 06, 2019

2. 2097    SAATCHI AND SAATCHI CDA CW2365601          2/14/2024         106177                   SAATCHI AND SAATCHI               NOT AVAILABLE
           (SD.RA) EFFECTIVE FEBRUARY 15, 2019

2. 2098    SOTERA HEALTH LLC (STERIGENICS)             4/4/2024         105956                   SOTERA HEALTH LLC DBA             NOT AVAILABLE
           CDA 4APR19 CW2366201 (LH.RA)                                                          STERIGENICS
           EFFECTIVE APRIL 04, 2019

2. 2099    STANWICH GROUP LLC - CDA 28MAY19           5/27/2024         106066                   STANWICH GROUP LLC                NOT AVAILABLE
           (RA) EFFECTIVE MAY 28, 2019

2. 2100    STRETTO - CDA 28MAY19 (WC.RA)              5/27/2024         106071                   STRETTO                           NOT AVAILABLE
           EFFECTIVE MAY 28, 2019

2. 2101    MUTUAL CONFIDENTIAL DISCLOSURE                               105903                   SUNOVION PHARMACEUTICALS, INC.    ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE FEBRUARY 07,                                                                                        SUNOVION: 84 WATERFORD
           2017                                                                                                                    DRIVE MARLBOROUGH, MA 01752,
                                                                                                                                   USA
                                                                                                                                   PURDUE: 575 GRANITE COURT,
                                                                                                                                   PICKERING, ONTARIO L1W 3W8,
                                                                                                                                   CANADA

2. 2102    MUTUAL CONFIDENTIALITY                                       105899                   SUNOVION PHARMACEUTICALS, INC.    ATTN: GENERAL COUNSEL
           DISCLOSURE AGREEMENT EFFECTIVE                                                                                          PURDUE: 575 GRANITE COURT,
           FEBRUARY 07, 2017                                                                                                       PICKERING, ONTARIO, CANADA
                                                                                                                                   L1W 3W8
                                                                                                                                   SUNOVION: 84 WATERFORD
                                                                                                                                   DRIVE MARLBOROUGH, MA 01752,
                                                                                                                                   USA

2. 2103    MUTUAL CONFIDENTIALITY                                       105902                   SUNOVION PHARMACEUTICALS, INC.    ATTN: GENERAL COUNSEL
           DISCLOSURE AGREEMENT EFFECTIVE                                                                                          SUNOVION: 84 WATERFORD
           FEBRUARY 07, 2017                                                                                                       DRIVE MARLBOROUGH, MA 01752,
                                                                                                                                   USA
                                                                                                                                   PURDUE: 575 GRANITE COURT,
                                                                                                                                   PICKERING, ONTARIO L1W 3W8,
                                                                                                                                   CANADA




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2. 2104    1ST AMENDMENT OF THE                                        103338                   THE DOW CHEMICAL COMPANY         2030 DOW CENTER
           CONFIDENTIALITY AGREEMENT                                                                                             MIDLAND, MI 48674
           BETWEEN THE DOW CHEMICAL
           COMPANY AND PURDUE PHARMA L.P.
           EFFECTIVE OCTOBER 25, 2016

2. 2105    THE HUNTINGTON NATIONAL BANK -             6/3/2022         106070                   THE HUNTINGTON NATIONAL BANK     NOT AVAILABLE
           CDA 4JUN19 (WC.RA) EFFECTIVE JUNE
           04, 2019

2. 2106    THE OGILVY GROUP CDA 25FEB19              2/24/2024         106183                   THE OGILVY GROUP CDA             NOT AVAILABLE
           CW2365701 (SD.RA) EFFECTIVE
           FEBRUARY 25, 2019

2. 2107    THE TASK FORCE FOR GLOBAL                  1/6/2024         106062                   THE TASK FORCE FOR GLOBAL HEALTH NOT AVAILABLE
           HEALTH - CDA 7JAN19 (LM.RA)
           EFFECTIVE JANUARY 07, 2019

2. 2108    TOWARD ZERO CO. - CDA 30APR19             4/29/2024         106104                   TOWARD ZERO CO.                  NOT AVAILABLE
           (KF.RA) EFFECTIVE APRIL 30, 2019

2. 2109    TRIAL CARD INC. CDA                       2/10/2024         106173                   TRIALCARD INCORPORATED           ATTN: GENERAL COUNSEL
           CW2365477(SD.RA) EFFECTIVE                                                                                            6501 WESTON PARKWAY, SUITE
           FEBRUARY 11, 2019                                                                                                     370
                                                                                                                                 CARY, NC 27513

2. 2110    TRIS PHARMA, INC. - CDA 2APR19             4/1/2024         106114                   TRIS PHARMA, INC.                ATTN: GENERAL COUNSEL
           CW2366248 (DS.RA) EFFECTIVE APRIL                                                                                     2031 ROUTE 130, SUITE D
           02, 2019                                                                                                              MONMOUTH JUNCTION, NJ 08552

2. 2111    MUTUAL CONFIDENTIAL DISCLOSURE                              103571                   UNIVERSITY OF TEXAS HEALTH       ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE OCTOBER 25,                                                      SCIENCES CENTER HOUSTON          7000 FANNIN STREET
           2016                                                                                                                  SUITE 720
                                                                                                                                 HOUSTON, TX 77030

2. 2112    CONFIDENTIALITY AGREEMENT                                   103653                   VARAM INC./KVK-TECH, INC.        ATTN: GENERAL COUNSEL
           EFFECTIVE OCTOBER 10, 2012                                                                                            100 TERRY DRIVE, SUITE 200
                                                                                                                                 NEWTOWN, PA 18940




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2. 2113    VELTEK ASSOCIATES, INC. CDA               4/30/2024         106122                   VELTEK ASSOCIATES, INC.           NOT AVAILABLE
           CW2366377 (AH.RA) EFFECTIVE APRIL
           15, 2019

2. 2114    VISUAL COMMUNICATIONS INC. - CDA          4/11/2024         106156                   VISUAL COMMUNICATIONS, INC.       NOT AVAILABLE
           12APR19 CW2366443 (SD.RA)
           EFFECTIVE APRIL 12, 2019

2. 2115    WESTROCK MWV, LLC - CDA 4SEP19             9/3/2024         105952                   WESTROCK CP LLC                   NOT AVAILABLE
           CW2368232 (LH.RA) EFFECTIVE
           SEPTEMBER 04, 2019

2. 2116    CONFIDENTIAL INDEMNIFICATION                                103743                   WIRB-COPERNICUS GROUP, INC.       ATTN: GENERAL COUNSEL
           AGREEMENT EXECUTED MAY 23, 2016                                                                                        202 CARNEGIE CENTER
                                                                                                                                  SUITE 107
                                                                                                                                  PRINCETON, NJ 08540




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Discount/Rebate/Reimbursement Agreement

2. 2117    AMENDMENT NO. 7 TO                                          100114                   AETNA HEALTH MANAGEMENT LLC        ATTN: HEAD OF FORMULARY
           MANUFACTURER'S DISCOUNT                                                                                                 CONTRACTING
           AGREEMENT EFFECTIVE JANUARY 01,                                                                                         151 FARMINGTON AVENUE
           2018                                                                                                                    RT62
                                                                                                                                   HARTFORD, CT 06156

2. 2118    AMENDMENT NO. 8 TO                                          100115                   AETNA HEALTH MANAGEMENT LLC        ATTN: HEAD OF FORMULARY
           MANUFACTURER'S DISCOUNT                                                                                                 CONTRACTING
           AGREEMENT EFFECTIVE JANUARY 01,                                                                                         151 FARMINGTON AVENUE
           2018                                                                                                                    RT62
                                                                                                                                   HARTFORD, CT 06156

2. 2119    MEDI-CAL TOTAL DRUG REBATE                                  100507                   CALIFORNIA DEPARTMENT OF HEALTH    ATTN: PHARMACY BENEFITS
           AGREEMENT DATED AUGUST 24, 2016                                                      CARE SERVICES                      DIVISION
                                                                                                                                   1501 CAPITOL AVENUE
                                                                                                                                   SUITE 71.5131, MS 4604
                                                                                                                                   SACRAMENTO, CA 95814

2. 2120    AMENDMENT NO. 4 TO THE REBATE                               100545                   CAREMARKPCS HEALTH, LLC            C/O CAREMARK
           AGREEMENT EFFECTIVE APRIL 01, 2016                                                                                      ATTN: SENIOR VICE PRESIDENT,
                                                                                                                                   TRADE RELATIONS
                                                                                                                                   2211 SANDERS ROAD
                                                                                                                                   NORTHBROOK, IL 60062

2. 2121    AMENDMENT NO. 7 TO THE REBATE                               100546                   CAREMARKPCS HEALTH, LLC            C/O CAREMARK
           AGREEMENT EFFECTIVE OCTOBER 01,                                                                                         ATTN: SENIOR VICE PRESIDENT,
           2017                                                                                                                    TRADE RELATIONS
                                                                                                                                   2211 SANDERS ROAD
                                                                                                                                   NORTHBROOK, IL 60062

2. 2122    AMENDMENT NO. 8 TO REBATE                                   100547                   CAREMARKPCS HEALTH, LLC            C/O CAREMARK
           AGREEMENT EFFECTIVE JANUARY 01,                                                                                         ATTN: SENIOR VICE PRESIDENT,
           2019                                                                                                                    TRADE RELATIONS
                                                                                                                                   2211 SANDERS ROAD
                                                                                                                                   NORTHBROOK, IL 60062




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Schedule G: Executory Contracts and Unexpired Leases
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2. 2123    REBATE AGREEMENT DATED JANUARY                              106207                   CAREMARKPCS HEALTH, LLC             C/O CAREMARK
           1, 2014 (LAST AMENDED JANUARY 1,                                                                                         ATTN: SENIOR VICE PRESIDENT,
           2019) AMONG CAREMARKPCS HEALTH,                                                                                          TRADE RELATIONS
           LLC AND THE COMPANY                                                                                                      2211 SANDERS ROAD
                                                                                                                                    NORTHBROOK, IL 60062

2. 2124    DISCOUNT PROGRAM DATA                                       100569                   CENTERS FOR MEDICARE & MEDICAID     ATTN: LEGAL
           AGREEMENT EXECUTED SEPTEMBER                                                         SERVICES                            7500 SECURITY BLVD
           23, 2010                                                                                                                 BALTIMORE, MD 21244

2. 2125    PARTICIPATING STATE AMENDMENT TO                            100611                   CHRIS STEWART, DIVISION DIRECTOR    ATTN: GENERAL COUNSEL
           SUPPLEMENTAL DRUG REBATE                                                                                                 DEPARTMENT FOR MEDICAID
           AGREEMENT EFFECTIVE JULY 01, 2004                                                                                        SERVICES
                                                                                                                                    27 EAST MAIN STREET 6W-D
                                                                                                                                    FRANKFORT, KY 40621

2. 2126    PARTICIPATING STATE AMENDMENT TO                            100612                   CHRIS STEWART, DIVISION DIRECTOR    ATTN: GENERAL COUNSEL
           SUPPLEMENTAL DRUG REBATE                                                                                                 DEPARTMENT FOR MEDICAID
           AGREEMENT EFFECTIVE JULY 01, 2004                                                                                        SERVICES
                                                                                                                                    275 EAST MAIN STREET 6W-D
                                                                                                                                    FRANKFORT, KY 40621

2. 2127    STATE AMENDMENT TO                                          100613                   CHRIS STEWART, DIVISION DIRECTOR    ATTN: GENERAL COUNSEL
           SUPPLEMENTAL DRUG REBATE DATED                                                                                           DEPARTMENT FOR MEDICAID
           JULY 01, 2004                                                                                                            SERVICES
                                                                                                                                    27 EAST MAIN STREET 6W-D
                                                                                                                                    FRANKFORT, KY 40621

2. 2128    AMENDMENT NO. 3 TO REBATE                                   100617                   CIGNA HEALTH AND LIFE INSURANCE     ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE MARCH 01,                                                        COMPANY                             900 COTTAGE GROVE ROAD
           2018                                                                                                                     HARTFORD, CT 06152

2. 2129    AMENDMENT NO. 6 TO REBATE                                   100616                   CIGNA HEALTH AND LIFE INSURANCE     ATTN: JODY NICHOLS, VICE
           AGREEMENT EFFECTIVE APRIL 01, 2015                                                   COMPANY                             PRESIDENT, PHARMACEUTICAL
                                                                                                                                    CONTRACTING
                                                                                                                                    500 GREAT CIRCLE ROAD
                                                                                                                                    NASHVILLE, TN 37228




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2. 2130    REBATE AGREEMENT EFFECTIVE APRIL                            100620                   CIGNA HEALTHCARE                  ATTN: ALEX G. KRIKORIAN, VICE
           01, 2015                                                                                                               PRESIDENT, PHARMACEUTICAL
                                                                                                                                  CONTRACTING
                                                                                                                                  900 COTTAGE GROVE ROAD
                                                                                                                                  HARTFORD, CT 06152

2. 2131    APPLICATION FOR PARTICIPATION IN                            100716                   CONNPACE                          ATTN: BETTE A. SMITH
           THE CONNPACE REBATE PROGRAM                                                                                            MANUFACTURER REBATE
           EFFECTIVE APRIL 01, 1996                                                                                               PROGRAM
                                                                                                                                  DEPARTMENT OF SOCIAL
                                                                                                                                  SERVICES, 25 SIGOURNEY
                                                                                                                                  STREET, 11TH FLOOR
                                                                                                                                  HARTFORD, CT 06106-5033

2. 2132    MEDICARE PART D PROGRAM REBATE                              100802                   CVS CAREMARK PART D SERVICES LLC C/O CVS CAREMARK
           AGREEMENT EFFECTIVE JANUARY 01,                                                                                       ATTN: SENIOR VICE PRESIDENT,
           2019                                                                                                                  TRADE RELATIONS
                                                                                                                                 2211 SANDERS ROAD
                                                                                                                                 NORTHBROOK, IL 60062

2. 2133    PARTICIPATING STATE AMENDMENT TO                            100820                   DAN PETERSON                      ATTN: GENERAL COUNSEL
           SUPPLEMENTAL DRUG REBATE                                                                                               MONTANA DPHHS, MEDICAID
           AGREEMENT EFFECTIVE JULY 01, 2004                                                                                      PHARMACY PROGRAM OFFICER
                                                                                                                                  1400 BROADWAY, P.O. BOX 202951
                                                                                                                                  HELENA, MT 59620

2. 2134    MEDICARE COVERAGE GAP DISCOUNT                              100888                   DEPARTMENT OF HEALTH AND HUMAN    ATTN: GENERAL COUNSEL
           PROGRAM AGREEMENT EFFECTIVE                                                          SERVICES                          CENTER FOR MEDICARE,
           JANUARY 01, 2011                                                                                                       DIVISION OF PHARMACEUTICAL
                                                                                                                                  MANUFACTURER MANAGEMENT,
                                                                                                                                  MAILSTOP C1-26-16
                                                                                                                                  7500 SECURITY BOULEVARD
                                                                                                                                  BALTIMORE, MD 21244-1850

2. 2135    REBATE AGREEMENT EXECUTED                                   100891                   DEPARTMENT OF HEALTH AND HUMAN    ATTN: GENERAL COUNSEL
           NOVEMBER 21, 1995                                                                    SERVICES                          OFFICE OF MEDICAID
                                                                                                                                  MANAGEMENT, MEDICAID BUREAU
                                                                                                                                  P.O. BOX 26686
                                                                                                                                  BALTIMORE, MD 21207




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2. 2136    APPLICATION FOR PARTICIPATION IN                            100893                   DEPARTMENT OF SOCIAL SERVICES    ATTN: DIRECTOR OF MEDICAL
           THE GENERAL ASSISTANCE DRUG                                                                                           OPERATIONS, STATE OF
           REBATE PROGRAM DATED JUNE 10,                                                                                         CONNECTICUT
           1996                                                                                                                  25 SIGOURNEY STREET
                                                                                                                                 HARTFORD, CT 06106

2. 2137    DISCOUNT/SET ASIDE EFFECTIVE                                105878                   DLA TROOP SUPPORT                ATTN: LEGAL
           SEPTEMBER 27, 2013                                                                                                    700 ROBBINS AVE
                                                                                                                                 PHILADELPHIA, PA 19111

2. 2138    AMENDMENT NO. 11 TO PREFERRED                               101104                   EXPRESS SCRIPTS INC.             ATTN: EDWARD J ADAMCIK, VP
           SAVINGS GRID REBATE PROGRAM                                                                                           PHARMACEUTICAL STRATEGIES
           AGREEMENT EFFECTIVE JANUARY 01,                                                                                       AND SOLUTIONS
           2019                                                                                                                  ONE EXPRESS WAY
                                                                                                                                 ST. LOUIS, MO 63121

2. 2139    AMENDMENT NO. 11 TO THE MEDICARE                            101107                   EXPRESS SCRIPTS SENIOR CARE      C/O EXPRESS SCRIPTS, INC.
           PART D REBATE PROGRAM                                                                HOLDINGS INC.                    ATTN: EDWARD J ADAMCIK, VP
           AGREEMENT EFFECTIVE JANUARY 01,                                                                                       PHARMACEUTICAL
           2019                                                                                                                  ONE EXPRESS WAY
                                                                                                                                 ST. LOUIS, MO 63121

2. 2140    MEDICARE PART D REBATE PROGRAM                              101105                   EXPRESS SCRIPTS SENIOR CARE      C/O EXPRESS SCRIPTS, INC.
           AGREEMENT EFFECTIVE JANUARY 01,                                                      HOLDINGS INC.                    ATTN: F EVERETT NEVILLE, VP
           2011                                                                                                                  ONE EXPRESS WAY
                                                                                                                                 ST. LOUIS, MO 63121

2. 2141    REBATE AGREEMENT DATED JANUARY                              106206                   EXPRESS SCRIPTS SENIOR CARE      C/O EXPRESS SCRIPTS, INC.
           1, 2011 (LAST AMENDED JANUARY 1,                                                     HOLDINGS, INC                    ATTN: EDWARD J ADAMCIK, VP
           2019) AMONG EXPRESS SCRIPTS                                                                                           PHARMACEUTICAL
           SENIOR CARE HOLDINGS, INC AND THE                                                                                     ONE EXPRESS WAY
           COMPANY                                                                                                               ST. LOUIS, MO 63121

2. 2142    PARTICIPATING STATE AMENDMENT TO                            101156                   FIRST HEALTH SERVICES CORP.      CHRIS STEWART. DIVISON
           SUPPLEMENTAL DRUG-REBATE                                                                                              DIRECTOR
           AGREEMENT EFFECTIVE JULY 01, 2004                                                                                     DEPARTMENT OF MEDICAID
                                                                                                                                 SERVICES
                                                                                                                                 275 EAST MAIN ST. 6W-D
                                                                                                                                 FRANKFORT, KY 40621




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2. 2143    AMENDMENT TO REBATE AGREEMENT                               101158                   FIRST HEALTH SERVICES              ATTN: GENERAL COUNSEL
           EFFECTIVE JULY 01, 2004                                                              CORPORATION                        COMMONWEALTH OF KENTUCKY
                                                                                                                                   DEPARTMENT FOR MEDICAID
                                                                                                                                   SERVICES
                                                                                                                                   275 EAST MAIN ST. 6W-D
                                                                                                                                   FRANKFORT, KY 40621

2. 2144    NEW PARTICIPATING STATE                                     101157                   FIRST HEALTH SERVICES              ATTN: MARY KELLY CHARUBIN
           AMENDMENT TO SUPPLEMENT DRUG-                                                        CORPORATION                        PDP PROGRAM MANAGER,
           REBATE AGREEMENT EFFECTIVE JULY                                                                                         BUREAU OF PROGRAM
           01, 2004                                                                                                                GUIDANCE, OFFICE OF MEDICAID
                                                                                                                                   MANGEMENT, NYSDOH
                                                                                                                                   99 WASHINGTON AVENUE, SUITE
                                                                                                                                   720
                                                                                                                                   ALBANY, NY 12210-2808

2. 2145    PROGRAM DISCOUNT AGREEMENT                                  101171                   FOR THE SECRETARY OF HEALTH AND    DEPARTMENT OF HEALTH AND
           EFFECTIVE JANUARY 01, 2011                                                           HUMAN SERVICES                     HUMAN SERVICES, HEALTH
                                                                                                                                   RESOURCES & SERVICES
                                                                                                                                   ADMINISTRATION
                                                                                                                                   HEALTHCARE SYSTEMS BUREAU
                                                                                                                                   ROCKVILLE, MD 20857

2. 2146    AMENDMENT NO. 1 TO THE                                      101338                   HARVARD PILGRIM HEALTH CARE        ATTN: GENERAL COUNSEL
           REIMBURSEMENT AGREEMENT                                                                                                 93 WORCHESTER STREET
           EFFECTIVE NOVEMBER 01, 2013                                                                                             3RD FLOOR
                                                                                                                                   WELLESLEY, MA 02481

2. 2147    AMENDMENT NO. 2 TO THE                                      101339                   HARVARD PILGRIM HEALTH CARE        ATTN: GENERAL COUNSEL
           REIMBURSEMENT AGREEMENT                                                                                                 93 WORCHESTER STREET
           EFFECTIVE JANUARY 01, 2015                                                                                              3RD FLOOR
                                                                                                                                   WELLESLEY, MA 02481

2. 2148    AMENDMENT NO. 3 TO THE                                      101340                   HARVARD PILGRIM HEALTH CARE        ATTN: GENERAL COUNSEL
           REIMBURSEMENT AGREEMENT                                                                                                 93 WORCHESTER STREET
           EFFECTIVE JANUARY 01, 2015                                                                                              3RD FLOOR
                                                                                                                                   WELLESLEY, MA 02481

2. 2149    AMENDMENT NO. 4 TO THE                                      101341                   HARVARD PILGRIM HEALTH CARE        ATTN: GENERAL COUNSEL
           REIMBURSEMENT AGREEMENT                                                                                                 93 WORCHESTER STREET
           EFFECTIVE JANUARY 01, 2016                                                                                              3RD FLOOR
                                                                                                                                   WELLESLEY, MA 02481

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2. 2150    AMENDMENT NO. 5 TO THE                                      101342                   HARVARD PILGRIM HEALTH CARE    ATTN: GENERAL COUNSEL
           REIMBURSEMENT AGREEMENT                                                                                             93 WORCHESTER STREET
           EFFECTIVE APRIL 01, 2016                                                                                            3RD FLOOR
                                                                                                                               WELLESLEY, MA 02481

2. 2151    AMENDMENT NO. 6 TO THE                                      101343                   HARVARD PILGRIM HEALTH CARE    ATTN: GENERAL COUNSEL
           REIMBURSEMENT AGREEMENT                                                                                             93 WORCHESTER STREET
           EFFECTIVE APRIL 01, 2016                                                                                            3RD FLOOR
                                                                                                                               WELLESLEY, MA 02481

2. 2152    AMENDMENT NO. 7 TO THE                                      101344                   HARVARD PILGRIM HEALTH CARE    ATTN: GENERAL COUNSEL
           REIMBURSEMENT AGREEMENT                                                                                             93 WORCHESTER STREET
           EFFECTIVE JANUARY 01, 2017                                                                                          3RD FLOOR
                                                                                                                               WELLESLEY, MA 02481

2. 2153    AMENDMENT NO. 8 TO THE                                      101345                   HARVARD PILGRIM HEALTH CARE    ATTN: GENERAL COUNSEL
           REIMBURSEMENT AGREEMENT                                                                                             93 WORCHESTER STREET
           EFFECTIVE APRIL 01, 2018                                                                                            3RD FLOOR
                                                                                                                               WELLESLEY, MA 02481

2. 2154    COMMERCIAL REBATE AGREEMENT                                 101366                   HEALTH NET PHARMACEUTICAL      ATTN: GENERAL COUNSEL
           EFFECTIVE JANUARY 01, 2018                                                           SERVICES                       2868 PROSPECT PARK DRIVE
                                                                                                                               SUITE 230
                                                                                                                               RANCHO CORDOVA, CA 95670

2. 2155    AMENDMENT NO. 1 TO MANAGED CARE                             101376                   HEALTHPARTNERS INC.            ATTN: PHARMACEUTICAL
           REBATE AGREEMENT EFFECTIVE JULY                                                                                     CONTRACT RELATIONS PROGRAM
           01, 2018                                                                                                            MANAGER
                                                                                                                               8170 - 33RD AVENUE SOUTH
                                                                                                                               MAIL STOP 21111B
                                                                                                                               BLOOMINGTON, MN 55425

2. 2156    AMENDMENT NO. 2 TO MANAGED CARE                             101377                   HEALTHPARTNERS INC.            ATTN: PHARMACEUTICAL
           REBATE AGREEMENT EFFECTIVE                                                                                          CONTRACT RELATIONS PROGRAM
           AUGUST 01, 2018                                                                                                     MANAGER
                                                                                                                               8170 - 33RD AVENUE SOUTH
                                                                                                                               MAIL STOP 21111B
                                                                                                                               BLOOMINGTON, MN 55425




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2. 2157    MANAGED CARE REBATE AGREEMENT                               101375                   HEALTHPARTNERS INC.               ATTN: PHARMACEUTICAL
           EFFECTIVE JULY 01, 2017                                                                                                CONTRACT RELATIONS PROGRAM
                                                                                                                                  MANAGER
                                                                                                                                  8170 - 33RD AVENUE SOUTH
                                                                                                                                  MAIL STOP 21111B
                                                                                                                                  BLOOMINGTON, MN 55425

2. 2158    AMENDMENT #2 TO THE                                         101458                   INDEPENDENT HEALTH ASSOCIATION    ATTN: GENERAL COUNSEL
           REIMBURSEMENT AGREEMENT DATED                                                        INC.                              511 FARBER LAKES DRIVE
           JANUARY 01, 2019                                                                                                       BUFFALO, NY 14221

2. 2159    AMENDMENT NO. 2 TO THE                                      101459                   INDEPENDENT HEALTH ASSOCIATION    ATTN: GENERAL COUNSEL
           REIMBURSEMENT AGREEMENT DATED                                                        INC.                              511 FARBER LAKES DRIVE
           JANUARY 01, 2019                                                                                                       BUFFALO, NY 14221

2. 2160    SALES AND REBATE AGREEMENT FOR                              101457                   INDEPENDENT HEALTH ASSOCIATION    ATTN: GENERAL COUNSEL
           MEDICARE PART D SERVICES                                                             INC.                              511 FARBER LAKES DRIVE
           EFFECTIVE JANUARY 01, 2014                                                                                             BUFFALO, NY 14221

2. 2161    AMENDMENT NO. 4 TO                                          101460                   INDEPENDENT HEALTH'S PHARMACY     ATTN: GENERAL COUNSEL
           REIMBURSEMENT AGREEMENT                                                              BENEFIT DIMENSIONS LLC            511 FARBER LAKES DRIVE
           EFFECTIVE JANUARY 01, 2014                                                                                             BUFFALO, NY 14221

2. 2162    AMENDMENT NO.1 TO ORDER FORM                                101553                   IQVIA INC                         ATTN: GENERAL COUNSEL
           FOR GOVERNMENT REBATE ANALYZER                                                                                         ONE IMS DRIVE
           SERVICES EFFECTIVE NOVEMBER 09,                                                                                        PLYMOUTH MEETING, PA 19462
           2018

2. 2163    AMENDMENT NO. 2 TO REBATE                                   101907                   MAYO FOUNDATION FOR MEDICAL       ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE JANUARY 01,                                                      EDUCATION AND RESEARCH            200 FIRST ST. S.W.
           2019                                                                                                                   ROCHESTER, MN 55905

2. 2164    AMENDMENT NO. 11 TO SALES AND                               101950                   MEDLMPACT HEALTHCARE SYSTEMS      ATTN: GENERAL COUNSEL
           REBATE AGREEMENT FOR MEDICARE                                                        INC.                              10680 TREENA STREET
           PART D SERVICES EFFECTIVE                                                                                              5TH FLOOR
           JANUARY 01, 2019                                                                                                       SAN DIEGO, CA 92131

2. 2165    AMENDMENT NO. 14 TO                                         101949                   MEDLMPACT HEALTHCARE SYSTEMS      ATTN: GENERAL COUNSEL
           REIMBURSEMENT AGREEMENT                                                              INC.                              10680 TREENA STREET
           EFFECTIVE JANUARY 01, 2019                                                                                             5TH FLOOR
                                                                                                                                  SAN DIEGO, CA 92131

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2. 2166    SALES AND REBATE AGREEMENT FOR                              101948                   MEDLMPACT HEALTHCARE SYSTEMS      ATTN: GENERAL COUNSEL
           MEDICARE PART D SERVICES                                                             INC.                              10680 TREENA STREET
           EFFECTIVE JANUARY 01, 2007                                                                                             5TH FLOOR
                                                                                                                                  SAN DIEGO, CA 92131

2. 2167    MISSOURI SUPPLEMENTAL DRUG-                                 102030                   MO HEALTHNET DIVISION             ATTN: STEPHEN COLLOWAY, R.PH
           REBATE AGREEMENT DATED APRIL 01,                                                                                       615 HOWERTON CT, 2ND FLOOR
           2018                                                                                                                   JEFFERSON CITY, MO 65109

2. 2168    AMENDMENT NO. 3 TO                                          102188                   NAVITUS HEALTH SOLUTIONS LLC      ATTN: GENERAL COUNSEL
           REIMBURSEMENT AGREEMENT                                                                                                2601 WEST BETLINE HIGHWAY
           EFFECTIVE JULY 01, 2018                                                                                                SUITE 600
                                                                                                                                  MADISON, WI 53713

2. 2169    AMENDMENT NO. 3 TO SALES AND                                102187                   NAVITUS HEALTH SOLUTIONS LLC      ATTN: GENERAL COUNSEL
           REBATE AGREEMENT EFFECTIVE                                                                                             2601 WEST BETLINE HIGHWAY
           JANUARY 01, 2018                                                                                                       SUITE 600
                                                                                                                                  MADISON, WI 53713

2. 2170    SALES AND REBATE AGREEMENT FOR                              102186                   NAVITUS HEALTH SOLUTIONS LLC      ATTN: GENERAL COUNSEL
           MEDICARE PART D SERVICES                                                                                               2601 WEST BETLINE HIGHWAY
           EFFECTIVE JANUARY 01, 2015                                                                                             SUITE 600
                                                                                                                                  MADISON, WI 53713

2. 2171    WORK FIRST NEW JERSEY GENERAL                               102202                   NEW JERSEY DEPARTMENT OF          ATTN: GENERAL COUNSEL
           ASSISTANCE WRAP AROUND PROGRAM                                                       HUMAN SERVICES                    OFFICE OF LEGAL AND
           DRUG REBATE AGREEMENT EXECUTED                                                                                         REGULATORY AFFAIRS
           SEPTEMBER 05, 2008                                                                                                     222 S. WARREN STREET, 6TH
                                                                                                                                  FLOOR
                                                                                                                                  TRENTON, NJ 08625

2. 2172    SUPPLEMENTAL REBATE AGREEMENT                               102278                   OKLAHOMA HEALTH CARE AUTHORITY    ATTENTION: KERRI WADE
           EFFECTIVE JANUARY 01, 2019                                                                                             4345 N LINCOLN BLVD
                                                                                                                                  OKLAHOMA CITY, OK 73105-5101

2. 2173    AMENDMENT NO. 6 TO REBATE                                   102308                   OPTUM RX, INC.                    ATTN: S.V.P., INDUSTRY
           AGREEMENT EFFECTIVE JANUARY 01,                                                                                        RELATIONS
           2019                                                                                                                   17900 VON KARMAN AVENUE
                                                                                                                                  M/S CA016-0202
                                                                                                                                  IRVINE, CA 92614



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2. 2174    AMENDMENT NO. 8 TO THE MEDICARE                             102307                   OPTUM RX, INC.                      ATTN: S.V.P., INDUSTRY
           PART D REBATE AGREEMENT                                                                                                  RELATIONS
           EFFECTIVE JANUARY 01, 2017                                                                                               17900 VON KARMAN AVENUE
                                                                                                                                    M/S CA016-0202
                                                                                                                                    IRVINE, CA 92614

2. 2175    MEDICARE PART D REBATE                                      106210                   OPTUM RX, INC.                      ATTN: S.V.P. INDUSTRY
           AGREEMENT DATED AUGUST 1, 2009                                                                                           RELATIONS
           (LAST AMENDED JANUARY 1, 2017)                                                                                           17900 VON KARMEN AVE.
           AMONG OPTUM RX., INC AND THE                                                                                             M/S CA 016-0202
           COMPANY                                                                                                                  IRVINE, CA 92614

2. 2176    REBATE AGREEMENT DATED JANUARY                              106211                   OPTUM RX, INC.                      ATTN: S.V.P. INDUSTRY
           1, 2013 (LAST AMENDED JANUARY 1,                                                                                         RELATIONS
           2019) AMONG OPTUM RX, INC. AND THE                                                                                       17900 VON KARMEN AVE.
           COMPANY                                                                                                                  M/S CA 016-0202
                                                                                                                                    IRVINE, CA 92614

2. 2177    REBATE AGREEMENT                                            102448                   PHARMACY DRUG REBATE UNIT,          ATTN: GENERAL COUNSEL
                                                                                                OFFICE OF UTILIZATION MANAGEMENT    DIVISION OF MEDICAL
                                                                                                                                    ASSISTANCE AND HEALTH
                                                                                                                                    SERVICES
                                                                                                                                    P.O. BOX 712, MAIL CODE 54
                                                                                                                                    TRENTON, NJ 08625

2. 2178    AMENDMENT NO. 1 TO THE MEDICARE                             102599                   PRIME THERAPEUTICS LLC              ATTN: VICE PRESIDENT
           PART D REBATE AGREEMENT                                                                                                  PHARMACEUTICAL TRADE
           EFFECTIVE JANUARY 01, 2016                                                                                               RELATIONS
                                                                                                                                    2900 AMES CROSSING ROAD
                                                                                                                                    EAGAN, MN 55121

2. 2179    AMENDMENT NO. 2 TO COMMERCIAL                               102602                   PRIME THERAPEUTICS LLC              ATTN: VICE PRESIDENT
           REBATE AND ADMINISTRATIVE FEE                                                                                            PHARMACEUTICAL TRADE
           AGREEMENT EFFECTIVE JULY 01, 2018                                                                                        RELATIONS
                                                                                                                                    2900 AMES CROSSING ROAD
                                                                                                                                    EAGAN, MN 55121

2. 2180    AMENDMENT NO. 2 TO THE MEDICARE                             102600                   PRIME THERAPEUTICS LLC              ATTN: VICE PRESIDENT
           PART D REBATE AGREEMENT                                                                                                  PHARMACEUTICAL TRADE
           EFFECTIVE JANUARY 01, 2017                                                                                               RELATIONS
                                                                                                                                    2900 AMES CROSSING ROAD
                                                                                                                                    EAGAN, MN 55121

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2. 2181    AMENDMENT NO. 3 TO THE MEDICARE                             102601                   PRIME THERAPEUTICS LLC           ATTN: VICE PRESIDENT
           PART D REBATE AGREEMENT                                                                                               PHARMACEUTICAL TRADE
           EFFECTIVE JANUARY 01, 2018                                                                                            RELATIONS
                                                                                                                                 2900 AMES CROSSING ROAD
                                                                                                                                 EAGAN, MN 55121

2. 2182    AMENDMENT NO. 4 TO THE MEDICARE                             102603                   PRIME THERAPEUTICS LLC           ATTN: VICE PRESIDENT
           PART D REBATE AGREEMENT                                                                                               PHARMACEUTICAL TRADE
           EFFECTIVE JANUARY 01, 2019                                                                                            RELATIONS
                                                                                                                                 2900 AMES CROSSING ROAD
                                                                                                                                 EAGAN, MN 55121

2. 2183    AMENDMENT NO. 4 TO THE MEDICARE                             102604                   PRIME THERAPEUTICS LLC           ATTN: VICE PRESIDENT
           PART D REBATE AGREEMENT                                                                                               PHARMACEUTICAL TRADE
           EFFECTIVE JANUARY 01, 2019                                                                                            RELATIONS
                                                                                                                                 2900 AMES CROSSING ROAD
                                                                                                                                 EAGAN, MN 55121

2. 2184    MEDICARE PART D REBATE                                      102581                   PRIME THERAPEUTICS LLC           ATTN: VICE PRESIDENT
           AGREEMENT DATED JANUARY 1, 2015                                                                                       PHARMACEUTICAL TRADE
           (LAST AMENDED JANUARY 1, 2019)                                                                                        RELATIONS
           AMONG PRIME THERAPEUTICS AND                                                                                          2900 AMES CROSSING ROAD
           THE COMPANY                                                                                                           EAGAN, MN 55121

2. 2185    MEDICARE PART D REBATE                                      102581                   PRIME THERAPEUTICS LLC           ATTN: VICE PRESIDENT
           AGREEMENT EFFECTIVE JANUARY 01,                                                                                       PHARMACEUTICAL TRADE
           2015                                                                                                                  RELATIONS
                                                                                                                                 2900 AMES CROSSING ROAD
                                                                                                                                 EAGAN, MN 55121

2. 2186    REBATE AGREEMENT DATED JANUARY                              102582                   PRIME THERAPEUTICS LLC           ATTN: VICE PRESIDENT
           1, 2018 (LAST AMENDED JULY 1, 2018)                                                                                   PHARMACEUTICAL TRADE
           AMONG PRIME THERAPEUTICS LLC AND                                                                                      RELATIONS
           THE COMPANY                                                                                                           2900 AMES CROSSING ROAD
                                                                                                                                 EAGAN, MN 55121

2. 2187    AMENDMENT NO. 7 TO THE                                      102624                   PROCARE PHARMACY BENEFIT         ATTN: GENERAL COUNSEL
           REIMBURSEMENT AGREEMENT                                                              MANAGER INC.                     3090 PREMIERE PARKWAY
           EFFECTIVE OCTOBER 01, 2017                                                                                            SUITE 100
                                                                                                                                 DULUTH, GA 30097




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2. 2188    REIMBURSEMENT AGREEMENT                                     102622                   PROCARE PHARMACY BENEFIT         ATTN: GENERAL COUNSEL
           EFFECTIVE JANUARY 01, 2011                                                           MANAGER INC.                     3090 PREMIERE PARKWAY
                                                                                                                                 SUITE 100
                                                                                                                                 DULUTH, GA 30097

2. 2189    MEDICARE PART D REBATE                                      102952                   RXSOLUTIONS INC. D/B/A           ATTN: ANGELO GIAMBRONE, SVP,
           AGREEMENT EFFECTIVE AUGUST 01,                                                       PRESCRIPTION SOLUTIONS           INDUSTRY AND NETWORK
           2009                                                                                                                  RELATIONS
                                                                                                                                 5994 PLAZA DRIVE
                                                                                                                                 M/S 112-0535
                                                                                                                                 CYPRESS, CA 90630

2. 2190    PHARMACEUTICAL PRICING                                      105879                   SECRETARY OF DEPARTMENT OF       DEPARTMENT OF VETERANS
           AGREEMENT (DISCOUNT) EFFECTIVE                                                       VETERANS AFFAIRS                 AFFAIRS
           JANUARY 01, 1996                                                                                                      OFFICE OF ACQUISITION,
                                                                                                                                 LOGISTICS, AND CONSTRUCTION
                                                                                                                                 NATIONAL ACQUISITION CENTER
                                                                                                                                 P.O. BOX 76
                                                                                                                                 HINES, IL 60141

2. 2191    MEDICARE COVERAGE GAP DISCOUNT                              105882                   SECRETARY OF HEALTH AND HUMAN    DEPARTMENT OF HEALTH AND
           PROGRAM AGREEMENT EFFECTIVE                                                          SERVICES                         HUMAN SERVICES, HEALTH
           JANUARY 01, 2011                                                                                                      RESOURCES & SERVICES
                                                                                                                                 ADMINISTRATION
                                                                                                                                 HEALTHCARE SYSTEMS BUREAU
                                                                                                                                 ROCKVILLE, MD 20857

2. 2192    PHARMACEUTICAL PRICING                                      105881                   SECRETARY OF HEALTH AND HUMAN    DEPARTMENT OF HEALTH AND
           AGREEMENT (DISCOUNT) EFFECTIVE                                                       SERVICES                         HUMAN SERVICES, HEALTH
           NOVEMBER 21, 1995                                                                                                     RESOURCES & SERVICES
                                                                                                                                 ADMINISTRATION
                                                                                                                                 HEALTHCARE SYSTEMS BUREAU
                                                                                                                                 ROCKVILLE, MD 20857

2. 2193    REBATE AGREEMENT EFFECTIVE JUNE                             105880                   SECRETARY OF HEALTH AND HUMAN    DEPARTMENT OF HEALTH AND
           03, 2018                                                                             SERVICES                         HUMAN SERVICES, HEALTH
                                                                                                                                 RESOURCES & SERVICES
                                                                                                                                 ADMINISTRATION
                                                                                                                                 HEALTHCARE SYSTEMS BUREAU
                                                                                                                                 ROCKVILLE, MD 20857




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2. 2194    AMENDMENT NO. 1 TO THE MEDICARE                             103043                   SELECTHEALTH INC                ATTN: CONTRACT MANAGER
           PART D REBATE AGREEMENT                                                                                              5381 GREEN STREET
           EFFECTIVE JANUARY 01, 2019                                                                                           MURRAY, UT 84123

2. 2195    MEDICARE PART D REBATE                                      103042                   SELECTHEALTH INC                ATTN: CONTRACT MANAGER
           AGREEMENT EFFECTIVE DECEMBER 31,                                                                                     5381 GREEN STREET
           2018                                                                                                                 MURRAY, UT 84123

2. 2196    ARKANSAS SUPPLEMENTAL REBATE                                103181                   STATE OF ARKANSAS DEPARTMENT    ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE JANUARY 01,                                                      OF HUMAN SERVICES               700 MAIN STREET, SLOT S-415
           2017                                                                                                                 LITTLE ROCK 72201

2. 2197    MISSOURI SUPPLEMENTAL DRUG-                                 103182                   STATE OF MISSOURI HEALTHNET     ATTN: STEPHEN CALLOWAY,
           REBATE AGREEMENT EFFECTIVE APRIL                                                     DIVISION                        DIRECTOR OF PHARMACY
           01, 2018                                                                                                             MO HEALTHNET DIVISION
                                                                                                                                JEFFERSON CITY 65109

2. 2198    NATIONAL DRUG REBATE AGREEMENT                              103382                   THE SECRETARY OF HEALTH AND     ATTN: GENERAL COUNSEL
           EXECUTED JUNE 13, 2018                                                               HUMAN SERVICES                  7500 SECURITY BOULVARD
                                                                                                                                MAIL STOP S2-14-26
                                                                                                                                BALTIMORE, MA 21244-1850

2. 2199    REBATE AGREEMENT EXECUTED                                   103383                   THE SECRETARY OF HEALTH AND     ATTN: CHIEF, NON-INSTITUTIONAL
           NOVEMBER 21, 1995                                                                    HUMAN SERVICES                  PAYMENT POLICY BRANCH
                                                                                                                                OFFICE OF MEDICAID POLICY,
                                                                                                                                MEDICAID BUREAU
                                                                                                                                POST OFFICE BOX 26686
                                                                                                                                BALTIMORE, MD 21207-0486

2. 2200    REBATE AGREEMENT EFFECTIVE                                  105883                   TRICARE MANAGEMENT ACTIVITY     PHARMACEUTICAL OPERATIONAL
           NOVEMBER 03, 2009                                                                                                    DIRECTORATE
                                                                                                                                TRICARE RETAIL REFUND
                                                                                                                                PROGRAM
                                                                                                                                7700 ARLINGTON BLVD, SUITE 5101
                                                                                                                                FALLS CHURCH, VA 22042




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2. 2201    DOD RETAIL REFUND PRICING                                   106221                   TRICARE MANAGEMENT ACTIVITY      ATTN: GENERAL COUNSEL
           AGREEMENT DATED APRIL 4, 2014                                                        (TMA)                            PHARMACEUTICAL OPERATIONAL
           BETWEEN TRICARE MANAGEMENT                                                                                            DIRECTORATE,TRICARE RETAIL
           ACTIVITY (TMA) AND THE COMPANY                                                                                        REFUND PROGRAM
                                                                                                                                 SKYLINE 5 SUITE 810, 5111
                                                                                                                                 LEESBURG PIKE
                                                                                                                                 FALLS CHURCH, VA 22041-3206

2. 2202    DOD SECTION 703 PRICING                                     105884                   TRICARE MANAGEMENT ACTIVITY      ATTN: GENERAL COUNSEL
           AGREEMENT DATED NOVEMBER 3, 2009                                                     (TMA)                            PHARMACEUTICAL OPERATIONAL
           BETWEEN TRICARE MANAGEMENT                                                                                            DIRECTORATE,TRICARE RETAIL
           ACTIVITY (TMA) AND THE COMPANY                                                                                        REFUND PROGRAM
                                                                                                                                 SKYLINE 5 SUITE 810, 5111
                                                                                                                                 LEESBURG PIKE
                                                                                                                                 FALLS CHURCH, VA 22041-3206

2. 2203    FEDERAL SUPPLY SCHEDULE                                     105884                   U.S. DEPARTMENT OF VETERAN       DEPARTMENT OF VETERANS
           (DISCOUNT) EFFECTIVE MAY 01, 2012                                                    AFFAIRS                          AFFAIRS
                                                                                                                                 OFFICE OF ACQUISITION,
                                                                                                                                 LOGISTICS, AND CONSTRUCTION
                                                                                                                                 NATIONAL ACQUISITION CENTER
                                                                                                                                 P.O. BOX 76
                                                                                                                                 HINES, IL 60141

2. 2204    AMENDMENT #1 TO THE                                         103668                   VENTEGRA INC                     ATTN: GENERAL COUNSEL
           REIMBURSEMENT AGREEMENT                                                                                               450 NORTH BRAND BOULEVARD
           EFFECTIVE JANUARY 01, 2018                                                                                            SUITE 600
                                                                                                                                 GLENDALE, CA 91203

2. 2205    REBATE AGREEMENT EFFECTIVE MAY                              103671                   VERMONT PREVENTION ASSISTANCE    ATTN: GENERAL COUNSEL
           31, 2001                                                                             TRANSITION AND HEALTH ACCESS




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Intellectual Property Agreements

2. 2206    ASSIGNMENT AND ASSUMPTION                                   100007                   4TH DOWN SOFTWARE                   ATTN: GENERAL COUNSEL
           AGREEMENT DATED JANUARY 01, 2017                                                     DEVELOPMENT, LLC                    9 BRADY RD
                                                                                                                                    WARREN, NJ 07059

2. 2207    AMENDED AND RESTATED LICENSE                                106206                   ABBOT LABORATORIES                  ATTN: GENERAL COUNSEL
           AGREEMENT BETWEEN ABBOT                                                                                                  100 ABBOTT PARK ROAD
           LABORATORIES AND PURDUE PHARMA                                                                                           BUILDING AP34, DEPARTMENT
           L.P., DATED MARCH 21, 2011                                                                                               R50A
           (EFFECTIVE DECEMBER 21, 2007), AS                                                                                        ABBOTT PARK, IL 60064-3500
           AMENDED BY AMENDMENT 1 AND 2

2. 2208    AMENDED AND RESTATED LICENSE                                100016                   ABBVIE INC. (F/K/A ABBOTT           ATTN: PRESIDENT,
           AGREEMENT DATED MARCH 21, 2011                                                       LABORATORIES)                       PHARMACEUTICAL PRODUCTS
                                                                                                                                    100 ABBOTT PARK ROAD
                                                                                                                                    ABBOTT PARK, IL 60064-3500

2. 2209    AMENDED AND RESTATED LICENSE                                100017                   ABBVIE INC. (F/K/A ABBOTT           ATTN: PRESIDENT
           AGREEMENT EFFECTIVE DECEMBER 21,                                                     LABORATORIES)                       PHARMACEUTICAL PRODUCTS
           2007                                                                                                                     100 ABBOTT PARK ROAD
                                                                                                                                    ABBOTT PARK, IL 60064-3500

2. 2210    AMENDMENT #1 TO LICENSE                                     100024                   ABBVIE INC. (F/K/A ABBOTT           ATTN: PRESIDENT,
           AGREEMENT DATED MARCH 26, 2010                                                       LABORATORIES)                       PHARMACEUTICAL PRODUCTS
                                                                                                                                    100 ABBOTT PARK ROAD
                                                                                                                                    ABBOTT PARK, IL 60064-3500

2. 2211    AMENDMENT #1 TO LICENSE                                     100021                   ABBVIE INC. (F/K/A ABBOTT           ATTN: GENERAL COUNSEL
           AGREEMENTS EFFECTIVE APRIL 10,                                                       LABORATORIES)                       100 ABBOTT PARK ROAD
           2009                                                                                                                     ABBOTT PARK, IL 60064-3500

2. 2212    AMENDMENT NO. 1 TO AMENDED AND                              100028                   ABBVIE INC. (F/K/A ABBOTT           ATTN: PRESIDENT,
           RESTATED LICENSE AGREEMENT                                                           LABORATORIES)                       PHARMACEUTICAL PRODUCTS
           DATED APRIL 15, 2011                                                                                                     100 ABBOTT PARK ROAD
                                                                                                                                    ABBOTT PARK, IL 60064-3500

2. 2213    AMENDMENT NO. 2 TO AMENDED AND                              100030                   ABBVIE INC. (F/K/A ABBOTT           ATTN: PRESIDENT,
           RESTATED LICENSE AGREEMENT                                                           LABORATORIES)                       PHARMACEUTICAL PRODUCTS
           DATED FEBRUARY 20, 2014                                                                                                  100 ABBOTT PARK ROAD
                                                                                                                                    ABBOTT PARK, IL 60064-3500


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2. 2214    ASSIGNMENT OF CANADIAN PATENT                               100027                   ABBVIE INC. (F/K/A ABBOTT           ATTN: GENERAL COUNSEL
           APPLICATION DATED APRIL 29, 2010                                                     LABORATORIES)                       100 ABBOTT PARK ROAD
                                                                                                                                    ABBOTT PARK, IL 60064

2. 2215    LICENSE AGREEMENT DATED AUGUST                              100014                   ABBVIE INC. (F/K/A ABBOTT           ATTN: PRESIDENT,
           31, 2006                                                                             LABORATORIES)                       PHARMACEUTICAL PRODUCTS
                                                                                                                                    DIVISION
                                                                                                                                    100 ABBOTT PARK ROAD
                                                                                                                                    ABBOTT PARK, IL 60064-3500

2. 2216    LICENSE AGREEMENT DATED                                     100015                   ABBVIE INC. (F/K/A ABBOTT           ATTN: PRESIDENT,
           DECEMBER 21, 2007                                                                    LABORATORIES)                       PHARMACEUTICAL PRODUCTS
                                                                                                                                    DIVISION
                                                                                                                                    100 ABBOTT PARK ROAD
                                                                                                                                    ABBOTT PARK, IL 60064-3500

2. 2217    LICENSE AGREEMENT DATED                                     100022                   ABBVIE INC. (F/K/A ABBOTT           ATTN: PRESIDENT,
           OCTOBER 05, 2009                                                                     LABORATORIES)                       PHARMACEUTICAL PRODUCTS
                                                                                                                                    DIVISION
                                                                                                                                    100 ABBOTT PARK ROAD
                                                                                                                                    ABBOTT PARK, IL 60064-3500

2. 2218    LICENSE AGREEMENT DATED                                     100018                   ABBVIE INC. (F/K/A ABBOTT           ATTN: PRESIDENT,
           OCTOBER 13, 2008                                                                     LABORATORIES)                       PHARMACEUTICAL PRODUCTS
                                                                                                                                    DIVISION
                                                                                                                                    100 ABBOTT PARK ROAD
                                                                                                                                    ABBOTT PARK, IL 60064

2. 2219    LICENSE AGREEMENT DATED                                     100020                   ABBVIE INC. (F/K/A ABBOTT           ATTN: PRESIDENT,
           OCTOBER 13, 2008                                                                     LABORATORIES)                       PHARMACEUTICAL PRODUCTS
                                                                                                                                    DIVISION
                                                                                                                                    100 ABBOTT PARK ROAD
                                                                                                                                    ABBOTT PARK, IL 60064-3500

2. 2220    PATENT LICENSE AGREEMENT AMONG                              106208                   ABHAI, LLC                          C/O KVK-TECH INC
           ABHAI, LLC AND CERTAIN ASSOCIATED                                                                                        110 TERRY DRIVE
           COMPANIES AND PURDUE PHARMA                                                                                              SUITE 200
           L.P., THE P.F. LABORATORIES, INC.,                                                                                       NEWTON, PA 18940
           PURDUE PHARMACEUTICALS L.P., AND
           RHODES TECHNOLOGIES, DATED
           DECEMBER 22, 2017



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2. 2221    AMENDMENT #1 TO MASTER                                      100051                   ACCELERYS SOFTWARE INC.         ATTN: GENERAL COUNSEL
           LICENSE/SERVICES AGREEMENT                                                                                           10188 TELESIS COURT
           DATED JUNE 01, 2013                                                                                                  SUITE 100
                                                                                                                                SAN DIEGO, CA 92121

2. 2222    LICENSE AGREEMENT EFFECTIVE MAY                             100052                   ACCELLION, INC.                 ATTN: GENERAL COUNSEL
           26, 2004                                                                                                             1900 EMBARCADERO ROAD
                                                                                                                                SUITE 207
                                                                                                                                PALO ALTO, CA 94303

2. 2223    ADDENDUM 4 TO LICENSE PURCHASE                              100053                   ACCELRYS INC.                   ATTN: GENERAL COUNSEL
           AGREEMENT DATED DECEMBER 27,                                                                                         9685 SCRANTON ROAD
           2002                                                                                                                 SAN DIEGO, CA 92121

2. 2224    MASTER LICENSE AND SERVICE                                  100055                   ACCELRYS SOFTWARE INC.          ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE DECEMBER 20,                                                                                     10188 TELESIS COURT
           2012                                                                                                                 SUITE 100
                                                                                                                                SAN DIEGO, CA 92121

2. 2225    AMENDMENT 4 TO ADDENDUM 4 TO                                100056                   ACCELRYS SOFTWARE SOLUTIONS     ATTN: GENERAL COUNSEL
           LICENSE PURCHASE AGREEMENT                                                           INC.                            10188 TELESIS COURT
           DATED NOVEMBER 06, 2006                                                                                              SAN DIEGO, CA 92121

2. 2226    EVALUATION AND DEMONSTRATION                                100060                   ACCENTURE LLP                   ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT EFFECTIVE                                                                                          161 NORTH CLARK STREET
           MARCH 02, 2010                                                                                                       CHICAGO, IL

2. 2227    PATENT LICENSE AGREEMENT AMONG                              106214                   ACTAVIS, INC. (F/K/A WATSON     ATTN: DAVID BUCHEN
           ACTAVIS, INC. (F/K/A WATSON                                                          PHARMACEUTICALS INC.)           MORRIS CORPORATE CENTER III
           PHARMACEUTICALS INC.) AND PURDUE                                                                                     400 INTERPACE PARKWAY
           PHARMA L.P., THE P.F. LABORATORIES,                                                                                  PARSIPPANY, NJ 07054
           INC., PURDUE PHARMACEUTICALS L.P.,
           AND RHODES TECHNOLOGIES, DATED
           APRIL 25, 2013

2. 2228    NON-EXCLUSIVE LICENSE AGREEMENT                             100127                   ALAUNUS PHARMACEUTICAL, LLC     ATTN: GENERAL COUNSEL
           DATED OCTOBER 26, 2011                                                                                               687 WAVERLY STREET
                                                                                                                                FRAMINGHAM, MA 01702

2. 2229    AMENDMENT #1 TO SITE LICENSE                                100195                   AMERICAN MEDICAL ASSOCIATION    ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE OCTOBER 01,                                                                                      515 NORTH STATE STREET
           2010                                                                                                                 CHICAGO, IL 60610
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2. 2230    LICENSE AGREEMENT DATED                                     100194                   AMERICAN MEDICAL ASSOCIATION      ATTN: GENERAL COUNSEL
           OCTOBER 01, 2007                                                                                                       515 NORTH STATE STREET
                                                                                                                                  CHICAGO, IL 60610

2. 2231    LICENSE AND DEVELOPMENT                                      9049                    ANABIOS CORPORATION               ATTN: ANDRE GHETTI, PHD, CEO
           AGREEMENT DATED DECEMBER 2, 2016                                                                                       SAN DIEGO SCIENCE CENTER
                                                                                                                                  3030 BUNKER HILL STREET, SUITE
                                                                                                                                  312
                                                                                                                                  SAN DIEGO, CA 92109

2. 2232    LICENSE AGREEMENT EFFECTIVE                                 100252                   APEX HEALTH INNOVATIONS, LLC      ATTN: GENERAL COUNSEL
           DECEMBER 15, 2016                                                                                                      3156 EVELYN AVENUE
                                                                                                                                  SIMI VALLEY, CA 93063

2. 2233    PATENT LICENSE AGREEMENT DATED                              100257                   APOTEX INC.                       ATTN: CHIEF COMMERCIAL
           AUGUST 31, 2009                                                                                                        OFFICER
                                                                                                                                  ATTN: GENERAL COUNSEL
                                                                                                                                  2400 NORTH COMMERCE
                                                                                                                                  PARKWAY, SUITE 400
                                                                                                                                  WESTON, FL 33326

2. 2234    PATENT LICENSE AGREEMENT AMONG                              106218                   ASCENT PHARMACEUTICALS, INC.      ATTN: GENERAL COUNSEL
           PURDUE PHARMA, L.P., THE P.F.                                                                                          400 S. TECHNOLOGY DRIVE
           LABORATORIES, INC., PURDUE                                                                                             CENTRAL SLIP, NY 11722
           PHARMACEUTICALS L.P., PURDUE
           PHARMA TECHNOLOGIES INC., RHODES
           TECHNOLOGIES, AND ASCENT
           PHARMACEUTICALS, INC. DATED
           MARCH 27, 2019

2. 2235    PATENT LICENSE AGREEMENT DATED                              100315                   AUROLIFE PHARMA LLC; AUROBINDO    ATTN: ROBERT G. CUNARD
           DECEMBER 24, 2013                                                                    PHARMA USA INC.                   6 WHEELING ROAD
                                                                                                                                  DAYTON 08810

2. 2236    APPLICATION SERVICE PROVIDER                                100337                   AXENTIS, INC.                     ATTN: GENERAL COUNSEL
           AGREEMENT DATED JUNE 29, 2007                                                                                          SKYLIGHT OFFICE TOWER
                                                                                                                                  1660 WEST 2ND STREET, SUITE
                                                                                                                                  250
                                                                                                                                  CLEVELAND, OH 44113




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2. 2237    ASSIGNMENT AND ASSUMPTION                                   100352                   BARD BIOPHARMA L.P.               ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE OCTOBER 17,                                                                                        COLLEGE RD E
           2001                                                                                                                   PRINCETON, NJ 08540

2. 2238    ASSIGNMENT AND NON-EXCLUSIVE                                100364                   BEACON HILL TECHNOLOGIES, INC.    ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT DATED MARCH                                                                                          55 BEACH PLUM LANE
           01, 2005                                                                                                               SCITUATE, MA 02066

2. 2239    LICENSE, SUPPLY AND DISTRIBUTION                            100391                   BIOFILL PRODUCTOS                 ATTN: GENERAL COUNSEL
           AGREEMENT DATED JUNE 02, 1994                                                        BIOTECNOLOGICS S.A.               RUA MATEUS LEME NO. 2.418
                                                                                                                                  CENTRO CIVICO
                                                                                                                                  CURITIBA, PARANA
                                                                                                                                  BRAZIL

2. 2240    END USER LICENSE AGREEMENT                                  100436                   BOMGAR CORPORATION                ATTN: GENERAL COUNSEL
           DATED SEPTEMBER 29, 2009                                                             (BOMGAR)(F/K/A                    578 HIGHLAND COLONY PARKWAY
                                                                                                NETWORKSTREAMING,INC.)            PARAGON CENTER, SUITE 300
                                                                                                                                  RIDGELAND, MS 39157

2. 2241    DATA EXTRACTION TOOL SOURCE                                 100499                   C/O MEDIADATA SOLUTIONS, INC.     ATTN: GENERAL COUNSEL
           CODE LICENSE DATED MARCH 28, 2013                                                                                      79 FIFTH AVENUE
                                                                                                                                  8TH FLOOR
                                                                                                                                  NEW YORK, NY 10003

2. 2242    LICENSE AGREEMENT DATED                                     100509                   CAMBRIDGE SOFT CORPORATION        ATTN: GENERAL COUNSEL
           SEPTEMBER 30, 2011                                                                                                     PURDUE: 6 CEDARBROOK DRIVE
                                                                                                                                  CRANBURY, NJ 08512
                                                                                                                                  100 CAMBRIDGEPARK DRIVE
                                                                                                                                  CAMBRIDGE, MA 02140

2. 2243    SECOND AMENDMENT TO LICENSE                                 100510                   CAMBRIDGESOFT CORP.               ATTN: GENERAL COUNSEL
           AGREEMENT DATED NOVEMBER 13,                                                                                           940 WINTER STREET
           2013                                                                                                                   WALTHAM, MA 02451

2. 2244    AMENDMENT #1 TO LICENSE                                     100511                   CAMBRIDGESOFT CORPORATION         ATTN: CONTRACTS
           AGREEMENT DATED JUNE 28, 2013                                                                                          DEPARTMENT - INFORMATICS
                                                                                                                                  940 WINTER STREET
                                                                                                                                  WALTHAM, MA 02451




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2. 2245    EXCLUSIVE LICENSE AGREEMENT (EX-                            106231                   CELLACT PHARMA GMBH              ATTN: GENERAL COUNSEL
           US) BY AND AMONG CHARITÉ-                                                                                             OTTO-HAHN-STRAßE 15, 44227
           UNIVERSITÄTSMEDIZIN BERLIN AND                                                                                        DORTMUND, GERMANY
           CELLACT PHARMA GMBH DATED JULY
           31, 2017 AND ACCOMPANYING
           EXHIBITS(“CHARITÉ LICENSE EX-US”)
           [ASSIGNED BY CELLACT TO MICL]

2. 2246    EXCLUSIVE LICENSE AGREEMENT (US)                            106230                   CELLACT PHARMA GMBH              ATTN: GENERAL COUNSEL
           BY AND AMONG CHARITÉ-                                                                                                 OTTO-HAHN-STRAßE 15, 44227
           UNIVERSITÄTSMEDIZIN BERLIN AND                                                                                        DORTMUND, GERMANY
           CELLACT PHARMA GMBH DATED JULY
           31, 2017 AND ACCOMPANYING EXHIBITS
           (“CHARITÉ LICENSE US”) [ASSIGNED BY
           CELLACT TO PPLP]

2. 2247    EXCLUSIVE LICENSE AGREEMENT (EX-                            106233                   CHARITÉ-UNIVERSITÄTSMEDIZIN      ATTN: GENERAL COUNSEL
           US) BY AND AMONG CHARITÉ-                                                            BERLIN                           CHARITÉPL. 1, 10117 BERLIN,
           UNIVERSITÄTSMEDIZIN BERLIN AND                                                                                        GERMANY
           CELLACT PHARMA GMBH DATED JULY
           31, 2017 AND ACCOMPANYING
           EXHIBITS(“CHARITÉ LICENSE EX-US”)
           [ASSIGNED BY CELLACT TO MICL]

2. 2248    EXCLUSIVE LICENSE AGREEMENT (US)                            106232                   CHARITÉ-UNIVERSITÄTSMEDIZIN      ATTN: GENERAL COUNSEL
           BY AND AMONG CHARITÉ-                                                                BERLIN                           CHARITÉPL. 1, 10117 BERLIN,
           UNIVERSITÄTSMEDIZIN BERLIN AND                                                                                        GERMANY
           CELLACT PHARMA GMBH DATED JULY
           31, 2017 AND ACCOMPANYING EXHIBITS
           (“CHARITÉ LICENSE US”) [ASSIGNED BY
           CELLACT TO PPLP]

2. 2249    PROJECT AGREEMENT DATED                                     100596                   CHASE MEDICAL COMMUNICATIONS,    ATTN: GENERAL COUNSEL
           JANUARY 17, 2003                                                                     INC.                             65 OLD RIDGEFIELD ROAD
                                                                                                                                 WILTON, CT 06897

2. 2250    ASSIGNMENT AND LICENSE                                      100629                   CLARIOS CORPORATION              ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE DECEMBER 23,                                                                                      131 VARICK
           2004                                                                                                                  SUITE 937
                                                                                                                                 NEW YORK, NY 10013




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2. 2251    ASSIGNMENT AND NON-EXCLUSIVE                                100697                   COMPLIANCE DEVELOPMENT, INC.     ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT DATED                                                                                               16 WARD LANE
           NOVEMBER 22, 2004                                                                                                     DARIEN, CT 06820

2. 2252    AMENDMENT NO. 2 TO LICENSE                                  100710                   COMPUZED INC.                    ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AUGUST 15,                                                                                        C/O VISUAL ENTERPRISE
           2013                                                                                                                  ARCHITECTURE
                                                                                                                                 25-13 OLD KINGS HWY N
                                                                                                                                 DARIEN, CT 06820

2. 2253    SERVICE AND LICENSE AGREEMENT                               100735                   COREHEALTH TECHNOLOGIES, INC.    ATTN: GENERAL COUNSEL
           EFFECTIVE MAY 18, 2015                                                                                                #202 - 3275 LAKESHORE ROAD
                                                                                                                                 KELOWNA, BC V1W 3S9
                                                                                                                                 CANADA

2. 2254    GUARANTY OF RESEARCH,                                       100737                   CORIXA CORPORATION               ATTN: GENERAL COUNSEL
           DEVELOPMENT, AND LICENSE                                                                                              1124 COLUMBIA STREET
           AGREEMENT DATED SEPTEMBER 21,                                                                                         SUITE 200
           2000                                                                                                                  SEATTLE, WA 98104

2. 2255    RESEARCH, DEVELOPMENT AND                                   100740                   CORIXA CORPORATION               ATTN: CHIEF OPERATING
           LICENSE AGREEMENT EFFECTIVE                                                                                           OFFICER; GENERAL COUNSEL
           SEPTEMBER 21, 2002                                                                                                    1124 COLUMBIA STREET
                                                                                                                                 SUITE 200
                                                                                                                                 SEATTLE, WA 98104

2. 2256    RESTATED AND AMENDED RESEARCH,                              100739                   CORIXA CORPORATION               ATTN: CHIEF OPERATING OFFICER
           DEVELOPMENT, AND LICENSE                                                                                              1900 9TH AVENUE
           AGREEMENT AND RELEASE EFFECTIVE                                                                                       SUITE 1100
           JULY 11, 2005                                                                                                         SEATTLE, WA 98104

2. 2257    END USER LICENSE AGREEMENT                                  100744                   COURION CORPORATION              ATTN: GENERAL COUNSEL
           EFFECTIVE JUNE 27, 2014                                                                                               1900 WEST PARK DRIVE
                                                                                                                                 1ST FLOOR
                                                                                                                                 WESTBOROUGH, MA 01581-3919

2. 2258    SALE AND LICENSE AGREEMENT                                  100842                   DAVID LEW SIMON, M.D.            ATTN: GENERAL COUNSEL
           DATED JUNE 22, 2001                                                                                                   109 VALLEY STREET
                                                                                                                                 WILLIMANTIC, CT 06626




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2. 2259    SECOND AMENDATORY SERVICE                                   100870                   DENVER HEALTH AND HOSPITAL      ATTN: GENERAL COUNSEL
           ORDER #5 TO SUBSCRIPTION                                                             AUTHORITY                       660 BANNOCK STREET
           SERVICES AGREEMENT DATED                                                                                             DENVER, CO 80204
           JANUARY 01, 2012

2. 2260    SECOND AMENDATORY SUBSCRIPTION                              100868                   DENVER HEALTH AND HOSPITAL      ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT DATED                                                             AUTHORITY                       660 BANNOCK STREET
           SEPTEMBER 04, 2009                                                                                                   MC 1919
                                                                                                                                DENVER, CO 80204

2. 2261    NON-EXCLUSIVE SUB-LICENSE                                   100923                   DNL                             NOT AVAILABLE
           AGREEMENT EFFECTIVE APRIL 07, 2003

2. 2262    MASTER LICENSE AGREEMENT                                    100941                   DOWNSOFTWARE DEVELOPMENT LLC    ATTN: JAMES C. BODAJLO,
           EFFECTIVE JUNE 20, 2013                                                                                              MANAGING MEMEBER
                                                                                                                                4 FAWN LANE
                                                                                                                                MARTINSVILLE, NJ 08836

2. 2263    NON-EXCLUSIVE LICENSE AGREEMENT                             100943                   DR. ANDREAS ZIMMER              SIGMUND FREUD STRASSE 25
           DATED JUNE 17, 2003                                                                                                  53105
                                                                                                                                BONN
                                                                                                                                GEORGIA

2. 2264    LICENSE AGREEMENT DATED JUNE 24,                            100950                   DR/DECISION RESOURCES, LLC      PO BOX 83122
           2015                                                                                                                 WOBURN, MA 01813-3122

2. 2265    LICENSE AGREEMENT DATED                                     100998                   ELECTRONIC SUBMISSION           ATTN: GENERAL COUNSEL
           OCTOBER 16, 1997                                                                     PUBLISHING SYSTEMS, INC.        1300 VIRGINIA DRIVE
                                                                                                                                SUITE 215
                                                                                                                                FORT WASHINGTON, PA

2. 2266    COLLABORATIVE DEVELOPMENT AND                               101006                   ELMINDA LTD.                    ATTN: PRESIDENT AND CEO
           LICENSE AGREEMENT DATED                                                                                              16 HAMINHARA STREET
           DECEMBER 19, 2012                                                                                                    HERZLIYA 46586
                                                                                                                                ICELAND

2. 2267    AMENDMENT, TERMINATION AND                                   9033                    ESTEVE PHARMACEUTICALS, S.A.    FAO: DANIEL GIRONA, GENERAL
           LICENSE AGREEMENT DATED                                                                                              COUNSEL
           DECEMBER 21, 2018                                                                                                    PASSEIG DE LA ZONA FRANCA
                                                                                                                                109, 4A PLANTA
                                                                                                                                BARCELONA, SPAIN 08038

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2. 2268    ASSIGNMENT OF PATENTS DATED                                 101074                   EURO-CELTIQUE S.A.                    ATTN: GENERAL COUNSEL
           OCTOBER 14, 2005                                                                                                           122 BOULEVARD DE LA PETRUSSE
                                                                                                                                      L-2330
                                                                                                                                      LUXEMBOURG

2. 2269    ASSIGNMENT OF PATENTS DATED                                 101080                   EURO-CELTIQUE, S.A.                   ATTN: GENERAL COUNSEL
           OCTOBER 25, 2005                                                                                                           122 BOULEVARD DE LA PETRUSSE
                                                                                                                                      L-2330
                                                                                                                                      LUXEMBOURG

2. 2270    ASSIGNMENT OF PATENTS DATED                                 101081                   EURO-CELTIQUE, S.A.                   ATTN: GENERAL COUNSEL
           OCTOBER 25, 2005                                                                                                           122 BOULEVARD DE LA PETRUSSE
                                                                                                                                      L02330
                                                                                                                                      LUXEMBOURG

2. 2271    ASSIGNMENT OF PATENTS DATED                                 101082                   EURO-CELTIQUE, S.A.                   ATTN: GENERAL COUNSEL
           SEPTEMBER 22, 2011                                                                                                         122 BOULEVARD DE LA PETRUSSE
                                                                                                                                      L-2330
                                                                                                                                      LUXEMBOURG

2. 2272    AMENDMENT TO FIRSTDOCS FOR R & D                            101140                   FCG CSI, INC. DBA FIRST CONSULTING    ATTN: EXECUTIVE VICE
           SERVICE AND LICENSE AGREEMENT                                                        GROUP                                 PRESIDENT
           EFFECTIVE JANUARY 01, 2008                                                                                                 575 EAST SWEDESFORD ROAD
                                                                                                                                      SUITE 200
                                                                                                                                      WAYNE, PA 19087

2. 2273    AMENDMENT TO FIRSTDOCS FOR R&D                              101138                   FCG CSI, INC. DBA FIRST CONSULTING    ATTN: EXECUTIVE VICE
           SERVICE & LICENSE AGREEMENT                                                          GROUP                                 PRESIDENT
           EFFECTIVE FEBRUARY 24, 2007                                                                                                575 EAST SWEDESFORD ROAD
                                                                                                                                      SUITE 200
                                                                                                                                      WAYNE, PA 19087

2. 2274    END USER LICENSE AGREEMENT                                  101173                   FORMEDIX                              ATTN: GENERAL COUNSEL
           EFFECTIVE FEBRUARY 01, 2008                                                                                                ONE STAMFORD FORUM
                                                                                                                                      201 TRESSER BOULEVARD
                                                                                                                                      STAMFORD, CT 06901-3431

2. 2275    AMENDMENT #1 TO END USER LICENSE                            101174                   FORMEDIX, LTD.                        ATTN: GENERAL COUNSEL
           AGREEMENT DATED JANUARY 31, 2009                                                                                           35 CORPORATE DRIVE, 4TH FLOOR
                                                                                                                                      BURLINGTON, MA 01803



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2. 2276    TRADEMARK LICENSE AGREEMENT                                 105910                   FRESENIUS KABI USA, LLC           ATTN: GENERAL COUNSEL
           EFFECTIVE NOVEMBER 01, 2019                                                                                            THREE CORPORATE DRIVE
                                                                                                                                  LAKE ZURICH, IL

2. 2277    LICENSE AGREEMENT DATED MARCH                               101229                   GERMIN X BIOTECHNOLOGIES INC.     ATTN: GENERAL COUNSEL
           12, 2002                                                                                                               3575 PLACE DU PARC
                                                                                                                                  SUITE 5322
                                                                                                                                  MONTREAL, QC H2W 2M9
                                                                                                                                  CANADA

2. 2278    AMENDMENT # 13 TO PATENT LICENSE                            101296                   GRUNENTHAL GMBH                   ATTN: GENERAL COUNSEL
           DATED OCTOBER 01, 2018                                                                                                 ZIEGLERSTRASSE 6
                                                                                                                                  AACHEN 52078
                                                                                                                                  GEORGIA

2. 2279    AMENDMENT #1 TO PATENT LICENSE                              101281                   GRUNENTHAL GMBH                   ATTN: GENERAL COUNSEL
           DATED DECEMBER 17, 2014                                                                                                ZIEGLERSTRASSE 6
                                                                                                                                  AACHEN 52078
                                                                                                                                  GEORGIA

2. 2280    AMENDMENT #1 TO PATENT LICENSE                              101278                   GRUNENTHAL GMBH                   ATTN: GENERAL COUNSEL
           DATED JULY 14, 2009                                                                                                    ZIEGLERSTRASSE 6
                                                                                                                                  AACHEN 52078
                                                                                                                                  GEORGIA

2. 2281    AMENDMENT #4 TO PATENT LICENSE                              101284                   GRUNENTHAL GMBH                   ATTN: GENERAL COUNSEL
           DATED AUGUST 16, 2011                                                                                                  ZIEGLERSTRASSE 6
                                                                                                                                  AACHEN 52078
                                                                                                                                  GEORGIA

2. 2282    AMENDMENT NO. 10 TO PATENT                                  101294                   GRUNENTHAL GMBH                   ATTN: GENERAL COUNSEL
           LICENSE DATED APRIL 25, 2017                                                                                           ZIEGLERSTRASSE 6
                                                                                                                                  AACHEN 52078
                                                                                                                                  GEORGIA

2. 2283    AMENDMENT NO. 10 TO PATENT                                  101295                   GRUNENTHAL GMBH                   ATTN: GENERAL COUNSEL
           LICENSE DATED APRIL 25, 2017                                                                                           ZIEGLERSTRASSE 6
                                                                                                                                  AACHEN 52078
                                                                                                                                  GEORGIA




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2. 2284    AMENDMENT NO. 10 TO PATENT                                  101290                   GRUNENTHAL GMBH           ATTN: GENERAL COUNSEL
           LICENSE DATED NOVEMBER 01, 2016                                                                                ZIEGLERSTRASSE 6
                                                                                                                          AACHEN 52078
                                                                                                                          GEORGIA

2. 2285    AMENDMENT NO. 2 TO PATENT                                   101291                   GRUNENTHAL GMBH           ATTN: GENERAL COUNSEL
           LICENSE DATED NOVEMBER 07, 2016                                                                                ZIEGLERSTRASSE 6
                                                                                                                          AACHEN 52078
                                                                                                                          GEORGIA

2. 2286    AMENDMENT NO. 2 TO PATENT                                   101309                   GRUNENTHAL GMBH           ATTN: GENERAL COUNSEL
           LICENSE DATED NOVEMBER 07, 2016                                                                                ZIEGLERSTRASSE 6
                                                                                                                          AACHEN 52078
                                                                                                                          GEORGIA

2. 2287    AMENDMENT NO. 3 TO PATENT                                   101292                   GRUNENTHAL GMBH           ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT DATED APRIL 25,                                                                              ZIEGLERSTRASSE 6
           2017                                                                                                           AACHEN 52078
                                                                                                                          GEORGIA

2. 2288    AMENDMENT NO. 6 TO PATENT                                   101313                   GRUNENTHAL GMBH           ATTN: GENERAL COUNSEL
           LICENSE DATED MARCH 17, 2009                                                                                   ZIEGLERSTRASSE 6
                                                                                                                          AACHEN 52078
                                                                                                                          GEORGIA

2. 2289    AMENDMENT NO. 7 TO PATENT                                   101306                   GRUNENTHAL GMBH           ATTN: GENERAL COUNSEL
           LICENSE DATED OCTOBER 31, 2016                                                                                 ZIEGLERSTRASSE 6
                                                                                                                          AACHEN 52078
                                                                                                                          GEORGIA

2. 2290    AMENDMENT NO. 8 TO PATENT                                   101307                   GRUNENTHAL GMBH           ATTN: GENERAL COUNSEL
           LICENSE DATED NOVEMBER 01, 2016                                                                                ZIEGLERSTRASSE 6
                                                                                                                          AACHEN 52078
                                                                                                                          GEORGIA

2. 2291    ASSIGNMENT AND ASSUMPTION                                   101305                   GRUNENTHAL GMBH           ATTN: GENERAL COUNSEL
           AGREEMENT DATED SEPTEMBER 13,                                                                                  ZIEGLERSTRASSE 6
           2016                                                                                                           AACHEN 52078
                                                                                                                          GEORGIA




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2. 2292    FIFTH AMENDMENT: TO PATENT                                  101289                   GRUNENTHAL GMBH           ATTN: GENERAL COUNSEL
           LICENSE DATED SEPTEMBER 30, 2013                                                                               ZIEGLERSTRASSE 6
                                                                                                                          AACHEN 52078
                                                                                                                          GEORGIA

2. 2293    PATENT LICENSE AGREEMENT DATED                              101275                   GRUNENTHAL GMBH           ATTN: GENERAL COUNSEL
           MARCH 17, 2009                                                                                                 ZIEGLERSTRASSE 6
                                                                                                                          AACHEN 52078
                                                                                                                          GEORGIA

2. 2294    PATENT LICENSE AGREEMENT DATED                              101276                   GRUNENTHAL GMBH           ATTN: GENERAL COUNSEL
           MARCH 17, 2009                                                                                                 ZIEGLERSTRASSE 6
                                                                                                                          AACHEN 52078
                                                                                                                          GEORGIA

2. 2295    PATENT LICENSE AGREEMENT DATED                              101302                   GRUNENTHAL GMBH           ATTN: GENERAL COUNSEL
           MARCH 17, 2009                                                                                                 ZIEGLERSTRASSE 6
                                                                                                                          AACHEN 52078
                                                                                                                          GEORGIA

2. 2296    PATENT LICENSE AGREEMENT DATED                              101287                   GRUNENTHAL GMBH           ATTN: SENIOR VICE PRESIDENT
           MAY 24, 2013                                                                                                   BUSINESS DEVELOPMENT
                                                                                                                          ZIEGLERSTRASSE 6
                                                                                                                          AACHEN 52078
                                                                                                                          GEORGIA

2. 2297    PATENT LICENSE AGREEMENT                                    101288                   GRUNENTHAL GMBH           ATTN: GENERAL COUNSEL
           EFFECTIVE MAY 24, 2013                                                                                         ZIEGLERSTRASSE 6
                                                                                                                          AACHEN 52078
                                                                                                                          GEORGIA

2. 2298    PATENT LICENSE AGREEMENT                                    101304                   GRUNENTHAL GMBH           ATTN: SENIOR VICE PRESIDENT
           EFFECTIVE MAY 24, 2013                                                                                         BUSINESS DEVELOPMENT
                                                                                                                          ZIEGLERSTRASSE 6
                                                                                                                          AACHEN 52078
                                                                                                                          GEORGIA

2. 2299    PATENT LICENSE EFFECTIVE APRIL 25,                          101310                   GRUNENTHAL GMBH           ATTN: GENERAL COUNSEL
           2017                                                                                                           ZIEGLERSTRASSE 6
                                                                                                                          AACHEN 52078
                                                                                                                          GEORGIA


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2. 2300    PATENT LICENSE EFFECTIVE JULY 29,                           101282                   GRUNENTHAL GMBH           ATTN: GENERAL COUNSEL
           2011                                                                                                           ZIEGLERSTRASSE 6
                                                                                                                          AACHEN 52078
                                                                                                                          GEORGIA

2. 2301    PATENT LICENSE EFFECTIVE JULY 29,                           101303                   GRUNENTHAL GMBH           ATTN: GENERAL COUNSEL
           2011                                                                                                           ZIEGLERSTRASSE 6
                                                                                                                          AACHEN 52078
                                                                                                                          GEORGIA

2. 2302    PATENT LICENSE EFFECTIVE MARCH                              101277                   GRUNENTHAL GMBH           ATTN: GENERAL COUNSEL
           17, 2009                                                                                                       ZIEGLERSTRASSE 6
                                                                                                                          AACHEN 52078
                                                                                                                          GEORGIA

2. 2303    PATENT LICENSE EFFECTIVE                                    101308                   GRUNENTHAL GMBH           ATTN: GENERAL COUNSEL
           NOVEMBER 02, 2016                                                                                              ZIEGLERSTRASSE 6
                                                                                                                          AACHEN 52078
                                                                                                                          GEORGIA

2. 2304    PATENT LICENSE EFFECTIVE OCTOBER                            101311                   GRUNENTHAL GMBH           ATTN: GENERAL COUNSEL
           01, 2018                                                                                                       ZIEGLERSTRASSE 6
                                                                                                                          AACHEN 52078
                                                                                                                          GEORGIA

2. 2305    SECOND AMENDMENT TO PATENT                                  101279                   GRUNENTHAL GMBH           ATTN: GENERAL COUNSEL
           LICENSE DATED FEBRUARY 25, 2011                                                                                ZIEGLERSTRASSE 6
                                                                                                                          AACHEN 52078
                                                                                                                          GEORGIA

2. 2306    SECRECY AGREEMENT DATED                                     101274                   GRUNENTHAL GMBH           ATTN: GENERAL COUNSEL
           DECEMBER 07, 2007                                                                                              ZIEGLERSTRASSE 6
                                                                                                                          AACHEN 52078
                                                                                                                          GEORGIA

2. 2307    THIRD AMENDMENT TO PATENT                                   101280                   GRUNENTHAL GMBH           ATTN: GENERAL COUNSEL
           LICENSE DATED MARCH 17, 2009                                                                                   ZIEGLERSTRASSE 6
                                                                                                                          AACHEN 52078
                                                                                                                          GEORGIA




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2. 2308    PATENT LICENSE AGREEMENT                                    106239                   GRÜNENTHAL GMBH                 ATTN: GENERAL COUNSEL
           (TRF/MORPHINE ER) BETWEEN                                                                                            ZIEGLERSTRASSE 6
           GRÜNENTHAL GMBH AND PURDUE                                                                                           AACHEN, GERMANY 52078
           PHARMA L.P., DATED MAY 24, 2013, AS                                                                                  GEORGIA
           AMENDED BY AMENDMENT 1, AND
           ASSIGNED TO RHODES ON OCTOBER 1,
           2016

2. 2309    PATENT LICENSE AGREEMENT                                    106240                   GRÜNENTHAL GMBH                 ATTN: GENERAL COUNSEL
           BETWEEN GRÜNENTHAL GMBH AND                                                                                          ZIEGLERSTRASSE 6
           PURDUE PHARMA L.P., DATED JULY 29,                                                                                   AACHEN, GERMANY 52078
           2011, AS AMENDED BY AMENDMENTS                                                                                       GEORGIA
           NOS. 1 AND 2

2. 2310    PATENT LICENSE AGREEMENT                                    106238                   GRÜNENTHAL GMBH                 ATTN: GENERAL COUNSEL
           BETWEEN GRÜNENTHAL GMBH AND                                                                                          ZIEGLERSTRASSE 6
           PURDUE PHARMA L.P., DATED MARCH                                                                                      AACHEN, GERMANY 52078
           17, 2009, AS AMENDED BY                                                                                              GEORGIA
           AMENDMENTS NOS. 1 – 13

2. 2311    HP ACTIVATION KEY AGREEMENT                                 101395                   HEWLETT-PACKARD COMPANY         ATTN: GENERAL COUNSEL
           DATED MAY 08, 2003                                                                                                   9737 WASHINGTONIAN BLVD.
                                                                                                                                GAITHERSBURG, MD 20878

2. 2312    NON-EXCLUSIVE LICENSE AGREEMENT                             101399                   HIKMA (MAPLE) LTD./WEST-WARD    ATTN: GENERAL COUNSEL
           EFFECTIVE AUGUST 01, 2012                                                            PHARMACEUTICAL CORP.            HIKMA: 13 HANOVER SQUARE,
                                                                                                                                LONDON, W1S, 1HL, UNITED
                                                                                                                                KINGDOM
                                                                                                                                WEST-WARD: 401 INDUSTRIAL
                                                                                                                                WAY WEST, EATONTOWN, NJ
                                                                                                                                07724 USA

2. 2313    NON-EXCLUSIVE LICENSE AGREEMENT                             101410                   HOSPIRA, INC.                   ATTN: GENERAL COUNSEL
           DATED JULY 26, 2011                                                                                                  275 NORTH FIELD DRIVE
                                                                                                                                LAKE FOREST, IL 60045

2. 2314    LICENSE AGREEMENT EFFECTIVE                                 101418                   HYLAND SOFTWARE, INC.           ATTN: GENERAL COUNSEL
           NOVEMBER 10, 2015                                                                                                    28500 CLEMENS ROAD
                                                                                                                                WESTLAKE, OH 44145




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2. 2315    ISITOOLBOX PHARMA LICENSE                                   101432                   IMAGE SOLUTIONS, INC.              ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE DECEMBER 19,                                                                                        100 SOUTH JEFFERSON ROAD
           2003                                                                                                                    WHIPPANY, NJ 07981

2. 2316    LICENSE AGREEMENT EFFECTIVE                                 101430                   IMAGE SOLUTIONS, INC.              ATTN: GENERAL COUNSEL
           MARCH 30, 2007                                                                                                          ATTN: VICE PRESIDENT, SALES
                                                                                                                                   AND MARKETING
                                                                                                                                   100 S. JEFFERSON ROAD
                                                                                                                                   WHIPPANY, NJ 07981

2. 2317    AMENDED & RESTATED LICENSE                                  101434                   IMAGE SOLUTIONS, INC. (ISI)        ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE APRIL 19, 2008                                                                                      100 SOUTH JEFFERSON ROAD
                                                                                                                                   WHIPPANY, NJ 07981

2. 2318    AMENDMENT NO. 5 TO MASTER                                   101436                   IMANY INC.                         ATTN: GENERAL COUNSEL
           LICENSE AND MAINTENANCE                                                                                                 37TH FLOOR 1735 MARKET
           AGREEMENT DATED SEPTEMBER 28,                                                                                           STREET,
           2001                                                                                                                    PHILADELPHIA, PA 19103

2. 2319    PATENT LICENSE AGREEMENT AMONG                              106247                   IMPAX LABORATORIES, INC.           ATTN: GENERAL COUNSEL
           IMPAX LABORATORIES, INC. AND                                                                                            31047 GENSTAR ROAD
           PURDUE PHARMA L.P., THE P.F.                                                                                            HAYWARD, CA 94544
           LABORATORIES, INC., PURDUE
           PHARMACEUTICALS L.P., AND RHODES
           TECHNOLOGIES, DATED NOVEMBER 27,
           2013

2. 2320    SECOND AMENDMENT TO USER-                                   101444                   IMS HEALTH INCORPORATED            ATTN: GENERAL COUNSEL
           CUSTOMER AGREEMENT DATED                                                                                                ONE IMS DRIVE
           SEPTEMBER 23, 2013                                                                                                      PLYMOTH MEETING, PA 19462

2. 2321    NON-EXCLUSIVE LICENSE AGREEMENT                             101464                   INDIANA UNIVERSITY RESEARCH AND    ATTN: IURTC AGREEMENT NO.
           DATED OCTOBER 11, 2013                                                               TECHNOLOGY CORPORATION             PUR-1013 JS
                                                                                                                                   351 W. 10TH STREET
                                                                                                                                   INDIANAPOLIS, IN 46202

2. 2322    LICENSE AGREEMENT EFFECTIVE MAY                             101468                   INFORMATION REQUIREMENTS           ATTN: GENERAL COUNSEL
           07, 2007                                                                             CLEARINGHOUSE, INC.                5600 SOUTH QUEBEC STREET,
                                                                                                                                   SUITE 250-C
                                                                                                                                   ENGLEWOOD, CO 80111



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2. 2323    ASSIGNMENT, ASSUMPTION AND                                  101502                   INTEGREON MANAGED SOLUTIONS,        ATTN: LEGAL DEPARTMENT
           CONSENT AGREEMENT DATED MARCH                                                        INC.                                1450 BROADWAY, SUITE 620
           01, 2017                                                                                                                 NEW YORK, NY 10018

2. 2324    SALES, LICENSE AND SERVICES                                 101511                   INTERACTIVE CAPTURE SYSTEMS, LLC    ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AUGUST 15,                                                                                           2 CARNEGIE ROAD
           2013                                                                                                                     LAWRENCEVILLE, NJ 08648

2. 2325    LICENSE AGREEMENT DATED MAY 02,                             101518                   INTERNATIONAL BIOIMMUNE             ATTN: GENERAL COUNSEL
           1997                                                                                 SYSTEMS, INC.                       600 NORTHERN BOULEVARD
                                                                                                                                    SUITE 111
                                                                                                                                    GREAT NECK, NY 11021

2. 2326    18TH ADDENDUM TO THE SERVICES                               101522                   INTERNATIONAL BUSINESS MACHINES     ATTN: GENERAL COUNSEL
           AND LICENSE AGREEMENT EFFECTIVE                                                      CORPORATION                         1 ORCHARD RD
           NOVEMBER 15, 2001                                                                                                        ARMONK, NY 10504

2. 2327    FIRST AMENDMENT TO THE                                      101520                   INTERNATIONAL BUSINESS MACHINES     ATTN: GENERAL COUNSEL
           SEVENTEENTH ADDENDUM TO THE                                                          CORPORATION                         1 ORCHARD RD
           SERVICES AND LICENSE AGREEMENT                                                                                           ARMONK, NY 10504
           EFFECTIVE DECEMBER 17, 2018

2. 2328    FIRST AMENDMENT TO THE                                      101521                   INTERNATIONAL BUSINESS MACHINES     ATTN: GENERAL COUNSEL
           SEVENTEENTH ADDENDUM TO THE                                                          CORPORATION                         1 ORCHARD RD
           SERVICES AND LICENSE AGREEMENT                                                                                           ARMONK, NY 10504
           EFFECTIVE DECEMBER 17, 2018

2. 2329    LICENSE CONVERSION AGREEMENT                                101519                   INTERNATIONAL BUSINESS MACHINES     ATTN: GENERAL COUNSEL
           EFFECTIVE NOVEMBER 18, 2009                                                          CORPORATION                         1 ORCHARD RD
                                                                                                                                    ARMONK, NY 10504

2. 2330    ASSIGNMENT AND ASSUMPTION                                   101557                   IRC 1446 WITHHOLDING PARTNERSHIP    NOT AVAILABLE
           AGREEMENT EFFECTIVE DECEMBER 20,                                                     LP
           2005

2. 2331    MASTER LICENSE AGREEMENT                                    101562                   ISOFT CORPORATION                   ATTN: GENERAL COUNSEL
           EFFECTIVE APRIL 30, 2004                                                                                                 15303 DALLAS PARKWAY
                                                                                                                                    SUITE 1110
                                                                                                                                    ADDISON, TX 75001




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2. 2332    SCHEDULE TO MASTER LICENSE                                  101560                   ISOFT CORPORATION                 ATTN: GENERAL COUNSEL
           AGREEMENT DATED MAY 18, 2006                                                                                           15303 DALLAS PARKWAY
                                                                                                                                  SUITE 1110
                                                                                                                                  ADDISON, TX 75001

2. 2333    SECOND AMENDMENT TO MASTER                                  101559                   ISOFT CORPORATION                 ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT DATED APRIL 30,                                                                                      15303 DALLAS PARKWAY
           2004                                                                                                                   SUITE 1110
                                                                                                                                  ADDISON, TX 75001

2. 2334    LICENSE AGREEMENT WITH                                      101564                   IVO NETWORKS, INC.                1840 GATEWAY DR
           WARRANTY DATED MARCH 31, 2013                                                                                          SAN MATEO, CA 94404

2. 2335    DEVELOPING, LICENSING AND                                   101579                   JAGOTEC AG                        ATTN: GENERAL COUNSEL
           MARKETING AGREEMENT DATED                                                                                              EPTINGERSTRASSE 61
           DECEMBER 23, 2016                                                                                                      MUTTENZ, SWITZERLAND 4132

2. 2336    LICENSE AGREEMENT DATED                                     101583                   JANSSEN-ORTHO, INC.               ATTN: GENERAL COUNSEL
           SEPTEMBER 18, 1997                                                                                                     19 GREEN BELT DRIVE
                                                                                                                                  NORTH YORK, ON M3C 1L9
                                                                                                                                  CANADA

2. 2337    ASSIGNMENT AND CONSENT                                      101600                   JK SYSTEMS, INC.                  ATTN: GENERAL COUNSEL
           AGREEMENT DATED OCTOBER 03, 2003                                                                                       128 NORTH TAYLOR AVENUE
                                                                                                                                  NORWALK, CT 06854

2. 2338    NON-EXCLUSIVE LICENSE AGREEMENT                             101611                   JOHN HOPKINS UNIVERSITY SCHOOL    ATTN: GENERAL COUNSEL
           EFFECTIVE FEBRUARY 09, 2005                                                          OF MEDICINE                       113 GARLAND HALL
                                                                                                                                  3400 NORTH CHARLES STREET
                                                                                                                                  BALTIMORE, MD 21218

2. 2339    AGREEMENT RE: INTERFERENCE,                                 101616                   JOHNSON MATTHEY INC.              ATTN: PRESIDENT
           APPEAL, CROSS-APPEAL AND OTHER                                                                                         PHARMACEUTICAL MATERIALS
           MATTERS EFFECTIVE FEBRUARY 17,                                                                                         2003 NOLTE DRIVE
           2009                                                                                                                   WEST DEPTFORD, NJ 08066

2. 2340    PATENT LICENSE AGREEMENT AMONG                              106252                   KASHIV PHARMA, LLC                ATTN: GENERAL COUNSEL
           PURDUE PHARMA L.P., AND KASHIV                                                                                         1 NEW ENGLAND AVE,
           PHARMA, LLC DATED AUGUST 9, 2018                                                                                       PISCATAWAY, NJ 08854




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2. 2341    PATENT LICENSE AGREEMENT DATED                              101694                   KV PHARMACEUTICAL COMPANY           ATTN: PAUL BRADY
           JUNE 09, 2009                                                                                                            2503 SOUTH HANLEY ROAD
                                                                                                                                    ST. LOUIS, MO 63144

2. 2342    LICENSE AGREEMENT BETWEEN                                   106256                   L. PERRIGO COMPANY                  ATTN: ASSISTANT GENERAL
           PURDUE PHARMA L.P. AND L. PERRIGO                                                                                        COUNSEL
           COMPANY DATED FEBRUARY 27, 2004                                                                                          515 EASTERN AVENUE
                                                                                                                                    ALLEGAN, MI 49010

2. 2343    LICENSE AGREEMENT DATED                                     101700                   L. PERRIGO COMPANY                  ATTN: ASSISTANT GENERAL
           FEBRUARY 27, 2004                                                                                                        COUNSEL
                                                                                                                                    515 EASTERN AVENUE
                                                                                                                                    ALLEGAN, MI 49010

2. 2344    EXCLUSIVE LICENSE AGREEMENT                                 101701                   LABOPHARM EUROPE LIMITED            ATTN: GENERAL COUNSEL
           EFFECTIVE AUGUST 12, 2005                                                                                                5 THE SEAPOINT BUILDING, 45
                                                                                                                                    CLONTARF ROAD
                                                                                                                                    DUBLIN
                                                                                                                                    IRAN, ISLAMIC REPUBLIC OF

2. 2345    SECOND AMENDMENT TO EXCLUSIVE                               101708                   LABOPHARM INC.                      ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT DATED                                                                                                  5 THE SEAPOINT BUILDING, 45
           DECEMBER 31, 2010                                                                                                        CLONTARF ROAD
                                                                                                                                    DUBLIN
                                                                                                                                    IRAN, ISLAMIC REPUBLIC OF

2. 2346    SIGMA1 OPTION AGREEMENT DATED                               101718                   LABORATORIES DEL DR. ESTEVE S.A.    ATTN: GENERAL COUNSEL, LEGAL
           DECEMBER 22, 2014                                                                                                        DEPARTMENT
                                                                                                                                    221 AVINGUADA DE LA MARE DE
                                                                                                                                    DEU DE MONTSERRAT
                                                                                                                                    BARCELONA, SPAIN 8041

2. 2347    SIGMA1 OPTION AGREEMENT SIDE                                101717                   LABORATORIES DEL DR. ESTEVE S.A.    ATTN: GENERAL COUNSEL, LEGAL
           LETTER DATED DECEMBER 22, 2014                                                                                           DEPARTMENT
                                                                                                                                    221 AVINGUADA DE LA MARE DE
                                                                                                                                    DEU DE MONTSERRAT
                                                                                                                                    BARCELONA, SPAIN 8041




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2. 2348    MUMO1 DEVELOPMENT AND LICENSE                                9031                    LABORATORIOS DEL DR. ESTEVE, S.A.    ATTN: GENERAL COUNSEL, LEGAL
           AGREEMENT DATED DECEMBER 22,                                                                                              DEPARTMENT
           2014 BETWEEN LABORATORIOS DEL                                                                                             221 AVINGUADA DE LA MARE DE
           DR. ESTEVE, S.A. AND THE COMPANY                                                                                          DEU DE MONTSERRAT
                                                                                                                                     BARCELONA, SPAIN 8041

2. 2349    SIGMA1 DEVELOPMENT AND LICENSE                               9032                    LABORATORIOS DEL DR. ESTEVE, S.A.    ATTN: GENERAL COUNSEL, LEGAL
           AGREEMENT DATED DECEMBER 22,                                                                                              DEPARTMENT
           2014 BETWEEN LABORATORIOS DEL                                                                                             221 AVINGUADA DE LA MARE DE
           DR. ESTEVE, S.A. AND THE COMPANY                                                                                          DEU DE MONTSERRAT
                                                                                                                                     BARCELONA, SPAIN 8041

2. 2350    COPYRIGHT ASSIGNMENT EFFECTIVE                              101730                   LADENBURG B.V.                       ATTN: GENERAL COUNSEL
           JULY 29, 2005                                                                                                             VAN ALKEMADELAAN 1, 2597-AA
                                                                                                                                     DEN HAAG, THE NETHERLANDS

2. 2351    PATENTS TRANSFER & ASSIGNMENT                               101729                   LADENBURG B.V.                       ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE JULY 27, 2005                                                                                         VAN ALKEMADELAAN 1, 2597-AA
                                                                                                                                     DEN HAAG, THE NETHERLANDS

2. 2352    EXCLUSIVE LICENSE AND                                       101733                   LADENBURG BV                         ATTN: GENERAL COUNSEL
           MANUFACTURERS AGREEMENT DATED                                                                                             VAN ALKEMADELAAN 1
           JULY 14, 2005                                                                                                             DEN HAAG 2597-AA
                                                                                                                                     NIGER

2. 2353    EXCLUSIVE LICENSE AND                                       101736                   LADENBURG BV OF VAN                  ATTN: GENERAL COUNSEL
           MANUFACTURER'S AGREEMENT DATED                                                       ALKEMADELAAN 1                       DEN HAAG 2597-AA
           JULY 14, 2005                                                                                                             NIGER

2. 2354    AMENDMENT A-7 TO THE ESPS                                   101780                   LIQUENT, INC.                        ATTN: GENERAL COUNSEL
           COREDOSSIER LICENSE AGREEMENT                                                                                             1300 VIRGINIA DRIVE
           DATED OCTOBER 16, 1997                                                                                                    SUITE 125
                                                                                                                                     WASHIINGTON, PA 19034

2. 2355    AMENDMENT #1 TO PATENT                                      101825                   LTS LOHMANN THERAPIE-SYSTEME AG      ATTN: GENERAL COUNSEL
           ASSIGNMENT AND PATEN AND KNOW-                                                                                            LOHMANNSTRASSE 3
           HOW LICENSE AGREEMENT DATED                                                                                               ANDERNACH D-56605
           APRIL 09, 2015                                                                                                            GEORGIA




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2. 2356    AMENDMENT NO. 1 TO PATENT                                   101810                   LTS LOHMANN THERAPIE-SYSTEME AG    ATTN: GENERAL COUNSEL
           ASSIGNMENT AND PATENT AND KNOW-                                                                                         LOHMANNSTRASSE 2
           HOW LICENSE AGREEMENT DATED                                                                                             ANDERNACH D-56605
           APRIL 09, 2015                                                                                                          GEORGIA

2. 2357    AMENDMENT NO. 2 TO PATENT                                   101814                   LTS LOHMANN THERAPIE-SYSTEME AG    ATTN: GENERAL COUNSEL
           ASSIGNMENT AND PATENT DATED                                                                                             LOHMANNSTRASSE 2
           APRIL 09, 2015                                                                                                          ANDERNACH D-56605
                                                                                                                                   GEORGIA

2. 2358    AMENDMENT TO LICENSE AGREEMENT                              101822                   LTS LOHMANN THERAPIE-SYSTEME AG    ATTN: GENERAL COUNSEL
           DATED APRIL 12, 1995                                                                                                    LOHMANNSTRASSE 2
                                                                                                                                   ANDERNACH D-56605
                                                                                                                                   GEORGIA

2. 2359    AMENDMENT TO LICENSE AGREEMENT                              101824                   LTS LOHMANN THERAPIE-SYSTEME AG    ATTN: GENERAL COUNSEL
           DATED FEBRUARY 08, 2013                                                                                                 LOHMANNSTRASSE 2
                                                                                                                                   ANDERNACH D-56605
                                                                                                                                   GEORGIA

2. 2360    AMENDMENT TO LICENSE AGREEMENT                              101809                   LTS LOHMANN THERAPIE-SYSTEME AG    ATTN: GENERAL COUNSEL
           EFFECTIVE MARCH 01, 2011                                                                                                LOHMANNSTRASSE 2
                                                                                                                                   ANDERNACH D-56605
                                                                                                                                   GEORGIA

2. 2361    AMENDMENT TO LICENSE AGREEMENT                              101811                   LTS LOHMANN THERAPIE-SYSTEME AG    ATTN: GENERAL COUNSEL
           EFFECTIVE NOVEMBER 28, 2012                                                                                             LOHMANNSTRASSE 2
                                                                                                                                   ANDERNACH D-56605
                                                                                                                                   GEORGIA

2. 2362    CONFIRMATORY PATENT ASSIGNMENT                              101828                   LTS LOHMANN THERAPIE-SYSTEME AG    ATTN: GENERAL COUNSEL
           DATED APRIL 09, 2015                                                                                                    LOHMANNSTRASSE 4
                                                                                                                                   ANDERNACH D-56605
                                                                                                                                   GEORGIA

2. 2363    SECOND AMENDMENT TO PATENT                                  101829                   LTS LOHMANN THERAPIE-SYSTEME AG    ATTN: GENERAL COUNSEL
           ASSIGNMENT AND PATENT AND KNOW-                                                                                         LOHMANNSTRASSE 5
           HOW LICENSE AGREEMENT DATED                                                                                             ANDERNACH D-56605
           APRIL 09, 2015                                                                                                          GEORGIA




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2. 2364    THIRD AMENDMENT TO PATIENT                                  101832                   LTS LOHMANN THERAPIE-SYSTEME AG    ATTN: GENERAL COUNSEL
           ASSIGNMENT AND PATIENT AND KNOW-                                                                                        LOHMANNSTRASSE 6
           HOW LICENSE AGREEMENT DATED                                                                                             ANDERNACH D-56605
           APRIL 12, 1995                                                                                                          GEORGIA

2. 2365    LICENSE AGREEMENT BETWEEN                                   106257                   LTS LOHMANN THERAPIE-SYSTEME       NOT AVAILABLE
           PURDUE PHARMA L.P. AND LTS                                                           GMBH & CO. KG
           LOHMANN THERAPIE-SYSTEME GMBH &
           CO. KG DATED APRIL 12, 1995, AS
           AMENDED AND SUPPLEMENTED

2. 2366    MASTER LICENSE AGREEMENT DATED                              101877                   MANAGED MARKETS INSIGHTS &         ATTN: GENERAL COUNSEL
           DECEMBER 16, 2014                                                                    TECHNOLOGY, LLC                    1040 STONY HILL ROAD SUITE 300
                                                                                                                                   YARDLEY, PA 19067

2. 2367    MASTER LICENSE AGREEMENT DATED                              101878                   MANAGED MARKETS INSIGHTS &         ATTN: GENERAL COUNSEL
           DECEMBER 16, 2014                                                                    TECHNOLOGY, LLC                    1040 STONY HILL ROAD SUITE 300
                                                                                                                                   YARDLEY, PA 19067

2. 2368    STATEMENT OF WORK DATED                                     101876                   MANAGED MARKETS INSIGHTS &         ATTN: GENERAL COUNSEL
           DECEMBER 16, 2014                                                                    TECHNOLOGY, LLC                    1040 STONY HILL ROAD SUITE 300
                                                                                                                                   YARDLEY, PA 19067

2. 2369    STATEMENT OF WORK NO. 019-1 TO                              101873                   MANAGED MARKETS INSIGHTS &         ATTN: GENERAL COUNSEL
           MASTER LICENSE AGREEMENT                                                             TECHNOLOGY, LLC                    1040 STONY HILL ROAD SUITE 300
           EFFECTIVE JANUARY 01, 2019                                                                                              YARDLEY, PA 19067

2. 2370    STATEMENT OF WORK TO MASTER                                 101874                   MANAGED MARKETS INSIGHTS &         ATTN: GENERAL COUNSEL
           LICENSE SERVICES AGREEMENT                                                           TECHNOLOGY, LLC                    1040 STONY HILL ROAD SUITE 300
           EFFECTIVE JANUARY 01, 2019                                                                                              YARDLEY, PA 19067

2. 2371    STATEMENT OF WORK UNDER MASTER                              101875                   MANAGED MARKETS INSIGHTS &         ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT EFFECTIVE                                                          TECHNOLOGY, LLC                    1040 STONY HILL ROAD SUITE 300
           JANUARY 01, 2019                                                                                                        YARDLEY, PA 19067

2. 2372    AMENDED AND RESTATED                                        101906                   MAXIM PHARMACEUTICALS              ATTN: GENERAL COUNSEL
           ASSIGNMENT AGREEMENT DATED MAY                                                                                          8899 UNIVERSITY CENTER LANE
           30, 2002                                                                                                                SUITE 400
                                                                                                                                   SAN DIEGO, CA




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2. 2373    LICENSE AGREEMENT EFFECTIVE                                 101954                   MEIJI SEIKA KAISHA, LTD.            ATTN: GENERAL COUNSEL
           MARCH 20, 2003                                                                                                           4-16, KYOBASHI 2-CHROME
                                                                                                                                    CHUO-KU TOKYO

2. 2374    AMENDMENT 2 VOLUME LICENSING -                              101995                   MICROSOFT LICENSING, GP             ATTN: GENERAL COUNSEL
           PROGRAM SIGNATURE FORM                                                                                                   DEPT. 551, VOLUME LICENSING
           EFFECTIVE JANUARY 01, 2014                                                                                               6100 NEIL ROAD, SUITE 201
                                                                                                                                    RENO, NV 89511

2. 2375    AMENDMENT 3 VOLUME LICENSING -                              101997                   MICROSOFT LICENSING, GP             ATTN: GENERAL COUNSEL
           PROGRAM SIGNATURE FORM                                                                                                   DEPT. 551, VOLUME LICENSING
           EFFECTIVE SEPTEMBER 22, 2014                                                                                             6100 NEIL ROAD, SUITE 201
                                                                                                                                    RENO, NV 89511

2. 2376    MICROSOFT ENTERPRISE AGREEMENT                              101991                   MICROSOFT LICENSING, GP             ATTN: GENERAL COUNSEL
           EFFECTIVE JANUARY 01, 2005                                                                                               DEPT. 551, VOLUME LICENSING
                                                                                                                                    6100 NEIL ROAD, SUITE 201
                                                                                                                                    RENO, NV 89511

2. 2377    PATENT MARKETING AGREEMENT                                  102002                   MILLENNIUM MARKETING GROUP, LTD.    ATTN: GENERAL COUNSEL
           EFFECTIVE NOVEMBER 08, 2004                                                                                              10550 MARTY STREET
                                                                                                                                    OVERLAND PARK, KS 66212

2. 2378    PATENT MARKETING AGREEMENT                                  102003                   MILLENNIUM MARKETING GROUP, LTD.    ATTN: GENERAL COUNSEL
           EFFECTIVE NOVEMBER 08, 2004                                                                                              10550 MARTY STREET
                                                                                                                                    OVERLAND PARK, KS 66212

2. 2379    PATENT MARKETING AGREEMENT                                  102004                   MILLENNIUM MARKETING GROUP, LTD.    ATTN: GENERAL COUNSEL
           EFFECTIVE NOVEMBER 08, 2004                                                                                              10550 MARTY STREET
                                                                                                                                    OVERLAND PARK, KS 66212

2. 2380    PATENT MARKETING AGREEMENT                                  102005                   MILLENNIUM MARKETING GROUP, LTD.    ATTN: GENERAL COUNSEL
           EFFECTIVE NOVEMBER 08, 2004                                                                                              10550 MARTY STREET
                                                                                                                                    OVERLAND PARK, KS 66212

2. 2381    PATENT MARKETING AGREEMENT                                  102006                   MILLENNIUM MARKETING GROUP, LTD.    ATTN: GENERAL COUNSEL
           EFFECTIVE NOVEMBER 08, 2004                                                                                              10550 MARTY STREET
                                                                                                                                    OVERLAND PARK, KS 66212




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2. 2382    PATENT MARKETING AGREEMENT                                  102007                   MILLENNIUM MARKETING GROUP, LTD.    ATTN: GENERAL COUNSEL
           EFFECTIVE NOVEMBER 08, 2004                                                                                              10550 MARTY STREET
                                                                                                                                    OVERLAND PARK, KS 66212

2. 2383    PATENT MARKETING AGREEMENT                                  102008                   MILLENNIUM MARKETING GROUP, LTD.    ATTN: GENERAL COUNSEL
           EFFECTIVE NOVEMBER 08, 2004                                                                                              10550 MARTY STREET
                                                                                                                                    OVERLAND PARK, KS 66212

2. 2384    PATENT MARKETING AGREEMENT                                  102009                   MILLENNIUM MARKETING GROUP, LTD.    ATTN: GENERAL COUNSEL
           EFFECTIVE NOVEMBER 08, 2004                                                                                              10550 MARTY STREET
                                                                                                                                    OVERLAND PARK, KS 66212

2. 2385    PATENT MARKETING AGREEMENT                                  102010                   MILLENNIUM MARKETING GROUP, LTD.    ATTN: GENERAL COUNSEL
           EFFECTIVE NOVEMBER 08, 2004                                                                                              10550 MARTY STREET
                                                                                                                                    OVERLAND PARK, KS 66212

2. 2386    LICENSE AGREEMENT EFFECTIVE                                 102013                   MINIMENTAL LLC                      ATTN: GENERAL COUNSEL
           APRIL 17, 2001                                                                                                           31 SAINT JAMES AVENUE
                                                                                                                                    BOSTON, MA

2. 2387    MASTER AGREEMENT EFFECTIVE                                  102026                   MITRATECH HOLDINGS, INC             ATTN: GENERAL COUNSEL
           NOVEMBER 20, 2015                                                                                                        5001 PLAZA ON THE LAKE
                                                                                                                                    SUITE 111
                                                                                                                                    AUSTIN, TX

2. 2388    END USER AGREEMENT EFFECTIVE                                102031                   MOBILE IRON INC                     ATTN: GENERAL COUNSEL
           DECEMBER 22, 2010                                                                                                        815A EAST MIDDLEFIELD ROAD
                                                                                                                                    MOUNTIAN VIEW, CA 94043

2. 2389    REVITAS - AMEND 9 TO LICENSE AGMT                           102034                   MODEL N, INC.                       ATTN: GENERAL COUNSEL
           CW2324412 (CG.NK) DATED MARCH 16,                                                                                        1600 SEAPORT BLVD, SUITE 400
           2017                                                                                                                     REDWOOD CITY, CA

2. 2390    ADDENDUM TO CORPORATE LICENSE                               102185                   NATURE AMERICA. INC.                ATTN: GENERAL COUNSEL
           AGREEMENT DATED OCTOBER 02, 2006                                                                                         NATURE PUBLISHING GROUP
                                                                                                                                    75 VARICK STREET, 9TH FLOOR
                                                                                                                                    NEW YORK, NY

2. 2391    THIS LICENSE AGREEMENT MAY BE                               102207                   NEW YORK MEDICAL COLLEGE            ATTN: GENERAL COUNSEL
           RENEWED FOR ADDITIONAL 1 YEAR                                                                                            VALHALLA, NY
           PERIODS. DATED JULY 01, 2001

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2. 2392    EXCLUSIVE LICENSE MANUFACTURER'S                            102218                   NORAPHARMA A/S                 ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE APRIL 21, 2004                                                                                  SLOTSMARKEN 15, 2970
                                                                                                                               HORSHOLM, DENMARK

2. 2393    EXCLUSIVE LICENSE AGREEMENT                                 102219                   NORAPHARMA A/S, SLOTSMARKEN    ATTN: GENERAL COUNSEL
           DATED JANUARY 01, 2008                                                                                              15, DK 2970
                                                                                                                               HORSHOLM, DENMARK

2. 2394    EXCLUSIVE LICENSE AGREEMENT                                 102220                   NORAPHARMA A/S, SLOTSMARKEN    ATTN: GENERAL COUNSEL
           DATED JANUARY 01, 2008                                                                                              15, DK 2970
                                                                                                                               HORSHOLM, DENMARK

2. 2395    CONFIRMATORY EXCLUSIVE PATENT                               102222                   NORPHARMA A/S                  ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT DATED APRIL 21,                                                                                   SLOTSMARKEN 15
           2004                                                                                                                2970 HORSHOLM
                                                                                                                               HORSHOLM, DENMARK

2. 2396    CONFIRMATORY EXCLUSIVE PATENT                               102223                   NORPHARMA A/S                  ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT EFFECTIVE JUNE                                                                                    SLOTSMARKEN 15
           17, 2004                                                                                                            2970 HORSHOLM
                                                                                                                               HORSHOLM, DENMARK

2. 2397    CONFIRMATORY EXCLUSIVE PATENT                               102224                   NORPHARMA A/S                  ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT EFFECTIVE JUNE                                                                                    SLOTSMARKEN 15
           17, 2004                                                                                                            2970 HORSHOLM
                                                                                                                               HORSHOLM, DENMARK

2. 2398    TRADEMARK ASSIGNMENT DATED                                  102225                   NORPHARMA A/S. SLOTSMARKEN     ATTN: GENERAL COUNSEL
           SEPTEMBER 22, 2011                                                                                                  15, DK 2970 HORSHOLM, DENMARK

2. 2399    CUSTOMER AGREEMENT FOR                                      102239                   NUGENESIS TECHNOLOGIES         ATTN: GENERAL COUNSEL
           LICENSED PRODUCTS EFFECTIVE                                                          CORPORATION                    1900 WEST PARK DRIVE
           MARCH 01, 2001                                                                                                      WESTBOROUGH, MA

2. 2400    LETTER OF AGREEMENT EFFECTIVE                               102248                   NYS DEPT. OF HEALTH            ATTN: GENERAL COUNSEL
           OCTOBER 01, 2000                                                                                                    REVENUE UNIT ROOM 1717
                                                                                                                               ALBANY, NY 12237-0016




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2. 2401    NON-EXCLUSIVE LICENSE AGREEMENT                             102275                   OFFICE OF LICENSING & VENTURES      ATTN: GENERAL COUNSEL
           EFFECTIVE JULY 03, 2013                                                                                                  BOX 90083
                                                                                                                                    DUKE UNIVERSITY
                                                                                                                                    DURHAM, NC

2. 2402    LICENSE AGREEMENT EFFECTIVE                                 102279                   OKTA, INC.                          ATTN: CHIEF FINANCIAL OFFICER
           SEPTEMBER 30, 2013                                                                                                       301 BRANNAN STREET
                                                                                                                                    SUITE 300
                                                                                                                                    SAN FRANCISCO, CA

2. 2403    PMR COLLABORATION AGREEMENT                                 102294                   OPIOID PMR CONSORTIUM               ATTN: GENERAL COUNSEL
           EFFECTIVE OCTOBER 01, 2013

2. 2404    MASTER LICENSE AGREEMENT                                    102306                   OPTUMINSIGHT LIFE SCIENCES, INC.    ATTN: GENERAL COUNSEL
           EFFECTIVE NOVEMBER 01, 2018                                                                                              1301 ATWOOD AVE, SUITE 311N
                                                                                                                                    JOHNSTON, RI

2. 2405    AMENDMENT 1 TO LICENSE                                      102317                   ORACLE USA, INC.                    ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AUGUST 31,                                                                                           500 ORACLE PARKWAY
           2005                                                                                                                     REDWOOD CITY, CA 94065

2. 2406    AGREEMENT FOR CO-PROMOTION                                  102322                   ORTHO-MCNEIL PHARMACEUTICALS        ATTN: PRESIDENT
           EFFECTIVE SEPTEMBER 18, 1997                                                                                             P.O. BOX 300
                                                                                                                                    1000 ROUTE 202
                                                                                                                                    RARITAN, NJ

2. 2407    LICENSE AGREEMENT EFFECTIVE                                 102323                   ORTHO-MCNEIL PHARMACEUTICALS        ATTN: GENERAL COUNSEL
           SEPTEMBER 18, 1997                                                                                                       PURDUE: 100 CONNECTICUT
                                                                                                                                    AVENUE, NORWALK CT 06850
                                                                                                                                    1000 ROUTE 202 SOUTH
                                                                                                                                    RARITAN, NJ

2. 2408    LICENSE AGREEMENT EFFECTIVE                                 102324                   ORTHO-MCNEIL, INC.                  ATTN: GENERAL COUNSEL
           NOVEMBER 03, 2005                                                                                                        1000 ROUTE 202 SOUTH
                                                                                                                                    RARITAN, NJ

2. 2409    AGREEMENT FOR LICENSE MATERIALS                             102329                   OXFORD BIOMEDICAL RESEARCH, INC.    NOT AVAILABLE
           EFFECTIVE FEBRUARY 12, 2001




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2. 2410    CONTROLLED RELEASE PATENT                                   106269                   PAR PHARMACEUTICAL, INC.            GENERAL COUNSEL
           LICENSE AGREEMENT AMONG PAR                                                                                              ONE RAM RIDGE ROAD
           PHARMACEUTICAL, INC. AND PURDUE                                                                                          SPRING VALLEY, NY 10977
           PHARMA L.P., THE P.F. LABORATORIES,
           INC., PURDUE PHARMACEUTICALS L.P.,
           AND RHODES TECHNOLOGIES, DATED
           SEPTEMBER 20, 2013

2. 2411    AMENDMENT TO LICENSE AGREEMENT                              102384                   PDR NETWORK, LLC                    ATTN: GENERAL COUNSEL
           EFFECTIVE FEBRUARY 22, 2010                                                                                              5 PARAGON DRIVE
                                                                                                                                    MONTVALE, NJ

2. 2412    AMENDED AND RESTATED LICENSE                                102426                   PHARMACEUTICAL RESEARCH             ATTN: GENERAL COUNSEL
           AGREEMENT DATED APRIL 08, 2003                                                       ASSOCIATES, INC.                    ONE STAMFORD FORUM
                                                                                                                                    STAMFORD, CT 06901

2. 2413    AMENDED AND RESTATED LICENSE                                102427                   PHARMACEUTICAL RESEARCH             ATTN: GENERAL COUNSEL
           AGREEMENT DATED APRIL 08, 2003                                                       ASSOCIATES, INC.                    ONE STAMFORD FORUM
                                                                                                                                    STAMFORD, CT 06901

2. 2414    NON-EXCLUSIVE PATENT LICENSE                                102478                   PHS (PUBLIC HEATH                   ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE MARCH 15,                                                        SERVICES)/OFFICE OF TECHNOLOGY      PURDUE: 444 SAW MILL RIVER
           2004                                                                                 TRANSFER, NATIONAL INSTITUTES OF    ROAD, ARDSLEY, NY 10502
                                                                                                HEALTH                              6011 EXECUTIVE BOULEVARD,
                                                                                                                                    SUITE 325
                                                                                                                                    ROCKVILLE, MD

2. 2415    NON-EXCLUSIVE PATENT LICENSE                                102479                   PHS (PUBLIC HEATH                   ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE MARCH 15,                                                        SERVICES)/OFFICE OF TECHNOLOGY      PURDUE: 444 SAW MILL RIVER
           2004                                                                                 TRANSFER, NATIONAL INSTITUTES OF    ROAD, ARDSLEY, NY 10502
                                                                                                HEALTH                              6011 EXECUTIVE BOULEVARD,
                                                                                                                                    SUITE 325
                                                                                                                                    ROCKVILLE, MD

2. 2416    PRODUCT LITERATURE DATABASE                                 102483                   PI2 SOLUTIONS, LTD.                 ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT EFFECTIVE                                                                                              62A HIGH STREET, POTTERS BAR
           DECEMBER 12, 2007                                                                                                        HERTFORDSHIRE, ENGLAND

2. 2417    AMENDMENT #1 TO PROGRAM LICENSE                             102507                   PLANISWARE USA, INC                 ATTN: GENERAL COUNSEL
           AGREEMENT DATED JANUARY 31, 2014                                                                                         300 MONTGOMERY STREET,
                                                                                                                                    SUITE 930
                                                                                                                                    SAN FRANCISCO, CA

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2. 2418    ADDENDUM TO PROGRAM LICENSE                                 102510                   PLANISWARE USA, INC.            ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE SEPTEMBER                                                                                        300 MONTGOMERY STREET,
           18, 2012                                                                                                             SUITE 930
                                                                                                                                SAN FRANCISCO, CA

2. 2419    PROGRAM LICENSE AGREEMENT                                   102509                   PLANISWARE USA, INC.            ATTN: GENERAL COUNSEL
           EFFECTIVE SEPTEMBER 18, 2012                                                                                         300 MONTGOMERY STREET,
                                                                                                                                SUITE 930
                                                                                                                                SAN FRANCISCO, CA

2. 2420    MANUFACTURER’S LICENSE                                      106278                   PLP ASSOCIATES HOLDINGS LP      NOT AVAILABLE
           AGREEMENT BETWEEN PURDUE
           PHARMA L.P., PLP ASSOCIATES
           HOLDINGS LP AND MUNDIPHARMA AG
           DATED JANUARY 1, 2008, ASSIGNED BY
           PPLP TO RHODES PHARMACEUTICALS
           L.P. ON OCTOBER 1, 2016

2. 2421    ADDENDUM NO. 4 TO SUBSCRIPTION                              102520                   PORZIO LIFE SCIENCES, LLC       ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE FEBRUARY 27,                                                                                     100 SOUTHGATE PARKWAY
           2017                                                                                                                 MORRISTOWN, NJ 07962-1997

2. 2422    LICENCE AGREEMENT EFFECTIVE                                 102555                   PRECISION PROMOTIONAL           ATTN: GENERAL COUNSEL
           OCTOBER 22, 2018                                                                     EFFECTIVENESS, LLC              9100 KEYSTONE CROSSING,
                                                                                                                                SUITE 250
                                                                                                                                INDIANAPOLIS, IN

2. 2423    PRECISION LICENSE AGREEMENT                                 102556                   PRECISION PROMOTIONAL           ATTN: GENERAL COUNSEL
           EFFECTIVE OCTOBER 22, 2018                                                           EFFECTIVENESS, LLC              9100 KEYSTONE CROSSING,
                                                                                                                                SUITE 250
                                                                                                                                INDIANAPOLIS, IN

2. 2424    PATENT TRANSFER AGREEMENT                                   102618                   PRINCIPLED STRATEGIES, INC.     ATTN: PATRICK J. BURNS,
           DATED DECEMBER 03, 2012                                                                                              PRESIDENT
                                                                                                                                179 CALLE MAGDALENA
                                                                                                                                SUITE 200
                                                                                                                                ENCINITAS, CA

2. 2425    LICENSE AGREEMENT DATED JUNE 30,                            102636                   PROFESSOR COLIN STANLEY         ATTN: GENERAL COUNSEL
           1999                                                                                 GOODCHILD                       38 SOMERS AVENUE
                                                                                                                                MALVERN, VICTORIA


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2. 2426    LICENSE AGREEMENT DATED JUNE 30,                            102637                   PROFESSOR COLIN STANLEY           ATTN: GENERAL COUNSEL
           1999                                                                                 GOODCHILD                         38 SOMERS AVENUE
                                                                                                                                  MALVERN, VICTORIA

2. 2427    QUALYSGUARD SERVICE USER                                    102698                   QUALYS, INC.                      ATTN: GENERAL COUNSEL
           AGREEMENT DATED FEBRUARY 22, 2006                                                                                      1600 BRIDGE PARKWAY, SUITE 201
                                                                                                                                  REDWOOD SHORES, CA

2. 2428    SDK LICENSE AGREEMENT DATED                                 102760                   QUMAS INC.                        ATTN: GENERAL COUNSEL
           APRIL 13, 2016

2. 2429    PATENT LICENSE AGREEMENT AMONG                              106284                   RANBAXY PHARMACEUTICALS INC.      ATTN: GENERAL COUNSEL
           RANBAXY PHARMACEUTICALS INC. AND                                                                                       9431 FLORIDA MINING BLVD. EAST
           PURDUE PHARMA L.PU., THE P.F.                                                                                          JACKSONVILLE, FL 32257
           LABORATORIES, INC., PURDUE
           PHARMACEUTICALS L.P., AND RHODES
           TECHNOLOGIES, DATED DECEMBER 28,
           2012

2. 2430    PATENT LICENSE AGREEMENT                                    102789                   RANBAXY PHARMACEUTICALS, INC.     ATTN: GENERAL COUNSEL
           EFFECTIVE DECEMBER 28, 2012                                                                                            9431 FLORIDA MINING BLVD. EAST
                                                                                                                                  JACKSONVILLE, FL 32257

2. 2431    PATENT LICENSE AGREEMENT                                    102786                   RANBAXY PHARMACEUTICALS, INC.     ATTN: GENERAL COUNSEL
           EFFECTIVE NOVEMBER 13, 2009                                                                                            9431 FLORIDA MINING BLVD. EAST
                                                                                                                                  JACKSONVILLE, FL 32257

2. 2432    RESOLVER LICENSE (PREV PPM 2000)                            102831                   RESOLVER, INC.                    ATTN: GENERAL COUNSEL
           CW2357177 (DT.RA) DATED                                                                                                111 PETER STREET, SUITE 302
           SEPTEMBER 22, 2017                                                                                                     TORONTO
                                                                                                                                  CANADA

2. 2433    SECOND AMENDATORY SERVICE                                   102925                   ROCKY MOUNTAIN POISON AND DRUG    ATTN: GENERAL COUNSEL
           ORDER #5 TO SUBSCRIPTION                                                             CENTER                            777 BANNOCK STREET
           SERVICES AGREEMENT DATED                                                                                               DENVER, CO
           JANUARY 01, 2012

2. 2434    PATENT LICENSE AGREEMENT                                    102934                   ROUND ROCK RESEARCH, LLC          ATTN: GENERAL COUNSEL
           EFFECTIVE OCTOBER 16, 2012                                                                                             26 DEER CREEK LANE
                                                                                                                                  MOUNT KISCO, NY



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2. 2435    LICENSE AGREEMENT EFFECTIVE                                 102940                   RSA SECURITY, INC.            ATTN: GENERAL COUNSEL
           DECEMBER 31, 2002                                                                                                  2955 CAMPUS DRIVE
                                                                                                                              SAN MATEO, CA

2. 2436    PATENT LICENSE AGREEMENT AMONG                              106289                   SANDOZ INC.                   ATTN: VICE PRESIDENT,
           SANDOZ INC. AND PURDUE PHARMA                                                                                      INTELLECTUAL PROPERTY
           L.P., THE P.F. LABORATORIES, INC.,                                                                                 ATTN: GENERAL COUNSEL
           PURDUE PHARMACEUTICALS L.P., AND                                                                                   506 CARNEGIE CENTER, SUITE 400
           RHODES TECHNOLOGIES, DATED                                                                                         PRINCETON, NJ 08540
           JANUARY 5, 2014

2. 2437    PATENT LICENSE AGREEMENT                                    102983                   SANDOZ, INC.                  ATTN: GENERAL COUNSEL
           EFFECTIVE JANUARY 05, 2014                                                                                         506 CARNEGIE CENTER, SUITE 400
                                                                                                                              PRINCETON, NJ 08540

2. 2438    AMENDMENT NO. 1 TO MASTER                                   103021                   SAS INSTITUTE, INC.           ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT EFFECTIVE                                                                                        SAS CAMPUS DRIVE
           SEPTEMBER 01, 2000                                                                                                 CARY, NC 27513

2. 2439    AMENDMENT NO. 1 TO MASTER                                   103022                   SAS INSTITUTE, INC.           ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT EFFECTIVE                                                                                        SAS CAMPUS DRIVE
           SEPTEMBER 01, 2000                                                                                                 CARY, NC 27513

2. 2440    AMENDMENT NO. 3 TO MASTER                                   103024                   SAS INSTITUTE, INC.           ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT EFFECTIVE                                                                                        SAS CAMPUS DRIVE
           SEPTEMBER 01, 2003                                                                                                 CARY, NC 27513

2. 2441    AMENDMENT NO. 3 TO MASTER                                   103014                   SAS INSTITUTE, INC.           ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT FOR INSTITUTE                                                                                    SAS CAMPUS DRIVE
           PRODUCTS ON MICROCOMPUTERS                                                                                         CARY, NC 27513
           EFFECTIVE SEPTEMBER 01, 2003

2. 2442    SUPPLEMENT 21 LICENSE AGREEMENT                             103023                   SAS INSTITUTE, INC.           ATTN: GENERAL COUNSEL
           NUMBER 14647 DATED FEBRUARY 22,                                                                                    SAS CAMPUS DRIVE
           2001                                                                                                               CARY, NC 27513

2. 2443    SUPPLEMENT 28 TO LICENSE                                    103025                   SAS INSTITUTE, INC.           ATTN: GENERAL COUNSEL
           AGREEMENT NUMBER 14647 DATED                                                                                       SAS CAMPUS DRIVE
           DECEMBER 01, 2003                                                                                                  CARY, NC 27513




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2. 2444    SUPPLEMENT 28 TO LICENSE                                    103027                   SAS INSTITUTE, INC.            ATTN: GENERAL COUNSEL
           AGREEMENT NUMBER 14647 DATED                                                                                        SAS CAMPUS DRIVE
           DECEMBER 01, 2003                                                                                                   CARY, NC 27513

2. 2445    SUPPLEMENT 29 TO LICENSE                                    103028                   SAS INSTITUTE, INC.            ATTN: GENERAL COUNSEL
           AGREEMENT DATED DECEMBER 01,                                                                                        SAS CAMPUS DRIVE
           2003                                                                                                                CARY, NC 27513

2. 2446    AMENDMENT TO TERMS AND                                      103031                   SCIENTEK SOFTWARE, INC.        ATTN: GENERAL COUNSEL
           CONDITIONS OF LICENSING                                                                                             123 MAIN STREET, SUITE 200
           AGREEMENT EFFECTIVE NOVEMBER                                                                                        TUSTIN, CA 92782
           01, 2010

2. 2447    NON-EXCLUSIVE ORL-1 LICENSE                                 103067                   SHIONOGI & CO., LTD            ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE APRIL 26, 2010                                                                                  12-4 SGISU 5-CHOME
                                                                                                                               FUKUSHIMA-KU

2. 2448    NON-EXCLUSIVE ORL-1 LICENSE                                 103068                   SHIONOGI & CO., LTD            ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE APRIL 26, 2010                                                                                  12-4 SGISU 5-CHOME
                                                                                                                               FUKUSHIMA-KU

2. 2449    SHIONOGI CO., LTD. - CONFIRMATORY                           103072                   SHIONOGI & CO., LTD            ATTN: GENERAL COUNSEL
           PATENT ASSIGNMENT 30MAR18 (A.                                                                                       1-8, DOSHOMACHI 3-CHOME,
           KOLLER) DATED MARCH 30, 2018                                                                                        CHUO-KU, OSAKA, 541-0045, JAPAN

2. 2450    AMENDMENT #1 TO LICENSE                                     103159                   SPARTA SYSTEMS, INC.           ATTN: GENERAL COUNSEL
           AGREEMENT DATED MARCH 26, 2012                                                                                      HOLMDEL CORPORATE PLAZA
                                                                                                                               2137 HIGHWAY 35
                                                                                                                               HOLMDEL, NJ 07733

2. 2451    AMENDMENT #2 TO LICENSE                                     103157                   SPARTA SYSTEMS, INC.           ATTN: GENERAL COUNSEL
           AGREEMENT DATED SEPTEMBER 17,                                                                                       HOLMDEL CORPORATE PLAZA
           2013                                                                                                                2137 HIGHWAY 35
                                                                                                                               HOLMDEL, NJ 07733

2. 2452    AMENDMENT #3 TO LICENSE                                     103160                   SPARTA SYSTEMS, INC.           ATTN: GENERAL COUNSEL
           AGREEMENT DATED MARCH 26, 2012                                                                                      HOLMDEL CORPORATE PLAZA
                                                                                                                               2137 HIGHWAY 35
                                                                                                                               HOLMDEL, NJ 07733




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2. 2453    AMENDMENT NO. 4 TO LICENSE                                  103156                   SPARTA SYSTEMS, INC.           ATTN: GENERAL COUNSEL
           AGREEMENT DATED FEBRUARY 18, 2015                                                                                   HOLMDEL CORPORATE PLAZA
                                                                                                                               2137 HIGHWAY 35
                                                                                                                               HOLMDEL, NJ 07733

2. 2454    SPARTA SYSTEMS, INC. - AMENDMENT                            103161                   SPARTA SYSTEMS, INC.           ATTN: GENERAL COUNSEL
           NO. 5 TO LICENSE AGREEMENT                                                                                          HOLMDEL CORPORATE PLAZA
           CW2362415 (PB.RA) DATED SEPTEMBER                                                                                   2137 HIGHWAY 35
           26, 2016                                                                                                            HOLMDEL, NJ 07733

2. 2455    SPARTA SYSTEMS, INC. - AMENDMENT                            103162                   SPARTA SYSTEMS, INC.           ATTN: GENERAL COUNSEL
           NO. 6 TO LICENSE AGREEMENT                                                                                          HOLMDEL CORPORATE PLAZA
           CW2362417 (PB.RA) DATED DECEMBER                                                                                    2137 HIGHWAY 35
           21, 2017                                                                                                            HOLMDEL, NJ 07733

2. 2456    SPARTA SYSTEMS, INC. - AMENDMENT                            103163                   SPARTA SYSTEMS, INC.           ATTN: GENERAL COUNSEL
           NO. 7 TO TRACKWISE LICENSE AND                                                                                      HOLMDEL CORPORATE PLAZA
           SUPPORT AGREEMENT CW2361539                                                                                         2137 HIGHWAY 35
           AFFILIATE UPDATES (PB.JM) DATED                                                                                     HOLMDEL, NJ 07733
           MAY 09, 2018

2. 2457    TRACKWISE LICENSE AND SUPPORT                               103158                   SPARTA SYSTEMS, INC.           ATTN: GENERAL COUNSEL
           AGREEMENT DATED MARCH 26, 2012                                                                                      HOLMDEL CORPORATE PLAZA
                                                                                                                               2137 HIGHWAY 35
                                                                                                                               HOLMDEL, NJ 07733

2. 2458    LICENSE AGREEMENT EFFECTIVE                                 103208                   STICHTING EUROQOL RESEARCH     ATTN: GERBEN BAKKER, USER
           MARCH 15, 2016                                                                       FOUNDATION                     SUPPORT OFFICER
                                                                                                                               MARTEN MEESWEG 107
                                                                                                                               ROTTERDAM

2. 2459    SCHEDULE #6 TO LICENSE AND                                  103262                   SYMYX SOFTWARE, INC.           ATTN: GENERAL COUNSEL
           SUPPORT AGREEMENT DATED JULY 21,                                                                                    2440 CAMINO RAMON
           2009                                                                                                                SUITE 300
                                                                                                                               SAN RAMON, CA 94583

2. 2460    LICENSE AND SUBSCRIPTION                                    103283                   TARIUS INTERACTIVE             ATTN: NINA LINDHOLST, VICE
           AGREEMENT EFFECTIVE APRIL 01, 2003                                                                                  PRESIDENT
                                                                                                                               HERSTEDVANG 12
                                                                                                                               2620 ALBERTSLUND



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2. 2461    PATENT LICENSE AGREEMENT AMONG                              106296                   TEVA PHARMACEUTICALS USA            ATTN: GENERAL COUNSEL
           TEVA PHARMACEUTICALS USA AND                                                                                             425 PRIVET ROAD
           PURDUE PHARMA L.P., THE P.F.                                                                                             P.O. BOX 1005
           LABORATORIES, INC., PURDUE                                                                                               HORSHAM, PA 19044-8005
           PHARMACEUTICALS L.P., AND RHODES
           TECHNOLOGIES, INC., DATED
           DECEMBER 18, 2014

2. 2462    PATENT LICENSE AGREEMENT DATED                              103308                   TEVA PHARMACEUTICALS USA, INC.      ATTN: GENERAL COUNSEL
           DECEMBER 18, 2014                                                                                                        1090 HORSHAM ROAD
                                                                                                                                    NORTH WALES, PA 19454

2. 2463    AMENDMENT TO LICENSE AGREEMENT                              103402                   THOMAS REUTERS (SCIENTIFIC), LLC    ATTN: GENERAL COUNSEL
           DATED MAY 31, 2008                                                                                                       1500 GARDEN STREET, 4TH FLOOR
                                                                                                                                    PHILADELPHIA, PA

2. 2464    AGREEMENT EFFECTIVE MARCH 27,                               103423                   TORAY INDUSTRIES, INC.              ATTN: GENERAL COUNSEL
           2000                                                                                                                     2-2-1, NIHONBASHI-MUROMACHI,
                                                                                                                                    CHUO-KU
                                                                                                                                    TOKYO

2. 2465    AGREEMENT EFFECTIVE MARCH 27,                               103424                   TORAY INDUSTRIES, INC.              ATTN: GENERAL COUNSEL
           2000                                                                                                                     2-2-1, NIHONBASHI-MUROMACHI,
                                                                                                                                    CHUO-KU
                                                                                                                                    TOKYO

2. 2466    AGREEMENT EFFECTIVE MARCH 27,                               103427                   TORAY INDUSTRIES, INC.              ATTN: GENERAL COUNSEL
           2000                                                                                                                     2-2-1, NIHONBASHI-MUROMACHI,
                                                                                                                                    CHUO-KU
                                                                                                                                    TOKYO

2. 2467    AGREEMENT EFFECTIVE MARCH 27,                               103429                   TORAY INDUSTRIES, INC.              ATTN: GENERAL COUNSEL
           2000                                                                                                                     2-2-1, NIHONBASHI-MUROMACHI,
                                                                                                                                    CHUO-KU
                                                                                                                                    TOKYO




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2. 2468    PARTIAL ASSIGNMENT AGREEMENT                                103438                   TRANCEPT PHARMA, INC./PATHEON      ATTN: GENERAL COUNSEL
           EFFECTIVE APRIL 01, 2011                                                             PHARMACEUTICALS, INC.              TRANSCEPT: 1003 W. CUTTING
                                                                                                                                   BLVS. SUITE 110 PT. RICHARD, CA
                                                                                                                                   94804
                                                                                                                                   PATHEON: 4721 EMPEROR
                                                                                                                                   BOULEVARD, RESEARCH
                                                                                                                                   TRIANGLE PARK, NC 27703

2. 2469    PARTIAL ASSIGNMENT AGREEMENT                                103439                   TRANCEPT PHARMA, INC./PATHEON      ATTN: GENERAL COUNSEL
           EFFECTIVE APRIL 01, 2011                                                             PHARMACEUTICALS, INC.              TRANSCEPT: 1003 W. CUTTING
                                                                                                                                   BLVS. SUITE 110 PT. RICHARD, CA
                                                                                                                                   94804
                                                                                                                                   PATHEON: 4721 EMPEROR
                                                                                                                                   BOULEVARD, RESEARCH
                                                                                                                                   TRIANGLE PARK, NC 27703

2. 2470    U.S. LICENSE AND COLLABORATION                              103442                   TRANSCEPT PHARMACEUTICALS, INC.    ATTN: GENERAL COUNSEL
           AGREEMENT - SEE CONTRACT NOTES                                                                                          1003 W. CUTTING BLVS. SUITE 110
           SECTION DATED JULY 31, 2009                                                                                             PT. RICHMOND, CA 94804

2. 2471    AMENDMENT #1 TO SERVICES AND                                103469                   TRUVEN HEALTH ANALYTICS INC.       ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT DATED JULY 02,                                                                                        26361 NETWORK PLACE
           2015                                                                                                                    CHICAGO, IL 60673

2. 2472    TRUVEN HEALTH ANALYTICS AMD 4                               103472                   TRUVEN HEALTH ANALYTICS LLC        ATTN: GENERAL COUNSEL
           01132016 CW2350799 AMEND 4 TO                                                                                           26361 NETWORK PLACE
           SERVICES AND LICENSE AGREEMENT                                                                                          CHICAGO, IL 60673
           (LH.LLS) DATED JANUARY 30, 2017

2. 2473    NON-EXCLUSIVE LICENSE AGREEMENT                             103532                   UNIVERSITY OF CHICAGO TECH         ATTN: GENERAL COUNSEL
           EFFECTIVE DECEMBER 19, 2013                                                                                             EDELSTONE CENTER, 2S
                                                                                                                                   6030 S. ELLIS AVE
                                                                                                                                   CHICAGO, IL

2. 2474    AMENDMENT #1 TO EXCLUSIVE                                   103566                   UNIVERSITY OF SOUTHERN             ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT DATED AUGUST                                                       CALIFORNIA/THE ROCKEFELLER         USC: UNIVERSITY PARK, LOS
           28, 1990                                                                             UNIVERSITY                         ANGELES, CALIFORNIA 90089
                                                                                                                                   ROCKEFELLER: 1230 YORK
                                                                                                                                   AVENUE NEW YORK, NY 10021




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2. 2475    LICENSE AGREEMENT EFFECTIVE                                 103585                   UPPSALA MONITORING CENTRE          ATTN: GENERAL COUNSEL
           NOVEMBER 04, 1998                                                                                                       PURDUE: 100 CONNECTICUT
                                                                                                                                   AVENUE, NORWALK CT 06850
                                                                                                                                   STORA TORGET 3, S-753 20
                                                                                                                                   UPPSALA, SWEDEN

2. 2476    TRUMIGRATE TRUCOMPARE LICENSE                               103621                   VALIANCE PARTNERS CORPORATED       ATTN: GENERAL COUNSEL
           AGREEMENT DATED JULY 26, 2015                                                                                           80 MORRISTOWN ROAD
                                                                                                                                   BERNARDSVILLE, NJ

2. 2477    NON-EXCLUSIVE LICENSE AGREEMENT                             103647                   VANDERBILT UNIVERSITY OFFICE OF    ATTN: GENERAL COUNSEL
           DATED FEBRUARY 09, 2009                                                              TECHNOLOGY TRANSFER AND            1207 17TH AVENUE SOUTH
                                                                                                ENTERPRISE DEVELOPMENT             SUITE 105
                                                                                                                                   NASHVILLE, TN

2. 2478    NON-EXCLUSIVE LICENSE AGREEMENT                             103674                   VINTAGE PHARMACEUTICALS, LLC       ATTN: GENERAL COUNSEL
           DATED JULY 08, 2011                                                                  D/B/A QUALITEST PHARMACEUTICALS    130 VINTAGE DRIVE
                                                                                                                                   HUNTSVILLE, AL

2. 2479    LICENSE AGREEMENT DATED                                     103678                   VISUAL ENTERPRISE ARCHITECTURE     ATTN: GENERAL COUNSEL
           FEBRUARY 26, 2008                                                                                                       25-12 OLD KINGS HIGHWAY
                                                                                                                                   NORTH, SUITE #305
                                                                                                                                   DARIEN

2. 2480    CROSS LICENSE AGREEMENT DATED                               103691                   VM ONCOLOGY LLC                    ATTN: GENERAL COUNSEL
           SEPTEMBER 04, 2015                                                                                                      45535 NORTHPORT LOOP EAST
                                                                                                                                   FREMONT, CA

2. 2481    CROSS LICENSE AGREEMENT                                     103694                   VM ONCOLOGY, LLC                   ATTN: GENERAL COUNSEL
           EFFECTIVE SEPTEMBER 04, 2015                                                                                            45535 NORTHPORT LOOP EAST
                                                                                                                                   FREMONT, CA

2. 2482    ASSIGNMENT AGREEMENT DATED                                  103699                   VM PHARMA LLC                      ATTN: GENERAL COUNSEL
           SEPTEMBER 04, 2015                                                                                                      45535 NORTHPORT LOOP EAST
                                                                                                                                   FREMONT, CA

2. 2483    ASSIGNMENT AGREEMENT DATED                                  103701                   VM PHARMA LLC                      ATTN: GENERAL COUNSEL
           SEPTEMBER 04, 2015                                                                                                      45535 NORTHPORT LOOP EAST
                                                                                                                                   FREMONT, CA




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2. 2484    ASSIGNMENT AGREEMENT DATED                                  103702                   VM PHARMA LLC                      ATTN: GENERAL COUNSEL
           SEPTEMBER 04, 2015                                                                                                      45535 NORTHPORT LOOP EAST
                                                                                                                                   FREMONT, CA

2. 2485    ASSIGNMENT OF PATENT RIGHTS                                 103703                   VM PHARMA LLC                      ATTN: GENERAL COUNSEL
           DATED SEPTEMBER 04, 2015                                                                                                45535 NORTHPORT LOOP EAST
                                                                                                                                   FREMONT, CA

2. 2486    END USER AGREEMENT EFFECTIVE                                103704                   VOICE PRINT INTERNATIONAL          ATTN: GENERAL COUNSEL
           NOVEMBER 06, 2013                                                                                                       160 CAMINO RUIZ
                                                                                                                                   CAMARILLO, CA

2. 2487    ENHANCED ACCESS LICENSE                                     103734                   WILEY SUBSCRIPTION SERVICES INC    ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE JANUARY 01,                                                                                         C/O JOHN WILEY & SONS INC
           2002                                                                                                                    605 THIRD AVENUE
                                                                                                                                   NEW YORK, NY

2. 2488    AMENDMENT TO BIOMATERIALS                                   103744                   WISCONSIN ALUMNI RESEARCH          ATTN: GENERAL COUNSEL
           LICENSE AGREEMENT DATED                                                              FOUNDATION
           OCTOBER 01, 2000

2. 2489    ZS SAAS JAVELIN CW2353878 05052017                          103774                   ZS ASSOCIATES, INC.                ATTN: GENERAL COUNSEL
           (DS.EA) DATED AUGUST 01, 2017                                                                                           1800 SHERMAN AVENUE
                                                                                                                                   EVANSTON, IL 60201




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Settlement / Release Agreements

2. 2490    SETTLEMENT AGREEMENT, DATED AS                              106212                   ABHAI, LLC                         C/O KVK-TECH INC
           OF DECEMBER 22, 2017, BY AND                                                                                            110 TERRY DRIVE
           AMONG PURDUE PHARMA L.P., THE P.F.                                                                                      SUITE 200
           LABORATORIES, INC., RHODES                                                                                              NEWTON, PA 18940
           TECHNOLOGIES, ABHAI, LLC, AND KVK-
           TECH, INC.

2. 2491    ABHAI AND KVK-TECH RELEASE                                  100039                   ABHAI, LLC & KVK-TECH, INC. AND    ATTN: GENERAL COUNSEL
           AGREEMENT CW2359672 (RK) DATED                                                       ASSOCIATED COMPANIES               194 INLET DRIVE STREET, ST.
           DECEMBER 22, 2017                                                                                                       AUGUSTINE, FL 32080
                                                                                                                                   110 TERRY DRIVE, SUITE 200,
                                                                                                                                   NEWTOWN, PA 18940

2. 2492    ABHAI, LLC AND KVK-TECH, INC.                               100040                   ABHAI, LLC & KVK-TECH, INC. AND    ATTN: GENERAL COUNSEL
           RELEASE CW2359674 (RK) DATED                                                         ASSOCIATED COMPANIES               194 INLET DRIVE STREET, ST.
           DECEMBER 22, 2017                                                                                                       AUGUSTINE, FL 32080
                                                                                                                                   110 TERRY DRIVE, SUITE 200,
                                                                                                                                   NEWTOWN, PA 18940

2. 2493    ABHAI, LLC AND KVK-TECH                                     100041                   ABHAI, LLC AND KVK-TECH, INC       ATTN: GENERAL COUNSEL
           SETTLEMENT AGREEMENT CW2359676                                                                                          110 TERRY DRIVE
           (RK) DATED DECEMBER 22, 2017                                                                                            NEWTOWN SQUARE, PA 18940

2. 2494    SUPPLEMENT TO SETTLEMENT                                    100062                   ACINO GROUP                        ATTN: GENERAL COUNSEL
           AGREEMENT AND PATENT LICENSE                                                                                            ERLENSTRASSE 1, CH-4058 BASEL
           AGREEMENT DATED APRIL 09, 2012                                                                                          GRAF-ARCO-STRASSE, 89079
                                                                                                                                   ULM, GERMANY

2. 2495    THIRD PARTY SETTLEMENT                                      100063                   ACINO PHARMA AG                    ATTN: GENERAL COUNSEL
           AGREEMENT DATED AUGUST 16, 2011                                                                                         ERLENSTRASSE 1, CH-4058 BASEL
                                                                                                                                   GRAF-ARCO-STRASSE, 89079
                                                                                                                                   ULM, GERMANY

2. 2496    THIRD PARTY SETTLEMENT                                      100065                   ACINO PHARMA AG / RATIOPHARM       ATTN: GENERAL COUNSEL
           AGREEMENT DATED AUGUST 16, 2011                                                      GMBH                               ERLENSTRASSE 1, CH-4058 BASEL
                                                                                                                                   GRAF-ARCO-STRASSE, 89079
                                                                                                                                   ULM, GERMANY




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2. 2497    THIRD PARTY SETTLEMENT                                      100066                   ACINO PHARMA AG / RATIOPHARM         ATTN: GENERAL COUNSEL
           AGREEMENT DATED AUGUST 16, 2011                                                      GMBH                                 ERLENSTRASSE 1, CH-4058 BASEL
                                                                                                                                     GRAF-ARCO-STRASSE, 89079
                                                                                                                                     ULM, GERMANY

2. 2498    SETTLEMENT AGREEMENT DATED                                  100069                   ACTAVIS ELIZABETH LLC                ATTN: GENERAL COUNSEL
           APRIL 25, 2013                                                                                                            200 ELMORA AVENUE
                                                                                                                                     ELIZABETH, NJ 07207

2. 2499    SETTLEMENT AGREEMENT DATED                                  100073                   ACTAVIS LABORATORIES FL, INC         C/O TEVA PHARMACEUTICALS
           DECEMBER 18, 2017                                                                                                         USA, INC
                                                                                                                                     ATTN: GENERAL COUNSEL
                                                                                                                                     425 PRIVET ROAD, PO BOX 1005
                                                                                                                                     HORSHAM, PA 19044-8005

2. 2500    SETTLEMENT AGREEMENT DATED                                  100077                   ACTAVIS LABORATORIES FL, INC; TEVA   C/O TEVA PHARMACEUTICALS
           DECEMBER 18, 2017                                                                    PHARMACEUTICALS USA, INC             USA, INC
                                                                                                                                     ATTN: GENERAL COUNSEL
                                                                                                                                     425 PRIVET ROAD, PO BOX 1005
                                                                                                                                     HORSHAM, PA 19044-8005

2. 2501    SETTLEMENT AGREEMENT DATED                                  100083                   ACTAVIS TOTOWA LLC                   ATTN: GENERAL COUNSEL
           APRIL 16, 2009                                                                                                            60 COLUMBIA ROAD
                                                                                                                                     BUILDING B
                                                                                                                                     MORRISTOWN, NJ 07960

2. 2502    SETTLEMENT AGREEMENT DATED                                  100090                   ACTAVIS, INC.                        ATTN: GENERAL COUNSEL
           APRIL 25, 2013                                                                                                            MORRIS CORPORATE CENTER III
                                                                                                                                     400 INTERSPACE PARKWAY
                                                                                                                                     PARSIPPANY, NJ 07054

2. 2503    SETTLEMENT AGREEMENT DATED                                  100095                   ACURA PHARMACEUTICALS, INC.          ATTN: GENERAL COUNSEL
           JUNE 27, 2014                                                                                                             616 NORTH NORTH COURT
                                                                                                                                     SUITE 120
                                                                                                                                     PALATINE, IL 60067

2. 2504    SETTLEMENT AGREEMENT DATED MAY                              100096                   ACURA PHARMACEUTICALS, INC.          ATTN: GENERAL COUNSEL
           20, 2016                                                                                                                  616 N. NORTH COURT, SUITE 120
                                                                                                                                     PALATINE, IL 60047




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2. 2505    SETTLEMENT AGREEMENT DATED JULY                             100157                   ALPHARMA, INC.                     ATTN: GENERAL COUNSEL
           23, 2010                                                                                                                1 NEW ENGLAND AVE,
                                                                                                                                   PISCATAWAY, NJ 08854

2. 2506    SETTLEMENT AND PATENT LICENSE                               106310                   ALVOGEN PINEBROOK LLC              ATTN: GENERAL COUNSEL
           AGREEMENT BETWEEN PURDUE                                                                                                10B BLOOMFIELD AVE, PINE
           PHARMA L.P., THE P.F. LABORATORIES,                                                                                     BROOK, NJ 07058
           INC., AND PURDUE PHARMACEUTICALS
           L.P., AND ALVOGEN PINEBROOK LLC
           DATED AS OF APRIL 22, 2018

2. 2507    SETTLEMENT AGREEMENT DATED                                  100243                   ANDRX LABS, LLC                    ATTN: GENERAL COUNSEL
           APRIL 25, 2013                                                                                                          1955 ORANGE DRIVE
                                                                                                                                   DAVIE, FL 33314

2. 2508    SETTLEMENT AGREEMENT DATED                                  100258                   APOTEX INC.                        ATTN: GENERAL COUNSEL
           AUGUST 31, 2009                                                                                                         150 SIGNET DRIVE
                                                                                                                                   TORONTO, ON
                                                                                                                                   CANADA

2. 2509    SETTLEMENT AGREEMENT, DATED AS                              106222                   ASCENT PHARMACEUTICALS, INC.       ATTN: GENERAL COUNSEL
           OF MARCH 27, 2019, BY AND AMONG                                                                                         400 S. TECHNOLOGY DRIVE
           PURDUE PHARMA L.P., THE P.F.                                                                                            CENTRAL SLIP, NY 11722
           LABORATORIES, INC., PURDUE
           PHARMACEUTICALS L.P., PURDUE
           PHARMA TECHNOLOGIES INC., RHODES
           TECHNOLOGIES, ASCENT
           PHARMACEUTICALS, INC., HETERO
           FZCO AND CAMBER PHARMAC

2. 2510    SETTLEMENT AGREEMENT AMONG                                  100287                   ASSERTIO THERAPEUTICS, INC.        ATTN: GENERAL COUNSEL
           PURDUE PHARMA L.P. AND ASSERTIO                                                                                         100 S. SAUNDERS RD., SUITE 300
           THERAPEUTICS, INC., DATED AUGUST                                                                                        LAKE FOREST, IL 60045
           28, 2018

2. 2511    SETTLEMENT AGREEMENT EXECUTED                               100311                   AUROLIFE PHARMA LLC                ATTN: ROBERT G. CUNARD
           DECEMBER 16, 2013                                                                                                       6 WHEELING ROAD
                                                                                                                                   DAYTON 08810

2. 2512    SETTLEMENT AGREEMENT DATED                                  100317                   AUROLIFE PHARMA, LLC; AUROBINDO    ATTN: ROBERT G. CUNARD
           DECEMBER 13, 2013                                                                    PHARMA USA, INC.                   6 WHEELING ROAD
                                                                                                                                   DAYTON 08810

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2. 2513    SETTLEMENT AGREEMENT DATED                                  100318                   AUROLIFE PHARMA, LLC; AUROBINDO    ATTN: ROBERT G. CUNARD
           DECEMBER 24, 2013                                                                    PHARMA USA, INC.                   6 WHEELING ROAD
                                                                                                                                   DAYTON 08810

2. 2514    SETTLEMENT AGREEMENT, DATED AS                              106225                   CAMBER PHARMACEUTICALS, INC.       ATTN: GENERAL COUNSEL
           OF MARCH 27, 2019, BY AND AMONG                                                                                         1031 CENTENNIAL AVE,
           PURDUE PHARMA L.P., THE P.F.                                                                                            PISCATAWAY, NJ 0885
           LABORATORIES, INC., PURDUE
           PHARMACEUTICALS L.P., PURDUE
           PHARMA TECHNOLOGIES INC., RHODES
           TECHNOLOGIES, ASCENT
           PHARMACEUTICALS, INC., HETERO
           FZCO AND CAMBER PHARMAC

2. 2515    SETTLEMENT AGREEMENT EFFECTIVE                              100803                   CVS CAREMARK PART D SERVICES,      ATTN: SENIOR VICE PRESIDENT,
           SEPTEMBER 16, 2016                                                                   LLC                                TRADE RELATIONS
                                                                                                                                   2211 SANDERS ROAD
                                                                                                                                   NORTHBROOK, IL 60062

2. 2516    SETTLEMENT OF WORK UNDER                                    100845                   DAVID R. GASTFRIEND, MD            ATTN: GENERAL COUNSEL
           MASTER CONSULTANT SERVICES                                                                                              30 ORIENT AVENUE
           AGREEMENT EFFECTIVE JANUARY 30,                                                                                         NEWTON, MA 02459
           2017

2. 2517    RELEASE AND SETTLEMENT                                      100930                   DOLLAR GENERAL CORPORATION         ATTN: GENERAL COUNSEL
           AGREEMENT DATED OCTOBER 27, 2014                                                                                        100 MISSION RIDGE
                                                                                                                                   GOODLETTSVILLE, TN 37072

2. 2518    RELEASE AND SETTLEMENT                                      100931                   DOLLAR GENERAL CORPORATION         ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE OCTOBER 27,                                                                                         100 MISSION RIDGE
           2014                                                                                                                    GOODLETTSVILLE, TN 37072

2. 2519    SETTLEMENT AGREEMENT DATED MAY                              100096                   EGALET CORPORATOIN                 C/O ACURA PHARMACEUTICALS,
           20, 2016                                                                                                                INC.
                                                                                                                                   ATTN: GENERAL COUNSEL
                                                                                                                                   616 N. NORTH COURT, SUITE 120
                                                                                                                                   PALATINE, IL 60047

2. 2520    SETTLEMENT AGREEMENT EFFECTIVE                              101028                   ENDO PHARMACEUTICALS INC           ATTN: CHIEF LEGAL OFFICER
           FEBRUARY 08, 2010                                                                                                       100 ENDO BOULEVARD
                                                                                                                                   CHADDS FORD, PA 19317


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2. 2521    SETTLEMENT AGREEMENT EFFECTIVE                              101029                   ENDO PHARMACEUTICALS INC.          ATTN: CHIEF LEGAL OFFICER
           FEBRUARY 08, 2010                                                                                                       100 ENDO BOULEVARD
                                                                                                                                   CHADDS FORD, PA 19317

2. 2522    SETTLEMENT AGREEMENT AMONG                                  106235                   EPIC PHARMA, LLC                   ATTN: GENERAL COUNSEL
           PURDUE PHARMA L.P., P.F.                                                                                                227-15 NORTH CONDUIT AVENUE
           LABORATORIES, INC., PURDUE                                                                                              LAURELTON, NY 11413
           PHARMACEUTICALS L.P., RHODES
           TECHNOLOGIES, AND EPIC PHARMA,
           LLC AND PURACAP PHARMACEUTICAL,
           LLC, DATED AUGUST 17, 2018

2. 2523    SETTLEMENT & CROSS-LICENSE                                  101125                   F.H. FAULDING & CO. LIMITED        ATTN: GENERAL COUNSEL
           AGREEMENT DATED FEBRUARY 16, 2001                                                                                       650 FROM ROAD
                                                                                                                                   PARAMUS, NJ 07652

2. 2524    SETTLEMENT AND CROSS-LICENSE                                101134                   FAULDING , INC.                    ATTN: GENERAL COUNSEL
           AGREEMENT DATED FEBRUARY 16, 2001                                                                                       650 FROM ROAD
                                                                                                                                   PARAMUS, NJ 07652

2. 2525    SETTLEMENT AGREEMENT, DATED AS                              106243                   HETERO FZCO                        NOT AVAILABLE
           OF MARCH 27, 2019, BY AND AMONG
           PURDUE PHARMA L.P., THE P.F.
           LABORATORIES, INC., PURDUE
           PHARMACEUTICALS L.P., PURDUE
           PHARMA TECHNOLOGIES INC., RHODES
           TECHNOLOGIES, ASCENT
           PHARMACEUTICALS, INC., HETERO
           FZCO AND CAMBER PHARMAC

2. 2526    SETTLEMENT AGREEMENT DATED                                  101585                   JARED R. WHEAT / HI-TECH           ATTN: GENERAL COUNSEL
           JUNE 29, 2007                                                                        PHARMACEUTICALS, INC.              6015-B UNITY DRIVE
                                                                                                                                   NORCROSS, GA 30071

2. 2527    SETTLEMENT AGREEMENT BETWEEN                                106251                   JOHNSON MATTHEY INC.               NOT AVAILABLE
           JOHNSON MATTHEY INC. AND PURDUE
           PHARMA L.P., DATED FEBRUARY 17,
           2009

2. 2528    SETTLEMENT AGREEMENT DATED JULY                             100157                   KING PHARMACEUTICALS, INC.         ATTN: GENERAL COUNSEL
           23, 2010                                                                                                                501 5TH ST.
                                                                                                                                   BRISTOL, TN 3762

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2. 2529    SETTLEMENT AGREEMENT DATED                                  101692                   KV PHARMACEUTICAL COMPANY        ATTN: GENERAL COUNSEL
           JUNE 09, 2009                                                                                                         2503 SOUTH HANLEY ROAD
                                                                                                                                 ST. LOUIS, MO 63144

2. 2530    SETTLEMENT AGREEMENT, DATED AS                              106254                   KVK-TECH, INC.                   ATTN: GENERAL COUNSEL
           OF DECEMBER 22, 2017, BY AND                                                                                          110 TERRY DRIVE
           AMONG PURDUE PHARMA L.P., THE P.F.                                                                                    SUITE 200
           LABORATORIES, INC., RHODES                                                                                            NEWTON, PA 18940
           TECHNOLOGIES, ABHAI, LLC, AND KVK-
           TECH, INC.

2. 2531    SETTLEMENT AGREEMENT AND NON-                               101737                   LANNETT COMPANY INC              ATTN: GENERAL COUNSEL
           EXCLUSIVE LICENSE AGREEMENT                                                                                           103 FOULK ROAD
           EFFECTIVE AUGUST 30, 2016                                                                                             SUITE 202
                                                                                                                                 WILLMINGTON, DE 19803

2. 2532    SETTLEMENT AGREEMENT AND NON-                               101738                   LANNETT HOLDINGS, INC.           ATTN: KRISTIE STEPHENS, VICE
           EXCLUSIVE LICENSE AGREEMENT                                                                                           PRESIDENT OF REGULATORY
           EFFECTIVE AUGUST 30, 2016                                                                                             AFFAIRS
                                                                                                                                 103 FOULK ROAD
                                                                                                                                 SUITE 202
                                                                                                                                 WILLMINGTON, DE 19803

2. 2533    RELEASE DATED SEPTEMBER 15, 2003                            101801                   LOUIS M. WEINER, M.D.            ATTN: GENERAL COUNSEL
                                                                                                                                 FOX CHASE CANCER CENTER, 333
                                                                                                                                 COTTMAN AVENUE
                                                                                                                                 PHILADELPHIA, PA 19111

2. 2534    RELEASE RE RECORDINGS EXECUTED                              102022                   MIROSLAV BACKONJA, MD            UNIVERSITY OF WISCONSIN
           JULY 11, 2003                                                                                                         DEPARTMENT OF NEUROLOGY
                                                                                                                                 CSC H6-5, 600 HIGHLAND AVENUE
                                                                                                                                 MADISON, WI 53792

2. 2535    SETTLEMENT AGREEMENT AMONG                                  106262                   MYLAN INC.                       ATTN: GENERAL COUNSEL
           PURDUE PHARMA L.P., P.F.                                                                                              1500 CORPORATE DRIVE, SUITE
           LABORATORIES, INC., PURDUE                                                                                            400
           PHARMACEUTICALS L.P., RHODES                                                                                          CANONSBURG, PA 15317
           TECHNOLOGIES, AND MYLAN INC.,
           DATED SEPTEMBER 14, 2017




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2. 2536    SETTLEMENT AGREEMENT AMONG                                  106263                   NORAMCO, INC.                       ATTN: GENERAL COUNSEL
           NORAMCO, INC. AND CERTAIN                                                                                                500 SWEDES LANDING ROAD
           ASSOCIATED COMPANIES AND PURDUE                                                                                          WILMINGTON, DE 19801
           PHARMA L.P., THE P.F. LABORATORIES,
           PURDUE PHARMACEUTICALS L.P. AND
           RHODES TECHNOLOGIES, DATED
           DECEMBER 21, 2012

2. 2537    SETTLEMENT AGREEMENT EFFECTIVE                              102217                   NORAMCO, INC.                       ATTN: GENERAL COUNSEL
           DECEMBER 21, 2012                                                                                                        500 SWEDES LANDING ROAD
                                                                                                                                    WILMINGTON, DE 19801

2. 2538    SETTLEMENT AGREEMENT AND                                    102321                   ORTHO-MCNEIL PHARMACEUTICAL,        ATTN: GENERAL COUNSEL
           RELEASE BY AND BETWEEN PPLP AND                                                      INC., THE ROBERT WOOD JOHNSON       PURDUE: 100 CONNECTICUT
           ORTHO-MCNEIL ENTITIES DATED                                                          PHARMACEUTICAL RESEARCH             AVENUE, NORWALK CT 06850
           NOVEMBER 03, 2005                                                                    INSTITUTE, AND JOHNSON & JOHNSON    1000 ROUTE 202 SOUTH
                                                                                                PHARMACEUTICAL RESEARCH &           RARITAN, NJ
                                                                                                DEVELOPMENT, LLC

2. 2539    RELEASE GRANTED BY PAR TO THE                               102356                   PAR PHARMACEUTICAL, INC.            ATTN: GENERAL COUNSEL
           PURDUE COMPANIES DATED                                                                                                   ONE RAM RIDGE
           SEPTEMBER 30, 2013                                                                                                       SPRING VALLEY, NY 10977

2. 2540    RELEASE GRANTED BY THE PURDUE                               102355                   PAR PHARMACEUTICAL, INC.            ATTN: GENERAL COUNSEL
           COMPANIES TO PAR DATED                                                                                                   ONE RAM RIDGE
           SEPTEMBER 20, 2013                                                                                                       SPRING VALLEY, NY 10977

2. 2541    SETTLEMENT AGREEMENT DATED                                  102354                   PAR PHARMACEUTICAL, INC.            ATTN: GENERAL COUNSEL
           SEPTEMBER 20, 2013                                                                                                       300 TICE BOULEVARD
                                                                                                                                    WOODCLIFF LAKE, NJ 07677

2. 2542    SETTLEMENT AGREEMENT AMONG                                  106279                   PURACAP PHARMACEUTICAL, LLC         ATTN: GENERAL COUNSEL
           PURDUE PHARMA L.P., P.F.                                                                                                 20 KINGSBRIDGE RD
           LABORATORIES, INC., PURDUE                                                                                               PISCATAWAY, NJ 08854
           PHARMACEUTICALS L.P., RHODES
           TECHNOLOGIES, AND EPIC PHARMA,
           LLC AND PURACAP PHARMACEUTICAL,
           LLC, DATED AUGUST 17, 2018

2. 2543    QDISCOVERY LLC - RELEASE                                    102694                   QDISCOVERY LLC                      ATTN: GENERAL COUNSEL
           AGREEMENT 121AUG17 DATED AUGUST
           21, 2017

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2. 2544    SETTLEMENT AND PATENT LICENSE                               106311                   RANBAXY PHARMACEUTICALS INC.         ATTN: GENERAL COUNSEL
           AGREEMENT BETWEEN PURDUE                                                                                                  9431 FLORIDA MINING BLVD. EAST
           PHARMA L.P., THE P.F. LABORATORIES,                                                                                       JACKSONVILLE, FL 32257
           INC., PURDUE PHARMACEUTICALS L.P.,
           AND RHODES TECHNOLOGIES AND
           RANBAXY INC., RANBAXY
           PHARMACEUTICALS INC., RANBAXY
           LABORATORIES LIMITED DATED AS OF
           DECEMBER 28, 20

2. 2545    RELEASE GRANTED BY RANBAXY TO                               102788                   RANBAXY PHARMACEUTICALS, INC.        ATTN: GENERAL COUNSEL
           THE PURDUE COMPANIES DATED                                                                                                600 COLLEGE ROAD EAST, SUITE
           DECEMBER 28, 2012                                                                                                         2100
                                                                                                                                     PRINCETON, NJ 08540

2. 2546    SETTLEMENT AGREEMENT DATED                                  102787                   RANBAXY PHARMACEUTICALS, INC.        ATTN: GENERAL COUNSEL
           DECEMBER 28, 2012                                                                                                         600 COLLEGE ROAD EAST
                                                                                                                                     PRINCETON, NJ 08540

2. 2547    SETTLEMENT AGREEMENT DATED                                  102785                   RANBAXY PHARMACEUTICALS, INC.        ATTN: GENERAL COUNSEL
           NOVEMBER 13, 2009                                                                                                         600 COLLEGE ROAD EAST
                                                                                                                                     PRINCETON, NJ 08540

2. 2548    SETTLEMENT AGREEMENT DATED                                  102828                   RESEARCH TRIANGLE INSTITUTE D/B/A    ATTN: GENERAL COUNSEL
           NOVEMBER 8, 2007 DATED NOVEMBER                                                      RTI HEALTH SOLUTIONS                 3040 CORNWALLIS ROAD
           08, 2007                                                                                                                  RESEARCH TRIANGLE PARK, NC
                                                                                                                                     27709

2. 2549    RELEASE AND CREDIT AGREEMENT                                102841                   REVITAS, INC.                        ATTN: GENERAL COUNSEL
           DATED DECEMBER 23, 2014                                                                                                   1735 MARKET STREET
                                                                                                                                     PHILADELPHIA, 37TH FLOOR, PA
                                                                                                                                     9901

2. 2550    RELEASE GRANTED BY SANDOZ TO                                102969                   SANDOZ, INC.                         ATTN: GENERAL COUNSEL
           THE PURDUE COMPANIES DATED                                                                                                506 CARNEGIE CENTER, SUITE 400
           JANUARY 05, 2014                                                                                                          PRINCETON, NJ 08540




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2. 2551    SETTLEMENT AGREEMENT AMONG                                  102966                   SANDOZ, INC.                      ATTN: GENERAL COUNSEL
           PURDUE PHARMA L.P., THE P.F.                                                                                           506 CARNEGIE CENTER, SUITE 400
           LABORATORIES, INC., PURDUE                                                                                             PRINCETON, NJ 08540
           PHARMACEUTICALS L.P. AND RHODES
           TECHNOLOGIES DATED JANUARY 05,
           2014

2. 2552    CONFIDENTIAL RELEASE OF CLAIMS                              103211                   STITES & HARBISON, PLLC           ATTN: GENERAL COUNSEL
           DATED AUGUST 22, 2016

2. 2553    TEVA MMA ACT FILING TO SETTLEMENT                           103300                   TEVA PHARMACEUTICALS              ATTN: GENERAL COUNSEL
           AGMT CW2322325 08162016 RSK DATED                                                    INDUSTRIES, LTD.                  425 PRIVET ROAD
           AUGUST 02, 2016                                                                                                        P.O. BOX 1005
                                                                                                                                  HORSHAM, PA 19044-8005

2. 2554    SETTLEMENT AGREEMENT DATED                                  103303                   TEVA PHARMACEUTICALS USA, INC     ATTN: GENERAL COUNSEL
           DECEMBER 18, 2017                                                                                                      425 PRIVET ROAD
                                                                                                                                  P.O. BOX 1005
                                                                                                                                  HORSHAM, PA 19044-8005

2. 2555    SETTLEMENT AGREEMENT EXECUTED                               103307                   TEVA PHARMACEUTICALS USA, INC.    ATTN: GENERAL COUNSEL
           DECEMBER 18, 2014                                                                                                      425 PRIVET ROAD
                                                                                                                                  P.O. BOX 1005
                                                                                                                                  HORSHAM, PA 19044-8005

2. 2556    SETTLEMENT AGREEMENT EXECUTED                               105909                   TEVA PHARMACEUTICALS USA, INC.    ATTN: GENERAL COUNSEL
           DECEMBER 18, 2014                                                                                                      425 PRIVET ROAD
                                                                                                                                  P.O. BOX 1005
                                                                                                                                  HORSHAM, PA 19044-8005

2. 2557    RELEASE DATED JULY 11, 2003                                 103479                   TURO NURMIKKO, M.D.               ATTN: GENERAL COUNSEL
                                                                                                                                  PAIN RELIEF FOUNDATION
                                                                                                                                  CLINICAL SCIENCES CENTRE
                                                                                                                                  UNIVERSITY HOSPITAL AINTREE
                                                                                                                                  LOWER LANE
                                                                                                                                  LIVERPOOL L9 7AL

2. 2558    SETTLEMENT AGREEMENT DATED                                  103718                   WASTON LABORATORIES, INC.         ATTN: GENERAL COUNSEL
           APRIL 25, 2013                                                                                                         1955 ORANGE DRIVE
                                                                                                                                  DAVIE, FL 33314



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2. 2559    SETTLEMENT AGREEMENT DATED                                  103754                   XL INSURANCE SWITZERLAND LTD.    ATTN: GENERAL COUNSEL
           OCTOBER 26, 2001                                                                                                      505 EAGLEVIEW BOULEVARD
                                                                                                                                 EXTON, PA 19341




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Other Agreements

2. 2560    CONSULTANT SERVICES AGREEMENT                               100050                   ACCELERATED RX ANALYTICS, LLC        ATTN: GENERAL COUNSEL
           DATED SEPTEMBER 27, 2018                                                                                                  345 US HIGHWAY 9
                                                                                                                                     SUITE 184
                                                                                                                                     MANALAPAN, NJ 07726

2. 2561    ACCENCIO LLC - PATENT LICENSE            12/31/2049         106088                   ACCENCIO LLC                         ATTN: GENERAL COUNSEL
           AGREEMENT CW2366189 (A. KOLLER)                                                                                           2417 WELSH RD STE 21
           EFFECTIVE MARCH 28, 2019                                                                                                  PHILADELPHIA, PA 19114

2. 2562    SEARCH FIRM AGREEMENT EFFECTIVE                             100061                   ACCOUNTANTS INTERNATIONAL            ATTN: GENERAL COUNSEL
           AS OF DECEMBER 10, 2009                                                                                                   111 ANZA BOULEVARD, #400
                                                                                                                                     BURLINGAME, CA 94010

2. 2563    RELEASE DATED APRIL 25, 2013                                100068                   ACTAVIS ELIZABETH LLC                ATTN: GENERAL COUNSEL
                                                                                                                                     200 ELMORA AVENUE
                                                                                                                                     ELIZABETH, NJ 07207

2. 2564    ASSIGNABLE COVENANTS AGREEMENT                              100074                   ACTAVIS LABORATORIES FL, INC./TEVA   ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF DECEMBER 18, 2017                                                    PHARMACEUTICALS USA, INC.            TEVA: 425 PRIVET ROAD, P.O. BOX
                                                                                                                                     1005 HORSHAM, PA 19044
                                                                                                                                     ACTAVIS: MORRIS CORPORATE
                                                                                                                                     CENTER III, 400 INTERPACE
                                                                                                                                     PARKWAY, PARSIPPANY, NJ 07054

2. 2565    ASSIGNABLE COVENANTS AGREEMENT                              100075                   ACTAVIS LABORATORIES FL, INC./TEVA   ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF DECEMBER 18, 2017                                                    PHARMACEUTICALS USA, INC.            TEVA: 425 PRIVET ROAD, P.O. BOX
                                                                                                                                     1005 HORSHAM, PA 19044
                                                                                                                                     ACTAVIS: MORRIS CORPORATE
                                                                                                                                     CENTER III, 400 INTERPACE
                                                                                                                                     PARKWAY, PARSIPPANY, NJ 07054

2. 2566    RELEASE DATED APRIL 25, 2013                                100084                   ACTAVIS TOTOWA LLC                   ATTN: GENERAL COUNSEL
                                                                                                                                     60 COLUMBIA ROAD
                                                                                                                                     BUILDING B
                                                                                                                                     MORRISTOWN, NJ 07960

2. 2567    AMENDMENT NO. 1 TO TERMINATION                              100086                   ACTAVIS TOTOWA LLC; ANDRX LABS       ATTN: GENERAL COUNSEL
           AGREEMENT DATED AUGUST 02, 2016                                                      LLC, ACTAVIS ELIZABETH LLC,          60 COLUMBIA ROAD
                                                                                                ACTAVIS PHARMA, INC.; ACTAVIS        BUILDING B
                                                                                                LABORATORIES FL, INC.                MORRISTOWN, NJ 07960

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2. 2568    CENTRAL LABORATORY                                          102295                   ACTAVIS, INC                     ATTN: GENERAL COUNSEL
           INDEMNIFICATION AGREEMENT                                                                                             MORRIS CORPORATE CENTER III,
           EFFECTIVE AS OF JULY 28, 2015                                                                                         400 INTERPACE PARKWAY,
                                                                                                                                 PARSIPPANY, NJ 07054

2. 2569    TRANSFER OF REGULATORY                                      102296                   ACTAVIS, INC                     ATTN: GENERAL COUNSEL
           OBLIGATIONS EFFECTIVE AS OF                                                                                           MORRIS CORPORATE CENTER III,
           SEPTEMBER 28, 2015                                                                                                    400 INTERPACE PARKWAY,
                                                                                                                                 PARSIPPANY, NJ 07054

2. 2570    LETTER AGREEMENT DATED APRIL 26,                            100092                   ACTAVIS, INC.                    ATTN: DAVID BUCHEN
           2013                                                                                                                  MORRIS CORPORATE CENTER III
                                                                                                                                 400 INTERPACE PARKWAY
                                                                                                                                 PARSIPPANY, NJ 07054

2. 2571    RELEASE DATED APRIL 25, 2013                                100088                   ACTAVIS, INC.                    ATTN: DAVID BUCHEN
                                                                                                                                 MORRIS CORPORATE CENTER III
                                                                                                                                 400 INTERPACE PARKWAY
                                                                                                                                 PARSIPPANY, NJ 07054

2. 2572    TRANSFER OF REGULATORY                                      100071                   ACTAVIS, INC.                    ATTN: DAVID BUCHEN
           OBLIGATIONS EXECUTED SEPTEMBER                                                                                        MORRIS CORPORATE CENTER III
           28, 2015                                                                                                              400 INTERPACE PARKWAY
                                                                                                                                 PARSIPPANY, NJ 07054

2. 2573    CONSULTANT SERVICES AGREEMENT                               100099                   ADDISON WHITNEY, LLC             ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF SEPTEMBER 07, 2017                                                                                    11525 NORTH COMMUNITY ROAD
                                                                                                                                 SUITE 400
                                                                                                                                 CHARLOTTE, NC 28277

2. 2574    AUTHORSHIP AGREEMENT EFFECTIVE                              100100                   ADITI KADAKIA                    ATTN: GENERAL COUNSEL
           AS OF MAY 05, 2017                                                                                                    26 BEACON STREET
                                                                                                                                 APT. 16E
                                                                                                                                 BURLINGTON, MA 01803

2. 2575    CONSULTANT ENGAGEMENT LETTER                                100105                   ADVANCED INVESTIGATIVE           ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MAY 01, 2018                                                         SOLUTIONS, INC.                  292 HUNTERS POINT PLACE
                                                                                                                                 SIMPSONVILLE, KY 40067




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2. 2576    CONSULTANT SERVICES AGREEMENT                               100112                   ADVOCACY & MANAGEMENT GROUP       ATTN: GENERAL COUNSEL
           DATED NOVEMBER 01, 2017                                                                                                150 WEST STATE STREET
                                                                                                                                  SUITE 100
                                                                                                                                  TRENTON, NJ 08608

2. 2577    CONSULTANT SERVICES AGREEMENT                               100116                   AFSANEH BARZI, M.D., PH.D         ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MAY 01, 2017                                                                                           912 REGENT PARK DRIVE
                                                                                                                                  LA CANADA, CA 91011

2. 2578    PRODUCT SALE AGREEMENT                                      100118                   AIRGAS USA, LLC                   ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JANUARY 22, 2018                                                                                       5311 77 CENTER DRIVE
                                                                                                                                  CHARLOTTE, NC 28217

2. 2579    AJINOMOTO ALTHEA, INC. DBA                5/15/2022         106065                   AJINOMOTO BIO-PHARMA SERVICES     NOT AVAILABLE
           AJINOMOTO BIO-PHARMA SERVICES -
           SERVICES AGREEMENT AND
           STATEMENT OF WORK (K. FOGLE)
           EFFECTIVE MAY 17, 2019

2. 2580    CONSULTANT SERVICES AGREEMENT                               100124                   AL B. BENSON III, M.D.            ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MAY 01, 2017                                                                                           1524 WILMETTE AVENUE
                                                                                                                                  WILMETTE, IL 60091

2. 2581    CONSULTANT SERVICES AGREEMENT                               100125                   AL LEWIS, J.D.                    ATTN: GENERAL COUNSEL
           DATED JANUARY 16, 2001                                                                                                 1037 CHESTNUT STREET
                                                                                                                                  NEWTON, MA 02464

2. 2582    CONSULTANT SERVICES AGREEMENT                               100126                   ALAN MILLAR                       ATTN: GENERAL COUNSEL
           DATED SEPTEMBER 26, 2018                                                                                               4904 RIDGESTON PL
                                                                                                                                  HOLLY SPRINGS, NC 27540

2. 2583    RE NOTIFICATION PURSUANT TO                                 100129                   ALAUNUS PHARMACEUTICAL, LLC       ATTN: GENERAL COUNSEL
           SECTION 505J2BII OF THE FEDERAL                                                                                        687 WAVERLY STREET
           FOOD, DRUG AND COSMETIC ACT                                                                                            FRAMINGHAM, MA 01702
           DATED DECEMBER 15, 2011

2. 2584    PROPOSAL TO CONDUCT THE                                     100130                   ALBANY MOLECULAR RESEACH, INC.    ATTN: GENERAL COUNSEL
           REPACKAGING OF RSC117957B DATED                                                                                        26 CORPORATE CIRCLE
           FEBRUARY 06, 2012                                                                                                      ALBANY, NY 12212-5098




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2. 2585    CONSULTANT SERVICES AGREEMENT                               100133                   ALBERT I. WERTHEIMER                ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF OCTOBER 15, 2001                                                                                         3307 N. BROAD STREET
                                                                                                                                    PHILADELPHIA, PA 19140

2. 2586    CONSULTANT SERVICES AGREEMENT                               100134                   ALICE MAO, MD                       ATTN: GENERAL COUNSEL
           DATED JANUARY 01, 2019                                                                                                   550 WESTCOTT STREET, #520
                                                                                                                                    HOUSTON, TX 77007

2. 2587    MASTER CONSULTING AGREEMENT                                 100137                   ALLAN BASBAUM, PHD                  ATTN: GENERAL COUNSEL
           DATED AUGUST 25, 2016                                                                                                    129 KINROSS DR.
                                                                                                                                    SAN RAFAEL, CA 94901

2. 2588    AMENDMENT #2 TO CONSULTANT                                  100138                   ALLEN AND ASSOCIATES                NOT AVAILABLE
           SERVICES AGREEMENT DATED MARCH
           04, 2019

2. 2589    AMENDMENT TO MASTER CONSULTANT                              100139                   ALLEN BECKER, B.S., PHARM, R. PH    NOT AVAILABLE
           SERVICES AGREEMENT DATED
           SEPTEMBER 01, 2017

2. 2590    ALLEN AND ASSOCIATES OTH AMD 3 TO        12/31/2019         106013                   ALLEN JAMES W                       NOT AVAILABLE
           CSA EXTEND TERM CW2367482 (LH.RA)
           EFFECTIVE JULY 01, 2019

2. 2591    AMENDMENT NO. 1 TO TERMINATION                              100140                   ALLERGAN FINANCE, LLC               ATTN: GENERAL COUNSEL
           AGREEMENT DATED AUGUST 02, 2016                                                                                          5 GIRALDA FARMS
                                                                                                                                    MADISON, NJ 07940

2. 2592    FIRST AMENDMENT TO INTERNET                                 100144                   ALLSCRIPTS, LLC                     PHYSICIANS INTERACTIVE
           MARKETING AGREEMENT                                                                                                      DIVISION
                                                                                                                                    ATTN: PRESIDENT & GENERAL
                                                                                                                                    COUNSEL
                                                                                                                                    2401 COMMERCE DRIVE
                                                                                                                                    LIBERTY, IL 60045

2. 2593    PROJECT AGREEMENT DATED                                     100156                   ALPHADETAIL, INC.                   ATTN: GENERAL COUNSEL
           NOVEMBER 18, 2003                                                                                                        2440 SAND HILL ROAD
                                                                                                                                    MENLO PARK, CA 94025




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2. 2594    SEARCH FIRM AGREEMENT EFFECTIVE                             100158                   ALTA ASSOCIATES                   ATTN: GENERAL COUNSEL
           AS OF JUNE 19, 2013                                                                                                    8 BARTLES CORNER ROAD, SUITE
                                                                                                                                  021
                                                                                                                                  FLEMINGTON 08822

2. 2595    ALVAREZ AND MARSAL VALUATION              1/20/2020         106074                   ALVAREZ & MARSAL VALUATION        ATTN: GENERAL COUNSEL
           SERVICES, LLC - SUPPLEMENT TO                                                        SERVICES, LLC                     600 MADISON AVENUE, 8TH FLOOR
           ENGAGEMENT LETTER DATED                                                                                                NEW YORK, NY 10022
           JANUARY 21, 2019 (P. STRASSBURGER)
           EFFECTIVE JULY 15, 2019

2. 2596    ENGAGEMENT LETTER DATED                                     100176                   ALVAREZ & MARSAL VALUATION        ATTN: GENERAL COUNSEL
           JANUARY 21, 2019                                                                     SERVICES, LLC                     600 MADISON AVENUE, 8TH FLOOR
                                                                                                                                  NEW YORK, NY 10022

2. 2597    LETTER AGREEMENT DATED                                      100175                   ALVAREZ & MARSAL VALUATION        ATTN: GENERAL COUNSEL
           DECEMBER 07, 2018                                                                    SERVICES, LLC                     600 MADISON AVENUE, 6TH FLOOR
                                                                                                                                  NEW YORK, NY 10022

2. 2598    PROJECT AGREEMENT DATED                                     100177                   AM MEDICA COMMUNICATIONS GROUP    ATTN: GENERAL COUNSEL
           SEPTEMBER 22, 2003                                                                                                     335 WEST 16TH STREET
                                                                                                                                  4TH FLOOR
                                                                                                                                  NEW YORK, NY 10011

2. 2599    CONSULTANT SERVICES AGREEMENT                               100178                   AMERICAN APPRAISAL ASSOCIATES     ATTN: GENERAL COUNSEL
           DATED SEPTEMBER 01, 2005                                                                                               6 LANDMARK SQUARE, 4TH FLOOR
                                                                                                                                  STAMFORD, CT 06901

2. 2600    CONSULTANT SERVICES AGREEMENT                               100179                   AMERICAN APPRAISAL ASSOCIATES     ATTN: GENERAL COUNSEL
           DATED SEPTEMBER 29, 2005                                                                                               6 LANDMARK SQUARE, 4TH FLOOR
                                                                                                                                  STAMFORD, CT 06901

2. 2601    LETTER OF AGREEMENT DATED APRIL                             100188                   AMERICAN ASSOCIATION OF POISON    ATTN: GENERAL COUNSEL
           08, 2011                                                                             CONTROL CENTERS                   515 KING STREET
                                                                                                                                  SUITE 510
                                                                                                                                  ALEXANDRIA, VA 22314

2. 2602    LETTER OF AGREEMENT DATED                                   100183                   AMERICAN ASSOCIATION OF POISON    ATTN: GENERAL COUNSEL
           AUGUST 22, 2013                                                                      CONTROL CENTERS                   515 KING STREET
                                                                                                                                  SUITE 510
                                                                                                                                  ALEXANDRIA, VA 22314

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2. 2603    LETTER OF AGREEMENT DATED                                   100184                   AMERICAN ASSOCIATION OF POISON    ATTN: GENERAL COUNSEL
           NOVEMBER 25, 2013                                                                    CONTROL CENTERS                   55 KING STREET
                                                                                                                                  SUITE 510
                                                                                                                                  ALEXANDRIA, VA 22314

2. 2604    LETTER OF AGREEMENT FOR SAFETY                              100190                   AMERICAN CLEANING INSTITUTE       ATTN: GENERAL COUNSEL
           AND EFFICACY STUDIES EFFECTIVE AS                                                                                      1331 L STREET, NW
           OF SEPTEMBER 19, 2017                                                                                                  SUITE 650
                                                                                                                                  WASHINGTON, DC 20005

2. 2605    AMENDMENT TO CORPORATE                                      100191                   AMERICAN EXPRESS                  ATTN: GENERAL COUNSEL
           SERVICES COMMERCIAL ACCOUNT                                                                                            AMERICAN EXPRESS COMPANY,
           AGREEMENT DATED APRIL 01, 2008                                                                                         CORPORATE SERVICES
                                                                                                                                  OPERATIONS, AESC-P
                                                                                                                                  20022 NORTH 31ST AVE, MAIL
                                                                                                                                  CODE AZ-08-03-11
                                                                                                                                  PHOENIX, AZ 85027

2. 2606    CORPORATE SERVICES COMMERCIAL                               100192                   AMERICAN EXPRESS TRAVEL           ATTN: GENERAL COUNSEL
           ACCOUNT AGREEMENT DATED APRIL                                                        RELATED SERVICES COMPANY, INC.    AMERICAN EXPRESS COMPANY,
           01, 2008                                                                                                               CORPORATE SERVICES
                                                                                                                                  OPERATIONS, AESC-P
                                                                                                                                  20022 NORTH 31ST AVE, MAIL
                                                                                                                                  CODE AZ-08-03-11
                                                                                                                                  PHOENIX, AZ 85027

2. 2607    CONSULTING SERVICES AGREEMENT                               100193                   AMERICAN MANAGEMENT               ATTN: GENERAL COUNSEL
           DATED DECEMBER 09, 2016                                                              ASSOCIATION                       600 AMA WAY
                                                                                                                                  SARANAC LAKE, NY 12983

2. 2608    PROJECT RESEARCH AND                                        100196                   AMERICAN MEDICAL ASSOCIATION      ATTN: GENERAL COUNSEL
           DEVELOPMENT FUNDING AGREEMENT                                                                                          515 NORTH STATE STREET
           DATED AUGUST 22, 2001                                                                                                  CHICAGO, IL 60610

2. 2609    MEMBERSHIP AGREEMENT FOR                                    100218                   AMR RESEARCH, INC.                ATTN: GENERAL COUNSEL
           SUPPORT SERVICES DATED OCTOBER                                                                                         2 OLIVER STREET
           01, 2003                                                                                                               FIFTH FLOOR
                                                                                                                                  BOSTON, MA 02109

2. 2610    MASTER CONSULTANT SERVICES                                  100219                   ANALGESIC SOLUTIONS, LLC          ATTN: GENERAL COUNSEL
           AGREEMENT DATED MARCH 01, 2017                                                                                         232 POND STREET
                                                                                                                                  NATICK, MA 01760

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2. 2611    STATEMENT OF WORK UNDER MASTER                              100220                   ANALGESIC SOLUTIONS, LLC         ATTN: GENERAL COUNSEL
           CONSULTANT SERVICES AGREEMENT                                                                                         232 POND STREET
           DATED MARCH 01, 2017                                                                                                  NATICK, MA 01760

2. 2612    SEARCH FIRM AGREEMENT DATED                                 100223                   ANALYSTS INTERNATIONAL           ATTN: GENERAL COUNSEL
           APRIL 07, 2010                                                                       CORPORATION                      909 AVIATION PARKWAY, SUITE
                                                                                                                                 1200
                                                                                                                                 MORRISVILLE, NC 27560

2. 2613    CONSULTING SERVICES AGREEMENT                               100238                   ANDREA CERCEK, M.D.              ATTN: GENERAL COUNSEL
           DATED MAY 01, 2017                                                                                                    505 EAST 79TH STREET
                                                                                                                                 APT. 12A
                                                                                                                                 NEW YORK, NY 10075

2. 2614    CONSULTING SERVICES AGREEMENT                               100240                   ANDREW J. CULTER, M.D.           ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JANUARY 01, 2019                                                                                      10800 ALPHARETTA HIGHWAY
                                                                                                                                 SUITE 208
                                                                                                                                 ROSEWELL, GA 30076

2. 2615    MASTER CONSULTANT SERVICES                                  100241                   ANDREW KRYSTAL, MD               ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JUNE                                                                                        DEPARTMENT OF PSYCHIATRY
           01, 2016                                                                                                              DUKE UNIVERSITY MEDICAL
                                                                                                                                 CENTER, BOX 3309
                                                                                                                                 DURHAM, NC 27710

2. 2616    CONSULTANT ENGAGEMENT LETTER                                100242                   ANDREWS INTERNATIONAL, INC.      ATTN: GENERAL COUNSEL
           DATED SEPTEMBER 06, 2017                                                                                              475 PARK AVENUE SOUTH
                                                                                                                                 12TH FLOOR
                                                                                                                                 NEW YORK, NY 10016

2. 2617    CONSULTANT SERVICES AGREEMENT                               100245                   ANIL ABRAHAM                     ATTN: GENERAL COUNSEL
           DATED JUNE 03, 1998                                                                                                   138 CANDLEWOOD DRIVE
                                                                                                                                 YONKERS, NY 10710

2. 2618    CONSULTANT SERVICES AGREEMENT                               100246                   ANN CHILDRESS, M.D.              7351 PRAIRIE FALCON ROAD
           DATED JANUARY 01, 2019                                                                                                SUITE 160
                                                                                                                                 LAS VEGAS, NV 89128

2. 2619    STATEMENT OF CONFIDENTIALITY AND                            100247                   ANSWERTHINK, INC.                NOT AVAILABLE
           LIABILITY EFFECTIVE AS OF JULY 24,
           2001

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2. 2620    AMENDMENT NO. 5 TO MANAGED                                  100248                   APC WORKFORCE SOLUTIONS L.L.C.    ATTN: LEGAL
           STAFFING AGREEMENT DATED APRIL                                                                                         420 S. ORANGE AVENUE
           01, 2009                                                                                                               ORLANDO, FL 32601

2. 2621    AMENDMENT TO MANAGED STAFFING                               100250                   APC WORKFORCE SOLUTIONS, LLC      ATTN: LEGAL
           AGREEMENT DATED DECEMBER 22,                                                         D/B/A ZEROCHAOS                   420 S. ORANGE AVENUE
           2017                                                                                                                   ORLANDO, FL 32601

2. 2622    SEARCH FIRM AGREEMENT DATED                                 100260                   APPLE AND ASSOCIATES              ATTN: GENERAL COUNSEL
           APRIL 13, 2012                                                                                                         PO BOX 996
                                                                                                                                  CHAPIN, SC 29036

2. 2623    SEARCH FIRM AGREEMENT DATED                                 100263                   APR EXECUTIVE SEARCH INC.         ATTN: GENERAL COUNSEL
           OCTOBER 04, 2007                                                                                                       1 LINDEN PLACE, SUITE 405
                                                                                                                                  GREAT NECK, NY 11021

2. 2624    DISCONTINUATION AGREEMENT                                   100264                   APTUIT CONSULTING, INC.           NOT AVAILABLE
           EFFECTIVE AS OF APRIL 01, 2009

2. 2625    LEGAL RETAINER AGREEMENT DATED                              100268                   ARMALL GOLDEN GREGORY LLP         ATTN: GENERAL COUNSEL
           JANUARY 17, 2013                                                                                                       171 17TH STREET NW
                                                                                                                                  SUITE 2100
                                                                                                                                  ATLANTA, GA 30363-1031

2. 2626    LEGAL RETAINER AGREEMENT DATED                              100269                   ARNOLD & PORTER LLP               ATTN: GENERAL COUNSEL
           SEPTEMBER 30, 2013                                                                                                     555 TWELFTH STREET, NW
                                                                                                                                  WASHINGTON, DC 20004-1206

2. 2627    PRIVILEGED AND CONFIDENTIAL DATED                           100270                   ARROWSMITH- LOWE, MD FACP         ATTN: GENERAL COUNSEL
           JANUARY 19, 2006                                                                                                       185 EAGLE CREEK CANYON
                                                                                                                                  RUIDOSO, NM 88355

2. 2628    LETTER TO AMEND AGREEMENT DATED                             100275                   ARTHRITIS SURGERY RESEARCH        ATTN: GENERAL COUNSEL
           FEBRUARY 02, 2001                                                                    FOUNDATION, INC.                  1321 NW 14TH STREET
                                                                                                                                  WEST BUILDING, SUITE 203
                                                                                                                                  MIAMI, FL 33125

2. 2629    LETTER TO AMEND AGREEMENT DATED                             100276                   ARTHRITIS SURGERY RESEARCH        ATTN: GENERAL COUNSEL
           FEBRUARY 02, 2001                                                                    FOUNDATION, INC.                  1321 NW 14TH STREET
                                                                                                                                  WEST BUILDING, SUITE 203
                                                                                                                                  MIAMI, FL 33125

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2. 2630    CONSULTANT SERVICES AGREEMENT                               100279                   ASCENT STRATEGIES, LLC           ATTN: GENERAL COUNSEL
           DATED DECEMBER 01, 2018                                                                                               1410 GRANT STREET
                                                                                                                                 SUITE C306
                                                                                                                                 DENVER, CO 80203

2. 2631    LETTER PURCHASING AGREEMENT                                 100280                   ASCENTION HEALTH RESOURCE AND    ATTN: SOURCING MANAGER,
           EFFECTIVE AS OF JULY 01, 2015                                                        SUPPLY MANAGEMENT GROUP LLC      PHARMACY
                                                                                                                                 11775 BORMAN DRIVE, SUITE 340
                                                                                                                                 ST. LOUIS, MO 63146

2. 2632    MASTER AGREEMENT EFFECTIVE AS                               100292                   AT&T                             ATTN: MASTER AGREEMENT
           OF MAY 12, 2017                                                                                                       SUPPORT TEAM
                                                                                                                                 ONE AT&T WAT
                                                                                                                                 BEDMINSTER, NJ 07921-0752

2. 2633    STATEMENT OF WORK DATED                                     100303                   ATMOSPHERE INTERACTIVE           ATTN: GENERAL COUNSEL
           DECEMBER 04, 2001                                                                                                     1375 BROADWAY
                                                                                                                                 NEW YORK, NY 10018

2. 2634    ATUL KHULLAR MD OTH CW2366042             3/31/2021         106024                   ATUL KHULLAR, MD                 NOT AVAILABLE
           NON-COMPENSATED AUTHORSHIP
           (LH.RA) EFFECTIVE MARCH 25, 2019

2. 2635    CONSULTANT ENGAGEMENT LETTER                                100309                   AUGUSTENBORG CONSULTING, LLC     ATTN: GENERAL COUNSEL
           DATED MAY 18, 2016                                                                                                    LON D. AUGUSTENBORG
                                                                                                                                 6603 QUINTEN STREET
                                                                                                                                 FALLS CHURCH, VA 22043

2. 2636    PROJECT SPECIFICATION ORDER #8 TO                           100325                   AVALON HEALTH SOLUTIONS, INC.    ATTN: GENERAL COUNSEL
           MASTER CONSULTANT SERVICES                                                                                            1601 WALNUT STREET
           AGREEMENT DATED NOVEMBER 15,                                                                                          SUITE 1507
           2001                                                                                                                  PHILADELPHIA, PA 19102

2. 2637    PROJECT SPECIFICATION ORDER NO. 1                           100324                   AVALON HEALTH SOLUTIONS, INC.    ATTN: GENERAL COUNSEL
           TO MASTER CONSULTANT SERVICES                                                                                         1601 WALNUT STREET
           AGREEMENT DATED AUGUST 16, 2000                                                                                       SUITE 1507
                                                                                                                                 PHILADELPHIA, PA 19102

2. 2638    CONSULTANT SERVICES AGREEMENT                               100334                   AVI MAMIDI, PHARM.D BCPS         ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF APRIL 13, 2018                                                                                        4727 SOUTH SPAGO DRIVE
                                                                                                                                 DUBLIN, CA 94568

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2. 2639    AMENDMENT #3 TO MASTER                                      100336                   AVOCA GROUP, INC.                    NOT AVAILABLE
           CONSULTANT SERVICES AGREEMENT
           DATED MARCH 28, 2018

2. 2640    FEASIBILITY EVALUATION AGREEMENT                            100351                   BANNER PHARMACAPS, INC.              ATTN: VICE PRESIDENT, SALES &
           DATED MARCH 25, 1999                                                                                                      MARKETING
                                                                                                                                     4125 PREMIER DRIVE
                                                                                                                                     HIGH POINT, NC 27265-8144

2. 2641    CONSULTANT SERVICES AGREEMENT                               100358                   BASSETT CONSULTING SERVICES, INC.    ATTN: GENERAL COUNSEL
           DATED JANUARY 01, 1998                                                                                                    10 PLEASANT DRIVE
                                                                                                                                     NORTH HAVEN, CT 06473

2. 2642    RELEASE AND COVENANT EFFECTIVE                              100359                   BAXTER INTERNATIONAL INC.; BAXTER    ATTN: GENERAL COUNSEL
           AS OF AUGUST 01, 2012                                                                HEALTHCARE CORPORATION               ONE BAXTER PARKWAY, DF-2E
                                                                                                                                     DEERFIELD, IL 60015-4633

2. 2643    CONSULTING SERVICES AGREEMENT                               100363                   BDO USA, LLP                         ATTN: GENERAL COUNSEL
           DATED NOVEMBER 08, 2017                                                                                                   8401 GREENSBORO DRIVE
                                                                                                                                     SUITE 800
                                                                                                                                     MCLEAN, VI 22102

2. 2644    PROFESSIONAL SERVICES AGREEMENT                             100365                   BECKER & ASSOCIATES CONSULTING       ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF FEBRUARY 11, 2008                                                    INC                                  2001 PENNSYLVANIA AVENUE
                                                                                                                                     NORTHWEST
                                                                                                                                     SUITE 950
                                                                                                                                     WASHINGTON, DC 20006

2. 2645    AMENDMENT #1: TO MASTER SITE                                100372                   BENCHMARK RESEARCH                   ATTN: MELISSA REYNOLDS
           MANAGEMENT ORGANIZATION                                                                                                   4504 BOAT CLUB ROAD
           AGREEMENT DATED JUNE 14, 2004                                                                                             SUITE 800
                                                                                                                                     FORTH WORTH, TX 76135

2. 2646    AMENDMENT #1: TO MASTER SITE                                100373                   BENCHMARK RESEARCH                   ATTN: MELISSA REYNOLDS
           MANAGEMENT ORGANIZATION                                                                                                   4504 BOAT CLUB ROAD
           AGREEMENT DATED JUNE 14, 2004                                                                                             SUITE 800
                                                                                                                                     FORTH WORTH, TX 76135

2. 2647    SEARCH FIRM AGREEMENT EFFECTIVE                             100379                   BERKELEY ASSOCIATES D/B/A JUDGE      ATTN: GENERAL COUNSEL
           AS OF OCTOBER 04, 2007                                                               INC.                                 300 CONSHOHOCKEN, SUITE 300
                                                                                                                                     WEST CONSHOHOCHEN, PA 19428

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2. 2648    CONSULTANT SERVICES AGREEMENT                               100381                   BERRY CONSULTANTS, LLC.          ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF NOVEMBER 30, 2018                                                                                     3345 BEE CAVES ROAD
                                                                                                                                 SUITE 201
                                                                                                                                 AUSTIN, TX 78746

2. 2649    CONSULTANT SERVICES AGREEMENT                               100382                   BEST PRACTICES BENCHMARKING &    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MAY 29, 2018                                                         CONSULTING, LLC DBA BEST         6350 QUADRANGLE DRIVE
                                                                                                PRACTICES, LLC                   SUITE 2200
                                                                                                                                 CHAPEL HILL, NC 27517

2. 2650    SEARCH FIRM AGREEMENT DATED                                 100389                   BIO-DIGM, LLC                    ATTN: GENERAL COUNSEL
           OCTOBER 04, 2007                                                                                                      29 EAST BIJOU STREET, #15
                                                                                                                                 COLORADO SPRINGS, CO 80902

2. 2651    SEARCH FIRM AGREEMENT DATED                                 100405                   BIOPHARMA SEARCH PARTNERS        ATTN: GENERAL COUNSEL
           JULY 17, 2013                                                                                                         6 FORGE GATE DRIVE, G8B
                                                                                                                                 COLD SPRING, NY 10516

2. 2652    CONSULTANT SERVICES AGREEMENT                               100411                   BIOTECHNICAL SERVICES, INC       ATTN: GENERAL COUNSEL
           DATED JULY 22, 1998                                                                                                   4610 WEST COMMERICAL DRIVE
                                                                                                                                 NORTH LITTLE ROCK, AR 72116-
                                                                                                                                 7059

2. 2653    CONSULTANT SERVICES AGREEMENT                               100412                   BIOTECHNICAL SERVICES, INC       ATTN: GENERAL COUNSEL
           DATED JULY 22, 1998                                                                                                   4610 WEST COMMERICAL DRIVE
                                                                                                                                 NORTH LITTLE ROCK, AR 72116-
                                                                                                                                 7059

2. 2654    CONSULTANT SERVICES AGREEMENT                               100413                   BIRGIT AMANN, M.D.               ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JANUARY 01, 2019                                                                                      1639 E. BIG BEAVER
                                                                                                                                 SUITE 201
                                                                                                                                 TROY, MI 48083

2. 2655    CONSULTANT SERVICES AGREEMENT                               100414                   BIVENS & ASSOCIATES LLC          ATTN: GENERAL COUNSEL
           DATED JANUARY 01, 2018                                                                                                511 UNION STREET
                                                                                                                                 SUITE 2615
                                                                                                                                 NASHVILLE, TN 37219

2. 2656    PURCHASE AND SERVICE AGREEMENT                              100415                   BLAKE WORKS, INC,                ATTN: GENERAL COUNSEL
           DATED FEBRUARY 01, 2007                                                                                               248 EAST MAIN STREET
                                                                                                                                 GLOUCESTER, MA 01930

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2. 2657    AMENDMENT #1 TO STATEMENT OF                                100417                   BLAUVELT CONSULTING, LLC         ATTN: GENERAL COUNSEL
           WORK DATED AUGUST 01, 2018                                                                                            17700 UPPER CHERRY LANE
                                                                                                                                 LAKE OSWEGO, OR 97034

2. 2658    CONSULTANT SERVICES AGREEMENT                               100416                   BLAUVELT CONSULTING, LLC         ATTN: GENERAL COUNSEL
           DATED DECEMBER 19, 2016                                                                                               17700 UPPER CHERRY LANE
                                                                                                                                 LAKE OSWEGO, OR 97034

2. 2659    CONSULTANT SERVICES AGREEMENT                               100418                   BLUE FIN GROUP, INC.             ATTN: GENERAL COUNSEL
           DATED MARCH 01, 2017                                                                                                  219 MAIN STREET # 405
                                                                                                                                 CHATHAM, NJ 07928

2. 2660    CONTRACT CHANGE ORDER EFFECTIVE                             100428                   BMC SOFTWARE, INC.               NOT AVAILABLE
           AS OF SEPTEMBER 02, 2008

2. 2661    MASTER CONSULTANT AGREEMENT                                 100438                   BOSTON HEALTH ECONOMICS, INC.    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF AUGUST 26, 2016                                                                                       20 FOX ROAD
                                                                                                                                 WALTHAM, MA 02451

2. 2662    PARTNERSHIP AGREEMENT DATED                                 100439                   BR HOLDINGS ASSOCIATES L.P.      ATTN: MORTIMER D. SACKLER,
           JANUARY 01, 2004                                                                                                      M.D.; KATHE A SACKLER, M.D.;
                                                                                                                                 AND RICHARD S. SACKLER, M.D.
                                                                                                                                 ONE STAMFORD FORUM
                                                                                                                                 STAMFORD, CT 06901-3431

2. 2663    PARTNERSHIP AGREEMENT DATED                                 100440                   BR HOLDINGS ASSOCIATES L.P.      ATTN: MORTIMER D. SACKLER,
           JANUARY 01, 2004                                                                                                      M.D.; KATHE A SACKLER, M.D.;
                                                                                                                                 AND RICHARD S. SACKLER, M.D.
                                                                                                                                 ONE STAMFORD FORUM
                                                                                                                                 STAMFORD, CT 06901-3431

2. 2664    MASTER LABORATORY SERVICES                                  100447                   BRAINS ON-LINE LLC               ATTN: ARASH RASSOULPOUR
           AGREEMENT EFFECTIVE AS OF                                                                                             7000 SHORELINE COURT
           SEPTEMBER 25, 2015                                                                                                    SUITE 275
                                                                                                                                 SAN FRANCISCO, CA 94080

2. 2665    AMENDMENT NO. 2 TO MASTER                                   100450                   BRAJAK CONSULTING LLC            ATTN: GENERAL COUNSEL
           CONSULTANT/VENDOR SERVICES                                                                                            6 SHADY MILL LANE
           AGREEMENT DATED APRIL 08, 2016                                                                                        MILFORD, NJ 08848




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2. 2666    MASTER CONSULTANT/VENDOR                                    100449                   BRAJAK CONSULTING LLC           ATTN: SHAWN M. REARDON
           SERVICES AGREEMENT DATED APRIL                                                                                       6 SHADY MILL LANE
           11, 2011                                                                                                             MILFORD, NJ 08848

2. 2667    CONSULTANT SERVICES AGREEMENT                               100458                   BRANDWIDTH GLOBAL               ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MAY 19, 2017                                                                                         79 COLEYTOWN ROAD
                                                                                                                                WESTPORT, CO 06680

2. 2668    AMENDMENT NO. 1 CONSULTING                                  100459                   BRAVO GROUP, INC.               NOT AVAILABLE
           SERVICES AGREEMENT DATED MARCH
           06, 2018

2. 2669    AMENDMENT TO MASTER CONSULTANT                              100461                   BRENNAN SALES INSTITUTE         NOT AVAILABLE
           SERVICES AGREEMENT EFFECTIVE AS
           OF NOVEMBER 28, 2016

2. 2670    CONSULTANT SERVICES AGREEMENT                               100473                   BROWNSTEIN HYATT FARBER         ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JANUARY 25, 2019                                                     SCHRECK                         410 SEVENTEENTH STREET
                                                                                                                                SUITE 2200
                                                                                                                                DENVER, CO 80202-4432

2. 2671    CONSULTANT SERVICES AGREEMENT                               100474                   BRUCE MCCORMICK PH.D. ABMP      ATTN: GENERAL COUNSEL
           DATED JANUARY 01, 2019                                                                                               1842 IRVING PLACE
                                                                                                                                SHREVEPORT, LA 71101

2. 2672    AMENDMENT NO. 1 TO MASTER                                   100483                   BURKHART CONSULTING LLC         ATTN: GENERAL COUNSEL
           CONSULTANT VENDOR SERVICES                                                                                           12223 QUORN LANE
           AGREEMENT EFFECTIVE AS OF                                                                                            RESTON, VA 20191
           JANUARY 17, 2017

2. 2673    STATEMENT OF WORK NO. 1 DATED                               100481                   BURKHART CONSULTING LLC         ATTN: GENERAL COUNSEL
           JANUARY 17, 2014                                                                                                     12223 QUORN LANE
                                                                                                                                RESTON, VA 20191

2. 2674    LETTER AGREEMENT EFFECTIVE AS OF                            100489                   BURRILL & COMPANY LLC           ATTN: GENERAL COUNSEL
           MARCH 03, 2006                                                                                                       ONE EMBARCADERO CENTER
                                                                                                                                SUITE 2700
                                                                                                                                SAN FRANCISCO, CA 94111




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2. 2675    BUSINESS WIRE - AMEND. 1 TO                6/30/2021         106021                   BUSINESS WIRE INC                   NOT AVAILABLE
           SPECIAL PRICING AGREEMENT
           CW2367603 (LH.RA) EFFECTIVE JULY 01,
           2019

2. 2676    SKADDEN LETTER AGREEMENT                                     100491                   BUZZEOPDMA, LLC                     ATTN: GENERAL COUNSEL
           07212016 CW2324294 CONSULTING                                                                                             SUITE 301
           SERVICES (MB.LH) DATED JULY 21, 2016                                                                                      RICHMOND, VA 23225

2. 2677    CUSTOMER ENGAGEMENT, BETA, AND                               100502                   C/O/ SPARTA SYSTEMS                 ATTN: GENERAL COUNSEL
           FEEDBACK AGREEMENT DATED                                                                                                  2000 WATERVIEW DRIVE
           NOVEMBER 18, 2013                                                                                                         HAMILTON 08691

2. 2678    SEARCH FIRM AGREEMENT DATED                                  100508                   CAMBRIDGE GROUP LTD                 ATTN: GENERAL COUNSEL
           OCTOBER 04, 2007                                                                                                          1175 POST ROAD EAST
                                                                                                                                     WESTPORT, CT 06880

2. 2679    CONSULTANT ENGAGEMENT LETTER                                 100520                   CARCO GROUP, INC. D/B/A CISIVE      ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JUNE 01, 2017                                                                                             5000 CORPORATE COURT
                                                                                                                                     SUITE 203
                                                                                                                                     HOLTSVILLE, NY 11742

2. 2680    LETTER PURCHASING AGREEMENT                                  100536                   CARDINAL HEALTH PHARMACEUTICAL      ATTN: DIEGO ARMENDARIZ,
           DATED JUNE 06, 2017                                                                   CONTRACTING LLC                     DIRECTOR OF CONTRACTING
                                                                                                                                     1330 ENCLAVE PARKWAY
                                                                                                                                     HOUSTON, TX 77077

2. 2681    SEARCH FIRM AGREEMENT DATED                                  100548                   CARLYLE CONSULTING SERVICES, INC    ATTN: GENERAL COUNSEL
           OCTOBER 04, 2007                                                                                                          641 LEXINGTON AVENUE
                                                                                                                                     NEW YORK, NY 10022

2. 2682    CONSULTANT SERVICES AGREEMENT                                100549                   CAROL A. JOHMANN, PH.D.             ATTN: GENERAL COUNSEL
           DATED JULY 06, 1998                                                                                                       202 WEXFORD PLACE
                                                                                                                                     WEBSTER, NY 14580

2. 2683    MASTER CONSULTANT SERVICES                                   100550                   CAROLYN DAVIS                       ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JULY                                                                                            131 WELTON WAY
           01, 2016                                                                                                                  MOORESVILLE, NC 28117




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2. 2684    MASTER CONSULTANT SERVICES                                  100551                   CAROLYNE M. WOLF, PHARM. D       ATTN: GENERAL COUNSEL
           AGREEMENT DATED DECEMBER 15,                                                                                          520 NORTH OAKLAWN AVENUE
           2016                                                                                                                  ELMHURST, IL 60126

2. 2685    STANDARD LETTER OF AGREEMENT                                100559                   CEB COMPLIANCE & ETHICS          ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JUNE 01, 2018                                                        LEADERSHIP COUNCIL

2. 2686    SEARCH FIRM AGREEMENT DATED                                 100562                   CELERITY TECHNOLOGY SERVICES,    ATTN: GENERAL COUNSEL
           JUNE 28, 2006                                                                        INC.                             2001 WEST MAIN STREET, SUITE
                                                                                                                                 135
                                                                                                                                 STAMFORD, CT 06902

2. 2687    SEARCH FIRM AGREEMENT DATED                                 100563                   CELERITY TECHNOLOGY SERVICES,    ATTN: GENERAL COUNSEL
           OCTOBER 04, 2007                                                                     INC.                             2001 WEST MAIN STREET, SUITE
                                                                                                                                 135
                                                                                                                                 STAMFORD, CT 06902

2. 2688    ASSET PURCHASE AGREEMENT BY AND                             106229                   CELLACT PHARMA GMBH              ATTN: GENERAL COUNSEL
           AMONG CELLACT PHARMA GMBH AND                                                                                         OTTO-HAHN-STRAßE 15, 44227
           MUNDIPHARMA INTERNATIONAL                                                                                             DORTMUND, GERMANY
           CORPORATION LIMITED DATED JULY 29,
           2017 (EX-US) AND ACCOMPANYING
           EXHIBITS (“CELLACT APA EX-US”)

2. 2689    ASSET PURCHASE AGREEMENT BY AND                             106228                   CELLACT PHARMA GMBH              ATTN: GENERAL COUNSEL
           AMONG CELLACT PHARMA GMBH AND                                                                                         OTTO-HAHN-STRAßE 15, 44227
           PURDUE PHARMA L.P. DATED JULY 29,                                                                                     DORTMUND, GERMANY
           2017 (US) AND ACCOMPANYING
           EXHIBITS (“CELLACT APA US”)

2. 2690    MATERIALS TRANSFER AGREEMENT                                100572                   CENTREXION THERAPEUTICS          ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF NOVEMBER 01, 2015                                                    CORPORATION                      509 S EXETER STREET SUITE 202
                                                                                                                                 BALTIMORE, MD 21202

2. 2691    CONSULTANT SERVICES AGREEMENT                               100573                   CENTRO AF DE ESTUDIOS            ATTN: GENERAL COUNSEL
           DATED MARCH 08, 1999                                                                 TECNOLOGICOS SA                  NICOLAS SAN JUAN 1024
                                                                                                                                 COLONIA DEL VALLE; MEXICO
                                                                                                                                 D.F., MEXICO 03100

2. 2692    SERVICE AGREEMENT EFFECTIVE AS                              100575                   CERIDIAN CORPORATION             ATTN: LEGAL
           OF NOVEMBER 12, 2012                                                                                                  3311 EAST OLD SHAKOPEE RD
                                                                                                                                 MINNEAPOLIS, MN 55425
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2. 2693    CERILLIANT CORPORATION -                  1/31/2022         106002                   CERILLIANT CORPORATION              NOT AVAILABLE
           AMENDMENT 1 TO MLSA OTH
           CW2365944 (LH.RA) EFFECTIVE
           FEBRUARY 01, 2019

2. 2694    CONSULTANT SERVICES AGREEMENT                               100582                   CFO SOLUTIONS LLC                   ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF AUGUST 20, 2018                                                                                          6 UNIVERSITY DRIVE
                                                                                                                                    SUITE 206-209
                                                                                                                                    AMHERST, MA 01002

2. 2695    SEARCH FIRM AGREEMENT DATED                                 100583                   CHALONER ASSOCIATES, INC.           ATTN: GENERAL COUNSEL
           NOVEMBER 20, 2008                                                                                                        580 BROADWAY, SUITE 1208
                                                                                                                                    NEW YORK, NY 10012

2. 2696    MASTER CONSULTANT SERVICES                                  100586                   CHARLES ARGOFF, MD                  ATTN: GENERAL COUNSEL
           AGREEMENT DATED JUNE 01, 2016                                                                                            4 LADON LANE NORTH
                                                                                                                                    LOUDONVILLE, NY 12211

2. 2697    CONSULTANT SERVICES AGREEMENT                               100588                   CHARLES GRUDZINSKAS, PH.D.          ATTN: GENERAL COUNSEL
           DATED MAY 17, 1999                                                                                                       720 RIVERVIEW TERRACE
                                                                                                                                    ANNAPOLIS, MD 21401

2. 2698    CHARLES RIVER OTH AMENDMENT 1 TO          10/5/2020         106031                   CHARLES RIVER LABORATORIES          ATTN: GENERAL COUNSEL
           PSO 2019-1 CW2367432 (LH.RA)                                                                                             ELPHINSTONE RESEARCH
           EFFECTIVE JUNE 28, 2019                                                                                                  CENTRE
                                                                                                                                    TRANENT EH33 2NE
                                                                                                                                    EDINBURGH

2. 2699    CONSULTANT SERVICES AGREEMENT                               100593                   CHARLES STEFANINI CONSULTING LLC    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF OCTOBER 01, 2017                                                                                         15 CUNNINGHAM DRIVE
                                                                                                                                    FRAMINGHAM, MA 01701

2. 2700    CONSULTANCY AGREEMENT                                       100594                   CHARTER SYSTEMS, INC.               ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JANUARY 16, 1997                                                                                         110 WASHINGTON AVENUE
                                                                                                                                    NORTH HAVEN, CT 06473

2. 2701    MASTER IMPLEMENTATION FORM                                  100595                   CHASE I-SOLUTIONS                   ATTN: GENERAL COUNSEL
           DATED AUGUST 10, 2005                                                                                                    1201 MARKET STREET
                                                                                                                                    9TH FLOOR
                                                                                                                                    WILMINGTON, DE 19801



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2. 2702    SEARCH FIRM AGREEMENT DATED                                 100598                   CHAVES & ASSOCIATES LLP DBA           ATTN: GENERAL COUNSEL
           OCTOBER 04, 2007                                                                     INSITE SEARCH                         22 CRESCENT ROAD
                                                                                                                                      WESTPORT, CT 06880

2. 2703    AMENDMENT NO. 1 CONSULTING                                  100614                   CHRISTOPHER DELAFOREST                NOT AVAILABLE
           SERVICES AGREEMENT DATED MAY 01,
           2017

2. 2704    EMPLOYEE WELFARE BENEFIT PLAN                               100621                   CIGNA LIFE INSURANCE COMPANY OF       ATTN: GENERAL COUNSEL
           APPOINTMENT FOR CLAIM FIDUCIARY                                                      NEW YORK                              900 COTTAGE GROVE ROAD
           DATED JANUARY 01, 2008                                                                                                     HARTFORD, CT 06152

2. 2705    MASTER LABORATORY AND NON-                                  100622                   CILCARE                               ATTN: GENERAL COUNSEL
           CLINICAL SERVICES AGREEMENT                                                                                                2214 BD DE LA LIRONDE- BAT. 12
           EXECUTED OCTOBER 15, 2018                                                                                                  MONTFERRIER SUR LEZ 34980
                                                                                                                                      FRANCE

2. 2706    CONSULTANT SERVICES AGREEMENT                               100623                   CIMQUEST, INC.                        ATTN: GENERAL COUNSEL
           DATED JUNE 08, 1999                                                                                                        262 CHAPMAN ROAD
                                                                                                                                      SUITE 105
                                                                                                                                      NEWARK, DE 19702

2. 2707    CONSULTANT SERVICES AGREEMENT                               100627                   CIVIC POINT - A SUBSIDIARY OF FROST   ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF NOVEMBER 01, 2017                                                    BROWN TODD LLC                        201 NORTH ILLINOIS STREET
                                                                                                                                      SUITE 1900
                                                                                                                                      INDIANAPOLIS, IN 46204-4236

2. 2708    SEARCH FIRM AGREEMENT DATED                                 100628                   CKR ASSOCIATES, LLC                   ATTN: GENERAL COUNSEL
           SEPTEMBER 02, 2011                                                                                                         1955 HIGHWAY 34, SUITE 3A
                                                                                                                                      WALL, NJ 07719

2. 2709    SEARCH FIRM AGREEMENT DATED                                 100632                   CLARK DAVIS ASSOCIATES                ATTN: GENERAL COUNSEL
           OCTOBER 04, 2007                                                                                                           5 CENTURY DRIVE
                                                                                                                                      PARSIPPANY, NJ 07054

2. 2710    EVALUATION AGREEMENT DATED                                  100635                   CLEARWELL SYSTEMS, INC.               ATTN: GENERAL COUNSEL
           SEPTEMBER 14, 2006                                                                                                         2901 TASMAN DRIVE
                                                                                                                                      SUITE 100
                                                                                                                                      SANTA CLARA, CA 95054




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2. 2711    CONSULTANT SERVICES AGREEMENT                               100637                   CLIMQUEST, INC.                    ATTN: EXECUTIVE VICE
           DATED JUNE 08, 1999                                                                                                     PRESIDENT
                                                                                                                                   262 CHAPMAN ROAD
                                                                                                                                   SUITE 105
                                                                                                                                   NEWARK, DE 19702

2. 2712    REQUEST FOR CONSENT TO ASSIGN                               100640                   CLINICAL STUDIES, LTD              ATTN: GENERAL COUNSEL
           AGREEMENT DATED NOVEMBER 08,                                                                                            10 DORRANCE STREET
           2001                                                                                                                    SUITE 400
                                                                                                                                   PROVIDENCE, RI 02903

2. 2713    REQUEST FOR CONSENT TO ASSIGN                               100641                   CLINICAL STUDIES, LTD              ATTN: GENERAL COUNSEL
           AGREEMENT DATED NOVEMBER 08,                                                                                            101 DORRANCE STREET
           2001                                                                                                                    SUITE 400
                                                                                                                                   PROVIDENCE, RI 02903

2. 2714    AMENDMENT #2 TO MASTER HCP                                  100642                   CLINICAL TRIAL CONSULTANTS, LLC    NOT AVAILABLE
           CONSULTANT SERVICES AGREEMENT
           DATED APRIL 01, 2012

2. 2715    STATEMENT OF WORK TO MASTER HCP                             100643                   CLINICAL TRIAL CONSULTANTS, LLC    ATTN: GLEN APSELOFF
           CONSULTANT SERVICES AGREEMENT
           DATED APRIL 01, 2012

2. 2716    CLINICAL TRIAL CONSULTANTS OTH            6/19/2022         106028                   CLINICAL TRIAL CONSULTANTS, LLC    NOT AVAILABLE
           CW2367320 AMEND 1 TO SOW 2017-1                                                      (GLEN APSELOFF - OHIO STATE
           APSELOFF (LH.RA) EFFECTIVE JUNE 20,                                                  UNIVERSITY)
           2019

2. 2717    CLINICAL TRIAL CONSULTANTS, LLC -         6/19/2022         106029                   CLINICAL TRIAL CONSULTANTS, LLC    NOT AVAILABLE
           OTH MSA AMEND 3 GLEN APSELOFF                                                        (GLEN APSELOFF - OHIO STATE
           CW2367309 (LH.RA) EFFECTIVE JUNE                                                     UNIVERSITY)
           20, 2019

2. 2718    CONSULTING SERVICES AGREEMENT                               100650                   CLINICAL TRIAL SERVICES            ATTN: TIMOTHY S. BREWER, CEO
           DATED JULY 01, 1997                                                                                                     2661 AUDUBON ROAD
                                                                                                                                   AUDUBON, PA 19407

2. 2719    MASTER CRO SERVICES AGREEMENT                               100657                   CLINILABS, INC.                    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF APRIL 01, 2017                                                                                          423 WEST 55TH STREET
                                                                                                                                   NEW YORK, NY 10019

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2. 2720    AMENDMENT NO. 4 TO MASTER                                   100663                   COBBS CREEK HEALTHCARE, LLC     NOT AVAILABLE
           CONSULTANT SERVICES AGREEMENT
           DATED JULY 31, 2017

2. 2721    COBRA OTH CW2365889 AMEND1 TO             6/21/2021         105998                   COBRA LEGAL SOLUTIONS LLC       ATTN: GENERAL COUNSEL
           MSA MODIFY EARLY PAYMENT                                                                                             1717 WEST SIXTH STREET
           DISCOUNT (LH.RA) EFFECTIVE MARCH                                                                                     SUITE 112
           11, 2019                                                                                                             AUSTIN, TX 78703

2. 2722    COBRA OTH CW2365898 AMEND1 TO             6/21/2021         106000                   COBRA LEGAL SOLUTIONS LLC       ATTN: GENERAL COUNSEL
           SOW2019-1 MODIFY PRICING DUE TO                                                                                      1717 WEST SIXTH STREET
           EARLY PAYMENT DISCOUNT CHANGE                                                                                        SUITE 112
           (LH.RA) EFFECTIVE MARCH 11, 2019                                                                                     AUSTIN, TX 78703

2. 2723    COBRA OTH CW2365901 AMEND2 TO             6/21/2021         105999                   COBRA LEGAL SOLUTIONS LLC       ATTN: GENERAL COUNSEL
           SOW 2018-1 MODIFY PRICING DUE TO                                                                                     1717 WEST SIXTH STREET
           CHANGED EARLY PAYMENT DISCOUNT                                                                                       SUITE 112
           AND EXTEND TERM (LH.RA) EFFECTIVE                                                                                    AUSTIN, TX 78703
           MARCH 11, 2019

2. 2724    CONVERSION AGREEMENT AND                                     9005                    COGNITION THERAPEUTICS, INC.    ATTN: CEO AND PRESIDENT
           AMENDMENT DATED NOVEMBER 18,                                                                                         2403 SIDNEY STREET
           2016                                                                                                                 SUITE 261
                                                                                                                                PITTSBURGH, PA 15203

2. 2725    FIRST AMENDMENT TO NOTE AND                                  9042                    COGNITION THERAPEUTICS, INC.    ATTN: CEO AND PRESIDENT
           WARRANT PURCHASE AGREEMENT                                                                                           2403 SIDNEY STREET
                                                                                                                                SUITE 261
                                                                                                                                PITTSBURGH, PA 15203

2. 2726    MANAGEMENT RIGHTS LETTER DATED                               9043                    COGNITION THERAPEUTICS, INC.    ATTN: CEO AND PRESIDENT
           MAY 19, 2016                                                                                                         2403 SIDNEY STREET
                                                                                                                                SUITE 261
                                                                                                                                PITTSBURGH, PA 15203

2. 2727    NOTE AND WARRANT PURCHASE                                    9041                    COGNITION THERAPEUTICS, INC.    ATTN: CEO AND PRESIDENT
           AGREEMENT DATED MARCH 15, 2016                                                                                       2403 SIDNEY STREET
                                                                                                                                SUITE 261
                                                                                                                                PITTSBURGH, PA 15203




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2. 2728    THIRD AMENDED AND RESTATED                                   9006                    COGNITION THERAPEUTICS, INC.       ATTN: CEO AND PRESIDENT
           INVESTORS' RIGHTS AGREEMENT                                                                                             2403 SIDNEY STREET
           DATED MARCH 20, 2014                                                                                                    SUITE 261
                                                                                                                                   PITTSBURGH, PA 15203

2. 2729    THIRD AMENDED AND RESTATED RIGHT                             9007                    COGNITION THERAPEUTICS, INC.       ATTN: CEO AND PRESIDENT
           OF FIRST REFUSAL AND CO-SALE                                                                                            2403 SIDNEY STREET
           AGREEMENT                                                                                                               SUITE 261
                                                                                                                                   PITTSBURGH, PA 15203

2. 2730    THIRD AMENDED AND RESTATED                                   9004                    COGNITION THERAPEUTICS, INC.       ATTN: CEO AND PRESIDENT
           VOTING AGREEMENT DATED MARCH 20,                                                                                        2403 SIDNEY STREET
           2014                                                                                                                    SUITE 261
                                                                                                                                   PITTSBURGH, PA 15203

2. 2731    AGREEMENT RE: COGNITIVE TESTING                             100670                   COGNITIVE DRUG RESEARCH LIMITED    ATTN: GENERAL COUNSEL
           SERVICES DATED MARCH 20, 2003                                                                                           CDR HOUSE
                                                                                                                                   24 PORTMAN ROAD
                                                                                                                                   READING RG30 1EA

2. 2732    TERMINATION AGREEMENT EFFECTIVE                             100683                   COLPMAN CONSULTING LTD             NOT AVAILABLE
           AS OF FEBRUARY 18, 2015

2. 2733    ADDENDUM 1 TO COMDATA                                       100684                   COMDATA NETWORK INC.               NOT AVAILABLE
           MASTERCARD CORPORATE CARD
           AGREEMENT DATED MAY 04, 2012

2. 2734    COMDATA MASTERCARD CORPORATE                                100685                   COMDATA NETWORK, INC.              ATTN: CORY GUERRENO, SALES
           CARD AGREEMENT EXECUTED MAY 04,                                                                                         5301 MARYLAND WAY
           2012                                                                                                                    BRENTWOOD, TN 37027

2. 2735    AMENDMENT NO. 1 TO AGREEMENT                                100688                   COMMONWEALTH OF VIRGINIA,          NOT AVAILABLE
           DATED FEBRUARY 21, 2018                                                              DEPARTMENT OF HEALTH
                                                                                                PROFESSIONALS

2. 2736    AMENDMENT NO. 1 TO COST                                     100689                   COMMUNICATION RESEARCH             NOT AVAILABLE
           OPTIMIZATION ANALYSIS AGREEMENT                                                      CONSULTANTS, INC.
           DATED FEBRUARY 24, 2004




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2. 2737    CONSULTANT SERVICES AGREEMENT                               100691                   COMMUNICATIONS IN MEDICINE, LLC    ATTN: GENERAL COUNSEL
           DATED JULY 07, 1997                                                                                                     333 PEARL STREET, SUITE 25B
                                                                                                                                   NEW YORK, NY 10038

2. 2738    CONSULTANT SERVICES AGREEMENT                               100690                   COMMUNICATIONS IN MEDICINE, LLC    ATTN: MICHAEL E. MARGOLIES
           DATED JULY 17, 1997                                                                                                     333 PEARL STREET
                                                                                                                                   NEW YORK, NY 10038

2. 2739    CONSULTANT SERVICES AGREEMENT                               100693                   COMMUNICATIONS IN MEDICINE, LLC    ATTN: MICHAEL E. MARGOLIES
           DATED OCTOBER 23, 1998                                                                                                  333 PEARL STREET
                                                                                                                                   SUITE 25B
                                                                                                                                   NEW YORK, NY 10038

2. 2740    CONSULTANT SERVICES AGREEMENT                               100694                   COMMUNICATIONS IN MEDICINE, LLC    ATTN: GENERAL COUNSEL
           EXECUTED NOVEMBER 06, 1998                                                                                              333 PEARL STREET, SUITE 25B
                                                                                                                                   NEW YORK, NY 10038

2. 2741    AMENDMENT #1 TO MASTER                                      100698                   COMPLIANCE IMPLEMENTATION          ATTN: JAMES J. COLLINS
           CONSULTANT SERVICES AGREEMENT                                                        SERVICES, LLC                      1400 NORTH PROVIDENCE ROAD
           EFFECTIVE AS OF DECEMBER 31, 2010                                                                                       BUILDING II, SUITE 3005
                                                                                                                                   MEDIA, PA 19063

2. 2742    MASTER CONSULTANT SERVICES                                  100699                   COMPLIANCE IMPLEMENTATION          ATTN: JAMES J. COLLINS
           AGREEMENT DATED AUGUST 01, 2011                                                      SERVICES, LLC                      1400 NORTH PROVIDENCE ROAD
                                                                                                                                   BUILDING II, SUITE 3005
                                                                                                                                   MEDIA, PA 19063

2. 2743    MASTER CONSULTING SERVICES                                  100702                   COMPLIANCE IMPLEMENTATION          ATTN: GENERAL COUNSEL
           AGREEMENT AND CHARGEBACK                                                             SERVICES, LLC                      3809 WEST CHESTER PIKE
           PROCESSING DATED JUNE 30, 2015                                                                                          SUITE 100
                                                                                                                                   NEWTOWN SQUARE, PA 19073

2. 2744    MASTER CONSULTING SERVICES                                  100703                   COMPLIANCE IMPLEMENTATION          ATTN: GENERAL COUNSEL
           AGREEMENT AND CHARGEBACK                                                             SERVICES, LLC                      3809 WEST CHESTER PIKE
           PROCESSING DATED JUNE 30, 2015                                                                                          NEWTOWN SQUARE, PA 19073

2. 2745    STATEMENT OF WORK NO. 2 DATED                               100701                   COMPLIANCE IMPLEMENTATION          ATTN: GENERAL COUNSEL
           DECEMBER 12, 2011                                                                    SERVICES, LLC                      1400 N. PROVIDENCE ROAD
                                                                                                                                   BUILDING II, SUITE 3005
                                                                                                                                   MEDIA, PA 19063



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2. 2746    INDEMNIFICATION AGREEMENT                                   100705                   COMPREHENSIVE NEUROSCIENCES,    ATTN: GENERAL COUNSEL
           EXECUTED MAY 28, 2003                                                                INC.                            21 BLOOMINGDALE ROAD
                                                                                                                                WHITE PLAINS, NY 10605

2. 2747    AMENDMENT #1 TO ADMINISTRATIVE                              100712                   CONNECTICUT GENERAL LIFE        ATTN: ANDREW M. DUNN
           SERVICES ONLY AGREEMENT                                                              INSURANCE COMPANY               CIGNA HEATHCARE, ROUTING:
           EFFECTIVE AS OF JANUARY 01, 2007                                                                                     ER32
                                                                                                                                900 COTTAGE GROVE ROAD
                                                                                                                                HARTFORD, CT 06152

2. 2748    EMPLOYEE WELFARE BENEFIT PLAN                               100713                   CONNECTICUT GENERAL LIFE        ATTN: ANDREW M. DUNN
           APPOINTMENT FOR CLAIM FIDUCIARY                                                      INSURANCE COMPANY               CIGNA HEATHCARE, ROUTING:
           DATED JANUARY 01, 2008                                                                                               ER32
                                                                                                                                900 COTTAGE GROVE ROAD
                                                                                                                                HARTFORD, CT 06152

2. 2749    SEARCH FIRM AGREEMENT DATED                                 100717                   CONSELIUM PARTNERS L.P.         ATTN: GENERAL COUNSEL
           JUNE 10, 2010                                                                                                        14850 MONTFORT DRIVE, SUITE
                                                                                                                                106
                                                                                                                                DALLAS, TX 75254

2. 2750    AMENDMENT NO. 2 MASTER                                      100718                   CONSOLIDATED RESEARCH INC.      ATTN: GENERAL COUNSEL
           CONSULTANT SERVICES AGREEMENT                                                                                        10490 HOLMAN AVENUE
           DATED OCTOBER 17, 2016                                                                                               LOS ANGELES, CA 90024

2. 2751    FIRST AMENDMENT TO LETTER OF                                100721                   CONSOLIDATED RESEARCH, INC.     ATTN: GENERAL COUNSEL
           AGREEMENT DATED OCTOBER 12, 2017                                                                                     10490 HOLMAN AVENUE
                                                                                                                                LOS ANGELES, CA 90024

2. 2752    LETTER OF RETENTION DATED MAY 08,                           100722                   CONSTANTINE CANNON              ATTN: GENERAL COUNSEL
           2014                                                                                                                 1301 K STREET NW
                                                                                                                                WASHINGTON, DC 20005

2. 2753    SUBLEASE AGREEMENT EFFECTIVE AS                             100724                   CONSTANTINE CANNON LLP          ATTN: S. MICHAEL KAYAN, ESQ.
           OF JANUARY 01, 2012                                                                                                  ONE FRANKLIN SQUARE
                                                                                                                                1301 K STREET, NW, SUITE 1050
                                                                                                                                EAST TOWER
                                                                                                                                WASHINGTON, DC 20005

2. 2754    LETTER: CONSENT EXECUTED APRIL                              100727                   CONTRACT LOGIX LLC              NOT AVAILABLE
           02, 2014

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2. 2755    CONSULTANT ENGAGEMENT LETTER                                100729                   CONTROL RISKS GROUP, LLC           NOT AVAILABLE
           EFFECTIVE AS OF MAY 24, 2018

2. 2756    AMENDMENT #2: TO CONSULTANT                                 100733                   CORCORAN & ASSOCIATES, INC.        NOT AVAILABLE
           SERVICES AGREEMENT DATED
           OCTOBER 10, 2018

2. 2757    SEARCH FIRM AGREEMENT DATED                                 100736                   CORESTAFF SERVICES LP              ATTN: GENERAL COUNSEL
           OCTOBER 04, 2007                                                                                                        1775 ST. JAMES PLACE
                                                                                                                                   HOUSTON, TX 77056

2. 2758    TRAINING AND EDUCATION                                      100741                   CORNELL UNIVERSITY FOR THE JOAN    ATTN: GENERAL COUNSEL
           FELLOWSHIP AGREEMENT EFFECTIVE                                                       AND SANFORD I. WEILL MEDICAL       1300 YORK AVENUE
           AS OF APRIL 03, 2001                                                                 COLLEGE                            NEW YORK, NY 10021

2. 2759    INDEMNIFICATION AGREEMENT DATED                             100743                   CORPUS CHRISTI MEDICAL CENTER      NOT AVAILABLE
           JULY 31, 2001                                                                        INSTITUTIONAL REVIEW BOARD

2. 2760    CONSENT AND WAIVER EXECUTED                                 100747                   COVANCE CENTRAL LABS               ATTN: GENERAL COUNSEL
           OCTOBER 29, 2013                                                                                                        8211 SCICOR DRIVE
                                                                                                                                   INDIANAPOLIS, IN 46214

2. 2761    CONSULTANT SERVICES AGREEMENT                               100771                   CRAIG KUNINS, M.D.                 ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JANUARY 01, 2019                                                                                        2840 SEABREEZE DRIVE SOUTH
                                                                                                                                   ST. PETERSBURG, FL 33707

2. 2762    CONSULTANT SERVICES AGREEMENT                               100773                   CRAIG SURMAN, M.D.                 ATTN: GENERAL COUNSEL
           DATED SEPTEMBER 07, 2018                                                                                                21 ELIOT STREET
                                                                                                                                   NATICK, MA 01760

2. 2763    CRAIG SURMAN OTH CW2366512 NON-           4/30/2021         105996                   CRAIG SURMAN, M.D.                 ATTN: GENERAL COUNSEL
           COMPENSATED AUTHORSHIP (LH.RA)                                                                                          21 ELIOT STREET
           EFFECTIVE APRIL 22, 2019                                                                                                NATICK, MA 01760

2. 2764    AMENDMENT NO. 1 INFORMATION                                 100783                   CRITICAL MENTION, INC.             NOT AVAILABLE
           SERVICES AGREEMENT DATED
           OCTOBER 24, 2018




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2. 2765    LETTER AGREEMENT RE: CONSULTING                             100784                   CROWLEY ASSOCIATES LLC              ATTN: GENERAL COUNSEL
           SERVICES DATED SEPTEMBER 30, 2002                                                                                        PO BOX 985
                                                                                                                                    ELGIN, SC 29045

2. 2766    ASSIGNMENT AGREEMENT DATED                                  106219                   CRYSTAL BIOPHARMACEUTICAL LLC       NOT AVAILABLE
           NOVEMBER 21, 2012 BETWEEN
           NORTHLAKE INTERNATIONAL LLC,
           NORTHLAKE BIOSCIENCES LLC,
           CRYSTAL BIOPHARMACEUTICAL LLC
           AND THE COMPANY

2. 2767    MASTER CONSULTANT SERVICES                                  100785                   CRYSTAL HENDERSON, PHARMD, BCPP ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                                                            704 ROCKINGHAM DRIVE
           AUGUST 10, 2016                                                                                                      IRVING, TX 75063

2. 2768    CONSULTANT SERVICES AGREEMENT                               100786                   CRYSTAL RIGGS, PHARM.D., FASCP      10409 CANNON WAY
           EFFECTIVE AS OF APRIL 10, 2018                                                                                           AUSTIN, TX 78717

2. 2769    STATEMENT OF WORK EFFECTIVE AS                              100799                   CUMBERLAND CONSULTING GROUP,        ATTN: GENERAL COUNSEL
           OF JANUARY 01, 2017                                                                  LLC                                 343 THORNALL AVE
                                                                                                                                    SUITE 515
                                                                                                                                    EDISON, NJ 08837

2. 2770    PROJECT AGREEMENT DATED                                     100800                   CUNNINGHAM ASSOCIATES               ATTN: GENERAL COUNSEL
           OCTOBER 26, 2001                                                                                                         180 OLD TAPPAN ROAD
                                                                                                                                    OLD TAPPAN, NJ 07675

2. 2771    AGREEMENT JANUARY 28, 2019                                  106309                   CURL, GLASSON & PATRASCIOIU, P.L.C. ATTN: DAVID L. CURL
                                                                                                                                    485 S. MAIN AVE.
                                                                                                                                    BLDG. 1
                                                                                                                                    TUCSON, AZ 85701

2. 2772    RETURN OF GOODS LETTER                                      100804                   CVS PHARMACY INC.                   ATTN: JAMES ALLEN SYDNOR, JR.
           AGREEMENT DATED NOVEMBER 08,                                                                                             HUIE FERNAMBUCQ & STEWART
           2016                                                                                                                     THREE PROTECTIVE CENTER,
                                                                                                                                    2801 HIGHWAY 280 SOUTH, STE.
                                                                                                                                    200
                                                                                                                                    BIRMINGHAM, AL 35223

2. 2773    ARCHITECT SERVICE AGREEMENT                                 100808                   D.F. GIBSON ARCHITECTS P.C.         ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF FEBRUARY 20, 1997                                                                                        40 CLINTON STREET
                                                                                                                                    NEWARK, NJ 07102
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2. 2774    CONSULTING SERVICES AGREEMENT                               100816                   DALE CARNEGIE & ASSOCIATES, INC.    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JULY 30, 2008                                                                                            21 MAPLE STREET
                                                                                                                                    NAUGATUCK, CT 06770

2. 2775    SPONSOR AUTHORIZATION                                       100817                   DALLAS FAN FARES, INC.              ATTN: GENERAL COUNSEL
           INVESTIGATOR MEETING SERVICES
           SUBCONTRACTING INGENIX
           PHARMACEUTICAL SERVICES, INC.
           DATED MARCH 07, 2001

2. 2776    SPONSOR AUTHORIZATION                                       100819                   DALLAS FAN FARES, INC.              ATTN: GENERAL COUNSEL
           INVESTIGATOR MEETING SERVICES
           SUBCONTRACTING INGENIX-
           PHARMACEUTICAL SERVICES, INC.
           DATED JUNE 28, 2001

2. 2777    CONSULTANT SERVICES AGREEMENT                               100821                   DANIEL MORRIS DO                    ATTN: GENERAL COUNSEL
           DATED MAY 01, 2017                                                                                                       11313 SOUTH HARVARD AVENUE
                                                                                                                                    TULSA, OK 74137

2. 2778    CONSULTING SERVICES AGREEMENT                               100823                   DANNY D. SHEN, PH.D.                ATTN: GENERAL COUNSEL
           DATED JANUARY 16, 2004                                                                                                   DEPARTMENT OF PHARMACY,
                                                                                                                                    H375X
                                                                                                                                    HEALTH SCIENCES CENTER, BOX
                                                                                                                                    357630
                                                                                                                                    SEATTLE, WA 98195-7630

2. 2779    ORDER FORM UNDER MASTER                                     100825                   DATA NICHE ASSOCIATES, INC.         ATTN: GENERAL COUNSEL
           CUSTOMER AGREEMENT DATED                                                                                                 3 PARKWAY NORTH
           NOVEMBER 14, 2003                                                                                                        SUITE 110N
                                                                                                                                    DEERFIELD, IL 60015

2. 2780    ENGAGEMENT AGREEMENT DATED                                  100827                   DATA PRIVACY LEGAL (DPLEGAL)        NOT AVAILABLE
           JANUARY 04, 2016

2. 2781    SEARCH FIRM AGREEMENT DATED                                 100828                   DATA PROCESSING CONSULTANTS,        ATTN: GENERAL COUNSEL
           NOVEMBER 19, 2012                                                                    INC.                                1116 WOODBERN WAY, SUITE 101
                                                                                                                                    TALLAHASSEE, FL 32304




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2. 2782    CONSULTING SERVICES AGREEMENT                               100835                   DATAPOSITIVE, LLC DBA REVOLUTION    ATTN: GENERAL COUNSEL
           DATED JANUARY 02, 2018                                                               DIGITAL                             20 HEADQUARTERS PLAZA
                                                                                                                                    7TH FLOOR
                                                                                                                                    MORRISTOWN, NJ 07960

2. 2783    CONSULTANT SERVICES AGREEMENT                               100840                   DAVID DOWNING, MD                   ATTN: GENERAL COUNSEL
           DATED JULY 31, 2000                                                                                                      106 IRVING STREET, N.W.
                                                                                                                                    SUITE 309
                                                                                                                                    WASHINGTON, DC 20010

2. 2784    CONSULTANT SERVICES AGREEMENT                               100841                   DAVID J. COX                        ATTN: GENERAL COUNSEL
           DATED APRIL 19, 2019                                                                                                     593 PIPING PLOVER LANE
                                                                                                                                    JOHNS ISLAND, SC 29455

2. 2785    MASTER CONSULTING SERVICES                                  100843                   DAVID NEUBAUER, MD                  ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JUNE                                                                                           11 ENGLISH SADDLE COURT
           01, 2016                                                                                                                 PARKTON, MD 21120

2. 2786    MASTER CONSULTANT SERVICES                                  100844                   DAVID R. GASTFRIEND, MD             ATTN: GENERAL COUNSEL
           AGREEMENT DATED SEPTEMBER 01,                                                                                            30 ORIENT AVENUE
           2016                                                                                                                     NEWTON, MA 02459

2. 2787    AGREEMENT DATED JANUARY 11, 2019                            106302                   DAVIS & GILBERT LLP                 ATTN: DAVIS S. GREENBERG
                                                                                                                                    1740 BROADWAY
                                                                                                                                    NEW YORK, NY 10019

2. 2788    AGREEMENT DATED MAY 16, 2019                                106301                   DAVIS & GILBERT LLP                 ATTN: DAVIS S. GREENBERG
                                                                                                                                    1740 BROADWAY
                                                                                                                                    NEW YORK, NY 10019

2. 2789    CONSULTING SERVICES AGREEMENT                               100846                   DCH ADVISORS, LLC.                  ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF OCTOBER 23, 2017                                                                                         11 KNOCKERBOCKER DRIVE
                                                                                                                                    BELLE MEAD, NJ 08502

2. 2790    CONSULTANT SERVICES AGREEMENT                               100847                   DEAN J MARIANO MD                   17 HICKORY LANE
           DATED APRIL 03, 2017                                                                                                     WEST HARTFORD, CT 06107

2. 2791    MASTER CONSULTING AGREEMENT                                 100848                   DEB KILEY DNP, FNP, FAANP           ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JULY 01, 2016                                                                                            3001 MADISON WAY
                                                                                                                                    ANCHORAGE, AK 99508


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2. 2792    MASTER CONSULTING AGREEMENT                                 100849                   DEBBIE GUNTER, RN, CMSN,MN,FNP-    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JULY 01, 2016                                                        BC,ACPN                            9110 PRESWICK CLUB DRIVE
                                                                                                                                   DULUTH, GA 30097

2. 2793    CONSULTANT SERVICES AGREEMENT                               100850                   DEBORAH HASIN, PHD                 ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF SEPTEMBER 23, 2016                                                                                      360 EAST 88TH STREET, APT. 19C
                                                                                                                                   NEW YORK, NY 10128

2. 2794    SERVICES AGREEMENT DATED                                    100851                   DECHERT LLP                        ATTN: GENERAL COUNSEL
           JANUARY 01, 2019                                                                                                        3 BRYANT PARK
                                                                                                                                   1095 AVENUE OF THE AMERICAS
                                                                                                                                   NEW YORK, NY 10036-6797

2. 2795    AGREEMENT FOR SUBSCRIPTION                                  100852                   DECISION RESOURCES, INC.           ATTN: GENERAL COUNSEL
           SERVICES EXECUTED AUGUST 21, 2006                                                                                       260 CHARLES STREET
                                                                                                                                   WALTHAM, MA 02453

2. 2796    ENGAGEMENT AGREEMENT EFFECTIVE                              100853                   DECISION STRATEGIES                ATTN: GENERAL COUNSEL
           AS OF MARCH 20, 2002                                                                                                    505 PARK AVENUE
                                                                                                                                   NEW YORK, NY 10022

2. 2797    CONSULTING SERVICES AGREEMENT                               100854                   DEERFIELD AGENCY, INC.             ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF FEBRUARY 19, 2018                                                                                       950 WEST VALLEY ROAD
                                                                                                                                   SUITE 3000
                                                                                                                                   WAYNE, PA 19087

2. 2798    CHRISTOPHER DELAFOREST                     6/2/2020         106008                   DELAFOREST CONSULTING LLC          NOT AVAILABLE
           CONSULTING OTH AMEND 2 EXTEND
           CSA CW2367143 (LH.RA) EFFECTIVE
           JUNE 01, 2019

2. 2799    AMENDMENT TO WARRANTY PARTS                                 100855                   DELL MARKETING L.P.                NOT AVAILABLE
           DIRECT PROGRAM AGREEMENT
           EXECUTED MAY 09, 2007

2. 2800    STATEMENT OF WORK EFFECTIVE AS                              100859                   DELOITTE CONSULTING LLP            ONE WORLD FINANCIAL CENTER
           OF OCTOBER 22, 2018                                                                                                     NEW YORK, NY 10281

2. 2801    SERVICES AGREEMENT DATED                                    100862                   DELOITTE CONSULTING, LLP           ATTN: CAMERON C. MCCLEARN
           NOVEMBER 11, 2014                                                                                                       140 BROADWAY
                                                                                                                                   NEW YORK, NY 10005

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2. 2802    PROJECT AGREEMENT DATED JUNE 14,                            100863                   DELTA MARKETING DYNAMICS          ATTN: GENERAL COUNSEL
           2002                                                                                                                   5760 COMMONS PARK DRIVE
                                                                                                                                  EAST SYRACUSE, NY 13057

2. 2803    DENVER HEALTH AND HOSPITAL               12/31/2020         105972                   DENVER HEALTH AND HOSPITAL        ATTN: GENERAL COUNSEL
           AUTHORITY OTH CW2367901 AMD 1 TO                                                     AUTHORITY                         660 BANNOCK STREET
           SOW 2019-1 DART-OXYCONTIN                                                                                              MC 1919
           ADVISORY COMMITTEE CONSULTING                                                                                          DENVER, CO 80204
           (LH.RA) EFFECTIVE AUGUST 06, 2019

2. 2804    LETTER OF AGREEMENT (AUTHORSHIP)                            100881                   DENVER HEALTH AND HOSPITAL        ATTN: RICHARD C. DART, M.D.,
           DATED JULY 02, 2018                                                                  AUTHORITY                         PH.D.
                                                                                                                                  777 BANNOCK STREET
                                                                                                                                  MAIL CODE 0180
                                                                                                                                  DENVER, CO 80204-4508

2. 2805    DRUG ABUSE PREVENTION                                       100885                   DENVER HEALTH AND HOSPITAL        ATTN: RICHARD DART, M.D., PH.D.
           AGREEMENT EFFECTIVE AS OF MAY 12,                                                    AUTHORITY C/O RMPDC               777 BANNOCK STREET, MC 0180
           2009                                                                                                                   DENVER, CO 80204

2. 2806    LETTER AGREEMENT EFFECTIVE AS OF                            100887                   DENVER HEALTH AND HOSPITALITY     ATTN: RICHARD C. DART, M.D.,
           DECEMBER 03, 2018                                                                    AUTHORITY                         PH.D
                                                                                                                                  ATTN: GENERAL COUNSEL
                                                                                                                                  777 BANNOCK STREET, MAIL
                                                                                                                                  CODE 0180
                                                                                                                                  DENVER, CO 80204-4508

2. 2807    PHARMACEUTICAL PRICING                                      100889                   DEPARTMENT OF HEALTH AND HUMAN    ATTN: THE SECRETARY OF
           AGREEMENT ADDENDUM DATED                                                             SERVICES                          HEALTH AND HUMAN SERVICES
           JANUARY 18, 2017                                                                                                       56000 FISHERS LANE
                                                                                                                                  ROCKVILLE, MA 20857

2. 2808    PHARMACEUTICAL PRICING                                      100890                   DEPARTMENT OF HEALTH AND HUMAN    ATTN: THE SECRETARY OF
           AGREEMENT ADDENDUM DATED                                                             SERVICES                          HEALTH AND HUMAN SERVICES
           JANUARY 18, 2017                                                                                                       56000 FISHERS LANE
                                                                                                                                  ROCKVILLE, MA 20857

2. 2809    PHARMACEUTICAL PRICING                                      100892                   DEPARTMENT OF HEALTH AND HUMAN    ATTN: THE SECRETARY OF
           AGREEMENT ADDENDUM EXECUTED                                                          SERVICES                          HEALTH AND HUMAN SERVICES
           JANUARY 18, 2017                                                                                                       5600 FISHERS LANE
                                                                                                                                  ROOM 10C-031
                                                                                                                                  ROCKVILLE, MD 20857

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2. 2810    AMENDMENT OF                                                100896                   DEPARTMENT OF VETERAN AFFAIRS    ATTN: GENERAL COUNSEL
           SOLICITATION/MODIFICATION OF                                                                                          OPAL NATIONAL ACQUISITION
           CONTRACT EFFECTIVE AS OF JANUARY                                                                                      CENTER
           01, 2019                                                                                                              1ST AVENUE, ONE BLOCK NORTH
                                                                                                                                 OF CERMAK, BUILDING 37
                                                                                                                                 HINES, IL 60141

2. 2811    BILATERAL MODIFICATION OF                                   100895                   DEPARTMENT OF VETERAN AFFAIRS    ATTN: GENERAL COUNSEL
           CONTRACT PRICING DATED MAY 01,                                                                                        OPAL NATIONAL ACQUISITION
           2012                                                                                                                  CENTER
                                                                                                                                 1ST AVENUE, ONE BLOCK NORTH
                                                                                                                                 OF CERMAK, BUILDING 37
                                                                                                                                 HINES, IL 60141

2. 2812    INTERIM CONTRACT AGREEMENT                                  100894                   DEPARTMENT OF VETERAN AFFAIRS    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JANUARY 01, 1996                                                                                      OPAL NATIONAL ACQUISITION
                                                                                                                                 CENTER
                                                                                                                                 1ST AVENUE, ONE BLOCK NORTH
                                                                                                                                 OF CERMAK, BUILDING 37
                                                                                                                                 HINES, IL 60141

2. 2813    TRANSFER OF REGULATORY                                      100898                   DEPOMED INC                      ATTN: GENERAL COUNSEL
           OBLIGATIONS EXECUTED SEPTEMBER                                                                                        7999 GATEWAY BLVD, SUITE 300,
           28, 2015                                                                                                              NEWARK, CA 94560

2. 2814    CENTRAL LABORATORY                                          102295                   DEPOMED, INC                     ATTN: GENERAL COUNSEL
           INDEMNIFICATION AGREEMENT                                                                                             7999 GATEWAY BLVD, SUITE 300,
           EFFECTIVE AS OF JULY 28, 2015                                                                                         NEWARK, CA 94560

2. 2815    TRANSFER OF REGULATORY                                      102296                   DEPOMED, INC                     ATTN: GENERAL COUNSEL
           OBLIGATIONS EFFECTIVE AS OF                                                                                           7999 GATEWAY BLVD, SUITE 300,
           SEPTEMBER 28, 2015                                                                                                    NEWARK, CA 94560

2. 2816    EDUCATIONAL SERVICES AGREEMENT                              100899                   DESTINY CORPORATION              ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JUNE 08, 2000                                                                                         100 GREAT MEADOW ROAD SUITE
                                                                                                                                 601
                                                                                                                                 WETHERFIELD, CT 06109-2379




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2. 2817    LETTER AGREEMENT RE:                                        100900                   DEVRY UNIVERSITY INC              ATTN: NICK MOTTLOW, SR
           EDUCATIONAL BENEFITS EFFECTIVE AS                                                                                      MANAGER, FIELD OPERATIONS
           OF APRIL 26, 2012                                                                                                      HIGHLAND LANDMARK V
                                                                                                                                  3005 HIGHLAND PARKWAY - SUITE
                                                                                                                                  100
                                                                                                                                  DOWNERS GROVE, IL 60515-5799

2. 2818    CONSULTANT SERVICES AGREEMENT                               100902                   DEZENHALL RESOURCES, LTD          ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF AUGUST 28, 2018                                                                                        2121 K STREET, N.W.
                                                                                                                                  SUITE 920
                                                                                                                                  WASHINGTON, DC 20037

2. 2819    CONSULTING SERVICES AGREEMENT                               100905                   DICKINSON & AVELLA PLLC           ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MARCH 01, 2018                                                                                         111 WASHINTON AVENUE
                                                                                                                                  SUITE 606
                                                                                                                                  ALBANY, NY 12210

2. 2820    LEGAL RETAINER AGREEMENT DATED                              100906                   DICKSTEIN SHAPIRO LLP             1633 BROADWAY
           NOVEMBER 17, 2010                                                                                                      1633 BROADWAY
                                                                                                                                  NEW YORK, NY 10019-6708

2. 2821    STATEMENT OF WORK EFFECTIVE AS                              100908                   DIMENSION DATA                    ATTN: GENERAL COUNSEL
           OF MARCH 24, 2009                                                                                                      550 COCHITUATE ROAD
                                                                                                                                  FRAMINGHAM, MA 01701

2. 2822    CONSULTING SERVICES AGREEMENT                               100914                   DINSE, KNAPP & MCANDREW, P.C.     ATTN: SPENCER R. KNAPP
           DATED SEPTEMBER 05, 2001                                                                                               209 BATTERY STREET
                                                                                                                                  BURLINGTON, VT 05401-0988

2. 2823    AMENDMENT NO. 2 TO STATEMENT OF                             100915                   DIRAY MEDIA, INC.                 NOT AVAILABLE
           WORK EFFECTIVE AS OF JUNE 25, 2018

2. 2824    QUOTE WITH GENERAL TERMS AND                                100919                   DISTEK, INC.                      ATTN: GENERAL COUNSEL
           CONDITIONS OF SALE DATED JANUARY                                                                                       121 NORTH CENTER DRIVE
           15, 2019                                                                                                               NORTH BRUNSWICK, NJ 08902

2. 2825    PURDUE PHARMA L.P. AGREEMENT                                106303                   DLA PIPER LLP                     ATTN: EDWARD SCHEIDEMAN
           EXECUTED OCTOBER 8, 2018




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2. 2826    STATEMENT OF WORK NO. 2 DATED                               100934                   DOTTIKON EXCLUSIVE SYNTHESIS AG    ATTN: GENERAL COUNSEL
           NOVEMBER 09, 2016                                                                                                       HEMBRUNNSTRASSE 17
                                                                                                                                   5605 DOTTIKON

2. 2827    STATEMENT OF WORK NO. 3 DATED                               100935                   DOTTIKON EXCLUSIVE SYNTHESIS AG    ATTN: GENERAL COUNSEL
           MARCH 23, 2018                                                                       (DOTTIKON)                         HEMBRUNNSTRASSE 17
                                                                                                                                   5605 DOTTIKON

2. 2828    STATEMENT OF WORK NO. 4 DATED                               100936                   DOTTIKON EXCLUSIVE SYNTHESIS AG    ATTN: GENERAL COUNSEL
           MAY 09, 2018                                                                         (DOTTIKON)                         HEMBRUNNSTRASSE 17
                                                                                                                                   5605 DOTTIKON

2. 2829    CONSULTANT SERVICES AGREEMENT                               100937                   DOUGLAS A. DROSSMAN, M.D.          ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF DECEMBER 15, 2016                                                                                       901 KINGS MILL ROAD
                                                                                                                                   CHAPEL HILL, NC 27517

2. 2830    CONTRACT SERVICES AGREEMENT                                 100938                   DOUGLAS KORNBRUST PHD              ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF FEBRUARY 14, 2017                                                                                       7245 LINGFIELD DRIVE
                                                                                                                                   RENO, NV 89502

2. 2831    INDEMNIFICATION AGREEMENT                                   100939                   DOUGLAS OWENS MD                   NOT AVAILABLE
           EXECUTED NOVEMBER 07, 2000

2. 2832    MASTER CONSULTANT SERVICES                                  100940                   DOUGLAS W. WISOR, MD               ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JULY                                                                                          11905 LERADE COURT
           01, 2016                                                                                                                GLEN ALLEN, VA 23059

2. 2833    CONSULTANT SERVICES AGREEMENT                               100944                   DR. CARL L. NELSON                 ATTN: GENERAL COUNSEL
           DATED JUNE 01, 2000                                                                                                     14 RIVER OAKS CIRCLE
                                                                                                                                   LITTLE ROCK, AR 72207

2. 2834    AMENDMENT #4 TO MASTER                                      100949                   DR/DECISION RESOURCES, LLC         PO BOX 83122
           CONSULTANT SERVICES AGREEMENT                                                                                           WOBURN, MA 01813-3122
           DATED MARCH 31, 2017

2. 2835    CONVERSION AGREEMENT AND                                     9005                    DUANE MORRIS LLP                   ATTN: KATHLEEN M. SHAY
           AMENDMENT DATED NOVEMBER 18,                                                                                            30 SOUTH 17TH STREET
           2016                                                                                                                    PHILADELPHIA, PA 19103-4196




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2. 2836    CLINICAL STUDY AND RESEARCH                                 100960                   DUKE UNIVERSITY                  ATTN: GENERAL COUNSEL
           AGREEMENT EXECUTED JULY 11, 2000                                                                                      DUKE UNIVERSITY MEDICAL
                                                                                                                                 CENTER
                                                                                                                                 107 SEELEY G MUDD BUILDING-
                                                                                                                                 BOX 3001
                                                                                                                                 DURHAM, NC 27710

2. 2837    DUKE CLINICAL RESEARCH OTH                2/28/2021         105930                   DUKE UNIVERSITY                  ATTN: GENERAL COUNSEL
           CW2365640 PMR AMD1 2923-2- A                                                                                          DUKE UNIVERSITY MEDICAL
           NATIONALLY REPRESENTATIVE DRUG                                                                                        CENTER
           UTILIZATION STUDY OF OXYCONTIN IN                                                                                     107 SEELEY G MUDD BUILDING-
           CHILDREN AGED 17 YEARS AND                                                                                            BOX 3001
           YOUNGER (LH.RA) EFFECTIVE                                                                                             DURHAM, NC 27710
           FEBRUARY 22, 2019

2. 2838    DUKE OTH CW2366631 PMR 2923-2 AMD         2/28/2021         105982                   DUKE UNIVERSITY                  ATTN: GENERAL COUNSEL
           2 A NATIONALLY REPRESENTATIVE                                                                                         DUKE UNIVERSITY MEDICAL
           DRUG UTILIZATION STUDY OF                                                                                             CENTER
           OXYCONTIN IN CHILDREN AGED 17                                                                                         107 SEELEY G MUDD BUILDING-
           YEARS AND YOUNGER (LH.SD)                                                                                             BOX 3001
           EFFECTIVE MAY 31, 2019                                                                                                DURHAM, NC 27710

2. 2839    AMENDMENT TO THE                                            100965                   DUKE UNIVERSITY HEALTH SYSTEM    ATTN: GENERAL COUNSEL
           PHARMACEUTICAL PURCHASE                                                                                               310 TRENT DRIVE, SUITE 154
           AGREEMENT EFFECTIVE AS OF                                                                                             DURHAM, NC 27710
           OCTOBER 09, 2017

2. 2840    AMENDMENT TO THE PURCHASING                                 100964                   DUKE UNIVERSITY HEALTH SYSTEM    ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF MAY                                                                                         310 TRENT DRIVE, SUITE 154
           15, 2017                                                                                                              DURHAM, NC 27710

2. 2841    AMENDMENT TO THE PURCHASING                                 100966                   DUKE UNIVERSITY HEALTH SYSTEM    ATTN: GENERAL COUNSEL
           AGREEMENT EXECUTED JANUARY 26,                                                                                        310 TRENT DRIVE, SUITE 154
           2017                                                                                                                  DURHAM, NC 27710

2. 2842    AMENDMENT TO THE PURCHASING                                 100967                   DUKE UNIVERSITY HEALTH SYSTEM    ATTN: GENERAL COUNSEL
           AGREEMENT EXECUTED OCTOBER 30,                                                                                        310 TRENT DRIVE, SUITE 154
           2018                                                                                                                  DURHAM, NC 27710

2. 2843    GENERAL TERMS AND CONDITIONS OF                             100961                   DUKE UNIVERSITY HEALTH SYSTEM    ATTN: GENERAL COUNSEL
           SALE EFFECTIVE AS OF MARCH 03, 2015                                                                                   310 TRENT DRIVE, SUITE 154
                                                                                                                                 DURHAM, NC 27710

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2. 2844    LETTER AMENDMENT RE: PRICE                                  100963                   DUKE UNIVERSITY HEALTH SYSTEM    ATTN: GENERAL COUNSEL
           INCREASE DATED JANUARY 29, 2016                                                                                       310 TRENT DRIVE, SUITE 154
                                                                                                                                 DURHAM, NC 27710

2. 2845    LETTER PURCHASING AGREEMENT                                 100962                   DUKE UNIVERSITY HEALTH SYSTEM    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MAY 01, 2015                                                                                          310 TRENT DRIVE, SUITE 154
                                                                                                                                 DURHAM, NC 27710

2. 2846    MATERIALS AND TECHNOLOGY                                    100968                   DURECT CORPORATION               NOT AVAILABLE
           AGREEMENT EFFECTIVE AS OF APRIL
           18, 2008

2. 2847    SEARCH FIRM AGREEMENT DATED                                 100970                   EAGLE RESEARCH, INC.             ATTN: GENERAL COUNSEL
           OCTOBER 04, 2007                                                                                                      373D ROUTE 46 WEST, 2ND FLOOR
                                                                                                                                 FAIRFIELD, NJ 07004

2. 2848    SEARCH FIRM AGREEMENT DATED                                 100974                   EDGE CONSULTING CONNECT INC.     ATTN: GENERAL COUNSEL
           MARCH 08, 2012                                                                                                        1520 ALTON ROAD, SUITE348
                                                                                                                                 MIAMI BEACH, FL 33139

2. 2849    MASTER CONSULTANT SERVICES                                  100977                   EDMUND PEZALLA, MD               ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                                                             580 WOLCOTT HILL ROAD
           AUGUST 10, 2016                                                                                                       WHETHERSFIELD, CT 06109

2. 2850    CONSULTANT SERVICES AGREEMENT                               100979                   EDP CONTRACT SERVICES            ATTN: GENERAL COUNSEL
           DATED AUGUST 17, 1999                                                                                                 727 POST ROAD EAST
                                                                                                                                 WESTPORT, CT 06880

2. 2851    STATEMENT OF WORK DATED AUGUST                              100978                   EDP CONTRACT SERVICES            ATTN: GENERAL COUNSEL
           17, 1999                                                                                                              727 POST ROAD EAST
                                                                                                                                 WESTPORT, CT 06880

2. 2852    STATEMENT OF WORK DATED MAY 03,                             100980                   EDP CONTRACT SERVICES            ATTN: GENERAL COUNSEL
           2000                                                                                                                  727 POST ROAD EAST
                                                                                                                                 WESTPORT, CT 06880

2. 2853    STATEMENT OF WORK UNDER MASTER                              100981                   EDWARD MICHNA, MD                NOT AVAILABLE
           CONSULTANT SERVICES AGREEMENT
           EFFECTIVE AS OF JANUARY 12, 2017



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2. 2854    STATEMENT OF WORK UNDER MASTER                              100982                   EDWARD V. NUNES, JR, MD           ATTN: GENERAL COUNSEL
           CONSULTANT SERVICES AGREEMENT                                                                                          411 WEST END AVENUE
           EFFECTIVE AS OF JANUARY 30, 2017                                                                                       APT 15B
                                                                                                                                  NEW YORK, NY 10024

2. 2855    MASTER CONSULTANT SERVICES                                  100983                   EDWARD V. NUNES, JR. MD           ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                                                              411 WEST END AVENUE
           SEPTEMBER 01, 2016                                                                                                     APT 15B
                                                                                                                                  NEW YORK, NY 10024

2. 2856    AMENDED AND RESTATED NOTE                                   100984                   EDWARD, MICHNA, MD                ATTN: GENERAL COUNSEL
           MASTER CONSULTANT SERVICES                                                                                             62 ALBA ROAD
           AGREEMENT EFFECTIVE AS OF                                                                                              WELLESLEY, MA 02481
           JANUARY 12, 2017

2. 2857    LEGAL ENGAGEMENT LETTER DATED                               100985                   EDWARDS WILDMAN PALMER, LLP       ATTN: GENERAL COUNSEL
           FEBRUARY 07, 2014                                                                                                      111 HUNTINGTON AVENUE
                                                                                                                                  BOSTON, MA 02199

2. 2858    CONSULTANT SERVICES AGREEMENT                               100987                   EFRAT AHARONOVICH, PHD            ATTN: GENERAL COUNSEL
           DATED NOVEMBER 28, 2016                                                                                                360 EAST 88TH STREET
                                                                                                                                  APARTMENT 19C
                                                                                                                                  NEW YORK, NY 10128

2. 2859    STATEMENT OF WORK UNDER                                     100986                   EFRAT AHARONOVICH, PHD            ATTN: GENERAL COUNSEL
           CONSULTANT SERVICES AGREEMENT                                                                                          360 EAST 88TH STREET
           EFFECTIVE AS OF NOVEMBER 29, 2016                                                                                      APARTMENT 19C
                                                                                                                                  NEW YORK, NY 10128

2. 2860    MASTER PURCHASE AGREEMENT                                   100988                   EGENERA, INC.                     ATTN: GENERAL COUNSEL
           EXECUTED MARCH 13, 2007                                                                                                165 FOREST STREET
                                                                                                                                  MARLBORO, MA 01752

2. 2861    AMENDMENT NO. 1 TO COLLABORATION                            100994                   EISAI INC.                        ATTN: PRESIDENT; GENERAL
           AGREEMENT ENTERED INTO AUGUST                                                                                          COUNSEL
           18, 2016                                                                                                               100 TICE BOULEVARD
                                                                                                                                  WOODCLIFF LAKE, NJ 07677

2. 2862    AMENDMENT NO. 2 TO COLLABORATION                            100995                   EISAI INC.                        ATTN: PRESIDENT; GENERAL
           AGREEMENT ENTERED INTO AUGUST                                                                                          COUNSEL
           19, 2016                                                                                                               100 TICE BOULEVARD
                                                                                                                                  WOODCLIFF LAKE, NJ 07677
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2. 2863    AMENDMENT NO. 3 TO COLLABORATION                            100996                   EISAI INC.                      ATTN: PRESIDENT; GENERAL
           AGREEMENT ENTERED INTO MAY 24,                                                                                       COUNSEL
           2018                                                                                                                 100 TICE BOULEVARD
                                                                                                                                WOODCLIFF LAKE, NJ 07677

2. 2864    COLLABORATION AGREEMENT DATED                               100989                   EISAI INC.                      ATTN: PRESIDENT; GENERAL
           AUGUST 28, 2015                                                                                                      COUNSEL
                                                                                                                                100 TICE BOULEVARD
                                                                                                                                WOODCLIFF LAKE, NJ 07677

2. 2865    COLLABORATION AGREEMENT DATED                               100991                   EISAI INC.                      ATTN: PRESIDENT; GENERAL
           AUGUST 28, 2015                                                                                                      COUNSEL
                                                                                                                                100 TICE BOULEVARD
                                                                                                                                WOODCLIFF LAKE, NJ 07677

2. 2866    COLLABORATION AGREEMENT DATED                               100992                   EISAI INC.                      ATTN: PRESIDENT; GENERAL
           AUGUST 28, 2015                                                                                                      COUNSEL
                                                                                                                                100 TICE BOULEVARD
                                                                                                                                WOODCLIFF LAKE, NJ 07677

2. 2867    EISAI INC. - CONFIDENTIAL BUYOUT         12/31/2049         106107                   EISAI INC.                      ATTN: PRESIDENT; GENERAL
           AGREEMENT 30APR19 (PS.RA)                                                                                            COUNSEL
           EFFECTIVE APRIL 30, 2019                                                                                             100 TICE BOULEVARD
                                                                                                                                WOODCLIFF LAKE, NJ 07677

2. 2868    TIMELINE OF TERMS AND OBLIGATIONS                           100993                   EISAI INC.                      ATTN: PRESIDENT; GENERAL
           UNDER COLLABORATION AGREEMENT                                                                                        COUNSEL
           DATED AUGUST 28, 2015                                                                                                100 TICE BOULEVARD
                                                                                                                                WOODCLIFF LAKE, NJ 07677

2. 2869    COLLABORATION AGREEMENT                                     106234                   EISAI, INC.                     ATTN: PRESIDENT; GENERAL
           BETWEEN EISAI, INC. AND PURDUE                                                                                       COUNSEL
           PHARMA L.P., DATED AUGUST 28, 2015,
           AS AMENDED BY AMENDMENTS NOS. 1
           –3

2. 2870    CONSULTANT SERVICES AGREEMENT                               100999                   ELIAS H. SARKIS, M.D.           611-C NW 60TH STREET
           EFFECTIVE AS OF JANUARY 01, 2019                                                                                     GAINESVILLE, FL 32607




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2. 2871    OPTION AGREEMENT DATED MAY 07,                              101000                   ELITE LABORATORIES, INC.           ATTN: BERNARDBER, CEO
           2004                                                                                                                    ATTN: GENERAL COUNSEL
                                                                                                                                   165 LUDLOW AVENUE
                                                                                                                                   NORTHVALE, NJ 07647

2. 2872    AMENDMENT #2 TO CONSULTANT                                  101002                   ELLEN BATTISTA, DNS, ANP, PNP      NOT AVAILABLE
           SERVICES AGREEMENT DATED
           AUGUST 01, 2017

2. 2873    CUSTOMER TESTING PROGRAM                                    101016                   EMC CORPORATION                    ATTN: GENERAL COUNSEL
           MASTER PRODUCT TEST AGREEMENT                                                                                           176 SOUTH STREET
           EXECUTED JUNE 04, 2015                                                                                                  HOPKINTON, MA 01748

2. 2874    LETTER AGREEMENT RE: HARDWARE                               101010                   EMC CORPORATION                    ATTN: GENERAL COUNSEL
           SALE EFFECTIVE AS OF OCTOBER 01,                                                                                        383 MAIN AVE, 7TH FLOOR
           2003                                                                                                                    NORWALK, CT 06851

2. 2875    TERMS & CONDITIONS FOR                                      101011                   EMC CORPORATION                    5 TECHNOLOGY DRIVE
           CONTINUOUS COVERAGE PRODUCT                                                                                             MILFORD, MA 01757
           MAINTENANCE DATED DECEMBER 15,
           2008

2. 2876    RETENTION LETTER AGREEMENT                                   9012                    EMILY MEYERING                     NOT AVAILABLE
           DATED OCTOBER 19, 2018

2. 2877    CONSULTING SERVICES AGREEMENT                               101022                   EMMA GUTTMAN, M.D. PH.D.           ATTN: GENERAL COUNSEL
           DATED APRIL 04, 2017                                                                                                    430 EAST 63 STREET
                                                                                                                                   NEW YORK, NY 10065

2. 2878    TRANSFER OF REGULATORY                                      101027                   ENDO PHARMACEUTICALS INC           ATTN: CHIEF LEGAL OFFICER
           OBLIGATIONS EXECUTED SEPTEMBER                                                                                          100 ENDO BOULEVARD
           28, 2015                                                                                                                CHADDS FORD, PA 19317

2. 2879    AGREEMENT RE: KAO PATENTS                                   101031                   ENDO PHARMACEUTICALS INC.          ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF OCTOBER 25, 2013                                                                                        1400 ATWATER DRIVE
                                                                                                                                   MALVERN, PA 09355

2. 2880    CENTRAL LABORATORY                                          102295                   ENDO PHARMACEUTICALS INC.          ATTN: GENERAL COUNSEL
           INDEMNIFICATION AGREEMENT                                                                                               1400 ATWATER DRIVE
           EFFECTIVE AS OF JULY 28, 2015                                                                                           MALVERN, PA 19355


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2. 2881    PROTOCOL AGREEMENT EFFECTIVE AS                             101032                   ENDO PHARMACEUTICALS INC.          ATTN: CHIEF LEGAL OFFICER
           OF OCTOBER 25, 2013                                                                                                     1400 ATWATER DRIVE
                                                                                                                                   MALVERN, PA 19355

2. 2882    TRANSFER OF REGULATORY                                      102296                   ENDO PHARMACEUTICALS INC.          ATTN: GENERAL COUNSEL
           OBLIGATIONS EFFECTIVE AS OF                                                                                             1400 ATWATER DRIVE
           SEPTEMBER 28, 2015                                                                                                      MALVERN, PA 19355

2. 2883    MASTER CONSULTANT SERVICES                                  101033                   ENGINOLOGI, INC.                   ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JUNE                                                                                          136 RIDGE AVENUE
           30, 2016                                                                                                                NEWTOWN, MA 02459

2. 2884    MASTER CONSULTANT SERVICES                                  101034                   ENLIGHTMENT BIOCONSULT             ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                                                               580 WOLCOTT HILL ROAD
           OCTOBER 13, 2016                                                                                                        WETHERSFIELD, CT 06109

2. 2885    PRODUCT EVALUATION AGREEMENT                                101035                   ENTERASYS NETWORKS SALES &         ATTN: GENERAL COUNSEL
           DATED OCTOBER 21, 2002                                                               SERVICE, INC.                      35 INDUSTRIAL WAY
                                                                                                                                   ROCHESTER, NH 03867

2. 2886    MASTER RENTAL AGREEMENT                                     101036                   ENTERPRISE RENT-A-CAR              NOT AVAILABLE
           EFFECTIVE AS OF SEPTEMBER 08, 2004

2. 2887    CONSULTANT SERVICES AGREEMENT                               101039                   ENVIRONMENTAL RESOURCE CENTER      ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MARCH 06, 2018                                                                                          101 CENTER POINTE DRIVE
                                                                                                                                   CARY, NC 27513-5702

2. 2888    RETAINER AGREEMENT DATED JUNE                               101043                   EPSTEIN BECKER & GREEN, P.C.       ATTN: GENERAL COUNSEL
           03, 2004                                                                                                                250 PARK AVENUE
                                                                                                                                   NEW YORK, NY 10177-1211

2. 2889    INDEMNIFICATION AGREEMENT DATED                             101066                   ERESEARCHTECHONLOGY INC.           ATTN: GENERAL COUNSEL
           JUNE 06, 2006                                                                                                           30 SOUTH 17TH STREET
                                                                                                                                   PHILADELPHIA, PA 19103

2. 2890    CONSULTANT SERVICES AGREEMENT                               101067                   ERICA R, CLARK, PHARM.D.           ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF APRIL 13, 2018                                                                                          3872 WOODSTREAM DRIVE, SW
                                                                                                                                   GRAND RAPIDS, MI 49534




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2. 2891    AUDIT SERVICES AGREEMENT DATED                              101068                   ERNST & YOUNG LLP                ATTN: GENERAL COUNSEL
           NOVEMBER 22, 2016                                                                                                     300 FIRST STAMFORD PLACE
                                                                                                                                 STAMFORD, CT 06902

2. 2892    LETTER: AUDIT AGREEMENT DATED                               101069                   ERNST & YOUNG LLP                ATTN: GENERAL COUNSEL
           NOVEMBER 07, 2018                                                                                                     300 FIRST STAMFORD PLACE
                                                                                                                                 STAMFORD, CT 06902-6765

2. 2893    SEARCH FIRM AGREEMENT DATED                                 101072                   ESP INCORPORATED D/B/A           ATTN: GENERAL COUNSEL
           DECEMBER 19, 2008                                                                    CHRISTOPHER & LONG               600 BROADWAY, SUITE 690
                                                                                                                                 KANSAS CITY, MO 64105

2. 2894    AGREEMENT RE: PROVIDING CELL                                101084                   EUROSCREEN S.A. CAMPUS ERASME    ATTN: GENERAL COUNSEL
           RECEPTOR EFFECTIVE AS OF AUGUST                                                                                       802 ROUTE DE LENNIK
           23, 2002                                                                                                              BRUSSELS B-1070
                                                                                                                                 BELGIUM

2. 2895    AGREEMENT RE: PROVIDING CELL                                101085                   EUROSCREEN S.A. CAMPUS ERASME    ATTN: GENERAL COUNSEL
           RECEPTOR EFFECTIVE AS OF AUGUST                                                                                       802 ROUTE DE LENNIK
           23, 2002                                                                                                              BRUSSELS B-1070
                                                                                                                                 BELGIUM

2. 2896    ADDENDUM TO CO-SPONSOR                                      101087                   EVERFI INC                       ATTN: SHIRLEY BORROMEO
           AGREEMENT DATED MAY 29, 2018                                                                                          3299 K STREET NW, 4TH FLOOR
                                                                                                                                 WASHINGTON, DC 20007

2. 2897    CO-SPONSOR AGREEMENT DATED                                  101086                   EVERFI INC                       ATTN: SHIRLEY BORROMEO
           OCTOBER 12, 2017                                                                                                      3299 K STREET NW, 4TH FLOOR
                                                                                                                                 WASHINGTON, DC 20007

2. 2898    EVERFI OTH CW2367019 ADDENDUM 2           5/31/2022         105971                   EVERFI INC                       ATTN: SHIRLEY BORROMEO
           TO CO-SPONSOR AGMT FOR ADLON                                                                                          3299 K STREET NW, 4TH FLOOR
           (LH.RA) EFFECTIVE MAY 31, 2019                                                                                        WASHINGTON, DC 20007

2. 2899    EVERFI, INC. OTH ADDENDUM 4 TO CO-        7/30/2022         105984                   EVERFI INC                       ATTN: SHIRLEY BORROMEO
           SPONSOR AGREEMENT - EXPAND                                                                                            3299 K STREET NW, 4TH FLOOR
           PROJECTS ALL KNOWLEDGE AREAS                                                                                          WASHINGTON, DC 20007
           SEARCH KNOWLEDGE CW2367837
           (LH.RA) EFFECTIVE JULY 31, 2019




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2. 2900    SEARCH FIRM AGREEMENT DATED MAY                             101091                   EXCEL PARTNERS, INC              ATTN: GENERAL COUNSEL
           15, 2013                                                                                                              1177 SUMMER STREET
                                                                                                                                 STAMFORD, CT 06905

2. 2901    CONSULTANT ENGAGEMENT LETTER                                101092                   EXECPROTECT, INC. D/B/A ALPHA    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MARCH 01, 2017                                                       GROUP                            100 BROADHOLLOW ROAD
                                                                                                                                 SUITE 200
                                                                                                                                 FARMINGDALE, NY 11735

2. 2902    SEARCH FIRM AGREEMENT DATED                                 101093                   EXECU-SYS, LTD.                  ATTN: GENERAL COUNSEL
           OCTOBER 04, 2007                                                                                                      ONE PENN PLAZA, SUITE 700
                                                                                                                                 NEW YORK, NY 10119

2. 2903    SEARCH FIRM AGREEMENT DATED                                 101094                   EXECUTIVE RECRUITERS INC.        ATTN: GENERAL COUNSEL
           FEBRUARY 01, 2008                                                                                                     11345 FALLING WATER WAY
                                                                                                                                 FISHERS, IN 46037

2. 2904    SEARCH FIRM AGREEMENT DATED                                 101095                   EXECUTIVE SYSTEMS, LTD.          ATTN: GENERAL COUNSEL
           AUGUST 28, 2006                                                                                                       ONE PENN PLAZA, SUITE 700
                                                                                                                                 NEW YORK, NY 10119

2. 2905    COLLABORATION AGREEMENT DATED                               106220                   EXICURE, INC.                    ATTN: GENERAL COUNSEL
           DECEMBER 2, 2016 BETWEEN EXICURE,                                                                                     8045 LAMON AVE SUITE 410,
           INC., NORTHWESTERN UNIVERSITY                                                                                         SKOKIE, IL 60077
           AND THE COMPANY

2. 2906    CONSULTANT SERVICES AGREEMENT                               101096                   EXPERIENCEPOINT, INC.            ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MARCH 02, 2017                                                                                        20 DUNCAN STREET, SUITE 200
                                                                                                                                 TORONTO, ON M5H3G8
                                                                                                                                 CANADA

2. 2907    AMENDMENT NO. 1 TO THE INFLATION                            101099                   EXPRESS SCRIPTS INC.             ATTN: EDWARD J ADAMCIK, VP
           AGREEMENT EFFECTIVE AS OF JULY                                                                                        PHARMACEUTICAL STRATEGIES
           01, 2016                                                                                                              AND SOLUTIONS
                                                                                                                                 ONE EXPRESS WAY
                                                                                                                                 ST. LOUIS, MO 63121

2. 2908    AMENDMENT NO. 2 TO THE INFLATION                            101100                   EXPRESS SCRIPTS INC.             ATTN: EDWARD J ADAMCIK, VP
           AGREEMENT EFFECTIVE AS OF                                                                                             PHARMACEUTICAL STRATEGIES
           JANUARY 01, 2017                                                                                                      AND SOLUTIONS
                                                                                                                                 ONE EXPRESS WAY
                                                                                                                                 ST. LOUIS, MO 63121
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2. 2909    AMENDMENT NO. 3 TO THE INFLATION                            101101                   EXPRESS SCRIPTS INC.           ATTN: EDWARD J ADAMCIK, VP
           AGREEMENT EFFECTIVE AS OF                                                                                           PHARMACEUTICAL STRATEGIES
           NOVEMBER 06, 2017                                                                                                   AND SOLUTIONS
                                                                                                                               ONE EXPRESS WAY
                                                                                                                               ST. LOUIS, MO 63121

2. 2910    AMENDMENT NO. 4 TO THE INFLATION                            101102                   EXPRESS SCRIPTS INC.           ATTN: EDWARD J ADAMCIK, VP
           AGREEMENT EFFECTIVE AS OF JULY                                                                                      PHARMACEUTICAL STRATEGIES
           01, 2018                                                                                                            AND SOLUTIONS
                                                                                                                               ONE EXPRESS WAY
                                                                                                                               ST. LOUIS, MO 63121

2. 2911    AMENDMENT NO. 5 TO THE INFLATION                            101103                   EXPRESS SCRIPTS INC.           ATTN: EDWARD J ADAMCIK, VP
           AGREEMENT EFFECTIVE AS OF                                                                                           PHARMACEUTICAL STRATEGIES
           JANUARY 01, 2019                                                                                                    AND SOLUTIONS
                                                                                                                               ONE EXPRESS WAY
                                                                                                                               ST. LOUIS, MO 63121

2. 2912    INFLATION AGREEMENT EFFECTIVE AS                            101098                   EXPRESS SCRIPTS INC.           ATTN: EDWARD J ADAMCIK, VP
           OF JANUARY 01, 2016                                                                                                 PHARMACEUTICAL STRATEGIES
                                                                                                                               AND SOLUTIONS
                                                                                                                               ONE EXPRESS WAY
                                                                                                                               ST. LOUIS, MO 63121

2. 2913    AMENDMENT NO. 2 TO THE MEDICARE                             101108                   EXPRESS SCRIPTS SENIOR CARE    C/O EXPRESS SCRIPTS, INC.
           PART D INFLATION AGREEMENT                                                           HOLDINGS INC.                  ATTN: EDWARD J ADAMCIK, VP
           EFFECTIVE AS OF JANUARY 01, 2019                                                                                    PHARMACEUTICAL
                                                                                                                               ONE EXPRESS WAY
                                                                                                                               ST. LOUIS, MO 63121

2. 2914    MEDICARE PART D INFLATION                                   101106                   EXPRESS SCRIPTS SENIOR CARE    C/O EXPRESS SCRIPTS, INC.
           AGREEMENT EFFECTIVE AS OF                                                            HOLDINGS INC.                  ATTN: EDWARD J ADAMCIK, VP
           JANUARY 01, 2017                                                                                                    PHARMACEUTICAL
                                                                                                                               ONE EXPRESS WAY
                                                                                                                               ST. LOUIS, MO 63121

2. 2915    MASTER AGREEMENT EFFECTIVE AS                               101118                   EXPRESS SCRIPTS SPECIALTY      ATTN: VICE PRESIDENT &
           OF MAY 01, 2006                                                                      DISTRIBUTION SERVICES, INC.    GENERAL MANAGER
                                                                                                                               3168 RIVERPORT TECH CENTER
                                                                                                                               DRIVE
                                                                                                                               MARYLAND HEIGHTS, MO 63043



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2. 2916    THIRD AMENDMENT TO MASTER                                   101119                   EXPRESS SCRIPTS SPECIALTY        ATTN: VICE PRESIDENT &
           AGREEMENT (PATIENT ASSISTANCE                                                        DISTRIBUTION SERVICES, INC.      GENERAL MANAGER
           PROGRAM) DATED MAY 01, 2006                                                                                           3168 RIVERPORT TECH CENTER
                                                                                                                                 DRIVE
                                                                                                                                 MARYLAND HEIGHTS, MO 63043

2. 2917    LETTER AGREEMENT FOR                                        101126                   F.H. FAULDING & CO. LIMITED      ATTN: GENERAL COUNSEL
           INDEMNIFICATION DATED FEBRUARY                                                                                        650 FROM ROAD
           16, 2001                                                                                                              PARAMUS, NJ 07652

2. 2918    CONSULTANT SERVICES AGREEMENT                               101129                   FACULTY CONNECTION, LLC          ATTN: GENERAL COUNSEL
           DATED APRIL 28, 2017                                                                                                  1232 AUBURN VILLAGE DRIVE
                                                                                                                                 DURHAM, NC 27713

2. 2919    CONSULTANT SERVICES AGREEMENT                               101130                   FACULTY CONNECTION, LLC          ATTN: GENERAL COUNSEL
           DATED APRIL 28, 2017                                                                                                  1232 AUBURN VILLAGE DRIVE
                                                                                                                                 DURHAM, NC 27713

2. 2920    CONSULTANT SERVICES AGREEMENT                               101131                   FACULTY CONNECTION, LLC          ATTN: GENERAL COUNSEL
           DATED JULY 06, 2018                                                                                                   1232 AUBURN VILLAGE DRIVE
                                                                                                                                 DURHAM, NC 27713

2. 2921    CONSULTANT SERVICES AGREEMENT                               101132                   FACULTY CONNECTION, LLC          ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JULY 11, 2018                                                                                         1232 AUBURN VILLAGE DRIVE
                                                                                                                                 DURNHAM, NC 27713

2. 2922    CONSULTANT SERVICES AGREEMENT                               101133                   FACULTY CONNECTION, LLC          ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JULY 11, 2018                                                                                         1232 AUBURN VILLAGE DRIVE
                                                                                                                                 DURHAM, NC 27713

2. 2923    CONSULTING SERVICE AND LICENSE                              101137                   FCG CSI, INC                     ATTN: VICE PRESIDENT,
           AGREEMENT EFFECTIVE AS OF APRIL                                                                                       DOCUMENT MANAGEMENT
           15, 2001                                                                                                              FIRST CONSULTING GROUP
                                                                                                                                 575 E. SWEDESFORD ROAD,
                                                                                                                                 SUITE 200
                                                                                                                                 WAYNE, PA 19087

2. 2924    AGREEMENT DATED APRIL 10, 2019                              106300                   FICK & MARX LLP                  ATTN: DANIEL N. MARX
                                                                                                                                 24 FEDERAL STREET
                                                                                                                                 4TH FLOOR
                                                                                                                                 BOSTON, MA 02110

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2. 2925    AMENDMENT NO. 1 TO TRUST                                    101147                   FIDELITY MANAGEMENT TRUST    ATTN: GENERAL COUNSEL
           AGREEMENT DATED OCTOBER 31, 2003                                                     COMPANY                      245 SUMMER STREET
                                                                                                                             BOSTON, MA 02210

2. 2926    AMENDMENT NO. 10 TO TRUST                                   101145                   FIDELITY MANAGEMENT TRUST    ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF MARCH                                                      COMPANY                      245 SUMMER STREET
           02, 2015                                                                                                          BOSTON, MA 02210

2. 2927    AMENDMENT NO. 11 TO TRUST                                   101146                   FIDELITY MANAGEMENT TRUST    ATTN: GENERAL COUNSEL
           AGREEMENT DATED JULY 01, 2015                                                        COMPANY                      245 SUMMER STREET
                                                                                                                             BOSTON, MA 02210

2. 2928    AMENDMENT NO. 3 TO TRUST                                    101148                   FIDELITY MANAGEMENT TRUST    ATTN: GENERAL COUNSEL
           AGREEMENT DATED JULY 02, 2007                                                        COMPANY                      245 SUMMER STREET
                                                                                                                             BOSTON, MA 02210

2. 2929    AMENDMENT NO. 4 TO TRUST                                    101144                   FIDELITY MANAGEMENT TRUST    ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF MARCH                                                      COMPANY                      245 SUMMER STREET
           24, 2011                                                                                                          BOSTON, MA 02210

2. 2930    AMENDMENT NO. 6 TO TRUST                                    101149                   FIDELITY MANAGEMENT TRUST    ATTN: GENERAL COUNSEL
           AGREEMENT DATED JANUARY 01, 2012                                                     COMPANY                      245 SUMMER STREET
                                                                                                                             BOSTON, MA 02210

2. 2931    AMENDMENT NO. 9 TO TRUST                                    101151                   FIDELITY MANAGEMENT TRUST    ATTN: GENERAL COUNSEL
           AGREEMENT DATED OCTOBER 01, 2014                                                     COMPANY                      245 SUMMER STREET
                                                                                                                             BOSTON, MA 02210

2. 2932    EIGHTH AMENDMENT TO TRUST                                   101150                   FIDELITY MANAGEMENT TRUST    ATTN: GENERAL COUNSEL
           AGREEMENT DATED JULY 01, 2013                                                        COMPANY                      245 SUMMER STREET
                                                                                                                             BOSTON, MA 02210

2. 2933    SECOND AMENDMENT TO TRUST                                   101143                   FIDELITY MANAGEMENT TRUST    ATTN: GENERAL COUNSEL
           AGREEMENT DATED MARCH 15, 2005                                                       COMPANY                      245 SUMMER STREET
                                                                                                                             BOSTON, MA 02210

2. 2934    TRUST AGREEMENT DATED JANUARY                               101152                   FIDELITY MANAGEMENT TRUST    ATTN: GENERAL COUNSEL
           01, 2003                                                                             COMPANY                      82 DEVONSHIRE STREET
                                                                                                                             BOSTON, MA 02109



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2. 2935    AMENDMENT TO THE                                            101159                   FIRSTCHOICE COOPERATIVE           ATTN: MARK BOMBYK, COO/CFO
           PHARMACEUTICAL PURCHASE                                                              MANAGEMENT SERIVCES               4815 TROUP HIGHWAY
           AGREEMENT EFFECTIVE AS OF APRIL                                                                                        TYLER, TX 75703
           02, 2018

2. 2936    AMENDMENT TO THE                                            101160                   FIRSTCHOICE COOPERATIVE           ATTN: MARK BOMBYK, COO/CFO
           PHARMACEUTICAL PURCHASE                                                              MANAGEMENT SERIVCES               4815 TROUP HIGHWAY
           AGREEMENT EFFECTIVE AS OF                                                                                              TYLER, TX 75703
           OCTOBER 15, 2018

2. 2937    AMENDMENT NO. 4 TO CONSULTING                               101164                   FITNESS COACH, LLC                ATTN: GENERAL COUNSEL
           AGREEMENT DATED JANUARY 11, 2011                                                                                       242 WEST AVENUE
                                                                                                                                  DARIEN, CT 06820

2. 2938    CONSULTING AGREEMENT EFFECTIVE                              101165                   FITNESS COACH, LLC                ATTN: GENERAL COUNSEL
           AS OF JANUARY 11, 2011                                                                                                 242 WEST AVENUE
                                                                                                                                  DARIEN, CT 06820

2. 2939    CONSULTING SERVICES AGREEMENT                               101166                   FOCUS RESEARCH, INC.              ATTN: GENERAL COUNSEL
           DATED SEPTEMBER 03, 1997                                                                                               162 DRIVE BERTEL
                                                                                                                                  COVINGTON, LA 70433

2. 2940    ATTACHMENT TO CONSULTING                                    101170                   FOOD AND DRUG ADMINISTRATION      ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JUNE
           23, 2003

2. 2941    CONSULTANT ENGAGEMENT LETTER                                101172                   FORENSICPATHWAYS, INC.            ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF NOVEMBER 01, 2017                                                                                      P.O. BOX 57
                                                                                                                                  PINE, CO 80470

2. 2942    MASTER CONSULTANT SERVICES                                  101176                   FPM COMMUNICATIONS, LLC           ATTN: THOMAS ALFIERI
           AGREEMENT DATED JULY 06, 2016                                                                                          10 LAKE FARRINGTON DRIVE
                                                                                                                                  NORTH BRUNSWICK, NJ 08902

2. 2943    MASTER CONSULTING SERVICES                                  101177                   FRANCINE HOH, PHD, APN, ACHPN,    ATTN: GENERAL COUNSEL
           AGREEMENT DATED JULY 01, 2016                                                        APPMN                             1 INDEPENDENT COURT
                                                                                                                                  SOMERSET, NJ 08873

2. 2944    MASTER CONSULTANT SERVICES                                  101178                   FRANK KUNKEL, MD                  ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF SEPTEMBER 01, 2016                                                                                     9585 ALBEMARLE DRIVE
                                                                                                                                  PITSBURGH, PA 15237

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2. 2945    STATEMENT OF WORK UNDER MASTER                              101179                   FRANK KUNKEL, MD                   ATTN: GENERAL COUNSEL
           CONSULTANT SERVICES AGREEMENT                                                                                           9585 ALBEMARLE DRIVE
           EFFECTIVE AS OF JANUARY 30, 2017                                                                                        PITSBURGH, PA 15237

2. 2946    SEARCH FIRM AGREEMENT DATED MAY                             101181                   FRANKEL STAFFING PARTNERS          ATTN: GENERAL COUNSEL
           19, 2009                                                                                                                3700 NATIONAL DRIVE, SUITE 109
                                                                                                                                   RALEIGH, NC 27612

2. 2947    LETTER OF AGREEMENT DATED APRIL                             101182                   FRASER WILLIAMS PHARMA SYSTEMS     NOT AVAILABLE
           20, 2000                                                                             LTD.

2. 2948    CONSULTING SERVICES AGREEMENT                               101185                   FREDERICK WELLS BRASON, II         ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MARCH 21, 2016                                                                                          5350 NC HIGHWAY
                                                                                                                                   16 SOUTH
                                                                                                                                   MORAVIAN FALLS, NC 28654

2. 2949    LEGAL RETAINER AGREEMENT DATED                              101188                   FRIED, FRANK, HARRIS, SHRIVER &    ATTN: GENERAL COUNSEL
           SEPTEMBER 11, 2015                                                                   JACOBSON LLP                       ONE NEW YORK PLAZA
                                                                                                                                   NEW YORK, NY 10004

2. 2950    AMENDMENT TO SERVICE AGREEMENT                              101189                   FRIENDLY ADVANCED SOFTWARE         NOT AVAILABLE
           DATED APRIL 09, 1999                                                                 TECHNOLOGY INC.

2. 2951    ENGAGEMENT AGREEMENT DATED                                  101193                   FTI CONSULTING, INC.               ATTN: GENERAL COUNSEL
           JUNE 11, 2009                                                                                                           3 TIMES SQUARE
                                                                                                                                   9TH FLOOR
                                                                                                                                   NEW YORK, NY 10035

2. 2952    LETTER AGREEMENT RE: CONSULTING                             101190                   FTI CONSULTING, INC.               ATTN: GENERAL COUNSEL
           SERVICES DATED JUNE 11, 2009                                                                                            3 TIMES SQUARE
                                                                                                                                   9TH FLOOR
                                                                                                                                   NEW YORK, NY 10036

2. 2953    CONSULTANT SERVICES AGREEMENT                               101194                   G.I.C. ADVICE                      NOT AVAILABLE
           EFFECTIVE AS OF MAY 01, 2017

2. 2954    CONSULTANT SERVICES AGREEMENT                               101195                   GAFFNEY, BENNETT & ASSOCIATES,     ATTN: GENERAL COUNSEL
           DATED DECEMBER 01, 2017                                                              INC.                               ONE LIBERTY SQUARE, 2ND
                                                                                                                                   FLOOR
                                                                                                                                   NEW BRITAIN, CT 06051


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2. 2955    CONSULTANT SERVICES AGREEMENT                               101197                   GALLOWAY RESEARCH SERVICE          ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JANUARY 02, 2001                                                                                        4346 NORTHWEST LOOP 410
                                                                                                                                   SAN ANTONIO, TX 78229

2. 2956    STATEMENT OF WORK #4 DATED                                  101196                   GALLOWAY RESEARCH SERVICE          ATTN: GENERAL COUNSEL
           FEBRUARY 28, 2001                                                                                                       4751 HAMILTON WOLFE
                                                                                                                                   SAN ANTONIO, TX 78229

2. 2957    STATEMENT OF WORK DATED MAY 02,                             101199                   GALLOWAY RESEARCH SERVICE, INC.    ATTN: GENERAL COUNSEL
           2003                                                                                                                    4751 HAMILTON WOLFE
                                                                                                                                   SAN ANTONIO, TX 78229

2. 2958    STATEMENT OF WORK DATED MAY 07,                             101198                   GALLOWAY RESEARCH SERVICE, INC.    ATTN: GENERAL COUNSEL
           2003                                                                                                                    4751 HAMILTON WOLFE
                                                                                                                                   SAN ANTONIO, TX 78229

2. 2959    CONSULTANT ENGAGEMENT LETTER                                101201                   GARDA WORLD CONSULTING &           ATTN: LOUIS LAFRAMBOISE, CFE,
           EFFECTIVE AS OF SEPTEMBER 01, 2018                                                   INVESTIGATION SERVICES             C11, VICE PRESIDENT
                                                                                                                                   1390 BARRE STREET
                                                                                                                                   MONTREAL, QC H3C 1N4
                                                                                                                                   CANADA

2. 2960    CONSULTANT SERVICES AGREEMENT                               101204                   GARY ZAMMIT, PHD.                  ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF APRIL 05, 2016                                                                                          423 WEST 55TH STREET, 4TH
                                                                                                                                   FLOOR
                                                                                                                                   NEW YORK, NY 10019

2. 2961    CONSULTANT SERVICES AGREEMENT                               101207                   GCI HEALTH                         ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF DECEMBER 24, 2017                                                                                       200 FIFTH AVENUE
                                                                                                                                   NEW YORK, NY 10010

2. 2962    STATEMENT OF WORK #2018-3 UNDER                             101206                   GCI HEALTH                         ATTN: GENERAL COUNSEL
           CONSULTANT SERVICES AGREEMENT                                                                                           200 FIFTH AVENUE
           DATED JUNE 29, 2018                                                                                                     NEW YORK, NY 10010

2. 2963    AMENDED AND RESTATED RESEARCH                               101209                   GEISINGER CLINIC                   ATTN: RESEARCH CONTRACTS
           AND COLLABORATION AGREEMENT                                                                                             100 NORTH ACADEMY AVENUE
           EFFECTIVE AS OF AUGUST 23, 2018                                                                                         DANVILLE, PA 17822-3057




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2. 2964    GEISINGER CLINIC - OTH CW2367463          6/14/2021         106033                   GEISINGER CLINIC                   NOT AVAILABLE
           AMENDMENT 1 TO RESEARCH AND
           COLLABORATION AGREEMENT (LH.RA)
           EFFECTIVE JUNE 25, 2019

2. 2965    CUSTOM REPORT DEVELOPMENT                                   101219                   GELCO INFORMATION NETWORK, INC.    ATTN: GENERAL COUNSEL
           AGREEMENT EXECUTED MAY 21, 2002                                                                                         10700 PRAIRIE LAKES DRIVE
                                                                                                                                   EDEN PRAIRIE, MN 55344

2. 2966    SERVICE ORDER FORM EFFECTIVE AS                             101212                   GELCO INFORMATION NETWORK, INC.    ATTN: GENERAL COUNSEL
           OF OCTOBER 31, 2002                                                                                                     10700 PRAIRIE LAKES DRIVE
                                                                                                                                   EDEN PRAIRIE, MN 55344

2. 2967    MATERIALS TRANSFER AGREEMENT                                101227                   GENZYME CORPORATION                ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JULY 18, 2003                                                                                           ONE MOUNTAIN ROAD
                                                                                                                                   FRAMINGHAM, MA 01701

2. 2968    AMENDMENT TO THE                                            101228                   GERIMED INC.                       ATTN: SUSAN M. RHODUS,
           PHARMACEUTICAL PURCHASE                                                                                                 SENIOR VICE PRESIDENT,
           AGREEMENT EFFECTIVE AS OF                                                                                               CONTRACT ADMINSTRATION
           OCTOBER 15, 2018                                                                                                        9707 SHELBYVILLE ROAD
                                                                                                                                   LOUISVILLE, KY 40223

2. 2969    CONSULTANT SERVICES AGREEMENT                               101232                   GHG GREYHEALTH GROUP LLC           ATTN: GENERAL COUNSEL
           DATED APRIL 23, 2018                                                                                                    200 FIFTH AVENUE
                                                                                                                                   NEW YORK, NY 10010

2. 2970    AUTHORSHIP AGREEMENT DATED                                  101238                   GLEN APSELOFF, M.D., F.C.P.        ATTN: GENERAL COUNSEL
           JANUARY 15, 2018                                                                                                        1380 EDGEHILL ROAD
                                                                                                                                   COLUMBUS, OH 43212

2. 2971    CONSULTANCY AGREEMENT DATED                                 101242                   GLOBAL REGULATORY SOLUTIONS,       ATTN: GENERAL COUNSEL
           OCTOBER 18, 2002                                                                     LTD.                               98 BATCHWOOD DRIVE
                                                                                                                                   ST. ALBANS, HERTS AL3 5SA

2. 2972    LETTER OF AGREEMENT RE:                                     101243                   GLOBAL REGULATORY SOLUTIONS,       ATTN: GENERAL COUNSEL
           PROVISION OF TRAINING COURSE                                                         LTD.                               98 BATCHWOOD DRIVE
           EXECUTED MAY 23, 2003                                                                                                   ST. ALBANS, HERTS AL3 55A




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2. 2973    SEARCH FIRM AGREEMENT DATED                                 101244                   GLOBAL RESOURCES LTD           ATTN: GENERAL COUNSEL
           JUNE 18, 2013                                                                                                       106 APPLE STREET, SUITE 114A
                                                                                                                               TINTON FALLS, NJ 07724

2. 2974    AMENDMENT NO. 1 SCANNER BASED                               101249                   GLOBAL VISION, INC.            ATTN: GENERAL COUNSEL
           SYSTEMS EFFECTIVE AS OF JUNE 21,                                                                                    15795 GOUIN BOULEVARD
           2006                                                                                                                MONTREAL, QC H9H 1C5
                                                                                                                               CANADA

2. 2975    AMENDMENT NO. 5 GLOBAL VISION                               101252                   GLOBAL VISION, INC.            ATTN: GENERAL COUNSEL
           SCANNER BASED SYSTEMS                                                                                               15795 GOUIN BOULEVARD
           AGREEMENT EFFECTIVE AS OF                                                                                           MONTREAL, QC H9H 1C5
           FEBRUARY 19, 2014                                                                                                   CANADA

2. 2976    CONSULTANT SERVICES AGREEMENT                               101255                   GLOBALDATA                     ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MARCH 29, 2017                                                                                      441 LEXINGTON AVENUE
                                                                                                                               NEW YORK, NY 10017

2. 2977    SEARCH FIRM AGREEMENT DATED                                 101256                   GLOBALSOURCE INFORMATION       ATTN: GENERAL COUNSEL
           OCTOBER 04, 2007                                                                     TECHNOLOGY, INC                2835 N. MAYFAIR RD, SUITE 34
                                                                                                                               MILWAUKEE, WI 53222

2. 2978    MONITORSHIP AGREEMENT DATED                                 101257                   GLOVER ASSOCIATES              ATTN: GENERAL COUNSEL
           MAY 05, 2002                                                                                                        2783 WELBOURNE CT.
                                                                                                                               SUITE 100
                                                                                                                               OAKTON, VA 22124

2. 2979    MONITORSHIP AGREEMENT DATED                                 101258                   GLOVER ASSOCIATES              ATTN: GENERAL COUNSEL
           MAY 05, 2002                                                                                                        2783 WELBOURNE CT.
                                                                                                                               SUITE 100
                                                                                                                               OAKTON, VA 22124

2. 2980    GOLDMAN SACHS ASSET                                         101262                   GOLDMAN SACHS ASSET            ATTN: GENERAL COUNSEL
           MANAGEMENT, L.P. - SECOND                                                            MANAGEMENT, L.P.               200 WEST STREET
           AMENDED AND RESTATED INVESTMENT                                                                                     NEW YORK, NY 10282-2198
           MANAGEMENT AGREEMENT 4JAN19
           DATED JANUARY 04, 2019




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2. 2981    GOLDMAN SACHS ASSET                      12/31/2049         106064                   GOLDMAN SACHS ASSET               ATTN: GENERAL COUNSEL
           MANAGEMENT, L.P. - SECOND                                                            MANAGEMENT, L.P.                  200 WEST ST
           AMENDED AND RESTATED INVESTMENT                                                                                        NEW YORK, NY 10282
           MANAGEMENT AGREEMENT 4JAN19
           EFFECTIVE JANUARY 04, 2019

2. 2982    INVESTMENT MANAGEMENT                                       101263                   GOLDMAN SACHS ASSET               ATTN: LEGAL DEPARTMENT
           AGREEMENT DATED MARCH 27, 2017                                                       MANAGEMENT, L.P.                  200 WEST STREET
                                                                                                                                  NEW YORK, NY 10282-2198

2. 2983    INVESTMENT MANAGEMENT                                       101264                   GOLDMAN SACHS ASSET               ATTN: LEGAL DEPARTMENT
           AGREEMENT DATED MARCH 27, 2017                                                       MANAGEMENT, L.P.                  200 WEST STREET
                                                                                                                                  NEW YORK, NY 10282-2198

2. 2984    CONSULTANT SERVICES AGREEMENT                               101265                   GP STRATEGIES CORPORATION         ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JUNE 26, 2017                                                                                          11000 BROKEN LAND PARKWAY
                                                                                                                                  SUITE 200
                                                                                                                                  COLUMBIA, MD 21044-3555

2. 2985    CONSULTANT SERVICES AGREEMENT                               101266                   GREEN ROOM COMMUNICATIONS, LLC    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF FEBRUARY 17, 2017                                                                                      333 W MAIN STREET
                                                                                                                                  SUITE #1
                                                                                                                                  BOONTON, NJ 07005

2. 2986    GREGORY W. MATTINGLY, M.D OTH             4/30/2021         105958                   GREGORY W. MATTINGLY              NOT AVAILABLE
           CW2366294 NON-COMPENSATED
           AUTHORSHIP (LH.RA) EFFECTIVE APRIL
           08, 2019

2. 2987    AMENDMENT NO. 1 TO PROJECT                                  101273                   GROUP PLUS, INC.                  ATTN: GENERAL COUNSEL
           AGREEMENT DATED OCTOBER 10, 2003                                                                                       23 HUBBARD ROAD
                                                                                                                                  WILTON, CT 06987

2. 2988    PROJECT AGREEMENT DATED MAY 30,                             101270                   GROUP PLUS, INC.                  ATTN: GENERAL COUNSEL
           2002                                                                                                                   23 HUBBARD ROAD
                                                                                                                                  WILTON, CT 06987

2. 2989    PROJECT AGREEMENT DATED MAY 30,                             101272                   GROUP PLUS, INC.                  ATTN: GENERAL COUNSEL
           2002                                                                                                                   23 HUBBARD ROAD
                                                                                                                                  WILTON, CT 06987



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2. 2990    PROJECT AGREEMENT DATED                                     101271                   GROUP PLUS, INC.                  ATTN: GENERAL COUNSEL
           SEPTEMBER 17, 2003                                                                                                     23 HUBBARD ROAD
                                                                                                                                  WILTON, CT 06987

2. 2991    AMENDMENT #1 & #3 TO COMMON                                 101286                   GRUNENTHAL GMBH                   ATTN: DR. SABINE KROHN, VICE
           INTEREST PRIVILEGE AGREEMENTS                                                                                          PRESIDENT, HEAD OF
           EFFECTIVE AS OF DECEMBER 06, 2012                                                                                      PATENTS;DR. THIERNO MARX,
                                                                                                                                  SENIOR DIRECTOR PATENTS;DR.
                                                                                                                                  RALF STOWASSER, SENIOR
                                                                                                                                  DIRECTOR PATENTS

2. 2992    AMENDMENT #2 TO COMMON INTEREST                             101285                   GRUNENTHAL GMBH                   ATTN: STEPHEN D. HOFFMAN
           PRIVILEGE AGREEMENT DATED MARCH                                                                                        WILK AUSLANDER LLP
           02, 2012                                                                                                               1515 BROADWAY, 43RD FLOOR
                                                                                                                                  NEW YORK, NY 10036

2. 2993    COMMON INTEREST PRIVILEGE                                   101297                   GRUNENTHAL GMBH                   ATTN: DR. KURT HELLFELDT,
           AGREEMENT DATED MARCH 18, 2011                                                                                         HEAD OF CORPORATE PATENTS
                                                                                                                                  ZIEGLERSTRASSE 6
                                                                                                                                  AACHEN 52078
                                                                                                                                  GEORGIA

2. 2994    LETTER OF COMMON UNDERSTANDING                              101301                   GRUNENTHAL GMBH                   ATTN: GENERAL COUNSEL
           DATED APRIL 26, 2018                                                                                                   ZIEGLERSTRASSE 6
                                                                                                                                  AACHEN 52078
                                                                                                                                  GEORGIA

2. 2995    MASTER CONSULTANT SERVICES                                  101315                   H. ERIC CANNON, PHARMD, FAMCP     ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                                                              2958 WAILUA WAY
           AUGUST 10, 2016                                                                                                        SALT LAKE CITY, UT 84117

2. 2996    AMENDMENT #1 TO MASTER                                      101322                   H.L. YOH COMPANY LLC D/B/A YOH    NOT AVAILABLE
           CONSULTANT SERVICES AGREEMENT                                                        SCIENTIFIC
           DATED AUGUST 01, 2003

2. 2997    SEARCH FIRM AGREEMENT EFFECTIVE                             101329                   HARBOR ASSOCIATES                 ATTN: GENERAL COUNSEL
           AS OF OCTOBER 04, 2007                                                                                                 70 NEW CANAAN AVENUE
                                                                                                                                  NORWALK, CT 06850




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2. 2998    LETTER AGREEMENT - CDA DATED                                101330                   HARM REDUCTION THERAPEUTICS INC. ATTN: GENERAL COUNSEL
           NOVEMBER 09, 2017                                                                                                     4800 MONTGOMERY LANE
                                                                                                                                 SUITE 400
                                                                                                                                 BETHESDA, MD 20814

2. 2999    MASTER CONSULTANT SERVICES                                  101331                   HAROLD PERL, PH.D.                   ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                                                                 PO BOX 169
           SEPTEMBER 01, 2016                                                                                                        ARROYO SECO, NM 87514

2. 3000    STATEMENT OF WORK UNDER MASTER                              101332                   HAROLD PERL, PH.D.                   ATTN: GENERAL COUNSEL
           CONSULTANT SERVICES AGREEMENT                                                                                             PO BOX 169
           EFFECTIVE AS OF JANUARY 30, 2017                                                                                          ARROYO SECO, NM 87514

2. 3001    CONSULTANT SERVICES AGREEMENT                               101333                   HARRIS INSIGHTS & ANALYTICS, LLC.    ATTN: GENERAL COUNSEL
           DATED OCTOBER 02, 2018                                                                                                    300 NORTH LASALLE DRIVE
                                                                                                                                     SUITE 5575
                                                                                                                                     CHICAGO, IL 60654

2. 3002    CONSULTANT SERVICES AGREEMENT                               101335                   HARRISON HAYES, LLC                  ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MAY 04, 2017                                                                                              456 WASHINGTON STREET, 9D
                                                                                                                                     NEW YORK, NY 10013

2. 3003    FUND AGREEMENT DATED MARCH 05,                              101336                   HARVARD MEDICAL SCHOOL               ATTN: GENERAL COUNSEL
           2003                                                                                                                      25 SHATTUCK STREET
                                                                                                                                     BOSTON, MA 02115

2. 3004    REIMBURSEMENT AGREEMENT                                     101337                   HARVARD PILGRIM HEALTH CARE          ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JANUARY 11, 2011                                                                                          93 WORCHESTER STREET
                                                                                                                                     3RD FLOOR
                                                                                                                                     WELLESLEY, MA 02481

2. 3005    FUND AGREEMENT DATED MARCH 05,                              101346                   HARVARD UNIVERSITY                   NOT AVAILABLE
           2003

2. 3006    AMENDMENT NO. 4 TO MASTER                                   101347                   HAVAS HEALTH, INC                    NOT AVAILABLE
           CONSULTANT SERVICES AGREEMENT
           EFFECTIVE AS OF SEPTEMBER 05, 2017




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2. 3007    DEVICE ACCESS AGREEMENT                                     101362                   HCL AMERICA, INC.                   ATTN: MANOJ KENKARE,
           EFFECTIVE AS OF JANUARY 08, 2015                                                                                         ACCOUNT MANAGER
                                                                                                                                    330 POTRERO AVENUE
                                                                                                                                    SUNNYVALE, CA 94085

2. 3008    CONSULTANT SERVICES AGREEMENT                               101365                   HEALTH ADVANCES LLC                 ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MAY 01, 2018                                                                                             9 RIVERSIDE ROAD
                                                                                                                                    WESTON, MA 02493

2. 3009    PHARMACEUTICAL PRICING                                      101367                   HEALTH RESOURCES AND SERVICES       ATTN: GENERAL COUNSEL
           AGREEMENT EXECUTED NOVEMBER 21,                                                      ADMINISTRATION                      4350 EAST WEST HIGHWAY,
           1995                                                                                                                     ROOM 10-1A1
                                                                                                                                    BETHESDA, MD 20814

2. 3010    CONSULTANT ENGAGEMENT LETTER                                101370                   HEALTHCARE DISTRIBUTION ALLIANCE    ATTN: CHUCK FORSAITH, SENIOR
           EFFECTIVE AS OF AUGUST 27, 2018                                                                                          DIRECTOR
                                                                                                                                    ATTN: GENERAL COUNSEL
                                                                                                                                    901 NORTH GLEBE ROAD, SUITE
                                                                                                                                    1000
                                                                                                                                    ARLINGTON, VA 22203

2. 3011    HEALTHCORE OTH CW2366323 SOW             12/31/2019         105961                   HEALTHCORE INC                      ATTN: GENERAL COUNSEL
           AMD 5 IMPACT OF ABUSE DETERRENT                                                                                          123 JUSTISON STREET, SUITE 200
           OXYCONTIN ON INCIDENCE OF FATAL                                                                                          WILMINGTON, DE 19801
           AND NONFATAL OVERDOSE (LH.RA)
           EFFECTIVE APRIL 09, 2019

2. 3012    AMENDMENT TO THE                                            101385                   HEALTHTRUST PURCHASING GROUP        ATTN: GENERAL COUNSEL
           PHARMACEUTICAL PURCHASE                                                              LP                                  1100 CHARLOTTE AVENUE
           AGREEMENT EFFECTIVE AS OF                                                                                                SUITE 1100
           NOVEMBER 15, 2018                                                                                                        NASHVILLE, TN 37203

2. 3013    AMENDMENT TO PURCHASING                                     101384                   HEALTHTRUST PURCHASING GROUP        ATTN: GENERAL COUNSEL
           AGREEMENT DATED JULY 01, 2018                                                        LP                                  1100 CHARLOTTE AVENUE
                                                                                                                                    SUITE 1100
                                                                                                                                    NASHVILLE, TN 37203

2. 3014    AMENDMENT TO PURCHASING                                     101379                   HEALTHTRUST PURCHASING GROUP        ATTN: GENERAL COUNSEL
           AGREEMENT DATED JUNE 01, 2011                                                        LP                                  1100 CHARLOTTE AVENUE
                                                                                                                                    SUITE 1100
                                                                                                                                    NASHVILLE, TN 37203


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2. 3015    AMENDMENT TO PURCHASING                                     101382                   HEALTHTRUST PURCHASING GROUP    ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                            LP                              1100 CHARLOTTE AVENUE
           JANUARY 05, 2015                                                                                                     SUITE 1100
                                                                                                                                NASHVILLE, TN 37203

2. 3016    AMENDMENT TO PURCHASING                                     101380                   HEALTHTRUST PURCHASING GROUP    ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JULY                                                       LP                              1100 CHARLOTTE AVENUE
           01, 2013                                                                                                             SUITE 1100
                                                                                                                                NASHVILLE, TN 37203

2. 3017    AMENDMENT TO PURCHASING                                     101383                   HEALTHTRUST PURCHASING GROUP    ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JULY                                                       LP                              1100 CHARLOTTE AVENUE
           01, 2015                                                                                                             SUITE 1100
                                                                                                                                NASHVILLE, TN 37203

2. 3018    AMENDMENT TO PURCHASING                                     101381                   HEALTHTRUST PURCHASING GROUP    ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                            LP                              1100 CHARLOTTE AVENUE
           OCTOBER 02, 2014                                                                                                     SUITE 1100
                                                                                                                                NASHVILLE, TN 37203

2. 3019    AMENDMENT TO PURCHASING                                     101388                   HEALTHTRUST PURCHASING GROUP    ATTN: GENERAL COUNSEL
           AGREEMENT EXECUTED DECEMBER 06,                                                      LP                              1100 CHARLOTTE AVENUE
           2018                                                                                                                 SUITE 1100
                                                                                                                                NASHVILLE, TN 37203

2. 3020    AMENDMENT TO PURCHASING                                     101387                   HEALTHTRUST PURCHASING GROUP    ATTN: GENERAL COUNSEL
           AGREEMENT EXECUTED SEPTEMBER                                                         LP                              1100 CHARLOTTE AVENUE
           29, 2016                                                                                                             SUITE 1100
                                                                                                                                NASHVILLE, TN 37203

2. 3021    LETTER AMENDMENT RE: PRICING                                101386                   HEALTHTRUST PURCHASING GROUP    ATTN: GENERAL COUNSEL
           INCREASE DATED JANUARY 03, 2019                                                      LP                              1100 CHARLOTTE AVENUE
                                                                                                                                SUITE 1100
                                                                                                                                NASHVILLE, TN 37203

2. 3022    PURCHASING AGREEMENT EFFECTIVE                              101378                   HEALTHTRUST PURCHASING GROUP    ATTN: GENERAL COUNSEL
           AS OF MAY 01, 2011                                                                   LP                              1100 CHARLOTTE AVENUE
                                                                                                                                SUITE 1100
                                                                                                                                NASHVILLE, TN 37203

2. 3023    RETENTION LETTER AGREEMENT                                   9011                    HENRY MEYER                     NOT AVAILABLE
           DATED OCTOBER 19, 2018
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2. 3024    CONSULTANT ENGAGEMENT LETTER                                101391                   HETHERINGTON GROUP             ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JUNE 15, 2018                                                                                       400 RINGWOOD AVENUE
                                                                                                                               WANAQUE, NJ 07465

2. 3025    CUSTOMER AGREEMENT FOR                                      101392                   HEWLETT- PACKARD COMPANY       ATTN: GENERAL COUNSEL
           PROFESSIONAL SERVICES EFFECTIVE                                                                                     9633 18TH AVENUE CIRCLE
           AS OF MAY 31, 2010                                                                                                  NORTHWEST
                                                                                                                               BRADENTON, FL 34209

2. 3026    STATEMENT OF WORK DATED JUNE 27,                            101393                   HEWLETT- PACKARD COMPANY       ATTN: LINDA FRANKLIN
           2001                                                                                                                29 BURLINGTON MALL ROAD
                                                                                                                               BURLINGTON, MA 01803

2. 3027    AMENDMENT TO MASTER LOAN                                    101397                   HEWLETT-PACKARD COMPANY        ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF MARCH                                                                                     9737 WASHINGTONIAN BLVD.
           26, 2004                                                                                                            GAITHERSBURG, MD 20878

2. 3028    CONSULTANT SERVICES AGREEMENT                               101401                   HOLLY R. HENDRICKSON YEE,      ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF APRIL 16, 2018                                                       PHARM.D., R.PH                 1596 HOYT STREET
                                                                                                                               LAKEWOOD, CO 80232

2. 3029    AMENDMENT NO. 3 TO STUDY                                    101406                   HOLSTON MEDICAL GROUP, PC      ATTN: GENERAL COUNSEL
           AGREEMENT SPECIFICATION                                                                                             2325 N JOHN B DENNIS HWY,
           EFFECTIVE AS OF DECEMBER 09, 2004                                                                                   KINGSPORT, TN 37660

2. 3030    AGREEMENT RE: WRITING SERVICES                              101407                   HOLTZMAN COMMUNICATIONS        ATTN: GENERAL COUNSEL
           DATED JULY 07, 1998                                                                                                 220 SULLIVAN STREET
                                                                                                                               NEW YORK, NY 10012

2. 3031    PRODUCT AND SERVICE                                         101411                   HOST ANALYTICS, INC.           ATTN: GENERAL COUNSEL
           SUBSCRIPTION ORDER DATED MARCH                                                                                      555 TWIN DOLPHIN DRIVE
           28, 2018                                                                                                            SUITE 400
                                                                                                                               REDWOOD CITY, CA 94065

2. 3032    AMENDMENT TO CONSULTANT                                     101412                   HOWARD MAIBACH                 ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT DATED                                                                                            2745 LARKIN STREET
           DECEMBER 06, 2016                                                                                                   SAN FRANCISCO, CA 94109

2. 3033    CONSULTING SERVICES AGREEMENT                               101413                   HOWARD S. HOCSTER, M.D.        ATTN: GENERAL COUNSEL
           DATED APRIL 30, 2017                                                                                                17 OVER ROCK LANE
                                                                                                                               WESTPORT, CT 06880

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2. 3034    SEARCH FIRM AGREEMENT DATED                                 101416                   HRA - HEALTHCARE RESEARCH &       ATTN: GENERAL COUNSEL
           JUNE 06, 2017                                                                        ANALYTICS, LLC                    2 CLARKE DRIVE, SUITE 100
                                                                                                                                  CRANBURY, NJ 08512

2. 3035    LETTER AGREEMENT DATED OCTOBER                              101417                   HUI CHENG, PH. D.                 ATTN: GENERAL COUNSEL
           31, 2017                                                                                                               1520 SOUTH 450 EAST
                                                                                                                                  RUSHVILLE, IN 46173

2. 3036    RETAINER LETTER DATED DECEMBER                              101419                   HYMAN, PHELPS & MCNAMARA, P.C.    ATTN: GENERAL COUNSEL
           09, 2015                                                                                                               700 THIRTEENTH STREET, N.W.
                                                                                                                                  SUITE 1200
                                                                                                                                  WASHINGTON, DC 20005-5929

2. 3037    INTERNATIONAL PASSPORT                                      101421                   IBM                               ATTN: GENERAL COUNSEL
           ADVANTAGE AGREEMENT                                                                                                    550 KING STREET LKG1
                                                                                                                                  LITTLETON, MA 01460

2. 3038    SEARCH FIRM AGREEMENT EFFECTIVE                             101438                   IMPACT PERSONNEL, INC.            ATTN: GENERAL COUNSEL
           AS OF FEBRUARY 19, 2009                                                                                                40 RICHARDS AVENUE
                                                                                                                                  NORWALK, CT 06854

2. 3039    CONSULTANT ENGAGEMENT LETTER                                101441                   IMPERA INTELLIGENCE GROUP, LLC    ATTN: GENERAL COUNSEL
           DATED FEBRUARY 01, 2018                                                                                                110 EAST 59TH STREET, 22ND
                                                                                                                                  FLOOR
                                                                                                                                  NEW YORK, NY 10022

2. 3040    AMENDMENT #1 TO USER-CUSTOMER                               101446                   IMS HEALTH INCORPORATED           ATTN: AMA, DIRECTOR OF
           AGREEMENT DATED JANUARY 01, 2013                                                                                       DATABASE LICENSING;GENERAL
                                                                                                                                  COUNSEL

2. 3041    THIRD PARTY ACCESS AGREEMENT                                101443                   IMS HEALTH INCORPORATED           ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF FEBRUARY 01, 2002                                                                                      100 CAMPUS ROAD,
                                                                                                                                  TOTOWA, NJ 07512

2. 3042    TRANSFER OF REGULATORY                                      101451                   INC RESEARCH LLC                  ATTN: ANDREW SHAW
           OBLIGATIONS EXECUTED SEPTEMBER                                                                                         SENIOR CORPORATE COUNSEL
           28, 2015                                                                                                               3201 BEECH LEAF COURT
                                                                                                                                  RALEIGH, NC 27604




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2. 3043    TRANSFER OF REGULATORY                                      102296                   INC RESEARCH, LLC                 ATTN: GENERAL COUNSEL
           OBLIGATIONS EFFECTIVE AS OF                                                                                            3201 BEECHLEAF COURT, SUITE
           SEPTEMBER 28, 2015                                                                                                     600, RALEIGH, NC 27604

2. 3044    SECURITIES PURCHASE AGREEMENT                               101465                   INFINITY PHARMACEUTICALS, INC.    ATTN: GERALD E. QUIRK, ESQ.,
           DATED NOVEMBER 19, 2008                                                                                                GENERAL COUNSEL
                                                                                                                                  780 MEMORIAL DRIVE
                                                                                                                                  CAMBRIDGE, MA 02139

2. 3045    AMENDMENT #5 TO MASTER                                      101467                   INFLEXXION, INC.                  NOT AVAILABLE
           CONSULTANT SERVICES AGREEMENT
           DATED MARCH 09, 2018

2. 3046    AMENDMENT NO. 5 TO SERVICES                                 101475                   INNOVATIVE HEALTH STRATEGIES, INC. NOT AVAILABLE
           AGREEMENT EFFECTIVE AS OF JULY
           09, 2008

2. 3047    AMENDMENT TO THE                                            101488                   INTALERE INC                      ATTN: GENERAL COUNSEL
           PHARMACEUTICAL PURCHASE                                                                                                TWO CITY PLACE DRIVE
           AGREEMENT EFFECTIVE AS OF APRIL                                                                                        SUITE 400
           02, 2018                                                                                                               ST. LOUIS, MO 63141

2. 3048    AMENDMENT TO THE                                            101489                   INTALERE INC                      ATTN: GENERAL COUNSEL
           PHARMACEUTICAL PURCHASE                                                                                                TWO CITY PLACE DRIVE
           AGREEMENT EFFECTIVE AS OF JULY                                                                                         SUITE 400
           01, 2018                                                                                                               ST. LOUIS, MO 63141

2. 3049    AMENDMENT TO THE                                            101491                   INTALERE INC                      ATTN: GENERAL COUNSEL
           PHARMACEUTICAL PURCHASE                                                                                                TWO CITY PLACE DRIVE
           AGREEMENT EFFECTIVE AS OF                                                                                              SUITE 400
           OCTOBER 05, 2018                                                                                                       ST. LOUIS, MO 63141

2. 3050    AMENDMENT TO THE                                            101490                   INTALERE INC                      ATTN: GENERAL COUNSEL
           PHARMACEUTICAL PURCHASE                                                                                                TWO CITY PLACE DRIVE
           AGREEMENT EFFECTIVE AS OF                                                                                              SUITE 400
           SEPTEMBER 07, 2018                                                                                                     ST. LOUIS, MO 63141

2. 3051    GROUP PURCHASING AGREEMENT                                  101487                   INTALERE INC                      ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF AUGUST 01, 2015                                                                                        TWO CITY PLACE DRIVE
                                                                                                                                  SUITE 400
                                                                                                                                  ST. LOUIS, MO 63141

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2. 3052    AMENDMENT NO. 6 TO MASTER                                   101492                   INTEGRATED BEHAVIORAL HEALTH,        3070 BRISTOL ST STE 350
           CONSULTANT SERVICES AGREEMENT                                                        INC.                                 COSTA MESA, CA 92626
           EFFECTIVE AS OF DECEMBER 11, 2018

2. 3053    INFLEXXION INC., AN INTEGRATED             4/1/2021         105974                   INTEGRATED BEHAVIORAL HEALTH,        3070 BRISTOL ST STE 350
           BEHAVIORAL HEALTH, INC. COMPANY                                                      INC.                                 COSTA MESA, CA 92626
           OTH AMEND. 1 TO SOW JODY GREEN
           AD BOARD CW2367930 (LH.RA)
           EFFECTIVE AUGUST 07, 2019

2. 3054    AMENDMENT NO. 2 TO CONSULTANT                               101495                   INTEGRATED CLINICAL SYSTEMS, INC.    ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT DATED                                                                                                  38 MILLTOWN ROAD
           AUGUST 08, 2003                                                                                                           STOCKTON, NJ 08559

2. 3055    AMENDMENT #1: TO MASTER SITE                                101507                   INTEGRITY CLINICAL RESEARCH, LLC     ATTN: GENERAL COUNSEL
           MANAGEMENT ORGANIZATION                                                                                                   1059 JONES BOULEVARD
           AGREEMENT DATED DECEMBER 01,                                                                                              MILAN, TX 38358
           2003

2. 3056    AGREEMENT RE: BRAND NAME                                    101512                   INTERBRAND                           ATTN: GENERAL COUNSEL
           DEVELOPMENT DATED AUGUST 05, 1998                                                                                         437 MADISON AVENUE
                                                                                                                                     NEW YORK, NY 10022

2. 3057    AGREEMENT RE: BRAND NAME                                    101514                   INTERBRAND CORPORATION               ATTN: GENERAL COUNSEL
           DEVELOPMENT DATED JULY 25, 2001                                                                                           130 FIFTH AVENUE
                                                                                                                                     NEW YORK, NY 10011

2. 3058    AMENDED CONSULTING AGREEMENT                                101515                   INTERBRAND CORPORATION               ATTN: GENERAL COUNSEL
           DATED OCTOBER 25, 2001                                                                                                    130 FIFTH AVENUE
                                                                                                                                     NEW YORK, NY 10011

2. 3059    AGREEMENT FOR CLINICAL RESEARCH                             101516                   INTERCOAST QUALITY ASSURANCE A       ATTN: GENERAL COUNSEL
           CONSULTANTS EFFECTIVE AS OF                                                          DIVISION OF INTERCOAST SALES &       31 WHITETAIL LANE
           DECEMBER 10, 1999                                                                    MARKETING, INC.                      PARKESBURG, PA 19365-9114

2. 3060    CUSTOMER AGREEMENT EXECUTED                                 101524                   INTERNATIONAL BUSINESS MACHINES      ATTN: GENERAL COUNSEL
           MAY 13, 1999                                                                         CORPORATION                          27 COMMERCE DRIVE
                                                                                                                                     CRANFORD, NJ 07016




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2. 3061    CONSULTANT SERVICES AGREEMENT                                101533                   INTERNATIONAL PHARMACEUTICAL          ATTN: GENERAL COUNSEL
           DATED APRIL 27, 2003                                                                  CONSULTANTS, INC.                     POST OFFICE BOX 626
                                                                                                                                       SCARSDALE, NY 10583

2. 3062    IBM OTH CW2366053 IBM MARKETSCAN          12/31/2020         105966                   INTL BUSINESS MACHINE CORP            NOT AVAILABLE
           TPA RIDER FOR GENESIS ACCESS
           (LH.RA) EFFECTIVE JANUARY 01, 2019

2. 3063    IBM_TRUVEN OTH CW2366607 1ST              12/31/2020         105980                   INTL BUSINESS MACHINE CORP            NOT AVAILABLE
           AMEND TO 18TH ADDENDUM (LH.RA)
           EFFECTIVE APRIL 10, 2019

2. 3064    THIRD PARTY ACCESS AGREEMENT                                 101537                   INTRINSIQ, LLC                        ATTN: GENERAL COUNSEL
           DATED OCTOBER 15, 2009                                                                                                      404 WYMAN STREET, STE 100
                                                                                                                                       WALTHAM, MA 02541

2. 3065    CONSENT AGREEMENT EXECUTED                                   101539                   INVENTIV HEALTH CLINICAL              ATTN: GENERAL COUNSEL
           JANUARY 24, 2014                                                                                                            1787 SENTRY PARKWAY WEST
                                                                                                                                       SUITE 300, BUILDING 16
                                                                                                                                       BLUE BELL, PA 19422

2. 3066    INVENTIV HEALTH CLINICAL, LAB, INC.,      12/31/2020         106032                   INVENTIV HEALTH CLINICAL LAB INC      PO BOX 415914
           A SYNEOS HEALTH GROUP COMPANY -                                                                                             BOSTON, MA 02241
           AMENDMENT 2 TO MLSA CW2367426
           (LH.RA) EFFECTIVE JUNE 24, 2019

2. 3067    AMENDMENT #1 TO MASTER                                       101541                   INVENTIV HEALTH CLINICAL, LAB INC.    ATTN: GENERAL COUNSEL
           LABORATORY SERVICES AGREEMENT                                                                                               301 D COLLEGE ROAD EAST
           EFFECTIVE AS OF NOVEMBER 30, 2018                                                                                           PRINCETON, NJ 08540

2. 3068    AMENDMENT NO. 1 TO OPIOID REMS                               102938                   INVENTIV HEALTH CONSULTING, INC       ATTN: GENERAL COUNSEL
           PROGRAM AGREEMENT EFFECTIVE AS                                                                                              INVENTIV HEALTH CONSULTING,
           OF JANUARY 01, 2015                                                                                                         INC., 8045 ARCO CORPORATE
                                                                                                                                       DRIVE, SUITE 200. RALEIGH, NC
                                                                                                                                       27617, USA

2. 3069    OPIOID REMS PROGRAM AGREEMENT                                102937                   INVENTIV HEALTH CONSULTING, INC       ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JANUARY 01, 2012                                                                                            INVENTIV HEALTH CONSULTING,
                                                                                                                                       INC., 8045 ARCO CORPORATE
                                                                                                                                       DRIVE, SUITE 200. RALEIGH, NC
                                                                                                                                       27617, USA

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2. 3070    SPONSOR AGREEMENT PROJECT                                   101543                   INVESTIGATOR LOCATION SERVICES,     NOT AVAILABLE
           DATED MARCH 24, 2005                                                                 INC

2. 3071    MASTER MATERIALS TESTING AND                                101548                   IOKINETIC, LLC                      ATTN: MICHELLE MURPHY,
           PROFESSIONAL SERVICES AGREEMENT                                                                                          PARTNER
           EFFECTIVE AS OF NOVEMBER 01, 2015                                                                                        95 STILES ROAD
                                                                                                                                    SALEM, NH 03079

2. 3072    AMENDMENT #1 TO CONSULTANT                                  101568                   J. ALEXANDER HUNT INC.              NOT AVAILABLE
           SERVICES AGREEMENT DATED
           FEBRUARY 28, 2019

2. 3073    CONSULTANT SERVICES AGREEMENT                               101567                   J. ALEXANDER HUNT INC.              ATTN: GENERAL COUNSEL
           DATED DECEMBER 01, 2018                                                                                                  117 AURORA AVENUE
                                                                                                                                    NAPERVILLE, IL 60540

2. 3074    SUBLEASE AGREEMENT EFFECTIVE AS                             101569                   J. KNIPPER AND COMPANY, INC.        NOT AVAILABLE
           OF JULY 15, 2017

2. 3075    CONSULTANT SERVICES AGREEMENT                               101575                   J.L.S. ASSOCIATES                   ATTN: GENERAL COUNSEL
           DATED JULY 22, 1997                                                                                                      6114 LASALLE AVE.
                                                                                                                                    SUITE 263
                                                                                                                                    OAKLAND, CA 94611

2. 3076    CONSULTANT ENGAGEMENT LETTER                                101576                   J.M. GATTO CONSULTING, LLC          ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JULY 01, 2017                                                                                            145 HIGHLAND ROAD
                                                                                                                                    SEDONA, AZ 86336

2. 3077    CONSULTANT SERVICES AGREEMENT                               101577                   J.S. MCCARTHY CO., INC. DBA J.S.    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF AUGUST 30, 2018                                                      MCCARTHY PRINTERS                   15 DARIN DRIVE
                                                                                                                                    AUGUSTA, ME 04330

2. 3078    LETTER OF AGREEMENT DATED                                   101578                   JACK L. TSENG,                      ATTN: GENERAL COUNSEL
           DECEMBER 05, 2018                                                                                                        209 RUSHMORE ROAD
                                                                                                                                    STORMVILLE, NY 12582

2. 3079    LICENSING AGREEMENT DATED                                    9026                    JAGOTEC AG                          ATTN: GENERAL COUNSEL
           DECEMBER 23, 2016 BETWEEN                                                                                                EPTINGERSTRASSE 61
           JAGOTEC AG AND THE COMPANY                                                                                               MUTTENZ, SWITZERLAND 4132



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2. 3080    SIDE LETTER DATED DECEMBER 23,                               9027                    JAGOTEC AG                       ATTN: GENERAL COUNSEL
           2016                                                                                                                  EPTINGERSTRASSE 61
                                                                                                                                 MUTTENZ, SWEDEN 4132

2. 3081    TERMINATION NOTICE DATED MARCH                               9028                    JAGOTEC AG                       ATTN: GENERAL COUNSEL
           29, 2018                                                                                                              EPTINGERSTRASSE 61
                                                                                                                                 MUTTENZ, SWEDEN 4132

2. 3082    MASTER CONSULTANT SERVICES                                  101580                   JANINE ZUROMSKI, ARNP-BC, MPH    ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JULY                                                                                        12 EDELWEISS AVENUE
           01, 2016                                                                                                              LINCOLN, RI 02865

2. 3083    CENTRAL LABORATORY                                          102295                   JANSSEN PHARMA                   ATTN: GENERAL COUNSEL
           INDEMNIFICATION AGREEMENT                                                                                             1125 TRENTON-HARBOURTON
           EFFECTIVE AS OF JULY 28, 2015                                                                                         ROAD, TITUSVILLE, NJ 08560

2. 3084    TRANSFER OF REGULATORY                                      102296                   JANSSEN PHARMA                   ATTN: GENERAL COUNSEL
           OBLIGATIONS EFFECTIVE AS OF                                                                                           1125 TRENTON-HARBOURTON
           SEPTEMBER 28, 2015                                                                                                    ROAD, TITUSVILLE, NJ 08560

2. 3085    TRANSFER OF REGULATORY                                      101582                   JANSSEN PHARMACEUTICALS INC      ATTN: GENERAL COUNSEL
           OBLIGATIONS EXECUTED SEPTEMBER                                                                                        JANSSEN PHARMACEUTICALAAN 3
           28, 2015                                                                                                              GEEL, BELGIUM 2440

2. 3086    INDEMNIFICATION AGREEMENT                                   101586                   JASPER CLINIC INC.               ATTN: GENERAL COUNSEL
           EXECUTED APRIL 19, 2005                                                                                               526 JASPER STREET
                                                                                                                                 KALAMAZOO, MI 49007

2. 3087    AMENDMENT #1: TO MASTER SITE                                101588                   JBA RESEARCH                     ATTN: MINDI TURPIN; RONI
           MANAGEMENT ORGANIZATION                                                                                               O'CALLAHAN
           AGREEMENT DATED JUNE 14, 2004                                                                                         1045 E. 3900 SOUTH
                                                                                                                                 SALT LAKE CITY, UT 82124

2. 3088    SEARCH FIRM AGREEMENT DATED                                 101591                   JDL CONSULTING                   ATTN: GENERAL COUNSEL
           OCTOBER 12, 2009                                                                                                      2427 SOUTH GARFIELD STREET
                                                                                                                                 DENVER, CO 80210

2. 3089    MASTER CONSULTANT SERVICES                                  101592                   JEAN AERTKER                     ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JULY                                                                                        646 RIVIERA DRIVE
           01, 2016                                                                                                              TAMPA, FL 33608


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2. 3090    LETTER OF AGREEMENT DATED                                   101594                   JEFFREY GALINKIN, M.D.           ATTN: GENERAL COUNSEL
           NOVEMBER 28, 2017                                                                                                     5506 S. EMPORIA CIRCLE
                                                                                                                                 GREENWOOD VILLAGE, CO 80111

2. 3091    LETTER OF AGREEMENT DATED                                   101595                   JEFFREY GALINKIN, M.D.           ATTN: GENERAL COUNSEL
           NOVEMBER 28, 2017                                                                                                     5506 S. EMPORIA CIRCLE
                                                                                                                                 GREENWOOD VILLAGE, CO 80111

2. 3092    MASTER CONSULTANT SERVICES                                  101596                   JEFFREY GUDIN, MD                ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JUNE                                                                                        P.O. BOX 9044
           02, 2016                                                                                                              BARDONIA, NY 10954

2. 3093    RETENTION LETTER AGREEMENT                                   9010                    JEFFREY MISSLING                 NOT AVAILABLE
           DATED OCTOBER 19, 2018

2. 3094    CONSULTING SERVICES AGREEMENT                               101598                   JEFFREY NEWCORN, M.D.            ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JANUARY 01, 2019                                                                                      120STONEHEDGE DRIVE N.,
                                                                                                                                 GREENWICH, CT 06831

2. 3095    INDEMNIFICATION AGREEMENT                                   101599                   JIM CHRISTENSEN MD               NOT AVAILABLE
           EXECUTED NOVEMBER 22, 2000

2. 3096    CONSULTANT SERVICES AGREEMENT                               101608                   JOEL L. YOUNG, M.D.              441 SOUTH LIVERNOIS ROAD
           EFFECTIVE AS OF JANUARY 01, 2019                                                                                      SUITE 100
                                                                                                                                 ROCHESTER HILLS, MI 48307

2. 3097    AUTHORSHIP AGREEMENT EFFECTIVE                              101609                   JOHN BERKENBOSCH, M.D.           ATTN: GENERAL COUNSEL
           AS OF NOVEMBER 20, 2017                                                                                               517 OAK BRANCH ROAD
                                                                                                                                 LOUISVILLE, KY 40245

2. 3098    MASTER CONSULTANT SERVICES                                  101610                   JOHN E.D. FLYNN                  ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JULY                                                                                        611 NORTHERN BOULEVARD
           22, 2016                                                                                                              SUITE 150
                                                                                                                                 GREAT NECK, NY 11021

2. 3099    CONSULTING SERVICES AGREEMENT                               101612                   JOHN R. MONTEROSSO, PH.D.        ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MARCH 15, 2018                                                                                        2213 CAMDEN AVENUE
                                                                                                                                 LOS ANGELES, CA 90064




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2. 3100    INDEMNIFICATION AGREEMENT                                   101613                   JOHN RUBINO MD                       NOT AVAILABLE
           EXECUTED MAY 28, 2003

2. 3101    ACCREDITATION AGREEMENT DATED                               101618                   JOINT COMMISSION ON                  ATTN: GENERAL COUNSEL
           APRIL 13, 2000                                                                       ACCREDITATION OF HEALTHCARE          ONE RENAISSANCE BOULEVARD
                                                                                                ORGANIZATIONS                        OAKBROOK TERRACE, IL 60181

2. 3102    COMMERCIAL SUPPORT AGREEMENT                                101617                   JOINT COMMISSION ON                  ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MARCH 29, 2000                                                       ACCREDITATION OF HEALTHCARE          ONE RENAISSANCE BOULEVARD
                                                                                                ORGANIZATIONS                        OAKBROOK TERRACE, IL 60181

2. 3103    PROJECT RESEARCH AND                                        101619                   JOINT COMMISSION ON                  ATTN: GENERAL COUNSEL
           DEVELOPMENT FUNDING AGREEMENT                                                        ACCREDITATION OF HEALTHCARE          ONE RENAISSANCE BOULEVARD
           DATED AUGUST 22, 2001                                                                ORGANIZATIONS                        OAKBROOK TERRACE, IL 60181

2. 3104    COMMERCIAL SUPPORT AGREEMENT                                101620                   JOINT COMMISSION SATELLITE           NOT AVAILABLE
           EFFECTIVE AS OF MARCH 29, 2000                                                       NETWORK/PRIMEDIA HEALTHCARE

2. 3105    LETTER AGREEMENT RE: MEDICAL                                101621                   JOSE R CRUZ CESTERO, MD              TORRO SAN CRISTOBAL, #402
           LICENSE DATED OCTOBER 21, 2014                                                                                            COTO LAUREL, PR 00780

2. 3106    MASTER CONSULTANT SERVICES                                  101629                   JUNE SONNENBERG-REINES               ATTN: GENERAL COUNSEL
           AGREEMENT DATED MARCH 07, 2016                                                                                            44 WOODMONT DRIVE
                                                                                                                                     LAWRENCEVILLE, NJ 08648

2. 3107    AMENDMENT TO KAISER PERMANENTE                              101632                   KAISER FOUNDATION HEALTH PLANS       ATTN: DIRECTOR, PHARMACY
           MEDICAL CARE PROGRAM                                                                 INC.                                 CONTRACTING
           AGREEMENT EFFECTIVE AS OF APRIL                                                                                           300 PULLMAN STREET
           01, 2018                                                                                                                  ADMINISTRATION BUILDING
                                                                                                                                     LIVERMORE, CA 94551

2. 3108    PRODUCT PURCHASE AGREEMENT                                  101631                   KAISER FOUNDATION HEALTH PLANS       ATTN: DIRECTOR, PHARMACY
           EFFECTIVE AS OF MARCH 01, 2010                                                       INC.                                 CONTRACTING
                                                                                                                                     300 PULLMAN STREET
                                                                                                                                     ADMINISTRATION BUILDING
                                                                                                                                     LIVERMORE, CA 94551

2. 3109    AMENDMENT TO KAISER PERMANENTE                              101634                   KAISER FOUNDATION HOSPITALS;         ATTN: DIRECTOR, PHARMACY
           MEDICAL CARE PROGRAM                                                                 KAISER FOUNDATION HEALTH PLAN        CONTRACTING
           AGREEMENT EFFECTIVE AS OF APRIL                                                      INC., SUBSIDIARIES AND ASSOCIATED    300 PULLMAN STREET
           01, 2018                                                                             ORGANIZATIONS                        LIVERMORE, CA 94551

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2. 3110    AMENDMENT TO KAISER PERMANENTE            3/31/2020         90002                    KAISER FOUNDATION HOSPITALS;         ATTN: KATHY MITCHELL,
           MEDICAL CARE PROGRAM AGREEMENT                                                       KAISER FOUNDATION HEALTH PLAN        OPERATIONS MANAGER
           EFFECTIVE JULY 1, 2019                                                               INC., SUBSIDIARIES AND ASSOCIATED    3020 CARRINGTON MILL BLVD.
                                                                                                ORGANIZATIONS                        STE 400
                                                                                                                                     MORRISVILLE, NC 27560

2. 3111    KAISER PERMANENTE MEDICAL CARE                              90003                    KAISER FOUNDATION HOSPITALS;         ATTN: KATHY MITCHELL,
           PROGRAM AGREEMENT                                                                    KAISER FOUNDATION HEALTH PLAN        OPERATIONS MANAGER
                                                                                                INC., SUBSIDIARIES AND ASSOCIATED    3020 CARRINGTON MILL BLVD.
                                                                                                ORGANIZATIONS                        STE 400
                                                                                                                                     MORRISVILLE, NC 27560

2. 3112    PRODUCT PURCHASE AGREEMENT                                  101633                   KAISER FOUNDATION HOSPITALS;         ATTN: DIRECTOR, PHARMACY
           EFFECTIVE AS OF MARCH 01, 2010                                                       KAISER FOUNDATION HEALTH PLAN        CONTRACTING
                                                                                                INC., SUBSIDIARIES AND ASSOCIATED    300 PULLMAN STREET
                                                                                                ORGANIZATIONS                        ADMINISTRATION BUILDING
                                                                                                                                     LIVERMORE, CA 94551

2. 3113    KANTAR HEALTH LLC - OTH CW2367211         9/30/2020         106004                   KANTAR HEALTH INC                    ATTN: GENERAL COUNSEL
           AMD 2 TO SOW 2018-3 RETROSPECTIVE                                                                                         11 MADISON AVENUE
           CHART SURVEY FOR ADHD TREATMENT                                                                                           NEW YORK, NY 10010
           PATTERNS (LH.RA) EFFECTIVE JUNE 12,
           2019

2. 3114    KANTAR OTH CW2365544 AMEND 1 TO           1/30/2020         105945                   KANTAR HEALTH INC                    ATTN: GENERAL COUNSEL
           SOW RETROSPECTIVE CHART SURVEY                                                                                            11 MADISON AVENUE
           FOR ADHD TREATMENT PATTERNS                                                                                               NEW YORK, NY 10010
           LH.RA) EFFECTIVE FEBRUARY 18, 2019

2. 3115    SEARCH FIRM AGREEMENT DATED                                 101640                   KAPLAN SCIENTIFIC CONSULTANTS,       ATTN: GENERAL COUNSEL
           OCTOBER 04, 2007                                                                     INC                                  76 ELM STREET
                                                                                                                                     NEW CANAAN, CT 06840

2. 3116    TERMS AND CONDITIONS OF                                     101641                   KASOWITZ, BENSON, TORRES &           ATTN: GENERAL COUNSEL
           EMPLOYMENT DATED JANUARY 09, 2014                                                    FRIEDMAN LLP                         2200 PENNSYLVANIA AVEENUE,
                                                                                                                                     NW
                                                                                                                                     SUITE 680 WEST
                                                                                                                                     WASHINGTON, DC 20037

2. 3117    NOTIFICATION AND CONSENT LETTER                             101642                   KAYE SCHOLER LLP                     ATTN: GENERAL COUNSEL
           AGREEMENT DATED JULY 29, 2013                                                                                             425 PARK AVENUE
                                                                                                                                     NEW YORK, NY 10022-3598

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2. 3118    SEARCH FIRM AGREEMENT DATED MAY                             101643                   KEEFER HEALTHCARE RECRUITING,        ATTN: GENERAL COUNSEL
           14, 2009                                                                             INC                                  1705 GASCONY ROAD
                                                                                                                                     ENCINITAS, CA 92024

2. 3119    SEARCH FIRM AGREEMENT DATED MAY                             101645                   KENZIE & COMPANY, LLC D/B/A THE      ATTN: GENERAL COUNSEL
           15, 2013                                                                             MCINTYRE GROUP                       63 GLOVER AVENUE
                                                                                                                                     NORWALK, CT 06850

2. 3120    AMENDMENT #1: TO MASTER SITE                                101648                   KEYSTONE CLINICAL SOLUTIONS, INC.    ATTN: GENERAL COUNSEL
           MANAGEMENT ORGANIZATION                                                                                                   3900 INDUSTRIAL PARK DRIVE,
           AGREEMENT EFFECTIVE AS OF                                                                                                 SUITE 8
           OCTOBER 29, 2003                                                                                                          ALTOONA, PA 16602

2. 3121    CONSULTANT SERVICES AGREEMENT                               101664                   KIMBERLY NEW                         724 HAMPTON ROADS DRIVE
           DATED OCTOBER 31, 2016                                                                                                    KNOXVILLE, TN 37934

2. 3122    TOLLING AND STANDSTILL AGREEMENT                            101665                   KING & SPALDING LLP                  ATTN: GENERAL COUNSEL
           DATED JANUARY 29, 2014                                                                                                    1180 PEACHTREE STREET
                                                                                                                                     N.E.
                                                                                                                                     ATLANTA, GA 30309-3521

2. 3123    LEGAL RETAINER AGREEMENT DATED                              101667                   KIRKLAND & ELLIS LLP                 ATTN: GENERAL COUNSEL
           NOVEMBER 17, 2014                                                                                                         601 LEXINGTON AVE
                                                                                                                                     NEW YORK, NY 10022

2. 3124    SEARCH FIRM AGREEMENT DATED MAY                             101671                   KLEIN HERSH INTERNATIONAL            ATTN: GENERAL COUNSEL
           19, 2009                                                                                                                  2300 COMPUTER AVENUE, SUITE
                                                                                                                                     C-15
                                                                                                                                     WILLOW GROVE, PA 19090

2. 3125    CONSULTANT SERVICES AGREEMENT                               101672                   KLICK USA, INC. DBA KATALYST         ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MAY 24, 2018                                                                                              500 NORTH MICHIGAN AVENUE
                                                                                                                                     SUITE 600
                                                                                                                                     CHICAGO, IL

2. 3126    CONSULTANT SERVICES AGREEMENT                               101676                   KONSULT PHARMA SERVICES LTD          ATTN: GENERAL COUNSEL
           DATED NOVEMBER 01, 2015                                                                                                   C/O BARRETT & CO.
                                                                                                                                     TITHE HOUSE, 15 DUKES RIDE,
                                                                                                                                     CROWTHORNE
                                                                                                                                     BERKS RG45 6LZ



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2. 3127    MASTER PROFESSIONAL SERVICES                                101680                   KPMG LLP                           ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                                                               550 SOUTH HOPE STREET
           JANUARY 18, 2016                                                                                                        LOS ANGELES, CA 90071

2. 3128    LEGAL RETAINER AGREEMENT DATED                              101682                   KRIEG DEVAULT LLP                  ATTN: GENERAL COUNSEL
           MARCH 07, 2013                                                                                                          30 NORTH LASALLE STREET,
                                                                                                                                   SUITE 2800
                                                                                                                                   CHICAGO, IL 60602

2. 3129    PATENT ENFORCEMENT AGREEMENT                                101705                   LABOPHARM EUROPE LIMITED           ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JANUARY 28, 2009                                                                                        5 THE SEAPOINT BUILDING, 45
                                                                                                                                   CLONTARF ROAD
                                                                                                                                   DUBLIN
                                                                                                                                   IRAN, ISLAMIC REPUBLIC OF

2. 3130    WAIVER OF CERTAIN CLOSING                                   101702                   LABOPHARM EUROPE LIMITED           ATTN: GENERAL COUNSEL
           CONDITION BY LABOPHARM EUROPE                                                                                           5 THE SEAPOINT BUILDING, 45
           LIMITED DATED AUGUST 15, 2005                                                                                           CLONTARF ROAD, DUBLIN 3,
                                                                                                                                   IRELAND

2. 3131    LARRY KLASSEN OTH CW2366062 NON-          3/31/2021         105968                   LARRY KLASSEN                      NOT AVAILABLE
           COMPENSATED AUTHOR (LH.RA)
           EFFECTIVE MARCH 25, 2019

2. 3132    CONSULTANT SERVICES AGREEMENT                               101741                   LATOYA HAYNES                      ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF FEBRUARY 13, 2019                                                                                       771 WYNGATE ROAD
                                                                                                                                   SOMERDALE, NJ 08083

2. 3133    SEARCH FIRM AGREEMENT DATED                                 101742                   LAUNCH EXECUTIVE CONSULTANTS       ATTN: GENERAL COUNSEL
           DECEMBER 09, 2009                                                                                                       1829 PINE STREET, #202
                                                                                                                                   PHILADELPHIA, PA 19103

2. 3134    FIRST AMENDMENT TO LETTER OF                                101743                   LAURA E. WALLACE                   ATTN: GENERAL COUNSEL
           AGREEMENT DATED NOVEMBER 30,                                                                                            1 WHIPPOORWILL ROAD
           2016                                                                                                                    BETHEL, CT 06801

2. 3135    MASTER CONSULTANT SERVICES                                  101744                   LAURA ROONY, DNP, APRN, FNP-BC,    ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JULY                                                       DCC                                6901 BERTNER AVENUE
           01, 2016                                                                                                                HOUSTON, TX 77030




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2. 3136    PRODUCT DEVELOPMENT AND                                     101746                   LAUREATE PHARMA L.P               ATTN: GENERAL COUNSEL
           CONTRACT MANUFACTURING                                                                                                 201 COLLEGE ROAD EAST
           AGREEMENT DATED APRIL 27, 2004                                                                                         PRINCETON, NJ 07512

2. 3137    MASTER CONSULTANT SERVICES                                  101747                   LAUREN DELUCIA                    ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JULY                                                                                         1702 73RD STREET
           01, 2016                                                                                                               NORTH BERGEN, NJ 07047

2. 3138    AMENDMENT #1 TO MASTER                                      101749                   LAZAR ASSOCIATES, LLC / DR.       ATTN: GENERAL COUNSEL
           CONSULTANT SERVICES AGREEMENT                                                        JEFFREY LAZAR                     107 NAUTILUS AVENUE
           EFFECTIVE AS OF MAY 10, 2016                                                                                           AUSTIN, TX 78738

2. 3139    MASTER CONSULTING SERVICES                                  101748                   LAZAR ASSOCIATES, LLC / DR.       ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF MARCH                                                      JEFFREY LAZAR                     107 NAUTILUS AVENUE
           09, 2016                                                                                                               AUSTIN, TX 78738

2. 3140    CONSULTANT SERVICES AGREEMENT                               101750                   LAZAR CREATIVE GROUP              ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF NOVEMBER 01, 2017                                                                                      4 DAVENPORT TERRACE
                                                                                                                                  WEST NYACK, NY 10994

2. 3141    AGREEMENT AND MUTUAL RELEASE                                101752                   LEAPFROGRX, INC.                  NOT AVAILABLE
           EFFECTIVE AS OF OCTOBER 03, 2011

2. 3142    CONSULTANT SERVICES AGREEMENT                               101754                   LEFERMAN ASSOCIATES INC           ATTN: GENERAL COUNSEL
           DATED OCTOBER 01, 2000                                                                                                 22 KNAPP STREET
                                                                                                                                  STAMFORD, CT 06907

2. 3143    INDEMNIFICATION AGREEMENT                                   101756                   LEO CHRETIEN MD                   NOT AVAILABLE
           EXECUTED JUNE 14, 2005

2. 3144    CONSULTANT SERVICES AGREEMENT                               101757                   LEVERAGE GLOBAL CONSULTING LLC    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF FEBRUARY 28, 2018                                                                                      37 BAY VIEW DRIVE
                                                                                                                                  JAMESTOWN, RI 02835

2. 3145    AMENDMENT TO SUBSCRIPTION PLAN                              101759                   LEXISNEXIS                        ATTN: GENERAL COUNSEL
           DATED DECEMBER 01, 2001

2. 3146    AMENDMENT TO SUBSCRIPTION PLAN                              101758                   LEXISNEXIS                        ATTN: GENERAL COUNSEL
           DATED DECEMBER 21, 2001



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2. 3147    AMENDMENT TO PROJECT AGREEMENT                              101765                   LIEBERMAN RESEARCH WORLDWIDE       ATTN: GENERAL COUNSEL
           DATED JULY 01, 2008                                                                                                     7777 CENTER AVENUE
                                                                                                                                   SUITE 440
                                                                                                                                   HUNTINGTON BEACH, CA 92647

2. 3148    PROJECT AGREEMENT DATED JULY 01,                            101767                   LIEBERMAN RESEARCH WORLDWIDE       ATTN: GENERAL COUNSEL
           2008                                                                                                                    7777 CENTER AVENUE
                                                                                                                                   SUITE 440
                                                                                                                                   HUNTINGTON BEACH, CA 92647

2. 3149    PROJECT AGREEMENT DATED MAY 01,                             101766                   LIEBERMAN RESEARCH WORLDWIDE       ATTN: GENERAL COUNSEL
           2008                                                                                                                    7777 CENTER AVENUE
                                                                                                                                   SUITE 440
                                                                                                                                   HUNTINGTON BEACH, CA 92647

2. 3150    EMPLOYEE WELFARE BENEFIT PLAN                               101769                   LIFE INSURANCE COMPANY OF NORTH    NOT AVAILABLE
           APPOINTMENT FOR CLAIM FIDUCIARY                                                      AMERICA
           DATED JANUARY 01, 2008

2. 3151    LIFE INSURANCE COMPANY OF NORTH                             101771                   LINA BENEFIT PAYMENTS, INC.        ATTN: GENERAL COUNSEL
           AMERICA EFFECTIVE AS OF JANUARY                                                                                         CIGNA GROUP INSURANCE
           01, 2008                                                                                                                TAX COMPLIANCE UNIT, S-M16,
                                                                                                                                   900 COTTAGE GROVE ROAD
                                                                                                                                   HARTFORD, CT 06152

2. 3152    CONSULTANT SERVICES AGREEMENT                               101775                   LINDA CALISTI                      224 NORTH SECOND STREET
           DATED FEBRUARY 10, 2000                                                                                                 JEANNETTE, PA 15644

2. 3153    CONSULTANT SERVICES AGREEMENT                               101776                   LINDA HARPER, M.D.                 ATTN: GENERAL COUNSEL
           DATED JANUARY 01, 2019                                                                                                  618 E. SOUTH STREET
                                                                                                                                   SUITE 100
                                                                                                                                   ORLANDO, FL 32801

2. 3154    CONSULTANT SERVICES AGREEMENT                               101777                   LINEBERRY RESEARCH ASSOCIATES      ATTN: GENERAL COUNSEL
           DATED AUGUST 05, 1997                                                                                                   79 T.W. ALEXANDER DRIVE
                                                                                                                                   BLDG. 4401, SUITE 219, PO BOX
                                                                                                                                   14626
                                                                                                                                   RESEARCH TRIANGLE PARK, NC
                                                                                                                                   27709




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2. 3155    MASTER CONSULTANT SERVICES                                  101790                   LISA BYRD PHD, FNP-BC, GNP-BC      ATTN: GENERAL COUNSEL
           AGREEMENT DATED JULY 01, 2016                                                                                           475 CHEYENNE LANE
                                                                                                                                   MADISION, WI 39110

2. 3156    CONSULTANT SERVICES AGREEMENT                               101791                   LISA GALBRAITH                     ATTN: GENERAL COUNSEL
           DATED JANUARY 18, 2019                                                                                                  100 BOOTH HILL ROAD
                                                                                                                                   SHELTON, CT 06484

2. 3157    MASTER CONSULTANT SERVICES                                  101792                   LISA MARSCH, PHD                   ATTN: GENERAL COUNSEL
           AGREEMENT DATED SEPTEMBER 01,                                                                                           15 GRANT ROAD
           2016                                                                                                                    HANOVER, NH 03755

2. 3158    CONSULTANT SERVICES AGREEMENT                               101793                   LISA MELILLI, MPH                  ATTN: GENERAL COUNSEL
           DATED JULY 18, 1997                                                                                                     2 HIGH STREET
                                                                                                                                   KATONAH, NY 10536

2. 3159    CONSULTANT SERVICES AGREEMENT                               101794                   LISA MELILLI, MPH                  ATTN: GENERAL COUNSEL
           DATED NOVEMBER 03, 1997                                                                                                 2 HIGH STREET
                                                                                                                                   KATONAH, NY 10536

2. 3160    CONSULTANT SERVICES AGREEMENT                               101796                   LOIS R. GRUMET                     ATTN: GENERAL COUNSEL
           DATED MARCH 18, 1998                                                                                                    9 MATSON COURT
                                                                                                                                   CHESTNUT RIDGE, NJ 10977

2. 3161    AMENDMENT #1 TO CONSULTANT                                  101798                   LOUIS BAXTER JR., MD               NOT AVAILABLE
           SERVICES AGREEMENT DATED
           JANUARY 30, 2017

2. 3162    STATEMENT OF WORK UNDER MASTER                              101799                   LOUIS E. BAXTER SR. M.D.           NOT AVAILABLE
           CONSULTANT SERVICES AGREEMENT
           EFFECTIVE AS OF JANUARY 30, 2017

2. 3163    STATEMENT OF WORK UNDER MASTER                              101800                   LOUIS E. BAXTER SR. M.D.           NOT AVAILABLE
           CONSULTANT SERVICES AGREEMENT
           EFFECTIVE AS OF JANUARY 30, 2017

2. 3164    AMENDMENT #1 TO CONSULTING                                  101802                   LOUIS W. SULLIVAN, M.D.            ATTN: NORTH POWERS FERRY
           LETTER OF AGREEMENT DATED APRIL                                                                                         CORPORATION
           23, 2003                                                                                                                5287 NORTH POWERS FERRY
                                                                                                                                   ROAD
                                                                                                                                   ATLANTA, GA 30327

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2. 3165    SEARCH FIRM AGREEMENT DATED                                 101808                   LT STAFFING, INC.                  ATTN: GENERAL COUNSEL
           JULY 26, 2012                                                                                                           373 N. MAIN STREET
                                                                                                                                   FALL RIVER, MA 02720

2. 3166    COMMON INTEREST PRIVILEGE                                   101837                   LTS LOHMANN THERAPIE-SYSTEME AG    ATTN: GENERAL COUNSEL
           AGREEMENT DATED JULY 11, 2011                                                                                           LOHMANNSTRASSE 2
                                                                                                                                   ANDERNACH D-56626
                                                                                                                                   GEORGIA

2. 3167    LETTER AGREEMENT RE:                                        101820                   LTS LOHMANN THERAPIE-SYSTEME AG    ATTN: GENERAL COUNSEL
           DEVELOPMENT OF ADDITIONAL                                                                                               LOHMANNSTRASSE 2
           DOSAGE STRENGTH DATED DECEMBER                                                                                          ANDERNACH D-56626
           01, 2009                                                                                                                GEORGIA

2. 3168    LETTER AGREEMENT RE:                                        101823                   LTS LOHMANN THERAPIE-SYSTEME AG    ATTN: GENERAL COUNSEL
           DEVELOPMENT OF ADDITIONAL                                                                                               LOHMANNSTRASSE 2
           DOSAGE STRENGTH EFFECTIVE AS OF                                                                                         ANDERNACH D-56626
           JUNE 01, 2012                                                                                                           GEORGIA

2. 3169    LETTER AGREEMENT RE:                                        101816                   LTS LOHMANN THERAPIE-SYSTEME AG    ATTN: GENERAL COUNSEL
           DEVELOPMENT OF ADDITIONAL                                                                                               LOHMANNSTRASSE 2
           DOSAGE STRENGTHS DATED APRIL 01,                                                                                        ANDERNACH D-56626
           2008                                                                                                                    GEORGIA

2. 3170    LETTER AGREEMENT RE:                                        101819                   LTS LOHMANN THERAPIE-SYSTEME AG    ATTN: GENERAL COUNSEL
           DEVELOPMENT OF SECOND                                                                                                   LOHMANNSTRASSE 2
           GENERATION PATCH DATED JUNE 23,                                                                                         ANDERNACH D-56626
           2009                                                                                                                    GEORGIA

2. 3171    NON BINDING MANUFACTURING OFFER                             101838                   LTS LOHMANN THERAPIE-SYSTEME AG    ATTN: GENERAL COUNSEL
           DATED AUGUST 14, 2015                                                                                                   LOHMANNSTRASSE 2
                                                                                                                                   ANDERNACH D-56626
                                                                                                                                   GEORGIA

2. 3172    NON BINDING MANUFACTURING OFFER                             101839                   LTS LOHMANN THERAPIE-SYSTEME AG    ATTN: GENERAL COUNSEL
           DATED AUGUST 14, 2015                                                                                                   LOHMANNSTRASSE 2
                                                                                                                                   ANDERNACH D-56626
                                                                                                                                   GEORGIA




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2. 3173    TECHNOLOGY TRANSFER AGREEMENT                               101827                   LTS LOHMANN THERAPIE-SYSTEME AG    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF NOVEMBER 03, 2014                                                                                       LOHMANNSTRASSE 2
                                                                                                                                   ANDERNACH D-56626
                                                                                                                                   GEORGIA

2. 3174    TECHNOLOGY TRANSFER AND                                     101817                   LTS LOHMANN THERAPIE-SYSTEME AG    ATTN: GENERAL COUNSEL
           INVESTMENT AGREEMENT EFFECTIVE                                                                                          LOHMANNSTRASSE 2
           AS OF JUNE 01, 2009                                                                                                     ANDERNACH D-56626
                                                                                                                                   GEORGIA

2. 3175    SEARCH FIRM AGREEMENT DATED                                 101846                   LUCAS GROUP MILITARY TRANSITION    ATTN: GENERAL COUNSEL
           NOVEMBER 06, 2013                                                                    DIVISION                           1747 PENNSYLVANIA AVENUE NW,
                                                                                                                                   SUITE 425
                                                                                                                                   WASHINGTON, DC 20006

2. 3176    FINAL PROTOCOL: DETERMINATION OF                            101848                   MACCINE PTE LTD                    ATTN: DAVID HYGATE, BSC, TEAM
           SELF-ADMINISTRATION ABUSE                                                                                               LEADER, PAIN AND
           LIABILITY POTENTIAL OF V117884 IN                                                                                       INFLAMMATION;ALEX WILSON,
           CYNOMOLGUS MONKEYS EXECUTED                                                                                             BSC, PHD, CHIEF SCIENTIFIC
           APRIL 13, 2010                                                                                                          OFFICER
                                                                                                                                   10 SCIENCE PARK ROAD
                                                                                                                                   #01-05 THE ALPHA
                                                                                                                                   SINGAPORE SCIENCE PARK II
                                                                                                                                   117684
                                                                                                                                   SLOVENIA

2. 3177    PROTOCOL AMENDMENT NO 1. TO                                 101850                   MACCINE PTE LTD                    ATTN: GENERAL COUNSEL
           MACCINE STUDY NO:LHX0001                                                                                                10 SCIENCE PARK ROAD
           EXECUTED JULY 18, 2011                                                                                                  #01-05 THE ALPHA, SINGAPORE
                                                                                                                                   SCIENCE PARK II 117684
                                                                                                                                   SLOVENIA

2. 3178    PROTOCOL AMENDMENT NO 1. TO                                 101849                   MACCINE PTE LTD                    ATTN: GENERAL COUNSEL
           MACCINE STUDY NO:LHX0002                                                                                                10 SCIENCE PARK ROAD
           EXECUTED JUNE 07, 2011                                                                                                  #01-05 THE ALPHA, SINGAPORE
                                                                                                                                   SCIENCE PARK II 117684
                                                                                                                                   SLOVENIA




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2. 3179    FINAL PROTOCOL: DETERMINATION OF                            101851                   MACCINE PTE LTD.                  ATTN: DAVID HYGATE, BSC, TEAM
           SELF-ADMINISTRATION ABUSE                                                                                              LEADER, PAIN AND
           LIABILITY POTENTIAL OF V117290 IN                                                                                      INFLAMMATION;ALEX WILSON,
           CYNOMOLGUS MONKEYS EXECUTED                                                                                            BSC, PHD, CHIEF SCIENTIFIC
           MARCH 12, 2010                                                                                                         OFFICER
                                                                                                                                  10 SCIENCE PARK ROAD
                                                                                                                                  #01-05 THE ALPHA
                                                                                                                                  SINGAPORE SCIENCE PARK II
                                                                                                                                  117684
                                                                                                                                  SLOVENIA

2. 3180    CENTRAL LABORATORY                                          102295                   MALLINCKRODT PHARMACEUTICALS      ATTN: GENERAL COUNSEL
           INDEMNIFICATION AGREEMENT                                                                                              675 MCDONNELL BLVD.
           EFFECTIVE AS OF JULY 28, 2015                                                                                          HAZELWOOD, MO 63042

2. 3181    TRANSFER OF REGULATORY                                      102296                   MALLINCKRODT PHARMACEUTICALS      ATTN: GENERAL COUNSEL
           OBLIGATIONS EFFECTIVE AS OF                                                                                            675 MCDONNELL BLVD.
           SEPTEMBER 28, 2015                                                                                                     HAZELWOOD, MO 63042

2. 3182    TRANSFER OF REGULATORY                                      101866                   MALLINCKRODT PHARMACEUTICALS      ATTN: GENERAL COUNSEL
           OBLIGATIONS EXECUTED SEPTEMBER                                                                                         675 MCDONNELL BLVD.
           28, 2015                                                                                                               HAZELWOOD, MO 63042

2. 3183    EIGHT AMENDMENT TO PURCHASING                               101869                   MANAGED HEALTH CARE ASSOCIATES    ATTN: JACQUELYN CHAGULA,
           AGREEMENT EFFECTIVE AS OF APRIL                                                      INC                               CONTRACT MANAGER
           02, 2018                                                                                                               25-A VREELAND ROAD, SUITE 200
                                                                                                                                  FLORHAM PARK, NJ 07932

2. 3184    FIRST AMENDMENT TO THE                                      101868                   MANAGED HEALTH CARE ASSOCIATES    ATTN: JACQUELYN CHAGULA,
           PHARMACEUTICAL PURCHASE                                                              INC                               CONTRACT MANAGER
           AGREEMENT EFFECTIVE AS OF APRIL                                                                                        25-A VREELAND ROAD, SUITE 200
           02, 2018                                                                                                               FLORHAM PARK, NJ 07932

2. 3185    LETTER PURCHASING AGREEMENT                                 101867                   MANAGED HEALTH CARE ASSOCIATES    ATTN: PRESIDENT
           DATED NOVEMBER 01, 2017                                                              INC                               25-A VREELAND ROAD, SUITE 200
                                                                                                                                  FLORHAM PARK, NJ 07932

2. 3186    SECOND AMENDMENT TO THE                                     101870                   MANAGED HEALTH CARE ASSOCIATES    ATTN: JACQUELYN CHAGULA,
           PHARMACEUTICAL PURCHASE                                                              INC                               CONTRACT MANAGER
           AGREEMENT EFFECTIVE AS OF                                                                                              25-A VREELAND ROAD, SUITE 200
           OCTOBER 01, 2018                                                                                                       FLORHAM PARK, NJ 07932


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2. 3187    THIRD AMENDMENT TO THE                                      101871                   MANAGED HEALTH CARE ASSOCIATES    ATTN: JACQUELYN CHAGULA,
           PHARMACEUTICAL PURCHASE                                                              INC                               CONTRACT MANAGER
           AGREEMENT EFFECTIVE AS OF                                                                                              25-A VREELAND ROAD, SUITE 200
           OCTOBER 15, 2018                                                                                                       FLORHAM PARK, NJ 07932

2. 3188    SEARCH FIRM AGREEMENT DATED MAY                             101881                   MANAGEMENT RECRUITERS OF SALT     ATTN: GENERAL COUNSEL
           02, 2006                                                                             LAKE CITY, INC.                   6600 S 1100 E SUITE 350
                                                                                                                                  SALT LAKE CITY, UT 84121

2. 3189    AMENDMENT NO. 1 TO MASTER                                   101886                   MARCIA A. PALMER, PHARM.D.        NOT AVAILABLE
           CONSULTANT SERVICES AGREEMENT
           DATED SEPTEMBER 01, 2017

2. 3190    MARCUM LLP - ADDENDUM 1 TO               12/31/2049         106108                   MARCUM LLP                        NOT AVAILABLE
           ENGAGEMENT LETTER 17APR19 (M.
           GERACI) EFFECTIVE APRIL 17, 2019

2. 3191    MARCUM LLP - ENGAGEMENT LETTER            2/18/2020         106115                   MARCUM LLP                        NOT AVAILABLE
           19FEB19 (M. GERACI.RA) EFFECTIVE
           FEBRUARY 19, 2019

2. 3192    AUTHORSHIP AGREEMENT DATED                                  101887                   MAREN EGGERS                      ATTN: GENERAL COUNSEL
           OCTOBER 09, 2017                                                                                                       ROSENBERGSTRABE 85
                                                                                                                                  STRUTTGART 70193
                                                                                                                                  GEORGIA

2. 3193    CONSULTANT SERVICES AGREEMENT                               101888                   MARGARET D. WEISS M.D., PH.D.     ATTN: GENERAL COUNSEL
           DATED JANUARY 01, 2019                                                                                                 1493 CAMBRIDGE STREET
                                                                                                                                  CAMBRIDGE, MA 02139

2. 3194    MARGARET WEISS, MD, PHD, FRCP OTH         3/31/2021         106022                   MARGARET WEISS                    NOT AVAILABLE
           CW2366017 NON-COMPENSATED
           AUTHORSHIP (LH.RA) EFFECTIVE
           MARCH 18, 2019

2. 3195    MARK A. STEIN, PH.D. OTH CW2365927        3/31/2021         106001                   MARK A. STEIN                     NOT AVAILABLE
           AUTHORSHIP (LH.RA) EFFECTIVE
           MARCH 18, 2019




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2. 3196    CONSULTANT SERVICES AGREEMENT                               101890                   MARKETVISION RESEARCH, INC.       ATTN: GENERAL COUNSEL
           DATED JANUARY 03, 2018                                                                                                 5151 PFEIFFER ROAD
                                                                                                                                  SUITE 300
                                                                                                                                  BLUE ASH, OH 45242

2. 3197    MARTIN A. KATZMAN OTH CW2366290           4/30/2021         105959                   MARTIN A. KATZMAN                 NOT AVAILABLE
           NONCOMPENSATED AUTHORSHIP
           (LH.RA) EFFECTIVE APRIL 08, 2019

2. 3198    CONSULTANT SERVICES AGREEMENT                               101892                   MARY CLARK                        5101 BELLGRAVE CIRCLE
           DATED AUGUST 03, 1998                                                                                                  WILMINGTON, NC 28403

2. 3199    CONSULTANT SERVICES AGREEMENT                               101891                   MARY CLARK                        2300 AVENT FERRY ROAD
           DATED AUGUST 21, 1997                                                                                                  #F-5
                                                                                                                                  RALEIGH, NC 27606

2. 3200    CONSULTANCY AGREEMENT DATED                                 101893                   MARY PALATINI                     ATTN: GENERAL COUNSEL
           JUNE 30, 1997                                                                                                          31 NUGENT DRIVE
                                                                                                                                  CLIFTON, NJ 07012

2. 3201    CONSULTANT SERVICES AGREEMENT                               101894                   MARYPAUL LABORATORIES, INC.       ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JULY 01, 1997                                                                                          P.O. BOX 952
                                                                                                                                  70 SPARTA AVENUE
                                                                                                                                  SPARTA, NJ 07871

2. 3202    FUND AGREEMENT DATED JANUARY 25,                            101899                   MASSACHUSETTS GENERAL HOSPITAL    ATTN: GENERAL COUNSEL
           2002                                                                                                                   DEVELOPMENT OFFICE
                                                                                                                                  100 CHARLES RIVER PLAZA,
                                                                                                                                  SUITE 600
                                                                                                                                  BOSTON, MA 02114-2792

2. 3203    FUND AGREEMENT DATED MARCH 05,                              101900                   MASSACHUSETTS GENERAL HOSPITAL    ATTN: GENERAL COUNSEL
           2003                                                                                                                   55 FRUIT STREET
                                                                                                                                  BOSTON, MA 02114-3117

2. 3204    FUND AGREEMENT DATED MARCH 05,                              101901                   MASSACHUSETTS GENERAL HOSPITAL    ATTN: GENERAL COUNSEL
           2003                                                                                                                   BOSTON, MA 02114-2696




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2. 3205    FUND AGREEMENT EXECUTED                                     101902                   MASSACHUSETTS GENERAL HOSPITAL     ATTN: GENERAL COUNSEL
           FEBRUARY 08, 2002                                                                                                       100 CHARLES RIVER PLAZA
                                                                                                                                   SUITE 600
                                                                                                                                   BOSTON, MA 02114-2792

2. 3206    CONSULTANT SERVICES AGREEMENT                               101904                   MATT BACK GOVERNMENT RELATIONS     ATTN: GENERAL COUNSEL
           DATED MAY 01, 2017                                                                                                      1301 I STREET
                                                                                                                                   SACRAMENTO, CA 95814

2. 3207    STATEMENT OF WORK UNDER MASTER                              101905                   MATTESON CONSULTING GROUP          NOT AVAILABLE
           CONSULTANT SERVICES AGREEMENT
           DATED FEBRUARY 13, 2003

2. 3208    CONSULTANT SERVICES AGREEMENT                               101908                   MAYO FOUNDATION FOR MEDICAL        ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF DECEMBER 12, 1995                                                    EDUCATION AND RESEARCH             200 FIRST STREET SOUTHWEST
                                                                                                                                   ROCHESTER, MN 55905

2. 3209    REPRESENTATION AGREEMENT DATED                              101913                   MCDERMOTT WILL & EMERY LLP         ATTN: GENERAL COUNSEL
           DECEMBER 04, 2009                                                                                                       340 MADISON AVENUE
                                                                                                                                   NEW YORK, NY 10173

2. 3210    STATEMENT OF SERVICES EFFECTIVE                             101923                   MCKINSEL & COMPANY, INC.           ATTN: GENERAL COUNSEL
           AS OF JANUARY 12, 2016                                                                                                  1 DEFOREST AVENUE
                                                                                                                                   SUITE 300
                                                                                                                                   SUMMIT, NJ 07901

2. 3211    AMENDMENT NO. 1 TO MASTER                                   101927                   MCKINSEY & COMPANY, INC. UNITED    ATTN: GENERAL COUNSEL
           CONSULTING AGREEMENT DATED                                                           STATES                             1 DEFOREST AVENUE
           OCTOBER 01, 2016                                                                                                        SUITE 300
                                                                                                                                   SUMMIT, NJ 07901

2. 3212    MASTER CONSULTING AGREEMENT                                 101925                   MCKINSEY & COMPANY, INC. UNITED    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MARCH 01, 2004                                                       STATES                             3 LANDMARK SQUARE, SUITE 100
                                                                                                                                   STAMFORD, CT 06901

2. 3213    STATEMENT OF SERVICES EFFECTIVE                             101928                   MCKINSEY & COMPANY, INC. UNITED    ATTN: GENERAL COUNSEL
           AS OF JANUARY 30, 2017                                                               STATES                             1 DEFOREST AVENUE
                                                                                                                                   SUITE 300
                                                                                                                                   SUMMIT, NJ 07901




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2. 3214    STATEMENT OF SERVICES TO MASTER                             101924                   MCKINSEY & COMPANY, INC. UNITED    ATTN: GENERAL COUNSEL
           CONSULTING AGREEMENT DATED                                                           STATES                             1 DEFOREST AVENUE
           MARCH 01, 2004                                                                                                          SUITE 300
                                                                                                                                   SUMMIT, NJ 07901

2. 3215    STATEMENT OF SERVICES TO MASTER                             101926                   MCKINSEY & COMPANY, INC. UNITED    ATTN: GENERAL COUNSEL
           CONSULTING AGREEMENT EFFECTIVE                                                       STATES                             1 DEFOREST AVENUE
           AS OF JANUARY 12, 2016                                                                                                  SUITE 300
                                                                                                                                   SUMMIT, NJ 07901

2. 3216    ENGAGEMENT LETTER DATED JUNE 03,                            101930                   MCKOOL SMITH                       ATTN: GENERAL COUNSEL
           2005                                                                                                                    300 WEST SIXTH STREET, SUITE
                                                                                                                                   1700
                                                                                                                                   AUSTIN, TX 78701

2. 3217    CONSULTANT SERVICES AGREEMENT                               101931                   MCMAHON PUBLISHING GROUP           ATTN: GENERAL COUNSEL
           DATED OCTOBER 16, 2017                                                                                                  545 WEST 45TH STREET
                                                                                                                                   8TH FLOOR
                                                                                                                                   NEW YORK, NY 10036

2. 3218    PROJECT AGREEMENT DATED                                     101932                   MD LINX, INC.                      ATTN: GENERAL COUNSEL
           DECEMBER 01, 2001                                                                                                       1025 VERMOT AVENUE
                                                                                                                                   N2 SUITE 810
                                                                                                                                   WASHINGTON, DC 20005

2. 3219    REVISED CLINICAL AGREEMENT DATED                            101934                   MDS HARRIS LABORATORIES, INC.      ATTN: ACCOUNTS RECEIVABLE
           JUNE 02, 1997                                                                                                           621 ROSE STREET
                                                                                                                                   PO BOX 80837
                                                                                                                                   LINCOLN, NE 68501

2. 3220    REVISED CLINICAL AGREEMENT FOR                              101936                   MDS HARRIS LABORATORIES, LTD.      ATTN: ACCOUNTS RECEIVABLE
           PROTOCOL HY97-0804 DATED                                                                                                621 ROSE STREET
           OCTOBER 03, 1997                                                                                                        PO BOX 80837
                                                                                                                                   LINCOLN, NE 68501

2. 3221    DISCLOSURE LETTER AGREEMENT                                 101937                   MEBIAS DISCOVERY, LLC              ATTN: GENERAL COUNSEL
           DATED MARCH 16, 2017                                                                                                    3001 MARKET STREET
                                                                                                                                   SUITE 140
                                                                                                                                   PHILADELPHIA, PA 19104




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2. 3222    REGARDING TO THE TERMS,                                     101940                   MEDICAL ANSWERS                    ATTN: GENERAL COUNSEL
           CONDITIONS AND PURPOSES OF AN
           EDUCATIONAL GRANT BETWEEN
           PURDUE PHARMA L.P. AND MEDICAL
           ANSWERS DATED JANUARY 18, 2000

2. 3223    MEDICAL RESEARCH CONSULTANTS              7/30/2022         106003                   MEDICAL RESEARCH CONSULTANTS       ATTN: GENERAL COUNSEL
           OTH CW2367192 AMEND. 3 TO MSA                                                                                           10114 W. SAM HOUSTON
           (LH.RA) EFFECTIVE JUNE 06, 2019                                                                                         PARKWAY SOUTH, SUITE 200
                                                                                                                                   HOUSTON, TX 77099

2. 3224    AGREEMENT DATED AUGUST 31, 2019                             106306                   MEHAFFYWEBER PC                    ATTN: JAMES MARTINGANO
                                                                                                                                   500 DALLAS
                                                                                                                                   SUITE 1200
                                                                                                                                   HOUSTON, TX 77002

2. 3225    AMENDMENT TO REPORTING                                      101955                   MEIJI SEIKA KAISHA, LTD.           ATTN: GENERAL COUNSEL
           AGREEMENT DATED MARCH 20, 2003                                                                                          4-16, KYOBASHI 2-CHROME
                                                                                                                                   CHUO-KU TOKYO, JAPAN 104-8002

2. 3226    LETTER AGREEMENT DATED JUNE 15,                             101953                   MEIJI SEIKA KAISHA, LTD.           ATTN: GENERAL COUNSEL
           2004                                                                                                                    4-16 KYOBASHI 2 CHOME
                                                                                                                                   CHUO-KU TOKYO, JAPAN 104-8002

2. 3227    SPECTRACEF ADDITIONAL INCENTIVE                             101956                   MEJI SEIKA KAISHA, LTD.            ATTN: GENERAL COUNSEL
           PLAN-4TH QUARTER 2004 DATED                                                                                             MEJI SEIKA KAISHA, LTD. 4-16,
           DECEMBER 03, 2004                                                                                                       KYOBASHI 2-CHOME,
                                                                                                                                   CHUO-KU, TOKOYO 104-8002
                                                                                                                                   JAPAN

2. 3228    CONSULTANT SERVICES AGREEMENT                               101960                   MERANT INC.                        ATTN: GENERAL COUNSEL
           DATED OCTOBER 09, 2000                                                                                                  9420 KEY WEST AVENUE
                                                                                                                                   ROCKVILLE, MD 20850

2. 3229    CONSULTANT SERVICES AGREEMENT                               101959                   MERANT INC.                        ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF APRIL 09, 2001                                                                                          9420 KEY WEST AVENUE
                                                                                                                                   ROCKVILLE, MD 20850

2. 3230    AMENDMENT NO. 9 DATED FEBRUARY                              101971                   MERIDAN COMP OF NEW YORK, INC.     ATTN: GENERAL COUNSEL
           02, 2007                                                                                                                275 MADISON AVE FL 32, NEW
                                                                                                                                   YORK, NY 10016

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2. 3231    BID EXCEPTION FORM DATED APRIL 27,                          101967                   MERIDAN COMP OF NEW YORK, INC.    ATTN: GENERAL COUNSEL
           2018                                                                                                                   275 MADISON AVE FL 32, NEW
                                                                                                                                  YORK, NY 10016

2. 3232    MERIDIAN COMP AMD 11 (STAMFORD)                             101972                   MERIDAN COMP OF NEW YORK, INC.    ATTN: GENERAL COUNSEL
           CW2361510 (RJ.RA) DATED MARCH 01,                                                                                      275 MADISON AVE FL 32, NEW
           2018                                                                                                                   YORK, NY 10016

2. 3233    MERIDIAN HEALTH STAMFORD AMD 10                             101970                   MERIDAN COMP OF NEW YORK, INC.    ATTN: GENERAL COUNSEL
           CW2357140 (RA.DT) DATED MARCH 01,                                                                                      275 MADISON AVE FL 32, NEW
           2017                                                                                                                   YORK, NY 10016

2. 3234    CUSTOMER AGREEMENT EFFECTIVE AS                             101974                   MESSAGELABS, INC.                 ATTN: GENERAL COUNSEL
           OF APRIL 28, 2003                                                                                                      8500 NORMANDALE LAKE BLVD.
                                                                                                                                  SUITE 650
                                                                                                                                  MINNEAPOLIS, MN 55437

2. 3235    LETTER OF CLARITY EFFECTIVE AS OF                           101978                   MIAMI-LUKEN, INC.                 ATTN: GENERAL COUNSEL
           FEBRUARY 13, 2015                                                                                                      265 PIONEER BOULEVARD
                                                                                                                                  SPRINGBORO, OH 45066

2. 3236    CONSULTANT SERVICES AGREEMENT                               101979                   MICHAEL GLOTH, M.D.               ATTN: GENERAL COUNSEL
           DATED NOVEMBER 01, 2016                                                                                                5855 ROLLING PINES DRIVE
                                                                                                                                  NAPLES, FL 34110

2. 3237    CONSULTANT SERVICES AGREEMENT                               101980                   MICHAEL MANOS, PH.D               ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JANUARY 01, 2019                                                                                       3356 LANSMERE ROAD
                                                                                                                                  SHAKER HEIGHTS, OH 44122

2. 3238    MASTER CONSULTANT SERVICES                                  101981                   MICHAEL MILLER MD                 ATTN: GENERAL COUNSEL
           AGREEMENT DATED OCTOBER 01, 2016                                                                                       27 SETTLER HILL CIRCLE
                                                                                                                                  MADISON, WI 53717

2. 3239    STATEMENT OF WORK UNDER MASTER                              101982                   MICHAEL MILLER MD                 ATTN: GENERAL COUNSEL
           CONSULTANT SERVICE AGREEMENT                                                                                           27 SETTLER HILL CIRCLE
           DATED JANUARY 30, 2017                                                                                                 MADISON, WI 53717

2. 3240    MASTER CONSULTANT SERVICES                                  101984                   MICHELLE SCHMERGE                 ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JULY                                                                                         8401 MEDICAL PLAZA DRIVE,
           01, 2016                                                                                                               SUITE 365
                                                                                                                                  CHARLOTTE, NC 28262

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2. 3241    CONSULTANT SERVICES AGREEMENT                               101985                   MICHIGAN LEGISLATIVE CONSULTANTS ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF NOVEMBER 01, 2017                                                                                     110 WEST MICHIGAN AVENUE,
                                                                                                                                 SUITE 500
                                                                                                                                 LANSING, MI 48933

2. 3242    NOTIFICATION LETTER EFFECTIVE AS                            101996                   MICROSOFT LICENSING, GP             ATTN: GENERAL COUNSEL
           OF AUGUST 17, 2014                                                                                                       6100 NEIL ROAD
                                                                                                                                    RENO, NV 89511

2. 3243    PATENT MARKETING AGREEMENT                                  102011                   MILLENNIUM MARKETING GROUP, LTD.    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF APRIL 22, 2005                                                                                           10550 MARTY STREET
                                                                                                                                    OVERLAND PARK, KS 66212

2. 3244    AGREEMENT DATED MARCH 27, 2019                              106305                   MILLER & CHEVALIER CHARTERED        ATTN: BRIAN A. HILL
                                                                                                                                    900 16TH STREET NW
                                                                                                                                    WASHINGTON, DC 20006

2. 3245    AMENDMENT TO THE                                            102017                   MINNESOTA MULTISTATE                ATTN: BRANDON SIS, PHARMA.D
           PHARMACEUTICAL PURCHASE                                                              CONTRACTING ALLIANCE FOR            MBA, MMCAP SENIOR
           AGREEMENT EFFECTIVE AS OF                                                            PHARMACY                            PHARMACIST - CORRECTIONS
           OCTOBER 15, 2018                                                                                                         50 SHERBURNE AVENUE
                                                                                                                                    112 ADMINISTRATION BUILDING
                                                                                                                                    ST. PAUL, MN 55155

2. 3246    AMENDMENT NO. 1 TO MMCAP                                    102016                   MINNESOTA MULTISTATE                ATTN: BRANDON SIS, PHARMA.D
           CONTRACT NO. MMS18012 EFFECTIVE                                                      CONTRACTING ALLIANCE FOR            MBA, MMCAP SENIOR
           AS OF AUGUST 15, 2018                                                                PHARMACY                            PHARMACIST - CORRECTIONS
                                                                                                                                    50 SHERBURNE AVENUE
                                                                                                                                    112 ADMINISTRATION BUILDING
                                                                                                                                    ST. PAUL, MN 55155

2. 3247    PURCHASING AGREEMENT EFFECTIVE                              102015                   MINNESOTA MULTISTATE                C/O MMCAP
           AS OF AUGUST 01, 2018                                                                CONTRACTING ALLIANCE FOR            ATTN: CONTRACT MANAGER
                                                                                                PHARMACY                            50 SHERBURNE AVENUE, 112
                                                                                                                                    ADMINISTRATION BUILDING
                                                                                                                                    ST. PAUL, MN 55155

2. 3248    INDEMNIFICATION AGREEMENT                                   102024                   MITCHELL RESEARCH GROUP, INC        NOT AVAILABLE
           EXECUTED JUNE 01, 2000

2. 3249    INDEMNIFICATION AGREEMENT                                   102023                   MITCHELL RESEARCH GROUP, INC        NOT AVAILABLE
           EXECUTED MAY 22, 2000
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2. 3250    MARIA LOPES OTH AMENDMENT 1 TO            5/14/2022         105995                   MMD LOPES LLC                   ATTN: GENERAL COUNSEL
           MCSA TO EXTEND TERM CW2366858                                                                                        117 TRUMAN DRIVE
           CSA (LH.SD) EFFECTIVE MAY 15, 2019                                                                                   CRESSKILL, NJ 07626

2. 3251    MASTER CONSULTANT SERVICES                                  102028                   MMDLOPES, LLC                   ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                                                            117 TRUMAN DRIVE
           SEPTEMBER 01, 2016                                                                                                   CRESSKILL, NJ 07626

2. 3252    STATEMENT OF WORK UNDER MASTER                              102029                   MMDLOPES, LLC                   ATTN: GENERAL COUNSEL
           CONSULTANT SERVICES AGREEMENT                                                                                        117 TRUMAN DRIVE
           EFFECTIVE AS OF JANUARY 30, 2017                                                                                     CRESSKILL, NJ 07626

2. 3253    CONSULTANCY AGREEMENT DATED                                 102037                   MONITECH SERVICES               ATTN: MONA CICHELLO
           SEPTEMBER 15, 1997                                                                                                   36 GYPSY ROCK ROAD
                                                                                                                                STUYVESANT, NY 12173

2. 3254    CONSULTANCY AGREEMENT                                       102036                   MONITECH SERVICES               ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF AUGUST 15, 1996                                                                                      36 GYPSY ROCK ROAD
                                                                                                                                STUYVESANT, NY 12173

2. 3255    LETTER AGREEMENT DATED OCTOBER                              102042                   MONROE COLLEGE                  ATTN: GENERAL COUNSEL
           04, 2011                                                                                                             2501 JEROME AVENUE
                                                                                                                                BRONX, NY 10468

2. 3256    STATEMENT OF WORK DATED                                     102052                   MOVILITAS CONSULTING LLC        ATTN: GENERAL COUNSEL
           SEPTEMBER 29, 2017                                                                                                   10330 OLD COLUMBIA ROAD
                                                                                                                                COLUMBIA, MD 21046

2. 3257    AUTHORSHIP AGREEMENT DATED                                  102054                   MS. SARUNA GHIMIRE              ATTN: GENERAL COUNSEL
           FEBRUARY 18, 2019                                                                                                    4441 ESCONDIDO STREET
                                                                                                                                APT. 6204
                                                                                                                                LAS VEGAS, NV 89119

2. 3258    INDEMNIFICATION AGREEMENT                                   102056                   MULTI-SPECIALTY RESEARCH        ATTN: GENERAL COUNSEL
           EXECUTED MAY 28, 2003                                                                ASSOCIATES OF NORTH CAROLINA    3509 HAWORTH DRIVE, SUITE 100
                                                                                                                                RELEIGH, NC 27609




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Schedule G: Executory Contracts and Unexpired Leases
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2. 3259    AMENDMENT TO HEAD LICENSE                12/31/2049         106076                   MUNDIPHARMA BRADENTON B.V.          LEUSDEREND 16
           AGREEMENT BETWEEN PPLP AND                                                                                               3832 RC LEUSDEN
           MUNDIPHARMA BRADENTON, B.V.                                                                                              AMERSFOORT 3800 CB
           28AUG19 (P. STRASSBURGER)                                                                                                NIGER
           EFFECTIVE AUGUST 28, 2019

2. 3260    CONSULTANT SERVICES AGREEMENT                               102171                   MUTUAL DRUG COMPANY                 ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF OCTOBER 16, 2017                                                                                         816 ELLIS ROAD
                                                                                                                                    DURHAM, NC 27703

2. 3261    CONSULTANT SERVICES AGREEMENT                               102174                   NADINE EVANS                        26 GLENDALE ROAD
           DATED SEPTEMBER 19, 2016                                                                                                 SHARON, MA 02067

2. 3262    MASTER CONSULTANT SERVICES                                  102175                   NALAS ENGINEERING SERVICES, INC     ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF MARCH                                                                                          85 WESTBROOK ROAD
           15, 2013                                                                                                                 CENTERBROOK, CT 06409

2. 3263    AMENDMENT TO MASTER CONSULTANT                              102176                   NALAS ENGINEERING SERVICES, INC.    85 WESTBROOK ROAD
           SERVICES AGREEMENT EFFECTIVE AS                                                                                          CENTERBROOK, CT 06409
           OF JANUARY 29, 2016

2. 3264    INDEMNIFICATION AGREEMENT                                   102179                   NARES RESEARCH & EDUCATION          ATTN: GENERAL COUNSEL
           EXECUTED NOVEMBER 22, 2000                                                           SOCIETY                             2300 SOUTH RANCHO
                                                                                                                                    SUITE 203
                                                                                                                                    LAS VEGAS, NV 89102

2. 3265    PROJECT RESEARCH AND                                        102180                   NATIONAL COMMITTEE FOR QUALITY      ATTN: GENERAL COUNSEL
           DEVELOPMENT FUNDING AGREEMENT                                                        ASSURANCE                           2000 L STREET NORTHWEST
           DATED AUGUST 22, 2001                                                                                                    SUITE 500
                                                                                                                                    WASHINGTON, DC 20036

2. 3266    AGREEMENT FOR SUBMITTING                                    102182                   NATIONAL INSTITUTE OF               NOT AVAILABLE
           COMPOUNDS EXECUTED JUNE 12, 2003                                                     NEUROLOGICAL DISORDERS AND
                                                                                                STROKE

2. 3267    PAIN AWARENESS PROGRAMS LETTER                              102183                   NATIONAL PAIN FOUNDATION            NOT AVAILABLE
           OF AGREEMENT EXECUTED JANUARY
           19, 2006




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2. 3268    LETTER OF INTENT EFFECTIVE AS OF                            102189                   NCGS AND ASSOCIATES, INC.          ATTN: GENERAL COUNSEL
           MAY 31, 1997                                                                                                            PURDUE: 100 CONNECTICUT
                                                                                                                                   AVENUE, NORWALK CT 06850
                                                                                                                                   NCGS: ONE UNITY ALLEY, SUITE
                                                                                                                                   3000
                                                                                                                                   CHARLESTON, SC 29401

2. 3269    NDA PARTNERS LLC OTH092116                                  102190                   NDA PARTNERS, LLC                  ATTN: GENERAL COUNSEL
           CW2320525 RETAINER LTR (CHARLES                                                                                         40 COMMERCE LANE, SUITE D
           GRUDZINSKAS PHD ASSIGNED                                                                                                ROCHELLE, VA 22738
           CONSULTANT) (PCS) DATED AUGUST
           25, 2016

2. 3270    NDA PARTNERS LLC OTH092116                                  102191                   NDA PARTNERS, LLC                  ATTN: GENERAL COUNSEL
           CW2320525 RETAINER LTR (CHARLES                                                                                         40 COMMERCE LANE, SUITE D
           GRUDZINSKAS PHD ASSIGNED                                                                                                ROCHELLE, VA 22738
           CONSULTANT) (PCS) DATED AUGUST
           25, 2016

2. 3271    CONSULTANT SERVICES AGREEMENT                               102192                   NDC HEALTH INFORMATION SERVICES    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JULY 01, 2000                                                                                           105 TERRY DRIVE, SUITE 118
                                                                                                                                   NEWTOWN, PA 18940

2. 3272    SUBCONTRACTOR CUSTOMER                                      102193                   NDC HEALTH INFORMATION SERVICES,   ATTN: GENERAL COUNSEL
           AGREEMENT DATED JANUARY 01, 2003                                                     INC.                               2394 EAST CAMELBACK ROAD
                                                                                                                                   PHOENIX, AZ 85016

2. 3273    MAINTENANCE AGREEMENT EFFECTIVE                             102198                   NETWORK ASSOCIATES, INC.           ATTN: GENERAL COUNSEL
           AS OF JULY 11, 2002                                                                                                     3965 FREEDOM CIRCLE
                                                                                                                                   SANTA CLARA, CA 95054

2. 3274    SEARCH FIRM AGREEMENT DATED                                 102200                   NEUROSEARCH DIVISION OF DIEDRE     ATTN: GENERAL COUNSEL
           FEBRUARY 14, 2012                                                                    MOIRE CORPORATION                  510 HORIZON CENTER
                                                                                                                                   ROBBINSVILLE, US 08691

2. 3275    COVENANT NOT TO SUE EFFECTIVE AS                            102201                   NEW JERSEY DEPARTMENT OF           ATTN: GENERAL COUNSEL
           OF APRIL 17, 2002                                                                    ENVIRONMENTAL PROTECTION           BUREAU OF FIELD OPERATIONS
                                                                                                                                   P.O. BOX 435, 401 EAST STATE
                                                                                                                                   STREET
                                                                                                                                   TRENTON, NJ 08625



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2. 3276    MASTER CONSULTING SERVICES                                  102208                   NICHOLE LOPEZ, FNP-C            ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JULY                                                                                       611 NORTHERN BOULEVARD
           01, 2016                                                                                                             SUITE 150
                                                                                                                                GREAT NECK, NY 11021

2. 3277    CONSULTANT SERVICES AGREEMENT                               102210                   NMS LABS                        ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MARCH 01, 2008                                                                                       3701 WELSH ROAD
                                                                                                                                WILLOW GROVE, PA 19090

2. 3278    ADDENDUM TO PROPOSAL EFFECTIVE                              102213                   NOAHSPHARM                      ATTN: GENERAL COUNSEL
           AS OF NOVEMBER 30, 2018                                                                                              227 HONEY LOCUST DRIVE
                                                                                                                                AVONDALE, PA 19311

2. 3279    CONSULTANT SERVICES AGREEMENT                               102216                   NOAHSPHARM                      ATTN: GENERAL COUNSEL
           DATED SEPTEMBER 24, 2018                                                                                             227 HONEY LOCUST DRIVE
                                                                                                                                AVONDALE, PA 19311

2. 3280    NOAHSPHARM LTD - AMENDMENT 1 TO          12/31/2020         106014                   NOAHSPHARM                      ATTN: GENERAL COUNSEL
           CSA CW2367478 (LH.RA) EFFECTIVE                                                                                      227 HONEY LOCUST DRIVE
           JUNE 26, 2019                                                                                                        AVONDALE, PA 19311

2. 3281    AGREEMENT BY AND BETWEEN                                    106266                   NORAMCO, INC.                   ATTN: GENERAL COUNSEL
           PURDUE PHARMA L.P. AND NORAMCO,                                                                                      500 SWEDES LANDING ROAD
           INC., DATED AS OF DECEMBER 21, 2012                                                                                  WILMINGTON, DE 19801

2. 3282    CONSULTANT SERVICES AGREEMENT                               102221                   NORDIC BIOSCIENCE A/S           ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MAY 01, 2017                                                                                         HERLEV HOVEDGADE 205-207
                                                                                                                                HERLEV, DENMARK 2730

2. 3283    ASSIGNMENT AGREEMENT DATED                                  106219                   NORTHLAKE BIOSCIENCES LLC       ATTN: YI CHEN
           NOVEMBER 21, 2012 BETWEEN                                                                                            44 EMERSON GARDENS ROAD
           NORTHLAKE INTERNATIONAL LLC,                                                                                         LEXINGTON, MA
           NORTHLAKE BIOSCIENCES LLC,
           CRYSTAL BIOPHARMACEUTICAL LLC
           AND THE COMPANY

2. 3284    ASSIGNMENT AGREEMENT DATED                                  106268                   NORTHLAKE INTERNATIONAL LLC     ATTN: XIAOJUN LIU
           NOVEMBER 21, 2012 BETWEEN                                                                                            2711 CENTERVILLE ROAD
           NORTHLAKE INTERNATIONAL LLC,                                                                                         SUITE 400
           NORTHLAKE BIOSCIENCES LLC,                                                                                           WILMINGTON, DE
           CRYSTAL BIOPHARMACEUTICAL LLC
           AND THE COMPANY
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2. 3285    SUBSCRIPTION AGREEMENT DATED                                102230                   NORTHROP GRUMMAN FEDERAL CIVIL    NOT AVAILABLE
           JULY 29, 2004                                                                        SYSTEMS, INC.

2. 3286    SUBSCRIPTION AGREEMENT DATED                                102231                   NORTHROP GRUMMAN INFORMATION      NOT AVAILABLE
           JUNE 05, 2008                                                                        TECHNOLOGY, INC.

2. 3287    COLLABORATION AGREEMENT DATED                               106220                   NORTHWESTERN UNIVERSITY           NOT AVAILABLE
           DECEMBER 2, 2016 BETWEEN EXICURE,
           INC., NORTHWESTERN UNIVERSITY
           AND THE COMPANY

2. 3288    CONSULTANT SERVICES AGREEMENT                               102232                   NOVATEUR VENTURES INC.            ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JULY 24, 2018                                                                                          1055 WEST GEORGIA STREET,
                                                                                                                                  SUITE 2100
                                                                                                                                  VANCOUVER, BC V6E 3P3
                                                                                                                                  CANADA

2. 3289    CONSULTANT SERVICES AGREEMENT                               102238                   NU WAVE TECHNOLOGIES LLP          ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JANUARY 30, 2003                                                                                       3652 HARDING AVENUE
                                                                                                                                  HONOLULU, HI 96816

2. 3290    SECOND AMENDMENT TO OPTION                                  102245                   NUTRIPHARM INC.                   ATTN: GENERAL COUNSEL
           AGREEMENT DATED FEBRUARY 10,                                                                                           MEDIA, PA 19063
           2013

2. 3291    SOW TO CONSULTANT SERVICES                                  102246                   NUWAVE TECHNOLOGIES LLP           ATTN: GENERAL COUNSEL
           AGREEMENT DATED JANUARY 15, 2003                                                                                       3652 HARDING AVENUE
                                                                                                                                  HONOLULU, HI 96816

2. 3292    LETTER AGREEMENT DATED JANUARY                              102252                   O'CONNOR & HANNAN, LLP            ATTN: GENERAL COUNSEL
           06, 2003                                                                                                               1666 K STREET, NW, SUITE 500
                                                                                                                                  WASHINGTON, D.C,
                                                                                                                                  WASHINGTON, D.C 20005

2. 3293    AMENDMENT #2 TO MASTER SITE                                 102269                   ODYSSEY RESEARCH SERVICES         ATTN: GENERAL COUNSEL
           MANAGEMENT ORGANIZATION                                                                                                705 EAST MAIN AVENUE
           AGREEMENT DATED MAY 17, 2002                                                                                           BISMARCK, ND 58501

2. 3294    AMENDMENT #2 TO MASTER SITE                                 102271                   ODYSSEY RESEARCH SERVICES         ATTN: GENERAL COUNSEL
           ORGANIZATION AGREEMENT DATED                                                                                           705 EAST MAIN AVENUE
           MAY 17, 2002                                                                                                           BISMARCK, ND 58501

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2. 3295    OKLAHOMA STATE UNIVERSITY                12/31/2049         106079                   OKLAHOMA STATE UNIVERSITY         ATTN: GENERAL COUNSEL
           CENTER FOR HEALTH SCIENCES -                                                         CENTER FOR HEALTH SCIENCES        1111 W 17TH ST, TULSA, OK 74107
           AGREEMENT (BLOOD SAMPLES AND
           DATA BASE) 15AUG19 (P.
           STRASSBURGER) EFFECTIVE AUGUST
           15, 2019

2. 3296    OKLAHOMA STATE UNIVERSITY                12/31/2049         106078                   OKLAHOMA STATE UNIVERSITY         ATTN: GENERAL COUNSEL
           CENTER FOR HEALTH SCIENCES                                                           CENTER FOR HEALTH SCIENCES        1111 W 17TH ST, TULSA, OK 74107
           (OSU) - AGREEMENT 15AUG19 (P.
           STRASSBURGER) EFFECTIVE AUGUST
           15, 2019

2. 3297    CONSULTANT SERVICES AGREEMENT                               102280                   OLATUNJI B. ALESE, M.D.           ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MAY 01, 2017                                                                                           3132 PRESERVATION CIRCLE
                                                                                                                                  LILBURN, GA 30047

2. 3298    PROJECT AGREEMENT EFFECTIVE AS                              102287                   ONCOLOGY SPECIAL EDITION          ATTN: GENERAL COUNSEL
           OF JULY 27, 2001                                                                                                       545 WEST 45TH STREET
                                                                                                                                  8 FLOOR
                                                                                                                                  NEW YORK, NY 10036

2. 3299    SERIES A PREFERED STOCK                                     102297                   OPTHERION, INC.                   ATTN: GENERAL COUNSEL
           PURCHASE AGREEMENT DATED JULY                                                                                          250 WEST MAIN STREET
           25, 2007                                                                                                               BRANFORD, CT 06405

2. 3300    CONSULTANT SERVICES AGREEMENT                               102303                   OPTIMUM TALENT, INC.              ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF APRIL 19, 2018                                                                                         300 RUE LEO-PARISEAU, SUITE
                                                                                                                                  6000
                                                                                                                                  MONTREAL, QUEBEC H2X 4B8
                                                                                                                                  CANADA

2. 3301    OPTUMRX, INC. - TRUST ACCOUNT            12/31/2049         106073                   OPTUM RX, INC.                    ATTN: S.V.P., INDUSTRY
           AGREEMENT (R. ALEALI) EFFECTIVE                                                                                        RELATIONS
           JUNE 27, 2019                                                                                                          17900 VON KARMAN AVENUE
                                                                                                                                  M/S CA016-0202
                                                                                                                                  IRVINE, CA 92614

2. 3302    LETTER AGREEMENT DATED AUGUST                               102312                   ORACLE AMERICA, INC.              ATTN: GENERAL COUNSEL
           30, 2008                                                                                                               530 MADISON AVENUE, 31ST
                                                                                                                                  FLOOR
                                                                                                                                  NEW YORK, NY 10022

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2. 3303    RE ORACLE EMPIRICA SYSTEM DATED                             102313                   ORACLE AMERICA, INC.               ATTN: GENERAL COUNSEL
           APRIL 18, 2016                                                                                                          500 ORACLE PARKWAY
                                                                                                                                   REDWOOOD CITY, CA 94065

2. 3304    INDEMNIFICATION AGREEMENT                                   102320                   ORTHO ASSOCIATES, P.A. DBA PARK    ATTN: GENERAL COUNSEL
           EXECUTED JULY 14, 2000                                                               PLACE ORTHOPEDICS &                301 NORTHWEST 84TH AVENUE
                                                                                                REHABILITATION                     SUITE 304
                                                                                                                                   PLANTATION, FL 33324

2. 3305    INDEMNIFICATION AGREEMENT DATED                             102325                   ORTHOPAEDIC CENTER OF ILLINOIS     NOT AVAILABLE
           AUGUST 08, 2001                                                                      AND ORTHOPEDIC SURGEONS OF
                                                                                                ILLINOIS

2. 3306    PSL PEER DIRECT DATED JANUARY 04,                           102333                   P/S/L GROUP AMERICA INC.           ATTN: GENERAL COUNSEL
           2017                                                                                                                    1140 AVENUE OF THE AMERICAS,
                                                                                                                                   14TH FLOOR
                                                                                                                                   NEW YORK, NY 10036

2. 3307    AMENDMENT #1 TO SAFETY DATA                                 102359                   PARATEK PHARMACEUTICALS, INC.,     ATTN: GENERAL COUNSEL
           EXCHANGE AGREEMENT EFFECTIVE AS                                                                                         75 KNEELAND ST
           OF NOVEMBER 15, 2014                                                                                                    BOSTON, MA 02111

2. 3308    PATHEON SA 22MAY2018 CW2361675                              102370                   PATHEON PHARMACEUTICALS, INC.      ATTN: GENERAL COUNSEL
           COLACE BATCH SIZE INCREASE (RJ.EA)                                                                                      4815 EMPEROR BLVD.
           DATED MAY 12, 2018                                                                                                      DURHAM, NC 27703-8470

2. 3309    CHEWABLE CONTRACT PROPOSAL                                  102372                   PATHEON, INC.                      ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JANUARY 08, 2018                                                                                        4125 PREMIER DRIVE
                                                                                                                                   HIGH POINT, NC 27265

2. 3310    CONSULTANT SERVICES AGREEMENT                               102374                   PATRICK J. ROGERS, LLC             ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF NOVEMBER 01, 2015                                                                                       20 FIRST PLAZA CENTER, NW,
                                                                                                                                   SUITE 725
                                                                                                                                   ALBUQUERQUE, NM 87102

2. 3311    CONSULTANT SERVICES AGREEMENT                               102375                   PATRICK J. ROGERS, LLC             ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF NOVEMBER 01, 2017                                                                                       20 FIRST PLAZA CENTER, NW,
                                                                                                                                   SUITE 725
                                                                                                                                   ALBUQUERQUE, NM 87102




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2. 3312    CONSULTANT SERVICES AGREEMENT                               102376                   PAUL BARNETT, INC. D/B/A NOW WHAT    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF SEPTEMBER 28, 2018                                                   RESEARCH                             45 MAIN STREET, SUITE 1006
                                                                                                                                     BROOKLYN, NY 11201

2. 3313    AUTHORSHIP AGREEMENT EFFECTIVE                              102377                   PAUL COPLAN, SCD, MBA, FISPE         ATTN: GENERAL COUNSEL
           AS OF JANUARY 01, 2018                                                                                                    1205 WARDEN WAY
                                                                                                                                     FORT WASHINGTON, PA 19034

2. 3314    CONSULTANT SERVICES AGREEMENT                               102378                   PAUL ELIEZER OBERSTIEN, M.D.         ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MAY 01, 2017                                                                                              3777 INDEPENDENCE AVE, 3H
                                                                                                                                     BRONX, NY 10463

2. 3315    OBERSTEIN RESUME EFFECTIVE AS OF                            102379                   PAUL ELIEZER OBERSTIEN, M.D.,        ATTN: GENERAL COUNSEL
           JANUARY 05, 2017                                                                     COLUMBIA UNIVERSITY MEDICAL          161 FT. WASHINGTON AVE, 8TH
                                                                                                CENTER                               FLOOR
                                                                                                                                     NEW YORK, NY 10032

2. 3316    PAUL MEDEIROS - COPYRIGHT                12/31/2049         106110                   PAUL MEDEIROS                        NOT AVAILABLE
           ASSIGNMENT (A. KOLLER) EFFECTIVE
           APRIL 09, 2019

2. 3317    AGREEMENT EFFECTIVE AS OF                                   102381                   PAULUS SOKOLOSKI AND SARTOR          ATTN: GENERAL COUNSEL
           JANUARY 27, 2003                                                                     ARCHITECTURE, PC                     PURDUE: 444 SAW MILL RIVER
                                                                                                                                     ROAD, ARDSLEY, NY 10502

2. 3318    MAINTENANCE AND SUPPORT                                     102385                   PDS PATHOLOGY DATA SYSTEMS, LTD.     ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                                                                 HAUPTSTRASSE 56
           JANUARY 06, 2003                                                                                                          BASEL, SWITZERLAND 4127
                                                                                                                                     BIRSFELDEN/BASEL

2. 3319    CONSULTANT SERVICES AGREEMENT                               102388                   PENNSIDE PARTNERS, LTD.              ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MAY 01, 2017                                                                                              1220 BROADCASTING ROAD,
                                                                                                                                     SUITE 200
                                                                                                                                     WYOMISSING, PA 19610

2. 3320    CORPORATE PROCUREMENT                                       102389                   PENNSIDE PARTNERS, LTD.              ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MAY 01, 2017                                                                                              1220 BROADCASTING ROAD,
                                                                                                                                     SUITE 200
                                                                                                                                     WYOMISSING, PA 19610




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2. 3321    CONSULTANT SERVICES AGREEMENT                               102391                   PEREGRINE MARKET ACCESS                ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF SEPTEMBER 19, 2018                                                                                          125 HIGH ROCK AVENUE, SUITE
                                                                                                                                       300
                                                                                                                                       SARATOGA SPRINGS, NY 12866

2. 3322    CENTRAL LABORATORY                                          102295                   PERNIX THERAPEUTICS HOLDINGS           ATTN: GENERAL COUNSEL
           INDEMNIFICATION AGREEMENT                                                                                                   10 NORTH PARK PLACE, SUITE
           EFFECTIVE AS OF JULY 28, 2015                                                                                               201, MORRISTOWN, NJ 07960

2. 3323    TRANSFER OF REGULATORY                                      102296                   PERNIX THERAPEUTICS HOLDINGS           ATTN: GENERAL COUNSEL
           OBLIGATIONS EFFECTIVE AS OF                                                                                                 10 NORTH PARK PLACE, SUITE
           SEPTEMBER 28, 2015                                                                                                          201, MORRISTOWN, NJ 07960

2. 3324    TRANSFER OF REGULATORY                                      102396                   PERNIX THERAPEUTICS HOLDINGS INC       ATTN: GENERAL COUNSEL
           OBLIGATIONS EXECUTED SEPTEMBER                                                                                              10 NORTH PARK PLACE, SUITE
           28, 2015                                                                                                                    201, MORRISTOWN, NJ 07960

2. 3325    CONSULTANT SERVICES AGREEMENT                               102397                   PETER A. MCCROSKERY, M.D., LLC         ATTN: GENERAL COUNSEL
           DATED JULY 28, 2000                                                                                                         1275 SUMMER STREET
                                                                                                                                       SUITE 313
                                                                                                                                       STAMFORD, CT 06905

2. 3326    MASTER CONSULTANT SERVICES                                  102398                   PETER J. PITTS                         ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                                                                   54 RIVERSIDE DRIVE, SUITE D
           JANUARY 01, 2016                                                                                                            NEW YORK, NY 10025

2. 3327    MASTER CONSULTANT SERVICES                                  102401                   PETER J. PITTS D/B/A PETER J. PITTS    ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                            HEALTH POLICY CONSULTING               54 RIVERSIDE DRIVE, SUITE D
           JANUARY 01, 2016                                                                                                            NEW YORK, NY 10025

2. 3328    TRANSFER OF REGULATORY                                      102403                   PFIZER INC                             235 EAST 42ND STREET
           OBLIGATIONS EXECUTED SEPTEMBER                                                                                              NEW YORK, NY 10017
           28, 2015

2. 3329    CENTRAL LABORATORY                                          102295                   PFIZER:                                ATTN: GENERAL COUNSEL
           INDEMNIFICATION AGREEMENT                                                                                                   235 EAST 42ND STREET, NEW
           EFFECTIVE AS OF JULY 28, 2015                                                                                               YORK, NY 10017




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2. 3330    PSO 1 TO MASTER CONSULTANT                                  102404                   PHARMA COMMUNICATIONS, INC.      ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT BETWEEN                                                                                            202 CARNEGIE CENTER, SUITE 101
           PURDUE PHARMA L.P. AND PHARMA                                                                                         PRINCETON, NJ 08540
           COMMUNICATIONS, INC. DATED APRIL
           01, 2000

2. 3331    TERMS OF SERVICE LETTER EFFECTIVE                           102406                   PHARMA VOXX                      ATTN: GENERAL COUNSEL
           AS OF MAY 15, 2008                                                                                                    750 THE CITY DRIVE, SUITE 490
                                                                                                                                 ORANGE, CA 92868

2. 3332    MASTER CONSULTANT SERVICES                                  102408                   PHARMACEUTIAL DIVERSION          ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JUNE                                                       EDUCATION, INC.                  P.O. BOX 146
           20, 2016                                                                                                              BETHEL, OH 45106

2. 3333    CONSULTANT SERVICES AGREEMENT                               102416                   PHARMACEUTICAL DIVERSION         ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF OCTOBER 15, 2016                                                     RESOURCES, INC.                  P.O. BOX 54760
                                                                                                                                 CINCINNATI, OH 45254

2. 3334    CONSENT AGREEMENT DATED                                     102428                   PHARMACEUTICAL RESEARCH          ATTN: GENERAL COUNSEL
           DECEMBER 20, 2013                                                                    ASSOCIATES, INC.                 4130 PARK LANE AVENUE
                                                                                                                                 SUITE 400
                                                                                                                                 RALEIGH, NC 27612

2. 3335    RECRUITMENT SERVICES FOR PURDUE                             102429                   PHARMACEUTICAL RESEARCH PLUS,    ATTN: GENERAL COUNSEL
           PROTOCOL NOS. BUP3014, BUP3015                                                       INC.                             645 BALTIMORE-ANNAPOLIS BLVD,
           AND BUP3019 STUDIES DATED                                                                                             SUITE 111
           DECEMBER 04, 2003                                                                                                     SEVERNA PARK, MD 21146

2. 3336    PLACEBO FOR CO 102862 SUSPENSION                            102439                   PHARMACEUTICS INTERNATIONAL,     ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JANUARY 06, 2000                                                     INC. (PII)                       10819 GILROY ROAD
                                                                                                                                 HUNT VALLEY, MD 21031

2. 3337    LETTER OF CLARITY EFFECTIVE AS OF                           102447                   PHARMACY BUYING ASSOCIATION, INC. ATTN: GENERAL COUNSEL
           FEBRUARY 13, 2015                                                                                                      6300 ENTERPRISE ROAD
                                                                                                                                  KANSAS CITY, MO 64120

2. 3338    LIMITED PARTNERSHIP AGREEMENT                               102465                   PHARMIT INC.                     ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF SEPTEMBER 02, 2014                                                                                    ONE STAMFORD FORUM
                                                                                                                                 STAMFORD, CT 06901




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2. 3339    AUDIT LETTER FOR AMENDED                                      102467                   PHARSIGHT CORPORATION              ATTN: GENERAL COUNSEL
           AGREEMENT DATED JULY 31, 2003                                                                                             800 WEST EL CAMINO, SUITE 200
                                                                                                                                     MOUNTAIN VIEW, CA 94040

2. 3340    STANDARD TABULAR AND GRAPHICAL                                102468                   PHASE FORWARD INC.                 ATTN: GENERAL COUNSEL
           REPORTS OF ALL ADVERSE EVENTS                                                                                             DE
           SUBMISSIONS LISTED WITHIN FDA FOI,
           AERS AND SRS FOR OXYCONTIN,
           HYDROCODONE, AND METHODONE
           MISUSE, ABUSE AND OVERDOSE -
           1996 - Q1 2008 DATED OCTOBER 17, 2008

2. 3341    AMENDMENT #1 TO CONSULTANT                                    102473                   PHILIP E. BICKLER, M.D., PH.D.     ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT EFFECTIVE AS                                                                                           91 POLHEMUS WAY
           OF SEPTEMBER 28, 2018                                                                                                     LARKSPUR, CA 94939

2. 3342    CONSULTANT SERVICES AGREEMENT                                 102472                   PHILIP E. BICKLER, M.D., PH.D.     ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF SEPTEMBER 28, 2016                                                                                        91 POLHEMUS WAY
                                                                                                                                     LARKSPUR, CA 94939

2. 3343    SPONSOR AUTHORIZATION IVRS                                    102480                   PHT CORP.                          ATTN: GENERAL COUNSEL
           SERVICES SUBCONTRACTING INGENIX
           PHARMACEUTICAL SERVICES INC.
           DATED JUNE 28, 2001

2. 3344    CONSULTANT SERVICES AGREEMENT                                 102481                   PHYLLIS PITTMAN COMMUNICATIONS     ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JULY 15, 2008                                                          LTD                                3555 TIMMONS LANE
                                                                                                                                     SUITE 655
                                                                                                                                     HOUSTON, TX 77027

2. 3345    RENEWAL AND AMENDMENT DATED                                   102484                   PI2 SOLUTIONS, LTD.                ATTN: GENERAL COUNSEL
           OCTOBER 15, 2015                                                                                                          789 E. EISENHOWER PARKWAY
                                                                                                                                     ANN ARBOR, MI 48108

2. 3346    AMENDMENT #2 TO MASTER                                        102494                   PINACOM INC.                       NOT AVAILABLE
           CONSULTANT SERVICES AGREEMENT
           DATED NOVEMBER 06, 2003

2. 3347    AMENDMENT #2 TO MASTER                                        102495                   PINACOM INC.                       NOT AVAILABLE
           CONSULTANT SERVICES AGREEMENT
           DATED NOVEMBER 06, 2003

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2. 3348    AMENDMENT #2 TO MASTER                                       102502                   PINNEY ASSOCIATES, INC.           ATTN: GENERAL COUNSEL
           CONSULTANT SERVICES AGREEMENT                                                                                           4800 MONTGOMERY LANE, SUITE
           EFFECTIVE AS OF FEBRUARY 25, 2008                                                                                       400
                                                                                                                                   BETHESDA, MD 20814

2. 3349    AMENDMENT #3 TO PROJECT                                      102500                   PINNEY ASSOCIATES, INC.           ATTN: GENERAL COUNSEL
           SPECIFICATION ORDER UNDER                                                                                               4800 MONTGOMERY LANE, SUITE
           MASTER CONSULTANT SERVICES                                                                                              400
           AGREEMENT DATED DECEMBER 31,                                                                                            BETHESDA, MD 20814
           2018

2. 3350    PINNEY ASSOCIATES, INC. - OTH             12/31/2019         106007                   PINNEY ASSOCIATES, INC.           ATTN: GENERAL COUNSEL
           AMEND. 1 TO PSO CW2367136 EXTEND                                                                                        4800 MONTOGMERY LANE, SUITE
           OPIOID USE DISORDER (LH.KM)                                                                                             400
           EFFECTIVE JUNE 30, 2019                                                                                                 BETHESDA, MD 20814

2. 3351    AMENDMENT #2 TO MASTER                                       102505                   PJ QUINN, INC.                    ATTN: GENERAL COUNSEL
           CONSULTANT SERVICES AGREEMENT
           DATED AUGUST 27, 2013

2. 3352    AMENDMENT TO MASTER CONSULTANT                               102504                   PJ QUINN, INC.                    ATTN: GENERAL COUNSEL
           SERVICES AGREEMENT DATED
           AUGUST 27, 2013

2. 3353    LETTER AGREEMENT DATED                                       102506                   PJT PARTNERS, LP                  ATTN: GENERAL COUNSEL
           DECEMBER 22, 2017                                                                                                       280 PARK AVENUE
                                                                                                                                   NEW YORK, NY 10017

2. 3354    PJT PARTNERS - LETTER AGREEMENT           12/31/2049         106105                   PJT PARTNERS, LP                  ATTN: GENERAL COUNSEL
           6MAY19 (R. ALEALI) EFFECTIVE MAY 06,                                                                                    280 PARK AVENUE
           2019                                                                                                                    NEW YORK, NY 10017

2. 3355    AMENDMENT #1 TO ADDENDUM TO                                  102508                   PLANISWARE USA, INC.              ATTN: GENERAL COUNSEL
           PROGRAM LICENSE AGREEMENT -                                                                                             300 MONTGOMERY STREET,
           CONFIGURATION AND CONSULTING                                                                                            SUITE 930
           SERVICES DATED JANUARY 31, 2014                                                                                         SAN FRANCISCO, CA

2. 3356    MASTER CONSULTANT SERVICES                                   102514                   POLARIS MANAGEMENT PARTNERS       ATTN: ANDY BENDER
           AGREEMENT EFFECTIVE AS OF                                                                                               38 EAST 2ND STREET
           JANUARY 07, 2009                                                                                                        6TH FLOOR
                                                                                                                                   NEW YORK, NY 10016

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2. 3357    SUBSCRIPTION AGREEMENT                                      102521                   PORZIO PHARMACEUTICALS             ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF FEBRUARY 01, 2011                                                                                       100 SOUTHGATE PARKWAY
                                                                                                                                   MORRISTOWN, NJ 07962-1997

2. 3358    INDEMNIFICATION AGREEMENT                                   102532                   PPD DEVELOPMENT, LLC               ATTN: GENERAL COUNSEL
           EXECUTED SEPTEMBER 27, 2001                                                                                             1400 PERIMETER PARK DRIVE,
                                                                                                                                   SUITE 150
                                                                                                                                   MORRISVILLE, NC 27560

2. 3359    PPD DEVELOPMENT, L.P. - QUALITY          12/31/2049         106060                   PPD DEVELOPMENT, LP                ATTN: GENERAL COUNSEL
           AGREEMENT CW2365254 EFFECTIVE                                                                                           929 NORTH FRONT STREET
           JANUARY 21, 2019                                                                                                        WILMINGTON, NC 28401

2. 3360    PROJECT SPECIFICATION ORDER #1 TO                           102549                   PRACTICE PATTERNS SCIENCE, INC.    ATTN: GENERAL COUNSEL
           MASTER CONSULTANT SERVICES
           AGREEMENT EFFECTIVE AS OF
           DECEMBER 01, 1999

2. 3361    GROUP PURCHASING AGREEMENT                                  102563                   PREMIER HEALTHECARE ALLIANCE L.P. ATTN: LEGAL DEPARTMENT
           PHARMACEUTICAL EFFECTIVE AS OF                                                                                         13034 BALLANTYNE CORPORATE
           JULY 01, 2015                                                                                                          PLACE
                                                                                                                                  CHARLOTTE, NC 28277

2. 3362    ENGAGEMENT LETTER EFFECTIVE AS                              102575                   PRICEWATERHOUSE COOPERS LLP        ATTN: GENERAL COUNSEL
           OF MARCH 20, 2018                                                                                                       1075 PEACHTREE ST. NE, SUITE
                                                                                                                                   2600
                                                                                                                                   ATLANTA, GA 30309

2. 3363    LOADED WORKSPACE DATED JUNE 01,                             102572                   PRICEWATERHOUSE COOPERS LLP        ATTN: GENERAL COUNSEL
           2017                                                                                                                    18 YORK STREET STE 2600
                                                                                                                                   TORONTO, ON M5J 0B2
                                                                                                                                   CANADA

2. 3364    PRICE WATERHOUSE COOPERS OTH                                102573                   PRICEWATERHOUSE COOPERS LLP        ATTN: GENERAL COUNSEL
           090916 CW2320015 AMENDMENT TO                                                                                           18 YORK STREET STE 2600
           ADVISORY SERVICES DTD 040915                                                                                            TORONTO, ON M5J 0B2
           (LH.RA) DATED JUNE 01, 2017                                                                                             CANADA

2. 3365    PRICE WATERHOUSE COOPERS OTH                                102574                   PRICEWATERHOUSE COOPERS LLP        ATTN: GENERAL COUNSEL
           090916 CW2320015 AMENDMENT TO                                                                                           18 YORK STREET STE 2600
           ADVISORY SERVICES DTD 040915                                                                                            TORONTO, ON M5J 0B2
           (LH.RA) DATED JUNE 01, 2017                                                                                             CANADA
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2. 3366    RE ABANDONED AND UNCLAIMED                                  102571                   PRICEWATERHOUSE COOPERS LLP      ATTN: GENERAL COUNSEL
           PROPERTY DATED AUGUST 31, 2006                                                                                        300 MADISON AVE
                                                                                                                                 NEW YORK, NY 10017

2. 3367    RE QPA - PHASE I FEASIBILITY                                102570                   PRICEWATERHOUSE COOPERS LLP      ATTN: GENERAL COUNSEL
           ANALYSIS DATED JULY 10, 2006                                                                                          300 ATLANTIC STREET
                                                                                                                                 STAMFORD, CT 06901

2. 3368    SAP - RETENTION AND ARCHIVING FOR                           102569                   PRICEWATERHOUSE COOPERS LLP      ATTN: GENERAL COUNSEL
           TAX RAFT DATED APRIL 29, 2003                                                                                         300 ATLANTIC STREET        P.O.
                                                                                                                                 BOX 9316
                                                                                                                                 STAMFORD, CT 06904

2. 3369    LETTER AGREEMENT EFFECTIVE AS OF                            102579                   PRIME TELECOM CONSULTING         ATTN: GENERAL COUNSEL
           JANUARY 21, 2014                                                                                                      6 APPLETREE LANE, SUITE 2D
                                                                                                                                 SPARTA, NJ 07871

2. 3370    TELECOMM AUTHORIZING LETTERS                                102580                   PRIME TELECOM CONSULTING, LLC    ATTN: GENERAL COUNSEL
           DATED JANUARY 21, 2014                                                                                                6 APPLETREE LANE, SUITE 2D
                                                                                                                                 SPARTA, NJ 07871

2. 3371    REVISED QUOTE 0041567 DATED APRIL                           102628                   PROCLINICAL PHARMACEUTICAL       ATTN: GENERAL COUNSEL
           19, 2000                                                                             SERVICES                         300 KIMBERTON ROAD
                                                                                                                                 PHOENIXVILLE, PA 19460

2. 3372    CONSULTANT SERVICES AGREEMENT                               102634                   PROED COMMUNICATIONS, INC.       ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF OCTOBER 19, 2018                                                                                      25101 CHAGRIN BOULEVARD,
                                                                                                                                 SUITE 230
                                                                                                                                 BEACHWOOD, OH 44122

2. 3373    GENERAL TERMS AND CONDITIONS                                102640                   PROOFPOINT INC.                  ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF NOVEMBER 09, 2015                                                                                     892 ROSS DRIVE
                                                                                                                                 SUNNYVALE, CA 94089

2. 3374    LETTER PURCHASING AGREEMENT                                 102644                   PROVIDER PPI LLC                 ATTN: DIRECTOR OF PHARMACY
           EFFECTIVE AS OF JULY 01, 2016                                                                                         CONTRACTING
                                                                                                                                 EAST COMMONS PROFESSIONAL
                                                                                                                                 BUILDING
                                                                                                                                 FOUR ALLEGHENY CENTER, 9TH
                                                                                                                                 FLOOR, 120 FIFTH AVE PLACE
                                                                                                                                 PITTSBURGH, PA 15222

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2. 3375    CONSULTANT SERVICES AGREEMENT                               102658                   PSYCHOLOGICAL CONSULTANTS, INC      ATTN: GENERAL COUNSEL
           DATED MARCH 27, 2017                                                                                                     6724 PATTERSON AVENUE
                                                                                                                                    RICHMOND, VA 23226

2. 3376    LETTER OF ENGAGEMENT DATED                                  102659                   PT HILL KONSULTAN INDONESIA         NOT AVAILABLE
           MARCH 11, 2004

2. 3377    ADVERTISING AGREEMENT EXECUTED                              102660                   PUB MAN, INC.                       ATTN: GENERAL COUNSEL
           SEPTEMBER 09, 2015                                                                                                       2030 POWERS FERRY ROAD
                                                                                                                                    SUITE 218
                                                                                                                                    ATLANTA, GA 30339

2. 3378    PUBLIC AFFAIRS SUPPORT SERVICES,         12/31/2049         106090                   PUBLIC AFFAIRS SUPPORT SERVICES     NOT AVAILABLE
           INC. - AMD 1 TO CSA CW2365982                                                        INC
           EFFECTIVE MARCH 15, 2019

2. 3379    ADDENDUM TO CONSULTANT                                      102662                   PUBLIC AFFAIRS SUPPORT SERVICES,    ATTN: GENERAL COUNSEL
           AGREEMENT DATED NOVEMBER 17,                                                         INC.                                1950 ROLAND CLARKE PLACE
           2015                                                                                                                     SUITE 300
                                                                                                                                    RESTON, VA 20191

2. 3380    CONSULTANT AGREEMENT EFFECTIVE                              102661                   PUBLIC AFFAIRS SUPPORT SERVICES,    ATTN: GENERAL COUNSEL
           AS OF APRIL 01, 2015                                                                 INC.                                1950 ROLAND CLARKE PLACE,
                                                                                                                                    SUITE 300
                                                                                                                                    RESTON, VA 20191

2. 3381    RHODES PHARMACEUTICALS L.P. -            12/31/2049         106084                   PURDUE PHARMA L.P.                  ONE STAMFORD FORUM
           ASSIGNMENT AND ASSUMPTION                                                                                                201 TRESSER BLVD
           AGREEMENT (P. STRASSBURGER)                                                                                              STAMFORD, CT 06901
           EFFECTIVE MARCH 26, 2019

2. 3382    RHODES PHARMACEUTICALS L.P. - SIDE       12/31/2049         106087                   PURDUE PHARMA L.P.                  ONE STAMFORD FORUM
           LETTER (P. STRASSBURGER)                                                                                                 201 TRESSER BLVD
           EFFECTIVE MARCH 26, 2019                                                                                                 STAMFORD, CT 06901

2. 3383    CONSULTANT SERVICES AGREEMENT                               102677                   PURPLE STRATEGIES, LLC              ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JUNE 01, 2017                                                                                            815 SLATERS LANE
                                                                                                                                    ALEXANDRIA, VA 22314




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2. 3384    CONSULTANT SERVICES AGREEMENT                               102679                   PURPLE STRATEGIES, LLC              ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JUNE 01, 2017                                                                                            815 SLATERS LANE
                                                                                                                                    ALEXANDRIA, VA 22314

2. 3385    PURPLE STRATEGIES, LLC AND                3/25/2020         105975                   PURPLE STRATEGIES, LLC              ATTN: GENERAL COUNSEL
           DECHERT LLP OTH CW2367954 AMD                                                                                            815 SLATERS LANE
           26MAR19 SA (LH.RA) EFFECTIVE                                                                                             ALEXANDRIA, VA 22314
           SEPTEMBER 01, 2019

2. 3386    PURPLE STRATEGIES, LLC AND                3/25/2020         105977                   PURPLE STRATEGIES, LLC              ATTN: GENERAL COUNSEL
           DECHERT LLP OTH CW2367954 AMD                                                                                            815 SLATERS LANE
           26MAR19 SA (LH.RA) EFFECTIVE                                                                                             ALEXANDRIA, VA 22314
           SEPTEMBER 01, 2019

2. 3387    SEARCH FIRM AGREEMENT DATED                                 102699                   QUEST ASSOCIATES, INC.              ATTN: GENERAL COUNSEL
           APRIL 29, 2011                                                                                                           765 MOUNTAIN AVE, #260
                                                                                                                                    SPRINGFIELD, NJ 07081

2. 3388    ADDENDUM NO. 15 TO MASTER                                   102702                   QUEST DIAGNOSTICS INCORPORATED      ATTN: GENERAL COUNSEL
           AGREEMENT DATED OCTOBER 11, 2001                                                                                         PO BOX 7780-4282
                                                                                                                                    PHILADELPHIA, PA 19182-4282

2. 3389    HOLD HARMLESS AGREEMENT                                     102704                   QUEST DIAGNOSTICS INCORPORATED      ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JUNE 11, 2001                                                        D/B/A QUEST DIAGNOSTICS CLINICAL    1201 SOUTH COLLEGEVILLE ROAD
                                                                                                TRIALS                              COLLEGEVILLE, PA 19426

2. 3390    HOLD HARMLESS AGREEMENT                                     102706                   QUEST DIAGNOSTICS INCORPORATED      ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JUNE 11, 2001                                                        D/B/A QUEST DIAGNOSTICS CLINICAL    1201 SOUTH COLLEGEVILLE ROAD
                                                                                                TRIALS                              COLLEGEVILLE, PA 19426

2. 3391    COUNSEL ENGAGEMENT LETTER                                   102736                   QUINN EMANUEL URQUHART &            ATTN: GENERAL COUNSEL
           DATED JUNE 03, 2014                                                                  SULLIVAN                            51 MADISON AVENUE
                                                                                                                                    22ND FLOOR
                                                                                                                                    NEW YORK, NY 10010

2. 3392    GENERAL CONSULTING AGREEMENT                                102740                   QUINTILES CONSULTING                ATTN: RONALD M. JOHNSON,
           EXECUTED JUNE 19, 2001                                                                                                   EXECUTIVE VICE PRESIDENT
                                                                                                                                    3130 FAIRVIEW PARK DRIVE
                                                                                                                                    SUITE 800
                                                                                                                                    FALLS CHURCH, VA 22042



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2. 3393    AMENDMENT NO. 1 TO                                          102746                   QUINTILES IMS INCORPORATED    ATTN: GENERAL COUNSEL
           PRODUCT/SERVICE ORDER EFFECTIVE                                                                                    3 PARKWAY NORTH
           AS OF MAY 19, 2017                                                                                                 SUITE 110
                                                                                                                              DEERFIELD, IL 60015

2. 3394    PRODUCT/SERVICE ORDER DATED                                 102747                   QUINTILES IMS INCORPORATED    ATTN: GENERAL COUNSEL
           APRIL 19, 2017                                                                                                     6737 WEST WASHINGTON STREET
                                                                                                                              SUITE 3480
                                                                                                                              MILWAUKEE, WI 53214

2. 3395    PRODUCT/SERVICE ORDER DATED                                 102749                   QUINTILES IMS INCORPORATED    ATTN: GENERAL COUNSEL
           JANUARY 01, 2017                                                                                                   3 PARKWAY NORTH
                                                                                                                              SUITE 110
                                                                                                                              DEERFIELD, IL 60015

2. 3396    CONSENT AGREEMENT EXECUTED                                  102750                   QUINTILES, INC.               ATTN: GENERAL COUNSEL
           DECEMBER 19, 2013                                                                                                  4820 EMPEROR BOULEVARD
                                                                                                                              DURHAM, NC 27703

2. 3397    INDEMNITY AGREEMENT REGARDING                               102758                   QUINTILES, INC.               ATTN: GENERAL COUNSEL
           WOMAC 3.1 INDEX EXECUTED JANUARY                                                                                   4820 EMPEROR BOULEVARD
           30, 2017                                                                                                           DURHAM, NC 27703

2. 3398    LETTER OF AGREEMENT EFFECTIVE AS                            102753                   QUINTILES, INC.               ATTN: GENERAL COUNSEL
           OF DECEMBER 15, 2000                                                                                               PO BOX 13979
                                                                                                                              RESEARCH TRIANGLE PARK, NC
                                                                                                                              27709

2. 3399    MAINTENANCE AGREEMENT EFFECTIVE                             102762                   QUMAS, INC.                   ATTN: GENERAL COUNSEL
           AS OF JUNE 01, 2001                                                                                                325 COLUMBIA TURNPIKE
                                                                                                                              FLORHAM PARK, NJ 07932

2. 3400    AGREEMENT FOR LITIGATION                                    102767                   QUORUM LITIGATION SERVICES    ATTN: GENERAL COUNSEL
           SERVICES DATED MARCH 25, 2004                                                                                      950 BLUE GENTIAN ROAD, SUITE
                                                                                                                              100
                                                                                                                              EAGAN, MN 55121-1500

2. 3401    STATEMENT OF SERVICES DATED                                 102765                   QUORUM LITIGATION SERVICES    ATTN: GENERAL COUNSEL
           MARCH 31, 2004                                                                                                     950 BLUE GENTIAN ROAD, SUITE
                                                                                                                              100
                                                                                                                              EAGAN, MN 55121-1500

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2. 3402    INDEMNIFICATION AGREEMENT                                   102769                   R/D CLINICAL RESEARCH, INC      ATTN: GENERAL COUNSEL
           EXECUTED JUNE 14, 2005                                                                                               561 THIS WAY
                                                                                                                                LAKE JACKSON, TX 77566

2. 3403    INDEMNIFICATION AGREEMENT DATED                             102772                   RADIANT RESEARCH, INC           ATTN: GENERAL COUNSEL
           JANUARY 07, 2002                                                                                                     12131 113TH AVENUE NE., SUITE
                                                                                                                                202
                                                                                                                                KIRKLAND, WA 98034-6902

2. 3404    INDEMNIFICATION AGREEMENT DATED                             102773                   RADIANT RESEARCH, INC           ATTN: GENERAL COUNSEL
           JANUARY 07, 2002                                                                                                     12131 113TH AVENUE NE., SUITE
                                                                                                                                202
                                                                                                                                KIRKLAND, WA 98034-6902

2. 3405    INDEMNIFICATION AGREEMENT DATED                             102774                   RADIANT RESEARCH, INC           ATTN: GENERAL COUNSEL
           JANUARY 07, 2002                                                                                                     12131 113TH AVENUE NE., SUITE
                                                                                                                                202
                                                                                                                                KIRKLAND, WA 98034-6902

2. 3406    INDEMNIFICATION AGREEMENT                                   102771                   RADIANT RESEARCH, INC           ATTN: GENERAL COUNSEL
           EXECUTED NOVEMBER 07, 2000                                                                                           12131 113TH AVENUE NE., SUITE
                                                                                                                                202
                                                                                                                                KIRKLAND, WA 98034-6902

2. 3407    INDEMNIFICATION AGREEMENT                                   102775                   RADIANT RESEARCH, INC           ATTN: GENERAL COUNSEL
           EXECUTED SEPTEMBER 29, 2003                                                                                          1120 112 AVE. NE, SUITE 480
                                                                                                                                BELLEVUE, WA 98004

2. 3408    INDEMNIFICATION AGREEMENT                                   102776                   RADIANT RESEARCH, INC           ATTN: GENERAL COUNSEL
           EXECUTED SEPTEMBER 29, 2003                                                                                          1120 112 AVE. NE, SUITE 480
                                                                                                                                BELLEVUE, WA 98004

2. 3409    LETTER AGREEMENT RE: TERMS OF                               102780                   RALF GEBHARD, M.D.              ATTN: GENERAL COUNSEL
           AUTHORSHIP DATED NOVEMBER 20,                                                                                        951 BRICKELL AVENUE
           2017                                                                                                                 #2204
                                                                                                                                MIAMI, FL 33131

2. 3410    CONSULTANT SERVICES AGREEMENT                               102793                   RAUN MELMED, M.D.               ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JANUARY 01, 2019                                                                                     4848 E. CACTUS ROAD, #940
                                                                                                                                SCOTTSDALE, AZ 85254



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Schedule G: Executory Contracts and Unexpired Leases
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2. 3411    NONCLINICAL STUDY AGREEMENT                                 102800                   REGENTS OF THE UNIVERSITY OF     ATTN: GENERAL COUNSEL
           DATED APRIL 01, 2002                                                                 NEW MEXICO / HEALTH SCIENCES     CONTROLLER'S OFFICE
                                                                                                CENTER                           HSSB ROOM #102, 915 CAMINO DE
                                                                                                                                 SALUD NE
                                                                                                                                 ALBUQUERQUE, NM 87131

2. 3412    REGULATORY AND TOXICOLOGY                                   102801                   REGULATORY AND TOXICOLOGY        ATTN: GENERAL COUNSEL
           CONSULTANT CSA CW2354982 (LH.RA)                                                     CONSULTANT, LLC                  13810 BERRYVILLE ROAD
           DATED JUNE 14, 2017                                                                                                   GERMANTOWN, MD

2. 3413    LETTER PURCHASING AGREEMENT                                 102832                   RESOURCE OPTIMIZATION &          ATTN: PHARMACY CONTRACT
           EFFECTIVE AS OF OCTOBER 01, 2015                                                     INNOVATION LLC                   DIRECTOR
                                                                                                                                 645 MARYVILLE CENTRE DRIVE,
                                                                                                                                 SUITE 200
                                                                                                                                 ST. LOUIS, MO 63141

2. 3414    CONSULTANT SERVICES AGREEMENT                               102834                   RESQ ASSOCIATES, INC.            ATTN: GLEN ANN HAGEMAN
           DATED JUNE 01, 1998                                                                                                   95 CLEARVIEW DRIVE
                                                                                                                                 BROOKFIELD, CT 06804

2. 3415    RHODES PHARMACEUTICALS L.P. -            12/31/2049         106085                   RHODES PHARMACEUTICALS LP        498 WASHINGTON STREET
           ASSIGNMENT AND ASSUMPTION                                                                                             COVENTRY, RI 02816
           AGREEMENT (P. STRASSBURGER)
           EFFECTIVE MARCH 26, 2019

2. 3416    RHODES PHARMACEUTICALS L.P. - SIDE       12/31/2049         106086                   RHODES PHARMACEUTICALS LP        498 WASHINGTON STREET
           LETTER (P. STRASSBURGER)                                                                                              COVENTRY, RI 02816
           EFFECTIVE MARCH 26, 2019

2. 3417    AGREEMENT DATED JANUARY 24, 2019                            106307                   RICHARD J. PRENDERGAST LTD       ATTN: MICHAEL T. LAYDEN
                                                                                                                                 111 WEST WASHINGTON STREET
                                                                                                                                 SUITE 1100
                                                                                                                                 CHICAGO, IL 60602

2. 3418    CONSULTANT SERVICES AGREEMENT                               102888                   RICHARD JACKSON MD               ATTN: GENERAL COUNSEL
           DATED JANUARY 01, 2019                                                                                                16376 PANTHEON PASS
                                                                                                                                 DELRAY BEACH, FL 33446

2. 3419    RICHARD SLUTSKY SOW 012617                                  102891                   RICHARD M. SLUTSKY, MD           ATTN: GENERAL COUNSEL
           CW2351255 HCP CONSULT (LH.ER)                                                                                         1450 WASHINGTON BLVD.
           DATED JANUARY 30, 2017                                                                                                STAMFORD, CT 06902

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2. 3420    AGREEMENT DATED JANUARY 4, 2019                             106304                   RIKER DANZIG SCHERER HYLAND &     ATTN: MAHA KABBASH
                                                                                                PERRETTI LLP                      HEADQUARTERS PLAZA
                                                                                                                                  ONE SPEEDWELL AVENUE
                                                                                                                                  MORRISTOWN, NJ 07962-1981

2. 3421    CONSULTANT SERVICES AGREEMENT                               102894                   RISA HELLER COMMUNICATIONS LLC    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF AUGUST 01, 2018                                                                                        233 BROADWAY #2701
                                                                                                                                  NEW YORK, NY 10279

2. 3422    LETTER AGREEMENT EFFECTIVE AS OF                            102906                   ROBERT SHOOK                      ATTN: GENERAL COUNSEL
           JULY 11, 2006                                                                                                          261 SOUTH COLUMBIA AVENUE
                                                                                                                                  COLUMBUS, OH 43209

2. 3423    MASTER CONSULTANT SERVICES                                  102907                   ROBERTA A. DUARTE, MD             ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF JULY                                                                                         611 NORTHERN BOULEVARD
           01, 2016                                                                                                               SUITE 150
                                                                                                                                  GREAT NECK, NY 11021

2. 3424    ROBINSON REGDOCS MASTER                                     102909                   ROBINSON REGDOCS, INC.            ATTN: GENERAL COUNSEL
           07012016 CW2221277 (LH.CG) DATED                                                                                       4145 HERBST DRIVE
           JULY 28, 2016                                                                                                          DOLYESTOWN, PA 18902

2. 3425    CONSULTANT SERVICES AGREEMENT                               102910                   ROCHELLE AND ASSOCIATES, INC.     ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF FEBRUARY 23, 1999                                                                                      3938 WHITE ROSE WAY
                                                                                                                                  ELLICOTT CITY, MD 21042

2. 3426    LETTER OF CLARITY EFFECTIVE AS OF                           102918                   ROCHESTER DRUG CO-OPERATIVE,      ATTN: GENERAL COUNSEL
           FEBRUARY 13, 2015                                                                    INC.                              50 JET VIEW DRIVE
                                                                                                                                  ROCHESTER, NY 14624

2. 3427    INDEMNIFICATION AGREEMENT                                   102919                   ROCKWOOD CLINIC, P.S.             ATTN: GENERAL COUNSEL
           EXECUTED DECEMBER 30, 2002                                                                                             400 EAST 5TH AVENUE
                                                                                                                                  SPOKANE, WA 99202

2. 3428    INDEMNIFICATION AGREEMENT                                   102921                   ROCKWOOD CLINIC, P.S.             ATTN: GENERAL COUNSEL
           EXECUTED DECEMBER 30, 2002                                                                                             400 EAST FIFTH AVENUE
                                                                                                                                  SPOKANE, WA 99202

2. 3429    INDEMNIFICATION AGREEMENT FOR                               102920                   ROCKWOOD CLINIC, P.S.             ATTN: GENERAL COUNSEL
           THE PRINCIPAL INVESTOR EFFECTIVE                                                                                       400 EAST FIFTH AVENUE
           AS OF DECEMBER 30, 2002                                                                                                SPOKANE, WA 99202

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2. 3430    CORRECTION OF AMENDMENT 1 DATED                             102923                   ROCKY MOUNTAIN CLINICAL          ATTN: GENERAL COUNSEL
           MAY 21, 2003                                                                         RESEARCH                         29 ROGERS COURT
                                                                                                                                 GOLDEN, CO 80401

2. 3431    RODA CREATIVE SERVICES, LTD. OTH         12/31/2019         105936                   RODA CREATIVE SERVICES           ATTN: GENERAL COUNSEL
           CW2365151 AMEND2 TO SOW 2018-1                                                                                        1381 W POPLAR ST STE 200
           (LH.RA) EFFECTIVE JANUARY 01, 2019                                                                                    YORK, PA 17404

2. 3432    RODA CREATIVE SERVICES, LTD. OTH         12/31/2019         105934                   RODA CREATIVE SERVICES           ATTN: GENERAL COUNSEL
           CW2365355 AMEND3 TO SOW 2018-1                                                                                        1381 W POPLAR ST STE 200
           (LH.RA) EFFECTIVE FEBRUARY 01, 2019                                                                                   YORK, PA 17404

2. 3433    CONSENT TO DISCLOSE CONFIDENTIAL                            102932                   ROPES & GRAY LLP                 ATTN: GENERAL COUNSEL
           INFORMATION DATED MARCH 23, 2011                                                                                      1211 AVE OF THE AMERICAS
                                                                                                                                 NEW YORK, NY 10036-8701

2. 3434    TRANSFER OF REGULATORY                                      102936                   ROXANNE LABORATORIES             NOT AVAILABLE
           OBLIGATIONS EXECUTED SEPTEMBER
           28, 2015

2. 3435    CONSULTANT SERVICES AGREEMENT                               102955                   SAB GROUP LLC D/B/A PRISM        ATTN: GENERAL COUNSEL
           DATED NOVEMBER 10, 2017                                                              LEARNING GROUP                   9316 NE 30TH STREET
                                                                                                                                 CLYDE HILL, WA 98004

2. 3436    CONSULTANT SERVICES AGREEMENT                               102958                   SAFETY PERFORMANCE SOLUTIONS,    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF FEBRUARY 17, 2017                                                    INC.                             610 N. MAIN STREET, SUITE 228
                                                                                                                                 BLACKSBURG, VA 24060

2. 3437    SAMIR ROY PHD CSA 020617                                    102964                   SAMIR ROY, PHD                   ATTN: GENERAL COUNSEL
           CW2351554 TOPICAL FORMULATION                                                                                         2795 BAY CANYON COURT
           CONSULTANT (LH.MP) DATED                                                                                              SAN DIEGO, CA 92117
           FEBRUARY 06, 2017

2. 3438    PATENT AND EXCLUSIVITY                                      102984                   SANDOZ, INC.                     ATTN: GENERAL COUNSEL
           CERTIFICATION EFFECTIVE AS OF                                                                                         ONE HEALTH PLAZA
           JANUARY 05, 2014                                                                                                      BUILDING 434, OFFICE 246
                                                                                                                                 EAST HANOVER, NJ 07936

2. 3439    MASTER CONSULTANT SERVICES                                  102985                   SANDY GALLO                      7401 W. VILLA RITA DRIVE
           AGREEMENT EFFECTIVE AS OF JULY                                                                                        GLENDALE, AZ 85308
           01, 2016

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2. 3440    FEEDBACK AGREEMENT 882016                                   103012                   SAP SE                             ATTN: GENERAL COUNSEL
           LCW00429581 DATED AUGUST 08, 2016                                                                                       DIETMAR-HOOP-ALLEE 16, 69190
                                                                                                                                   WALLDORF, DE(GERMANY)

2. 3441    RENTAL EQUIPMENT; ; TERMS AND                               103029                   SCHENCK ACCURATE, INC.             ATTN: GENERAL COUNSEL
           AGREEMENT DATED MAY 02, 2011

2. 3442    NOVAK AUTHORSHIP AGREEMENT                                  103037                   SCOTT NOVAK, PH.D.                 ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JUNE 15, 2017                                                                                           102 CHALKWELL COURT
                                                                                                                                   CARY, NC 27519

2. 3443    CONSULTANT SERVICES AGREEMENT                               103038                   SCRIPPS MEDIA INC.                 ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JULY 06, 2018                                                                                           312 WALNUT
                                                                                                                                   SUITE 2800
                                                                                                                                   CINCINNATI, OH 45202

2. 3444    CONSULTANT SERVICES AGREEMENT                               103040                   SEGMEDICA, INC.                    ATTN: GENERAL COUNSEL
           DATED SEPTEMBER 28, 2018                                                                                                935 SHERIDAN DRIVE, SUITE 120
                                                                                                                                   TONAWANDA, NY 14150

2. 3445    CONSULTANT SERVICES AGREEMENT                               103046                   SERMO, INC.                        ATTN: GENERAL COUNSEL
           DATED JANUARY 31, 2018                                                                                                  200 PAK AVENUE S #1310
                                                                                                                                   NEW YORK, NY 10003

2. 3446    CONSULTANT ENGAGEMENT LETTER                                103050                   SEYMOUR INVESTIGATIVE SERVICES     ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF APRIL 01, 2016                                                       LLC                                929 WHITE PLAINS ROAD, SUITE
                                                                                                                                   378
                                                                                                                                   TRUMBULL, CT 06611

2. 3447    PURCHASE AGREEMENT DATED                                    103053                   SHARED MARKETING SERVICES, INC.    ATTN: GENERAL COUNSEL
           FEBRUARY 01, 1997                                                                                                       233 N. MICHIGAN AVE.
                                                                                                                                   SUITE 2700
                                                                                                                                   CHICAGO, IL 60601

2. 3448    MASTER CONSULTANT SERVICES                                  103058                   SHEILA ARQUETTE, RPH               ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                                                               24 CAMBRIDGE COURT
           AUGUST 10, 2016                                                                                                         LANCASTER, NY 14086

2. 3449    AMENDMENT NO. 3 TO COLLABORATION                            103064                   SHIONOGI & CO., LTD                ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                                                               1-8, DOSHOMACHI 3-CHOME,
           DECEMBER 01, 2014                                                                                                       CHUO-KU, OSAKA, 541-0045, JAPAN

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2. 3450    AMENDMENT NO. 4 TO COLLABORATION                            103066                   SHIONOGI & CO., LTD           ATTN: GENERAL COUNSEL
           AGREEMENT DATED DECEMBER 01,                                                                                       1-8, DOSHOMACHI 3-CHOME,
           2014                                                                                                               CHUO-KU, OSAKA, 541-0045, JAPAN

2. 3451    COLLABORATION AGREEMENT DATED                               103061                   SHIONOGI & CO., LTD           ATTN: GENERAL COUNSEL
           DECEMBER 15, 2005                                                                                                  1-8, DOSHOMACHI 3-CHOME,
                                                                                                                              CHUO-KU, OSAKA, 541-0045, JAPAN

2. 3452    COLLABORATION AGREEMENT FOR                                 103074                   SHIONOGI & CO., LTD           ATTN: GENERAL COUNSEL
           TRP-V1 DATED DECEMBER 15, 2005                                                                                     1-8, DOSHOMACHI 3-CHOME,
                                                                                                                              CHUO-KU, OSAKA, 541-0045, JAPAN

2. 3453    COMMON INTEREST AGREEMENT                                   103073                   SHIONOGI & CO., LTD           ATTN: GENERAL COUNSEL
           DATED DECEMBER 15, 2005                                                                                            1-8, DOSHOMACHI 3-CHOME,
                                                                                                                              CHUO-KU, OSAKA, 541-0045, JAPAN

2. 3454    FIFTH AMENDMENT TO                                          103060                   SHIONOGI & CO., LTD           ATTN: GENERAL COUNSEL
           COLLABORATION AGREEMENT                                                                                            1-8, DOSHOMACHI 3-CHOME,
           EFFECTIVE AS OF SEPTEMBER 30, 2017                                                                                 CHUO-KU, OSAKA, 541-0045, JAPAN

2. 3455    FIRST AMENDMENT TO                                          103062                   SHIONOGI & CO., LTD           ATTN: GENERAL COUNSEL
           COLLABORATION AGREEMENT                                                                                            1-8, DOSHOMACHI 3-CHOME,
           EFFECTIVE AS OF FEBRUARY 17, 2010                                                                                  CHUO-KU, OSAKA, 541-0045, JAPAN

2. 3456    FOURTH AMENDMENT TO                                         103075                   SHIONOGI & CO., LTD           ATTN: GENERAL COUNSEL
           COLLABORATION AGREEMENT                                                                                            1-8, DOSHOMACHI 3-CHOME,
           EFFECTIVE AS OF DECEMBER 01, 2014                                                                                  CHUO-KU, OSAKA, 541-0045, JAPAN

2. 3457    RE ADJUSTMENT OF V116517                                    103070                   SHIONOGI & CO., LTD           ATTN: GENERAL COUNSEL
           DEVELOPMENT COST DATED                                                                                             1-8, DOSHOMACHI 3-CHOME,
           NOVEMBER 26, 2010                                                                                                  CHUO-KU, OSAKA, 541-0045, JAPAN

2. 3458    SECOND AMENDMENT TO                                         103063                   SHIONOGI & CO., LTD           ATTN: GENERAL COUNSEL
           COLLABORATION AGREEMENT                                                                                            1-8, DOSHOMACHI 3-CHOME,
           EFFECTIVE AS OF OCTOBER 15, 2011                                                                                   CHUO-KU, OSAKA, 541-0045, JAPAN

2. 3459    SECOND AMENDMENT TO MATERIALS                               103069                   SHIONOGI & CO., LTD           ATTN: GENERAL COUNSEL
           TRANSFER AGREEMENT DATED JULY                                                                                      1-8, DOSHOMACHI 3-CHOME,
           04, 2005                                                                                                           CHUO-KU, OSAKA, 541-0045, JAPAN



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2. 3460    THIRD AMENDMENT TO                                           103071                   SHIONOGI & CO., LTD               ATTN: GENERAL COUNSEL
           COLLABORATION AGREEMENT DATED                                                                                           1-8, DOSHOMACHI 3-CHOME,
           DECEMBER 01, 2014                                                                                                       CHUO-KU, OSAKA, 541-0045, JAPAN

2. 3461    AMENDMENT TO THE CONFIDENTIAL                                 9024                    SHIONOGI & CO., LTD.              ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE MAY 31, 2017                                                                                        1-8, DOSHOMACHI 3-CHOME,
                                                                                                                                   CHUO-KU, OSAKA, 541-0045, JAPAN

2. 3462    CONFIDENTIALITY AGREEMENT                                     9023                    SHIONOGI & CO., LTD.              ATTN: GENERAL COUNSEL
           EFFECTIVE NOVEMBER 25, 2015                                                                                             1-8, DOSHOMACHI 3-CHOME,
                                                                                                                                   CHUO-KU, OSAKA, 541-0045, JAPAN

2. 3463    SUPERSEDING EXISTING                                          9025                    SHIONOGI & CO., LTD.              ATTN: GENERAL COUNSEL
           CONFIDENTIALITY AGREEMENT DATED                                                                                         1-8, DOSHOMACHI 3-CHOME,
           DECEMBER 17, 2016                                                                                                       CHUO-KU, OSAKA, 541-0045, JAPAN

2. 3464    AGREEMENT DATED AUGUST 31, 2019                              106308                   SHUMAN, MCCUSKEY & SLICER PLLC    ATTN: WILLIAM R. SLICER
                                                                                                                                   1411 VIRGINIA STREET EAST
                                                                                                                                   SUITE 20 (25301), PO BOX 3953
                                                                                                                                   CHARLESTON, WV 25339

2. 3465    ENGAGEMENT LETTER DATED                                      103091                   SIDLEY AUSTIN LP                  ATTN: GENERAL COUNSEL
           OCTOBER 14, 2010                                                                                                        NEO BUILDING
                                                                                                                                   RUE MONTOYER 51
                                                                                                                                   MONTOYERSTRAAT, B-1000
                                                                                                                                   BRUSSELS
                                                                                                                                   BELGIUM

2. 3466    PROFESSIONAL SERVICES AGREEMENT                              103092                   SIDLEY AUSTIN, LLP                ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF FEBRUARY 11, 2008                                                                                       1501 K STREET NORTHWEST
                                                                                                                                   WASHINGTON, DC 20005

2. 3467    CONSULTING SERVICES AGREEMENT                                103094                   SIDNEY D. NELSON, PHD             ATTN: GENERAL COUNSEL
           DATED NOVEMBER 19, 2003                                                                                                 3706 97TH PLACE SOUTHEAST
                                                                                                                                   EVERETT, WA 98208

2. 3468    SIMR OTH CW2366170 STATINMED MSA           5/31/2022         105978                   SIMR, INC.                        ATTN: GENERAL COUNSEL
           AMD (LH.RA) EFFECTIVE MARCH 28, 2019                                                                                    211 NORTH 4TH AVENUE, SUITE 2B
                                                                                                                                   ANN ARBOR, MI 48104




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2. 3469    LAW FIRM RETAINER LETTER DATED                              103107                   SKADDEN, ARPS, SLATE, MEAGHER &     ATTN: GENERAL COUNSEL
           APRIL 29, 2013                                                                       FLOM LLP                            1440 NEW YORK AVENUE N.W.
                                                                                                                                    WASHINGTON, DC 20005

2. 3470    SKADDEN, ARPS, SLATE, MEAGHER                               103108                   SKADDEN, ARPS, SLATE, MEAGHER, &    ATTN: GENERAL COUNSEL
           FLOM LLP - SUBLEASE OF                                                               FLOM LLP                            1440 NEW YORK AVENUE, N.W.
           WASHINGTON, DC OFFICE SPACE (EGA)                                                                                        WASHINGTON, D.C. 20005
           DATED DECEMBER 08, 2017

2. 3471    CONSULTING SERVICES AGREEMENT                               103114                   SLI ASSOCIATES INC.                 ATTN: GENERAL COUNSEL
           DATED MAY 19, 1997                                                                                                       2100 CONSTITUTION BLVD
                                                                                                                                    SARASOTA, FL 34231

2. 3472    SNAPENGAGE MSA CW2319837 CLICK                              103120                   SNAPENGAGE                          ATTN: GENERAL COUNSEL
           TO CHAT WEBSITE FEATURE (NK.CAG)                                                                                         1722 14TH ST, SUITE 220
           DATED JULY 05, 2017                                                                                                      BOULDER, CO

2. 3473    CONSULTANT ENGAGEMENT LETTER                                103126                   SOLIZ & ASSOCIATES                  ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF APRIL 01, 2016                                                                                           EJERCITO NACIIONAL #418,
                                                                                                                                    INTERIOR 811
                                                                                                                                    COLONIA CHAPULTEPEC
                                                                                                                                    MORALES, MEXICO

2. 3474    SOLVIAS AMD MASTER TO ALLOW FOR                             103129                   SOLVIAS AG                          ATTN: GENERAL COUNSEL
           POS CW2356429 (LH.RA) DATED
           SEPTEMBER 14, 2017

2. 3475    MASTER CONSULTANT SERVICES                                  103138                   SONIA ANCOLI-ISRAEL, PHD            ATTN: GENERAL COUNSEL
           AGREEMENT DATED JUNE 01, 2016                                                                                            4280 ARGUELLO STREET
                                                                                                                                    SAN DIEGO, CA 92103

2. 3476    STRATEGIC CONSULTING SERVICES IN                            103140                   SONNENSCHEIN NATH & ROSENTHAL       ATTN: GENERAL COUNSEL
           CONNECTION WITH PURDUE'S RISK                                                        LLP
           EVALUATION AND MITIGATION
           STRATEGIES REMS DATED JANUARY
           07, 2009

2. 3477    SOTAX CORPORATION OTH CW2366749           4/30/2022         105981                   SOTAX CORP                          NOT AVAILABLE
           AMEND 4 EXTENSION TO MSA (LH.RA)
           EFFECTIVE MAY 01, 2019



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2. 3478    COMPUTER LOAN AGREEMENT                                     103147                   SOUNDVIEW MEDICAL ASSOCIATES    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JANUARY 02, 2001                                                                                     520 WEST AVENUE
                                                                                                                                NORWALK, CT 06850

2. 3479    INVESTOR RIGHTS SIDE LETTER                                  9009                    SPINETHERA INC.                 ATTN: GENERAL COUNSEL
           AGREEMENT DATED NOVEMBER 1, 2018                                                                                     15600 MEDINA ROAD
                                                                                                                                SUITE 247
                                                                                                                                PLYMOUTH, MN 55447

2. 3480    OPTION AND AGREEMENT AND PLAN                                9035                    SPINETHERA INC.                 ATTN: GENERAL COUNSEL
           OF MERGER DATED OCTOBER 19, 2018                                                                                     15600 MEDINA ROAD
                                                                                                                                SUITE 247
                                                                                                                                PLYMOUTH, MN 55447

2. 3481    SECOND AMENDED AND RESTATED                                  9008                    SPINETHERA INC.                 ATTN: PRESIDENT AND CEO
           INVESTOR RIGHTS AGREEMENT                                                                                            15600 MEDINA ROAD
           ENTERED INTO NOVEMBER 1, 2018                                                                                        SUITE 247
                                                                                                                                PLYMOUTH, MN 55447

2. 3482    STOCK PURCHASE AGREEMENT                                     9036                    SPINETHERA INC.                 ATTN: GENERAL COUNSEL
           ENTERED NOVEMBER 1, 2018                                                                                             15600 MEDINA ROAD
                                                                                                                                SUITE 247
                                                                                                                                PLYMOUTH, MN 55447

2. 3483    VOTING AND SUPPORT AGREEMENT                                 9013                    SPINETHERA INC.                 ATTN: GENERAL COUNSEL
           (DAVE WOOD) DATED OCTOBER 17, 2018                                                                                   15600 MEDINA ROAD
                                                                                                                                SUITE 247
                                                                                                                                PLYMOUTH, MN 55447

2. 3484    VOTING AND SUPPORT AGREEMENT                                 9021                    SPINETHERA INC.                 ATTN: GENERAL COUNSEL
           (JEFF MISSLING) DATED OCTOBER 16,                                                                                    15600 MEDINA ROAD
           2018                                                                                                                 SUITE 247
                                                                                                                                PLYMOUTH, MN 55447

2. 3485    VOTING AND SUPPORT AGREEMENT                                 9020                    SPINETHERA INC.                 ATTN: GENERAL COUNSEL
           (JEROME K. JEROME) DATED OCTOBER                                                                                     15600 MEDINA ROAD
           16, 2018                                                                                                             SUITE 247
                                                                                                                                PLYMOUTH, MN 55447




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2. 3486    VOTING AND SUPPORT AGREEMENT                                 9019                    SPINETHERA INC.                  ATTN: GENERAL COUNSEL
           (MARK JOHNSON) DATED OCTOBER 16,                                                                                      15600 MEDINA ROAD
           2018                                                                                                                  SUITE 247
                                                                                                                                 PLYMOUTH, MN 55447

2. 3487    VOTING AND SUPPORT AGREEMENT                                 9018                    SPINETHERA INC.                  ATTN: GENERAL COUNSEL
           (PROMED MOLDED PRODUCTS, INC.)                                                                                        15600 MEDINA ROAD
           DATED OCTOBER 16, 2018                                                                                                SUITE 247
                                                                                                                                 PLYMOUTH, MN 55447

2. 3488    VOTING AND SUPPORT AGREEMENT                                 9017                    SPINETHERA INC.                  ATTN: GENERAL COUNSEL
           (PROMED PHARMA LLC) DATED                                                                                             15600 MEDINA ROAD
           OCTOBER 17, 2018                                                                                                      SUITE 247
                                                                                                                                 PLYMOUTH, MN 55447

2. 3489    VOTING AND SUPPORT AGREEMENT                                 9016                    SPINETHERA INC.                  ATTN: GENERAL COUNSEL
           (PYOTT TRUST) DATED OCTOBER 17,                                                                                       15600 MEDINA ROAD
           2018                                                                                                                  SUITE 247
                                                                                                                                 PLYMOUTH, MN 55447

2. 3490    VOTING AND SUPPORT AGREEMENT                                 9015                    SPINETHERA INC.                  ATTN: GENERAL COUNSEL
           (ROBERT MISSLING) DATED OCTOBER                                                                                       15600 MEDINA ROAD
           16, 2018                                                                                                              SUITE 247
                                                                                                                                 PLYMOUTH, MN 55447

2. 3491    VOTING AND SUPPORT AGREEMENT                                 9014                    SPINETHERA INC.                  ATTN: GENERAL COUNSEL
           (WAYNE KELLY) DATED OCTOBER 16,                                                                                       15600 MEDINA ROAD
           2018                                                                                                                  SUITE 247
                                                                                                                                 PLYMOUTH, MN 55447

2. 3492    WRITTEN CONSENT RESOLUTIONS OF                               9034                    SPINETHERA INC.                  ATTN: GENERAL COUNSEL
           THE STOCKHOLDERS OF SPINETHERA,                                                                                       15600 MEDINA ROAD
           INC. DATED OCTOBER 16, 2018                                                                                           SUITE 247
                                                                                                                                 PLYMOUTH, MN 55447

2. 3493    CUSTOM SERVICE AGREEMENT                                    103173                   SPRINT SOLUTIONS, INC.           ATTN: VL LAW DEPARTMENT,
           EFFECTIVE AS OF OCTOBER 25, 2004                                                                                      MARKETING & SALES
                                                                                                                                 KSOPHT0101-Z2525
                                                                                                                                 6391 SPRINT PARKWAY
                                                                                                                                 OVERLAND PARK 66251-2525



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2. 3494    LETTER AGREEMENT DATED                                      103174                   ST. THOMAS AQUINAS COLLEGE        ATTN: GENERAL COUNSEL
           NOVEMBER 05, 2014                                                                                                      125 ROUTE 340
                                                                                                                                  SPARKILL, US 10976

2. 3495    SEARCH FIRM AGREEMENT DATED                                 103177                   STAFFING SERVICES INC.            ATTN: GENERAL COUNSEL
           OCTOBER 04, 2007                                                                                                       169 ARBOR CREST
                                                                                                                                  SOMERS, US 10589

2. 3496    TOLLING AGREEMENT DATED MAY 12,                             103180                   STATE ATTORNEY GENERAL            ATTN: GENERAL COUNSEL
           2004                                                                                                                   55 ELM STREET
                                                                                                                                  HARTFORD, CT 06106

2. 3497    LETTER AGREEMENT DATED MAY 09,                              103185                   STEEL HECTOR & DAVIS LLP          ATTN: GENERAL COUNSEL
           2003                                                                                                                   1900 PHILLIPS POINT WEST
                                                                                                                                  777 SOUTH FLAGLER DRIVE
                                                                                                                                  WEST PALM BEACH, US 33401

2. 3498    INDEMNIFICATION AGREEMENT                                   103189                   STEPHEN LUBER, M.D.               ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF DECEMBER 30, 2002                                                                                      400 EAST 5TH AVENUE
                                                                                                                                  SPOKANE, WA 99202

2. 3499    INDEMNIFICATION AGREEMENT                                   103190                   STEPHEN LUBER, M.D.               ATTN: GENERAL COUNSEL
           EXECUTED DECEMBER 30, 2002                                                                                             400 EAST 5TH AVENUE
                                                                                                                                  SPOKANE, WA 99202

2. 3500    INDEMNIFICATION AGREEMENT                                   103191                   STEPHEN LUBER, M.D.               ATTN: GENERAL COUNSEL
           EXECUTED DECEMBER 30, 2002                                                                                             400 EAST 5TH AVENUE
                                                                                                                                  SPOKANE, WA 99202

2. 3501    AUTHORSHIP AGREEMENT EFFECTIVE                              103203                   STEVEN E. LABKOFF, M.D., FACP,    ATTN: GENERAL COUNSEL
           AS OF MARCH 23, 2018                                                                 FACMI                             82 BLACK WOOD LANE
                                                                                                                                  STAMFORD, CT 06903

2. 3502    CONSULTANT SERVICES AGREEMENT                               103204                   STEVEN K. BRAUER C/O              ATTN: GENERAL COUNSEL
           DATED OCTOBER 31, 2001                                                               CORSOLUTIONS, INC.                1371A ABBOTT COURT
                                                                                                                                  BUFFALO GROVE, IL 60089

2. 3503    TOLLING AND STANDSTILL AGREEMENT                            103210                   STITES & HARBISON PLLC            ATTN: GENERAL COUNSEL
           DATED JANUARY 30, 2014                                                                                                 400 WEST MARKET STREET,
                                                                                                                                  SUITE 1800
                                                                                                                                  LOUISVILLE, KY 40202

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2. 3504    CONSULTANT ENGAGEMENT LETTER                                103212                   STONECOLD INVESTIGATIONS, LLC    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF APRIL 01, 2016                                                                                        1060 KANE CONCOURSE
                                                                                                                                 BAY HARBOR ISLANDS, FL 33154

2. 3505    INVESTMENT MANAGEMENT                                       103217                   STRATEGIC ADVISERS, INC.         ATTN: GENERAL COUNSEL
           AGREEMENT DATED MARCH 02, 2015                                                                                        82 DEVONSHIRE STREET
                                                                                                                                 BOSTON, MA

2. 3506    CONSULTANT SERVICES AGREEMENT                               103218                   STRATEGIC HEALTHCARE             ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF NOVEMBER 06, 2000                                                    CONSULTING, LTD.                 90 NORWOOD ROAD
                                                                                                                                 WEST HARTFORD, CT 06117

2. 3507    CONSULTANT SERVICES AGREEMENT                               103219                   STRATEGIC MARKETING              ATTN: BRIAN ATTIG, PH.D.
           EFFECTIVE AS OF JANUARY 16, 2001                                                     CORPORATION                      ONE BELMONT AVENUE
                                                                                                                                 SUITE 802
                                                                                                                                 BALA CYNWYD, PA 19004-1645

2. 3508    PRICING AND FORECASTING STUDY                               103220                   STRATEGIC MARKETING              ATTN: T.H. KERN, M.A. PROJECT
           AGREEMENT DATED SEPTEMBER 15,                                                        CORPORATION                      MANAGER
           2000                                                                                                                  ONE BELMONT AVENUE
                                                                                                                                 SUITE 802
                                                                                                                                 BALA CYNWYD, PA 19004-1645

2. 3509    CONSULTING AGREEMENT DATED                                  103224                   STRATEGIC SOLUTIONS NA, INC.     ATTN: GENERAL COUNSEL
           APRIL 08, 1999                                                                                                        1982 WASHINGTON VALLEY ROAD
                                                                                                                                 SUITE 156, P.O. BOX 309
                                                                                                                                 MARTINSVILLE, NJ 08836

2. 3510    CONSULTANT SERVICES AGREEMENT                               103226                   STU LOESER & CO.                 ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF AUGUST 01, 2018                                                                                       1460 BROADWAY
                                                                                                                                 NEW YORK, NY 10036

2. 3511    INDEMNIFICATION AGREEMENT                                   103228                   SUMMIT RESEARCH NETWORK, INC.    ATTN: GENERAL COUNSEL
           EXECUTED JULY 25, 2000                                                                                                4704 HARLAN STREET
                                                                                                                                 SUITE 500
                                                                                                                                 DENVER, CO 80212

2. 3512    CONSULTANT SERVICES AGREEMENT                               103231                   SUVRAT BHARGAVE, M.D.            ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JANUARY 01, 2019                                                                                      120 HANDLEY ROAD, SUITE 310
                                                                                                                                 TYRONE, GA 30269



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2. 3513    SYMBIANCE AMD4 TO MCRO                                      103258                   SYMBIANCE, INC.                  ATTN: GENERAL COUNSEL
           AGREEMENT CW2359056 (LK.RA) DATED
           DECEMBER 21, 2017

2. 3514    T11 GROUP CONSULTING                                        103275                   T-11 GROUP CONSULTING, INC.      ATTN: GENERAL COUNSEL
           ENGAGEMENT LETTER CW2359940                                                                                           135 SCHOONER LANE
           (DT.RA) DATED FEBRUARY 01, 2018                                                                                       COPIAGUE, NY 11725

2. 3515    ADVANTAGE PREMIUM SUPPORT                                   103276                   TA INSTRUMENTS-WATERS LLC        ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                                                             109 LUKENS DRIVE
           SEPTEMBER 05, 2008                                                                                                    NEW CASTLE, DE 19720

2. 3516    CONSULTANT SERVICES AGREEMENT                               103277                   TAMAR LASKY, PHD                 ATTN: GENERAL COUNSEL
           DATED FEBRUARY 27, 2017                                                                                               6913 BONNIE RIDGE DRIVE
                                                                                                                                 APT. 102
                                                                                                                                 BALTIMORE, MD 21209

2. 3517    AMENDMENT #1 TO CONSULTANT                                  103282                   TARATEC DEVELOPMENT              NOT AVAILABLE
           STATEMENT OF WORK DATED AUGUST                                                       CORPORATION
           28, 2001 DATED JANUARY 07, 2002

2. 3518    TTC PREAUDIT AND PAYMENTSA                                  103286                   TECHNICAL TRAFFIC CONSULTANTS    ATTN: GENERAL COUNSEL
           21NOV2016 CW2350757 AMENDMENT 1                                                      CORP.
           (RJ.EA) DATED JANUARY 25, 2017

2. 3519    TENEO STRATEGY LLC - AMENDMENT            9/30/2021         106094                   TENEO STRATEGY, LLC              ATTN: GENERAL COUNSEL
           TO SERVICES AGREEMENT (JM.RA)                                                                                         280 PARK AVENUE, 4TH FLOOR
           EFFECTIVE FEBRUARY 01, 2019                                                                                           NEW YORK, NY 10017

2. 3520    TENEO STRATEGY LLC - TRADEMARK           12/31/2049         106113                   TENEO STRATEGY, LLC              ATTN: GENERAL COUNSEL
           AND COPYRIGHT ASSIGNMENT                                                                                              280 PARK AVENUE, 4TH FLOOR
           AGREEMENT (P. STRASSBURGER)                                                                                           NEW YORK, NY 10017
           EFFECTIVE APRIL 08, 2019

2. 3521    CONSULTANT SERVICES AGREEMENT                               103290                   TENERE CONSULTING                ATTN: GENERAL COUNSEL
           DATED AUGUST 04, 1997                                                                                                 27 LOH AVENUE
                                                                                                                                 TARRYTOWN, NY 10591-4631




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2. 3522    CONSULTANT SERVICES AGREEMENT                               103289                   TENERE CONSULTING                 ATTN: DAVID INNES CARGILL,
           DATED JULY 29, 1997                                                                                                    PH.D.
                                                                                                                                  27 LOH AVENUE
                                                                                                                                  TARRYTOWN, NY 10591-4631

2. 3523    LOCKBOX DEPOSIT SERVICE                                     103318                   THE AMERICAN ASSOCIATION OF       ATTN: GENERAL COUNSEL
           AGREEMENT DATED DECEMBER 07,                                                         POISON CONTROL CENTERS            515 KING STREET
           2011                                                                                                                   SUITE 510
                                                                                                                                  ALEXANDRIA, VA 22314

2. 3524    NON-BINDING MEMORANDUM OF                                    9044                    THE BOARD OF REGENTS OF THE       ATTN: OFFICE OF THE
           UNDERSTANDING                                                                        UNIVERSITY OF NEBRASKA            CHANCELLOR
                                                                                                                                  UNIVERSITY OF NEBRASKA
                                                                                                                                  MEDICAL CENTER
                                                                                                                                  986605 NEBRASKA MEDICAL
                                                                                                                                  CENTER
                                                                                                                                  OMAHA, NE 68198-6605

2. 3525    AGREEMENT FOR PAYMENT FOR                                   103330                   THE CENTURY GROUP                 ATTN: GENERAL COUNSEL
           FILLING MEDICAL WRITER                                                                                                 8400 WEST 110TH STREET
           CONSULTANT POSITION DATED JULY                                                                                         SUITE 310
           17, 1997                                                                                                               OVERLAND PARK, KS 66210

2. 3526    AMENDMENT #2 TO STATEMENT OF                                103331                   THE COLORADO PREVENTION CENTER    NOT AVAILABLE
           WORK #3 UNDER CONSULTANT                                                             DBA CPC CLINICAL RESEARCH
           SERVICES AGREEMENT EFFECTIVE AS
           OF OCTOBER 26, 2018

2. 3527    LETTER AGREEMENT FOR ENERGY                                 103333                   THE CONNECTICUT LIGHT AND POWER   ATTN: GENERAL COUNSEL
           EFFICIENCY SERVICES DATED AUGUST                                                     COMPANY                           9 TINDALL AVENUE
           26, 1999                                                                                                               NORWALK, CT 06851

2. 3528    LETTER AGREEMENT FOR ENERGY                                 103334                   THE CONNECTICUT LIGHT AND POWER   ATTN: GENERAL COUNSEL
           EFFICIENCY SERVICES DATED AUGUST                                                     COMPANY                           9 TINDALL AVENUE
           31, 1999                                                                                                               NORWALK, CT 06851

2. 3529    AMENDMENT #1 TO CONSULTANT                                  103336                   THE DILENSCHNEIDER GROUP, INC.    NOT AVAILABLE
           SERVICES AGREEMENT DATED
           DECEMBER 19, 2017 DATED NOVEMBER
           01, 2018



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2. 3530    FEASIBILITY STUDY AGREEMENT                                 103337                   THE DOW CHEMICAL COMPANY             ATTN: GLOBAL R&D DIRECTOR,
           EFFECTIVE AS OF NOVEMBER 09, 2009                                                                                         DOW WOLFF CELLLOSICS
                                                                                                                                     2040 DOW CENTER
                                                                                                                                     MIDLAND, MI 48674

2. 3531    AMENDMENT NO. 2 TO NATIONAL                                 103340                   THE EMERSON GROUP                    ATTN: GENERAL COUNSEL
           SALES TO MARKETING AGREEMENT                                                                                              407 EAST LANCASTER AVE
           DATED FEBRUARY 01, 2018                                                                                                   WAYNE, PA 19087

2. 3532    CONSULTANT SERVICES AGREEMENT                               103342                   THE EQUINOX GROUP INC                ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF OCTOBER 16, 2017                                                                                          70 WESTVIEW STREET
                                                                                                                                     LEXINGTON, MA 02421

2. 3533    THE IMPERIAL MARKETPLACE WEBSITE                            103345                   THE IMPERIAL MARKETPLACE             NOT AVAILABLE
           ACCESS AGREEMENT EXECUTED
           DECEMBER 18, 2003

2. 3534    CONSULTANT SERVICES AGREEMENT                               103348                   THE MEDICAL AFFAIRS COMPANY          ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JUNE 05, 2017                                                                                             125 TOWNPARK DRIVE, #450
                                                                                                                                     KENNESAW, GA 30144

2. 3535    OFFICE OF THE ATTORNEY GENERAL -                            103361                   THE OFFICE OF THE ATTORNEY           ATTN: THE OFFICE OF THE
           STATE OF FLORIDA - AMD TO                                                            GENERAL                              ATTORNEY GENERAL
           AGREEMENT DATED 11.1.2002 PPLP                                                                                            FL
           AND PURDUE FREDERICK (EGA) DATED
           APRIL 20, 2003

2. 3536    OFFICE OF THE ATTORNEY GENERAL,                             103360                   THE OFFICE OF THE ATTORNEY           ATTN: THE OFFICE OF THE
           STATE OF FLORIDA AGREEMENT - PPLP                                                    GENERAL                              ATTORNEY GENERAL
           AND PURDUE FREDERICK (EGA) DATED                                                                                          FL
           OCTOBER 01, 2002

2. 3537    LETTER OF AGREEMENT EFFECTIVE AS                            103368                   THE PEOPLE OF THE STATE OF NEW       NOT AVAILABLE
           OF OCTOBER 01, 2000                                                                  YORK FOR THE ELDERLY
                                                                                                PHARMACEUTICAL INSURANCE
                                                                                                COVERAGE (EPIC) PROGRAM

2. 3538    SEARCH FIRM AGREEMENT EFFECTIVE                             103378                   THE RALEIGH, NC, OFFICE OF HUDSON    ATTN: GENERAL COUNSEL
           AS OF DECEMBER 13, 2010                                                              PROFESSIONAL                         2300 REXWOODS DRIVE
                                                                                                                                     SUITE 380
                                                                                                                                     RALEIGH, NC 27607

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2. 3539    AGREEMENT EFFECTIVE AS OF APRIL                             103384                   THE STANDARD REGISTER COMPANY    ATTN: GENERAL COUNSEL
           19, 2002                                                                                                              600 ALBNAY STREET
                                                                                                                                 DAYTON, OH 45408

2. 3540    AGREEMENT OF SALE DATED OCTOBER                             103385                   THE STANDARD REGISTER COMPANY    ATTN: GENERAL COUNSEL
           02, 2003                                                                                                              600 ALBANY STREET
                                                                                                                                 DAYTON, OH 45408-1442

2. 3541    THE STEVENSON GROUP - SEARCH                                103387                   THE STEVENSON GROUP              ATTN: GENERAL COUNSEL
           FIRM AGREEMENT (RA) DATED                                                                                             2115 LINWOOD AVENUE, SUITE 301
           SEPTEMBER 10, 2018                                                                                                    FORT LEE, NJ 07024

2. 3542    UNIVERSITY OF NEBRASKA MEDICAL                              103388                   THE UNIVERSITY OF NEBRASKA       ATTN: GENERAL COUNSEL
           CENTER (UNMC) - COLLABORATION                                                        MEDICAL CENTER                   986605 NEBRASKA MEDICAL
           AGREEMENT DATED DECEMBER 14,                                                                                          CENTER
           2016                                                                                                                  OMAHA, NE 68198

2. 3543    CONSULTANT SERVICES AGREEMENT                               103398                   THOMAS BROWN, PH.D.              ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JANUARY 01, 2019                                                                                      500 S. SEPULVEDA BOULEVARD,
                                                                                                                                 SUITE 281
                                                                                                                                 MANHATTAN BEACH, CA 90266

2. 3544    STATEMENT OF WORK UNDER MASTER                              103399                   THOMAS KOSTEN, MD                NOT AVAILABLE
           CONSULTANT SERVICES AGREEMENT
           EFFECTIVE AS OF JANUARY 30, 2017

2. 3545    MASTER CONSULTANT SERVICES                                  103401                   THOMAS R. KOSTEN, MD             ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                                                             4615 HOLT STREET
           SEPTEMBER 01, 2016                                                                                                    BELLAIRE, TX 77401

2. 3546    THOMSON REUTERS OTH CW2363840                               103406                   THOMSON REUTERS                  ATTN: GENERAL COUNSEL
           TERMINATION LETTER FOR WESTLAW                                                                                        610 OPPERMAN DRIVE
           (LH.RA) DATED MARCH 28, 2018                                                                                          EAGEN, MN 55123

2. 3547    THOMSON REUTERS OTH CW2363840             3/31/2020         105929                   THOMSON REUTERS HEALTHCARE INC. NOT AVAILABLE
           TERMINATION LETTER FOR WESTLAW
           (LH.RA) EFFECTIVE FEBRUARY 04, 2019

2. 3548    SAAS SERVICES ORDER FORM -                                  103407                   THRIVE CSR LIMITED               ATTN: GENERAL COUNSEL
           EMPLOYEE VOLUNTEERING MODULE                                                                                          131 HIGH STREET
           DATED DECEMBER 10, 2018                                                                                               HOLYWOOD, CO. DOWN BT 18 0QA

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2. 3549    CONSULTANT SERVICES AGREEMENT                               103415                   TIMOTHY BILKEY, MD, F.R.C.P.       ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF SEPTEMBER 19, 2018                                                                                      245-400 BAYFIELD ST
                                                                                                                                   BARRIE, ON, CANADA ON N5A 1J2
                                                                                                                                   CANADA

2. 3550    CONSULTANT SERVICES AGREEMENT                               103420                   TOM KWIECIAK CONSULTING, LLC       ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JANUARY 01, 2018                                                                                        3408 33RD WAY NW
                                                                                                                                   OLYMPIA, WA 98502

2. 3551    TONKON TORP OTH CW2363825 AMEND                             103421                   TONKON TORP LLP                    ATTN: GENERAL COUNSEL
           TO EXTEND THRU 12312020 (LH.RA)
           DATED OCTOBER 10, 2018

2. 3552    MATERIAL TRANSFER AGREEMENT                                 103422                   TORAY INDUSTRIES, INC.             ATTN: GENERAL COUNSEL
           DATED APRIL 22, 1998                                                                                                    2-1 NIHONBASHI-MUROMACHI 2-
                                                                                                                                   CHROME
                                                                                                                                   CHUO-KU TOKYO, JAPAN 103-8666

2. 3553    PURCHASE AGREEMENT DATED                                    103434                   TOTALS COMMUNICATIONS              ATTN: GENERAL COUNSEL
           FEBRUARY 01, 2001                                                                    SOLUTIONS, INC.                    139 FULON STREET, SUITE 818C
                                                                                                                                   NEW YORK, NY 10038

2. 3554    TRACELINK AMENDMENT CW2354545                               103437                   TRACELINK, INC.                    ATTN: GENERAL COUNSEL
           05252017 (DS.EA) DATED AUGUST 31,                                                                                       400 RIVERPARK DRIVE, SUITE 200
           2017                                                                                                                    NORTH READING, MA 01864

2. 3555    CONSULTANT SERVICES AGREEMENT                               103440                   TRANSACTION INFORMATION SYSTEMS ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF OCTOBER 27, 1997                                                                                     PURDUE: 100 CONNECTICUT
                                                                                                                                AVENUE, NORWALK CT 06850
                                                                                                                                TRANSACTION: 115 BROADWAY,
                                                                                                                                NEW YORK, NY 10006

2. 3556    AMENDMENT TO LETTER AGREEMENT                               103446                   TRANSCEPT PHARMACEUTICALS, INC.    ATTN: GENERAL COUNSEL
           DATED JULY 31, 2009                                                                                                     1003 W. CUTTING BLVS. SUITE 110
                                                                                                                                   PT. RICHMOND, CA 94804

2. 3557    COMMON INTEREST AGREEMENT                                   103443                   TRANSCEPT PHARMACEUTICALS, INC.    ATTN: GENERAL COUNSEL
           DATED JULY 31, 2009                                                                                                     1003 W. CUTTING BLVS. SUITE
                                                                                                                                   #110
                                                                                                                                   PT. RICHMOND, CA 94804



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2. 3558    COVENANT NOT TO SUE CONCERNING                              103449                   TRANSCEPT PHARMACEUTICALS, INC.    ATTN: GENERAL COUNSEL
           U.S. PAT. NO. 7,658,945 DATED MARCH                                                                                     1003 W. CUTTING BLVS. SUITE 110
           21, 2013                                                                                                                PT. RICHMOND, CA 94804

2. 3559    SAFETY DATA EXCHANGE AGREEMENT                              103445                   TRANSCEPT PHARMACEUTICALS, INC.    ATTN: GENERAL COUNSEL
           DATED JULY 01, 2011                                                                                                     1003 W. CUTTING BLVD, SUITE 110
                                                                                                                                   POINT RICHMOND, CA 94804

2. 3560    SAFETY DATA EXCHANGE AGREEMENT                              103448                   TRANSCEPT PHARMACEUTICALS, INC.    ATTN: GENERAL COUNSEL
           DATED OCTOBER 07, 2013                                                                                                  1003 W. CUTTING BLVD, SUITE 110
                                                                                                                                   POINT RICHMOND, CA 94804

2. 3561    SAFETY DATA EXCHANGE AGREEMENT                              103441                   TRANSCEPT PHARMACEUTICALS, INC.    ATTN: GENERAL COUNSEL
           EXECUTED JULY 01, 2011                                                                                                  1003 WEST CUTTING BOULEVARD
                                                                                                                                   SUITE #110
                                                                                                                                   PT. RICHMOND, CA 94804

2. 3562    SIDE LETTER AGREEMENT RE                                    103447                   TRANSCEPT PHARMACEUTICALS, INC.    ATTN: GENERAL COUNSEL
           MISCELLANEOUS MANUFACTURING                                                                                             1003 W. CUTTING BLVD, SUITE 110
           ITEMS DATED NOVEMBER 28, 2011                                                                                           POINT RICHMOND, CA 94804

2. 3563    COVENANT NOT TO SUE EFFECTIVE AS                            103451                   TRANSCEPT                          ATTN: GENERAL COUNSEL
           OF APRIL 29, 2013                                                                    PHARMACEUTICALS/NOVEL              TRANSCEPT: 1003 W. CUTTING
                                                                                                LABORATORIES, INC.                 BLVS. SUITE 110 PT. RICHARD, CA
                                                                                                                                   94804

2. 3564    AMENDMENT #3 TO MASTER                                      103455                   TRANSPERFECT TRANSLATIONS, INC.    ATTN: GENERAL COUNSEL
           CONSULTANT SERVICES AGREEMENT                                                                                           3 PARK AVENUE, 39TH FLOOR
           DATED OCTOBER 10, 2011                                                                                                  NEW YORK, NY 10016

2. 3565    MASTER CONSULTANT SERVICES                                  103456                   TRANSPERFECT, INC                  ATTN: IN-HOUSE COUNSEL
           EFFECTIVE AS OF OCTOBER 10, 2011                                                                                        3 PARK AVENUE, 39TH FLOOR
                                                                                                                                   NEW YORK, NY 10016

2. 3566    CONSULTANT SERVICES AGREEMENT                               103461                   TRIBUNE BROADCASTING HARTFORD,     ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MAY 04, 2018                                                         LLC                                285 BROAD STREET
                                                                                                                                   HARTFORD, CT 06115




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Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date   Contract ID    Co-Debtor Name                                Address




2. 3567    DEPARTMENT OF DEFENSE ("DOD")                               103462                   TRICARE MANAGEMENT ACTIVITY      ATTN: GENERAL COUNSEL
           SECTION 703 PRICING AGREEMENT                                                                                         SKYLINE 5 SUITE 810
           ("AGREEMENT") EFFECTIVE AS OF                                                                                         5112 LEESBURG PIKE
           NOVEMBER 03, 2009                                                                                                     FALLS CHURCH, VA 22041-3206

2. 3568    PRICING AGREEMENT EFFECTIVE AS                              103464                   TRICARE MANAGEMENT ACTIVITY      ATTN: GENERAL COUNSEL
           OF OCTOBER 30, 2009                                                                                                   PHARMACEUTICAL OPERATIONAL
                                                                                                                                 DIRECTORATE,TRICARE RETAIL
                                                                                                                                 REFUND PROGRAM
                                                                                                                                 SKYLINE 5 SUITE 810, 5111
                                                                                                                                 LEESBURG PIKE
                                                                                                                                 FALLS CHURCH, VA 22041-3206

2. 3569    VOLUNTARY AGREEMENTS FOR                                    103465                   TRICARE RETAIL PHARMACY PROGRAM ATTN: GENERAL COUNSEL
           TRICARE RETAIL PHARMACY REFUNDS                                                                                      SKYLINE 5 SUITE 810
           FOR UNIFORM FORMULARY                                                                                                5112 LEESBURG PIKE
           PLACEMENT DATED MAY 25, 2010                                                                                         FALLS CHURCH, VA 22041-3206

2. 3570    PROJECT AGREEMENT EFFECTIVE AS                              103466                   TRICOM PICTURES                  ATTN: GENERAL COUNSEL
           OF MARCH 28, 2001

2. 3571    TRUVEN HEALTH ANALYTICS AMD                                 103471                   TRUVEN HEALTH ANALYTICS INC.     ATTN: GENERAL COUNSEL
           11012016 CW2321919 MARKETSCAN                                                                                         26361 NETWORK PLACE
           DATA RENEWAL (LH.ER) DATED                                                                                            CHICAGO, IL 60673
           NOVEMBER 15, 2001

2. 3572    TUFTS MASTER 05162016 CW2221944                             103476                   TUFTS MEDICAL CENTER, INC.       ATTN: GENERAL COUNSEL
           (LH.ER) DATED MAY 16, 2016                                                                                            800 WASHINGTON STREET, BOX
                                                                                                                                 817
                                                                                                                                 BOSTON, MA 02111

2. 3573    AGREEMENT EFFECTIVE AS OF                                   103477                   TUFTS UNIVERSITY SCHOOL OF       ATTN: GENERAL COUNSEL
           OCTOBER 20, 1999                                                                     MEDICINE                         136 HARRISON AVENUE
                                                                                                                                 BOSTON, MA 02111

2. 3574    CONSULTANT ENGAGEMENT LETTER                                103482                   TWILIGHT INVESTIGATIONS, INC.    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF APRIL 01, 2016                                                                                        1360 CLIFTON AVENUE, #225
                                                                                                                                 CLIFTON, NJ 07012

2. 3575    UPS AMENDMENT 1 TO CARRIER                                  103492                   UNITED PARCEL SERVICE, INC.      ATTN: GENERAL COUNSEL
           AGREEMENT 11MAY2017 CW2354238
           (RJ.EA) DATED NOVEMBER 20, 2006
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Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date   Contract ID    Co-Debtor Name                                    Address




2. 3576    AGREEMENT BETWEEN OWNER AND                                 103494                   UNITY CONSTRUCTION SERVICES, INC.    ATTN: GENERAL COUNSEL
           CONTRACTOR DATED FEBRUARY 20,                                                                                             2500 MAIN STREET
           2003                                                                                                                      SAYREVILLE, NJ 08872

2. 3577    PROVIDING EQUIPMENT LETTER                                  103504                   UNIVERSITY CLINICAL RESEARCH         ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF APRIL 19, 2000                                                                                            1150 NORTH UNIVERSITY DRIVE
                                                                                                                                     PEMBROKE PINES, FL 33024

2. 3578    INDEMNIFICATION AGREEMENT                                   103506                   UNIVERSITY CLINICAL RESEARCH -       ATTN: GENERAL COUNSEL
           EXECUTED JULY 24, 2000                                                               DELAND                               925 NORTH SPRING GARDEN
                                                                                                                                     AVENUE
                                                                                                                                     DELAND, FL 32720

2. 3579    INDEMNIFICATION AGREEMENT                                   103505                   UNIVERSITY CLINICAL RESEARCH -       ATTN: GENERAL COUNSEL
           EXECUTED JUNE 23, 2000                                                               DELAND                               925 NORTH SPRING GARDEN
                                                                                                                                     AVENUE
                                                                                                                                     DELAND, FL 32720

2. 3580    INDEMNIFICATION AGREEMENT                                   103507                   UNIVERSITY CLINICAL RESEARCH -       ATTN: GENERAL COUNSEL
           EXECUTED SEPTEMBER 26, 2000                                                          DELAND                               925 NORTH SPRING GARDEN
                                                                                                                                     AVENUE
                                                                                                                                     DELAND, FL 32720

2. 3581    AMENDMENT LETTER AGREEMENT                                  103531                   UNIVERSITY OF BRIDGEPORT             ATTN: GENERAL COUNSEL
           DATED DECEMBER 02, 2011                                                                                                   126 PARK AVENUE
                                                                                                                                     BRIDGEPORT, CT 06604

2. 3582    AMENDMENT TO LETTER AGREEMENT                               103529                   UNIVERSITY OF BRIDGEPORT             ATTN: GENERAL COUNSEL
           DATED DECEMBER 02, 2011                                                                                                   126 PARK AVENUE
                                                                                                                                     BRIDGEPORT, CT 06604

2. 3583    AGREEMENT FOR SALE OF BIOLOGICAL                            103546                   UNIVERSITY OF MEDICINE &             ATTN: GENERAL COUNSEL
           MATERIAL EFFECTIVE AS OF MARCH 11,                                                   DENTISTRY OF NEW JERSEY              LIBERTY PLAZA ROOM 3200, 335
           2003                                                                                                                      GEORGE STREET
                                                                                                                                     NEW BRUNSWICK, NJ 08901

2. 3584    AMENDMENT LETTER AGREEMENT                                  103551                   UNIVERSITY OF NEW HAVEN              ATTN: GENERAL COUNSEL
           DATED FEBRUARY 22, 2012                                                                                                   300 BOSTON POST ROAD
                                                                                                                                     WEST HAVEN, CT 06516




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Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date   Contract ID    Co-Debtor Name                                   Address




2. 3585    LETTER AGREEMENT EFFECTIVE AS OF                            103552                   UNIVERSITY OF NEW HAVEN             ATTN: GENERAL COUNSEL
           APRIL 01, 2012                                                                                                           300 BOSTON POST ROAD
                                                                                                                                    WEST HAVEN, CT 06516

2. 3586    TERMINATION OF STUDY EFFECTIVE AS                           103560                   UNIVERSITY OF SASKATCHEWAN          ATTN: GENERAL COUNSEL
           OF MAY 10, 2004                                                                                                          ROOM 1607, 110 GYMNASIUM
                                                                                                                                    PLACE
                                                                                                                                    BOX 5000 RPO UNIVERSITY
                                                                                                                                    SASKATOON, SK, CANADA SK S7N
                                                                                                                                    4J8
                                                                                                                                    CANADA

2. 3587    ACADEMIC ALLIANCE COLLABORATION                             103567                   UNIVERSITY OF TEXAS                 ATTN: GENERAL COUNSEL
           AGREEMENT DATED FEBRUARY 16, 2017                                                                                        7000 FANNIN STREET
                                                                                                                                    SUITE 720
                                                                                                                                    HOUSTON, TX 77030

2. 3588    CONSULTANT SERVICES AGREEMENT                               103583                   UNIVERSITY PHYSICIANS INC. D/B/A    ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF MAY 01, 2017                                                         UNIVERSITY OF COLORADA MEDICINE     13199 E. MONTVIEW BOULEVARD
                                                                                                                                    AURORA, CO 80045

2. 3589    AGREEMENT EFFECTIVE AS OF                                   103601                   UPS-UNITED PARCEL SERVICE, INC.     ATTN: GENERAL COUNSEL
           NOVEMBER 20, 2006

2. 3590    RETURNS MANAGEMENT AGREEMENT                                103618                   USF PROCESSSORS, INC.               ATTN: GENERAL COUNSEL
           DATED DECEMBER 01, 2004                                                                                                  4055 VALLEY VIEW LANE
                                                                                                                                    DALLAS, TX 75244

2. 3591    SOLICITATION/CONTRACT/ORDER FOR                             103619                   VA NATIONAL ACQUISITION CENTER      ATTN: GENERAL COUNSEL
           COMMERCIAL ITEMS DATED APRIL 02,                                                                                         FEDERAL SUPPLY SCHEDULE
           2012                                                                                                                     SERVICE 049A2
                                                                                                                                    PO BOX 76, BLDG 37
                                                                                                                                    HINES, IL 60141

2. 3592    VALENTINO STELLA CSA 061716                                 103620                   VALENTINO J. STELLA, PHD            ATTN: GENERAL COUNSEL
           CW2220953                                                                                                                1135 WEST CAMPUS ROAD
           PRODUCTSUBSTANCE_STABILITYCONS                                                                                           LAWRENCE, KANSAS 66044
           ULTING (AA.MP) DATED AUGUST 01,
           2016




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Schedule G: Executory Contracts and Unexpired Leases
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2. 3593    LETTER OF CLARITY EFFECTIVE AS OF                           103622                   VALLEY WHOLESALE DRUG CO, INC.    ATTN: GENERAL COUNSEL
           FEBRUARY 13, 2015                                                                                                      1401 WEST FREMONT STREET
                                                                                                                                  STOCKTON, CA 95203

2. 3594    AMEND NUMBER7 VALUECENTRIC                                  103629                   VALUE CENTRIC, LLC                ATTN: GENERAL COUNSEL
           CW2357410 DATA(AB.RA) DATED
           SEPTEMBER 02, 2017

2. 3595    VALUE CENTRIC AMD 6 01012017                                103628                   VALUE CENTRIC, LLC                ATTN: GENERAL COUNSEL
           CW2350836 AMENDMENT DATA (AB.LLS)
           DATED JANUARY 01, 2017

2. 3596    LETTER OF CLARITY EFFECTIVE AS OF                           103632                   VALUE DRUG COMPANY                ATTN: GENERAL COUNSEL
           FEBRUARY 13, 2015                                                                                                      ONE GOLF VIEW DRIVE
                                                                                                                                  ALTOONA, PA 16601

2. 3597    VANGUARD PAIN MANAGEMENT                 12/31/2021         105986                   VANGUARD PAIN MANAGEMENT          NOT AVAILABLE
           CONSULTING OTH CW2366437 CSA AMD                                                     CONSULTING LLC
           EXTEND ATKINSON (LH.RA) EFFECTIVE
           JANUARY 01, 2019

2. 3598    SEARCH FIRM AGREEMENT DATED MAY                             103650                   VANGUARD TEMPORARIES, INC.        ATTN: GENERAL COUNSEL
           16, 2007                                                                                                               633 3RD AVENUE
                                                                                                                                  NEW YORK, NY 10017

2. 3599    AGREEMENT AND MUTUAL RELEASE                                103670                   VERIX, INC.                       NOT AVAILABLE
           DATED DECEMBER 13, 2012

2. 3600    BACKGROUND INFORMATION E-MAILS                              103673                   VETERANS ADMINISTRATION           ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF APRIL 17, 2015

2. 3601    ASSET PURCHASE AGREEMENT DATED                              103698                   VM PHARMA LLC                     ATTN: GENERAL COUNSEL
           SEPTEMBER 04, 2015                                                                                                     45535 NORTHPORT LOOP EAST
                                                                                                                                  FREMONT, CA 94538

2. 3602    ASSET PURCHASE AGREEMENT DATED                              103695                   VM PHARMA LLC                     ATTN: JAY WU, PH.D
           SEPTEMBER 04, 2015                                                                                                     45535 NORTHPORT LOOP EAST
                                                                                                                                  FREMONT, CA 94538




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Schedule G: Executory Contracts and Unexpired Leases
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2. 3603    ASSET PURCHASE AGREEMENT DATED                              103696                   VM PHARMA LLC                       ATTN: GENERAL COUNSEL
           SEPTEMBER 04, 2015                                                                                                       45535 NORTHPORT LOOP EAST
                                                                                                                                    FREMONT, CA 94538

2. 3604    ASSET PURCHASE AGREEMENT DATED                              103697                   VM PHARMA LLC                       ATTN: GENERAL COUNSEL
           SEPTEMBER 04, 2015                                                                                                       45535 NORTHPORT LOOP EAST
                                                                                                                                    FREMONT, CA 94538

2. 3605    AMENDMENT #1 TO SUBSCRIPTION                                103705                   VOXX ANALYTICS                      ATTN: GENERAL COUNSEL
           AGREEMENT DATED FEBRUARY 15, 2018

2. 3606    SHARED EMERGENCY GENERATOR                                  103708                   W.J. DEUTSCH & SONS LTD.            ATTN: GENERAL COUNSEL
           SYSTEM AGREEMENT DATED MARCH                                                                                             201 TRESSER BOULEVARD
           30, 2016                                                                                                                 STAMFORD, CT 06901

2. 3607    WELLNESS PROGRAM AGREEMENT                                  103714                   WALKINGSPREE USA LTD                ATTN: GENERAL COUNSEL
           DATED JANUARY 21, 2011                                                                                                   24165 INTERSTATE HIGHWAY 10,
                                                                                                                                    SUITE 217-485
                                                                                                                                    SAN ANTONIO, TX 78257

2. 3608    CONSULTANT SERVICES AGREEMENT                               103716                   WALTZER KUTZ, JR., MD               ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF AUGUST 12, 2016                                                                                          480 HAZELWOOD COVE
                                                                                                                                    COPPELL, TX 75019

2. 3609    CONSULTANT SERVICES AGREEMENT                               103717                   WARREN E. TODD                      ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF JANUARY 16, 2001                                                                                         32 SUTTON FARM ROAD
                                                                                                                                    FLEMINGTON, NJ 08822

2. 3610    RELEASE DATED APRIL 25, 2013                                103719                   WASTON LABORATORIES, INC.; ANDRX    ATTN: GENERAL COUNSEL
                                                                                                LABS, LLC                           1955 ORANGE DRIVE
                                                                                                                                    DAVIE, FL 33314

2. 3611    CONSULTANT SERVICES AGREEMENT                               103725                   WAY WITH WORDS COMMUNICATIONS       ATTN: BARBARA RUSSELL
           DATED DECEMBER 20, 1999                                                                                                  29 THRUSH TERRACE
                                                                                                                                    EAST GREENBUSH, NY 12061

2. 3612    CHANGE IN PAYOR ON INVOICES                                 103729                   WEST PUBLISHING                     ATTN: GENERAL COUNSEL
           EFFECTIVE AS OF AUGUST 28, 2012                                                                                          610 OPPERMAN DRIVE
                                                                                                                                    P.O. BOX 64833
                                                                                                                                    ST. PAUL, MN 55164


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Schedule G: Executory Contracts and Unexpired Leases
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2. 3613    LAWYER LETTER EFFECTIVE AS OF                               103732                   WIGGIN AND DANA LLP             ATTN: GENERAL COUNSEL
           SEPTEMBER 08, 2011                                                                                                   TWO STAMFORD PLAZA, 281
                                                                                                                                TRESSER BOULEVARD
                                                                                                                                STAMFORD, CT 06901

2. 3614    RETENTION OF WIGGIN DANA LLP RE                             103733                   WIGGIN AND DANA, LLP            ATTN: GENERAL COUNSEL
           PHYSICIANS HEALTHSOURCE, INC.                                                                                        ONE CENTURY TOWER         P.O.
           DATED OCTOBER 02, 2012                                                                                               BOX 1832
                                                                                                                                NEW HAVEN, CT 06508

2. 3615    PURDUE BROCK CONSULTING                                     103736                   WILLIAM J. BROCK                ATTN: GENERAL COUNSEL
           AGREEMENT DATED NOVEMBER 19,                                                                                         19909 HAMIL CIRCLE
           2018                                                                                                                 MONTGOMERY VILLAGE, MD 20886

2. 3616    ENGAGEMENT LETTER DATED                                     103737                   WILMER CUTLER PICKERING HALE    ATTN: GENERAL COUNSEL
           JANUARY 13, 2003                                                                     AND DORR, LLP                   60 STATE STREET
                                                                                                                                BOSTON, MA 02109

2. 3617    SEARCH FIRM AGREEMENT DATED                                 103739                   WINDSOR RESOURCES, INC.         ATTN: GENERAL COUNSEL
           SEPTEMBER 30, 2010                                                                                                   1601 BROADWAY, 11TH FLOOR
                                                                                                                                NEW YORK, NY 10019

2. 3618    WORLD HEALTH INFORMATION                   4/1/2021         105949                   WORLD HEALTH INFORMATION        NOT AVAILABLE
           SCIENCE CONSULTANTS (WHISCON)                                                        SCIENCE
           AMD 1 TO MSA EXTEND MASTER
           CW2368017 (LH.RA) EFFECTIVE AUGUST
           12, 2019

2. 3619    WORLD HEALTH INFORMATION                                    103748                   WORLD HEALTH INFORMATION        ATTN: GENERAL COUNSEL
           SCIENCE CONSULTANTS MSA 09092016                                                     SCIENCE CONSULTANTS             275 GROVE STREET
           CW2319960 (LH.ER) DATED SEPTEMBER                                                                                    NEWTOWN, MA 02466
           09, 2016

2. 3620    WORLD WISE CONSULTING MSA AMD 2                             103749                   WORLD WISE CONSULTING, INC.     ATTN: GENERAL COUNSEL
           CW2359850 (DT.RA) DATED FEBRUARY
           01, 2018

2. 3621    WORLD WISE CONSULTING SOW 1                                 103750                   WORLD WISE CONSULTING, INC.     ATTN: GENERAL COUNSEL
           CW2359713 (DT.RA) DATED FEBRUARY                                                                                     1970 NW 70TH AVENUE
           01, 2018                                                                                                             MIAMI, FL 33126



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Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date   Contract ID    Co-Debtor Name                                  Address




2. 3622    CONSENT AGREEMENT EXECUTED                                  103751                   WORLDWIDE CLINICAL TRIALS, INC.    ATTN: GENERAL COUNSEL
           DECEMBER 12, 2013                                                                                                       1000 CONTINENTAL DRIVE, SUITE
                                                                                                                                   209
                                                                                                                                   KING OF PRUSSIA, PA 19406

2. 3623    YPRIME AMD MASTER CW2352918                                 103756                   YPRIME, INC.                       ATTN: GENERAL COUNSEL
           (LH.RA) DATED MARCH 31, 2017                                                                                            263 GREAT VALLEY PARKWAY
                                                                                                                                   MALVERN, PA 19355

2. 3624    MASTER CONSULTANT SERVICES                                  103758                   ZACHARY CONTRERAS, PHARMD          ATTN: GENERAL COUNSEL
           AGREEMENT EFFECTIVE AS OF                                                                                               8716 CASA DEL RIO LANE
           DECEMBER 01, 2016                                                                                                       FAIR OAKS 95628
                                                                                                                                   CANADA

2. 3625    ZETETIC INC - CONSULTING                                    103760                   ZETETIC, INC.                      ATTN: GENERAL COUNSEL
           ENGAGEMENT LETTER 15OCT16                                                                                               114 N. OHIO STREET, SUITE 103
           CW2322980 (PT RA) DATED OCTOBER                                                                                         CELINA 75009
           15, 2016

2. 3626    LETTER OF AGREEMENT - AUTHORSHIP                            103761                   ZIA CHAUDHRY                       90 POPLAR STREET
           OF MANUSCRIPTS AS AN INDEPENDENT                                                                                        TRUMBULL, CT 06611
           CONTRACTOR DATED APRIL 03, 2018




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Schedule G: Executory Contracts and Unexpired Leases

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Schedule H: Codebtors
1.     Does the debtor have any codebtors?
             No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
             Yes

2.     In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G.
       Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is
       listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

Column 1                                                            Column 2                                                    Applicable Schedule

 Codebtor Name and Mailing Address                                   Creditor Name                                                  D    E/F    G



2. 1



                                                                                                Total Number of Co-Debtor / Creditor rows: 0




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Fill in this information to identify the case:
Debtor Name:           Purdue Pharma L.P.

United States Bankruptcy Court for the:                    SOUTHERN DISTRICT OF NEW YORK                                                                                                  Check if this is an
                                                                                                                                                                                          amended filing
Case Number (if known):              19-23649 (RDD)



Official Form 206Sum

Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                           12/15


  Part 1:             Summary of Assets

1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


      1a. Real property:
                                                                                                                                                                                                      $4,924,196
           Copy line 88 from Schedule A/B                        ..................................................................................................................



      1b. Total personal property:
                                                                                                                                                                                                 $1,538,351,742
           Copy line 91A from Schedule A/B                           ..............................................................................................................

                                                                                                                                                                                      +
      1c. Total of all property:
                                                                                                                                                                                                 $1,543,275,938
           Copy line 92 from Schedule A/B                           ...............................................................................................................




  Part 2:             Summary of Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                                 $0
  Copy the total dollar amount listed in Column
                                              ..................................................................................................................
                                                  A, Amount of claim, from line 3 of Schedule D


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


      3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                      $1,627,548
           Copy the total claims from Part 1 from
                                                ..................................................................................................................
                                                    line 6a of Schedule E/F



      3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                                                                                     $14,250,045
           Copy the total of the amount of claims from
                                                  ..............................................................................................................
                                                          Part 2 from line 6b of Schedule E/F

                                                                                                                                                                                      +
4. Total liabilities
                                                                                                                                                                                                     $15,877,593
  Lines 2 + 3a + 3b             ...................................................................................................................................................




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